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                                                                                       White Star Petroleum, LLC
                                                                                            Creditor Matrix


               CreditorName                 CreditorNoticeName                         Address1                    Address2       Address3             City      State       Zip       Country
0982724 BC LTD                                                         PMB 751 250 H ST                                                       BLAINE             WA      98230-4033
1099 PRO INC                                                           23901 CALABASAS RD STE 2080                                            CALABASAS          CA      91302-4104
116 LLC                                                                1616 E 19TH ST STE 302                                                 EDMOND             OK      73013-6519
13D RESEARCH (USVI) LLC                                                6115 ESTATE SMITH BAY                                                  ST THOMAS          FL      99999
1807173 ALBERTA LTD                                                    940A - 11 AVE. SW                                                      CALGARY            AB      T2R 0E7      CANADA
1995 INCOME PROGRAM LLC                                                100 SAINT PAUL ST #305                                                 DENVER             CO      80206
1997 IRREV TRUST OF DONALD L BOLEN                                     PO BOX 20527                                                           OKLAHOMA CITY      OK      73156
1997 REV TR OF TRUMAN F. LOGSDON                                       1616 E 19TH STSTE 403                                                  EDMOND             OK      73013-6628
2040 ROYALTY HOLDINGS LLC                                              2310 S CAPITAL OF TX HWY STE J-102                                     AUSTIN             TX      78746
2540 EA LTD                                                            4311 W LOVERS LANE SUITE 200                                           DALLAS             TX      75209
2540 XC LLC                                                            4311 W LOVERS LN STE 200                                               DALLAS             TX      75209
270 TIRE & AUTO LLC                                                    PO BOX 270                                                             SEILING            OK      73663
2C LLC                                                                 633 N HUSBAND                                                          STILLWATER         OK      74074

2M PARDNERS LLC                                                        FARMERS NATIONAL COMPANY AGENT                                         TULSA              OK      74135-3587
3 G MANIFOLD L.L.C.                                                    3406 S. HWY 6                                                          ELK CITY           OK      73644
3 RESOURCES INC.                                                       1305 18TH ST                                                           WOODWARD           OK      73801
3 ROBINSONS L.L.C.                                                     68903 N. 2080 RD.                                                      CAMARGO            OK      73835
316 HOLDINGS LLC                                                       PO BOX 1341                                                            EDMOND             OK      73083-1341
32ND STREET PROPERTIES LLC                                             7111 S JARDOT RD                                                       STILLWATER         OK      74074-8225
3578 WAF LTD                                                           4311 W LOVERS LN STE 200                                               DALLAS             TX      75209
3E 2018 REV TR DTD 02.23.18                                            3201 AMBERWOOD CT                                                      EDMOND             OK      73003-2132
3ES INNOVATION INC                                                     SUITE 400                                                              CALGARY            AB      T2R 1R9      CANADA
3ES INNOVATION INC                                                     SUITE 1200, 777 - 8th AVE SW                                           CALGARY            AB      T2P 3R5      CANADA
3ESI ENERSIGHT                                                         347 58TH AVENUE SE                                                     CALGARY            AB      T2H 0P3      CANADA
3-F LLC SANDRA F HOLMES MBR                                            3904 SPRING HILL DR                                                    EDMOND             OK      73013
3MS FAMILY LP                                                          4334 NW EXPRESSWAY STE 185                                             OKLAHOMA CITY      OK      73116
3-T EXPLORATION INC                                                    3707 MAPLEWOOD STE 100                                                 WICHITA FALLS      TX      76308
3W VENTURES LLC                                                        40934 N 109TH PL                                                       SCOTTSDALE         AZ      85262-4928
4 WHEEL PARTS                                                          400 W ARTESIA BLVD                                                     COMPTON            CA      90220
4309 E MCELROY LLC                                                     224 N MAIN                                                             STILLWATER         OK      74074
4325 ENTERPRISES LLC                                                   PO BOX 31883                                                           EDMOND             OK      73003-0032
4633 GTR LTD                                                           4311 W LOVERS LN STE 200                                               DALLAS             TX      75201
4A ENERGY ADVISORS LLC                                                 PO BOX 822711                                                          N RICHLAND HILLS   TX      76182-2711
                                      Aubrey Harper, Chief Executive
4Am Midstream                         Officer                          13913 Quail Pointe Drive              Suite A                          Oklahoma City      OK      73134
4B PROPERTIES LLC                                                      300 COUNTRY CLUB DR                                                    HOLDENVILLE        OK      74848-4073
4K SPOOLING BANDING SALES & SERVICE                                    1740 SE WASHINGTON BLVD                                                BARTLESVILLE       OK      74006-6731
4T SITE SERVICES INC                                                   PO BOX 771                                                             MEEKER             OK      74855-0771
590 MADISON AVENUE LLC                                                 PO BOX 633062                                                          CINCINNATI         OH      45263-3062
5J OILFIELD SERVICES LLC                                               4090 N US HIGHWAY 79                                                   PALESTINE          TX      75801-7065
5MB FARMS LLC                                                          6501 INDEPENDENCE                                                      PERRY              OK      73077
5-S OIL & GAS LLC                                                      PO BOX 802                                                             MADILL             OK      73446
911 OIL AND GAS LLC                                                    PO BOX 101265                                                          FORT WORTH         TX      76185
9SPOT ENERGY LLC                                                       88 INVERNESS CIRCLE EAST D-103                                         ENGLEWOOD          CO      80112
A & D RESOURCES LLC                                                    6608 N WESTERN AVE STE 445                                             OKLAHOMA CITY      OK      73116
A & T INVESTMENTS                                                      514 N MAPLE                                                            GUTHRIE            OK      73044
A A DAVIS TULEY                                                        401 S HARBOR BOX 308                                                   LA HABRA           CA      90631
A A DAVIS TULEY TRUSTEE                                                401 S HARBOR BLVD                                                      LA HABRA           CA      90631
A BENNETT                                                              2256-A AHE ST                                                          HONOLULU           HI      96816
A E BASINGER JR & ANN B BASINGER TR                                    PO BOX 5011                                                            BARTLESVILLE       OK      74005-5011
A G S LIMITED PARTNERSHIP                                              PO BOX 22084                                                           DENVER             CO      80222-0084
A H MORGAN                                                             PO BOX 641242                                                          KENNER             LA      70064
A J KELLOGG LLC                                                        PO BOX 1371                                                            GUTHRIE            OK      73044
A J SCHOTT TRUST                                                       11700 SLASH PINE DR                                                    EDMOND             OK      73013-0409
A JOE & RAMONA J BROONER TR DTD 123                                    2024 N. CRESCENT DRIVE                                                 STILLWATER         OK      74074
A LEGRANT                                                              3002 N CLEVELAND #11                                                   ENID               OK      73703
A LOUISE POLING LIVING TR DTD 2-22-                                    733 KINGSTON DR                                                        YUKON              OK      73099
A MONTGOMERY                                                           1324 S QUINCY                                                          TULSA              OK      74114


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A N BOATMAN                                                     1907 E 10TH ST                                                                         OKMULGEE          OK      74447
A NEW LEAF FLORAL INC                                           2500 N MAY AVE                                                                         OKLAHOMA CITY     OK      73107-2033
A RENTAL COMPANY INC                                            4901 EAST MAIN                                                                         WEATHERFORD       OK      73096
A RUPP                                                          1705 MEADOW LN                                                                         PERRY             OK      73077
A&A TANK TRUCK CO                                               PO Box 679426                                                                          DALLAS            TX      75267-9426
A&G REED ENTERPRISES LLC                                        PO BOX 1230                                                                            PORTERVILLE       CA      93258-1230
A&H INCORPORATED                                                23986 E.1013 Road                                                                      Weatherford       OK      76096
A&L ENERGY INC                                                  3010 KNIGHT ST STE 370                                                                 SHREVEPORT        LA      71105
                                                                                                              9211 Lake Hefner
A. J. Joe Navrath            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                             c/o Laminack, Pirtle & Martines,
A. J. Joe Navrath            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
A. J. Joe Navrath                                               105463 S 3580 Rd                                                                       Prague            OK      74864
                                                                                                              9211 Lake Hefner
A.J. James                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                             c/o Laminack, Pirtle & Martines,
A.J. James                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
A.J. James                                                      1817 Meyers Pl                                                                         Oklahoma City     OK      73111
A-1 COPY BUREAU                                                 BOX #6 205 - 510 5th AVE SW                                                            CALGARY           AB      T2P 3S2      CANADA
A-1 SIGN ENGRAVERS INC                                          PO BOX 2641                                                                            MIDLAND           TX      79702
A2D TECHNOLOGIES INC                                            PO BOX 733255                                                                          DALLAS            TX      75373-3255
AAA FIBERGLASS REPAIR LLC                                       PO BOX 15779                                                                           DEL CITY          OK      73115
AAA MANAGEMENT LLC                                              PO BOX 720426                                                                          OKLAHOMA CITY     OK      73172
AAE AUTOMATION INC                                              3021 S HIGH AVE                                                                        OKLAHOMA CITY     OK      73129
AARON ALDRIDGE                                                  16114 W 19TH ST                                                                        ORLANDO           OK      73073
AARON BERRY                                                     PO BOX 25372                                                                           HOUSTON           TX      77265
AARON BUSH                                                      6404 AVALON LN                                                                         OKLAHOMA CITY     OK      73116-5610
AARON CAMPBELL                                                  25057 E 110 ST                                                                         BROKEN ARROW      OK      74014
AARON CAMPBELL                                                  25057 E 110TH ST                                                                       BROKEN ARROW      OK      74014
AARON CASSODY                                                   4514 S HWY 74                                                                          COVINGTON         OK      73730
AARON CLARK                                                     3457 E THUNDERBIRD ROAD                                                                PHOENIX           AZ      85032

AARON D MEEKER JR.                                              3601 SOUTH CHESTER AVE SPACE 40                                                        BAKERSFIELD       CA      93304
AARON HARMAN                                                    21620 E 107TH ST S                                                                     BROKEN ARROW      OK      74014
AARON HUCKABAY                                                  5315 SPRING CREEK CIRCLE W                                                             STILLWATER        OK      74074-8571
AARON IVEY                                                      4213 HICKORY CREEK LN                                                                  EDMOND            OK      73034-1017
AARON JORDAN                                                    314 BROADWAY                                                                           COVINGTON         OK      73730
AARON LOWE                                                      5109 E 19TH AVE                                                                        STILLWATER        OK      74074-6340
                                                                                                              9211 Lake Hefner
Aaron Matthew Caldwell       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                             c/o Laminack, Pirtle & Martines,
Aaron Matthew Caldwell       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Aaron Matthew Caldwell                                          1403 Lessley Ln                                                                        Sallisaw          OK      74955
AARON McGEHEE                                                   1206 B ST NW                                                                           ARDMORE           OK      73401
AARON MORRISETT                                                 5544 INDIAN RIDGE                                                                      NORTH LAS VEGAS   NV      89031
                                                                                                              9211 Lake Hefner
Aaron Scotty Glenn           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                             c/o Laminack, Pirtle & Martines,
Aaron Scotty Glenn           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Aaron Scotty Glenn                                              PO Box 1783                                                                            Choctaw           OK      73020
AARON WATSON                                                    6834 REHNQUIST CT                                                                      NEW MARKET        MD      21774
AARON WELL SERVICE INC.                                         2802 INDIAN DRIVE                                                                      ENID              OK      73703
AAROND GRAHAM                                                   PO BOX 33                                                                              RIPLEY            OK      74062-0033
AARTI JEWELERS INC                                              109 S CENTRAL EXPRESSWAY                                                               RICHARDSON        TX      75080
ABARR TRUST                                                     PO BOX 22084                                                                           OKLAHOMA CITY     OK      73123
ABB INC                                                         PO BOX 88868                                                                           CHICAGO           IL      60695-1868
                                                                                                              9211 Lake Hefner
Abbas Movlai                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120



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                                      c/o Laminack, Pirtle & Martines,
Abbas Movlai                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Abbas Movlai                                                             10320 West Charter Oak Rd                                                              Edmond            OK      73025
ABBIE STALLWORTH                                                         2620 GALVEZ AVE                                                                        FORT WORTH        TX      76111
Abblitt, Arthur                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
                                                                                                                       9211 Lake Hefner
Abby Mackie                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
Abby Mackie                           c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA      90017
Abby Mackie                           c/o Pulaski Law Firm               Attn: Adam Pulaski                            2925 Richmond Ave    Ste. 1725           Houston           TX      77098
Abby Mackie                                                              1246 E Cherry St                                                                       Cushing           OK      74023
ABC ENERGY COMPANY LLC                                                   2924 WOODLAND CREEK DR                                                                 EDMOND            OK      73034-6078
ABC ENTERPRISES INC                                                      510 WEST RENO                                                                          OKLAHOMA CITY     OK      73102-2430
ABC OIL COMPANY INC.                                                     PO BOX 1469                                                                            WICHITA FALLS     TX      76307
ABE SHIPPY                                                               2380 LOWER POND LN                                                                     HOMEDALE          ID      83628
ABERDEEN INVESTMENTS LLC                                                 PO BOX 21808                                                                           OKLAHOMA CITY     OK      73156-1808
ABH BAXTER LP                                                            PO BOX 1649                                                                            AUSTIN            TX      78767-1649
ABIGAIL CAMILLA GUENTHER 1976 TRUST                                      153 TREELINE PARKSTE 300                                                               SAN ANTONIO       TX      78209
ABILITY LOCK & SAFE CO.                                                  #1, 5301 - 21A AVE SE                                                                  CALGARY           AB      T2B 2E9      CANADA
                                                                                                                       9211 Lake Hefner
Abolghasem Fadaei                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Abolghasem Fadaei                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Abolghasem Fadaei                                                        4519 N Pennsylvania Ave                       Apt 1A                                   Oklahoma City     OK      73112
ABRAHAM PETERS                                                           3718 E 116TH ST                                                                        PERKINS           OK      74059-3716
ABSOLUTE TOTAL STAFFING                                                  PO BOX 3180                                                                            ZANESVILLE        OH      43702-3180
AC SIGNS & DESIGNS                                                       512 37TH ST                                                                            PARKERSBURG       WV      26101-1011
ACCEL FINANCIAL                                                          PO BOX 8039                                                                            TULSA             OK      74101-8039
ACCELERATED ARTIFICIAL LIFT SYSTEMS                                      PO BOX 732805                                                                          DALLAS            TX      75373-2805
ACCESSDATA GROUP INC                                                     588 W 400 S # 350                                                                      LINDON            UT      84042-1934
ACCESSDATA GROUP INC                                                     PO BOX 413146                                                                          SALT LAKE CITY    UT      84141-3146
ACCIPITER LLC                                                            601 S BOULDER AVE STE 1010                                                             TULSA             OK      74119-1310
ACCOUNTEMPS                                                              PO BOX 743295                                                                          LOS ANGELES       CA      90074-3295
ACCURATE SAFETY COMPLIANCE                                               PO BOX 721011                                                                          NORMAN            OK      73070-4779
ACE JORDAN                                                               2720 NW 14TH                                                                           OKLAHOMA CITY     OK      73107
ACE MOVING AND STORAGE LLC                                               1700 S EASTERN AVE                                                                     OKLAHOMA CITY     OK      73129-7440
ACE ROYALTIES LLC                                                        PO BOX 50181                                                                           MIDLAND           TX      78710

ACE TRIM SHOP INC                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
ACG MATERIALS                                                            PO BOX 268947                                                                          OKLAHOMA CITY     OK      73126
ACID TANK LEASING LLC                                                    PO BOX 1763                                                                            ENID              OK      73702
ACIDIZING & CEMENTING SERVICES INC                                       PO BOX 751                                                                             CRESCENT          OK      73028-0751
ACKRD FARMS LLC                                                          2352 MYSTIC STAR ST                                                                    HENDERSON         NV      89044-4468
ACME TRUCK LINE INC                                                      MSC-410683                                                                             NASHVILLE         TN      37241-5000
ACME TRUCK LINE INC                                                      PO BOX 415000                                                                          NASHVILLE         TN      37241-5000
ACTION APPLIANCE SERVICE                                                 404 NW 27TH ST                                                                         MOORE             OK      73160
ACTION PIPE & SUPPLY LLC                                                 PO BOX 698                                                                             HENNESSEY         OK      73742
ACTION TELECOMM LLC                                                      PO BOX 1722                                                                            PARKERSBURG       WV      26102-1722
ACTON E BLACK JR                                                         1072 WINCHUCK RIVER RD                                                                 BROOKINGS         OR      97415
ACTON RANCH LP                                                           PO BOX 20900                                                                           OKLAHOMA CITY     OK      73156
ACTONIA NEAL                                                             2710 OVERCREST LN                                                                      SAPULPA           OK      74066-8442
AD MEESE                                                                 6956 LEONARD ROAD                                                                      DEFOREST          WI      53532
ADA GAY FORMERLY JACKSON                                                 PO BOX 282                                                                             MANNFORD          OK      74044-0282
ADA LYON                                                                 521 CASTLEMAINE CIR                                                                    LONGVIEW          TX      75605-3753
ADA MARGARET STAHL LIVING TRUST                                          410 N 10TH ST                                                                          ENID              OK      73701
ADA MCALISTER                                                            3508 S HARVEY                                                                          OKLAHOMA CITY     OK      73109
ADA P RETHERFORD                                                         PO Box 571                                                                             YARNELL           AZ      75362
ADA PFEIFFER                                                             25497 N PINE                                                                           ORLANDO           OK      73073
ADA POOLE                                                                250 HARWOOD AVE                                                                        SATELLITE BEACH   FL      32937
ADA R SCROGGS ESTATE                                                     11 PECAN DR                                                                            STILLWATER        OK      74075-3825


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ADA S EASON ESTATE                                                       PO BOX 840738                                                                          DALLAS               TX       75284
ADA SEIFERT                                                              1808 SW 36TH TER                                                                       TOPEKA               KS       66611-2558
ADA SHAFFER                                                              6919 W 116TH ST                                                                        PERKINS              OK       74059-4067
ADAM ARMSTRONG                                                           145 N MAXWELL STREET                                                                   McPHERSON            KS       67460
ADAM ARUNDELL GARRETT                                                    1306 N OAK LANE                                                                        CLEVELAND            OK       74020
ADAM B BERRY LLC                                                         1854 A HENDERSONVILLE RD #107                                                          ASHEVILLE            NC       28803
ADAM BERRY                                                               10201 LEGACY OAKS PL                                                                   ASHEVILLE            NC       28803
ADAM CHRISTOPHER CASS                                                    6408 S FLORENCE WAY                                                                    ENGLEWOOD            CO       80111
ADAM COHN TRUST                                                          4809 WELFORD DR                                                                        BELLAIRE             TX       77401-5333
ADAM DOTY                             c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City        OK       73116
ADAM FOCHT                                                               29227 S TOMAHAWK                                                                       CATOOSA              OK       74015
ADAM INGRAM                           c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater           OK       74074
ADAM JEKEL                            c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City        OK       73116
ADAM KAMPA                                                               303 WESTCLIFFE CIR                                                                     WALNUT CREEK         CA       94597-3208
ADAM MORRIS                                                              16171 N BROKEN TOP DR                                                                  NAMPA                ID       83651
ADAM REAL                                                                6900 W 9TH ST                                                                          CUSHING              OK       74023-5816
ADAM SPIKES                                                              513 E TOPAZ AVE                                                                        STILLWATER           OK       74075
ADAM WICKENS                                                             2508 SAINT ANTHONY BLVD                                                                ST ANTHONY VILLAGE   MN       55418-3154
ADAM WILMOTH                                                             3305 WILLOW LN                                                                         MOORE                OK       73170-7934
                                                                                                                       9211 Lake Hefner
Adam Burt                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK       73120
                                      c/o Laminack, Pirtle & Martines,
Adam Burt                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX       77006
Adam Burt                                                                1405 Morland Ave                                                                       Norman               OK       73071
ADAMAS INVESTMENT COMPANY                                                7525 S SANDUSKY AVENUE                                                                 TULSA                OK       74136
ADAM-PERMIAN ENERY NETWORK                                               5910 ROSE ST                                                                           HOUSTON              TX       77007-5130
ADAMS FAMILY REVOC TRUST                                                 2805 E 32ND AVE                                                                        STILLWATER           OK       74074-7018
ADAMS FAMILY TRUST DTD 5/12/2014                                         PO BOX 127                                                                             STILLWATER           OK       74076
ADAMS SERVICE COMPANY INC                                                3431 N MACARTHUR                                                                       OKLAHOMA CITY        OK       73122
ADDISON GROUP                                                            7076 SOLUTIONS CENTER                                                                  CHICAGO              IL       60677-7000
ADDTRONICS                                                               PO BOX 850537                                                                          YUKON                OK       73085
ADELA F MCKOWN                                                           3851 CHURCH ST                                                                         ZACHARY              LA       70791

ADELAIDE W HORNBERGER REVOCABLE TRU                                      PO BOX 1588                                                                            TULSA                OK       74101-1588
ADELE HUEY SWEENEY                                                       13052 CAMINTO DEL MAR                                                                  DEL MAR              CA       92014
ADELE LOVE                                                               14127 N LAKE RD                                                                        MAGAZINE             AR       72943-9505
ADELIA G KILCREASE LIVING TRUST                                          3405 S UMBRELLA AVE                                                                    BROKEN ARROW         OK       74012-9578
ADELINE F LANE TRUST                                                     3037 PARKHILL DR                                                                       BILLINGS             MT       59102
ADELLA ROTH                                                              7268 RANCHO ROSA                                                                       RANCHO CUCAMONGA     CA       91701
ADI MCCASLAND                                                            500 NW 36TH TER                                                                        OKLAHOMA CITY        OK       73118-7017
ADMIRAL SQUARE INC                                                       111 S ELGIN AVE                                                                        TULSA                OK       74120
ADOBE ACQUISITIONS LLC                                                   1000 BALLPARK WAY STE 216                                                              ARLINGTON            VA       76011
ADOLPH KREJCI                                                            1312 WEST CHEROKEE                                                                     ENID                 OK       73703
ADOLPH T & FLORENCE FRIEDEMANN                                           5305 E 32ND AVE                                                                        STILLWATER           OK       74074-6116
ADP                                                                      PO BOX 842875                                                                          BOSTON               MA       02284-2875
ADPARO LLC                                                               105 N HUDSON SUITE 800                                                                 OKLAHOMA CITY        OK       73102
ADREAN ROYALTIES LLC                                                     3663 BUCHANAN AVE SPC 102                                                              RIVERSIDE            CA       92503-4863
ADREAN WOLF CORPORATION                                                  2700 SHIMMONS RD LOT 214                                                               AUBURN HILLS         MI       48326-2052
ADRIAN BOLERJACK                                                         4749 US HIGHWAY 12                                                                     ELMA                 WA       98541-9261
                                                                                                                       9211 Lake Hefner
Adrian L. Anderson                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK       73120
                                      c/o Laminack, Pirtle & Martines,
Adrian L. Anderson                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX       77006
Adrian L. Anderson                                                       4503 N. Hartford Ave                                                                   Tulsa                OK       74106
                                      c/o Rick Dane Moore and
Adrian P Bolerjack                    Associates, PLLC                   Attn: Shanda Adams                            PO Box 721775                            Norman               OK       73070
Adrian P Bolerjack                                                       4749 US Hwy 12                                                                         Elma                 WA       98541
ADRIAN WATTS                                                             10205 E 101ST ST                                                                       BROKEN ARROW         OK       74011
ADRIANNE JACK                                                            12000 QUAIL CREEK                                                                      OKLAHOMA CITY        OK       73120


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ADRIENNE SUZANNE WYNN BEAUCHAMP                                       4925 GREENVILLE AVE STE 900                                                            DALLAS           TX      75206
ADRIK WAHL                                                            18228 S ELDORITA PL                                                                    SAHUARITA        AZ      85629
ADVOCATE OIL AND GAS LLC                                              5353 KELLER SPRINGS RD APT 722                                                         DALLAS           TX      75248-2762
ADW PETROLEUM LP                                                      PO BOX 7340                                                                            AMARILLO         TX      79114
A-E PET CO PARTNERSHIP                                                2505 S 33RD W AVE                                                                      TULSA            OK      74107
AEFC                                                                  6800 N CLASSED BLVD                                                                    OKLAHOMA CITY    OK      73116
AEI LLC                                                               407 W COVELL RD #30120                                                                 EDMOND           OK      73003
AELP Global Carry Partners, LLC   Attention: Scott R. Mueller         301 N.W. 63rd, Suite 600                                                               Oklahoma City    OK      73116
AELP Global Carry Partners, LLC   Attention: Thomas J. Blalock        301 N.W. 63rd, Suite 600                                                               Oklahoma City    OK      73116
AEMS EMPLOYEE HOLDINGS LLC                                            301 NW 63RD ST STE 600                                                                 OKLAHOMA CITY    OK      73116-7909
AES DRILLING FLUIDS LLC                                               11767 KATY FWY STE 230                                                                 HOUSTON          TX      77079-1711
AES DRILLING FLUIDS PERMIAN LLC                                       4605 FIELDER RD                                                                        MIDLAND          TX      79707-2803
AETNA LIFE AND CASUALTY BERMUDA                                       151 FARMINGOTN AVE. RE4K                                                               HARFORD          CT      06152
AEW EMPLOYEE INVESTORS LLC                                            PO BOX 18756                                                                           OKLAHOMA CITY    OK      73154-0756
AEW Employee Investors, LLC       Attention: Scott R. Mueller         301 N.W. 63rd Street, Suite 600                                                        Oklahoma City    OK      73116
AEW Employee Investors, LLC       Attention: Thomas J. Blalock        301 N.W. 63rd Street, Suite 600                                                        Oklahoma City    OK      73116
AEW FF LLC                                                            PO BOX 18756                                                                           OKLAHOMA CITY    OK      73154-0756
AEW FF, LLC                       Attention: Scott R. Mueller         301 N.W. 63rd Street, Suite 600                                                        Oklahoma City    OK      73116
AEW FF, LLC                       Attention: Thomas J. Blalock        301 N.W. 63rd Street, Suite 600                                                        Oklahoma City    OK      73116
AEW LLC                                                               3425 LAWNDALE AVE                                                                      FORT WORTH       TX      76133-3014
AEW SERVICES LLC                                                      PO BOX 18756                                                                           OKLAHOMA CITY    OK      73154-0756
AF CONSULTING LLC                                                     PO BOX 984                                                                             HOUSTON          TX      77001-0984
AFFIRMED ENERGY RESOURCES                                             924 NW 17TH ST                                                                         OKLAHOMA CITY    OK      73106-6409
AFI ROYALTY LLC                                                       PO BOX 794548                                                                          DALLAS           TX      75379-4548
AFLAC                                                                 1932 WYNNTON RD                                                                        COLUMBUS         GA      31999-0001
AFP OF CENTRAL OKLAHOMA                                               7501 W MEMORIAL RD                                                                     OKLAHOMA CITY    OK      73142-1404
                                                                                                                    9211 Lake Hefner
Afzal Salviri                     c/o Atkins & Markoff                Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                  c/o Laminack, Pirtle & Martines,
Afzal Salviri                     LLP                                 Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Afzal Salviri                                                         11109 N McKinley                                                                       Oklahoma City    OK      73114
AG & OIL FIELD LLC                                                    PO BOX 1952                                                                            EDMOND           OK      73083
AG & OIL FIELD LLC                                                    PO BOX 108835                                                                          OKLAHOMA CITY    OK      73101-8835
AG & OIL FIELD LLC                                                    4584 HWY 81                                                                            Rush Springs     OK      73082
                                  c/o McAlister, McAlister, Baker &
Ag & Oil Field, LLC               Nicklas PLLC                        Attn: Brandon Baker                           15 E. 15th St        Ste. 200            Edmond           OK      73013
AG KAISER ESTATE                                                      12600 DEEP WOOD CREEK DRIVE                                                            Oklahoma City    OK      73142
AGAVE ENERGY INC                                                      30039 S COUNTY ROAD 4300                                                               STIGLER          OK      74462-1684
AGERB LLC                                                             4501 S VINE WAY                                                                        ENGLEWOOD        CA      80113
AGGREKO LLC                                                           PO BOX 972562                                                                          DALLAS           TX      75397
AGI - THE EASYCOPY COMPANY                                            2500 E TC JESTER BLVD STE 150H                                                         HOUSTON          TX      77008-1449
AGNES L BITTMAN TTEE                                                  2403 TECKLA BLVD                                                                       AMARILLO         TX      79106
AGNES LEACHMAN BITTMAN                                                2403 TECKLA BLVD                                                                       AMARILLO         TX      79106-6022
AGNES LUCILLE BENNETT                                                 4626 SHETLAND LN                                                                       HOUSTON          TX      77027
AGNES OTJEN                                                           PO BOX 1166                                                                            LAUREL           MT      59044
AGNES SIEGRIST                                                        1300 REDBUD ST APT 101                                                                 YUKON            OK      73099-5601
AHRBERG FAMILY TRUST                                                  1020 E 9TH PL                                                                          CUSHING          OK      74023
AHRNSBRAK LIVING TR DTD 7-18-96                                       1362 N SANDY CREEK CIR UNIT 3                                                          NIXA             MO      65714
AI ENERGY LLC                                                         4213 HICKORY CREEK LN                                                                  EDMOND           OK      73034-1017
                                                                                                                    9211 Lake Hefner
Aila Wimpy                        c/o Atkins & Markoff                Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                  c/o Laminack, Pirtle & Martines,
Aila Wimpy                        LLP                                 Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Aila Wimpy                                                            7777 W. Skyline Dr                                                                     Tulsa            OK      74107
AILENE F MARTIN REV TRUST                                             PO DRAWER #99084                                                                       FT. WORTH        TX      76199-0084
AILENE MARTIN                                                         170 CHILEAN AVE APT 5B                                                                 PALM BEACH       FL      33480-6741
AIM TO PLEASE LLC                                                     PO BOX 3821                                                                            BROKEN ARROW     OK      74013-3821
AIMEE LOYD                                                            1714 WILSON ST                                                                         MUNSTER          IN      46321
AIMEE SIMS                                                            4245 WAKE FOREST RD                                                                    EDMON            OK      73034-9222


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AINSLIE MORTON                                                           PO BOX 10196                                                                           PALM DESERT        CA       92255-0196
AIRBORNE INVESTMENTS INC                                                 PO BOX 31051                                                                           EDMOND             OK       73003
AIRGAS INC                                                               6001 HWY 90 W                                                                          NEW IBERIA         LA       70560
AIR-O HEAT & AIR CONDITIONING INC                                        3518 S BOOMER RD                                                                       STILLWATER         OK       74074-7523
Aisenberg, Mark                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK       73116
AJ ABBLITT                            c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK       73116
AJAY AND RUPA PATEL                                                      263 COUNTY ROAD 861                                                                    CLANTON            AL       35045
AJAY KUMAR                                                               5001 S 3RD AVE                                                                         STILLWATER         OK       74074-6796
AJC MINERALS INC                                                         2721 NW 46TH ST                                                                        OKLAHOMA CITY      OK       73112
AJW LAND GROUP LLC                                                       2337 OLIVIA LN                                                                         LITTLE ELM         TX       75068
AKITA COMPRESSION SERVICES LLC                                           14701 GLENMARK DR                                                                      EDMOND             OK       73013-1820
AKL SERVICES INC                                                         PO BOX 59001 DEPT 4039                                                                 TULSA              OK       74159-9001
AL & BONNIE WILLIAMS LIVING TRUST D                                      5525 W 9TH ST                                                                          CUSHING            OK       74023
AL A GREINER TRUST                                                       PO BOX 438                                                                             BARTLESVILLE       OK       74005-0438
AL T SINGLETARY ESTATE DECD                                              533 WOLF DR                                                                            FORNEY             TX       75126
AL WESTFAHL                                                              6003 S. STAVE RD.                                                                      LAHOMA             OK       73754
ALADDIN PETROLEUM CORP                                                   PO BOX 3916                                                                            WICHITA            KS       67201
ALAN A LEWTER REVOC TRUST                                                1223 S FAIRWAY DR                                                                      STILLWATER         OK       74074-1317
ALAN A MEYER                                                             214593 E 730 ROAD                                                                      CAMARGO            OK       73835
ALAN ARMSTRONG                                                           21396 REDBUD STREET                                                                    GARFIELD           AR       72732
ALAN BARKER                                                              350 E WHITTIER ST                                                                      KANSAS CITY        MO       64119-3130
ALAN BECKER                                                              203 RAVINE RD                                                                          HINSDALE           IL       60521
ALAN BERGSTROM                                                           PO BOX 26983                                                                           AUSTIN             TX       78755
ALAN BLAKLEY                                                             13000 SCHROEDER ROAD                                                                   HOUSTON            TX       77070-4226
ALAN BROWN                                                               PO BOX 123                                                                             PAWHUSKA           OK       74056
ALAN BULLEN                                                              6614 CHESTER PARK DR                                                                   JACKSONVILLE       FL       32222-1430
ALAN EVERS                                                               7524 ADWEN ST                                                                          DOWNEY             CA       90241-4418
ALAN FREEMAN                                                             1917 WOODSHADOW RD                                                                     OKLAHOMA CITY      OK       73131
ALAN FRICKENSCHMIDT                                                      4228 N 102ND ST                                                                        ENID               OK       73701
ALAN FRIEDEMANN                                                          19913 OAKSHIRE DR                                                                      EDMOND             OK       73012
ALAN GOLDEN                                                              14221 MEANDERING WAY                                                                   DALLAS             TX       75254-2730
ALAN HANNER                                                              PO BOX 53                                                                              NAHCOTTA           WA       98637
ALAN HANNIFIN                                                            PO BOX 8874                                                                            DENVER             CO       80201-8874
ALAN HANSEN                                                              1215 LOVE STREET SE                                                                    SMYRNA             GA       30080
ALAN HAYDEN                                                              25360 W 265                                                                            PAOLA              KS       66071
ALAN HETHERINGTON                                                        316 W WEBB                                                                             GLENCOE            OK       74032
ALAN HOLBROOK                                                            321 NE 4TH ST                                                                          PERKINS            OK       74059-3005
ALAN HOWENSTINE                                                          8101 N.W. 110TH STREET                                                                 OKLAHOMA CITY      OK       73162
ALAN J SHADA                                                             610 VIA DEL MAR                                                                        VISTA              CA       92081-6347
ALAN J SHADA AND JACQUELINE SHADA                                        610 VIA DEL MAR                                                                        VISTA              CA       92081-6347
ALAN KATZ                                                                3601 TURTLE CREEK BLVD #1003                                                           DALLAS             TX       75219
ALAN L COOK 2003 TR AGREEMENT                                            33 FRIENDSHIP LN                                                                       COLORADO SPRINGS   CO       80904-1815
ALAN MAY                                                                 3601 TRUTLE CREEK BLVD, # 302                                                          DALLAS             TX       75219-5552
ALAN MCCROSKEY                                                           PO BOX 1205                                                                            TUTTLE             OK       73089
ALAN N GORDON FAMILY TR                                                  2524 NW 62ND ST                                                                        OKLAHOMA CITY      OK       73112
ALAN NELSON                                                              3925 NW 46TH ST                                                                        OKLAHOMA CITY      OK       73112-2252
ALAN PENNINGTON                                                          124 SHERIDAN CIR                                                                       CHARLESTON         WV       25314
ALAN REID                                                                801 TOWN AND COUNTRY LANE                                                              HOUSTON            TX       77024
ALAN RICHARDSON                                                          19139 HIGHWAY 6                                                                        SAYRE              OK       73662
                                                                                                                       9211 Lake Hefner
Alan Rogers                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Alan Rogers                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Alan Rogers                                                              5807 E. 47th Place                                                                     Tulsa              OK       74135
ALAN SCHROEDER                                                           311 RIDGEVIEW DR                                                                       CLAREMORE          OK       74017-4809
ALAN W KEISTER                                                           1110 CARMEL CT                                                                         HANDFORD           CA       93230
ALAN WALL                                                                1053 KENSINGTON DR                                                                     ROSENVILLE         CA       95661-5339
ALAN WEBB                                                                128 DEER CREEK RD                                                                      EDMOND             OK       73012
ALAN WESTERMIER                                                          4615 WHITE OAK DR                                                                      STILLWATER         OK       74074-8535


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ALAN WILLARD HOFFMAN                                                     436 DURANGO ST                                                                               ARDMORE         OK      73401
Alan Yoak                             c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St    Ste. 4000               Dallas          TX      75070
Alan Yoak                             c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica       Ste. 400                Tulsa           OK      74104
Alan Yoak                             c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                                    New York        NY      10017
Alan Yoak                                                                47013 S 35800 Rd                                                                             Pawnee          OK      74058
ALANA HULSEY                                                             1425 CR 1190                                                                                 TUTTLE          OK      73089
ALANNA C SMITH ALANNA CAROLINE SMIT                                      4900 JOE RAMSEY BLVD E APT 1511                                                              GREENVILLE      TX      75401-7827
                                                                                                                       333 Willoughby
Alaska Dept of Revenue                Treasury Division                  Unclaimed Property Program                    Avenue 11th Floor      State Office Building   Juneau          AK      99801-1770
                                                                                                                                                                                                           NEW
ALASTAIR WATSON                                                          35 TORQUAY PLACE                                                                             CHRISTCHURCH            8053         ZEALAND
ALBERT BARKER                                                            1603 N HOCKER AVE                                                                            INDEPENDENCE    MO      64050-1930
ALBERT BEEBE                                                             3125 W OKLAHOMA                                                                              ENID            OK      73703
ALBERT BEEKLY                                                            315 WILLOW AVE                                                                               NEW BRAUNFELS   TX      78130
ALBERT CRABTREE                                                          15 N 9TH ST STE B1                                                                           DUNCAN          OK      73533-4657
ALBERT D MCCALL LIVING TRUST                                             3714 S HUSBAND ST                                                                            STILLWATER      OK      74074-7508
ALBERT E BONTE TRUST                                                     4654 HIGHWAY 357                                                                             CAMPOBELLO      SC      29322
ALBERT FADEM                                                             3620 E 47TH PLACE                                                                            TULSA           OK      74135
ALBERT GLUTH                                                             46 CHAMPIONS BEND CIRCLE                                                                     HOUSTON         TX      77069
ALBERT GRAYBILL                                                          1487 CHILDRESS FERRY RD                                                                      BLOUNTVILLE     TN      37617
ALBERT HOLBA                                                             7923 FALL HOLLOW DR                                                                          HOUSTON         TX      77041
ALBERT KNAUSS                                                            716 N ELM ST                                                                                 WEATHERFORD     OK      73096-5841
ALBERT L & CECILE M CRABTREE TRUST                                       239 BROWNSTONE LANE                                                                          WOODLAWN        VA      24381-3821
ALBERT L HEMPHILL REV LVG TR                                             7300 E 121ST PL S                                                                            BIXBY           OK      74008
ALBERT LEONARD JACOB JR                                                  6458 N NEW BRAUNFELS                                                                         SAN ANTONIO     OK      78209
ALBERT MEIER OIL LLC                                                     56 SPY POINTE LN                                                                             FLETCHER        NC      28732
ALBERT MYERS                                                             11445 W CR 71                                                                                CRESCENT        OK      73028

ALBERT NEAL GIST                                                         5900 SOUTH LAKE FOREST DR STE 300                                                            MCKINNEY        TX      75070
ALBERT PECK AND CHARLEEN PECK                                            10466 N 2280 ROAD                                                                            CLINTON         OK      73601-7580
ALBERT PRIOR                                                             1753 190TH                                                                                   MARION          KS      66861
ALBERT QUICK                                                             20050 COUNTY RD 200                                                                          PERRY           OK      73077
ALBERT SILVA                                                             4216 INMAN CT                                                                                FORT WORTH      TX      76109
                                                                                                                       9211 Lake Hefner
Albert Smith                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104                Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Albert Smith                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl                  Houston         TX      77006
Albert Smith                                                             1447 N. Urbana Ave                                                                           Tulsa           OK      74115
ALBERT SUMNER                                                            814 E FORDHAM ST                                                                             LUBBOCK         TX      79403-3106
ALBERT THATCHER                                                          1731 SUNSET LN                                                                               FULLERTON       CA      92833-1732
ALBERT WASHABAUGH                                                        12601 227TH ST E                                                                             GRAHAM          WA      98338
ALBERT WEHE                                                              11117 WOODMONT DR                                                                            RALEIGH         NC      27613-6809
ALBERTA JEAN REIDLE                                                      15843 LAWRENCE 2190                                                                          VERONA          MO      65769
ALBERTA LINVILLE                                                         47109 GLENAIRE CT                                                                            STERLING        VA      20165-7521
ALBERTA LOUISE STUMPFF                                                   PO BOX 291                                                                                   MADILL          OK      73446
ALBERTA M PALMQUIST IRREV TRST                                           3521 N CREIGHTON CT                                                                          SCOTTSDALE      AZ      85251-5727

ALBERTA TREASURY BOARD AND FINANCE                                       9811 - 109 ST                                                                                EDMONTON        AB      T5K 2L5      CANADA
ALBERTEEN FLINT FAMILY TRUST                                             1524 E 9TH ST                                                                                CUSHING         OK      74023-4726
ALBRIGHT LIVING TR 11802                                                 2615 E MCELROY ROAD                                                                          STILLWATER      OK      74075
ALDEN F BUSH                                                             1559 E 137TH PL                                                                              GLENPOOL        OK      74003
ALDERSON REVOCABLE TRUST                                                 1412 N COUNTRY CLUB RD                                                                       STILLWATER      OK      74075
ALDRIDGE SERVICES LLC                                                    PO BOX 872                                                                                   MOORELAND       OK      73852
                                                                                                                       9211 Lake Hefner
Alene Melton                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104                Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Alene Melton                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl                  Houston         TX      77006
Alene Melton                                                             112 N. Fowler                                                                                Meeker          OK      74855
ALETHA BENGS                                                             PO BOX 614                                                                                   KINGFISHER      OK      74848


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               CreditorName               CreditorNoticeName                          Address1                            Address2                 Address3             City   State       Zip        Country
ALETHEIA PTY LIMITED                                                   23 BRADLEYS HEAD ROAD                                                                                                        AUSTRALIA
ALEX CUMMINGS                                                          3624 WINDING LAKE CIRCLE                                                               ARCADIA          OK      73007
ALEX HERNANDEZ                                                         1500 NW 40TH ST                                                                        OKLAHOMA CITY    OK      73118-2628
ALEX MORRIS                                                            23636 SE HWY 224                                                                       BORING           OR      97009
ALEX SINGER ROYALTY TR NO 1                                            PO BOX 755                                                                             TULSA            OK      74101
ALEXA GRONINGER                                                        PO BOX 273                                                                             MIFFLIN          PA      17058
ALEXA HODGES                                                           1101 HEMSTEAD PL                                                                       NICHOLS HILLS    OK      73116-6210
ALEXANDER GATES                                                        PO BOX 35747                                                                           TULSA            OK      74153
ALEXANDER MAYS                                                         7223 E 72ND ST                                                                         TULSA            OK      74133
                                                                                                                     9211 Lake Hefner
Alexander S. Shevat                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Alexander S. Shevat                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Alexander S. Shevat                                                    5610 Covey Run Dr                                                                      Edmond           OK      73034
ALEXANDER SHOR                                                         4436 SIERRA DR                                                                         HONOLULU         HI      96816-4022
                                                                                                                     9211 Lake Hefner
Alexander T. Lunn                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Alexander T. Lunn                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Alexander T. Lunn                                                      4722 Lynn St                                                                           Guthrie          OK      73034
ALEXANDRA MOORE                                                        1836 NE 135TH ST                                                                       OKLAHOMA CITY    OK      73131-8001
ALEXIS SHARP                                                           PO BOX 821                                                                             PERKINS          OK      74059
ALFALFA ELECTRIC COOPERATIVE INC.                                      PO BOX 39                                                                              CHEROKEE         OK      73728
Alfalfa Electric Cooperative Inc.                                      121 East Main Street                                                                   Cherokee         OK      73728
                                                                                                                     9211 Lake Hefner
Alfonzo McMillian                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Alfonzo McMillian                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Alfonzo McMillian                                                      11737 Blue Moon Ave                                                                    Oklahoma City    OK      73162
ALFORD RAINS                                                           324 W WACO PL                                                                          BROKEN ARROW     OK      74011-3450
Alford, Robert                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
ALFREADA CROOK                                                         2305 EAST 19TH ST NORTH                                                                NEWTON           IA      50208
ALFRED BAMBERG                                                         514 SOUTH GARFIELD ST                                                                  ENID             OK      73703
                                                                                                                     9211 Lake Hefner
Alfred C. Draper III                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Alfred C. Draper III                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Alfred C. Draper III                                                   105077 S. 3470 Rd                                                                      Meeker           OK      74855
ALFRED DOTY                                                            475 ELKINS LAKE                                                                        HUNTSVILLE       TX      77340
ALFRED E GUTMAN CORP                                                   15 UPTON AVE                                                                           PROVIDENCE       RI      02906-4638
ALFRED HARDING                                                         3709 S UNION RD                                                                        STILLWATER       OK      74074
ALFRED HICKS                                                           5730 89TH                                                                              LUBBOCK          TX      79424
ALFRED LUSTER                                                          6700 N WESTMINISTER RD                                                                 SPENCER          OK      73084-6124
ALFRED MORGAN                                                          PO BOX 641242                                                                          KENNER           LA      70064
ALFRED PETERMAN                                                        2810 E 56TH ST                                                                         STILLWATER       OK      74074
ALFRED T REECE &                                                       11445 W CR 71                                                                          CRESCENT         OK      73028
ALFREDA LOUISE TIBBETT                                                 RT 2 BOX 65 C                                                                          VICI             OK      73859
ALFREDA LUSTER                                                         6700 N WESTMINISTER RD R                                                               SPENCER          OK      73084-6124
ALFREDO SALINAS                                                        1104 ASH DRIVE                                                                         WESLACO          TX      78596
                                                                                                                     9211 Lake Hefner
Algritta Mutebi                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Algritta Mutebi                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Algritta Mutebi                                                        1645 N. Norfolk Ave                                                                    Tulsa            OK      74106
                                                                                                                     9211 Lake Hefner
Ali Karimian                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Ali Karimian                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Ali Karimian                                                           8020 S. 88th E. Ave                                                                    Tulsa            OK      74133


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ALICE ANDRES                                                             645 TANBRIDGE RD                                                                         WILMINGTON             NC    28405
ALICE B MARTIN FAMILY TRUST                                              8226 DOUGLAS AVE STE 520                                                                 DALLAS                 TX    75225
ALICE B PREWITT TR U/W/D 9/3/83                                          PO BOX 99084                                                                             FT. WORTH              TX    76199-0084

ALICE BADGER DANGOTT TRST UWO BJ BA                                      PO BOX 3499                                                                              TULSA                  OK    74101
ALICE BRAMMER                                                            7125 E AZURE DR                                                                          CANE CREEK             AZ    95331
                                                                                                                       9211 Lake Hefner
Alice Brown                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City          OK    73120
                                      c/o Laminack, Pirtle & Martines,
Alice Brown                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston                TX    77006
Alice Brown                                                              813 W. Waco St                                                                           Broken Arrow           OK    74011
ALICE C RICHARD &                                                        355 SPRINGFIELD PIKE                                                                     WYOMING                OH    45215
ALICE C RICHARD REV LIV TR                                               1785 DOUGLAS RD # 42                                                                     FRIDAY HARBOR          WA    98250
ALICE DAVIS                                                              7609 S MAPLEWOOD AVE                                                                     TULSA                  OK    74136-8518
Alice Denney                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St    Ste. 4000           Dallas                 TX    75070
Alice Denney                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica       Ste. 400            Tulsa                  OK    74104
Alice Denney                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                                New York               NY    10017
Alice Denney                                                             402 N. Vine Ave                                                                          Cleveland              OK    74020
ALICE DEVALL                                                             505 LYNETTE AVE                                                                          BULL SHOALS            AR    72619
ALICE F KATHRYN BURNS ROHUS TR                                           1475 HAPPY HOLLOW DR                                                                     NEW BRAUNFELS          TX    78132-2382
ALICE GREEN                                                              145 HUGUENOT ST STE 412                                                                  NEW ROCHELLE           NY    10801-5237
ALICE GRISWOLD FOSTER                                                    PO BOX 1115                                                                              PECOS                  TX    79772-1115
ALICE HESS DECD                                                          1713 E BOYD                                                                              NORMAN                 OK    73071-2617
ALICE J WOOD & CHARAINE WOOD JTS                                         409 Collins Court                                                                        STILLWATER             OK    74074
ALICE L FANCHER                                                          1905 N BRYAN AVE APT 128                                                                 SHAWNEE                OK    74804
ALICE LAMARTINIERE                                                       38261 JENNIFER CT                                                                        GONZALES               LA    70737
ALICE LASATER                                                            2617 SEASCAPE CT                                                                         PLANO                  TX    75093
ALICE LENA HARAWAY TRUST                                                 7122 S SHERIDAN BOX 604                                                                  TULSA                  OK    74133

ALICE M DENNIS                                                           5900 SOUTH LAKE FOREST DR STE 300                                                        MCKINNEY               TX    75070
ALICE M. ZALOUDEK FAMILY LP ZALOUDE                                      17466 C.R. 920                                                                           Pond Creek             OK    73766
ALICE MAE DOUGAN-LEACH                                                   4205 N HUDSON ROAD                                                                       COOLIDGE               AZ    85128
ALICE MUSSER                                                             427 BRYARWOOD DR                                                                         NORMAN                 OK    73069
ALICE OGDEN                                                              40396 HOLIK RD                                                                           HEMPSTEAD              TX    77445-3720
ALICE ORGAIN                                                             2316 ROYAL ACRES DR                                                                      DENTON                 TX    76209-8640
ALICE PATISON                                                            3260 GARRETSON CR                                                                        CORONA                 CA    92881

ALICE PREWITT TEST TR                                                    5770 CHARLOU DR                                                                          CHERRY HILLS VILLAGE   CO    80111-1106
ALICE PREWITT TRUST                                                      PO BOX 99084                                                                             FORT WORTH             TX    76199-0084
ALICE REININGA BUTLER                                                    5109 CARVERSHAM CT                                                                       WINSTON SALEM          NC    27106-4783
ALICE SCHAFROTH                                                          3325 COLUMBIA VIEW DR #229                                                               THE DALLES             OR    97508
ALICE STEWARD                                                            105935 S HWY 177                                                                         MCLOUD                 OK    74851
                                                                                                                       9211 Lake Hefner
Alice Strong Simmons                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City          OK    73120
                                      c/o Laminack, Pirtle & Martines,
Alice Strong Simmons                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston                TX    77006
Alice Strong Simmons                                                     3304 N. Maxwell Dr                                                                       Oklahoma City          OK    73121
ALICE SVELAN                                                             101 DAWN PLACE                                                                           YORKTOWN               VA    23693
ALICE URBANO                                                             1020 5TH AVE. SOUTH, APT#9                                                               EDMONDS                WA    98020-4039
ALICE WESNER                                                             7426 YARWOOD STREET NE                                                                   ALBUQUERQUE            NM    87109-3926
ALICE WHITE                                                              10780 CORNISH AVE                                                                        LYNWOOD                CA    90262-2218
ALICE ZLOTNICK                                                           DOAR CHOPIN                                                                              JERUSALEM                    91000        ISRAEL
ALICIA BREUIL LAMMERTS ESTATE                                            1509 GUILFORD LN                                                                         NICHOLS HILLS          OK    73120
ALICIA HURST WOODARD                                                     10638 E. 18TH                                                                            TULSA                  OK    74128
ALICIA LAMMERTS                                                          1509 GUILFORD LN                                                                         OKLAHOMA CITY          OK    73120
ALICIA PARKMAN                                                           1725 NE 59TH AVE                                                                         PORTLAND               OR    97213
ALICIA POTVIN                                                            525 N STEWART AVE                                                                        LOMBARD                IL    60148
ALICIA RENEE HARMENING                                                   915 BUCHANAN AVE NW                                                                      PIEDMONT               OK    73078



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                                                                                                                       9211 Lake Hefner
Alireza Dabiri                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Alireza Dabiri                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Alireza Dabiri                                                           505 Cinammon Dr                                                                        Edmond             OK      73003
ALISA OVERTON                                                            PO BOX 4184                                                                            CHICO              CA      95927-4184
ALISHA MCDONALD                                                          25057 E 110TH ST                                                                       BROKEN ARROW       OK      74014
ALISHIA MARRIOTT                                                         3001 EDGEWATER                                                                         WOODWARD           OK      73801
ALJT LLC                                                                 1713 LOIS LYNN LANE                                                                    EDMOND             OK      73003
ALL MINERAL VENTURES LLC                                                 8307 S INDIANAPOLIS PL                                                                 TULSA              OK      74137
ALL PRO APPLIANCE SERVICE                                                317 NW 60th, SUITE D                                                                   OKLAHOMA CITY      OK      73118
ALL STAR MOVING AND STORAGE                                              PO BOX 54675                                                                           OKLAHOMA CITY      OK      73154-1675
ALLAN ATKINSON                                                           3714 MURWORTH DRIVE                                                                    HOUSTON            TX      77025
ALLAN KNAPP                                                              1644 SUNNY SIDE                                                                        LANSING            MI      48910

ALLAN L JANSSEN                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070

ALLAN L PECK                                                             5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
ALLAN SKOUBY                                                             1715 LAKERIDGE BLVD                                                                    SUNSET             TX      76270
ALLAN WILSON                                                             16201 COUNTY RD 100                                                                    PERRY              OK      73077
ALLAR COMPANY                                                            PO BOX 1567                                                                            GRAHAM             TX      76450-1567
ALLAR DEVELOPMENT LLC                                                    PO BOX 1567                                                                            GRAHAM             TX      76450-7567
ALLDALE MINERALS LP                                                      2100 ROSS AVESTE 1870 L                                                                DALLAS             TX      75201
ALLEGHENY ENERGY LLC                                                     1214 N HWY 81STE 116                                                                   DUNCAN             OK      73533
ALLEGIANT ENERGY SERVICES LLC                                            PO BOX 2407                                                                            ELK CITY           OK      73648
ALLEGIANT MINERALS LLC                                                   RR 1 BOX 122                                                                           BALKO              OK      73931
ALLEGIS GROUP HOLDINGS INC                                               PO BOX 198568                                                                          ATLANTA            GA      30384-8568
ALLEGRO DEVELOPMENT CORPORATION                                          PO BOX 202781                                                                          DALLAS             TX      75202
ALLEGRO ROYALTY POOL LLC                                                 15 E 5TH ST SUITE 3300                                                                 TULSA              OK      74103
                                                                                                                       9211 Lake Hefner
Allen Burke                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Allen Burke                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Allen Burke                                                              4408 SE 41st St                                                                        Norman             OK      73071
ALLEN APBLETT                                                            3110 TIMBERLAKE DR                                                                     STILLWATER         OK      74075
ALLEN AXTELL                                                             137 KILLINGTON WAY                                                                     ORLANDO            FL      32835-6809
ALLEN BROYLES                                                            5621 FLOWERWOOD LN                                                                     MCKINNEY           TX      75070-6663
ALLEN BUTLER                                                             750026 KELLY AVE                                                                       AGRA               OK      74824
ALLEN C KINCHELOE LVNG TRST                                              2313C NANTUCKET DR                                                                     HOUSTON            TX      77057-2956
ALLEN C LEE                                                              307 HIGH PLAINS DR                                                                     DRIPPING SPRINGS   TX      78620-2752
ALLEN CHASE                                                              3016 N. 61st                                                                           Fairmont City      IL      62201
ALLEN D MEESE                                                            6956 LEONARD ROAD                                                                      DEFOREST           WI      53532
ALLEN D MEESE FAMILY REV TR                                              6956 LEONARD ROAD                                                                      DEFOREST           WI      53532
ALLEN ENERGY INVESTMENTS LLC                                             PO BOX 1188                                                                            SPRING BRANCH      TX      78070
ALLEN FRED AXTELL                                                        209 SW CHAPMAN AVENUE                                                                  PORT SAINT LUCIE   FL      34984
ALLEN HENKE                                                              907 N BROOKWOOD DR                                                                     PERRY              OK      73077
ALLEN HOBSON                                                             PO BOX 306                                                                             COVINGTON          OK      73730
ALLEN JEFFRIES                                                           PO BOX 132                                                                             AGRA               OK      74824-0132
ALLEN JOHNSON                                                            3218 S MAYWOOD AVE                                                                     INDEPENDENCE       MO      64052-1225
ALLEN KENNEDY                         BOKF NA AS AGENT                                                                                                          TULSA              OK      74101-1588
ALLEN LEDBETTER                                                          35688 EW 1265                                                                          SEMINOLE           OK      74868
ALLEN LOCKETT                                                            1522 CEDARDALE                                                                         STILLWATER         OK      74075
ALLEN MILLER                                                             3933 E CR 63                                                                           ORLANDO            OK      73073
ALLEN PARELMAN                                                           402 W 50TH ST                                                                          KANSAS CITY        MO      64112
ALLEN RATHOLE INC                                                        3001 MAIN ST                                                                           ARKOMA             OK      74901-3748
ALLEN RAY LAWS AND PENNY MICHELLE L                                      13298 NE 23RD ST                                                                       CHOCTAW            OK      73020
ALLEN SWEET                                                              4324 S BRADEN PL                                                                       TULSA              OK      74135-6218
ALLEN TRAPP                                                              2109 S DELAWARE ST                                                                     SPRINGFIELD        MO      65804



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                                                                                                                       9211 Lake Hefner
Allen Tsoodle                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Allen Tsoodle                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Allen Tsoodle                                                            4024 N. Euchee Valley Rd                                                               Cushing          OK      74023
ALLEN WEBB                                                               1200 ROSE TERR                                                                         PERRY            OK      73077
ALLEN WIGGS                                                              PO BOX 73                                                                              PORTER           OK      74454-0073
ALLENE OLIPHANT MAYO TRUST                                               1437 S BOULDER AVE STE 1250                                                            TULSA            OK      74119-3620
ALLENE WICKMAN                                                           15711 TANYA CIR                                                                        HOUSTON          TX      77079
ALLESCO                                                                  PO BOX 40130                                                                           HOUSTON          TX      77240
ALLFORD HALL MONAGHAN MORRIS                                             726 W SHERIDAN AVE STE 140                                                             OKLAHOMA CITY    OK      73102-2412
ALLFORD IVESTER GREEN                                                    PO BOX 130                                                                             MCALESTER        OK      74502-0130
Allgood, Felicia                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
ALLIANCE CAREERS II INC                                                  5000 FALLS OF NEUSE RD STE 405                                                         RALEIGH          NC      27609
ALLIANCE FINANCIAL RESOURCES LLC                                         5410 E HIGH ST STE 200                                                                 PHOENIX          AZ      85054-5485
ALLIANCE MAINTENANCE INC                                                 PO BOX 695                                                                             LOWELL           AR      72745-0695
ALLIANCE MIDCON INC                                                      NW7939 PO BOX 1450                                                                     MINNEAPOLIS      MN      55485-7939
ALLIANCE MIDCON INC                                                      PO BOX 1450                                                                            MINNEAPOLIS      KS      55485-6333
ALLIANCEHEALTH WOODWARD                                                  900 17th ST                                                                            WOODWARD         OK      73801-2448
ALLIE AND APRIL BRIDGES NEWTON                                           6624 AMBER DRIVE                                                                       ODESSA           TX      79762-5414
ALLIE KAY LINELL                                                         46 MEADOWS ST                                                                          GUILFORD         CT      06437
ALLIE PEOPLES                                                            2622 NW 62ND                                                                           OKLAHOMA CITY    OK      73112
ALLIE REYNOLDS ESTATE                                                    3029 BUCHANAN ST                                                                       SAN FRANCISCO    CA      94123-4201
ALLIED ARTS FOUNDATION INC                                               1015 N BROADWAY AVE STE 200                                                            OKLAHOMA CITY    OK      73102-5849
ALLIED WASTE SERVICES OF STILLWATER                                      PO BOX 677839                                                                          DALLAS           TX      75267-7839
ALLIED WIRELINE SERVICES LLC                                             3200 WILCREST #170                                                                     HOUSTON          TX      77042
ALLINE R PFEIFFER LOVING TRUST                                           23681 N HWY 77                                                                         ORLANDO          OK      73073
ALLISON GARDNER                                                          6678 SCENIC CT                                                                         FIRESTONE        CO      80504-9732
ALLISON GARNER                                                           7245 SITIO LIMA                                                                        CARLSBAD         CA      92009
ALLISON KANAN BUCKLES                                                    611 ARBOR DR                                                                           FLORENCE         SC      29501
ALLISON LEHR                                                             5912 NW 157TH ST                                                                       EDMOND           OK      73013-9073
ALLISON N BUCKLE                                                         8104 112TH STREET SW                                                                   LAKEWOOD         WA      98498
                                                                                                                       9211 Lake Hefner
Allison Stephens                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Allison Stephens                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Allison Stephens                                                         15915 NE 209th St                                                                      Luther           OK      73054
ALLONZ LLC                                                               3566 FERGUSON RD                                                                       BEGGS            OK      74421
Allsbury, Stephanie                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
ALLURA FORD                                                              3508 GREEN OAKS WAY                                                                    EDMOND           OK      73034-8966
ALMA BICKLEY                                                             802 JONES RD                                                                           HIGHLANDS        TX      77566
ALMA DONNELL                                                             1220 N 64TH ST                                                                         KANSAS CITY      KS      66102
ALMA FITZPATRICK                                                         22247 BARBACOA DR                                                                      SAUGUS           CA      91350
ALMA FOSTER                                                              1820 RYAN                                                                              WEATHERFORD      OK      73096
ALMA JEROME                                                              4378 MARKET RD                                                                         HOMEDALE         ID      83628
ALMA KING                                                                812 E HILL ST # 3L                                                                     OKLAHOMA CITY    OK      73105-7630
ALMA LOUISE KAUTZ                                                        2223 W. 92ND STREET                                                                    PERKINS          OK      74059
ALMA MAE HAMILTON                                                        9626 S SANDOUSKY AVE                                                                   TULSA            OK      74137
ALOAH DRESSEN                                                            2811 TEAGUE RD APT 1349                                                                HOUSTON          TX      77080
ALOIS RALSTON                                                            336 S. FAIRVALE AVE.                                                                   AZUSA            CA      91702-4737
ALONZO FORD TESTAMENTARY TR                                              4809 PEPPERIDGE PL                                                                     ODESSA           TX      79761-2216
ALORA REA                                                                3102 FERNHURST DR                                                                      RICHARDSON       TX      75082-3627
ALPADACH LLC                                                             400 WEST END AVE #8A                                                                   NEW YORK         NY      10024
                                                                                                                       9211 Lake Hefner
Alpha Bower                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Alpha Bower                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Alpha Bower                                                              2320 W. Dallas St                                                                      Broken Arrow     OK      74012
ALPHA INSPECTION SERVICES LLC                                            PO BOX 803                                                                             WOODWARD         OK      73802


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ALPHA LONGAN                                                             8219 W 92ND                                                                            COYLE           OK    73027
ALPHA VENTURES LLC                                                       PO BOX 1558                                                                            POINT CLEAR     AL    36564
                                                                                                                       9211 Lake Hefner
Alphons Efiom                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Alphons Efiom                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Alphons Efiom                                                            656 NW 120th S.E.                                                                      Oklahoma City   OK    73114
                                                                                                                       9211 Lake Hefner
Alphonso Quesada Rodriguez            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Alphonso Quesada Rodriguez            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Alphonso Quesada Rodriguez                                               8020 NW 100th St                                                                       Oklahoma City   OK    73162
ALRED JOSEPH BAMBERG, III                                                514 SOUTH GARFIELD ST                                                                  ENID            OK    73703
                                                                                                                       9211 Lake Hefner
Alronda Sheree Smith                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Alronda Sheree Smith                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Alronda Sheree Smith                                                     9428 NE 28th St                                                                        Oklahoma City   OK    73141
ALSPAUGH HOLDINGS, LLC                                                   PO BOX 307                                                                             OKLAHOMA CITY   OK    73101-0307
Alspaugh, John                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK    73116
ALSPAW RANCH COMPANY LTD                                                 3838 OAK LAWN AVE STE 1600                                                             DALLAS          TX    75219
ALT LLC                                                                  3129 SAND CREEK RD                                                                     ENID            OK    73703
ALTA J WILSON TR DTD 4-28-2014                                           5640 WHITTIER                                                                          DERBY           KS    67037
ALTA JANE ANDERSON ESTATE                                                4146 BETHEL                                                                            HOUSTON         TX    77092
ALTA KIRBY                                                               2500 W HENDERSON AVE                                                                   PORTERVILLE     CA    93257
ALTA WIGGS                                                               PO BOX 181                                                                             DOVER           OK    73734-0181
ALTHA MARRIOTT                                                           14739 HICKORY POINT RD                                                                 GREEN RIDGE     MO    65332
ALTHOFF CONSULTING & EXPLORATION                                         845 COOPERS HAWK DR                                                                    NORMAN          OK    73072-8165
ALTON REININGA                                                           700 HOING RD                                                                           EVANSVILLE      IN    47725
ALTUREX LLC                                                              820 W DANFORTH RD #B-6                                                                 EDMOND          OK    73003
ALTUS INTERVENTION USA INC                                               PO BOX 770249                                                                          HOUSTON         TX    77215
ALVA BOYD                                                                110 S 176TH WEST AVE                                                                   SAND SPRINGS    OK    74063
ALVA BURR                                                                PO BOX 1837                                                                            RIVERTON        WY    82501
ALVA CLINGENPEEL                                                         140 N DUCK ST APT 36                                                                   STILLWATER      OK    74075
ALVA PRENTICE BOYD                                                       PO BOX 89                                                                              JEFFERSON       OR    97352
                                                                                                                       9211 Lake Hefner
Alva Smith                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Alva Smith                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Alva Smith                                                               2609 W. Houston Pl                                                                     Broken Arrow    OK    74012
ALVA TATE                                                                33303 KIOWA DR                                                                         MINERAL WELLS   TX    76067
ALVAJOE POLLOCK                                                          2398 SASHA COURT                                                                       GRANT PASS      OR    97527

ALVAREZ & MARSAL BUSINESS CONSULTIN                                      600 MADISON AVE FL 8                                                                   NEW YORK        NY    10022-1758
                                                                                                                       9211 Lake Hefner
Alvaro Alvarado                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Alvaro Alvarado                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Alvaro Alvarado                                                          407 N. Cleveland Ave                                                                   Cushing         OK    74023
ALVARO J LOPEZ-CAYZEDO                                                   18305 MICKERNON WAY                                                                    POOLESVILLE     MD    20837
ALVEDA JUENCKE                                                           1452 E. NORTHSHORE DRIVE                                                               TEMPE           AZ    85283
                                                                                                                       9211 Lake Hefner
Alvin Simmons                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Alvin Simmons                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Alvin Simmons                                                            3921 East Ave                                                                          Oklahoma City   OK    73129
ALVIN CARPENTER                                                          991 E OTTLEY RD                                                                        ELBA            ID    83342
ALVIN COY & LINDA BAKER FAM REV TR                                       70332 S 210 RD                                                                         WAGONER         OK    74467
ALVIN CUNNINGHAM                                                         4213 N DALTON LN                                                                       BOISE           ID    83704


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ALVIN DUKE                                                               521 W 49TH AVE                                                                           STILLWATER         OK       74074
ALVIN E AND DIXIE G HAYES REV TRUST                                      21271 E. 987 ROAD                                                                        FOSS               OK       73647
ALVIN F BUCHANAN REV TRUST                                               7108 S KENTUCKY AVE                                                                      OKLAHOMA CITY      OK       73159
ALVIN G HINKLE REV TRUST                                                 2732 SW 46 TERR                                                                          OKLAHOMA CITY      OK       73119
ALVIN IVERSON DECD                                                       5073 S 76TH E AVE APT D                                                                  TULSA              OK       74145-6232
ALVIN JEROME                                                             4378 MARKET ROAD                                                                         HOMEDALE           ID       83628
ALVIN LEE DOWELL LIFE ESTATE                                             308 E BROAD                                                                              RIPLEY             OK       74062-2008
ALVIN O TURNER                                                           1812 CREEKSIDE DRIVE                                                                     NORMAN             OK       73072
ALVIN R WRIGHT                                                           1504 COPPER ROCK DRIVE                                                                   EDMOND             OK       73025
ALVIN ROELSE                                                             206 OAK CREEK DR                                                                         LEAGUE CITY        TX       77573
ALVIN ROSS                                                               227 N 5TH                                                                                OSAGE CITY         KS       66523
ALVIN STRAIT                                                             4438 OUTLOOK RIDGE TRL                                                                   COLORADO SPRINGS   CO       80924
ALVIN WINTON                                                             PO BOX 609                                                                               PAULS VALLEY       OK       73075
ALVIN WOODRUFF                                                           307 S WIKOFF AVE                                                                         WATONGA            OK       73772-4823
ALVINA ROSE SHEARER                                                      14750 LARIAT                                                                             PERRY              OK       73077
                                                                                                                       9211 Lake Hefner
Alvina Wilks                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Alvina Wilks                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston            TX       77006
Alvina Wilks                                                             844 NW 14th St                                                                           Moore              OK       73160
ALVIS GOFORTH                                                            6403 W 9TH ST                                                                            CUSHING            OK       74023-5810
ALYSSA BENSON TRUST                                                      PO BOX 263                                                                               FARGO              OK       73840
ALYSSA LUTZ                                                              1501 GLENWOOD AVE                                                                        NICHOLS HILLS      OK       73116-5206
AMACIULA LLC                                                             2728 CEDAR SPRINGS 1509                                                                  DALLAS             TX       75201
AMANDA & BRANDON                                                         1420 FAIRWAY DRIVE                                                                       PERRY              OK       73077
AMANDA BOYACI                                                            1222 S JACKSON AVE                                                                       TULSA              OK       74127-9127
AMANDA DEMOSS                                                            4017 E 24TH PL                                                                           TULSA              OK       74114
AMANDA DRINNON                                                           ROUTE 2, BOX 78A                                                                         TALOGA             OK       73667
AMANDA HARMON WOOD                                                       1503 S 13TH                                                                              KINGFISHER         OK       73750
AMANDA HARVEY                                                            1121 BEACHVIEW ST APT 2109                                                               DALLAS             TX       75218-4614
AMANDA HAWKINS                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                    Oklahoma City      OK       73116
AMANDA HENDRICKS                                                         25057 E 100TH ST                                                                         BROKEN ARROW       OK       74014
AMANDA HOGAN                                                             3 TURNBERRY DRIVE                                                                        COTO DE CAZA       CA       92679
AMANDA KANGAS                                                            17125 W LEWIS LN                                                                         CALDWELL           ID       83607
AMANDA KONTOR                                                            105 ERIE ST                                                                              VALPARAISO         IN       46383
AMANDA MOORE DEAL                                                        PO BOX 79231                                                                             HOUSTON            TX       77279-9231
AMANDA WARRINGTON                                                        3501 NW 63RD ST                                                                          OKLAHOMA CITY      OK       73116
                                                                                                                       9211 Lake Hefner
Amanda Guliford                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Amanda Guliford                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston            TX       77006
Amanda Guliford                                                          10013 Waverly Ave                                                                        Oklahoma City      OK       73120
AMBER SWITZER MAYES                                                      13099 S COUNTY LINE RD                                                                   CASHION            OK       73016
AMBER TRENT                                                              16209 JAMES THOMAS CT                                                                    EDMOND             OK       73013-9773
AMBER WHITMAN                                                            25905 N TUMBLEWEED TRL                                                                   PAULDEN            AZ       86334-3450
                                                                                                                       9211 Lake Hefner
Amber Jarvis                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Amber Jarvis                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston            TX       77006
Amber Jarvis                                                             20620 N. Luther Rd                                                                       Luther             OK       73054
AMBROSE CONSTRUCTION LLC                                                 PO BOX 913                                                                               HACKETTSTOWN       NJ       07840-0913
AMC URGENT CARE                                                          2101 N 14TH ST STE 114                                                                   PONCA CITY         OK       74601-1807
AMCON RESOURCES INC                                                      PO BOX 3025                                                                              OKLAHOMA CITY      OK       73101
AMELIA GARRISON                                                          1616 W GLENDALE AVE APT PV 378                                                           PHOENIX            AZ       85021
AMELIA JANE DOUGLAS HUMPRIES EST                                         3749 HOLLOW CREEK RD                                                                     ARLINGTON          TX       76001-5341
AMELIA MCINTYRE                                                          4545 WORNALL RDUNIT 701                                                                  KANSAS CITY        MO       64111
                                                                                                                       9211 Lake Hefner
Amelia Wynn                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City      OK       73120
Amelia Wynn                           c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                         Los Angeles        CA       90017


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             CreditorName                              CreditorNoticeName                          Address1                            Address2                  Address3                City   State       Zip      Country
Amelia Wynn                                                                        906 N Dryden Circle                                                                      Stillwater          OK      74075
AMENDED LEDGERWOOD FAMILY REV TR                                                   1801 NW 175TH ST                                                                         EDMOND              OK      73012
AMERADA HESS CORPORATION                                                           1501 MCKINNEY                                                                            HOUSTON             TX      77010
AMEREX CP                                                                          933 NW 164TH ST STE 3                                                                    EDMOND              OK      73013
                                                                                                                                 9211 Lake Hefner
Americ Leeviraphan                              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City       OK      73120
                                                c/o Laminack, Pirtle & Martines,
Americ Leeviraphan                              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston             TX      77006
Americ Leeviraphan                                                                 2909 Hanover Dr                                                                          Norman              OK      73072

AMERICAN ASSOCIATION OF PROFESSIONA                                                4100 FOSSIL CREEK BLVD                                                                   FORT WORTH          TX      76137-2723
AMERICAN CANCER SOCIETY                                                            PO BOX 720366                                                                            OKLAHOMA CITY       OK      73172
AMERICAN DIABETES ASSOCIATION                                                      1701 N BEAUREGARD ST                                                                     ALEXANDRIA          VA      22311
AMERICAN EAGLE LOGISTICS LLC                                                       PO BOX 3307                                                                              LAFAYETTE           LA      70502
AMERICAN ELECTRIC POWER                                                            PO BOX 24002                                                                             CANTON              OH      44701-4002
AMERICAN ENERGY - UTICA MINERALS LL                                                PO BOX 14890                                                                             OKLAHOMA CITY       OK      73113-0890
AMERICAN ENERGY AVIATION LLC                                                       301 NW 63RD ST STE 600                                                                   OKLAHOMA CITY       OK      73116-7909
AMERICAN ENERGY AVIATION LLC                                                       PO BOX 18756                                                                             OKLAHOMA CITY       OK      73154-0756
AMERICAN ENERGY MANAGEMENT                                                         PO BOX 18756                                                                             OKLAHOMA CITY       OK      73154-0756

AMERICAN ENERGY MINERALS HOLDINGS L                                                PO BOX 14890                                                                             OKLAHOMA CITY       OK      73113
AMERICAN ENERGY SWIM CLUB                                                          PO BOX 20338                                                                             OKLAHOMA CITY       OK      73156
AMERICAN ENERGY WOODFORD LLC                                                       PO BOX 18756                                                                             OKLAHOMA CITY       OK      73154-0756
AMERICAN EXPLORATION ACQUISITION-IV                                                14000 QUAIL SPRINGS PKWY                                                                 OKLAHOMA CITY       OK      73134
American Funds Global High-Income Opportunities c/o Capital Research and                                                         333 South Hope
Fund                                            Management Company                 Attention: Erik A. Vayntrub                   Street, 33rd Floor                         Los Angeles         CA      90071
AMERICAN GEOPHYSICAL CORPORATION                                                   5271 S QUEBEC ST                                                                         ENGLEWOOD           CO      80111
AMERICAN HEART ASSOCIATION                                                         3401 NW 63RD SUITE 200                                                                   OKLAHOMA CITY       OK      73116
AMERICAN HEART ASSOCIATION INC                                                     PO BOX 50040                                                                             PRESCOTT            AZ      86304
                                                c/o Capital Research and                                                         333 South Hope
American High-Income Trust                      Management Company                 Attention: Erik A. Vayntrub                   Street, 33rd Floor                         Los Angeles         CA      90071
AMERICAN INNOVATIONS LTD                                                           12211 TECHNOLOGY BLVD                                                                    AUSTIN              TX      78727
AMERICAN INNOVATIVE ROYALTY                                                        924 COUNTY ROAD 174                                                                      COTTER              AR      72626-9217
AMERICAN MANIFOLD INC.                                                             1408 WALTER WAY                                                                          ELK CITY            OK      73644
AMERICAN MINERAL PARTNERS LLC                                                      PO BOX 13647                                                                             OKLAHOMA CITY       OK      73118-1647
AMERICAN MINERAL SOLUTIONS LLC                                                     436 BUTLER ST                                                                            PITTSBURGH          PA      15223-2125
AMERICAN MINERALS INC                                                              PO BOX 13647                                                                             OKLAHOMA CITY       OK      73113
AMERICAN NATIONAL RED CROSS                                                        431 18TH STREET NW                                                                       WASHINGTON          DC      20006
AMERICAN NATURAL GAS ALLIANCE INC                                                  701 EIGHTH ST NW STE 8000                                                                WASHINGTON          DC      20001-3854
AMERICAN PETROLEUM INSTITUTE                                                       PO BOX 1425                                                                              MERRIFIELD          VA      22116-1425
AMERICAN RED CROSS - OKLAHOMA CITY                                                 601 NE 6TH STREET                                                                        OKLAHOMA CITY       OK      73104
AMERICAN SAFETY SUPPLIERS INC                                                      PO BOX 478                                                                               SEARCY              AR      72145-0478
AMERICAN SOLUTIONS FOR BUSINESS                                                    8479 SOLUTION CENTER                                                                     CHICAGO             IL      60677
AMERIFLOW ENERGY SERIVCES LLC                                                      5749 NW 132ND ST                                                                         OKLAHOMA CITY       OK      73142
AMERISOURCE ENERGIES INC                                                           1006 24TH AVE NW STE 120                                                                 NORMAN              OK      73069-6344
AMERITEX PETROLEUM LLC                                                             13140 COIT ROAD SUITE 510                                                                DALLAS              TX      75240
AMI SWANK                                                                          811 TIMBERDELL                                                                           NORMAN              OK      73072
AMILE BEUCHAW                                                                      1608 KYLE DR                                                                             GUTHRIE             OK      73044
AMIN NOOR                                                                          1270 CRABB RIVER RD #600-116                                                             RICHMOND            TX      77469
AMK INC                                                                            1811 COVENTRY LN                                                                         OKLAHOMA CITY       OK      73120
AMORIO LLC                                                                         6405 BRIARWOOD LN                                                                        NICHOLS HILLS       OK      73116-5611
AMOS GALPIN LIVING TRUST                                                           2817 10TH AVE E                                                                          SEATTLE             WA      98102
AMP MILLER                                                                         9559 ATHERTON DR                                                                         DALLAS              TX      75243
AMS ENERGY VENTURES LLC                                                            46382 S COUNTY RD 269                                                                    RINGWOOD            OK      73768
AMSHOT SOLUTIONS LLC                                                               505 W MAIN ST                                                                            OKLAHOMA CITY       OK      73102
AMY BETH DICKENS                                                                   PO BOX 1307                                                                              BURNS FLAT          OK      73624
AMY BETH POWELL                                                                    11006 SWAFFAR DR                                                                         DALLAS              TX      75228
AMY BURTON                                                                         18329 STATE HIGHWAY 54                                                                   HOLLISTER           OK      73551-9606
AMY CRONIN                                                                         14921 W 19TH                                                                             ORLANDO             OK      73073


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              CreditorName                  CreditorNoticeName                          Address1                            Address2                 Address3            City    State       Zip      Country
AMY DUREN                                                                1912 CHISOLM DR                                                                        GUYMON           OK      73942
AMY GAYDOS                                                               9 PICAYUNE CT                                                                          LITTLE ROCK      AR      72211
AMY HAFNER                                                               5325 E 115TH PL                                                                        TULSA            OK      74137
AMY HENLEY                                                               5659 HERITAGE CIRCLE                                                                   PIEDMONT         OK      73078
AMY HUNTER                                                               6931 VANGUARD AVE                                                                      GARDEN GROVE     CA      92845
AMY ISBELL JOHNSON                                                       4701 NW 157TH STREET                                                                   EDMOND           OK      73013
AMY KAY WILLIAMS                                                         3051 SAGE CREEK RD #H44                                                                FORT COLLINS     CO      80528
AMY L HAFNER                                                             PO Box 529                                                                             PERRY            OK      73077
AMY LANE                                                                 3004 W AVE T                                                                           TEMPLE           TX      76504
AMY LEE MILLER                                                           1409 QUAIL RUN DRIVE                                                                   ALLEN            TX      75002
AMY LEMMERMAN BARNHART                                                   7004 SHUMARD CIR                                                                       AUSTIN           TX      78759-4647
AMY LONG                                                                 26002 RIDGETRAIL DR                                                                    WARRENTON        MO      63383
AMY LYNN                                                                 2226 LAKE PARK DR                                                                      LONGMONT         CO      80503
AMY MARIE SCHULZ                                                         PO Box 8411                                                                            AMARILLO         TX      79114
AMY MELINA LYNN TRUST UA GERALD T T                                      2226 LAKE PARK DR                                                                      LONGMONT         CO      80503
AMY PHILLIPS                                                             2119 VALLEY VIEW RD                                                                    STILLWATER       OK      74075-0936
AMY RADCLIFF                                                             116 LAKEVIEW DR                                                                        CALDWELL         OH      43724
AMY SCHAD                                                                1921 COLLEGE HEIGHTS RD                                                                MANHATTAN        KS      66502-3503
AMY SHORTALL BULLOCK                                                     5434 W 131ST TER                                                                       OVERLAND PARK    KS      66209-2906
AMY WILSEY                                                               1431 HIGHLAND DR                                                                       SILVER SPRINGS   MD      20910
                                                                                                                       9211 Lake Hefner
Amy Adkins-Jones                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Amy Adkins-Jones                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Amy Adkins-Jones                                                         101529 S 3470 Rd                                                                       Meeker           OK      74855
                                                                                                                       9211 Lake Hefner
Amy Sullivan                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Amy Sullivan                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Amy Sullivan                                                             515 Shady Brook                                                                        Stroud           OK      74079
ANA MONTUFAR                                                             3405 NW 29TH ST                                                                        OKLAHOMA CITY    OK      73107-1837
ANA S BERRY REVOCABLE TRUST                                              PO BOX 701980                                                                          TULSA            OK      74170
ANADARKO E&P ONSHORE LLC                                                 PO BOX 1330                                                                            HOUSTON          TX      77251-1330
ANADARKO PARTNERS II LP                                                  5400 N GRAND BLVDSTE 200                                                               OKLAHOMA CITY    OK      73112
ANADARKO PETROLEUM CORP                                                  PO BOX 730875                                                                          DALLAS           TX      75373-0875
ANADARKO PETROLEUM CORPORATION                                           PO BOX 730875                                                                          DALLAS           TX      75373-0875
ANALEE SMITH                                                             6506 EAST LAKEVIEW ROAD                                                                STILLWATER       OK      74075
ANALYTICAL & MATERIALS ENGINEERING                                       1906 Atchison Drive                                                                    Norman           OK      73069
ANASAZ LLC                                                               29757 STATE HWY 59                                                                     WAYNE            OK      73095
                                                                                                                       9211 Lake Hefner
Anastasia E. Dalton                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Anastasia E. Dalton                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Anastasia E. Dalton                                                      8600 Roby Rd                                                                           Oklahoma City    OK      73151
ANATHALEE SANDLIN                                                        2824 HUNTERWOOD DR SE                                                                  DECATUR          AL      35603-5638
ANCHOR DRILLING FLUIDS USA INC                                           PO BOX 1390                                                                            TULSA            OK      74136
ANCHOR EXPLORATION COMPANY                                               333 W. SHERIDAN AVE.                                                                   OKLAHOMA CITY    OK      73102
ANCOVA ENERGY LLC                                                        309 NW 13TH ST                                                                         OKLAHOMA CITY    OK      73103-3708
AND BARBARA H TOELKES                                                    1809 E 56TH ST                                                                         STILLWATER       OK      74074-7232
AND CONNIE SUE WALKER HW JT                                              2515 W 92ND ST                                                                         PERKINS          OK      74059-4257
AND DONNA BYRAM AS JOINT TENANTS                                         2116 WEST 24TH STREET                                                                  STILLWATER       OK      74074
ANDELE LLC, AN OKLA LTD LIABIITY CO                                      2007 N COMMERCE STREET                                                                 ARDMORE          OK      73401
Andersen, Taylor                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
ANDERSON ESTES                                                           2250 COUGAR DR APT 331                                                                 LAUGHLIN         NV      89029
ANDERSON FAMILY REVOC TR                                                 11304 CEDAR HOLLOW RD                                                                  OKLAHOMA CITY    OK      73162-3400
ANDERSON FAMILY TRUST                                                    19 WOODLANDS DR                                                                        ENID             OK      73703

ANDERSON KING ENERGY CONSULTANTS LL                                      4925 GREENVILLE AVENUE STE 660                                                         DALLAS           TX      75206
ANDERSON LIVING TR DTD 9-15-1999                                         6073 FARM ROAD 2348                                                                    MOUNT PLEASANT   TX      75455-8665


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ANDERSON TINKER ESTATE                                                   1825 AIRLINE RD                                                                         CORPUS CHRISTI         TX       78412
Anderson, Deborah                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City          OK       73116
Anderson, Erik                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City          OK       73116
ANDREA A HOWSER                                                          PO BOX 682                                                                              WHITESBORO             TX       76273-0682
ANDREA A. DUNCAN                                                         605 N. BRUSH CREEK ROAD                                                                 STILLWATER             OK       74075
ANDREA BROWN                                                             705 S 16TH ST                                                                           BETHANY                MO       64424
Andrea Buzan                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas                 TX       75070
Andrea Buzan                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa                  OK       74104
Andrea Buzan                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York               NY       10017
Andrea Buzan                                                             923 N. Lone Pine Dr                                                                     Cleveland              OK       74020
ANDREA CROOK                                                             664 HUNTINGTON DRIVE                                                                    IOWA CITY              IA       52245
ANDREA FINCH                                                             4955 SUNFLOWER COURT                                                                    WOODBURY               MN       55129
ANDREA GARLETT                                                           12043 N 2877 RD                                                                         DOVER                  OK       73734
ANDREA GREEN                                                             11447 ASHTON ROAD                                                                       SAPULPA                OK       74066
ANDREA HAKEN                                                             105 SOUTH CEDAR                                                                         CRESCENT               OK       73028
ANDREA JEROME                                                            109 S 2ND EAST                                                                          HOMEDALE               ID       83628
ANDREA MARGARET VOLTURO                                                  22092 RIVERWOOD DR                                                                      CLAREMORE              OK       74019
ANDREA MCHENDRY                                                          107 S CIMARRON                                                                          PERKINS                OK       74059
ANDREA METZGER                                                           225 NIGHTINGALE COURT                                                                   PICKERINGTON           OH       43147
ANDREA MORAVEC                                                           935 SW BRIDGE ST B                                                                      GRANTS PASS            OR       97526
ANDREA PATTERSON                                                         2900 CANTABERRY DR                                                                      JEFFERSON CITY         MO       65109-9274
ANDREA PERKINS                                                           4900 PINTO DR                                                                           STILLWATER             OK       74074
ANDREA S KEMENDO IRREV TRUST                                             7441 S FLORENCE AVE                                                                     TULSA                  OK       74136-5653
ANDREA SOTO                                                              9851 NW 13TH ST                                                                         PEMBROKE PINES         FL       33024
ANDREA TILLETT OR LIONELL E TILLETT                                      2806 N COLLEGE                                                                          BETHANY                OK       73008
Andrea Vandyke                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas                 TX       75070
Andrea Vandyke                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa                  OK       74104
Andrea Vandyke                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York               NY       10017
Andrea Vandyke                                                           2407 West Newton Court                                                                  Tulsa                  OK       74127
                                                                                                                       9211 Lake Hefner
Andrea Lister                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City          OK       73120
                                      c/o Laminack, Pirtle & Martines,
Andrea Lister                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston                TX       77006
Andrea Lister                                                            2317 NW 118th St                                                                        Oklahoma City          OK       73120
                                                                                                                       9211 Lake Hefner
Andre'e Reutlinger                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City          OK       73120
                                      c/o Laminack, Pirtle & Martines,
Andre'e Reutlinger                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston                TX       77006
Andre'e Reutlinger                                                       3816 Coach Light Dr                                                                     Edmond                 OK       73013
ANDREW A BARNETTE, TRUSTEE                                               4427 DEL PRADO BLVD                                                                     CAPE CORAL             FL       33904
ANDREW ADAMS                                                             1722 SANTA CLARA ST                                                                     RICHMOND               CA       94804
                                                                                                                       9211 Lake Hefner
Andrew B. Ruddock                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City          OK       73120
                                      c/o Laminack, Pirtle & Martines,
Andrew B. Ruddock                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston                TX       77006
Andrew B. Ruddock                                                        1124 S.221st W. Ave                                                                     Sand Springs           OK       74063
ANDREW BAMBROUGH                                                         123 S OAKDALE DR                                                                        STILLWATER             OK       74074-6887
ANDREW BOWDEN                                                            1202 W CR 66                                                                            MULHALL                OK       73063
ANDREW COMBS                                                             207 VALLECITO LN                                                                        WALNUT CREEK           CA       94596
ANDREW CUNNINGHAM                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City          OK       73116
ANDREW DECK                                                              3927 TANFORAN AVE                                                                       MIDLAND                TX       79707
ANDREW EVANS                                                             5625 N CLASSEN BLVD                                                                     OKLAHOMA CITY          OK       73118

ANDREW    FOWLER                                                         1100 MAPLE RD                                                                           BOILING SPRING LAKES   NC       28461-5188
ANDREW    GREEN                                                          PO BOX 76                                                                               DOVER                  OK       73734
ANDREW    HANZLICEK                                                      105 S OAKDALE DR                                                                        STILLWATER             OK       74074-6889
ANDREW    HENDERSON                                                      5110 W 2ND AVE                                                                          STILLWATER             OK       74074-6893
ANDREW    HICKAM                                                         PO BOX 1932                                                                             BIG SPRING             TX       79721-1932



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                  CreditorName         CreditorNoticeName                             Address1                         Address2                 Address3             City     State       Zip      Country
                                                                                                                  9211 Lake Hefner
Andrew Holland                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                 c/o Laminack, Pirtle & Martines,
Andrew Holland                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Andrew Holland                                                      908 S. Chestnut Ave                                                                    Broken Arrow       OK      74012
ANDREW J STRECK                                                     PO BOX 16                                                                              MARSHALL           OK      73056
                                                                                                                  9211 Lake Hefner
Andrew J. Dunlap Sr.             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                 c/o Laminack, Pirtle & Martines,
Andrew J. Dunlap Sr.             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Andrew J. Dunlap Sr.                                                3425 Paradise Dr                                                                       Spencer            OK      73084
                                                                                                                  9211 Lake Hefner
Andrew J. Haese                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                 c/o Laminack, Pirtle & Martines,
Andrew J. Haese                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Andrew J. Haese                                                     103884 S 3470 Rd                                                                       Meeker             OK      74855
                                                                                                                  9211 Lake Hefner
Andrew James Dunlap Jr.          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                 c/o Laminack, Pirtle & Martines,
Andrew James Dunlap Jr.          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Andrew James Dunlap Jr.                                             3437 Cobblestone Dr                                                                    Spencer            OK      73084
ANDREW KEZER                                                        53 VAN COTT AVE                                                                        FARMINGDALE        NY      11735
ANDREW M FRANCK EXECUTOR                                            PO BOX 379                                                                             WILLIAMSBURG       VA      23187
ANDREW M HELLER TTEE                                                425 CHURCHILL RD                                                                       SIERRA MADRE       CA      91024
ANDREW MICHAEL POTTER                                               128 VILLANOVA CIR                                                                      FORNEY             TX      75126
ANDREW MILLER                                                       315 W 6TH STE 203                                                                      STILLWATER         OK      74074-4080
ANDREW PEERY                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
ANDREW PEERY                                                        2807 HIDDEN VALLEY RD                                                                  EDMOND             OK      73013
ANDREW PERKINS                                                      5615 N SANGRE RD                                                                       STILLWATER         OK      74075
ANDREW POLDRUGACH                                                   9824 ESTATE LN                                                                         DALLAS             TX      75238-1963
ANDREW STEWART                                                      241 GRAVES AVE                                                                         SACRAMENTO         CA      95838
ANDREW THOMAS                                                       6233 ORANGE ST                                                                         LOS ANGELES        CA      90048-4814
ANDREW THOMPSON                                                     740 JULIE LANE                                                                         SOUTH LAKE TAHOE   CA      96150
ANDREW THRUMAN                                                      22524 E. 19TH ST                                                                       YALE               OK      74085
                                                                                                                  9211 Lake Hefner
Andrew Clay                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                 c/o Laminack, Pirtle & Martines,
Andrew Clay                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Andrew Clay                                                         5901 Burnham Pl                                                                        Oklahoma City      OK      73132
ANDREWS FAMILY HOLDING CO LLC                                       851 CEDAR DR                                                                           DEALE              MD      20751
ANDREWS FARM TR DTD 7-11-11                                         3917 VICKSBERRY TRL                                                                    FLOWER MOUND       TX      75022-2873
ANDREWS KURTH LLP                                                   PO BOX 301276                                                                          DALLAS             TX      75303-1276
Andrews, Timothy                 c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
ANDY ARCHER                                                         PO BOX 40082                                                                           CLEAR              AK      99704
ANDY MOORE                                                          14641 HOLCOMB RD                                                                       OREGON CITY        OR      97045
ANDY STEGMAN                     c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK      74074
ANDY TINKER                                                         6121 SOUTH RIPLEY RD                                                                   RIPLEY             OK      74062
ANDYS CUSTOM GUNS INC                                               14855 W 54TH AVE                                                                       GOLDEN             CO      80403
ANGEL GALINATO                                                      84-340 IKUONE PLACE                                                                    WAIANAE            HI      96792
ANGEL MOORE                                                         22700 COUNTY RD 140                                                                    PERRY              OK      73077
                                                                                                                  9211 Lake Hefner
Angela Dillman-Smith             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                 c/o Laminack, Pirtle & Martines,
Angela Dillman-Smith             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Angela Dillman-Smith                                                3017 Elmwood Ave                                                                       Oklahoma City      OK      73116
ANGELA ATKINSON                                                     1204 HOLLY                                                                             PERRY              OK      73077
ANGELA BAKER                                                        6833 SAVANNAH LANE                                                                     FT. WORTH          TX      76132
                                                                                                                  9211 Lake Hefner
Angela Brewster                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120


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                                                                                              White Star Petroleum, LLC
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                  CreditorName              CreditorNoticeName                             Address1                         Address2                   Address3             City   State       Zip      Country
                                      c/o Laminack, Pirtle & Martines,
Angela Brewster                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
Angela Brewster                                                          1905 S. Gum Ave                                                                          Broken Arrow     OK      74012
                                                                                                                       9211 Lake Hefner
Angela D. Hill                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Angela D. Hill                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
Angela D. Hill                                                           104 Viewmont Dr                                                                          Edmond           OK      73003
ANGELA ELLIOTT FULTON                                                    11370 RECTOR ROAD                                                                        SANGER           TX      76266-6814
ANGELA FARRINGTON O DONNELL                                              1215 FOX SPARROW TRAIL                                                                   CEDAR PARK       TX      78613
ANGELA FREENY & OR C DUANE FREENY                                        1309 E CONNELL AVE                                                                       STILLWATER       OK      74075
ANGELA H BISHOP REVOC TR                                                 2117 TURNBERRY DR                                                                        OVIEDO           FL      32765-5853
ANGELA H BISHOP TRUST                                                    2117 TURNBERRY DR                                                                        OVIEDO           FL      32765-5853
ANGELA JACK BACHMAN                                                      14 S EASTLAND DR                                                                         DUNCAN           OK      73533
ANGELA K OVERTON                                                         1244 LEAH CT                                                                             OROVILLE         CA      95965-2342
ANGELA LUSTER                                                            6700 N WESTMINISTER RD                                                                   SPENCER          OK      73084-6124
ANGELA M DOBBS                                                           721 JUNIPER GLEN COURT                                                                   ST LOUIS         MO      63021
ANGELA MARTINO                                                           22210 THREE PINES DR                                                                     HOCKLEY          TX      77447
ANGELA MICHELLE BELFORD                                                  612 EDWARDS STREET                                                                       BELLE VERNON     PA      15102
ANGELA O'DONNELL                                                         1215 FOX SPARROW TR                                                                      CEDAR PARK       TX      78613-5264
ANGELA OVERHOLT                                                          5824 MERLINDALE DRIVE                                                                    CITRUS HEIGHTS   CA      95610
ANGELA PASTORELLI                                                        1919 S 104TH ST                                                                          SEATTLE          WA      98168-1649
ANGELA REEG                                                              2118 N UNION                                                                             FREMONT          NE      68025-2620
ANGELA REININGA                                                          1912 W WINNEMAC AVE APT 1FF                                                              CHICAGO          IL      60640-2607
ANGELA SANDERS                                                           28971 ROAD M                                                                             DOLORES          CO      81323-9343
ANGELA SHIELDS                                                           802 S KINGS ST                                                                           STILLWATER       OK      74074-4111
                                                                                                                       9211 Lake Hefner
Angela Watson                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
Angela Watson                         c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                         Los Angeles      CA      90017
Angela Watson                                                            1713 Kyle Dr                                                                             Guthrie          OK      73044
ANGELA WILSON                                                            17408 SE 134                                                                             NEWALLA          OK      74857
                                                                                                                       9211 Lake Hefner
Angela Duckett                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Angela Duckett                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
Angela Duckett                                                           4908 NW 58th                                                                             Oklahoma City    OK      73122
ANGELEADA GREEN                                                          2496 RED HAWK RIDGE CT                                                                   AURORA           IL      60503
ANGELINA LARSEN ROGERS                                                   5019 S PERKINS RD                                                                        STILLWATER       OK      74074-7238
Angelo Huerta                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St    Ste. 4000           Dallas           TX      75070
Angelo Huerta                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica       Ste. 400            Tulsa            OK      74104
Angelo Huerta                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                                New York         NY      10017
Angelo Huerta                                                            9455 Scarlet Oak Dr                                                                      Sand Springs     OK      74063
ANGIE STOLL-ELLIS                                                        PO BOX 107                                                                               CHATTANOOGA      OK      73528-0107
                                                                                                                       9211 Lake Hefner
Angie Patton                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Angie Patton                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
Angie Patton                                                             2531 DelRey                                                                              Harrah           OK      73045
ANGLE OIL COMPANY                                                        2661 RENAISSANCE TOWER                                                                   DALLAS           TX      75270
ANIBEL STEVENSON                                                         PO BOX 135                                                                               WATONGA          OK      73772-0135
ANICE JACOB DOBBS (DECEASED)                                             980798 S HWY 102                                                                         WELLSTON         OK      74881
ANIMAS ENERGY GROUP LLC                                                  PO BOX 804944                                                                            KANSAS CITY      MO      64180-4944
ANISSA FABRIZIO                                                          12671 UINTA ST                                                                           THORNTON         CO      80602-5204
ANISSA GROUNDS                                                           1841 SHEILA DRIVE                                                                        GUTHRIE          OK      73044
ANITA ANDERSON                                                           80650 STATE HWY 34                                                                       LEEDEY           OK      73654

ANITA AUFLEGER AKA ANITA SHELLHAMME                                      12020 S KARSTEN CREEK RD                                                                 COYLE            OK      73027
ANITA BALCH                                                              105 GRANADA CT S                                                                         PLANT CITY       FL      33566
ANITA BETTS                                                              PO BOX 696                                                                               WAUKOMIS         OK      73773-0696


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              CreditorName           CreditorNoticeName                          Address1                            Address2                 Address3            City   State       Zip      Country
ANITA CHAMBERS                                                    305 S SPRUCE ST                                                                        CRESCENT        OK      73028
ANITA CHRISTENSEN                                                 211 CHEROKEE                                                                           YUKON           OK      73099
ANITA CLAIRE HUGHES &                                             PO BOX 73                                                                              DRUMMOND        OK      73735
ANITA CRANE                                                       4224 NW 48TH ST                                                                        OKLAHOMA CITY   OK      73112-2204
ANITA DECD                                                        3711 N DAL PASO ST                                                                     HOBBS           NM      88240
ANITA FAUST REVOCABLE TRUST                                       3624 FIELD STONE DR                                                                    CARROLLTON      TX      75007-2788
ANITA FRIEDEMANN                                                  9 WINDSOR CIR                                                                          STILLWATER      OK      74074
ANITA GAYLE MARRIOTT                                              17008 146 AVE SE                                                                       YOZM            WA      98597
ANITA GRIMES                                                      10611 W 133RD ST                                                                       PERKINS         OK      74059-4531
ANITA GUTIERREZ                                                   35 DA VINCI STREET                                                                     LAKE OSWEGO     OR      97035
ANITA JACOBSON                                                    321 CHOCTAW                                                                            ALVA            OK      73717
                                                                                                                9211 Lake Hefner
Anita Justus                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                               c/o Laminack, Pirtle & Martines,
Anita Justus                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Anita Justus                                                      19691 S. Lewis                                                                         Mounds          OK      74047
ANITA KAUFMAN                                                     PO BOX 266                                                                             CARNEY          OK      74832
ANITA LANE                                                        2932 DEVONSHIRE DR                                                                     NORMAN          OK      73071-2119
ANITA MATHERS                                                     11713 NW 121                                                                           YUKON           OK      73099
ANITA NIEDERSTADT                                                 12404 W 116 STREET                                                                     COYLE           OK      73027
ANITA NORRIS                                                      11375 E QUAIL RD                                                                       NEVADA          MO      64772-7235
ANITA R. MUSGRAVE REV LIV TR                                      4200 ROCK CANYON RD                                                                    EDMOND          OK      73025
ANITA RICE FAUST                                                  3624 FIELD STONE DR                                                                    CARROLLTON      TX      75007-2788
ANITA ROBINSON                                                    PO BOX 239                                                                             CASHION         OK      73016-0239
ANITA RUSH                                                        6818 S. RIPLEY ROAD                                                                    RIPLEY          OK      74062
ANITA RYKER                                                       1367 E HIGHVIEW ST                                                                     CLEVELAND       OK      74020-5712
ANITA SAWYER CAMPBELL                                             1720 SURREY LN                                                                         ENID            OK      73703
ANITA SEABOLT                                                     1534 GRACEPOINTE, UNIT #37                                                             MOORE           OK      73170
ANITA SILVERNAIL                                                  4612 CHATEAU DR                                                                        METAIRIE        LA      70002
ANITA SUE BURNS                                                   2042 LAKE FLOYD CIRCLE                                                                 BRISTOL         WV      26426
ANITA THULIN                                                      8312 TALLAHASSEE LN                                                                    FORT WORTH      TX      76123-1514
ANITA WARD                                                        21 LYNNWOOD                                                                            WICHITA         KS      67207
ANITA WHORTON                                                     121734 S 4170 RD                                                                       EUFAULA         OK      74432
                                                                                                                9211 Lake Hefner
Anita Hatcher                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                               c/o Laminack, Pirtle & Martines,
Anita Hatcher                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Anita Hatcher                                                     3123 SW 18th                                                                           Oklahoma City   OK      73108
                                                                                                                9211 Lake Hefner
Anita Prince                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                               c/o Laminack, Pirtle & Martines,
Anita Prince                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Anita Prince                                                      11332 Cimarron Dr                                                                      Oklahoma City   OK      73162
ANJA HALE                                                         4331 HIDDEN HILL RD                                                                    NORMAN          OK      73072
ANN ALLEN                                                         7831 PARK LN #346C                                                                     DALLAS          TX      75225
ANN ALLSTATT EWING                                                4320 KENSL RISE PLACE                                                                  NORMAN          OK      73072
ANN ALSPAUGH                                                      PO BOX 307                                                                             OKLAHOMA CITY   OK      73101-0307
ANN ATKINS                                                        1500 VISTA DR                                                                          BARTLESVILLE    OK      74006-4724
ANN BEESON                                                        3600 ASPEN DR                                                                          DES MOINES      IA      50265
ANN BENDER                                                        2160 NEWELL RD                                                                         PALO ALTO       CA      94303-3429
ANN BENSON                                                        1416 S ASHTON AVE                                                                      STILLWATER      OK      74074-1876
ANN BERKOWICK                                                     5819 E. 53RD ST.                                                                       TULSA           OK      74135
ANN BERRY                                                         5614 W CREEKSIDE DR                                                                    STILLWATER      OK      74074-2452
ANN BILYEU GENTRY                                                 6284 TELLER ST                                                                         ARVADA          CO      80003
ANN BLACK                                                         7827 ELMWOOD PL                                                                        DENVER          CO      80221
ANN BRADFORD SIMMONS TRUST                                        600 N LAKE SHORE DR UNIT 2008                                                          CHICAGO         IL      60611
ANN BRENTLINGER                                                   6464 N SOONER RD                                                                       GUTHRIE         OK      73044
ANN BUTLER                                                        18125 N ELK LN                                                                         EDMOND          OK      73012
ANN C CRANDALL                                                    1030 LAKE VISTA RD                                                                     EDMOND          OK      73034


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ANN C WILLIAMS                                                   847 W ESKRIDGE                                                            STILLWATER        OK      74075
ANN COFFIN                                                       123 W HARRISION AVE 1                                                     GUTHRIE           OK      73044
ANN COOPER                                                       912 7TH ST                                                                LAS VEGAS         NM      87701
ANN DETWILER                                                     4308 NW 56TH TERR                                                         OKLAHOMA CITY     OK      73112
ANN DICKSON LISSAU TRUST                                         6131 SOUTH GARY AVENUE                                                    TULSA             OK      74136
ANN DYER WARDLAW                                                 125 BLACKBERRY ST                                                         MIDLAND           TX      79705
ANN EVICK                                                        12616 GREEN VALLEY DR                                                     OKLAHOMA CITY     OK      73120
ANN FARMERE                                                      515 BARRETT AVENUE #146                                                   MORGAN HILL       CA      95037-7885
ANN FOCHT                                                        106 N HOPPY RD                                                            STILLWATER        OK      74075
ANN HANSEN                                                       289 NORTH F STREET                                                        PORTERVILLE       CA      93257
ANN HOUSTON                                                      1721 BRETTENMEADOW DR                                                     GRAPEVINE         TX      76051-4479
ANN IMBESE                                                       2561 E 22ND ST                                                            TULSA             OK      74114
ANN JOHNSON                                                      446 WATERFORD DR                                                          MANCHESTER        TN      37355
ANN K WILDGEN                                                    4645 PONDEROSA TRAIL                                                      LITTLETON         CO      80125
ANN KLEIN                                                        2925 WILD ROSE CT                                                         WICHITA           KS      67205
ANN LAUGHLIN                                                     PO BOX 1300                                                               MCALLEN           TX      78505
ANN LOCHMILLER                                                   ROUTE 4                                                                   INDEPENDENCE      KS      67301
ANN M SHAW TRUST                                                 8523 THACKERY ST APT 7006                                                 DALLAS            TX      75225-3903
ANN MALBURG                                                      17895 PLAINS EDGE CT                                                      PEYTON            CO      80831
ANN MIRAGLIO REVOCABLE TRUST                                     530 E 3RD ST                                                              ELK CITY          OK      73644-3628

ANN MOORE                                                        518 OLD SANTA FE TRL STE 1 PMB 431                                        SANTA FE          NM      87505
Ann Reding                            c/o Hall & Ludlam          Attn: A.J. Reding                     210 Park Ave        Ste. 3001       Oklahoma City     OK      73102
Ann Reding                            c/o Ward & Glass, LLP      Attn: Stanley M Ward                  1601 36th Ave, NW   Ste. 100        Norman            OK      73072
Ann Reding                                                       2109 Appomattox                                                           Enid              OK      73703
ANN ROGINSON NADER AS TTEE                                       1530 MATTHEWS AVE                                                         MANHATTAN BEACH   CA      90266
ANN SHANNON CASSIDY BAKER TRUSTEE                                1630 S BOSTON AVE                                                         TULSA             OK      74119-4416
ANN SHURTZ                                                       6030 CREEKVIEW RD                                                         MECHANICSBURG     PA      17050
ANN STEWART DOYLE                                                1637 CINDERELLA AVE                                                       NORMAN            OK      73072-6032
ANN STONE                                                        1513 E LITTLE CREEK DR                                                    HARLINGEN         TX      78550-8083
ANN SUTHERLAND                                                   5753 BERKSHIRE LN                                                         DALLAS            TX      75209-2401
ANN SWANK REV LIVING TRUST                                       909 TIMBERDELL RD                                                         NORMAN            OK      73072
ANN TALBURT FRAZIER TTEE                                         3060 EL CERRITO PLAZA #410                                                EL CERRITO        CA      94530
ANN WEAVER REV TRUST                                             8600 NE 129TH ST                                                          JONES             OK      73049
ANN WILLIAMSON SERAFINO                                          PO BOX 1137                                                               ROSWELL           NM      88202
ANN/STAN LLC                                                     6901 W BRITTON ROAD                                                       OKLAHOMA CITY     OK      73132
ANNA ANDERSON                                                    PO BOX 122                                                                TRYON             OK      74875
ANNA APPLEMAN                                                    60 WALL ST                                                                NEW YORK          NY      10005
ANNA ARB WILLIAMS                                                305 NE 78TH AVE                                                           PORTLAND          OR      97213-6338
ANNA BELLE HENSON ESTATE                                         4909 SE 58TH STREET                                                       OKLAHOMA CITY     OK      73135-4436
ANNA BYRD TRUST                                                  PO BOX 1600                                                               SAN ANTONIO       TX      78296
ANNA CALLAHAN                                                    11700 E WATERLOO RD                                                       ARCADIA           OK      73007
ANNA CARPENTER                                                   8045 HWY 66                                                               KLAMATH FALLS     OR      97601
ANNA COLEY                                                       1097 WEMPLE RD                                                            BOSSIER CITY      LA      71111-2085
ANNA EVERA                                                       1811 CLEGG ST.                                                            PARKSBURG         WV      26101
ANNA HAVEN                                                       7210 GOLDEN MEADOWS RD                                                    GREENWOOD         LA      71033-3211
ANNA JUNIA DOAN PROPERTIES LLC                                   3801 VALLEY DR                                                            MIDLAND           MI      48640-6601
ANNA KENNEDY                                                     125 SOUTH CEDAR STREET                                                    CRESENT           OK      73028
ANNA L ELY                                                       802 N BENJAMIN                                                            STILLWATER        OK      74075
ANNA LAWRIE                                                      PO BOX 112                                                                MULLHALL          OK      73063
ANNA LEE EASON TRST FBO VIRGINIA WE                              PO BOX 840738                                                             DALLAS            TX      75284-0738
ANNA LEVI                                                        2174 S SANDUSKY                                                           TULSA             OK      74114
ANNA LIGHTLE                                                     PO BOX 242                                                                HENNESSEY         OK      73742
ANNA LITTLE                                                      4203 MASTERS RD                                                           PELL CITY         AL      35128-7530
ANNA M LANE                                                      1723 N YOUNG                                                              STILLWATER        OK      74074
ANNA MARIE DOVRE FREEMAN                                         2922 DAISY LANE                                                           COLUMBUS          OH      43204
ANNA ONKA LE                                                     11202 E PUTNAM ST                                                         SUGAR CREEK       MO      64054
ANNA PULLIAMAND WILLIAM LUKE ORCUTT                              PO BOX 273                                                                RIPLEY            OK      74062-0273
ANNA RUSH                                                        501 RATLIFF                                                               SAN BENITO        TX      78586


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              CreditorName                   CreditorNoticeName                        Address1                             Address2                  Address3            City       State       Zip      Country
ANNA RUSH LE                                                             45 GUANAJAY CT                                                                          BROWNSVILLE        TX       78526
ANNA RUUTTILA                                                            2509 LEMONT DR                                                                          SPRINGFIELD        IL       62704
ANNABEL CHADWICK                                                         11691 ADAM COURT                                                                        PONDER             TX       76259
ANNALEE FULLER                                                           1521 CRAIG BLVD                                                                         EDMOND             OK       73003-3137
ANNASTAZIA WELCH                                                         3001 LAKEVIEW DR                                                                        ENNIS              TX       75119
ANNE ALCOTT                                                              1723 ALLSTON WAY                                                                        BERKELEY           CA       94703
ANNE BOSWORTH                                                            1739 SHAWNEE RD                                                                         INDIANAPOLIS       IN       46260
ANNE C. HIGGINS                                                          3921 PAUNACK AVENUE                                                                     MADISON            WI       53711-1622
ANNE CLEARY STENINGER                                                    1091 5TH ST                                                                             ALTO               NV       89801
ANNE GATTIS                                                              PO BOX 541483                                                                           GRAND PRAIRIE      TX       75052-1729
ANNE GAVIN                                                               319 LEAFLAND AVE                                                                        NASHVILLE          TN       37210
ANNE KNAPP                                                               5731 NE 61ST ST                                                                         SEATTLE            WA       98115
ANNE LAPUZZA                                                             2015 E WILLOW CREEK TER                                                                 MUSTANG            OK       73064-6146
ANNE MAHONEY                                                             4005 BROADERICK RD                                                                      STILLWATER         OK       74075

ANNE MARLEEN DOUGLASS HENDERSON REV                                      8000 NOLAND RD                                                                          LENEXA             KS       66215
ANNE MORAN                                                               718 SUMMERS LN                                                                          LAKE DALLAS        TX       75065
ANNE N KELLY TTEE                                                        2520 NW 61ST ST                                                                         OKLAHOMA CITY      OK       73112-7117
ANNE PHELPS                                                              420 LINCOLN ST                                                                          PUEBLO             CO       81004-1420
ANNE PUNDT MCIVER                                                        127 RHODE ISLAND AVENUE                                                                 NEW PORT           RI       02840
ANNE RAGSDALE DODD                                                       3639 STANFORD DRIVE                                                                     LAKE HAVASU CITY   AZ       86406
ANNE REECE                                                               5004 W 3RD AVE                                                                          STILLWATER         OK       74074-6797
ANNE SHERWOOD                                                            PO BOX 541483                                                                           GRAND PRAIRIE      TX       75054-1483
ANNE SHULTS                                                              849 HAVENWOOD LANE S                                                                    FORT WORTH         TX       76112
ANNE SLOAN                                                               5555 FRIENDSHIP BLVD APT 334                                                            CHEVY CHASE        MD       20815
ANNE TAUBMAN DESCENDANTS TRUST                                           PO BOX 1588                                                                             TULSA              OK       74101-1588
ANNE WILLIS                                                              235 TEEL COURT                                                                          ROCKY MOUNT        VA       24151
ANNE WINSTON ALLEN LIFE TENANT                                           429 UNION GROVE RD                                                                      CARBONDALE         IL       62903
                                                                                                                       9211 Lake Hefner
Anne-Marie Condacse                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Anne-Marie Condacse                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX       77006
Anne-Marie Condacse                                                      2623 Lyndsey Ct                                                                         Stillwater         OK       74074
ANNEMARIE HEIDEN GYSBERS                                                 400 W JEFFERSON STREET                                                                  WAUPUN             WI       53963
ANNETTA K SHELTON                                                        10460 PRAIRIE RD                                                                        BUCYRUS            MO       65444-8103
ANNETTA RICE                                                             4809 E 9TH STREET                                                                       CUSHING            OK       74023
ANNETTE BIRK                                                             14781 MEMORIAL DR #119                                                                  HOUSTON            TX       77079
ANNETTE CASTO                                                            8914 N COUNTRY CLUB RD                                                                  STILLWATER         OK       74075
ANNETTE DESCHER                                                          1805 N AUSTIN AVE                                                                       OKLAHOMA CITY      OK       73127
ANNETTE HILLMAN                                                          297 DUKE DRIVE                                                                          TARENTUM           PA       15084-4500
ANNETTE KAUK                                                             PO BOX 446                                                                              LEEDEY             OK       73654-0446
ANNETTE PHILLIPS                                                         613 SW 149TH PL                                                                         OKLAHOMA CITY      OK       73170-7505
ANNETTE S MCRAVEN                                                        51 COUNTY ROAD 3660                                                                     QUEEN CITY         TX       75572-4458
ANNETTE SCHNEIDER                                                        8405 TREEHOUSE LANE                                                                     AUSTIN             TX       78749
ANNETTE THOMPSON                                                         938 W GREENHURST RD                                                                     NAMPA              ID       83686
Annette Williams                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX       75070
Annette Williams                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK       74104
Annette Williams                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY       10017
Annette Williams                                                         2005 West Marshall St                                                                   Tulsa              OK       74127
ANNIE PORTER                                                             5569 EAST TOWER LANE                                                                    CALDWELL           ID       83607
ANNIE WRIGHT DECD                                                        3411 HUNTERS WALK                                                                       SAN ANTONIO        TX       78230
ANOATUBBY FOR GOVERNOR                                                   PO BOX 1312                                                                             ADA                OK       74821-1312

ANR PIPELINE COMPANY                  ATTN: ACCOUNTS RECEIVABLE                                                                                                  HOUSTON            TX       77002-2761
ANSEL DALE SHARP DECD                                                    1840 TOWERING MESA AVE                                                                  HENDERSON          NV       89012
ANSWER SERVICE OF MCALESTER                                              2116 N 11TH ST                                                                          MCALESTER          OK       74501-3215
ANTEAUS HOLDINGS LTD.                                                    14801 QUORUM DR STE 170                                                                 DALLAS             TX       75254
ANTELOPE HILLS PARTNER LP                                                PO BOX 82515                                                                            BAKERSFIELD        CA       93380-2515
ANTELOPE REVOCABLE LIVING TRUST DAT                                      PO BOX 26                                                                               NARDIN             OK       74646


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                                                                                          White Star Petroleum, LLC
                                                                                               Creditor Matrix


            CreditorName                CreditorNoticeName                        Address1                              Address2                 Address3           City    State     Zip      Country
ANTERO RESOURCES CORPORATION                                         535 WHITE OAKS BLVD                                                                    BRIDGEPORT      WV    26330
                                                                                                                   9211 Lake Hefner
Anthony Dunlap                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                  c/o Laminack, Pirtle & Martines,
Anthony Dunlap                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Anthony Dunlap                                                       8405 NE 34th St                                                                        Spencer         OK    73084
                                                                                                                   9211 Lake Hefner
Anthony Parrish                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                  c/o Laminack, Pirtle & Martines,
Anthony Parrish                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Anthony Parrish                                                      16609 Canyonwood Ln                                                                    Edmond          OK    73012
                                                                                                                   9211 Lake Hefner
Anthony "Tony" Kralik             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                  c/o Laminack, Pirtle & Martines,
Anthony "Tony" Kralik             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Anthony "Tony" Kralik                                                3501 Cooper Hill Dr                                                                    Guthrie         OK    73034
ANTHONY & EVELYN DEAN TRST                                           PO BOX 847                                                                             PERKINS         OK    74059-0847

ANTHONY AMIGO                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX    75070
ANTHONY BENTLEY                                                      3416 CREEK CROSSING                                                                    PERKINS         OK    74059
ANTHONY BOUDREAU                                                     4349 CRESCENT DR                                                                       FLOWER MOUND    TX    75028-2958
                                                                                                                   9211 Lake Hefner
Anthony Brewster                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                  c/o Laminack, Pirtle & Martines,
Anthony Brewster                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Anthony Brewster                                                     1905 S. Gum Ave                                                                        Broken Arrow    OK    74012
ANTHONY CHASE                                                        3016 N. 61st                                                                           Fairmont City   IL    62201
ANTHONY COOPER                                                       76 ORANGEVILLE RD                                                                      GREENVILLE      PA    16125
ANTHONY DESCHER                                                      803 E WINDY HILL ST                                                                    FAYETTEVILLE    AR    72703
ANTHONY ECHELLE                                                      PO BOX 146                                                                             RATTAN          OK    74562
ANTHONY ENERGY LLC                                                   7900 MONTICELLO DR                                                                     GRANBURY        TX    76049
ANTHONY ENERGY LTD                                                   7900 MONTICELLO DR                                                                     GRANBURY        TX    76049
ANTHONY HEIRING ESTATE                                               7300 E FORT WORTH ST                                                                   BROKEN ARROW    OK    74014
ANTHONY HOLLI FERRARA                                                449 SW AIRPORT RD                                                                      CACHE           OK    73527
ANTHONY J & EVELYN O DEAN TRUST                                      PO BOX 1118                                                                            STILLWATER      OK    74076
ANTHONY L BATES                                                      106 S 2ND STREET                                                                       TRYON           OK    74875
                                                                                                                   9211 Lake Hefner
Anthony R. Battle                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                  c/o Laminack, Pirtle & Martines,
Anthony R. Battle                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Anthony R. Battle                                                    2212 E. Park Pl                                                                        Oklahoma City   OK    73117
ANTHONY RAMONA IMRY JT                                               6817 W 9TH ST                                                                          CUSHING         OK    74023-5813
ANTHONY REDING                                                       2129 NW 114TH ST                                                                       OKLAHOMA CITY   OK    73120-7706
ANTHONY RUDKIN                                                       7906 LILLY POND LANE                                                                   WILMINGTON      NC    28411
ANTHONY STOREY                                                       13316 HIDDEN VALLEY RD NE                                                              ALBUQUERQUE     NM    87111-4214
ANTHONY SULLIVAN                                                     9909 WHIPPS MILL RD                                                                    LOUISVILLE      KY    40223
ANTHONY TARRANT                                                      11228 N 1930 RD                                                                        SAYRE           OK    73662
ANTHONY W ANTOLIC                                                    7510 NE 107 AVE                                                                        VANCOUVER       WA    98662
                                                                                                                   9211 Lake Hefner
Anthony Carter                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                  c/o Laminack, Pirtle & Martines,
Anthony Carter                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Anthony Carter                                                       10108 Little Pond Dr                                                                   Oklahoma City   OK    73162
                                                                                                                   9211 Lake Hefner
Anthony Tansimore                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                  c/o Laminack, Pirtle & Martines,
Anthony Tansimore                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Anthony Tansimore                                                    8936 Tilman Dr                                                                         Oklahoma City   OK    73132



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                                                                         1 MORGAN PLACE, KETTERING
ANTIOCH COLLEGE                                                          BUILDING                                                                                YELLOW SPRINGS       OH      45387-1683
ANTIOCH OPERATING LLC                                                    PO BOX 1557                                                                             OKLAHOMA CITY        OK      73101-1557
ANTON JOE DUDEK REVOCABLE TRUST                                          606 DUNCAN AVE                                                                          KILLEEN              TX      76541
                                                                                                                       9211 Lake Hefner
Antonio Tapia                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Antonio Tapia                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston              TX      77006
Antonio Tapia                                                            1703 Sherry Lane                                                                        Prague               OK      74864
ANTROINE BROWN                                                           2402 E. PINE AVE                                                                        ENID                 OK      73701
ANVIK ENERGY INTERESTS INC                                               PO BOX 79594                                                                            HOUSTON              TX      77279
AOGM ENERGY FUND                                                         5353 KELLER SPRINGS RD #722                                                             DALLAS               TX      75248-2762
AON REED STENHOUSE INC                                                   4th FLOOR, 1100 -1st ST SE                                                              CALGARY              AB      T2G 1B1      CANADA
AON RISK SERVICES SOUTHWEST INC                                          5555 San Felipe Suite 1500                                                              Houston              TX      77056
AOS LLC                                                                  PO BOX 871566                                                                           KANSAS CITY          MO      64187-1566
APACHE CORPORATION                                                       PO BOX 840133                                                                           DALLAS               TX      75284-0133
APACHE DEEPWATER LLC                                                     PO BOX 840133                                                                           DALLAS               TX      75284-0133
APEX RESOURCES LLC                                                       PO BOX 54588                                                                            OKLAHOMA CITY        OK      73154
APEX SAFETY LLC                                                          9700 NW 6TH STREET                                                                      OKLAHOMA CITY        OK      73120
APEX TURF CONTROL LLC                                                    910 E 14TH ST                                                                           CUSHING              OK      74023-5154
APPALACHIAN SPRINGS LLC                                                  PO BOX 91                                                                               CAMBRIDGE            OH      43725-0091
APPEA LIMITED                                                            PO BOX 2201                                                                                                                       AUSTRALIA
APPLE ROCK INC                                                           3821 OAKWOOD COURT                                                                      ENID                 OK      73703
APPLEGATE TRUCKING LLC                                                   PO BOX 604                                                                              PERKINS              OK      74059

APPLIED ECONOMICS CNSLTNG GROUP INC                                      1905 NORTH LAMAR BLVD                                                                   AUSTIN               TX      78705

APPLIED FLOW TECHNOLOGY CORPORATION                                      2955 PROFESSIONAL PL STE 301                                                            COLORADO SPRINGS     CO      80904-8140
APPROYO                                                                  13100 LISBON ROAD SUITE 600                                                             BROOKFIELD           WI      53005
APRIL CARSON                                                             1410 LEONA MITCHELL BLVD                                                                ENID                 OK      73701
APRIL COLLIER                                                            10014 MCELROY RD                                                                        STILLWATER           OK      74075
APRIL D CUNNINGHAM                                                       1809 EAST 56TH AVE                                                                      STILLWATER           OK      74074
APRIL ELIZABETH TUCKER                                                   21571 S 220TH PLACE                                                                     QUAIL CREEK          AZ      85142
                                                                                                                       10205 North
April Marler                          c/o Federman & Sherwood            Attn: William B Federman                      Pennslyvania Ave                          Oklahoma City        OK      73120
April Marler                          c/o Poynter Law Group              Attn: Scott E Poynter                         400 W Capitol Ave     Ste. 2910           Little Rock          AR      72201
                                      c/o Steel, Wright, Gray &
April Marler                          Hutchinson                         Attn: Nate Steel                              400 W Capitol Ave     Ste. 2910           Little Rock          AR      72201
April Marler                          c/o Weitz & Luxenberg, PC          Attn: Curt D Marshall                         700 Broadway                              New York             NY      10003
April Marler                                                             14266 NE 4th St                                                                         Choctaw              OK      73020
APRIL S DRAKE                                                            1520 S OLD HWY                                                                          CADDO                OK      74729-5434
APRIL SCOTT                                                              6011 OAK CREEK                                                                          MIDLAND              TX      79707
APRIL SNOW                                                               17509 DURBIN PARK RD                                                                    EDMOND               OK      73012
                                                                                                                       9211 Lake Hefner
April W. Hendricks                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
April W. Hendricks                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston              TX      77006
April W. Hendricks                                                       13909 Canterbury Dr                                                                     Edmond               OK      73013
APSS INC                                                                 PO BOX 850680                                                                           YUKON                OK      73085
AQUAENCO INC                                                             PO BOX 702416                                                                           TULSA                OK      74170
ARACARI VENTURES LLC                                                     5950 BERKSHIRE LN STE 1400                                                              DALLAS               TX      75225-5842
ARAMARK REFRESHMENT SERVICES                                             9950 FALLBROOK PINES                                                                    HOUSTON              TX      77064
ARAMARK UNIFORM SERVICES                                                 PO BOX 731676                                                                           DALLAS               TX      75373-1676
ARAPAHO LAND COMPANY                                                     1021 NW GRAND BLVD                                                                      OKLAHOMA CITY        OK      73118-6039
ARAPAHO LAND COMPANY L.L.C.                                              1021 N.W. GRAND BOULEVARD                                                               OKLAHOMA CITY        OK      73118-6039
ARAPAHOE RESOURCES LLC                                                   PO BOX 57107                                                                            OKLAHOMA CITY        OK      73157
ARBUCKLE ENTERPRISES INC                                                 PO BOX 5250                                                                             EDMOND               OK      73083
ARBUCKLE MINERAL LLC                                                     PO BOX 54737                                                                            OKLAHOMA CITY        OK      73154-1737
ARBUCKLE WIRELINE LLC                                                    PO BOX 817                                                                              LONE GROVE           OK      73443


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Arcadia Capital AEW, LLC               Attention: Scott R. Mueller        301 N.W. 63rd Street, Suite 600                                          Oklahoma City     OK      73116
Arcadia Capital AEW, LLC               Attention: Thomas J. Blalock       301 N.W. 63rd Street, Suite 600                                          Oklahoma City     OK      73116
ARCADIA CAPITAL AVIATION COMPANY LL                                       PO BOX 18756                                                             OKLAHOMA CITY     OK      73154
ARCADIA CAPITAL LLC                                                       PO BOX 18756                                                             OKLAHOMA CITY     OK      73154-0756
ARCHA MACK HAYMAKER                                                       4326 W. HAYWARD RD.                                                      WAUKOMIS          OK      73773
ARCHER PEARL ENERGY LTD                                                   401 AUSTIN HIGHWAY SUITE 212                                             SAN ANTONIO       TX      78209
ARCHIBALD MCNEILL                                                         230 PLANTATION RD                                                        HOUSTON           TX      77024-6218
ARCHIE & GWENDOLYN REED TST                                               PO BOX1230                                                               PORTERVILLE       CA      93258-1230
ARCHIE FASSNACHT                                                          719 S. McDonald                                                          Stillwater        OK      74074
ARCHIE SHIRLEY GACHES JT                                                  300 S STILES                                                             CUSHING           OK      74023-5822
ARCHIE THOMAS                                                             9110 N 137TH E AVE                                                       OWASSO            OK      74055-4537
ARCHROCK PARTNERS OPERATING LLC                                           16666 NORTHCHASE DR                                                      HOUSTON           TX      77060
ARCHROCK SERVICES LP                                                      PO BOX 201160                                                            DALLAS            TX      75320-1160
ARCTIC ROYALTY LIMITED                                                    PO BOX 1588                                                              TULSA             OK      74101-1588
ARDEN SCHWANDT                                                            6412 W 19TH AVE                                                          STILLWATER        OK      74074
ARDETH JONES                                                              129 NW 17TH ST                                                           OKLAHOMA CITY     OK      73103-3412
ARDITH GASTINEAU                                                          521 WEST ARLINGTON                                                       WEATHERFORD       OK      73096
Arellano, Teodolo                      c/o White Star Petroleum, LLC      301 NW 63rd St                          Ste 600                          Oklahoma City     OK      73116
Arend, Edward                          c/o White Star Petroleum, LLC      301 NW 63rd St                          Ste 600                          Oklahoma City     OK      73116
ARGEE COMPANY                                                             3506 GRAMERCY STREET                                                     HOUSTON           TX      77025-1318
                                       ATTN: Michelle Stukey, Director,
Argonaut Insurance Company             Portfolio Management               13100 Wortham Center Drive              Suite 290                        Houston           TX      77065
ARGUS MEDIA INC                                                           2929 ALLEN PKWY STE 700                                                  HOUSTON           TX      77019-7100
ARIEL BRUMLEY                                                             119 W OAKS SHAWDOWS                                                      ONALASKA          TX      77360
Arizona Dept of Revenue                Unclaimed Property Unit            1600 W Monroe Division Code: 10                                          Phoenix           AZ      85007-2650
ARIZONA UNCLAIMED PROPERTY UNIT                                           1600 WEST MONROE                                                         PHOENIX           AZ      85007-2650
ARJUNA LLC                                                                2445 S ZEPHYR WAY                                                        LAKEWOOD          CO      80227-3200
Arkansas Unclaimed Property Division                                      1401 West Capitol Avenue Suite 325                                       Little Rock       AR      72201
ARKENCO LTD                                                               PO BOX 52233                                                             TULSA             OK      74152
ARKOMA POWER & ENERGY CO                                                  401 S BOSTON #1850                                                       TULSA             OK      74103
ARKOMA TANKS LLC                                                          PO BOX 237                                                               WILSOM            OK      73463
ARLA MENDENHALL                                                           601 E ST ANDREWS DR                                                      SHELTON           WA      98584
ARLEENE GAY WHITE                                                         25025 N 2880 RD                                                          KINGFISHER        OK      73750
ARLENE BERNICE DOUGHERTY REV TR                                           7920 108TH AVE NE                                                        NORMAN            OK      73026
ARLENE DOUGLAS                                                            PO BOX 122                                                               RIPLEY            OK      74062-0122
ARLENE KNIGHT                                                             7501 E THOMPSON PK PKWY                                                  SCOTTSDALE        AZ      85255
ARLENE PHILIPP                                                            1090 STRAWBERRY LANE                                                     ELLENWOOD         GA      30294
ARLENE SIMMONS                                                            3203 KINGSTON                                                            PONCA CITY        OK      74601
ARLENE SIMPSON                                                            30340 WINDMILL LANE                                                      BURNS             OR      97720
ARLENE TERBRUSH                                                           ROUTE 1, BOX 107                                                         ROSSTON           OK      73855
ARLENE WILSON                                                             1603 N HARTFORD ST APT 10                                                STILLWATER        OK      74075-5728
ARLIE PARRISH                                                             3217 E 2ND AVE                                                           STILLWATER        OK      74074
ARLIE THOMASON                                                            2016 GREENWOOD AVE                                                       REEDSPORT         OR      97467
ARLIE TOMLINSON                                                           14227 SE 187TH ST                                                        RENTON            WA      98058-9315
ARLIN LOY                                                                 12812 CASTLEROCK CT                                                      OKLAHOMA CITY     OK      73142
ARLIN WATSON                                                              PO BOX 1176                                                              VALLEY SPRINGS    CA      95252
ARLINDA MOORE                                                             3682 LEGACY COMMON                                                       MERIDIAN          ID      83646
ARLINE PATTEN                                                             174 YORKSHIRE DR                                                         SANTA ROSA        CA      95401-4946
ARLINGTON PETROLEUM LLC                                                   PO BOX 217                                                               POCOLA            OK      74902
ARLIS SMITH                                                               313 ASBURY CIRCLE                                                        ENID              OK      73703-4920
ARLITA FERRELL                                                            703 EAST 4TH ST                                                          HENNESSEY         OK      73742
ARLON RAY ENMEIER                                                         256 AVE VISTA DEL OCEANO                                                 SAN CLEMENTE      CA      92672
ARLYNE HAMBURGER                                                          1010 EAST HUBER                                                          WEATHERFORD       OK      73096
ARM ENERGY MANAGEMENT LLC                                                 20329 STATE HIGHWAY 249 STE 450                                          HOUSTON           TX      77070-2748
ARM LEASING & TITLE LLC                                                   PO BOX 450115                                                            GROVE             OK      74345
ARMADA ENERGY CORP                                                        5724 N.W. 135TH STREET                                                   OKLAHOMA CITY     OK      73142
ARMADA PRESSURE CONTROL                                                   PO BOX 1809                                                              DECATUR           TX      76234
ARMADA PRESSURE CONTROL LLC                                               PO BOX 1809                                                              DECATUR           TX      76234-6152
ARMADILLO E&P INC                                                         633 17TH ST STE 1950                                                     DENVER            CO      80202


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                                                                                             White Star Petroleum, LLC
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              CreditorName                 CreditorNoticeName                          Address1                            Address2                 Address3             City    State       Zip      Country
ARMSTRONG RELOCATION                                                    1405 CRESCENT DR                                                                       CARROLLTON       TX       75006
ARMSTRONG TOOL LLC                                                      75 REMITTANCE DR                                                                       CHICAGO          IL       60675-6882
ARMSTRONG TOOL LLC                                                      PO BOX 858                                                                             VAN BUREN        AR       72956
ARNEL SHARP                                                             385 ROSADO SPRINGS ST                                                                  HENDERSON        NV       89014
ARNETT MOORE                                                            17 HILLCREST CT                                                                        OAKLAND          CA       94619
Arney, Jared                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK       73116
ARNOL SHAFER                                                            20120 LARIAT                                                                           PERRY            OK       73077
ARNOLD AHRNSBRAK DECD                                                   530 S HEWITT ST UNIT 532                                                               LOS ANGELES      CA       90013
ARNOLD BEIER                                                            PO BOX 56                                                                              LINN             KS       66953
ARNOLD D FAGIN TRUST                                                    1703 GUILFORD LANE                                                                     NICHOLS HILLS    OK       73120
ARNOLD M AND PADDY G LEVICK TRUST                                       11408 PINE TOP LANE NE                                                                 ALBUQUERQUE      NM       87111
ARNOLD OIL PROPERTIES LLC                                               6816 N ROBINSON                                                                        OKLAHOMA CITY    OK       73116
                                                                                                                      9211 Lake Hefner
Arnold Burkett                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                     c/o Laminack, Pirtle & Martines,
Arnold Burkett                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Arnold Burkett                                                          528 N Park St                                                                          Guthrie          OK       73034
Arnold, James                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK       74074
Arnold, William                      c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK       74074
ARP OKLAHOMA LLC                                                        425 HOUSTON ST STE 300                                                                 FORT WORTH       TX       76102-3951
ARRAKEEN RESOURCE LTD COMPANY                                           10428 CHRISTOPHER DRIVE                                                                CONIFER          CO       80433-8820
ARREY WALTON TRUST                                                      25328 VILLAGE 25                                                                       CAMARILLO        CA       93012-7123
ARRINGTON DAVIS LLC                                                     PO BOX 1747                                                                            STILLWATER       OK       74076-1747
ARROW 175 LLC                                                           57 COTTAGE LANE                                                                        ALISO VIEJO      CA       92656
ARROW MACHINERY INC                                                     1121 N MARTIN LUTHER KING AVE                                                          OKLAHOMA CITY    OK       73117-4225
ARROW OIL & GAS LLC                                                     PO BOX 722347                                                                          NORMAN           OK       73070
ARROW PUMP & SUPPLY INC                                                 PO BOX 1070                                                                            SEMINOLE         OK       74818-1070
ARROWHEAD RESOURCES INC                                                 PO BOX 720                                                                             SAYRE            OK       73662-0720
ARS EXPLORATION LLC                                                     5724 NW 135TH STREET                                                                   OKLAHOMA CITY    OK       73142
                                                                                                                      9211 Lake Hefner
Art Bowen                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                     c/o Laminack, Pirtle & Martines,
Art Bowen                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Art Bowen                                                               10605 S. Lawrence St                                                                   Jenks            OK       74037
ARTHRITIS FOUNDATION INC                                                PO BOX 840738                                                                          DALLAS           TX       75284
ARTHUR ALLEN                                                            4980 JULINGTON CREEK RD                                                                JACKSONVILLE     FL       32258
ARTHUR BURKI                                                            726 W CHESTNUT ST                                                                      CARTHAGE         MO       64836
ARTHUR BURKI                                                            2234 OXFORD WAY                                                                        OKLAHOMA CITY    OK       73120
ARTHUR CARRIERS                                                         2016 EAST SIXTH AVENUE                                                                 STILLWATER       OK       74074
ARTHUR CHOATE                                                           133 E 64TH ST APT 10B                                                                  NEW YORK         NY       10065
ARTHUR CLARK                                                            9302 E CRYSTAL DR                                                                      SUN LAKES        AZ       85248-0830
ARTHUR COGGINS                                                          1983 HILLTOP DR                                                                        EUFAULA          OK       74432
ARTHUR CROSBY                                                           1277 SILVERADO ST                                                                      LA JOLLA         CA       92037
ARTHUR D HULET                                                          PO BOX 841                                                                             STILLWATER       OK       74076
ARTHUR DAUGHERTY                                                        123 N JARDOT RD                                                                        STILLWATER       OK       74075-8247
ARTHUR DUNCAN                                                           1110 8TH TERR N                                                                        NAPLES           FL       34102
ARTHUR E CLARK                                                          4064 NW 60TH STREET                                                                    OKLAHOMA CITY    OK       73112
ARTHUR E SHOTTS ESTATE                                                  PO BOX 506                                                                             WEATHERFORD      OK       73096
ARTHUR EDMUNDSON DECD                                                   6908 E 68TH ST                                                                         STILLWATER       OK       74074
ARTHUR HIDAY HEIRS OF                                                   4009 EAST 300 NORTH                                                                    ANDERSON         IN       46012
ARTHUR J BERG DECEASED                                                  625 HOPKINS ROAD                                                                       SANDPOINT        ID       83864

ARTHUR J GALLAGHER RISK MANAGEMENT                                      39683 TREASURY CENTER                                                                  CHICAGO          IL       60694-9600
ARTHUR L KNOX                                                           920 PINE TREE LN                                                                       LINCOLN          NE       68521
                                                                                                                      9211 Lake Hefner
Arthur L. Rutledge                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                     c/o Laminack, Pirtle & Martines,
Arthur L. Rutledge                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Arthur L. Rutledge                                                      712 N. Francis Ave                                                                     Oklahoma City    OK       73106


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             CreditorName                CreditorNoticeName                         Address1                             Address2                   Address3            City    State       Zip       Country
ARTHUR M AND CANDACE CLARK H & W                                      9302 EAST CRYSTAL DRIVE                                                                  SUN LAKES        AZ      85248
ARTHUR MIER                                                           102 SOUTH VIRGINA AVENUE                                                                 MARSHALL         OK      73056-9751
ARTHUR NELSON                                                         14943 E TEMPLE PL                                                                        AURORA           CO      80015
ARTHUR SMITH                                                          406 N SHORE DR                                                                           AMARILLO         TX      79118

ARTHUR VANLANDINGHAM               C/O ANDREW H VAN DORN SR                                                                                                    HAPPY VALLEY     OR      97086-2615
ARTHUR W & BETTY DAUGHERTY TR                                         123 N JARDOT RD                                                                          STILLWATER       OK      74075-8247
ARTHUR WEBB                                                           209 N JARDOT RD                                                                          STILLWATER       OK      74075
ARTHUR WHITE                                                          104 SW MLK                                                                               LANGSTON         OK      73050
                                                                                                                    9211 Lake Hefner
Arthur Ganther Sr.                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Arthur Ganther Sr.                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
Arthur Ganther Sr.                                                    101 6th St                                                                               Arcadia          OK      73007
                                                                                                                    9211 Lake Hefner
Arthur Willmon                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Arthur Willmon                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
Arthur Willmon                                                        3920 W Indian Hill Rd                                                                    Norman           OK      73072
ARTIE WELLS                                                           7602 RUBY DR                                                                             SOUTH LAKEWOOD   WA      98498
ARUTHER MIER                                                          102 SOUTH VIRGINIA AVENUE                                                                MARSHALL         OK      73056-9751
                                                                                                                    9211 Lake Hefner
Arvil E. Smallwood                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Arvil E. Smallwood                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
Arvil E. Smallwood                                                    375 Wilkenson Dr                                                                         Norman           OK      73026
ARVIL FLIPPIN                                                         2641 NW 153RD                                                                            EDMOND           OK      73013
ARVILLA M WEST TRUST                                                  1412 S SURREY DR                                                                         STILLWATER       OK      74074-1846
ARVILLA WEST REV TR AGMT                                              1412 S SURREY PL                                                                         STILLWATER       OK      73074
ASA LEE TESTAMENTARY TR                                               14901 N PENNSYLVANIA AVE RM 915                                                          OKLAHOMA CITY    OK      73134
ASAP ENERGY INC                    ATTN: Rick Koch                    1501 North Airport Road                                                                  Weatherford      OK      73096
ASAP ENERGY INC                                                       PO BOX 685                                                                               WEATHERFORD      OK      73096
ASC INC                                                               PO BOX 401                                                                               ELLENBORO        WV      26346-0401
ASCEND RESOURCES LLC                                                  PO BOX 31046                                                                             EDMOND           OK      73003
ASCENT MIDSTREAM PARTNERS LLC                                         PO BOX 33010                                                                             TULSA            OK      74153
ASCENT RESOURCES - MARCELLUS LLC                                      PO BOX 13678                                                                             OKLAHOMA CITY    OK      73113-1678
ASCENT RESOURCES - UTICA LLC                                          PO BOX 13678                                                                             OKLAHOMA CITY    OK      73113-1678
ASCENT RESOURCES OPERATING LLC                                        PO BOX 54526                                                                             OKLAHOMA CITY    OK      73154
ASH GROVE RESOURCES LLC                                               5375 SW 7TH ST STE 400                                                                   TOPEKA           KS      66606
                                                                      11063 S MEMORIAL DR SUITE D PMB
ASHER ENTERPRISES                                                     #525                                                                                     TULSA            OK      74133
ASHLEY ADELE BENNETT                                                  1400 INDUSTRIAL BLVD                                                                     LOCKHART         TX      78644
ASHLEY INVESTMENT COMPANY                                             PO BOX 1060                                                                              CANDLER          NC      28715
ASHLEY MAE NEWMAN                                                     811 COUNTRY CLUB DRIVE                                                                   HOLDENVILLE      OK      74848
ASHLEY MAYFIELD                                                       29997 HARVEST                                                                            GLENCOE          OK      74032
ASHLEY MOSES                                                          113 TURNBERRY LANE                                                                       COPPELL          TX      75019
ASHLEY WAEGER                                                         1206 HAILEYS CT                                                                          KINGFISHER       OK      73750
                                                                                                                    9211 Lake Hefner
Ashley Block                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Ashley Block                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
Ashley Block                                                          1121 NW 85th St                                                                          Oklahoma City    OK      73114
ASHURST AUSTRALIA                                                     LEVEL 32 EXCHANGE PLAZA                                                                                                        AUSTRALIA
ASM PETROLEUM LLC                                                     7557 RAMBLER RD SUITE 915                                                                DALLAS           TX      75231
                                                                                                                    6666 NW 39th
Aspect Oilfield Services           c/o The Bethany Law Center LLP     Attn: Christopher W Cotner                    Expressway                                 Bethany          OK      73008

Aspect Oilfield Services                                              12444 NW 10 St                                Bldg G, Ste. 202-512                       Yukon            OK      73099
ASPECT OILFIELD SERVICES LLC                                          PO BOX 732951                                                                            DALLAS           TX      75373-2951


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ASPEN LAND AND EXPLORATION CO                                           PO BOX 4335                                                                            TULSA           OK      74159-0335
ASPEN LEAF LLC                                                          PO BOX 1488                                                                            MUSTANG         OK      73064
ASPEN MINERALS LLC                                                      1702 GARDEN IVY LN                                                                     PEARLAND        TX      77581
ASPEN TECHNOLOGY INC                                                    200 WHEELER RD STE 19                                                                  BURLINGTON      MA      01803-5500
ASPOSE PTY LTD                                                          STE 163 79 LONGUEVILLE ROAD                                                            LANE COVE               2066         AUSTRALIA

ASSET RECOVERY MANAGEMENT SERVICES                                      500 SEAWALL BLVD UNIT 1113                                                             GALVESTON       TX      77550
Associated Bank N.A.                 Attn: Brian Cadell                 200 North Adams Street                                                                 Green Bay       WI      54305
ASSOCIATED WIRE LINE SERVICES                                           PO BOX 906                                                                             HEALDTON        OK      73438
ASSOCIATION OF CORPORATE COUNSEL                                        PO BOX 824272                                                                          PHILADELPHIA    PA      19182-4272
ASTORIA HOLDINGS LLC                                                    PO BOX 27996                                                                           DENVER          CO      80227-0996
ASTORIA OIL LLC                                                         PO BOX 27996                                                                           DENVER          CO      80227-0996
ASUNIDOHI LAND AND CATTLE LLC                                           PO BOX 7957                                                                            MOORE           OK      13153
AT LAST PROPERTIES LLC                                                  9251 CR 200                                                                            RED ROCK        OK      74651-0422
AT YOUR SERVICE                                                         PO BOX 1676                                                                            OWASSO          OK      74055-1676
AT&T CORP                                                               PO BOX 105414                                                                          ATLANTA         GA      30348-5414
AT&T MOBILITY                                                           PO BOX 6463                                                                            CAROL STREAM    IL      60197-6463
AT&T Mobility                                                           208 South Akard Street                                                                 Dallas          TX      75202
ATCHLEY RESOURCES INC                                                   13903 QUAIL POINTE DR                                                                  OKLAHOMA CITY   OK      73134-1002
A-TECH INC                                                              PO BOX 2704                                                                            TULSA           OK      74101-2704
ATHA M HICKS TR                                                         PO BOX 669                                                                             ADA             OK      74821
ATHAN INC                                                               1616 E 19TH STSTE 405                                                                  EDMOND          OK      73013
ATINUM MIDCON I LLC                                                     333 CLAY STREET SUITE 700                                                              HOUSTON         TX      77002

ATIQUE A KHAN                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
ATKINSON FAMILY TRUST                                                   512 NW 156TH CIR                                                                       EDMOND          OK      73013
ATKINSON ROYALTY COMPANY LLC                                            PO BOX 2404                                                                            PONCA CITY      OK      74602-2404
ATLAS DRILLING LLC                                                      224 48th STREET                                                                        WOODWARD        OK      73801
ATLAS EXPLORATION & PRODUCTION LLC                                      12740 HILLCREST ROAD                                                                   DALLAS          TX      75230
ATLAS RESOURCE PARTNERS LP                                              3500 MASSILLON RD STE 100                                                              UNIONTOWN       OH      44685
ATLAS ROCK BIT SERVICE INC                                              PO BOX 474                                                                             TUTTLE          OK      73089-0474
ATOMIC CAPITAL MINERALS LLC                                             2777 ALLEN PKWYSTE 1185                                                                HOUSTON         TX      77019
ATRIUM LLC                                                              210 PARK AVE STE 1000                                                                  OKLAHOMA CITY   OK      73102-5606
ATS ENERGY                                                              PO BOX 18683                                                                           OKLAHOMA CITY   OK      73154-0683
AUBREY MCCLENDON                                                        PO BOX 18756                                                                           OKLAHOMA CITY   OK      73154-0756
Auburn Cloyes                        c/o Edward L White PC              Attn: Kerry D Green & Edward L White          829 E 33rd St                            Edmond          OK      73013
                                     c/o Maples, Nix & Diesselhorst
Auburn Cloyes                        PLLC                               Attn: Ray Maples                              15401 N. May Ave                         Edmond          OK      73103
Auburn Cloyes                        c/o Munson & McMillin              Attn: April B Eberle                          247 N Broadway                           Edmond          OK      73034
Auburn Cloyes                                                           1701 Ryanway                                                                           Edmond          OK      73003
AUBURN ENERGY LTD                                                       4925 GREENVILLE AVE STE 900                                                            DALLAS          TX      75206-4021
                                                                                                                      9211 Lake Hefner
Audie Stiles                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Audie Stiles                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Audie Stiles                                                            333701 E. 890 Rd                                                                       Wellston        OK      74881
AUDRA BAXTER                                                            1701 ALAMEDA ST #122                                                                   NORMAN          OK      73071
AUDRA KENT                                                              RT 1 BOX 170                                                                           PAGE            TX      78659
AUDREY DALE                                                             173 BASSWOOD DR                                                                        SILVERLAKE      WA      98645
AUDREY HASSING                                                          2359 DAKOTA ST                                                                         SIOUX CITY      IA      51109
AUDREY KALLENBERGER                                                     527 RANDOM RD                                                                          EL DORADO       KS      67042
AUDREY MAGNER                                                           37777 DRAWBRIDGE WAY                                                                   PIERCELLVILLE   VA      20132
AUDREY MILCZARK                                                         615 8TH ST N                                                                           NEW ULM         MN      56073-1383
AUDREY PACE                                                             2695 CUMBERLAND ROAD                                                                   BERKLEY         MI      48072
AUDREY PALMER                                                           20082 WOLFEL TRAIL                                                                     ESTERO          FL      33928
AUDREY PARKS                                                            PO BOX 244                                                                             COLUMBUS        MT      59019
AUDREY SMITH                                                            RR 1 BOX 216                                                                           GAGE            OK      73834
AUDREY STANART                                                          9810 E 42ND ST STE 110                                                                 TULSA           OK      74146-3675



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                                                                                                                      9211 Lake Hefner
Audry Ochoa                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Audry Ochoa                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Audry Ochoa                                                             1400 Patricia Ave                                                                      Oklahoma City    OK      73127
AUFLEGER-GARRETT A PARTNERSHIP                                          301 S DUCK                                                                             STILLWATER       OK      74074
AUGERHEAD OIL LLC                                                       32707 CR 14                                                                            LEWISVILLE       OH      43754
AUGUST WILLMS TRUST                                                     2823 DONNYBROOK DR                                                                     BURLESON         TX      76028-2329
AUGUSTA CHAPPELL                                                        312 N CEDAR ST                                                                         GUTHRIE          OK      73044
AUGUSTA LAND LLC                                                        5016 BARNSTEEPLE CT                                                                    OKLAHOMA CITY    OK      73142
AUGUSTA MANN                                                            1502 N NORFOLK AVE                                                                     TULSA            OK      74106-4448
AUGUSTUS BOYD                                                           4014 S 25TH E                                                                          IDAHO FALLS      ID      83404-7506
AULT'S OIL & GAS LLC                                                    42361 SR 78                                                                            WOODSFIELD       OH      43793
AUNT PITTYPAT'S CATERING                                                1515 N. PORTLAND AVE                                                                   OKLAHOMA CITY    OK      73107
AURA HOON                                                               23814 PLACID LANE                                                                      COLTON           CA      92324
AUSTIN C & CARLA SUE MARTIN HWJT                                        4022 SIERRA LN                                                                         STILLWATER       OK      74074-6400
AUSTIN DENNIS                                                           PO BOX 65                                                                              BOKCHITO         OK      74726

AUSTIN HOGSETT                                                          4603 N WASHINGTON STREET, APT 206                                                      STILLWATER       OK      74075
AUSTIN KIRKWOOD-DENNEY                                                  10293 COCONUT ROAD                                                                     BONITA SPRINGS   FL      34135
AUSTIN MORRIS                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK      74074
AUSTIN ROYALTIES LLC                                                    PO BOX 18717                                                                           OKLAHOMA CITY    OK      73154
AUSTIN SCHAD                                                            208 NORTH ASH                                                                          VALLEY CENTER    KS      67147
AUSTIN SHIRLEY                                                          1317 E CONNELL                                                                         STILLWATER       OK      74075
AUSTIN TYLER KIRKWOOD-DENNEY                                            16916 CLAYBRIDGE CIRCLE                                                                EDMOND           OK      73012
AUTOGRAPH INTERNATIONAL INC.                                            650 W. BOUGH LN SUIT 150-117                                                           HOUSTON          TX      77024
AUTOMATION INTEGRATED LLC                                               1304 SOVEREIGN ROW                                                                     OKLAHOMA CITY    OK      73108-1825
AUTOMATION-X CORPORATION                                                DEPT 1538                                                                              DENVER           CO      80217-0180
AUTRY GROUP LLC                                                         PO BOX 100638                                                                          FORT WORTH       TX      76185
AUTUMN DOBBS                                                            3865 FAIR MEADOW DRIVE                                                                 BILLINGS         MT      59102
AVEDIS FOUNDATION                                                       7122 S SHERIDAN BOX 604                                                                TULSA            OK      74133
AVENUE INFORMATICS                                                      PO BOX 13506                                                                           OKLAHOMA CITY    OK      73113
AVERY KURTZ & VALERIO PLLC                                              4045 NW 64TH ST STE 405                                                                OKLAHOMA CITY    OK      73116-1657
AVIS L GRAGG                                                            8728 S CLEVELAND ST                                                                    WAUKOMIS         OK      73773
AVL SYSTEMS DESIGN                                                      14901 BRISTOL PARK BLVD                                                                EDMOND           OK      73013-1890
AVROME SCHUMAN TRUST                                                    10627 PICTURED ROCKS DRIVE                                                             PEYTON           CO      80831
AWAD CONSTRUCTION LLC                                                   PO BOX 1268                                                                            STILLWATER       OK      74076
AWAD INVESTMENTS LP                                                     PO BOX 1268                                                                            STILLWATER       OK      74076
AWC INC                                                                 10610 NEWKIRK ST STE 105                                                               DALLAS           TX      75220-0000
AXIOM LLC                                                               PO BOX 3430                                                                            EDMOND           OK      73083-3430
AXIOM MEDICAL CONSULTING LLC                                            4840 W PANTHER CREEK DR STE 106                                                        THE WOODLANDS    TX      77381-3528
AXIP ENERGY SERVICES LP                                                 PO BOX 732170                                                                          DALLAS           TX      75373-2170
AYNORA STRATTON                                                         5418 WAGNON WAY                                                                        FONTANA          CA      92336-1155
AZTEC EXPLORATION INC                                                   400 E DUTTON RD                                                                        POCASSET         OK      73079-8210
AZTECA HOLDINGS LLC                                                     1625 N STEMMONS PWY                                                                    DALLAS           TX      75207
B & A BRADFORD FAMILY LP                                                POB 600070 STE 1100                                                                    DALLAS           TX      75360
B & B GAS WELL SERVICE LLC                                              PO BOX 961029                                                                          FT. WORTH        TX      76161-1029
B & L HEATING AND AIR CONDITIONING                                      PO BOX 1741                                                                            STILLWATER       OK      74076
B & R CONSTRUCTION INC.                                                 PO BOX 2107                                                                            WOODWARD         OK      73802
B BAR B LAND & CATTLE LLC                                               468 CEDAR GROVE CHURCH RD                                                              LAURENS          SC      29360-8162
B BROWNING                                                              PO BOX 205                                                                             HENDERSON        KY      42420
B DELTA MINERALS LLC                                                    2341 SUL ROSS ST                                                                       SAN ANGELO       TX      76904-5309
B HODGES                                                                324 W PARKWAY ST                                                                       ADA              OK      74820-4244
B KANNADY INVESTMENTS LLC                                               4350 WILL ROGERS PKWY STE 350                                                          OKLAHOMA CITY    OK      73108-1857
B R POLK INC                                                            5715 N WESTERN AVE STE C                                                               OKLAHOMA CITY    OK      73118-1239
B SHOUP                                                                 7 WINDSOR CIR                                                                          STILLWATER       OK      74074-6708
B&B HOLDINGS LLC                                                        PO BOX 581                                                                             ARDMORE          OK      73402
B&G PRODUCTION INC                                                      1010 OKLAHOMA AVENUE                                                                   WOODWARD         OK      73801
B&G ROYALTIES                                                           PO BOX 376                                                                             ARTESIA          NM      88211-0376


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                                       REMITTANCE PROCESSING
B&H PHOTO - VIDEO                      CENTER                                                                                                                     NEW YORK CITY    NY      10087-8072
B&L PIPECO SERVICECS INC                                                   PO BOX 840280                                                                          DALLAS           TX      75284-0280
B&R CONSTRUCTION INC                                                       PO BOX 2107                                                                            WOODWARD         OK      73802
B&W EXPLORATION INC                                                        100 PARK AVE STE 1020                                                                  OKLAHOMA CITY    OK      73102-8004
B&W OPERATING LLC                                                          100 PARK AVE STE 1020                                                                  OKLAHOMA CITY    OK      73102-8004
B. A. MILLER INVESTMENTS LLC                                               13565 DEER CREEK DRIVE                                                                 PIEDMONT         OK      73078-8937
BA&J ENTERPRISES                                                           PO Box 2640                                                                            MIDLAND          TX      79702
BABER INVESTMENTS LP                                                       320 S BOSTON AVE STE 1115                                                              TULSA            OK      74103-4700
BABETTE DUNCAN                                                             213 SW 92ND ST                                                                         OKLAHOMA CITY    OK      73139
                                                                                                                         9211 Lake Hefner
Babi Locke                             c/o Atkins & Markoff                Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                       c/o Laminack, Pirtle & Martines,
Babi Locke                             LLP                                 Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Babi Locke                                                                 14917 Chisholm Trail                                                                   Choctaw          OK      73020
BABST CALLAND CLEMENTS & ZOMNIR PC                                         2 GATEWAY CTR FL 6                                                                     PITTSBURGH       PA      15222-1449
BACHMAN SERVICES INC.                  ATTN: Angela Bachman                2220 South Prospect Avenue                    P.O. Box 96265                           Oklahoma City    OK      73143
BACHMAN SERVICES INC.                                                      PO BOX 96265                                                                           OKLAHOMA CITY    OK      73143
BAD COMPANY LLC                                                            412 SPRING LN                                                                          DESTIN           FL      32541
BADGER DAYLIGHTING CORP                                                    75 REMITTANCE DRIVE, SUITE 3185                                                        CHICAGO          IL      60675-3185
BADGER PRESSURE CONTROL LLC                                                PO BOX BOX1740                                                                         WASKOM           TX      75692
BADGER ROYALTY COMPANY                                                     PO BOX 3499                                                                            TULSA            OK      74101
BADON HILL INC                                                             6300 RIDGLEA PLACE SUITE 950                                                           FT WORTH         TX      76116-5704
Bafia, Daniel                          c/o White Star Petroleum, LLC       301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
BAGWELL NO 3 FAMILY LIMITED PARTNER                                        801 S FILLMORE ST, SUITE 465                                                           AMARILLO         TX      79101
BAGWELL NO 6 FAMILY LTD PARTNERSHIP                                        801 S FILLMORE ST SUITE 465                                                            AMARILLO         TX      79101
BAHA RESOURCES LLC                                                         101 N ROBINSON AVE                                                                     OKLAHOMA CITY    OK      73102-5504
BAILEY BROADIE                                                             1602 16TH ST                                                                           OREGON CITY      OR      97045
BAILEY C HANES                                                             7208 NW 5TH STREET                                                                     OKLAHOMA CITY    OK      73127
BAILEY'S PAVING CO                                                         PO BOX 32                                                                              CARNEY           OK      74832-0032
BAIRD FORKLIFT & TRUCKING LLC                                              203611 E. COUNTY ROAD 53                                                               SHARON           OK      73857-5010
BAJ INVESTMENT COMPANY LLC                                                 621 N ROBINSON, SUITE 100                                                              OKLAHOMA CITY    OK      73102
BAKER BOTTS L.L.P                                                          910 LOUISIANA STREET                                                                   HOUSTON          TX      77002
Baker Botts L.L.P.                     Attn: Luke Weedon                   2001 Ross Avenue, Suite 700                                                            Dallas           TX      75201
BAKER FAMILY REVOCABLE TRUST                                               4302 DRIFTWOOD                                                                         ENID             OK      73703
BAKER FAMILY TRUST                                                         19302 BARRETT LN                                                                       NORTH TUSTIN     CA      92705
BAKER HUGHES                                                               PO BOX 301199                                                                          DALLAS           TX      75303-1199
BAKER HUGHES OILFIELD OPERATIONS IN                                        PO BOX 301057                                                                          DALLAS           TX      75303-1057
                                       Maria Claudia Borras, President &
Baker Hughes Oilfield Operations Inc   CEO-Oilfield Services               17021 Aldine Westfield Rd                                                              Houston          TX      77073
BAKER LAND AND CATTLE CO LLC                                               12411 S MEHAN RD                                                                       PERKINS          OK      74059
BAKER OIL AND GAS INC                                                      12411 S MEHAN RD                                                                       PERKINS          OK      74059-3922
BAKER RECOVERY INC                                                         PO BOX 1026                                                                            TULSA            OK      74101-1026
Baker, Diane                           c/o White Star Petroleum, LLC       301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
BAKERCORP                                                                  PO BOX 843596                                                                          LOS ANGELES      CA      90084-3596
BALBOA PRODUCTION COMPANY                                                  PO BOX 250207                                                                          PLANO            TX      75025
BALDWIN LIVING TRUST                                                       5484 E. COUNTY ROAD 69                                                                 MULHALL          OK      73063
Ball, Betsy                            c/o White Star Petroleum, LLC       301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
BALON CORPORATION                                                          3245 S HATTIE AVE                                                                      OKLAHOMA CITY    OK      73129-6621
BAM CAPITAL LLC                                                            PO BOX 207120                                                                          DALLAS           TX      75320-7120
BAMBI VOGELE                                                               348000 E 5300 RD                                                                       PAWNEE           OK      74058-3810
BANCFIRST                              TRUST DEPARTMENT                                                                                                           STILLWATER       OK      74076-1359
BANCFIRST                                                                  7122 S SHERIDAN BOX 604                                                                OKLAHOMA CITY    OK      73133
BANCO PANAMERICANO INC                                                     330 SOUTH WELLS ST # 718                                                               CHICAGO          IL      60606
BANDERA MINERALS III LLC                                                   7134 S YALE AVE STE 510                                                                TULSA            OK      74136-6387
BANDERA MINERALS LLC                                                       7134 S YALE AVE STE 510                                                                TULSA            OK      74136-6387
BANK COMMISSIONER OF OKLAHOMA                                              2900 N LINCOLN BLVD                                                                    OKLAHOMA CITY    OK      73105

BANK OF AMERICA                                                            ADDRESS LINE FOR BANK OF AMERICA                                                       OKLAHOMA CITY    OK      73008


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BANK OF AMERICA NA                                                       100 N BROADWAY AVE STE 2900                                                            OKLAHOMA CITY       OK      73102-8865
BANK OF AMERICA NA AS TRUSTEE                                            PO BOX 730586                                                                          DALLAS              TX      75373-0586
BANK OF CUSHING                                                          PO BOX 951                                                                             CUSHING             OK      74023
BANK SNB                                                                 1624 CIMARRON PLZ                                                                      STILLWATER          OK      74074
Bank SNB (Simmons)                    Attn: Chris Mostek                 501 Main Street                                                                        Pine Bluff          AR      71601
BANK SNB NATIONAL ASSOICATION                                            PO BOX 1988                                                                            STILLWATER          OK      74076
Banks, Willie                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater          OK      74074
BANNER SALES & SERVICE LLC                                               PO BOX 802                                                                             EL RENO             OK      73036
BAPTIST TRINITY LUTHERAN LEGACY FDN                                      6675 HOLMESSTE 470                                                                     KANSAS CITY         MO      64131
                                                                                                                       9211 Lake Hefner
Barbara Dobbs                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Barbara Dobbs                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Barbara Dobbs                                                            2637 SW 39th                                                                           Oklahoma City       OK      73119
BARBARA A COLE-COCHRAN LIFE ESTATE                                       6687 DEERVIEW DRIVE                                                                    LOVELAND            OH      45140
BARBARA A CORLEY                                                         1221 JACKSON AVE                                                                       CHARLESTON          IL      61920
BARBARA A CRAIG                                                          1178 SALT MARSH CIRCLE                                                                 PONTE VERDA BEACH   FL      32082
BARBARA A TRENT                                                          2087 SIENNA TRAIL                                                                      LEWISVILLE          TX      75067
BARBARA ANDERSON                                                         2624 NAVARRE                                                                           CASPER              WY      82604
BARBARA ANN AMES                                                         RT 1 BOX 39                                                                            MOORELAND           OK      79852
BARBARA ANN BIGGERSTAFF                                                  1609 JENNINGS PL                                                                       CHILLICOTHE         MO      64601
BARBARA ANN MOSBACHER TR                                                 2015 MANHATTAN BEACH BLVD                                                              REDONDO BEACH       CA      90278
BARBARA ANN PORTENIER                                                    1312 N 13TH ST                                                                         ATCHISON            KS      66002-1157
BARBARA ANN WILLIAMS                                                     717 KITTY ST                                                                           TRENTON             MO      64683
BARBARA AUSTIN                                                           2200 S LEWIS                                                                           TULSA               OK      74114

BARBARA B JOHNSON LIVING TRUST                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY            TX      75070
BARBARA BAKER                                                            312 YOSEMITE WAY                                                                       DENVER              CO      80230-6527
BARBARA BASKETT                                                          15463 CR 25                                                                            DOLORES             CO      81323
BARBARA BEYER                                                            535 MURPHY ESTATE DR                                                                   THE VILLAGES        FL      32162
BARBARA BEYER GUMERSON                                                   419 NORTH PARK ST                                                                      GUTHRIE             OK      73044
BARBARA BIRT                                                             PO BOX 33                                                                              MULHALL             OK      73063
BARBARA BLEWETT TRUST                                                    PO BOX 907                                                                             AGOURA HILLS        CA      91376-0907
BARBARA BOWLES                                                           17607 CLOVERVIEW DR                                                                    TOMBALL             TX      77377-8220
BARBARA BURNHAM                                                          12755 HORSE BREEK RD                                                                   RAPID CITY          SD      57702
BARBARA BURRIS                                                           1211 NW PARKVIEW BLVD                                                                  LAWTON              OK      73507
BARBARA CALDWELL                                                         20422 VIA PALAMOS                                                                      CUPERTINO           CA      95014
BARBARA CALDWELL                                                         106 MORRISON                                                                           MORRISON            OK      73061
BARBARA CHARSKE                                                          4192 BRAEWICK CIRCLE                                                                   DAYTON              OH      45440-1405
BARBARA CLARK                                                            22711 ELM BARK                                                                         TOMBALL             TX      77375
BARBARA COLTHARP                                                         1909 E 4TH ST                                                                          PITTSBURG           KS      66762-9100
BARBARA CONTRERAS                                                        790 SNOW MOUNTAIN WAY                                                                  RED BLUFF           CA      96080-4569
BARBARA COURTRIGHT                                                       9501 S UNION RD                                                                        STILLWATER          OK      74074-6346
BARBARA CUMMINS                                                          9530 S COLLEGE AVE                                                                     TULSA               OK      74137-8702
BARBARA CUNNINGHAM                                                       3312 JACKSON ST                                                                        ST JOSEPH           MO      64507
                                                                                                                       9211 Lake Hefner
Barbara Curant                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Barbara Curant                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Barbara Curant                                                           2205 W Main                                                                            Cushing             OK      74023
BARBARA DALE DETWILER LIFE ESTATE                                        8040 FRANKFORD RD #34                                                                  DALLAS              TX      75252
BARBARA DALLOW                                                           5205 EAST COUNTRY ROAD 52                                                              FORT COLLINS        CO      80524-9484
BARBARA DAVENPORT                                                        11 GLENDALE DR                                                                         ARCATA              CA      95521
BARBARA DEKWIATKOWSKI                                                    1 BEEKMAN PL APT 5B                                                                    NEW YORK            NY      10022-8069
BARBARA DELANEY                                                          28901 CR 175                                                                           STILLWATER          OK      74075
BARBARA DISMUKES                                                         3210 E 93RD ST                                                                         TULSA               OK      74137
BARBARA DOWNER                                                           1734 E 30TH AVE N                                                                      OXFORD              KS      67119
BARBARA E CHAPMAN                                                        1706 S RENO AVE                                                                        EL RENO             OK      73036
BARBARA EBERT                                                            6142 ADAMS ST                                                                          HENNESSEY           OK      73742


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BARBARA FARRIS                                                         4701 SUNSHINE PKWY                                                                  MIDLAND            TX    79707
Barbara Foster                        c/o Allen Stewart, PC            Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000       Dallas             TX    75070
                                                                                                                     9211 Lake Hefner
Barbara Foster                        c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104        Oklahoma City      OK    73120
Barbara Foster                        c/o Drummond Law, PLLC           Attn: Donald A Lepp                           1500 South Utica      Ste. 400        Tulsa              OK    74104
Barbara Foster                        c/o Girardi Keese                Attn: Thomas V. Girardi                       1126 Wilshire Blvd                    Los Angeles        CA    90017
Barbara Foster                        c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                         747 3rd Ave                           New York           NY    10017
Barbara Foster                                                         106 E. Dunn St.                                                                     Ripley             OK    74062
BARBARA FRANKLIN                                                       3700 BINKLEY AVE                                                                    DALLAS             TX    75205-2138
BARBARA G CAVETT TR                                                    9516 1ST ST                                                                         GLENCOE            OK    74032
BARBARA GABRISH                                                        2500 SE 34TH ST                                                                     MOORE              OK    73160-9719
BARBARA GOLDIE                                                         1303 FULBRIGHT AVE.                                                                 REDLANDS           CA    92373
BARBARA GONDERMAN                                                      415 N MANLEY RD                                                                     RIPON              CA    95366
BARBARA HAGEMAN                                                        21402 ECHO LAKE RD                                                                  SNOHOMISH          WA    98296
BARBARA HENKE RUSSELL                                                  2911 SHEFFIELD LN                                                                   WOODWARD           OK    73801
BARBARA HENKE TRUST                                                    2709 SW 82ND ST                                                                     OKLAHOMA CITY      OK    73159-4742
BARBARA HERRON                                                         3395 S TERRI DR                                                                     MERIDIAN           ID    83641
BARBARA HOLMAN                                                         2109 CAROL DR                                                                       LEWISTON           ID    83501
BARBARA IVERSON                                                        PO BOX 106                                                                          PRINCETON          TX    75407
BARBARA J (STAYTON) CHRISTENSEN                                        203 D STREET SW                                                                     TUMWATER           WA    98512
BARBARA J CORDER                                                       1705 SHOAL CREEK DRIVE                                                              WICHITA FALLS      TX    76310
BARBARA J FRANKS                                                       1015 VISTA WAY                                                                      CHULA VISTA        CA    91911-2240
BARBARA J FRENCH REV TRUST                                             1314 RED CANYON RD                                                                  GUTHRIE            OK    73044
BARBARA J HERENDEEN                                                    3211 PIERCE CT                                                                      ANTIOCH            CA    94509-5448
BARBARA J HOLT FAMILY TRUST                                            PO BOX 657                                                                          GARBER             OK    73738
BARBARA J HOWARD                                                       PO BOX 232                                                                          MARSHALL           OK    73056-0232
BARBARA J KERNKE REV TR DTD 6-18-91                                    3016 ROSSMORE PLACE                                                                 OKLAHOMA CITY      OK    73120
BARBARA J PATE TRUSTEE                                                 PO BOX 370                                                                          ELKHART            KS    67950
BARBARA JANE MARION                                                    121 N GOW                                                                           WICHITA            KS    67203
BARBARA JANETTE KYLE                                                   4310 RHODE ISLAND                                                                   EDMOND             OK    73013
BARBARA JEAN HODSON TR DTD 10-10-20                                    2834 COLDBROOK LANE                                                                 EDMOND             OK    73003
BARBARA JOAN GRANT                                                     425 MOHAWK DRIVE                                                                    PAULS VALLEY       OK    73075
BARBARA JOHNSON                                                        710 4TH ST                                                                          COVINGTON          OK    73730
BARBARA JOHNSON                                                        605 PLANTATION DR                                                                   TITUSVILLE         FL    32780
BARBARA JOHNSTON                                                       3960 MENGER                                                                         SAN ANTONIO        TX    78259-1472
BARBARA JONES ALLISON                                                  5231 RANGE DR                                                                       PITTSBURGH         PA    15236
BARBARA JUNE ARMSTRONG                                                 1136 SOUTH JACKSON STREET                                                           JUNCTION CITY      KS    66441
BARBARA KAPKA                                                          3113 W NEILSON DR                                                                   ENID               OK    73703
BARBARA KARP                                                           2128 SUTTON PL                                                                      PLANO              TX    75093
BARBARA KAY ZERFOSS                                                    700 AGNEW RD APT 454                                                                SANTA CLARA        CA    95054-4223
BARBARA KEHEW                                                          6800 S GRANITE AVE APT 219                                                          TULSA              OK    74136
BARBARA KILLEEN                                                        4301 N MACARTHUR BLVD #135                                                          WARR ACRES         OK    73122
BARBARA KIRK                                                           3571 BROWN AVE                                                                      GUTHRIE            OK    73044
BARBARA L AND RONALD L NORWOOD                                         10626 E VOAX DR                                                                     SUN LAKES          AZ    85248-7776
BARBARA L HOBERECHT                                                    1559 S RICHMOND ST                                                                  WICHITA            KS    67213
BARBARA L LAWSON LLC                                                   PO BOX 891270                                                                       OKLAHOMA CITY      OK    73189
BARBARA L SKINNER                                                      6353 SACRAMENTO                                                                     RANCHO CUCAMONGA   CA    91701
BARBARA LAFON                                                          8275 S POPLAR WAY, APT 104                                                          CENTENNIAL         CO    80112
BARBARA LASATER                                                        3229 W CHARLESTON CT                                                                STILLWATER         OK    74074
BARBARA LEVISAY                                                        3808 LANDS END ST                                                                   FORT WORTH         TX    76109-3233
BARBARA LONGAN                                                         1212 E SUNRISE DR                                                                   STILLWATER         OK    74075-6944
BARBARA LORD                                                           1430 ALMAGRE PEAK DR                                                                COLORADO SPRINGS   CO    80921
BARBARA LYNN SMITH 1998 REV TR                                         1420 NELSON DR                                                                      GUTHRIE            OK    73044
BARBARA MANARAZE                                                       14041 WOLF RD                                                                       GREENWOOD          DE    19950-5532
BARBARA MARLER                                                         4406 N TIVERTON PL                                                                  BOISE              ID    83702-1664
BARBARA MCCARTHY                                                       2351 WYDA WAY APT 1312                                                              SACRAMENTO         CA    95825-1611
BARBARA MCRILL                                                         3908 KNOB HILL COURT                                                                NORMAN             OK    73072
BARBARA MOCK                                                           2401 E PINE AVE                                                                     ENID               OK    73701-3755
BARBARA MORRIS                                                         PO BOX 554                                                                          WESTVILLE          OK    74965


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BARBARA MOSS                                                      230 HILLVIEW DR.                                                                         SAN ANTONIO     TX      78209-2205
BARBARA MYERS                                                     2541 INDIAN HILLS DR                                                                     PLANO           TX      75075
BARBARA NEALIS                                                    16616 LOVELL OKLAHOMA AVE                                                                CRESCENT        OK      73028
BARBARA NICHOLS                                                   702 VENUS AVE                                                                            SALINA          KS      67401-1004
BARBARA OCHS                                                      803 E HARDWOOD CIR                                                                       ROGERS          AR      72758-9111
BARBARA PARKS                                                     31948 FM 429                                                                             TERRELL         TX      75161-0435
BARBARA PAYNE                                                     5812 DUNDEE TER                                                                          EDMOND          OK      73025-2644
BARBARA PIERCE                                                    7114 PATRIOTS COLONY DR                                                                  WILLIAMSBURG    VA      23188-1434
BARBARA PITTMAN                                                   3512 BRISTOL RD                                                                          STILLWATER      OK      74074
BARBARA PONDER                                                    7102 PLANTATION DR                                                                       BAYTOWN         TX      77523
BARBARA PRATT                                                     21145 FOREST DR                                                                          EXCELSIOR       MN      55331-7209
BARBARA REDMAN                                                    57 PALOMA DR                                                                             CORTE MADERA    CA      94925
BARBARA RHOADS                                                    128 RIDGELINE DRIVE                                                                      WEATHERFORD     OK      73096-9223
                                                                                                                9211 Lake Hefner
Barbara Rich                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City   OK      73120
Barbara Rich                   c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                         Los Angeles     CA      90017
Barbara Rich                                                      1026 E Moses                                                                             Cushing         OK      74023
BARBARA ROBERSON                                                  1809 MILL CREEK RD                                                                       CANTON          TX      75103

BARBARA ROBERTSON                                                 5900 SOUTH LAKE FOREST DR STE 300                                                        MCKINNEY        TX      75070
BARBARA ROSE                                                      5538 MELETIO LN                                                                          DALLAS          TX      75230
BARBARA ROSE                                                      3216 BELLOWS CT                                                                          MIDDLEBURG      FL      32068
BARBARA ROSS                                                      2347 INDIAN RD                                                                           SEDAN           KS      67361
BARBARA RUHL                                                      1029 MOCKINGBIRD RD                                                                      GUTHRIE         OK      73044
BARBARA S FLYNN FAMILY TRUST                                      PO BOX 3627                                                                              TULSA           OK      74101-3627
                                                                                                                9211 Lake Hefner
Barbara Sandoval               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City   OK      73120
                               c/o Laminack, Pirtle & Martines,
Barbara Sandoval               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston         TX      77006
Barbara Sandoval                                                  116 N. Wheeling Ave                                                                      Tulsa           OK      74110
BARBARA SCHWEER                                                   12300 Gunsmoke                                                                           Perry           OK      73077
BARBARA SHERIDAN                                                  1798 NANTUCKET DR                                                                        HOUSTON         TX      77057
BARBARA SMALLWOOD                                                 1216 E 27TH PL                                                                           TULSA           OK      74114
BARBARA SMITH                                                     1420 NELSON DR                                                                           GUTHRIE         OK      73044
BARBARA SMITH                                                     1420 NELSON PL                                                                           GUTHRIE         OK      73044
BARBARA SMITH                                                     404 E MAPLE AVE                                                                          STILLWATER      OK      74074
BARBARA SPURGEON                                                  112 TANBARK CT UNIT T                                                                    SANTA CRUZ      CA      95062-9635
BARBARA STALEY                                                    19425 LEMARSH ST                                                                         NORTH RIDGE     CA      91324
BARBARA STEVENS                                                   46 A RIDGE RD                                                                            GREENBELT       MD      20770
BARBARA STONE                                                     346351 E 810 RD                                                                          AGRA            OK      74824
BARBARA STRATTON                                                  1120 CHOCTAW TRAILS                                                                      BLANCHARD       OK      73010
BARBARA SUE BRYANT                                                2117 SILVERTREE LANE                                                                     EDMOND          OK      73013
BARBARA SUE HUDGINS                                               339346 E 4200 RD                                                                         MORRISON        OK      73061
BARBARA SUMMERS                                                   PO BOX 2237                                                                              ADA             OK      74821

BARBARA T GUTHNECK                                                5900 SOUTH LAKE FOREST DR STE 300                                                        MCKINNEY        TX      75070
BARBARA T OVERHOLT FAMILY TR                                      4901 CRESTVIEW AVE                                                                       STILLWATER      OK      74074
BARBARA TARRANT                                                   422 S 3RD ST                                                                             SENTINEL        OK      73664
BARBARA TENER CLARK                                               100 SATULA LN                                                                            CLEMSON         SC      29631-1830
BARBARA TERREL                                                    609 NW 7TH                                                                               LINDSAY         OK      73052
BARBARA THOMPSON                                                  1601 PINE BLUFF AV                                                                       ORLANDO         FL      32806
BARBARA TOELKES                                                   1809 E 56TH AVE                                                                          STILLWATER      OK      74074-7232
                                                                                                                9211 Lake Hefner
Barbara Turner                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City   OK      73120
                               c/o Laminack, Pirtle & Martines,
Barbara Turner                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston         TX      77006
Barbara Turner                                                    222 N East St                                                                            Yale            OK      74085
BARBARA UHRIG                                                     PO BOX 35                                                                                MULHALL         OK      73063
BARBARA UNDERHILL                                                 16225 SW BLANTON ST                                                                      BEAVERTON       OR      97078-2006


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BARBARA VANKIRK                                                              10441 LA MIRADA BLVD                                                                    WHITTIER          CA    90604-1441
                                                                                                                           9211 Lake Hefner
Barbara Vincent                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                          c/o Laminack, Pirtle & Martines,
Barbara Vincent                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Barbara Vincent                                                              570 N. Denver Ave                                                                       Tulsa             OK    74103
Barbara Watson                            c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX    75070
Barbara Watson                            c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK    74104
Barbara Watson                            c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY    10017
Barbara Watson                                                               5325 S. 34300 Rd                                                                        Glencoe           OK    74032
BARBARA WEBB                                                                 717 TOWN E 2ND ST                                                                       CARNEGIE          OK    73015
BARBARA WELLS                                                                321 E ROGERS DR                                                                         STILLWATER        OK    74075-1625
BARBARA WHITE                                                                PO BOX 135                                                                              MULHALL           OK    73063
BARBARA WILKINS                                                              6314 NW 82ND ST                                                                         OKLAHOMA CITY     OK    73132
BARBARA WILLIAMS                                                             PO BOX 601007                                                                           JACKSONVILLE      FL    32260-1007
BARBARA WILLIAMS                                                             302 E PECAN ST                                                                          TYRON             OK    74875
                                                                                                                           9211 Lake Hefner
Barbara Wilson                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                          c/o Laminack, Pirtle & Martines,
Barbara Wilson                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Barbara Wilson                                                               13709 E. 24th Pl                                                                        Tulsa             OK    74134

BARBARA WOLF REVOCABLE LIVING TRUST                                          502 SWE 2ND ST                                                                          PERKINS           OK    74059
BARBARA ZERFOSS                                                              2500 SOUTH CT                                                                           PALO ALTO         CA    94301-4240
                                                                                                                           9211 Lake Hefner
Barbara Hinkle                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                          c/o Laminack, Pirtle & Martines,
Barbara Hinkle                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Barbara Hinkle                                                               3836 SW 40th St                                                                         Oklahoma City     OK    73119
BARBARIAN OIL CO LLC                                                         100 BRIARWOOD LN                                                                        HASLET            TX    76052
BARBER EXPLORATION                                                           8774 S RICHMOND AVE                                                                     TULSA             OK    74137
BARBER-DYSON FORD-LINCOLN-MERCURY                                            PO BOX 743                                                                              ELK CITY          OK    73648
BARCIE DENTON                                                                7310 N 127TH EAST AVE APT 21                                                            OWASSO            OK    74055
BARCLAY LIVING TRUST DTD 11-11-1992                                          2185 VALHALLA DR                                                                        FRISCO            TX    75034-1079

BARDEN BASS OIL AND GAS EXPLORATION                                          201A W MOORE AVE STE D                                                                  TERRELL           TX    75160-3143
BAREFOOT MINERALS LLC                                                        PO BOX 763                                                                              FORT LAUDERDALE   FL    33302
BARI LEE                                                                     145 ZUNI TRAIL S                                                                        FORT WORTH        TX    76108
BARLOW PROPERTIES LLC                                                        PO BOX 850                                                                              MINEOLA           TX    75773
Barnard, Eric                         c/o White Star Petroleum, LLC          301 NW 63rd St                                Ste 600                                   Oklahoma City     OK    73116
BARNES LAW PLLC                                                              1648 S BOSTON AVE STE 100                                                               TULSA             OK    74119-4434
BARNETT ELECTRICAL, LLC                                                      908 SE 29H STREET                                                                       OKLAHOMA CITY     OK    73129
BARNEY AND ASSOOCIATES                                                       1071 YOUNG PL                                                                           ANN ARBOR         MI    48105-2587
BARNHART 2004 REVOCABLE TRUST UAD MAY
3,                                                                           2405 CHIMNEY HILL CT                                                                    EDMOND            OK    73034-6443
BARNWELL OF CANADA LTD.                                                      900, 639 - 5th AVE SW                                                                   CALGARY           AB    T2P 0M9      CANADA
BARON EXPLORATION CO                                                         107 S BROADWAY                                                                          EDMOND            OK    73034
BARREE & ASSOCIATES LLC                                                      7112 W JEFFERSON AVE STE 100                                                            LAKEWOOD          CO    80235
BARRETT ENERGY PARTNERS LLC                                                  PO BOX 702357                                                                           TULSA             OK    74170-2357
BARRI BARTLETT                                                               4124 E 37TH ST                                                                          TULSA             OK    74135
BARRON OIL L.L.C.                                                            11640 COURT OF PALMS APT 202                                                            FORT MYERS        FL    33908-6553
                                                                                                                           9211 Lake Hefner
Barron Winters                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                          c/o Laminack, Pirtle & Martines,
Barron Winters                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Barron Winters                                                               2129 Meridian Dr                                                                        Norman            OK    73071
BARRY ALLEN AND MICHELLE MARIE                                               PO BOX 281                                                                              RIPLEY            OK    74062-0281
BARRY AXTELL                                                                 PO BOX 281                                                                              RIPLEY            OK    74062
BARRY BALL                                                                   PO BOX 821                                                                              STILLWATER        OK    74076


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BARRY BLAKE                                                              1416 WOODVALE DR                                                                       BEDFORD             TX      76021
BARRY BRIDGES                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
BARRY COHEN                                                              31 CROCKETT CIR                                                                        LEVELLAND           TX      79336
BARRY FARMS LLC                                                          11741 260TH STREET                                                                     BLANCHARD           OK      73010
BARRY HARTING                                                            3110 N ROSE RD                                                                         STILLWATER          OK      74075
BARRY HUNT                                                               482 COUNTY RD 25                                                                       DIVIDE              CO      80814
BARRY JORDAN                                                             627 WASHINGTON                                                                         PIEDMONT            OK      73078
BARRY K PAGEL                                                            804 N LAKESIDE DR                                                                      ANDOVER             KS      67002-9728
BARRY L WARNER                                                           1026 E BILBY RD                                                                        TUCSON              AZ      85706
BARRY POLLARD                                                            102 S VAN BUREN                                                                        ENID                OK      73703
                                                                                                                       9211 Lake Hefner
Barry Latschar                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Barry Latschar                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Barry Latschar                                                           10316 SE 29th                                                                          Oklahoma City       OK      73130
BART BRORSEN                                                             11650 LARIAT                                                                           PERRY               OK      73077
BART BYRD                                                                1423 SOUTHERN HEIGHTS AVE                                                              NORMAN              OK      73072-5752
BART DOBBS                                                               260 DOBBS ROAD                                                                         STRATFORD           OK      74872
BART L FOSTER III AND GAYLA C                                            801W 37TH AVE                                                                          STILLWATER          OK      74074-7307
BART W BRORSEN 1993 REV TRUST                                            11650 LARIAT                                                                           PERRY               OK      73077
                                                                                                                       9211 Lake Hefner
Bart Lowery                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Bart Lowery                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Bart Lowery                                                              709 N. Creek Drive                                                                     Edmond              OK      73034
BARTER ISLAND OIL CO                                                     PO BOX 18816                                                                           OKLAHOMA CITY       OK      73154
BARTH P WALKER DESCENDANTS TRUST                                         3509 NW 69TH STREET                                                                    OKLAHOMA CITY       OK      73116-2126
BARTLETT FAMILY EXEMPTION TRUST                                          27 WARFORD TER                                                                         ORINDA              CA      94563
BARTLEY DOLEZAL                                                          100 JAY CT                                                                             RICHWOOD            TX      77566
BARTLEY PICKENS                                                          5914 SOUTH 138TH WEST AVE 1                                                            SAND SPRINGS        OK      74063
BARTON BRORSEN                                                           2823 SOUTH FOX LEDGE DR                                                                STILLWATER          OK      74074
BARTON G DOUGLAS                                                         1216 NORTH HIGHTOWER STREET                                                            STILLWATER          OK      74075
BARWIN LLLP                                                              1866 ESTABROOK WAY                                                                     SUPERIOR            CO      80027-8087
BASELINE ENERGY SERVICES LP                                              PO BOX 470929                                                                          FORT WORTH          TX      76147
BASELINE MINERALS LLC                                                    PO BOX 6922                                                                            EDMOND              OK      73083
BASEMENT EXPLORATION LLC                                                 2508 EDINBURGH DR                                                                      EDMOND              OK      73013
BASIC ENERGY SERVICES LP                                                 PO BOX 841903                                                                          DALLAS              TX      75284-1903
BASIN ROYALTY COMPANY                                                    PO BOX 51499                                                                           AMARILLO            TX      79159
BASIN SUPPLY LP                                                          PO BOX 206620                                                                          DALLAS              TX      75320-6620
BASIN VENTURES LLC                                                       4508 COLLEYVILLE BLVD                                                                  COLLEYVILLE         TX      76034
BASS FISHING & RENTALS LLC                                               PO BOX 1890                                                                            WASKOM              TX      75692
BATCHELOR FAMILY TRUST                                                   13817 EAST 88TH STREET NORTH                                                           OWASSO              OK      74055
Batson, Rachelle                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
BAXTER CHEUNG                                                            864 TEMPLE TERRACE                                                                     LOS ANGELES         CA      90042-5027
BAY TRUST                                                                555 PAMELA LANE                                                                        STEAMBOAT SPRINGS   CO      80487
BAY VIEW FUNDING                                                         PO BOX 204703                                                                          DALLAS              TX      75320-4703
BAYER HERITAGE FEDERAL CREDIT UNION                                      17612 ENERGY RD                                                                        PROCTOR             WV      26055-1293
BAYLESS SALES & SERVICE INC                                              184550 E COUNTY ROAD 59                                                                ARNETT              OK      73832-1653
BAYSHORE MINERALS LLC                                                    2305 W BERRY AVE                                                                       LITTLETON           CO      80120-1177
BAYTIDE PETROLEUM INC                                                    PO BOX 580220                                                                          TULSA               OK      74158-0220
BAYTIDE PETROLEUM INC.                                                   7105 E ADMIRAL PLACE                                                                   TULSA               OK      74115
BB ROYALTY PARTNERSHIP                                                   PO BOX 587                                                                             MARLOW              OK      73055-0587
BBB HOLDINGS LLC                                                         PO BOX 638                                                                             HENNESSEY           OK      73742
BBR PROPERTIES LLC                                                       PO BOX 349                                                                             PERRY               OK      73077
BBX OIL CORPORATION                                                      15601 DALLAS PKWY STE 900                                                              ADDISON             TX      75001-6098
BC MINERALS LLC                                                          4520 NW 60TH STREET                                                                    OKLAHOMA CITY       OK      73122
BC PRODUCTIONS LLC                                                       5722 COVEY RUN DR                                                                      EDMOND              OK      73034
BCE-MACH LLC                                                             14201 WIRELESS WAY SUITE 300                                                           OKLAHOMA CITY       OK      73134
BCF GROUP FUND 1                                                         2020 E 15TH ST STE A                                                                   EDMOND              OK      73013-6749


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BCF GROUP FUND I EXTENSION                                                  2020 E 15TH STREET STE A                                                                EDMOND           OK       73013-6749
BD ART & DRAFTING SUPPLIES LTD                                              UNIT B, 7410 - 5th ST SE                                                                CALGARY          AB       T2H 2L9      CANADA
BDG SYSTEMS LLC                                                             4281 HONEYSUCKLE LN                                                                     ZIONSVILLE       IN       46077-8536
BDK ENTERPRISES LLC                                                         PO BOX 721052                                                                           OKLAHOMA CITY    OK       73172
BEACH FIRE ENERGY LLC                                                       10505 WHITE PINE DR                                                                     PARKER           CO       80134
Beach, Timothy                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK       73116
BEACHUM RESOURCES LLC                                                       3611 69TH STREET                                                                        LUBBOCK          TX       79413-6016
BEACON CLUB INC                                                             210 PARK AVE # 2125                                                                     OKLAHOMA CITY    OK       73102
BEAGLES REVOCABLE TRUST                                                     4115 MICHAEL RD                                                                         EDMOND           OK       73025
BEALL 2011 REVOCABLE TRUST                                                  1821 OAK CREEK DR                                                                       EDMOND           OK       73034
BEAMS MINERALS COMPANY A PSHP                                               2351 W NORTHWEST HWY #2303                                                              DALLAS           TX       75220
BEAR CREEK ENERGY LLC                                                       PO BOX 1450                                                                             BEMIDJI          MN       56619-1450
Beardall, Wesley                         c/o White Star Petroleum, LLC      510 S Main St                                                                           Leedey           OK       73654
BEASLEY OIL COMPANY                                                         5724 NW 135TH ST                                                                        OKLAHOMA CITY    OK       73142
BEAST MODE PERSONAL TRAINING LLC                                            1709 SONGBIRD LN                                                                        MIDWEST CITY     OK       73130-7031

BEATRICE & HOWARD KERFOOT FAMILY TR                                         106 BERRY DR                                                                            CLINTON          OK       73601
BEATRICE BUBKE                                                              203 NE 4TH ST                                                                           PERKINS          OK       74059-3004
                                                                                                                          9211 Lake Hefner
Beatrice Haywood                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                         c/o Laminack, Pirtle & Martines,
Beatrice Haywood                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
Beatrice Haywood                                                            1705 Wickliff St                                                                        Oklahoma City    OK       73111
BEAU EMMONS                                                                 4316 RUBY AVE                                                                           YUKON            OK       73099
BEAU SULLIVAN                                                               416 HARROLD STREET #1236                                                                FORT WORTH       TX       76107
BEAU'S WINE BIN & SPIRIT SHOPPE                                             2810 W COUNTRY CLUB DR                                                                  OKLAHOMA CITY    OK       73116-4221

BEAVER COUNTY LOCAL EMERGENCY PLANN                                         PO BOX 786                                                                              Beaver           OK       73932
BEAVER EXCAVATING COMPANY                                                   2000 BEAVER PLACE AVE SW                                                                CANTON           OH       44706-0059
BEAVER LAKE EXPLORATION INC                                                 12908 CASTLEROCK CT                                                                     OKLAHOMA CITY    OK       73142
BECHTOLD LIVING TRUST                                                       16802 SADDLE RIDGE PASS                                                                 CYPRESS          TX       77433
BECHTOLD LIVING TRUST B DTD 12-5-96                                         4405 MONTE VISTA LN                                                                     MCKINNEY         TX       75070
BECK AG PROPERTIES LLC                                                      12328 N. MIDWEST BLVD.                                                                  MULHALL          OK       73063
BECK OILFIELD SUPPLY INC                                                    PO BOX 205                                                                              HENNESSEY        OK       73742
BECK RESOURCES INCORPORATED                                                 PO BOX 175                                                                              HENNESSEY        OK       73742-0175
BECK TRUCKING LLC                                                           PO BOX 1198                                                                             ELK CITY         OK       73648-1198
BECK TRUST B                                                                720 VIA ZAPATA                                                                          RIVERSIDE        CA       92507-6401
Becker, Shannon                     c/o White Star Petroleum, LLC           4615 W. Lakeview Rd                                                                     Stillwater       OK       74074
BECKHAM HOLDINGS TRUST                                                      1103 GULF AVE                                                                           MIDLAND          TX       79705
BECKY CABLE                                                                 1058 SEAVILLE RD                                                                        WILLISBURG       KY       40078-8224
BECKY CASTOR                                                                58671 N 2060 RD                                                                         VICI             OK       73859-5054
BECKY GARRETT                                                               819 E 9TH                                                                               EDMOND           OK       73034
BECKY GONZALEZ                                                              203 SHADOW LN                                                                           SHADY SHORES     TX       76208
BECKY HARVEL                                                                3401 MAJESTA PL                                                                         FARMINGTON       NM       87402
BECKY L & CHARLES R CREWS                                                   PO BOX 1270                                                                             FRISCO           TX       75034-0022

BECKY L BROYLES CREWS AND CHARLES R                                         PO BOX 1270                                                                             FRISCO           TX       75034
BECKY LENNOX                                                                201 TOWN CENTER - APT 1209                                                              KELLER           TX       76248
BECKY OSMOND                                                                3144 NW 21ST                                                                            OKLAHOMA CITY    OK       73107
BECKY SHELLEY                                                               61440 E 319 RD                                                                          GROVE            OK       74344
BECKY V HELEMS & JERRY D HELEMS JT                                          2213 EL CAMINO ST                                                                       PONCA CITY       OK       74604
Becky Vogt                               c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070
Becky Vogt                               c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK       74104
Becky Vogt                               c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY       10017
Becky Vogt                                                                  9106 Crestwood Dr                                                                       Sperry           OK       74073
BEENA TRIVEDI                                                               3033 LOCHMEADOW COURT                                                                   SOUTHLAKE        TX       76034
BEERWORTH & PARTNERS LIMITED                                                LEVEL 10/1 ALFRED ST                                                                                                           AUSTRALIA
BEFOUR OIL & GAS INC                                                        3025 THORNBROOKE BLVD                                                                   EDMOND           OK       73013
BELINDA KRITZ                                                               10445 CIMARRON TRAIL                                                                    CHERRY VALLEY    CA       92223


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BELINDA UPSHAW                                                           9125 GLEESON CT                                                                        BAKERSFIELD       CA    93311
                                                                                                                       9211 Lake Hefner
Belinda Shoals                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Belinda Shoals                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Belinda Shoals                                                           7520 NW 115th St                                                                       Oklahoma City     OK    73162
BELL FAMILY MINERALS LLC                                                 PO BOX 774                                                                             ARDMORE           OK    73402
BELL FAMILY REVOCABLE TRUST                                              5016 W 3RD AVE                                                                         STILLWATER        OK    74074-6797
BELL PROPERTIES INC                                                      8545 CORDES CIR                                                                        GERMANTOWN        TN    38139-3317
BELL SUPPLY COMPANY LLC                                                  PO BOX 1597                                                                            GAINESVILLE       TX    76241
BELLA DANIEL TRUST                                                       PO BOX 1588                                                                            TULSA             OK    74101-1588
BELLE TRACE RESOURCES LLC                                                2801 E KENOSHA #141243                                                                 BROKEN ARROW      OK    74014
BELMONT ENERGY PARTNERS LLC                                              4925 GREENVILLE AVE STE 200                                                            DALLAS            TX    75206
BELVA MABRA                                                              923 34TH STREET                                                                        WOODWARD          OK    73801
BELVA SPENCER                                                            14135 RAPTORS KNOLL CIR                                                                ANCHORAGE         AK    99516
                                                                                                                       9211 Lake Hefner
Ben Young                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Ben Young                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Ben Young                                                                612 W Madison                                                                          Crescent          OK    73028
BEN AND BARBARA PATE LIVING TRUST                                        PO BOX 370                                                                             ELKHART           KS    67950
BEN AND ERMA M PENROD JTWROS                                             4951 NE HIGHWAY 33                                                                     GUTHRIE           OK    73044-8939
BEN BERG & CAROLYN E SHIRLEY MGMT T                                      1059 EAST COUNTY ROAD E                                                                LEXINGTON         TX    78947
BEN CARLSEN                                                              7795 NE BAYSHORE CT APT 503                                                            MIAMI             FL    33183-6310
BEN CHRISTIANS                                                           521 10TH AVE                                                                           SIBLEY            IA    51249
BEN GOETZ                                                                RURAL ROUTE 1                                                                          BLUFFTON          AB    T0C 0M0      CANADA
BEN HORTON                                                               ROUTE 1, BOX 118                                                                       HOBART            OK    73651-9801
BEN K HARPER                                                             69 RED WING DR                                                                         SANTA ROSA        CA    95409
BEN KILPATRICK                                                           3100 DEMARARY DR                                                                       GRANTS PASS       OR    97522
BEN L TARIO ROBERTSON LLC                                                6030 MANASOTA KEY RD                                                                   ENGLEWOOD         FL    34223
BEN L. PATE FAMILY TRUST                                                 PO BOX 370                                                                             ELKHART           KS    67950
BEN WALD                                                                 306 FAIRWAY DR                                                                         PERKINS           OK    74059
BEN WEINBERGER                                                           1473 BLUEWOOD DR                                                                       RENO              NV    89523
BEN WESLEY                                                               5200 SW 109 AVE                                                                        DAVIE             FL    33328
                                                                                                                       9211 Lake Hefner
Ben Ingham                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Ben Ingham                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Ben Ingham                                                               349776 E. 1050 Rd                                                                      Prague            OK    74864

BENCHMARK ENERGY TRANSPORT SERVICES                                      PO BOX 203904                                                                          DALLAS            TX    75320-3904
BENDEL VENTURES, LP1                                                     12345 JONES ROAD, SUITE 124                                                            HOUSTON           TX    77070
BENDER O&G LLC                                                           80 CHESTNUT RIDGE RD                                                                   GARDNERS          PA    17324
BENDER OIL LTD                                                           301 EAST LAS OLAS BLVD SUITE 800                                                       FORT LAUDERDALE   FL    33301-2295
BENITA DUNCAN                                                            3822 S UTICA AVE                                                                       TULSA             OK    74105
BENITA LIGHTY                                                            2314 FIR ST                                                                            PERRY             OK    73077
BENITO MIKE GARCIA & GERI L GARCIA                                       PO BOX 291                                                                             MARSHALL          OK    73056-0291
BENJAMIN BOCELL                                                          4437 HANOVER ST                                                                        DALLAS            TX    75225
BENJAMIN BUTTS                                                           5655 N CLASSEN BLVD                                                                    OKLAHOMA CITY     OK    73118-4015
BENJAMIN CORTS ESTATE                                                    205 GRIFFITH RD                                                                        HELENA            MT    59602
BENJAMIN DAVIS                                                           PO BOX 724                                                                             STILLWATER        OK    74076
BENJAMIN DOREN                                                           2409 STONEHENGE DR                                                                     EDMOND            OK    73034
BENJAMIN ESHLEMAN                                                        500 N. SHORELINE BLVD., STE. 700                                                       CORPUS CHRISTI    TX    78401-0326
BENJAMIN FRANKLIN JR                                                     1329 E MAPLE ST                                                                        CUSHING           OK    74023-3013
BENJAMIN FRENCH                                                          5704 N UNION RD                                                                        GLENCOE           OK    74032
BENJAMIN HAMIL                                                           16 SHERWOOD DR                                                                         MOBILE            AL    36606-2406
BENJAMIN LEON BAKER                                                      1303 ELM BLVD                                                                          LIBERAL           KS    67901
BENJAMIN LINDUFF                                                         334 WEATHERCOCK LN                                                                     SAN ANTONIO       TX    78239
BENJAMIN R WIETHOLTER                                                    10587 CONOVER ROAD                                                                     VERSAILLES        OH    45380


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BENJAMIN RICHLIEU BRANCH                                               110 E INDUSTRIAL RD                                                                    GUTHRIE         OK      73044
BENJAMIN ROBINSON                                                      333 E 55TH ST APT 2J                                                                   NEW YORK        NY      10022-8320
BENJAMIN SHAW                                                          6608 N WESTERN AVE #532                                                                OKLAHOMA CITY   OK      73116
BENJAMIN SHOEMAKER                                                     801 B STREET                                                                           SNYDER          OK      73566
BENJAMIN SNYDER                                                        842 BOWER CT                                                                           LIVERMORE       CA      94550
BENNETT PAUL FINNELL                                                   PO BOX 725                                                                             GRAND LAKE      CO      80447
BENNIE ALLEN                                                           742 COMMUNITY RD                                                                       SAINT JOHNS     FL      32259
BENNIE HENKE & IVA P HENKE HWJT                                        14450 COUNTY RD 140                                                                    PERRY           OK      73077
                                                                                                                     9211 Lake Hefner
Bennie L. McDonald                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Bennie L. McDonald                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Bennie L. McDonald                                                     3702 Beal Ave                                                                          Spencer         OK      73084
BENNIE R & PATRICIA G CLARK                                            PO BOX 203                                                                             MARSHALL        OK      73056
BENNIE ROBERTSON                                                       10176 N 2920 RD                                                                        WAURIKA         OK      73573-5167
                                                                                                                     9211 Lake Hefner
Bennie Higgins                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Bennie Higgins                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Bennie Higgins                                                         223 N. Dawson St                                                                       Meeker          OK      74855
                                                                                                                     9211 Lake Hefner
Benny A. Owen Jr.                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Benny A. Owen Jr.                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Benny A. Owen Jr.                                                      2363 East Rock Ridge Rd                                                                Atoka           OK      74525
BENNY SHAFFER                                                          6180 HIGHWAY 362 W                                                                     WILLIAMSON      GA      30292
BENNY WILDER DECEASED                                                  8305 NW 36TH ST                                                                        BETHANY         OK      73008-3529
BENSON & MANUEL LLC                                                    PO BOX 52533                                                                           TULSA           OK      74152
BENSON MINERAL GROUP INC                                               1560 BROADWAYSUITE 1900                                                                DENVER          CO      80202
BENTLEY & SON TANK TRUCK SERVICES                                      PO BOX 289                                                                             GARDENDALE      TX      79758
BENTLEY FLOORING INC                                                   3844 NW 8TH ST                                                                         OKLAHOMA CITY   OK      73107-6062
BENTON C. JOHNSON                                                      2714 N. OAKWOOD                                                                        ENID            OK      73703
BENTSEN DEVELOPMENT CO                                                 PO BOX 593                                                                             MISSION         TX      78572
BEREN CORPORATION                                                      2020 N BRAMBLEWOOD ST                                                                  WICHITA         KS      67206-1094
                                                                                                                                         10th Fl, Two
Berexco LLC                         c/o McAfee & Taft                  Attn: Timothy Bomhoff                         211 N Robinson Ave. Leadership Square    Oklahoma City   OK      73102
                                                                                                                                         10th Fl, Two
Berexco LLC                         c/o McAfee & Taft                  Attn: J Todd Woolery                          211 N Robinson Ave. Leadership Square    Oklahoma City   OK      73102
Berexco LLC                                                            2020 N. Bramblewood St                                                                 Wichita         KS      67206
BERGEN MINERALS LLC                                                    1529 24TH SOUTHWEST                                                                    NORMAN          OK      73072
BERGER MANAGEMENT CO                                                   50 WEST ST APT 3L                                                                      PORTLAND        ME      04102-3445
BERKELEY HALL SCHOOL                                                   16000 MULHOLLAND DRIVE                                                                 LOS ANGELES     CA      90049
                                                                                                                     9211 Lake Hefner
Berl Stinson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Berl Stinson                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Berl Stinson                                                           3102 N. Kings Hwy                                                                      Cushing         OK      74023
BERMUDA HILL HOLDINGS LLC                                              26539 N SOONER RD                                                                      ORLANDO         OK      73073-4532
BERNADETTE FREDERICK                                                   205 GRIFFIN RD                                                                         HELENA          MT      59602-9415
BERNADETTE KRECHMAR                                                    1124 W OKLAHOMA AVE                                                                    ENID            OK      73703
BERNADETTE KRETCHMAR                                                   1124 W OKLAHOMA AVE                                                                    ENID            OK      73703
BERNADETTE MARTINEZ                                                    235 BRADLEY AVE APT B                                                                  MORRO BAY       CA      93442-2844
BERNADETTE WOLFSWINKEL                                                 1121 W WARNER RD STE 109                                                               TEMPE           AZ      85284
BERNADINE KNOTTS                                                       PO BOX 261                                                                             NOWATA          OK      74048
BERNADINE L KNOT REVOCABLE TRUST                                       1027 SWAN DR APT 29                                                                    BARTLESVILLE    OK      74006-5047
BERNAL RESOURCES LLC                                                   501 MAPLE STREET                                                                       GOLDEN          CO      80403-1464
BERNARD & BARBARA LUTTMER TRUST                                        4017 E BURRIS RD                                                                       GLENCOE         OK      74032
BERNARD FLOCK                                                          453 S-7 ROAD                                                                           MORRILL         NE      69358
BERNARD SHIMANEK                                                       PO BOX 224                                                                             COVINGTON       OK      73730


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BERNARD SHIMANEK & LINDA SHIMANEK                                        PO BOX 224                                                                             COVINGTON        OK    73730
                                                                                                                       9211 Lake Hefner
Bernard T. Adams                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Bernard T. Adams                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Bernard T. Adams                                                         9301 E. 112th St South                                                                 Bixby            OK    74008
BERNEICE SHAW                                                            PO BOX 145                                                                             FORT GIBSON      OK    74434
BERNEITA BOESCH                                                          1556 N Q                                                                               PONCA CITY       OK    74601
BERNICE A GILCHRIST LIFE ESTATE                                          1924 MEADOWLAKE DRIVE                                                                  WOODWARD         OK    73801-5226
BERNICE BAILEY                                                           3950 CATFISH DR                                                                        NEWALLA          OK    74857
BERNICE KELLY                                                            PO BOX 267                                                                             ARCATA           CA    95518
BERNICE R HUDSPETH                                                       609 S POINT HIGGINS                                                                    KETCHIKAN        AK    99901
BERNICE SPILLERS REV LIV TR                                              10408 SKI DR                                                                           OKLAHOMA CITY    OK    73162
BERNICE WEBB                                                             521 NORTH GORE                                                                         ENID             OK    73701
BERNIE LANDIS                                                            9600 N SOONER RD                                                                       GUTHRIE          OK    73044

BERNIE MCHUGH                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX    75070
BERNIECE GARSEE                                                          814 S HELENA ST                                                                        ANAHEIM          CA    92805
BERNIECE HAWKINS                                                         2037 N MCKINLEY                                                                        HOBBS            NM    88240
BERRIDGE LIVING TRUST DTD 7-26-1999                                      4304 MESA DR                                                                           MCKINNEY         TX    75070
BERRY FAMILY INVESTMENTS LLC                                             805 NW 63RD ST                                                                         OKLAHOMA CITY    OK    73116-7603
BERRY HOLDINGS LLC                                                       424 GOLDEN SPRINGS DR                                                                  EL PASO          TX    79912-4139
BERRY L MCMILLAN                                                         220 LOCUST ST                                                                          PERRY            OK    73077
BERRY M JOHNSON                                                          2545 EL ROSA DR                                                                        LOS ANGELES      CA    90065
BERRY M JOHNSON 2003 TRUST AGRMT                                         2545 EL ROSA DR                                                                        LOS ANGELES      CA    90065
BERRY OIL & GAS LLC                                                      3213 O ST NW                                                                           WASHINGTON       DC    20007-2843
BERRY PETROLEUM CORPORATION                                              600 TRAVIS STREET SUITE 1500                                                           HOUSTON          TX    77002
BERRY PHILLIPS                                                           PO BOX 1209                                                                            CLINTON          OK    73601-1209
BERT BLUMER                                                              1021 W MOORE AVE                                                                       STILLWATER       OK    74075
BERT BRUNDAGE                                                            8676 NORTH MAY                                                                         OKLAHOMA CITY    OK    73120
                                                                                                                       9211 Lake Hefner
Bert Cramer                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Bert Cramer                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Bert Cramer                                                              5803 N. Mt Vernon                                                                      Cushing          OK    74023
BERT D. BRISCOE TR DTD. 7-28-2000                                        19974 N MACARTHUR                                                                      EDMOND           OK    73012
BERT DIXON                                                               114 SHERIDA PL                                                                         CHICKASHA        OK    73018
BERT FOX                                                                 9762 E CR 71                                                                           COYLE            OK    73027
BERT LEMARR                                                              14230 HUMMINGBIRD DR                                                                   CHOCTAW          OK    73020-7023
BERT NELSON                                                              1904 VICKSBURG AVE                                                                     LUBBOCK          TX    79407-2226
BERT PHILLIPS                                                            18053 JUDICAL WAYS                                                                     LAKEVILLE        MN    55044
BERT WHITESIDES ESTATE                                                   6716 ROOSEVELT DR                                                                      KETCHIKAN        AK    99901
                                                                                                                       9211 Lake Hefner
Bertha A. Richardson                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Bertha A. Richardson                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Bertha A. Richardson                                                     10521 E Wilshire Blvd                                                                  Spencer          OK    73084
BERTHA HOLCOMB DUNCAN                                                    2414 RILL ST                                                                           ROGERS           AR    72758
BERTHA MARIE                                                             2908 CEDAR SPRINGS RD                                                                  OKLAHOMA CITY    OK    73120
BERTHA MAY RUSHMORE TR                                                   1602 WEST 80TH                                                                         STILLWATER       OK    74074
BERTHA MAY RUSHMORE TRUST DTD 4707                                       1602 W 80TH ST                                                                         STILLWATER       OK    74074-8139
BERTHA MCNEILL                                                           PO BOX 36                                                                              MULHALL          OK    73063
BERTIE K FOSTER TRUST                                                    3832 NW 69TH TER                                                                       OKLAHOMA CITY    OK    73116-1724
BERTIE SUE SUMPTER                                                       5503 E 109TH ST                                                                        TULSA            OK    74137
BESS DAWSON BAILEY                                                       1550 EL COMINAO REALCONDO #618                                                         LADY LAKE        FL    32159
BESS M PERRYMAN TRST                                                     27 WAGON TRL                                                                           BLACK MOUNTAIN   NC    28711-2558
BESS PERRYMAN                                                            27 WAGON TRL                                                                           BLACK MOUNTAIN   NC    28711-2558
BESS THOMPSON                                                            901 BARKLEY STREE                                                                      SPRINGFIELD      CO    81073
BESSIE BAKER                                                             1320 W WHITE OAK AVE                                                                   INDEPENDENCE     MO    64050


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BESSIE BUTCHER BOYLE TRUST                                        702 E 2ND ST                                                                           CUSHING           OK      74023-4018
BESSIE CARDEN                                                     705 SPRUCE ST                                                                          COULEE DAM        WA      99116
BESSIE CATO DECD                                                  PO BOX 10072                                                                           AUSTIN            TX      78766
BESSIE J TANNER                                                   1711 N SUMMIT APT 302                                                                  ARKANSAS CITY     KS      67005-1607
BESSIE L WHELAN TRUST                                             PO BOX 3480                                                                            OMAHA             NE      68103-0480
BESSIE M HITPOLD                                                  3902 SKYRIDGE AVE                                                                      SAN ANTONIO       TX      78210-5755
BESSIE MAY                                                        853 GEORGE MCDUFFIE RD                                                                 DEARING           GA      30808
BEST OILFIELD SERVICE INC                                         PO BOX 1108                                                                            EL RENO           OK      73036
BEST WELL SERVICES LLC                                            2250 E 73RD STREET SUITE 400                                                           TULSA             OK      74136
BETA OIL COMPANY                                                  PO BOX 12958                                                                           OKLAHOMA CITY     OK      73157-2958
                                                                                                                9211 Lake Hefner
Beth A. Rutledge               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                               c/o Laminack, Pirtle & Martines,
Beth A. Rutledge               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Beth A. Rutledge                                                  712 N. Francis Ave                                                                     Oklahoma City     OK      73106
BETH ANN HOLCOMB-FLOWERS                                          1525 CHISHOLM TR                                                                       WEATHERFORD       OK      73096
BETH BECKWITH                                                     204 ASH                                                                                PERRY             OK      73077
BETH CHAPMAN                                                      3223 STONEBROOK PLACE                                                                  FORT WAYNE        IN      46818
BETH COKER                                                        PO BOX 331                                                                             LAKE JACKSON      TX      77566
BETH FORD LIVING TRUST                                            9300 FORD DR                                                                           RIPLEY            OK      74062-6421
BETH HOPPER                                                       1604 RIO HONDO RD APT 2                                                                HARLINGEN         TX      78550-4049
BETH LIVINGSTON                                                   1213 EAGLE LANDING BLVD                                                                HANAHAN           SC      29410
BETH MEYER                                                        PO BOX 1213                                                                            MARSHALL          TX      75671-1213
BETH MICHAEL                                                      422 WESTERN AVENUE                                                                     HAYSVILLE         KS      67060
BETH PEDERSON                                                     2433 S 36TH ST                                                                         GRAND FORKS       ND      58201
BETH WATKINS                                                      45841 CLASSIC WAY                                                                      TEMECULA          CA      92592
BETHANY CULLINEN                                                  704 PROSPECT ROW #3                                                                    SAN MATEO         CA      94401
BETHANY EAVES                                                     5919 HALIFAX AVE N                                                                     BROOKLYN CENTER   MN      55429

BETHANY THEOLOGICAL SEMINARY   BRENDA J REISH TREASURER                                                                                                  RICHMOND          IN      47374-4019
BETHANY VASQUEZ                                                   2201 TOWNE NORTH DR                                                                    CLEBURNE          TX      76033
BETHEL FOUNDATION                                                 11212 N MAY AVENUE                                                                     OKLAHOMA CITY     OK      73120
BETHEL MILLER                                                     8683 E 61ST ST APT 5                                                                   TULSA             OK      74133
BETHLEHEM BAPTIST CHURCH                                          PO BOX 404                                                                             HARTSHORNE        OK      74547
BETSY A. BALL                                                     PO Box 13360                                                                           OKLAHOMA CITY     OK      73113
BETSY MAY JAMES                                                   7505 N 2030 ROAD                                                                       LEEDEY            OK      73654
                                                                                                                9211 Lake Hefner
Betsy Mosher                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                               c/o Laminack, Pirtle & Martines,
Betsy Mosher                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Betsy Mosher                                                      507 E Broadway                                                                         Cushing           OK      74023
BETSY PETTY                                                       1609 W MEDALIST RD                                                                     PINEVILLE         LA      71360
BETSY PRIMACIO                                                    17433 NEW CROSS CIRCLE                                                                 LITHIA            FL      33547
BETSY ROBINSON                                                    57 W 70TH ST 5B                                                                        NEW YORK          NY      10023
BETSY STEPHENSON                                                  15625 FARNAM CIRCLE                                                                    OMAHA             NE      68118
BETSY TUSSEY                                                      5210 E 92ND AVE                                                                        STILLWATER        OK      74074-8485
BETSY WILDER                                                      5616 WYNSTONE DR                                                                       EDMOND            OK      73034-9120
BETTE BUTTERWORTH                                                 701 E NOBLE AVE                                                                        GUTHRIE           OK      73044
BETTE FLETCHER                                                    303 W HICKAM DR                                                                        COLUMBIA          MO      65203-9142
BETTE L WRIGHT LIVING TRUST                                       PO BOX 5463                                                                            CARMEL            CA      93921
BETTE MAYER                                                       221 MCJORDAN                                                                           ORLANDO           FL      32801
                                                                                                                9211 Lake Hefner
Bettey Robinson                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                               c/o Laminack, Pirtle & Martines,
Bettey Robinson                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Bettey Robinson                                                   1300 E. 173rd St. North                                                                Skiatook          OK      74070
BETTIE JONES                                                      2603 S 108TH E AVE                                                                     TULSA             OK      74127
BETTIE SMITH                                                      10920 WOODBRIDGE RD                                                                    OKLAHOMA CITY     OK      73162



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                                                                                                                       9211 Lake Hefner
Bettie Shadoan                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Bettie Shadoan                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Bettie Shadoan                                                           166440 E Rebecca                                                                       Choctaw          OK      73020
BETTIJO STARR                                                            38010 HWY 12 W                                                                         LOLO             MT      59847
BETTTY MCINTIRE aka BETTY LOU SAVOR                                      221 NE 2ND STREET                                                                      PERKINS          OK      74059
                                                                                                                       9211 Lake Hefner
Betty A. Foster                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Betty A. Foster                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Betty A. Foster                                                          4621 Lynn St                                                                           Guthrie          OK      73034
BETTY ALLEN                                                              7117 S UNION RD                                                                        STILLWATER       OK      74074
BETTY ANDERSON                                                           1214 S FAIRGROUNDS                                                                     STILLWATER       OK      74074-8530
                                                                                                                       9211 Lake Hefner
Betty Ann Ingham                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Betty Ann Ingham                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Betty Ann Ingham                                                         349776 E. 1050 Rd                                                                      Prague           OK      74864

BETTY ANNE Q BUSH                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
BETTY BATES REVOCABLE TRUST                                              7122 S SHERIDAN RD BOX 615                                                             TULSA            OK      74133
BETTY BEVERAGE                                                           820 E 84TH AVE                                                                         STILLWATER       OK      74074-8117
BETTY BILYEU                                                             917 MOBILE WAY                                                                         OKLAHOMA CITY    OK      73107
BETTY BLACKWELL                                                          1201 W ABRIENDO AVE APT 210                                                            PUEBLO           CO      81004
BETTY BOHN TRUST                                                         8806 EAST 92ND PLACE                                                                   TULSA            OK      74133-5560
BETTY BOWER                                                              901 South 9th St.                                                                      Kingfisher       OK      73750
BETTY BRIDWELL                                                           3509 OLDE GEORGETOWN RD                                                                EDMOND           OK      73013
BETTY BRISCOE                                                            20686 E CR176                                                                          ELMER            OK      73539
BETTY BROWN                                                              516 BUENA VISTA ST                                                                     ALTUS            OK      73521
BETTY BROWN                                                              PO BOX 161898                                                                          AUSTIN           TX      78716-1898
BETTY BROYLES HARPER                                                     PO BOX 324                                                                             PERKINS          OK      74059-0324
BETTY BURNETT                                                            5439 MAKATI CIR                                                                        SAN JOSE         CA      85123
BETTY CHEATHAM                                                           51 SUNNYSIDE DR                                                                        JACKSON          TN      38301
BETTY CLAFLIN                                                            PO BOX 471                                                                             SHELDON          MO      64784
BETTY COLLEEN CASSIDAY                                                   25 WINDSOR ON THE MARSH                                                                SAVANNAH         GA      31419
BETTY COX                                                                1316 W. XYLER                                                                          TULSA            OK      74127
BETTY CROSS                                                              336 NELDA AVE                                                                          KIRKWOOD         MO      63122-5439
BETTY CURTIS                                                             16405 W 54TH AVE                                                                       GOLDEN           CO      80403
BETTY D BERG TTEE                                                        4800 N YOUNGS BLVD                                                                     OKLAHOMA CITY    OK      73112
BETTY DAVIS GIBSON                                                       1170 LAUREL LOOP NE                                                                    ALBUQUERQUE      NM      87122
BETTY DRISKEL                                                            9722 S PRAIRIE RD                                                                      PERKINS          OK      74059-3704
BETTY DRY                                                                10506 S PERKINS RD                                                                     PERKINS          OK      74059
BETTY EHE                                                                218 E 13TH ST                                                                          HOMINY           OK      74035
BETTY ELLEN VICK & DONALD D VICK HW                                      5021 GINA CIRCLE                                                                       DEL CITY         OK      73115
BETTY ESTES                                                              330 ARLEDGE LN SW APT 20D                                                              OLYMPIA          WA      98502
BETTY FAUL                                                               6026 BOOTH CT                                                                          FLINT            MI      48532
BETTY FISHBURN                                                           28751 CR 80                                                                            ORLANDO          OK      73073
BETTY FOOTE                                                              511 S 1ST                                                                              TUCUMCARI        NM      88401
BETTY FRAZIER                                                            220 CHERRYWOOD DR                                                                      FORT MITCHELL    KY      41011
BETTY FREEMAN                                                            1023 ROMANY RD                                                                         KANSAS CITY      MO      64113
BETTY FRENCH                                                             11008 N 1910 RD                                                                        SAYRE            OK      73662
BETTY GALLAGHER                                                          6313 S BROADWAY DR                                                                     OKLAHOMA CITY    OK      73139
BETTY GARRETT                                                            2143 PENINSULA DR                                                                      CLOVER           SC      29710-9020
BETTY GEIS                                                               PO BOX 241                                                                             SOUTH FORK       CO      81154-0241
BETTY HAYS                                                               1071 E COUNTY RD 64                                                                    MULHALL          OK      73063-9755
BETTY HILDERBRAND                                                        214 RUSSELL AVE                                                                        BLACKWELL        OK      74631
BETTY HILDWEIN                                                           1881 STARBURST DR                                                                      GRANTS PASS      OR      97527
BETTY HUDSON                                                             1311 NEW FOREST DRIVE                                                                  LONG VIEW        TX      75605


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BETTY HUDSPETH WALLIN                                                    3987 S DELAWARE                                                                        ENGLEWOOD        CO      80110
BETTY J BARNES & BOB L BARNES TTEES                                      3202 LIVE OAK LN                                                                       STILLWATER       OK      74075
BETTY J BRIDWELL TRUST                                                   3509 OLD GEORGETOWNE RD                                                                EDMOND           OK      73013
BETTY J HELDENBRAND REV TRUST                                            2135 NW 118TH TERRACE                                                                  OKLAHOMA CITY    OK      73120
BETTY J HIEBERT                                                          249 POST RD                                                                            EL DORADO        KS      67042
BETTY J HODGES TRUST                                                     6645 MILHAVEN DR                                                                       MISSION          KS      66202
BETTY J WAYMAN TRUST                                                     2900 GULF BLVD #112                                                                    BELLEAIR BEACH   FL      33786
                                                                                                                       9211 Lake Hefner
Betty J. McDaniel                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Betty J. McDaniel                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Betty J. McDaniel                                                        346030 E. Hwy. 62                                                                      Meeker           OK      74855
BETTY JAVINE LIVING TRUST                                                9818 N COUNCIL ROAD                                                                    OKLAHOMA CITY    OK      73162
BETTY JEAN BUCHANAN FAMILY TRUST                                         1305 SW 106TH PLACE                                                                    OKLAHOMA CITY    OK      73170
BETTY JEAN BUSS TRUST U-T-D 4-1-199                                      13720 N. 114TH                                                                         HUNTER           OK      74640
BETTY JEAN JARDOT                                                        PO BOX 395                                                                             POND CREEK       OK      73766
BETTY JEAN TERRILL                                                       4107 GREENVIEW DR                                                                      DENAIR           CA      95316
BETTY JEWEL CARVER                                                       9703 N 110TH E AVE                                                                     OWASSO           OK      74055
BETTY JO BANKS                                                           8075 N 2030 RD                                                                         LEEDEY           OK      73654
BETTY JOYCE BARNES & BOB L BARNES H                                      3202 LIVE OAK LN                                                                       STILLWATER       OK      74075
BETTY KEITH                                                              108117 FRONTIER                                                                        PERRY            OK      73077
BETTY KENDRICK                                                           11217 W 56TH AVENUE                                                                    STILLWATER       OK      74074
BETTY KERNS                                                              4111 W DEER CROSSING DR                                                                STILLWATER       OK      74074-2192
BETTY KIRK                                                               15250 PRESTONWOOD BLVD APT 127                                                         DALLAS           TX      75248
BETTY KIRKWOOD                                                           15265 BOILING SPRINGS RD                                                               LICKING          MO      65442-9195
BETTY KITCHEN                                                            9000 S VASSAR RD                                                                       COYLE            OK      73027
BETTY L COMBS STEPHENSON                                                 50827 S 36500 RD                                                                       CLEVELAND        OK      74020-6859
BETTY L FITCH FAM TR                                                     6805 S FIELDS ST APT 102                                                               LITTLETON        CO      80128
BETTY L KINDSCHILIVING TRUST                                             217 KEATS DR                                                                           STILLWATER       OK      74074
BETTY L MCCANDLESS REV TRUST                                             7423 STONECREST DRIVE                                                                  DALLAS           TX      75254

BETTY L PRINCE                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
BETTY LEE HABBEN LVG TRUST                                               1918 RIDGECREST DR                                                                     PERRY            OK      73077
BETTY LEWIS                                                              1112 W BROWN AVE                                                                       STILLWATER       OK      74075
BETTY LEYSHION                                                           7015 MANAHOAC PL                                                                       GAINESVILLE      VA      20155-1645
BETTY LISTON                                                             6805 OLD ORCHARD LN                                                                    OKLAHOMA CITY    OK      73132
BETTY LONGAN                                                             PO BOX 450142                                                                          GROVE            OK      74345
BETTY LOOSEN KUEHN                                                       PO BOX 538                                                                             KINGFISHER       OK      73750
BETTY LOUISE CRAFT                                                       2400 EAST MCELROY BLVD                                                                 STILLWATER       OK      74075
BETTY M CERNOSEK 2009 REV TR                                             1300 REDBUD ST APT 203                                                                 YUKON            OK      73099
BETTY MARLER                                                             807 S LOWRY #201                                                                       STILLWATER       OK      74074
BETTY MATHIS                                                             1422 S LARIAT DR                                                                       MUSTANG          OK      73064-2913
BETTY MCDANIEL                                                           346030 E HIGHWAY 62                                                                    MEEKER           OK      74855-4645
BETTY MCQUERRY                                                           501 W CAIN ST                                                                          PRINCETON        MO      64673-1436
BETTY MITCHELL                                                           4708 S COUNCIL CREEK RD                                                                RIPLEY           OK      74062-6325
BETTY MOCK                                                               PO BOX 183                                                                             WOODLAND PARK    CO      80866-0183
BETTY MOORE                                                              2121 CANDY LANE                                                                        DEL CITY         OK      73115
BETTY NOBLE SHOR                                                         4436 SIERRA DR                                                                         HONOLULU         HI      96816
BETTY OLSSON                                                             677 S 1400 W                                                                           PINGREE          ID      83262
BETTY PEPIS TESTAMENTARY TRUST                                           PO BOX ONE                                                                             TULSA            OK      74102-0001
BETTY PEPIS TRUST                                                        PO BOX 99084                                                                           FORT WORTH       TX      76199
BETTY PHILLIPS                                                           229 HICKORY LN                                                                         HADDONFIELD      NJ      08033-3811
BETTY PINE                                                               9 KAROSS RD                                                                            SHAWNEE          OK      74801-7566
BETTY PRATT                                                              404 VIEWMONT DR                                                                        HENDERSON        NV      89015
BETTY R OSBORN TRUST                                                     14901 N PENNSYLVANIA AVE                                                               OKLAHOMA CITY    OK      73134
BETTY REDFORD                                                            17919 W DIXON PL                                                                       MULHALL          OK      73063
BETTY RIDDLE                                                             6339 SOUTH 91ST EAST AVE # 133                                                         TULSA            OK      74133
BETTY ROWLEY                                                             PO BOX 464                                                                             MOORELAND        OK      73852-0464
BETTY S WENTE                                                            8416 E 98TH PLACE                                                                      TULSA            OK      74133


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BETTY SHELBY                                                             631 A ST                                                                               TAFT             CA      93268-3735
BETTY SMITH                                                              1325 E RANDOLPH AVE                                                                    ENID             OK      73701
BETTY SMITH STRUCK                                                       320 W 125TH ST S                                                                       JENKS            OK      74037
BETTY SPIRES                                                             10124 W FORRESTER DR                                                                   SUN CITY         AZ      85351-2315
BETTY STEWART                                                            7223 SHADY ARBOR LN                                                                    HOUSTON          TX      77040-4728
BETTY STREET                                                             1513 MURIEL NE                                                                         ALBUQUERQUE      NM      87112
BETTY TABER                                                              214 S 11TH ST                                                                          PERRY            OK      73077
BETTY THOMAS                                                             303 SE 3RD ST                                                                          PRYOR            OK      74361-5213
BETTY TURNER                                                             1891 CENTRO WEST ST #B                                                                 BEL TIBURON      CA      94920-1910
BETTY TYLANDER                                                           249 HAMPTON PL                                                                         JUPITER          FL      33458
BETTY WALL                                                               3610 63RD DR                                                                           LUBBOCK          TX      79413
BETTY WARNER                                                             PO BOX 813                                                                             PERRY            OK      73077
BETTY WATERS                                                             178709 E. COUNTY RD. 61                                                                ARNETT           OK      73832
BETTY WAUGH                                                              1281 CYPRESS DR                                                                        VISTA            CA      92084
BETTY WHALEN                                                             1007 S WILSON AVE                                                                      CUSHING          OK      74023-5117
BETTY WORTHY                                                             343498 E 760 RD                                                                        AGRA             OK      74824
BETTY ZIPPER                                                             PO BOX 1300                                                                            MCALLEN          TX      78505
                                                                                                                       9211 Lake Hefner
Betty McBride                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Betty McBride                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Betty McBride                                                            1514 N. Washington                                                                     Edmond           OK      73034
BETTYE EVANS                                                             3508 BONA VILLA DR                                                                     MUSKOGEE         OK      74403
BETTYE FERGUSON REVOCABLE TRUST                                          6700 W MEMORIAL RD APT 815                                                             OKLAHOMA CITY    OK      73142
BEULAH DECD                                                              121 WAKE DR                                                                            RICHARDSON       OK      75081
BEULAH M WALKER SUCCESSOR TTEE                                           PO BOX 302                                                                             CRESCENT         OK      73028
BEULAH MONROE                                                            515 W 2ND ST                                                                           EDMOND           OK      73034
BEULAH SINCLAIR                                                          801 N SKYLINE ST                                                                       STILLWATER       OK      74075-7320
Beutler, Jared                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK      74074
BEVA BRANSON STEWART                                                     PO BOX 496                                                                             GOLDEN           BC      V0A 1H0      CANADA
BEVERIDGE & DIAMOND PC                                                   1350 I ST NW STE 700                                                                   WASHINGTON       DC      20005-7202
BEVERLEY TULLY                                                           8320 NW 70TH ST                                                                        OKLAHOMA CITY    OK      73132-3923
BEVERLEY TULLY TRUST DATED 10-14-20                                      8320 NW 70TH ST                                                                        OKLAHOMA CITY    OK      73132-3923
BEVERLY A BEDIENT                                                        8258 SCARLET OAK CIR                                                                   CITRUS HEIGHTS   CA      95610-0744
BEVERLY A BRISCOE TRUST                                                  19151 N COUNCIL RD                                                                     EDMOND           OK      73012
BEVERLY A BROHLIN                                                        128 BAY ROCK CIRCLE                                                                    AMARILLO         TX      79118-9300
BEVERLY A LUNN                                                           7105 E. ADMIRAL PLACE                                                                  TULSA            OK      74115

BEVERLY A WENGER                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         CO      75070
BEVERLY ALEXANDER                                                        705 QUAIL CREEK                                                                        PERRY            OK      73077
BEVERLY ANN COCKRIEL                                                     1624 TRIO LN                                                                           PONCA CITY       OK      74601
BEVERLY ANN VOSS                                                         4912 W FRANCES PL                                                                      AUSTIN           TX      78731-5530
                                                                                                                       9211 Lake Hefner
Beverly Ann Splawn                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Beverly Ann Splawn                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Beverly Ann Splawn                                                       7608 Doris Pl                                                                          Oklahoma City    OK      73162
BEVERLY ANNE RETHERFORD                                                  3427 N IRONWOOD                                                                        BROKEN ARROW     OK      74012
BEVERLY AUSTIN                                                           13201 CEDAR TRAIL                                                                      OKLAHOMA CITY    OK      73131
BEVERLY BAKER                                                            2219 E 181ST ST SOUTH                                                                  MOUNDS           OK      74047
BEVERLY BARNES                                                           4207 SOONER PL                                                                         EDMOND           OK      73034
BEVERLY BERENDS                                                          6609 MORRIS HILL                                                                       MARSING          ID      83639
BEVERLY BRADLEY                                                          3307 E 32ND AVE                                                                        STILLWATER       OK      74074-7019
BEVERLY BRONNER                                                          133336 KONRAD DR                                                                       EAGLE RIVER      AK      99577
BEVERLY CASS                                                             78 TRAILS END RD                                                                       EUREKA           MT      59917
BEVERLY CLARY BAKER                                                      4508 CYPERT RD                                                                         YUKON            OK      73099-3147
BEVERLY CUMMINS                                                          7028 E 78TH PL                                                                         TULSA            OK      74133-7833
BEVERLY CUMMINS 1993 IRREV TRUST DT                                      PO BOX 160                                                                             SAND SPRINGS     OK      74063-0160
BEVERLY DANIEL                                                           6866 CRESENT OAKS CIR                                                                  LAKELAND         FL      33813


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              CreditorName                CreditorNoticeName                          Address1                            Address2                 Address3            City        State       Zip      Country
BEVERLY DAWN DARNELL LIVING TRUST                                      3708 RIVER OAKS DR                                                                     NORMAN              OK       73072-4626
BEVERLY DICKSON PHILBECK                                               2517 GODDARD DRIVE                                                                     MIDLAND             TX       79705
BEVERLY F WHITLEY LVG TR                                               2916 FINCHLEY LN                                                                       OKLAHOMA CITY       OK       73120
BEVERLY FLINT                                                          1100 E SPRUCE AVE #337                                                                 FRESNO              CA       93720-3338
BEVERLY G HARRIS TRUST                                                 10024 S CHAMPLIN RD                                                                    LUCIEN              OK       73757
BEVERLY GAYLE GOINS ESTATE                                             1420 SW 45TH                                                                           OKLAHOMA CITY       OK       73119
BEVERLY GOFF                                                           72156 MOUNT PLEASANT PIKE                                                              MARTINS FERRY       OH       43935
BEVERLY GOOM CLARKE ESTATE                                             1525 MISSION RD                                                                        EDMOND              OK       73034-6571
BEVERLY GROOM                                                          3605 N JEFFERSON ST                                                                    ARLINGTON           VA       22207
BEVERLY GULLETT                                                        11167 VILLAGE GREEN RD                                                                 GREENWELL SPRINGS   LA       70739
BEVERLY HARTMAN                                                        103 N 15 ST APT C                                                                      SAINT CHARLES       IL       60174
BEVERLY HEWITT                                                         222 NORTH CHARLES                                                                      ISABEL              KS       67065
BEVERLY HIGH                                                           4520 NW 30TH                                                                           OKLAHOMA CITY       OK       73112
BEVERLY HOTZ                                                           8108 ARDVARK CIR                                                                       PERKINS             OK       74059-3888
BEVERLY IRA                                                            2403 SPANISH OAK HILL CT                                                               SPRING              TX       77388
BEVERLY J MEALER                                                       PO BOX 2127                                                                            LAPINE              OR       97739
BEVERLY J TERRY LIVING TRUST                                           3203 OAKWOOD DR                                                                        EDMOND              OK       73013-6132
BEVERLY JO JAYNE                                                       229 MONTEGO KY                                                                         NOVATA              CA       94949-5326
BEVERLY KAY CAMPBELL                                                   PO BOX 251                                                                             PERU                KS       67360-0251
BEVERLY KEGIN                                                          PO BOX 165                                                                             CRESCENT            OK       73028
                                                                                                                     9211 Lake Hefner
Beverly Lord Higgins                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK       73120
                                    c/o Laminack, Pirtle & Martines,
Beverly Lord Higgins                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX       77006
Beverly Lord Higgins                                                   223 N. Dawson St                                                                       Meeker              OK       74855
BEVERLY MCDONALD                                                       1814 S ALMA STREET APT 2                                                               SAN PEDRO           CA       90731
BEVERLY MCGUGIN                                                        2204 NW 43RD                                                                           OKLAHOMA CITY       OK       73112
BEVERLY MONTGOMERY                                                     4536 PADDINGTON LN                                                                     GRAND PRAIRIE       TX       75052-3600
                                                                                                                     9211 Lake Hefner
Beverly Morgan                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK       73120
Beverly Morgan                      c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles         CA       90017
Beverly Morgan                      c/o Pulaski Law Firm               Attn: Adam Pulaski                            2925 Richmond Ave    Ste. 1725           Houston             TX       77098
BEVERLY MORGAN                                                         PO BOX 12505                                                                           ALEXANDRIA          LA       71315
Beverly Morgan                                                         4600 W 9th St                                                                          Cushing             OK       74023
BEVERLY PAVEL                                                          524 N ELY, APT D2                                                                      KENNEWICK           WA       99336
BEVERLY PHILLIPS                                                       1808 HOLBROOK ST                                                                       PONCA CITY          OK       74604
BEVERLY PICKLE                                                         530 S LINWOOD AVE                                                                      CUSHING             OK       74023-4644
BEVERLY REGIER                                                         121 FROESE DR BOX 65                                                                   INMAN               KS       67546
BEVERLY RHYMES                                                         640 ALTA VISTA ST                                                                      SANTA FE            NM       87505
BEVERLY RODOLF                                                         2123 EAST 59TH PL                                                                      TULSA               OK       74105
BEVERLY SANDERS                                                        1339 WATERSIDE LN                                                                      KNOXVILLE           TN       37922
BEVERLY SLATER                                                         4104 S DETROIT AVE                                                                     TULSA               OK       74105
BEVERLY SLOAN                                                          6801 NW 29TH ST                                                                        BETHANY             OK       73008
BEVERLY SPENCER                                                        1301 WEST GORE BLVD STE 4                                                              LAWTON              OK       73501
BEVERLY STARK                                                          5963 GARNETT ST                                                                        SHAWNEE             KS       66203-2651
BEVERLY SUE MONTGOMERY ESTATE                                          4536 PADDINGTON LANE                                                                   GRAND PRAIRIE       TX       75052
BEVERLY SUPPLEE                                                        2717 MERIDIAN CT                                                                       OKLAHOMA CITY       OK       73127
BEVERLY TABOR OSBORN                                                   2445 VANCE ST                                                                          LAKEWOOD            CO       80214-5842
BEVERLY WHITLEY                                                        2916 FINCHLEY LN                                                                       OKLAHOMA CITY       OK       73120
BEVERLY WILLIAMS                                                       94 OAK CREEK DR                                                                        EDNA                TX       77957
BEVERLY WILLIAMSON                                                     PO BOX 1062                                                                            CORTEZ              CO       81321
BEVERLY WOOD                                                           601 RIDGECREST DR                                                                      GUTHRIE             OK       73044
BEVERLY YOUNG                                                          4 E WOODWARD BLVD                                                                      TULSA               OK       74114
                                                                                                                     9211 Lake Hefner
Beverly Fourroux                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK       73120
                                    c/o Laminack, Pirtle & Martines,
Beverly Fourroux                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX       77006
Beverly Fourroux                                                       7908 Duane Dr                                                                          Oklahoma City       OK       73132



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                                                                                                                       9211 Lake Hefner
Beverly Hill-Wiggly                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Beverly Hill-Wiggly                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Beverly Hill-Wiggly                                                      1715 Shadycreek Circle                                                                  Guthrie           OK      73034
BEVO PRODUCTION CO                                                       113 W 8TH AVE                                                                           AMARILLO          TX      79101-2305
                                                                         11695 JOHNS CREEK PARKWAY, SUITE
BEYONDTRUST CORPORATION                                                  200                                                                                     JOHNS CREEK       GA      30097
BGM PRODUCTION LLC                                                       PO BOX 500                                                                              MARLOW            OK      73055
BGT MINERALS LLC                                                         PO BOX 9                                                                                ALEDO             TX      76008-0009
BHA LLC                                                                  PO BOX 6605                                                                             EDMOND            OK      73083-6605
BHCH MINERAL LTD                                                         PO BOX 1817                                                                             SAN ANTONIO       TX      78296-1817
BHCH PROPERTIES LTD                                                      5111 BROADWAY ST                                                                        SAN ANTONIO       TX      78209-5709
BHL BORESIGHT INC                                                        4550 KINSEY DR                                                                          TYLER             TX      75703-1005
BIBLE BAPTIST CHURCH                                                     PO Box 1985                                                                             STILLWATER        OK      74076
BIBLE MISSIONARY CHURCH INC                                              PO BOX 158                                                                              DUNCAN            OK      73534
BICKERSTAFF ASSOCIATES INC                                               PO BOX 160843                                                                           BIG SKY           MT      59716
BICO DRILLING TOOLS INC                                                  PO BOX 301260                                                                           DALLAS            TX      75303-1260
BIDWELL FAMILY TR                                                        3302 W GLENCOE RD                                                                       STILLWATER        OK      74075
BIEBER SERVICES INC                                                      8105 MAGNOLIA                                                                           EDMOND            OK      73025-1647
BIG CREEK CHURCH OF BRETHREN                                             101 N BRETHREN RD                                                                       CUSHING           OK      74023-6095
BIG CYPRESS ENERGY LLC                                                   327 N ROBERTS ST                                                                        GILMER            TX      75644
BIG E SERVICES LLC                                                       PO BOX 62047                                                                            MIDLAND           TX      79711-2047
BIG HORN MINERALS LLC                                                    402 GAMMON PL #320                                                                      MADISON           WI      53719
BIG IRON CRANE & TRUCKING LLC                                            PO BOX 840267                                                                           DALLAS            TX      75284-0267
BIG J TANK TRUCK SERVICE INC                                             1705 N 15TH                                                                             PERRY             OK      73077
BIG LAKE CHAMBER OF COMMERCE                                             PO BOX 905                                                                              BIG LAKE          TX      76932
BIG LAKE RANCH LLC                                                       6351 W CR 69                                                                            MULHALL           OK      73063
BIG RED FURNITURE WAREHOUSE                                              413 S PORTLAND AVE                                                                      OKLAHOMA CITY     OK      73108
BIG SKY MINERAL TRUST                                                    PO BOX 3788                                                                             ARLINGTON         TX      76007
BIG STATE X-RAY INC                                                      PO BOX 520                                                                              CHICKASHA         OK      73023
BIG T ENTERPRISES INC. A TEXAS                                           PO Box 627                                                                              ROCK SPRINGS      WY      82901
BIGHORN CONSTRUCTION                                                     PO BOX 759                                                                              GREELEY           CO      80634

BIGHORN CONSTRUCTION & RECLAMAT LLC                                      1801 BROADWAY STREET SUITE 1203                                                         DENVER            CO      80202
BILL & SUSAN SCHAEFER FAMILY TR                                          920 S WEST OAKS                                                                         STILLWATER        OK      74074
BILL & SUSIES CRESS FAMILY                                               2628 DORCHESTER DR                                                                      OKLAHOMA CITY     OK      73120
BILL AND PHYLLIS GREEN JT                                                501 THIRD ST                                                                            RIPLEY            OK      74062-6458
BILL AND ROSE M BEATTIE                                                  17428 319TH STREET                                                                      NORMAN            OK      73072
BILL ARNOLD                                                              340 TRAVIS CIR                                                                          EDMOND            OK      73013
BILL AUFLEGER                                                            3414 W BRISTOL                                                                          STILLWATER        OK      74074
BILL BENTLEY                                                             5866 LOMA VISTA ROAD                                                                    VENTURA           CA      93003-2333
BILL BERNHARDT JR                                                        PO BOX 487                                                                              STILLWATER        OK      74076-0487
Bill Bledsoe                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Bill Bledsoe                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
Bill Bledsoe                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
Bill Bledsoe                                                             4721 County Road 6050                                                                   Ralston           OK      74650
BILL BREEDEN                                                             PO BOX 339                                                                              TRYON             OK      74875-0339
BILL C ROTEN                                                             18016 E 96TH ST N                                                                       OWASSO            OK      74055
BILL C WEINAND                                                           PO BOX 504                                                                              GUTHRIE           OK      73044-0504
Bill Denton                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Bill Denton                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
Bill Denton                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
Bill Denton                                                              1812 North McKinley Ave                                                                 Sand Springs      OK      74063
BILL DRISKEL                                                             103 HICKORY HILL RD                                                                     SAPULPA           OK      74066
BILL DUNGAN                                                              701 W GLENWOOD ST                                                                       BROKEN ARROW      OK      74001
BILL ELLIOTT                                                             650 NE 2000                                                                             ANDREWS           TX      79714-9108
                                                                                                                       9211 Lake Hefner
Bill Fleschute                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120


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                    CreditorName               CreditorNoticeName                             Address1                         Address2                  Address3             City   State       Zip      Country
                                         c/o Laminack, Pirtle & Martines,
Bill Fleschute                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Bill Fleschute                                                              2123 Lydia Lane                                                                         Stillwater       OK      74074
BILL FOCHT                                                                  212 NE 3RD ST                                                                           PERKINS          OK      74059
BILL G                                                                      2031 KENS CIRCLE                                                                        CRESENT          OK      73028-9294
BILL G SPENCER CONSULTING LP                                                201 S LAKELINE BLVD STE 303                                                             CEDAR PARK       TX      78613-2732
BILL GALE                                                                   4617 E 26TH AVE                                                                         STILLWATER       OK      74074-8543
BILL GREEN                                                                  1393 COUNTY ROAD 36100                                                                  HONEY GROVE      TX      75446-4609
BILL GREEN                                                                  4214 COUNTRY HEIGHTS CT                                                                 SPRING           TX      77388
BILL GRIFFIN                                                                113 S 4TH ST                                                                            LEWISBURG        PA      17837-1803
BILL HARWELL                                                                2249 S TROOST AVE                                                                       TULSA            OK      74114
BILL HORN                                                                   PO BOX 1                                                                                ADA              OK      74821
BILL IRVIN LAND SERVICES LLC                                                PO BOX 721925                                                                           OKLAHOMA CITY    OK      73172-1925
BILL KELLEY                                                                 2625 HIDDEN VALLEY RD                                                                   EDMOND           OK      73013
BILL LAYDEN                                                                 1011 COUNTRY CLUB RD                                                                    MCALESTER        OK      74501-7230
BILL LLOYD HINES TR                                                         2015 MANHATTAN BEACH BLVD                                                               REDONDO BEACH    CA      90278
BILL M & ELIZABETH M SOSSAMON HW JT                                         2846 W HIGHWAY 64                                                                       OZARK            AR      72949
BILL MOORE                                                                  12875 HIGHFIELD CT                                                                      OREGON CITY      OR      97045
BILL NEIMANN                                                                12208 BYWATER DR                                                                        OKLAHOMA CITY    OK      73170
BILL PERRIN                                                                 PO BOX 294083                                                                           KERRVILLE        TX      78029-4083
BILL PERRIN                                                                 1209 NE 89TH ST                                                                         OKLAHOMA CITY    OK      73114
BILL R BYER JR                                                              PO BOX 153                                                                              MULHALL          OK      73063-0153
BILL R RODMAN                                                               623 JACKSON STREET                                                                      PUEBLO           CO      81004-1835
BILL ROTEN                                                                  18016 E 96TH ST N                                                                       OWASSO           OK      74055
BILL SHIPPY                                                                 22024 MARKET RD                                                                         PARMA            ID      83660
BILL SR & LORAINE GERMAN TRST                                               3205 W 29TH CT                                                                          STILLWATER       OK      74074-2214
                                                                                                                          9211 Lake Hefner
Bill W. Uselton                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                         c/o Laminack, Pirtle & Martines,
Bill W. Uselton                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Bill W. Uselton                                                             1024 S. Anderson Rd                                                                     Choctaw          OK      73020
BILL WRIGHT                                                                 3325 BROOKHOLLOW COURT                                                                  OKLAHOMA CITY    OK      73120
BILLIE AND PATSY LILE TRUST 12-19-2014                                      8414 S WESTERN                                                                          PERKINS          OK      74059-4094
BILLIE BRUMLEY                                                              3009 LAKEVIEW DR                                                                        ENNIS            TX      75119
BILLIE CRABTREE                                                             595 MAGGIE LN                                                                           CHURCH POINT     LA      70525
BILLIE EDWARDS                                                              11018 E 13TH                                                                            TULSA            OK      74128
BILLIE ELLINGTON                                                            2008 4TH ST                                                                             PAWNEE           OK      74058-5039
BILLIE GIBSON                                                               PO BOX 371                                                                              CHANDLER         OK      74834-0371
BILLIE GRIFFIN                                                              753 S WASHINGTON ST                                                                     DENVER           CO      80209-4311
BILLIE HAM                                                                  918 S WOODCREST DRIVE                                                                   STILLWATER       OK      74074
BILLIE HAM                                                                  918 WOODCREST                                                                           STILLWATER       OK      74074
BILLIE HOLZER ANDERSON                                                      6706 WEST DR                                                                            GUTHRIE          OK      73044-7718
Billie Hyatt                             c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Billie Hyatt                             c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Billie Hyatt                             c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Billie Hyatt                                                                72 E. 2nd St                                                                            Hallett          OK      74034
BILLIE JEAN ELKINS                                                          2302 TWIN GROVE DR APT J                                                                KINGWOOD         TX      77339
BILLIE JO SPLETH TRUST                                                      4520 OAKCREST AVE                                                                       ENID             OK      73703
BILLIE JOHNSON                                                              3803 NBU                                                                                PRAGUE           OK      74864
BILLIE K SHAW LIVING TRUST                                                  PO BOX 1569                                                                             STILLWATER       OK      74076
BILLIE LILE                                                                 8414 S WESTERN                                                                          PERKINS          OK      74059
BILLIE LUND                                                                 2403 MT PLEASANT RD                                                                     KELSO            WA      98626
BILLIE MCCOY                                                                PO BOX 1541                                                                             GAINESVILLE      TX      76241
BILLIE OWENS AND STEPHANIE L SARGEN                                         104 DARWIN ROAD                                                                         EDMOND           OK      73034
                                                                                                                          9211 Lake Hefner
Billie R. Navrath                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                         c/o Laminack, Pirtle & Martines,
Billie R. Navrath                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Billie R. Navrath                                                           105463 S 3580 Rd                                                                        Prague           OK      74864


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               CreditorName                  CreditorNoticeName                             Address1                        Address2                   Address3            City   State       Zip      Country
BILLIE ROFF HARMON                                                       2407 SUMMERLAND HWY                                                                      LEESVILLE       SC      29070-9495
BILLIE SHANAHAN                                                          1655 5TH ST                                                                              CLERMONT        FL      34711
BILLINGTON GILBREATH & FAVELL LLC                                        PO BOX 52784                                                                             TULSA           OK      74152-0784
BILLINGTON GRAY RESOURCES LP                                             169 RAINBOW DRIVE #6969                                                                  LIVINGSTON      TX      77399-1069
BILLY                                                                    PO BOX 41                                                                                RIPLEY          OK      74062-0041
BILLY & NANCY HEFLIN REV LIV TR                                          4931 HODGKINS ROAD                                                                       FT WORTH        TX      76135
Billy Bacon                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St    Ste. 4000           Dallas          TX      75070
Billy Bacon                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica       Ste. 400            Tulsa           OK      74104
Billy Bacon                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                                New York        NY      10017
Billy Bacon                                                              405 E Detroit Ave                                                                        Yale            OK      74085
BILLY BARTRAM                                                            2808 S WASHINGTON                                                                        STILLWATER      OK      74074
BILLY BISWELL                                                            722 E WALNUT ST                                                                          CUSHING         OK      74023-2733
BILLY BLACKBURN                                                          PO BOX 118                                                                               HALLETT         OK      74034
BILLY BRADFORD                                                           84787 US HWY 64                                                                          POND CREEK      OK      73766
BILLY CARMACK                                                            2096 LOCUST STREET                                                                       SUTTER          CA      95982
BILLY CLAY                                                               3207 TIMBERLAKE DR                                                                       STILLWATER      OK      74075
BILLY D ANTLE                                                            4524 E CR 66                                                                             MULHALL         OK      73063
BILLY D HAFNER LVG TRUST DTD 6-19-1                                      2551 E HWY 51                                                                            ORLANDO         OK      73073
BILLY D SMITH & CONNIE SUE SMITH HW                                      74 CANDLEWOOD NORTH                                                                      ENID            OK      73701
BILLY DOUGLAS                                                            900261 S 3472 RD                                                                         CHANDLER        OK      74834-9718
BILLY DUANE MURRAY                                                       1816 NW 193RD CIRCLE                                                                     EDMOND          OK      73012
                                                                                                                       9211 Lake Hefner
Billy Fanning                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City   OK      73120
Billy Fanning                         c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                         Los Angeles     CA      90017
Billy Fanning                                                            216 E 7th                                                                                Cushing         OK      74023
BILLY FRANK JOHNSTON                                                     17984 COUNTY ROAD 110                                                                    FLINT           TX      75762
BILLY FREEBORN                                                           PSC 3, BOX 1232                                                                          APO             OK      9021
BILLY GENE EDWARDS TRUST                                                 3114 FALCON CREST                                                                        ENID            OK      73703
BILLY HICKS AND LINDA L HICKS                                            3715 S HUSBAND ST                                                                        STILLWATER      OK      74074-7525
BILLY HURD                                                               PO BOX 125                                                                               RIPLEY          OK      74062-0125
BILLY J & JOYCE L GAZAWAY                                                309 W 26TH AVE                                                                           STILLWATER      OK      74074-6913
BILLY J ELLINGTON                                                        PO BOX 491                                                                               PAWNEE          OK      74058
BILLY J HUFFER & SUE HUFFER REV TR                                       PO BOX 258                                                                               HARRAH          OK      73045
BILLY J JEZEK REV TRUST                                                  4609 PROVENCIA DR                                                                        ARCADIA         OK      73007
BILLY J WATKINS                                                          107 STOVERS POINT RD                                                                     HARPSWELL       ME      04079
BILLY JACK SHARBER OPERATING &                                           PO BOX 71                                                                                KONAWA          OK      74849-0071
BILLY JACK SHARBER OPERATING LLC                                         PO BOX 71                                                                                KONAWA          OK      74849-0071
BILLY JOE HUMAN                                                          4201 E 44TH ST                                                                           STILLWATER      OK      74074
BILLY JOE HUMAN & JEAN HUMAN HWJT                                        4201 E 44TH ST                                                                           STILLWATER      OK      74074
BILLY KAUTZ                                                              136 E PLATT DRIVE                                                                        YUKON           OK      73099
BILLY KAY                                                                9216 E 68TH ST                                                                           STILLWATER      OK      74074
BILLY KEITH                                                              24251 CR 170                                                                             PERRY           OK      73077
BILLY KIOUS                                                              638 E MAPLE AVE                                                                          ENID            OK      73701-4245
BILLY KNOX                                                               4208 NW 178TH STR                                                                        EDMOND          OK      73003
BILLY LEON & DONNA MAXINE CRABTREE                                       809 N CHISHOLM WAY                                                                       MUSTANG         OK      73064
BILLY LEON CRABTREE                                                      809 N CHISHOLM WAY                                                                       MUSTANG         OK      73064
BILLY MACK PALMER 1999 TR                                                204 HOUSTON ST                                                                           LEVELLAND       TX      79336
BILLY MCGINTY                                                            PO BOX 111                                                                               GLENCOE         OK      74032
BILLY MELSON                                                             705 ARIZONA ASH                                                                          SAN ANTONIO     TX      78232
                                                                                                                       9211 Lake Hefner
Billy Parker                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Billy Parker                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston         TX      77006
Billy Parker                                                             237 E. Young Pl                                                                          Tulsa           OK      74106
BILLY POWELL                                                             PO Box 335                                                                               AGRA            OK      74824
BILLY POWELL                                                             136 SWAN SEA LN                                                                          MADISON         MS      39110

BILLY R MCDANEL                                                          5900 SOUTH LAKE FOREST DR STE 300                                                        MCKINNEY        TX      75070
BILLY RASMUSSEN                                                          1 WINDSOR CIR                                                                            STILLWATER      OK      74074


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               CreditorName               CreditorNoticeName                         Address1                            Address2                  Address3            City    State       Zip      Country
BILLY RENISON                                                         101 RINE PLACE                                                                          CLINTON         OK       73601
BILLY RETHERFORD                                                      923 N BLAKE AVE                                                                         HYDRO           OK       73048-8422
BILLY ROUNDS                                                          19669 E 855 ROAD                                                                        HAMMON          OK       73650
BILLY SANDERS                                                         PO BOX 665                                                                              PERKINS         OK       74059
BILLY SCHURKENS                                                       PO BOX 68                                                                               PERRY           OK       73077
BILLY SHIPPY                                                          22024 MARKET RD                                                                         PARMA           ID       83660
BILLY SMITH AND SALLY W SMITH JT                                      1111 FAIRLAWN DR                                                                        DUNCANVILLE     TX       75116
BILLY STEWART                                                         206 S 1ST AVE                                                                           FAIRVIEW        OK       73737
BILLY STRIDER                                                         4922 E 9TH AVE                                                                          STILLWATER      OK       74074-8524
BILLY TATE                                                            313 S W 13TH ST                                                                         ANDREWS         TX       79714
BILLY TURNER                                                          11617 W 68TH ST                                                                         COYLE           OK       73027-6402
BILLY YOUNG                                                           3205 S GREEN VALLEY DR                                                                  STILLWATER      OK       74074-7028
                                                                                                                    9211 Lake Hefner
Billy Fuller                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                   c/o Laminack, Pirtle & Martines,
Billy Fuller                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Billy Fuller                                                          8441 Dilip Drive                                                                        Guthrie         OK       73034
                                                                                                                    9211 Lake Hefner
Billy Tubbs                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                   c/o Laminack, Pirtle & Martines,
Billy Tubbs                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Billy Tubbs                                                           5000 Judy Dr                                                                            Del City        OK       73115
Billye Denny                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX       75070
Billye Denny                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK       74104
Billye Denny                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY       10017
Billye Denny                                                          300 W. 5th St                                                                           Blackburn       OK       74058
BILLYE GOLDING                                                        491 CLINTON ST #116                                                                     CARLYLE         IL       62231
BILMER COMPANY INC                                                    5801 BROADWAY EXT STE 101                                                               OKLAHOMA CITY   OK       73118
BIRD 2000 LIMITED PARTNERSHIP                                         640 TAYLOR STREET SUITE 2400                                                            FORT WORTH      TX       76102
BIRD EQUIPMENT LLC                                                    PO BOX 732682                                                                           DALLAS          TX       75373-2682
BIRDIE OIL & GAS LLC                                                  882 CHOCTAW RD                                                                          SUNSET          LA       70584
                                                                                                                    9211 Lake Hefner
Birlene Langley                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                   c/o Laminack, Pirtle & Martines,
Birlene Langley                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Birlene Langley                                                       115 Eldridge Ave                                                                        Luther          OK       73054
BIRMINGHAM CORPORATION                                                1500 WEST EDMOND ROAD                                                                   EDMOND          OK       73003
BISON ENERGY CORPORATION                                              9320 E CENTRAL                                                                          WICHITA         KS       67206
BISON OILFIELD SERVICES LLC                                           PO BOX 248819                                                                           OKLAHOMA CITY   OK       73124-8819
BISWAS COMMERCIAL VENTURES                                            5908 WOODWIND DR                                                                        PLANO           TX       75093-8594
BIXBY PROPERTIES LLC                                                  6 E BRECKENRIDGE RD                                                                     BIXBY           OK       74008
BJ OILFIELD SERVICE LLC                                               PO BOX 2281                                                                             SEMINOLE        OK       74818
BJOG LLC                                                              5905 S NEW HAVEN AVE                                                                    TULSA           OK       74135-7819
BK COOK FAMILY LP                                                     PO BOX 624                                                                              CORSICANA       TX       75151
BK RED DIRT FARMERS LLC                                               62 VALLEY VIEW HILLS                                                                    BARNSDALL       OK       74002
BK ROYALTY JOINT VENTURE                                              PO BOX 3579                                                                             MIDLAND         TX       79702
BKA LLC                                                               2729 FLORIDA AVE                                                                        GUTHRIE         OK       73044
BKG RESOURCES LLC                                                     3730 S FLORENCE PL                                                                      TULSA           OK       74105-3629
BKP LLC                                                               6017 MUIRFIELD DR                                                                       EDMOND          OK       73025
BKRK INVESTMENTS LTD                                                  PO BOX 795756                                                                           DALLAS          TX       75379
BLACK DIAMOND INVESTMENTS LLC                                         PO BOX 7662                                                                             SHREVEPORT      LA       71137
BLACK DIAMOND LAND RESOURCES LLC                                      501 NEWPORT BRIDGE DR                                                                   EDMOND          OK       73034
BLACK DIAMOND OIL COMPANY                                             PO BOX 1722                                                                             TULSA           OK       74101-1722
BLACK FAMILY LLC                                                      7312 N MACARTHUR BLVD                                                                   OKLAHOMA CITY   OK       73132-5728
BLACK FAMILY REVOCABLE TRUST                                          3724 TIMBERLINE DR                                                                      STILLWATER      OK       74074-9222
BLACK FISH ENERGY LLC                                                 PO BOX 3103                                                                             OKLAHOMA CITY   OK       73101
BLACK GOLD GROUP LIMITED LLC                                          PO BOX 85                                                                               STRASBURG       OH       44680-0085
BLACK GOLD LOGISTICS CORP                                             150 EAGLE AVE # 4                                                                       FAIRBANKS       AK       99701-3400
BLACK GOLD PUBLISHING CORP                                            PO BOX 1866                                                                             OKLAHOMA CITY   OK       73101-1866


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BLACK GOLD RENTAL TOOLS INC                                           PO BOX 9531                                                                        CORPUS CHRISTI        TX      78469
BLACK GOLD SPOOLING & BANDING LLC                                     34450 N 4000 RD                                                                    Ramona                OK      74061
BLACK HAWK ROYALTY III LP                                             7045 NORTH HIGHWAY 81                                                              DUNCAN                OK      73533
BLACK HAWK SERVICES LLC                                               PO BOX 443                                                                         COALGATE              OK      74538-0443
BLACK JACK LLC                                                        2312 LAKEVIEW DRIVE                                                                WOODWARD              OK      73801
BLACK MAGIC 1 LLC                                                     1720 S BELLAIRE ST SUITE 1209                                                      DENVER                CO      80222
BLACK MARLIN ENERGY LLC                                               PO BOX 13540                                                                       OKLAHOMA CITY         OK      73113
BLACK OIL & GAS LLC                                                   43871 WILLISON RUN RD                                                              WOODSFIELD            OH      43793
BLACK OIL INC                                                         PO BOX 1142                                                                        NORMAN                OK      73070
BLACK OIL LLC                                                         PO BOX 1142                                                                        NORMAN                OK      73070-1142
BLACK OIL LLC LIFE ESTATE                                             PO BOX 1142                                                                        NORMAN                OK      73070-1142
BLACK PROPERTIES LLC                                                  3724 TIMBERLINE DR                                                                 STILLWATER            OK      74074-9222
BLACK ROCK LLC                                                        520 FOSTER RD                                                                      GUTHRIE               OK      73044
BLACK SAND MINERALS LLC                                               1616 E 19TH STREET SUITE 405                                                       EDMOND                OK      73013
BLACK SHALE MINERALS LLC                                              PO BOX 2243                                                                        LONGVIEW              TX      75606
BLACK SKY HOLDINGS LLC                                                PO BOX 5825                                                                        EDMOND                OK      73083
BLACK STONE ENERGY COMPANY LLC                                        PO BOX 4346                                                                        HOUSTON               TX      77210-4346
BLACK STONE MINERAL COMPANY LP                                        1001 FANNIN, SUITE 2020                                                            HOUSTON               TX      77002
BLACK STONE MINERALS COMPANY LLC                                      1001 FANNIN ST STE 2020                                                            HOUSTON               TX      77002-6715
BLACK STONE MINERALS COMPANY LP                                       PO BOX 301267                                                                      DALLAS                TX      75303-1267
BLACK STONE NATURAL RESOURCES I LP                                    1001 FANNIN SUITE # 2020                                                           HOUSTON               TX      77002
Black, Galyn                          c/o White Star Petroleum, LLC   301 NW 63rd St                                Ste 600                              Oklahoma City         OK      73116
BLACKBIRD PRODUCTION LLC                                              PO BOX 21753                                                                       OKLAHOMA CITY         OK      73156
BLACKCAT OIL COMPANY                                                  PO BOX 286                                                                         MANNFORD              OK      74044
BLACKHAWK DATACOM                                                     100 ENTERPRISE BLVD                                                                LAFAYETTE             LA      70506-9211
BLACKHAWK OPERATING SERIES LLC                                        PO BOX 31046                                                                       EDMOND                OK      73003
BLACKHAWK RESOURCES LLP                                               PO BOX 31046                                                                       EDMOND                OK      73003
BLACKHAWK SPECIALTY TOOLS LLC                                         PO BOX 95357                                                                       GRAPEVINE             TX      76099-9733
BLACKHAWK WIRELINE SERVICES INC                                       PO BOX 640                                                                         PAULS VALLEY          OK      73075-0640
BLACKHORSE MARKETING LLC                                              PO BOX 5                                                                           CHICKASHA             OK      73023-0005
BLACKJACK ROYALTY PARTNERSHIP                                         PO BOX 587                                                                         MARLOW                OK      73055
BLACKROCK ROYALTY LLC                                                 PO BOX 703050                                                                      TULSA                 OK      74170-3050
BLACKSTONE HOLDINGS LLC                                               110 W 7TH ST #210                                                                  TULSA                 OK      74119
BLAINE JOHNER                                                         45 SALDANA WAY                                                                     HOT SPRINGS VILLAGE   AR      71909
BLAINE STEINBERG                                                      5602 TWIN BROOKS DR                                                                DALLAS                TX      75252
BLAINE TOBIN                                                          123 MISSION HILLS DR                                                               GUTHRIE               OK      73044-9556
BLAIR BRADLEY                                                         2800 NW 67TH ST                                                                    OKLAHOMA CITY         OK      73116
BLAIR FAMILY TRUST                                                    9119 S FRANKLIN STREET                                                             PERKINS               OK      74059
BLAIR FAMILY TRUST                                                    4625 W SADDLEHORN RD                                                               PHOENIX               AZ      85083
BLAKE CASSELS & GRAYDON LLP                                           199 BAY STREET SUITE 400                                                           TORONTO               ON      M5L 1A9      CANADA
BLAKE E MOORES LLC                                                    840 CYPRESS LAKES BLVD                                                             TARPON SPRINGS        FL      34688-7302
BLAKE MITCHELL                                                        PO BOX 385                                                                         GUTHRIE               OK      73044
BLAKE PRODUCTION COMPANY                                              1601 NW EXPRESSWAY STE 777                                                         OKLAHOMA CITY         OK      73118-1446

BLAKE PROPERTIES REVOCABLE TRUST DT                                   PO BOX 258850                                                                      OKLAHOMA CITY         OK      73125
BLAKE STOREY MARTINDALE                                               4231 LOMO ALTO COURT                                                               DALLAS                TX      75219
BLAKE TRUCKING LLC                                                    22198 JAMATT RD                                                                    POTEAU                OK      74953-8733
BLAKE WEBSTER                                                         8027 NW 18TH ST                                                                    OKLAHOMA CITY         OK      73127-1123
BLAKELY BERRY                                                         1131 NW 38TH ST                                                                    OKLAHOMA CITY         OK      73118-5423

BLAKELY M MURPHY (DECD) TESTAMENTAR                                   16854 E 150TH ST                                                                   ORION                 IL      61273-9126
BLAKELY M MURPHY TRST                                                 16854 E 150TH ST                                                                   ORION                 IL      61273-9126
BLAKLEY FARMS LLC                                                     12555 MANCHESTER RD                                                                ST LOUIS              MO      63131
BLALOCK PROPERTIES LLC                                                PO BOX 900                                                                         JONES                 OK      73049-0900
BLANCHE EARL                                                          5601 BETHEL PIKE                                                                   MUNCIE                ID      47302
BLANCHE EDITH LADNER ESTATE                                           7134 S YALE STE 300                                                                TULSA                 OK      74136
                                                                                                                    9211 Lake Hefner
Blanche Evakich                       c/o Atkins & Markoff            Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104        Oklahoma City         OK      73120



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                                     c/o Laminack, Pirtle & Martines,
Blanche Evakich                      LLP                                Attn: Richard N Laminack             5020 Montrose Blvd   9th Fl              Houston            TX      77006
Blanche Evakich                                                         11512 Chisholm Trail                                                          Oklahoma City      OK      73114
BLANE EDWARD BOYER                                                      3307 East 3rd Avenue                                                          STILLWATER         OK      74074
BLANKENSHIP MINERAL PROPERTIES LLC                                      PO BOX 12698                                                                  OKLAHOMA CITY      OK      73157-2698
BLANKINSHIP FAMILY REV TRUST                                            921 S PLEASANT VALLEY ROAD                                                    ORLANDO            OK      73073
BLANKINSHIP FAMILY REVOCABLE TRUST                                      921 S PLEASANT VALLEY ROAD                                                    ORLANDO            OK      73073
BLASCO LLC                                                              6235 SAVANNAH WAY                                                             COLORADO SPRINGS   CO      80919
BLAYNE MAYFIELD                                                         515 NORTH JARDOT RD                                                           STILLWATER         OK      74075
BLENDA MINSHALL                                                         7745 EAST GREENS AVE                                                          BIXBY              OK      74008
BLEVINS OIL & GAS LLC                                                   10918 S 77TH E AVENUE                                                         TULSA              OK      74133-7175
B-LINE TRUCKING                                                         PO BOX 854                                                                    Perry              OK      73077
B-LINE TRUCKING INC.                                                    PO BOX 854                                                                    PERRY              OK      73077
BLISS MCCORD                                                            902 MALVERN AVE                                                               BALTIMORE          MD      21204-6712
BLOOMBERG FINANCE LP                                                    PO BOX 416604                                                                 BOSTON             MA      02241-6604
BLOWOUT TOOLS INC                                                       PO BOX 62600                                                                  NEW ORLEANS        LA      70162-2600
BLUE CHIP ROYALTY PARTNERSHIP                                           PO BOX 587                                                                    MARLOW             OK      73055
                                     HEALTH CARE SERVICE
BLUE CROSS BLUE SHIELD OF OKLAHOMA   CORPORATION                                                                                                      DALLAS             TX      75373-1428
BLUE DOLPHIN ENERGY LLC                                                 13120 N MACARTHUR BLVD                                                        OKLAHOMA CITY      OK      73142
BLUE DOLPHIN PRODUCTION LLC                                             13120 N MACARTHUR BLVD                                                        OKLAHOMA CITY      OK      73142
BLUE DOLPHIN PRODUCTION LLC (OBO)                                       13120 N MACARTHUR BLVD                                                        OKLAHOMA CITY      OK      73142
BLUE DOT ENERGY SERVICES                                                1400 CORPORATE CENTER WAY                                                     WELLINGTON         FL      33414
BLUE LION ENTERPRISES LLC                                               730 17TH ST STE 610                                                           DENVER             CO      80202-3529
BLUE MARBLE GEOGRAPHICS                                                 22 CARRIAGE LN                                                                HALLOWELL          ME      04347-3052
BLUE MOUNTAIN ENERGY LLC                                                2525 NW 67TH STREET                                                           OKLAHOMA CITY      OK      73116
BLUE MOUNTAIN EXPLORATION LLC                                           3030 NW EXPRESSWAY SUITE 200                                                  OKLAHOMA CITY      OK      73112
BLUE MTN EXPLORATION , LLC                                              15502 MAUNA LOA LANE                                                          HOUSTON            TX      77040
BLUE OX PARTNERS LLC                                                    1123 SOUTH HURON STREET UNIT V                                                DENVER             CO      80223
BLUE RACER MIDSTREAM LLC                                                5949 SHERRY LN STE 1300                                                       DALLAS             TX      75225-8036
BLUE RIBBON CONSTRUCTION                                                PO BOX 30057                                                                  EDMOND             OK      73003
BLUE RIVER MINERALS LLC                                                 PO BOX 1053                                                                   ARDMORE            OK      73402
BLUE STAR ACID SERVICE INC.                                             PO BOX 278                                                                    DEPEW              OK      74028
BLUE STAR GAS CORP                                                      PO BOX 720894                                                                 NORMAN             OK      73070-4694
BLUE TETON LLC                                                          109 N 6TH ST                                                                  FORT SMITH         AR      72901
BLUEBIRD GAS COMPANY INC                                                PO BOX 3664                                                                   TULSA              OK      74101-3664
BLUECABLE NETWORX LLC                                                   145 BUENA VISTA BLVD                                                          WASHINGTON         UT      84780-1783
BLUEKNIGHT ENERGY PARTNERS                                              PO BOX 205104                                                                 DALLAS             TX      75320-5104
BLUESNAP INC                                                            800 SOUTH ST STE 640                                                          WALTHAM            ME      02453
BLUFORD W MILLER III AND                                                2302 W RANDALL AVE                                                            DUNCAN             OK      73533-1530

BLX INC                                                                 1800 CANYON PARK CIRCLE SUITE 401                                             EDMOND             OK      73013
BMH LLC                                                                 8417 W OWEN K GARRIOTT                                                        ENID               OK      73073
BMIG LLC                                                                PO BOX 1128                                                                   HUFFMAN            TX      77336-1128
BMNW RESOURCES LLC                                                      PO BOX 180573                                                                 DALLAS             TX      75218
BMO NESBITT BURNS                                                       3200, 525 8th AVE SW                                                          CALGARY            AB      T2P 1G1      CANADA
BMV INVESTMENTS LLC                                                     PO BOX 1688                                                                   ARDMORE            OK      73402-1688
BNA                                                                     PO BOX 17009                                                                  BALTIMORE          MD      21297-1009
BNSF RAILWAY COMPANY                                                    PO BOX 676167                                                                 DALLAS             TX      75267-6167
BNW INC.                                                                PO BOX 892044                                                                 OKLAHOMA CITY      OK      73189
BO MC ENTERPRISES LLC                                                   PO BOX 1765                                                                   ENID               OK      73702-1765
BO STARKS                            c/o White Star Petroleum, LLC      301 NW 63rd St                       Ste 600                                  Oklahoma City      OK      73116
BOA MIDLAND ACQUISITION LP                                              400 W ILLINOIS AVE STE 1630                                                   MIDLAND            TX      79701-4310
BOARD OF COUNTY COMMISSIONERS                                           100 W BROADWAY AVE 101                                                        ENID               OK      73701
BOARD OF COUNTY COMMISSIONERS                                           301 E HARRISON                                                                GUTHRIE            OK      73044
BOARD OF COUNTY COMMISSIONERS                                           300 COURTHOUSE DR BOX 1                                                       PERRY              OK      73077
BOARD OF COUNTY COMMISSIONERS                                           315 W 6TH STE 203                                                             STILLWATER         OK      74075
BOARD OF DIRECTORS OF SCHOOL                                            PO BOX 499                                                                    NOBLE              OK      73068
BOARD OF EDUCATION OF PERKINS                                           PO BOX 549                                                                    PERKINS            OK      74059


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BOARD OF REGENTS OK AGRICULTURAL                                         204 N ROBINSONSTE 900                                                                  OKLAHOMA CITY   OK      73102-6806
BOARD OF REGENTS OK AGRICULTURAL                                         PO BOX 248896                                                                          OKLAHOMA CITY   OK      73124-8896
BOB & DARLENE DIERBERGER REV TR 423                                      3321 E 4TH AVE                                                                         STILLWATER      OK      74074
BOB BIEBERDORF                                                           200 S WILCOX ST #151                                                                   CASTLEROCK      CO      80104
BOB BLACKBURN                                                            PO BOX 971                                                                             SUBLETT         KS      67877
BOB BURNHAM                                                              209 SOUTH COLLEGE STREET                                                               MOUNTAIN HOME   AR      72653
BOB GIGER                                                                117 N SAMPSON                                                                          WATONGA         OK      73772
BOB HANCOCK & NITA HANCOCK TR                                            6 NE 63 ST STE 425                                                                     OKLAHOMA CITY   OK      73105
BOB HARMON                                                               14042 S 209TH WEST AVE                                                                 KELLYVILLE      OK      74039-3606
BOB HIGHTOWER                                                            PO BOX 808                                                                             MEEKER          OK      74855-0808
BOB HOLMES                                                               19151 HYW 80                                                                           HULBERT         OK      74441
                                                                                                                       9211 Lake Hefner
Bob Hubbard                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Bob Hubbard                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Bob Hubbard                                                              308 S Cleveland                                                                        Cushing         OK      74023
BOB JONES                                                                ROUTE 1, BOX 8                                                                         PUTNAM          OK      73659
BOB L BARNES TRUST                                                       3202 LIVE OAK LN                                                                       STILLWATER      OK      74075
BOB L PAYNE ESTATE                                                       612 S PROUTY AVE                                                                       WATONGA         OK      73772
BOB MOORE AUTO GROUP                                                     100 N ROBINSON, SUITE 820                                                              OKLAHOMA CITY   OK      73102
BOB PORTMAN                                                              3224 ROCK HOLLOW RD                                                                    OKLAHOMA CITY   OK      73120-1928
BOB SILVERS                                                              5713 S PERKINS RD                                                                      STILLWATER      OK      74074
BOB STORY                                                                PO BOX 345                                                                             PERKINS         OK      74059
BOB THOMPSON                                                             19227 E OCOTILLO RD                                                                    QUEEN CREEK     AZ      85142-4099
BOBBE GRAY                                                               PO BOX 1671                                                                            STILLWATER      OK      74076-1671
BOBBE JEAN HUSTON                                                        1509 S FAIRWAY DRIVE                                                                   STILLWATER      OK      74074
BOBBI STEER                                                              618 PAOPUA LOOP                                                                        KAILUA          HI      96734-3534
BOBBIE                                                                   5713 S PERKINS RD                                                                      STILLWATER      OK      74074-8246
BOBBIE AND EVELYN GRAVES JT                                              4916 S MEHAN RD                                                                        RIPLEY          OK      74062-6274
BOBBIE DAUGHERTY                                                         2827 W MOORE RD                                                                        TUSCON          AZ      85755
BOBBIE F HENNEKE & KAREN M HENNEKE                                       16 VILLA CHRISTINA                                                                     LA LUZ          NM      88337
BOBBIE FLOWER OVERMAN                                                    1216 3RD AVE E                                                                         ARDMORE         OK      73401
BOBBIE GWEN URI                                                          1000 GETTYSVUE DR                                                                      KNOXVILLE       TN      37922
BOBBIE J EPLEY REV. LIVING TRUST BO                                      543 FAITH HILL ROAD                                                                    WILSON          OK      73463
                                                                                                                       9211 Lake Hefner
Bobbie L. Ruff                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Bobbie L. Ruff                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Bobbie L. Ruff                                                           4346 N. Frankfort Ave                                                                  Tulsa           OK      74106
BOBBIE LEE ELLIS AND SHERRLYN LOUIS                                      2317 FAULT LINE DR                                                                     HORSESHOE BAY   TX      78657-5790
BOBBIE MEINECKE                                                          2233 N DOROTHY AVE                                                                     SHAWNEE         OK      74804
BOBBIE SUE BOWER                                                         24900 COUNTY RD 140                                                                    PERRY           OK      73077
                                                                                                                       9211 Lake Hefner
Bobbie Horne                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Bobbie Horne                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Bobbie Horne                                                             205 NE 16th St                                                                         Oklahoma City   OK      73104
BOBBY AND KARIN DREW JT                                                  1707 FAIRWAY DR                                                                        PERKINS         OK      74059-4114

BOBBY BILLINGSLEY                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
BOBBY BRUCE                                                              319 E 16TH ST                                                                          STILLWATER      OK      74074
BOBBY BUSSARD                                                            705 N 6TH ST                                                                           KINGFISHER      OK      73750
BOBBY CARMACK                                                            236 S CLIFF PLACE                                                                      SPRING CREEK    NV      89815

BOBBY D LEACH                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
                                                                                                                       9211 Lake Hefner
Bobby D. Hinkle                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Bobby D. Hinkle                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006


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Bobby D. Hinkle                                                          3500 N. Broadway                                                                       Edmond          OK      73034
BOBBY DARNELL                                                            2250 NW 39TH ST                                                                        OKLAHOMA CITY   OK      73112
BOBBY DAWSON                                                             605 GATEWAY CENTRAL #104                                                               MARBLE FALLS    TX      78654
BOBBY DODSON                                                             3133 N. 81ST AVENUE                                                                    PHOENIX         AZ      85033-4705
BOBBY ELLIOTT                                                            708 BARKER ROAD                                                                        CLINTON         OK      73601
BOBBY ERWIN                                                              8002 BROOKGREEN RD                                                                     DOWNEY          CA      90240
BOBBY ETCHISON                                                           PO BOX 1300                                                                            MCALLEN         TX      78505
BOBBY EWY                                                                22400 CR 170                                                                           PERRY           OK      73077
                                                                                                                       9211 Lake Hefner
Bobby Farley                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Bobby Farley                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Bobby Farley                                                             410 1/2 E Cherry                                                                       Cushing         OK      74023
BOBBY FLOWERS                                                            1324 FALLS DR                                                                          STILLWATER      OK      74075
BOBBY FORD                                                               19328 E 670 RD                                                                         TAHLEQUAH       OK      74464
BOBBY G WEST TRST                                                        1412 S SURREY DR                                                                       STILLWATER      OK      74074-1846
BOBBY GASS                                                               3310 East 4th Avenue                                                                   STILLWATER      OK      74074
BOBBY GENE BUCKLES JR                                                    2646 NORTH 2710 WEST                                                                   CLINTON         OK      84015
BOBBY GOSSETT                                                            252 CR 308                                                                             DE BERRY        TX      75639
BOBBY GUNKEL                                                             4565 RAINBOW LAKE DR                                                                   GUTHRIE         OK      73044-7329
BOBBY HART                                                               122 BRIARWOOD ST                                                                       MOORE           OK      73160
BOBBY HAWKINS                                                            1303 E KATY LN                                                                         HOBBS           NM      88240
BOBBY J KEE & MARY L KEE REV LIV TR                                      2004 BRIARCREEK CT                                                                     PLANO           TX      75074-4638
BOBBY LEWIS                                                              1500 PRAIRE HEIGHTS                                                                    BARTLESVILLE    OK      74006
BOBBY MARLENA EDWARDS JT                                                 1909 S ROSE RD                                                                         STILLWATER      OK      74074-7064
BOBBY METZLER                                                            ROUTE 1, BOX C 3                                                                       LEEDEY          OK      73654
BOBBY NOVOTNY                                                            13601 JOHN WAYNE                                                                       PERRY           OK      73077
BOBBY RAY TAYLOR TRUST 1/24/1997                                         2538 SOUTHERN AVE                                                                      KINGMAN         AZ      86401
BOBBY RITTER                                                             5304 E VFW RD                                                                          GLENCOE         OK      74032
BOBBY SHIPPY                                                             28554 HWY 81                                                                           PARMA           ID      83660
BOBBY W NOYES, SEPARATE PROPERTY                                         1617 JULIE PLACE                                                                       OKLAHOMA CITY   OK      73127
BOBBY WOLFF                                                              1301 E RODGERS                                                                         EL RENO         OK      73036
BOBBY YOUNT                                                              9346 PLATINUM LN                                                                       BURNEYVILLE     OK      73430-6601
BOBBYE N WILLIAMS                                                        310 WEST 5TH STREET                                                                    HAYESVILLE      KS      67060
BOBBYE THOMAS                                                            11309 QUAIL CREEK ROAD                                                                 OKLAHOMA CITY   OK      73120
BODARD MINERALS LLC                                                      3701 N HARRISON ST                                                                     SHAWNEE         OK      74804
BODE FAM TR                                                              15723 W 44TH ST                                                                        MULHALL         OK      73063-2903
BODMAN OIL & GAS LLC                                                     300 CARNEGIE CENTER STE 200                                                            PRINCETON       NJ      99999
BOGO ENERGY CP                                                           13933 QUAIL POINTE DR                                                                  OKLAHOMA CITY   OK      73134
BOHEMIAN CATHOLIC CEMETERY                                               431 ELM                                                                                PERRY           OK      73077
BOKF PETRO HOLDING LLC                                                   2525 KELL BOULEVARD                                                                    WICHITA FALLS   TX      76308
BOLDRICK FAMILY PROPERTIES LP                                            PO BOX 10648                                                                           MIDLAND         TX      79702
Bolton, Jonathan                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
Bolton, Taylor                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
BO-MC RESOURCES CP                                                       PO BOX 1765                                                                            ENID            OK      73702
BOND COMPANY                                                             325 N ST PAUL STE 2520                                                                 DALLAS          TX      75201
BONDS RANCH INVESTORS LTD                                                2221 W BASELINE RD STE 101                                                             TEMPE           AZ      85283
BONITA GREENE                                                            2223 STEELE AVE                                                                        BAKERSFIELD     CA      93307
                                                                                                                       9211 Lake Hefner
Bonita K Thompson                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Bonita K Thompson                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Bonita K Thompson                                                        6331 E. 7th St                                                                         Tulsa           OK      74112
BONNA GARDON                                                             7090 W 80TH PL                                                                         ARVADA          CO      80003
BONNEY MINERALS CO LLC                                                   300 BANCFIRST BLDG                                                                     DUNCAN          OK      73533
BONNIE B WELLS TRUST                                                     5320 W TEXACO RD                                                                       CUSHING         OK      74023-5916
BONNIE BELL POINDEXTER                                                   12310 BOHANNON BLVD                                                                    ORALNDO         FL      32824-6093
BONNIE BLUMER                                                            1021 W MOORE AVE                                                                       STILLWATER      OK      74075-2753
BONNIE BUCHANAN                                                          350651 E 5100 RD                                                                       PAWNEE          OK      74058-3832


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BONNIE BUCKLES                                                         1201 FAIRFIELD RD                                                                       LAYTON          UT      84041
BONNIE BULLEN                                                          1633 W PLYMOUTH ST                                                                      BROKEN ARROW    OK      74012-0461
BONNIE BULLEN TR                                                       PO BOX 1588                                                                             TULSA           OK      74101
BONNIE BUSSARD                                                         23001 N DOUGLAS BLVD                                                                    ORLANDO         OK      73073-4510
BONNIE COLLINS                                                         14416 N COUNTY LINE RD                                                                  YUKON           OK      73099
BONNIE DAVENPORT                                                       35172 E 120                                                                             EARLSBORO       OK      74840-8602
BONNIE DEAN                                                            19402 BEMERTON LN                                                                       SPRING          TX      77388
BONNIE FAY BAIRD                                                       2914 S JOPLIN AVE                                                                       TULSA           OK      74114
BONNIE FOWLER                                                          5044 MURCHIO DR                                                                         CONCORD         CA      94521
BONNIE FRANKLIN                                                        1012 NW 35TH                                                                            OKLAHOMA CITY   OK      73118
BONNIE FRASER                                                          400 GILKEY RDAPT 114                                                                    BURLINGTON      WA      98233
BONNIE GARNER VANDERWORK                                               1820 RYAN                                                                               WEATHERFORD     OK      73096
BONNIE GARTON LE                                                       20150 SUMNER DR                                                                         PERRY           OK      73077
BONNIE GRASSIE                                                         PO BOX 144                                                                              DEXTER          NM      88230-0144
BONNIE HARDWICK                                                        311 S MIDDLE AVE                                                                        CORDELL         OK      73632
BONNIE HARGENS                                                         8086 NW 40TH ST                                                                         LINCOLN         NE      68524
BONNIE HARRIS                                                          19097 OAK ST                                                                            APPLE VALLEY    CA      92308-4966
BONNIE HAYES                                                           14794 HIGHWAY AA                                                                        BUCYRUS         MO      65444-8104
BONNIE JAMES                                                           4511 FLORA ST                                                                           MONTCLAIR       CA      91763
BONNIE JONES                                                           18753 COUNTY ROAD 1100                                                                  FLINT           TX      75762
Bonnie Koger                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Bonnie Koger                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Bonnie Koger                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Bonnie Koger                                                           46101 Koger Dr                                                                          Ralston         OK      74650
                                                                                                                     9211 Lake Hefner
Bonnie L. Anderson                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Bonnie L. Anderson                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Bonnie L. Anderson                                                     9508 E. 114th St North                                                                  Owasso          OK      74055
BONNIE LANGSTON                                                        201 S NEVADA                                                                            MONTRISE        CO      81401
BONNIE LOGSDON                                                         4909 BATH PLACE                                                                         NEWARK          CA      94560
BONNIE LOU OSBORNE                                                     19 MEADOWHAWK PL                                                                        CONROE          TX      77384
BONNIE LOVELESS                                                        316 N 3RD ST                                                                            STERLING        KS      67579-1928
BONNIE MCCOY HEATH III                                                 7145 NW 125TH ST ROAD                                                                   REDDICK         FL      32686
BONNIE PENNY                                                           3104 WOODCREST DRIVE                                                                    NORMAN          OK      73071
BONNIE SACK                                                            2235 NE 74TH ST                                                                         MERIDEN         KS      66512
BONNIE VANDEVEER                                                       2741 MEADOWOOD DR                                                                       SLAUGHTER       LA      70777-3318
BONNIE VANLANDINGHAM                                                   PO BOX 617                                                                              KERMAN          CA      93630
BONNIE WILLIAMS                                                        5413 W 9TH ST                                                                           CUSHING         OK      74023-5801
BONRAY INC                                                             929 EAST BRITTON ROAD                                                                   OKLAHOMA CITY   OK      73114-7802
BOOGIE TRUCKING LLC                                                    PO BOX 234                                                                              PERKINS         OK      74059
Bookwalter, Jennifer                c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City   OK      73116
BOOM TEST LLC                                                          PO BOX 827                                                                              WOODWARD        OK      73802

BOOMERANG TRUCKING                  AND DIVERSIFIED LENDERS INC                                                                                                LUBBOCK         TX      79493-6565
BOOTS AND COMPANY RANCH LLC                                            806 GENE AUTRY RD                                                                       ARDMORE         OK      73401-1395
BOP RAM-BLOCK & IRON RENTALS INC                                       PO BOX 872                                                                              WEATHERFORD     OK      73096-0872
Borden, Christin                    c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City   OK      73116
BORETS US INC                                                          PO BOX 301516                                                                           DALLAS          TX      75303-1516
BORRELL TITLE SERVICES                                                 14117 N ROCKWELL AVE, APT 5102                                                          OKLAHOMA CITY   OK      73142
BOSOX ENERGY INVESTMENTS                                               605 WINDING CREEK RD                                                                    YUKON           OK      73099-4463
BOSQUE DISPOSAL SYSTEMS, LLC                                           PO BOX 614                                                                              MERIDIAN        TX      76665
BOSQUE MINERAL LTD                                                     PO BOX 671098                                                                           Dallas          TX      75367
BOSQUE RIVER OPERATING LLC                                             PO BOX 136997                                                                           FORT WORTH      TX      76136
Bostick Services Corporation        Mike Bostick ,President            12700 W Highway 33, Ste. 1                                                              Guthrie         OK      73044-9879
BOSTICK SERVICES CORPORATION                                           PO BOX 536                                                                              CRESCENT        OK      73028-0536
BOTERRA RESOURCES LLC                                                  PO BOX 8462                                                                             EDMOND          OK      73083-8462
BOUNTY MINERALS LLC                                                    777 MAIN ST SUITE 3400                                                                  FORT WORTH      TX      76102
BOURLAND & LEVERICH SUPPLY CO LLC                                      PO BOX 95300                                                                            GRAPEVINE       TX      76099-9752


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Bourne, Zane                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
BOWDON NATURAL RESOURCES LLC                                             401 EDWARDS ST STE 930                                                                 SHREVEPORT        LA      71101-5552
BOWERS RESIDUARY TRUST                                                   PO BOX 1337                                                                            OKLAHOMA CITY     OK      73101-1337
BOWLES RICE LLP                                                          PO BOX 1386                                                                            CHALESTON         WV      25325-1386
BOWSER FAMILY TRUST                                                      2400 ZION PARK                                                                         YUKON             OK      73099
BOYD ABBOTT                                                              PO BOX 121                                                                             GLENCOE           OK      74032
BOYD B CROSSFIELD FAMILY TRUST                                           PO BOX 297                                                                             GUTHRIE           OK      73044-0297
BOYD L CLINE REVOCABLE TRUST                                             1412 MAPLE                                                                             PERRY             OK      73077
BOYLES SUPPLY CO                                                         PO BOX 1361                                                                            PARKERSBURG       WV      26102

BOYNTON OKLAHOMA HISTORICAL SOCIETY                                      PO BOX 313                                                                             BOYNTON           OK      74422
BOYS RANCH TOWN                                                          PO BOX 840350                                                                          DALLAS            TX      75284-0350
BP AMERICA PRODUCTION COMPANY                                            PO BOX 848155                                                                          DALLAS            TX      75284-8155
BP AMERICA PRODUCTION COMPANY                                            PO BOX 848103                                                                          DALLAS            TX      75284-8103
BP OILFIELD SERVICE, LLC                                                 PO BOX 9149                                                                            MINNEAPOLIS       MN      55480-9149
BPML LLC                                                                 18800 OTTER CREEK DR                                                                   EDMOND            OK      73012-4128
BR1011 O&G LLC                                                           40498 PLEASANT RIDGE RD                                                                GRAYSVILLE        OH      45734
BRACEWELL & GIULIANI LLP                                                 PO BOX 848566                                                                          DALLAS            TX      75284-8566
BRACKSIECK HOLDINGS LLC                                                  PO BOX 825                                                                             EDMOND            OK      73083
BRAD BERRONG                                                             PO BOX 268                                                                             WEATHERFORD       OK      73096
BRAD BROWN                                                               2623 EAST SIXTH                                                                        STILLWATER        OK      74074
BRAD BROWNS                                                              2623 EAST SIXTH                                                                        STILLWATER        OK      74074
BRAD HUDSPETH                                                            1207 CENTRAL ST                                                                        LAFAYETTE         IN      47905
BRAD HUMAN                                                               PO BOX 327                                                                             HAZELTON          ID      83335
BRAD LAMBERT                                                             507 EAST 3RD                                                                           CHANDLER          OK      74834
BRAD M VINSON & DALLAS J VINSON HWJ                                      12001 SPORTSMAN DR                                                                     GUTHRIE           OK      73044
BRAD MOON                                                                131389 PARKBROOK WAY LANE                                                              SUGAR LAND        TX      77498
BRAD MOORE                                                               19538 S FALCON DR                                                                      OREGON CITY       OR      97045
BRAD PETERSON                                                            8400 NW 87TH ST                                                                        OKLAHOMA CITY     OK      73132
BRAD SCHAEFER                                                            291 VADEN AVE                                                                          BURLESON          TX      76028
BRAD TAYLOR                                                              25215 CARRICK BEND DR                                                                  SPRING            TX      77389
BRAD VANHOOSER                                                           831 BOB WHITE RD                                                                       TUTTLE            OK      73089
                                                                                                                       9211 Lake Hefner
Brad Harber                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Brad Harber                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Brad Harber                                                              15300 Hickory Ridge Rd                                                                 Newalla           OK      74857
BRADFORD CROWELL                                                         823 N LARAMIE AVE APT 1                                                                CHICAGO           IL      60651
BRADFORD POLLARD                                                         19150 N 2990 RD                                                                        CRESCENT          OK      73028
Bradford, Rose                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
BRADLEE BLEDSOE                                                          53650 EAST 48TH ROAD                                                                   PAWNEE            OK      74058
BRADLEE ETHRIDGE'S                                                       515 S STILES                                                                           CUSHING           OK      74023-6189
BRADLEY ALLEN FERGUSON                                                   1210 KAW                                                                               PERRY             OK      73077
BRADLEY DEAN HEDGES                                                      7923 E. SOUTHGATE RD.                                                                  ENID              OK      73701
BRADLEY EADS                                                             1102 W 80TH ST                                                                         STILLWATER        OK      74074-8187
BRADLEY FAMILY 2013 REV TRUST                                            2001 FAIRCLOUD DR                                                                      EDMOND            OK      73034
BRADLEY FRANCISC                                                         4651 NORTH DESERT STREAM WAY                                                           LITCHFIELD PARK   AZ      85304
BRADLEY GOINS                                                            2202 S HUSBAND ST                                                                      STILLWATER        OK      74074-7116
BRADLEY GUNGOLL                                                          101 PARK AVESTE 1400                                                                   OKLAHOMA CITY     OK      73102
BRADLEY H BEIER                                                          838 FOX ROAD                                                                           CLIFTON           KS      66937
BRADLEY KENT LOESCH LIFE ESTATE                                          PO DRAWER M                                                                            COVINGTON         OK      73730
                                                                                                                       9211 Lake Hefner
Bradley Klar                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Bradley Klar                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Bradley Klar                                                             9269 E. 7th St                                                                         Tulsa             OK      74112
BRADLEY LOESCH                                                           PO DRAWER M                                                                            COVINGTON         OK      73730
BRADLEY MEYERS                                                           1420 S NORFOLK                                                                         CUSHING           OK      74023-8739
BRADLEY PATZKIE                                                          621 SW 3RD ST                                                                          MOORE             OK      73160


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BRADLEY R MEESTER REV TRUST                                              61 HWY 1 S                                                                             MOUNT VERNON       IL       52314
BRADLEY RAMSEY                                                           928 ERINOVA DR                                                                         YUKON              OK       73099
BRADLEY SMITH                                                            6616 NW 25TH ST                                                                        BETHANY            OK       73008-4712
BRADLEY WESTFALL                                                         1514 N E OAKRIDGE DR                                                                   CLAREMORE          OK       74017-1463
BRADLEY ZEEK                                                             928 N CAMERON AVE                                                                      CASA GRANDE        AZ       85122-4110
                                                                                                                       9211 Lake Hefner
Bradley Casper                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Bradley Casper                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Bradley Casper                                                           6501 SE 157th Pl                                                                       Oklahoma City      OK       73165
Bradley, Blair                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK       73116
Bradley, Lindsay                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK       73116
BRADSBY GROUP                                                            1700 BROADWAY                                                                          DENVER             CO       80290
BRADSBY GROUP                                                            1700 BROADWAY STE 1500                                                                 DENVER             CO       80290
BRADSTREET PROPERTIES INC                                                11101 W MEMORIAL RD                                                                    YUKON              OK       73099
BRADY CLARK                                                              8008 RUSHING SPRING DR                                                                 N RICHLAND HILLS   TX       76182
BRADY FAMILY BUFFALO BASIN TRUST DT                                      22150 CR 170                                                                           PERRY              OK       73077
BRADY WELDING&MACHINE SHOP INC                                           PO BOX 788                                                                             HEALDTON           OK       73438
BRAEDEN DAVIS                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK       73116
BRAIN ELLIS RENEGAR                                                      1550 S MAIN                                                                            MCALESTER          OK       74501
BRAMLETT CORPORATION                                                     PO BOX 10                                                                              MEDFORD            OK       73759
                                      ATTN: FEE PROCESSING
BRANCH BANKING AND TRUST COMPANY      GROUP                                                                                                                     CHARLESTON         WV       25324
BRANDI GATES-FARLEY                                                      4611 E 57TH ST                                                                         TULSA              OK       74135-4313
BRANDI WITHERS                                                           153 SUGAR CREEK                                                                        BUDA               TX       78610
BRANDON BALKMAN                                                          12338 TIMBERLINE DR                                                                    HIGHLAND           UT       84003-8916
BRANDON BARNHART                                                         107 FAIRWAY DR                                                                         PERKINS            OK       74059-4454
BRANDON COLBORN                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK       74074
BRANDON HISE - DECEASED                                                  6210 E 68TH ST                                                                         STILLWATER         OK       74074-6382
BRANDON HO                                                               2681 DRIFTWOOD ST                                                                      HAYWARD            CA       94545
BRANDON HOPSON AND                                                       6201 N HIGHWAY 74TH ST                                                                 CRESCENT           OK       73028
BRANDON JAMES BALKMAN                                                    12338 TIMBERLINE DR                                                                    HIGHLAND           UT       84003-8916
                                                                                                                       9211 Lake Hefner
Brandon K. Thornbrue                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Brandon K. Thornbrue                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Brandon K. Thornbrue                                                     9961 S Bryant                                                                          Guthrie            OK       73034
BRANDON KONTOR                                                           218 CHEROKEE DR                                                                        LOWELL             IN       46356
BRANDON LENQUIST                                                         25057 E 110TH ST                                                                       BROKEN ARROW       OK       74014
BRANDON NELSON BINFORD                                                   2087 ELDERBERRY RD                                                                     GOLDEN             CO       80401
BRANDON REIM                                                             950 N. KINGS ROAD #140                                                                 WEST HOLLYWOOD     CA       90069
BRANDON SCHUBERT                                                         7205 SEMINOLE TER                                                                      WARR ACRES         OK       73132
BRANDON SHARP                                                            14439 N PENNSYLVANIA #30 EAST                                                          OKLAHOMA CITY      OK       73101
BRANDON SWAIM                                                            67771 N 2620 ROAD                                                                      OKEENE             OK       73763
BRANDON T & DUYGU PHILLIPS                                               5011 W 1ST AVE                                                                         STILLWATER         OK       74074-6895
BRANDON YANCEY                                                           5713 SOAPBERRY DR                                                                      KELLER             TX       76244
BRANDT TEMPLE                                                            30 NASSAU DRIVE                                                                        METAIRIE           LA       70005
BRANDT'S TRUCKING L.L.C.                                                 7179 PIN OAK LANE                                                                      BLANCHARD          OK       73010
BRANDY CHASE HUSTON JT                                                   PO BOX 67                                                                              RIPLEY             OK       74062-0067
BRANDY HARMON WARRINER                                                   501 SIOUX ST                                                                           GARBER             OK       73738
BRANDY LYNN SMITH PETERS                                                 1414 PEBBLEWOOD LANE                                                                   WILLIAMSPORT       PA       17701
BRANDY O'MARY                                                            2044 CALICO CIRCLE                                                                     DANDRIDGE          TN       37725-5227
BRANESKY FAMILY TRUST DATED MAY 23                                       4105 NW 144TH STREET                                                                   OKLAHOMA CITY      OK       73134
BRANNON BARTLETT                                                         9242 N 143RD E AVE                                                                     OWASSO             OK       74055
Branson, Chance                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK       74074
BRATTON FAMILY REV TRST                                                  3805 TIMBERLINE DRIVE                                                                  STILLWATER         OK       74074
BRAVO COMPANY LLC                                                        436 NW 164TH ST                                                                        EDMOND             OK       73013
BRAVO CONSTRUCTION INC                                                   PO BOX 874                                                                             WILBURTON          OK       74578
BRAVO ROYALTIES LLC                                                      10334 AURORA CT                                                                        FISHERS            IN       46038


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BRAXTON BURNELL                                                         10201 MALAGUENA LN NE                                                                   ALBUQUERQUE     NM      87111-1745
BREANN RENAE DAHL                                                       PO BOX 254                                                                              MARSHALL        OK      73056
BRECKINRIDGE WIND PROJECT LLC                                           700 UNIVERSE BLVD LAW JB                                                                JUNO BEACH      FL      33408
BREITLING INVESTMENTS LLC                                               PO BOX 30304                                                                            EDMOND          OK      73003-0006

BREITZKE FAMILY TRUST DTD 8-3-1989                                      5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
BRENCO FISHING & RENTAL INC.                                            3010 FALCON CREST                                                                       ENID            OK      73703
BRENDA ADAMS TATE                                                       601 W DOWNING                                                                           TAHLEQUAH       OK      74464
BRENDA CHANDLER                                                         1605 WALNUT ST                                                                          LAGRANDE        OR      97850
                                                                                                                      9211 Lake Hefner
Brenda Clark Patterson               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Brenda Clark Patterson               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Brenda Clark Patterson                                                  1719 N. Little Ave                                                                      Cushing         OK      74023
BRENDA COLVIN                                                           418 PALLADIAN BLVD                                                                      SOUTHLAKE       TX      76092-1291
BRENDA COSS                                                             512 HOLLY                                                                               PRATT           KS      67124
Brenda Crutchfield                   c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Brenda Crutchfield                   c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Brenda Crutchfield                   c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Brenda Crutchfield                                                      10224 Lance Lane                                                                        Sand Springs    OK      74063
BRENDA DEBORD SORENSON                                                  1302 E MAPLE AVE                                                                        STILLWATER      OK      74074
BRENDA ELLIOTT                                                          223 S EDNA DR                                                                           STILLWATER      OK      74075

BRENDA F BOBBITT                                                        5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
BRENDA GAYE TAYLOR                                                      17941 CR 2830                                                                           MABANK          TX      75156
BRENDA GIBSON                                                           660 PELICAN AVE                                                                         MCALESTER       OK      74501
BRENDA GRASSMAN                                                         15411 S 292ND EAST AVE                                                                  COWETA          OK      74429-2151
BRENDA HOLLAND                                                          PO BOX 80                                                                               KERMAN          CA      93630
BRENDA HOLT                                                             414 14TH STREET                                                                         RUPERT          ID      83350
BRENDA JONES BIGGERS                                                    PO BOX 1972                                                                             MANNFORD        OK      74044
BRENDA KELLEY                                                           PO BOX 188                                                                              MULHALL         OK      73063
BRENDA KING                                                             PO BOX 480                                                                              COWETA          OK      74429
BRENDA LAWSON                                                           4304 SYCAMORE LN                                                                        EDMOND          OK      73034
BRENDA LORENZO                                                          285 T L DANIELS LANE                                                                    OLIVE HILL      TN      38475
BRENDA MILLER                                                           1605 E 4TH AVE                                                                          STILLWATER      OK      74074-3971
BRENDA MONAHAN                                                          PO BOX 4021                                                                             GYPSUM          CO      81637-4021
BRENDA NELL RINGER REV TRUST                                            1310 W COUNTY RD 69                                                                     MULHALL         OK      73063
BRENDA NIVENS                                                           8168 E CR 71                                                                            COYLE           OK      73027
BRENDA PAYNE                                                            6007 N SANGRE RD                                                                        STILLWATER      OK      74075
BRENDA PEAK                                                             415 WEST BURRIS ROAD                                                                    STILLWATER      OK      74075
BRENDA PERSONETT                                                        914 NE 2ND AVE                                                                          CAMAS           WA      98607
BRENDA PETTY DENNISON TOMS                                              4613 N SYCAMORE AVE                                                                     BROKEN ARROW    OK      74012
BRENDA RAWSON                                                           610 CUSTER AVE                                                                          OGDEN           UT      84404-5227
BRENDA RENEE YEATMAN                                                    2610 W OKAHOMA                                                                          ENID            OK      73709
BRENDA REW                                                              8832 W PHILLIPS RD                                                                      BOULDER         CO      80301
BRENDA SCHATZ                                                           4805 E KARA DR                                                                          STILLWATER      OK      74074-6252
BRENDA SLAVENS                                                          5607 N.W. DOWNING STREET                                                                BLUE SPRINGS    MO      64015
BRENDA SPERRY                                                           24602 E 96TH ST S                                                                       BROKEN ARROW    OK      74014-3442
BRENDA STEPHENS                                                         11514 E YOST RD                                                                         GLENCOE         OK      74032
BRENDA STEWART                                                          104552 S 4510 RD                                                                        VIAN            OK      74962
BRENDA STONE                                                            2000 ALLIYAH COURT                                                                      YUKON           OK      73099
BRENDA SUE DAVIS                                                        PO BOX 41                                                                               MARSHALL        OK      73056-0041
BRENDA SULLINS                                                          1409 KAW ST                                                                             PERRY           OK      73077
                                                                                                                      9211 Lake Hefner
Brenda Tabbytite                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Brenda Tabbytite                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Brenda Tabbytite                                                        6713 S. Richmond Ave                                                                    Tulsa           OK      74136
BRENDA TONTZ                                                            3742 INGALLS AVE                                                                        ALEXANDRIA      VA      22302


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BRENDA TRIPP TRUST                                                  3019 W SHILOH CREEK AVE                                                                STILLWATER      OK      74074
BRENDA TUCKER                                                       195 SLEEPY HOLLOW RD                                                                   BLANCHARD       OK      73010
BRENDA TURNER                                                       1441 BRIDLE LN                                                                         WOODLAND        CA      95776-5712
BRENDA VAUGHN                                                       1700 B JAYHAWK DR                                                                      ATCHISON        KS      66002
BRENDA VILLA                                                        6257 IDYLLWILD COURT                                                                   RIALTO          CA      92377-4560
BRENDA WASHINGTON                                                   1306 14TH ST                                                                           PERRY           OK      73077
BRENDA WILKERSON                                                    16095 SALADO DR                                                                        TEMPLE          TX      76502-6550
BRENDA WILSON                                                       5315 SPRING CREEK CIRCLE W                                                             STILLWATER      OK      74074-8571
                                                                                                                  9211 Lake Hefner
Brenda Duverney-Chappell         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                 c/o Laminack, Pirtle & Martines,
Brenda Duverney-Chappell         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Brenda Duverney-Chappell                                            3920 Whispering Heights Dr                                                             Edmond          OK      73013
                                                                                                                  9211 Lake Hefner
Brenda Fields                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                 c/o Laminack, Pirtle & Martines,
Brenda Fields                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Brenda Fields                                                       12905M N Triple X Rd                                                                   Luther          OK      73054
                                                                                                                  9211 Lake Hefner
Brenda Frantz                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                 c/o Laminack, Pirtle & Martines,
Brenda Frantz                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Brenda Frantz                                                       341229 E. 800 Rd                                                                       Tryon           OK      74875
BRENDAN FROST                                                       7912 S WESTERN                                                                         STILLWATER      OK      74074
BRENDON CAMPBELL                                                    25057 E 110 ST                                                                         BROKEN ARROW    OK      74014
BRENEE TAYLOR                                                       721 SW 153RD ST                                                                        OKLAHOMA CITY   OK      73170-7537
BRENISS O NEAL                                                      PO BOX 52159                                                                           TULSA           OK      74152-0159
BRENT BARKER                                                        PO BOX 884                                                                             OAK GROVE       MO      64075-0884
BRENT BOLAY                                                         25151 CR 70                                                                            PERRY           OK      73077
BRENT COLLINS                                                       910 BROWN AVE                                                                          STILLWATER      OK      74075
BRENT CUMMINGS                                                      PO BOX 57880                                                                           OKLAHOMA CITY   OK      73157
BRENT ELLIOTT                                                       5003 PEQUENO COURT                                                                     GRANBURY        TX      76049
BRENT HARREL                                                        PO BOX 1125                                                                            ELK CITY        OK      73648
BRENT JORDAN L HODGE HW JTWROS                                      PO BOX 385                                                                             GUTHRIE         OK      73044
BRENT NILES                                                         303 FAIRWAY DR                                                                         PERKINS         OK      74059-4421
BRENT ODEN                                                          PO BOX 165                                                                             PERRY           OK      73077
BRENT SALGAT                                                        11805 CHERRY POINT LN                                                                  YUKON           OK      73099
BRENT STEPHENSON                                                    312 E GUISINGER BOX 102                                                                MULHALL         OK      73063
BRENT WATKINS                                                       804 PEAR ST                                                                            WOODVILLE       TX      75979
BRENT WEIS                                                          PO BOX 1143                                                                            EDMOND          OK      73083-1143
BRENT YOUNG                                                         843 EAST 5TH STREET                                                                    CUSHING         OK      74023
BRENTON LEWIS                                                       129 COUNTY ROAD 118                                                                    LLANO           TX      78643-1820
                                                                                                                  9211 Lake Hefner
Brenton Jaynes                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                 c/o Laminack, Pirtle & Martines,
Brenton Jaynes                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Brenton Jaynes                                                      8831 154th St                                                                          Noble           OK      73068
BRET AND KATHY ROBISON JT                                           PO BOX 291                                                                             RIPLEY          OK      74062-0291
BRETT A ENMEIER                                                     3709 W LAKEVIEW RD                                                                     STILLWATER      OK      74075
BRETT BARTON                                                        1919 N TURNER ST                                                                       HOBBS           NM      88240-2712
BRETT BEVERIDGE                                                     4775 PINE DR                                                                           MIAMI           FL      33143
BRETT BIBLE                                                         2810 S 24TH ST W                                                                       MUSKOGEE        OK      74401
BRETT BOWDEN                                                        1000 W COUNTY RD 66                                                                    MULHALL         OK      73063
BRETT BROWN                                                         708 BRAZOS STREET                                                                      GRAHAM          TX      76450
BRETT BROWN                                                         2013 CEDAR CT.                                                                         STILLWATER      OK      74075
BRETT BYRD                                                          23316 PORTLAND LN                                                                      VALENCIA        CA      91355
BRETT ELLIS                                                         14000 W INDUSTRIAL ROAD                                                                GUTHRIE         OK      73044
BRETT ENMEIER                                                       3709 W LAKEVIEW RD                                                                     STILLWATER      OK      74075
BRETT HARRIS                                                        62 OVERLOOK AVENUE APT 2                                                               NEW BRITAIN     CT      06053-2302


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BRETT KAPPELMANN                                                       2304 CHESTNUT CT                                                                        AUGUSTA         KS      67010
BRETT MCKEE DEVELOPMENT INC                                            PO BOX 485                                                                              STILLWATER      OK      74076
BRETT TAYLOR                                                           4605 E KARA DR                                                                          STILLWATER      OK      74074-6192
BRETT TRIGG                                                            1403 S. JARDOT ROAD                                                                     STILLWATER      OK      74074
BRG ENERGY INC                                                         7134 S YALE SUITE 600                                                                   TULSA           OK      74136
BRG PRODUCTION COMPANY                                                 7134 S. YALE                                                                            TULSA           OK      74136
                                                                                                                     9211 Lake Hefner
Brian Cain                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Brian Cain                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Brian Cain                                                             11601 Blueridge Ct                                                                      Oklahoma City   OK      73162
BRIAN A'HEARN                                                          2334 SUSSEX AVENUE                                                                      CINCINNATI      OH      45230
BRIAN ALLYN ORNDORFF                                                   704 E HILL DRIVE                                                                        GUTHRIE         OK      73044
BRIAN AND MARY BATES JT                                                202 N E 7TH STREET                                                                      PERKINS         OK      74059
BRIAN BAILEY                                                           2305 WORTHINGTON ST #128                                                                DALLAS          TX      75204
                                                                                                                     9211 Lake Hefner
Brian Bryan                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Brian Bryan                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Brian Bryan                                                            6702 E. 87th Pl                                                                         Tulsa           OK      74133
BRIAN CAMP                                                             1811 N MINNESOTA AVE                                                                    SHAWNEE         OK      74804
BRIAN CARMACK                                                          1600 CHELSEA APT 118                                                                    EDMOND          OK      73013
Brian Carter                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Brian Carter                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Brian Carter                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Brian Carter                                                           52801 E. 55 Rd                                                                          Maramec         OK      74045
BRIAN CONAGHAN                                                         101 S OAKDALE                                                                           STILLWATER      OK      74074
BRIAN CRABTREE                                                         1718 S SANGRE RD C2                                                                     STILLWATER      OK      74074
BRIAN CROOK                                                            104 DORNOCH WAY                                                                         COTO DE CAZA    CA      92679-4953
BRIAN D RICE TTEE                                                      4301 WHITMERE LN                                                                        NORMAN          OK      73072
BRIAN DEAN PETREE                                                      1669 ARNESBY CIRCLE NW                                                                  NORTH CANTON    OH      44720
BRIAN DORSETT                                                          4202 SHEFFIELD DR                                                                       GRAND PRAIRIE   TX      75052
BRIAN DUFF                                                             1303 S JARDOT                                                                           STILLWATER      OK      74074
BRIAN E BEIER                                                          420 BRICE COURT                                                                         ABILENE         KS      67410

BRIAN ECKARD                                                           5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070

BRIAN ECKARD & JILL ECKARD JTWROS                                      5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
BRIAN EDMONSTON                                                        3521 LIVE OAK LN                                                                        STILLWATER      OK      74075
BRIAN ENNIS                                                            2133 RED PRAIRIE DR                                                                     EDMOND          OK      73025
BRIAN FASSNACHT                                                        4616 W SAHARA #461                                                                      LAS VEGAS       NV      89102
BRIAN FRASER                                                           6937 N WENDELL                                                                          PARK CITY       KS      67219
BRIAN GIBBS                                                            10313 NORTHLAND RD                                                                      OKLAHOMA CITY   OK      73120
Brian Goodwin                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Brian Goodwin                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Brian Goodwin                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Brian Goodwin                                                          1896 E 80 Rd                                                                            Ponca City      OK      74604
BRIAN GRIM                                                             23555 COUNTY RD 150                                                                     PERRY           OK      73077
BRIAN HANEWINCKEL                                                      4527 SHADEWAY ROAD                                                                      LAKEWOOD        CA      90713-2833
BRIAN HOOPER                                                           2737 NW 140TH ST APT 1008                                                               OKLAHOMA CITY   OK      73134-6180
                                                                                                                     9211 Lake Hefner
Brian Hopkins                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Brian Hopkins                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Brian Hopkins                                                          2212 N. Main St                                                                         Tulsa           OK      74106
BRIAN HUFF                                                             12234 N TABLE TOP RD                                                                    MARICOPA        AZ      85139
BRIAN KEITH                                                            855 S BROADWAY ST APT 112                                                               WICHITA         KS      67211-2226
BRIAN KEITH SAYERS                                                     8309 NW 106TH ST                                                                        OKLAHOMA CITY   OK      73162-4016
BRIAN KEITH YOUNG                                                      843 EAST 5TH STREET                                                                     CUSHING         OK      74023


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BRIAN MANNING AND                                                        2551 INTERSTATE 45 N                                                                   CONROE            TX      77304-4658
BRIAN MILLER                                                             PO BOX 244                                                                             MARSHALL          OK      73056-0244
BRIAN MOORE                                                              14212 NE SAND AVE BLVD #J2                                                             PORTLAND          OR      97230
BRIAN NEWELL                                                             PO BOX 47                                                                              MARSHALL          OK      73056
BRIAN NEWHOUSE                                                           2223 1/2 SINGLETON ST                                                                  HOUSTON           TX      77008
BRIAN NORTON                                                             1607 FAIRWAY DR                                                                        PERKINS           OK      74059-4442
BRIAN P & TINA H AHERN JT                                                611 DELAWARE ST                                                                        PERRY             OK      73077
BRIAN PETERSON                                                           2213 NW 119TH TERR                                                                     OKLAHOMA CITY     OK      73120
BRIAN REED                                                               7212 TAMARIND TRL                                                                      CENTERVILLE       OH      45459
BRIAN REINSCHMIDT                                                        1521 E QUAIL AVE                                                                       WEATHERFORD       OK      73096
BRIAN ROWE                                                               313 CIRCLEVIEW DRIVE NORTH                                                             HURST             TX      76054
BRIAN RUDKIN                                                             703 E KRISTI CIR                                                                       BURGAW            NC      28425-5052
BRIAN S. BENDELE &                                                       339576 E 780 RD                                                                        TRYON             OK      74875
BRIAN SCHMIDT                                                            446 FAIRCREST DR                                                                       SAN ANTONIO       TX      78239
BRIAN SCHOEPFLIN                                                         PO BOX 96                                                                              WRIGHT CITY       OK      74766
BRIAN SCOTT HANNEMAN                                                     3516 EAST 12TH PLACE                                                                   TULSA             OK      74112
BRIAN SOWARD                                                             2781 W MACARTHER BLVD                                                                  SANTA ANA         CA      92704
BRIAN SPARKS CANNON                                                      35 E 35TH STREET APT 9D                                                                NEW YORK          NY      10016
BRIAN SPITZ TRUSTEE                                                      909 FANNIN ST STE 1600                                                                 HOUSTON           TX      77010-1005
BRIAN SWIM                                                               12401 SHORE DR                                                                         FORT WASHINGTON   MD      20744
BRIAN THOMAS                                                             708 QUAIL DR                                                                           PERRY             OK      73077
BRIAN W BREEDLOVE EST                                                    PO BOX 12467                                                                           SAN ANTONIO       TX      78212-0467

BRIAN W LITTLE                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
BRIAN WAYNE BEAGLES                                                      3316 ROUND BARN ROAD                                                                   EDMOND            OK      73034
BRIAN WILLIFORD                                                          13604 SW 104TH ST                                                                      MUSTANG           OK      73064-9737
BRICKLER & ECKLER LLP                                                    100 S 3RD ST                                                                           COLUMBUS          OH      43215-4214
BRICKMAN FAST LINE INC                                                   PO BOX 203849                                                                          DALLAS            TX      75320-3849
BRIDGEPORT PROPERTIES LP                                                 4600 GREENVILLE AVE STE 194                                                            DALLAS            TX      75206
Bridges, Barry                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
BRIDGET LEE ALLEN                                                        PO BOX 614                                                                             EUNICE            NM      88231-0614
BRIDGETT HAYES                                                           PO BOX 614                                                                             EURICE            NM      88231
BRIDGETT LYNCH                                                           6921 S EUNICE HWY                                                                      HOBBS             NM      88240-9508
BRIGHAM MINERALS LLC                                                     5914 W COURTYARD DR STE 200                                                            AUSTIN            TX      78730
BRIGHT O&G LLC                                                           44046 MOOSE RIDGE RD                                                                   WOODSFIELD        OH      43793
BRIGHTON ENERGY LLC                                                      20 EAST FIFTH ST STE 1500                                                              TULSA             OK      74103
BRILLIANT IMPRESSIONS                                                    800 W WINNECONNE AVE                                                                   NEENAH            WI      54956-3196
BRINDI RISINGER                                                          9125 E 49TH ST                                                                         TULSA             OK      74145
BRINEY INVESTMENTS LLC                                                   4 NE 10TH STREET #476                                                                  OKLAHOMA CITY     OK      73104
BRINKMAN FAMILY REV TRUST                                                6001 BOLLINGER CANYON RD                                                               SAN RAMON         CA      94583
BRIO FLOOR CARE LLC                                                      PO BOX 720464                                                                          OKLAHOMA CITY     OK      73172-0464
BRISCOE FAMILY TRUST                                                     19974 N MACARTHUR                                                                      EDMOND            OK      73012
BRISLAWN FAMILY REV LIVING TR DATED                                      1668 NORTH NORDIC DRIVE                                                                ORANGE            CA      92867
BRITIM LLC                                                               4544 POST OAK PLACE DR STE 310                                                         HOUSTON           TX      77027-3104
                                                                                                                       9211 Lake Hefner
Brittani Belardo                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Brittani Belardo                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Brittani Belardo                                                         2400 Jessica Lane                                                                      Edmond            OK      73034
BRITTANY COFER                                                           7109 NW 32ND ST                                                                        BETHANY           OK      73008
BRITTANY LAUER                                                           66 WALNUT                                                                              MILL VALLEY       CA      94941
BRITTNI GARMON                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
BROADHURST ROYALTY                                                       1630 S BOSTON AVE                                                                      TULSA             OK      74119
BROADMOOR LAND & MINERALS LLC                                            PO BOX 192726                                                                          DALLAS            TX      75219-8526

BROADRIDGE INVESTOR COMMUNICATION S                                      PO BOX 416423                                                                          BOSTON            MA      02241-6423
BROCK KAPPELMANN                                                         1731 JAMES CT                                                                          LIBERAL           KS      67901
BRODIE ATWATER                                                           PO BOX 2835                                                                            PALM BEACH        FL      33480-2835
BROMWELL AULT                                                            2080 CHAGALL CIR                                                                       WEST PALM BEACH   FL      33409


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BRON RAYBURN                                                           PO BOX 53721                                                                LUBBOCK          TX    79453-3721
BRONCHO INVESTMENTS INC                                                12101 S MAY AVESTE 500                                                      EDMOND           OK    73025
BRONCHO LAND & INVESTMENT CO LLC                                       PO BOX 1300                                                                 EDMOND           OK    73083

BRONCO EQUIPMENT RENTAL & SALES LLC                                    PO BOX 9410                                                                 WICHITA          KS    67277-0410
BRONCO LAND RESOURCES LLC                                              PO BOX 54370                                                                OKLAHOMA CITY    OK    73154
BRONCO LTD                                                             136 SWAN SEA LN                                                             MADISON          MS    39110
BRONCO OILFIELD SERVICES INC                                           PO BOX 203379                                                               DALLAS           TX    75320-3379
BRONCO PETROLEUM CO                                                    1743 E 71ST                                                                 TULSA            OK    74136
BROOKE BRUNKEN                                                         419 Colby Lance ST                                                          STILLWATER       OK    74074
BROOKE MALASKA                                                         1609 E GRANT AVE                                                            CUTHRIE          OK    73044-5813
BROOKE NIDA-ROBERTS IRREV TR                                           1117 CAINES HILL RD                                                         EDMOND           OK    73034
BROOKLINE MINERALS LLC                                                 36 W 8TH ST                                                                 EDMOND           OK    73003-5767
BROOKLYN OIL PROPERTIES INC                                            PO BOX 20126                                                                OKLAHOMA CITY    OK    73156
BROOKS & GUNNER LLC                                                    PO BOX 1186                                                                 ENID             OK    73702
BROOKS RATZLAFF                                                        1902 BARNA ROAD                                                             WICHITA FALLS    TX    76302
BROOKS SHARP                                                           9133 E PRAIRIE VIEW DR                                                      CLAREMORE        OK    74019
Brooks, Alison                        c/o White Star Petroleum, LLC    301 NW 63rd St                        Ste 600                               Oklahoma City    OK    73116
Brooks, Clint                         c/o White Star Petroleum, LLC    301 NW 63rd St                        Ste 600                               Oklahoma City    OK    73116
BROOME DISCLAIMER TRUST                                                8260 E ONEIDA PL                                                            TUCSON           AZ    85715-6800
BRORSEN ENTERPRISES LLC                                                11650 LARIET                                                                PERRY            OK    73077
BROSWOOD ROYALTIES LLC                                                 3232 SOUTH YORKTOWN                                                         TULSA            OK    74105
BROTHER ENERGY, LLC                                                    4736 SOUTH COLUMBIA PLACE                                                   TULSA            OK    74105
BROTHERS & COMPANY                                                     4860 S LEWIS AVE                                                            TULSA            OK    74105
BROWER OIL & GAS COMPANY LLC                                           PO BOX 2009                                                                 JENKS            OK    74037-2009
BROWN & BORELLI                                                        PO BOX 747                                                                  KINGFISHER       OK    73750-0747
BROWN FAM TR                                                           10440 LA MORADA DR                                                          SAN DIEGO        CA    92124-1012
BROWN FAMILY                                                           2235 YUCCA HILL ROAD                                                        ALPINE           CA    91901-3028
Brown, Antroine                       c/o White Star Petroleum, LLC    301 NW 63rd St                        Ste 600                               Oklahoma City    OK    73116
Brown, Brett                          c/o White Star Petroleum, LLC    4615 W. Lakeview Rd                                                         Stillwater       OK    74074
Browne, Tracy                         c/o White Star Petroleum, LLC    301 NW 63rd St                        Ste 600                               Oklahoma City    OK    73116
BROWNIE HOLLAND                                                        1209 S AGRA RD                                                              CUSHING          OK    74023-5853
Browning, Michael                     c/o White Star Petroleum, LLC    301 NW 63rd St                        Ste 600                               Oklahoma City    OK    73116

BRUCE A REW & SEPTEMBER L REW JTWRO                                    5900 SOUTH LAKE FOREST DR STE 300                                           MCKINNEY         TX    75070
BRUCE A. FERRELL REV TR                                                5044 INADALE AVE                                                            LOS ANGELES      CA    90043
BRUCE AND JUDITH A EPPERLY JTS                                         2277 WOODSFIELD LANE                                                        MARIETTA         GA    30062
BRUCE BRANSON                                                          11431 N HWY 77                                                              MULHALL          OK    73063
BRUCE BUSH                                                             655 900 N                                                                   DECATUR          IL    46733
BRUCE CARPENTER                                                        409 ILLINOIS                                                                GOODING          ID    83330
BRUCE COHEN                                                            PO BOX 4560                                                                 ESTES PARK       CO    80517
BRUCE CRISPIN                                                          622 EAST ROH                                                                THOMAS           OK    73669
BRUCE DECD                                                             2640 LOY LAKE RD                                                            DENNISON         TX    75020
BRUCE DENNY                                                            905 S LYNNE LN RD                                                           TULSA            OK    74108
BRUCE E LASSILA                                                        3654 VILLAGE CIRCLE DR                                                      TRAVERSE CITY    MI    49686
BRUCE ELECTRICAL SOLUTIONS LLC                                         PO BOX 98                                                                   WOODWARD         OK    73802
BRUCE ENOCH                                                            437 KENDALE PL                                                              BUELTON          CA    93247
BRUCE H HUFF LIFE ESTATE                                               1709 SUMMIT RIDGE DR                                                        STILLWATER       OK    74074
BRUCE HASKIN                                                           349268 E 810 RD                                                             CUSHING          OK    74023-5151
BRUCE HATTON                                                           4120 CROMWELL AVE                                                           LOS ANGELES      CA    90027-1354
BRUCE HUDKINS                                                          1723 S MADISON AVE                                                          TULSA            OK    74120
Bruce Hugill                          c/o Allen Stewart, PC            Attn: Allen M Stewart                 325 N Saint Paul St   Ste. 4000       Dallas           TX    75070
Bruce Hugill                          c/o Drummond Law, PLLC           Attn: Donald A Lepp                   1500 South Utica      Ste. 400        Tulsa            OK    74104
Bruce Hugill                          c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                 747 3rd Ave                           New York         NY    10017
Bruce Hugill                                                           15590 N 92nd W. Ave                                                         Skiatook         OK    74070
BRUCE JOHNSTON AND MARY DELANEY                                        PO BOX 898                                                                  KALEHEO          HI    96741
BRUCE KELLOGG                                                          103 WEST 3RD ST                                                             GRANDFIELD       OK    73546
BRUCE KIMBROUGH                                                        8311 NE 122                                                                 JONES            OK    73049



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BRUCE M EAVENSON REVOCABLE TRUST DT                                      2409 NW 119TH ST                                                                       OKLAHOMA CITY      OK      73120
BRUCE MARTIN MCGOLDRICK                                                  8808 McGOLDRICK DRIVE                                                                  SHREVEPORT         LA      71129-5014
BRUCE MCCOY                                                              11918 FAIRGROUNDS                                                                      PERKINS            OK      74059
BRUCE MILLER                                                             PO BOX 1272                                                                            HASKELL            OK      74436-1272
BRUCE MOON                                                               1116 DYER CREEK PLACE                                                                  ROUCH ROCK         TX      78665
BRUCE MURDOCK                                                            27720 OLD HWY 18                                                                       HOT SPRINGS        SD      57747
BRUCE SCOTT                                                              1300 E 9TH ST STE 3                                                                    EDMOND             OK      73034-5760
BRUCE TAYLOR                                                             461 TIARA VISTA DR                                                                     GRAND JUNCTION     CO      81507-8716
BRUCE TIBBETT                                                            710 WILDERNESS DR                                                                      SANGER             CA      93657
BRUCE TRUNK                                                              2124 WEST 24TH STREET                                                                  STILLWATER         OK      74074
BRUCE VORAN                                                              4897 N DARLENE CIRCLE                                                                  STRAWBERRY         AZ      85544-2510

BRUCE W BLAKELY                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
BRUCE WEBSTER                                                            426 NW 20TH ST                                                                         OKLAHOMA CITY      OK      73103
BRUCE WILLIAMS                                                           202 FAIRWAY DR                                                                         PERKINS            OK      74059-4456
Bruce, Mike                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
Brueggen, Kenneth                     c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK      74074
BRUNSWICK GROUP LLC                                                      245 PARK AVENUE 14TH FLOOR                                                             NEW YORK           NY      10167
BRUSHCREEK MINERALS LLC                                                  8303 S BRUSH CREEK RD                                                                  STILLWATER         OK      74074
BRYAN AXTELL                                                             2405 SHADY TREE LN                                                                     EDMOND             OK      73013
BRYAN BALL                                                               339711 E 760 RD                                                                        TRYON              OK      74875-6111
BRYAN CARSON COATS                                                       1128 VILLAS CREEK DRIVE                                                                EDMOND             OK      73003
BRYAN COVALT TRUCKING                                                    6401 NW 178TH                                                                          EDMOND             OK      73012
BRYAN CROWLEY                                                            PO BOX 18191                                                                           OKLAHOMA CITY      OK      73154
BRYAN GREEN                                                              1056 NW 1ST                                                                            MOORE              OK      73160
BRYAN HENDERSON                                                          4630 RETRIEVER RIDGE RD                                                                CASHION            OK      73016
BRYAN HENDERSON                                                          22411 CORIANDER                                                                        KATY               TX      77450
BRYAN HILLSTROM                                                          PO BOX 666                                                                             CARMEL             CA      93921-0666
BRYAN HUGHES                                                             16815 JAYDEE COURT                                                                     MOSELEY            VA      23120
BRYAN HURST                                                              2302 W D ST                                                                            JENKS              OK      74037
BRYAN KINNEY                                                             PO BOX 129                                                                             STILLWATER         OK      74076
BRYAN KIRK                                                               9007 S 28TH ST                                                                         FORT SMITH         AR      72908
BRYAN KYLE BEELER                                                        302 S HARMONY ROAD                                                                     CUSHING            OK      74023
BRYAN L HUNT                                                             328 DEL CLAIR RD                                                                       FORT COLLINS       CO      80525
BRYAN MARSHALL TRUST                                                     PO BOX 6625                                                                            SNOWMASS VILLAGE   CO      81615
BRYAN MCKAY                                                              RT 1 BOX 12A                                                                           ORLANDO            OK      73073
BRYAN OLMSTEAD                                                           8400 MOJAVE TRAIL                                                                      FORT WORTH         TX      76116
BRYAN PAIN                                                               2114 TWIN DR                                                                           DUNCAN             OK      73533-3228
BRYAN PHELPS                                                             3219 S GREEN VALLEY DR                                                                 STILLWATER         OK      74074-7028
BRYAN POLLARD                                                            19502 E 670 RD                                                                         HENNESSEY          OK      73742
BRYAN POOLE                                                              7408 NW 104TH ST                                                                       OKLAHOMA CITY      OK      73162-4412
BRYAN RESEARCH & ENGINEERING INC                                         PO BOX 3403                                                                            BRYAN              TX      77805-3403
BRYAN ROBIN EWING                                                        10901 W LONGHORN TRL                                                                   DRUMMOND           OK      73735-1085
BRYAN RODENBERG                                                          5701 HIGHWAY KK                                                                        CONCORDIA          MO      64020-7174
BRYAN SMOOT                                                              1212 SE 20TH ST                                                                        OKLAHOMA CITY      OK      73129
BRYAN WILLIAMS                                                           1417 NW 185TH ST                                                                       EDMOND             OK      73012
                                                                                                                       9211 Lake Hefner
Bryan Dobbs                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Bryan Dobbs                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Bryan Dobbs                                                              2637 SW 39th                                                                           Oklahoma City      OK      73119
BRYANT BRADY                                                             5319 SPRINGRIDGE CT                                                                    FAIRFIELD          CA      94534
BRYANT HAINEY                                                            3813 HIBBS ST                                                                          PLANO              TX      75025-4381
BRYCE BROWN                                                              PO BOX 24                                                                              ADAIR              OK      74330-0024

BRYCE W HARTMAN                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
BS&W SOLUTIONS LLC                                                       PO BOX 125                                                                             WOODWARD           OK      73802
BSP INVESTMENTS LLC                                                      PO BOX 260447                                                                          PLANO              TX      75026-0447


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BTI SERVICES INC                                                      2202 OIL CENTER COURT                                                   HOUSTON           TX      77073
BTU ANALYTICS LLC                                                     445 UNION BLVD STE 124                                                  LAKEWOOD          CO      80228-1239
BUC JAG INVESTMENTS L.P                                               PO BOX 100005                                                           FORT WORTH        TX      76185-0005
BUCK JACOBS                                                           11393 TWIN LAKES LN                                                     SAN ANGELO        TX      76904
BUCK MINERALS LLC                                                     14709 COLLINGWOOD LANE                                                  OKLAHOMA CITY     OK      73013
BUCKHEAD ENERGY LLC                                                   PO BOX 471288                                                           FT WORTH          TX      76147
BUCKLE FAMILY TRUST                                                   8921 SIERRA OAK DR                                                      BAKERSFIELD       CA      93311
BUCKNAM MCPEEK REV TRUST                                              133 BROOKLINE ST                                                        CHESTNUT HILL     MA      21467
BUD GAMBRIL                                                           3057 S HIGUEIRA ST                                                      SAN LUIS OBISPO   CA      93401-6625
BUD MORRIS HAZEN LIVING TRUST                                         1524 S GLENDON DR                                                       MARLOW            OK      73055

BUDD WOLLESON TR FBO AUSTIN HARMAN                                    2826 E 90TH STREET UNIT 1602                                            TULSA             OK      74137
BUDDY B & MONTY L CROSSFIELD TRUST                                    7337 NW 117TH ST                                                        OKLAHOMA CITY     OK      73162
BUDDY BROWN                                                           2907 MEADOW TREE LN                                                     SPRING            TX      77388-2585
BUDDY BURTCH                                                          1976 P AVE                                                              CLARINDA          IA      51632
BUDDY GOSSETT                                                         36 RIALTO AVE                                                           CLOVIS            CA      93612-4432
BUDDY HANSEN                                                          1674 E ROBERTS AVE                                                      FRESNO            CA      93710
BUDDY OGBURN                                                          6616 NW 124TH ST                                                        OKLAHOMA CITY     OK      73142-3107
BUD'S ENGINE REPAIR INC                                               701 N. 30TH                                                             ENID              OK      73701
BUD'S ENGINE REPAIR LLC                                               PO BOX 3748                                                             ENID              OK      73702
BUELL OLMSTEAD                                                        24815 E HWY 164                                                         COVINGTON         OK      73730
BUESCHER INVESTMENTS                                                  909 28TH ST                                                             HONDO             TX      78861
BUFFALO CREEK LLC                                                     PO BOX 1265                                                             EDMOND            OK      73083
BUFFALO CREEK MINERALS LLC                                            101 N ROBINSON AVE STE 910                                              OKLAHOMA CITY     OK      73102-5502
BUFORD & DRUSCILLA CAMPBELL TR                                        1202 CARDIGAN AVE.                                                      VENTURA           CA      93004-2557
BUFORD T GREENFIELD & LOUISE                                          17007 HWY 491                                                           CORTEZ            CO      81321
BULLDOG CHEMICALS LLC                                                 29030 LAKE HOUSTON LN                                                   HUFFMAN           TX      77336-2572
BULLDOG ENERGY SERVICES LLC                                           6000 E. College Ave                                                     Guthrie           OK      73044
Buller, Cody                          c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                           Oklahoma City     OK      73116
BULLET'S HOT SHOT SERVICE LLC                                         PO BOX 2407                                                             ELK CITY          OK      73648
BULLOCK FAMILY REV LIVING TR                                          809 QUAIL RUN RD                                                        GROVE             OK      74344-5811
Bunch, Andrew                         c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                           Oklahoma City     OK      73116
BUNDREN FARMS LLC                                                     3120 E. 87TH STREET                                                     TULSA             OK      74137
BUNNEY FAMILY REVOCABLE TRUST                                         9621 E 92ND ST                                                          PERKINS           OK      74059-3776
BUNNIE KLINGLESMITH                                                   1308 S BOUNDARY ST                                                      PERRY             OK      73077
BURCHARD JOHN DENKER LVG TRUST                                        7550 BELLA VISTA DR                                                     ATASCADERO        CA      93422
BUREAU OF LAND MANAGEMENT             ATTN: BRENDA GARCIA                                                                                     SANTA FE          NM      87508-1560
BUREAU OF LAND MANAGEMENT                                             7906 E 33RD ST STE 101                                                  TULSA             OK      74145-1308
BURFORD MONNET                                                        3731 S TRENTON AVE                                                      TULSA             OK      74105-3241
BURGHER PROPERTIES LP                                                 PO BOX 108                                                              FORT WORTH        TX      76101
BURK OIL CO INC                                                       3215 S BOOMER RD                                                        STILLWATER        OK      74074
BURKE FAMILY REVOC TR                                                 5607 E 92ND AVE                                                         STILLWATER        OK      74074
BURLESON LLP                                                          8588 KATY FWY STE 320                                                   HOUSTON           TX      77024-1839
BURLIN SWAIM                                                          4518 S 30TH ST                                                          ENID              OK      73701
BURLINGTON NORTHERN & SANTA FE                                        PO BOX 676167                                                           DALLAS            TX      75267-6167
BURLINGTON RESOURCES O&G CO -                                         PO BOX 840656                                                           DALLAS            TX      75284
BURLINGTON RESOURCES OIL & GAS CO L                                   22295 NETWORK PLACE                                                     CHICAGO           IL      60673-1222
BURNETT & THOMASON                                                    6017 MAIN ST                                                            FRISCO            TX      75034-3204
BURNETT MINERAL HOLDINGS LLC                                          PO BOX 5686                                                             PAGOSA SPRINGS    CO      81147
BURNHAM FAMILY TRUST                                                  209 S COLLEGE ST                                                        MOUNTAIN HOME     AR      72653-3942
BURNICE ARMSTRONG                                                     121 NE 5TH ST                                                           PERKINS           OK      74059-3010
BURNS & STOWERS INVESTMENTS LLC                                       1300 W LINDSEY ST                                                       NORMAN            OK      73069-4319
BURNS FAMILY CREDIT TRUST                                             5900 S LAKE FOREST DR STE 300                                           MCKINNEY          TX      75070
BURNT CREEK GATHERING LLC.                                            PO BOX 1557                                                             OKLAHOMA CITY     OK      73101
BURRAGE LAW FIRM PLLC                                                 1201 WESTSIDE DR                                                        DURANT            OK      74701-5543
BURRIS FAMILY TRUST                                                   1604 MOSS HAVEN CIRCLE                                                  FLOWER MOUND      TX      75022
BURROWING OWL ROYALTIES LP                                            1901 N AKARD STREET                                                     DALLAS            TX      75201
BURTON OGDEN                                                          4236 INDIANA TERRACE                                                    OTTAWA            KS      66067
BUSBY ROYALTY COMPANY LLC                                             5100 CLASSEN BLVD STE 620                                               OKLAHOMA CITY     OK      73118


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Busby, Chris                         c/o White Star Petroleum, LLC   301 NW 63rd St                           Ste 600                           Oklahoma City       OK    73116

BUSINESS COMPUTER SKILLS                                             2340 S ARLINGTON HEIGHTS RD STE 440                                        ARLINGTON HEIGHTS   IL    60005-4516
BUTKIN INVESTMENT COMPANY LLC                                        PO BOX 2090                                                                DUNCAN              OK    73534
BUTTONWOOD MEMENTOS LLC                                              28 W 44TH ST STE 501A                                                      NEW YORK            NY    10036-7414
BUTTRAM ENERGIES INC                                                 2601 NW EXPRESSWAY STE 501W                                                OKLAHOMA CITY       OK    73112-7269
BUY RITE SERVICES LP                                                 PO BOX 392                                                                 Pond Creek          OK    73766
BUZBEE LAW FIRM                                                      302 COUNTRY ROAD 2127                                                      ATLANTA             TX    75551-5100
BWAB INCORPORATED                                                    100 SAINT PAUL STREET SUITE 305                                            DENVER              CO    80206
BWAB LLC                                                             100 SAINT PAUL STREET SUITE 305                                            DENVER              CO    80206
BWC STATE INSURANCE FUND                                             PO BOX 89492                                                               CLEVELAND           OH    44101-6492
BYERS OIL & GAS LLC                                                  37172 SR 78                                                                WOODSFIELD          OH    43793
BYRAN PERSHERN                                                       5935 BONNARD DR.                                                           DALLAS              TX    75230
BYRD OILFIELD SERVICES LLC                                           PO BOX 7269                                                                ABILENE             TX    79608
BYRON AND VELMA DICKERSON                                            331 E STATE AVE                                                            MERIDIAN            ID    83642-2348
BYRON CHITWOOD                                                       11 MULLANEY DR                                                             GREENVILLE          TX    75402-6914
BYRON EMERSON NELSON                                                 8411 SWANANOAH ROAD                                                        DALLAS              TX    73209
BYRON HARRIS                                                         1225 DARLING RD NW                                                         BREMERTON           WA    98311
BYRON LLOYD GRAY                                                     82 FRIENDSHIP RD                                                           SOMERVILLE          AL    35670-3706
BYRON P GLENN                                                        8012 WOOD DUCK DR                                                          OKLAHOMA CITY       OK    73132
BYRON RUPP                                                           15013 S HWY 74                                                             MARSHALL            OK    73056
BYRON VAN METER                                                      1211 3RD AVE                                                               WOODRUFF            WI    54568
C & M ENERGY INC                                                     6061 E CALLE DE VITA                                                       TUCSON              AZ    85750-1958
C AND SHIRLEY ANDERSON                                               707 N HAYDEN ISLAND DR UNIT 220                                            PORTLAND            OR    97217-8164
C ANDREW GRAHAM                                                      3510 E WARREN AVE                                                          DENVER              CO    80210
C ANNE STROUD LIVING TRUST                                           13512 TUSCANY DR                                                           OKLAHOMA CITY       OK    73170
C C MCMILLIN & CO INC                                                PO BOX 546                                                                 GUTHRIE             OK    73044-0546
C D AND JEAN MIHURA                                                  2319 N HUSBAND CT                                                          STILLWATER          OK    74075-2609
C D ARMSTRONG DECD                                                   1348 S 29TH ST                                                             MUSKOGEE            OK    74401
C D MIHURA TRUST                                                     9 NORTHCASTLE COURT                                                        CONROE              TX    77384
C DALE HENDRIX                                                       1004 WEST MILLS STREET                                                     NEW BRAUNFELS       TX    78130
C E AND PEGGY PHELPS                                                 2504 NW 120TH ST                                                           OKLAHOMA CITY       OK    73162
C E BURCHARDT & MARY BURCHARDT                                       1540 E 119TH ST                                                            MULVANE             KS    67110
C E DINSMORE TRUST DATED 9-29-1995                                   PO Box 223                                                                 ENID                OK    73702
C E REAVIS                                                           195 SUMMER PLACE LANE                                                      ARLEY               AL    35541
C FRICK                                                              3115 N MENOMONEE RIVER PKWY                                                MILWAUKEE           WI    53222-3311
C HAWK PUMPING CODY HAWK                                             1403 Ridge Place                                                           Lahoma              OK    73754
C HILTON ALEXANDER TRUST                                             PO BOX 250969                                                              PLANO               TX    75025
C HUSTON                                                             3439 HOTCHKISS CT                                                          LOVELAND            CO    80538
C L BARLOW                                                           PO BOX 850                                                                 MINEOLA             TX    75773
C LEONARD ANDERSON AND SHIRLEY R                                     707 N HAYDEN ISLAND DR                                                     PORTLAND            OR    97217-8164
C M ACTON REVOCABLE TRUST                                            PO BOX 20900                                                               OKLAHOMA CITY       OK    73156
C MICHAEL & P IRENE HOWLAND FAM TR                                   1916 DEL MAR CT                                                            DENTON              TX    76210
C MIKE LYONS                                                         4114 E 19                                                                  STILLWATER          OK    74074
C O OIL AND GAS LLC                                                  PO BOX 1039                                                                PAMPA               TX    79066-1039
C R F ECKELS LLC                                                     PO BOX 30                                                                  CEDAREDGE           CO    81413-0030
C R HUTCHESON 1967 TRUST                                             PO BOX 41779                                                               AUSTIN              TX    78704
C S FRENCH TEST TRUST                                                184 EDGEWOOD DR                                                            RICHLAND            WA    99352
C SCOTT                                                              7237 PARKWOOD BLVD                                                         PLANO               TX    75024-5815
C THOMAS                                                             PO BOX 2117                                                                BIG SPRING          TX    79721-2117
C THOMASON                                                           18123 W 80TH                                                               MULHALL             OK    73063
C W CULPEPPER                                                        13300 OAKCLIFF ROAD                                                        OKLAHOMA CITY       OK    73120
C W ECKENWILER REV TRUST                                             PO BOX 3627                                                                TULSA               OK    74101-3627
C W WICKSTROM LLC                                                    321 S BOSTON STE 200                                                       TULSA               OK    74103
C WAYNE McGEHEE                                                      PO Box 503                                                                 LONE GROVE          OK    73443
C WRIGHT CO LTD                                                      2327 NW 59TH ST                                                            OKLAHOMA CITY       OK    73112
C&B ENTERPRISE 401-K                                                 12719 PINE SPRING LANE                                                     CYPRESS             TX    77419
C&B HOLDINGS LLC                                                     3504 NW 65TH ST                                                            OKLAHOMA CITY       OK    73116
C&C EQUIPMENT SPECIALITIES INC                                       PO BOX 95571                                                               OKLAHOMA CITY       OK    73143-5571


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C&J SPEC-RENT SERVICES INC.                                              PO BOX 733404                                                                            DALLAS           TX      75373-3404
C&J SPEC-RENT SERVICES INC.                                              3990 Rogerdale Road                                                                      Houston          TX      77042
C&J WELL SERVICES INC                                                    PO BOX 975682                                                                            DALLAS           TX      75397-5682
C&L ENERGY SERVICES LLC.                                                 PO BOX 628                                                                               BECKVILLE        TX      75631
C&M EXPLORATION LLC                                                      PO BOX 14331                                                                             TULSA            OK      74159
C&M LEASING                                                              4123 E. LOG CABIN                                                                        CUSHING          OK      74023
C.B.MONCRIEF MONCRIEF BUILDING                                           950 COMMERCE STREET                                                                      FORT WORTH       TX      76102-5418
                                      c/o CENTURY CENTER PARKING
C.O.T.P.A.                            GARAGE                                                                                                                      OKLAHOMA CITY    OK      73101-2403
                                                                                                                       9211 Lake Hefner
C.W. Collins                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
C.W. Collins                          c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                         Los Angeles      CA      90017
C.W. Collins                                                             1428 S Little Ave                                                                        Cushing          OK      74023
C2H6 MINERAL FUND, LLC                                                   5030 N. MAY AVENUE, STE 104                                                              OKLAHOMA CITY    OK      73112
C6 INVESTMENTS LLC                                                       633 N HUSBAND ST                                                                         STILLWATER       OK      74075
CAC SOONERTHON                                                           900 ASP AVENUE                                                                           NORMAN           OK      73019-5052
CACROC FAMILY LIMITED PARTNERSHIP                                        3628 CHIMNEY CORNER                                                                      WACO             TX      76708
CACTUS DRILLING CO OF OKLAHOMA                                           844 S WALBAUM RD                                                                         CALUMET          OK      73014
Cactus Drilling Company LLC           Ron Tyson, President               8300 SW 15th                                                                             Oklahoma City    OK      73128-9594
CACTUS DRILLING COMPANY LLC                                              PO BOX 21468                                                                             TULSA            OK      74121-1468
CACTUS PETROLEUM CORPORATION                                             2932 NW 122ND ST STE 25                                                                  OKLAHOMA CITY    OK      73120-1955
CACTUS WELLHEAD LLC                                                      PO BOX 4346                                                                              HOUSTON          TX      77210
CADDO MAPLE LLC                                                          PO BOX 721952                                                                            OKLAHOMA CITY    OK      73142
CAFFEINE AND KILOS INC                CO MICHAEL WRIGHT                                                                                                           MANTECA          CA      95336-8285
CAIN CONSULTING CO LLC                                                   2202 W CAMELBACK RD                                                                      DUNCAN           OK      73533-9127
CAIN FAMILY INVESTMENTS LLC                                              18218 CRYSTAL RIDGE                                                                      SAN ANTONIO      TX      78259
Cain, Kaleb                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                    Oklahoma City    OK      73116
CAITLIN D ARMSTRONG                                                      1136 S JACKSON                                                                           JUNCTION CITY    KS      66551
CAITLIN DALZELL                                                          1599 AUBURN ROAD                                                                         GRASS VALLEY     CA      95949
CAITLIN MCARDLE                                                          18504 BRIDLINGTON CT                                                                     EDMOND           OK      73012
CAL FARLEYS BOYS RANCH                                                   PO BOX 1                                                                                 AMARILLO         TX      79105-0001
CAL RAY PETROLEUM CP                                                     PO BOX 467                                                                               OKLAHOMA CITY    OK      73101-0467
CALCUTTA LAND LLC                                                        430 NW 5TH ST                                                                            OKLAHOMA CITY    OK      73102
CALCUTTA RESOURCES LLC                                                   626 TIMBER LN                                                                            EDMOND           OK      73034
CALDWELL TRUST                                                           1120 WEST 68TH STREET                                                                    STILLWATER       OK      74074
CALEB DOBBS                                                              106 MONROE                                                                               PAULS VALLEY     OK      73075
CALEB MORGRET                                                            2725 NW 58TH PL                                                                          OKLAHOMA CITY    OK      73112-7003
                                                                                                                       9211 Lake Hefner
Cali Hernandez                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Cali Hernandez                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
Cali Hernandez                                                           10519 Dare Lane                                                                          Norman           OK      73026
CALIFORNIA CHECK CASHING STORES                                          6785 BOBCAT WAY STE 200                                                                  DUBLIN           OH      43016
CALIFORNIA STATE CONTROLLER'S OFFIC                                      PO BOX 942850                                                                            SACRAMENTO       CA      94250-5873
California State Controllers Office   Unclaimed Property Division        10600 White Rock Road Suite 141                                                          Rancho Cordova   CA      95670
CALLAWAY OIL LLC                                                         PO BOX 1594                                                                              WEATHERFORD      OK      73096
                                                                                                                       9211 Lake Hefner
Callie Kennedy                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Callie Kennedy                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
Callie Kennedy                                                           8035 S. Gary Pl                                                                          Tulsa            OK      74136
CALLIE MAXWELL                                                           823 E HEIGHTS HOLLOW LANE                                                                HOUSTON          TX      77007
CALLIE OILFIELD SERVICES LLC                                             34442 E 790 RD                                                                           AGRA             OK      74824
CALM ENERGY LLC                                                          PO BOX 9098                                                                              MIDLAND          TX      79708
CALMAR ROYALTIES LLC                                                     1700 RED HAWK RD                                                                         WIMBERLEY        TX      78676-5562

CALMENA ENERGY SERVICES (USA) CORP                                       SUITE 150, 25307 INTERSTATE 45 NORTH                                                     THE WOODLANDS    TX      77380
CALUMET ENERGY LLC                                                       PO BOX 727                                                                               WICHITA FALLS    TX      76307
CALVARY ASSEMBLY OF GOD                                                  2315 E MCELROY                                                                           STILLWATER       OK      74075


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CALVARY ASSEMBLY OF GOD CHURCH OF S                                      2315 EAST MCELROY                                                                       STILLWATER         OK      74075
CALVIN A LEACH                                                           3905 S MAJOR RD                                                                         MULHALL            OK      73063
CALVIN ABBEY                                                             450 WASHINGTON ST                                                                       LANDER             WY      82520
CALVIN BENTSEN                                                           100 SAVANNAH AVE STE 360                                                                MCALLEN            TX      78503-1257
CALVIN CAHILL                                                            1700 RED HAWK RD                                                                        WIMBERLY           TX      78676
CALVIN D ROGGOW TRUST                                                    208 W 128TH ST                                                                          PERKINS            OK      74059-3578
CALVIN DAVIS                                                             8101 EAST HALLWOOD BLVD                                                                 MARYSVILLE         CA      95901
CALVIN E STEWART                                                         PO Box 1075                                                                             RENTON             WA      98057
CALVIN ELLIS                                                             1802 CLARK DR                                                                           GUTHRIE            OK      73044
CALVIN HARMAN                                                            23400 CR 180                                                                            PERRY              OK      73077
CALVIN HULLUM                                                            PO BOX 521008                                                                           TULSA              OK      74152-1008
CALVIN HUSTON                                                            1161 W 2320 S                                                                           W VALLEY CITY      UT      84119
CALVIN JOHNSON                                                           8626 ALPINE VALLEY DR                                                                   COLORADO SPRINGS   CO      80920
CALVIN KYLE PATZKIE                                                      400 WEST 11TH ST                                                                        ROSWELL            NM      88201
CALVIN L SIEGRIST ESTATE                                                 1107 SOUTH HOFF                                                                         EL RENO            OK      73036
CALVIN LEACH                                                             4205 N HUDSON RD                                                                        COOLIDGE           AZ      85128
CALVIN MASON                                                             790690 S HIGHWAY 18                                                                     TRYON              OK      74875-6873
CALVIN MAYS                                                              201 W COUNTY RD 72                                                                      GUTHRIE            OK      73044
CALVIN MAYS PETROLEUM CO INC                                             201 W COUNTY RD 72                                                                      GUTHRIE            OK      73044
CALVIN NEMEC                                                             22101 CR 140                                                                            PERRY              OK      73077
CALVIN POOLE                                                             HC 84 BOX 236                                                                           BAKERSFIELD        MO      65609
CALVIN ROGGOWS                                                           208 W 128TH                                                                             PERKINS            OK      74059
CALVIN SHOEMAKER                                                         6215 WINDY OAKS                                                                         LAS VEGAS          NV      89139
                                                                                                                       9211 Lake Hefner
Calvin Shwiyat                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Calvin Shwiyat                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Calvin Shwiyat                                                           7418 S. 106 East Ave                                                                    Tulsa              OK      74133
CALVIN SLATER                                                            1197 SAHARA ST                                                                          IDAHO FALLS        ID      83404-7025
CALVIN STOLL                                                             23733 COUNTY RD EW 175                                                                  CHATTANOOGA        OK      73528-9044
CALVIS HAWES                                                             1433 BIRMINGHAM FOREST DR                                                               FRISCO             TX      75034
CALWEST PRINTING & REPRODUCTIONS                                         SUITE 100, 540 - 5th AVE SW                                                             CALGARY            AB      T2P 0M2      CANADA
CALYX ENERGY II LLC                                                      6120 S. YALE AVE SUITE 1480                                                             TULSA              OK      74136
CALYX ENERGY III                                                         6120 SOUTH YALE AVE, SUITE 1480                                                         TULSA              OK      74136
                                      c/o Hall Estill Hardwick Gable
Calyx Energy, LLC                     Golden & Nelson PC                 Attn: Mark Banner                             320 S Boston Ave.     Ste. 200            Tulsa              OK      74103
Calyx Energy, LLC                                                        10820 E 45th St                               Ste. 208                                  Tulsa              OK      74146
CAMARILLA ENERGY LP                                                      PO BOX 18877                                                                            OKLAHOMA CITY      OK      73154
CAMBRIA ENERGY LLC                                                       PO BOX 1886                                                                             OKLAHOMA CITY      OK      73101

CAMBRIDGE AREA CHAMBER OF COMMERCE                                       607 WHEELING AVE                                                                        CAMBRIDGE          OH      43725-2251
CAMBRIDGE FITNESS CENTER                                                 118 JEFFERSON AVE                                                                       CAMBRIDGE          OH      43725-2889
CAMELBACK COMPANY                                                        9480 GATETRAIL DR                                                                       DALLAS             TX      75238
CAMELLIA CASTENDYK                                                       39616 KEITHS CIR                                                                        ZEPHYRHILLS        FL      33542-2982
CAMERON DOUGLAS                                                          2909 NE 132ND ST                                                                        EDMOND             OK      73013-1046
CAMERON INTERNATIONAL CORP                                               PO BOX 731412                                                                           DALLAS             TX      75373-1412
CAMERON SCOTT BLAKEMORE                                                  8908 ESTELLE MANOR CIR                                                                  OKLAHOMA CITY      OK      73135-6168
CAMERON SOLUTIONS INC                                                    PO BOX 731412                                                                           DALLAS             TX      75373-1413
CAMERON TECHNOLOGIES US INC                                              PO BOX 730172                                                                           DALLAS             TX      75373-0172
                                                                                                                       9211 Lake Hefner
Cameron Dyer                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Cameron Dyer                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Cameron Dyer                                                             102586 S. 3520 Rd                                                                       Prague             OK      74864
CAMILLA STEPHENS                                                         4204 E 92ND ST                                                                          PERKINS            OK      74059-3771
                                                                                                                       9211 Lake Hefner
Camille Carter                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120



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                                                 c/o Laminack, Pirtle & Martines,
Camille Carter                                   LLP                                Attn: Richard N Laminack                       5020 Montrose Blvd     9th Fl              Houston          TX      77006
Camille Carter                                                                      7950 S. 85th E. Ave                                                                       Tulsa            OK      74133
CAMILLE WARMINGTON                                                                  2106 BRIARGLEN DR.                                                                        HOUSTON          TX      77024
CAMINO NATURAL RESOURCES LLC                                                        1401 17TH STREET #1000                                                                    DENVER           CO      80202
CAMMIE COOPER                                                                       7623 E 4TH AVE                                                                            STILLWATER       OK      74074-7447
CAMP ALLISON LEGACY LLC                                                             409 WALNUT ST                                                                             LITTLE ROCK      AR      72205-4041
Camp, Kayla                                      c/o White Star Petroleum, LLC      301 NW 63rd St                                 Ste 600                                    Oklahoma City    OK      73116
CAMPBELL & ASSOCIATES INC                                                           2806 BROCE DRIVE                                                                          NORMAN           OK      73072
CAMPBELL LAND & MINERAL TR CREATED                                                  PO BOX 1588                                                                               TULSA            OK      74101
CAMPBELL LAND & MINERAL TRUST                    BANK OF OKLAHOMA                                                                                                             TULSA            OK      74101-1588
CANAAN ENERGY CORPORATION                                                           PO Box 18496                                                                              OKLAHOMA CITY    OK      73154-0496
CANADA REVENUE AGENCY                                                               66 STAPON ROAD                                                                            WINNIPEG         MB      R3C 3M2      CANADA
CANADEX RESOURCES INC.                                                              2525 RIDGMAR BLVD SUITE 400                                                               FORT WORTH       TX      76116-4584
CANADIAN IMPERIAL BANK OF COMMERCE                                                  595 BAY STREET, SUITE 700                                                                 TORONTO          ON      M5G 2M8      CANADA
CANADIAN KENWOOD COMPANY                                                            730 2ND AVE S STE 1400                                                                    MINNEAPOLIS      MN      55402

CANADIAN VALLEY ELECTRIC COOPERATIV                                                 PO BOX 751                                                                                SEMINOLE         OK      74818-0751
CANARY DRILLING SERVICES LLC                                                        17207 N PERIMETER DR., STE. 220                                                           SCOTTSDALE       AZ      85255
CANARY LLC                                                                          17207 N PERIMETER DR., STE. 220                                                           SCOTTSDALE       AZ      85255
CANARY WELLHEAD EQUIPMENT INC                                                       PO BOX 96382                                                                              OKLAHOMA CITY    OK      73143
CANDACE GOLDEN                                                                      3000 NE MOSSY LN                                                                          TOLEDO           OR      97391
CANDACE HOWELL                                                                      PO BOX 314                                                                                CHEYENNE         OK      73628
CANDACE ROSSITER                                                                    800591 S HWY 18                                                                           TRYON            OK      74875
                                                                                                                                   9211 Lake Hefner
Candace Vogt                                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins    Parkway                Ste. 104            Oklahoma City    OK      73120
                                                 c/o Laminack, Pirtle & Martines,
Candace Vogt                                     LLP                                Attn: Richard N Laminack                       5020 Montrose Blvd     9th Fl              Houston          TX      77006
Candace Vogt                                                                        114 E Greenlee                                                                            Cushing          OK      74023
CANDICE BIRD                                                                        1953 SAVONA LN                                                                            EDMOND           OK      73034-9763
CANDICE MOORE                                                                       4860 KNICKERBOCKER ROAD                                                                   SAN ANGELO       TX      76904
CANDICE OKSENHORN                                                                   102 ROBINSON ROAD                                                                         ASPEN            CO      81611
CANDY DIANE HENTZEN                                                                 412 WOODLAND TR                                                                           KELLER           TX      76248
CANDYCE WILSON                                                                      265 SANTA ROSA                                                                            SAUSALITO        CA      94965
CAN-OK OIL FIELD SERVICES                                                           887 COUNTY ROAD 1405                                                                      CHICKASHA        OK      73018-8111
CANTRELL CONTRACT PUMPING                                                           507 S. 6th St.                                                                            Carmen           OK      73726
CANYON EXPLORATION CO                                                               PO BOX 15205                                                                              AMARILLO         TX      79105-5205
CANYON EXPLORATION LLC                                                              PO BOX 9372                                                                               AMARILLO         TX      79105-9372
CANYON IMOJEAN TUNNELL PARTNERSHIP                                                  PO BOX 15205                                                                              AMARILLO         TX      79105
CANYON OILFIELD SERVICES LLC                                                        11552 S HWY 6                                                                             ELK CITY         OK      73644
CANYON RONALD HOPE PARTNERSHIP                                                      PO BOX 15205                                                                              AMARILLO         TX      79105
CANYON THE BILL & LAUREL SCOTT TR                                                   PO BOX 15205                                                                              AMARILLO         TX      79105
CANYON-CYNTHIA DUNN RIESEN PTRSHP                                                   PO BOX 15205                                                                              AMARILLO         TX      79105
CANYON-JEFF HELTON PARTNERSHIP                                                      PO BOX 15205                                                                              AMARILLO         TX      79105
CAPDOA                                                                              2408 NW 174TH ST                                                                          EDMOND           OK      73012
CAPENERGY CORPORATION                                                               350 5TH AVENUE STE 5310                                                                   NEW YORK         NY      10118
CAPGEMINI AMERICA INC                                                               012663 COLLECTION CENTER DRIVE                                                            CHICAGO          IL      60693
Capgemini America, Inc.                          Hugh Forque, Vice President        623 Fifth Avenue, 33rd Floor                                                              New York         NY      10022
Capital Group Global High-Income Opportunities   c/o Capital Research and                                                          333 South Hope
Trust (LUX)                                      Management Company                 Attention: Erik A. Vayntrub                    Street, 33rd Floor                         Los Angeles      CA      90071
Capital Group Global High-Income Opportunities   c/o Capital Research and                                                          333 South Hope
Trust (US)                                       Management Company                 Attention: Erik A. Vayntrub                    Street, 33rd Floor                         Los Angeles      CA      90071
CapitalOne                                       Attn: Michael Higgins              1680 Capital One Drive                                                                    McLean           VA      22102
CAPITOL CORPORATE SERVICES                                                          PO BOX 1831                                                                               AUSTIN           TX      78767-1831
CAPITOL SERVICES, INC                                                               PO BOX 1831                                                                               AUSTIN           TX      78757
CAPRIOLE VENTURES INC.                                                              132 VALLEY RIDGE HEIGHTS NW                                                               CALGARY          AB      T3B 5T3      CANADA
CAPSTONE HOLDING COMPANY                                                            PO BOX 115                                                                                BANNOCK          OH      43972-0115
CAPSTONE OILFIELD DISPOSAL OF ARKAN                                                 PO BOX 698                                                                                HENNESSEY        OK      73742
CAPSTONE OILFIELD DISPOSAL SERVICES                                                 PO BOX 698                                                                                HENNESSEY        OK      73742


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CAPTAIN CREEK OIL LLC                                                    PO BOX 13515                                                                           OKLAHOMA CITY    OK      73113
CARA LANGSFELD HEATH                                                     217 W EUCLID AVE                                                                       SPOKANE          WA      99205-3022
CARA WESTMAN                                                             13507 BROKEN BRANCH WAY                                                                LOUISVILLE       KY      40245
CARDINAL ROYALTY COMPANY LLC                                             PO BOX 212                                                                             OKMULGEE         OK      74447-0212
Cardon, Keith                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
CAREN BRYANT                                                             7913 HUNTERS VALLEY RD                                                                 MARIPOSA         CA      95338
CAREY & CO                                                               PO BOX 867                                                                             TULSA            OK      74101
CAREY COBB                                                               5918 S BIRMINGHAM PL                                                                   TULSA            OK      74105
CAREY E HARRIS REVOCABLE TRUST                                           3916 FOX LEDGE LN                                                                      STILLWATER       OK      74074-1741
CARGOOD GROUP LLC                                                        PO BOX 250207                                                                          PLANO            TX      75025-0207
CARIBOU LLC                                                              PO BOX 799                                                                             EDMOND           OK      73101-0799
CARKEL CORP                                                              11900 N VIRGINIA AVE                                                                   OKLAHOMA CITY    OK      73120
CARL                                                                     1601 NW EXPRESSWAY                                                                     OKLAHOMA CITY    OK      73118-1433
CARL & ALFREDA PARIS REV LIV TRUST                                       119 S 6TH ST                                                                           CASHION          OK      73016
CARL & CAROL HINER FAMILY TRUST                                          4919 E LONE CHIMNEY RD                                                                 GLENCOE          OK      74032
CARL & DIANE BIGGS REV TRUST                                             1201 N 21ST ST                                                                         GUTHRIE          OK      73044
CARL A BENTLEY REVOCABLE TRUST                                           8516 WEST 116TH STREET                                                                 COYLE            OK      73027
CARL ANDREW                                                              3424 N REDLAND RD                                                                      STILLWATER       OK      74075-2038
CARL ANDREW                                                              601 S WASHINGTON ST #PMB204                                                            STILLWATER       OK      74074-4539
CARL BENDER                                                              23321 OXFORD RD                                                                        QUAKER CITY      OH      43773-9723
CARL BENTLEY                                                             8516 W 116TH ST                                                                        COYLE            OK      73027-4302
CARL BIRDSELL                                                            PO BOX 2587                                                                            SELLS            AZ      85634-2587
CARL C HINER ESTATE                                                      4919 E LONE CHIMNEY                                                                    GLENCOE          OK      74032
CARL COOK                                                                4626 AVE R                                                                             GALVESTON        TX      77551
CARL CORTIANA                                                            312 N FIR PLACE                                                                        BROKEN ARROW     OK      74012
CARL CUNNINGHAM                                                          13581 N DOUGLAS BLVD                                                                   MULHALL          OK      73063
CARL D & SUSAN J SOMERS REV TRUST                                        5317 KETTLER AVE                                                                       LAKEWOOD         CA      90713
CARL D MORELAND TRUSTEE                                                  121 W 68TH ST                                                                          STILLWATER       OK      74074
                                                                                                                       9211 Lake Hefner
Carl D. James                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Carl D. James                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Carl D. James                                                            207 Shadybrook Pl                                                                      Oklahoma City    OK      73110
CARL DAVIS                                                               44673 SMITH RD                                                                         LEWISVILLE       OH      43754
CARL DECK                                                                1302 E LOREN ST                                                                        SPRINGFIELD      MO      65804-0152
CARL DECK DECEASED                                                       PO BOX 10008                                                                           SPRINGFIELD      MO      65808
CARL E GUNGOLL EXPLORATION LLC                                           PO BOX 18466                                                                           OKLAHOMA CITY    OK      73154-0466
CARL FISCHBEIN ESTATE DECD                                               3208 E 80TH PL                                                                         TULSA            OK      74136
CARL FLYNN                                                               11200 S PERKINS RD                                                                     PERKINS          OK      74059-4025
CARL GIPSON DECEASED                                                     101 HOWARD DR                                                                          MIDLAND          TX      79703-6505
CARL HAAG                                                                2471 LAUREL GLEN DRIVE                                                                 LAKELAND         FL      33803
CARL HAM                                                                 7926 BRIAR VILLA PL                                                                    ATLANTA          GA      30350
CARL HEMPHILL                                                            PO BOX 3033                                                                            DURANGO          CO      81301
CARL HERRIN OIL & GAS LLC                                                PO BOX 957                                                                             RIDGELAND        MS      39157
CARL HINER                                                               4919 E LONE CHIMNEY RD                                                                 GLENCOE          OK      74032-1162
CARL KATSCHOR TR                                                         PO BOX 821                                                                             MADILL           OK      73446
CARL KATSCHOR TRUST                                                      PO BOX 821                                                                             MADILL           OK      73446
CARL KEESECKER                                                           PO BOX 66                                                                              ROCKPORT         WA      98283
CARL KLEIN                                                               PO BOX 679                                                                             DAVIS            CA      95617
CARL LEADER                                                              944 CAHILL WAY                                                                         WOODBURN         OR      97071-2302
CARL M VOYLES JR                                                         PO BOX 2204                                                                            ANNA MARIA       FL      34216
CARL MACK REVOCABLE TRUST                                                PO BOX 129                                                                             DRUMMOND         OK      73735
CARL MORRISON FAMILY TRUST                                               PO BOX 1059                                                                            BARTLESVILLE     OK      74005
CARL PROVENCE                                                            PO BOX 1117                                                                            STILLWATER       OK      74076
CARL R CALAM REV TRST                                                    PO BOX 153                                                                             HILLSBORO        KS      67063-0153
CARL R HENKE 1991 REV INTER VIVOS T                                      11475 S BRYANT                                                                         EDMOND           OK      73034
CARL R WASLIN JR                                                         3025 LAMESA DR                                                                         GARLAND          TX      75041-2744
CARL STANLEY                                                             601 SOUTH AVERY ST                                                                     MOORE            OK      73160
CARL STEVEN MARSHALL REV TRST                                            5900 S LAKE FOREST DR STE 300                                                          MCKINNEY         TX      75070


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             CreditorName                    CreditorNoticeName                        Address1                             Address2                  Address3           City     State     Zip      Country
CARL SUE FARROW JT                                                       PO BOX 196                                                                              AGRA             OK    74824-0196
CARL TANNER                                                              PO BOX 2                                                                                BRAMAN           OK    74632-0002
CARL UNDERWOOD                                                           331 TUPELO CIR                                                                          DAVENPORT        FL    33897-9579

CARL VOYLES JR & JOAN ABRAHAMSON TR                                      PO BOX 794                                                                              ANNA MARIA       FL    34216
CARL W ELLSPERMANN                                                       179 BAY PATH DR                                                                         CRYSTAL RIVER    FL    34428-4027

CARL W GRAY                                                              5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX    75070
                                                                                                                       9211 Lake Hefner
Carl Wheat                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Carl Wheat                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Carl Wheat                                                               10216 E. Tower Estates                                                                  Glencoe          OK    74032
CARL WIEHE                                                               318 E 45TH CT                                                                           TULSA            OK    74105
CARL WILLIAMS                                                            6615 S VASSAR RD                                                                        COYLE            OK    73027
CARL WOOTEN                                                              2476 TEA RD                                                                             HELENA           MT    59602
CARL WRIGHT                                                              19720 E 171ST ST                                                                        BROKEN ARROW     OK    74014
                                                                                                                       9211 Lake Hefner
Carl Williams                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Carl Williams                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Carl Williams                                                            1401 SW 31st                                                                            Oklahoma City    OK    73119
CARLA ALLEN                                                              7730 PONTIAC DR                                                                         PENSACOLA        FL    32506-3630
CARLA BEIER WELLS                                                        11310 HARVEST                                                                           PERRY            OK    73077
CARLA BRIIX                                                              3067 RUSSELL OLIN RD                                                                    HENNESSEY        OK    73742
CARLA BRYANT                                                             2501 GLEN OAKS BLVD                                                                     GLENDALE         CA    91206
CARLA FRYE                                                               3458 LOVERS LN                                                                          DALLAS           TX    75225-7630
CARLA GREEN                                                              1909 RED OAK LANE                                                                       CLAYTON          NC    27520
CARLA HAYES                                                              21692 E 190TH ST S                                                                      HASKELL          OK    74436
CARLA HOYSRADT                                                           748 RIDGECREST DR                                                                       HURST            TX    76053
CARLA JORGENSEN                                                          2595 N 140 E UNIT 304                                                                   PROVO            UT    84604-5642
CARLA MCGREGOR                                                           2220 HAVENWOOD RD                                                                       PONCA CITY       OK    74604
CARLA PIERSON                                                            3614 PEBBLE PEACH DR                                                                    FARMERS BRANCH   TX    75234
Carla Pritchard                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX    75070
Carla Pritchard                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK    74104
Carla Pritchard                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY    10017
Carla Pritchard                                                          453 S. City View Rd                                                                     Ponca City       OK    74604
                                                                                                                       9211 Lake Hefner
Carla Hilbert                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Carla Hilbert                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Carla Hilbert                                                            337944 E. 780 Rd                                                                        Tryon            OK    74875
                                                                                                                       9211 Lake Hefner
Carla Maloy                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Carla Maloy                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Carla Maloy                                                              17000 West Hwy 33                                                                       Cashion          OK    73016
                                                                                                                       9211 Lake Hefner
Carla Melvin                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Carla Melvin                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Carla Melvin                                                             4504 Cinderella Dr                                                                      Oklahoma City    OK    73129
CARLE FAIRLIE                                                            309 E DAWES                                                                             BIXBY            OK    74008
CARLEEN MACK                                                             1218 S JEFFERSON ST                                                                     ENID             OK    73701
CARLEEN WHITT                                                            1262 W O'FARRELL STREET                                                                 SAN PEDRO        CA    90732
Carleena Walkingbull                  c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX    75070
Carleena Walkingbull                  c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK    74104
Carleena Walkingbull                  c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY    10017
Carleena Walkingbull                                                     811 Granite St                                                                          Pawnee           OK    74058


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                                                                                              White Star Petroleum, LLC
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CARLENE CAMPBELL TRUST 6-25-2009                                         16105 VINTAGE CT                                                                       EDMOND          OK       73013
CARLENE COWAN                                                            1721 CINNAMON RIDGE RD                                                                 EDMOND          OK       73025
CARLENE DOWELL                                                           7513 N SHORES DR                                                                       NAVARRE         FL       32566
CARLENE GRAVLEE                                                          PO BOX 124                                                                             CHATTANOOGA     OK       73528-0124
CARLENE HARPE                                                            6304 W COVENTRY                                                                        STILLWATER      OK       74074
CARLENE MATTSON                                                          3629 S HIGH SPRINGS ST                                                                 NAMPA           ID       83686-5359

CARLETTA CALDWELL AND EVERETTE CALD                                      1711 N JARDOT RD                                                                       STILLWATER      OK       74075-8544
CARLISLE M & JOAN FLEETWOOD                                              12007 SHADY TRAIL LANE                                                                 OKLAHOMA CITY   OK       73120
CARLOS & DONNA COMBS REV TRUST                                           1721 S AGRA RD                                                                         CUSHING         OK       74023-5861

CARLOS BERRY                                                             AV LOMAS ANAHUAC 133 TORRE C-701                                                       HUIXQUILUCAN    EM       52786        MEXICO
CARLOS J. LANG                                                           303 ASBURY DRIVE                                                                       ENID            OK       73703
CARLOS SQUIRES                                                           ROUTE 1                                                                                CARNEGIE        OK       73015
                                                                                                                       9211 Lake Hefner
Carlos Guzman                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Carlos Guzman                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Carlos Guzman                                                            1693 N Triple X Rd                                                                     Choctaw         OK       73020
CARLOTTA GREGORY                                                         1433 WILL ROGERS DR                                                                    CUSHING         OK       74023-5009
CARLOTTA T RODOLF                                                        2123 E 59TH PL UNIT 6-C                                                                TULSA           OK       74105
CARLTON D AND TAMMY BEASLEY                                              1211 KATY COURT                                                                        STILLWATER      OK       74075
CARLTON R & CLAUDIA A DONLEY REV                                         1937 S EVANSTON                                                                        TULSA           OK       74104
                                                                                                                       9211 Lake Hefner
Carlton Morrison                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Carlton Morrison                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Carlton Morrison                                                         741 NW 109th St                                                                        Oklahoma City   OK       73114
CARLTON-BATES COMPANY                                                    PO BOX 676182                                                                          DALLAS          TX       75267-6182
CARLY MCKINNON                                                           3918 YORKSHIRE DR                                                                      STILLWATER      OK       74074
CARMA LEE CARTER                                                         3202 E PEACHTREE AVE                                                                   STILLWATER      OK       74074
CARMAC MINERALS LLC                                                      5500 POINT WOOD CIR                                                                    WACO            TX       76710
CARMAGO FIRE DEPT                                                        69385 N. 2080 RD                                                                       CARMAGO         OK       73835
CARMALITA DAVIS                                                          9973 CLYDE PL                                                                          LITTLETON       CO       80129
CARMALITA DAVIS                                                          427 WOODHAVEN CT                                                                       SHEBOYGAN       WI       53081
CARMELITA DAVIS                                                          130 ARIZONA AVE NE UNIT 118                                                            ATLANTA         GA       30307
CARMELITA MONTGOMERY                                                     1117 S. 3RD STREET                                                                     POCATELLA       ID       83201
CARMEN BARNETT                                                           7300 SILVER CITY DR                                                                    FORT WORTH      TX       76179
CARMEN CARTER                                                            912 ST LOUIS STUT B                                                                    NEW ORLEANS     LA       70112
CARMEN MATHERLY                                                          PO BOX 895                                                                             BRISTOW         OK       74010
CARMEN SCHMITT INC                                                       PO BOX 47                                                                              GREAT BEND      KS       67530
CARMEN SHOTWELL                                                          3121 S RIPLEY RD                                                                       AGRA            OK       74824-6223
                                                                                                                       9211 Lake Hefner
Carmen Smith                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Carmen Smith                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Carmen Smith                                                             335 E. Woodrow St                                                                      Tulsa           OK       74106
                                                                                                                       9211 Lake Hefner
Carmen T. Spiegel                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Carmen T. Spiegel                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Carmen T. Spiegel                                                        331325 E. Captain Dr                                                                   Wellston        OK       74881
CARMEN TURNER                                                            1501 SW 56TH ST                                                                        OKLAHOMA CITY   OK       73119-6221

CARMENCITA M POE                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX       75070
CARMODY MACDONALD PC                                                     120 S CENTRAL AVE STE 1800                                                             ST LOUIS        MO       63105-1726
CARNEGIE ENERGY LLC                                                      4925 GREENVILLE AVE STE 200                                                            DALLAS          TX       75206
CAROL A MEISTERLING                                                      1608 LA CABRA DR SE                                                                    ALBUQUERQUE     NM       87123



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                                                                                                                       9211 Lake Hefner
Carol A. Brewer                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Carol A. Brewer                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Carol A. Brewer                                                          11104 Bel Air Pl                                                                       Oklahoma City    OK      73120
CAROL AGEE                                                               2315 WESTPARK WAY CIR                                                                  EULESS           TX      76040
CAROL AND MARK GELLER                                                    248 ENCINO LANE                                                                        NIPOMO           CA      93444
CAROL ANDERSON                                                           22129 E COSTILLA DR                                                                    AURORA           CO      80016
CAROL ANITA TODD                                                         408 W PONCA ST                                                                         GARBER           OK      73738

CAROL ANN BLACKWOOD REV TRUSTDTD 10                                      541 NW 41ST ST                                                                         OKLAHOMA CITY    OK      73118
CAROL ANN GARNER REV TRUST                                               4069 MEADOW VIEW DR                                                                    FAYETTEVILLE     AR      72703
CAROL ANN LINDSEY ZIKE TRUST                                             1017 COUNTY STREET 2931                                                                TUTTLE           OK      73089-3036
CAROL ANN TAYLOR                                                         846 E MANOR DR                                                                         CHANDLER         AZ      80225
CAROL ARTERBERY                                                          4808 COUNTRY CLUB CT                                                                   STILLWATER       OK      74074-1422
CAROL BENTLEY                                                            23 CRESTWOOD TERRACE                                                                   CLINTON          OK      73601
CAROL BUNGARD                                                            307 N RACETRACK RD                                                                     HENDERSON        NV      89015
CAROL C GOETZINGER TRUST                                                 1729 COVENTRY LANE                                                                     OKLAHOMA CITY    OK      73120
CAROL CALLERY                                                            1756 NORTHRIDGE DR                                                                     HURST            TX      76054
CAROL CARPENTER                                                          17419 E AIRPORT RD                                                                     GLENCOE          OK      74032
CAROL CONNER                                                             100 N 2ND ST                                                                           FAIRFAX          OK      74637
CAROL CONNOR                                                             13510 BRIAR FALLS CT                                                                   HOUSTON          TX      77059-3244
CAROL COOPER                                                             PO BOX 216                                                                             DRUMMOND         OK      73735
CAROL CORNETT                                                            4717 N FLINTRIDGE RD                                                                   RIVERSIDE        MO      64150-1153
CAROL COSTNER                                                            4614 S COYLE RD                                                                        STILLWATER       OK      74074
CAROL CREED                                                              1724 EAST EDMUNDS AVE                                                                  GUTHRIE          OK      73044-6101
CAROL CUBBAGE                                                            PO BOX 550                                                                             CUSHING          OK      74023-0550
CAROL DAVIS                                                              2717 FM 1685                                                                           VICTORIA         TX      77905
CAROL DIANE WILLETT                                                      404 WOODHOLLOW TRAIL                                                                   EDMOND           OK      73012
CAROL DIBERNARDINO                                                       43 BLUESPRUCE ROAD                                                                     LEVITOWN         NY      11756
CAROL DISNEY                                                             317 STANTON ST                                                                         CALERA           OK      74730-1808
CAROL DUKE                                                               5252 W CR 68                                                                           GUTHRIE          OK      73044
CAROL DVORAK                                                             10751 CHISHOLM                                                                         PERRY            OK      73077-8809
CAROL E LONG                                                             4005 NW EXPRESSWAY STE 500                                                             OKLAHOMA CITY    OK      73116-2606
CAROL E LONGAN                                                           110 CROSS ST                                                                           PERKINS          OK      74059-4201
CAROL ELAINE EDIGER                                                      2108 DUNWOODY DR                                                                       VALPARAISO       IN      46383
CAROL ESLINGER                                                           1455 NW 20 AVENUE                                                                      HARPER           KS      67058
CAROL FARMER                                                             13112 BROOKE AVENUE                                                                    EDMOND           OK      73013
CAROL FORD                                                               1726 S 110TH E AVE                                                                     TULSA            OK      74128
CAROL FORD                                                               3513 WHISTLER CT                                                                       TURLOCK          CA      95382-9796
CAROL FRANCIS                                                            201 WEST KALER                                                                         PHOENIX          AZ      85021
CAROL FUXA                                                               413 ANDALUSIAN TRL                                                                     CELINA           TX      75009-4656
CAROL GARREN                                                             16144 MERIDIAN AVE                                                                     LINDSAY          OK      73052
CAROL GIVENS                                                             22251 CR 200                                                                           PERRY            OK      73077
CAROL HARTER TABAKA                                                      846 E MANOR DR                                                                         CHANDLER         AZ      85225-8496
CAROL HOLZER                                                             12021 W 71ST ST                                                                        COYLE            OK      73027-6300
                                                                                                                       9211 Lake Hefner
Carol J Davis                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Carol J Davis                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Carol J Davis                                                            3314 N. Hartford Ave                                                                   Tulsa            OK      74106
CAROL J WALKER LIVING TR DTD 12-23-                                      16500 DAKOTA RIDGE RD                                                                  LONGMONT         CO      80503
                                                                                                                       9211 Lake Hefner
Carol J. Lovett                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Carol J. Lovett                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Carol J. Lovett                                                          4703 S. 94th E. Ave.                                                                   Tulsa            OK      74145
CAROL JEAN COONROD                                                       3844 COUNTRY ESTATES DRIVE                                                             COTTONWOOD       CA      96022
CAROL KINCAID                                                            5622 EAST 115TH STREET                                                                 TULSA            OK      74137


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CAROL KINDEL                                                           8524 GREENBACK LANE                                                                     ORANGEVALE        CA       95662
CAROL KLENDA                                                           2840 E 34TH ST                                                                          TULSA             OK       74105-2920
CAROL KLIESEN                                                          8105 N JARDOT                                                                           GLENCOE           OK       74032
CAROL KNIGHT                                                           503 SUNSET VILLA DR                                                                     LAS VEGAS         NV       89110
CAROL KNITTLE MAIR                                                     21647 N MOZART COURT                                                                    SUN CITY WEST     AZ       85375-1916
CAROL KOLK                                                             20211 DRAZEL RD                                                                         MALIN             OR       97632
CAROL L JACOBSON                                                       175 E DELAWARE PL #6809                                                                 CHICAGO           IL       60611
CAROL LAMBERTZ                                                         26320 S WESTLINE RD                                                                     CLEVELAND         MO       64734-9113
CAROL LEAH REIM TRUST                                                  519 W CHEROKEE ST                                                                       GARBER            OK       73738
CAROL LEONARD                                                          6800 SOUTH GRANITE AVE APT 533                                                          TULSA             OK       74136
CAROL LINDSEY ZIKE                                                     1017 COUNTY ST 2931                                                                     TUTTLE            OK       73089-3036
CAROL LOEPPERT                                                         13804 HAULEY RD                                                                         DURAND            IL       61024
CAROL LOUISE DVORAK TRUST                                              10751 CHISHOLM                                                                          PERRY             OK       73077
CAROL LOVELL                                                           PO BOX 275                                                                              BOKOSHE           OK       74930
CAROL LUST                                                             609 MAPLE ST                                                                            DIMMITT           TX       79027
CAROL MCEWEN PHELPS TRUST                                              395 GRANDVIEW ST                                                                        MEMPHIS           TN       38111
CAROL MCPEEK                                                           PO BOX 1276                                                                             GUTHRIE           OK       73044
CAROL MELSON                                                           345975 E 930 RD                                                                         CHANDLER          OK       74834-8319
CAROL MILNER                                                           890501 S 3310 RD                                                                        WELLSTON          OK       74881
Carol Moss                           c/o Allen Stewart, PC             Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX       75070
Carol Moss                           c/o Drummond Law, PLLC            Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK       74104
Carol Moss                           c/o Phillips & Paolicelli, LLP    Attn: Steven Phillips                         747 3rd Ave                               New York          NY       10017
Carol Moss                                                             1911 Copperhead Ln                                                                      Stillwater        OK       74074
CAROL NELSON                                                           210 KNAPP CT                                                                            EL DORADO HILLS   CA       95762
CAROL PEACH TRUST                                                      1107 N MITCHELL RD                                                                      HENNESSEY         OK       73742
CAROL PECK                                                             25635 DONALD AVENUE                                                                     HAYWARD           CA       94544
CAROL POLLEY                                                           1304 LAMPLIGHTER LN                                                                     EDMOND            OK       73034
CAROL REIM                                                             519 W CHEROKEE                                                                          GARBER            OK       73738
CAROL REUPERT                                                          4630 RETRIEVER RIDGE RD                                                                 CASHION           OK       73016
CAROL RITTER                                                           326 N CEDAR                                                                             MEDICINE LODGE    KS       67104
CAROL ROBINSON AND DIANE S GORDON                                      1704 FAIRWAY DR                                                                         PERKINS           OK       74059-4114
CAROL ROSS                                                             9100 E LAKEVIEW                                                                         STILLWATER        OK       74075
CAROL ROTHER                                                           225 S 4TH ST                                                                            OKARCHE           OK       73762-9122
CAROL S DOUGLASS REV TRUST                                             8000 NOLAND RD                                                                          LENEXA            KS       66215
CAROL S MCPEEK                                                         18 WOOSAMONSA RD                                                                        PENNINGTON        NJ       08534
CAROL S SMILEY                                                         9520 NORTHLAND RD                                                                       OKLAHOMA CITY     OK       73120-2028
CAROL SATTLER                                                          377 INDIAN CAVE RD                                                                      DOSS              TX       78618-0106
CAROL SHED                                                             33507 150TH ST                                                                          WAYNE             OK       73095
CAROL SHERWOOD                                                         701 N PETERS                                                                            NORMAN            OK       73069
CAROL SHOTWELL                                                         3121 S RIPLEY RD                                                                        AGRA              OK       74824-6223
CAROL SMITH                                                            2600 SW 113TH ST                                                                        OKLAHOMA CITY     OK       73170
                                                                                                                     9211 Lake Hefner
Carol Steele                         c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120

Carol Steele                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd    9th Fl              Houston           TX       77006
Carol Steele                                                            18600 Hickory Hollow Dr                                                                Harrah            OK       73045
CAROL SUE CASTLE                                                        9810 LYNNHAVEN AVE                                                                     LUBBOCK           TX       79423-5135
CAROL SUE TOOBIN IRREVOCABLE TRUST                                      10 CLOVE COURT                                                                         SANTA FE          NM       87506
CAROL SULLIVAN                                                          1242 ALPINE POND                                                                       SAN ANTONIO       TX       78260
CAROL SUTTON                                                            1958 EDGEWOOD RD                                                                       MILBROOK          AL       36054-3657
CAROL TOOBIN                                                            10 CLOVE COURT                                                                         SANTA FE          NM       87506-9558
CAROL TROOK HACKER                                                      1720 SHUTT HILL RD                                                                     HUNTINGTON        IN       46750
CAROL WATKINS                                                           7903 W 9TH ST                                                                          RIPLEY            OK       74062-6390
                                                                                                                     9211 Lake Hefner
Carol Winston                        c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120

Carol Winston                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd    9th Fl              Houston           TX       77006
Carol Winston                                                           940 N. Tabor Dr                                                                        Oklahoma City     OK       73107
CAROL WRIGHT                                                            6471 STANRIDGE CT                                                                      SAN JOSE          CA       95123


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CAROL YAWORSKI                                                           362 TRUMAN LN                                                                            BETHLEHEM         PA      18020
CAROLE BALACH                                                            PO BOX 1588                                                                              TULSA             OK      74101
CAROLE BOCK                                                              2229 CENTER ST                                                                           GARDEN CITY       KS      67846-3562
CAROLE BRYAN                                                             819 11TH ST                                                                              SNYDER            OK      73566
CAROLE DOBBS                                                             24305 TAHOE CT                                                                           LAGUNA NIGUEL     CA      92677
CAROLE GOODSPEED                                                         PO BOX 110                                                                               PERRY             OK      73077
CAROLE J DRAKE LLC                                                       PO BOX 18466                                                                             OKLAHOMA CITY     OK      73154-0466
CAROLE L. DOUGLAS                                                        2580 FOREST GLEN DRIVE                                                                   CHOCTAW           OK      73020
                                                                                                                       9211 Lake Hefner
Carole Martinez                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Carole Martinez                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston           TX      77006
Carole Martinez                                                          3744 S. 63rd W. Ave.                                                                     Tulsa             OK      74107
CAROLE MOORE                                                             1616 ESPLANADE APT 11                                                                    REDONDO BEACH     CA      90277
CAROLE PRUITT                                                            1098 ARCHES PARK DRIVE                                                                   ALLEN             TX      75013
CAROLE RANDLE                                                            700 SW 102ND ST                                                                          OKLAHOMA CITY     OK      73139
CAROLE WEYGAND                                                           19708 E 42ND ST                                                                          BROKEN ARROW      OK      74014
CAROLEE BRADSHAW & RICHARD                                               5 TIBURON COUT                                                                           MANHATTAN BEACH   CA      90266
CAROL-HOLLY OIL CORP                                                     PO BOX 370900                                                                            DENVER            CO      80237-0900
CAROLINA BARRIE                                                          1707 SAN VICENTE BLVD                                                                    SANTA MONICA      CA      90402-2306
CAROLINA M HERRON TRUST                                                  3009 WHITE CEDAR CT                                                                      MOORE             OK      73160
CAROLINE CALDWELL                                                        136 HCR 4326                                                                             MILFORD           TX      76670
CAROLINE FERNANDES                                                       199 SUMMIT ST                                                                            PORTLAND          ME      04103
CAROLINE H HANSEN REV INTERVIVOS TR                                      40 CR 126                                                                                ESPANOLA          NM      87532
CAROLINE STINSON                                                         198 SUNSET DR                                                                            EL CENTRO         CA      92243
CAROLL ANGLLEY                                                           8555 S LEWIS AVE #280-282                                                                TULSA             OK      74137
CAROLY SUE VASSAR TRUSTEE                                                48454 S HIGHWAY 18                                                                       PAWNEE            OK      74058
CAROLYN                                                                  PO BOX 471610                                                                            FORT WORTH        TX      76147-1406
CAROLYN & CHARLES MILNER TRST                                            4800 TRAPP DRIVE                                                                         DEL CITY          OK      73115
CAROLYN A SMITH                                                          2214 QUAILWOOD DR                                                                        ENID              OK      73703
CAROLYN ALLEN                                                            6721 N 2980 RD                                                                           HENNESSEY         OK      73742
                                                                                                                       9211 Lake Hefner
Carolyn Anita Jones                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City     OK      73120

Carolyn Anita Jones                   c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston           TX      77006
Carolyn Anita Jones                                                      8505 Crestline Dr                                                                        Oklahoma City     OK      73132
CAROLYN BALDWIN VILAIN                                                   3 OAK HILL RD                                                                            HARVARD           MA      01451
CAROLYN BLOSSOM                                                          175 PERRY DR                                                                             COUPEVILLE        WA      98239
CAROLYN BOSWORTH                                                         729 NORTH OAK                                                                            PAULS VALLEY      OK      73075
CAROLYN BOYLES                                                           2207 W MAIN ST                                                                           CUSHING           OK      74023-5648
CAROLYN BRADISH                                                          2483 W SUNSET DRIVE                                                                      LITTLETON         CO      80120
                                                                                                                       9211 Lake Hefner
Carolyn Brison                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City     OK      73120

Carolyn Brison                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston           TX      77006
Carolyn Brison                                                           5721 N Hiwassee Rd                                                                       Choctaw           OK      73020
                                                                                                                       9211 Lake Hefner
Carolyn Bruner                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City     OK      73120

Carolyn Bruner                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston           TX      77006
Carolyn Bruner                                                           PO Box 30655                                                                             Midwest City      OK      73140
CAROLYN C FOSTER REV TR                                                  23342 E HORSESHOE BEND RD                                                                PARK HILL         OK      74451-4159
                                                                                                                       9211 Lake Hefner
Carolyn Campbell                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City     OK      73120
Carolyn Campbell                      c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                         Los Angeles       CA      90017
CAROLYN CAMPBELL                                                         3021 E CANNON DR                                                                         PHOENIX           AZ      85028
Carolyn Campbell                                                         5917 SE Morgan Dr                                                                        Guthrie           OK      73044
CAROLYN CHURCHILL                                                        720 NW 144TH ST                                                                          EDMOND            OK      73013
CAROLYN CLAY                                                             205 W WARREN AVE #A                                                                      BAKERSFIELD       CA      93308


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CAROLYN COMBS                                                       PO BOX 1393                                                                            RIDGELAND          SC      29936-2623
CAROLYN FOSTER                                                      23342 E HORSESHOE BEND RD                                                              PARK HILL          OK      74451-4159
CAROLYN GASTEL                                                      107 SE 60TH RD                                                                         LAMAR              MO      64759-9248
CAROLYN GRINDSTAFF                                                  1117 W FRANCIS AVE                                                                     STILLWATER         OK      74075
CAROLYN HAM MURRAY                                                  1648 PINON GLEN CIR                                                                    COLORADO SPRINGS   CO      80919-3344
CAROLYN HART                                                        1706 NORTHEAST 67TH STREET                                                             OKLAHOMA CITY      OK      73111-7949
CAROLYN HAWKINS                                                     7951 SOUTHBROOK CIR                                                                    FORT WORTH         TX      76134
CAROLYN HOOK CHILDREN'S TRUST                                       2020 CYPRESS STREET                                                                    GAINSVILLE         TX      76240-3708
CAROLYN HYDE                                                        71 FLAMINGO DRIVE                                                                      SANTA ROSA BEACH   FL      32459
CAROLYN J GREEN                                                     18526 E 700 RD                                                                         DOVER              OK      73734
CAROLYN JACOB FISHER                                                2408 FOX LN                                                                            BLANCHARD          OK      73010
CAROLYN JANE TARVER                                                 142 CRESTWOOD LANE                                                                     SPRINGTOWN         TX      76082
CAROLYN JARDOT                                                      700 S WILLOW ST APT 1007                                                               STILLWATER         OK      74074
CAROLYN JON NOYES                                                   ONE ALTON COURT                                                                        HAMPTON            VA      23669
CAROLYN JONES                                                       2706 W 14TH AVE                                                                        WINFIELD           KS      67156-6339
CAROLYN KAMP ROBLYER                                                4055 VILLAGE DR #203                                                                   PEARLAND           TX      77581
CAROLYN KAY HYDE                                                    71 FLAMINGO DRIVE                                                                      SANTA ROSE BEACH   FL      32459-8514
CAROLYN KEYS BOSWORTH ESTATE                                        38936 E CR 1540                                                                        PAULS VALLEY       OK      73075
CAROLYN KINNEY                                                      2709 STRATFORD DR                                                                      AUSTIN             TX      78746
                                                                                                                  9211 Lake Hefner
Carolyn L. Lawson                 c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120

Carolyn L. Lawson                 c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston            TX      77006
Carolyn L. Lawson                                                    21610 N. Luther Rd                                                                    Luther             OK      73054
CAROLYN LOGAN                                                        2831 ORANGE AVE                                                                       SELMA              CA      93662-2941
CAROLYN MANN                                                         7205 OVERLAND TR                                                                      RIPLEY             OK      74062-6336
CAROLYN MARTIN                                                       6615 SOUTHPOINT DR                                                                    DALLAS             TX      75248
CAROLYN MARTIN                                                       5505 W 19TH #214                                                                      STILLWATER         OK      74074-1323
CAROLYN MASTERS                                                      7265 N CATHEDRAL ROCK RD                                                              TUCSON             AZ      85718
CAROLYN MILNER                                                       4800 TRAPP DR                                                                         OKLAHOMA CITY      OK      73115
CAROLYN MINNIX HARRIS                                                111 OSAGE RIDGE DR                                                                    SAND SPRINGS       OK      74063-8124
CAROLYN NICKS                                                        17798 COUNTY RD NS 224                                                                FREDERICK          OK      73542-9273
CAROLYN ORR                                                          14373 N SAN JUAN AVE                                                                  NAMPA              ID      83651-8233
CAROLYN REEDY                                                        29851 CR 110                                                                          ORLANDO            OK      73073
CAROLYN S AKINS                                                      2410 W OKLAHOMA AVENUE                                                                ENID               OK      73703
CAROLYN S GORATH 1997 REV TRUST                                      23600 CR 140                                                                          PERRY              OK      73077
CAROLYN S SULLINS                                                    1101 MAHAR DR                                                                         PERKINS            OK      74059-9121
CAROLYN SANDERS                                                      343801 E 5200 RD                                                                      GLENCOE            OK      74032-2236
CAROLYN SCHROEDER                                                    19908 VIVACE CT                                                                       EDMOND             OK      73012
CAROLYN SCOTT                                                        1540 MT RANCH RD                                                                      SAN ANDREAS        CA      95249
CAROLYN SHEETS                                                       146 N 25TH ST                                                                         NAMPA              ID      83687-6904
CAROLYN SHIRLEY                                                      1059 EAST COUNTY RD E                                                                 LEXINGTON          TX      78947
CAROLYN SIELING                                                      2540 N 55TH ST                                                                        OMAHA              NE      68104-4206
CAROLYN SILVERS                                                      2906 S DIVISION ST                                                                    GUTHRIE            OK      73044
CAROLYN STIPE                                                        4704 EAST KARA DR                                                                     STILLWATER         OK      74074
CAROLYN STONE                                                        12513 PINE BLUFF DR                                                                   OKLAHOMA CITY      OK      73142
CAROLYN STROUD                                                       2001 AGNEW ST                                                                         BONHAM             TX      75418-2401
CAROLYN SULLINS                                                      1314 W GULFPORT ST                                                                    BROKEN ARROW       OK      74011
                                                                                                                  9211 Lake Hefner
Carolyn Thomas                    c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120

Carolyn Thomas                    c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston            TX      77006
Carolyn Thomas                                                       1209 NE 20th St                                                                       Oklahoma City      OK      73111

CAROLYN TODD                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
                                                                                                                  9211 Lake Hefner
Carolyn Whitlock                  c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120

Carolyn Whitlock                  c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston            TX      77006


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Carolyn Whitlock                                                        2225 1/2 NW 14th St                                                                      Oklahoma City    OK    73107
CAROLYN WILLIAMS FREELAND                                               10409 SUNNYMEADE PL                                                                      OKLAHOMA CITY    OK    73120-3027
                                                                                                                      9211 Lake Hefner
Carolyn Williamson                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK    73120
                                     c/o Laminack, Pirtle & Martines,
Carolyn Williamson                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX    77006
Carolyn Williamson                                                      509 S. Elder Ave                                                                         Broken Arrow     OK    74012
CAROLYN YOUNG                                                           6418 S ROSE RD                                                                           RIPLEY           OK    74062-6102
                                                                                                                      9211 Lake Hefner
Carolyn Lunn                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK    73120
                                     c/o Laminack, Pirtle & Martines,
Carolyn Lunn                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX    77006
Carolyn Lunn                                                            4722 Lynn St                                                                             Guthrie          OK    73034
CARON J NOGEN                                                           4624 ASHTON DR                                                                           SACRAMENTO       CA    75864
                                                                                                                      9211 Lake Hefner
Caron Jarvis                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK    73120
Caron Jarvis                         c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                         Los Angeles      CA    90017
Caron Jarvis                                                            1702 W Mansur Ave                                                                        Guthrie          OK    73044
CARON MUNTZEL                                                           2 N HERON                                                                                LA MARQUE        TX    77568
CARPENTER FAMILY REVOCABLE LVG TR                                       4 CREEKSTONE COVE                                                                        LITTLE ROCK      AR    72211
CARPENTER LAND MGMT CO                                                  PO BOX 1699                                                                              COPPELL          TX    75019
Carpenter, Corey                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                    Oklahoma City    OK    73116
CARR FAMILY TRUST                                                       2145 S 77TH EAST AVE                                                                     TULSA            OK    74129-2417
CARR WELL SERVICE INC                                                   PO BOX 69090                                                                             ODESSA           TX    79769
Carrasco, Iram                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                      Stillwater       OK    74074
CARRI HOFFMAN                                                           3009 S UNION RD                                                                          STILLWATER       OK    74074
CARRIDAN C TABOR                                                        4223 S HUSBAND                                                                           STILLWATER       OK    74074
CARRIE ASKINS REVOCABLE TRUST                                           PO BOX 20568                                                                             OKLAHOMA CITY    OK    73156
CARRIE BETH WEIGEL                                                      14239 SE ROLLING MEADOWS WAY                                                             HAPPY VALLEY     OR    97086
CARRIE BUNNER                                                           34761 MERRILL RIDGE RD                                                                   GRAYSVILLE       OH    45734-9031
CARRIE CAIN                                                             27933 NE 151ST ST                                                                        DUVALL           WA    98019-8194
CARRIE EMMOT                                                            9589 W CRESTLINE DR                                                                      LITTLETON        CO    80128
CARRIE LYNCH                                                            PO BOX 21621                                                                             EL CAJON         CA    92021
CARRIE SPARKS BOYER                                                     615 S CENTRAL                                                                            BILLINGS         OK    74630
CARRIZO (UTICA) LLC                                                     500 DALLAS ST STE 2300                                                                   HOUSTON          TX    77002-4724
CARROL HELLER                                                           4520 HIGHLANDER CR                                                                       LAWTON           OK    73501
CARROL HEMPHILL                                                         BOX 413                                                                                  KIRTLAND         NM    87417
CARROLL CRISPIN                                                         220104 STATE HIGHWAY 47                                                                  PUTNAM           OK    73659-1034
CARROLL GENE CHRISTMAS                                                  24501 HIX DR                                                                             CANYON           TX    79015
CARROLL RUSSELL TOLSON                                                  3633 STATE LINE RD                                                                       KANSAS CITY      MO    64111
CARROLL WAYNE HUSTED                                                    PO BOX 8595                                                                              SEMINOLE         FL    33775
CARROLL WHITNEY ENTERPRISES INC.                                        926 BRADLEY DR                                                                           ATHENS           TX    75751
CARROLLTON MINERAL PARTNERS III LP                                      5950 BERKSHIRE LANE SUITE 1125                                                           DALLAS           TX    75225
CARROLLTON MINERAL PRTNRS III-B LP                                      5950 BERKSHIRE LNSTE 1125                                                                DALLAS           TX    75225
CARROLLTON MINERALS PARTNERS III-A                                      5950 BERKSHIRE LN STE 1125                                                               DALLAS           TX    75225
CARSTEN FAMILY REV TRUST                                                32921 CALLE DE LA BURRITA                                                                MALIBU           CA    90265
CARTER COUNTY CLERK                                                     ANNEX BLDG # 2                                                                           ARDMORE          OK    73401-6405
Carter, Jonathan                     c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                      Stillwater       OK    74074
Carter, Michelle                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                    Oklahoma City    OK    73116
Cartmill, Daniel                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                    Oklahoma City    OK    73116
Cartwright, Eumelia                  c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                    Oklahoma City    OK    73116
CARY FOSTER                                                             PO BOX 55                                                                                CLARKSTON        GA    30021
CARY SNOOKS                                                             8445 CARNATION STREET                                                                    BUENA PARK       CA    90621
CARYL GOLDSTONE                                                         9005 BURTON WAY, #502                                                                    LOS ANGELES      CA    90048
                                                                        2221 SOUTH PRAIRIE AVENUE, SPACE
CARYL HANSEN                                                            #123                                                                                     PUEBO            CO    81005
CARYL LEE GRONINGER                                                     PO BOX 36                                                                                MEXICO           PA    17056-0036
CAS HOLDINGS LLC                                                        317 E SENECA AVE                                                                         MCALESTER        OK    74501-6425
CASA DEL REY LLLP                                                       2305 EAST ARAPAHOE ROAD STE 151                                                          CENTENNIAL       CO    80122


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CASA GRANDE EXPLORATION COMPANY                                       11371 W WAVERLY DR                                                                      CASA GRANDE        AZ    85194-6821

CASA GRANDE EXPLORATION COMPANY (OB                                   11371 W WAVERLY DR                                                                      CASA GRANDE        AZ    85194-6821
CASCADE ACQUISITION PARTNERS LP                                       PO BOX 7849                                                                             DALLAS             TX    75209
CASCADE CONSULTING LLC                                                3126 SOUTH BOULEVARD STREET                                                             EDMOND             OK    73013
CASCADE INTEGRATED SERVICES LLC                                       PO BOX 912604                                                                           Denver             CO    99999
CASCADE RESOURCES LLC                                                 PO BOX 888                                                                              EDMOND             OK    73083
CASCADE SUBSCRIPTION SERVICE INC                                      PO BOX 75089                                                                            SEATTLE            WA    98175-0089
CASE FAMILY IRREVOCABLE TRUST                                         1629 N MARION AVE                                                                       OKLAHOMA CITY      OK    73106
CASE WIRELINE SERVICES INC                                            PO BOX 646                                                                              WOODWARD           OK    73802-0646
CASEDHOLE SOLUTIONS                                                   PO BOX 267                                                                              WEATHERFORD        OK    73096
CASEY & ASSOCIATES                                                    2800, 350 - 7th AVE SW                                                                  CALGARY            AB    T2P 3N9      CANADA
CASEY AND ANGIE ECKSTEIN                                              1216 NORTH HIGHTOWER STREET                                                             STILLWATER         OK    74075
                                                                                                                    9211 Lake Hefner
Casey Bellman                         c/o Atkins & Markoff            Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120

Casey Bellman                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                   5020 Montrose Blvd    9th Fl              Houston            TX    77006
Casey Bellman                                                            3456 Parker Dr                                                                       Oklahoma City      OK    73135
CASEY FORD MULLINS                                                       621 PRINCETON AVENUE                                                                 ENID               OK    73701
CASEY GORRELL                                                            4546 W CR 6                                                                          MULHALL            OK    73063
CASEY LYNN CARDIN                                                        15910 W COUNTY ROAD 59                                                               MARSHALL           OK    73056
CASEY MCDONOUGH                                                          2001 NW 45TH ST                                                                      OKLAHOMA CITY      OK    73118
CASEY NYE                                                                3904 NW 51ST ST                                                                      OKLAHOMA CITY      OK    73112-2048
CASEY NYE TAYLOR                                                         3904 NW 51ST ST                                                                      OKLAHOMA CITY      OK    73112-2048
CASEY REVOCABLE TRUST                                                    2209 CHULA VISTA DRIVE                                                               PLANO              TX    75023
CASEY SCHMIT                                                             532 NW 32ND ST                                                                       OKLAHOMA CITY      OK    73118-7341
CASH CAMERON                                                             301 NW 63RD STE 600                                                                  OKLAHOMA CITY      OK    73113
CASH LAND PROPERTIES LLC                                                 PO BOX 283                                                                           HENNESSEY          OK    73742
CASILLAS PETROLEUM CORP                                                  PO BOX 3411                                                                          TULSA              OK    74101-3411
CASING CREWS INC                                                         PO BOX 158                                                                           LAMONT             OK    74643-0158
CASING EQUIPMENT SUPPLY LLC                                              PO BOX 158                                                                           LAMONT             OK    74643
CASINJAC INC                                                             PO BOX 429                                                                           ELK CITY           OK    73648-0429
CASSANDRA                                                                2303 MELISSA LANE                                                                    STILLWATER         OK    74074-8629
                                                                                                                    9211 Lake Hefner
Cassandra Morgan                      c/o Atkins & Markoff            Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120

Cassandra Morgan                      c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                   5020 Montrose Blvd    9th Fl              Houston            TX    77006
Cassandra Morgan                                                         4700 Republic Dr                                                                     Oklahoma City      OK    73135
CASSELMAN LUTES IRRV. TRUST                                              PO BOX 250969                                                                        PLANO              TX    75025
Cassi Fesler                          c/o Allen Stewart, PC              Attn: Allen M Stewart                      325 N Saint Paul St   Ste. 4000           Dallas             TX    75070
Cassi Fesler                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                        1500 South Utica      Ste. 400            Tulsa              OK    74104
Cassi Fesler                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                      747 3rd Ave                               New York           NY    10017
Cassi Fesler                                                             1969 CR 6050                                                                         Ralston            OK    74650
Cassiday, Matthew                     c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                  Stillwater         OK    74074
CASSIE EVERETT                                                           6101 E 104TH ST                                                                      PERKINS            OK    74059
CASSIE MILLER                                                            10705 S JAMES CT                                                                     JENKS              OK    74037-1619
CASSONDRA BUETHE                                                         62074 723 RD                                                                         ELK CREEK          NE    68348-2737
CASSONDRA LAMBERT                                                        403 W 5TH ST                                                                         CHANDLER           OK    74834-1868
CASTLEBAY ENERGY LLC                                                     124 E 5TH ST STE 220                                                                 EDMOND             OK    73034-3832
CASTLEROCK RESOURCES INC                                                 3333 NW 63RD ST SUITE 1                                                              OKLAHOMA CITY      OK    73116-3722
CAT SPRING PROPERTIES LLC                                                PO BOX 450                                                                           SEALY              TX    77474
CATALYST FINANCE LP MID-CENTRAL ENE                                      PO BOX 19589                                                                         Houston            TX    77224
CATCH 5 LLC                                                              13003 E 181ST ST S                                                                   BIXBY              OK    74008
CATES SUPPLY INC                                                         PO BOX 267                                                                           WINFIELD           KS    67156-0267
CATHEDRAL ENERGY SERVICES INC                                            1801 BROADWAY STE 300                                                                DENVER             CO    80202-3830
CATHERINA ROGERS                                                         3407 E 35TH ST                                                                       TULSA              OK    74135
CATHERINE A WHEELER TTEE                                                 621 ARNOLD LANE                                                                      COLORADO SPRINGS   CO    80904
CATHERINE BAKER                                                          19327 SHADY BLOSSOM DR                                                               CYPRESS            TX    77433-3474
CATHERINE BECK                                                           1416 BRIXTON RD                                                                      EDMOND             OK    73034


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CATHERINE BRANSON                                                       2813 ALLENS TRL                                                                        EDMOND          OK      73012-6405
CATHERINE CATO                                                          13018 WILD HEART                                                                       HELOTES         TX      78023-3968
CATHERINE CRUTCHFIELD LIGHT                                             19374 GREEN LAKES LOOP                                                                 BEND            OR      97702
CATHERINE DOYLE                                                         3701 N MLK JR BLVDAPT 1012                                                             TULSA           OK      74106-6450
CATHERINE ELIZABETH FUNK                                                613 CRESCENT AVE                                                                       SUNNYSIDE       WA      98944
CATHERINE ELLEDGE                                                       2530 ADAM LANE                                                                         LEWISVILLE      TX      75056
CATHERINE G COOPER TRUST                                                1919 S GARY AVE                                                                        TULSA           OK      74104
                                                                                                                      9211 Lake Hefner
Catherine Gardner                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120

Catherine Gardner                    c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Catherine Gardner                                                       2725 S Air Depot Blvd                                                                  Edmond          OK      73013
CATHERINE GAY SCHWARZ                                                   5505 W 19TH #106                                                                       STILLWATER      OK      74074
CATHERINE LOU TISSLER BRANT                                             801 S CHEROKEE AVE                                                                     BARTLESVILLE    OK      74003
CATHERINE MCCOURT                                                       926 PLEASANT LN                                                                        GLENVIEW        IL      60025
                                                                                                                      9211 Lake Hefner
Catherine Meadows                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Catherine Meadows                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Catherine Meadows                                                       5505 N. Birmingham Ave                                                                 Tulsa           OK      74130
CATHERINE S ROUTON REV TRUST                                            12500 SAINT ANDREWS DR                                                                 OKLAHOMA CITY   OK      73120
CATHERINE SMITH                                                         1023 E WALNUT ST                                                                       CUSHING         OK      74023-2827
CATHERINE WADE                                                          1619 WHITHORN PL., UNIT C                                                              PALM HARBOR     FL      34684-2245
CATHERINE WEBB                                                          20570 SIEGFRIED RD                                                                     HARRAH          OK      73045
CATHERINE WILSON                                                        2227 E ALDEN AVE                                                                       ANAHEIM         CA      92806
CATHEY CLARKE BUGG                                                      1525 MISSION RD                                                                        EDMOND          OK      73034-6571
CATHEY DUVALL                                                           15908 E 110TH ST NORTH                                                                 OWASSO          OK      74055
CATHEY L WOLLENBERG                                                     1602 W 80TH ST                                                                         STILLWATER      OK      74074
CATHI KENNEDY                                                           13515 N CALUMET RD                                                                     CALUMET         OK      73014-9006
CATHLEEN HAWLEY                                                         2906 W GRAFF DR                                                                        PAYSON          AZ      85541
CATHOLIC ARCHDIOCESE OF OKC                                             PO BOX 32180                                                                           OKLAHOMA CITY   OK      73123
CATHOLIC BISHOP OF SPOKANE INC                                          PO BOX 1453                                                                            SPOKANE         WA      99210-1453
CATHOLIC FOUNDATION                                                     PO BOX 690240                                                                          TULSA           OK      74169-0240
CATHOLIC FOUNDATION OF OK INC TRUS                                      PO BOX 32180                                                                           OKLAHOMA CITY   OK      73123
CATHRYN GARCIA                                                          ADDRESS REDACTED
CATHY ANDERSON                                                          13850 GUN SMOKE                                                                        PERRY           OK      73077
                                                                                                                      9211 Lake Hefner
Cathy Brown                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120

Cathy Brown                          c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Cathy Brown                                                             8500 S. Independence Ave                                                               Oklahoma City   OK      73159
CATHY BURK TEAHAN                                                       8401 SHADOWOOD AVE                                                                     BROKEN ARROW    OK      74011-8225
CATHY COE                                                               PO BOX 536                                                                             HOLLIS          NH      03049-0536
CATHY COHEN                                                             1520 DESTINY LANE                                                                      DAUPHIN         PA      17018
CATHY COURCEY                                                           22314 N REIS DR                                                                        MARICOPA        AZ      85138
CATHY DAWSON                                                            3570 N WESTMINSTER                                                                     GUTHRIE         OK      73044
CATHY G DALTON                                                          84 HICKORY STREET                                                                      MAHTOMED        MN      55013
CATHY GUYER                                                             2013 ARAPAHO RD                                                                        EDMOND          OK      73013
CATHY L PATE                                                            9606 S PRAIRIE ROAD                                                                    PERKINS         OK      74059
                                                                                                                      9211 Lake Hefner
Cathy L. Winkleman                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120

Cathy L. Winkleman                   c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Cathy L. Winkleman                                                      11913 Mountain View Blvd                                                               Choctaw         OK      73020
CATHY LYNN ABEL-VAUGHN                                                  11418 COUNTY ROAD 105                                                                  BROWNWOOD       TX      76804
CATHY M GUYER AND R KIM GUYER JT                                        901 CAINES HILL ROAD                                                                   EDMOND          OK      73013
CATHY NESTER                                                            6424 BENTLEY DR                                                                        OKLAHOMA CITY   OK      73169-6938
CATHY WILSON                                                            2496 COUNTY ST 2760                                                                    CHICKASHA       OK      73018



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                                                                                                                       9211 Lake Hefner
Cathy Perry                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Cathy Perry                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Cathy Perry                                                              529 Primrose Lane                                                                      Guthrie          OK      73034
CATON HOBLIT JACOBS ESTATE                                               114 LOCH LOMOND ROAD                                                                   SAN ANGELO       TX      84062
CATTIE MINERALS LLC                                                      6115 OWENS ST STE 104                                                                  DALLAS           TX      75235
CATTIE MINERALS LLC                                                      6115 OWENS ST, SUITE 113                                                               DALLAS           TX      75235
Causey, Jan                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
CAV ENERGY LLC                                                           1209 N HARVEY AVE APT 203                                                              OKLAHOMA CITY    OK      73103-3729
CAVENDERS WESTERN OUTFITTER                                              1925 N PERKINS RD                                                                      STILLWATER       OK      74074
CAX LLC                                                                  PO BOX 18466                                                                           OKLAHOMA CITY    OK      73154
CAYCE WENDEBORN                                                          1802 CLUB VIEW                                                                         WICHITA FALLS    TX      76302
CBH III INVESTMENTS LLC                                                  1301 SHADY OAKS LN                                                                     FORT WORTH       TX      76107-3535
CBMONCRIEF OIL & GAS LLC                                                 950 COMMERCE STREET                                                                    FORT WORTH       TX      76102-5418
CCH INCORPORATED                                                         PO BOX 4307                                                                            CAROL STREAM     IL      60197-4307
CCH INVESTMENTS LLC                                                      1408 KENILWORTH RD                                                                     NICHOLS HILLS    OK      73120-1435
CCI SERVICES INC.                                                        10625 SW 59TH STREET                                                                   MUSTANG          OK      73064-4921
CCTS LLC                                                                 PO BOX 1801                                                                            LOWELL           AR      72745-1801
CCW INTERESTS INC                                                        PMB 395                                                                                EDWARDS          CO      81632-3000
CD PETROLEUM                                                             333 TEXAS ST STE 521                                                                   SHREVEPORT       LA      71101-5305
CDM ENERGY LLC                                                           PO Box 21233                                                                           Oklahoma City    OK      73120
CDW DIRECT                                                               300 N MILWAUKEE AVE                                                                    VERNON HILLS     IL      60061-1533
CE BURCHARDT                                                             933 TAYLOR AVENUE                                                                      PIEDMONT         OK      73078
CE NEAL                                                                  11012 N MAY AVENUE STE 130                                                             OKLAHOMA CITY    OK      73120
CEB OIL COMPANY                                                          1320 LAKE STREET                                                                       FORT WORTH       TX      76102
CECELIA B DAVES TTEE                                                     4729 E SUNRISE DR 166                                                                  TUCSON           AZ      85718
CECELIA MEYER                                                            10667 SAN VERCELLI CT                                                                  LAS VEGAS        NV      89141-3988
CECELIA MORRIS                                                           2725 DEE PEPPERS DRIVE                                                                 KNOXVILLE        TN      37931
CECELIA SEVY                                                             8512 SOMMER CAMP RD                                                                    GIVENS           ID      83641
CECELIA VOSS                                                             4507 N COUNTY CLUB RD                                                                  EL RENO          OK      73036
CECIL A GRIM                                                             602 PHEASANT RIDGE DR                                                                  PERRY            OK      73077-1324
CECIL BEISEL                                                             20111 SUMNER RD                                                                        PERRY            OK      73077
CECIL BLAINE                                                             2201 POMONA STREET                                                                     PASADENA         TX      77506-2949
CECIL BROWN                                                              1825 SURREY DR                                                                         PRYOR            OK      74361-8428
CECIL BUCKLES                                                            PO BOX 136894                                                                          CLERMONT         FL      34713-6894
CECIL CLIFTON                                                            9850 ESTRELLA DR                                                                       SPRING VALLEY    CA      91977-1322
CECIL D. LINDLEY REV. LIVING TRUST.                                      PO BOX 21549                                                                           ALBUQUERQUE      NM      87154
CECIL E COURSEY ESTATE                                                   421 S ROCK ISLAND AVE                                                                  EL RENO          OK      73036
CECIL G DRUMMOND & ASSOCIATES INC                                        5200 S YALE AVE STE 507                                                                TULSA            OK      74135
CECIL HARMAN                                                             PO BOX 43                                                                              ORLANDO          OK      73073
CECIL LOVELESS                                                           140 E. Maple Ave                                                                       Perry            OK      73077
CECIL MCFARLIN                                                           PO BOX 352                                                                             AGRA             OK      74824-0352
CECIL MCFARLIN                                                           PO BOX 362                                                                             AGRA             OK      74824
CECIL NICHOLSON                                                          3 WINDSOR CIR                                                                          STILLWATER       OK      74074
CECIL RAINS                                                              17009 FM 2186                                                                          AMARILLO         TX      79119
CECIL WRIGHT                                                             1042 W WALNUT ST                                                                       CUSHING          OK      74023-2436
CECILE MILLER                                                            4413 JORDAN AVE                                                                        EDMOND           OK      73013-4741
CECILIA ANNETTE FORREST                                                  PO BOX 114                                                                             MARSHALL         OK      73056-0114
CECILIA IRENE BROWNE-GRIM                                                6015 MONTGOMERY CORNER                                                                 SAN JOSE         CA      95135
CECILIA LEY                                                              4010 E 6TH AVE                                                                         STILLWATER       OK      74074
CECILIA LONG                                                             4044 S CARSON ST UNIT H                                                                AURORA           CO      80014-5160
CEDAR RIDGE MHP LLC                                                      PO BOX 1665                                                                            STILLWATER       OK      74076
CEDAR RIDGE PETROLEUM CORP.                                              PO BOX 656                                                                             BALDWIN CITY     KS      66006
CEDAR TOP INVEST                                                         PO BOX 6713                                                                            MCKINNEY         TX      75071
CEDARS GROUP LLC                                                         17917 N PORTLAND                                                                       EDMOND           OK      73003
CEDRIC SCARCE                                                            500 2ND ST                                                                             MAYSVILLE        OK      73057-1001
CEH OIL AND GAS LLC                                                      42233 SR 78                                                                            WOODSFIELD       OH      43793
CEILIA STRATTON                                                          8310 WILSON CIR                                                                        MOUNTAINBERG     AR      72946


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CEILY LEVY                                                               121 STATE ROAD 382                                                                     RANCHOS DE TAOS     NM      87557-8704
CEJA CORPORATION                                                         1437 S BOULDER AVE STE 1250                                                            TULSA               OK      74119-3620
CELESTE LUTES MOORE IRRV. TRUST                                          PO BOX 250969                                                                          PLANO               TX      75025
CELESTINE JOHNSON                                                        316 EAST 3RD STREET                                                                    STILLWATER          OK      74075
CELIA CANDACE ELWELL                                                     1714 BARB DRIVE                                                                        NORMAN              OK      73071
CELIA DECKER                                                             1722 ROSE PETAL LN                                                                     CASTLE ROCK         CO      80109-3588
CEMEX                                                                    PO BOX 730197                                                                          DALLAS              TX      75373-0197
CENDEC SYSTEMS INC                                                       1615 10TH AVE SW STE 315                                                               CALGARY             AB      T3C 0J7      CANADA
                                                                                                                       9211 Lake Hefner
Cendy Martin                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Cendy Martin                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Cendy Martin                                                             3339 S. Old Hwy                                                                        Atoka               OK      74525

CENTER FOR TOXICOLOGY AND ENVIRONME                                      5120 NORTHSHORE DR                                                                     NORTH LITTLE ROCK   AR      72118-5315
CENTERFIRE ENERGY CONSULTING LLC                                         171 STONEBRIDGE BLVD                                                                   EDMOND              OK      73013-4683
CENTRAL CHURCH OF CHRIST STILLWATER                                      PO Box 711                                                                             STILLWATER          OK      74076
CENTRAL LAND RESOURCES LLC                                               2801 HUNTLEIGH DR                                                                      OKLAHOMA CITY       OK      73120-2807
CENTRAL NATIONAL BANK & TRUST AS                                         PO BOX 3448                                                                            ENID                OK      73702
CENTRAL NATIONAL BANK AS CUST FBO                                        PO BOX 3448                                                                            ENID                OK      73702
CENTRAL OIL AND GAS PROPERTIES LLC                                       PO BOX 20117                                                                           OKLAHOMA CITY       OK      73156

CENTRAL POWER SYSTEMS & SERVICES IN                                      PO BOX 877625                                                                          KANSAS CITY         KS      64187-7625
CENTRAL RURAL ELECTRIC COOP                                              PO BOX 1809                                                                            STILLWATER          OK      74076-1809
                                      Craig McBrain, Executive Vice
Central Rural Electric Cooperative    President of Finance               3305 South Boomer Road                        P.O. Box 1809                            Stillwater          OK      74076
CENTRAL RURAL ELECTRIC COOPERATIVE                                       PO BOX 1809                                                                            STILLWATER          OK      74076-1809
Central Rural Electric Cooperative                                       3305 South Boomer Road                        P.O. Box 1809                            Stillwater          OK      74076
Central Rural Electric Cooperative                                       3304 S. Boomer Rd.                                                                     Stillwater          OK      74074

CENTRAL SAFETY SUPPLIERS & CONSULTA                                      PO BOX 1608                                                                            HELOTES             TX      78023-1608
CENTURION INC                                                            2692 S COLORADO BLVD, STE 500                                                          DENVER              CO      80222
CENTURION ROYALTY LP                                                     416 TRAVIS STREET, STE 1200                                                            SHREVEPORT          LA      71101
CENTURYLINK                                                              PO BOX 52187                                                                           PHOENIX             AZ      85072-2187
CEU PLYMOUTH LLC                                                         1221 LAMAR STREET STE 750                                                              HOUSTON             TX      77010
C-F ASSOCIATES INC                                                       PO BOX 701200                                                                          TULSA               OK      74170
CFD WOMEN'S AUXILIARY                                                    21338 E. 830 RD                                                                        LEEDY               OK      73654
CFE PARTNERS LLC                                                         3220 MEADOW LANE                                                                       COLLEGEVILLE        PA      19426
CG OK 1 LP                                                               4311 W LOVERS LANE STE 100                                                             DALLAS              TX      75209
CGG SERVICES                                                             PO BOX 204518                                                                          DALLAS              TX      75320-4518
CGG SERVICES (AUSTRALIA) PTY PTD                                         PO BOX 1802                                                                                                                     AUSTRALIA
CGI TECHNOLOGIES AND SOLUTIONS INC                                       12907 COLLECTIONS CENTER DR                                                            CHICAGO             IL      60693
CGS RENTALS LLC                                                          4803 BENTON RD                                                                         BOSSIER CITY        LA      71111
CH PETROLEUM LLC                                                         10 N BROADWAY                                                                          EDMOND              OK      73034
CHACEY SCHOEPPEL                                                         PO BOX 190                                                                             FAIRVIEW            OK      73737
CHACO ENERGY COMPANY                                                     PO BOX 1587                                                                            DENVER              CO      80201-1587
CHACOSIE ROYALTIES, LLC                                                  300 WOODS LAND                                                                         ARDMORE             OK      73401
CHAD ERVIN                                                               9723 SW MCADOO RD                                                                      AUGUSTA             KS      67010-7917
CHAD EVANS                                                               4829 COLONIAL PARK DR                                                                  HALTOM CITY         TX      76117
CHAD GREENE                                                              6010 E LONE CHIMNEY RD                                                                 GLENCOE             OK      74032
CHAD GRONINGER                                                           PO BOX 273                                                                             MIFFLIN             PA      17058
CHAD HAIMA                                                               13188 SW ASCENSION DR                                                                  TIGARD              OR      97223
CHAD ISBELL                                                              14631 CORAL BERRY DRIVE                                                                TAMPA               FL      33626
CHAD KUCKO                                                               4820 S COUNTRY CLUB RD                                                                 STILLWATER          OK      74074-2051
CHAD NORDQUIST                                                           1420 S QUAKER AVE                                                                      TULSA               OK      74120
CHAD STITES                                                              PO BOX 991                                                                             LAKE WORTH          FL      33460
CHAD TOMPKINS                                                            2161 SE 2001                                                                           ANDREWS             TX      79714
Chambers, Elliot                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116



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CHAMPION MEASUREMENT & AUTOMATION S                                      PO BOX 948                                                                             PERRYTON             TX      79070-0948
CHAMPION TECHNOLOGIES INC.                                               PO BOX 2243                                                                            HOUSTON              TX      77252
CHAMPIONS PIPE & SUPPLY INC                                              PO BOX 301053                                                                          DALLAS               TX      75303-1053
CHANCE BARTON                                                            1919 N TURNER ST                                                                       HOBBS                NM      88240-2712
CHANCE BRANSON                                                           8792 CO RD 61                                                                          MARSHALL             OK      73056
CHANCE BRUMLEY                                                           PSC 3 BOX 7811                                                                         APO                  AR      96266
CHANCE KENNEDY                                                           3404 CLASSEN BLVD                                                                      NORMAN               OK      73071
CHANCE MULLEN                                                            8173 MONROVIA ST                                                                       LENEXA               KS      66215-2728
CHANDA ASHLEY                                                            33 DYLAN LN                                                                            ARDMORE              OK      73401
CHANDELEUR LLC                                                           PO BOX 56228                                                                           HOUSTON              TX      77256

CHANDLER UNITED PENTECOSTAL CHURCH                                       890225 S 3445 RD                                                                       CHANDLER             OK      74834
CHANDRAKANT PATE                                                         3605 LONGBOW LN                                                                        PLANO                TX      75023
CHANDRAKANT PATEL                                                        3605 LONGBOW LN                                                                        PLANO                TX      75023
                                                                                                                                           10th Fl, Two
Chaparral Energy LLC                  c/o McAfee & Taft                  Attn: Timothy Bomhoff                         211 N Robinson Ave. Leadership Square    Oklahoma City        OK      73102
CHAPARRAL ENERGY LLC                                                     PO BOX 671550                                                                          DALLAS               TX      75267-1550
Chaparral Energy LLC                                                     701 Cedar Lake Blvd                                                                    Oklahoma City        OK      73114
CHAPARRAL ROYALTY                                                        PO BOX 66687                                                                           HOUSTON              TX      77266-6687
CHAPARRAL ROYALTY COMPANY                                                PO BOX 1604                                                                            MIDLAND              TX      79702-1604
CHAPIN HOME OF JAMAICA                                                   165-01 CHAPIN PKWY                                                                     JAMAICA              NY      11432
CHARALYN MCVEY REV TR                                                    1105 CEDAR CANYON DRIVE                                                                CHANDLER             OK      74834
                                                                                                                       9211 Lake Hefner
Charis Davenport                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120

Charis Davenport                      c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Charis Davenport                                                         405 W Main St                                                                          Jones                OK      73049
CHARITY CAROL HEASLER                                                    2898 NORD AVE                                                                          CHICO                CA      95973
CHARITY VOYLES                                                           26881 WEDGEWOOD DRIVE, UNIT 103                                                        BONITA SPRINGS       FL      34134
CHARLA JEANNE SPENCE                                                     64066 DORAL DRIVE                                                                      DESERT HOT SPRINGS   CA      92240
CHARLA K THERRIEN                                                        200 WEST MAIN STREET                                                                   MARSHALL             OK      73056
CHARLDEAN WIEHE ESTATE                                                   3630 E 69TH PL                                                                         TULSA                OK      74136
CHARLENA A SWISHER LIVING TRUST                                          2811 CRESCENT DR                                                                       STILLWATER           OK      74075
CHARLENE GANT                                                            3701 NW 67th STREET                                                                    OKLAHOMA CITY        OK      73116
CHARLENE HAUGEN                                                          9684 N. WILLEY COURT                                                                   FRESNO               CA      93720
CHARLENE HOUSE                                                           1243 MASSACHUSETTS AVE NW                                                              WASHINGTON           DC      20005
CHARLENE M PARKER                                                        416 HOLIDAY CREEK LANE                                                                 GEORGETOWN           TX      78633
CHARLENE MYERS                                                           645 S MARION AVE                                                                       HINTON               OK      73047-9219
CHARLENE OTTO                                                            2103 N JOHNSON ST                                                                      JEROME               ID      83338
CHARLENE WILKEY                                                          143 HOYT ST # 4B                                                                       STAMFORD             CT      06905-5759
CHARLES & ANN MCKNIGHT TRUST                                             1111 PAYNE ST                                                                          PERKINS              OK      74059-4155
CHARLES & JANICE EMMERICH TTEE                                           29705 E 730 RD                                                                         CRESCENT             OK      73028
CHARLES & MARY NOYES FAM REV TR                                          PO Box 996                                                                             BRISTOW              OK      74010
CHARLES & PATRICIA SCHROEDER                                             8617 E 140TH ST                                                                        PERKINS              OK      74059-3645
CHARLES A COURTNEY TRUSTEE                                               184 EDGEWOOD DR                                                                        RICHLAND             WA      99352-9407
CHARLES A MACK & KIM MACK JTS                                            329 E FLYNN RD                                                                         WAUKOMIS             OK      73773
CHARLES ALEXANDER                                                        308 N. 5TH STREET APT #5                                                               WATERFORD            WI      53185-4462
                                                                                                                       9211 Lake Hefner
Charles Allen                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Charles Allen                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
CHARLES ALLEN                                                            12173 DIVIDING OAK TRL                                                                 JACKSONVILLE         FL      32223
Charles Allen                                                            9202 N. 155th E. Ave.                                                                  Owasso               OK      74055
CHARLES AND LOUISE RYLAND                                                4247 ROWAN RD                                                                          BROOKSVILLE          FL      34604
CHARLES AND NELLA PITTS PHILLIPS 19                                      13205 ROARING SPRINGS LANE                                                             DALLAS               TX      75240
CHARLES AUSTIN                                                           12 FORREST RD                                                                          GUTHRIE              OK      73044
                                                                                                                       9211 Lake Hefner
Charles B. Arden                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120


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Charles B. Arden                      c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston            TX      77006
Charles B. Arden                                                         24 Eaton Pl                                                                              Edmond             OK      73034
                                                                                                                       9211 Lake Hefner
Charles B. Demery                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City      OK      73120

Charles B. Demery                     c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston            TX      77006
Charles B. Demery                                                        2017 N. Gatewood Ave                                                                     Oklahoma City      OK      73106
CHARLES BABER                                                            320 S BOSTON STE 1115                                                                    TULSA              OK      74103
CHARLES BAKER                                                            9101 NW 83RD                                                                             YUKON              OK      73099-9611
CHARLES BALLARD                                                          5403 W MAIN ST                                                                           CUSHING            OK      74023-5634
CHARLES BARRETT                                                          2217 W MCMURTRY RD                                                                       STILLWATER         OK      74075
CHARLES BETHARDS                                                         81315 REAVIS LANE                                                                        ENTERPRISE         OR      97828
CHARLES BLUE                                                             6188 AGEE ST                                                                             SAN DIEGO          CA      92122
CHARLES BLUE                                                             PO BOX 1090                                                                              TULSA              OK      74101
CHARLES BODE                                                             3514 CLAYTON RD                                                                          BONIFAY            FL      32425
CHARLES BONAR                                                            5502 NW ALAN A DALE LN                                                                   LAWTON             OK      73505
CHARLES BRANCH                                                           516 LOMBARDY LN                                                                          GUTHRIE            OK      73044
CHARLES BULLOCK                                                          809 QUAIL RUN RD                                                                         GROVE              OK      74344-5811
CHARLES BUREL HINKLE                                                     2310 N OKLAOMA ST                                                                        TRYON              OK      74875
CHARLES BURNETT DUNN TRUST                                               2836 E 38TH ST                                                                           TULSA              OK      74105-3708
CHARLES BURR                                                             10242 N 2440 ROAD                                                                        HYDRO              OK      73048
CHARLES BURTON ARMSTRONG JR &                                            515 GRAPE VINE RD                                                                        BLANCHARD          OK      73010
CHARLES BUSH                                                             19 SHADY BEND DR                                                                         MELISSA            TX      75454-8918
CHARLES C CLEMENT SUC TTEE                                               6503 SW CATLOW WY                                                                        REDMOND            OR      97756-9547
CHARLES C GREEN SR & PATRICIA M GRE                                      6325 N VILLA #154                                                                        OKLAHOMA CITY      OK      73112
CHARLES C RIESTER                                                        3219 CHAMBERS WAY                                                                        COLORADO SPRINGS   CO      80904
CHARLES CAIN                                                             5718 S 116TH AVE                                                                         SAND SPRINGS       OK      74063
CHARLES CALHOUN                                                          1406 CHUCKWA DR                                                                          DURANT             OK      74701
CHARLES CANEPA                                                           2500 CHERRY CREEK DR S UNIT #524                                                         DENVER             CO      80209-3286
                                                                                                                       9211 Lake Hefner
Charles Canning                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City      OK      73120
Charles Canning                       c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                         Los Angeles        CA      90017
Charles Canning                                                          5125 W Seward Rd                                                                         Guthrie            OK      73044
CHARLES CARROLL                                                          PO BOX 532                                                                               PERKINS            OK      74059
                                                                                                                       9211 Lake Hefner
Charles Carter                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City      OK      73120

Charles Carter                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston            TX      77006
Charles Carter                                                           1913 Godlin St                                                                           Oklahoma City      OK      73141
CHARLES CAVE                                                             1136 S MYRTLE AVE                                                                        YUMA               AZ      85364
CHARLES CHESSER                                                          18431 CYPRESS ROSEHILL                                                                   CYPRESS            TX      77429-1118
CHARLES CODDING                                                          7609 NW 75TH                                                                             KANSAS CITY        MO      64152-2349
CHARLES COLE                                                             1898 CREEKSIDE COURT                                                                     SIDNEY             OH      45365
CHARLES CONAGHAN                                                         PO BOX 402                                                                               TONKAWA            OK      74653
CHARLES CONKLIN                                                          77421 McDOLE ROAD                                                                        COTTAGE GROVE      OR      97424
CHARLES CONNOR                                                           18842 WALDING RD                                                                         MONTGOMERY         TX      77356
CHARLES CORLISS                                                          6338 F ST                                                                                SPRINGFIELD        OR      97478-7055
CHARLES COURTNEY                                                         184 EDGEWOOD DR                                                                          RICHLAND           WA      99352
CHARLES COWAN                                                            48110 HARDESTY RD                                                                        EARLSBORO          OK      74840-3569
CHARLES CREDICOTT                                                        PO BOX 126034                                                                            BENBROOK           TX      76126-0034
CHARLES CROOK                                                            441550 HIGHWAY 28                                                                        VINITA             OK      74301
CHARLES D RUSHMORE TRUST DTD 4707                                        1602 W 80TH ST                                                                           STILLWATER         OK      74074-8139
CHARLES D. MORRISON REV TR DTD 3-1-                                      PO BOX 14936                                                                             OKLAHOMA CITY      OK      73113
                                                                                                                       9211 Lake Hefner
Charles Dan                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Charles Dan                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston            TX      77006
Charles Dan                                                              8600 N. 123rd E. Ave                                                                     Owasso             OK      74055


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CHARLES DANIEL MERKLE                                           15158 S HWY 88                                                                       CLAREMORE            OK      74017
CHARLES DARR III                                                1425 NW 150TH STREET                                                                 EDMOND               OK      73013
CHARLES DEBORD                                                  344782 E 920 RD                                                                      CHANDLER             OK      74834
CHARLES DECEASED                                                PO BOX 336                                                                           VICI                 OK      73859
CHARLES DEJARNETT                                               PO BOX 66                                                                            RIPLEY               OK      74062-0066
CHARLES DEMPSEY                                                 PO BOX 173                                                                           OKEMAH               OK      74859
CHARLES DONLEY                                                  1611 W VAIL PL                                                                       BROKEN ARROW         OK      74012
CHARLES DOWNES                                                  1412 US HWY 56                                                                       COUNCIL GROVE        KS      66846
CHARLES DUKE                                                    3501 NW 63RD                                                                         OKLAHOMA CITY        OK      73116
CHARLES DUNWORTH                                                876 N CINDY AVE                                                                      CLOVIS               CA      93612
CHARLES E CHURCHILL                                             409 HORN ST                                                                          LAS VEGAS            NV      89107
CHARLES E HANSEN LIVING TRUST                                   9304 HIGH DRIVE                                                                      LEAWOOD              KS      66206
CHARLES E HASBROOK TRUST                                        3402 E BISON RD                                                                      BISON                OK      73720
CHARLES E HOKE II REV TRUST                                     1307 N MURRAY ST                                                                     WICHITA              KS      67212
CHARLES EDWARD MARTIN FAMILY TRST                               17 STACY HILL RD                                                                     ANTRIM               NH      03440-3110
CHARLES EDWIN SHELLEY JR                                        4550 N EDWARDS LN                                                                    KINGMAN              AZ      86409
CHARLES EVANS                                                   508 PALMARY DR                                                                       EL PASO              TX      79912-2816

CHARLES F DOORNBOS REVOCABLE TRUST                              PO BOX 639                                                                           BARTLESVILLE         OK      74005-0639
CHARLES F LUKENS III                                            2222 N VAL VISTA DR UNIT 20                                                          MESA                 AZ      85213
CHARLES FAGIN                                                   1425 DUFFNER DR                                                                      OKLAHOMA CITY        OK      73118-1013
CHARLES FAIRCHILD                                               9909 CEDARDALE DR                                                                    HOUSTON              TX      77055-6113
CHARLES FALKENSTEIN                                             1900 WHIPPORWILL CT                                                                  EDMOND               OK      73013
                                                                                                              9211 Lake Hefner
Charles Ferguson                     c/o Atkins & Markoff       Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104        Oklahoma City        OK      73120
Charles Ferguson                     c/o Girardi Keese          Attn: Thomas V. Girardi                       1126 Wilshire Blvd                     Los Angeles          CA      90017
Charles Ferguson                                                4045 E Boston Ave                                                                    Yale                 OK      74085
CHARLES FINNELL                                                 10450 W 44TH AVE APT 3C                                                              WHEATRIDGE           CO      80033
CHARLES FLOYD                                                   4913 RIDGE DR                                                                        MARRERO              LA      70072
CHARLES FOCHT                                                   3921 E 6TH AVE                                                                       STILLWATER           OK      74074-6460
CHARLES FOSTER                                                  8947 S ERIE AVE                                                                      TULSA                OK      74137-3546
CHARLES GARTNER                                                 4141 CLEM RD #19                                                                     BLODGETT             OR      97326
CHARLES GIFFEN                                                  505 OAK CREST LN                                                                     HIXSON               TN      37343
CHARLES GILBERT ZIMBRICK-ROGERS                                 379 GREENS VIEW RD                                                                   SEWANEE              TN      37375
CHARLES GILLINGHAM                                              PO BOX 61145                                                                         SAN ANGELO           TX      76906
CHARLES GLEN BEERY                                              221 CRYSTAL COURT                                                                    HEATH                TX      75032
CHARLES GLENN AND LAURA E COLLUM                                8601 SOUTH BRUSHCREEK ROAD                                                           STILLWATER           OK      74074
CHARLES GOSS                                                    3901 SW STONEFIELD                                                                   BENTONVILLE          AR      72712
CHARLES GRACE                                                   821 SW 48TH ST                                                                       OKLAHOMA CITY        OK      73109-4011
CHARLES GRADY                                                   101 DESERT FOREST COURT                                                              AUSTIN               TX      78738
CHARLES GROOMS                                                  903 NW COLUMBIA AVE                                                                  LAWTON               OK      73507
CHARLES GUNKEL                                                  2503 MINNIE ROSE ST                                                                  GUTHRIE              OK      73044-6089
CHARLES GWINNER                                                 359 N CLIFTON AVE                                                                    WICHITA              KS      67208
CHARLES H & ROSE L WINGERT                                      PO Box 2640                                                                          MIDLAND              TX      79702
CHARLES H & WANDA M GOOCH REV TR                                14452 N BROADWAY                                                                     GUTHRIE              OK      73044
CHARLES H BRADSHAW                                              PO BOX 644080                                                                        VERO BEACH           FL      32964
CHARLES HAAS                                                    12030 CR 5220                                                                        ROLLA                MO      65401
CHARLES HAMILTON WESTERHEIDE                                    916 N W 195TH TERRACE                                                                EDMOND               OK      73012
CHARLES HANSEN                                                  20721 AVENUE 164                                                                     PORTERVILLE          CA      93257
CHARLES HARRIS                                                  2504 GARDEN DR                                                                       GREENVILLE           TX      75401
CHARLES HARRISON VAN ORDEN                                      PO BOX 52                                                                            BELTON               TX      76513-0052
CHARLES HARTMAN                                                 1071 E COUNTY RD 64                                                                  MULHALL              OK      73063-9755
CHARLES HARVEY                                                  589 WATFORD LN                                                                       BERWYN               PA      19312
CHARLES HASSENFRATZ                                             3713 KILEEN DR                                                                       AMARILLO             TX      79109-3919
CHARLES HAYDEN                                                  506 MASSIE ST                                                                        ATLANTA              TX      75551
CHARLES HEADRICK                                                PO BOX 1746                                                                          STILLWATER           OK      74076
CHARLES HENDERSON                                               4925 RICHMOND RD                                                                     AMELIA COURT HOUSE   VA      23002
CHARLES HENRY PORTER III REV TRUST                              1903 S IBA DR                                                                        STILLWATER           OK      74074
CHARLES HICKS                                                   708 SW 41ST STREET                                                                   OKLAHOMA CITY        OK      73109-3510


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CHARLES HINKE                                                          11431 ARROYO AVE                                                                       SANTA ANA          CA      92705-2469
CHARLES HOLLE                                                          20 SW PEPPER TREE LANE                                                                 TOPEKA             KS      66611
CHARLES HOLMBERG                                                       17833 E 1250 RD                                                                        ERICK              OK      73645-4530
CHARLES HOLZER                                                         2203 E 96TH ST N                                                                       SPERRY             OK      74073-4310
CHARLES HOPKINS                                                        1401 Oakwood Court                                                                     STILLWATER         OK      74074
CHARLES HUEY                                                           1 TOWERS PARK LANE 210                                                                 SAN ANTONIO        TX      78209
CHARLES HYNDEN                                                         172 FOURSOME DRIVE                                                                     SEQUIM             WA      98382
                                                                                                                     9211 Lake Hefner
Charles J. Brackney                   c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120

Charles J. Brackney                   c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                    5020 Montrose Blvd   9th Fl              Houston            TX      77006
Charles J. Brackney                                                      7732 NW 12th St                                                                      Oklahoma City      OK      73127
CHARLES JACOB                                                            2309 POWDERHORN                                                                      EDMOND             OK      73034
CHARLES JARRED                                                           801 E COUNTRY RD 76                                                                  GUTHRIE            OK      73044
CHARLES JOE HOLCOMB                                                      524 E 6TH                                                                            LEEDEY             OK      73654
CHARLES JOHNSON                                                          3208 HOGAN CT                                                                        EDMOND             OK      73013-7826
CHARLES JOHNSON                                                          1578 DELEMOS AVENUE                                                                  HAYWARD            CA      94544
CHARLES JONES                                                            3104 OAKBROOK                                                                        BENTON             AR      72015
CHARLES JONES                                                            8150 BALD EAGLE                                                                      JONES              OK      73049
CHARLES KAUPKE                                                           5709 SAGE RD                                                                         STILLWATER         OK      74074-8515
CHARLES KING                                                             734 INDIAN TRAIL                                                                     BILLINGS           MT      59105
CHARLES KINZIE                                                           6658 322ND RD                                                                        ARKANSAS CITY      KS      67005-6349
CHARLES L ADAMS                                                          1201 BRIARWOOD DR                                                                    EDMOND             OK      73034-5754
CHARLES L BAILEY JR                                                      3720 S BETHEL RD                                                                     STILLWATER         OK      74074-7086

CHARLES L BAKER 2015 REVOCABLE TRUS                                    9101 NW 83RD                                                                           YUKON              OK      73099-9611
CHARLES L BUXTON REV TRUST                                             6701 AVONDALE DR                                                                       NICHOLS HILLS      OK      73116-6001
CHARLES L DOBBS FAMILY TRUST DATED                                     PO BOX 1148                                                                            ALTUS              OK      73022
CHARLES L HELM ATTORNEY PC                                             105 N HUDSON AVE STE 700                                                               OKLAHOMA CITY      OK      73102-4818
CHARLES L HELM ATTORNEY PC                                             400 N WALKER SUITE 200                                                                 OKLAHOMA CITY      OK      73102
CHARLES L MCLURE ESTATE DECD                                           10000 MILLER CIR APT 157                                                               OKLAHOMA CITY      OK      73162
CHARLES L ROTHERMEL                                                    117 AMSEY LANE                                                                         GUTHRIE            OK      73044
                                                                                                                     9211 Lake Hefner
Charles L. Campbell                   c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120

Charles L. Campbell                   c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                    5020 Montrose Blvd   9th Fl              Houston            TX      77006
Charles L. Campbell                                                      4701 Shalimar Dr                                                                     Oklahoma City      OK      73135
CHARLES LAMB                                                             PO BOX 1245                                                                          EDMOND             OK      73083
CHARLES LAMBERT                                                          1312 BRICK ST                                                                        BURLINGTON         IA      52601
CHARLES LAWSON                                                           2901 S WASHINGTON ST                                                                 STILLWATER         OK      74074-6930
                                                                                                                     9211 Lake Hefner
Charles Lewis                         c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120

Charles Lewis                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                    5020 Montrose Blvd   9th Fl              Houston            TX      77006
Charles Lewis                                                            5001 Keith Dr                                                                        Oklahoma City      OK      73135
CHARLES LIBBY SNYDER JTWROS                                              203 W 12TH ST                                                                        STILLWATER         OK      74074-4417
CHARLES LYON                                                             271 BOWLIN CV                                                                        DRIPPING SPRINGS   TX      78620-5138
CHARLES LYON                                                             2323 SOUTH IRVING AVENUE                                                             MINNEAPOLIS        MN      55405
CHARLES M HUEY JR.                                                       201 NEWBURY TERRACE                                                                  SAN ANTONIO        TX      78209

CHARLES M WEST                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
                                                                                                                     9211 Lake Hefner
Charles M. Martin III                 c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120

Charles M. Martin III                 c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                    5020 Montrose Blvd   9th Fl              Houston            TX      77006
Charles M. Martin III                                                    6517 NE 103rd St                                                                     Oklahoma City      OK      73151
CHARLES MACALLISTER                                                      6216 S COUNTRY CLUB RD                                                               STILLWATER         OK      74074-8174
CHARLES MAROTTA                                                          1900 E 15 STREET, BLDG 600B                                                          EDMOND             OK      73013-6691
CHARLES MCCAFFERTY                                                       3672 OLD HWY 81                                                                      RUSH SPRINGS       OK      73082-2459


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CHARLES MCCONNELL                                                        704 ASHCREST COURT                                                                     ALLEN            TX    75002
CHARLES MCKNIGHT                                                         1334 EDISON ST APT 2                                                                   SALT LAKE CITY   UT    84115
CHARLES METSCHER                                                         7012 S HWY 74                                                                          COVINGTON        OK    73730
                                                                                                                                                                RANCHO SANTA
CHARLES MILLS                                                            79 SAN SEBASTIAN                                                                       MARGARITA        CA    92688
CHARLES MURDOCK                                                          801 W CHEYENNE ST                                                                      MARLOW           OK    73055

CHARLES N THACKER                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX    75070
CHARLES NELSON                                                           51 FM 784                                                                              FLOYDADA         TX    79235
CHARLES NEWKIRK                                                          4004 E 19TH AVE                                                                        STILLWATER       OK    74074-6495
CHARLES NUGENT                                                           942 E MOSES                                                                            CUSHING          OK    74023
CHARLES NUGENT                                                           942 E MOSES ST                                                                         CUSHING          OK    74023-3521
CHARLES P & FREDA L BEALL REV TRUST                                      PO BOX 217                                                                             BIXBY            OK    74008
CHARLES P WILLETT                                                        88 GARLAND AVENUE APT. 205                                                             OAKLAND          CA    94611
CHARLES PATRICK GORRELL                                                  6940 W CR 65                                                                           MULHALL          OK    73063
CHARLES PATTEN                                                           11019 E LONE CHIMNEY RD                                                                GLENCOE          OK    74032
CHARLES PETERSON                                                         2602 WILLIAMS ST                                                                       GREAT BEND       KS    67530-7366
CHARLES PLATT                                                            11002 S 77TH EAST PL                                                                   TULSA            OK    74133-4863
CHARLES POWELL                                                           20931 TRINITY SQ                                                                       STERLING         VA    20165-7237
CHARLES R & FRANCES P CONKLIN LVNG                                       77421 MCDOLE ROAD                                                                      COTTAGE GROVE    OR    97424
CHARLES R MCCLURE REMAINDER                                              1350 W. CANADA CREEK PL                                                                TUCSON           AZ    85737-8579
CHARLES R SAYLOR REVOCABLE TRUST                                         3908 PLACITAS DR                                                                       CAMERON PARK     CA    95682-4100
                                                                                                                       9211 Lake Hefner
Charles Radford                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Charles Radford                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Charles Radford                                                          1109 E Broadway                                                                        Cushing          OK    74023
CHARLES RAUCH                                                            19615 GRAND SLAM DRIVE                                                                 DAVIDSON         NC    28036-6019
CHARLES RAY STEWART                                                      26575 MONTECITO LANE                                                                   MISSION VIEJO    CA    92691
CHARLES REAVES                                                           PO BOX 557                                                                             ROUNDUP          MT    59072
CHARLES REESE                                                            2732 NE 126TH                                                                          EDMOND           OK    73013
CHARLES RITTER                                                           728 KINGS CT                                                                           MOORE            OK    73160-1826
CHARLES RITTER                                                           4419 E AIRPORT RD                                                                      STILLWATER       OK    74075
CHARLES ROBERTSON                                                        1307 S DUNCAN ST                                                                       STILLWATER       OK    74074
                                                                                                                       9211 Lake Hefner
Charles Robinson                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Charles Robinson                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Charles Robinson                                                         1300 E. 173rd St. North                                                                Skiatook         OK    74070
CHARLES RYAN                                                             6900 VALLEY RD                                                                         KANSAS CITY      MO    64113
CHARLES SANDERSON                                                        1510 E 56TH ST                                                                         LONG BEACH       CA    90805
CHARLES SANDERSON                                                        PO BOX 942867                                                                          SACRAMENTO       CA    94267-0011
CHARLES SANFORD                                                          515 N PATRICK RD                                                                       STOCKTON         CA    95215
CHARLES SCHMIEDBAUER                                                     1704 N 10                                                                              PERRY            OK    73077
CHARLES SCOTT                                                            7237 PARKWOOD BLVD                                                                     PLANO            TX    75024
CHARLES SCOVIL                                                           10636 EAST 115TH ST SOUTH                                                              BIXBY            OK    74008-2882
CHARLES SEBRANEK                                                         19613 HAYWARD RD                                                                       COVINGTON        OK    73730
CHARLES SELLERS AYCOCK                                                   506 SMITH ST                                                                           RAYVILLE         LA    71269
CHARLES SHINGLETON                                                       990707 SOUTH HIGHWAY 177                                                               MEEKER           OK    74855
CHARLES SIMMONS                                                          2917 BIRMINGHAM BRIAR DRIVE                                                            CROWLEY          TX    76036
CHARLES SIMPSON                                                          PO BOX 325                                                                             CUSHING          OK    74023
CHARLES SMITH                                                            3113 NE BRENTWOOD                                                                      LAWTON           OK    73507
CHARLES STEINCAMP                                                        10751 E CRESTWOOD CT                                                                   WICHITA          KS    67206-6819
CHARLES STEPHEN DRIESBACH                                                5830 BELROSE DRIVE                                                                     HOUSTON          TX    77035
CHARLES STEVESON WELDON                                                  PO BOX 549                                                                             MCQUEENEY        TX    78123
CHARLES SUMNER                                                           7725 SOUTH 305TH EAST AVENUE                                                           BROKEN ARROW     OK    74014
CHARLES SUTTON                                                           1125 WALKER DR                                                                         GUTHRIE          OK    73044
CHARLES SVELAN                                                           101 DAWN PL                                                                            YORKTOWN         VA    23693
CHARLES SWANK                                                            637 S.E. 80TH ACE                                                                      LINWOOD          KS    67526


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CHARLES SWANSON                                                          12138 PINE NEEDLE CT                                                                    WOODBRIDGE      VA      22192
CHARLES SWEARINGEN                                                       825 MEADOWLARK LN                                                                       YREKA           CA      96097
CHARLES T & WILMA L RAMMING                                              3504 E 19TH AVE                                                                         STILLWATER      OK      74074-6331
CHARLES T BUKOWSKI JR                                                    2819 CARMEL WOODS DR                                                                    SEABROOK        TX      77586
CHARLES TARLTON                                                          810318 SOUTH 3390 ROAD                                                                  TRYON           OK      74875
CHARLES TAUBMAN FAMILY                                                   PO BOX 1588                                                                             TULSA           OK      74101-1588
CHARLES THOMAS FOCHT                                                     3921 E 6TH AVE                                                                          STILLWATER      OK      74074-6460
CHARLES THURMAN                                                          3220 E KNIPE AVE                                                                        PERKINS         OK      74059-3839
CHARLES TOLSON                                                           1676 SE 60TH ST                                                                         LAREDO          MO      64652
CHARLES TOPPER                                                           107 S TERRILL DR                                                                        STILLWATER      OK      74075
CHARLES TOY                                                              17598 EFFINGHAM RD                                                                      VALLEY FALLS    KS      66088

CHARLES W & LINDA BETCHAN FAM TRUST                                      1127 PIN OAK DR                                                                         GUTHRIE         OK      73044
CHARLES W & PATTY N BROWN LLC                                            PO BOX 587                                                                              MARLOW          OK      73055

CHARLES W KLEMME                                                         5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
CHARLES W PENNY                                                          11819 PAVILION BLVD APT 247                                                             AUSTIN          TX      78759
CHARLES W PRATER                                                         129 S STALLARD                                                                          STILLWATER      OK      74074

CHARLES W SHANKS                                                         5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
CHARLES W WICKSTROM TRUST                                                1805 W EASTON ST                                                                        TULSA           OK      74127-6519
                                                                                                                       9211 Lake Hefner
Charles W. Reid                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120

Charles W. Reid                       c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Charles W. Reid                                                          409 Seville Dr                                                                          Edmond          OK      73034
CHARLES WAREN                                                            2812 N LINCOLN                                                                          STILLWATER      OK      74075
CHARLES WAYNE HIMES                                                      910 S MAIN STREET                                                                       STILLWATER      OK      74074
CHARLES WEBB                                                             301 N 13TH                                                                              PONCA CITY      OK      74601
CHARLES WINDSOR                                                          3013 N TROPICANA AVE                                                                    BETHANY         OK      73008-4460
CHARLES WRIGHT                                                           101 S OAK                                                                               CHANDLER        OK      74834
CHARLES WRIGHT                                                           12612 S KELLY LN                                                                        PERKINS         OK      74059
CHARLES ZWEIFEL                                                          733 W 39TH ST                                                                           SAND SPRINGS    OK      74063-2872
CHARLESTON PLACE PROPERTIES LLC                                          910 W 6TH AVE # 231                                                                     STILLWATER      OK      74074-1745
CHARLEY EDWARDS                                                          16580 HUNTER AVE                                                                        OREGON CITY     OR      97045
CHARLIE & JANET THOMASON TRUST                                           2421 ROBERTS DR                                                                         NICEVILLE       FL      32578-2321
CHARLIE ANDERSON                                                         1913 CAMBRIDGE ST                                                                       CALDWELL        ID      83607
CHARLIE ARNETT                                                           5832 W GRANADA RD                                                                       PHOENIX         AZ      85035
CHARLIE ARNETT                                                           5792 NE 5TH ST                                                                          REDMOND         OR      97756
CHARLIE FRANKIE                                                          PO BOX 83                                                                               CONVINGTON      OK      73730-0083
CHARLIE MAGEE                                                            742 TIMBERVALLEY COURT                                                                  CHESTERFIELD    MO      63017-1789
CHARLIE W BIGGS AND IMOGENE BIGGS                                        6475 E COLLEGE AVE                                                                      GUTHRIE         OK      73044-9424
CHARLINE ALEXANDER                                                       3100 SUNSET BLVD                                                                        OKLAHOMA CITY   OK      73120-2333
CHARLINE LONGAN                                                          2220 S KARSTEN CRK                                                                      STILLWATER      OK      74074-1082
CHARLOTTE ANN BLAKESLEE                                                  930 NW 12TH AVE APT 503                                                                 PORTLAND        OR      97209-3071
CHARLOTTE ARCHER                                                         19825 JOHN WAYNE                                                                        PERRY           OK      73077
CHARLOTTE DIAZ                                                           5525 S COUNTRY CLUB RD                                                                  STILLWATER      OK      74074-2197
CHARLOTTE DUDEK                                                          3246 W COUNTY RD 67                                                                     MULHALL         OK      73063
CHARLOTTE DURKEE                                                         3521 INWOOD CT                                                                          WICHITA         KS      67226
CHARLOTTE EGBERT                                                         606 N 5TH AVE, APT 103                                                                  BOZEMAN         MT      59715
                                                                                                                       9211 Lake Hefner
Charlotte Goforth                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Charlotte Goforth                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Charlotte Goforth                                                        29808 E 32nd St                                                                         Yale            OK      74085
CHARLOTTE HOLTON                                                         6353 WHITE CHAPEL RD                                                                    NEWARK          OH      43056
Charlotte Hutchens                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Charlotte Hutchens                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Charlotte Hutchens                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017


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Charlotte Hutchens                                                       5051 County Road 6050                                                                  Ralston           OK    74650
CHARLOTTE KENNEDY                                                        1104 KIMBERLY CT                                                                       SEMINOLE          OK    74868-2414
                                                                                                                       9211 Lake Hefner
Charlotte L. Fourkiller               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Charlotte L. Fourkiller               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Charlotte L. Fourkiller                                                  1701 N. Birch                                                                          Owasso            OK    74055
CHARLOTTE MAGDEBURG                                                      1014 E 11TH ST                                                                         CUSHING           OK    74023-5204
CHARLOTTE NEALY BROCK                                                    3561 PLACER RD                                                                         WOLF CREEK        OR    97497
CHARLOTTE PARRACK                                                        119 S CIMARRON DR                                                                      PERKINS           OK    74059-3424
CHARLOTTE PERTREE                                                        2237 SW 117TH ST                                                                       OKLAHOMA CITY     OK    73170
CHARLOTTE RENFROW                                                        10403 S. FAIRGROUNDS ROAD                                                              PERKINS           OK    74059
CHARLOTTE ROMAIN                                                         740 NORTH H STREET 251                                                                 LOMPOC            CA    93436
CHARLOTTE SEDAM                                                          354 WILSON ST                                                                          WARRENTON         VA    20186
CHARLOTTE SUMNER                                                         7725 S 305TH E AVE                                                                     BROKEN ARROW      OK    74014
CHARLOTTE W SCHUMAN LVG TRUST                                            2121 YORKSTOWN APARTMENT 305                                                           TULSA             OK    74114
CHARLUS J & TERESA L BISHOP TR                                           PO BOX 321                                                                             KINGMAN           KS    67068-0321
CHARLYNE LANFORD                                                         5034 SOUTHERN HILLS DR                                                                 FRISCO            TX    75034
CHARMANE MEDRANO                                                         4307 E 19TH AVE                                                                        STILLWATER        OK    74074-6046
CHAROLETTE NORTHCUTT                                                     2303 W CEDAR RIDGE RD                                                                  TISHOMINGO        OK    73460
CHARTER OAK PRODUCTION CO LLC                                            13929 QUAIL POINTE DR                                                                  OKLAHOMA CITY     OK    73134-1002
CHAS A NEAL & COMPANY                                                    PO BOX 269                                                                             MIAMI             OK    74355-0269
CHAS MCLURE                                                              10000 MILLER CIR APT 157                                                               OKLAHOMA CITY     OK    73162
CHASE CARD SERVICES                                                      PO BOX 94014                                                                           PALATINE          IL    60094-4014
CHASE FAM CEMETARY INC                                                   308 N STALLARD ST                                                                      STILLWATER        OK    74075-8216
CHASE HARMON                                                             5424 W 7TH AVE                                                                         STILLWATER        OK    74074
CHASE PRODUCTION INC                                                     640 WILDMEADOW DR                                                                      EDMOND            OK    73003
CHASE REYNOLDS                                                           201 GOLDENROD AVENUE                                                                   VICTORIA          TX    77904
                                                                                                                       9211 Lake Hefner
Chase Stafford                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120

Chase Stafford                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Chase Stafford                                                           1417 SW 60th St                                                                        Oklahoma City     OK    73159
CHASELAND LLC                                                            423 5TH ST                                                                             MARIETTA          OH    45750-2012
CHASEN GILL                                                              1160 INTERLOCHEN BLVD                                                                  WINTER HAVEN      FL    33884-3706
CHASEN GILL                                                              1160 INTERLOCHEN BLVD                                                                  WINTERS HAVEN     FL    33884
                                                                                                                       9211 Lake Hefner
Chasity LaVine                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120

Chasity LaVine                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Chasity LaVine                                                           1712 Fremont Dr                                                                        Oklahoma City     OK    73120
CHASTEIN MACKEY                                                          9 S 45TH ST                                                                            VAN BUREN         AR    72956-5668
CHATFIELD COMPANY                                                        16 INVERNESS PLACE EAST, BLDG C                                                        ENGLEWOOD         CO    80112
CHAUNCEY L & ANNA B HAYES LIV TRUST                                      1420 SAGEWOOD DR                                                                       DESOTO            TX    75115
CHAUNCEY SEEFELDT                                                        135 MAYNARD LANE                                                                       STRASBURG         VA    22657-1108
CHAUTAUQUA INVESTMENT CORP.                                              PO BOX 4315                                                                            TULSA             OK    74159-0315
CHELSEA HALL                                                             9118 E 87TH ST                                                                         TULSA             OK    74133-4444
CHELSEA OUTHIER                                                          4628 BELLADONNA DR                                                                     FORT WORTH        OK    76123
CHEMICAL BANK NEW YORK TRSTE U L W                                       PO BOXONE/OK 2-6220                                                                    TULSA             OK    74102
CHEMICAL WEED CONTROL INC                                                PO BOX 512                                                                             BROWNFIELD        TX    79316-0512
CHEMILY MANAGEMENT COMPANY                                               11131 MCCRACKEN CIR SUITE A                                                            CYPRESS           TX    77429
CHER OIL CO LTD                                                          7317 S RIPLEY RD                                                                       RIPLEY            OK    74062

Cher Oil Company, Ltd                 c/o Levinson, Smith & Huffman PC Attn: Terence P Brennan                         1743 E 71st St                           Tulsa             OK    74136

Cher Oil Company, Ltd                 c/o Levinson, Smith & Huffman PC Attn: Trevor R. Henson                          1743 E 71st St                           Tulsa             OK    74136
Cher Oil Company, Ltd                                                  7317 S Ripley Rd                                                                         Ripley            OK    74062
                                                                                                                       9211 Lake Hefner
Cher Ruhland                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120


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                                    c/o Laminack, Pirtle & Martines,
Cher Ruhland                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Cher Ruhland                                                           12624 E. 27th St                                                                        Tulsa            OK      74129
CHER VINSON                                                            PO BOX 2122                                                                             SARATOGA         CA      95070-0122
CHERI CONATSER                                                         307 MUNSON                                                                              ROCKWALL         TX      75087
CHERIE ANDERSON                                                        113 DIXIE CIR                                                                           SLIDWELL         LA      70458
Cherie Carter                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Cherie Carter                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Cherie Carter                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Cherie Carter                                                          52801 E. 55 Rd                                                                          Maramec          OK      74045
CHERIE S WOOD                                                          1204 MUSCATO COURT                                                                      LAS VEGAS        NV      89144
                                                                                                                     9211 Lake Hefner
Cherjuan Goodman                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120

Cherjuan Goodman                    c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Cherjuan Goodman                                                       5104 NE 38th St                                                                         Oklahoma City    OK      73121
CHEROKEE ENERGY LLC                                                    PO BOX 14693                                                                            OKLAHOMA CITY    OK      73113-0693
CHEROKEE OPERATING COMPANY                                             400 S BOSTON AVE STE 1200                                                               TULSA            OK      74103-5026
CHERRY LIVING TRUST DTD 4-10-2000                                      6209 N SOONER RD                                                                        EDMOND           OK      73034
CHERRY MCCONNELL                                                       11510 N MAY AVE APT 107                                                                 OKLAHOMA CITY    OK      73120
                                                                                                                     9211 Lake Hefner
Cheryl A. Vanbibber                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120

Cheryl A. Vanbibber                 c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Cheryl A. Vanbibber                                                    11020 Davis St                                                                          Oklahoma City    OK      73162
                                                                                                                     9211 Lake Hefner
Cheryl A. Burkett                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Cheryl A. Burkett                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Cheryl A. Burkett                                                      528 N Park St                                                                           Guthrie          OK      73034
CHERYL ALAMEDA                                                         518 E GRANGER AVE #4                                                                    MODESTO          CA      95350
CHERYL BROWN                                                           920 S. TOPEKA                                                                           EL DORADO        KS      67042
CHERYL CHILTON TRUST                                                   3916 W 47TH ST                                                                          STILLWATER       OK      74074
Cheryl Clark-Hertel                 c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Cheryl Clark-Hertel                 c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Cheryl Clark-Hertel                 c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Cheryl Clark-Hertel                                                    615 Forest St                                                                           Pawnee           OK      74058
CHERYL CRABTREE MAYFIELD                                               501 SILVERBARK CT                                                                       MILLERSVILLE     MD      21108-1780
                                                                                                                     9211 Lake Hefner
Cheryl Danley                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120

Cheryl Danley                       c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Cheryl Danley                                                          14335 N. Pennsylvania Ave                     Unit 33C                                  Oklahoma City    OK      73134
CHERYL DAVIS                                                           4674 W FOLLEY STREET                                                                    CHANDLER         AZ      85226
CHERYL DELAY LLC                                                       PO BOX 721166                                                                           NORMAN           OK      73070
CHERYL DENNY                                                           1625 E 5TH ST                                                                           PUEBLO           CO      81001
CHERYL DOWLING                                                         3149 LA PAZ LN                                                                          SANTA FE         NM      87507
CHERYL GONZALES                                                        1850 W CAMINO CERRO                                                                     YUMA             AZ      85364
CHERYL GRAHAM                                                          8720 PACIFIC HILL WAY                                                                   SACRAMENTO       CA      95828
CHERYL H FLEMING TRUST OF 2001                                         3219 N RANGE RD                                                                         STILLWATER       OK      74075-0922
                                                                                                                     9211 Lake Hefner
Cheryl Hanley                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120

Cheryl Hanley                       c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Cheryl Hanley                                                          1805 Dena Dr                                                                            Edmond           OK      73003
CHERYL HANSING                                                         5904 KING FOREST LN                                                                     MCKINNEY         TX      75071
CHERYL JACOBS REV LIV TRUST                                            1216 CANTEBERRY DR                                                                      YUKON            OK      73099
CHERYL JEANFREAU                                                       209 W MAGNOLIA ST                                                                       ABBEVILLE        LA      70510-2807



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                                                                                                                       9211 Lake Hefner
Cheryl Johnson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120

Cheryl Johnson                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Cheryl Johnson                                                           14701 SE 89th St                                                                       Choctaw          OK      73020
CHERYL JONES                                                             4420 W 83RD ST                                                                         TULSA            OK      74132-3066
CHERYL LAWSON                                                            5008 NW 18TH TERRACE                                                                   OKLAHOMA CITY    OK      73127
CHERYL LEA BUCKLES                                                       19400 E 1165 RD                                                                        SAYRE            OK      73662-6006
CHERYL LORENZ                                                            421 BUTTERFIELD TRLS                                                                   EDMOND           OK      73003
CHERYL LYNN GEBBIE                                                       420856 E 1177 RD                                                                       EUFAULA          OK      74432-6803
CHERYL LYNN KENT WILSON                                                  3512 NW 65TH TERRACE                                                                   OKLAHOMA CITY    OK      73116
CHERYL M WILSON                                                          224 NE 5TH ST                                                                          PERKINS          OK      74059
CHERYL M WILSON                                                          PO BOX 527                                                                             PERKINS          OK      74059
CHERYL MAJOR                                                             1121 S MAJOR RD                                                                        ORLANDO          OK      73073
CHERYL MATTERN                                                           1735 E 59TH PL                                                                         TULSA            OK      74105-7073
CHERYL MAYE                                                              924 BENJAMIN                                                                           STILLWATER       OK      74075
                                                                                                                       9211 Lake Hefner
Cheryl McMurray                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120

Cheryl McMurray                       c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Cheryl McMurray                                                          3720 SE 23rd St                                                                        Del City         OK      73115
CHERYL MICKEL BAKER                                                      145 BLACKFOOT ST                                                                       MISQUITE         NM      89027
CHERYL MYERS                                                             11445 W CR 71                                                                          CRESCENT         OK      73028
CHERYL PAULIN                                                            26739 GAIL LN                                                                          MIDDLETON        ID      83644
CHERYL POOLE                                                             2600 BERKSHIRE WAY                                                                     OKLAHOMA CITY    OK      73120
CHERYL POWERS MOODY                                                      1100 N COUNTRY CLUB RD                                                                 STILLWATER       OK      74075
CHERYL PREWETT                                                           606 N BRENTWOOD PL                                                                     ANDOVER          KS      67002
CHERYL PRICHARD ROGERS                                                   2122 S HARRISON                                                                        AMARILLO         TX      79109
CHERYL R DAHL                                                            PO BOX 264                                                                             MARSHALL         OK      73051
                                                                                                                       9211 Lake Hefner
Cheryl R. Bigham                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120

Cheryl R. Bigham                      c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Cheryl R. Bigham                                                         3120 Delview Dr                                                                        Del City         OK      73115
CHERYL RATLIFF                                                           38 WINGED FOOT                                                                         BOERNE           TX      78006
CHERYL REYNOLDS HOLT                                                     624 E OKLAHOMA AVE                                                                     GUTHRIE          OK      73044-3418
CHERYL SHARP                                                             4047 EL MACERO DRIVE                                                                   DAVIS            CA      95618
CHERYL SJOBERG                                                           4616 W 9TH ST                                                                          CUSHING          OK      74023-3797
CHERYL SMITH                                                             1324 E NOBLE AVE                                                                       GUTHRIE          OK      73044
CHERYL SPARKS THOMAS                                                     3202 MIRAMAR DRIVE                                                                     LA PORTE         TX      77571-7395
CHERYL STANLEY                                                           1008 S PEENSYLVANIA AVE                                                                ROSWELL          NM      88203-4365
CHERYL STEIDL                                                            102 W REDBUD                                                                           STILLWATER       OK      74075
CHERYL TILLEY                                                            10820 W 133RD ST                                                                       PERKINS          OK      74059-4533
CHERYL TREKELL                                                           1049 HILL STREET                                                                       SPRINGFIELD      CO      81073
CHERYL WICK                                                              2918 N COUNTRY CLUB RD                                                                 STILLWATER       OK      74075-0962
                                                                                                                       9211 Lake Hefner
Cheryl Matthews                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Cheryl Matthews                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Cheryl Matthews                                                          322 E. Main                                                                            Stroud           OK      74079
CHESAPEAKE ENO ACQUISITION LLC                                           PO BOX 18496                                                                           OKLAHOMA CITY    OK      73154

CHESAPEAKE EXPLORATION LIMITED PART                                      PO BOX 18496                                                                           OKLAHOMA CITY    OK      73154
CHESAPEAKE EXPLORATION LLC                                               PO BOX 548806                                                                          OKLAHOMA CITY    OK      73154-8806
CHESAPEAKE EXPLORATION LLC                                               PO BOX 548806                                                                          OKLAHOMA CITY    OK      73154-8806
CHESAPEAKE INVESTMENTS                                                   PO BOX 18496                                                                           OKLAHOMA CITY    OK      73154-0496
CHESAPEAKE OPERATING INC                                                 PO BOX 207295                                                                          DALLAS           TX      75320-7295
CHESAPEAKE OPERATING INC                                                 PO BOX 203892                                                                          DALLAS           TX      75320



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Chesapeake Operating, LLC             c/o Crowe & Dunlevy               Attn: John J Griffin Jr                       324 N. Robinson Ave Ste. 100              Oklahoma City    OK      73102
                                                                                                                                          10th Fl, Two
Chesapeake Operating, LLC             c/o McAfee & Taft                 Attn: Timothy Bomhoff                         211 N Robinson Ave. Leadership Square     Oklahoma City    OK      73102
Chesapeake Operating, LLC             c/o McAfee & Taft                 Attn: Timothy Bomhoff                         211 N Robinson      10th Fl               Oklahoma City    OK      73102

Chesapeake Operating, LLC             c/o McAfee & Taft                 Attn: Timothy Bomhoff                         211 N Robinson Ave.                       Oklahoma City    OK      73102
                                      c/o Ryan Whaley Coldiron Shandy
Chesapeake Operating, LLC             PC                                Attn: Phillip G Whaley                        119 N Robinson        Ste. 900            Oklahoma City    OK      73102
                                      c/o Ryan Whaley Coldiron Shandy
Chesapeake Operating, LLC             PC                                Attn: Matthew C Kane                          119 N. Robinson St    Ste. 900            Oklahoma City    OK      73102
Chesapeake Operating, LLC                                               6533 N Classen Blvd                                                                     Oklahoma City    OK      73116
Chesapeake Operating, LLC                                               6100 N Western Ave.                                                                     Oklahoma City    OK      73118
Chesapeake Operating, LLC                                               6100 N Western Ave.                           PO Box 18496                              Oklahoma City    OK      73154
CHESAPEAKE ORC LLC                                                      PO BOX 548806                                                                           OKLAHOMA CITY    OK      73154-8806
CHESAPEAKE ROYALTY LLC                                                  PO BOX 203892                                                                           DALLAS           TX      75320-3892
CHESLEY & HAYDEN WOOD REV TRUST                                         3408 FOOTHILL PARKWAY                                                                   AUSTIN           TX      78731
CHESS OIL PROPERTIES L.L.C.                                             PO BOX 471586                                                                           TULSA            OK      74147
CHESTER ARMSTRONG                                                       302 E WASHINGTON                                                                        GUTHRIE          OK      73044
CHESTER BUSCH                                                           PO BOX 854                                                                              STILLWATER       OK      74076-0854
CHESTER COOK                                                            10601 E PRAIRIE GROVE RD                                                                GUTHRIE          OK      73044
CHESTER GARLAND HOLCOMB                                                 RR 2 BOX 43A                                                                            LEEDEY           OK      73654-9633
CHESTER I HOLCOMB TRUST                                                 ROUTE 2, BOX 43A                                                                        LEEDEY           OK      73654
CHESTER JAY RUDY                                                        PO Box 43                                                                               HARRISON         ID      83833
CHESTER LYMAN WOERNER TRUST                                             3909 E FOURTH PLAIN BLVD UNIT #2                                                        VANCOUVER        WA      98661
CHESTER M RAINS TR DATED DEC 15 199                                     7600 S SANGER RD                                                                        STILLWATER       OK      74074
CHESTER WAYNE DRUMM ESTATE                                              924 N HESTER ST                                                                         STILLWATER       OK      74074
CHESTER WESTFALL III                                                    3633 E 49TH PL                                                                          TULSA            OK      74135
CHESTER WOERNER                                                         3909 E FOURTH PLAIN BLVD                                                                VANCOUVER        WA      98661
CHESTERTON LLC                                                          55 CAMBRIDGE PKWY STE 601                                                               CAMBRIDGE        MA      02142-1263
CHET COCKRILL TRUST                                                     16344 MORNINGSIDE DRIVE                                                                 EDMOND           OK      73013
CHET F SKIMBO & ANDREA SKIMBO JT                                        6619 S COUNTRY CLUB RD                                                                  STILLWATER       OK      74074
CHET GUTOWSKY                                                           302 PINESAP DR.                                                                         HOUSTON          TX      77079-6442
CHET KARNAS                                                             4106 CHERRYDALE CT NW                                                                   ALBUQUERQUE      NM      87107
                                                                                                                      9211 Lake Hefner
Chevalier Rodgers                     c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120

Chevalier Rodgers                     c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd    9th Fl              Houston          TX      77006
Chevalier Rodgers                                                        3800 SE 86th Pl                                                                        Oklahoma City    OK      73135
CHEVRON USA INC                                                          PO BOX 730436                                                                          DALLAS           TX      75373
CHEW MINERALS LLC                                                        PO BOX 489                                                                             TULSA            OK      74101
CHEYENNE HAREL-CARARES                                                   706 CATALINA AVENUE                                                                    SANTA ANNA       CA      92706
CHEYENNE RESOURCES LLC                                                   PO BOX 2177                                                                            OKLAHOMA CITY    OK      73101
CHEYNIE'S OIL & GAS LLC                                                  43402 WILLISON RUN RD                                                                  WOODSFIELD       OH      43793
CHI CROSLEY                                                              16116 VALLEJO PLACE                                                                    EDMOND           OK      73013-1405
CHIDERBRI MINERALS LP                                                    BLDG 2 STE 204                                                                         SAN ANTONIO      TX      78217
CHIEFTAIN ROYALTY COMPANY                                                PO BOX 18441                                                                           OKLAHOMA CITY    OK      73154-0441
CHIKA RYONO                                                              26913 CIRCUS DR                                                                        SUNCITY          CA      92585
CHILDREN'S HOSPITAL FOUNDATION                                           901 N. LINCOLN BOULEVARD, STE 305                                                      OKLAHOMA CITY    OK      73104
CHILDRESS & SONS                                                         75393 SPYGLASS DR                                                                      INDINA WELLS     CA      92210
CHISHOLM CREEK ENERGY LLC                                                100 HIGHLAND PARK VLG FL 200                                                           DALLAS           TX      75205-2720
CHISHOLM OIL & GAS OPERATING                                             6100 S YALE SUITE 1700                                                                 TULSA            OK      74136
CHISHOLM OIL & GAS OPERATING LLC                                         6100 S YALE, STE 1700                                                                  TULSA            OK      74136
Chitwood, Robbie                      c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK      74074

CHOATE OIL CO LLC                                                       34522 N SCOTTSDALE RD SUITE 120-444                                                     SCOTTSDALE       AZ      85266
CHOATE OILFIELD SERVICES LLC                                            PO BOX 597                                                                              HENNESSEY        OK      73742
                                                                                                                      9211 Lake Hefner
Choon Ro                              c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120


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                                   c/o Laminack, Pirtle & Martines,
Choon Ro                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Choon Ro                                                              3001 W 27th Ave                                                                        Stillwater       OK      74074
CHRIS A SHEPARD                                                       201 CEDAR                                                                              PERRY            OK      73077
CHRIS ALTHOFF                                                         845 COOPERS HAWK DR                                                                    NORMAN           OK      73072-8165
CHRIS ANN DALE                                                        1240 SALERNO CT                                                                        LEAGUE CITY      TX      77573
CHRIS CAINE                                                           301 NW 63RD ST STE 600                                                                 OKLAHOMA CITY    OK      73116-7909
CHRIS CARAM                                                           1101 COLUMBIA CT                                                                       EDMOND           OK      73003
CHRIS CRADDOCK                                                        627 BEATEN PATH RD                                                                     MOORESVILLE      NC      28117-8983
CHRIS CUMMINGS                                                        790842 S 3420 RD                                                                       TRYON            OK      74875
CHRIS DOWNEY                                                          10911 S REDLANDS RD                                                                    COYLE            OK      73027-4103
CHRIS DUCOTEY TRUST                                                   3307 S 207TH EAST AVE                                                                  BROKEN ARROW     OK      74014-5199
CHRIS E COURSEY TTEE                                                  8612 LASSEN STREET                                                                     EAGLE RIVER      AK      99577
CHRIS FRANK                                                           213 W. WACO PL                                                                         BROKEN ARROW     OK      74011
CHRIS HARMAN                                                          17489 N BROADWAY                                                                       MULHALL          OK      73063
CHRIS HILL                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
CHRIS HINCHEY                                                         PO BOX 1552                                                                            STILLWATER       OK      74076
CHRIS HOLZER                                                          PO BOX 2611                                                                            STILLWATER       OK      74076-2611
CHRIS HOLZER                                                          RR 3 BOX 237                                                                           STILLWATER       OK      74075
CHRIS HUDSPETH                                                        5236 S CROCKER WAY                                                                     LITTLETON        CO      80120
CHRIS KAMP                                                            902 CEDAR                                                                              PERRY            OK      73077-6250
CHRIS KOHUTEK                                                         301 NW 63RD ST STE 600                                                                 OKLAHOMA CITY    OK      73116-7909

CHRIS L CEFALU                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
CHRIS MARSHALL                                                        51 WOODLAND PARK DRIVE                                                                 PARKERSBURG      WV      26104
                                                                                                                    9211 Lake Hefner
Chris Mcbride                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Chris Mcbride                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Chris Mcbride                                                         1339 N. 75th E. Ave.                                                                   Tulsa            OK      74115
CHRIS MCCUTCHEN                                                       PO BOX 190                                                                             PERKINS          OK      74059-0190
CHRIS OWSLEY                                                          1014 E K AVENUE                                                                        VISALIA          CA      93292
CHRIS PETERSON                                                        PO Box 795                                                                             STROUD           OK      74079
CHRIS QUERRY                                                          13421 S POTTOWATOMIE RD                                                                MCLOUD           OK      74851
CHRIS RASMUSSEN                                                       2926 HARWOOD RD                                                                        GONZALES         TX      78629
CHRIS ROBERTSON                                                       17501 IRON LANE                                                                        EDMOND           OK      73012
CHRIS SHIPPY                                                          3319 BLOSSOM WAY                                                                       CALDWELL         ID      83605
CHRIS SMITH                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
CHRIS SMITH                                                           PO BOX 333                                                                             CHANDLER         OK      74834-0333
CHRIS WILLIS                                                          3010 BLACK OAK DR                                                                      STILLWATER       OK      74074
                                                                                                                    9211 Lake Hefner
Chris Jones                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Chris Jones                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Chris Jones                                                           119 S. 9th                                                                             Agra             OK      74824
                                                                                                                    9211 Lake Hefner
Chris Stephens                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Chris Stephens                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Chris Stephens                                                        15915 NE 209th St                                                                      Luther           OK      73054
CHRISTA PORTER                                                        2409 SW 111TH ST                                                                       OKLAHOMA CITY    OK      73170-3260
CHRISTEL BURRIS                                                       1205 EGANIA ST                                                                         NEW ORLEANS      LA      70117-3607
CHRISTEL LAUGHLIN                                                     6212 INDIAN CREEK DR                                                                   FORT WORTH       TX      76107-3526
CHRISTI A. CARD                                                       7008 E. 46TH PLACE                                                                     TULSA            OK      74145
                                                                                                                    9211 Lake Hefner
Christi A. Hinkle                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Christi A. Hinkle                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Christi A. Hinkle                                                     3500 N. Broadway                                                                       Edmond           OK      73034


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CHRISTI DORSEY                                                           7010 E 520 RD                                                                          CLAREMORE         OK      74019
CHRISTI HALE                                                             216 EAST BIRCH                                                                         TRYON             OK      74875
CHRISTI TODD                                                             27300 HIGHWAY 74                                                                       EVERGREEN         CO      80439-5828
CHRISTIAN CHURCH FACILITIES FOR THE                                      199 ROLLINS AVE                                                                        ROCKVILLE         MD      20852
CHRISTIAN FALKENSTEIN                                                    PO BOX 16                                                                              EL PORTEL         CA      96378
Christian, John                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
CHRISTIANA GILBERT                                                       6217 GREENWOOD LN                                                                      OKLAHOMA CITY     OK      73132-5629
CHRISTIE FAMILY REV TRUST                                                1908 DEEP CREEK ROAD                                                                   OKLAHOMA CITY     OK      73131
CHRISTIE MILNER                                                          1847 LIBBEY DR                                                                         HOUSTON           TX      77018
CHRISTIE OLSON SANKOVICH                                                 230 BOOTH ST                                                                           RENO              NV      89509
CHRISTIE SHERMAN MUNIZ TRUSTEE                                           1205 MEADOWLARD CT                                                                     LIBERTY           MO      64068-8475
CHRISTIE WADLEY                                                          PO BOX 249                                                                             OKMULGEE          OK      74447-0249
CHRISTINA ALVES                                                          PO BOX 194                                                                             WALLA WALLA       WA      99362
CHRISTINA ELLIOTT MILLER TRUST                                           5126 BAYOU TIMBER LN                                                                   HOUSTON           TX      77056-1402
CHRISTINA HALE                                                           1201 K7 HWY.                                                                           ATCHISON          KS      66002
CHRISTINA JOHNSON                                                        3501 NW 63RD ST                                                                        OKLAHOMA CITY     OK      73116
CHRISTINA KLINGAMAN                                                      7151 INDEPENDENCE                                                                      PERRY             OK      73077
CHRISTINA LAUGHLIN                                                       6212 INDIAN CREEK DRIVE                                                                FORT WORTH        TX      76107
CHRISTINA M LAW                                                          16200 W 31ST STREET SOUTH                                                              GODDARD           KS      67052
CHRISTINA RINK                                                           7302 S 150TH ST                                                                        DOUGLAS           OK      73733
                                                                                                                       9211 Lake Hefner
Christina Rybacki                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Christina Rybacki                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Christina Rybacki                                                        3744 S. 63rd W. Ave.                                                                   Tulsa             OK      74107
CHRISTINA VIRGILIO                                                       5902 EAST 129TH AVE                                                                    THORNTON          CO      80602-9197
CHRISTINA WEISS                                                          6005 CANYON SPRINGS RD                                                                 DALLAS            TX      75248
CHRISTINE ADAMS                                                          827 LEXINGTON AVE                                                                      EL CERRITO        CA      94530
                                                                                                                       9211 Lake Hefner
Christine Coglizer                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Christine Coglizer                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Christine Coglizer                                                       3126 S. 70th E. Ave.                                                                   Tulsa             OK      74145
CHRISTINE DELISLE                                                        14115 BERRY PLZ APT 7                                                                  OMAHA             NE      68137-2809
CHRISTINE E                                                              PO Box 2640                                                                            MIDLAND           TX      79702
CHRISTINE F GLASS                                                        582 WEST ZION PLACE                                                                    CHANDLER          AZ      85248
CHRISTINE GORDON                                                         PO BOX 223                                                                             TRYON             OK      74875
CHRISTINE HIGGS                                                          3613 64TH ST                                                                           DES MOINES        IA      50322
CHRISTINE ISOM                                                           58651 867TH RD                                                                         ALLEN             NE      68710
CHRISTINE MURDOCK                                                        418 NE 2ND ST                                                                          OKLAHOMA CITY     OK      73104-4017
CHRISTINE POLING                                                         95 OAK PARK                                                                            GUTHRIE           OK      73044-5738
CHRISTINE REYNOLDS                                                       17805 RED OAK CIR                                                                      COLLINSVILLE      OK      74021-6286
CHRISTINE RICHARDSON                                                     RT 1 BOX 178                                                                           WATONGA           OK      73772
CHRISTINE ROBERTS SPURLOCK                                               3001 OAK TREE AVE APT O8                                                               NORMAN            OK      73072
CHRISTINE TAYLOR                                                         33 S 73RD E AVE                                                                        TULSA             OK      74112
CHRISTINE UHELMANN                                                       2130 PARFET DR                                                                         LAKEWOOD          CO      80227-1902
CHRISTNER MARITAL TRUST                                                  35324 2ND AVE SW B                                                                     FEDERAL WAY       WA      98023-8146

CHRISTOPHER & GRETCHEN SABODA H&W J                                      522 SO 3RD ST                                                                          BOZEMAN           MT      59715
CHRISTOPHER AND TIFFANY G GRIMES JT                                      1703 FAIRWAY DR                                                                        PERKINS           OK      74059-4114
CHRISTOPHER CAHILL                                                       3410 WOODSTREAM PL                                                                     SUGAR LAND        TX      77479
CHRISTOPHER CAMPBELL                                                     111 SPENCER LANE                                                                       STATE COLLEGE     PA      16801
CHRISTOPHER CARRIER                                                      344227 E 840 RD                                                                        CHANDLER          OK      74834-5240
CHRISTOPHER CAVANAUGH                                                    10789 CALLE MAR DE MARIPOSA                                                            SAN DIEGO         CA      92130
CHRISTOPHER CRABB                                                        9056 E. LAUREL CT.                                                                     HIGHLANDS RANCH   CO      80126
CHRISTOPHER DWAN                                                         8 HILLSIDE AVE APT 703                                                                 SALT LAKE CITY    UT      84103
CHRISTOPHER EARL GRAY                                                    9106 E 56TH ST                                                                         RIPLEY            OK      74062-6257
CHRISTOPHER FENNELL                                                      5021 W 2ND AVE                                                                         STILLWATER        OK      74074-6890
CHRISTOPHER FILLEY                                                       509 12TH STREET, APT 4B                                                                BROOKLYN          NY      11215


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CHRISTOPHER FOSTER                                                      840708 S 3044 ROAD                                                                     CHANDLER        OK      74834
CHRISTOPHER GILLILAND                                                   PO BOX 305                                                                             HENNESSEY       OK      73742
CHRISTOPHER GINGRICH                                                    93 MAPLE RD                                                                            MIFFLINTOWN     PA      17059
CHRISTOPHER GOLIGHTLY                                                   119 PITTSBURG                                                                          DALLAS          TX      75207
CHRISTOPHER H BEASON                                                    16445 N HWY 215                                                                        MOUNTAINBURG    AR      72946
CHRISTOPHER HANSON                                                      53 CABEL WAY                                                                           SHARPSBURG      GA      30277
CHRISTOPHER HASKIN                                                      810713 S 3550 RD                                                                       STROUD          OK      74079-6157
CHRISTOPHER HIRZEL                                                      3110 CEDAR RIDGE CT                                                                    GUTHRIE         OK      73044
CHRISTOPHER HOAG                                                        227 LAPP LANE                                                                          ROSEBURG        OR      97471
CHRISTOPHER HOFFMAN                                                     7924 S 28TH W AVE                                                                      TULSA           OK      74132
CHRISTOPHER HOWRY                                                       2055 ALLEN RD                                                                          GUTHRIE         OK      73044
                                                                                                                      9211 Lake Hefner
Christopher Knight Sr.               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120

Christopher Knight Sr.               c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Christopher Knight Sr.                                                  6401 S. Harvey Ave.                                                                    Oklahoma City   OK      73139
CHRISTOPHER L JONES                                                     ADDRESS REDACTED
CHRISTOPHER LEBERMAN                                                    1800 GLENWOOD DR                                                                       MOORE           OK      73160
CHRISTOPHER LOOBY                                                       1035 HUNTER CT                                                                         DEERFIELD       IL      60015
CHRISTOPHER LOPES                                                       1504 NW 179TH ST                                                                       EDMOND          OK      73012
CHRISTOPHER M MCCUTCHEN                                                 PO BOX 637                                                                             PERKINS         OK      74059
                                                                                                                      9211 Lake Hefner
Christopher M. Miller                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Christopher M. Miller                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Christopher M. Miller                                                   7769 E. 28th Ct S                                                                      Tulsa           OK      74129
                                                                                                                      9211 Lake Hefner
Christopher Matonti                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120

Christopher Matonti                  c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Christopher Matonti                                                     3000 NW 48th St                                                                        Oklahoma City   OK      73112
CHRISTOPHER MCKEOWN                                                     320 W. 4TH AVENUE                                                                      CORSICANA       TX      75110
CHRISTOPHER MILLER                                                      2920 VERANO WAY                                                                        ROCKLIN         CA      95677-1932
CHRISTOPHER P HOPFER                                                    PO BOX 174                                                                             GUTHRIE         OK      73044
CHRISTOPHER PAUL HOPFER & JENNIFER                                      PO BOX 174                                                                             GUTHRIE         OK      73044
CHRISTOPHER R F ECKELS                                                  PO BOX 30                                                                              CEDAREDGE       CO      81413-0030
CHRISTOPHER RAUPE                                                       7844 S UTICA AVE APT 11C                                                               TULSA           OK      74136-7638
CHRISTOPHER RAZOR                                                       4254 N. 100 W                                                                          ANDERSON        IN      46011
CHRISTOPHER SHARPE                                                      2044 CALICO CIRCLE                                                                     DANDRIDGE       TN      37725-5227
CHRISTOPHER SHERMAN                                                     9375 VISCOUNTAPT 1507                                                                  EL PASO         TX      79925
CHRISTOPHER SMITH                                                       8307 VALLEY RIDGE DR                                                                   STILLWATER      OK      74075
                                                                                                                      9211 Lake Hefner
Christopher Stanford                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Christopher Stanford                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Christopher Stanford                                                    1102 N. Hickory Ave.                                                                   Sand Springs    OK      74063
CHRISTOPHER STONE                                                       1024 W ESKRIDGE AVE                                                                    STILLWATER      OK      74075-4003
CHRISTOPHER THOMAS                                                      25503 W HIGHWAY 10                                                                     HAVANA          AR      72842-9076
CHRISTOPHER TILGHMAN                                                    2401 NW 55TH TERRACE                                                                   OKLAHOMA CITY   OK      73112
CHRISTOPHER TRAHAN DO D                                                 1521 NORTH 37TH STREET APT 197                                                         ORANGE          TX      77630
CHRISTOPHER VASQUEZ                                                     1500 S PAROTTE                                                                         RIPLEY          OK      74062-6356
CHRISTOPHER W SCOTT DBA                                                 PO BOX 5865                                                                            ENID            OK      73702
CHRISTOPHER WATSON                                                      1312 CREEK VALLEY DRIVE                                                                TUTTLE          OK      73089
CHRISTOPHER WHITE                                                       3803 E 99TH PL                                                                         TULSA           OK      74137-5204
                                                                                                                      9211 Lake Hefner
Christopher Williams                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120

Christopher Williams                 c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Christopher Williams                                                    1901 Deerwood Trail                                                                    Edmond          OK      73034


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CHRISTOPHER WITTY                                                   232 SWINGING BRIDGE RD                                                                 BEEBE             AR    72012
CHRISTOPHER WOLF                                                    502 SE 2ND STREET                                                                      PERKINS           OK    74059
                                                                                                                  9211 Lake Hefner
Christropher Pope                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                 c/o Laminack, Pirtle & Martines,
Christropher Pope                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Christropher Pope                                                   2723 S. Pioneer Trail                                                                  Stillwater        OK    74074
CHRISTY BAKER                                                       4914 E RUPE                                                                            ENID              OK    73701
CHRISTY BECKER                                                      2009 MCGREGOR DR                                                                       RANCHO CORDOVA    CA    95670
CHRISTY L WHITE                                                     17180 LAKEVIEW DR                                                                      FLINT             TX    75762
CHRISTY NEWBAKER                                                    276 VIAR RD                                                                            DYERSBURG         TN    38024
                                                                                                                  9211 Lake Hefner
Christy Terronez                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120

Christy Terronez                 c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Christy Terronez                                                    523 S. Blaine Ave.                                                                     Chandler          OK    74834
CHRYSTAL WATSON                                                     RT 2 BOX 53                                                                            LEEDEY            OK    73654
                                                                                                                  1133 Avenue of the
Chubb                            ATTN: Chief Underwriting Officer   Chubb - Financial Lines                       Americas             32nd Floor          New York          NY    10036
CHURCH OF THE BRETHREN                                              PO BOX 394                                                                             MCPHERSON         KS    67752
CHURCH OF THE BRETHREN INC                                          1451 DUNDEE AVE                                                                        ELGIN             IL    60120-1694
CHURCHILL RESOURCES LLC                                             5323 SPRING VALLEY RD STE 250                                                          DALLAS            TX    75254
CHURCHILL ROYALTY COMPANY                                           7101 JACK FINNEY                                                                       GREENVILLE        TX    75402
CIANS ANALYTICS INC                                                 54 W 40TH ST                                                                           NEW YORK          NY    10018-2602
CIBC                             Attn: Kevin James                  First City Tower                              1001 Fannin Street   #1900               Houston           TX    77002
CIMAREX ENERGY                                                      4023 SOLUTIONS CENTER #774023                                                          CHICAGO           IL    60677-4000
CIMAREX ENERGY                                                      # 774023                                                                               CHICAGO           IL    60677-4000
CIMARRON ACID & FRAC LLC                                            256946 E COUNTY RD 49                                                                  FAIRVIEW          OK    73737
CIMARRON ELECTRIC COOPERATIVE                                       PO BOX 299                                                                             KINGFISHER        OK    73750-0299
Cimarron Electric Cooperative                                       19306 Highway 81 North                        P.O. Box 299                             Kingfisher        OK    73750
CIMARRON PRODUCTION CO INC                                          13170 N MACARTHUR BLVD                                                                 OKLAHOMA CITY     OK    73142
Cimarron River Operating Corp.   Attn: Harold E. Colpitt Jr.        3725 Speckwright Rd, PO Box 289                                                        Mannford          OK    74044
Cimarron River Operating Corp.
CIMARRON SIGNS                                                      709 E MAIN                                                                             CUSHING           OK    74023
CINCIVIC LLC                                                        PO BOX 57                                                                              WASHINGTON        PA    15301
CINDY ALLENSWORTH                                                   624 E 8TH AVE                                                                          STILLWATER        OK    74074-4807
CINDY BOND                                                          7886 EAGLE CREEK RD                                                                    CINCINNATI        OH    45247-2416
CINDY BOUDLOCHE                                                     4650 OSO PARKWAY                                                                       CORPUS CHRISTI    TX    78413
CINDY CARLEY                                                        811 S ENCINA ST APT A                                                                  VISALIA           CA    93277-2629
                                                                                                                  9211 Lake Hefner
Cindy Cheatwood                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120

Cindy Cheatwood                  c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Cindy Cheatwood                                                     9604 Regal Lane                                                                        Oklahoma City     OK    73162
CINDY CUNDIFF                                                       9401 E 112TH PL S                                                                      BIXBY             OK    74008
CINDY EELLS                                                         21218 BOEHNER RD                                                                       CALDWELL          ID    83607
CINDY FEHRING-CARR                                                  19301 CR 250                                                                           MORRISON          OK    73061
CINDY FREE                                                          6556 GARLAND ST                                                                        FORT MYERS        FL    33966-1109
CINDY GRANT                                                         19139 HIGHWAY 6                                                                        SAYRE             OK    73662
CINDY HEYD                                                          4701 AMERICANA DR APT 103                                                              ANNADALE          VA    22003
CINDY HILL                                                          44482 NC 740 HWY                                                                       NEW LONDON        NC    28127
CINDY HUGHES                                                        PO BOX 5938                                                                            ENID              OK    73702
                                                                                                                  9211 Lake Hefner
Cindy Jo Carter                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                 c/o Laminack, Pirtle & Martines,
Cindy Jo Carter                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Cindy Jo Carter                                                     7529 W. 16th St                                                                        Tulsa             OK    74127
CINDY JO JANECEK                                                    639 35 ROAD                                                                            CLIFTON           CO    81520
CINDY K BERRY PENNINGTON                                            2901 ALLSPICE RUN                                                                      NORMAN            OK    73026


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CINDY KEIG & RICHARD CERVANTES JTS                                      815 E 17TH AVE                                                                         STILLWATER      OK      74074
CINDY LEE CUNDIFF                                                       9401 E 112TH PL S                                                                      BIXBY           OK      74008
CINDY MARTIN                                                            4705 KELLY KRIS CT                                                                     ST CHARLES      MO      63304
CINDY NIWA                                                              13336 KONRAD DR                                                                        EAGLE RIVER     AK      99577-6712
CINDY POULTON                                                           23351 CR 40                                                                            PERRY           OK      73077
CINDY RITCHIE                                                           15216 STONEY SPRING RD                                                                 EDMOND          OK      73013
                                                                                                                      9211 Lake Hefner
Cindy S. Special                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Cindy S. Special                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Cindy S. Special                                                        PO Box 369                                                                             Stillwater      OK      74076
                                                                                                                      9211 Lake Hefner
Cindy Verdone                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120

Cindy Verdone                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Cindy Verdone                                                           13016 Amberwood Pl                                                                     Edmond          OK      73013
CINDY WILLIAMS                                                          PO BOX 343                                                                             GORE            OK      74435
CINTAS CORPORATION NO 2                                                 PO BOX 631025                                                                          CINCINNATI      OH      45263-1025
CIR OIL LLC                                                             11600 N BROADWAY #300                                                                  OKLAHOMA CITY   OK      73114
CIRCA INCORPORATED                                                      PO BOX 14694                                                                           OKLAHOMA CITY   OK      73113
CIRCLE 4 LAND INC                                                       15621 FRISCO RD                                                                        PIEDMONT        OK      73078-9087
Circle 9 Resources, LLC              c/o Durbin Larimore & Bialick      Attn: E. Edd Pritchett Jr.                    920 N Harvey Ave                         Oklahoma City   OK      73102
Circle 9 Resources, LLC              c/o Jay Whipple                    2308 NW 54th St                                                                        Oklahoma City   OK      73112
Circle 9 Resources, LLC              c/o The Doyle Firm PC              Attn: William H Doyle                         1313 E Osborn Rd     Ste. 220            Phoenix         AZ      85014
Circle 9 Resources, LLC
Circle 9 Resources, LLC                                                 210 Park Ave., Ste. 1350                      PO Box 249                               Oklahoma City   OK      73101
CIRCLE A OIL COUNTRY TUBULARS, LLC                                      248 HOWARD ROAD                                                                        VALLEY VIEW     TX      76227
CIRCLE B MEASUREMENT & FABRICATION                                      14034 E MARSHALL ST                                                                    TULSA           OK      74116-2138
CIRCLE OF CARE                                                          1501 NW 24TH ST STE 214                                                                OKLAHOMA CITY   OK      73106-3635
CIRCLE S PAVING COMPANY INC                                             PO BOX 817                                                                             CLINTON         OK      73601
CIRCLE W SERVICES LLC                                                   20497 E 1070 RD                                                                        ELK CITY        OK      73644
CIRCULATION SOLUTIONS LLC                                               1501 35TH AVE WEST                                                                     SPENCER         IA      51301
CIRESON LLC                                                             3960 W POINT LOMA BLVD # H290                                                          SAN DIEGO       CA      92110-5643
CIRRUS PRODUCTION COMPANY                                               PO BOX 5469                                                                            ENID            OK      73702-5469
CISCO (PPA)                                                             PO BOX 13360                                                                           OKLAHOMA CITY   OK      73113
CISCO OPERATING LLC                                                     6900 N DALLAS PKWY STE 740                                                             PLANO           TX      75024
CITATION 2004 INVESTMENT LP                                             PO BOX 200206                                                                          DALLAS          TX      75320-0206
CITATION OIL & GAS CORP                                                 14077 CUTTEN RD                                                                        HOUSTON         TX      77069
CITI ENERGY GROUP LLC                                                   12200 MAPLE RIDGE RD                                                                   OKLAHOMA CITY   OK      73120
CITIBANK                                                                399 PARK AVE                                                                           NEW YORK        NY      10043
Citibank, NA                         Attn: Cliff Vaz                    701 East 60th Street North                                                             Sioux Falls     SD      57104
CITIZEN ENERGY II LLC                                                   320 S BOSTON AVE STE 1300                                                              TULSA           OK      74103-4702
CITIZEN ENERGY III LLC                                                  320 SOUTH BOSTON SUITE 900                                                             TULSA           OK      74103
Citizen Energy III, LLC              c/o Mahaffey & Gore PC             Attn: Travis Brown                            300 NE 1st St                            Oklahoma City   OK      73104
Citizen Energy III, LLC                                                 320 S. Boston Ave                             Ste.900                                  Tulsa           OK      74103
CITIZEN ENERGY LLC                                                      320 S BOSTON AVE STE 1300                                                              TULSA           OK      74103-3302
CITIZEN MINERAL LLC                                                     320 S BOSTON AVE STE 900                                                               TULSA           OK      74103
CITIZENS ENERGY II LLC                                                  320 S. BOSTON AVENUE SUITE 1300                                                        TULSA           OK      74103
CITIZENS STATE BANK                                                     PO BOX 117                                                                             MORRISON        OK      73061
CITRIX SYSTEMS INC                                                      PO BOX 931686                                                                          ATLANTA         GA      31193-1686
CITY OF ARDMORE                                                         PO BOX 69                                                                              ARDMORE         OK      73402
CITY OF CAMBRIDGE UTILITIES                                             1131 STEUBENVILLE AVE                                                                  CAMBRIDGE       OH      43725-2572
CITY OF CHANDLER                                                        414 MANVEL AVE                                                                         CHANDLER        OK      74834-2045
CITY OF CUSHING                                                         PO BOX 311                                                                             CUSHING         OK      74023-0311
City of Cushing                                                         100 Judy Adams Blvd                                                                    Cushing         OK      74023
City of Cushing, OK                                                     100 Judy Adams Blvd                                                                    Cushing         OK      74023
CITY OF MARSHALL                                                        PO BOX 240                                                                             MARSHALL        OK      73056
CITY OF OKLAHOMA CITY                                                   PO BOX 26570                                                                           OKLAHOMA CITY   OK      73126-0570
CITY OF PERKINS                                                         PO BOX 9                                                                               PERKINS         OK      74059-0009


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CITY OF STILLWATER                                                         PO BOX 1449                                                                            STILLWATER        OK      74076-1449
City of Stillwater                                                         723 South Lewis Street                                                                 Stillwater        OK      74074
City of Stillwater, Utilities Authority                                    PO Box 1449                                                                            Stillwater        OK      74076
CITY OF STROUD                                                             200 W 2ND ST                                                                           STROUD            OK      74079
CITY RESCUE MISSION                                                        800 W CALIFORNIA AVE                                                                   OKLAHOMA CITY     OK      73106-7807
CJL PROPERTIES LLC                                                         21 SW 97TH ST                                                                          OKLAHOMA CITY     OK      73139-8836
CJS PRODUCTIONS LLC                                                        1316 NW 186TH ST                                                                       EDMOND            OK      73012
CKENERGY ELECTRIC COOPERATIVE INC                                          PO BOX 100                                                                             CORDELL           OK      73632
Ckenergy Electric Cooperative Inc                                          14039 State Highway 152                                                                Binger            OK      73009
                                                                                                                         9211 Lake Hefner
Clabe Wright                              c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120

Clabe Wright                              c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                    5020 Montrose Blvd   9th Fl              Houston           TX      77006
Clabe Wright                                                                 499 Hickory Hill Dr                                                                  Choctaw           OK      73020
CLAIR J MILLARD IV                                                           12750 TANADA LOOP                                                                    ANCHORAGE         AK      99515
CLAIR JONES                                                                  5602 PECOS CT                                                                        GRANBURY          TX      76049
CLAIRE BARRETT                                                               41 BOB BARRETT RD                                                                    NATCHEZ           MS      39120
CLAIRE L HOLMES TRUST DTD 3-12-2014                                          501 NW 13TH                                                                          OKLAHOMA CITY     OK      73103
CLAIRE LINDSEY                                                               4929 S NORFLEET RD                                                                   INDEPENDENCE      MO      64055
CLAIRE TATUM ESTATE                                                          3713 EDENBORN AVE                                                                    METAIRIE          LA      70002
CLAIRLEE LLC                                                                 7314 E LAKEVIEW RD                                                                   STILLWATER        OK      74075-8807
CLARA BRANT                                                                  1092 S 45TH ST                                                                       SPRINGFIELD       OR      97478-7538
CLARA GIVENS                                                                 7501 INDEPENDENCE                                                                    PERRY             OK      73077
CLARA KETCH                                                                  921 WALNUT CT                                                                        GUTHRIE           OK      73044
CLARA KETCH LE                                                               921 WALNUT CT                                                                        GUTHRIE           OK      73044
CLARA L GALLAWAY KETCH LIVING TRUST                                          921 WALNUT COURT                                                                     GUTHRIE           OK      73044-2048
CLARA MANSFIELD                                                              PO BOX 1606                                                                          BIG BEAR LAKE     CA      92315
CLARA NEVIS                                                                  601 SW 158TH TER                                                                     OKLAHOMA CITY     OK      73170-7659
CLARA SNEARY                                                                 1417 E MAPLE                                                                         STILLWATER        OK      74074
CLARA STINEBAKER                                                             36124 430 ST                                                                         GRIGGSVILLE       IL      62340
CLARA SUKOWSKY                                                               5300 WAVERLY DR APT C 7                                                              PALM SPRINGS      CA      92264
                                                                                                                         9211 Lake Hefner
Clara W. Wilson                           c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120

Clara W. Wilson                           c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                    5020 Montrose Blvd   9th Fl              Houston           TX      77006
Clara W. Wilson                                                              1534 NE 51st St                                                                      Oklahoma City     OK      73111
CLARA WARNER ESTATE                                                          3311 E SILVERLAKE                                                                    TUCSON            AZ      85713
CLARA WHISENANT                                                              15868 HOLIDAY PKY                                                                    TYLER             TX      75704
CLARA WILLIAMSON                                                             3010 RIVERBEND DR                                                                    FT SMITH          AR      72903
CLARA WISEMAN                                                                1407 IVANHOE ST                                                                      PERRY             OK      73077-4057
CLARABELLE STARLING                                                          1087 W H ST                                                                          COLTON            CA      92324-2014
CLARE GRIFFITH                                                               306 OYSTER BAY DR                                                                    SUMMERVILLE       SC      29483
CLARE MILLER                                                                 3916 S SANDUSKY                                                                      TULSA             OK      74135-2516
CLARENCE B & GLORENE J WOOD TRUST                                            3912 W VANDALIA ST                                                                   BROKEN ARROW      OK      74012-6134
CLARENCE BALL                                                                1122 SANTA FE RD                                                                     HOBBS             NM      88242
CLARENCE BERENDS                                                             712 NE 2ND                                                                           BUFFALO           OK      73834
CLARENCE BRANCH                                                              1402 S RENO                                                                          EL RENO           OK      73036
CLARENCE CARMACK                                                             15111 PIPELINE AVE #227                                                              CHINO HILLS       CA      91709
CLARENCE CARPENTER                                                           100 C STR BOX 945                                                                    CASTLE ROCK       WA      98611
CLARENCE COURTRIGHT                                                          27896 LINDVOG RD NE                                                                  KINGSTON          WA      98346-9603
CLARENCE DALLAS                                                              53551 EAST 48TH ROAD                                                                 PAWNEE            OK      74058
CLARENCE FREY                                                                PO BOX 70                                                                            MULHALL           OK      73063
CLARENCE G ROOT                                                              7 BIRCHWOOD TERRACE                                                                  GROVELAND         MA      01834
CLARENCE GOSSETT                                                             4236 GALEWOOD WAY                                                                    CARMICHAEL        CA      95608
CLARENCE HENDERSON                                                           601 OAK ST                                                                           NEOSHO FALLS      KS      66758
CLARENCE HILDEBRAND                                                          1301 PECAN ST                                                                        PERRY             OK      73077-2014
CLARENCE MADISON                                                             100 C STR BOX 945                                                                    CASTLE ROCK       WA      98611
CLARENCE MAXWELL                                                             2214 W 10TH AVE                                                                      STILLWATER        OK      74074-5111
CLARENCE SIMMONS                                                             1575 MADISON LN                                                                      FLORISSANT        MO      63031


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              CreditorName                 CreditorNoticeName                         Address1                            Address2                 Address3            City     State       Zip      Country
CLARENCE SMITH                                                         535 SUMMER DR                                                                          EDMOND            OK      73025
CLARENCE TRIPLETTE                                                     9503 LIV 237                                                                           CHILLICOTHE       MO      64601
CLARENCE WAYNE HANEY                                                   810 FM 2821 WEST                                                                       HUNTSVILLE        TX      77349
CLARENCE WILLIAMS                                                      9000 S VASSAR RD                                                                       COYLE             OK      73027
CLARICE LANG                                                           7704 N 123RD E AVE                                                                     OWASSO            OK      74055
CLARIDGE INVESTMENTS LLC                                               2610 NW 62ND ST                                                                        OKLAHOMA CITY     OK      73112
CLARK COLE                                                             158 FAIRVIEW ST                                                                        PONCA CITY        OK      74601
CLARK HUFFER                                                           2443 SW ROTHER RD                                                                      TOPEKA            KS      66614
                                                                                                                     9211 Lake Hefner
Clark L. Gates                       c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120

Clark L. Gates                       c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston           TX      77006
Clark L. Gates                                                          3531 Daryl Lane                                                                       Spencer           OK      73084
CLARK MILLER                                                            109 CRAVEN DR                                                                         MANNFORD          OK      74044-3004
CLARK ROTHER                                                            PO BOX 10                                                                             OKARCHE           OK      73762
CLARK WILLIAMS                                                          14116 W 56TH ST                                                                       MULHALL           OK      73063-2718
Clark, Thomas                        c/o White Star Petroleum, LLC      301 NW 63rd St                               Ste 600                                  Oklahoma City     OK      73116
CLARKE B EVANS                                                          6 JEAN LA FITTE DRIVE                                                                 KEY LARGO         FL      33037
CLARKE III LLC                                                          PO BOX 1117                                                                           SHAWNEE           OK      74802-1117
CLARY FAMILY IRREVOCABLE TRUST DTD                                      1601 WILMETH RD                                                                       MCKINNEY          TX      75069-8250
CLARYS BOYLE                                                            609 E PARK DR                                                                         PAYSON            AZ      85541-4435
CLAUD LEWIS                                                             112 MILLER AVE                                                                        CHATTANOOGA       TN      37405-4612
CLAUDDIA JACKSON                                                        10936 SILO RIDGE RD                                                                   OKLAHOMA CITY     OK      73170
CLAUDE C BROSS                                                          PO BOX 43                                                                             CRENSHAW          MS      38621-0043
CLAUDE C ROUSE JR                                                       PO BOX B                                                                              HALLETTSVILLE     TX      77964
CLAUDE CARTER                                                           4558 FIELDCREST WAY                                                                   ANTIOCH           CA      94531
CLAUDE CARTER                                                           PO BOX 2604                                                                           HARLINGEN         TX      78551-2604
CLAUDE CARTER                                                           2118 N PROSPECT AVE                                                                   OKLAHOMA CITY     OK      73111-2222
CLAUDE COOPER                                                           1518 E KALISPELL CT                                                                   ANDOVER           KS      67002-7982
CLAUDE GIBBS                                                            PO BOX 245 5747 HWY HH                                                                CATAWISSA         MO      63105-1835
CLAUDE HILTON                                                           2060 THIRD AVE                                                                        SNEADS            FL      32460-2358
CLAUDE JOHNSON                                                          6450 WASHINGTON ST                                                                    KANSAS CITY       MO      64113
CLAUDE L. OBAR                                                          8520 N.W. 206TH STREET                                                                EDMOND            OK      73012

CLAUDE M HERNANDEZ                                                     5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
CLAUDE NED DEMOREST                                                    8605 GREEN VALLEY RD                                                                   CAMBRIA           CA      93428
CLAUDE R CLIFTON III                                                   PO Box 3382                                                                            INCLINE VILLAGE   NV      89450
CLAUDE RAYMOND URBAN                                                   104500 OVERSEAS HWY A103                                                               KEY LARGO         FL      33037
CLAUDE S HOLLEY LIVING TRUST                                           5621 LEICESTER DRIVE                                                                   CORPUS CHRISTI    TX      78414
CLAUDE WYNN                                                            PO BOX 6832                                                                            HOUSTON           TX      77265
CLAUDETTE DAMRON                                                       12709 W GLEN CT                                                                        CHOCTAW           OK      73020
CLAUDETTE G LEACHMAN LANDESS                                           9 TEAL COURT                                                                           AMARILLO          TX      79106
CLAUDIA FRITTS                                                         9916 SOUTH 67TH EAST AVE                                                               TULSA             OK      74133-6207
CLAUDIA FRITTS REV TR                                                  9916 S 67TH EAST AVENUE                                                                TULSA             OK      74133
                                                                                                                     9211 Lake Hefner
Claudia Hoyos                        c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120

Claudia Hoyos                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston           TX      77006
Claudia Hoyos                                                           3324 SE 55th                                                                          Oklahoma City     OK      73135
                                                                                                                     9211 Lake Hefner
Claudia J. Short                     c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120

Claudia J. Short                     c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston           TX      77006
Claudia J. Short                                                        3950 Rush Creek Rd                                                                    Edmond            OK      73025
CLAUDIA KOVAR                                                           5855 S 73RD E AVE                                                                     TULSA             OK      74146-9320
CLAUDIA LEIDECKER                                                       839 PLUMTREE RD                                                                       SANTA PAULA       CA      93060
CLAUDIA MONTGOMERY                                                      10824 JOSEPH WAY                                                                      YUKON             OK      73099
CLAUDIA PAYNE                                                           705 E ORANGE ST                                                                       SANTA MARIA       CA      93454
CLAUDIA REYES                                                           16004 SCENIC OAKS TRAIL                                                               BUDA              TX      78610


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CLAUDIA SNEATHEN                                                       4712 SE OGDEN ST                                                                       PORTLAND         OR    97206
CLAUDINE POWERS                                                        3528 S OSWEGO                                                                          TULSA            OK    74135
CLAY BOEPPLE                                                           PO BOX 1729                                                                            GREAT BEND       KS    67530
                                                                                                                     9211 Lake Hefner
Clay Carpenter                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120

Clay Carpenter                      c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Clay Carpenter                                                         520 NW 49th St                                                                         Oklahoma City    OK    73118
CLAY JONES                                                             1097 E ZESTA LANE                                                                      GILBERT          AZ    85297-1943
CLAY MUEGGE                                                            16691 COUNTY RD 1080                                                                   LAMONT           OK    74643
CLAY SERIGRAPHICS INC                                                  1433 E 6TH ST                                                                          TULSA            OK    74120
CLAY WALTON                                                            17385 W. 57TH AVENUE                                                                   GOLDEN           CO    80403
CLAYTON & BARBARA MCHENDRY FAM TR                                      304 E 2ND                                                                              MARSHALL         OK    73056
CLAYTON BRIDENSTINE                                                    911 VALLEY RIDGE DRIVE                                                                 ROSENBERG        TX    77469
CLAYTON NESS                                                           505 S OAK KNOLL CT                                                                     STILLWATER       OK    74074-6768
CLAYTON PAINTER                                                        515 W 29TH AVE                                                                         STILLWATER       OK    74074-6922
CLAYTON PROPANE L.L.C.                                                 PO BOX 775                                                                             SEILING          OK    73663
CLAYTON SPIEHS                                                         4623 E 19TH ST                                                                         STILLWATER       OK    74074
CLAYTON STRECK                                                         PO BOX 114                                                                             MARSHALL         OK    73056-0111
                                                                                                                     9211 Lake Hefner
Clayton Adams                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                    c/o Laminack, Pirtle & Martines,
Clayton Adams                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Clayton Adams                                                          2309 SW 90th St                                                                        Oklahoma City    OK    73159
CLEAR CREEK MINERALS                                                   PO BOX 2257                                                                            DUNCAN           OK    73534-2257
CLEAR FORK MINERALS LLC                                                6300 RIDGLEA PLACE STE 950                                                             FORT WORTH       TX    76116-5704
CLEAR FORK ROYALTY 4 LP                                                6300 RIDGLEA PLACE SUITE 950                                                           FORT WORTH       TX    76116
CLEARFORK LTD                                                          36913 CLEARFORK RD                                                                     GRAYSVILLE       OH    45734
CLEARVIEW LAND LLC                                                     9008 N KELLEY AVE                                                                      OKLAHOMA CITY    OK    73131
CLEARY ENERGY GROUP LTD                                                524 E OAK PLACE                                                                        EDMOND           OK    73025
CLEE JAY HEDGES REV INTERVIVOS TR                                      7701 E FOX DR                                                                          ENID             OK    73701
CLEETA SIDEBOTHAM DECD                                                 308 MOUNT YALE DR BOX 306                                                              LEADVILLE        CO    80461
CLELL RICKARDS                                                         10125 WINTER CT                                                                        DENHAM SPRINGS   LA    70726
CLEM IRRV TRUST DATED 4/2/12                                           3909 WICKERSHAM DR                                                                     EDMOND           OK    73013
CLEMENT E WARD FAMILY TRUST                                            5023 W 3RD AVE                                                                         STILLWATER       OK    74074-6796
CLEMENT FAMILY TRUST                                                   6503 SW CARLTON WAY                                                                    REDMOND          OR    97756
                                                                                                                     9211 Lake Hefner
Clemes Branton                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120

Clemes Branton                      c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Clemes Branton                                                         2308 NE 26th St                                                                        Oklahoma City    OK    73111
CLEMMIT YOCKEY                                                         114 FIR AVE                                                                            PERRY            OK    73077-4810
CLEMMIT YOCKEY                                                         114 FIR STREET                                                                         PERRY            OK    73077
CLENDENNEN VA IRREV TRUST                                              601 GREEN MEADOW N.                                                                    COLLEYVILLE      TX    76034
CLEO ALLEN WALTER JR ESTATE                                            1801 VICTORIA DR                                                                       EDMOND           OK    73003
CLEO COLLINS                                                           23333 COUNTY ROAD EW 180                                                               CHATTANOOGO      OK    73528
CLEO EMERSON                                                           3213 SW 40TH ST                                                                        OKLAHOMA CITY    OK    73119
CLEO FOWLER                                                            1937 S ELVIN DR                                                                        STILLWATER       OK    74074-2141
CLEO HALL                                                              RT 1                                                                                   CLEARWATER       KS    67206
CLEO KAUFMANN                                                          2010 SYDNOR LN                                                                         GALVESTON        TX    77554-9356
                                                                                                                     9211 Lake Hefner
Cleo Revels                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120

Cleo Revels                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Cleo Revels                                                            1421 NW 100th St                                                                       Oklahoma City    OK    73114
CLEO TIMOTHY                                                           PO BOX 1273                                                                            ADA              OK    74821
CLEO W HARRIS TRUST                                                    5505 W 19TH AVE, APT 227                                                               STILLWATER       OK    74074
CLEO WILLIAMS                                                          RT 3 BOX 163                                                                           ANAHEIM          CA    92807



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                                                                                                                       9211 Lake Hefner
Cleovis Watson III                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
Cleovis Watson III                    c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                         Los Angeles      CA      90017
Cleovis Watson III                                                       1713 Kyle Dr                                                                             Guthrie          OK      73044
CLEROY INC                                                               PO BOX 3403                                                                              TULSA            OK      74101
CLETA KALB                                                               14763 CR 424 #102                                                                        LINDALE          TX      75771
CLETA WALLACE                                                            103 LEGEND CREEK DR                                                                      CANTON           GA      30114
CLETHA HESSEL REV INTERVIVOS                                             5112 W WOODLAND DR                                                                       STILLWATER       OK      74074-1348
CLETHA HESSEL REV INTERVIVOS                                             5112 WOODLAND DR                                                                         STILLWATER       OK      74074
CLETUS DESCHER                                                           9016 N MAY AVE                                                                           CRESCENT         OK      73028-8967
CLEVELAND LIVING TRUST                                                   16713 AUTUMNWOOD DR                                                                      EDMOND           OK      73012-8950
CLEVELAND MERL CARMACK DEC                                               131 PR 4686                                                                              BOYD             TX      76023
CLEVELAND WELSH                                                          6548 NW 49TH ST.                                                                         MISSION          KS      66202
CLIFF SANDERS                                                            4762 W MISSION BOULEVARD, #5                                                             ONTARIO          CA      91762-4415

CLIFFORD ALLEN FORTUNE                                                   3333 SE CESAR E CHAVEZ BLVD APT 59                                                       PORTLAND         OR      97202
CLIFFORD BUCKLES                                                         611 E OAK ST                                                                             CUSHING          OK      74023-3423
CLIFFORD C MARRS TRUST                                                   195 RAINBOW DR #9548                                                                     LIVINGSTON       TX      77399-1095
CLIFFORD CORGAN                                                          6651 LAKESHORE DR                                                                        DALLAS           TX      75214-3742
Clifford Cross                        c/o Allen Stewart, PC              Attn: Allen M Stewart              325 N Saint Paul St               Ste. 4000           Dallas           TX      75070
Clifford Cross                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                1500 South Utica                  Ste. 400            Tulsa            OK      74104
Clifford Cross                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips              747 3rd Ave                                           New York         NY      10017
Clifford Cross                                                           20 Private Rd 4737                                                                       Shidler          OK      74652

CLIFFORD E HAIR                                                          5900 SOUTH LAKE FOREST DR STE 300                                                        MCKINNEY         TX      75070
CLIFFORD E WRIGHT                                                        355677 E 890 RD                                                                          STROUD           OK      74079-3857
CLIFFORD ELDON GAUNT                                                     2164 TANGLEWOOD BLVD #4208                                                               POTTSBORO        TX      75076
CLIFFORD HAMIL                                                           338 W VANDERBILT DR                                                                      CORPUS CHRISTI   TX      78415-4733
CLIFFORD HOOPER                                                          1003 IRVINE CT                                                                           EDMOND           OK      73025
CLIFFORD HOWELL                                                          35058 HOWELL ROAD                                                                        GRAYSVILLE       OH      45734-9023
                                                                                                                       9211 Lake Hefner
Clifford Johnson                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120

Clifford Johnson                      c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
CLIFFORD JOHNSON                                                         3863 BIRCH RD                                                                            VALE             OR      97918-5325
Clifford Johnson                                                         2515 NW 58th St                                                                          Oklahoma City    OK      73112
CLIFFORD LORENA SMALLWOOD                                                2119 E 32ND AVE                                                                          STILLWATER       OK      74074-7014
CLIFFORD NEALY                                                           260 SHUMWAY RD                                                                           CAMANO ISLAND    WA      98282
                                                                                                                       9211 Lake Hefner
Clifford Pohlman                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway                Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Clifford Pohlman                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd     9th Fl              Houston          TX      77006
Clifford Pohlman                                                         1642 S. Cedar Ave                                                                        Broken Arrow     OK      74012
CLIFFORD POWER SYSTEMS INC                                               DEPT 1754                                                                                TULSA            OK      74182
CLIFFORD R MUSELMANN TRUST                                               5429 S 75TH E AVE                                                                        TULSA            OK      74147

CLIFFORD R. ANDERSON ELECTRIC POWER                                      PO BOX 869                                                                               Lone Grove       OK      73443
CLIFFORD SEHIE                                                           401 E SAINT LOUIS ST                                                                     NIXA             MO      65714-8895
CLIFFORD SHERBURNE                                                       1699 S TRENTON ST UNIT 145                                                               DENVER           CO      80231-5605
CLIFFORD SMALLWOOD                                                       2119 E 32ND AVE                                                                          STILLWATER       OK      74074-7014
CLIFFORD SUGG                                                            818 SW 32ND ST                                                                           OKLAHOMA CITY    OK      73109-2421
CLIFFORD TIMOTHY TUCK                                                    16916 SUNNY HOLLOW RD                                                                    EDMOND           OK      73102-6739
CLIFT O&G LLC                                                            39502 LONG RUN RD                                                                        GRAYSVILLE       OH      45734
CLIFTON BECK                                                             16585 COUNTY RD G-5                                                                      ANTONITO         CO      81120
CLIFTON CONSULTING INC                                                   6208 VALLEY RIDGE DRIVE                                                                  EDMOND           OK      73034
CLIFTON HEMPHILL                                                         PO BOX 2313                                                                              WATFORD CITY     ND      58854
CLIFTON HOLCOMB                                                          165 TERRY ST                                                                             FARMINGTON       AR      72703
CLIFTON KOLB AND RACHEL KOLB                                             6515 S COUNTRY CLUB RD                                                                   STILLWATER       TX      74074
CLINE RANCH LLC                                                          9300 S CHAR LIN RANCH RD                                                                 CUSHING          OK      74023-8959


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CLINT ABBOTT                                                            409 N KINGS HWY                                                                        CUSHING          OK    74023-2409
CLINT BROOKS                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK    73116
CLINT PARKER & BECKY PARKER HW JTS                                      5102 N STONECREST CT                                                                   STILLWATER       OK    74075

CLINT PATTERSON                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX    75070
CLINTON ASHLEY JAYNE                                                    6721 NW MONTICELLO TERR                                                                PARKVILLE        MO    64152
                                                                                                                      9211 Lake Hefner
Clinton Brazille                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120

Clinton Brazille                     c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Clinton Brazille                                                        9320 NE 45th St                                                                        Spencer          OK    73084
CLINTON CHAPMAN                                                         1703 SE 43RD TERR                                                                      TOPEKA           KS    66609
CLINTON COOPER                                                          1319 WHISPERING HILLS ST                                                               ADA              OK    74820-8506
CLINTON DAILY NEWS                                                      522 AVANT AVE                                                                          CLINTON          OK    73601
CLINTON KENT                                                            7804 NW 83RD ST                                                                        OKLAHOMA CITY    OK    73132
CLINTON MCFADDEN                                                        6757 WOOSTER PIKE                                                                      MEDINA           OH    44256-5582
CLINTON R HAMMONS ESTATE DECD                                           54 SE 78TH CIR                                                                         OKLAHOMA CITY    OK    73149
CLINTON SHELTON                                                         760834 S 3410 RD                                                                       AGRA             OK    74824-8452
CLINTON STRONG                                                          1515 W WADE                                                                            EL RENO          OK    73036
CLINTON TAYLOR                                                          6610 E 92ND AVE                                                                        STILLWATER       OK    74074
CLIVE CALL                                                              2441 B ROCK CREEK RD                                                                   HANSEN           ID    83334
CLOETTA HILL                                                            207 MOSSY OAKS LANE                                                                    VICTORIA         TX    77904-1714
CLORIS J DAVIS LIVING TRUST                                             101 S TIMBERLINE DR                                                                    PERKINS          OK    74059-3317
CLOUD FAMILY LLC                                                        12008 QUAIL CREED RD                                                                   OKLAHOMA CITY    OK    73120-5408
CLOVE HITCH LLC                                                         PO BOX 357                                                                             SHERIDAN         WY    82801
CLOVER GAUNT HOLLOWAY                                                   83 LOCUST DR                                                                           YERINGTON        NV    89447-8739
CLOYANN FENT                                                            4920 W 9TH                                                                             STILLWATER       OK    74074
CLOYANN FENT                                                            4920 W 9TH AVE                                                                         STILLWATER       OK    74074
CLOYD BOWSMAN                                                           1650 TURKEY RIDGE RD                                                                   HONEY GROVE      PA    17035
CLOYE KOLEHNER                                                          241 S PINE GROVE ST                                                                    WICHITA          KS    67209-4061

CLYDE A FILES                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX    75070
CLYDE BALL                                                              PO BOX 38                                                                              SAUGATUCK        MI    49453
CLYDE BATES                                                             1323 NE 93 ST                                                                          KANSAS CITY      KS    64155
CLYDE BATES                                                             1323 NE 93RD ST                                                                        KANSAS CITY      MO    64155
CLYDE CALVIN GRAY                                                       5091 S MELPOMENE WAY                                                                   TUCSON           AZ    85747
CLYDE CARMACK                                                           7580 YORKSHIRE DRIVE                                                                   RENO             NV    89506
CLYDE CHLOUBER                                                          13723 PEAR WOODS CT                                                                    HOUSTON          TX    77059
                                                                                                                      9211 Lake Hefner
Clyde D. McDaniel                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                     c/o Laminack, Pirtle & Martines,
Clyde D. McDaniel                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Clyde D. McDaniel                                                       346030 E. Hwy. 62                                                                      Meeker           OK    74855
CLYDE DAVIS                                                             406 MARGUERITE BLVD                                                                    LAFAYETTE        LA    70503
CLYDE EDWARDS                                                           1401 18TH ST                                                                           OREGON CITY      OR    97045
CLYDE GLADDEN                                                           PO BOX 104                                                                             TRYON            OK    74875
CLYDE GOLIGHTLY                                                         103 W OBUCH ST                                                                         VALLEY VIEW      TX    76272
CLYDE H ALEXANDER TRUST                                                 PO BOX 250969                                                                          PLANO            TX    75025
CLYDE JR & NANCY MATHESON TRST                                          2208 S COUNCIL CRK                                                                     STILLWATER       OK    74074-7096
                                                                                                                      9211 Lake Hefner
Clyde Minor Jr.                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120

Clyde Minor Jr.                      c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Clyde Minor Jr.                                                         19601 SE 65th                                                                          Newalla          OK    74857
CLYDE R SHERWOOD & MARGARET                                             7334 S MEADOW CT                                                                       BOULDER          CO    80301-3951
CLYDE ROBERTS                                                           1707 N 10TH                                                                            PERRY            OK    73077
CLYDE THOMAS                                                            1624 PERKINS ST                                                                        GUTHRIE          OK    73044-5828
CLYDE TREAT                                                             336212 E 1010 RD                                                                       MEEKER           OK    74855-5506
CLYDEL CHEATHAM                                                         2115 NORTH 330 ROAD                                                                    HASKELL          OK    74436


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CM ELLIOTT TRUST UWO BETTY PEPIS                                         PO BOX 99084                                                                           FORT WORTH        TX      76199-0084
CMARK RESOURCES LLC                                                      7170 S BRADEN AVE STE 200                                                              TULSA             OK      74136-6316
CMC BUSINESS SYSTEMS INC                                                 PO BOX 60428                                                                           MIDLAND           TX      79711-0428
CMG OIL PROPERTIES LLC                                                   PO BOX 3688                                                                            TULSA             OK      74101-3688
CMO ENERGY PARTNERS II LP                                                PO BOX 4887                                                                            WICHITA FALLS     TX      76308-0887
CMO ENERGY PARTNERS II LP                                                PO BOX 4887                                                                            WICHITA FALLS     TX      76308-0887
CMO ROYALTY II LLC                                                       PO BOX 4887                                                                            WICHITA FALLS     TX      76308
CMO ROYALTY LLC                                                          PO BOX 4887                                                                            WICHITA FALLS     TX      76308
CMX INC OF KANSAS                                                        1551 N WATERFRONT PKWY STE 150                                                         WICHITA           KS      67206-6604
CNM LLC                                                                  418 NE 2ND ST                                                                          OKLAHOMA CITY     OK      73104
CNOFO LP                                                                 204 N ROBINSON SUITE 700                                                               OKLAHOMA CITY     OK      73102
CNOW PETROLEUM LLC                                                       PO BOX 1774                                                                            OLAHOMA CITY      OK      73101
CNX GAS COMPANY LLC                                                      PO BOX 643830                                                                          PITTBURGH         PA      15264-3830
COAL GAS TRANSPORTATION LLC                                              PO BOX 23539                                                                           ANCHORAGE         KY      40223-0539
COASTAL CHEMICAL CO LLC                                                  1312 INDUSTRIAL                                                                        KILGORE           TX      75662
COASTAL EXPLORATION LLC                                                  PO BOX 13127                                                                           OKLAHOMA CITY     OK      73113
COATS BRISCOE                                                            PO BOX 141                                                                             KINGFISHER        OK      73750-0141

COBALT ENERGY PARTNERS LLC                                               5706 E MOCKINGBIRD LANE SUITE 115                                                      DALLAS            TX      75206
COBANK FCB                                                               245 N WACO                                                                             WICHITA           KS      67202-1121
COBANK FCB                                                               245 N WACO ST                                                                          WICHITA           KS      67202-1121
COBB 2006 REVOCABLE TRUST                                                5706 W GARDEN POINTE DR                                                                STILLWATER        OK      74074-1006
COBB COMPANY                                                             5706 W GARDEN POINTE DR                                                                STILLWATER        OK      74074-1006
COBBLESTONE INNS & SUITES                                                1318 E US HWY 67                                                                       BOG LAKE          TX      76932
COBRA PETROLEUM COMPANY LP                                               PO BOX 8049                                                                            RANCHO SANTA FE   CA      92067
COCHRAN CHEMICAL COMPANY INC                                             1800 RAY DAVIS BLVD                                                                    SEMINOLE          OK      74868
COCHRAN INDUSTRIAL CP                                                    6206 WATERFORD BLVD #75                                                                OKLAHOMA CITY     OK      73118-1111
COCKRELL REV LIVING TRUST                                                525 W BURLESON ST                                                                      WHARTON           TX      77488-5411
CODAN SERVICES LIMITED                                                   CLARENDON HOUSE                                                                        HAMILTON          FL      99999
CODY BRADSHAW                                                            20772 Simpson Road                                                                     MADILL            OK      73446
                                                                                                                       9211 Lake Hefner
Cody Cullison                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120

Cody Cullison                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Cody Cullison                                                            7101 S. Linn Ave                                                                       Oklahoma City     OK      73159
CODY DEVEREAUX                                                           8410 E MCELROY                                                                         STILLWATER        OK      74075
CODY EXPLORATION LLC                                                     PO BOX 597                                                                             BISMARCK          ND      58502-0597
CODY FOLSOM                                                              12551 FRONTIER                                                                         PERRY             OK      73077
CODY HAWK DBA C. HAWK PUMPING                                            5426 CLARK DR                                                                          ENID              OK      73703
CODY JOE LESHER                                                          PO BOX 313                                                                             CREDCEDNT         OK      73028-0313
CODY LEACH                                                               6724 CHRIS MADSEN RD                                                                   GUTHRIE           OK      73044
CODY LEE CARDIN                                                          101 NORTH VIGINIA AVENUE                                                               MARSHALL          OK      73056-9751
CODY MAX CLIFTON                                                         1204 MUSCATO COURT                                                                     LAS VEGAS         NV      89144
                                                                                                                       9211 Lake Hefner
Cody McAlister                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Cody McAlister                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Cody McAlister                                                           1822 N. Linwood Ave                                                                    Cushing           OK      74023
CODY R WOLFE                                                             8412 SW 38TH CIRCLE                                                                    OKLAHOMA CITY     OK      73179

COFFEYVILLE RESOURCES REFINING & MA                                      10 E CAMBRIDGE CIR STE 250                                                             KANSAS CITY       KS      66103
Coffman, Samantha                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
COGENT INC                                                               PO BOX 411832                                                                          KANSAS CITY       MO      64141-1832
COIL CHEM LLC                                                            2103 E LADD RD                                                                         WASHINGTON        OK      73093-9188
COJURN LP                                                                4925 GREENVILLE AVE STE 900                                                            DALLAS            TX      75206
Colborn, Brandon                      c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
COLBY FABRIE                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
COLBY KING                                                               421 S MICHAEL AVE                                                                      MUSKOGEE          OK      74403-2350
COLBY KING AND PHALLYN D KING                                            20857 S 105TH STREET E                                                                 WEBBERS FALLS     OK      74470


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COLBY SMITH                                                                      4510 MIDDLEOAK GROVE LN                                                        KATY               TX      77494-3338
COLCORD                                                                          15 NORTH ROBINSON AVE                                                          OKLAHOMA CITY      OK      73102
COLD WATER CREEK EXP LLC                                                         PO BOX 51269                                                                   AMARILLO           TX      79159
COLE EUGENE SEARCY                                                               2102 AMY LYNN AVE C10                                                          ABILENE            TX      79603
COLE SHELTON                                                                     809 SOUTH OAK RIDGE DRIVE                                                      STILLWATER         OK      74074
Cole, Jordan                                    c/o White Star Petroleum, LLC    301 NW 63rd St                             Ste 600                             Oklahoma City      OK      73116
Coleman, Jeffrey                                c/o White Star Petroleum, LLC    301 NW 63rd St                             Ste 600                             Oklahoma City      OK      73116
COLIN L MARTIN AND TERESA MARTIN                                                 345776 E 790 RD                                                                AGRA               OK      74824-6404
COLIN LEWELLEN                                                                   1706 N. 12TH STREET                                                            PERRY              OK      73077
COLLEEN BOYLES                                                                   1231 AZALEA DR                                                                 TALLAHASSEE        FL      32301-4650
COLLEEN COATNEY                                                                  1308 CORONADO ST                                                               PONCA CITY         OK      74604-3612
COLLEEN FERGEN                                                                   7373 COLONY RD                                                                 LAMESA             CA      91941
COLLEEN FRANCES TATE                                                             3209 NW 62ND ST                                                                OKLAHOMA CITY      OK      73112
COLLEEN GIRONE                                                                   211 NW 74TH                                                                    LAWTON             OK      73505
COLLEEN HOBBS                                                                    1400 W 30TH ST                                                                 AUSTIN             TX      78703
COLLEEN KELLY                                                                    9812 JEREMY ST                                                                 SANTEE             CA      92071
COLLEEN MILSAP                                                                   2314 ARRIBA DR                                                                 GRAND JUNCTION     CO      81507
COLLEEN PARAMOURE                                                                312 GENTLE BREEZE DRIVE                                                        MINNEOLA           FL      34715
COLLEEN SHANNON                                                                  1308 CORONADO ST                                                               PONCA CITY         OK      74604
COLLEEN WALKER                                                                   2212 VANCE DR                                                                  EDMOND             OK      73013
COLLEN FILES                                                                     19581 GOLDENWOOD RD                                                            LEBANON            MO      65536-5762
COLLETTE ARIS MAUZ                                                               2150 SW IMPERIAL ST                                                            PORT SAINT LUCIE   FL      34987
Colley, Mary                                    c/o White Star Petroleum, LLC    301 NW 63rd St                             Ste 600                             Oklahoma City      OK      73116
COLLIER CHILDRENS TRUST UNDER TRUST                                              13171 STATE HIGHWAY 152                                                        BINGER             OK      73009-5141
COLLIER FARMS LLC                                                                ROUTE 2 BOX 72                                                                 TALOGA             OK      73667
COLLIER OIL & GAS SERIES LLC                                                     3220 MEADOW LN                                                                 COLLEGEVILLE       PA      19426
Collins, David                                  c/o White Star Petroleum, LLC    4615 W. Lakeview Rd                                                            Stillwater         OK      74074
COLLISION CLINIC                                                                 444 W WILSHIRE BLVD                                                            OKLAHOMA CITY      OK      73116-7706
COLLOIL INC                                                                      15220 GRAND PARKE DR                                                           EDMOND             OK      73013
COLLUM PROPERTIES LLC                                                            PO BOX 793                                                                     PERKINS            OK      74059
COLONIAL ROYALTIES                                                               PO BOX 3460                                                                    BROKEN ARROW       OK      74013-3460
COLONIAL ROYALTIES LIMITED PARTNERS                                              PO BOX 3460                                                                    BROKEN ARROW       OK      74013

COLORADO DEPT OF TREASURY UNCLAIMED                                              1580 LOGAN STREET, SUITE 500                                                   DENVER             CO      80203

COLORADO OFFICE OF UNCLAIMED PROPER                                              1580 LOGAN ST, SUITE 500                                                       DENVER             CO      80203
COLTEN CARVER                                                                    5750 SE 36TH AVE                                                               PURCELL            OK      73080
COLTER FLUMAN                                                                    71228 JEFFERSON ROAD                                                           BURLINGTON         OK      73722-4627
COLTON AVERY                                                                     2515 SULLIVAN DRIVE                                                            AUBURN             CA      95603
COLTON EXPLORATION COMPANY LLC                                                   2200 NW 56TH TERR                                                              OKLAHOMA CITY      OK      73112
COLTON PROPERTIES LLC                                                            2200 NW 56TH TERRACE                                                           OKLAHOMA CITY      OK      73112
COLUMBIA PRODUCTION COMPANY                                                      PO BOX 30608                                                                   EDMOND             OK      73003
COLUMBINE LOGGING INC                                                            602 S LIPAN ST                                                                 DENVER             CO      80223
COMANCHE EXPLORATION CO. LLC                                                     6520 N WESTERN AVE #300                                                        OKLAHOMA CITY      OK      73116
COMANCHE OIL & GAS INC                                                           9520 N MAY SUITE 301                                                           OKLAHOMA CITY      OK      73120
COMANCHE RESOURCES COMPANY                                                       6520 N WESTERN AVE STE 300                                                     OKLAHOMA CITY      OK      73116-7334
COME BIG OR STAY HOME LLC                                                        9701 BROADWAY EXT                                                              OKLAHOMA CITY      OK      73114
COMMERCIAL LAW GROUP PC                                                          5520 N FRANCIS AVE                                                             OKLAHOMA CITY      OK      73118-6040
COMMISSION OF TAXATION & FINANCE                                                 PO BOX 4127                                                                    BINGHAMTON         NY      13902-4127
Commissioner of the Land Office, State of
Oklahoma                                                                         204 N. Robinson Ave                        #900                                Oklahoma City      OK      73102
COMMISSIONERS OF THE LAND OFFICE                                                 204 N ROBINSON AVE STE 900                                                     OKLAHOMA CITY      OK      73102-6806
COMMISSIONERS OF THE LAND OFFICE                                                 PO BOX 248896                                                                  OKLAHOMA CITY      OK      73124-8896
                                                                                                                            4th Floor Riverfront
Commonwealth of Pennsylvania                    Bureau of Unclaimed Property     1101 South Front Street                    Office Center                       Harrisburg         PA      17104-2516
Commonwealth of Virginia Dept of the Treasury   Division of Unclaimed Property   PO Box 2485                                                                    Richmond           VA      23218-2478
COMMONWEALTH TRUST COMPANY                                                       29 BANCROFT MILLS RD                                                           WILMINGTON         DE      19806-2039
COMMUNICATE ONE INC                                                              PO BOX 3184                                                                    EDMOND             OK      73083-3184



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COMMUNITIES FOUNDATION OF OKLAHOMA                                             PO BOX 1130                                                                            CHICKASHA        OK      73023
COMMUNITY BANK BRISTOW OKLAHOMA                                                PO BOX 1020                                                                            BRISTOW          OK      74010
COMMUNITY RESOURCES OIL & GAS                                                  621 N ROBINSON, SUITE 100                                                              OKLAHOMA CITY    OK      73102
COMPANION HEALTH SERVICES LLC                                                  PO BOX 1095                                                                            GUTHRIE          OK      73044-1095
Compass Bank                                Attn: Kathy Bowen                  15th South 20th Street                                                                 Birmingham       AL      35233
COMPASS INSTRUMENTS LLC                                                        PO BOX 3586                                                                            HOUSTON          TX      77253
COMPLETE ENERGY SERVICES INC                                                   PO BOX 201653                                                                          DALLAS           TX      75320
COMPLETE PIPE SERVICES LLC                                                     PO BOX 1753                                                                            KILGORE          TX      75663-1753

COMPRESSCO PARTNERS OPERATING LLC.                                             PO BOX 840082                                                                          Dallas           TX      99999
COMPRESSCO PARTNERS SUB INC                                                    PO BOX 843960                                                                          DALLAS           TX      75284-3960
COMPTON AND WENDLER PC                                                         909 FANNIN ST STE 3275                                                                 HOUSTON          TX      77010-1033
COMPTON FAMILY TRUST DTD 12-13-2003                                            14442 BIRMINGHAM DR                                                                    WESTMINSTER      CA      92683
COMPTON FAMILY TRUST DTD 2-7-13                                                9217 MAPLE DR                                                                          SAINT JOHN       IN      46373
Comptroller of Maryland                     Unclaimed Property Unit            301 W Preston St, Room 310                                                             Baltimore        MD      21201-2385
COMPTROLLER OF MARYLAND                                                        PO BOX 17161                                                                           BALTIMORE        MD      21297-1161
COMPTROLLER OF PUBLIC ACCOUNTS                                                 PO BOX 149348                                                                          AUSTIN           TX      78714-9348
COMPUCOM INC                                                                   1401 W CARSON ST                                                                       PITTSBURGH       PA      15219-1029
COMSTOCK OILFIELD SUPPLY                                                       PO BOX 726                                                                             WOODWARD         OK      73802
CONARD SCHMINKE                                                                19606 E OSBORNE RD                                                                     MARSHALL         OK      73056
CONCEPT VENTURES LLC                                                           3024 BRUSHCREEK RD                                                                     OKLAHOMA CITY    OK      73120
CONCHO COLLISION                                                               1909 W BEAUREGARD AVE                                                                  SAN ANGELO       TX      76901-3919
CONCIERGE LIVE LLC                                                             931 MONROE DR NE STE 102-579                                                           ATLANTA          GA      30308-1793
CONCORDE RESOURCES GROUP                                                       PO BOX 841                                                                             EUFAULA          OK      74432
CONCORDE RESOURCES GROUP                                                       PO BOX 841                                                                             EUFAULA          OK      74432
CONDEVCO INC                                                                   PO BOX 280                                                                             RENO             OH      45773
CONEXIENT INC                                                                  PO BOX 892014                                                                          OKLAHOMA CITY    OK      73189-2014
CONFEDERATE RESOURCES LLC                                                      10293 COCONUT ROAD                                                                     BONITA SPRINGS   FL      34135
CONFERTEL                                                                      2385 CAMINO VIDA ROBLE STE 202                                                         CARLSBAD         CA      92011-1548
CONGREGATION OF BENEDICTINE                                                    2200 S LEWIS AVE                                                                       TULSA            OK      74114
CONI STOKES                                                                    339 INDIAN PAINTBRUSH DR                                                               GOLDEN           CO      80401
Connecticut Office of the State Treasurer   Unclaimed Property Unit            55 Elm Street                                                                          Hartford         CT      06106
CONNECTICUT UNCLAIMED PROPERTY DIV                                             PO Box 150435                                                                          HARTFORD         CT      06115-0435
CONNER & WINTERS LLP                                                           1700 ONE LEADERSHIP SQ                                                                 OKLAHOMA CITY    OK      73102-7136
CONNER & WINTERS LLP                                                           4000 ONE WILLIAMS CTR                                                                  TULSA            OK      74172-0148
Conner, Andrea                              c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
                                                                                                                             9211 Lake Hefner
Connie Simmons                              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                            c/o Laminack, Pirtle & Martines,
Connie Simmons                              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Connie Simmons                                                                 3921 East Ave                                                                          Oklahoma City    OK      73129
CONNIE A COUCH                                                                 1724 N DOBBS RD                                                                        HARRAH           OK      73045
CONNIE ANDERSON                                                                7304 EWING AVE                                                                         FORT WORTH       TX      76116
CONNIE BEASLEY                                                                 2415 NEVADA DR                                                                         ALAMOGORDO       NM      88310
CONNIE BERRONG                                                                 PO BOX 268                                                                             WEATHERFORD      OK      73096
CONNIE BRADFIELD                                                               PO BOX 86                                                                              SHINER           TX      77984-0086
CONNIE CLIFTON                                                                 113 ABERDEEN DR                                                                        WICHITA FALLS    TX      76302-3112
CONNIE DEE JONES                                                               1112 E HANSON                                                                          STILLWATER       OK      74075
CONNIE DEE JONES                                                               1112 EAST HANSON ST                                                                    STILLWATER       OK      74075
CONNIE DIXON                                                                   609 E MAPLE AVE                                                                        STILLWATER       OK      74074
CONNIE FARRIS                                                                  1403 MORAN DR                                                                          DALLAS           TX      74218-3155
CONNIE GACHES                                                                  2418 W. 8TH AVENUE                                                                     STILLWATER       OK      74074
CONNIE HARPER                                                                  10105 E YOST                                                                           GLENCOE          OK      74032
CONNIE HEATH                                                                   21 WILLOWCREEK RANCH ROAD                                                              TOMBALL          TX      77377
CONNIE HICKMAN                                                                 321 SOUTH STREET                                                                       WEST DUNDEE      IL      60118
CONNIE HIDDLESTON                                                              410 E 14TH ST                                                                          CHANDLER         OK      74834-4416
CONNIE HOLLADAY                                                                1107 TODD TRAIL                                                                        ABILENE          TX      79602-6317
CONNIE HUDDLESTON                                                              7317 PEPPER RIDGE ROAD                                                                 CORPUS CHRISTI   TX      78413


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CONNIE HUES                                                              1113 WESTMINISTER LANE                                                                  YUKON            OK    73099
                                                                                                                       9211 Lake Hefner
Connie J. Matthews                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120

Connie J. Matthews                    c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Connie J. Matthews                                                       4755 SE 29th St                                                                         Del City         OK    73115
CONNIE JO COLLINS                                                        1302 PARKWAY ST                                                                         ENID             OK    73703-7039
CONNIE JOHNSON                                                           132 E 34TH ST                                                                           TULSA            OK    74105
CONNIE KILGO                                                             3969 104TH AVENUE N UNIT II                                                             CLEARWATER       FL    33762
CONNIE KINSLOW                                                           PO BOX 892288                                                                           OKLAHOMA CITY    OK    73189
CONNIE KROHN                                                             15998 ELDER ST                                                                          PRINCETON        MO    64673
CONNIE LUCILLE HOLBIRD                                                   909 E MAPLE ST                                                                          CALDWELL         ID    83605-5381
                                                                                                                       9211 Lake Hefner
Connie M. Moore                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Connie M. Moore                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Connie M. Moore                                                          517 N Violet Ave                                                                        Cushing          OK    74023
CONNIE MABERRY                                                           10420 CR 175                                                                            DAWN             MO    64638-7126
CONNIE MARIE INGERSON                                                    1235 SHORTRIDGE ST SE                                                                   ALBANY           OR    97322-6934
CONNIE MARIE LANDRUM                                                     9806 N 98TH E CT                                                                        OWASSO           OK    74055
CONNIE MCBRIDE                                                           2805 NW 45TH ST                                                                         OKLAHOMA CITY    OK    73112
CONNIE MCDONALD                                                          19520 E SUMMER RD                                                                       MARSHALL         OK    73056
CONNIE MCKELVEY                                                          1099 EAST E ST                                                                          OAKDALE          CA    95361
CONNIE MEFFORD                                                           353 ARTEMESIA AVENUE                                                                    VENTURA          CA    93001
Connie Moore                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX    75070
Connie Moore                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK    74104
Connie Moore                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY    10017
Connie Moore                                                             517 N. Violet Ave.                                                                      Cushing          OK    74023
CONNIE MUNN                                                              3508 WESTCHESTER AVE                                                                    BAKERSFIELD      CA    93309-5164
CONNIE NORMAN                                                            131 N BUGGY WHEEL CT                                                                    PAYSON           AZ    85541
CONNIE NORRIE                                                            740523 S 3370 RD                                                                        PERKINS          OK    74059
CONNIE PARKER                                                            1726 N MEADOWBROOK DR                                                                   ENID             OK    73701
CONNIE PELTON                                                            707 OSAGE ST                                                                            ARDMORE          OK    73401
CONNIE PIERCE                                                            1814 SIEFKIN ST                                                                         WICHITA          KS    67208-1757
CONNIE POINDEXTER                                                        1820 MICHAEL CT                                                                         ARLINGTON        TX    76010
CONNIE REECE TRUSTEE OF THE                                              5004 S E 58TH PLACE                                                                     OKLAHOMA CITY    OK    73135-4415
CONNIE ROBINSON                                                          2708 KEATS PL                                                                           OKLAHOMA CITY    OK    73120-2809
CONNIE ROSIERE                                                           21700 N HEIDI DR                                                                        EDMOND           OK    73012
CONNIE ROWE                                                              1706 S 168TH WEST AVE APT W                                                             SAND SPRINGS     OK    74063-5259

CONNIE S JONES                                                           5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX    75070
CONNIE S OXFORD                                                          20713 E SKELETON RD                                                                     COVINGTON        OK    73730
CONNIE S REDGATE                                                         PO BOX 197                                                                              WAYNOKA          OK    73860-0197
CONNIE S. MACE                                                           2601 PERSIMMON CREEK DRIVE                                                              EDMOND           OK    73013
CONNIE SELLARS                                                           10105 W DESERT ROCK DR                                                                  SUN CITY         AZ    85351
CONNIE STUM                                                              8331 GREEN PASTURE                                                                      GUTHRIE          OK    73044-7371
CONNIE TARRANT                                                           1830 N 2780 RD                                                                          HENNESSEY        OK    73742
CONNIE TILLERY                                                           611 N BEARD                                                                             ADA              OK    74820
CONNIE TONSGARD                                                          2685 CHANNEL DR                                                                         JUNEAU           AK    99861
CONNIE TRIPLETT BARNES                                                   703 RURAL ST                                                                            TRENTON          MO    64638
CONNIE TRIPLETT MIZE REV TR                                              PO BOX 124                                                                              GUTHRIE          OK    73044
CONNIE WARREN                                                            613 S WILLIS ST                                                                         STILLWATER       OK    74074
CONNIE WYCKOFF                                                           4047 E HIDE TRL                                                                         PHOENIX          AZ    85050-8968
CONOCOPHILLIPS COMPANY                                                   16930 PARK ROW DR                                                                       HOUSTON          TX    77084
CONRAD GOETZ                                                             RURAL ROUTE 1                                                                           BLUFFTON         AB    T0C 0M0      CANADA
CONRAD HOY & DARRIEL N LEE                                               PO BOX 2305                                                                             SALEM            OR    97308-2305

CONSOLIDATED AMERICAN RESOURCES LLC                                      PO BOX 1557                                                                             OKLAHOMA CITY    OK    73101-1557
CONSOLIDATED LIMITED PARTNERSHIP                                         PO BOX 491                                                                              PAWNEE           OK    74058


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CONSOLIDATED OILFIELD RENTALS                                         PO BOX 653                                                                             CLINTON         OK       73601-0653
CONSOLIDATED RESOURCES CO LLC                                         PO BOX 70                                                                              FAIRVIEW        OK       73737-0070
CONSTANCE BUCKNER                                                     W7156 KELLER ROAD                                                                      MONROE          WI       53566
CONSTANCE BURCH                                                       3015 STRATFORD AVE                                                                     REDDING         CA       96001
CONSTANCE COHN                                                        2727 ALLEN PKWY STE 1850                                                               HOUSTON         TX       77019-2153
CONSTANCE DUNAGAN                                                     783 SE 105 RD                                                                          WILBURTON       OK       74578-5520
CONSTANCE ELLIS                                                       1322 RIPON AVE                                                                         LEWISTON        ID       83501

CONSTANCE G WILLIAMSON                                                5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX       75070
CONSTANCE IRENE CHAMBERS                                              9524 E 71ST ST APT 144                                                                 TULSA           OK       74133
CONSTANCE L HALE                                                      1201 N HIGHWAY K7                                                                      ATCHISON        KS       66002-1344
CONSTANCE SEAY                                                        2129 E 23RD ST                                                                         TULSA           OK       74114-2905
CONSUL PROPERTIES LLC                                                 2800 W COUNTRY CLUB DRIVE                                                              OKLAHOMA CITY   OK       73116
CONTEK SOLUTIONS LLC                                                  6221 CHAPEL HILL BLVD                                                                  PLANO           TX       75093-6392
CONTEK SOLUTIONS LLC                                                  6221 CHAPEL HILL BLVD STE 300                                                          PLANO           TX       75093-6392
CONTEMPORARY CABINETS INC                                             PO BOX 5694                                                                            EDMOND          OK       73083-5694
CONTINENTAL BATTERY COMPANY                                           4919 WOODALL ST                                                                        DALLAS          TX       75247-6710
CONTINENTAL DEVELOPMENT                                               PO BOX 1000                                                                            GORE            OK       74435
CONTINENTAL DISC CORPORATION                                          PO BOX 956897                                                                          ST LOUIS        MO       63195-6897
CONTINENTAL EXPLORATION LLC                                           1415 NORTH LOOP W STE 1250                                                             HOUSTON         TX       77008-2292
CONTINENTAL IMAGING PRODUCTS                                          940A - 11th AVE SW                                                                     CALGARY         AB       T2R 0E7      CANADA
CONTINENTAL PIPE LINE COMPANY                                         PO BOX 2197                                                                            HOUSTON         TX       77252
CONTINENTAL RESOURCES INC                                             PO BOX 952724                                                                          ST. LOUIS       MO       63195-2724
CONTINENTAL RESOURCES INC                                             PO BOX 268835                                                                          OKLAHOMA CITY   OK       73126-8835
CONTINENTAL WIRE CLOTH LLC                                            11240 S JAMES AVE                                                                      JENKS           OK       74037-1722

CONVERSE COUNTY BANK AS THE SOLE TR                                   PO BOX 689                                                                             DOUGLAS         WY       82633
COOK OIL & GAS PROPERTIES LLC                                         10811 FRONTIER                                                                         PERRY           OK       73077
Cook, Matthew                         c/o White Star Petroleum, LLC   301 NW 63rd St                                Ste 600                                  Oklahoma City   OK       73116
Cook, Ryan                            c/o White Star Petroleum, LLC   301 NW 63rd St                                Ste 600                                  Oklahoma City   OK       73116
COOKSON HILLS CHRISTIAN MINISTRIES                                    RE3 BOX 200 HWY 10 SOUTH                                                               KANSAS          OK       74347
COOLEY FAMILY TRUST DATED 11-12-91                                    5381 AVENIDA SOSIEGA UNIT B                                                            LAGUNA WOODS    CA       92637-7342
COONS RUN PSD                                                         ROUTE 2 BOX 322                                                                        SHINNSTON       WV       26431
COOPER ENERGY LLC                                                     497 HARMONY LN                                                                         ALEXANDRIA      KY       41001
COOPER JONES                                                          604 E MINNIE                                                                           DAVIS           OK       73030
COPAS - OKC                                                           PO BOX 144                                                                             OKLAHOMA CITY   OK       73101
COPAS ENERGY EDUCATION                                                445 UNION BLVD SUITE 207                                                               LAKEWOOD        CO       80228
COPELAND SERVICES INC.                                                PO BOX 184                                                                             Hennessey       OK       73742
COPPER HILL DEVELOPMENT INC                                           92 WEBSTER AVE                                                                         MANHASSET       NY       11030
COPPERHEAD RESOURCES LLC                                              PO BOX 8355                                                                            MIDLAND         TX       79708-8355
                                                                                                                    9211 Lake Hefner
Cora Dixon                            c/o Atkins & Markoff            Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120

Cora Dixon                            c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                   5020 Montrose Blvd   9th Fl              Houston         TX       77006
Cora Dixon                                                               3712 NW 58th Terr                                                                   Oklahoma City   OK       73112
CORA MALONE                                                              3260 GARRETSON CR                                                                   CORONA          CA       92881
CORA MARIE ROBINSON REVOC TR                                             2071 PARASOL DR                                                                     CHESTERFIELD    MO       63017-7417
CORA SMITH                                                               4100 MOCKINGBIRD LN                                                                 GUTHRIE         OK       73044
CORBIN FRANK                                                             3125 SPYGLASS HILL ROAD                                                             EDMOND          OK       73034
CORBYN HAMPTON PLLC                                                      211 N ROBINSON AVE STE 1910                                                         OKLAHOMA CITY   OK       73102-9700
CORBYN LAW FIRM, PLLC                                                    211 N ROBINSON AVENUE, STE 1910                                                     OKLAHOMA CITY   OK       73102
CORDA CORPORATION                                                        500 NORTH AKARD ST #3540                                                            DALLAS          TX       75201
CORDARO HOLDINGS LLC                                                     1315 STATE ROUTE 435                                                                MOSCOW          PA       18444
CORDES GIGER                                                             305 DAVID LN                                                                        MUSKOGEE        OK       74403
CORDES GIGER                                                             305 N DAVID LN                                                                      MUSKOGEE        OK       74403-5074
CORE LABORATORIES LP                                                     PO BOX 841787                                                                       DALLAS          TX       75284-1787
CORELOGIC SPATIAL SOLUTIONS           ATTN: SS                                                                                                               DALLAS          TX       75320-2351
                                                                                                                    9211 Lake Hefner
Corene Scruggs                        c/o Atkins & Markoff            Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120


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Corene Scruggs                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Corene Scruggs                                                           6108 SE 10th St                                                                         Oklahoma City    OK      73110
COREY POTTER                                                             22701 CR 200                                                                            PERRY            OK      73077
COREY WATSON                                                             3523 SOUTH MONTE VERDE DR                                                               SALT LAKE CITY   UT      84109
CORINNE ANN HODGES                                                       28 W I STREET                                                                           BRUNSWICK        MD      21716
CORINNE KERFOOT                                                          2662 MOON MOUNTAIN DRIVE                                                                EUGENE           OR      97403
CORISA EDGAR                                                             PO BOX 303                                                                              PERRY            OK      73077
CORKIE JEFFRIES                                                          830505 S 3390 RD                                                                        CARNEY           OK      74832
                                                                                                                       9211 Lake Hefner
Corlis McLeod                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120

Corlis McLeod                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Corlis McLeod                                                            2801 NW 25th St                                                                         Oklahoma City    OK      73107
CORLYSS DELASHAW                                                         PO BOX 236                                                                              MARIETTA         OK      73448
CORNELIA SUENRAM                                                         7612 NW 37TH ST                                                                         BETHANY          OK      73008
CORNERSTONE BUILDERS LLC                                                 1001 NORTH SKYLINE STREET                                                               STILLWATER       OK      74075
CORNERSTONE OILFIELD GROUP LLC                                           PO BOX 2467                                                                             ELK CITY         OK      73648
COROMANDEL ENERGY LLC                                                    11700 PRESTON RD STE 660                                                                DALLAS           TX      75230-2739
CORONADO PETROLEUM CORPORATION                                           105 N HUDSON AVE STE 800                                                                OKLAHOMA CITY    OK      73102-4803
CORONADO RESOURCES 2013 LP                                               3811 TURTLE CREEK BLVD STE 1800                                                         DALLAS           TX      75219-4479
CORONADO RESOURCES LP                                                    3811 TURTLE CREEK BLVD #1800                                                            DALLAS           TX      75219
CORPORATE ACCOMODATIONS LLC                                              PO BOX 18281                                                                            OKLAHOMA CITY    OK      73154
CORPORATE COFFEE SYSTEMS LLC                                             745 SUMMA AVE                                                                           WESTBURY         NY      11590-5010
CORPORATE TAX MANAGEMENT INC                                             12720 HILLCREST RD STE 1010                                                             DALLAS           TX      75230-2058
CORPORATION SERVICE COMPANY                                              PO BOX 13397                                                                            PHILIDELPHIA     PA      19101-3397
CORPRO INC                                                               14103 INTERDRIVE WEST                                                                   HOUSTON          TX      77032
CORRAL MACHINE SHOP LLC                                                  PO BOX 854                                                                              HENNESSEY        OK      73742-0854
CORRIGAN LIVING TRUST                                                    226 HADWIGER LANE                                                                       EDMOND           OK      73034
CORRINE NACE                                                             2105 OAKLAWN LN                                                                         GERMANTOWN       TN      38139-3526
CORRINE SCHEIHING                                                        10839 N HWY 77                                                                          MULHALL          OK      73063
CORROSOURCE LLC                                                          133 24TH AVE NW STE 145                                                                 NORMAN           OK      73069-6320
CORRY WOOLINGTON                                                         1920 S CLEVELAND                                                                        ENID             OK      73703
CORTEZ OIL COMPANY                                                       2305 EAST ARAPAHOE ROAD STE 151                                                         CENTENNIAL       CO      80122
CORWEN ENERGY LLC                                                        PO BOX 1748                                                                             BETHANY          OK      73008
                                                                                                                       9211 Lake Hefner
Cory B. McSpadden                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Cory B. McSpadden                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Cory B. McSpadden                                                        103486 S. 3410 Rd                                                                       Meeker           OK      74855
CORY CHARLSTON                                                           500 S 336TH ST STE 111                                                                  FEDERAL WAY      WA      98003
CORY CRADDOCK                                                            11727 S 91ST EAST AVE                                                                   BIXBY            OK      74008-1815
CORY EDMONDSON                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater       OK      74074
CORY JAMES BEAGLES                                                       4115 MICHAEL RD                                                                         EDMOND           OK      73025
CORY LAMBERT                                                             207 SOUTH DOTY STREET                                                                   STILLWATER       OK      74074
CORY PETTIT                                                              3319 BRYN MAWR                                                                          DALLAS           TX      75225
CORY RINK                                                                19702 E WOOD RD                                                                         COVINGTON        OK      73730
COSSET ENTERPRISE INC                                                    PO BOX 270846                                                                           OKLAHOMA CITY    OK      73137
Cossette Armstrong                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Cossette Armstrong                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Cossette Armstrong                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Cossette Armstrong                                                       213 Timbercrest Ct                                                                      Stillwater       OK      74075
COSTNER FAMILY TRUST                                                     4614 S COYLE RD                                                                         STILLWATER       OK      74074-2172
COT LLC                                                                  8809 LAKEHURST DR                                                                       OKLAHOMA CITY    OK      73120-4341
COTTON BLEDSOE TIGHE & DAWSON PC                                         PO BOX 2776                                                                             MIDLAND          TX      79702-2776
COUGAR DRILLING SOLUTIONS                                                9505 W RENO AVE                                                                         OKALHOMA CITY    OK      73127-2917
COULSON MINERALS LLC                                                     2124 GRAHAM AVE                                                                         OKLAHOMA CITY    OK      73127

COUNCIL OF PETROLEUM ACCOUNTANTS SO                                      445 UNION BLVD STE 207                                                                  LAKEWOOD         CO      80228-1241


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COUNTRYSIDE LAND SERVICES LLC                                         55650 BEL HAVEN                                                       BELLAIRE         OH      43906
COUNTY RECORDS, INC                                                   PO BOX 1140                                                           OWASSO           OK      74055
COURTIA J WORTH LIVING TRUST                                          PO BOX 300                                                            TILLSON          NY      12486
COURTIA WORTH                                                         PO BOX 300                                                            TILLSON          NY      12486-0300
COURTNEY JUDGE-WHETSTINE                                              5801 E 22ND ST                                                        WICHITA          KS      67220
COURTNEY MCWALTERS TRUST                                              PO BOX 1588                                                           TULSA            OK      74101-1588
Cousins, Kristen                      c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                         Oklahoma City    OK      73116
COVE PETROLEUM CP                                                     PO BOX 226270                                                         DALLAS           TX      75222-6270
COVENANT TITLE ANALYSTS LLC                                           201 HOLLOWDALE CIR                                                    EDMOND           OK      73003
COW DOC CATTLE CO LLC                                                 3404 LIVE OAK LN                                                      STILLWATER       OK      74075
COWAN & FLEISCHER                                                     11032 QUAIL CREEK RD STE 209                                          OKLAHOMA CITY    OK      73120
COWBOY BERRY MINERALS LLC                                             PO BOX 351                                                            STILLWATER       OK      74076-0351
COWBOY KENNY INC                                                      228 S MAIN ST                                                         STILLWATER       OK      74074-3520
COWBOY OIL & GAS LLC                                                  1901 N AKARD ST                                                       DALLAS           TX      75201-2305

COWBOY PUMPING UNIT SALES & REPAIRS                                   PO BOX 698                                                            HENNESSEY        OK      73742
                                      CARE OF LEARFIELD
COWBOY SPORTS PROPERTIES LLC          COMMUNICATIONS INC                                                                                    KANSAS CITY      MO      64184-3038
COWBOYS AND INDIANS LLC                                               PO BOX 6115                                                           EDMOND           OK      73083-6115
COWBOYS STADIUM LP                                                    PO BOX 840015                                                         DALLAS           TX      75284-0015
COWDEN INVESTMENTS                                                    3601 TURTLE CREEK BLVD #1006                                          DALLAS           TX      75219
COWPOKE ENERGY LLC                                                    5600 W LOVERS LN                                                      DALLAS           TX      75209-4330
COX COMMUNICATIONS INC                                                PO BOX 248851                                                         OKLAHOMA CITY    OK      73124-8851
Cox Communications Inc                                                6301 Waterford Blvd                                                   Oklahoma City    OK      73118
COY BERENDS                                                           RR 1 BOX 235                                                          GATE             OK      73844
COY HARMON                                                            23200 CO ROAD 40                                                      PERRY            OK      73077
COYLE CHRISTIAN CHURCH                                                200 W MAIN STREET                                                     COYLE            OK      73027
COYOTE LAND LLC                                                       27 WILDHORSE                                                          SANTE FE         NM      87506
CPI OFFICE PRODUCTS                                                   PO Box 292130                                                         LEWISVILLE       TX      75029-2130
CRAIG A MUSICK                                                        29620 N 152ND WAY                                                     SCOTTSDALE       AZ      85262
CRAIG A. SLAWSON REV TR                                               1350 17H STREET SUITE 150                                             DENVER           CO      80202
                                                                                                                                                                                  NEW
CRAIG ABEL                                                            PO BOX 25608                                                                                   1740         ZEALAND
CRAIG ALLEN                                                           1000 S DENVERAPT 5303                                                 TULSA            OK      74119
CRAIG AND PATRICIA PIWENITZKY                                         2211 EAST WILL ROGERS DRIVE                                           STILLWATER       OK      74075
CRAIG ANDREWS                                                         14202 BLUEBONNET BLVD                                                 CYPRESS          TX      77429
CRAIG BLAIR                                                           2423 NE HYDE ST                                                       HILLSBORO        OR      97124-6223
CRAIG BOYD                                                            PO BOX 151                                                            MULHALL          OK      76063
CRAIG BRIAN WOLFF                                                     3800 N HORSESHOE DR                                                   GUTHRIE          OK      73044
CRAIG BUSEY SMITH                                                     11 COCHRAN OAKS LN                                                    DALLAS           TX      75220
CRAIG CASSIDAY BEEBY                                                  1017 W BROOKE HOLLOW CT                                               STILLWATER       OK      74075-2162
CRAIG COOK                                                            10778 FLORDIA BLVD                                                    WALKER           LA      70785
Craig Elder Oil and Gas LLC           c/o Mahaffey & Gore, P.C.       Attn: Richard J Gore                  300 NE 1st St                   Oklahoma City    OK      73104
Craig Elder Oil and Gas LLC                                           1004 NW 139th St Pkwy                                                 Edmond           OK      73013
CRAIG EYSTER                                                          14333 N PENNSYLVANIA AVE B                                            OKLAHOMA CITY    OK      73134
CRAIG F HARM                                                          PO BOX 270334                                                         FLOWER MOUND     TX      75027
CRAIG G TIREY FAMILY LP                                               PO BOX 20093                                                          OKLAHOMA CITY    OK      73156

CRAIG G ZASTERA                                                       5900 SOUTH LAKE FOREST DR STE 300                                     MCKINNEY         TX      75070
CRAIG GROSS                                                           3201 OAK HOLLOW RD                                                    OKLAHOMA CITY    OK      73120
CRAIG JEFFRIES                                                        9728 BIG VIEW DR                                                      AUSTIN           TX      78730
CRAIG LEE SMITH SPECIAL NEEDS TRUST                                   440 MAIN STREET                                                       NEWCASTLE        CA      95658
CRAIG MACINTYRE                                                       18506 13TH ST                                                         SHAWNEE          OK      74801-8680
CRAIG MOREY                                                           6402 LANSDOWNE CT                                                     GRANBURY         TX      76049
CRAIG RANCHES INC                                                     215 N ELM                                                             OKEENE           OK      73763
CRAIG ROYALTY TRUST CO LLC                                            PO BOX 830                                                            OKEENE           OK      73763
CRAIG SCOTT                                                           424 S MAIN ST                                                         BOERNE           TX      78006
CRAIG SMITH                                                           2717 ROSEDALE AVE                                                     DALLAS           TX      75205-1528
CRAIG WINTERS AND SHELLEY D WINTERS                                   6022 S HACKELMAN RD                                                   STILLWATER       OK      74074


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Craig, Joseph                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
CRAIN MINERALS LLC                                                       1706 COVENTRY LANE                                                                     OKLAHOMA CITY    OK      73120
CRANE FAMILY TRUST                                                       PO BOX 97095                                                                           PHOENIX          AZ      85018
CRAVEN FAMILY REV TRUST AGREEMENT                                        280 REESER RD                                                                          CAMP HILL        PA      17011
CRAWLEY PETROLEUM CP                                                     105 N HUDSON AVE STE 800                                                               OKLAHOMA CITY    OK      73102-4803
CREAGER MINERALS LTD.                                                    PO BOX 2369                                                                            BELLAIRE         TX      77402-2369
CREDIT SUISSE SECURITIES (USA) LLC                                       PO BOX 223766                                                                          PITTSBURGH       PA      15251-2766
CREEDE OIL & GAS COMPANY                                                 PO BOX 32120                                                                           SANTA FE         NM      87594-2120
CREEDE ROYALTY PARTNERS                                                  PO BOX 25313                                                                           DALLAS           TX      75225-0705
CREEK COUNTY CLERK                                                       317 E LEE STE 100                                                                      SAPULPA          OK      74066
CRENSHAW FAMILY REVOCABLE LIVING                                         3790 OAK HILL DR                                                                       YORBA LINDA      CA      92886
CRESCENT CEMETERY ASSOC                                                  PO BOX 21                                                                              CRESCENT         OK      73028
CRESCENT CONSULTING LLC                                                  13212 N MACARTHUR BLVD                                                                 OKLAHOMA CITY    OK      73142
CRESCENT PIPE & SUPPLY, INC                                              PO BOX 686                                                                             CRESCENT         OK      73028
CRESCENT SERVICES LLC                                                    PO BOX 203997                                                                          DALLAS           TX      75320-3997
CRESCENT TRANSPORT COMPANY INC                                           PO BOX 463                                                                             CRESCENT         OK      73028-0463
CRESTWOOD ENERGY LLC                                                     820 W DANFORTH RD SUITE B25                                                            EDMOND           OK      73003
CRINE O&G LLC                                                            6010 HANN AVE NW                                                                       CANAL FULTON     OH      44614
CRINER LAND SERVICES LLC                                                 3120 NW 22ND ST                                                                        OKLAHOMA CITY    OK      73107
CRIPPLE CREEK ENERGY LLC                                                 PO BOX 18756                                                                           OKLAHOMA CITY    OK      73154-0756
CRISS MCGINTY                                                            PO BOX 111                                                                             GLENCOE          OK      74032
CRISS MCGINTY                                                            PO BOX 132                                                                             GLENCOE          OK      74032
CRISS MCGINTY LE                                                         PO BOX 132                                                                             GLENCOE          OK      74032
                                                                                                                       9211 Lake Hefner
Crissy Kralik                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Crissy Kralik                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Crissy Kralik                                                            3501 Cooper Hill Dr                                                                    Guthrie          OK      73034
CRISTA MCCANN                                                            4115 S HENDERSON ST                                                                    STILLWATER       OK      74074-7211
CRISTIE GERMAN                                                           2102 WEST 24TH STREET                                                                  STILLWATER       OK      74074
CRISTIE PENN                                                             1708 SHERBURNE DR                                                                      KELLER           TX      76262
CRISTY ELLIS                                                             522 HAMMERS RD                                                                         ARDMORE          OK      73401
CRISTY GONDERMAN                                                         415 N MANLEY RD                                                                        RIPON            CA      95366
CRIXUS HOLDINGS LLC                                                      1 ALLIED DRIVE STE 1110                                                                LITTLE ROCK      AR      72202-2070
CRIXUS HOLDINGS LLC                                                      6020 RANCH DRIVE SUITE C-4                                                             LITTLE ROCK      AR      72223
CRM ENERGY INC                                                           PO BOX 1148                                                                            OKLAHOMA CITY    OK      73101
CROCKETT ROYALTY LLC                                                     PO BOX 701377                                                                          TULSA            OK      74170-1377
CROSS LAKE LLC                                                           9509 LARIMORE LANE                                                                     OKLAHOMA CITY    OK      73151
CROSS TIMBERS LAND MANAGEMENT LLC                                        PO BOX 491                                                                             PAWNEE           OK      74058-0491
CROSSFIRST ENERGY LLC                                                    8820 BATTLE CREEK RD                                                                   SKIATOOK         OK      74070
CROSSTEX ENERGY SERVICES LP                                              PO BOX 202941                                                                          DALLAS           TX      75320-2941
CROSSTIMBERS HOTSHOT SERVICES LLC                                        PO BOX 207120                                                                          DALLAS           TX      75320-7120
CROW CREEK OPERATING CO III LLC                                          320 S BOSTON AVE STE 1000                                                              TULSA            OK      74103-3703
CROW FAMILY LLC                                                          6320 HARDEN DR                                                                         OKLAHOMA CITY    OK      73118
CROW PROPERTIES LC                                                       PO BOX 18403                                                                           OKLAHOMA CITY    OK      73154
CROWE & DUNLEVY                                                          BRANIFF BUILDING                                                                       OKLAHOMA CITY    OK      73102-6417
CROWFLY LLC                                                              406 S DUNCAN ST STE 1                                                                  STILLWATER       OK      74074-3281
CROWHILL ENERGY LLC                                                      PO BOX 31018                                                                           EDMOND           OK      73003-0017
                                      c/o Elias Books Brown & Nelson                                                                       Ste. 1300, Two
Crown Energy Company                  PC                                 Attn: L. Vance Brown                          211 N Robinson Ave. Leadership Square    Oklahoma City    OK      73102
Crown Energy Company                                                     1117 NW 24th St                                                                        Oklahoma City    OK      73106
CROWN ENERGY RESOURCES LLC                                               1117 NW 24TH ST                                                                        OKLAHOMA CITY    OK      73106
CROWN TRADING COMPANY                                                    13204 N MACARTHUR BLVD                                                                 OKLAHOMA CITY    OK      73142-3019
Croy, Jarod                           c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK      74074
CRS MINERALS LLC                                                         4730 WEST PARK VIEW LN                                                                 GLENDALE         AZ      85310-3023

CRUGER SMITH RAGLAND JR DESCENDANTS                                      PO BOX 815                                                                             KILMARNOCK       VA      22482
CRUMM FAMILY TR                                                          1903 LAKEVIEW                                                                          PERRY            OK      73077
CRUSADER RESOURCES INC                                                   11081 N 1840 RD                                                                        SAYRE            OK      73662


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CRUTCHMER & BARNES PLLC                                                  1648 S BOSTON AVE STE 100                                                               TULSA             OK       74119-4434
CRYSTAL DAVES                                                            27845 HIGHWAY 491                                                                       PLEASANT VIEW     CO       81331
CRYSTAL DELANEY                                                          4182 CR 2000                                                                            COFFEYVILLE       KS       67337
CRYSTAL LADAWN HOLLEY                                                    5 DENNIS BOULEVARD                                                                      SHAWNEE           OK       74804
CRYSTAL MILLER                                                           1702 S WASHINGTON ST                                                                    WICHITA           KS       67211
CRYSTAL MUEGGENBORG                                                      809 S LEWIS #845                                                                        STILLWATER        OK       74076
CRYSTAL POUR                                                             5813 E 19TH AVE                                                                         STILLWATER        OK       74074
CRYSTAL SAGE                                                             15809 BRENTON HILLS AVE                                                                 EDMOND            OK       73013-1016
CRYSTAL THOMSEN                                                          PO BOX 100483                                                                           CAPE CORAL        NV       33910-0483
CS INVESTMENTS                                                           PO Box 2640                                                                             MIDLAND           TX       79702
CSE ICON INC                                                             100 CENTRAL ST STE 100                                                                  LAFAYETTE         LA       70501-6887
CSI COMPRESSCO LP                                                        PO BOX 840082                                                                           DALLAS            TX       75284-0082
CSI INSPECTIONS LLC                                                      PO BOX 62600                                                                            NEW ORLEANS       LA       70162-2600
CSI MEASUREMENT LLC                                                      3730 CACTUS FLATS                                                                       ENID              OK       73703
CSW MASTER LIMITED PARTNERSHIP                                           PO BOX 23087                                                                            OKLAHOMA CITY     OK       73123
CT CORPORATION SYSTEM                                                    PO BOX 4349                                                                             CAROL STREAM      IL       60197-4349
CTAG ROYALTY LP                                                          16400 DALLAS PARKWAY STE 100                                                            DALLAS            TX       75248
Cubias, Edgardo                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City     OK       73116
CUDD PRESSURE CONTROL INC                                                PO BOX 203379                                                                           DALLAS            TX       75320-3379
CUDD PUMPING SERVICES INC                                                PO BOX 203379                                                                           DALLAS            TX       75320-3379
CULBERTSON FAMILY REV TR AGMT DTD 1                                      1715 W HOLLOW ST                                                                        MCHENRY           IL       60051
CULLINS RESOURCES INC                                                    4422 CYPRESS CREEK PKWY                                                                 HOUSTON           TX       77068
CULLY STAFFORD                                                           309 SOUTH B ST                                                                          YALE              OK       74085
CULROY PA                                                                PO BOX 7666                                                                             TYLER             TX       75711
CUMMINGS OIL COMPANY                                                     5400 N GRAND BLVD STE 100                                                               OKLAHOMA CITY     OK       73112-5654
Cummings, Alexandra                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City     OK       73116
CUNDIFF ENTERPRISES LLC                                                  11906 S COUNTRY CLUB RD                                                                 PERKINS           OK       74059-4199
Cunningham, Andrew                    c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City     OK       73116
Curmon Kelley                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX       75070
Curmon Kelley                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK       74104
Curmon Kelley                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY       10017
Curmon Kelley                                                            1420 W Young St                                                                         Tulsa             OK       74127
CURRIN BRADLEY                                                           93 SUMMIT WAY                                                                           BAILEY            CO       80421
Curt Emerson                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX       75070
Curt Emerson                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK       74104
Curt Emerson                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY       10017
Curt Emerson                                                             301 E Lone Chimney Rd                                                                   Glencoe           OK       74032
CURT MOREY                                                               2345 EASTRIDGE LOOP                                                                     CHULA VISTA       CA       91915
CURTIS ACTON                                                             PO BOX 94                                                                               MINNEOLA          KS       67865
CURTIS ALAN BOURAY                                                       900 ELDER AVENUE                                                                        SAND SPRINGS      OK       74063
CURTIS BOLES                                                             6850 E COUNTY ROAD 75                                                                   GUTHRIE           OK       73044-9797
CURTIS BOWIE                                                             713 PECAN GROVE CIRCLE                                                                  GREENWOOD         MS       38930
                                                                                                                       9211 Lake Hefner
Curtis E. Gray                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Curtis E. Gray                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
Curtis E. Gray                                                           437 S 70th East Ave                                                                     Tulsa             OK       74112
                                                                                                                       9211 Lake Hefner
Curtis Edwards                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120

Curtis Edwards                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
Curtis Edwards                                                           12012 Camelot Dr                                                                        Oklahoma City     OK       73120
CURTIS FISHER                                                            104 PHILLIPS ST                                                                         NORTH KINGSTOWN   RI       02852-5128
CURTIS G & PATRICIA A WARD CO-TRUST                                      3604 S HUSBAND ST                                                                       STILLWATER        OK       74074-7540
CURTIS HERRMANN                                                          810492 S HIGHWAY 18                                                                     AGRA              OK       74824
Curtis Ingmire                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX       75070
Curtis Ingmire                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK       74104
Curtis Ingmire                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY       10017
Curtis Ingmire                                                           262 North McCord Rd                                                                     Ponca City        OK       74604


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CURTIS J & DANE C & TODD T WINTERS                                     7600 S 90TH STREET                                                                     FAIRMONT         OK      73736
CURTIS L HORRALL REV TR                                                324 W BROADWAY                                                                         ENID             OK      73701
CURTIS L PERRYMAN TRUST                                                2839 CURTIS DR                                                                         TYLER            TX      75701-8110
CURTIS LAUNER                                                          75 STIRRUP LN                                                                          SYOSSET          NY      11791-4431
CURTIS MCELROY                                                         9109 FORD DR                                                                           RIPLEY           OK      74062
CURTIS N LAUNER                                                        75 STIRRUP LN                                                                          SYOSSET          NY      11791-4431
CURTIS PANCOAST                                                        20150 SUMNER DR                                                                        PERRY            OK      73077
CURTIS SHIPLEY                                                         PO BOX 103                                                                             MARSHALL         OK      73056
CURTIS TAYLOR                                                          519 NORTH MISSOURI AVENUE                                                              MARSHALL         OK      73056-9774
CURTIS WALKER                                                          PO BOX 5                                                                               BUTLER           OK      73625-0005
CURTIS WINNEY ND                                                       PO Box 801                                                                             FORKS            WA      98331-0801
CURZON MANAGEMENT LLC                                                  1116 WILTSHIRE AVENUE                                                                  SAN ANTONIO      TX      78209
CUSCO ENERGIES INC                                                     BOX 580                                                                                THOMAS           OK      73669
CUSHING FIRE DEPARTMENT                                                211 W. MAIN                                                                            CUSHING          OK      74023
CUSTER COUNTY CLERK                                                    PO BOX 300                                                                             ARAPAHO          OK      73620
CUSTOM COMPRESSION SYSTEMS LLC                                         1200 UNIFAB RD. STE A                                                                  NEW IBERIA       LA      70560-9684
CUSTOM TRUCKS & EQUIPMENT                                              PO BOX 2422                                                                            CHICKASHA        OK      73023-2422
CUTBIRTH MINERAL MANAGEMENT LLC                                        700 NW 16TH ST                                                                         OKLAHOMA CITY    OK      73103
CUTTER ENERGY LLC                                                      PO BOX 7413                                                                            EDMOND           OK      73083-7413
CUTTER RESOURCES LLC                                                   PO BOX 7413                                                                            EDMOND           OK      73083-7413
CVEC                                                                   PO BOX 269080                                                                          OKLAHOMA CITY    OK      73126-9080
CWS WIRELINE LLC                                                       PO BOX 340                                                                             DOVER            OK      73734
CWT MINERALS LLC JAY C THOMAS                                          7323 FALL SPRINGS LN                                                                   HUMBLE           TX      77396-4127
CXA OIL & GAS HOLDINGS L.P                                             1302 WEST AVENUE                                                                       AUSTIN           TX      78701
CYNDA MEYER                                                            6202 W EDISON ST                                                                       TULSA            OK      74127-5725
CYNTHIA A CORLEY TRST                                                  PO BOX 817                                                                             DUNCAN           OK      73534-0817
CYNTHIA A HOBBS                                                        1025 S DESERT PALM AVE                                                                 BROKEN ARROW     OK      74012
CYNTHIA ADAMS                                                          11023 TAYLOR CIRCLE                                                                    WICHITA          KS      67212
CYNTHIA ALPER                                                          30 SAN VICENTE CT                                                                      DANVILLE         CA      94526-3000
CYNTHIA AND ROBERT SWAIM JT                                            800 S STILES                                                                           CUSHING          OK      74023-5826
CYNTHIA ANN EWT                                                        203 NATURAL DRIVE                                                                      PIKEVILLE        NC      27863
                                                                                                                     9211 Lake Hefner
Cynthia Ann Ledbetter (Curtis)       c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120

Cynthia Ann Ledbetter (Curtis)       c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston          TX      77006
Cynthia Ann Ledbetter (Curtis)                                          3400 Bella Vista                                                                      Oklahoma City    OK      73110
CYNTHIA ATHA                                                            18424 E 1060 ROAD                                                                     CHEYENNE         OK      73628
CYNTHIA BARRIOS                                                         1608 NW 38TH ST                                                                       OKLAHOMA CITY    OK      73118-2817
CYNTHIA BECHTOLD                                                        PO BOX 422                                                                            GLEN ULLIN       ND      58631
CYNTHIA BOSTICK                                                         1317 HUNTINGTON DR                                                                    RICHARDSON       TX      75080-2810
CYNTHIA BOWMAN                                                          PO BOX 422                                                                            RIPLEY           OK      74062-0422
CYNTHIA CASSIDY-BOWEN                                                   113 W OAK                                                                             DOVER            OK      73734
CYNTHIA COLLINS                                                         4821 DICKENS ST                                                                       WICHITA FALLS    TX      76308-5211
                                                                                                                     9211 Lake Hefner
Cynthia Collins-Clark                c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120

Cynthia Collins-Clark                c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston          TX      77006
Cynthia Collins-Clark                                                   4001 E. 30th St                                                                       Edmond           OK      73013
CYNTHIA CORLEY MINERALS LLC                                             PO BOX 817                                                                            DUNCAN           OK      73534-0817
CYNTHIA CRAWFORD                                                        12710 W 92ND ST                                                                       COYLE            OK      73027
CYNTHIA CUNNINGHAM                                                      PO BOX 483                                                                            MARSING          ID      83639
CYNTHIA DALE                                                            PO BOX 1174                                                                           GLEN ALPINE      NC      28628
CYNTHIA DODGE                                                           ADDRESS REDACTED
                                                                                                                     9211 Lake Hefner
Cynthia E. Daugherty                 c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120

Cynthia E. Daugherty                 c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston          TX      77006
Cynthia E. Daugherty                                                    2318 W. Sheridan Ave                                                                  Oklahoma City    OK      73107
CYNTHIA EUBANKS                                                         3322 E. RAINTREE AVENUE                                                               STILLWATER       OK      74074


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               CreditorName             CreditorNoticeName                         Address1                            Address2                 Address3             City       State       Zip      Country
CYNTHIA EVANS                                                       201 DUTRA CT                                                                           PINOLE              CA       94564
CYNTHIA FARISS                                                      PO BOX 121                                                                             LEEDEY              OK       73654
CYNTHIA FERGUSON                                                    620 KIRKWOOD DR                                                                        EVANSVILLE          IN       47715
CYNTHIA FITZGERALD                                                  42 OAK GROVE AVE                                                                       BRATTLEBRORO        VT       05301
CYNTHIA FRIEDMANN                                                   2729 PROVINCE LAND                                                                     DALLAS              TX       75228
CYNTHIA GORDHAMER                                                   PO BOX 890                                                                             EL PRADO            NM       87529
CYNTHIA GRIFFITHS                                                   2 LINCOLN ST                                                                           LAKE IN THE HILLS   IL       60156
CYNTHIA GRONINGER                                                   64 CRESTVEW DR                                                                         MIFFLIN             PA       17058
CYNTHIA H LORANCE IRREV GIFT TR                                     PO BOX 104                                                                             ORLANDO             OK       73073
CYNTHIA H LORANCE LIVING TRUST                                      PO BOX 104                                                                             ORLANDO             OK       73073
CYNTHIA HARTMAN                                                     PO BOX 2311                                                                            SOUTH BURLINGTON    VT       05407-2311
CYNTHIA HOBBS MORRIS                                                575 BELL CT SE                                                                         OLYMPIA             WA       98501
CYNTHIA HOLBROOK                                                    104 CROSS                                                                              PERKINS             OK       74059
CYNTHIA HOLLEY PHELPS TRUST                                         395 GRANDVIEW ST                                                                       MEMPHIS             TN       38111
CYNTHIA HUDGINS                                                     208 SOUTH C STREET                                                                     YALE                OK       74085
CYNTHIA HUNTER                                                      20 BONNIE TRAIL                                                                        LONGWOOD            FL       32750-2904
CYNTHIA JO ANN HEMBREE                                              315 HOLLY ST                                                                           PERRY               OK       73077
CYNTHIA JO GRAGERT                                                  301 BARRANCA TRAIL                                                                     WYLIE               TX       75098
CYNTHIA KING                                                        5595 CEDAR CREEK RD                                                                    TEMPLE              TX       76504-4856
CYNTHIA KREYMER                                                     14635 S 53RD E AVE                                                                     BIXBY               OK       74008
CYNTHIA L PLATTS                                                    1601 NW EXPRESSWAY                                                                     OKLAHOMA CITY       OK       73118-1433
CYNTHIA LAZENBY                                                     11421 S SANGRE RD                                                                      PERKINS             OK       74059-4186
CYNTHIA LAZENBY                                                     PO BOX 1575                                                                            STILLWATER          OK       74076
CYNTHIA LEE MILLER                                                  21940 W CASEY LANE                                                                     BUCKEYE             AZ       85326
CYNTHIA MCDONALD                                                    5412 LEYTON DR                                                                         MCKINNEY            TX       75071-8675
CYNTHIA MCINTIRE                                                    PO BOX 271                                                                             TYRON               OK       73951-0271
CYNTHIA MOHR                                                        PO BOX 523                                                                             PATAGONIA           AZ       85624-0523
                                                                                                                  9211 Lake Hefner
Cynthia Mosley                    c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK       73120

Cynthia Mosley                    c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston             TX       77006
Cynthia Mosley                                                       4913 Oak Manor Terr                                                                   Oklahoma City       OK       73135
                                                                                                                  9211 Lake Hefner
Cynthia Mota                      c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK       73120
Cynthia Mota                      c/o Girardi Keese                 Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles         CA       90017
Cynthia Mota                                                        808 S Cleveland Ave.                                                                   Cushing             OK       74023
CYNTHIA MUELLER                                                     828 EUCLID ST                                                                          YUKON               OK       73099
CYNTHIA OWEN                                                        6211 E 100TH PL                                                                        TULSA               OK       74137
CYNTHIA PETERSON                                                    44635 CORTE SAN GABRIEL                                                                TEMECULA            CA       92592
CYNTHIA PHILLIPS STAFFORD                                           1301 MOUNTAIN MEADOW RD                                                                KALISPELL           MT       59901-8412
CYNTHIA REYNOLDS                                                    604 N WALNUT ST                                                                        GUTHRIE             OK       73044-3636
CYNTHIA SCHOEPPEL                                                   1102 DAKOTA DR                                                                         TEMPLE              TX       65011
CYNTHIA SEABOCH LUCIA                                               3631 UNDERWOOD ST                                                                      HOUSTON             TX       77025
CYNTHIA SEARCY                                                      8515 N SERENE AVE                                                                      KANSAS CITY         MO       64153-1794
CYNTHIA SPARKS                                                      1406 WHISPERING RIDGE DR                                                               TUTTLE              OK       73089
CYNTHIA SPEARS                                                      1800 JEFFERSON RD                                                                      BARTLESVILLE        OK       74006-6408
CYNTHIA SWAIM                                                       800 S STILES                                                                           CUSHING             OK       74023-5826
CYNTHIA TELISAK                                                     4308 CHURCH LANE                                                                       ALLEN               TX       75002
CYNTHIA THATCHER PHILLIPY                                           PO BOX 945                                                                             CEDAREDGE           CO       81413
CYNTHIA VADEN                                                       7301 SW LEE BLVD APT 313                                                               LAWTON              OK       73505
                                                                                                                  9211 Lake Hefner
Cynthia Ward                      c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK       73120
Cynthia Ward                      c/o Girardi Keese                 Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles         CA       90017
Cynthia Ward                                                        6721 Lake Shore Dr                                                                     Guthrie             OK       73044
CYNTHIA WESTFALL                                                    9000 E LONE CHIMNEY RD                                                                 GLENCOE             OK       74032
CYNTHIA WILLIAMS                                                    17463 SOUTH 89TH AVE                                                                   BIXBY               OK       74008-6408
CYNTHIA WILSON                                                      714 S CARTER ST                                                                        CLINTON             MO       64735-2515
CYNTHIA WILSON                                                      2737 CASHION PL                                                                        OKLAHOMA CITY       OK       73112
CYNTHIA YULLISH                                                     1438 Q STREET NW                                                                       WASHINGTON          DC       20009


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                                                                                                                              9211 Lake Hefner
Cynthia Graves                               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK      73120
                                             c/o Laminack, Pirtle & Martines,
Cynthia Graves                               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX      77006
Cynthia Graves                                                                  4174 Pittman Ave                                                                        Guthrie             OK      73034
CYPRESS INCOME FUNDS II LLC                                                     PO BOX 2329                                                                             FRISCO              TX      75034
CYTOSPORT INC                                                                   PO BOX 93624                                                                            CHICAGO             IL      60673-3624
D & C POULTRY EQ INC                                                            9806 N 98TH E CT                                                                        OWASSO              OK      74055
D & D MINERALS L.L.C.                                                           14700 COLES ROAD                                                                        EDMOND              OK      73013
D & D OIL LLC                                                                   318 FAIRGROUND RD                                                                       WOODSFIELD          OH      43793
D & G TRASH HAULING LLC                                                         18907 HWY 33                                                                            CHEYENNE            OK      73628
D & J OIL COMPANY INC                                                           4720 W GARRIOTT RD                                                                      ENID                OK      73703-4637
D & L ECKARD LIVING TRUST                                                       1201 NW ANGEL FALLS ROAD                                                                BENTONVILLE         AR      72712
D & M HILLIARD TRUCKING LLC                                                     1513 NE 2ND ST                                                                          MOORE               OK      73160
D & M LAND LLC                                                                  1912 HWY 77 W                                                                           PERRY               OK      73077
D ARLENE MERCER LIVING TRUST                                                    21736 N 2855 RD                                                                         KINGFISHER          OK      73750-9677
D AYREE INVESTMENTS LLC                                                         8900 ELK ALLEY                                                                          GUTHRIE             OK      73044
D C GOFF REV ENERGY TRUST                                                       PO BOX 1465                                                                             FAYETTEVILLE        AR      72702-1465
D CARPENTER                                                                     7104 E 6TH AVE PKWY                                                                     DENVER              CO      80220
D CORBYN                                                                        8507 BRUNS DR                                                                           FORT COLLINS        CO      80525-9398
D DARRELL HOWARD LIVING TRUST                                                   20605 N PINE                                                                            MULHALL             OK      73063
D DELORIS CHESMORE                                                              PO BOX 542                                                                              CIMARRON            KS      67835
D DUNCAN                                                                        37445 COLE CREEK CT                                                                     MURRIETA            CA      92562
D E DAVIS INC                                                                   PO BOX 2127                                                                             COPPELL             TX      75019-8127

D E SHAW DIRECT CAPITAL PORTFOLIOS                                              4400 POST OAK PARKWAY SUITE 2200                                                        HOUSTON             TX      77027
D EBY                                                                           1050 E 2ND ST #228                                                                      EDMOND              OK      73034
D FREEMAN BOSWORTH HOLDINGS LLC                                                 6173 PARK ST                                                                            GEORGETOWN          IN      47122
D HARRISON                                                                      12901 N. WESTERN AVE.                                                                   OKLAHOMA CITY       OK      73114
D KEESECKER                                                                     2915 NE 199TH ST                                                                        SHORELINE           WA      98155
D KEITH HAKEN                                                                   PO BOX 63                                                                               MARSHALL            OK      73056
D L WRIGHT ROYALTY CO                                                           1907 DORCHESTER DR                                                                      OKLAHOMA CITY       OK      73120
D NEWTON                                                                        657 HALLELUJAH TRL                                                                      KELLER              TX      76248-4202
D O H OIL COMPANY                                                               PO BOX 1342                                                                             SWEETWATER          TX      79556
D O'ROURKE                                                                      1520 E 41ST ST                                                                          TULSA               OK      74105
D R PAYNE & ASSOCIATES INC                                                      119 N ROBINSON AVE STE 400                                                              OKLAHOMA CITY       OK      73102-4613
D S CONSULTING                                                                  1043 MUSTANG DR                                                                         SAINT MARTINVILLE   LA      70582-7823
D SCOTT & SHANNON M FRYE LVG TR                                                 2812 NE 133RD ST                                                                        EDMOND              OK      73013
D STEELMAN                                                                      PO BOX 6263                                                                             OKLAHOMA CITY       OK      99999
D W JONES FAMILY TRST                                                           1719 N 29TH ST                                                                          BROKEN ARROW        OK      74014-4970
D WATSON                                                                        PO BOX 835922                                                                           RICHARDSON          TX      75083
D&B ENERGY INC                                                                  124 W CLEVELAND ST                                                                      AGRA                OK      74824

D&B Operating LLC                            c/o McAfee & Taft                  Attn: Timothy Bomhoff                         211 N Robinson Ave.                       Oklahoma City       OK      73102
D&B Operating LLC                                                               223 W Melrose                                                                           Ringwood            OK      73768
D&J MINERALS INC                                                                1 LAKE SHORE DR                                                                         CORPUS CHRISTI      TX      78413
D&K SUPPLY & EQUIPMENT INC                                                      4700 RAVENNA AVE SE                                                                     EAST CANTON         OH      44730
D&L OIL & GAS LLC                                                               38501 SR 26                                                                             GRAYSVILLE          OH      45734
D&M HILLIARD TRUCKING LLC                                                       1513 NE 2ND STREET                                                                      MOORE               OK      73160
D&M PRODUCTION COMPANY                                                          PO BOX 232                                                                              DRUMRIGHT           OK      74030-0232
D&R OILFIELD CONSTRUCTION LLC                                                   PO BOX 163                                                                              GOODWELL            OK      73939
D&V BOEPPLE TRUST UAD 8-22-11                                                   616 FOSTERS GROVE LOOP                                                                  OVIEDO              FL      32765
D&V WEATHERS PROPERTIES LLC                                                     1123 N. RANGE ROAD                                                                      STILLWATER          OK      74075
D. SCHARLEE GLENN                                                               8012 WOOD DUCK DR                                                                       OKLAHOMA CITY       OK      73132
D.D FLUIDS LLC AKA                                                              2699 HIGHWAY 44                                                                         ROBSTOWN            TX      78380-5965
D.D Fluids LLC Aka Dynamic Drilling Fluids   Joe Lassiter                       2699 Highway 44                                                                         Robstown            TX      78380
D.E. LIPPERT JR                                                                 11717 LORENTA CIRCLE                                                                    EDMOND              OK      73013
D.J.F. SERVICES INC.                                                            PO BOX 150                                                                              HOLDENVILLE         OK      74848
D5 MINERALS LP                                                                  PO Box 6111                                                                             San Antonio         TX      78209


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DA3CO LLC                                                               1200 WESTCHESTER DR                                                                    OKLAHOMA CITY     OK      73114-1215
DABAL LLC                                                               6304 BEAVER CREEK RD                                                                   OKLAHOMA CITY     OK      73162
DADSON CAPITAL CO. LLC                                                  3424 Gillespie St. Villa 8                                                             Dallas            TX      75219
DADSON CAPITAL COMPANY 4 LLC                                            3424 Gillespie St Villa B                                                              Dallas            TX      75219
DAGNYS LLC                                                              PO BOX 4346                                                                            LONGVIEW          TX      75606
DAGNY'S OPERATING LP                                                    PO BOX 4346                                                                            LONGVIEW          TX      75606
DAGNYS PROPERTIES LP                                                    PO BOX 4346                                                                            LONGVIEW          TX      75606
Dahl SWD Facility #1, LLC             c/o Mike Taylor                   5661 N Classen Blvd                                                                    Oklahoma City     OK      73118
                                      c/o Pierce Couch Hendrickson
Dahl SWD Facility #1, LLC             Baysinger & Green LLP             Attn: Stephen Olson                           PO Box 26350                             Oklahoma City     OK      73126
DAHL TR DTD 10-20-2009                                                  2625 SW ARVONIA PL                                                                     TOPEKA            KS      66614
DAHLBERG & ASSOCIATES LLC                                               1107 CHATELET DR                                                                       ST LOUIS          MO      63135-1334
DAISY BUNCH                                                             2604 BLACKJACK RD                                                                      STARKVILLE        MS      39759
DAISY DECEASED                                                          1611 NORWOOD DR                                                                        OKLAHOMA CITY     OK      73120-1211
                                                                                                                      9211 Lake Hefner
Daisy Mae Gee                         c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120

Daisy Mae Gee                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston           TX      77006
Daisy Mae Gee                                                            9309 NE Sherwell Dr                                                                   Midwest City      OK      73130
DAKODA LEVI COMBS                                                        209 S JONES AVE                                                                       DRUMRIGHT         OK      74030-3631
DAKOTA ENERGY LLC                                                        110 W 7TH ST #210                                                                     TULSA             OK      74119
                                                                                                                      One Leadership
Dakota Exploration LLC                c/o GableGotwals                  Attn: Dale E Cottingham                       Square, Ste. 1500    211 N Robinson      Oklahoma City     OK      73102
DAKOTA EXPLORATION LLC                                                  8801 S YALE AVE STE 120                                                                TULSA             OK      74137-3575
Dakota Exploration LLC                                                  110 W 7th St                                  Ste. 210                                 Tulsa             OK      74119
DAKOTA LAND LLC                                                         PO BOX 12973                                                                           OKLAHOMA CITY     OK      73157
DAKOTAH JAMES KNIGHT                                                    110 N PHILLIPS ST                                                                      CARTHAGE          TX      75633
DALE & CHRISTINA TAYLOR LIVING TR                                       417 EAST ASH                                                                           POND CREEK        OK      73766
DALE & JANE ARMSTRONG TR UNDER REV                                      2609 N BRUSH CREEK RD                                                                  STILLWATER        OK      74075
DALE ARCHER MCNULTY                                                     529 S FLAGLER DR APT 23F                                                               WEST PALM BEACH   FL      33401-5926
DALE ARCHER MCNUTTY                                                     529 S FLAGLER DR APT 23F                                                               WEST PALM BEACH   FL      33401-5926
DALE B ANGLIN TRUST                                                     15613 HIMALAYA RIDGE                                                                   EDMOND            OK      73013
DALE BENTLEY                                                            2628 AUSTIN RD                                                                         PONCA CITY        OK      74601-8606
DALE BREEDLOVE                                                          2105 PENN DR                                                                           DELAND            FL      32724-8334
DALE BURTON                                                             15726 FATHOM LN                                                                        HOUSTON           TX      77062
DALE BUSSARD                                                            750390 S 3446 RD                                                                       AGRA              OK      74824-8459
DALE C KINDT REVOCABLE TRUST                                            PO BOX 69                                                                              ARDMORE           OK      73402
DALE CALDWELL                                                           2407 E GLENCOE RD                                                                      GLENCOE           OK      74032-1107
DALE CAROL TANNER                                                       20 SUNNY LANE                                                                          STILLWATER        OK      74075
DALE COCHRAN                                                            2911 INDIAN VALLEY DR                                                                  KANSAS            OK      74347-9454
DALE DEBORD                                                             16630 SW 36TH ST                                                                       EL RENO           OK      73036
DALE DONELSON                                                           2183 E 26TH WAY                                                                        YUMA              AZ      85365
DALE DOXTATER                                                           9616 WOODLAND CREEK LANE                                                               CORDOVA           TN      39018

DALE E WEATHERS REVOCABLE TRUST AGT                                     1123 N RANGE RD                                                                        STILLWATER        OK      74075
DALE EDWARD CHLOUBER                                                    PO BOX 1852                                                                            STILLWATER        OK      74076
DALE EDWARDS                                                            15856 S MAPLE LN RD                                                                    OREGON CITY       OR      97045
DALE FANCHER                                                            1941 PINE ST                                                                           RICHLAND          WA      99354-2115
DALE FOLKS LLC                                                          PO BOX 3430                                                                            EDMOND            OK      73083-3430
DALE FREY                                                               PO BOX 9                                                                               MULHALL           OK      73063
DALE GENE NIDA IRREV TRUST DTD 12-2                                     4025 NE 116TH ST                                                                       OKLAHOMA CITY     OK      73131
DALE GENE NIDA TR                                                       4025 NE 116TH ST                                                                       OKLAHOMA CITY     OK      73131
DALE GLIMP                                                              48315 W 136TH PL                                                                       DRUMRIGHT         OK      74030
DALE GREEN & DOLORES GREEN                                              1003 VILLA DR                                                                          WATONGA           OK      73772
DALE HANEY                                                              PO BOX 1471                                                                            ELK CITY          OK      73644-3806
DALE HARRIS                                                             922 E S AVENUE                                                                         PONCA CITY        OK      74601
DALE HASKIN                                                             760716 S 3490 RD                                                                       CUSHING           OK      74023-6675
DALE HILDEBRAND                                                         1200 WHITEHURST LN                                                                     CHOCTAW           OK      73020-8210
DALE HOLZER                                                             9801 BRIGHTON RD                                                                       HENDERSON         CO      80640-8629


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               CreditorName                 CreditorNoticeName                          Address1                            Address2                 Address3            City    State       Zip      Country
DALE HORTON                                                              HC 66, BOX 91                                                                          FOSS            OK       73647
DALE HOWARD                                                              3609 OLD SHAWNEE ROAD TRLR 20                                                          MUSKOGEE        OK       74403
DALE JAFEK                                                               588 W 800 N                                                                            PAUL            ID       83347
DALE JOHNSON                                                             1578 DELEMOS AVENUE                                                                    HAYWARD         CA       94544
DALE KEEN                                                                7530 N 145 E AVE                                                                       OWASSO          OK       74055
DALE KROUT                                                               10301 E BURKHART RD                                                                    GLENCOE         OK       74032
DALE L & PHYLLIS J MONTGOMERY REV T                                      2717 S ELDER AVE                                                                       BROKEN ARROW    OK       74012-7352
DALE LAURAN PATTON ESTATE                                                11420 HOLLY CT                                                                         KANSAS CITY     MO       64114
                                                                                                                       9211 Lake Hefner
Dale Livengood                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Dale Livengood                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Dale Livengood                                                           14158 E. 26th St                                                                       Tulsa           OK       74134
DALE MALASKA                                                             235 E DON KROLL ST                                                                     ENID            OK       73701
                                                                                                                       9211 Lake Hefner
Dale Masters                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Dale Masters                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Dale Masters                                                             622 E Oak                                                                              Cushing         OK       74023
DALE MORRIS                                                              ROUTE 2, BOX 83                                                                        VICI            OK       73859
DALE MORRISETT                                                           4 ISLAY DR                                                                             BELTA VISTA     AR       72715
DALE MULLINS                                                             4819 E KARA DR                                                                         STILLWATER      OK       74074-6252
DALE MURPHY                                                              6515 N ROSE RD                                                                         GLENCOE         OK       74032
DALE NEIMAN & PATRICIA NEIMAN HWJT                                       24500 CR 185                                                                           PERRY           OK       73077
DALE OKLAHOMA LLC                                                        2100 ROSS AVE STE 1870                                                                 DALLAS          TX       75201
DALE P MINERALS LTD PARTNERSHIP                                          2100 ROSS AVE STE 1870 LB-9                                                            DALLAS          TX       75201
DALE PARKS                                                               36600 STATE RTE 260                                                                    GRAYSVILLE      OH       45734
DALE PEACOCK                                                             23306 E LONGHORN TRAIL                                                                 COVINGTON       OK       73730
DALE PEREGRINE MINERALS FUND LP                                          2100 ROSS AVESTE 1870 LB-9                                                             DALLAS          TX       75201
DALE PYLE                                                                1409 N OAK                                                                             GUTHRIE         OK       73044
DALE RINK                                                                1216 W WILLOW RDSTE C                                                                  ENID            OK       73703-2532
DALE SEEFELDT                                                            6918 E 99TH PL S                                                                       TULSA           OK       74133
DALE SEWELL                                                              1402 COLORADO                                                                          BLACKWELL       OK       74631
                                                                                                                       9211 Lake Hefner
Dale Smethers                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120

Dale Smethers                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Dale Smethers                                                            2112 Cedar Pointe Cir                                                                  Edmond          OK       73003
DALE TANNER TRUST                                                        20 SUNNY LANE                                                                          STILLWATER      OK       74075
DALE WEBBER                                                              210 LA MESA DR                                                                         SALINAS         CA       93901-2918
Dale White                            c/o Edward L White PC              Attn: Kerry D Green & Edward L White          829 E 33rd St                            Edmond          OK       73013
                                      c/o Maples, Nix & Diesselhorst
Dale White                            PLLC                               Attn: Ray Maples                              15401 N. May Ave                         Edmond          OK       73103
Dale White                            c/o Munson & McMillin              Attn: April B Eberle                          247 N Broadway                           Edmond          OK       73034
Dale White                                                               621 E. Broadway                                                                        Cushing         OK       74023
DALE WHITESIDES                                                          6716 ROOSEVELT DR                                                                      KETCHIKAN       AK       99901
DALE WHITESIDES                                                          7617 ROOSEVELT DR                                                                      KETCHIKAN       AK       99901
DALE WILLISTON MINERALS 2012-B LP                                        2100 ROSS AVE SUITE 1870 LB-9                                                          DALLAS          TX       75201
DALE WOODRUFF                                                            1007 SANCHEZ CT                                                                        STOCKTON        CA       95206
                                                                                                                       9211 Lake Hefner
Dale Cheatham                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Dale Cheatham                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Dale Cheatham                                                            116 1/2 Keith St                                                                       Norman          OK       73069
DALEN RESOURCES OIL & GAS CO                                             300 S SAINT PAUL ST                                                                    DALLAS          TX       75201-5512
DALLEN WALTERS                                                           3321 COUNTY RD 47                                                                      HOWARD          CO       81233
DALTON COOK                                                              451 S HENNEY RD                                                                        GUTHRIE         OK       73044
DALTON HENDRIX                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK       73116
DAMON S SEIGER & CHANDRA E SEIGER J                                      PO BOX 265                                                                             HENNESSEY       OK       73742-0265


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DAMON YOST                                                               5314 S PLEASANT VALLEY TRAIL                                                           MULHALL                OK       73063
DAMYAN CHESMORE                                                          PO BOX 542                                                                             CIMARRON               KS       67835
DAN BLOCKER PETROLEUM CONS INC                                           3206 N 4TH ST                                                                          LONGVIEW               TX       75605
DAN CERULLI                                                              3 INDIAN SUMMER DR                                                                     CROTON ON HUDSON       NY       10520
DAN CLINKINGBEARD                                                        1601 TEXAS ST                                                                          PERRYTON               TX       79070-5609
DAN CLOSE                                                                1218 N COOLIDGE AVE                                                                    WICHITA                KS       67203-3053
DAN D. DRILLING CORPORATION                                              PO Box 158                                                                             Lamont                 OK       74643
DAN DAVIS                                                                7425 WISTFUL VISTA DR UNIT 1203                                                        WEST DES MOINES        IA       50266-8018
DAN DUGGAN                                                               PO BOX 174                                                                             FORT WORTH             TX       76101
DAN DUNCAN                                                               2511 TROPHY LN                                                                         STILLWATER             OK       74074
DAN EDWARD CALDWELL                                                      654 RADCLIFFE AVE                                                                      PACIFIC PALISADES      CA       90272
DAN HAYNES                                                               1408 KERRY LAYNE                                                                       EDMOND                 OK       73034-2343
DAN M & JERRIE CRUMMETT TRUST                                            2203 S WESTERN ROAD                                                                    STILLWATER             OK       74074
DAN MAY                                                                  1212 N COUNTRY CLUB RD                                                                 STILLWATER             OK       74075
DAN MITCHELL JR REV TRUST 10-1-2007                                      1016 W WABASH AVE                                                                      ENID                   OK       73703
DAN MORDHORST REV TR DTD 6/30/97                                         PO BOX 4335                                                                            TULSA                  OK       74159
DAN MORDHOURST REVOCABLE TRUST                                           PO BOX 4335                                                                            TULSA                  OK       74159-0335
DAN TAKACS                                                               150 CHERRY LN                                                                          CAMPBELL               CA       95008-3416
DAN TRACY                                                                9210 W 2ND AVE                                                                         STILLWATER             OK       74074-6759
DAN WAGER                                                                PO Box 60157                                                                           OKLAHOMA CITY          OK       73146-0157
                                                                                                                       9211 Lake Hefner
Dan Frey                              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK       73120
                                      c/o Laminack, Pirtle & Martines,
Dan Frey                              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX       77006
Dan Frey                                                                 103771 S. 3545 Rd                                                                      Prague                 OK       74864
                                                                                                                       9211 Lake Hefner
Dan Shupe                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK       73120
                                      c/o Laminack, Pirtle & Martines,
Dan Shupe                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX       77006
Dan Shupe                                                                920595 S. 3480 Rd                                                                      Chandler               OK       74834
                                                                                                                       9211 Lake Hefner
Dan Stevens                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK       73120
                                      c/o Laminack, Pirtle & Martines,
Dan Stevens                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX       77006
Dan Stevens                                                              345884 E. Hwy 62                                                                       Meeker                 OK       74855
DANA BROWN                                                               5421 DEER TRAIL                                                                        STILLWATER             OK       74074
                                                                                                                       9211 Lake Hefner
Dana Butler                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK       73120

Dana Butler                           c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX       77006
Dana Butler                                                              308 W. 1st St                                                                          Edmond                 OK       73003
DANA CHRISTINE MORFORD &                                                 2202 WEST 24TH STREET                                                                  STILLWATER             OK       74074
DANA CLEMENTS WARDEN                                                     4901 SE 139TH ST                                                                       OKLAHOMA CITY          OK       73165
DANA DANTINE LIVING                                                      PO BOX 1600                                                                            SAN ANTONIO            TX       78296

DANA DOTTER                                                              7032 RIDGE CREST DRIVE                                                                 NORTH RICHLAND HILLS   TX       76182
DANA FRANCISS                                                            421 S. MORTON AVENUE                                                                   OKMULGEE               OK       74447
DANA FRANK                                                               6701 POPLAR ST                                                                         STILLWATER             OK       74074
DANA J RUSSELL                                                           104 LAKE ALUMA DRIVE                                                                   OKLAHOMA CITY          OK       73121
DANA JEANINE HIRST                                                       7400 S STATE ST APT 11104                                                              MIDVALE                UT       84047-6124
                                                                                                                       9211 Lake Hefner
Dana Jordan-Kemper                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK       73120

Dana Jordan-Kemper                    c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX       77006
Dana Jordan-Kemper                                                       8913 N. McMillan Ave                                                                   Oklahoma City          OK       73132
DANA KALE                                                                3309 VILLANOVA ST                                                                      DALLAS                 TX       75225
DANA L HUFFMAN TRUST                                                     633 DOE TRL                                                                            EDMOND                 OK       73012

DANA MORRIS AN INCAPACITATED PERSON                                      PO BOX 3480                                                                            OMAHA                  NE       68103-0480


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DANA OTTO                                                                5640 NW 58TH TERR                                                                      WARR ACRES          OK      73122
DANA REEDY                                                               116 MINT ORCHARD DR                                                                    HENDERSON           NV      89002-8281
DANA RENEE LONGAN                                                        1689 BUENA VISTA ST                                                                    VENTURA             CA      93001-2214
DANA ROBINSON WOOD                                                       1048 N. WILLOW RD.                                                                     SAND SPRINGS        OK      74063
DANA ROGERS                                                              316 W 49TH ST                                                                          SAND SPRINGS        OK      74063-3233
DANA SELLERS                                                             1935 EAST DEVLIN AVENUE                                                                KINGMAN             AZ      86409
DANA WELBORNE                                                            7 LLANO DEL NORTE                                                                      PLACITAS            NM      87043-8306
DANAH KNIGHT                                                             PO BOX 561                                                                             CARNEY              OK      74832
DANE HUNT                                                                9425 DEERHURST PL                                                                      MCKINNEY            TX      75070
DANELAK LLC                                                              3612 EPPERLY DR                                                                        DEL CITY            OK      73115-3608
DANELLE ODELL                                                            2109 VICTORIA AVE                                                                      EXCELSIOR SPRINGS   MO      64024
                                                                                                                       9211 Lake Hefner
Danette Marrs                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Danette Marrs                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Danette Marrs                                                            100224 S. 3500 Rd                                                                      Sparks              OK      74869
DANFORD WHEELER JR                                                       15828 30 AVE NW                                                                        STANWOOD            WA      98292
DANIAL B HAABY & SHARON GAIL HAABY                                       3363 CORINTHIAN WAY                                                                    AUBURN              CA      95603
DANICK RESOURCES INC                                                     5005 LBJ FREEWAY #1250                                                                 DALLAS              TX      75244
DANIEL & LINDA MILACEK TRUST                                             1109 BRIAR RIDGE RD                                                                    ENID                OK      73703
                                                                         6663 SW BEAVERTON HILLSDALE
DANIEL A NIZICH                                                          HWY#286                                                                                PORTLAND            OR      97225
DANIEL A WOODS TRUST                                                     10221 S KINGSTON AVE                                                                   TULSA               OK      74137-7019
DANIEL AARON YOST                                                        1101 S CHESTER ST                                                                      STILLWATER          OK      74074
DANIEL AND APRIL NACK                                                    6009 W MAIN ST                                                                         CUSHING             OK      74023-5628
DANIEL AXTELL                                                            3122 ANDREA DEE CIRCLE                                                                 RIVERTON            UT      84065
DANIEL BAFIA                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
DANIEL BOSWORTH                                                          6173 PARK ST                                                                           GEORGETOWN          IN      47122
DANIEL BRENGLE                                                           163 S SHORE DR                                                                         DOVER               DE      19901
DANIEL CARTMILL                                                          21803 CR 1010                                                                          MEDFORD             OK      73759
DANIEL COATES                                                            4305 TRAVIS ST                                                                         SAN ANGELO          TX      76903-1704
DANIEL CORRELL                                                           2302 S SHERIDAN ROAD                                                                   TULSA               OK      74129
DANIEL E KASTL                                                           1910 EAST KIRK STREET                                                                  PERKINS             OK      74059

DANIEL E STEHLING ROTH IRA                                               5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY            TX      75070
DANIEL ENGEL                                                             15255 COUNTY ROAD 3585                                                                 ADA                 OK      74820-1388
DANIEL G VOLLMER                                                         2775 GREENWOOD AVE                                                                     MORRO BAY           CA      93442
DANIEL H LOUGH                                                           62 LAKE SHORE DRIVE                                                                    CORPUS CHRISTI      TX      78413-2634
DANIEL HAMPTON                                                           3514 S HUSBAND ST                                                                      STILLWATER          OK      74074-7538
DANIEL HANSEN                                                            1190 NAVELLO ST                                                                        EL CAJON            CA      92021
DANIEL HILDEBRAND                                                        4221 MORAGA AVE                                                                        SAN DIEGO           CA      92117-4519
DANIEL JACK                                                              809 E WASHINGTON                                                                       ELLENSBURG          WA      98926
DANIEL JAMES KENAN REV TRUST                                             2724 SEVIER ST                                                                         DURHAM              NC      27705
DANIEL JESSIE BELCHER SR LIFE ESTAT                                      2625 CORONA AVENUE                                                                     NORCO               CA      92861
DANIEL K MANNISTO                                                        1145 FOX HOLLOW RD                                                                     SEQUIM              WA      98382
DANIEL KENAN                                                             2724 SEVIER ST                                                                         DURHAM              NC      27705
DANIEL KILPATRICK                                                        1941 LONG ST                                                                           SWEET HOME          OR      97386
DANIEL KITTERMAN & DEBORAH FULTZ                                         8222 DIAMND RIDGE RUN                                                                  STILLWATER          OK      74075
DANIEL L CLINKINGBEARD & PATRICIA J                                      1601 TEXAS ST                                                                          PERRYTON            TX      79070-5609
DANIEL L KEITH & DELAINE KEITH REV                                       801 W SEMINOL DR                                                                       STILLWATER          OK      74075
DANIEL L PIXLEY                                                          PO BOX 44                                                                              MARSHALL            OK      73056-0044
DANIEL L WILLETT                                                         9402 RUSSELL ROAD                                                                      SILVER SPRING       MD      20910
DANIEL LAMSON                                                            4760 W OAK ST                                                                          SKIATOOK            OK      74070-3915
DANIEL LINN                                                              43819 AVOCA RD                                                                         ASHER               OK      74826
DANIEL MANAGEMENT LTD                                                    8523 THACKERY #1208                                                                    DALLAS              TX      75225
DANIEL MUEGGENBORG                                                       710 9TH AVENUE                                                                         SEATTLE             WA      98104
DANIEL P AND VIDA K SCHUMAN REV. TR                                      4401 SOUTH LEWIS PLACE                                                                 TULSA               OK      74105
DANIEL PIKE                                                              7410 CREEKBLUFF DR                                                                     AUSTIN              TX      78750-8206
DANIEL POMEROY                                                           960 URSULA ST                                                                          AURORA              CO      80011


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DANIEL RAINS                                                          10167 N HWY 265 S                                                                      FAYETTEVILLE       AR      72701
DANIEL RAUCH                                                          217 UNION AVENUE                                                                       NEW PROVIDENCE     NJ      07974-1130
DANIEL RAY RUDY                                                       206 N CROWNPOINT DRIVE                                                                 ADA                OK      74820
DANIEL REICH                                                          635 FERNGLEN CT                                                                        COLORADO SPRINGS   CO      80906-6804
DANIEL RESENDEZ                                                       3322 EAST 4TH AVENUE                                                                   STILLWATER         OK      74074
DANIEL ROSS                                                           701 S CHAPPELL HILL ST                                                                 BRENHAM            TX      77833
DANIEL SAKOLS                                                         2505 KATRINA WAY                                                                       MOUNTAIN VIEW      CA      94040-3949
DANIEL SCHAD                                                          208 NORTH ASH                                                                          VALLEY CENTER      KS      67147
DANIEL SCHUMACHER                                                     38790 GUN CLUB RD                                                                      WOODSFIELD         OH      43793
DANIEL SERIGNESE                                                      1423 MILLER AVE #1                                                                     WINTER PARK        FL      32789

DANIEL STICKFORD                                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
DANIEL STORM                                                          7119 N SANGRE RD                                                                       STILLWATER         OK      74075
DANIEL T HANSON                                                       1126 16TH AVE SOUTH                                                                    JACKSONVILLE       FL      32250
DANIEL VATER                                                          12758 MACKEY ST                                                                        OVERLAND PARK      KS      66213
DANIEL W WHITTEN TRUST                                                PO BOX 22932                                                                           OKLAHOMA CITY      OK      73123-1932
DANIEL WEISMAN                                                        271 OHINA PL                                                                           KIHEI              HI      96753
DANIEL ZEILER                                                         1009 ACTIVE DR                                                                         ST LOUIS           MO      63146-5005
DANIELLE ELLIOTT                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
DANIELLE FUSELIER                                                     3506 DURANGO CANYON LN                                                                 SPRING             TX      77386
DANIELLE HURST                                                        14240 SKYVIEW DR                                                                       PIEDMONT           OK      73078
DANIELLE WHITE                                                        1037 CALIFORNIA COURT                                                                  EMPIRE             NV      89405
DANIELLE WOODARD                                                      PO BOX 142                                                                             HARTFORD           AR      72938
DANIELS FAMILY TRUST                                                  2817 LONDON LN                                                                         ENID               OK      73703
                                                                                                                    9211 Lake Hefner
Danise J Conrad                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                   c/o Laminack, Pirtle & Martines,
Danise J Conrad                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Danise J Conrad                                                       7327 S. Sleepy Hollow Dr                                                               Tulsa              OK      74136
DANLIN INDUSTRIES CORPORATION                                         PO BOX 677464                                                                          DALLAS             TX      75267-7464
DANNA ZOLTNER                                                         610 EMERY ST                                                                           DENTON             TX      76201-2678
DANNIE L LUTTER                                                       21700 COUNTY RD 280                                                                    MORRISON           OK      73061-9533
DANNY ALLEN PELPHREY TTEE                                             1710 WHITETAILTRAIL                                                                    DAYTON             OH      45459
DANNY ALLENDER LIFE ESTATE                                            703 S 4TH ST                                                                           RIPLEY             OK      74062-6527
DANNY AND PATRICIA LANGLEY HW JT                                      PO BOX 221                                                                             RIPLEY             OK      74062-0221
                                                                                                                    9211 Lake Hefner
Danny Askins                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120

Danny Askins                       c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Danny Askins                                                          2528 NW 49th Pl                                                                        Oklahoma City      OK      73112
DANNY B SUMMERS                                                       PO BOX 51004                                                                           MIDLAND            TX      79710
DANNY BOWLING                                                         8408 S WASHINGTON RD                                                                   STILLWATER         OK      74074
DANNY BOWLING                                                         8408 S WASHINGTON ST                                                                   STILLWATER         OK      74074
DANNY BUNTIN                                                          201 N DONALDSON DR                                                                     STILLWATER         OK      74075-7931
DANNY COCKRELL                                                        270 ELM                                                                                MCQUEENEY          TX      78123
DANNY COX                                                             PO BOX 51                                                                              TURPIN             OK      73950
DANNY CREED                                                           1330 E THISTLE LANDING DRIVE                                                           PHOENIX            AZ      85048
DANNY CREED TRUSTEE                                                   1330 E THISTLE LANDING DRIVE                                                           PHOENIX            AZ      85048
DANNY DECD                                                            724 OKIE RIDGE RD                                                                      YUKON              OK      73099
DANNY DILLER                                                          2609 FM 471 N                                                                          CASTROVILLE        TX      78009
DANNY EARL LINS LIVING TRUST                                          561 SOUTH ZURICH                                                                       TULSA              OK      74112
DANNY GRIFFIN                                                         PO BOX 1149                                                                            STILLWATER         OK      74076
DANNY HOLCOMB                                                         RR 2 BOX 1-AC-4                                                                        LEEDEY             OK      73654-9802
DANNY HUNTER                                                          5422 S. MARKET                                                                         WICHITA            KS      67216
DANNY KEITH                                                           PO BOX 152                                                                             COVINGTON          OK      73730-0152
DANNY KELLY                                                           7600 NW 164TH ST                                                                       EDMOND             OK      73013-8917
DANNY KROLL                                                           PO BOX 835                                                                             PERRY              OK      73077
                                                                                                                    9211 Lake Hefner
Danny L. Haynes                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120


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                CreditorName                CreditorNoticeName                             Address1                         Address2                 Address3             City      State       Zip       Country

Danny L. Haynes                       c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Danny L. Haynes                                                          916 NW 104th St.                                                                       Oklahoma City       OK      73114
DANNY L. SHERMAN BANDIT ESP SERVICE                                      451 Loma Vista Lane                                                                    Skiatook            OK      74070
DANNY LEE STRUCK                                                         14218 EAST 770 ROAD                                                                    KINGSFISHER         OK      73750
DANNY LYNN HOUSTON & TOMMIE LYNN                                         6104 KNOX RD                                                                           COVINGTON           OK      73730-2060
DANNY M & SHEILA M ANNETT                                                759 COOPERS DR SW                                                                      AIRDRIE             AB      T4B 2W3      CANADA
DANNY MINSHALL                                                           6012 MATILDA DR                                                                        GLENCOE             OK      74032
DANNY RAINS                                                              1109 W 92ND                                                                            PERKINS             OK      74059
DANNY SCHMADL                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater          OK      74074
DANNY SCROGGS                                                            11 PECAN DR                                                                            STILLWATER          OK      74075-3825
DANNY SEMRAD                                                             624 E VAN BUREN                                                                        CRESCENT            OK      73028
DANNY SHIPPY                                                             PO BOX 781                                                                             MIDDLETON           ID      83644
DANNY SUBLETT                                                            2929 IVY GLEN CT                                                                       BUFORD              GA      30519
DANNY SWART                                                              219 E KIRK ST                                                                          PERKINS             OK      74059-3108
DANNY WATSON                                                             805 CARRIE CT                                                                          PURCELL             OK      73080
DANNY WHITE                                                              1200 AUSTIN STREET                                                                     ROBERT LEE          TX      76945
DANNY WILLETT                                                            10108 E 91ST CIR N                                                                     OWASSO              OK      74055-6834
DANNY WOLFF                                                              204 W UNDERWOOD ST                                                                     EL RENO             OK      73036-5543
                                                                                                                       9211 Lake Hefner
Danny Haggy                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Danny Haggy                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Danny Haggy                                                              990219 S. 3310 Rd                                                                      Wellston            OK      74881
DANYE GOODENOUGH                                                         2510 N CLARKSON ST                                                                     FREMONT             NE      68025
Dao, Remy                             c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
DAPHNE BURKHART                                                          11201 N MILLER                                                                         OKLAHOMA CITY       OK      73120
DAPHNE REED                                                              4393 N MACGREGOR WAY                                                                   HOUSTON             TX      77004
DARCY COALE                                                              42400 SODA CREEK LN                                                                    STEAMBOAT SPRINGS   CO      80487-9211
                                                                                                                       9211 Lake Hefner
Darell Cross                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120

Darell Cross                          c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Darell Cross                                                             8817 Salsbury Lane                                                                     Oklahoma City       OK      73132
DARELL JELSMA                                                            PO BOX 1312                                                                            SOLDOTNA            AK      99669
DARELL LANTZ                                                             8850 E PRAIRIE GROVE RD                                                                GUTHRIE             OK      73044
                                                                                                                       9211 Lake Hefner
Darell Lantz                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Darell Lantz                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Darell Lantz                                                             8850 East Prairie Grove Rd                                                             Guthrie             OK      73034
DARENA TURNER                                                            6008 EAST 68TH STREET                                                                  STILLWATER          OK      74074
DARIO V GUERRA ESTATE DECD                                               1021 E CANTON                                                                          EDINBURG            TX      78539

DARKSIDE RESOURCES LLC LAWRENCE JEN                                      8504 SW 37TH ST                                                                        OKLAHOMA CITY       OK      73179-3028
DARLA BUCKLEY                                                            2021 MATTHEW AVENUE                                                                    ROSAMOND            CA      93560
DARLA COURTRIGHT                                                         116 NOBLE HEIGHTS CIR APT 136                                                          GUTHRIE             OK      73044
DARLA G CLARK                                                            408 N DELEWARE                                                                         INDEPENDENCE        MO      64050
DARLA GRAVES                                                             129 E BRDWAY ST                                                                        DRUMRIGHT           OK      74030
DARLA HAGGARD                                                            3101 WILLOWBROOK                                                                       ENID                OK      73703
DARLA HAHN                                                               PO BOX 196                                                                             ARNOLD              CA      95223
DARLA HAHN                                                               PO BOX 526                                                                             SAN LORENZO         CA      94580
DARLA HANEY                                                              1409 CASADY LN                                                                         OKLAHOMA CITY       OK      73120-1609
DARLA J. BEEBY LIV TR DTD 6/11/2004                                      1619 S. ASHTON AVENYUE                                                                 STILLWATER          OK      74074
DARLA JAN BENNETT                                                        1148 S XANTHUS AVE                                                                     TULSA               OK      74104
DARLA JONES                                                              28925 JOHN WAYNE                                                                       MORRISON            OK      73061-9517
DARLA LINDER HUCKABAY                                                    846 E 9TH STREET                                                                       CUSHING             OK      74023
DARLA MASTERSON                                                          6231 N MONTEBELLA RD APT 228                                                           TUCSON              AZ      85704
DARLA MICHELLE TROUT                                                     923 S. PITTSBURG                                                                       TULSA               OK      74112


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DARLA MUNDELL                                                            1709 S 11TH ST                                                                         LAMAR           CO    81052-4040
DARLA SUE BRANTLEY                                                       4633 N W 33RD DRIVE                                                                    OKLAHOMA CITY   OK    73122
                                                                                                                       9211 Lake Hefner
Darlene Allen                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120

Darlene Allen                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Darlene Allen                                                            3402 Stumpff Blvd                                                                      Spencer         OK    73084
DARLENE ARNOLD                                                           640 E ROCK CREEK LN                                                                    FRESNO          CA    93730-1217
                                                                                                                       9211 Lake Hefner
Darlene Caldwell Shelton              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Darlene Caldwell Shelton              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Darlene Caldwell Shelton                                                 814 E 99th St                                                                          Perkins         OK    74059
DARLENE D HANNEMAN                                                       1316 S 101ST EAST AVE                                                                  TULSA           OK    74128
DARLENE F FRANZ LIVING TRUST                                             312 S KENNEDY ST                                                                       HILLSBORO       KS    67063
DARLENE GRAHAM                                                           7615 N 122ND E AVE                                                                     OWASSO          OK    74055
DARLENE JOHNSTON                                                         9903 N 2410 RD                                                                         WEATHERFORD     OK    73096
DARLENE PEARSON                                                          5 HARDING DR                                                                           PITTSGROVE      NJ    08318-5627
                                                                                                                       9211 Lake Hefner
Darlene Travis                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
Darlene Travis                        c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles     CA    90017
Darlene Travis                                                           4885 Turtle Pt                                                                         Guthrie         OK    73044
DARLENE WETHERBEE                                                        3567 PRINGLE RD SE                                                                     SALEM           OR    97302
DARLENE WRIGHT                                                           2892 TEXAS AVE                                                                         SIMI VALLEY     CA    93063-1932
DARLINDA BRADDY                                                          15523 E NEWTON PL                                                                      TULSA           OK    74116-2404
DARLING DAUGHTERS PARTNERSHIP                                            653 LEISURE LANE                                                                       CEDAR CREEK     TX    78612

DARLOUISE SHURTZ-WOODY REV TRUST DT                                      4 CIMMARON TRL                                                                         PERKINS         OK    74059-4165
DARLYNE SEAL TRUST                                                       RURAL ROUTE 2 BOX 67                                                                   TALOGA          OK    73667-9636
DARNELL BORTZ                                                            30142 NE 100TH AVE                                                                     PRESTON         KS    67583-8627
DARNELL DRILLING                                                         2250 NW 39TH ST STE 100                                                                OKLAHOMA CITY   OK    73112
DARRALL HANNAH                                                           4229 E COUNTY ROAD 65                                                                  MULHALL         OK    73063-9726
DARREL HOPPER                                                            3705 MEADOWCOURT DR                                                                    BEAVERCREEK     OH    45431-2524
DARREL KAUK                                                              108 RANDOLPH ROAD                                                                      CLINTON         OK    73601
DARREL NIVENS                                                            9300 E COUNTY RD 70                                                                    COYLE           OK    73027
DARREL NIVENS                                                            9300 EAST CR 70                                                                        COYLE           OK    73027
DARREL OVERHOLT                                                          4901 CRESTVIEW AVE                                                                     STILLWATER      OK    74074
DARREL RAY                                                               2207 WEST 23RD STREET.                                                                 STILLWATER      OK    74074
DARREL SEDBROOK                                                          249 WEATHERCOCK LN                                                                     SAN ANTONIO     TX    78239
DARREL VAN COEVERING                                                     5406 NE 123RD ST                                                                       VANCOUVER       WA    98686
                                                                                                                       9211 Lake Hefner
Darrel Wyatt                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120

Darrel Wyatt                          c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Darrel Wyatt                                                             4515 W. Park Place                                                                     Oklahoma City   OK    73127
DARRELL & BILLY STILES TRUST                                             3112 W GRANDSTAFF                                                                      CUSHING         OK    74023-5681
DARRELL BLASIER                                                          330 HIGH RD                                                                            LOCKPORT        IL    60441
DARRELL BOEPPLE                                                          3802 47TH ST                                                                           LUBBOCK         TX    79413
DARRELL CLINE                                                            PO BOX 250                                                                             NEW MATAMORAS   OH    45767
DARRELL ENGLERT                                                          14715 LA FONDA DRIVE                                                                   LA MIRADA       CA    90638
DARRELL GRAEF                                                            PO BOX 194                                                                             MULHALL         OK    73063
DARRELL GROOM                                                            9720 S SUNNYLANE RD                                                                    MOORE           OK    73160
DARRELL HASTON                                                           417 N DONALDSON DR                                                                     STILLWATER      OK    74075
DARRELL HEATH                                                            21 WILLOWCREEK RANCH ROAD                                                              TOMBALL         TX    77377
DARRELL HOOVER                                                           2312 WINDMILL LN                                                                       AMARILLO        TX    79124-1221
DARRELL J MANSELL                                                        4055 ROYAL AVE LOT 65                                                                  EUGENE          OR    97402
DARRELL LANCASTER                                                        PO BOX 324                                                                             PLEASANT VIEW   CO    81331-0324
DARRELL LEE STILES AND BILLIE J STI                                      3112 W GRANDSTAFF RD                                                                   CUSHING         OK    74023
DARRELL MOTTS                                                            815 S. JARDOT ROAD                                                                     STILLWATER      OK    74074


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                                                                                                                       9211 Lake Hefner
Darrell Muse                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Darrell Muse                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Darrell Muse                                                             2745 S. 96th East Ave                                                                   Tulsa            OK      74129
DARRELL OMMEN                                                            9985 BUTTE VIEW DRIVE                                                                   MARYSVILLE       CA      95901
DARRELL RICHARDSON                                                       684 E 850 N                                                                             OGDEN            UT      84404-3716
DARRELL ROEVER                                                           302 S MAIN ST                                                                           OKEENE           OK      73763
DARRELL SWITZER                                                          8225 N 1970 RD                                                                          LEEDEY           OK      73654
DARRELL THOMAS NASALROAD                                                 2421 VALLEY VIEW ROAD                                                                   EDMOND           OK      73034
DARRELL WALLER                                                           HC64 BOX 179                                                                            MARLOW           OK      73055-9864
DARRELL WESTFALL                                                         10809 E BURKHART RD                                                                     GLENCOE          OK      74032-3097
DARRELL WESTFALL                                                         10809 E BURKHART ST                                                                     GLENCOE          OK      74032
DARRELL YATES AND HEATHER W YATES                                        207 S OAKDALE DR                                                                        STILLWATER       OK      74074
DARREN ALLEN & LORI LYNN STRAUSS FA                                      626 SW 3RD ST                                                                           MOORE            OK      73160
DARREN AND CYNTHIA CALDWELL                                              705 NORTH LOCKWOOD VIEW                                                                 GARDEN CITY      UT      84028
DARREN BRESHEARS                                                         801 N MINGO #427                                                                        TULSA            OK      74116
DARREN CLARK                                                             11701 NW 114TH ST                                                                       YUKON            OK      73099-8181
DARREN CREWS                                                             627 FIR ST                                                                              PERRY            OK      73077

DARREN E CALDWELL CYNTHIA L CALDWEL                                      1200 WHITNEY COURT                                                                      STILLWATER       OK      74075
DARREN GREEN                                                             505 N 6TH ST                                                                            MOUNTAIN VIEW    OK      73062
DARREN HEATH                                                             1204 LOCUST GROVE RUN                                                                   PIEDMONT         OK      73078
DARREN MALASKA                                                           1016 STASSNEY LANE                                                                      AUSTIN           TX      78745-3075
DARREN REYNOLDS                                                          1564 Old Main                                                                           Lamont           OK      74643
DARREN THOMSPON                                                          3124 S PERKINS RD                                                                       STILLWATER       OK      74074-7161
DARREN UPSHAW                                                            7617 WIDE LOOP RD                                                                       BAKERSFIELD      CA      93309
                                                                                                                       9211 Lake Hefner
Darren Peters                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Darren Peters                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Darren Peters                                                            103 Mosier St                                                                           Norman           OK      73069
DARRICK RAINSS                                                           7500 S SANGRE RD                                                                        STILLWATER       OK      74074-8120
DARRIN Y HICKS                                                           215 W 29TH AVE                                                                          STILLWATER       OK      74074
DARROLD GRAHAM                                                           41078 E 48 RD                                                                           PAWNEE           OK      74058
DARRYL DAVID DISMUKE                                                     412 BEDFORD DRIVE                                                                       SPICEWOOD        TX      78669
DARRYL EVANS                                                             18852 FARALLON RD                                                                       MADERA           CA      93637
DARRYL HICKS                                                             PO BOX 2972                                                                             GRAPEVINE        TX      76099-2972
DARRYL V PARKHAM REV TRUST                                               4950 BLUE SKY DR                                                                        CASTLE ROCK      CO      80109
DARRYL WATTS                                                             919 N BLAINE                                                                            WELLINGTON       KS      67152
DARSHA SCHIEVINK                                                         1601 E ASH AVE                                                                          ENID             OK      73701-2601
DARWIN DRAKE                                                             175 REX ROAD                                                                            GEORGES HALL             2198         AUSTRALIA
DARWIN E LONG TR DTD 8-18-2016                                           2520 E 12TH AVE                                                                         STILLWATER       OK      74074
DARWIN HANSEN                                                            27208 COUNTY RD 255                                                                     SPRINGFIELD      CO      81073
DARWIN JOHNSON                                                           406 W 3RD ST                                                                            FREMONT          NE      68025-4802
DARY ENERGY LLC                                                          PO BOX 1966                                                                             ARDMORE          OK      73402-1966
DARYL AND MICHELE L OSMUS                                                540 BENTON RD                                                                           EDMOND           OK      73034-4625
DARYL BECKNER                                                            1612 N E 10TH                                                                           MOORE            OK      73160
Daryl Carrico                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Daryl Carrico                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Daryl Carrico                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Daryl Carrico                                                            501 S. Jules Ave                                                                        Cleveland        OK      74020
DARYL D PUCKETT                                                          12123 PLUMPOINT DRIVE                                                                   HOUSTON          TX      77099
DARYL G RICHARDSON                                                       120 NORTH 5TH                                                                           KINGFISHER       OK      73750
DARYL GENE BURGER TRUST                                                  2340 HAVERSHAM DR                                                                       LAWRENCE         KS      66049
DARYL HAAK                                                               2807 W 25TH AVE                                                                         STILLWATER       OK      74074
DARYL PATRICK KERR TRUST                                                 4348 GREENWOOD RD                                                                       WEATHERFORD      TX      76088
DARYL REESER                                                             PO BOX 331                                                                              GUTHRIE          OK      73044-0331
DARYL TESTERMAN                                                          2401 S WATSON AVE                                                                       VISALIA          CA      93277


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DASKEVICH ENTERPRISES INC                                                PO BOX 293                                                                             RANGER           TX      76470
DATA TECHNOLOGY SOLUTIONS LC                                             PO BOX 880                                                                             BREAUX BRIDGE    LA      70517
DATALOG LWT INC                                                          228 NW 59TH STREET                                                                     OKLAHOMA CITY    OK      73118
DATAPAGES INC                         AAPG DATA SYSTEMS                                                                                                         TULSA            OK      74101-0979
DAUBE PARTNERSHIP LTD                                                    PO BOX 38                                                                              ARDMORE          OK      73402
DAULITA M CHURCH                                                         5985 BELL HAVEN DR                                                                     HILLIARD         OH      43026
DAVE BUCKLES                                                             216 COVENTRY DR                                                                        HEWITT           TX      76643-4211
DAVE HOLKE CONSULTING INC                                                PO BOX 139                                                                             FREDERICKSBURG   TX      78624
DAVE HOLKE CONSULTING INC                                                120 STONE FOREST                                                                       FREDRICKSBURG    TX      78624-1309
DAVE PADDOCK                                                             7425 BLUELAKE DR                                                                       CORPUS CHRISTI   TX      78413
DAVE SHAFFER                                                             800 PEACHTREE ST NE APT 506                                                            ATLANTA          GA      30308-1251
                                                                                                                       9211 Lake Hefner
Dave Williams Jr.                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120

Dave Williams Jr.                     c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Dave Williams Jr.                                                        109 Windsor Way                                                                        Oklahoma City    OK      73110
DAVENPORT GROUP INC                                                      4166 LEXINGTON AVE NORTH                                                               ST PAUL          MN      55126
DAVENPORT OILFIELD SERVICES INC                                          PO BOX 248920                                                                          OKLAHOMA CITY    OK      73124-8920
DAVENPORT REI LLC                                                        13482 ARROWHEAD DR                                                                     GUTHRIE          OK      73044-7930
                                                                                                                       9211 Lake Hefner
David Flanagan                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
David Flanagan                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
David Flanagan                                                           2028 Polly Place                                                                       Guthrie          OK      73034
DAVID & MAURINE WORSHAM FAMILY TR D                                      11939 OXFORD CREEK LN                                                                  RIVERTON         UT      84065

DAVID & MAURINE WORSHAM FAMILY TRUS                                      11939 S OXFORD CREEK LN                                                                RIVERTON         UT      84065-8019
DAVID & PHYLLIS LAMBERT FAM TR 2120                                      5102 WOODLAND DRIVE                                                                    STILLWATER       OK      74074
DAVID & STELLA ETTINGER JT                                               1009 RICHMOND RD                                                                       BANGOR           PA      18013
DAVID A BASH JR LVG TRUST                                                PO BOX 12882                                                                           OKLAHOMA CITY    OK      73157-2882
DAVID A CHAFF                                                            29791 SW KINSMAN RD                                                                    WILSONVILLE      OR      97070
DAVID A DOWNEY                                                           1151 S PORTLAND                                                                        GUTHRIE          OK      73044
DAVID A HANSON REV TR 11/24/20                                           PO Box 2640                                                                            MIDLAND          TX      79702
DAVID A MURPHY                                                           1309 BOYLES COURT                                                                      STILLWATER       OK      74075
DAVID A ROBERSON II                                                      PO BOX 8                                                                               ADA              OK      74821-0008
DAVID A ROBERSON REV LIVING TR                                           PO BOX 8                                                                               ADA              OK      74821-0008
DAVID A SEELIG AND DEBRA K SEELIG H                                      340148 E 870 RD                                                                        CHANDLER         OK      74834
DAVID A WARD                                                             1818 ASHTON VILLAGE DR                                                                 SPRING           TX      77386
DAVID A WHITTEN TRUST                                                    3829 N CLASSEN SUITE 202                                                               OKLAHOMA CITY    OK      73118
DAVID AARON SPIVA SR                                                     1421 N BENJAMIN                                                                        STILLWATER       OK      74075
DAVID ADAMS                                                              6809 NW 19TH ST                                                                        BETHANY          OK      73008-5801
DAVID ADREAN                                                             24701 RAYMOND WAY SPC 18                                                               LAKE FOREST      CA      92630-4739
DAVID ALCOTT                                                             73 ADAMSON                                                                             ALLSTON          MA      02134-1322
DAVID ALLEN                                                              309 MAGEE AVE                                                                          MILL VALLEY      CA      94941
DAVID ALLEN                                                              18249 E MAIN ST APT 8302                                                               PARKER           CO      80134-4794
DAVID ALLEN                                                              501 PORTOLA RD STE 400                                                                 PORTOLA VALLEY   CA      94028-8620
DAVID ALLEN BIRD LVG TR                                                  PO BOX 2782                                                                            LITTLETON        CO      80161
DAVID AND CYNTHIA MANNAS, LLC                                            1717 MYALL STREET                                                                      ARDMORE          OK      73401
DAVID AND LELA BETH STRICKLAND HW J                                      18601 ALAMO                                                                            STILLWATER       OK      74075-2097
DAVID AND SUE A BRADSHAW JT                                              9 BROOKE CT                                                                            GETTYSBURG       PA      17325-6628
DAVID AND SUSAN JEWELL JTS                                               1742 E 161st STREET                                                                    BIXBY            OK      74008
DAVID AND TERI LONG REV TR                                               108 W QUANAH ST                                                                        BROKEN ARROW     OK      74011-4117
DAVID ANDERSON                                                           PO BOX 1416                                                                            STILLWATER       OK      74076
DAVID AXTELL                                                             PO BOX 151                                                                             MOAB             UT      84532-0151
DAVID BALL                                                               8484 VALLEY SPRINGS LN                                                                 STILLWATER       OK      74075
DAVID BARTHOLOME                                                         11801 NE SHERMAN RD                                                                    KANSAS CITY      MO      64156
DAVID BATTLE                                                             7140 NE 121ST ST                                                                       EDMOND           OK      73013
DAVID BEAL                                                               627 S WAGNER                                                                           STOCKTON         CA      95215
DAVID BENJAMIN MIKE SCHROEDER                                            3803 S PRAIRIE RD                                                                      STILLWATER       OK      74074-6119


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DAVID BENNETT                                                            1407 ANDOVER CT                                                                         OKLAHOMA CITY       OK       73120
DAVID BERSHOF                                                            7600 LANDMARK WY UNIT 602                                                               GREENWOOD VILLAGE   CO       80111
DAVID BEVERIDGE                                                          4613 LANDSCAPE DR                                                                       TAMPA               FL       33624
DAVID BIBB                                                               PO BOX 2642                                                                             LAS VEGAS           NM       87701
DAVID BLACKBURN                                                          1004 N GARFIELD                                                                         SAND SPRINGS        OK       74063
DAVID BLAIN PINSON LLC                                                   1512 DOWNING ST                                                                         THE VILLAGE         OK       73120
DAVID BLAKEMORE REV TR DTD 5-5-2009                                      15203 EAST SWEETGUM DR                                                                  WICHITA             KS       67230
DAVID BLAKENEY                                                           325 GROUSE HOLW                                                                         SANDPOINT           ID       83864-5049
DAVID BLEVINS                                                            8459 N PENNSYLVANIA AVE                                                                 CRESCENT            OK       73028
DAVID BLUE                                                               PO BOX 1090                                                                             TULSA               OK       74101
DAVID BOEPPLE                                                            9914 WOLF ST                                                                            WESTMINSTER         CO       80030
                                                                                                                       9211 Lake Hefner
David Bogle                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK       73120
                                      c/o Laminack, Pirtle & Martines,
David Bogle                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX       77006
David Bogle                                                              3710 S. Nassau Ave                                                                      Sand Springs        OK       74063
DAVID BOWEN AND                                                          532 PEACEFUL MEADOWS DR NE                                                              RIO RANCHO          NM       87144
DAVID BRADFIELD                                                          4106 TAMARACK DR                                                                        FORT WAYNE          IN       46835-3442
DAVID BRENT POTE                                                         125 S FORESTVIEW ST                                                                     WICHITA             KS       67235-8218
DAVID BROCK                                                              4616 CLUB DRIVE E 102                                                                   PORT CHARLOTTE      FL       33953
DAVID BROWN                                                              PO BOX 2634                                                                             ADA                 OK       74821-2634
DAVID BUFFINGTON                                                         PO BOX 2212                                                                             PAYSON              AZ       85547
DAVID BURSON                                                             4713 GAY ST                                                                             WICHITA FALLS       TX       76305
DAVID BYRNE                                                              23100 MARTINIQUE                                                                        EDMOND              OK       73025-9166
DAVID C HESSEL REV INTERVIVOS TR                                         5112 WOODLAND DR                                                                        STILLWATER          OK       74074
DAVID C WHITE                                                            409 MORTON AVE                                                                          MOUNDSVILLE         WV       26041-1616
DAVID CAMPBELL                                                           7407 ESTER RD                                                                           COCOA               FL       32927-0247
DAVID CARPENTER                                                          308 6TH ST                                                                              FOWLER              CO       81039
DAVID CARRIER                                                            1117 E KNAPP AVE                                                                        STILLWATER          OK       74075-5910
DAVID CARTER                                                             8904 GERANIUM COVE                                                                      AUSTIN              TX       78738
DAVID CARTMELL                                                           106 FAIRWAY DR                                                                          PERKINS             OK       74059-4454
DAVID CASEY                                                              3309 N COUNRY CLUB ROAD                                                                 STILLWATER          OK       74075
DAVID CHALMERS                                                           5600 SAN FELIPE ST UNIT 4                                                               HOUSTON             TX       77056-2617
DAVID CHANCE OWEN                                                        311 3RD STREET                                                                          CADDO               OK       74729
DAVID CHAPMAN                                                            171 THIRD AVE APT 103                                                                   SALT LAKE CITY      UT       84103-5007
DAVID CHERBONNIER                                                        2706 GREENBERRY ST                                                                      COLLEGE STATION     TX       77845-3836
DAVID CHOATE                                                             218 E HEMLOCK                                                                           ENID                OK       73701
DAVID CHRISTY NEWBAKER                                                   2776 VIAR RD                                                                            DYERSBURG           IN       38024
DAVID COKER                                                              260 S 102ND EAST AVE                                                                    TULSA               OK       74128-1236
DAVID COLLINS                                                            6 S 167 CANTERBURY CT                                                                   NAPERVILLE          IL       60540
David Crabtree                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX       75070
David Crabtree                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa               OK       74104
David Crabtree                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY       10017
David Crabtree                                                           504 County Road 6305                                                                    Ralston             OK       74650
DAVID CRAFT                                                              10 S JAY ST                                                                             LAKEWOOD            CO       80226-2256
DAVID CRAYCRAFT                                                          1505 WEST 116TH STREET                                                                  PERKINS             OK       74059
DAVID CROSS                                                              10988 S 257 E AVE                                                                       BROKEN ARROW        OK       74014-3975
DAVID CROSSFIELD                                                         14155 W CR 64                                                                           MARSHALL            OK       73056
DAVID CUMMINS                                                            2502 NE TURTLE CREEK DR                                                                 LAWTON              OK       73507-2343
DAVID CURRY                                                              115 W 4TH ST                                                                            WEWOKA              OK       74884
DAVID D & BEVERLY S CLICK REV TRUST                                      2644 NW 152ND                                                                           EDMOND              OK       73013
DAVID D HUNT FAMILY TRUST                                                12008 SHADY TRAIL LN                                                                    OKLAHOMA CITY       OK       73120
DAVID DAGGETT                                                            14848 CLAYTON STREET                                                                    THORNTON            CO       80602
DAVID DAVIDSON                                                           5616 S ROCKFORD PL                                                                      TULSA               OK       74105-8024
DAVID DAVIS                                                              3501 SNOWBALL TRL                                                                       AMARILLO            TX       79108-1932
DAVID DAVIS                                                              3123 BARNHILL DR                                                                        CHARLOTTE           NC       28205-6202
DAVID DELISLE                                                            8206 187TH STREET CT E                                                                  PUYALLUP            WA       98375-1868
DAVID DENNER                                                             1504 DRURY LN                                                                           NICHOLS HILLS       OK       73116
DAVID DIEHM                                                              14200 CR 220                                                                            RED ROCK            OK       74061


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DAVID DIXON                                                              20 LA LN                                                                               CONWAY            AR       72032-8739
DAVID DODD                                                               19605 CHESTERMERE CIR                                                                  EDMOND            OK       73012
DAVID DODD INC                                                           PO BOX 1756                                                                            EDMOND            OK       73083-1756
DAVID DOLEZAL                                                            8301 PIONEER                                                                           PERRY             OK       73077
DAVID DOTTER                                                             1613 MOUND ST                                                                          WINFIELD          KS       67156
DAVID DOWNING                                                            6846 PRAIRIE FLOWER TRL                                                                DALLAS            TX       75227
DAVID DUCKWORTH                                                          1456 HAWTHORNE AVE.                                                                    FRANKFORT         IN       46041-1017
DAVID DUWE                                                               2931 PANHANDLE DR                                                                      GRAPEVINE         TX       76051
DAVID E JAFEK & MARY ETTA JAFEK HWJ                                      5120 N BRUSH CREEK ROAD                                                                STILLWATER        OK       74075
DAVID E KETCHUM TRUST                                                    911 SPRINGWOOD LN                                                                      DUNCANVILLE       TX       75137
DAVID E MORGAN INC                                                       15 SAN ANDREAS DR                                                                      DANVILLE          CA       94506-2035
DAVID E PALM REV TRUST                                                   PO BOX 52940                                                                           TULSA             OK       74152
DAVID E RUHL                                                             3125 BEACON HILL STREET                                                                EDMOND            OK       73034
                                                                                                                       9211 Lake Hefner
David E. Grant                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
David E. Grant                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
David E. Grant                                                           6031 N. Garrison Pl                                                                    Tulsa             OK       74126
DAVID EDENFIELD                                                          3674 WESTHILLS PL                                                                      BELLINGHAM        WA       98226-4174
DAVID EDMISTON                                                           PO BOX 123                                                                             DUMAS             AR       71639

DAVID ELIJAH & YVONNE CUNNINGHAM HW                                      4305 E ROSE LANE                                                                       PARADISE VALLEY   AZ       85253
DAVID EMERSON                                                            6607 ROSEMOUNT DR NW                                                                   GIG HARBOR        WA       98335-6659
DAVID ERNEST WALKER                                                      10070 ISLE CIRCLE                                                                      PARKER            CO       80134
DAVID EUGENE MERZ                                                        9555 N RANCH DR                                                                        NEWKIRK           OK       74647
DAVID EVANS                                                              2365 QUEENS BRANCH RD                                                                  ROGUE RIVER       OR       97537
DAVID F & MARILYN WOMACK SIMS                                            1116 VISTA TRL                                                                         ROANOKE           TX       76262
DAVID F JOHNSON & OR ALICE L JOHNSO                                      2601 NW EXPRESSWAY STE 500W                                                            OKLAHOMA CITY     OK       73112
DAVID F SIMS SURVIVOR'S TRUST "A"                                        1116 VISTA TRL                                                                         KELLER            TX       76262-6805
DAVID FLACKMAN                                                           PO BOX 840738                                                                          DALLAS            TX       75284-0738
DAVID FLESHER                                                            2000 ROCKY POINT DR                                                                    EDMOND            OK       73003
DAVID FOCHT                                                              10018 S WASHINGTON                                                                     PERKINS           OK       74059
DAVID FOSTER                                                             PO BOX 55231                                                                           LITTLE ROCK       AR       72215-5231
DAVID FREEMAN                                                            PO BOX 801                                                                             LONGMONT          CO       80502-0801
DAVID FREEMAN                                                            5311 E HORSE RANCH RD                                                                  PERKINS           OK       74059-3802
DAVID FRETZ DECEASED                                                     18235 NASSAU BAY D                                                                     HOUSTON           TX       77058-3414
DAVID FRUSHER                                                            1034 BILLY THE KID ROAD                                                                FORT SUMNER       NM       88119
DAVID G & JOYCE L NICODEMUS TRUST                                        3123 S WASHINGTON ST                                                                   STILLWATER        OK       74074-6934
DAVID G MOORE                                                            9938 S 100TH EAST PLACE                                                                TULSA             OK       74133
DAVID GIBSON                                                             8808 LAKEAIRE DR                                                                       OKLAHOMA CITY     OK       73132
DAVID GLENN                                                              PO BOX 6327                                                                            SEVIERVILLE       TN       37864-6327
DAVID GREGG AUTERY                                                       615 MOCKINGBIRD LANE                                                                   WINTER HAVEN      FL       33881
DAVID GREGORY                                                            1409 BRIAR MEADOW DRIVE                                                                KELLER            TX       76248
DAVID GUEST                                                              PO BOX 3441                                                                            EDMOND            OK       73083-3441
DAVID GUST                                                               PO BOX 3441                                                                            EDMOND            OK       73083
DAVID GUTIERREZ                                                          19932 NE 185TH ST                                                                      WOODINVILLE       WA       98077
DAVID H & HELEN L JOHNSON REV TR                                         1501 W PLYMOUTH CIRCLE                                                                 BROKEN ARROW      OK       74012
DAVID H KAUTZ                                                            2021 W 92ND STREET                                                                     PERKINS           OK       74059
                                                                                                                       9211 Lake Hefner
David H. Levan                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
David H. Levan                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
David H. Levan                                                           686 E. Garden Canyon Dr                                                                Cleveland         OK       74020
DAVID HAKEN                                                              11085 W CR 59                                                                          MARSHALL          OK       73056
DAVID HAKEN                                                              PO BOX 61                                                                              MARSHALL          OK       73050
DAVID HALL                                                               PO BOX 34                                                                              RIPLEY            OK       74096
DAVID HAMIL                                                              241 S PINE GROVE ST                                                                    WICHITA           KS       67209-4061
DAVID HAMMOND                                                            20607 NORTH HIGHWAY 74                                                                 MARSHALL          OK       73056-8009
DAVID HAMPTON                                                            342113 E 830 RD                                                                        TRYON             OK       74875-6852


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DAVID HAMPTON                                                    342113 E 830 RD                                                                    TYRON             OK       74875-6852
DAVID HARDIN                                                     126 CONNOLLY DR                                                                    MCLOUD            OK       74851-8442
DAVID HARDY                                                      7105 ROBEY DR                                                                      EDMOND            OK       73034
DAVID HARDY                                                      985 E TAYLOR ST                                                                    RENO              NV       89502
DAVID HARRIS                                                     2716 N LAFAYETTE AVE                                                               BREMERTON         WA       98312
DAVID HARTSOCK                                                   5900 S LAKE FOREST DR STE 300                                                      MCKINNEY          TX       75070
DAVID HAYES                                                      3515 S. WESTERN ROAD                                                               STILLWATER        OK       74074
DAVID HAYS                                                       113 NW 3RD ST                                                                      BLANCHARD         OK       73010-5722
DAVID HEMPHILL                                                   1253 N. 3560 WEST                                                                  VERNAL            UT       84078
DAVID HENDRIX                                                    182 56TH PLACE                                                                     WEST DES MOINES   IA       50266
DAVID HENNEKE                                                    PO Box 3624                                                                        ENID              OK       73702
DAVID HENSLEY                                                    4339 VERSAILLES AVE                                                                DALLAS            TX       75205
DAVID HESSELL                                                    5112 WOODLAND DR                                                                   STILLWATER        OK       74074
DAVID HESSER                                                     4420 N UNION RD                                                                    GLENCOE           OK       74032
DAVID HESTER                                                     PO BOX 328                                                                         CUSHING           OK       74023-0328
DAVID HETHERINGTON                                               PO BOX 756                                                                         OZARK             MO       65721-0756
DAVID HOLBROOK                                                   11315 S BRUSH CREEK RD                                                             PERKINS           OK       74059-4368
DAVID HOLDERBY                                                   PO BOX 230                                                                         OKEMAH            OK       74859
DAVID HOLLE                                                      216 W MADISON ST                                                                   OSBORNE           KS       67473
DAVID HORGER                                                     33515 HALEY RD                                                                     WALLER            TX       77484-5111
DAVID HOWLAND                                                    13505 COUNTRY TRAILS LN                                                            AUSTIN            TX       78732
DAVID HOY                                                        913 E KRAYLER                                                                      STILLWATER        OK       74075
DAVID HUCKELBERRY                                                13412 IRONWOOD RD #7                                                               ELY               MN       55731
                                                                                                               9211 Lake Hefner
David Humphrey                        c/o Atkins & Markoff       Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104        Oklahoma City     OK       73120
David Humphrey                        c/o Girardi Keese          Attn: Thomas V. Girardi                       1126 Wilshire Blvd                   Los Angeles       CA       90017
DAVID HUMPHREY                                                   3020 ARNOLDI RD                                                                    PARK HILLS        MO       63601-8000
DAVID HUMPHREY                                                   306 E. PHILLIPS ST                                                                 RIPLEY            OK       74062
David Humphrey                                                   306 Phillips                                                                       Ripley            OK       74062
DAVID HUNZIKER                                                   310 S CHARLES DR                                                                   STILLWATER        OK       74074-6886
DAVID IMHOFF                                                     954 SHARON DRIVE                                                                   CAMARILLO         CA       93010-4950
DAVID INGRAM                                                     PO BOX 1712                                                                        SHAWNEE           OK       74802
DAVID IRA RUDDELL & REBECCA LYNN                                 3217 East 4th Avenue                                                               STILLWATER        OK       74075
DAVID J HARAK                                                    PO BOX 123                                                                         MARSHALL          OK       73056-0123
DAVID J HEIDEN                                                   13968 N 2970 ROAD                                                                  CRESCENT          OK       73028

DAVID J HOLCOMB                                                  5900 SOUTH LAKE FOREST DR STE 300                                                  MCKINNEY          TX       75070
DAVID J PIPLA                                                    202 SOUTH VIGINIA AVENUE                                                           MARSHALL          OK       73056-9782
DAVID J. THAIN                                                   3228 WHIPPOORWILL LANE                                                             ENID              OK       73703
DAVID JACKMAN JR                                                 PO BOX 637                                                                         WICHITA           KS       67201
DAVID JACOBS                                                     515 SIERRA LN                                                                      PLEASANT GROVE    UT       84062
                                                                                                               9211 Lake Hefner
David Jarrette                        c/o Atkins & Markoff       Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104        Oklahoma City     OK       73120
David Jarrette                        c/o Girardi Keese          Attn: Thomas V. Girardi                       1126 Wilshire Blvd                   Los Angeles       CA       90017
David Jarrette                                                   2714 N Kings Hwy                                                                   Cushing OK                 74023
DAVID JEFFREY                                                    3724 TIMBERLINE DRIVE                                                              STILLWATER        OK       74074
DAVID JOHN HEWITT                                                225 MANSION HEIGHTS DRIVE                                                          MISSOULA          MT       59803
DAVID JONES                                                      1719 N 29TH ST                                                                     BROKEN ARROW      OK       74014-4970
DAVID JONES                                                      1009 SW 42ND ST                                                                    MOORE             OK       73160
DAVID JONES                                                      3912 NW 60TH                                                                       OKLAHOMA CITY     OK       73112
DAVID K HARPER EXEMPT TRUST 3-12-20                              5808 PATHFINDER TRAIL                                                              PLANO             TX       75093
DAVID KEITH HAKEN                                                11085 W COUNTY ROAD 60                                                             MARSHALL          OK       73056
DAVID KIRK                                                       2713 RACQUET CLUB DR                                                               MIDLAND           TX       79705
DAVID KIRK                                                       607 FLAT CREEK CIR                                                                 WOODWARD          OK       73801-6811
DAVID KNOX                                                       780075 S 3320 RD                                                                   PERKINS           OK       74075
DAVID KROLL                                                      PO BOX 425                                                                         ALTUS             OK       73522
DAVID KUYKENDALL                                                 3801 W MAIN ST                                                                     CUSHING           OK       74023-5640
DAVID L & PAULA R FRY REV LVG TRUST                              25 DEL RANCHO LN                                                                   SHAWNEE           OK       74804
DAVID L BLAKLEY REV TRUST                                        8615 E REED RD                                                                     DOUGLAS           OK       73733


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              CreditorName            CreditorNoticeName                          Address1                            Address2                 Address3            City      State       Zip      Country
DAVID L DEBORD                                                     12409 SW 10TH ST                                                                       YUKON              OK      73099
DAVID L JACOB                                                      630 MELODY LANE                                                                        LAKEWOOD VILLAGE   TX      75068
DAVID L ROBINSON DDS                                               1048 N WILLOW RD                                                                       SAND SPRINGS       OK      74063
DAVID L. REYNOLDS TRUST                                            1707 AVE E                                                                             NETHERLAND         TX      77627
DAVID LAHMAN                                                       635 POWERS RD                                                                          CONKLIN            NY      13748-1307
DAVID LAMB                                                         14434 141ST PL SE                                                                      RENTON             WA      98059
DAVID LAMBERT                                                      5102 W. WOODLAND DRIVE                                                                 STILLWATER         OK      74074
DAVID LANCE                                                        2438 N CARSON ST                                                                       CARSON CITY        NV      89706-1623
DAVID LEROY FRETZ                                                  618 MAGNOLIA BEND ST                                                                   LEAGUE CITY        TX      77573-4630
DAVID LEROY SILVERS                                                809 E 4TH                                                                              CUSHING            OK      74023
DAVID LINN                                                         93 WEST DR                                                                             CLARKSVILLE        TN      37040
DAVID LONG ENTERPRISES LLC                                         PO BOX 714                                                                             GUYMON             OK      73942
DAVID LOYE                                                         25700 SHAFTER WAY                                                                      CARMEL             CA      93923
DAVID LYNN MASSEY                                                  16619 SHORECREST DR                                                                    HOUSTON            TX      77095
                                                                                                                 9211 Lake Hefner
David Lytle                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                c/o Laminack, Pirtle & Martines,
David Lytle                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
David Lytle                                                        1120 S. 220th West Ave                                                                 Sand Springs       OK      74063
DAVID M DELAHAY SR                                                 396375 W 2400 RD                                                                       BARTLESVILLE       OK      74006
DAVID M NIGHTENGALE ESTATE                                         23750 CARSON DR BOX 18                                                                 PIONEER            CA      95666
DAVID MAGGARD                                                      26 MEADOW LAKE DR                                                                      ELLISVILLE         MS      39437-9200
DAVID MARK JOHNSON                                                 1602 ROBIN LANE NW                                                                     OLYMPIA            WA      98502
DAVID MARK LONGAN                                                  PO BOX 316                                                                             TILDEN             TX      78072-0316
DAVID MARTIN                                                       1526 BIRCH ST                                                                          CANON CITY         CO      81212
DAVID MATTOCKS                                                     2309 KENT DR                                                                           BAKERSFIELD        CA      93306-3512
DAVID MCDANNALD                                                    RT. 2 BOX 56A                                                                          VICI               OK      73859
DAVID MCDOWELL                                                     8407 NE 55TH ST                                                                        VANCOUVER          WA      98662
DAVID MCENTIRE                                                     200 RED BLUFF DRIVE                                                                    HICKORY CREEK      TX      75065
DAVID MEIER                                                        5504 INVERARY DR                                                                       EDMOND             OK      73025
DAVID MICHAEL BLEVINS TTEE OF                                      1312 S 11TH ST                                                                         KINGFISHER         OK      73750
DAVID MICHAEL GLAHN                                                3909 W RITICHIE AVE                                                                    ENID               OK      73703-7306
DAVID MONROE SMITH                                                 33230 SHERWOOD DR                                                                      LAKE ELSINORE      CA      92530-5446
DAVID MONTGOMERY                                                   1707 BOWIE DR                                                                          VICTORIA           TX      77901-3159
DAVID MORING                                                       PO BOX 161                                                                             WIBAUX             MT      59353
DAVID MORRIS                                                       PO BOX 35                                                                              CREEDE             CO      81130
DAVID MURDOCH                                                      731 ASPEN LANE                                                                         LEBANON            PA      17042-9080
DAVID MURPHY                                                       123 S HUDSON AVE                                                                       OKLAHOMA CITY      OK      73102-5020
DAVID NEMECHEK                                                     14851 JOHN WAYNE                                                                       PERRY              OK      73077
DAVID NEWBAKER                                                     276 VIAR RD                                                                            DYERSBURG          TN      38024
DAVID NEWBAKER                                                     818 W MOLLY LN                                                                         PHOENIX            AZ      85085
DAVID NORTHCUTT                                                    11900 DALTON DR                                                                        OKLAHOMA CITY      OK      73162-1082
DAVID O CORDELL                                                    2148 EAST 25TH STREET                                                                  TULSA              OK      74114
DAVID OAKES                                                        2120 W 26TH                                                                            STILLWATER         OK      74074
DAVID ONEILL                                                       420 SKYRIDGE TRL                                                                       NOBLE              OK      73068
DAVID ORR                                                          208 FAIRWAY DR                                                                         PERKINS            OK      74059-4456
                                                                                                                 9211 Lake Hefner
David O'Steen                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                c/o Laminack, Pirtle & Martines,
David O'Steen                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
David O'Steen                                                      10471 S 195th West Pl                                                                  Sapulpa            OK      74066
DAVID OVERTON                                                      13 EL CERRITO DRIVE                                                                    CHICO              CA      95973
DAVID OWENS                                                        PO Box 2640                                                                            MIDLAND            TX      79702
DAVID P CRAMER                                                     2014 PINEHURST CT                                                                      MERCED             CA      95340
DAVID P FOLKS 2004 TRUST                                           PO BOX 2198                                                                            EDMOND             OK      73083
DAVID PAUL AUSTIN                                                  1051 HUNTER DR                                                                         PALM SPRINGS       CA      92262-6192
DAVID PAUL KENNEDY                                                 4711 LYNN ST                                                                           GUTHRIE            OK      73044
DAVID PEMBERTON                                                    4720 HIGHWAY 231                                                                       SPRINGDALE         WA      99173-9604
DAVID PETERMANN                                                    712 E 6TH STREET SUITE G                                                               STILLWATER         OK      74074


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               CreditorName                  CreditorNoticeName                           Address1                 Address2              Address3                    City    State       Zip      Country
DAVID PETERS                                                           15427 AVENIDA SOCORRO                                                            LAMIRADA             CA      90638
DAVID PETERS                                                           3720 E 116TH ST                                                                  PERKINS              OK      74059
DAVID PETTIT                                                           9208 BARNES DR                                                                   CASTLE ROCK          WA      98611
David Phillips                        c/o Allen Stewart, PC            Attn: Allen M Stewart                  325 N Saint Paul St   Ste. 4000           Dallas               TX      75070
David Phillips                        c/o Drummond Law, PLLC           Attn: Donald A Lepp                    1500 South Utica      Ste. 400            Tulsa                OK      74104
David Phillips                        c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                  747 3rd Ave                               New York             NY      10017
David Phillips                                                         5895 CR 2145                                                                     Bartlesville         OK      74003
DAVID PLETCHER                                                         5655 HERITAGE LN                                                                 PIEDMONT             OK      73078
DAVID POLLOCK                                                          1344 WESTHAMPTON WOODS CT                                                        CHESTERFIELD         MO      63005
DAVID R DELANO AND SUSANA I DELANO                                     116 ELM ST SW                                                                    VIENNA               VA      22180-6314
DAVID R ELLSPERMANN                                                    2403 S E 19TH CIRCLE                                                             OCALA                FL      34471

DAVID R JUDD                                                           5900 SOUTH LAKE FOREST DR STE 300                                                MCKINNEY             TX      75070
DAVID R MILSTEN REV TRUST                                              7907 IVY LN                                                                      PIKESVILLE           MD      21208

DAVID R. GRAHAM AND DONNA L. GRAHAM                                    3109 Whippoorwill Lane                                                           Enid                 OK      73703
DAVID RAINES                                                           PO BOX 4568                                                                      PINEVILLE            LA      71361
DAVID RAINS                                                            3705 WALDEN ESTATES DR                                                           MONTGOMERY           TX      77356-8044
DAVID RAINSS                                                           3705 WALDEN ESTATES DR                                                           MONTGOMERY           TX      77356-8044
DAVID RAY BUFFINGTON                                                   605 PHEASANT RIDGE DR                                                            PERRY                OK      73077
DAVID REAVES                                                           39340 HALLELUJAH CT                                                              SOLDOTNA             AK      99669
DAVID REED                                                             624 W FIRST                                                                      EDMOND               OK      73003
David Reid                            c/o Keith A. Ward, PLLC          Attn: Keith A Ward                     1874 S Boulder                            Tulsa                OK      74119
David Reid                            c/o Poynter Law Group            Attn: Scott E Poynter                  400 W Capitol Ave     Ste. 2910           Little Rock          AR      72201
                                      c/o Steel Wright Gray & Hutchinson
David Reid                            PLLC                               Attn: Nate Steel                     400 W Capitol Ave     Ste. 2910           Little Rock          AR      72201
David Reid                            c/o Watson & Watson                Attn: Charles D Watson Jr.           PO Box 647            141 E Broadway St   Drumright            OK      74030
David Reid                            c/o Weitz & Luxenberg, PC          Attn: Curt D Marshall                700 Broadway                              New York             NY      10003
David Reid                                                               202 N. Harrison Ave                                                            Cushing              OK      74023
DAVID RENTFROW                                                           3900 W TOLEDO CIR                                                              BROKEN ARROW         OK      74012-6129
DAVID REYNOLDS                                                           66499 N CENTERVILL RD                                                          STURGIS              MI      49091
DAVID RHODES                                                             11 PINEVIEW AVE                                                                DELMAR               NY      12054-3221
DAVID ROBERTS                                                            306 W 49TH ST                                                                  SAND SPRINGS         OK      74063
DAVID ROBERTSON                                                          578 BOCA CIEGA POINT BLVD N                                                    MADEIRA BEACH        FL      33708
DAVID ROBINSON                                                           1112 103RD ST                                                                  GALVESTON            TX      77554
DAVID ROLLINS                                                            6719 W 9TH ST                                                                  CUSHING              OK      74023-5815
DAVID ROWE                                                               PO BOX 153                                                                     OROVILLE             WA      98844-0153
DAVID RUCKER                                                             12721 NW 75TH ST                                                               PARKLAND             FL      33076
DAVID S FRENCH & JENNIFER N FRENCH                                       306 N Young ST                                                                 STILLWATER           OK      74075
DAVID SALLMAN                                                            1197 OAK TRAIL DRIVE                                                           LIBERTYVILLE         IL      60048
DAVID SALVERSON                                                          5049 SHORES ACRES BLVD                                                         SAINT PETERSBURG     FL      33703
DAVID SCHEDLER                                                           3501 BREWSTER DRIVE                                                            PLANO                TX      75025
DAVID SCHRAMMEL                                                          24497 N SOONER RD                                                              ORLANDO              OK      73073
DAVID SCHROEDER                                                          3803 S PRAIRIE RD                                                              STILLWATER           OK      74074
DAVID SCHULTZ                                                            2009 N ROSS AVE                                                                OKLAHOMA CITY        OK      73107-3237
DAVID SCHUMAN                                                            1 CLAIRE DRIVE                                                                 HILTON HEAD ISLAND   SC      29928
DAVID SCOTT                                                              56742 S COUNTY RD 211                                                          MUTUAL               OK      73853
DAVID SEARS                                                              1166 N MADISON AVELOT 127                                                      LOVELAND             CO      80537
DAVID SHARP                                                              10220 PROVINCETOWN CT                                                          FAIRFAX              VA      22032
DAVID SHARP                                                              PO BOX 86                                                                      LEEDEY               OK      73654-0086

DAVID SHERMAN                                                          5900 SOUTH LAKE FOREST DR STE 300                                                MCKINNEY             TX      75070
DAVID SHIPPY                                                           3434 WOODLAND PARKS RD                                                           GRANTS PASS          OR      97526
DAVID SHOUP                                                            PO BOX 5067                                                                      SILVER CITY          NM      88062-5067
DAVID SLOAN                                                            4517 CLARK PLACE NW                                                              WASHINGTON           DC      20007
DAVID SMITH                                                            3201 N HIWASSEE RD                                                               ARCADIA              OK      73007
DAVID SMITH                                                            7114 N RIPLEY RD                                                                 GLENCOE              OK      74032
DAVID SMITH                                                            506 VICKSBURG WAY                                                                SOUTHLAKE            TX      76092-9369
DAVID SPEED                                                            PO BOX 485                                                                       PIEDMONT             OK      73078


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DAVID SPEERS                                                             700 HOMESTEAD AVE                                                                      HAVERTOWN         PA      19083
DAVID SPENCER                                                            213 BARRY CT                                                                           LONGWOOD          FL      32779-5833
DAVID SPILLANE                                                           2823 W MCMURTY RD                                                                      STILLWATER        OK      74075
DAVID STEWART                                                            3415 SHENANDOAH DR                                                                     CEDAR PARK        TX      78613
DAVID STEWART                                                            13745 FLINT ST                                                                         OVERLAND PARK     KS      66221
DAVID STOUT                                                              1301 KINGSWAY COURT                                                                    YUKON             OK      73099
DAVID STROMBERG                                                          2622 E 56TH ST                                                                         STILLWATER        OK      74074
DAVID SWAIN                                                              11528 S 4TH ST                                                                         JENKS             OK      74037
DAVID SWANK                                                              909 W TIMBERDELL ROAD                                                                  NORMAN            OK      73072
DAVID SWANK                                                              1716 S HILLSIDE ST                                                                     STILLWATER        OK      74074
DAVID SWANK REV LIVING TR                                                909 TIMBERDELL RD                                                                      NORMAN            OK      73072
DAVID TAKACS                                                             676 KENNETH AVE                                                                        CAMPBELL          CA      95008-4604
DAVID TANNER                                                             116 WHITETAIL DR                                                                       SAN MARCOS        TX      78666-9731
DAVID TEEGARDEN                                                          116 WHISPERING PINES DRIVE                                                             BULLARD           TX      75757-8818
DAVID TESTERMAN                                                          PO BOX 36                                                                              FRANKLIN          NH      03235
DAVID THOMPSON                                                           215 KING HWY APT 2C                                                                    W SPRINGFIELD     MA      01089
DAVID TOLSON                                                             1155 SE 70TH ST                                                                        LAREDO            MO      64652
DAVID TRENT PARKINSON                                                    806 CHAPEL VIEW ROAD                                                                   WACO              TX      76712-8701
DAVID TRYON                                                              18191 TYLER - FOOTE RD                                                                 NEVADA CITY       CA      95959-9376

DAVID TUCKER DBA TUCKERS WELDING SE                                      PO BOX 143                                                                             Fairview          OK      73737
DAVID V BERRY                                                            8309 CAMDEN COURT                                                                      ROWLETT           TX      75089
DAVID VAN DYKE                                                           604 E CRANDALL ST                                                                      MEADVILLE         MO      64659-9240
DAVID VAN METER                                                          1300 MANCHESTER CIR                                                                    FALLON            NV      89406

DAVID W   CHINN                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
DAVID W   DAVIS                                                          PO BOX 324                                                                             AGRA              OK      74824
DAVID W   HEMBREE                                                        5501 N POST ROAD                                                                       GUTHRIE           OK      73044
DAVID W   SLOAN                                                          209 COLLEGE PARK DR                                                                    SEAL BEACH        CA      90740-2530
DAVID W   SMITH REVOCABLE TRUST                                          10708 SHORESIDE DR                                                                     OKLAHOMA CITY     OK      73170

DAVID W WALSH                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
                                                                                                                       9211 Lake Hefner
David W. Smith                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
David W. Smith                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
David W. Smith                                                           301 E Maple St                                                                         Cushing           OK      74023
                                                                                                                       9211 Lake Hefner
David W. Archer                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
David W. Archer                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
David W. Archer                                                          2832 NW 170th Ct                                                                       Edmond            OK      73012
DAVID WALLIS                                                             547 MARENGO AVE                                                                        FOREST PARK       IL      60130
DAVID WARNER                                                             715 36TH AVE NE                                                                        NORMAN            OK      73026
DAVID WATTS                                                              424 S MAIN                                                                             BOERNE            TX      78006
DAVID WAYNE COE                                                          ROCKY TOP RANCH                                                                        PERRY             OK      70377
DAVID WELSH                                                              12000 DOVER DRIVE                                                                      OKLAHOMA CITY     OK      73162
DAVID WESLEY BENNETT                                                     903 ELMWOOD DR                                                                         BAYTOWN           TX      77520
DAVID WHITLOCK                                                           728 190TH AVENUE                                                                       BALSAM LAKE       WI      54810
DAVID WHITNEY                                                            735 FOXWICK DR                                                                         BALLWIN           MO      63011-4234
DAVID WILLIAMS                                                           PO BOX 12087                                                                           DALLAS            TX      75225-0087

DAVID WILSON                                                             5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
DAVID WISS                                                               16401 E 38TH ST CT S                                                                   INDEPENDENCE      MO      64055
DAVID WOLF                                                               314 S PINE                                                                             CRESCENT          OK      73028
DAVID WOLFF                                                              10375 W IDAHO PL                                                                       LAKEWOOD          CO      80232-5019
DAVID ZEILER                                                             9321 STONEWALL LN                                                                      NEW PORT RICHEY   FL      34655-1526
DAVID ZIMMERMAN                                                          1205 RIDGEWAY DR                                                                       RICHARDSON        TX      75080



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                                                                                                                      9211 Lake Hefner
David Bonar                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
David Bonar                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
David Bonar                                                             6210 NW 36th St                                                                        Bethany           OK      73008
                                                                                                                      9211 Lake Hefner
David Brooks                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
David Brooks                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
David Brooks                                                            320 NW 79th St                                                                         Oklahoma City     OK      73114
David Brooks                                                            4905 Beacon Hill Rd                                                                    Oklahoma City     OK      73135
                                                                                                                      9211 Lake Hefner
David Burgess                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
David Burgess                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
David Burgess                                                           519 E. 10th St                                                                         Chandler          OK      74834
David Burgess                                                           2826 Shady Oak                                                                         Memphis           TN      38112
                                                                                                                      9211 Lake Hefner
David Grissam                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
David Grissam                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
David Grissam                                                           6991 N Dobbs Rd                                                                        Harrah            OK      73045
                                                                                                                      9211 Lake Hefner
David Jackson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
David Jackson                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
David Jackson                                                           5805 N. Meridian Pl                                                                    Oklahoma City     OK      73112
                                                                                                                      9211 Lake Hefner
David Main                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
David Main                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
David Main                                                              8600 Meadow Hill                                                                       Edmond            OK      73034
                                                                                                                      9211 Lake Hefner
David Rowden                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
David Rowden                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
David Rowden                                                            870278 S. 3430 Rd                                                                      Chandler          OK      74834
                                                                                                                      9211 Lake Hefner
David Toby                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
David Toby                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
David Toby                                                              3107 SE 14th                                                                           Smith Village     OK      73115
DAVIDA LE                                                               209 COLFAX AVE                                                                         RATON             NM      87740
DAVIS - LYNCH                                                           PO BOX 203437                                                                          DALLAS            TX      75320-3437
DAVIS & DAVIS COMPANY                                                   2249 W COLLEGE AVE                                                                     ENGLEWOOD         CO      80110
DAVIS BROTHERS LLC                                                      DEPT 607                                                                               TULSA             OK      74182-0001
DAVIS FARMS                                                             3919 S BROADWAY                                                                        GUTHRIE           OK      73044
DAVIS HOLDINGS LP                                                       1221 MCKINNEY ST SUITE 3100                                                            HOUSTON           TX      77010
DAVIS LEGACY LLC                                                        12309 ARTHUR AVE                                                                       OKLAHOMA CITY     OK      73142
DAVIS MINERAL GROUP LLC                                                 110 WEST 7TH STREET STE 1000                                                           TULSA             OK      74119
DAVIS OPERATING COMPANY                                                 401 S BOSTON AVE STE 2800                                                              TULSA             OK      74103-4064
Davis, Braeden                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
Davis, Seth                          c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
Davis, Stephanie                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
DAVIS-KINZIE CHILDREN'S TRUST DTD.                                      PO BOX 350                                                                             CUSHING           OK      74023
DAVISON FAMILY TRUST                                                    PO BOX 837                                                                             OWASSO            OK      74055-0837
DAVON OIL COMPANY                                                       PO BOX 14665                                                                           OKLAHOMA CITY     OK      73113-0665
DAWN BELKNAP                                                            3416 N 207TH ST                                                                        ELKHORN           NE      68022
DAWN KUKUK                                                              PO BOX 527                                                                             PERRY             OK      73077-0527


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DAWN LYNNE STEINCAMP                                                     228 W DELMAR STREET                                                                    BROKEN ARROW      OK      74012
DAWN OVEL                                                                1134 LAKEVIEW DR                                                                       STAFFORD          VA      22556-1299
DAWN ROHRS                                                               4400 APACHE RD NE                                                                      PIEDMONT          OK      73078
DAWN SHRUM                                                               1825 FOSTER DR                                                                         CONWAY            AR      72034
DAWN VANBUSKINK                                                          10919 E 68TH ST                                                                        RIPLEY            OK      74062-6296
DAWNA JOHNSON                                                            406 W 3RD ST                                                                           FREMONT           NE      68025-4802
DAWNE ORMISTON                                                           1700 TWEED COURT                                                                       RAYMORE           MO      64083
DAWSON GEOPHYSICAL COMPANY                                               508 W WALL ST STE 800                                                                  MIDLAND           TX      79701-5010
Dawson, Ryan                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
DAX RAINS                                                                9119 S SANGRE RD                                                                       PERKINS           OK      74059-4189
DAY & DAY DESIGNS INC                                                    3508 BIG FOOT ST                                                                       MANHATTAN         KS      66503
DAY COUNTY SERVICES LLC                                                  183922 E CO RD 60                                                                      ARNETT            OK      73832
DAY COUNTY SERVICES LLC                                                  183922 E County Road 60                                                                Arnett            OK      73832
DAY FAMILY TRUST                                                         73 BAY RIDGE ROAD                                                                      LAKEVIEW          AR      72642-7122
Day, Troy                             c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
DAYTON ROSE                                                              301 NW 63RD ST STE 600                                                                 OKLAHOMA CITY     OK      73116
DB SWAGGER LLC                                                           PO BOX 31883                                                                           EDMOND            OK      73003-0032
DBR ENERGY INVESTMENTS LLC                                               612 DUKE SAXONY DR                                                                     LEWISVILLE        TX      75056-5610
DC Office of Finance and Treasury     Unclaimed Property Unit            1101 4th St. SW, Ste. 800 W                                                            Washington        DC      20024
DCJSD FAMILY LLC                      CIMARRON NATL GC                                                                                                          GUTHRIE           OK      73044
DCK LLC                                                                  4141 HIGHLINE BLVD STE 18                                                              OKLAHOMA CITY     OK      78108
DCP MIDSTREAM LP                                                         370 17TH STREET SUITE 2500                                                             DENVER            CO      80202
DCP OPERATING COMPANY LP                                                 5718 WESTHEIMER ROAD, STE 1900                                                         HOUSTON           TX      77057
DD OLDHAM LLC                                                            1003 HILL ST                                                                           DURANT            OK      74701
DD SOUTHERN HOLDINGS LLC                                                 11705 SE 321ST PL                                                                      AUBURN            WA      98092-4845

DDE PARTNERSHIP                                                          301 EAST LAS OLAS BLVD., SUITE 800                                                     FORT LAUDERDALE   FL      33301
DDN PROPERTIES LLC                                                       PO BOX 17                                                                              STILLWATER        OK      74076
DDT INC                                                                  PO BOX 13525                                                                           OKLAHOMA CITY     OK      73113
DE LAGE LANDEN FINANCIAL SVC INC                                         PO BOX 41602                                                                           PHILADELPHIA      PA      19101-1602
DEA DENISE RASH FAMILY TRUST                                             2121 EAST WILL ROGERS DRIVE                                                            STILLWATER        OK      74075
DEACONESS FOUNDATION                                                     5701 N PORTLAND STE 103                                                                OKLAHOMA CITY     OK      73112-1670
DEADCENTER FILM FESTIVAL INC                                             726 W SHERIDAN AVE STE 170                                                             OKLAHOMA CITY     OK      73102-2412
DEAH STUBBS                                                              711 N 14TH ST                                                                          PERRY             OK      73077
Deal, Toby                            c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
DEALING FOR DREAMS                                                       PO Box 720968                                                                          OKLAHOMA CITY     OK      73172
DEAN APEL                                                                11404 W 104TH ST                                                                       OVERLAND PARK     KS      66214
                                                                                                                       9211 Lake Hefner
Dean Brian Johnson                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Dean Brian Johnson                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Dean Brian Johnson                                                       2714 Quail Ridge St                                                                    Stillwater        OK      74074
DEAN EARP                                                                342191 E. 980 ROAD                                                                     CHANDLER          OK      74834
DEAN FAMILY TRUST                                                        2005 BOYD AVENUE                                                                       MIDLAND           TX      79705

DEAN P WALKER & KONDA E WALKER HWJT                                      17462 YELLOWSTONE DR                                                                   EAGLE RIVER       AK      99577
DEAN PATTON                                                              200 ELCANO DR                                                                          HOT SPRINGS       AR      71909-7870
DEAN POST                                                                PO BOX 831                                                                             CLATYON           OK      74536
DEAN WINTER                                                              4408 SLATE BRIDGE DR                                                                   EDMOND            OK      73034-7085
DEANA RAE WORTHINGTON                                                    3615 NW 17TH                                                                           OKLAHOMA CITY     OK      73107
DEANA STUBBLEFIELD                                                       4262 E DAYTON AVE, APT H                                                               FRESNO            CA      93726-6100
DEANER & COMPANY                                                         PO BOX 2136                                                                            CENTENNIAL        CO      80161-2136
                                                                                                                       9211 Lake Hefner
Deanjelo Bradley                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Deanjelo Bradley                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Deanjelo Bradley                                                         6175 N Choctaw Rd                                                                      Choctaw           OK      73020
DEANN GRAMMER                                                            2337 E COLLEGE AVE                                                                     VISALIA           CA      93292-1533
DEANN MOORE REV LIVING TR DTD 5-22-                                      2315 SOUTH 60TH ST E                                                                   MUSKOGEE          OK      74403


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DEANN PITER                                                              7745 E GREENS AVE APT# 106                                                              BIXBY            OK      74008
DEANNA BARNETT                                                           10401 S ALLEN DR                                                                        OKLAHOMA CITY    OK      73139
DEANNA DILLINGHAM                                                        13000 N MAY AVE APT 361                                                                 OKLAHOMA CITY    OK      73120-0814
DEANNA DILLINGHAM LIV TR                                                 13000 N MAY AVE APT 361                                                                 OKLAHOMA CITY    OK      73120-0814
DEANNA INEZ SPEARS & ROMA LEE                                            9064 LAKEVIEW CT                                                                        ZEELAND          MI      49464
DEANNA JENKINS                                                           PO BOX 354                                                                              BELLE PLAINE     KS      67013
DEANNA JOHNSON                                                           406 W 3RD ST                                                                            FREMONT          NE      68025-4802
                                                                                                                       9211 Lake Hefner
Deanna L. Campano                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Deanna L. Campano                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Deanna L. Campano                                                        1665 S. Walnut Ave                                                                      Broken Arrow     OK      74012
DEANNA LYNN DAVIDSON-JOHNSON &                                           34864 WEST GREEN ROAD                                                                   MANNFORD         OK      74044
DEANNA LYNN VARGAS                                                       1803 LOMA LINDA STREET                                                                  VERNON           TX      76384
DEANNA M. BOSCH                                                          2010 LUBBOCK                                                                            HOUSTON          TX      77007
DEANNA MARTINEZ                                                          2413 KANSAS STREET                                                                      WOODWARD         OK      73801
DEANNA ROSS                                                              218 PONDEROSA DR                                                                        WOODWARD         OK      73801-6041
DEANNA RUPP THIMELL                                                      6127 S 28TH W AVE                                                                       TULSA            OK      74132
DEANNA STASIEWICZ                                                        2707 N DUBLIN CT                                                                        WICHITA          KS      67226-1842
DEANNA STASIEWICZ TRUST                                                  2707 N DUBLIN CT                                                                        WICHITA          KS      67226
DEANNA SUE FRANK                                                         3104 E PEACHTREE AVE                                                                    STILLWATER       OK      74074-6616
DEANNA T DILLINGHAM LIVING TRUST                                         13000 N MAY AVE APT 361                                                                 OKLAHOMA CITY    OK      73120-0814
DEANNA VARGAS                                                            1803 LOMA LINDA                                                                         VERNON           TX      76384
DEANNA WARD                                                              1305 RIDGEWAY DRIVE                                                                     MOORE            OK      73160
                                                                                                                       9211 Lake Hefner
Deanna Davenport                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Deanna Davenport                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Deanna Davenport                                                         3524 NW 24th St                                                                         Oklahoma City    OK      73107
DEANNE FREEMAN                                                           104 SUNSET LN                                                                           WOODWARD         OK      73801-1711
DEAN'S CASING SERVICE                                                    PO BOX 787                                                                              HOLDENVILLE      OK      74848-0787
DEARBORN NATIONAL LIFE INSURANCE CO                                      36788 EAGLE WAY                                                                         CHICAGO          IL      60678-1367
DEARING INC                                                              PO BOX 142169                                                                           IRVING           TX      75014-2169
DEARMOND'S BIT SERVICE INC                                               PO BOX 6297                                                                             FORT SMITH       AR      72906-6297
DEASON RESOURCES INC                                                     3808 DEASON DRIVE                                                                       EDMOND           OK      73013
DEAUNNA THOMAS                                                           14130 N LAKE ROAD                                                                       MAGAZINE         AR      72943
DEB ELLEDGE                                                              523 BLAZE AVE                                                                           SAN ANTONIO      TX      78218-2627
DEBBIE AUSTIN                                                            272 SHERBROOK RD                                                                        LINDENHURST      NY      11757-1729
Debbie Badgwell                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Debbie Badgwell                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Debbie Badgwell                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Debbie Badgwell                                                          55786 S. 363640 Rd                                                                      Terlton          OK      74081
DEBBIE BANNISTER                                                         3101 BLENDON RD                                                                         OWINGS MILLS     MD      21117
DEBBIE BARTELS                                                           1462 DURWOOD RD                                                                         ARDMORE          OK      73401-7487
DEBBIE DREW                                                              20407 WALKER ST                                                                         HARRAH           OK      73045
DEBBIE G SMITH                                                           12354 DEER VALLEY RD                                                                    GUTHRIE          OK      73044
                                                                                                                                                                                                       NEW
DEBBIE HEDDER                                                            589 TAUHOA ROAD RD4                                                                     WARKWORTH                984          ZEALAND
DEBBIE HEEKIN                                                            12621 LEWIS ST #23                                                                      GARDEN GROVE     CA      92840
                                                                                                                                                                 WARKWORTH -                           NEW
DEBBIE HODDER                                                            589 TAUHOA RD RD4                                                                       AUCKLAND                 984          ZEALAND
DEBBIE JO RESOURCES LLC                                                  1219 VILLAS CREEK DR                                                                    EDMOND           OK      73003
DEBBIE KEHRES                                                            211 CAROLINE ST APT L3                                                                  CAPE CANAVERAL   FL      32920
DEBBIE KEHRES                                                            211 CAROLINE STAPT 13                                                                   CAPE CANAVERAL   FL      32920
DEBBIE LEONARD                                                           870742 S 3300 RD                                                                        WELLSTON         OK      74881-7109
DEBBIE MCCARTY                                                           802 S 3RD ST                                                                            FLORA            IN      46929
Debbie Moody                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Debbie Moody                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Debbie Moody                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017


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              CreditorName             CreditorNoticeName                          Address1                           Address2                  Address3            City   State       Zip      Country
Debbie Moody                                                       111 E. Broadway                                                                         Cushing         OK      74023
DEBBIE NOBLES                                                      3205 GETTYSBURG DR                                                                      ALTUS           OK      73521-1222
DEBBIE ROBERTSON                                                   2209 NW 196TH ST                                                                        EDMOND          OK      73012
DEBBIE ROGERS                                                      131 ASHLEY AVE                                                                          RAYVILLE        LA      71269
DEBBIE RUGGS                                                       RR 2 BOX 74                                                                             OAKWOOD         OK      73658
DEBBIE SANSOM                                                      PO BOX 206                                                                              LAWN            TX      79530
DEBBIE STENETTE                 C/O DENISE SITTON-HAMM                                                                                                     PETALUMA        CA      94952
DEBBIE STENNETT                                                    9937 W HUTTON DR                                                                        SUN CITY        AZ      85351
DEBBIE TERREL                                                      12910 Gunsmoke                                                                          Perry           OK      73077
                                                                                                                 9211 Lake Hefner
Debbie Dawson                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                c/o Laminack, Pirtle & Martines,
Debbie Dawson                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Debbie Dawson                                                      1604 SW 69th St                                                                         Oklahoma City   OK      73159
                                                                                                                 9211 Lake Hefner
Debbie Fisher                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                c/o Laminack, Pirtle & Martines,
Debbie Fisher                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Debbie Fisher                                                      2675 Davis Rd                                                                           Guthrie         OK      73034
                                                                                                                 9211 Lake Hefner
Debbie Hutchins                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                c/o Laminack, Pirtle & Martines,
Debbie Hutchins                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Debbie Hutchins                                                    2909 N Redmond Ct                                                                       Oklahoma City   OK      73127
DEBBY APPEL                                                        PO BOX 630102                                                                           BRONX           NY      10463-0801
                                                                                                                 9211 Lake Hefner
Debera Moore                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                c/o Laminack, Pirtle & Martines,
Debera Moore                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Debera Moore                                                       703 Holmes                                                                              Cushing         OK      74023
DEBERAH HICKMAN                                                    11 N TIMBERLINE DR                                                                      PERKINS         OK      74059-3047
                                                                                                                 9211 Lake Hefner
Debora Hart                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                c/o Laminack, Pirtle & Martines,
Debora Hart                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Debora Hart                                                        3623 N. Union Rd                                                                        Glencoe         OK      74032
DEBORA OSMUS                                                       205 N OAK                                                                               HENNESSEY       OK      73742
                                                                                                                 9211 Lake Hefner
Debora Gamm                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                c/o Laminack, Pirtle & Martines,
Debora Gamm                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Debora Gamm                                                        13012 S Luther Rd                                                                       Newalla         OK      74857
DEBORAH ANN BOOZER-CARMONA                                         5921 KIMBER AVENUE                                                                      BAKERSFIELD     CA      93307
DEBORAH ANN BROWN                                                  1905 LAKEVIEW DRIVE                                                                     PERRY           OK      73077
DEBORAH ANN CORBIN TTEE                                            907 N RIDGE DR                                                                          DUNCAN          OK      73533
DEBORAH ANN WARD                                                   4201 NE 142ND COURT                                                                     EDMOND          OK      73013
DEBORAH BIRDWELL                                                   2338 AVENIDA SEVILLA                                                                    LAGUNA WOODS    CA      92637-2233
DEBORAH BLAIR                                                      171 S HORN RD                                                                           GOLDEN VALLEY   AZ      86413
DEBORAH BOLAY                                                      501 NOBLE STREET                                                                        PERRY           OK      73077
DEBORAH BROOMFIELD                                                 2703 DEL RAY CIRCLE                                                                     MIDWEST CITY    OK      73110
Deborah Brown                   c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Deborah Brown                   c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Deborah Brown                   c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Deborah Brown                                                      3001 N 24th W. Ave                                                                      Tulsa           OK      74127
DEBORAH CAIN MILLAWAY                                              2115 S FLORENCE AVE                                                                     TULSA           OK      74114
DEBORAH CHAPMAN                                                    7518 HOLLOW COVE CT                                                                     CYPRESS         TX      77433-1340
DEBORAH CHRISTINE LEWIS ESTAY                                      302 HWY 20                                                                              THIBODAUX       LA      70301
DEBORAH COE SILVER                                                 15081 BRIAR RIDGE CIR                                                                   FT MYERS        FL      33912-2302
DEBORAH COVEY                                                      900 SOUTH STREET                                                                        GRAHAM          TX      76450-3525


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              CreditorName                  CreditorNoticeName                         Address1                             Address2                 Address3            City   State       Zip      Country
DEBORAH CRANE                                                            47005 HARDESTY RD                                                                      EARLSBORO       OK      74840-3577
DEBORAH DENNIS SNOW JT                                                   4301 E 19TH AVE                                                                        STILLWATER      OK      74074-6046
DEBORAH EDMONDS                                                          PO BOX 462                                                                             COWETA          OK      74429-0462
DEBORAH EDSTROM                                                          671 ASHFORD PLACE                                                                      BRENTWOOD       CA      94513
DEBORAH FETTY                                                            11695 TOPO LN                                                                          LAKESIDE        CA      92040
DEBORAH FISCHER REV TRUST                                                6721 S 150TH                                                                           DOUGLAS         OK      73733
DEBORAH FITZSIMMONS                                                      397180 W 300 RD                                                                        COPAN           OK      74022-5403
DEBORAH GAYLE BEDOLLA                                                    1401 CENTERBURY STREET                                                                 NORMAN          OK      73069
DEBORAH GERST                                                            PO BOX 491                                                                             ANADARKO        OK      73005
                                                                                                                       9211 Lake Hefner
Deborah Goddard                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Deborah Goddard                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
DEBORAH GODDARD                                                          2319 NW 30TH                                                                           OKLAHOMA CITY   OK      73112
Deborah Goddard                                                          7857 E. Jasper                                                                         Tulsa           OK      74115
DEBORAH GRIPE                                                            26904 EAST 32ND STREET                                                                 YALE            OK      74085
DEBORAH HARDY                                                            608 LEE DR.                                                                            CRYSTAL LAKE    IL      60014-7414
DEBORAH HASKIN TAYLOR                                                    6801 CHRIS MADSEN RD                                                                   GUTHRIE         OK      73044-7403
DEBORAH HOBBS                                                            PO BOX 114                                                                             MULVANE         KS      67110
DEBORAH HOCKENSMITH                                                      14 EDEN                                                                                IRVINE          CA      92620-1905
DEBORAH HOWELL                                                           19666 WILDWOOD DR                                                                      W LINN          OR      97068
DEBORAH J HATFIELD                                                       17600 KNOB HILL                                                                        PERRY           OK      73077
DEBORAH J ROGERS                                                         1013 TOBIAS DR                                                                         LYONS           KS      67554
DEBORAH JACKSON                                                          PO BOX 113                                                                             RINGWOOD        OK      73768
DEBORAH JAMESON                                                          2609 SPRING VALLEY CIR. C                                                              YUKON           OK      73099
DEBORAH JANE THORNBURG                                                   7329 E KNOXVILLE ST                                                                    BROKEN ARROW    OK      74014
DEBORAH K LANGSTON TRUST                                                 4045 NW 64TH STSTE 210                                                                 OKLAHOMA CITY   OK      73116
DEBORAH KAY BARTON                                                       906 LANGFORD CT                                                                        ANNA            TX      75409-5160
DEBORAH KAY LISTEN                                                       1953 E COUNTY ROAD 69                                                                  MULHALL         OK      73063-9764
DEBORAH KAY PASCHAL                                                      2209 E ROBINSON STREET                                                                 NORMAN          OK      73071
DEBORAH KELLOGG                                                          831 KOOL RD                                                                            KELSO           WA      98626-9253
DEBORAH KENDALL                                                          728 W. 1 PLACE, #A                                                                     MESA            AZ      85201
DEBORAH L GRAYBILL SIDDALL, TRUSTEE                                      701 AUTUMN RIDGE DRIVE                                                                 MCKINNEY        TX      75070
DEBORAH L LYNCH                                                          7700 EAST HIGHWAY 86                                                                   FRANKTOWN       CO      80116
DEBORAH LACK                                                             PO BOX 1005                                                                            KINGFISHER      OK      73750-5005
DEBORAH LEE MCFARLANE                                                    601 S TRINDLE ST                                                                       HUGOTON         KS      67951-2733
DEBORAH LIPSCOMB                                                         8612 IRONWOOD DR                                                                       IRVING          TX      75063
DEBORAH LOUISE SCHROEDER TRUST                                           1312 E 32ND ST                                                                         STILLWATER      OK      74074-7021
DEBORAH M STEVENS                                                        PO BOX 341                                                                             TRYON           OK      74875
DEBORAH MCCARROLL                                                        14955 SW VULCAN CT                                                                     BEAVERTON       OR      97007-6610
DEBORAH MCCURDY                                                          608 WATERWOOD DR                                                                       NORMAN          OK      73072-4320
DEBORAH MCKEE                                                            2405 E. KAREN TERRACE                                                                  MUSTANG         OK      73064
DEBORAH MORRISON                                                         2048 HIBISCUS STREET                                                                   SARASOTA        FL      34329
DEBORAH NELSON                                                           848 RACQUET LANE                                                                       BOULDER         CO      80303
DEBORAH NUCKOLS SOUTTER                                                  425 W EMPORIA AVE                                                                      PONCA CITY      OK      74601
DEBORAH PHILLIPS                                                         PO BOX 453                                                                             RIPLEY          OK      74062-0453
DEBORAH PRICE                                                            5025 W INDUSTRIAL RD                                                                   GUTHRIE         OK      73044
DEBORAH PROCK                                                            3012 SPRING HILL LN                                                                    LEWISVILLE      TX      75077-3212
DEBORAH QUINTON                                                          5221 SCORESBY AVENUE                                                                   IONA            ID      83427-5015
DEBORAH R LEVERANZ                                                       3954 CALCULUS DRIVE                                                                    DALLAS          TX      75244
DEBORAH R MONTGOMERY                                                     1559 S RICHMOND ST                                                                     WICHITA         KS      67213
DEBORAH R MONTGOMERY                                                     514 S FAWNWOOD CT                                                                      WICHITA         KS      67235
DEBORAH RICHARDSON                                                       8072 SW 62ND AVE                                                                       OCALA           FL      34476-8587
DEBORAH RODRIGUEZ                                                        23755 CR 180                                                                           PERRY           OK      73077
DEBORAH ROLEN                                                            4023 CAROLINE AVE                                                                      TOLEDO          OH      43612
DEBORAH SANTELLI                                                         1415 S. CHESTER                                                                        STILLWATER      OK      74074
DEBORAH SCHMIDT                                                          2440 HIDDEN OAKS LN                                                                    AUBURN          CA      95603
DEBORAH SHEFLIN                                                          4022 VALLEY VIEW AVE                                                                   NORCO           CA      92860
DEBORAH SNODGRASS                                                        1810 ELMHURST AVENUE                                                                   OKLAHOMA CITY   OK      73120


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DEBORAH STRAHL                                                      3544 S OAK AVENUE                                                                       SPRINGFIELD     MO    65804
DEBORAH SUE MCGINNIS                                                PO BOX 145                                                                              LURAY           KS    67649
                                                                                                                  9211 Lake Hefner
Deborah True-Crater              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                 c/o Laminack, Pirtle & Martines,
Deborah True-Crater              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Deborah True-Crater                                                 2311 E. 161st St                                                                        Bixby           OK    74008
DEBORAH WILLIAMS                                                    3924 COVENTRY LN                                                                        NORMAN          OK    73072-3648
DEBORAH WOOD                                                        1250 S MULDROW                                                                          TISHOMINGO      OK    73460
DEBORAH ZETTERBERG                                                  9717 SOUTH MEHAN ROAD                                                                   PERKINS         OK    74059
                                                                                                                  9211 Lake Hefner
Deborah Calhoun                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                 c/o Laminack, Pirtle & Martines,
Deborah Calhoun                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Deborah Calhoun                                                     3508 Brownwood Lane                                                                     Edmond          OK    73034
                                                                                                                  9211 Lake Hefner
Deborah Fiorda-Bell              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                 c/o Laminack, Pirtle & Martines,
Deborah Fiorda-Bell              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Deborah Fiorda-Bell                                                 17401 Platinum Lane                                                                     Edmond          OK    73012
                                                                                                                  9211 Lake Hefner
Deborah Wilson-Golden            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                 c/o Laminack, Pirtle & Martines,
Deborah Wilson-Golden            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Deborah Wilson-Golden                                               7900 South Miller Blvd                                                                  Oklahoma City   OK    73159
DEBRA A KIRK                                                        2000 NEWBROOK DR                                                                        EDMOND          OK    73003
DEBRA AND MICHAEL B HATCHETT                                        2512 PINE VLY                                                                           EDMOND          OK    73012-4360
DEBRA ANN DAGGETT                                                   7754 ELMWOOD PLACE                                                                      DENVER          CO    80221
DEBRA ANN LANDWEHR                                                  PO Box 262                                                                              WAUKOMIS        OK    73773-0262
DEBRA ANN WOLFE                                                     40740 N 4020 RD                                                                         COLLINSVILLE    OK    74021
                                                                                                                  9211 Lake Hefner
Debra Armstrong                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                 c/o Laminack, Pirtle & Martines,
Debra Armstrong                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Debra Armstrong                                                     3744 S. Union Pl                                                                        Tulsa           OK    74107
DEBRA AUSTIN                                                        708 SOUTH MAIN ST                                                                       STILLWATER      OK    74074
DEBRA BEASLEY                                                       28227 E BENDERS LANDING BLVD                                                            SPRING          TX    77386
DEBRA BELL                                                          1205 N 12TH ST                                                                          ENID            OK    73701
DEBRA BENTLEY                                                       8406 W 116TH ST                                                                         COYLE           OK    73027-4303
DEBRA BLAKELY                                                       8502 E REED RD                                                                          DOUGLAS         OK    73733
DEBRA BLAKLEY REV LIVING TRUST                                      8205 E REED RD                                                                          DOUGLAS         OK    73733
DEBRA BRUNNER                                                       45900 US HWY 36                                                                         BENNETT         CO    80102
DEBRA CAMPBELL                                                      118 S MAPLE ST                                                                          NORBORNE        MO    64668-1236
DEBRA CARTER                                                        PO BOX 66907                                                                            PHOENIX         AZ    85082
DEBRA CASTEEL                                                       11414 SOUTH NOBLE RD                                                                    LUCIEN          OK    73757
DEBRA COLEMAN                                                       1212 S WILLIAMSFIELD DR                                                                 STILLWATER      OK    74074
DEBRA CORR                                                          3751 N FRANKLIN AVE                                                                     LOVELAND        CO    80538
DEBRA D BECK                                                        9601 EAST 91 ST NORTH                                                                   OWASSO          OK    74055
                                                                                                                  9211 Lake Hefner
Debra F. Schepp                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                 c/o Laminack, Pirtle & Martines,
Debra F. Schepp                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Debra F. Schepp                                                     420 S. 5th St                                                                           Sparks          OK    74869
DEBRA FAIRBANKS                                                     306 S BRISTOW AVE                                                                       DRUMRIGHT       OK    74030-4002
DEBRA FURGASON                                                      PO BOX 396                                                                              ARCADIA         OK    73007
DEBRA GABEL                                                         2059 NE JAMIE DRIVE                                                                     HILLSBORO       OR    97124
DEBRA GADDY                                                         1216 N MAIN ST                                                                          STILLWATER      OK    74075-3627
DEBRA GOODE                                                         3827 PARTRIDGEBERRY CT                                                                  HOUSTON         TX    77059
Debra Gordon                     c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX    75070


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Debra Gordon                c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica     Ste. 400         Tulsa              OK       74104
Debra Gordon                c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                           New York           NY       10017
Debra Gordon                                                   200 W Walnut                                                                        Barnsdall          OK       74002
DEBRA GOSS                                                     11120 E LAKEVIEW RD                                                                 GLENCOE            IN       74032
DEBRA HAMPTON                                                  223 8TH ST                                                                          SALT LAKE CITY     UT       84103-2521
DEBRA HATTER                                                   342074 E. 760 RD                                                                    AGRA               OK       74824
DEBRA HERRMANN                                                 PO BOX 276                                                                          RIPLEY             OK       74062
DEBRA HINTON                                                   1558 CR 10                                                                          STRINGER           MS       39481
DEBRA HODAPP                                                   20941 EWARD AVE                                                                     ADRIAN             MN       56110
DEBRA HOLDER                                                   13008 S 4TH PLACE                                                                   JENKS              OK       74037
DEBRA HORTON                                                   12419 OVERCUP DR.                                                                   HOUSTON            TX       77024
DEBRA KAUS                                                     2921 RIVER BEND LN                                                                  GRAND JUNCTION     CO       81503-4804
DEBRA KAY HOOPER                                               2119 N GLENWOOD DR                                                                  STILLWATER         OK       74074
DEBRA L CASE                                                   17007 HIGHWAY 491                                                                   CORTEZ             CO       81321
DEBRA LYNN SHIPMAN                                             24 DRUID TRL                                                                        FLORISSANT         CO       80816
DEBRA MARTIN                                                   2205 CARRIAGE HL                                                                    DENTON             TX       76207-1613
DEBRA MCGRATH                                                  4131 WHITE SETTLEMENT RD                                                            WEATHERFORD        TX       76087
DEBRA MICHALKE                                                 3025 NE 19TH ST                                                                     OKLAHOMA CITY      OK       73121
DEBRA MONTGOMERY                                               2308 ACTON ST                                                                       BERKELEY           CA       94702-2108
DEBRA MUELLER                                                  18768 AUBURN WAY                                                                    MADERA             CA       93638-0263
DEBRA NELSON                                                   2735 E 34TH ST                                                                      TULSA              OK       74105
DEBRA O'MALLEY                                                 1113 MADRONO PLACE                                                                  ATASCADERO         CA       93422
DEBRA OTJEN                                                    6926 S DELAWARE PL                                                                  TULSA              OK       74136

DEBRA PATE                                                     12101 N MACARTHUR BLVD STE A #253                                                   OKLAHOMA CITY      OK       73162
DEBRA PHELAN                                                   1102 E OKLAHOMA AVE                                                                 GUTHRIE            OK       73044
DEBRA PLEASANT                                                 6801 N VICTOR                                                                       TULSA              OK       74130
DEBRA PURVIS                                                   7298 SW MANOR WAY UNIT B                                                            BEAVERTON          OR       97007
DEBRA REESE                                                    PO BOX 2282                                                                         SAPULPA            OK       74067
DEBRA ROBINSON                                                 105 WILLOW TRACE CIRLCE, APT. #1                                                    CLEMMONS           NC       27012
                                                                                                             9211 Lake Hefner
Debra Ropp                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104         Oklahoma City      OK       73120
                            c/o Laminack, Pirtle & Martines,
Debra Ropp                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl           Houston            TX       77006
Debra Ropp                                                     3705 Redbud Dr                                                                      Sand Springs       OK       74063
DEBRA ROSE GRANT                                               6387 MOTHER LODE DRIVE - SPC #82                                                    PLACERVILLE        CA       95667
DEBRA ROSENBAUGH                                               3857 BURNT PINE DR                                                                  JACKSONVILLE       FL       32224-0857
DEBRA S MULLEN TRUST                                           1229 ARMSTRONG                                                                      DERBY              KS       67037-2802
DEBRA SCHACHER                                                 PO BOX 6664                                                                         LAWTON             OK       73506
DEBRA SHIPMAN                                                  107 N CIMARRON DR                                                                   PERKINS            OK       74059-3423
DEBRA SHORES                                                   2121 W 5TH AVE                                                                      STILLWATER         OK       74074-2812
DEBRA SMITH                                                    891 UFFDA WAY                                                                       CREEDE             CO       81130
DEBRA STALEY-PAULSEN                                           14428 SW POHL RD                                                                    VASHON             WA       98070
DEBRA TAYLOR                                                   1593 N GROVE                                                                        REDLANDS           CA       92374
DEBRA UNRUH                                                    PO BOX 841                                                                          OWASSO             OK       74055
DEBRA VERTUCCI                                                 242 CHESNUT RIDGE COURT                                                             HENDERSON          NV       89012
DEBRA WEBBER CRUCANI                                           1608 VINSON ST                                                                      KENNETT            MO       63857-1327
DEBRA WELCH                                                    5058 NE VIKING                                                                      LAWTON             OK       73507
DEBRA WHITE                                                    10115 N BRIDGEWATER CIR                                                             OWASSO             OK       74055-7727
DEBRA WILSON                                                   200 DALE ST                                                                         SYLACAUGA          AL       35150
DEBRA ZIMMERMAN                                                312 E 22ND ST                                                                       SOUTH SIOUX CITY   NE       68776-3026
                                                                                                             9211 Lake Hefner
Debra Brennan               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104         Oklahoma City      OK       73120
                            c/o Laminack, Pirtle & Martines,
Debra Brennan               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl           Houston            TX       77006
Debra Brennan                                                  2108 E. Hills Dr                                                                    Moore              OK       73160
DECK OIL COMPANY                                               PO Box 3305                                                                         TULSA              OK       74101
DECLARATION OF TRUST                                           PO BOX 1588                                                                         TULSA              OK       74101-1588
DECOTY COFFEE COMPANY                                          PO BOX 3758                                                                         SAN ANGELO         TX       76902-3758


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DEDE LLC                                                                 4450 OLD CANTON ROAD SUITE 203                                                            JAKCSON          MS      39211
DEDE TROSPER                                                             1708 SE 29TH ST                                                                           OKLAHOMA CITY    OK      73129
DEDRA ANN JONES                                                          5990 MIDDLE FORK RD                                                                       FAIRBANKS        AK      99712
DEE ANN DUNIVAN BEEBY REV INTER VIV                                      3130 N MADISON CT                                                                         STILLWATER       OK      74074-1123
DEE ANN EDIGER                                                           PO BOX 2403                                                                               ENID             OK      73702
DEE MARTIN                                                               2012 RANA PARK                                                                            FLINT            TX      75762
DEE SHORT MARTIN                                                         2012 RANA PARK                                                                            FLINT            TX      75762
DEE WILLIAMS THOMAS                                                      14751 KNOB HILL                                                                           PERRY            OK      73077
DEEANNA BIGGS                                                            9135 BATTLE CREEK RD                                                                      SKIATOOK         OK      74070

DEEANNE GIST                                                             5900 SOUTH LAKE FOREST DR STE 300                                                         MCKINNEY         TX      75070
DEELARE INC                                                              210 PARK AVE STE 2920                                                                     OKLAHOMA CITY    OK      73102
                                                                                                                       9211 Lake Hefner
Deen Oduola                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104               Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Deen Oduola                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl                 Houston          TX      77006
Deen Oduola                                                              10302 SE 12th St                                                                          Oklahoma City    OK      73130
DEENA FRIELING                                                           3210 W 104TH ST                                                                           PERKINS          OK      74059-4395
DEENA FRIELING                                                           3921 W 104TH ST                                                                           PERKINS          OK      74059-4171
DEENA RUDD                                                               5222 W 5TH AVE                                                                            STILLWATER       OK      74074
DEEP RED ROYALTY LLC                                                     PO BOX 7283                                                                               EDMOND           OK      73083
DEEP ROCK RESOURCES LLC                                                  1915 S COLLEGE AVE                                                                        TULSA            OK      74104-6123
DEEP WELL TUBULAR SERVICE INC                                            6604 WEST HWY 80                                                                          MIDLAND          TX      79706
DEEP WELL TUBULAR SERVICES INC                                           7100 TANGLE VINE DR                                                                       EDMOND           OK      73034-8448
DEEP WELLS VENTURES LLC                                                  2707 KINGSBURY PARK LN                                                                    SPRING           TX      77386
DEGOLYER & MACNAUGHTON                                                   5001 SPRING VALLEY RD STE 800 E                                                           DALLAS           TX      75244
DEIDRE THORNSBERRY                                                       13960 SW BUTNER RD                                                                        BEAVERTON        OR      97006
DEIRDRE CAMPBELL                                                         4712 SE OGDEN ST                                                                          PORTLAND         OR      97206
DEJAY OIL & GAS INC                                                      13700 NE 50TH ST                                                                          CHOCTAW          OK      73020-9650
DEKA INC                                                                 PO BOX 14057                                                                              OKLAHOMA CITY    OK      73113-0057
DEL BIRCHFIELD                                                           3116 E. PEACHTREE AVENUE                                                                  STILLWATER       OK      74074
Del Livsey                            c/o Edward L White PC              Attn: Kerry D Green & Edward L White          829 E 33rd St                               Edmond           OK      73013
                                      c/o Maples, Nix & Diesselhorst
Del Livsey                            PLLC                               Attn: Ray Maples                              15401 N. May Ave                            Edmond           OK      73103
Del Livsey                            c/o Munson & McMillin              Attn: April B Eberle                          247 N Broadway                              Edmond           OK      73034
Del Livsey                                                               4 Roka Ridge                                                                              Stillwater       OK      74075
DELACOSTA ENERGY LP                                                      8000 W IH 10 STE 705                                                                      SAN ANTONIO      TX      78230-3863
DELACROIX LAND & CATTLE CO LLC                                           9658 N MAY AVE STE 200                                                                    OKLAHOMA CITY    OK      73120-2718
DELAHAY REV LVG TR DTD 06.08.95                                          396375 W 2400 RD                                                                          BARTLESVILLE     OK      74006
DELAIN STAFFORD                                                          1823 NORTHBRIDGE DR                                                                       CAPE GIRARDEAU   MO      63701
DELAINA WORKMAN                                                          139 NE MEADOWLARK AVE                                                                     BARTLESVILLE     OK      74006
DELANE KEHNEMUND                                                         801 N 3RD                                                                                 OKEENE           OK      73763
DELANEY FAMILY REVOCABLE TRUST                                           5110 W BAINBRIDGE CT                                                                      BOISE            ID      83703-3479
Delaware Department of Finance        Office of Unclaimed Property       PO Box 8931                                                                               Wilmington       DE      19899-8931
                                                                                                                       John G. Townsend     401 Federal Street -
Delaware Division of Corporations                                        Division of Corporations                      Bldg.                Suite 4                Dover            DE      19901
DELAWARE SECRETARY OF STATE                                              PO BOX 5509                                                                               BINGHAMTON       NY      13902-5509

DELBERT & MARIE GRASSMAN TRUST AGMT                                      7512 E 80TH ST                                                                            TULSA            OK      74133
DELBERT BROOKS                                                           3700 E SIMMONS                                                                            EDMOND           OK      73034
DELBERT D GRASSMAN                                                       7512 E 80TH ST                                                                            TULSA            OK      74133
DELBERT FARRIA                                                           6916 E 93RD ST                                                                            TULSA            OK      74113
                                                                                                                       9211 Lake Hefner
Delbert G. Laskey                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104               Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Delbert G. Laskey                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl                 Houston          TX      77006
Delbert G. Laskey                                                        109 Brook Lane                                                                            Midwest City     OK      73130
DELBERT JEANS                                                            4215 80TH RD                                                                              THAYER           KS      66776
DELBERT KAUK                                                             PO BOX 578                                                                                CLINTON          OK      73601


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              CreditorName                   CreditorNoticeName                         Address1                            Address2                  Address3             City      State       Zip      Country
DELBERT LANTZ                                                            5484 S 417TH W AVE                                                                      JENNINGS           OK       74038
DELBERT MARY MAKER                                                       318 N 20TH ST                                                                           GUTHRIE            OK       73044-2162
DELBERT R GOODIN LIVING TRUST                                            4320 ANGELA DR                                                                          DEL CITY           OK       73115
DELBERT SHIPPY                                                           16740 NAITO AVE                                                                         CALDWELL           ID       83607
DELCIA ETHERIDGE                                                         8020 S PRAIRIE RD                                                                       STILLWATER         OK       74074-8420
DELCY BURFORD                                                            3815 QUAIL RUN CIRCLE                                                                   NORMAN             OK       73072
DELINDA WALL                                                             330 SMITH AVE                                                                           GILMER             TX       75644
DELL FINANCIAL SERVICES LLC                                              PO BOX 5292                                                                             CAROL STREAM       IL       60197-5292
DELL MARKETING LP                                                        PO BOX 676021                                                                           DALLAS             TX       75267-6021
DELL SOFTWARE INC                                                        5 POLARIS WAY                                                                           ALISO VIEJO        CA       92656
                                                                                                                       9211 Lake Hefner
Della Dean                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Della Dean                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX       77006
Della Dean                                                               401 NW 79th                                                                             Oklahoma City      OK       73114
DELLA MORRIS                                                             25205 County Road 860                                                                   Medford            OK       73759
DELLES EGGERS                                                            26650 HWY 64                                                                            MORRISON           OK       73061
DELMAR NEALY                                                             1456 APPLEGATE AVE                                                                      GRANTS PASS        OR       97527
DELMAR PEPMILLER                                                         104 SANDPIPER RD                                                                        BRANDON            MS       39047-6424
DELMER & GERALDINE WOODS TRST                                            PO BOX 3008                                                                             SHAWNEE            OK       74802-3008
DELMER BISHOP                                                            615 BALDWIN DR                                                                          BRENTWOOD          CA       94513
DELOIS CARRIER                                                           6421 S RIPLEY RD                                                                        RIPLEY             OK       74062
DELON AND KAREN S FLINCHUM JT                                            2720 EAST 27TH AVENUE                                                                   TULSA              OK       74114-4418
DELORA G LASSITER                                                        8020 NW 111TH STREET                                                                    OKLAHOMA CITY      OK       73162
DELORES A TILBURY                                                        324 S FRIO ST                                                                           LOCKHART           TX       78644
Delores Bledsoe                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX       75070
Delores Bledsoe                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK       74104
Delores Bledsoe                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY       10017
Delores Bledsoe                                                          4721 County Road 6050                                                                   Ralston            OK       74650
DELORES GILCHRIST                                                        2809 PEPPERTREE PL                                                                      PLANO              TX       75074
DELORES I PRICE TRUST                                                    4101 COUNTRY CLUB DRIVE                                                                 ENID               OK       73703
DELORES J STITES INTER VIVOS REV TR                                      5968 CINDY DR                                                                           DAYTON             OH       45449
DELORES LANCASTER                                                        2211 HAVENWOOD RD                                                                       PONCA CITY         OK       74604-2410
DELORES MARION                                                           PO BOX 305                                                                              GUTHRIE            OK       73044
DELORES MATHEWS                                                          115 COUNTY ROAD 328 N                                                                   CLEVELAND          TX       77327-8995
DELORES PROCKISH                                                         5216 MOUNTAIN AIR CIR                                                                   COLORADO SPRINGS   CO       80916
DELORES SHIMANEK                                                         430 N 16TH ST                                                                           ENID               OK       73701
DELORES VERRIANO                                                         1636 WOODLAND BLVD                                                                      KANSAS CITY        KS       66106
DELORES WEBB MACKEN                                                      1440 STONEGATE CT                                                                       GARDNERVILLE       NV       89410
DELORES WILSON                                                           6909 S JARDOT RD                                                                        STILLWATER         OK       74074
                                                                                                                       9211 Lake Hefner
Delores Jackson                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Delores Jackson                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX       77006
Delores Jackson                                                          2108 E. Hills Dr                                                                        Moore              OK       73160
DELORIS DEAL                                                             3301 S GREEN VALLEY DR                                                                  STILLWATER         OK       74074-7241
DELORIS EVELSIZER                                                        7104 E VFW RD                                                                           GLENCOE            OK       74032
DELORIS JEAN MALY                                                        13517 E PHILLIPS AVE                                                                    ENID               OK       73701-5159
DELORIS LEONARD                                                          1437 SW 69TH ST                                                                         OKLAHOMA CITY      OK       73159
DELORIS LEWIS                                                            PO BOX 12                                                                               SPARKS             OK       74869-0012
DELORIS WILSON                                                           6909 S JARDOT                                                                           STILLWATER         OK       74074-8236
                                                                                                                       9211 Lake Hefner
Deloris Taylor                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Deloris Taylor                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX       77006
Deloris Taylor                                                           1138 N Bath Ave                                                                         Oklahoma City      OK       73117
DELTA 08 LLC                                                             PO BOX 471365                                                                           FORT WORTH         TX       76147
DELTA DENTAL                                                             PO BOX 960020                                                                           OKLAHOMA CITY      OK       73196-0020
DELTA ROYALTY COMPANY INC                                                4450 OLD CANTON RDSTE 203                                                               JACKSON            MS       39211


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DELVIN COMBS                                                             1500 ASPEN DR APT 5                                                                     DRUMRIGHT          OK      74030
DEMA DIEDERICH                                                           702 VENUS AVE                                                                           SALINA             KS      67401-1004
DEMOSS ROYALTY LLC                                                       PO BOX 579                                                                              DIVIDE             CO      80814
DEMPSEY HILLEN                                                           2506 HIGHWAY 569                                                                        FERRIDAY           LA      71334-4568
DEMPSEY MCENTIRE                                                         PO BOX 274                                                                              AGRA               OK      74824
DEMSON FAMILY PARTNERSHIP                                                PO BOX 1588                                                                             TULSA              OK      74101-1588
                                                                                                                       9211 Lake Hefner
Dena Cope                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Dena Cope                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Dena Cope                                                                8825 S. Quebec Ave                                                                      Tulsa              OK      74137
                                                                                                                       9211 Lake Hefner
Dena P. Adams                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Dena P. Adams                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Dena P. Adams                                                            900 NE 64th St                                                                          Oklahoma City      OK      73105
DENA SMIDDY                                                              PO BOX 242                                                                              DECATUR            AR      72722
                                                                                                                       9211 Lake Hefner
Denice Derycke                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Denice Derycke                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Denice Derycke                                                           402 E 2nd St                                                                            Cushing            OK      74023
DENICE WATKINS                                                           3401 N OAK GROVE RD                                                                     DRUMWRIGHT         OK      74030
DENIS RUBALOFF                                                           11 ARDGOUR                                                                              BELLA VISTA        AR      72715
                                                                                                                       9211 Lake Hefner
Denise Thompson                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Denise Thompson                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Denise Thompson                                                          5417 N. Grace Ave                                                                       Spencer            OK      73084
DENISE ADKISON                                                           PO BOX 394                                                                              RIPLEY             OK      74062-0394
DENISE BAKER                                                             PO BOX 1                                                                                BUTLER             OK      73625-0001
DENISE CAMPBELL                                                          1126 WOODLAWN PL                                                                        OKLAHOMA CITY      OK      73118
DENISE CHESMORE                                                          56211 SOUTH COUNTY ROAD 208                                                             VICI               OK      73859
DENISE CLARK                                                             PO BOX 36                                                                               PERKINS            OK      74059-0036
DENISE DEBRA JETT                                                        PO BOX 518                                                                              SHAWNEE            OK      74802
DENISE DOLEZAL BUTZ                                                      2228 N WILLIAMSGATE CT                                                                  WICHITA            KS      67228
                                                                                                                       9211 Lake Hefner
Denise H. Garlick                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Denise H. Garlick                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Denise H. Garlick                                                        13054 Twisted Oak Rd                                                                    Oklahoma City      OK      73120
DENISE HAFNER BAY                                                        1403 MAPLE ST                                                                           PERRY              OK      73077
DENISE HALLIBURTON                                                       1567 GOLDEN AVE                                                                         HERMOSA BEACH      CA      90254-3323
DENISE HAWORTH STRATTON                                                  2613 ROBERT OLIVER COURT                                                                FERNANDINA BEACH   FL      32034
DENISE HESSER                                                            334 CRAIG AVE                                                                           SALEM              VA      24153
DENISE JOHNSON                                                           3345 NW 62ND ST                                                                         OKLAHOMA CITY      OK      73112
DENISE KIRKES                                                            2215 S. 131ST E AVENUE                                                                  TULSA              OK      74134
DENISE LOWERY                                                            840882 S 3430 RD                                                                        CHANDLER           OK      74834-7075
DENISE M OLSON                                                           2140 W THUNDERBIRD RD APT 1212                                                          PHOENIX            AZ      85023
Denise Meadows                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX      75070
Denise Meadows                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK      74104
Denise Meadows                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY      10017
Denise Meadows                                                           848 North Waco Ave                                                                      Tulsa              OK      74127
DENISE MICHELLE FELDMAN                                                  10926 LIVINGSTON DR                                                                     NORTHGLENN         CO      80234
DENISE RENEE HICKMAN                                                     1651 S PORTLAND AVE                                                                     GUTHRIE            OK      73044
DENISE RICHARDS FKA DENISE LEELLA W                                      PO BOX 344                                                                              CARNEY             OK      74832-0344
DENISE SITTON-HAMM                                                       637 E ST APT 3                                                                          PETALUMA           CA      94952

DENISE STANTON                                                           5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY           TX      75070


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DENISE TYE                                                               2827 W MOORE RD                                                                        TUCSON          AZ       85755-9512
DENISE ZINN                                                              35644 32ND AVENUE SOUTH                                                                AUBURN          WA       98002
DENITA BAILEY                                                            PO BOX 700092                                                                          TULSA           OK       74170-0092
DENITA RUGGS                                                             PO BOX 34                                                                              PARMA           ID       83660
DENNA PERIGO                                                             2906 W BISON RD                                                                        BISON           OK       73720
DENNIE SHIPPY                                                            2606 POLK ST                                                                           CALDWELL        ID       83605-2565
DENNIS                                                                   PO BOX 201                                                                             RIPLEY          OK       74062-0201
DENNIS & CHARLOTTE SCHWOERKE LIVTR                                       12025 GREENWICK DR                                                                     OKLAHOMA CITY   OK       73162
DENNIS & HARRIET FIIHR REV TRUST                                         3957 310TH ST                                                                          BOYDEN          IA       51234
DENNIS ADKINS                                                            PO BOX 850544                                                                          YUKON           OK       73085
DENNIS BASS                                                              420383 E 1175 RD                                                                       EUFAULA         OK       74432
DENNIS BERTRAND                                                          138 W 2ND ST                                                                           CORTEZ          CO       81321-3517
DENNIS BLOCKER                                                           2010 SUMNER DR                                                                         PERRY           OK       73077
DENNIS BRORSEN                                                           23101 CR 120                                                                           PERRY           OK       73077
DENNIS BUCKMASTER                                                        380 TRAILWOOD DRIVE                                                                    PRESCOTT        AZ       86301
DENNIS BUSCH                                                             1815 S CARSON AVE                                                                      TULSA           OK       74119-5007
DENNIS CALAVAN                                                           1604 2ND AVE                                                                           WARNER          OK       74469
                                                                                                                       9211 Lake Hefner
Dennis Chandy                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Dennis Chandy                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Dennis Chandy                                                            1622 S. Beech Ct                                                                       Broken Arrow    OK       74012
DENNIS CHARLES HARRINGTON TRUST                                          501 HOWARD                                                                             SIERRA VISTA    AZ       85635-1136
DENNIS CHRISTMAN                                                         107 LAKESIDE CIR                                                                       PELHAM          AL       35124-3975
DENNIS CLARY AND MICHELLE R CLARY J                                      2020 SHILOH ST                                                                         STILLWATER      OK       74074
DENNIS COOPER                                                            512 WINDING OAKS DRIVE                                                                 WYLIE           TX       75098-4564
DENNIS CURRIER                                                           4801 SCOTER LN                                                                         MCKINNEY        TX       75070
DENNIS DESHIELDSS                                                        845 RAY ST                                                                             PEA RIDGE       AR       72751-2962
DENNIS DEWART                                                            2544 HARPER ST                                                                         SANTA CRUZ      CA       95060
DENNIS DUNIVAN                                                           8720 GRIZZLY WAY                                                                       EVERGREEN       CO       80439-6215
DENNIS E BERTHOLF & LORETTA F                                            3109 N PRAIRIE RD                                                                      STILLWATER      OK       74075
DENNIS E SEAL TRUST                                                      RURAL ROUTE 2 BOX 67                                                                   TALOGA          OK       73667-9636
DENNIS FISCHER                                                           11703 S GETTY                                                                          COVINGTON       OK       73730
DENNIS FOLEY                                                             1555 CALIFORNIA #609                                                                   DENVER          CO       80202
DENNIS FRANCIS                                                           2320 S AGRA RD                                                                         CUSHING         OK       74023-5866

DENNIS GERKEN & BARBARA GERKEN HWJT                                      5429 SOUTH 90TH                                                                        FAIRMONT        OK       73736
DENNIS GERST                                                             7620 E 4TH AVE                                                                         STILLWATER      OK       74074
DENNIS GILLILAND                                                         39501 S 33700 RD                                                                       MORRISON        OK       73061
DENNIS GOLAY                                                             PO BOX 1                                                                               ORLANDO         OK       73073
DENNIS GRONQUIST                                                         3219 E. PEACHTREE AVENUE                                                               STILLWATER      OK       74074
DENNIS HENRY                                                             8600 S WESTERN                                                                         PERKINS         OK       74059
DENNIS HEWITT                                                            6189 SPRING VALLEY DRIVE                                                               ATWOOD          CA       95301
DENNIS HOFFMAN                                                           608 QUAIL CREEK DRIVE                                                                  PERRY           OK       73077
DENNIS HOWARD                                                            15789 W CYPRESS                                                                        GOODYEAR        AZ       85395

DENNIS HYLAND                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX       75070
DENNIS HYLAND &                                                          14 BRENTWOOD COVE                                                                      CABOT           AR       72023
                                                                                                                       9211 Lake Hefner
Dennis Ingram                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Dennis Ingram                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Dennis Ingram                                                            12418 S. 101st East Ave                                                                Bixby           OK       74008
DENNIS J BODE                                                            6250 EXPLORER                                                                          PERRY           OK       73077-9284
DENNIS JEFFERIES                                                         7000 W 9TH                                                                             CUSHING         OK       74023
DENNIS JOHNSON                                                           406 W 3RD ST                                                                           FREMONT         NE       68025-4802
DENNIS KAUK                                                              PO BOX 446                                                                             LEEDEY          OK       73654-0446
DENNIS KROLL                                                             2013 GOLDEN BAY LANE                                                                   LEAGUE CITY     TX       77573
DENNIS L DATIN & COLLETTE L                                              1801 S PORTLAND AVE                                                                    GUTHRIE         OK       73044


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DENNIS L PEALOR                                                          15015 LAURIN LANE                                                                       OKLAHOMA CITY     OK       73142
Dennis Lafferty                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX       75070
Dennis Lafferty                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK       74104
Dennis Lafferty                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY       10017
Dennis Lafferty                                                          6674 W 55th St North                                                                    Tulsa             OK       74126
DENNIS LAUER                                                             1400 SILHAVY CIR                                                                        VALPARAISO        IN       46383-1439
DENNIS LEADER                                                            146 VIKING LOOP                                                                         ARDMORE           OK       73401-6709
DENNIS LOVELL                                                            475 FALL RIVER LN                                                                       ESTES PARK        CO       80517
DENNIS MARSHALLS                                                         3135 E. PEACHTREE AVENUE                                                                STILLWATER        OK       74074
DENNIS MARTIN                                                            8303 E AIRPORT RD                                                                       STILLWATER        OK       74075
DENNIS MATTOCKS                                                          6018 OAK MEADOW DR                                                                      YORBA LINDA       CA       92886-5934
DENNIS MCDOWELL                                                          7790 THISTLETREE LN                                                                     FRISCO            TX       75033
DENNIS MCGETTRICK                                                        5307 SE 32ND STREET                                                                     DES MOINES        IA       50320-2097
DENNIS MITCHELL                                                          PO BOX 711                                                                              YANKTON           SD       57078
DENNIS MITTASCH                                                          19000 CR 240                                                                            MORRISON          OK       73061
DENNIS NEILL                          c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater        OK       74074
DENNIS O & MARIE A CUBBAGE JR                                            400 VALLEY VIEW CT                                                                      BARTLESVILLE      OK       74006-8041
DENNIS ORNDORFF                                                          626 E HILL DRIVE                                                                        GUTHRIE           OK       73044
DENNIS PARKER                                                            16640 N SWAN RD                                                                         TUCSON            AZ       85739-1905
DENNIS PARR                                                              11500 180TH ST                                                                          LEXINGTON         OK       73051-5703
DENNIS POTTER                                                            1322 E JACKSON AVE N                                                                    SAPULPA           OK       74066-3752
DENNIS R BOEPPLE                                                         616 FOSTERS GROVE LOOP                                                                  OVIEDO            FL       32765
DENNIS R DORO & MARY KAY DORO REV T                                      19800 FOXKIRK CT                                                                        BROOKFIELD        WI       53045-3742
DENNIS REAVES                                                            103 REAVES RD                                                                           PONCA CITY        OK       74604
DENNIS REYNOLDS                                                          12555 E 41ST ST APT 507                                                                 TULSA             OK       74146
DENNIS RICHARDSON                                                        1116 S ORCHARD ST                                                                       STILLWATER        OK       74074-5228
DENNIS RUPP                                                              1251 HARVEST RD                                                                         LUCIEN            OK       73757
DENNIS SEARS                                                             28624 OLD HWY 18                                                                        MACOMB            OK       74852
DENNIS SHEFFIELD AND                                                     PO Box 5285                                                                             EDMOND            OK       73083
DENNIS STEWART                                                           1501 BAMBURGH DR                                                                        PLANO             TX       75075-2730
DENNIS SWEARINGEN                                                        7105 OVATION WAY                                                                        LAS VEGAS         NV       89119
DENNIS TRYON                                                             2205 ALEGRE CT                                                                          RANCHO CORDOVA    CA       95670-4002
                                                                                                                       9211 Lake Hefner
Dennis Varnell                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Dennis Varnell                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
Dennis Varnell                                                           406 E. 2nd St                                                                           Cushing           OK       74023
DENNIS VATER                                                             9115 WARNALL RD                                                                         KANSAS CITY       MO       64114
DENNIS W DISMUKE                                                         313 PEACH ST                                                                            EXETER            CA       93221-1225
DENNIS WILSON                                                            15529 S. HWY 74                                                                         MARSHALL          OK       73056
DENTON REIM                                                              PO BOX 131                                                                              MARSHALL          OK       73056
DENVER DAVIS & CHERI LYNN HALL REVO                                      404 N FAIRGROUNDS                                                                       STILLWATER        OK       74075
DENVER FORAN                                                             6620 W ESECO RD                                                                         CUSHING           OK       74023-4894
DENVER JOHNSON                                                           406 W 3RD ST                                                                            FREMONT           NE       68025-4802
DENZIL JONES                                                             34749 MERRILL RIDGE RD                                                                  GRAYSVILLE        OH       45734-9031
                                                                                                                       9211 Lake Hefner
Deoddca Desilva                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Deoddca Desilva                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
Deoddca Desilva                                                          6210 NW 36th St                                                                         Bethany           OK       73008
DEON FRYE                                                                2510 MILL CREEK LN                                                                      ROLLING MEADOWS   IL       60008

DEPARTMENT OF EDUCATION AGENCY #265                                      2500 N LINCOLN BLVD ROOM 415                                                            OKLAHOMA CITY     OK       73105

DEPARTMENT OF ENVIRONMENTAL QUALITY                                      PO BOX 2036                                                                             OKLAHOMA CITY     OK       73101-1676
DEPARTMENT OF INTERIOR - BLM                                             301 DINOSAUR TRL                                                                        SANTA FE          NM       87508-1560
DEPARTMENT OF INTERIOR - MMS                                             PO BOX 5640                                                                             DENVER            CO       80217-5640
DEPARTMENT OF INTERIOR - ONRR                                            PO BOX 25627                                                                            DENVER            CO       80225-0627
DEPARTMENT OF STATE LANDS                                                775 SUMMER ST NE SUITE 10                                                               SALEM             OR       97301-1279


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                 CreditorName               CreditorNoticeName                     Address1                        Address2            Address3            City      State     Zip      Country
DEPARTMENT OF THE TREASURY                                            INTERNAL REVENUE SERVICE                                                    CINCINNATI         OH    45999-0039
DEPLETION RESERVE ACCNT TRUST                                         6301 N WESTERN AVENUE SUITE 250                                             OKLAHOMA CITY      OK    73118
Dept of Revenue Washington State      Unclaimed Property Section      PO Box 47477                                                                Olympia            WA    98504-7477
                                                                                                              One Ashburton Pl
Dept of the State Treasurer           Commonwealth of Massachusetts   Unclaimed Property Division             12th Fl                             Boston             MA    02108-1608
DEPT. OF ENVIRONMENTAL QUALITY                                        PO BOX 2036                                                                 OKLAHOMA CITY      OK    73101-2036
DERALD MEYER                                                          21044 LAWRENCE 1165                                                         VERONA             MO    65769
DERALD SCHOON & LUANA SCHOON                                          7938 GATE CREEK DRIVE                                                       ANCHORAGE          AK    99502
DEREK BIBY                                                            286 ANTLER RIDGE RD                                                         WHITEFISH          MT    59937-8645
DEREK COE                                                             1205 E WILL ROGERS                                                          STILLWATER         OK    74075
DEREK DONATHAN                                                        941 MESSINA WAY                                                             CENTERTON          AR    72719
DEREK W FREEMAN                                                       9624 DOMER RD                                                               SANTEE             CA    92071-1401
DEREK WEST                                                            RT 2 BOX 118                                                                RANDLETT           OK    73562
DERRICK CORPORATION                                                   PO BOX 301191                                                               DALLAS             TX    75303-1191
DERRICK EQUIPMENT COMPANY                                             15630 EXPORT PLAZA DRIVE                                                    HOUSTON            TX    77032
DERRICK SHANNON                                                       6991 SPRINGER RUN                                                           EDMOND             OK    73012
DERWIN NASALROAD                                                      1709 WEST 3RD AVENUE                                                        STILLWATER         OK    74074
DERWOOD B & ANNETTE E SHELBY                                          PO BOX 55                                                                   MARSHALL           OK    73056-0055
DERWOOD BRAD SHELBY                                                   PO BOX 55                                                                   MARSHALL           OK    73056-0055
DERYL HENSON CONSULTING LLC                                           PO BOX 846                                                                  Bullard            TX    75757
DESDIVE MILACEK                                                       PO BOX 603                                                                  ENID               OK    73702
DESIRAE BONIQUE STEVENS                                               2224 E EUCALYPTUS                                                           ENID               OK    73701
DESIREE D THOMASON                                                    8624 S PEACH RD                                                             MULHALL            OK    73063
DESIREE MILLER                                                        5118 E 78TH PL                                                              TULSA              OK    74136-8270
DESIREE WALKER                                                        827 BIRCH GROVE RD                                                          KALISPELL          MT    59901
DESK & DERRICK CLUB OF OKC                                            PO BOX 18466                                                                OKLAHOMA CITY      OK    73154
DESOTO NATURAL RESOURCES INC                                          PO BOX 2767                                                                 LONG BEACH         CA    90801-2767
DESOTO PARISH CLERK OF COURT                                          PO BOX 1206                                                                 MANSFIELD          LA    71052
DESSIE CLARK                                                          614 S KINGS ST                                                              STILLWATER         OK    74074
DESSIE LEA EVANS                                                      3300 BRIARGATE RD                                                           EDMOND             OK    73034
DESTINY KNIGHT                                                        410 STANSBURY ST                                                            PERKINS            OK    74059
DEUEL ENERGY LLC                                                      PO BOX 1606                                                                 CASPER             WY    82602
DEVERL WHITE                                                          570 MOUNTAIN LOOP                                                           MIDDLETON          ID    83644
DEVILS RIVER INVESTMENTS INC                                          234 W 13TH ST                                                               TULSA              OK    74119
DEVIN RAINS                                                           7520 S SANGRE RD                                                            STILLWATER         OK    74074-8120
DEVINE LAND SERVICES INC                                              PO BOX 219600                                                               KANSAS CITY        MO    64121-9690
DEVON (PPA)                                                           PO BOX 13360                                                                OKLAHOMA CITY      OK    73113
DEVON ENERGY CORPORATION                                              333 W SHERIDAN AVE                                                          OKLAHOMA CITY      OK    73102-5010
DEVON ENERGY PRODUCTION CO            ATTN: JIB/OBO                                                                                               DALLAS             TX    75284-3559
DEVON ENERGY PRODUCTION CO            ATTN: JIB/OBO                                                                                               DALLAS             TX    75284-3559

DEVON ENERGY PRODUCTION COMPANY LP                                    PO BOX 843559                                                               DALLAS             TX    75284-3559

Devon Energy Production Company, LP   c/o Crowe & Dunlevy             Attn: John J Griffin Jr                 324 N. Robinson Ave Ste. 100        Oklahoma City      OK    73102
Devon Energy Production Company, LP   c/o McGuire Woods LLP           Attn: Ronald G Franklin                 600 Travis St       Ste. 7500       Houston            TX    77002
Devon Energy Production Company, LP   c/o McGuire Woods LLP           Attn: Joy C Fuhr                        800 E Canal St                      Richmond           VA    23219
Devon Energy Production Company, LP                                   333 W Sheridan Ave                                                          Oklahoma City      OK    73102
DEVON FRYE                                                            9125 WHITEHURST DR                                                          DALLAS             TX    75243-6301
DEVON RETHERFORD                                                      923 S LOUISVILLE AVE                                                        TULSA              OK    74112
DEVON RICHARDSON                                                      1235 LAKE PLAZA DR SUITE 124                                                COLORADO SPRINGS   CO    80906
DEVON THEDFORD                                                        26200 CR 60                                                                 ORLANDO            OK    73073
DEVORE OIL AND GAS LLC                                                11020 SOLARIDGE DR                                                          RESTON             VA    20191
DEVRA THUSS                                                           1305 NORTHLAKE BLVD                                                         BLUFFTON           SC    29909
DEWANNA MERCER                                                        24159 LAWTER ROAD                                                           WEATHERFORD        OK    73096
DEWART FAMILY TRUST DTD 9-22-08                                       200 W 2ND ST APT 1407                                                       RENO               NV    89501
DEWAYNE BECKER                                                        135 FLINDT DR APT 2                                                         STORM LAKE         IA    50588-2629
DEWAYNE HICKMAN                                                       5901 E 122ND ST                                                             PERKINS            OK    74059
DEWAYNE PRICKETT                                                      23475 COUNTY ROAD 260                                                       MORRISON           OK    73061
DeWAYNE RAY STEWART                                                   703 SOUTH GRAND AVE                                                         FORT THOMAS        KY    41075


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                                                                                                                       9211 Lake Hefner
Dewayne Sharpton                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
Dewayne Sharpton                      c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles      CA      90017
Dewayne Sharpton                                                         8908 E 19th St                                                                         Stillwater       OK      74074
DEWELL FAMILY LIVING TRUST                                               740 S 142ND EAST AVE                                                                   TULSA            OK      74108-2724
DEWEY COUNTY ABSTRACT COMPANY                                            PO BOX 157                                                                             TALOGA           OK      73667
DEWEY COUNTY CLERK                                                       PO BOX 368                                                                             TALOGA           OK      73667
DEWEY COUNTY L.E.P.C                                                     PO Box 155                                                                             TALOGA           OK      73667
DEWEY COUNTY OKLAHOMA                                                    PO BOX 368                                                                             TALOGA           OK      73667-0368
DEWITT TRUCKING AND EXCAVATION                                           4601 N WEST POINT RD                                                                   GLENCOE          OK      74032-3114
DEWOODY LIVING TRUST                                                     PO BOX 471288                                                                          FORT WORTH       TX      76147
DEXTER F SMITH FAMILY LP                                                 12420 HOPE CIR                                                                         ANCHORAGE        AK      99515
DF ENERGY CONSULTING LLC                                                 12860 BIG SKY DR                                                                       EDMOND           OK      73025-7728
DG INVSTMNTS INTERMEDIATE HLDS 2 IN                                      35257 EAGLE WAY                                                                        CHICAGO          IL      60678-1352
DG OIL COMPANY INC                                                       39599 BROOMSTICK RD                                                                    GRAYSVILLE       OH      45734
DGC INVESTMENTS LLC                                                      11555 N HWY 77                                                                         MULHALL          OK      73063
DHP-S INC                                                                PO BOX 286                                                                             CALUMET          OK      73014
DI ENERGY INC                                                            10350 RICHMOND AVE STE 700                                                             HOUSTON          TX      77042
DIABLO OIL & GAS COMPANY                                                 PO BOX 836858                                                                          RICHARDSON       TX      75083-6858
DIADEM ENTERPRISES INC                                                   PO BOX 244                                                                             MEMPHIS          TX      79245
DIAL DUNKIN                                                              PO BOX 2186                                                                            HARLINGEN        TX      78551
DIALOG WIRELINE SERVICES LLC                                             3100 MAVERICK DR                                                                       KILGORE          TX      75662
DIAMOND ENERGY INC.                                                      PO BOX 47                                                                              GREAT BEND       KS      67530
DIAMOND FLOWBACK LLC                                                     PO BOX 125                                                                             Stiglar          OK      74462
DIAMOND L INC                                                            PO BOX 158                                                                             JACKSON          WY      83001-0158
DIAMOND SERVICES CO INC                                                  PO BOX 1025                                                                            WOODWARD         OK      73802
DIAMONDBACK OPERATING COMPANY                                            PO BOX 120696                                                                          ARLINGTON        TX      76012
DIAN MANRY                                                               14691 S 337 E AVE                                                                      COWETA           OK      74429
DIAN SOPPELAND SNYDER                                                    795 CARRIAGE DRIVE                                                                     SOLVANG          CA      93463-9437
DIAN STRINGER                                                            9808 E FOX DR                                                                          FAIRMONT         OK      73736

DIANA A SUBER                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
DIANA BLINE                                                              17920 WEST UDALL                                                                       SURPRISE         AZ      85374
DIANA BRUNEL                                                             5622 E 97TH ST                                                                         TULSA            OK      74137
DIANA BUSCH HARTLEY                                                      1523 WILSHIRE AVE                                                                      NORMAN           OK      73072-6036
DIANA DAVIDSON                                                           740 ASBURY PARK ST                                                                     HENDERSON        NV      89052
DIANA HICKS                                                              110 E DOLAN                                                                            RIPLEY           OK      74062-2004
DIANA HOUSTON                                                            132 CEDAR BREEZE LN                                                                    CHAPEL HILL      NC      27517
DIANA JACOBS                                                             1924 PRAIRIE RD                                                                        STILLWATER       OK      74074
DIANA LAMASCUS                                                           1311 BOSTON ST                                                                         MUSKOGEE         OK      74401-6720
DIANA LARSEN                                                             PO BOX 276                                                                             LOVELAND         CO      80539-0276
DIANA LERAY                                                              4676 MERLOT DR                                                                         ROCKLEDGE        FL      32955-5190
DIANA LERAY                                                              1958 TRISTAN DR SE                                                                     SMYRNA           GA      30080
DIANA LONG                                                               1009 PALOMA ST                                                                         BAKERSFIELD      CA      93304-4236
DIANA LYNN VAWTER                                                        3955 EAST VAUGHN AVE                                                                   GILBERT          AZ      85234
DIANA M OSBORNE                                                          HC 68 BOX 549                                                                          CHECOTAH         OK      74426
DIANA PETERSON                                                           16440 WILSON FARM DR                                                                   CHESTERFIELD     MO      63005-4560
                                                                                                                                                                RANCHO SANTA
DIANA RANDLEMAN                                                          179 ENCANTADO CANYON                                                                   MARGARITA        CA      92688
DIANA SHOOP                                                              PO BOX 531                                                                             INOLA            OK      74036
DIANA SIMMER                                                             2531 ECKLESON ST                                                                       LAKEWOOD         CA      90712
DIANA SMITH                                                              1385 PILGRIM AVE                                                                       MELBOURNE        FL      32940
DIANA SNYDER                                                             PO BOX 444                                                                             CARNEY           OK      74832
DIANA WILLIAMSON                                                         4709 ABERDEEN CT                                                                       NORMAN           OK      73072
                                                                                                                       9211 Lake Hefner
Diana Pierre                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Diana Pierre                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Diana Pierre                                                             1824 NE 1st St                                                                         Moore            OK      73160


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                   CreditorName         CreditorNoticeName                             Address1                         Address2                 Address3             City        State     Zip      Country
Diana Pierre                                                         2415 NE 24th St                                                                        Oklahoma City         OK    73111
                                                                                                                   9211 Lake Hefner
Diana Rivers                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK    73120
                                  c/o Laminack, Pirtle & Martines,
Diana Rivers                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX    77006
Diana Rivers                                                         833 Fontana Lane                                                                       Del City              OK    73115
DIANE ARCHER                                                         PO BOX 419                                                                             MIDWAY                AR    72651-0419
DIANE ARMIJO                                                         31134 RIVERLAKE RD                                                                     FULSHEAR              TX    77441-3802
DIANE B CARROLL                                                      112 BON AIR CIR                                                                        JACKSON               TN    38305-4928
DIANE BRIDENSTINE                                                    2924 WILLOW BRANCH RD                                                                  OKLAHOMA CITY         OK    73120-1812
DIANE BROWNING                                                       3805 WINDSCAPE CT                                                                      OKLAHOMA CITY         OK    73179-3845
DIANE CAMPBELL                                                       360 CRESTLAKE DR                                                                       SAN FRANCISCO         CA    94132-1321
DIANE DARROUGH                                                       110 LARKSPUR LANE                                                                      GEORGETOWN            TX    78633-4570
DIANE FARZANO                                                        8 PARKER PL                                                                            WEST BABYLON          NY    11704
DIANE FLOYD                                                          6019 SOUTH ROCKFORD                                                                    TULSA                 OK    74105
DIANE FRICK                                                          12151 W HIGHWAY 33                                                                     GUTHRIE               OK    73044
DIANE HURST BILLEAUD                                                 406 MARGUERITE BLVD                                                                    LAFAYETTE             LA    70503
DIANE JETER                                                          3210 WALKER DR 1805                                                                    RICHARDSON            TX    75082-2451
DIANE JORDAN                                                         1015 LAKESIDE DR #2                                                                    RED BLUFF             CA    96080
DIANE L CHRISTENSEN                                                  14035 154TH AVE SE                                                                     RENTON                WA    98059
DIANE LANEE HINES                                                    27600 COUNTY ROAD 140                                                                  PERRY                 OK    73077
                                                                                                                   9211 Lake Hefner
Diane M. Collier                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK    73120
                                  c/o Laminack, Pirtle & Martines,
Diane M. Collier                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX    77006
Diane M. Collier                                                     9430 E. 36th St                                                                        Tulsa                 OK    74145
DIANE MAINERO                                                        123 A CATHERINE ST                                                                     DEL RIO               TX    78840
DIANE MASHORE                                                        2408 VANCE DR                                                                          EDMOND                OK    73013
DIANE MUSICK                                                         596 COKESBURY DR                                                                       THE VILLAGES          FL    32162
DIANE R CRANE                                                        4018 TIMBERLINE DRIVE                                                                  STILLWATER            OK    74074
                                                                                                                   9211 Lake Hefner
Diane R. Merits                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK    73120
                                  c/o Laminack, Pirtle & Martines,
Diane R. Merits                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX    77006
Diane R. Merits                                                      17013 Bedford Dr                                                                       Edmond                OK    73012
DIANE RICHTER                                                        PO BOX 1236                                                                            STILLWATER            OK    74076
DIANE S BEEKMAN LVG TR                                               2709 AVON AVE                                                                          PONCA CITY            OK    74604-4303
DIANE SALINAS                                                        1104 ASH DRIVE                                                                         WESLACO               TX    78596
DIANE SATTERSTROM                                                    80460 DELIGHT VALLEY SCHOOL RD                                                         COTTAGE GROVE         OR    97424
DIANE SEABOLT                                                        14305 S. HIWASSEE RD.                                                                  OKLAHOMA CITY         OK    73165
DIANE SMART                                                          36 VIGNE BLVD                                                                          LITTLE ROCK           AR    72223-4582
DIANE SWOGGER                                                        2307 MOUNT PLEASANT RD                                                                 KELSO                 WA    98626-9227
DIANE WALKER TTEE                                                    17 BROOK HALLOW DR                                                                     WIMBERLEY             TX    78676
DIANE WILLIAMS                                                       422 N DURRELL AVE                                                                      AZUSA                 CA    91702-3738
DIANE WOODWARD-FROST REV LVG                                         7441 S WINSTON AVE                                                                     TULSA                 OK    74136
                                                                                                                   9211 Lake Hefner
Diane Webb                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK    73120
                                  c/o Laminack, Pirtle & Martines,
Diane Webb                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX    77006
Diane Webb                                                           105061 S. 3490 Rd                                                                      Prague                OK    74864
DIANNA CHESTER                                                       107048 HIGHWAY 56                                                                      OKEMAH                OK    74859-5191
DIANNA DOWNING                                                       13390 TIMBER PARK LN                                                                   PLATTE CITY           MO    64079-9677
DIANNA LIERLE                                                        11182 COUNTY ST                                                                        LOOKEBA               OK    73053
DIANNA LYNN WALDRIDGE                                                PO BOX 362                                                                             CRESCENT              OK    73028-0362
DIANNA MCBRIDE                                                       123 PR 2462                                                                            ALVORD                TX    76225
DIANNA RITCHEY                                                       1611 LYNN ST                                                                           PARKERSBURG           WV    26101
DIANNA ROBERTS                                                       6574 E COUNTY ROAD 51                                                                  WILLOWS               CA    95988
DIANNA TATRO                                                         7808 DICKSON AVE                                                                       INVER GROVE HEIGHTS   MN    55076-3434
DIANNE ALEXANDER                                                     9228 SE 36TH ST                                                                        OKLAHOMA CITY         OK    73150


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              CreditorName                  CreditorNoticeName                         Address1                             Address2                 Address3            City   State       Zip       Country
DIANNE B PUCKETT                                                         2317 W 9TH AVENUE                                                                      STILLWATER      OK      74074
DIANNE CHILTON                                                           1971-A MT HOPE CHURCH ROAD                                                             MCLEANSVILLE    NC      27301
DIANNE DIRICKSON                                                         404 JAYCEE DR                                                                          ELGIN           OK      73538
DIANNE LOWRY                                                             480 HUNTERS MILL CV                                                                    COLLIERVILLE    TN      38017-2434
DIANNE NELSON SMITH                                                      8301 RUBY RD                                                                           GUTHRIE         OK      73044
DIANNE OWENS                                                             19628 E 22 RD                                                                          BUFFALO         OK      73834-8951
DIANNE SHORT SMART REV TRUST                                             36 VIGNE BOULEVARD                                                                     LITTLE ROCK     AR      72223
DIANNE SIEVERS                                                           1633 LAMONTE LN                                                                        HOUSTON         TX      77018-4101
DIANNE SUE PAYNE MARTIN                                                  ADDRESS REDACTED
DICK BATTLE                                                              11312 CEDAR RIDGE RD                                                                   OKLAHOMA CITY   OK      73162

DICK CHRISTMAN MODERN HOME APPLIANC                                      3431 N MACARTHUR BLVD                                                                  WARR ACRES      OK      73122
DICK GACHES DBA STANDARD PLUMBING                                        2418 W 8TH                                                                             STILLWATER      OK      74074
DICK LEDBETTER                                                           3103 FRISCO AVENUE                                                                     CHICKASHA       OK      73018
DICK MASON                                                               2139 SHEFFIELD DR                                                                      JACKSON         MS      39211
DICK TRIM                                                                10 CARDINAL LANE                                                                       SHAWNEE         OK      74804
Dickinson, John                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater      OK      74074
DICO 79 LTD                                                              4809 COLE AVE STE 170                                                                  DALLAS          TX      75205-3553
DIEDRE DOWNING MARCOLONGO                                                2815 HOSMER ST                                                                         SAN MATEO       CA      94403
DIENERGY INC                                                             202 COLORADO RIVER ROAD                                                                GEORGETOWN      ID      78633
DIETRA GIDDEON                                                           14008 OXFORD DR                                                                        EDMOND          OK      73013
DIETRA LEWIS                                                             101 GREENBRIAR RIDGE CT                                                                ST LOUIS        MO      63122
DIGITAL LAND CONSULTANTS INC                                             2801 COLTRANE PL STE 2                                                                 EDMOND          OK      73034
DIGITAL MEDIA WAREHOUSE                                                  913 NORTH BROADWAY AVE.                                                                OKLAHOMA CITY   OK      73102
DIGITAL NETWORKS LLC                                                     PO BOX 7374                                                                            MOORE           OK      73153-1374
DIJON EVANS                                                              3242 6TH AVE                                                                           SACRAMENTO      CA      95817
                                                                                                                       9211 Lake Hefner
Dilip Doshi                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Dilip Doshi                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Dilip Doshi                                                              6829 S. 77 East Ave                                                                    Tulsa           OK      74133

DILLINGER FAMILY TRUST DTD 1-5-2005                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
DILLON WOODARD LVG TR                                                    182700 N 2880 RD                                                                       COMANCHE        OK      73529
Dimiceli, Thomas                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
Dimitrov, Damyan                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
DINAH JOYCE PRICE REV TRUST                                              10501 N COUNTY LINE RD                                                                 YUKON           OK      73099
DINK WILLIFORD                                                           PO BOX 340                                                                             LEBANON         OK      73440-0340
DIOGENES CAPITAL CORPORATION                                             820 NE 63RD STREET                                                                     OKLAHOMA CITY   OK      73105
DION MAULE                                                               3190 SHEARER AVE                                                                       CAYUCOS         CA      93430
DIRECT CAPITAL MISSISSIPPIAN                                             4400 POST OAK PKWY STE 2200                                                            HOUSTON         TX      77027
DIRECT CAPITAL MISSISSIPPIAN (PPA)                                       PO BOX 13360                                                                           OKLAHOMA CITY   OK      73113
DIRECTIONAL FLUID DISPOSALS                                              6801 Camille Ave                                                                       Oklahoma City   OK      73149
DIRECTV LLC                                                              PO BOX 60036                                                                           LOS ANGELES     CA      90060-0036
DIRK NEITZEL                                                             11501 LOCHWOOD DR APT 314                                                              YUKON           OK      73099-6657
DISCOVERY BENEFITS                                                       PO Box 9528                                                                            FARGO           ND      58106-9528
DISPLAYS UNLIMITED INC                                                   626 106TH ST                                                                           ARLINGTON       TX      76011
DISTRICT OF COLUMBIA                                                     1101 4th ST SW, SUITE W800-B                                                           WASHINGTON      DC      20024
DITCH WITCH OF OKLAHOMA                                                  4501 E 2ND ST                                                                          EDMOND          OK      73034-7546
DiVENTURES, LLC                                                          PO Box 2640                                                                            MIDLAND         TX      79702
DIVESTCO INC                                                             SUITE 400, 520 - 3rd AVE SW                                                            CALGARY         AB      T2P 0R3      CANADA
DIVINE WORD COLLEGE                                                      PO BOX 380                                                                             EPWORTH         IA      52045
DIXIE BARTLETT                                                           10651 E 18TH PL                                                                        TULSA           OK      74128
DIXIE BOATMAN                                                            568 HICKEY MANOR                                                                       ARNOLD          MO      63010
DIXIE BRADSHAW                                                           22504 E PENROSE LOOP                                                                   LIBERTY LAKE    WA      99019
DIXIE CARL                                                               503 S CIMARRON AVE                                                                     DRUMRIGHT       OK      74030-4401
DIXIE FARRIS RESOURCES LLC                                               3296 SANDY LANE                                                                        SANTA YNEZ      CA      93460
DIXIE HEARN GEORGE                                                       15695 SPECTRUM DR APT 4405                                                             ADDISON         TX      75001-6678
DIXIE JOHNSON                                                            2524 CHANNEL DR                                                                        RIVERBANK       CA      95367


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               CreditorName                CreditorNoticeName                          Address1                            Address2                 Address3            City     State       Zip      Country
DIXIE L FERRELL                                                         7515 N 2030 ROAD                                                                       LEEDEY            OK      73654
DIXIE REID                                                              186 40TH ST                                                                            SACRAMENTO        CA      95819
DIXIE TIGCHELER                                                         9162 SW 70TH LOOP                                                                      OCALA             FL      34481
DIXIE UGALE-SIMONS                                                      1125 E BROADWAY, # 60                                                                  GLENDALE          CA      91205
DIXON FAMILY TRUST DTD MAY 30 1999                                      1723 SHEILA DR                                                                         GUTHRIE           OK      73044
DKA RESOURCES LP                                                        PO BOX 2159                                                                            GRANBURY          TX      76048
DKL PROPERTIES II LLC                                                   497 HARMONY LN                                                                         ALEXANDRIA        KY      41001-7009
DKT ENERGY LLC                                                          16764 LITTLE LEAF LN                                                                   EDMOND            OK      73012
DL BEVERIDGE INVESTMENTS LLC                                            730 EDDY AVE                                                                           WOODSFIELD        OH      43793
DLA HOWE INC                                                            PO BOX 103                                                                             HENNESSEY         OK      73742
DLA PIPER LLC US                                                        PO BOX 75190                                                                           BALTIMORE         MD      21275-5190
DLB REVOCABLE TRUST 9/1/16                                              12 NORTH RICE AVENUE                                                                   SHAWNEE           OK      74804
DLM COMMUNICATIONS                                                      14921 N LINCOLN BLVD                                                                   EDMOND            OK      73013-3423
DLNGR NR LLC                                                            6501 RED HOOK PLZ # 201 PMB 531                                                        ST THOMAS         FL      99999
DLS TRUST                                                               1312 E 32ND AVE                                                                        STILLWATER        OK      74074-7021
DM & H CATTLE COMPANY LTD LLLP                                          968 SYRACUSE ST                                                                        DENVER            CO      80230-7073
DMC SERVICES LLC                                                        PO BOX 118                                                                             TULSA             OK      74121-1228
DMIC CONSULTING                                                         PO BOX 244                                                                             MEMPHIS           TX      79245-0244
DMS RESERVES LLC                                                        PO BOX 430                                                                             FULTON            CA      95439
                                                                                                                      9211 Lake Hefner
Dnassio Williams                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Dnassio Williams                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Dnassio Williams                                                        13505 E. 27th St                                                                       Tulsa             OK      74134
DNOW LP                                                                 PO BOX 200822                                                                          DALLAS            TX      75320-0822
DOCULYNX INC                                                            6916 N 97TH CIR                                                                        OMAHA             NE      68122
DODGE CREEK LLC                                                         1214 S HIGHLAND AVE                                                                    CUSHING           OK      74023-5210
                                                                                                                      9211 Lake Hefner
Doile Dockray                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Doile Dockray                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Doile Dockray                                                           701 Holmes                                                                             Cushing           OK      74023
DOLESE BROS CO                                                          PO BOX 960144                                                                          OKLAHOMA CITY     OK      73196-0144
DOLLIE BAY                                                              801 12TH ST                                                                            PERRY             OK      73077
DOLLIE C SPILLMAN IRRV TRUST                                            904 ASHWOOD LN                                                                         MOORE             OK      73160
DOLLIE E CANFIELD                                                       PO BOX 1112                                                                            GUTHRIE           OK      73044
DOLLIE HARMON MCCLARY                                                   1810 N WASHINGTON ST APT 13                                                            STILLWATER        OK      74075-3300
DOLLIE MCCLARY                                                          4 BLACKJACK CIR                                                                        BELTON            TX      76513
DOLLIE MCCLURE                                                          350 S STECKEL DR, APT # 5                                                              SANTA PAULA       CA      93060-3416
DOLMAN PROPERTIES LLC                                                   PO BOX 1388                                                                            ARDMORE           OK      73402-1388
DOLORES CARR                                                            27314 E 131ST ST                                                                       COWETA            OK      74429
DOLORES G HENNINGSON                                                    3456 GREENACRES TERRACE                                                                THE VILLAGES      FL      32163
DOLORES L BICKETT                                                       2474 SUMMIT RIDGE TRAIL                                                                CHARLOTTESVILLE   VA      22911
DOLORES LIPCAMAN                                                        PO BOX 97                                                                              PERRY             IL      62362
DOLORES MARIE BRADLEY LE                                                9 PECAN DR                                                                             STILLWATER        OK      74075-3825
DOLORES MARIE MORRISETT                                                 4 ISLAY DR                                                                             BELLA VISTA       AR      72715-3801
DOLORES ROE                                                             832 POMEROY AVENUE #75                                                                 SANTA CLARA       CA      95051
DOMESTIC ENERGY SERVICES LLC                                            2 FAITH LN                                                                             ARDSLEY           NY      10502-2527
DOMESTIC INVESTMENT PROPERTIES LLC                                      508 W VANDAMENT AVE STE 303                                                            YUKON             OK      73099
DOMINION EAST OHIO                                                      PO BOX 26225                                                                           RICHMOND          VA      23260-6225
DOMINION HOPE                                                           PO BOX 26783                                                                           RICHMOND          VA      23261-6783
DOMINION TRANSMISSION INC                                               707 E MAIN ST 18TH FL                                                                  RICHMOND          VA      23219
DOMINIQUE E WILFONG                                                     15706 LESLIE RD                                                                        CHOCTAW           OK      73020
DOMINIQUE GROSS                                                         3201 OAK HOLLOW RD                                                                     OKLAHOMA CITY     OK      73120
                                                                                                                      9211 Lake Hefner
Don McBride                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Don McBride                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Don McBride                                                             1514 N. Washington                                                                     Edmond            OK      73034


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                                                                                                                       9211 Lake Hefner
Don A. Fultz                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Don A. Fultz                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Don A. Fultz                                                             618 E. 8th Ave                                                                         Stillwater       OK      74074
DON AND DEANNA HARRIS 2015 REV. TR.                                      3000 FAIRWAY DRIVE                                                                     WEATHERFORD      OK      73096
DON BIRCKET                                                              20884 N MIDWEST BLVD                                                                   ORLANDO          OK      73073-4506
DON BOCOX                                                                916 HESTER ST                                                                          STILLWATER       OK      74074
DON BOYD                                                                 20201 LARIAT                                                                           PERRY            OK      73077
DON C EDWARDS                                                            8401 ECHOCREEK LANE                                                                    SAN ANTONIO      TX      78240
DON C HAKEN                                                              PO BOX 93                                                                              CONVINGTON       OK      73730
DON C STEWART DECEASED                                                   1062 SOUTH RIVER DRIVE                                                                 DEWEY            AZ      86327
DON CANTRELL                                                             9201 N PRAIRIE RD                                                                      GLENCOE          OK      74032
DON CLAPP                                                                3818 E 6TH                                                                             STILLWATER       OK      74074
DON CORNETT                                                              219 SANDOWN DR                                                                         PEACHTREE CITY   GA      30269-2279
DON D HENDRIE REV TRUST                                                  7017 EAGLE VAIL DR                                                                     PLANO            TX      75093
DON D MONTGOMERY SR                                                      106 WEST MAIN                                                                          EL DORADO        AR      71730-5637
DON DONNELLEY                                                            7610 W MARLETTE AVE                                                                    GLENDALE         AZ      85303-4219
                                                                                                                       9211 Lake Hefner
Don Dorle                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Don Dorle                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Don Dorle                                                                1006 E Broadway                                                                        Cushing          OK      74023
DON E BROWN LIVING TRUST                                                 7725 SOUTH 82ND EAST AVE                                                               TULSA            OK      74133
                                                                                                                       9211 Lake Hefner
Don Freeman McGee                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Don Freeman McGee                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Don Freeman McGee                                                        112 W. 5th                                                                             Cushing          OK      74023
DON GUELZOW                                                              3808 DEODAR ST                                                                         SILVER SPRINGS   NV      89429-8304
DON H & KAYE G DUNCAN, JTS                                               2511 TROPHY LANE                                                                       STILLWATER       OK      74074
DON HARDIN                                                               5712 W LAKEVIEW RD                                                                     STILLWATER       OK      74075-0949
DON HASKIN                                                               53349 W 211TH ST S                                                                     DEPEW            OK      74028-3420
DON INGRAM                                                               2200 ROSS AVENUE SUITE 4500E                                                           DALLAS           TX      75201
DON JEANS                                                                6010 S 13TH ST                                                                         BLACKWELL        OK      74631

DON K HENDERSON TRUST - WELLS FARGO                                      PO BOX 41779                                                                           AUSTIN           TX      78704-0030
DON LAKE                                                                 RR 2 BOX 76                                                                            GEARY            OK      73040
DON LEONHART                                                             6617 WICKLIFF TRL                                                                      PLANO            TX      75023-3234
DON LOWE                                                                 207 BRANDYSHIRE DR                                                                     TAMIMENT         PA      18371-9414
DON MANSFIELD                                                            12726 ASHWOOD DRIVE                                                                    SUN CITY WEST    AZ      85375
DON MAYBERRY                                                             432 NW 162                                                                             OKLAHOMA CITY    OK      73013
DON MORITZ                                                               224 N MONROE APT 206                                                                   LOVELAND         CO      80537
DON MOSS                                                                 3008 S PAROTTE                                                                         AGRA             OK      74824-6213
DON NESTER                                                               PO BOX 9370                                                                            WICHITA FALLS    TX      76308
DON OLINGHOUSE                                                           100 E MOHAWK AVE                                                                       STILLWATER       OK      74075-1649

DON OVERTON CONSTRUCTION CO DON OVE   C/O SHELLEY OVERTON ALLEN                                                                                                 DURANT           OK      74701-1705
DON PRATT MCMILLAN                                                       7082 CHANTILLY LANE                                                                    DALLAS           TX      75214
DON RAY WILLIAMS                                                         357 S BROOK DRIVE                                                                      LEANDER          TX      78641-3465
DON RED                                                                  402 E 14TH ST                                                                          STILLWATER       OK      74074-5007
DON RICKARDS                                                             2828 LANCELOT DR                                                                       BATON ROUGE      LA      70816-2445
DON ROBINSON                                                             2510 SAGE HOLLOW                                                                       SAN ANTONIO      TX      78251
                                                                                                                       9211 Lake Hefner
Don Rodgerick Horton Sr.              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Don Rodgerick Horton Sr.              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Don Rodgerick Horton Sr.                                                 1900 Craig Blvd                                                                        Edmond           OK      73003
DON RODOLPH                                                              PO BOX 277                                                                             CLINTON          OK      73601


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                CreditorName            CreditorNoticeName                         Address1                             Address2                 Address3             City    State       Zip      Country
DON RYAN                                                             6600 E SAC & FOX                                                                       CUSHING          OK       74023
DON SHIPPY                                                           2329 EL PASO RD                                                                        CALDWELL         ID       83607
DON SHORT                                                            6545 N WICHITA AVE                                                                     HASKELL          OK       74436
DON SMITH                                                            387 BRENTFORD CIRCLE                                                                   LITTLETON        CO       80126
DON STANCOFF                                                         3105 WINGREN RD                                                                        IRVING           TX       75062-4570
                                                                                                                   9211 Lake Hefner
Don Brandt                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                  c/o Laminack, Pirtle & Martines,
Don Brandt                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Don Brandt                                                           6811 Morava Ave                                                                        Oklahoma City    OK       73169
                                                                                                                   9211 Lake Hefner
Don Loganbill                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                  c/o Laminack, Pirtle & Martines,
Don Loganbill                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Don Loganbill                                                        120 Mocking Bird Lane                                                                  Crescent         OK       73028
                                                                                                                   9211 Lake Hefner
Don Neighbors                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                  c/o Laminack, Pirtle & Martines,
Don Neighbors                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Don Neighbors                                                        707 North 4th St                                                                       Orlando          OK       73073
DONA JEAN BOWER LIFE ESTATE                                          1707 S MANSFIELD DR                                                                    STILLWATER       OK       74074
DONA SHOENHAIR                                                       1430 WILLARD AVE                                                                       WEST MIFFLIN     PA       15122
                                                                                                                   9211 Lake Hefner
Dona Greenhoward                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                  c/o Laminack, Pirtle & Martines,
Dona Greenhoward                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Dona Greenhoward                                                     18755 NE 122nd St                                                                      Jones            OK       73049
DONAHOE ENTERPRISES LLC                                              911 BROCKS END CT                                                                      NAPERVILLE       IL       60540
                                                                                                                   9211 Lake Hefner
Donald Prince                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                  c/o Laminack, Pirtle & Martines,
Donald Prince                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Donald Prince                                                        3504 Simmons Dr                                                                        Del City         OK       73115
DONALD & JOANNA BERNARD TRUST                                        2500 N BROADWAY #311                                                                   EDMOND           OK       73034
DONALD & WILETTA DOTSON REV TR                                       307 CAROLINE                                                                           NEW IBERIA       LA       70560
DONALD A BLOUSTINE FAMILY TRUST                                      2801 REDBUD LAND                                                                       EDMOND           OK       73025
DONALD A COONTS                                                      7205 E 44TH ST                                                                         RIPLEY           OK       74062-6290
DONALD AXTELL                                                        RR 1 BOX 13000                                                                         PORUM            OK       74455
DONALD BAGWELL                                                       1401 S GIRL SCOUT RD                                                                   AMARILLO         TX       79124
DONALD BENTLEY                                                       4923 S CARSON ST APT 104                                                               AURORA           CO       80015-3825
DONALD BIEDENBACH                                                    40125 TOWNSHIP HWY 95                                                                  WOODSFIELD       OH       43793
DONALD BLAKE                                                         PO BOX 662                                                                             CRESCENT         OK       73028
DONALD BLAKEMORE                                                     6 TAWANA DRIVE                                                                         SHAWNEE          OK       74804
DONALD BOYLES                                                        12202 E 68TH ST                                                                        RIPLEY           OK       74062
DONALD BRIAN PARKINSON                                               121 CLEAR VIEW DRIVE                                                                   FORT DAVIS       TX       79734-2501
DONALD BURKS                                                         15169 BIG ISLAND WAY                                                                   BIG ISLAND       VA       24526
DONALD C BABEL GST TRUST                                             3421 PECOS ST #12                                                                      AUSTIN           TX       78703
DONALD CLARY                                                         207 W EUCLID AVE                                                                       SPOKANE          WA       99205-3022
DONALD COMBS                                                         2938 PLAZA AZUL                                                                        SANTA FE         NM       87507-5338
DONALD CONNER                                                        7021 W COMBS DR                                                                        CUSHING          OK       74023-5869
DONALD COURTRIGHT                                                    11300 TROUTT DR                                                                        GUTHRIE          OK       73044-8120
DONALD D CRABTREE                                                    1851 TAMARA RD                                                                         GUTHRIE          OK       73044
DONALD DANIELS                                                       5323 SPRING VALLEY RD STE 250                                                          DALLAS           TX       75254
DONALD DECEASED                                                      16207 SALIDA DE SOL DR                                                                 HOUSTON          TX       77083
DONALD DELISLE                                                       8206 187TH STREET CT E                                                                 PUYALLUP         WA       98375-1868
DONALD DETWILER                                                      1514 ST CHARLES PL                                                                     MURFREESBORO     TN       37129
DONALD DUCKWALL                                                      219 W LAKEVIEW RD                                                                      STILLWATER       OK       74075
DONALD DUDLEY                                                        97 SE 59TH ST                                                                          TRENTON          MO       64683
DONALD DUNCAN                                                        PO BOX 57147                                                                           OKLAHOMA CITY    OK       73157


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              CreditorName                 CreditorNoticeName                         Address1                             Address2                 Address3            City         State       Zip      Country
DONALD DURHAM                                                           525 N CAMINO REAL                                                                      PALM SPRINGS          CA      92262-6009
DONALD E & LINDA A MERZ REV LVG TR                                      5 WOODMOOR PL                                                                          PONCA CITY            OK      74604
DONALD E BAXTER TRUST                                                   277 EUCLID AVE                                                                         OAKLAND               CA      94610-3128
DONALD E BERNARD                                                        2500 N BROADWAY #311                                                                   EDMOND                OK      73034
DONALD E GRASSMAN                                                       25053 N HWY 74 E                                                                       MARSHALL              OK      73056
DONALD E GRIMM                                                          PO Box 2640                                                                            MIDLAND               TX      79702

DONALD E HICKS                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY              AR      75070
DONALD E HURST                                                          901 WHISPERING OAKS TERRACE                                                            MUSTANG               OK      73064
DONALD E MILSTEN                                                        7907 IVY LN                                                                            PIKESVILLE            MD      21208
DONALD E. THAIN                                                         4509 HAVERHILL LN.                                                                     CORPUS CHRISTI        TX      78411
DONALD ECKARD                                                           14 PLOCKTON LN                                                                         BELLA VISTA           AR      72715
DONALD ELLEDGE                                                          PO BOX 275                                                                             PERRY                 IL      62362
DONALD ETHRIDGE                                                         PO BOX 1105                                                                            CUSHING               OK      74023-1105
DONALD EVANS                                                            1381 NE ARRINGTON RD                                                                   HILLSBORO             OR      97124
DONALD EVANS                                                            17 WOODLAND PARK DRIVE                                                                 LURAY                 VA      22835
DONALD EXTON AND EULA KAY EXTON HW                                      PO BOX 75                                                                              RIPLEY                OK      74062-0075
DONALD F FOX ESTATE                                                     3709 W RENO AVE                                                                        OKLAHOMA CITY         OK      73107
DONALD F LINSENMEYER LIVING TRUST                                       1401 RED BUD LN                                                                        EDMOND                OK      73034-8037
DONALD FLASCH                                                           7505 S EVANSTON AVE                                                                    TULSA                 OK      74136
DONALD FRANK                                                            1016 S. BLUERIDGE ST.                                                                  STILLWATER            OK      74074
DONALD FULTZ                                                            618 E 8TH AVE                                                                          STILLWATER            OK      74074
DONALD G & JULIA A KEESEE REV TR                                        5001 S RICHLAND RD                                                                     YUKON                 OK      73099
DONALD G AYRES MINERAL TRUST LLC                                        PO BOX 504                                                                             MADILL                OK      73446-0504
DONALD G BUNDREN & JANET SUSAN                                          14961 N BANK RD                                                                        ROSEBURG              OR      97470-7937
DONALD G KEESEE                                                         5001 S RICHLAND RD                                                                     YUKON                 OK      73099
DONALD G WEBSTER                                                        2455 NO WOODLAWN APT 223                                                               WICHITA               KS      67220
DONALD GAMBRIL                                                          4409 SPRING ROW                                                                        NORTHPORT             AL      35473-5231
DONALD GORE                                                             PO BOX 95                                                                              TALOGA                OK      73667
DONALD GOTTSCHALK                                                       40 BALTANAS WAY                                                                        HOT SPRINGS VILLAGE   AR      71909
DONALD H WEBB FAMILY TRUST                                              115 W 19TH ST                                                                          OWASSO                OK      74055
DONALD HALL                                                             ROUTE 2                                                                                CRESCENT              OK      73028
DONALD HANSEN                                                           16958 THOMA STREET                                                                     FOUNTAIN VALLEY       CA      92703
DONALD HIDAY                                                            1120 EVANS ROAD                                                                        GAS CITY              IN      46933
DONALD HILLHOUSE                                                        12351 CORVETTE ST                                                                      GARDEN GROVE          CA      92841-3606
DONALD HIXON AND                                                        PO BOX 495                                                                             CRESCENT              OK      73028
DONALD HOWELL                                                           35063 HOWELL RD                                                                        GRAYSVILLE            OH      45734-9024
DONALD HOWLAND                                                          2940 BANDERAS LN                                                                       COLORADO SPRINGS      CO      80917
DONALD HUDSON                                                           2800 RODEO RD. UNIT 503                                                                ABBEVILE              LA      70510-5435
DONALD HUNTER                                                           75 SNOW POND RD                                                                        CONCORD               NH      03301
DONALD HUXTABLE                                                         131 SILVERADO CIR                                                                      ROSEVILLE             CA      95678

DONALD J BINGHAM                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY              TX      75070
DONALD J. WITT REV TR                                                   500 WEST BENDER ROAD UNIT 54                                                           MILWAUKEE             WI      53217
DONALD JAMES                                                            1803 N RICKEY RD                                                                       SHAWNEE               OK      74804-4146
DONALD JR                                                               22750 CTERLING DR                                                                      KINGFISHER            OK      73750
DONALD KEESEE                                                           625 W BENNETT DR APT B                                                                 STILLWATER            OK      74074
DONALD KEITH                                                            712 HOLLY ST                                                                           PERRY                 OK      73077
DONALD KEITH ETHRIDGE AND MARY ANN                                      PO BOX 1105                                                                            CUSHING               OK      74023-1105
DONALD L HANSEN JR                                                      9713 S 99TH EAST AVE                                                                   TULSA                 OK      74133
DONALD L PETERSEN                                                       23985 GLENMOOR WAY                                                                     PARKER                CO      80138-3160
                                                                                                                      9211 Lake Hefner
Donald L. Williams                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK      73120
                                     c/o Laminack, Pirtle & Martines,
Donald L. Williams                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX      77006
Donald L. Williams                                                      736 NE 37th St                                                                         Oklahoma City         OK      73105
DONALD LEBERMANN                                                        PO BOX 521                                                                             PORT HUENEME          CA      93044

DONALD LEE WALKER                                                       5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY              TX      75070


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             CreditorName                   CreditorNoticeName                          Address1                            Address2                 Address3            City         State       Zip      Country
DONALD LONGWELL                                                          37700 TOWNSHIP ROAD 35                                                                 WOODSFIELD            OH      43793-9209
DONALD MAX BODE                                                          10450 FRONTIER                                                                         PERRY                 OK      73077
DONALD MCALLISTER                                                        1081 WRIGHT WAY DR                                                                     WEDOWEE               AL      36278
DONALD MCBRIDE                                                           48536 40 AND 8 RD                                                                      JERUSALEM             OH      43747-9740
DONALD MCKINZY                                                           8300 AZUREWOOD DR                                                                      OKLAHOMA CITY         OK      73135
DONALD MERZ                                                              5 WOODMOOR PL                                                                          PONCA CITY            OK      74604
DONALD MEYER TIC                                                         14767 ROBIN CIRCLE                                                                     YUKON                 OK      73099
DONALD MILLS                                                             21 ROBIN LN                                                                            WEAVERVILLE           NC      28787
DONALD MOORE                                                             PO BOX 148                                                                             GLENCOE               OK      74032
DONALD MOORMAN                                                           RR 1 BOX 30                                                                            DURHAM                OK      73642
DONALD MOTT                                                              PO BOX 1116                                                                            FORT GIBSON           OK      74434
DONALD MUELLER                                                           10301 QUEENSBURY DR                                                                    YUKON                 OK      73099
DONALD NELSON                                                            2050 DAWN DR                                                                           GRANTS PASS           OR      97527
DONALD NESTER                                                            PO BOX 9370                                                                            WICHITA FALLS         TX      76308-9370
DONALD NEWTON                                                            PO BOX 97                                                                              GLENCOE               OK      74032
DONALD NIX                                                               45 ROCKLEDGE AVE APT 2R                                                                WHITE PLAINS          NY      10601
DONALD OAK                                                               8118 E 63RD ST                                                                         TULSA                 OK      74133
DONALD P BROWN 1998 REV TR                                               3109 ORLANDO RD                                                                        OKLAHOMA CITY         OK      73131
DONALD P STEVENSON                                                       PO BOX 79                                                                              DENAIR                CA      95316-0079
DONALD PAGEL                                                             18019 DORMAN DRAW LN                                                                   HOUSTON               TX      77044
DONALD PERDUE                                                            534 WASHINGTON AVE                                                                     HURON                 OH      44839
DONALD PETERS                                                            PO BOX 171                                                                             DELHI                 LA      71232
DONALD POOLE                                                             12000 CYPRESS LINKS DR                                                                 FORT MYERS            FL      33913-8405
DONALD PRESLEY                                                           18 LAVANDA LANE                                                                        HOT SPRINGS VILLAGE   AR      71909
DONALD R COONTS REV TRUST                                                4121 E RICHMOND RD                                                                     STILLWATER            OK      74075-1144
DONALD R POINDEXTER JR                                                   12310 BOHANNON BLVD                                                                    ORALNDO               FL      32824-6093
                                                                                                                       9211 Lake Hefner
Donald R. Hart                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK      73120
                                      c/o Laminack, Pirtle & Martines,
Donald R. Hart                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX      77006
Donald R. Hart                                                           745 Choctaw Vista West                                                                 Choctaw               OK      73020
DONALD RAY COOK                                                          6521 E 95TH ST SOUTH                                                                   DERBY                 KS      67037
DONALD RAY POINDEXTER DECEASED                                           12310 BOHANNON BLVD.                                                                   Orlando               FL      32824
                                                                                                                       9211 Lake Hefner
Donald Ray Washington                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK      73120
                                      c/o Laminack, Pirtle & Martines,
Donald Ray Washington                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX      77006
Donald Ray Washington                                                    11016 N. Brauer Ave                                                                    Oklahoma City         OK      73114
DONALD REED                                                              1325 DREAM ISLAND PLZ # 29                                                             STEAMBOAT SPRINGS     CO      80487
DONALD RENNER                                                            18415 SE 21ST ST                                                                       CHOCTAW               OK      73020-6300
DONALD REX MCGINNIS                                                      PO BOX 145                                                                             LURAY                 KS      67649
DONALD ROBERTS                                                           6666 S 155TH W AVE                                                                     SAPULPA               OK      74066
DONALD RODGERS                                                           740905 S 3450 RD                                                                       AGRA                  OK      74824-6388
DONALD ROSS                                                              156 E. LAXFORD STREET                                                                  GLENDORA              CA      91740
DONALD RYAN                                                              PO BOX 19127                                                                           COLORADO CITY         CO      81019-0127
DONALD SCOTT MCGOVERN                                                    500 SEVILLE DRIVE                                                                      EDMOND                OK      73034
DONALD SHERRY CHAPMAN JT                                                 8619 E 116TH ST                                                                        PERKINS               OK      74059-3737
DONALD SKOUBY                                                            505 CAMBRIDGE DR                                                                       DESOTO                IL      62924
DONALD SMITH                                                             504 CRYSTAL BAY CIR                                                                    SUFFOLK               VA      23435
DONALD SNEED                                                             PO BOX 385                                                                             COYLE                 OK      73027-0385

DONALD SNEED AND JOAN M SNEED HW JT                                      PO BOX 332                                                                             RIPLEY                OK      74062-0332
DONALD STECK                                                             PO BOX 785                                                                             ARCHER CITY           TX      76351-0785
DONALD STILES                                                            5816 SW THORNTON RD                                                                    CLARKSDALE            MO      64430-9154
DONALD STRELLER                                                          17150 CR 120                                                                           PERRY                 OK      73077
DONALD TATE                                                              2414 S STONEHEDGE DR                                                                   NAMPA                 ID      83686
DONALD TAYLOR                                                            508 E MASSIE                                                                           ATLANTA               TX      75551
DONALD TAYLOR                                                            921 HOLLY                                                                              PERRY                 OK      73077
DONALD TERREL                                                            108 NATHAN HALE RD                                                                     GILLETTE              WY      82718


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             CreditorName                    CreditorNoticeName                             Address1                        Address2                  Address3              City   State       Zip      Country
DONALD THOMAS                                                            810690 S. 3330 ROAD                                                                     CARNEY            OK      74832
Donald Tubbs                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Donald Tubbs                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
Donald Tubbs                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
Donald Tubbs                                                             PO Box 480924                                                                           Tulsa             OK      74148
DONALD TURNER                                                            3113 PHILLIP DR                                                                         HURST             TX      76054
DONALD W THOMPSON                                                        315 E THOMAS                                                                            PERKINS           OK      74059
                                                                                                                       9211 Lake Hefner
Donald W. Cook                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Donald W. Cook                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Donald W. Cook                                                           3708 S. East Avenue                                                                     Oklahoma City     OK      73129
                                                                                                                       9211 Lake Hefner
Donald Walker                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Donald Walker                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Donald Walker                                                            2516 W. Gary St                                                                         Broken Arrow      OK      74012
DONALD WARD                                                              1201 E SCHMID ST                                                                        WYNNEWOOD         OK      73098-1217
Donald Warner                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Donald Warner                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
Donald Warner                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
Donald Warner                                                            1124 S. Ridge Dr.                                                                       Stillwater        OK      74074
DONALD WAUGH                                                             100 NORTH 12TH STREET, APT 403                                                          LINCOLN           NE      68508-1437
DONALD WEATHERBY                                                         2884 S SPRINGFIELD BLVD                                                                 BROOKLINE         MO      65619
DONALD WILLIAM FRY AND ROXIE FAYE F                                      1233 E LAS PALMARITAS DR                                                                PHOENIX           AZ      85020
DONALD WISS                                                              1216 PEMBROOK DR                                                                        WARRENSBURG       MO      64093
DONALD WOOLDRIDGE                                                        421 E 116TH ST                                                                          PERKINS           OK      74059
                                                                                                                       9211 Lake Hefner
Donald Kincaid                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Donald Kincaid                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Donald Kincaid                                                           12701 Antelope Rd                                                                       Luther            OK      73054
DONEA MAYBERRY                                                           432 NW 162                                                                              OKLAHOMA CITY     OK      73013
DONETA NICHOLS                                                           PO Box 1011                                                                             ELK CITY          OK      73648
DONGHUA ZHOU                                                             5028 W 3RD AVE                                                                          STILLWATER        OK      74074-6797
DONIE AVANTS                                                             4675 N ELLISON RD                                                                       GUTHRIE           OK      73044
DONITA MITCHELL REV TR 10/1/2007                                         1016 W WABASH                                                                           ENID              OK      73701
DONNA A LEAVITT OLSON                                                    1328 SANTE FE ST                                                                        SCHENECTADY       NY      12303-1334
DONNA A TEFFT                                                            302 NORTH KYLE COURT                                                                    STILLWATER        OK      74075
DONNA AIKEN                                                              9800 NE 21ST ST LOT 33                                                                  OKLAHOMA CITY     OK      73141-4241
DONNA ALDRIDGE                                                           2013 W EL PASO STREET                                                                   BROKEN ARROW      OK      74012
                                                                                                                       9211 Lake Hefner
Donna Allen                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Donna Allen                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Donna Allen                                                              5803 N. Mt Vernon                                                                       Cushing           OK      74023
DONNA ALUMBAUGH                                                          PO BOX 29                                                                               TOUTLE            WA      98649-0029
DONNA BANKS                                                              5457 RANGER DR                                                                          ROCKWALL          TX      75032-8435
DONNA BARNETT                                                            17612 ETHEL RD                                                                          LITTLE ROCK       AR      72206-6310
DONNA BEANE SUTTON & JOHN WALTERS                                        4580 E SENECA DR                                                                        SAINT JOHNS       FL      32259
DONNA BEASON                                                             608 N BURDICK ST                                                                        STILLWATER        OK      74075-7923
DONNA BELLMON                                                            2017 HIDDEN CREEK CT.                                                                   EDMOND            OK      73034
DONNA BENELL                                                             2417 ROBIN RIDGE                                                                        ENID              OK      73703
                                                                                                                       9211 Lake Hefner
Donna Bennett                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Donna Bennett                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Donna Bennett                                                            1004 E 6th St                                                                           Cushing           OK      74023
DONNA BOYD                                                               501 N TAYLOR ST TRLR 17                                                                 PRYOR             OK      74361-2026


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DONNA BRENGLE                                                       7802 W 11TH ST                                                                          GREELEY         CO      80634
DONNA BRORSEN                                                       19950 CR 130                                                                            PERRY           OK      73077
DONNA BUNCH                                                         7018 N RANGE RD                                                                         STILLWATER      OK      74075
DONNA BURK                                                          500 MIRASOL CIR APT 103                                                                 KISSIMMEE       FL      34747
DONNA BURROUGHS                                                     3223 BROOKS DR                                                                          ENID            OK      73701
DONNA CHENOWETH                                                     1206 ROMANY RD                                                                          KANSAS CITY     MO      64113
Donna Clark-Williams             c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Donna Clark-Williams             c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Donna Clark-Williams             c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Donna Clark-Williams                                                812 West 5th St                                                                         Skiatook        OK      74070
DONNA CONLEY                                                        6524 S 4060 RD                                                                          TALALA          OK      74080
DONNA COUPLAND                                                      PO BOX 10                                                                               SALIDA          CO      81201
DONNA CRABTREE                                                      809 N CHISHOLM WAY                                                                      MUSTANG         OK      73064
DONNA CUTNER                                                        19620 TENAJA ROAD                                                                       MURRIETA        CA      92562
DONNA DEBARTOLO                                                     229 S IDA DR                                                                            GLOBE           AZ      85501
                                                                                                                  9211 Lake Hefner
Donna Delisa Caldwell            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                 c/o Laminack, Pirtle & Martines,
Donna Delisa Caldwell            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Donna Delisa Caldwell                                               1403 Lessley Ln                                                                         Sallisaw        OK      74955
DONNA DELLAVALLE                                                    6917 OLD CASTLE DR                                                                      LAS VEGAS       NV      89108
DONNA DRAKE                                                         210 H ST SE                                                                             ARDMORE         OK      73401-8265
DONNA DUDLEY ROBERTS                                                1501 ELM ST                                                                             CHILLICOTHE     MO      64601
DONNA EDWARDS                                                       4225 SE 22ND ST                                                                         DES MOINES      IA      50320-2627
DONNA ELROD aka D K ELROD                                           59721 E 250 RD                                                                          GROVE           OK      74344
DONNA EMERY                                                         208 SE WAVERLY AVE                                                                      BARTLESVILLE    OK      74006-2539
DONNA FAYE STEELE                                                   3601 SOUTH CHESTER AVE APT 40                                                           BAKERSFIELD     CA      93304
DONNA GRAVES                                                        2572 EAST COUNTRY ROAD 60                                                               ORLANDO         OK      73073
DONNA GRIGGS                                                        PO Box 5                                                                                BANDON          OR      97411
DONNA HALL                                                          11626 ELK HEAD RANGE RD                                                                 LITTLETON       CO      80127
DONNA HARRISON                                                      917 S SPRINGDALE DR                                                                     STILLWATER      OK      74074
DONNA HEINLE                                                        6 N 6TH ST #1102                                                                        YAKIMA          WA      98901
DONNA HILTON                                                        2045 THIRD AVE APT 210                                                                  SNEADS          FL      32460-2370
DONNA HINDMON                                                       5209 S ELMS RD                                                                          SWARTZ CREEK    MI      48473-1601
DONNA HOBSON                                                        202 WRIGHT AVE                                                                          SPRINGDALE      AR      72764
DONNA ILLSLEY                                                       136 CANAAN AVE                                                                          KENTVILLE       NS      B4N 2A9      CANADA
DONNA J                                                             10404 VINEYARD BLVD STE E                                                               OKLAHOMA CITY   OK      73120

DONNA J HICKS LIVING TRST                                           5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
DONNA J. LAWSON LIVING TR                                           PO BOX 1684                                                                             Broken Arrow    OK      74013
DONNA JANTZEN                                                       508 CHERRY PL                                                                           OKLAHOMA CITY   OK      73127-6216
DONNA JOHN                                                          1226 W TAHLEQUAH AVE                                                                    SULPHUR         OK      73086-2232
DONNA JUNE WILCHER                                                  1700 HUDSON DR                                                                          PONCA CITY      OK      74601
DONNA K CROSS LIFE ESTATE                                           1404 PAR RD                                                                             PERRY           OK      73077-1100
DONNA K JANSZEN                                                     9011 QUAIL BROOK COURT                                                                  BAKERSFIELD     CA      93312
DONNA KELLY                                                         345 N HOLYOKE ST                                                                        WICHITA         KS      67208-3212
DONNA KIMSEY                                                        7358 BLANCO PEAK ST                                                                     LAS VEGAS       NV      89139
DONNA L. STANLEY REV TRST                                           2336 SOUTHWEST 92ND ST                                                                  OKLAHOMA CITY   OK      73159
DONNA LAKE                                                          2621 BROOKPOINTE CIR                                                                    MANHATTAN       KS      66502-8409

DONNA M RHOADS                                                      5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
DONNA M SNEAD TRUST                                                 4419 E 19TH AVE                                                                         STILLWATER      OK      74074-6024
DONNA MAGER                                                         3794 US HIGHWAY 97A                                                                     CHELAN          WA      98816-9315
DONNA MAIB                                                          12917 AVANTE DR NW                                                                      SILVERDALE      WA      98383-9442
DONNA MCKEE                                                         PO BOX 1060                                                                             CHULA VISTA     CA      91912-1060
DONNA MULLINS                                                       3575 BANDERA RD                                                                         FORT WORTH      TX      76116
                                                                                                                  9211 Lake Hefner
Donna O'Bryan                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120



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                  CreditorName         CreditorNoticeName                             Address1                         Address2                  Address3             City   State       Zip      Country
                                 c/o Laminack, Pirtle & Martines,
Donna O'Bryan                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Donna O'Bryan                                                       2606 E. 134th St. South                                                                 Bixby            OK      74008
DONNA OLMSTEAD                                                      5633 CHESTNUT HILL                                                                      BARTLESVILLE     OK      74006
DONNA OZOLIN                                                        2797 LITTLE HURRICANE RD                                                                MARTINSVILLE     IN      46151
DONNA PACE                                                          3309 S GREEN VALLEY DR                                                                  STILLWATER       OK      74074-7241
Donna Pearson                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Donna Pearson                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Donna Pearson                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Donna Pearson                                                       2202 S. Ripley Rd                                                                       Ripley           OK      74062
DONNA PROUTY                                                        5925 SEQUOIA ST                                                                         INDEPENDENCE     OR      97351-9737
DONNA RAE BATSON REVOC TR                                           53093 S 37180 RD                                                                        CLEVELAND        OK      74020-7053
DONNA REYES                                                         PO BOX 493                                                                              BOOKER           TX      79005
DONNA RING                                                          6495 BATTLE CREEK RD SE                                                                 SALEM            OR      97317-9410
DONNA ROBERTS                                                       18902 E COVELL RD                                                                       LUTHER           OK      73054-8913
DONNA ROBERTSON                                                     9135 E 49TH PLACE                                                                       TULSA            OK      74145
DONNA ROBINSON PURDUE                                               728 S. 193RD. W. AVENUE                                                                 SAND SPRINGS     OK      74063
DONNA RODRIQUEZ-TREJO                                               3706 W ABRAHAM LN                                                                       PHOENIX          AZ      85038
DONNA SEBRANEK                                                      19613 HAYWARD RD                                                                        COVINGTON        OK      73730
DONNA SEMBROSKI                                                     649 HUNTING CREEK DRIVE                                                                 GREENWOOD        IN      46142
DONNA SIMS                                                          PO BOX 577                                                                              MAPLE VALLEY     WA      98038
DONNA SMITH                                                         6706 WIMBLEDON TRAIL RD                                                                 SPRING           TX      77379
DONNA SMITH                                                         6706 WIMBLEDON TRL RD                                                                   SPRING           TX      77379-7500
DONNA SOLBERG                                                       7786 EAST LAKEVIEW CT                                                                   SCOTTSDALE       AZ      85258
DONNA SOMBKE                                                        834 E HANDEL ST                                                                         MERIDIAN         ID      83646-7647
DONNA STANDLEY FLOOD                                                566 PICKETTS LAKE DR                                                                    ACWORTH          GA      30101-4711
DONNA STEPHENS                                                      1501 S MAIN ST APT D-402                                                                STILLWATER       OK      74074-7967
DONNA STOTTS                                                        1000 SCOTT DR                                                                           EDMOND           OK      73013
DONNA SUZETTE                                                       221 ROSE WALK LN                                                                        CARRBORO         NC      27510
DONNA THYER                                                         9301 MOUNT CHERIE AVE 101                                                               LAS VEGAS        NV      89129
DONNA TRIPLETT THIEME                                               12473 ATOME DR                                                                          HUMPHREYS        MO      64646
DONNA W HARRIS TRUST                                                5505 W 19TH AVE #227                                                                    STILLWATER       OK      74074-1323
DONNA WALKER                                                        916 FURMAN AVENUE                                                                       CORPUS CHRISTI   TX      78404-3226
DONNA WELLS                                                         PO BOX 189                                                                              STILLWATER       OK      74076
DONNA WILSON                                                        408 N WILDWOOD ACRES DR                                                                 STILLWATER       OK      74075
DONNA ZAWATSKI                                                      701 THISTLEWOOD CT                                                                      NORMAL           IL      61761
                                                                                                                  9211 Lake Hefner
Donna Clift                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                 c/o Laminack, Pirtle & Martines,
Donna Clift                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Donna Clift                                                         2013 Brookhaven Dr                                                                      Edmond           OK      73034
                                                                                                                  9211 Lake Hefner
Donna Farrimond                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                 c/o Laminack, Pirtle & Martines,
Donna Farrimond                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Donna Farrimond                                                     2528 NW 34th St                                                                         Oklahoma City    OK      73112
                                                                                                                  9211 Lake Hefner
Donna Iser                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                 c/o Laminack, Pirtle & Martines,
Donna Iser                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Donna Iser                                                          3801 Red Deer Crossing                                                                  Edmond           OK      73034
                                                                                                                  9211 Lake Hefner
Donna Koszarek                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                 c/o Laminack, Pirtle & Martines,
Donna Koszarek                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Donna Koszarek                                                      1949 Olde School Rd                                                                     Edmond           OK      73012
                                                                                                                  9211 Lake Hefner
Donna Miller                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120



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                CreditorName              CreditorNoticeName                             Address1                         Address2                 Address3             City   State       Zip      Country
                                    c/o Laminack, Pirtle & Martines,
Donna Miller                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Donna Miller                                                           349777 E. 1040 Rd                                                                      Prague           OK      74864
                                                                                                                     9211 Lake Hefner
Donna West                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Donna West                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Donna West                                                             1707 Hillcrest                                                                         Prague           OK      74864
DONNAL LEISHER                                                         1513 SOMMIT                                                                            KIRKWOOD         MO      63122
DONNELLEY FINANCIAL SOLUTIONS                                          PO Box 842282                                                                          BOSTON           MA      02284-2282
DONNIE & JUDY CHRISTENBERRY                                            2407 CONGRESS AVE                                                                      SAGINAW          MI      48602
DONNIE AND BRENDA L CAUDLE HW TIC                                      PO BOX 376                                                                             STILLWATER       OK      74076-0376
DONNIE COOPER                                                          22103 E 6TH ST                                                                         YALE             OK      74085
DONNIE HOFFMAN                                                         3009 S UNION RD                                                                        STILLWATER       OK      74074
                                                                                                                     9211 Lake Hefner
Donnie J. Scruggs                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120

Donnie J. Scruggs                   c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Donnie J. Scruggs                                                      6108 SE 10th St                                                                        Oklahoma City    OK      73110
DONNIE L & WANDA L STRECK                                              15774 W COUNTY ROAD 63                                                                 MARSHALL         OK      73056-9739
DONNIE L BEAN & THELMA                                                 800623 S 3460 ROAD                                                                     AGRA             OK      74824
DONNIE SQUIRES                                                         810 WEST 11TH STREET                                                                   HOBART           OK      73651
DONNIE STRECK                                                          15774 W COUNTY ROAD 63                                                                 MARSHALL         OK      73056
DONNIE WARDELL                                                         40422 VIA SIENA                                                                        MURRIETA         CA      92562
DONNITA GARRETT HALL                                                   1309 W ELDER AVE APT 6                                                                 DUNCAN           OK      73533
DONNITA STEPHENS                                                       116 SOUTH RIPLEY RD                                                                    RIPLEY           OK      74062
DONNY LOWRY                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
DONOVAN HARRISON                                                       405 N HARPER ST                                                                        ATTICA           KS      67009
DORA BURRIS DECEASED                                                   6386 COUNTY RD 24                                                                      ORLAND           CA      95963
DORA DOOLEY                                                            1801 E 10TH ST                                                                         OKMULGEE         OK      74447-5407
DORA HANSON                                                            25 LAKE SPRINGS                                                                        MCLOUD           OK      74851

DORA MORTIMER-HEATH                                                    5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
DORA RICHEY HUFFER                                                     500 ADAIR BLVD APT 301                                                                 OKLAHOMA CITY    OK      73110-2962
DORADO E&P PARTNERS LLC                                                1 W 3RD ST STE 1000                                                                    TULSA            OK      74103-3500
DORADO MINERAL & ROYALTY LLC                                           6000 WESTERN PLACE STE 120                                                             FORT WORTH       TX      76107
DORALU ARNETT MELODY E BRUCE AIF                                       1826 W VILAS                                                                           GUTHRIE          OK      73044-7975
DORCAS DOUTHIT                                                         4708 MONUMENTAL STR                                                                    RICHMOND         VA      23226
DORCHESTER MINERALS OKLA LP                                            3838 OAK LAWN AVE STE 300                                                              DALLAS           TX      75219-4541
DORCHESTER RESOURCES LP                                                PO BOX 18879                                                                           OKLAHOMA CITY    OK      73154-8879
DORCO LLC                                                              11900 OLD MILL RD                                                                      OKLAHOMA CITY    OK      73131-7508
DORCUS COKER                                                           260 S 102ND EAST AVE                                                                   TULSA            OK      74128-1236
DORCY OIL COMPANY                                                      PO BOX 110                                                                             BENNINGTON       VT      05201-0110
Dore Law Group, PC                  ATTN: Christina Heeth              Peak Oilfield Services, LLC                   17171 Park Row       Suite 160           Houston          TX      77084
DOREEN BULLOCK                                                         2160 E 3950 NORTH                                                                      FILER            ID      83328
DOREEN MCMURRAY                                                        185 BAYOU RD                                                                           KALISPELL        MT      59901
DORENA WEST-MOONEY                                                     PO BOX 1612                                                                            FRIDAY HARBOUR   WA      98250
DORETTA LANG                                                           125 S IMPERIAL DR                                                                      DENISON          TX      75020
DORETTA VANDEVENTER                                                    309 E DUNN                                                                             RIPLEY           OK      74062-9704
                                                                                                                     9211 Lake Hefner
Dori Atkins                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Dori Atkins                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Dori Atkins                                                            5642 N. Frankfort Ave                                                                  Tulsa            OK      74126
DORIAN ALLEN                                                           3245 S VICTOR AVE                                                                      TULSA            OK      74105-2229
DORIAN CORDOVA                                                         3213 E 2ND AVE                                                                         STILLWATER       OK      74074
                                                                                                                     9211 Lake Hefner
Doris Smith                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120



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                 CreditorName               CreditorNoticeName                             Address1                         Address2                 Address3             City   State       Zip      Country
                                      c/o Laminack, Pirtle & Martines,
Doris Smith                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Doris Smith                                                              12513 NE 37th                                                                          Spencer          OK      73084
DORIS AHRNSBRAK                                                          4045 S ABILENE CIR UNIT B                                                              AURORA           CO      80014
DORIS ALBRIGHT                                                           704 STRONG ST                                                                          MORRIS           IL      60450
DORIS BASS                                                               1705 W 5TH                                                                             STILLWATER       OK      74074
DORIS BENTLEY                                                            3416 CREEK XING                                                                        PERKINS          OK      74059-4232
DORIS BENTLEY LIFE TENANT                                                3416 CREEK XING                                                                        PERKINS          OK      74059-4232
DORIS BLAIR                                                              PO BOX 32251                                                                           OKLAHOMA CITY    OK      73123
DORIS BOREN                                                              1314 ORLEANS                                                                           ENID             OK      73701
DORIS BROOKS                                                             4851 EASTLINE DR                                                                       FORT WORTH       TX      76119

DORIS BUSH MAHER REV TR FBO MADELIN                                      PO BOX 542016                                                                          OMAHA            NE      68154-8016
DORIS BUSH MAHER TRUST                                                   5147 S HARVARD AVE SUITE 110                                                           TULSA            OK      74135-3587
DORIS CARLSON                                                            773 STERLING CHASE DR                                                                  PORT ORANGE      FL      32128
DORIS CONDREY                                                            406 MARGUERITE BOULEVARD                                                               LAFAYETTE        LA      70503

DORIS CONDREY DAVIS TESTAMENTARY TR                                      406 MARGUERITE BLVD                                                                    LAFAYETTE        LA      70503
DORIS CRAVEN                                                             945 TIPPERARY                                                                          DALLAS           TX      75218
DORIS DARKS MULLENIX                                                     4206 FULTON ST                                                                         FEYETTEVILLE     NC      28312
DORIS DONNA CAPOZIO                                                      778 N. MANASOTA KEY                                                                    ENGLEWOOD        FL      33533
DORIS FARRIS                                                             PO BOX 6                                                                               CAMARGO          OK      73835
DORIS FERGUSON                                                           1704 10TH ST                                                                           PERRY            OK      73077
DORIS FHOLER                                                             PO BOX 521063                                                                          TULSA            OK      74152-1063
DORIS FOX ESTATE                                                         6926 S HIGHWAY 132                                                                     DRUMMOND         OK      73735
DORIS FRIEND                                                             11606 EXPLORER                                                                         PERRY            OK      73077
DORIS GASQUE BECHTOLD TRUST                                              16402 HICKORY KNOLL RD                                                                 HOUSTON          TX      77059
DORIS HOLLE                                                              6224 S 138TH ST                                                                        FAIRMONT         OK      73736
DORIS J LATTIN & TERRANCE L LATTIN                                       17916 75TH PLACE WEST                                                                  EDMONDS          WA      98206
DORIS J MUKES TTEE                                                       3809 OUTPOST DR                                                                        SPENCER          OK      73084-2925
                                                                                                                       9211 Lake Hefner
Doris J. Magee                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Doris J. Magee                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Doris J. Magee                                                           4127 N. Frankfort Ave.                                                                 Tulsa            OK      74106
DORIS JEAN PICKENS PICKENS MARCOVIT                                      1399 FINK'S HIDEAWAY ROAD                                                              MONROE           LA      71203
DORIS JEAN PRICE TRUST                                                   5804 CORAL RIDGE CT                                                                    COLUMBIA         MO      65203
DORIS JEAN TREECE                                                        15201 MARIE DR                                                                         PIEDMONT         OK      73078
DORIS JEAN UHRIG                                                         3820 SE SHAWNEE HEIGHTS RD                                                             TECUMSEH         KS      66542
DORIS JENKS LVG TR                                                       16136 SILVERADO DR                                                                     EDMOND           OK      73013-1455
DORIS KIRTLEY                                                            5316 STARRY CT                                                                         FORT WORTH       TX      76123
DORIS KYZER                                                              3904 ARKANSAS HIGHWAY 294                                                              JACKSONVILLE     AR      72076
DORIS LEE WALTERS ESTATE                                                 2915 NE 199TH ST                                                                       SHORELINE        WA      98155
DORIS LOUISE HELLING ESTATE                                              20713 E SKELTON RD                                                                     COVINGTON        OK      73730
DORIS LUDLOW                                                             345 S MILSTEAD                                                                         WICHITA          KS      67209
DORIS M ADAMS TRUST                                                      660 E LYNWOOD DR                                                                       SAN BERNARDINO   CA      92404
DORIS MOSLEY                                                             6620 MORNING GLORY DR                                                                  STEDMAN          NC      28391
                                                                                                                       9211 Lake Hefner
Doris Myers                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
Doris Myers                           c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles      CA      90017
Doris Myers                                                              2505 N Battleridge                                                                     Cushing OK       OK      74023
DORIS NADINE & VERNON G AVANTS                                           2610 N MONROE ST                                                                       STILLWATER       OK      74075-2127
DORIS PARKS                                                              PO BOX 829                                                                             ILWACO           WA      98624-0829
DORIS PAYNE                                                              PO BOX 37                                                                              ISTACHATTA       FL      34636-0037
DORIS PERRY                                                              205 W GRAGMONT ST                                                                      COVINA           CA      91722-1620
DORIS PRICE                                                              5804 CORAL RIDGE CT                                                                    COLUMBIA         MO      65203
DORIS R REYNOLDS TRUST                                                   506 TONY                                                                               PERKINS          OK      74059
DORIS RILEY                                                              5605 VISTA BONITA SOUTH                                                                MOBILE           AL      99999
DORIS ROSIERE                                                            9024 E 68TH ST                                                                         STILLWATER       OK      74074-8445


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                                                                                                   Creditor Matrix


              CreditorName                  CreditorNoticeName                          Address1                            Address2                 Address3            City    State       Zip       Country
DORIS SCOTT                                                              3720 E 104TH ST                                                                        PERKINS          OK      74059-4374
DORIS SEEFELDT                                                           6918 E 99TH PL S                                                                       TULSA            OK      74133
DORIS STEGEMAN                                                           7028 E 78TH PL                                                                         TULSA            OK      74133-7833
DORIS STORM                                                              1001 BAPTIST VILLAGE DR #D14                                                           CLEVELAND        OK      74020
DORIS WELDER                                                             18216 US HIGHWAY 77 NORTH                                                              VICTORIA         TX      77904
DORIS WILLIAMS BERNARD                                                   905 CHIMNEY HILL TRAIL                                                                 SOUTHLAKE        TX      76092
                                                                         3601 W BROADWAY APT 101 BUILDING
DORIS WILMOTH                                                            20                                                                                     COLUMBIA         MO      65203-0113
DORISLEA KEKAHBAH                                                        1116 E ELM AVE                                                                         STILLWATER       OK      74074
DORLA M BROWN LIVING TRUST                                               7725 SOUTH 82ND EAST AVE                                                               TULSA            OK      74133
DORLENE COOK                                                             4216 S RIVERSHORE DR                                                                   MOORHEAD         MN      56560
DORMA HOBBS                                                              1610 HARVEY BROWN DR                                                                   KINGFISHER       OK      73750
DORMA HOBBS LIVING TRUST                                                 1610 HARVEY BROWN DR                                                                   KINGFISHER       OK      73750-4602
DOROTHEA LAND                                                            12512 ARROWHEAD DR                                                                     OKLAHOMA CITY    OK      73120-8823
DOROTHEA LUCKINBILL                                                      1614 CANYON BLUFF RD                                                                   GUTHRIE          OK      73044
DOROTHEA NEWBREY                                                         3311 E SILVERLAKE                                                                      TUCSON           AZ      85713
DOROTHY ANN DAVIDSON                                                     1220 E 8TH ST                                                                          GALENA           KS      66739
DOROTHY ASBURY                                                           PO BOX 693                                                                             BRIDGER          MT      59014
DOROTHY BAKER                                                            PO BOX 407                                                                             CLEARLAKE OAKS   CA      95423
DOROTHY BEAMES                                                           8662 STATE HIGHWAY 199                                                                 ARDMORE          OK      73401-0841
DOROTHY BOCKMAN                                                          1400 OLD BASE RD                                                                       AURORA           TX      76078-4530
DOROTHY BOCOX WESTBY                                                     PO BOX 1612                                                                            FRIDAY HARBOR    WA      98250-1612
DOROTHY BOLENBAUGH                                                       10518 E KEOWEE RD                                                                      HUNTER           OK      74640
DOROTHY BRAUER                                                           930792 S HWY 99                                                                        STROUD           OK      74079
DOROTHY BREEDEN                                                          PO BOX 158                                                                             TRYON            OK      74875-0158
DOROTHY BRIDGES                                                          612 FARVIEW AVE                                                                        CANON CITY       CO      81212
DOROTHY C FRIEND TRUST DTD 4-17-95                                       3729 E 87TH PL                                                                         TULSA            OK      74137
DOROTHY CLARY TRUST                                                      444754 HIGHWAY 28                                                                      VINITA           OK      74301-7095
DOROTHY CROOK                                                            PO BOX 233                                                                             MAUD             OK      74854-0233
DOROTHY CURRY                                                            1003 HERITAGE CLUB DR                                                                  GREENVILLE       SC      29615
DOROTHY CURTIS                                                           8420 S FAIRGROUNDS RD                                                                  STILLWATER       OK      74074
                                                                                                                       9211 Lake Hefner
Dorothy Dooley                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Dorothy Dooley                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Dorothy Dooley                                                           1933 W. 49th Place S.                                                                  Tulsa            OK      74107
DOROTHY EHRIG                                                            2322 W GOLDMINE MOUNTAIN DR                                                            QEEN CREEK       AZ      85142
DOROTHY EILEEN CONNOR TTEE                                               10 LODGE CT, HEATON MERSEY                                                             STOCKPORT        AB      SK4 3HZ      CANADA
DOROTHY FLIPPO                                                           13610 S 257TH W AVE                                                                    KELLYVILLE       OK      74039
DOROTHY FROSCH                                                           1902 LEAWOOD PL                                                                        EDMOND           OK      73034
DOROTHY FULLER                                                           3128 E ADMIRAL PL                                                                      TULSA            OK      74110
DOROTHY GAMILSON                                                         6023 W LOCUST AVE                                                                      FRESNO           CA      93722-2624
DOROTHY GERMAN                                                           1810 W 18TH CT                                                                         STILLWATER       OK      74074
DOROTHY GEURIN                                                           4700 S. VIRGINIA ST., APT. 145                                                         AMARILLO         TX      79109-6006
DOROTHY GIBSON                                                           8808 LAKEAIRE DR                                                                       OKLAHOMA CITY    OK      73132
DOROTHY H HAYES LOVING TRUST DTD 5                                       1900 FRONTIER RD                                                                       ORLANDO          OK      73073

DOROTHY HARRISON AND GEARY D LEE JT                                      204 E DOLAN                                                                            RIPLEY           OK      74062-2000
DOROTHY HEALEY                                                           6500 GRENELEFE DR SE                                                                   GRAND RAPIDS     MI      49546-6866
DOROTHY HILDEBRAND                                                       4221 MORAGA AVE                                                                        SAN DIEGO        CA      92117-4519
DOROTHY HOGUE                                                            340026 E 820 RD                                                                        TRYON            OK      74875-6843
DOROTHY HOLCOMB DECEASED                                                 524 SIXTH STREET                                                                       LEEDEY           OK      73654
DOROTHY HURST                                                            2302 W D ST                                                                            JENKS            OK      74037
DOROTHY J ARTHUR FAMILY TRUST DTD 1                                      1106 PAYNE ST                                                                          PERKINS          OK      74059
DOROTHY J RESENDER & JASON L DRISKE                                      PO BOX 124                                                                             MULHALL          OK      73063
DOROTHY JANE ROBINSON WHITE TR                                           2071 PARASOL DR                                                                        CHESTERFIELD     MO      63017-7417
DOROTHY JEAN LOBSITZ                                                     64 SE PIPER DRIVE                                                                      BEND             OR      97702-1515
                                                                                                                       9211 Lake Hefner
Dorothy Jo Koeberle                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120


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               CreditorName              CreditorNoticeName                             Address1                         Address2                 Address3             City    State       Zip      Country
                                   c/o Laminack, Pirtle & Martines,
Dorothy Jo Koeberle                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Dorothy Jo Koeberle                                                   618 W Broadway Ave                                                                     Yale              OK      74085
DOROTHY KINKEAD                                                       3705 WILLOW LAKE LANE                                                                  ENID              OK      73703
DOROTHY L BRYAN                                                       4023 PARKWAY CT                                                                        LAWRENCEVILLE     KS      66047
DOROTHY L CLARY TRUST                                                 PO BOX 309                                                                             DISNEY            OK      74340-0309
DOROTHY LANCASTER                                                     1400 LEXI LN                                                                           NOBLE             OK      73068-9407
DOROTHY LEE ORR                                                       1220 EQUINE DRIVE                                                                      STILLWATER        OK      74074
DOROTHY LILES                                                         11909 CAMELOT DR                                                                       OKLAHOMA CITY     OK      73120
DOROTHY LLOYD FAMILY LP                                               PO BOX 8050                                                                            MIDLAND           TX      79708
DOROTHY LOGHRY                                                        702 VENUS AVE                                                                          SALINA            KS      67401-1004
DOROTHY LOOSEN 1998 REV TRST                                          PO BOX 3448                                                                            ENID              OK      73702
DOROTHY LOW                                                           13820 E CHESTNUT                                                                       FAIRMONT          OK      73736
DOROTHY LUCILE MAY THOMPSON                                           424 SOUTH WINTON PLACE                                                                 MEMPHIS           TN      38117
DOROTHY LUCYLLE BOYER                                                 3307 East 3rd Avenue                                                                   STILLWATER        OK      74074
DOROTHY LYON                                                          5375 WILDWOOD DR                                                                       RENO              NV      89511

DOROTHY MAASS                                                         2001 SE SAILFISH POINT BLVD APT 110                                                    STUART            FL      34996-1919
DOROTHY MANLEY                                                        PO BOX 245                                                                             CAMBRIDGE         ID      83610
Dorothy Marion                     c/o Edward L. White, PC            Attn: Edward L White                          829 E. 33rd St                           Edmond            OK      73013
Dorothy Marion                     c/o Jeffery Hirzel                 PO Box 279                                    119 S. Broad                             Guthrie           OK      73044
DOROTHY MARION                                                        5849 W HWY 51                                                                          MULHALL           OK      73063
Dorothy Marion                                                        5849 W State Hwy 51                                                                    Mulhall           OK      73063
DOROTHY MARSH                                                         PO BOX 15465                                                                           WEST PALM BEACH   FL      33413
DOROTHY MCMATH ROBERTSON                                              212 S ENGLISH ST                                                                       MOORE             OK      73160
DOROTHY MENDES                                                        700 E FAIRVIEW AVE                                                                     MERIDIAN          ID      83642
DOROTHY MIROWSKI                                                      200 KENSINGTON DR                                                                      MADISON           WI      53704
DOROTHY MOORE                                                         PO BOX 311                                                                             PERKINS           OK      74059-0311
DOROTHY MOWRIS                                                        9013 PINE                                                                              BRENTWOOD         MO      63144
DOROTHY MURDOCK                                                       10302 E. 90TH CT. N.                                                                   OWASSO            OK      74055
DOROTHY REDDICK DECD                                                  PO BOX 410219                                                                          KANAB             UT      41021
DOROTHY SLAUGHTER                                                     716 NW 89TH ST                                                                         OKLAHOMA CITY     OK      73114
DOROTHY TURNER DECEASED                                               1410 S HARTFORD ST                                                                     STILLWATER        OK      74074-6027
DOROTHY TURNER WHEELER TTEE                                           323 S BUCKINGHAM                                                                       STILLWATER        OK      74075

DOROTHY W MONTGOMERY MGMNT TRUST                                      5110 S YALE AVE NUMBER 400                                                             TULSA             OK      74135
DOROTHY WALLIS                                                        6 E 25TH ST                                                                            TULSA             OK      74114-2410
                                                                                                                    9211 Lake Hefner
Dorothy Ware                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
Dorothy Ware                       c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA      90017
Dorothy Ware                                                          815 E 3rd st                                                                           Cushing           OK      74023
DOROTHY WEAVER                                                        285 RIVERSIDE DR APT 13C                                                               NEW YORK          NY      10025-5228
DOROTHY WHITE                                                         1310 SW 77TH TER                                                                       OKLAHOMA CITY     OK      73159
DOROTHY WISS                                                          1216 PEMBROOK DR                                                                       WARRENSBURG       MO      64093
DOROTHY WORK                                                          2224 56TH ST                                                                           OKLAHOMA CITY     OK      73112
DOROTHY ZACHGO TTEE                                                   5615 CIMARRON MANOR                                                                    GUTHRIE           OK      73044
                                                                                                                    9211 Lake Hefner
Dorothy Hill                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                   c/o Laminack, Pirtle & Martines,
Dorothy Hill                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Dorothy Hill                                                          5405 Smith Dr                                                                          Spencer           OK      73084
DORRAINE HAGERTY                                                      1612 NE 10TH ST                                                                        MOORE             OK      73160
DORRIS BUESCHER ESTATE DECD                                           9394 HICKORY NUT DR                                                                    WINTER GARDEN     FL      34787
DORRIS BUESCHER TTEE                                                  9394 HICKORY NUT DR                                                                    WINTER GARDEN     FL      34787
DORTHA ELYN HOLLINGSWORTH                                             801 W CHEYENNE ST                                                                      MARLOW            OK      73055
DORTHA EVERY                                                          32014 KELSEY DR                                                                        EDMOND            OK      73013
DORTHA PEPMILLER                                                      409 S IOWA AVE                                                                         COYLE             OK      73027-9449
DOSS OIL ROYALTY COMPANY                                              10 E WASHINGTON AVE 104                                                                MCALESTER         OK      74501
DOTTER FAMILY TRUST                                                   19168 MONTEREY STREET                                                                  HESPERIA          CA      92345


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                   CreditorName             CreditorNoticeName                              Address1                         Address2                 Address3              City    State       Zip      Country
Doty, Adam                            c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City     OK       73116
DOUBLE D EARL LLC                                                        2080 CENTURY PARK E PENTHOUSE                                                           LOS ANGELES       CA       90067
DOUBLE EAGLE (PPA)                                                       PO BOX 13360                                                                            OKLAHOMA CITY     OK       73113
DOUBLE EAGLE ENERGY OK LLC                                               1401 BALLINGER ST, STE 203                                                              FORT WORTH        TX       74146
DOUBLE EAGLE ENERGY OKLAHOMA LLC                                         1401 BALLINGER ST STE 203                                                               FORT WORTH        TX       76102
DOUBLE H SERVICES LLC                                                    PO BOX 118                                                                              GARBER            OK       73738-0118
DOUBLE HAUL ENERGY LLC                                                   2716 FAIRMOUNT ST                                                                       DALLAS            TX       75201-1958
DOUBLE L WELDING & CONSTRUCTION LLC                                      14623 PAISLEY LN                                                                        PERKINS           OK       74059-3849
DOUBLE P RV PARK LLC                                                     19980 N HWY 77                                                                          MULHALL           OK       73063
DOUBLE-B MINERALS LLC                                                    169 RAINBOW DRIVE #6969                                                                 LIVINGSTON        TX       77399-1069
DOUG AMOS                                                                5 OLD COACH RD                                                                          BOWLING GREEN     OH       43402-8746
DOUG AND CONNIE SINOR                                                    1206 WHITNEY COURT                                                                      STILLWATER        OK       74075
DOUG COLLINS                                                             121 WILDWOOD ACRES CIR                                                                  STILLWATER        OK       74075
DOUG DOTTER                                                              3615 W LAWTHER DRIVE                                                                    DALLAS            TX       76214
DOUG IRELAND TRUST                                                       1018 SUNNYBROOK DR                                                                      STILLWATER        OK       74075
DOUG KATHOL                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City     OK       73116
DOUG QUATTLEBAUM                                                         8469 N 2020 RD                                                                          LEEDEY            OK       73654
DOUG WILDER                                                              4636 DURPAN PARK DR                                                                     PLANO             TX       75024-6853
Doughtie, Jennifer                    c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City     OK       73116
DOUGLAS A LONG                                                           209 SARDIUS BLVD                                                                        GRANBURY          TX       76049-7794
DOUGLAS AICHELE                                                          1502 W LIBERTY AVE                                                                      STILLWATER        OK       74075-2006
DOUGLAS ALAN JOHNSON                                                     484 E 5000 S                                                                            VICTOR            ID       83455
DOUGLAS ARNETT                                                           400 CANDLEWOOD DR                                                                       EDMOND            OK       73034-5408
DOUGLAS B CLEARY GSTT EXEMPT TRUST                                       7 CLIVE LN                                                                              BELLA VISTA       AR       72715
Douglas Bennett                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX       75070
Douglas Bennett                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK       74104
Douglas Bennett                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY       10017
Douglas Bennett                                                          386 North Ridge Ave                                                                     Sand Springs      OK       74063
                                                                                                                       9211 Lake Hefner
Douglas Brown                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Douglas Brown                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
Douglas Brown                                                            813 W. Waco St                                                                          Broken Arrow      OK       74011
DOUGLAS C CULLEN                                                         88 S HAMBLIN ST                                                                         EAGER             AZ       85925-9207
DOUGLAS C KENT                                                           PO BOX 68                                                                               STILLWATER        OK       74074-0068
DOUGLAS CINDY MINOR                                                      4117 S HENDERSON ST                                                                     STILLWATER        OK       74074-7211
Douglas Cloyes                        c/o Edward L White PC              Attn: Kerry D Green & Edward L White          829 E 33rd St                             Edmond            OK       73013
                                      c/o Maples, Nix & Diesselhorst
Douglas Cloyes                        PLLC                               Attn: Ray Maples                              15401 N. May Ave                          Edmond            OK       73103
Douglas Cloyes                        c/o Munson & McMillin              Attn: April B Eberle                          247 N Broadway                            Edmond            OK       73034
Douglas Cloyes                                                           1701 Ryanway                                                                            Edmond            OK       73003
DOUGLAS COMPTON                                                          PO BOX 57                                                                               BUFFALO           OK       73834-0057
DOUGLAS COOPER                                                           352211 E 79                                                                             CUSHING           OK       74023
DOUGLAS DAVIS                                                            1524 MAIN ST                                                                            LITTLE ROCK       AR       72202-5038
                                                                                                                       9211 Lake Hefner
Douglas Dixon                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120

Douglas Dixon                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
Douglas Dixon                                                            3712 NW 58th Terr                                                                       Oklahoma City     OK       73112
DOUGLAS EDWARD MERZ                                                      PO BOX 1                                                                                NEWKIRK           OK       74647
DOUGLAS EDWARDS                                                          PO BOX 2441                                                                             FREDERICKSBURG    TX       78624
DOUGLAS EICHELBERGER                                                     PO BOX 446                                                                              HYDRO             OK       73048-0446
DOUGLAS F TEWELL 2000 TRUST                                              15216 FAIRVIEW FARM RD                                                                  EDMOND            OK       73013
DOUGLAS FENT                                                             144 14TH AVE                                                                            SAN MATEO         CA       94402
DOUGLAS FERGUSON                                                         PO BOX 432                                                                              MIDLAND           TX       79702-0432
DOUGLAS FRANCE                                                           505 S MORTON ST                                                                         RIPLEY            OK       74062-6470
DOUGLAS FRANKEL                                                          3030 MCKINNEY AVE APT 1201                                                              DALLAS            TX       75204
DOUGLAS G RINGER REVOCABLE TRUST                                         1310 W COUNTY RD 69                                                                     MULHALL           OK       73063
DOUGLAS GRIFFIN                                                          7421 S RANGE ROAD                                                                       STILLWATER        OK       74074


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             CreditorName                   CreditorNoticeName                         Address1                             Address2                 Address3            City      State       Zip      Country
DOUGLAS GRIFFINROS                                                       7421 S RANGE ROAD                                                                      STILLWATER        OK       74074
DOUGLAS HAMMER                                                           5020 S CEDAR CREST AVE                                                                 INDEPENDENCE      MO       64055
DOUGLAS HANSEN                                                           309 CANDY ROAD                                                                         PIPE CREEK        TX       78063
DOUGLAS HATHOOT                                                          3415 MARSHLANE WAY                                                                     RALEIGH           NC       27610
DOUGLAS HOWARD                                                           10708 N ANN ARBOR                                                                      OKLAHOMA CITY     OK       73162
DOUGLAS IRELAND                                                          1018 SUNNYBROOK DR                                                                     STILLWATER        OK       74075-7215
DOUGLAS JACOB                                                            12900 JONQUIL LN N                                                                     DAYTON            MN       55327-9657
DOUGLAS JONES                                                            511 E WASHINGTON ST                                                                    ATTICA            IN       47918
DOUGLAS KIRK                                                             3764 RUSTON LANE                                                                       NAPA              CA       94558-2644

DOUGLAS L AND NORMA L ARNETT REVOCA                                      400 CANDLEWOOD DR                                                                      EDMOND            OK       73034-5408
DOUGLAS L AND PAULA J                                                    13450 Frontier                                                                         Perry             OK       73077
                                                                                                                       9211 Lake Hefner
Douglas L. Hill                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Douglas L. Hill                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Douglas L. Hill                                                          201 W. Main St.                                                                        Jones             OK       73049
DOUGLAS MCMEEN                                                           13021 BOND ST                                                                          OVERLAND PARK     KS       66213
DOUGLAS NAGEL                                                            522 71ST ST                                                                            PIPESTONE         MN       56164
DOUGLAS NEWMAN                                                           3319 CAPE FOREST DR                                                                    KINGWOOD          TX       77345
                                                                                                                       9211 Lake Hefner
Douglas Norman Smith                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Douglas Norman Smith                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Douglas Norman Smith                                                     8674 S Coltrane Rd                                                                     Guthrie           OK       73034
DOUGLAS OLIVER                                                           3512 NW 42ND                                                                           OKLAHOMA CITY     OK       73112
DOUGLAS PETROLEUM CORPORATION                                            187 W. MAIN ST.                                                                        WESTBOROUGH       MA       01581-3566

DOUGLAS R BATTS                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX       75070
DOUGLAS REBECCA L BLESSEN JT                                             6201 S SANGRE RD                                                                       STILLWATER        OK       74074-7457
DOUGLAS S BECK                                                           10351 S MACARTHUR BLVD                                                                 GUTHRIE           OK       73044
DOUGLAS SCHAFROTH                                                        PO BOX 214                                                                             ELY               MN       55713
DOUGLAS SCOTT                                                            204 W 29TH AVE                                                                         STILLWATER        OK       74074-6915
DOUGLAS SMITH                                                            4111 W CHARLOTTE DR                                                                    GLENDALE          AZ       85310-3213
DOUGLAS TAYRIEN                                                          2208 S TERWILLEGER BLVD                                                                TULSA             OK       74114
DOUGLAS THOMPSON                                                         2075 CEZANNE RD                                                                        WEST PALM BEACH   FL       33409
DOUGLAS VATER                                                            1425 S PAWNEE DR                                                                       OLATHE            KS       66062
DOUGLAS WALKER                                                           4729 SIERRA VISTA AVE APT 106                                                          RIVERSIDE         CA       92505-8605
DOUGLAS WILL                                                             22601 KNOB HILL RD                                                                     MORRISON          OK       73061
DOUGLAS WILSON                                                           1114 BRADFILED DR SW                                                                   LEESBURG          VA       20175
                                                                                                                       9211 Lake Hefner
Douglas Crawford                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Douglas Crawford                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Douglas Crawford                                                         274 Murray Dr                                                                          Choctaw           OK       73020
DOUTHETT LLC                          ATTN: Frank Bovaird                208 N 5th Ave                                                                          Stroud            OK       74079
DOUTHETT LLC                                                             PO BOX 352                                                                             DRUMRIGHT         OK       74030-0352
DOVELINE BORGES                                                          91-212 KOANIMAKANI PL                                                                  KAPOLEI           HI       96707
                                      Robert A. Livingston, Chief
Dover Artificial Lift Systems LLC     Executive Officer and President    1585 Sawdust Road                             Suite 210                                The Woodlands     TX       77380
DOVER ARTIFICIAL LIFT SYSTEMS LLC                                        PO BOX 732805                                                                          DALLAS            TX       75373-0187
DOWNEY FAMILY REVOCABLE TRUST                                            11520 S WASHINGTON                                                                     PERKINS           OK       74059-4069
DOWNING WELLHEAD EQUIPMENT INC                                           8528 SW 2nd ST                                                                         OKLAHOMA CITY     OK       73128
Downing, Darla                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK       73116
DOYEL ERWIN CASTLE & MYRNA L                                             6250 W CAMP RD                                                                         GUTHRIE           OK       73044
DOYLE COTTON                                                             PO BOX 4529                                                                            TULSA             OK       74159-0529
DOYLE GREEN                                                              33633 SHAMROCK LN                                                                      MURRIETA          CA       92563
DOYLE L AND LOIS B COMBS ESTATE                                          1721 S AGRA RD                                                                         CUSHING           OK       74023-5861
DOYLE RITTER                                                             1501 N REDLANDS RD                                                                     STILLWATER        OK       74075


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              CreditorName                  CreditorNoticeName                     Address1                      Address2           Address3           City       State     Zip      Country
DOYLE V & PAULINE H MEYER REV                                         PO BOX 35                                                                COVINGTON          OK    73730

DR KENNETH J BROWN                                                    5900 SOUTH LAKE FOREST DR STE 300                                        MCKINNEY           TX    75070
DR SWAB SERVICES LLC                                                  PO BOX 2286                                                              ELK CITY           OK    73648
DR. WILLIAM LEE BEASLEY                                               2017 HERITAGE PARK DR                                                    OKLAHOMA CITY      OK    73120-7502
DRAKE ENERGY PROPERTIES LLC                                           1421 SILVER OAKS DR                                                      EDMOND             OK    73025

DRAKE FAMILY TRUST                                                    5900 SOUTH LAKE FOREST DR STE 300                                        MCKINNEY           TX    75070
DRAKE FAMILY TRUST UA DTD 8-18-1989                                   130 HAZEL AVE                                                            STORY CITY         IA    50248
DRAKES COUNTRY STORE LLC                                              PO BOX 140966                                                            BROKEN ARROW       OK    74014
DRD INC                                                               1203 S MAIN ST                                                           KINGFISHER         OK    73750-4401
DREADNAUGHT PETROLEUM CORP                                            1307 N MURRAY ST                                                         WICHITA            KS    67212
DREW D WEBB GST EXEMPT RESID TR                                       1212 MARLBORO LANE                                                       NICHOLS HILLS      OK    73116
DREW EICHELBERGER                                                     1829 SAND OAK ST                                                         OKLAHOMA CITY      OK    73127-1163
DREW HALVERSON                                                        11264 HIGHWAY 133                                                        PAULS VALLEY       OK    73075-8519
DREW HALVERSON                                                        11264 HWY 33                                                             PAULS VALLEY       OK    73075
DREW SCOTT                                                            PO BOX 9143                                                              MIDLAND            TX    79708-9143
DREW WILLIAMS                                                         3805 N COUNTRY CLUB RD                                                   DUNCAN             OK    73533
DRG PROFESSIONAL SERVICES                                             4747 GALLARDIA PARKWAY STE 200                                           OKLAHOMA CITY      OK    73142
DRILFORMANCE LLC                                                      410 S TRADE CENTER PKWY STE A1                                           CONROE             TX    77385-8246
DRILL EM UP CO                                                        2985 BROADMAN VALLEY RD                                                  COLORADO SPRINGS   CO    80906
DRILLING FLUIDS TECHNOLOGY INC                                        PO BOX 284                                                               BOOKER             TX    79005
DRILLPOINT RESOURCES                                                  7601 WILL ROGERS BLVD                                                    FORT WORTH         TX    76140-6023
DRILLRIGHT TECHNOLOGY INC.                                            2201 S.E. 38TH                                                           MOORE              OK    73160
DRS INVESTMENTS LLC                                                   95 SILVER DOLLAR DR                                                      BRECKENRIDGE       CO    80424
DRU A COURSEY MILLER TRUSTEE                                          3794 N LENA AVE                                                          BOISE              ID    83713
DRUCILLA ORR                                                          2209 WIMBLEDON CT                                                        ARDMORE            OK    73401
DRUMMOND OIL CO LLC                                                   4301 SW 3RD ST                                                           OKLAHOMA CITY      OK    73108
DRUSILLA PILLSBURY                                                    2201 CENTRAL AVE                                                         ROSEVILLE          CA    95747
DRY HOLE MINERALS INC                                                 5100 N BROOKLINE AVE, STE 1000                                           OKLAHOMA CITY      OK    73112
Dryes Corner LLC                      c/o Durbin Larimore & Bialick   Attn: Michael L Darrah                920 N Harvey Ave                   Oklahoma City      OK    73102
Dryes Corner LLC                      c/o Durbin Larimore & Bialick   Attn: E. Edd Pritchett Jr.            920 N Harvey Ave                   Oklahoma City      OK    73102
Dryes Corner LLC                      c/o The Doyle Firm PC           Attn: William H Doyle                 1313 E Osborn Rd   Ste. 220        Phoenix            AZ    85014
Dryes Corner LLC                                                      7005 N Robinson Ave                                                      Oklahoma City      OK    73116
DSI THRU TUBING USA INC                                               1620 LILLIAN AVE                                                         JOURDANTON         TX    78026-1508
DTI DIVERSITECH INC                                                   16115 CYPRESS ROSEHILL RD                                                CYPRESS            TX    77429
DUANE & LINDA SMITH LIVING TR                                         1390 W 90TH AVE N                                                        CONWAY SPRINGS     KS    67031-8233
DUANE BATEMAN                                                         116 VIOLA AVE                                                            PONCA CITY         OK    74601
DUANE CHESMORE                                                        1324 E 6TH ST                                                            CUSHING            OK    74023-4621
DUANE CLEMENTS                                                        7000 N 16TH ST STE 120 #185                                              PHOENIX            AZ    85050
DUANE DEWITT                                                          4106 CREST CT.                                                           COLLEYVILLE        TX    76034
DUANE GRIFFIN                                                         113 S 4TH ST                                                             LEWISBURG          PA    17837-1803
DUANE KAUK                                                            6 SUNSET PLACE                                                           CLINTON            OK    73601
DUANE LEWIS                                                           1702 KINGS RD                                                            OKMULGEE           OK    74447
DUANE LOGAN                                                           329 WOODMONT DR                                                          CORNELIA           GA    30531-7165
DUANE LUND                                                            2407 MOUNT PLEASANT RD                                                   KELSO              WA    98626-9229

DUANE MORRIS LLP                      ATTN: PAYMENT PROCESSING                                                                                 PHILADELPHIA       PA    19103-4196
DUANE ROEVER                                                          2986 N 2920 RD                                                           HENNESSEY          OK    73742
DUANE SAUNDERS                                                        10 VISTA AVE EXT                                                         BRADFORD           PA    16701
DUANE SCATES                                                          PO BOX 135                                                               RICHMOND           KS    66080
DUANE SMITH                                                           27424 HWY 164                                                            LUCIEN             OK    73757
DUANE STAFFORD                                                        4840 E PAR DR                                                            PALM SPRINGS       CA    92264
DUANE W BENNETT (DECEASED)                                            PO BOX 2730                                                              WINSTON            OR    97496
DUDLEY C WATKINS JR ESTATE                                            1351 E WASHINGTON AVE APT 122                                            ESCONDIDO          CA    92027-1936
DUDLEY RYAN                                                           1700 BOND ST                                                             EDMOND             OK    73034-5837
DUDLEY WATSON                                                         18383 W SUGAR MOUNTAIN CIR                                               PARK HILL          OK    74451-2364
DUGGER FAM TR                                                         2182 KESSLER CT                                                          DALLAS             TX    75208-2948
DUKE DRESSER                                                          2227 E 38TH ST                                                           TULSA              OK    74105


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DUKE EXPLORATION LLC                                                  10409 CHERRYWOOD DR                                                         OKLAHOMA CITY      OK      73151-9434
DUKE MINERALS LLC                                                     634 N.E. 13th Avenue                                                        Ft. Lauderdale     FL      33304
DUKE MINERALS LLC                                                     4815 S HARVARD AVE STE 460                                                  TULSA              OK      74135-3068
Duke, Charles                         c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                               Oklahoma City      OK      73116
DUNCAN AKERS PROPERTIES LP                                            808 S MAIN ST STE 314                                                       STILLWATER         OK      74074-4633
DUNCAN GRAYSON                                                        PO BOX 422                                                                  STEPHENS           AR      71764
DUNCAN OIL PROPERTIES INC                                             PO BOX 467                                                                  OKLAHOMA CITY      OK      73101-0467
DUNCAN OIL PROPERTIES INC                                             PO BOX 467                                                                  OKLAHOMA CITY      OK      73101-0467
DUNCAN ROBERTSON                                                      4109 HAVENHURST AVE                                                         RIVERSIDE          CA      92507
DUNCAN SPILLAR                                                        1002 LIVE OAK DR                                                            AUSTIN             TX      78746
DUNIVAN GAS INC                                                       26500 HIGHWAY 64                                                            MORRISON           OK      73061-9599
DUNKARD MOUNT HOPE CEMETARY                                           PO BOX 53                                                                   CRESCENT           OK      73028
DUNKIN FAMILIES LLC                                                   7122 S SHERIDAN RD BOX 615                                                  TULSA              OK      74133
DUNNING MOTOR SALES INC                                               9108 SOUTHGATE RD                                                           CAMBRIDGE          OH      43725-8005
Duperroir, Matthew                    c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                               Oklahoma City      OK      73116
DUPY FAMILY LAND TRUST                                                4904 SOUTHBEND RD                                                           EDMOND             OK      73034
DURANGO SERVICES INC                                                  PO BOX 1749                                                                 WOODWARD           OK      73802
DUSTIN C. JOHNSON                                                     #2 THOUSANDS OAKS                                                           ENID               OK      73703

DUSTIN DONLEY CONSTRUCTION SERVICES                                   PO BOX 198                                                                  MOORELAND          OK      73852-0198
DUSTIN HOLDING                                                        205 N OAKWOOD RD                                                            ENID               OK      73703
DUSTIN M PRITNER REVOCABLE LIVING T                                   3813 NW 58TH ST                                                             OKLAHOMA CITY      OK      73112-1606
DUSTIN PACE                           c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                         Stillwater         OK      74074
DUSTIN THEDFORD                                                       26200 COUNTY RD #60                                                         ORLANDO            OK      73073
DUSTIN TOWNSEND                                                       342276 E 800 RD                                                             TRYON              OK      74875-6229
DUSTIN W SOPER                                                        315 E GUSSINGER                                                             MULHALL            OK      73063
DUSTIN WAYNE STUBBLEFIELD                                             13786 SOUTH HICKORY STREET                                                  GLENPOOL           OK      74033
DUSTIN WYMORE                                                         207 MAPLE ST                                                                HENNESSEY          OK      73742
DUSTY BODE                                                            15723 W 44TH ST                                                             MULHALL            OK      73063
DUWARD DIE                                                            19 COUNTY ROAD 2169                                                         CLEVELAND          TX      77327-9624
DVI PARTNERS INC.                                                     2200 ROSS AVENUE SUITE 4500E                                                DALLAS             TX      75201
DVORAK FARMS LLC                                                      10751 CHISHOLM RD                                                           PERRY              OK      73077

DW BILL AND RAYORA HENDERSON MOORE                                    2001 N JARDOT                                                               STILLWATER         OK      74075
DWAYNE BAILEY                                                         26739 GAIL LN                                                               MIDDLETON          ID      83644
DWAYNE BEEBY                                                          RT 1 BOX 110A                                                               MARSHALL           OK      73056
DWAYNE CASSIDAY                                                       1218 S 3RD                                                                  ARKANSAS CITY      KS      67005
DWAYNE ELLIOTT                                                        2925 SE 27TH ST                                                             MOORE              OK      73160-7451
DWAYNE HERRMANN & DARLENE                                             800214 S HIGHWAY 18                                                         TYRON              OK      74875
DWAYNE L COVEY                                                        5900 S LAKE FOREST DR STE 300                                               MCKINNEY           TX      75070
DWAYNE LAFON                                                          1419 S ST                                                                   SACRAMENTO         CA      95811
DWAYNE OWSLEY                                                         PO Box 623                                                                  SELMA              OR      97539
DWAYNE RAY BEEBY                                                      14306 W CR 64                                                               MARSHALL           OK      73056
DWAYNE SEMRAD                                                         17056 E CAVANUGH                                                            EL RENO            OK      73036
DWAYNE WEBB                                                           9419 STRATFORD DRIVE                                                        OKLAHOMA CITY      OK      73120
DWD TRUST                                                             3415 TIMBERLAKE DR                                                          STILLWATER         OK      74075
DWIGHT CARPENTER                                                      PO BOX 36                                                                   CASTLE ROCK        WA      98611-0036

DWIGHT D & MARY J WINBURN REVOCABLE                                   PO BOX 131                                                                  NEWKIRK            OK      74647
DWIGHT DAVID DAY                                                      3508 BIGFOOT                                                                MANHATTAN          KS      66503
DWIGHT DEARDORFF                                                      3608 E 84TH ST                                                              TULSA              OK      74137
DWIGHT GIBSON                                                         7780 S CEDAR ST                                                             LITTLETON          CO      80120
DWIGHT HASKIN                                                         352209 E 750 RD                                                             CUSHING            OK      74023-5378
DWIGHT JOHNSTON                                                       1102 W WILL ROGERS DR                                                       STILLWATER         OK      74075-2735
DWIGHT ROPER                                                          55 DETROIT DRIVE                                                            SOUTH HUTCHINSON   KS      67505

DWIGHT S PATTISON                                                     5900 SOUTH LAKE FOREST DR STE 300                                           MCKINNEY           TX      75070
DWIGHT STALEY AND RUTH STALEY                                         531 S 8TH ST                                                                SALINA             KS      67401-4120
Dwight Stearns                        c/o Allen Stewart, PC           Attn: Allen M Stewart                 325 N Saint Paul St   Ste. 4000       Dallas             TX      75070


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Dwight Stearns                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica     Ste. 400         Tulsa             OK      74104
Dwight Stearns                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                           New York          NY      10017
Dwight Stearns                                                           9909 E. Tower Estates                                                               Glencoe           OK      74032
DWIGHT STODDARD                                                          7219 N PRAIRIE RD                                                                   GLENCOE           OK      74032
DWIGHT SUBLETT                                                           971 CS 2982                                                                         BLANCHARD         OK      73010
DWIGHT SWART                                                             ROUTE 1 BOX 8A                                                                      ERIE              KS      66733

DWYER FAMILY TRUST DTD 12-14-2004                                        5900 SOUTH LAKE FOREST DR STE 300                                                   MCKINNEY          TX      75070
DXP ENTERPRISES                                                          PO BOX 201791                                                                       DALLAS            TX      75320-1791
DXP ENTERPRISES INC                                                      PO BOX 201791                                                                       DALLAS            TX      75320-1791
DYCO PETROLEUM CORPORATION                                               7130 SOUTH LEWIS                                                                    TULSA             OK      74136
DYNAFLO LLC                                                              15 E 5TH ST STE 1421                                                                TULSA             OK      74103
DYNAMIC PRODUCTION INC                                                   5070 MARK IV PARKWAY                                                                FORT WORTH        TX      76106
DYNASTY OIL & GAS LLC                                                    5025 GAILLARDIA CORP PL STE D                                                       OKLAHOMA CITY     OK      73142-1892
E & H TRANSFER INC                                                       PO BOX 1303                                                                         WOODWARD          OK      73802
E & R REED ENTERPRISES LLC                                               PO BOX 1230                                                                         PORTERVILLE       CA      93258
E & S RESOURCES LLC                                                      PO BOX 491                                                                          CRESCENT          OK      73028
E A FARISS ESTATE                                                        PO BOX 93063                                                                        LUBBOCK           TX      79493-0063
E A FARISS MINERALS INV LLC                                              PO Box 93063                                                                        LUBBOCK           TX      79493
E B ARCHBALD & ASSOCIATES INC.                                           205 NW 63RD STREET SUITE 360                                                        OKLAHOMA CITY     OK      73116
E BERRYMAN                                                               19701 CR 110                                                                        PERRY             OK      73077
E BRONSON LYON REV TRUST                                                 4008 STONEBRIDGE RD                                                                 WEST DES MOINES   IA      50265
E C COPPOLA FAMILY LTD PARTNERSHIP                                       PO BOX 191446                                                                       DALLAS            TX      75219-8446
E C ENERGY PARTNERS LP                                                   1925 CEDAR SPRING ROAD STE 103                                                      DALLAS            TX      75201
E C PATTERSON                                                            1816 NORMAL HILL                                                                    EDMOND            OK      73034
E CLARK JAMES                                                            9632 S VANDALIA AVE                                                                 TULSA             OK      74137
E CRANLEY                                                                1620 ADAMS ST                                                                       MADISON           WI      53711
E E & LUCILLE JOHNSON REV TST                                            4899 S HOMER ALTO HWY                                                               LUFKIN            TX      75904-6166
E E DAVIDSON REV INTER VIVOS TRUST                                       121 S DUCK ST STE 8                                                                 STILLWATER        OK      74074-3292
E FAMILY LP                                                              6003 TUSCANY VILLAGE                                                                AMARILLO          TX      79119
E G COLTON JR 1981 REVOC TRUST                                           2200 NW 56TH TERR                                                                   OKLAHOMA CITY     OK      73112
E GIBBS-AKERS                                                            82 A WATERSIDE DRIVE                                                                GROVER            MO      63040
E GRIFFITH                                                               3425 HWY 75                                                                         BEGGS             OK      74421-2366
E HAWES                                                                  8042 MOHAWK #101                                                                    PRAIRIE VILLAGE   KS      66208
E INVESTMENT PROPERTIES INC                                              10645 N TATUM BLVD #200 649                                                         PHOENIX           AZ      85028
E J BRADLEY TRUST                                                        1611 E EASTERN                                                                      STILLWATER        OK      74074
E LOVE                                                                   309 W 8TH ST                                                                        CHANDLER          OK      74834
E MCHENRY                                                                451 WATER AVE                                                                       PERRIS            CA      92571
E MOORE                                                                  207 W 89TH ST N                                                                     SPERRY            OK      74073-3958
E MULLENDORE                                                             3379 MULLENDORE RANCH RD                                                            COPAN             OK      74022
E R RODMAN                                                               770565 S 3370 ROAD                                                                  TRYON             OK      74875-6122
E SCOTT FAMILY LIMITED PARTNERSHIP                                       6003 TUSCANY VILLAGE                                                                AMARILLO          TX      79119-6554
E&G ENERGY INC                                                           ONE ENERGY SQUARE                                                                   DALLAS            TX      75206-4008
E&H MEIER FAMILY CREDIT SHELTER B T                                      PO BOX 846                                                                          TONOPAH           NV      84049-0846
E. L. MARKWELL III                                                       1249 E 33RD                                                                         EDMOND            OK      73013
EAB OIL COMPANY                                                          1320 LAKE STREET                                                                    FORT WORTH        TX      76102
EAG SERVICES INC                                                         19 BRIAR HOLLOW LN STE 200                                                          HOUSTON           TX      77027-2820
EAGLE AUTOMATION LIMITED                                                 14000 QUAIL SPRINGS PKWY STE 300                                                    OKLAHOMA CITY     OK      73134-2600
EAGLE EQUIPMENT                                                          7100 NW 210th Street                                                                Edmond            OK      73012
EAGLE EXPLORATION PRODUCTION LLC                                         6100 S YALE AVE STE 700                                                             TULSA             OK      74136
                                                                                                                       9211 Lake Hefner
Eagle Mountain Ministry Ranch, Inc.   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104         Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Eagle Mountain Ministry Ranch, Inc.   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl           Houston           TX      77006
Eagle Mountain Ministry Ranch, Inc.                                      17023 E. 171st St                                                                   Bixby             OK      74008
EAGLE OIL & GAS CO                                                       2525 KELL BLVD STE 510                                                              WICHITA FALLS     TX      76308-1061
EAGLE PIPE                                                               774 CO RD 15                                                                        WHEELER           TX      79096
EAGLE PRODUCTION & INVESTMENTS                                           15708 TRADITIONS DR                                                                 EDMOND            OK      73013-1149
EAGLE PUMP & SUPPLY LLC                                                  915 N LITTLE AVE                                                                    CUSHING           OK      74023-0511


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EAGLE RESEARCH CORP                                                      1076 STATE ROUTE 34                                                                     HURRICANE        WV      25526-7049
EAGLE RIVER ENERGY CORPORATION                                           3701 S. ORANGE CIRCLE                                                                   BROKEN ARROW     OK      74011
EAGLE ROAD OIL LLC                                                       321 S BOSTON AVE STE 300                                                                TULSA            OK      74103-3311
EAGLE ROAD OIL, LLC                                                      321 S BOSTON AVE. STE 301                                                               TULSA            OK      74103
EAGLE WIND O&G LLC                                                       1300 E 9TH ST STE 3                                                                     EDMOND           OK      73034-5760
EAGLETON HADDAD LLC                                                      6921 S UTICA PL                                                                         TULSA            OK      74136-5162
EARL & RUTH REED RVC TRUST                                               PO BOX 1230                                                                             PORTERVILLE      CA      93258-1230
EARL ANDERSON                                                            939 BRADLEY DR                                                                          ATHENS           TX      75751
EARL BROWN TAX CREDIT TRUST                                              PO BOX 643                                                                              FRIONA           TX      79035-0643
EARL C RICE & LORREE MCCONNELL RICE                                      15 WHITWELL CIR                                                                         EDMOND           OK      73034
EARL D CASTEEL ESTATE                                                    352 ORCHIS RD                                                                           ST AUGUSTINE     FL      32086
EARL D WILL REVOCABLE TRUST                                              10113 NE 12TH ST #9                                                                     BELLEVUE         WA      98004
EARL DAVID DRAKE                                                         319 ELDRIDGE AVE #154                                                                   ORANGE PARK      FL      32073
EARL EPPLER                                                              122 BROOKSIDE LN                                                                        BROOKSIDE        CA      92056

EARL EUGENE WALKER & LOUISE GARTON                                       6946 E 74TH                                                                             TULSA            OK      74112
EARL F HARMS JR & GARNETT N HARMS                                        PO BOX 306                                                                              PERRY            OK      73077
EARL FRANCIS SCHALLENBERG                                                5500 COUNTY ROAD 608                                                                    BURLESON         TX      76028-1119
EARL GAUNT                                                               1108 E CHERRY ST                                                                        CUSHING          OK      74023
EARL GILLIAM                                                             1115 SANDRA DR                                                                          LAUREL           MS      39440
EARL HEIDEN                                                              18650 N HWY 74                                                                          CRESCENT         OK      73028
EARL HORMANN                                                             523 W. MARTINSON                                                                        WICHITA          KS      67213
EARL J CASTEEL                                                           18514 E HAYWARD RD                                                                      COVINGTON        OK      73730
EARL KEESECKER                                                           300 S 7TH ST                                                                            RATON            NM      87740
EARL KENNICUTT                                                           3350 BARHITE ST                                                                         PASADENA         CA      91107-1255
EARL LANTZ                                                               189 CR 2071                                                                             EUREKA SPRINGS   AR      72632
EARL PATTERSON                                                           4 OAKLAWN DR                                                                            COVINGTON        LA      70433
EARL POYTRESS                                                            PO BOX 3176                                                                             MONTROSE         CO      81402-3176
EARL PREGLER REVOCABLE TRUST                                             PO BOX 1722                                                                             TULSA            OK      74101
EARL SMITH AND EVA SMITH                                                 2907 W. CHESTNUT AVE.                                                                   ENID             OK      73703
EARL STANDLEY                                                            1115 S EVANSTON AVE                                                                     TULSA            OK      74104-4131
EARL STIDHAM                                                             PO BOX 295                                                                              TALOGA           OK      73667-0295
EARL T GIPSON                                                            40396 HOLIK RD                                                                          HEMPSTEAD        TX      77445-3720
EARL VARNEY                                                              12128 HUNTER LOOP SW                                                                    ROCHESTER        WA      98579
                                                                                                                       9211 Lake Hefner
Earl W. King                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Earl W. King                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Earl W. King                                                             5928 E. 35th St                                                                         Tulsa            OK      74135
EARL W. MURPHY TRUST                                                     120 S. CIMARRON                                                                         HENNESSEY        OK      73742
EARL WHITE                                                               12513 PINE BLUFF DR                                                                     OKLAHOMA CITY    OK      73142
Earl Wooton Jr                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Earl Wooton Jr                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Earl Wooton Jr                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Earl Wooton Jr                                                           802 East LeLand                                                                         Cushing          OK      74023
EARL WRIGHT                                                              PO BOX 4                                                                                OILTON           OK      74052
EARLE DUANE WAGNER                                                       7309 NW 120TH STREET                                                                    OKLAHOMA CITY    OK      73162
EARLENE LEACH                                                            503 N LOGAN RD                                                                          ORLANDO          OK      73073
EARLIE THOMASON                                                          9208 NE HWY 99, SUITE                                                                   VANCOUVER        WA      98665
EARLSBORO ENERGIES CORPORATION                                           3007 NW 63RD STE 205-B                                                                  OKLAHOMA CITY    OK      73116-3614
EARLSBORO ENERGIES CP                                                    3007 NW 63RD ST STE 205                                                                 OKLAHOMA CITY    OK      73116
EARNEST HALL                                                             346494 E 760 ROAD                                                                       CUSHING          OK      74023
EARNEST MORROW                                                           3120 E 85TH PL                                                                          TULSA            OK      74137-1431
EARNEST W & TAMAR L RHYAN JR REV TR                                      400 PINE ST STE 1050                                                                    ABILENE          TX      79601-5173
EARNHEART FAMILY LLC                                                     12772 W CR 60                                                                           MARSHALL         OK      73056
EARNHEART OIL INC                                                        PO BOX 267                                                                              MARSHALL         OK      73056
EARNHEART PROPANE LLC                                                    PO BOX 30                                                                               Covington        OK      73730
EARNIE CRISP                                                             414 S 78TH EAST AVE # 78                                                                TULSA            OK      74112-2138



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                                                                                                                       9211 Lake Hefner
Eartha Tansimore                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Eartha Tansimore                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston              TX      77006
Eartha Tansimore                                                         8936 Tilman Dr                                                                          Oklahoma City        OK      73132
EARTHRISK TECHNOLOGIES INC                                               3625 DUDLEY ST                                                                          SAN DIEGO            CA      92106-3248
EAST COAST ENTERTAINMENT INC                                             PO BOX 73210                                                                            NORTH CHESTERFIELD   VA      23235-8028
EAST RIVER ENERGY LLC                                                    601 S BOULDER AVE STE 810                                                               TULSA                OK      74119-1308
East West Bank                        Attn: Haylee Edwards               135 North Los Robles Avenue                   7th Floor                                 Pasadena             CA      91101
Eastok Pipeline LLC                   c/o The Rudnicki Firm              Attn: Leah T Rudnicki                         6305 Waterford Blvd   Ste. 325            Oklahoma City        OK      73118
Eastok Pipeline, LLC                  c/o Rudnicki PLLC                  Attn: Leah T Rudnicki                         6303 Waterford Blvd   Ste. 325            Oklahoma City        OK      73118
Eastok Pipeline, LLC                                                     601 North Marienfeld                          #400                                      Midland              TX      79701
EASY-SERVE                                                               PO BOX 52490                                                                            HOUSTON              TX      77052-2490
EAUL A SANDERS & JEANIE E SANDERS R                                      404 S FOREST RIDGE BLVD                                                                 BROKEN ARROW         OK      74014
EAW ENERGY PARTNERS FUND I LP                                            PO BOX 25469                                                                            DALLAS               TX      75225-1469
EAW ENERGY PARTNERS FUND II LP                                           PO BOX 25469                                                                            DALLAS               TX      75225-1531
EAW-HARRISON PARTNERS                                                    3620 MARQUETTE ST                                                                       DALLAS               TX      75225
EBELING OIL LLC                                                          5203 EMIL AVE                                                                           AMARILLO             TX      79106
EC ENERGY PARTNERS LP                                                    PO BOX 191446                                                                           DALLAS               TX      75219-8446
ECC LLC                                                                  PO BOX 18735                                                                            OKLAHOMA CITY        OK      73154
ECHO ENERGY                                                              3817 NW EXPRESSWAY STE 840                                                              OKLAHOMA CITY        OK      73112-1400
ECHO ENERGY LLC                                                          3817 NW EXPRESSWAY STE 840                                                              OKLAHOMA CITY        OK      73112-1400
ECHOLS ENERGY LLC                                                        PO BOX 1597                                                                             BRECKENRIDGE         TX      76424
ECHOMETER COMPANY                                                        5001 DITTO LN                                                                           WICHITA FALLS        TX      76302
E-CHORDE COMMUNICATIONS LLC                                              5907 S PRAIRIE RD                                                                       STILLWATER           OK      74074-6257
ECK PETROLEUM LLC                                                        1030 EAST HWY 54                                                                        KINGMAN              KS      67068-1817
ECKARD GLOBAL LLC                                                        906 W MCDERMOTT DR SUITE 116-363                                                        ALLEN                TX      75013
Eckert, Tyler                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City        OK      73116
ECLIPSE RESOURCES I LP                                                   2121 OLD GATESBURG RD STE 110                                                           STATE COLLEGE        PA      16803-2290
ECM RESOURCES                                                            PO BOX 3668                                                                             LITTLETON            CO      80161
ECONOMY SUPPLY INC                                                       PO BOX 70                                                                               OILTON               OK      74052-0070
ECOTEST ENERGY SERVICES LLC                                              8351 DEERWOOD FOREST DRIVE                                                              FORT WORTH           TX      76126
ED & MONA SMITH FAMILY TR                                                906 S MAIN ST                                                                           STILLWATER           OK      74074-4634
ED BERRONG                                                               PO BOX 268                                                                              WEATHERFORD          OK      73096
ED GONGOLA                                                               9261 INDIGO ISLE CT APT 202                                                             BONITA SPRINGS       FL      34135-8476
ED ROSE LIVING TRUST                                                     1515 KINGSRIDGE DR APT 411                                                              OKLAHOMA CITY        OK      73170
ED WOARE                                                                 6 SOUTHBROOK PL                                                                         MOUNT ZION           IL      62549
EDD MCNEIL                                                               PO BOX 2765                                                                             SILVERTHORNE         CO      80498
EDDETTA GRANT                                                            514 N MAIN                                                                              SAND SPRINGS         OK      74063
EDDIE & MISHA GONZALES                                                   5008 HALEY LN                                                                           STILLWATER           OK      74074-8621
EDDIE & NANCY SCHEIHING                                                  11271 N. MIDWEST BLVD.                                                                  MULHALL              OK      73063
EDDIE AREND                                                              PO BOX 221                                                                              SHAMROCK             OK      74068
EDDIE CLARK                                                              R.T. 1, BOX 7150                                                                        CAMARGO              OK      73835
EDDIE D LYNN                                                             11451 S COLTRANE RD                                                                     EDMOND               OK      73034
EDDIE EASTERLY                                                           705 WEST JACKSON                                                                        COVINGTON            OK      73730
EDDIE EDWARDS                                                            730035 KELLY AVE                                                                        AGRA                 OK      74824

EDDIE EDWIN MOORE & EMMA LUCILLE MO                                      19275 E 610 RD                                                                          HENNESSEY            OK      73742
EDDIE HARPER PAUL EDDIE HARPER                                           343 E CARL ALBERT PKWY                                                                  MCCALESTER           OK      74501-5043
EDDIE HUESTON                                                            563 CALLENDER LAKE DR                                                                   MURCHISON            TX      75778-5511
EDDIE JR                                                                 1619 E MCELROY PL                                                                       STILLWATER           OK      74075
EDDIE NEUNDORF                                                           605 FOX HUNT LN                                                                         EDMOND               OK      73003
EDDIE OLENBERGER                                                         3305 S WASHINGTON ST                                                                    STILLWATER           OK      74074-5926
EDDIE RAINS                                                              1847 NE PERKINS WAY                                                                     SEATTLE              WA      98155
EDDIE SUTHERS                                                            PO BOX 165                                                                              STILLWATER           OK      74076-1665
EDDIE ZALOUDEK AND SONS INC                                              427 F AVE                                                                               KREMLIN              OK      73753
EDDINGS FAMILY TRUST                                                     PO Box 56                                                                               MORRISON             OK      73061
EDDY PACE                                                                1217 NW 197TH ST                                                                        EDMOND               OK      73012



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                                                                                                                       9211 Lake Hefner
Eddy Scarberry                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Eddy Scarberry                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX      77006
Eddy Scarberry                                                           1510 NW 2nd St.                                                                         Oklahoma City       OK      73106
EDDYTH FEDER                                                             1801 E 53RD ST S                                                                        WICHITA             KS      67216
EDELMAN                                                                  21992 NETWORK PL                                                                        CHICAGO             IL      60673-1219
EDF CAPITAL LLC                                                          12105 ELEONORE CT                                                                       SAN DIEGO           CA      92131
EDGAR CRABTREE                                                           12930 SW LAURMONT DR                                                                    TIGARD              OR      97223-1675
EDGAR HAWKINS                                                            617 W GOLD AVE                                                                          HOBBS               NM      88240
EDGAR L RAINS                                                            C/O 1213 S WALNUT STREET                                                                PAULS VALLEY        OK      73075
EDGARDO IVAN CUBIAS                                                      4217 LEXINGTON PL                                                                       ENID                OK      73703
EDGE SERVICES INC                                                        PO BOX 609                                                                              WOODWARD            OK      73802
EDGENIE BELLAH                                                           1119 CALISTOGA DR                                                                       LEANDER             TX      78641
EDITH BLACKFORD                                                          PO BOX 2384                                                                             MCKINNEY            TX      75070-8169
EDITH BO                                                                 7909 S WHEELING AVE                                                                     TULSA               OK      71436
EDITH DIEM                                                               1722 MEADOW LANE                                                                        PERRY               OK      73077
EDITH HOPPER                                                             42174 LITTLE LAKE RD                                                                    HEMET               CA      92544-7533
EDITH J BARTRAM                                                          PO BOX 75                                                                               MULHALL             OK      73063
EDITH JO JONES LIFE ESTATE                                               6301 N MERIDIAN                                                                         CRESCENT            OK      73028
EDITH MERIDETH                                                           PO BOX 1033                                                                             OLYMPIA             WA      98507
EDITH R WILLIAMS                                                         56701 E HWY 69                                                                          MIAMI               OK      74354
EDITH ROBERTSON ESTATE HEIRS                                             8 CARNATION PLACE                                                                       LAWRENCE TOWNSHIP   NJ      08648
EDITH TERRONEZ                                                           303 HOLLY ST                                                                            PERRY               OK      73077
EDITH WILLIAMS                                                           416 TRAVIS ST STE 1200                                                                  SHREVEPORT          LA      71101-5504
EDITHE NEWPORT                                                           15400 HALEY DR                                                                          CHOCTAW             OK      73020
EDMOND EUBANKS                                                           4511 134TH PL SE                                                                        BELLEVUE            WA      98006-2105
EDMOND NORTH HIGH SCHOOL                                                 215 WEST DANFORTH                                                                       EDMOND              OK      73003
EDMOND RUTTER                                                            8010 E 80TH ST                                                                          STILLWATER          OK      74074-8480
Edmondson, Cory                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater          OK      74074
EDMUND L EARNHEART                                                       12772 WEST COUNTY ROAD                                                                  MARSHALL            OK      73056-9756
EDMUND MCCURTAIN                                                         1000 REBECCA DR                                                                         BOULDER CREEK       CA      95006
EDMUND SIMANK                                                            5524 S INDEPENDENCE AVE                                                                 OKLAHOMA CITY       OK      73119-5438
EDNA ALBERTA LANTZ ESTATE                                                8330 PINE RIDGE                                                                         NOBLE               OK      73068
EDNA BROWN                                                               818 W CHICKASAW LN                                                                      STILLWATER          OK      74075
EDNA DACUS TRUST                                                         PO BOX 548                                                                              LINDSAY             OK      73052
EDNA DECD                                                                654 CHALK HILL RD                                                                       SOLVANG             CA      93463
EDNA DUNN                                                                11620 BELLAIRE BLVD APT 278                                                             BELLAIRE            TX      77401
EDNA HEILMAN                                                             1021 WILLOW CREEK DR                                                                    GUTHRIE             OK      73044-6916
EDNA HUNT WOODALL                                                        1709 N 7TH ST                                                                           PONCA CITY          OK      74601
EDNA MAE HEILMAN REV TRUST                                               1021 WILLOW CREEK DR                                                                    GUTHRIE             OK      73044
EDNA PEARL KRIPPES LANG REV LVG TR                                       13626 E WILLOW RD                                                                       ENID                OK      73701-9656
EDNA SHEBECK                                                             1417 E MAPLE AVE                                                                        STILLWATER          OK      74074-6220
EDNA SHEBECK FAMILY TRST                                                 1417 E MAPLE AVE                                                                        STILLWATER          OK      74074-6220
Edna Wood                             c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX      75070
Edna Wood                             c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa               OK      74104
Edna Wood                             c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY      10017
Edna Wood                                                                363491 E. 5100 Rd                                                                       Cleveland           OK      74020
EDUARDO A VARGAS                                                         2648 W EL PASO ST                                                                       BROKEN ARROW        OK      74012
EDWARD A REID III REV TR                                                 PO BOX 36                                                                               PIEDMONT            OK      73078
EDWARD A. MILLER OIL & GAS INVESTME                                      4713 NW 10TH STREET                                                                     OKLAHOMA CITY       OK      73127-5921
EDWARD BANDELIER                                                         1005 W GRANGER ST                                                                       BROKEN ARROW        OK      74012
EDWARD BARKER                                                            8607 SARAH LN                                                                           PLEASANT VALLEY     MO      64068-7601
EDWARD BECKER                                                            367 MYRTLEWOOD RD                                                                       MELBOURNE           FL      32940-7761
EDWARD BIEBERDORF                                                        22200 KNOB HILL                                                                         MORRISON            OK      73061
EDWARD BLACKBURN                                                         408 S ELM CT                                                                            BROKEN ARROW        OK      74012
EDWARD BLAKLEY                                                           ROUTE 3, BOX 1229                                                                       ANADARKO            OK      73005-9153
EDWARD BLINN                                                             5128 N NEWCASTLE AVE                                                                    CHICAGO             IL      60656-3734
EDWARD BOESE                                                             PO BOX 354                                                                              VICI                OK      73859-0354


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EDWARD BREGER                                                            595 MADISON AVE                                                                         NEW YORK               NY     10022-1907
EDWARD BROWN                                                             4160 BUENO RD                                                                           BULLHEAD CITY          AZ     86429
EDWARD BUKER                                                             485 OAKWOOD AVENUE # A 3                                                                LAKE FOREST            IL     60045-1961
                                                                                                                       9211 Lake Hefner
Edward C. Lorenzen                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City          OK    73120
                                      c/o Laminack, Pirtle & Martines,
Edward C. Lorenzen                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston                TX    77006
Edward C. Lorenzen                                                       1719 Quail Creek Dr                                                                     Norman                 OK    73026
EDWARD CAMPBELL                                                          3905 NW 22ND ST                                                                         OKLAHOMA CITY          OK    73107
EDWARD CARPENTER                                                         4122 W 13TH PLACE                                                                       YUMA                   AZ    85364
EDWARD CLARK                                                             309 LOCAL BUILDING                                                                      OKLAHOMA CITY          OK    73102
EDWARD CLARK INC                                                         PO BOX 38216                                                                            COLORADO SPRINGS       CO    80937

EDWARD CLOSE                                                             4209 GLENVIEW CT                                                                        NORTH RICHLAND HILLS   TX    76180-7343
EDWARD CRANLEY                                                           658 YORK ST                                                                             MADISON                WI    53711
EDWARD DESCHER                                                           2714 AMBER SPRINGS WAY                                                                  BUFORD                 GA    30519
EDWARD DESTEFANO                                                         12707 BOHEME DR #1506                                                                   HOUSTON                TX    77024
EDWARD DYCHE                                                             3402 E BISON RD                                                                         BISON                  OK    73720
EDWARD EDMISTON TTEE                                                     6709 N BARR                                                                             OKLAHOMA CITY          OK    73132
EDWARD EMERY PANKO                                                       PO BOX 30113                                                                            EDMOND                 OK    73003
EDWARD GARNER                                                            852 21ST ST UNIT D                                                                      SANTA MONICA           CA    90403
EDWARD GOERING                                                           32756 BERLIN RD                                                                         LEBANON                OR    97355
EDWARD GROSSMAN                                                          284 SCHOOLHOUSE RD                                                                      HONESDALE              PA    18431
EDWARD H SMITH III AND MARY SUE                                          73508 N 2120 RD                                                                         CAMARGO                OK    73835
EDWARD HARRISON                                                          19701 MOORLYNCH AVE                                                                     PFLUGERVILLE           TX    78660
EDWARD HENKE                                                             PO BOX 255                                                                              GUTHRIE                OK    73044
EDWARD HLAVAC                                                            612 W LAS PALMAS DR                                                                     FULLERTON              CA    92835
EDWARD HOOVER                                                            2009 LYNN DRIVE                                                                         WEST PLAINS            MO    65775
EDWARD J HAGEN REVOCABLE TRUST                                           2828 E 33RD ST                                                                          TULSA                  OK    74105

EDWARD J KAUTZ                                                           1135 N. LAKEWIND STREET, UNIT 1135                                                      WICHITA                KS    67212
                                                                                                                       9211 Lake Hefner
Edward J. Ptak                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City          OK    73120
                                      c/o Laminack, Pirtle & Martines,
Edward J. Ptak                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston                TX    77006
Edward J. Ptak                                                           12474 Shoreline Dr                                                                      Sperry                 OK    74073
EDWARD JEFFERIS CLARKE                                                   511 COUCH DR STE 300                                                                    OKLAHOMA CITY          OK    73102
EDWARD L BUSCH                                                           1102 S FERN ST                                                                          STILLWATER             OK    74074-4718
EDWARD L HALL                                                            PO BOX 214                                                                              MULHALL                OK    73063
EDWARD L HERRON ESTATE                                                   12808 HIGH MEADOW PIKE                                                                  PROSPECT               KY    40059
EDWARD L WILSON III                                                      6342 ANNAPOLIS LN                                                                       DALLAS                 TX    75214
EDWARD LEE EASLON                                                        425 FAIRWAY CIR                                                                         GROVE                  OK    74344
                                                                                                                       9211 Lake Hefner
Edward Mackie                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City          OK    73120
Edward Mackie                         c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles            CA    90017
Edward Mackie                         c/o Pulaski Law Firm               Attn: Adam Pulaski                            2925 Richmond Ave     Ste. 1725           Houston                TX    77098
Edward Mackie                                                            1246 E Cherry St                                                                        Cushing                OK    74023
EDWARD MADDEN                                                            24700 CR 185                                                                            PERRY                  OK    73077
EDWARD MONNET                                                            5311 S XANTHUS AVE                                                                      TULSA                  OK    74105-6444
EDWARD NIZICH                                                            30156 CHAPALA CT                                                                        LAGUNA NIGUEL          CA    92677
EDWARD PORTER                                                            6508 NE 115TH ST                                                                        OKLAHOMA CITY          OK    73162-2931
Edward Ptak                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas                 TX    75070
Edward Ptak                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa                  OK    74104
Edward Ptak                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York               NY    10017
Edward Ptak                                                              12474 Shoreline Dr                                                                      Sperry                 OK    74073

EDWARD R AND WANDA L FRIEDEMANN REV                                      5410 E 122ND ST                                                                         PERKINS                OK    74059-3758
EDWARD RHODES                                                            2005 E 18TH AVE                                                                         DENVER                 CO    80206-1109
EDWARD SHIEVER                                                           3118 E BURRIS RD                                                                        STILLWATER             OK    74075


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EDWARD SHIPPY                                                           401 CURRIE LN                                                                          GRANTS PASS         OR      97526
EDWARD SHREVE                                                           702 W HARNED AVE                                                                       STILLWATER          OK      74075-1304
EDWARD SKACH                                                            PO BOX 3666                                                                            LAKE JACKSON        TX      77566-1666
EDWARD SNIDER                                                           10816 SCOTTS RD                                                                        DEWITT              VA      23840-2413
EDWARD TABOR                                                            5212 COUNTRY CLUB RD                                                                   STILLWATER          OK      74074
EDWARD WATTS                                                            PO BOX 292                                                                             RIPLEY              OK      74062-0292

EDWARD WATTS AND RHONDA J WATTS HW                                      PO BOX 292                                                                             RIPLEY              OK      74062
EDWARD YENICK                                                           8141 GRANITE AVE                                                                       ORANGEVALE          CA      95662
EDWARD ZWEIFEL                                                          7725 W COTTONTAIL ST                                                                   WICHITA             KS      67212-3622
EDWARDS LIVING TRUST                                                    14200 S HARVEY AVE                                                                     OKLAHOMA CITY       OK      73170
EDWARDS ROYALTY LLC                                                     PO BOX 2051                                                                            EDMOND              OK      73083
EDWARDS TR DTD 09-13-2001                                               1923 S ELVIN DR                                                                        STILLWATER          OK      74074-2141
EDWARDS TRUST                                                           PO BOX 1348                                                                            DUNCAN              OK      73534-1348
EDWENA MILLER                                                           2524 S WASHINGTON ST                                                                   STILLWATER          OK      74074
EDWIN AND LOU ANN HUNT JT                                               1907 HIGHWAY 77 N                                                                      PERRY               OK      73077-1325
EDWIN BOYD                                                              126 CONNELLY DR                                                                        MCLOUD              OK      74851
EDWIN CHASE AND PEGGY S CHASE JT                                        24400 Blackjack Rd.                                                                    Perry               OK      73077
EDWIN DEBORD                                                            PO BOX 784                                                                             PERRY               OK      73077
EDWIN ERVIN                                                             440 E 13TH AVE                                                                         DENVER              CO      80203-2425
EDWIN FOWLER                                                            344187 E 1010 RD                                                                       MEEKER              OK      74855-7903
EDWIN G MALZAHN                                                         PO BOX 66                                                                              PERRY               OK      73077
EDWIN GRIGSBY                                                           7121 DESERT QUAIL DR                                                                   29 PALMS            CA      92277-6906
EDWIN KAUTZ                                                             PO Box 766                                                                             CUSHING             OK      74023
EDWIN L VADDER TR                                                       302 LOMETA DR                                                                          PLAINVIEW           TX      79072
EDWIN PROTHRO                                                           914 SW ST APT A                                                                        STILLWATER          OK      74074
EDWIN SHAW                                                              2674 GALAXIE ST                                                                        BARTLETT            TN      38134
                                                                                                                      9211 Lake Hefner
Edwin House                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                     c/o Laminack, Pirtle & Martines,
Edwin House                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Edwin House                                                             420 W Madison                                                                          Crescent            OK      73028
Edwin House                                                             327 S Pine                                                                             Crescent            OK      73028
                                                                                                                      9211 Lake Hefner
Edwin Payne Jr.                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                     c/o Laminack, Pirtle & Martines,
Edwin Payne Jr.                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Edwin Payne Jr.                                                         333139 E. 750 Rd                                                                       Perkins             OK      74059
EDWINA HALVERSON                                                        11264 HIGHWAY 133                                                                      PAULS VALLEY        OK      73075-8519
EDWINA HATCH                                                            815 DUMAINE ST                                                                         NEW ORLEANS         LA      70116-3020

EEX OPERATING LLC                                                       363 N SAM HOUSTON PRKWY STE 100                                                        HOUSTON             TX      77060
EFD INC                                                                 PO BOX 352                                                                             COYLE               OK      73027
EFIRE LTD                                                               1200 SUMMIT AVE STE 210                                                                FORT WORTH          TX      76102-4405
EFS PROPERTIES LLC                                                      PO BOX 19735                                                                           OKLAHOMA CITY       OK      73113
EG ENERGY LLC                                                           PO BOX 6244                                                                            LEAWOOD             KS      66206-0244
EG3 INC                                                                 PO BOX 1567                                                                            GRAHAM              TX      76450-7567
EGER CORP                                                               500 N AKARD ST STE 3540                                                                DALLAS              TX      75201-6669
EGH PARTNERS                                                            5400 N GRAND BLVD STE 330                                                              OKLAHOMA CITY       OK      73112
EGO LLC                                                                 221 CAMINO DEL MUNDO                                                                   FORTLLINS           CO      80524-8946
EIGHTY MILE RESOURCES LLC                                               7430 FOUNDERS WAY                                                                      PONTE VEDRA BEACH   FL      32082-1914
EILEEN B HOPFER TTEE                                                    1130 BRANWELL DR                                                                       DURHAM              NC      27703
                                                                                                                      9211 Lake Hefner
Eileen B. Caballero                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                     c/o Laminack, Pirtle & Martines,
Eileen B. Caballero                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Eileen B. Caballero                                                     2116 Lakecrest Dr                                                                      Oklahoma City       OK      73170
EILEEN BARRETT                                                          2616 W MCMURTRY RD                                                                     STILLWATER          OK      74075
EILEEN DAVIS                                                            6130 MAPPERLY LN                                                                       CUMMING             GA      30041


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EILEEN JOY HARDY WYATT                                                   401 NE 139TH AVE                                                                       PORTLAND          OR      97230
EILEEN ROONEY HEWGLEY LLC                                                PO BOX 521092                                                                          TULSA             OK      74152-1092
EILEEN S MACKEY REVOCABLE LIVING TR                                      PO BOX 16781                                                                           ST LOUIS          MO      63105
EILEEN WOLKE                                                             460 N EMPORIA APT 114                                                                  VALLEY CENTER     KS      67147
EILEEN'S OIL & GAS LLC                                                   36905 KNOWLTON LN                                                                      GRAYSVILLE        OH      45734
EISEN & BLUT INVESTMENTS LLC                                             5129 SUNMORE CIR STE 101                                                               MIDLAND           TX      79707-5126
EJ BERENDS                                                               712 NE 2ND ST                                                                          BUFFALO           OK      73834
EK ENERGY LLC                                                            PO BOX 706                                                                             EDMOND            OK      73083
EK EXPLORATION LLC                                                       PO BOX 706                                                                             EDMOND            OK      73083-0706
EKH MINERALS                                                             2318 PRUETT ST                                                                         AUSTIN            TX      78703-4338
EKN FAMILY LLC                                                           14236 W CHARLES RD                                                                     NINE MILE FALLS   WA      99026
EKN HOLDINGS LLC                                                         PO BOX 30175                                                                           EDMOND            OK      73003
EL CHAROLYN PROPERTIES LLC                                               PO BOX 2028                                                                            GREAT BEND        KS      67530-2028
EL DORADO CORPORATION                                                    PO BOX 21332                                                                           OKLAHOMA CITY     OK      73156-1332
EL GATO HOLDINGS LLC                                                     PO BOX 918                                                                             THOMAS            OK      73669
EL ROBINSON ENGINEERING OF OHIO CO                                       1801 WATERMARK DR STE 310                                                              COLUMBUS          OH      43215-7073
EL SEGUNDO OIL LLC                                                       2852 GUNDRY AVE                                                                        SIGNAL HILL       CA      90755-1813
ELAINA KIEL                                                              510 NW OAKMONT STREET                                                                  COUPEVILLE        WA      98239-3438
ELAINE FULTON HALE REVOCABLE TRUST                                       4113 HIDDEN HILL RD                                                                    NORMAN            OK      73072
ELAINE GLASS                                                             9401 E 112TH PL S                                                                      BIXBY             OK      74008
ELAINE HUFFER                                                            3123 GRANITE LAKE DR                                                                   MISSOURI CITY     TX      77459
ELAINE HUNTER                                                            1124 LEAWOOD DR                                                                        EDMOND            OK      73034
Elaine K Hall Revocable Trust                                            8105 NW 130TH PL                                                                       OKLAHOMA CITY     OK      73142
ELAINE KAVELER JOHNSON                                                   5708 CALADIUM DR                                                                       DALLAS            TX      75230
ELAINE KNAPP ADAMS                                                       10333 ILAH ROAD N                                                                      JACKSONVILLE      FL      32257
ELAINE L LUCAS REV INTR VIVIOS TRST                                      1433 SE SHAWNEE AVE                                                                    BARTLESVILLE      OK      74003-6031
ELAINE MOORE                                                             14004 CONWAY DR                                                                        OREGON CITY       OR      97045
ELAINE QUERRY                                                            1015 3RD STREET                                                                        LAS VEGAS         NM      87701
ELAINE RUTH STANTON IRREVOCABLE TRU                                      4204 HILDRING DRIVE EAST                                                               FORT WORTH        TX      76109
ELAINE S COONFIELD                                                       PO Box 135                                                                             CRESCENT          OK      73028
ELAINE STANTON                                                           4204 HILDRING DRIVE E                                                                  FORT WORTH        TX      76109-4716
ELAINE STEBLER                                                           10919 E 74TH ST                                                                        RIPLEY            OK      74062-6224
ELAINE VATER                                                             8416 NW 82ND ST                                                                        OKLAHOMA CITY     OK      73132
ELAINE WELLS                                                             3615 E SHADY BROOK DR                                                                  CUSHING           OK      74023
ELAINE ZIMMERMAN                                                         601 RIDGEFIELDS RD                                                                     KINGSPORT         TN      37660
                                                                                                                       9211 Lake Hefner
Elaine Altom                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Elaine Altom                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Elaine Altom                                                             7751 E Charter Oak Rd                                                                  Guthrie           OK      73034
ELAND ENERGY INC                                                         16400 DALLAS PARKWAY                                                                   DALLAS            TX      75248
ELASTICSEARCH INC                                                        800 EL CAMINO REAL STE 350                                                             MOUNTAIN VIEW     CA      94040
ELBERT FRAZIER                                                           770784 S 3400 RD                                                                       TRYON             OK      74875-7783
ELBERT HAWS                                                              24105 41TH AVE S                                                                       KENT              WA      98032
ELBERT STRAUSS                                                           PO BOX 1171                                                                            WELCHES           OR      97067-1171
ELBERT SUMNER                                                            8302 SARATOGA AVE                                                                      LUBBOCK           TX      79424-4720
ELDENE E MCBRIDE REV LIV TR DTD 11-                                      PO BOX 871                                                                             STILLWATER        OK      74076
ELDIN LESHER                                                             PO BOX 313                                                                             CRESCENT          OK      73028
ELDON FILLMORE FAMILY REV TRUST                                          120 LAKEWOOD DR                                                                        GUTHRIE           OK      73044
ELDON HANEY                                                              PO BOX 73                                                                              LEEDEY            OK      73654
ELDON HENDERSON                                                          22101 CR 200                                                                           PERRY             OK      73077
ELDON J & NEDRA RAE WILL LE                                              20750 CR 230                                                                           MORRISON          OK      73061
ELDON L FERRELL                                                          7515 N 2030 RD                                                                         LEEDY             OK      73654
ELDON R MARTIN & JOYCE K MARTIN HWJ                                      PO BOX 776                                                                             MANNFORD          OK      74044
ELDON S GAUNT TRUST                                                      12816 LINDEN ST                                                                        LEAWOOD           KS      66209-1801
                                                                                                                       9211 Lake Hefner
Eldridge H. Kindle                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Eldridge H. Kindle                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006


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Eldridge H. Kindle                                                       3250 West Charter Oak Rd                                                                Edmond             OK    73034
ELDRIDGEMILLER ENTERPRISES                                               PO BOX 1588                                                                             TULSA              OK    74101-1588

ELEANOR L KHOURY GRANDCHILDRENS TR                                       125 S GRAPE ST                                                                          ESCONDIDO          CA    92025
ELEANOR P WELCH TRUST                                                    1061 FAIRWAY LANE                                                                       GUNNISON           CO    81230
ELEANOR SHIPPY                                                           507 NW 16TH                                                                             BATTLEGROUND       WA    98604
ELEANOR SMYTH                                                            3406 S WEST ST                                                                          STILLWATER         OK    74074-5907
ELEANOR SWISHER                                                          6280 218TH AVE NW                                                                       ELK RIVER          MN    55330
ELEANORA STALEY                                                          3021 ADAMS CIR                                                                          MEDFORD            OR    97504
ELECTRICAL MFG & DISTRIBUTORS INC                                        1411 TWIN OAKS ST                                                                       WICHITA FALLS      TX    76302-2723

ELEMENT MATERIALS TECHNOLOGY BROKEN                                      32571 COLLECTIONS CENTER DR                                                             CHICAGO            IL    60693-0325
                                                                                                                       9211 Lake Hefner
Elena Garner                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Elena Garner                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Elena Garner                                                             7212 E Main                                                                             Cushing            OK    74023
ELENORA DAVIS                                                            7652 C PLANTZ ROAD                                                                      MARYSVILLE         CA    95901
ELEVATOR REPAIR SERVICE INC                                              PO BOX 11037                                                                            HOUSTON            TX    77293
ELEVATOR REPAIR SERVICES INC                                             PO BOX 11037                                                                            HOUSTON            TX    77293
ELEXCO LAND SERVICES INC              ATTN: JANE HAMMOND                                                                                                         MARYSVILLE         MI    48040
ELFREDA TRUMBLA DECEASED                                                 263 ALLEMANIA DR                                                                        NEW BRAUNFELS      TX    78132-5185
ELFRIEDA HILDEBRAND                                                      4221 MORAGA AVE                                                                         SAN DIEGO          CA    92117-4519
ELI LOGAN RAINS                                                          17700 LAKE MEADOWS                                                                      STILLWATER         OK    74075
ELI MORRIS                                                               1139 S SHARON CT #104                                                                   NAMPA              ID    83687
ELIAS BOOKS BROWN & NELSON P.C.                                          211 NORTH ROBINSON SUITE 1300                                                           OKLAHOMA CITY      OK    73102-7149
ELIN BRYANT                                                              HC 64, BOX 33                                                                           COLDWATER          KS    67029
ELISA VAUGHN                                                             4411 E CHANDLER BLVDAPT 1030                                                            PHOENIX            AZ    85048
ELISE HOLLIDAY                                                           6401 DENA CT                                                                            BAKERSFIELD        CA    93308
Eliseo Castellanos                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX    75070
Eliseo Castellanos                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK    74104
Eliseo Castellanos                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY    10017
Eliseo Castellanos                                                       748 E. Oak St                                                                           Cushing            OK    74023
ELITE DRILLING LLC                                                       PO BOX 2701                                                                             Woodward           OK    73802
ELITE FISHING & RENTAL INC                                               PO BOX 712                                                                              PERRYTON           TX    79070-0712
ELITE SPORTS/S & S UNLIMITED                                             PO Box 24626                                                                            FT WORTH           TX    76124
ELIZA ERVIN                                                              5855 CHESHIRE PKWY UNIT 4407                                                            PLYMOUTH           MN    55446-4017
ELIZABETH A BENNETT FAMILY TRUST                                         2324 NW 47TH ST                                                                         OKLAHOMA CITY      OK    73112
ELIZABETH A CODDING LIVING REV TR                                        3109 TOUCHMARK DR                                                                       EDMOND             OK    73003

ELIZABETH A HAIR                                                         5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY           TX    75070
ELIZABETH A UNDERWOOD TRUSTEE                                            1303 S AGRA RD                                                                          CUSHING            OK    74023-5855
ELIZABETH A. POINDEXTER, TRUSTEE                                         23703 230th Place SE                                                                    Maple Valley       WA    98038
ELIZABETH ACTON                                                          531 MAIN ST, APT 1510                                                                   NEW YORK CITY      NY    10044

ELIZABETH AND JOSEPH TAFT REVOCABLE                                      6338 MUIRLANDS DR                                                                       LA JOLLA           CA    92037-6307
ELIZABETH ANN SANDYS FAMILY                                              18773 RACQUET LANE                                                                      HUNTINGTON BEACH   CA    92648
ELIZABETH ANN SHARP                                                      16043 SOUTH 88TH AVENUE                                                                 BIXBY              OK    74008
ELIZABETH BEJCEK                                                         RT 1 BOX 45                                                                             MARAMEC            OK    74045
ELIZABETH BENNETT                                                        2324 NW 47TH ST                                                                         OKLAHOMA CITY      OK    73112
ELIZABETH BODLEY                                                         202672 E COUNTY ROAD 44, LOT 8                                                          WOODWARD           OK    73801
ELIZABETH BROWN                                                          611 Wakefield Rd.                                                                       Perry              OK    73077
ELIZABETH BUCK                                                           22582 LARAS LN                                                                          EDMOND             OK    73025-2020
ELIZABETH BURCHAM                                                        PO BOX 57                                                                               FISCHER            TX    78623-0057
ELIZABETH BUTLER                                                         3202 S DETROIT                                                                          TULSA              OK    74105
ELIZABETH BUTTON                                                         600 ROUTE 2                                                                             SOUTH HERO         VT    05486-4305
ELIZABETH C LILLY TRUST                                                  494 CAMBY CT                                                                            GREENWOOD          IN    46142
ELIZABETH CARMICHAEL                                                     3 BROOKHOLLOW DR                                                                        WIMBERLEY          TX    78676-2717
ELIZABETH CHAPIN                                                         1202 COLLEGE ST                                                                         TARIKO             MO    64491


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ELIZABETH COHN TRUST                                                  4809 WELFORD DR                                                       BELLAIRE           TX       77401-5333
ELIZABETH CRAMER                                                      PO BOX 21000                                                          WICKENBURG         AZ       85358
ELIZABETH DECEASED                                                    8746 JACKIE DR                                                        SAN DIEGO          CA       92119-1417
ELIZABETH DEES                                                        1410 E 8TH                                                            CUSHING            OK       74023
ELIZABETH DILLINGHAM                                                  417 N 2ND ST                                                          WAUKOMIS           OK       73773
ELIZABETH DUNN                                                        700 FM 5 S                                                            ALEDO              TX       76008-4439
ELIZABETH EGERTON                                                     8808 LAKEAIRE DR                                                      OKLAHOMA CITY      OK       73132
ELIZABETH EIDSON                                                      4557 SURF DR                                                          DALLAS             TX       75214-2552
ELIZABETH FANNING                     c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                         Oklahoma City      OK       73116
ELIZABETH FELL OVEN ESTATE                                            PO BOX 1466                                                           ENID               OK       73702-1466
ELIZABETH GARZA                                                       2701 WATERMARK BLVD APT 3208                                          OKLAHOMA CITY      OK       73134-2719
ELIZABETH GELDER ESTATE DECD                                          8746 JACKIE DR                                                        SAN DIEGO          CA       92119
ELIZABETH GILTHVEDT                                                   PO BOX 3209                                                           TULSA              OK       74101
ELIZABETH GLEESON BARRY                                               4980 E PIE ALLEN COURT                                                TUCSON             AZ       85712
ELIZABETH GRUND                                                       5 WESSON AVE                                                          CHARLESTON         SC       29403
ELIZABETH H MERRITT REVOCABLE TRUST                                   845 FIRST COLONIAL RD APT 338                                         VIRGINIA BEACH     VA       23451-6160
ELIZABETH JANE KAY FAMILY TRUST                                       PO BOX 9602                                                           COLORADO SPRINGS   CO       80932
ELIZABETH JANE THIELE                                                 23600 COUNTY RD 150                                                   PERRY              OK       73077
ELIZABETH JOYCE CLINGMAN                                              4753 CRESCENT DR                                                      SHREVEPORT         LA       71106
ELIZABETH KEIM                                                        1927 W BEAR CREEK DR                                                  NAMPA              ID       83686-8471
ELIZABETH KRAMER                                                      810 W DEACON PL                                                       CITRUS SPRINGS     FL       34434
ELIZABETH KROLL                                                       5772 GARDEN GROVE BLVD SPC 297                                        WESTMINSTER        CA       92683-1826
ELIZABETH LEE GLICK                                                   3700 NW 55TH CIRCLE                                                   OCALA              FL       34482
ELIZABETH LEVESQUE                                                    36 MARYLAND PLACE SW                                                  CALGARY            AB       T2V 2E4      CANADA
ELIZABETH LIPPMANN ESSIG                                              PO BOX 1786                                                           FORT MYER          VA       22211-0786
ELIZABETH LONDON                                                      3317 SAND PLUM LN                                                     EDMOND             OK       73003
ELIZABETH MCLAIN TR DTD 06-11-2009                                    10718 S BRUSH CREEK RD                                                PERKINS            OK       74059-4362
ELIZABETH MCMAHON                                                     804 S MAIN                                                            BROKEN ARROW       OK       74012
ELIZABETH MICHAEL                                                     602 S CLIFTON AVENUE                                                  WICHITA            KS       67218
ELIZABETH MICHELE BEWLEY                                              401 WORTHINGTON PLACE                                                 RICHMOND           KY       40475
ELIZABETH MULLEN                                                      2128 DOVER DR                                                         CARROLTON          TX       75006
ELIZABETH NEWTON                                                      PO BOX 267                                                            MARHSALL           OK       73056
ELIZABETH NIXON SHEETS                                                11205 SAVOY RD                                                        SAINT AMANT        LA       70774
ELIZABETH NUTT                                                        2405 CHERI LN                                                         BRENHAM            TX       77833

ELIZABETH P SCHNEIDER                                                 5900 SOUTH LAKE FOREST DR STE 300                                     MCKINNEY           TX       75070
ELIZABETH PATTERSON                                                   4748 W SIERRA VISTA DR APT 102                                        GLENDALE           AZ       85301-4154
ELIZABETH PUCKETT                                                     455 E 113TH ST S                                                      JENKS              OK       74037-3204
ELIZABETH RAE DOYEL                                                   220 W MCELROY                                                         STILLWATER         OK       74075
ELIZABETH REES                                                        109 FORT JACKSON ST                                                   BELLE CHASSE       LA       70037-2509
ELIZABETH RISSMANN & CO INC                                           PO BOX 122                                                            PERRY              OK       73077
ELIZABETH ROBERTS                                                     11791 88TH AVE                                                        MAPLE GROVE        MN       55369
ELIZABETH ROBERTSON                                                   58 N MAIN ST APT 401                                                  NATICK             MA       01760-3470
ELIZABETH ROGINSON DAUGHERTY                                          92 HARDIE DR                                                          MORAGA             CA       94556
ELIZABETH RUTH JOYCE CLINGMAN LE                                      4753 CRESCENT DR                                                      SHREVEPORT         LA       71106
ELIZABETH RUTH LEHMAN                                                 4530 VERBENA ST #307                                                  DENVER             CO       80237
ELIZABETH RYAN                                                        PO BOX 721596                                                         NORMAN             OK       73070
ELIZABETH S COX REV TRUST                                             5970 E 31ST ST                                                        TULSA              OK       74135
ELIZABETH S CROCKER ESTATE                                            3257 HUNTINGDON PLACE                                                 HOUSTON            TX       77019-5925
ELIZABETH SANCHEZ                                                     1500 SPRING CREEK DRIVE                                               YUKON              OK       73099
ELIZABETH SCHACHER                                                    1301 I ST NW APT 629                                                  WASHINGTON         DC       20009
ELIZABETH SCHONWALD                                                   9434 CEDAR LAKE AVENUE                                                OKLAHOMA CITY      OK       73114
ELIZABETH SCHWERDTFEGER                                               30966 COUNTY ROAD 490                                                 ALVA               OK       73717-5028
ELIZABETH SIMMONS                                                     967 MOSS HILL DR                                                      ASHLAND            OH       44805-3025
ELIZABETH SMITH                                                       1813 Churchwill Way                                                   Oklahoma City      OK       73120
ELIZABETH STAHL                                                       4811 SILVER LAKE CT                                                   FAIRFIELD          CA       94534
ELIZABETH STAUBER                                                     1880 CENTURY PARK E STE 315                                           LOS ANGELES        CO       90067-1631
ELIZABETH STROUBE-JOHNSON                                             PO BOX 840738                                                         DALLAS             TX       75284-0738
ELIZABETH SUE WRIGHT                                                  616 LAUREL WAY                                                        CASSELBERRY        FL       32707


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             CreditorName               CreditorNoticeName                        Address1                             Address2                  Address3             City   State     Zip       Country
ELIZABETH THOMASON                                                  2105 E CYPRUS AVE                                                                       ENID             OK    73701
                                                                                                                  9211 Lake Hefner
Elizabeth Tilson- Parrish        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                 c/o Laminack, Pirtle & Martines,
Elizabeth Tilson- Parrish        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Elizabeth Tilson- Parrish                                           16609 Canyonwood Ln                                                                     Edmond           OK    73012
ELIZABETH WEMOTT                                                    3217 N VILLA                                                                            OKLAHOMA CITY    OK    73112
ELIZABETH WILLIAMS                                                  6201 BEAVER CREEK RD                                                                    OKLAHOMA CITY    OK    73162
ELIZABETH WILLIG                                                    302 S GOODNOW RD                                                                        PAYSON           AZ    85541
ELIZABETH WILSON                                                    15927 E LELAND RD                                                                       BEAVERCREEK      OR    97004
                                                                                                                  9211 Lake Hefner
Elizabeth Hepburn                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                 c/o Laminack, Pirtle & Martines,
Elizabeth Hepburn                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Elizabeth Hepburn                                                   5016 SE 46th St                                                                         Oklahoma City    OK    73135
                                                                                                                  9211 Lake Hefner
Elizabeth Riddle                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                 c/o Laminack, Pirtle & Martines,
Elizabeth Riddle                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Elizabeth Riddle                                                    349782 E. Main                                                                          Kendrick         OK    74079
ELK CITIAN INC.                                                     120 SOUTH MAIN                                                                          ELK CITY         OK    73644
ELK CITY FORKLIFT SERVICE INC.                                      PO BOX 631                                                                              ELK CITY         OK    73648
ELK CITY TRUCKING                                                   PO BOX 1497                                                                             ELK CITY         OK    73648-1497
ELK CREEK RESOURCES LLC                                             PO BOX 871                                                                              OKLAHOMA CITY    OK    73101-0871
ELK ROYALTIES LLC                                                   PO BOX 660082                                                                           DALLAS           TX    75266-0082
ELKS NATIONAL FOUNDATION                                            PO BOX 3480                                                                             OMAHA            NE    68103-0480
ELLA BIAS                                                           1523 S TAYLOR RD                                                                        WILLCOX          AZ    85643-3612
ELLA HOUSE JORDAN                                                   926 FAIRWAY DRIVE                                                                       DUNCANVILLE      TX    75137
ELLA JARVIS                                                         326 S EMPORIA ST                                                                        EL DORADO        KS    67042-2616
ELLA M LUSTER                                                       17187 CEDAR AVE                                                                         SONOMA           CA    95476-3346
ELLA RILEY                                                          11525 89TH ST NW                                                                        EDMONTON         AB    T5B 3V1      CANADA
ELLA S HOLMES                                                       501 NW 13TH ST                                                                          OKLAHOMA CITY    OK    73103
ELLA SUE DAVENPORT                                                  5026 W 4TH AVE                                                                          STILLWATER       OK    74074
                                                                                                                  9211 Lake Hefner
Ella Hall                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                 c/o Laminack, Pirtle & Martines,
Ella Hall                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Ella Hall                                                           8713 Dena Lane                                                                          Oklahoma City    OK    73132
ELLEN APEL                                                          2419 ELLIOT AVE                                                                         MINNEAPOLIS      MN    55404
ELLEN BOYLE                                                         1880 TURNBERRY TERRACE                                                                  ORLANDO          FL    32804
ELLEN FRUENDT                                                       6818 SW LEWELLING RD                                                                    TOPEKA           KS    66619
ELLEN HINES                                                         5595 NORTH OAKMONT DRIVE                                                                BEVERLY HILLS    FL    34465
ELLEN KERSEY                                                        810575 S. 3417 RD                                                                       TRYON            OK    74875
ELLEN KING                                                          450 10TH ST                                                                             SWEET HOME       OR    97386
ELLEN LONG ESTATE DECD                                              PO BOX 213                                                                              PERKINS          OK    74059
ELLEN LYONS                                                         3100 ASHETON CT                                                                         EDMOND           OK    73034-5847
ELLEN MADDON                                                        6500 N GRAND BLVD #177                                                                  OKLAHOMA CITY    OK    73116
Ellen Newburn                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX    75070
Ellen Newburn                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK    74104
Ellen Newburn                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY    10017
Ellen Newburn                                                       924 N Dryden St                                                                         Stillwater       OK    74075
ELLEN PETERSEN                                                      6630 HALIFAX ST                                                                         CITRUS HEIGHTS   CA    95621
ELLEN RIDGEWAY MOSSHAMMER                                           824 N BELLIS                                                                            STILLWATER       OK    74075
ELLEN SCHAFROTH                                                     PO BOX 214                                                                              ELY              MN    55713
ELLEN SHEPPARD                                                      PO BOX 285                                                                              PINEDALE         WY    82941-0285
ELLEN SHERMAN                                                       PO BOX 1066                                                                             CAMP VERDE       AZ    86322
ELLEN SUE HOOTEN-STEWART                                            13301 SE 44TH STREET                                                                    CHOCTAW          OK    73020
ELLEN WORTHAM                                                       101 S CIMARRON DR                                                                       PERKINS          OK    74059-3424
ELLEN WYSCAVER                                                      1433 S GARFIELD PL                                                                      KENNEWICK        WA    99337-4061


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              CreditorName              CreditorNoticeName                          Address1                            Address2                 Address3             City    State     Zip      Country
ELLINGTON & ASSOCIATES INC                                           1414 LUMPKIN RD                                                                        HOUSTON           TX    77043-4106
ELLIOT CHAMBERS                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK    73116
ELLIOTT + ASSOCIATES ARCHITECTS                                      35 HARRISON AVE                                                                        OKLAHOMA CITY     OK    73104-2229
                                                                                                                   9211 Lake Hefner
Elliott Lyles                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                  c/o Laminack, Pirtle & Martines,
Elliott Lyles                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Elliott Lyles                                                        9321 E. 93rd St                                                                        Tulsa             OK    74133
Elliott, Amanda                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK    73116
ELLIS COUNTY CLERK                                                   100 S WASHINGTON ST                                                                    ARNETT            OK    73832
ELLIS E ALLINSON                                                     5212 SPRING CREEK CIR W                                                                STILLWATER        OK    74074-8570
ELLIS QUIETT                                                         PO BOX 2102                                                                            ALPINE            TX    79831
ELLIS RANDOLPH                                                       PO BOX 32120                                                                           SANTA FE          NM    87594-2120
ELLISON FAMILY TRUST                                                 1545 E 31ST ST                                                                         TULSA             OK    74105
ELLISON J BEASLEY TTEE                                               5807 WOODLAKE DR                                                                       STILLWATER        OK    74074
ELLORA ENERGY LLC                                                    PO BOX 19587                                                                           BOULDER           CO    80308
ELLYN KEREKANICH-SOLOMAN                                             1839 E. BETHANY HOMES RD.                                                              PHOENIX           AZ    85016
ELM PARK MINERALS I LP                                               PO BOX 2015                                                                            OKLAHOMA CITY     OK    73101

ELM RIDGE RESOURCES INC                                              12225 GREENVILLE AVENUE SUITE 950                                                      DALLAS            TX    75245-9362
ELMA J WATSON, TRUSTEE                                               2100 PINNACLE DR.                                                                      WEATHERFORD       OK    73096-9724
ELMER BERENDS                                                        712 NE 2ND                                                                             BUFFALO           OK    73834
ELMER BLASIER                                                        12014 W 71ST ST                                                                        COYLE             OK    73027-6300
ELMER BROWN                                                          2916 E ROCKWOOD DR                                                                     PHOENIX           AZ    85050
ELMER BROWN                                                          123 E PINE ST                                                                          SKIATOOK          OK    74070-2235
ELMER DALE YOST                                                      1600 EAST 19TH STREET #403                                                             EDMOND            OK    73013
ELMER JUDGE                                                          1000 S IDAHO RD APT 124                                                                APACHE JUNCTION   AZ    85119
                                                                                                                   9211 Lake Hefner
Elmer L Jones                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                  c/o Laminack, Pirtle & Martines,
Elmer L Jones                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Elmer L Jones                                                        307 S Noble                                                                            Cushing           OK    74023
ELMER MINNIX                                                         RR 1 BOX 327                                                                           STILLWATER        OK    74074
ELMER NELSON                                                         26318 FIELDHAVEN CT                                                                    CYPRESS           TX    77433
ELMER WHITE                                                          PO BOX 80                                                                              CASHION           OK    73016
ELMIRA JANE GUNGOLL                                                  3706 KING ST APT 1009                                                                  ENID              OK    73703
                                                                                                                   9211 Lake Hefner
Elnora Miner                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                  c/o Laminack, Pirtle & Martines,
Elnora Miner                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Elnora Miner                                                         2734 S. Hudson Pl                                                                      Tulsa             OK    74114
ELNORA RYCKMAN                                                       PO BOX 5428                                                                            MOHAVE VALLEY     AZ    86446
ELOISE BREWINGTON                                                    116 SPRINGS EDGE DR                                                                    MONTGOMERY        TX    77356-5951
ELOISE BREWINGTON (FOR LIFE)                                         PO BOX 3025                                                                            CONROE            TX    77305-3025
ELOISE EVANS                                                         2714 E 22ND ST                                                                         TULSA             OK    74114
ELOISE K DYCUS                                                       ONE ITASCA PLACE UNIT 1141                                                             ITASCA            IL    60143
ELOISE MILLER                                                        ROUTE 1 BOX 4C                                                                         CARNEY            OK    74832
ELOISE SMITH                                                         2419 CLARINDA                                                                          WICHITA FALLS     TX    76308
ELR PRODUCTION LTD                                                   PO BOX 1779                                                                            ALEDO             TX    76008-1779
ELSA MORRIS                                                          21849 PEPPERCORN DRIVE                                                                 SANTA CLARITA     CA    91350-1626
ELSIE H GUBSER LIVING TRUST                                          1823 E 16TH PL                                                                         TULSA             OK    74104
ELSIE MEINECKE                                                       2233 N DOROTHY AVE                                                                     SHAWNEE           OK    74804
ELSIE SALES                                                          11689 ARROYO AVE                                                                       HESPERIA          CA    92345-1904

ELSIE VANLANDINGHAM               C/O ANDREW H VAN DORN SR                                                                                                  HAPPY VALLEY      OR    97086
ELSON OIL COMPANY                                                    20 E 5TH ST STE 1404                                                                   TULSA             OK    74103-4429

ELSR LP                                                              8080 N. CENTRAL EXPRESSWAY, # 1420                                                     DALLAS            TX    75206
ELVA ANDERSON                                                        6231 WEST BERRIDGE LN                                                                  GLENDALE          AZ    85301


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ELVA DENNY                                                               10397 SW WHITE ROAD                                                                    AUGUSTA         KS      67010
ELVA E MCFADDEN OR ELVA E GARCIA-RA                                      4133 W WILSON 75                                                                       BANNING         CA      92220
ELVA GALE WIXSON                                                         4801 GREEN OAKS DR                                                                     COLLEYVILLE     TX      76034
ELVA M LOVELACE TRUST                                                    8537 E SANDPIPER DRIVE                                                                 INVERNESS       FL      32650

ELVA M WALLACE AND JAMES H WALLACE                                       10630 BUENA VISTA ROAD                                                                 INDEPENDENCE    OR      97351
ELVA MAHAFFEY                                                            11120 FIDDLESTICKS LANE                                                                YUKON           OK      73099

ELVA PHENIS HEIRS OF                                                     2335 N MADISON AVE APARTMENT 107                                                       ANDERSON        IN      46011-9509
                                                                                                                       9211 Lake Hefner
Elva Larios                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Elva Larios                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Elva Larios                                                              1220 N. Harvard Ave                                                                    Oklahoma City   OK      73127
                                                                                                                       9211 Lake Hefner
Elvena P Lee                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Elvena P Lee                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Elvena P Lee                                                             16321 E 6th St                                                                         Yale            OK      74085
                                                                                                                       9211 Lake Hefner
Elvin Greenfield                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Elvin Greenfield                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Elvin Greenfield                                                         616 S Cleveland Ave                                                                    Cushing         OK      74023
ELVIN PRINCE                                                             PO BOX 215                                                                             MULHALL         OK      73063
ELVONA M SPRINGER                                                        60 YELLOW BRICK DR                                                                     STILLWATER      OK      74074
ELYNX TECHNOLOGIES LLC                                                   DEPT 243                                                                               TULSA           OK      74121-1228
EM INVESTMENTS LLC                                                       7107 RICH HILL RD                                                                      BALTIMORE       MD      21212
EMAINT ENTERPRISES LLC                                                   438 N ELMWOOD RD                                                                       MARLTON         NJ      08053
EMALINE SPANGLER                                                         PO BOX 592                                                                             WICHITA FALLS   TX      76307
EMELIE SHRODER                                                           9490 DUNEWOOD DR                                                                       BRIDGMAN        MI      49106-8324
EMERALD RESOURCES INC                                                    4039 MOHAWK DRIVE                                                                      LARKSPUR        CO      80118
EMERSON HEMPHILL                                                         PO BOX 33                                                                              FREDONIA        AZ      85022-0033
Emerson, Thomas                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater      OK      74074
EMG FUND II MANAGEMENT LP             ATTN: CLIFF WORTHINGTON                                                                                                   DALLAS          TX      75201-1988
EMG FUND III MANAGEMENT LP                                               2000 MCKINNEY AVE STE 1250                                                             DALLAS          TX      75201
EMG OPCO LP                                                              2000 MCKINNEY AVE. STE 1250                                                            DALLAS          TX      75201
EMIL C LOOSEN 1998 REVOC TRUST                                           PO BOX 3448                                                                            ENID            OK      73702
EMILE BOURGOYNE                                                          1296 SCHEXNAYDER LN                                                                    MELVILLE        LA      71353-5012
EMILE ONKA LE                                                            510 NE 1 ST                                                                            BLUE SPRINGS    MO      64015
EMILY CHRISTODOULIDES                                                    6905 LAKE MEADOW LANE                                                                  SACHSE          TX      75048
EMILY ELAINE SPRINGER & NATHANIEL                                        415 Collins Court                                                                      STILLWATER      OK      74074
EMILY FULGHAM MCCULLOUGH                                                 2101 JEFFERSON HIGHWAY                                                                 PINEVILLE       LA      71360
EMILY GLENN HONEA                                                        1903 SOMERVILLE                                                                        RICHARDSON      TX      75080
EMILY GRIMM                                                              1316 RIVER BIRCH DRIVE                                                                 YUKON           OK      73099
EMILY L LUKENS                                                           1315 SOUTH HIGHLAND AVE                                                                CUSHING         OK      74023
EMILY MATTHEWS                                                           25230 CHALICE KNOLL STREET                                                             KATY            TX      77493
EMILY POLLOCK MOON                                                       317 W 7TH AVE                                                                          BELTON          TX      76513-3009
EMILY VAN METER                                                          8569 E LONG AVE                                                                        CENTENNIAL      CO      80112
EMILY WELLS                                                              11311 N CENTRAL EXPY STE 100                                                           DALLAS          TX      75243-6700
                                                                                                                       9211 Lake Hefner
Emily Ardion                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Emily Ardion                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Emily Ardion                                                             1816 Corrine Dr                                                                        Oklahoma City   OK      73111
                                                                                                                       9211 Lake Hefner
Emily Buchanan                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Emily Buchanan                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006


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Emily Buchanan                                                           621 Sherwood Dr                                                                         Norman             OK      73071
EMIT H CARMACK                                                           423 NE 12TH STREET                                                                      GRANTS PASS        OR      97526
EMMA AND RUTH ANN HEGARTY JT                                             7708 S. WESTERN RD.                                                                     STILLWATER         OK      74074
EMMA BLACK                                                               6060 S BUILDING AVE                                                                     LOS ANGELES        CA      90044
Emma Butterbaugh                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX      75070
Emma Butterbaugh                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK      74104
Emma Butterbaugh                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY      10017
Emma Butterbaugh                                                         43136 State Hwy 20                                                                      Fairfax            OK      74637
EMMA DOWNEY                                                              1207 E 92ND ST                                                                          PERKINS            OK      74059
EMMA HOLMES                                                              1001 MCKINNEY ST STE 1900                                                               HOUSTON            TX      77002-6411
EMMA JANE AND NANCY JANE WILLIAMS                                        1205 MOCKINGBIRD LANE                                                                   LAKEPORT           CA      95454
EMMA LEE DEYO LIVING TRUST DTD 1-19                                      427 HEILAND PL                                                                          AZTEC              NM      87410
EMMA LENGQUIST                                                           25057 E 110 ST                                                                          BROKEN ARROW       OK      74014
EMMA LENQUIST                                                            25057 E 110TH AVE                                                                       BROKEN ARROW       OK      74014
                                                                                                                       9211 Lake Hefner
Emma O. Perron                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Emma O. Perron                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Emma O. Perron                                                           4524 Chelsea Lane                                                                       Choctaw            OK      73020
EMMA PAULINE BATCHELOR TTEE                                              1222 S 105TH AVE                                                                        TULSA              OK      74128
EMMA WRIGHT                                                              942 E MOSES ST                                                                          CUSHING            OK      74023-3521
                                                                                                                       9211 Lake Hefner
Emmanuel Cole                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Emmanuel Cole                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Emmanuel Cole                                                            508 Wild Meadow Dr                                                                      Edmond             OK      73003
EMMAUS ROAD LLC                                                          3900 SHILOH RIDGE                                                                       EDMOND             OK      73034
EMMETT LEE MARRIOTT                                                      1401 JUPITER CT                                                                         EDMOND             OK      73003
EMMETT LYNN                                                              1416 PAGE TREE LN                                                                       MOUNT PLEASANT     SC      29464
EMMETT MCKEE                                                             24262 E GLASGOW CIR                                                                     AURORA             CO      80016-1302
EMMETT MCKNIGHT                                                          2308 STAFFORD ROAD                                                                      WESTLAKE VILLAGE   CA      91361
EMMETT WRIGHT                                                            PO BOX 316                                                                              RIPLEY             OK      74062-0316
EMMLOU SHIPPY                                                            2825 MYRELEWOOD WAY                                                                     NAMPA              ID      83686
EMOGENE SUMMERS                                                          1677 SAWMILL RD                                                                         EDMOND             OK      73034
EMOND BROTHERS LLC                                                       6778 240TH ST                                                                           ELKO NEW MARKET    MN      55020-9518

EMPIRICA LLC                                                             6360 W SAM HOUSTON PKWY N STE 100                                                       HOUSTON            TX      77041-5165
EMYLEE FITZGERALD                                                        104 CLADOR DR                                                                           CHANDLER           OK      74834
EMYLEE FITZGERALD TR                                                     104 CLADOR DR                                                                           CHANDLER           OK      74834-1414
EN VANTAGE INC                                                           1402 CHESTNUT GROVE LN                                                                  KINGWOOD           TX      77345-1917
ENABLE MIDSTREAM PARTNERS                                                PO BOX 96-0387                                                                          OKLAHOMA CITY      OK      73196-0387
ENABLE MIDSTREAM PARTNERS LP                                             PO BOX 24300                                                                            OKLAHOMA CITY      OK      73124-0300
ENBASE LLC                                                               24 GREENWAY PLAZA STE 1050                                                              HOUSTON            TX      77046-2468
ENCINO ANADARKO                                                          5847 SAN FELIPE ST SUITE 300                                                            HOUSTON            TX      77057
ENCINO ANADARKO ACQUISITION LLC                                          5847 SAN FELIPE ST SUITE 300                                                            HOUSTON            TX      77057
ENCOMPASSED ENTERPRISES INC                                              1303 TENKILLER LN                                                                       NORMAN             OK      73071-3642
ENDEAVOR ACQUISITIONS, LLC                                               512 MAIN STREET SUITE 1200                                                              FT. WORTH          TX      76102
ENDEAVOR ENERGY RESOURCES LP                                             110 N MARIENFELD ST STE 200                                                             MIDLAND            TX      79701
ENDICO INC                                                               PO BOX 2552                                                                             EDMOND             OK      73083-2552
ENDURING RESOURCES II LLC                                                1050 17th STREET STE 2500                                                               DENVER             CO      80265
ENERCON SERVICES INC                                                     PO BOX 269031                                                                           OKLAHOMA CITY      OK      73126-9031
ENERGES SERVICES LLC                                                     1328 EAST 18TH STREET                                                                   GREELEY            CO      80631
ENERGISTS HOLDINGS LLC                                                   10260 WESTHEIMER RD STE 300                                                             HOUSTON            TX      77042-3108
ENERGY FC                                                                615 N. HUDSON, STE 100                                                                  OKLAHOMA CITY      OK      73102
ENERGY FINANCIAL                                                         PO BOX 3086                                                                             OKLAHOMA CITY      OK      73101
ENERGY FIRST ENGINEERING                                                 8620 N NEWBRAUNFELS                                                                     SAN ANTONIO        TX      78217
ENERGY INTELLIGENCE GROUP INC                                            5 E 37TH ST FL 5                                                                        NEW YORK           NY      10016-2807
ENERGY METER SYSTEMS                                                     1161 SOUTH MAIN                                                                         HENNESSEY          OK      73742



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                                                                      2000 WEST SAM HOUSTON PARKWAY
ENERGY NAVIGATOR LLC                                                  SOUTH, SUITE 1475                                                                 HOUSTON          TX      77042
ENERGY PROPERTIES LIMITED LP                                          PO BOX 51408                                                                      CASPER           WY      82605
ENERGY SECURITY SERVICES LLC                                          1120 CEDAR CANYON                                                                 CHANDLER         OK      74834
ENERGY TUBULARS INC                                                   3010 OLD RANCH PKWYSTE 400                                                        SEAL BEACH       CA      90740
ENERGY TUBULARS INC                                                   3010 Old Ranch Pkwy Ste 400                                                       Seal Beach       CA      90740
ENERGY VENTURES GROUP LLC                                             PO BOX 5432                                                                       EDMOND           OK      73083
ENERLEX INC                                                           18452 E 111TH ST                                                                  BROKEN ARROW     OK      74011-9408
ENERSAFE INC                                                          PO BOX 677797                                                                     DALLAS           TX      75267-7797

ENERSIGHT CORP                                                        30 SPRINGBOROUGH BLVD SW STE 320                                                  CALGARY          AB      T3H 0N9      CANADA
ENERSIGHT USA INC                                                     734 PLAINWOOD DR                                                                  HOUSTON          TX      77079-4209
ENERSOURCE ROYALTY CORP                                               PO BOX 27888                                                                      SCOTTSDALE       AZ      85255
ENERVEST ENERGY INSTITUTIONAL                                         1001 FANNIN STE 800                                                               HOUSTON          TX      77002
ENERVEST LTD                                                          1001 Fannin                                                                       Houston          TX      77002
ENERVEST OPERATING LLC                                                300 CAPITOL ST STE 200                                                            CHARLESTON       WV      25301-1794
ENETH R BANKS REVOC TR                                                107 RANDOLPH CT                                                                   STILLWATER       OK      74075-3841
ENGLAND RESOURCES CP                                                  PO BOX 280                                                                        LARAMIE          WY      82073
ENID AUSTIN                                                           6245 SW 11TH AVE                                                                  CALDWELL         ID      83607
ENID IRON & METAL INC                                                 1202 NORTH 30TH STREET                                                            ENID             OK      73703
ENLINK MIDSTREAM OPERATING LP                                         PO BOX 202941                                                                     DALLAS           TX      75320-2941
EnLink Oklahoma Gas Processing, LP                                    1722 Routh Street, Suite 1300                                                     Dallas           TX      75201
ENOGEX EXPLORATION CORP.                                              PO BOX 24300                                                                      OKLAHOMA CITY    OK      73124-0300
ENOLA OCONNOR                                                         17896 E RED HAWK ROAD                                                             OWASSO           OK      74055
ENRIQUE DURAN, JR                                                     PO Box 2640                                                                       MIDLAND          TX      79702
ENTERPRISE ENERGY CO                                                  1021 NW GRAND BLVD                                                                OKLAHOMA CITY    OK      73118-6039
ENTERPRISE FM TRUST                                                   PO BOX 800089                                                                     KANSAS CITY      MO      64180-0089
ENTEX LAND SERVICES LLC                                               PO BOX 8911                                                                       ENNIS            TX      75120
ENTZ OILFIELD CHEMICALS, INC                                          1212 S BROADWAY AVE                                                               HINTON           OK      73047
ENVENTURE GLOBAL TECHNOLOGY INC                                       15995 N BARKERS LNDG STE 350                                                      HOUSTON          TX      77079
ENVIROCLEAN SERVICES LLC                                              PO BOX 721090                                                                     OKLAHOMA CITY    OK      73172-1090
ENVIRONET INC                                                         426351 E 1167 RD                                                                  CHECOTAH         OK      74426
ENVIRONMENTAL MANAGEMENT INC                                          PO BOX 700                                                                        GUTHRIE          OK      73044
ENVIRONMENTAL PROPERTIES                                              9400 WARD PKWY                                                                    KANSAS CITY      MO      64114-3319

ENVIRONMENTAL RESOURCES MANAGEMENT                                    PO BOX 2701                                                                       PHILIDELPHIA     PA      19178-2701

ENVIRONMENTAL SOLUTIONS SPECIALISTS                                   PO BOX 720796                                                                     OKLAHOMA CITY    OK      73172

ENVIRONMENTAL SYSTEMS RESEARCH INST                                   FILE 54630                                                                        LOS ANGELES      CA      90074-4630
ENVIRONMENTAL TESTING INC                                             4619 N SANTA FE AVE                                                               OKLAHOMA CITY    OK      73118-7905
EOG RESOURCES INC                                                     PO BOX 4362                                                                       HOUSTON          TX      77210-4362
EPA Region 6 Main Office                                              1445 Ross Avenue                               Suite 1200                         Dallas           TX      75202
EPI MATERIALS TESTING GROUP                                           1146 RAYFORD RD                                                                   SPRING           TX      77386-2621
EPIC LIFT SYSTEMS LLC                                                 14485 Highway 377 South                                                           Fort Worth       TX      76126
EPIQ SYSTEMS ACQUISITION INC          ATTN DEPT 3135                                                                                                    DALLAS           TX      75312
EPISCOPAL ROYALTY CO                                                  924 N ROBINSON                                                                    OKLAHOMA CITY    OK      73102-5643

EPPERSON PETROLEUM PROPERTIES, LLC                                    PO Box 926                                                                        CHICKASHA        OK      73023
EPUMPS INC                                                            PO BOX 691990                                                                     TULSA            OK      74169-1990
Equal Energy U.S., Inc.               c/o Durbin Larimore & Bialick   Attn: Michael L Darrah                         920 N Harvey Ave                   Oklahoma City    OK      73102
Equal Energy U.S., Inc.                                               15 West 6th St                                 #1100                              Tulsa            OK      74119
Equal Energy U.S., Inc.                                               15th W 6th St                                  Ste. 1100                          Tulsa            OK      74119
EQUAL ENERGY US INC                                                   15 W 6TH ST STE 1200                                                              TULSA            OK      74119
Equal Energy US Inc.                  c/o Durbin Larimore & Bialick   Attn: E. Edd Pritchett Jr.                     920 N Harvey Ave                   Oklahoma City    OK      73102
Equal Energy US Inc.                  c/o The Corporation Company     1833 S. Morgan Rd.                                                                Oklahoma City    OK      73128
Equal Energy US Inc.                  c/o The Doyle Firm PC           Attn: William H Doyle                          1313 E Osborn Rd   Ste. 220        Phoenix          AZ      85014
Equal Energy US Inc.
Equal Energy US Inc.                                                  15 West 6th St                                 Ste. 1100                          Tulsa            OK      74119


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EQUITABLE ROYALTY CORPORATION                                          PO BOX 2356                                                                            OKLAHOMA CITY   OK      73101-2356
ER MIDCON LLC                                                          1050 17TH STREET SUITE 2500                                                            DENVER          CO      80265
ERB INVESTMENTS LLC                                                    5724 NW 135TH ST                                                                       OKLAHOMA CITY   OK      73142
ERDOL INC                                                              317 NW 148TH TER                                                                       EDMOND          OK      73013-2401
ERIC & TIFFANY EBENSPERGER JTWROS                                      W2168 TOWN CENTER RD                                                                   JUDA            WI      53550
ERIC ACTON                                                             22180 N CEDAR RIDGE RD                                                                 EDMOND          OK      73025
ERIC B HOLLEMAN AGENCY                                                 PO BOX 3499                                                                            TULSA           OK      74101-3499
ERIC BARNARD                                                           7600 MEADOW LAKE DR                                                                    YUKON           OK      73099
ERIC BARNES                                                            12821 DUNN CREEK RD                                                                    JACKSONVILLE    FL      32218
ERIC BLAKLEY                                                           5868 A-1 WESTHEIMER                                                                    HOUSTON         TX      77057
ERIC CALDWELL                                                          2202 HILL HAVEN RD                                                                     SOLVANG         CA      93463
ERIC CANTRELL                                                          808 Santa Fe                                                                           Alva            OK      73717
ERIC COLEMAN                                                           27227 STATE HIGHWAY 50                                                                 MOORELAND       OK      73852
ERIC COLEMAN                                                           315 SPRUCE PARK DR                                                                     WOODWARD        OK      73801-5946
ERIC DAVIS                                                             8606 E 56TH ST                                                                         RIPLEY          OK      74062-6260
ERIC DEVUYST                                                           42251 S 33700 RD                                                                       MORRISON        OK      73061
ERIC ELROD                                                             905 N WREN DR                                                                          ROGERS          AR      72756
ERIC GERMAN                                                            PO Box 2640                                                                            MIDLAND         TX      79702
                                                                                                                     9211 Lake Hefner
Eric I. Spiegel                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Eric I. Spiegel                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Eric I. Spiegel                                                        331325 E. Captain Dr                                                                   Wellston        OK      74881
ERIC J LINDAHL                                                         13043 BOHEME DR                                                                        HOUSTON         TX      77079
ERIC KELSO                                                             113 SHARON DR                                                                          ROGERSVILLE     AL      35652
ERIC REDDOUT                                                           106 E 1ST ST                                                                           DOUGLASS        KS      67039-9319
ERIC RODGERS                                                           PO BOX 324                                                                             TRYON           OK      74875-0324
ERIC SKOUBY                                                            3824 RITCHIE                                                                           ENID            OK      73073
ERIC STABINSKI                                                         805 NW 40TH ST                                                                         OKLAHOMA CITY   OK      73118-6816
                                                                                                                     9211 Lake Hefner
Eric Strelow                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Eric Strelow                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Eric Strelow                                                           4819 S. 162nd East Ave                                                                 Tulsa           OK      74134
ERIC TANNER                                                            213 CHURCH ST SE                                                                       LEESBURG        VA      20175
ERIC TODD LONG                                                         191 S 317TH WEST AVENUE                                                                MANNFORD        OK      74044
ERIC VAN METER                                                         8569 E LONG AVE                                                                        CENTENNIAL      CO      80112
                                                                                                                     9211 Lake Hefner
Eric W. Bivens                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Eric W. Bivens                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Eric W. Bivens                                                         17867 E. 104th Place N.                                                                Owasso          OK      74055
ERIC WISEMAN                                                           1018 WHITE SANDS RD                                                                    KAY             TX      77450-3733
ERIC WITTY                                                             230 SWINGING BRIDGE RD                                                                 BEEBE           AR      72012
                                                                                                                     9211 Lake Hefner
Eric Moore                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Eric Moore                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Eric Moore                                                             3736 East Seward Rd                                                                    Guthrie         OK      73034
                                                                                                                     9211 Lake Hefner
Eric Williams                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Eric Williams                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Eric Williams                                                          14399 S Broadway                                                                       Edmond          OK      73034
ERICA PERIERA                                                          2812 W 18TH AVE                                                                        STILLWATER      OK      74074
ERICA SYLVIA WALDMANN                                                  179 RETRIEVER LANE                                                                     BUNKER HILL     WV      25431

ERICA TENI                                                             444 NORTH GILA SPRINGS BLVD, #1065                                                     CHANDLER        AZ      85226
ERICA WALDMANN                                                         179 RETREIVER LN                                                                       BUNKER HILL     WV      25413


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ERICK FLOWBACK SERVICES LLC                                              PO BOX 94844                                                                           OKLAHOMA CITY     OK    73143-4844
ERICK LYNN EGGERS                                                        7016 SOUTH PELICAN PLACE                                                               STILLWATER        OK    74074
                                                                                                                       9211 Lake Hefner
Erick Ivery                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Erick Ivery                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Erick Ivery                                                              1704 NE 11st St                                                                        Oklahoma City     OK    73117
ERIK LICCIONI                                                            1020 E CAMP STREET                                                                     LAGRANGE          TX    78945
ERIK STABINSKI                                                           805 NW 40TH ST                                                                         OKLAHOMA CITY     OK    73118-6816
ERIKA HOUSE                                                              981 N. ACADIA                                                                          WICHITA           KS    67212
ERIN ADAMSON                                                             1905 E 1ST APT B                                                                       LONG BEACH        CA    90814
ERIN BRADLEY                                                             4519 E CHUCKWALLA CYN                                                                  PHOENIZ           AZ    85044-6055
ERIN COLLEEN PRATT                                                       2831 SW MEADOW CLIFF DRIVE                                                             OKLAHOMA CITY     OK    73159-4615
ERIN CROOK                                                               508 TREVETHAN AVE                                                                      SANTA CRUZ        CA    95062-1208
ERIN D PASON                                                             7520 NW 130TH STREET                                                                   OKLAHOMA CITY     OK    73142-2569
ERIN DAVES                                                               6526 S 109TH E AVE                                                                     TULSA             OK    74133
ERIN DWAN MACINTOSH                                                      4221 OLYMPIC WAY                                                                       SALT LAKE CITY    UT    84124
ERIN LAIRD                                                               2620 FLOWER FIELDS WAY                                                                 CARLSBAD          CA    92010
ERIN MICHELLE HARVEY                                                     1930 WEST 4TH STREET                                                                   TUSLA             OK    74107
ERIN NOBLE                                                               604 PINE AVE.                                                                          BREA              CA    92821
ERIN OROURKE                                                             7017 E 124TH TER                                                                       GRANDVIEW         MO    64030
ERIN SCHRENK                                                             1730 BONAIR RD                                                                         VISTA             CA    92084
ERIN TODD MCGREW                                                         331 HUNTERS HILL DR                                                                    SAN MARCOS        TX    78666
                                                                                                                       9211 Lake Hefner
Erin Burt                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Erin Burt                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Erin Burt                                                                1405 Morland Ave                                                                       Norman            OK    73071
                                                                                                                       9211 Lake Hefner
Erin Hays                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Erin Hays                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Erin Hays                                                                3208 N. Vermont Ave.                                                                   Oklahoma City     OK    73112
ERMA MILSAP                                                              2314 ARRIBA CT                                                                         GRAND JUNCTION    CO    81507
ERMA SWEENEY                                                             2935 L. CROSLEY DRIVE WEST                                                             WEST PALM BEACH   FL    67213
                                                                                                                       9211 Lake Hefner
Erma Taylor                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Erma Taylor                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Erma Taylor                                                              4115 N. Frankfort Ave                                                                  Tulsa             OK    74106
ERMA WELBORN                                                             247 HARRIS RD                                                                          KANSAS CITY       MO    64116
ERNEST BILLINGS                                                          39608 N 2ND ST                                                                         PHOENIX           AZ    85086

ERNEST C SNOOK AND JEANNE H SNOOK F                                      149 SOUTHPORT LN UNIT 22                                                               KIMBERLING        MO    65686-9108
ERNEST E & JUNE A SHYROCK REV TR                                         18500 CR 240                                                                           MORRISON          OK    73061
ERNEST F GORATH 1997 REV TRUST                                           23600 CR 140                                                                           PERRY             OK    73077
                                                                                                                       9211 Lake Hefner
Ernest H. Ozeretny Jr.                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Ernest H. Ozeretny Jr.                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Ernest H. Ozeretny Jr.                                                   1825 NW 36th St                                                                        Oklahoma City     OK    73118
ERNEST HODNETT REV TRUST                                                 106 COACHMAN PL                                                                        HENDERSONVILLE    TX    37075
ERNEST HUMAN                                                             2306 W. 40TH STREET                                                                    STILLWATER        OK    74074
ERNEST J CARPENTER                                                       PO BOX 1253                                                                            EDMOND            OK    73083
ERNEST JR AND TAMARA L RHYAN          TRUSTEES                                                                                                                  ABILENE           TX    79605-4925
ERNEST REAVES                                                            193 E US HWY 212                                                                       BROADUS           MT    59317
ERNEST TROGDON                                                           920 S POST RD                                                                          MIDWEST CITY      OK    73130
                                                                                                                       9211 Lake Hefner
Ernest Mora                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120


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                                      c/o Laminack, Pirtle & Martines,
Ernest Mora                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Ernest Mora                                                              305 N. Oklahoma St                                                                     Carney            OK      74832
                                                                                                                       9211 Lake Hefner
Ernest Wallace Jr.                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ernest Wallace Jr.                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Ernest Wallace Jr.                                                       939 East Drive                                                                         Oklahoma City     OK      73105
ERNST & YOUNG LLP                                                        3712 SOLUTIONS CENTER                                                                  CHICAGO           IL      60677-3007
ERNST & YOUNG PRODUCT SALES LLC                                          PO BOX 1450                                                                            MINNEAPOLIS       MN      55485-1450
ERNST LOOSEN                                                             620 N PROUTY                                                                           WATONGA           OK      73772
ERNST W PICKENS LVG TRUSTDTD JULY 2                                      PO BOX 2678                                                                            STILLWATER        OK      74076
ERRET STORY                                                              827 24TH AVE                                                                           SEATTLE           WA      98122-4863
                                                                                                                       9211 Lake Hefner
Errik Lemler                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Errik Lemler                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Errik Lemler                                                             8433 E. 64th Pl                                                                        Tulsa             OK      74133
ERROL HUCKSTEP                                                           1600 ROUND POLE DRIVE                                                                  THREE FORKS       MT      59752
ERVIN BUSHBY                                                             2409 E LYNNWOOD DR                                                                     LONGVIEW          WA      98632-5769
ERVIN L KNOWLES                                                          2113 QUEENSBURY ROAD                                                                   MOORE             OK      73160
ERVIN ROBINSON                                                           12910 N 83RD EAST AVE                                                                  COLLINSVILLE      OK      74021-5003
ERWIN FRESE                                                              7641 E 46TH PL                                                                         TULSA             OK      74145-6307
ERWIN KNOTT                                                              19101 W 19TH                                                                           ORLANDO           OK      73073
ESHELMAN LAND & CATTLE CO LTD                                            800 N SHORELINE BLVD, SUITE 2550                                                       CORPUS CHRISTI    TX      78401
ESLA WILLIAMS                                                            1309 WEST POINT DR                                                                     BAKERSFIELD       CA      93305
ESPERANZA RESOURCES CORP                                                 PO BOX 702784                                                                          TULSA             OK      74170
ESPERANZA WAYNE                                                          400 N CAMDEN DR                                                                        BEVERLY HILLS     CA      90210
ESRI                                                                     FILE 54630                                                                             LOS ANGELES       CA      90074-4630
ESSI CORPORATION                                                         200 CUMMINGS RD                                                                        BROUSSARD         LA      70518
ESSIE DOYLE                                                              2176 S 76TH EAST PL                                                                    TULSA             OK      74129-2436
EST HOWARD LEROY HUNT                                                    14915 W 44TH ST                                                                        MULHALL           OK      73063
EST LAWRENCE ALLEN GRAY DECD                                             1208 N DOUGLAS DR                                                                      CLAREMORE         OK      74017
EST OF ALLEN W HAMILL JR                                                 5 VIRGINIA AVE                                                                         RICHMOND          VA      23226-1728
ESTACADO MINERALS LLC                                                    8100 LOMO ALTO DR STE 205                                                              DALLAS            TX      75225-6545
ESTATE OF BARBARA W GRIFFITTS                                            6712 COLUMBINE WAY                                                                     PLANO             TX      75093
ESTATE OF R H POWERS DECD                                                5614 S TRENTON                                                                         TULSA             OK      74105
ESTATE OF RAY LEE WILSON                                                 14525 LAKE RD DR                                                                       CRESCENT          OK      73089
ESTATE OF ROSE PEARL HOPPER                                              1314 W GULFPORT ST                                                                     BROKEN ARROW      OK      74011
ESTATE OF ROY OTIS PAPPAN                                                475 ALAPAHA RIVER DRIVE                                                                ALAPAHA           GA      31622
ESTATE OF SCOTT MICHAEL GRAY DECD                                        1208 N DOUGLAS DR                                                                      CLAREMORE         OK      74017
ESTATE OF STEPHEN NEAL GRAY DECD                                         1208 N DOUGLAS DR                                                                      CLAREMORE         OK      74017
ESTATE OF SYBIL E AARONSON - DECEAS                                      3349 BOGUE ROAD                                                                        YUBA CITY         CA      95993-9363
ESTATE OF TED COLBERT DECEASED                                           6211 N MILLER BLVD                                                                     OKLAHOMA CITY     OK      73112
ESTATE OF TIMOTHY BUCKMASTER                                             104 RAINBOW DR                                                                         LIVINGSTON        TX      77399
ESTATE OF WILLIAM THOMAS SAYLOR                                          300 POST LANE                                                                          BURLESON          TX      76028
ESTATE VITLE HOWARD HONEYMON                                             41 SWEETLEAF CT                                                                        THE WOODLANDS     TX      77381
ESTEL HUSTED                                                             4520 MORRISVILLE RD                                                                    BEALETON          VA      22712-7364
ESTELLA FERN LYNCH                                                       24850 N MERIDIAN                                                                       EDMOND            OK      73025
ESTELLA KRAMER                                                           807 S LOWRY ST APT 116                                                                 STILLWATER        OK      74074
ESTELLE AINSWORTH                                                        PO BOX 12176                                                                           OKLAHOMA CITY     OK      73157
ESTER CLIFTON                                                            473 BLACK THORNE                                                                       LONG BEACH        CA      90808
ESTERO ENERGY LLC                                                        PO BOX 734                                                                             ESTERO            FL      33929-0734
ESTERO OIL & GAS COMPANY                                                 8218 N LOMA LN                                                                         PARADISE VALLEY   AZ      85253
ESTHER ARNOLD                                                            1018 N WEIGLE                                                                          WATONGA           OK      73772
ESTHER BLISS RAINEY LVG TRUST                                            4801 POCAHONTAS AVE                                                                    RICHMOND          VA      23226-1722
ESTHER BLISS RAINEY LVG TRUST                                            902 MALVERN AVE                                                                        TOWSON            MD      21204
ESTHER BLOMGREN                                                          780 CALAIS CT                                                                          BOURBONNAIS       IL      60914
ESTHER BRADFIELD                                                         325 W GRANGER AVE                                                                      MODESTO           CA      95350-4411


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ESTHER CAVANAUGH                                                 11019 SANDTRAP DRIVE                                                               PORT RICHEY     FL      34668
ESTHER HARRIS                                                    PO BOX 21354                                                                       OKLAHOMA CITY   OK      73156-1354
ESTHER HEDGPETH                                                  5502 SUNFIELD AVE                                                                  LAKEWOOD        CA      90712
ESTHER NOLA HARRIS TRUST                                         PO BOX 258850                                                                      OKLAHOMA CITY   OK      73125
ESTHER REED                                                      9530 W 54TH PL                                                                     ARVADA          CO      80002
ESTHER SAULS                                                     3678 KILLINGTON CT                                                                 COLUMBUS        OH      43221-5218
ESTHER SHARP                                                     1071 E COUNTY RD 64                                                                MULHALL         OK      73063-9755
ESTHER SMITH                          C/O BILLY JO SMITH                                                                                            DALLAS          TX      75233
ESTHER SPARKMAN                                                  PO BOX 304                                                                         AURORA          MO      65605
ESTHER VAN HOOSER                                                20101 KNOB HILL                                                                    PERRY           OK      73077

ESTUDIO BECCAR VARELA                                            TUCUMAN 1                                                                                                               ARGENTINA
ET DT ROYALTY PARTNERS LTD                                       4309 VERSAILLES AVE                                                                DALLAS          TX      75205
ETA-FLAG ROYALTY TRUST                                           PO BOX 40909                                                                       AUSTIN          TX      78704
ET-DT ROYALTY PARTNERS LTD                                       4925 GREENVILLE AVE., SUITE 900                                                    DALLAS          TX      75206

ETECH ENVIRONMENTAL & SAFETY SOLUTI                              PO BOX 8469                                                                        MIDLAND         TX      79708-8469
ETHEL ABEL                                                       RR 1 BOX 110                                                                       BAKER           OK      73950-9609
                                                                                                               9211 Lake Hefner
Ethel Chisum                          c/o Atkins & Markoff       Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104        Oklahoma City   OK      73120
Ethel Chisum                          c/o Girardi Keese          Attn: Thomas V. Girardi                       1126 Wilshire Blvd                   Los Angeles     CA      90017
Ethel Chisum                                                     1235 E Broadway                                                                    Cushing         OK      74023
ETHEL DREESSEN                                                   14038 GARD AVE                                                                     NORWALK         CA      90650
ETHEL GANGEMI                                                    123 1/2 E CHESTNUT                                                                 JUNCTION CITY   KS      66441
ETHEL GILKERSON                                                  324 W IRVING ST                                                                    BLUE SPRINGS    NE      68318-3035
ETHEL H. SPRADLIN REV TRUST                                      504 ELM                                                                            Perry           OK      73077
ETHEL HEPPLER                                                    321 CEDAR ST                                                                       PERRY           OK      73077
ETHEL HINES                                                      3604 LABADIE DR                                                                    RICHLAND        TX      76118
ETHEL STOKER                                                     PO BOX 1456                                                                        ROSWELL         NM      88202-1456
ETHEL TRINKLE WERBLO TRUST                                       PO BOX 148                                                                         RALSTON         OK      74650
ETHELLA SMITH ESTATE DECD                                        805 N 10TH ST                                                                      PERRY           OK      73077
ETI - OILAB LLC                                                  4619 N SANTE FE AVE                                                                OKLAHOMA CITY   OK      73118
ETTA MAE AULICK                                                  3366 E MILLWOOD DR                                                                 OZARK           MO      65807
ETTA STEWARD                                                     310 W ELLENDALE AVE APT 103                                                        DALLAS          OR      97338-1554
EUBANK CHEMICALS INC                                             PO BOX 788                                                                         CUSHING         OK      74023
EUBANK OPERATING                                                 PO BOX 788                                                                         CUSHING         OK      74023
EUFAULA ENERGY LLC                                               12901 N WESTERN AVENUE                                                             OKLAHOMA CITY   OK      73114
EUGENE & JOYCE COOPER LIV TR                                     PO BOX 43                                                                          MARSHALL        OK      73056
EUGENE AND CAROLYN J GRIMES HW JT                                PO BOX 171                                                                         RIPLEY          OK      74062-0171
EUGENE AND NANCY C REDING                                        5227 KIRKWOOD PL N                                                                 SEATTLE         WA      98103-6239
EUGENE BLACKBURN                                                 PO BOX 95                                                                          HALLETT         OK      74034
EUGENE C MULLENDORE TRUST A&B                                    7645 E 63RD ST STE 201                                                             TULSA           OK      74133-1256
EUGENE CHOATE                                                    2905 CANDLESTICK                                                                   ENID            OK      73701
EUGENE DECD                                                      915 CARL ALLEN ST, ROOM 10                                                         MOUNT VERNON    MO      65712
EUGENE FITZPATRICK                                               PO BOX 842                                                                         CALIMESA        CA      92320

EUGENE GATES AND DORIS D GATES HW J                              PO BOX 367                                                                         RIPLEY          OK      74062-0367
EUGENE GRANT SHARP III                                           2654 ROSEWOOD CIR                                                                  ENID            OK      73703
EUGENE GRISWOLD                                                  8620 E 30TH PL                                                                     TULSA           OK      74129-6663
EUGENE HARTING                                                   7314 E LAKEVIEW RD                                                                 STILLWATER      OK      74075
EUGENE HENSLEY                                                   10900 TELEPHONE RD                                                                 VENTURA         CA      93004
EUGENE HOYT                                                      35933 EW 1160                                                                      SEMINOLE        OK      74868
EUGENE J MCGARVEY JR REV TR                                      922 BELLEVUE PL                                                                    KOKOMO          IN      46901
EUGENE KILE                                                      PO BOX 1909                                                                        WACO            TX      76703-1909
EUGENE POWERS                                                    5222 W MCELROY RD                                                                  STILLWATER      OK      74075
EUGENE REDING                                                    5227 KIRKWOOD PL N                                                                 SEATTLE         WA      98103-6239
EUGENE RILEY                                                     PO BOX 957                                                                         MANNFORD        OK      74044-0957
EUGENE WATTS                                                     617 EAST 4TH AVE                                                                   RIPLEY          OK      74062



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                  CreditorName              CreditorNoticeName                             Address1                         Address2                 Address3             City   State       Zip      Country
                                                                                                                       9211 Lake Hefner
Eugene Wallace III                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Eugene Wallace III                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Eugene Wallace III                                                       1606 Bishop L Williams Dr                                                              Oklahoma City    OK      73111
                                                                                                                       9211 Lake Hefner
Eugenia Glisson                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Eugenia Glisson                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Eugenia Glisson                                                          14950 NE 1st St                                                                        Choctaw          OK      73020
EUGENIA DONOVAN                                                          1923 E JOYCE BLVD APT C114                                                             FAYETTEVILLE     AR      72703-5248
EUGENIA O'KORN                                                           PO Box 1217                                                                            TIBURON          CA      94920
                                                                                                                       9211 Lake Hefner
Eugenio Villanuevo                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Eugenio Villanuevo                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Eugenio Villanuevo                                                       8515 E. 171st St South                                                                 Bixby            OK      74008
EULA MAE LINDSEY                                                         2346 CO RD 1590                                                                        LINDSAY          OK      73052
EULA RIDLEY                                                              1208 LIMESTONE PL                                                                      YUKON            OK      73099

EULONDA STUFFLEBEAM MOON REV LIV TR                                      5605 W GRANDSTAFF                                                                      CUSHING          OK      74023-5688
EUNICE L BEIER                                                           805 PINE                                                                               LINN             KS      66953
EUREKA LOGGING COMPANY INC                                               13308 VANDIVER DRIVE                                                                   OKLAHOMA CITY    OK      73142-4314
EUREKA WATER COMPANY                                                     PO BOX 26730                                                                           OKLAHOMA CITY    OK      73126-0730
EURO PETROLEUM CORP                                                      525 S MAIN ST STE 1111                                                                 TULSA            OK      74103-4512
EUTEVA WIDENER                                                           301 N WALKER, #12106                                                                   OKLAHOMA CITY    OK      73102
EV PROPERTIES LP                                                         PO BOX 4346                                                                            HOUSTON          TX      77210-4346
EVA BEVER                                                                1739 OAK DR                                                                            EUGENE           OR      97404
EVA HARRIS                                                               PO BOX 322                                                                             SAND SPRINGS     OK      74063
EVA HEFNER TRUST #2                                                      PO Box 5250                                                                            EDMOND           OK      73083-5250
EVA LEE FREEMAN LIVING TRUST                                             10680 FM 1878                                                                          NACOGDOCHES      TX      75961-1089
EVA LINSENMEYER                                                          PO BOX 1025                                                                            STILLWATER       OK      74076-1025
EVA RODMAN RICHEY                                                        770565 S 3370 RD                                                                       TRYON            OK      74875-6122
EVA SHINN                                                                1408 SHELBY DR                                                                         FAIRFIELD        CA      94534-4347
EVA THOMPSON                                                             600 CHEROKEE                                                                           FAYETTEVILLE     TN      37334
                                                                                                                       9211 Lake Hefner
Eva Lewis                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Eva Lewis                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Eva Lewis                                                                16200 Hogback Rd                                                                       Luther           OK      73054
                                                                         601 SOUTH PIONEER WAY SUITE F BOX
EVALEE MEYERS                                                            228                                                                                    MOSES LAKE       WA      98837-4801
EVAN KIRK                                                                85 CHELSEA AVE                                                                         NAPA             CA      94558-5736
EVAN ROY BLACK                                                           13 SUMMIT CIRCLE                                                                       STILLWATER       OK      74075
EVANGELICAL LUTHERAN CHRIST                                              1301 N 7TH ST                                                                          PERRY            OK      73077
EVANGELICAL ST PAULUS GEMEINDE                                           PO BOX 156                                                                             MARSHALL         OK      73056
EVANGELINE HAMILTON                                                      1432 JOHNSON DR                                                                        CUSHING          OK      74023-5004
EVANS ENTERPRISES INC TULSA                                              2002 SOUTHWEST BLVD                                                                    TULSA            OK      74107-1718
                                                                                                                       9211 Lake Hefner
Evans Lee Lavender                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Evans Lee Lavender                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Evans Lee Lavender                                                       10150 Stone Gate Way                                                                   Arcadia          OK      73007
EVANS OIL AND GAS LLC                                                    BOX 175 W9339 OFFERS LAKE ROAD                                                         BARRONETT        WI      54813
EVE APPLEBY                                                              3000 MERIWEATHER RD                                                                    EDMOND           OK      73003
EVE MERTENA                                                              PO BOX 1904                                                                            YAKIMA           WA      98907
EVELYN A CLODFELTER LIVING TRUST                                         4428 SANDHILL DR                                                                       ENID             OK      73703
EVELYN ANDREW                                                            3709 FAIRFIELD LN                                                                      PUEBLO           CO      81005-3249
EVELYN BUCKLES                                                           PO BOX 154                                                                             RIPLEY           OK      74062-0154


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              CreditorName               CreditorNoticeName                         Address1                             Address2                 Address3            City   State       Zip      Country
EVELYN CRENSHAW                                                       9716 W 128TH ST                                                                        COYLE           OK      73027-4200
EVELYN DAVIS                                                          33349 W HWY 33                                                                         BRISTOW         OK      74010
EVELYN E SCHWANDT TRUST                                               470 E MAGNOLIA BLVD APT B                                                              BURBANK         CA      91501
EVELYN ENGELKING                                                      5200 N LONGWOOD RD                                                                     NEWKIRK         OK      74647
EVELYN GOMEZ                                                          3757 GARDEN NORTH DRIVE                                                                LAS VEGAS       NV      89121
EVELYN JOHNSON                                                        1802 WALL ST, APT 112                                                                  BELLEVUE        NE      68005
EVELYN LONG                                                           6 GREY GULL RD                                                                         JAMESTOWN       RI      02835-2808
EVELYN M AND GARY L CRENSHAW                                          9716 W 128TH ST                                                                        COYLE           OK      73027-4200
EVELYN OTTO                                                           3808 W WOODLAND TRAILS AVE                                                             STILLWATER      OK      74074
                                                                                                                    9211 Lake Hefner
Evelyn Pritchett                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Evelyn Pritchett                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Evelyn Pritchett                                                      7327 S. 69th East Pl.                                                                  Tulsa           OK      74133
EVELYN REISDORPH                                                      6200 NORMAN ROAD                                                                       OKLAHOMA CITY   OK      73122
EVELYN RODERICK                                                       2607 SOUTHRIDGE EST                                                                    FT SMITH        AR      72916-8082
EVELYN S MCMASTER                                                     10010 SAN MARCOS CT                                                                    LAS CRUCES      NM      88007
EVELYN SMITH                                                          8017 S COTTONWOOD RD                                                                   COYLE           OK      73027
EVELYN SUE DOWELL                                                     109 E PINE COURT                                                                       SKIATOOK        OK      74070
EVELYN WELCH                                                          8550 E CR 76                                                                           GUTHRIE         OK      73044
                                                                                                                    9211 Lake Hefner
Evelyn Colbert                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Evelyn Colbert                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Evelyn Colbert                                                        314 S Park                                                                             Guthrie         OK      73034
                                                                                                                    9211 Lake Hefner
Evelyn Nephew                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Evelyn Nephew                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Evelyn Nephew                                                         524 East Perkins                                                                       Guthrie         OK      73034
                                                                                                                    9211 Lake Hefner
Evelyn Newton                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Evelyn Newton                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Evelyn Newton                                                         5201 Washington Blvd                                                                   Spencer         OK      73084
EVENSON ENERGY LLC                                                    PO BOX 14613                                                                           OKLAHOMA CITY   OK      73113-0613
EVENTFUL CONFERENCES LLC                                              318S CLINTON ST SUITE 300                                                              SYRACUSE        NY      13202
EVENTURES INC                                                         PO BOX 76559                                                                           OKLAHOMA CITY   OK      73147
EVERCORE GROUP LLC                                                    55 EAST 52ND ST                                                                        NEW YORK        NY      10055
EVERETT CARMAN                                                        2806 CONCORD LANE                                                                      WOODWARD        OK      73801-6402
EVERETT CUTTER                                                        10624 S 186TH ST                                                                       DOUGLAS         OK      73733
EVERETT EASLEY                                                        215 S TERRILL DR                                                                       STILLWATER      OK      74074
EVERETT EVANS                                                         6034 MANZANAR AVE                                                                      PICO RIVERA     CA      90660
EVERETT FAMILY REVOCABLE TRUST                                        5 KIM COURT                                                                            MANSFIELD       TX      76063-4862
EVERETT FILLEY                                                        518 ADMIRAL BENBOW LN                                                                  MCQUEENEY       TX      78123-3402
EVERETT GUNKEL                                                        8115 S COYLE RD                                                                        COYLE           OK      73027-5302
EVERETT L & RUTH A GUNKEL REV TR                                      8115 S COYLE RD                                                                        COYLE           OK      73027
EVERETT L THOMAS                                                      80 W MAIN ST                                                                           BOONEVILLE      AR      72927
EVERETT LAME                                                          PO BOX 109                                                                             AUGUSTA         MT      59410-0109
EVERETT LIGHTY                                                        PO BOX 267                                                                             PERRY           OK      73077
EVERETT SQUIRES ESTATE                                                RR S, BOX 14                                                                           TALOGA          OK      73667
EVERETT STOUT                                                         23901 CR 190                                                                           PERRY           OK      73077
EVERT MALLATT                                                         326 S EMPORIA ST                                                                       EL DORADO       KS      67042
                                                                                                                    9211 Lake Hefner
Evert Rossiter                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Evert Rossiter                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Evert Rossiter                                                        816 E 6th St                                                                           Cushing         OK      74023
EVGS PROPERTY INC                                                     5313 N HUDSON AVE                                                                      OKLAHOMA CITY   OK      73118


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EVO INCORPORTATED EVO DOWNHOLE VIDE                                      15720 PARK ROW, SUITE 500                                                              HOUSTON          TX      77084
EVOLUTION ROYALTIES LLC                                                  2520 NW 118TH ST                                                                       OKLAHOMA CITY    OK      73120
                                                                         4 WATERWAY SQUARE PLACE, SUITE
EVOLUTION WELL SERVICES                                                  900                                                                                    THE WOODLANDS    TX      77380
EWING TRENCHING SERVICE INC                                              10901 W LONGHORN TRL                                                                   DRUMMOND         OK      73735
EXACT ENGINEERING INC                                                    SUITE 310 20 EAST 5th STREET                                                           TULSA            OK      74103
EXCEED OILFIELD EQUIPMENT INC                                            17314 STATE HWY 249 STE 320                                                            HOUSTON          TX      77064
EXCEL PRODUCTS                                                           PO BOX 856                                                                             WOODWARD         OK      73802
EXCEL STIMULATION LLC                                                    PO BOX 160                                                                             CLEO SPRINGS     OK      73729-0160
EXCLAIMER LTD                                                            445 PARK AVE FL 9                                                                      NEW YORK         NY      10022-8606
EXECUJET AUSTRALIA                                                       PO BOX 205                                                                                                                   AUSTRALIA
EXGO LTD                                                                 PO BOX 652                                                                             OKLAHOMA CITY    OK      73101
EXILE RESOURCES INC                                                      PO BOX 485                                                                             PIEDMONT         OK      73078-0485
EXLP OPERATING LLC                                                       PO BOX 201160                                                                          DALLAS           TX      75320-1160
EXOK INC                                                                 6410 N SANTA FE AVE STE B                                                              OKLAHOMA CITY    OK      73116
EXOTIC OIL & GAS LLC                                                     1 INDIAN SPRINGS RD                                                                    INDIANA          PA      15701-3634
EXPERT REPAIR LLC                                                        PO BOX 382                                                                             CHOCTAW          OK      73020
EXPRESS ENERGY SERVICES OPERATING                                        9800 RICHMOND AVE STE 700                                                              HOUSTON          TX      77042

EXPRESS ENERGY SERVICES OPERATING L                                      PO BOX 843971                                                                          DALLAS           TX      75284
EXPRESS SERVICES INC                                                     PO BOX 269011                                                                          OKLAHOMA CITY    OK      73126-9011
EXPRO AMERICAS LLC                                                       DEP 2080                                                                               DALLAS           TX      75312-2080
EXTERRAN ENERGY SOLUTIONS LP                                             PO BOX 201160                                                                          DALLAS           TX      75320-1160
EXTERRAN PARTNERS LP                                                     16666 NORTHCHASE DR                                                                    HOUSTON          TX      77060-6014
EXTRACT PRODUCTION SERVICES, LLC                                         1336 N 143RD EAST AVE                                                                  TULSA            OK      74116
EXTREME PLASTICS PLUS INC                                                360 EPIC CIRCLE DR                                                                     FAIRMONT         WV      26554
EXXON MOBIL CORPORATION                                                  PO BOX 730586                                                                          DALLAS           TX      75373-0586
EXXONMOBIL CP                                                            PO BOX 730586                                                                          DALLAS           TX      75373
E-Z ICE INC                                                              PO BOX 1249                                                                            CUSHING          OK      74023
                                                                                                                       9211 Lake Hefner
Ezell Cobb                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ezell Cobb                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Ezell Cobb                                                               504 NW 114 St                                                                          Oklahoma City    OK      73114
F BAUCHENS                                                               12950 BEACON COVE LANE                                                                 FORT MEYERS      FL      33919
F BELL                                                                   213 N MAGNOLIA AVE                                                                     BROKEN ARROW     OK      74012-2191
F D HUNT OSAGE TRUST                                                     10279 COVENTRY CIRCLE                                                                  JOHNSTON         IA      50131-3105
F HOKE                                                                   2722 W VIOLET AVE                                                                      TUCSON           AZ      85705
F JOE PODPECHAN                                                          2672 EAST 26TH ST                                                                      TULSA            OK      74114
F L DUNN III INVESTMENTS LLC                                             PO BOX 1424                                                                            TULSA            OK      74101-1424
F LAWRENCE & WILMA A BAILLIERE                                           PO BOX 490                                                                             RICHLAND         MO      65556
F LEE SHOEMAKER FAMILY REV LVG TRST                                      1616 CARVER ST                                                                         REDONDO BEACH    CA      90278
F LEE SHOEMAKER TR UDT 4-23-86                                           1616 CARVER ST                                                                         REDONDO BEACH    CA      90278
F P SCHONWALD CO                                                         9434 CEDAR LAKE AVE                                                                    OKLAHOMA CITY    OK      73114-7809
F&S TRUCKING INC                                                         PO BOX 986                                                                             ALVA             OK      73717
F. MICHAEL TARPLEY                                                       1509 NW 149TH                                                                          EDMOND           OK      73013
F.A. GILLESPIE LLC                                                       1121 W WARNER RD, SUITE 109                                                            TEMPE            AZ      85284
F1 ENERGY LLC                                                            1236 BROCKTON AVE APT 5                                                                LOS ANGELES      CA      90025
FABIAN GORDON                                                            1900 PRESTON RD, STE 267-298                                                           PLANO            TX      75093
FABIENNE LYLES                                                           1921 CHESHAM DRIVE                                                                     CARROLTON        TX      75007
Fabrie, Colby                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
FACTSET RESEARCH SYSTEMS INC                                             601 MERRITT 7                                                                          NORWALK          CT      06851
FAE ELIZABETH ROGERS HALLEY ESTATE                                       PO BOX 947                                                                             LUBBOCK          TX      79408-0947
FAE KING                                                                 12511 E 44TH STREET                                                                    RIPLEY           OK      74062
FAEGRE BAKER DANIELS LLP                                                 3200 WELLS FARGO CENTER                                                                DENVER           CO      80203-4532
FAIRFAX OIL COMPANY                                                      2701 STATE STREET                                                                      DALLAS           TX      75204-2634
FAIRFIELD ENERGY LLC                                                     PO BOX 520995                                                                          TULSA            OK      74152
FAIRFIELD MINERALS COMPANY LLC                                           PO BOX 1888                                                                            ARDMORE          OK      73402-1888


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Fairfield Oil & Gas Corp              c/o Durbin Larimore & Bialick      Attn: Michael L Darrah                        920 N Harvey Ave                         Oklahoma City     OK      73102
Fairfield Oil & Gas Corp              c/o The Doyle Firm PC              Attn: William H Doyle                         1313 E Osborn Rd     Ste. 220            Phoenix           AZ      85014
Fairfield Oil & Gas Corp                                                 1721 W 33rd St                                Ste. B                                   Edmond            OK      73083
FAIRMONT CORP                                                            6153 S QUEBEC AVE                                                                      TULSA             OK      74136
FAIRMONT ROCKET LLC                                                      200 CRESCENT CT STE 1040                                                               DALLAS            TX      75201-2103
FAIRMOUNT ENERGY LLC                                                     4516 LOVERS LN #121                                                                    DALLAS            TX      75225-6925
FAIRMOUNT LAND & MINERALS LLC                                            5950 SHERRY LANE STE 400                                                               DALLAS            TX      75225
FAIRWAY MINERALS COMPANY                                                 2121 S COLUMBIA AVE SUITE 650                                                          TULSA             OK      74114-3505
FAIRWAY RESOURCES III LLC                                                PO BOX 671349                                                                          DALLAS            TX      75267-1349
FAIRWAY RESOURCES III LLC                                                PO BOX 671349                                                                          DALLAS            TX      75267-1349
FAIRY M LYND MEMORIAL REV LVG TR                                         309 N STALLARD ST                                                                      STILLWATER        OK      74075
FAITH AIKEN                                                              1112 PENROD DR                                                                         GRANDBURY         TX      99999
FAITH GREENFIELD                                                         1917 NORTH BROADWAY                                                                    SHAWNEE           OK      74804
FAITH STRUNK                                                             6602 PARK LN                                                                           HOUSTON           TX      77023
FALCON FIELD SERVICE INC                                                 PO BOX 146                                                                             HOMINY            OK      74035-0146
FALCON FLOWBACK SERVICES LLC                                             PO BOX 180575                                                                          Fort Smith        AR      72918
FALCON OIL & GAS COMPANY                                                 4804 PEPPERIDGE PL                                                                     ODESSA            TX      79761

FALCON TECHNOLOGIES AND SERVICES IN                                      PO BOX 202901                                                                          DALLAS            TX      75320-2901
                                                                                                                       9211 Lake Hefner
Falish Branton                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120

Falish Branton                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Falish Branton                                                           2308 NE 26th St                                                                        Oklahoma City     OK      73111
FALL RIVER RESOURCES INC                                                 PO BOX 13456                                                                           DENVER            CO      80201
FAMILY DENTAL CENTER INC-401(K)                                          1713 KINGSBURY LANE                                                                    NICHOLS HILLS     OK      73116
FAMILY DOLLAR STORES OF OKLAHOMA                                         PO BOX 1017                                                                            CHARLOTTE         NC      28201-1017
FAMILY TREE CORPORATION                                                  PO BOX 260498                                                                          LAKEWOOD          CO      80226
FANNET HILDEBRAND                                                        1301 PECAN ST                                                                          PERRY             OK      73077-2014
Fanning, Elizabeth                    c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
FARLEY FAMILY IRREVOCABLE TST         JANE SWAN TRUSTEE                                                                                                         MUSKOGEE          OK      74403-6011
FARMERS CO OPERATIVE ELEVATOR                                            PO BOX 190                                                                             MARSHALL          OK      73056-0190
FARMERS COOPERATIVE ASSOCIATION                                          PO BOX 249                                                                             VICI              OK      73859
FARMERS ROYALTY COMPANY                                                  3829 N CLASSEN BLVD STE 101                                                            OKLAHOMA CITY     OK      73118-2854
FARMERS UNITED COOPERATIVE POOL                                          PO BOX 1304                                                                            WOODWARD          OK      73802-1304
FAROLD COLLINS                                                           3318 SOUTHERN OAKS                                                                     STILLWATER        OK      74704
FARRIE GRAHAM                                                            2204 COLCHESTER DR                                                                     EDMOND            OK      73034
FARRIS FAMILY 1996 LIVING TRUST                                          PO BOX 14176                                                                           OKLAHOMA CITY     OK      73113-0176
FARRIS RANCH INC                                                         PO BOX 146                                                                             TALOGA            OK      73667
FASKEN FOUNDATION                                                        PO BOX 2024                                                                            MIDLAND           TX      79702-2024
FASTSIGNS                                                                2837 NW 63RD ST                                                                        OKLAHOMA CITY     OK      73116
                                                                                                                       9211 Lake Hefner
Fatiha Karimian                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Fatiha Karimian                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Fatiha Karimian                                                          8020 S. 88th E. Ave                                                                    Tulsa             OK      74133
FAUDREE Q ACCOUNT LTD                                                    PO BOX 3691                                                                            MIDLAND           TX      79702
FAULCONER 2004 LP LLP                                                    PO BOX 7995                                                                            TYLER             TX      75711
FAULCONER RESOURCES 1992 LIMITED                                         PO BOX 8150                                                                            TYLER             TX      75711
FAY LINN                                                                 1817 E 56TH ST                                                                         STILLWATER        OK      74074-7232
FAY THOMPSON                                                             914 SURRY PLACE DRIVE                                                                  CLEBURNE          TX      76033-6038
FAY YOUNGER                                                              4535 TIVOLI ST                                                                         SAN DIEGO         CA      92107
FAYDENE MACLEOD                                                          927 WEDGEWOOD WAY                                                                      RICHARDSON        TX      75080
FAYE BERTRAND                                                            2226 E EMPIRE ST                                                                       CORTEZ            CO      81321-2639
FAYE JORDAN                                                              205 MCDONAL ST                                                                         COVINGTON         OK      73730
FAYE PHILLIPS                                                            16590 HUNTER AVE                                                                       OREGON CITY       OR      97045
FAYE RATCLIFF                                                            341663 E HIGHWAY 62                                                                    MEEKER            OK      74855-1025
FAYES DINOSAUR RANCH LLC                                                 5823 EDMOND RD NE                                                                      PIEDMONT          OK      73078
FAYETTA JOLLEY                                                           1437 E WALNUT ST                                                                       CUSHING           OK      74023


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FAYETTA TEVEBAUGH                                                        623 E MAPLE AVE                                                                        STILLWATER         OK      74074-3726
FBC ROYALTY PARTNERS LLC                                                 5950 SHERRY LANE SUITE 400                                                             DALLAS             TX      75225
FBO ALAN B NELSON CO TTEE UDT 2-8-9                                      3925 NW 46TH ST                                                                        OKLAHOMA CITY      OK      73112
FC GOODWIN                                                               6355 HOLLYWOOD BLVD                                                                    LOS ANGELES        CA      90028
FCONSTR OIL LLC                                                          2830 STATE RD                                                                          CUYAHOGA FALLS     OH      44223
FDK LLC                                                                  PO BOX 27227                                                                           HOUSTON            TX      77227
FEA INC OUIDA RAINEY - ATTY-IN-FACT                                      4400 OLD CANTON RD, SUITE 220                                                          JACKSON            MS      39211
FECHNER PUMP & SUPPLY INC                                                PO BOX 1488                                                                            CUSHING            OK      74023-1488
FEDERAL DEPOSIT INSURANCE CORP (FDI                                      1601 BRYAN ST                                                                          DALLAS             TX      75201-4586
FEDERAL EMERGENCY MANAGEMENT
AGENCY                                                                   847 SOUTH PICKET ST                                                                    ALEXANDRIA         VA      22304-4605

FEDERAL NATIONAL MORTGAGE ASSOCIATI                                      135 N LOS ROBLES AVE                                                                   PASADENA           CA      91101
FEDEX                                                                    PO BOX 660481                                                                          DALLAS             TX      75266
                                                                                                                       9211 Lake Hefner
Felicia Sanchez-Riancho               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Felicia Sanchez-Riancho               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Felicia Sanchez-Riancho                                                  9704 E. 99th St                                                                        Tulsa              OK      74133
FELIPE JESUS MERAZ                                                       RT 1 BOX 63                                                                            CAMARGO            OK      73853
FELIX ENERGY LLC                                                         1530 16TH ST STE 500                                                                   DENVER             CO      80202
FELIX STACK HOLDINGS LLC                                                 1530 16TH ST STE 500                                                                   DENVER             CO      80202-1467
FELIX VALADEZ                                                            10001 WOODVIEW DR                                                                      OKLAHOMA CITY      OK      73165-9150
                                                                                                                       9211 Lake Hefner
Felix Alvarez                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Felix Alvarez                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Felix Alvarez                                                            1107 E Lockheed Dr                                                                     Oklahoma City      OK      73110
FENERGY LLC                                                              301 NW 151ST ST                                                                        EDMOND             OK      73013-1796
FERGUSON-OLANDER INC                                                     18507 BENT PINE DR                                                                     HUDSON             FL      34667
FERLAN DEAN                                                              4909 E KARA DR                                                                         STILLWATER         OK      74074-8618
FERN BROYLES URBAN                                                       4222 APPLEROCK DR                                                                      BAYTOWN            TX      77521
FERN I ROBERTS TRUST                                                     114125 S 4172 RD                                                                       CHECOTAH           OK      74426-6504
FERN LOYD                                                                147 S MCFARLAND                                                                        STILLWATER         OK      74074
FERN MANNING                                                             125 SKYLINE DR                                                                         PERRY              OK      73077
FERN RAY                                                                 13286 CAMINITO MAR VILLA                                                               DEL MAR            CA      92014
FERN ROBERTS                                                             4124 N WASHINGTON ST                                                                   STILLWATER         OK      74075-1443
FERNANDO E FLORES                                                        4118 WHEAT HARVEST LANE                                                                KATY               TX      77494
FEROL WOLFE                                                              1971 MOUNT HOPE CHURCH ROAD                                                            MCLEANSVILLE       NC      27301
FERRELLOILCO LLC                                                         PO BOX 1177                                                                            OKLAHOMA CITY      OK      73101-1177
FERRIS CHEVROLET INC                                                     634 WABASH AVE NW                                                                      NEW PHILADELPHIA   OH      44663-4146
FESCO LTD                                                                1000 FESCO AVENUE                                                                      ALICE              TX      78332
FFF INC                                                                  PO BOX 8874                                                                            DENVER             CO      80201-8874
F-FIVE INVESTMENTS LLC                                                   PO BOX 7088                                                                            EDMOND             OK      73083-7088
FHA Investments LLC                   c/o Ahrberg Milling Cushing        200 S Depot Ave                                                                        Cushing            OK      74023
                                      c/o Hall Estill Hardwick Gable                                                                        Chase Tower, Ste.
FHA Investments LLC                   Golden & Nelson PC                 Attn: Michael E Smith                         100 N Broadway       2900                Oklahoma City      OK      73102
FHA Investments LLC
FHA INVESTMENTS LLC                                                      PO BOX 1030                                                                            CUSHING            OK      74023-1030
FHA Investments LLC                                                      808 S Euchee Valley                           PO Box 1030                              Cushing            OK      74023
FHA OIL & GAS LLC                                                        808 S EUCHEE VALLEY RD                                                                 CUSHING            OK      74023-2966
FIDELITY & DEPOSIT CO. OF MARYLAND                                       1220 N WALKER AVE                                                                      OKLAHOMA CITY      OK      73103-3723
FIDELITY SECURITY LIFE                                                   PO BOX 632530                                                                          CINCINNATI         OH      45263-2530
FIFTH CHURCH OF CHRIST SCIENTIST                                         10305 N MAY AVE                                                                        OKLAHOMA CITY      OK      73120
FIFTY-ONE EAST WATER INC                                                 2100 E 6TH AVE                                                                         STILLWATER         OK      74074-6567
FILLMORE ENERGY RESOURCES LLC                                            1110 W MAIN ST STE 7                                                                   NORMAN             OK      73069
FILOLI OG 1 LP                                                           4311 W LOVERS LN STE 200                                                               DALLAS             TX      75209
FILSON FAMILY TRUST                                                      2911 S FAIRGROUNDS                                                                     STILLWATER         OK      74074
FINA E&P INC                                                             1201 LOUISIANA SUITE 1800                                                              HOUSTON            TX      77002


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FINLEY HOLBROOK                                                       917 EXTER CIRCLE                                                      YUKON             OK       73099
FINNELL-JEANS MINERAL LLC                                             18329 S. 850 ROAD                                                     NEVADA            MO       64772
FIONA ROBERTSON                                                       7856 ATKINSON RD                                                      SEBASTOPOL        CA       95472-2605
Fipps, Brady                          c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                   Stillwater        OK       74074
Fipps, Larry                          c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                   Stillwater        OK       74074
FIREBALL EXPRESS COURIER                                              SUITE 122, 510 - 12th AVE SW                                          CALGARY           AB       T2R 0X5      CANADA
FIREHOUSE ASSET #1 LP                                                 904 CONVEYOR DR                                                       JOSHUA            TX       76058
FIRETROL PROTECTION SYSTEMS INC                                       8401 AVE F                                                            LUBBOCK           TX       79404
FIRST BAPTIST CHURCH OF GLENCOE                                       PO BOX 127                                                            GLENCOE           OK       74032
FIRST BAPTIST CHURCH OF MARSHALL OK                                   202 NORTH OKLAHOMA                                                    MARSHALL          OK       73056
FIRST BAPTIST CHURCH OF MULHALL                                       PO BOX 157                                                            MULHALL           OK       73063
FIRST BAPTIST CHURCH OF NEVADA MISS                                   301 E HIGHLAND                                                        NEVADA            MO       64772
FIRST BAPTIST CHURCH OF STILLWATER                                    701 S DUNCAN ST                                                       STILLWATER        OK       74074-4444
FIRST CHRISTIAN CHURCH                                                200 E ADAMS                                                           CRESCENT          OK       73028
FIRST CHRISTIAN CHURCH                                                402 E NOBLE AVE                                                       GUTHRIE           OK       73044
FIRST CHRISTIAN CHURCH                                                PO BOX 18636                                                          OKLAHOMA CITY     OK       73154
FIRST CHRISTIAN CHURCH DISCIPLES                                      205 S ELM ST                                                          CENTRALIA         IL       62801
FIRST CHRISTIAN CHURCH OF MULHALL                                     PO BOX 145                                                            MULHALL           OK       73063
FIRST CHRISTIAN CHURCH OF POMONA                                      1751 N PARK AVE                                                       POMONA            CA       91768
FIRST CHRISTIAN CHURCH OF STILLWATE                                   411 W MATTHEWS AVE                                                    STILLWATER        OK       74075-7517
FIRST ME CHURCH OF MULHALL                                            PO BOX 26                                                             MULHALL           OK       73063
FIRST MISSIONARY BAPTIST                                              912 W 1ST ST                                                          CHANDLER          OK       74834-1802
FIRST NATIONAL BANK & TRUST CO                                        1100 E MAIN ST                                                        WEATHERFORD       OK       73096
FIRST NAT'L BANK & TRUST CO OF WEAT                                   1100 EAST MAIN ST                                                     WEATHERFORD       OK       73096
FIRST NATL BANK OF CHANDLER                                           7122 S SHERIDAN RD BOX 604                                            TULSA             OK       74133
FIRST OF CHRIST TRYON OKLAHOMA                                        PO BOX 36                                                             TRYON             OK       74875
FIRST OILFIELD SUPPLY LLC                                             PO BOX 1469                                                           MCALESTER         OK       74502-1469
FIRST PINKSTON LIMITED PARTNERSHIP                                    500 N AKARD ST STE 2970                                               DALLAS            TX       75201-6621
FIRST RESERVE                                                         1 LAFAYETTE PL STE 3                                                  GREENWICH         CT       06830-5449
FIRST UNITED METHODIST CHURCH                                         131 NORTH AVE                                                         HENDERSON         TN       38340
FIRST UNITED METHODIST CHURCH                                         436 VINE ST                                                           JOHNSTOWN         PA       15901
FIRST UNITED METHODIST CHURCH                                         PO BOX 280                                                            PERKINS           OK       74059-0280
FIRST UNITED METHODIST CHURCH OF CU                                   930 S LITTLE AVE                                                      CUSHING           OK       74023-4862
FIRST UNITED METHODIST CHURCH OF MU                                   600 E OKMULGEE                                                        MUSKOGEE          OK       74403
FIRST UNITED METHODIST CHURCH OF ST                                   400 W 7TH AVENUE                                                      STILLWATER        OK       74074
FIS KIODEX LLC                                                        PO BOX 5807                                                           CAROL STREAM      IL       60197-5807
FISCHER FAMILY TR DTD 11-26-2013                                      11703 S GETTY                                                         COVINGTON         OK       73730
FISHER ASSOCIATES                                                     10100 CYPRESS COVE DR APT # 110                                       FORT MYERS        FL       33908-7643
FISHER PRODUCTION SERVICES INC                                        PO BOX 3831                                                           ENID              OK       73702-3831
FITE CONSULTING                                                       732 E VICTORIA TERR                                                   MUSTANG           OK       73064-9490
FIVE-S OIL & GAS LLC                                                  PO BOX 821                                                            MADILL            OK       73446
Fixley, Tyler                         c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                         Oklahoma City     OK       73116
FJJD LP                                                               PO BOX 22100                                                          OKLAHOMA CITY     OK       73123
FLAME ROYALTIES INC                                                   PO BOX 702281                                                         TULSA             OK       74170
FLANAGAN FAMILY TR DATED 8-20-2002                                    1821 KINGSGATE TER                                                    YUKON             OK       73099-4417
FLATLINE PESTCONTROL, INC                                             108 S. 1ST STREET                                                     GUTHRIE           OK       73044
FLAVIL MARTIN TRUST                                                   43055 80TH ST W                                                       LANCASTER         CA       93536
FLEISCHAKER MINERAL CO LLC                                            100 N BRDWAY STE 2460                                                 OKLAHOMA CITY     OK       73102
FLEISCHER VENTURES LLC                                                6204 NW 161ST CIR                                                     EDMOND            OK       73013-9474
FLEISCHER, FLEISCHER,                                                 11032 QUAIL CREEK ROAD SUITE 209                                      OKLAHOMA CITY     OK       73120
FLETCHER ROYALTY LLC                                                  13621 RUE ROYAL LN                                                    SILVERHILL        AL       36576-3248
FLEX-CHEM CORPORATION                                                 PO BOX 1647                                                           WEATHERFORD       OK       73096-1647
FLEXERA SOFTWARE LLC                                                  300 PARK BLVD STE 500                                                 ITASCA            IL       60143
FLICKA ENERGY INC                                                     PO BOX 474                                                            CRESCENT          OK       73028
FLINT AND AMBER FARRIS JT                                             RT. 2, BOX 47                                                         TALOGA            OK       73667
FLINT EQUIPMENT LLC                                                   PO BOX 311                                                            DRUMRIGHT         OK       74030
FLINT RESOURCES COMPANY LLC                                           1625 W 21ST ST                                                        TULSA             OK       74107-2707
FLIR COMMERCIAL SYSTEMS INC.                                          LOCKBOX 11115                                                         BOSTON            MA       02211
FLJ LLC                                                               2323 S LEGENDARY LN                                                   STILLWATER        OK       74074-2153


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FLOCO2 LTD                                                             PO BOX 733003                                                         DALLAS           TX       75373-3003
FLODINE LEE                                                            43097 STATE HIGHWAY 139                                               TULELAKE         CA       96134-8257
FLOGISTIX LP                                                           PO BOX 731389                                                         DALLAS           TX       75373-1389
FLORA BOYD                                                             118 MOUNT BASS                                                        LONG BEACH       MS       39560-4421
FLORA LEFORCE                                                          1441B PAR RD                                                          PERRY            OK       73077
FLORA RAY                                                              118 MOUNT BASS                                                        LONG BEACH       MS       39560-4421
FLORENCE AKERS                                                         821 8TH STREET                                                        ELKO             NV       89801
FLORENCE BERNICE JEYS                                                  210 N SEDGWICK ST                                                     WICHITA          KS       67203-5646
FLORENCE COOVER ESTATE TRUST                                           4020 HIGHWAY 71                                                       SPENCER          IA       51301-2033
FLORENCE F FLYNN                                                       40396 HOLIK RD                                                        HEMPSTEAD        TX       77445-3720
FLORENCE GRAHAM                                                        PO BOX 139                                                            SAVANNA          OK       74565
FLORENCE HANEWINCKEL                                                   83 ALTON PARK LN                                                      FRANKLIN         TN       37064
FLORENCE HANSEN                                                        20625 NIGHTHAWK LN                                                    LUTHER           OK       73054
FLORENCE HILL                                                          5015 PERSHING AVE                                                     FORT WORTH       TX       76107-4823
FLORENCE KNOCH                                                         722 N PINE ST                                                         HARRISON         AR       72601
FLORENCE LEIGH                                                         3901 JUDY DR                                                          STILLWATER       OK       74075
FLORENCE NELSON FAM TR                                                 215 W FREEMAN AVE UNIT 127                                            PERKINS          OK       74059-5601
FLORENCE NELSON FMILT TRUST                                            215 W FREEMAN AVE UNIT 127                                            PERKINS          OK       74059-5601
FLORENCE OLDS                                                          112 E MILL ST                                                         BUTLER           KY       41006-1007
FLORENCE RILEY                                                         8520 DAMAN PLACE                                                      OKLAHOMA CITY    OK       73159-6241
FLORENCE ROCHE                                                         51616 WHITAKER FOREST DRIVE                                           BADGER           CA       93603-9739
FLORENCE SIMMONS                                                       1711 S FLORENCE PL                                                    TULSA            OK       74104
FLORENCE V. KELLEY TRUST                                               2408 HIGH SCHOOL DRIVE                                                ST. LOUIS        MO       63144-2216
FLORENCE WALKER                                                        121 E 11TH ST                                                         NEWTON           KS       67114
FLORENCE WASS                                                          221 S 12TH ST APT N503                                                PHILADELPHIA     PA       19107
FLORENCE WASS                                                          911 S GRAY ST                                                         STILLWATER       OK       74074-5443
FLORENCE WHISENHUNT                                                    RR 1 BOX 216                                                          GAGE             OK       73834
FLORENE GRAHAM                                                         1900 S MAIN ST                                                        MCALESTER        OK       74501
FLORENE MUEGGENBORG                                                    5823 EDMOND RD NE                                                     PIEDMONT         OK       73078
FLORETTA JONES                                                         2941 NW 65TH ST                                                       OKLAHOMA CITY    OK       73116
FLORIAN JONES                                                          ADDRESS REDACTED
FLORIDA DEPARTMENT OF FINANCIAL SER                                    PO BOX 6350                                                           TALLAHASSEE      FL       32314-6350
Florida Dept of Financial Services    Division of Unclaimed Property   200 East Gaines Street                                                Tallahassee      FL       32399-0358
FLORIDA OIL LIMITED PARTNERSHIP                                        12225 GREENVILL AVE #440                                              DALLAS           TX       75243
FLORN EASTERLY                                                         705 W JACKSON                                                         COVINGTON        OK       73730
FLOSSIE F HAGIN REV TRUST                                              PO BOX 127                                                            CORDELL          OK       73632-0127
FLOSSIE FOCHT                                                          115 NE 6TH                                                            PERKINS          OK       74059
FLOW BOY SERVICES LLC                                                  PO BOX 698                                                            HENNESSEY        OK       73742
FLOW PRODUCTION COMPANY                                                3000 N. GARFIELD, SUITE 265                                           MIDLAND          TX       79705-6414
FLOW-CAL INC                                                           PO BOX 58965                                                          HOUSTON          TX       77258-8965
FLOWCO PRODUCTION SOLUTIONS LLC                                        18511 IMPERIAL VALLEY DRIVE                                           HOUSTON          TX       77073
FLOYD AND ELEANOR HAWK TR                                              4619 S HUSBAND ST                                                     STILLWATER       OK       74074-7709
FLOYD BRYAN                                                            7917 W ROLLIN ACRES RD                                                SAN ANGELO       TX       76901-7069
FLOYD BUNTIN AND BESSIE L BUNTIN HW                                    1012 N MANNING ST                                                     STILLWATER       OK       74075-7206
FLOYD COCKRELL                                                         525 W BURLESON ST                                                     WHARTON          TX       77488-5411
FLOYD COLLYAR                                                          221 MCDONAL ST                                                        COVINGTON        OK       73730
FLOYD DWINELL                                                          114 COUNTY ROAD 3777                                                  FARMINGTON       NM       87401-7970
FLOYD GONDERMAN                                                        32129 DUCK CREEK BLVD                                                 AFTON            OK       74331
FLOYD KEITH                                                            4216 NE 140TH PLACE                                                   EDMOND           OK       73013
FLOYD KEITH                                                            7450 INDEPENDENCE                                                     PERRY            OK       73077
FLOYD L & WILMA L FARLEY                                               1108 SOUTH BRETHREN RD                                                CUSHING          OK       74023
FLOYD LAME                                                             812 48 ST                                                             GREAT FALLS      MT       59405
FLOYD LINDSEY                                                          14108 WHEAT PL                                                        OKLAHOMA         OK       73170-8729
FLOYD LOFTISS                                                          915 W 26TH AVE                                                        STILLWATER       OK       74074
FLOYD MOTT                                                             22315 E 520 RD                                                        COLCORD          OK       74338
FLT MINERALS LLC                                                       8100 AINSWORTH DR                                                     KNOXVILLE        TN       37909
FLYING Y LAND & CATTLE CO                                              3720 E 2ND ST                                                         EDMOND           OK       73034-7303
FLYNN OF ORMOND BEACH LP                                               PO BOX 3627                                                           TULSA            OK       74101-3627
FLYWILL ROYALTY LLC                                                    100 N BROADWAY SUITE 2460                                             OKLAHOMA CITY    OK       73102


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FMC TECHNOLOGIES CANADA LTD.                                          PO BOX A                                                               TORONTO          ON      M5W 0E9      CANADA
FMC TECHNOLOGIES INC                                                  PO BOX 844356                                                          DALLAS           TX      75284-4356
FMC TECHNOLOGIES MEASUREMENT                                          1602 WAGNER AVE                                                        ERIE             PA      16510
FOAMTECH INC                                                          PO Box 925                                                             WOODWARD         OK      73802
FOCUS SEVEN LLC                                                       4015 NW 58TH ST                                                        OKLAHOMA CITY    OK      73112-1630
Folsom, Kody                          c/o White Star Petroleum, LLC   301 NW 63rd St                         Ste 600                         Oklahoma City    OK      73116
FON GLENN HUTSON COFFMAN                                              1055 HUCK ROAD                                                         LOWELL           OH      45744
FONDA MANWELL                                                         1614 RAIN TREE LN                                                      CHOCTAW          OK      73020-7259
FOOTHILLS MINERALS LLC                                                153 S. BROADWAY ST.                                                    LA PORTE         TX      77571-5305
FORD ROYALTY COMPANY LLC              BOKF, AGENT                                                                                            TULSA            OK      74101-1588
FORDEE RHOADES OIL CO                                                 2512 E 71ST ST STE I                                                   TULSA            OK      74136-5575
FORDY INC.                                                            PO BOX 782                                                             PERRY            OK      73077
FOREMAN ENTERPRISES INC                                               PO BOX 30610                                                           EDMOND           OK      73003-0011
FOREST H BENNETT JR                                                   18441 N 87TH AVE APT 122                                               PEORIA           AZ      85382
FOREST SHORT                                                          PO BOX 115                                                             GREENVIEW        CA      96037-0115
FORMS ON-A-DISK                                                       11551 FOREST CENTRAL DR STE 205                                        DALLAS           TX      75243-3933
FORNEY DRILLING                                                       214 ENCINO AVE                                                         SAN ANTONIO      TX      78209
FORREST BLACKSTOCK                                                    PO BOX 2038                                                            PISMO BEACH      CA      93448-2038
FORREST BRYAN                                                         7911 E 87TH ST                                                         TULSA            OK      74133-4862
FORREST DAVIS                                                         1789 CROSSFIELD DR                                                     EDMOND           OK      73025
FORREST DOWNING                                                       59 KITTRIDGE TERR                                                      SAN FRANCISCO    CA      94118
FORREST EVORITT                                                       2019 HARRIS AVE                                                        INDEPENDENCE     MO      64052
FORREST HALL                                                          3007 N RANGE RD                                                        STILLWATER       OK      74075-2040
FORREST HOEFFER                                                       3049 CR 2201                                                           HARTMAN          AR      72840
FORREST HUTCHINSON                                                    121 MYRICK DR                                                          MACON            GA      31220-6761

FORREST JACOB WYNN AGENT EDDYE DREY                                   4925 GREENVILLE AVE STE 900                                            DALLAS           TX      75206
FORREST KNOX                                                          3801 BURNS RD                                                          EDMOND           OK      73025
FORREST MILLS                                                         6294 TALIAFERRO WAY                                                    ALEXANDRIA       VA      22315
FORREST ROBINETT                                                      316 WICHITA DRIVE                                                      NORMAN           OK      73071
FORREST WHITMORE                                                      PO BOX 192                                                             MILFAY           OK      74046-0192
FORREST WILSON HOOD JR                                                812 N CARROLLTON AVENUE                                                NEW ORLEANS      LA      70119
FORSYTH CUBBAGE & ASSOC PC                                            PO BOX 7                                                               CUSHING          OK      74023-0007
FORT WORTH MINERAL                                                    PO BOX 17418                                                           FORT WORTH       TX      76102
FORT WORTH ROYALTY COMPANY                                            1315 W 10TH ST                                                         FORT WORTH       TX      76102-3437
FORTHALLNER IRREV TRUST DTD 9-8-201                                   3218 BERMUDA DR                                                        SAND SPRINGS     OK      74063-2959
FORTUNA INVESTMENTS LLC                                               PO BOX 21332                                                           OKLAHOMA CITY    OK      73156
FORTUNE FAVORS THE BOLD LP                                            70 STONEBRIDGE RD                                                      PONCA CITY       OK      74604
FORTUNE NATURAL RESOURCES                                             PO BOX 650823                                                          DALLAS           TX      75265

FORTUNE NATURAL RESOURCES CORPORATI                                   16400 DALLAS PARKWAY STE 100                                           DALLAS           TX      75248-2609
FORUM US INC                                                          PO BOX 203325                                                          DALLAS           TX      75320-3325
FORWARD LAND LLC                                                      723 HUDSON AVENUE                                                      OKLAHOMA CITY    OK      73120
FOSSIL FLUIDS LLC                                                     9742 N 2350 RD                                                         WEATHERFORD      OK      73096-4120
FOSTER HARRINGTON                                                     1209 NE 89TH ST                                                        OKLAHOMA CITY    OK      73114
FOSTER RESOURCES LLC                                                  2604 NW 58TH PL                                                        OKLAHOMA CITY    OK      73112
FOUR POINT ENERGY, LLC                                                100 ST PAUL STREET, SUITE 400                                          DENVER           CO      80206
FOUR SEAS EXPLORATION LLC                                             PO BOX 1557                                                            OKLAHOMA CITY    OK      73101-1557
FOURPOINT ENERGY LLC                                                  PO BOX 912762                                                          DENVER           CO      80291-2762
FOURPOINT ENERGY LLC                                                  PO BOX 912787                                                          DENVER           CO      80291-2762
FOURTH STREET RENTALS LLC                                             324 S HUSBAND ST                                                       STILLWATER       OK      74074

FOWARD OIL & GAS                                                      6801 BROADWAY EXT SVC RD STE 100                                       OKLAHOMA CITY    OK      73116
Fox, Nancy                            c/o White Star Petroleum, LLC   301 NW 63rd St                         Ste 600                         Oklahoma City    OK      73116
FOXTROT ENERGY SERVICES LLC                                           PO BOX 248855                                                          OKLAHOMA CITY    OK      73124
FRADY B HOLCOMB TRUST                                                 214965 E 800 RD                                                        LEEDEY           OK      73654
FRAMEMASTERS                                                          3226 S. BOULEVARD                                                      EDMOND           OK      73013
FRANCENE EATON                                                        28476 E 840 RD                                                         CASHION          OK      73016
FRANCES A HANNIFIN                                                    PO BOX 350010                                                          WESTMINSTER      CO      80035-0100


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FRANCES BELL REEDER REVOCABLE TRUST                              RR 2 BOX 193                                                                     MOUNTAIN VIEW    OK      73062-9665
FRANCES BURNS                                                    PO BOX 267                                                                       MARSHALL         OK      73056
FRANCES CAMPBELL                                                 4320 RANKIN RD                                                                   OKLAHOMA CITY    OK      73120-8024
FRANCES COFFEE                                                   3532 HUNTSMAN RD                                                                 EDMOND           OK      73003-3526
FRANCES DOTTER                                                   20968 81ST RD                                                                    WINFIELD         KS      67156-7291
FRANCES ELLEN GINSBURG                                           PO BOX 101235                                                                    FORT WORTH       TX      76185
FRANCES FELL MALONE ESTATE                                       PO BOX 1466                                                                      ENID             OK      73702-1466
FRANCES FRANK                                                    1016 S BLUE RIDGE ST                                                             STILLWATER       OK      74074-1461
                                      CAMBRIDGE PETROLEUM
FRANCES G LOPATA                      GROUP INC AGENT                                                                                             MCKINNEY         TX      75070
FRANCES G SNYDER ESTATE DECD                                     2729 WILSHIRE                                                                    OKLAHOMA CITY    OK      73116
FRANCES GALE                                                     RT 2 BOX 104                                                                     CRESENT          OK      73028
FRANCES HAMIL                                                    40832 40TH STREET W                                                              CARTERSVILLE3    GA      30121
FRANCES HANSEN                                                   1512 GEORGE STREET                                                               EDMOND           OK      73003
FRANCES KAYE SINCLAIR                                            PO BOX 271803                                                                    OKLAHOMA CITY    OK      73137-1801
FRANCES KINKADE                                                  PO BOX 71                                                                        RIPLEY           OK      74062-0071
FRANCES KIRCHNER                                                 7130 S LEWIS AVE STE 900                                                         TULSA            OK      74136
FRANCES L LONGAN & CINDY LONGAN KEI                              815 E WILL ROGERS DR                                                             STILLWATER       OK      74075-5736
FRANCES LAVERNE JACKSON                                          312 EAST 3RD STREET                                                              SKIATOOK         OK      74070
FRANCES LAWRENCE                                                 3016 N PECAN RD                                                                  PONCA CITY       OK      74604
FRANCES LUCILLE MIHURA                                           1523 NORTH JARDOT ROAD                                                           STILLWATER       OK      74075
FRANCES LYNN CASE REVOC TRUST                                    1525 S BOULDER CREEK DR                                                          STILLWATER       OK      74074
FRANCES M JOHNSON REV TR                                         7325 NW 121ST                                                                    OKLAHOMA CITY    OK      73162
FRANCES MADDUX                                                   3605 ROCKWOOD RD                                                                 ENID             OK      73703
FRANCES MARZELLA HANSEN                                          10617 S 48TH WAY                                                                 PHOENIX          AZ      85044
FRANCES MILLER ADAMS                                             1201 N FRETZAPT 28                                                               EDMOND           OK      73003
FRANCES MOLUMPHY HAMPTON                                         814 NW 16TH                                                                      OKLAHOMA CITY    OK      73106
FRANCES OBRIEN LUTHER                                            450 PENNSYLVANIA ST                                                              DENVER           CO      80203
FRANCES RAYLENE SMITH                                            28500 CR 80                                                                      ORLANDO          OK      73073
FRANCES SHANKLE                                                  9300 SHOSHONE AVE                                                                NORTHRIDGE       CA      91325-2327
FRANCES SPIVA                                                    PO BOX 1136                                                                      PERKINS          OK      74059-1136
FRANCES STAHL                                                    73380 HARMON RD                                                                  JET              OK      73749-4960
FRANCES TAKACS                                                   676 KENNETH AVE                                                                  CAMPBELL         CA      95008
FRANCES WOOD                                                     10301 CHOKE CHERRY RD                                                            CHEYENNE         WY      82009-9475
FRANCESCA GARNER                                                 8822 N MAY AVE                                                                   OKLAHOMA CITY    OK      73120
FRANCESCA KERR                                                   7716 175TH ST SW                                                                 EDMONDS          WA      98026
FRANCHON ALLEN                                                   7326 ROSEBUD BEND DR                                                             HUMBLE           TX      77346
FRANCINE LEBOW 1996 LIVING TRUST                                 PO BOX 41779                                                                     AUSTIN           TX      78704
FRANCINE MCROBERTS                                               225 SUNSET DRIVE                                                                 BROWNSVILLE      TX      78520
FRANCINNE SNIDER WELSH                                           1134 LAKEVIEW DR                                                                 STAFFORD         VA      22556-1299
FRANCIS ELSTON                                                   5301 N ELLISON RD                                                                GUTHRIE          OK      73044
FRANCIS EUGENE ANDREWS REV TRUST                                 2100 OAK RIDGE DR                                                                NEOSHO           MO      64850
FRANCIS FITZGERALD                                               4309 E 60TH ST                                                                   TULSA            OK      74135-4210
FRANCIS HILDEBRAND                                               709 W PALM ST                                                                    ENID             OK      73701-2597
FRANCIS LABORDE WEINBERGER                                       1473 BLUEWOOD DR                                                                 RENO             NV      89523
FRANCIS MARION REED                                              510 WEST 15TH ST                                                                 AUSTIN           TX      78701
FRANCIS MARTIN SMITH                                             24115 E 113TH ST S                                                               BROKEN ARROW     OK      74014-7740
FRANCIS MATUSSAK                                                 508 FRANCES ST                                                                   ENID             OK      73703-4932
FRANCIS PEPPIN                                                   444 S EGAN AVE                                                                   BURNS            OR      97720-2250
FRANCIS TANNER                                                   3320 SE 24TH ST                                                                  DEL CITY         OK      73115-1614
FRANCIS THEDFORD                                                 206 CANDLEWOOD                                                                   ENID             OK      73701
FRANK & VERA SUE BUNCH REV LIV TR                                3706 KING STREET #2007                                                           ENID             OK      73703
FRANK A STROUBE GST EXEMPT TRUST                                 PO BOX 820                                                                       HENDERSON        TX      75653
FRANK ADAMS                                                      5006 CREEKWOOD PASS                                                              SPRING BRANCH    TX      78070-7014
FRANK ADAMS                                                      2805 E 32ND AVE                                                                  STILLWATER       OK      74074-7018
                                                                                                               9211 Lake Hefner
Frank Alan Stie                       c/o Atkins & Markoff       Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway            Ste. 104        Oklahoma City    OK      73120



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                                   c/o Laminack, Pirtle & Martines,
Frank Alan Stie                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
Frank Alan Stie                                                       3114 S. Nassau Ave.                                                                    Sand Springs           OK      74063
FRANK ALLEN                                                           2722 PINNACLE PL                                                                       MISSOULA               MT      59808-8673
FRANK AND LUCI D DURAN                                                10222 S HACKELMAN RD                                                                   COYLE                  OK      73027-3011
FRANK AND SANDRA J ADAMS JT                                           2805 E 32ND AVE                                                                        STILLWATER             OK      74074-7018
FRANK ARNETT                                                          19695 S FISCHERS MILL RD                                                               OREGON CITY            OR      97045-9687
FRANK B & JANET M HARGROVE TRUST                                      PO BOX 1239                                                                            STILLWATER             OK      74076-1239
FRANK BATTLE                                                          PO BOX 22100                                                                           OKLAHOMA CITY          OK      73123
FRANK BRUNDAGE                                                        PO BOX 344                                                                             THOMAS                 OK      73669
FRANK BRYAN                                                           16485 FOLSOM RD                                                                        FLORENCE               MT      59833
FRANK BUSCH                                                           1323 N ELM ST                                                                          EUREKA                 KS      67045-1040
FRANK C CARTER JR                                                     4208 BRYN MAWR DR                                                                      DALLAS                 TX      75225-6738
FRANK C DAVIS III                                                     PO BOX 600185                                                                          DALLAS                 TX      75360-0185
                                                                                                                    9211 Lake Hefner
Frank C. Vassar                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK      73120
                                   c/o Laminack, Pirtle & Martines,
Frank C. Vassar                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
Frank C. Vassar                                                       14933 SE 79th St                                                                       Choctaw                OK      73020
FRANK CAVANAUGH                                                       489 SILVER SHADOW DRIVE                                                                SAN MARCOS             CA      97078
FRANK CHRZ                                                            13670 JOHN WAYNE                                                                       PERRY                  OK      73077
FRANK CROSS                                                           311 W 5TH ST UNIT T1                                                                   AUSTIN                 TX      78701-2840
FRANK CUNNINGHAM                                                      2198 E CR 68                                                                           MULHALL                OK      73063
FRANK DALE REVOCABLE TRUST DALE                                       4835 PEORIA SUITE 11                                                                   TULSA                  OK      74105
FRANK DOLF                                                            6405 BEAVER CREEK RD                                                                   OKLAHOMA CITY          OK      73162
FRANK DOLLINS                                                         2405 E 68TH ST                                                                         STILLWATER             OK      74074

FRANK DOTTER                                                          4917 CUMMINGS DR                                                                       NORTH RICHLAND HILLS   TX      76180-6931
FRANK DVORAK                                                          10450 DEER RIDGE                                                                       PERRY                  OK      73077
FRANK E GILLESPIE TRUST                                               2459 RED BUD TRAIL DR                                                                  GERMANTOWN             TN      38139
FRANK FORAKER                                                         482 W FIRST ST                                                                         PALISADE               CO      81526
FRANK FOSTER                                                          501 COLDSTREAM DR                                                                      TALLAHASSEE            FL      32312-2807
FRANK G LAHMAN                                                        1526 LAKEVIEW DRIVE                                                                    SILVERTON              OR      97381-8742
FRANK GLENN JACOBS                                                    PO BOX 933                                                                             EAGAR                  AZ      85925
FRANK GOE                                                             111 HIGHWAY 164                                                                        PERRY                  OK      73757
                                                                                                                    9211 Lake Hefner
Frank Griffin                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK      73120
                                   c/o Laminack, Pirtle & Martines,
Frank Griffin                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
Frank Griffin                                                         1812 N. Firewood Ave                                                                   Broken Arrow           OK      74012
FRANK H BYRNE ESTATE OF                                               PO BOX 226270                                                                          DALLAS                 TX      75222-6270
FRANK HERNANDEZ                                                       813 N FLORA                                                                            WICHITA                KS      67212
FRANK HORGER                                                          113 WARBONNET TR                                                                       DEL RIO                TX      78840-2032
FRANK JAY                                                             PO BOX 6453                                                                            KINGWOOD               TX      77325-6453
FRANK JUNIOR DVORAK ESTATE                                            10751 CHISHOLM                                                                         PERRY                  OK      73077
FRANK LYON                                                            DBLIN HI RD                                                                            GREENWICH              CT      06830
FRANK MAHAN                                                           PO BOX 20669                                                                           OKLAHOMA CITY          OK      73156
FRANK POSPISIL                                                        1925 N. 2910 ROAD                                                                      HENNESSEY              OK      73742-7311
FRANK PRALLE                                                          2419 W ALASKA AVE                                                                      FLAGSTAFF              AZ      86001
FRANK RAIGOZA DECEASED                                                RR 4 BOX 153                                                                           STILLWATER             OK      74960
FRANK REICH                                                           3343 S NIAGARA WAY                                                                     DENVER                 CO      80224-2827
FRANK ROSS BILLINGSLEA                                                8452 LINK HILLS LOOP                                                                   GAINESVILLE            VA      20155
FRANK SHIRLEY                                                         807 MARYLAND DR                                                                        AUSTIN                 TX      78758-7429
FRANK SMITH                                                           5712 PARKHURST RD                                                                      EDMOND                 OK      73034
FRANK SMITHBERGER                                                     45388 SUGARTREE RIDGE RD                                                               WOODSFIELD             OH      43793-9477
FRANK SOLODKIN                                                        412 W MAIN                                                                             OKLAHOMA CITY          OK      73102
FRANK STEDRONSKY                                                      2529 AUGUSTA DRIVE                                                                     NAPLES                 FL      34109
FRANK SWART                                                           24 DRENNON RD                                                                          TAFT                   TN      38488-5272
FRANK SWIM                                                            5 STILLWOOD LN                                                                         CATSKILL               NY      12414


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FRANK THOMPSON                                                           2532 SOMERSET PL                                                                       OKLAHOMA CITY      OK      73116
FRANK VANDERBILT                                                         10206 CHATTERTON DR                                                                    HOUSTON            TX      77043-3333
FRANK W DAVIS                                                            115 N DIVISION                                                                         GUTHRIE            OK      73044
FRANK W DAVIS & KAY DAVIS JT                                             115 N DIVISION                                                                         GUTHRIE            OK      73044
FRANK WILEY                                                              PO BOX 4595                                                                            VENTURA            CA      93007-0595
FRANK WINLAND C&F OIL & GAS LLC                                          36905 KNOWLTON LN                                                                      GRAYSVILLE         OH      45734-9776
FRANK WISEMAN                                                            17801 HARVEST                                                                          PERRY              OK      73077
                                                                                                                       9211 Lake Hefner
Frank Bevill                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Frank Bevill                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Frank Bevill                                                             10409 Durham Dr                                                                        Oklahoma City      OK      73162
Frank, Christopher                    c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK      74074
FRANKIE BURNELL                                                          2407 MEADOWS LN                                                                        SHERMAN            TX      75092-3021
FRANKIE COCKRELL                                                         PO BOX 795                                                                             MANVEL             TX      77578
FRANKIE DEFUENTES                                                        4665 N PORTLAND                                                                        CRESCENT           OK      73028
FRANKIE LEE HARREL                                                       PO BOX 160                                                                             LEEDEY             OK      73654-0160
FRANKIE SHELLHAMMER                                                      736 RICHMOND LANE                                                                      KELLER             TX      76248
FRANKIE SMITH                                                            3705 JUDY DRIVE                                                                        STILLWATER         OK      74075
FRANKLIN ARCHER                                                          PO BOX 45                                                                              SHELDON            MO      64784
FRANKLIN BARRY                                                           13550 JOHN WAYNE                                                                       PERRY              OK      73077
                                                                                                                       9211 Lake Hefner
Franklin C. Thompson                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Franklin C. Thompson                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Franklin C. Thompson                                                     8310 N. Sooner Rd                                                                      Oklahoma City      OK      73151
FRANKLIN COMBS                                                           4001 E 56TH ST                                                                         STILLWATER         OK      74074-8550
FRANKLIN COMBS & WILMA COMBS                                             4001 E 56TH ST                                                                         STILLWATER         OK      74074-8550
FRANKLIN D AND CAMILLA R MORTON JT                                       870915 S 3420 RD                                                                       CHANDLER           OK      74834-5018
FRANKLIN E WILKINS                                                       PO BOX 145                                                                             GARBER             OK      73738-0145
FRANKLIN ENERGY AND INVESTMENTS INC                                      10432 E HEFNER RD                                                                      JONES              OK      73049
Franklin, Bonnie                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
FRANKS DIESEL SERVICE INC                                                PO BOX 430                                                                             PERKINS            OK      74059-0430
FRANKS INTERNATIONAL                                                     DEPARTMENT 840                                                                         HOUSTON            TX      77210-4346
FRANNIE RUTHERFORD                                                       14444 S GLEN OAK RD                                                                    OREGON CITY        OR      97045
FRANNIFIN MINERALS LLC                                                   PO Box 350010                                                                          WESTMINSTER        CO      80035-0010
FRANTZ PASTORIUS                                                         1107 E 10TH AVE                                                                        BROOMFIELD         CO      80020
FRANZ FAMILY JOINT TRUST AGREEMENT                                       922 NW 11TH AVE #302                                                                   PORTLAND           OR      97209
Fratarcangeli, Dean                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
Frazier, LeeAnn                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
FRE LLC                                                                  1537 W MAIN ST                                                                         OKLAHOMA CITY      OK      73106-3013
FRED & CATHY BEEKMANN                                                    8606 E 96TH STREET N                                                                   OWASSO             OK      74055
FRED & MARY STARR TRUST                                                  23871 WILLOWS DR #19                                                                   LAGUNA HILLS       CA      92653
FRED AND MARGARET OLMSTEAD HW JT                                         PO BOX 232                                                                             MILFAY             OK      74046-0232
FRED ANTHIS                                                              5609 TAYLOR ST                                                                         OMAHA              NE      68104
FRED BARBOUR                                                             716 SOUTH 90TH EAST AV                                                                 TULSA              OK      74112
FRED BOEPPLE                                                             7404 PARK PL DR                                                                        N RICHLAND HILLS   TX      76182
FRED BURRIS                                                              1211 PARKVIEW                                                                          LAWTON             OK      73507
FRED CAPEL                                                               307 N RACETRACK RD                                                                     HENDERSON          NV      89015

FRED CHASALOW & SANDRA CHASALOW JTW                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
FRED CLIFTON                                                             113 ABERDEEN DR                                                                        WICHITA FALLS      TX      76302-3112
FRED D GILLEY JR                                                         12611 N CR 3232                                                                        PAOLI              OK      73074
                                                                                                                       9211 Lake Hefner
Fred D. Hopkins                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Fred D. Hopkins                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Fred D. Hopkins                                                          339 Harvest Hills                                                                      Harrah             OK      73045
FRED DAVIES                                                              3357 E BOULDER HEIGHTS DR                                                              BOISE              ID      83712-8579


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FRED E HAWORTH, JR                                                       2614 DELOREAN ST                                                                       FERNANDINA BEACH   FL      32034
FRED ESCH FREDERICK J ESCH                                               19967 GIBBS DR                                                                         SONORA             CA      95370-9428
FRED FLETCHER                                                            1817 W SUGNET RD                                                                       MIDLAND            MI      48640
FRED GAGLIARDI                                                           1208 KINGSDTON CT                                                                      EDMOND             OK      73034
FRED GOODWIN                                                             113 ELMHURST COURT                                                                     BARTLESVILLE       OK      74006-2606
FRED HAWORTH, SR                                                         PO Box 15915                                                                           FERNANDINA BEACH   FL      32034
FRED HAYES                                                               508 E OKLAHOMA AVE                                                                     GUTHRIE            OK      73044-3416
FRED J GAGLIARDI JR & JO ANN                                             1208 KINGSTON CT                                                                       EDMOND             OK      73034-3222
FRED JOHNSON                                                             7813 NE 55TH ST                                                                        KANSAS CITY        MO      64119-4107
FRED KNISLEY                                                             PO BOX 212                                                                             CORDELL            OK      73632
FRED L HENDERSON                                                         400 N E 102ND ST                                                                       OKLAHOMA CITY      OK      73114
FRED LOWRIE                                                              786 E CR 65                                                                            MULHALL            OK      73063

FRED M KNIGHT & BETTYBEL SNEED KNIG                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
FRED MALZAHN                                                             810 JEFFERSON AVE                                                                      NEW ORLEANS        LA      70115
FRED MARTIN                                                              3616 FLORA DR                                                                          NORMAN             OK      73026
FRED MCBEE                                                               PO BOX 196                                                                             FELT               OK      73937
FRED MCNEILL                                                             PO BOX 36                                                                              MULHALL            OK      73063
FRED MILLS                                                               812 S SILVER LAKE RD                                                                   CASTLE ROCK        WA      98611-8006
FRED R BRISTOL                                                           PO BOX 6944                                                                            SAN ANTONIO        TX      78209
FRED REED AND JOAN REED JT                                               401 SE 2ND ST                                                                          PERKINS            OK      74059
FRED RHONDA SCHROEDER                                                    6402 E 56TH ST                                                                         STILLWATER         OK      74074-6363
FRED SCHONWALD                                                           9434 CEDAR LAKE AVENUE                                                                 OKLAHOMA CITY      OK      73114
FRED SHORT                                                               611 WEST TEXAS                                                                         ANADARKO           OK      73005
FRED SMITH                                                               2661 VZ COUNTY ROAD 2816                                                               MABANK             TX      75147-4691
FRED STOOPS                                                              8801 S YALE STE 420                                                                    TULSA              OK      74137
FRED TAYLOR                                                              224 EAST LAKE DR                                                                       ROBERT LEE         TX      78633
FRED TSCHIFFELY                                                          9011 EASTRIDGE RD                                                                      GOLDEN             CO      80403-8335
FRED W SHIELD & COMPANY                                                  PO BOX 90627                                                                           SAN ANTONIO        TX      78209-9088
FRED W. STANDEFER 1982 REV TR                                            PO BOX 940                                                                             CARBONDALE         CO      81623-0940
                                                                                                                       9211 Lake Hefner
Freda Ann Lang                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Freda Ann Lang                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Freda Ann Lang                                                           2621 Patti Pl                                                                          Oklahoma City      OK      73120
FREDA GRAHAM                                                             1001 DELAWARE ST                                                                       PERRY              OK      73077-6257
FREDA HOOVER                                                             2047 BRITLEY PARK XING                                                                 WOODSTOCK          GA      30189-6799
FREDA JOAN WAHL REV TRUST                                                1580 LARKIN AVE                                                                        SAN JOSE           CA      95129
FREDDI PRINSTER                                                          7425 E AUTUMN LN                                                                       PRESCOTT VALLEY    AZ      86315
                                                                                                                       9211 Lake Hefner
Freddie Downs                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Freddie Downs                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Freddie Downs                                                            948 NE 19th St                                                                         Oklahoma City      OK      73105
FREDDIE HEJDUK                                                           11501 HEARTHSTONE DR                                                                   FISHERS            IN      46037
                                                                                                                       9211 Lake Hefner
Freddie L. Davis                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Freddie L. Davis                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Freddie L. Davis                                                         1120 Babek St.                                                                         Prague             OK      74864
FREDDY GRAYBILL                                                          118 CHIPPENDALE DRIVE                                                                  HENDERSONVILLE     TN      37075
FREDDY YOUNG                                                             712 W 80TH                                                                             STILLWATER         OK      74074
FREDERICK COATS                                                          PO BOX 891                                                                             CABAZON            CA      92230
FREDERICK E TAPPE & YVONNE TAPPE JT                                      15201 JOHN WAYNE                                                                       PERRY              OK      73077
FREDERICK G DELANEY III                                                  3634 JENNINGS STREET                                                                   SAN DIEGO          CA      92106-2847
FREDERICK HARPER                                                         PO BOX 1171                                                                            ARKANSAS CITY      KS      67005
FREDERICK KEZER                                                          3513 76TH ST APT 51                                                                    JACKSON HEIGHTS    NY      11372
FREDERICK L. LANG                                                        PO Box 528                                                                             PHILADELPHIA       MS      39350



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FREDERICK M DEAN ROHRIG ATTORNEY AT                                      PO BOX 128                                                                              MIDDLEBOURNE      WV      26149-0128
FREDERICK M SCOTT III                                                    PO BOX 705                                                                              ELK CITY          OK      73648
Frederick Moss                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Frederick Moss                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
Frederick Moss                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
Frederick Moss                                                           1911 Copperhead Ln                                                                      Stillwater        OK      74074
FREDERICK R BECK SR                                                      619 E COLLEG AVE                                                                        GUTHRIE           OK      73044
FREDERICK SPEAKMAN                                                       4424 S FRANKLIN ST                                                                      FORT MOHAVE       AZ      86426
FREDERICK THEOPHIL & SUSAN KAY                                           659 BUFFALO LANE                                                                        CAPE GIRARDEAU    MO      63701
FREDERICK URBEN                                                          3609 CANADIAN PKWY                                                                      FORT COLLINS      CO      80524
FREDERICK WALLACE                                                        7655 CIRCULO SEQUOIA                                                                    CARLSBAD          CA      92009
FREDERICK YULE                                                           1167 GARRETT CT                                                                         SAN JOSE          CA      95120
FREDERICK ZWEIFEL                                                        2726 E JAMISON PL                                                                       CENTENNIAL        CO      80122-3325
FREDERICKSBURG ROYALTY LTD                                               PO BOX 1491                                                                             SAN ANTONIO       TX      78295-1481
FREDRIC OWENS                                                            1453 COUNTY ROAD J                                                                      RIVER FALLS       WI      54022
FREDRICK AF BERRY REV LIV TRUST                                          113 CAMINO ESCONDIDO                                                                    SANTA FE          NM      87501
FREDRICK HARDIN                                                          111 S WATER AVE                                                                         GALLATIN          TN      37066
                                                                                                                       9211 Lake Hefner
Fredrick Johnson                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Fredrick Johnson                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Fredrick Johnson                                                         1530 E. Seminole St.                                                                    Tulsa             OK      74106

FREDRICK V & KAREN M GREEN REV TRUS                                      7000 MERCEDES AVE                                                                       CITRUS HEIGHTS    CA      95621
FRED'S SIGNS                                                             522 NORTH CLASSEN BLVD                                                                  OKLAHOMA CITY     OK      73106
                                                                                                                       9211 Lake Hefner
Fredy Aguilar                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Fredy Aguilar                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Fredy Aguilar                                                            605 SW 35th St                                                                          Oklahoma City     OK      73109
FREE METHODIST CHURCH OF N AMERICA                                       770 N HIGH SCHOOL RD                                                                    INDIANAPOLIS      IN      46214-3688
FREEDOM ENERGY LLC                                                       4119 RUFFIN CT                                                                          EDMOND            OK      73025-0825
FREEDOM OIL & GAS CORPORATION                                            PO BOX 18502                                                                            OKLAHOMA CITY     OK      73154-0502
FREEDOM ROYALTIES LP                                                     130 N 1ST W                                                                             RIGBY             ID      83442
FREEMAN L & LETTIE L DILBECK TR                                          1224 N PAYNE ST                                                                         STILLWATER        OK      74075-6910
FREEMAN L & LETTIE L DILBECK TR UND                                      1224 N PAYNE ST                                                                         STILLWATER        OK      74075
FREEMAN MINERALS LLC                                                     221 SAGE RD                                                                             HOUSTON           TX      77065
FREIDA WORTHINGTON ESTATE                                                1503 O'DANIEL                                                                           HUTCHINSON        KS      67501
FRETA SUE GRASSMAN                                                       1716 SE 1ST STREET                                                                      MOORE             OK      73160
FRIEDA CARMACK CORLEY                                                    3505 103RD ST                                                                           LUBBOCK           TX      79423
FRIEDA JOSEPHINE TANNER JONES                                            1114 NORTH 9TH ST                                                                       ARKANSAS CITY     KS      67005
FRIEDRICK SEIBOLDT                                                       2207 ASPEN ST                                                                           RICHARDSON        TX      75082
FRITS PROPERTIES LLC                                                     2820 E SUNRISE                                                                          STILLWATER        OK      74075
FRITZ A BARKER TRUST                                                     4605 N MILLER                                                                           OKLAHOMA CITY     OK      73112
FRITZ E SCHEIHING & NANCY A SCHEIHI                                      11271 N MIDWEST BLVD                                                                    MULHALL           OK      73063
FRONTIER                                                                 PO BOX 20550                                                                            ROCHESTER         NY      14602-0550
FRONTIER COMMUNICATIONS                                                  300 BLAND STREET                                                                        BLUEFIELD         WV      26701
FRONTIER COMMUNICATIONS                                                  PO BOX 20550                                                                            ROCHESTER         NY      14602-0550
FRONTIER LAND SURVEYING                                                  600 W. 18TH STREET                                                                      EDMOND            OK      73013-3631
FRONTIER TUBULAR SOULTIONS LLC                                           PO BOX 96-0072                                                                          OKLAHOMA CITY     OK      73196
FRONTLINE SYSTEMS INC                                                    PO BOX 4288                                                                             INCLINE VILLAGE   NV      89450-4288
FROST BANK                                                               PO BOX 1600                                                                             SAN ANTONIO       TX      78296
FROST BANK TRUSTEE ACCT NO F5178500                                      PO BOX 1600                                                                             SAN ANTONIO       TX      78296
FROST BROWN TODD LLC                                                     400 W MARKET ST FL 32                                                                   LOUISVILLE        KY      40202-3346

FRYMOYER SP LIVING TRUST                                                 5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY          TX      75070
FS Investments                        Attn: Grace Hutchinson             201 Rouse Boulevard                                                                     Philadelphia      PA      19112
FTS INTERNATIONAL SERVICES FKA: FR                                       301 East 18th Street                                                                    Cisco             TX      76467


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FUELQUEST INC                                                    421 NW 13TH SUITE 210                                                              OKLAHOMA CITY      OK      73103
FULLER ENERGY LLC                                                1024 NW 71ST ST                                                                    OKLAHOMA CITY      OK      73116
FULLER PRODUCTION INC                                            PO BOX 11327                                                                       MIDLAND            TX      79702
FUSE3 SOLUTIONS LLC                                              2501 LIBERTY PKWY STE 700-A                                                        OKLAHOMA CITY      OK      73110-2856
FUSION INDUSTRIES LLC                                            PO BOX 741383                                                                      ATLANTA            GA      30374-1383

FUTURE ENERGY SERVICES OF OKLAHOMA                               5000 ELDORADO PKWY, SUITE 150                                                      FRISCO             TX      75033
G & C OIL COMPANY LLC                                            39144 PLEASANT RIDGE RD                                                            GRAYSVILLE         OH      45734
G & C PETROLEUM INC                                              102 W BOSTON AVE                                                                   YALE               OK      74085-2502
G & M BODY SHOP INC                                              2207 E 6TH AVE                                                                     STILLWATER         OK      74074-6504
G & M BODY SHOP WEST                                             5104 W 6TH AVE                                                                     STILLWATER         OK      74074-6707

G AND H COLEMAN PROPERTIES AN OKLAH                              2929 N COLTRANE RD                                                                 EDMOND             OK      73034-6889
G AND L MINERALS LLC                                             PO BOX 417                                                                         HINTON             OK      73047
G AND P WARD TRUST                                               3604 S HUSBAND ST                                                                  STILLWATER         OK      74074-7540

G ANN HOLCOMB & JANE G ROTHER TRSTS                              25200 S 640 ROAD                                                                   GROVE              OK      74344-4427
G ATCHELEY GEESLIN FLP                                           PO Box 2640                                                                        MIDLAND            TX      79702
G BARNETT                                                        1020 WHEATLAND CV                                                                  BENTON             AR      72019-8579
G E STAHL ASSET MGMT TRUST                                       1203 S FLORIDA                                                                     AMARILLO           TX      79102
G ERWIN                                                          141 NW 36TH ST                                                                     LAWTON             OK      73505-6120
G H BLANKENSHIP INC                                              33471 SPINNAKER DR S                                                               MONARCH BEACH      CA      92629-4435
G HARTMAN                                                        2038 MAIDEN LN SW                                                                  ROANOKE            VA      24015
G J LEE LLC CO                                                   PO BOX 417                                                                         CRESCENT           OK      73028
G JEFF BRIDGEMAN                                                 PO BOX 1046                                                                        MINERAL WELLS      TX      76068
G MCLURE                                                         2020 W LOUISVILLE                                                                  BROKEN ARROW       OK      74012
G MILNER                                                         11 OAKMOORE                                                                        ROUND ROCK         TX      78664
G NORMAN AND JOYCE LOUISE RICHMOND                               2605 EAST LAKEVIEW ROAD                                                            STILLWATER         OK      74075
G RICE                                                           4809 E 9TH ST                                                                      CUSHING            OK      74023-2941
G ROBERT ATTRIDE                                                 PO BOX 276                                                                         RANCHO CUCAMONGA   CA      91729
G SMITH                                                          6700 GOLF DR                                                                       DALLAS             TX      75205
G THOMAS                                                         PO BOX 1673                                                                        CHICKASHA          OK      73023-1673
G W PARKINSON                                                    601 S WASHINGTON ST BOX 211                                                        STILLWATER         OK      74074
G WELDON MARTIN                                                  4506 WENTWORTH DR                                                                  FULSHEAR           TX      77441

G&C CONSTRUCTION G&C ENERGY SRVCS                                9185 PAYSPHERE CIRCLE                                                              CHICAGO            IL      60674
G&C PETROLEUM INC                                                102 W BOSTON AVE                                                                   YALE               OK      74085-2502
G&G TUBULAR SALES INC                                            PO BOX 54405                                                                       OKLAHOMA CITY      OK      73154
G&J MEASUREMENT INC                                              2004 TOWNSEND                                                                      DUNCAN             OK      73533
G&R WELL SERVICE LLC                                             PO BOX 442                                                                         HENNESSEY          OK      73742
G. GAY WION REVOCABLE TRUST                                      PO BOX 3627                                                                        TULSA              OK      74101
G3 ENERGY, LLC                                                   PO BOX 971                                                                         JACKSBORO          TX      76458
G3 OIL & GAS LLC                                                 PO BOX 971                                                                         JACKSBORO          TX      76458
GABLE & GOTWALS                       ATTN: David Keglovits      100 W 5th St                                  Ste 1100                             Tulsa              OK      74103-4217
GABLE & GOTWALS                                                  100 W 5TH ST STE 1100                                                              TULSA              OK      74103-4217
GABLE CARRELL                                                    1101 BELFORD AVE                                                                   OKLAHOMA CITY      OK      73116
GABRIEL FARIS CONSTANTINE                                        25549 WHITE OAK DR                                                                 HEMET              CA      92544
GABRIEL FRIESEN                                                  6608 N WESTERN AVE #532                                                            OKLAHOMA CITY      OK      73116
GABRIELLE TAYLOR                                                 311 W 24TH ST                                                                      VANCOUVER          WA      98660-2528
GAEDE VENTURES LLC                                               2937 S ROCKFORD RD                                                                 TULSA              OK      74114
GAFFNEY LUMAYE LLC                                               7513 HAMNER LANE                                                                   PLANO              TX      75024
GAFFNEY MORGAN LLC                                               7513 HAMNER LANE                                                                   PLANO              OK      75024
GAFFNEY THOMPSON LLC                                             7513 HAMNER LANE                                                                   PLANO              TX      75024
GAGE HARTMAN                                                     1490 CEDRO CIRCLE                                                                  SANDY              UT      84093
                                                                                                               9211 Lake Hefner
Gagelene Tyree                        c/o Atkins & Markoff       Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104        Oklahoma City      OK      73120
Gagelene Tyree                        c/o Girardi Keese          Attn: Thomas V. Girardi                       1126 Wilshire Blvd                   Los Angeles        CA      90017
Gagelene Tyree                                                   11251 Don Dr                                                                       Guthrie            OK      73044
GAIL BEARDEN                                                     14959 LEMAY ST                                                                     VAN NUYS           CA      91405


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GAIL COLVIN                                                              15801 S 4110 RD                                                                        CLAREMORE        OK      74017
GAIL CUMMINS                                                             5215 NEW TIN TOP RD                                                                    WEATHERFORD      TX      76087-7438
GAIL D HILL REV TRUST                                                    7909 W 9TH ST                                                                          RIPLEY           OK      74062-6390
GAIL D HILL REVOCABLE TR                                                 7909 W 9TH ST                                                                          RIPLEY           OK      74062-6390
GAIL FRITSCHE                                                            5202 S LONGVIEW DR                                                                     STILLWATER       OK      74074
GAIL GAYLE                                                               PO BOX 517                                                                             DENISON          TX      75021-0517
GAIL HILL                                                                7909 W 9TH ST                                                                          RIPLEY           OK      74062-6390
GAIL HOUSE                                                               1233 VALLEY AVE APT 102                                                                WASHINGTON       DC      20032
GAIL JONES                                                               31435 47TH AVE S                                                                       AUBURN           WA      98001
GAIL KING                                                                420 ROBERTS DR                                                                         SAGINAW          TX      76179
GAIL KLUSMEYER                                                           24601 CR 120                                                                           PERRY            OK      73077
GAIL L FORD ESTATE                                                       515 BENT CREEK DR                                                                      WOODWARD         OK      73801
                                                                                                                       9211 Lake Hefner
Gail L. Ramirez                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gail L. Ramirez                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Gail L. Ramirez                                                          2903 Charring Cross                                                                    Stillwater       OK      74074

GAIL M PATTERSON                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
GAIL MARIE PACE                                                          103 BRCKENRIDGE COURT                                                                  HENDERSONVILLE   TN      37075
GAIL PENDLETON                                                           713 E 86TH AVE                                                                         STILLWATER       OK      74074-8104
GAIL PETERSON                                                            75225 S 4723 RD                                                                        WESTVILLE        OK      74965-7029
GAIL POPLIN                                                              101 BANA DR                                                                            ENID             OK      73703
GAIL RITCHEY                                                             2834 BLACK HORSE LANE                                                                  PASO ROBLES      CA      91446
GAIL SWANSTROM                                                           7870 SW PARRWAY DR.                                                                    PORTLAND         OR      97225
GAIL TAYLOR                                                              4914 S VASSAR RD                                                                       MULHALL          OK      73063-2712
GAIL WHITCOMB                                                            3011 LOCKE LANE                                                                        HOUSTON          TX      77019
GAINESVILLE FUEL INC                                                     PO BOX 416                                                                             GAINESVILLE      TX      76241-0416
GALATYN MINERALS LP                                                      PO BOX 41779                                                                           AUSTIN           TX      78704
GALE COLEMAN                                                             13117 COBBLESTONE PARKWAY                                                              OKLAHOMA CITY    OK      73142
GALE DEFUENTES                                                           PO BOX 511                                                                             CRESCENT         OK      73028
GALE F GRASSMAN                                                          1526 CARROLL DR                                                                        GARLAND          TX      75041
GALE KIMBALL                                                             12525 N PENN APT 111                                                                   OKLAHOMA CITY    OK      73120
GALE L DOUGLAS                                                           2403 SW 90TH ST                                                                        OKLAHOMA CITY    OK      73159
GALE NACHTIGAL                                                           1405 WILLOW ROAD                                                                       NEWTON           KS      67114
GALE R KIMBALL DANIEL KIMBALL LORI                                       12525 N PENN APT 111                                                                   OKLAHOMA CITY    OK      73120
GALE ROBINSON ESTATE DECD                                                1018 CARLISLE DR                                                                       RAYMORE          MO      64083
GALE SCOTT                                                               905 CARROLL AVE                                                                        LUFKIN           TX      75904-5573
GALEARD ROPER                                                            1304 W. AVENUE E                                                                       ELK CITY         OK      73644
GALEN HEDGES LIFE ESTATE                                                 1938 CECIL STREET                                                                      WAYNOKA          OK      73860
GALLAGHER RULE                                                           619 N WALNUT AVENUE                                                                    NEWKIRK          OK      74647
Gallagher, Brad                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
GALLASPY OIL PROPERTIES LLC                                              PO BOX 471586                                                                          TULSA            OK      74147
GALLEGOS LAND & CATTLE LLC                                               1511 S SANGRE RD                                                                       STILLWATER       OK      74074-1869
GALMOR G&G STEAM SERVICE INC                                             PO BOX 349                                                                             SHAMROCK         TX      79079
GALYN BLACK                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
GALYN BLACK                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
GAMMA OIL AND GAS LLC                                                    PO BOX 7731                                                                            EDMOND           OK      73083
GANNETT PEAK LLC                                                         PO BOX 2944                                                                            CASPER           WY      82605
GANNON MENDEZ                                                            206 FAIRWAY DR                                                                         PERKINS          OK      74059-4456
GARDNER-WEAVER FAMILY PROP LLC                                           285 RIVERSIDE DRAPT 13C                                                                NEW YORK         NY      10025

GARDNER-WEAVER FAMILY PROPERTIES LL                                      285 RIVERSIDE DR APT 13C                                                               NEW YORK         NY      10025
GARFIELD COUNTY CLERK                                                    114 W BROADWAY AVE STE 105                                                             ENID             OK      73701-4024
GARFIELD COUNTY COMMISSIONERS                                            100 W. BROADWAY AVE ROOM 101                                                           ENID             OK      73701
GARFIELD COUNTY DAILY LEGAL NEWS                                         PO Box 1109                                                                            ENID             OK      73702
GARFIELD COUNTY TREASURER                                                PO BOX 489                                                                             ENID             OK      73702-0489
Garfield County Treasurer                                                114 W. Broadway Ave.                          #104                                     Enid             OK      73701
GARI ROBINSON                                                            3808 N RIPLEY RD                                                                       STILLWATER       OK      74075


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GARLAND FORD                                                             4809 PEPPERIDGE PL                                                                     ODESSA           TX    79761-2216
GARLAND WOODS                                                            5283 WHITEWING DR                                                                      BULVERDE         TX    78163
Garmon, Brittni                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK    73116

GAROLD L FLEMING IRA                                                     5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX    75070
GARRELL MOORMAN                                                          11700 S ROSE RD                                                                        PERKINS          OK    74059-3664
GARRETT & COMPANY RESOURCES LLC                                          9701 BROADWAY EXT                                                                      OKLAHOMA CITY    OK    73114-6316
GARRETT DEAN YOCUM                                                       5600 NW 66TH ST                                                                        WARR ACRES       OK    73132
GARRETT FAMILY TRUST                                                     2325 W 7TH AVE                                                                         STILLWATER       OK    74074-1904
GARRETT GIL                                                              3302 S GREEN VALLEY DR                                                                 STILLWATER       OK    74074-7241
GARRETT GOLDEN                                                           3605 PRINCETON AVE                                                                     DALLAS           TX    75205-3248
GARRETT GRANT YANCEY                                                     3103 GULF AVE                                                                          MIDLAND          TX    79705
GARRETT R HANSON                                                         1733 MILLBANK ST SE                                                                    GRAND RAPIDS     MI    49508-2669
GARRETT ROBBINS                                                          5711 E SPIVA LN                                                                        PERKINS          OK    74059-4463
GARRETT STEINER                                                          394780 W 2550 RD                                                                       OCHELATA         OK    74051-2115
GARRISON BROS OILFIELD SERVICE                                           PO BOX 967                                                                             EL RENO          OK    73036
GARRISON LINN                                                            10304 PARK RD                                                                          EDMOND           OK    73034
                                                                                                                       9211 Lake Hefner
Garry A. Newbold                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Garry A. Newbold                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Garry A. Newbold                                                         736 E Broadway St                                                                      Cushing          OK    74023
GARRY KIRK                                                               85 CHELSEA AVE                                                                         NAPA             CA    94558-5736
GARRY MONTGOMERY                                                         6437 STERLING DR                                                                       OKLAHOMA CITY    OK    73132
GARVIN MCGETTRICK                                                        1331 SILVERTHORN DR                                                                    SAINT PAUL       MN    55126-5640
GARY & CAROL DEMAR                                                       129 MIDWAY RD                                                                          MARIETTA         GA    30064
GARY A & VIVIAN STEINHAUER REV TRUS                                      3141 Noll Valley Cir                                                                   Verona           WI    53593
GARY A DEMRO & CYNTHIA A DEMRO JT                                        12 GREENHORN BOG                                                                       FARIBAULT        MN    55021

GARY A MONROE & ASSOCIATES PETROLEU                                      2409 S 51ST CT                                                                         FORT SMITH       AR    72903
GARY AND CHRISTINE REED REV TR                                           PO BOX 1230                                                                            PORTERVILLE      CA    93258-1230
GARY AND LINDA K CARNES                                                  1001 E. 17TH AVE                                                                       STILLWATER       OK    74074-6014
GARY AND SHARON KINDAL HW                                                PO BOX 10359                                                                           PALMER           AK    99710
GARY ARNDT                                                               9821 W PURDUE AVE                                                                      ENID             OK    73703
GARY ARNETT                                                              1100 NE JORDAN LN                                                                      REDMOND          OR    97756
GARY ATCHISON                                                            102 HILL CIR                                                                           LEVELLAND        TX    79336
GARY AUSTIN                                                              107 JOSE POCO STREET                                                                   FRITCH           TX    79036-8099
GARY B GOSSETT                                                           5576 W RICHERT AVE                                                                     FRESNO           CA    93722-3723
GARY B HOMSEY INVESTMENTS LLC                                            4816 CLASSEN BLVD                                                                      OKLAHOMA CITY    OK    73118
GARY BENNETT                                                             16 ELIZABETH CT                                                                        MYSTIC           CT    06355-3111
GARY BLAIR                                                               18900 DEER RIDGE                                                                       STILLWATER       OK    74075
GARY BLUE                                                                913 NW 12TH ST APT 505                                                                 OKLAHOMA CITY    OK    73106
GARY BROWN                                                               PO BOX 643                                                                             FRIONA           TX    79035-0643
GARY BROWN                                                               18424 N 2940 RD                                                                        KINGFISHER       OK    73750
GARY BRYAN PRICHARD                                                      1900 ALICE ST                                                                          AMARILLO         TX    79106
GARY BUCK                                                                3412 PITT ST NE                                                                        ALBUQUERQUE      NM    87111-4806
GARY C RISELEY                                                           205657 US HIGHWAY 60                                                                   VICI             OK    73859
GARY C WILKINS                                                           PO BOX 2179                                                                            LITTLETON        CO    80161
GARY CARLSEN                                                             PO BOX 1192                                                                            KINGSTON         WA    98346
GARY CARNES                                                              1001 E 17TH AVE                                                                        STILLWATER       OK    74074-6014
GARY CHESTER KAUTZ                                                       14216 SW 46TH CT                                                                       YUKON            OK    73099
GARY CHILTON                                                             10151 MERIWEATHER GROVE AVE                                                            LAS VEGAS        NV    89166
GARY CHRISTIANS                                                          501 252ND AVENUE                                                                       SPIRIT LAKE      IA    51360
GARY CORNFORTH                                                           5151 HWY 33                                                                            GUTHRIE          OK    73044
GARY CULLEN                                                              11450 E MARGUERITE AVE                                                                 MESA             AZ    85208-5523
GARY CUNNINGHAM                                                          1600 S 13TH ST                                                                         KINGFISHER       OK    73750
GARY CUTRER                                                              315 COTTONWOOD ST                                                                      SAN ANGELO       TX    76901
GARY D HOLCOMB TRUST                                                     2408 SW 123RD STREET                                                                   OKLAHOMA CITY    OK    73170-4831



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                                                                                                                       9211 Lake Hefner
Gary D. Hardeman Jr.                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gary D. Hardeman Jr.                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Gary D. Hardeman Jr.                                                     9916 Devore Dr                                                                         Oklahoma City    OK      73162
GARY DEAN HENKE                                                          PO BOX 151                                                                             WELLSTON         OK      74881
GARY DEAN NIDA IRREV TRUST DTD 12-2                                      12109 BROOKHOLLOW RD                                                                   OKLAHOMA CITY    OK      73120
GARY DELANO                                                              122 MATTISON LN                                                                        APTON            CA      95003-3910
GARY DON TALIAFERRO                                                      831 NW 25TH AVE                                                                        PORTLAND         OR      97210
GARY E. REED                                                             565 N. CRESTVIEW CIRCLE                                                                PORTERVILLE      CA      93256
GARY ELLIS                                                               201 EAST SANDERSON                                                                     CRESCENT         OK      73028
GARY EVANS                                                               9246 KENNARD RD                                                                        LODI             OH      44254
GARY EYSTER                                                              PO BOX 229                                                                             MORRISON         OK      73061-0229
GARY FANCHER                                                             PO BOX 201                                                                             GLENCOE          OK      74032
GARY FERRELL AND LINDA FERRELL REV                                       PO BOX 431                                                                             MCLOUD           OK      74851
GARY FEWKES                                                              201 E TAYLOR ST                                                                        GRANT PARK       IL      60940-5523
GARY FISCHER                                                             14201 111TH AVE NE                                                                     KIRKLAND         WA      98034
GARY FOSTER                                                              5216 BRIAR TREE DR                                                                     DALLAS           TX      75248-6032
GARY FOUTCH                                                              PO BOX 376                                                                             LIBERTY          MO      64069
GARY FREEBORN                                                            631 ALAMO WAY                                                                          MUSTANG          OK      73064
GARY FRIEDMAN                                                            502 PARKSIDE RD                                                                        NORMAN           OK      73072
GARY FROSCH                                                              5121 E 19TH AVE                                                                        STILLWATER       OK      74074
GARY G LITTLE                                                            4175 DECATUR BLVD APT 214                                                              LAS VEGAS        NV      89103
GARY G SPENCER & JAYNE M SPENCER                                         1002 OAKRIDGE DR                                                                       STILLWATER       OK      74074-1108

GARY G SPENCER & JAYNE M SPENCER TR                                      1002 OAKRIDGE DR                                                                       STILLWATER       OK      74074-1108
GARY GINGRICH                                                            906 MILFORD ST                                                                         PORT ROYAL       PA      17082
GARY GOODENOUGH                                                          5615 NE 56TH AVE                                                                       VANCOUVER        WA      98661-2156
GARY GRAY                                                                8755 OLDE HICKORY AVE APT 7303                                                         SARASOTA         FL      34238-4364
GARY GRONINGER                                                           120 N 3RD ST                                                                           MIFFLINTOWN      PA      17059
GARY GUSSERT                                                             7112 S WASHINGTON ST                                                                   STILLWATER       OK      74074-9249
GARY HAFNER                                                              PO BOX 529                                                                             PERRY            OK      73077
GARY HAFNER & AMY HAFNER JT                                              PO BOX 529                                                                             PERRY            OK      73077
GARY HAGG                                                                1611 N CLAYTON                                                                         MARYVILLE        MO      64468
GARY HANEY                                                               1011 N PEACE                                                                           ELK CITY         OK      73644-2428
GARY HARMON                                                              2121 W 44TH ST                                                                         TULSA            OK      74107-6734
GARY HICKMAN                                                             4370 ALBERT RD                                                                         MOUNDS           OK      74047-5226
GARY HILL                                                                7025 NW 161ST                                                                          EDMOND           OK      32550
GARY HLAVAC                                                              921 SUNSET LANDING                                                                     RIO VISTA        CA      94571
GARY HOPFER                                                              11998 KELLBROAD                                                                        GUTHRIE          OK      73044
GARY HOPFER                                                              11998 KELLBROAD RD                                                                     GUTHRIE          OK      73044
GARY HOWARD                                                              800445 S 3460 RD                                                                       AGRA             OK      74824
                                                                                                                       9211 Lake Hefner
Gary Hunt                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gary Hunt                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Gary Hunt                                                                696 N Hickory St                                                                       Atoka            OK      74525
GARY HUNTER                                                              2550 S CARLSBAD CIRCLE                                                                 WICHITA          KS      67215
GARY IRONS                                                               4833 TRINA DR                                                                          OKLAHOMA CITY    OK      73115
GARY J BEEBY TRUST                                                       3130 N MADISON CT                                                                      STILLWATER       OK      74075
GARY JACKSON                                                             4220 ERIK AVE                                                                          AMARILLO         TX      79106-6009
GARY JAMES BEEBY                                                         3130 N MADISON CT                                                                      STILLWATER       OK      74075
GARY K GLADIN & NANCY CAROL GLADIN                                       2917 US 40                                                                             OAKLEY           KS      67748
GARY KEITH                                                               807 S LOWRY APT 301                                                                    STILLWATER       OK      74074
GARY KENT ARMOUR                                                         16581 W CO RD 76                                                                       CRESCENT         OK      73028
GARY KINCAID                                                             PO BOX 146                                                                             MULHALL          OK      73063
GARY KINNEY                                                              815 WILLMENT PL.                                                                       EDMOND           OK      73034
GARY KLASSEN                                                             1709 S BLAKE RD                                                                        SPOKANE VALLEY   WA      99216-2806
GARY KLEIN                                                               5409 E 6TH AVE                                                                         STILLWATER       OK      74074


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GARY KLOXIN                                                              215 N MANNING                                                                          STILLWATER          OK      74075
GARY KLUSMEYER                                                           24601 CR 120                                                                           PERRY               OK      73077
GARY KNOUSE                                                              24615 E HIGHWAY 164                                                                    COVINGTON           OK      73730
GARY L & MARILYN K THOMASON REV TR                                       2605 E YOST RD                                                                         GLENCOE             OK      74032
GARY L COCHRAN                                                           11035 LAVENDER HILL DR STE 160                                                         LAS VEGAS           NV      89135
GARY L COCKRELL                                                          30312 PETRAS ROAD                                                                      SAN BENITO          TX      78586
GARY L HAAS                                                              10863 HWY 28 W                                                                         DIXON               MO      65459
GARY L HAFNER FAMILY TRUST                                               PO Box 529                                                                             PERRY               OK      73077
GARY L. HELBERG                                                          4225 N. STATE HIGHWAY 97                                                               SAND SPRINGS        OK      74063
                                                                                                                       9211 Lake Hefner
Gary L. Ball                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gary L. Ball                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Gary L. Ball                                                             6512 SE 57th                                                                           Oklahoma City       OK      73135
GARY LAIRD                                                               10004 E 98TH ST N                                                                      OWASSO              OK      74055
                                                                         3831 TURTLE CREEK BOULEVARD NO
GARY LAUGHLIN TRUST UTA DTD 10-4-20                                      18D                                                                                    DALLAS              TX      75219-4480
GARY LEWIS                                                               625 BROOKSHIRE ST                                                                      BORGER              TX      79007-8419
GARY LINDAMAN                                                            11710 S GRANITE AVE                                                                    TULSA               OK      74137-8526
GARY LINDLEY                                                             1360 HACKBERRY DRIVE                                                                   GERING              NE      69341-2529
GARY LONGAN                                                              10304 S COTTONWOOD RD                                                                  PERKINS             OK      74059
GARY M GRAY                                                              1536 EL SUR CT                                                                         EL DORADO HILLS     CA      95762
GARY MACK AND JACQUE L BUTLER                                            2309 EAST WILL ROGERS DRIVE                                                            STILLWATER          OK      74075
GARY MADISON                                                             PO BOX 172                                                                             SULLIVANS ISLAND    SC      29482
GARY MANFORD                                                             824 MULLEN RD NW                                                                       LOS RANCHOS         NM      87107
GARY MCCUNE                                                              4209 E 19TH AVE                                                                        STILLWATER          OK      74074-6059
GARY MCCUTCHEN                                                           PO BOX 151                                                                             SPERRY              OK      74073
GARY MCKAIG GMAC CONSULTING                                              1301 CAMBRIDGE DRIVE                                                                   YUKON               OK      73099-3424
GARY MEEKE                                                               2047 WYOMING HILLS RD                                                                  MUSCATINE           IA      52761
                                                                                                                       9211 Lake Hefner
Gary Millarr                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gary Millarr                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Gary Millarr                                                             13146 N. 131st East Ave                                                                Collinsville        OK      74021
GARY MINNITE                                                             PO BOX 97                                                                              TRANQUILITY         CA      93668-0097
GARY MINSHALL                                                            336676 E 770 ROAD                                                                      TRYON               OK      74875
GARY MOELLER AND PAMELA M MOELLER                                        9533 SHADOWBROOK ROAD                                                                  CLAREMORE           OK      74017
GARY MOORE                                                               516 NOBLE                                                                              PERRY               OK      73077
GARY MOORES                                                              202 BELLEMEADE CIR                                                                     EUFALA              OK      74432
GARY MORGAN                                                              7513 HAMNER LANE                                                                       PLANO               TX      75024
GARY NEAL EASTON                                                         7315 GOLDEN IRIS CT                                                                    SPRINGFIELD         VA      22153
GARY NIDA LIVING TRUST                                                   12109 BROOKHOLLOW RD                                                                   OKLAHOMA CITY       OK      73120
GARY OSBORN                                                              1661 AUROURA DR                                                                        EL CENTRO           CA      92243
GARY PRICE                                                               PO BOX 801                                                                             PERRY               OK      73077
GARY REED                                                                PO BOX 1230                                                                            PORTERVILLE         CA      93258-1230
GARY REES                                                                790241 S 3400 RD                                                                       TRYON               OK      74875-7799
GARY RETHERFORD                                                          PO BOX 35803                                                                           TULSA               OK      74153-0803
GARY REYNOLDS                                                            11297 MOFFAT RD                                                                        TEMPLE              TX      76502-7190
GARY RICE                                                                1505 FLINTWOOD DR                                                                      RICHARDSON          TX      75081-5331
GARY ROBERT BAILY REV TRUST                                              2525 LARKSPUR DRIVE                                                                    PARK CITY           UT      84060
GARY RODENBERG                                                           3119 WHEELING DR                                                                       ST CHARLES          MO      63301
GARY ROSS JOHNSON                                                        2314 WAKE FOREST DR                                                                    DEER PARK           TX      77536
GARY RYTHER                                                              15420 RA HWY                                                                           EXCELSIOR SPRINGS   MO      64024
GARY SCHOVANEC                                                           106 DELAWARE                                                                           PERRY               OK      73077
GARY SHENOLD                                                             10120 E VFW RD                                                                         GLENCOE             OK      74032
GARY SHENOLD                                                             10210 E VFW RD                                                                         GLENCOE             OK      74032
GARY SHOENHAIR                                                           PO BOX 582                                                                             TIPTON              CA      93272
GARY SMART                                                               4921 HALEY LN                                                                          STILLWATER          OK      74074-8620
GARY SMITH                                                               3717 S WASHINGTON ST                                                                   STILLWATER          OK      74074-5900


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GARY SNYDER                                                              606 PLEASANT RIDGE DR                                                                  PERRY           OK    73077
GARY SPENCER                                                             1002 OAK RIDGE DR                                                                      STILLWATER      OK    74074
                                                                                                                       9211 Lake Hefner
Gary Steven Pistole                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Gary Steven Pistole                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Gary Steven Pistole                                                      12212 Rivendell Dr                                                                     Oklahoma City   OK    73170
GARY STEWART                                                             11016 S WESTERN                                                                        PERKINS         OK    74053-4089
GARY TACKETT AND JAMIE TACKETT                                           8907 W 9TH ST                                                                          RIPLEY          OK    74062-6384
GARY TARRANT                                                             318 W 32ND ST                                                                          SAND SPRINGS    OK    74063
GARY TRIPLETT                                                            10974 COYOTE CIR                                                                       ARCADIA         OK    73007
GARY VAVERKA                                                             1006 E VINE ST                                                                         CUSHING         OK    74023
GARY W DUFFIELD                                                          22204 N 92ND AVENUE                                                                    PEORIA          AZ    85383
GARY W GRASSMAN                                                          113 WOLF LN                                                                            LACY LAKEVIEW   TX    76705
GARY W NIVENS LIV TR                                                     8168 E CR 71                                                                           COYLE           OK    73027
GARY WALTERS                                                             3309 N CLEVELAND ST                                                                    ENID            OK    73703
GARY WARD                                                                5613 SAGE RD                                                                           STILLWATER      OK    74074-8514

GARY WAREHIME & RHONDA WAREHIME TIC                                      PMB 116                                                                                BARTLESVILLE    OK    74006-2428
GARY ZELLNER                                                             PO BOX 7103                                                                            EDMOND          OK    73083-7103
                                                                                                                       9211 Lake Hefner
Gary Ambrose                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Gary Ambrose                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Gary Ambrose                                                             2062 Vaquero Ct                                                                        Edmond          OK    73034
                                                                                                                       9211 Lake Hefner
Gary Hatcher                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Gary Hatcher                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Gary Hatcher                                                             3123 SW 18th                                                                           Oklahoma City   OK    73108
                                                                                                                       9211 Lake Hefner
Gary Johnson                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Gary Johnson                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Gary Johnson                                                             9227 NE 63rd St                                                                        Spencer         OK    73084
                                                                                                                       9211 Lake Hefner
Gary Jones                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Gary Jones                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Gary Jones                                                               1516 Sunrise                                                                           Moore           OK    73160
                                                                                                                       9211 Lake Hefner
Gary Orendorff                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Gary Orendorff                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Gary Orendorff                                                           16009 Brenton Ct                                                                       Edmond          OK    73013
GARYE GALLAWAY                                                           222 S. CHARLES DR                                                                      STILLWATER      OK    74074-6798
GARY'S AUTO BODY & COLLISION REPAIR                                      PO BOX 70                                                                              ELK CITY        OK    73648
GAS ANALYTICAL SERVICES INC                                              PO BOX 66900                                                                           CHICAGO         IL    60666-0900
GASTAR EXPLORATION INC                                                   1331 LAMAR ST STE 650                                                                  HOUSTON         TX    77010-3131
GASTON SERVICES INC.                                                     ROUTE 1 BOX 59-A                                                                       CAMARGO         OK    73835
GATCHELL 1990 REV TR DTD 8-21-90                                         1609 DORCHESTER DR                                                                     OKLAHOMA CITY   OK    73120
GATEWAY CONSULTING GROUP INC                                             8610 TRANSIT RD STE 100                                                                EAST AMHERST    NY    14051
GATEWAY SERVICE GROUP LLC                                                PO BOX 960                                                                             MEEKER          OK    74855-0960
Gatewood, Yelena                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK    73116
GAVIN H AND CHRISTINE K LANG                                             1301 KATY COURT                                                                        STIL            OK    74075
                                                                                                                       9211 Lake Hefner
Gavin Harris                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Gavin Harris                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006


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Gavin Harris                                                             1540 S. Florence Ave                                                                   Tulsa            OK       74104
GAVIN KNIGHT                                                             7909 E 60TH ST                                                                         TULSA            OK       74145
GAVIN LAUER                                                              110 WILLOW DR                                                                          DANVILLE         CA       94562
GAVIN NAILON                                                             PO BOX 302                                                                             GAGE             OK       73843-0302
Gavin, Tracy                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK       73116
GAY E COOK TTEE                                                          1606 REDSTONE MANOR DR                                                                 SPRING           TX       77379
GAY LEIKER                                                               311 HIDEAWAY HILL                                                                      EUREKA           MO       63025
GAY RAWLS FAULKENBERRY                                                   1813 PARKWOOD DRIVE                                                                    DUNCAN           OK       73533
GAY SIMPSON                                                              5132 NW REUTLINGER                                                                     MEDICINE LODGE   KS       67104
GAYE PFEIFFER REV TRUST DTD 11-23-9                                      5103 W HWY 51                                                                          MULHALL          OK       73063
GAYLA CHEARY                                                             9909 E BURKHART ST                                                                     GLENCOE          OK       74032
GAYLA LLOYD                                                              1215 E MAPLE ST                                                                        CALDWELL         ID       83605
GAYLA R RIGDON                                                           PO BOX 25                                                                              CAMARGO          OK       73835
GAYLA ROGERS                                                             1541 HANSON CIR                                                                        STILLWATER       OK       74075-8245
GAYLA S CRAINE                                                           2220 S KARSTEN CRK                                                                     STILLWATER       OK       74074-1082
GAYLA WADE                                                               4864 COUNTY ROAD 211                                                                   GAINESVILLE      TX       76240-1885
GAYLE ANN MORRIS                                                         PO BOX 840738                                                                          DALLAS           TX       75284-0738
GAYLE DAVIS                                                              10106 W PAWNEE                                                                         WICHITA          KS       67215
GAYLE HILL NOW GAYLE M HIGGS                                             12405 MAIDEN LN                                                                        OKLAHOMA CITY    OK       73142
GAYLE R WEST SAWYER                                                      205 MAPLE ST                                                                           SUISUN CITY      CA       94585
GAYLE WALLACE                                                            5868 RIVERSTONE CIR                                                                    ATLANTA          GA       30339
GAYLE WILLIAMS                                                           40 FREEMAN CT                                                                          CENTRAL POINT    OR       97502
                                                                                                                       9211 Lake Hefner
Gayle Caskey                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                      c/o Laminack, Pirtle & Martines,
Gayle Caskey                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Gayle Caskey                                                             14851 108th                                                                            Lexington        OK       73051
GAYLEE MCCOY                                                             5117 NORTH SAPULPA                                                                     OKLAHOMA CITY    OK       73112
GAYLEN KREJCI                                                            1312 W. CHEROKEE AVENUE                                                                ENID             OK       73703-5731
GAYLENE MOUNT                                                            7700 MIRANDA DR                                                                        EVANSVILLE       IN       47711
GB CREE ROYALTY PARTNERSHIP                                              PO BOX 1821                                                                            PAMPA            TX       79066-1821
GB ENERGY INC                                                            PO BOX 1673                                                                            CHICKASHA        OK       73023-1673
GBK 1976 A LIMITED PARTNERSHIP                                           PO BOX 1486                                                                            ARDMORE          OK       73402-2266
GBK INVESTMENTS LLC                                                      DEPT 637                                                                               TULSA            OK       74182
GCH MINERALS LLC                                                         621 N ROBINSON SUITE 100                                                               OKLAHOMA CITY    OK       73102
GCT INC                                                                  3208 ALPINE DRIVE                                                                      EDMOND           OK       73012
GCW ROYALTIES LLC                                                        7708 SOUTH DETROIT ST                                                                  CENTENNIAL       CO       80122
GDE O&G LLC                                                              42233 STATE ROUTE 78                                                                   WOODSFIELD       OH       43793

GE CAPITAL INFORMATION TECHNOLOGY S                                      PO BOX 740423                                                                          ATLANTA          GA       30374-0423
GE OIL & GAS ESP INC                                                     PO BOX 301200                                                                          DALLAS           TX       75353-1338
GE OIL & GAS PRESSURE CONTROL                                            PO BOX 911776                                                                          DALLAS           TX       75391-1776
GEARL B WRIGHT LIVING TRUST DTD 9-1                                      PO BOX 194                                                                             DAVENPORT        OK       74026
GEBRA HOLDINGS LLC                                                       4301 WEST MEMORIAL RD                                                                  OKLAHOMA CITY    OK       73134
GEMINI SOLUTIONS INC.                                                    702 MORTON STREET                                                                      RICHMOND         TX       77469
GENA HODGES                                                              31857 E COUNTY ROAD 1552                                                               PAULS VALLEY     OK       73075-8878
GENE & PHYLLIS HART REV TRUST AGMT                                       1705 E THIRD                                                                           STILLWATER       OK       74074
GENE BRANHAM                                                             22500 CR 140                                                                           PERRY            OK       73077

GENE BURDEN TRUCKING NORMAN E BURDE                                      PO BOX 593                                                                             ELK CITY         OK       73648-0593
GENE DOWDY                                                               11789 E HIGHWAY Z                                                                      STOCKTON         MO       65785-8294
GENE G & MARY A. VITEK REV LIVING T                                      10816 N WESTERN                                                                        STILLWATER       OK       74075
GENE HANEY                                                               4512 65TH ST, UNIT B                                                                   LUBBOCK          TX       79414
GENE HOLBROOK                                                            PO BOX 251                                                                             PERKINS          OK       74059-0251
GENE KROLL                                                               17901 HARVEST                                                                          PERRY            OK       73077
GENE L HOUSTON                                                           5422 E BISON RD                                                                        BISON            OK       73720-9319
GENE LOVEL                                                               199 HIBBARD ST #201                                                                    PIKEVILLE        KY       41501
GENE M LEACH                                                             503 N LOGAN RD                                                                         ORLANDO          OK       73073-2000
GENE RITTER                                                              6605 N BRUSHCREEK RD                                                                   GLENCOE          OK       74032


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GENE ROBERT GRAVES II AND                                                909 SALEM WAY                                                                          ELLISVILLE       MO    63021
GENE VARNEY                                                              2113 N PEARL                                                                           CENTRALIA        WA    98531
GENE W ROWE LIVING TR DTD 9-25-02                                        6201 S 257TH E AVE                                                                     BROKEN ARROW     OK    74014
                                                                                                                       9211 Lake Hefner
Gene Snider                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Gene Snider                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Gene Snider                                                              344845 E. 1064 Rd                                                                      Meeker           OK    74855

GENERAL ASSEMBLY AND CHURCH OF FIRS                                      1501 N PURDUE AVE                                                                      OKLAHOMA CITY    OK    73127-3916
GENERAL SUPPLY & SERVICES INC                                            PO BOX 840040                                                                          DALLAS           TX    75284
GENERATION FOUR DISPOSALS, LLC                                           PO BOX 366                                                                             LEEDEY           OK    73654
GENESIS OIL TOOL INC.                                                    1321 PLAINS AVE                                                                        WEATHERFORD      OK    73096
GENESIS OILFIELD PIPE & SUPPLY INC                                       4414 HWY 90 W                                                                          NEW IBERIA       LA    70560-7819
GENESIS RESOURCES LLC                                                    3901 BRISCOE RUN RD STE 9                                                              PARKERSBURG      NV    26104
GENESIS SYSTEMS INC                                                      2663 MARQUIS DR                                                                        GARLAND          TX    75042
GENEVA COFFMAN                                                           14200 N MAY AVE APT 1924                                                               OKLAHOMA CITY    OK    73134
GENEVA KIRTLEY                                                           ROUTE 3, BOX 229                                                                       ANADARKO         OK    73005
GENEVA SMALTZ                                                            9024 JASON DR                                                                          FORT WORTH       TX    76108-3555
GENEVIEVE HURST TRUST                                                    7305 SOUTH PERKINS ROAD                                                                STILLWATER       OK    74074
GENEVIEVE MCCALLA                                                        419 E MAIN ST APT 127                                                                  HENDERSONVILLE   TN    37075-2759
GENEVIEVE SCHURKENS                                                      PO BOX 68                                                                              PERRY            OK    73077
GENGLER LLC                                                              3121 N MADISON CT                                                                      STILLWATER       OK    74075
GENIE OIL & GAS CP                                                       PO BOX 3783                                                                            BROKEN ARROW     OK    74013-3783
GENIE WELL SERVICE INC                                                   2424 E 21ST STREET                                                                     TULSA            OK    74114
GENIEVE MECHAM                                                           511 WARREN RD                                                                          SAN MATEO        CA    94402
GENNELL MYERS                                                            3854 E HAMPTON                                                                         FRESNO           CA    93726
GENO O&G LLC                                                             1300 E 9TH ST UNIT 3                                                                   EDMOND           OK    73034
GENTRY FAMILY TRUST                                                      PO BOX 8363                                                                            RED BLUFF        CA    96080
GENTRY MINERALS LLC                                                      4216 N PORTLAND AVE STE 104                                                            OKLAHOMA CITY    OK    73112-6363
GEO 720 LLC                                                              PO BOX 848                                                                             SHATTUCK         OK    73858
GEOCOMP ENERGY LLC                                                       103 E VIRGINIA AVENUE SUITE 202                                                        MCKINNEY         TX    75069
GEODYNE RESOURCES INC.                                                   2 W 2ND ST                                                                             TULSA            OK    74103
GEOEDGES INC                                                             1440, 510-5TH STREET SW                                                                CALGARY          AB    T2P 3S2      CANADA
GEOFFREY BAGLEY                                                          6219 S INDEPENDENCE AVE                                                                OKLAHOMA CITY    OK    73159-1227

GEOFFREY BREEDLOVE TRUST UWO BRIAN                                       2750 WHISPER PATH ST                                                                   SAN ANTONIO      TX    78230-3721
GEOFFREY HARPER                                                          1000 JOAN CRESCENT                                                                     VICTORIA         BC    V8S 3L5      CANADA
GEOFFREY KYLE JONES                                                      PO Box 2640                                                                            MIDLAND          TX    79702
GEOFLO EXPLORATION CO                                                    4106 SHELBY DRIVE                                                                      AMARILLO         TX    79109
GEOMAP COMPANY                                                           1100 GEOMAP LN                                                                         PLANO            TX    75074
GEONET TEXOMA ENERGY COMPANY LLC                                         24080 HIGHWAY 59 SUITE 250                                                             KINGWOOD         TX    77338

GEORG OLAV ANDERSEN & ANNABELLE                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX    75070
GEORGANN MCCALEB REVOCABLE TR                                            2905 BROKEN BOW RD                                                                     EDMOND           OK    73013
GEORGE & HELEN BAKER FAMILY TRUST                                        2119 W HARRISON AVE                                                                    GUTHRIE          OK    73044

GEORGE & SARAH SEAY DESCENDANTS TRU                                      325 N SAINT PAUL ST STE 3500                                                           DALLAS           TX    75201-3869
GEORGE A & BETTY L ROSIERE TRST DTD                                      9038 E 68TH ST                                                                         STILLWATER       OK    74074
GEORGE A BRISCOE TRUST                                                   19151 N COUNCIL RD                                                                     EDMOND           OK    73012
GEORGE AMOS                                                              12568 BLOOMDALE RD                                                                     PORTAGE          OH    43451-9717
GEORGE AND AMY BRUN HW JT                                                14 CIMARRON TR                                                                         PERKINS          OK    74059-4165
GEORGE ANDREW TIPTON                                                     11261 W 27TH PL                                                                        LAKE WOOD        CO    80215
GEORGE B FUNNEL ESTATE                                                   78769 Tamarisk Flower Drive                                                            Palm Desert      CA    92211
GEORGE BAKER                                                             2119 W HARRISON AVE                                                                    GUTHRIE          OK    73044-4001
GEORGE BASKIN                                                            8107 HURST FOREST DR.                                                                  HUMBLE           TX    77346-4511
GEORGE BOYER                                                             717 N WILLOW DR                                                                        STILLWATER       OK    74075
GEORGE BRENTLINGER                                                       308 W MAIN ST                                                                          EDMOND           OK    73003
GEORGE BROWN                                                             3049 WHISPERING SPRINGS RD                                                             CASPER           WY    82604


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GEORGE BUCKLES                                                           319 LEROY AVE                                                                           PACIFIC          MO      63069-6065
GEORGE BUCKNER                                                           1319 VASSAR RD                                                                          ORLANDO          OK      73073
GEORGE C & CORRINE M NIZICH REV LIV                                      PO BOX 97                                                                               TOLOVANA PARK    OR      97145
GEORGE C BOWDEN                                                          17535 BOW RD                                                                            MULHALL          OK      73063

GEORGE C BOWDEN & MARY E BOWDEN JT                                       17535 BOW RD                                                                            MULHALL          OK      73063
                                                                                                                       9211 Lake Hefner
George C. Pratt                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
George C. Pratt                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
George C. Pratt                                                          4413 NW 59th St                                                                         Oklahoma City    OK      73112
GEORGE CHIGA                                                             PO BOX 699                                                                              GUTHRIE          OK      73044
GEORGE CRAIN                                                             5446 W STONE CREEK DR                                                                   HIGHLAND         UT      84003
GEORGE CREDICOTT                                                         PO BOX 1718                                                                             BRECKENRIDGE     TX      76424-1718
                                                                                                                       9211 Lake Hefner
George D Fanning                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
George D Fanning                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
George D Fanning                                                         4705 S. Serene Dr                                                                       Ripley           OK      74062

GEORGE D GARZA                                                           5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX      75070
GEORGE D RANDOLPH                                                        400 S JED DR                                                                            GUTHRIE          OK      73044-9579
GEORGE D REAVIS                                                          3626 S GARY AVE                                                                         TULSA            OK      74105-3602
GEORGE DAVID                                                             PO BOX 610                                                                              VISTA            CA      92085
GEORGE DAWSON                                                            6167 ALICE DRIVE                                                                        CHOCTAW          OK      73020
GEORGE DENNIS                                                            PO BOX 2547                                                                             MADISON          MS      39130-2547
GEORGE DILLER                                                            2304 PALM CT                                                                            LA GRANGE        KY      40031
George Donham                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
George Donham                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
George Donham                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
George Donham                                                            363638 E. 5800 Rd.                                                                      Jennings         OK      74038
GEORGE DOWDY                                                             3204 E CATHIE CT                                                                        VISALIA          CA      93292-7026
GEORGE DRAKE                                                             18509 EAST LONGHORN TRAIL                                                               COVINGTON        OK      73730-2063
GEORGE DUGOSH                                                            203 KATE SCHENK AVE                                                                     SAN ANTONIO      TX      78223-3307
GEORGE DUNAWAY                                                           617 AFFIRMED DR                                                                         EDMOND           OK      73025-9763
GEORGE DUNN                                                              16311 CHIPSTEAD DR                                                                      SPRING           TX      77379
GEORGE E BURGHER JR                                                      44-A EAST BROAD OAKS DR                                                                 HOUSTON          TX      77056
GEORGE E FEARS TRUST                                                     PO BOX 18467                                                                            OKLAHOMA CITY    OK      73159
GEORGE E SEAY III                                                        325 N ST PAUL ST STE 3500                                                               DALLAS           TX      75201
GEORGE E SEAY III FOUNDATION                                             325 N SAINT PAUL ST STE 3500                                                            DALLAS           TX      75201-3869
GEORGE E SEMRAD TR OF 2003                                               11201 W PRAIRIE GROVE RD                                                                GUTHRIE          OK      73044
GEORGE EASTMAN MASSEY                                                    30209 MOUNTAIN VIEW                                                                     POTEAU           OK      74953
GEORGE F COTTEN ROYALTY TRUST                                            3608 TANGLEWOOD CIR                                                                     FARMERS BRANCH   TX      75234
GEORGE FLOWER                                                            111 ELEVATOR                                                                            DELAWARE         OK      74027
GEORGE FRANCEY                                                           4312 STONEWALL ST                                                                       GREENVILLE       TX      75401
GEORGE FUNNELL                                                           419 W EIGHT ST #1                                                                       JUNCTION CITY    KS      66441
GEORGE G VAUGHT JR                                                       PO BOX 13557                                                                            DENVER           CO      80201-3557
GEORGE GAMBRIL ESTATE                                                    PO BOX 143                                                                              CAMBRIDGE        ID      83610
GEORGE GIGER                                                             117 N SAMPSON AVE                                                                       WATONGA          OK      73772-3436
GEORGE GLENDENNING                                                       3734 PEACH TREE RD APT D1                                                               ATLANTA          GA      30305
GEORGE GRAHAM                                                            5121 E 19TH AVE                                                                         STILLWATER       OK      74047

GEORGE H HAHN                                                            5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX      75070
GEORGE H KAUTZ DECEASED                                                  11403 W. 161ST TERRACE                                                                  OLATHE           KS      66062
GEORGE H MILLER TESTAMENTARY TRUST                                       1704 S OWASSO AVE                                                                       TULSA            OK      74120
                                                                                                                       9211 Lake Hefner
George H. Humphrey Jr.                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
George H. Humphrey Jr.                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006


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               CreditorName               CreditorNoticeName                             Address1                         Address2                 Address3             City    State     Zip      Country
George H. Humphrey Jr.                                                 8512 N. Phillips Ave                                                                   Oklahoma City     OK    73114
GEORGE HEPPLER                                                         26450 COUNTY RD 140                                                                    PERRY             OK    73077
GEORGE HEPPLER                                                         RT 6 BOX 96                                                                            PONCA CITY        OK    74601

GEORGE HOM                                                             5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX    75070

GEORGE J BASCO IRA ACCT NO 13359                                       5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX    75070
GEORGE JEPSEN                                                          4008 PINE RIDGE RD                                                                     SHAWNEE           OK    74804-1643
GEORGE KEIM                                                            8819 NEWPORT CT                                                                        SPRINGFIELD       VA    22153-1218
GEORGE KINDER                                                          343841 E 780 RD                                                                        AGRA              OK    74824-8455
GEORGE KNIGHT                                                          13767 N BRYANT                                                                         MULHALL           OK    73063
GEORGE KRAVIS TRUST II                                                 PO BOX 1588                                                                            TULSA             OK    74101-1588
                                                                                                                     9211 Lake Hefner
George Kristopher Wilson            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                    c/o Laminack, Pirtle & Martines,
George Kristopher Wilson            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
George Kristopher Wilson                                               13612 Bell Ave                                                                         Oklahoma City     OK    73142
GEORGE KURZ                                                            3250 MARTIN LYDON AVE                                                                  FORT WORTH        TX    76133
GEORGE L & CHARLOTTE LOUISE SCOTT                                      4005 W 56TH ST                                                                         STILLWATER        OK    74074-2066
                                                                                                                     9211 Lake Hefner
George L. Oravetz                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                    c/o Laminack, Pirtle & Martines,
George L. Oravetz                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
George L. Oravetz                                                      5801 Hefner Village Ct                                                                 Oklahoma City     OK    73162
GEORGE LEWIS                                                           2311 COYOTE RUN                                                                        STILLWATER        OK    74075
GEORGE LINDHAL                                                         3 WATERTON COVE PLACE                                                                  The Woodlands     TX    77380
GEORGE LOWRY                                                           1233 S 103RD EAST AVE                                                                  TULSA             OK    74128-4631
GEORGE M. BERRY TRUST                                                  2431 EAST 61ST ST STE 170                                                              TULSA             OK    74136
GEORGE MARION                                                          1651 S GREENWOOD                                                                       WICHITA           KS    67211
GEORGE MARSHALL                                                        43829 N. MORAY ST.                                                                     FREMONT           CA    94539
GEORGE MCCARTHY                                                        714 OLYMPIC BLDG                                                                       LOS ANGELES       CA    90015
GEORGE MCGUIRE                                                         6648 JOHN WAYNE                                                                        PERRY             OK    73077
GEORGE MECHLING                                                        10217 SE 23RD ST                                                                       OKLAHOMA CITY     OK    73130
GEORGE MESSALL                                                         PO BOX 84                                                                              MARSHALL          OK    73056
GEORGE MORTON                                                          2103 HARRISON AVE NW                                                                   OLYMPIA           WA    98502-2636
GEORGE ORLIN SCOTT                                                     9885 SW SCOTT CT                                                                       TIGARD            OR    97223-5325
GEORGE OWEN HAMMOND                                                    1055 N 5TH STREET NO 104 A                                                             JACKSONVILLE      OR    97530
GEORGE POSSIBLY DECD                                                   11150 BENSON ST                                                                        OVERLAND PARK     KS    66210
GEORGE PRETTY                                                          611 KINGSTON WAY                                                                       FORT MILL         SC    29715-6863
GEORGE R BRISTOL                                                       PO BOX 6944                                                                            SAN ANTONIO       TX    78209
GEORGE R CORNELIUS SR FAMILY TR                                        2113 ANTIBES DR                                                                        CARROLLTON        TX    75006
GEORGE R KRAVIS II TRUST                                               PO BOX 1588                                                                            TULSA             OK    74101-1588
GEORGE R WARREN REV TRUST                                              PO BOX 27                                                                              PERRY             OK    73077
GEORGE RAINS                                                           307 W 32ND PL                                                                          SAND SPRINGS      OK    74063-3009
GEORGE RAYMOND ANDERSON                                                2817 WOODLAND CREEK DR                                                                 EDMOND            OK    73034
GEORGE REAVIS                                                          PO BOX 1066                                                                            BARTLESVILLE      OK    74005
GEORGE REX KAUTZ                                                       1438 S 8TH STREET                                                                      ATCHISON          KS    66002-3009
GEORGE RIDDLE                                                          PO BOX 1009                                                                            SEARCY            AR    72145-1009
GEORGE RIDPATH                                                         1179 PRESTON RD                                                                        DENISON           TX    75020-0780
GEORGE ROSS                                                            220 N HOUGLAN ST                                                                       NOWATA            OK    74048
GEORGE SALLEE                                                          PO BOX 550                                                                             COLLINSVILLE      OK    74021
GEORGE SARTAIN                                                         2222 S UTICA PL ST 400                                                                 TULSA             OK    74114
GEORGE SCHEDLER                                                        2431 E 61ST STE 825                                                                    TULSA             OK    74136
GEORGE SEAY III SEPARATE PROPERTY                                      325 N SAINT PAUL ST STE 3500                                                           DALLAS            TX    75201-3869
GEORGE SHARUM                                                          7134 CEDARCREST RD                                                                     NEW PORT RICHEY   FL    34653-2406
GEORGE SWIM DECD                                                       PO BOX 157                                                                             CRADDOCKVILLE     VA    23341-0157
GEORGE THOMASON                                                        866 EL QUANITO CT                                                                      DANVILLE          CA    94526-1827
GEORGE TOMA                                                            PO BOX 66                                                                              ALBANY            OK    74721
GEORGE TULLY                                                           809 NW 142ND                                                                           EDMOND            OK    73013


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GEORGE VANCE                                                          1000 LOUISIANA ST 9TH FLOOR                                                            HOUSTON           TX    77002
GEORGE VIERRA                                                         3827 CANOT LN                                                                          ADDISON           TX    75001
GEORGE W BAKER                                                        2615 N PARK DR                                                                         STILLWATER        OK    74075-2643

GEORGE W CARLILE                                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX    75070
GEORGE W DRAKE                                                        PO BOX 140966                                                                          BROKEN ARROW      OK    74014
GEORGE W DRAKE REV TRST                                               PO BOX 140966                                                                          BROKEN ARROW      OK    74014
GEORGE WALENCIAKS                                                     2502 E. 12TH                                                                           STILLWATER        OK    74074
GEORGE WAYNE CAMPBELL                                                 7 BEENE ROAD                                                                           GREENBRIER        AR    72058
GEORGE WEBB                                                           PO BOX 96                                                                              YORKTOWN          AR    71678
GEORGE WILLIAM FINK TRUST                                             29 HEREFORD ST                                                                         BOSTON            MA    02115-1718
GEORGE WILLIAMS                                                       5929 LARRY WAY                                                                         NORTH HIGHLANDS   CA    95660-4416
GEORGE WILSON                                                         6608 N WESTERN AVE PMB 240                                                             OKLAHOMA CITY     OK    73116
GEORGE WOODROW                                                        3913 WILLIAMSBROOK DR                                                                  SAINT JOSEPH      MO    64506-3699
                                                                                                                    9211 Lake Hefner
George Z. Kidwell                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                   c/o Laminack, Pirtle & Martines,
George Z. Kidwell                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
George Z. Kidwell                                                     605 W. 149th Pl                                                                        Glenpool          OK    74033
                                                                                                                    9211 Lake Hefner
George Hogue                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                   c/o Laminack, Pirtle & Martines,
George Hogue                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
George Hogue                                                          617 Moraine Ave                                                                        Oklahoma City     OK    73130
                                                                                                                    9211 Lake Hefner
George West III                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                   c/o Laminack, Pirtle & Martines,
George West III                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
George West III                                                       7617 NW 102nd St                                                                       Oklahoma City     OK    73162
GEORGEA R PHELPS ESTATE OF                                            716 SW 111TH ST                                                                        OKLAHOMA CITY     OK    73170-5806
GEORGENE STIDHAM OAKLEY TRUST                                         3610 S. 65TH WEST AVE, APT W                                                           TULSA             OK    74107-4835
GEORGETOWN EXPLORATION INC                                            712 MAIN STREET 1700                                                                   HOUSTON           TX    77002-3211
GEORGIA BRANSON                                                       528 DOGWOOD LN                                                                         HOUSTON           MO    65483-2016
GEORGIA CURTIS                                                        21250 CR 20                                                                            LUCIEN            OK    73757
GEORGIA DEPT OF REV UNCLMD PRPTY                                      4125 WELCOME ALL RD STE 701                                                            ATLANTA           GA    30349
Georgia Dept of Revenue            Unclaimed Property Program         4125 Welcome All Rd Suite 701                                                          Atlanta           GA    30349-1824
GEORGIA GENTRY                                                        35080 CHANDLER AVE SPC 24                                                              CALIMESA          CA    92320
GEORGIA HANNEKEN                                                      370 N WABASH ST                                                                        WABASH            IN    46992-2721
GEORGIA JOHNSON                                                       9721 MAYVIEW CT                                                                        OKLAHOMA CITY     OK    73159
GEORGIA M BASSHAM AND RICHARD A                                       8439 W VASSAR DRIVE                                                                    LAKEWOOD          CO    80227-3121
GEORGIA MAE CURTIS LIFE ESTATE                                        21250 CT RD 20                                                                         LUCIEN            OK    73757
GEORGIA MANN                                                          7409 LYNNLEE PL                                                                        AMARILLO          TX    79121
GEORGIA O'KELLEY                                                      23845 N 43RD DR                                                                        GLENDALE          AZ    85310-3910
GEORGIA PERKINS                                                       33800 SE FREDERICK ST APT 105                                                          SCAPPOOSE         OR    97056-3832
GEORGIA STANLEY                                                       220 S ARRINGTON DR                                                                     STILLWATER        OK    74074
                                                                                                                    9211 Lake Hefner
Georgiaette Spivey                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                   c/o Laminack, Pirtle & Martines,
Georgiaette Spivey                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Georgiaette Spivey                                                    3504 Simmons Dr                                                                        Del City          OK    73115
GEORGIANA CAGLE                                                       216 SW 142ND ST                                                                        OKLAHOMA CITY     OK    73170
GEORGIANNA WILDS                                                      RURAL ROUTE 7                                                                          LAFAYETTE         IN    60942
GEOSTAR PARTNERSHIP                                                   119 N. ROBINSON, SUITE 500                                                             OKLAHOMA CITY     OK    73102
GEOTECHNICAL CONSULTANTS INC                                          720 GREEN CREST DR                                                                     WESTERVILLE       OH    43081-2837
GEOTRACE TECHNOLOGIES INC                                             DEPT 2594                                                                              DALLAS            TX    75312-2594
GER MCARDLE                                                           PO BOX 1                                                                               MARSHALL          OK    73056-0001
GERALD ADKINS                                                         PO BOX 50390                                                                           MIDLAND           TX    79710-0390
GERALD ANDREW BISHOP KOESTER                                          PO BOX 30573                                                                           EDMOND            OK    73003-0010
GERALD ATKINS                                                         10 SADDLE CLUB DR                                                                      MIDLAND           TX    79705


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              CreditorName                CreditorNoticeName                             Address1                        Address2                  Address3             City    State       Zip      Country
GERALD BRYAN                                                          5471 S JASPER WAY                                                                       CENTENNIAL       CO       80015-4225
Gerald Byerly                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070
Gerald Byerly                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK       74104
Gerald Byerly                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY       10017
Gerald Byerly                                                         30250 Basin Rd                                                                          Manford          OK       74044
GERALD COLLINS                                                        11501 E LONE CHIMNEY RD                                                                 GLENCOE          OK       74032
GERALD DAVIDSON                                                       PO BOX 782                                                                              PERRY            OK       73077
Gerald Denney                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070
Gerald Denney                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK       74104
Gerald Denney                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY       10017
Gerald Denney                                                         402 N. Vine Ave                                                                         Cleveland        OK       74020
GERALD DWAYNE EDIGER                                                  1627 THISTLE LN                                                                         FORT WAYNE       IN       46825
GERALD G PAYNE                                                        105 HAGEN DR                                                                            BOERNE           TX       78006
GERALD GERSTENLAGER                                                   44003 WILLISON RUN RD                                                                   WOODSFIELD       OH       43793
GERALD GISH                                                           2205 WEST ROSE GARDEN LANE                                                              PHOENIX          AZ       85027-2628
GERALD HALL                                                           RR 3 BOX 265                                                                            PERKINS          OK       74059
GERALD JOHNSON                                                        10714 W 98TH ST                                                                         OVERLAND PARK    KS       66214-2324
GERALD JONES                                                          8805 BELLECHASE RD                                                                      GRANBURY         TX       76049
GERALD KNOL                                                           3500 S BOULEVARD STE D3                                                                 EDMOND           OK       73013

GERALD L FLEMING                                                      5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX       75070
GERALD L LOHSE                                                        1230 QUAIL RIDGE RD                                                                     ENID             OK       73703
GERALD LOWE                                                           7480 W PATRIOT WAY                                                                      FLORENCE         AZ       85132
GERALD MARTIN                                                         2205 CARRIAGE HL                                                                        DENTON           TX       76207-1613
GERALD MITTASCH                                                       830304 S 3350 RD                                                                        CARNEY           OK       74832
GERALD MUSICK                                                         4295 W CONEFLOWER PL                                                                    FAYETTEVILLE     AR       72704
GERALD N & JOYCE L RICHMOND                                           2605 LAKEVIEW ROAD                                                                      STILLWATER       OK       74075
GERALD N FURSETH REVOCABLE TR                                         827 NW 63RD #201                                                                        OKLAHOMA CITY    OK       73116
GERALD OWENS                                                          109 PATTERSON ST                                                                        GOLDEN           MS       38847-8138
GERALD PARKER                                                         327 E LIBERTY ST                                                                        SOUTH LYON       MI       48178-1419
GERALD PAYNE                                                          800 GARTRELL PT APT 103                                                                 WEATHERFORD      OK       73096-2075
GERALD PAYNE & FLORENCE PAYNE                                         852 W PHILLIP ST                                                                        RHINELANDER      WI       54501
GERALD R KOESTER                                                      PO BOX 473                                                                              PIEDMONT         OK       73078-0473
GERALD R KOESTER & GERALD ANDREW                                      PO BOX 473                                                                              PIEDMONT         OK       73078-0473
                                                                                                                    9211 Lake Hefner
Gerald R. Haiduk                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                   c/o Laminack, Pirtle & Martines,
Gerald R. Haiduk                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
Gerald R. Haiduk                                                      2517 Elwood Dr                                                                          Edmond           OK       73013
GERALD REINHOLTZ                                                      PO BOX 1725                                                                             EDMOND           OK       73083
GERALD RICHMOND                                                       2605 E. LAKEVIEW                                                                        STILLWATER       OK       74075
GERALD SCOTT                                                          PO BOX 14629                                                                            RICHMOND         VA       23221
GERALD SHIPPY                                                         1540 PINE ST                                                                            SILVERTON        OR       97381
GERALD STEPHEN BILYEU                                                 20 MADISON DR                                                                           CARSON CITY      NV       89706-0330
GERALD STEPHENSON                                                     PO BOX 2612                                                                             MIDLAND          TX       79702
GERALD VIERTHALER                                                     3595 NE STATE RD 42                                                                     ISABEL           KS       67065
GERALD W & LINDA M CULLERS TR                                         10414 E MCELROY RD                                                                      STILLWATER       OK       74075
GERALD W SWANK                                                        14 STAGECOACH RD                                                                        SEABROOK         SC       29940-3517
GERALD WHITE                                                          3000 AVE LOIRE                                                                          OAK BROOK        IL       60523
GERALD WILLS                                                          1550 ANDYS DR                                                                           GUTHRIE          OK       73044
GERALD WILSON                                                         236 E. PEBBLE COURT                                                                     CASA GRANDE      AZ       85122
                                                                                                                    9211 Lake Hefner
Gerald Lewis                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                   c/o Laminack, Pirtle & Martines,
Gerald Lewis                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
Gerald Lewis                                                          16200 Hogback Rd                                                                        Luther           OK       73054

GERALDINE DAWSON                                                      400 UNIVERSITY VILLAGE CTR APT 1005                                                     RICHARDSON       TX       75081
GERALDINE DECD                                                        21889 PARK ST                                                                           CHILLICOTHE      MO       64601


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GERALDINE DURHAM                                                          PO BOX 83                                                                              COVINGTON       OK      73730-0083
GERALDINE FICK                                                            11426 GALLANT RIDGE LN                                                                 HOUSTON         TX      77082-6817
GERALDINE L SIMONTON REV TRUST                                            48098 W 131ST ST S                                                                     DRUMRIGHT       OK      74030
GERALDINE LEE BAKER                                                       5393 SAWMILL ROAD SPACE 34                                                             PARADISE        CA      95969
GERALDINE LOUGH                                                           PO BOX 375                                                                             DRUMRIGHT       OK      74030
GERALDINE YOUNG                                                           5114 MCKINNEY AVE #114                                                                 DALLAS          TX      75205
GERALYN ANDERSON                                                          7801 W HEATHER AVE                                                                     MILWAUKEE       WI      53223
GERARD M & DONNA M SCHUCHMAN JT                                           4245 OAK LANE                                                                          ST AUGUSTINE    FL      32086
                                                                                                                        9211 Lake Hefner
Gerd O. Kelso                         c/o Atkins & Markoff                Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gerd O. Kelso                         LLP                                 Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Gerd O. Kelso                                                             224 W. Vine                                                                            Cushing         OK      74023
GERHARDT & MARILYN PRALLE FAMILY RE                                       3550 W COLEMAN RD                                                                      PONCA CITY      OK      74601
GERI AYERS                                                                11 SILVER MEADOWS LN                                                                   ENID            OK      73703
                                                                                                                        9211 Lake Hefner
Geri L. McCreight                     c/o Atkins & Markoff                Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Geri L. McCreight                     LLP                                 Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Geri L. McCreight                                                         5100 S. Dewey Ave                                                                      Oklahoma City   OK      73109
GERI MCARDLE                                                              PO BOX 1                                                                               MARSHALL        OK      73056-0001
GERI WATTS                                                                680 LAKESHORE DR                                                                       VICTORIA        TX      77905
GERMANY TRUST                                                             14806 NE 15TH PL                                                                       BELLEVUE        WA      98007
GERNIE POOLE                                                              16004 SCENIC OAKS TRAIL                                                                BUDA            TX      78610
GERONIMO HOLDING CORPORATION                                              PO BOX 804                                                                             MIDLAND         TX      79702
GERRI TURNER                                                              3 LOS ENCINOS DR                                                                       MAGNOLIA        TX      77354
GERRY ISBELL                                                              8214 S. CLEVELAND                                                                      WAUKOMIS        OK      73773
GERRY MOORE                                                               PO BOX 67                                                                              TALOGA          OK      73667
GERTRUDE CATHEY                                                           4621 WEDINGTON DR                                                                      FAYETTEVILLE    AR      72703
GERTRUDE CONDREAY                                                         7905 CHUKAR RD                                                                         YUKON           OK      73099
GERTRUDE HAMIL                                                            241 S PINE GROVE ST                                                                    WICHITA         KS      67209-4061
GERTRUDE MAY SHERRILL REV TR                                              PO BOX 1427                                                                            DUNCAN          OK      73534-1427
GERTRUDE ROSALINO                                                         5249 TOWNSEND AVE                                                                      LOS ANGELES     CA      90041
GESTIO LLC                                                                2944 NORTH 44TH STREET SUITE 250                                                       PHOENIX         AZ      85018
GET IMAGING INC                                                           3909 NW 36TH ST                                                                        OKLAHOMA CITY   OK      73112-2953
GF RAY SR TRUST                                                           PO BOX 702746                                                                          DALLAS          TX      75970-2746
GHM ENTERPRISES INC                                                       221 E CLEVELAND                                                                        GUTHRIE         OK      73044
GIB DOLEZAL                                                               PO BOX 2684                                                                            ESTES PARK      CO      80517
GIBBS & BRUNS LLP                                                         1100 LOUISIANA ST STE 5300                                                             HOUSTON         TX      77002-5215
Gibbs, Russell                        c/o White Star Petroleum, LLC       301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
GIBSON BROTHERS LLC                                                       16119 W GALLERIA LN                                                                    SURPRISE        AZ      85374
GILA GROUP LP                                                             PO BOX 140460                                                                          DALLAS          TX      75214
GILBERT & TOBIN                                                           PO BOX 3810                                                                                                                 AUSTRALIA
GILBERT B HEBARD                                                          PO Box 3                                                                               KNOXVLE         IL      61448-0003
GILBERT G & HELEN J MORRIS JTWROS                                         2600 W MAINE ST                                                                        ENID            OK      73703-5139
GILBERT G MORRIS                                                          2600 W MAIN                                                                            ENID            OK      73702
GILBERT GRUBBS REV TR                                                     1545 BAYTOWNE E                                                                        MIRAMAR BEACH   FL      32550-0000
GILBERT ISENBERG                                                          448 CUMMINGS STREET                                                                    ABINGDON        VA      24210-3220
GILBERT JOHN                                                              4809 E 19TH AVE                                                                        STILLWATER      OK      74074-6348
GILBERT MCFARLIN                                                          20601 CR 210                                                                           MORRISON        OK      73061
GILBERT MORRIS                        Judgm’t Creditor v. Victor Morris                                                                                          ENID            OK      73702
GILBERT RODENBERG                                                         826 SUSAN ST                                                                           KEARNEY         MO      64060-7965
GILBERT ROSE                                                              1222 S ROSE HOLLOW LN                                                                  STILLWATER      OK      74074-8512
                                                                                                                        9211 Lake Hefner
Gilbert Flores                        c/o Atkins & Markoff                Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gilbert Flores                        LLP                                 Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Gilbert Flores                                                            3940 NW 11th St                                                                        Oklahoma City   OK      73107



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                   CreditorName              CreditorNoticeName                            Address1                         Address2                  Address3             City   State       Zip      Country
                                                                                                                       9211 Lake Hefner
Gilbert Jennings                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gilbert Jennings                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Gilbert Jennings                                                         9400 NE 16th St                                                                         Oklahoma City    OK      73130
Gilcrease Hills HOA                   c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Gilcrease Hills HOA                   c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Gilcrease Hills HOA                   c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Gilcrease Hills HOA                                                      1919 West Seminiole St                                                                  Tulsa            OK      74127
GILDA HARVISION                                                          78 OBANNON DR                                                                           HUNTSVILLE       TX      77320-0530
GILES D AND VICKI L RHODEY                                               1305 NORTH HIGHTOWER STREET                                                             STILLWATER       OK      74075
GILFORD C CLARK AKA GILFORD CLARK E                                      523 W 4TH ST                                                                            HAYSVILLE        KS      67060
GILL INVESTMENT COMPANY                                                  4908 STONY FORD                                                                         DALLAS           TX      75787
GILL REPROGRAPHICS INC                                                   7001 N SANTA FE AVE                                                                     OKLAHOMA CITY    OK      73116-9059
GILL ROYALTY COMPANY                                                     PO BOX 697                                                                              OKMULGEE         OK      74447
GILLILAND OIL & GAS INC                                                  PO BOX 305                                                                              HENNESSEY        OK      73742
GILMORE REVOCABLE TRUST DTD 6-4-200                                      505 N BIG SPRING                                                                        MIDLAND          TX      79701
GINA ANDERSON                                                            6845 KEITH LN                                                                           MARSING          ID      83639
GINA CANALES                                                             326 S. NINEIRON CT                                                                      WICHITA          KS      67235
GINA CHASE                                                               11519 Highway 21                                                                        Hillsboro        MO      63050
GINA GAIL FRAZIER LEWIS                                                  2501 WIGWAM PKWY APT 118                                                                HENDERSON        NV      89074-6276
GINA KAY OLTROGGE                                                        5650 NW 35TH LANE ROAD                                                                  OCALA            TX      34482
GINA L MAY                                                               20698 N MACARTHUR BLVD                                                                  MARSHALL         OK      73056
                                                                                                                       9211 Lake Hefner
Gina L. Smith                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gina L. Smith                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Gina L. Smith                                                            5025 N. Lewis Ave                                                                       Tulsa            OK      74130
GINA LYNNE LASKER                                                        111 S GRANDVIEW                                                                         STILLWATER       OK      74074
GINA MAYFIELD CHITTY                                                     6991 CHAMPS MILL CT                                                                     MANASSAS         VA      20112-3439
GINA MEADOR                                                              PO BOX 467                                                                              ELK CITY         OK      73648
GINGER FERGUSON                                                          2921 NW 35TH ST                                                                         OKLAHOMA CITY    OK      73112-6613
                                                                                                                       9211 Lake Hefner
Ginger Frances Delaloye               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ginger Frances Delaloye               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Ginger Frances Delaloye                                                  7007 E. 71st Ct                                                                         Tulsa            OK      74133
GINGER JACKSON                                                           7740 E ROSEWOOD ST                                                                      TUCSON           AZ      85710-1603
GINGER MCDONALD                                                          13916 DRAKES WAY                                                                        YUKON            OK      73099
GINGER MCGOVERN                                                          9009 N. MAY AVENUE #163                                                                 OKLAHOMA CITY    OK      73120
GINGER ROBERTSON                                                         9606 S MAPLEWOOD AVE                                                                    TULSA            OK      74137
GINGER ROSIERE                                                           3520 S RIPLEY RD                                                                        STILLWATER       OK      74074-6516
GIRISH CHOWDHARY                                                         5014 W 1ST AVE                                                                          STILLWATER       OK      74074-6894
GK TECHSTAR LLC                                                          802 W 13TH ST                                                                           DEER PARK        TX      77536
GL NOBLE DENTON INC                                                      1155 DAIRY ASHFORD RD STE 315                                                           HOUSTON          TX      77079-3007
GLACIER PETROLEUM                                                        14000 N WESTERN AVE                                                                     EDMOND           OK      73013
GLACIER PETROLEUM COMPANY                                                PO BOX 577                                                                              EMPORIA          KS      66801-0577
GLADYS COUVILLION                                                        211 N JAYSON DRIVE                                                                      SLIDELL          LA      70458
GLADYS IRENE JEANS                                                       4215 80TH ROAD                                                                          THAYER           KS      66776
GLADYS JONES POTTER                                                      9801 LAKESHORE DR                                                                       OKLAHOMA CITY    OK      73120
GLADYS LOONEY                                                            225 PETROL RD                                                                           BAKERSFIELD      CA      93308
GLADYS M WILDE TRUST                                                     PO Box 2640                                                                             MIDLAND          TX      79702
GLADYS MORRIS                                                            PO BOX 152                                                                              SOUTH HAVEN      KS      67140-0152
GLADYS PFEIFFER                                                          1706 FAIRWAY DR                                                                         PERKINS          OK      74059-4114
GLADYS R BERRY LOAN FUND TRUST                                           5147 S HARVARD AVE STE 110                                                              TULSA            OK      74135
GLADYS WIDOW                                                             RT 2 BOX 120                                                                            GUTHRIE          OK      73044
GLADYS WILLIAMS BOSEAU DECD                                              922 W FLORA ST                                                                          ONTARIO          CA      91762
GLASSGLEN BURNIE FOUNDATION                                              7122 S SHERIDAN BOX 604                                                                 TULSA            OK      74135
GLASS-VEAZY FAMILY PART. LTD                                             1300 BEDORD DRIVE                                                                       NICHOLS HILLS    OK      73116


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GLB EXPLORATION INC                                                      7716 MELROSE LN                                                                        OKLAHOMA CITY     OK    73127-6040
GLEASON OIL & GAS LLC                                                    100 CRESCENT CT STE 700                                                                DALLAS            TX    75201
GLEDE HOLMAN                                                             4700 NW 76TH ST                                                                        OKLAHOMA CITY     OK    73132
                                                                                                                       9211 Lake Hefner
Glen Watson                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Glen Watson                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Glen Watson                                                              5805 N. Meridian Pl                                                                    Oklahoma City     OK    73112
GLEN & ESTHER NOTTINGHAM TRUST                                           8807 S SANGRE RD                                                                       PERKINS           OK    74059-4191
GLEN BLAIR                                                               2327 MINNIE ROSE DR                                                                    GUTHRIE           OK    73044-6011
GLEN BLASIER                                                             805 L LYNN LN                                                                          ENID              OK    73703
GLEN BYRD                                                                1423 SOUTHERN HEIGHTS AVE                                                              NORMAN            OK    73072-5752
GLEN CALDWELL                                                            303 E ROBERT S KERR BLVD                                                               WYNNEWOOD         OK    73098
GLEN D & NANCY K FILLMORE REV LIV                                        2432 E COUNTY RD 65                                                                    MULHALL           OK    73063
GLEN DAN HAXTON                                                          PO BOX 183                                                                             LEEDEY            OK    73654
GLEN E PETERS TTEE THE GLEN E                                            1225 LASALLE AVE APT 1707                                                              MINNEAPOLIS       MN    55403
GLEN E PINNOCK & KATHLEEN F                                              5900 S LAKE FOREST DR STE 300                                                          MCKINNEY          TX    75070
GLEN E VANDUSEN ESTATE                                                   1328 BAYOU ROAD                                                                        ST BERNARD        LA    70085
GLEN E. & JANET E. BLAIR REV TRUST                                       2327 MINNIE ROSE DRIVE                                                                 GUTHRIE           OK    73044
GLEN EVERETT KAUTZ                                                       11403 W. 161ST TERRACE                                                                 OLATHE            KS    66062
GLEN FILLMORE & NANCY FILLMORE HWJT                                      2432 E COUNTY RD 65                                                                    MULHALL           OK    73063
GLEN GRAY                                                                325 TERRELL RD W                                                                       CHARLOTTESVILLE   VA    22901-2170
GLEN HILDEBRAND                                                          2612 MOCKINGBIRD DR                                                                    PONCA CITY        OK    74604-3236
GLEN HOLZER                                                              1024 W AIRPORT RD                                                                      STILLWATER        OK    74075-1001
GLEN HOPFER                                                              725 N WILLEY ST                                                                        FORT GIBSON       OK    74434
GLEN HOPFER                                                              725 N WILLEY ST                                                                        FT GIBSON         OK    74434
GLEN MARTIN                                                              7621 N MASSINGALE PLACE                                                                TUCSON            AZ    85741-1949
GLEN OSBORN                                                              11702 SHADOW VALLEY RD                                                                 EL CAJON          CA    92020
GLEN SHRYOCK                                                             24400 COUNTY RD 200                                                                    STILLWATER        OK    74075
GLEN TARRANT                                                             31576 E 723 RD                                                                         WAGONER           OK    74467
GLEN WALLER                                                              3210 E 2ND AVE                                                                         STILLWATER        OK    74074
GLEN WOOLWORTH                                                           5318 E SPIVA LN                                                                        PERKINS           OK    74059-4312
GLENCOE ISD NO 101                                                       201 E LONE CHIMNEY RD                                                                  GLENCOE           OK    74032
GLENDA ALLEN                                                             7008 NW 26TH                                                                           BETHANY           OK    73008
GLENDA ALMACK                                                            13151 BRONCO                                                                           PERRY             OK    73077
GLENDA EDWARDS                                                           2211 WEST 23RD STREET                                                                  STILLWATER        OK    74074
GLENDA F CASS REV TRUST                                                  4013 CONTINENTAL PLACE                                                                 ENID              OK    73703
GLENDA F HARRIS REV LVNG TRST                                            16314 EAST 81ST COURT NORTH                                                            OWASSO            OK    74055
GLENDA GLADDEN                                                           810739 S HIGHWAY 18                                                                    AGRA              OK    74824
GLENDA GOLDSMITH                                                         105 NEW SARATOGA RD                                                                    ANNA              IL    62906
GLENDA HOLBROOK                                                          4807 MANGROVE PT                                                                       BRADENTON         FL    34210
GLENDA HOLDGE                                                            21157 CR 1250                                                                          GRACEMONT         OK    73042
GLENDA JARDOT                                                            102 CROSS ST                                                                           PERKINS           OK    74059-4201
GLENDA L REYNOLDS TRUST                                                  1707 AVE E                                                                             NETHERLAND        TX    77627
GLENDA LANGLEY                                                           1212 N POWELL PKWY                                                                     ANNA              TX    75409-2454
GLENDA LOU WRIGHT                                                        4120 HIGH OAK ST                                                                       MUSKOGEE          OK    74401
GLENDA QUATTLEBAUM                                                       5819 119TH STREET                                                                      LUBBOCK           TX    79424-6149
GLENDA RITTER                                                            PO BOX 185                                                                             MULHALL           OK    73063
GLENDA TATUM                                                             21500 COUNTY RD 130                                                                    PERRY             OK    73077
GLENDA VAUGHN                                                            1606 S MANSFIELD DR                                                                    STILLWATER        OK    74074-2326
GLENDOLA LOUISE POTTER REV LVG TR                                        1501 S BRUSH CREEK RD                                                                  STILLWATER        OK    74074
GLENDORA ACHTEN                                                          3920 SW 26TH ST                                                                        TOPEKA            KS    66614
GLENDORA H HARTING LIVING TRUST                                          5020 S CEDAR CREST AVE                                                                 INDEPENDENCE      OK    64055
GLENITA OOLS                                                             3423 CREEK CROSSING                                                                    PERKINS           OK    74059
GLENN & PHYLIS SILVERS HWJT LIFE E                                       15414 WEST 56TH ST                                                                     MULHALL           OK    73063-2702
GLENN A YAHN                                                             3508 BONA VILLA DR                                                                     MUSKOGEE          OK    74403
GLENN BECKNER                                                            13632 MOUNTAIN ST                                                                      HORNBROOK         CA    96044
GLENN BROWN                                                              6041 S DREXEL                                                                          OKLAHOMA CITY     OK    73159
GLENN ELLINGTON                                                          1904 4TH ST                                                                            PAWNEE            OK    74058-5037


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GLENN G & BILLIE S TAYLOR                                                 PO BOX 588                                                                             PERKINS             OK    74059-0588
GLENN GORE                                                                PO BOX 218                                                                             TALOGA              OK    73667
GLENN H HOLDERREAD & JOAN HOLDERREAD
REV                                                                       5500 W GRANDSTAFF                                                                      CUSHING             OK    74023-6602
GLENN H HOLDERREAD REV TRUST                                              5500 W GRANDSTAFF                                                                      CUSHING             OK    74023-6602
GLENN HARTMAN                                                             1071 E COUNTY RD 64                                                                    MULHALL             OK    73063-9755
GLENN HOLDERREAD                                                          5500 W GRANDSTAFF RD                                                                   CUSHING             OK    74023
GLENN JONES                                                               37 JONES TRADING POST RD                                                               LAMPE               MO    65681
GLENN LATTIMORE FAMILY LIMITED PART                                       500 WEST 7TH STREET STE 1802                                                           FORT WORTH          TX    76102-1617
GLENN LAUGHLIN                                                            PO BOX 1304                                                                            STILLWATER          OK    74076-1304
GLENN LEWIS                                                               16354 BRISK BREEZE ALLEY                                                               WINTER GARDEN       FL    34787
GLENN MCKINNEY                                                            20326 EAST 33RD STREET SOUTH                                                           BROKEN ARROW        OK    74014
GLENN MOREY                                                               3550 TRINAS WAY                                                                        JAMUL               CA    91935-1644
GLENN MYERS                                                               PO BOX 1016                                                                            EDMOND              OK    73083
                                                                                                                        9211 Lake Hefner
Glenn Randolph                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK    73120
                                       c/o Laminack, Pirtle & Martines,
Glenn Randolph                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX    77006
Glenn Randolph                                                            1623 S. Mehan Rd                                                                       Stillwater          OK    74074
GLENN RANDOLPH                                                            PO BOX 417                                                                             HINTON              OK    73047

GLENN ROSSITER AND MELDA ROSSITER H                                       20 SOUTH 6TH STREET                                                                    AGRA                OK    74824
GLENN SHAFFER                                                             933 S 96TH PL                                                                          MESA                AZ    85208-3109
GLENN SHELLEY                                                             3820 N WAYSIDE LN                                                                      GRAND CHUTE         WI    54913
GLENN SILVERS                                                             15414 W 56                                                                             MULHALL             OK    73063
GLENN SMITH                                                               505 EIGHT ST                                                                           BAY ST LOUIS        MS    39520
GLENN SMITH                                                               8608 ROCKDALE LN                                                                       SPRINGFIELD         VA    22153
GLENN SMOOT ESTATE                                                        2409 BROOKHAVEN DR                                                                     EDMOND              OK    73034
GLENN THATCHER DECEASED                                                   2730 OAK RIDGE DRIVE                                                                   MONTICELLO          MN    55362
GLENN WARD                                                                702 RISSER PLACE                                                                       MUSKOGEE            OK    74403-3853
GLENN WOLFORD                                                             5033 ROSE AVE                                                                          LONG BEACH          CA    90807-1143
GLENNA CALVERT                                                            4409 26TH ST                                                                           LUBBOCK             TX    79410
GLENNA CRAMER                                                             6304 S PERKINS RD                                                                      STILLWATER          OK    74074
GLENNA HALL-CRAIG                                                         3918 YORKSHIRE DR                                                                      STILLWATER          OK    74074
GLENNA HUFF                                                               333226 E 934 RD                                                                        WELLSTON            OK    74881
GLENNA LEE BURNS                                                          14806 NE 15TH PLACE                                                                    BELLEVUE            WA    98007
GLENNA PENDERGRASS                                                        10612 BING DR                                                                          FORT WORTH          TX    76108-4648
GLENNA PUCCIO                                                             964 RED ROCK CIR                                                                       FLOWER MOUND        TX    75022
GLENNA TANENBAUM                                                          131 PARK AVE #2900                                                                     OKLAHOMA CITY       OK    73102
GLENNDA BATESON                                                           121 GRANDVIEW                                                                          STILLWATER          OK    74074
GLENNIS HAAK                                                              409 S BUDRICK ST                                                                       STILLWATER          OK    74074-3720
GLENNIS PAIGE BLACK                                                       10516 PRAIRIE LANE                                                                     OKLAHOMA CITY       OK    73162
GLENWOOD CEMETARY ASSOCIATION                                             9918 S PERKINS RD                                                                      PERKINS             OK    74059
GLENWOOD HOLDING LLC                                                      3838 OAK LAWN AVE STE 910                                                              DALLAS              TX    75219-4524
GLOBAL 7 ENVIR, HEALTH, SAFETY CORP                                       2944 NW 156TH ST                                                                       EDMOND              OK    73013
GLOBAL ENERGY SOLUTIONS LLC                                               PO BOX 892277                                                                          OKLAHOMA CITY       OK    73189-2277
GLOBAL IMAGING SYSTEMS                 ATTN: CUSTOMER SERVICE                                                                                                    JACKSONVILLE        FL    32255-0599
GLOBAL LAND PARTNERS LLC                                                  909 WALL ST                                                                            NORMAN              OK    73069-6342
GLOBAL PRODUCTION SOLUTIONS LLC                                           35431 HARDESTY RD                                                                      SHAWNEE             OK    74801-5753
GLOBAL SECURITY CORPORATION                                               2944 NW 156TH ST                                                                       EDMOND              OK    73013-2102
GLORENE SEELY                                                             1011 WEST RENETTE AVE                                                                  EL CAJON            CA    92020
GLORIA B HOPKINS REVOCABLE TRUST                                          1905 LAKEVIEW DRIVE                                                                    PERRY               OK    73077
GLORIA BREWSTER                                                           24962 E 728 RD                                                                         PROCTOR             OK    74457
GLORIA DAVIS                                                              PO BOX 7543                                                                            KIRKSVILLE          MO    73501

GLORIA F GODBEE                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY            TX    75070
GLORIA HALE                                                               114 LOCH LOMOND RD                                                                     SAN ANGELO          TX    76901
GLORIA HARCHAR                                                            1236 KING GEORGE LANE                                                                  SAVANNAH            TX    76227
GLORIA HESSER                                                             2214 N BENJAMIN ST                                                                     STILLWATER          OK    74075-2984


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GLORIA J MEYER RESIDUARY TRUST                                           719 LOIRE LANE                                                                         HOUSTON              TX      77090
GLORIA J MORGAN                                                          13303 SE MCGILLIVRAY                                                                   VANCOUVER            WA      98683
GLORIA KINNEY                                                            813 CALVERT AVE                                                                        LOMPOC               CA      93436
GLORIA KOCH                                                              PO BOX 36                                                                              ORLANDO              OK      73073
GLORIA L KINNEY                                                          521 COLBERT DR                                                                         LOMPOC               CA      93436
GLORIA MERTENA                                                           1764 ESTHER DR APT A                                                                   LAKE CHARLES         LA      70611
GLORIA METCALF                                                           509 SPRUCE                                                                             ALVA                 OK      73717
GLORIA MOORE                                                             14639 RICHARDSON DR                                                                    GREENWELL SPRINGS    LA      70739
GLORIA SHOEMAKER                                                         2127 E 59TH PL                                                                         TULSA                OK      74105-7009
GLORIA WALDMAN                                                           PO BOX 69                                                                              CHANDLER             OK      74834-0069
                                                                                                                       9211 Lake Hefner
Gloria Wittman                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gloria Wittman                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Gloria Wittman                                                           520 E 18th Ave                                                                         Stillwater           OK      74074
                                                                                                                       9211 Lake Hefner
Gloria Childs                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gloria Childs                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Gloria Childs                                                            724 NE 21st St                                                                         Oklahoma City        OK      73105
                                                                                                                       9211 Lake Hefner
Gloria Childs Jr.                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gloria Childs Jr.                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Gloria Childs Jr.                                                        724 NE 21st St                                                                         Oklahoma City        OK      73105
GLOYD ORRELL                                                             9103 S LYNN LANE ROAD                                                                  BROKEN ARROW         OK      74012
GLY TECH SERVICES INC                                                    PO BOX 1265                                                                            HARVEY               LA      70059
GLYNDA SPENCER                                                           623 WEST MAIN                                                                          WHITESBORO           TX      76273
GLYNIS STURCH                                                            971 HILDEBRAND CIRCLE                                                                  FOLSOM               CA      95630
GLYNN MCCAULEY                                                           PO BOX 607                                                                             CUSHING              OK      74023-0607
GLYNN PHILLIPS                                                           RR 2 BOX 728                                                                           CORRIGAN             TX      75939
GLYNNE MILDREN                                                           9336 SHOREVIEW RD                                                                      DALLAS               TX      75238
GMS ENERGY LLC                                                           530 EARLEY RIDGE RD                                                                    NEW MATAMOROS        OH      45767-6073
GMS ENERGY LLC                                                           PO BOX 720823                                                                          OKLAHOMA CITY        OK      73172
GMS INVESTMENTS LLC                                                      6 NE 63RD ST, STE 425                                                                  OKLAHOMA CITY        OK      73105-1402
GN MINERALS LLC                                                          PO BOX 101235                                                                          FORT WORTH           TX      76185
GNG ENERGY LLC                                                           PO BOX 1941                                                                            DUNCAN               OK      73534
Goad, Spencer                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City        OK      73116
GODFREY FAMILY TRUST                                                     10630 BUENA VISTA RD                                                                   INDEPENDENCE         OR      97351-9712

GOEHRING & ROZENCWAJG ROYALTIES LLC                                      110 WALL ST                                                                            NEW YORK             NY      10005-3801
GOFORTH RESOURCES LLP                                                    2087 ELDERBERRY RD                                                                     GOLDEN               CO      80401-2009
GOLD BUCKLE SERVICES LLC                                                 PO BOX 2255                                                                            ELK CITY             OK      73644
GOLD CITY MINERAL PARTNERS LP                                            72 DEER PATH                                                                           DAHLONEGA            GA      30533
GOLD MOUNTAIN CAPITAL LLC                                                7739 LOVERS LN                                                                         DALLAS               TX      75225
GOLD STAR ENTERPRISES LLC                                                PO BOX 7662                                                                            SHREVEPORT           LA      71137
GOLDEN ROCK ENERGY PARTNERS LP                                           5956 SHERRY LANESTE 1221                                                               DALLAS               TX      75225
GOLDEN TREND LAND & CATTLE LLC                                           PO BOX 1056                                                                            CHICKASHA            OK      73023-1056
GOLDEN TREND PRODUCTION CO LLC                                           PO BOX 18637                                                                           OKLAHOMA CITY        OK      73154
GOLDIE ROGER                                                             PO BOX 2022                                                                            SOUTH PADRE ISLAND   TX      78597
GOLDMAN NATURAL GAS LLC                                                  PO BOX 2697                                                                            EDMOND               OK      73083
GOLDMAN OIL INTEREST INC                                                 747 N 14TH                                                                             PONCA CITY           TX      74601
GOLDMAN SACHS                                                            200 WEST ST                                                                            NEW YORK CITY        NY      10282
GOLDMAN VIATOR                                                           158 COUNTY ROAD 7813                                                                   NATALIA              TX      78059
GOLDS GYM OKLAHOMA LLC                                                   4001 MAPLE AVE STE 200                                                                 DALLAS               TX      75219-3249
GOLDSTAR LAND SERVICES LLC                                               5605 US HIGHWAY 83                                                                     SHAMROCK             TX      79079-6901
GOLSEN PETROLEUM CP                                                      PO BOX 705                                                                             OKLAHOMA CITY        OK      73101
GOMACO OPERATING COMPANY                                                 7105 E EDMIRAL PL STE 200                                                              TULSA                OK      74120
GONGWER NEWS SERVICE INC                                                 17 S HIGH ST STE 630                                                                   COLUMBUS             OH      43215-3413


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Gonzales, Matthew                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK    73116
                                                                                                                       9211 Lake Hefner
Gonzalo Beltran                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Gonzalo Beltran                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Gonzalo Beltran                                                          11858 E. 62nd St                                                                       Broken Arrow     OK    74012
GOODEN-CHARLSTON PETROL LLC                                              500 S 336TH ST STE 111                                                                 FEDERAL WAY      WA    98003-6389
Goodin, Emily                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK    73116
GOP LLC                                                                  107 S BROADWAY                                                                         EDMOND           OK    73034-3843
GORDA HETHERINGTON                                                       PO BOX 244                                                                             MALAKOFF         TX    75148-0244
GORDA SOUND ROYALTIES LP                                                 PO BOX 671099                                                                          DALLAS           TX    75367
GORDON & NANCY CHIPUKITES JT                                             3808 W GRANDSTAFF                                                                      CUSHING          OK    74023-5683
GORDON D CHIPUKITES & NANCY J CHIPU                                      3808 W GRANDSTAFF                                                                      CUSHING          OK    74023-5683
GORDON DAVIS                                                             713 RIDGEWAY AVE                                                                       COLUMBIA         MO    65203
GORDON DIHLE                                                             12354 EAST CALEY AVE STE 201                                                           CENTENNIAL       CO    80111
GORDON FOGG                                                              PO BOX 842                                                                             ROCKWALL         TX    75087
GORDON HILLARD                                                           9550 TUSKGEE                                                                           NOTASULGA        AL    36866
GORDON L SEAMAN INC                                                      29 OLD DOCK RD                                                                         YAPHANK          NY    11980
GORDON L SWANK                                                           1345 N 300 E                                                                           LEHI             UT    84043-1277
                                                                                                                       9211 Lake Hefner
Gordon Lee Beck                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Gordon Lee Beck                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Gordon Lee Beck                                                          4000 S. Maple Ave                                                                      Broken Arrow     OK    74011
GORDON MILLS                                                             8047 TALON WAY                                                                         ANTELOPE         CA    95843
GORDON MOELLER AND DONNA MOELLER                                         8516 E 78TH PLACE                                                                      TULSA            OK    74133
GORDON MOHON                                                             3912 RIPPLE AVE                                                                        NORMAN           OK    73072
GORDON NELSON                                                            21 CHISHOLM LANE                                                                       ENID             OK    73703
GORDON PULLIAM                                                           220 24TH AVE SE                                                                        NORMAN           OK    73071-4123
GORDON RAINEY                                                            4801 POCHAONTAS AVE                                                                    RICHMOND         VA    23226
GORDON SMITH FOSTER JR                                                   12900 PRESTON RD STE 102                                                               DALLAS           TX    75230-1329
GORDON THOMAS                                                            2420 W SORGHUM MILL RD                                                                 EDMOND           OK    73025
GORE & ASSOCIATES                                                        25A KINMOND AVE                                                                                                            AUSTRALIA
GORE EXPLORATION LLC                                                     PO BOX 6                                                                               SEILING          OK    73663-0006
GORE NITROGEN PUMPING SERVICE LLC                                        PO BOX 65                                                                              SEILING          OK    73663-0065
GORHAM FAMILY REV TRUST DTD 7-26-06                                      7204 HAMMOND                                                                           OKLAHOMA CITY    OK    73132
GOSPEL LIGHTHOUSE CHURCH                                                 315 E MAIN STREET                                                                      MARSHALL         OK    73056
GR PETROLOGY CONSULTANTS INC                                             SUITE 8, 1323 - 44th AVE NE                                                            CALGARY          AB    T2E 6L5      CANADA
GR WIRELINE LP                                                           DEPT 423                                                                               HOUSTON          TX    77210-4346
GRACE B STONE TR UW                                                      PO BOX 840738                                                                          DALLAS           TX    75284-0738
GRACE BRANAUGH                                                           3100 BRIANNA BLVD APT 106                                                              SEDALIA          MO    65301-2424
GRACE DECD                                                               8250 N VIA PASEO DEL NORTE                                                             SCOTTSDALE       AZ    75258
GRACE EDENFIELD                                                          21508 300TH ST                                                                         MCCLELLAND       IA    51548
GRACE G HOLMAN TR                                                        4100 S YOUNGS BLV                                                                      OKLAHOMA CITY    OK    73119
GRACE HOLT                                                               2077 BRIARCLIFF RD                                                                     LEWISVILLE       TX    75067
GRACE HUESTON                                                            3440 YOUNGFIELD STREET #273                                                            WHEAT RIDGE      CO    80033-5245
                                                                                                                       9211 Lake Hefner
Grace J. Dotson                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Grace J. Dotson                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Grace J. Dotson                                                          744 NW 1st St                                                                          Moore            OK    73160
GRACE JOHNSON                                                            PO BOX 654                                                                             CARNEGIE         OK    73015-0654
GRACE M SIEGENTHALER TR                                                  5901 ROSEMONT CT                                                                       ARLINGTON        TX    76017
GRACE MCCOY                                                              4667 E 55TH PL APT 55                                                                  TULSA            OK    74135
GRACE MCKNIGHT                                                           8516 E 68TH ST                                                                         STILLWATER       OK    74074-8447
GRACE P LYBRAND ESTATE DECD                                              PO BOX 2669                                                                            LA JOLLA         CA    92038
GRACE SLAPE                                                              PO BOX 346                                                                             SHASTA LAKE      CA    96019-0346
GRACE STEICHEN                                                           400 N. OLYMPIA                                                                         PONCA CITY       OK    74601
GRACE WILCOX TRUST                                                       2219 TERWILLEGER BLVD                                                                  TULSA            OK    74114-1317


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                                                                                                                    9211 Lake Hefner
Grace Garrett                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Grace Garrett                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Grace Garrett                                                         7016 NW 43rd St                                                                        Bethany          OK      73008
GRACELAND AND MINERALS LLC                                            PO BOX 1853                                                                            ARDMORE          OK      73402-1853
GRACEY ENERGY CONSULTING                                              5760 LEGACY #3537                                                                      PLANO            TX      75024
GRACIE SANDERS                                                        1063 N HARRISON                                                                        SAN ANGELO       TX      76901
GRACIE THOMSEN                                                        PO BOX 82                                                                              CAMARGO          OK      73835

GRACO FISHING & RENTAL TOOLS INC                                      5300 TOWN & COUNTRY BLVD STE 220                                                       FRISCO           TX      75034
GRADY COUNTY CLERK                                                    326 W CHOCTAW AVE                                                                      CHICKASHA        OK      73018
GRADY GARDNER                                                         4611 WILD TURKEY PASS DR                                                               STILLWATER       OK      74074

GRADY PATRICK STEWART                                                 5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
GRADY RENTALS LLC                                                     2745 S HIGHWAY 171                                                                     CLEBURNE         TX      76031-0756
GRAFF FAMILY REVOCABLE TRUST                                          6419 N MERIDIAN AVE                                                                    CRESCENT         OK      73028
GRAHAM HARPER                                                         32921 CALLE DE LA BURRITA                                                              MALIBU           CA      90265
Graham, Lori                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
GRALAUR CORP                                                          PO BOX 14718                                                                           OKLAHOMA CITY    OK      73113
GRANADA HOLDINGS LLC                                                  PO BOX 18744                                                                           OKLAHOMA CITY    OK      73154
GRAND & TOY LTD.                                                      PO BOX 5500                                                                            DON MILLS        ON      M3C 3L5      CANADA
GRAND LAKE RESOURCES                                                  12098 E 630 RD                                                                         HENNESSEY        OK      73742
GRAND LODGE OF OKLAHOMA IOOF                                          PO BOX 588                                                                             PERRY            OK      73077-0588
GRAND VENTURES LLC                                                    1920 S CLEVELAND ST                                                                    ENID             OK      73703
GRANDCHILDRENS TRUST                                                  1117 CHRISWOOD DR                                                                      ABILENE          TX      79601-5529
GRANGER FAMILY TRUST                                                  131 IRIS DRIVE                                                                         SALINAS          CA      93906
GRANITE TELECOMMUNICATIONS                                            PO Box 983119                                                                          BOSTON           MA      02298-3119
Granite Telecommunications                                            100 Newport Avenue                            Extension                                Quincy           MA      02171
GRANNYS FARM LLC                                                      150 E CEDAR ST                                                                         PERRY            OK      73077
GRANT COUNTY CLERK                                                    112 E GUTHRIE ST STE 102                                                               MEDFORD          OK      73759-1298
GRANT COUNTY LEPC                                                     112 E. Guthrie Room 104                                                                Medford          OK      73759
Grant County Treasurer                                                112 E. Guthrie                                Room 105                                 Medford          OK      73759
GRANT COUNTY TREASURER                                                112 E GUTHRIE ST. RM 105                                                               MEDORD           OK      73759
GRANT DENNY                                                           8824 E 77TH PL                                                                         TULSA            OK      74133
GRANT LOVELESS                                                        285 COUNTY ROAD 1370                                                                   VERDEN           OK      73092
GRANT M ACTON ESTATE                                                  4232 32ND ST APT 17                                                                    PHOENIX          AZ      85018
GRANT STEBBINS                                                        811 8TH AVE N                                                                          GREAT FALLS      MT      59401
GRANT THORNTON LLP                                                    33911 TREASURY CTR                                                                     CHICAGO          IL      60694-3900
GRANT WITHERS                                                         102 S VALLEY ST                                                                        BURBANK          CA      91505
                                                                                                                    9211 Lake Hefner
Grant Moen                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Grant Moen                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Grant Moen                                                            10912 Victoria Pl                                                                      Oklahoma City    OK      73120
                                                                                                                    9211 Lake Hefner
Grant Schultz                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Grant Schultz                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Grant Schultz                                                         921 N Air Depot Blvd                                                                   Edmond           OK      73034
GRASSMAN MOWING                                                       17245 CADIZ RD LOT B                                                                   LORE CITY        OH      43755-9720
GRAVES FAMILY EDUCATION TRUST                                         16454 GREEN PINES DRIVE                                                                WILDWOOD         MO      63011
GRAVITY OILFIELD SERVICES LLC                                         3300 NORTH A ST BLDG 4 STE 100                                                         MIDLAND          TX      79705
GRAYBAR ELECTRIC COMPANY INC                                          PO BOX 504490                                                                          SAINT LOUIS      MO      63150-4490
GRAYBILL FAMILY FARM LLC                                              22522 SAMS'S DRIVE                                                                     EDMOND           OK      73025
GRAYCE D CLARK TRUST                                                  PO BOX 1                                                                               AMARILLO         TX      79105-0001
GRAYCLIFF RESOURCES LLC                                               3233 NW 177TH ST                                                                       EDMOND           OK      73012
GRAYDON R LANTZ IRR TR                                                827 HICKORY STICK                                                                      CHICKASHA        OK      73018
GRAYTON ENERGY LLC                                                    PO BOX 720565                                                                          NORMAN           OK      73072


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GRE GOT RATE ENERGY LLC                                                PO BOX 424                                                                 QUITMAN           AR       72131-0424
GREAT NORTHERN CONSULTING LLC                                          25 MISSION VIEW DRIVE                                                      LAKESIDE          MT       59922
GREAT PLAINS ANALYTICAL SERVICES IN                                    PO BOX 682                                                                 ELK CITY          OK       73648-0682
GREAT PLAINS CONSTRUCTION LLC                                          24225 N COUNCIL RD                                                         EDMOND            OK       73025-9722
GREAT PLAINS OILFIELD RENTAL LLC                                       PO BOX 207044                                                              DALLAS            TX       75320-7044
Great Plains Oilfield Rental, LLC     c/o Doré Law Group, P.C.         Attn: Christina Heeth                17171 Park Row        Ste. 160        Houston           TX       77084
GREAT WHITE PRESSURE                                                   Dept 105                                                                   DALLAS            TX       77210-4346
GREAT WHITE PRESSURE CONTROL LLC                                       DEPT 3307                                                                  DALLAS            TX       75312-3307
GREATER OKLAHOMA CITY CHAMBER                                          123 PARK AVE                                                               OKLAHOMA CITY     OK       73102-9005
GREEN COUNTRY TESTING INC                                              6825 E 38TH ST                                                             TULSA             OK       74145-3201
GREEN EQUIPMENT COMPANY CORP                                           2563 GRAVEL DR                                                             FORT WORTH        TX       76118-0000
GREEN FAMILY TRUST                                                     PO BOX 370                                                                 CHARLOTTE         VT       05445-0370
GREEN FAMILY TRUST                                                     110 EASTMOOR DRIVE                                                         MCPHERSON         KS       67460
GREEN FOREST PROPERTIES LLC                                            1410 GRAY FOX DR                                                           NORTH CANTON      OH       44720
GREEN HAVEN CEMETERY INC                                               PO BOX 616                                                                 STILLWATER        OK       74076-0616
GREEN OAK ENEREGY LLC                                                  PO BOX 1641                                                                STILLWATER        OK       74076
Green, Lane                           c/o White Star Petroleum, LLC    4615 W. Lakeview Rd                                                        Stillwater        OK       74074
GREENBAN OPERATING LLC                                                 3616 LINDENWOOD AVE                                                        DALLAS            TX       75205
GREENCO HOLDINGS LLC                                                   5353 KELLER SPRINGS RD #722                                                DALLAS            TX       75248
GREENE'S ENERGY GROUP LLC                                              PO BOX 676263                                                              Dallas            TX       99999
GREENLEAF ENERGY CORP                                                  101 PARK AVE STE 310                                                       OKLAHOMA CITY     OK       73102
GREENPEAK RESOURCES LLC                                                2009 N ROSS AVE                                                            OKLAHOMA CITY     OK       73107
GREENSHIELDS RANCH INC                                                 22401 RANCH                                                                RED ROCK          OK       74651
GREENSTAR ENERGY LLC                                                   PO BOX 752                                                                 OKLAHOMA CITY     OK       73101
GREENWAY CP                                                            PO BOX 7654                                                                VANBUREN          AR       72956
GREENWOOD ENERGY INC                                                   5618 MAINSTAY DRIVE                                                        KINGSTON          OK       73439
GREENWOOD ENERGY LLC                                                   13222 CONGRESS LAKE AVE NE                                                 HARTVILLE         OH       44632
GREER RESTAURANT SYSTEMS INC                                           PO BOX 547                                                                 PRAGUE            OK       74864-0547
GREG & NANCY VANCE FAMILY LTD PART                                     8150 N CENTRAL EXPY STE 1475                                               DALLAS            TX       75206-0506
GREG ALLEN                                                             79890 ROAD 412                                                             ARNOLD            NE       69120
GREG CALAVAN                                                           1515 SHADY HILLSIDE PASS                                                   ROUND ROCK        TX       78665
GREG FRANKLIN                                                          10432 E HEFNER RD                                                          JONES             OK       73049
Greg Goad                             c/o Allen Stewart, PC            Attn: Allen M Stewart                325 N Saint Paul St   Ste. 4000       Dallas            TX       75070
Greg Goad                             c/o Drummond Law, PLLC           Attn: Donald A Lepp                  1500 South Utica      Ste. 400        Tulsa             OK       74104
Greg Goad                             c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                747 3rd Ave                           New York          NY       10017
Greg Goad                                                              5051 County Road 6050                                                      Ralston           OK       74650
GREG GOULD                                                             62000 E 232 RD                                                             WYANDOTTE         OK       74370
GREG HALL OIL & GAS LLC                                                2940 NW 156TH ST                                                           EDMOND            OK       73013
GREG HIMES                                                             7802 S WASHINGTON ST                                                       STILLWATER        OK       74074-8203
GREG HOLMAN                                                            PO BOX 1119                                                                OREGON HOUSE      CA       95962
GREG HOWELL SMITH                                                      8571 CANDLEWOOD DRIVE APT 523                                              OKLAHOMA CITY     OK       73132
GREG IRA                                                               320 LOOP RD                                                                SHERWOOD          TX       72120
GREG LEAVELL                                                           PO BOX 165                                                                 ROBINSON          IL       62454
GREG MAHAFFEY                                                          PO BOX 500                                                                 MARLOW            OK       73055
GREG MAY                              c/o White Star Petroleum, LLC    301 NW 63rd St                       Ste 600                               Oklahoma City     OK       73116
GREG MCKNIGHT                                                          8414 E 68TH ST                                                             STILLWATER        OK       74074-8448
GREG OWENS                                                             6837 SYLVAN WOODS DR                                                       SANFORD           FL       32771
GREG RIEPL                                                             119 N ROBINSON AVE STE 530                                                 OKLAHOMA CITY     OK       73102-4634
GREG RODGERS                                                           109 E MAPLE ST                                                             DRUMRIGHT         OK       74030-2613
GREG SATHERLIE                                                         6 NE 63RD STREET SUITE 425                                                 OKLAHOMA CITY     OK       73105
                                      c/o Green & Brown (Tim W. Green
Greg Savory                           PC)                             Attn: Tim W Green                     213 E. Oklahoma Ave                   Guthrie           OK       73044
Greg Savory                                                           10113 W 9th St                                                              Ripley            OK       74062
GREG SEDBROOK                                                         15819 MANES GROVE                                                           SAN ANTONIO       TX       78247
GREG TOMBERLIN                                                        1126 41ST STREET                                                            SACRAMENTO        CA       95819
GREG VINYARD                                                          2519 N TAYLOR LN                                                            STILLWATER        OK       74075-0951
GREG W HEATH REV TR                                                   ROUTE 1 BOX 132                                                             WATONGA           OK       73772
GREG WALLACE                                                          11010 BANDLYTOWN PL                                                         BELLEVUE          NE       68123
GREG WELCH                                                            6659 VIKING WAY                                                             THEODORE          AL       36882


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GREG WORSHAM                                                             8215 VALLEY RIDGE DR                                                                    STILLWATER      OK    74075
                                                                                                                       9211 Lake Hefner
Greg Vollmer                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Greg Vollmer                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Greg Vollmer                                                             1624 Rolling Stone Dr                                                                   Norman          OK    73071
GREGG A BUCKLE                                                           8921 SIERRA OAK DRIVE                                                                   BAKERSFIELD     CA    93311
GREGG AND MICHELLE GROST                                                 2305 CREIGHTON DR                                                                       NORMAN          OK    73071
GREGG B COLTON TRUST                                                     65 S PFEIFFERHORN DR                                                                    ALPINE          UT    84004-1555
GREGG LARSON                                                             12 CIMARRON TRL                                                                         PERKINS         OK    74059-4165
GREGG M & CHELIN SATHERLIE REV TST                                       6 NE 63RD STREET SUITE 425                                                              OKLAHOMA CITY   OK    73105
GREGG M SATHERLIE                                                        6 NE 63RD ST STE 425                                                                    OKLAHOMA CITY   OK    73105
GREGG N SATHERLIE                                                        6 NE 63RD ST STE 425                                                                    OKLAHOMA CITY   OK    73105
GREGG OLSON CASH BALANCE PLAN                                            PO Box 2640                                                                             MIDLAND         TX    79702
GREGORY A AHRNSBRAK                                                      14666 E STANFORD PLACE                                                                  AURORA          CO    80015
GREGORY BALLARD                                                          510 E MAIN ST                                                                           TUTTLE          OK    73089-9191
GREGORY BELL                                                             1315 BRAINARD WOODS                                                                     CENTERVILLE     OH    45458
GREGORY BLANKINSHIP                                                      964 CR 721 LOT 120                                                                      LORIDA          FL    33857
GREGORY BROOKS                                                           PO BOX 618                                                                              NEWALLA         OK    74857-0618
GREGORY CARMACK                                                          2524 CHANNEL DR                                                                         RIVERBANK       CA    95367
GREGORY CROOK                                                            5817 E EVERGREEN ST                                                                     MESA            AZ    85205-5846
GREGORY DEWALD                                                           205 MOCKINGBIRD LN                                                                      STILLWATER      OK    74074
GREGORY DOVE                                                             4611 TWIN VALLEY CIR                                                                    AUSTIN          TX    78731-3530

GREGORY E & SHARON L SMITH REV TRUS                                      2790 OSBORNE RD                                                                         CAMERON PARK    CA    95682
GREGORY ELLIOTT                                                          5921 CIRCLE OAK DR                                                                      BULVERDE        TX    78163-2323
GREGORY EUSTICE                                                          6725 E 55TH ST                                                                          TULSA           OK    74145

GREGORY GIST & DEEANNA GIST JTWROS                                       5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX    75070
GREGORY H JOHNSTON AND KATHY M                                           14800 S ROSEHILL RD                                                                     OLATHE          KS    66062-9408
GREGORY HUDSON                                                           4950 W CANYON RD                                                                        GUTHRIE         OK    73044
                                                                                                                       9211 Lake Hefner
Gregory J. Jones                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Gregory J. Jones                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Gregory J. Jones                                                         6106 Hillcrest Dr                                                                       Oklahoma City   OK    73159
GREGORY KIRBY & GAYLEN KIRBY                                             1808 N BATTLE RIDGE RD                                                                  CUSHING         OK    74023
GREGORY L CARR                                                           1511 W ADMIRAL BLVD                                                                     TULSA           OK    47127
GREGORY LAYNE SEXTON                                                     2 INDEPENDENCE CIRCLE                                                                   ALTUS           OK    73521

GREGORY LEMAN                                                            5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX    75070
GREGORY MCAFEE                                                           4941 S BOSTON AVE                                                                       TULSA           OK    74105
Gregory Meadows                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX    75070
Gregory Meadows                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK    74104
Gregory Meadows                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY    10017
Gregory Meadows                                                          848 North Waco Ave                                                                      Tulsa           OK    74127

GREGORY N GIST                                                           5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX    75070
GREGORY P & CHERIE S SCKOROHOD LIVI                                      13301 175TH AVE NE                                                                      REDMOND         WA    98052
GREGORY POWERS                                                           11604 W 68TH ST                                                                         COYLE           OK    73027-6402
GREGORY PRICE                                                            6958 S UTICA AVE                                                                        TULSA           OK    74136
GREGORY REYNOLDS                                                         5481 CEDAR CREEK RD                                                                     TEMPLE          TX    76504-4858
GREGORY ROBERTS                                                          1158 ROX FUN LANE                                                                       BLANCHARD       OK    55362
GREGORY S BRIDGES                                                        1219 BLAKE DRIVE                                                                        CANON CITY      CO    81212-3601
GREGORY SARVER                                                           3007 WOODS EDGE DR                                                                      BLOOMSBURG      PA    17815
GREGORY SCHUMACHER                                                       40550 TOWNSHIP ROAD 2307                                                                WOODSFIELD      OH    43793-9339
GREGORY SHIPPY                                                           RURAL ROUTE 1                                                                           BLUFFTON        AB    T0C 0M0      CANADA
GREGORY SHIPPY                                                           1540 PINE ST                                                                            SILVERTON       OR    97381
GREGORY SPENCER                                                          9715 E VFW RD                                                                           GLENCOE         OK    74032-3110


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                                                                                                                       9211 Lake Hefner
Gregory Thomas                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120

Gregory Thomas                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Gregory Thomas                                                           1209 NE 20th St                                                                        Oklahoma City     OK      73111
GREGORY THOMAS WILLIS                                                    13531 SE 79TH ST                                                                       OKLAHOMA CITY     OK      73150
                                                                                                                       9211 Lake Hefner
Gregory Vilner                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gregory Vilner                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Gregory Vilner                                                           6263 S. Hudson                                                                         Tulsa             OK      74136
GREGORY WAGONER                                                          2973 S HORIZON PL                                                                      OVIEDO            FL      32765
GREGORY WALLACE                                                          11010 BANDLYTOWN PL                                                                    BELLEVUE          NE      68123
GREGORY WINNIE                                                           215 FOREST ST                                                                          ADAIR             OK      74330-2251
                                                                                                                       9211 Lake Hefner
Gregory Vanhoose                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gregory Vanhoose                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Gregory Vanhoose                                                         4317 NW 56th St                                                                        Oklahoma City     OK      73112
GRELI LESS                                                               PO BOX 1600                                                                            SAN ANTONIO       TX      78296-1600
GRETA MOHON                                                              1311 HUNTINGTON WAY                                                                    NORMAN            OK      73069
GRETA STREIT REVOCABLE TRUST UA DTD                                      8777 PEBBLE CREEK LN                                                                   SARASOTA          FL      34238
                                                                                                                       9211 Lake Hefner
Greta Carreathers                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Greta Carreathers                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Greta Carreathers                                                        10101 Little Pond Dr                                                                   Oklahoma City     OK      73162
GRETCHEN TAYLOR                                                          3618 SE FRONTAGE RD #1                                                                 JOHNSTOWN         CO      80534
GRETCHEN WAHL                                                            4402 N MAIDEN APT 3                                                                    CHICAGO           IL      60640
GREY A DRESSER REV MINERAL TR                                            2227 E 38TH ST                                                                         TULSA             OK      74105
GRIEVES & COMPANY                                                        PO BOX 3125                                                                            EDMOND            OK      73083-3125
GRIFFEN LAUER                                                            88 DAVIS RD                                                                            ORINDA            CA      94563
GRIFFIN MINERALS LP                                                      PO BOX 1666                                                                            BRECKENRIDGE      TX      76424
GRIFFIN ROYALTY LTD                                                      PO BOX 1666                                                                            BRECKENRIDGE      TX      76424
Griffin, Paul                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
GRIFFITH OIL & GAS LLC                                                   PO BOX 1747                                                                            STILLWATER        OK      74076-1747
GRINDSTAFF FAMILY TRUST OF 2012                                          1015 N AMANDA LN                                                                       STILLWATER        OK      74075
GRISSO FAMILY TRUST                                                      PO Box 258850                                                                          OKLAHOMA CITY     OK      73125
GRISWOLD LAND COMPANY                                                    5922 S BRUSH CREEK RD                                                                  STILLWATER        OK      74074-6389
GRIZZLY HOLDINGS LLC                                                     505 WEST MAIN                                                                          YUKON             OK      73099
GRIZZ'S TRUCKING LLC                                                     PO BOX 1625                                                                            PURCELL           OK      73080-7625
Grose, Sarah                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
GROTH CORPORATION                                                        PO BOX 952170                                                                          ST LOUIS          MO      63195-2170

GROUNDS PROFESSIONAL SURVEYING INC                                       PO BOX 224                                                                             PERKINS           OK      74059-0224
GROUPE SHAREGATE INC                                                     1751 RICHARDSON ST                                                                     MONTREAL          QC      H3K 1G6      CANADA
GROVE & HULETT PC                                                        204 N ROBINSON STE 1000                                                                OKLAHOMA CITY     OK      73102
GROVER LEE RAINS LE                                                      615 NE 3RD ST                                                                          PERKINS           OK      74059-3103
GROVER MCLURE                                                            2020 W LOUISVILLE                                                                      BROKEN ARROW      OK      74012
                                                                                                                       9211 Lake Hefner
Grover Turner                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Grover Turner                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Grover Turner                                                            1107 Woods Ave                                                                         Norman            OK      73069
GRP ENERGY LP                                                            5956 SHERRY LN STE 1221                                                                DALLAS            TX      75225-8065
GRUNET REALTY                                                            145 HUGUENOT ST SUITE 412                                                              NEW ROCHELLE      NY      10801
GRYPHON OILFIELD SOULTIONS LLC                                           DEPT 3829 PO BOX 123829                                                                DALLAS            TX      75312-3829
GRYPHON PROPERTIES LLC                                                   PO BOX 54414                                                                           OKLAHOMA CITY     OK      73154-1414
GS EXPLORATION LLC                                                       PO BOX 1289                                                                            KINGFISHER        OK      73750


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GS TINSLEY                                                               431 NW 44TH ST                                                                         OKLAHOMA CITY   OK      73118
GSO ADGM II White Star LP             Attn: Doug Logigian                345 Park Ave., Suite 3100                                                              New York        NY      10154
GSO Capital Partners LP               Attn: Marisa Beeney                345 Park Ave., Suite 3100                                                              New York        NY      10154
GSOC                                                                     PO BOX 1032                                                                            OKLAHOMA CITY   OK      73101
GSR-DALLAS 2016 LLC                                                      PO BOX 671099                                                                          DALLAS          TX      75367-1099
GSS PROPERTIES LLC                                                       PO BOX 797                                                                             PURCELL         OK      73080-0797
GT & LL INVESTMENTS LLC                                                  1315 FLINTRIDGE AVE                                                                    EUGENE          OR      97401
GTA III LLC                                                              PO BOX 3688                                                                            BEAUMONT        TX      77704-3688
GTW INVESTMENTS INC                                                      PO BOX 21887                                                                           OKLAHOMA CITY   OK      73156
GTW INVESTMENTS INC                                                      PO BOX 21887                                                                           OKLAHOMA CITY   OK      73116
                                                                                                                       9211 Lake Hefner
Guadalupe Saenz                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Guadalupe Saenz                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Guadalupe Saenz                                                          10623 E. 4th St                                                                        Tulsa           OK      74128

GUARD EXPLORATION LIMITED PARTNERSH                                      PO BOX 1187                                                                            ENID            OK      73702-1187
GUARDIAN AERIAL PATROL                                                   1050 E 2ND ST # 225                                                                    EDMOND          OK      73034-5313
GUARDIAN ENERGY CONSULTANTS                                              321 S FRANKFORT AVE                                                                    TULSA           OK      74120
GUARDIAN OILFIELD SERVICES INC                                           PO BOX 146                                                                             LEEDEY          OK      73654
GUERNSEY                                                                 PO BOX 960012                                                                          OKLAHOMA CITY   OK      73196-0012
GULF COAST BANK & TRUST COMPANY                                          PO BOX 731152                                                                          DALLAS          TX      75373-1152
GULF COAST BUSINESS CREDIT                                               PO BOX 732148                                                                          DALLAS          TX      75373-2148
GULFPORT ENERGY CORPORATION                                              14313 N MAY AVE STE 100                                                                OKLAHOMA CITY   OK      73134-5003
GUM PUCKETT & MACKECHNIE LLP                                             105 N HUDSON AVE STE 900                                                               OKLAHOMA CITY   OK      73102-4803
GUNGOLL JACKSON BOX & DEVOLL PC                                          PO BOX 1549                                                                            ENID            OK      73702
GUNLINE ENERGY LLC                                                       PO BOX 357                                                                             SHERIDAN        WY      82801
GUS EDWIN MALZAHN 1980 REV TRUST                                         PO BOX 1902                                                                            PERRY           OK      73077
GUSSIE WINTON                                                            607 E MAIN ST                                                                          CUSHING         OK      74023
GUSTAV FLEISCHMANN                                                       71 CONCORD RD                                                                          WESTON          MA      02493-1211
GUTHRIE NEWS LEADER                                                      PO BOX 879                                                                             GUTHRIE         OK      73044
GUY AND SHERI LLC                                                        4029 CHARLESTON PARK                                                                   TYLER           TX      75701-6719
GUY BENTSEN                                                              1030 EMERALD WAY                                                                       HUNTSVILLE      TX      77320-8011

GUY E SUTHERLAND                                                         5900 SOUTH LAKE FOREST DR STE 30                                                       MCKINNEY        TX      75070
GUY ELLIS                                                                340754 E 800 RD                                                                        TRYON           OK      74875-6282
GUY EVORITT                                                              701 N BROADWAY                                                                         PRINCETON       MO      64673
GUY HARSHBARGER                                                          9612 E 2ND                                                                             GLENCOE         OK      74032
GUY PRIOR                                                                1593 RD V5                                                                             NEOSHO RAPIDS   KS      66864
GUY ROSE                                                                 740769 S HIGHWAY 18                                                                    AGRA            OK      74824
GUY SULLIVAN                                                             10114 FUTURITY WAY                                                                     LOUISVILLE      KY      40223
GUY WHITE                                                                305 ECHOLS DRIVE                                                                       COAHOMA         TX      79511
GUYLA WORKMAN                                                            PO BOX 124                                                                             PERRY           OK      73077
GWEN A HOWARD                                                            4800 N 68TH ST UNIT 137                                                                SCOTTSDALE      AZ      85251-1108
GWEN CLARK                                                               9209 NE 41ST AVE                                                                       VANCOUVER       WA      98665
GWEN HOEHN                                                               4311 HAITI LN                                                                          PASADENA        TX      77505-4030

GWEN L KERR                                                              5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
                                                                                                                       9211 Lake Hefner
Gwen Revels                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120

Gwen Revels                           c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Gwen Revels                                                              1421 NW 100th St                                                                       Oklahoma City   OK      73114
GWEN ROTHBALER                                                           925 W ASHCROFT                                                                         FRESNO          CA      93705
                                                                                                                       9211 Lake Hefner
Gwen Turner                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gwen Turner                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Gwen Turner                                                              405 W. Curtis Dr                                                                       Midwest City    OK      73110


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                                                                                                                       9211 Lake Hefner
Gwendlyn Davis                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK      73120
                                      c/o Laminack, Pirtle & Martines,
Gwendlyn Davis                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX      77006
Gwendlyn Davis                                                           822 NE 18th St                                                                         Oklahoma City         OK      73105
GWENDOLYN BARBAREE                                                       341420 E 800 RD                                                                        TYRON                 OK      74875
GWENDOLYN GILLETT                                                        324 W MAIN                                                                             GEARY                 OK      73040
GWENDOLYN HAMILTON                                                       5008 89TH STREET W                                                                     BRADENTON             FL      34210-2303
GWENDOLYN J COURTNEY MEADOWS                                             PO BOX 894                                                                             RUSH SPRINGS          OK      73082
GWENDOLYN JOHNSON                                                        4224 W 21ST ST                                                                         CHICAGO               IL      60623
GWENDOLYN L BEARRY & JOHNNIE LEE                                         7715 N BRUSH CREEK RD                                                                  GLENCOE               OK      74032
GWENDOLYN MCGUCKEN                                                       44 PALACIO CR                                                                          HOT SPRINGS VILLAGE   AR      71909
GWENITH MYERS                                                            1950 NIX TR                                                                            HARRISON              AR      72601-9741
GWP INVESTMENTS LLC                                                      9514 KINGSWALK                                                                         FORT SMITH            AR      72903
GWYN BOEPPLE                                                             4210 FALCON                                                                            GREAT BEND            KS      67530
GWYNNE D LAUGHLIN 1982 REV TRUST                                         7311 LANCET LN                                                                         OKLAHOMA CITY         OK      73120
GWYNNE D LAUGHLIN 1982 TRUST                                             PO BOX 18723                                                                           OKLAHOMA CITY         OK      73154-0723
GYPSY ENERGY LLC                                                         301 E GLENDALE STREET                                                                  BROKEN ARROW          OK      74011
Gyro Technologies Inc.                c/o Kenton E. McDonald             321 Texan Trail                               Ste. 250                                 Corpus Christi        TX      78411
GYRO TECHNOLOGIES INC.                                                   PO BOX 261021                                                                          CORPUS CHRISTI        TX      78426-1021
GYRODATA INC                                                             PO BOX 650823                                                                          DALLAS                TX      75265-0823
H ALEXANDER FAMILY TRUST                                                 1233 JACKSON ST                                                                        RED OAK               TX      75154
H B PEARCE ESTATE                                                        685 CANYON CREEK DR                                                                    GLENWOOD SPRINGS      CO      81601-9727
H BOYS LAND CO LLC                                                       14674 RUPE DR                                                                          ARCADIA               OK      73007

H FRANK MUTTERS SR. AND DOROTHY MUT                                      PO BOX 67                                                                              TRYON                 OK      74874
H GLIMP                                                                  48001 W 138TH PL                                                                       DRUMWRIGHT            OK      74030
H HUDSON                                                                 110 SUMMIT AVE                                                                         BULL SHOALS           AR      72619-3914
H M BETTIS INC                                                           PO BOX 1240                                                                            GRAHAM                TX      76450-1240
H MARK LUNENBURG                                                         29 S MAIN ST STE 216                                                                   WEST HARTFORD         CT      06107
H MILES COHN TRUST                                                       4809 WELFORD DR                                                                        BELLAIRE              TX      77401-5333
H N RHODES PE LLC                                                        4118 HEATHERHILL CIRCLE                                                                LONGMONT              CO      80503
H NORMAN WINKLE TRUST                                                    7704 RUMSEY RD                                                                         OKLAHOMA CITY         OK      73132
H P HEMMINGSON                                                           PO BOX 52000                                                                           OKLAHOMA CITY         OK      73152-2000
H R COLLIER AND BENITA COLLIER                                           644 N QUAPAW ST                                                                        SKIATOOK              OK      74070-3651
H RANDALL L CHRISTENSEN                                                  PO BOX 720058                                                                          OKLAHOMA CITY         OK      73172
H SCHNEIDER                                                              5500 S POPLAR ST                                                                       CASPER                WY      82601
H SOLOMON                                                                8702 E. WHITTON AVENUE                                                                 SCOTTSDALE            AZ      85251
H TOM KIGHT III TRUST DTD 9-30-1977                                      PO BOX 13566                                                                           OKLAHOMA CITY         OK      73113
H TRIVEDI                                                                7428 NW 132ND ST                                                                       OKLAHOMA CITY         OK      73142-2407
H TULLY                                                                  1002 S PINE ST                                                                         STILLWATER            OK      74074-5455
H W ALLEN CO LLC                                                         4835 SOUTH PEORIA SUITE 20                                                             TULSA                 OK      74105
H&J SERVICES INC                                                         3312 North 16th Street                                                                 North Enid            OK      73701
H&S ENTERPRISES GROUP                                                    1900 E 15 STREET, BLDG 600B                                                            EDMOND                OK      73013-6691
H. HUFFMAN & CO.                                                         301 N.W. 63rd St., Suite 510                                                           Oklahoma City         OK      73116
H.E.A.D PETROLEUM INC                                                    167 BERTEL DRIVE                                                                       COVINGTON             LA      70433
H.G. Adams, LLC                       c/o Edward L. White, PC            Attn: Edward L White                          829 E. 33rd St                           Edmond                OK      73013
H.G. Adams, LLC                       c/o Jeffery Hirzel                 PO Box 279                                    119 S. Broad                             Guthrie               OK      73044
H.G. Adams, LLC                                                          110 N Broad St                                                                         Guthrie               OK      73044
H2 Services LLC                       Craig Hamilton                     4700 Highway 105                                                                       Guthrie               OK      73044
H2 SERVICES LLC                                                          PO BOX 1310                                                                            GUTHRIE               OK      73044-1310
HAAS LAND SERVICE LLC                                                    22723 ROYAL ARMS COURT                                                                 KATY                  TX      77449
HACIENDA RESOURCES LLC                                                   3030 NW EXPRESSWAY STE 200-301                                                         OKLAHOMA CITY         OK      73112-5400
HADDING RLT UA 9-22-99                                                   1612 TIMBER RIDGE ESTATES DR                                                           WILDWOOD              MO      63011
HADEN BUCKMASTER & FRANCES DRIGGS                                        222 BIRCH STREET                                                                       TRYON                 OK      74875-6108
HAGGARD LAND COMPANY                                                     521 W WILSHIRE BLVD STE 130                                                            OKLAHOMA CITY         OK      73116-7785
HAILEY CEANN WALTON                                                      618 HOLLY STREET                                                                       PERRY                 OK      73077
HAKEN FAMILY LLC                                                         7906 S 150TH ST                                                                        DOUGLAS               OK      73733
HAL C SMITH AND ASSOCIATES INC                                           PO BOX 5148                                                                            NORMAN                OK      73070-5148


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               CreditorName                  CreditorNoticeName                             Address1                            Address2                 Address3             City   State       Zip      Country
HAL D MCVEY                                                                  13215 BRAUN ROAD                                                                       GOLDEN           CO      80401
HAL SMITH                                                                    PO BOX 5148                                                                            NORMAN           OK      73070-5148
HALBERT ROYALTIES LTD                                                        PO BOX 11566                                                                           BIRMINGHAM       TX      35202
HALBERT SUMNER                                                               610 FRISCO ST                                                                          ASHDOWN          AR      71822
HALCYON EQUIPMENT LLC                                                        PO BOX 351                                                                             RATLIFF CITY     OK      73481
HALCYON NATURAL GAS LLC                                                      6420 N SANTA FE AVE SUITE C                                                            OKLAHOMA CITY    OK      73116
HALE FAMILY TRUST                                                            284 SIESTA AVE                                                                         THOUSAND OAKS    CA      91360
HALES FAMILY REV TRUST                                                       PO BOX 8277                                                                            EDMOND           OK      73083
HALEY FRAZIER                                                                340108 E 870 RD                                                                        CHANDLER         OK      74834-8978
HALFF ROYALTIES INC                                                          5430 GLENN LAKES DRSTE 210                                                             DALLAS           TX      75231
HALL ENERGY CO LLC                                                           9225 LAKE HEFNER PKWY STE 200                                                          OKLAHOMA CITY    OK      73120-2061
HALL ESTILL ATTORNEYS AT LAW                                                 320 S BOSTON AVE STE 200                                                               TULSA            OK      74103-3705
HALL LIVING TRUST                                                            1601 WEST WILMETH ROAD                                                                 MCKINNEY         TX      75069
HALL PRODUCTION CO LC                                                        PO BOX 3627                                                                            TULSA            OK      74101
                                                                             3000 N. Sam Houston Pkwy E. Houston, TX
Halliburton Energy Services Inc       Jeff Miller, Chief Executive Officer   77032
HALLIBURTON ENERGY SERVICES INC                                              PO BOX 301341                                                                          DALLAS           TX      75303-1341
HALLIBURTON ENERGY SVCS INC                                                  PO BOX 301341                                                                          DALLAS           TX      75303-1431
HALLIE GRAHAM                                                                PO BOX 139                                                                             SAVANNA          OK      74565
HALLIOUS HAMILTON                                                            PO BOX 32                                                                              MULHALL          OK      73063
HALLYE FULGHAM                                                               2029 S CHILTON                                                                         TYLER            TX      75701
HALSEY FAMILY TRUST UTA DTD 9-20-20                                          111 S ASH ST                                                                           GUTHRIE          OK      73044
HALYARD CP LLC                                                               4001 STEVEN DR                                                                         EDMOND           OK      73013
HAMA & RITA BARRETT REV TR                                                   6321 W 9TH ST                                                                          CUSHING          OK      74023-6495
HAMID RAZAVI                                                                 11106 WICKWOOD DR                                                                      HOUSTON          TX      77024
HAMIDA MUHAMMADA KHOUSSINOV                                                  614 BLANCO ST                                                                          SAN MARCOS       TX      78666-3204
HAMILL OIL PROPERTIES LLC                                                    3833 SOUTHWESTERN ST                                                                   HOUSTON          TX      77005
Hamill, Jeremy                        c/o White Star Petroleum, LLC          4615 W. Lakeview Rd                                                                    Stillwater       OK      74074
HAMILTON FAMILY REV LIV TR                                                   2817 EMBERWOOD DRIVE                                                                   GARLAND          TX      75043
HAMILTON INVESTMENT GROUP INC                                                PO BOX 1137                                                                            GUTHRIE          OK      73044-1137
HAMILTON INVESTMENT GROUP INC                                                PO BOX 3685                                                                            LITTLE ROCK      AR      72203-3685
HAMM & PHILLIPS SERVICE CO INC                                               PO BOX 201653                                                                          DALLAS           TX      75320-1653
HAMM TANK & TRUCKING SERVICE LLC                                             PO BOX 506                                                                             PURCELL          OK      73080
HAMMACK-ROCKET PROPERTIES LLC                                                4925 GREENVILLE AVE                                                                    DALLAS           TX      75206-4026
HAMPEL OIL DISTRIBUTORS INC                                                  PO BOX 875477                                                                          KANSAS CITY      MO      64187-5477
HAMPTON FAMILY INVESTMENTS LL                                                PO Box 3480                                                                            OMAHA            NE      68130
HAMPTON FAMILY INVESTMENTS LLC                                               7122 S SHERIDAN RD BOX 615                                                             TULSA            OK      74133
HAMPTON FAMILY INVESTMENTS LLC                                               7122 S SHERIDAN RD PO BOX 6150                                                         TULSA            OK      74133
HAMPTON OIL & GAS                                                            12525 N PENNSYLVANIA AVE APT 254                                                       OKLAHOMA CITY    OK      73120-9477
                                                                                                                           9211 Lake Hefner
Han T. Nguyen                         c/o Atkins & Markoff                   Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Han T. Nguyen                         LLP                                    Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Han T. Nguyen                                                                14217 E. 37th St                                                                       Tulsa            OK      74134
HANCOCK ENTERPRISES                                                          PO BOX 2527                                                                            BILLINGS         MT      59103
HANCOCK FAMILY LLC                                                           6 NE 63RD ST STE 425                                                                   OKLAHOMA CITY    OK      73105-1404
HANCOCK OIL & GAS INC                                                        11233 KINGSGATE TERRACE                                                                OKLAHOMA CITY    OK      73170
HANCOCK RENTALS LLC                                                          PO BOX 98                                                                              PERKINS          OK      74059-0098
HANK FORESTER                                                                1957 DURANGO AVE                                                                       LOS ANGELES      CA      90034
HANNA STRAUB                                                                 401 EAST SHEROKEE ST. #3                                                               WYNNEWOOD        OK      73098
HANNAH GRACE CASSIDAY                                                        113 W OAK                                                                              DOVER            OK      73734
HANNELORE WYGANT TTEE                                                        2020 FOREST ROAD                                                                       EDMOND           OK      73025
HANNIFIN MINERALS LLC                                                        PO Box 350010                                                                          WESTMINSTER      CO      80035-0010
HANSEN OIL PROPERTIES LP                                                     PO BOX 291275                                                                          KERRVILLE        TX      78029
HAPPY WELLS                                                                  5705 NW 116TH ST                                                                       OKLAHOMA CITY    OK      73162-2040
HARBER MINERAL RIGHTS LLC                                                    PO BOX 5585                                                                            SCOTTSDALE       AZ      85261-5585
HARBOR ENERGY INC                                                            PO BOX 720754                                                                          NORMAN           OK      73070
HARBOR ENERGY LLC                                                            PO BOX 720754                                                                          NORMAN           OK      73070
HARBOR SPRINGS ROYALTY CO LIMITED                                            PO BOX 1588                                                                            TULSA            OK      74101-1588


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                   CreditorName                            CreditorNoticeName                        Address1                             Address2                  Address3           City     State       Zip      Country
HARD ROCK OILFIELD LLC                                                                 1801 MANCHESTER AVE                                                                     EDMOND           OK      73034
HARDING & SHELTON                                                                      PO BOX 1557                                                                             OKLAHOMA CITY    OK      73101-1557
HARDING AND SHELTON EXPLORATION LLC                                                    PO BOX 1557                                                                             OKLAHOMA CITY    OK      73101-1557
HARDING FAMILY LLC                                                                     PO BOX 1557                                                                             OKLAHOMA CITY    OK      73101-1557
HARDING FRANKEL                                                                        2204 LOUISIANA ST 2ND FL                                                                HOUSTON          TX      77002
HARDLY-ABLE OIL LLC                                                                    PO BOX 21625                                                                            OKLAHOMA CITY    OK      73156
HARDY CARROLL                                                                          3829 WILKIE WAY                                                                         FORT WORTH       TX      76133-2929
HARGROVE HUDSON FOUNDATION                                                             PO BOX DRAWER #99084                                                                    FORT WORTH       TX      76199-0084
HARISCO INC                                                                            525 W BETHEL ROAD                                                                       COPPELL          TX      75019
HARIVADAN SHAH                                                                         5725 NORTHBROOK DR                                                                      PLANO            TX      75093
Hark Capital I, LP fka Enchanced Credit Supported
Loan Fund, LP                                       c/o The Corporation Trust Co.      Corp. Trust Ctr., 1209 Orange St.                                                       Wilmington       DE      19801
HARLAN D MEIER & BETTY L MEIER FAMI                                                    501 PINE ST                                                                             GREENLEAF        KS      66943
HARLAN G BENNETT                                                                       5152 S CAMPOBELLO AVE                                                                   SIERRA VISTA     AZ      85650
HARLAND BURR                                                                           1548 OGDEN STREET,                                                                      DENVER           CO      80218-1445
HARLENE BERRY POPLAWSKY                                                                124 E 4TH ST                                                                            TULSA            OK      74103
HARLESTON WOOD                                                                         4149 SE OLD SAINT LUCIE BLVD                                                            STUART           FL      34996
HARLEY JUSTUS                                                                          5024 W 1ST AVE                                                                          STILLWATER       OK      74074-6894
HARLOW ROYALITES LTD                                                                   22499 IMPERIAL VALLEY DR                                                                HOUSTON          TX      77073-1173
HARMON PRODUCTION SERVICES                                                             2604 SOUTHLAND DRIVE                                                                    EL RENO          OK      73036
HARMONY BUCKLES PARKER                                                                 304 GANDY DR                                                                            HARTSVILLE       SC      29550-5326
Harnden, Carla                                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK      73116
HARNED INVESTMENT LLC                                                                  5804 NW 67TH ST                                                                         OKLAHOMA CITY    OK      73132
HAROLD & MARYLOU BOEPPLE FAMILY                                                        13429 E HAYWARD RD                                                                      DOUGLAS          OK      73733
HAROLD A PAYNE & KELLY A PAYNE                                                         2315 E 68TH ST                                                                          STILLWATER       OK      74074
HAROLD ALEXANDER                                                                       335373 E 1060 RD                                                                        MCLOUD           OK      74851-9680
HAROLD AND JANE FLINT                                                                  9303 W ESECO                                                                            AGRA             OK      74824-6211
HAROLD BELK                                                                            107 EMILYS PINTAIL DR                                                                   BRIDGEVILLE      DE      19933
HAROLD BELK ESTATE                                                                     1408 S DENVER AVE                                                                       TULSA            OK      74119
HAROLD BOEPPLE                                                                         108 EAST C                                                                              ELLINWOOD        KS      67526
HAROLD BRADLEY LEWIS                                                                   PO BOX 126                                                                              MULHALL          OK      73063
HAROLD BRADLEY LEWIS                                                                   PO BOX 126                                                                              MULHALL          OK      73063
HAROLD BRANSON                                                                         14857 OAKS NORTH PL                                                                     DALLAS           TX      75254
Harold Burton                                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Harold Burton                                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Harold Burton                                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Harold Burton                                                                          16699 Shell Creek Rd                                                                    Sand Springs     OK      74063
                                                                                                                                     9211 Lake Hefner
Harold C. Dooley                                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                                    c/o Laminack, Pirtle & Martines,
Harold C. Dooley                                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Harold C. Dooley                                                                       1933 W. 49th Place S.                                                                   Tulsa            OK      74107
HAROLD CAIN                                                                            42 OAK GROVE AVE                                                                        BRATTLEBORO      VT      05301
HAROLD CAREY 1982 REV TR                                                               1605 CANYON BLUFF RD                                                                    GUTHRIE          OK      73044
HAROLD CHANCELLOR                                                                      122 MEDICINE BEND DR                                                                    MADISON          AL      35758
HAROLD COLPITT                                                                         PO BOX 289                                                                              MANNFORD         OK      74044
HAROLD COOK                                                                            505 W ADAMS                                                                             CRESCENT         OK      73028
HAROLD CUNDIFF                                                                         11906 S COUNTRY CLUB DR                                                                 PERKINS          OK      74059-4199
HAROLD D & DEENA FO HOLMES FAMILY                                                      12708 VAL VERDE DR                                                                      OKLAHOMA CITY    OK      73142-5421
HAROLD D HERNDON TRUST                                                                 PO BOX 1600                                                                             SAN ANTONIO      TX      78296-1600

HAROLD D SIEGEL                                                                        5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX      75070
HAROLD DAVIS AND BETTY L DAVIS HW J                                                    12112 E 19TH                                                                            STILLWATER       OK      74074-7032
HAROLD DOGGETT                                                                         1020 13 ST                                                                              PERRY            OK      73077
HAROLD DURHAM                                                                          30001 KELSO ST                                                                          EUGENE           OR      97402-9614
HAROLD EDWARDS                                                                         1174 NORTH MITCHELL ROAD                                                                HENNESSEY        OK      73742
HAROLD FLINT                                                                           9303 W ESECO                                                                            AGRA             OK      74824-6211
HAROLD FRANKLIN SPIVEY                                                                 600 FERN MEADOW DR                                                                      UNIVERSAL CITY   TX      78148
HAROLD GLOCK                                                                           220 N CAPITAL                                                                           GUTHRIE          OK      73044


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              CreditorName                  CreditorNoticeName                          Address1                            Address2                 Address3            City   State       Zip      Country
HAROLD HART                                                              8144 W TRAFALGAR AVE                                                                   PHOENIX         AZ      85033-3416
HAROLD HEPPLER                                                           RT 7 BOX 139                                                                           PARAGOULD       AR      72450
HAROLD J TREPAGNIER JR                                                   9117 NW 101 ST                                                                         YUKON           OK      73099
HAROLD L WEHR & SHARON K WEHR FAM                                        1801 WEHR DR                                                                           GUTHRIE         OK      73044
HAROLD LEVINE                                                            3904 E 31ST ST                                                                         TULSA           OK      74135-1509
HAROLD M THATCHER DECEASED                                               81 NORT LAS YUCAS                                                                      GREEN VALLEY    AZ      85614
HAROLD MARTIN DECEASED                                                   2528 CRESTWOOD DRIVE                                                                   BURLESON        TX      76028
HAROLD MCELROY                                                           3853 W MARIPOSA GRANDE                                                                 GLENDALE        AZ      85310
HAROLD MONTGOMERY                                                        2898 S WASHINGTON STREET                                                               STILLWATER      OK      74074
HAROLD MUNAL                                                             800 N MCCOLL RD                                                                        MCALLEN         TX      78501-5721
HAROLD OCHS                                                              2308 VALLEY BROOK DR                                                                   EDMOND          OK      73034
HAROLD PARKER                                                            32216 SW BOONES BEND RD                                                                WILSONVILLE     OR      97070

HAROLD R DECK & TERESA M DECK TRUST                                      PO BOX 2248                                                                            BARTLESVILLE    OK      74005-2248
HAROLD RICHARDS                                                          PO BOX 93                                                                              MULHALL         OK      73063
HAROLD S WOOD ESTATE                                                     PO BOX 3627                                                                            TULSA           OK      74101-3627
HAROLD SANDERS                                                           4421 S HUSBAND                                                                         STILLWATER      OK      74074
HAROLD SCHMITT                                                           9415 S KARSTEN CREEK RD                                                                COYLE           OK      73027-3009
HAROLD SCHROEDER                                                         3412 NW 45TH ST                                                                        OKLAHOMA CITY   OK      73112-6160
HAROLD SPENCER                                                           56010 E 160 RD                                                                         FAIRLAND        OK      74343
HAROLD TOLSON                                                            725 SE 120TH AVE                                                                       CHULA           MO      64635
                                                                                                                       9211 Lake Hefner
Harold W. Kelley                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Harold W. Kelley                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Harold W. Kelley                                                         Route 1, Box 972                                                                       Bunch           OK      74931
HAROLD WASSON                                                            2433 GOLDEN RAIN RD #3                                                                 WALNUT CREEK    CA      94595-1970
HAROLD WILSON                                                            1916 PRESTON PL                                                                        EDMOND          OK      73013
HAROLD WILSON                                                            PO BOX 2281                                                                            PONCA CITY      OK      74602-2281
HAROLD WOODS                                                             810 S JARDOT RD TRLR 37                                                                STILLWATER      OK      74074-4918
                                                                                                                       9211 Lake Hefner
Harold Caskey                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Harold Caskey                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Harold Caskey                                                            14851 108th                                                                            Lexington       OK      73051
                                                                                                                       9211 Lake Hefner
Harold Colbert                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Harold Colbert                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Harold Colbert                                                           314 S Park                                                                             Guthrie         OK      73034
                                                                                                                       9211 Lake Hefner
Harold Langley                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Harold Langley                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Harold Langley                                                           907 S. Broadway                                                                        Edmond          OK      73034
HARPER FAMILY TRUST                                                      825 TIMBERDALE                                                                         GRAND PRAIRIE   TX      75052
HARPER MINERALS LLC                                                      6608 N WESTERN AVE # 629                                                               OKLAHOMA CITY   OK      73116-7326
HARPER OIL AND GAS INC                                                   343 EAST CARL ALBERT PKWY                                                              MCALESTER       OK      74501
HARRELL PETROLEUM INC                                                    101 PARK AVENUE                                                                        OKLAHOMA CITY   OK      73102
HARRIET GRIESEL                                                          205 N HARDING                                                                          ENID            OK      73703
HARRIET HUGGINS                                                          1124 AVOCADO SUMMIT DR                                                                 EL CAJON        CA      92019
HARRIET MARTIN RIGGS TRUSTEE                                             12209 GRANT ST                                                                         OVERLAND PARK   KS      66213
HARRIET RAILSBACK                                                        801 CRESTLAND DR                                                                       BARTLESVILLE    OK      74006
HARRIET ROBERSON                                                         6447 S HUDSON AVE                                                                      TULSA           OK      74136-2025
HARRIET V GRIFFITH TRST                                                  PO BOX 1747                                                                            STILLWATER      OK      74076-1747
HARRIET V MESSNER                                                        601 ASH GROVE CIR                                                                      EDMOND          OK      73003-1054
HARRIET VIRGINIA "GINA" GRIFFITH IR                                      PO BOX 1747                                                                            STILLWATER      OK      74076-1747
HARRIETT VIRGINIA GRIFFITH                                               PO BOX 1747                                                                            STILLWATER      OK      74076-1747
HARRIETTA BARROWS                                                        16111 W.BENDER ROAD                                                                    BRAMAN          OK      74632


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HARRIS FAMILY TRUST                                                      9507 W BURNS DR                                                                        SUN CITY          AZ       85351-1401
HARRIS FOUNDATION INC                                                    1024 E BRITTON ROAD SUITE 200                                                          OKLAHOMA CITY     OK       73131
HARRIS J KRUSE                                                           1239 TURNBERRY AVE                                                                     LE MARS           IA       51031
Harris, Melinda                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK       73116
HARRISON L JACOBS                                                        12600 W FORREST HILL RD                                                                GUTHRIE           OK       73044
HARRISON ORR AIR CONDITIONING LLC                                        4100 N WALNUT AVE                                                                      OKLAHOMA CITY     OK       73105-3751
HARRY AUSTIN                                                             493 GREEN HILL LN                                                                      BERWYN            PA       19312
HARRY BOYCE                                                              1524 WEST LIBERTY AVE                                                                  STILLWATER        OK       74075
HARRY C BUCKLES JR TRUST                                                 3002 S RIPLEY RD                                                                       RIPLEY            OK       74062-6238
HARRY CLARKE                                                             3201 OX MEADOW CT                                                                      HERNDON           VA       20171-1747
HARRY COSGRIFFE                                                          2261 NE QUAIL VALLEY DR                                                                PRINEVILLE        OR       97754-8651
HARRY DAVIS DECD                                                         PO BOX 8                                                                               WASHOUGAL         WA       98671
HARRY ENERGY INC                                                         3736 WOODSHADOW LN                                                                     ADDISON           TX       75001
HARRY GUELZOW                                                            PO BOX 50962                                                                           IDAHO FALLS       ID       83405-0962
HARRY H DIAMOND INC                                                      PO BOX 20868                                                                           OKLAHOMA CITY     OK       73156
HARRY HUGHES                                                             26800 CO RD 110                                                                        PERRY             OK       73077
HARRY J GOETT                                                            2808 N WARREN AVENUE                                                                   OKLAHOMA CITY     OK       73107
HARRY J. & ECLA S. LINS RESIDUAL TR                                      561 SOUTH ZURICH AVE.                                                                  TULSA             OK       74112
HARRY J.&ECLA S. LINS RESIDUAT TRUS                                      561 SOUTH ZURICH AVE.                                                                  TULSA             OK       74112
HARRY KEYES                                                              6112 GAINSBOROUGH                                                                      AMARILLO          TX       79106
HARRY L JONES II TRUST                                                   2315 CANDY LANE                                                                        MALABAR           FL       32950
HARRY M EVANS JR                                                         7142 BLAIRVIEW DRIVE                                                                   DALLAS            TX       75230
HARRY MCREE                                                              396 DOVER RD                                                                           MIDWEST CITY      OK       73130-4902
HARRY N COHN TRUST                                                       785 MERCER RD                                                                          BUTLER            PA       16001
HARRY SHAY                                                               106 W BROADWAY STREET                                                                  RIPLEY            OK       74062
HARRY TUCEI                                                              4109 ROMA BLVD                                                                         JACKSONVILLE      FL       32210
HARRY WINTON                                                             811 E TAYLOR                                                                           ARKANSAS CITY     KS       67005
HARRY YAWORSKI                                                           207 TEMPLE GATE DR                                                                     CARY              NC       27518
HART ENERGY PUBLISHING                                                   PO BOX 301096                                                                          DALLAS            TX       75303-1096
Hart, Hannah                          c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK       74074
HARTMAN O LAND & CATTLE LLC                                              PO Box 2640                                                                            MIDLAND           TX       79702
HARTMAN OIL CO INC                                                       10500 E BERKELEY SQUARE PKWY                                                           WICHITA           KS       67206-6815
HARTSUCK FAMILY LLC                                                      6909 NW GRAND BLVD                                                                     NICHOLS HILLS     OK       73116
HARTWIG ENTERPRISES INC                                                  2117 SHADOW LAKE DR                                                                    EDMOND            OK       73025
HARTZ ENERGY CAPITAL LLC                                                 400 PLAZA DR                                                                           SECAUCUS          NJ       07094
HARTZOG CONGER CASON & NEVILLE                                           201 ROBERT S KERR AVE STE 1600                                                         OKLAHOMA CITY     OK       73102-4216
HARVEST                                                                  16 W 22ND ST FL 8 # FL8                                                                NEW YORK          NY       10010-5819
                                                                                                                       9211 Lake Hefner
Harvey Allen                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Harvey Allen                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Harvey Allen                                                             5803 N. Mt Vernon                                                                      Cushing           OK       74023
HARVEY BOWMAN                                                            2183 BUFORD STREET                                                                     ST PAUL           MN       55101
HARVEY BURNS                                                             3009 STRAWBERRY RD                                                                     PASEDENA          TX       77502
HARVEY CHESMORE                                                          RR 2 BOX 41A                                                                           VICI              OK       73859-9313
HARVEY DRAPER                                                            4301 QUEENS WAY                                                                        FARMINGTON        NM       87401
HARVEY E LANE                                                            17825 CR 163                                                                           ELMENDORF         TX       78112
HARVEY E WHITE ENTERPRISES                                               PO BOX A                                                                               ARAPAHO           OK       73620
HARVEY EVANS                                                             3852 SLEEPY HOLLOW RD                                                                  BRUNSWICK         OH       44212
HARVEY FAMILY TRUST DTD 11-10-1986                                       31715 CALLE CATALDO                                                                    TEMECULA          CA       92592-3938
HARVEY HARTMAN                                                           1071 E COUNTY RD 64                                                                    MULHALL           OK       73063-9755
HARVEY HUNT                                                              2106 E 55TH CT                                                                         TULSA             OK       74105-6108
HARVEY WOODS                                                             2620 GALVEZ AVE                                                                        FORT WORTH        TX       76111
Harzman, Dirk                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK       73116
HAS TRUST                                                                PO BOX 1717                                                                            CORSICANA         TX       75151-1717
HASKELL HORN FAMILY LTD PTNRSP                                           PO BOX 1026                                                                            SHAWNEE           OK       74802
HATHEWAY PARTNERS LLC                                                    6800 S GRANITE AVE APT 223                                                             TULSA             OK       74136-7098
HATTIE FARRIS                                                            9170 E 4TH ST                                                                          TULSA             OK       74112
HATTIE HILL MCVEY INTER VIVOS TRUST                                      15 E 5TH ST STE 3700                                                                   TULSA             OK       74103


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HATTIE RUTH CASEY TRUST                                                  8606 E 96TH ST N                                                                       OWASSO              OK      74055-6726
HAWK DRILLING FLUIDS LLC                                                 5913 LAQUINTA DRIVE                                                                    EDMOND              OK      73025
HAWK RIVER INVESTMENTS LLC                                               PO BOX 5806                                                                            NORMAN              OK      73070
HAWKINS & HAWKINS                                                        PO BOX 125                                                                             BOYNTON             OK      74422-0125
HAWKINS O&G INC                                                          400 S BOSTON AVE STE 1000                                                              TULSA               OK      74103-5000
Hawkins, Amanda                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
Hawkins, Melanie                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
HAWLEY SERVICES INC                                                      25463 COUNTY RD 800                                                                    NASH                OK      73761
HAWTHORNE RESOURCES LLC                                                  PO BOX 18776                                                                           OKLAHOMA CITY       OK      73154-0776
HAXTON WELL TESTING                                                      PO BOX 54                                                                              CAMARGO             OK      73835
HAY CREEK OIL COMPANY LLC                                                3908 TELEPHONE ROAD                                                                    FORT WORTH          TX      76135
HAY CREEK OPERATING LLC                                                  PO BOX 1588                                                                            TULSA               OK      74101
HAY CREEK ROYALTIES LLC                                                  PO BOX 1588                                                                            TULSA               OK      74101-1588
HAYDEN FITZPATRICK                                                       601 TIMBER RIDGE RD                                                                    EDMOND              OK      73034
HAYDEN MOORE                                                             14871 HEATHER GLEN DR #93                                                              OREGON CITY         OR      97045
HAYDEN WOOD                                                              3408 FOOTHILL PARKWAY                                                                  AUSTIN              TX      78731
HAYDEN-MASON TRUST                                                       13827 KINGSRIDE LN                                                                     HOUSTON             TX      77079-3312
Hayes, Frederick                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
HAYLEY SUE WIMSEY                                                        1601 E SEWARD RD                                                                       GUTHRIE             OK      73044
HAYMAKER HOLDING COMPANY LLC                                             PO BOX 205415                                                                          DALLAS              TX      75320
HAYMAKER PROPERTIES LP                                                   PO BOX 206200                                                                          DALLAS              TX      75320-6200
Haymaker, Doug                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
HAYNES AND BOONE LLP                                                     2323 VICTORY AVE SUITE 700                                                             DALLAS              TX      75219
HAYWARD CEMETERY ASSOCIATION                                             19350 CR 30                                                                            PERRY               OK      73077
HAZARD SCOUT LLC                                                         1706 SMOKING OAK PL                                                                    NORMAN              OK      73072-6709
HAZEL ADCOCK                                                             300 LAWTON ST                                                                          FALLS CHURCH        VA      22046
HAZEL ALEXANDER GLEASON                                                  2008 PALISADES DR                                                                      PACIFIC PALISADES   CA      90272
HAZEL BOWERS                                                             2102 HOBSON COURT                                                                      AUGUSTA             GA      30906
HAZEL BOYD                                                               10020 5TH ST SE                                                                        CALGARY             AB      T2J 1L5      CANADA
HAZEL E KEELER REV INTER VIVOS TR D                                      11120 E 13TH PL                                                                        TULSA               OK      74128
HAZEL GILMORE                                                            7927 ABRAMSHIRE AVE                                                                    DALLAS              TX      75231
HAZEL J CAMERON                                                          3317 SHADYBROOK DR                                                                     MIDWEST CITY        OK      73110
HAZEL KING                                                               10559 W EXPOSITION DR                                                                  LAKEWOOD            CO      80226
HAZEL LEWIS                                                              3710 BAYSHORE BLVD NE                                                                  ST PETERSBURG       FL      33703-5516
HAZEL LITRELL                                                            3709 N 15TH CT                                                                         GRAND JUNCTION      CO      81506
HAZEL N CHESSMORE TTEE                                                   9041 NW 80TH ST                                                                        YUKON               OK      73099
HAZEL PALOVIK                                                            PO BOX 256                                                                             PERKINS             OK      74059-0256
HAZEL SHAW                                                               1026 N UTICA AVE                                                                       TULSA               OK      74110-4911
HAZEL SHIVELY SURVIVORS TRUST                                            PO BOX 840738                                                                          DALLAS              TX      75284-0738
HAZEL SIMPSON                                                            97 WALLEN LN                                                                           OAKLEY              CA      94561-3887
HAZEL SMITH                                                              352411 E 1030 RD                                                                       PRAGUE              OK      74864-1049
HAZEL TURNER                                                             304 E 43RD ST                                                                          SAN ANGELO          TX      76903-1761
                                                                                                                       9211 Lake Hefner
Hazel Jackson                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Hazel Jackson                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Hazel Jackson                                                            10017 N. McKinley Ave                                                                  Oklahoma City       OK      73114
                                                                                                                       9211 Lake Hefner
Hazel Shevat                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Hazel Shevat                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Hazel Shevat                                                             5610 Covey Run Dr                                                                      Edmond              OK      73034
HAZELTINE HOLDINGS CORPORATION                                           PO BOX 20726                                                                           OKLAHOMA CITY       OK      73156
HAZELTINE MINERALS LLC                                                   PO BOX 20726                                                                           OKLAHOMA CITY       OK      73156
HAZELWOOD INC                                                            6608 N WESTERN AVE #618                                                                OKLAHOMA CITY       OK      73116-7326
HB RENTALS                                                               PO BOX 122131                                                                          DALLAS              TX      75312-2131
HBH ENTERPRISES LIMITED PARTNERSHIP                                      929 EAST BRITTON ROAD                                                                  OKLAHOMA CITY       OK      73114-7802
HBT ENTERPRISES LLC                                                      5512 PRAIRIE SCHOONER DR                                                               COLORADO SPRINGS    CO      80923
HCB PRODUCTION CO LLC                                                    16 S 9TH ST, STE 300                                                                   DUNCAN              OK      73533


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HCJA LLC                                                                 3411 W ROCK CREEK RD SUITE 130                                                         NORMAN            OK      73072
HCM FAMILY ROYALTIES LLC                                                 PO BOX 128                                                                             COLLINSVILLE      OK      74021
HCT MINERALS LLC                                                         1724 N HUSBAND ST                                                                      STILLWATER        OK      74075
HDBC INVESTMENTS LTD                                                     PO BOX 12766                                                                           DALLAS            TX      75225-0766
HEADINGTON OIL COMPANY LLC                                               1700 N REDBUD BLVD., SUITE 400                                                         MCKINNEY          TX      75069
HEALTH ADVOCATE                                                          PO BOX 561509                                                                          DENVER            CO      80256
HEART OF OKLAHOMA TRANSPORT LLC                                          PO BOX 288                                                                             PONCA CITY        OK      74602
HEART OF OKLAHOMA TRANSPORT LLC                                          56 Prospect Rd                                                                         Ponca City        OK      74604
HEARTLAND CONTRACTING SERVICES INC                                       PO BOX 119                                                                             WELLSTON          OK      74881-0119
HEARTLAND MINERALS LLC                                                   PO BOX 30351                                                                           EDMOND            OK      73003-0351
HEARTLAND OIL & GAS LLC                                                  2001 MANCHESTER AVENUE                                                                 EDMOND            OK      73034
HEATH BARCLAY                                                            4415 SHAVNO WAY                                                                        SAN ANTONIO       TX      78249-1430
HEATH PAYNE                                                              7705 DRY BEAN TRAIL                                                                    STILLWATER        OK      74074
HEATHER B KROONA                                                         PO Box 2640                                                                            MIDLAND           TX      79702
HEATHER BREHM                                                            412 WINDING LN                                                                         EDMOND            OK      73003-5128
HEATHER H PENNINGTON REV LIV TR DTD                                      7151 RUSTIC ACRES DR                                                                   SARASOTA          FL      34241-9789
HEATHER HARRIS                                                           2504 GARDEN DR                                                                         GREENVILLE        TX      75401
HEATHER PHELPS                                                           1708 NW 162ND CIR                                                                      EDMOND            OK      73013-1666
HEATHER R HARRINGTON                                                     2609 RAINTREE DR                                                                       PLANO             TX      75074
HEATHER READ                                                             3212 RAINTREE ROAD                                                                     OKLAHOMA CITY     OK      73120
HEATHER RENEE JACK                                                       PO BOX 930                                                                             GRAHAM            WA      98338
HEATHER SHIMEK                                                           4213 ROLLING WATER DR                                                                  PFLUGERVILLE      TX      78660
HEATHER SWEDBERG                                                         132 WELLINGTON LN                                                                      WICHITA FALLS     TX      76305-5228
                                                                                                                       9211 Lake Hefner
Heather Trent                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
Heather Trent                         c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA      90017
Heather Trent                                                            10401 Crane Rd                                                                         Meridian          OK      73058
                                                                                                                       9211 Lake Hefner
Heather Peacher                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Heather Peacher                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Heather Peacher                                                          3013 S. Rankin St.                                                                     Edmond            OK      73013
HEAVY DUTY PAINTING                                                      109 W STEED DR                                                                         MIDWESY CITY      OK      73110-4549
HEBARD FAMILY TRUST                                                      11024 NORTH 81ST DRIVE                                                                 PEORIA            AZ      85345

HECKMANN WATER RESOURCES (CVR) - IN                                      PO BOX 204422                                                                          DALLAS            TX      99999
HEDI MORRIS                                                              9678 HARDTRIGGER RD                                                                    MELBA             ID      83641
HEF-LIN ENERGY CORP                                                      510 HEARN ST                                                                           AUSTIN            TX      78703
HEFNER ENERGY LLC                                                        9112 N KELLEY AVE, SUITE C                                                             OKLAHOMA CITY     OK      73131
HEFNER GROUP                                                             PO BOX 2177                                                                            OKLAHOMA CITY     OK      73101-2177
HEI INTERNATIONAL INC                                                    150 S WACKER DR STE 2700                                                               CHICAGO           IL      60606
HEIDI BARTON                                                             2008 N VEGA CT                                                                         HOBBS             NM      88240-3446
                                                                         5900 SOUTH LAKE FOREST DRIVE STE
HEIDI CAMP                                                               300                                                                                    MCKINNEY          TX      75070
HEIDI CARPENTER                                                          3109 ATKINSON AVE APT 214                                                              KILLEEN           TX      76543
HEIDI GORE                                                               220 APPLEWOOD                                                                          ENID              OK      73701
HEIDI JESTER                                                             515 UNITY RD                                                                           ARKADELPHIA       AR      71923
HEIDI SCOTT                                                              13 HURON TRCE                                                                          GALENA            IL      61036
HEIM FAMILY TRUST                                                        2320 SEMINOLE                                                                          ENID              OK      73703
HEIRS & SUCCGROVER W DOWELL DECD                                         PO BOX 951                                                                             PAWHUSKA          OK      74056
HEIRS FRANK D MATTHEWS DECD                                              PO BOX 70                                                                              LUTHER            OK      73054
HEIRS JANICE LOUISE JAMES                                                10088 COVER PL                                                                         FARIFAX           VA      22030
HEIRS OF CATON HOBLIT JACOBS                                             515 SIERRA LANE                                                                        PLEASANT GROVE    UT      84062

HEIRS OF CHESTER F & MELEASE STEPHE                                      PO BOX 52000                                                                           OKLAHOMA CITY     OK      73152-2000
HEIRS OF EDWARD L HERRON                                                 2315 LITTLE RD 102                                                                     ARLINGTON         TX      76016
HEIRS OF GERALD HANEWINCKEL                                              2723 SANDWOOD                                                                          LAKEWOOD          CA      90712
HEIRS OF HOSA STUBBLEFIELD                                               200 SHIELDS ST                                                                         SAN FRANSISCO     CA      94132-2744
HEIRS OF RAMONA GRACE                                                    2531 W FAIRVIEW ST                                                                     TULSA             OK      74127


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HEIRS OF ROBERT WALTON                                                   2531 W FAIRVIEW ST                                                                     TULSA                 OK      74127
HEIRS OR SUCCESSORS OF                                                   3329 NW 42ND ST                                                                        OKLAHOMA CITY         OK      73112
HEIRS WALTER LUSTER JR                                                   2301 MEADOW BROOK LN                                                                   CARSON CITY           NV      89701
HEISENBERG HOLDINGS LLC                                                  PO BOX 2982                                                                            EDMOND                OK      73083-2982
Heitmann, Todd                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City         OK      73116
HELBERG REV TR                                                           327 ASBURY CIRCLE                                                                      ENID                  OK      73703
HELDRETH FAMILY TRUST                                                    7624 W DEEPROCK                                                                        RIPLEY                OK      74062-6445
HELEN A LISLE                                                            304 BUENA WAY                                                                          TOPPENISH             WA      98948-1217
                                                                                                                       9211 Lake Hefner
Helen A. Reid                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK      73120

Helen A. Reid                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX      77006
Helen A. Reid                                                            409 Seville Dr                                                                         Edmond                OK      73034
HELEN B COLEMAN TRUST DTD 11-19-199                                      PO BOX 1588                                                                            TULSA                 OK      74101
HELEN BARNES                                                             708 S HOWERTON                                                                         CUSHING               OK      74023-4616
HELEN BARNES TRUST                                                       2613 CLAIREMONT                                                                        ENID                  OK      73703
HELEN BAUNHOFER                                                          2515 W 10TH ST                                                                         WASHOUGAL             WA      98671
HELEN BESLY                                                              3904 E 31ST ST                                                                         TULSA                 OK      74135-1509
HELEN BROWN COOPER                                                       978 ASPENWOOD LN                                                                       TWIN FALLS            ID      83301
HELEN C BOSTICK                                                          504 NORTH MISSOURI                                                                     MARSHALL              OK      73056
HELEN CARRIER                                                            716 S ASP AVENUE                                                                       COYLE                 OK      73027
HELEN CHILDERS                                                           1137 E MAPLE ST                                                                        CUSHING               OK      74023-2823
HELEN CLARK                                                              321 SEVENOAKS DR                                                                       KNOXVILLE             TN      37922
HELEN COLPITT MURPHY TRUST                                               PO BOX 128                                                                             COLLINSVILLE          OK      74021-0128
HELEN CUTRER                                                             315 COTTONWOOD                                                                         SAN ANGELO            TX      76901
HELEN F DAVIS REV TRUST DTD 5-27-99                                      1400 GABLES CT                                                                         PLANO                 TX      75075
HELEN F WILCOX                                                           2274 N CEDAR DRIVE                                                                     APACHE JUNCTION       AZ      85120
HELEN FOSTER                                                             30984 PACK TRL.                                                                        AFTON                 OK      74331
HELEN G DOWNEY FAMILY TRUST                                              9200 N COUNTRY CLUB RD                                                                 STILLWATER            OK      74075-0859
HELEN G. GRAYBILL REVOCABLE TST                                          2871 CR 5900                                                                           COFFEYVILLE           KS      67337-8401
HELEN GHOLSTON REV. TRUST                                                PO BOX 724                                                                             CLINTON               OK      73601
HELEN GLASS                                                              PO BOX 996                                                                             STILLWATER            OK      74076-0996
HELEN GRAHAM                                                             401230 VIA TONDA                                                                       MURRIETA              CA      92562
HELEN GREENBERG                                                          PO BOX 44                                                                              BROWNTON              MN      55312
                                                                                                                       9211 Lake Hefner
Helen H. Arrington                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK      73120
                                      c/o Laminack, Pirtle & Martines,
Helen H. Arrington                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX      77006
Helen H. Arrington                                                       516 N. 7th Ave                                                                         Stroud                OK      74079
HELEN HOWE MORRISON MEMORIAL FDN                                         PO BOX 917                                                                             NEDERLAND             CO      80466
HELEN HUDKINS LIFE TENANT                                                RR1 BOX 673                                                                            MT CLARE              WV      26408
HELEN HUFFER                                                             PO BOX 403                                                                             CRESCENT              OK      73028
HELEN INFIELD                                                            8470 LAST CHANCE LN                                                                    MISSOULA              MT      59808-9737
HELEN JENNINGS HURRY                                                     2504 DEMERE RD APT 1                                                                   SAINT SIMONS ISLAND   GA      31522-1692
                                                                                                                       9211 Lake Hefner
Helen Johnson                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK      73120

Helen Johnson                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX      77006
Helen Johnson                                                            2515 NW 58th St                                                                        Oklahoma City         OK      73112
HELEN JONES                                                              1217 NORTH 12TH STREET                                                                 DUNCAN                OK      73533
HELEN KARRAKER                                                           PO BOX 1054                                                                            DENHAM SPRINGS        LA      70727
HELEN L CLOVIS REVOCABLE TRUST                                           920 LAKEVIEW DR                                                                        CUSHING               OK      74023
HELEN L GEMMILL TRUST                                                    12939 CASTLE ROAD, APT R                                                               MANTECA               CA      95336
HELEN LOGUE                                                              1240 JANES LANE                                                                        COLORADO SPRINGS      CO      80909
HELEN M STEINCAMP                                                        10751 E CRESTWOOD CT                                                                   EASTBOROUGH           KS      67207-6819
HELEN M WAGER TRUST                                                      PO BOX 60157                                                                           OKLAHOMA CITY         OK      73146
HELEN MARLENE LARSON                                                     6455 SW OLD SCHOLLS FERRY RD                                                           PORTLAND              OR      97223-7153
HELEN MCCOY JONES                                                        29506 E 69TH ST S                                                                      BROKEN ARROW          OK      74014-5463
HELEN MCGAUGH BIGHAM                                                     7860 E CAMELBACK RD #201                                                               SCOTTSDALE            AZ      85251


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HELEN MCGINNITY                                                          4431 FILLMORE STREET                                                                   DENVER             CO       80216
HELEN MOORE                                                              9304 HIGH DRIVE                                                                        LEAWOOD            KS       66206
HELEN NIEMANN                                                            210 E AVENUE B                                                                         ZENDA              KS       67159
HELEN NORVELL                                                            3421 MAIZE RD APT D                                                                    COLUMBUS           OH       43224-3274
HELEN PAGE                                                               2004 MARVONNE RD                                                                       LAWRENCE           KS       66047-2324
HELEN PAYNE                                                              9925 HUNT CLUB                                                                         ZIONSVILLE         IN       46077
HELEN RASMUSSEN                                                          2250 WINDSOR DR                                                                        HENDERSON          NV       89014
HELEN RODMAN PRUITT                                                      770565 S 3370 RD                                                                       TRYON              OK       74875-6122
HELEN ROOD                                                               RR 2 BOX 146                                                                           MULHALL            OK       73063
HELEN SHAW                                                               3809 NW 33RD ST                                                                        OKLAHOMA CITY      OK       73112
HELEN SMITH                                                              406 N SHORE DR                                                                         AMARILLO           TX       79118
HELEN SMITH                                                              2528 CRESTWOOD DR                                                                      BURLESON           TX       76028-6388
HELEN SPINKS                                                             7222 N HAVEN DR                                                                        HOUSTON            TX       77040-3922
HELEN W KENYON REVOCABLE TRUST                                           PO BOX 99084                                                                           FORT WORTH         TX       76199-0084
HELEN WHITE                                                              12435 BACA AVE                                                                         CHINO              CA       91710
                                                                                                                       9211 Lake Hefner
Helen Aloziem                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Helen Aloziem                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Helen Aloziem                                                            11016 Davis St.                                                                        Oklahoma City      OK       73162
HELENE JEANE HIXSON WOODROW, DEC                                         906 N JEFFERSON AVE                                                                    IOLA               KS       66749
HELENE MCROBERTS                                                         3605 BURNING TREE LN                                                                   LEXINGTON          KY       40509-1933
HELGA RULE                                                               617 N WALNUT AVE                                                                       NEWKIRK            OK       74647
HELLER FAMILY TRUST                                                      PO BOX 1507                                                                            DURANGO            CO       81302
HELLO CATERING & CUSTOM BAKERY                                           PO BOX 901                                                                             PERKINS            OK       74059
HELLSTERN FAMILY TRUST                                                   3909 SNOW CREEK DR                                                                     ALEDO              TX       76008
HELMA RABAL                                                              333 HIDDEN VALLEY RD                                                                   WILLS POINT        TX       75169
HELMS & UNDERWOOD                                                        ONE NE SECOND ST                                                                       OKLAHOMA CITY      OK       73104
HELON HARRIS                                                             13721 WILLOW GROVE RD                                                                  MOODY              TX       76557-3238
HELTON FARMS INC                                                         PO BOX 551                                                                             ALLEN              TX       75013
Hendershot, Jacob                     c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK       74074
HENDERSON HARRINGTON                                                     24056 E 654 RD                                                                         PROCTOR            OK       74457-3024
Hendrix, Dalton                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK       73116
HENICK-LANE SERVICE CORP                                                 45-39 DAVIS ST                                                                         LONG ISLAND CITY   NY       11101-4305
HENKE PETROLEUM CORPORATION                                              4308 SAINT GREGORY DR                                                                  OKLAHOMA CITY      OK       73120-8332
HENKEL SEARCH PARTNERS LLC                                               1 E 52ND ST FL 4H                                                                      NEW YORK           NY       10022-5355
                                                                                                                       9211 Lake Hefner
Henrietta Walker                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Henrietta Walker                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Henrietta Walker                                                         3244 N. Hartford                                                                       Tulsa              OK       74106
HENRY A FUXA FAMILY TRUST                                                23253 N HWY 74                                                                         MARSHALL           OK       73056
HENRY ALLMAND                                                            416 W 29TH AVE                                                                         STILLWATER         OK       74074-6919
HENRY BOON & LISA LYNN KELLY JT                                          1113 W 21ST ST                                                                         CLAREMORE          OK       74017
HENRY C BONNEY                                                           16 S 9TH ST RM 300                                                                     DUNCAN             OK       73533
HENRY CROWELL                                                            1922 E MOHAWK BLVD                                                                     TULSA              OK       74110
HENRY DUANE HARREL                                                       PO BOX 100                                                                             LEEDEY             OK       73654-0100
HENRY E WELLS JR 2005 REV LIVING TR                                      2020 E LAKEVIEW RD                                                                     STILLWATER         OK       74075
HENRY E WELLS JR 2005 REV LVG TR                                         3051 MARINE RD                                                                         STILLWATER         OK       74075
HENRY E WOLFF TRUST                                                      150 SE 25TH ROAD APT 4B                                                                MIAMI              FL       33129

HENRY EDGAR MURPHY SUCCESSOR TRUST                                       16854 E 150TH ST                                                                       ORION              IL       61273-9126
HENRY ELLIS                                                              17598 S HIGHWAY 10                                                                     WYANDOTTE          OK       74370-2200
HENRY G & JOELLEN AARON REV TR DTD                                       920 NW 49TH ST                                                                         OKLAHOMA CITY      OK       73118
HENRY G LAUB TRUST                                                       30400 WINSOR DRIVE                                                                     BAY VILLAGE        OH       44140
HENRY GRUND                                                              3287 BEACHWOOD AVE                                                                     CLEVELAND          OH       44118
HENRY GUNGOLL ASSOCIATES LLC                                             PO BOX 6209                                                                            ENID               OK       73702-6209
HENRY HORGER                                                             9285 HUNTINGTON SQUARE                                                                 N RICHLAND HILLS   TX       76182-4366
HENRY HULL                                                               41 VALENCIA STREET                                                                     ST AUGUSTINE       FL       32084


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HENRY HURST                                                              1 HARLING LANE                                                                         BELLA VISTA      AR    72715

HENRY IRREVOCABLE TRUST FBO CHRISTO                                      PO BOX 41779                                                                           AUSTIN           TX    78704

HENRY IRREVOCABLE TRUST FBO ROBERT                                       PO BOX 41779                                                                           AUSTIN           TX    78704

HENRY J O BURCHARDT & MOLLY A BURCH                                      1908 SHARON DR                                                                         GUTHRIE          OK    73044
HENRY KRUPNIKOFF                                                         20 VILLAGE VIEW LN                                                                     UNIONVILLE       CT    06085

HENRY L ROBERTS INC                                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX    75070
HENRY LEE EDMISTON                                                       PO BOX 291                                                                             APALACHICOLA     FL    32329
HENRY MOEBIUS                                                            20023 E MCELROY                                                                        YALE             OK    74085-6445
HENRY MOLUMPHY                                                           615 SIMMS RD                                                                           STANDARDSVILLE   VA    22973
HENRY P SHORTER                                                          1082 HOLLOW WAY                                                                        EUGENE           OR    97402-7419
HENRY RESOURCES LLC                                                      10640 S SANDUSKY                                                                       TULSA            OK    74137
HENRY S HENDLER TRUST                                                    PO BOX 702                                                                             OKLAHOMA CITY    OK    73102

HENRY SCHULTE & CAROLE SCHULTE                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX    75070
HENRY STAFFORD                                                           6805 W 9TH ST                                                                          CUSHING          OK    74023-5813
HENRY STALEY                                                             615 HIGHLAND AVE APT 1                                                                 SALINA           KS    67401-4169
HENRY SYLVESTER                                                          2015 E 56TH AVE                                                                        STILLWATER       OK    74074-8226
HENRY TAYLOR                                                             3515 W CREEK CROSSING                                                                  PERKINS          OK    74059
HENRY WEDIG                                                              104 DOGWOOD AVENUE                                                                     POPLARVILLE      MS    39470
HENRY WELCH                                                              603 N E RANDALL AVE                                                                    PORTLAND         OR    97232
HENRY WISEHAN ESTATE DECD                                                524 N 9TH ST                                                                           MCALLEN          TX    78501
                                                                                                                       9211 Lake Hefner
Henry Williams                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Henry Williams                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Henry Williams                                                           5117 SE 53rd St                                                                        Oklahoma City    OK    73135
HENSON WHEELER TRUST                                                     PO BOX 1441                                                                            BLOOMFIELD       NM    87413
HERBERT G DAVIS REVOC LVG TR                                             601 TRISHA LANE                                                                        NORMAN           OK    73072
HERBERT HARRINGTON                                                       24056 E 654 RD                                                                         PROCTOR          OK    74457-3024
HERBERT JOHNSON                                                          520 5TH ST APT 5                                                                       PERRY            OK    73077
HERBERT KIRKWOOD                                                         16999 TIFFANY DR                                                                       HOUSTON          MO    65483-2521
HERBERT MAYES                                                            857 MUSKOGEE LN                                                                        BEAN STATION     TN    37708-6740
HERBERT MINERALS LTD                                                     306 W 7TH ST STE 606                                                                   FORT WORTH       TX    76102-4911
HERBERT NULL                                                             3654 GAYNOR ST                                                                         SELMA            CA    93662-2140
HERBERT ROEVER                                                           PO BOX 442                                                                             LORAINE          TX    79532
HERBERT SIMMONS                                                          4781 CAMPANILE DRIVE                                                                   SAN DIEGO        CA    92115-3703
HERBERT STALMAN                                                          10325 GRITTA AVE                                                                       BUENA PARK       CA    90620
HERBERT STANGE                                                           5701 HIGHLAND DR                                                                       HUTCHINSON       KS    67502
HERBERT T THOMSON                                                        2432 S GLENDALE APT 204                                                                WICHITA          KS    67210
                                                                                                                       9211 Lake Hefner
Herbert Gaddis                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Herbert Gaddis                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Herbert Gaddis                                                           310 NE 59th St                                                                         Oklahoma City    OK    73105
HERBIE K ELLIOTT                                                         12400 E 138TH STREET SOUTH                                                             BROKEN ARROW     OK    74011
HERBY LEE STEWART                                                        12444 SOUTH ANDERSON ROAD                                                              GUTHRIE          OK    73044
HERC RENTALS INC                                                         PO BOX 936257                                                                          ATLANTA          GA    31193-6257
HERCULES INDUSTRIES INC                                                  PO BOX 197                                                                             PROSPECT         OH    43342
HERITAGE                                                                 PO BOX 1457                                                                            EL RENO          OK    73036-8457
HERITAGE HILL REVOC LIV TRUST                                            PO BOX 350                                                                             CUSHING          OK    74023-0350
HERITAGE HUMANE SOCIETY INC                                              430 WALLER MILL ROAD                                                                   WILLIAMSBURG     VA    23185
HERITAGE LAND & CATTLE LLC                                               3408 FRENCH PARK DR                                                                    EDMOND           OK    73034-7246
HERITAGE PETROLEUM INC                                                   PO BOX 935                                                                             STILLWATER       OK    74076-0935
HERITAGE RESOURCES - NONOP LLC                                           PO BOX 13580                                                                           OKLAHOMA CITY    OK    73113



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HERITAGE RESOURCES - WOODFORD MINER                                      PO BOX 13580                                                                            OKLAHOMA CITY    OK      73113-1580
HERITAGE TRUST COMPANY                                                   2802 W COUNTRY CLUB DR                                                                  OKLAHOMA CITY    OK      73116
                                                                                                                       9211 Lake Hefner
Herman Haywood                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Herman Haywood                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Herman Haywood                                                           1705 Wickliff St                                                                        Oklahoma City    OK      73111
HERMAN FARRINGTON                                                        16503 BLACK KETTLE DR                                                                   LEANDER          TX      78641-3055
HERMAN FLASCH                                                            1065 W CR 68                                                                            MULHALL          OK      73063
Herman L. Adamson Jr.                 c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Herman L. Adamson Jr.                 c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Herman L. Adamson Jr.                 c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Herman L. Adamson Jr.                                                    258 East 1st St                                                                         Shidler          OK      74652
HERMAN MOORE                                                             3908 GLENWOOD DR                                                                        BROWNWOOD        TX      76801
HERMAN O ALLMENDINGER & FRIDA I ALL                                      5020 S SPRING CREEK LN                                                                  STILLWATER       OK      74074

HERMAN P AND SOPHIA TAUBMAN FOUNDAT                                      PO Box 1588                                                                             TULSA            OK      74101-1588
HERMAN ROGGOW TR                                                         PO BOX 15                                                                               HILLSDALE        OK      73743
HERMAN SCHROEDER                                                         2218 S RIVERSIDE                                                                        YALE             OK      74085-6814
HERMINE WEINBERGER                                                       135 RODNEY ST APT 3                                                                     BROOKLYN         NY      11211
HERMITAGE HOLDINGS LLC                                                   PO BOX 926                                                                              CHICKASHA        OK      73023-0926
HERNDON DONNELLEY                                                        1502 CUSTER LN                                                                          AUGUSTA          KS      67010-8238
HERO FLARE LLC                                                           14842 N MAPLE DRIVE                                                                     KELLYVILLE       OK      74039
HERRING OIL & GAS LLC                                                    2629 JUNIPER LN                                                                         GRAPEVINE        TX      76051-7180
Herrmann, Jacob                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater       OK      74074
Herrmann, Trenton                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK      73116
HERSCHEL E & MELBA M MINSHALL                                            406 SUNNYLANE ROAD                                                                      DEL CITY         OK      73115
HERSCHEL HOLCOMB                                                         4994 W PERSIMMON                                                                        FAYETTEVILLE     AR      72704
HERSCHEL MULLINS                                                         408 FAIRWAY DR                                                                          PERKINS          OK      74059-4103
HERSHEL HASKIN                                                           3931 THISTLE RIDGE LN                                                                   BARTLETT         TN      38135-7433
HERV OIL LLC                                                             PO BOX 3399                                                                             SHAWNEE          OK      74802
HESS CORPORATION                                                         HESS TOWER                                                                              HOUSTON          TX      77010-4010
HESTER FAMILY LIVING TR DTD 6-2-200                                      PO BOX 700297                                                                           TULSA            OK      74170
HEWGLEY RESOURCES 1985-A                                                 3 TOURNAMENT WAY                                                                        THE HILLS        TX      78738
HGM INVESTMENTS LLC                                                      1312 NW 170TH ST                                                                        EDMOND           OK      73012
HIAWATHA ESTES DECLARATIOIN OF TRUS                                      17242 DEARBORN STREET                                                                   NORTHRIDGE       CA      91325
Hibbard, Christie                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK      73116
HIBERNIA ENERGY LLC                                                      PO BOX 1090                                                                             OKLAHOMA CITY    OK      73101-1090
HICKORY TIMBERS LTD PARTNERSHP                                           PO BOX 730586                                                                           DALLAS           TX      75373
HIDDEN CREEK RESOURCES LLC                                               PO BOX 32095                                                                            EDMOND           OK      73003
HIGH PLAINS TIRE CO. INC.                                                2220 MAIN STREET                                                                        WOODWARD         OK      73801
HIGH RATE EXPLORATION LLC                                                3 DRESHER CT                                                                            BEAR             DE      19701
HIGH SIERRA CRUDE OIL & MRKTG LLC                                        710 CEDAR LAKE BLVD                                                                     OKLAHOMA CITY    OK      73114
HIGHBRIDGE PRINCIPAL STRATEGIES LLC                                      40 WEST 57TH ST FL 33                                                                   NEW YORK         NY      10019-4001
HIGH-KING PARTNERS                                                       PO BOX 369                                                                              SAN MARCOS       TX      78667
HIGHMOUNT EXPL & PROD LLC                                                16945 NORTHCHASE DR STE 1750                                                            HOUSTON          TX      77060-2147
HIGHMOUNT EXPLORATION & PRODUCTION                                       16945 NORTHCHASE DR STE 1750                                                            HOUSTON          TX      77060-2147
HIGHPOINTE ENERGY LLC                                                    17334 N MAY                                                                             OKLAHOMA CITY    OK      73012
HIJET BIT INC.                                                           2601 VENTURE DRIVE                                                                      NORMAN           OK      73069
HILBERT STEINER                                                          394860 W 2550 RD                                                                        OCHELATA         OK      74051
HILL FAMILY TRUST                                                        2700 S WESTERN                                                                          STILLWATER       OK      74074
Hill, Alton                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK      73116
Hill, Christopher                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK      73116
HILLARY ANNE HOLLAR                                                      33 SMALL AVE                                                                            PUEBLO           CO      81004-1758
HILLARY BINGHAM                                                          1540 N SOUTHMINSTER ST                                                                  MOORE            OK      73160-1638
HILLARY GRINDE                                                           PO BOX 1204                                                                             BEAVER LODGE     AB      T0H 0C0      CANADA
HILLARY HICKAM                                                           1780 RIAL LN                                                                            LOS ANGELES      CA      90077
HILLARY MCLAIN                                                           905 BRETT DR                                                                            EDMOND           OK      73013-5953


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HILLARY SCHUBERT                                                       4621 E KARA DR                                                                        STILLWATER      OK      74074-6192
HILLARY WELLBORN                                                       PO BOX 1740                                                                           HIGH SPRINGS    FL      32655
HINCKLEY LIVING TRUST AGREEMENT                                        15217 MERLIN PARK PL                                                                  LITHIA          FL      33547
HINES CRUM O&G LLC                                                     12 TATE CT                                                                            WAVERLY         TN      37185
                                      c/o Elias Books Brown & Nelson                                                                     Ste. 1300, Two
Hinkle Oil & Gas Inc.                 PC                               Attn: L. Vance Brown                          211 N Robinson Ave. Leadership Square   Oklahoma City   OK      73102
Hinkle Oil & Gas Inc.                                                  5600 N May Ave                                Ste. 295                                Oklahoma City   OK      73112
HIRAM BRIDENSTINE                                                      10701 SOUTH WASHINGTON                                                                PERKINS         OK      74059

HIRAM F MUTTERS SR AND DOROTHY MUTT                                    PO BOX 67                                                                             TRYON           OK      74874

HIRAM FRANK MUTTERS JR SINGLE PERSO                                    723 NORTH LAWSON                                                                      YALE            OK      74085
HIRERIGHT SOLUTIONS INC                                                PO BOX 847891                                                                         DALLAS          TX      75284-7891
HIRSCH HEATH & WHITE PLLC                                              901 CEDAR LAKE BLVD                                                                   OKLAHOMA CITY   OK      73114
HIRZEL INC                                                             PO BOX 128                                                                            GUTHRIE         OK      73044-0128
HITACHI CONSULTING CORPORATION                                         14643 DALLAS PKWY                                                                     DALLAS          TX      75254-8800
HITEN THAKORE                                                          721 MONTROSE COURT                                                                    FLOWER MOUND    TX      75022
HITOSHI NISHIOKA                                                       92 SKINNER RD                                                                         BERLIN          CT      06037
HITZELBERGER FAMILY TRUST                                              3921 CARUTH BLVD                                                                      DALLAS          TX      75225
HK RESOURCES LLC                                                       5791 PELICAN SHORES CT                                                                LONGMONT        CO      80504-5261
HL GASTON                                                              PO BOX 212                                                                            OKMULGEE        OK      74447
HLAVATY MINERALS LLC                                                   2845 CARRACCI CT                                                                      HENDERSON       NV      89052
HM MCMILLAN ROYALTY TRST                                               PO BOX 3627                                                                           TULSA           OK      74101-3627
HMLM LLC                                                               200 JESTER RD                                                                         TONKAWA         OK      74653-1019
HOA SUN                                                                3931 COASTAL BREEZE DR                                                                KISSIMMEE       FL      34744
HOA VAN LE AND TRINH THI KIEU NGUYE                                    2115 EAST WILL ROGERS DRIVE                                                           STILLWATER      OK      74075
HOCHBERG HOLDINGS LP                                                   1930 HARRISON ST STE 302                                                              HOLLYWOOD       FL      33020
HODGDEN LAW FIRM PLLC                                                  1002 NINTH ST                                                                         WOODWARD        OK      73802
HODGES FAMILY REV TRUST                                                3513 YELLOW SKY CIR                                                                   EDMOND          OK      73013
HODGES TRUCKING COMPANY LLC                                            PO BOX 650840                                                                         DALLAS          TX      75265-0840
HODSON FAM TR DTD 3/22/2009                                            10227 ATKINS RD                                                                       BENTONVILLE     AR      72712
HOFFMAN ROYALTY LLC                                                    PO BOX 720192                                                                         OKLAHOMA CITY   OK      73172
HOG SHOOTER EXPLORATION LLC           ATTN CARTER ROBINSON                                                                                                   NEWPORT BEACH   CA      92659-6113
HOGANTAYLOR LLP                                                        PO BOX 1481                                                                           LOWELL          AR      73745
HOGBACK EXPLORATION INC                                                PO BOX 180368                                                                         FORT SMITH      AR      72918-0368
HOGUE CREEK TRADING CO                                                 12350 W ANEMONE CT                                                                    CRYSTAL RIVER   FL      34428
HOLDEN BRENT COMBS                                                     7102 W COMBS DR                                                                       CUSHING         OK      74023-5870
HOLDENVILLE POWER TONGS LLC                                            PO BOX 787                                                                            HOLDENVILLE     OK      74848
HOLLAND FARMS LLC                                                      10602 E LONE CHIMNEY RD                                                               GLENCOE         OK      74032
HOLLAND HALL                                                           5666 E 81ST STREET                                                                    TULSA           OK      74137
HOLLAND SERVICES                                                       309 W SEVENTH ST STE 300                                                              FORT WORTH      TX      76102-6902
HOLLEY EDDINGTON                                                       26 RUTHELLEN RD                                                                       FRAMINGHAM      MA      01701-3841
HOLLIE ELLIOTT                                                         34864 EDWINA RD                                                                       LEWISVILLE      OH      43754-9423
HOLLIE PETERMAN                                                        11515 COYOTE RUN                                                                      GUTHRIE         OK      73044-2090
Hollingshead, Teena                   c/o White Star Petroleum, LLC    301 NW 63rd St                                Ste 600                                 Oklahoma City   OK      73116
HOLLON GUTIERREZ TRUST                                                 35 DA VINCI STREET                                                                    LAKE OSWEGO     OR      97035
HOLLOWAY RESOURCES LLC                                                 PO BOX 6831                                                                           EDMOND          OK      73083-6831
HOLLRAH EXPLORATION COMPANY                                            PO BOX 721174                                                                         OKLAHOMA CITY   OK      73172
HOLLY BUFFINGTON                                                       2319 E LOCUST #106                                                                    CALDWELL        ID      83605
HOLLY DARNELL                                                          3704 CRABAPPLE PL                                                                     PORT ANGELES    WA      98362
HOLLY DEE VAN ESSELSTINE                                               18750 W 60TH AVE                                                                      GOLDEN          CO      80401
HOLLY DEWAR                                                            820 HIDDEN VALLEY                                                                     BLUFF DALE      TX      76433
HOLLY E HARPER                                                         2770 SEAVIEW ROAD                                                                     VICTORIA        BC      V8N 1K8      CANADA
HOLLY HARRISON-BAIR                                                    4314 S COUNTRY CLUB RD                                                                STILLWATER      OK      74074
HOLLY MCFARLIN                                                         PO BOX 507                                                                            CARNEY          OK      74832
HOLLY NEWSOM                                                           13317 PINEHURST RD                                                                    OKLAHOMA CITY   OK      73120-8519
                                                                                                                     9211 Lake Hefner
Holly Heinzig                         c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway             Ste. 104            Oklahoma City   OK      73120



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                                      c/o Laminack, Pirtle & Martines,
Holly Heinzig                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Holly Heinzig                                                            101294 S. Hwy 99                                                                        Prague           OK      74864
                                                                                                                       9211 Lake Hefner
Holly Rice                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Holly Rice                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Holly Rice                                                               724 N Elm St                                                                            Guthrie          OK      73034
HOLT ROYALTY LLC                                                         PO BOX 8050                                                                             EDMOND           OK      73083
HOLTON RESOURCES LTD                                                     PO BOX 667                                                                              PERRYTON         TX      79070
HOMER CALDWELL                                                           12508 BLUE SAGE RD                                                                      OKLAHOMA CITY    OK      73120-1906
HOMER COCHRAN                                                            15392 TYREE MOUNTAIN RD                                                                 PRAIRIE GROVE    AR      72753
HOMER GRANT DECEASED                                                     4907 NW MEADOWBROOK DRIVE                                                               LAWTON           OK      73505
HOMER L LAWSON LLC                                                       PO BOX 21388                                                                            OKLAHOMA CITY    OK      73156-1388
Hongliang Wang                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Hongliang Wang                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Hongliang Wang                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Hongliang Wang                                                           5202 West 5th Ave                                                                       Stillwater       OK      74074
HOOD & LINDA PROPERTIES LLC                                              333 TEXAS ST STE 521                                                                    SHREVEPORT       LA      71101
HOOPER LVG TR DTD 4-4-1996                                               308 CARMEL VALLEY WAY                                                                   EDMOND           OK      73025-2747
HOOVER FISHER                                                            1309 CEDAR DR                                                                           STILLWATER       OK      74074
HOPE MCNEIL MCCLURG TRST                                                 2109 LAS VERDES ST                                                                      LAS VEGAS        NV      89102-0534
                                                                                                                       9211 Lake Hefner
Hope Owen                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Hope Owen                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Hope Owen                                                                2363 East Rock Ridge Rd                                                                 Atoka            OK      74525
HOPE P FOGG ESTATE                                                       PO BOX 842                                                                              ROCKWALL         TX      75087

HOPEHOUSE SUPPORTIVE AND TRANSITION                                      6608 N. WESTERN AVENUE. PMB #178                                                        OKLAHOMA CITY    OK      73116
HOPPES CONSTRUCTION LLC                                                  PO BOX 654                                                                              ADA              OK      74821-0654
HOPPS OIL & GAS INC                                                      1729 KINGSBURY LN                                                                       NICHOLS HILLS    OK      73116-5313
HOPPY TOAD PILGRIM LLC                                                   28188 E 85TH STREET                                                                     TULSA            OK      74137
HORACE BALLAINE                                                          2500 FIRST NATL TOWER                                                                   TULSA            OK      74103

HORACE E GRAY & JOHN H TRAHIN                                            5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         AR      75070
HORACE H WILLIAMS REV TRUST AGMT DT                                      3713 WILLOWLAKE LN                                                                      ENID             OK      73703
HOREJSI FAMILY 2002 REV TR                                               PO BOX 2883                                                                             CASTRO VALLEY    CA      94546
HORIZON ENERGY SERVICES LLC                                              5727 S LEWIS AVE STE 550                                                                TULSA            OK      74105-7197
HORIZON MUD COMPANY                                                      PO BOX 677037                                                                           DALLAS           TX      75267-7037
HORIZON MUD HOLDINGS CORPORATION                                         PO Box 677037                                                                           Dallas           TX      99999
HORIZON PROPERTIES GROUP INC                                             4217 S OCEAN BLVD                                                                       HIGHLAND BEACH   FL      33487
HORIZON ROYALTIES LLC                                                    1490 W CANAL CT STE 3000                                                                LITTLETON        CO      80120
HORIZON WELL TESTING LLC                                                 PO BOX 1469                                                                             MCALESTER        OK      74502-1469

HORTY'S OIL AND GAS LLC                                                  5100 N BROOKLINE AVENUE STE 1000                                                        OKLAHOMA CITY    OK      73112
HOSA STUBBLEFIELD                                                        200 SHIELDS ST                                                                          SAN FRANSISCO    CA      94132-2744
HOSEA ENERGY LLC                                                         6205 W ORLANDO ST                                                                       BROKEN ARROW     OK      74011-1264
HOSKINS WIRELINE LLC                                                     PO BOX 2407                                                                             ELK CITY         OK      73648-2407
HOT OIL UNITS INC                                                        PO BOX 781                                                                              WOODWARD         OK      73802
HOTCO HOUGH OILFIELD SVC INC                                             PO BOX 1603                                                                             CUSHING          OK      74023-1603
HOUGH HAULIN INC                                                         PO BOX 1186                                                                             CUSHING          OK      74023-1186
HOUSING AUTHORITY OF SAC & FOX                                           PO BOX 1252                                                                             SHAWNEE          OK      74801
HOUSING AUTHORITY OF SAC AND FOX TR                                      PO BOX 1252                                                                             SHAWNEE          OK      74802-1252
HOUSTON AND EMMA HILL TRUST ESTATE                                       500 W 7TH ST STE 1802                                                                   FORT WORTH       TX      76102-4740
HOUSTON AND MARGARET A STORY                                             3866 PARADISE BAY DR                                                                    GULF BREEZE      FL      32563-2973
HOUSTON ELECTRIC INC                                                     315 MAIN STREET                                                                         GARBER           OK      73738
HOUSTON ELECTRIC INC                                                     PO BOX 335                                                                              GARBER           OK      73738
HOUSTON STORY                                                            3866 PARADISE BAY DR                                                                    GULF BREEZE      FL      32563-2973


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HOWARD AND LOIS D PITTMAN HW JT                                     2307 MELISSA LN                                                              STILLWATER        OK       74074
HOWARD AND SHARRI L MOORE                                           48D RR1                                                                      HELENA            OK       73741
HOWARD ANDERSON                                                     4004 E 6TH AVE                                                               STILLWATER        OK       74074
HOWARD BAKER                                                        13474 RIDGELAND DRIVE                                                        SEMINOLE          FL       33776
HOWARD BROWN                                                        1334 N NIGHT HERON DR                                                        GREEN VALLEY      AZ       85614-6014
HOWARD CROWELL                                                      7738 S LANGLEY                                                               CHICAGO           IL       60649
HOWARD D ANDERSON                                                   1026 GALBRAITH DR                                                            CLINTON           IA       52732
HOWARD DWAYNE DEAVER                                                11720 PROMISE LANE                                                           PERKINS           OK       74059
HOWARD E PARAMORE                                                   4725 NW 61ST STREET                                                          OKLAHOMA CITY     OK       73122
HOWARD GILCHRIST LLC                                                4410 N ROSE RD                                                               STILLWATER        OK       74075-8717
HOWARD GRAVES                                                       2452 ST JAMES WAY                                                            CENTRAL POINT     OR       97502
HOWARD GRAVES                                                       40 FREEMAN CT                                                                CENTRAL POINT     OR       97502
HOWARD HEWITT                                                       18045 GOOSEBERRY DRIVE                                                       ROWLAND HEIGHTS   CA       91748
HOWARD HILBURN                                                      15185 N DOUGLAS BLVD                                                         MULHALL           OK       73063
HOWARD JACK MOORE REV LVNG TR                                       1310 W 26TH AVE                                                              STILLWATER        OK       74074
HOWARD KENNEDY                                                      3190 S. WADSWORTH BLVD                                                       DENVER            CO       80227
HOWARD L MATHIS                                                     PO BOX 157                                                                   COLFAX            CA       95713-0157
HOWARD L WISDOM LIVING TRUST                                        4847 CARRINGTON CR                                                           SARASOTA          FL       34243-5520
HOWARD LEROY HUNT ESTATE                                            14915 WEST 44TH ST                                                           MULHALL           OK       73063
HOWARD LOUIS PUCKETT JR TRST                                        2317 W 9TH AVE                                                               STILLWATER        OK       74074
HOWARD MAHURIN                                                      1636 ESKRIDGE BLVD SE                                                        OLYMPIA           WA       98501-3638
HOWARD MCADAMS                                                      818 S 6TH ST                                                                 KINGFISHER        OK       73750
HOWARD MOORE                                                        5423 S HARTFORD ST                                                           STILLWATER        OK       74074-7236
HOWARD POWERS                                                       7508 SANDLEWOOD DR                                                           OKLAHOMA CITY     OK       73132
HOWARD ROSS HENDREN JR                                              2512 E 12TH AVE                                                              STILLWATER        OK       74074
HOWARD STECK                                                        718 STONEWAY DR                                                              SAN ANTONIO       TX       78258-2325
HOWARD T NOE ESTATE                                                 13079 MICHAEL ST                                                             BILOXI            MS       39532
HOWARD THOMAS BOSWORTH III                                          100 SWEETWATER CT                                                            CLEMMONS          NC       27012-6991
HOWARD TIPTON LE                                                    1705 BERMUDA WAY                                                             ANTIOCH           CA       94505
HOWELLS O&G LLC                                                     34830 HOWELL RD                                                              RINARD MILLS      OH       45734-9019
HOWLAND FAMILY TRUST                                                420 CABELLERO CT                                                             FAIRVIEW          TX       75069
HOWLAND FAMILY TRUST                                                904 E SORRELL LN                                                             MIDLAND           TX       79705-1816
HOWLAND FAMILY TRUST DTD 6-17-09                                    904 E SORRELL LN                                                             MIDLAND           TX       79705-1816
HR DIRECT                                                           PO BOX 669390                                                                POMPANO BEACH     FL       33066-9390
HRT TRANSPORT INC                                                   PO BOX G                                                                     POTEAU            OK       74953
HS FIELD SERVICES INC                                               PO BOX 605                                                                   DEWEY             OK       74029-0605
HSH ROYALTY CP                                                      PO BOX 1245                                                                  ANN ARBOR         MI       48106
HSPG & ASSOCIATES PC                                                5400 N GRAND BLVD STE 330                                                    OKLAHOMA CITY     OK       73112-5702
H-T-H-N IRREVOCABLE TRUST                                           5807 CYPRESS BEND ST                                                         SAN ANTONIO       TX       78247
HUBBARD FARMS INC                                                   1176 S MILWAUKEE ST                                                          DENVER            CO       80210
Hubbard, Rachel                    c/o White Star Petroleum, LLC    301 NW 63rd St                         Ste 600                               Oklahoma City     OK       73116
HUBERT CARROLL RODMAN                                               1604 RICHWAY DRIVE                                                           PONCA CITY        OK       74601-2122
HUBERT DAVIS                                                        3662 GREENLEAF RD                                                            MEMPHIS           TN       38135-2620
Hubert Hutchens                    c/o Allen Stewart, PC            Attn: Allen M Stewart                  325 N Saint Paul St   Ste. 4000       Dallas            TX       75070
Hubert Hutchens                    c/o Drummond Law, PLLC           Attn: Donald A Lepp                    1500 South Utica      Ste. 400        Tulsa             OK       74104
Hubert Hutchens                    c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                  747 3rd Ave                           New York          NY       10017
Hubert Hutchens                                                     5051 County Road 6050                                                        Ralston           OK       74650
HUBERT I KILE JR                                                    8517 S 77TH EAST PLACE                                                       TULSA             OK       74133
HUBERT K CHADWELL ESTATE                                            6005 CANYON SPRINGS RD                                                       DALLAS            TX       75248
Hubscher, Miles                    c/o White Star Petroleum, LLC    301 NW 63rd St                         Ste 600                               Oklahoma City     OK       73116
HUDDLESTON FAMILY TRUST                                             691 HILLCREST CIR                                                            VACAVILLE         CA       95688-1044
HUES LIVING TRUST DTD 7-27-1998                                     1113 WESTMINSTER LN                                                          YUKON             OK       73099
HUFFER FAMILY FARM LLC                                              767 COUNTY ST 2935                                                           TUTTLE            OK       73089
HUGH DANIEL O'NEILL                                                 3103 W. MICHIGAN                                                             MIDLAND           TX       79701
HUGH E MCGOVERN JR TTEE                                             1704 HOLLIDAY DR                                                             NORMAN            OK       73069
HUGH FRANCIS                                                        13868 EAST GEROMINO ROAD                                                     SCOTTSDALE        AZ       85259
Hugh G. Adams                      c/o Edward L. White, PC          Attn: Edward L White                   829 E. 33rd St                        Edmond            OK       73013
Hugh G. Adams                      c/o Jeffery Hirzel               PO Box 279                             119 S. Broad                          Guthrie           OK       73044
Hugh G. Adams                                                       320 S Division St                                                            Guthrie           OK       73044


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HUGH GARNETT                                                           PO BOX 849                                                                             POTTSBORO         TX       75076-0849
HUGH JANSON ESTATE                                                     7231 FRANKLIN AVE APT 19                                                               LOS ANGELES       CA       90046-3068
HUGH LACY DECEASED                                                     1000 LIBERTY PARK DR APT 206                                                           AUSTIN            TX       78746-6837
HUGH SAKOLS                                                            PO BOX 284                                                                             EL PORTAL         CA       95318-0284
HUGH SCOTT                                                             PO BOX 78                                                                              CRESENT           OK       73028
HUGHES COUNTY CLERK                                                    200 N BROADWAY ST STE 5                                                                HOLDENVILLE       OK       74848-3400
HUGHES SPECIALTY TOOLS INC                                             21275 E 1050 RD                                                                        FOSS              OK       73647-5103
HULDA BROOKS                                                           2024 W ROSE OAK DR                                                                     MUSTANG           OK       73064
HULL & ASSOCIATES INC                                                  6397 EMERALD PKWY STE 200                                                              DUBLIN            OH       43016
Hulsey, Anita                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK       73116
HUMBLE PETROLEUM INC                                                   35421 KANIS ROAD                                                                       PARON             AR       72122
HUME FAMILY REVOCABLE TRUST                                            652 FILAREE DR                                                                         PRESCOTT          AZ       86301
HUMPHREY OIL INTERESTS LP                                              3004 FAIRMOUNT ST                                                                      DALLAS            TX       75201-1251
HUNA ENERGY CORP                                                       PO BOX 12814                                                                           OKLAHOMA CITY     OK       73157-2814
HUNGERFORD REV INTERVIVOS TRUST                                        PO BOX 118                                                                             HELENA            OK       73741
HUNT OIL COMPANY                                                       1900 NORTH AKARD ST                                                                    DALLAS            TX       75201
Hunt, Ryan                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK       73116
HUNTER HARRIS                                                          1409 SW 131ST STREET                                                                   OKLAHOMA CITY     OK       73170
HUNTER JONES                                                           604 E MINNIE                                                                           DAVIS             OK       73030
HUNTER NIDA IRREVOCABLE TRUST                                          20309 SE 39TH ST                                                                       HARRAH            OK       73045
HUNTER ROYALTY LLC                                                     PO BOX 21625                                                                           OKLAHOMA CITY     OK       73156
HUNTER STEEL LLC                                                       PO BOX 1731                                                                            FT GIBSON         OK       74434
HUNTINGTON BANK                                                        PO BOX 1558-EA2E0                                                                      COLUMBUS          OH       99999
HUNTON OPERATING LLC                                                   PO BOX 18191                                                                           OKLAHOMA CITY     OK       73154
HUNT'S PROPERTIES OF OKLAHOMA LLC                                      2121 COUNTY AVENUE, UNIT A                                                             TEXARKANA         AR       71854
HUNT'S WELDING SERVICE LLC                                             1306 W DUNKIN RD                                                                       CUSHING           OK       74023
HUNZICKER BROTHERS INC                                                 PO BOX 25248                                                                           OKLAHOMA CITY     OK       73125
HUONG C MILLER JONES TRUST                                             11312 FOREST NIGHT                                                                     SAN ANTONIO       TX       78233
HURLEY OIL PROPERTIES                                                  1738 S POPLAR ST                                                                       CASPER            WY       82601
HURLEY OIL PROPERTIES INC                                              1738 S POPLAR ST                                                                       CASPER            WY       82601
HUSKY VENTURES INC                                                     5800 135TH ST                                                                          OKLAHOMA CITY     OK       73142-5938
HUSTON ENERGY CP                                                       PO BOX 5318                                                                            ENID              OK       73702
HUTCHINGS FAMILY TRUST                                                 PO BOX 580                                                                             BEAVER            UT       84713
HUTTON INC                                                             PO BOX 1976                                                                            ELK CITY          OK       73648
HYALITE ENERGY CP                                                      695 BICKNELL RD                                                                        LOS GATOS         CA       95030
HYATT TRUST B FBO REED FAMILY                                          PO Box 99084                                                                           FT WORTH          TX       76199-0084
HY-BON ENGINEERING CO INC                                              7911 SOLUTIONS CENTER                                                                  CHICAGO           IL       60677-3007
HYDEN ASSET & MINERAL CO LLC                                           18231 SANTA SOPHIA CIR                                                                 FOUNTAIN VALLEY   CA       92708

I KINGDOM HIRSCH FAMILY TRUST                                          THE TRUST CO OF OKLAHOMA AGENT                                                         TULSA             OK       74101-3627
IAN MCNEILL                                                            6806 RHODES LN                                                                         LASCASSAS         TN       37085-4420
IBEX RESOURCES COMPANY LLC                                             1021 NW GRAND BLVD                                                                     OKLAHOMA CITY     OK       73118
IBRAHIM AND RAEDA AWAD                                                 PO BOX 1268                                                                            STILLWATER        OK       74076
                                                                                                                     9211 Lake Hefner
Ibrahim K. El-Samad                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                    c/o Laminack, Pirtle & Martines,
Ibrahim K. El-Samad                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Ibrahim K. El-Samad                                                    11005 N. Brauer Ave                                                                    Oklahoma City     OK       73114
ICE BRO PROMOS                                                         1007 E LEVEE                                                                           DALLAS            TX       75207
ICE US OTC COMMODITY MARKETS LLC                                       2100 RIVEREDGE PKWY STE 500                                                            ATLANTA           GA       30328-4676
IDA CROSS KEMPER                                                       9401 FM 1061                                                                           AMARILLO          TX       79124
IDA LOBSITZ                                                            701 JACKSON                                                                            PERRY             OK       73077
Idaho State Tax Commission          Unclaimed Property Program         304 N 8th St. Suite 208                                                                Boise             ID       83702-5834
IDAHO UNCLAIMED PORPERTY OFFICE                                        304 N 8TH ST. STE 208                                                                  BOISE             ID       83702-5834
IDEPENDENT SCHOOL DISTRICT 1-5                                         802 EAST VILAS                                                                         GUTHRIE           OK       73044
IDOXS                                                                  204 N ROBINSON AVE                                                                     OKLAHOMA CITY     OK       73102
IEP INVESTOR FUND I LLC                                                PO BOX 721935                                                                          OKLAHOMA CITY     OK       73172
IGD GLOBAL LLC                                                         17907 KUYKENDAHL RD SUITE 303                                                          SPRINGS           TX       77379
IHS GLOBAL CANADA LIMITED                                              PO BOX 911501                                                                          DENVER            CO       80291-1501


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IHS GLOBAL INC                                                           PO BOX 847193                                                                          DALLAS          TX       75284-7193
ILA G EGERMEIER REV TRUST                                                26109 QUEENS GLEN DR                                                                   KINGWOOD        TX       77339-4501
ILA LONG REV TRUST                                                       341 STONEHAVEN DR                                                                      NORMAN          OK       73072
ILLA RUTH WEHR REV LIVING TR DTD 7-                                      2037 N 7TH ST                                                                          PONCA CITY      OK       74601
ILLINOIS OFFICE OF THE STATE TREASU                                      PO BOX 19496                                                                           SPRINGFIELD     IL       62794-9496
IMA JEAN PEDIGO                                                          597 NORTH HARRISON STREET                                                              COREZ           CO       81321-2877
IMA NELSON                                                               2009 6TH STREET                                                                        WOODWARD        OK       73801
IMA OF COLORADO INC                                                      1705 17th STREET, SUITE 100                                                            DENVER          CO       80202-1657
IMAGENET CONSULTING LLC                                                  913 NORTH BROADWAY AVE                                                                 OKLAHOMA CITY   OK       73102
IMAN NGUYEN                                                              111 S OAKDALE DR                                                                       STILLWATER      OK       74074-6889
IMMANUEL BAPTIST CHURCH OF PERKINS                                       PO BOX 10                                                                              PERKINS         OK       74059
IMOGENE A HERNDON TRUST                                                  PO BOX 1600                                                                            SAN ANTONIO     TX       78296-1600
IMOGENE CAPLEY                                                           6054 HIGHWAY 43 NORTH                                                                  NORTHPORT       AL       35473
IMOGENE MARTIN                                                           1114 N BELLIS ST                                                                       STILLWATER      OK       74075
IMOGENE RIEMAN                                                           PO BOX 51                                                                              BARNSDALL       OK       74002
IMOGENE STANFORD                                                         341162 E HIGHWAY 105                                                                   TRYON           OK       74874
IMPAC EXPLORATION SERVICES INC                                           24306 E ROAD 1030                                                                      WEATHERFORD     OK       73096
IMPACT CHEMICAL TECHNOLOGIES INC                                         PO BOX 679330                                                                          DALLAS          TX       75267-9330
IMPACT ENERGY PARTNERS LLC                                               PO BOX 721935                                                                          OKLAHOMA CITY   OK       73172
IMPERIAL OIL COMPANY                                                     22499 IMPERIAL VALLEY DR                                                               HOUSTON         TX       77073
INA MINSHALL                                                             6500 NORTHWEST 12TH STREET                                                             OKLAHOMA CITY   OK       73127
INCEED DEPT NO 39 LLC                                                    PO BOX 1068                                                                            LOWELL          AR       72745
INDEPENDENT BANK                                                         6751 VIRGINIA PARKWAY                                                                  MCKINNEY        TX       75071
INDEPENDENT ORDER OF ODD FELLOWS                                         201 LAFAYETTE EAST                                                                     MATTOON         IL       61938

INDEPENDENT PETROLEUM ASSOCIATION O                                      1201 15TH ST NW STE 300                                                                WASHINGTON      DC       20005
INDEPENDENT SCHOOL                    DEWEY COUNTY                                                                                                              TALOGA          OK       73667
INDEPENDENT SCHOOL DIST NO 16 OF PA                                      314 SOUTH LEWIS ST                                                                     STILLWATER      OK       74074
INDEPENDENT TUBULAR CORP                                                 PO BOX 100, DEPT 1635                                                                  BIXBY           OK       74008-0100
INDEPTH PRODUCTION SOLUTIONS LLC                                         7109 ARGONNE TRAIL                                                                     SUGAR LAND      TX       77479
INDIAN ELECTRIC COOPERATIVE INC                                          PO BOX 49                                                                              CLEAVELAND      OK       74020-0049
INDIAN EXPLORATION COMPANY                                               123 S HUDSON                                                                           OKLAHOMA CITY   OK       73102
Indiana Attorney Generals Office      Unclaimed Property Division        PO Box 2504                                                                            Greenwood       IN       46142
INDIANA ATTORNEY GENERAL'S OFFICE                                        35 SOUTH PARK BLVD                                                                     GREENWOOD       IN       46143
INDIANA PAGING NETWORK                                                   6745 W JOHNSON RD                                                                      LAPORTE         IN       46350-8293
INDIANOLA RESOURCES LLC                                                  PO BOX 18403                                                                           OKLAHOMA CITY   OK       73154
INDIRA SHAH                                                              1715 GREEN TREET LANE                                                                  DUNCANVILLE     TX       75137
INDUCTIVE AUTOMATION                                                     2110 21ST ST STE 500                                                                   SACRAMENTO      CA       95818
INDUS LLC                                                                PO BOX 18973                                                                           OKLAHOMA CITY   OK       73154-0973
INDUSTRIAL CONTROLS SOLUTIONS LLC                                        1005 METROPOLITAN AVE                                                                  OKLAHOMA CITY   OK       73108
INDUSTRIAL HYDRO SERVICES LLC                                            PO BOX 1564                                                                            PURCELL         OK       73080-0000
INEZ E HEUSEL LIVING TRUST                                               3512 NW 45TH ST                                                                        OKLAHOMA CITY   OK       73112-6117
INEZ SNIDER                                                              13949 S 95TH EAST AVE                                                                  BIXBY           OK       74008-3514
INEZ TATE TRUST                                                          PO BOX 2280                                                                            CASPER          WY       82602-2280
INFANT CRISIS SERVICES INC                                               4224 N LINCOLN BLVD                                                                    OKLAHOMA CITY   OK       73105-5211
INFINITY RESOURCES COMPANY LLC                                           2720 WASHINGTON DR #110                                                                NORMAN          OK       73069
INFINITY RESOURCES II LLC                                                2911 TURTLE CREEK BLVD SUITE 900                                                       DALLAS          TX       75219
INFOSYS - A DIVISION OF OKLAHOMA EL                                      PO BOX 349                                                                             OKLAHOMA CITY   OK       73101-0349
INFRARED TRAINING CENTER                                                 9 TOWNSEND WEST                                                                        NASHUA          NH       03063
INFRASTRUCTURE NETWORKS INC                                              1718 FRY RD STE 116                                                                    HOUSTON         TX       77084-5837
INGLE FAMILY REV TR                                                      6651 WHISPERING OAK DR                                                                 EDMOND          OK       73034-9214
Ingram, Adam                          c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater      OK       74074
INGRID BROADRICK                                                         6308 NASCO DR                                                                          AUSTIN          TX       78757-2716
                                                                                                                       9211 Lake Hefner
Inman House                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Inman House                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Inman House                                                              424 East Grant                                                                         Guthrie         OK       73034
Inman House                                                              PO Box 1353                                                                            Guthrie         OK       73034


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                  CreditorName              CreditorNoticeName                             Address1                         Address2                  Address3             City   State       Zip      Country
                                                                                                                       9211 Lake Hefner
Inman Jefferson                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Inman Jefferson                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Inman Jefferson                                                          6525 N. Missouri Ave                                                                    Oklahoma City    OK      73111
INNER OCTAGON LLC                                                        511 N BULLARD STREET                                                                    SILVER CITY      NM      88061
INNOVEX DOWHOLE SOULTIONS INC                                            4310 N SAM HOUSTON PARKWAY E                                                            HOUSTON          TX      77032
INREM LLC                                                                818 N OAK ST                                                                            GUTHRIE          OK      73044
INSPECTECH LLC                                                           4 STERN DR                                                                              WILLIAMSTOWN     WV      26187-1125
INSPECTION OILFIELD SERVICES                                             DEPT 730029                                                                             DALLAS           TX      75266-0919
INSTASCRIPT                                                              101 PARK AVENUE, SUITE 910                                                              OKLAHOMA CITY    OK      73102
INSTITUTIONAL INVESTOR LLC                                               225 PARK AVE S                                                                          NEW YORK         NY      10003-1604
Integrated Fluid Systems, LLC         c/o The Rudnicki Firm              Attn: Meredith W. Wolfe                       6305 Waterford Blvd   Ste. 325            Oklahoma City    OK      73118
Integrated Fluid Systems, LLC                                            PO Box 4977                                                                             Oklahoma City    OK      73154

INTEGRATED PETROLEUM TECHNOLOGIES I                                      1707 COLE BOULEVARD SUITE 200                                                           GOLDEN           CO      80401
INTEGRATED PRODUCTION SERVICES                                           PO BOX 201934                                                                           Dallas           TX      75320
INTEGRITY INVESTMENTS LLC                                                601 S WASHINGTON #141                                                                   STILLWATER       OK      74074
INTERGY PRODUCTION LLC                                                   PO BOX 342                                                                              EDMOND           OK      73083-0342
INTERNATIONAL BANK OF COMMERCE                                           3817 NW EXPRESSWAY STE 100                                                              OKLAHOMA CITY    OK      73112

International Energy Corporation      c/o Levinson, Smith & Huffman PC Attn: Terence P Brennan                         1743 E 71st St                            Tulsa            OK      74136

International Energy Corporation      c/o Levinson, Smith & Huffman PC Attn: Trevor R. Henson                          1743 E 71st St                            Tulsa            OK      74136
International Energy Corporation                                       1801 E 71st St                                                                            Tulsa            OK      74136
INTERNATIONAL ENERGY CREDIT ASSOCIA                                    1120 ROUTE 73 STE 200                                                                     MOUNT LAUREL     NJ      08054-5113
INTERNATIONAL MINING CO                                                10000 STOCKDALE HWY, SUITE 300                                                            BAKERSFIELD      CA      93311-3604
INTERNATIONAL OIL & GAS LLC AN OKLA                                    1801 E 71ST STREET                                                                        TULSA            OK      74136
INTERNATIONAL VENTURES INC                                             PO BOX 720824                                                                             OKLAHOMA CITY    OK      73172
INTERSTATE ROYALTY GROUP LLC                                           110 W 7TH ST STE 1000                                                                     TULSA            OK      74119-1109
INTERTECH SECURITY LLC                                                 1501 PREBLE AVENUE                                                                        PITTSBURGH       PA      15233
INTRADO INC                                                            DEPARTMENT 1273                                                                           DENVER           CO      80256
INTRALINKS INC                                                         PO BOX 392134                                                                             PITTSBURGH       PA      15251-9134
INTREPID DIRECTIONAL DRILLING SPECI                                    10314 STATE HWY 191                                                                       MIDLAND          TX      79707
INVAIL ENERGY INC                                                      6011 N YORKTOWN AVE                                                                       TULSA            OK      74130
INVENSYS SYSTEMS INC                                                   14526 COLLECTIONS CENTER DRIVE                                                            CHICAGO          IL      60693-0145
INVERSION TECHNOLOGIES INC                                             7002 HIGH BLUFF TRAIL                                                                     ROUND ROCK       TX      78681
INVESTMENT EQUIPMENT LLC                                               412 W PLATTE AVE                                                                          FT MORGAN        CO      80701-2650
INVESTOR'S RESOURCES CORPORATION                                       PO BOX 1852                                                                               ENID             OK      73702
INVICTUS TOOLS LLC                                                     100 E FELIX ST S STE 190                                                                  FORT WORTH       TX      76115-3552
IOANNA RAUGHTON                                                        14736 BEACON BLVD                                                                         CARMEL           IN      46032
IONA CLEMENTS                                                          8437 PINE RIDGE DR                                                                        ROGERS           AR      72756
IONE LEAVERTON SHAFFER IRREVOCOABLE
TRUS                                                                     PO BOX 840738                                                                           DALLAS           TX      75284-0738
IOS/PCI LLC                                                              PO BOX 679343                                                                           DALLAS           TX      75267-9343
Iowa Office of the State Treasurer    Unclaimed Property Division        800 Walnut St                                 MAC N8200-071                             Des Moines       IA      50309
IOWA TRIBE OF OKLAHOMA                                                   335588 E 750 RD                                                                         PERKINS          OK      74059
IPGI IMAGENATION PROMOTIONAL GROUP                                       2720 N MAY AVE                                                                          OKLAHOMA CITY    OK      73107-2036
IPREO LLC                                                                1359 BROADWAY FL 2                                                                      NEW YORK         NY      10018-7123
IPRO TECH LLC                                                            DEPT # 880049                                                                           PHOENIX          AZ      85038-9650
IPSWITCH INC                                                             PO BOX 3726                                                                             NEW YORK         NY      10008-3726
IRA DUGAN                                                                1835 N BARRINGTON DR                                                                    FAYETTEVILLE     AR      72701-3059
IRA JACOB                                                                2710 DUPONT                                                                             EDMOND           OK      73034
IRA M AND FINCEL V FARISS JOINT                                          PO BOX 5640                                                                             EDMOND           OK      73083
IRA SHIPPY                                                               1104 NORTH B ST                                                                         PARMA            ID      83660
IRA SISSON ESTATE                                                        7501 E BRITTON ROAD                                                                     Oklahoma City    OK      73151
IRA SPENCER                                                              1002 OAKRIDGE DR                                                                        STILLWATER       OK      74074-1108
IRA WHITE                                                                5912 W CHARLESTON ST                                                                    BROKEN ARROW     OK      74011-1484
IRADYTH COLLINS                                                          2801 E CR 66                                                                            MULHALL          OK      73063


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IRAM CARRASCO                           c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater          OK      74074
IRENE COLEMAN                                                              11017 DAVIS ST                                                                         OKLAHOMA CITY       OK      73162
IRENE FKA HOWARD                        C/O LARRY DALE OWSLEY                                                                                                     VISALA              CA      93292
IRENE HALL ESTATE HEIRS                                                    8 CARNATION PLACE                                                                      LAWRENCE TOWNSHIP   NJ      08648
IRENE M VAVERKA LiINDA FRANCES HOCK                                        3212 EPPERLY DRIVE                                                                     DEL CITY            OK      73115
IRENE NEALY                                                                2515 ELK LN                                                                            GRANTS PASS         OR      97527
IRENE P BUCK TRUST                                                         6001 NW 23RD ST                                                                        OKLAHOMA CITY       OK      73127-1253
IRENE PAGEL                                                                1115 N 11TH                                                                            PERRY               OK      73077
IRENE S FREDERICK LIVING TRUST                                             1660 MOVEEN HEIGHTS                                                                    MONUMENT            CO      80132
IRENE S WISCHER                                                            PO BOX 1600                                                                            SAN ANTONIO         TX      78296
                                                                                                                         9211 Lake Hefner
Irene Smith                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                        c/o Laminack, Pirtle & Martines,
Irene Smith                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Irene Smith                                                                2530 E Meadow Rd                                                                       Atoka               OK      74525
IRENE SPANGLER REVOCABLE TRUST                                             829 PHILLIPS LANE                                                                      STATESVILLE         NC      28625
IRENE WATSON                                                               PO BOX 748                                                                             FORT BENTON         MT      59442
IRENE WILLIAMS                                                             RR 2 BOX 140 A                                                                         DUNCAN              OK      73533
IRENE ZERBE                                                                3219 CHAMBERS WAY                                                                      COLORADO SPRINGS    CO      80904
                                                                                                                         9211 Lake Hefner
Irene Sivley                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                        c/o Laminack, Pirtle & Martines,
Irene Sivley                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Irene Sivley                                                               504 Beebe St                                                                           Jones               OK      73049
IRIS CASTLES                                                               3393 ARTESIA RD                                                                        STARKVILLE          MS      39759
IRIS FRANCIS                                                               6986 ASPEN CREEK LN                                                                    DALLAS              TX      75252-2702
IRIS M EBY TTEE                                                            823 S RANGE RD APT 205                                                                 STILLWATER          OK      74074
IRISH MOCK                                                                 601 TIMBER RIDGE RD                                                                    EDMOND              OK      73034
IRISH REALTY CORPORATION                                                   PO BOX 18608                                                                           OKLAHOMA CITY       OK      73154
IRMA LINSENMEYER                                                           807 S LOWRY ST APT 308                                                                 STILLWATER          OK      74074-4744
IRMA YOUNG                              CO Robert Hugh Tinnen                                                                                                     LOVELAND            CO      80538
IRON MASTERS                                                               401 N TOMPKINS DR                                                                      OKLAHOMA CITY       OK      73127-6042
IRON MOUNTAIN HOLDINGS LP                                                  731 ASPEN LANE                                                                         LEBANON             PA      17042-9080

IRONGATE TUBULAR SERVICES LLC                                              19500 STATE HIGHWAY 249, SUITE 600                                                     HOUSTON             TX      77070
Ironshore Specialty Insurance Company                                      75 Federal Street                             5th Floor                                Boston              MA      02110
IRONSTAR PARTNERS                                                          3007 NW 63RDSTE 205                                                                    OKLAHOMA CITY       OK      73116
IRS                                                                        PO Box 932300                                                                          LOUISVILLE          KY      40293-2300
IRS                                                                        55 N. Robinson Ave.                                                                    Oklahoma City       OK      73102
IRTH SOLUTIONS LLC                                                         5009 HORIZONS DR                                                                       COLUMBUS            OH      43220-5284
IRVAN MAYFIELD                                                             4407 SE ROETHE RDUNIT 12                                                               PORTLAND            OR      97267
IRVEN W & RUTH E MCKEY TR                                                  1523 E 3RD AVE                                                                         STILLWATER          OK      74074-3903
IRVIN HAKEN                                                                14004 E RICHMOND                                                                       GLENCOE             OK      74032
IRVIN KAISER                                                               106 CHEROKEE                                                                           COVINGTON           OK      73730
IRVIN MAYFIELD                                                             711 NE 106TH AVE                                                                       VANCOUVER           WA      98664-4451
IRVINE CONSTRUCTION & REALTY, INC                                          920 EAST WOODOAK LANE SUITE 200                                                        SALT LAKE CITY      UT      84117
IRWIN BUSINESS MACHINES INC                                                811 W SHERIDAN AVE                                                                     OKLAHOMA CITY       OK      73106-7828
IRWIN CUSTOM SIGN COMPANY LLC                                              415 E 14TH AVE                                                                         STILLWATER          OK      74074
ISAAC MORRIS                                                               5173 W STOCKER LN #303                                                                 BOISE               ID      83703
ISAACS FAMILY LIMITED LIABILITY LIM                                        5 INVERNESS DRIVE EAST                                                                 ENGLEWOOD           CO      80112
ISAACS FAMILY LLP                                                          PO BOX 730586                                                                          DALLAS              TX      75373
ISAACS FAMILY TRUST DTD 04.01.18                                           2713 INDIAN DR                                                                         ENID                OK      73703
ISABELL M BRADLEY TRUST                                                    2914 S COUNTRY CLUB RD                                                                 STILLWATER          OK      74074-1356
ISABELLA ROYALTIES                                                         3131 MCKINNEY AVE STE 430                                                              DALLAS              TX      75204-8529
ISABELLE ELIZABETH BAKKE HARDY                                             820 OSITO PL                                                                           SANTE FE            NM      87505
ISCO INDUSTRIES INC                                                        1974 SOLUTIONS CENTER                                                                  CHICAGO             IL      60677-1009
ISIDOR & FARICE BASLER LIVING TRUST                                        400 BENCH ROAD                                                                         BONNERS FERRY       ID      83805
ISN SOFTWARE CORPORATION                                                   PO BOX 841808                                                                          DALLAS              TX      75284-1808



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                                                                                                                       9211 Lake Hefner
Isom Hill                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Isom Hill                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Isom Hill                                                                200 W. Delmar St                                                                        Broken Arrow       OK      74012
ITG INVESTMENT RESEARCH INC                                              PO BOX 30270                                                                            NEW YORK           NY      10087-0270
ITX RANCH COMPANY LTD                                                    PO BOX 25202                                                                            DALLAS             TX      75225
IVA CAROLENE DAVIS                                                       20522 ROAD 228                                                                          LINDSEY            CA      93247
IVA JEAN RINKER REV TRUST                                                341559 E HWY 105                                                                        TYRON              OK      74875
IVA PAULINE HENKE                                                        14450 COUNTY RD 140                                                                     Perry              OK      73077
IVAL HESSER                                                              3101 N LINCOLN ST                                                                       STILLWATER         OK      74075
IVAN BUDD                                                                14109 E 74TH ST                                                                         CUSHING            OK      74023-6055
IVAN D EAST DECEASED                                                     1621 E. Park St.                                                                        Enid               OK      73701
IVAN HUDSPETH                                                            1069 MONROE                                                                             DENVER             CO      80206
Ivan Koger                            c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX      75070
Ivan Koger                            c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK      74104
Ivan Koger                            c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY      10017
Ivan Koger                                                               46101 Koger Dr                                                                          Ralston            OK      74650
IVAN LEROY STEWART                                                       609 WINDING LN                                                                          EDMOND             OK      73003
IVAN MILLER                                                              22661 V AVE                                                                             ELDORA             IA      50627
IVES FAMILY TRUST                                                        1104 NORTH RAVEN RD                                                                     ROGERS             AR      72756
IVIS INC                                                                 PO BOX 1722                                                                             TULSA              OK      74101
IVY BIRCH                                                                18495 DEER FLAT RD                                                                      CALDWELL           ID      83607-9782
IVY CREEK INVESTMENTS LTD                                                PO BOX 25313                                                                            DALLAS             TX      75225-1313
IVY SULLIVAN                                                             2230 SW 11TH PL                                                                         BOCA RATON         FL      33486
J & J CARTER ENERGY LLC                                                  PO BOX 585                                                                              OKARCHE            OK      73762
J & J SOLUTIONS LLC                                                      PO BOX 44                                                                               PERRY              OK      73077
J & R OIL COMPANY INC                                                    PO BOX 781                                                                              WOODWARD           OK      73802
J A LAFORTUNE RESIDUAL TR                                                PO BOX 3627                                                                             TULSA              OK      74101-3627
J A MINERALS LLC                                                         1709 W WINSTON COURT                                                                    BROKEN ARROW       OK      74011
J ALEXANDER HAIR                                                         320 N RANGE RD                                                                          STILLWATER         OK      74074-1986
J AND JUDY WHITACRE HUSBAND AND WIF                                      80135 OHIO ST                                                                           PUTNAM             OK      73659
J AND S ULM FAMILY TRUST                                                 500 ROBIN CT                                                                            IONE               CA      95640-9207
J B RUSH                                                                 1112 E 104TH STREET                                                                     PERKINS            OK      74059
J BATT                                                                   PO BOX 727                                                                              FULSHEAR           TX      77441
J BEARD                                                                  PO BOX 50                                                                               MADILL             OK      73446-0050
J BEASLEY                                                                206 SAN EMIDIO ST                                                                       TAFT               CA      93268
J BRADLEY                                                                2504 DEBBY JANE LANE                                                                    MUSKOGEE           OK      74403
J BUMPAS                                                                 5000 E PINTO DR                                                                         STILLWATER         OK      74074-8607
J BUNDREN                                                                3120 E 87TH ST                                                                          TULSA              OK      74137
J C ESSLEY TRUST                                                         1325 SYLVAN DR                                                                          ABILENE            TX      79605-4925
J C FARMER TRUST                                                         3855 PAGE MILL RD                                                                       LOS ALTOS HILLS    CA      94022
J C MENSORE DIST INC                                                     134 N BRIDGE ST                                                                         NEW MARTINSVILLE   WV      26155
J C SWANSON                                                              1201 SHORE DR                                                                           EDMOND             OK      73003
J CAMPBELL                                                               3309 TIMBERLAKE DR                                                                      STILLWATER         OK      74075
J COULSON                                                                4758 ADELAIDE PLACE                                                                     HIGHLANDS RANCH    CO      80130
J CRAIG WHEELER ROYALTY TRUST                                            1410 CIRCLE RIDGE DR                                                                    WEST LAKE HILLS    TX      78746
J D MCGOVERN                                                             1141 NW 32ND ST                                                                         OKLAHOMA CITY      OK      73118
J DAVID PYLE                                                             3052 COUNTRY CLUB DRIVE                                                                 SULPHER            OK      73086
J DAVIS                                                                  1800 SAINT JAMES PLACE #303                                                             HOUSTON            TX      77056
J DOBBS                                                                  203 BELLEMEADE CIR                                                                      EUFALA             OK      74432
J DOUGLAS DUNIVAN REV TR DTD 3502                                        3103 N MADISON CT                                                                       STILLWATER         OK      74074-1123
J DOUGLAS LASATER REVOCABLE TRUST                                        3229 W CHARLESTON CT                                                                    STILLWATER         OK      74074
J DUDLEY                                                                 907 E OVERBROOK                                                                         PONCA CITY         OK      74601-3419
J ED & SALLY L RAWLS REV TRST                                            1409 N 12TH ST                                                                          DUNCAN             OK      73533-3715
J ED RAWLS & SALLY L RAWLS REV TR                                        1409 N 12TH ST                                                                          DUNCAN             OK      73533
J F BUCK ENERGY LLC                                                      6307 WATERFORD BLVD STE 200                                                             OKLAHOMA CITY      OK      73118
J FRED HAMBRIGHT                                                         125 N MARKET ST STE 1415                                                                WICHITA            KS      67202-1714
J G INTERESTS LLC                                                        6463 WILLOW BLOOM TR                                                                    LITTLETON          CO      80125-9061


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J GHORMLEY                                                               14 KINGS PARK LN                                                                       CONWAY           AR    72034
                                                                         11202 WOODLAND DRIVE APARTMENT
J HAROLD SCHUMAN TRUST                                                   100                                                                                    LUTHERVILLE      MD    21093-3514
J HARPER THOMAS LIMITED                                                  PO BOX 744                                                                             CHICKASHA        OK    73023-0744
J HARRISON                                                               PO BOX 325                                                                             FAIRFAX          OK    74637-0325
J JEANS                                                                  RR 1 BOX 50                                                                            RICHARDSON       MO    64778
J JOHNSON                                                                5225 NORTH SHARTEL, SUITE 200                                                          OKLAHOMA CITY    OK    73118
J KARL JONES FAM TR DTD NOV 1                                            684 BRIARCLIFF RD                                                                      SALINA           KS    67401
J KLASSEN                                                                98126 W BENHAM LN SPC 10                                                               BROOKINGS        OR    97415-9596
J L COURTRIGHT ESTATE                                                    108 NELSON PARK PLACE                                                                  MOORE            OK    73160
J L DOUGLAS                                                              316 EAST 3RD AVENUE                                                                    STILLWATER       OK    74074
J L HOLLIS                                                               425 FIR RD NE                                                                          RANGER           GA    30734-9762
J L PETE SWAIM REV TRUST                                                 1221 SOUTH HOLLY                                                                       YUKON            OK    73099
J LESTER                                                                 13201 HIGH SIERRA BLVD                                                                 EDMOND           OK    73013-8248
J LEWIS                                                                  1236 PARTRIDGE PL                                                                      CHOCTAW          OK    73020-8304
J MACARTHUR                                                              3511 WILLOW SPRINGS                                                                    OKLAHOMA CITY    OK    73112
J MARC COTTRELL TRUST                                                    PO BOX 679                                                                             GARDEN CITY      KS    67846-0679
J MARK GRIMSLEY TRUST                                                    1716 N HUSBAND                                                                         STILLWATER       OK    74075
J MARK RISTER                                                            2501 AMBASSADOR DR                                                                     WACO             TX    76712
J MATTHEW DEVILLIERS ATTORNEY AT LA                                      105 N HUDSON AVE STE 915                                                               OKLAHOMA CITY    OK    73102-4803
J MAYEAUX                                                                PO BOX 10104                                                                           JACKSON          MS    39286
J MCELROY                                                                8205 E SIENNA ST                                                                       MEZA             AR    85207
J MORTON IRREVOCABLE TRUST                                               511 N BULLARD ST                                                                       SILVER CITY      NM    88061
J NEWMAN                                                                 5500 E 15TH ST                                                                         EDMOND           OK    73013
J O SPENCER LLC                                                          PO BOX 237                                                                             TECUMSEH         OK    74873
J ONTKO                                                                  301 NW 42ND ST                                                                         OKLAHOMA CITY    OK    73118-8401
J P JONES FAMILY LLC                                                     4004 NE 138TH ST                                                                       EDMOND           OK    73013
J PRALLE                                                                 PO BOX 54                                                                              FAIRMONT         OK    73736
J R MCGINLEY, JR REV TRUST                                               PO BOX 769                                                                             TULSA            OK    74101-0769
J RALPH ELLIS JR                                                         SUITE 1530 TEXAS COMMERCE                                                              IRVING           TX    75062
J RED                                                                    PO BOX 699                                                                             STILLWATER       OK    74076-0699
J RUSSELL BRADLEY TTEE                                                   17575 S HARVARD AVE                                                                    MOUNDS           OK    74047
J SCHNEIDER AND ASSOCIATES LTD                                           325 INDUSTRIAL PKWY                                                                    LAFAYETTE        LA    70508-3324
J SCOTT AKIN                                                             1933 HWY 148                                                                           CORNING          IA    50841-1241
J SCOTT RIPLEY                                                           1601 N BUSHCREEK RD                                                                    STILLWATER       OK    74075
J SEARCY                                                                 6300 KLAMATH RD                                                                        FORT WORTH       TX    76116
J W DUDLEY STARK                                                         4407 FITZGERALD ST                                                                     MARSHALL         TX    75672
J W HELF                                                                 1617 AMBLE ON LN                                                                       VAN BUREN        AR    72956
J W JOHNSTON                                                             11113 EAST 118TH COURT NORTH                                                           COLLINSVILLE     OK    74021
J WHITEHEAD                                                              364 COUNTY ROAD 3184                                                                   CLEVELAND        TX    77327-9169
J&A OILFIELD RENTALS INC                                                 5102 N WHEATRIDGE ROAD                                                                 ENID             OK    73703
J&H ENERGY LLC                                                           16302 N. 97TH EAST AVE                                                                 COLLINSVILLE     OK    74021
J&J COOLZONE                                                             PO BOX 2038                                                                            ELK CITY         OK    73648
J&J TUBULARS INC                                                         PO BOX 613                                                                             NEWCASTLE        OK    73065
J&J WHEAT & CATTLE FARMS LLC                                             8905 SOUTH 41ST WEST AVENUE                                                            TULSA            OK    74132-4133
J&L MUEGGENBORG                                                          PO BOX 286                                                                             MANNFORD         OK    74044-0286
J&L OPERATING                                                            PO BOX 1085                                                                            SHATTUCK         OK    73858
J&L SERVICES                                                             PO BOX 848                                                                             Shattuck         OK    73858
J&R TRANSPORT INC                                                        PO BOX 781                                                                             WOODWARD         OK    73802-0781
J. R. COLLINS TRUST                                                      6818 WESTOVER DRIVE                                                                    GRANBURY         TX    76049
                                                                                                                       9211 Lake Hefner
J. Ramon Avila                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
J. Ramon Avila                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
J. Ramon Avila                                                           1708 E Lincoln Ave                                                                     Guthrie          OK    73034
J. S. OILFIELD SERVICES LLC                                              807 West Cherokee                                                                      Enid             OK    73701
J. SNOW                                                                  PO BOX 251                                                                             CRESCENT         OK    73028
                                                                                                                       9211 Lake Hefner
J.C. Carter                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120


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                                      c/o Laminack, Pirtle & Martines,
J.C. Carter                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
J.C. Carter                                                              7950 S. 85th E. Ave                                                                    Tulsa            OK      74133
J.G. THOMPSON LLC                                                        1416 NW 141ST ST                                                                       EDMOND           OK      73013-1610
J.L. DELAY MOVING                                                        PH1, 1304 - 15th AVE SW                                                                CALGARY          AB      T3C 0X7      CANADA
J.R. MCGINLEY JR.                                                        PO Box 769                                                                             TULSA            OK      74101-0769
J3 ENERGY LLC                                                            111 SUMMIT BLVD                                                                        ENGLEWOOD        CO      80113
JA OILFIELD MANUFACTURING INC                                            PO BOX 95545                                                                           OKLAHOMA CITY    OK      73143-5545
JACAM CHEMICALS 2013 LLC                                                 PO BOX 96                                                                              STERLING         KS      67579-0096
JACDANGUS LLC                                                            PO BOX 872                                                                             ADA              OK      74821
JACI PARKER                                                              14226 45TH AVE CRT NW                                                                  GIG HARBOR       WA      98332
JACK & DIANE SPENCER FAMILY MINERAL                                      408 HERITAGE GREEN RD                                                                  EDMOND           OK      73003
JACK & PAULINE LONON REV TRUST                                           800623 S 3460 RD                                                                       AGRA             OK      74824-2000
JACK A & RHONDA SHAFER REV TR                                            PO BOX 31                                                                              MULHALL          OK      73063
JACK A KING & BETTE L KING REV LIV                                       5401 HOLLYTREE DR. # 1502                                                              TYLER            TX      75703
JACK A MCKAIG REVOCABLE LIVING TRUS                                      7707 W BRITTON RD #1603                                                                OKLAHOMA CITY    OK      73132
JACK ACKLIN                                                              7821 EAST 76TH, APT. 317                                                               TULSA            OK      74133
JACK ALLEN                                                               1506 WENTWORTH AVE                                                                     ST JOHNS         FL      32259
JACK ALLRED                                                              714 W LAKESHORE DR                                                                     STILLWATER       OK      74075-1335
JACK AND FRANCES MCADOO FAMILY TR                                        373 LINE 17 RD                                                                         SAN BENITO       TX      78586-5707
JACK AND GLADYS RUTH SIMMONS HW JT                                       PO BOX 191                                                                             RIPLEY           OK      74062-0191
JACK B AND TAMARA D SEARLE JT                                            841 HERSCH AVE                                                                         PAGOSA SPRINGS   CO      81147-8706
JACK B DEVER TTEE                                                        7116 COMANCHE AVE                                                                      WARR ACRES       OK      73132
JACK BERGER DECD                                                         3053 W WILSHIRE                                                                        OKLAHOMA CITY    OK      73116
JACK BERRY                                                               10785 VALLEY VIEW ROAD                                                                 EDEN PRAIRIE     MN      55344
JACK BOBIER TRUCKING LLC                                                 1348 COUNTY ROAD 1190                                                                  TUTTLE           OK      73089
JACK BOWLES                                                              PO BOX 3285                                                                            EDMOND           OK      73083
JACK C ALLRED REVOCABLE TRUST                                            714 W LAKESHORE DR                                                                     STILLWATER       OK      74075-1335
JACK CARNEFIX                                                            10 CIMARRON TRL                                                                        PERKINS          OK      74059-4165
JACK CLARY                                                               2209 W CASADO ST                                                                       WICHITA          KS      67217-1701
JACK D BERRY IRREV MINERAL TR                                            PO BOX 3480                                                                            OMAHA            NE      68103-0480
JACK D BERRY IRREV MINERAL TRUST                                         PO BOX 3480                                                                            OMAHA            NE      68103-0480
JACK D BERRY IRREVOCABLE MINERAL TR                                      5110 S YALE AVE STE 400                                                                TULSA            OK      74135-7483

JACK D REAVES                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
JACK DOLEZAL                                                             PO BOX 564                                                                             PERRY            OK      73077
JACK DONALD KEENE OR HIS SUCC AS TT                                      PO BOX 52359                                                                           DURHAM           NC      27717
JACK DOWELL                                                              109 E PINE CT                                                                          SKIATOOK         OK      74979
JACK EGON GUENTHER JR 1976 TRUST                                         153 TREELINE PARKSTE 300                                                               SAN ANTONIO      TX      78209
JACK EVERETT                                                             6101 E 104TH ST                                                                        PERKINS          OK      74059-3792
JACK EWY                                                                 1415 N 7TH ST                                                                          PERRY            OK      73077
                                                                                                                       9211 Lake Hefner
Jack Garner                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jack Garner                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jack Garner                                                              7212 E Main                                                                            Cushing          OK      74023
JACK GILBERT                                                             9955 KNOB HOLLOW WAY                                                                   CONROE           TX      77385
JACK GLADDEN                                                             11718 E 21ST ST CT 5                                                                   INDEPENDENCE     MO      64050-4288
JACK GRAY                                                                804 OAKDALE RD NE                                                                      ATLANTA          GA      30307
JACK H CHOATE INC                                                        8900 ELK ALLEY                                                                         GUTHRIE          OK      73044
JACK H OSBORN TRUST                                                      14901 N PENNSYLVANIA AVE #386                                                          OKLAHOMA CITY    OK      73134
JACK HESSER                                                              4101 E LAKEVIEW RD                                                                     STILLWATER       OK      74075-8649
JACK HETHERINGTON                                                        2019 SHADY LN                                                                          CORTEZ           CO      81321-2336
JACK HOXMEIER                                                            5852 MEZZANINE WAY                                                                     LONG BEACH       CA      90808
JACK HURD                                                                681 E 425 S                                                                            OGDEN            UT      84404-2442
JACK J HARRIS JR                                                         1302 KENNEDY COURT                                                                     WAGONER          OK      74467
JACK J JEFFERS & FLORENCE K JEFFERS                                      1604 WINDMILL RD                                                                       BLACKWELL        OK      74631
JACK JR & ROBYN MARTIN JT                                                2101 CAMBRIDGE WAY                                                                     EDMOND           OK      73013
JACK L JEFFERS & FLORENCE K JEFFERS                                      1604 WINDMILL RD                                                                       BLACKWELL        OK      74631


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JACK LEFORCE                                                        1205 OLDE NORTH PLACE                                                                  EDMOND           OK      73034
JACK LLOYD CRABTREE                                                 514 N MAPLE                                                                            GUTHRIE          OK      73044
JACK MARTIN                                                         92 LAKE COUNTRY                                                                        MANNFORD         OK      74044
JACK MATTHEWS                                                       34504 INDEPENDENCE ST                                                                  SHAWNEE          OK      74801
JACK MEACHAM                                                        3315 SANDEN FERRY E                                                                    DECATUR          GA      30033
JACK NEALY                                                          1932 7TH AVE SE                                                                        OLYMPIA          WA      98501
                                                                                                                  9211 Lake Hefner
Jack Neeley                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                 c/o Laminack, Pirtle & Martines,
Jack Neeley                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jack Neeley                                                         12140 E. 24th St                                                                       Tulsa            OK      74129
JACK OWSLEY, JR.                                                    PO Box 3022                                                                            EUREKA           CA      95502
JACK PRATT SCREEN AD CO                                             409 NE 40TH ST                                                                         OKLAHOMA CITY    OK      73105-3700
JACK PRITCHARD                                                      3401 N ROSE RD                                                                         STILLWATER       OK      74075
                                                                                                                  9211 Lake Hefner
Jack R. Martin                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                 c/o Laminack, Pirtle & Martines,
Jack R. Martin                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jack R. Martin                                                      123 E. Madison                                                                         Broken Arrow     OK      74012
JACK S LENORE A BUSCH &KATHRYN                                      730 N PORTER AVE                                                                       WICHITA          KS      67203-3142
JACK SAWYER                                                         608 FAIRPOINT DR                                                                       GULF BREEZE      FL      32561
JACK SCHUTKESTING                                                   904 S MAIN ST                                                                          KINGFISHER       OK      73750-4416
JACK SEARLE                                                         841 HERSCH AVE                                                                         PAGOSA SPRINGS   CO      81147
JACK SHAFFER                                                        1705 PLANTATION OAK DR                                                                 BATON ROUGE      LA      70810-7120
JACK SHAVER                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
JACK SKAGGS                                                         2941 SW 53RD ST                                                                        OKLAHOMA CITY    OK      73119-5407
JACK SNEDDEN                                                        18010 E 101ST ST                                                                       BROKEN ARROW     OK      74011
JACK SNYDER                                                         PO BOX 108                                                                             COVINGTON        OK      73730
JACK STOTTS                                                         1210 CEDAR ST                                                                          PERRY            OK      73077
JACK STOVALL                                                        PO BOX 123                                                                             COVINGTON        OK      73730
JACK T MASSEY COMPANY LLC                                           PO BOX 3627                                                                            TULSA            OK      74101-3627
JACK THOMAS                                                         PO BOX 31508                                                                           EDMOND           OK      73003
JACK THOMPSON                                                       427 NORTH HARMONY ST                                                                   MEDINA           OH      44256
JACK TYLER                                                          5 GREENBRIER RD                                                                        LITTLE ROCK      AR      72202-1903
JACK WALTERS                                                        9360 N BLACKSTONE AVE SPC 230                                                          FRESNO           CA      93720-1122
JACK WAYNE GRANT, DECEASED                                          4907 N W MEADOWBROOK DR                                                                LAWTON           OK      73505
JACK WOODRUFF                                                       318 GLEN ELLEN DR                                                                      VENTURA          CA      93003-1732
JACK Z KRIGEL TTEE                                                  1040 W 57TH ST                                                                         KANSAS CITY      MO      64113-1117
JACK ZALOUDEK                                                       427 F AVENUE                                                                           KREMLIN          OK      73753
JACKAL OIL COMPANY                                                  307 WEST 7TH ST STE 1718                                                               FT WORTH         TX      76102
JACKFORK LAND INC                                                   933 E BRITTON RD                                                                       OKLAHOMA CITY    OK      73114
JACKFORK RESOURCES INC                                              19101 COUNTY ROAD 1548                                                                 ADA              OK      74820-3137
JACKIE BILLINGTON                                                   12300 FRED LN                                                                          MISSOULA         MT      59808-8525
JACKIE BROCKAMP                                                     352286 E 760 RD                                                                        CUSHING          OK      74023
JACKIE COOPER                                                       7811 WOOTEN LANE                                                                       STILLWATER       OK      74074
                                                                                                                  9211 Lake Hefner
Jackie Cramer                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                 c/o Laminack, Pirtle & Martines,
Jackie Cramer                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jackie Cramer                                                       5803 N. Mt Vernon                                                                      Cushing          OK      74023
JACKIE D WILLIS                                                     PO BOX 367                                                                             SNYDER           OK      73566
JACKIE ELLIOTT                                                      2212 DUBLIN ROAD                                                                       OKLAHOMA CITY    OK      73120-3822
JACKIE GOERS                                                        4124 PEBBLE BEACH DR                                                                   NIWOT            CO      80503-8361
JACKIE IMMEL                                                        515 EDEN RANCH                                                                         CANYON LAKE      TX      78133
                                                                                                                  9211 Lake Hefner
Jackie Jones                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                 c/o Laminack, Pirtle & Martines,
Jackie Jones                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jackie Jones                                                        2233 N. Frankfort                                                                      Tulsa            OK      74106


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                  CreditorName              CreditorNoticeName                          Address1                            Address2                 Address3             City   State       Zip      Country
JACKIE L HURST                                                           PO BOX 261                                                                             WHEATLAND        OK      73097
JACKIE LAVERNE MURRAY                                                    339385 EAST 740 ROAD                                                                   PERKINS          OK      74059
JACKIE LEE BOYLES                                                        7922 W GRANDSTAFF                                                                      RIPLEY           OK      74062-6345
JACKIE LOU BEEBY STRECK                                                  830547 S 3470 RD                                                                       CHANDLER         OK      74834-8559
JACKIE MCANALLY                                                          PO BOX 4                                                                               MULHALL          OK      73063
JACKIE OLYER                                                             400 N WALNUT                                                                           MEDICINE LODGE   KS      67104
JACKIE PRICE                                                             20387 E 860 ROAD                                                                       LEEDEY           OK      73654
JACKIE SALAS                                                             5013 WOODROW RD                                                                        LUBBOCK          TX      79424-6620
JACKIE SHAVER                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
JACKPOT INVESTMENTS LLC                                                  1426 S HAYES                                                                           ENID             OK      73703
JACK'S BACKHOE SERVICE INC                                               PO BOX 2407                                                                            ELK CITY         OK      73648
Jackson Electric Construction LLC     Garrett Jackson                    805 E Highway 66                                                                       Wellston         OK      74881
JACKSON ELECTRIC CONSTRUCTION LLC                                        PO BOX 660                                                                             WELLSTON         OK      74881

JACKSON FAMILY REVOCABLE TRUST OF 2                                      2219 WEST STONE POINT CT.                                                              STILLWATER       OK      74074
JACKSON FAMILY TRUST                                                     1600 N JACKSON PLACE                                                                   STILLWATER       OK      75075
JACKSON KELLY PLLC                                                       PO BOX 553                                                                             CHARLESTON       WV      25322-0553
JACKSON LEE                                                              5705 GREENWOOD DR                                                                      FARMINGTON       NM      87402
JACKSON PROPERTIES LLC                                                   PO Box 2640                                                                            MIDLAND          TX      79702

JACKSON S SMITH III                                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
JACKSON TOOL CO. INC                                                     PO BOX 241                                                                             LONE GROVE       OK      73443
JACKSON WALKER LLP                                                       901 MAIN ST STE 6000                                                                   DALLAS           TX      75202-3748
Jackson, Brian                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
JACKY UPTON                           c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK      74074
JACLYN CHRISTENSEN                                                       1006 NW 18TH ST                                                                        OKLAHOMA CITY    OK      73106-6417
JACLYN MAY                                                               1101 SHERFIELD RIDGE DR                                                                KATY             TX      77450
                                                                                                                       9211 Lake Hefner
Jaclyn Haese                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jaclyn Haese                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jaclyn Haese                                                             103884 S 3470 Rd                                                                       Meeker           OK      74855
JACOB ALEXANDER HAIR ESTATE                                              320 N RANGE RD                                                                         STILLWATER       OK      74074-1986
JACOB BREWER                                                             12514 SW 12TH ST                                                                       YUKON            OK      73099-8705
JACOB COLE                                                               1133 SW 131ST ST                                                                       OKLAHOMA CITY    OK      73170-6982
JACOB FAM TR,RALPH W JACOB TT                                            7900 SW 109TH ST                                                                       OKLAHOMA CITY    OK      73173
                                                                                                                       9211 Lake Hefner
Jacob Ferguson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jacob Ferguson                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jacob Ferguson                                                           5208 S. Spruce Dr                                                                      Sand Springs     OK      74063
JACOB GILL                                                               37 CROSS ST                                                                            FAIRMONT         WV      26554
JACOB HENDERSHOT                                                         400 W EDMOND RD, APT 9B                                                                OKLAHOMA CITY    OK      73003
JACOB MCKINNON                                                           3918 YORKSHIRE DR                                                                      STILLWATER       OK      74074
                                                                                                                       9211 Lake Hefner
Jacob Rudolph                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jacob Rudolph                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jacob Rudolph                                                            2010 W Toledo St                                                                       Broken Arrow     OK      74012
JACOB STETTNICHS                                                         5400 S WESTWIND AVE                                                                    SIOUX FALLS      SD      57108
JACOB THOMAS & LAURA NICHOLE                                             12204 LIV 430                                                                          DAWN             MO      64638
JACOB TURNER WILFONG                                                     3820 N PUTNAM HEIGHTS BLVD                                                             OKLAHOMA CITY    OK      73118
JACOB WEIERMAN                                                           411 S BUCKINGHAM                                                                       STILLWATER       OK      74075
JACOB WILSON                                                             5301 S CODDINGTON AVE                                                                  LINCOLN          NE      68523
Jacobs, Harrison                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
JACQUE FRYE                                                              2231 E 25TH ST                                                                         TULSA            OK      74114-2915
JACQUE L PAULES                                                          284 SIESTA AVENUE                                                                      THOUSAND OAKS    CA      91360
JACQUELINE BEVERLY J CUMMINS                                             1609 W WYNONA AVE                                                                      ENID             OK      73703-6940
JACQUELINE CUMMINS                                                       1609 W WYNONA AVE                                                                      ENID             OK      73703-6940


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                                                                                                                       9211 Lake Hefner
Jacqueline Farrow                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
Jacqueline Farrow                     c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles      CA      90017
Jacqueline Farrow                                                        817 W Grandstaff                                                                       Cushing          OK      74023
JACQUELINE GONZALES                                                      6778 S. MITCHELL ROAD                                                                  HENNESSEY        OK      73742
JACQUELINE K HENGES REVOCABLE LIVIN                                      637 HICKORY LN                                                                         ST LOUIS         MO      63131-4712
JACQUELINE L ADAIR REV LIVING TR DT                                      4811 W WOODLAND DR                                                                     STILLWATER       OK      74074-2353
JACQUELINE L SCHMUTZ THOMPSON                                            18092 MARIPOSA LN                                                                      MOUNT VERNON     WA      98274-8153
JACQUELINE LUSTERHARRIS                                                  1424 PATRICIA DR                                                                       MIDWEST CITY     OK      73130-1635
JACQUELINE MEDLEY                                                        3205 ROBIN RIDGE ROAD                                                                  OKLAHOMA CITY    OK      73120
JACQUELINE MORRISON                                                      2562 RIATA LANE                                                                        HOUSTON          TX      77043
JACQUELINE ORR                                                           PO BOX 277                                                                             PERRY            IL      62362
JACQUELINE PFEIFFER                                                      2699 E CR 61                                                                           ORLANDO          OK      73073
JACQUELINE R NISHI 1985 REV TR                                           94-194 MAKAPIPIPI STREET                                                               MILILANI         HI      96789
JACQUELINE RAZOR                                                         2781 E. CENTER STREET                                                                  NEW CASTLE       IN      47362-9361
JACQUELINE SCOTT                                                         5510 WINDSOR ISLAND RD N UNIT 26                                                       KEIZER           OR      97303-6153
JACQUELINE SHADA                                                         610 VIA DEL MAR                                                                        VISTA            CA      92081-6347
JACQUELINE SMYTHE                                                        3542 CRESTWOOD DR                                                                      KELSEYVILLE      CA      95451
JACQUELINE STAFFORD                                                      6805 W 9TH ST                                                                          CUSHING          OK      74023-5813
JACQUELINE ZACHGO                                                        5615 CIMARRON MANOR                                                                    GUTHRIE          OK      73044
JACQUELYN BRILEY                                                         12133 SOUTHRIDGE DR                                                                    LITTLE ROCK      AR      72212
JACQUELYN VANNETTA                                                       6260 N. PALM AVE, # 145                                                                FRESNO           CA      93704
JACQUELYNE W GREENE                                                      11468 PARKCHESTER DR                                                                   DALLAS           TX      75230-3024
JACQUENA BRANNON AHRENS                                                  2180 S FULTON PL                                                                       TULSA            OK      74114
JACQUETA MARRS                                                           349280 E 760 RD                                                                        CUSHING          OK      74023-5248
JADA BRUMLEY                                                             119 W OAK SHADOWS                                                                      ONALASKA         TX      77360
JADE P COAY                                                              3910 BELNAP CT                                                                         MISSOURI CITY    TX      77459
JADI GIBBS                                                               818 SOUTH MONROE STREET                                                                STILLWATER       OK      74074
JAG HOLDINGS LLC                                                         1208 KINGSTON CT                                                                       EDMOND           OK      73034-3222
JAG RANCH                                                                PO BOX 3688                                                                            BEAUMONT         TX      77704-3688
JAIME PHELPS                                                             110 KENWOOD DR                                                                         PUEBLO           CO      81004-1620
JAKE MORAVEC                                                             3017 FORREST RIDGE RD                                                                  ENID             OK      73701
JAKE O BROYLES TRUST 1                                                   PO BOX 47                                                                              LAMAR            CO      81052-0047
JAKE POTEET                                                              918 N KICKAPOO AVE                                                                     SHAWNEE          OK      74801-5730
JAKE SPECIAL                                                             6604 WINDY ACRES                                                                       STILLWATER       OK      74074
JAL INTERESTS LLC                                                        4516 LOVERS LANE, PMB #413                                                             DALLAS           TX      75225
JALOC TRUST                                                              PO BOX 1717                                                                            CORSICANA        TX      75151-1717
JAMES & BECKY MARKS LIVING TRUST                                         703 S ROAD                                                                             RYE              NH      03870
JAMES & MARY SOWARDS REVOC LIVING                                        27379 E 850 RD                                                                         CASHION          OK      73016-1643
JAMES & PATRICIA ESTY REV LVNG TRS                                       1201 W 15TH ST                                                                         LITTLEFIELD      TX      79339
JAMES A BRUNER                                                           PO Box 7                                                                               AGRA             OK      74824
JAMES A GREINER LIFE ESTATE                                              PO BOX 35                                                                              STILLWATER       OK      74076-0035
JAMES A GRIFFITH REV TR                                                  PO BOX 1747                                                                            STILLWATER       OK      74076-1747
JAMES A GRIFFITH REV TRUST                                               PO BOX 1747                                                                            STILLWATER       OK      74076-1747
JAMES A HAYDEN II                                                        901 NEWBERRY DR                                                                        RICHARDSON       TX      75080-4911
JAMES A HAYDEN III                                                       4621 IRVIN SIMMONS                                                                     DALLAS           TX      75229
JAMES A MCKEE                                                            1303 S 10TH STREET                                                                     DUNCAN           OK      73533
JAMES A ONEILL IRREVOCABLE TRUST                                         PO BOX 942                                                                             FORT COLLINS     CO      80522
JAMES A ONEILL REVOCABLE TRUST                                           PO BOX 942                                                                             FORT COLLINS     CO      80522
JAMES A RANDOLPH                                                         18890 DEER RIDGE LN                                                                    STILLWATER       OK      74075-2078
JAMES A WEEDN REV TRUST                                                  8687 LONG SPUR TRAIL                                                                   EDMOND           OK      73034
                                                                                                                       9211 Lake Hefner
James Adam Hendricks                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
James Adam Hendricks                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
James Adam Hendricks                                                     13909 Canterbury Dr                                                                    Edmond           OK      73013
JAMES ADAMS                                                              1300 E BANNOCK ST                                                                      BOISE            ID      83712
JAMES ADAMS                                                              PO BOX 482                                                                             PAWNEE           OK      74058
JAMES ALAN LANPHERE AND MADALENE                                         PO BOX 1011                                                                            NORMAN           OK      73070


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              CreditorName                       CreditorNoticeName                         Address1                            Address2                  Address3            City     State       Zip      Country
JAMES ALBAUGH                                                                44 MUIRFIELD ST                                                                         ABILENE           TX      79606
JAMES ALBRIGHT                                                               203 NE 4TH ST                                                                           PEERKINS          OK      74059-3004
JAMES ALCOTT                                                                 101 PROMENADE AVE #208                                                                  WAYZATA           MN      55391
JAMES ALEXANDER                                                              3217 QUINCY ST                                                                          FORT SMITH        AR      72903-6436
JAMES ALLEE                                                                  302 S LORENA AVE                                                                        FARMINGTON        NM      87401
JAMES ALLEN                                                                  6825 S EUNICE HWY                                                                       HOBBS             NM      88240-9508
JAMES AND CATHERINE A GAUL JTWROS                                            365 SHELLBOURNE DR                                                                      ROCHESTER HILLS   MI      48309-1159
JAMES AND JOANN AUSTELL JTS                                                  1602 W 26TH AVE                                                                         STILLWATER        OK      74074
JAMES AND MARY KEPHART                                                       2567 N HILL FIELD RD TRLR 3                                                             LAYTON            UT      84041-4762
JAMES AND MARY PERKINS                                                       4926 W PURDUE AVE                                                                       DALLAS            TX      75209
JAMES AND MILDRED COLPITT                                                    402563 W 4000 RD                                                                        COLLINSVILLE      OK      74021-6310

JAMES AND SANDRA DAY TRUST DTD 12-18-93                                      8520 DAMON PLACE                                                                        OKLAHOMA CITY     OK      73159

JAMES AND SANDRA GRANT FAMILY TRUST                                          9703 EAST 6TH AVENUE                                                                    STILLWATER        OK      74074
JAMES AND SARAH EGLEBERRY JT                                                 4023 S HUSBAND ST                                                                       STILLWATER        OK      74074-7565
JAMES ANKROM                                                                 PO BOX 72                                                                               MARSHALL          OK      73056
JAMES ANTHONY STEPHENSON                                                     8066 PARK LANE APT 1108                                                                 DALLAS            TX      75231
JAMES APEL                                                                   PO BOX 59                                                                               MULHALL           OK      73063
JAMES AXTELL                                                                 7121 S RIPLEY RD                                                                        RIPLEY            OK      74062-6228
JAMES B LAW JR DBA                                                           PO BOX 20745                                                                            OKLAHOMA CITY     OK      73156
JAMES B MILL TRUST                                                           516 N COLLEGE ST                                                                        WAXAHACHIE        TX      75165
JAMES B O'NEILL II                                                           PO BOX 942                                                                              FORT COLLINS      CO      80522
JAMES BALDWIN                                                                4432 CHESAPEAKE ST NW                                                                   WASHINGTON        DC      20016
JAMES BARTMESS                                                               7514 PAR DR LOT 72                                                                      MISSION           TX      78752
JAMES BATTLE                                                                 309 E DUNN                                                                              RIPLEY            OK      74062-9704
JAMES BAUER                                                                  14202 S ROSE ROAD                                                                       PERKINS           OK      74059
JAMES BEALL                                                                  4804 OLD MIDDLETOWN RD                                                                  JEFFERSON         MD      21755
JAMES BEAVERS                                                                5049 MISTY GLEN CIR                                                                     OKLAHOMA CITY     OK      73142-5402
JAMES BELLER                                                                 16203 E 80TH ST                                                                         CUSHING           OK      74023-6077
JAMES BENNETT                                                                5402 STURBRIDGE                                                                         HOUSTON           TX      77056
JAMES BERTRAND                                                               5010 COUNTY ROAD 105 S                                                                  ALAMOSA           CO      81101-9792
James Binkley                             c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
James Binkley                             c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
James Binkley                             c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
James Binkley                                                                5051 County Road 6050                                                                   Ralston           OK      74650
JAMES BLACKBURN                                                              PO BOX 118                                                                              HALLETT           OK      74034
JAMES BLEVINS                                                                6300 SW 104TH                                                                           OKLAHOMA CITY     OK      73173-7300
JAMES BLUE                                                                   2760 W MARION AVE                                                                       PUNTA GORDA       FL      33950-5041
JAMES BOND                                                                   325 N SAINT PAUL ST STE 2520                                                            DALLAS            TX      75201-3853
JAMES BORMANN                                                                304 CONDOR AVE                                                                          MCALLEN           TX      78504-2719
JAMES BOUDREAU                                                               20328 MERLIN FALCON TRL                                                                 PFLUGERVILLE      TX      78660-3618
JAMES BOWLES                                                                 1910 WINTERWARM DR                                                                      FALLBROOK         CA      92028
JAMES BOYD                                                                   PO BOX 140237                                                                           BOISE             ID      83714-0237
JAMES BOYLES                                                                 2207 W MAIN ST                                                                          CUSHING           OK      74023
JAMES BRADFORD                                                               302 TANGLEWOOD DR                                                                       YUKON             OK      73099
JAMES BRADLEY                                                                7818 S WASHINGTON ST                                                                    STILLWATER        OK      74074-8203
JAMES BROOKSHIRE                                                             5315 S JELLISON                                                                         LITTLETON         CO      80123
JAMES BRYCE                                                                  123 CENTRAL AVE                                                                         WINTER GARDEN     FL      34787
                                                                                                                           9211 Lake Hefner
James Buehler                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                          c/o Laminack, Pirtle & Martines,
James Buehler                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
James Buehler                                                                5606 W. Yost Rd                                                                         Stillwater        OK      74075
JAMES BUSH                                                                   1406 CRESTRIDGE DR                                                                      OCEANSIDE         CA      92054
                                                                                                                           9211 Lake Hefner
James Butler                              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
James Butler                              c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles       CA      90017
JAMES BUTLER                                                                 4510 TULIP DRIVE                                                                        GRANBURY          TX      76049


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JAMES BUTLER                                                             906 MEADOWLARK LANE                                                                     GRANBURY          TX       76048
James Butler                                                             817 W Moses St                                                                          Cushing           OK       74023
JAMES C AXTELL & VESTA L AXTELL REV                                      7121 S RIPLEY RD                                                                        RIPLEY            OK       74062-6228
JAMES C BERRES JR                                                        4504 FORCE DRIVE                                                                        HUNTSVILLE        AL       35810
JAMES C HAMPTON & JANICE MILLIGAN                                        1604 DREXEL DR                                                                          IRVING            TX       75061
JAMES CAHN                                                               PO BOX 52005                                                                            NEW ORLEANS       LA       70152
JAMES CAMPBELL                                                           1776 W LAKEVIEW                                                                         STILLWATER        OK       74075
JAMES CAROLYN TABOR JT                                                   6004 CS 2580                                                                            HINTON            OK       73047
JAMES CARPENTER                                                          2701 WOODBRIDGE DR                                                                      SHAWNEE           OK       74804
JAMES CARPENTER                                                          560 GRANDVIEW DR N                                                                      TWIN FALLS        ID       83301
JAMES CARROLL                                                            336411 E 760 RD                                                                         TYRON             OK       74875
JAMES CASS                                                               8005 E LAKESHORE DR                                                                     PARKER            CO       80134
James Catlett                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX       75070
James Catlett                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK       74104
James Catlett                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY       10017
James Catlett                                                            11424 Shell Creek Rd                                                                    Sand Springs      OK       74063
JAMES CAVANAUGH                                                          19019 CAMPBELL ROAD                                                                     DALLAS            TX       75252
JAMES CHARLES                                                            714 SARAH STREET                                                                        GARDEN CITY       KS       67846
JAMES CHARLES                                                            2617 BROOKPOINTE CIRCLE                                                                 MANHATTAN         KS       66502
JAMES CHEARY                                                             9909 E BURKHART ST                                                                      GLENCOE           OK       74037
JAMES CHITTY                                                             6991 CHAMPS MILL CT                                                                     MANASSAS          VA       20112-3439
JAMES CLARK                                                              6565 NW 234TH ST                                                                        EDMOND            OK       73003
                                                                                                                       9211 Lake Hefner
James Clay Conrad                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
James Clay Conrad                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
James Clay Conrad                                                        7327 S. Sleepy Hollow Dr                                                                Tulsa             OK       74136
JAMES CLINGENPEEL                                                        116 RAMBLEWOOD RD                                                                       BARTLESVILLE      OK       74003-1626
JAMES CLINTON BARKER                                                     112 BON AIR CIR                                                                         JACKSON           TN       38305-4928
JAMES COATS                                                              3809 BROOKFIELD LANE                                                                    PUEBLO            CO       81005
JAMES COLE                                                               12 SW 99TH STREET                                                                       OKLAHOMA CITY     OK       73139-8905
JAMES CONSIDINE                                                          22 SALT SPRINGS RD                                                                      MONTROSE          PA       18801
JAMES COOK                                                               11523 PALMBROSH TRL                                                                     LAKEWOOD RANCH    FL       34202
JAMES COOLEY                                                             523 S DALLAS AVE                                                                        VAN ALSTYNE       TX       75495
JAMES COPELAND                                                           7087 ARROW DR                                                                           KINGSTON          OK       73439-4033
JAMES CORSTVET                                                           43489 ERNEST ARCENEAUX                                                                  GONZALES          LA       70737
JAMES CRISWELL                                                           418 N WILDWOOD ACRES CIR                                                                STILLWATER        OK       74075
JAMES CRONIN                                                             5008 W 3RD AVE                                                                          STILLWATER        OK       74074-6797
JAMES CULVER                                                             PO BOX 8085                                                                             TYLER             TX       75711-8085
JAMES CUNNING                                                            10488 SPRING HIGHLAND DR                                                                INDIANAPOLIS      IN       46290-1101
JAMES D & MARTHA M SISSONS H&W JT                                        12201 W HIGHWAY 33                                                                      COYLE             OK       73027-2312
JAMES D AND LORETTA LONGAN                                               20401 COUNTY ROAD 200                                                                   PERRY             OK       73071
JAMES D AND PAULA A GRIFFIN TRUST                                        4015 WILDRIDGE MEADOWS                                                                  BILLINGS          MT       59106

JAMES D ANDERSON AND POYON ANDERSON                                      4605 HALEY LN                                                                           STILLWATER        OK       74074
JAMES D COOPER                                                           616 N BRETHREN RD                                                                       CUSHING           OK       74023-6035
JAMES D HILL                                                             2663 N EL DORADO DRIVE                                                                  CHANDLER          AZ       85224
JAMES D MCDONALD II & ELIZABETH                                          112 BOBWHITE TRAIL                                                                      FREDERICKSBURG    TX       78624
JAMES D SHIRLEY FAMILY TRUST DATED                                       210 NEWTON LANE                                                                         ELK CITY          OK       73644
JAMES D. POTEET SR                                                       PO Box 214                                                                              AGRA              OK       74824
JAMES D. TOEWS REVOCABLE TRUST DTD                                       2701 Westwind                                                                           Enid              OK       73703
                                                                                                                       9211 Lake Hefner
James Dale Ponder                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
James Dale Ponder                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
James Dale Ponder                                                        1439 NW 33rd St                                                                         Oklahoma City     OK       73118
JAMES DAUGHERTY                                                          4008 N GRIMES ST                                                                        HOBBS             NM       88240-0903
JAMES DAUGHERTY                                                          4008 N GRIMES ST BOX 133                                                                HOBBS             NM       88240
JAMES DAVIS                                                              741 HESS DR                                                                             CHARLESTON        WV       25311-1707


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JAMES DAVIS                                                              11700 S 13TH ST                                                                        TONKAWA           OK      74653
JAMES DAWKINS                                                            1002 E RIO MESA TRAIL                                                                  COTTONWOOD        AZ      86326
JAMES DEMOSS                                                             10926 SW CELESTE LANEAPT 409                                                           PORTLAND          OR      97225
JAMES DESCHER                                                            506 N FIR ST                                                                           JENKS             OK      74037-0000
JAMES DEWAYNE & SEREITA COOPER JT                                        616 N. BRETHREN RD                                                                     CUSHING           OK      74023
JAMES DILLON                                                             8305 EAGLE POINT RD                                                                    PINETOP           AZ      85935
JAMES DOBBS                                                              17204 HAWKS RIDGE LANE                                                                 EDMOND            OK      73012
JAMES DOHERTY                                                            11113 YOUNGTREE CT                                                                     COLUMBIA          MD      21044-2715
JAMES DOTTER                                                             3700 LONGWOOD AVE                                                                      BOULDER           CO      80305
                                                                                                                       9211 Lake Hefner
James Douglas Stafford                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
James Douglas Stafford                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
James Douglas Stafford                                                   1605 Eagle Nest Dr                                                                     Norman            OK      73071
JAMES DRISKELL                                                           1957 BOXELDER TRL                                                                      RIDGEWAY          SC      29130-9267
                                                                                                                       9211 Lake Hefner
James Durley                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
James Durley                          c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA      90017
James Durley                                                             13825 Mason                                                                            Guthrie           OK      73044
JAMES DWIGHT HEGWOOD REV TR                                              63998 STOUSEE LN                                                                       SAINT IGNATIUS    MT      59865
JAMES DYER                                                               2404 COUNTRY RD 3155                                                                   COOKVILLE         TX      75558
JAMES E & BILLYE D SCARBROUGH LVG T                                      13913 STATE HWY 128                                                                    HEAVENER          OK      74937
JAMES E & JANET E BOWEN 2013                                             7109 NW 43RD ST                                                                        BETHANY           OK      73008
JAMES E DICKSON JR                                                       2560 W LONG CIRCLE                                                                     LITTLETON         CO      80120
JAMES E FAVELL JR                                                        PO BOX 685                                                                             MORGANTON         NC      28680-0685
JAMES E HILL                                                             21473 NEOSHO DRIVE                                                                     LEBANON           MO      65536

JAMES E HUGHES & SHARON HUGHES HWJT                                      332931 E 1060 RD                                                                       MCCLOUD           OK      74851
JAMES E LANGTON & JEANNETTE                                              2717 WILDWOOD                                                                          ENID              OK      73703
JAMES E ROBISON                                                          26539 N SOONER RD                                                                      ORLANDO           OK      73073-4532
JAMES E RUHL                                                             4804 LAKE FRONT DR                                                                     NORMAN            OK      73072
JAMES E WALTON TRUST                                                     25328 VILLAGE 25                                                                       CAMARILLO         CA      93012
JAMES E WILLIAMS REVOC TR OF 2005                                        24100 CR 220                                                                           MORRISON          OK      73061
                                                                                                                       9211 Lake Hefner
James E. Doss                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
James E. Doss                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
James E. Doss                                                            6600 E Forrest Hills Rd                                                                Guthrie           OK      73034
                                                                                                                       9211 Lake Hefner
James E. Horn                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
James E. Horn                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
James E. Horn                                                            620 Chautauqua Ave                                                                     Norman            OK      73069
JAMES EDMONSON                                                           438 HAND COURT                                                                         HAMPSTEAD         MD      21074
JAMES ELLIS                                                              1802 CLARK DR                                                                          GUTHRIE           OK      73044
JAMES ELMER & JEANNE B LONGAN                                            10201 N 14TH ST                                                                        LINCOLN           NE      68531-8908
JAMES F EPPLER TRUST                                                     5055 HORNITOS ROAD                                                                     CATHY'S VALLEY    CA      95306

JAMES F GALLAWAY TESTAMENTARY TRUST                                      921 WALNUT CT                                                                          GUTHRIE           OK      73044
JAMES F. COTTER LAKEPOINTE TOWERS                                        PO BOX 100145                                                                          SAN ANTONIO       TX      78201-1445
JAMES FAGAN                                                              3922 W COUNTY RD 68                                                                    GUTHRIE           OK      73044
JAMES FANNING                                                            4677 S LEWISTON WAY                                                                    AURORA            CO      80015
JAMES FERGUS                                                             1142 REDFIELDS RD                                                                      CHARLOTTESVILLE   VA      22903
JAMES FIDLER                                                             11105 ROCK RIDGE RD                                                                    OKLAHOMA CITY     OK      73120-5720
JAMES FIELDS AND ASSOCIATES INC                                          812 SE 84TH ST                                                                         OKLAHOMA CITY     OK      73149-3045
JAMES FIRESTONE                                                          2520 COMMERCIAL ST                                                                     BROKEN ARROW      OK      74012
JAMES FISK JAMES LEE FISK JR                                             11 BROWN ST                                                                            KENNEBUNK         ME      04043-7236
JAMES FORESTER                                                           33535 MALIN LOOP RD                                                                    MALIN             OR      97632
JAMES FORSMAN                                                            665 STONEWALL JACKSON DRIVE                                                            CONROE            TX      77302


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JAMES FOSTER                                                             245 S PRICE ST                                                                         DECATUR         IL       62522-1150
JAMES FRANCIS                                                            PO BOX 149                                                                             HUNTSVILLE      TX       77342-0149
JAMES FRANCIS                                                            537 EAST JUNIPER DRIVE                                                                 PRESCOTT        AZ       86303
JAMES FRANK                                                              7211 S SANGRE RD                                                                       STILLWATER      OK       74074
JAMES FRANZOY                                                            PO BOX 217                                                                             HATCH           NM       87937
JAMES FREEMAN                                                            5712 OAK TREE RD                                                                       EDMOND          OK       73025
JAMES FRENCH                                                             10304 LEYMON CT                                                                        ALBUQUERQUE     NM       87114-4643
JAMES FUQUA                                                              683 LAZY U RANCH RD                                                                    QUANAH          TX       79252-8076
JAMES G FRANKEL                                                          7800 WASHINGTON AVE SUITE 200                                                          HOUSTON         TX       77007
JAMES GALLAGHER                                                          53 GRANTWOOD LANE                                                                      ST LOUIS        MO       63123
JAMES GARDNER                                                            32639 S 4420 RD                                                                        VINITA          OK       74301-7840
JAMES GARDNER                                                            11023 TAYLOR CT                                                                        WICHITA         KS       67212
JAMES GARRETT                                                            30 DEWEY                                                                               IRVINE          CA       92620-3333
JAMES GATLIN                                                             PO BOX 447                                                                             MEEKER          OK       74855-0447
JAMES GELDER                                                             8746 JACKIE DR                                                                         SAN DIEGO       CA       92119-1417
JAMES GILLESPIE                                                          3616 E PALM LN                                                                         PHOENIX         AZ       85008
JAMES GILLESPIE                                                          1121 W WARNER RD STE 109                                                               TEMPE           AZ       85284
JAMES GLASGOW                                                            1410 GRAY FOX DR                                                                       NORTH CANTON    OH       44720
JAMES GLEN & JONI L                                                      3901 TIMBERLINE DRIVE                                                                  STILLWATER      OK       74074
JAMES GOAD                                                               500 W 1ST AVE                                                                          STILLWATER      OK       74074
JAMES GOODWIN                                                            6355 HOLLYWOOD BLVD                                                                    LOS ANGELES     CA       90028
JAMES GOTTSCHALK                                                         23300 CR 140                                                                           PERRY           OK       73077
JAMES GRAVES                                                             5546 FARM HOUSE LN                                                                     OAKWOOD         GA       30566-3001
JAMES GRAY                                                               8588 OSTROM WAY                                                                        WEEKI WACHEE    FL       34613-4438
JAMES GREER                                                              1155 OAKHURST DRIVE                                                                    BROOMFIELD      CO       80020
JAMES GREINER                                                            PO BOX 35                                                                              STILLWATER      OK       74076-0035
JAMES GRIFFITH                                                           PO BOX 1747                                                                            STILLWATER      OK       74076-1747
JAMES H JONES TRUST                                                      7122 S SHERIDAN ST BOX 604                                                             TULSA           OK       74135
                                                                                                                       9211 Lake Hefner
James H Lee                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
James H Lee                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
James H Lee                                                              16321 E 6th St                                                                         Yale            OK       74085
                                                                                                                       9211 Lake Hefner
James H. Conlin                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
James H. Conlin                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
James H. Conlin                                                          5300 Southbend Rd                                                                      Edmond          OK       73034
JAMES HAM                                                                1616 DREXEL DR                                                                         IRVING          TX       75061-7919
JAMES HAMMACK                                                            1520 WEST 68TH STREET                                                                  STILLWATER      OK       74074
                                                                                                                       9211 Lake Hefner
James Hanley                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120

James Hanley                          c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
James Hanley                                                             1805 Dena Dr                                                                           Edmond          OK       73003
JAMES HAROLD LEWIS                                                       1711 WOODLAND ROAD                                                                     SUPULPA         OK       74066
JAMES HARRIS ROONEY TRUST                                                PO BOX 54829                                                                           OKLAHOMA CITY   OK       73154
JAMES HASKIN                                                             740795 S 3530 RD                                                                       CUSHING         OK       74023-5376
JAMES HATTON                                                             8426 TIBET BUTLER DR                                                                   WINDERMERE      FL       34786
JAMES HAYNE                                                              124 PASEO ENCINAL ST                                                                   SAN ANTONIO     TX       78212
JAMES HENNEKE                                                            10323 CHERRYVALE ST                                                                    FIRESTONE       CO       80504
JAMES HENRY                                                              7228 TREYMORE COURT                                                                    SARASOTA        FL       34243
JAMES HERRING                                                            770389 S 3420 RD                                                                       AGRA            OK       74824-8465
JAMES HICKS                                                              8827 GRAND LAKE ESTATES DR                                                             MONTGOMERY      TX       77316-5410
JAMES HILAND                                                             5965 HWY 92 WEST                                                                       BEE BRANCH      AR       72013
JAMES HITZELBERGER 2012 LEGACY TRUS                                      3837 COLGATE AVENUE                                                                    DALLAS          TX       75225
JAMES HOOVER                                                             3005 GLEGHORN STREET                                                                   WEST PLAINS     MO       65775
JAMES HOSTUTLER                                                          2201 FALLING SPRINGS LN                                                                YUKON           OK       73099-5762
JAMES HOWARD MARTINDALE                                                  2111 BEECHWOOD STREET                                                                  LITTLE ROCK     AR       72207


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JAMES HOY                                                                1711 SONOMA ST                                                                          CARSON CITY     NV       89701
JAMES HUDSPETH                                                           945 CLARKSON ST                                                                         DENVER          CO       80218
JAMES HUDSPETH                                                           6208 JACKSON HWY                                                                        W LAFAYETTE     IN       47906
JAMES HULL                                                               883 INDIAN RIVER DRIVE                                                                  COCOA           FL       32922
JAMES HUMBLE                                                             1208 SAN PEDRO DR NE PMB 169                                                            ALBUQUERQUE     NM       87110-6726
JAMES HUNT                                                               PO Box 381                                                                              RIPLEY          OK       74062-0381
JAMES HUXTABLE DECD                                                      4945 STIRRUP RD SE                                                                      DEMING          NM       88030
JAMES JANTZ                                                              510 RIDGEWOOD                                                                           ENID            OK       73701
JAMES JOHNS                                                              PO BOX 57556                                                                            OKLAHOMA CITY   OK       73157
JAMES JOHNSTON                                                           902 GREYSTONE ST                                                                        STILLWATER      OK       74074-1216
JAMES JONES                                                              2806 WILDWOOD PL                                                                        DUNCAN          OK       73533
JAMES JONES                                                              1681 COUNTY ROAD 1630                                                                   ROFF            OK       74865
JAMES JUBAL E AND STEPHANIE ANN HOO                                      1216 KATY COURT                                                                         STILLWATER      OK       74075
JAMES K & JERE L BILODEAU TRUST                                          2820 S WASHINGTON ST                                                                    STILLWATER      OK       74074-6929
JAMES KEFFER                                                             1105 S SEAMAN                                                                           EASTLAND        TX       76448
JAMES KEPHART                                                            2567 N HILL FIELD RD TRLR 3                                                             LAYTON          UT       84041-4762
JAMES KERRIGAN                                                           3832 NW 69TH TERRACE                                                                    OKLAHOMA CITY   OK       73116
JAMES KINDER                                                             810384 S 3380 RD                                                                        CARNEY          OK       74832-4825
JAMES KNITTLE                                                            680 BROWN GABLES RD                                                                     AUBURN          CA       95603
JAMES KOELSCH                                                            5 BRENTWOOD DR                                                                          STILLWATER      OK       74075
JAMES L & MARYANNA MARTIN REV TR                                         923 ROSEBRIER COURT                                                                     GUTHRIE         OK       73044
JAMES L HAMPTON JR AND VICKI L. HAM                                      PO BOX 72                                                                               TRYON           OK       74875
JAMES L LITTLE                                                           2233 CHANNING ST                                                                        WEST COVINA     CA       91790
JAMES L MALLATT                                                          3133 AARON DR                                                                           ROCKLIN         CA       95765
JAMES L PARKS LLC                                                        PO BOX 1669                                                                             GIG HARBOR      WA       98335

JAMES L POE & GOUCHING POE                                               5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX       75070
JAMES L STRECK                                                           PO BOX 45                                                                               MARSHALL        OK       73056
                                                                                                                       9211 Lake Hefner
James L. Clark                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120

James L. Clark                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
James L. Clark                                                           4001 E. 30th St                                                                         Edmond          OK       73013
                                                                                                                       9211 Lake Hefner
James L. Roe                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
James L. Roe                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
James L. Roe                                                             1200 S Kings Hwy                                                                        Cushing         OK       74023
                                                                                                                       9211 Lake Hefner
James L. Pendley Sr.                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
James L. Pendley Sr.                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
James L. Pendley Sr.                                                     101 Eldorado Dr                                                                         Norman          OK       73026
JAMES LAMBERT                                                            20419 HIGHWAY 99                                                                        MEDIAPOLIS      IA       52637
JAMES LAWSON                                                             9305 BEDFORD DRIVE                                                                      ODESSA          TX       79764
JAMES LEE                                                                2600 STONE HILL DR                                                                      LAWTON          OK       73505
JAMES LEE HERRON                                                         2315 LITTLE RD 109                                                                      ARLINGTON       TX       76016
JAMES LEO GRAVES                                                         8220 W 92ND                                                                             COYLE           OK       73027
JAMES LESTER HINER                                                       PO BOX 361                                                                              PERKINS         OK       74059-0361
JAMES LEWIS                                                              5520 W MACARTHUR RD                                                                     WICHITA         KS       67215-1328
JAMES LIEBHART                                                           10404 QUO VADIS DR                                                                      ARCADIA         OK       73007
JAMES LIONEL COLAIZZI                                                    322 WRIGHT STREET UNIT 103                                                              LAKEWOOD        CO       80228
James Locut                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX       75070
James Locut                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK       74104
James Locut                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY       10017
James Locut                                                              527 West Woodlake Dr                                                                    Sand Springs    OK       74063
JAMES LOGSDON                                                            PO BOX 1228                                                                             NORMAN          OK       73070
JAMES LONGAN                                                             PO BOX 31                                                                               MULHALL         OK       73063
JAMES LONGAN                                                             20401 COUNTY ROAD 200                                                                   PERRY           OK       73077-8526


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JAMES LUTHER DUNBAR                                                23409 W 151ST ST                                                                   KELLYVILLE       OK    74039

JAMES LYNN FRANKS ATTORNEY AT LAW P                                227 E GRAY ST                                                                      NORMAN           OK    73069-7205
James Lynn Franks Attorney at Law, PC   c/o Crowe & Dunlevy        Attn: Tim Gallegly                            324 N. Robinson      Ste. 100        Oklahoma City    OK    73102
James Lynn Franks Attorney at Law, PC                              227 E. Gray St.                                                                    Norman           OK    73069

JAMES M & TWYLIA I WARLICK FAM TR                                  5900 SOUTH LAKE FOREST DR STE 300                                                  MCKINNEY         TX    75070
JAMES M & VICTORIA V SPRINGER                                      13951 EASTRIDGE DRIVE                                                              WHITTIER         CA    90602

JAMES M FLOYD                                                      5900 SOUTH LAKE FOREST DR STE 300                                                  MCKINNEY         TX    75070

JAMES M ODOR 1993 REV TR                                           14100 PARKWAY COMMONS DR STE 200                                                   OKLAHOMA CITY    OK    73134
JAMES M PERKINS JR                                                 4516 LOVERS LANE PMB244                                                            DALLAS           TX    75225
JAMES M SPRINGER III                                               13951 EASTRIDGE DRIVE                                                              WHITTIER         CA    90602
JAMES M SPRINGER JR & ELVONA M                                     PO BOX 427                                                                         STILLWATER       OK    74074
JAMES MANN                                                         115 SANDPIPER CV                                                                   GEORGETOWN       TX    78633
JAMES MARTIN & REBECCA CALDWELL                                    PO BOX 301                                                                         BLAINE           TN    37709-0301
JAMES MARTIN CALDWELL                                              PO BOX 301                                                                         BLAINE           TN    37709-0301
JAMES MATHEW TAYLOR                                                2417 SW 118TH STREET                                                               OKLAHOMA CITY    OK    73170
JAMES MCCANN                                                       780 E BRITTON RD                                                                   OKLAHOMA CITY    OK    73114
JAMES MCGUIRE                                                      121 W ADAMS                                                                        CRESCENT         OK    73028
JAMES MCKENNY                                                      PO BOX 20088                                                                       OKLAHOMA CITY    OK    73156
JAMES MCMAHON                                                      2409 17TH ST                                                                       PLANO            TX    74074
JAMES MCMILLEN                                                     3705 SW 94TH WAY                                                                   GAINESVILLE      FL    32608
JAMES MCPHERSON                                                    2221 MICHAEL ROAD                                                                  MUSKOGEE         OK    74403
JAMES MICHAEL COPELAND                                             PO BOX 211434                                                                      ANCHORAGE        AK    99521
JAMES MICHAEL STOUT                                                PO BOX 38                                                                          MARSHALL         OK    73056-0038

JAMES MILES & LINDA MILES JTWROS                                   5900 SOUTH LAKE FOREST DR STE 300                                                  MCKINNEY         TX    75070
JAMES MOORE                                                        2500 FOUR LAKES DR                                                                 BLANCHARD        OK    73010
JAMES MORRIS                                                       6011 MURIEL DR                                                                     GLENDALE         AZ    85308
                                                                                                                 9211 Lake Hefner
James Myers                             c/o Atkins & Markoff       Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104        Oklahoma City    OK    73120
James Myers                             c/o Girardi Keese          Attn: Thomas V. Girardi                       1126 Wilshire Blvd                   Los Angeles      CA    90017
James Myers                                                        2505 N Battleridge                                                                 Cushing OK       OK    74023
JAMES NEALY                                                        2521 SANDCREEK RD                                                                  GRANTS PASS      OR    97527
JAMES NELSON                                                       722 WILSHIRE BLVD                                                                  LAS VEGAS        NV    89110
JAMES NELSON                                                       14 HILLCREST                                                                       PERRY            OK    73077
JAMES NIEMEYER                                                     598 SUNDANCE PLACE                                                                 CASTLE PINES     CO    80108
JAMES ONEILL                                                       12193 COUNTY ROAD FF75                                                             LAS ANIMAS       CO    81054

JAMES ORCHARD AND WILMA G ORCHARD H                                19963 W HWY 66                                                                     KELLYVILLE       OK    74039-4214
JAMES OWENS                                                        2701 NW 59TH ST                                                                    OKLAHOMA CITY    OK    73112
JAMES OWENS                                                        6608 N WESTERN PMB 176                                                             OKLAHOMA CITY    OK    73116
JAMES P FLYNN FAMILY TR                                            PO BOX 3627                                                                        TULSA            OK    74101-3627
JAMES P LANGIN                                                     36 RED FOX LANE                                                                    KEARNEY          NE    68845
JAMES P RIGGS LIVING TRUST                                         PO BOX 33                                                                          FREDERICKSBURG   TX    78624
JAMES PARKS                                                        1402 E BROAD STR                                                                   MANSFIELD        TX    76063
JAMES PARTIN                                                       3104 TIMBERLAKE DR                                                                 STILLWATER       OK    74075
JAMES PATRICK EDMISTON                                             1202 WILLIS POINT DR                                                               ALLEN            TX    75013
JAMES PAUL PFREHM                                                  409 C ST                                                                           SEMINOLE         OK    74868
JAMES PAYNE                                                        917 EGAN ST                                                                        DENTON           TX    76207
JAMES PENNEY                                                       1031 ENDERBY WAY                                                                   SUNNYVALE        CA    94087
JAMES PERRY                                                        1605 FAIRWAY DR                                                                    PERKINS          OK    74059-4442
JAMES PETTY                                                        12222 136TH AVE E                                                                  PUYALLUP         WA    98374
JAMES PFEIFFER                                                     2002 COPPERFIELD                                                                   STILLWATER       OK    74074-2383
JAMES PHELPS                                                       12126 FLAXEN DR                                                                    HOUSTON          TX    77065-4427
                                                                                                                 9211 Lake Hefner
James Pike                              c/o Atkins & Markoff       Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104        Oklahoma City    OK    73120


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James Pike                            c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA       90017
James Pike                                                               345622 E 744 Rd                                                                        Cushing           OK       74023
JAMES PILAND                                                             3341 E 76th ST N                                                                       SPERRY            OK       74403
JAMES PIO                                                                PO BOX 961                                                                             BENSON            AZ       85602
JAMES POFF                                                               31854 ROAD R                                                                           MANCOS            CO       81328
JAMES POLLARD                                                            4348 GREENWOOD RD                                                                      WEATHERFORD       TX       76088
JAMES POLLOCK                                                            609 CENTRAL RD                                                                         NEW LENOX         IL       60451-3317
JAMES POTEET                                                             28 GOLF VILLA DR                                                                       PORT ORANGE       FL       32128
JAMES PRALLE                                                             34613 250TH ST                                                                         BATTLE LAKE       MN       56515
JAMES PRATT                                                              23625 N CR 3250                                                                        PAULS VALLEY      OK       73075
JAMES PRICE                                                              5821 N BEAMAN AVE                                                                      KANSAS CITY       MO       64151
JAMES PUCKETTE                                                           4020 YORKSHIRE DR                                                                      STILLWATER        OK       74074-1636
JAMES R & DOROTHY M ARMSTRONG LT                                         1401 CEDAR LN                                                                          NORMAN            OK       73072
JAMES R & TRACIE J BROWN JTS                                             3815 W EAGLE CREEK AVE                                                                 STILLWATER        OK       74074-7637
JAMES R BEERY                                                            107 PATRIOT PL                                                                         SUMMERVILLE       SC       29485
JAMES R COE                                                              301 SE 97TH ST                                                                         OKLAHOMA CITY     OK       73160
JAMES R COLEMAN LE                                                       4822 N LORRAINE                                                                        HUTCHINSON        KS       67502
JAMES R CUMMINGS                                                         703 STONECROFT CIR                                                                     EDMOND            OK       73034-7261

JAMES R DEANGELO                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX       75070
JAMES R EAGLETON ESTATE                                                  3800 WEST 71ST ST, APT #2019                                                           TULSA             OK       74132
JAMES R FIRESTONE FAMILY TRUST                                           6800 SOUTH GRANITE AVE APT 220                                                         TULSA             OK       74136
JAMES R FLORNEY JR                                                       2326 RIDGE PLAZA DRIVE                                                                 CASTLE ROCK       CO       80108
JAMES R HARRIS REV TRUST                                                 1205 MARLBORO LN                                                                       OKLAHOMA CITY     OK       73116
JAMES R HILL FAMILY LIMITED PARTNER                                      500 WEST 7TH STREET STE 1802                                                           FORT WORTH        TX       76102-1617
JAMES R LETCHWORTH TRUST                                                 7131 THRUSH VIEW LN                                                                    SAN ANTONIO       TX       78209
JAMES R SHINER REVOCABLE TRUST                                           230 W LAUREL ST UNIT 606                                                               SAN DIEGO         CA       92101-1466
JAMES R THOMPSON                                                         1335 BROWN STREET, APT B                                                               ANDERSON          IN       46016
JAMES R. LIBHART                                                         1612 BELLECHASE DRIVE                                                                  KELLER            TX       73703
                                                                                                                       9211 Lake Hefner
James R. Golden                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
James R. Golden                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
James R. Golden                                                          6605 Lyrewood Ct                                                                       Oklahoma City     OK       73132
                                                                                                                       9211 Lake Hefner
James R. Montgomery III               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
James R. Montgomery III               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
James R. Montgomery III                                                  1250 Adams Dr                                                                          Guthrie           OK       73034
                                                                                                                       9211 Lake Hefner
James R. Whitmer                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
James R. Whitmer                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
James R. Whitmer                                                         2521 NW 114 Terr                                                                       Oklahoma City     OK       73120
JAMES RADFORD BIBB ESTATE                                                PO BOX 2642                                                                            LAS VEGAS         NM       87701
JAMES RAINS                                                              611 OAK AVE                                                                            DUMAS             TX       79029-2510

JAMES RALEIGH BAILES                                                     5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX       75070
JAMES RAY                                                                PO BOX 131                                                                             OKAY              OK       74446
JAMES REED                                                               23809 N 35TH DR                                                                        GLENDALE          AZ       85310-4169
JAMES REED                                                               3758 GEORGETOWN STREET                                                                 HOUSTON           TX       77005
JAMES RENBARGER                                                          PO BOX 891565                                                                          OKLAHOMA CITY     OK       73189-1565
                                                                                                                       9211 Lake Hefner
James Rich                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
James Rich                            c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA       90017
James Rich                                                               1026 E Moses                                                                           Cushing           OK       74023
JAMES RITCHEY                                                            13 PRESTON CIR                                                                         STILLWATER        OK       74074
JAMES ROBERT ARMSTRONG & DOROTHY                                         1401 CEDAR LN                                                                          NORMAN            OK       73072
JAMES ROBERT DE VAUL JR                                                  408 CAMELOT DR                                                                         LIBERTY           MO       64068


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JAMES ROBERT WALLACE                                                 15520 N. PEORIA AVE.                                                                    SKIATOOK         OK      74070
JAMES ROBERT WALTON                                                  PO BOX 787                                                                              SHATTUCK         OK      73858
JAMES ROBERTSON                                                      13408 BINGLEWOOD AVE                                                                    SEMINOLE         FL      33776
JAMES ROBINSON                                                       10 E LEE ST APT 2705                                                                    BALTIMORE        MD      21202-6010
JAMES ROBINSON                                                       20894 RANGER ROAD                                                                       FORT GIBSON      OK      74434
JAMES ROBISON                                                        7801 W 9TH ST                                                                           RIPLEY           OK      74062-6391
JAMES RODENBER DECEASED                                              210 N PINE ST                                                                           NORBORNE         MO      64668
JAMES RODENBERG                                                      7809 TWILIGHT PL                                                                        PARKVILLE        MO      64152
JAMES RODGERS                                                        1046 E GREENLEE ST                                                                      CUSHING          OK      74023-2310

JAMES ROH                                                            5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX      75070
JAMES RONALD JOHNSON                                                 2733 SPRUCE DR                                                                          FRUITLAND        ID      83619
JAMES RYAN                                                           4009 WESTBROOK DR                                                                       STILLWATER       OK      74074
JAMES S HAAHR REV TRUST                                              216 CASINO RD                                                                           STORM LAKE       IA      50588
JAMES S PIERCE EXECUTOR                                              10 CHESTNUT ST                                                                          FRANKINVILLE     NY      14737
JAMES SAFFORES                                                       405 W MACAURTHUR ST APT 140                                                             SONOMA           CA      95476
JAMES SANDRA RICHARDSON HUSBAND                                      2500 NW GRAND BLVD                                                                      OKLAHOMA CITY    OK      73116
JAMES SCHEIHING                                                      3924 W UNIVERSITY                                                                       GUTHRIE          OK      73044
JAMES SEABOCH                                                        10 CLINTON RD                                                                           GLEN RIDGE       NJ      07028
JAMES SERIGNESE                                                      15 EDGEWOOD AVE                                                                         PORT JEFFERSON   NY      11777
JAMES SHARP                                                          3366 RIDGEMAR DR                                                                        SAN ANGELO       TX      76903
JAMES SHELTON                                                        5800 S ROCKWELL ST                                                                      OKLAHOMA CITY    OK      73179-6634
                                                                                                                   9211 Lake Hefner
James Shiel                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
James Shiel                       c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles      CA      90017
James Shiel                                                          6701 Marie Lane                                                                         Guthrie          OK      73044
JAMES SHOEMAKER                                                      4621 MOURNING DOVE LAND                                                                 WICHITA FALLS    TX      76305
James Shook                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
James Shook                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
James Shook                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
James Shook                                                          56548 S. 37010 Rd                                                                       Terlton          OK      74081
JAMES SHORT AND PAULA SUE SHORT                                      1122 SOUTH EQUINE RD                                                                    STILLWATER       OK      74074
JAMES SHULL                                                          PO BOX 97                                                                               OKTAHA           OK      74450-0097
JAMES SIGMON                                                         14 CHAMPIONS WAY                                                                        SAN ANTONIO      TX      78258
JAMES SIMMONS                                                        1893 CANDELA                                                                            SANTA FE         NM      87505
JAMES SISTERS LLC                                                    100WEST 5TH STREET SUITE 900                                                            TULSA            OK      74103
JAMES SMAJDEK                                                        207 RAMONA ST                                                                           SMITHVILLE       TX      78957
                                                                                                                   9211 Lake Hefner
James Smith                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                  c/o Laminack, Pirtle & Martines,
James Smith                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
JAMES SMITH                                                          11116 W LOUISVILLE ST                                                                   BROKEN ARROW     OK      74012-8431
JAMES SMITH                                                          607 WAKEFIELD                                                                           PERRY            OK      73077
James Smith                                                          335 E. Woodrow St                                                                       Tulsa            OK      74106
JAMES SOLDANI                                                        PO BOX 267                                                                              POINT ARENA      CA      95468
JAMES SOLICK                                                         6400 N WESTERN                                                                          STILLWATER       OK      74075
JAMES SPANGLER                                                       9704 BRIARCREEK DR                                                                      OKLAHOMA CITY    OK      73162-7418
JAMES SPEER                                                          6525 N 3RD ST                                                                           PHOENIX          AZ      85012-1138
JAMES SPICER                                                         PO BOX 2357                                                                             HENDERSONVILLE   NC      28793-2357
JAMES SPRAYING LLC                                                   28630 E 760 RD                                                                          CRESCENT         OK      73028
JAMES STANLEY                                                        12 WESTON RD                                                                            SHAWNEE          OK      74804
JAMES STARK                                                          123 S EDNA DR                                                                           STILLWATER       OK      74075
JAMES STEICHEN                                                       3007 TOMAHAWK CIR                                                                       MANHATTAN        KS      66502
JAMES STEIGER                                                        4540 JUNO WAY                                                                           SACRAMENTO       CA      95864
                                                                                                                   9211 Lake Hefner
James Steven Braine               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                  c/o Laminack, Pirtle & Martines,
James Steven Braine               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
James Steven Braine                                                  2905 Meadow Lane                                                                        Edmond           OK      73013


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JAMES STEWART                                                            1336 S 11TH ST                                                                          KINGFISHER       OK      73750
JAMES STEWART                                                            12374 S DUNRAVEN ST                                                                     OLATHE           KS      66061
JAMES STEWART                                                            6517 S CEDARDALE AVE                                                                    DERBY            KS      67037
JAMES STRIEGEL                                                           213 E WELLS BLVD                                                                        SAPULPA          OK      74066-6439
JAMES SULLIVAN                                                           1252 N RIO VISTA BLVD                                                                   FT LAUDERDALE    FL      33301
JAMES SUMNER                                                             40 LANGDON DRIVE                                                                        PALM COAST       FL      32137
JAMES T BRAY                                                             2472 NW 39TH TER                                                                        OKLAHOMA CITY    OK      73112
JAMES T HUXTABLE III                                                     6455 CORMORANT CIRCLE                                                                   ROCKLIN          CA      95765-5804

JAMES T PAYTON                                                           5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX      75070
                                                                                                                       9211 Lake Hefner
James T. Woolly Jr.                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
James T. Woolly Jr.                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
James T. Woolly Jr.                                                      1809 Overholser Dr                                                                      Choctaw          OK      73020
JAMES TAYLOR                                                             1132 N BROADWAY DRIVE                                                                   OKLAHOMA CITY    OK      73103
JAMES TERRACIO                                                           15811 FLEETWOOD OAKS                                                                    HOUSTON          TX      77079
JAMES THOMAS                                                             100 S SCHILLER                                                                          LITTLE ROCK      AR      72205
JAMES THOMPSON                                                           24 ALDEN DT                                                                             PALMER           MA      01069
JAMES THOMPSON                                                           2010 N WILDWOOD DR                                                                      STILLWATER       OK      74075
JAMES TISDAL                                                             PO BOX 1387                                                                             CLINTON          OK      73601
JAMES TOY                                                                809 ALLEGHANEY ST                                                                       BURLINGTON       KS      66839
JAMES TRAVIS MOORE                                                       6197 VALLEY ROAD                                                                        SKIATOOK         OK      74070
JAMES TROWER                                                             4969 STILLHOUSE LAKE RD                                                                 HARKER HEIGHTS   TX      76548
JAMES TULLY                                                              RR 1 BOX 105                                                                            DELAWARE         OK      74027-9747
JAMES V & KAREN DIANE SEIFERT FAMIL                                      403 SHELDON LAKE DR                                                                     GEORGETOWN       TX      78633
JAMES V CROWLEY DBA                                                      PO BOX 18191                                                                            OKLAHOMA CITY    OK      73154-8191

JAMES VARABLE AND LOIS D VARABLE HW                                      205 E DOLAN                                                                             RIPLEY           OK      74062-2001
James Vogt                            c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
James Vogt                            c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
James Vogt                            c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
James Vogt                                                               1701 S. Harmony Rd                                                                      Cushing          OK      74023
JAMES VOIGT                                                              1309 N 25TH ST                                                                          ST JOSEPH        MO      64506
JAMES W CALDWELL FAMILY TR                                               4624 N EVERGREEN                                                                        STILLWATER       OK      74074
JAMES W ELDRIDGE                                                         5864 DRY OAK DR                                                                         SAN JOSE         CA      95120
JAMES W ONEILL                                                           310 SOMBRERO CIR                                                                        ENID             OK      73703
JAMES W SMITH TRUSTEE                                                    PO BOX 1001                                                                             HINTON           OK      73047-1001
JAMES W VANATTA AND JANIS F VANATTA                                      319 S SCHMIDT AVE PO BOX 842                                                            MOUNDRIDGE       KS      67107
JAMES W WESTFALL 1993 REV TRUST                                          2610 S BIRMINGHAM PL                                                                    TULSA            OK      74114

JAMES WALTER DUNCAN IV REVOCABLE                                         100 PARK AVENUE BUILDING SUITE 1200                                                     OKLAHOMA CITY    OK      73102
JAMES WASSON                                                             21508 FM 16 W                                                                           LINDALE          TX      75771
JAMES WATTS                                                              PO BOX 591382                                                                           HOUSTON          TX      77259-1382
JAMES WATTS                                                              6515 E 116TH                                                                            PERKINS          OK      74059
JAMES WEBB                                                               622 W WALL #E105                                                                        LOS ANGELES      CA      90014
JAMES WEBB                                                               1829 SE 2ND                                                                             MOORE            OK      73160
JAMES WEHE AND DAISY WEHE                                                9730 MAPLEHILL DR                                                                       DALLAS           TX      75238-2606
JAMES WELCH                                                              PO BOX 1017                                                                             KETCHUM          OK      74349
JAMES WELLS                                                              7401 S PRAIRIE RD                                                                       STILLWATER       OK      74074-8418
JAMES WESTFAHL                                                           PO BOX 365                                                                              CANTON           OK      73724-0365
JAMES WHITE                                                              PO BOX 135                                                                              MULHALL          OK      73063
JAMES WHITNEY                                                            915 W GRAND AVE                                                                         CARTERVILLE      IL      62918-2106
JAMES WHITTEN                                                            2303 E 56TH ST                                                                          STILLWATER       OK      74074
JAMES WILLIAMS                                                           9605 S MERIDIAN RD                                                                      COYLE            OK      73027-2202
JAMES WILLIAMS                                                           575 CONNOR CT                                                                           LAKE MILLS       WI      53551
JAMES WILLMAN                                                            10021 MAJORCA DR                                                                        AUSTIN           TX      78717
JAMES WILLMS                                                             PO BOX 195                                                                              KINGFISHER       OK      73750-0195



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                                                                                                                       9211 Lake Hefner
James Wilson                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
James Wilson                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
JAMES WILSON                                                             3616 GREENBRIER DR                                                                     FRISCO             TX      75033-2864
James Wilson                                                             1318 N Cleveland                                                                       Cushing            OK      74023
JAMES WM ALLISON FAMILY TRUST                                            13021 BURLINGAME AVENUE                                                                OKLAHOMA CITY      OK      73120

JAMES WM DOWNEY & DORTHY DOWNEY TR                                       13807 LILLAR LN                                                                        FARMERS BRANCH     TX      75234
JAMES WOLF                                                               206 N ELM ST                                                                           CRESCENT           OK      73028
JAMES WOODS                                                              2608 W 49TH 1/2 ST                                                                     AUSTIN             TX      78731

JAMES WYATT SNOW REVOCABLE TR DTD 2                                      3717 S ASTER AVE                                                                       BROKEN ARROW       OK      74011-1276
JAMES YOCHAM                                                             PO BOX 27                                                                              MARSHALL           OK      73056
                                                                                                                       9211 Lake Hefner
James Cooke                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
James Cooke                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
James Cooke                                                              1819 Creighton Ct                                                                      Norman             OK      73071
                                                                                                                       9211 Lake Hefner
James Jackson                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
James Jackson                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
James Jackson                                                            2525 NE Amber St                                                                       Moore              OK      73160
                                                                                                                       9211 Lake Hefner
James Powell                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
James Powell                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
James Powell                                                             350610 E. 1050 Rd                                                                      Prague             OK      74864
                                                                                                                       9211 Lake Hefner
James Pratt                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
James Pratt                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
James Pratt                                                              1608 Mesa Trail                                                                        Edmond             OK      73025
                                                                                                                       9211 Lake Hefner
James Skipper                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
James Skipper                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
James Skipper                                                            2023 Rabbit Run                                                                        Crescent           OK      73028
                                                                                                                       9211 Lake Hefner
James Thomas                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
James Thomas                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
James Thomas                                                             2009 W Washington Ave                                                                  Guthrie            OK      73034
                                                                                                                       9211 Lake Hefner
James Wallace                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
James Wallace                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
James Wallace                                                            16551 168th St                                                                         Lexington          OK      73051
JAMESON MINERAL TRUST                                                    11610 SWAN DR                                                                          AUSTIN             TX      78750
JAMESTOWN RESOURCES LLC                                                  717 TEXAS AVE STE 3100                                                                 HOUSTON            TX      77002
JAMEY D VALEGA & TERI M VALEGA HWJT                                      42408 N ANTHEM CREEK DR                                                                ANTHEM             AZ      85086
                                                                                                                       9211 Lake Hefner
Jamie Southern Sanders                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jamie Southern Sanders                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Jamie Southern Sanders                                                   12301 Buggy Lane                                                                       Jones              OK      73049
JAMIE ANDREWS                                                            3304 EAST 3RD AVENUE                                                                   STILLWATER         OK      74074
JAMIE CALDWELL                                                           16201 BIG CYPRESS DRIVE                                                                EDMOND             OK      73013


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                                                                                                                      9211 Lake Hefner
Jamie Kelly                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jamie Kelly                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jamie Kelly                                                             9130 E. 67th Ct                                                                        Tulsa            OK      74133
JAMIE LANDRETH                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK      74074
JAMIE MEYER                                                             355 LAMBETH RD                                                                         BILLINGS         MO      65610
JAMIE MURPHY                                                            2101 ROSSLYN CHAPEL CT                                                                 ARLINGTON        TX      76012
JAMIE RUSSELL                                                           4306 NW 53RD ST                                                                        OKLAHOMA CITY    OK      73112-2119
JAMIE SMITH                                                             6861 ANDERSON                                                                          THE COLONY       TX      75056
                                                                                                                      9211 Lake Hefner
Jamie Wasson-Neeley                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jamie Wasson-Neeley                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jamie Wasson-Neeley                                                     12140 E. 24th St                                                                       Tulsa            OK      74129
                                                                                                                      9211 Lake Hefner
Jamie Moore                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jamie Moore                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jamie Moore                                                             8901 Meadow Hill Dr                                                                    Edmond           OK      73034
JAMS HOLDINGS LLC                                                       10293 COCONUT ROAD                                                                     BONITA SPRINGS   FL      34135

JAMS INVESTMENT PROPERTIES LLC                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
JAN ANTONSSON                                                           17178 HWY 59                                                                           NEOSHO           MO      64850
JAN B NEWMAN TRUST                                                      1071 YOUNG PLACE                                                                       ANN ARBOR        MI      48105
JAN B RIVEN GENERATION SK TR                                            PO BOX 50655                                                                           NASHVILLE        TN      37205
                                     CAMBRIDGE PETROLEUM
JAN B SMITH                          GROUP INC AGENT                                                                                                           MCKINNEY         TX      75070
JAN BARTLETT                                                            2 ROCKY TOP CIR                                                                        HOLIDAY ISLAND   AR      72631
JAN DAUGHERTY                                                           4008 N GRIMES ST                                                                       HOBBS            NM      88240-0903
JAN DAVIS                                                               1523 NE 168TH ST                                                                       SHORELINE        WA      98155
                                                                                                                      9211 Lake Hefner
Jan Demery                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120

Jan Demery                           c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jan Demery                                                              2017 N. Gatewood Ave                                                                   Oklahoma City    OK      73106
JAN DUCHARME                                                            449 SW 15TH ST APT 2                                                                   POMPANO BEACH    FL      33060-8646
JAN GRAVENOR                                                            7703 TILLMAN HILL RD                                                                   COLLEYVILLE      TX      76034
JAN ICE                                                                 PO BOX 7366                                                                            COVINGTON        WA      98042
JAN JONES DUCHARME ESTATE                                               1504 LAKE RD                                                                           GEORGETOWN       IN      47122
JAN KESSLER                                                             6255 PINECREEK WAY                                                                     CITRUS HEIGHTS   CA      95621
JAN KING WARD                                                           2218 E 59TH ST APT 1402                                                                TULSA            OK      74105-7034
JAN KING WARD ESTATE                                                    2709 LEGACY COURT                                                                      BARTLESVILLE     OK      74006
JAN LYON                                                                102 WILKES DR                                                                          LONGVIEW         TX      75605-8225
JAN MUELLER                                                             2733 GRAYWOOD LN                                                                       PLANO            TX      75075
JAN OIL COMPANY                                                         ONE LEADERSHIP SQUARE                                                                  OKLAHOMA CITY    OK      73102-7171

JAN RAGLAND MUELLER DESCENDANTS TR                                      2733 GREYWOOD                                                                          PLANO            TX      75075
JAN SCHIFFELBEIN                                                        25611 SAMBA                                                                            SAN ANTONIO      TX      78260
JAN SEWELL TRUSTEE                                                      212 HANOVER DR                                                                         EDMOND           OK      73034-6662
JAN SPARKS                                                              PO BOX 2306                                                                            BELFAIR          WA      98528-2306
JAN WILLIAMSON                                                          401 N KINGS HWY                                                                        CUSHING          OK      74023-2409
JAN WOLFF                                                               10375 W IDAHO PL                                                                       LAKEWOOD         CO      80232
                                                                                                                      9211 Lake Hefner
Jan Sperry                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jan Sperry                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jan Sperry                                                              3161 Puget Sound Dr                                                                    Edmond           OK      73034
JANA BRANNAN                                                            324 SHORTGRASS ROAD                                                                    EDMOND           OK      73003


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JANA GRAHAM                                                              PO BOX 15181                                                                           SCOTTSDALE         AZ    85267
JANA HAIR                                                                320 N RANGE ROAD                                                                       STILLWATER         OK    74075
JANA HARRINGTON                                                          7511 E 55TH PL                                                                         TULSA              OK    74145-7722
                                                                                                                       9211 Lake Hefner
Jana Hubble                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Jana Hubble                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Jana Hubble                                                              1824 S. 195th West Ave                                                                 Sand Springs       OK    74063
JANA L PETERMANN                                                         1103 NORTH SKYLINE ST                                                                  STILLWATER         OK    74075
JANA MEECE                                                               928 S MORGAN RD                                                                        BLANCHARD          OK    73010
JANA MURDOCK                                                             6090 MOORFIELD AVE                                                                     COLORADO SPRINGS   CO    80919
JANA OBERLENDER                                                          23 YELLOW BRICK DR                                                                     STILLWATER         OK    74074
JANA SAUERWEIN                                                           5509 LEFFLER LN                                                                        ARLINGTON          TX    76017-0576
JANA SHIPLEY                                                             305 NORTH YOUNG ST                                                                     STILLWATER         OK    74075
JANA SUE RUSSELL                                                         24 AREA A, LAKE HUMPHREYS                                                              MARLOW             OK    73055
JANACE SCOTT                                                             PO BOX 548                                                                             BUFFALO GAP        TX    79508-0548

JANANNE SAMBAUGH SILCHER DECEASED                                        PO Box 1586                                                                            HAMILTON           MT    59840
JANANNE SILCHER                                                          2 DAPHNE CT                                                                            ORINDA             CA    94563-1906
JANE A GRAY 1999 REV TRUST                                               1916 DEEP CREEK RD                                                                     OKLAHOMA CITY      OK    73131
JANE A WIXON                                                             7813 NE 55TH ST                                                                        KANSAS CITY        MO    64119-4107
JANE ADCOCK CARR                                                         3326 NORTH 110TH ST                                                                    KANSAS CITY        KS    66109
JANE ANN FAULKNER                                                        1404 NW 122ND ST APT 504                                                               OKLAHOMA CITY      OK    73114-8053
JANE ANN FAULKNER REV TR DTD 7-22-1                                      1404 NW 122ND ST APT 504                                                               OKLAHOMA CITY      OK    73114
JANE ANN FAULKNER REVOCABLE TRUST                                        1404 NW 122ND ST APT 504                                                               OKLAHOMA CITY      OK    73114
JANE ANN PAIRE                                                           108 VERNON WOODS                                                                       GLEN MILLS         PA    19342
JANE ANNE COLE TRUST                                                     3505 SEVERS ST                                                                         MUSKOGEE           OK    74403
JANE B HOPKINS                                                           236 HOLIDAY EAST                                                                       CLEMSON            SC    29631

JANE B RAMSLAND OIL & GAS PARTNERSH                                      PO BOX 10505                                                                           MIDLAND            TX    79702
                                      C/O SHARAFF, WHITTMER &
JANE BREUIL CONDOS TRST               KURTZ                                                                                                                     CORAL GABLES       FL    33114
JANE BURCHARDT LIV TR DTD 5-3-2005                                       33 JONTHAM COURT                                                                       MILLSTADT          IL    62260-2331
JANE CALLAWAY VAN CLEEF REV TR                                           2901 DRAKESTONE DR                                                                     OKLAHOMA CITY      OK    73120-4309
JANE CAMERON                                                             25597 OKAY RD                                                                          TECUMSEH           OK    74873
JANE CASE AKERSON LEESER                                                 1101 COUNTY ROAD 315                                                                   TAYLOR             MO    63471
JANE D ROMINE                                                            3800 W 71ST ST #3220                                                                   TULSA              OK    74132-2151
JANE DYAL                                                                20 BARMORE RD                                                                          LAGRANGEVILLE      NY    12540
JANE E GRIFFIN                                                           7369 PERSHING AVE                                                                      ST LOUIS           MO    63130
JANE ELIZABETH ALLEN                                                     PO BOX 542                                                                             HOLDENVILLE        OK    74848
JANE FRANKENFIELD                                                        216 S OKLAHOMA AVE                                                                     GLENCOE            OK    74032
JANE GARRINGER                                                           11 STONY TRAIL                                                                         EDMOND             OK    73034
JANE GUIDOTTI                                                            10754 SAGE ST                                                                          OAK HILLS          CA    92344-0831
JANE HALL                                                                13847 SE 85TH CIRCLE                                                                   SUMMERFIELD        FL    34491
JANE HARDEN                                                              19950 HIGHWAY 33                                                                       HAMMON             OK    73650
JANE KANTOR                                                              723 11TH AVE                                                                           SANTA FE           CA    94118
JANE KERNER                                                              175 E DELAWARE PL #6809                                                                CHICAGO            IL    60611
                                                                                                                       9211 Lake Hefner
Jane L. Stetts                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Jane L. Stetts                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Jane L. Stetts                                                           912 W Broadway St                                                                      Cushing            OK    74023
JANE LONG                                                                616 ORTIZ DR SE                                                                        ALBUQUERQUE        NM    87108-3646
                                                                                                                       9211 Lake Hefner
Jane Louise Anderson                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Jane Louise Anderson                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Jane Louise Anderson                                                     3617 Gilford Lane                                                                      Norman             OK    73072
JANE LUNT                                                                5902 BRIDGE POINT DR                                                                   MCKINNEY           TX    75070


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JANE MARTIN                                                       PO BOX 901                                                                              PRAGUE          OK    74864-0901
JANE MATELO                                                       2113 HEARTHSTONE DRIVE                                                                  CARROLLTON      TX    75010
                                                                                                                9211 Lake Hefner
Jane Mattke                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                               c/o Laminack, Pirtle & Martines,
Jane Mattke                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Jane Mattke                                                       13503 S. Hickory Pl                                                                     Glenpool        OK    74033
JANE MILSTEN                                                      15000 GAILLARDIA DR                                                                     OKLAHOMA CITY   OK    73142-1834
JANE NESBETT                                                      THE NEW CANAAN INN                                                                      NEW CANAAN      CT    06840
JANE P PRALLE                                                     2300 W COVE DR                                                                          LINCOLN         NE    68522

JANE PRESLEY                                                      5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX    75070
JANE R THOMPSON TR                                                1502 E 8TH ST                                                                           YORK            NE    68467
JANE ROMINE                                                       3800 W 71ST ST #3220                                                                    TULSA           OK    74132-2151
JANE ROSELUND                                                     216 MAIN ST # A1                                                                        MAYNARD         MA    01754-2524
JANE SHIPPY                                                       5920 KUNA RD                                                                            KUNA            ID    83634
JANE SLAPE                                                        113 W PARKLAND DR                                                                       YUKON           OK    73099
JANE SLOCUM                                                       314 18TH ST WEST                                                                        WILLISTON       ND    58801-4167
JANE SMITH                                                        1132 WOODLAND WEST DR                                                                   WOODWAY         TX    76712
JANE SUMMERFIELD                                                  53 CIELO TRANQUILO CT                                                                   SANTA FE        NM    87508-1921
JANE TALKINGTON                                                   3200 N COUNTRY CLUB RD                                                                  STILLWATER      OK    74075-0928
JANE VAVERKA                                                      1402 S CAGE BLVD #112                                                                   PHARR           TX    78577
JANEA MAYBERRY                                                    432 NW 162                                                                              OKLAHOMA CITY   OK    73013

JANEE R HALL                                                      218 EAST RANDALL STREEET APT 105                                                        APPLETON        WI    54911
JANEL ARMSTRONG                                                   22103 PRIVATE RD 172                                                                    PERRY           OK    73077
JANELL ARLENE ERNCE                                               206 S EDNA DR                                                                           STILLWATER      OK    74075
JANELL FLANERY                                                    11548 TWISTED OAK RD                                                                    OKLAHOMA CITY   OK    73120

JANELL M KLEMME                                                   5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX    75070
JANELL MCINTYRE                                                   117 S ELM ST                                                                            SHENANDOAH      IA    51601
                                                                                                                9211 Lake Hefner
Janell Kirk                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                               c/o Laminack, Pirtle & Martines,
Janell Kirk                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Janell Kirk                                                       17512 N. Platinum Lane                                                                  Edmond          OK    73012
JANELLEN SARTAIN                                                  11618 S 74TH EAST AVE                                                                   BIXBY           OK    74008-2016
JANENE BRIDWELL                                                   516 N POST RD                                                                           MIDWEST CITY    OK    73130
JANES ELECTRIC SERVICE INC                                        333 NW 60th STREET                                                                      OKLAHOMA CITY   OK    73118
Janes Sells                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX    75070
Janes Sells                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK    74104
Janes Sells                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY    10017
Janes Sells                                                       3439 West 163rd St North                                                                Skiatook        OK    74070
JANET ANN CHISM                                                   2233 TREVOR DRIVE                                                                       WEATHERFORD     TX    76087
JANET BARNES                                                      950 WESTGATE DR                                                                         JACKSONVILLE    FL    32221
JANET BATES                                                       4105 N WILLOW RD                                                                        KINGMAN         AZ    86401
JANET BENTLEY                                                     3416 CREEK CROSSING                                                                     PERKINS         OK    74059
JANET BLAIR                                                       2327 MINNIE ROSE DR                                                                     GUTHRIE         OK    73044-6011
JANET BLUE HAMER                                                  1569 KINGFISHER LN                                                                      FRISCO          TX    75034
JANET CEBALLOS                                                    4724 N 21ST AVE                                                                         PHOENIX         AZ    85015
JANET CHAFIN                                                      25400 CR 60                                                                             PERRY           OK    73077
JANET CHEATHAM                                                    108 HAMPSHIRE DR                                                                        BRANSON         MO    65616
JANET COTTON                                                      9818 BRANDYWINE CIR                                                                     AUSTIN          TX    78750
JANET CURTIS                                                      2721 N MERIDIAN PL                                                                      OKLAHOMA CITY   OK    73127
JANET D BENNETT LIFE TENANT                                       512 E JACK CHOATE AVE                                                                   HENNESSEY       OK    73742
JANET D. SON                                                      4736 S. JOPLIN AVENUE                                                                   TULSA           OK    74135
JANET DAVIS CUNNINGHAM                                            157 COUNTY RD 332                                                                       GEORGE WEST     TX    78022
JANET DUNIVAN TORRES                                              1404 DUCALE DR SE                                                                       RIO RANCHO      NM    87124
JANET FISHER                                                      1605 JASMINE LANE                                                                       CONWAY          AR    72034


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               CreditorName                 CreditorNoticeName                        Address1                              Address2                 Address3           City    State     Zip      Country
JANET FREEDE TRUST                                                       1728 WESTMINSTER PL                                                                    OKLAHOMA CITY   OK    73120
JANET GAIL PRICE                                                         PO Box 81                                                                              TRYON           OK    74875

JANET GAIL WALKER                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX    75070
JANET HAKEN                                                              PO BOX 262                                                                             STILLWATER      OK    74076
JANET HASKIN                                                             PO BOX 1581                                                                            TULSA           OK    74101
JANET HICKS                                                              PO BOX 7                                                                               MARSHALL        OK    73056-0007
JANET HILEMAN                                                            2700 INDEPENDENCE                                                                      LUCIEN          OK    73757

JANET J JENKINS                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX    75070
JANET KLINGAMAN                                                          23637 N SOONER RD                                                                      MULHALL         OK    73063
JANET KNEUSEL                                                            4576 N PARKSIDE CT                                                                     MILWAUKEE       WI    53225
JANET L WOMACK REV INTERVIVOS TRUST                                      8600 S FAIRGROUNDS RD                                                                  STILLWATER      OK    74074
JANET L. WILHELM LIVING TRUST                                            1902 Lakeview                                                                          Perry           OK    73077
JANET LAMBERT                                                            495 NW MORNINGCREST PLACE                                                              SUBLIMITY       OR    97385
JANET LINN PEATROSS                                                      6303 GALLANT FOREST                                                                    HOUSTON         TX    77088-2312
JANET LOUISE MARTIN MEHR                                                 12513 ELNORA DRIVE                                                                     PENN VALLEY     CA    95946
JANET LUDINGTON                                                          1153 SLATE RD                                                                          WELLINGTON      NV    89444
JANET M JEWELL                                                           9300 ORCHARD BLVD APT 1001                                                             MIDWEST CITY    OK    73130-7174
JANET MANTELLINI                                                         9712 S WESTERN                                                                         PERKINS         OK    74059-4099
JANET MARTIN                                                             12513 ELNORA DR                                                                        PENN VALLEY     CA    95946-9382
JANET MATNEY-IRISH                                                       14627 SE ORCHID AVE                                                                    PORTLAND        OR    97267
JANET MCDONALD ESTATE                                                    1001 INDIAN DR                                                                         ENID            OK    73703
JANET MCFARLANE                                                          2010 ELM ST                                                                            LONGVIEW        WA    98632-4518
JANET METCAFFE                                                           201 RIDGEWOOD DR                                                                       SNYDER          NY    14226
JANET MICHALSKI CORNELIUS                                                13820 ESWORTHY ROAD                                                                    DARNESTOWN      MD    20874
JANET PAGANO                                                             1549 YORKTOWN AVE                                                                      TULSA           OK    74104
JANET POTTER                                                             342478 EAST 780 ROAD                                                                   AGRA            OK    74824
JANET PRICE                                                              3416 RED ROCK RD                                                                       OKLAHOMA CITY   OK    73120
JANET PUMMILL                                                            1918 BEN HALL CT                                                                       FORT WORTH      TX    76110
JANET REED                                                               PO BOX 1891                                                                            DURANT          OK    74701
JANET RHODES                                                             10 VILLAGE GREEN WAY APT 381                                                           MARSHFIELD      MA    02050-2762
JANET ROBBINS                                                            5864 SAMOA RD                                                                          HOUSTON         MO    65483-2384
JANET RUSSELL-HUNTER                                                     PO BOX 3627                                                                            TULSA           OK    74101-3627
JANET SHARP                                                              110 S ORPHAN ST                                                                        PRYOR           OK    74361-5606
JANET SHOENHAIR                                                          2322 HAMILTON DRIVE                                                                    AMES            IA    50014
JANET STANLEY                                                            6343 N CAMPOS LN                                                                       WICHITA         KS    67204-1207
JANET SUTTON                                                             3614 E 104TH ST                                                                        PERKINS         OK    74059-4551
JANET SWITZER                                                            8235 N 1970 ROAD                                                                       LEEDEY          OK    73654
                                                                                                                       9211 Lake Hefner
Janet Horn                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Janet Horn                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Janet Horn                                                               620 Chautauqua Ave                                                                     Norman          OK    73069
JANETA HELLER                                                            PO BOX 275                                                                             AMHERST         TX    79312-0275
JANETA KAY NEWELL                                                        3108 NORTH SHANNON COURT                                                               BETHANY         OK    73008-4372
JANETTE BARTO HUFF                                                       215 LINTHICUM DR                                                                       CAMBRIDGE       MD    21613-1123
JANETTE BOEPPLE KISTLER                                                  210 EAST C ST                                                                          ELLINWOOD       KS    67526

JANETTE BRECKENRIDGE TRUSTEE OF THE                                      3606 Edgewater Drive                                                                   Enid            OK    73703
JANETTE BUNNEY                                                           9407 SOUTH ROSE RD                                                                     PERKINS         OK    74059
JANETTE CAROL GOODSON                                                    1000 SOUTH PENN                                                                        GUTHRIE         OK    73044
JANETTE NAILON                                                           PO BOX 1001                                                                            SEILING         OK    73663-1001
JANEY GAYLE BOHANAN                                                      1832 COTTONWOOD DR                                                                     EUFAULA         OK    74432
                                                                                                                       9211 Lake Hefner
Janice Montgomery                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Janice Montgomery                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Janice Montgomery                                                        2607 N. Shartel Ave.                                                                   Oklahoma City   OK    73103


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                                                                                                                       9211 Lake Hefner
Janice Allen                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Janice Allen                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Janice Allen                                                             9202 N. 155th E. Ave.                                                                  Owasso            OK      74055
JANICE B EDINGER                                                         2625 NW 65TH ST                                                                        OKLAHOMA CITY     OK      73116
JANICE BATTLE                                                            309 E DUNN                                                                             RIPLEY            OK      74062-9704
JANICE BRAY                                                              3023 WEST LOCUST AVE                                                                   FRESNO            CA      97322
JANICE BROWN                                                             PO BOX 411                                                                             PAMPA             TX      79066
JANICE CHRISTIAN                                                         3416 PETUNIA CRESCENT                                                                  VIRGINIA BEACH    VA      23453
JANICE COSHOW                                                            7106 CASTLE BROOK AVE                                                                  LAS VEGAS         NV      89113
JANICE COX                                                               4506 N GREENVALE CIR                                                                   STILLWATER        OK      74075
JANICE DIXON JACOBSON                                                    PO BOX 135                                                                             UNION CITY        OK      73090
JANICE E HANSEN & LARRY L HANSEN WH                                      8 HILLCREST ST                                                                         PERRY             OK      73077
JANICE E THOMAS REVOCABLE TRUST                                          17422 PINE CREEK HOLLOW LN                                                             HOUSTON           TX      77095
JANICE E WISE & RONALD E MACK &                                          4012 STONEBRIDGE CIR                                                                   YUKON             OK      73099
JANICE FERGUSON                                                          PO BOX 151                                                                             LATHROP           CA      95330
JANICE FLY                                                               5516 W 68TH ST                                                                         STILLWATER        OK      74074-8144
JANICE GATLIN BENTZ                                                      46 East 21st St.                                                                       Edmond            OK      73013
JANICE GORRELL                                                           4466 W CR 66                                                                           MULHALL           OK      73063
JANICE HANSEN                                                            8 HILLCREST STREET                                                                     PERRY             OK      73077
JANICE HEMPFLING                                                         3913 OAKCREST AVE                                                                      ENID              OK      73703
JANICE HIXSON                                                            8125 N MCKEE BLVD                                                                      OKLAHOMA CITY     TX      73132-4104
JANICE HOPKINS                                                           7305 S VASSAR RD                                                                       COYLE             OK      73027
JANICE HUNT                                                              4 HILLTOP DRIVE                                                                        CACHE             OK      73527
JANICE JOHNSTON ESTATE DECEA                                             502 W VERNON                                                                           NEVADA            MO      64772
JANICE KAY ROGERS                                                        34193 OSPREY ROAD                                                                      AFTON             OK      74331
JANICE KEITH                                                             9820 N 165TH E AVE                                                                     OWASSO            OK      74055
JANICE KUSIK                                                             5626 SOUTH 42ND STREET                                                                 ENID              OK      73701
JANICE L CAUDILL COOPER                                                  33733 NEW HOPE RD                                                                      TECUMSEH          OK      74873
JANICE L LACK LIVING TRUST                                               8428 NW 77TH ST                                                                        OKLAHOMA CITY     OK      73132
JANICE L MILLER                                                          6417 NW 31ST STREET                                                                    BETHANY           OK      73008
                                                                                                                       9211 Lake Hefner
Janice L. Jackson                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Janice L. Jackson                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Janice L. Jackson                                                        1212 Campbell Rd                                                                       Oklahoma City     OK      73111
JANICE LUFT                                                              18915 CR 24                                                                            STERLING          CO      80751
JANICE M CLARK TRUST                                                     1917 JOSEPH DR                                                                         EDMOND            OK      73003-3780
JANICE M PRALLE                                                          2300 W COVE DR                                                                         LINCOLN           NE      68522
JANICE M WATERS REV TRUST                                                5701 VIRGINIA PRKWY APT 1207                                                           MCKINNEY          TX      75071
JANICE MANUAL                                                            5952 LIME AVE                                                                          CYPRESS           CA      90630-3223
JANICE MARLOW                                                            10213 MAJOR AVE                                                                        OKLAHOMA CITY     OK      73120-2320
JANICE MCMASTERS                                                         PO BOX 412                                                                             STILWELL          OK      74960
JANICE MILLS                                                             PO BOX 234                                                                             ATLANTIC BEACH    NC      28512
JANICE ONTANO                                                            240 N GRANT ST                                                                         INDEPENDENCE      CA      93526
JANICE PETERSEN                                                          2250 CUSTER DR                                                                         FORT COLLINS      CO      80525
JANICE PLUMMER                                                           3909 E FOURTH PLAIN BLVD UNIT 2                                                        VANCOUVER         WA      98661-7901
JANICE PODOLL                                                            PO BOX 27996                                                                           DENVER            CO      80227-0996
JANICE RODGERS                                                           346689 E 760 RD                                                                        CUSHING           OK      74023-5362
JANICE S WILLIAMS REV TR                                                 3713 WILLOWLAKE LN                                                                     ENID              OK      73703
JANICE SHOCKLEY                                                          2405 WEATHERFORD DR                                                                    NORMAN            OK      73071
JANICE SUE ROSE                                                          25451 E 795 ROAD                                                                       WELLING           OK      74471
JANICE THAMES                                                            287 VALLEY CLUB CIR                                                                    LITTLE ROCK       AR      72212-2934
JANICE THOMPSON                                                          8827 N SEVEN MILE RD                                                                   NINE MILE FALLS   WA      99026-9683
JANICE WEST                                                              661 GETTIE WEST ROAD                                                                   MORGANTOWN        KY      42261
JANICE WILSON                                                            1317 GLENDA DR                                                                         YUKON             OK      73099
JANICE WOOLNOUGH                                                         3428 TRACE CIR                                                                         KERRVILLE         TX      78028-8058



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                                                                                                                       9211 Lake Hefner
Janice Movlai                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Janice Movlai                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Janice Movlai                                                            10320 West Charter Oak Rd                                                              Edmond            OK      73025
JANIE BELL & TIM C FLOYD                                                 4220 W 9TH ST                                                                          CUSHING           OK      74023-3795
JANIE BELL FLOYD                                                         501 S TEMBERRIDGE DR APT D-2                                                           CUSHING           OK      74023
JANIE BOHANAN                                                            HC 62 BOX 70A                                                                          EUFAULA           OK      74432-9674
JANIE COCKRELL ALEXANDER                                                 1001 MONTE VISTA DR                                                                    LOCKHART          TX      78644-1903
JANIE FULGHAM BELL                                                       4049 PURDUE AVENUE                                                                     DALLAS            TX      75225
JANIE JEFFREY                                                            PO BOX 164                                                                             MULHALL           OK      73063
JANIE JOHNSON                                                            4301 E CARSON DR                                                                       FAYETTEVILLE      AR      72701
JANIE MORROW                                                             1404 NW 122ND ST APT 505                                                               OKLAHOMA CITY     OK      73114-8053
JANIE RAMSEY                                                             PO BOX 828                                                                             FERNANDUA BEACH   FL      32035
JANIE RODRIQUEZ AND JOSE S RODRIQUE                                      502 E PHILLIPS                                                                         RIPLEY            OK      74062
                                                                                                                       9211 Lake Hefner
Janie Townes                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Janie Townes                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Janie Townes                                                             5804 SE 87th St                                                                        Oklahoma City     OK      73135
JANIFER BROWN                                                            1500 N WYANDOTTE AVE                                                                   DEWEY             OK      74029
JANIS C BABEL GST TRUST                                                  1919 POST OAK PARK DRAPT 4202                                                          HOUSTON           TX      77027
JANIS CAVAZOS                                                            16121 S DERRICK AVE                                                                    CANTUA CREEK      CA      93608-9700
JANIS DAY                                                                544025 S 35100 RD                                                                      MARAMEC           OK      74045
JANIS HUNT                                                               6302 S FAIRGROUNDS RD                                                                  STILLWATER        OK      74074
JANIS K WOOLPERT LVIG TRST                                               59 LOS PALOS DRIVE                                                                     SAN LUIS OBISPO   CA      93401
JANIS WOOLPERT                                                           59 LOS PALOS DR                                                                        SAN LUIS OBISPO   CA      93401
JANNA BARRICK PLANT                                                      6701 N COUNTRY CLUB DR                                                                 OKLAHOMA CITY     OK      73116
JANNETH ANNELL FLIFLET                                                   3513 WHISTLER CT                                                                       TURLOCK           CA      95382
JANNING WELDING & SUPPLY LLC                                             918 N. VAN BUREN                                                                       ELK CITY          OK      73644
JANVRIN MARTINDALE NEWSOME                                               5845 FARQUHAR DRIVE                                                                    DALLAS            TX      75209
JANZEN AUTOMOTIVE GROUP                                                  4900 WEST SIXTH STREET                                                                 STILLWATER        OK      74074
JAQUELYN SANDS                                                           303 WILLOW STONE WY                                                                    LOUISVILLE        KY      40223
JARDOT EVERGREEN LLC                                                     PO BOX 1243                                                                            STILLWATER        OK      74076
JARED ARNEY                                                              7151 CIMARRON RD NW                                                                    PIEDMONT          OK      73078-5400
JARED BEUTLER                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
                                                                                                                       9211 Lake Hefner
Jared Black                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
Jared Black                           c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA      90017
Jared Black                                                              12108 Hidden Run Rd                                                                    Guthrie           OK      73044
JARED BRADFIELD                                                          4829 W FAIRFIELD DR                                                                    PENSACOLA         FL      32506-4109
JARED CULLISON                                                           3919 E LONE CHIMNEY RD                                                                 GLENCOE           OK      74032
JARED KELLE                                                              304 S CHARLES DR                                                                       STILLWATER        OK      74074-6886
JARETT LAUER                                                             3235 BRODERICK ST                                                                      SAN FRANCISCO     CA      94123
JARI ASKINS                                                              PO BOX 391                                                                             DUNCAN            OK      73534-0391
JARILYN BRAUSER                                                          8701 ACRE VIEW DR                                                                      OKLAHOMA CITY     OK      73151
JARL JOHNSON                                                             5626 NETHERLAND CT                                                                     DALLAS            TX      75229
JAROD CROY                            c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
                                                                                                                       9211 Lake Hefner
Jarral D'Andrea                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jarral D'Andrea                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Jarral D'Andrea                                                          2708 Dogwood Dr                                                                        Edmond            OK      73013
                                                                                                                       9211 Lake Hefner
Jarrod Cooper                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jarrod Cooper                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Jarrod Cooper                                                            1501 N Battle Ridge Rd                                                                 Cushing           OK      74023
JARROD G GRAY                                                            222 HENNEPIN AVE S APT 542                                                             MINNEAPOLIS       MN      55401


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JARROD MARCUM-NOFTSGER                                                 5001 W 2ND AVE                                                                          STILLWATER      OK    74074-6890
JARROD MEYER                                                           503 CASADY DR                                                                           REPUBLIC        MO    65738
                                                                                                                     9211 Lake Hefner
Jarrod Vogt                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                    c/o Laminack, Pirtle & Martines,
Jarrod Vogt                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Jarrod Vogt                                                            114 E Greenlee                                                                          Cushing         OK    74023
                                                                                                                     9211 Lake Hefner
Jasia Dowd                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                    c/o Laminack, Pirtle & Martines,
Jasia Dowd                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Jasia Dowd                                                             5016 Creekwood Dr                                                                       Oklahoma City   OK    73135
JASON A. OWENS                                                         1620 S. MAY AVE                                                                         GUTHRIE         OK    73044
JASON BELDON                                                           5017 W 1ST AVE                                                                          STILLWATER      OK    74074-6895
JASON BYRD                                                             2803 W 104TH ST                                                                         PERKINS         OK    74059
JASON CARROLL                                                          6701 WINDY ACRES                                                                        STILLWATER      OK    74074-7212
JASON CHRISTIAN                                                        5213 EAST HIDDEN SPRINGS DR                                                             PERKINS         OK    74059
Jason Coe                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX    75070
Jason Coe                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK    74104
Jason Coe                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY    10017
Jason Coe                                                              11609 S. Perkins Rd                                                                     Perkins         OK    74059
JASON DAVIS                                                            1231 SW RANDOLPH                                                                        TOPEKA          KS    66604
JASON DON COE                                                          11609 S PERKINS RD                                                                      PERKINS         OK    74059-4016
JASON E AND TERRI ROSELIUS                                             210 W OKLAHOMA AVE                                                                      GUTHRIE         OK    73044
JASON FELTON TRUST                                                     1201 N FRANCIS 205                                                                      OKLAHOMA CITY   OK    73106
JASON FLOWERSWROS                                                      402 W 29TH AVE                                                                          STILLWATER      OK    74074-6919
JASON HARRIS & TERRI M HARRIS JTS                                      3212 East 4th Avenue                                                                    STILLWATER      OK    74074
JASON HARTING                                                          7118 E LAKEVIEW RD                                                                      STILLWATER      OK    74075
JASON KAMP                                                             902 CEDAR                                                                               PERRY           OK    73077-6250
JASON KINZIE                                                           PO BOX 392                                                                              CUSHING         OK    74023-0392
JASON L ACEBO                                                          2889 LABELLE RUE                                                                        EDMOND          OK    73034
JASON LESH                                                             100 IRONHORSE LN                                                                        MORRISON        OK    73061
JASON LIGHT                                                            20608 THURMAN BEND RD                                                                   SPICEWOOD       TX    78669-1818
JASON LINDER                                                           PO BOX 16                                                                               AGRA            OK    74824-0016
JASON MICHAEL SMITH                                                    117 DEBORAH DRIVE                                                                       NEWARK          TX    76071
JASON MILLS                                                            803 S D AND H                                                                           CLEVELAND       OK    74020-7026
JASON NICHOLS                                                          920 S MURPHY ST APT 8102                                                                STILLWATER      OK    74074-1755
JASON NIXON                                                            218 S CHARLES DR                                                                        STILLWATER      OK    74074-6798
                                                                                                                     9211 Lake Hefner
Jason Owens                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
Jason Owens                         c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles     CA    90017
Jason Owens                                                            4311 Sierra Lane                                                                        Stillwater      OK    74074
JASON PAUL MURRAY                                                      521 N MISSOURI ST                                                                       THOMAS          OK    73669
JASON R COX                                                            73296 N. 2210 ROAD                                                                      TALOGA          OK    73667
JASON RAYMON AND DAWN RAYMON JT                                        4905 E PINTO RD                                                                         STILLWATER      OK    74074
JASON REECE                                                            9303 E 116TH ST                                                                         PERKINS         OK    74059-3736
JASON REES                                                             2009 GENEY                                                                              BRENHAM         TX    77833
JASON RETHERFORD                                                       4606 QUAIL LN                                                                           ONTARIO         OR    97914-8494
JASON RICHARDSON                                                       PO BOX 94                                                                               MULHALL         OK    73063
JASON RINGWALD                                                         695 NW 3RD AVE                                                                          OAK HARBOR      WA    98277
JASON RUSH                                                             5022 EAST 109TH PLACE                                                                   TULSA           OK    74137
JASON SCHAEFER                                                         11904 E RICHMOND RD                                                                     GLENCOE         OK    74032
JASON SEWELL                                                           12501 LARIAT                                                                            PERRY           OK    73077
JASON SHIPPY                                                           1540 PINE ST                                                                            SILVERTON       OR    97381
JASON SMITH                                                            521 WEST D DR                                                                           JENKS           OK    74037
JASON T & JENNIFER D STEVENS HWJT                                      24676 HWY 100                                                                           WELLING         OK    74471
JASON TAYLOR                                                           1309 NW 199TH                                                                           EDMOND          OK    73012
JASON THOMAS COE                                                       1614 PGA BLVD                                                                           MELBOURNE       FL    32935-4450
JASON TOEWS AND CHARLOTTE L TOEWS                                      203 STEVE COURT                                                                         YUKON           OK    73099


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JASON WALTERS                                                            14345 ELMBRIDGE AVE                                                                    BATON ROUGE        LA      70819
JASON WEBBER                                                             1124 W KNAPP AVE                                                                       STILLWATER         OK      74075
JASON WEBBWROS                                                           312 W 29TH AVE                                                                         STILLWATER         OK      74074-6917
JASON WILKERSON                                                          22032 ISLANDER LN                                                                      HUNTINGTON BEACH   CA      92646-8321
                                                                                                                       9211 Lake Hefner
Jason Henson                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jason Henson                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Jason Henson                                                             15206 E. State Hwy 9                                                                   Norman             OK      73026
JASPER LEE SUMNER                                                        824 KENTUCKY ST                                                                        GRAHAM             TX      76450-3513
JASU PROPERTIES LLC                                                      13124 N MACARTHUR BLVD                                                                 OKLAHOMA CITY      OK      73142
JAVIER AND ZOYLA GARCIA JT                                               4805 S HUNTER CIR                                                                      STILLWATER         OK      74074-7611
JAX INVESTMENTS LLC                                                      2518 NW 67TH STREET                                                                    OKLAHOMA CITY      OK      73116-4702
JAXON SHINER                                                             2590 RICHERT AVENUE                                                                    CLOVIS             CA      93611
JAY & JENNIFER E UDWADIA JT                                              2020 OAK TRAIL DRIVE                                                                   STILLWATER         OK      74074

JAY AND VIRGINIA CROFOOT MANAGEMENT                                      PO BOX 53188                                                                           LUBBOCK            TX      79453-3188
JAY BLAKLEY                                                              21831 SE 456 WAY                                                                       ENUMCLAW           WA      98022-9535
JAY CARTER HARTZELL                                                      3207 PERRY LANE                                                                        AUSTIN             TX      78731
JAY COURTRIGHT                                                           3216 WELLSHIRE CT                                                                      PLANO              TX      75093-3458
JAY D KEISTER                                                            7891 DURHAM WAY                                                                        BOULDER            CO      80301
JAY DAVIS                                                                1622 SW 28TH ST                                                                        TOPEKA             KS      66611-1603
JAY DEBORD                                                               PO BOX 481                                                                             PERRY              OK      73077
JAY ELDRIDGE                                                             405 E COMMERCE ST                                                                      MILFORD            MI      48381-1719
JAY FISCHER                                                              17709 12TH AVE NE                                                                      SEATTLE            WA      98155-3716
JAY FISHMAN                                                              901 WILSHIRE DR STE 555                                                                TROY               MI      48084-5605
JAY HAMILTON                                                             3712 UPPER LAKE CIR                                                                    GRANBURY           TX      76049
JAY L STEWART TRUST                                                      3710 W 135 ST                                                                          LEAWOOD            KS      66224
JAY LYNN MARTS                                                           280 ENCHANTING DRIVE                                                                   WINCHESTER         VA      22603
JAY M & CONNIE M LAMDIN FAMILY TR                                        14740 PRISTINE DR                                                                      COLORADO SPRINGS   CO      80921
JAY MCCOWN                                                               4117 NW 122ND STE B                                                                    OKLAHOMA CITY      OK      73120
JAY MEYER                                                                860 S JESTER AVE                                                                       SPRINGFIELD        MO      65802
JAY P WALKER CHARITABLE TRUST                                            PO BOX 99084                                                                           FORT WORTH         TX      76199
JAY SFINGI                                                               PO BOX 4954                                                                            KETCHUM            ID      83340
JAY SHIPPY                                                               4600 ELGIN RD                                                                          NEW PLYMOUTH       ID      83655
JAY SITTON                                                               24 PALOMINO RD                                                                         NOVATO             CA      94947
JAY TARLTON                                                              338633 EAST 810 ROAD                                                                   TRYON              OK      74875
JAY THOMAS                                                               7323 FALL SPRINGS LN                                                                   HUMBLE             TX      77396-4127
JAY VANDENBOS                                                            109 MILL RIDGE DR                                                                      MADISON            AL      35758
JAY W ALLARD                                                             PO BOX 463                                                                             WALDEN             CO      80480
JAY WILLIAMS                                                             PO BOX 309                                                                             PERRY              OK      73077
JAY WOOD                                                                 PO BOX 361                                                                             RIPLEY             OK      74062-0361
JAYE WILSON                                                              3166 OLD US 52 SOUTH                                                                   PILOT MOUNTAIN     NC      27041-7114
JAYHAWK INVESTMENTS LLC                                                  351 W CHARTER OAK RD                                                                   EDMOND             OK      73034
JAYNE CROWLEY                                                            1623 CAMBRIDGE DR                                                                      NORMAN             OK      73069
JAYNE KADUM                                                              6244 ARNALL CT NW                                                                      ACWORTH            GA      30101
JAYNE RITZENDOLLAR                                                       210 W REDWOOD ST                                                                       COWETA             OK      74429-2312
JAYSON HORNE                                                             18462 COUNTY ROAD 1560                                                                 ADA                OK      74820-1320
JAYSON PRUITT                                                            2902 ECHO CT                                                                           CARROLLTON         TX      75007-5423
JAYSON SHIELDS                                                           117 SKYLINE HILLS AVENUE                                                               PERRY              OK      73077
JAYSON STOCK                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
                                                                                                                       9211 Lake Hefner
Jayson Wright                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
Jayson Wright                         c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles        CA      90017
Jayson Wright                                                            221 N Leulla Ave                                                                       Cushing            OK      74023
                                                                                                                       9211 Lake Hefner
Jayson Davison                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jayson Davison                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006


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Jayson Davison                                                           2401 E Prairie Grove Rd                                                                 Guthrie          OK      73034
JB AND MARY H RED REVOCABLE TR                                           PO BOX 699                                                                              STILLWATER       OK      74076-0699
J-B OILFIELD SERVICES LLC                                                PO BOX 326                                                                              LAMONT           OK      74643
JB RED & MARY H RED REV TRUST                                            PO BOX 699                                                                              STILLWATER       OK      74076
JB RED REV TRUST                                                         PO BOX 699                                                                              STILLWATER       OK      74074-0699
JB TEARNEY                                                               12301 N MACARTHUR                                                                       OKLAHOMA CITY    OK      73142
JBE ENERGY, LLC                                                          123 MAPLE LANE                                                                          CHICKASHA        OK      73018
JBE GROUP INC                                                            123 MAPLE LN                                                                            CHICKASHA        OK      73018-7129
JBH CONSULTING GROUP                                                     118 N CONISTOR LANE; SUITE 134                                                          LIBERTY          MO      64068
JBH MINERALS LLC                                                         PO BOX 385                                                                              GUTHRIE          OK      73044
JBNSJN INVESTMENTS LLC                                                   1740 MERRICK CT                                                                         FORT WORTH       TX      76107-3244
J-BREX COMPANY                                                           7201 I-40 WEST, SUITE 321                                                               AMARILLO         TX      79106
JB'S BBQ AND CATERING LLC                                                PO BOX 18653                                                                            OKLAHOMA CITY    OK      73154
JBS ROYALTIES INC                                                        3910 W 6TH AVE #212                                                                     STILLWATER       OK      74074
JBW-MOSS PARTNERSHIP                                                     PO BOX 12116                                                                            DALLAS           TX      75225-0116
JC & DOTTIE RIEKENBERG REV LVG TRUS                                      2215 HILLSIDE AVE                                                                       DODGE CITY       KS      67801
JC DATA SOLUTIONS INC                                                    2140 HALL JOHNSON RD STE 102-204                                                        GRAPEVINE        TX      76051
JC PACE MINERALS LLC                                                     420 THROCKMORTON SUITE 710                                                              FORT WORTH       TX      76102-3724
JC PETROLEUM INC                                                         PO BOX 1433                                                                             CHICKASHA        OK      73023

JC RIEKENBERG REVOCABLE LVG TRST DT                                      2215 HILLSIDE AVE                                                                       DODGE CITY       KS      67801
JCM EXPLORATION                                                          2601 NW EXPRESSWAY STE 708 W                                                            OKLAHOMA CITY    OK      73112
JCN PETROLEUM CP                                                         PO BOX 3357                                                                             EDMOND           OK      73083
JCS INC                                                                  PO BOX 20181                                                                            OKLAHOMA CITY    OK      73156
JCW INC                                                                  PO BOX 54783                                                                            OKLAHOMA CITY    OK      73154
JD HARRISON REVOCABLE TRUST                                              PO BOX 1669                                                                             PONCA CITY       OK      74602-1669
JD HICKS & LOIS REBECCA HICKS TR                                         2313 N SANTIAGO AVE                                                                     FARMINGTON       NM      87401
JD MINERALS                                                              PO BOX 271120                                                                           CORPUS CHRISTI   TX      78427-1120
JDA 2006 TRUST                                                           2505 ANTHEM VILLAGE DR STE E 599                                                        HENDERSON        NV      89052
JDC PROPERTIES                                                           825 E 33RD                                                                              EDMOND           OK      73013
JDH ENTERPRISES INC                                                      7 CIMARRON TRL                                                                          PERKINS          OK      74059-4164
JDK ASSOCIATES LLC SERIES 1                                              3614 SAWYER BEND LN                                                                     SPRING           TX      77386
JDT INVESTMENTS LLC                                                      PO BOX 20564                                                                            OKLAHOMA CITY    OK      73156
                                                                                                                       9211 Lake Hefner
Jean Pereyra                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jean Pereyra                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Jean Pereyra                                                             1306 Oxford Way                                                                         Oklahoma City    OK      73120
JEAN A. WRIGHT TRUST                                                     PO BOX 250969                                                                           PLANO            TX      75025
JEAN AKERS                                                               9012 N 128TH E AVE                                                                      OWASSO           OK      74055
JEAN AUSTIN                                                              2510 WITTKOP WAY APT 33W                                                                SACRAMENTO       CA      95825-5117
Jean Bowhay                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Jean Bowhay                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Jean Bowhay                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Jean Bowhay                                                              438 Catfish Dr                                                                          Ponca City       OK      74604
JEAN BOWLES                                                              3040 W 113TH ST S                                                                       JENKS            OK      74037
JEAN C MIHURA TRUST DTD 8-12-99                                          823 S RANGE RD APT 206                                                                  STILLWATER       OK      74074-1952
JEAN CLAIRE                                                              2020 WOVEN TRAIL                                                                        LEWISVILLE       TX      75067-7462
JEAN CLARK                                                               PO BOX 5914                                                                             GARDEN GROVE     CA      92846-0914
JEAN CLARK TRUST DTD 8-31-2012                                           4908 SONNY BLUES PL                                                                     EDMOND           OK      73034
JEAN COLLIER                                                             3438 S CORONA                                                                           ENGLEWOOD        CO      80113
JEAN EDIGER                                                              206 W LINCOLN                                                                           CORN             OK      73024
JEAN FOSTER                                                              4728 NW 70TH ST                                                                         OKLAHOMA CITY    OK      73132
JEAN FRASER                                                              PO BOX 1837                                                                             RIVERTON         WY      82501
JEAN H HENDERSON LIVING TRUST                                            2108 MISSION RD                                                                         EDMOND           OK      73034
JEAN H KELLY TRUST                                                       PO BOX 606                                                                              MUSKOGEE         OK      74402
JEAN HAGLER PINKERTON TRUST                                              7005 MAPLE AVE                                                                          CHEVY CHASE      MD      20815
JEAN HAGLER PINKERTON TRUST                                              4013 E 45TH ST                                                                          TULSA            OK      74135
JEAN HASTINGS                                                            3921 W 104TH ST                                                                         PERKINS          OK      74059-4171


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JEAN HASTINGS & DEENA J FRIELING JT                                      3921 W 104TH ST                                                                        PERKINS         OK      74059-4171
JEAN HEMPHILL                                                            416 PRIVATE DR                                                                         STILLWATER      OK      74075-1823
JEAN HULL                                                                1150 8TH AVE SW APT 2320                                                               LARGO           FL      33770
JEAN JACOB                                                               205 CONIFER TERRACE                                                                    DANVILLE        CA      94506-4566
JEAN JOHNSON                                                             600 ESSEX WAY                                                                          BANNING         CA      92220
JEAN L HUNTER LIVING TRUST                                               4669 S OXFORD AVE                                                                      TULSA           OK      74135
JEAN LAWTON                                                              604 NW 34TH ST                                                                         OKLAHOMA CITY   OK      73118
JEAN M BOEHM TRUST                                                       1318 BOSTON ST                                                                         MUSKOGEE        OK      74401-6719
                                                                                                                       9211 Lake Hefner
Jean M. Dotson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jean M. Dotson                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Jean M. Dotson                                                           8208 Karla Lane                                                                        Oklahoma City   OK      73132
JEAN MARIE JONES                                                         1681 CR 1630                                                                           ROFF            OK      74865
JEAN MATTHEWS                                                            2514 E 74TH CT                                                                         TULSA           OK      74136
JEAN MCAFEE                                                              7312 LOUISBURG DR                                                                      OKLAHOMA CITY   OK      73162
JEAN MCPHERSON                                                           8700 POST OAK MAINE                                                                    SAN ANTONIO     TX      78217
JEAN MOORE                                                               101 RIDGESIDE RD                                                                       CHATTANOOGA     TN      37411-1830
JEAN MORRISON                                                            5725 CROWN COURT                                                                       OROVILLE        CA      95966
JEAN MURPHY                                                              2111 4TH AVE S                                                                         IRONDALE        AL      35210-1626
JEAN NEESE                                                               731 N OAKWOOD RD                                                                       ENID            OK      73703
JEAN REED                                                                543 N. CRESTVIEW STREET                                                                PORTERVILLE     CA      93257
JEAN RILEY BILLINGTON                                                    2901 E 74TH PL                                                                         TULSA           OK      74136-5634
JEAN RISING                                                              PO BOX 65                                                                              NUTRIOSO        AZ      85932-0065
JEAN RODGERS                                                             8625 WINKLER DR APT 3209                                                               HOUSTON         TX      77017-5118
JEAN STARKEY FLEMING                                                     19503 WESTHAVEN DR                                                                     HOUSTON         TX      77084
JEAN TEGELER                                                             520 11TH AVE SE #222                                                                   DYERSVILLE      IA      52040-1946
JEAN WETZEL TRUST                                                        1113 BELFORD AVENUE                                                                    OKLAHOMA CITY   OK      73116
JEAN WILLIAMS                                                            23216 S 182 ST                                                                         GILBERT         AZ      85298
JEAN WILSON                                                              6342 ANNAPOLIS LN                                                                      DALLAS          TX      75214-2105
                                                                                                                       9211 Lake Hefner
Jean Quary                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jean Quary                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Jean Quary                                                               345441 E 1030 Rd                                                                       Meeker          OK      74855
JEANA BOLEN                                                              8347 E KNOLL CIRCLE                                                                    MESA            AZ      85207
JEANETTE A BREEDEN 2012 REVOCABLE T                                      13 SOUTH 2ND STREET                                                                    TRYON           OK      74875
JEANETTE CHISUM                                                          623 N J                                                                                DUNCAN          OK      73533
JEANETTE MAUPIN                                                          872 S JESTER AVE                                                                       SPRINGFIELD     MO      65802-5933
JEANETTE RODRIQUEZ                                                       ADDRESS REDACTED

JEANETTE W GAY                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
                                                                                                                       9211 Lake Hefner
Jeanette Pendley                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jeanette Pendley                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Jeanette Pendley                                                         101 Eldorado Dr                                                                        Norman          OK      73026
JEANIE E SANDERS REV TR DTD 2-9-06                                       404 S FOREST RIDGE BLVD                                                                BROKEN ARROW    OK      74014
JEANITA KEARNS                                                           511 SHERWOOD DR N                                                                      MIDDLETOWN      NY      10941-1311
JEANNAE E LOLLAR                                                         618 LEE VALLEY RD                                                                      WHITESBURG      TN      37891
JEANNE ARNOLD                                                            302 N DENTONCT                                                                         VISALIA         CA      93291
JEANNE BARRETT                                                           2203 W MCMURTRY RD                                                                     STILLWATER      OK      74075
JEANNE BRANTINGHAM                                                       5431 W YELLOW BRICK ROAD                                                               FAYETTEVILLE    AR      72704-9358
JEANNE CAVANAUGH                                                         2315 GILROSE AVE                                                                       ST LOUIS        MO      63114-5901
JEANNE CLOUD                                                             906 N JEFFERSON AVENUE                                                                 IOLA            KS      66749-1829
JEANNE EDWARDS                                                           900 MEADOWGRASS DR                                                                     FLORISSANT      MO      63033
JEANNE FRANK                                                             2114 N SHAWNEE AVE                                                                     OKLAHOMA CITY   OK      73107
JEANNE M BOESE REVOCABLE TRUST                                           1000 COUNTRY CLUB DR                                                                   N PALM BEACH    FL      33408
JEANNE M URQUHART                                                        15430 SE 275TH STREET                                                                  KENT            WA      98042


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JEANNE MATERA                                                           3808 ROBIN KNOT CT                                                                      NORTH LAS VEGAS   NV      89084
JEANNE P BROWN TRUST                                                    74593 S 320 RD                                                                          WAGONER           OK      74467-9418
JEANNE RUGGLES                                                          845 ROARING FORK RD                                                                     DENVER            CO      80206-1156
JEANNE TIMBERLAKE                                                       11443 INDIAN HILLS DR NE                                                                BOLIVAR           OH      44612
JEANNETTE A. BREEDEN 2012 REVOCABL                                      15 WEST GRANT STREET                                                                    AGRA              OK      74824
                                                                                                                      9211 Lake Hefner
Jeannette C. McPhail                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jeannette C. McPhail                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Jeannette C. McPhail                                                    1713 NW 39th                                                                            Oklahoma City     OK      73118
JEANNETTE L HYKE                                                        10825 BOONESBORO                                                                        PERRY             OK      73077-9262
JEANNETTE M ALLEN TRUST                                                 1503 TAHLEQUAH PL                                                                       OKLAHOMA CITY     OK      73119
JEANNETTE M GINSBURG                                                    306 W 7TH ST SUITE 506                                                                  FORT WORTH        TX      76102
                                                                                                                      9211 Lake Hefner
Jeannette M. Beal                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jeannette M. Beal                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Jeannette M. Beal                                                       3300 Harper Rd                                                                          Choctaw           OK      73020
JEANNIE                                                                 3312 S HART DR                                                                          STILLWATER        OK      74074-8470
JEANNIE HAGGARD                                                         PO BOX 205                                                                              MULHALL           OK      73063
JEANNIE HARRIS                                                          3501 NW 63RD ST                                                                         OKLAHOMA CITY     OK      73154
JEANNIE MAHER                                                           1 WHITE PL                                                                              PUEBLO            CO      81001
JEANNIE SHEDECK ROBERTS                                                 511 W PECAN                                                                             NOCONA            TX      76255
JEANNINE ANNE CAMPBELL                                                  641 MILLICENT WAY                                                                       SHREVEPORT        LA      71106
JEANNINE APATHY                                                         643 GAINESWAY CIR                                                                       VALPORAISO        IN      46385
JEB BUCHER                                                              5209 NW 115TH ST                                                                        OKLAHOMA CITY     OK      73162
JED ISBELL                                                              9305 N 95TH EAST AVENUE                                                                 OWASSO            OK      74055
JEFF & CAROL HIRZEL FAMILY TR                                           PO BOX 279                                                                              GUTHRIE           OK      73044
JEFF BOEDEKER                                                           9926 S. IMO RD                                                                          WAUKOMIS          OK      73773
JEFF CHAMBLESS                                                          11089 WAGER                                                                             BENTONVILLE       AR      72712
JEFF COATES                                                             14121 PINE OVERLOOK DR                                                                  FLINT             TX      75762-9788
JEFF COOK                                                               8509 LAKEHURST DR                                                                       OKLAHOMA CITY     OK      73120-4335
JEFF DENTON                                                             11019 S LOCKWOOD                                                                        PERKINS           OK      74059-3791
JEFF FISHER                                                             6301 OAK TREE DR                                                                        EDMOND            OK      73025-2678
JEFF GOLDSBERRY                                                         1410 FAIRWAY DR                                                                         PERRY             OK      73077
JEFF HENROTIN                                                           996 LOMA VERDE AVE                                                                      PALO ALTO         CA      95303
                                                                                                                      9211 Lake Hefner
Jeff Hubble                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jeff Hubble                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Jeff Hubble                                                             1824 S. 195th West Ave                                                                  Sand Springs      OK      74063
JEFF JOHNSTON                                                           7319 ROBIN RD                                                                           DALLAS            TX      75209-3921
                                                                                                                      9211 Lake Hefner
Jeff M. Todish                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jeff M. Todish                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Jeff M. Todish                                                          10903 E. Lone Chimney Rd                                                                Glencoe           OK      74032
JEFF METZGER                                                            PO BOX 93                                                                               TOLEDO            WA      98591
Jeff Nieman                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Jeff Nieman                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
Jeff Nieman                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
Jeff Nieman                                                             207 West Garfield                                                                       Ralston           OK      74650
JEFF NIEMEYER                                                           7821 SOUTH GLENCOE WAY                                                                  CENTENNIAL        CO      80122-3817
JEFF ROBERTS                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater        OK      74074
JEFF WENSLER JANELLE WENSLER CRAIG                                      6211 PEARL SNAP TRL                                                                     STILLWATER        OK      74074-7457
JEFF WRIGHT                          c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater        OK      74074
JEFF ZANOTTI                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City     OK      73116
                                                                                                                      9211 Lake Hefner
Jeff Heinzig                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120


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                  CreditorName              CreditorNoticeName                             Address1                         Address2                 Address3             City   State       Zip      Country
                                      c/o Laminack, Pirtle & Martines,
Jeff Heinzig                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jeff Heinzig                                                             101294 S. Hwy 99                                                                       Prague           OK      74864
                                                                                                                       9211 Lake Hefner
Jeff Jarvis                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jeff Jarvis                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jeff Jarvis                                                              20620 N. Luther Rd                                                                     Luther           OK      73054
JEFFEREY GERMAN                                                          1214 E CROCKETT                                                                        HARLINGTON       TX      78550
JEFFERSON COUNTY RECORDERS OFFICE                                        PO BOX 159                                                                             STEUBENVILLE     OH      43952-2177
JEFFERSON COUNTY TREASURER                                               PO BOX 398                                                                             STEUBENVILLE     OH      43952-5398
JEFFERY BOND                                                             918 N MOCCASIN ST                                                                      SAPULPA          OK      74066-2516
JEFFERY BORDELON                                                         37 CHARLOTTE ST                                                                        HUNTSVILLE       TX      77320-1353
                                                                                                                       9211 Lake Hefner
Jeffery C Cowan                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jeffery C Cowan                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jeffery C Cowan                                                          920 E 33rd St. N                                                                       Tulsa            OK      74106
JEFFERY EICHELBERGER                                                     RR 1 BOX 164                                                                           HYDRO            OK      73048-9625
JEFFERY HAMMER                                                           20597 N MACARTHUR BLVD                                                                 MARSHALL         OK      73056
JEFFERY KRONBACK & DEBRA KRON                                            PO Box 2640                                                                            MIDLAND          TX      79702
JEFFERY LEE EICHELBERGER                                                 ROUTE 1 BOX 164                                                                        HYDRO            OK      73048
JEFFERY MOODY                                                            1100 N COUNTRY CLUB RD                                                                 STILLWATER       OK      74075
JEFFERY POPKESS                                                          3993 WEST MUNSON ROAD                                                                  SKIATOOK         OK      74070
JEFFERY R KUKUK                                                          PO BOX 313                                                                             CRESCENT         OK      73028

JEFFERY WATTS AND AMBER R WATTS HW                                       PO BOX 333                                                                             RIPLEY           OK      74062-0333
JEFFREY A WILLETT                                                        1365 FOREST CREEK DRIVE                                                                ST. PETERS       MO      63303
JEFFREY ALLEN BELL                                                       10420 NE 47TH PLACE                                                                    KIRKLAND         WA      98033
JEFFREY BARNES                                                           7960 103RD ST APT 1002                                                                 JACKSONVILLE     FL      32210
JEFFREY BLEVINS                                                          8403 N PENN AVE                                                                        CRESCENT         OK      73028
JEFFREY BULLOCK                                                          9710 WORNALL RD APT A                                                                  KANSAS CITY      MO      64114-3963
JEFFREY C HAWES REV TR DTD 05-31-20                                      PO BOX 1474                                                                            EMPORIA          KS      66801
JEFFREY C WELCH TRUST                                                    9626 S SANDUSKY AVE                                                                    TULSA            OK      74137-4811
JEFFREY CAIRNS                                                           PO BOX 411                                                                             STILLWATER       OK      74076
JEFFREY CAMPBELL                                                         14645 S CONSTANCE COURT                                                                OLATHE           KS      66062
JEFFREY CARMACK                                                          808 JOSEPHINE                                                                          AUSTIN           TX      78704
JEFFREY CARR                                                             7267 W 790 RD                                                                          HUBERT           OK      74441
JEFFREY CASPARIS                                                         9532 S 88 EAST PLACE                                                                   TULSA            OK      74133
JEFFREY CATES                                                            706 MESA DR                                                                            DEL VALLE        TX      78617-5625
JEFFREY COLEMAN                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
JEFFREY COPE                                                             2161 S OWASSO AVE                                                                      TULSA            OK      74114-1235
JEFFREY CORDELL DAVIDSON                                                 2213 WEST 24TH STREET                                                                  STILLWATER       OK      74074
JEFFREY DAY                                                              8351 DEER RIDGE                                                                        PERRY            OK      73077-9237
JEFFREY DEAN BUCKMASTER                                                  9668 COUNTY RD 1043                                                                    ADDISON          AL      35540
                                                                                                                       9211 Lake Hefner
Jeffrey Dean Rosencutter              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jeffrey Dean Rosencutter              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jeffrey Dean Rosencutter                                                 3314 W 59th St                                                                         Tulsa            OK      74107
JEFFREY DOLEZAL                                                          1656 N SHEPARD RD                                                                      WASHOUGAL        WA      98671
JEFFREY FIDLER                                                           2608 RIDGEVIEW CT                                                                      OKLAHOMA CITY    OK      73120-3019
JEFFREY G MICHAEL                                                        325 NORTH CLIFTON AVENUE                                                               WICHITA          KS      67208
JEFFREY G SMITH                                                          3280 TIMBER BLUFF DR                                                                   MARIETTA         GA      30062
JEFFREY GAUNT                                                            4405 W 1ST ST                                                                          TULSA            OK      74127-7708
JEFFREY GELDER                                                           1781 E WESSON DR                                                                       CHANDLER         AZ      85286-1186
JEFFREY HUDSON                                                           909 WEST RIVER ROAD                                                                    WORLAND          WY      82401
JEFFREY J MCDOUGALL                                                      PO BOX 54977                                                                           OKLAHOMA CITY    OK      73154
JEFFREY JACOB                                                            45 GHOST RIDER CT                                                                      RENO             NV      89511-9163


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              CreditorName             CreditorNoticeName                          Address1                            Address2                 Address3            City    State       Zip      Country
JEFFREY JOHNSON                                                     23879 County Road 110                                                                  Perry           OK       73077
JEFFREY KINGSTON                                                    13412 OLD MORRO RD                                                                     ATASCADERO      CA       93422
JEFFREY LYNN DAVIS                                                  PO BOX 88                                                                              AGRA            OK       74824
JEFFREY MAYO                                                        6687 ST. VRAIN RANCH BLVD                                                              FIRESTONE       CO       80504
JEFFREY MCLAUGHLIN                                                  13610 SE 180TH ST 55                                                                   RENTON          WA       98058
JEFFREY MCNAUGHTON                                                  6023 VICKERY BLVD                                                                      DALLAS          TX       75206
JEFFREY MILTIMORE                                                   303 N 9TH ST                                                                           CORSICANA       TX       75110
JEFFREY P REYNA                                                     7015 W 12TH STREET                                                                     WICHITA         KS       67212
JEFFREY PRALLE                                                      1903 HOWARD ST                                                                         WHEATON         IL       60187
JEFFREY PRUITT                                                      1008 ESTES PARK DRIVE                                                                  ALLEN           TX       75013
JEFFREY R PAPIRTIS                                                  3101 CARLTON WAY                                                                       OKLAHOMA CITY   OK       73120
JEFFREY R WARREN                                                    PO BOX 548                                                                             GALVA           KS       67443
JEFFREY RAINS                                                       138 VIRGINIA WAY                                                                       SEARCY          AR       72143-8654
JEFFREY RAZOR                                                       1310 W. MAIN ST.                                                                       GREENFIELD      IN       46140
                                                                                                                  9211 Lake Hefner
Jeffrey Robert Harvey            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                 c/o Laminack, Pirtle & Martines,
Jeffrey Robert Harvey            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Jeffrey Robert Harvey                                               823 S. St. Louis Ave                                                                   Tulsa           OK       74120
JEFFREY ROSSANDER                                                   1712 GLENWOOD                                                                          STILLWATER      OK       74075
JEFFREY SCHULTZ                                                     5401 W LAKEVIEW RD                                                                     STILLWATER      OK       74075
JEFFREY SEXTON                                                      4526 CHICKASAW RD                                                                      MEMPHIS         TN       38117
JEFFREY SPITLER                                                     4015 E 19TH AVE                                                                        STILLWATER      OK       74074-6495
JEFFREY STEPHENS                                                    2202 S HUSBAND ST                                                                      STILLWATER      OK       74074-7116
JEFFREY SUTTON                                                      809 CROOK CREEK WAY                                                                    FORT COLLINS    CO       80525
JEFFREY TARLTON                                                     338793 EAST 810 ROAD                                                                   TRYON           OK       74875
JEFFREY TENER                                                       3 BALLANTINE LN                                                                        SKILLMAN        NJ       08558-2023
JEFFREY THOMAS                                                      1500 HUDSON DR                                                                         PONCA CITY      OK       74601
JEFFREY TODISH                                                      10903 E LONE CHIMNEY                                                                   GLENCOE         OK       74032

JEFFREY W FOSTER & KELLEY R                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX       75070
Jeffries, Elmer                  c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK       73116
JEFFRY & JUDY HUGHES LVG TRUST                                      6500 N GRAND BLVD APT 152                                                              OKLAHOMA CITY   OK       73116
JEFFRY WATTS                                                        114 N HOPPY RD                                                                         STILLWATER      OK       74075
Jekel, Adam                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK       73116
JEMS OIL LLC                                                        41 MADISON AVE, 25TH FLOOR                                                             NEW YORK        NY       10010
JENAE JUDGE                                                         3501 NW 63RD ST                                                                        OKLAHOMA CITY   OK       73116
JENEIN KESTER                                                       8018 HAPPY VALLEY RD                                                                   KUNA            ID       83634
                                                                                                                  9211 Lake Hefner
Jenell Lanett Hall               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                 c/o Laminack, Pirtle & Martines,
Jenell Lanett Hall               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Jenell Lanett Hall                                                  119 E Chantry St                                                                       Perkins         OK       74059
JENELLA LOYE                                                        711 OAK AVENUE                                                                         DAVIS           CA       75616
JENENNE POST                                                        9108 S FLORENCE AVE                                                                    TULSA           OK       74137
JENEVA RODMAN VICKERY                                               770565 S 3370 ROAD                                                                     TRYON           OK       74875-6122
JENNA MARIE AND EMMA ANN                                            10037 SAINT HELENS DR                                                                  YUKON           OK       73099
JENNA PARTAIN                                                       123 NE 2ND ST APT 331                                                                  OKLAHOMA CITY   OK       73104-2272
JENNIE AND ASHLEY PRATT                                             PO BOX 2648                                                                            STILLWATER      OK       74076-2648
JENNIE BILYEU                                                       332 SNEAD DR                                                                           CROSSVILLE      TN       38558-8039
JENNIE ELGIN                                                        3811 CLUB VIEW DR                                                                      MUSKOGEE        OK       74403
JENNIE HART                                                         2777 US HWY 183                                                                        ASHLAND         KS       67831-3123
JENNIE L IDLETT                                                     7801 LEWIS RD                                                                          LEXINGTON       OK       73051
JENNIE PRATT                                                        PO BOX 2648                                                                            STILLWATER      OK       74076-2648
JENNIE T HOLDINGS LLC                                               3812 18TH ST                                                                           PLANO           TX       75074
                                                                                                                  9211 Lake Hefner
Jennie Kiser                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                 c/o Laminack, Pirtle & Martines,
Jennie Kiser                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006


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Jennie Kiser                                                             208 W Adams                                                                            Crescent        OK       73028
JENNIFER A ROGERS                                                        1013 TOBIAS DR                                                                         LYONS           LA       67554
JENNIFER ALDEN                                                           564 HIGHLANDS DR                                                                       HAMPSTEAD       NC       28443
JENNIFER ALLEN                                                           815 HEPLER ST                                                                          IRONTON         OH       45638
JENNIFER ANN HUBER                                                       33616 SE MAPLE ST                                                                      SCAPPOOSE       OR       97056-3612
JENNIFER AVERY                                                           2515 SULLIVAN DRIVE                                                                    AUBURN          CA       95603
JENNIFER BAIRD                                                           533 N CHAPMAN AVE                                                                      SHAWNEE         OK       74801
JENNIFER BENTLEY                                                         8214 W 14TH ST                                                                         COYLE           OK       73027
JENNIFER BURGESS                                                         7821 S BRUSH CREEK ROAD                                                                STILLWATER      OK       74074
JENNIFER CARROLL                                                         7005 E 89 PL                                                                           TULSA           OK       74133
JENNIFER CHADWELL FELD & DENNIS M                                        PO BOX 721                                                                             PLACITAS        NM       87043
JENNIFER CRAIG                                                           4101 SUMMIT WOODS DR NE                                                                ROCKFORD        MI       49341
JENNIFER DEUTSCH                                                         2820 SCHROEDER RD                                                                      HAUBSTADT       IN       47639-9107
JENNIFER DILLER                                                          PO BOX 88                                                                              NASH            OK       73761
JENNIFER DRYSDALE                                                        8515 PRIEST RIVER DR                                                                   ROUND ROCK      TX       78681
JENNIFER GARRISON LLC                                                    323 3RD ST                                                                             MARIETTA        OH       45750-2902
JENNIFER GAY KOELM                                                       7795 S POPLAR WAY E                                                                    CENTENNIAL      CO       80112-2530
JENNIFER GIBSON                                                          8808 LAKEAIRE DR                                                                       OKLAHOMA CITY   OK       73132
JENNIFER GOBLE                                                           747 LEONARD ST                                                                         ASHLAND         OR       97520-3332
JENNIFER GOMEZ                                                           21364 SHADY LN                                                                         COVINGTON       LA       70435
JENNIFER GRIGSBY                                                         3408 HARRIS DR                                                                         EDMOND          OK       73013-8017
JENNIFER GRIPE                                                           3206 E 2ND AVE                                                                         STILLWATER      OK       74074
JENNIFER HICKS                                                           1205 RIVER ROCK RD                                                                     HANAHAN         SC       29410
JENNIFER HOLCOMB-THRASHER                                                10419 N. 2407 RD.                                                                      WEATHERFORD     OK       73096
JENNIFER HOLLOMAN                                                        836 MELBOURNE AVE                                                                      STOCKTON        CA       95203-1322
JENNIFER HORTON                                                          PO BOX 181098                                                                          CASSELBERRY     FL       32718
JENNIFER HUGHES                                                          ADDRESS REDACTED
JENNIFER JANE KRAMER                                                     1923 B PINEHURST                                                                       PERRY           OK       73077
                                                                                                                       9211 Lake Hefner
Jennifer Jarrette                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
Jennifer Jarrette                     c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles     CA       90017
Jennifer Jarrette                                                        2714 N Kings Hwy                                                                       Cushing OK               74023
JENNIFER KATHRINE DYLAN                                                  4146 BETHEL                                                                            HOUSTON         TX       77092
JENNIFER LAMPROE                                                         PO BOX 311                                                                             UNIONTOWN       AR       72955
JENNIFER M MILLER LIVING TRUS                                            PO Box 2640                                                                            MIDLAND         TX       79702
JENNIFER MASON                                                           1313 COPPER ROCK DRIVE                                                                 EDMOND          OK       73025
JENNIFER MCCREADY                                                        9770 115TH TERR                                                                        OVERLAND PARK   KS       66210
JENNIFER MCDANIEL                                                        PO BOX 60                                                                              MOODY           TX       76557
JENNIFER MENDIAS                                                         112 GLADE SHADOW DR                                                                    EULESS          TX       76039
JENNIFER MOONEY                                                          12732 N MACARTHUR BLVD APT A                                                           OKLAHOMA CITY   OK       73142
JENNIFER NICOLE LANCASTER                                                2827 SW MEADOW CLIFF DRIVE                                                             OKLAHOMA CITY   OK       73159
JENNIFER PANNELL                                                         207 E G ST                                                                             JENKS           OK       74037
JENNIFER PAYNE CRUTCHER                                                  1006 LENOX PL                                                                          CINCINNATI      OH       45229
JENNIFER R CAIN                                                          100 PARQUE CIRCLE                                                                      GEORGETOWN      TX       78626
JENNIFER RICH                                                            9424 N MILITARY                                                                        OKLAHOMA CITY   OK       73114
JENNIFER ROBINSON                                                        3600 BIRDSONG COURT                                                                    SUMMERFIELD     NC       27358
JENNIFER SCOTT AND TRAVIS M SCOTT H                                      5002 W 2ND AVENUE                                                                      STILLWATER      OK       74074
JENNIFER SHADD                                                           205 CONIFER TER                                                                        DANVILLE        CA       94506-4566
JENNIFER SHRADER                                                         2508 CLOVER GLEN DR                                                                    EDMOND          OK       73013-2870
JENNIFER SILVERS                                                         1019 EAST MOSES STREET                                                                 CUSHING         OK       74023
JENNIFER SWAIN                                                           6777 MONTWOOD DR                                                                       FRISCO          TX       75034-4436
JENNIFER WHITTINGTON                                                     1944 LORRI WAY                                                                         ESCONDIDO       CA       92026-1025
JENNIFER WILSON                                                          6230 BANDERA AVE APT A                                                                 DALLAS          TX       75225
JENNIFER ZACKER                                                          708 ELM CIR                                                                            GOLDEN          CO       80401-5820
                                                                                                                       9211 Lake Hefner
Jennifer Butler                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Jennifer Butler                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Jennifer Butler                                                          870770 S. 337 Rd                                                                       Chandler        OK       74834


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                                                                                                                       9211 Lake Hefner
Jennifer Simon                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jennifer Simon                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jennifer Simon                                                           11617 SE 44th St                                                                       Oklahoma City    OK      73150
JENNIS S KAUFFMAN                                                        10735 VILLA LEA LANE                                                                   HOUSTON          TX      77071-1509
JENNY HILTON                                                             2045 THIRD AVE APT 210                                                                 SNEADS           FL      32460-2370
JENNY LEE CUNDIFF                                                        4202 S HENDERSON ST                                                                    STILLWATER       OK      74074-7203
JENNY MALNATI                                                            25140 235TH WAY SOUTHEAST                                                              MAPLE VALLEY     WA      98038
JENNY NELSON                                                             1011 PECAN LAKE COURT                                                                  STILLWATER       OK      74074
JENNY SHERMAN                                                            1217 MIRAMAR ST                                                                        LAGUNA BEACH     CA      92651
JENTRA REED                                                              7225 BLUE FALLS CIR                                                                    RENO             NV      89511-1014
JERALD BUNTIN                                                            1917 N FAIRGROUNDS RD                                                                  STILLWATER       OK      74075-3029
JERALD DALE KOCH                                                         24250 COUNTY ROAD                                                                      PERRY            OK      73077
JERALD GARTMAN                                                           204 HARBOR DR                                                                          MOREHEAD CITY    NC      28557-8911
JERALD L ALBUM                                                           4637 SOUTHSHORE DRIVE                                                                  METAIRIE         LA      70002
JERALD NICKELS                                                           1222 E 92ND ST                                                                         PERKINS          OK      74059-4289
JERALDINE DEVLIN                                                         4105 N WILLOW RD                                                                       KINGMAN          AZ      86401
JERALDINE F DEVLIN ESTATE                                                7134 S YALE STE 300                                                                    TULSA            OK      74136
JERE ARNDT                                                               9818 W PURDUE                                                                          ENID             OK      73703
JERE W THOMPSON IRA                                                      PO BOX 2605                                                                            FT WORTH         TX      76113-2605
JEREMIAH HALL                                                            850 HIDDEN OAKS WAY                                                                    GUTHRIE          OK      73044
JEREMIAH PFANNENSTIEL                                                    11907 S REDBAD ST                                                                      JENKS            OK      74037
JEREMY ADAMS                                                             5815 VAN FLEET AVE                                                                     RICHMOND         CA      94804
JEREMY AND JESSICA MCKINZIE                                              1207 WHITNEY COURT                                                                     STILLWATER       OK      74075
JEREMY AUSTIN                                                            717 GREENWOOD DR                                                                       OKLAHOMA CITY    OK      73110
JEREMY BARBOUR                                                           716 SOUTH 90TH EAST AVE                                                                TULSA            OK      74112
JEREMY BEAGLES                                                           2708 NW 170TH TERR                                                                     EDMOND           OK      73012
JEREMY C BAXTER                                                          803 INLA AVE                                                                           YUKON            OK      73099
JEREMY CANTRELL                                                          10323 S MEHAN RD                                                                       PERKINS          OK      74059-3693
JEREMY CONNER                                                            35502 GUSTAFSON LN                                                                     ASTORIA          OR      97103-8381
JEREMY COOKE                                                             199 OVERBROOK DR                                                                       LAGRANGE         GA      30240-3972

JEREMY DAVIDSON & MARY EMILY MORGAN                                      2061 POINT LEGERE RD                                                                   MOBILE           AL      36605-2838
                                                                                                                       9211 Lake Hefner
Jeremy England                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jeremy England                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jeremy England                                                           2500 S. Fir Ave.                                                                       Broken Arrow     OK      74012
JEREMY GREENFIELD                                                        70 STONERIDGE ROAD                                                                     PONCA CITY       OK      74604
JEREMY HAMILL                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK      74074
JEREMY HOOTENS                                                           7509 E. RICHMOND ROAD                                                                  GLENCOE          OK      74032
JEREMY HUCKABAY                                                          5315 SPRING CREEK CIRCLE W                                                             STILLWATER       OK      74074-8571
JEREMY J CUMMING & RACHELLE L                                            1050 E 2ND ST #364                                                                     EDMOND           OK      73034
JEREMY JENKINS                                                           3124 E 2ND AVE                                                                         STILLWATER       OK      74074
JEREMY LASLEY                                                            281 W 16TH AVE                                                                         SPRINGFIELD      CO      81073-1902
JEREMY MEYER                                                             219 W ALICE ST                                                                         MT VERNON        MO      65712
                                                                                                                       9211 Lake Hefner
Jeremy Ring                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jeremy Ring                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jeremy Ring                                                              115 Eldridge Ave                                                                       Luther           OK      73054
JERI ALEXANDER                                                           8736 W PRENTICE AVE                                                                    LITTLETON        CO      80123-2192
JERI BETH WORSHAM                                                        1909 SUWANEE VALLEY RD                                                                 LAWRENCEVILLE    GA      30043-4142
                                                                                                                       9211 Lake Hefner
Jeri Daneen Collins                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jeri Daneen Collins                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jeri Daneen Collins                                                      12405 Heathfield Lane                                                                  Oklahoma City    OK      73173


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JERI LEE                                                                2012 SHEFFIELD RD                                                                       OKLAHOMA CITY   OK      73120-4926
JERI MCCORD                                                             307 North Jadot Road                                                                    STILLWATER      OK      74074
JERI POPLIN                                                             PO BOX 850801                                                                           YUKON           OK      73085-0801
JERI SUSAN HUNT ESTATE DECD                                             116 RAMBLEWOOD RD                                                                       BARTLESVILLE    OK      74003
                                                                                                                      9211 Lake Hefner
Jeri Allmon                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jeri Allmon                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Jeri Allmon                                                             404 Johnson Dr                                                                          Guthrie         OK      73034
JERICHO BUCKMANVILLE OIL LLC                                            321 S BOSTON AVE STE 300                                                                TULSA           OK      74103
JEROD PADGETT                                                           PO BOX 11263                                                                            MIDLAND         TX      79702-8263
JEROLD BOEPPLE                                                          1800 S ALLEN AVE                                                                        MONAHANS        TX      79756
JEROME EDWARDS                                                          15 WOODLAWN DR                                                                          PALM COAST      FL      32164-3114
Jerome Francis Reding                c/o Hall & Ludlam                  Attn: A.J. Reding                             210 Park Ave          Ste. 3001           Oklahoma City   OK      73102
Jerome Francis Reding                c/o Ward & Glass, LLP              Attn: Stanley M Ward                          1601 36th Ave, NW     Ste. 100            Norman          OK      73072
Jerome Francis Reding                                                   PO Box 1242                                                                             Conroe          TX      77305
JEROME G EDWARDS LIVING TRUST                                           15 WOODLAWN DR                                                                          PALM COAST      FL      32164-3114
JEROME H PRALLE                                                         25 YORK MOBILE PLAZA                                                                    YORK            NE      68467
JEROME L & BETTY A KAMINSHINE                                           605 S TIMBERRIDGE DR                                                                    CUSHING         OK      74023-5411
JEROME REDING                                                           PO BOX 1242                                                                             CONROE          TX      77305
JEROME T BAXTER                                                         12500 NW 3RD PL                                                                         YUKON           OK      73099
JERRI ARTHUR                                                            2015 E 92ND                                                                             PERKINS         OK      74059-4292
JERRI LYNN WILSON                                                       7156 N 1980 RD.                                                                         LEEDEY          OK      73654
                                                                                                                      9211 Lake Hefner
Jerry Henderson                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jerry Henderson                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Jerry Henderson                                                         317 NW 144th St                                                                         Edmond          OK      73013
                                                                                                                      9211 Lake Hefner
Jerry A. Fulkerson                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jerry A. Fulkerson                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Jerry A. Fulkerson                                                      4917 N. Garrison Pl                                                                     Tulsa           OK      74126
JERRY ACTON                                                             2906 CR 350                                                                             MONUMENT        KS      67747
JERRY BECHTEL                                                           1532 EAST 9TH ST                                                                        CUSHING         OK      74023
JERRY BERGER                                                            6104 SOUTH COUNTRY CLUB RD                                                              STILLWATER      OK      74074-9190
JERRY BETH GAUTREAUX GST EXEMPTION                                      2933 W HEFNER RD                                                                        OKLAHOMA CITY   OK      73120
JERRY BETHKE                                                            500 PVT RD 1025                                                                         HALLETTSVILLE   TX      77964
JERRY BRIGGS                                                            7300 HUDSON CEMETERY RD                                                                 MANSFIELD       TX      76063
JERRY BRUCE KIME                                                        5911 CANYON CT                                                                          STILLWATER      OK      74075
Jerry Butterbaugh                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Jerry Butterbaugh                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Jerry Butterbaugh                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Jerry Butterbaugh                                                       43136 State Hwy 20                                                                      Fairfax         OK      74637
JERRY C & MARY L BOOTH HWJT                                             PO BOX 654                                                                              CRESCENT        OK      73028
JERRY COMBS                                                             1235 E. 3RD                                                                             CUSHING         OK      74023
JERRY COPELAND                                                          13153 OSTRICH LN                                                                        ARDMORE         OK      73401-9773
                                                                                                                      9211 Lake Hefner
Jerry Cramer                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
Jerry Cramer                         c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles     CA      90017
Jerry Cramer                                                            402 N H St                                                                              Yale            OK      74085
JERRY CRENSHAW                                                          724 S WASHINGTON ST                                                                     STILLWATER      OK      74074
JERRY D ACTON & PATSY                                                   8330 W CR 70                                                                            CRESCENT        OK      73028-9774
JERRY D ROSE AND VIRGINIA F                                             2206 WEST 24TH STREET                                                                   STILLWATER      OK      74074
JERRY D SMITH & SHERIAN                                                 PO BOX 122                                                                              MARSHALL        OK      73056
JERRY D STAHL TRUST                                                     2034 VISTA DEL ROSA                                                                     FULLERTON       CA      92834
                                                                                                                      9211 Lake Hefner
Jerry Don Casey                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120



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                CreditorName                CreditorNoticeName                             Address1                         Address2                 Address3             City   State       Zip      Country
                                      c/o Laminack, Pirtle & Martines,
Jerry Don Casey                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jerry Don Casey                                                          5600 Pate Dr                                                                           Choctaw          OK      73020
JERRY DOUGLAS WARD ESTATE                                                6234 N 12TH PL #4                                                                      PHOENIX          AZ      85014
JERRY DUDEK                                                              3246 W COUNTY RD 67                                                                    MULHALL          OK      73063
JERRY DUNKIN WELL SERVICES INC                                           PO BOX 389                                                                             Enid             OK      73702
JERRY E AND SHERLENE L MCKEE TRUST                                       PO BOX 67                                                                              DOVER            OK      73734-0067
JERRY E WILLIAMS ESTATE                                                  42373 S SPRING VALLEY ROAD                                                             WOODWARD         OK      73801-7402
JERRY ESKEW                                                              3977 HERMOSA DRIVE                                                                     KINGSLAND        TX      78639
JERRY ESTOPINAL                                                          1328 BAYOU ROAD                                                                        ST BERNARD       LA      70085
JERRY EVANS                                                              4219 S HENDERSON ST                                                                    STILLWATER       OK      74074-7203
JERRY FIELD                                                              4802 E 85TH STREET                                                                     TULSA            OK      74137
JERRY FITZPATRICK                                                        1434 W LAS LOMAS ST                                                                    YUMA             AZ      85364
JERRY FRALEY                                                             114 GLENN WAY                                                                          CETRAL POINT     OR      97502
JERRY GAUTREAUX                                                          2933 W HEFNER RD                                                                       OKLAHOMA CITY    OK      73120
JERRY HAAG                                                               1005 SIKES BLVD                                                                        LAKELAND         FL      33815
JERRY HAGG                                                               15355 MASONIC DR                                                                       DEARBORN         MO      64439
JERRY HANSEN                                                             4521 SIERRA LN                                                                         STILLWATER       OK      74074
JERRY HANSEN                                                             209 S 195TH DR                                                                         BUCKEYE          AZ      85326
JERRY HARPER JERRY D HARPER                                              3226 PERLETT DR                                                                        CAMERON PARK     CA      95682-7900
JERRY HASKIN                                                             756 MURNER RD                                                                          GAYLORD          MI      49735-9357
JERRY HENKE                                                              RR 4 BOX 153                                                                           STILLWATER       OK      74960
JERRY HICKMAN                                                            6001 JAMESON                                                                           AMARILLO         TX      79106
JERRY J BUGG TTEE                                                        2968 ROLLING STONE                                                                     OKLAHOMA CITY    OK      73120
JERRY J JOSEPH                                                           514 AMERICAS WAY # 3405                                                                BOX ELDER        SD      57719-7600
JERRY J. WALLER                                                          204 N. BURROW STREET                                                                   GROESBECK        TX      76642
                                                                                                                       9211 Lake Hefner
Jerry J. Ryan                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jerry J. Ryan                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jerry J. Ryan                                                            2513 NW 164th Terr                                                                     Edmond           OK      73013
JERRY JACKSON CONSULTING LLC                                             9021 NW 148TH PL                                                                       YUKON            OK      73099
JERRY JONES                           c/o White Star Petroleum, LLC      510 S Main St                                                                          Leedey           OK      73654

JERRY K VANHOUTEN                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
JERRY KNEELAND                                                           925 PRIMM RD APT 526                                                                   LINCOLN          IL      62656
JERRY KNOTTS                                                             PO BOX 261                                                                             NOWATA           OK      74048
JERRY KRUSHENSKY                                                         PO BOX 81508                                                                           BILLINGS         MT      59108
JERRY L & NORA DARLENE LEMEN TRUST                                       6000 MARTIN PL                                                                         BARTLESVILLE     OK      74006
JERRY L HOLDING REV TRUST                                                205 N OAKWOOD RD                                                                       ENID             OK      73703
JERRY L SILLS REV LVG TRUST                                              949 WYNSTAY CIRCLE                                                                     VALLEY PARK      MO      63088
JERRY LAMBDIN                                                            104 S EDNA DR                                                                          STILLWATER       OK      74075
JERRY LANE                                                               860793 S HIGHWAY 18                                                                    CHANDLER         OK      74834-7735
JERRY LANE                                                               PO BOX 729                                                                             PERKINS          OK      74059-0729
JERRY LOADER                                                             3905 PINE RIDGE RD                                                                     SHAWNEE          OK      74804
JERRY M & EMMA J DALE TRUST                                              5115 S FAIRGROUNDS RD                                                                  STILLWATER       OK      74074
JERRY MARLOW LVG TRUST DTD 12-4-200                                      PO BOX 102294                                                                          DENVER           CO      80250
JERRY MATTHEWS                                                           617 E MAIN                                                                             SHAWNEE          OK      74801
JERRY MICKA                                                              PO BOX 186                                                                             KAMIAH           ID      83536
JERRY MYERS                                                              RT 1, BOX 47                                                                           CAMARGO          OK      73835-9713
JERRY ODEN                                                               6701 N BROADWAY EXT #201                                                               OKLAHOMA CITY    OK      73116-8237
JERRY OSLAND                                                             21785 N HWY 74                                                                         MARSHALL         OK      73056
JERRY PFEIFFER                                                           25497 N PINE                                                                           ORLANDO          OK      73073
JERRY RADER                                                              3121 NW 68TH ST                                                                        OKLAHOMA CITY    OK      73116-3301
JERRY RAMSEY                                                             2275 DECKER ROAD                                                                       WITCHITA FALLS   TX      73610
JERRY ROBERTS                                                            6511 N PARK VIEW LANE                                                                  SPOKANE          WA      99205
JERRY SCOTT                                                              PO BOX 1488                                                                            SEMINOLE         OK      74818-1488
JERRY SLOAN                                                              PO BOX 205                                                                             TRYON            OK      74875-0205
JERRY SORENSEN                                                           PO BOX 768                                                                             KEENE            TX      76059


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JERRY STAPLETON                                                          342163 E HIGHWAY 105                                                                   TRYON              OK      74875-6272
JERRY STEVEN HALE                                                        269 CILLEY HILL ROAD                                                                   JERICHO            VT      05465
JERRY STOLL JR AND PAULA M STOLL JT                                      5623 E 19TH AVE                                                                        STILLWATER         OK      74074
JERRY SUTTONWROS                                                         214 W 29TH AVE                                                                         STILLWATER         OK      74074-6915
JERRY SWEENEY                                                            3718 S MISSON RD                                                                       FALLBROOK          CA      92028
JERRY SYLVESTER                                                          17301 JOHN WAYNE                                                                       PERRY              OK      73077-9343
JERRY TENNYSON                                                           1825 NW 147TH ST                                                                       EDMOND             OK      73013
JERRY UHRIG                                                              3820 SE SHAWNEE HEIGHTS RD                                                             TECUMSEH           KS      66542
JERRY UNDERWOOD                                                          2034 VISTA DEL ROSA                                                                    FULLERTON          CA      92834
JERRY VAN METER                                                          764 PLEASANT VALLEY RD                                                                 MARION             MT      59925
                                                                                                                       9211 Lake Hefner
Jerry Vanbibber                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120

Jerry Vanbibber                       c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Jerry Vanbibber                                                          11020 Davis St                                                                         Oklahoma City      OK      73162
JERRY VANBUSKIRK                                                         7713 LAKE RD                                                                           PONCA CITY         OK      74604
JERRY W & MARY P JONES                                                   PO Box 2640                                                                            MIDLAND            TX      79702
JERRY WADE COOK                                                          4216 S RIVERSHORE DRIVE                                                                MOOREMEAD          MN      56560
JERRY WALLER                                                             306 S 6TH ST                                                                           MARLOW             OK      73055-2638
JERRY WARDEN                                                             708 E 104TH                                                                            PERKINS            OK      74059-4335
JERRY WATERMAN                                                           108 TRAILS END                                                                         HIGHLAND VILLAGE   TX      75077-7253
JERRY WAYHAN                                                             15455 CANTERBURY FOREST DR #130                                                        TOMBALL            TX      77377
JERRY WEBB                                                               15006 MISER RD                                                                         PEA RIDGE          AR      72751
JERRY WELCH                                                              4651 HWY 105                                                                           GUTHRIE            OK      73044
JERRY WRIGHT                                                             PO BOX 364                                                                             SIMONTON           TX      77476-0364
                                                                                                                       9211 Lake Hefner
Jerry Calhoun                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jerry Calhoun                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Jerry Calhoun                                                            3508 Brownwood Lane                                                                    Edmond             OK      73034
                                                                                                                       9211 Lake Hefner
Jerry Cawhorn                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jerry Cawhorn                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Jerry Cawhorn                                                            452961 E 1030 Rd                                                                       Prague             OK      74864
                                                                                                                       9211 Lake Hefner
Jerry McGee                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jerry McGee                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Jerry McGee                                                              2617 Amber St                                                                          Moore              OK      73160
JESS HARRIS III                                                          13124 N MACARTHUR BLVD                                                                 OKLAHOMA CITY      OK      73142
JESS LATHAM                                                              PO BOX 2821                                                                            AMARILLO           TX      79105
JESSAMINE CHASE ESTATE                                                   3033 W WILSHIRE BLVD                                                                   OKLAHOMA CITY      OK      73116-3129
JESSE BALDERSON                                                          3405 N MAJOR RD                                                                        ORLANDO            OK      73073
JESSE BOURGOYNE                                                          8016 KINGSLEY DR                                                                       DENHAM SPRINGS     LA      70706-0515
JESSE BRANHAM                                                            464720 E 1020 RD                                                                       SALLISAW           OK      74955
JESSE BROOKSHIER                                                         1919 PRAIRIE GRASS DR                                                                  RAYMORE            MO      64083
JESSE BUTTS                                                              8604 NW 155TH PL                                                                       EDMOND             OK      73013-9058
JESSE DORMAN RODGERS                                                     740905 S 3450 RD                                                                       AGRA               OK      74824-6388
JESSE G HEINLE                                                           903 S 85TH AVENUE                                                                      YAKIMA             WA      98908
JESSE HELLER                                                             401 GOLF VIEW DR                                                                       MEDFORD            OR      97509
JESSE JAMES                                                              122 E PARK PLAZA DR                                                                    STROUD             OK      74079-2034
JESSE MCCABE                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
                                                                                                                       9211 Lake Hefner
Jesse Mosley                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120

Jesse Mosley                          c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Jesse Mosley                                                             4913 Oak Manor Terr                                                                    Oklahoma City      OK      73135
JESSE PEREZ MENDEZ & JEANETTE M                                          3503 S WESTERN ROAD                                                                    STILLWATER         OK      74074


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JESSE PHILLIPS                                                           303 S PINE                                                                             GUTHRIE             OK      73044
JESSE RELKIN                                                             1356 PALMETTO ST                                                                       CLEARWATER          FL      33755-5055
JESSE ROSS                                                               9100 E LAKEVEW                                                                         STILLWATER          OK      74075
JESSE S ROSS & CAROL J ROSS TTEES                                        9100 E LAKEVEW                                                                         STILLWATER          OK      74075
                                                                                                                       9211 Lake Hefner
Jesse Smith                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jesse Smith                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
JESSE SMITH                                                              7909 WESTWOOD LN                                                                       OKLAHOMA CITY       OK      73169-1437
Jesse Smith                                                              3305 S. 93rd E. Ave.                                                                   Tulsa               OK      74145
JESSE SPAULDING                                                          4454 E CR 65                                                                           MULHALL             OK      73063
JESSE TAPP                                                               PO BOX 5996                                                                            ENID                OK      73702
JESSE W RAY                                                              PO BOX 143                                                                             MARSHALL            OK      73056
                                                                                                                       9211 Lake Hefner
Jesse Tischauser                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jesse Tischauser                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Jesse Tischauser                                                         2000 N Sooner Rd                                                                       Guthrie             OK      73034
JESSICA GARRETT                                                          3030 MCKINNEY AVE APT 406                                                              DALLAS              TX      75204
JESSICA JEROME                                                           26731 HOMEDALE RD                                                                      WILDER              ID      83676
JESSICA LYNN AGUILAR                                                     1705 NORTH DESERT PALM AVE                                                             BROKEN ARROW        OK      74012
JESSICA MACBETH                                                          3003 CAPE GEORGE RD                                                                    PORT TOWNSEND       WA      98368-9814
JESSICA MALLOW                                                           326 SAVAGE ST                                                                          ALAMOSA             CO      81101
JESSICA MCHARGUE                                                         PO BOX 24                                                                              CRESCENT            OK      73028
JESSICA MEYER                                                            4365 W CURTICE DR                                                                      BATTLEFIELD         MO      65619
JESSICA MOORE                                                            14871 HEATHER GLEN DR #93                                                              OREGON CITY         OR      97045
JESSICA NELSON                                                           14548 N PENNSYLVANIA AVE APT 104                                                       OKLAHOMA CITY       OK      73134-6139
JESSICA NIDA WRIGHT TRUST                                                6573 TERRACE DR                                                                        THE COLONY          TX      75056
JESSICA PETERSON                                                         500 CENTRAL PARK DRIVE #3324                                                           OKLAHOMA CITY       OK      73105
JESSICA RYAN TODD                                                        920250 S. 3350 ROAD                                                                    WELLSTON            OK      74881
JESSIE BARTHOLOMEW                                                       847 HILLCREST AVE                                                                      GRIFFIN             GA      30223
JESSIE BLEVINS CRUMP FAMILY TRUST                                        PO BOX 840738                                                                          DALLAS              TX      75284-0738
JESSIE F MURPHREE TTEE                                                   1202 TIMBERCREEK DR                                                                    DUNCAN              OK      73533
JESSIE JORGENSEN                                                         PO BOX W1                                                                              CARMEL BY THE SEA   CA      93921
JESSIE L RATHBUN LVG TR                                                  222 W SHELL ST                                                                         GLENCOE             OK      74032

JESUS FRANCISCO MORALES & DOLORES E                                      900 NE 410 D-119                                                                       SAN ANTONIO         TX      78209
JESUS RODRIQUEZ                                                          3601 W SALTER DR                                                                       GLENDALE            AZ      85308
JET SPECIALTY INC                                                        PO BOX 678286                                                                          DALLAS              TX      75267-8286
JETTA-X2 LP A TEXAS LP                                                   PO BOX 164009                                                                          FORT WORTH          TX      76161
JETTIE E MAXWELL LIVING TRUST                                            4516 BOB WHITE                                                                         EDMOND              OK      73034-9022
JEWEL HARM                                                               PO BOX 9194                                                                            PUEBLO              CO      81008-0194
JEWEL HARM LE                                                            PO BOX 9194                                                                            PUEBLO              CO      81008
JEWEL MCGETTRICK                                                         3201 E US HIGHWAY 70, # 58                                                             SAFFORD             AZ      85546-9573
JEWELL BAILEY                                                            7601 GREEN MEADOW LN                                                                   OKLAHOMA CITY       OK      73132
JEWELL BRUNDAGE                                                          1110 SHERWOOD LANE                                                                     OKLAHOMA CITY       OK      73116
JEWELL CHOATE HARMON                                                     PO BOX 227                                                                             BRISTOW             OK      74010
JF ENERGY LLC                                                            200 PARK AVE STE 5800                                                                  NEW YORK            NY      10166
JFB JR TRUST HOLDINGS LLC                                                16411 DIAMOND PLACE                                                                    WESTON              FL      33331
JFC MINERALS LLC                                                         PO BOX 18735                                                                           OKLAHOMA CITY       OK      73154
JFH INVESTMENT PROPERTIES LLC                                            125 N MARKET #1415                                                                     WICHITA             KS      67202
JG INTERESTS LLC                                                         PO Box 925                                                                             HOUSTON             TX      77001-0925
JGILLES LLC                                                              1121 W WARNER RD, SUITE 109                                                            TEMPE               AZ      85284
JHAFT LLC                                                                PO BOX 1747                                                                            STILLWATER          OK      74076
JHALP OIL & GAS LLC                                                      44597 FLAUHAUS RIDGE RD                                                                WOODSFIELD          OH      43793

JHD OIL AND GAS LLC                                                      301 EAST LAS OLAS BLVD., SUITE 800                                                     FORT LAUDERDALE     FL      33301
JHSW INVESTMENTS LLC                                                     20216 W 80TH ST                                                                        MULHALL             OK      73063
JICA, LLC                                                                PO Box 2640                                                                            MIDLAND             TX      79702


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JIL FISCHER                                                             1901 NE 137TH ST                                                                        SEATTLE         WA      98125
JILL A ROBERTS REV TRUST                                                PO BOX 99084                                                                            FORT WORTH      TX      76199
JILL CAMDEN                                                             PO BOX 12                                                                               KENNARD         NE      68034-0012
JILL CURRIE                                                             4500 COUNTRY RD 1100                                                                    GRANDVIEW       TX      76050
JILL ELIZABETH OTIS                                                     23028 ARLINGTON AVE, APT 3                                                              TORRANCE        CA      90501
JILL GOTCHER                                                            1601 E COMANCHE AVE                                                                     MCALESTER       OK      74501-6039
JILL HOPFER                                                             106 APPLE RIDGE RD                                                                      CRESCENT        OK      73028
JILL HOYT                                                               2224 S BOSTON #136                                                                      TULSA           OK      74114
JILL MERTENA ELLENDER                                                   4276 HOLLY HILL CT                                                                      LAKE CHARLES    LA      70605
JILL PEARSON                                                            270 PEACH TREE LN                                                                       GARDNER         KS      66030
JILL PORTER                                                             2841 CHANCEL LN                                                                         HENRICO         VA      23233
JILL TODD                                                               PO BOX 528                                                                              CUSHING         OK      74023-0528
JIM AND PATRICIA PAYNE                                                  8 SABINE PLACE                                                                          BURNEYVILLE     OK      73430
JIM AND SYLVIA STANLEY                                                  14830 BRISTOL PARK BLVD                                                                 EDMOND          OK      73013
JIM BASS FORD                                                           4062 ARDEN RD                                                                           SAN ANGELO      TX      76901
JIM BERGER                                                              PO Box 891                                                                              HOLLISTER       MO      65673
JIM BUCCI                                                               7690 CROCKETT LN                                                                        EDMOND          OK      73034-9522
JIM D BLASER REVOCABLE TRUST                                            PO BOX 67                                                                               GARBER          OK      73738
JIM DALE                                                                PO BOX 322                                                                              RIPLEY          OK      74062-0322
                                                                                                                      9211 Lake Hefner
Jim E. Bean                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jim E. Bean                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Jim E. Bean                                                             15150 Land of Faith Rd                                                                  Crescent        OK      73028
JIM EDWARD KLUGE                                                        PO BOX 338                                                                              PARAGOULD       AR      72451-0338
JIM FICK                                                                11426 GALLANT RIDGE LN                                                                  HOUSTON         TX      77082-6817
JIM FOSTER                                                              10315 N COUNTY ROAD 15                                                                  FORT COLLINS    CO      80524-8733
JIM GOFORTH                                                             10020 S BRUSH CREEK RD                                                                  PERKINS         OK      74059-4361
JIM HARVEY                                                              2609 W SOUTHERN AVE LOT 129                                                             TEMPE           AZ      85282
JIM HAZELBAKER                                                          4056 NW 62ND TERRANCE                                                                   OKLAHOMA CITY   OK      73112
JIM HODGE                                                               503 PAVER COURT                                                                         BENTON CITY     WA      99320
JIM HUGHEY                                                              302 S TERRILL DR                                                                        STILLWATER      OK      74075
JIM HUSTON IRREV TR                                                     214 N 19th STREET                                                                       ENID            OK      73701
JIM L & JANELLE L ARTHUR REV TRUST                                      3004 E AIRPORT RD                                                                       STILLWATER      OK      74075
JIM L & SHIRLEY F ROE                                                   1200 S KINGS HWY                                                                        CUSHING         OK      74023-4864
JIM L POSTON                                                            BOX 642 ROWLINGS ROAD                                                                   LIBBY           MT      59923
JIM LEMMONS                                                             2337 WESTLAWN                                                                           OKLAHOMA CITY   OK      73112
JIM LINVILLE                                                            6701 FOREST CREEK DR                                                                    EDMOND          OK      73034-1417
JIM NEWKUMET                                                            PO BOX 720118                                                                           OKLAHOMA CITY   OK      73172-0118
JIM NIX                                                                 6602 NW 33RD ST                                                                         BETHANY         OK      73008
JIM OSBORNE                                                             506 South Sandy                                                                         Chandler        OK      74834
JIM OUIMENT JAMES L OUIMENT                                             PO BOX 1249                                                                             RED OAK         TX      75154-1249
JIM PERDUE                                                              PO BOX 772                                                                              OKARCHE         OK      73762-0772
JIM REED                                                                7245 E VERDIGRIS DR                                                                     CLAREMORE       OK      74017
Jim Reherman                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Jim Reherman                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Jim Reherman                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Jim Reherman                                                            106 Hat Creek Crossing                                                                  Stillwater      OK      74074
JIM RIDDLE                                                              140 VIRGINIA WAY                                                                        SEARCY          AR      72143
JIM SCHOVANEC                                                           PO BOX 941                                                                              PERRY           OK      73077
                                                                                                                      9211 Lake Hefner
Jim Flowers Sr.                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jim Flowers Sr.                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Jim Flowers Sr.                                                         7016 Landing Road                                                                       Oklahoma City   OK      73132
                                                                                                                      9211 Lake Hefner
Jim Tatum                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Jim Tatum                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006


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Jim Tatum                                                                     2675 Davis Rd                                                                           Guthrie             OK    73034
JIMMIE CHOPLIN                                                                PO BOX 150                                                                              GLENCOE             OK    74032
JIMMIE COMBS                                                                  341875 GOLFVIEW DR                                                                      CHANDLER            OK    74834-6640

JIMMIE D & LOIS E LANE REVOCABLE TRUST D                                      3016 S AGRA RD                                                                          AGRA                OK    74824-6202
JIMMIE DEAN WALKER FAMILY TRUST                                               PO BOX 937                                                                              PERKINS             OK    74059-0937
                                                                                                                            9211 Lake Hefner
Jimmie Elaine Rebrey                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK    73120
                                           c/o Laminack, Pirtle & Martines,
Jimmie Elaine Rebrey                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX    77006
Jimmie Elaine Rebrey                                                          9301 E. 112th St South                                                                  Bixby               OK    74008
JIMMIE GREEN                                                                  18526 E 700 RD                                                                          DOVER               OK    73734-3429
JIMMIE HALL                                                                   1119 W LOGAN                                                                            GUTHRIE             OK    73533
JIMMIE HOGREFE                                                                748 E CHERRY ST                                                                         CUSHING             OK    74023-4046
                                                                                                                            9211 Lake Hefner
Jimmie L. Cramer                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK    73120
                                           c/o Laminack, Pirtle & Martines,
Jimmie L. Cramer                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX    77006
Jimmie L. Cramer                                                              5803 N. Mt Vernon                                                                       Cushing             OK    74023
JIMMIE LUCHT                                                                  38777 MORNINGSTAR RD NE                                                                 ALBANY              OR    97321-9563
JIMMIE M & PAULA J MARTIN HW JTS                                              300 COLBY LANCE ST                                                                      STILLWATER          OK    74074
JIMMIE PATTERSON                                                              409 N PARK ST                                                                           GUTHRIE             OK    73044
JIMMIE PATTERSON                                                              409 N PARK                                                                              GUTHRIE             OK    73044
JIMMIE PAULEY                                                                 109 E MAIN                                                                              RIPLEY              OK    74062-2009
JIMMIE PETERSON                                                               PO BOX 1338                                                                             GOLIAD              TX    77963
JIMMIE TERREL                                                                 855 S BEVERLY DR                                                                        WICHITA             KS    67218
JIMMY A MARTIN                                                                9801 GRANDVIEW DR                                                                       DENTON              TX    76207
JIMMY ARB                                                                     104 W 18TH STREET                                                                       OWASSO              OK    74055
JIMMY BERGER                                                                  PO BOX 891                                                                              HOLLISTER           MO    65673
JIMMY BLACKBURN                                                               11821 BLUE HAVEN CT                                                                     OKLAHOMA CITY       OK    73162-1075
JIMMY BROWN                                                                   9 TURQUOISE WAY                                                                         SAN FRANCISCO       CA    94131-1637
JIMMY CAMREN                                                                  790785 S 3430 RD                                                                        TRYON               OK    74875-6828
JIMMY D TAYLOR                                                                PO BOX 48653                                                                            WATAUGA             TX    76148
Jimmy Edens                                c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX    75070
Jimmy Edens                                c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa               OK    74104
Jimmy Edens                                c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY    10017
Jimmy Edens                                                                   83 County Road 3587                                                                     Pawhuska            OK    74056
JIMMY EMMONS                                                                  PO BOX 56                                                                               LEEDEY              OK    73654

JIMMY F HOWARD AND FREDA HOWARD HUS                                           PO BOX 156                                                                              TRYON               OK    74875
JIMMY FARRIS                                                                  415 N. WATAN AVENUE                                                                     COLONY              OK    73021
JIMMY GARDNER                                                                 5124 RED RIVER DR                                                                       ARLINGTON           TX    76017
JIMMY I & SANDRA M WARD TRUST                                                 128 W JEWELL AVE                                                                        SALINA              KS    67401-6128
JIMMY JOHNSON                                                                 7724 ONTARIO WAY                                                                        OKLAHOMA CITY       OK    73139-4613
JIMMY L NOYES                                                                 1612 MOHAWK TRAIL                                                                       DALHART             TX    79022
JIMMY LEE HARRIS                                                              1913 E LONE WOLF AVENUE                                                                 STILLWATER          OK    74075
JIMMY LONGFELLOW                                                              PO BOX 1095                                                                             BLACK CANYON CITY   AZ    85324-1095
JIMMY MILHOAN                                                                 4608 DEER CREEK CT                                                                      YUKON               OK    73099-3101
JIMMY NAGEL                                                                   5101 W 37TH ST                                                                          SIOUX FALLS         SD    57106
JIMMY PENNY                                                                   320 CRYSTAL VIEW                                                                        VAN BUREN           AR    72956
JIMMY PENNY                                                                   320 CRYSTAL VW                                                                          VAN BUREN           AR    72956-8985
JIMMY SEARS                                                                   16608 W 20TH ST LOT 29                                                                  SAND SPRINGS        OK    74063
JIMMY TANNER                                                                  20 SUNNY LANE                                                                           STILLWATER          OK    74075
JIMMY WHITE                                                                   PO BOX 135                                                                              MULHALL             OK    73063
JIMMY WILSON AND CHRISTENE WILSON                                             79250 N 2060 RD                                                                         LEEDEY              OK    73654-6215
JIMMY ZICKEFOOSE                                                              2702 DICKENS DR                                                                         COLORADO SPRINGS    CO    80916-3359
                                                                                                                            9211 Lake Hefner
Jimmy Cannon                               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK    73120



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               CreditorName                 CreditorNoticeName                             Address1                         Address2                 Address3             City   State       Zip      Country
                                      c/o Laminack, Pirtle & Martines,
Jimmy Cannon                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jimmy Cannon                                                             5905 S. Ventura Dr                                                                     Oklahoma City    OK      73135
                                                                                                                       9211 Lake Hefner
Jimmy Coker                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jimmy Coker                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Jimmy Coker                                                              350240 E. 1030 Rd                                                                      Prague           OK      74864
JIMS WATER SERVICE INC                                                   PO BOX 2290                                                                            GILLETTE         WY      82717-2290
JINETT J & FRANCISCO BENNETT WH JTS                                      819 S JARDOT ROAD                                                                      STILLWATER       OK      74074
JINX BUTLER TRUST                                                        935 SWARTZ RD                                                                          LAS CRUCES       AZ      88007
JIREH RESOURCES LLC                                                      2448 EAST 81ST ST. SUITE 4960                                                          TULSA            OK      74137
JJ OIL LLC                                                               32801 STATE ROUTE 565                                                                  LOWER SALEM      OH      45745
JJ SIMONSEN                                                              2800 SPYGLASS HILL RD                                                                  EDMOND           OK      73034-8344
JJR ACQUISITIONS LLC                                                     PO BOX 5085                                                                            NORMAN           OK      73070
JK PETROLEUM LLC                                                         PO BOX 42044                                                                           OKLAHOMA CITY    OK      73123
JKP STAFFING & SEARCH                                                    7030 SOUTH VALE, SUITE 504                                                             TULSA            OK      74136
JKS & ASSOCIATES                                                         112 LORAINE SOUTH SUITE 101                                                            MIDLAND          TX      79701-5258
JLRDGR PROPERTIES LLC JERRY L RYAN                                       16 E SUMMER STORM CIR                                                                  THE WOODLANDS    TX      77381
J-M PRODUCTION COMPANY                                                   16825 NORTHCASE DR STE 370                                                             HOUSTON          TX      77060
JM TEST SYSTEMS INC                                                      PO BOX 45489                                                                           BATON ROUGE      LA      70895
JMA ENERGY COMPANY LLC (CARRIED)                                         1021 NW GRAND BLVD                                                                     OKLAHOMA CITY    OK      73118
JMA Energy Company, LLC
JMA Energy Company, LLC                                                  1021 NW Grand Blvd                                                                     Oklahoma City    OK      73118
JMG 1 LP                                                                 1716 N HUSBAND                                                                         STILLWATER       OK      74075
JMM MINERALS LLC                                                         3696 WISNER HWY                                                                        ADRIAN           MI      49221-9232
JMW ENTERPRISES LLC                                                      PO BOX 10400                                                                           ALBUQUERQUE      NM      87184
JND TRUST                                                                3415 TIMBERLAKE DR                                                                     STILLWATER       OK      74075
JO ALICE SCALETTA                                                        PO BOX 1603                                                                            MINNEOLA         FL      34755
JO ANN B KAMP                                                            9109 NW 101ST                                                                          YUKON            OK      73099
JO ANNA WILLIAMS                                                         42343 SANDY SPRING VALLEY                                                              WOODWARD         OK      73801
JO BROWN                                                                 PO BOX 971                                                                             OZARK            MO      65721
JO BYE                                                                   2550 S. CARLSBAD CIRCLE                                                                WICHITA          KS      67215
JO C GOLDEN REVOCABLE TRUST                                              16504 N PENNSYLVANIA AVE                                                               EDMOND           OK      73012
JO DOLEZAL LIVESAY                                                       PO BOX 45987                                                                           OKLAHOMA CITY    OK      73145
JO DUNHAM                                                                1600 CHARLES AVENUE                                                                    WORLAND          WY      82401
JO ELLEN LYONS                                                           16503 BLACK KETTLE DR                                                                  LEANDER          TX      78641-3055
JO FERGUSON                                                              815 IOWA AVE                                                                           YORK             NE      68467-2523
JO KINZIE                                                                PO BOX 393                                                                             PERKINS          OK      74059
JO LAVERNE ANDERSON 1992 REV TR                                          PO BOX 472                                                                             CRESCENT         OK      73028
JO LIETZ                                                                 205 TOWER RD                                                                           CASTLE ROCK      WA      98611
JO LIETZ                                                                 39 POMMIER LN                                                                          GARVIN           MN      56132-9773
JO LYNN SCHWEIKHART LVG TR                                               10025 S SOONER RD                                                                      OKLAHOMA CITY    OK      73165
JO LYNN SMITH                                                            4348 MISSION RD, APT 4                                                                 KANSAS CITY      KS      66103
JO LYONS                                                                 16503 BLACK KETTLE DR                                                                  LEANDER          TX      78641-3055
JO NELL LOCKWOOD                                                         PO BOX 76                                                                              PERKINS          OK      74059
JO SAVAGE                                                                4011 E EVERGLADE AVE                                                                   ODESSA           TX      79762
JO WATTERS                                                               PO BOX 70                                                                              LUTHER           OK      73054
JO WILLIAMS                                                              42373 S. SPRING VALLEY ROAD                                                            WOODWARD         OK      73801-7402
JOALICE FREEMAN                                                          PO BOX 531                                                                             LANDER           WY      82520
JOAN A. THOMPSON                                                         402 FAIRWAY DRIVE                                                                      PERKINS          OK      74059
JOAN ADKINS LIFE ESTATE                                                  7309 N EASON RD                                                                        GARBER           OK      73738-0227
JOAN AHRENS                                                              5131 E 30TH PL                                                                         TULSA            OK      74114-6311
JOAN BATCHELOR                                                           3915 HIGHPINES DR                                                                      HOUSTON          TX      77068
JOAN BOTTS                                                               182 FRIENDLY OAKS DR                                                                   BRUCEVILLE       TX      76630
JOAN BROOKSHIRE                                                          PO BOX 306                                                                             LEADVILLE        CO      80461
JOAN BROOME                                                              7753 US HWY 33E                                                                        GLENVILLE        WV      26351
JOAN CALKINS                                                             ROUTE 2, BOX 56                                                                        TALOGA           OK      73667



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                                                                                                                       9211 Lake Hefner
Joan Carr                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Joan Carr                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX      77006
Joan Carr                                                                3814 S. 142nd East Ave                                                                  Tulsa               OK      74134
JOAN CHAIN                                                               2515 NW 19TH ST                                                                         OKLAHOMA CITY       OK      73107-3938
JOAN CURTIS                                                              701 QUAIL CREEK                                                                         PERRY               OK      73077
JOAN CUSACK                                                              145 CRESENT AVENUE                                                                      VALLEY PARK         MO      63088
JOAN D AND RICHARD D VEAL TRUST                                          PO BOX 6900                                                                             EDMOND              OK      73083
JOAN D VEAL 1997 REV TR                                                  PO BOX 6900                                                                             EDMOND              OK      73083
JOAN D VEAL 1997 REV TR AND RICHARD                                      PO BOX 6900                                                                             EDMOND              OK      73083-6900
JOAN D VEAL 1997 REV TRUST                                               PO BOX 6900                                                                             EDMOND              OK      73083
JOAN D VEAL 1997 REV TRUST &                                             PO BOX 6900                                                                             EDMOND              OK      73083
JOAN D VEAL 1997 REVOCABLE TRUST &                                       PO BOX 6900                                                                             EDMOND              OK      73083
JOAN DANIEL                                                              1011 HOUSTON ST                                                                         MUSKOGEE            OK      74403-3437
JOAN EDWARDS                                                             14469 CAMBRIA TERRACE                                                                   OREGON CITY         OR      97045-9070
JOAN F BAMBERGER LIVING TRUST                                            1431 RAYBURN                                                                            RENO                NV      89503
JOAN GALLAGHER                                                           2545 BEVERLY AVEAPT A                                                                   SANTA MONICA        CA      90405
JOAN GANDEE                                                              2310 SUSSEX LANE                                                                        COLORADO SPRINGS    CO      80909
JOAN GINN                                                                8018 DOWNINGTON CT                                                                      SPRING              TX      77379
JOAN GODLOVE                                                             3179 S MADISON                                                                          TULSA               OK      74105

JOAN GRAVITT                                                             5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY            TX      75070
JOAN GRAY                                                                5531 RIVERTREE LN                                                                       SPRING              TX      77379-6056
JOAN HOLDERREAD REV TRUST                                                5500 W GRANDSTAFF                                                                       CUSHING             OK      74023-6602
Joan Jeanmard                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX      75070
Joan Jeanmard                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa               OK      74104
Joan Jeanmard                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY      10017
Joan Jeanmard                                                            2121 W Haskell St                                                                       Tulsa               OK      74127
JOAN JENNELLE                                                            10429 NETTIE ST                                                                         FORT WORTH          TX      76244
JOAN JONES                                                               PO BOX 473                                                                              CRESCENT            OK      73028-0473
JOAN M HANKS IRREV TRST                                                  4700 WEST HANOVER AVE                                                                   TULSA               OK      75209
JOAN M MCFARLAND REV TRUST                                               PO BOX 1489                                                                             BETHANY             OK      73008-1489
JOAN MARKWELL                                                            1249 E 33RD                                                                             EDMOND              OK      73013
JOAN MATTHEWS                                                            8580 WOODWAY DR APT 3303                                                                HOUSTON             TX      77063-2481
JOAN MCCLENDON                                                           1725 E PINE GROVE RD                                                                    ATOKA               OK      74525
JOAN MILLER                                                              202 S MAIN ST # 25                                                                      NAZARETH            PA      18064-2708
JOAN NOREGAARD                                                           11090 NEPTUNE WAY                                                                       NEHALEM             OR      97131
JOAN NOREGAARD                                                           34035 PINTAIL AVE                                                                       NEHALEM             OR      97131
JOAN RUBENSTEIN                                                          116 SILVER FOX CT                                                                       GREENWOOD VILLAGE   CO      80121-2123
JOAN RULE                                                                17102 267 DR APT 7                                                                      MONROE              WA      98272-8968
JOAN SCHROEDER                                                           390 RIVERSIDE DR APT 6B                                                                 NEW YORK            NY      10025
JOAN SHERWOOD                                                            2802 W 18TH AVE                                                                         STILLWATER          OK      74074
JOAN SQUIRES                                                             99 MOUNTAIN OAK DRIVE                                                                   BAYFIELD            CO      81122
JOAN STINNETT                                                            1208 BIRCH ST                                                                           HURST               TX      76053
JOAN STOVALL                                                             6510 S MEMORIAL DR UNIT D                                                               TULSA               OK      74133
JOAN THIELE MILLER LE                                                    15702 HARVEST RD                                                                        PERRY               OK      73077
JOAN WENZEL REVOCABLE TRUST                                              PO BOX 110                                                                              LESTER              IA      51242
JOAN YOST CARR                                                           1831 DAYTON AVE                                                                         DIANAPOLIS          IN      46203-3524
JOANN F PACE LIVING TRUST                                                4909 W BROADLAWN LN                                                                     OKLAHOMA CITY       OK      73122
JOANN GANN                                                               5103 S SHRANK AVE                                                                       INDEPENDENCE        MO      64055-6378
JOANN HOULDSON                                                           101 BALSAM WAY                                                                          BODFISH             CA      93205
JOANN LEWINSOHN REVOCABLE TRUST                                          2816 P STREET NW                                                                        WASHINGTON          DC      20007
JOANN MCDOWELL                                                           6925 WALKER AVE                                                                         BELL                CA      90201
JOANN MURRAY REVOCABLE TRUST                                             4507 S IRVINGTON AVE                                                                    TULSA               OK      74135-6526
JOANN RICKS                                                              546 CYPRESS AVE                                                                         SAN JOSE            CA      95117
JOANN SUMRALL                                                            6009 SE 88TH ST                                                                         OKLAHOMA CITY       OK      73135-6099
JOANN SUPPES                                                             2400 CARLMONT DR., APT. 110W                                                            BELMONT             CA      94002



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                                                                                                                       9211 Lake Hefner
Joann Simpson                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Joann Simpson                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Joann Simpson                                                            8913 N. Midwest Blvd                                                                   Jones            OK      73049
JOANNA BARTOW                                                            PO BOX 1811                                                                            LEONARDTOWN      MD      20650-1811
JOANNA BATES                                                             2185 WOOD HOLLOW                                                                       DENTON           TX      76208
JOANNA BENDELL                                                           PO BOX 1641                                                                            WICHITA          KS      67201-1641
JOANNA CHAMPLIN                                                          201 PENSACOLA BEACH RD D26                                                             GULF BREEZE      FL      32561
JOANNA JACOBS                                                            220 SHEFFIELD RD                                                                       JACKSONVILLE     NC      28546-8430
JOANNA MONACO                                                            6671 BRISTLE CONE ST                                                                   LOLO             MT      59847
JOANNA PATTON                                                            8802 E WOODCREST CIR                                                                   WICHITA          KS      67206
JOANNA ROLEN                                                             2213 MICARTA DR                                                                        PLANO            TX      75025
JOANNA SCHOTT                                                            4301 E YUCCA ST                                                                        PHOENIX          AZ      85028-2925
JOANNE BOOZER                                                            PO BOX 70759                                                                           BAKERSFIELD      CA      93387

JOANNE BRYAN SMITH TESTAMENTARY TRU                                      3323 S WHEELING AVE                                                                    TULSA            OK      74105-2745
JOANNE GILLESPIE REV LVG TR                                              1311 S HOUSTON AVE                                                                     TULSA            OK      74127
JOANNE KING WILLIAMS                                                     5734 HESPER RD                                                                         BILLINGS         MT      59106-3234
JOANNE KLOPP                                                             216 MERION DRIVE                                                                       AUSTIN           TX      78737-4726
JOANNE LEWIS                                                             1111 MAIN STREET                                                                       HOPE VALLEY      RI      02832
JOANNE M SNIDER GURGANUS                                                 3623 NORTH ST                                                                          CHESTER          VA      23831-7229
JOANNE MARREN                                                            1528 SE 17TH AVE                                                                       OCALA            FL      34471
JOANNE MARTIN                                                            605 TRAWICK ROAD                                                                       DOTHAN           AL      36305
JOANNE MCDONNELL                                                         2718 NE 45TH ST                                                                        KANSAS CITY      MO      64117-1116
JOANNE THOMSON                                                           975 D STREET                                                                           BAKER CITY       OR      97814-2238
JOANNE THORMAN                                                           24862 EATON LN                                                                         LAGUNA NIGUEL    CA      92677
JOAYN LANDY                                                              65 SHADOW BROOK EST                                                                    SOUTH HADLEY     MA      01075-2675
JOBE ANDERSON                                                            29978 FERN LN                                                                          WILDER           ID      83676
JOBES FAMILY TRUST                                                       2715 W YOST RD                                                                         STILLWATER       OK      74075
JOCELYN HANSEN                                                           9713 S 99TH E AVE                                                                      TULSA            OK      74133
JOCILLE HOFFMAN TTEE OF JOYCILLE HO                                      3016 N ROSE RD                                                                         STILLWATER       OK      74075
JODENE KRUSE                                                             934 6TH ST                                                                             SIBLEY           IA      51249
JODI CLINE                                                               PO BOX 343                                                                             PONCA CITY       OK      74602
JODI POORE                                                               6303 CRAIGWAY RD                                                                       SPRING           TX      77389
JODI R CLINE TRUST                                                       PO BOX 343                                                                             PONCA CITY       OK      74602
JODI SANDERS                                                             18800 DEER RIDGE                                                                       STILLWATER       OK      74075
JODIE BALDERSON                                                          335497 E 760 RD                                                                        TRYON            OK      74875
JODIE C ARMSTRONG REVOCABLE TRUST                                        7405 E YOST RD                                                                         GLENCOE          OK      74032
JODY DUNLAP                                                              171 N CARLYLE AV                                                                       TYLER            TX      75072
JODY E YOUNG TRUST                                                       61 DEVON DR                                                                            PINEHURST        NC      28374
JODY FRANKLIN MCKEE                                                      3220 SPANISH OAK DR                                                                    FT WORTH         TX      76109
JODY WILLIAMS                                                            PO BOX 123                                                                             RIPLEY           OK      74062-0123
JOE & GLENDA LEDGERWOOD REV TRUST                                        1801 NW 175TH STREET                                                                   EDMOND           OK      73012-6958
JOE & HELEN MCFADDEN TRUST                                               7613 NW 24TH ST                                                                        BETHANY          OK      73008-4907
JOE A & DELLA K GITGOOD REV LVG TR                                       1451 S POST RD                                                                         GUTHRIE          OK      73044
JOE A AND BRENDA L PEAK                                                  234 W 13TH STREET                                                                      TULSA            OK      74119-3026
JOE ALLEN BURRIS                                                         411 NW CHIMNEY CREEK DRIVE                                                             LAWTON           OK      73505
JOE ANN R COX                                                            145 BEAU VISTA DR                                                                      NATCHITOCHES     LA      71457
JOE B FRANKLIN                                                           4026 CALLE SONORA ESTE #2B                                                             LAGUNA WOODS     CA      92637
JOE BARNARD                                                              11601 S ANDERSON RD                                                                    GUTHRIE          OK      73044
JOE BECKER                                                               2009 MCGREGOR DR                                                                       RANCHO CORDOVA   CA      95670
JOE BERRY                                                                2005 W 3RD AVE                                                                         STILLWATER       OK      74074-2804
JOE BRENTLINGER                                                          6424 W SIMMONS RD                                                                      EDMOND           OK      73025
JOE BROOME                                                               14218 LAKEWOOD FOREST DR                                                               HOUSTON          TX      77070-2507
JOE CALVIN CHAMBLEE                                                      3308 East 3rd Avenue                                                                   STILLWATER       OK      74074
JOE CARMICHAEL                                                           365 CANYON OAKS DR                                                                     ARGYLE           TX      76226
JOE COLPITT                                                              PO BOX 28                                                                              COLLINSVILLE     OK      74021-0028
JOE CRAIG                                                                17517 EGRETS LDG                                                                       EDMOND           OK      73012-0604


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JOE CROMER                                                               PO BOX 114                                                                             MARSHALL         OK    73056-0114
JOE DALE ANDERSON                                                        ADDRESS REDACTED
JOE FARRIS AND SUE ELLEN FARRIS HW                                       ROUTE 2 BOX 56-A                                                                       TALOGA           OK    73667
JOE FITZPATRICK                                                          1203 N EXPRESSWAY 77 #555                                                              HARLINGEN        TX    78552
JOE FLEMINGS                                                             2350 N 180 RD                                                                          MOUNDS           OK    74047
JOE FORD                                                                 13483 W BENTON RD                                                                      TAHLEQUAH        OK    74464
JOE FRYE                                                                 1104 S CARRIER PKWY APT C302                                                           GRAND PRAIRIE    TX    75051-0913
JOE G DILLINGHAM AND                                                     5105 S WESTERN RD                                                                      STILLWATER       OK    74074
                                                                                                                       9211 Lake Hefner
Joe Gandara                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Joe Gandara                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Joe Gandara                                                              1131 E 5th St                                                                          Cushing          OK    74023
JOE GARDNER                                                              1132 N FAULKNER DR                                                                     CLAREMORE        OK    74017-6607
JOE GATES                                                                23 ATCHISON CT                                                                         PLATTE CITY      MO    64079-9649
JOE GEORGE AND KAY GEORGE JT                                             4619 N BRITTON DR                                                                      STILLWATER       OK    74075-1609
JOE GRAY                                                                 1808 WINDING RIDGE RD                                                                  EDMOND           OK    73034
JOE GROSHONG                                                             PO BOX 1035                                                                            STILLWATER       OK    74076
JOE H & DOLORES MARTINEZ, TRUSTEES                                       7016 CALM MEADOW DR.                                                                   FRISCO           TX    75035
JOE HENRY HARRIS TR                                                      5308 NW 125TH CT                                                                       OKLAHOMA CITY    OK    73142
JOE KELLEY                                                               118 SHADYWOOD PLACE                                                                    ENCHANTED OAKS   TX    75156-9040
JOE KLABZUBA                                                             PO BOX 567                                                                             PRAGUE           OK    74864-0567
JOE KROLL                                                                50 GARDENSIDE DR #13                                                                   SAN FRANCISCO    CA    94131
                                                                                                                       9211 Lake Hefner
Joe L. Rodriguez                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Joe L. Rodriguez                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Joe L. Rodriguez                                                         702 E Springer                                                                         Guthrie          OK    73034
JOE LANCASTER                                                            34 ONTELL COURT                                                                        STAFFORD         VA    22554
JOE LOY AND PEGGY S LOY                                                  4124 NW 148TH TER                                                                      OKLAHOMA CITY    OK    73134-1826
JOE MACKEY                                                               1120 W SHELBY RD                                                                       SHELBY           MI    49455-9478
JOE MADEWELL                                                             PO BOX 164                                                                             JENNINGS         OK    74038-0164
JOE MILLS                                                                2311 E 56TH ST                                                                         STILLWATER       OK    74074
JOE NELSON                                                               1011 PECAN LAKE CT                                                                     STILLWATER       OK    74074
JOE PINSON                                                               1623 E RANCHO RD                                                                       HOBBS            NM    88242
JOE R MAY PRODUCTION CO INC                                              PO BOX 430                                                                             OVERTON          TX    75684
JOE ROBINSON                                                             906 LAKEVIEW DRIVE                                                                     ROGERS           AR    72756
JOE SAM VASSAR                                                           PO BOX 354                                                                             BRISTOW          OK    74010-0354

JOE SAM VASSAR AND MARSHA DUE VASSA                                      PO BOX 354                                                                             BRISTOW          OK    74010
JOE SATER                                                                18525 39TH AVE N                                                                       MINNEAPOLIS      MN    55446-2866
JOE SHIPPY                                                               4600 ELGIN RD                                                                          NEW PLYMOUTH     ID    83655
JOE TERRILL                                                              3300 BRUSH CREEK RD                                                                    OKLAHOMA CITY    OK    73120
JOE VAVERKA                                                              13801 JOHN WAYNE                                                                       PERRY            OK    73077

JOE WALKER AND YVONNE I WALKER HW J                                      PO BOX 196                                                                             RIPLEY           OK    74062-0196
JOE WILLIAMS                                                             12218 KIMBERLY                                                                         HOUSTON          TX    77024
                                                                                                                       9211 Lake Hefner
Joe Nelson                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Joe Nelson                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Joe Nelson                                                               2400 S. MacArthur Blvd                                                                 Oklahoma City    OK    73128
JOEL & SUSAN WILLIAMS FAMILY LVG TR                                      4323 LORRAINE AVE                                                                      DALLAS           TX    75205
JOEL ABBE                                                                147 THURMAN DR                                                                         WALTERS          OK    73572-3230
JOEL BREWER                                                              516 FRAZER RD                                                                          SEALY            TX    77474-6077
JOEL BROWN                                                               6907 S THUNDER RD                                                                      STILLWATER       OK    74074
JOEL C PITTS 1991 LIVING TRUST JOEL                                      PO BOX 800162                                                                          DALLAS           TX    75380-0162
JOEL E DYER                                                              1005 W PINE AVE                                                                        MIDLAND          TX    79705
JOEL EDWARDS                                                             22101 PRIVATE RD 172                                                                   PERRY            OK    73077


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JOEL EYLER                                                               PO Box 182                                                                             JENNINGS        OK      74038
JOEL HAGGARD                                                             PO BOX 205                                                                             MULHALL         OK      73063
JOEL JOHNSON                                                             PO BOX 1476                                                                            GREENWOOD       AR      72936-1476
JOEL LEE WILSON & CYNTHIA JO WILSON                                      4415 N BRYAN                                                                           SHAWNEE         OK      74804
JOEL LESH                                                                1419 W 80TH ST                                                                         STILLWATER      OK      74074-8164
                                                                                                                       9211 Lake Hefner
Joel R. Ward                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Joel R. Ward                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Joel R. Ward                                                             901 Periwinkle Dr                                                                      Yukon           OK      73099
JOEL S CASTELLO PROFIT SHARING TRUS                                      PO BOX 1192                                                                            GULF BREEZE     FL      32562
JOEL STRAUSS                                                             USAID/TANZANIA AGENCY FOR INTL                                                         WASHINGTON      DC      20090-6950
JOELLA MACGILL                                                           PO BOX 1091                                                                            PINEDALE        WY      82941-1091
JOELLEN MARSHALL                                                         5017 NE 35TH PL                                                                        PORTLAND        OR      97211-7655
JOELLEN MARSHALL TRUST                                                   5017 NE 35TH PL                                                                        PORTLAND        OR      97211-7655
JOE'S HOTSHOT AND TRUCKING LLC                                           PO BOX 781                                                                             EL RENO         OK      73036
JOETTA LOUISE TONTI                                                      231 TRUDELL DR                                                                         SAN ANTONIO     TX      78230
JOEY DON PRICHARD                                                        1326 N. BRAZOS                                                                         CLEBURNE        TX      76031
JOEY EYLER                                                               2612 NORTH WARREN AVE                                                                  OKLAHOMA CITY   OK      73107
JOEY RAY HARREL                                                          200995 E CR66                                                                          VICI            OK      73859
JOHANNA PARKINSON                                                        2756 FAIRWOOD AVENUE                                                                   CARROLLTON      TX      75006
JOHANNES HURSTS                                                          4720 DEERFIELD                                                                         STILLWATER      OK      74074
                                                                                                                       9211 Lake Hefner
John Webb                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
John Webb                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
John Webb                                                                1412 SW Straka Terr                                                                    Oklahoma City   OK      73159

JOHN & ANNE CHAMBERLAIN FAM TRUST D                                      1102 N ROSEBRIER DR                                                                    GUTHRIE         OK      73044
JOHN & DONNA PICKERING REV TR                                            10817 E 19TH AVE                                                                       STILLWATER      OK      74074-7411
JOHN & GERALDINE MCFADDEN REV LIVIN                                      2404 MEADOWBROOK ST                                                                    PONCA CITY      OK      74604
JOHN & JUDY SHERIDAN LIVING TRUST D                                      5909 W 9TH ST                                                                          CUSHING         OK      74023
JOHN & PATRICE GOLLIVER 2007 REV TR                                      342741 EAST HWY 105                                                                    TRYON           OK      74875
JOHN & SHARON HOPKINS FAMILY TRUST                                       10224 S POST RD                                                                        GUTHRIE         OK      73044
JOHN & STEPHANIE PALOMO LVG TR                                           1595 ARDENWOOD DR                                                                      SAN JOSE        CA      95129
JOHN A BALL LIFE ESTATE                                                  343497 E 890 RD                                                                        CHANDLER        OK      74834-7136
JOHN A GRISWOLD                                                          12124 SW 12TH STREET                                                                   YUKON           OK      73099
JOHN A HENNAGE TRUST                                                     PO BOX 701584                                                                          TULSA           OK      74170
JOHN A KAMPS                                                             1915 MOFFAT BLVD                                                                       MANTECA         CA      95336
JOHN A LOOBY III                                                         1764 BOWLING GREEN DR                                                                  LAKE FOREST     IL      60045
JOHN A MARSHALL COMPANY                                                  10930 LACKMAN RD                                                                       LENEXA          KS      66219-1232
JOHN A WILLIAMS DECD                                                     2721 NW 109TH                                                                          OKLAHOMA CITY   OK      73120
JOHN ABBOTT                                                              2650 MORRIS THOMAS RD                                                                  DULUTH          MN      55811
JOHN ACTON MCCONNEL                                                      PO BOX 40                                                                              OKMULGEE        OK      74447
JOHN ALBERTS                                                             PO BOX 851264                                                                          YUKON           OK      73085
JOHN ALCOTT                                                              27828 N 158TH ST                                                                       SCOTTSDALE      AZ      85262
JOHN ALLEN SPEER & ANN L SPEER                                           48 SCARPE DR SW                                                                        CALGARY         AB      T2T 6K8      CANADA
JOHN AND KAREN LAWLER HW JT WROS                                         2920 N COUNTRY CLUB ROAD                                                               STILLWATER      OK      74075
JOHN AND KIMBERLY FIERS JT REV TR                                        PO Box 1058                                                                            STEVENS POINT   WI      54481
JOHN AND KRISTIN PHIBBS                                                  317 E 113TH ST S                                                                       JENKS           OK      74037-3261
JOHN ANDERSON                                                            6040 SYPHES CANYON RD                                                                  BOZEMAN         MT      59715
JOHN ANDERSON                                                            4117 FM 2484                                                                           SALADO          TX      76571-5389
JOHN ANTHIS                                                              7490 W MISSION VIEW PL                                                                 TUCSON          AZ      85743
JOHN APEL                                                                11404 W 104TH ST                                                                       OVERLAND PARK   KS      66214
JOHN ARMSTRONG                                                           PO BOX 1557                                                                            COEUR D ALENE   ID      83816
JOHN ARNETT                                                              5792 NE 5TH ST                                                                         REDMOND         OR      97756-8561
JOHN AUSTIN                                                              911 S KANSAS AVE                                                                       CHEROKEE        OK      73728
JOHN B CHADWICK TR UAD 4-24-85                                           11691 ADAM CT                                                                          PONDER          TX      76259
JOHN B LYNCH                                                             207 S HOPPY RD                                                                         STILLWATER      OK      74075


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JOHN B MCKEE JR                                            PO Box 1705                                                           DUNCAN              OK       73534
JOHN B TURNER AND BARBARA J TURNER                         4408 S LEWIS                                                          TULSA               OK       74105-5159
JOHN BAINUM                                                PO BOX 37                                                             ISTACHATTA          FL       34636
JOHN BALL                                                  7708 W ESECO                                                          AGRA                OK       74824-6206
JOHN BALL                                                  343497 E 890 RD                                                       CHANDLER            OK       74834-7136
JOHN BARKER                                                7771 SAWYER CT                                                        GURNEE              IL       60031
JOHN BARRETT                                               3001 E AIRPORT RD                                                     STILLWATER          OK       74075
JOHN BARRY MASSEY                                          2317 NW 56th TERRACE                                                  OKLAHOMA CITY       OK       73112
JOHN BARRY MASSEY ESTATE                                   16619 SHORECREST DR                                                   HOUSTON             TX       77095
JOHN BATESON                                               9618 S BRUSH CREEK RD                                                 PERKINS             OK       74059
JOHN BATTLE                                                PO BOX 1950                                                           CLAREMORE           OK       74018
JOHN BAUMERT                                               PO BOX 706                                                            ADAIR               OK       74330
JOHN BECK                                                  PO BOX 1121                                                           PAULS VALLEY        OK       73075
JOHN BECKMAN                                               11 YELLOW BRICK RD                                                    STILLWATER          OK       74074
JOHN BERNARD WESTERHEIDE                                   18551 108TH STREET                                                    LEXINGTON           OK       73051-8408
JOHN BIEBERDORF                                            605 WAKEFIELD                                                         PERRY               OK       73077
JOHN BILLINGS                                              39608 N 2ND ST                                                        PHOENIX             AZ       85086
JOHN BLAKE                                                 517 E COLLEGE AVE                                                     GUTHRIE             OK       73044
JOHN BOWLES                                                4110 SUMMIT DR                                                        MARIETTA            GA       30068
JOHN BOWMAN                                                6714 ARLINGTON                                                        LOS ANGELES         CA       90043
JOHN BRADSHAW                                              3560 MAJESTIC VIEW                                                    LENOIR              NC       28645
JOHN BRADY                                                 5900 S LAKE FOREST DR STE 300                                         MCKINNEY            TX       75070
JOHN BRENTLINGER                                           13175 KELLY AVE                                                       EDMOND              OK       73025
JOHN BREWER                                                PO BOX 201                                                            MULHALL             OK       73063
JOHN BRISCO                                                4125 CHARLEMANGO AVE                                                  LONG BEACH          CA       90808
JOHN BROACH                                                5200 S ULSTER ST APT 1225                                             GREENWOOD VILLAGE   CO       80111
JOHN BROWER                                                PO BOX 521122                                                         TULSA               OK       74152
JOHN BRUCE ELECTRIC INC                                    1114 MAIN STREET                                                      WOODWARD            OK       73801
JOHN BRUCE HUESTON                                         820 N FAIRGROUNDS RD                                                  STILLWATER          OK       74075-8725
JOHN BRUNNEMER                                             1910 SHILOH ST                                                        STILLWATER          OK       74074
JOHN BRYON SHARP DECD                                      1840 TOWERING MESA AVE                                                HENDERSON           NV       89012
JOHN BULLOCK                                               2954 3RD AVE                                                          MARION              IA       52302-3921
JOHN BUNTIN                                                1509 E 8TH                                                            STILLWATER          OK       74074
JOHN BURGHER                                               70 DINMORE RD                                                         SELKIRK             NY       12158-1528
JOHN BURNHAM                                               901 SOUTH PONDEROSA STREET                                            CANBY               OR       97013
JOHN C AND JON PRALLE                                      PO BOX 3                                                              FAIRMONT            OK       73736
JOHN C AND VELDA PRALLE JTS                                PO BOX 54                                                             FAIRMONT            OK       73736
JOHN C AUBREY                                              2700 POST OAK BLVD STE 1500                                           HOUSTON             TX       77056
JOHN C DICKERSON III                                       2230 AVENUE F                                                         BAY CITY            TX       77414
JOHN C FORTNEY                                             7511 14TH AVE NE                                                      SEATTLE             WA       98115
JOHN C MITCHELL JR                                         41 WILDERNESS RD                                                      ENID                OK       73703
JOHN CALAVAN AND LU J CALAVAN HW JT                        108 NEWPORT CT                                                        PERKINS             OK       74059-4122
JOHN CAMPBELL                                              1796 W TYSON ST                                                       CHANDLER            AZ       85224
JOHN CAMPBELL                                              2601 KLINGLE RD NW                                                    WASHINGTON          DC       20008
JOHN CAPORAL                                               2901 PELHAM DR                                                        OKLAHOMA CITY       OK       73120-4348
JOHN CARMICHAEL                                            5203 E 88TH ST                                                        TULSA               OK       74137
JOHN CASEY                                                 PO BOX 217                                                            LULA                GA       30554
JOHN CASTEEL                                               10222 HWY 197 N                                                       CLARKESVILLE        GA       30523
JOHN CHARLES                                               5324 S SPRING CREEK CIR E                                             STILLWATER          OK       74074
JOHN CHRISTENSEN                                           2438 E FAIRMOUNT AVE                                                  PHOENIX             AZ       85016-6716
JOHN CHRISTMAN                                             121 N PAUL ST                                                         WOODSFIELD          OH       43793
JOHN CLIFFORD GLAHN                                        3501 S PARK AVE                                                       JOPLIN              MO       64804
JOHN CLIFTON WILLIAMS III                                  22624 MEADOW ST                                                       SILOAM SPRINGS      AR       72761
JOHN CLIFTON WILLIAMS JR                                   9000 S VASSAR RD                                                      COYLE               OK       73027-5007
JOHN CLINGENPEEL                                           10305 E 118TH ST N                                                    COLLINSVILLE        OK       74021-4805
JOHN CLINGENPEEL DECD                                      10211 N 143RD E AVE                                                   OWASSO              OK       74055
JOHN COKER                                                 3512 S HEATHER AVE                                                    SAND SPRINGS        OK       74063
JOHN COOK                                                  4624 EAST 26 AVE                                                      STILLWATER          OK       74074
JOHN COPELAND                                              84 K LYNN ST                                                          ARDMORE             OK       73401-9335


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JOHN CORDELL                                                             311 MELODY LN                                                                           OKMULGEE            OK      74447
JOHN CORLEY                                                              PO BOX 321                                                                              DRUMMOND            MT      59832-0321
JOHN CORLISS                                                             4075 SUNSET HILLS DR SE                                                                 TURNER              OR      97392-9300
JOHN COURTRIGHT                                                          1700 WILLOW WAY                                                                         GOLDEN              CO      80401
JOHN COX                                                                 1609 ACOMA PL                                                                           PONCA CITY          OK      74604-3501
JOHN COX                                                                 1310 N ATLANTA AVE                                                                      TULSA               OK      74110-4711
JOHN CRELLIN                                                             104 FAIRWAY DR                                                                          PERKINS             OK      74059-4454
JOHN CRUTCHFIELD                                                         1603 EASY ST                                                                            AUSTIN              TX      78746
JOHN D COOPER RESIDUARY TRUST                                            PO BOX 781684                                                                           WICHITA             KS      67278-1684

JOHN D KELLY                                                             5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY            TX      75070
JOHN D POTE & C EDWINA POTE LIVING                                       601 N PARK BLVD APT 505                                                                 GRAPEVINE           TX      76051-6908

JOHN D SIMS                                                              5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY            TX      75070

JOHN D THOMASON & JALETA A THOMASON                                      18800 WEST 92ND                                                                         MULHALL             OK      73063
JOHN D WILLIAMS                                                          PO BOX 471                                                                              COULTERVILLE        CA      95311-0471
JOHN D WILLIAMS REVOCABLE TRUST                                          312 OAK SPRINGS DRIVE                                                                   EDMOND              OK      73034
                                                                                                                       9211 Lake Hefner
John D. Lomoro                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
John D. Lomoro                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX      77006
John D. Lomoro                                                           3540 Redmont Trace                                                                      Edmond              OK      73034
JOHN DAVID                                                               546 S MAIN ST                                                                           ELBURN              IL      60119
JOHN DAVIS                                                               ADDRESS REDACTED
JOHN DECD                                                                8250 N VIA PASEO DEL NORTE                                                              SCOTTSDALE          AZ      85258
JOHN DEJARNETTE                                                          7309 MIDDLEBROOK CT                                                                     NASHVILLE           TN      37221
JOHN DENNIS MARTIN                                                       1036 HIGHWAY 64 WEST                                                                    BEEBE               AR      72012
JOHN DICKINSON                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater          OK      74074
JOHN DICKSON                                                             530 CAMBRIDGE DRIVE                                                                     BURBANK             CA      91504
JOHN DIXON                                                               849 AULT LOOP                                                                           LONSDALE            AR      72087-9795
JOHN DIXON                                                               8316 NW 116TH ST                                                                        OKLAHOMA CITY       OK      73162
JOHN DORLON                                                              9531 BURWICK DR                                                                         SAN ANTONIO         TX      78230
JOHN DOWNES                                                              620 NW WALNUT LN                                                                        TOPEKA              KS      66617
JOHN DRAKE                                                               218 AMNERST COURT                                                                       VACAVILLE           CA      95668
JOHN DRESSER                                                             400 SAN JUAN HOLLISTER RD                                                               SAN JUAN BAUTISTA   CA      95045
JOHN DRYDEN                                                              483 W 1000 S                                                                            LYNN                IN      47355
JOHN DRYDEN                                                              10922 E MCELROY                                                                         STILLWATER          OK      74075
JOHN DUNBAR                                                              PO BOX 1237                                                                             BLANCHARD           OK      73010
JOHN DUNCAN                                                              213 SW 92ND ST                                                                          OKLAHOMA CITY       OK      73139
JOHN DUNGAN                                                              1114 N VAN BUREN                                                                        MARION              IL      62959
JOHN DWAN                                                                4230 OLYMPIC WAY                                                                        SALT LAKE CITY      UT      84124
JOHN E & TARA MCHUGHES                                                   2222 W CHESTNUT                                                                         GOLDSBY             OK      73093
JOHN E FRENCH                                                            1009 CREEK BEND                                                                         JASPER              TX      75951
JOHN E HELLER TTEE                                                       28343 SILO WAY                                                                          WILDER              ID      83676-5417
JOHN E MARTIN                                                            2927 SE VILLAGE LOOP APT T414                                                           VANCOUVER           WA      98683
JOHN E STUEBER & SARA B DISNEY                                           1502 N MOCKINGBIRD LN                                                                   STILLWATER          OK      74075-8686
JOHN E THOMAS AND VETA KAREN                                             6315 ECHO LAKES LN                                                                      MISSOURI CITY       TX      77459-5052
                                                                                                                       9211 Lake Hefner
John E. Shadoan                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
John E. Shadoan                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX      77006
John E. Shadoan                                                          166440 E Rebecca                                                                        Choctaw             OK      73020
JOHN EDGAR GRONINGER & CARYL LEE                                         PO BOX 36                                                                               MEXICO              PA      17056
JOHN EDWARDS                                                             12811 SHALLOW WATER CT                                                                  BAKERSFIELD         CA      93312
John Elliot                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX      75070
John Elliot                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa               OK      74104
John Elliot                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY      10017
John Elliot                                                              41 E Main                                                                               Osage               OK      74054


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JOHN ELLIS KEITH TRST DTD 8-1-96                           52950 S 342 RD                                                         GLENCOE          OK      74032
JOHN ENGLISH                                               846 HILL ST                                                            ATHENS           GA      30606
JOHN ENOCHS                                                726 COUCH AVENUE                                                       WAUGHN           MT      59487
JOHN EVERETT                                               13203 E. AIRPORT ROAD                                                  GLENCOE          OK      74032-3144
JOHN EWY                                                   1049 NW 25TH ST                                                        MOORE            OK      73160

JOHN F BRADY                                               5900 SOUTH LAKE FOREST DR STE 300                                      MCKINNEY         TX      75070
JOHN F EMMERICH                                            21023 STATE HWY 33                                                     KINGFISHER       OK      73750
JOHN F HAAG TRUST                                          2809 NW 155TH                                                          EDMOND           OK      73013
JOHN F SPECIAL                                             PO DRAWER 369                                                          STILLWATER       OK      74076
JOHN FASSNACHT                                             214 PECAN ST                                                           PAWNEE           OK      74058
JOHN FIDLER                                                10 WALTER ST                                                           BANGOR           ME      04401-6232
JOHN FIERS                                                 8225 E MARLPOSA DRIVE                                                  SCOTTSDALE       AZ      85251
JOHN FISHER                                                8009 W PARKWAY BLVD APT 302                                            TULSA            OK      74127-5592
JOHN FORSHEE                                               PO BOX 158                                                             LONG BRANCH      TX      75669
JOHN FOSTER                                                33401 RIDGE RD                                                         AFTON            OK      74331-6361
JOHN FRIEDEMANN                                            2729 PROVINCE LN                                                       DALLAS           TX      73226-3932
JOHN FRIZZELL                                              3601 N BLACKWELDER AVE                                                 OKLAHOMA CITY    OK      73118-3236
JOHN FULGHAM                                               2029 S CHILTON                                                         TYLER            TX      75701
JOHN G & ELAINE MUELLER FAMILY LIVI                        60 CROWN PL                                                            RICHARDSON       TX      75080
JOHN G HARPER                                              PO BOX 162645                                                          AUSTIN           TX      78716-2645
JOHN G HUSSEY                                              21 SW 97TH STREET                                                      OKLAHOMA CITY    OK      73139
JOHN G MOORMAN                                             11822 S RANGE RD                                                       PERKINS          OK      74059-4216
JOHN G RAINEY                                              6345 GLENBROOK COURT                                                   OKLAHOMA CITY    OK      73118
JOHN GALT LLC                                              13501 W MEMORIAL RD                                                    YUKON            OK      73099
JOHN GIBSON                                                8808 LAKEAIRE DR                                                       OKLAHOMA CITY    OK      73132
JOHN GILBREATH                                             1601 N PAYNE ST                                                        STILLWATER       OK      74075-3114
JOHN GILCHRIST                                             300 SW 170TH ST.                                                       OKLAHOMA CITY    OK      73170-6648
JOHN GILL                                                  14 HICKORY LN                                                          FOLEY            MO      63347-3210
JOHN GILLEY                                                1777 STUBBS SCHOOL RD                                                  VICTORIA         TX      77905
JOHN GIPSON                                                1507 LINDALE CIR                                                       NORMAN           OK      73069-4424
JOHN GLAHN                                                 3909 W RITCHIE AVE                                                     ENID             OK      73701
JOHN GOFORTH                                               9908 S BRUSH CREEK RD                                                  PERKINS          OK      74059
JOHN GOLLIVER                                              352741 EAST HIGHWAY 105                                                TRYON            OK      74875
JOHN GORMAN                                                505 SE DENVER RD                                                       BARTLESVILLE     OK      74003
JOHN GRAGERT                                               3002 DELTA DR                                                          ENID             OK      73703
JOHN GRIMSLEY                                              128 N MAIN ST                                                          STILLWATER       OK      74074
JOHN GRISWOLD                                              5922 BRUSH CREEK RD                                                    STILLWATER       OK      74074
JOHN GRONINGER                                             PO BOX 273                                                             MIFFLIN          PA      17058

JOHN GURLEY III                                            5900 SOUTH LAKE FOREST DR STE 300                                      MCKINNEY         TX      75070
JOHN H DAVISON III & KANDACE K                             1114 ARBOR ST                                                          GUTHRIE          OK      73044
JOHN H EDWARDS                                             1904 COTTON PT                                                         LEACHVILLE       AR      72438-9079
JOHN H EDWARDS REV TRUST                                   5308 BRIDGER PARK CT                                                   JONESBORO        AR      72401
JOHN H GARDNER REV TRUST                                   2801 SHORTGRASS RD APT 177                                             EDMOND           OK      73003-3221
JOHN H KERR                                                7620 93 AVENUE NW                                                      EDMONTON         AB      T6C 1T2      CANADA
JOHN H MUGLER TEST TRUST                                   3408 FOOTHILL PKWY                                                     AUSTIN           TX      78731
JOHN H RICHTER III TRUST                                   6443 E CHOLLA ST                                                       SCOTTSDALE       AZ      85254-5035
JOHN HANCOCK                                               1000 WOODLAND DR                                                       NORMAN           OK      73072
JOHN HANCOCK                                               402 Collins Court                                                      STILLWATER       OK      74074
JOHN HANNER                                                PO BOX 53                                                              NAHCOTTA         WA      98637
JOHN HARRINGTON                                            404 S BEECH AVE                                                        BROKEN ARROW     OK      74012-3438
JOHN HARRIS                                                941 NW 33RD                                                            MOORE            OK      73160
JOHN HENSLEY                                               4012 DOME DR                                                           ADDISON          TX      75001
JOHN HEPPLER                                               1401 PAR RD                                                            PERRY            OK      73077-1101
JOHN HETHERINGTON                                          708 ELDER WAY                                                          ROUND ROCK       TX      78664-7115
JOHN HILL                                                  21505 SOUTH CLOUDVIEW DRIVE                                            OREGON CITY      OR      97045
JOHN HOLKUM                                                4623 S HUSBAND ST                                                      STILLWATER       OK      74074
JOHN HOMER                                                 6422 E LAKEVIEW RD                                                     STILLWATER       OK      74075


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JOHN HOPKINS                                                             10224 SOUTH POST RD                                                                     GUTHRIE         OK       73044
JOHN HORNE                                                               14430 COUNTY ROAD 3599                                                                  ADA             OK       74820-3194
JOHN HOUSTON                                                             14718 W ELLSWORTH AVE                                                                   GOLDEN          CO       80401-5173
JOHN HUBERT BURNS                                                        1010 26TH ST SW                                                                         WYOMING         MI       49509-2005
JOHN HULL                                                                6251 VAN BUREN STREET                                                                   DAPHNE          AL       36526
JOHN HUMBLE                                                              36 N CREEKSIDE CT                                                                       HOUSTON         TX       77055
JOHN I BEAVERS & LINDA W BEAVERS JT                                      2503 VALLEY CREEK TRAIL                                                                 MCKINNEY        TX       75070
JOHN IDA URI ESTATE                                                      3530 MALONEY RD                                                                         KNOXVILLE       TN       37920
JOHN J ANDERSON                                                          8687 MOLOKAI COURT #104                                                                 TAMPA           FL       33614
JOHN J GUENTHER                                                          1701 EAST JARDOT ROAD                                                                   STILLWATER      OK       74075
JOHN J ONEILL                                                            2430 N GREENLEAF ST                                                                     WICHITA         KS       67226
JOHN J VOCKER JR                                                         4713 E BELMONT ST                                                                       SIOUX FALLS     SD       57110-4239
JOHN J WILLIAMS                                                          26531 BELLA VISTA DR                                                                    WILDER          ID       83676-5730
JOHN J. GUENTHER ESTATE                                                  1701 E. JARDOT ROAD                                                                     STILLWATER      OK       74075
JOHN J. O'NEILL REV TRUST                                                1525 N. ROCKY CREEK ROAD                                                                WICHITA         KS       67230
JOHN JACKSON                                                             5700 DIXON AVE                                                                          AMARILLO        TX       79109-4115
JOHN JANOVY JR                                                           421 SYCAMORE DRIVE                                                                      LINCOLN         NE       68510-4352
JOHN JOHNS                                                               1111 HERMANN DR UNIT 7E                                                                 HOUSTON         TX       77004-6928
JOHN JOHNSON                                                             316 EAST 3RD AVENUE                                                                     STILLWATER      OK       74074
JOHN JOLLY                                                               2207 S 80TH E AVE                                                                       TULSA           OK       74129
JOHN JONES                                                               103 TABOR LN                                                                            CHICO           TX       76431
JOHN JONES                                                               3912 ACKLIN DR                                                                          PLANO           TX       75025-3831
JOHN KENAN                                                               6538 MT MITCHELL RD                                                                     EFLAND          NC       27243
John Kennedy                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX       75070
John Kennedy                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK       74104
John Kennedy                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY       10017
John Kennedy                                                             209 South Main St                                                                       Fairfax         OK       74637
JOHN KLABZUBA                                                            PO BOX K                                                                                PRAGUE          OK       74864
JOHN KNIGHT                                                              RR 2 BOX 62                                                                             NOWATTA         OK       74048
JOHN KNIGHT                                                              402 STANSBURY ST                                                                        PERKINS         OK       74059
JOHN KNIGHT                                                              9704 S PRAIRIE RD                                                                       PERKINS         OK       74059
JOHN KNIGHT                                                              505 N 2ND ST                                                                            PERRY           OK       73077-6811
JOHN L & PATRICIA A MCCROSKEY TRUST                                      20575 RANGER RD                                                                         FORT GIBSON     OK       74434
JOHN L FRY                                                               20935 E 103RD ST                                                                        BROKEN ARROW    OK       74014
JOHN L GREER                                                             376 LYTLE COVE ROAD                                                                     SWANNANOA       NC       28778
JOHN L LEWIS WELL SERVICE LLC                                            PO BOX 67                                                                               SASAKWA         OK       74867
JOHN L RIEMAN                                                            21525 MAVERICK                                                                          MORRISON        OK       73061
                                                                                                                       9211 Lake Hefner
John L. Schepp                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
John L. Schepp                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
John L. Schepp                                                           420 S. 5th St                                                                           Sparks          OK       74869
JOHN LANE                                                                10453 PHEASANT RUN                                                                      JUSTIN          TX       76247-7911
JOHN LAWLER                                                              2920 N COUNTRY CLUB RD                                                                  STILLWATER      OK       74074
JOHN LAWSON                                                              11806 CAPRILE COURT                                                                     RICHMOND        TX       77406
JOHN LAZENBY                                                             9705 HAKEN DR                                                                           GLENCOE         OK       74032
JOHN LEACH                                                               3640 CLAY DR                                                                            YUKON           OK       73099
JOHN LEE SMITH                                                           6706 WIMBLEDON TRAIL RD                                                                 SPRING          TX       77379
JOHN LEMLEY                                                              6013 W 56TH ST                                                                          STILLWATER      OK       74074-2059
                                                                                                                       9211 Lake Hefner
John Leonard                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
John Leonard                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
John Leonard                                                             9421 S. 68th East Ave                                                                   Tulsa           OK       74133
JOHN LEROY EDMISTON                                                      258 CLEAR WATER STREET EAST                                                             MONTGOMERY      TX       77356
JOHN LINN                                                                6801 CR 210                                                                             RED ROCK        OK       74651
JOHN LIPPMAN                                                             PO BOX 2908                                                                             NORMAN          OK       73073
JOHN LIPPMANN                                                            PO BOX 2908                                                                             NORMAN          OK       73070-2908
JOHN LOGAN                                                               13913 KIRKLAND RDG                                                                      EDMOND          OK       73013-7080


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JOHN LOGSDON                          GENERAL DELIVERY                                                                                                           VICI            OK      73859
JOHN LOVELL                                                              13203 W AIRPORT RD                                                                      GENCOE          OK      74032
JOHN LOVELL                                                              13203 E AIRPORT RD                                                                      GLENCOE         OK      74032
JOHN LOVELL AND PAMELA S LOVELL JT                                       13203 E AIRPORT RD                                                                      GLENCOE         OK      74032-3144
JOHN LOWRY                                                               61391 E 193 RD                                                                          FAIRLAND        OK      74343-2153
JOHN LUTZ                                                                12245 DYER CT                                                                           AUBURN          CA      95603
JOHN LYND                                                                1378 DODGETON DR                                                                        FRISCO          TX      75034
JOHN LYNN FLETCHER                                                       1234 MAN O WAR PLACE APT 7                                                              LEXINGTON       KY      40504
JOHN M BILLINGS                                                          8454 BLACKSTONE ST                                                                      SPRING HILL     FL      34608
JOHN M HOLLEMAN AGENCY                                                   PO BOX 3499                                                                             TULSA           OK      74101-3499
JOHN M IMEL REV TRUST                                                    401 SOUTH BOSTON STE 1100                                                               TULSA           OK      74103
JOHN MACE                                                                RT 1 BOX 2                                                                              MOUNTAIN VIEW   OK      73062
JOHN MALGET                                                              813 S BOUNDARY                                                                          PERRY           OK      73077
John Marion                           c/o Edward L. White, PC            Attn: Edward L White                          829 E. 33rd St                            Edmond          OK      73013
John Marion                           c/o Jeffery Hirzel                 PO Box 279                                    119 S. Broad                              Guthrie         OK      73044
John Marion                                                              5849 W State Hwy 51                                                                     Mulhall         OK      73063
JOHN MARION                                                              5849 W HWY 51                                                                           MULHALL         OK      73063
                                      CAMBRIDGE PETROLEUM
JOHN MARK CLARK                       GROUP INC AGENT                                                                                                            MCKINNEY        TX      75070
JOHN MARK POLLARD TRUST                                                  5306 GRAYRIDGE RD                                                                       ENID            OK      73701
JOHN MARK WAUGH TRUST                                                    PO BOX 5240                                                                             AUSTIN          TX      78763
JOHN MARSH                                                               4346 S SAINT LAWRENCE AVE                                                               CHICAGO         IL      60653
JOHN MARSH                                                               9866 OAK PLACE E                                                                        FOLSOM          CA      95630-1918
JOHN MATYL                                                               11409 STONECREST                                                                        GUTHRIE         OK      73044
JOHN MAUTNER                                                             1345 3RD AVE                                                                            NEW YORK        NY      10075-1903
                                                                                                                                                                 RANCHO SANTA
JOHN MCAFEE                                                              43 LOS PLATILLOS                                                                        MARGARITA       CA      92688
JOHN MCBRIDE                                                             PO BOX 34                                                                               LEHIGH          OK      74556
JOHN MCCONNELL                                                           1318 BRIAR BAYOU DRIVE                                                                  HOUSTON         TX      77077
JOHN MCDONNELL                                                           18603 TAMERIC ST                                                                        GERMANTOWN      MD      20874
JOHN MCFADDEN                                                            9855 KINGS CANYON DRIVE                                                                 PEYTON          CO      80831
JOHN MCGREEVY                                                            4108 SHEFFIELD AVE                                                                      EDMOND          OK      73034-7336
JOHN MCKEAIGG                                                            25065 WATTS RD                                                                          BOYNTON         OK      74422
JOHN MCKEE TRUST                                                         805 NW 63RD ST                                                                          OKLAHOMA CITY   OK      73116-7603
JOHN MEACHAM                                                             116 W CLUB DR                                                                           THOMASVILLE     GA      31792
JOHN MELAUGH                                                             3802 E 53RD ST                                                                          TULSA           OK      74135
JOHN MELVIN MOUNTS                                                       4919 PIPER LEN DRIVE                                                                    CHARLOTTE       NC      28277
JOHN METSCHER                                                            409 N WILLIAM ST                                                                        COLUMBIA        MO      65201-5756
                                                                                                                       9211 Lake Hefner
John Meyers                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
John Meyers                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
John Meyers                                                              1855 E. 16th Pl                                                                         Tulsa           OK      74104

JOHN MICHEAL CLEVERDON AND SUSAN LE                                      190 BLUE JAY AVE                                                                        VONORE          TN      37885-2071
JOHN MILLIRONS                                                           211 S OAKDALE DR                                                                        STILLWATER      OK      74074-6888
JOHN MINTON                                                              110 N COLLEGE AVE STE 500                                                               TYLER           TX      75702
JOHN MITCHELL                                                            41 WILDERNESS RD                                                                        ENID            OK      73703
JOHN MUEGGENBORG                                                         PO BOX 286                                                                              MANNFORD        OK      74044-0286
JOHN MURPHY                                                              702 SOUTH OAKBRIDGE DRIVE                                                               STILLWATER      OK      74074
JOHN MUSOLINO                                                            1580 SHERMAN AVE., UNIT 1201                                                            EVANSTON        IL      60201
JOHN MYERS                                                               36405 EW 1220                                                                           WEWOKA          OK      74884-6519
JOHN N FOX                                                               6926 S HIGHWAY 132                                                                      DRUMMOND        OK      73735
JOHN NEALY                                                               8100 KEMPSTON CT                                                                        LAS VEGAS       NV      89129
JOHN NELSON CURRIER                                                      21303 PADDOCK COVE                                                                      LAGO VISTA      TX      78645
John Newburn                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
John Newburn                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
John Newburn                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
John Newburn                                                             924 N Dryden St                                                                         Stillwater      OK      74075


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JOHN NORTH                                                               2815 COUNTY RD 401 S                                                                   HENDERSON          TX      75654
JOHN O JONES                                                             PO BOX 622                                                                             KATY               TX      77492
JOHN O MEHAN                                                             110 S TERRILL DR                                                                       STILLWATER         OK      74075-6803
JOHN O MEHAN II & SANDRA L MEHAN HW                                      110 S TERRILL DR                                                                       STILLWATER         OK      74075
JOHN ONEILL                                                              404 RUNNING BEAR CT                                                                    BLYTHEWOOD         SC      29016
JOHN ORI                                                                 1571 STANFORD RD                                                                       GULF BREEZE        FL      32562
JOHN OTTENDORF                                                           4609 WEMBLEY COURT                                                                     MCKINNEY           TX      75070
                                                                                                                       9211 Lake Hefner
John Overton                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
John Overton                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
John Overton                                                             1520 Holmes Ct                                                                         Cushing            OK      74023
JOHN OWEN                                                                3231 SW 31ST TERRACE                                                                   TOPEKA             KS      66614-2733
JOHN P CADENHEAD                                                         760 ADELE STREET #2                                                                    ORANGE             CA      92867
JOHN P HARRIS TRUST UW                                                   pO BOX 840738                                                                          DALLAS             TX      75284-0738
JOHN P INDA LIVING TRUST                                                 100 E FEDERAL ST                                                                       SHAWNEE            OK      74801
JOHN P. OIL COMPANY                                                      1320 LAKE STREET                                                                       FORT WORTH         TX      76102
JOHN PANGBURN                                                            PO BOX 76                                                                              MULHALL            OK      73063
JOHN PARKER                                                              PO BOX 491                                                                             TRENTON            NE      69044
JOHN PAUL STANDEFER                                                      71 FLAMINGO DRIVE                                                                      SANTA ROSA BEACH   FL      32459
                                                                                                                                                                RANCHO SANTA
JOHN PAUL SYNNOTT IV                                                     8 MISTLETOE                                                                            MAGARITA           CA      92688
JOHN PEACH TRUST                                                         1107 N MITCHELL RD                                                                     HENNESSEY          OK      73742
JOHN PERDUE                                                              1119 CRESTWOOD                                                                         ENID               OK      73701-6557
JOHN PETERS                                                              1465 BEULAH RD                                                                         PITTSBURG          PA      15235
JOHN PFEIFFER REV TRUST DTD 11-23-9                                      5103 W HWY 51                                                                          MULHALL            OK      73063
JOHN PHILIP JACOB                                                        2738 LOUSE CRK RD                                                                      MOCCASIN           MT      59462
JOHN PHILLIPS                                                            PO BOX 500                                                                             LA CONNER          WA      98257-0500
JOHN PILKINTON                                                           124 WILL SCARLET CT                                                                    EL PASO            TX      79924-5424
JOHN POLLARD                                                             5306 GRAY RIDGE RD                                                                     ENID               OK      73701
JOHN PORTER                                                              2853 E 35TH PL                                                                         TULSA              OK      74105
JOHN POSTON                                                              1982 2ND AVE                                                                           YUMA               AZ      85364
JOHN POTE                                                                600 BROME GRASS CIRCLE                                                                 INMAN              KS      67546
JOHN POTTER                                                              PO BOX 1576                                                                            COVINA             CA      91722
JOHN POWERS                                                              PO BOX 1354                                                                            AVON               CO      81620
JOHN PRALLE                                                              PO BOX 54                                                                              FAIRMONT           OK      73736
JOHN PRALLE                                                              PO BOX 1225                                                                            WOODWARD           OK      73802-1225
JOHN PURSELL                                                             303 S TERRILL DR                                                                       STILLWATER         OK      74075
JOHN R AND GAIL M DICKS TRUST                                            817 ABBIE ST                                                                           PLEASANTON         CA      94566-7501
JOHN R AND KATHERINE S CROSS                                             3024 E 56TH ST                                                                         STILLWATER         OK      74074
JOHN R CARTER REVOCABLE TRUST                                            3711 S 98TH EAST AVE                                                                   TULSA              OK      74146-2422
JOHN R GREEN AND PAMELA JO GREEN, H                                      104 S TRAIL RIDGE RD                                                                   EDMOND             OK      73012
JOHN R HELTON                                                            PO BOX 7283                                                                            EDMOND             OK      73083
JOHN R MCGINLEY JR FAMILY TR                                             PO BOX 769                                                                             TULSA              OK      74101-0769
JOHN R RUPP                                                              1713 VERNON DR                                                                         AUBREY             TX      76227
JOHN R SIMPSON JTWROS                                                    2708 CAMBRIDGE COURT                                                                   OKLAHOMA CITY      OK      73116
                                                                                                                       9211 Lake Hefner
John R. Cook                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
John R. Cook                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
John R. Cook                                                             208 S. Fox Dr                                                                          Oklahoma City      OK      73110
JOHN RANDOLPH                                                            29301 HWY 82 SOUTH                                                                     PARK HILL          OK      74451-2905
JOHN RAYMOND COX REV LIV TR DTD 1-2                                      1609 ACOMA PL                                                                          PONCA CITY         OK      74604-3501
JOHN RHOADES                                                             808 N 13TH ST                                                                          PERRY              OK      73077
JOHN RICH                                                                328 AUBURN WAY                                                                         COPPELL            TX      75019
JOHN RICHARD GLEESON                                                     3202 WOODLAND                                                                          AMES               IA      50014
JOHN RIDDLE                                                              1000 UNION ST APT 401                                                                  SAN FRANCISCO      CA      94133-2559
JOHN RILEY                                                               110 CRAVEN DR                                                                          MANNFORD           OK      74044-3003
JOHN RINGER                                                              11401 EXPLORER                                                                         PERRY              OK      73077


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JOHN ROBERT CLARK JR                                             660 COMO CT                                                                        PUNTA GORDA      FL      33950-8573
JOHN ROBERT COHN                                                 3533 GREENBRIER DRIVE                                                              DALLAS           TX      75225
JOHN ROBERT COHN IRREVOCABLE TRUST                               3533 GREENBRIER DRIVE                                                              DALLAS           TX      75225
JOHN ROBERTSON                                                   7210 S ATLANTA AVE                                                                 TULSA            OK      74136-5534
JOHN ROBINO                                                      814 SAND CREEK DR                                                                  ENID             OK      73701-6936
JOHN ROBINSON                                                    68903 N 2080 RD                                                                    CAMARGO          OK      73835
JOHN RODMAN                                                      6906 ANNAPOLIS ROAD                                                                HYATTSVILLE      MD      20784-2126
JOHN ROLEN                                                       340 HART DR APT 34                                                                 EL CAJON         CA      92021
JOHN ROMINE TRUCKING INC                                         PO BOX 95368                                                                       OKLAHOMA CITY    OK      73143
JOHN ROSHELL                                                     1554 SE MARION ST                                                                  PORTLAND         OR      97202
JOHN ROYCE HATHCOCK                                              1617 E LENOIR STREET                                                               RALEIGH          NC      27610
JOHN RUSSELL HEWITT                                              225 MANSION HEIGHTS DR                                                             MISSOULA         MT      59803
JOHN S AND AMANDA CRAWFORD                                       1217 NORTH HIGHTOWER STREET                                                        STILLWATER       OK      74075
JOHN S CLARK INC                                                 3808 RIDGEWOOD DR                                                                  EDMOND           OK      73013
JOHN SAINT                                                       3535 ROUTH ST APT D                                                                DALLAS           TX      75219
JOHN SAMMONS                                                     6621 DUFFIELD DR                                                                   DALLAS           TX      75248
JOHN SCHAEFER                                                    6633 223RD AVE NE                                                                  REDMOND          WA      98053-2395
JOHN SCHAFERS                                                    319 N RACEHORSE                                                                    WICHITA          KS      67235
JOHN SCHLANGER                                                   13837 CANTLAY ST                                                                   VAN NUYS         CA      91405-2609
JOHN SCHNEIDER                                                   1427 NW 96TH ST                                                                    OKLAHOMA CITY    OK      73114
JOHN SCHOTT                                                      13161 N 71ST DR                                                                    PEORIA           AZ      85381-6001
JOHN SCOTT STUEBER AND TEDDIE ANN S                              7874 BREEDEN ROAD                                                                  TRYON            OK      74875-7739
JOHN SCULLY                                                      2417 SW 111TH ST                                                                   OKLAHOMA CITY    OK      73170
                                                                                                               9211 Lake Hefner
John Secondi                          c/o Atkins & Markoff       Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104        Oklahoma City    OK      73120
John Secondi                          c/o Girardi Keese          Attn: Thomas V. Girardi                       1126 Wilshire Blvd                   Los Angeles      CA      90017
John Secondi                                                     1900 E Crest Lane                                                                  Guthrie          OK      73044
JOHN SFINGI                                                      129 EAST 300 SOUTH                                                                 JEROME           ID      83338
JOHN SHANNON                                                     4628 ALAMO DR                                                                      SAN DIEGO        CA      92115
JOHN SHARP                                                       1039 VINEWOOD AVE                                                                  BURLESON         TX      76028
JOHN SHELTON                                                     4801 W WOODLAND DR                                                                 STILLWATER       OK      74074
JOHN SHOENHAIR                                                   556 36TH STREET SW                                                                 ROCHESTER        MN      55902
JOHN SHULTS                                                      10101 LEAPING BUCK POINT                                                           BENBROOK         TX      76126
JOHN SIMMONS                                                     5685 E COUNTY RD 69                                                                MULHALL          OK      73063
JOHN SLOAN                                                       81637 AVENIDA ESTUCO                                                               INDIO            CA      92203
JOHN SMAJDEK                                                     5925 BOB ST                                                                        LA MESA          CA      91942-2563
JOHN SMITH                                                       53 S ALWARD AVE                                                                    BASKING RIDGE    NJ      07920
JOHN SMITH                                                       15 MIMA CIR                                                                        BEEBE            AR      72012
JOHN SMITH                                                       11 PINE ST                                                                         S PORTLAND       ME      04106-1530
JOHN SMOOT                                                       601 WILLOW ST                                                                      COFFEYVILLE      KS      67337-4931
JOHN SNAVELY                                                     3215 N DIAMOND VALLEY                                                              STILLWATER       OK      74075-8775
JOHN SNAVELY                                                     3215 N DIAMOND VLY                                                                 STILLWATER       OK      74075-8775
JOHN SNYDER                                                      2676 CAPRA WAY                                                                     GRAND JUNCTION   CO      81506
JOHN SNYDER                                                      9405 E 68TH ST                                                                     RIPLEY           OK      74062-6251
JOHN SOUTH                                                       PO BOX 1507                                                                        GRAPEVINE        TX      76099-1507
JOHN SPECIAL                                                     PO BOX 369                                                                         STILLWATER       OK      74076-0369
JOHN SPICER                                                      5442 S PITTSBURG AVE                                                               TULSA            OK      74135-4807
JOHN SPINUZZI                                                    PO BOX 50987                                                                       DENTON           TX      76206
JOHN SQUIRES                                                     8325 MEADOW ROAD, APT 111                                                          DALLAS           TX      75231
JOHN SR AND CAROLINE BECK JT                                     18708 N COUNTY ROAD 3260                                                           PAULS VALLEY     OK      73075-8573
JOHN STALLINGS                                                   PO BOX 1365                                                                        FAIRBORN         OH      45324-1365
JOHN STANFORD                                                    1610 BRIGHTON DR                                                                   CARROLLTON       TX      75007
JOHN STEAD                                                       620 AMANDA DR                                                                      MATTHEWS         NC      28104
JOHN STEPHEN BLUBAUGH                                            PO BOX 7                                                                           MEDFORD          OK      73759
JOHN STEWART                                                     4217 STANFORD AVE                                                                  DALLAS           TX      75225-6932
JOHN STRANGLEN                                                   12512 DEERWOOD DR                                                                  OKLAHOMA CITY    OK      73142-5105
JOHN STRUTHERS                                                   903 VALLEY RD                                                                      HAZELTON         ID      83335-5068
JOHN SUMMERS                                                     301 WATERMERE DR #411                                                              SOUTHLAKE        TX      76092
JOHN SUMNER                                                      162 ANDRESS ST                                                                     JACKSONVILLE     FL      32208-4653


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              CreditorName                  CreditorNoticeName                         Address1                             Address2                 Address3            City   State       Zip      Country
JOHN SUTAK                                                               716 SW SUNDOWN TRAIL                                                                   BURLESON        TX      76028
JOHN SUTER                                                               3801 CREEK BEND RD                                                                     EDMOND          OK      73003-3508
JOHN SUTTON                                                              2127 FALCON HILL RD                                                                    FORT COLLINS    CO      80524
JOHN SWISHER                                                             6280 218TH AVE NW                                                                      NOWTHEN         MN      55330-8460
JOHN T BRIGGS AND CAROL WILLIAMS                                         PO BOX 243                                                                             RIPLEY          OK      74062-0243
JOHN T PERKINS REV TRUST                                                 1408 NW 150TH TERR                                                                     EDMOND          OK      73013
                                                                                                                       9211 Lake Hefner
John Thomas                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
John Thomas                           c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles     CA      90017
JOHN THOMAS                                                              6315 ECHO LAKES LN                                                                     MISSOURI CITY   TX      77459-5052
JOHN THOMAS                                                              4501 SHERMAN LAKE DR                                                                   STILLWATER      OK      74074-9591
John Thomas                                                              11674 Garden Way                                                                       Guthrie         OK      73044
JOHN THOMAS AND LOUISE THOMAS                                            1606 E WILL ROGERS DR                                                                  STILLWATER      OK      74075-6940
JOHN THOMASON                                                            8624 S PEACH RD                                                                        MULHALL         OK      73063
JOHN THOMASON                                                            18800 W 92ND ST                                                                        MULHALL         OK      73063
JOHN THOMPSON                                                            1103 HUNTINGTON AVE                                                                    NICHOLS HILLS   OK      73116
JOHN TIPTON                                                              110 MURLS LAKE CIR                                                                     WEATHERFORD     TX      76085
JOHN TONTZ                                                               1902 WINTERPORT CLUSTER                                                                RESTON          VA      20191-3648
                                                                                                                       9211 Lake Hefner
John Tracz                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
John Tracz                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
John Tracz                                                               4840 Brenda Dr                                                                         Orlando         OK      32812
JOHN TROOK                                                               703 OAK ST                                                                             HUNTINGTON      IN      46750
JOHN URBAN                                                               115 RIVER BEND RD                                                                      WIMBERLY        TX      78676
JOHN V ANDERSON 1992 REV TRUST                                           PO BOX 472                                                                             CRESCENT        OK      73028
JOHN VANCE AUTO GROUP                                                    PO BOX 400                                                                             GUTHRIE         OK      73044-0400
JOHN VAUGHN                                                              1570 SILKS TERRACE                                                                     GUTHRIE         OK      73044
JOHN VINCENT MCDONNELL LUFKIN EST                                        18603 TAMERIC ST                                                                       GERMANTOWN      MD      20874
JOHN VOGELSTEIN                                                          450 LEXINGTON AVE FL 36                                                                NEW YORK        NY      10017-3914
JOHN W & CYNTHIA J PRIDE REV LT                                          PO BOX 701950                                                                          TULSA           OK      74170-1950
JOHN W & ELIZABETH C THORNTON TRUST                                      1215 SERENITY LN                                                                       STILLWATER      OK      74074

JOHN W AVERY                                                             5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
JOHN W MORRISON                                                          126 MOCKINGBIRD LANE                                                                   CRESCENT        OK      73028-8702
JOHN W SILL SR REV TR                                                    PO BOX 817                                                                             BLANCHARD       OK      73010
JOHN W SVELAN                                                            7941 BERWYN ROAD                                                                       SAN DIEGO       CA      92126
JOHN W. BUNDREN                                                          9724 SOUTH 72ND EAST AVENUE                                                            TULSA           OK      74133
                                                                                                                       9211 Lake Hefner
John W. Holshouser                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
John W. Holshouser                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
John W. Holshouser                                                       11501 Twisted Oak Rd                                                                   Oklahoma City   OK      73120
JOHN WALKER                                                              837 W HOUSTON AVE                                                                      FULLERTON       CA      92832-3117
JOHN WALTER                                                              PO BOX 854                                                                             BEAVER          OK      73932
JOHN WALTER BEANE                                                        300 AUTRY STREET                                                                       NORCROSS        GA      30071
JOHN WARD                                                                5291 BLUEJAY CIR                                                                       BLANCHARD       OK      73010
JOHN WASILCHICK                                                          516 REED ST                                                                            PHILADELPHIA    PA      19147-5823
JOHN WEBSTER                                                             72355 MAGNESIA FALLS DR                                                                RANCHO MIRAGE   CA      92270-4943
JOHN WELLES CLARK                                                        1465 WOODLAND TRAIL                                                                    ABILENE         TX      79605
JOHN WELLS                                                               101 MERRITT DRIVE                                                                      ELK CITY        OK      73644
JOHN WENDELL HAYNIE                                                      521 URY ROAD                                                                           CADDO           OK      74729-4107
JOHN WEST                                                                1502 S BOULDER AVE APT 17M                                                             TULSA           OK      74119
JOHN WHEELER                                                             1130 38TH AVE STE B                                                                    GREELEY         CO      80634-2581
JOHN WHEELER                                                             3005 W 16TH STREET                                                                     GREELEY         CO      80634
JOHN WILCZEK                                                             14400 ECHO BLF                                                                         AUSTIN          TX      78737-9106
JOHN WILEY                                                               2130 FARMINGTON CIRCLE                                                                 DAWSONVILLE     GA      30534

JOHN WILLIAM & MARY HELEN BOWLES RE                                      2207 WEST 24TH STREET                                                                  STILLWATER      OK      74074


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JOHN WILLIAM JOHNSTON                                           11113 E 118TH CT NORTH                                                                 COLLINSVILLE    OK    74021
JOHN WILLIAMSON                                                 4110 FOREST HILL AVE                                                                   RICHMOND        VA    23225-3302
                                                                                                              9211 Lake Hefner
John Wimpy                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                             c/o Laminack, Pirtle & Martines,
John Wimpy                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
John Wimpy                                                      7777 W. Skyline Dr                                                                     Tulsa           OK    74107
JOHN WISS                                                       1216 PEMBROOK DR                                                                       WARRENSBURG     MO    64093
JOHN WOLF                                                       1705 INDIANA AVE                                                                       JOPLIN          MO    64804
JOHN WOLF                                                       9434 CEDAR LAKE AVE                                                                    OKLAHOMA CITY   OK    73114-7809
JOHN WOODS                                                      156 FAUBEL ST                                                                          SARASOTA        FL    34242
JOHN WORSHAM                                                    1909 SUWANEE VALLEY RD                                                                 LAWRENCEVILLE   GA    30043-4142
JOHN WRIGHT                                                     5818 WESSEX LN                                                                         ALEXANDRIA      VA    22310-1400
JOHN Y STAMBAUGH                                                PO BOX 346                                                                             MONTROSE        CO    81402
JOHN YAKLICH                                                    7562 D PLANTZ ROAD                                                                     MARYSVILLE      CA    95901
JOHN Yunkit                                                     6101 NORWICH CT                                                                        OKLAHOMA CITY   OK    73132-2604
                                                                                                              9211 Lake Hefner
John Beal                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                             c/o Laminack, Pirtle & Martines,
John Beal                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
John Beal                                                       3300 Harper Rd                                                                         Choctaw         OK    73020
                                                                                                              9211 Lake Hefner
John Belardo                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                             c/o Laminack, Pirtle & Martines,
John Belardo                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
John Belardo                                                    2400 Jessica Lane                                                                      Edmond          OK    73034
                                                                                                              9211 Lake Hefner
John Craig                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                             c/o Laminack, Pirtle & Martines,
John Craig                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
John Craig                                                      502 E Grant St                                                                         Guthrie         OK    73034
                                                                                                              9211 Lake Hefner
John Dowd                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                             c/o Laminack, Pirtle & Martines,
John Dowd                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
John Dowd                                                       5016 Creekwood Dr                                                                      Oklahoma City   OK    73135
                                                                                                              9211 Lake Hefner
John Gober Jr.               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                             c/o Laminack, Pirtle & Martines,
John Gober Jr.               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
John Gober Jr.                                                  4805 SE 41st St                                                                        Del City        OK    73115
                                                                                                              9211 Lake Hefner
John Locke                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                             c/o Laminack, Pirtle & Martines,
John Locke                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
John Locke                                                      14917 Chisholm Trail                                                                   Choctaw         OK    73020
                                                                                                              9211 Lake Hefner
John Milburn                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                             c/o Laminack, Pirtle & Martines,
John Milburn                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
John Milburn                                                    1175 Stone Ridge Dr                                                                    Edmond          OK    73034
                                                                                                              9211 Lake Hefner
John Sheets                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                             c/o Laminack, Pirtle & Martines,
John Sheets                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
John Sheets                                                     100106 S. Hwy 18                                                                       Meeker          OK    74855
                                                                                                              9211 Lake Hefner
Johna L. Smith               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120



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                                      c/o Laminack, Pirtle & Martines,
Johna L. Smith                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Johna L. Smith                                                           17867 E. 104th Place N.                                                                 Owasso           OK      74055
JOHNA RILEY                                                              15825 MONTROSE LN                                                                       INOLA            OK      74036
JOHNANNA HEATHMAN                                                        419 N ALFRED ST                                                                         MARSHALL         OK      73056-9761
JOHNATHAN CUTRER                                                         PO BOX 62024                                                                            SAN ANGELO       TX      76906
Johnathan Ivers                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Johnathan Ivers                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Johnathan Ivers                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Johnathan Ivers                                                          37 Overcrest Rd                                                                         Ponca City       OK      74604
JOHNATHAN LINN                                                           4814 W FARMERS AVE                                                                      AMARILLO         TX      79110
JOHNATHAN SCHAUL                                                         12101 S MAY AVE                                                                         EDMOND           OK      73025
                                                                                                                       9211 Lake Hefner
Johnathan W.T. Lewis                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Johnathan W.T. Lewis                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Johnathan W.T. Lewis                                                     2013 Sunset Dr                                                                          Moore            OK      73160
JOHNEY BENZ & ROSIE BENZ                                                 PO BOX 53                                                                               MARSHALL         OK      73056
JOHNIE OUZTS                                                             3570 E ENTRADA DEL SOL                                                                  TUCSON           AZ      85718
JOHNIE SPILLMAN                                                          1310 S BOUNDARY ST                                                                      PERRY            OK      73077
JOHN-MARK BEAVER                                                         2320 NW 56TH TER                                                                        OKLAHOMA CITY    OK      73112-7709
JOHNNIE BERNARD                                                          750 S ANDERSON RD                                                                       CHOCTAW          OK      73020-7209
JOHNNIE CRAIG & SANDRA L LEWIS H&W                                       1236 PARTRIDGE PLACE                                                                    CHOCTAW          OK      73020
JOHNNIE DAVIS                                                            3113 N UNION RD                                                                         GLENCOE          OK      73032
Johnnie E. Thompson                   c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Johnnie E. Thompson                   c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Johnnie E. Thompson                   c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Johnnie E. Thompson                                                      644 North Union Pl                                                                      Tulsa            OK      74127
JOHNNIE GRAYBILL                                                         2871 CR 5900                                                                            COFFEYVILLE      KS      67337
JOHNNIE JOHNSON                                                          3252 RIVER PARK DR                                                                      BAKER CITY       OR      97814
JOHNNIE L ROBINO ESTATE                                                  1801 YELLOWSTONE LN                                                                     EDMOND           OK      73003-4675
JOHNNIE LEE & FRANCES LORRAINE                                           PO BOX 315                                                                              RIPLEY           OK      74062-0315
JOHNNIE LEE DAVIS TTEE                                                   6222 S INDIANAPOLIS AVE                                                                 TULSA            OK      74136
JOHNNIE MCKEE                                                            114 N 5TH ST                                                                            PERRY            OK      73077
JOHNNIE PIRKLE                                                           412 E 13TH STREET                                                                       CHANDLER         OK      74834
JOHNNIE PORTER                                                           2055 NOVATE LN                                                                          EDMOND           OK      73034-5724
JOHNNIE WRIGHT                                                           PO BOX 75                                                                               DEPEW            OK      74028
JOHNNY BOURLON                                                           20423 WALKER ST                                                                         HARRAH           OK      73045
JOHNNY CATES                                                             5900 S LAKE FOREST DR STE 300                                                           MCKINNEY         TX      75070
JOHNNY CAWLFIELD                                                         1716 NORTH MEADOW LANE                                                                  STILLWATER       OK      74074
JOHNNY COOLEY AND PATTI E COOLEY                                         7124 W 19TH                                                                             STILLWATER       OK      74074
JOHNNY COPELAND                                                          13300 OSTRICH LN                                                                        ARDMORE          OK      73401-9758
JOHNNY DURHAM                                                            7136 NEW HOPE RD                                                                        HACKETT          AR      72937
JOHNNY GRANT                                                             19139 W HIGHWAY 6                                                                       SAYRE            OK      73662
JOHNNY GRIFFIN                                                           PO BOX 1612                                                                             STILLWATER       OK      74076
JOHNNY HAFNER                                                            3997 E CR 60                                                                            ORLANDO          OK      73073
JOHNNY HERRING                                                           2704 E 68TH ST                                                                          STILLWATER       OK      74074
JOHNNY LANE                                                              3700 PLANZ RD                                                                           BAKERSFIELD      CA      93309-6056
JOHNNY LONG                                                              PO BOX 1925                                                                             STILLWATER       OK      74076-1925
JOHNNY LYON                                                              153 RIDGE DR                                                                            SAN ANTONIO      TX      78228-3755
JOHNNY MARTIN                                                            2601 COCONO DR SW                                                                       ALBUQUERQUE      NM      87105-7090
JOHNNY RATH                                                              204 BROADWAY                                                                            COVINGTON        OK      73730

JOHNNY SANCHES AND ANNA M SANCHES H                                      7902 W DEEPROCK                                                                         RIPLEY           OK      74062-6447
                                                                                                                       9211 Lake Hefner
Johnny Ware                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
Johnny Ware                           c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles      CA      90017
Johnny Ware                           c/o Pulaski Law Firm               Attn: Adam Pulaski                            2925 Richmond Ave     Ste. 1725           Houston          TX      77098
Johnny Ware                                                              815 E 3rd st                                                                            Cushing          OK      74023


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JOHNNY WIGGS                                                           268 E 137TH                                                                             GLENPOOL          OK    74033
JOHNNY WORTHY                                                          917 S LITTLE AVE                                                                        CUSHING           OK    74023

JOHNSON CONTROLS FIRE PROTECTION LP                                    DEPT CH 10320                                                                           PALATINE          IL    60055-0320
JOHNSON FAMILY LIVING TRUST                                            8726 E. MARKET AVE                                                                      ENID              OK    73701-9630
JOHNSON FAMILY LVG TR                                                  PO BOX 60                                                                               PYATT             AR    72672
JOHNSON FAMILY REVOCABLE TRUST                                         2031 PECAN ST                                                                           ASHDOWN           AR    71822
JOHNSON OIL PARTNERSHIP                                                PO BOX 53567                                                                            MIDLAND           TX    79710
Johnson, Anthony                      c/o White Star Petroleum, LLC    4615 W. Lakeview Rd                                                                     Stillwater        OK    74074
Johnson, Kimberly                     c/o White Star Petroleum, LLC    301 NW 63rd St                                Ste 600                                   Oklahoma City     OK    73116
JOHNY AND B JOVAN HODGES JT                                            324 W PARKWAY ST                                                                        ADA               OK    74820-4244
JOLENE CARVER                                                          3740 HILLSDALE DR                                                                       OLIVE BRANCH      MS    38654
JOLENE L FISHER                                                        1016 7TH STREET                                                                         SIBLEY            IA    51249
Jolinda Burns                         c/o Allen Stewart, PC            Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX    75070
Jolinda Burns                         c/o Drummond Law, PLLC           Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK    74104
Jolinda Burns                         c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                         747 3rd Ave                               New York          NY    10017
Jolinda Burns                                                          801 W Cherokee Ave                                                                      Stillwater        OK    74075
JON BROCK                                                              25437 COUNTY ROAD 940                                                                   MEDFORD           OK    73759-5124
JON BROWN                                                              PO BOX 246                                                                              PALESTINE         TX    75802-0246
JON CASE                                                               4488 LONESOME OAK LANE                                                                  SPRINGFIELD       MO    65803
JON COPELAND                                                           321 MATHESON CT                                                                         COPPELL           TX    75019-2270
JON CYMES                                                              9430 INDIANS ST                                                                         ARVADA            CO    80007-8239
JON DAVIS                                                              1325 N WALKER AVE APT 116                                                               OKLAHOMA CITY     OK    73103
JON DOWNS                                                              PO BOX 57                                                                               GLENCOE           OK    74032-0057
JON EVANS                                                              11349 HWY 116                                                                           GUERNEVILLE       CA    95446-9719
JON GIFFIN                                                             PO BOX 520                                                                              SOMERS            MT    59932-0520
JON NELSON                                                             3135 WEST 35TH AVENUE                                                                   DENVER            CO    80211
JON NELSON DULL                                                        159 LA PALOMA DRIVE                                                                     RAWLINS           WY    82301
JON PEARCE                                                             523 E 44TH ST                                                                           STILLWATER        OK    74074-7500
JON PHILLIP ANDERSON                                                   6533 GRANADA DRIVE                                                                      PRAIRIE VILLAGE   KS    66208
JON POLLARD                                                            302 VALENTINE LN # 102                                                                  WYLIE             TX    75098-4113
JON PRALLE                                                             PO BOX 3                                                                                FAIRMONT          OK    73736
JON RENFRO                                                             3 GOLDEN GATE CT                                                                        ST PETERS         MO    63376
JON REYNOLDS                                                           4612 PIKEYS TRAIL                                                                       TUTTLE            OK    73089-5608
JON RUCKER                                                             252 SLEEPY HOLLOW LN                                                                    COPPELL           TX    75019
JON SHAW                                                               9416 SEAGER COURT                                                                       BAKERSFIELD       CA    93311
                                                                                                                     9211 Lake Hefner
Jon Terronez                          c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120

Jon Terronez                          c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                    5020 Montrose Blvd    9th Fl              Houston           TX    77006
Jon Terronez                                                             523 S. Blaine Ave.                                                                    Chandler          OK    74834
JON VAVERKA                                                              3301 1/2 S WEST ST                                                                    STILLWATER        OK    74074-5906
JON W NICHOLS TRUSTEE                                                    PO BOX 1196                                                                           OKLAHOMA CITY     OK    73101-1196
JON WEST BURRIS                                                          2934 ELM TREE PARK                                                                    SAN ANTONIO       TX    78259
JON WILLMAN                                                              117 FAWN LN                                                                           LONGVIEW          WA    98632
JONATHAN AARON JACK                                                      12000 QUAIL CREEK RD                                                                  OKLAHOMA CITY     OK    73120
JONATHAN ANDRES                                                          4310 NE 54TH AVE                                                                      PORTLAND          OR    97218
JONATHAN CARTER                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                   Stillwater        OK    74074
JONATHAN CHRISMAN                                                        14707 WATERLOO FALLS RD                                                               ARCADIA           OK    73007
JONATHAN D FRIEND TRUST DTD 4-17-95                                      3729 E 87TH PL                                                                        TULSA             OK    74137
JONATHAN D FRIEND, II                                                    3729 EAST 87TH PLACE                                                                  TULSA             OK    74137
JONATHAN DAVID                                                           44 W 980 MAIN STREET RD                                                               ELBURN            IL    60119
JONATHAN HARDIN                                                          2405 CHERI LN                                                                         BRENHAM           TX    77833
JONATHAN HICKEYS                                                         2223 E. 12TH AVE.                                                                     STILLWATER        OK    74074
JONATHAN HOUSE                                                           12213 CASTLE PINES DRIVE                                                              BELTSVILLE        MD    20705
JONATHAN LAPUZZA                                                         2015 E WILLOW CREEK TER                                                               MUSTANG           OK    73064-6146
JONATHAN MASS                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                   Stillwater        OK    74074
JONATHAN ROGERS                                                          512 N LAWNDALE AVE                                                                    KANSAS CITY       MO    64123
JONATHAN SLOMINSKI                    c/o White Star Petroleum, LLC      301 NW 63rd St                              Ste 600                                   Oklahoma City     OK    73116


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             CreditorName                   CreditorNoticeName                             Address1                         Address2                 Address3           City      State     Zip      Country
JONATHAN SPEERS                                                          PO BOX 41                                                                              YORK HARBOR       ME    03911-0041

JONATHAN VELIE                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX    75070
JONATHAN ZACKARY SHALOM                                                  PO Box 1588                                                                            TULSA             OK    74101-1588
JONATHON FISHER                                                          610 ODENVILLE DR                                                                       WYLIE             TX    75098
JONELL O.                                                                9939 DOVER PLACE                                                                       OWASSO            OK    74055
JONELL O.                                                                2121 S YORKTOWN AVE APT 103                                                            TULSA             OK    74114-1425
JONELL OBRIEN KOEHLE                                                     9939 DOVER PL                                                                          OWASSO            OK    74055
JONELLE RALLS                                                            2258 S DELAWARE CT                                                                     TULSA             OK    74114
JONES COUNTY MINERALS INC                                                1924 S UTICA AVE STE 1010                                                              TULSA             OK    74104-6522
JONES DAUBE MINERAL COMPANY                                              PO BOX 1169                                                                            DUNCAN            OK    73534-1169
JONES DAY                                                                717 TEXAS STE 3300                                                                     HOUSTON           TX    77002
JONES FAMILY TRST                                                        PO BOX 309                                                                             TECUMSEH          OK    74873-0309
JONES REVOCABLE TRUST                                                    8516 NW 70TH ST                                                                        OKLAHOMA CITY     OK    73132-4089
JONES WALKER LLP                                                         201 ST CHARLES AVE 50TH FL                                                             NEW ORLEANS       LA    70170-5100
Jones, Jerry                          c/o White Star Petroleum, LLC      510 S Main St                                                                          Leedey            OK    73654
JONES-KALKMAN MINERAL CO                                                 PO BOX 2327                                                                            ARDMORE           OK    73402
JONES-KALKMAN MINERAL COMPANY                                            PO BOX 2327                                                                            ARDMORE           OK    73402
                                                                                                                       9211 Lake Hefner
Jonna Luna                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Jonna Luna                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Jonna Luna                                                               3113 N. McMillan Ave                                                                   Bethany           OK    73008
JONNE WALTER                                                             935 STOVALL BLVD NE                                                                    ATLANTA           GA    30319

JONNELL LYNN THURMAN AND STACY LACY                                      3220 E KNIPE AVE                                                                       PERKINS           OK    74059-3839
JONNELL THURMAN                                                          3210 W 68TH ST                                                                         STILLWATER        OK    74074-2674
JOQUETA RIDING IN                                                        809 LIN LN                                                                             PAWNEE            OK    74058
JORDAN COLE                                                              717 NW 40TH STREET                                                                     OKLAHOMA CITY     OK    73118
JORDAN COY                                                               11100 ROXBORO AVE APT 1412                                                             OKLAHOMA CITY     OK    73162-2528
JORDAN FAMILY REVOCABLE TR DTD 10-2                                      2072 BRIDGEWOOD WAY                                                                    UPLAND            CA    91784
JORDAN JONES                                                             16517 PECAN ST                                                                         CHANNEL VIEW      TX    77530
JORDAN MORRISETT                                                         3612 CANTABELLA CT                                                                     NORTH LAS VEGAS   NV    89032
JORDAN WIGGINS                                                           9116 TRACY DR                                                                          OKLAHOMA CITY     OK    73132-1071
                                                                                                                       9211 Lake Hefner
Jordan Breshears                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Jordan Breshears                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Jordan Breshears                                                         1120 Price Dr                                                                          Moore             OK    73160
                                                                                                                       9211 Lake Hefner
Jordan Hernandez                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Jordan Hernandez                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Jordan Hernandez                                                         10519 Dare Lane                                                                        Norman            OK    73026
                                                                                                                       9211 Lake Hefner
Jose L. Soto                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Jose L. Soto                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Jose L. Soto                                                             9009 N. Eagle Lane                                                                     Oklahoma City     OK    73132
                                                                                                                       9211 Lake Hefner
Jose Luis Bosquez                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Jose Luis Bosquez                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Jose Luis Bosquez                                                        1313 SW 68th St                                                                        Oklahoma City     OK    73159
JOSE MEDRANO                                                             4307 E 19TH AVE                                                                        STILLWATER        OK    74074-6046
JOSE MEDRANO                                                             4307 E 19TH ST                                                                         STILLWATER        OK    74074
JOSE R AND ANA R URDANETA                                                2303 EAST WILL ROGERS DRIVE                                                            STILLWATER        OK    74075
JOSE STANGE                                                              4129 MOORGATE CIR                                                                      NORMAN            OK    73072



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                                                                                                                       9211 Lake Hefner
Jose Fonseca                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jose Fonseca                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Jose Fonseca                                                             10450 Cowan Dr                                                                         Edmond            OK      73025
                                                                                                                       9211 Lake Hefner
Jose Santana                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Jose Santana                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Jose Santana                                                             10455 S Westminster Rd                                                                 Guthrie           OK      73034
                                                                                                                       9211 Lake Hefner
Joseph Dowling                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Joseph Dowling                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Joseph Dowling                                                           1394 Scenic Trail                                                                      Choctaw           OK      73020
                                                                                                                       9211 Lake Hefner
Joseph Galindo                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Joseph Galindo                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Joseph Galindo                                                           21945 N. Fork Rd                                                                       Luther            OK      73054
                                                                                                                       9211 Lake Hefner
Joseph Haddad                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Joseph Haddad                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Joseph Haddad                                                            6208 Commodore Lane                                                                    Oklahoma City     OK      73162
                                                                                                                       9211 Lake Hefner
Joseph Rankin                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Joseph Rankin                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Joseph Rankin                                                            10800 Admiral Dr                                                                       Oklahoma City     OK      73162
JOSEPH A EGLE                                                            5944 KENWOOD AVENUE                                                                    KANSAS CITY       MO      64110
JOSEPH AND JIMMIE L KOLB                                                 7900 S WESTERN RD                                                                      STILLWATER        OK      74074-2569
JOSEPH ANDREWS                                                           513 GREENFIELD DR                                                                      YUKON             OK      73099
JOSEPH B VADDER TTEE                                                     25912 E 660 RD                                                                         HENNESSEY         OK      73742
JOSEPH BALDI                                                             134 E 3RD ST                                                                           FREDERICK         MD      21701
JOSEPH BECKER                                                            3003 ADAMS ST NE APT M71                                                               ALBUQUERQUE       NM      87110-8016
JOSEPH BIGBIE                                                            221 PLEASANT HOME RD                                                                   LAUREL            MS      39443
JOSEPH BOWLES                                                            149 CANDLEWOOD RD                                                                      ROCKY MOUNT       NC      27804
JOSEPH BOYD                                                              PO BOX 69                                                                              STILLWATER        OK      74076-0069
JOSEPH BUCK                                                              4516 ARROWHEAD AVE                                                                     ALBUQUERQUE       NM      87114
JOSEPH BUSSARD                                                           705 N 6TH ST                                                                           KINGFISHER        OK      73750
JOSEPH C REYNA                                                           3721 MARIANA WAY #B                                                                    SANTA BARBARA     CA      93105
JOSEPH C. VAUGHAN                                                        2008 ELMHURST AVENUE                                                                   OKLAHOMA CITY     OK      73120
JOSEPH CARROLL                                                           615 S ANDERSON RD                                                                      OKLAHOMA CITY     OK      73020
JOSEPH CAVETT                                                            19417 E 48TH ST S                                                                      BROKEN ARROW      OK      74014
JOSEPH COMBS                                                             PO BOX 30974                                                                           CHARLESTON        SC      29417-0974

JOSEPH D CONLEY                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070

JOSEPH D PERDUE & BARBARA A PERDUE                                       22900 N HWY 74                                                                         MARSHALL          OK      73056
JOSEPH DAVENPORT                                                         315 S BRISTOW AVE                                                                      DRUMRIGHT         OK      74030-4001
JOSEPH DAY                                                               28101 CR 80                                                                            PERRY             OK      73077
JOSEPH DEMPSEY                                                           PO BOX 52920                                                                           TULSA             OK      74152-0920
JOSEPH E HALL & CARMA LEE CARTER JT                                      3202 PEACHTREE AVENUE                                                                  STILLWATER        OK      74074
JOSEPH ECHELLE                                                           4509 E LONE CHIMNEY RD                                                                 GLENCOE           OK      74032
JOSEPH ECHELLE                                                           PO BOX 222                                                                             STROUD            OK      74079
JOSEPH ENMEIER                                                           119 TRAILWAY RD UNIT 2123                                                              MIDDLE RIVER      MD      21220
JOSEPH F COSTABILE JR                                                    738 OAK RIDGE DR                                                                       SAND SPRINGS      OK      74063-7011
JOSEPH FAIRLESS                                                          6107 MAGNOLIA AVE                                                                      ST LOUIS          MO      63139


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              CreditorName                  CreditorNoticeName                         Address1                            Address2                  Address3            City     State       Zip      Country
JOSEPH FARRANT                                                          PO BOX 8412                                                                             EDMOND           OK       73083
JOSEPH FILEBARK                                                         10 SNOW PEAK RD                                                                         PLACITAS         NM       87043
JOSEPH FITZPATRICK                                                      906 HARMON WAY                                                                          MIDDLETON        ID       83644
JOSEPH FORSMAN                                                          74 ANGLER COURT                                                                         CARBONDALE       CO       81623
JOSEPH FOX                                                              1100 EQUINE DRIVE                                                                       STILLWATER       OK       74074
JOSEPH G CRAVEN                                                         1424 W WARNER                                                                           GUTHRIE          OK       73044
JOSEPH GREER                                                            312 KESTERFIELD DRIVE                                                                   ENID             OK       73703
JOSEPH H HAMRA JR                                                       1001 NW 139TH STREET PKWY                                                               EDMOND           OK       73013-9792
JOSEPH HOUSE                                                            2008 LAKEWOOD                                                                           SUITLAND         MD       20746
JOSEPH JACKSON                                                          8825 OAK RIDGE DRIVE                                                                    MIDWEST CITY     OK       73110
JOSEPH JANKOWSKY                                                        2971 E 56TH PL                                                                          TULSA            OK       74105
JOSEPH JETER                                                            6203 SOUTHRIDGE PKWY                                                                    ALLEN            TX       75002
JOSEPH JOE STROUBE                                                      PO BOX 830308                                                                           DALLAS           TX       75283-0308
JOSEPH MEEKS                                                            PO BOX 2522                                                                             STILLWATER       OK       74076-2522
JOSEPH MICHAEL REYNOLDS                                                 9902 BLUE BIRD                                                                          LAPORTE          TX       77571
                                                                                                                      9211 Lake Hefner
Joseph Nappo                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                     c/o Laminack, Pirtle & Martines,
Joseph Nappo                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
Joseph Nappo                                                            6744 S. 90th East Ave                                                                   Tulsa            OK       74133
JOSEPH NEALIS                                                           28212 COUNTY HWY 26                                                                     DETROIT LAKES    MN       56501-7714
JOSEPH NEWCOMB FAMILY TRUST                                             PO BOX 52930                                                                            TULSA            OK       74152-0930
JOSEPH O'LAUGHLIN                                                       1045 TOEDTLI DR                                                                         BOULDER          CO       80305
JOSEPH PANKO                                                            3916 RIDGE GATE DRIVE                                                                   PLANO            TX       75074
                                                                                                                      9211 Lake Hefner
Joseph Pool                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                     c/o Laminack, Pirtle & Martines,
Joseph Pool                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
JOSEPH POOL                                                             PO BOX 739                                                                              CRESCENT         OK       73028
Joseph Pool                                                             324 N Luella Ave                                                                        Cushing          OK       74023
JOSEPH R WRIGHT SETTLOR UNDER TR                                        555 5TH AVE 19TH FL                                                                     NEW YORK         NY       10017
Joseph Ruffin                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070
Joseph Ruffin                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK       74104
Joseph Ruffin                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY       10017
Joseph Ruffin                                                           849 North Waco Ave                                                                      Tulsa            OK       74127
JOSEPH RUHL                                                             1414 CANYON LAKE DR                                                                     GUTHRIE          OK       73044
JOSEPH SCHOTT                                                           3244 W YUCCA ST                                                                         PHOENIX          AZ       85029-4134
JOSEPH SCHROEDER                                                        RR 1 BOX 168                                                                            ARNETT           OK       73832-9708
JOSEPH SERIGNESE                                                        30ROSEWOOD RD                                                                           ROCKY POINT      NY       11778
JOSEPH SETTLES                                                          PO BOX 177                                                                              RATLIFF CITY     OK       73481
JOSEPH SHADOW                                                           PO BOX 3112                                                                             MORRISTOWN       TN       37815
JOSEPH SHELLEY                                                          PO BOX 3894                                                                             KINGMAN          AZ       86402-3894
JOSEPH SMITH                                                            119 PINE ISLAND DR                                                                      MARSHALL         TX       75672
JOSEPH SPILLMAN                                                         403 BETTY LN                                                                            MIDWEST CITY     OK       73110
JOSEPH STEWART                                                          11707 W 68TH ST                                                                         COYLE            OK       73027-6401
JOSEPH TUCEI                                                            519 25TH STREET 5                                                                       VIRGINIA BEACH   VA       23451
JOSEPH TULLY DECEASED                                                   1041 BUTTE CT                                                                           CHANHASSEN       MN       55317-9015
JOSEPH WAYNE MURRAY                                                     1815 NORTH BOOMER ROAD, APT F14                                                         STILLWATER       OK       74075
JOSEPH WELCH                                                            11208 S 2ND ST                                                                          JENKS            OK       74037
JOSEPH WILBUR ARB                                                       104 W 18TH ST                                                                           OWASSO           OK       74055-4638
JOSEPH WILSON                                                           1680 SHERMAN ST                                                                         DENVER           CO       80203
JOSEPH WORSHAM                                                          PO BOX 25531                                                                            DALLAS           TX       75225-1531
JOSEPHINE L STORY TRUST                                                 15643 VILLORESI WAY                                                                     NAPLES           FL       34110-2713
JOSEPHINE LAUGHLIN ESTATE                                               300 N MARIENFELD ST STE 700                                                             MIDLAND          TX       79705
JOSEPHINE VOSS                                                          13704 BRANFORD                                                                          PACOIMA          CA       91331
JOSEPHINE WELCH LUNDY RESIDUARY TR                                      PO BOX 4655 MC252                                                                       ATLANTA          GA       30302
Josephine Willie                     c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070
Josephine Willie                     c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK       74104
Josephine Willie                     c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY       10017


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Josephine Willie                                                        301 S 5th St                                                                           Fairfax           OK      74637
JOSH DOBBS                                                              814 GRIGSBY STREET                                                                     NEW CASTLE        OK      73065
JOSH FOGELMAN                                                           PO BOX 166                                                                             MULHALL           OK      73063
JOSH LEE                                                                1148 COUNTY ROAD 3007                                                                  BARTLESVILLE      OK      74003
JOSH LEE LVNG TRST DTD 5-20-1999                                        1148 COUNTY ROAD 3007                                                                  BARTLESVILLE      OK      74003
JOSH MCCLAIN                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
JOSH MCCOLLOM                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
JOSH MERCHANT                                                           724 EVENING DR                                                                         YUKON             OK      73099
JOSH TIPTON                                                             1415 E 4165 S                                                                          SALT LAKE CITY    UT      84124
JOSHUA ALLISON                                                          208 N 5TH STREET                                                                       WAUKOMIS          OK      73773
JOSHUA B BERRY ESTATE                                                   PO BOX 25372                                                                           HOUSTON           TX      77265-5372
JOSHUA BERRY                                                            6260 WICKERSHAM LN                                                                     HOUSTON           TX      77057-4414
JOSHUA BRIDGES                                                          517 STARVIEW ST                                                                        TEMPLE            TX      76502-5058
JOSHUA BUTLER                                                           4804 PINTO DR                                                                          STILLWATER        OK      74074
JOSHUA CHAPMAN                                                          5001 ARBUCKLE DR                                                                       EDMOND            OK      73025-9629
JOSHUA GOBLE                                                            41791 LOMAS ST                                                                         HEMET             CA      92544-7579
JOSHUA HAWKINS                                                          515 S. Liberty Avenue                                                                  OKMULGEE          OK      74447
JOSHUA J SCHLER                                                         18021 SOUTH 162ND ST                                                                   MARSHALL          OK      73056
JOSHUA LAKE                                                             PO BOX 2313                                                                            STILLWATER        OK      74076-2313
JOSHUA OVERFELT AND MISTI OVERFELT                                      708 TERIWINE                                                                           PERKINS           OK      74059-9165
JOSHUA R AND TANYA ARFLIN MASSEY                                        2319 EAST WILL ROGERS DRIVE                                                            STILLWATER        OK      74075
JOSHUA RAMIREZ                                                          1602 E GRANT AVE                                                                       GUTHRIE           OK      73044-5814
JOSHUA RODGERS                                                          RR 2 BOX 107B                                                                          VICI              OK      73859-9465
JOSHUA SHACKELFORD                                                      2521 NW 181ST ST                                                                       EDMOND            OK      73012
JOSHUA SHARPE                                                           1336 ARGONNIA LANE                                                                     DANDRIDGE         TN      37725-5247
JOSHUA TIPTON                                                           1415 E 4165 S                                                                          SALT LAKE CITY    UT      84124-1440
JOSHUA TIVIS                                                            5522 E SPIVA LN                                                                        PERKINS           OK      74059-4493
JOSHUA USELTON                                                          PO BOX 7015                                                                            EDMOND            OK      73083
JOSHUA VOTH                                                             1705 JORDAN DR                                                                         MOORE             OK      73160
JOST LLC                                                                PO BOX 20100                                                                           OKLAHOMA CITY     OK      73156
JOURNEY OIL & GAS INC                                                   PO BOX 2647                                                                            EDMOND            OK      73083
JOURNEY OILFIELD EQUIPMENT LLC                                          PO BOX 1540                                                                            WOODWARD          OK      73802-1540
Journey Oilfield Equipment, LLC      c/o Sims, Price & Price LLC        Attn: Ryan Price                              PO Box 1086                              Woodward          OK      73802
JOVANNA L PACE                                                          211498 E 640 RD                                                                        VICI              OK      73859
JOVITA LANG                                                             2603 DANS CT                                                                           ENID              OK      73703
JOY ADLER                                                               PO BOX 1175                                                                            STILLWATER        OK      74076-1175
                                                                                                                      9211 Lake Hefner
Joy Christine Dryer                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Joy Christine Dryer                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Joy Christine Dryer                                                     8501 Wakefield St                                                                      Oklahoma City     OK      73149
JOY CREE LTD                                                            1224 N HOBART ST STE 108                                                               PAMPA             TX      79065-7100
JOY CROWDER                                                             17242 N CR 3197                                                                        PAULS VALLEY      OK      73075
JOY E WILSON                                                            PO BOX 444                                                                             FORT SUPPLY       OK      73841-0444
                                                                                                                      9211 Lake Hefner
Joy Edwards                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120

Joy Edwards                          c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Joy Edwards                                                             12012 Camelot Dr                                                                       Oklahoma City     OK      73120
JOY JACKSON                                                             7060 LOS VIENTOS SERENOS                                                               ESCONDIDO         CA      92029
JOY LABAR                                                               PO BOX 21390                                                                           OKLAHOMA CITY     OK      73156-1390
JOY LAMBERT                                                             2601 MARSH LANE #201                                                                   PLANO             TX      75093-8486
JOY N HOYLE                                                             220 MELBOURNE LANE                                                                     GREENVILLE        SC      29615
JOY PEMBERTON                                                           4720 HIGHWAY 231                                                                       SPRINGDALE        WA      99173-9604
JOY RENNER ZUMMALLEN                                                    7702 LONE MOOR CIRCLE                                                                  DALLAS            TX      75248
JOY STATES                                                              23169 E 730 RD                                                                         DOVER             OK      73734-3479
JOY WALDROOP                                                            PO BOX 487                                                                             MORRISON          OK      73061
JOY WATTENBURGER                                                        1107 E 8TH ST                                                                          CUSHING           OK      74023-4655
JOY WEBBER                                                              100 CRESTWAY                                                                           BAYTOWN           TX      77520


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JOYCE A FITZGERALD LIFE ESTATE                                           3929 S HUSBAND ST                                                                      STILLWATER      OK    74074-7572

JOYCE A PROCK                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX    75070
                                                                                                                       9211 Lake Hefner
Joyce A. Holliday                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Joyce A. Holliday                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Joyce A. Holliday                                                        3700 Whisper Oak Dr                                                                    Edmond          OK    73034
JOYCE ALLEN                                                              7008 E GARY STREET                                                                     MESA            AZ    85207-3733
                                                                                                                       9211 Lake Hefner
Joyce Anderson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Joyce Anderson                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Joyce Anderson                                                           1104 S. Lions Ct                                                                       Broken Arrow    OK    74012
JOYCE ANN ELSWICK                                                        6811 WALNUT CREEK                                                                      STILLWATER      OK    74074
JOYCE BABIRAK                                                            4701 W HWY 33                                                                          GUTHRIE         OK    73044
JOYCE BENKENDORF                                                         7924 W WOOD RD                                                                         WAUKOMIS        OK    73773
JOYCE BETHKE HOLT                                                        15A CONCRETE ST                                                                        MERIDIAN        TX    76665
JOYCE BLACKBURN HART                                                     1451 S GREENVILLE AVE APT 3109                                                         ALLEN           TX    75002
JOYCE BOYD                                                               PO BOX 442                                                                             VICI            OK    73859-0442
JOYCE BRADLEY                                                            3600 N TULSA AVE                                                                       OKLAHOMA CITY   OK    73112-3156
JOYCE CAREY GAITHER WARREN TR                                            1705 WINDSOR PL                                                                        OKLAHOMA CITY   OK    73116
JOYCE CLARKSON                                                           801 MILL ST                                                                            SPRINGDALE      AR    72764-1323
JOYCE DAVIS                                                              4117 KIM DR                                                                            DEL CITY        OK    73115
JOYCE DEVERS                                                             8117 SPUR CT                                                                           LAS VEGAS       NV    89145
                                                                                                                       9211 Lake Hefner
Joyce Dilley                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Joyce Dilley                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Joyce Dilley                                                             418 W Beaumont                                                                         Yale            OK    74085
JOYCE DOUGHERTY                                                          7691 THOUSAND OAKS DR                                                                  LINCOLN         CA    95648
JOYCE E WALTON LIFE ESTATE                                               8513 NW 68TH TERRACE                                                                   OKLAHOMA CITY   OK    73132
JOYCE E WEBB                                                             2413 SW 94TH ST                                                                        OKLAHOMA CITY   OK    73159
JOYCE ELAINE HOFFMAN SANFORD                                             7305 N MIDIRON LN                                                                      EDMOND          OK    73025
JOYCE ERWIN                                                              1205 SW 23RD ST                                                                        MOORE           OK    73170-7492
JOYCE EVANS                                                              1601 LAKEWOOD AVE                                                                      LIMA            OH    45805-3349
JOYCE FITZGERALD                                                         3929 S HUSBAND ST                                                                      STILLWATER      OK    74074-7572
JOYCE G BENNETT                                                          537 W COMMERCIAL ST                                                                    MANSFIELD       MO    65704-9522
JOYCE HART                                                               760344 S 3410 RD                                                                       AGRA            OK    74824-8448
JOYCE HOSTETTER                                                          8410 E. PIMA ST.                                                                       TUCSON          AZ    85715-5220
JOYCE HUFFER                                                             509 S SANTE FE #109                                                                    EDMOND          OK    73003
JOYCE HUNT                                                               10909 E DAY MT SPOKANE RD                                                              MEAD            WA    99021
JOYCE HUNT                                                               3802 W VISTA LN                                                                        STILLWATER      OK    74074
JOYCE I METZLER LIFE ESTATE                                              PO BOX 451                                                                             ARAPAHO         OK    73620
JOYCE J DREW                                                             3515 N RANGE ROAD                                                                      STILLWATER      OK    74075
JOYCE JONES                                                              642 BAY AVE                                                                            KELOWNA         BC    V1Y 7J9      CANADA
JOYCE L BENNETT                                                          1129 CAMEO DRIVE, #308                                                                 YUKON           OK    73099

JOYCE L DELK, DECEASED DELK DECEASE                                      48 CRYSTAL BLUE DRIVE                                                                  SUNRISE BEACH   MO    65079
JOYCE M UNRUH REV TRUST                                                  6884 S MITCHELL RD                                                                     HENNESSEY       OK    73742-5502
JOYCE MAPES                                                              30 TRELAWNEY CT                                                                        COVINGTON       GA    30016
JOYCE MARSH                                                              533 N CHAPMAN AVE                                                                      SHAWNEE         OK    74801-6065
JOYCE MAXINE HILBURN                                                     9990 E COUNTY ROAD                                                                     COYLE           OK    73027
JOYCE MCLENDON                                                           1107 VISTA CIRCLE                                                                      PURCELL         OK    73080
JOYCE MITCHELL                                                           2216 SWALLOW LANE                                                                      LEWISVILLE      TX    75077
                                                                                                                       9211 Lake Hefner
Joyce Moore                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Joyce Moore                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006


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                CreditorName           CreditorNoticeName                            Address1                         Address2                  Address3             City     State     Zip      Country
Joyce Moore                                                        5768 E. 30th Pl                                                                         Tulsa              OK    74114
                                                                                                                 9211 Lake Hefner
Joyce Nguyen                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                c/o Laminack, Pirtle & Martines,
Joyce Nguyen                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Joyce Nguyen                                                       1242 N. Oswego Ave                                                                      Tulsa              OK    74117
JOYCE PEARL MACIAS                                                 PO BOX 8676                                                                             HUNTSVILLE         TX    77340
JOYCE REED                                                         81697 SAN SALVADOR                                                                      INDIO              CA    92201-7759
JOYCE ROBBINS                                                      1604 FAIRWAY DR                                                                         PERKINS            OK    74059
JOYCE RUNYAN                                                       933 TAYLOR AVE NW                                                                       PIEDMONT           OK    73078
JOYCE S ROCHE                                                      3230 REGENT DRIVE                                                                       WOODLAND PARK      CO    80863
JOYCE SCHEUER                                                      16191 W COUNTY RD 74                                                                    CRESCENT           OK    73028
JOYCE SCOGGINS                                                     1628 VINE STREET                                                                        NORMAN             OK    73072
JOYCE TOMLINSON                                                    PO BOX 865                                                                              ADA                OK    74821
JOYCE TRAINER                                                      234 N EASTWOOD LN                                                                       KEARNEY            MO    64060
JOYCE UNRUH                                                        6884 S MITCHELL RD                                                                      HENNESSEY          OK    73742-5502
JOYCE VANOY TRUST                                                  PO BOX 576                                                                              ARDMORE            OK    73402-0576
JOYCE VARNER                                                       980456 S 3430 RD                                                                        CHANDLER           OK    74834-9457
JOYCE WALTON & TAMMI WALTON                                        8513 NW 68TH TERRACE                                                                    OKLAHOMA CITY      OK    73132
JOYCE WILLIAMS                                                     5075 CR 1570                                                                            ADA                OK    74820
JOYCE WILSON                                                       1405 OAKMONT ST                                                                         MCPHERSON          KS    67460
                                                                                                                 9211 Lake Hefner
Joyce Matrone                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                c/o Laminack, Pirtle & Martines,
Joyce Matrone                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Joyce Matrone                                                      980786 S. Hwy 18                                                                        Chandler           OK    74834
JOYE E BRYAN TRUST                                                 2217 NW 56TH ST                                                                         OKLAHOMA CITY      OK    73112-7701
JOYE HICKS                                                         PO BOX 1080                                                                             GUYMON             OK    73942-1080
JOZETTA HOUSE                                                      PO BOX 94474                                                                            OKLAHOMA CITY      OK    73143
JP DRILLING FUND LLC                                               4101 HUGHES CIR                                                                         NORMAN             OK    73072-5148
JP ENERGY MARKETING LLC                                            SUITE 1070, 1437 S BOULDER AVE                                                          TULSA              OK    74119
JP ENERGY PARTNERS LP                                              601 N PORTLAND AVE                                                                      OKLAHOMA CITY      OK    73107-6135
JP HYDROTESTING LLC                                                PO BOX 622                                                                              HENNESSEY          OK    73742-0622
JP MARTIN ENERGY STRATEGY LLC                                      58 KETTLES WAY                                                                          QUEENSBURY         NY    12804
JP WILSON                                                          6909 S JARDOT RD                                                                        STILLWATER         OK    74074-8236
JPM PROPERTIES LLC                                                 PO BOX 793                                                                              OKLAHOMA CITY      OK    73101
JPM TRUST II                                                       5147 S HARVARD AVE STE 110                                                              TULSA              OK    74135-3587
JPMARTIN ENERGY STRATEGY LLC                                       23 WARREN ST                                                                            SARATOGA SPRINGS   NY    12866
JPMORGAN CHASE BANK                                                712 MAIN ST                                                                             HOUSTON            TX    77002-3201
JPT FAMILY JV # 1                                                  PO BOX 99084                                                                            FORT WORTH         TX    76199-0084
JR BIT SERVICES                                                    PO BOX 653                                                                              WEATHERFORD        OK    73096
JRP HOLDINGS, LLC                                                  1006 24TH AVE NW, SUITE 120                                                             NORMAN             OK    73069
JSC LAND CO LLC                                                    1715 N HUDSON AVE                                                                       OKLAHOMA CITY      OK    73103
JT MARTIN FIRE & SAFETY                                            PO BOX 670                                                                              CLARKSBURG         WV    26302-0670
JTH EQUITY INVESTMENTS LLC                                         2776 WASHINGTON DR SUITE 100                                                            NORMAN             OK    73069
JTK VENTURES LLC                                                   2727 FALCON CREST RD                                                                    ENID               OK    73703
JTS ENTERPRISES LLC                                                10707 S 70TH E AVE                                                                      TULSA              OK    74133
JUAN CARILLO                                                       1237 SE 29TH ST                                                                         OKLAHOMA CITY      OK    73129
Juan Cisneros                   c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX    75070
Juan Cisneros                   c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK    74104
Juan Cisneros                   c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY    10017
Juan Cisneros                                                      12948 North 52nd Ave                                                                    Skiatook           OK    74070
                                                                                                                 9211 Lake Hefner
Juan Garcia                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                c/o Laminack, Pirtle & Martines,
Juan Garcia                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Juan Garcia                                                        402 E. 15th St                                                                          Atoka              OK    74525
JUAN GUTIERREZ                                                     3120 E. STONEGATE AVENUE                                                                STILLWATER         OK    74074
JUAN VALLES                                                        PO BOX 134                                                                              HENNESSEY          OK    73742


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                                                                                                                       9211 Lake Hefner
Juan Torres                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Juan Torres                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Juan Torres                                                              316 SE 21st                                                                            Oklahoma City      OK      73129
                                                                                                                       9211 Lake Hefner
Juana Tapia                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Juana Tapia                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Juana Tapia                                                              1703 Sherry Lane                                                                       Prague             OK      74864
JUANITA B WILLIAMS FAMILY TRUST                                          3713 WILLOW LAKE LN                                                                    ENID               OK      73703
JUANITA B WILLIAMS REV TRUST                                             3713 WILLOW LAKE LN                                                                    ENID               OK      73703
JUANITA BARKER                                                           8607 SARAH LN                                                                          PLEASANT VALLEY    MO      64068-7601
JUANITA BURRIS                                                           3848 S BRONSON AVE APT 4                                                               LOS ANGELES        CA      90008-1954
JUANITA BUSH                                                             1326 CRESTRIDGE DR                                                                     OCEANSIDE          CA      92054-5723
JUANITA D DILLMAN                                                        1507 S ASHTON AVE                                                                      STILLWATER         OK      74074-1877
JUANITA FERRELL                                                          RR 2 BOX 206                                                                           LEEDEY             OK      73654-9632
JUANITA FITZPATRICK                                                      3112 S MAPLE AVE                                                                       BROKEN ARROW       OK      74012
JUANITA GERKEN                                                           19701 CR 110                                                                           PERRY              OK      73077
JUANITA GERKEN                                                           6363 E 1940 RD                                                                         WAURIKA            OK      73573
                                                                                                                       9211 Lake Hefner
Juanita Haynes                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Juanita Haynes                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Juanita Haynes                                                           224 W Cypress                                                                          Cushing            OK      74023
JUANITA LANGLEY-HEIRS OF                                                 927 EAST F STREET, # 16                                                                OAKDALE            CA      95361-4132
JUANITA M BOLAY REV TR DTD 4-9-2001                                      5501 INDEPENDENCE                                                                      PERRY              OK      73077
JUANITA RIGDON                                                           800 S PINE ST                                                                          CRESCENT           OK      73028
JUANITA SCHATZ                                                           2110 S WALKING TRAIL DR                                                                STILLWATER         OK      74074
JUANITA SCHATZ FAMILY TRUST                                              2110 S WALKING TRAIL DR                                                                STILLWATER         OK      74074-1350
JUANITA SCHULTZ                                                          655 E KNAPP ST                                                                         IRRIGON            OR      97844-7001
JUANITA THOMAS                                                           190 DALY RD                                                                            WHITEHALL          MT      59759
JUANITA VIRGINIA COX TTEE                                                507 E 24TH STREET                                                                      TISHOMINGO         OK      73460
JUANITA WATERS                                                           2254 N HIGHWAY 25 W                                                                    WILLIAMSBURG       KY      40769-9697
JUANITA WILLIAMS                                                         PO BOX 111                                                                             LANGSTON           OK      73050
                                                                                                                       9211 Lake Hefner
Juanita French                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Juanita French                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Juanita French                                                           8508 N Phillips Ave                                                                    Oklahoma City      OK      73114
JUAQUIN STUTEVILLE                                                       532 E. OLIVIA TERRACE                                                                  MUSTANG            OK      73064
JUDAH OIL LLC                                                            PO BOX 870                                                                             ARTESIA            NM      88211
JUDI ALLISON                                                             4405 ENSBROOK LN                                                                       WOODBRIDGE         VA      22193-2643
JUDI DONALDSON BAKER                                                     2215 W 3RD AVENUE                                                                      STILLWATER         OK      74074
JUDILEA MCGLADE                                                          1615 W. 12TH AVENUE                                                                    STILLWATER         OK      74074
JUDILEA MCGLADE CASE 17 12599                                            1100 N SHARTEL AVE                                                                     OKLAHOMA CITY      OK      73103-2602
JUDITH A ESTUS & SALLY KAY ESTUS &                                       RT 2 BOX 198                                                                           MULHALL            OK      73063
JUDITH a SANDERS                                                         42 WOODLAND                                                                            SAUTEE NACOOCHEE   GA      30571-5160
JUDITH A SWANN ESTATE                                                    2015 WHITE OAKS RD                                                                     CAMPBELL           CA      95008

JUDITH A WARREN                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
JUDITH A. LAZARUS                                                        6126 OLD MIDDLETON RD.                                                                 MADISON            WI      53705
JUDITH ANN ALLEN TRUST                                                   43 W BROAD OAKS DR                                                                     HOUSTON            TX      77056
JUDITH ANN DONALDSON BAKER                                               2215 W 3RD AVENUE                                                                      STILLWATER         OK      74074
JUDITH BANKS                                                             508 NE 4TH ST                                                                          PERKINS            OK      74059-2822
JUDITH BAUGH                                                             4232 # 100 WEST                                                                        ANDERSON           IN      46011-9519
JUDITH BEETS                                                             1316 HILLSDALE DR                                                                      BARTLESVILLE       OK      74006-4515
JUDITH BROWN                                                             102 PUMA COURT                                                                         WALESKA            GA      30138
JUDITH BURNETT                                                           601 OUT WEST TRAIL                                                                     YUKON              OK      73099


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JUDITH C JOHNSON                                              3207 W 17TH ST                                                                      GRAND ISLAND       NE      68803
JUDITH C TARLTON                                              311 W 29TH AVE                                                                      STILLWATER         OK      74074-6918
JUDITH CHESSHIR                                               4511 Birchman Ave.                                                                  Forth Worth        TX      76107
JUDITH CHOATE                                                 116 S WATSON ST                                                                     ENID               OK      73703
JUDITH COLLINS TRUST                                          5701 WOODLAKE DR                                                                    STILLWATER         OK      74074-1046
JUDITH COMBS HOLDEN                                           PO BOX 1219                                                                         SAND SPRINGS       OK      74063-1219
Judith Creech                c/o Allen Stewart, PC            Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000       Dallas             TX      75070
Judith Creech                c/o Drummond Law, PLLC           Attn: Donald A Lepp                           1500 South Utica      Ste. 400        Tulsa              OK      74104
Judith Creech                c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                         747 3rd Ave                           New York           NY      10017
Judith Creech                                                 140905 E Noble Rd                                                                   Glencoe            OK      74032
JUDITH CRUZ TRUST                                             PO BOX 4539                                                                         SEDONA             AZ      86340-4539
JUDITH DAVIS                                                  4007 CROXDALE                                                                       SPRINGDALE         AR      72764
JUDITH DEAVER                                                 1019 SOUTH ORCHARD LANE                                                             STILLWATER         OK      74074
JUDITH DUNCAN                                                 3701 NW 46TH ST                                                                     OKLAHOMA CITY      OK      73112-2503
JUDITH E RICHMOND TTEE                                        1020 NW 9TH AVE #1308                                                               PORTLAND           OR      97209
JUDITH FAYE MATHEWS                                           3465 G ROAD                                                                         CLIFTON            CO      81520
JUDITH FRANCES BURNS                                          2042 LAKE FLOYD CIRCLE                                                              BRISTOL            WV      26426
JUDITH GASNER                                                 4551 OAK SPRINGS CIR                                                                DE FOREST          WI      53532
JUDITH H BERGIER AGENCY                                       PO BOX 1588                                                                         TULSA              OK      74101
JUDITH HAYES                                                  453 SCOTTS MILL RD                                                                  DANVILLE           CA      94526
JUDITH JOHNSON                                                12308 ST LUKES LN                                                                   OKLAHOMA CITY      OK      73142-5164
JUDITH KEETON TRUST                                           6401 PLUM THICKET RD                                                                OKLAHOMA CITY      OK      73162
JUDITH KELLY                                                  PO BOX 306                                                                          STILLWATER         OK      74076-0306
JUDITH KELLY                                                  PO BOX 2074                                                                         STILLWATER         OK      74076
JUDITH KOONTZ                                                 2234 E 33RD ST                                                                      TULSA              OK      74105-2226
JUDITH KRAUSS                                                 4616 ANDRE ST                                                                       MIDLAND            MI      48642
JUDITH LAWRENCE                                               2801 S TAYLOR LANE                                                                  MANNFORD           OK      74044-3017
JUDITH LEACH                                                  1609 W 6TH ST                                                                       ELK CITY           OK      73644
JUDITH LEE JONES                                              8009 WHITTING                                                                       MANASSAS           VA      20112
JUDITH MALZAHN                                                PO BOX 1421                                                                         MADISON            MS      39110
JUDITH MARIE CROMWELL                                         13250 MORNING GLORY DR                                                              LAKESIDE           CA      92040
JUDITH MARTIN                                                 PO BOX 622                                                                          STILLWATER         OK      74076
JUDITH MCADA MIGLIO                                           380 BOSTON POST RD                                                                  MADISON            CT      06443
JUDITH MCKEAIGG                                               153 CIRCLE DRIVE                                                                    WEATHERFORD        OK      73096
JUDITH MCNAMES                                                4280 BERLIN DR                                                                      JACKSON            MS      39211-6017
                                                                                                            9211 Lake Hefner
Judith Miller                c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104        Oklahoma City      OK      73120
Judith Miller                c/o Girardi Keese                Attn: Thomas V. Girardi                       1126 Wilshire Blvd                    Los Angeles        CA      90017
Judith Miller                                                 803 N Steele Ave                                                                    Cushing            OK      74023
JUDITH MOCK                                                   PO BOX 250969                                                                       PLANO              TX      75025
JUDITH NOAH                                                   687 WEST FM 1753                                                                    BONHAM             TX      75418
JUDITH QUATTLEBAUM                                            26 KINGSBRIDGE WAY                                                                  LITTLE ROCK        AR      72212
JUDITH REININGA                                               12440 OLD STATE RD                                                                  EVANSVILLE         IN      47725-1142
JUDITH RITTENHOUSE                                            21571 S 220TH PLACE                                                                 QUEEN CREEK        AZ      85142
JUDITH ROONEY RASSEL                                          4405 NE SUNNYBROOK LN                                                               KANSAS CITY        MO      64117
JUDITH SAIFINA                                                1392 PEACOCK BLVD                                                                   OCEANSIDE          CA      92056
JUDITH SALLEE                                                 1135 ATTERBERRY RD                                                                  SEQUIM             WA      98382
JUDITH SCHROEDER                                              3803 S PRAIRIE RD                                                                   STILLWATER         OK      74074
JUDITH SEEFELDT                                               323 S KINGS STREET                                                                  STILLWATER         OK      74074
JUDITH SMITH                                                  4400 HEMINGWAY DR APT 118                                                           OKLAHOMA CITY      OK      73118-2298
JUDITH STOCKTON 2000 TRUST                                    PO BOX 455                                                                          FORTUNA            CA      95540
JUDITH SUTTON                                                 520 E SILAS ST                                                                      BARTLESVILLE       OK      74003
JUDITH TRIPPIEDI                                              303 N STATE ST                                                                      MONTICELLO         IL      61856-1601
JUDITH VICE                                                   5000 SE FEDERAL HWY #806                                                            STUART             FL      34997
JUDITH W CLARKE REV TR                                        5275 GRANDVIEW SQUARE APT 3203                                                      MINNEAPOLIS        MN      55436
JUDITH WAKELEY                                                PO BOX 21                                                                           KERMAN             CA      93630
                                                                                                            9211 Lake Hefner
Judith Evans-Sharp           c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104        Oklahoma City      OK      73120



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                                   c/o Laminack, Pirtle & Martines,
Judith Evans-Sharp                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Judith Evans-Sharp                                                    100668 S. 3300 Rd                                                                      Harrah            OK      73045
                                                                                                                    9211 Lake Hefner
Judy A. Gaddis                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                   c/o Laminack, Pirtle & Martines,
Judy A. Gaddis                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Judy A. Gaddis                                                        310 NE 59th St                                                                         Oklahoma City     OK      73105
JUDY AND LON C BOLEN                                                  2312 CAIN RD                                                                           BOKCHITO          OK      74726-4412
JUDY ANN BRANCH-THOMAS                                                808 W CEDAR                                                                            DUNCAN            OK      73533
JUDY ANN DAVIDSON YETTER                                              1612 SHADYBROOK LANE                                                                   EDMOND            OK      73013
JUDY BARKER                                                           PO BOX 522                                                                             PIEDMONT          OK      73078
JUDY CONLEY                                                           110 E TOWER ST                                                                         PERRY             OK      73077
JUDY CRUMM                                                            503 W BREWER AVE                                                                       MCALESTER         OK      74501
JUDY DODD BELL                                                        90 WHIPPOORWILL LN SW                                                                  ROME              GA      30165-6533
JUDY DUNCAN                                                           3701 NW 46TH ST                                                                        OKLAHOMA CITY     OK      73112
JUDY EDGAR                                                            7922 W GRANDSTAFF                                                                      RIPLEY            OK      74062-6345
JUDY EILEEN RAUPE                                                     13621 SW 210 TH ST                                                                     DOUGLASS          KS      67039
JUDY ENGLEHART                                                        5610 WATER OAK LANE                                                                    MULBERRY          FL      33860
JUDY EUBANKS                                                          215 CHURCHILL CT                                                                       WEATHERFORD       TX      76085
JUDY FINCH                                                            PO BOX 1625                                                                            LAS CRUCES        NM      88004
JUDY FLEMINGS                                                         2350 N 180 RD                                                                          MOUNDS            OK      74047
JUDY GIBSON                                                           4301 E YUCCA ST                                                                        PHOENIX           AZ      85028-2925
JUDY HANEY                                                            4232 LANIER RIDGE WALK                                                                 CUMMING           GA      30041-7496
JUDY HIGHBERGER                                                       12607 S W 1200 ROAD                                                                    WESTPHALIA        KS      66093
JUDY IRIS DYNES                                                       3023 SHADOW BEND DRIVE                                                                 SAN ANTONIO       TX      78230
JUDY K TAYLOR                                                         2121 S BRETHREN RD                                                                     CUSHING           OK      74023
JUDY KAY FINN, SEPARATE PROPERTY                                      106 BANBURY WAY                                                                        BENICIA           CA      94510

JUDY L FLEMING                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
                                                                                                                    9211 Lake Hefner
Judy L. Hopkins                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                   c/o Laminack, Pirtle & Martines,
Judy L. Hopkins                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Judy L. Hopkins                                                       339 Harvest Hills                                                                      Harrah            OK      73045
JUDY LENZA                                                            20248 BLACK TREE LN                                                                    ESTERO            FL      33928-6434
JUDY LOYD                                                             601 BAYLOR ST                                                                          BENTONVILLE       AR      72712
JUDY MARIE ZALOUDEK REV TRUST                                         2533 HOMESTEAD ROAD                                                                    Enid              OK      73703
JUDY MAYES FRANKLIN                                                   346 WEXFORD LN                                                                         BLOUNTVILLE       TN      37617-5104
JUDY MCCRAY                                                           53750 E 4400 RD                                                                        PAWNEE            OK      74058-1590
JUDY MUTSCHLER                                                        2033 PHILADELPHIA AVE                                                                  EGG HARBOR CITY   NJ      08215-1633
JUDY ODOM IRA                                                         3015 MARY ST                                                                           ALEXANDRIA        LA      71301
JUDY OSTERVOLD                                                        PO BOX 8233                                                                            COLUMBUS          GA      31908
JUDY PILKINTON PRUITT                                                 675 PARADISE VALLEY RD                                                                 CLEVELAND         GA      30528
JUDY POTTER                                                           345 N HOLYOKE ST                                                                       WICHITA           KS      67208-3212
JUDY RASMUSSEN                                                        829 MILLER DR                                                                          YUKON             OK      73099
JUDY SMITH                                                            RR 2 BOX 170                                                                           GUYMON            OK      73942-9650
JUDY SMITH                                                            4117 NAILON DR                                                                         NORMAN            OK      73072
JUDY STONE                                                            PO BOX 138                                                                             FRIANT            CA      93626-0138
JUDY THORNTON                                                         421 S SCHOOL AVE                                                                       KUNA              ID      83634
JUDY VRKSA                                                            84 APPLEWOOD                                                                           ENID              OK      73703
JUDY WILMOTH LIVENGOOD                                                1725 HEARTHSTONE DR                                                                    PLANO             TX      75023-7446
JUDY WINDSOR                                                          12233 SUNSET POINT CIR                                                                 WELLINGTON        FL      33414-5598
                                                                                                                    9211 Lake Hefner
Judy Adame                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                   c/o Laminack, Pirtle & Martines,
Judy Adame                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Judy Adame                                                            1632 SW 35th St                                                                        Oklahoma City     OK      73119



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                                                                                                                       9211 Lake Hefner
Judy Bourlon                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Judy Bourlon                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Judy Bourlon                                                             20423 Waker St                                                                         Harrah           OK      73045
                                                                                                                       9211 Lake Hefner
Judy Stevens                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Judy Stevens                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Judy Stevens                                                             345884 E. Hwy 62                                                                       Meeker           OK      74855
                                                                                                                       9211 Lake Hefner
Judy Strahan                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Judy Strahan                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Judy Strahan                                                             14001 Plymouth Crossing                                                                Edmond           OK      73013
JULEY CROWELL                                                            2528 S WASHTENAW AVE                                                                   CHICAGO          IL      60608
JULIA ALENE HONEYMAN REV TRUST                                           410 N PERRY                                                                            GLENCOE          OK      74032
JULIA ANDERSON                                                           168 SCENIC BLUFFS DR                                                                   BOERNE           TX      78006
JULIA ANN DOSE                                                           6200 NE 142ND ST                                                                       SMITHVILLE       MO      64089
JULIA BARBER                                                             7505 S EVANSTON AVE                                                                    TULSA            OK      74136
JULIA BARBER                                                             28226 MUDDY RIVER RD                                                                   WARSAW           MO      65355
JULIA BELLE PERCIVAL                                                     16902 HAMILL DRIVE                                                                     ROSHARON         TX      77583
JULIA CARPENTER                                                          6435 QUAIL ST APT 246                                                                  ARVADA           CO      80004
                                                                                                                       9211 Lake Hefner
Julia Cowdrey                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Julia Cowdrey                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Julia Cowdrey                                                            7915 S. 85th East Ave                                                                  Tulsa            OK      74133
JULIA DAVIS                                                              PO BOX 7543                                                                            KIRKSVILLE       MO      63501
JULIA EDWARDS                                                            611 DAIRY ASHFORD RD #458                                                              HOUSTON          TX      77079
JULIA HANSON                                                             18185 HINTON ST.                                                                       HESPERIA         CA      92345
JULIA KELLEY                                                             2721 NW 45TH ST                                                                        OKLAHOMA CITY    OK      73112-8219

JULIA M MUNLEY KNECHT JOHNSON TRUST                                      104 GREENLEAFD DR                                                                      FLAT ROCK        NC      28731
JULIA MERTENA BURROWS                                                    PO BOX 1045                                                                            PORT TOWNSEND    WA      98368
JULIA NEUMEYER                                                           4447 S ZENOBIA ST                                                                      DENVER           CO      80236
JULIA PICKENS                                                            2415 VENTURA DR APT A                                                                  ARLINGTON        TX      76015
JULIA QUIGG DODD                                                         1374 HAYWOOD VALLEY ROAD                                                               ARMUCHEE         GA      30105
JULIA SMITH AMOS                                                         251 E 27TH ST                                                                          STROUD           OK      74079
JULIA V KENAN REV TR                                                     2724 SEVIER ST                                                                         DURHAM           NC      27705
Julia White                           c/o Edward L White PC              Attn: Kerry D Green & Edward L White          829 E 33rd St                            Edmond           OK      73013
                                      c/o Maples, Nix & Diesselhorst
Julia White                           PLLC                               Attn: Ray Maples                              15401 N. May Ave                         Edmond           OK      73103
Julia White                           c/o Munson & McMillin              Attn: April B Eberle                          247 N Broadway                           Edmond           OK      73034
Julia White                                                              621 E. Broadway                                                                        Cushing          OK      74023
JULIAN & LINDA MOORE DECLARATION OF                                      66500 E 258 ROAD                                                                       GROVE            OK      74344
JULIAN STOOPLER                                                          PO BOX 501                                                                             PALM BEACH       FL      33480
JULIAN WHISLER                                                           2201 NE 98TH ST                                                                        OKLAHOMA CITY    OK      73131
JULIANA SWANSON                                                          12121 STONEFORD DR                                                                     WOODBRIDGE       VA      22192
JULIANN W FUNKE IRREVOCABLE TRUST                                        PO BOX 99084                                                                           FORT WORTH       TX      76199-0084
JULIANNE REINHARD                                                        90 LAKE WOOD DR                                                                        HICKORY          TX      75065
                                                                                                                       9211 Lake Hefner
Julie A. Peck                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Julie A. Peck                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Julie A. Peck                                                            1111 E Greenlee St                                                                     Cushing          OK      74023
JULIE BARNES                                                             PO BOX 505                                                                             MIDLAND          TX      79702
JULIE BILLS                                                              5210 SPRING CREEK CIR E                                                                STILLWATER       OK      74074
JULIE CAMPBELL WILLS                                                     8600 W 74TH ST                                                                         OVERLAND PARK    KS      66204


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JULIE CANTWELL                                                          1850 BRANTFEATHER GROVE                                                                COLORADO SPRINGS   CO       80906
JULIE CLIFTON                                                           5651 18TH AVE SW                                                                       SEATTLE            WA       98106
JULIE CROWLEY                                                           5211 BRIAR TREE DR                                                                     DALLAS             TX       75248-6033
JULIE DOLEZAL BESS                                                      305 AVE H                                                                              BRAZORIA           TX       77422
JULIE EARP                                                              4140 WEST REDFIELD ROAD                                                                PHOENIX            AZ       85053
JULIE EDWARDS                                                           611 DAIRY ASHFORD RD #458                                                              HOUSTON            TX       77079
JULIE HARVEY                                                            PO BOX 413                                                                             CAMBRIDGE          ID       83610
JULIE HOBBS GLASS                                                       2018 PALOMAR DR                                                                        GLENDORA           CA       91741
JULIE HOKO                                                              48 HICKORY LN                                                                          MADISON            CT       06443-1755
JULIE JACOBS                                                            11393 TWIN LAKES LN                                                                    SAN ANGELO         TX       76904
JULIE JOHNSON                                                           401 NW 39TH                                                                            OKLAHOMA CITY      OK       73118
JULIE KAREN BYERLEIN REV TRUST                                          915 FIELD ST                                                                           LAKEWOOD           CO       80215
JULIE KING                                                              703 3RD ST                                                                             BELTON             MO       64012
JULIE LAUGHLIN                                                          867 FOREST HILLS RD                                                                    HEATH              OH       43056
JULIE LAVELY                                                            PO BOX 3                                                                               BRACKETTVILLE      TX       78832
JULIE LYON                                                              700 MAHEO WAY                                                                          DRIPPING SPRINGS   TX       78620-3732
JULIE M BEESON & DEREK B BEESON                                         15690 N 102ND E AVENUE                                                                 COLLINSVILLE       OK       74021
JULIE MCCALL                                                            311 W CHARLESTON                                                                       YALE               OK       74085
JULIE McFALL                                                            PO Box 886                                                                             CAMAS              WA       98607
JULIE PALM                                                              PO BOX 52940                                                                           TULSA              OK       74152-0940
JULIE RAMOS                                                             1126 41ST ST                                                                           SACRAMENTO         CA       95819
JULIE ROBINS                                                            597 COLLEGE ST                                                                         SPRINGFIELD        CO       81073-1219
JULIE STREETER                                                          127 HORSETAIL AVE                                                                      MIDDLEBURG         FL       32068
JULIE WAAG                                                              621 35TH AVE NE                                                                        GREAT FALLS        MT       59404
JULIE WARD                                                              5408 APACHE CREEK COVE                                                                 AUSTIN             TX       78735-6459
JULIE WASHAM GRAPHICS JULIE WASHAM                                      17612 DURBIN PARK RD                                                                   EDMOND             OK       73012-6916
JULIET H JONES-MOSS REV TRUST                                           8622 BALLIFEARY PL                                                                     DALLAS             TX       75238
JULIETA FLOYD                                                           109 FORT JACKSON ST                                                                    BELLE CHASSE       LA       70037-2509
JULIETTE BLADDEN                                                        26970 LA HIGHWAY 1032                                                                  DENHAM SPRINGS     LA       70726
JULIUS B DODD III                                                       1374 HAYWOOD VALLEY ROAD SW                                                            ARMUCHEE           GA       30105-2126
JULIUS C & BONITA BONNIE DIEDRICH                                       PO BOX 135                                                                             MARSHALL           OK       73056-0135
JULIUS LOOSEN IRREVOCABLE TRUST                                         924 WILLOW CREEK DR                                                                    BARTLESVILLE       OK       74006
JULO MINERALS LLC                                                       83219 GARVIN RD                                                                        POND CREEK         OK       73766
JUMP TRANSPORT LLC                                                      PO BOX 1456                                                                            NEWCASTLE          OK       73065
JUNE A GLAHN LIFE ESTATE                                                3909 W RITCHIE AVE                                                                     ENID               OK       73703-7306
JUNE ALICE PACE REVOCABLE TRUST                                         313 S TERRILL DR                                                                       STILLWATER         OK       74075
                                                                                                                      9211 Lake Hefner
June Booher                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                     c/o Laminack, Pirtle & Martines,
June Booher                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
June Booher                                                             610 Scissortail Lane                                                                   Cushing            OK       74023
JUNE ELAINE KING REVOCABLE TRUST                                        312 N DONALDSON                                                                        STILLWATER         OK       74074
JUNE HALL                                                               PO BOX 275                                                                             PERKINS            OK       74059-0275
JUNE HALL FAMILY TRUST                                                  PO BOX 275                                                                             PERKINS            OK       74059
JUNE HANSEN                                                             PO BOX 487                                                                             LEXINGTON          OR       97839
JUNE NEALE                                                              1813 NW 161 PLACE                                                                      EDMOND             OK       73013
JUNE PENNINGTON                                                         1705 DENIM LN                                                                          ENID               OK       73703
JUNE PINNELL                                                            1013 LYCEUM CT                                                                         COLLEGE STATION    TX       77840
JUNE S DOUGHTY                                                          4511 KIRKDALE CT                                                                       COLUMBIA           MO       65203-6202
JUNE STEGALL                                                            430 BRADFORD CIR                                                                       COLUMBIA           TN       38401
JUNE WHITE (DECEASED)                                                   902 N. MAIN UNIT 28                                                                    SAN ANGELO         TX       76903-4078
JUNE WILEY-CAUGHRON                                                     1813 NW 161ST PL                                                                       EDMOND             OK       73013-1450
JUNIATA CONCRETE CO                                                     721 SMITH RD                                                                           MIFFLINTOWN        PA       17059
JUNIOR CARTER                                                           35250 CONNOR RIDGE RD                                                                  WOODSFIELD         OH       43793-9280
JURDEN JR                                                               4913 SW 128TH ST                                                                       OKLAHOMA CITY      OK       73173-3421
JUSTICE AZCARATE                                                        8160 MOLOKAI WAY                                                                       FAIR OAKS          CA       95628
JUSTIN & KRISTIN LINSENMEYER                                            5404 S. WASHINGTON ST.                                                                 STILLWATER         OK       74074
JUSTIN A WHITE                                                          25503 LONG IRON CT                                                                     SPRING             TX       77389
JUSTIN BAKER                                                            309 E MAIN ST                                                                          RIPLEY             OK       74062-2005


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JUSTIN BELL AND KARLA BELL H&W JT                                        1213 SEIGE COURT                                                                        LEWISVILLE          TX       75056
JUSTIN BENTLEY                                                           333 S WESTMINISTER RD                                                                   ARCADIA             OK       73007-6921
JUSTIN BRAWLEY                                                           3910 W 6TH AVE #263                                                                     STILLWATER          OK       74074
JUSTIN CAMPBELL                                                          2148 W KNOLES CIR                                                                       MESA                AZ       85202
JUSTIN COCKRELL                                                          10010 WHISPERING WAY                                                                    FRENERICKSBURY      VA       22407
JUSTIN D CARPENTER & TONI K JUSTIN                                       7702 SOUTH WASHINGTON                                                                   STILLWATER          OK       74074
JUSTIN DAY                                                               8900 CHISHOLM                                                                           ORLANDO             OK       73073
JUSTIN DOLEZAL                                                           115 EAGLES NEST                                                                         RICHWOOD            TX       77566
JUSTIN EDWARDS                                                           316 HAWTHRONED R                                                                        MIDDLETON           ID       83644
JUSTIN LACOUR                                                            1611 JEFFERSON ST                                                                       COMMERCE            TX       75428
JUSTIN LICCIONI                                                          18607 SANDELFORD DR                                                                     KATY                TX       77449-8481
Justin Moore                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX       75070
Justin Moore                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa               OK       74104
Justin Moore                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY       10017
Justin Moore                                                             515 N. Violet Ave.                                                                      Cushing             OK       74023
JUSTIN P UNTERSEE                                                        5154 IROQUOIS DR                                                                        FRISCO              TX       75034
                                                                                                                       9211 Lake Hefner
Justin Pancoast                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK       73120
                                      c/o Laminack, Pirtle & Martines,
Justin Pancoast                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX       77006
Justin Pancoast                                                          1304 S. Juniper Ave                                                                     Broken Arrow        OK       74012
JUSTIN PYLE                                                              PO BOX 6172                                                                             NORMAN              OK       73070
                                                                                                                       9211 Lake Hefner
Justin R. Barker                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK       73120
                                      c/o Laminack, Pirtle & Martines,
Justin R. Barker                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX       77006
Justin R. Barker                                                         752 SW 3rd St                                                                           Moore               OK       73160
JUSTIN RODGERS                                                           PO BOX 442                                                                              VICI                OK       73859-0442
JUSTIN ROSSITER                                                          800591 S HWY 18                                                                         TYRON               OK       74062
JUSTIN SMOLA                                                             1603 FAIRWAY DRIVE                                                                      PERKINS             OK       74059
JUSTIN WALKER                                                            49 BLUEGRASS CT                                                                         EDWARDS             CO       81632-6114
Justin Wilson                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX       75070
Justin Wilson                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa               OK       74104
Justin Wilson                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY       10017
Justin Wilson                                                            1328 E. Walnut                                                                          Cushing             OK       74023
JVB ENERGY INC                                                           5299 DTC BLVD SUITE 1320                                                                GREENWOOD VILLAGE   CO       80111
JVS LLC                                                                  5926 E 53RD ST                                                                          TULSA               OK       74135-7715

JW KERBY & DARLENE KERBY FAM REV TR                                      507 RANGER RD                                                                           SAPULPA             OK       74066
JWM INVESTMENT CO INC                                                    PO BOX 699                                                                              WATONGA             OK       73772
JWP-MKP MINERALS HOLDINGS LP                                             PO BOX 1059                                                                             MENLO PARK          CA       94026
JWS ROYALTIES LLC                                                        PO BOX 797                                                                              PURCELL             OK       73080-0797
JWZ INVESTMENTS LTD                                                      6520 N WESTERN AVE STE 300                                                              OKLAHOMA CITY       OK       73116-7334
K & J WELDING LLC                                                        PO BOX 5734                                                                             Enid                OK       73702
K & M OIL CO                                                             PO BOX 597                                                                              HENNESSEY           OK       73742
K BLANCHE WHEELER                                                        3005 16TH STREET                                                                        GREELEY             CO       80634
K E VENTURES LLC                                                         8235 N 1970 ROAD                                                                        LEEDEY              OK       73654
K FIVE OIL & GAS                                                         20 VILLAGE VIEW LANE                                                                    UNIONVILLE          CT       06085
K K & R OIL & GAS CO                                                     30820 LAFFERRE LN                                                                       LEWISVILLE          OH       43754
K KRIST                                                                  7023 WOLTERS ROAD                                                                       SCHULENBURG         TX       78956
K NELSON ALLEN                                                           866 E MELANIE ST                                                                        SUN TAN VALLEY      AZ       85140
K STEWART EXPLORATION LLC                                                3815 NE PLUM CREEK CIR                                                                  OKLAHOMA CITY       OK       73131
K WOARE                                                                  6 SOUTHBROOK PL                                                                         MOUNT ZION          IL       62549
K&J CONSTRUCTION LLC                                                     719 E ADAMS ST                                                                          CHEROKEE            OK       73728-1302
K&S PUMPING UNIT REPAIR INC.                                             PO BOX 1472                                                                             ENID                OK       73702
K&T OIL & GAS LLC                                                        42184 STATE ROUTE 78                                                                    WOODSFIELD          OH       43793
K&W WELL SERVICE INC                                                     PO BOX 511                                                                              CUSHING             OK       74023-0511
K.C. PRODUCTION L.L.C.                                                   6 NORTHEAST 63RD SUITE 425                                                              OKLAHOMA CITY       OK       73105
K3 LLC                                                                   PO BOX 1029                                                                             ENID                OK       73702


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K-5 OIL LLC                                                          PO BOX 990                                                                             GREAT BEND       KS       67350
KACEE GLASS                                                          504 FLINT RIDGE DR                                                                     NORMAN           OK       73072
KACI FAZIO                                                           15541 118TH AVE                                                                        ORLAND PARK      IL       60467-4410
KACI TIPTON                                                          15541 S 118TH AVE                                                                      ORLAND PARK      IL       60467
KAD DEVELOPMENT LLC                                                  PO Box 614                                                                             STILLWATER       OK       74076
                                                                                                                   404 Court Square
Kai Bach                          c/o Barrett Law Group, PA          Attn: Don Barrett                             North                                    Lexington        MS       39095-0927
Kai Bach                          c/o Burns Charest LLP              Attn: Warren T Burns                          900 Jackson St       Ste. 500            Dallas           TX       75202

Kai Bach                          c/o Mitchell Declerck              Attn: Larry D Lahman                          202 West Broadway                         Enid            OK       73701
                                                                                                                   One Leadership       211 N Robinson, Ste.
Kai Bach                          c/o Wilguess & Garrett, PLLC       Attn: Douglas D Wilguess                      Square               1350                 Oklahoma City   OK       73102
Kai Bach                                                             PO Box 111                                                                              Carrier         OK       73727
KAISER FRANCIS OIL CO DE CORP                                        PO BOX 21468                                                                            TULSA           OK       74121-1468
KAISER-FRANCIS ANADARKO                                              DEPT 637                                                                                TULSA           OK       74182-0001
KAISER-FRANCIS MID-CONTINENT LP                                      PO Box 21468                                                                            TULSA           OK       74121-1468
KAISER-FRANCIS OIL COMPANY                                           PO BOX 21468                                                                            TULSA           OK       74121-1468
KAISER-FRANCIS OIL COMPANY                                           DEPT. 637                                                                               TULSA           OK       74182
KALAMAR INC                                                          1405 E ILLOW RD                                                                         ENID            OK       73701-8714
KALAMAR INC                                                          1405 E. WILLOW ROAD                                                                     ENID            OK       73701
KALEB CAIN                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City   OK       73116
KALEE CARPENTER                                                      PO BOX 10                                                                               LEEDEY          OK       73654-0160
KALKA CONSTRUCTION COMPANY                                           890368 S 3420 RD                                                                        CHANDLER        OK       74834
KALKMAN HABECK COMPANY                                               PO BOX 2518                                                                             ARDMORE         OK       73402-2518
KALLI RATLIFF                                                        10040 S. FAIRVIEW DR.                                                                   OKLAHOMA CITY   OK       73159
                                                                                                                   9211 Lake Hefner
Kalpana Joshi                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                  c/o Laminack, Pirtle & Martines,
Kalpana Joshi                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Kalpana Joshi                                                        6829 S. 77 East Ave                                                                    Tulsa            OK       74133
KAMAL SHANBOUR POA                                                   16304 NAPA CIRCLE                                                                      EDMOND           OK       73013
KAMAX ROYALTY INC                                                    PO BOX 57132                                                                           OKLAHOMA CITY    OK       73157
KAMELA VALKENBURG                                                    11766 KITTREDGE ST                                                                     COMMERCE CITY    CO       80022
KAMI CASTRO                                                          2873 HIDDEN LN                                                                         HAYWARD          CA       94541-5533
KAMO ELECTRIC COOPERATIVE INC                                        PO BOX 577                                                                             VINITA           OK       74301-0577
KANDACE LOGAN                                                        7900 WHISPERING TREE LN                                                                PLANO            TX       75024
KANDLETOP PROPERTIES FUND I LLC                                      1629 N MARION AVE                                                                      OKLAHOMA CITY    OK       73106-4441
KANDLETOP PROPERTIES LLC                                             1629 N MARION AVE                                                                      OKLAHOMA CITY    OK       73106
KANDY CURTIS HULSEY                                                  4501 SHADY LN                                                                          ROWLETT          TX       75089
KANDY ELAINE TROJAN                                                  1218 W BISON ROAD                                                                      BISON            OK       73720
KANE ENVIRONMENTAL                                                   8816 BIG VIEW DRIVE                                                                    AUSTIN           TX       78730
Kansas State Treasurer            Unclaimed Property Division        900 SW Jackson Ste 201                                                                 Topeka           KS       66612-1235
KANSAS STATE TREASURER                                               900 SW JACKSON ST, SUITE 201                                                           TOPEKA           KS       66612-1235
KAPPA OIL & GAS                                                      187 W. MAIN ST.                                                                        WESTBOROUGH      MA       01581
KAR PROPERTIES LLC                                                   PO BOX 2467                                                                            STILLWATER       OK       74076
KARA BROWN                                                           23571 TIMBER TRL W                                                                     BRISTOW          OK       74010-3880
KARA GOODLOE                                                         3501 NW 63RD ST                                                                        OKLAHOMA CITY    OK       73116
                                                                                                                   9211 Lake Hefner
Kara Hamer                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
Kara Hamer                        c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles      CA       90017
Kara Hamer                                                           720 SW Cunsey                                                                          Langston         OK       73050
KARA M SCOTT WYMORE                                                  505 JUNEAU DR SE                                                                       SALEM            OR       97302
KARA MILLER                                                          11906 ELCROFT DR                                                                       AUSTIN           TX       79758
KARA THORTON                                                         194 SLEEPY HOLLOW DR                                                                   DALTON           MA       01226-2065
KARALEE NENOW                                                        6451 JACKSON DR                                                                        SAN DIEGO        CA       92119
KARAN MEYER                                                          210 S WESTERN                                                                          CLEO SPRINGS     OK       73729-8009
KARELIN COLE SEITZ                                                   1515 HARD ROCK RD APT 203                                                              IRVING           TX       75061
KARELIN JAMES                                                        467 MANONO STREET                                                                      KAILUA           HI       96734
KAREN ADAMS                                                          4087 HOLLY VILLA CIR                                                                   INDIAN TRAIL     NC       28079


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KAREN ANN APPLEGATE ANDREWS                                              7755 S 73RD AVE EAST                                                                    TULSA              OK      74133
KAREN ANN CUTRER                                                         315 COTTONWOOD STREET                                                                   SAN ANGELO         TX      76901
KAREN ANN YOST                                                           1920 E 2ND ST APT 1511                                                                  EDMOND             OK      73034
KAREN ARCHER                                                             ROUTE 1, BOX 14A                                                                        HAMMON             OK      73650
KAREN BARRON                                                             3701 A SOUTH HARVARD; #195                                                              TULSA              OK      74135
KAREN BATES                                                              106 S 2ND STREET                                                                        TRYON              OK      74875
KAREN BEA MACK REVOCABLE TRUST                                           PO BOX 129                                                                              DRUMMOND           OK      73735
KAREN BERNOSKY                                                           8262 RANCHO REAL                                                                        GILROY             CA      95020
KAREN BLAISE                                                             PO BOX 1908                                                                             IDAHO SPRINGS      CO      80452
KAREN BRADLEY                                                            PO BOX 379                                                                              TULSA              OK      74101-0379
KAREN BRAHM STRUNK                                                       PO BOX 668                                                                              HOLBROOK           AZ      86025
KAREN BROWN                                                              815 SEABRIGHTS LN                                                                       MARTINS FERRY      OH      43935
KAREN BRYANT                                                             12182 WALNUT HILL RD                                                                    GARFIELD           AR      72732
KAREN BUFFINGTON                                                         PO BOX 1506                                                                             STILLWATER         OK      74076
KAREN BUZZARD                                                            10125 WINTER CT                                                                         DENHAM SPRINGS     LA      70726
KAREN CAIG                                                               7 WALTER PLACE                                                                          BELLA VISTA        AR      72714
KAREN CARPENTER                                                          3621 NE 141ST CT                                                                        EDMOND             OK      73013
KAREN CHANCE                                                             104 PECAN LN                                                                            MONAHANS           TX      79756-8602
KAREN CLARKE                                                             PO BOX 1216                                                                             SALINA             OK      74365-2334
KAREN COCKRELL                                                           PO BOX 795                                                                              MANVEL             TX      77578
                                                                                                                       9211 Lake Hefner
Karen Cross                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120

Karen Cross                           c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Karen Cross                                                              8817 Salsbury Lane                                                                      Oklahoma City      OK      73132
KAREN CURTIS                                                             3501 N CLEVELAND                                                                        ENID               OK      73703
KAREN DARST                                                              5563 W CHOLLA ST                                                                        GLENDALE           AZ      85304
KAREN DOPKIN                                                             22111 MERRYMOUNT DR                                                                     KATY               TX      77450-2417
KAREN EIDE                                                               61226 GEORGE VIEW ST                                                                    BEND               OR      97702
KAREN EIFERT JONES                                                       4721 W SKELETON RD                                                                      WAUKOMIS           OK      73773
KAREN ESPARZA                                                            1222 WEST J ST                                                                          OAKDALE            CA      95361
KAREN FLORA                                                              49091 E 54 RD                                                                           PAWNEE             OK      74058
                                                                                                                       9211 Lake Hefner
Karen Folwer                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Karen Folwer                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Karen Folwer                                                             848 E 6th                                                                               Cushing            OK      74023
KAREN GANTAR                                                             508 WESTMORELAND                                                                        WAUKEGAN           IL      60085
KAREN GEORGE                                                             2328 RICE BLVD.                                                                         HOUSTON            TX      77005
KAREN GIBSON                                                             146 STACK ST                                                                            HELPER             UT      84526
KAREN GOERGEN                                                            6303 LORNA LANE                                                                         JULIAN             NC      27283
KAREN HARREL                                                             7584 N. 2000 RD.                                                                        LEEDY              OK      73654
KAREN IRENE TEACHMAN                                                     13352 E 32ND PLACE                                                                      TULSA              OK      74134
KAREN ISERN                                                              2800 S TRAVIS ST                                                                        AMARILLO           TX      79109
KAREN J BABEL GST TRUST                                                  10196 CR 341                                                                            PLANTERSVILLE      TX      77363
KAREN KAMP                                                               702 RHODES STREET                                                                       CLARKSVILLE        AR      72830
KAREN KIRCHNER                                                           15800 W CAMP DR                                                                         CASHION            OK      73016
Karen Krehbiel                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX      75070
Karen Krehbiel                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK      74104
Karen Krehbiel                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY      10017
Karen Krehbiel                                                           1101 N. Jefferson St                                                                    Stillwater         OK      74075
KAREN LACEY                                                              PO BOX 161                                                                              HOTCHKISS          CO      81419-0161
KAREN LINDSEY                                                            6207 83RD AVE W                                                                         UNIVERSITY PLACE   WA      98467
KAREN LOIS GEMOETS                                                       PO BOX 949                                                                              INGRAM             TX      78025-0949
KAREN LYN FERNANDEZ                                                      2040 PETERSON PLACE                                                                     BATAVIA            IL      60510

KAREN M RABUN                                                            1632 N HUDSON AVENUE APARTMENT 9                                                        CHICAGO            IL      60614-5670
KAREN MARIE BRYANT REV TRUST DTD 3-                                      1537 W ROCKPORT ST                                                                      BROKEN ARROW       OK      74012
KAREN MATHESON                                                           7814 PICKLES GAP                                                                        STILLWATER         OK      74074-8247


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KAREN MCCALL                                                         729 DARLINGTON DR                                                                       FREDERICKSBURG   TX      78624-5354
KAREN MELTON                                                         4600 W ESECO RD                                                                         CUSHING          OK      74023-4882
KAREN MINOR                                                          409 WALNUT                                                                              LITTLE ROCK      AR      72205
KAREN MINTON                                                         2320 RICHMOND RD SW                                                                     CALGARY          AB      T2T 5E4      CANADA
KAREN MOORE                                                          188 S SPRING ST                                                                         HOT SPRINGS      NC      28743
KAREN NOBLE                                                          3203 W 80TH ST                                                                          STILLWATER       OK      74074-8131
KAREN OLIVER                                                         3512 NW 42ND                                                                            OKLAHOMA CITY    OK      73112
KAREN OWENS KIRKES                                                   14201 IRON RD                                                                           MCCLOUD          OK      74851
KAREN PAULA SHALOM MGMT TRUST                                        PO BOX 1588                                                                             TULSA            OK      74101-1588
KAREN R ESTRIDGE                                                     949 RIVIERA DR                                                                          NORMAN           OK      73072-7608
KAREN RAINS                                                          2649 N SALINA AVE                                                                       WICHITA          KS      67204-5852
KAREN RANNEY                                                         4412 NE 133RD CT                                                                        VANCOUVER        WA      98682
KAREN RINGER FRANKS 1996 REV TR                                      1020 W MOORE AVE                                                                        STILLWATER       OK      74075
KAREN ROBERTSON                                                      88 FAIRWAY LN                                                                           LITTLETON        CO      80123
KAREN ROGERS                                                         2028 ARTHUR DR                                                                          MANHATTAN        KS      66502
KAREN S BERGER                                                       11405 S W CARMON RD                                                                     AUGUSTA          KS      67010-8626
KAREN SANZBERRO                                                      50450 S 35400 RD                                                                        MARAMEC          OK      74045-1086
KAREN SCHEIDEL                                                       16317 82ND ST                                                                           VANCOUVER        WA      98682
KAREN SHAW                                                           711 13TH ST                                                                             PERRY            OK      73077
KAREN SUE LILES                                                      25250 S 4130 RD                                                                         CLAREMORE        OK      74019
KAREN SUE SQUIRE                                                     154 BOONES RIDGE PKWY SE                                                                ACKWORTH         GA      30102
KAREN SWANSON                                                        8809 217TH AVE CT E                                                                     BUCKLEY          WA      98321
KAREN TAYLOR                                                         PO BOX 222                                                                              MANNFORD         OK      74044-0222
                                                                                                                   9211 Lake Hefner
Karen Thompson                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
Karen Thompson                    c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles      CA      90017
Karen Thompson                    c/o Pulaski Law Firm               Attn: Adam Pulaski                            2925 Richmond Ave     Ste. 1725           Houston          TX      77098
Karen Thompson                                                       1022 E 6th St                                                                           Cushing          OK      74023
KAREN TOMPKINS                                                       44 E 67TH ST                                                                            NEW YORK         NY      10065
KAREN UPCHURCH                                                       2800 S TRAVIS                                                                           AMARILLO         TX      79109
KAREN VECERA                                                         3593 S 1425 E                                                                           WENDELL          ID      83355
Karen Warner                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Karen Warner                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Karen Warner                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Karen Warner                                                         1124 S. Ridge Dr.                                                                       Stillwater       OK      74074
KAREN WATSON                                                         8515 BRODIE LANE APT 837                                                                AUSTIN           TX      78745
KAREN WEBB                                                           PO BOX 640                                                                              HASKELL          OK      74436-0640
KAREN YAKEL                                                          14257 PRAIRIE FIRE                                                                      WAMEGO           KS      66547
                                                                                                                   9211 Lake Hefner
Karen Nelson                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                  c/o Laminack, Pirtle & Martines,
Karen Nelson                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Karen Nelson                                                         1208 SW 25th                                                                            Oklahoma City    OK      73109
                                                                                                                   9211 Lake Hefner
Karen Green                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                  c/o Laminack, Pirtle & Martines,
Karen Green                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Karen Green                                                          3421 NW 46th St                                                                         Oklahoma City    OK      73112
                                                                                                                   9211 Lake Hefner
Karen Moore                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                  c/o Laminack, Pirtle & Martines,
Karen Moore                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Karen Moore                                                          3736 East Seward Rd                                                                     Guthrie          OK      73034
                                                                                                                   9211 Lake Hefner
Karen Soto                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                  c/o Laminack, Pirtle & Martines,
Karen Soto                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Karen Soto                                                           9009 N. Eagle Lane                                                                      Oklahoma City    OK      73132



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                                                                                                                       9211 Lake Hefner
Karen Thornbrue                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Karen Thornbrue                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Karen Thornbrue                                                          12025 S Coltrane Rd                                                                    Edmond           OK      73034
                                                                                                                       9211 Lake Hefner
Karena Carnley                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Karena Carnley                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Karena Carnley                                                           1904 N. Eucalyptus Ave                                                                 Broken Arrow     OK      74012
KARETA CASEY                                                             PO BOX 255                                                                             STILLWATER       OK      74076-0255
KAREY MILLER                                                             10314 STAGHILL DR                                                                      HOUSTON          TX      77064
KARI HOPFER                                                              12151 W HWY 33                                                                         GUTHRIE          OK      73044
KARI KRUEGER                                                             12591 N HWY 77                                                                         MULHALL          OK      73063
KARI LYNN KONTOR                                                         14109 N 83RD AVE APT 377                                                               PEORIA           AZ      85381
KARI NEUMANN                                                             2637 S TERRACE AVE                                                                     YUMA             AZ      85365
KARI OFSTEDAHL                                                           241 8TH AVE                                                                            KIRKLAND         WA      98033-5527
KARI WARD                                                                6234 N 12TH PL APT 4                                                                   PHOENIX          AZ      85014-1772
KARI WEBB                                                                1231 HONOR CIRCLE                                                                      DESOTO           TX      75115
KARIE PISENTI                                                            1234 STRAWBERRY PARK LANE                                                              KATY             TX      77450
KARIM CAROLYN W FARAJOLLAHI HW JT                                        5210 W 8TH AVE                                                                         STILLWATER       OK      74074-1405
KARIN DREW KILLOUGH                                                      1707 FAIRWAY DRIVE                                                                     PERKINS          OK      74059
KARINA CARR                                                              1055 WHITE TAIL CT                                                                     GUTHRIE          OK      73044-5051
KARL & JUNE LOVELACE H&W, JTWROS                                         9001 NORTH 2020 RD                                                                     HAMMON           OK      73650
KARL AND VIVIAN KLICK                                                    2427 NW 43RD CIR                                                                       OKLAHOMA CITY    OK      73112
KARL BLACKBURN                                                           1395 N 237TH RD                                                                        MOUNDS           OK      74047
KARL GREEN                                                               622 W 24TH AVE                                                                         STILLWATER       OK      74074-6909
KARL HERMAN FRUENDT                                                      4040 TANEIL DRIVE                                                                      MANHATTAN        KS      66502
KARL JOHNSTONE & MICHELLE L JOHNSTO                                      7328 NEWPORT DRIVE                                                                     ARLINGTON        WA      98223
KARL KAUTZ                                                               PO BOX 255                                                                             CUSHING          OK      74023
KARL KLASSEN                                                             11150 WINDY OAKS DR N                                                                  JACKSONVILLE     FL      32225-2821
KARL KLINGAMAN                                                           1026 E CR 61                                                                           ORLANDO          OK      73073
KARL KURZ                                                                2126 FAWN MEADOWN LANE                                                                 RICHMOND         TX      77406
KARL O NEALY                                                             176 EUREKA LN                                                                          KALAMA           WA      98625

KARL OLTMANNS TRUST UNDER REVOCABLE                                      2001 S WALKING TRAIL DR NO 4                                                           STILLWATER       OK      74074-1362
KARL REINHOLTZ                                                           13 CRESSWELL DR                                                                        BELLA VISTA      AR      72714
KARL REINHOLTZ                                                           3006 LONA DR                                                                           SEVIERVILLE      TN      37862-7563
KARLA EDWARDS                                                            PO BOX 336                                                                             MIDDLETON        ID      83644
KARLA FLOTT ALCABES                                                      221 W 82ND ST, APT 5A                                                                  NEW YORK         NY      10024
KARLA G ALEXANDER ESTATE                                                 302 LANDSAW DR                                                                         CHANDLER         OK      74834-2428
KARLA TANKERSLEY                                                         PO BOX 7507                                                                            MIDLAND          TX      79708-7507
KARLA TOMAN                                                              11 SHARON DR                                                                           CONKLIN          NY      13748-1437
KARLANNE HARSHMAN                                                        7100 W 140TH ST                                                                        COYLE            OK      73027
KARLENE CORCORAN                                                         6803 NW 59TH ST                                                                        BETHANY          OK      73008-1909
KARMA BRYAN CASSIDY                                                      26 MENTELLE PARK                                                                       LEXINGTON        KY      40502-1512
KARMELITA SPEIR                                                          12008 BROOK FOREST DR                                                                  LITTLE ROCK      AR      72211
KAROB O&G LLC                                                            37032 CONNER RIDGE RD                                                                  WOODSFIELD       OH      43793
KAROL KENASTON                                                           26787 N KELLEY AVE                                                                     ORLANDO          OK      73073
KAROL NOVAK                                                              2564 CHASMA                                                                            HENDERSON        NV      89044
KAROL WALTER                                                             1050 S SHADY LN                                                                        CLEVELAND        OK      74020
KARREN LYONS                                                             25350 COUNTY RD 150                                                                    PERRY            OK      73077
KARY OTT                                                                 2816 OVERLAND WAY                                                                      EDMOND           OK      73012
KARY POORMAN                                                             PO BOX 120                                                                             GATESVILLE       TX      76528-0120
KARYL ANN SILVA                                                          519 ROLLING GREEN DR                                                                   KERRVILLE        TX      78028
KARYL GUTHERY                                                            6766 W REMUDA RD                                                                       PEORIA           AZ      85385
KASEY LYNN FARMER GARNER                                                 2925 SOUTHWEST 139TH STREET                                                            OKLAHOMA CITY    TX      73170
KASSANDRA HUDSPETH                                                       4010 FINLEY RD                                                                         IRVING           TX      75062
KASTMAN OIL COMPANY LLC                                                  PO BOX 5930                                                                            LUBBOCK          TX      79408-5930


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KASTNER HERITAGE GROUP LP                                               910 COLLIER ST STE 204                                                                  FORT WORTH         TX    76102-3596
KATCH KAN USA LLC                                                       13610 POPLAR CIRCLE #104                                                                CONROE             TX    77304
                                                                                                                      9211 Lake Hefner
Kate Beck                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                     c/o Laminack, Pirtle & Martines,
Kate Beck                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Kate Beck                                                               4000 S. Maple Ave                                                                       Broken Arrow       OK    74011
KATE JACKSON                                                            1725 CHAPARRAL LN                                                                       EDMOND             OK    73013-6669
KATE VINSON                                                             4421 TAMWORTH RD                                                                        FORT WORTH         TX    76116
KATERI HEISTER                                                          209 WINDWOOD DRIVE                                                                      DESOTO             TX    75115
                                                                                                                      9211 Lake Hefner
Katharaine Mckinney                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                     c/o Laminack, Pirtle & Martines,
Katharaine Mckinney                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Katharaine Mckinney                                                     2511 E 29th Place North                                                                 Tulsa              OK    74110
KATHERINE ANN BRUEGGEN                                                  1218 WEST FAY                                                                           KINGFISHER         OK    73750
KATHERINE ANN CARDIN                                                    15910 W COUNTY ROAD 59                                                                  MARSHALL           OK    73056
KATHERINE ANN DORSETT                                                   905 CARROL AVE                                                                          LUFKIN             TX    75904-5573
KATHERINE BERNICE KERSEY REV                                            22 DEL RANCHO LANE                                                                      SHAWNEE            OK    74804
KATHERINE BOUDREAU                                                      3819 S FLORENCE AVE                                                                     TULSA              OK    74105
KATHERINE BUTLER                                                        210 EAST FAIRFAX STREET                                                                 FALLS CHURCH       VA    22046
KATHERINE COREY                                                         7840 ABERDEEN                                                                           PRAIRIE VILLAGE    KS    66208
KATHERINE CRONISTER                                                     1317 N 9THAPT 40                                                                        PERRY              OK    73077
KATHERINE DECEASED                                                      8828 S QUEBEC AVE                                                                       TULSA              OK    74137
KATHERINE DEPUY                                                         5961 FLORIS HEIGHTS RD                                                                  MALIBU             CA    90265
                                                                                                                      9211 Lake Hefner
Katherine E. Roderick                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                     c/o Laminack, Pirtle & Martines,
Katherine E. Roderick                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Katherine E. Roderick                                                   2205 Castle Rock                                                                        Edmond             OK    73003
KATHERINE ELAINE BONEBRAKE-BLASIER                                      805 SOUTH LYNNE LANE                                                                    ENID               OK    73703
KATHERINE EPPLER                                                        122 BROOKSIDE LN                                                                        OCEANSIDE          CA    92056-4835
KATHERINE FAIRCHILD                                                     9337 WALTERVILLE RD                                                                     HOUSTON            TX    77080-7421
KATHERINE FEKEN                                                         1119 N 14TH ST                                                                          PERRY              OK    73077
KATHERINE HOLEY                                                         PO BOX 3325                                                                             EDMOND             OK    73083
KATHERINE JACOB                                                         2408 FOX LN                                                                             BLANCHARD          OK    73010
KATHERINE KETELSEN HARDY                                                306 CEDAR DR                                                                            METAIRIE           LA    70005-3902
KATHERINE LINDLEY                                                       1360 HACKBERRY DR.                                                                      GERING             NE    69341
KATHERINE LUDWIG                                                        200 TWIDWELL                                                                            DRIPPING SPRINGS   TX    78620-4654
KATHERINE M ONEILL IRREV GIFT TR                                        PO BOX 37                                                                               MULHALL            OK    73063
KATHERINE MEEKS                                                         9238 E 68TH STREETS                                                                     STILLWATER         OK    74074
KATHERINE MOCKLEY O SHEA                                                1225 HAZEL BLVD                                                                         TULSA              OK    74114
KATHERINE O. BROWNE TRUST                                               2620 11TH STREET NW                                                                     WASHINGTON         DC    20001-3926
KATHERINE ONEILL                                                        PO BOX 37                                                                               MULHALL            OK    73063
KATHERINE ONEILL LIVING TRUST                                           PO BOX 37                                                                               MULHALL            OK    73063
Katherine Parker                     c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX    75070
Katherine Parker                     c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK    74104
Katherine Parker                     c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY    10017
Katherine Parker                                                        1121 E Maple                                                                            Cushing            OK    74023
KATHERINE PAULINE MARTIN                                                PO BOX 532                                                                              HENNESSEY          OK    73742-0532
KATHERINE PLISKO                                                        411 N 6TH ST #733                                                                       EMERY              SD    57332
KATHERINE RAUCH ESTATE                                                  217 UNION AVE                                                                           NEW PROVIDENCE     NJ    07974-1130
KATHERINE REYNOLDS                                                      753 S ASH ST                                                                            GARDNER            KS    66030
                                                                                                                      9211 Lake Hefner
Katherine Runowski                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
Katherine Runowski                   c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles        CA    90017
Katherine Runowski                                                      528 S Cleveland                                                                         Cushing            OK    74023
KATHERINE RYAN                                                          PO BOX 64                                                                               BORGER             TX    79008
KATHERINE SEAN FAGAN                                                    2808 STIVERS BLVD                                                                       BENTON             AR    72022


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             CreditorName              CreditorNoticeName                         Address1                             Address2                 Address3           City           State       Zip      Country
KATHERINE WALKER                                                    6507 N HILLCREST                                                                       OKLAHOMA CITY          OK      73116
KATHERINE WOOLLEY-REDDEN                                            4622 GILBERT AVE                                                                       DALLAS                 TX      75219-1607
KATHERINE WRIGHT                                                    10525 S 193RD E AVE                                                                    BROKEN ARROW           OK      74014
KATHERINE YARBOROUGH                                                13355 N HIGHWAY 183 APT 1213                                                           AUSTIN                 TX      78750
                                                                                                                  9211 Lake Hefner
Katherine Burkhalter             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK      73120
                                 c/o Laminack, Pirtle & Martines,
Katherine Burkhalter             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
Katherine Burkhalter                                                2900 NE 18th                                                                           Oklahoma City          OK      73111
                                                                                                                  9211 Lake Hefner
Katherine Ganther                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK      73120
                                 c/o Laminack, Pirtle & Martines,
Katherine Ganther                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
Katherine Ganther                                                   101 6th St                                                                             Arcadia                OK      73007
KATHERYN BERSET                                                     PO BOX 757                                                                             BRACKETTVILLE          TX      78832
KATHERYN CYPRET                                                     201 W 29TH AVE                                                                         STILLWATER             OK      74074-6916
KATHERYN L JUDGE                                                    5717 E 20TH ST N                                                                       WICHITA                KS      67208
KATHERYN SCHMIDT                                                    2508 COLT LANE                                                                         CROWLEY                TX      76036
KATHIE WESTER                                                       1062 ALTA VISTA DR                                                                     LARAMIE                WY      82072
KATHLEEN A ADREAN                                                   17101 ANSEL                                                                            IRVINE                 CA      92616
KATHLEEN A MCNEIL                                                   701 S 8TH ST                                                                           YUKON                  OK      73099
KATHLEEN ANN OCONNELL-GENRICH                                       24549 OVERLOOK DRIVE                                                                   CORONA                 CA      92883
KATHLEEN ARRIETA                                                    1615 AVE I APT 610                                                                     BROOKLYN               NY      11230-3021
KATHLEEN B MULLENDORE TRUST                                         7633 E 63RD ST STE 530                                                                 TULSA                  OK      74133-1272
KATHLEEN BLAKE                                                      4425 DEASON DR                                                                         EDMOND                 OK      73013-8112
KATHLEEN BRADFORD                                                   6040 SYPES CANYON RD                                                                   BOZEMAN                MT      59715-7755
                                                                                                                  9211 Lake Hefner
Kathleen Bradshaw                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK      73120
                                 c/o Laminack, Pirtle & Martines,
Kathleen Bradshaw                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
Kathleen Bradshaw                                                   4533 E. 107th St                                                                       Tulsa                  OK      74137
KATHLEEN BROWN                                                      PO BOX 92                                                                              GLENCOE                OK      74032
KATHLEEN BROWN                                                      1900 N CUSTER ST                                                                       WICHITA                KS      67203-1125
KATHLEEN BULLOCK                                                    1053 WILD TURKEY LN                                                                    COTTAGEVILLE           SC      29435-5684
KATHLEEN BURNEY                                                     8633 W 68TH PL                                                                         ARVADA                 CO      80004-1705
KATHLEEN CARAPELLESE                                                10624 W RUNION DR                                                                      PEORIA                 AZ      85382
KATHLEEN CLARK                                                      12938 OAKWOOD MANOR DR                                                                 CYPRESS                TX      77429
KATHLEEN COAD                                                       7700 NW 84TH ST                                                                        OKLAHOMA CITY          OK      73132-3301
KATHLEEN DAVIS                                                      27801 NE 66TH WAY                                                                      CAMAS                  WA      98607
KATHLEEN FICEK                                                      495 WEST SAN MARTIN AVE D                                                              SAN MARTIN             CA      95046
KATHLEEN FOX                                                        3721 MARIANA WAYAPT A                                                                  SANTA BARBARA          CA      93105
KATHLEEN GODDARD                                                    41880 S COUNTRY ROAD 265                                                               RINGWOOD               OK      73768
KATHLEEN GRIMES                                                     1604 OSAGE RD                                                                          BIG SPRING             TX      79720-4112
KATHLEEN GUSTAFSON                                                  6763 MAPLE BEACH CT NE                                                                 BEMIDJI                MN      56601-8486

KATHLEEN HARRINGTON O'LOUGHLIN                                      5636 CARACAS DR                                                                        NORTH RICHLAND HILLS   TX      76180-6564
KATHLEEN HILL                                                       1316 BRICK ST                                                                          BURLINGTON             IA      52601
KATHLEEN HUPP                                                       703 N UNION ST                                                                         WHITESBORO             TX      76273
KATHLEEN JANGER                                                     13319 STORY GLEN DR                                                                    CYPRESS                TX      77429
                                                                                                                  9211 Lake Hefner
Kathleen Johnson                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK      73120
                                 c/o Laminack, Pirtle & Martines,
Kathleen Johnson                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
KATHLEEN JOHNSON                                                    14201 SW POHL RD                                                                       VASHON                 WA      98070-8723
Kathleen Johnson                                                    1530 E. Seminole St.                                                                   Tulsa                  OK      74106
KATHLEEN K VANHOLTON                                                514 AMERICAS WAY #10209                                                                BOX ELDER              AZ      57719
KATHLEEN LACOUR CHICK                                               11832 FERNDALE LN                                                                      ALEDO                  TX      76008
KATHLEEN LEWIS                                                      9113 WINGSPREAD DR                                                                     OKLAHOMA CITY          OK      73159
KATHLEEN LITLE                                                      13282 RAINER CIR                                                                       WESTMINSTER            CA      92683-2107


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KATHLEEN MATTHEWS                                                  PO BOX 218                                                                             KERMAN                 CA      93630
KATHLEEN MUNLEY BLANDFORD                                          19 NIBLICK LN                                                                          COLUMBINE VALLEY       CO      80123
KATHLEEN NIELSON                                                   21239 COUNTY ROAD 830                                                                  NASH                   OK      73761
KATHLEEN NILES                                                     PO BOX 367                                                                             PERKINS                OK      74059-0367
KATHLEEN NOLTING                                                   3533 TWELVE OAKS RD                                                                    OKLAHOMA CITY          OK      73120
KATHLEEN O'NEILL-SMITH                                             7722 LABOLSA DRIVE                                                                     DALLAS                 TX      75248
KATHLEEN PHILLIPS                                                  PO BOX 192                                                                             COYLE                  OK      73027-0192
KATHLEEN QUINN                                                     310 W ADAMS                                                                            CRESCENT               OK      73028
KATHLEEN RYAN                                                      1901 PORTLAND AVE                                                                      TALLAHASSEE            FL      32303-3546
KATHLEEN SCHAEFER                                                  617 EMERALD RIDGE DRIVE                                                                AUSTIN                 CA      78732
KATHLEEN SEATON                                                    1344 VIAVILLA NOVA WY                                                                  WINTER SPRINGS         FL      32708
KATHLEEN SHAW                                                      1311 324TH PL                                                                          OCEAN PARK             WA      98640
KATHLEEN SNOW                                                      PO BOX 251                                                                             CRESCENT               OK      73028
KATHLEEN STARKS                                                    3340 NW 22ND                                                                           OKLAHOMA CITY          OK      73107
KATHLEEN SUE PETTY                                                 95 Quail Lane                                                                          Richmond Hill          GA      31324
KATHLEEN TATE                                                      6313 S BROADWAY DR                                                                     OKLAHOMA CITY          OK      73139
KATHLEEN TEDDER                                                    6117 E 6TH                                                                             STILLWATER             OK      74074-6459
KATHLEEN WALTERS                                                   7647 COLLINGSWOOD CIR NW                                                               MASSILLON              OH      44646-1131
KATHLEEN WILLIAMS                                                  1611 N 12TH                                                                            PERRY                  OK      73077
KATHLEEN WININGEAR                                                 708 E COOK                                                                             RIPLEY                 OK      74062-6214
                                                                                                                 9211 Lake Hefner
Kathleen Carter                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK      73120
                                c/o Laminack, Pirtle & Martines,
Kathleen Carter                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
Kathleen Carter                                                    2000 Pine Oak Dr                                                                       Edmond                 OK      73003
KATHLINE JOHNSON                                                   823 S SHUMARD DR                                                                       STILLWATER             OK      74074-1136
Kathol, Douglas                 c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City          OK      73116
KATHRYN A BOYD                                                     1935 N GARY AVE APT 2                                                                  TULSA                  OK      74110-2746
KATHRYN ABBOTT                                                     2650 MORRIS THOMAS RD                                                                  DULUTH                 MN      55811-2846
KATHRYN ANNE HINKE                                                 1336 HUNNINGDON WOODS BLVD                                                             Chesapeake             VA      23320
KATHRYN BRANNON                                                    730 N PORTER AVE                                                                       WICHITA                KS      67203-3142
KATHRYN BROWN                                                      1706 E COPPER STREET                                                                   TUSCON                 AZ      85719
KATHRYN DAVENPORT                                                  2617 3RD AVE                                                                           SACRAMENTO             CA      95818-3208
KATHRYN DAVIDSON                                                   615 LABOR ST                                                                           DELTA                  CO      81416
KATHRYN FAULKNER                                                   4141 E 37TH PL                                                                         TULSA                  OK      74135
KATHRYN HALE                                                       9419 S JAMESTOWN AVE                                                                   TULSA                  OK      74137-4850
KATHRYN HINKLE                                                     1730 W VIRGIN ST                                                                       TULSA                  OK      74127-2510
KATHRYN HOWELL                                                     6804 N RANGE RD                                                                        STILLWATER             OK      74075-1917
KATHRYN KEY                                                        1456 COPPER POINT CIR                                                                  RENO                   NV      89519-6263
KATHRYN L LOVELL TRUST                                             9616 E LAKEVIEW RD                                                                     STILLWATER             OK      74075-8814
KATHRYN LAMBERT                                                    PO BOX 82752                                                                           PHOENIX                AZ      85071
KATHRYN LANNING                                                    16 HERBERT ROAD                                                                        WORCESTER              MA      01602

KATHRYN MATTOX                                                     7112 WINDHAVEN RD                                                                      NORTH RICHLAND HILLS   TX      76182
KATHRYN MERRILL                                                    2615 S PIONEER TRL                                                                     STILLWATER             OK      74074-2266
KATHRYN MITCHELL                                                   RT. 1, BOX 27                                                                          TURPIN                 OK      73950
KATHRYN MONTGOMERY                                                 6449 MONTGOMERY RD APT 9                                                               CINCINNATI             OH      45213
KATHRYN PHELPS                                                     127 SE 1ST ST                                                                          MOORE                  OK      73160-5201
KATHRYN R BOSTIAN                                                  704 S MICHIGAN AVE                                                                     CUSHING                OK      74023
KATHRYN R BOSTIAN LIFE ESTATE                                      704 S MICHIGAN AVE                                                                     CUSHING                OK      74023
KATHRYN RICHARDS LE                                                1401 SW 129TH ST                                                                       OKLAHOMA CITY          OK      73170
KATHRYN ROBINSON                                                   44933 LONG VALEY ROAD                                                                  TAYLOR                 NE      68879
KATHRYN RUTH DEFRIES                                               819 PEBBLE CREEK DRIVE                                                                 ST CLOUD               MN      56303
KATHRYN SCHURR                                                     1201 SUNSET DR                                                                         FAIRBORN               OH      45324-5647
KATHRYN SUE ROBERTS TAYLOR                                         PO BOX 165                                                                             ADA                    OK      74821-0165
KATHRYN TAYLOR                                                     PO BOX 36948                                                                           ALBUQUERQUE            NM      87176
KATHRYN VILLON                                                     307 7TH AVE N                                                                          PAYETTE                ID      83661
KATHY & JOHN MORRISON                                              126 MOCKINGBIRD LN                                                                     CRESCENT               OK      73028



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                                                                                                                     9211 Lake Hefner
Kathy Ann Atkinson-Birr             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                    c/o Laminack, Pirtle & Martines,
Kathy Ann Atkinson-Birr             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Kathy Ann Atkinson-Birr                                                2306 W. 49th St                                                                        Tulsa               OK      74107
KATHY B COOPER REV TR                                                  8705 ANAUM LANE                                                                        YUKON               OK      73099
KATHY BARNES NOW MCKINNIS                                              310 WEST BECK DRIVE                                                                    PAWNEE              OK      74058
KATHY BOGUE                                                            11324 CORY RD                                                                          GUTHRIE             OK      73044
KATHY BRUMLEY                                                          119 W OAK SHADOWS                                                                      ONALASKA            TX      77360
KATHY CARDIN DAVID CARDIN                                              15910 W COUNTY ROAD 59                                                                 MARSHALL            OK      73056-9775
KATHY COATS                                                            14625 E 111TH CT N                                                                     OWASSO              OK      74055
KATHY DAVIS                                                            127 HORSETAIL AVE                                                                      MIDDLEBURG          FL      32068
KATHY DRAKE                                                            394049 E 1150 RD                                                                       WELEETKA            OK      74880-8020
KATHY EVANS                                                            809 PARK PL                                                                            STILLWATER          OK      74075

KATHY FLETCHER                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY            TX      75070
KATHY GAROUTTE                                                         7 PRIMROSE LN                                                                          BELLA VISTA         AR      72714-6320
KATHY GISH                                                             1304 N SPRING DR                                                                       OKLAHOMA CITY       OK      73127-7014
KATHY HOWARD                                                           2012 N SIOUX DR                                                                        GARDEN CITY         KS      67846
KATHY HUNTER                                                           25606 92 HWY                                                                           EXCELSIOR SPRINGS   MO      64024
KATHY JOHNSON                                                          1402 PAUL DRIVE                                                                        PEARLAND            TX      77581
KATHY JUNE BACON                                                       214 TALL JOHN LN                                                                       AIKEN               SC      29805-8968
KATHY JUNE BACON REV TRST                                              214 TALL JOHN LN                                                                       AIKEN               SC      29805-8968
KATHY KACHELMEYER                                                      180 CHICKADEE CIR                                                                      VONORE              TN      37885-2135
KATHY KING                                                             2809 LAKEWAY DR                                                                        ROWLETT             TX      75088
KATHY KIRKPATRICK                                                      9171 N 2390 RD                                                                         THOMAS              OK      73669-8237
KATHY KURTZ                                                            1521 RICE RD APT G104                                                                  TYLER               TX      75703-3256
KATHY L DONALDSON                                                      1010 CENTRAL AVENUE UNIT 416                                                           SAINT PETERSBURG    FL      33705
KATHY L GALBREATH                                                      5300 WEST MEADOWRIDGE                                                                  SHERMAN             TX      75092
KATHY LYONS DORSEY                                                     5564 SOUTH LEWIS AVENUE                                                                TULSA               OK      74105
KATHY MCCROSKEY                                                        1646 N LONE PINE AVE                                                                   SPRINGFIELD         MO      65803-5182
KATHY MERCER                                                           PO BOX 666                                                                             THOMAS              OK      73669-0666
KATHY MOORE                                                            8000 SOMMER CAMP                                                                       MELBA               ID      83641
KATHY NELSON                                                           3908 DALEHURST DR                                                                      BAKERSFIELD         CA      93306-3125
KATHY NYDEGGER                                                         14236 W CHARLES RD                                                                     NINE MILE FALLS     WA      99026
KATHY R FOUST REV TRUST 5/22/2014                                      13655 COUNTY ROAD 63                                                                   MARSHALL            OK      73056
KATHY R WILLIAMS                                                       10216 N 141 EAST CT                                                                    OWASSO              OK      74055
KATHY RAINES                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
KATHY REDENTE                                                          1381 N EL CAPITAN AVE                                                                  FRESNO              CA      93722-5847
KATHY REED                                                             310 W. WILSHIRE BLVD.                                                                  OKLAHOMA CITY       OK      73116
KATHY SHEERE                                                           3971 ADAMS ST                                                                          RIVERSIDE           CA      92504
KATHY SMITH                                                            1882 DOLPHIN PL                                                                        DISCOVERY BAY       CA      94505
KATHY STACY                                                            PO BOX 937                                                                             LANGLEY             OK      74350-0937
KATHY STOKESBERRY                                                      310 S 1ST ST                                                                           TONKAWA             OK      74653-5519
KATHY WALTER                                                           1106 E CHERRYWOOD DR                                                                   GUTHRIE             OK      73044
KATHY WARD                                                             2012 N SIOUX DR                                                                        GARDEN CITY         KS      67846
KATHY WILLOUGHBY                                                       5235 STAGECOACH RD                                                                     OZARK               AR      72949
KATHY WISEMAN                                                          17701 LAKE MEADOWS                                                                     STILLWATER          OK      74075
                                                                                                                     9211 Lake Hefner
Kathy Cline                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                    c/o Laminack, Pirtle & Martines,
Kathy Cline                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Kathy Cline                                                            780563 S. 3450 Rd                                                                      Agra                OK      74824
                                                                                                                     9211 Lake Hefner
Kathy Mires                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                    c/o Laminack, Pirtle & Martines,
Kathy Mires                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Kathy Mires                                                            2321 Elwood Dr                                                                         Edmond              OK      73003



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                                                                                                                       9211 Lake Hefner
Kathy Shupe                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kathy Shupe                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
Kathy Shupe                                                              920595 S. 3480 Rd                                                                      Chandler               OK      74834

KATIAN ALLEN                                                             PO BOX 821222                                                                          NORTH RICHLAND HILLS   TX      76182-1222
KATIE HUBER                                                              651 SWANTON AVENUE                                                                     CASPER                 WY      82609
KATIE MICHAELCHEK                                                        RURAL ROUTE 2, STE 5 BOX 8                                                             BLUFFTON               AB      T0C 0M0      CANADA
KATIE MORRIS                                                             6005 185TH CT NE Y203                                                                  REDMOND                WA      98052
KATIE ONEILL                                                             12193 COUNTY FF RD APT 75                                                              LAS ANIMAS             CO      81054
                                                                                                                       9211 Lake Hefner
Katina Dyer                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK      73120
                                      c/o Laminack, Pirtle & Martines,
Katina Dyer                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
Katina Dyer                                                              102586 S. 3520 Rd                                                                      Prague                 OK      74864
KATLIN HOUGHTON                                                          2837 N. WOODLAWN                                                                       MOORE                  OK      73160
KATRINA MORRISON                                                         PO BOX 186                                                                             MARSHALL               OK      73056
KATRINA ROOT                                                             8580 RALAY LN                                                                          PAYETTE                ID      83661
KATRINA WATSON                                                           924 CR 174                                                                             COTTER                 AR      72626
KATSY M MECOM TTEE                                                       7645 E 63RD ST STE 201                                                                 TULSA                  OK      74133
KATY ISBELL MAGGARD                                                      433 S PECAN STREET                                                                     NOWATA                 OK      74048
KATY O'BRIEN                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City          OK      73116
KATYBROOK LLC                                                            10612 POND MEADOW DRIVE                                                                OKLAHOMA CITY          OK      73151
KATZ & JAMMERS LLC                                                       6 BLANKET FLOWER CIRCLE                                                                SANTA FE               NM      87506-8512
KATZ CATTLE & LAND LP                                                    83 ROUNDWOOD RD                                                                        NEWTON UPPER FALLS     MA      02464-1218
KATZ OIL & GAS LP                                                        83 ROUNDWOOD ROAD                                                                      NEWTON UPPER FALLS     MA      02464-1218
KAUK CONSTRUCTION LLC                                                    RT 2 BOX 74                                                                            LEEDEY                 OK      73654
KAUK CONSTRUCTION LLC                                                    Rr 2 Box 74                                                                            Leedey                 OK      73654
KAVIN D BALLARD                                                          21262 COUNTY ROAD, DRIVE 3                                                             STONEWALL              OK      74871
KAY A                                                                    PO BOX 250969                                                                          PLANO                  TX      75025
KAY A ENMEIER                                                            1309 GREYSTONE ST                                                                      STILLWATER             OK      74074
KAY A LEWTER REVOC TRUST                                                 1223 S FAIRWAY DR                                                                      STILLWATER             OK      74074-1317
KAY BAKER LLC                                                            135 E SHORE DRIVE                                                                      ARCADIA                OK      73007
KAY BEDINGFIELD                                                          1974 WOODARD ST                                                                        ABILENE                TX      79605-5224
KAY BOSWORTH                                                             4826 GATE POST LANE                                                                    WILMINGTON             NC      28412
KAY CLAIR COBB                                                           10720 S JOPLIN AVE                                                                     TULSA                  OK      74137
KAY COUNTY COURT CLERK                                                   PO BOX 450                                                                             NEWKIRK                OK      74647
                                                                                                                       9211 Lake Hefner
Kay Davis                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kay Davis                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
KAY DAVIS                                                                2121 NORTH WALNUT                                                                      GUTHRIE                OK      73044
Kay Davis                                                                6525 E. 26th Ct                                                                        Tulsa                  OK      74129
KAY DEAL                                                                 110 S 3RD ST APT 3                                                                     LAFAYETTE              IN      47901-1696
KAY DONNA WEBB REV TRUST DTD 4-14-9                                      7316 N WESTERN AVE                                                                     OKLAHOMA CITY          OK      73116
KAY ELECTRIC COOPERATIVE                                                 PO BOX 607                                                                             BLACKWELL              OK      74631-0607
Kay Electric Cooperative                                                 300 W. Doolin Ave                                                                      Blackwell              OK      74631
KAY FRANCIS                                                              2010 OLD MILL RD                                                                       SALADO                 TX      76571-5802
KAY GRINDE                                                               PO BOX 29                                                                              TESLIN                 YT      Y0A 1B0      CANADA
KAY MAXFIELD                                                             2813 LIPSCOMB ST                                                                       AMARILLO               TX      79109
KAY MCANALLY                                                             14801 FRONTIER                                                                         PERRY                  OK      73077
KAY MERCHANT                                                             759 KINGSGATE RD                                                                       YUKON                  OK      73099
KAY OLTMANNS HEADRICK TTEE                                               PO BOX 2373                                                                            STILLWATER             OK      74076
KAY PEARSON                                                              PO BOX 1096                                                                            CHICKASHA              OK      73023
KAY RENFRO                                                               12005 COUNTY RD 4001                                                                   HOLTS SUMMIT           MO      65043
KAY ROSE WIGHTMAN                                                        36359 PRIESTAP ST                                                                      RICHMOND               MI      48062-1241
KAY S LEWIS TRUST OF OK                                                  PO BOX 1025                                                                            PRYOR                  OK      74362
KAY SALISBURY                                                            8939 US HIGHWAY 283                                                                    CHEYENNE               OK      73628


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KAY SHIPPY                                                               8590 ROBY LN                                                                            PAYETTE         ID       83661
KAY SIMPSON                                                              6824 OWENS ST                                                                           ARVADA          CO       80004-2759
KAY THOMSEN-FOLMAR                                                       2313 W COMMERCIAL COURT                                                                 BROKEN ARROW    OK       74012
KAY WHARTON ALTADONNA                                                    37 HOUSATONIC DR                                                                        MILFORD         CT       06460-5033
KAY WILLARD                                                              PO BOX 231                                                                              RIPLEY          OK       74062-0231
KAY WILLIAMS                                                             3505 MARQUETTE ST                                                                       DALLAS          TX       75225-5016
KAY WOODRUFF FOSTER                                                      7335 HILL FOREST DRIVE                                                                  DALLAS          TX       75230
                                                                                                                       9211 Lake Hefner
Kay Pratt                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Kay Pratt                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Kay Pratt                                                                1608 Mesa Trail                                                                         Edmond          OK       73025
KAYDET OIL LLC                                                           PO BOX 5469                                                                             ENID            OK       73701
KAYE BOYLES MCFARLIN                                                     1112 SO BERNICE ST                                                                      SPEARMAN        TX       79081
KAYE BURR                                                                9113 NASSAU                                                                             DENVER          CO       80237
KAYE IRBY                                                                1673 LEFTY GARCIA WAY                                                                   HENDERSON       NV       89002
KAYE SEELIGER LVG TRUST                                                  211 WOODS LN                                                                            ARDMORE         OK       73401-1157
KAYLAN BORREGO                                                           1496 FAIRVALLEY AVE.                                                                    COVINA          CA       91722
KBK INDUSTRIES LLC                                                       DEPT #41979 PO BOX 650020                                                               DALLAS          TX       75265-0020
KC ELECTRIC CO                                                           4300 S VAN BUREN ST                                                                     ENID            OK       73701-8523
KD PEPMILLER                                                             ROUTE 4, BOX 37M                                                                        MANSFIELD       LA       71052
KDB CONSTRUCTION LLC                                                     801 S. Grinnell St.                                                                     Perryton        TX       79070
KDMJ PROPERTIES LLC                                                      PO BOX 7383                                                                             EDMOND          OK       73083
Kearns, Anthony                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City   OK       73116
KEEGAN AND DONATO CONSULTING LLC                                         31 PURCHASE ST STE 3-4                                                                  RYE             NY       10580
KEEN ENERGY SERVICES LLC                                                 4500 S 129TH EAST AVE STE 150                                                           TULSA           OK       74134-5819
KEENA LEOCHNER                                                           3610 NE BASSWOOD DR                                                                     LEE'S SUMMIT    MO       64064
KEITH & BARBARA BLUNT TRUST                                              3059 KADOTA STREET                                                                      SIMI VALLEY     CA       93063
KEITH A WARD AND LEISA WARD                                              PO BOX 306                                                                              TRYON           OK       74875
KEITH ALBERT FORTUNE                                                     10520 SW 130TH AVE                                                                      BEAVERTON       OR       97008
KEITH AND JAMIE LEE JOHNSON                                              1220 KATY COURT                                                                         STILLWATER      OK       74075
KEITH BECKNER                                                            9008 SOFTWIND CT                                                                        FORT WORTH      TX       76116
KEITH BERGMAN                                                            10109 S 72ND EAST AVE                                                                   TULSA           OK       74133
KEITH CARDON                                                             6700 NEWMAN DR                                                                          OKLAHOMA CITY   OK       73162
KEITH COMPTON                                                            2831 MEADOWCLIFF DR                                                                     OKLAHOMA CITY   OK       73159
KEITH EUSTICE                                                            6725 E 55TH ST                                                                          TULSA           OK       74145
KEITH FERGUSON                                                           27931 W 61ST ST S                                                                       SAND SPRINGS    OK       74063-6602
KEITH FRAZIER                                                            11 SHADOW CREEK LANE                                                                    STILLWATER      OK       74075
KEITH GORDON GOLDEN                                                      16800 BRADBURY CIR                                                                      EDMOND          OK       73012
                                                                                                                       9211 Lake Hefner
Keith H. Finley                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Keith H. Finley                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Keith H. Finley                                                          3700 New London Ave                                                                     Moore           OK       73160
KEITH HODGES                                                             PO BOX 194                                                                              GLENCOE         OK       74032
KEITH HUGHES                                                             ADDRESS REDACTED
KEITH HUNT                                                               4504 S VASSAR RD                                                                        MULHALL         OK       73063-2712
KEITH KENNEDY                                                            8228 RUIDOSO RD NE                                                                      ALBUQUERQUE     NM       87109
KEITH KERBY HARRIS                                                       5509 S VICTORIA ST                                                                      WICHITA         KS       67216
KEITH KINGSBURY                                                          197 FOX RUN CIR                                                                         JENKS           OK       74037
KEITH LADD                                                               ROUTE 1, BOX 81                                                                         CAMARGO         OK       73835
KEITH LAWRENCE                                                           3008 EAST HARTFORD AVE                                                                  PONCA CITY      OK       74604-3220
KEITH LOVELL                                                             6115 E 6TH AVE                                                                          STILLWATER      OK       74074-6459
KEITH MACKEY                                                             12801 KITTYHAWK LN                                                                      EDMOND          OK       73034

KEITH MCMURPHY KEITH & MONICA MCMUR                                      451 SUZAN RD                                                                            TUTTLE          OK       73089-8457
Keith Meeks                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX       75070
Keith Meeks                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK       74104
Keith Meeks                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY       10017


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Keith Meeks                                                              201 W Rogers Blvd                                                                      Skiatook         OK      74070
KEITH MOSIER                                                             43474 GOLDEN MEADOW CIR                                                                ASHBURN          VA      20147-5420
KEITH N JONES ESTATE                                                     2118 N GATEWOOD                                                                        OKLAHOMA CITY    OK      73106
KEITH NORTH                                                              3074 W DANUBE DR                                                                       SALT LAKE CITY   UT      84118
KEITH PERRY                                                              106865 US HWY 395 #5                                                                   COLEVILLE        CA      96107
KEITH PETROLEUM INC                                                      2417 E CARRIER RD                                                                      ENID             OK      73701
KEITH RUTH JAMES JT                                                      PO BOX 157                                                                             POND CREEK       OK      73766
KEITH SCHMIDT                                                            911 E DELL AVE                                                                         STILLWATER       OK      74075-2979

KEITH SCHWANDT & JIMALOU SCHWANDT J                                      2114 MAPLE LEAF CIR                                                                    ENID             OK      73703
KEITH SETLIFF                                                            10651 HOBBIT LN                                                                        WESTMINSTER      CO      80031-2236
KEITH TIPTON                                                             2831 18TH AVE NE                                                                       OLYMPIA          WA      98506-3517
KEITH TREADWAY                                                           425 BELL FOUNTAINE DR                                                                  MOORE            OK      73160
KEITH VANDICKEN                                                          PO BOX 1009                                                                            BRENTWOOD        CA      94513
KEITH VOYLES                                                             16135 HURBAN ST                                                                        MASARYKTOWN      FL      34604
KEITH WALLER                                                             PO BOX 287                                                                             LAWTON           OK      73502-0287
KEITH WILLIAMS                                                           PO BOX 8354                                                                            METAIRE          LA      70011-8354
                                                                                                                       9211 Lake Hefner
Keith Dougherty                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Keith Dougherty                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Keith Dougherty                                                          1916 Kiamichi Rd                                                                       Norman           OK      73026
                                                                                                                       9211 Lake Hefner
Keith Warrior                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Keith Warrior                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Keith Warrior                                                            9274 NE Hwy 33                                                                         Guthrie          OK      73034
KEITHS WELDING                                                           24076 STATE HWY 34                                                                     SHARON           OK      73857-5131
KELBY HORTON                                                             PO BOX 181098                                                                          CASSELBERRY      FL      32718
KELBY RUDD                                                               5222 W 5TH AVE                                                                         STILLWATER       OK      74074
KELBY WAYNE VAIL                                                         623 N DIVISION                                                                         GUTHRIE          OK      73044
KELEEN BRYANT                                                            5031 E DANA AVE                                                                        STOCKTON         CA      95215
KELLEY JEAN MCFADDEN MCPHAIL                                             1008 GREEN GARDEN                                                                      LAWRENCEBURG     KY      40342
KELLEY LEIGH PRICE WATT                                                  7726 E 102ND STREET                                                                    TULSA            OK      74133
KELLEY LOWE                                                              2405 FITZGERALD AVE                                                                    MCKINNEY         TX      75071
KELLEY NATURAL RESOURCES LLC                                             727 N. WACO, STE 400                                                                   WICHITA          KS      67203
KELLEY SMALLEY SPENCE                                                    342439 E 780 RD                                                                        AGRA             OK      74824
KELLEY WHEATLEY                                                          3614 E 104TH ST                                                                        PERKINS          OK      74059-4551
KELLEY WOOD                                                              10009 S LINN AVE                                                                       OKLAHOMA CITY    OK      73159
KELLI DIXON                                                              908 N ELM ST                                                                           OWASSO           OK      74055-5567
KELLI JASSO                                                              2814 MARK CIRCLE                                                                       STILLWATER       OK      74075
KELLI L & RANDY KYLE KINDSCHI, JT                                        24795 N DOUGLAS BLVD                                                                   ORLANDO          OK      73073
KELLI WALLING                                                            3221 QUAIL CIR                                                                         ALTUS            OK      73721
KELLPRO INC                                                              101 S 15TH STREET                                                                      DUNCAN           OK      73533
KELLY ALANA PAYNE                                                        2315 E 68TH ST                                                                         STILLWATER       OK      74074
KELLY COLENE BOOZER DIGIACOMO                                            1010 WHITTENDALE STREET                                                                BAKERSFIELD      CA      93307
KELLY CROWELL                                                            4224 W 21ST                                                                            CHICAGO          IL      60623
KELLY CROWELL                                                            908 S REGATTA DR                                                                       VALLEJO          CA      94591
KELLY D HARRIS REVOCABLE TRUST                                           3916 FOX LEDGE LN                                                                      STILLWATER       OK      74074-1741
KELLY DAWN TRIPLETT                                                      11695 TOPO LN                                                                          LAKESIDE         CA      92040
KELLY DOUGHERTY                                                          13900 LOST CREEK DR                                                                    EDMOND           OK      73013
KELLY HOLCOMB                                                            3300 E PINEHILL DR                                                                     COEUR D'ALENE    ID      83815
KELLY HOOPER                                                             325 CHICKASAW DR                                                                       ADA              OK      74820-8374
KELLY HOPFER                                                             14813 N KELLY AVE                                                                      GUTHRIE          OK      73044
KELLY HORTON                                                             6800 N ROSE RD                                                                         GLENCO           OK      74032
KELLY HUMAN                                                              122 DORAL DR                                                                           JEROME           ID      83338-6482
KELLY IRELAND                                                            6566 DE LONGPRE AVE                                                                    LOS ANGELES      CA      90028
                                                                                                                       9211 Lake Hefner
Kelly Joann Stie                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120


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                                      c/o Laminack, Pirtle & Martines,
Kelly Joann Stie                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Kelly Joann Stie                                                         3114 S. Nassau Ave.                                                                    Sand Springs      OK      74063
KELLY JOANNE DICUS                                                       2881 PEPPER ST                                                                         HIGHLAND          CA      92346
KELLY KINDER                                                             PO BOX 532                                                                             PERKINS           OK      74059
KELLY L RODMAN                                                           1905 TINDER STREET                                                                     YUKON             OK      73099
KELLY LAMB                                                               2023 SOUTH SANTA FE STREET                                                             WICHITA           KS      67221
KELLY LEWELLEN                                                           5 CAMDEN WAY                                                                           PERRY             OK      73077
KELLY LUCAS                                                              PO BOX 298549                                                                          WASILLA           AK      99629
KELLY MICHELLE GILLESPIE                                                 313 RIDGE BLUFF COURT                                                                  NORMAN            OK      73071
KELLY MURPHY                                                             115 N ROSE AVE                                                                         GLENCOE           OK      74032
KELLY NEWMAN                                                             38524 S CR 262                                                                         RINGWOOD          OK      73768
KELLY OIL PROPERTIES LLC                                                 PO BOX 12066                                                                           OVERLAND PARK     KS      66282
KELLY OLIVERA                                                            PO BOX 424                                                                             PARADOX           CO      81429-0424
KELLY O'RILEY YOUNG                                                      10904 LEXINGTON NE                                                                     ALBUQUERQUE       NM      87112
KELLY P POWELL FAMILY 2004 REV TRUS                                      4416 S MCBRIDE ST                                                                      STILLWATER        OK      74074
KELLY POISSON                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
KELLY R MILLER                                                           2202 E WILL ROGERS DR                                                                  STILLWATER        OK      74075
                                                                                                                       9211 Lake Hefner
Kelly Rundle                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kelly Rundle                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Kelly Rundle                                                             947 Holly Ct                                                                           Sand Springs      OK      74063
KELLY RYAN                                                               10628 S 91ST E AVE                                                                     TULSA             OK      74133
                                                                                                                       9211 Lake Hefner
Kelly S. Schwinn                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kelly S. Schwinn                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Kelly S. Schwinn                                                         10829 E. 27th St                                                                       Tulsa             OK      74129
KELLY SAYERS                                                             620 VICKERY AVE                                                                        YUKON             OK      73099
KELLY ST CLAIR                                                           8948 W CUSTER LN                                                                       PEORIA            AZ      85381
KELLY SUE HASTINGS                                                       1601 HOGAN LANE APT 1912                                                               CONWAY            AR      72034
                                                                                                                       9211 Lake Hefner
Kelly Vilner                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kelly Vilner                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Kelly Vilner                                                             6263 S. Hudson                                                                         Tulsa             OK      74136
KELLY VOTAW                                                              2624 MARINERS DR                                                                       LITTLE ELM        TX      75068
KELLY WARD                                                               8255 SAGE HILL RD                                                                      ST FRANCISVILLE   LA      70775
KELLY WARD                                                               PO BOX 1757                                                                            ST FRANCISVILLE   LA      70775
KELLY WOLFF                                                              7 LUNDY LN                                                                             BELLA VISTA       AR      72714-1629
                                                                                                                       9211 Lake Hefner
Kelly Donndelinger                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kelly Donndelinger                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Kelly Donndelinger                                                       14712 SE 75th St                                                                       Choctaw           OK      73020
                                                                                                                       9211 Lake Hefner
Kelly Key                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kelly Key                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Kelly Key                                                                300 Spring Rd                                                                          Noble             OK      73068
KELLYE GARRETT JOHNSON                                                   3911 E 104TH STREET                                                                    TULSA             OK      74137
                                                                                                                       9211 Lake Hefner
Kellye Judkins                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kellye Judkins                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Kellye Judkins                                                           4605 N. Willow Ave                                                                     Bethany           OK      73008
KELSEY LYNN BARTON                                                       900 ELDER AVENUE                                                                       SAND SPRINGS      OK      74063
KELSIE WAGNER TRUST                                                      PO BOX 190878                                                                          DALLAS            TX      75219-0878


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KELSY YEARGAIN                                                           3217 53RD ST                                                                           LUBBOCK               TX      79413
KELTON AND KAREN KERSEY                                                  4405 E 4TH ST                                                                          CUSHING               OK      74023-2977
KELVIN SCHOENECKE                                                        19725 SE 29TH ST                                                                       HARRAH                OK      73045
KELVIN SELF                                                              319 N WILDWOOD ACRES DR                                                                STILLWATER            OK      74075
                                                                                                                       9211 Lake Hefner
Kema Vassar                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kema Vassar                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX      77006
Kema Vassar                                                              14933 SE 79th St                                                                       Choctaw               OK      73020
KEN BUTLER                                                               PO Box 182                                                                             BURLINGTON            OK      73722
KEN EVANS                                                                1207 EL CAMINO AVE                                                                     STOCKTON              CA      95209-3018
KEN JUDGE                                                                4104 W 104TH                                                                           PERKINS               OK      74059-4172
KEN JUDGE                                                                4104 W. 104TH STREET                                                                   PERKINS               OK      74059
KEN JUDGE AND LESLIANNA G JUDGE                                          4104 W 104TH ST                                                                        PERKINS               OK      74059
KEN KLINGENBERG                                                          330 NW 13TH ST                                                                         OKLAHOMA CITY         OK      73103-3709
KEN KLINGLER                                                             3116 SW 138TH ST                                                                       OKLAHOMA CITY         OK      73170
KEN LOVEJOY                                                              7301 STINCHCOMB DR                                                                     OKLAHOMA CITY         OK      73132-3743
KEN PETRASHEK                                                            1715 BIG CANYON TRAIL                                                                  CARROLLTON            TX      75007
KEN POTTS                                                                2102 WOODWIND WAY                                                                      VAN BUREN             AR      72956-6412
KENAN OIL INVESTMENTS LLC                                                8001 S MINGO ROAD APT 2210                                                             TULSA                 OK      74133
KENDA DIEHM                                                              2801 SPRINGBRANCH CT                                                                   GRAPEVINE             TX      76051
KENDALL ARNOLD                                                           1313 RIDGE PLACE                                                                       LAHOMA                OK      73754
KENDALL BARNES                                                           808 W LONDON ST                                                                        EL RENO               OK      73036
KENDALL GRANT BLAKEMORE                                                  546 MAIN STREET APT 425                                                                NEW YORK              NY      10044-0038
KENDALL GRINDSTAFF                                                       1015 N AMANDA LN                                                                       STILLWATER            OK      74075
KENDALL HERT ESTATE                                                      107 WEST MAIN STREET                                                                   ARDMORE               OK      73401
KENDALL MILLER                                                           1605 E 4TH AVE                                                                         STILLWATER            OK      74074-3971
KENDALL SHULTS                                                           1303 N SANTA FE RD                                                                     GUTHRIE               OK      73044
KENDLE GARCIA                                                            3212 E LAVEY LANE STE 102                                                              PHOENIX               AZ      85032
KENDRA COWDEN                                                            8213 MEADOW RD # 2308                                                                  DALLAS                TX      75231
KENETH HAREL                                                             330 WHITESTONE DRIVE                                                                   ANAHEIM               CA      92807
KENNA K CURRY                                                            PO BOX 2043                                                                            DUNCAN                OK      73534-2043
KENNA RENE JETT SUCC TRST                                                18011 W WESTPARK BLVD                                                                  SURPRISE              AZ      85388
KENNEDY MINERALS                                                         1114 SHERWOOD LN APT C1                                                                NICHOLS HILLS         OK      73116-6518
KENNETH & CATHY SLAUGHTER                                                PO BOX 147                                                                             MARSHALL              OK      73056
KENNETH & GRACE STONE REV TRUST                                          1513 E LITTLE CREEK DR                                                                 HARLINGEN             TX      78550-8083
KENNETH & JANICE PIPES TRUST                                             13465 ROCKHILL RD                                                                      CLAREMORE             OK      74017-0757
KENNETH ALTSHULER                                                        175 BOWIE HILL                                                                         DURHAM                ME      04222-5182
KENNETH AND                                                              1001 SW 107TH ST                                                                       OKLAHOMA CITY         OK      73170
KENNETH AND PAULA HALL                                                   9103 S FAIRGROUNDS                                                                     STILLWATER            OK      74074-6628
KENNETH ANDREW                                                           302 S ABBEY                                                                            STILLWATER            OK      74074
KENNETH ARCHER                                                           154 1/2 W MARKET ST                                                                    ORRVILLE              OH      44667-1847
KENNETH B MINSHALL                                                       336676 E 770 RD                                                                        TRYON                 OK      74875
KENNETH B. POLING AND CHANDRA S. PO                                      9004 S SANGRE RD                                                                       PERKINS               OK      74059-4190
KENNETH BATES                                                            1059 DOVER MANSION                                                                     YUKON                 OK      73099
KENNETH BINKLEY                                                          42 ENCANTADO WAY                                                                       HOT SPRINGS VILLAGE   AR      71909
KENNETH BOYD & KAY BOYD LIVING TRUS                                      506 S RIPLEY RD                                                                        RIPLEY                OK      74062
KENNETH BOYLE                                                            PO BOX 185                                                                             RIPLEY                OK      74062-0185
KENNETH BRENGLE                                                          34656 VIA CATALINA                                                                     CAPISTRANO BEACH      CA      92624
KENNETH BUSSARD                                                          1685 FAIRMONT AVE                                                                      CLOVIS                CA      96311
                                                                                                                       9211 Lake Hefner
Kenneth Campbell                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK      73120
Kenneth Campbell                      c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles           CA      90017
Kenneth Campbell                                                         5917 SE Morgan Dr                                                                      Guthrie               OK      73044
KENNETH CARLOCK                                                          PO BOX 1361                                                                            MCALESTER             OK      74502-1361
KENNETH CLAPP                                                            9609 E YOST RD                                                                         GLENCOE               OK      74032
KENNETH CLEMENS                                                          PO BOX 411                                                                             RIPLEY                OK      74062-0411
KENNETH CLIFTON                                                          687 WEST FM 1753                                                                       BONHAM                TX      75418
KENNETH CUBBAGE                                                          2906 TRAILRIDGE DR                                                                     NORMAN                OK      73072-6658


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KENNETH CYPHERS                                                          2902 W COUNTY RD 63                                                                    MULHALL         OK      73063
KENNETH D AND JUDY N HOLLEY LIVING                                       PO BOX 131809                                                                          TYLER           TX      75713-1809
KENNETH D RINGER REV LIV TR                                              21874 N COUNCIL RD                                                                     EDMOND          OK      73012
KENNETH D THOMSEN                                                        ROUTE 2 BOX 79                                                                         TALOGA          OK      73667-9644
KENNETH D TURNER REV TR                                                  740 MOUNTAIN SHADOWS DR                                                                SEDONA          AZ      86336
KENNETH DALE AND ANNA M LANE                                             1823 NORTH YOUNG STREET                                                                STILLWATER      OK      74075
KENNETH DAVIS                                                            615 12TH STREET                                                                        MARYSVILLE      CA      95901
KENNETH DAVIS                                                            210 S HOPPY RD                                                                         STILLWATER      OK      74075
KENNETH DEAN SMITH                                                       6103 SW WARRINGTON RD                                                                  BENTONVILLE     AR      72717
KENNETH DOUGLAS AND GRACE ANN                                            1513 E LITTLE CREEK DR                                                                 HARLINGEN       TX      78550-8083
KENNETH DUDLEY                                                           PO BOX 231                                                                             MEADVILLE       MO      64659-0231

KENNETH E DAUGHERTY                                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
KENNETH E PETERMANN                                                      2812 E 56TH ST                                                                         STILLWATER      OK      74074
KENNETH E WARREN                                                         8105 W 139TH STREET                                                                    OVERLAND PARK   KS      66223
KENNETH EELLS                                                            812 NW D ST                                                                            GRANTS PASS     OR      97527
KENNETH ERWIN                                                            811 N 89TH ST                                                                          OMAHA           NE      68114-2721
KENNETH EUGENE BLASIER                                                   3113 FALCON CREST                                                                      ENID            OK      73703

KENNETH EUGENE GRIMES AND KAREN Y G                                      401 S ASP AVE                                                                          RIPLEY          OK      74062
KENNETH EUGENE THATCHER                                                  6153 WEST KERRY LANE                                                                   GLENDALE        AZ      85308
KENNETH EYSTER                                                           2224 N MIDWEST BLVD                                                                    GUTHRIE         OK      73044
KENNETH F HUTCHINSON AND LINDA KAY                                       790 SNOW MOUNTAIN WAY                                                                  RED BLUFF       CA      96080
KENNETH FREEBORN                                                         2535 EASTGATE DR                                                                       TWIN FALLS      ID      83301
KENNETH G BENNETT (DECEASED)                                             2315 EL PRADO AVE                                                                      LEMON GROOVE    CA      91945
KENNETH G BRENGLE JR                                                     PO BOX 209                                                                             MAMMOTH LAKES   CA      93546-0209
KENNETH GLASS                                                            18601 COUNTY RD 110                                                                    PERRY           OK      73077-8933
KENNETH GORDEN WEINBERGER                                                135 RODNEY ST APT 3                                                                    BROOKLYN        NY      11211
KENNETH GORDHAMER                                                        13518 W 90TH PLACE                                                                     LENEXA          KS      66215
KENNETH GORE                                                             PO BOX 295                                                                             TALOGA          OK      73667
KENNETH HALL                                                             PO BOX 313                                                                             BENNINGTON      OK      74723
KENNETH HANSEN                                                           6600 TASAJILLO TRAIL                                                                   AUSTIN          TX      78739-1482

KENNETH HARRY FRANK & VERNA MAE FRA                                      21301 COUNTY RD 150                                                                    PERRY           OK      73077
KENNETH HAWKINS                                                          113275 S 4172RD                                                                        CHECOTAH        OK      74426
KENNETH HETHERINGTON                                                     15534 S 299TH EAST AVE                                                                 COWETA          OK      74429-6001
KENNETH HIGGINS AND THELMA HIGGINS                                       4715 E 56TH ST                                                                         STILLWATER      OK      74074-9677
KENNETH HOLCOMB                                                          PO BOX 214                                                                             BUTLER          OK      73625
KENNETH HOPPER                                                           1620 NOTTINGHAM DR                                                                     HUMMELSTOWN     PA      17036-8712
KENNETH HORTON ESTATE                                                    1915 E 4TH AVE                                                                         STILLWATER      OK      74074
KENNETH HUCKABAY                                                         5315 SPRING CREEK CIRCLE W                                                             STILLWATER      OK      74074-8571
KENNETH HULSIZER DECEASED                                                1224 North Jardot Road                                                                 STILLWATER      OK      74075
                                                                                                                       9211 Lake Hefner
Kenneth Jack Dunn                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kenneth Jack Dunn                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Kenneth Jack Dunn                                                        4212 N. Easy St                                                                        Oklahoma City   OK      73150
KENNETH JACOB                                                            7451 COMBS RD                                                                          INDIANAPOLIS    IN      46237
KENNETH JAFEK                                                            1448 S 2150 E                                                                          MALTA           ID      83342
KENNETH JOHNSON                                                          RR 1, BOX 20                                                                           PUTNAM          OK      73659
KENNETH JOHNSTON ESTATE                                                  502 W VERNON                                                                           NEVADA          MO      64772
KENNETH KAUTZ                                                            401 SAGE BRUSH RD.                                                                     YUKON           OK      73099
KENNETH KAY BOYD JT                                                      506 N RIPLEY RD                                                                        RIPLEY          OK      74062-6415
KENNETH KEESEE                                                           3705 TIFFANY DR                                                                        MOORE           OK      73160
KENNETH KEETON                                                           1722 BAY WATCH DR                                                                      ROCKWALL        TX      75087-3269
KENNETH KEITH                                                            3 CRESTVIEW RD                                                                         WELLINGTON      KS      67152-4718
KENNETH KELLEY                                                           PO BOX 749                                                                             KINGSVILLE      TX      78364-0749
KENNETH KINDSCHI                                                         25002 N SOONER RD                                                                      ORLANDO         OK      73073
KENNETH KRISTIEN WOOTEN                                                  1601 NW EXPRESSWAY                                                                     OKLAHOMA CITY   OK      73118-1433


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              CreditorName                  CreditorNoticeName                         Address1                             Address2                 Address3            City    State       Zip      Country
KENNETH L & CAROLYN A FIELD REV TR                                       123 E. LAKEHURST                                                                       STILLWATER       OK      74075
KENNETH L & CAROLYN FIELDS JTS                                           123 E LAKEHURST DRIVE                                                                  STILLWATER       OK      74075
KENNETH L & KATHY SUE WALTER REV TR                                      1106 CHERRYWOOD DR                                                                     GUTHRIE          OK      73044
KENNETH L HOLDERMAN REV INTERVIVOS                                       4929 E 102ND ST                                                                        TULSA            OK      74137
KENNETH L LONG LIVING TRUST                                              3323 CHASE                                                                             WICHITA          KS      67217
                                                                                                                       9211 Lake Hefner
Kenneth L. Jackson                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kenneth L. Jackson                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Kenneth L. Jackson                                                       5529 N. Lewis Ave                                                                      Tulsa            OK      74130
KENNETH LAMBERT                                                          6020 QUEMADA DR NE                                                                     ALBUQUERQUE      NM      87109
KENNETH LEACH                                                            14544 HWY 43 S                                                                         SILOAM SPRINGS   AR      72761-8319

KENNETH LESLIE STEWART                                                   371 NORTH TANQUE VERDE LOOP ROAD                                                       TUCSON           AZ      85748
                                                                                                                       9211 Lake Hefner
Kenneth Logsdon                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kenneth Logsdon                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Kenneth Logsdon                                                          11075 E. 14th St                                                                       Tulsa            OK      74128
KENNETH MARK HOLCOMB                                                     PO Box 214                                                                             BUTLER           OK      73625
KENNETH MCENTIRE                                                         200 RED BLUFF DRIVE                                                                    HICKORY CREEK    TX      75065
KENNETH MITCHELL AND JANE E                                              1016 NORTH SHORE DR                                                                    GUTHRIE          OK      73044
KENNETH MOORE                                                            26431 S 615 LOOP                                                                       GROVE            OK      74344
KENNETH NELSON                                                           10401 S LOCKWOOD                                                                       PERKINS          OK      74059
KENNETH NEWMAN                                                           3515 N GRANT                                                                           ENID             OK      73703
KENNETH ORINGDERFF                                                       7310 MILITARY PKWY                                                                     DALLAS           TX      75227-3855
KENNETH P & JUANITA A THOMPSON                                           PO BOX 36000                                                                           ALBUQUERQUE      NM      87176-6000
KENNETH PFAU                                                             6820 SOUTHRIDGE DR                                                                     DALLAS           TX      75214-3161
KENNETH POLING                                                           9004 S SANGRE RD                                                                       PERKINS          OK      74059-4190
KENNETH R FILLMORE & SANDRA S                                            1633 WILDHORSE DR                                                                      EDMOND           OK      73003
KENNETH R FRANKEL                                                        1537-C FOURTH STREET                                                                   SAN RAFAEL       CA      94901
KENNETH R WILLIAMS                                                       10884 N MAY AVE                                                                        CRESCENT         OK      73028
KENNETH R. FEAGINS REV TR UNDER AGR                                      805 PARKSIDE RD                                                                        NORMAN           OK      73072-4235
KENNETH RAINS                                                            PO BOX 1041                                                                            STILLWATER       OK      74076
KENNETH RAY & PEGGY MITTASCH                                             353524 E HWY 64                                                                        PAWNEE           OK      74058
KENNETH RAY LEACH                                                        14544 S HWY 43 SOUTH                                                                   SILOAM SPRINGS   AR      72761
KENNETH RAYMOND ENOCHS                                                   410893 EAST 1211 ROAD                                                                  EUFAULA          OK      74432
KENNETH RENNER                                                           403 LAWRENCE DR                                                                        OKARCHE          OK      73762
KENNETH ROGERS                                                           6 PIEDRA VISTA                                                                         SILVER CITY      NM      88061
KENNETH S ISAACS                                                         220 CLARK DR                                                                           SAN MATEO        CA      94402
KENNETH SCHEIHING                                                        ROUTE 1 BOX 57-A                                                                       GREENFIELD       OK      73043
KENNETH SHORT                                                            11218 N 121ST E AV                                                                     OWASSO           OK      74055
KENNETH STALEY                                                           702 VENUS AVE                                                                          SALINA           KS      67401-1004
KENNETH STANTON                                                          PO BOX 223                                                                             RIPLEY           OK      74062-0223
KENNETH STEVENS                                                          10358 GENTRY DRIVE                                                                     JUSTIN           TX      76247
KENNETH VALLIQUETTE                                                      10115 W COUNTY RD 69                                                                   CRESCENT         OK      73028
KENNETH W JARDOT                                                         404 SOUTH JARDOT RD                                                                    STILLWATER       OK      74074
KENNETH W NELSON LIFE EST                                                10401 S LOCKWOOD                                                                       PERKINS          OK      74059-3780
KENNETH W STEWART                                                        240 RHODE ISLAND ST NE                                                                 ALBUQUERQUE      NM      87108-2224
KENNETH W STONE                                                          1832 HARVEST CT                                                                        EDMOND           OK      73003-9404
KENNETH WATTS                                                            506 W PARK AVE                                                                         RIVERTON         WY      82501

KENNETH WESLEY JARDOT REV TR KENNET                                      404 S JARDOT RD                                                                        STILLWATER       OK      74074-3984
KENNETH WHITTAKER                                                        1531 SOUTH HWY 121 APT 2414                                                            LEWISVILLE       TX      75067-8328
KENNETH WIDENER                                                          PO BOX 792                                                                             GUTHRIE          OK      73044
KENNETH WIGGS                                                            4057 SW 40TH                                                                           OKLAHOMA CITY    OK      73119
KENNETH ZEILER                                                           9903 CARLYLE AVE                                                                       OVERLAND         MO      63114-1304
                                                                                                                       9211 Lake Hefner
Kenneth Harrison                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120


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                 CreditorName              CreditorNoticeName                             Address1                         Address2                 Address3             City    State       Zip      Country
                                     c/o Laminack, Pirtle & Martines,
Kenneth Harrison                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Kenneth Harrison                                                        1733 Timber Wolf Trail                                                                 Edmond            OK      73034
KENNEY FIELD AND BRENDA A FIELD JT                                      3803 TIMBERLINE DR                                                                     STILLWATER        OK      74074-9235
KENNIE C SMITH                                                          8 STEVENS LN                                                                           TABERNACLE        NJ      08088-9744
KENNY BRUEGGEN                                                          1218 WEST FAY                                                                          KINGFISHER        OK      73750
KENNY JOE SMITH                                                         PO BOX 2365                                                                            TULSA             OK      74101-2365
KENNY W. ROUNDS                                                         7247 N. 2030 RD.                                                                       LEEDEY            OK      73654
                                                                                                                      9211 Lake Hefner
Kenny Doyle II                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Kenny Doyle II                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Kenny Doyle II                                                          14950 NE 1st St                                                                        Choctaw           OK      73020
                                                                                                                      9211 Lake Hefner
Kenny Sperry                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Kenny Sperry                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Kenny Sperry                                                            3161 Puget Sound Dr                                                                    Edmond            OK      73034
KENO B THOMSEN                                                          112 S. EMERALD DR.                                                                     APACHE JUNCTION   AZ      85120
KEN'S HOT OIL & STEAM SERVICE LLC                                       PO BOX 670                                                                             SEMINOLE          OK      74818
KENSY ROYALTY LLC                                                       PO BOX 703044                                                                          TULSA             OK      74170
KENT BARNES                                                             17473 HIGHWAY 80                                                                       HULBERT           OK      74441
KENT BROOKS                                                             4733 ALEXIS DR                                                                         KISSIMMEE         FL      34746
KENT H WEBB GST EXEMPT RESID TR                                         7316 N WESTERN AVENUE                                                                  OKLAHOMA CITY     OK      73116
KENT HANSEN                                                             40 CR 126                                                                              ESPANOLA          NM      87532
KENT J STEPHENSON                                                       1705 PRIMROSE LANE                                                                     PERRY             OK      73077
KENT JOHNSON                                                            4816 N CLASSEN BLVD                                                                    OKLAHOMA CITY     OK      73118
KENT KAMP                                                               1906 QUAIL RUN                                                                         MUSKOGEE          OK      74403-8461
KENT KIMBALL                                                            1103 SOPHOMORE CT                                                                      DURHAM            NC      27713
KENT KIMBALL                                                            4512 WOODSONG LOOP E                                                                   JACKSONVILLE      FL      32225-1021
KENT LYNN                                                               6800 NW 57TH ST                                                                        BETHANY           OK      73008
KENT M. LEAGUE AND TERRI G. LEAGUE                                      91314 Coal Road                                                                        Pond Creek        OK      73766
KENT PETTY                                                              1411 NE 45TH                                                                           LAWTON            OK      73507
KENT SCHWERDT                                                           5436 SW QUAIL RUN DR                                                                   TOPEKA            KS      66610
KENT SIEGRIST                                                           512 S NYSSA AVE                                                                        BROKEN ARROW      OK      74012
KENT THEDFORD                                                           1725 E WHEAT CAPITOL RD                                                                ENID              OK      73701
KENT WILSON                                                             1414 LONGS PEAK AVE                                                                    LONGMONT          CO      80501
KENTON BRADFORD DUNCAN JR &                                             12808 MAIDEN LANE                                                                      OKLAHOMA CITY     OK      73142
KENTON D THEDFORD                                                       206 1/2 BIRCH ST                                                                       PERRY             OK      73077
KENTON LONG                                                             13914 W ONEWOOD                                                                        WICHITA           KS      67235
KENTON NELSON                                                           1318 WATERWOOD DR                                                                      MANSFIELD         TX      76063
Kentucky State Treasury              Unclaimed Property Division        1050 US Highway 127 South, Suite 100                                                   Frankfort         KY      40601
KENTUCKY STATE TREASURY UNCLAIMED                                       1050 US HWY 127 SOUTH                                                                  FRANKFORT         KY      40601
KENWORTHY OPERATING COMPANY                                             PO BOX 7120                                                                            SILOAM SPRINGS    AR      72761
                                                                                                                      9211 Lake Hefner
Kenyah Hill                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Kenyah Hill                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Kenyah Hill                                                             200 W. Delmar St                                                                       Broken Arrow      OK      74012
KEOKUK TRUST                                                            1131 ARIZONA AVENUE                                                                    LOS BANOS         CA      93635
KEPWARE TECHNOLOGIES                                                    400 CONGRESS ST 4TH FL                                                                 PORTLAND          ME      04101
KERFORD SINGLETON                                                       536 VENETO                                                                             IRVINE            CA      92614
KERI KELLEY                                                             12277 SW 9TH ST                                                                        YUKON             OK      73099-7158
KERI LYNN JOHNSON                                                       15911 COUNTY ROAD 616                                                                  FARMSVILLE        TX      75442
KERMIT G REDMAN TTEE                                                    3586 E COUNTY RD 66                                                                    MULHALL           OK      73063
KERMIT MILBURN                                                          309 HOLLOWDALE                                                                         EDMOND            OK      73003-3039
KERMIT RAZOR                                                            3008 COUNTRY ESTATES DR.                                                               NEWCASTLE         IN      47362
KERMIT REDMAN                                                           3586 E COUNTY RD 66                                                                    MULHALL           OK      73063
KERNON MCGUIRE                                                          197 CASA DELL RD                                                                       GASTON            SC      29053-9339


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KERNS ASPHALT CO                                                         PO BOX 1628                                                                             STILLWATER      OK      74076-1628
KERODINE JOHNSON                                                         1750 HONEY RD                                                                           HELENA          MT      59602
KERRIE HULL                                                              1605 N VISSCHER ST APT O102                                                             TACOMA          WA      98406-2424
KERRIE LYNN GRIFFIN                                                      PO BOX 722575                                                                           NORMAN          OK      73070
KERR-MCGEE OIL & GAS ONSHORE LLC                                         PO BOX 730875                                                                           DALLAS          TX      75373-0875
KERRY BAKER                                                              12411 S MEHAN RD                                                                        PERKINS         OK      74059
KERRY BETH JOHNSON                                                       12550 WHITTINGTON DR #902                                                               HOUSTON         TX      77077
KERRY KIRBY                                                              1422 W BLUE JAY DR                                                                      CHANDLER        AZ      85286
KERRY N CLINE & LINDA CLINE HWJT                                         1412 MAPLE ST                                                                           PERRY           OK      73077
KERRY RENFRO                                                             PO BOX 82                                                                               CAMARGO         OK      73835
KERRYE GARRETT MORRISON                                                  719 W 109TH PLACE SOUTH                                                                 JENKS           OK      74037
KERSHAW PUTNAM LLC                                                       PO BOX 20588                                                                            OKLAHOMA CITY   OK      73156-0588
                                                                                                                       9211 Lake Hefner
Kervin Colbert                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kervin Colbert                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Kervin Colbert                                                           6809 NW 60th St                                                                         Bethany         OK      73008
KERWYN MILLER                                                            2002 N TEAL BROOK ST                                                                    WICHITA         KS      67235
KETA MORGAN REVOCABLE TRUST                                              19784 COUNTY ROAD 1535                                                                  ADA             OK      74820-0013
KEVCO PRODUCTION SERVICES LLC                                            PO BOX 68                                                                               BURNS FLAT      OK      73624-0068
KEVEN VIERTHALER                                                         16071 SW 80TH ST                                                                        NASHVILLE       KS      67112
Kever, Lynzee                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City   OK      73116
KEVIN & LORI OLTMANNS REV TR DTD 03                                      6719 W DEVONSHIRE RD                                                                    STILLWATER      OK      74074
KEVIN & NANCY VOIGT                                                      PO Box 2640                                                                             MIDLAND         TX      79702
KEVIN ADAMSON                                                            PO BOX 782                                                                              DILLON          CO      80435
KEVIN AND CATHY S ALLEN                                                  2112 EAST WILL ROGERS DRIVE                                                             STILLWATER      OK      74075
KEVIN AND TERESA EWING                                                   2721 NW 206TH ST                                                                        EDMOND          OK      73012-9043
KEVIN ANDREWS                                                            944 NUNA AVE                                                                            FORT MYERS      FL      33905-4110
KEVIN BENTLEY                                                            3541 W NORTH AVE                                                                        PONCA CITY      OK      74601-7723
KEVIN BILYEU                                                             PO BOX 950                                                                              CUSHING         OK      74023-0950
KEVIN BOWEN                                                              6200 VERNON CT S                                                                        EDINA           MN      55436
KEVIN BRYAN                                                              6731 CREST PL                                                                           FALLS CHURCH    VA      22046-2301
                                                                                                                       9211 Lake Hefner
Kevin Burnett                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kevin Burnett                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
KEVIN BURNETT                                                            PO BOX 135                                                                              GLENCOE         OK      74032
Kevin Burnett                                                            10522 N Rose                                                                            Glencoe         OK      74032
KEVIN C GLICK REV TRUST                                                  4490 KOLOPA ST STE B                                                                    LIHUE           HI      96799
KEVIN CAVANAUGH                                                          5716 SILVERTON AVE                                                                      MCKINNEY        TX      75070
KEVIN DAYNE POTE                                                         2608 N PARADISE ST                                                                      WICHITA         KS      67205-5244
KEVIN DOUGLAS JOHNSON                                                    8720 HWY 77 N                                                                           WYNNEWOOD       OK      73098
KEVIN EDWARD MALLORY                                                     40931 WEST WILLIAMS WAY                                                                 MARICOPA        AZ      85138
KEVIN EMERSON                                                            534 N 91E PL                                                                            TULSA           OK      74115
KEVIN FLASCH                                                             3448 32ND ST #D5                                                                        ASTORIA         NY      11106
KEVIN FORD AND CYNTHIA JO FORD HW J                                      PO BOX 133                                                                              RIPLEY          OK      74062-0133
KEVIN FRANZONI                                                           12925 MONGUL RD                                                                         NEWBURG         PA      17240
KEVIN GLEN BLASIER                                                       4813 ELK RUN                                                                            ENID            OK      73703
KEVIN GRAHAM                                                             2104 E 6 ST APT 6                                                                       VANCOUVER       WA      98661
KEVIN HICKS                                                              1240 FORREST DR                                                                         IRVING          TX      75061
KEVIN HOOG                                                               333 S WESTMINSTER RD                                                                    ARCADIA         OK      73007-6921
Kevin Ivers                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Kevin Ivers                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Kevin Ivers                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Kevin Ivers                                                              375 Catfish Dr                                                                          Ponca City      OK      74604
KEVIN JESTER                                                             515 UNITY RD                                                                            ARKADELPHIA     AR      71923
KEVIN JOE & SANDRA KAY WARD                                              15175 N WESTERN AVE                                                                     MULHALL         OK      73063
KEVIN JONES                                                              8650 N MACARTHUR BLVD                                                                   CRESCENT        OK      73028
KEVIN L SMITH AND VALORIE J SMITH                                        4317 QUAIL RIDGE ROAD                                                                   ENID            OK      73703-2821


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KEVIN L. ZEMP PROFESSIONAL CORP.                                         SUITE 401, 1110 CENTRE ST. NE                                                          CALGARY         AB       T2E 2R2      CANADA
KEVIN LAIRD                                                              8045 LLOYD DR                                                                          ANCHORAGE       AK       99502
KEVIN LAMBERT                                                            8909 SONYA AVE SW                                                                      ALBUQUERQUE     NM       87121
KEVIN LAMLE                                                              7722 S 85TH EAST AVE                                                                   TULSA           OK       74133-3721
KEVIN LOMELI                                                             5995 BLOSSOM AVE                                                                       SAN JOSE        CA       95123
KEVIN LOOBY                                                              14970 21ST ST                                                                          WADSWORTH       IL       60083
KEVIN MACKEY                                                             5201 OLD UNIONTOWN RD                                                                  VAN BUREN       AR       72956-7339
KEVIN MCBEE                                                              4814 TULIP AVENUE                                                                      AMARILLO        TX       79110
KEVIN MCCROSKEY                                                          335 FOREST LAKES DR                                                                    STERRETT        AL       35147
KEVIN MCKEAIGG                                                           1041 VALLEY DR                                                                         SAND SPRINGS    OK       74063
KEVIN MCVAY                                                              923 E 19TH AVE                                                                         STILLWATER      OK       74074-6021
KEVIN MUEGGENBORG                                                        2572 ASHLEY CT NE                                                                      PIEDMONT        OK       73078
KEVIN O'HORNETT                                                          PO BOX 80                                                                              GOLDEN          CO       80402
KEVIN PERRY                                                              1225 COTTER WAY                                                                        HOWARD          CA       94541
KEVIN RAINS                                                              509 NE 6TH ST APT A                                                                    PERKINS         OK       74059
KEVIN RAY MANKE                                                          PO BOX 12                                                                              BLANCHARD       OK       73010
KEVIN RENFRO                                                             117 ALDEAH AVE                                                                         COLUMBIA        MO       65203-3801
KEVIN ROEHM                                                              408 Collins Court                                                                      STILLWATER      OK       74074
KEVIN RUGGS                                                              7238 W COUNTY ROAD 69                                                                  MULHALL         OK       73063
KEVIN STOUT                                                              2924 N SAINT CLAIR ST                                                                  WICHITA         KS       67204
KEVIN VATER                                                              11269 HADLEY ST                                                                        OVERLAND PARK   KS       66210
KEVIN WAYNE GRANT                                                        6387 MOTHER LODE DRIVE - SPC #82                                                       PLACERVILLE     CA       95667
KEVIN WELDON                                                             400 S EASTSIDE DR                                                                      BLOOMINGTON     IN       47401-5253
KEVIN WILLIAMS                                                           3601 BLACKFOOT WAY                                                                     ANTELOPE        CA       95843-2301
KEVIN ZETTERBERG                                                         9717 SOUTH MEHAN ROAD                                                                  PERKINS         OK       74059
                                                                                                                       9211 Lake Hefner
Kevin Beat                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Kevin Beat                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Kevin Beat                                                               3601 Stinnett Pl                                                                       Guthrie         OK       73034
KEY AMERICAN HOMES LLC                                                   6400 S JARDOT RD                                                                       STILLWATER      OK       74074-8298
KEY ENERGY SERVICES LLC                                                  PO BOX 4649                                                                            HOUSTON         TX       77210-4649
KEY PRODUCTION COMPANY INC                                               4031 SOLUTIONS CENTER                                                                  CHICAGO         IL       60677-4000
KEY WELDING INC                                                          PO BOX 453                                                                             VICI            OK       73859
KEY-DON ROYALTY CP                                                       6035 S YORKTOWN PL                                                                     TULSA           OK       74105
KEYSHA LYNN HUGHES                                                       1511 WESTVILLE DRIVE                                                                   BEAUMONT        TX       77713
KEYSTONE BUCKEYE ENERGY LLC                                              1100 WASHINGTON AVE STE 101                                                            CARNEGIE        PA       15106-3615
KEYSTONE ENERGY LLC                                                      6608 N WESTERN AVE # 348                                                               OKLAHOMA CITY   OK       73116-7326
KEYSTONE ENERGY PARTNERS LLC                                             6608 N WESTERN AVE UNIT 348                                                            OKLAHOMA CITY   OK       73116-7326

KEYSTONE ENGINEERING AND LAND SURVE                                      923 S LOWRY                                                                            STILLWATER      OK       74076-0436
KEYSTONE GAS CORPORATION                                                 5314 S YALE AVE STE 100                                                                TULSA           OK       74135-6254
KHR OIL AND GAS HOLDINGS LLC                                             5725 E BETTY ELYSE LN                                                                  SCOTTSDALE      AZ       85254-1814
KIBTEC OIL & GAS INC                                                     PO BOX 1215                                                                            GUTHRIE         OK       73044
KID A PRODUCTION LLC                                                     729 MARTINA LANE                                                                       EDMOND          OK       73034
KIDD FAMILY PARTNERSHIP LTD                                              3838 OAK LAWN AVE STE 910                                                              DALLAS          TX       75219-4524
KIEFABER & OLIVA LLP                                                     808 TRAVIS ST STE 1030                                                                 HOUSTON         TX       77002
KIERAN MCLACHLAN                                                         2400 KINGS RD                                                                          MOORE           OK       73160-1138
KIERSTIE KRAEMER                                                         3212 E LAVEY LANE STE 102                                                              PHOENIX         AZ       85032
KIETH DOBBS                                                              6301 94TH                                                                              NOBLE           OK       73068
KIGHTLINGER LLC                                                          PO BOX 231                                                                             HUTCHINSON      KS       67504-0231
KILBURN LAW                                                              5300 MEMORIAL DR STE 550                                                               HOUSTON         TX       77007-8230
Kilian, Brian                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK       73116
                                                                                                                       9211 Lake Hefner
Kim B. Lewis                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Kim B. Lewis                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Kim B. Lewis                                                             518 S. 78th East Ave.                                                                  Tulsa           OK       74112
KIM BRADFORD                                                             502 W THORN ST                                                                         SAN DIEGO       CA       92103


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                                                                                              White Star Petroleum, LLC
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              CreditorName                   CreditorNoticeName                             Address1                        Address2                  Address3             City   State       Zip      Country
KIM CAMP                                                                 1824 NW 32ND ST                                                                         OKLAHOMA CITY    OK      73118
KIM COFFEY                                                               9116 SPINNING LEAF CV                                                                   AUSTIN           TX      78735-1470
KIM DIANE ANDRUS AND TAMARA G PATTE                                      11028 NW 116                                                                            Yukon            OK      73099
KIM FARMER                                                               RR 3 BOX 251O-4                                                                         AVA              MO      65608
KIM FLANNIGAN                                                            PO BOX 207                                                                              LANGSTON         OK      73050
KIM FORD                                                                 1210 S DELAWARE ST                                                                      KENNEWICK        WA      99338-1212
KIM GILLILAND                                                            39501 S 33700 RD                                                                        MORRISON         OK      73061
KIM HOBBS                                                                PO BOX 662                                                                              HENNESSEY        OK      73742
KIM JOHNSON                                                              405 THORNTON ST                                                                         LIBERTY          MO      64068
KIM KATHLEEN BLECK                                                       700 CARRIE LANE                                                                         LITTLE ELM       TX      75068-4421
KIM KOCH                                                                 3222 LOCUST DR                                                                          CHEYENNE         WY      82001
Kim Lane                              c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Kim Lane                              c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Kim Lane                              c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Kim Lane                                                                 5092 West 118th St North                                                                Skiatook         OK      74070
                                                                                                                       9211 Lake Hefner
Kim Loyd                              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kim Loyd                              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Kim Loyd                                                                 6109 E. 77 St                                                                           Tulsa            OK      74136
KIM MARIE HOUSTON                                                        9720 W 66TH PLACE                                                                       ARVADA           CO      80094
KIM MCKOWEN                                                              18445 HIGHWAY 432                                                                       CLINTON          LA      70722
KIM ODONNELL                                                             626 W EUCID                                                                             WAUKOMIS         OK      73773
KIM SAMPLER                                                              3311 S GREEN VALLEY DR                                                                  STILLWATER       OK      74074-7241
KIM SHAFFER COOK                                                         12612 THREE OAKS DR                                                                     JONES            OK      73049-8528
KIM SIMMONS                                                              3212 E LAVEY LANE STE 102                                                               PHOENIX          AZ      85032
                                                                                                                       9211 Lake Hefner
Kim Benson                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kim Benson                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Kim Benson                                                               1509 NE 25th                                                                            Oklahoma City    OK      73111
                                                                                                                       9211 Lake Hefner
Kim O'Malley                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kim O'Malley                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Kim O'Malley                                                             4633 SE 23rd St                                                                         Del City         OK      73115
KIMARK SYSTEMS INC                                                       2105 GREENWOOD DR                                                                       SOUTHLAKE        TX      76092
KIMBELL ROYALTY HOLDINGS LLC                                             PO BOX 671099                                                                           DALLAS           TX      75367-1099
                                                                                                                       9211 Lake Hefner
Kimber Lee Grizzle                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kimber Lee Grizzle                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Kimber Lee Grizzle                                                       1710 W Grandstaff                                                                       Cushing          OK      74023
KIMBERLEE COREY                                                          9304 W OSPREY MEADOWS DR                                                                BOISE            ID      83714-6714
KIMBERLEY WELDON                                                         2026 HAUSER BLVD APT C                                                                  HELENA           MT      59601-1500
KIMBERLIE ANN REED                                                       621 PINEY BRANCH DR #102                                                                VIRGINIA BEACH   VA      23451
KIMBERLIN FAMILY TRUST                                                   21 PLEASANT VALLEY RD                                                                   MENDHAM          NJ      07945
                                                                                                                       9211 Lake Hefner
Kimberly Smart                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kimberly Smart                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Kimberly Smart                                                           11130 N. Stratford Unit 331                                                             Oklahoma City    OK      73120
KIMBERLY ADERTON                                                         6815 SW 26TH AVE #D                                                                     PORTLAND         OR      97219
KIMBERLY ANDERSON                                                        1316 TIMBER RIDGE CT                                                                    LIBERTY          MO      64068-3545
KIMBERLY BERRY                                                           101 S LEWIS ST                                                                          STILLWATER       OK      74074-3512
KIMBERLY BROADIE                                                         20646 S HWY 213                                                                         OREGON CITY      OR      97045
KIMBERLY BROWN                                                           64 K LYNN ST                                                                            ARDMORE          OK      73401-9335
                                                                         306 SOUTH TIMBERRIDGE DRIVE, APT.
KIMBERLY CARRASCO                                                        301                                                                                     CUSHING          OK      74023


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              CreditorName              CreditorNoticeName                         Address1                             Address2                 Address3            City   State       Zip       Country
KIMBERLY CONNERY                                                     3316 CALDERA BLVD #228                                                                 MIDLAND         TX      79707
KIMBERLY ELLISON                                                     PO BOX 538                                                                             CRESCENT        OK      73028
KIMBERLY FASSNACHT-BIXLER                                            719 S MCDONALD                                                                         STILLWATER      OK      74074
KIMBERLY GIBSON                                                      4162 ROTHERHAM COURT                                                                   PALM HARBOR     FL      34685-3168
KIMBERLY GUYMON                                                      14107 STONETREE                                                                        SAN ANTONIO     TX      78247-3846
KIMBERLY HATHOOT CREW                                                837 NEWPORT RD                                                                         FORT WORTH      TX      76120
KIMBERLY HEFLEY                                                      1101 EDGEWOOD DR                                                                       WELLINGTON      KS      67152
KIMBERLY HERNANDEZ                                                   25112 DANABIRCH                                                                        DANA POINT      CA      92629
KIMBERLY HOUCK                                                       3908 PLACITAS DRIVE                                                                    CAMERON PARK    CA      95682
KIMBERLY HUNT                                                        4504 S VASSAR RD                                                                       MULHALL         OK      73063-2712
                                                                                                                   9211 Lake Hefner
Kimberly J. Luther                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                  c/o Laminack, Pirtle & Martines,
Kimberly J. Luther                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Kimberly J. Luther                                                   3008 N. Eagle Lane                                                                     Oklahoma City   OK      73127
                                                                                                                   9211 Lake Hefner
Kimberly Keeton                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
Kimberly Keeton                   c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles     CA      90017
Kimberly Keeton                                                      2311 N Hartford St                                                                     Stillwater      OK      74075
KIMBERLY MORROW                                                      PO Box 3627                                                                            TULSA           OK      74101-3627
KIMBERLY PEMPIN                                                      7008 N. ROFF AVE                                                                       OKLAHOMA CITY   OK      73116
KIMBERLY S BARTON                                                    PO Box 1683                                                                            CLAREMORE       OK      74018
KIMBERLY SCHOONOVER                                                  4021 DRIFTWOOD CIR                                                                     YUKON           OK      73099-3258
KIMBERLY SHIPPY                                                      4358 MARKET ROAD                                                                       HOMEDALE        ID      83628
                                                                                                                   9211 Lake Hefner
Kimberly Stinson                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                  c/o Laminack, Pirtle & Martines,
Kimberly Stinson                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Kimberly Stinson                                                     3102 N. Kings Hwy                                                                      Cushing         OK      74023
KIMBERLY SUE CORBIN                                                  2400 COPPERCREEK CIR                                                                   PONCA CITY      OK      74604-2446
KIMBERLY THOMASON                                                    3151 N HWY 74 SERVICE RD                                                               CRESCENT        OK      73028
KIMBERLY VASSAR                                                      48450 S HWY 18                                                                         PAWNEE          OK      74058
KIMBERLY WILLIAMS                                                    5005 W 2ND AVE                                                                         STILLWATER      OK      74074-6890
KIMBLE RECYCLING & DISPOSAL INC                                      PO BOX 448                                                                             DOVER           OH      44622-0448
KIMCO ENERGY CORPORATION                                             18 E 5TH ST STE 3760                                                                   TULSA           OK      74103
KIMETHA WEST KOUZMANOFF                                              1055 S ESTES COURT                                                                     LAKEWOOD        CO      80226
KIMMY LEA BARTLETT                                                   12772 SOUTH 198TH EAST AVE                                                             BROKEN ARROW    OK      74014
KIMO OIL & GAS LLC                                                   PO BOX 888                                                                             Edmond          OK      73083
KINDER DOZER INC                                                     PO BOX 249                                                                             CARNEY          OK      74832-0249
KINDRA BRYAN BLECHER                                                 5223 CAREW ST                                                                          HOUSTON         TX      77096
KINDT MILLER                                                         1702 S WASHINGTON ST                                                                   WICHITA         KS      67211
KING & WOOD MALLESON                                                 600 BOURKE ST                                                                                                               AUSTRALIA
KING ENERGY LLC                                                      7025 N ROBINSON AVE                                                                    OKLAHOMA CITY   OK      73116-9044
KING FAMILY TRUST                                                    1396 RAYDEAN DR                                                                        GRANTS PASS     OR      97527
KING KENTON KIRCHNER 2008                                            7130 S LEWIS AVE STE 900                                                               TULSA           OK      74136
KING PROPERTIES INC                                                  PO BOX 10                                                                              BIXBY           OK      74008-0010
KING SHALE LLC                                                       PO Box 27227                                                                           HOUSTON         TX      77227
KINGERY DRILLING COMPANY                                             PO BOX 1588                                                                            ARDMORE         OK      73402
KINGFISHER COUNTY CLERK                                              101 S MAIN ST STE 3                                                                    KINGFISHER      OK      73750-3241
KINGS WORLDWIDE TRANSPORTATION                                       4801 NW 10TH ST                                                                        OKLAHOMA CITY   OK      73127
KINNAMON CLARK                                                       14601 INDEPENDENCE                                                                     PERRY           OK      73077
KINNICK PROPERTIES INC                                               5912 E 6TH AVE                                                                         STILLWATER      OK      74074
KINNUNEN SALES & RENTAL INC                                          707 E 6TH AVE                                                                          STILLWATER      OK      74074-3704
KINZIE FAMILY MINERAL REV TRST                                       4309 W 92ND ST                                                                         PERKINS         OK      74059-4249
                                                                                                                   9211 Lake Hefner
Kionna Peebles                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                  c/o Laminack, Pirtle & Martines,
Kionna Peebles                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Kionna Peebles                                                       355397 E. 840 Rd                                                                       Stroud          OK      74079


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KIP JOHNSON HODGE                                                       PO BOX 4681                                                                            BROWNSVILLE     TX    78523
KIP MAULDIN AND SANDRA KAY MAULDIN                                      6805 SW 201ST AVE                                                                      ALOHA           OR    97078
KIP MCGILLIARD                                                          701 TANGLEWOOD DR                                                                      RICHLAND        WA    99352
                                                                                                                      9211 Lake Hefner
Kip Neal                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                     c/o Laminack, Pirtle & Martines,
Kip Neal                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Kip Neal                                                                13812 E. 33rd St                                                                       Tulsa           OK    74134
KIRBY BERENDS                                                           RR 1 BOX 216                                                                           GAGE            OK    73834
KIRBY BROCK                                                             4101 S JARDOT RD                                                                       STILLWATER      OK    74074-7213
KIRBY ENGLISH                                                           3304 TIMBERLAKE DR                                                                     STILLWATER      OK    74075
KIRBY FARMS INC                                                         19731 COUNTY ROAD 990                                                                  LAMONT          OK    74643-4320
KIRBY HASKIN                                                            750998 S 3520 RD                                                                       CUSHING         OK    74023-5260
KIRBY JAMES BENTSEN ESTATE                                              25039 SAUSALITO DR                                                                     GALVESTON       TX    77554
KIRBY NICKELS                                                           2212 E 152ND ST                                                                        PERKINS         OK    74059-3571
KIRCHNER INVESTMENTS LLC                                                7130 S LEWIS AVE STE 900                                                               TULSA           OK    74136-5431
KIRK ALLEN                                                              3914 100TH ST CT NW                                                                    GIG HARBOR      WA    98332
KIRK ALLEN                                                              3894 COACH RD                                                                          KANSAS          IL    61933
KIRK ATWATER                                                            2885 GROVE LN                                                                          VENTURA         CA    93003
KIRK GRINDSTAFF                                                         803 N AMANDA LN                                                                        STILLWATER      OK    74075
KIRK HARDIN                                                             9820 N ROSE                                                                            GLENCOE         OK    74032
KIRK KIRKEGAARD TRUST                                                   8779 FULTON ST                                                                         INDIANOLA       IA    50125
KIRK LAIRD                                                              5027 S 72ND E AVE APT B                                                                TULSA           OK    74145
KIRK LEAH PALMER 1999 TR                                                715 AVE G                                                                              LEVELLAND       TX    79336
KIRK REED                                                               PO BOX 721918                                                                          NORMAN          OK    73070-8462
KIRKLAND & ELLIS LLP                                                    600 TRAVIS ST STE 3300                                                                 HOUSTON         TX    77002-2926
KIRKPATRICK BANK                                                        15 E 15TH ST                                                                           EDMOND          OK    73013-4302
KIRKPATRICK FOUNDATION                                                  PO BOX 258850                                                                          OKLAHOMA CITY   OK    73125
KIRKPATRICK OIL & GAS LLC                                               1001 W WILSHIRE BLVD STE 202                                                           OKLAHOMA CITY   OK    73116-7017
KIRKPATRICK OIL & GAS LLC                                               PO BOX 248885                                                                          OKLAHOMA CITY   OK    73124-8885
                                     c/o Rhodes Hieronymus Jones
Kirkpatrick Oil Company, Inc.        Tucker & Gable PLLC                Attn: Kerry R Lewis                           PO Box 21100                             Tulsa           OK    74121
Kirkpatrick Oil Company, Inc.                                           1001 W Wilshire Blvd                          Ste. 202                                 Oklahoma City   OK    73116
KIRKPATRICK ROYALTY COMPANY LLC                                         1001 WEST WILSHIRE BLVD                                                                OKLAHOMA CITY   OK    73116
KIRSTEN FITZPATRICK                                                     22247 BARBACOA DR                                                                      SAUGUS          CA    91350
KIRSTEN McGEHEE                                                         1206 B ST NW                                                                           ARDMORE         OK    73401
                                                                                                                      9211 Lake Hefner
Kirsten Mickelson                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                     c/o Laminack, Pirtle & Martines,
Kirsten Mickelson                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Kirsten Mickelson                                                       6717 Lilly Lane                                                                        Stillwater      OK    74074
KIRSTEN SHAUER                                                          5049 TERRAMAR WAY                                                                      OXNARD          CA    93035
KIRT FRYER                                                              PO BOX 327                                                                             BROKEN ARROW    OK    74013-0327
KIT OGI LLC                                                             12624 GRANDEZZE CIR                                                                    ESTERO          FL    33928
KIT THROGMORTON                                                         14000 N WESTERN AVE                                                                    EDMOND          OK    73013
KIWASH ELECTRIC COOPERATIVE LLC.                                        120 W 1st ST.                                                                          CORDELL         OK    73632
KIZE CONCEPTS INC                                                       5325 WISTERIA DR                                                                       OKLAHOMA CITY   OK    73142-1818
KJ SCHWANDT TRUST                                                       2114 MAPLE LEAF CIRCLE                                                                 ENID            OK    73703
KJJ OIL & GAS LLC                                                       136 CRYSTAL DR                                                                         INDIANA         PA    15701-9723
KKD ENDEAVORS LLC                                                       3117 ORLANDO RD                                                                        OKLAHOMA CITY   OK    73120
KL BARTON ENTERPRISES LLC                                               7912 E COMMERCIAL ST                                                                   STILLWATER      OK    74014
KLABZUBA BROTHERS LLC                                                   PO BOX 567                                                                             PRAGUE          OK    74864-0567
KLABZUBA EXPLORATION LLC                                                PO BOX 5815                                                                            EDMOND          OK    73083
KLABZUBA OIL & GAS A FAMILY LP                                          PO BOX 678482                                                                          DALLAS          TX    75267-8482
KLABZUBA ROYALTY COMPANY                                                PO BOX 567                                                                             PRAGUE          OK    74864-0567
KLASSEN-DUNCAN PROPERTIES LLC                                           PO Box 57147                                                                           OKLAHOMA CITY   OK    73157-7147
KLEINS CATERING SERVICES                                                14151 COUNTY ROAD 120                                                                  PERRY           OK    73077-9027
KLG Q-TIP MARITAL DEDUCTION TRUST                                       6712 COLUMBINE WAY                                                                     PLANO           TX    75093
KLIFE                                                                   8513 S DOUGLAS BLVD                                                                    GUTHRIE         OK    73044


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K-LIFE OKLAHOMA CITY                                                   3312 ROCK HOLLOW RD                                                              OKLAHOMA CITY      OK       73120
KLIN WINBURN TRUST AGREEMENT                                           ROUTE 2, BOX 47                                                                  SEILING            OK       73663
KLJ INC                                                                35651 STATE RTE 537                                                              GRAYSVILLE         OH       45734-7002
KLM PROPERTIES INC                                                     10728 S WINSTON                                                                  TULSA              OK       74137
KLOVELLE PETROLEUM CORP                                                8601 N GEORGIA AVENUE                                                            OKLAHOMA CITY      OK       73114
KLX ENERGY SERVICES LLC                                                28099 NETWORK PL                                                                 CHICAGO            IL       60673-1280
K-M LEASING LLC                                                        8815 FOREST RIDGE COURT                                                          SKIATOOK           OK       74070
KNABCO LLC                                                             621 N ROBINSON, SUITE 100                                                        OKLAHOMA CITY      OK       73102
KNIGHT OIL TOOLS                                                       PO BOX 52688                                                                     LAFAYETTE          LA       70505-2688
KNIGHT WATCH SYSTEMS LLC                                               PO BOX 12660                                                                     OKLAHOMA CITY      OK       73157-2660
Knight, Gregory                       c/o White Star Petroleum, LLC    301 NW 63rd St                                Ste 600                            Oklahoma City      OK       73116
KNOWCANDO LTD                                                          9 E 4TH ST STE 900                                                               TULSA              OK       74103-5115
KNOWLEDGELEADER                                                        2613 CAMINO RAMON                                                                SAN RAMON          CA       94583-4289
KNOX B HENDERSON JR TRUSTEE                                            4124 E 43RD ST                                                                   TULSA              OK       74135
KNOX RESOURCES INC                                                     6302 Shadow Mountain Drive                                                       Austin             TX       78731
KOBY FRAC TANKS LLC                                                    PO BOX 150                                                                       CUSHING            OK       74023
Koby Oil Company LLC                  c/o Larry Hays                   5319 W 19th Ave                                                                  Stillwater         OK       74074

Koby Oil Company LLC                  c/o Levinson, Smith & Huffman PC Attn: Terence P Brennan                       1743 E 71st St                     Tulsa              OK       74136

Koby Oil Company LLC                  c/o Levinson, Smith & Huffman PC Attn: Trevor R. Henson                        1743 E 71st St                     Tulsa              OK       74136
KOBY OIL TOOLS LLC                                                     PO BOX 1945                                                                      OKLAHOMA CITY      OK       73101
KOBY OILFIELD SERVICE LLC                                              PO BOX 1945                                                                      OKLAHOMA CITY      OK       73101
KOCH EXPLORATION COMPANY LLC                                           PO BOX 2219                                                                      WICHITA            KS       67201
KODA OPERATING LLC                                                     4870 S LEWIS AVE, STE 240                                                        TULSA              OK       74105
KODA SERVICES INC                                                      PO BOX 66                                                                        WOODWARD           OK       73802
KODIAK ENERGY SERVICES LLC                                             PO BOX 52                                                                        SHAWNEE            OK       74802-0052
KODIAK PRODUCTION CO                                                   505 W MAIN                                                                       YUKON              OK       73099
KODY FOLSOM                           c/o White Star Petroleum, LLC    301 NW 63rd St                                Ste 600                            Oklahoma City      OK       73116
KOESTER PROPERTIES LLC                                                 10801 WINERY RD                                                                  WADESVILLE         IN       47638
KOETTER ALARM & FIRE EQUIPMENT                                         4508 DEER CREEK CT                                                               YUKON              OK       73099
KOKH FOX 25                           ATTN TOM KILGALLON                                                                                                OKLAHOMA CITY      OK       73111-8402
KOLEEN NEUFELD                                                         5590 NE 157TH TER                                                                WILLISTON          FL       32696-6437
KONA ENERGY INVESTMENTS                                                12900 PRESTON RD SUITE 1115                                                      DALLAS             TX       75230
KONA RESOURCES LLC                                                     PO BOX 7973                                                                      EDMOND             OK       73083-7973
KONETA RENNER                                                          6611 NW 33RD ST                                                                  BETHANY            OK       73008
KONG CHEMICALS LLC                                                     11184 HUNT LN                                                                    GUTHRIE            OK       73044
KOOMAN HEETER & GULNAC PC                                              MARIANNE PROFESSIONAL CENTER                                                     CLARION            PA       16214-0700
KOONS REVOCABLE TRUST                                                  6442 YALE CIR                                                                    HUNTINGTON BEACH   CA       92647-2558
KOPF CONSTRUCTION INC.                                                 Rt 1 Box 34                                                                      Longdale           OK       73755
KORETA CASEY                                                           PO BOX 255                                                                       STILLWATER         OK       74076
KORIE McALISTER                                                        106 S 10TH STREET                                                                PERRY              OK       73077
KORY COOK                                                              16205 ROYAL CREST LANE                                                           EDMOND             OK       73013
KOY WHITACRE                                                           35651 SR 537                                                                     GRAYSVILLE         OH       45734-7002
KP WELDING                                                             1202 N 12th ST                                                                   ENID               OK       73701
KPMG LLP                                                               DEPT 0754                                                                        DALLAS             TX       75312-0754
KRAMS OIL & GAS LLC                                                    49476 TWP 56                                                                     LEWISVILLE         OH       43754
KRAYBILL HOMES INC                                                     424 WESTPARK CT                                                                  STILLWATER         OK       74074-1554
KRENGER OIL & GAS LLC                                                  1601 E 19TH ST                                                                   EDMOND             OK       73013-6620
KREPPS LIVING TRUST                                                    2101 CRESTED BUTTE ST                                                            GUTHRIE            OK       73044-3509
KRIDLER REVOCABLE TRUST                                                PO BOX 20769                                                                     OKLAHOMA CITY      OK       73156

KRIPALANI REV LIVING TR DTD 7-15-20                                    5900 SOUTH LAKE FOREST DR STE 300                                                MCKINNEY           TX       75070
KRIS L KINZIE 1993 HERITAGE HILL RE                                    PO BOX 350                                                                       CUSHING            OK       74023
KRIS SCHEDLER                                                          1212 COBBLESTONE CT                                                              SAVANNAH           TX       78227
KRISHNA FAMILY LLC                                                     19109 SADDLE RIVER DR                                                            EDMOND             OK       73012-4123
KRISTA DAWN BRIDGMON                                                   7895 CAMPGROUND DRIVE                                                            FOUNTAIN           CO       80817
                                                                                                                     9211 Lake Hefner
Krista Haynes                         c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway            Ste. 104        Oklahoma City      OK       73120


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Krista Haynes                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Krista Haynes                                                            916 NW 104th St.                                                                       Oklahoma City      OK      73114
KRISTA L REED CO TRUSTEE                                                 6514 NW 97TH ST                                                                        OKLAHOMA CITY      OK      73162-7409
KRISTA M JONES 1998 REV TR DTD 3-27                                      8150 BALD EAGLE                                                                        JONES              OK      73049
KRISTA REED                                                              6514 NW 97TH ST                                                                        OKLAHOMA CITY      OK      73162
                                                                                                                       9211 Lake Hefner
Krista Roberts                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Krista Roberts                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Krista Roberts                                                           5004 NW 19th Terr                                                                      Oklahoma City      OK      73127
KRISTEN ARANDA                                                           7623 PIONEER TRL NE                                                                    ALBUQUERQUE        NM      87109-5186
KRISTEN BUSCH                                                            5 ALEXIS CT                                                                            OKLAHOMA CITY      OK      73139-7322
                                                                                                                       9211 Lake Hefner
Kristen Cooper                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kristen Cooper                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Kristen Cooper                                                           1501 N Battle Ridge Rd                                                                 Cushing            OK      74023
KRISTEN D RATTO                                                          13500 MAHOGANY DR                                                                      RENO               NV      89511
KRISTEN HAYES                                                            26700 CR 110                                                                           PERRY              OK      73077
KRISTEN QUEEN                                                            4606 PINTO DR                                                                          STILLWATER         OK      74074
KRISTEN TERRY                                                            4829 MAGNA CARTA BOULEVARD                                                             GRAND PRAIRIE      TX      75052
KRISTI ABNEY                                                             4639 E 57TH ST                                                                         TULSA              OK      74135
KRISTI ANNE JENSEN                                                       25032 E PUT1579 DR                                                                     ELMORE CITY        OK      73433
KRISTI COOPER                                                            3300 ELMO WAY                                                                          OKLAHOMA CITY      OK      73160-2380
KRISTI CYMES                                                             9430 INDIANS ST                                                                        ARVADA             CO      80007-8239
KRISTI LUEDKE                                                            18616 DERBY HILL LN                                                                    PFLUGERVILLE       TX      78660-3609
KRISTI MCCLOUD                                                           15394 S MAPLE LANE RD                                                                  OREGON CITY        OR      97045
KRISTI QUINTON                                                           13145 KEVIN LN                                                                         SAPULPA            OK      74066
KRISTI TATE                                                              341162 E. 750 ROAD                                                                     AGRA               OK      74824
KRISTI TEBOW                                                             3826 ANNABELLE LN                                                                      ENID               OK      73703
KRISTI THRIFT                                                            5015 W 3RD AVE                                                                         STILLWATER         OK      74074-6796
KRISTIE BAULER                                                           5013 WOODROW RD                                                                        LUBBOCK            TX      79424
KRISTIE RAINS JENSEN                                                     25032 E PVT 1579 DR                                                                    ELMORE CITY        OK      73433-9677
KRISTIE SUTTON WEST                                                      PO BOX 12                                                                              PLEASANTON         TX      78064
KRISTIE THOMAS                                                           27314 E 131ST ST                                                                       COWETA             OK      74429
KRISTIN FEWEL                                                            1614 RIDGE CT                                                                          WAUWATOSA          WI      53213-2536
KRISTIN K POTTER                                                         11115 HUNGATE RD                                                                       COLORADO SPRINGS   CO      80908
KRISTINA SMITH                                                           1620 KNOLL RIDGE CIR                                                                   CORINTH            TX      76210-1906
KRISTINE HOLTRY                                                          2008 SMITH AVE                                                                         NAMPA              ID      83651-7546
KRISTINE KOHLES STOVER LVNG TRST                                         PO BOX 258850                                                                          OKLAHOMA CITY      OK      73125
KRISTINE POWELL                                                          4 SAN FRANCISCO RD UNIT 2247                                                           RANCHOS DE TAOS    NM      87557-4090
KRISTINE PUENTE                                                          3599B S 1425 E                                                                         WENDELL            ID      83355
KRISTOPHER HUDSPETH                                                      4010 FINLEY RD                                                                         IRVING             TX      75062-2913
KRISTOPHER MCKENNEY                                                      1040 SW 17TH ST                                                                        FT LAUDERDALE      FL      33315
KRISTY BLACK                                                             4055 HOGAN DRIVE APT 1302                                                              TYLER              TX      75709
KRISTY MILLER                                                            10705 S JAMES CT                                                                       JENKS              OK      74037-1619
                                                                                                                       9211 Lake Hefner
Kristy Jaynes                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Kristy Jaynes                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Kristy Jaynes                                                            8831 154th St                                                                          Noble              OK      73068
Kristy Jaynes                                                            8850 Bounbonais Creek Rd                                                               Lexington          OK      73051
KRISTYE E COOPER                                                         14924 S ROSE RD                                                                        PERKINS            OK      74059
KRISTYE GARRETT MCKINNEY                                                 11074 S 52ND PLACE                                                                     SAPULPA            OK      74066
KROLL ENERGY LLC                                                         10467 STATE ROUTE 260                                                                  NEW MATAMORAS      OH      45767-5107
KRS ROYALTIES LP                                                         113 W 8TH                                                                              AMARILLO           TX      79101
KRUEGER FAMILY TRUST                                                     PO BOX 863                                                                             STILLWATER         OK      74076-0863
KRXO                                  MEMBER OF TYLER MEDIA                                                                                                     OKLAHOMA CITY      OK      73129-3217


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KRYSSA ALLEN                                                             314 EAST PENNSYLVANIA ST                                                                SHELBYVILLE     IN     46176
KRYSTAL BUTLER                                                           800455 S HWY 18                                                                         TRYON           OK     74875
                                                                                                                       9211 Lake Hefner
Krystal Thornbrue                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Krystal Thornbrue                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Krystal Thornbrue                                                        9961 S Bryant                                                                           Guthrie         OK    73034
                                                                                                                       9211 Lake Hefner
Krystie Simon                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Krystie Simon                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Krystie Simon                                                            1101 S Doolin Lane                                                                      Stillwater      OK    74074
KSS ENERGY LLC                                                           PO BOX 892916                                                                           OKLAHOMA CITY   OK    73189-2916
KSW OILFIELD RENTALS LLC                                                 PO BOX 731972                                                                           DALLAS          TX    75373-1972
KTHEADBANDZ                                                              5339 S. TOLEDO AVE                                                                      TULSA           OK    74135
KUDU PUMPS                                                               PO BOX 13039                                                                            BAKERSFIELD     CA    93389
KUDZU OIL PROPERTIES LLC                                                 300 CONCOURSE BLVD STE 101                                                              RIDGELAND       MS    39157
KUEHLING & SEXSON PC                                                     6305 WATERFORD BLVDSTE 115                                                              OKLAHOMA CITY   OK    73118
                                                                                                                       9211 Lake Hefner
Kurenia Barnes                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Kurenia Barnes                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Kurenia Barnes                                                           5409 NW 111th St                                                                        Oklahoma City   OK    73162
KURT BOLAY                                                               14050 JOHN WAYNE                                                                        PERRY           OK    73077
KURT C HUETTI                                                            7325 FLOWER ST                                                                          ARVADA          CO    80005
KURT J & LORANDA L BAKER JT                                              14124 E 56TH STREET                                                                     RIPLEY          OK    74062-6524
KURT R BUCKLE                                                            8001 WESTLORNE COURT                                                                    BAKERSFIELD     CA    93309
KURT ROBINSON                                                            2732 MICHAEL RD                                                                         MUSKOGEE        OK    74403-1833

KURT S GERKEN                                                            5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX    75070
KURT SCHEDLER                                                            1205 OLD OAK TRAIL                                                                      FLOWER MOUND    TX    75028
KURT T NELSON                                                            PO BOX 1587                                                                             DENVER          CO    80201
KURTIS AMEND                                                             2717 FILLMORE AVE NW                                                                    SALEM           OR    97304
KURTIS MASON                                                             5027 W 3RD AVE                                                                          STILLWATER      OK    74074-6796
KURTIS SHAW                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City   OK    73116
KUTENAI EXPLORATION CO LLC                                               PO BOX 18637                                                                            OKLAHOMA CITY   OK    73154
Kuwasha Jackson                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX    75070
Kuwasha Jackson                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK    74104
Kuwasha Jackson                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY    10017
Kuwasha Jackson                                                          1815 N. Xenophon Ave.                                                                   Tulsa           OK    74127

KUYKENDALL WELDING & BACKHOE SERVIC                                      8414 W GRANDSTAFF                                                                       RIPLEY          OK    74062
KVR ENERGY LLC                                                           321 S. FRANKFORT AVENUE                                                                 TULSA           OK    74120
KWANG DUDEK                                                              608 DUNCAN AVE                                                                          KILLEEN         TX    76541
KWICK RENTALS LLC                                                        PO BOX 2111                                                                             WOODWARD        OK    73802-2111
                                                                                                                       9211 Lake Hefner
Kylan Cope                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Kylan Cope                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Kylan Cope                                                               8825 S. Quebec Ave                                                                      Tulsa           OK    74137

KYLE ANDREW NETTLEINGHAM AND ANN TH                                      2203 EAST WILL RODGERS DRIVE                                                            STILLWATER      OK    74075
KYLE BELLMON                                                             2017 HIDDEN CREEK CT.                                                                   EDMOND          OK    73034
KYLE CHOATE                                                              PO BOX 597                                                                              HENNESSEY       OK    73742
KYLE DAVID COMPTON                                                       2513 SW 79TH STREET                                                                     OKLAHOMA CITY   OK    73159-4719
KYLE DUNHAM                                                              35 Canyon View Drive                                                                    Sheridan        WY    82801
KYLE ELAINE MICHELS                                                      7213 VERSAILLES                                                                         AMARILLO        TX    79121
KYLE HALEY                                                               23850 COUNTY ROAD 80                                                                    PERRY           OK    73077
KYLE HERRMANN                                                            345324 E 800 ROAD                                                                       AGRA            OK    74824


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KYLE HUMAN                                                            202 EAST 100 S                                                                     JEROME            ID       83338
KYLE JAY & NANCY D HOHMANN                                            4009 SHENANDOAH                                                                    ENID              OK       73703
KYLE JORGENSEN                                                        2595 N 140 E UNIT 304                                                              PROVO             UT       84604-5642
KYLE LASLEY                                                           717 KANSAS ST                                                                      SPRINGFIELD       CO       81073-1538
KYLE MATHEWS                                                          5508 DENNY AVE                                                                     NORTH HOLLYWOOD   CA       91601
KYLE MICHAELS                                                         5019 EVERETT AVE                                                                   AMARILLO          TX       79106
KYLE MICHELS                                                          7213 VERSAILLES DR                                                                 AMARILLO          TX       79121
KYLE THOMAS                                                           2932 NW 122ND STREET, SUITE F                                                      OKLAHOMA CITY     OK       73120
KYLE VANCE KIRCHNER 2008 IRREV TR                                     7130 S LEWIS AVE STE 600                                                           TULSA             OK       74136
KYLE WHEATLEY                         c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                                Stillwater        OK       74074
KYM LEE ROBERTS                                                       1327 LAING STREET                                                                  OSAGE CITY        KS       66523
KYMBERLY BEDNAR                                                       PO BOX 1                                                                           AVALON            CA       90704
KYMERA SYSTEMS INC                                                    4514 47 AVE                                                                        LEDUC             AB       T9E 5S9      CANADA

L & J MINERALS L.P                                                    3733 WESTHEIMER ROAD SUITE 1-1053                                                  HOUSTON           TX       77027
L & K IRREVOCABLE TRUST                                               1404 CHOCTAW LANE                                                                  EDMOND            OK       73013
L & M OIL INC                                                         PO BOX 6653                                                                        TYLER             TX       75711-6653
L ASHBY                                                               4540 BANNING DR                                                                    HOUSTON           TX       77027
L B FOSTER COMPANY                                                    415 HOLIDAY DRIVE #1                                                               PITTSBURGH        PA       15220
L BUSSARD                                                             RT 2 BOX 370                                                                       GUTHRIE           OK       73044

L D SHANNON DEC AND YANDELL D SHANN                                   5854 S HUDSON PL                                                                   TULSA             OK       74135-7646
L DEAN SCHWARTZ APPRAISALS                                            714 13TH AVE                                                                       VIENNA            WV       26105-2128
L E POLLARD MINERAL MANAGEMENT LLC                                    12335 N 2920 RD                                                                    DOVER             OK       73734
L JACKSON CONSTRUCTION SERVICES & R                                   1499 S SANDY LANE                                                                  CHANDLER          OK       74834
L JANE MACKEY                                                         1089 SHEPARD HILLS ROAD                                                            SULPHUR           OK       73086
L L BARRETT                                                           1000 EAST 10TH STREET                                                              CLAREMORE         OK       74017
L M ALEXANDER TRUST DECEASED                                          PO BOX 250969                                                                      PLANO             TX       75025
L MICHAEL COUVILLION                                                  152B YORK STREET APT B                                                             PORTLAND          ME       04101
L N TAUBMAN REVOCABLE TRUST                                           PO BOX 1588                                                                        TULSA             OK       74101-1588
L SAMMONS                                                             1901 WARD                                                                          MIDLAND           TX       79705
L SUE HEMBREE REV INTER VIVOS TR DT                                   6743 E 66 PL                                                                       TULSA             OK       74133
L THOMAS DECEASED                                                     PO BOX 1366                                                                        FAYETTEVILLE      AR       72702-1366
L WILSON                                                              2413 MADISON AVE                                                                   CODY              WY       82414-5431
L WINKELMAN                                                           2219 69TH AVE                                                                      GREELEY           CO       80634-7919
L YORK                                                                1302 S WESTWOOD LN                                                                 STILLWATER        OK       74074-1119
L&K FARMS INC                                                         PO BOX 413                                                                         OKARCHE           OK       73762
L&O PUMP & SUPPLY INC                                                 PO BOX 94933                                                                       OKLAHOMA CITY     OK       73143-4933
L6NRG LLC                                                             32 E BABCOCK ST. PO BOX 381                                                        BOZEMAN           MT       59771
LA DONNA WEBER                                                        3684 ANTELOPE DRIVE                                                                ENID              OK       73701-7702
LA KOUNS                                                              PO BOX 245                                                                         TALOGA            OK       73667
LA PALOMA INVESTMENT COMPANY LLC                                      2207 DOWNS AVE                                                                     WOODWARD          OK       73801
LACERTE SOFTWARE                                                      PO BOX 52103                                                                       PHOENIX           AZ       85072-2103
LACEY PFANNENSTIEL                                                    2717 S HEMLOCK                                                                     BROKEN ARROW      OK       74012
LACEY RENEE GANT                                                      10566 COUNTESS DRIVE                                                               DALLAS            TX       75229
LACEY S BUTLER JR TRUST DATED 6-30-                                   1515 KINGSRIDGE DRIVE APT 507                                                      OKLAHOMA CITY     OK       73170
LACHENMAYR OIL LLC                                                    10120 E SHADYBROOK                                                                 WICHITA           KS       67206
                                                                                                                    9211 Lake Hefner
Lacheverjuan Bennett                  c/o Atkins & Markoff            Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104        Oklahoma City     OK       73120
Lacheverjuan Bennett                  c/o Girardi Keese               Attn: Thomas V. Girardi                       1126 Wilshire Blvd                   Los Angeles       CA       90017
Lacheverjuan Bennett                                                  304 South 2nd St                                                                   Guthrie           OK       73044
LACI BRUEGGEN                                                         604 HOEHNER PL                                                                     OKARCHE           OK       73762-8816
LACINDA VERBOS                                                        PO BOX 2321                                                                        SAPULPA           OK       74067-2321
LACQUEMENT LLC                                                        PO BOX 750                                                                         WEWOKA            OK       74884-0750
LADAR O&G LLC                                                         30491 STATE ROUTE 565                                                              LOWER SALEM       OH       45745
LADD LLC                                                              PO BOX 716                                                                         EL RENO           OK       73036-0716
LADEE HOMM                                                            860189 S 3420 RD                                                                   CHANDLER          OK       74834-1455
LADELL BLAIR                                                          18900 DEER RIDGE                                                                   STILLWATER        OK       74075
LADEMA WEATHERS                                                       9110 SOUTH 46TH WEST AVE                                                           TULSA             OK       74132


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LADONNA BOYLE                                                            2585 E NELSON DR                                                                        SAFFORD         AZ      85546-9504
LADONNA DOBBS                                                            6301 94TH STREET                                                                        NOBLE           OK      73068
LADONNA JEAN LITTELL                                                     2242 N BROADWAY STREET                                                                  CHECOTAH        OK      74426
LADONNA KAY CLARK                                                        6101 WEST 4TH PLACE                                                                     TULSA           OK      74127
LADONNA KAY TAYLOR                                                       6903 W 9TH STREET                                                                       CUSHING         OK      74023
LADONNA KELLY                                                            203 CROSBY ROAD                                                                         SEARCY          AR      72143
LADONNA SWEATT                                                           2430 WOODMOOR DR                                                                        ENID            OK      73703
                                                                                                                       9211 Lake Hefner
LaDonna Lowrey                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
LaDonna Lowrey                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
LaDonna Lowrey                                                           709 N. Creek Drive                                                                      Edmond          OK      73034
                                                                                                                       9211 Lake Hefner
LaDonna Seay                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
LaDonna Seay                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
LaDonna Seay                                                             1205 NE 36th St                                                                         Oklahoma City   OK      73111
LADWANA URTON                                                            9 EAST JANICE APT 203                                                                   YUKON           OK      73099
LAEL BURTON                                                              130 PARKVIEW PL NW                                                                      SHALLOTTE       NC      28470-4493
LAEL FLOYD CRADDOCK                                                      102 N GRANDVIEW ST                                                                      STILLWATER      OK      74075-7909
LAEL FRANCES KOTLAN INTERVIVOS TR                                        114 CASSANDRA DR                                                                        FORNEY          TX      75126
LAFFERTY CHIPPING INC                                                    5075 GUERNSEY VALLEY RD                                                                 KIMBOLTON       OH      43749-9523
LAFFERTY REVOCABLE LIVING TRUST                                          1960 BENJAMIN RD                                                                        MALABAR         FL      32950-3826
LAFFERTY REVOCABLE LIVING TRUST DTD                                      1960 BENJAMIN RD                                                                        MALABAR         FL      32950
LAFON ENERGY ROYALTIES, LLC                                              49 LOGAN STREET                                                                         DENVER          CO      80203
LAGAR LLC                                                                39085 SR 26                                                                             GRAYSVILLE      OH      45734
LAHONDA MEWHERTER                                                        4026 N 2760 RD                                                                          HENNESSEY       OK      73742
Lair, Brent                           c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater      OK      74074
LAKEVIEW LOAN SERVICING LLC                                              80 HOLTZ DR                                                                             CHEEKTOWAGA     NY      14225
LAKEWIND LLC                                                             PO BOX 1765                                                                             ENID            OK      73702
LAKEWIND LLC DBA DRIFTWOOD LLC                                           PO BOX 1765                                                                             ENID            OK      73702
LAKEWOOD TRANSPORTATION LLC                                              PO BOX 1480                                                                             WOODWARD        OK      73802
LAMAR LAPP                                                               22143 MCCOY RD                                                                          QUAKER CITY     OH      43773-9706

LAMBERT CONSTRUCTION CO INC AKA LAM                                      PO Box 1868                                                                             STILLWATER      OK      74076
Lambert, Cory                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City   OK      73116
                                                                         11912 N PENNSYLVANIA AVENUE STE D-
LAMINERALS LLC C-O LARRY A MORGAN                                        1                                                                                       OKLAHOMA CITY   OK      73120
Lamle, Kevin                          c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater      OK      74074
LAMMY WEISMAN                                                            532 NW 41ST ST                                                                          OKLAHOMA CITY   OK      73118
Lamprecht, Nelson                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City   OK      73116
LANA DRAKE                                                               PO BOX 8532                                                                             LUMBERTON       TX      77657
LANA MARTINEZ                                                            1211 W KIOWA AVE                                                                        HOBBS           NM      88240-1149
LANA OARD                                                                PO BOX 806                                                                              SALLISAW        OK      74955-0806
LANA RENEE CUNNINGHAM                                                    14116 SAVANNAH AVE                                                                      YUKON           OK      73099
LANA RUSSELL                                                             9500 N SOONER RD                                                                        GUTHRIE         OK      73044
LANA SHARP                                                               3244 S 427                                                                              PRYOR           OK      74361-8837
LANA STOPPEL                                                             5426 ESPANA CT                                                                          DENVER          CO      80249
LANA TRILLO                                                              2707 GLACIER COURT                                                                      WICHITA         KS      67215
Lanay Creech                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Lanay Creech                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Lanay Creech                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Lanay Creech                                                             140905 E Noble Rd                                                                       Glencoe         OK      74032

LANCE AND MONA JEAN STEPHENSON REV                                       ROUTE 1 BOX 60                                                                          CAMARGO         OK      73835
                                                                                                                       9211 Lake Hefner
Lance Bradshaw                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Lance Bradshaw                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006


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Lance Bradshaw                                                           4533 E. 107th St                                                                       Tulsa           OK      74137
LANCE CHARLES                                                            2914 S COUNTRY CLUB RD                                                                 STILLWATER      OK      74074-1356
LANCE EVANS                                                              1825 THOMAS PL                                                                         FT WORTH        TX      76107
LANCE FORTNEY                                                            16590 JOHN WAYNE                                                                       PERRY           OK      73077
LANCE GIBBONS                                                            436 NW 164TH ST                                                                        EDMOND          OK      73013-2028
LANCE HUTSON                                                             16134 COUNTY STREET 2740                                                               MINCO           OK      73059-9716
LANCE LEACH                                                              2531 S HICKORY AVE                                                                     BROKEN ARROW    OK      74102
LANCE LEBER                                                              930 BELLFLOWER ST                                                                      LIVERMORE       CA      94551
LANCE SWANN                                                              225 S OAKDALE DR                                                                       STILLWATER      OK      74074-6888
                                                                                                                       9211 Lake Hefner
Lance Bradley                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Lance Bradley                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Lance Bradley                                                            356478 Blackjack Dr                                                                    Prague          OK      74864
                                                                                                                       9211 Lake Hefner
Lance Rooms                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Lance Rooms                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Lance Rooms                                                              6320 Futurity Dr                                                                       Harrah          OK      73045
LANCER MINERALS LTD                                                      PO BOX 1240                                                                            GRAHAM          TX      76450

LAND 4 ENERGY GROUP LLC                                                  1113 MURFREESBORO RD STE 106-186                                                       FRANKLIN        TN      37064
LAND INFORMATION SERVICES LLC                                            1114 HUNTINGTON AVE                                                                    OKLAHOMA CITY   OK      73116
LAND OIL COMPANY                                                         202 W LILLIE BLVD                                                                      MADILL          OK      73446-1232
LAND RUN FARMERS COOPERATIVE                                             306 E EUCLID                                                                           WAUKOMIS        OK      73773
LAND RUN UNITED COUNTRY REALTY                                           120 N PERKINS RD                                                                       STILLWATER      OK      74075
LAND SERVICES INC                                                        PO BOX 1299                                                                            BLANCHARD       OK      73010-1299
LANDAUER INC                                                             PO BOX 809051                                                                          CHICAGO         IL      60680-9051

LANDER FAMILY MINERAL TRUST FARMERS                                      LOCK BOX 3480                                                                          OMAHA           NE      68103-0480
LANDIS TREKELL LIFE EST RMDR                                             PO BOX 422                                                                             NEW BOSTON      TX      75570-0422
Landmark American Insurance Company                                      945 East Paces Ferry Road                     Suite 1800                               Atlanta         GA      30326-1160
LANDMARK ENERGY SUPPLY INC                                               1136 CAMBRIDGE DR                                                                      YUKON           OK      73099-3329
LANDMARK GRAPHICS CORP                                                   PO BOX 301341                                                                          DALLAS          TX      75303
Landreth, Jamie                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater      OK      74074
LANE D MCPHAIL                                                           12451 W COUNTY ROAD 75                                                                 CRESCENT        OK      73028-3037
LANE FINANCIAL INC                                                       12501 DUTCH FOREST PL                                                                  EDMOND          OK      73013
LANE HOMES LLC                                                           3221 FOX LEDGE DR                                                                      STILLWATER      OK      74074-1721
LANE WITT                                                                665 W CR 60                                                                            ORLANDO         OK      73073
LANE'S MOTOR FREIGHT LINES INC                                           PO BOX 621                                                                             WOODWARD        OK      73802-0621
LANG FAMILY REAL PROPERTY TR                                             917 EAST ROBERTSON RD                                                                  ENID            OK      73701
LANNY SHIPPY                                                             4358 MARKET RD                                                                         HOMEDALE        ID      83628
LANROY INC                                                               PO BOX 3405                                                                            TULSA           OK      74101
LAN-YING SUN                                                             3931 COASTAL BREEZE DR                                                                 KISSIMMEE       FL      34744
LARA MOORE                                                               12826 DOE LN                                                                           DARNESTOWN      MD      20878-6105
                                                                                                                       9211 Lake Hefner
Laramie Townes                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Laramie Townes                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Laramie Townes                                                           5804 SE 87th St                                                                        Oklahoma City   OK      73135
LARAYS OK LLC                                                            13791 SHADOW RIDGE DR                                                                  CHINO HILLS     CA      91709-4419
LARCHMONT RESOURCES LLC                                                  717 TEXAS AVENUE SUITE 3100                                                            HOUSTON         TX      77002
LAREN AND DIANA FIELD TRUST                                              8019 S UNION                                                                           STILLWATER      OK      74074-8426
LARESA FOWLER                                                            7701 FM 1690                                                                           COPPERAS COVE   TX      76522-7040
LARGO INVESTMENTS LLC                                                    908 NW 71ST ST                                                                         OKLAHOMA CITY   OK      73116
                                                                                                                       9211 Lake Hefner
LaRhonda Johnson                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
LaRhonda Johnson                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006


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LaRhonda Johnson                                                         9227 NE 63rd St                                                                        Spencer         OK      73084
LARIAT SERVICES INC                                                      123 ROBERT S KERR AVE                                                                  OKLAHOMA CITY   OK      99999
LARIS LLC                                                                PO BOX 3621                                                                            EDMOND          OK      73083-3621
LARISA LOUISE CASS RUSSO                                                 6178 S JERICHO WAY                                                                     CENTENNIAL      CO      80016
LARKSPUR LAND GROUP LLC                                                  2400 ANSYS DR STE 102                                                                  CANONSBURG      PA      15317-0403
LAROCHE PATROLEUM CONSULTANTS LTD                                        2435 N CENTRAL EXPY STE 1500                                                           RICHARDSON      TX      75080-2752
LARONE SIEMSEN                        c/o White Star Petroleum, LLC      510 S Main St                                                                          Leedey          OK      73654
LARREN SNYDER                                                            2022 S COUNTY ROAD 1120                                                                MIDLAND         TX      79706-4901
LARRIE G PARISH AND VONA L                                               PO BOX 1492                                                                            CUSHING         OK      74023
LARRIE RICE                                                              6 HILLCREST ST                                                                         PERRY           OK      73077
LARRIE VAVERKA                                                           PO BOX 851091                                                                          YUKON           OK      73085
LARRY & MARGARET TREKELL HW JTS LIF                                      506 EAST PLANTERS ST                                                                   SAN AUGUSTINE   TX      75972
LARRY & PAMELA S WILLIAMS REV LT                                         3637 S TRENTON AVE                                                                     TULSA           OK      74105
LARRY ADAIR                                                              716 W 32ND AVE                                                                         STILLWATER      OK      74074
LARRY ALLISON                                                            3701 DANA DR                                                                           ENID            OK      73703-2907
LARRY AND AUDREY JANTZEN JT                                              2598 HWY. 58                                                                           Ringwood        OK      73768
LARRY AND CAROLYN LONGAN                                                 812 MAPLE ST                                                                           PERRY           OK      73077-2227
LARRY AXTELL                                                             2790 NUEVO CT                                                                          MOAB            UT      84532
LARRY BARNARD                                                            PO BOX 850221                                                                          YUKON           OK      73085-0221
LARRY BENNETT                                                            3814 RAINTREE AVE                                                                      HUDSONVILLE     MI      49426

LARRY BILBY                                                              141 OLD ORANGE PARK ROAD, APT #215                                                     ORANGE PARK     FL      32073
LARRY BLAKENEY                                                           9624 FORBES AVE                                                                        NORTH HILLS     CA      91343
LARRY BOB BRANNON                                                        16419 S IRVINGTON AVE                                                                  BIXBY           OK      74008
LARRY BOND                                                               3501 FRENCH PARK DRIVE STE G                                                           EDMOND          OK      73034
LARRY BROWN & DANIELLE BROWN                                             PO BOX 1581                                                                            ARDMORE         OK      73402
LARRY BUFFINGTON                                                         1205 KAW ST                                                                            PERRY           OK      73077
LARRY CALKINS                                                            1221 NE 27TH STREET                                                                    MOORE           OK      73160
LARRY CHANDLER                                                           25810 E EUCLID DR                                                                      AURORA          CO      80016-2455
LARRY COBB                                                               1619 N MILLER ST                                                                       SANTA MARIA     CA      93454-1917
LARRY CONDLEY                                                            PO BOX 640                                                                             SPERRY          OK      74073-0640
LARRY COSHOW                                                             2612 NW 176TH STREET                                                                   EDMOND          OK      73003-8931
LARRY CRAMTON                                                            1819 W. 44TH AVE.                                                                      STILLWATER      OK      74074
LARRY D & CAROLYN LONGAN                                                 812 MAPLE STREET                                                                       PERRY           OK      73077

LARRY D MOORE                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
LARRY D PATRICK INC                                                      PO BOX 722047                                                                          NORMAN          OK      73070
                                                                                                                       9211 Lake Hefner
Larry D. Moore                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Larry D. Moore                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Larry D. Moore                                                           4410 Woodland Dr                                                                       Oklahoma City   OK      73105
LARRY DALE MYRICK                                                        355313 E 760 RD                                                                        CUSHING         OK      74023-6608
LARRY DALE OWSLEY                                                        3318 E DOUGLAS AVE                                                                     VISALIA         CA      93292
LARRY DEAN TIPTON                                                        PO Box 1034                                                                            STILLWATER      OK      74076
LARRY DEAN TRIPLETT JR                                                   11227 VALLE VISTA RD                                                                   LAKESIDE        CA      92040
LARRY DRY                                                                10905 EAST 74TH                                                                        RIPLEY          OK      74062-6224

LARRY DUANE SAMS & PHYLLIS ANN SAMS                                      3232 W CHARLESTON CT                                                                   STILLWATER      OK      74074
LARRY DUDLEY                                                             PO BOX 1174                                                                            GRAHAM          TX      76450
LARRY ECKBLAD                                                            13496 W ILIFF AVE                                                                      LAKEWOOD        CO      80228
LARRY ESLINGER                                                           4700 SHERMAN LAKE DR                                                                   STILLWATER      OK      74074-9500
LARRY EUBANKS                                                            204 STEWART BEND CT UNIT B                                                             AZLE            TX      76020
LARRY EUGENE BISWELL                                                     17951 LAKE MDWS                                                                        STILLWATER      OK      74075-0818
LARRY F & CAROLYN M DOWNEY JT                                            1700 WOODHILL RD                                                                       EDMOND          OK      73025-2924
LARRY FIPPS                           c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater      OK      74074
LARRY FISHER                                                             12201 MERIT DR #1000                                                                   DALLAS          TX      75251
LARRY FLOTT                                                              3502 ROLLING TERRACE DR                                                                SPRING          TX      77388
LARRY FOCHT                                                              423 N HARTMAN AVE                                                                      CUSHING         OK      74023


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LARRY FRANCIS OR LISA MURRAY-FRANCI                                      620 W 26TH AVE                                                                         STILLWATER       OK      74074-6900
LARRY FREEMAN                                                            1422 W 15TH ST                                                                         CHANDLER         OK      74834-3224
LARRY FRY                                                                1070 GUNNER LOOP                                                                       SAPULPA          OK      74066
LARRY FULLER                                                             2672 BAHAMAS WAY                                                                       GRAND JUNCTION   CO      81506-1761
LARRY G & LUCINDA J KILLMAN                                              29851 E MOUNTAIN VIEW #12                                                              WELLTON          AZ      85356
LARRY G DAGGETT                                                          7754 ELMWOOD PL                                                                        DENVER           CO      80221
LARRY G FLESNER                                                          11300 SE 15TH APT 915                                                                  MIDWEST CITY     OK      73120
LARRY GILBERT                                                            43701 S 33600 RD                                                                       MORRISON         OK      73061
LARRY GORE                                                               ROUTE 2, BOX 12                                                                        TALOGA           OK      73667
LARRY GRAY                                                               60701 E 230 RD                                                                         FAIRLAND         OK      74343
LARRY GREEN                                                              357691 E 1070 RD                                                                       PRAGUE           OK      74864-6410
LARRY HAIMA                                                              1843 GIBSON WAY NE                                                                     ALBANY           OR      97321
LARRY HANEWINCKEL                                                        5033 ROSE AVE                                                                          LONG BEACH       CA      90807-1143
LARRY HARRIS                                                             7817 NW 38TH                                                                           BETHANY          OK      73008
LARRY HARRIS                                                             1407 N FORTNER RD                                                                      PECK             KS      67120
LARRY ISAACS                                                             PO BOX 212                                                                             POND CREEK       OK      73766
                                                                         9059 E. PANORAMA CIRCLE,
LARRY JACKS                                                              UNIT 219                                                                               ENGLEWOOD        CO      80112
LARRY JAMES                                                              1112 HAROLD ST                                                                         CASSVILLE        MO      65625-1218
LARRY JOHNSON                                                            3252 RIVER PARK DR                                                                     BAKER CITY       OR      97814
LARRY JOHNSON                                                            109 E HARTMAN AVE                                                                      STILLWATER       OK      74075-3842
LARRY JONES                                                              319 N DONALDSON                                                                        STILLWATER       OK      74075
LARRY KENT STINCHCOMB TRUST                                              8608 E 71ST RD                                                                         COYLE            OK      73027
                                                                                                                       9211 Lake Hefner
Larry Kent Splawn                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Larry Kent Splawn                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Larry Kent Splawn                                                        7608 Doris Pl                                                                          Oklahoma City    OK      73162
LARRY KILPATRICK                                                         PO BOX 307                                                                             WILDERVILLE      OR      97543
LARRY L HANSEN & JANICE E HANSEN                                         8 HILLCREST ST                                                                         PERRY            OK      73077
LARRY L MOTT REV TRUST                                                   8216 NW 37TH ST                                                                        BETHANY          OK      73008-3013
LARRY LANDRETH                                                           306 N STONEY CREEK                                                                     STILLWATER       OK      74075
LARRY LASKEY                                                             2041 GONDAR AVE                                                                        LONG BEACH       CA      90813
LARRY LATHAM                                                             1720 N DOWELL RD                                                                       AMARILLO         TX      79124-3766
LARRY LEON BOGGS                                                         4130 PINE STREET                                                                       ARKADELPHIA      AR      71923
LARRY LESTER                                                             3316 S MAIN ST                                                                         STILLWATER       OK      74074-7545
LARRY LISTON                                                             15300 S PENNSYLVANIA AVE                                                               OKLAHOMA CITY    OK      73170-8706
LARRY LOWE                                                               12919 S FAIRGROUNDS                                                                    PERKINS          OK      74059-3847
LARRY LUTE                                                               7407 N WAYNE AVE                                                                       KANSAS CITY      MO      64118-2254

LARRY M PHILLIPS                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
LARRY M ROBERTS                                                          5900 S LAKE FOREST DR STE 300                                                          MCKINNEY         TX      75070
LARRY MAJORS                                                             113 HENRY LITTLE CIRCLE                                                                PEA RIDGE        AR      72751
LARRY MALLATT                                                            116 N ELM                                                                              GODDARD          KS      67052
LARRY MCCLELLAN                                                          2907 CUSTER DRIVE                                                                      CORINTH          TX      76210
LARRY MCCROSKEY                                                          1006 SUNNYBROOK DR                                                                     STILLWATER       OK      74075-7215
LARRY MCENTIRE                                                           806 PARKVIEW DR                                                                        CUSHING          OK      74023-4423
LARRY MCGAVRAN                                                           34512 W 61ST ST S                                                                      MANNFORD         OK      74044-7106
LARRY MCKEE                                                              PO BOX 308                                                                             RIPLEY           OK      74062
LARRY MOORMAN                                                            214 NE 5TH ST                                                                          PERKINS          OK      74059-3007
LARRY MORGAN                                                             2061 W 7th PL                                                                          ELK CITY         OK      73644
LARRY MORGAN                                                             11912 N PENN AVE STE D1                                                                OKLAHOMA CITY    OK      73120
LARRY NEAL                                                               1110 JACOB                                                                             MOORE            OK      73160
LARRY NICHOLAS                                                           PO BOX 167                                                                             MULHALL          OK      73063
LARRY NOTTINGHAM                                                         3505 CREEK XING                                                                        PERKINS          OK      74059-4291
LARRY NOTTINGHAM                                                         3505 W CREEK CROSSING                                                                  PERKINS          OK      74059
LARRY OMMEN                                                              2006 HIGHWAY 101 BOX 338                                                               FLORENCE         OR      97439
LARRY PAINTERS                                                           3108 E. STONEGATE AVENUE                                                               STILLWATER       OK      74074
LARRY PALESTINA                                                          3713 EDENBORN AVE                                                                      METAIRIE         LA      70002


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LARRY PARKS                                                              4015 TIMBERLINE DRIVE                                                                  STILLWATER         OK      74074
LARRY PAUL STUMPFF                                                       PO BOX 1021                                                                            PRYOR              OK      74362-1021
LARRY PAUL STUMPFF REV TRUST                                             PO Box 1021                                                                            PRYOR              OK      74362-1021
LARRY PENSON                                                             1709 SPRUCE CIR                                                                        SHAWNEE            OK      74804
LARRY PETERS                                                             PO BOX 271                                                                             LA MONTE           MO      65337
LARRY PRATER JR & MELISSA A PRATER                                       PO BOX 68                                                                              MULHALL            OK      73063
LARRY R BRANNON & WILEY KAY                                              342191 E 980 ROAD                                                                      CHANDLER           OK      74834
                                                                                                                       9211 Lake Hefner
Larry R. Evans Sr.                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Larry R. Evans Sr.                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Larry R. Evans Sr.                                                       1225 NW 83rd St                                                                        Oklahoma City      OK      73114
LARRY RAKEY                                                              219 S TERRILL DR                                                                       STILLWATER         OK      74075
LARRY RAY                                                                2529 NW 59TH ST                                                                        OKLAHOMA CITY      OK      73112
LARRY RAY HENDERSON TRUST                                                5909 E RICHMOND RD                                                                     GLENCOE            OK      74032
LARRY SCHRICK                                                            1904 ROCKPORT RD                                                                       EDMOND             OK      73013
LARRY STEWART                                                            3500 E MCELROY                                                                         STILLWATER         OK      74075
LARRY STINCHCOMB                                                         8608 EAST COUNTY ROAD 71                                                               COYLE              OK      73027
                                                                                                                       9211 Lake Hefner
Larry Sultz                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Larry Sultz                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Larry Sultz                                                              5648 N. Utica Pl                                                                       Tulsa              OK      74130
LARRY TODD                                                               7802 S WASHINGTON ST                                                                   STILLWATER         OK      74074-8203
LARRY V & JOHNITA LEKA TRUST                                             1005 S TWIN MOUNDS                                                                     YALE               OK      74085-6633
LARRY V & JOHNITA LEKA TRUST DTD 9-                                      1005 S TWIN MOUNDS                                                                     YALE               OK      74085

LARRY V RICHEY                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
                                                                                                                       9211 Lake Hefner
Larry V. Smith                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Larry V. Smith                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Larry V. Smith                                                           10801 SE 3rd St                                                                        Oklahoma City      OK      73130
LARRY VASSAUR                                                            2207 DUKES REALM                                                                       SHAWNEE            OK      74804
LARRY W KELLY FAMILY REV TRST                                            4737 LOS OSOS VALLEY RD                                                                SAN LUIS OBISPO    CA      93405-7830
LARRY W LOHSE                                                            4913 WILHITE LANE                                                                      N RICHLAND HILLS   TX      76180
LARRY W MOORE                                                            20608 EARL STREET                                                                      TORRENCE           CA      90503
LARRY W WESTFALL                                                         8405 N. LAURA LANE C14                                                                 OKLAHOMA CITY      OK      73151
LARRY WATTS                                                              2874 MORNING POND LN                                                                   DICKINSON          TX      77539
LARRY WAYNE AND JULIE MARIE                                              415 COLLINS COURT                                                                      STILLWATER         OK      74074
LARRY WELDING                                                            RT 2 BOX 8A                                                                            VICI               OK      73859
LARRY WESTHOFF                                                           17420 HILLTOP RIDGE DR                                                                 EUREKA             MO      63025-1035
LARRY WHEATLEY                                                           6618 N PERKINS RD                                                                      STILLWATER         OK      74075-1770
LARRY WILLIAMS                                                           14422 E SUMNER                                                                         MARSHALL           OK      73056
LARRY WILLIFORD                                                          PO BOX 2235                                                                            MANSFIELD          TX      76063-0040
LARRY WOLFE                                                              4835 TICKLE VIEW DR                                                                    MILLINGTON         TN      38053-3954
                                                                                                                       9211 Lake Hefner
Larry Jaynes                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Larry Jaynes                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Larry Jaynes                                                             8850 Bounbonais Creek Rd                                                               Lexington          OK      73051
                                                                                                                       9211 Lake Hefner
Larry Stone                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Larry Stone                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Larry Stone                                                              3405 Santa Fe Dr                                                                       Choctaw            OK      73020
                                                                                                                       9211 Lake Hefner
Larry Sullivan                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120



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                                      c/o Laminack, Pirtle & Martines,
Larry Sullivan                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Larry Sullivan                                                           1236 SW 25                                                                             Oklahoma City    OK      73109
LARUE POLLARD                                                            1875 MESILLA HILLS DR                                                                  LAS CRUSAS       NM      88005
LaRue, Steven                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
LARY BYARS                                                               223 WINTER DRIVE                                                                       GEORGETOWN       TX      78633
LARY CRAVEN                                                              PO BOX 1984                                                                            LEXINGTON        OK      73051
LARY WAYNE & LYNN VAN COEVERING JT                                       9914 S REDLANDS RD                                                                     COYLE            OK      73027-4003
LASSO CORP                                                               2740 WASHINGTON DRIVE                                                                  NORMAN           OK      73069
LASSO ENERGY LLC                                                         PO BOX 465                                                                             CHASE            KS      67524-0465
LAST FRONTIER COUNCIL INC BOY SCOUT                                      3031 NW 64TH ST STE 100                                                                OKLAHOMA CITY    OK      73116-3598
LATHAM & WATKINS LLP                                                     PO BOX 7247-8181                                                                       PHILADELPHIA     PA      19170-8181
                                                                                                                       9211 Lake Hefner
Laticia Garcia                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Laticia Garcia                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Laticia Garcia                                                           402 E. 15th St                                                                         Atoka            OK      74525
LATIGO ENERGY COMPANY                                                    PO BOX 1146                                                                            ENID             OK      73702-1146
LATIGO OIL & GAS INC                                                     PO BOX 1208                                                                            WOODWARD         OK      73802
LATISHA GERMANY                                                          2909 S BETHEL RD                                                                       STILLWATER       OK      74074
                                                                                                                       9211 Lake Hefner
Latisha K. James                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Latisha K. James                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Latisha K. James                                                         1104 NW 79th St                                                                        Oklahoma City    OK      73114
LATITUDE GEOGRAPHICS GROUP LTD                                           1117 WHARF ST                                                                          VICTORIA         BC      V8W 1T7      CANADA
LATRICIA ANDERSON                                                        35803 ROAD J.8                                                                         MANCOS           CO      81328
                                      Trent B. Latshaw, Founder and
Latshaw Drilling Co LLC               President                          4500 South 129th East Avenue Suite 150                                                 Tulsa            OK      74134
LATSHAW DRILLING CO LLC                                                  PO BOX 691017                                                                          TULSA            OK      74169-1017

Latshaw Drilling Company, LLC         c/o Crowe & Dunlevy PC             Attn: Michael Pacewicz                        500 Kennedy Building 321 S. Boston Ave   Tulsa            OK      74103
LAUGHLIN FAMILY TRUST                                                    2737 N.W 140TH STREET #501                                                             OKLAHOMA CITY    OK      73134
LAUNA HUDDLESTON                                                         3504 S DOLLNER ST APT 8                                                                VISALIA          CA      93277-7744
LAURA ALLEY                                                              474 N. 77 RANCH RD                                                                     WICHITA FALLS    TX      76305
LAURA BARNARD                                                            4237 WELLS                                                                             FORT WORTH       TX      76135
LAURA BARNETT                                                            RR 1 BOX 3D                                                                            LEDBETTER        TX      78946
LAURA BARTO                                                              1387 E 139TH PL                                                                        GLENPOOL         OK      74033-3128
LAURA BENOIST                                                            4117 FORDER VALLEY DRIVE                                                               ST LOUIS         MO      63129
LAURA BRADFORD                                                           5694 MISSION CENTER RD #347                                                            SAN DIEGO        CA      92108
LAURA CALLANAN                                                           2300 S JESSICA                                                                         CUSHING          OK      74023-4915
LAURA CHAMBERS KIRK REV LIV TR                                           6404 S RIPLEY RD                                                                       RIPLEY           OK      74062-6233
LAURA DYE                                                                4201 S HENDERSON ST                                                                    STILLWATER       OK      74074-7203
LAURA E COLLUM                                                           8601 S BRUSHCREEK ROAD                                                                 STILLWATER       OK      74074
LAURA EDMOUNDSON                                                         3640 W REDFIELD RD                                                                     PHOENIX          AZ      85053-5523
LAURA EGAN                                                               14339 BLUEJACKET LANE                                                                  OVERLAND PARK    KS      66221
LAURA F ASHFORD REV TRUST                                                1109 CLASSEN BOULEVARD                                                                 NORMAN           OK      73071
LAURA FREDERICK                                                          12323 AXTELL-GATEWAY RD                                                                BOZEMAN          MT      59718
LAURA FRETZ                                                              18235 NASSAU BAY DR                                                                    HOUSTON          TX      77058-3414
LAURA FRYE                                                               4805 HALEY LN                                                                          STILLWATER       OK      74074
LAURA G DUNCAN REV TRSUT 10-1-2008                                       11711 S GRANITE AVENUE                                                                 TULSA            OK      74137
LAURA G ROSS LLC                                                         770 PARK AVE APT 6C                                                                    NEW YORK         NY      10021
LAURA GAPPA                                                              2202 SUMMER REEF                                                                       LEAGUE CITY      TX      77573
LAURA GRAFTON                                                            155 MILL RUN TRL                                                                       BATESVILLE       AR      72501-6305
LAURA GROVER REYNOLDS                                                    1661 FOREST AVENUE # 106                                                               CHICO            CA      95928
LAURA HOUSE                                                              3821 SOUTH DAKOTA AVE NE                                                               WASHINGTON       DC      20032
LAURA HUTCHINS                                                           5904 NW 52ND ST                                                                        OKLAHOMA CITY    OK      73122
LAURA JEAN KERSHAW TRUST                                                 PO BOX 1407                                                                            MUSKOGEE         OK      74402-1407
LAURA JOAN DANGOTT TRUST                                                 PO BOX 3499                                                                            TULSA            OK      74101


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                CreditorName         CreditorNoticeName                             Address1                         Address2                 Address3             City     State       Zip      Country
                                                                                                                9211 Lake Hefner
Laura Johnson                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                               c/o Laminack, Pirtle & Martines,
Laura Johnson                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Laura Johnson                                                     2714 Quail Ridge St                                                                    Stillwater         OK      74074
LAURA KENT                                                        8132 NW 82ND ST                                                                        OKLAHOMA CITY      OK      73132
LAURA KNOLL                                                       108 NELSON PARK PL                                                                     MOORE              OK      73160
LAURA LEAR                                                        7432 E PLACITA DEL ANIMO                                                               TUCSON             AZ      85715
LAURA LOGAN HUNTER                                                3487 US HIGHWAY 412                                                                    WOODWARD           OK      73801-5205
LAURA LOPEZ-CAYZEDO                                               10616 MONTROSE AVE APT 101                                                             BETHESDA           MD      20814
LAURA MACHART                                                     5715 COUNTRY CLUB RD                                                                   OSHKOSH            WI      54902
LAURA MANWELL                                                     301 NW 63RD ST STE 600                                                                 OKLAHOMA CITY      OK      73116-7909
LAURA MARSH                                                       PO BOX 1334                                                                            HOOKER             OK      73945-1334
                                                                                                                9211 Lake Hefner
Laura Mathes                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
Laura Mathes                   c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles        CA      90017
Laura Mathes                                                      1117 S Canyon Rd                                                                       Stillwater         OK      74074
LAURA MCCONELL CORBYN                                             1600 BANK OF OKLAHOMA PLAZA                                                            OKLAHOMA CITY      OK      73102
LAURA MICHELLE BURCHAM                                            5710 S 286TH EAST AVENUE                                                               BROKEN ARROW       OK      74014
LAURA OWENS BENNETT TRUST                                         PO BOX 1588                                                                            TULSA              OK      74101-1588
LAURA PALM                                                        PO BOX 52940                                                                           TULSA              OK      74152-0940
LAURA PATA                                                        PO BOX 135                                                                             MULHALL            OK      73063
LAURA PEGGY GOTT                                                  6935 COLBURN DR                                                                        ANNANDALE          VA      22003
LAURA PICKENS DECD                                                1304 PARK AVE                                                                          MONROE             LA      71201
LAURA RASMUSSEN                                                   1208 NW 48TH                                                                           OKLAHOMA CITY      OK      73118
LAURA ROSS                                                        770 PARK AVE APT 6C                                                                    NEW YORK           NY      10021
LAURA SUE HOOVER                                                  1216 ALKI AVENUE SW                                                                    SEATLE             WA      98116
LAURA SUMMA                                                       105 ROY HILL RD                                                                        CHEBEAGUE ISLAND   ME      04017
LAURA VAN EVERA                                                   7408 SPRING VILLAGE DRIVE #308                                                         SPRINGFIELD        VA      22150
LAURA WILLIAMS                                                    1202 W BROADWAY                                                                        ENID               OK      73703
LAURA WOOD                                                        2378 COUNTY ROAD 3291                                                                  CLARKSVILLE        AR      72830-8251
                                                                                                                9211 Lake Hefner
Laura Wisdom                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                               c/o Laminack, Pirtle & Martines,
Laura Wisdom                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Laura Wisdom                                                      10316 SE 29th                                                                          Oklahoma City      OK      73130
LAURAH KILBOURN                                                   124 S 18TH ST                                                                          GUTHRIE            OK      73044-4022
LAUREN BROLLIER                                                   6204 WATERFORD BLVD APT 14                                                             OKLAHOMA CITY      OK      73118-1106
LAUREN FARISS                                                     10280 KISMET LANE N                                                                    STILLWATER         MN      55082-9447
LAUREN GOLDBERG                                                   10810 NETHERLAND DR                                                                    DALLAS             TX      75229-5521
LAUREN HENSLEY ROSSLEY                                            6432 CASTLEMERE DR                                                                     PLANO              TX      75093
LAUREN PATERNOSTRO                                                12500 BLUE SAGE RD                                                                     OKLAHOMA CITY      OK      73120-1906
LAURENCE ALTSHULER                                                129 E 26TH PL                                                                          TULSA              OK      74114-2421
LAURENCE ROBINSON                                                 523 W HARNED AVE                                                                       STILLWATER         OK      74075
LAURENCE STALL                                                    PO BOX 6696                                                                            LONGVIEW           TX      75608
LAURENCE THOMAS                                                   22303 TROON DR                                                                         ATHENS             AL      35613
LAURENCE THOMAS                                                   8822 MISTY CREEK DR                                                                    SARASOTA           FL      34241
LAURENE K HIRSCHBERG SHARE                                        1716 VAN EATON AVENUE                                                                  MCKINLEYVILLE      CA      95519
LAURIE BEAR                                                       825 SOUTH HALL                                                                         STILLWATER         OK      74074
LAURIE GREER                                                      2532 N. 4TH, NO. 306                                                                   FLAGSTAFF          AZ      86004
LAURIE PASCHALYDIS                                                10436 DON PICO RD                                                                      SPRING VALLEY      CA      91978-1020
LAURIE RICKS                                                      7 CIDER MILLS CT                                                                       THE WOODLANDS      TX      77382
LAURIE SAWYER                                                     1319 LINDSAY STREET                                                                    GAINSVILLE         TX      76240
LAURIE SMITH                                                      1650 37TH AVE PL                                                                       GREELEY            CO      80634
LAURITZ KISE                                                      3311 E THIRD ST                                                                        LONG BEACH         CA      90814
LAVELLE ASHLEY                                                    1921 ENLOE DRIVE                                                                       CLOVIS             NM      88101
LAVERLA SIMPSON TRUST                                             1151 E SEWARD RD                                                                       GUTHRIE            OK      73044
LAVERN ENDERS                                                     320 RYAN AVE                                                                           BURLESON           TX      76028
LAVERNA D. SELIX LIFE ESTATE                                      126 CANDLEWOOD ST.                                                                     ENID               OK      73701


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LAVERNE AND SARAH BRADLEY JT                                          1515 S RANSOM DR                                                                        STILLWATER      OK      74074-6319
LAVERNE BRADLEY                                                       1515 S RANSOM DR                                                                        STILLWATER      OK      74074-6319
LAVERNE J SMITH REV TRUST                                             1300 GLENWOOD AVENUE                                                                    NICHOLS HILLS   OK      73116
LAVERNE ROSSITER                                                      401 CURRIE LN                                                                           GRANTS PASS     OR      97526
LAVETA GAIL MAYFIELD                                                  7008 S SUMNER LN                                                                        STILLWATER      OK      74074-6375
LAVON WRIGHT                                                          357 CHENNEY CREEK RD                                                                    GRANTS PASS     OR      97527
                                                                                                                    9211 Lake Hefner
LaVonna McNeil                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
LaVonna McNeil                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
LaVonna McNeil                                                        5601 N Range Rd                                                                         Stillwater      OK      74075
LAVONNE PRIOR                                                         1593 ROAD V5                                                                            NEOSHO RAPIDS   KS      66864-8703
LAVONNE ROUNDS LIFE ESTATE                                            4 MIDLAND STREET                                                                        WIMBERELY       TX      78676
LAWANA BRAY                                                           1653 NE 9TH ST                                                                          MOORE           OK      73160-7990
LAWANDA B HETHERINGTON                                                1203 LEISA PLACE                                                                        TOOL            TX      75143

LAWRENCE A KAUTZ                                                      1135 N. LAKEWIND STREET, UNIT 1135                                                      WICHITA         KS      67212

LAWRENCE A TODD                                                       5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
LAWRENCE BECK                                                         PO BOX 6749                                                                             SAN ANTONIO     TX      78209-0749
LAWRENCE CARPENTER                                                    349 N 200 E                                                                             JEROME          ID      83338
LAWRENCE DUNAWAY                                                      5418 COUNTRY LAKES LN                                                                   SARASOTA        FL      34243-3809
LAWRENCE E JAMES LLC                                                  1685 W COUNTY ROAD 72                                                                   GUTHRIE         OK      73044
LAWRENCE E MCFARLIN AND E JOANNE                                      800594 S HWY 18                                                                         TYRON           OK      74875
LAWRENCE ELLIOTT                                                      12552 MAGNOLIA AVENUE                                                                   GARDEN GROVE    CA      92841
LAWRENCE FREEMAN HARGIS                                               126 N COTTONWOOD DR                                                                     RICHARDSON      TX      75080-4701
LAWRENCE J DOROTHY L MARTIN TR                                        727 E MOSES ST                                                                          CUSHING         OK      74023-3417
LAWRENCE JAMES                                                        1685 W COUNTY RD 72                                                                     GUTHRIE         OK      73044
LAWRENCE JELSMA                                                       1108 OAK TREE DR                                                                        EDMOND          OK      73025
LAWRENCE JOHNSTON                                                     736 WESTHAVEN                                                                           LANSING         MI      48917-4011
LAWRENCE JOHNSTON                                                     736 WESTHAVEN BLVD                                                                      LANSING         MI      48917-4011
LAWRENCE KETCH FAMILY TRUST                                           4735 E PINEWOOD CIR                                                                     CENTENNIAL      CO      80121
LAWRENCE LYNN                                                         4124 JAMES WESTON DR                                                                    AWENDAW         SC      29429-5937
LAWRENCE N TAUBMAN                                                    PO Box 1588                                                                             TULSA           OK      74101-1588
LAWRENCE PATRICK PETREE                                               8308 S ALSAB TRAIL                                                                      EVERGREEN       CO      80439
Lawrence Robinson                  c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Lawrence Robinson                  c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Lawrence Robinson                  c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Lawrence Robinson                                                     523 West Harned Ave                                                                     Stillwater      OK      74075
LAWRENCE SCHEIHING                                                    18028 W CHARTER OAK RD                                                                  CASHION         OK      73016
LAWRENCE SENG                                                         11600 ASHFORD DR                                                                        YUKON           OK      73099
LAWRENCE SNYDER                                                       202 N 1ST ST                                                                            POINT           TX      75472
LAWRENCE SPEER                                                        1115 LAURELWOOD                                                                         CARMEL          IN      46032
LAWRENCE TARRANTS                                                     13025 E 130TH ST S                                                                      BROKEN ARROW    OK      74011-2304
LAWRENCE TERREL                                                       108 NATHAN HALE RD                                                                      GILLETTE        WY      82718
LAWRENCE TODD DECD                                                    4336 NW 47TH ST                                                                         OKLAHOMA CITY   OK      73112
LAWRENCE VECERA                                                       1951 HEYBURN AVE E                                                                      TWIN FALLS      ID      83301
                                                                                                                    9211 Lake Hefner
Lawrence Collins                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Lawrence Collins                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Lawrence Collins                                                      12405 High Meadow Dr                                                                    Oklahoma City   OK      73120
                                                                                                                    9211 Lake Hefner
Lawrence Pasternack                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Lawrence Pasternack                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Lawrence Pasternack                                                   1517 Faircloud Ct                                                                       Edmond          OK      73034
Lay, Lawrence                      c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater      OK      74074
LAYNE BURTON                                                          PO BOX 396                                                                              PERKINS         OK      74059-0396


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LAYNE HENSON                                                             423 WILDWOOD ACRES CIR                                                                 STILLWATER         OK       74075
LAYNE W TURNER FAMILY TRUST                                              ONE EAST TWOHIG SECOND FLOOR                                                           SAN ANGELO         TX       76903
LAYNIE SCHLINKE LLACH                                                    1806 SHERRY LN                                                                         EDMOND             OK       73003
LB LAYDOWN SERVICES LLC                                                  3002 N. 4TH                                                                            ENID               OK       73701
LB STABLEFORD ESTATE TRUST A                                             111 W MONROE ST                                                                        CHICAGO            IL       60603-4096
LB STABLEFORD ESTATE TRUST B                                             111 W MONROE ST                                                                        CHICAGO            IL       60603-4096
LCOPPEDGE LLC                                                            6652 PLAZA VIA #115                                                                    IRVING             TX       75039
LCT MANAGEMENT CORP                                                      PMB 376                                                                                BLAINE             WA       98230-4033
LD PARTNERS                                                              5845 FARQUHAR                                                                          DALLAS             TX       75209-3515
LEA SAGE                                                                 209043 E 690 RD.                                                                       CARMARGO           OK       73835
LEA WALKER                                                               3752 NOTRE DAME AVE                                                                    SAN DIEGO          CA       92122-3310
LEADER ENERGY SERVICES LLC                                               PO BOX 1626                                                                            PURCELL            OK       73080
LEADERSHIP OKLAHOMA CITY INC                                             730 W WILSHIRE BLVD STE 116                                                            OKLAHOMA CITY      OK       73116
LEAF RIVER RESOURCES LLC                                                 558 CASTLE PINES PKWY #B-4, 363                                                        CASTLE ROCK        CO       80108
LEAH & BERNARD CHAPUT MINERAL INTER                                      900 UNIVERSITY STREET, APT. 5-F                                                        SEATTLE            WA       98101
LEAH ANN WILLIAMSON                                                      205 N SUPERNAW                                                                         SKIATOOK           OK       74070
LEAH ARNDT                                                               1263 YORK RD                                                                           COLORADO SPRINGS   CO       80918-1026
LEAH CHAPUT                                                              31309 41ST PL SW                                                                       FEDERAL WAY        WA       98023-2114
LEAH D COLLINS                                                           11580 MOUNTAIN TOP CIRCLE                                                              JONESTOWN          TX       78645-2329
LEAH HADLEY                                                              305 W 7TH ST                                                                           EDMOND             OK       73003-5702
LEAH JACOB ENOCH (DECEASED)                                              410893 E 1211 RD                                                                       EUFALA             OK       74432
LEAH ODONNELL                                                            2500 SHORELINE DR                                                                      NORMAN             OK       73026-1319
LEAH SPRADLIN                                                            ROUTE 2 BOX 4470                                                                       PORUM              OK       74455
LEAH VLADIKA                                                             240 CHARROS DR                                                                         GOLDEN             CO       80401
LEAH Y BERGLUND                                                          1832 N WALNUT RD #12                                                                   LAS VEGAS          NV       89115
LEAHAN WESTFALL                       C/O BRADLEY G WESTFALL                                                                                                    CLAREMORE          OK       74017-1463
LEALLA BLUM                                                              275 CLEARWATER-LARGO RD N                                                              LARGO              FL       33770
                                                                                                                       9211 Lake Hefner
Leann Reynolds                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Leann Reynolds                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Leann Reynolds                                                           516 N. 7th Ave                                                                         Stroud             OK       74079
LEANNA EDWARDS                                                           21568 MARKET RD                                                                        PARMA              ID       83660
LEANNA HEIL                                                              29504 D HWY                                                                            NORBORNE           MO       64668-8182
LEANNA LUPER                                                             4205 COXDALE ST                                                                        SPRINGDALE         AR       72764
LEANNE AND LANCE LEWIS JT                                                5004 HALEY LN                                                                          STILLWATER         OK       74074
LEANNE FISHER                                                            825 COLLIN DR                                                                          EULESS             TX       76039

LEASA WELDON & BARNEY THOMAS WELDON                                      PO BOX 431                                                                             CRESCENT           OK       73028
                                                                                                                       9211 Lake Hefner
Leatrice Andrews                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Leatrice Andrews                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Leatrice Andrews                                                         309 NE 61st                                                                            Oklahoma City      OK       73105
LEBARRE FAMILY LLC                                                       7518 MIDDLEWOOD ST                                                                     HOUSTON            TX       77063-1806
LEBO-PETRO LLC                                                           5724 NW 135TH ST                                                                       OKLAHOMA CITY      OK       73142
LEBOWITZ FAMILY TRUST                                                    4311 W LOVERS LNSTE 200                                                                DALLAS             TX       75209
LECRETIA A DUFUR                                                         6552 NORTH LONE OAK ROAD                                                               CADDO              OK       74729
LEE & DEBBIE MURLIN REV TRUST                                            6119 E 92ND AVE                                                                        STILLWATER         OK       74074-8412

LEE A ZATARAIN                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX       75070
LEE ALLEN                                                                6423 BARREL RACE DR                                                                    COLORADO SPRINGS   CO       80923
LEE ANN BROOKS                                                           13838 CROSSING WAY EAST                                                                EDMOND             OK       73013
LEE ANN MORRISON FAMILY TR                                               5709 WEST MERCER LANE                                                                  GLENDALE           AZ       85304
LEE BANNING                                                              PO BOX 842                                                                             WEATHERFORD        TX       76086
LEE BLUBAUGH                                                             30283 CR 930                                                                           MEDFORD            OK       73759
LEE CAMIZZI                                                              105 RIDGE LN                                                                           NICEVILLE          FL       32578-9786
LEE CAPPS                                                                2512 COUNTY RD 226                                                                     RIFLE              CO       81650
LEE COGERT                                                               8786 WOOD DUCK WAY                                                                     BLAINE             WA       98230-5703


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LEE D AUER 1992 TRUST                                      16 ABYSSINIAN WAY                                                      LADERA RANCH      CA       92694
LEE DAVID JACKSON                                          1600 NORTH JACKSON PLACE                                               STILLWATER        OK       74075
LEE DILLMAN                                                1804 ANADARKO PL                                                       EDMOND            OK       73013
LEE DOTTER                                                 900701 S 3320 RD                                                       WELLSTON          OK       74881-8049
LEE E FRY TRUSTEE                                          25 DEL RANCHO LN                                                       SHAWNEE           OK       74804-3310
LEE EARL MALDEN                                            15600 HORBORN LANE                                                     PFLUGERVILLE      TX       78660
LEE ESLINGER                                               4700 SHERMAN LAKE DR                                                   STILLWATER        OK       74074-9500
LEE GIBBS                                                  119 BLUE WATER DR                                                      O'FALLON          MO       63366
LEE HAAG                                                   1135 FOREST POINT PLACE                                                FOREST            VA       24551
LEE HARVEY                                                 3051 E SEWARD RD                                                       GUTHRIE           OK       73044
LEE HESS                                                   2100 N UNION APT 113                                                   PONCA CITY        KS       74604
LEE HORNE                                                  PO BOX 1355                                                            ADA               OK       74821
LEE HORTON                                                 ROUTE 2, BOX 57                                                        LONE WOLF         OK       73655-9607
LEE MADISON                                                8560 W PEORIA AVE #104                                                 PEORIA            AZ       85345
LEE MCADAMS                                                2551 FALCOM WAY                                                        MIDLOTHIAN        TX       76065
LEE RAY STILES                                             3808 W GRANDSTAFF                                                      CUSHING           OK       74023-5683
LEE RICE LIVING TRUST                                      4545 W COVELL RD                                                       EDMOND            OK       73012
LEE ROPER                                                  2669 BARKER RD                                                         CENTRALIA         IL       62801-8449
LEE RUSSELL                                                310 N 9TH ST                                                           SELAH             WA       98942-1010
LEE SLATER                                                 12513 VILLAGE LN                                                       OKLAHOMA CITY     OK       73170-3413
LEE SPARKS                                                 4451 DUVAL DR                                                          FRISCO            TX       75034-2122
LEE TARRANT                                                55628 S 600 RD                                                         KANSAS            OK       74347
LEE VERN LYON                                              321 PLAYER DR                                                          LONGVIEW          TX       75605
LEE WEATHERLY                                              1512 RESTON DR                                                         RICHARDSON        TX       75081-2652
LEE WESCOTT                                                14701 JORDAN PL                                                        YUKON             OK       73099-4132
LEE WILEY MONCRIEF 1988 TRUST                              PO BOX 840738                                                          DALLAS            TX       75284-0738
LEE WILEY MONCRIEF MGMT TRUST                              PO BOX 840738                                                          DALLAS            TX       75284-0738
LEE WILEY MONCRIEF TRUST                                   777 TAYLOR STREET 1030                                                 FT WORTH          TX       76102
LEE WILLIAM LEWIS ESTATE DECD                              PO BOX 290                                                             FERNANDUA BEACH   FL       32034
LEE WRIGHT                                                 41 DANIEL DR                                                           SHERWOOD          AR       72120-4840
LEEDEY ACQUISITION COMPANY LLC                             1021 NW GRAND BLVD                                                     OKLAHOMA CITY     OK       73118
LEEDEY GAS & OIL - LLC                                     PO BOX 423                                                             LEEDEY            OK       73654
LEEDEY LUMBER & FARM SUPPLY LLC                            PO BOX 156                                                             LEEDY             OK       73654
LEEDY EDUCATION FOUNDATION                                 PO BOX 314                                                             LEEDY             OK       73654
LEEDY FIRE DEPARTMENT                                      514 S. MAIN ST.                                                        LEEDY             OK       73654
LEEMAN CARLEY                                              15755 BEECHWOOD AVE                                                    IVANHOE           CA       93235-1739
LEEMAN MINERALS LLC                                        PO BOX 54555                                                           OKLAHOMA CITY     OK       73154-1555

LEEROY D CYPHERS & ELIZABETH M CYPH                        1809 W COUNTY RD 63                                                    MULHALL           OK       73063
LEESA ALLRED LEE                                           5150 HIDALGO ST UNIT 406                                               HOUSTON           TX       77056-6409
LEETA JANE MORGAN                                          PO BOX 210                                                             WEATHERFORD       TX       76086-0210
LEFCO ENERGY LLC                                           7045 NORTH HIGHWAY 81                                                  DUNCAN            OK       73533
LEFT COAST OIL AND GAS LLC                                 PO BOX 31883                                                           EDMOND            OK       73003-0032

LEFTURN INVESTMENTS LLC                                    ONE WORLD TRADE CENTER SUITE 400                                       LONG BEACH        CA       90831-0400
LEGACY INCOME FUND I LTD                                   558 AMBLER                                                             ABILENE           TX       79601
LEGACY INCOME ROYALTY FUND LLC                             2601 NETWORK BLVD                                                      FRISCOE           TX       75034
LEGACY MEASUREMENT SOLUTIONS                               PO BOX 732238                                                          DALLAS            TX       75373-2238
LEGACY OFS CONSTRUCTION LLC                                1245 INDEPENDENCE ST                                                   LUCIEN            OK       73757
LEGACY OIL CORP                                            8140 WALNUT HILL LN STE 610                                            DALLAS            TX       75244
LEGACY RESOURCES LLC                                       15625 BALD CYPRESS COVE                                                EDMOND            OK       73013
LEGACY ROYALTIES LTD                                       PO BOX 1360                                                            TYLER             TX       75710-1360
LEGAT LLC                                                  6114 W CANTERBURY ST                                                   STILLWATER        OK       74074
LEGATE ENTERPRISES LLC                                     301 E 16TH ST                                                          CLAREMORE         OK       74017-3105
LEGEND ENERGY SERVICES, LLC                                5801 NORTH BROADWAY EXTENSION                                          OKLAHOMA CITY     OK       73118
LEGION BRUMLEY                                             3280 NW 22ND ST                                                        NEWCASTLE         OK       73065
LEHIGH ENERGY PARTNERS                                     PO BOX 3459                                                            SHAWNEE           OK       74802-3459
LEHMAN FAMILY TRUST DTD 2-4-2006                           3909 W 142ND DRIVE                                                     LEAWOOD           KS       68224
LEIGH A TAYLOR                                             6412 NW 155TH STREET                                                   EDMOND            OK       73013


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LEIGH S MCCASLIN III TTEE                                               PO BOX 205                                                                              PARK HILL          OK      74451
LEIGH STANSBERRY LIVING TRUST                                           20821 BN PENNSYLVANIA AVE                                                               EDMOND             OK      73012
LEILA GADBOIS                                                           2525 STANMORE DRIVE                                                                     HOUSTON            TX      77019
LEILLA HAWTHORNE                                                        1023 E 11TH ST                                                                          CUSHING            OK      74023-5203

LEININGER FAMILY TRUST                                                  5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY           TX      75070
LEISA BOWLES                                                            1203 LEISA PL                                                                           TOOL               TX      75143-2398
LEITRIM INC                                                             PO BOX 1090                                                                             OKLAHOMA CITY      OK      73101
LELA CROWELL                                                            1821 S KILDARE                                                                          CHICAGO            IL      60628
LELA FAY HOLZER                                                         1024 W AIRPORT RD                                                                       STILLWATER         OK      74075-1001
LELA HARRINGTON                                                         PO BOX 272                                                                              BUFFALO            OK      73834-0272
LELA SHOUP                                                              1810 N WASHINGTON ST APT A                                                              STILLWATER         OK      74075-3357

LELAND KARR ROSS & BRENDA KAY ROSS                                      213 S ROSE AVE                                                                          GLENCOE            OK      74032
LELAND PAYNE                                                            3000 E PLAZA ENCANTADA                                                                  TUCSON             AZ      85718
LELAND SCOTT                                                            PO BOX 649                                                                              HOOKER             OK      73945-0649
LELAND TRIPP                                                            6201 OLD RELIANCE RD                                                                    BRYAN              TX      77808-8465
LELAND W HARRIS TRUST                                                   10024 S CHAMPLIN RD                                                                     LUCIEN             OK      73757
                                                                                                                      9211 Lake Hefner
Leland Annesley                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                     c/o Laminack, Pirtle & Martines,
Leland Annesley                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Leland Annesley                                                         17800 Bob McDonald Rd                                                                   Newalla            OK      74857
                                                                                                                      9211 Lake Hefner
Leland Powell                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                     c/o Laminack, Pirtle & Martines,
Leland Powell                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Leland Powell                                                           12500 Springwood Dr                                                                     Oklahoma City      OK      73120
LEMAN FAMILY LP                                                         955 QUAIL HOLLOW CIR                                                                    DAKOTA DUNES       SD      57049
LEMEL PETROLEUM LLC                                                     PO BOX 51264                                                                            LAFAYETTE          LA      70505-1264
LEMOINE DOWD                                                            12200 OXFORD RD                                                                         LONGMONT           CO      80504
                                                                                                                      9211 Lake Hefner
Len Timmons                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                     c/o Laminack, Pirtle & Martines,
Len Timmons                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Len Timmons                                                             6008 LaQuinta Circle                                                                    Edmond             OK      73025
LENA HAYNIE                                                             947 N 10TH AVE                                                                          DURANT             OK      74701-3217
LENA JACKSON                                                            5506 S HARTFORD ST                                                                      STILLWATER         OK      74074-7235
LENA KINDSCHI                                                           1703 MEADOW LN                                                                          PERRY              OK      73077
LENA KINDSCHI FOR LIFE                                                  1703 MEADOW LN                                                                          PERRY              OK      73077
LENA KNOPFEL                                                            5190 W COUNTY RD 64                                                                     MULHALL            OK      73063
LENA MARSHALL                                                           5450 N EUGENE ST                                                                        BOISE              ID      83703-2846
LENA MCADAMS                                                            223 N 5TH ST                                                                            KINGFISHER         OK      73750
                                                                                                                      9211 Lake Hefner
Lena Holshouser                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                     c/o Laminack, Pirtle & Martines,
Lena Holshouser                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Lena Holshouser                                                         11501 Twisted Oak Rd                                                                    Oklahoma City      OK      73120
LENARD BRISCOE                                                          406 N MAIN ST                                                                           KINGFISHER         OK      73750-2322
Lenasha Maloy                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX      75070
Lenasha Maloy                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK      74104
Lenasha Maloy                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY      10017
Lenasha Maloy                                                           2005 West Ute Place                                                                     Tulsa              OK      74127
LENDELL HAWKINS                                                         1804 BRISCOE                                                                            ARTESIA            NM      88210
LENEL SEXTON                                                            609 WILDWOOD ACRES DR                                                                   STILLWATER         OK      74075
LENELL BOWEN                                                            PO BOX 1218                                                                             EDMOND             OK      73083-1218
                                                                                                                      9211 Lake Hefner
Leneta J. Dyer                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120



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                                      c/o Laminack, Pirtle & Martines,
Leneta J. Dyer                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Leneta J. Dyer                                                           2005 N. Madison Pl                                                                     Tulsa                OK      74106
LENNA LAWSON                                                             1100 KIPP AVE                                                                          KEMAH                TX      77565
LENNET PISACKA                                                           PO BOX 216                                                                             TALOGA               OK      73667-0216
LENORE S CRAWFORD TRUST                                                  200 E MAIN ST                                                                          NORMAN               OK      73069
LENOX PARTNERS                                                           1111 PARK AVENUE #14B                                                                  NEW YORK             NY      10128
LEO AND MARY L RAINS HW JT                                               PO BOX 15                                                                              RIPLEY               OK      74062-0015
LEO BOYD                                                                 RR 3 BOX 350                                                                           STILLWATER           OK      74075
LEO C & MARGARET B GRAVES REV LIV T                                      7820 S REDLANDS RD                                                                     COYLE                OK      73027-6203
LEO CHRIS JARDOT                                                         6316 OLD CHESTERBROOK ROAD                                                             MCLEAN               VA      22101
LEO DAVIS                                                                1385 MONTEITH AVE                                                                      HERNANDO             MS      38632

LEO F KAUTZ                                                              1135 N. LAKEWIND STREET, UNIT 1135                                                     WICHITA              KS      67212
LEO H DOWDY                                                              2032 W HOUSTON AVE                                                                     VISALIA              CA      93291
LEO J DAVIS ESTATE                                                       312 ALDERMAN RD                                                                        CHARLOTTESVILLE      VA      22903
LEO J FOWLER ESTATE                                                      7404 S RANGE RD                                                                        STILLWATER           OK      74074
LEO J SCHAFERS                                                           7936 EDGELAKE DR                                                                       ORLANDO              FL      32822-2029
LEO KINGSTON IRA                                                         PO Box 12920                                                                           OKLAHOMA CITY        OK      73157
LEO LANE                                                                 6912 MOGOLLON DR                                                                       BOZEMAN              MT      59715
                                                                                                                       9211 Lake Hefner
Leo Michael Moore Jr.                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Leo Michael Moore Jr.                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Leo Michael Moore Jr.                                                    1224 Barta Ave                                                                         Prague               OK      74864
LEO R & WANDA GOODENOUGH                                                 69461 MIDPARK DR                                                                       DESERT HOT SPRINGS   CA      92241-8255
LEO RAY                                                                  4647 D RIVER RD                                                                        BUHL                 ID      83316
LEO SYLVESTER                                                            14501 FRANKIE LN                                                                       OKLAHOMA CITY        OK      73165-7440
LEO T MATHIS                                                             1224 CR 1370                                                                           CHICKASHA            OK      73018
LEOLA HOUCHIN                                                            PO BOX 185                                                                             BUTLER               OK      73625-0185
LEOLA THIEMANN                                                           225 S TERRILL DR                                                                       STILLWATER           OK      74075
LEON BOELTE                                                              2008 BROOKFIELD DR                                                                     NORMAN               OK      73072
LEON CALDWELL AND HARTENCE M                                             341619 E 760 RD                                                                        AGRA                 OK      74824-6356
LEON COMBS                                                               4001 E. 56th Stree                                                                     STILLWATER           OK      74074
LEON DESCHER                                                             8167 W CR 69                                                                           MULHALL              OK      73063-9757
LEON DODSON                                                              RR. 1 BOX 9                                                                            PUTNAM               OK      73659
LEON GOTTFRIED                                                           24300 COUNTY RD 160                                                                    PERRY                OK      73077-9501
LEON J. WEHR REV LIV TRUST                                               5428 LITTLE CREEK                                                                      SAN ANTONIO          TX      78242
LEON MAJOR                                                               3211 S GREEN VALLEY DR                                                                 STILLWATER           OK      74074-7028
LEON RIGGS                                                               3019 N BARTELL RD                                                                      OKLAHOMA CITY        OK      73121-6830
LEON RIGGSWROS                                                           3019 N BARTELL RD                                                                      OKLAHOMA CITY        OK      73121-6830
LEON SILKWOOD REV TRUST                                                  6818 W ESECO RD                                                                        CUSHING              OK      74023-4898
LEON WILLIAMS ESTATE DECD                                                15 D ST                                                                                WASHINGTON           KS      66958
                                                                                                                       9211 Lake Hefner
Leon Irving                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Leon Irving                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Leon Irving                                                              14601 Joseph Ave                                                                       Luther               OK      73054
LEONA BARKER                                                             708 E CLEVELAND                                                                        GUTHRIE              OK      73044
LEONA CHANCELLOR                                                         502 W 29TH AVE                                                                         STILLWATER           OK      74074-6921
LEONA DNU                                                                PO BOX 95                                                                              RIPLEY               OK      74062-0095
LEONA MEENDERING                                                         5366 180TH ST                                                                          SIBLEY               IA      51249
LEONA MOODY                                                              3706 W ABRAHAM LN                                                                      GLENDALE             AZ      85038
LEONA ROGERS                                                             1919 N CENTER AVE                                                                      SHAWNEE              OK      74804-3271
LEONA STILES                                                             PO BOX 172                                                                             RIPLEY               OK      74062-0172
LEONARD & JOYCE WILSTEIN REV TRUST                                       30765 PACIFIC COAST HIGHWAY #430                                                       MALIBU               CA      90265
LEONARD & MARILYN BRANEN REV TRUST                                       1712 PRIMROSE LN                                                                       PERRY                OK      73077
LEONARD ARB                                                              PO BOX 1013                                                                            OCEAN PARK           WA      98640
LEONARD B NULTY                                                          2455 N WOODLAWN BLVD APT 357                                                           WICHITA              KS      67220-3955


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LEONARD BIGBIE                                                           237 PLEASANT HOME RD                                                                    LAUREL            MS       39443
LEONARD EUGENE HAAKMA                                                    404 N VINE ST                                                                           JEFFERSON         IA       50129
LEONARD FAMILY TR                                                        1120 SOUTH PRAIRIE RD                                                                   STILLWATER        OK       74074
LEONARD G HERRON TT                                                      PO BOX 1                                                                                STILLWATER        OK       74076
LEONARD G ODEGAARD                                                       14859 SW 162ND TER                                                                      TIGARD            OR       75231
LEONARD G ODEGAARD                                                       14859 SW 162ND TER                                                                      TIGARD            OR       97224
LEONARD HARRAL                                                           1332 LINCOLN CT                                                                         ALLEN             TX       75013
LEONARD HERENDEEN                                                        3211 PIERCE CT                                                                          ANTIOCH           CA       94509-5448
LEONARD HORTON                                                           HC 66, BOX 91                                                                           FOSS              OK       73647-9608
LEONARD J ELLSPERMANN                                                    156 WICKER RD                                                                           GRAY              GA       31032
LEONARD JAY                                                              2712 N WINDSOR TER                                                                      OKLAHOMA CITY     OK       73127
LEONARD M STEINER REV TR                                                 PO BOX 1063                                                                             PERRY             OK       73077
LEONARD PARKS                                                            1063 MAPLE CIR SW                                                                       NEW PRAGUE        MN       56071-4105
LEONARD R ABBEY JR IRREV TRUST                                           PO BOX 25                                                                               VIRGIL            KS       66870
LEONARD SANDERS                                                          9013 WEST OSBORN ROAD                                                                   PHOENIX           AZ       85037
LEONARD SKACH                                                            1024 S PINE ST                                                                          STILLWATER        OK       74074-5455
LEONARD SPENCER                                                          2033 S 545 W AVE                                                                        JENNINGS          OK       74038
LEONARD TARON                                                            PO BOX 696                                                                              SHAWNEE           OK       74802-0696
LEONARD WAYNE ENOCHS                                                     613 MONTREAL DRIVE                                                                      YUKON             OK       73099
                                                                                                                       9211 Lake Hefner
Leonard Pelfrey                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Leonard Pelfrey                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
Leonard Pelfrey                                                          1305 Shelly Lane                                                                        Edmond            OK       73034
LEONARDINE DECD                                                          3411 HUNTERS WALK                                                                       SAN ANTONIO       TX       78230
LEONNE TARRANT                                                           PO BOX 135                                                                              CRESCENT          OK       73028-0135
LEONORA M SEIDS ESTATE DECD                                              150 S WILLIS ST                                                                         STILLWATER        OK       74074
LEORA THOMPSON EDGAR                                                     6150 OAKMONT TRL APT 131                                                                FORT WORTH        TX       76132-3089
LEOTA FERN MCDOWELL                                                      2317 FRISCO WAY                                                                         EDMOND            OK       73012
LEOTA L MCNEIL REV TRUST                                                 1201 W 15TH ST                                                                          LITTLEFIELD       TX       79339
                                                                                                                       9211 Lake Hefner
Lequetta Bowman                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Lequetta Bowman                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
Lequetta Bowman                                                          1100 NE 16th                                                                            Oklahoma City     OK       73117
LERAH PARKER                                                             PO BOX 609                                                                              LIBBY             MT       59923
LERETA F ADKISSON                                                        2462 EVENING TWILIGHT AVE                                                               HENDERSON         NV       89044
LEROY A MACK TRUST UDO JULY 6 2007                                       14404 S 16TH ST                                                                         BISON             OK       73720
LEROY BREWER                                                             3806 OLD BRIDGE LN                                                                      TULSA             OK       74132
LEROY CARPENTER                                                          846 HOLLYANNE CT                                                                        TWIN FALLS        ID       83301
LEROY CRAIG AND BETHEL L CRAIG HW J                                      8117 E CAMINO ADELE                                                                     SCOTTSDALE        AZ       85255-3526
LEROY CUNDIFF                                                            11914 S COTTONWOOD RD                                                                   PERKINS           OK       74059-4234
LEROY DAVENPORT                                                          11742 LAKESIDE DR                                                                       SAPULPA           OK       74066-8907
Leroy Dee Wynn                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX       75070
Leroy Dee Wynn                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK       74104
Leroy Dee Wynn                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY       10017
Leroy Dee Wynn                                                           2223 S. Range Rd                                                                        Stillwater        OK       74074
LEROY H & PAULA D PRALLE REV FAM TR                                      2657 QUAIL HOLLOW DR                                                                    SALINA            KS       67401
LEROY HILTON                                                             821 W IDEREEN ST                                                                        SPRINGFIELD       MO       65807-1363
LEROY J COLEMAN                                                          11677 TERRY ST                                                                          DETROIT           MI       48227-2445
LEROY JAMES & LINDA KAY PATTON                                           30222 FAIRWAY RUN DRIVE                                                                 FAIR OAKS RANCH   TX       78015
LEROY LEE                                                                310 S CARSON ST APARTMENT 306                                                           CARSON CITY       NV       89701
LEROY MCCOY                                                              3213 BROOKBRIDGE ST                                                                     CHICKASHA         OK       73018
LEROY MILES                                                              3002 LAUREL MIST CT                                                                     KINGWOOD          TX       77345
LEROY PATTON                                                             30222 FAIRWAY RUN                                                                       FAIR OAKS RANCH   TX       78015-4487
LEROY PENDLETON                                                          1403 MARIGOLD ST                                                                        BORGER            TX       79007-6439
                                                                                                                       9211 Lake Hefner
Leroy Peters                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120



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                                      c/o Laminack, Pirtle & Martines,
Leroy Peters                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Leroy Peters                                                             647 E. 52nd St N.                                                                      Tulsa             OK      74126
                                      C/O SUSAN MARIE
LEROY RETHERFORD                      RETHERFORD                                                                                                                TULSA             OK      74129
LEROY S HALL                                                             113 W ASH AVE APT A                                                                    DUNCAN            OK      73533
LEROY SHARP                                                              2431 OLD AIRPORT RD                                                                    PRYOR             OK      74361-3047
LEROY WILLIAMS                                                           240 QUARTER CIR                                                                        DAVIS             CA      95618-5431
                                                                                                                       9211 Lake Hefner
Leroy Anderson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Leroy Anderson                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Leroy Anderson                                                           10310 S. Sooner Rd                                                                     Guthrie           OK      73034
                                                                                                                       9211 Lake Hefner
Leroy Oldenburg                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Leroy Oldenburg                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Leroy Oldenburg                                                          1974 Townsend Ct                                                                       Oklahoma City     OK      73130
LES PIERCE CONTRACT PUMPING                                              PO BOX 1837                                                                            STILLWATER        OK      74076-1837
LESA MONICAL                                                             3105 E PEACH TREE                                                                      CORPUS CHRISTI    TX      78410
LESH FAMILY TRUST                                                        19700 CR 200                                                                           PERRY             OK      73077
LESLEY WILLSON                                                           18795 S HAGAN LN                                                                       OLATHE            KS      66062-3679
LESLI DOSHIER                                                            6614 N ALVA AVE                                                                        FRESNO            CA      93711
                                                                                                                       9211 Lake Hefner
Leslie Harting                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Leslie Harting                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Leslie Harting                                                           14782 NE 63rd St                                                                       Choctaw           OK      73020
LESLIE ALLEN BUNTIN                                                      18779 N 94TH AVE                                                                       PEORIA            AZ      85382
LESLIE BENNETT                                                           7727 VIRGINIA LANE                                                                     FALLS CHURCH      VA      22043
LESLIE BUFFINGTON                                                        16701 CR 140                                                                           PERRY             OK      73077
LESLIE CHESHER                                                           2204 COUCH ST                                                                          HOUSTON           TX      77008
LESLIE CHRISTINE AVILA                                                   PO BOX 10914                                                                           COSTA MESA        CA      92627
LESLIE CLIFTON                                                           90 TIM BOWMAN DR                                                                       LONDON            KY      40741
                                                                                                                       9211 Lake Hefner
Leslie D. Lambeth                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Leslie D. Lambeth                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Leslie D. Lambeth                                                        13700 N. Anderson Rd                                                                   Jones             OK      73049
LESLIE DEVILBISS                                                         20600 CR 180                                                                           PERRY             OK      73077
LESLIE DEWAYNE PIERCE & LESLIE DAWN                                      110 N BRUSH CREEK ROAD                                                                 STILLWATER        OK      74075
LESLIE DILLINGHAM                                                        24631 BAY HILL BOULEVARD                                                               KATY              TX      77494

LESLIE E HARMAN & JUNE M HARMAN HWJ                                      16301 CR 20                                                                            BILLINGS          OK      74630
                                                                                                                       9211 Lake Hefner
Leslie Earnest                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
Leslie Earnest                        c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA      90017
Leslie Earnest                                                           4210 E Burris Rd                                                                       Glencoe           OK      74032
LESLIE EDDINGTON                                                         9974 HAPPY ACRES W RD                                                                  BOZEMAN           MT      59718
LESLIE HARDY                                                             3706 ARDMORE ST                                                                        SILVER SPRINGS    NV      89429
LESLIE HAWLEY                                                            15871 PRENTISS POINT CIR APT 102                                                       FORT MYERS        FL      33908-4199
LESLIE HICKS                                                             170 BUTTERCUP ST                                                                       KYLE              TX      78640
LESLIE HIX                                                               1118 SUNNYBROOK DR                                                                     STILLWATER        OK      74074-7217
LESLIE HOY                                                               313 HARDWICKE DR                                                                       KNOXVILLE         TN      37923
LESLIE KLINGAMAN                                                         86 BERINGER CT                                                                         SAINT CHARLES     MO      63304
LESLIE LACY                                                              2726 GREENBRIAR AVE                                                                    LANSING           MI      48912-3603
LESLIE MARTIN                                                            1230 CENTRAL WAY                                                                       LANTANA           TX      76226-6518
LESLIE MCLAUGHLIN                                                        3603 WOODHAVEN CT                                                                      MIDLAND           TX      79707-4554
LESLIE MILLER                                                            12701 E MCELROY                                                                        GLENCOE           OK      74032


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LESLIE MILSTEN THORNTON                                            65 BAY DRIVE                                                                            ANNAPOLIS       MD       21403-4512
LESLIE NAEL                                                        11504 LEANING ELM RD                                                                    OKLAHOMA CITY   OK       73120
LESLIE RENNER                                                      13013 BURLINGAME AVE                                                                    OKLAHOMA CITY   OK       73120
LESLIE ROBISON                                                     921 S SPRINGDALE DR                                                                     STILLWATER      OK       74074
LESLIE ROPER                                                       20395 E 910 ROAD                                                                        HAMMON          OK       73650-5022
LESLIE SCHAFROTH SCHANTZ                                           2901 OAK TREE AVE #202                                                                  NORMAN          OK       73072
LESLIE SMITH                                                       705 LOCHNESS LANE                                                                       GARLAND         TX       75044
LESLIE TAYLOR                                                      PO BOX 3                                                                                MERIDAN         OK       73058
LESLIE TAYLOR                                                      2002 E CR 68                                                                            MULHALL         OK       73063
LESLIE VANCE                                                       5617 FARMRIDGE DRIVE                                                                    RALEIGH         NC       27617
LESLIE WEEKS                                                       202 W SPOKE HILL DR                                                                     WIMBERLEY       TX       78676
LESLYE WEAVER                                                      2508 STANMORE                                                                           HOUSTON         TX       77019
Lester Anson                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX       75070
Lester Anson                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK       74104
Lester Anson                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY       10017
Lester Anson                                                       5051 County Road 6050                                                                   Ralston         OK       74650
LESTER BRIDENSTINE                                                 33425 COBALT CIR NW                                                                     CAMBRIDGE       MN       55008-7428
LESTER CLIFFORD BRANCH                                             9 FORREST RD                                                                            GUTHRIE         OK       73044
LESTER COLE                                                        12700 ELLIOTT SPACE 230                                                                 EL MONTE        CA       91731
LESTER DEAN WHISLER TRUST                                          3317 SHADYBROOK DR                                                                      MIDWEST CITY    OK       73110
LESTER HOLBROOK                                                    1611 NORWOOD PL                                                                         NICHOLS HILLS   OK       73120-1211
LESTER LEE ROY FRAZIER                                             18726 E WOOD RD                                                                         DOUGLAS         OK       73733
LESTER ROTHENBAUM                                                  5173 TOSCANA TRAIL                                                                      BOYNTON BEACH   FL       33437
LESTER SKINNER                                                     1300 OLD BUMPY RD                                                                       STILLWATER      OK       74074
LETA GERMAN                                                        6103 E MCELROY RD                                                                       STILLWATER      OK       74075
LETA MAE PYLE                                                      1409 N OAK                                                                              GUTHRIE         OK       73044
LETA SILVEUS                                                       PO BOX 367                                                                              DONNELLY        ID       83615
LETHA ADAMS                                                        1300 E BANNOCK ST                                                                       BOISE           ID       83712
LETHA EVELYN WALTON REV TR                                         10372 OROZCO RD                                                                         SAN DIEGO       CA       92124
LETHA TATE DECEASED                                                313 S W 13TH ST                                                                         ANDREWS         TX       79714
LETHAL JOHNSON                                                     PO BOX 730                                                                              OKMULGEE        OK       74447
LETICIA I BARCHINI LE                                              5017 W 2ND AVE                                                                          STILLWATER      OK       74074-6890
LEUSZLER JOINT REV TRUST                                           6325 N VILLA AVE #128                                                                   OKLAHOMA CITY   OK       73112
LEVA SWIM                                                          110 W SWIM AVE                                                                          STILLWATER      OK       74075
LEVELOPS ENERGY INC                                                2824 PROGRESSIVE DR                                                                     EDMOND          OK       73034
LEVELOPS ENERGY INC                                                PO BOX 2407                                                                             ELK CITY        OK       73648-2407
LEVI & JENNIFER SEVERSON                                           PO Box 2640                                                                             MIDLAND         TX       79702
LEVI AND TRACI HAMILTON HW JT                                      5002 EAST KARA DR                                                                       STILLWATER      OK       74074
LEVI BENSON TRUST                                                  PO BOX 263                                                                              FARGO           OK       73840
Levi Brown                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX       75070
Levi Brown                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK       74104
Levi Brown                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY       10017
Levi Brown                                                         802 N Yukon Ave                                                                         Tulsa           OK       74127
LEVI KLOIBER                                                       510 W 29TH AVE                                                                          STILLWATER      OK       74074-6921
LEVI RAINS                                                         712 BEDFORDSHIRE LN                                                                     BONAIRE         GA       31005
LEVITA UNGER                                                       RR3 BOX 5153                                                                            WESTVILLE       OK       74965
                                                                                                                 9211 Lake Hefner
Lewis Bumpers Jr.               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                c/o Laminack, Pirtle & Martines,
Lewis Bumpers Jr.               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Lewis Bumpers Jr.                                                  1530 E. 56th St. N.                                                                     Tulsa           OK       74126
LEWIS C AND AILEEN HINER JT                                        4919 E LONE CHIMNEY RD                                                                  GLENCOE         OK       74032-1162
LEWIS CLIFTON                                                      1821 KENTUCKY AVE                                                                       ELKHART         IN       46514
LEWIS CRABB                                                        942 BUTTONWOOD DR                                                                       BREA            CA       92821
LEWIS FAMILY TRUST                                                 2238 EVERGREEN STREET                                                                   PAMPA           TX       79065-4006
LEWIS G MARTIN                                                     PO BOX 442                                                                              SAINT JO        TX       76265-0442
LEWIS HARTUNG                                                      2224 S PARK                                                                             SAPULPA         OK       74066
LEWIS HILDEBRAND                                                   507 15TH ST S                                                                           GREAT FALLS     MT       59405-2508
LEWIS KINZIE                                                       PO BOX 486                                                                              PERKINS         OK       74059-0486


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LEWIS KINZIE AND WANDA KINZIE JT                                           PO BOX 486                                                                             PERKINS          OK    74059
LEWIS LAMBERT                                                              304 NW 1261 AVE                                                                        HOLDEN           MO    64040
                                                                                                                         9211 Lake Hefner
Lewis Robinson                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                        c/o Laminack, Pirtle & Martines,
Lewis Robinson                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX   77006
Lewis Robinson                                                             1001 N Cleveland                                                                       Cushing          OK   74023
LEWIS WELDON BEARD                                                         1510 BELMONT ST                                                                        JACKSON          MS   39202
LEWIS WILLIAM NEWMAN II                                                    490 ASHWOOD DRIVE                                                                      BIG BEAR         CA   92314
Lewis, Fred                             c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK   73116
Lewis, George                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK   73116
Lewis, Shea                             c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK   73116
LEXISNEXIS RISK DATA MANAGEMENT INC                                        28330 NETWORK PLACE                                                                    CHICAGO          IL   60673-1283
LEXISNEXIS RISK SOLUTIONS                                                  28330 NETWORK PL                                                                       CHICAGO          IL   60673-1283
LEY 10 LLC                                                                 15829 COLUMBUS MOUNTAIN DR                                                             BROOMFIELD       CO   80023
LEZLIE STACY                                                               2353 NW 160TH                                                                          EDMOND           OK   73013-1477
LF ROONEY III TRUST                                                        PO BOX 54829                                                                           OKLAHOMA CITY    OK   73154
LHB VENTURES LLC                                                           PO BOX 46063                                                                           DENVER           CO   80201-6063
LHS FAMILY LLC                                                             PO Box 56226                                                                           HOUSTON          TX   77256-6226
LIAISON TECHNOLOGY PROFESSIONALS                                           3126 S BLVD., STE. 290                                                                 EDMOND           OK   73013
LIAM PLUNKETT                                                              UNIT 20B, 80 GALBRAITH DR SW                                                           CALGARY          AB   T3E 3H2       CANADA
LIBBY BROWN                                                                1051 N FOREST OAK                                                                      HENDERSON        KY   42420-8943
LIBBY TRUST                                                                15 E 5TH ST PENTHOUSE STE                                                              TULSA            OK   74103-4303
LIBERTY ENERGY HOLDINGS LLC                                                175 BERKLEY ST                                                                         BOSTON           MA   02116

LIBERTY ENERGY LLC                                                         175 BERKELEY STREET MAIL STOP 18H                                                      BOSTON           MA    02116
LIBERTY ENERGY LLC                                                         PO BOX 418109                                                                          BOSTON           MA    02241-8109

LIBERTY LIFT SOLUTIONS LLC                                                 1250 WOOD BRANCH PARK DR STE 250                                                       HOUSTON          TX    77079-1246
Liberty Mutual Fire Insurance Company                                      175 Berkeley Street                                                                    Boston           MA    02116
LIBERTY MUTUAL GROUP                                                       PO BOX 8500                                                                            DOVER            NH    03821-8500
Liberty Mutual Insurance Corporation                                       1775 Lisbon Rd                                                                         Lewiston         ME    04240
LIDDELL INVESTMENTS LLC                                                    14313 N MAY AVE STE 100                                                                OKLAHOMA CITY    OK    73134
LIDE FAMILY INC                                                            PO BOX 55                                                                              WORTHAM          TX    76693
LIESBETH LIND VAN HOOKE                                                    2087 NW OVERTON ST UNIT 302                                                            PORTLAND         OR    97209-1653
LIESBETH LING-VAN HOOKE                                                    2087 NW OVERTON ST UNIT 302                                                            PORTLAND         OR    97209-1653
LIGHT BULB SUPPLY CO INC                                                   629 W HEFNER RD                                                                        OKLAHOMA CITY    OK    73114
LIGHT TOWER RENTALS INC                                                    2330 E I20 SOUTH SERVICE RD                                                            ODESSA           TX    79766
                                                                                                                         9211 Lake Hefner
Lighthouse Christian Center             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                        c/o Laminack, Pirtle & Martines,
Lighthouse Christian Center             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Lighthouse Christian Center                                                400 W Madison St                                                                       Crescent         OK    73028
LIGHTHOUSE OIL AND GAS LP                                                  4005 NW EXPRESSWAY STE 400                                                             OKLAHOMA CITY    OK    73116-1679
LIGHTNING ELIMINATION SYSTEMS LLC                                          29089 KRENTEL RD                                                                       LACOMBE          LA    70445
LIGHTNING HEATING, AIR CONDITIONING                                        PO BOX 1351                                                                            STILLWATER       OK    74076
LILA GOETZ                                                                 RURAL ROUTE 1                                                                          BLUFFTON         AB    T0C 0M0      CANADA
LILA I FARMER TR UAD 4-14-2011                                             3421 N VENICE BLVD                                                                     OKLAHOMA CITY    OK    73112
LILA LAMBERT                                                               507 W WILLIAMS                                                                         BRECKENRIDGE     TX    76424-4315
LILA LONGAN                                                                7114 W 128TH                                                                           PERKINS          OK    74059
LILA MAE MCCUNE LIV TRUST                                                  6118 WEST 158TH ST                                                                     OVERLAND PARK    KS    66223
LILA MILLIGAN                                                              10612 BING DR                                                                          FORT WORTH       TX    76108-4648
                                                                                                                         9211 Lake Hefner
Lila Mitchell                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
Lila Mitchell                           c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles      CA    90017
Lila Mitchell                                                              1508 S Little                                                                          Cushing          OK    74023
                                                                                                                         9211 Lake Hefner
Lilah N. Rockson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120



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                                      c/o Laminack, Pirtle & Martines,
Lilah N. Rockson                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Lilah N. Rockson                                                         6421 Westlane                                                                          Oklahoma City      OK      73142
LILLA VIOLA HIGDON REV TRUST                                             13998 NE NORTH DR                                                                      FLETCHER           OK      73541
LILLIAN DALY GEISZLER                                                    1555 A1A SOUTH APT 47                                                                  ST AUGUSTINE       FL      32080
LILLIAN E STONE ESTATE                                                   338 MITCHELL LAKE LN                                                                   COPPEROPOLIS       CA      95228
                                                                                                                       9211 Lake Hefner
Lillian Hopkins                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Lillian Hopkins                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Lillian Hopkins                                                          2212 N. Main St                                                                        Tulsa              OK      74106
LILLIAN JONES                                                            RT 2 BOX D278                                                                          JONES              OK      73049
LILLIAN SATTERFIELD                                                      334 DECLAIRE WAY                                                                       MARIETTA           GA      30067
LILLIAN SIMPSON TRUST                                                    PO BOX 1196                                                                            OKLAHOMA CITY      OK      73101-1196
LILLIAN WHITE                                                            803 BLACK ST                                                                           POCAHONTAS         AR      72455-2706
LILLIAN WILLIAMS                                                         10570 LES JARDINS DR                                                                   DALLAS             TX      75229
LILLIE BOWMAN                                                            11122 E 19TH AVE                                                                       STILLWATER         OK      74074-7410
LILLIE HOWELL                                                            7534 VAN BUREN AVE E                                                                   PORT ORCHARD       WA      98366
LILLIE STUBBLEFIELD                                                      4321 N CEDAR AVE, APT 121                                                              FRESNO             CA      93726-2704
LILY SHELL                                                               216 COURT ST #2                                                                        BROOKLYN           NY      11201-6710
LIMBOIL LLC                                                              9911 MAMMOTH DRIVE                                                                     HUNTINGTON BEACH   CA      92646

LIME ROCK RESOURCES OPERATING CO IN                                      PO BOX 4853                                                                            HOUSTON            TX      77210-4853
LIMESTONE CREEK, LLC                                                     10508 MERIBEAU                                                                         WICHITA            KS      67212-5951

LIN GORDON-HOOVER & BILL HOOVER REV                                      11132 MURRAY DR                                                                        GUTHRIE            OK      73044

LINBERRY ENERGY INC AS AGENT FOR                                         5950 CEDAR SPRINGS ROAD, SUITE 245                                                     DALLAS             TX      75235-6803
LINCOLN & JACLYN LANGHORST                                               PO Box 2640                                                                            MIDLAND            TX      79702

LINCOLN COUNTY BOARD OF COMMISSIONE                                      811 MANVEL AVE STE 4                                                                   CHANDLER           OK      74834-3800
LINCOLN COUNTY CLERK                                                     PO BOX 126                                                                             CHANDLER           OK      74834-0126
LINCOLN COUNTY PUBLISHING COMPANY I                                      PO BOX 248                                                                             CHANDLER           OK      74834-0248
LINCOLN TRANSPORTATION INC                                               PO BOX 579                                                                             STROUD             OK      74079-0579
LIND INVESTMENTS LLC                                                     1315 FLINTRIDGE AVE                                                                    EUGENE             OR      97401
                                                                                                                       9211 Lake Hefner
Linda Hey                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Linda Hey                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Linda Hey                                                                2541 Victoria Dr                                                                       Choctaw            OK      73020
                                                                                                                       9211 Lake Hefner
Linda Muse                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Linda Muse                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Linda Muse                                                               720 NE Katherine Pl                                                                    Oklahoma City      OK      73114
LINDA AMEY                                                               3203 S WESTPOINT RD                                                                    STILLWATER         OK      74074
LINDA AND ALVIN BAKER                                                    70332 S 210 RD                                                                         WAGONER            OK      74467-6238
LINDA AND GREG MORRIS                                                    4124 S RIPLEY RD                                                                       RIPLEY             OK      74062-6467
LINDA ANN ALLEN                                                          11498 J AVE                                                                            IOWA FALLS         IA      50126-2323
LINDA BARBOUR                                                            716 S 90TH EAST AV #90                                                                 TULSA              OK      74112
LINDA BARROWS                                                            1524 S RIPLEY RD                                                                       RIPLEY             OK      74062-6417
LINDA BASYE                                                              1703 N 12                                                                              PERRY              OK      73077
LINDA BECKER                                                             PO BOX 184                                                                             SLATER             MO      65349-0184
LINDA BENNETT                                                            11601 W HWY 33                                                                         GUTHRIE            OK      73044
LINDA BENTLEY                                                            837 W FRANKLIN LN                                                                      STILLWATER         OK      74075-3313
LINDA BIGGAR VANDERVELDE                                                 75 W 12TH ST                                                                           HOLLAND            MI      49473
LINDA BISHOP                                                             22655 F STREET                                                                         SANTA MARGARITA    CA      93453
LINDA BOWLES JOHNSON                                                     11900 BROOKWOOD CIRCLE                                                                 AUSTIN             TX      78750
LINDA BOYLES                                                             2950 2ND AVE W                                                                         BUFFALO            WY      82834-9445


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LINDA BRADSHAW                                                           10575 S DUNES RD                                                                       MOHAVE VALLEY   AZ       86440-9613
LINDA BROADRICK KUC                                                      4320 CR 223                                                                            FLORENCE        TX       76527
LINDA BRYCE                                                              46 ROCK LN                                                                             SAND SPRINGS    OK       74063-8571
LINDA BULLER                                                             913 WOODLAWN HEIGHTS RD                                                                DERBY           KS       67037
LINDA C LUTE REV TR                                                      1107 REMINGTON CRT                                                                     ENID            OK       73703
LINDA CAMERON                                                            1124 E NOBLE                                                                           GUTHRIE         OK       73044
LINDA CAMPBELL                                                           PO BOX 353                                                                             CRESCENT        OK       73028
LINDA CAPERTON                                                           2033 N VEGA CT                                                                         HOBBS           NM       88240-3447
LINDA CAROL RUMMAGE                                                      4701 WOODVIEW DRIVE                                                                    DEL CITY        OK       73115
LINDA CHESNUTT                                                           708 LISA ST                                                                            PALMDALE        CA       93551
LINDA CHILDERS MCGAVRAN                                                  2515 VIA MARINA                                                                        NEWPORT BEACH   CA       92660
LINDA CLAIR                                                              4810 E VFW RD                                                                          GLENCOE         OK       74032
LINDA CLINE                                                              9300 S CHAR LIN RANCH RD                                                               CUSHING         OK       74023-8959
LINDA CLOUD                                                              3203 CASTLEROCK RD                                                                     OKLAHOMA CITY   OK       73120
LINDA COOPER                                                             6209 WOODCREEK CT                                                                      OKLAHOMA CITY   OK       73122-7051
LINDA COOPER                                                             3040 E. Peachtree Avenue                                                               STILLWATER      OK       74074
LINDA CRABB                                                              3907 98TH ST                                                                           URBANDALE       IA       50322
LINDA CUTCHALL                                                           1001 BAPTIST VILLAGE DR UNIT D11                                                       CLEVELAND       OK       74020-9682

LINDA D EILAND LIVING TRUST                                              5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX       75070
LINDA DAVENPORT                                                          586 SE COUNTY ROAD 1070                                                                CORSICANA       TX       75109-9601
                                                                                                                       9211 Lake Hefner
Linda Davidson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
Linda Davidson                        c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles     CA       90017
Linda Davidson                                                           622 E Brissy St                                                                        Cushing         OK       74023
LINDA DAY NEWTON                                                         130 SHORTLANE                                                                          TREZEVANT       TN       38258
LINDA DEMOSS GALLAGHER                                                   788 TURTLENECK LOOP                                                                    WINNSBORO       LA       71295
LINDA DIANE SHINGLETON                                                   4514 E 122ND ST                                                                        PERKINS         OK       74059-3764
LINDA DIXON                                                              227 BOULEVARD DU LAC                                                                   NORMAN          OK       73071-4144
LINDA DOSS                                                               PO BOX 13                                                                              STILLWATER      OK       74076-0013
LINDA DOTTER                                                             209 E 50TH AVE                                                                         STILLWATER      OK       74074-7580
                                                                                                                       9211 Lake Hefner
Linda Drew                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Linda Drew                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Linda Drew                                                               6967 E. 17th St.                                                                       Tulsa           OK       74112
                                                                                                                       9211 Lake Hefner
Linda Dundee                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Linda Dundee                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Linda Dundee                                                             4377 S. Yale                                                                           Tulsa           OK       74135
LINDA EDWARDS                                                            5520 S BLACKWELDER AVE                                                                 OKLAHOMA CITY   OK       73119-6232
LINDA ELLIOTT                                                            6770 TAHITI DRIVE                                                                      CYPRESS         CA       90630
LINDA EVANS                                                              386 RYAN REAGAN RD                                                                     YARRAMAN                              AUSTRALIA
LINDA FARRALL                                                            2924 S BLACKOAK DR                                                                     STILLWATER      OK       74074
LINDA FERRELL                                                            3117 S AVOCADO ST                                                                      VISALIA         CA       93277-8835
LINDA FICK                                                               790273 S 3460 ROAD                                                                     AGRA            OK       74824
LINDA FLEMING                                                            2615 MARY BETH DR                                                                      LOVELAND        CO       80537
LINDA G AUSTIN PERSONAL REP                                              106 MASON MANOR LANE #12                                                               MASON           TN       38049
LINDA G PAGE JEFFREY DALE BOND TRUS                                      918 N MOCCASIN ST                                                                      SAPULPA         OK       74066-2516
                                                                                                                       9211 Lake Hefner
Linda G. Davis                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Linda G. Davis                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Linda G. Davis                                                           1120 Babek St.                                                                         Prague          OK       74864
LINDA GAIL RAPIER                                                        PO Box 414                                                                             RINGLING        OK       74075
LINDA GAYLE KLOS FAMILY TRUST                                            5715 N WESTERN AVE STE C                                                               OKLAHOMA CITY   OK       73132
LINDA GREER                                                              10724 E LADDIE DR                                                                      MABELVALE       AR       72103-3102
LINDA GRISIER                                                            1143 S 35TH ST                                                                         TACOMA          WA       98418-4010


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LINDA HAAS                                                               24268 E 1037 RD                                                                         WEATHERFORD     OK      73096
LINDA HAMEL                                                              373 WINDSOR RD                                                                          MIDWEST CITY    OK      73130
LINDA HANCOCK                                                            115 E 11TH AVE                                                                          STILLWATER      OK      74074
LINDA HANN                                                               1390 DEL RIO RD                                                                         ROSEBURG        OR      97471-9527
LINDA HARE                                                               2607 WOLFLIN AVE                                                                        AMARILLO        TX      79109
LINDA HARRIS                                                             340092 EAST 1000 RD                                                                     MEEKER          OK      74855
LINDA HARRIS                                                             2201 N GLENWOOD DR                                                                      STILLWATER      OK      74075
LINDA HARWOOD                                                            89049 SUNNY LOOP LANE                                                                   BANDON          OR      97411
LINDA HATTER                                                             9405 W 140TH ST                                                                         COYLE           OK      73027-3303
Linda Hazlip                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Linda Hazlip                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Linda Hazlip                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Linda Hazlip                                                             42629 S. 34200 Rd                                                                       Pawnee          OK      74058
LINDA HEMBREE                                                            6743 E 66TH PLACE                                                                       TULSA           OK      74133

LINDA HENDERSON APMAN TRST UWO LIND                                      5909 EAST RICHMOND ROAD                                                                 GLENCOE         OK      74032
LINDA HODGDEN                                                            7477 BASKET CT                                                                          KINGSTON        OK      73439-9598
LINDA HORGER CLARK                                                       33515 HALEY RD                                                                          WALLER          TX      77484
LINDA HOVIS                                                              85 CHELSEA AVE                                                                          NAPA            CA      94558-5736
LINDA HUBBARD                                                            1408 DORCHESTER DR                                                                      NORMAN          OK      73069
LINDA HUDSON                                                             11637 W 86TH ST S                                                                       SAPULPA         OK      74066-8130
LINDA HUFFMAN                                                            2225 N SANGRE RD                                                                        STILLWATER      OK      74075
LINDA HUGHES                                                             3422 W 29TH AVE                                                                         STILLWATER      OK      74074-6972
LINDA HUNT PETERSON                                                      3804 NW 61ST ST                                                                         OKLAHOMA CITY   OK      73112-1414
LINDA IRENE GLICK                                                        10501 LOUDERMILK CIR                                                                    ANCHORAGE       AK      99507
LINDA JACKSON                                                            2795 COUNTY STREET 2757                                                                 CEMENT          OK      73017-9219
LINDA JACKSON                                                            706 E MERAMEC LN                                                                        NIXA            MO      65714-8162
LINDA JAMES                                                              3424 S ATLANTA PL                                                                       TULSA           OK      74105-2825
LINDA JANE BALL                                                          1122 SANTA FE RD                                                                        HOBBS           NM      88242
LINDA JEAN KNOTT                                                         204 MAGNOLIA DRIVE                                                                      NEW ALBANY      MS      38652
LINDA JEAN MADDUX                                                        917 FREESTONE DR                                                                        ARLINGTON       TX      76017
LINDA JO VASSAR                                                          PO BOX 180                                                                              JEMEZ SPRINGS   NM      87025-0180
LINDA JOHNSON                                                            88 S 2050 E                                                                             LAYTON          UT      84040
LINDA JUDKINS                                                            27241 PAULA LANE                                                                        CONROE          TX      77385
                                                                                                                       9211 Lake Hefner
Linda K. Foster                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Linda K. Foster                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Linda K. Foster                                                          8219 NW 87th St                                                                         Oklahoma City   OK      73132
LINDA KATHRYN FANCHER                                                    1308 BURGANDY COURT                                                                     SOUTHLAKE       TX      76092
LINDA KAY BERGER REV TR DTD 10-10-2                                      8811 E 77TH ST                                                                          TULSA           OK      74133
LINDA KAY JONES                                                          PO BOX 309                                                                              CARNEY          OK      74832
LINDA KAY MONTGOMERY                                                     PO BOX 420                                                                              BOKEELIA        FL      33922
LINDA KAY NAYLOR                                                         10407 FAIRLONG TRAIL                                                                    SAN ANTONIO     TX      78254
LINDA KAYE                                                               3021 SW BRADFORD ST                                                                     SEATTLE         WA      98126-2574
LINDA KAYE THOMPSON                                                      9 NORTHCASTLE COURT                                                                     CONROE          TX      77384-4722
LINDA KEARY                                                              5439 EAST 114TH PLACE                                                                   THORNTON        CO      80233-2819
LINDA KHATIB                                                             1525 CHURCH STREET                                                                      EDMOND          OK      73034
LINDA KNIGHT                                                             10 INDUSTRIAL DR                                                                        WARD            AR      72176-9300
LINDA KRICK                                                              PO BOX 36                                                                               MARSHALL        OK      73056
LINDA KROLL                                                              PO BOX 835                                                                              PERRY           OK      73077
LINDA L DEAVER TTEE                                                      2201 E 56TH ST                                                                          STILLWATER      OK      74074

LINDA L SAGASTUME IRA ACCT NO 13418                                      5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
LINDA L TARVER LE                                                        215 S BRETHREN RD                                                                       CUSHING         OK      74023-6093
                                                                                                                       9211 Lake Hefner
Linda L. Parker                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Linda L. Parker                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006


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                CreditorName           CreditorNoticeName                             Address1                        Address2                  Address3                City    State       Zip      Country
Linda L. Parker                                                    7011 E. 166th St. N.                                                                    Collinsville        OK       74021
LINDA LAFOLLETTE                                                   3824 WINDSOR CASTLE BLVD                                                                MILTON              FL       32583
LINDA LEE SHAFER                                                   PO BOX 63                                                                               MARSHALL            OK       73056
LINDA LEGARE                                                       10690 NE 100TH LN                                                                       ARCHER              FL       32618-7112
LINDA LESCAULT                                                     12408 POMFRET CT                                                                        MIDLOTHIAN          VA       23114
LINDA LOMBARDO                                                     1865 WHITE ST                                                                           DES PLAINES         IL       60018-2339
LINDA LORAINE PETREE BLACKMAN                                      2039 SPAULDING CT                                                                       WEST DUNDEE         IL       60118
LINDA LOU HARRISON                                                 201 BARCLAY AVE APT 7                                                                   WHARTON             TX       77488-2861
LINDA LOUISE STUMPFF                                               502 RESIMONT DRIVE                                                                      RUSSELLVILLE        AR       72801-6950
LINDA LOVELL                                                       2808 N RIPLEY RD                                                                        STILLWATER          OK       74075
LINDA LOVELL                                                       PO BOX 1271                                                                             STILLWATER          OK       74076
Linda Luallen                   c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX       75070
Linda Luallen                   c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa               OK       74104
Linda Luallen                   c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY       10017
Linda Luallen                                                      1208 E Cherry                                                                           Cushing             OK       74023
LINDA LUTE                                                         1107 REMINGTON CT                                                                       ENID                OK       73703
LINDA M HUNT                                                       PO BOX 343                                                                              WOODLAND PARK       CO       80866
LINDA M HUXTABLE                                                   2336 REBECCA CT                                                                         ROCKLIN             CA       95765

LINDA M LOWE                                                       5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY            TX       75070
                                                                                                                 9211 Lake Hefner
Linda M. Bruce                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK       73120
                                c/o Laminack, Pirtle & Martines,
Linda M. Bruce                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX       77006
Linda M. Bruce                                                     1225 NW 83rd St                                                                         Oklahoma City       OK       73114
LINDA MAGETTE                                                      6616 NW 25TH ST                                                                         BETHANY             OK       73008-4712
LINDA MANNING                                                      604 N CREEK AVE                                                                         DRUMRIGHT           OK       74030
LINDA MARGARET METSCHER DUDEK                                      402 HOLLY AVENUE                                                                        YUKON               OK       73099
LINDA MARIE HAYDEN                                                 PO BOX 68                                                                               HUMBLE              TX       77396
LINDA MCCUNE LOWE                                                  13216 W DONIMO DRIVE                                                                    PEORIA              AZ       85383
LINDA MCKINZY                                                      195300 N 4270 RD                                                                        ANTLERS             OK       74523
                                                                                                                 9211 Lake Hefner
Linda McPheters                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK       73120
Linda McPheters                 c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles         CA       90017
Linda McPheters                                                    110 E Vine                                                                              Cushing             OK       74023
LINDA MCSHARRY                                                     3800 EL CAMINO AVE                                                                      LAS VEGAS           NV       89102
LINDA MENCHACA                                                     8540 ROLLING ACRES TRAIL                                                                FAIR OAKS RANCH     TX       78015
LINDA MESHISHNEK                                                   2324 6TH ST                                                                             LEWISTON            ID       83501
LINDA METCALF                                                      8315 E 86TH ST                                                                          PERKINS             OK       74059-3803
LINDA MICHIE                                                       191 GUINEA ROAD                                                                         BIDDEFORD           ME       04005
LINDA MOCK                                                         11614 VALLETTA AVE                                                                      BAKERSFIELD         CA       93312-6445
LINDA MURPHY                                                       PO BOX 820                                                                              HENDERSON           TX       75653-0820
LINDA N JONES                                                      9804 GEORGIA AVE                                                                        OKLAHOMA CITY       OK       73120-4028
LINDA NEALIS                                                       PO BOX 1143                                                                             GUTHRIE             OK       73044
LINDA NESBETT                                                      700 S GRANADA DR #158                                                                   MADERA              CA       93637
LINDA NEVIN                                                        5008 SUNSUITE TRL                                                                       COLORADO SPRINGS    CO       80917-2682
LINDA NICHOLS                                                      101 S 7TH ST                                                                            RUSH SPRINGS        OK       73082
LINDA NIELSEN                                                      3210 LAZY LAKE LN                                                                       MONTGOMERY          TX       77355
LINDA PACK                                                         251 OLIVE BRANCH ROAD                                                                   BERTRAM             TX       78605
LINDA PAGE                                                         12402 S 16TH ST                                                                         JENKS               OK       74037-3691
LINDA PALKOWSKI                                                    1129 SOUTH TAMARACK AVE                                                                 BROKEN ARROW        OK       74012
LINDA PENDERGRASS                                                  1408 N 22ND ST                                                                          SAINT JOSEPH        MO       64506-2615
LINDA PRATER                                                       PO BOX 82                                                                               MULHALL             OK       73063
LINDA PYLE                                                         4209 CRAVENS POINT RD                                                                   WILMINGTON          NC       28409
LINDA R ROARK                                                      6529 TURNBERRY DR                                                                       FORT WORTH          TX       79132
LINDA RACER                                                        8182 E 640 RD                                                                           HENNESSEY           OK       73742
LINDA RACHEL                                                       5213 N SAPULPA AVE                                                                      OKLAHOMA CITY       OK       73112-2037
LINDA RAE MASON                                                    805 E 5TH                                                                               CUSHING             OK       74023
LINDA REIS                                                         2287 E 39TH ST                                                                          TULSA               OK       74105


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               CreditorName                  CreditorNoticeName                             Address1                        Address2                  Address3            City          State       Zip      Country
LINDA REYNOLDS                                                           12304 AUDANE DR                                                                         AUSTIN                 TX      78727-5749
LINDA RICE PRICE REV LIVING TRUST                                        1903 ROLLING STONE DR                                                                   NORMAN                 OK      73071
LINDA RICHARDSON                                                         708 SOUTH MAIN                                                                          HENNESSEY              OK      73742
LINDA S. HOLLAND                                                         6000 SAND HILL CT                                                                       NORMAN                 OK      73026
LINDA SANDERS                                                            PO BOX 665                                                                              PERKINS                OK      74059
LINDA SCHAFFER                                                           7802 W 11TH ST                                                                          GREELEY                CO      80634
LINDA SHARP                                                              3400 LAGUNA ST                                                                          SAN FRANCISCO          CA      94123
LINDA SHIPPY                                                             3575 DEMORAY DR                                                                         GRANTS PASS            OR      97527
LINDA SHIRLEY                                                            1316 APACHE DR                                                                          RICHARDSON             TX      75080
Linda Shook                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas                 TX      75070
Linda Shook                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa                  OK      74104
Linda Shook                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York               NY      10017
Linda Shook                                                              56548 S. 37010 Rd                                                                       Terlton                OK      74081
LINDA SISCO                                                              PO BOX 484                                                                              JAMESTOWN              CA      95327
LINDA SKINNER                                                            7714 MARQUETTE STREET                                                                   DALLAS                 TX      75225
LINDA SMITH                                                              11532 PLUM THICKET PL                                                                   OKLAHOMA CITY          OK      73162
LINDA SMITH                                                              3715 S HUSBAND ST                                                                       STILLWATER             OK      74074
LINDA SMYTH TRUST DTD 11-2-2009                                          7220 SOUTH GARY AVENUE                                                                  TULSA                  OK      74136
LINDA SNAVELY                                                            PO BOX 216                                                                              RIPLEY                 OK      74062-0216
LINDA STEGALL                                                            2000 WOODLAWN AVE APT H2                                                                GUTHRIE                OK      73044
LINDA STEWART                                                            2006 POPE ST                                                                            MONROE                 LA      71201
LINDA STUBBLEFIELD-PIEDRA                                                9400 E ILIFF AVE APT 212                                                                DENVER                 CO      80231-3487
LINDA SUE KIRBY                                                          9532 GRANITE RIDGE DR NW                                                                ALBUQUERQUE            NM      87114
LINDA SUE PAYNE                                                          6363 W CAMP WISDOM RD #1014                                                             DALLAS                 TX      75236
LINDA SUE QUALLS REV TRUST                                               7014 E 79TH                                                                             TULSA                  OK      74133
LINDA SUE SCHAFFER                                                       702 W 11TH STREET                                                                       GREELEY                CO      80634-8859
LINDA SUE WRAY LIFE ESTATE                                               1115 VIRGINIA LANE                                                                      ELK CITY               OK      73644
LINDA SUIRE                                                              158 COUNTY ROAD 7813                                                                    NATALIA                TX      78059-2054
LINDA TARVER                                                             215 S BRETHREN RD                                                                       CUSHING                OK      74023-6093
LINDA THOMAS                                                             311 E AUDENE DR                                                                         STILLWATER             OK      74075-1606
LINDA TITUS                                                              1335 WINDSOR RD                                                                         MECHANICSBURG          PA      17050-6625
LINDA TODD                                                               729 W 8TH ST                                                                            WESLACO                TX      78596-6813
LINDA TOLSON URICH                                                       291 SE 120TH AVE                                                                        LAREDO                 MO      64652

LINDA TROUT                                                              5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY               TX      75070
LINDA TROWBRIDGE                                                         421 N SYCAMORE                                                                          OTTAWA                 KS      66067
LINDA TRUE                                                               18825 S HARRAH RD                                                                       NEWALLA                OK      74857
LINDA WALTERS                                                            104586 S 4510 RD                                                                        VIAN                   OK      74962
LINDA WASILCHICK                                                         135 E MARTHART AVE                                                                      HAVERTOWN              PA      19083-2412
LINDA WEBBER                                                             4527 CHAMBERLAIN WAY                                                                    CANYON LAKE            TX      78133
LINDA WIGINTON & KEITH WIGINTON,TRU                                      11 AREA A LAKE HUMPHREY                                                                 MARLOW                 OK      73055
LINDA WILKINSON                                                          14818 S 52ND E AV                                                                       BIXBY                  OK      74008
LINDA WILLIAMS                                                           6506 E LAKEVIEW RD                                                                      STILLWATER             OK      74075

LINDA WILSON                                                             7800 MOCKINGBIRD LANE #115                                                              NORTH RICHLAND HILLS   TX      76180
LINDA WOOD                                                               13606 E 44TH ST                                                                         RIPLEY                 OK      74062-0361
LINDA WOOD                                                               908 S 73RD E AVE                                                                        TULSA                  OK      74112
LINDA WOODRUFF                                                           703 JOHNSON                                                                             FAIRMONT               OK      73736
LINDA WYLIE                                                              PO BOX 206                                                                              BINGER                 OK      73009-0206
LINDA YANOSIK                                                            6730 BLUE HILLS RD                                                                      HOUSTON                TX      77069
LINDA YEOMANS                                                            141 FOOTHILL DR                                                                         HENDERSONVILLE         NC      28792-9225
                                                                                                                       9211 Lake Hefner
Linda Browning                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City          OK      73120
                                      c/o Laminack, Pirtle & Martines,
Linda Browning                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston                TX      77006
Linda Browning                                                           103 5th St                                                                              Wellston               OK      74881
                                                                                                                       9211 Lake Hefner
Linda Crawford                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City          OK      73120



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                                     c/o Laminack, Pirtle & Martines,
Linda Crawford                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Linda Crawford                                                          330838 E. Hidden Oaks Rd                                                               Wellston          OK      74881
                                                                                                                      9211 Lake Hefner
Linda Harting                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Linda Harting                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Linda Harting                                                           14782 NE 63rd St                                                                       Choctaw           OK      73020
                                                                                                                      9211 Lake Hefner
Linda Haskell                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Linda Haskell                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Linda Haskell                                                           19516 Newsom Rd                                                                        Newalla           OK      74857
                                                                                                                      9211 Lake Hefner
Linda Lavender                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Linda Lavender                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Linda Lavender                                                          10150 Stone Gate Way                                                                   Arcadia           OK      73007
                                                                                                                      9211 Lake Hefner
Linda Lewis                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Linda Lewis                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Linda Lewis                                                             3125 Del Rancho Dr                                                                     Del City          OK      73115
                                                                                                                      9211 Lake Hefner
Linda Miller                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Linda Miller                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Linda Miller                                                            990219 S. 3310 Rd                                                                      Wellston          OK      74881
                                                                                                                      9211 Lake Hefner
Linda Newton                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Linda Newton                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Linda Newton                                                            750498 S. 3490 Rd                                                                      Cushing           OK      74023
                                                                                                                      9211 Lake Hefner
Linda Royal                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Linda Royal                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Linda Royal                                                             3405 Simmons Dr                                                                        Del City          OK      73115
LINDBERG J SHANBOUR REV TRUST                                           1502 DUFFNER DR                                                                        OKLAHOMA CITY     OK      73118
LINDELL DORSETT                                                         1900 EDGEWATER DRIVE                                                                   MOUNT DORA        FL      32757
LINDEN A BAKER                                                          4302 DRIFTWOOD                                                                         ENID              OK      73703
LINDERER FAMILY TRUST                                                   2575 LEISURE WORLD                                                                     MESA              AZ      85206
LINDLEY SPEERS                                                          375 HOLLAND HILL RD                                                                    PUTNEY            VT      05346
LINDSAY JO ROSS                                                         2518 SOUTH WINSTON AVE                                                                 TULSA             OK      74114
LINDSAY PROD & ROYALTIES LTD                                            PO BOX 1609                                                                            FREDERICKSBURG    TX      78624
LINDSAY ROCHELLE WARE                                                   PO BOX 5                                                                               MARAMEC           OK      74045
LINDSEY K HENNINGSEN                                                    2548 NW 179TH STREET                                                                   EDMOND            OK      73012
LINDSEY SCHNIEDERS                                                      5717 E 20TH ST N                                                                       WICHITA           KS      67208
LINDSEY YOUNG                                                           2202 S BOSTON AVE APT 134                                                              TULSA             OK      74114
LINDY-ALLEN INVESTMENTS LLC                                             4301 FORD RD N                                                                         MT VERNON         IN      47620
LINEBERRY LLC                                                           2529 MYRA PLACE NE                                                                     ALBUQUERQUE       NM      87112
LINFORD REAL PITTS TRUST                                                PO BOX 223                                                                             STILLWATER        OK      74076-0223

LINKLATERS LLP                                                          1345 AVENUE OF THE AMERICAS FL 21                                                      NEW YORK          NY      10105-0199
LINN ENERGY HOLDINGS LLC                                                600 TRAVIS ST SUITE 5100                                                               HOUSTON           TX      77002
LINN ENERGY MIDCONTNT HOLDINGS LLC                                      PO BOX 4890                                                                            HOUSTON           TX      77210-4890
LINN LOYD LeGRANT & JEANNETE                                            134 APPALACHIAN TRAIL                                                                  NEW BRAUNFELS     TX      78132
LINN OPERATING INC                                                      600 TRAVIS ST STE 5100                                                                 HOUSTON           TX      77002-3092
LINNEA TEMPLIN                                                          15262 HANGING TREE RD                                                                  TERRELL           TX      75160


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               CreditorName               CreditorNoticeName                         Address1                             Address2                 Address3              City   State       Zip      Country
LINNIE DILLER                                                          3991 HWY 175                                                                           PLEASANT HILL     LA      71065
LIO PROPERTIES                                                         PO BOX 35471                                                                           TULSA             OK      74153
LION WELL SERVICE LLC                                                  1102 TEAL RIDGE ROAD                                                                   KINGFISHER        OK      73750
LIONEL HARRIS                                                          PO BOX 289                                                                             CUSHING           OK      74023-0289
LIONHEART RESOURCES INC                                                3000 EAST 2ND STREET                                                                   Long Beach        CA      75225
LIPPERT BROS INC                                                       PO BOX 17450                                                                           OKLAHOMA CITY     OK      73136-1450
LIQUID MUD CO., LLC                                                    3525 NW 174TH STREET                                                                   EDMOND            OK      73012
                                                                                                                     9211 Lake Hefner
Lisa Birdwell                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                    c/o Laminack, Pirtle & Martines,
Lisa Birdwell                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Lisa Birdwell                                                          4802 Wood Dale Ave                                                                     Norman            OK      73026
                                                                                                                     9211 Lake Hefner
Lisa Lewis                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                    c/o Laminack, Pirtle & Martines,
Lisa Lewis                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Lisa Lewis                                                             2013 Sunset Dr                                                                         Moore             OK      73160
                                                                                                                     9211 Lake Hefner
Lisa Shoopman                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                    c/o Laminack, Pirtle & Martines,
Lisa Shoopman                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Lisa Shoopman                                                          516 N. Ford Ave                                                                        Stroud            OK      74079
                                                                                                                     9211 Lake Hefner
Lisa Stafford                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                    c/o Laminack, Pirtle & Martines,
Lisa Stafford                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Lisa Stafford                                                          1605 Eagle Nest Dr                                                                     Norman            OK      73071
                                                                                                                     9211 Lake Hefner
Lisa Wolf                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                    c/o Laminack, Pirtle & Martines,
Lisa Wolf                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Lisa Wolf                                                              6325 168th St                                                                          Noble             OK      73068
LISA ABEL                                                              1758 NW KINGWOOD PL                                                                    REDMOND           OR      97756-7773
LISA ALVAREZ                                                           5303 NORTHVIEW DR                                                                      WICHITA FALLS     TX      76306-1457
LISA ANN McBRYDE                                                       4819 3 84TH STREET                                                                     TULSA             OK      74137
LISA BALLARD                                                           10321 SE 160TH ST                                                                      OKLAHOMA CITY     OK      73165-7023
LISA CALHOUN                                                           9401 E 112TH PL S                                                                      BIXBY             OK      74008
LISA CALVERT                                                           4407 7TH STREET                                                                        LUBBOCK           TX      79416
LISA CALVERT                                                           1573 SW CAPRI CRT                                                                      PULLMAN           WA      99163
LISA CLARKE                                                            2157 E SAM MICHEL DR UNIT B                                                            COSTA MESA        CA      92627
LISA CUNDIFF                                                           8616 S LOST CREEK LN                                                                   PERKINS           OK      74059
LISA D TAYLOR                                                          2526 FOREST AVE                                                                        GREAT BEND        KS      67530
                                                                                                                     9211 Lake Hefner
Lisa Dixon                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                    c/o Laminack, Pirtle & Martines,
Lisa Dixon                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Lisa Dixon                                                             2516 W. Broadway St                                                                    Broken Arrow      OK      74012
LISA DONENE STOCKTON AND CHRYSTAL                                      730 LOVERS LN APT 209                                                                  PERKINS           OK      74059-5904
LISA DOYLE                                                             2244 EAST 25TH PLACE                                                                   TULSA             OK      74114
LISA GALLERY                                                           6417 W MAIN ST                                                                         CUSHING           OK      74023-5620
LISA GARVICH                                                           311 S 1ST ST                                                                           CHELAN            WA      98816
LISA GAY CLINE                                                         PO BOX 502                                                                             NORWOOD           CO      81423
LISA GOBLE                                                             PO BOX 134                                                                             MULHALL           OK      73063
                                                                                                                     10205 North
Lisa Griggs                         c/o Federman & Sherwood            Attn: William B Federman                      Pennslyvania Ave                         Oklahoma City     OK      73120
Lisa Griggs                         c/o Poynter Law Group              Attn: Scott E Poynter                         400 W Capitol Ave    Ste. 2910           Little Rock       AR      72201
                                    c/o Steel, Wright, Gray &
Lisa Griggs                         Hutchinson                         Attn: Nate Steel                              400 W Capitol Ave    Ste. 2910           Little Rock       AR      72201
Lisa Griggs                         c/o Weitz & Luxenberg, PC          Attn: Curt D Marshall                         700 Broadway                             New York          NY      10003


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Lisa Griggs                                                          5705 S. Coltrane Rd                                                                    Guthrie         OK      73044
LISA GROVES RYAN                                                     1512 EASTWICK LANE                                                                     PLANO           TX      75093
LISA HAM REIRDON                                                     1616 DREXEL DR                                                                         IRVING          TX      75061
LISA HANNAH                                                          2804 COUNTRY CLUB DRIVE                                                                CHICKASHA       OK      73018
LISA HARSHMAN                                                        22041 SWITZER RD                                                                       BUCYRUS         KS      66013-9244
LISA HATTON                                                          1459 E GATE WAY                                                                        PLEASANTON      CA      94566
LISA HOOD                                                            5900 S LAKE FOREST DR STE 300                                                          MCKINNEY        TX      75070
LISA JAN MCARTHUR                                                    206 S CHARLES DR                                                                       STILLWATER      OK      74074-6799
LISA JENKINS                                                         2831 ELLISON PL                                                                        BOULDER         CO      80304
LISA JO JOHNSON                                                      277 LAPP LANE                                                                          ROSEBURG        OR      97471
LISA JOHNSON                                                         PO BOX 30683                                                                           AMARILLO        TX      79120-0683
LISA JONES                                                           2400 HIGHLANDS LANDING                                                                 EDMOND          OK      73013
                                                                                                                   9211 Lake Hefner
Lisa K. Bean                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                  c/o Laminack, Pirtle & Martines,
Lisa K. Bean                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Lisa K. Bean                                                         15150 Land of Faith Rd                                                                 Crescent        OK      73028
LISA KAY VANNOY                                                      1909 OXFORD ST                                                                         EDMOND          OK      73013
LISA L CLARK                                                         PO BOX 461322                                                                          SAN ANTONIO     TX      78246
LISA LAMBERT                                                         2824 S SANGRE RD                                                                       STILLWATER      OK      74074
LISA LATIGO                                                          721 EASTRIDGE DR #1014                                                                 MIDLOTHIAN      TX      76065
LISA LILLY                                                           508 EAST ADAMS STREET                                                                  O FALLON        IL      62269
LISA LINCOLN                                                         PO BOX 960                                                                             PERKINS         OK      74059-0960
LISA LYNN JANES TTEE                                                 7751 E SORGHUM MILL RD                                                                 EDMOND          OK      73034
LISA M GROVER APPLEGATE                                              1941 N VULCAN                                                                          ENCINTAS        CA      92024
                                                                                                                   9211 Lake Hefner
Lisa Michelle Brown               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                  c/o Laminack, Pirtle & Martines,
Lisa Michelle Brown               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Lisa Michelle Brown                                                  343756 E. 750 Rd                                                                       Agra            OK      74824
LISA NELSON                                                          3021 SHADYBROOK DR                                                                     MIDWEST CITY    OK      73110-4132

LISA NEMEROFF                                                        1000 NORTH LAKE SHORE DR, STE. 2104                                                    CHICAGO         IL      60611
LISA REAVES                                                          320 TEXAS ST                                                                           WOODWARD        OK      73801
LISA ROBIN HENSLEY & MARC UDELL                                      316 Colby Lance ST                                                                     STILLWATER      OK      74074
LISA ROCK                                                            2813 COUNTRYSIDE TRAIL                                                                 KELLER          TX      76248-8309

LISA S WILSON                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
LISA SHANNAN HILL                                                    259 N. MORGAN AVENUE                                                                   BLANCHARD       OK      73010
LISA TEAHON                                                          9451 S POST RD                                                                         GUTHRIE         OK      73044
LISA W HEFFERNON                                                     10312 A ALPHA AVENUE                                                                   MESA            AZ      85212
Lisa West                         c/o Edward L White PC              Attn: Kerry D Green & Edward L White          829 E 33rd St                            Edmond          OK      73013
                                  c/o Maples, Nix & Diesselhorst
Lisa West                         PLLC                               Attn: Ray Maples                              15401 N. May Ave                         Edmond          OK      73103
Lisa West                         c/o Munson & McMillin              Attn: April B Eberle                          247 N Broadway                           Edmond          OK      73034
Lisa West                                                            4 Fairview Ln                                                                          Shawnee         OK      74804
                                                                                                                   9211 Lake Hefner
Lisa Ball                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                  c/o Laminack, Pirtle & Martines,
Lisa Ball                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Lisa Ball                                                            6512 SE 57th                                                                           Oklahoma City   OK      73135
                                                                                                                   9211 Lake Hefner
Lisa D'Andrea                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                  c/o Laminack, Pirtle & Martines,
Lisa D'Andrea                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Lisa D'Andrea                                                        2708 Dogwood Dr                                                                        Edmond          OK      73013
LISBETH NOBLE                                                        733 W 38TH ST                                                                          SAND SPRINGS    OK      74063
LISE MACHADO                                                         19 BLOCH TERRACE                                                                       LAKE OSWEGO     OR      97035
LISHBERG PETROLEUM INC                                               51462 CAMPFIRE RD                                                                      JERUSALEM       OH      43747-9747


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               CreditorName             CreditorNoticeName                         Address1                             Address2                 Address3           City    State       Zip      Country
LITA MALONE                                                          1834 W 12TH ST                                                                         PORT ANGELES    WA      98363
LITTLE ACRES RANCH & RODEO                                           8995 S 4090 ROAD                                                                       TALALA          OK      74080-5001
LITTLE BURRO INVESTMENTS LLC                                         2741 7750 RD                                                                           CRAWFORD        CO      81415
LITTLE RIVER ENERGY COMPANY                                          PO BOX 1113                                                                            DRUMRIGHT       OK      74030
                                                                                                                   9211 Lake Hefner
Liz Ingram                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                  c/o Laminack, Pirtle & Martines,
Liz Ingram                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Liz Ingram                                                           12418 S. 101st East Ave                                                                Bixby           OK      74008
                                                                                                                   9211 Lake Hefner
Lizzie Parker                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                  c/o Laminack, Pirtle & Martines,
Lizzie Parker                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Lizzie Parker                                                        237 E. Young Pl                                                                        Tulsa           OK      74106
Lizzie Parker                                                        219 W. Victoria St. N.                                                                 Tulsa           OK      74106
LIZZY LLC                                                            35520 SR 537                                                                           GRAYSVILLE      OH      45734
LJ TOTH ENTERPRISES LLC                                              10398 CHILLICOTHE RD                                                                   KIRKLAND        OH      44084
LLB DEVELOPMENT INC                                                  5314 WEST 8TH ST                                                                       STILLWATER      OK      74074
LLILLIAN W SIMPSON TRUST                                             PO BOX 1196                                                                            OKLAHOMA CITY   OK      73101-1196
LLOYD AND HELLEN BUSHBY                                              2405 GLEN DR                                                                           MISSOULA        MT      59804-6245
LLOYD COWGER                                                         3500 WATERLOO ROAD                                                                     EDMOND          OK      73034
LLOYD DEAN MCGINNIS                                                  11008 E 11TH PLACE                                                                     TULSA           OK      74128-4210
LLOYD DECEASED                                                       420 W THOMAS AVE                                                                       PERKINS         OK      74059
LLOYD E & VELMA K COX FAM TRUST                                      719 HAMILL LN                                                                          GUTHRIE         OK      73044
LLOYD EALES                                                          8007 N HUBERT                                                                          TAMPA           FL      33614
LLOYD FISCHER                                                        125 MARGARET CIRCLE                                                                    ENID            OK      73703
LLOYD FITZPATRICK                                                    2500 THOMAS DR APT 1615                                                                EDMOND          OK      73003
LLOYD GRAGERT                                                        8420 S 150 ST                                                                          DOUGLAS         OK      73733
LLOYD HENSON DECD                                                    3816 W 59TH ST                                                                         TULSA           OK      74107
LLOYD HORTON                                                         9287 NS 3580 RD                                                                        PRAGUE          OK      74864
LLOYD KAPKA                                                          19350 CR 30                                                                            PERRY           OK      73077
LLOYD KINGSBURY                                                      8205 S UNDUANA                                                                         OKLAHOMA CITY   OK      73159
LLOYD LENTZ                                                          818 WALNUT CREEK RD                                                                    GUTHRIE         OK      73044-2065
LLOYD MCCARTY                                                        9497 STATE HIGHWAY 89                                                                  RINGLING        OK      73456-9631
LLOYD MCCOY                                                          1003 S DENTON ST                                                                       GAINESVILLE     TX      76240-5610
LLOYD MCGUIRE                                                        8725 ROBLES DR                                                                         SAN DIEGO       CA      92119
LLOYD MCKEAN                                                         5325 HACKER CT                                                                         CHEYENNE        WY      82009
LLOYD MELVIN COE JR                                                  30800 HARVEST ROAD                                                                     GLENCOE         OK      74032
LLOYD MOORMAN                                                        12108 S RANGE RD                                                                       PERKINS         OK      74059-4218
LLOYD OWENS                                                          2113 NW 61ST                                                                           OKLAHOMA CITY   OK      73112
LLOYD RAINS                                                          21006 220TH ST                                                                         PURCELL         OK      73080-4400
LLOYD ROBERTS                                                        PO BOX 3060                                                                            MUSKOGEE        OK      74402
LLOYD S ELLIOT                                                       6928 S EVANSTON AVE                                                                    TULSA           OK      74136
LLOYD S ELLIOTT TRUST                                                6928 S EVANSTON AVE                                                                    TULSA           OK      74136-4511
LLOYD SMITH                                                          18739 E 42ND ST                                                                        TULSA           OK      74034-5920
LLOYDINE MENZER                                                      PO BOX 229                                                                             BLACKWELL       OK      74631
LLY OIL & GAS LLC                                                    PO BOX 701                                                                             ABILENE         TX      79604-0701
LLYOD THOMPSON                                                       10690 S BROADWAY AVE                                                                   OKLAHOMA CITY   OK      73170
LLYOD WERTMAN                                                        108 FAIRWAY DR                                                                         PERKINS         OK      74059
LMB O&G LTD                                                          PO BOX 593                                                                             MISSION         TX      78572
LMH HOLDINGS LLC                                                     501 NW 13TH ST                                                                         OKLAHOMA CITY   OK      73103
LMK RESOURCES INC                                                    6051 N COURSE DR STE 300                                                               HOUSTON         TX      77072
LMS PRODUCTS INC.                                                    PO Box 31                                                                              Perry           OK      73077

LNM INVESTMENTS LLC WMA SERIES                                       5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
LOCKETT PUNDT                                                        2741 CREEKVIEW PT NW                                                                   MARIETTA        GA      30064-1819
LOCKTON COMPANIES                                                    PO BOX 123036                                                                          DALLAS          TX      75312-3036
LOCKTON COMPANIES                                                    444 W. 47TH STREET                            SUITE 900                                KANSAS CITY     MO      64112
LOCUST ENERGY INC                                                    3825 NW 166TH ST STE B11                                                               EDMOND          OK      73012


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LOELA WATTS                                                           8402 QUAIL BURG LN                                                                     MISSOURI CITY    TX      77489-6201
LOGAN COUNTY CLERK                                                    301 E HARRISON AVE STE 102                                                             GUTHRIE          OK      73044-4939
LOGAN COUNTY COURIER                                                  PO Box 222                                                                             CRESCENT         OK      73028
LOGAN COUNTY COURT CLERK                                              301 E. HARRISON, ROOM 201                                                              GUTHRIE          OK      73044
LOGAN COUNTY RURAL WATER DISTRICT 3                                   PO BOX 187                                                                             MARSHALL         OK      73056-0187
Logan County Rural Water District 3                                   115 West Main Street                                                                   Marshall         OK      73056
Logan County Treasurer                                                301 East Harrison                             Suite 100                                Guthrie          OK      73044
LOGAN WRIGHT FOUNDATION INC                                           3801 NW 63RD STE 260                                                                   OKLAHOMA CITY    OK      73116
LOGO ENERGY LLC                                                       1301 MCKINNEY ST STE 3150                                                              HOUSTON          TX      77010-3042
LOGO INC.                                                             40 WEST 57TH STREET - 23RD FLOOR                                                       NEW YORK         NY      10019

LOHTAK WATER AND ENERGY CONSULTING                                    10320 SUNRISE BLVD                                                                     THE VILLAGE      OK      73120-2329
LOIS A PRIEST DECEASED                                                1404 SW 2ND STREET                                                                     LAWTON           OK      73501
LOIS A STRATE LIVING TRUST                                            12405 W 56TH AVE                                                                       STILLWATER       OK      74074
LOIS ANN HASKIN DAWES                                                 4370 N 2856 RD                                                                         MARLOW           OK      73055
LOIS BARNES                                                           210-D AVENIDA MAJORCA                                                                  LAGUNA HILLS     CA      92653
LOIS DANIEL                                                           23 YELLOW BRICK DR                                                                     STILLWATER       OK      74074-1727
LOIS DECD                                                             4403 AVENIDA ESTRELLITA NE                                                             ALBUQUERQUE      NM      87110
LOIS EBY BUDBILL REV TRUST                                            330 CITYSIDE DR UNIT 74                                                                MONTPELIER       VT      05602
LOIS ELMORE                                                           511 W LOOKOUT DR APT 207                                                               RICHARDSON       TX      75080
LOIS HUNTER                                                           704 S 8TH ST                                                                           SHELTON          WA      98584
LOIS JOHNSON                                                          529 SW 42ND ST                                                                         OKLAHOMA CITY    OK      73109-3511
LOIS L ROBERTS                                                        1600 W WILLOW APT 204                                                                  ENID             OK      73703
LOIS LAMBERT                                                          1009 E HICKLAND ST                                                                     PRINCETON        MO      64673-1231
LOIS LANCASTER                                                        PO BOX 363                                                                             PLEASANTVIEW     CO      81331-0363
LOIS LEFTWICH                                                         217 W MIAMI ST                                                                         BROKEN ARROW     OK      74011
LOIS M MCVAY                                                          6424 E 95TH PLACE                                                                      TULSA            OK      74137
LOIS M MCVAY REV TRUST                                                6424 E 95TH PLACE                                                                      TULSA            OK      74137
LOIS MILLER                                                           PO BOX 8206                                                                            WITCHITA FALLS   TX      76307
LOIS MURRAY                                                           3224 E 2ND AVENUE                                                                      STILLWATER       OK      74074
LOIS MURRAY AND LORENE MCGUIRE                                        3522 GREENWAY DR                                                                       COLUMBIA         SC      29206-3416
LOIS NAGEL                                                            101 S HARMS ST                                                                         GEORGE           IA      51237
LOIS PHELPS                                                           6105 N MERIDIAN AVE APT 121                                                            OKLAHOMA CITY    OK      73112-1256
LOIS PHILLIPS                                                         7753 E BOWIE RD                                                                        SCOTTSDALE       AZ      85258
LOIS ROBERTSON                                                        9015 S 199TH E AVE                                                                     BROKEN ARROW     OK      74014
LOIS S BOLICK REV TRUST                                               701 OAK ST                                                                             BEEBE            AR      72012
LOIS S WEBB ESTATE                                                    9419 STRATFORD DRIVE                                                                   OKLAHOMA CITY    OK      73120
LOIS SHUMWAY                                                          525 PARKWAY AVE                                                                        PRATT            KS      67124
LOIS SORVISTO                                                         304 1 AVE NW, STE 225                                                                  AIRDRIE          AB      T4B 0C4      CANADA
LOIS V ALBAN LVNG TRST                                                4128 OVERLAND DR                                                                       DEL CITY         OK      73115-2744
LOIS WALSH                                                            616 S OWEN DR                                                                          MUSTANG          OK      73064-2420
LOIS WHITE                                                            6105 NW 151ST ST                                                                       EDMOND           OK      73013
LOJO DISPOSAL LLC                                                     PO BOX 305                                                                             LAMONT           OK      74643
LOKE OIL AND GAS                                                      11874 WHITE OAK PASS                                                                   CONROE           TX      77385
                                                                                                                    9211 Lake Hefner
Lola B. Gates                         c/o Atkins & Markoff            Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120

Lola B. Gates                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                   5020 Montrose Blvd   9th Fl              Houston          TX      77006
Lola B. Gates                                                            3531 Daryl Lane                                                                     Spencer          OK      73084
LOLA COURSEY DULL                                                        108 S CESTOS ST                                                                     VICI             OK      73859-5208
LOLA GRASZ                                                               1023 W WARNER                                                                       GUTHRIE          OK      73044
LOLA LYNDA JACOBS FETZER ESTATE                                          10142 S 6000 W                                                                      PAYSON           UT      84651
LOLA POGUE                                                               3121 N BRETHREN RD                                                                  CUSHING          OK      74023-6038
LOLA SCOBEY                                                              PO BOX 16440                                                                        ALBUQUERQUE      NM      87191-6440
LOLA STOCKTON RITTER                                                     8503 W. 520 RD                                                                      PRYOR            OK      74361-6765
LOLDA BROWN                                                              4525 KENTUCKY DR                                                                    PLANO            TX      75024
LOLYN JACOBS REVOCABLE TRUST                                             10142 S 6000 W                                                                      PAYSON           UT      84651
LOMAX-HOWELL FAMILY LP                                                   3921 CARUTH BOULEVARD                                                               DALLAS           TX      75225
LON W SHELDON                                                            36686 OLD STATE HWY 3                                                               STONEWALL        OK      74871


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LONA CONDIT                                                      1607 AVE X APT A                                                               LUBBOCK            TX      79401
LONE OAK ROYALTY PARTNERS LLC                                    PO BOX 1359                                                                    ALEDO              TX      76008
LONE STAR SAFETY & SUPPLY                                        PO BOX 29131                                                                   DALLAS             TX      75229-0131
LONES COOK                                                       2323 N GARFIELD                                                                STILLWATER         OK      74075
LONESTAR WEST ENTERPRISES LLC                                    PO BOX 3442                                                                    BOSTON             MA      02241-3442
LONG CONSULTING GROUP LLC                                        125 S UNION ST                                                                 OLEAN              NY      14760
LONG FAMILY OIL TRUST                                            7130 E RIVER CANYON RD                                                         TUCSON             AZ      85750
LONG TERM FUNDING LLC                                            PO BOX 167                                                                     MIFFLINTOWN        PA      17089
LONGAN TRUST                                                     40624 SADDLE BROOK CT                                                          PALMDALE           CA      93551-5604
                                                                                                                            10th Fl, Two
Longfellow Energy LP                  c/o McAfee & Taft          Attn: Timothy Bomhoff                  211 N Robinson Ave. Leadership Square   Oklahoma City      OK      73102
Longfellow Energy LP                                             16803 Dallas Pkwy                                                              Addison            TX      75001
LONGHORN DRILLING COMPANY LLC                                    PO BOX 698                                                                     HENNESSEY          OK      73742
LONGHORN ENERGY SERVICES LLC                                     PO BOX 150290                                                                  OGDEN              UT      84415-0290
LONGHORN ENERGY SERVICES LLC                                     616 MACY LN                                                                    STILLWATER         OK      74075-1875
LONGHORN SERVICE COMPANY LLC                                     PO BOX 698                                                                     HENNESSEY          OK      73742
LONGSDON-SCHULTE LLC                                             PO Box 706                                                                     KINGFISHER         OK      73750
LONGSHORE MINERAL HOLDINGS LLC                                   PO BOX 21                                                                      EDMOND             OK      73083-0021
LONNIE BAGGS                                                     39541 S CR 198                                                                 WOODWARD           OK      73801
LONNIE DEARMOND                                                  3855 SAGE BRUSH ROAD                                                           WINNEMUCCA         NV      89445
LONNIE DOOLEY                                                    PO BOX 1763                                                                    CUSHING            OK      74023-1763
LONNIE DORMAN                                                    23809 REECE LAKE RD                                                            WASHINGTON         OK      73093
LONNIE GUEVARA                                                   1022 MILLER ST                                                                 BAKERSFIELD        CA      93305
LONNIE JOSEPH BURNS SR                                           4900 MCCOLL #493                                                               MCALLEN            TX      78504
LONNIE MARET                                                     145 SKYVIEW LN                                                                 OCEANSIDE          CA      92056-4814
LONNIE OCKER                                                     4318 BRIARCREST DR                                                             NORMAN             OK      73072-3414
LONNIE TIPTON                                                    1421 E WILLHAM                                                                 STILLWATER         OK      74075
LONNY D RENFROE ESTATE                                           5900 S LAKE FOREST DR STE 300                                                  MCKINNEY           TX      75070
LONYE CLAUDINE MUSE                                              3320 S MAIN ST                                                                 STILLWATER         OK      74074-7545
LONZO LOVELESS                                                   12300 Gunsmoke                                                                 Perry              OK      73077

LOOP 1 SYSTEMS INC                                               912 S CAPITAL OF TEXAS HWY STE 240                                             AUSTIN             TX      78746-5242
LOPP CONSTRUCTION LLC                                            PO BOX 1776                                                                    STILLWATER         OK      74076
LORA ASHBAUGH                                                    1845 W BUCKINGHAM WAY                                                          FRESNO             CA      93705-1840
LORA BAILEY HARTMAN & HOWARD &                                   10909 S BROOKLINE AVE                                                          OKLAHOMA CITY      OK      73170
LORA HUNT                                                        3206 27TH ST                                                                   LUBBOCK            TX      79410
LORA JACKSON                                                     790191 S 3450 ROAD                                                             AGRA               OK      74824
LORA MUELLER                                                     700 CARRIE LANE                                                                LITTLE ELM         TX      75068-4421
LORAINE A GREENHAW SURVIVING JT                                  520 E 92 ST                                                                    PERKINS            OK      74059
LORAN CALKINS                                                    ROUTE 2, BOX 68                                                                TALOGA             OK      73667
LOREAN RADFORD                                                   2314 N STAR DR                                                                 STILLWATER         OK      74075-2653
LOREIS PAULETTE JONES                                            PO BOX 382                                                                     STARBUCK           WA      99359-0382
LOREN ANDERSON                                                   PO BOX 26876                                                                   INDIANAPOLIS       IN      46256
LOREN ELLIS                                                      2209 FOREST CR                                                                 NORMAN             OK      73069
LOREN GARRETT                                                    4925 PARK VISTA BLVD                                                           COLORADO SPRINGS   CO      80918-2745
LOREN GILLESPIE                                                  1811 W ESECO RD                                                                CUSHING            OK      74023-4873
LOREN GRAY                                                       10312 S JARDOT                                                                 PERKINS            OK      74059-4539
LOREN LOWELL DOHM                                                7216 PARK TERRACE DRIVE                                                        ALEXANDRIA         VA      22307
LOREN ROPER                                                      9991 N 2425 ROAD                                                               WEATHERFORD        OK      73096
LOREN TYNER LAMB ESTATE                                          PO BOX 534                                                                     GREENWOOD          MS      38935
LORENA CAPPS                                                     360 26TH ST                                                                    SANTA CRUZ         CA      95062
LORENA CARDOZA                                                   816 W. SPURGEON STREET                                                         FORT WORTH         TX      76115-2447
LORENE ARKEKETA                                                  1401 BRIARWOOD DR                                                              EDMOND             OK      73034
LORENE BOYD                                                      PO BOX 140237                                                                  BOISE              ID      83714-0237

LORENE HALE KINNAMON REVOCABLE TRUS                              5500 NW 42ND ST                                                                WARR ACRES         OK      73122-4330
LORENE KINNAMON FKA LORENE HALE                                  5500 NW 42ND ST                                                                WARR ACRES         OK      73122-4330
LORENE MCGUIRE                                                   3522 GREENWAY DRIVE                                                            COLUMBIA           SC      29206
LORENE POOLE                                                     818 N PAROTTE                                                                  RIPLEY             OK      74062-6353


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LORENE R VITEK TTEE                                             1274 JUNIPER AVE                                                                       REDDSPORT              OR     97467
LORENE SEDLACEK                                                 4075 W HARBOR POINT DR                                                                 MERIDIAN               ID     83646-3985
LORENE VICKERS DECD                                             12610 E 170TH N APT N                                                                  COLLINSVILLE           OK     74021
                                                                                                              9211 Lake Hefner
Lorene Isaacs                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK    73120
                             c/o Laminack, Pirtle & Martines,
Lorene Isaacs                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX    77006
Lorene Isaacs                                                   1613 SW 66th                                                                           Oklahoma City          OK    73159
LORETA HOLLEY                                                   29208 CLEARPOND ROAD                                                                   MCLOUD                 OK    74851-9312
                                                                                                              9211 Lake Hefner
Loretha Sullivan             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK    73120
                             c/o Laminack, Pirtle & Martines,
Loretha Sullivan             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX    77006
Loretha Sullivan                                                2513 NW 115th St                                                                       Oklahoma City          OK    73120
LORETTA ALLEN                                                   2638 GATELY DRIVE EAST #7                                                              WEST PALM BEACH        FL    33415
LORETTA BEAVERS                                                 PO BOX 153                                                                             GLENCOE                OK    74032
LORETTA BOCOX WHERRY                                            3305 N HAMMOND UNIT A                                                                  BETHANY                OK    73008
LORETTA COOK                                                    21 CHAPMAN RD                                                                          BIG SPRING             TX    79720
LORETTA COOPER                                                  9634 RANCHO DR                                                                         CHERRY VALLEY          CA    92223
LORETTA DEAN SAUNDERS                                           7105 SW GARDEN HOME RD #38                                                             PORTLAND               OR    97223
LORETTA GILLIAM                                                 13100 Frontier                                                                         Perry                  OK    73077
LORETTA HOLLAND                                                 5890 MARK AVE                                                                          KINGSTON               OK    73439
LORETTA LIFE TENANT                                             ROUTE 2 BOX 68                                                                         TALOGA                 OK    73667
LORETTA OLIVER                                                  3204 HARDY DR                                                                          EDMOND                 OK    73013
LORETTA TOLES                                                   508 S STOKES RD                                                                        STILLWATER             OK    74075-8853
                                                                                                              9211 Lake Hefner
Loretta Westhoff             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK    73120
                             c/o Laminack, Pirtle & Martines,
Loretta Westhoff             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX    77006
Loretta Westhoff                                                2129 W. 45th Pl                                                                        Tulsa                  OK    74107
LORETTA WHEATLEY                                                6505 N WHEATLEY LN                                                                     STILLWATER             OK    74074
                                                                                                              9211 Lake Hefner
Loretta Guess-Walker         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK    73120
                             c/o Laminack, Pirtle & Martines,
Loretta Guess-Walker         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX    77006
Loretta Guess-Walker                                            5005 S Dimple Dr                                                                       Oklahoma City          OK    73135
                                                                                                              9211 Lake Hefner
Loretta Irving               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK    73120
                             c/o Laminack, Pirtle & Martines,
Loretta Irving               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX    77006
Loretta Irving                                                  14601 Joseph Ave                                                                       Luther                 OK    73054
LORI A ELLIOTT                                                  8346 DAISY LANE                                                                        RIVERSIDE              CA    92508
LORI A VOKE                                                     2426 SE 17TH ST #A104                                                                  FORT LAUDERDALE        FL    33316

LORI AND                                                        PO BOX 583                                                                             GREEN MOUNTAIN FALLS   CO    80819-0583
LORI ANN JONES                                                  800 S KELLY AVE APT 69                                                                 EDMOND                 OK    73003
LORI BURGESS                                                    PO BOX 65                                                                              COLORADO SPRINGS       CO    80901
LORI CARPENTER                                                  PO BOX 36                                                                              CASTLE ROCK            WA    98611-0036
LORI DOW                                                        1015 BARKSTON DR                                                                       KATY                   TX    77450-4219
LORI EELLS                                                      12790 WINDY LN                                                                         CALDWELL               ID    83607
LORI ELTZHOLTZ                                                  814 NE ORCHARD DR                                                                      LEES SUMMIT            MO    64063-2547
LORI HICKS                                                      7107 109TH ST                                                                          LUBBOCK                TX    79424
                                                                                                              9211 Lake Hefner
Lori J. Williams             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK    73120
                             c/o Laminack, Pirtle & Martines,
Lori J. Williams             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX    77006
Lori J. Williams                                                1304 NE 44th                                                                           Oklahoma City          OK    73111
LORI JOHNSON                                                    309 GREENS PKWY                                                                        NORMAN                 OK    73069
LORI KAYE WEST WILLIAMS                                         17101 WESTRIDGE MEADDOW DR                                                             CHESTERFIELD           MO    63005


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LORI L LUSTER                                                            PO BOX 274                                                                             PERKINS         OK      74059
LORI LEIGH                                                               6022 GLEN HEATHER DR                                                                   DALLAS          TX      75252
LORI LYNN COOKSEY                                                        9300 E COUNTY RD 70                                                                    COYLE           OK      73027
LORI M CLARK                                                             733 E BOONE ST                                                                         SANTA MARIA     CA      93454
LORI MORGAN                                                              912 SLATON ROAD                                                                        HARDY           AR      72542

LORI MUSSER & PATRICK MUSSER                                             5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
LORI RENARD EVANS                                                        2303 14TH STREET NW APT 625                                                            WASHINGTON      DC      20009
LORI SHANDRA                                                             17942 Romelle Ave.                                                                     Santa Anna      CA      92705
LORI SUTTON SHIVERS                                                      2630 COUNTRY HOLLOW ST                                                                 SAN ANTONIO     TX      78209
LORI WASSON                                                              5307 ELGIN HILLS WAY                                                                   ANTELOPE        CA      95843
LORI WOJCIECHOWSKI                                                       8520 CRESTWOOD AVE                                                                     MUNSTER         IN      46321
                                                                                                                       9211 Lake Hefner
Lori Brown                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Lori Brown                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Lori Brown                                                               2201 SW 61st Terr                                                                      Oklahoma City   OK      73159
LORIENE MARLOW                                                           3308 SW 44 ST APT 249                                                                  OKLAHOMA CITY   OK      73119
LORIN SMITH                                                              126 RIDGECREST                                                                         EDMOND          OK      73013
LORINDA SCHRAMMEL                                                        24497 N SOONER RD                                                                      ORLANDO         OK      73073
LORING AND VIRGINIA GRAY TRUST                                           1632 RUSTIC CREEK TER                                                                  EDMOND          OK      73103
LORN STARLING                                                            201 CARPENTER PLACE                                                                    CARNEY          OK      74832
LORN STARLING DEBTOR CASE 17-13408                                       1616 E 19TH ST, STE 301A                                                               EDMOND          OK      73013
LORNA HARRISON                                                           1014 BLANCO DR                                                                         ALLEN           TX      75013-5686
LORRAINE HOLT                                                            405 S "E" ST                                                                           IMPERIAL        CA      92251-1445
LORRAINE S SCHIRO                                                        103 MAPLE COVE                                                                         LONG BEACH      MS      39560
LORRI KAY BOYD                                                           7840 N 1980 RD                                                                         LEEDEY          OK      73654
LOS CAZADORES                                                            604 E 2ND ST                                                                           BIG LAKE        TX      76932-5318
LOST CREEK UNITED METHODIST CHURCH                                       8002 S WASHINGTON ST                                                                   STILLWATER      OK      74074
LOTIE G SCHLEGEL & NANCY S SCHLEGEL                                      3327 BOBCAT TRAIL                                                                      GUTHRIE         OK      73044
LOTTIE MAPPES 1980 TRUST                                                 PO BOX 720516                                                                          NORMAN          OK      73070
LOTTIE P SCHNEIDER REV TR DTD 9-3-8                                      1340 S OCEAN BLVD APT 404                                                              POMPANO BEACH   FL      33062
LOTUS LLC                                                                PO BOX 1278                                                                            ANDREWS         TX      79714
LOU ALICE BRITTON-MARTIN                                                 1915 NORTH MAIN                                                                        SEARCY          AR      72143
                                                                                                                       9211 Lake Hefner
Lou Bellmard                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Lou Bellmard                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Lou Bellmard                                                             7416 W 38th St                                                                         Tulsa           OK      74107
LOU GEISINGER                                                            1704 N 15TH                                                                            PERRY           OK      73077
LOU KNOWLES                                                              2000 DRAKE DR                                                                          RICHARDSON      TX      75081-3236
LOU KREYMBORG                                                            2000 S MUSTANG RD                                                                      YUKON           OK      73099
LOU NIBLETT                                                              2305 E CEDAR RIDGE RD                                                                  TISHOMINGO      OK      73460
LOU STUDEBAKER                                                           17093 COUNTY ROAD 3543                                                                 ADA             OK      74820-1611
LOUANN BECK                                                              2845 EAST FAIRMOUNT AVENUE                                                             PHOENIX         AZ      85016
LOUANNE S NOURSE                                                         436 HARTNELL PLACE                                                                     SACRAMENTO      CA      95825
LOUANNE WINEMILLER OBELE                                                 903 N REVERE, UNIT B                                                                   MESA            AZ      85201

LOUANNS SEWING SHOPPE LOUANN HUTHMA                                      915 WHELLING AVE                                                                       CAMBRIDGE       OH      43725-2318
LOUCHSKI LLC                                                             6736 NORTH WEATHERBY DRIVE                                                             MENTOR          OH      44060
LOUGH FAMILY TRUST DTD 7-1-1997                                          PO BOX 116                                                                             MULHALL         OK      73063
LOUIE E REIM LIVING TRUST DTD 5 31                                       PO BOX 238                                                                             MARSHALL        OK      73056
LOUIS ANTHIS                                                             PO BOX 434                                                                             VALLEY          NE      68064
LOUIS AUER                                                               16 ABYSSINIAN WAY                                                                      LADERA RANCH    CA      92694
LOUIS B BLAKE                                                            1025 E 12TH ST                                                                         CUSHING         OK      74023-5229
LOUIS BODE                                                               927 S ACADEMY RD                                                                       GUTHRIE         OK      73044
LOUIS CALAVAN                                                            1033 CR 291                                                                            ANSON           TX      79501
LOUIS D DEASON ESTATE DECD                                               800 W CALIFORNIA                                                                       OKLAHOMA CITY   OK      73106
LOUIS D HALSELL JR                                                       2181 S ALTON WAY                                                                       DENVER          CO      80231


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LOUIS EDIGER                                                              22173 COUNTY RD 920                                                                    MEDFORD           OK      73759
LOUIS H LEBOWITZ                                                          4311 W LOVERS LANE # 200                                                               DALLAS            TX      75209-2803
LOUIS HUNT                                                                540 BRUSH CREEK CT                                                                     SANTA ROSA        CA      95404
LOUIS JOHNSON                                                             12 AMANDINE CT                                                                         MAUMELLE          AR      72113
LOUIS JOSEPH JARDOT                                                       119 E CEDAR DR                                                                         POND CREEK        OK      73766
LOUIS KLAR                                                                5310 E 31 ST STE 1215                                                                  TULSA             OK      73145
LOUIS M FORD LLC                                                          PO Box 2557                                                                            EDMOND            OK      73083-2557
LOUIS R RUSSELL TR 72705                                                  PO Box 1085                                                                            STILLWATER        OK      74076
LOUIS RAY                                                                 PO BOX 1101                                                                            WINTER PARK       CO      80482
LOUIS RICK TEDALDI JT                                                     PO BOX 10                                                                              WASHINGTONVILLE   NY      10992-0010
LOUIS SCHLANGER                                                           10680 WESTBRAE PKWY APT 311                                                            HOUSTON           TX      77031-2452
LOUIS TAUBMAN TRUST                                                       PO BOX 1588                                                                            TULSA             OK      74101-1588
LOUIS THOMASON                                                            926 HUSKA RD                                                                           DELANCEY          NY      13752-2135
LOUIS THOMSEN DECEASED                                                    109 N RAMBO                                                                            DILL CITY         OK      73641
LOUIS W LEVIN                                                             139 RIDGEWAY DRIVE                                                                     METAIRIE          LA      70001
LOUIS W SCHWEER REV TRUST                                                 2801 SHORTGRASS RD APT 374                                                             EDMOND            OK      73003
LOUIS WATKINS                                                             808 W DEEP ROCK RD                                                                     CUSHING           OK      74023
LOUIS WILLIAMS                                                            5525 W 9TH ST                                                                          CUSHING           OK      74023-5801
LOUISE BUCK                                                               915 N ALEX NOON ST                                                                     WETUMKA           OK      74883
LOUISE E BIEDERMANN                                                       712 EAST STREET                                                                        BEAUFORT          SC      29902
LOUISE KNITTLE ASHBURN                                                    4025 E FORT LOWELL RD LOT 22                                                           TUCSON            AZ      85712
LOUISE MOORE                                                              600 TIMBERLANE                                                                         EDMOND            OK      73034
LOUISE R EDWARDS TRUST                                                    PO BOX 54308                                                                           OKLAHOMA CITY     OK      73154-1308
LOUISE RICHMOND                                                           2605 EAST LAKEVIEW ROAD                                                                STILLWATER        OK      74075
LOUISE SCHEPP                                                             PO BOX 291                                                                             MADILL            OK      73446
LOUISE TAYLOR                                                             1721 BRETTENMEADOW DR                                                                  GRAPEVINE         TX      76051-4479
LOUISE WARCUP                                                             2725 SW 53RD ST                                                                        OKLAHOMA CITY     OK      73119
                                                                                                                        9211 Lake Hefner
Louise Main                           c/o Atkins & Markoff                Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Louise Main                           LLP                                 Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Louise Main                                                               8600 Meadow Hill                                                                       Edmond            OK      73034

LOUISIANA DEPARTMENT OF THE TREASUR                                       PO BOX 91010                                                                           BATON ROUGE       LA      70821-9010
                                      Cory Calcagno, Director of Credit
Louisiana Machinery Company LLC       and Finance                         3799 West Airline Highway                                                              Reserve           LA      70084-0536
LOUISIANA MACHINERY COMPANY LLC                                           PO BOX 54942                                                                           NEW ORLEANS       LA      70154
LOUISIANA STATE TREASURER                                                 PO BOX 91010                                                                           BATON ROUGE       LA      70821-9010
LOUTITIA HAMPTON                                                          2821 S PINE ST                                                                         GUTHRIE           OK      73044
LOVA ROBERTS                                                              906 N FRETZ AV APT 202                                                                 EDMOND            OK      73003
                                                                                                                        9211 Lake Hefner
Lovenia House                         c/o Atkins & Markoff                Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Lovenia House                         LLP                                 Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Lovenia House                                                             420 W Madison                                                                          Crescent          OK      73028
Lovenia House                                                             327 S Pine                                                                             Crescent          OK      73028
LOVETT MINERAL RIGHT FAMILY LP                                            6809 EAST BROOK COURT                                                                  DICKINSON         TX      77539
LOVINE B GREENFIELD REV LIV TR                                            4017 E GRANDSTAFF                                                                      CUSHING           OK      74023
LOVITA F HALE LIVING TRUST                                                1034 BILLY THE KIDD ROAD                                                               FT SUMNER         NM      88119
LOWE FARM LLC                                                             2912 OAKRIDGE ROD                                                                      ENID              OK      73703
LOWE ROYALTY PARTNERS L.P                                                 PO BOX 4887 DEPT 4                                                                     HOUSTON           TX      77210-4887
LOWELL & MARILYN ADAMS LIVING TRUST                                       1503 FOREST GREEN DRIVE                                                                OGDEN             UT      84403
LOWELL MOLLOY                                                             PO BOX 841                                                                             CHILLICOTHE       MO      64601
LOWELL SHELDEN                                                            100 S INDIAN HILL BLVD                                                                 CLAREMONT         CA      91711-4900
LOWREY L AND JEAN L RHODES TR                                             2003 JORDAN                                                                            STILLWATER        OK      74074-1371
LOWRY LAND CO INC                                                         6801 BROADWAY EXT STE 204                                                              OKLAHOMA CITY     OK      73116-9037
Lowry, Donny                          c/o White Star Petroleum, LLC       301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
LOY E OAKES                                                               2807 S NELSON STREET                                                                   DENVER            CO      80227
LOY ELMORE                                                                16575 LOVELL KANSAS AVE                                                                CRESCENT          OK      73028


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Loy Sperry                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000        Dallas           TX       75070
Loy Sperry                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400         Tulsa            OK       74104
Loy Sperry                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                            New York         NY       10017
Loy Sperry                                                              7422 NE 455 Dr                                                                       Spavinaw         OK       74366
LOYAL DEAN TAYLOR                                                       426846 HWY 266                                                                       CHECOTAH         OK       74426
LOYD LASLEY                                                             268 E 5TH AVE                                                                        SPRINGFIELD      CO       81073-1304
LOYD M INGHAM                                                           10420 DANDELION LN                                                                   SAND SPRINGS     OK       74063-7738
LOYD MELVIN INGHAM & MARY ALICE                                         10420 DANDELION LN                                                                   SAND SPRINGS     OK       74063-7738
LOZIER PROPERTIES LTD                                                   4200 JACKSON AVE APT 4007                                                            AUSTIN           TX       78731-6065
LPRK FAMILY LLC AND KELLY N SMITH                                       4920 PINTO DR                                                                        STILLWATER       OK       74074
LRC ENTERPRISES LLC                                                     3408 N HARVEY PKWY                                                                   OKLAHOMA CITY    OK       73118
LRE OPERATING LLC                                                       1111 BAGBY STREET SUITE 4600                                                         HOUSTON          TX       77002
LT ENERGY SERVICES                                                      88269 EXPEDITE WAY                                                                   CHICAGO          IL       60695-0001

LTC CHESTER ARTHUR HAZELWOOD & MRS                                      28 FONTENAY CIRCLE                                                                   LITTLE ROCK      AR       72223
LTD CONSULTING LLC                                                      PO BOX 3783                                                                          BROKEN ARROW     OK       74013
LTN MINERALS LLC                                                        501 NW 13TH                                                                          OKLAHOMA CITY    OK       73103
LTR FASTENER & SUPPLY LLC.                                              PO BOX 12828                                                                         OKLAHOMA CITY    OK       73157-2828
LU ANN DILLMAN                                                          13551 CRESTMOOR DR                                                                   FARMERS BRANCH   TX       75234
LUANA MAE ALEXANDER                                                     2708 PALO VERDE DR                                                                   ODESSA           TX       79762
LUANN CLARKSON                                                          803 MILL ST                                                                          SPRINGDALE       AR       72764-1323
LUANNE AYDELOTTE                                                        605 HARPER ST                                                                        HOLLAND          TX       76543
LUANNE E WARD                                                           16218 N 64TH PLACE                                                                   SCOTTSDALE       AZ       85254
LUANNE WIBLE                                                            13805 KIRKLAND RIDGE                                                                 EDMOND           OK       73013
LUCAS GATES                                                             15706 CHEROKEE BLVD                                                                  SKIATOOK         OK       74070-5489
LUCERNE M EBERLE 2003 REV TR                                            4500 S STONE LEDGE TR                                                                STILLWATER       OK       74074-5518
LUCEY PRODUCTS CO                                                       1120 LIBERTY BANK BUILDING                                                           OKLAHOMA CITY    OK       73102
LUCIAN D MYRICK REV TRUST                                               355313 E 760TH RD                                                                    CUSHING          OK       74023
LUCID ENERGY WESTEX LLC                                                 2305 CEDAR SPRINGS STE 100                                                           DALLAS           TX       75201
LUCILLE BURNELL                                                         3971 E AUGUSTA AVE                                                                   CHANDLER         AZ       85249
LUCILLE ETHERIDGE                                                       8020 S PRAIRIE RD                                                                    STILLWATER       OK       74074-8420
LUCILLE HINKLE                                                          216 JOHN CARROLL RD E                                                                LAKELAND         FL       33801
                                                                                                                      9211 Lake Hefner
Lucille Logsdon                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104         Oklahoma City    OK       73120
                                     c/o Laminack, Pirtle & Martines,
Lucille Logsdon                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl           Houston          TX       77006
Lucille Logsdon                                                         11075 E. 14th St                                                                     Tulsa            OK       74128
LUCILLE PETERMANN                                                       6909 W 9TH ST                                                                        CUSHING          OK       74023-5817
LUCILLE STEELMAN                                                        411 BRIDLE WAY                                                                       YAKIMA           WA       98901-9786
LUCILLE WILSON                                                          4650 OSO PARKWAY                                                                     CORPUS CHRISTI   TX       78413-5269
LUCILLES ENTERPRISES LLC                                                102 S MAIN                                                                           MULHALL          OK       73063
LUCINDA GRAHAM                                                          8591 W COUNTY ROAD 150 N                                                             RICHLAND         IN       47634-8904
LUCINDA KILLMAN                                                         10682 E 35TH PLACE                                                                   YUMA             AZ       85364
LUCINDA RARICK                                                          2247 WARWICK STREET                                                                  MUNCIE           IN       47304
LUCINDA WILL                                                            518 N CENTRAL ST                                                                     ENID             OK       73701
LUCINDA YOUNG                                                           PO BOX 25                                                                            TRYON            OK       74875-0025
LUCINDY MAE BROOKS COUGHLAN                                             1507 S 12TH ST                                                                       KINGFISHER       OK       73750
                                                                                                                      9211 Lake Hefner
Luckey Dolly                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104         Oklahoma City    OK       73120
                                     c/o Laminack, Pirtle & Martines,
Luckey Dolly                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl           Houston          TX       77006
Luckey Dolly                                                            19426 S. Yale Ave                                                                    Mounds           OK       74047
LUCY ANN MOORE                                                          4825 NW LINDY                                                                        LAWTON           OK       73505
LUCY B LIVERMORE REV TRUST                                              PO BOX 93380                                                                         ALBUQUERQUE      NM       87199-3380
LUCY B MANN                                                             3601 IVY STREET                                                                      DENVER           CO       80207
LUCY DESCHER YAPLE                                                      3727 PONDEROSA LN                                                                    OZARK            AR       72949
LUCY H HOLLINGER                                                        874 AVENIDA ACAPULCO                                                                 SAN CLEMENTE     CA       92672
LUCY LEROY                                                              RT 3                                                                                 ORLANDO          OK       73073
LUCY PASTORELLI                                                         16853 35TH AVE S                                                                     SEATAC           WA       98188-3142


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LUCY ROONEY KAPPLES TRUST                                                PO BOX 54829                                                                           OKLAHOMA CITY    OK      73154
LUCY UPCHURCH                                                            PO BOX 4184                                                                            MCLEAN           VA      22103
LUCY WILLIAMS FOSTER                                                     12900 PRESTON RD STE 102                                                               DALLAS           TX      75230-1359
LUDLUM MEASUREMENTS INC                                                  PO BOX 972965                                                                          DALLAS           TX      75397-2965
LUDMILA E ROBSON                                                         PO BOX 986                                                                             CLAREMORE        OK      74018
LUDWIG JOHNSON                                                           23879 CR 110                                                                           PERRY            OK      73077
LUELLA JANE EDDINGS                                                      PO BOX 56                                                                              MORRISON         OK      73061-0056
LUELLA L REIM LIV TRUST 5/31/                                            1619 S ASHTON AVE                                                                      STILLWATER       OK      74074
LUELLA L REIM LIVING TR 5-31-1995                                        1619 S ASHTON AVE                                                                      STILLWATER       OK      74074
LUELLA L REIM LIVING TRUST DTD 5 31                                      PO BOX 238                                                                             MARSHALL         OK      73056
LUELLA NABORS                                                            4801 NW 62ND ST                                                                        OKLAHOMA CITY    OK      73122
LUELLA STEVENS DECD                                                      PO BOX 1248                                                                            EAGER            AZ      85925
LUFKIN INDUSTRIES LLC                                                    PO BOX 301199                                                                          DALLAS           TX      75303-1199
LUGREG TRUCKING LLC                                                      PO BOX 1289                                                                            KINGFISHER       OK      73750

LUIS A SAGASTUME                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
                                                                                                                       9211 Lake Hefner
Luke Broyles                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Luke Broyles                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Luke Broyles                                                             3922 S Henderson St                                                                    Stillwater       OK      74074
LUKE ROGERS                                                              42468 REGAL WOOD DR                                                                    ASHBURN          VA      20148
LULA MORRIS                                                              PO BOX 123                                                                             CUSHING          OK      74023-0123
LULU B S STEWART DECEASED                                                10701 SOUTH WASHINGTON                                                                 PERKINS          OK      74059
LULU BROSS                            C/O GERALD LYNN BROSS                                                                                                     LAWTON           OK      73505-9657
LUMINA BPO PTY LTD                                                       LEVEL 18/420 GEORGE ST                                                                                                       AUSTRALIA
LUNAR PETROLEUM LLC                                                      4925 GREENVILLE AVE STE 915                                                            DALLAS           TX      75206-4021
LUNDY FAMILY TRUST                                                       790621 S 3430 RD                                                                       TRYON            OK      74875
LURA HARTZELL                                                            125 S. ANNA STREET                                                                     WICHITA          KS      67209-2401
LURA RESCHKE                                                             PO BOX 13                                                                              HOTCHKISS        CO      81419
LU-RAY PETROLEUM INC                                                     5300 N BRYANT AVE                                                                      OKLAHOMA CITY    OK      73121
LUSIA MIER                                                               PO BOX 144                                                                             MARSHALL         OK      73056-0144
LUTHER AND VICKI                                                         2502 E HARBERT RD                                                                      TISHOMINGO       OK      73460
LUTHER MAXELL TAYLOR                                                     23316 S WELLING ROAD                                                                   WELLING          OK      74471
LUTHER PEDERSEN                                                          456 SUMMER AVENUE                                                                      EDGEWATER PARK   NJ      08010-1425
LUTRICIA CARLSON                                                         10260 WAKE ROBIN DR                                                                    GRAND BLANC      MI      48439-9354
LUXOR PETROLEUM LLC                                                      PO BOX 720759                                                                          OKLAHOMA CITY    OK      73172
LUZ LLC                                                                  1043 CAMINO REAL                                                                       SANTA FE         NM      87501
                                                                                                                       9211 Lake Hefner
Luz Hernandez                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Luz Hernandez                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Luz Hernandez                                                            12712 Nittany Dr                                                                       Oklahoma City    OK      73120
LVM OIL                                                                  16010 E MCELROY                                                                        YALE             OK      74085-6688
LW EW FAMILY PARTNERS 1                                                  416 TRAVIS ST STE 1200                                                                 SHREVEPORT       LA      71101-5504
LWMCMIV HOLDINGS LP                                                      1507 S SANGRE RD                                                                       STILLWATER       OK      74074
LYDA LONG                                                                2829 GUILFORD LN                                                                       OKLAHOMA CITY    OK      73120-4404
LYDIA BURRIS                                                             2311 E 52ND ST APT 36                                                                  INDIANAPOLIS     IN      46205
LYDIA KOONCE                                                             3012 BAYSIDE DR                                                                        ROCKWALL         TX      75087-5307
LYDIA LAFON TESTAMENTARY TRUST                                           PO BOX 1006                                                                            PERRY            OK      73077
LYLE AXTELL                                                              ROUTE 1                                                                                RIPLEY           OK      74062
                                                                                                                       9211 Lake Hefner
Lyle Boehm                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Lyle Boehm                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Lyle Boehm                                                               714 E Oak St                                                                           Cushing          OK      74023
LYLE DAVID RAPP                                                          PO Box 2640                                                                            MIDLAND          TX      79702
LYLE DEAN MIESNER                                                        1925 NOME ST                                                                           AURORA           CO      80010-1610
LYLE DURHAM                                                              24945 231ST AVE SE                                                                     MAPLE VALLEY     WA      98038


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LYLE K & LINDA BLACKKETTER, H&W, JT                                      20000 HIWAY 47                                                                         LEEDEY             OK    73654
LYLE KERR                                                                1361 OVERSEAS HWY LOT B3                                                               MARATHON           FL    33050-2025
LYLE LANCASTER                                                           6456 SW CASTLE LN                                                                      TOPEKA             KS    66614-4391
                                                                                                                       9211 Lake Hefner
Lyle R. Holley                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Lyle R. Holley                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Lyle R. Holley                                                           1810 S. 155 West Ave                                                                   Sand Springs       OK    74063
LYLE SEEFELDT                                                            3055 W 77TH ST                                                                         TULSA              OK    74132
LYLE STOLL                                                               6727 ASCOT LN                                                                          DALLAS             TX    75214-1628
LYLE W & LORETTA J HAFNER REV LIV T                                      13375 185TH ST                                                                         LINWOOD            KS    66052
LYLE W ROUNDS                                                            21149 E 850 RD                                                                         BUTLER             OK    73625
LYN BIBY STEFFES                                                         13620 SW SHUMWAY                                                                       AUGUSTA            KS    67010
LYN PETROLEUM INC                                                        1530 N HARRISON APT 332                                                                SHAWNEE            OK    74804-4021
LYNDA BARBER                                                             3347 WEST 114TH CIRCLE #B                                                              WESTMINISTER       CO    80031
LYNDA D LUKENS                                                           1167 GARRETT CT                                                                        SAN JOSE           CA    95120
LYNDA FEIT                                                               4202 ANTELOPE CT                                                                       ROCKLIN            CA    95677
LYNDA G ONEY REV TRUST                                                   PO BOX 679                                                                             CHESTERFIELD       MO    63006
LYNDA HILLIER                                                            2011 COPPERFIELD                                                                       STILLWATER         OK    74074
LYNDA L WILLIAMS REVOC TR OF 2005                                        24100 CR 220                                                                           MORRISON           OK    73061
LYNDA LARSON DAVIS                                                       PO BOX 1394                                                                            LONG BEACH         WA    98631
LYNDA M ESTRADA                                                          26711 ANABLE AVE                                                                       EVANS MILLS        NY    13637
LYNDA S BEATY REV TRST                                                   3102 CLASSEN BLVD BOX 328                                                              OKLAHOMA CITY      OK    73118
LYNDA STILKEY                                                            21 GARNET DR                                                                           TOPSHAM            ME    04086-1666
LYNDA SUE PISTOLE LIFE ESTATE                                            24704 WHITNEY DR                                                                       SPICEWOOD          TX    78669
LYNDA TODD                                                               729 W 8TH ST                                                                           WESLACO            TX    78596-6813
LYNDA WALDIE                                                             1706 CONSTITUTION                                                                      ENID               OK    73703
LYNDAL CHAPMAN                                                           503 RANCHE AVE                                                                         STILLWATER         OK    74075-1446
LYNDAL HART                                                              7797 NORTH HIGHWAY 18                                                                  AGRA               OK    74824-8417
LYNDALL WANN                                                             1616 W 6TH                                                                             STILLWATER         OK    74074-4227
                                                                                                                       9211 Lake Hefner
Lyndall Young                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Lyndall Young                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Lyndall Young                                                            101 SW 174th St                                                                        Oklahoma City      OK    73170
LYNDEL MORRIS                                                            PO BOX 13                                                                              VICI               OK    73859-0013
                                                                                                                       9211 Lake Hefner
Lyndell Wallace                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Lyndell Wallace                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Lyndell Wallace                                                          5543 N. Choctaw Rd                                                                     Choctaw            OK    73020
                                                                         9059 E. PANORAMA CIRCLE,
LYNDIA JACKS                                                             UNIT 219                                                                               ENGLEWOOD          CO    80112

LYNDON & BARBARA WALKER INVSTMTS LP                                      2134 WESTMINSTER DRIVE                                                                 ABILENE            TX    79602
                                                                                                                       9211 Lake Hefner
Lyndon B. Davis                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Lyndon B. Davis                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Lyndon B. Davis                                                          1900 NE 30th St                                                                        Oklahoma City      OK    73111
LYNETTE ROBBINS                                                          2585 BROCKTON LN                                                                       WAYZATA            MN    55391
LYNN BOYD                                                                6014 N TAYLOR CREEK LN                                                                 BOISE              ID    83714-8330
LYNN CAROL BIRGMANN PANNELL                                              356 GOLFVIEW ROAD #1102                                                                NORTH PALM BEACH   FL    33408
LYNN CHERVENKA                                                           RT. 2, BOX 27G                                                                         CANUTE             OK    73626-9802
LYNN D SHELLHAMMER ESTATE                                                736 RICHMOND LANE                                                                      KELLER             TX    76248
LYNN DAVIS                                                               2115 E 104TH                                                                           PERKINS            OK    74059
LYNN DEBBS                                                               44 FAIRWAY DR                                                                          PLYMOUTH           MA    02360-1461
LYNN GILES                                                               8794 CR 121                                                                            IOLA               TX    77861
LYNN HICKS                                                               PO BOX 720120                                                                          OKLAHOMA CITY      OK    73172-0172


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LYNN HOLMAN                                                            3804 S PERKINS RD                                                                       STILLWATER          OK      74074-7577
LYNN HUNT                                                              310 SW 4TH STREET                                                                       LUCIEN              OK      73757
LYNN HUTCHINSON                                                        7623 HOLLYRIDGE ROAD                                                                    JACKSONVILLE        FL      32256
LYNN JOHNSON                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater          OK      74074
LYNN KINSMAN                                                           5040 WOODSON RD                                                                         MISSION             KS      66202
LYNN KROLL                                                             2707 WESTWIND                                                                           ENID                OK      73703
LYNN LOVELACE                                                          117 MONTANA AVE                                                                         NORTH LITTLE ROCK   AR      72118-2831
LYNN MEYERS                                                            305 KNOX ST                                                                             HOUSTON             TX      77007
LYNN OLMSTED                                                           1119 SOUTH EQUINE DRIVE                                                                 STILLWATER          OK      74074
LYNN PEPPER                                                            125 HIGH COUNTRY TRL                                                                    LAFAYETTE           CO      80026
LYNN RAY HELBERG                                                       82 WANDERING OAKS LANE                                                                  HATTIESBURG         MS      39401
LYNN ROBERTS                                                           509 W PECAN ST                                                                          NOCONA              TX      76255
LYNN S. WENDT                                                          PO BOX 83                                                                               KINGFISHER          OK      73750
LYNN SHAW                                                              5361 LEXINGTON RD                                                                       MEMPHIS             TN      38120
Lynn Valz                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX      75070
Lynn Valz                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa               OK      74104
Lynn Valz                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY      10017
Lynn Valz                                                              7377 West Old Keystone Rd                                                               Cleveland           OK      74020
LYNN WEST                                                              5515 N SANGRE RD                                                                        STILLWATER          OK      74075
LYNNE BARNES                                                           11100 AMELINA LN                                                                        FRISCO              TX      75035
LYNNE FARR                                                             13940 SHIRLEY ST                                                                        OMAHA               NE      68102
LYNNE MILLER                                                           6205 W ORLANDO ST                                                                       BROKEN ARROW        OK      74011-1264
LYNNE STANDARD-NIGHTENGALE REV TR                                      23750 CARSON DRIVE UNIT 18                                                              PIONEER             CA      95666-5944
LYNNE W PHILLIPS TRUST                                                 3 VINTAGE COURT                                                                         PETALUMA            CA      94954-5887
LYNNE YOUNG-STUDIER LIV TR 3501                                        1418 MOCKINGBIRD                                                                        WEATHERFORD         OK      73096
                                                                                                                     9211 Lake Hefner
Lynne Sanders (Diveley)             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK      73120
                                    c/o Laminack, Pirtle & Martines,
Lynne Sanders (Diveley)             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX      77006
Lynne Sanders (Diveley)                                                15191 E. Reno                                                                           Choctaw             OK      73020
M & B ENERGY LLC                                                       3600 W RENO AVE                                                                         OKLAHOMA CITY       OK      73107-6138
M & D INVESTMENTS LLC                                                  2700 N VAN BUREN #254                                                                   ENID                OK      73703
M & M ACQUISITION LLC                                                  PO BOX 258890                                                                           OKLAHOMA CITY       OK      73125-8890
M & M ENERGY INC                                                       PO BOX 1448                                                                             SIDNEY              MT      59270
M & M PRODUCTION                                                       PO BOX 414                                                                              DAVENPORT           OK      74026
M & V RESOURCES INC                                                    PO BOX 772                                                                              CRESCENT            OK      73028
M A NEEL TRUST 2                                                       PO BOX 19433                                                                            HOUSTON             TX      77224-9433
M AND A OIL PROPERTIES LLC                                             1125 SW 127TH PLACE                                                                     OKLAHOMA CITY       OK      73170
M B BAKER DECEASED                                                     7405 NW 23RD STREET                                                                     BETHANY             OK      73008-5135
M BENKENDORF                                                           PO BOX 31506                                                                            EDMOND              OK      73003
M CHERYL PATRICK                                                       929 KINGS CANYON DR                                                                     GRAPEVINE           TX      76051
M CRANLEY                                                              533 CARAMAR                                                                             MADISON             WI      53711
M E TATE TRUST                                                         PO BOX 2280                                                                             CASPER              WY      82602-2280
M G COHEN PROPERTIES LLC                                               3933 E 58TH PL                                                                          TULSA               OK      74135
M G THOMPSON TRUST                                                     PO BOX 900                                                                              BEGGS               OK      74421
M GRAHAM                                                               21041 HIGHWAY 412                                                                       HUNTSVILLE          AR      72740-7865
M H EUGENE WILLIAMS ESTATE                                             19800 UTE BLUFF                                                                         RED ROCK            OK      74651
M J MADDEN JR                                                          21360 SKAGG CITY ROAD                                                                   TECUMSEH            OK      74873
M J SMITH FAMILY ROYALTIES, LLC                                        4202 HESS ROAD                                                                          ARDMORE             OK      73401
M K EXCAVATION LLC                                                     PO BOX 863                                                                              STILLWATER          OK      74076
M KATHLEEN MORAN                                                       8316 N W 110 TERRACE                                                                    OKLAHOMA CITY       OK      73162-3037
M M ENERGY INC                                                         PO BOX 21904                                                                            OKLAHOMA CITY       OK      73156-1904
M M Energy Inc.                     c/o J Chris Horton, PC             Attn: J Chris Horton                          PO Box 576                                El Reno             OK      73036
M M Energy Inc.                                                        13927 Quail Pointe Dr                                                                   Oklahoma City       OK      73134
M M RESOURCES INC                                                      2601 NW EXPRESSWAY STE 904E                                                             OKLAHOMA CITY       OK      73112
M M RESOURCES LLC                                                      PO BOX 21904                                                                            OKLAHOMA CITY       OK      73156
M MARTHA CRANLEY                                                       4514 KEATING TER                                                                        MADISON             WI      53711
M O RIFE III TRUST A                                                   3880 HULEN STREET SUITE 510                                                             FORT WORTH          TX      76107-7274
M R BROWN FAMILY LTD PARTNERSHIP                                       15513 PARK LAKE ROAD                                                                    EDMOND              OK      73013


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M R WAGER LVG TRST DTD 12-30-2014                                    PO BOX 60157                                                                OKLAHOMA CITY         OK       73146
M R Westfall Family Rev Trust                                        7500 S UNION AVE                                                            TULSA                 OK       74132
M SCOTT & MARVA J ROACH REV TR                                       3306 LIVE OAK LN                                                            STILLWATER            OK       74075
M T WARD ESTATE                                                      240 WINDYS WAY                                                              TRINITY               TX       75862
M WASSERMAN                                                          6810 HOLLYWOOD BLVD                                                         LOS ANGELES           CA       90028
M WILLIAMS                                                           118 CLASSEN DR                                                              DALLAS                TX       75218-1003
M WRIGHT SERVICES LLC                                                PO BOX 2407                                                                 ELK CITY              OK       73648-2407
M YOSS                                                               38821 BRIAR RIDGE RD                                                        WOODSFIELD            OH       43793-9524
M ZANE PINSON & ASSOCIATES                                           11429 N MAY AVE                                                             OKLAHOMA CITY         OK       73120
M&A OIL & GAS LLC                                                    34734 SR 537                                                                GRAYSVILLE            OH       45734
M&M ELECTRIC CO.                                                     11219 West Fox Drive                                                        Enid                  OK       99999
M&M OIL FIELD                                                        PO BOX 1476                                                                 CLEBURNE              TX       76033-1476
M&M PUMP & SUPPLY INC                                                PO BOX 10279                                                                CHICAGO               IL       60680-0618
M&M SUPPLY COMPANY LLC                                               PO Box 870164                                                               KANSAS CITY           MO       64187-0164
M&R TAXI COMPANY INC                                                 1115 WEST BROAD ST                                                          FALLS CHURCH          VA       22046
M.A.P. INC.                                                          PO BOX 686                                                                  SOLANA BEACH          CA       92075-0686
M3G LLC                                                              120 WINTERS DR                                                              MARIETTA              OH       45750
M5 LAND LLC                                                          PO Box 337088                                                               GREELEY               CO       80633
MAATCO PARTNERSHIP                                                   3904 MARQUETTE ST                                                           DALLAS                TX       75225-5431
MABEL CALDWELL                                                       224 SE 1ST                                                                  PERKINS               OK       74059
MABEL CAROLYN DAVIS                                                  162 BOUNDARY BLVD UNIT R                                                    ROTONDA WEST          FL       33947
MABEL CURRY STEVENS TRST                                             PO BOX 422                                                                  STEPHENS              AR       71764-0422
MABEL DOBBS                                                          8935 CATAMARAN WAY                                                          MONTGOMERY            TX       77316
MABEL JANE FLESNER ESTATE                                            117 LIBERTY HALL DR                                                         PENDELTON             SC       29670

MABEL LOUISE MOUNTS                                                  733 PLANTATION ESTATES DR APT E305                                          MATTHEWS              NC       28105
MABEL MUGLER                                                         1523 PIERRE                                                                 MANHATTAN             KS       66502
MABEL OSTOT & CO LLC                                                 15593 E INDIAN GRASS AVE                                                    PARKER                CO       80134
MABEL SMETHERS                                                       PO BOX 127                                                                  TONKAWA               OK       74653

MABETH B BAMBERGER LIVING TRUST                                      27309 VIA CAPRI                                                             SAN JUAN CAPISTRANO   CA       92675
MABLE CUNNINGHAM                                                     13617 S UNION HALL RD                                                       CAMBY                 OR       97013
Mable Hickmon                       c/o Allen Stewart, PC            Attn: Allen M Stewart                 325 N Saint Paul St   Ste. 4000       Dallas                TX       75070
Mable Hickmon                       c/o Drummond Law, PLLC           Attn: Donald A Lepp                   1500 South Utica      Ste. 400        Tulsa                 OK       74104
Mable Hickmon                       c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                 747 3rd Ave                           New York              NY       10017
Mable Hickmon                                                        814 North Vancouver Ave                                                     Tulsa                 OK       74127
MAC ENGINEERING & OPER CO                                            PO BOX 1192                                                                 DRUMRIGHT             OK       74030
MAC PERCIVAL                                                         7219 TIMBERLAKE DR                                                          SUGAR LAND            TX       77479
MAC SYSTEMS INC                                                      1010 E 2ND ST                                                               TULSA                 OK       74120-2006
MACDONALD OIL & GAS LLC                                              PO BOX 5870                                                                 KETCHUM               ID       83340
MACDONALD REVOCABLE TRUST                                            PO BOX 5870                                                                 KETCHUM               ID       83340
MacEntire, Taylor                   c/o White Star Petroleum, LLC    301 NW 63rd St                        Ste 600                               Oklahoma City         OK       73116
MACFARLANE COMPANY                                                   106 WEST MAIN, SUITE 205                                                    EL DORADO             AR       71730
MACH RESOURCES                                                       PO BOX 21880                                                                OKLAHOMA CITY         OK       73156
MACHELLE SCHOMAKER                                                   801 W CHOCTAW LN                                                            STILLWATER            OK       74075
MACK COHN                                                            4072 HIDDEN VIEW CIRCLE                                                     FORT WORTH            TX       76109
MACKELLAR SERVICES INC                                               PO Box 18298                                                                Oklahoma City         OK       73154
MACKENZIE HARRIS                                                     7611 MEADOWVALE DR                                                          HOUSTON               TX       77063-6209
MACKENZIE JONES                                                      604 E MINNIE                                                                DAVIS                 OK       73030
MACKEY SCOTT & SONS                                                  141 LAUREL RIDGE CIR                                                        AIKEN                 SC       29803-7795
MACKLEE MINERALS LLC                                                 PO BOX 1837                                                                 EDMOND                OK       73083
MACON ENERGY LLC                                                     2204 RESEARCH PARK BLVD                                                     NORMAN                OK       73069
MACONDO HOLDING CORPORATION                                          PO BOX 4272                                                                 MIDLAND               TX       79704-4272
MACQUARIE CAPITAL (USA) INC                                          125 W 55TH ST                                                               NEW YORK              NY       10019-5369
MACY CAPITAL PARTNERS LLC                                            2020 E 15TH ST STE A                                                        EDMOND                OK       73013-6749
MACY FAMILY LIVING TRUST                                             PO BOX 722525                                                               NORMAN                OK       73070-8918
MADALENE LANPHERE                                                    PO BOX 1011                                                                 NORMAN                OK       73070
MADDXCO LLC                                                          110 DAVID FOREST LANE                                                       CONROE                TX       77384



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MADELINE BLAUNER GARDNER LIFE TENAN                                      PO BOX 701468                                                                          TULSA             OK      74170-1468
MADELINE HEYER                                                           14562 NEWPORT AVE #3                                                                   TUSTIN            CA      92780
MADELINE MCGOLDRICK HOLDER                                               425 SPRING LAKE DRIVE                                                                  SHREVEPORT        LA      71106
MADELYN CHAMBLEE                                                         29 WHITE HOUSE RD                                                                      LOS LUNAS         NM      87031
MADELYN KINNAMON                                                         206 MADELIENS PARK CIR                                                                 JEFFERSON CITY    MO      65109
MADELYN PROPERS                                                          1613 E 56TH ST                                                                         TULSA             CA      74105
MADISON CAPITAL ENERGY                                                   402 GAMMON PL STE 320                                                                  MADISON           WI      53719-1059
MADISON CAPITAL INVESTMNTS LLC                                           402 GAMMON PL STE 320                                                                  MADISON           WI      53719-1059
MADISON ENERGY INC                                                       PO BOX 1448                                                                            SIDNEY            MT      59270
MADISON LAIRD                                                            1348 CHERTSEY CT                                                                       SAN JOSE          CA      95131
MADISYN ABIGAIL BROWN                                                    30031 NORTH 3950 ROAD                                                                  OCHELATA          OK      74051
MAE ALLEN                                                                PO BOX 996                                                                             CLINTON           OK      73601
MAE BELLE THEDFORD SALING ESTATE                                         PO BOX 140597                                                                          BROKEN ARROW      OK      74014
MAE JETTE                                                                1723 COUNTY ROAD 1213                                                                  TUTTLE            OK      73089-3009

MAE KILE                              C/O JACK OR SHIRLEY HARRIS                                                                                                AUSTIN            TX      78730-3701
MAE WARD                                                                 1313 S 133 E AVE                                                                       TULSA             OK      74108
                                                                                                                       9211 Lake Hefner
Mae Yvonne Chapman                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mae Yvonne Chapman                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Mae Yvonne Chapman                                                       6357 S. 80th East Ave, Apt C                                                           Tulsa             OK      74133
MAECENAS MINERALS LLP                                                    3838 OAK LAWN AVE STE 300                                                              DALLAS            TX      75219-4541
MAGIC M&R LLC                                                            1720 SOUTH BELLAIRE ST 1209                                                            DENVER            CO      80222-4339
MAGMA TRUST                                                              PO BOX 1622                                                                            ABILENE           TX      79604-1622
MAGNA LEGAL SERVICES LLC                                                 PO BOX 822804                                                                          PHILADELPHIA      PA      19182-2804
MAGNESS ENERGY LLC                                                       2410 W MEMORIAL RD #C219                                                               OKLAHOMA CITY     OK      73134
MAGNESS PETROLEUM CP                                                     10 E RIVER PL ESTE 240                                                                 FRESNO            CA      99999
MAGNET TRUCKING LLC                                                      PO BOX 1121                                                                            WOODWARD          OK      73802
MAGNIR GROUP LLC                                                         1441 S CARSON AVE STE 101                                                              TULSA             OK      74119-3456
MAGNOLIA-WHITE STAR                                                      PO BOX 140660                                                                          BROKEN ARROW      OK      74014-0660
MAGNUM HUNTER PRODUCTION                                                 1700 LINCOLN ST STE 3700                                                               DENVER            CO      80203-4553
MAGNUM OIL TOOLS INTERNATIONAL LTD                                       5655 BEAR LN STE 100                                                                   CORPUS CHRISTI    TX      78405-4407
MAGUIRE OIL COMPANY                                                      5950 BERKSHIRE LN STE 1500                                                             DALLAS            TX      75225-5846

MAHAFFEY & GORE PC ATTORNEYS AT LAW                                      300 NE 1ST ST                                                                          OKLAHOMA CITY     OK      73104-4004
MAHONEY O&G LLC                                                          40142 STONEHOUSE RD                                                                    WOODSFIELD        OH      43793
MAHONY-KILLIAN INC                                                       10215 SUGAR HILL DR                                                                    HOUSTON           TX      77042
                                                                                                                       9211 Lake Hefner
Mahvash Khosrowyar                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mahvash Khosrowyar                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Mahvash Khosrowyar                                                       5011 E. 110th St                                                                       Tulsa             OK      74137
MAIDA MORAN                                                              24415 VILLAGE WALK PL APT 104                                                          MURRIETA          CA      92562

MAIENSCHEIN JOINT TR DTD AUG22 2007                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
MAILFINANCE INC                                                          PO BOX 3682                                                                            DALLAS            TX      75312
                                                                                                                       9211 Lake Hefner
Mailin Overton                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mailin Overton                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Mailin Overton                                                           1520 Holmes Ct                                                                         Cushing           OK      74023
MAIN BROTHERS PARTNERSHIP                                                5599 WIDE OAK CT                                                                       WOODBRIDGE        VA      22192
MAIN DONNELLEY FAMILY TRST                                               1502 CUSTER LN                                                                         AUGUSTA           KS      67010-8238
MAIN KNIGHT PROPERTIES LLC                                               8304 NW 74TH ST                                                                        OKLAHOMA CITY     OK      73132-3707
MAIN STREET HOLDING COMPANY                                              11413 W 104TH ST                                                                       OVERLAND PARK     KS      66214




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                                                                                                                       Burton M Cross Office
Maine Office of the State Treasurer   Unclaimed Property                 39 State House Station                        Building, 3rd Floor   111 Sewall St      Augusta          ME      04333-0039
MAIRA ESTRADA                                                            81 MLK LANE                                                                            PINELANE         SC      29934-6800
MAJESTIC PROPERTIES LLC                                                  6455 CR 4068                                                                           KEMP             TX      75143
MAJORIE M. LINDLEY REV. LIVING TRUS                                      4437 MIRA VISTA DRIVE                                                                  FRISCO           TX      75034-7519
MAJORS ENERGY LLC                                                        4334 NW EXPRESSWAY STE 252                                                             OKLAHOMA CITY    OK      73116-1576
MALCO ROYALTIES LTD                                                      PO BOX 17001                                                                           SAN ANTONIO      TX      78217
MALCOLM MILSTEN                                                          6902 S UTICA PLACE                                                                     TULSA            OK      74136
MALCOM PHELPS                                                            13225 MEMORY LN                                                                        FAIRFAX          VA      22033-3529
MALIBU TRUCKING LLC                                                      700 N MAIN                                                                             EUREKA           KS      67045
                                                                                                                       9211 Lake Hefner
Malik Shakur                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Malik Shakur                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Malik Shakur                                                             1100 NE 16th                                                                           Oklahoma City    OK      73117
MALINDA BERRY FISCHER 2003 REV TR D                                      PO BOX 258850                                                                          OKLAHOMA CITY    OK      73125
MALINDA BERRY FISCHER 2003 REVOCABL                                      PO BOX 258850                                                                          OKLAHOMA CITY    OK      73125-8850
MALINDA BERRY FISCHER TRUST                                              PO BOX 258850                                                                          OKLAHOMA CITY    OK      73125-8850
MALINDA L DUNCAN                                                         2805 JARED LANE                                                                        MARRERO          LA      70072
MALINDA LOPEZ CAYZEDO                                                    5801 NICHOLSON LN #829                                                                 ROCKVILLE        MD      20852
MALINDA PAYNE                                                            6252 S HUDSON AVE                                                                      TULSA            OK      74136
                                                                                                                       9211 Lake Hefner
Malinda Guzman                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Malinda Guzman                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Malinda Guzman                                                           1693 N Triple X Rd                                                                     Choctaw          OK      73020
                                                                                                                       9211 Lake Hefner
Malissa J. Layland                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Malissa J. Layland                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Malissa J. Layland                                                       6025 N. Harrah Rd                                                                      Harrah           OK      73045
MALLORY MCELRATH                                                         16523 W 86TH STREET NORTH                                                              OWASSO           OK      74055
MALLORY POPLIN                                                           716 VILLA AVE                                                                          YUKON            OK      73099-4412
MALONE CONTRACT PUMPING INC                                              51575 E 45-5 Rd                                                                        Pawnee           OK      99999
MALONE LIVING TRUST                                                      4629 NW 61ST ST                                                                        OKLAHOMA CITY    OK      73122
Maly, Sidney                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
MANDI BRITTON                                                            15714 E MCELROY                                                                        YALE             OK      74085-6913
MANDI PHILLIPS                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
MANDY CLIFTON                                                            6968 E 770 RD                                                                          KINGFISHER       OK      73705
MANDY GROSS AND JEREMY W GROSS JT                                        4910 PINTO DR                                                                          STILLWATER       OK      74074
                                                                                                                       9211 Lake Hefner
Mangus Scott Jr.                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mangus Scott Jr.                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Mangus Scott Jr.                                                         719 Washington St                                                                      Langston         OK      73050
Mannschreck, Michael                  c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
                                                                                                                       9211 Lake Hefner
Manny Torres                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
Manny Torres                          c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles      CA      90017
Manny Torres                                                             11648 Coyote Run                                                                       Guthrie          OK      73044
MANOR OAKS LLC                                                           3220 MEADOW LANE                                                                       COLLEGEVILLE     PA      19426
MANUEL JACKSON                                                           5800 NW 89TH ST                                                                        OKLAHOMA CITY    OK      73132
Manwell, Fonda                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
MANZANILLO CR LLC                                                        PO BOX 2525                                                                            EDMOND           OK      73083-2525
MANZANITA ENERGY LLC                                                     PO BOX 1476                                                                            GREENWOOD        AR      72936

MAP 92-96 MGD AN OK GENERAL PTNRSHP                                      101 NORTH ROBINSON SUITE 1000                                                          OKLAHOMA CITY    OK      73102-5514
MAP 97A - OK                                                             101 N ROBINSON, # 1000                                                                 OKLAHOMA CITY    OK      73102-5514


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MAP 99A-NET A TEXAS GENERAL PTNRSHP                                      101 N. ROBINSON AVE                                                                    OKLAHOMA CITY    OK      73102-5514

MAP HOLDINGS AN OKLAHOMA PARTNERSHI                                      101 N ROBINSON 1000                                                                    OKLAHOMA CITY    OK      73102-5514
MAP RESOURCES INC                                                        PO BOX 2836                                                                            MIDLAND          TX      79702
MAP00-NET                                                                PO BOX 268946                                                                          OKLAHOMA CITY    OK      73126-8946
MAP2001-NET                                                              101 N ROBINSON AVE STE 1000                                                            OKLAHOMA CITY    OK      73102
MAP2004-OK                                                               101 N ROBINSON SUITE 1000                                                              OKLAHOMA CITY    OK      73102-5514
MAP2006-OK                                                               PO BOX 268988                                                                          OKLAHOMA CITY    OK      73126
MAP2012-OK                                                               PO BOX 268962                                                                          OKLAHOMA CITY    OK      73126-8962
MAP2015-OK                                                               PO BOX 258854                                                                          OKLAHOMA CITY    OK      73125-8854
MAPLE AVENUE ROYALTY LLC                                                 6608 N WESTERN AVE PMB # 461                                                           OKLAHOMA CITY    OK      73116-7326
MAPLE OCEAN LLC                                                          200 CRESCENT CT STE 1040                                                               DALLAS           TX      75201-2103
MARAJANE DAVIS                                                           3514 CANYON PASS DR                                                                    KATY             TX      77494
MARALEE METCALF                                                          8315 E 86TH ST                                                                         PERKINS          OK      74059-3803
MARATHON OIL (WEST TEXAS) LP                                             PO BOX 732312                                                                          DALLAS           TX      75373-2312
MARATHON OIL COMPANY                                                     7301 NW EXPRESSWAY STE 225                                                             OKLAHOMA CITY    OK      73132
MARATHON PETROLEUM LP                                                    539 S MAIN ST                                                                          FINDLEY          OH      45840-3229
MARBET LLC                                                               1900 E 15 STREET, BLDG 600B                                                            EDMOND           OK      73013-6691
MARBIL LLC                                                               PO BOX 52367                                                                           TULSA            OK      74152
                                                                                                                       9211 Lake Hefner
Marc C Cook                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Marc C Cook                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Marc C Cook                                                              801 W. Norman St                                                                       Broken Arrow     OK      74012
MARC HATTON                                                              16028 E SKELETON RD                                                                    DOUGLAS          OK      73733
MARC MEACHAM                                                             18 HONEY HOLLOW RD                                                                     QUEENSBURY       NY      12804
MARC MORAIN                                                              609 MEADOWOOD DR                                                                       BROKEN ARROW     OK      74011-8614
MARC SCHUMAN                                                             10627 PICTURED ROCKS DRIVE                                                             PEYTON           CO      80831
                                                                                                                       9211 Lake Hefner
Marca Bennett                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Marca Bennett                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Marca Bennett                                                            1536 Woods Circle                                                                      Norman           OK      73069
                                                                                                                       9211 Lake Hefner
Marca Lea Bennett                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Marca Lea Bennett                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Marca Lea Bennett                                                        1536 Woods Circle                                                                      Norman           OK      73069
MARCANCO ENERGY COMPANY LLC                                              PO Box 18669                                                                           Oklahoma City    OK      73154
MARCEILLE FITZGERALD                                                     27449 CHERRY CREEK DR                                                                  SANTA CHRISTA    CA      91354

MARCEL SILBERMAN                                                         2929 POST OAK BOULEVARD APT 1204                                                       HOUSTON          TX      77056-6120
MARCELLA LAMB                                                            2209 OUTABOUNDS WAY                                                                    EDMOND           OK      73034
MARCELLA M CRUSE LIVING TR                                               10900 SW CR 249                                                                        JASPER           FL      32052
MARCELLA MATTHEWS                                                        1305 CORONADO                                                                          PONCA CITY       OK      74064
MARCELLA PORTER                                                          110 W HARTMAN                                                                          STILLWATER       OK      74075-3600
                                                                                                                       9211 Lake Hefner
Marcella Shiel                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
Marcella Shiel                        c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles      CA      90017
Marcella Shiel                                                           6701 Marie Lane                                                                        Guthrie          OK      73044
MARCELLE SOLIMAN                                                         1811 ROLLINGWOOD DR                                                                    BATON ROUGE      LA      70817
                                                                                                                       9211 Lake Hefner
Marcellius Fields                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Marcellius Fields                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Marcellius Fields                                                        12905M N Triple X Rd                                                                   Luther           OK      73054
MARCI COURTNEY                                                           11216 DOVER CT                                                                         YUKON            OK      73099
MARCI MCLEAN                                                             7423 STONECREST DRIVE                                                                  DALLAS           TX      75254


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              CreditorName               CreditorNoticeName                          Address1                            Address2                 Address3            City      State       Zip      Country
MARCIA A MARRIOTT                                                     PO BOX 941542                                                                          HOUSTON            TX      77074
MARCIA BERGERON                                                       936 OAK HILLS PKWY                                                                     BATON ROUGE        LA      70810-4708
MARCIA DAVENPORT                                                      7719 S 92ND EAST AVE                                                                   TULSA              OK      74133-4915
MARCIA DEAN HARRISON                                                  2823 DONNYBROOK DR                                                                     BURLESON           TX      76028-2329
MARCIA FASIG                                                          336 APPLE LN                                                                           HAYSVILLE          KS      67060
MARCIA GARST                                                          3125 SAINT CLAIR DR                                                                    NORMAN             OK      73072-4763
MARCIA GIBSON                                                         2091 SUNSET TRL                                                                        ALVA               FL      33920-3715
MARCIA GREER                                                          8831 S 69TH E AVE                                                                      TULSA              OK      74133
MARCIA GUTSHALL                                                       358 NE HIGHWAY Y                                                                       TRENTON            MO      64683-8141
MARCIA JEAN TANNER                                                    2325 SEMINOLE RD                                                                       ATLANTIC BEACH     FL      32233-5925
MARCIA MCCAIN                                                         2875 CENTERWOOD                                                                        FAYETTEVILLE       AR      72703
MARCIA N ANDERSON TTEE                                                PO BOX 18669                                                                           OKLAHOMA CITY      OK      73154-0669
MARCIA PERTGEN                                                        20836 FORDNEY RD                                                                       LINCOLN            MO      65338-2424
MARCIA SNOOK                                                          3708 WOODS EDGE RD                                                                     COLUMBIA           MO      65203
                                                                                                                    9211 Lake Hefner
Marcia Fenity                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                   c/o Laminack, Pirtle & Martines,
Marcia Fenity                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Marcia Fenity                                                         5601 NW 59th St                                                                        Warr Acres         OK      73122
MARCILLE CLAYTON                                                      639 CAMRYN LN                                                                          GUTHRIE            OK      73044
MARCO PROPERTIES LLC                                                  4400 NORTH MERIDAN AVENUE                                                              OKLAHOMA CITY      OK      73112
                                                                                                                    9211 Lake Hefner
Marcos Chavez                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                   c/o Laminack, Pirtle & Martines,
Marcos Chavez                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Marcos Chavez                                                         5234 West Canyon Rd                                                                    Guthrie            OK      73034
MARCOURT PROPERTIES LLC                                               PO BOX 386                                                                             MUSKOGEE           OK      74402
MARCUS A JARDOT                                                       5214 E 32ND AVE                                                                        STILLWATER         OK      74074
MARCUS ALLEN                                                          66 E CRYSTAL CANYON CIR                                                                THE WOODLANDS      TX      77389
                                                                                                                    9211 Lake Hefner
Marcus Gene White Jr.              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                   c/o Laminack, Pirtle & Martines,
Marcus Gene White Jr.              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Marcus Gene White Jr.                                                 210 W. 3rd                                                                             Chandler           OK      74834
MARCUS HAY                                                            210 LAKESHORE RD                                                                       SHADY SHORES       TX      76208
MARCUS HEBARD                                                         11024 NORTH 81ST DRIVE                                                                 PEORIA             AZ      85345
MARCUS KEMMERER                                                       226 CREST AVE                                                                          HUNTINGTON BEACH   CA      92648
MARE OIL CO                                                           4825 S PEORIA AVE STE 3                                                                TULSA              OK      74105-4555
MARGARET A BROWN AND LEE A BROWN                                      2084 MT BAKER HIGHWAY                                                                  BELLINGHAM         WA      98226
MARGARET A ROBINSON                                                   11717 GLENHURST BLVD                                                                   OKLAHOMA CITY      OK      73162
MARGARET ADAIR-FLEMING                                                8733 BAYBERRY AVE.                                                                     LANTANA            TX      76226-5590
MARGARET ALDERSON BARNES                                              21332 BULKHEAD CIR                                                                     HUNTINGTON BEACH   CA      92646
MARGARET ARMSTRONG                                                    600 FERN MEADOW DR                                                                     UNIVERSAL CITY     TX      78148-3704
MARGARET B HERNDON REV TRST                                           5827 S FLORENCE AVE                                                                    TULSA              OK      74105-2158
MARGARET BASKIN                                                       500 PARKER DR. APT 2314                                                                SAN MARCOS         TX      78666-7761
MARGARET BELZ                                                         PO Box 17                                                                              VALLEY VIEW        TX      76272
MARGARET BOWEN                                                        915 N IVY ST                                                                           JENKS              OK      74037
MARGARET BRINCK                                                       6633 223RD AVE NE                                                                      REDMOND            WA      98053
MARGARET BROWN                                                        567 E LASSEN AVE SPC 408                                                               CHICO              CA      95973-0659
MARGARET BURLINGAME                                                   570 E 650TH AVE                                                                        ARMA               KS      66712
                                                                                                                    9211 Lake Hefner
Margaret Callie Godwin             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                   c/o Laminack, Pirtle & Martines,
Margaret Callie Godwin             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Margaret Callie Godwin                                                4358 N. Vargas Rd                                                                      Choctaw            OK      73020
MARGARET COLE                                                         1722 S BOSTON AVE                                                                      TULSA              OK      74119
MARGARET CROMER                                                       9103 S LYNN LANE ROAD                                                                  BROKEN ARROW       OK      74012
MARGARET CYPRET                                                       3781 S SHAWNEE AVE                                                                     PAHRUMP            NV      89048
MARGARET DAHLSTROM                                                    1251 SW TOPEKA BOULEVARD #15                                                           TOPEKA             KS      66612


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MARGARET DAY                                                            2311 HOMESTEAD RD                                                                       ENID            OK       73703
MARGARET DECD                                                           1812 SWANNANOA DR                                                                       GREENSBORO      NC       27410
MARGARET DOSCH                                                          1140 W TENNIEL DR                                                                       GREEN VALLEY    AZ       85614
MARGARET DUNN                                                           PO BOX 703044                                                                           TULSA           OK       74170-3044
MARGARET E KRAMER                                                       5900 S LAKE FOREST DR STE 300                                                           MCKINNEY        TX       75070
MARGARET ELIZABETH NELSON SLAWSON                                       2615 N PARK DR                                                                          STILLWATER      OK       74075-2643
MARGARET ELIZABETH SYNHORST                                             1350 W CANADA CREEK PLACE                                                               TUCSON          AZ       85737
MARGARET ELLISON                                                        2781 E 28TH ST                                                                          TULSA           OK       74114-5616
MARGARET FIELD LIVING TRUST                                             3420 NW 43RD ST                                                                         OKLAHOMA CITY   OK       73112-6356
MARGARET FLYNN TRUST                                                    PO BOX 1588                                                                             TULSA           OK       74101-1588
MARGARET FORD                                                           PO BOX 674                                                                              EL RITO         NM       87530-0674
MARGARET FORD                                                           PO BOX 331                                                                              KETCHUM         OK       74349-0331
MARGARET FORERO                                                         44 SHORTRIDGE DR                                                                        MINEOLA         NY       11501
MARGARET GAIL OSTERMAN                                                  20725 NORTH 57TH DRIVE                                                                  GLENDALE        AZ       85308
MARGARET GALLAGHER HORNER                                               6001 PEBBLE HILL DR                                                                     ST LOUIS        MO       63123
MARGARET GARY                                                           1703 HIDDEN OAKS DR                                                                     STILLWATER      OK       74074
MARGARET GLEESON                                                        PO BOX 1288                                                                             WATERLOO        IA       50704-1288
MARGARET GOOLD                                                          PO BOX 264                                                                              AVERILL PARK    NY       12018-0264
MARGARET GRAHAM                                                         10529 SEDALIA ST                                                                        COMMERCE CITY   CO       80022
Margaret Grays                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX       75070
Margaret Grays                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK       74104
Margaret Grays                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY       10017
Margaret Grays                                                          1215 E. 8th St                                                                          Pawhuska        OK       74056
MARGARET H LIGHT                                                        1618 SHEFFIELD RD                                                                       OKLAHOMA CITY   OK       73120-1338
MARGARET HENSLEY TTEE                                                   15304 MISTY PARK DR                                                                     EDMOND          OK       73013
MARGARET HOOL                                                           PO BOX 1262                                                                             ELM MOTT        TX       76640
MARGARET ISAACS                                                         2713 INDIAN DR.                                                                         ENID            OK       73703
MARGARET JANE SWANK ESTATE DECD                                         300 W TIMBERDELL RD                                                                     NORMAN          OK       73019
MARGARET JEAN HOWELL                                                    3016 OAKMOUNT DR                                                                        EDMOND          OK       73013
                                                                                                                      9211 Lake Hefner
Margaret Jean Sheets                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                     c/o Laminack, Pirtle & Martines,
Margaret Jean Sheets                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Margaret Jean Sheets                                                    100106 S. Hwy 18                                                                        Meeker          OK       74855
MARGARET JONES                                                          1224 S CHESTER                                                                          STILLWATER      OK       74074
MARGARET K REPLOGLE MINERAL TR UAO                                      2801 NW 57TH ST                                                                         OKLAHOMA CITY   OK       73112
MARGARET L BUCKLEY REV TRUST                                            8408 LOWERY LANE                                                                        OKLAHOMA CITY   OK       73132
MARGARET L URI SIMMONS                                                  3530 MALONEY RD                                                                         KNOXVILLE       TN       37920
MARGARET LAIRD                                                          3722 IMPERIAL RIDGE PKWY                                                                PALM HARBOR     FL       34684
MARGARET LAIRD                                                          8887 S LEWIS AVE APT 802                                                                TULSA           OK       74137
MARGARET LEGAN-GIBSON                                                   13849 N TAN TARA DR                                                                     SUN CITY        AZ       85351
MARGARET LOGAN                                                          528 LINDEN AVE                                                                          LAKE FOREST     IL       60045

MARGARET M SPEIDEL                                                      5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX       75070
MARGARET MCCALL                                                         PO BOX 75124                                                                            OKLAHOMA CITY   OK       73147
MARGARET MCCANN                                                         780 E BRITTON RD                                                                        OKLAHOMA CITY   OK       73114
MARGARET MOREHEAD                                                       2204 S RICHMOND AVE                                                                     TULSA           OK       74114-2132
MARGARET NATION                                                         13 1/2 3RD ST                                                                           NEWPORT         RI       02840
MARGARET NEWMAN                                                         5902 HURST ST                                                                           NEW ORLEANS     LA       70115-4251
MARGARET NICKELL                                                        4416 RANKIN RD                                                                          OKLAHOMA CITY   OK       73120
MARGARET NICOLE LOFTUS                                                  1337 LEGION WAY SE                                                                      OLYMPIA         WA       98501
MARGARET POUSARDIEN                                                     1105 EAST H AVE                                                                         N LITTLE ROCK   AR       72116
MARGARET PRATO                                                          4040 CHARTER CLUB DR                                                                    DOYLESTOWN      PA       18902-5464
MARGARET RAMSEY                                                         7123 N TOWER ESTATES                                                                    GLENCO          OK       74032
MARGARET REBENAR                                                        4835 KEEKOMAN TRL                                                                       PRESCOTT        AZ       86305
MARGARET REVER                                                          1913 DIAMOND CLUSTER                                                                    CARROLLTON      TX       75010
MARGARET ROMANO                                                         22617 8TH DR SE                                                                         BOTHELL         WA       98021
MARGARET SCHAEFER                                                       6633 223RD AVE NE                                                                       REDMOND         WA       98053
MARGARET SEARS                                                          601 W 11TH AVE UNIT 503                                                                 DENVER          CO       80204


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             CreditorName                    CreditorNoticeName                         Address1                            Address2                  Address3           City    State     Zip      Country
MARGARET SEELIGER                                                        8200 GM FARM RD                                                                         PERRY           OK    73077
MARGARET SERIGNESE                                                       19 LILLIAN ST                                                                           JEFFERSON       NY    11777
MARGARET SINGER                                                          ADDRESS REDACTED
MARGARET SPREITZER                                                       PO BOX 52000                                                                            OKLAHOMA CITY   OK    73152-2000
MARGARET STOREY                                                          PO BOX 674                                                                              EL RITO         NM    87530-0674
MARGARET STORY                                                           3866 PARADISE BAY DR                                                                    GULF BREEZE     FL    32563-2973
MARGARET SUMNER                                                          2014 15TH ST                                                                            LUBBOCK         TX    79401
MARGARET TATRO                                                           6118 MCCALLUM ST                                                                        PHILADELPHIA    PA    19144
MARGARET TORUNO                                                          117 N CRAIG AVE                                                                         PASADENA        CA    91107-3509
MARGARET TOTTEN                                                          3205 N. 5TH STREET                                                                      CANON CITY      CO    81212-5221
MARGARET VOSS                                                            5015 E PINTO RD                                                                         STILLWATER      OK    74074
MARGARET WILLIFORD                                                       26980 COUNTY RD M                                                                       CORTEZ          CO    81321-9380
                                                                                                                       9211 Lake Hefner
Margaret Reeves                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Margaret Reeves                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Margaret Reeves                                                          616 Emerwood Ct                                                                         Moore           OK    73160
MARGARITA MUNOZ                                                          1432 SW 20TH ST                                                                         OKLAHOMA CITY   OK    73108-7434
MARGENE PEARCE                                                           1400 COUNTRY CLUB DR                                                                    PERRY           OK    73077
MARGERITE SISSON                                                         3113 SAN BERNADO                                                                        LAREDO          TX    78040
MARGERY L PUZIN REV TR                                                   12002 E TIPPERARY ST                                                                    WICHITA         KS    67206
Margery Sloan                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX    75070
Margery Sloan                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK    74104
Margery Sloan                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY    10017
Margery Sloan                                                            140905 E Noble Rd                                                                       Glencoe         OK    74032
MARGERY WILLIAMS                                                         310 WEST ADAMS                                                                          CRESCENT        OK    73028
MARGI WHISENHUNT                                                         401 1/2 N BROADWAY                                                                      CHECOTAH        OK    74426
MARGIE COWELL                                                            6350 QUAIL                                                                              PERRY           OK    73077
MARGIE EDITH MEYER TRUST                                                 14767 ROBIN CIRCLE                                                                      YUKON           OK    73099
MARGIE GOOD                                                              4604 W 113TH ST                                                                         LEAWOOD         KS    66211
MARGIE L BOWEN (DECEASED)                                                2315 EL PRADO AVE                                                                       LEMON GROVE     CA    91945
MARGIE W GRAVES LIFE ESTATE                                              144 BATES                                                                               JACKSON         MI    49202
MARGIE WILLIAMS AN INCAPACITATED                                         PO BOX 631                                                                              BETHANY         OK    73008
                                                                                                                       9211 Lake Hefner
Margie Wallace                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Margie Wallace                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Margie Wallace                                                           5543 N. Choctaw Rd                                                                      Choctaw         OK    73020
MARGO BOWLES                                                             2021 S LEWIS STE 335                                                                    TULSA           OK    74104
MARGO CLARK                                                              684 CLIFFSIDE DR                                                                        FAYETTEVILLE    AR    72701
MARGO JONES                                                              PO BOX 542                                                                              DUNCAN          OK    73534
MARGOT GRANT MOORE                                                       PO BOX 939                                                                              VIRGINIA CITY   NV    89440
MARGRETTA FORRESTER                                                      431-D NORTH POLO DRIVE                                                                  ST LOUIS        MO    63105-2631

MARGUERITE BRACKSIECK & FRANK BRACK                                      611 ELLINGHAM DR                                                                        KATY            TX    77450
MARGUERITE CARLSON                                                       1545 TEMPLE LN #105                                                                     ROCKFORD        IL    61112
MARGUERITE PIZER                                                         124 GROOMS ST                                                                           LIBERTY         MO    64068
MARGUERITE ROONEY                                                        124 E 4TH ST                                                                            TULSA           OK    74103
MARGUERITE SCHROEDER WILSON                                              1005 JANNAS TRAIL                                                                       EDMOND          OK    73012
MARGY LOU BOWIE                                                          788 COUNTY ROAD 524                                                                     WALSENBURG      CO    81089
MARGYE DAMJANOVICH                                                       788 COUNTY ROAD 524                                                                     WALSENBURG      CO    81089-9497
MARIA BARKER                                                             302 SUNSET CT APT 103E                                                                  CALDWELL        ID    83605
MARIA C FLORES-SANCHEZ                                                   942 VILLAGE PARKWAY                                                                     COPPELL         TX    75019

MARIA C PORTER-HEHNKE                                                    5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX    75070
                                                                                                                       9211 Lake Hefner
Maria Diaz- Bosquez                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Maria Diaz- Bosquez                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006


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                 CreditorName                CreditorNoticeName                            Address1                         Address2                  Address3             City     State     Zip      Country
Maria Diaz- Bosquez                                                      1313 SW 68th St                                                                         Oklahoma City      OK    73159
                                                                                                                       9211 Lake Hefner
Maria G. Ross                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Maria G. Ross                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Maria G. Ross                                                            15014 E. 35th St                                                                        Tulsa              OK    74134
MARIA GOSSETT                                                            36 RIALTO AVE                                                                           CLOVIS             CA    93612-4432
MARIA L WELCH REVOCABLE TRUST                                            208 PALMER PRKWY                                                                        LODI               WI    53555
MARIAN CURRY                                                             11704 ELMER LINN DRIVE                                                                  LONGMONT           CO    80504
MARIAN E CLINE REVOCABLE TRUST                                           1412 MAPLE                                                                              PERRY              OK    73077
MARIAN HOWARD                                                            3621 17TH ST                                                                            SACRAMENTO         CA    95818
                                                                                                                       9211 Lake Hefner
Marian King                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Marian King                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Marian King                                                              5928 E. 35th St                                                                         Tulsa              OK    74135
MARIAN KREMEIER                                                          27424 E WOOD RD                                                                         LUCIEN             OK    73757
MARIAN MARIE ALMES                                                       2487 SILVERADO CIRCLE                                                                   LAFAYETTE          IN    47909
MARIAN NORDAN HARWELL ESTATE                                             8000 1H-10 WEST, SUITE 705                                                              SAN ANTONIO        TX    78230
MARIAN PENNINGTON                                                        5137 8TH ST                                                                             PORT ARTHUR        TX    77642-1017
MARIAN PLAHTE GRIFFIN                                                    1635 CEMETERY HILL RD                                                                   CARROLLTON         TX    75007-5089
MARIAN R. HANNA                                                          6881 DUNROAMIN WAY                                                                      PLACERVILLE        CA    95667
MARIAN VANDERPOOL                                                        16126 LANDINO RUN                                                                       CYPRESS            TX    77429
MARIANN RYAN                                                             8431 YELM HWY SE                                                                        OLYMPIA            WA    98513-5209
MARIANNA COOPER                                                          1247 CHARA LN                                                                           SPARKS             NV    89441-3009
MARIANNE FINAN                                                           8507 SARAH LN                                                                           MABELVALE          AR    72103
MARIANNE MASON                                                           PO BOX 38246                                                                            COLORADO SPRINGS   CO    80937-8246
MARIANNE MELTON                                                          26085 SMITH TOWN LN                                                                     EXCELSIOR          MN    55331-8584
MARIANNE UTTER                                                           3921 OVERLAKE DR                                                                        DENTON             TX    76210
MARIBEL                                                                  2 CALLE 7 AVE NE                                                                        SAN PEDRO SUTA     OK    99999
MARIDEL ALLEN                                                            13 1/2 3RD ST                                                                           NEWPORT            RI    02840-2420
MARIE A VANDIVER LIVING TRUST                                            16217 EVERGLADE LANE                                                                    EDMOND             OK    73013
MARIE BILLINGS BRANAUGH                                                  39608 N 2ND ST                                                                          PHOENIX            AZ    85086
Marie Bishop                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX    75070
Marie Bishop                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK    74104
Marie Bishop                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY    10017
Marie Bishop                                                             1308 Cedar Drive                                                                        Stillwater         OK    74075
MARIE BOYTON DETWILER                                                    909 MIMOSA DR                                                                           GUTHRIE            OK    73044
MARIE CASEY                                                              PO BOX 352                                                                              PITTSBURG          MO    65734
MARIE COOMARASWAMY-FALKENSTEIN                                           4802 FAXWOOD DR S                                                                       CLIFTON PARK       NY    12065
MARIE HANEWINCKEL COOPER                                                 15324 GOODRICH DR NW                                                                    GIG HARBOR         WA    98329-8741
MARIE HELLER KIDD TTEE                                                   601 RIDERS TRL                                                                          AUSTIN             TX    78733
MARIE HODSON                                                             40 STAGE TRAIL RD                                                                       BUFFALO            WY    82834
MARIE JACOBS HUNTER                                                      646 E 640 N                                                                             OREM               UT    84097
MARIE JONES                                                              325 S TERRILL DR                                                                        STILLWATER         OK    74075
MARIE KNOWLES                                                            850 BARBADOS DR                                                                         PLACENTIA          CA    92870
MARIE LOUISE MCCOY                                                       714 W ELGIN STREET                                                                      SILOAM SPRINGS     AR    72761
MARIE PIXTON                                                             PO BOX 1969                                                                             ELK CITY           OK    73648
MARIE RAINWATER                                                          PO BOX 927                                                                              CUSHING            OK    74023-0927
MARIE SCHEIN                                                             7721 VALLEY RIDGE DR                                                                    NORTHLAKE          TX    76247-4127
MARIE THOMAS                                                             1224 S HUSBAND                                                                          STILLWATER         OK    74074
MARIE VILLA                                                              10279 OCTAVIA WAY                                                                       RANCHO CORDOVA     CA    95670-2051
                                                                                                                       9211 Lake Hefner
Marieca Pilcher                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Marieca Pilcher                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Marieca Pilcher                                                          1110 Harrington Dr                                                                      Moore              OK    73160
MARIE-CLAIRE KYLE                                                        PO BOX 2265                                                                             STILLWATER         OK    74076
MARIESA A GREENFIELD REV TR DTD 9-8                                      PO BOX 33                                                                               TRYON              OK    74875


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MARIESA BUTLER                                                           770558 S 3420 RD                                                                       AGRA              OK       74824-8422
MARIETTA ENERGY LLC                                                      PO BOX 1774                                                                            OKLAHOMA CITY     OK       73101-1774
MARIJANE KOBER                                                           341 S 800 E                                                                            JEROME            ID       83338
MARILOU URBANO ROLFE DECEASED                                            1739 92ND AE NE                                                                        CLYDE HIL         WA       98004
MARILYN ABSHIRE                                                          11041 W. CEDAR LAKE DR.                                                                HINTON            OK       73047-9083
                                                                                                                       9211 Lake Hefner
Marilyn Barnes                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Marilyn Barnes                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Marilyn Barnes                                                           1711 N. Ironwood Ave                                                                   Broken Arrow      OK       74012
MARILYN BOEWE                                                            2835 N WEDGEWOOD DRIVE                                                                 WICHITA           KS       67204
MARILYN BOURNONVILLE                                                     1702 W QUINCY ST                                                                       PITTSBURG         KS       66762-6811
MARILYN BOWMAN                                                           3632 DEVON WAY                                                                         EL DORADO HILLS   CA       95762
MARILYN BROCK                                                            3922 N THOMPKINS AVE                                                                   BETHANY           OK       73008-3156
MARILYN CARROLL                                                          17813 GRIFFIN GATE DR                                                                  EDMOND            OK       73012
MARILYN CLARK                                                            1206 E 10TH PL                                                                         SAND SPRINGS      OK       74063-8947
MARILYN COOK                                                             5312 NW 119TH TER                                                                      OKLAHOMA CITY     OK       73162-1965
MARILYN DAHM                                                             54 OLIVE COURT                                                                         PAGOSA SPRINGS    CO       81147-8118
MARILYN DEA MAJOR                                                        4633 N W 33RD DRIVE                                                                    OKLAHOMA CITY     OK       73122
MARILYN DUHE                                                             2700 N VAN BUREN #254                                                                  ENID              OK       73703
MARILYN FRIEDMAN                                                         502 PARKSIDE RD                                                                        NORMAN            OK       73072
MARILYN GASTINEAU                                                        8040 FRANKFORD RD APT 30                                                               DALLAS            TX       75252-6848
MARILYN GAY                                                              2001 N PERKINS RD APT J-107                                                            STILLWATER        OK       74075
MARILYN GOOD                                                             3028 WANETTA AVE                                                                       EDMOND            OK       73013
MARILYN HALL                                                             112 CEDAR LN                                                                           STIGLER           OK       74462-5005
MARILYN HORTON                                                           7795 W JEFFERSON BLVD APT B                                                            FORT WAYNE        IN       46804-4194
MARILYN J DUFF REVOCABLE LIVING TRU                                      1410 BELL CREEK DRIVE                                                                  CUSHING           OK       74023-5202

MARILYN J MOSS                                                           8591 WEST COUNTY ROAD 150 NORTH                                                        RICHLAND          IN       47634-8904

MARILYN J VAN PETTEN REVOCABLE TRUS                                      5828 NICHOLAS CIRCLE                                                                   AMARILLO          TX       79109-7459
MARILYN J. RETT TRST UNDER A. ANTHO                                      3052 VIA DEL TIROL UNKNOWN                                                             GREEN VALLEY      AZ       85614
MARILYN JACKSON                                                          412 S DEKALB ST                                                                        CORYDON           IA       50060
MARILYN JEAN LEGRAND                                                     1419 NAVAJO RD                                                                         MCPHERSON         KS       67460-8006
MARILYN JONES                                                            2587 FOREST CROSSING DR                                                                CHOCTAW           OK       73020
                                                                                                                       9211 Lake Hefner
Marilyn Joyce Parlier                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
Marilyn Joyce Parlier                 c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA       90017
Marilyn Joyce Parlier                 c/o Pulaski Law Firm               Attn: Adam Pulaski                            2925 Richmond Ave    Ste. 1725           Houston           TX       77098
Marilyn Joyce Parlier                                                    1027 S Little Ave                                                                      Cushing           OK       74023
MARILYN K MOSELEY                                                        9284 N 2060 ROAD                                                                       HAMMON            OK       73650
MARILYN K RUBENSTEIN TRST                                                1836 SPEED AVE                                                                         LOUISVILLE        KY       40205
MARILYN KNIERIM CAUFIELD                                                 6581 MANGO ST                                                                          ALTA LOMA         CA       91737
MARILYN KROLL                                                            2755 ST. HWY. 66                                                                       ROCKWALL          TX       75087
MARILYN L KRUMREI TRUST                                                  5801 N OAKWOOD RD APT G228                                                             ENID              OK       73703
MARILYN L WOLFE                                                          10607 S LOCKWOOD                                                                       PERKINS           OK       74059-3782
MARILYN MALLOUF                                                          1818 S 20                                                                              CHICKASHA         OK       73018
MARILYN MCLEMORE                                                         8717 S BRUSH CREEK RD                                                                  STILLWATER        OK       74074-6156
MARILYN MOFFAT                                                           2520 E 80TH STREET                                                                     STILLWATER        OK       74074-6477
MARILYN MOFFAT LIFE ESTATE                                               2520 E 80TH STREET                                                                     STILLWATER        OK       74074-6477
MARILYN MOONEYHAM                                                        2516 POOVEY RD SE                                                                      DECATUR           AL       35603-5624
MARILYN MYERS                                                            907 7TH ST                                                                             GRUNDY CENTER     IA       50638
MARILYN NELSON                                                           1785 HUBBARD LN                                                                        GRANTS PASS       OR       97527
MARILYN NOLL                                                             1607 BOULDER CREEK DR                                                                  STILLWATER        OK       74074
MARILYN NORRIS BUTLER                                                    2024 GOLDENROD LN                                                                      MIDWEST CITY      OK       73130
MARILYN RUPE                                                             2692 CARIBBEAN DRIVE                                                                   GRAND JUNCTION    CO       81506-1758
MARILYN RYLAND                                                           11211 XAVIER DR                                                                        WESTMINSTER       CO       80031
MARILYN SCOFIELD                                                         422 N DURRELL AVE                                                                      AZUSA             CA       91702-3738
MARILYN SEAGRAVES                                                        12 E VIEW ST                                                                           LOMBARD           IL       60148


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MARILYN SEXTON                                                           5317 PARKWOOD                                                                          ENID            OK       73703
MARILYN SHAVER                                                           19567 RIVER RD APT 19                                                                  GLADSTONE       OR       97027-2291
MARILYN SHAVER                                                           15515 SE MEADOWLARK LN                                                                 PORTLAND        OR       97267
MARILYN SMITH BRANCH TRUST                                               PO BOX 220                                                                             GUTHRIE         OK       73044
MARILYN SPENCER                                                          1402 SOUTH SAVANNAH DRIVE                                                              STILLWATER      OK       74074
MARILYN SPINNING                                                         14057 E CONSTITUTION WAY                                                               FONTANA         CA       92336-3783
MARILYN SRADER                                                           4497 FARM ROAD 2820                                                                    SUMNER          TX       75486-5701
MARILYN STANDEFER                                                        H.C. 31 BOX 2B                                                                         CABALLA         NM       87931
MARILYN SUE LIVELY                                                       PO BOX 353                                                                             TRYON           OK       74875
MARILYN TABER                                                            PO BOX 1066                                                                            PERRY           OK       73077
MARILYN THUESON                                                          2919 W 588                                                                             CHOUTEAU        OK       74337
MARILYN TOVAR                                                            2420 NAPOLEON ST                                                                       STOCKTON        CA       95210
MARILYN W HORTON REV TRUST                                               7795 W JEFFERSON BLVD, APT B                                                           FORT WAYNE      IN       46804-4194
MARILYN W SIMS GST EXEMPT FAMILY TR                                      1116 VISTA TRL                                                                         KELLER          TX       76262-6805
MARILYN W ZELLE                                                          PO BOX 4344                                                                            ESTES PARK      CO       80517
MARILYN WELLS                                                            PO BOX 293                                                                             PERKINS         OK       74059
MARILYN WELLS                                                            3630 E 69TH PL                                                                         TULSA           OK       74136
MARILYN WYNIA                                                            PO BOX 946                                                                             MULINO          OR       97042-0946
                                                                                                                       9211 Lake Hefner
Marilyn Deusterhaus                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Marilyn Deusterhaus                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Marilyn Deusterhaus                                                      7714 N Country Oaks Rd                                                                 Edmond          OK       73034
MARILYNN KNOTT                                                           541 NW EUBANKS                                                                         OKLAHOMA CITY   OK       73118
MARILYNN MILOR                                                           13425 SADDLE BACK PASS                                                                 BEE CAVE        TX       78738-6149
MARINE COMPTON                                                           4936 W MANATEE                                                                         TUCSON          AZ       85742
MARIO R MORRIS                                                           1016 LINCOLN AVE NW                                                                    PIEDMONT        OK       73078
MARIO SMITH                                                              PO BOX 134                                                                             RIPLEY          OK       74076
MARION BAKKE BLOUNT                                                      46 LONGSFORD                                                                           SAN ANTONIO     TX       78209
MARION BECKER                                                            8 PARKER PL                                                                            WEST BABYLON    NY       11704

MARION BRYANT                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX       75070
MARION CROOKS                                                            32 GATES WAY                                                                           HADDAM          CT       06438
MARION DATIN                                                             150 N MAY AVE                                                                          GUTHRIE         OK       73044
MARION ERNIE KIRK III & BARBARA KIR                                      3571 BROWNE AVE                                                                        GUTHRIE         OK       73044
MARION LARUE                                                             2700 OLD FARM LANE                                                                     EDMOND          OK       73013
MARION PHILLIPS                                                          626 N VAN BUREN                                                                        ENID            OK       73703
MARION SCHERER                                                           64 SE PIPER DRIVE                                                                      BEND            OR       97702-1515
MARION SHAW WATSON TRUST                                                 2088 TIMBERLANE WAY                                                                    SAN MATEO       CA       94402
MARION SHIPPY                                                            PO BOX 654                                                                             MARSING         ID       83639
                                                                                                                       9211 Lake Hefner
Marion Hill                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Marion Hill                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Marion Hill                                                              5405 Smith Dr                                                                          Spencer         OK       73084
                                                                                                                       9211 Lake Hefner
Marion Rooms                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Marion Rooms                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Marion Rooms                                                             6320 Futurity Dr                                                                       Harrah          OK       73045
MARISSA IRENE STRECK                                                     PO BOX 2464                                                                            STATELINE       NV       89449
MARISUE LIMP                                                             209 MAIN ST                                                                            ROCKPORT        IN       47635
MARITA CHAMBERS                                                          2664 LAKESIDE DR                                                                       OKLAHOMA CITY   OK       73120
                                                                                                                       9211 Lake Hefner
Marium Julie Barclay                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Marium Julie Barclay                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Marium Julie Barclay                                                     1324 W. Pittsburg St.                                                                  Broken Arrow    OK       74012
MARJO OPERATING CO INC                                                   PO BOX 729                                                                             TULSA           OK       74101-0729


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Marjo Operating Mid-Continent LLC     c/o Levinson, Smith & Huffman PC Attn: Terence P Brennan                         1743 E 71st St                            Tulsa             OK      74136

Marjo Operating Mid-Continent LLC     c/o Levinson, Smith & Huffman PC Attn: Trevor R. Henson                          1743 E 71st St                            Tulsa             OK      74136
Marjo Operating Mid-Continent LLC                                      427 S Boston Ave, Ste. 240                      PO Box 729                                Tulsa             OK      74101
MARJORIE A STEVENS (DECEASED)                                          13503 LACUARTA STREET                                                                     WHITTIER          CA      90602-2513
MARJORIE ANN THEIMER TTEE                                              36889 QUAIL RIDGE ROAD                                                                    LOUISVILLE        NE      68037-2999
MARJORIE BAILEY                                                        2054 S EUCLID ST                                                                          WICHITA           KS      67213-3104

MARJORIE BRADY AKA MARJORIE BRADY C                                      PO BOX 1310                                                                             BLOOMINGTON       IN      47402-1310
MARJORIE DECD                                                            115 SEMINOLE LN                                                                         LOUDON            TN      37774
MARJORIE E THATCHER                                                      PO Box 1694                                                                             EUREKA            MT      59917
MARJORIE EBERSOLE                                                        2305 CREEKSIDE CIR S                                                                    IRVING            TX      75063
MARJORIE ENFIELD CHOPNICK                                                PO BOX 15465                                                                            WEST PALM BEACH   FL      33413
MARJORIE GRAHAM                                                          1109 ROYAL LN                                                                           SAN CARLOS        CA      94070
MARJORIE HOUSMAN                                                         PO BOX 799                                                                              LA JOLLA          CA      92038-0799
MARJORIE J CARLSON                                                       2839 N.E. DUNCKLEY                                                                      PORTLAND          OR      97212
MARJORIE KRIGEL TRUST                                                    600 E 36TH ST                                                                           KANSAS CITY       MO      64109-2279
MARJORIE L EDWARDS TR DTD JAN 2005                                       3502 WHIPPOORWILL LANE                                                                  ENID              OK      73703
MARJORIE L MCFARLAND LIFE ESTATE                                         5013 WELCOME LN                                                                         COLLEGE STATION   TX      77845
MARJORIE LOUISE PENDLETON ESTATE                                         2014 E CONNELL COURT                                                                    STILLWATER        OK      74075
MARJORIE MAY                                                             5925 E NEWTON ST                                                                        TULSA             OK      74115
MARJORIE MCCLURE GLASS                                                   3144 CHAPEL DOWNS DRIVE                                                                 DALLAS            TX      75229
MARJORIE MCCURTAIN                                                       PO BOX 1857                                                                             BOULDER           CO      80306-1857
MARJORIE MOORE                                                           105 N WARD RD                                                                           INDEPENDENCE      MO      64050-2281
MARJORIE R VITEK LE                                                      24851 CR 210                                                                            STILLWATER        OK      74075
MARJORIE RHOADES                                                         210 PARK AVE, SUITE 2920                                                                OKLAHOMA CITY     OK      73102
MARJORIE RIETTINI TRUST                                                  110 RIDGE RD                                                                            KERRVILLE         TX      78028
MARJORIE ROBERTSON                                                       1502 WEST GRAND AVE                                                                     CARTERVILLE       IL      62918
MARJORIE SLOAN TAYLOR                                                    4201 RED MESA CT                                                                        DEXTER            MI      48130-8435
MARJORIE WATERS                                                          3113 GOSHEN DR                                                                          OKLAHOMA CITY     OK      73120-2207
                                                                                                                       9211 Lake Hefner
Mark Cole                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mark Cole                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Mark Cole                                                                2038 NW 18th St                                                                         Oklahoma City     OK      73106
MARK & CHERYL JOPLING CO-TRS                                             1609 NW 199TH STREET                                                                    EDMOND            OK      73012
MARK A NIDA IRREV TRUST DTD 12-33-1                                      3417 E 84TH PL                                                                          TULSA             OK      74137
MARK A PHILLIPS                                                          PO BOX 215                                                                              MAIDENROCK        WI      24750
MARK A ROSS                                                              PO BOX 104                                                                              MARSHALL          OK      73056
                                                                                                                       9211 Lake Hefner
Mark A. Ellis                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mark A. Ellis                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Mark A. Ellis                                                            7695 N. 137th E. Ave                                                                    Owasso            OK      74055
MARK AISENBERG                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City     OK      73116
MARK ALAN PHELAN                                                         500 GRANT TERRACE                                                                       DOVER             OK      73734
MARK ALEXANDER                                                           6058 S LAKEWOOD AVE                                                                     TULSA             OK      74135-7604
MARK ALLEN FISHER                                                        12205 SCRIBE DRIVE                                                                      AUSTIN            TX      78759
MARK AND NATALIE HART                                                    17003 CRAMPTON LN                                                                       SPRING            TX      77379-6456
Mark Anson                            c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Mark Anson                            c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
Mark Anson                            c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
Mark Anson                                                               2312 Oxford Dr                                                                          Ponca City        OK      74604
MARK ARNETT                                                              5832 W GRANADA RD                                                                       PHOENIX           AZ      85035
MARK ATKINSON                                                            1705 WILDWOOD DR                                                                        STILLWATER        OK      74075
MARK AVANT                                                               PO BOX 445                                                                              PIEDMONT          OK      73078
MARK BARBEAU                                                             PO Box 1784                                                                             STILLWATER        OK      74076
MARK BARKER                                                              217 E 5TH ST                                                                            NORBORNE          MO      64668-1328


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MARK BEVERIDGE                                                           25 BRITISH AMERICAN BLVD                                                               LATHAM            NY       12110
MARK BRAMLETT                                                            PO BOX 241                                                                             MEDFORD           OK       73759
MARK BRANDENBURG                                                         PO BOX 33092                                                                           TULSA             OK       74153
MARK BROOKER                                                             1120 ARTHUR ST                                                                         HOUSTON           TX       77019
MARK BROOKSHIRE                                                          PO BOX 306                                                                             LEADVILLE         CO       80461
MARK BRUMFIELD                                                           509 E INDUSTRIAL DR                                                                    PAWNEE            OK       74058-1701
MARK BYRON JOHNSON AND                                                   625 HOPKINS ROAD                                                                       SANDPOINT         ID       83864
MARK COLE                                                                4010 SOUTH NEW HOPE ROAD                                                               GASTONIA          NC       28056
MARK COX                                                                 17712 RICH EARTH LN                                                                    EDMOND            OK       73012-8778
                                                                                                                       9211 Lake Hefner
Mark D. Giammario                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Mark D. Giammario                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Mark D. Giammario                                                        2528 NW 34th St                                                                        Oklahoma City     OK       73112
MARK DOTTER                                                              575 OAKWOOD DR                                                                         FENTON            MO       63026
MARK DOWNEY                                                              11102 S WASHINGTON                                                                     PERKINS           OK       74059
MARK DRESSER                                                             6172 GLEN HARBOR DR #102                                                               SAN JOSE          CA       95123
MARK E DAVIS                                                             PO Box 2640                                                                            MIDLAND           TX       79702
MARK E MOTLEY                                                            4126 PINE HILL                                                                         NORMAN            OK       73072
MARK EDENFIELD                                                           3181 CHAIRES CROSS RD                                                                  TALLAHASSEE       FL       32317-7626
MARK EDGE                                                                15616 SUMMIT PARKE DRIVE                                                               EDMOND            OK       73013-1352
MARK EDWARD THATCHER                                                     3765 TRAUFER AVENUE                                                                    HELENA            MT       59602
MARK EDWARDS                                                             21568 MARKET RD                                                                        MIDDLETON         ID       83644
MARK ESSLEY                                                              1655 HELIX ST                                                                          SPRING VALLEY     CA       91977-3916
MARK F SWARY TTEE                                                        200 PUBLIC SQUARE, STE 2800                                                            CLEVELAND         OH       44114
MARK FAIRLESS                                                            600 OAK RIDGE PL                                                                       BLANCHARD         OK       73010
MARK FERCHAU                                                             14 HICKORY SHADOWS DR.                                                                 HOUSTON           TX       77005
MARK FISCHER REV TR & DEBORAH FISCH                                      6721 S 150TH                                                                           DOUGLAS           OK       73733
MARK FISCHER REV TRUST                                                   6721 S 150TH                                                                           DOUGLAS           OK       73733
MARK FRENCH                                                              1601 KERNSTOWN LANE                                                                    COLLEGE STATION   TX       77845
MARK FRENCH                                                              1718 S FAIRGROUNDS                                                                     STILLWATER        OK       74074-6384
MARK G HANSEN                                                            67 CAMINO DEL RINCON                                                                   SANTA FE          NM       87506
MARK GAYDOS                                                              9 PICAYUNE CT                                                                          LITTLE ROCK       AR       72211
MARK GELINO                                                              5639 S XENOPHON AVE                                                                    TULSA             OK       74107-8424
MARK GOODNER                                                             514 N FAIRGROUNDS RD                                                                   STILLWATER        OK       74075-8727
MARK GORDON MOORE                                                        7004 E 65TH PLACE                                                                      TULSA             OK       74133
MARK GRAHAM                                                              1009 W WILL ROGERS DR                                                                  STILLWATER        OK       74075
MARK GRIMM                                                               101 BRACKENDALE LANE                                                                   EDMOND            OK       73003
MARK HAKEN                                                               13505 E YOST RD                                                                        GLENCOE           OK       74032-3073
MARK HANSARD                                                             10327 S COLLEGE AVE                                                                    TULSA             OK       74137
MARK HARRINGTON                                                          PO BOX 777146                                                                          HENDERSON         NV       89077-7146
MARK HARRIS                                                              276 STAIRCASE DR                                                                       COLLIERVILLE      TN       38017
MARK HART                                                                3002 FOREST VIEW                                                                       RICHMOND          TX       77406
                                                                                                                       9211 Lake Hefner
Mark Helberg                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
Mark Helberg                          c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA       90017
Mark Helberg                                                             2389 North Portland Ave                                                                Cresent           OK       73028
MARK HILL                                                                13510 NE 164TH STREET                                                                  JONES             OK       73049-8803
MARK HIRSCHBERG SHARE                                                    1716 VAN EATON AVENUE                                                                  MCKINLEYVILLE     CA       95519
MARK HODGE                                                               PO BOX 158                                                                             HOBBS             NM       88241-0158
MARK HOWRY                                                               PO BOX 217                                                                             BILLINGS          OK       74630
MARK HOXMEIER                                                            5852 MEZZANINE WAY                                                                     LONG BEACH        CA       90808
MARK HUFFER                                                              3123 GRANITE LAKE DR                                                                   MISSOURI CITY     TX       77459
MARK HURD                                                                9820 S 4150 RD                                                                         CLAREMORE         OK       74017-3175
MARK J DOLEZAL                                                           3604 BOB WHITE AVE                                                                     NORMAN            OK       73072
MARK JAUCH                                                               9706 HAKEN DR                                                                          GLENCOE           OK       74032
MARK JOHNSTONE                                                           4104 E 19TH AVE                                                                        STILLWATER        OK       74074-6062
MARK KERFORD                                                             20828 CHAPEL LN                                                                        ST JOSEPH         MO       64505
MARK KEYES                                                               PO BOX 652                                                                             TYRONE            OK       73951


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MARK L HAMBRIC                                                           3029 S BOSTON PL                                                                       TULSA                  OK      74114
MARK LAMBERT                                                             2508 EAST 6TH AVENUE                                                                   STILLWATER             OK      74074
MARK LEE BENNETT                                                         410 SOUTH FIRST STREET #153                                                            EL CAJON               CA      92019
MARK LIPKIN                                                              305 KNOX ST                                                                            HOUSTON                TX      77007
MARK LITTLEFIELD                                                         6024 S JARDOT ST                                                                       STILLWATER             OK      74074-8316
MARK LYON                                                                ADDRESS REDACTED
MARK MARINO                                                              8 CHAMPIONS MARK                                                                       SAN ANTONIO            TX      78258
MARK MARION                                                              PO BOX 123                                                                             LUCAS                  KS      67648
MARK MARRIOTT                         c/o White Star Petroleum, LLC      510 S Main St                                                                          Leedey                 OK      73654
MARK MARTENS                                                             26 RIDGEVIEW AVE                                                                       ATLANTIC HIGHLANDS     NJ      07716-2418
MARK MATALIK                                                             2124 N MARKELL AVE                                                                     OKLAHOMA CITY          OK      73127-1048
MARK MCNALLY                                                             PO BOX 1358                                                                            GUTHRIE                OK      73044
MARK MEADOR                                                              PO BOX 729                                                                             TULSA                  OK      74101-0729

MARK MERRIMAN                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY               TX      75070
MARK MEYER                                                               4701 S WASHINGTON ST                                                                   STILLWATER             OK      74074-7705
MARK MLADENKA                                                            1413 BEDFORD DR                                                                        MIDLAND                TX      79701-5702
MARK MOLLOY                                                              PO BOX 65                                                                              AGRA                   OK      74824
MARK MURPHY                                                              3500 RIVER DOWNS DRIVE                                                                 EDMOND                 OK      73034
MARK MYERS                                                               2234 ELKORN                                                                            CARUTHERS              CA      93609
MARK NIDA                                                                3417 E 84TH PL                                                                         TULSA                  OK      74137
MARK NOLAND                                                              PO BOX 990                                                                             CONCORD                CA      94522
                                                                                                                       9211 Lake Hefner
Mark Nosich                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mark Nosich                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX      77006
Mark Nosich                                                              12620 N. 129th East Ave.                                                               Collinsville           OK      74021
MARK O & RENEE A EBERT                                                   2123 STONE POINT                                                                       STILLWATER             OK      74074
MARK OVERTON                                                             PO BOX 143                                                                             COVINGTON              OK      73730
MARK PATE                                                                PO BOX 3480                                                                            OMAHA                  NE      68103-0480
MARK PAYNE                                                               4410 W 44TH ST                                                                         STILLWATER             OK      74074
MARK PAYNE                                                               830238 S 3250 RD                                                                       STROUD                 OK      74079
MARK PITTMAN                                                             3716 S PERKINS RD                                                                      STILLWATER             OK      74074-7549
MARK PORRARO                                                             500 SADDLEBACK LN                                                                      NAPLES                 FL      34110
MARK RAWLS                                                               15 N 9TH STE 302                                                                       DUNCAN                 OK      73533
MARK RODGERS                                                             5 VEACH ST                                                                             CORTEZ                 CO      81321-2951
MARK ROSIERE                                                             3514 S RIPLEY RD                                                                       STILLWATER             OK      74074-6516
MARK RUPP                                                                25301 COUNTRY RD 160                                                                   PERRY                  OK      73077
MARK RUPP                                                                25301 CR 160                                                                           PERRY                  OK      73077
MARK RUTHERFORD                                                          424 S MAIN ST                                                                          STILLWATER             OK      74074
MARK SAYLOR                                                              5356 W BRAVEHEART DRIVE                                                                EAGLE                  ID      83616
MARK SCHAEFER                                                            PO BOX 3596                                                                            SANTA ROSA             CA      95402-3596
MARK SCHEDLER                                                            1212 COBBLESTONE CT                                                                    AUBREY                 TX      76227
MARK SHATTUCK                                                            5700 JUNO ST                                                                           WICHITA                KS      67215
MARK SHETTERLY                                                           3330 N BEACH ST                                                                        HALTOM CITY            TX      76111

MARK SHETTERLY                                                           7208 W NIRVANA CIRCLE                                                                  NORTH RICHLAND HILLS   TX      76182-2100
MARK SHIDLER                                                             1313 CAMPBELL RD STE D                                                                 HOUSTON                TX      77055
MARK SHIPPY                                                              1540 PINE ST                                                                           SILVERTON              OR      97381
MARK SHOEMAKER                                                           PO BOX 6186                                                                            TULSA                  OK      74148-0186
MARK SMITH                                                               211 N PARK DR                                                                          BELTON                 MO      64012-1959
MARK SOWARD                                                              8683 W QUAIL TRACK DRIVE                                                               PEORIA                 AZ      85383-1555
MARK T GABRIELE & MICHELLE L GABRIE                                      20 AZALEA CT                                                                           EAST GREENWICH         RI      02818
MARK TAYLOR                                                              1629 NW 41ST STREET                                                                    GAINESVILLE            FL      32605
MARK THOMAS                                                              14751 KNOB HILL                                                                        PERRY                  OK      73077
MARK THOMASON                                                            1901 E UNIVERSITY AVE                                                                  GUTHRIE                OK      73044
MARK TREANOR                                                             111 CENTENNIAL DR                                                                      LAVERGNE               TN      37086
MARK W SHEARER & ALVINA R SHEARER                                        14750 LARIAT                                                                           PERRY                  OK      73077
MARK W STEPHENS                                                          1437 S.W. 46TH STREET                                                                  OKLAHOMA CITY          OK      73119


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MARK WASHINGTON                                                                     26701 COUNTY RD 50                                                                     ORLANDO               OK    73073
MARK WILLIAMS                                                                       19 SOUTH GRANBY RD                                                                     FULTON                NY    13069
MARK WOOLINGTON                                                                     18 E WANDERING OAK DR                                                                  THE WOODLANDS         TX    77381
                                                                                                                                  9211 Lake Hefner
Mark Miller                                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK    73120
                                                 c/o Laminack, Pirtle & Martines,
Mark Miller                                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX    77006
Mark Miller                                                                         990219 S. 3310 Rd                                                                      Wellston              OK    74881
MARKA FISHER                                                                        2605 RICKS TRAIL                                                                       EDMOND                OK    73012
MARKA WILL                                                                          4200 N MERIDIAN AVE #609                                                               OKLAHOMA CITY         OK    73112-2621

Markel International Insurance Company Limited                                      520 Post Oak Blvd                             Suite 250                                Houston               TX    77027
MARKETWIRE L.P.                                                                     25 YORK ST                                                                             TORONTO               ON    M5J 2V5      CANADA
MARKLEY MALLATT                                                                     PO BOX 17074                                                                           S LAKE TAHOE          CA    96151-7074
MARKSMEN INC                                                                        PO BOX 10038                                                                           GLENDALE              CA    91209
MARKWEST ENERGY PARTNERS LP                                                         1515 ARAPAHOE ST                                                                       DENVER                CO    80202
MARKWEST OKLAHOMA GAS CO LLC                                                        905 S EASTERN AVE                                                                      ELK CITY              OK    73644
MARLA BRYAN                                                                         1001 S WESTERN RD                                                                      STILLWATER            OK    74074-5147
MARLA DATIN                                                                         512 NORTH 10                                                                           GUTHRIE               OK    73044
MARLA MOSBY                                                                         2808 EATON DRIVE                                                                       NORMAN                OK    73072
MARLA RUARK                                                                         1207 S WILLIAMSFIELD DR                                                                STILLWATER            OK    74074
MARLA SUE STEVENS                                                                   2724 WEST 80TH ST                                                                      STILLWATER            OK    74074
MARLA VERNON                                                                        121 PARK DRIVE                                                                         SAYRE                 OK    73662-0274
MARLAN NELSON                                                                       111 N EMERSON ST, #1723                                                                DENVER                CO    80218
MARLAND FAGAN                                                                       PO BOX 435                                                                             PERKINS               OK    74059

MARLE PRODUCTION COMPANY LLC AN OKL                                                 1743 E 71ST STREET                                                                     TULSA                 OK    74136
MARLENE BINKLEY                                                                     42 ENCANTADO WAY                                                                       HOT SPRINGS VILLAGE   AR    71909
MARLENE DANIEL                                                                      26623 ROCKWELL AVENUE                                                                  BLANCHARD             OK    73010
MARLENE HILDEBRAND                                                                  1200 WHITEHURST LN                                                                     CHOCTAW               OK    73020-8210
MARLENE J HAFNER LVG TR DTD 6-19-19                                                 2551 E HWY 51                                                                          ORLANDO               OK    73073
MARLENE KEARLEY                                                                     541 CHAMBERLAIN STREET                                                                 CORPUS CHRISTI        TX    78404-2602
MARLENE KLAVERENGA                                                                  7039 E 200 S                                                                           LAFAYETTE             IN    47905
MARLENE OLTMANNS                                                                    2001 WALKING TRL DR                                                                    STILLWATER            OK    74074
MARLENE OLTMANNS TRUST                                                              2001 S WALKING TRAIL DR NO 4                                                           STILLWATER            OK    74074-1362
MARLENE OLTMANNS TRUST URTA DTD 7-2                                                 2001 WALKING TRAIL DR                                                                  STILLWATER            OK    74074
MARLENE STUBBLEFIELD                                                                901 W 14TH AVE, APT 514                                                                DENVER                CO    80204-2549
                                                                                                                                  9211 Lake Hefner
Marlene Jackson                                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK    73120
                                                 c/o Laminack, Pirtle & Martines,
Marlene Jackson                                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX    77006
Marlene Jackson                                                                     10112 Spencer Rd                                                                       Spencer               OK    73084
MARLEY BEEM                                                                         5001 W FIRST AVE                                                                       STILLWATER            OK    74074-6895
                                                                                                                                  9211 Lake Hefner
Marlin McNeil                                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK    73120
                                                 c/o Laminack, Pirtle & Martines,
Marlin McNeil                                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX    77006
Marlin McNeil                                                                       5601 N Range Rd                                                                        Stillwater            OK    74075
MARLINE BOYLES                                                                      341200 E 4700 RD                                                                       PAWNEE                OK    74058
MARLO HOLDINGS LLC                                                                  9826 E 85TH ST                                                                         TULSA                 OK    74133-4520
MARLYNN RAYE MCNALLY                                                                17937 LEMON ST                                                                         HEPERIA               CA    92345
MAR-MAR MINERALS CP                                                                 2717 PEMBROKE TERRACE                                                                  OKLAHOMA CITY         OK    73116
MAROLYN LAMBERT                                                                     8521 ORLANDO SPRINGS DR                                                                FORT WORTH            TX    76123
Marple, Jordan                                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City         OK    73116

MARQUETTA G BROWN REVOCABLE LIVING                                                  4331 HIDDEN HILL ROAD                                                                  NORMAN                OK    73072
MARQUETTE MABRY                                                                     312 W 42ND STREET, # B                                                                 AUSTIN                TX    78751-4205
MARQUITA LAZZARO                                                                    1113 CEDAR HILL PLACE                                                                  MIDWEST CITY          OK    73110



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                                                                                                                      9211 Lake Hefner
Marquita Gabriel                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Marquita Gabriel                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Marquita Gabriel                                                        10909 N. Brauer Ave                                                                    Oklahoma City    OK      73114
MARR FAMILY REV TRUST                                                   3201 NW 63RD STREET                                                                    OKLAHOMA CITY    OK      73116
MARR OIL & GAS LTD                                                      325 N ST PAUL ST STE 2500                                                              DALLAS           TX      75201
MARRA DELAWARE LLC                                                      7170 S BRADEN AVE STE 200                                                              TULSA            OK      74136-6316
Marriott, Mark                       c/o White Star Petroleum, LLC      510 S Main St                                                                          Leedey           OK      73654
MARSAU ENTERPRISES INC                                                  1209 N 30TH ST                                                                         ENID             OK      73701-0000
MARSAU ENTERPRISES INC                                                  1209 N. 30TH                                                                           ENID             OK      73701
MARSHA BRESSLER                                                         2702 SUNNY MEADOWS                                                                     MCKINNEY         TX      75070
MARSHA BUTLER                                                           3411 CHEYENNE VILLA CIR                                                                EDMOND           OK      73013
MARSHA CARTWRIGHT                                                       22677 GRACES TERRACE                                                                   EDMOND           OK      73025
MARSHA CLARK                                                            112 RIO GRANDE DR                                                                      CRANDALL         TX      75114-4206
MARSHA COLLETT                                                          3808 PRICE RD SW                                                                       HUNTSVILLE       AL      35805-4407
MARSHA DECD                                                             87 OAKWOOD                                                                             STILLWATER       OK      74074
MARSHA DIANNE DEARMAN TRUST                                             1201 N FRANCIS 205                                                                     OKLAHOMA CITY    OK      73106
MARSHA EDWARDS                                                          2278 S ELKHART ST                                                                      AURORA           CO      80014
MARSHA EDWARDS SUCCESSOR TTEE                                           2278 S ELKHART ST                                                                      AURORA           CO      80014
MARSHA FORBES                                                           1415 LIBERTY AVE                                                                       STILLWATER       OK      74075
MARSHA GREEN                                                            91926 GARVIN RD                                                                        MEDFORD          OK      73759
MARSHA JACKSON                                                          4014 GREENSBORO DR                                                                     SAN ANTONIO      TX      78229-4672
                                                                                                                      9211 Lake Hefner
Marsha K. Sanders                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Marsha K. Sanders                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Marsha K. Sanders                                                       11301 Reed Fern Lake                                                                   Norman           OK      73026
MARSHA LYBOLT                                                           1349 CS 2927                                                                           TUTTLE           OK      73089
MARSHA ODELL                                                            24 PEARL STREET                                                                        WESTFIELD        MA      01085
MARSHA POLLARD SCHUBERT                                                 7351 N COUNCIL RD                                                                      CRESCENT         OK      73028
MARSHA RUMSEY                                                           PO BOX 395                                                                             LAKESIDE         MT      59922-0395
MARSHA SWANSON                                                          12138 PINENEEDLE CT                                                                    LAKE RIDGE       VA      22192
MARSHA TIREY                                                            2370 MORGAN RD NE                                                                      PIEDMONT         OK      73078
MARSHA WRIGHT                                                           1116 E 21ST PL                                                                         TULSA            OK      74114
                                                                                                                      9211 Lake Hefner
Marsha Beets                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Marsha Beets                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Marsha Beets                                                            970305 S. Todd Dr                                                                      Luther           OK      73054
                                                                                                                      9211 Lake Hefner
Marsha Cunningham                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Marsha Cunningham                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Marsha Cunningham                                                       15951 NE 209th St                                                                      Luther           OK      73054
MARSHALL ALUMINI ASSOC OF MARSHALL                                      11085 W COUNTY ROAD 59                                                                 MARSHALL         OK      73056
MARSHALL FAMILY TRUST                                                   43829 N MORAY ST                                                                       FREMONT          CA      94539
MARSHALL GLENN BOOZER                                                   PO BOX 70759                                                                           BAKERSFIELD      CA      93387
MARSHALL HARRIS                                                         4008 KNIGHTS BRIDGE ST                                                                 NORMAN           OK      73072-1794
MARSHALL LIONS CLUB                                                     PO BOX 237                                                                             MARSHALL         OK      73056-0237
MARSHALL REED                                                           24 W SHORE CT                                                                          STEILACOOM       WA      98388
MARSHALL RODGERS                                                        PO BOX 827                                                                             CUSHING          OK      74023-0827
MARSHALL TEEGARDEN                                                      716 NORTON STREET                                                                      WEATHERFORD      TX      76086
                                                                                                                      9211 Lake Hefner
Marshall Dunlap                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Marshall Dunlap                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Marshall Dunlap                                                         11650 Otis Rd                                                                          Guthrie          OK      73034
MARTA KOCHENOWER                                                        24150 CR 200                                                                           STILLWATER       OK      74075


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             CreditorName                CreditorNoticeName                        Address1                             Address2                  Address3           City       State     Zip       Country
MARTELLA F NUCKOLS REV TRUST                                         825 NORTH A ST                                                                          ARKANSAS CITY      KS    67005
MARTENIA BROWN WILLIAM J                                             PO BOX 215                                                                              CRESCENT           OK    73028
                                                                                                                   9211 Lake Hefner
Martha Moore                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                  c/o Laminack, Pirtle & Martines,
Martha Moore                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Martha Moore                                                         4410 Woodland Dr                                                                        Oklahoma City      OK    73105
MARTHA A WEAVER                                                      2729 S W 33RD ST                                                                        OKLAHOMA CITY      OK    73119
MARTHA BASTEMEYER                                                    2414 MELISSA LN                                                                         STILLWATER         OK    74074
                                                                                                                                                             COLONIA LOMAS DE
MARTHA BERRY                                                         SIERRA VENTANA 405 2                                                                    CHAPULTEPEC        DF    11000        MEXICO
MARTHA BILLMAN                                                       37 WASHINGTON SQ W APT 11A                                                              NEW YORK           NY    10011-9100
MARTHA BROOKS                                                        4801 SANGER AVEAPT #54                                                                  WACO               TX    76710
MARTHA BURKE                                                         14627 SE ORCHID AVE                                                                     MILWAUKIE          OR    97267
MARTHA BUTLER                                                        5231 VALLEY BLUFF LN                                                                    KATY               TX    77494
MARTHA CHURCHWELL                                                    2305 93RD PL                                                                            LUBBOCK            TX    79423-4423
MARTHA CLARK                                                         4940 TENNYSON ST                                                                        DENVER             CO    80212-2928
MARTHA COVEY                                                         5703 S MAJOR RD                                                                         MULHALL            OK    73063
MARTHA DAVIS                                                         430 MEADOWBROOK LANE                                                                    ELLENSBURG         WA    98926
MARTHA DECD                                                          10021 MAJORCA DR                                                                        AUSTIN             TX    78717
Martha Donelson-Green             c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX    75070
Martha Donelson-Green             c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK    74104
Martha Donelson-Green             c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY    10017
Martha Donelson-Green                                                49372-US Hwy 60                                                                         Burbank            OK    74633
MARTHA DUNBAR                                                        1418 SHERWOOD LN                                                                        BROKEN ARROW       OK    74011
                                                                                                                   9211 Lake Hefner
Martha E. Carpenter               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120

Martha E. Carpenter               c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Martha E. Carpenter                                                  520 NW 49th St                                                                          Oklahoma City      OK    73118
MARTHA EATMAN BROWN                                                  9518 E JACOB CIR                                                                        MESA               AZ    85209
MARTHA ELIZABETH DOZIER ESTATE                                       5002 NE 220TH TERR                                                                      EARLETON           FL    32631
MARTHA FAGAN                                                         4051 HIBURN CIR                                                                         EDMOND             OK    73034
MARTHA H JENSEN                                                      1006 STEVENS ST                                                                         TAFT               CA    93268
MARTHA HAWKINS NAPLES TRUST                                          7408 MEMPHIS                                                                            AMARILLO           TX    79118
MARTHA HOULE                                                         11415 W 67TH ST                                                                         SHAWNEE MISSION    KS    66203-3311
MARTHA HUDKINS                                                       RR2 BOX 242                                                                             LOST CREEK         WV    26385
MARTHA JACKSON                                                       6340 LIMESTONE CIR                                                                      ANCHORAGE          AK    99516
MARTHA JO GRIFFIN                                                    677 DEWEY ST APT 330                                                                    LAPEER             MI    48446
MARTHA L GILBERT LE LIFE ESTATE                                      712 MARY                                                                                MORRISON           OK    73061
MARTHA LAWRENCE                                                      4215 HARRINGTON CMNS                                                                    WILLIAMSBURG       VA    23188
MARTHA LEANNE BUSHYHEAD                                              3526 EVANS AVENUE                                                                       MANNFORD           OK    74044
MARTHA LOGAN                                                         45300 S COUNTY ROAD 207                                                                 WOODWARD           OK    73801-5057
MARTHA LYON                                                          900 W KNIPE AVE                                                                         PERKINS            OK    74059-3910
MARTHA M MARTIN LIVING TRURT                                         17 STACY HILL RD                                                                        ANTRIM             NH    03440-3110
MARTHA MICHALSKI MANN                                                9330 HARTS MILL ROAD                                                                    WARRENTON          VA    20186
MARTHA MITCHELL                                                      23 HILTON DR                                                                            S GLENS FALLS      NY    12803
MARTHA MURTAUGH                                                      6206 WATERFORD BLVD #57                                                                 OKLAHOMA CITY      OK    73118
MARTHA NEAL                                                          3830 S TROOST                                                                           TULSA              OK    74105
MARTHA P MULLALLY AS TRUSTEE                                         1901 HUNTINGTON AVE                                                                     NICHOLS HILLS      OK    73116-5525
MARTHA RYAN                                                          11813 SPRINGHOLLOW RD                                                                   OKLAHOMA CITY      OK    73120
MARTHA SHIPPY                                                        435 MEADOW BROOK DR                                                                     NAMPA              ID    83686
MARTHA SIMONS KING                                                   3801 E CREST DR                                                                         BRYAN              TX    77802-3710
MARTHA SISSONS                                                       12201 W HIGHWAY 33                                                                      COYLE              OK    73027-2312
MARTHA SMITH                                                         1123 E 8TH ST                                                                           CUSHING            OK    74023
MARTHA SPRAGUE                                                       5005 PINTO DR                                                                           STILLWATER         OK    74074-8610
MARTHA THACKER                                                       2429 W 21ST AVE                                                                         COVINGTON          LA    70433-7471
MARTHA THOMAS                                                        2122 E 60TH PL                                                                          TULSA              OK    74105
MARTHA THOMPSON                                                      316 W INDIANA AVE                                                                       CHESTERTON         IN    46304-2349


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                                                                                              White Star Petroleum, LLC
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MARTHA WELLS                                                             PO BOX 691715                                                                          STOCKTON        CA    95269
MARTHA ZINGER                                                            92 WATERCOURSE PL                                                                      PLYMOUTH        MA    02360-3626
                                                                                                                       9211 Lake Hefner
Martha Bellahrach                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Martha Bellahrach                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Martha Bellahrach                                                        1204 Cathy Lane                                                                        Oklahoma City   OK    73110
                                                                                                                       9211 Lake Hefner
Martha Dunlap                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Martha Dunlap                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Martha Dunlap                                                            3425 Paradise Dr                                                                       Spencer         OK    73084
                                                                                                                       9211 Lake Hefner
Martha Newcomb                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Martha Newcomb                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Martha Newcomb                                                           20 Woodland Dr                                                                         Edmond          OK    73025
MARTI GASTINEAU                                                          5516 SPRINGFORD CIR #1435                                                              KELLER          TX    76248
MARTICIA MOON                                                            7035 WESTLIGHT PL                                                                      SAN DIEGO       CA    92126
MARTIE RHAMY                                                             10901 S HACKLEMAN                                                                      COYLE           OK    73027
MARTIN AZCARATE                                                          5623 GREAT VALLEY DR                                                                   ANTELOPE        CA    95843-3712
MARTIN BUCHANAN                                                          PO BOX 20732                                                                           OKLAHOMA CITY   OK    73156
MARTIN COLPITT                                                           PO BOX 28                                                                              COLLINSVILLE    OK    74021-0028
MARTIN DILLON                                                            PO BOX 60503                                                                           IRVINE          CA    92620
MARTIN DUST                                                              510 EAST ST                                                                            LUTHROP         MO    64465
MARTIN FAMILY LIVING TRUST                                               PO BOX 1214                                                                            BOWIE           TX    76230
MARTIN FAMILY TRUST                                                      324 HERITAGE BLVD                                                                      EDMOND          OK    73025
MARTIN FAMILY TRUST DTD 10.07.08                                         PO BOX 442                                                                             SAINT JO        TX    76265
MARTIN FOWLER                                                            PO BOX 2611                                                                            GLENCOE         OK    74032
MARTIN GARBER                                                            PO BOX 2323                                                                            BARTLESVILLE    OK    74005
MARTIN GEORGE ATKINSON                                                   14133 CARDINAL LANE                                                                    HOUSTON         TX    77079
MARTIN JOSEPH FOWLER                                                     14494 263RD STREET                                                                     BLANCHARD       OK    73101
MARTIN KELSO                                                             3301 FOX TRAIL RD                                                                      EDMOND          OK    73034-2254
MARTIN MINTER                                                            41131 GENTIAN TRL                                                                      UNIONVILLE      MO    63565-2879
MARTIN MONTOYA                                                           5751 HESPER WAY                                                                        CARMICHAEL      CA    95608
MARTIN OGBURN                                                            136 S REED APT B                                                                       NORMAN          OK    73069
MARTIN OIL LLC                                                           PO BOX 3627                                                                            TULSA           OK    74101
MARTIN OIL PROPERTIES                                                    PO BOX 18423                                                                           OKLAHOMA CITY   OK    73154-0423
MARTIN RADCLIFF                                                          17973 MILL ST.                                                                         BELIOT          OH    44609-9512
MARTIN STEVENSON                                                         1113 CROZIER ST                                                                        PERKINS         OK    74059-9301
MARTINDALE CONSULTANTS INC                                               4242 N MERIDIAN                                                                        OKLAHOMA CITY   OK    73112
MARTIN-DECKER TOTCO                                                      PO BOX 203793                                                                          DALLAS          TX    75320
MARTINEZ FENC,CONST & LANDSCP, INC.                                      1315 AIRPORT INDUSTRIAL RD                                                             ELK CITY        OK    73644
                                                                                                                       9211 Lake Hefner
Martinez McKinney Sr.                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
Martinez McKinney Sr.                 c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles     CA    90017
Martinez McKinney Sr.                                                    202 W Cypress St                                                                       Cushing         OK    74023
MARTY A AND AMY S GORE, H&W, JT                                          PO Box 6                                                                               SEILING         OK    73663
MARTY A MACHTOLFF TRUST                                                  PO BOX 977                                                                             GUTHRIE         OK    73044
MARTY ASKINS                                                             PO BOX 220                                                                             DUNCAN          OK    73534-0220
MARTY FLAGG                                                              830 ROHRBUCH RD                                                                        PIPE CREEK      TX    78063-5018
MARTY GRIFFITH                                                           11060 TIMBERLINE RD                                                                    HOUSTON         TX    77043
MARTY JAMES                                                              18948 N 2980 RD                                                                        CRESCENT        OK    73028
MARTY L JAMES                                                            18948 N 2980 RD                                                                        CRESCENT        OK    73028
MARTY POFF                                                               459 COUNTY ROAD 119                                                                    HESPERUS        CO    81326
MARTY WAYNE CASTEEL                                                      27124 E HWY 164                                                                        LUCIEN          OK    73757
MARTYN SERVICE INC                                                       PO BOX 123                                                                             JACKSONBURG     WV    26377-0123
MARVA BOLAY                                                              28303 CR 90                                                                            PERRY           OK    73077
MARVA DAVIS                                                              814 W AVE C                                                                            ELK CITY        OK    73644


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MARVA DUPREE                                                             ROUTE 1 BOX 20A                                                                        BUTLER           OK    73625
                                                                                                                       9211 Lake Hefner
Marva L. Madison                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Marva L. Madison                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Marva L. Madison                                                         6908 Elk Canyon Rd                                                                     Oklahoma City    OK    73162
MARVENE SEARS                                                            36163 SANDY ROCK RD                                                                    TECUMSEH         OK    74873
MARVIN & JANICE KASTER                                                   PO Box 2640                                                                            MIDLAND          TX    79702
MARVIN & MARY RUPP TRUST UTA DTD MA                                      19150 KNOB HILL                                                                        PERRY            OK    73077
MARVIN & TISH REV TRUST                                                  5604 NORTHWOOD DR                                                                      EDMOND           OK    73034

MARVIN A LADELY                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX    75070
MARVIN ABBOTT                                                            1215 W 92ND ST                                                                         PERKINS          OK    74059
MARVIN ADAMS                                                             645 TANBRIDGE ROAD                                                                     WILMINGTON       NC    28405
MARVIN AND WILDA ADAMS FAMILY TRUST                                      645 TANBRIDGE ROAD                                                                     WILMINGTON       NC    28405
MARVIN BEIER                                                             515 E BOUNDARY ST                                                                      PERRY            OK    73077
MARVIN BETHARDS                                                          12653 E 45 ST                                                                          YUMA             AZ    85367
MARVIN BOYLE                                                             609 E PARK DR                                                                          PAYSON           AZ    85541-4435
MARVIN C & LOIS J BACKHAUS REV TR                                        3100 BACKHAUS RD                                                                       GUTHRIE          OK    73044
MARVIN CARNES                                                            320 S CHERRY ST                                                                        CRESCENT         OK    73028-8942
MARVIN D CRISP                                                           12302 S YUKON AVE APT 518                                                              GLENPOOL         OK    74033
MARVIN DAVIS AND                                                         10517 S JARDOT                                                                         PERKINS          OK    74059-4340
MARVIN DENNY                                                             9329 SW 25TH ST                                                                        OKLAHOMA CITY    OK    73128-4943
MARVIN DODD                                                              702 CHAMPION AVE                                                                       PORT ISABEL      TX    78578-2901
MARVIN DURHAM                                                            2448 LARALEE ST                                                                        SPRINGFIELD      OR    97477-1438
MARVIN EDWARD LOUGH DECEASED                                             304 CHRONISTER AVENUE                                                                  DRUMRIGHT        OK    74030
MARVIN FLAMING                                                           PO BOX 773                                                                             HOTCHKISS        CO    81419-0773
MARVIN FREEMAN                                                           5604 NORTHWOOD DR                                                                      EDMOND           OK    73034-9225
MARVIN GRASSMAN                                                          PO BOX 989                                                                             BAY CITY         TX    77414
MARVIN H & BENITA W WITT FAM TRST                                        5407 SEDGEWICK DRIVE                                                                   COLUMBUS         GA    31904
MARVIN HOTSON                                                            5500 JOHN WAYNE RD                                                                     PERRY            OK    73077
MARVIN J & LINDA L NAVRATIL REV LVG                                      388 BRENTWOOD DR                                                                       MCALESTER        OK    74501
                                                                                                                       9211 Lake Hefner
Marvin Johnson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120

Marvin Johnson                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Marvin Johnson                                                           14701 SE 89th St                                                                       Choctaw          OK    73020
MARVIN MCENTIRE                                                          304 S 3RD BOX 174                                                                      AGRA             OK    74824
MARVIN MOORMAN                                                           8010 S RANGE RD                                                                        STILLWATER       OK    74074-8178
MARVIN QUATTLEBAUM                                                       8469 N 2020 RD                                                                         LEEDEY           OK    73654
MARVIN SCHOENECKE                                                        PO BOX 587                                                                             POINT LOOKOUT    MO    65726
MARVIN TANNER                                                            403 E STUART ST                                                                        SOUTH HAVEN      KS    67140-9097
MARVIN VOYLES                                                            6867 S BILOXI COURT                                                                    AURORA           CO    80016
MARVIN WILLIAMS                                                          22800 JOHN WAYNE                                                                       MORRISON         OK    73061
MARVIN WILSON                                                            9056 HWY 289 N                                                                         CELINA           TX    75009
MARY A WATTS                                                             420 BOYD AVENUE                                                                        NEWTON           KS    67114
MARY ACKLEY STOVER                                                       10411 ADDISON LAKES DR                                                                 JACKSONVILLE     FL    32257-7813
MARY ADA REED ERWIN                                                      109 E. BRAHMA AVENUE                                                                   DEWEY            OK    74029
MARY ADAMS                                                               1778 THOMAS ST                                                                         NICEVILLE        FL    32578
MARY ADAMS                                                               806 TEE STREET                                                                         NICEVILLE        FL    32578

MARY ADELINE MILLER REVOCABLE TRUST                                      PO BOX 35160                                                                           TULSA            OK    74153-0160
MARY AGNES SULLIVAN REV LIVING TRUS                                      PO BOX 1588                                                                            TULSA            OK    74101
MARY ALAMAN                                                              121 WAKE DR                                                                            RICHARDSON       TX    75081-3739
MARY ALAMEN                                                              121 WAKE DR                                                                            RICHARDSON       TX    75081
MARY ALBERS                                                              15140 SW 70 ST                                                                         CUNNINGHAM       KS    67035
MARY ALLEN                                                               6825 S EUNICE HWY                                                                      HOBBS            NM    88240-9508
MARY ALLEN ESTATE                                                        6825 S EUNICE HWY                                                                      HOBBS            NM    88240-9508
MARY ALLTIZER                                                            1801 YELLOWSTONE LN                                                                    EDMOND           OK    73003-4675


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MARY ALYCE PARSONS                                                       520 FINKS HIDEAWAY RD APT 92                                                            MONROE              LA       71203
MARY ANDERSON                                                            4913 MANCHESTER DR                                                                      ENID                OK       73703
MARY ANDERSON THIGPEN                                                    603 OVERLOOK ROAD NORTH                                                                 TUSCALOOSA          AL       35406
MARY ANN & DAVID CLODFELTER                                              8020 S PRAIRIE RD                                                                       STILLWATER          OK       74074-8420
MARY ANN ALLEN LIFE EST                                                  5301 N SAPULPA AVE                                                                      OKLAHOMA CITY       OK       73112-2039
MARY ANN BEEBY                                                           14306 W COUNTY ROAD 65                                                                  MARSHALL            OK       73056-9777
MARY ANN BENSON                                                          5200 MIDWAY RD TRLR 12                                                                  CALDWELL            ID       83607-1531
MARY ANN DICKEY & PAM MARIE HILL TR                                      6428 E 95TH PL                                                                          TULSA               OK       74137
MARY ANN DUTTON                                                          576 CEDAR LAKE DR                                                                       BLYTHEWOOD          SC       29016
                                                                                                                       9211 Lake Hefner
Mary Ann Fruge                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK       73120
                                      c/o Laminack, Pirtle & Martines,
Mary Ann Fruge                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX       77006
Mary Ann Fruge                                                           122 E. Main St                                                                          Sperry              OK       74073
MARY ANN RINEY                                                           1109 ROCKLEDGE LANE #4                                                                  WALNUT CREEK        CA       94596

MARY ANN ZALOUDEK-LAWRENCE EUGENE I                                      17466 County Road 920                                                                   Pond Creek          OK       73766
MARY ANNA THOMPSON                                                       10520 NORTH JARDOT ROAD                                                                 STILLWATER          OK       74075
MARY ANNE AARON REV TR                                                   6904 EDGEWATER DRIVE                                                                    OKLAHOMA CITY       OK       73116
MARY ANNE WARDEN                                                         540 RAOD 180                                                                            EMPORIA             KS       66801
MARY AREHART                                                             808 NE 39TH AVE                                                                         PORTLAND            OR       97202
MARY ARMINIO                                                             2034 VISTA DEL ROSA                                                                     FULLERTON           CA       92831
MARY ARMSTRONG                                                           728 ALTA VISTA ST                                                                       DUBUQUE             IA       52001
MARY ATWOOD                                                              3947 35TH WAY SOUTH #131                                                                ST PETERSBURG       FL       33711
MARY AYOU TRUST                                                          597 PARK DR                                                                             COSTA MESA          CA       92627-3603
MARY B KRAMPE                                                            416 N KENSINGTON                                                                        KANSAS CITY         MO       64123
MARY BARTHOLOMEW                                                         4736 GREER CT                                                                           FREEMONT            CA       94538
MARY BAUMER                                                              1250 W CENTRAL RD APT 226                                                               ARLINGTON HEIGHTS   IL       60005-2456
MARY BEACH                                                               621 S 2ND ST                                                                            INDEPENDENCE        KS       67301-4511
MARY BECKER                                                              6816 NW 118TH ST                                                                        OKLAHOMA CITY       OK       73162
MARY BELLAMY                                                             525 BELLAIRE ST                                                                         DENVER              CO       80220-4932
MARY BERG                                                                1110 NORTH LAKE AVE APT 310B                                                            SIOUX FALLS         OK       57104
MARY BETH COMBS                                                          7102 W COMBS DR                                                                         CUSHING             OK       74023-5870
MARY BETH ROPER                                                          1710 HAMILTON STREET                                                                    SAN MARCOS          TX       78666
MARY BETH TREAT TRUST                                                    1606 FAIRWAY DR                                                                         PERKINS             OK       74059-4442
MARY BINGHAM                                                             7216 NW 7TH ST                                                                          OKLAHOMA CITY       OK       73127
MARY BLACKBURN                                                           PO BOX 118                                                                              HALLETT             OK       74034
MARY BOYD                                                                1012 S ASH TRAIL                                                                        CLEVELAND           OK       74020
MARY BRAKEBILL                                                           3109 SW 25TH ST                                                                         OKLAHOMA CITY       OK       73108-5203
MARY BRANDT                                                              14103 MUIRFIELD VILLAGE DR                                                              HOUSTON             TX       77069-1731
MARY BREWINGTON VANDEVENTER                                              PO BOX 3025                                                                             CONROE              TX       77305-3025
MARY BRIGHT                                                              S8065 GOLF VIEW DR                                                                      EAU CLAIR           WI       54701-8461
MARY BRITTON                                                             771 RIVER OAKS DR                                                                       FAIRVIEW            TX       75069-9498
MARY BROWN                                                               PO BOX 404                                                                              MORRISON            OK       73061
MARY BROWN                                                               2105 E LAKE SHORE DR                                                                    TAYLORVILLE         IL       62568-8932
MARY BULLINGTON                                                          99 MOUNTAIN OAK DR.                                                                     BAYFIELD            CO       81122-9781
MARY BURKI                                                               3440 HICKORY STICK RD                                                                   OKLAHOMA CITY       OK       73120
MARY BURNELL                                                             3001 S 288TH ST TRLR 379                                                                FEDERAL WAY         WA       98003-8007
MARY BURNS                                                               717 S HUDSON AVE                                                                        PASADENA            CA       91106-3911
MARY BUSH                                                                315 E MARLETTE AVE                                                                      PHOENIX             AZ       85012
MARY C BARTLETT                                                          5300 STONE AVE 117                                                                      SIOUX CITY          IA       51106
MARY C GROCE TTEE                                                        406 GARDNER                                                                             BORGER              TX       79007
MARY C WILLIAMS                                                          614 N PINE ST                                                                           PAULS VALLEY        OK       73075
MARY CAIN                                                                1302 OLDE NORTH PL                                                                      EDMOND              OK       73034-4942
Mary Calhoun                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX       75070
Mary Calhoun                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa               OK       74104
Mary Calhoun                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY       10017
Mary Calhoun                                                             645 North 28th West Ave                                                                 Tulsa               OK       74127
MARY CAMIN                                                               5070 Chapala Drive                                                                      Riverside           CA       92507


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MARY CAPE                                                                2230 Eagle St.                                                                         Vernon            TX       76384
MARY CAREY                                                               46 FALTSMAN RD                                                                         GRANGEVILLE       ID       83530
MARY CAROL GARRETT REV TRUST                                             1201 BENT TREE ST                                                                      DUNCAN            OK       73533-1191
MARY CAROLYN WELCH                                                       7443 S. Granite Ave.                                                                   Tulsa             OK       74136
MARY CASH                                                                17 CHECOTAH LN                                                                         SHAWNEE           OK       74801-2414
MARY CASSIDY DECD                                                        901 BARBARA ST                                                                         DENTON            TX       76209
MARY CERMAK                                                              PO BOX 69                                                                              PERRY             OK       73077-0069
MARY CLODFELTER                                                          8020 S PRAIRIE RD                                                                      STILLWATER        OK       74074-8420
MARY COLLEY                                                              909 WOODHOLLOW TRL                                                                     EDMOND            OK       73012-4326
MARY CONOVER                                                             212 B GIBSON ST                                                                        COPPERAS COVE     TX       76522
MARY COURTNEY                                                            PO BOX 44142                                                                           OKLAHOMA CITY     OK       73144-1142
MARY CUNDIFF                                                             10701 S. WASHINGTON STREET                                                             PERKINS           OK       74059
MARY CUNNINGHAM                                                          11601 NW 6TH ST                                                                        YUKON             OK       73099
MARY DACUS                                                               4829 #2 ELDER RD                                                                       KNOXVILLE         TN       37912-3712
MARY DAUGHERTY                                                           PO BOX 4                                                                               CUSHING           OK       74023-0004
MARY DAVIS                                                               429 HAWTHORNE ST APT 8                                                                 HOUSTON           TX       77006
MARY DAVIS LOVE                                                          11908 PEPPER TREE PL                                                                   OKLAHOMA CITY     OK       73120
MARY DAWSON                                                              1015 N MIDWEST BLVD                                                                    GUTHRIE           OK       73044
MARY DEHAAN                                                              1292 W GREASEWOOD ST                                                                   APACHE JUNCTION   AZ       85120
MARY DENISE DAUGHTERY-TYE                                                2827 W MOORE RD                                                                        TUCSON            AZ       85755
MARY DENNY                                                               176 VIA PERIGNON                                                                       NAPLES            FL       34119
MARY DETAMORE                                                            1017 BONANZA DR                                                                        ARLINGTON         TX       76001-8537
MARY DIXON                                                               105 SUNDROP RIDGE CT                                                                   MONTGOMERY        TX       77316
MARY DOMNICK                                                             3722 N CLAREY ST                                                                       EUGENE            OR       97402
MARY DOUGHTY                                                             7720 S HARVARD PL                                                                      TULSA             OK       74136
MARY DRAPER                                                              PO BOX 185                                                                             STILLWATER        OK       74076-0185
MARY E DAVIS DECEASED                                                    868 CORNWALL AVENUE                                                                    EUGENE            OR       97404
MARY E GALLAGHER LLC                                                     5206 S HARVARD AVE UNIT 338                                                            TULSA             OK       74135-3591
MARY E GRISSO TRUST NO 1                                                 2801 NW 57TH ST                                                                        OKLAHOMA CITY     OK       73112-7054
MARY E KERSHAW REVOCABLE TRUST                                           PO BOX 327                                                                             SKYLAND           NC       28776-0327
MARY E WILCOX TTEE                                                       295 5TH ST W                                                                           SONOMA            CA       95476-5646
                                                                                                                       9211 Lake Hefner
Mary E. Smith                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Mary E. Smith                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Mary E. Smith                                                            1447 N. Urbana Ave                                                                     Tulsa             OK       74115
MARY EDGAR                                                               PO BOX 1198                                                                            BEEVILLE          TX       78102
MARY EICHELBERGER RUEGG                                                  33 POND VIEW CT                                                                        DURHAM            NC       27705-5647
MARY ELIZABETH BUTLER                                                    1 DEPAUL STREET, #13                                                                   EMMITSBURG        MD       99999
MARY ELIZABETH DAUGHTY                                                   7720 S HARVARD PL                                                                      TULSA             OK       74136
MARY ELIZABETH O'NEILL                                                   6834 TOWN BLUFF DRIVE                                                                  DALLAS            TX       75248
MARY ELIZABETH OVERLEES TTEE                                             11506 ECHO LAKE CIRCLE 106                                                             BRADENTON         FL       34211
MARY ELLEN ALLEN TR ROBERT STEPHEN                                       5430 BROOKHAVEN PL                                                                     OKLAHOMA CITY     OK       73104
MARY ELLEN HAMBURGER                                                     505 N 3RD                                                                              WEATHERFORD       OK       73096
MARY ELLEN KINKADE LIFE EST                                              9119 S FRANKLIN                                                                        PERKINS           OK       74059
MARY ELLEN LEGATE                                                        9850 MEADOWGLEN lN #188                                                                HOUSTON           TX       77042
MARY ELLEN RIVERA                                                        4851 W GANDY BLVD B02-L30                                                              TAMPA             FL       33611
                                                                                                                       9211 Lake Hefner
Mary Ellen Clark                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Mary Ellen Clark                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Mary Ellen Clark                                                         2841 SW 80 St                                                                          Oklahoma City     OK       73159
MARY ENGLISH                                                             415193 E 1083 RD                                                                       CHECOTAH          OK       74426
MARY EVANS GREENSHIELDS TRUST                                            PO BOX 840738                                                                          DALLAS            TX       75284-0738
MARY EVERS                                                               105 SUNCREST PL                                                                        KATHLEEN          GA       31047
MARY FERGUSON                                                            1601 RANDEL ROAD                                                                       NICHOLS HILLS     OK       73116
MARY FLIPPEN                                                             780 CHATEAU DR                                                                         HILLSBOROUGH      CA       94010-6560

MARY FRANCES BREEDEN aka MARY F BRE                                      343195 W HWY 15                                                                        TRYON             OK       74875


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MARY FREE                                                  5223 CAREW                                                             HOUSTON          TX     77096
MARY FREELAND                                              2441 SILVERADO CIR                                                     LAFAYETTE        IN     47909
MARY FRINGER                                               10334 LONE LYNX                                                        LITTLETON        CO     80124-9546

MARY G CARTER TRUSTEE OF THE MARY G                        6701 N SHAWNEE AVE                                                     OKLAHOMA CITY    OK    73116-1802
MARY GAIL LAND                                             907 MONTVIEW DR                                                        KATY             TX    77450
MARY GALGAN                                                118 MONTEVERDE DRIVE                                                   VACAVILLE        CA    95688
MARY GALLAGHER PAINE                                       1825 THICKETT CT                                                       FORT WAYNE       IN    46814
MARY GAUGER                                                501 SW CREEK RIDGE DR                                                  GRAIN VALLEY     MO    64029-8452
MARY GESELL                                                1910 FOREST RIDGE RD                                                   ST CHARLES       IL    60174

MARY GIBBS BOUCK                                           288 CEDAR GLEN DRIVE APARTMENT 2A                                      CAMDENTON        MO    65020
MARY GIBSON IRS                                            5900 S LAKE FOREST DR STE 300                                          MCKINNEY         TX    75070
MARY GIGER                                                 2712 ELDON AVE                                                         DREXEL HILL      PA    19026-2210
MARY GILBERT                                               14627 ROSEHILL DR                                                      HOUSTON          TX    77070
MARY GIVENS                                                5910 E 68TH ST                                                         STILLWATER       OK    74074-6471
MARY GORDON TAFT LIVING TR 7/2/1997                        6208 WATERFORD BOULEVARD #105                                          OKLAHOMA CITY    OK    73118-1113
MARY GRAYBILL TRUST                                        10475 TENNESSEE AVENUE                                                 LOS ANGELES      CA    90064
MARY GUFFEY                                                9278 22ND ST                                                           PERRY            KS    66073-4002
MARY H LAWLER ESTATE                                       2920 N COUNTRY CLUB RD                                                 STILLWATER       OK    74075
MARY H RED REV TRUST                                       PO BOX 699                                                             STILLWATER       OK    74076-0699
MARY H SILL REV TR                                         PO BOX 817                                                             BLANCHARD        OK    73010
MARY HABIG                                                 1803 NE SEWARD AVE                                                     TOPEKA           KS    66616
MARY HALL                                                  1109 1/2 FIESTA ST                                                     AUSTIN           TX    78702-3010
MARY HANCOCK                                               3600 CONNECTICUT AVE NW                                                WASHINGTON       DC    20008-2421
MARY HANKS                                                 9623 W 9TH ST                                                          RIPLEY           OK    74062-6379
MARY HARDIN                                                7118 BROOKSTONE DR                                                     HOUSTON          TX    77040
MARY HARRISON                                              1104 NW 7TH PL                                                         MOORE            OK    73170
MARY HARVEY                                                3000 E SEWARD RD                                                       GUTHRIE          OK    73044
MARY HAVEL                                                 PO BOX 84                                                              BELLEVILLE       KS    66935-0084
MARY HAYES                                                 343 N HOLYOKE                                                          WICHITA          KS    67208
MARY HEBARD                                                308 S. DIVISION ST.                                                    KNOXVLE          IL    61448
MARY HEJKA                                                 620 AMANDA DR                                                          MATTHEWS         NC    28104
MARY HELEN COSTABILE                                       6202 W EDISON ST                                                       TULSA            OK    74127
MARY HELEN LAMARCA                                         7319 SNOWBIRD WAY                                                      INDIANAPOLIS     IN    46259-1741
MARY HELEN M CALLAHAN RESIDUAL TR                          303 BEVERLY RD                                                         NEWARK           DE    19711
MARY HENSLEY HANBY                                         2400 SKYVIEW DR                                                        RICHARDSON       TX    75080-2553
MARY HESS                                                  794 STATE ROUTE 250                                                    CALHOUN          KY    42327-9733
MARY HILL                                                  2825 NW GRAND BLVD APT 16                                              OKLAHOMA CITY    OK    73116-4022
MARY HINDS HARRIS                                          PO BOX 1328                                                            CUSHING          OK    74023-1328
MARY HOAGLAND SINCLAIR TRUST                               1605 NORWOOD PL                                                        OKLAHOMA CITY    OK    73120
MARY HOLBROOK FERGUSON LIV TR                              1601 RANDEL RD APT 1                                                   OKLAHOMA CITY    OK    73116-5627
MARY HOLZER                                                PO BOX 876185                                                          WASILLA          AK    99687-6185
MARY HOPFER                                                725 WILEY ST                                                           FT GIBSON        OK    74334
MARY HORD                                                  231 BRYANT ST                                                          KANSAS CITY      MO    64119
MARY HORWITZ                                               1064 COTTONWOOD LN                                                     LARKSPUR         CO    80118-8728
MARY HOUSE                                                 925 W 25TH ST S APARTMENT 420                                          WICHITA          KS    67217
MARY HOUSH JACKSON DECD                                    3820 DANBURY DR                                                        ARLINGTON        TX    76016
MARY HUNT                                                  740 FM 932                                                             PURMELA          TX    76566-2521
MARY IRENE HICKS GRIESINGER                                38 COUNTRY CLUB DR                                                     ORMOND BEACH     FL    32176
MARY ISABELLE SPARKS ESTATE                                234 BAY COLONY DR                                                      LAPORTE          TX    77571
MARY J COLE                                                1898 CREEKSIDE                                                         SIDNEY           OH    45365-7549
MARY J MCCALL TRUST                                        3000 EAST MCELROY ROAD                                                 STILLWATER       OK    74075
MARY J. DONEHUE                                            17321 GROVE HILL TERRACE                                               EDMOND           OK    73012
MARY JANE BRANHAM                                          22500 COUNTY ROAD 140                                                  PERRY            OK    73077
MARY JANE NORHEIM                                          200 E. CENTRAL AVE.                                                    MISSOULA         MT    59801-6917
MARY JO SMITH FAMILY ENTERPRISES LP                        PO BOX 1196                                                            NEWCASTLE        CA    95658
MARY JOHNSTON                                              2179 FOSTER AVENUE                                                     VENTURA          CA    93001
MARY JON BRYAN                                             1331 LAMAR ST SUITE 1077                                               HOUSTON          CO    77010


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MARY JONES                                                               1219 KACHINA DR                                                                        COLORADO SPRINGS   CO      80915-3007
MARY JONES                                                               PO BOX 681                                                                             GEORGETOWN         CO      80444-0681
MARY K DYCUS ADMINISTRATRIX                                              10133 NE 64TH STREET                                                                   KIRKLAND           WA      98033
MARY KATHERINE GRISSO REV TR DTD 06                                      4104 RAMSEY RD                                                                         YUKON              OK      73099
MARY KAY & FRANCIS M PRATT TRUST                                         1113 KINGSBURY RD                                                                      GARDEN CITY        KS      67846
MARY KAY CULPEPPER                                                       13300 OAKCLIFF ROAD                                                                    OKLAHOMA CITY      OK      73120
MARY KEESECKER ESTATE                                                    2915 NE 199TH ST                                                                       SHORELINE          WA      98155
MARY KELSO BREMNER                                                       216 OCEAN VIEW AVE                                                                     CARPINTERIA        CA      93013
MARY KINDER                                                              335754 E 794 RD                                                                        CARNEY             OK      74832
MARY KNOWLES MACGREGOR TRS                                               1168 ROBIN HOOD LN                                                                     NORMAN             OK      73072-7502
MARY KRAMPE                                                              416 N KENSINGTON                                                                       KANSAS CITY        MO      64123
MARY KUTCH                                                               431 SEMPLE AVE                                                                         APTOS              CA      95003
MARY L COMBS ORNDORFF                                                    626 E HILL DR                                                                          GUTHRIE            OK      73044-2032
MARY L ELLIS TRUST                                                       1500 E VAN BUREN APT 411                                                               MCALESTER          OK      74501
MARY L KRUGER AND GARY KRUGER                                            409 N FOREST RIDGE BLVD                                                                BROKEN ARROW       OK      74014
                                                                                                                       9211 Lake Hefner
Mary L. Moore                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mary L. Moore                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Mary L. Moore                                                            1033 SW 33rd St                                                                        Oklahoma City      OK      73109
                                                                                                                       9211 Lake Hefner
Mary L. Thompson                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mary L. Thompson                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Mary L. Thompson                                                         8310 N. Sooner Rd                                                                      Oklahoma City      OK      73151
MARY LAVERY PORTER                                                       2015 S LINWOOD AVE                                                                     CUSHING            OK      74023-5321
MARY LAWRENCE                                                            515 EDEN RANCH DR                                                                      CANYON LAKE        TX      78133-5446
MARY LEISTER                                                             496 S WOOD AVE                                                                         OAKDALE            CA      95361
MARY LIPPMANN                                                            1210 JEANNIE LANE COURT                                                                MUSKOGEE           OK      74403
MARY LOGAN                                                               2045 WAGON TRAIL                                                                       ENID               OK      73703
MARY LOOMIS                                                              2004 E FEEMSTER CT                                                                     VISALIA            CA      93292-5159
MARY LOU KIRKHUFF REV TRST                                               1821 DORCHESTER PL                                                                     NICHOLS HILLS      OK      73120-4709

MARY LOU MCKEE                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
MARY LOU MOORE                                                           25451 E 795 ROAD                                                                       WELLING            OK      74471
MARY LOU MOSER                                                           5600 NE 45TH ST                                                                        VANCOUVER          WA      98661
MARY LOUISE ADAMS REV TR                                                 PO BOX 840738                                                                          DALLAS             TX      75284-0738
MARY LOUISE IMRIE REV TR                                                 17701 N WESTERN AVE                                                                    EDMOND             OK      73012
MARY LOUISE NESTER                                                       313 GALEWOOD DR                                                                        NEW CARLISLE       OH      45344
MARY LOUISE SMITH TRUST                                                  7122 S SHERIDAN BOX 604                                                                TULSA              OK      74133
MARY LOUNSBURY                                                           302 CHESTNUT COVE CR                                                                   SOUTH LAKE         TX      76092
MARY LOVE                                                                3300 HIGH COTTEN CV                                                                    ROUND ROCK         TX      78664-7229
MARY LYNN HERENDEEN                                                      7135 WINDSTAR DR                                                                       RENO               NV      89523-2072
MARY LYON                                                                42 DUBLIN HILL ROAD                                                                    GREENWICH          CT      06830
MARY MAKER                                                               609 N OAK ST                                                                           PONCA CITY         OK      74601-4121
MARY MARGARET GRAVES                                                     7820 S REDLAND RD                                                                      COYLE              OK      73027
MARY MARGARET GRAY                                                       9169 LAKEWOOD DR                                                                       WHITMORE LAKE      MI      48189
MARY MATHIS LOVE                                                         6565 DAN DANCIGER ROAD, APT. 501                                                       FORT WORTH         TX      76133
MARY MAY                                                                 860 LILAC DR                                                                           GARLAND            TX      75040-4925
MARY MCBRIDE                                                             600 MAIN ST., APT. #210                                                                ANDERSON           IN      46016-1536
MARY MCCULLOUGH                                                          4600 MYRTLE BEACH DR                                                                   SEBRING            FL      33872
MARY MCKAIG                                                              7707 W BRITTON RD APT 1603                                                             OKLAHOMA CITY      OK      73132
MARY MCMILLEN BYRD                                                       6950 TOKALON DR                                                                        DALLAS             TX      75214
MARY MCNALLY                                                             815 MIMOSA DR                                                                          GUTHRIE            OK      73044
MARY MCNAMARA                                                            21618 CANYON FOREST COURT                                                              KAY                TX      77450
MARY MELTON                                                              375 KIRKLAND AVE STE 150                                                               KIRKLAND           WA      98033
MARY MILBURN                                                             920 SAND HOLLOW RD                                                                     CALDWELL           ID      93607
MARY MIMICK                                                              3817 46TH AVE N                                                                        MINNEAPOLIS        MN      55422
MARY MORRIS                                                              10617 S JARDOT RD                                                                      PERKINS            OK      74059


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MARY MURSET                                                              RINGSTRASSE II                                                                          SUISEE           OK       99999
MARY MYERS                                                               3665 HYACINTH DR                                                                        SAN DIEGO        CA       92106-1154
MARY NATIONS                                                             13800 W 116TH STREET, # 2108                                                            OLATHE           KS       66062
MARY NELSON                                                              5566 E 105TH ST N                                                                       WAGONER          OK       74467-8181
MARY NELSON ALEXANDER                                                    3910 CLARK AVE                                                                          SPRINGDALE       AR       72762-6531
MARY NEUMANN                                                             12608 ST LUKES LN                                                                       OKLAHOMA CITY    OK       73142-5183
MARY NEWMAN                                                              21795 VINEYARD HILLS DR                                                                 COUNCIL BLUFFS   IA       51503
MARY NOE                                                                 1115 CEDAR VIEW DR                                                                      JEFFERSONVILLE   IN       47130
MARY NORTHROP                                                            2430 N ELM                                                                              HASTINGS         NE       68901
MARY O'HARROW EST                                                        1421 LOCUST ST                                                                          OWENSBORO        KY       42301-3675
MARY OLIVER                                                              3113 CIRCLE HILL RD                                                                     ALEXANDRIA       VA       22305
MARY OLSON                                                               PO BOX 448                                                                              THREE FORKS      MT       59752
MARY OYLER                                                               PO BOX 452528                                                                           GROVE            OK       74345
MARY PARRISH                                                             6017 MUIRFIELD DR                                                                       EDMOND           OK       73025-2636

MARY PEARL HOLLOWAY TODD INTERVIVOS                                      5537 S 66TH EAST AVE                                                                    TULSA            OK       74145-8524
MARY PEDRICK                                                             7317 S GARY PL                                                                          TULSA            OK       74136
MARY PETERSDORF                                                          5148 W AQUAMARINE ST                                                                    TUCSON           AZ       85742-9413
MARY PINSKI                                                              1612 S CELIA LN                                                                         STILLWATER       OK       74074-1863
MARY R HUCKELBERRY                                                       13412 IRONWOOD RD #7                                                                    ELY              MN       55731
                                                                                                                       9211 Lake Hefner
Mary Randolph                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                      c/o Laminack, Pirtle & Martines,
Mary Randolph                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
Mary Randolph                                                            1623 S. Mehan Rd                                                                        Stillwater       OK       74074
MARY REECE                                                               21702 E 19TH                                                                            YALE             OK       74085
MARY RENEAU                                                              4204 W ROANOKE PL                                                                       DENVER           CO       80236
Mary Robinson                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070
Mary Robinson                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK       74104
Mary Robinson                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY       10017
Mary Robinson                                                            11931 North 74th West Ave                                                               Sperry           OK       74073
MARY ROGERS                                                              131 ASHLEY AVE                                                                          RAYVILLE         LA       71269
MARY ROSS                                                                PO BOX 2546                                                                             LAWTON           OK       73502-2546
MARY RUHL                                                                4804 LAKE FRONT DRIVE                                                                   NORMAN           OK       73072
MARY RUSSELL                                                             3440 HICKORY STICK RD                                                                   OKLAHOMA CITY    OK       73120

MARY S GRAY                                                              5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX       75070
MARY SAWYER                                                              217 W SHEPARD ST                                                                        GLENCOE          OK       74032
MARY SCHELL                                                              17126 FAIRWAY DRIVE                                                                     OMAHA            NE       68136
MARY SCHMOLDT                                                            1301 WHITE WATER RD                                                                     NEW BRAUNFELS    TX       78132-3283
MARY SCHRICK                                                             1904 ROCKPORT RD                                                                        EDMOND           OK       73013
MARY SCHRIEBER                                                           5420 SPENCER LN                                                                         CARLSBAD         CA       92008
MARY SCHULZ                                                              PO BOX 504                                                                              SAND SPRINGS     OK       74063
MARY SEGARS                                                              5219 FAUCETT RD                                                                         PINE BLUFF       AR       71603
MARY SHAW                                                                13814 VICTORIA DR.                                                                      VICTORVILLE      CA       92395
MARY SHAW GRIFFIN                                                        PO BOX 695                                                                              GENTRY           AR       72734
MARY SHEDRICK                                                            4507 N PENNAPT 7                                                                        OKLAHOMA CITY    OK       73112
MARY SHIELDS                                                             5460 N BENEDICT AVE                                                                     FRESNO           CA       93711
MARY SHUMATE                                                             8097 WOOD CREEK COVE                                                                    GERMANTOWN       TN       38138-4122
MARY SIGMUNDIK                                                           9940 37TH AVE N                                                                         PLYMOUTH         MN       55441-1660
MARY SIMON STRONG                                                        PO BOX 312                                                                              CUSHING          OK       74023-0312
MARY SMITH                                                               2102 N COUNTRY CLUB RD                                                                  DUNCAN           OK       73533
MARY SMITH                                                               PO BOX 1287                                                                             DUNCAN           OK       73534
MARY SMITH aka MARY SUE SEDINGER                                         78 N VINE STREET                                                                        WESTERVILLE      OH       43081
MARY SNAVELY                                                             3215 N DIAMOND VALLEY                                                                   STILLWATER       OK       74075-8775
MARY SNYDER                                                              6795 E CALLE LA PAZ UNIT 6106                                                           TUCSON           AZ       85715-9030
MARY SORRIN                                                              PO BOX 158                                                                              HURLEY           NY       12443
MARY SOUERS                                                              1886 PALISADES TERRACE DR                                                               LAKE OSWEGO      OR       97034-4626
Mary Sowder                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070


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Mary Sowder                           c/o Drummond Law, PLLC           Attn: Donald A Lepp                        1500 South Utica      Ste. 400         Tulsa           OK      74104
Mary Sowder                           c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                      747 3rd Ave                            New York        NY      10017
Mary Sowder                                                            745 E 2nd St                                                                      Hallett         OK      74034
MARY SPEER SHEA                                                        5606 TREVINO WAY                                                                  BANNING         CA      92220
MARY STOCKWELL                                                         133 S FENWAY AVE                                                                  BARTLESVILLE    OK      74006

MARY STROUBE ADAMS GST EXEMPT TRUST                                    PO BOX 820                                                                        HENDERSON       TX      75653
MARY SUE MILLER                                                        41 CHASE AVE                                                                      SANTA BARBARA   CA      93108
MARY SULLIVAN                                                          2135 E 60TH PL UNIT 6                                                             TULSA           OK      74105
MARY SWANK                                                             PO BOX 704                                                                        STILLWATER      OK      74076
MARY TAHA                                                              1390 DEL RIO RD                                                                   ROSEBURG        OR      97471-9527
MARY TANKERSLEY                                                        PO BOX 7507                                                                       MIDLAND         TX      79708-7507
MARY TAYLOR                                                            2945 NW 160TH ST                                                                  EDMOND          OK      73013
MARY THOMPSON                                                          16504 N PENNSYLVANIA                                                              EDMOND          OK      73012
MARY TIPTON-CRONQUIST                                                  103 W 7TH AVE                                                                     STILLWATER      OK      74074
MARY ULRICH                                                            5469 S ACACIA CREEK DR                                                            GREEN VALLEY    AZ      85622-8098
MARY VAN DYKE CHAPMAN                                                  42793 SHORT RD                                                                    HUMPHREYS       MO      64646
MARY VICKERS                                                           PO BOX 504                                                                        APEX            NC      27502
MARY VIRGINIA WALLACE                                                  1321 PARK BAYOU DR APT C 302                                                      HOUSTON         TX      77077
MARY W HINKLE                                                          3300 S 8TH AVE SP#28                                                              YUMA            AZ      85365
MARY WALKER                                                            7201 S JARDOT                                                                     STILLWATER      OK      74074
MARY WANNAMAKER                                                        7901 TULIP CIR                                                                    RALEIGH         NC      27606
MARY WATKINS                                                           420 COLORADO AVE APT 10                                                           WHITEFISH       MT      59937-3418
MARY WATKINS A MPDISSP                                                 870227 S 3433 RD                                                                  CHANDLER        OK      74834-7091
MARY WELSH                                                             PO BOX 20627                                                                      OKLAHOMA CITY   OK      73156
MARY WHEELER                                                           1125 S TAMARACK AVE                                                               BROKEN ARROW    OK      74012-4640
MARY WHITE                                                             9807 EMNORA LN                                                                    HOUSTON         TX      77080
Mary Wiley                            c/o Allen Stewart, PC            Attn: Allen M Stewart                      325 N Saint Paul St   Ste. 4000        Dallas          TX      75070
Mary Wiley                            c/o Drummond Law, PLLC           Attn: Donald A Lepp                        1500 South Utica      Ste. 400         Tulsa           OK      74104
Mary Wiley                            c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                      747 3rd Ave                            New York        NY      10017
MARY WILEY                                                             4107 SAUNDRALANE DR NW                                                            HUNTSVILLE      AL      35805-2536
MARY WILEY                                                             PO BOX 493                                                                        SAPULPA         OK      74067
MARY WILEY                                                             PO BOX 493                                                                        SUPULPA         OK      74067
Mary Wiley                                                             1502 E. Willham Dr                                                                Stillwater      OK      74075
MARY WILLIAMS                                                          9000 S VASSAR RD                                                                  COYLE           OK      73027
MARY WILLIAMSON DECD                                                   611 MESILLA ST NE                                                                 ALBUQUERQUE     NM      87108
MARY WILSON                                                            144 STN HAUTE-VILLE                                                               QUEBEC          QC      G1R 4P3      CANADA
MARY WINTERS                                                           4005 S HENDERSON ST                                                               STILLWATER      OK      74074-7209
MARY WOOD FOSTER 2001 TRUST                                            PO BOX 23265                                                                      OKLAHOMA CITY   OK      73132
MARY YENICK                                                            8141 GRANITE AVE                                                                  ORANGEVALE      CA      95662
MARYANN KAVANAGH                                                       20601 WILLOW POINT RD                                                             CORNELIUS       NC      28031
MARYL D BERRY                                                          8011 W 89TH ST                                                                    OVERLAND PARK   KS      66212
MARYLYN JOY                                                            11249 COUNTY ROAD 3102                                                            WYNONA          TX      75792
MASON B VOLLMER                                                        3237 SILBURY HILL                                                                 DOWNINGTON      PA      19335
MASONIC CHARITY FOUNDATION OF                                          PO BOX 2406                                                                       EDMOND          OK      73083
Mass, Aaron                           c/o White Star Petroleum, LLC    4615 W. Lakeview Rd                                                               Stillwater      OK      74074
Mass, Jonathan                        c/o White Star Petroleum, LLC    4615 W. Lakeview Rd                                                               Stillwater      OK      74074
MASSCO                                                                 1837 S MERIDIAN AVE                                                               WICHITA         KS      67213-1923
MASSET LLC                                                             1674 JUDSON DR                                                                    LONGMONT        CO      80501
MATAGORDA B1 LP                                                        2441 HIGH TIMBERS DRIVE SUITE 300                                                 WOODLANDS       TX      77380
MATCHES                                                                2005 N MISTLETOE LN                                                               EDMOND          OK      73034
MATCOR INC                                                             101 LIBERTY LANE                                                                  CHALFONT        PA      18914

MATEEL E HUNDLEY                                                       1135 N. LAKEWIND STREET, UNIT 1135                                                WICHITA         KS      67212
MATEO PARTNERS LLC                                                     1 BOTTOMLEY CRESCENT                                                              NEW ALBANY      OH      43054
MATHENA INC                                                            3900 HWY 81 SERVICE RD                                                            EL RENO         OK      73036
MATHENA INC                                                            PO BOX 732152                                                                     DALLAS          TX      75373-2152
MATHESON FARMS - LOGAN COUNTY LLC                                      1430 S. LYNN LANE                                                                 TULSA           OK      74108
MATHESON RANCH - LOGAN COUNTY                                          1430 S LYNN LANE RD                                                               TULSA           OK      74108


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              CreditorName                  CreditorNoticeName                         Address1                            Address2                 Address3            City    State       Zip      Country
MATHEW BURNELL                                                          1501 NE 125TH AVE                                                                      VANCOUVER        WA      98665-8338
MATHEW ERNEST BROWNE                                                    13535 ANDREW WAY                                                                       HOUSTON          TX      77082
MATHILDA GIGER                                                          24 S GLENWOOD                                                                          ALDAN            PA      19018
MATHILDA LYONS                                                          24 S GLENWOOD AVE                                                                      ALDAN            PA      19018
MATHIS FENDER                                                           4926 MISSION AVE, #2410                                                                DALLAS           TX      75206
MATILDA HAGENBUCH                                                       3102 PEBBLEBROOK CT                                                                    GARLAND          TX      75044-6558
MATLOCK HOTSHOT INC                                                     44120 CS 2724                                                                          CEMENT           OK      73017
MATRIX MEDIA SERVICES INC                                               463 E TOWN ST                                                                          COLUMBUS         OH      43215-4706
MATSON ROYALTY COMPANY                                                  427 S BOSTON AVE STE 802                                                               TULSA            OK      74013
MATT DICKEY                                                             6428 E 95TH PL                                                                         TULSA            OK      74137
MATT DORNAN                                                             PO BOX 504                                                                             CARNEY           OK      74832
MATT DUPERRIOR                                                          4120 E 30 ST.                                                                          EDMOND           OK      73013
MATT FADE                                                               14400 SE 44TH                                                                          CHOCTAW          OK      73020-6014
MATT FRYE                                                               14406 ROCKSPRINGS RDG                                                                  CYPRESS          TX      77429-6093
MATT MACARTHUR                                                          217 MEADOWCREEK RD                                                                     COPPELL          TX      75019-4022
MATT MCCOLLOM                                                           1023 W. MCELROY ROAD                                                                   STILLWATER       OK      74075
                                                                                                                      404 Court Square
Matt Meier                           c/o Barrett Law Group, PA          Attn: Don Barrett                             North                                    Lexington        MS      39095-0927
Matt Meier                           c/o Burns Charest LLP              Attn: Warren T Burns                          900 Jackson St       Ste. 500            Dallas           TX      75202

Matt Meier                           c/o Mitchell Declerck              Attn: Larry D Lahman                          202 West Broadway                         Enid            OK      73701
                                                                                                                      One Leadership       211 N Robinson, Ste.
Matt Meier                           c/o Wilguess & Garrett, PLLC       Attn: Douglas D Wilguess                      Square               1350                 Oklahoma City   OK      73102
Matt Meier                                                              PO Box 417                                                                              Garber          OK      73738
MATT MUEGGENBORG                                                        2108 N TWIN MOUNDS                                                                      YALE            OK      74085-6456
MATT POWE                                                               624 HUMBER BRIDGE CR                                                                    EDMOND          OK      73034
MATT SEWARD                                                             207 CIMARRON RD.                                                                        CRESCENT        OK      73028
MATT SHIPPY                                                             5920 KUNA RD                                                                            KUNA            ID      83634
MATTER FAMILY TRUST                                                     3711 GLENSIDE CT                                                                        SACHSE          TX      75048-2220
MATTHAN BEARD                                                           8212 NW 159TH ST                                                                        EDMOND          OK      73013-5804
MATTHEW A BEIER                                                         966 SHELLY COURT                                                                        RIPON           CA      95366
                                                                                                                      9211 Lake Hefner
Matthew A. Merits                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Matthew A. Merits                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Matthew A. Merits                                                       17013 Bedford Dr                                                                       Edmond           OK      73012
MATTHEW ALLEN                                                           221 BAY COLONY DR                                                                      NAPERVILLE       IL      60565
MATTHEW ANSON                                                           20300 LARIAT                                                                           PERRY            OK      73077
MATTHEW ATHEY                                                           2716 AMESBURY LAKE DR                                                                  EDMOND           OK      73013-6540
                                                                                                                      9211 Lake Hefner
Matthew B. Caldwell                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Matthew B. Caldwell                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Matthew B. Caldwell                                                     1403 Lessley Ln                                                                        Sallisaw         OK      74955
MATTHEW BENDER & COMPANY INC                                            PO BOX 7427-0178                                                                       PHILADELPHIA     PA      19170-0001
MATTHEW BERKHOLTZ                                                       5701 N SHARTEL AVE                                                                     OKLAHOMA CITY    OK      73118-5924
MATTHEW BERRY                                                           PO BOX 25372                                                                           HOUSTON          TX      77265-5372
MATTHEW BLAINE & JUDY LORAINE                                           21709 E LUCIEN RD                                                                      MARSHALL         OK      73056
MATTHEW CARLSON                                                         5605 WALSH ST                                                                          ST LOUIS         MO      63109
MATTHEW CHARLES                                                         2914 S COUNTRY CLUB RD                                                                 STILLWATER       OK      74074-1356
MATTHEW COLE NELSON                                                     8411 SWANANOAH RD                                                                      DALLAS           TX      75209-2837
MATTHEW CROSTHWAIT                                                      1014 S PRAIRIE RD                                                                      STILLWATER       OK      74074
MATTHEW DROBOT                                                          1114 MCGEE DR APT A                                                                    NORMAN           OK      73069-4118
MATTHEW ECKENWILER                                                      PO BOX 3627                                                                            TULSA            OK      74101-3627
MATTHEW ENGLISH                                                         415193 E 1083 RD                                                                       CHECOTAH         OK      74426
MATTHEW GABRIELE & WINNIE GABRIELE                                      3450 BLUE GRASS CT                                                                     MORGAN HILL      CA      95037
MATTHEW H RUND FAMILY TRUST                                             2332 BIRDWOOD DR                                                                       ORANGE PARK      FL      32073-5324
MATTHEW HALL                                                            18414 104TH AVE NE APT 335                                                             BOTHELL          WA      98011-3486
MATTHEW HANSEN                                                          4221 WINDCHIME DR                                                                      OKLAHOMA CITY    OK      73120-8124


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MATTHEW    HARGIS                                                             621 SW 54TH ST                                                                          OKLAHOMA CITY   OK      73109-8011
MATTHEW    HARTING                                                            6915 N 128TH E CT                                                                       OWASSO          OK      74055
MATTHEW    HATAMI                                                             1429 NW 24TH ST APT 219                                                                 OKLAHOMA CITY   OK      73106-3630
MATTHEW    HEIM                                                               20907 E FOX                                                                             COVINGTON       OK      73730
MATTHEW    HINRICHS                                                           7700 SUNWOOD DR NW APT 251                                                              RAMSEY          MN      55303
MATTHEW    INGHAM                                                             PO BOX 523                                                                              MOUNDS          OK      74047
MATTHEW    J DVORAK REV TRUST                                                 10305 CATALINA STREET                                                                   OVERLAND PARK   KS      66207
MATTHEW    K RYAN TRUST                                                       1000 WEST PINE AVE                                                                      LOMPAC          CA      93436-3934
MATTHEW    L & RENEE G PRIDE REV                                              PO BOX 701950                                                                           TULSA           OK      74170-1950
MATTHEW    L DOCK                                                             1712 N YOUNG ST                                                                         STILLWATER      OK      74075
                                                                                                                            9211 Lake Hefner
Matthew L Piatt                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                           c/o Laminack, Pirtle & Martines,
Matthew L Piatt                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Matthew L Piatt                                                               307 S Noble                                                                             Cushing         OK      74023
MATTHEW LOVELL                                                                3024 N BETHEL RD                                                                        GLENCOE         OK      74032-3031
Matthew Macias                             c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Matthew Macias                             c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Matthew Macias                             c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Matthew Macias                                                                366920 East 5500 Rd                                                                     Terlton         OK      74081
MATTHEW MATHESON                                                              4707 E KARA DR                                                                          STILLWATER      OK      74074-6199

MATTHEW    MATHESON AND WENDY S MATHES                                        4707 E KARA DR                                                                          STILLWATER      OK      74074-6199
MATTHEW    MCKEOWN                                                            212 LAKEFRONT DR                                                                        LAGO VISTA      TX      78645-8504
MATTHEW    MYRICK                                                             102 E NOLA DR                                                                           CLEVER          MO      65631-6669
MATTHEW    P OAKES AND ANGEL D OAKES                                          1210 KATY COURT                                                                         STILLWATER      OK      74075
MATTHEW    PATRICK CASSIDAY                                                   10883 NORTH POINTE DR                                                                   EDMOND          OK      43025
MATTHEW    PETTYJOHN                   c/o White Star Petroleum, LLC          4615 W. Lakeview Rd                                                                     Stillwater      OK      74074
MATTHEW    PFEIFFER                                                           2134 S 106TH E AVE                                                                      TULSA           OK      74129
MATTHEW    PISENTI                                                            7511 MEMORY LANE                                                                        ROANOKE         OK      24019
MATTHEW    PRATER                                                             10017 E YOST RD                                                                         GLENCOE         OK      74032
MATTHEW    RUND                                                               5121 GAILLARDIA CORPORATE PL                                                            OKLAHOMA CITY   OK      73142

MATTHEW    S BALES & SHAWNA N BALES JT                                        9718 HAKEN DR                                                                           GLENCOE         OK      74032
MATTHEW    SOOTER                                                             5437 PINE SPRINGS CT                                                                    CONROE          TX      77304
MATTHEW    TIMOTHY COOPER                                                     301 NORTH WALDRON                                                                       HUTCHINSON      KS      67501
MATTHEW    WARD BALKMAN                                                       425 LAKE STREET S                                                                       KIRKLAND        WA      98033
MATTHEW    WEST                                                               1205 W BROADWAY                                                                         SULPHUR         OK      73086
MATTHEW    WOOD                                                               19101 COUNTY RD 1548                                                                    ADA             OK      74820
                                                                                                                            9211 Lake Hefner
Matthew Miller                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                           c/o Laminack, Pirtle & Martines,
Matthew Miller                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Matthew Miller                                                                10266 North Sagitarius Dr                                                               Guthrie         OK      73034
MATTIE GRINDSTAFF                                                             1015 N AMANDA LN                                                                        STILLWATER      OK      74075
                                                                                                                            9211 Lake Hefner
Mattie Karen Stone                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                           c/o Laminack, Pirtle & Martines,
Mattie Karen Stone                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Mattie Karen Stone                                                            3405 Santa Fe Dr                                                                        Choctaw         OK      73020
MATTISON LAW GROUP PC                                                         PO BOX 14691                                                                            OKLAHOMA CITY   OK      73113
MAUDE GAMBLE                                                                  1281 BORDEN RD                                                                          ESCONDIDO       CA      92026-2309
                                                                                                                            9211 Lake Hefner
Maudie Mae Emerson                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                           c/o Laminack, Pirtle & Martines,
Maudie Mae Emerson                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Maudie Mae Emerson                                                            3401 S. Shields Blvd                                                                    Oklahoma City   OK      73129
MAUREEN MCCOY                                                                 4667 E 55TH PL                                                                          TULSA           OK      74135-4305
MAUREEN MCCRARY                                                               4507 HOLLAND AVE APT 103                                                                DALLAS          TX      75219


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MAUREEN TIRAS                                                            5443 LOCH LOMOND DR                                                                    HOUSTON         TX      77096-2305
MAUREEN WHEELER REVOCABLE TRUST                                          910 E 11TH ST                                                                          CUSHING         OK      74023-5112
MAURICE ADAMS FOGG ESTATE                                                PO BOX 140597                                                                          BROKEN ARROW    OK      74014
MAURICE CREIGHTON DECD                                                   5730 E 27TH                                                                            TULSA           OK      74114
MAURICE DAY                                                              28101 COUNTY ROAD 80                                                                   PERRY           OK      73077
MAURICE DAY                                                              28101 CR 80                                                                            PERRY           OK      73077
                                                                                                                       9211 Lake Hefner
Maurice E. Fowler                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Maurice E. Fowler                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Maurice E. Fowler                                                        848 E 6th                                                                              Cushing         OK      74023

MAURICE EDISON                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
MAURICE FOGG DECD                                                        PO BOX 842                                                                             ROCKWALL        TX      75087
MAURICE HART                                                             32507 AGUA DULCE CANYON ROAD                                                           SANTA CLARITA   CA      91390-5036
MAURICE M LANGSTON JR TRUST                                              PO BOX 21783                                                                           OKLAHOMA CITY   OK      73156
MAURICE W & JOY E SCHWEER TRUST                                          21804 E WHEAT CAPITAL RD                                                               COVINGTON       OK      73730
MAURICE W HOAG                                                           825 E OCEAN AVE 30B                                                                    LOMPOC          CA      93436
                                                                                                                       9211 Lake Hefner
Maurice Seay Jr.                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Maurice Seay Jr.                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Maurice Seay Jr.                                                         1205 NE 36th St                                                                        Oklahoma City   OK      73111
MAURINE SNYDER                                                           7308 EAST PKWY                                                                         SACRAMENTO      CA      95823-3134
MAURINE TAUBMAN                                                          PO Box 1588                                                                            TULSA           OK      74101-1588
MAURINE TAUBMAN REV TRUST                                                PO BOX 1588                                                                            TULSA           OK      74101-1588
MAURISSA NOW MAURISSA BUCHWALD                                           6015 SW TINNEY RD                                                                      LAWTON          OK      73505
MAURITA G AMMONS                                                         PO BOX 1622                                                                            ABELINE         TX      79604
MAVERICK BROTHERS RESOURCES INC                                          PO BOX 392                                                                             Enid            OK      73702
MAVERICK DRILL BIT SERVICES                                              PO BOX 565                                                                             BARTLESVILLE    OK      74005
MAVERICK ENERGY SERVICES LLC                                             PO BOX 2                                                                               HOLDENVILLE     OK      74848-0002

MAVERICK ENVIRONMENTAL SOLUTIONS LL                                      PO BOX 2                                                                               HOLDENVILLE     OK      74848
MAVERICK OILFIELD SERVICES                                               PO BOX 8812                                                                            TYLER           TX      75711-8812
MAVERICK PUMPING SERVICES LLC                                            PO BOX 2                                                                               HOLDENVILLE     OK      74848
MAVERICK RENTAL TOOLS LLC                                                PO BOX 5754                                                                            EDMOND          OK      73083-5754
MAVIS EDWARDS                                                            3710 CAYUGA APT D                                                                      MIAMI           OK      74354
MAX & SHERRY ADAMS LVG TR                                                1724 N WILDWOOD DR                                                                     STILLWATER      OK      74075
MAX A & M LEANN TOWLE TRUST                                              3925 N HORSESHOE DR                                                                    GUTHRIE         OK      73044
MAX AND JANNA KEIM                                                       2210 W 26TH AVE                                                                        STILLWATER      OK      74074-6819
MAX ARN                                                                  1011 BRIOSO DR STE201                                                                  COSTA MESA      CA      92627-4543
MAX BIRCKET                                                              16 SUGAR CREEK PLACE                                                                   WOODWAY         TX      76712-3408
MAX BURROW LIFE ESTATE                                                   339880 EAST 800 ROAD                                                                   TRYON           OK      74875
MAX CHUDY                                                                50 SOUTH MEADOW DR.                                                                    ORCHARD PARK    NY      14127
MAX CLINGENPEEL                                                          1335 S 235TH E AVE                                                                     TULSA           OK      74108
MAX CLINGENPEEL                                                          18521 E 3RD ST                                                                         TULSA           OK      74108
MAX DARKS                                                                313 SW 103RD                                                                           OKLAHOMA CITY   OK      73130
MAX E GREENE                                                             403351 W 2050 DRIVE                                                                    BARTLESVILLE    TX      74006
MAX HAKEN                                                                9815 N BETHEL RD                                                                       GLENCOE         OK      74032
MAX HORTON                                                               3511 N RAMSEY ST                                                                       STILLWATER      OK      74075
MAX HUDSPETH                                                             5508 INDIAN COVE RD                                                                    INDIANAPOLIS    IN      46268
MAX KATZ REV INT TR                                                      310 BROCKTON RD                                                                        WILMINGTON      DE      19803-2412
MAX KIRBY & GRETA KIRBY                                                  19818 PARKWATER CIRCLE                                                                 KATY            TX      77450-7409
MAX MAYFIELD                                                             2820 NW AMITY LN                                                                       PORTLAND        OR      97229-3466
MAX MITCHELL                                                             717 PUTTER DR                                                                          FORT WORTH      TX      76112
MAX PEPMILLER                                                            108 EATON DR                                                                           PERKINS         OK      74059-3425
MAX PHELPS                                                               23 DELWOOD AVE                                                                         CLINTON         CT      06413-1433
MAX ROBERSON LLC                                                         4124 BENTBROOK PL                                                                      NORMAN          OK      73072
MAX SHAFER                                                               PO BOX 72                                                                              MULHALL         OK      73063


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MAX STANSBURY                                                         315 JUNIPERO AVE                                                       PACIFIC GROVE     CA       93950
MAX TARLTON                                                           3104 BURBANK LN                                                        THE VILLAGES      FL       32162
MAX THOMSEN                                                           PO BOX 347                                                             GRACEMONT         OK       73042
MAX WARREN                                                            1524 W RIDGECREST DR                                                   GUTHRIE           OK       73044
MAX WOFFORD                                                           2006 DUFOUR AVE B                                                      REDONDO BEACH     CA       90278
MAXIMUS DENNEY                                                        10293 COCONUT ROAD                                                     BONITA SPRINGS    FL       34135
MAXINE & WILBUR HOLLEMAN REV TRUST                                    PO BOX 3480                                                            OMAHA             NE       68103-0480
MAXINE BILLINGS                                                       507 MASON ST                                                           SUTHERLAND        IA       51058
MAXINE CONNERS                                                        217 S POPLAR                                                           SAPULPA           OK       74066-9386
MAXINE DANIEL                                                         5 HARDING DR                                                           PITTSGROVE        NJ       08318-5627
MAXINE DIXON                                                          55 FARMINGTON ROAD                                                     NASHUA            NH       03060
MAXINE DOWELL                                                         9141 RANCH RIVER CIR                                                   HIGHLANDS RANCH   CO       80126-5078
MAXINE E HAZEN REV TRUST DTD 3-25-8                                   993 BROADWAY AVE W                                                     HIGHWOOD          MT       59450-8730
MAXINE HANKS                                                          5102 S LOREDELL DRIVE                                                  HOLLADAY          UT       84117
MAXINE HAZEN                                                          990 BROADWAY AVE W                                                     HIGHWOOD          MT       59450
MAXINE HUDSPETH                                                       82 THISE CT                                                            LAFAYETTE         IN       47905
MAXINE JARVIS DOUGHERTY REV TR                                        1023 KIOWA DRIVE EAST                                                  LAKE KIOWA        TX       76240
MAXINE JARVIS DOUGHERTY TRUST                                         1621 S EUCALYPTUS AVE                                                  BROKEN ARROW      OK       74012
MAXINE LACOUR ALLEMAN                                                 213 BELLEVUE ST                                                        LAFAYETTE         LA       70501
MAXINE M BREUIL MARITAL DEDUCTION T                                   10401 VINEYARD BLVD APT 156                                            OKLAHOMA CITY     OK       73120
MAXINE M RUSSELL TR 72705                                             PO Box 1085                                                            STILLWATER        OK       74076
MAXINE MARTIN                                                         2528 CRESTWOOD DR                                                      BURLESON          TX       76028-6388
MAXINE MCGEE                                                          6466 HANSON ST                                                         GROVES            TX       77619
MAXINE MITCHELL                                                       9610 E GLENCOE PL                                                      GLENCOE           OK       74032
MAXINE MYERS                                                          808 W LONDON ST                                                        EL RENO           OK       73036
MAXINE P KASTL REV TRUST                                              1910 E KIRK STREET                                                     PERKINS           OK       74059
MAXINE RUSSELL                                                        205 S STALLARD                                                         STILLWATER        OK       74074
MAXINE STELOVICH                                                      2302 N HIGH POINT CIR                                                  WICHITA           KS       67205
MAXINE STORY                                                          PO BOX 1897                                                            CHICKASHA         OK       73023
MAXINE VOIGHT                                                         548 S SANDERS ST                                                       RIDGECREST        CA       93555-5016
MAXINE WALKER                                                         302 N TEXAS BOULEVARD                                                  ALICE             TX       78332
MAXWELL PRESTON MILLER                                                6308 S 57TH STREET                                                     ROGERS            AR       72758
MAXWELL RESOURCES CORPORATION                                         4334 NW EXPRESSWAY STE 201                                             OKLAHOMA CITY     OK       73116
MAXWELL STANLEY KAUFMAN                                               13113 COBBLESTONE PKWY                                                 OKLAHOMA CITY     OK       73142
MAY BOLHMAN                                                           17305 N SHEPARD AVE                                                    OKARCHE           OK       73762
MAY WELDING & CONSTRUCTION LLC                                        11714 W. Lake Hellums Road                                             Carrier           OK       73727
May, Michael                          c/o White Star Petroleum, LLC   301 NW 63rd St                         Ste 600                         Oklahoma City     OK       73116
May, Michael                          c/o White Star Petroleum, LLC   301 NW 63rd St                         Ste 600                         Oklahoma City     OK       73116
MAYA CONSTANTINE                                                      1946 WELLINGTON LN #70                                                 VISTA             CA       92081
MAYCO RESOURCES LLC                                                   PO BOX 1309                                                            SAND SPRINGS      OK       74063-1309
MAYE BAZZELL                                                          1923 W 10TH ST                                                         STILLWATER        OK       74074
Mayes, Jenna                          c/o White Star Petroleum, LLC   301 NW 63rd St                         Ste 600                         Oklahoma City     OK       73116
MAYFAIR LOCK AND KEY                                                  2628 W I 44 SERVICE RD                                                 OKLAHOMA CITY     OK       73112-3720
MAYFLOWER TRANSIT LLC                                                 22262 NETWORK PL                                                       CHICAGO           IL       60673
MAYHEM OIL AND GAS INC.                                               PO BOX 21843                                                           OKLAHOMA CITY     OK       73156
MAYME KELLY                                                           9116 S CRANDON                                                         CHICAGO           IL       60617

MAYNARD HUMAN AND WILMA HUMAN REVOC                                   2500 THOMAS DRIVE                                                      EDMOND            OK       73003
MAYO CLINIC                                                           200 FIRST STREET SW                                                    ROCHESTER         MN       55905
MAYS LIVING TRUST                                                     3411 ROBINS NEST ARCH                                                  VIRGINIA BEACH    VA       23456
MAYTE ALEMAN-CARTER                                                   1005 W 68TH ST                                                         STILLWATER        OK       74074-5903
MAZUREK ALFORD & HOLLIDAY PC                                          PO BOX 17037                                                           SAN ANTONIO       TX       78217
MB WHITE INC                                                          PO BOX 54707                                                           OKLAHOMA CITY     OK       73154-1707
MBI OIL & GAS LLC                                                     103 5TH STREET SE                                                      DICKINSON         ND       58601
MC MCMILLEN BUTLER TRT AGRMT 6-30-9                                   1579 KINGSRIDGE DRIVE                                                  OKLAHOMA CITY     OK       73170

MCAFEE & TAFT A PROFESSIONAL COROPR                                   211 N ROBINSON AVE                                                     OKLAHOMA CITY     OK       73102-7103
MCALISTER ROYALTIES LLC                                               PO BOX 1488                                                            MIDLAND           TX       79702-1488
McArdle, Caitlin                      c/o White Star Petroleum, LLC   301 NW 63rd St                         Ste 600                         Oklahoma City     OK       73116


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MCBILLCO LLC                                                          9342 E CENTRAL                                                        WICHITA           KS      67206
MCBRIDE CLINIC OCCUPATIONAL HEALTH                                    1110 N LEE AVE                                                        OKLAHOMA CITY     OK      73103-2612
MCBROTHER LLC                                                         3629 S TRENTON                                                        TULSA             OK      74105
McCabe, Jesse                         c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                         Oklahoma City     OK      73116
MCCAMEY OIL & GAS LLC                                                 6229 S MONROE DR                                                      CENTENNIAL        CO      80121
MCCANN ENERGY                                                         780 E BRITTON RD                                                      OKLAHOMA CITY     OK      73114
McCaslin, Amber                       c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                         Oklahoma City     OK      73116
MCCAUGHEY OIL CORP                                                    PO BOX 11566                                                          BIRMINGHAM        AL      35202
McClain, Josh                         c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                         Oklahoma City     OK      73116
MCCLELLAND LVG TR                                                     7926 SENDERO RIDGE                                                    FAIR OAKS RANCH   TX      78015
MCCLINTOCK FAMILY TRUST                                               3115 TIMBERLAKE DR                                                    STILLWATER        OK      74075
MCCLURE CREEK ACQUISITIONS LLC                                        5600 N MAY AVE STE 320                                                OKLAHOMA CITY     OK      73112
MCCLURE ENGINEERING INC                                               129 NW 132ND ST                                                       OKLAHOMA CITY     OK      73114-2307
McCollom, Joshua                      c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                   Stillwater        OK      74074
MCCONNELL ROYALTY LLC                                                 1406 TERRACE DR                                                       TULSA             OK      74104-4626
MCCOTTER PUBLIC STRATEGIES LLC                                        10775 LONGFELLOW TRCE                                                 SHREVEPORT        LA      71106-9340
MCCUBBINS FAMILY TRUST                                                151 GARDENIA WAY                                                      FRANKLIN          TN      37064
MCCULLY CHAPMAN EXPLORATION IN                                        PO BOX 421                                                            SEALY             TX      77474-0421
MCDANIEL & ASSOCIATES LLC                                             7203 NW DOGWOOD LANE                                                  LAWTON            OK      73505
MCDANIEL ROYALTY TRUST                                                16239 W TAMARACK LN                                                   SURPRISE          AZ      85374-4923
MCDONALD ACQUISITION LLC                                              PO BOX 1564                                                           CUSHING           OK      74023-1564
MCDONALD ENERGY INC                                                   6523 EDGEWOOD COURT                                                   GRANBURY          TX      76049
MCDONALD LAND SERVICES LLC                                            PO BOX 590                                                            WASHINGTON        OK      73093-0590
McElroy, William                      c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                   Stillwater        OK      74074
MCEVOY 2007 TRUST                                                     61 N BAY BLVD                                                         THE WOODLANDS     TX      77380
MCG EQUIPMENT LLC                                                     PO BOX 2030                                                           WEATHERFORD       OK      73096
MCGAUGH FAMILY TRUST WA73601                                          PO BOX 1600                                                           SAN ANTONIO       TX      78296
McGee, Dustin                         c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                   Stillwater        OK      74074
MCGOVERN MINERAL RIGHTS                                               788 HIGHWAY 40                                                        LAWRENCE          KS      66049-4174
MCGRIFF SEIBELS & WILLIAMS OF TEXAS                                   DRAWER # 456                                                          BIRMINGHAM        AL      35246-0001
MCGUIRE CEMETERY                                                      305 45TH ST                                                           LUCIEN            OK      73757
MCGUIRE REVOCABLE LIVING TR DTD 12-                                   6648 JOHN WAYNE                                                       PERRY             OK      73077
MCHENDRY LVNG TRST                                                    6404 S PRAIRIE RD                                                     STILLWATER        OK      74074-6102
MCINTIRE CARTAGE                                                      45391 GREENHILL RD                                                    CLARINGTON        OH      43915-9755
MCJUNKIN RED MAN CORP                                                 4732 DARIEN                                                           HOUSTON           TX      77028
MCJUNKIN REDMAN CORPORATION                                           PO BOX 204392                                                         DALLAS            TX      75320-4392
MCKEE FAMILY REVOCABLE TRUST                                          10396 S 94TH E AVE                                                    TULSA             OK      74133
MCKIESHA CLAYPOLE                                                     1001 Indian Dr.                                                       Enid              OK      73703
MCLEMORE TRUST 2007                                                   7121 S RIPLEY RD                                                      RIPLEY            OK      74062-6228
McManus, Samuel                       c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                         Oklahoma City     OK      73116
MCMILLAN FAMILY TRUST DTD 5-7-2008                                    24442 PEPPERRELL PL                                                   KATY              TX      77493
MCMINN FAMILY TRUST                                                   1502 FREDERICK ST                                                     STUTTGART         AR      72160-6992
MCMUR OIL & GAS LLC                                                   1643 NW 164TH CIRCLE                                                  EDMOND            OK      73013
MCNEESE STILLS + MOTION                                               300 NW 62ND ST                                                        OKLAHOMA CITY     OK      73118-7417
MCNEIL LIVING TRUST                                                   PO BOX 2765                                                           SILVERTHORNE      CO      80498
MCNEILL RESOURCES LLC                                                 7116 WINEDALE                                                         DALLAS            TX      75231
MCPARTLAND LVG TRUST                                                  4119 E SANDIA ST                                                      PHOENIX           AZ      85044
MCPHERSON COLLEGE                                                     PO BOX 1402                                                           MCPHERSON         KS      67460-1402
MCTEC PRODUCTION LLC                                                  9342 E CENTRAL AVE STE E                                              WICHITA           KS      67206-2575
MD FAMILY VENTURES                                                    7023 N CLASSEN BLVD                                                   OKLAHOMA CITY     OK      73116
MDP LLC                                                               25528 GENESEE TRAIL RD                                                GOLDEN            TX      80401-9366
MEADE ENERGY CORPORATION                                              5605 N CLASSEN BLVD                                                   OKLAHOMA CITY     OK      73118-4015
MEADE OIL & GAS LLC                                                   5605 N CLASSEN BLVD                                                   OKLAHOMA CITY     OK      73118-4015
Meade, Jeffrey                        c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                         Oklahoma City     OK      73116
MEADORS FAMILY LAND                                                   PO BOX 302                                                            WETUMKA           OK      74833
MEADORS PROPERTIES LLC                                                PO BOX 6157                                                           LAWTON            OK      73506
MEADORS-CRILLEY FAMILY                                                PO BOX 302                                                            WETUMKA           OK      74883
MEADOWOOD ASSOCIATES                                                  1000 SILVERADO TRAIL                                                  ST HELENA         CA      94574
MEAGAN OUTHIER                                                        157 STONEBRIDGE BLVD #2725                                            EDMOND            OK      73013


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MEAGAN VARGAS                                                            1803 LOMA LINDA ST                                                                     VERNON           TX      76384
MEAGHER ENERGY COMPANY LLC                                               PO BOX 4782                                                                            ENGLEWOOD        CO      80155-4782
MEANS LAND SERVICES LLC                                                  1300 KERRY LAYNE                                                                       EDMOND           OK      73034
MEASON PETROLEUM LLC                                                     427 S BOSTON AVE STE 609                                                               TULSA            OK      74103-4111
MEASUREMENT CONTROL SPECIALISTS                                          1303 SOUTH MAIN                                                                        ELK CITY         OK      73644
MEBANE CONSTRUCTION INC                                                  523 E ROGERS DR                                                                        STILLWATER       OK      74075-1629
MEBERG ENTERPRISES LLC                                                   707 S SERENITY LN                                                                      STILLWATER       OK      74074-6484
MECCA ACTON                                                              3721 N MCKINLEY AVE                                                                    OKLAHOMA CITY    OK      73118
MEDEXPRESS URGENT CARE PC                                                PO BOX 7959                                                                            BELFAST          ME      04915-7900
MEDINA EXPLORATION INC                                                   PO BOX 722348                                                                          NORMAN           OK      73070
MEDITATIONS BANQUET                                                      1205 N COUNTRY CLUB RD.                                                                STILLWATER       OK      74075
MEDITATIONS INC                                                          1205 N COUNTRY CLUB RD.                                                                STILLWATER       OK      74075
MEDLEY MATERIAL HANDLING CO                                              4201 WILL ROGERS PARKWAY                                                               OKLAHOMA CITY    OK      73108
Meece, Jana                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
MEFFORD FAMILY TRUST dated 5/1/2015                                      3287 MINGLEWOOD TRAIL                                                                  SUMMERFIELD      NC      27358-9322
MEG NEWVILLE                                                             4500 FARM HILL RD                                                                      NORMAN           OK      73072-3906
MEGAN & ETHAN SIMPSON JTS                                                8719 W 9TH ST                                                                          CUSHING          OK      74023
MEGAN ANDREW LUCKEY                                                      105 W GLENCOE ROAD                                                                     STILLWATER       OK      74075
MEGAN BRYAN                                                              3538 INEZ ST                                                                           SAN DIEGO        CA      92106-2942
MEGAN BUCKLES                                                            44061 THOMAS ST                                                                        HEMET            CA      92544-5363
MEGAN CORREA                                                             14510 HARMONIOUS STREET                                                                CHARLOTTE        NC      28278-4000
MEGAN GOETZ                                                              RURAL ROUTE 1                                                                          BLUFFTON         AB      T0C 0M0      CANADA
MEGAN KATCHER                                                            1901 HUNTINGTON AVE                                                                    NICHOLS HILLS    OK      73116-5525
MEGAN LUHRS                                                              4007 CROXDALE                                                                          SPRINGDALE       AR      72764
MEGHAN FAIRLIE                                                           121 NE MEADOWLARK AVE                                                                  BARTLESVILLE     OK      74006
                                                                                                                       9211 Lake Hefner
Meghan McGee                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Meghan McGee                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Meghan McGee                                                             2617 Amber St                                                                          Moore            OK      73160
MEGILLAH RESOURCES LP                                                    SHILO, D.N. EFRAIM 44830                                                               ISRAEL                   44830        ISRAEL
MEH INVESTMENTS INC                                                      PO BOX 1321                                                                            LOWELL           AR      72745-1321
MEKUSUKEY OIL COMPANY LLC                                                PO BOX 816                                                                             WEWOKA           OK      74884-0816
MEKUSUKEY OIL CORPORATION                                                PO BOX 816                                                                             WEWOKA           OK      74884-0816

MEL CAMPBELL AND STEPHANIE HYDER FA                                      406 FAIRWAY DR                                                                         PERKINS          OK      74059-4103
MEL GRAY                                                                 PO BOX 701487                                                                          SAN ANTONIO      TX      78270
MEL HAINEY                                                               1434 E BROOKLAKE DR                                                                    HOUSTON          TX      77077-3254
MEL SPARKS DESIGNS INC                                                   PO BOX 1306                                                                            NORMAN           OK      73070-1306
MELANE SCHEDLER                                                          235 NORMANDY AVE                                                                       SAN ANTONIO      TX      78209
MELANIE AVERY                                                            2515 SULLIVAN DR                                                                       AUBURN           CA      95603
MELANIE BONAR                                                            2128 NW OZMUN AVE                                                                      LAWTON           OK      73505
MELANIE BRESHEARS                                                        120 N PAROTTE                                                                          RIPLEY           OK      74062-6409
                                                                                                                       9211 Lake Hefner
Melanie Hough                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Melanie Hough                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Melanie Hough                                                            3110 Maple Dr                                                                          Sand Springs     OK      74063
MELANIE IMEL                                                             8988-L S SHERIDAN #114                                                                 TULSA            OK      74113
MELANIE JONES                                                            2313 STANOLIND                                                                         MIDLAND          TX      79705
MELANIE LYNN ILER                                                        313 SILVERTREE LN                                                                      REDLANDS         CA      92376
MELANIE MCNUTT                                                           142 W HOWCRAFT AVE                                                                     BILLINGS         MO      65610
MELANIE RAINEY                                                           2504 VISTA CLIFF DRIVE                                                                 RICHARDSON       TX      75080
MELANIE STANALAND                                                        3820 PUTNAM HEIGHTS BLVD                                                               OKLAHOMA CITY    OK      73118
MELANIE STAPLETON                                                        5268 YOSEMITE                                                                          SAN BERNADINO    CA      92407
MELANIE WILCOX                                                           4995 MADISON RD                                                                        THREE FORKS      MT      59752
MELANY HILL                                                              5726 CROSSVIEW DR                                                                      FORT COLLINS     CO      80528-5700
MELBA BRAM                                                               PO BOX 5493                                                                            CAREFREE         AZ      85377
MELBA MAE MINSHALL                                                       406 SUNNYLAND ROAD                                                                     DEL CITY         OK      73115


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MELBA MYERS                                                             1122 SUNNYSIDE DR                                                                      CUSHING             OK    74023
MELBA RADER                                                             2020 REUNION RANCH RD 234                                                              FORT WORTH          TX    76134
                                                                                                                      9211 Lake Hefner
Melba Whitt                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK    73120
Melba Whitt                          c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles         CA    90017
Melba Whitt                                                             811 Parkview Dr                                                                        Cushing             OK    74023
MELINDA ADAMS                                                           1800 NW 18TH ST                                                                        OKLAHOMA CITY       OK    73106-1817
MELINDA ANN MUNGER                                                      6002 MADRONE MDW DR                                                                    KATY                TX    77494-0512
MELINDA COOPER                                                          727 W MACARTHUR APT 618                                                                WICHITA             KS    67217
MELINDA COTTINGHAM                                                      5831 E GUNSIGHT RD                                                                     CAVE CREEK          AZ    85331-8527
                                                                                                                      9211 Lake Hefner
Melinda G. Smith                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK    73120
                                     c/o Laminack, Pirtle & Martines,
Melinda G. Smith                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX    77006
Melinda G. Smith                                                        301 E Maple St                                                                         Cushing             OK    74023
MELINDA HARRIS                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK    73116
MELINDA HOBBS                                                           1504 S 12TH ST                                                                         KINGFISHER          OK    73750
MELINDA J LOOMIS                                                        304 MAGNOLIA BLOSSOM LANE                                                              YUKON               AR    73099
MELINDA LONG                                                            10334 LONE LYNX                                                                        LONE TREE           CO    80124-9546
MELINDA MACNAUGHTON                                                     6005 CARMEL VALLEY WAY                                                                 EDMOND              OK    73025
MELINDA MCCARTY                                                         44 MUIRFIELD ST                                                                        ABILENE             TX    79606
MELINDA WALLS                                                           PO BOX 372                                                                             BELGRADE            MT    59714
MELINDA WHITE                                                           PO BOX 433                                                                             CRAIG               CO    81626-0433
MELINDA WIEST                                                           111 NICHOLS ST APT 4                                                                   SEVIERVILLE         TN    73862
MELINDA WILLIAMS                                                        14962 COUNTY ROAD 3599                                                                 ADA                 OK    74820
MELISSA ANN DUFF                                                        111 CHESTNUT BOX 4                                                                     GALESBURG           KS    66740
MELISSA BARKER                                                          PO BOX 151                                                                             MARSING             ID    83639
MELISSA BEASLEY                                                         7822 WEST 17TH STREET                                                                  TULSA               OK    74127
MELISSA CAMPBELL                                                        5619 CLAYBECK LN.                                                                      KATY                TX    77494
MELISSA CARDIFF                                                         2130 LEAVENWORTH ST, #1                                                                SAN FRANCISCO       CA    94133
MELISSA CORPENING                                                       4109 GLENWOOD DRIVE                                                                    FORT WORTH          TX    76109
MELISSA DOBBS                                                           2818 SW 38TH STREET                                                                    OKLAHOMA CITY       OK    73119
MELISSA HANNAN                                                          6918 S WASHINGTON ST                                                                   STILLWATER          OK    74074-8193
MELISSA HARGROVE                                                        10830 MCCLARY RD                                                                       DUMAS               TX    79029
MELISSA HARVEY                                                          3340 BURLINGDELL AVE                                                                   DALLAS              TX    75211
MELISSA HEDRICK                                                         1938 ARSENAL ST                                                                        ST LOUIS            MO    63118
MELISSA HUDSON JONES                                                    7026 E. FARM ROAD 84                                                                   STRAFFORD           MO    65757-8278
MELISSA MANHART                                                         12060 MAGAZINE ST APT 5203                                                             ORLANDO             FL    32828-5521
MELISSA MANNING                                                         4555 S MISSION RD F-478                                                                TUCSON              AZ    85746
MELISSA MARIE LEWIS                                                     903 MIMOSA DR                                                                          GUTHRIE             OK    73044
MELISSA OCONNOR                                                         2100 BABLER RIDGE LN                                                                   WILDWOOD            MO    63038
MELISSA OWENS                                                           4564 LEDGESTONE TRL                                                                    COLLEGE STATION     TX    77845
MELISSA STEAD                                                           956 VERNON AVE                                                                         VENICE              LA    90291
MELISSA WHEAT                                                           PO BOX 534                                                                             PAULS VALLEY        OK    73075
MELISSA WILSON                                                          3611 N IRONWOOD PL                                                                     BROKEN ARROW        OK    74012
MELISSA WUNDERLICH                                                      3726 DOZIER ST                                                                         LOS ANGELES         CA    90063
                                                                                                                      9211 Lake Hefner
Melissa Aguilar                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK    73120
                                     c/o Laminack, Pirtle & Martines,
Melissa Aguilar                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX    77006
Melissa Aguilar                                                         605 SW 35th St                                                                         Oklahoma City       OK    73109
Melkus, Brandon                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK    73116
MELODY JO REED DUFF                                                     PO Box 1566                                                                            GAINESVILLE         TX    76241-1566

MELODY LEGRANT                                                          PO BOX 726                                                                             GREEN MOUNTAIN FALLS CO   80819-0726
MELODY NYE                                                              1721 CASSIA DR                                                                         DALLAS               TX   75232-1401

MELODY SARAH KENDRICK AND MARY SUE                                      341650 E 780 ROAD                                                                      AGRA                OK    74824
MELODYE WHATLEY                                                         574 ASHFORD CENTER RD                                                                  ASHFORD             CT    06278-1721


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MELONIE CALL                                                             473 MAIN ST S                                                                           HANSEN          ID       83334
MELRAY LLC                                                               1714 PALOMINO DR                                                                        ROWLETT         TX       75088
MELTON FAMILY TRUST                                                      PO BOX 1023                                                                             OKLAHOMA CITY   OK       73101
MELTON LIVING TRUST                                                      2125 YALE ST APT 243                                                                    HOUSTON         TX       77008-2599
MELTON LIVING TRUST                                                      101 PARK AVE STE 250                                                                    OKLAHOMA CITY   OK       73102
MELTWATER NEWS US INC                                                    DEPT 3408                                                                               DALLAS          TX       75312-3408
MELVA CHASTAIN                                                           2112 S BONITA AVE                                                                       ONTARIO         CA       91762-6408
MELVA HOSKINS                                                            9251 COUNTY RD 200                                                                      RED ROCK        OK       74651
MELVA MATTHEWS DECEASED                                                  2081 EAST KAREN DRIVE                                                                   MERIDIAN        ID       83646
MELVIN & LELA WEATHERMON TR DTD 6-1                                      412 SOUTH DEKALB                                                                        CORYDON         IA       50060
                                                                                                                       9211 Lake Hefner
Melvin Cramer                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Melvin Cramer                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Melvin Cramer                                                            5803 N. Mt Vernon                                                                       Cushing         OK       74023
MELVIN DUNWORTH                                                          306 VALLARTE DR                                                                         HENDERSON       NV       89014
MELVIN F LANDERS                                                         1112 N 59TH STREET                                                                      NAMPA           ID       83687
MELVIN GRAHAM                                                            10907 S KARSTEN CREEK RD                                                                COYLE           OK       73027-3103

MELVIN GRAY                                                              1601 SOUTH SANDHILL ROAD, UNIT 136                                                      LAS VEGAS       NV       89104
MELVIN HILDEBRAND                                                        320 RIDGECREST CT                                                                       BARTLESVILLE    OK       74006-8030
MELVIN JARRED                                                            4606 KAREN DR                                                                           EDMOND          OK       73013
MELVIN KNORR                                                             1834 MICHELTORENA ST                                                                    LOS ANGELES     CA       90026
MELVIN L & WILMA JEAN MCKEE REV LV                                       10910 S ERIE AVE                                                                        TULSA           OK       74137
MELVIN L STONE & MARY E STONE TTEES                                      1115 W INDUSTRIAL RD                                                                    GUTHRIE         OK       73044
                                                                                                                       9211 Lake Hefner
Melvin L. Andrews                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Melvin L. Andrews                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Melvin L. Andrews                                                        309 NE 61st                                                                             Oklahoma City   OK       73105
MELVIN LANDERS                                                           1112 N 59TH ST                                                                          SUPULPA         OK       83687-8514
MELVIN MORTON                                                            3 YORK CT                                                                               LATHAM          NY       12110-4954
MELVIN POTTER                                                            3849 LITTLE ROCK RD                                                                     EMMETT          ID       83617
MELVIN PRITCHARD                                                         12803 SELDERS ST                                                                        JONES           OK       73049-7325
MELVIN RIGGS                                                             3429 S 114TH EAST AVE                                                                   TULSA           OK       74146-2124
MELVIN SCHEIHING                                                         224 N DOUGLAS BLVD                                                                      GUTHRIE         OK       73044
MELVIN TAYLOR                                                            525 JON                                                                                 GUTHRIE         OK       73044
MELVIN TRIPLETT                                                          PO BOX 124                                                                              GUTHRIE         OK       73044
Melvin Tucker                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX       75070
Melvin Tucker                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK       74104
Melvin Tucker                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY       10017
Melvin Tucker                                                            550 West 4th                                                                            Jennings        OK       74038
MELVIN WATKINS                                                           1400 SW 65TH ST                                                                         OKLAHOMA CITY   OK       73159
MELVIN WILSON                                                            236 E PEBBLE CT                                                                         CASA GRANDE     AZ       85122-6233
                                                                                                                       9211 Lake Hefner
Melvin Lister III                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Melvin Lister III                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Melvin Lister III                                                        2317 NW 118th St                                                                        Oklahoma City   OK       73120
MELVINA KERFOOT                                                          1213 EAST CLEVELAND                                                                     GUTHRIE         OK       73044
MELVYN DOUGLAS                                                           5500 PRESTON RD STE 393                                                                 DALLAS          TX       75205-2676
MENAXI MODI                                                              3601 EAST HWY 180                                                                       MINERAL WELLS   TX       76067
MERANDA ORMSLY                                                           2319 E LOCUST #106                                                                      CALDWELL        ID       83605
MERCANTILE ROYALTY COMPANY LLC                                           PO BOX 12814                                                                            OKLAHOMA CITY   OK       73157
MERCER (US) INC                                                          PO BOX 730212                                                                           DALLAS          TX       75373-0212
MERCER VALVE CO INC                                                      PO BOX 270970                                                                           OKLAHOMA CITY   OK       73137
MERCHANTILE ROYALTY COMPANY                                              PO BOX 12814                                                                            OKLAHOMA CITY   OK       73157-2814
MERCHANTS AUTOMOTIVE GROUP INC                                           PO BOX 414438                                                                           BOSTON          MA       02241-4438
MERCO OF OKLAHOMA INC                                                    PO BOX 18607                                                                            OKLAHOMA CITY   OK       73154


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                                                                                                                          9211 Lake Hefner
Mercury Frisk                         c/o Atkins & Markoff                  Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mercury Frisk                         LLP                                   Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Mercury Frisk                                                               9311 S Mehan Rd                                                                        Perkins          OK      74059

MERCY HEALTH OKLAHOMA COMMUNITIES I                                         4300 W MEMORIAL RD                                                                     OKLAHOMA CITY    OK      73120-8304
MEREDITH ROBINSON                                                           R.R. 1, BOX 78                                                                         CAMARGO          OK      73835
MEREDITH WILLIAMS                                                           2700 INDEPENDENCE                                                                      LUCIEN           OK      73757
MERIDIAN TECHNOLOGY CENTER                                                  1312 S SANGRE RD                                                                       STILLWATER       OK      74074-1841
MERILEE TROST                                                               515 CANYON OAKS DRCONDO C                                                              OAKLAND          CA      94605
MERILYN CUNDIFF                                                             920711 S 3370 RD                                                                       WELLSTON         OK      74881-6122
MERIT ADVISORS LP                                                           PO BOX 330                                                                             GAINESVILLE      TX      76241-0330
MERJO INC.                                                                  PO Box 21883                                                                           OKLAHOMA CITY    OK      73156
MERL G HICKS                                                                RR 2 BOX 98                                                                            GUYMON           OK      73942-9616
MERL MILLER                                                                 2623 S OXFORD DR                                                                       STILLWATER       OK      74074-2276
MERLE CORNFORTH                                                             5151 W HWY 33                                                                          GUTHRIE          OK      73044
MERLE HOLLIS                                                                6825 S EUNICE HWY                                                                      HOBBS            NM      88240-9508
MERLE JACKSON                                                               1722 S KNOXVILLE AVE                                                                   TULSA            OK      74112
MERLE YOUNG                                                                 2001 N 4TH PLACE                                                                       PONCA CITY       OK      74601
MERLEY CROOK                                                                1019 E 111TH ST                                                                        SHAWNEE          OK      74801
MERLIN WILLETT                                                              6082 SHEFFIELD CIR                                                                     JOHNSTON         IA      50131
MERLINE BISWELL                                                             PO BOX 106                                                                             AGRA             OK      74824-0106
MERLINE M BISWELL REV LVG TRUST                                             PO BOX 106                                                                             AGRA             OK      74824
MERLYNN EDMONDSON                                                           4303 SE 108 AVE                                                                        NOBLE            OK      73068
MERODA RESCOURCES LLC                                                       PO BOX 852098                                                                          YUKON            OK      73085
MERRALL PRICE                                                               3617 OAK BEND CT                                                                       BOWLING GREEN    KY      42104
MERRI STUDIER                                                               7801 WESTWOOD LANE                                                                     OKLAHOMA CITY    OK      73169
MERRIANNE P. BRYAN LIV TR                                                   5471 JASPER WAY                                                                        CENTENNIAL       CO      80015
MERRICK SYSTEMS INC                                                         55 WAUGH DR STE 400                                                                    HOUSTON          TX      77007-5839
MERRILL BROSS                                                               6409 NW 24TH ST                                                                        OKLAHOMA CITY    OK      73127
MERRILL COMMUNICATIONS LLC                                                  ONE MERRILL CIRCLE                                                                     ST PAUL          MN      55108-5267
MERRILL GATES                                                               5409 E 116TH ST                                                                        PERKINS          OK      74059-3722
MERRILL RAMSEY                                                              351 BEAR RIDGE DR                                                                      LAVERNIA         TX      78121
MERRITT ANDERSON                                                            19649 SUSQUEHANNA WAY                                                                  CALDWELL         ID      83605
MERRITT PLUS LLC                                                            4245 N CENTRAL EXPWY STE 320                                                           DALLAS           TX      75205
MERRON LLC                                                                  PO BOX 400                                                                             DUNCAN           OK      73534-0400
MERRY NOEL GAFF                                                             513 WEST MAIZE                                                                         GOLTRY           OK      73739
MERRYL & J GORDON ZUBER REV TRUST                                           3008 UNIVERSITY BLVD                                                                   HOUSTON          TX      77005
MERTON C HART TRUST DTD 4-29-1999                                           180 COUNTRY ROAD 2656                                                                  BARTLESVILLE     OK      74003-9576
MERVYN JONES                                                                1308 CAUDILL DR                                                                        WATONGA          OK      73772
MES CAPITAL LLC                                                             7420 GOLDEN POND PL STE 100                                                            AMARILLO         TX      79121-1977

Mesa Natural Gas Solutions LLC        Mike Trott, Chief Financial Officer   5151 Reserve Drive                                                                     Evansville       WY      82636
MESA NATURAL GAS SOLUTIONS LLC                                              5151 RESERVE DRIVE                                                                     EVANSVILLE       WY      82636
MESA WADE                                                                   1387 S LAKEVIEW AVE                                                                    CLEVELAND        OK      74020
MESQUITE DEVELOPMENT CORP                                                   208 PRINZ DR                                                                           SAN ANTONIO      TX      78213
                                                                                                                          9211 Lake Hefner
Messia Osborn                         c/o Atkins & Markoff                  Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Messia Osborn                         LLP                                   Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Messia Osborn                                                               11711 Smoking Oaks Dr                                                                  Oklahoma City    OK      73150
METALOGIX SOFTWARE US INC                                                   PO BOX 83304                                                                           WOBURN           MA      01813-3304
METALYNN MOHR                                                               1802 NORTHBROOK PL NE                                                                  OWATONNA         MN      55060

METER CHECK MEASUREMENT SERVICES LL                                         PO BOX 21228                                                                           TULSA            OK      74121-1228
METHA A WHITEHEAD                                                           19091 COUNTY RD 110                                                                    PERRY            OK      73077
METHA SINGLETON                                                             446 HIGH STREET                                                                        SEBASTOPOL       CA      95472
METISA E WILHELMSEN REV TR                                                  431 W NORTHGATE DRIVE                                                                  IRVING           TX      75062


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METISA ESSLEY WILHELMSEN                                                 431 W NORTHGATE DRIVE                                                                  IRVING              TX       75062
METLIFE ATTN: GRISELDA HERNANDEZ                                         177 SOUTH COMMONS DRIVE                                                                AURORA              IL       60504
METRO APPLIANCES & MORE                                                  7400 WEST RENO                                                                         OKLAHOMA CITY       OK       73127
METROSOFT LLC                                                            71559 S 230 RD                                                                         WAGONER             OK       74467
METSCHER FARMS                                                           10650 NW 107TH ST.                                                                     YUKON               OK       73099
MEW LLC                                                                  101 PARK AVE STE 1000                                                                  OKLAHOMA CITY       OK       73102-7202
MEWBOURNE OIL COMPANY                                                    PO BOX 7698                                                                            TYLER               TX       75711-7698
MEWBOURNE OIL COMPANY                                                    500 W TEXAS STE 1020                                                                   MIDLAND             TX       79701
MEXIA HOLDINGS LP                                                        PO BOX 2444                                                                            OKLAHOMA CITY       OK       73101
MEXICO JOE'S                                                             311 E. HALL OF FAME                                                                    STILLWATER          OK       74074
MEZEKA, LLC                                                              1112 RIDGEWAY STREET                                                                   ARDMORE             OK       73401
MFS TRUST DTD 9 30 97                                                    PO BOX 691118                                                                          TULSA               OK       74169
MGE RESOURCES INC                                                        PO BOX 1258                                                                            PERRYTON            TX       79070-1258
MGMT DISTRICT 3 RURAL WATER SEWER                                        PO BOX 661                                                                             CRESCENT            OK       73028
MGW PROPERTIES LLC                                                       PO BOX 471586                                                                          TULSA               OK       74147
Mhamud, Zaid                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK       73116
M-I LLC                                                                  PO BOX 732135                                                                          DALLAS              TX       75373-2135
MIA HOUSE                                                                2500 PORTER AVENUE                                                                     SUTLAND             MD       20746
MICAELA MUSANTE                                                          115 CAMELIA                                                                            REDWOOD CITY        CA       94061
MICAH WINTERS                                                            3128 E. PEACHTREE AVENUE                                                               STILLWATER          OK       74074
MICAR LLC                                                                PO BOX 2466                                                                            EDMOND              OK       73083-2466
MICE LLC                                                                 804 E 47TH ST, UNIT C                                                                  AUSTIN              TX       78751-3361
MICHAEL                                                                  5009 KARA DR                                                                           STILLWATER          OK       74074-8609
MICHAEL & BRENDA HASS                                                    5010 W 2ND ST                                                                          STILLWATER          OK       74074-6892
MICHAEL & HEIDI MORRISETT TTEE                                           4490 WILDER PL                                                                         LAS VEGAS           NV       89121
MICHAEL & LOIS DAWES TRUST DTD 10-1                                      4370 N 2865                                                                            MARLOW              OK       73055
MICHAEL A & MARY BETH PHIBBS                                             18605 E ROCKY RIDGE RD                                                                 INOLA               OK       74036
MICHAEL A PATTERSON                                                      1054 S DUTTON DR                                                                       MTN HOUSE           CA       95391-1399
                                                                                                                       9211 Lake Hefner
Michael A. Preston                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK       73120
                                      c/o Laminack, Pirtle & Martines,
Michael A. Preston                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX       77006
Michael A. Preston                                                       402 E 2nd St                                                                           Cushing             OK       74023
MICHAEL AKERS                                                            16734 BABLERVIEW DR.                                                                   WILDWOOD            MO       63011
MICHAEL ALAN WEISMAN                                                     20 WOOD SORREL                                                                         IRVINE              CA       92604
MICHAEL ALTSHULER                                                        108 WOODBRIDGE CT                                                                      EDMOND              OK       73013
MICHAEL AND BEVERLY A MORRIS HW JT                                       PO BOX 157                                                                             RIPLEY              OK       74062-0157
MICHAEL ANDERSON                                                         PO BOX 57212                                                                           OKLAHOMA CITY       OK       73157
MICHAEL ANDREWS                                                          PO BOX 436                                                                             LAHOMA              OK       73754
MICHAEL ARTHUR JOHN                                                      4419 NEWCOME DR                                                                        SAN ANTONIO         TX       78229
MICHAEL AVERY                                                            3202 WOODCREST DR                                                                      SAN ANTONIO         TX       78209
MICHAEL B HALE                                                           22 SARAH LANE                                                                          HOPEWELL JUNCTION   NY       12533
MICHAEL B NOGEN                                                          201 EAST 79TH ST #141                                                                  NEW YORK            NY       10075
MICHAEL B SNEDDEN FAMILY TRUST                                           542 S THOMPSON ST                                                                      VINITA              OK       74301
MICHAEL BAINUM                                                           5120 SPRING CREEK CIR W                                                                STILLWATER          OK       74074
MICHAEL BALL                                                             342313 E 770 RD                                                                        AGRA                OK       74824-6331
MICHAEL BESLY                                                            214 W FIFTH ST                                                                         PERRYSBURG          OH       43551
MICHAEL BEVIS TRUST                                                      4724 E 5TH ST                                                                          TULSA               OK       74112-2717
MICHAEL BIGLER                                                           2240 DIXON RD                                                                          CHOCTAW             OK       73020-8105
MICHAEL BILYEU                                                           PO BOX 95                                                                              BOZEMAN             MT       59771-0095
MICHAEL BIRCH                                                            1530 N HARRISON ST #332                                                                SHAWNEE             OK       74804-4021

MICHAEL BIRMINGHAM                                                       5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY            TX       75070
MICHAEL BLAZI                                                            401 OAK CLIFF DR                                                                       EDMOND              OK       73034
MICHAEL BLOSE AND JIMMIE SUE BLOSE                                       5215 S UNION RD                                                                        STILLWATER          OK       74074-8459
MICHAEL BOLTON                                                           23725 WAYNE'S WAY                                                                      GOLDEN              CO       80401
MICHAEL BONAR                                                            206 NE 46TH ST                                                                         LAWTON              OK       73507
MICHAEL BONTRAGER                                                        17902 DOTY AVE                                                                         TORRANCE            CA       90504
MICHAEL BRADLEY                                                          5252 BERWYN CIR                                                                        LAS VEGAS           NV       89122


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MICHAEL BRENNER                                                          803 S WALNUT ST                                                                        MT VERNON         MO      65712
MICHAEL BRIAN MCPEEK                                                     512 NORTH 10TH                                                                         GUTHRIE           OK      73044
MICHAEL BROOKSHIRE                                                       20181 E RATCLIFF PLACE                                                                 AURORA            CO      80015
MICHAEL BROWN                                                            703 S 8TH ST                                                                           KINGFISHER        OK      73750
MICHAEL BROWN                                                            106 W JANICE AVE                                                                       YUKON             OK      73099
MICHAEL BROWNING                                                         630 4TH AVENUE SE                                                                      DICKINSON         NE      58601
MICHAEL BROWNING                                                         201 RANCH RD                                                                           ELK CITY          OK      73644
MICHAEL BRUCE MCNEILL                                                    1303 ST ANDREWS DR                                                                     EDMOND            OK      73025
MICHAEL BRUMLEY                                                          8538 COUNTRY ROAD 4096                                                                 KAUFMAN           TX      75142-7113
MICHAEL BULLOCK                                                          12726 MOHAWK CIR                                                                       LEAWOOD           KS      66209-1717
MICHAEL BURCHARDT                                                        615 AUSTIN HINES                                                                       CHINA SPRING      TX      76633
MICHAEL BURNELL                                                          404 E WINDY PEAK CIR                                                                   TUCSON            AZ      85704-7316
MICHAEL BURTRUM                                                          3118 TIMBERLAKE DR                                                                     STILLWATER        OK      74075
MICHAEL BYER                                                             2412 ELWOOD DRIVE                                                                      EDMOND            OK      73013
MICHAEL C DUNCAN                                                         2917 NW 184th STREET                                                                   EDMOND            OK      73012

MICHAEL C TRAMONTANA AND DOROTHY P                                       2204 E 25TH PL                                                                         TULSA             OK      74114
MICHAEL C VINCENT                                                        PO BOX 1994                                                                            GRAND LAKE        CO      80447-1994
                                                                                                                       9211 Lake Hefner
Michael C. Culpepper                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Michael C. Culpepper                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Michael C. Culpepper                                                     2704 Tottingham Rd                                                                     Oklahoma City     OK      73120
MICHAEL CALAVAN                                                          3700 S YORK ST                                                                         MUSKOGEE          OK      74403
MICHAEL CARLEY                                                           838 W CLEO AVE                                                                         PORTERVILLE       CA      93257-7838
MICHAEL CASTEEL                                                          822 NE 28TH AVE                                                                        OKEECHOBEE        FL      34972
MICHAEL CAVANAUGH                                                        2967 RISING TIDE DR                                                                    FRISCO            TX      75034
MICHAEL CHOATE                                                           1007 N SERTCO DR                                                                       OKEMAH            OK      74859-3223
MICHAEL CLANG                                                            1001 BAYWOOD CT                                                                        RICHMOND          VA      23226-1524
MICHAEL CLARY                                                            PO BOX 0164                                                                            PARACHUTE         CO      81635-0164
MICHAEL COLLIER                                                          1109 NW 195TH                                                                          EDMOND            OK      73012
MICHAEL COLLIER AND SUZANNE A COLLI                                      5320 E 32ND AVE                                                                        STILLWATER        OK      74074
MICHAEL COONTS                                                           9219 N MOBLEY RD                                                                       ODESSA            FL      33556
MICHAEL COSBY                                                            6170 S POTOMAC WAY                                                                     CENTENNIAL        CO      80111
MICHAEL COVEY                                                            17841 COUNTRY ROAD 285                                                                 ARP               TX      75750-5005
MICHAEL CRAIG JONES                                                      PO Box 2640                                                                            MIDLAND           TX      79702
MICHAEL CROOK                                                            5909 E STELLA LN                                                                       PARADISE VALLEY   AZ      85253-4276
MICHAEL D & DIANA L WILSON HWJT                                          2109 WEST 23RD STREET                                                                  STILLWATER        OK      74074
MICHAEL D GOLLOB OIL COMPANY LP                                          PO BOX 6653                                                                            TYLER             TX      75711-6653

MICHAEL D MARTIN                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
MICHAEL D SHORT & BRENDA J S                                             PO BOX 1853                                                                            CHICKASHA         OK      73023
                                                                                                                       9211 Lake Hefner
Michael D. Washington                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Michael D. Washington                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Michael D. Washington                                                    1719 S. 110th East Ave                                                                 Tulsa             OK      74128
MICHAEL DAVID DUNSON                                                     16922 ALBANY STREET SW                                                                 ROCHESTER         WA      98579
MICHAEL DEAN HARTWIG & MARSHA ANN                                        PO BOX 68                                                                              PERRY             OK      73077
MICHAEL DEBORAH MEYERS                                                   RR 1 BOX 52                                                                            AGRA              OK      74824-9603
MICHAEL DECKER                                                           3301 DREXEL DR                                                                         DALLAS            TX      75205
MICHAEL DELANO                                                           5435 QUEMAZON                                                                          LOS ALAMOS        NM      87544-3758
MICHAEL DENNIS CASSIDAY                                                  107 GREENBRIAR DR                                                                      SAVANNAH          GA      31419
MICHAEL DENNY                                                            12606 E MCELROY                                                                        GLENCOE           OK      74032
MICHAEL DEWAYNE DAVIS                                                    15505 E NOBLE RD                                                                       GLENCOE           OK      74032
MICHAEL DICKS                                                            782 N COOLIDGE AVE                                                                     PALATINE          IL      60067
MICHAEL DIXON                                                            410 WANDERING WAY                                                                      ARDMORE           OK      73401
MICHAEL DON HOLCOMB                                                      79232 N 2132 RD                                                                        LEEDEY            OK      73654
MICHAEL DUBUISSON                                                        106 High Sierra Drive                                                                  Boerne            TX      78006


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                                                                                                                       9211 Lake Hefner
Michael Dunn                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Michael Dunn                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Michael Dunn                                                             4326 S. 29th West Ave                                                                   Tulsa            OK      74107
MICHAEL DUNWORTH                                                         2665 CHATEAU CLERMONT ST                                                                HENDERSON        NV      89044
MICHAEL DWINELL                                                          1225 N MESA VERDE AVE                                                                   FARMINGTON       NM      87401-7028
MICHAEL DWINELL                                                          2500 N MESA DR                                                                          FARMINGTON       NM      87401-3930
MICHAEL E AND JANET                                                      PO BOX 145                                                                              MARSHALL         OK      73056
MICHAEL ECKENWILER                                                       PO BOX 3627                                                                             TULSA            OK      74101-3627
MICHAEL EDWARD WALIOR                                                    1153 SLATE RD                                                                           WELLINGTON       NV      89444
MICHAEL ELLIS                                                            327 W BUTLER AVE                                                                        LINCOLN          NE      68521-3323
MICHAEL EUBANK                                                           PO BOX 627                                                                              CUSHING          OK      74023-0627
MICHAEL EUGENE NASH                                                      2928 Elsinor Drive                                                                      Fort Worth       TX      76116
MICHAEL EYTCHESON                                                        218 S HOPPY RD                                                                          STILLWATER       OK      74074
MICHAEL EZZELL                                                           1333 HAZEN ST                                                                           COVINGTON        KY      41016-1620
MICHAEL F MAHONY EXECUTOR                                                106 W MAIN SUITE 406                                                                    EL DORADO        AR      71730
MICHAEL FAIRLESS                                                         13950 S BROADWAY                                                                        EDMOND           OK      73034
MICHAEL FLASCH                                                           3741 S RICHMOND AVE                                                                     TULSA            OK      74135
MICHAEL FLEMINGWROS                                                      2602 S HUSBAND ST                                                                       STILLWATER       OK      74074-7124
MICHAEL FLOWERS                                                          103 S ROSE                                                                              GLENCOE          OK      74032
MICHAEL FRANCIS                                                          10265 WEST CAMELBACK ROAD                                                               PHOENIX          AZ      85037
MICHAEL FRANK CAMPBELL                                                   1211 RUE DEGAS                                                                          MANDEVILLE       LA      70471
MICHAEL FRAZIER                                                          PO BOX 1011                                                                             PERKINS          OK      74059-1011
MICHAEL FREELAND                                                         7209 N COMANCHE AVE                                                                     WARR ACRES       OK      73132-6633
MICHAEL FREY                                                             15736 N 2850 RD                                                                         KINGFISHER       OK      73750
MICHAEL FRICKENSCHMIDT                                                   PO BOX 65                                                                               WAUKOMIS         OK      73773
MICHAEL G & JOYCE E LAYMAN REV TR                                        97 BOBBY MANKIN DR                                                                      CHOCTAW          OK      73020
MICHAEL GARRETT                                                          533 TOWNE HOUSE LN                                                                      RICHARDSON       TX      75081
MICHAEL GIDWITZ II                                                       122 S MICHIGAN AVE SUITE 1210                                                           CHICAGO          IL      60603
MICHAEL GLOVER                                                           6041 N PLACITA TIBURON                                                                  TUCSON           AZ      85704-1041
MICHAEL GRAHAM                                                           829 EAST DR                                                                             EDMOND           OK      73034
MICHAEL GRAMSE 2008 REV TR AGMT                                          14640 SHIELDS LAKE TRL                                                                  FARIBAULT        MN      55021-7580
MICHAEL GREUEL & KIMBERLY GREUEL JT                                      202 S BRUSH CREEK RD                                                                    STILLWATER       OK      74074
MICHAEL H WOODS                                                          5121 NORTH VIA CONDESA                                                                  TUCSAN           AZ      85718
MICHAEL HANSEN                                                           1756 WEST DATE AVE                                                                      PORTERVILLE      CA      93257
MICHAEL HARVEY                                                           2895 E SEWARD RD                                                                        GUTHRIE          OK      73044
MICHAEL HATHOOT                                                          10504 RISING KNOLL LANE                                                                 FORT WORTH       TX      76131
MICHAEL HICKS                                                            680 NEAL AVE S                                                                          AFTON            NM      55001
MICHAEL HLAVAC                                                           7235 BULLION HILL RD                                                                    FLAGSTAFF        AZ      86004
MICHAEL HOAG                                                             13375 CALLE ALBARA                                                                      EL COJON         CA      92019
MICHAEL HOBBS                                                            14223 E 640 RD                                                                          HENNESSEY        OK      73742
MICHAEL HOELTZEL                                                         17902 TEXAS EMMY LN                                                                     SAN ANTONIO      TX      78258
MICHAEL HOLCOMB                                                          79232 N. 2132 RD.                                                                       LEEDEY           OK      73654
Michael Hopkins                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Michael Hopkins                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Michael Hopkins                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Michael Hopkins                                                          12720 Timber Ridge Lane                                                                 Sperry           OK      74073
MICHAEL HOUSE                                                            1352 UNDERWOOD ST NW                                                                    WASHINGTON       DC      20032
MICHAEL HOWELL                                                           34830 HOWELL ROAD                                                                       GRAYSVILLE       OH      45734-9019
MICHAEL HOWELL                                                           35211 WITTEN CREEK RD                                                                   GRAYSVILLE       OH      45734
MICHAEL HUFFER                                                           PO BOX 403                                                                              CRESCENT         OK      73028-0403
MICHAEL HUTCHINSON                                                       121 GRACE TRCE                                                                          LIZELLA          GA      31052-3313
MICHAEL INSELMAN                                                         4521 E 104TH ST                                                                         PERKINS          OK      74059-3955
MICHAEL J AND NANCY R COOPER JT                                          347 LEMA DR                                                                             PORTLAND         TX      78374-4012
MICHAEL J HOUSKA                                                         PO BOX 83                                                                               MARSHALL         OK      73056
MICHAEL J KELLOGG JR                                                     25541 N 104 DRIVE                                                                       PEORIA           AZ      85383
MICHAEL J MONCRIEF 2008 TRUST A                                          777 TAYLOR ST SUITE 1030                                                                FORT WORTH       TX      76102



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MICHAEL J OCALLAHAN                                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
MICHAEL J REDING                                                         4204 HIGH STAR LANE                                                                    DALLAS           TX      75287
MICHAEL JOHNSON                                                          PO BOX 4                                                                               CRESCENT         OK      73028
MICHAEL JOHNSON                                                          31 WHIG STREET                                                                         TRUMANSBURG      NY      14886
MICHAEL JOHNSON                                                          30098 N 2969 RD                                                                        CASHION          OK      73016
MICHAEL JORDAN                                                           109 MAINE ST                                                                           COVINGTON        OK      73730
MICHAEL JOSEPH MONCRIEF AS TRUSTEE                                       777 TAYLOR STREET, SUITE 1030                                                          FORT WORTH       TX      73102
MICHAEL K JOHNSON                                                        6300 NW 70TH ST APT 304                                                                KANSAS CITY      MO      64151
MICHAEL KAISER                                                           9111 STATE HWY 74                                                                      COVINGTON        OK      73730
MICHAEL KEENE                                                            4451 S INDEPENDENCE DR                                                                 SUTTONS BAY      MI      49682
MICHAEL KINGSBURY                                                        71221 S 337TH CT                                                                       WAGONER          OK      74467
MICHAEL KORTE                                                            2617 ROANOKE RIDGE ROAD                                                                BARTLESVILLE     OK      74006
MICHAEL KORTE                                                            3061 RICE CREEK RD                                                                     BARTLESVILLE     OK      74006-0281
MICHAEL L MCDONALD LLC                                                   PO BOX 417                                                                             FAIRVIEW         OK      73737
MICHAEL L MOSS                                                           1012 S WILLIAMS AVE                                                                    EL RENO          OK      73036-4832
MICHAEL L TURNER                                                         985 LINDA VIEW                                                                         HEALDSBURG       CA      95448
                                                                                                                       9211 Lake Hefner
Michael L. Dorle                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Michael L. Dorle                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Michael L. Dorle                                                         625 North Depot Ave                                                                    Cushing          OK      74023
MICHAEL LANDERS                                                          1605 D BLACK DUCK TERRACE                                                              CARROLLTON       TX      75010
MICHAEL LAPAGLIA                                                         PO BOX 132                                                                             MULHALL          OK      73063

MICHAEL LATE BENEDUM CHAPTER OF THE   ATTN: STEVE CARR                                                                                                          CANONSBURG       PA      15317
MICHAEL LEBERMAN                                                         513 CROSS TIMBER DR                                                                    MOORE            OK      73160
MICHAEL LEININGER                                                        20934 AVE SAN LUIS                                                                     WOODLAND HILLS   CA      91364
MICHAEL LEON BILLINGS ESTATE                                             1204 NW 88TH STREET                                                                    OKLAHOMA CITY    OK      73114
MICHAEL LEON HINER                                                       PO BOX 1802                                                                            STILLWATER       OK      74076-1802
MICHAEL LESKO                                                            3702 S HARTLAND                                                                        RIPLEY           OK      74062-6370
MICHAEL LEWIS                                                            6307 SOUTH 10TH STREET 3                                                               FORT SMITH       AR      72908
MICHAEL LEWIS                                                            1109 W STONECREST AVE                                                                  STILLWATER       OK      74075
MICHAEL LONGLEY LIVING TRUST                                             3012 E 44TH ST                                                                         EDMOND           OK      73013
MICHAEL LOOBY                                                            1040 HAMPTON CT                                                                        DEERFIELD        IL      60015
MICHAEL LUCKY                                                            18800 LINA ST #1509                                                                    DALLAS           TX      75287
MICHAEL MAN                                                              8024 NW 134TH TERR                                                                     OKLAHOMA CITY    OK      73142
                                                                                                                       9211 Lake Hefner
Michael Mattke                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Michael Mattke                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Michael Mattke                                                           13503 S. Hickory Pl                                                                    Glenpool         OK      74033
MICHAEL MAULDIN                                                          1062 E OAK ST                                                                          WYLIE            TX      75098
MICHAEL MAY                                                              520 NW 42ND STREET                                                                     OKLAHOMA CITY    OK      73118
                                                                                                                       9211 Lake Hefner
Michael Mays                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
Michael Mays                          c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles      CA      90017
MICHAEL MAYS                                                             1806 S DEWEY AVE                                                                       BARTLESVILLE     OK      74003-6224
Michael Mays                                                             410 SE 3rd St                                                                          Perkins          OK      74059
MICHAEL MCDONNELL                                                        6400 ST HELENA RD                                                                      SANTA ROSA       CA      95404-9600
MICHAEL MCFEELY                                                          10443 N MAY AVE PMB 763                                                                OKLAHOMA CITY    OK      73120
MICHAEL MCGAUGHRAN                                                       8337 NORTHMEADOW CIRCLE                                                                DALLAS           TX      75231
MICHAEL MCGILLIARD                                                       305 COUNTRY CLUB DR SE                                                                 BLACKSBURG       VA      24060
MICHAEL MCGUIRE                                                          1703 5TH ST                                                                            CLAY CENTER      KS      67432-1716
MICHAEL MCGUIRE                                                          1212 N RIPLEY RD                                                                       RIPLEY           OK      74062-6440
MICHAEL MCKAIG REV TRUST                                                 4726 MEMORY LN                                                                         OKLAHOMA CITY    OK      73112
MICHAEL MCKEAN                                                           10804 RIVER DR                                                                         CONROE           TX      77385-4017
MICHAEL MCKINLEY                                                         609 S 9TH AVE                                                                          BOZEMAN          MT      59715-4381
MICHAEL MCNAMER                                                          4324 S HENDERSON ST                                                                    STILLWATER       OK      74074-7204


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              CreditorName                  CreditorNoticeName                          Address1                            Address2                 Address3            City   State       Zip      Country
MICHAEL MCSPARRIN                                                        5515 S SPRING CREEK W                                                                  STILLWATER      OK      74074
MICHAEL MENDENHALL                                                       17700 GRIFFIN COVE CT                                                                  EDMOND          OK      73012-9779
MICHAEL METCALF AND GAIL A METCALF                                       PO BOX 2132                                                                            STILLWATER      OK      74074
MICHAEL MILLER                                                           1404 OCEAN AVE APT D                                                                   SEAL BEACH      CA      90740-6575
MICHAEL MONCRIEF                                                         777 TAYLOR STREET, # 1030                                                              FT WORTH        TX      76102
MICHAEL MUEGGENBORG                                                      713 E ERIE AVE                                                                         YALE            OK      74085-4014
MICHAEL MULLENIX                                                         34856 HOWELL ROAD                                                                      GRAYSVILLE      OH      45734-9019

MICHAEL N BEJOVICH                                                       5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
MICHAEL NELSON                                                           19805 JOHN WAYNE                                                                       PERRY           OK      73077
MICHAEL NEWHOUSE                                                         644 E 11TH ST                                                                          HOUSTON         TX      77008
MICHAEL O'BRIEN                                                          13901 MIDWAY RD SUITE 102-297                                                          DALLAS          TX      75244
MICHAEL OCONNELL                                                         1839 JUSTINO DR                                                                        MORGAN HILL     CA      95037
MICHAEL O'TOOLE                                                          PO Box 2640                                                                            MIDLAND         TX      79702
MICHAEL OWEN REGAN                                                       7124 E 91ST CT                                                                         TULSA           OK      74133
MICHAEL P KENNEDY                                                        11705 N MERIDIAN PL APT D                                                              OKLAHOMA CITY   OK      73162
MICHAEL PALMER                                                           1321 REISS CT                                                                          OKLAHOMA CITY   OK      73118-1054
MICHAEL PEACOCK                                                          PO BOX 288                                                                             COVINGTON       OK      73730
MICHAEL PERA                                                             301 S. FIRST ST.                                                                       KIRKLAND        IL      60146
MICHAEL PERRY                                                            1227 LAKE SHORE DR                                                                     BYRAM           MS      39272-9754
MICHAEL PETERS                                                           7528 WOODS EDGE DRIVE                                                                  BATON ROUGE     LA      70818
MICHAEL PHILLIP MANKE                                                    660 LARKS NEST WAY                                                                     MONUMENT        CO      80132
MICHAEL PHILLIPS                                                         13531 CHOCTAW DR                                                                       TYLER           TX      75709-5003
MICHAEL PINES                                                            4808 RANCHITO AVE                                                                      SHERMAN OAKS    CA      91423
MICHAEL PRICE                                                            1520 S SPRINGFIELD                                                                     STILLWATER      OK      74074
MICHAEL QUIGLEY                                                          204 TIMBER LINE RD                                                                     GEORGETOWN      TX      78633
MICHAEL QUIGLEY                                                          144 SURLS DR                                                                           MABANK          TX      75156
MICHAEL QUIREY                                                           2221 E 56TH                                                                            STILLWATER      OK      74075
MICHAEL R ALDRIDGE                                                       785 COUNTY ROAD 3690                                                                   PARADISE        TX      76073
MICHAEL R CHATTERTON & DORINDA A                                         3324 S HUSBAND ST                                                                      STILLWATER      OK      74074-7561

MICHAEL R COLLINGNON                                                     5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
MICHAEL R DICKS                                                          4621 E 44TH ST                                                                         STILLWATER      OK      74074-8593
MICHAEL R JORDAN                                                         109 MAINE ST                                                                           COVINGTON       OK      73730
MICHAEL R WILSON                                                         301 EVERGREEN DR                                                                       SPRINGDALE      AR      72764
MICHAEL RAINS                                                            118 N VANN ST                                                                          PRYOR           OK      74361-2424
MICHAEL RAMIREZ                                                          5100 HAMILTON DR                                                                       GUTHRIE         OK      73044
MICHAEL RAPIER                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
MICHAEL RAY CROMER                                                       1921 N COAL CREEK RD                                                                   DRUMRIGHT       OK      74030-5656
MICHAEL RAY HUNT                                                         1414 NORTH ZIMMERS STREET                                                              PAMPA           TX      79065
MICHAEL RAYMOND ERWIN                                                    11001 SW 6TH STREET                                                                    YUKON           OK      73099-6791
                                                                                                                       9211 Lake Hefner
Michael Reiley                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Michael Reiley                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Michael Reiley                                                           905 E Oak St                                                                           Cushing         OK      74023
MICHAEL REININGA                                                         2825 CYPRESS CT                                                                        EVANSVILLE      IN      47711-6727
MICHAEL RITTER                                                           401 SOUTH LOWRY                                                                        STILLWATER      OK      74074
MICHAEL RYAN                                                             1052 E 7TH ST                                                                          LONG BEACH      CA      90813

MICHAEL S AIST & KAY L AIST JTWROS                                       5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070

MICHAEL S AND CAROLYN H PATTERSON R                                      9 DOWNING RD                                                                           HUTCHISON       KS      67502
MICHAEL S THOMPSON AND BILLYE R                                          341499 E 750 RD                                                                        AGRA            OK      74824-6301
MICHAEL SANDERSON                                                        PO BOX 1516                                                                            NORTH FORK      CA      93643
MICHAEL SCHRAMMEL                                                        5515 W 53RD ST                                                                         STILLWATER      OK      74074
MICHAEL SCHWAGER                                                         3307 BAHAMA DR                                                                         SAND SPRINGS    OK      74063
MICHAEL SELLERS                                                          1655 W CAMELBACK RD                                                                    DUNCAN          OK      73533
MICHAEL SHANNON                                                          PO BOX 2286                                                                            DEMING          NM      88031


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MICHAEL SKOUBY                                                      12100 Frontier                                                                          Perry           OK      73077
MICHAEL SLOAN                                                       11552 SOUTH 6                                                                           ELK CITY        OK      73644
MICHAEL SMITH                                                       510 W 22ND AVE                                                                          STILLWATER      OK      74074-6901
MICHAEL SNOW                                                        59 N FLORENCE AVE                                                                       TULSA           OK      74110
MICHAEL SPILLMAN                                                    3116 SW 41ST                                                                            OKLAHOMA CITY   OK      73119
MICHAEL STALEY                                                      702 VENUS AVE                                                                           SALINA          KS      67401-1004
MICHAEL STOTTS                                                      24601 COUNTY RD 20                                                                      LUCIEN          OK      73757
MICHAEL STOVALL                                                     2424 E 21 ST STE 500                                                                    TULSA           OK      74114
MICHAEL STRIDER                                                     2067 COUNTY ROAD 1237                                                                   TUTTLE          OK      73089-3111
MICHAEL TARRANT                                                     15580 W 159TH ST                                                                        OLATHE          KS      66062
MICHAEL TAYLOR                                                      PO BOX 2441                                                                             STILLWATER      OK      74076
MICHAEL TRAHAN                                                      1020 S BRIDGE STREET; LOT 31                                                            MORRILTON       AR      72110
MICHAEL TREANOR                                                     5075 W INDUSTRIAL RD                                                                    GUTHRIE         OK      73044
MICHAEL TUMA                                                        121 N 3RD ST                                                                            WAUKOMIS        OK      73773
MICHAEL URBAN                                                       3806 CANYON BLUFF CT                                                                    HOUSTON         TX      77059-3710
MICHAEL W FLESNER                                                   6634 SPINDLEWICK LN                                                                     CINCINNATI      OH      45230
MICHAEL W MUNCY 2001 REV TRUST                                      PO BOX 721596                                                                           NORMAN          OK      73070-8227
                                                                                                                  9211 Lake Hefner
Michael W. Smith                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                 c/o Laminack, Pirtle & Martines,
Michael W. Smith                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Michael W. Smith                                                    5025 N. Lewis Ave                                                                       Tulsa           OK      74130
MICHAEL WADE AND CATHY WADE JT                                      4615 HALEY LN                                                                           STILLWATER      OK      74074
MICHAEL WALTERS                                                     19335 S LAKEVIEW PL                                                                     CLAREMORE       OK      74017-4612
MICHAEL WASLIN                                                      3025 LAMESA DR                                                                          GARLAND         TX      75041-2744
MICHAEL WATSON                                                      924 CR 174                                                                              COTTER          AR      72626
MICHAEL WATTS                                                       350750 E 5500 RD                                                                        MARAMEC         OK      74045-1053
MICHAEL WELCH                                                       2360 OLD MILITARY ROAD                                                                  MOBILE          AL      36605
                                                                                                                  9211 Lake Hefner
Michael Westhoff                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                 c/o Laminack, Pirtle & Martines,
Michael Westhoff                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Michael Westhoff                                                    2129 W. 45th Pl                                                                         Tulsa           OK      74107
MICHAEL WHEELER                                                     PO BOX 52                                                                               GUTHRIE         OK      73044
MICHAEL WHITEHILL                                                   PO Box 3627                                                                             TULSA           OK      74101
MICHAEL WHITEMAN                                                    8804 NW 72ND ST                                                                         OKLAHOMA CITY   OK      73132
MICHAEL WILLIAM MATHEWS TTEE                                        PO BOX 15238                                                                            DEL CITY        OK      73115
MICHAEL WOLKE                                                       1240 N ANNA                                                                             WICHITA         KS      67212
Michael Woods                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Michael Woods                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Michael Woods                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
MICHAEL WOODS                                                       9606 W LONGHORN TRL                                                                     WAUKOMIS        OK      73773
Michael Woods                                                       156 S Hunsaker                                                                          Fairfax         OK      74637
MICHAEL YOST                                                        18205 W 92ND ST                                                                         MULHALL         OK      73063-2616
                                                                                                                  9211 Lake Hefner
Michael Bell                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                 c/o Laminack, Pirtle & Martines,
Michael Bell                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Michael Bell                                                        10712 Dorothy Dr                                                                        Oklahoma City   OK      73162
                                                                                                                  9211 Lake Hefner
Michael Bowman                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                 c/o Laminack, Pirtle & Martines,
Michael Bowman                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Michael Bowman                                                      104886 S. 3480 Rd                                                                       Meeker          OK      74855
                                                                                                                  9211 Lake Hefner
Michael Casteel                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                 c/o Laminack, Pirtle & Martines,
Michael Casteel                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Michael Casteel                                                     1329 NE 52nd St                                                                         Oklahoma City   OK      73111


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                                                                                                                    9211 Lake Hefner
Michael Hammons                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                   c/o Laminack, Pirtle & Martines,
Michael Hammons                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Michael Hammons                                                       1505 NE 14th St                                                                         Oklahoma City     OK      73117
                                                                                                                    9211 Lake Hefner
Michael Key                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                   c/o Laminack, Pirtle & Martines,
Michael Key                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Michael Key                                                           300 Spring Rd                                                                           Noble             OK      73068
                                                                                                                    9211 Lake Hefner
Michael O'Malley                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                   c/o Laminack, Pirtle & Martines,
Michael O'Malley                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Michael O'Malley                                                      4633 SE 23rd St                                                                         Del City          OK      73115
                                                                                                                    9211 Lake Hefner
Michael Walling                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                   c/o Laminack, Pirtle & Martines,
Michael Walling                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Michael Walling                                                       3008 Drakestone Ave                                                                     Oklahoma City     OK      73120
MICHAELENE FLASCH                                                     7505 S EVANSTON AVE                                                                     TULSA             OK      74136
MICHALE POGUE                                                         5024 W 2ND AVE                                                                          STILLWATER        OK      74074-6892
MICHAUX NASH JR                                                       3924 FAIRFAX AVE                                                                        DALLAS            TX      75209
                                                                                                                    9211 Lake Hefner
Micheal Lovins                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                   c/o Laminack, Pirtle & Martines,
Micheal Lovins                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Micheal Lovins                                                        141 S. 168th East Ave                                                                   Tulsa             OK      74108
MICHEAL REESE                                                         1701 FAIRWAY DR                                                                         PERKINS           OK      74059
MICHELE A COMPTON SOLE MBR                                            6233 REDBUD RIDGE RD                                                                    OKLAHOMA CITY     OK      73162-3420
MICHELE A MILLER                                                      17545 NW COUNTRY DR                                                                     PORTLAND          OR      97229
MICHELE BOOTHE                                                        11712 FOXFORD DR                                                                        KNOXVILLE         TN      37934
MICHELE DOLEZAL ASIALA                                                5704 WOODBERRY CT                                                                       MIDLAND           MI      48640
Michele Fronkier                   c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Michele Fronkier                   c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
Michele Fronkier                   c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
Michele Fronkier                                                      405 Edge of the Water                                                                   Osage             OK      74054
MICHELE GHORMLEY                                                      14 KINGS PARK LN                                                                        CONWAY            AR      72034
MICHELE GRAY                                                          2002 E TULIPTREE SE                                                                     HUNTSVILLE        AL      35803
MICHELE M SCHMIDT                                                     PO BOX 581                                                                              WARRENVILLE       IL      60555
MICHELE RENEE MIRE                                                    468 TENNYSON DRIVE                                                                      STEPHENVILLE      TX      76401
MICHELE SEIKEL                                                        314 W 29TH AVE                                                                          STILLWATER        OK      74074-6917
MICHELE SNYDER                                                        809 H STREET                                                                            RUPERT            ID      83350
MICHELE STATEN                                                        3003 E 4TH #13                                                                          STILLWATER        OK      74074
MICHELE STATEN                                                        906 S KINGS ST                                                                          STILLWATER        OK      74074-5120
MICHELE WINTERS                                                       321 MCDONALD                                                                            COVINGTON         OK      73730
MICHELE WOLFSON                                                       1941 ENGLEWOOD RD                                                                       WINTER PARK       FL      32789
                                                                                                                    9211 Lake Hefner
Michell C. Harris                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                   c/o Laminack, Pirtle & Martines,
Michell C. Harris                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Michell C. Harris                                                     1708 Leawood Dr                                                                         Edmond            OK      73034
MICHELLE ARMITAGE                                                     1103 PIEDMNT PARK RD                                                                    TAYLORS           SC      29687
MICHELLE BELCO                                                        230 PLANTATION RD                                                                       HOUSTON           TX      77024-6218
MICHELLE BENDER                                                       5805 DUNDEE COURT                                                                       EDMOND            OK      73025
MICHELLE BOUNDS                                                       4313 AUGUSTA DR                                                                         GARLAND           TX      75041-5341
MICHELLE BRIGHAM                                                      5607 ORLANDO AVE                                                                        LUBBOCK           TX      79413-4600
MICHELLE BURNELL                                                      4876 S 48TH ST #D2                                                                      TACOMA            WA      98409
MICHELLE CULLEN                                                       205 620 15th AVE SW                                                                     CALGARY           AB      T2R 0R5      CANADA


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MICHELLE ESSLEY                                                         12501 GUN METAL DR                                                                     AUSTIN          TX      78739-4827
MICHELLE FORGE                                                          19209 SANTA FE TRAIL                                                                   LEAVENWORTH     KS      66048
MICHELLE GARRETT                                                        10123 W ORANGE DR                                                                      GLENDALE        AZ      85307
MICHELLE GLETME                                                         57603 CREST DR                                                                         SPRINGVILLE     CA      93265-9585
MICHELLE GOLAY                                                          514 S MAIN ST                                                                          MULHALL         OK      73063
                                                                                                                      9211 Lake Hefner
Michelle Hamilton                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Michelle Hamilton                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Michelle Hamilton                                                       2904 S. 49th West Ave                                                                  Tulsa           OK      74107
MICHELLE HENNEKE                                                        515 COUNTY RD 144                                                                      MARBLE FALLS    TX      78654
MICHELLE J TULL                                                         2330 N PORTER                                                                          NORMAN          OK      73071
MICHELLE KELLEY                                                         7626 SW 89TH ST                                                                        OKLAHOMA CITY   OK      73169-3717
MICHELLE KENNEDY RUFFIN                                                 5250 ANTLER CT                                                                         SUWANEE         GA      30024
MICHELLE LAFOLLETTE                                                     3446 NE 21ST AVE                                                                       PORTLAND        OR      97212-2423
MICHELLE LANGLEY                                                        1502 S SPRINGFIELD ST                                                                  STILLWATER      OK      74074
MICHELLE LARSEN                                                         PO BOX 21                                                                              MULHALL         OK      73063
MICHELLE LAVASQUE PHOTOGRAPHY                                           22757 N HIWASSEE RD                                                                    ARCADIA         OK      73007
MICHELLE LEACH                                                          1713 PARKLANE ST                                                                       PERRY           OK      73077-1213
MICHELLE LEBLANC                                                        1191 CR 613                                                                            WEDOWEE         AL      36278
MICHELLE LOFTIS                                                         4300 FOX CROFT RD                                                                      NORMAN          OK      73026
MICHELLE MCGREGOR                                                       PO BOX 3627                                                                            TULSA           OK      74101-3627
MICHELLE MOON                                                           5908 WEST BEVERLY, APT 2164                                                            FORT WORTH      TX      76132
MICHELLE MORRIS                                                         703 4TH STREET                                                                         ALAMOSA         CO      81101
MICHELLE NELSON                                                         102 HIGH CLOUD CR                                                                      HUNTSVILLE      AL      35811
MICHELLE RENE' HARRIS HONG AND EUI                                      21155 E COTTNOWOOD CIR                                                                 LUTHER          OK      73054
MICHELLE STALEY                                                         702 VENUS AVE                                                                          SALINA          KS      67401-1004
                                                                                                                      9211 Lake Hefner
Michelle Willis                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Michelle Willis                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Michelle Willis                                                         11550 E. 7th Pl                                                                        Tulsa           OK      74128
MICHELLE WILSON                                                         2520 N TAYLOR LN                                                                       STILLWATER      OK      74075-0951
                                                                                                                      9211 Lake Hefner
Michelle Garcia                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Michelle Garcia                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Michelle Garcia                                                         110 SW 4th St                                                                          Jones           OK      73049
                                                                                                                      9211 Lake Hefner
Michelle Harvey                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Michelle Harvey                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Michelle Harvey                                                         3308 Sun Valley Dr                                                                     Oklahoma City   OK      73110
                                                                                                                      9211 Lake Hefner
Michelle Jones                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Michelle Jones                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Michelle Jones                                                          103442 S. 3540 Rd                                                                      Prague          OK      74864
MICHIAL POTEET                                                          770591 S 3420 RD                                                                       AGRA            OK      74824-8422
Michigan Dept of Treasury            Unclaimed Property Division        7285 Parsons Dr                                                                        Dimondale       MI      48821
MICIAH AHRNSBRAK                                                        921 N MIDWEST BLVD                                                                     GUTHRIE         OK      73044
MICK & NICK LLC                                                         2280 E COLLEGE AVE                                                                     STATE COLLEGE   PA      16801
MICKAEL GORRELL                                                         3904 E CO ROAD 66                                                                      MULHALL         OK      73063
MICKEY HOY                                                              611 W APACHE ST                                                                        MARLOW          OK      73055
MICKEY JAMES                                                            919 1ST ST                                                                             CHANDLER        OK      74834
MICKEY JAMES                                                            2507 NW 8TH AVE                                                                        WILTON MANORS   FL      33311
                                                                                                                      9211 Lake Hefner
Mickey N. Nixon                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120



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                                      c/o Laminack, Pirtle & Martines,
Mickey N. Nixon                       LLP                                Attn: Richard N Laminack                       5020 Montrose Blvd    9th Fl              Houston          TX      77006
Mickey N. Nixon                                                          14421 Longhorn Dr                                                                        Jones            OK      73049
MICKEY OLMSTEAD                                                          1101 TRAIL COVE                                                                          AUSTIN           TX      78746
MICKEY TANNER                                                            900252 S 3390 RD                                                                         CHANDLER         OK      74834
                                                                                                                        9211 Lake Hefner
Mickey Allmon                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins    Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mickey Allmon                         LLP                                Attn: Richard N Laminack                       5020 Montrose Blvd    9th Fl              Houston          TX      77006
Mickey Allmon                                                            404 Johnson Dr                                                                           Guthrie          OK      73034
MICKIE BYRD                                                              904 CONVEYOR DR                                                                          JOSHUA           TX      76058
MICRON CONSUMER PRODUCTS GROUP                                           12831 COLLECTIONS CENTER DR                                                              CHICAGO          IL      60693-0128
MICROSOFT CORPORATION                                                    PO BOX 842467                                                                            DALLAS           TX      75284-2103
MICROSOFT LICENSING GP                                                   1950 N STEMMONS FWY STE 5010                                                             DALLAS           TX      75207-3199
MICROSOFT SERVICES                                                       PO BOX DALL                                                                              DALLAS           TX      75284-4510
MID CONTINENT ENERGY INC                                                 3500 S BOULEVARD STE 3D                                                                  EDMOND           OK      73013-5417
MID CONTINENT II LLC                                                     600 TRAVIS STE 5100                                                                      HOUSTON          TX      77002
MID-BROOK ROYALTY LLC                                                    PO BOX 700180                                                                            TULSA            OK      74170
MIDCENTRAL ENERGY PARTNERS LP                                            PO BOX 258889                                                                            OKLAHOMA CITY    OK      73125-8889
MIDCENTRAL ENERGY PARTNERS LP                                            PO BOX 4779                                                                              TULSA            OK      74159-0779
MIDCON DATA SERVICES LLC                                                 13431 BROADWAY EXT STE 115                                                               OKLAHOMA CITY    OK      73114-2225
MIDCON ENERGY I LLC                                                      2431 E 61ST ST STE 850                                                                   TULSA            OK      74136-1236
                                                                                                                                            10th Fl, Two
Mid-Con Energy III, LLC               c/o McAfee & Taft                  Attn: Timothy Bomhoff                          211 N Robinson Ave. Leadership Square     Oklahoma City    OK      73102
                                                                                                                                            10th Fl, Two
Mid-Con Energy III, LLC               c/o McAfee & Taft                  Attn: J Todd Woolery                           211 N Robinson Ave. Leadership Square     Oklahoma City    OK      73102
Mid-Con Energy III, LLC                                                  2431 E 61st St                                 Ste. 850                                  Tulsa            OK      74136

Mid-Con Energy Operating LLC          c/o McAfee & Taft                  Attn: Timothy Bomhoff                          211 N Robinson Ave.                       Oklahoma City    OK      73102
                                                                                                                                            10th Fl, Two
Mid-Con Energy Operating LLC          c/o McAfee & Taft                  Attn: J Todd Woolery                           211 N Robinson Ave. Leadership Square     Oklahoma City    OK      73102
                                                                                                                                            10th Fl, Two
Mid-Con Energy Operating, LLC         c/o McAfee & Taft                  Attn: Timothy Bomhoff                          211 N Robinson Ave. Leadership Square     Oklahoma City    OK      73102
Mid-Con Energy Operating, LLC                                            2431 E 61st St                                 Ste. 850                                  Tulsa            OK      74136
                                                                                                                                            10th Fl, Two
Mid-Con Energy Properties, LLC        c/o McAfee & Taft                  Attn: Timothy Bomhoff                          211 N Robinson Ave. Leadership Square     Oklahoma City    OK      73102
                                                                                                                                            10th Fl, Two
Mid-Con Energy Properties, LLC        c/o McAfee & Taft                  Attn: J Todd Woolery                           211 N Robinson Ave. Leadership Square     Oklahoma City    OK      73102
Mid-Con Energy Properties, LLC                                           2431 E 61st St                                 Ste. 850                                  Tulsa            OK      74136
MID-CON EXPLORATION LLC                                                  PO BOX 2576                                                                              WOODWARD         OK      73802
MIDCON LAND SERVICES LLC                                                 PO BOX 31773                                                                             EDMOND           OK      73003-0030
MIDCON OIL TOOLS INC                                                     PO BOX 398                                                                               Great Bends      KS      67530
MIDCON SOLUTIONS LLC                                                     PO BOX 14874                                                                             OKLAHOMA CITY    OK      73113
MIDCON SUPPLY INC                                                        PO BOX 4470                                                                              TULSA            OK      74159-0470
MIDCONEX MINERALS INC                                                    PO BOX 109                                                                               EDMOND           OK      73083-0109
MID-CONTINENT II LLC                                                     PO BOX 671587                                                                            DALLAS           TX      75267-1587
MID-CONTINENT OILMEN                                                     PO BOX 16002                                                                             OKLAHOMA CITY    OK      73113-2002
MIDCONTINENT SAFETY                                                      PO BOX 201791                                                                            DALLAS           TX      75320-1791
MIDFIRST BANK                         ATTN: STEVEN JECH                                                                                                           OKLAHOMA CITY    OK      73118
Midstates Petroleum Company LLC       c/o Durbin Larimore & Bialick      Attn: E. Edd Pritchett Jr.                     920 N Harvey Ave                          Oklahoma City    OK      73102
                                                                                                                                            10th Fl, Two
Midstates Petroleum Company LLC       c/o McAfee & Taft                  Attn: Timothy Bomhoff                          211 N Robinson Ave. Leadership Square     Oklahoma City    OK      73102
Midstates Petroleum Company LLC       c/o The Doyle Firm PC              Attn: William H Doyle                          1313 E Osborn Rd    Ste. 220              Phoenix          AZ      85014
MIDSTATES PETROLEUM COMPANY LLC                                          321 S BOSTON AVE STE 600                                                                 TULSA            OK      74103-3310
Midstates Petroleum Company LLC                                          321 South Boston Ave                           Ste. 1000                                 Tulsa            OK      74103
MIDTOWN ENERGY I LLC                                                     PO BOX 291                                                                               OKLAHOMA CITY    OK      73101-0291
MIDWEST ENERGY CORPORATION                                               1703 E 30TH PLACE                                                                        TULSA            OK      74114
MIDWEST LAND LLC                                                         PO BOX 7644                                                                              EDMOND           OK      73083-7644
MIDWEST LITIGATION SERVICES AN AFFI                                      PO BOX 505247                                                                            ST LOUIS         MO      63150-5247


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MIDWEST RESOURCES 85-1 DRILLING PRO                                      PO BOX 76                                                                               ELM GROVE          WI    53122
                                                                                                                       9211 Lake Hefner
Migdriana Vega                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Migdriana Vega                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Migdriana Vega                                                           1107 E Lockheed Dr                                                                      Oklahoma City      OK    73110
MIGUEL B BERRY                                                           4805 SHORELINE CIRCLE                                                                   SANFORD            FL    32771-7119
                                                                                                                       9211 Lake Hefner
Miguel Calleja-Serrano                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Miguel Calleja-Serrano                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX   77006
Miguel Calleja-Serrano                                                   1811 N. Youngs Blvd                                                                     Oklahoma City      OK   73107
MIKAL MCCUBBINS                                                          3310 MCMURTRY ROAD                                                                      STILLWATER         OK   74075
MIKE & CHERYL KERR REV TRUST                                             PO BOX 143                                                                              MORRISON           OK   73061
MIKE & JANE HASKIN TRST                                                  4925 N W 34TH ST                                                                        OKLAHOMA CITY      OK   73122
MIKE & SANDRA MCCOOK FAMILY TRUST                                        2409 SANDPIPER ST                                                                       ENID               OK   73703
MIKE AMOS                                                                258 STATE ST                                                                            BOWLING GREEN      OH   43402-3254
MIKE BENDELE                                                             401 S SANDY LN                                                                          CHANDLER           OK   74834-9182
MIKE BILLINGS                                                            1204 NW 88TH STREET                                                                     OKLAHOMA CITY      OK   73114
MIKE BOLAY                                                               6501 INDEPENDENCE                                                                       PERRY              OK   73077
MIKE COATES                                                              20700 TUMBLEWOOD TERR                                                                   LUTHER             OK   73054-9808
                                                                                                                       9211 Lake Hefner
Mike Davis                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Mike Davis                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
MIKE DAVIS                                                               4125 NW 62ND TERR                                                                       OKLAHOMA CITY      OK    73112
Mike Davis                                                               6525 E. 26th Ct                                                                         Tulsa              OK    74129
MIKE DONLEY OIL & GAS COMAPNY LLC                                        6905 E 108TH ST                                                                         TULSA              OK    74133-7127
MIKE E & DEBBIE A FLOWERS JTWROS                                         PO BOX 1422                                                                             ADA                OK    74821-1422
MIKE ELDEN STATEN                                                        3707 TREEMONT COURT                                                                     COLLEYVILLE        TX    76034
MIKE FAIRCHILD                                                           72163 N. 2090 RD.                                                                       CAMARGO            OK    73835
MIKE FLOWERS                                                             PO BOX 1422                                                                             ADA                OK    74821-1422

MIKE FLOWERS & DEBBIE FLOWERS HWJT                                       PO BOX 1422                                                                             ADA                OK    74821
Mike Hazlip                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX    75070
Mike Hazlip                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK    74104
Mike Hazlip                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY    10017
Mike Hazlip                                                              42629 S. 34200 Rd                                                                       Pawnee             OK    74058
MIKE JORDAN COMPANY LLC                                                  6305 CLIFF DR                                                                           FORT SMITH         AR    72903-4975
MIKE KAUK                                                                ROUTE 2 , BOX 74                                                                        LEEDY              OK    73654
MIKE LEMARR                                                              1824 IRELAND RD                                                                         XENIA              OH    45385-9636
MIKE LEMASTER                                                            PO BOX 156                                                                              WEST YELLOWSTONE   MT    59758
MIKE MANNSCHRECK                                                         3413 CHOCTAW DR                                                                         EDMOND             OK    73013-6800
MIKE MCFADDEN                                                            PO BOX 382                                                                              EUFAULA            OK    74432
MIKE MCWHERTER                                                           60 YELLOW BRICK DR                                                                      STILLWATER         OK    74074
MIKE MORAVEC                                                             104 SIENNA WAY                                                                          ROGUE RIVER        OR    97537
MIKE MURPHY                                                              PO BOX 145                                                                              MARSHALL           OK    73056
MIKE ROSIERE                                                             914 W CHATBURN PL                                                                       STILLWATER         OK    74075-1742
MIKE STATEN                                                              3707 TREEMONT CT                                                                        COLLEYVILLE        TX    76034-8697
                                                                                                                       9211 Lake Hefner
Mike Steele                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK    73120

Mike Steele                           c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX    77006
Mike Steele                                                              18600 Hickory Hollow Dr                                                                 Harrah             OK    73045
MIKE TARRE A STRANGE JT                                                  14954 N 148TH EAST AVE                                                                  COLLINSVILLE       OK    74021
MIKE WARNOCK & LAURA WARNOCK                                             2647 GATEWAY RD SUITE 105-125                                                           CARLSBAD           CA    92009
MIKE WASS                                                                221 S 12TH ST APT N503                                                                  PHILADELPHIA       PA    19107
MIKE WASS                                                                7 BELLS CT                                                                              PHILADELPHIA       PA    19106-3804



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                                                                                                                       9211 Lake Hefner
Mike Assef                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mike Assef                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Mike Assef                                                               4209 Royal Ave                                                                         Oklahoma City     OK      73108
                                                                                                                       9211 Lake Hefner
Mike Baradaran                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mike Baradaran                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Mike Baradaran                                                           15800 Brenton Hills Ave                                                                Edmond            OK      73012
                                                                                                                       9211 Lake Hefner
Mike Coody                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mike Coody                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Mike Coody                                                               2009 Tracys Terrace                                                                    Edmond            OK      73013
                                                                                                                       9211 Lake Hefner
Mike Leard                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mike Leard                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Mike Leard                                                               1115 Magnolia Ct                                                                       Guthrie           OK      73034
MILAM SONS MINERALS LLC                                                  PO BOX 26                                                                              CHELSEA           OK      74016-0026
MILBANK                                                                  1 CHASE MANHATTAN PLAZA                                                                NEW YORK          NY      10005-1413
MILBURN MINERALS LLC                                                     7501 NALL AVE FL 2                                                                     PRAIRIE VILLAGE   KS      66208-4762
MILDRED A HARRIS                                                         PO BOX 889                                                                             JAMESTOWN         CA      95327-0889
MILDRED AUFLEGER                                                         PO BOX 244                                                                             CRESCENT          OK      73028
MILDRED BARNES FAMILY TRUST                                              PO BOX 272                                                                             HOBART            OK      73651
MILDRED CARR TRUST                                                       930 WEST FIRST STREET                                                                  FORTH WORTH       TX      76102
MILDRED CARVER                                                           1109 NW 43RD ST                                                                        OKLAHOMA CITY     OK      73118
MILDRED FAYE RYAN                                                        PO BOX 8                                                                               MULHALL           OK      73063
MILDRED GOLDTHORPE                                                       815 WOOD SORREL DR                                                                     PETALUMA          CA      94954-6857
MILDRED HARVEY                                                           9304 HIGH DRIVE                                                                        LEAWOOD           KS      66206
MILDRED I ELLINGTON ESTATE                                               100 NORTH MAIN 700                                                                     WICHITA           KS      67202-1384
MILDRED JONES                                                            1201 BRIARWOOD PL                                                                      EDMOND            OK      73034

MILDRED L STEINLE                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
MILDRED LANGDOC                                                          404 W ELM ST                                                                           HOOPESTON         IL      60942
MILDRED MANUEL                                                           121 N 13TH ST                                                                          VAN BUREN         AR      72956-4511
MILDRED MAXWELL                                                          PO BOX 1056                                                                            SEARCY            AR      72145-1056
MILDRED MIESNER                                                          12724 E LONGHORN TRAIL                                                                 FAIRMONT          OK      73736
                                                                                                                       9211 Lake Hefner
Mildred O'Steen                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Mildred O'Steen                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Mildred O'Steen                                                          10471 S 195th West Pl                                                                  Sapulpa           OK      74066
MILDRED RECKER                                                           PO BOX 889                                                                             JAMESTOWN         CA      95327-0889
MILDRED RODRIGUEZ                                                        2101 W UNIVERSITY AVE                                                                  STILLWATER        OK      74074
MILDRED RYAN                                                             PO BOX 8                                                                               MULHALL           OK      73063
MILDRED SEXTON                                                           2808 LONGVIEW RD                                                                       ANTIOCH           CA      74509
MILDRED STOCKTON                                                         1710 LEGION WAY                                                                        OLYMPIA           WA      98501
MILDRED STUART                                                           6843 S FLORENCE AVE                                                                    TULSA             OK      74136-4549
MILDRED WADE                                                             378 STONEWALL DRIVE                                                                    STREETMAN         TX      75859
MILES HUBSCHER                                                           1533 GLENBROOK DRIVE                                                                   OKLAHOMA CITY     OK      73118
MILES J MALY                                                             13215 E PHILLIPS AVE                                                                   ENID              OK      73701-1561
MILLARD ALVIN KEITH TR DTD 8-1-1996                                      52950 S 34200 RD                                                                       GLENCOE           OK      74032
MILLARD GIBBS                                                            307 CORDOVA COURT                                                                      SPRINGFIELD       MO      65802
MILLARD HOUSE                                                            1726 W WOODROW STREET                                                                  TULSA             OK      74127
MILLARD WAYNE & AMY V KEITH                                              824 W CHOCTAW LANE                                                                     STILLWATER        OK      74075
MILLER & COMPANY SANITATION SERVICE                                      2400 SHEPLER CHURCH AVE SW                                                             CANTON            OH      44706-4112
MILLER INVSTMNT PROPERTIES INC                                           PO BOX 20310                                                                           OKLAHOMA CITY     OK      73156-0310


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MILLER LIVING TRUST                                                      9717 S UNION RD                                                                        STILLWATER        OK      74074-8425
MILLER MILLER BRADWISH & MILLE                                           PO Box 2640                                                                            MIDLAND           TX      79702
MILLER MINERALS LLC                                                      4004 CHAMBERLYNE WAY                                                                   NORMAN            OK      73072-2266
Miller, Shane                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
Miller, Willis                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
MILLER-NORRIS SERVICES INC                                               PO BOX 272305                                                                          OKLAHOMA CITY     OK      73137-2305

MILLER-TIPPENS CONSTRUCTION COMPANY                                      45 NE 52ND ST                                                                          OKLAHOMA CITY     OK      73105
MILLIE PACE                                                              PO BOX 313                                                                             RIPLEY            OK      74062-0313
MILLIE WHITMORE                                                          ROUTE 5                                                                                STILLWATER        OK      74074
MILLSAP FAMILY MINERALS LLC                                              PO BOX 6011                                                                            LAWTON            OK      73506
MILO BECK                                                                4302 W VENUS WAY                                                                       CHANDLER          AZ      85226
MILROC                                                                   PO BOX 714                                                                             WOODWARD          OK      73802
MILROC                                                                   4700 Western Avenue                                                                    Woodward          OK      73801
MILTON BERRY                                                             4825 S PEORIA AVE, STE # 3                                                             TULSA             OK      74105
MILTON CHILTON                                                           PO BOX 60189 #3946                                                                     OKLAHOMA CITY     OK      73146
MILTON DEASON                                                            3808 DEASON DR                                                                         EDMOND            OK      73013-7742
MILTON HARBERT                                                           18 CHEYENNE TRAIL                                                                      MORIARTY          NM      87035
MILTON N GLUECK                                                          PO BOX 12051                                                                           SAN ANTONIO       TX      78212
                                                                                                                       9211 Lake Hefner
Milton T. Halleckson                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Milton T. Halleckson                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Milton T. Halleckson                                                     6225 SE 11th St                                                                        Oklahoma City     OK      73110
MIMI BRADFIELD                                                           PO BOX 86                                                                              SHINER            TX      77984-0086
MIMME GAUNT CHILDS                                                       1610 WOOD RIDGE CT                                                                     CORINTH           TX      76210-3067
MIMO 2012 OIL AND GAS LTD LLP                                            777 TAYLOR STREET SUITE 1030                                                           FORT WORTH        TX      76102
MINASIAN RENTAL LLC                                                      1006 S UNION RD                                                                        STILLWATER        OK      74076
MINDY ENDER                                                              PO BOX 283                                                                             COVINGTON         TX      73730
MINDY MCENTIRE                                                           760923 S KAYLA DR                                                                      AGRA              OK      74824
MINDYANNE E BARTON AS TRUSTEE OF                                         777 TAYLOR STREET, SUIT 1030                                                           FORT WORTH        TX      76102

MINERAL LAWYERS SOCIETY OF OKLAHOMA                                      10TH FLOOR TWO LEADERSHIP SQUARE                                                       OKLAHOMA CITY     OK      73102-7103
MINERALMEN LAND CO LLC                                                   PO BOX 9372                                                                            AMARILLO          TX      79105
MINERVA ROESLER                                                          13902 SAN SABA CANYON LN                                                               CYPRESS           TX      77429-6460
MINESHAFT ROYALTIES                                                      PO BOX 12705                                                                           DALLAS            TX      75225-0705
MING WEI WANG                                                            3211 E PEACHTREE AVENUE                                                                STILLWATER        OK      74074
MINH NGUYEN                                                              501 N. H ST                                                                            YALE              OK      74085
MINHEE CHANG                                                             1800 COOPERS POND RD                                                                   AUBURN            AL      36830-7278
Minnesota Dept of Commerce            Unclaimed Property Program         85 7th Place East, Ste 280                                                             St Paul           MN      55101-2198
MINNESOTA DEPT OF COMMERCE                                               85 7TH PLACE EAST STE 280                                                              SAINT PAUL        MN      55101
Minney, Corbin                        c/o White Star Petroleum, LLC      301 NW 63rd St                              Ste 600                                    Oklahoma City     OK      73116
MINNIE H OMMEN                                                           1221 S. 14TH                                                                           OKEMAH            OK      74859-9486
MINNIE L MILLER TRUST                                                    4401 ROCK CANYON ROAD                                                                  EDMOND            OK      73025
MINNIE L NELSON                                                          725 TUTTLE ST                                                                          MANHATTAN         KS      66502
MINNIE MARTIN                                                            444593 HIGHWAY 28                                                                      VINITA            OK      74301-7088
MINNIE NESTLER                                                           1712 S. 11TH AVENUE                                                                    ELDRIDGE          IA      52748
MINNIE TALLEY                                                            RR 3 BOX 287                                                                           COMANCHE          OK      73529
MINRI LLC                                                                171 PIER AVENUE, STE 359                                                               SANTA MONICA      CA      90405
MINUTEMAN PRESS                                                          300 N ANN ARBOR AVE                                                                    OKLAHOMA CITY     OK      73127-6308
MIRAMAR PROPERTIES LLC                                                   3860 GS RICHARDS BLVD                                                                  CARSON CITY       NV      89703-8422
MIRAMAR PROPERTIES LLC                                                   2601 HARRISON STE 200                                                                  WICHITA FALLS     TX      76308
MIRANDA PURCELL                                                          3061 N 100 E NORTH                                                                     OGDEN             VT      84414
MIRIAM CLAMITZ                                                           4461 S. LAKE WILSON ROAD                                                               FAYETTEVILLE      AR      72701
MIRIAM LEVY                                                              2847 N ELSTON AVE UNIT 7905                                                            CHICAGO           IL      60618
                                                                                                                     9211 Lake Hefner
Miryom Golden                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins Parkway                Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Miryom Golden                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006


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Miryom Golden                                                                          320 N. Cedar St E                                                                       Owasso            OK    74055

Mississipi Treasury Office of the State Treasurer   Unclaimed Property Division        501 North West Street Suite 1101                                                        Jackson           MS    39201
MISSOURI STATE TREASURER                                                               PO BOX 1272                                                                             JEFFERSON CITY    MO    65102
Missouri State Treasury                             Unclaimed Property Division        PO Box 210                                                                              Jefferson City    MO    65102
Misti Adamson                                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX    75070
Misti Adamson                                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK    74104
Misti Adamson                                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY    10017
Misti Adamson                                                                          258 East 1st St                                                                         Shidler           OK    74652
MISTI DOWNS                                                                            216 E 4TH ST                                                                            DRUMRIGHT         OK    74030-5004
MISTIE HIRZEL                                                                          2673 WEST SHADOW LANE                                                                   ANAHEIM           CA    92801
                                                                                                                                     9211 Lake Hefner
Mistie Winters                                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                                    c/o Laminack, Pirtle & Martines,
Mistie Winters                                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Mistie Winters                                                                         2129 Meridian Dr                                                                        Norman            OK    73071
MISTRY PARTNERS LLC RAJ B MISTRY                                                       1000 NW 69TH ST                                                                         OKLAHOMA CITY     OK    73116-7204
                                                                                                                                     9211 Lake Hefner
Misty B. Ellerby                                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                                    c/o Laminack, Pirtle & Martines,
Misty B. Ellerby                                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Misty B. Ellerby                                                                       202 SE Bruce St                                                                         Langston          OK    73050
Misty B. Ellerby                                                                       401 S. Oklahoma                                                                         Langston          OK    73050
MISTY CAPE                                                                             2401 Mesquite                                                                           Vernon            TX    76384
MISTY DAWN MURRAY HUDSON                                                               PO BOX 24                                                                               THOMAS            OK    73669
                                                                                                                                     9211 Lake Hefner
Misty Dawn Pritchard                                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                                    c/o Laminack, Pirtle & Martines,
Misty Dawn Pritchard                                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Misty Dawn Pritchard                                                                   9217 Sleepy Hollow Dr                                                                   Newalla           OK    74857
MISTY KENNEDY                                                                          9909 CARA LANE                                                                          YUKON             OK    73099
                                                                                                                                     9211 Lake Hefner
Misty Graham                                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                                    c/o Laminack, Pirtle & Martines,
Misty Graham                                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Misty Graham                                                                           624 Summer Dr                                                                           Edmond            OK    73025
                                                                                                                                     9211 Lake Hefner
Misty Snider                                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                                    c/o Laminack, Pirtle & Martines,
Misty Snider                                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Misty Snider                                                                           344845 E. 1064 Rd                                                                       Meeker            OK    74855
MITCH COUVILLION                                                                       5905 BRENTWOOD DRIVE                                                                    CRESTWOOD         KY    40014
MITCH HERRE                                                                            427 W 5TH ST                                                                            WHITEFISH         MT    59937
MITCH JOHNSON                                                                          PO BOX 58                                                                               BAKER CITY        OR    97814-0058
MITCH LYON                                                                             PO BOX 123                                                                              ANDOVER           KS    67002
MITCH MCCUISTIAN                                                                       2820 N HUNTLEIGH DR                                                                     OKLAHOMA CITY     OK    73120
MITCH MCPEEK                                                                           PO BOX 1074                                                                             GUTHRIE           OK    73044
MITCH PARSONS                                                                          2100 N LEVERETT AVE                                                                     FAYETTEVILLE      AR    72703-2235
MITCH ROSIERE                                                                          2851 LILEDAHL RD                                                                        DERIDDER          LA    70634-9156
MITCHELL AND VIRGINA LEONARD                                                           351 W CHARTER OAK RD                                                                    EDMOND            OK    73034
MITCHELL AVANT                                                                         11749 HACKNEY LN                                                                        YUKON             OK    73099
                                                                                                                                     9211 Lake Hefner
Mitchell C Elmore                                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                                    c/o Laminack, Pirtle & Martines,
Mitchell C Elmore                                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Mitchell C Elmore                                                                      18200 SE 89th St                                                                        Newalla           OK    74857
MITCHELL DEAN COMBS                                                                    7102 W COMBS DR                                                                         CUSHING           OK    74023-5870
MITCHELL EHRLICH OIL & GAS LLC                                                         216 VALLEY MEADOW DR                                                                    DECATUR           TX    76234
MITCHELL FAMILY REVOCABLE TRST                                                         4708 S COUNCIL CREEK RD                                                                 RIPLEY            OK    74062-6325


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                                                                                             White Star Petroleum, LLC
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              CreditorName                 CreditorNoticeName                         Address1                             Address2                 Address3            City   State       Zip       Country
MITCHELL FARM TRUST DTD 08.14.13                                        PO BOX 211                                                                             CALERA          OK      74730
MITCHELL HENDRICKSON                                                    2421 MELISSA LN                                                                        STILLWATER      OK      74074-8624
MITCHELL MINERALS LLC                                                   PO BOX 8                                                                               HASKELL         OK      74436
MITCHELL ROYALTY                                                        17878 WEST 77TH STREET NORTH                                                           HASKELL         OK      74436
MITCHELL ROYALTY LP                                                     17878 W 77TH ST N                                                                      HASKELL         OK      74436-5048

MITCHELL T MCCLAREN                                                     5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
MITCHELL TODD                                                           PO BOX 122                                                                             RIPLEY          OK      74062-0122

MITCHELL WILLIAMS SELGI GATES &                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
MITSUE NISHIMOTO                                                        4238 VIA-NORTE                                                                         CYPRESS         CA      90630
                                                                                                                      9211 Lake Hefner
Mitzi Potter                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Mitzi Potter                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Mitzi Potter                                                            10074 Ridgecrest Rd                                                                    Guthrie         OK      73034
MIV OPS INC                                                             9310 BROADWAY ST STE 204                                                               SAN ANTONIO     TX      78217-5919
MIZE TRANSPORT LLC                                                      PO BOX 1262                                                                            BLANCHARD       OK      73010
MJ ELECTRICAL LTD                                                       43 RUNDLESON WAY NE                                                                    CALGARY         AB      T1Y 3H7      CANADA
MJM PARTNERSHIP                                                         116 CHERRY LAUREL DR                                                                   COVINGTON       LA      70433
MJMP FAMILY LP                                                          13906 LONGWOOD DR                                                                      WILLIS          TX      77318
MJZ MINERALS LLC                                                        PO BOX 609                                                                             WALSH           CO      81090
MK DIRECTIONAL INC                                                      1309 S 15TH                                                                            CHICKASHA       OK      73018
MKB ENERGY LLC                                                          908 NW 71ST ST                                                                         OKLAHOMA CITY   OK      73116

MKB INVESTMENTS LTD                                                     5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
MKB ROYALTY CORP                                                        PO BOX 20732                                                                           OKLAHOMA CITY   OK      73156-0732
MKK PROPERTIES LLC                                                      7423 STONECREST DRIVE                                                                  DALLAS          TX      75254
MKS PROPERTIES LLC                                                      PO BOX 40                                                                              LAKE CHARLES    LA      70602
ML SERVICES LLC                                                         PO BOX 2407                                                                            ELK CITY        OK      73648-2407
MLB CONSULTING LLC                                                      PO BOX 2407                                                                            ELK CITY        OK      73648
MLR INC                                                                 PO BOX 389                                                                             EDMOND          OK      73083-0389
MLS CAPITAL LLC                                                         15743 TROON CT                                                                         NORTHVILLE      MI      48168-8477
MMJ PUMPS LLC                                                           PO BOX 38622                                                                           HOUSTON         TX      77238-8622
MOBILE ENERGY SERVICES LLC                                              RR 1 BOX 121 B                                                                         BALKO           OK      73931
MOBILE IRON INC                                                         415 E MIDDLEFIELD RD                                                                   MOUNTAIN VIEW   CA      94043-4005
MOBILE WATER SERVICES LLC                                               PO BOX 282                                                                             WYNONA          OK      74084-0282
MODENA AXTON                                                            3610 E ANDY KAY LN                                                                     STILLWATER      OK      74075
MODERN ENERGY LLC                                                       2317 EDMOND ROAD NE                                                                    PIEDMONT        OK      73078
MODESTO GUTIERREZ & PETRA ELIZONDO                                      900 NE 410 D-119                                                                       SAN ANTONIO     TX      78209
MODINA CHESMORE                                                         2390 14TH AVENUE                                                                       KINGSBURG       CA      93631
MODULAR SPACE CORPORATION                                               12603 COLLECTIONS CENTER DR                                                            CHICAGO         IL      60693-0126
                                                                                                                      9211 Lake Hefner
Mohammad Rahimi                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Mohammad Rahimi                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Mohammad Rahimi                                                         2305 W Lindsey St                                                                      Norman          OK      73069
MOLL FAMILIY TRUST                                                      PO Box 2640                                                                            MIDLAND         TX      79702
MOLLMAN'S WATER CONDITIONING                                            PO BOX 95247                                                                           OKLAHOMA CITY   OK      73143-5247
MOLLY CATHERINE LAMB                                                    136 FENNO STREET                                                                       QUINCY          MA      02170
MOLLY CYPERT                                                            2604 RIDGEWAY ST                                                                       ARDMORE         OK      73401-2902
MOLLY EPPS                                                              1902 INDIAN DR                                                                         ENID            OK      73703
MOLLY GRAY HARISH                                                       14 ROCKBROOK DRIVE                                                                     CAMDEN          ME      04843
MOLLY STERNBERG                                                         7447 KARLOV AVE                                                                        SKOKIE          IL      60076-3813
MON POWER                                                               PO BOX 3615                                                                            AKRON           OH      44309-3615
MONA CRUM                                                               631 ATLANTA PI                                                                         VAIL            AZ      85461
MONA HEIN                                                               4335 CANYON VIEW PL                                                                    WENATCHEE       WA      98801
MONA JONES                                                              7417 NW 107 ST                                                                         OKLAHOMA CITY   OK      73162
MONA STOCKBRIDGE                                                        930 LANCE DRIVE                                                                        BARSTOW         CA      92311


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MONARCH PETROLEUM HOLDING COMPANY                                      309 WEST 7TH STREET, STE. 910                                                           FORT WORTH       TX      76102
MONARCH RESOURCES LLC                                                  PO BOX 720070                                                                           OKLAHOMA CITY    OK      73172-0070
MONCRIEF BUILDING                                                      950 COMMERCE STREET                                                                     FORT WORTH       TX      76102-5418
MONCRIEF OIL & GAS MASTER LLC                                          MONCRIEF BUILDING                                                                       FORT WORTH       TX      76102-5418
MONDA L CLARK                                                          1711 RED FOX ROAD                                                                       EDMOND           OK      73034
MONICA BERRY                                                           PO BOX 351                                                                              STILLWATER       OK      74076-0351
MONICA CASEY                                                           916 S LINFORD                                                                           STILLWATER       OK      74074
MONICA COLLINS                                                         20298 E 850 RD                                                                          LEEDEY           OK      73654
MONICA GUENTHER                                                        269 E HODGEMAN RD                                                                       BOZEMAN          MT      59718
MONICA REMINGTON                                                       12022 SNOWCREST CT                                                                      TOMBALL          TX      77377
MONICA TERRILL                                                         2509 VIEW LAKE                                                                          SANTA ANA        CA      92705
MONNIE ALFRED MILLER AND                                               10909 S BRUSH CREEK RD                                                                  PERKINS          OK      74059-4364
MONROE COUNTY TRESURER                                                 101 N MAIN ST #21                                                                       WOODSFIELD       OH      43793
MONROE WATER SYSTEMS                                                   PO BOX 15                                                                               LAINGS           OH      43752-0015
MONSEES ENTERPRISES LLC                                                PO BOX 1294                                                                             ENID             OK      73702-1294
MONSTER ENERGY SERVICES LLC                                            PO BOX 1594                                                                             ELK CITY         OK      73648-1594
MONTALIVET NATUREL LLC                                                 14724 480TH AVE                                                                         MILBANK          SD      57252
Montana Dept of Revenue             Unclaimed Property                 PO Box 5805                                                                             Helena           MT      59604-5805
Montclair Energy LLC                c/o Durbin Larimore & Bialick      Attn: E. Edd Pritchett Jr.                    920 N Harvey Ave                          Oklahoma City    OK      73102
Montclair Energy LLC                c/o The Doyle Firm PC              Attn: William H Doyle                         1313 E Osborn Rd      Ste. 220            Phoenix          AZ      85014
MONTCLAIR ENERGY LLC                                                   1800 CANYON PARK CIR STE 405                                                            EDMOND           OK      73013-6631
Montclair Energy LLC                                                   3509 French Park Dr                           Ste. B                                    Edmond           OK      73034
Montclair Energy LLC                                                   1800 Canyon Park Cir                          #405                                      Edmond           OK      73013
MONTE ALLEN ANTHIS                                                     1816 COUNTY LOOP RD                                                                     SAGINAW          TX      76179
MONTE AND TINA J SIMMONS HWJT                                          5702 S JARDOT RD                                                                        STILLWATER       OK      74074-7230
MONTE ANTHIS                                                           630 S LAKOHOMA PLACE DR                                                                 MUSTANG          OK      73064
MONTE CLARK                                                            1719 OVERTON AVE                                                                        INDEPENDANCE     MO      64052
MONTE JESTES                                                           8603 E LAKEVIEW RD                                                                      STILLWATER       OK      74075
MONTE MORRIS                                                           1402 CHICKASAW DRIVE                                                                    ENID             OK      73703
                                                                                                                     9211 Lake Hefner
Montecella Driver                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Montecella Driver                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Montecella Driver                                                      620 N. 28th Pl West                                                                     Tulsa            OK      74127
MONTEGO ASSET MANAGEMENT LLC                                           214 W TEXAS AVE, SUITE 400                                                              MIDLAND          TX      79701
MONTEGO ENERGY PARTNERS LLC                                            PO Box 2640                                                                             MIDLAND          TX      79702
MONTGOMERY B NOELKE JR ESTATE                                          PO BOX 636                                                                              MERTZON          TX      76941-0636
MONTGOMERY BLACKWELL NOELKE JR                                         PO BOX 636                                                                              MERTZON          TX      76941
MONTGOMERY EXPLORATION COMPANY                                         2701 STATE STREET                                                                       DALLAS           TX      75204-2634
MONTGOMERY FAMILY TRUST #1                                             2701 STATE STREET                                                                       DALLAS           TX      75204-2634
MONTGOMERY FAMILY TRUST #2                                             2701 STATE STREET                                                                       DALLAS           TX      75204-2634
MONTGOMERY FONVILLE EXEMPT TRUST                                       PO Box 751                                                                              EL DORADO        AR      71731-0751
MONTGOMERY PETROLEUM                                                   4925 GREENVILLE AVE STE 915                                                             DALLAS           TX      75206-4021
MONTICELLO INVESTMENTS LLC                                             1430 SHERWOOD LN                                                                        NICHOLS HILLS    OK      73116-5634
                                                                                                                     9211 Lake Hefner
Montrose Waldron                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Montrose Waldron                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Montrose Waldron                                                       831 E 6th                                                                               Cushing          OK      74023
MONTY B MONCRIEF GRANTOR'S TRUST                                       777 TAYLOR ST, # 1030                                                                   FORT WORTH       TX      76102
MONTY DONNELLEY                                                        1630 CRON ST                                                                            AUGUSTA          KS      67010-1927
MONTY KAUK                                                             PO BOX 352                                                                              LEEDEY           OK      73654
MONTY L NORHEIM, PR                                                    200 EAST CENTRAL AVENUE                                                                 MISSOULA         MT      59801
Monty Lee Frichtman                 c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Monty Lee Frichtman                 c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Monty Lee Frichtman                 c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Monty Lee Frichtman                                                    5581 So. 353 Rd                                                                         Maramec          OK      74045
MONTY MATLOCK                                                          215 S HOPPY RD                                                                          STILLWATER       OK      74075


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MONTY MOELLER AND JANICE MOELLER                                            12501 KATHY LANE                                                                       GLENPOOL        OK      74033
MONTY WHITE                                                                 PO BOX 114                                                                             PADEN           OK      74860
MONTY WILLIAMS                                                              606 N COOLIDGE                                                                         ENID            OK      73073
MONY JAMES                                                                  2704 ECHO GLEN CIR                                                                     BRYAN           TX      77803
MONY JAMES                                                                  919 1ST ST                                                                             CHANDLER        OK      74834
MONZELL POLLMAN                                                             19708 E 42ND ST                                                                        BROKEN ARROW    OK      74014
MOODY'S INVESTORS SERVICE INC                                               PO BOX 102597                                                                          ATLANTA         GA      30368-0597
MOON FAMILY FARM LLC                                                        317 E UNIVERSITY                                                                       WAXAHACHIE      TX      75165
MOON ROYALTY LLC                                                            PO BOX 720070                                                                          OKLAHOMA CITY   OK      73172-0700
MOONBASE TECHNOLOGIES LLC                                                   3101 CARLTON WAY                                                                       OKLAHOMA CITY   OK      73120
MOORE CANDY LANE LLC                                                        2121 CANDY LANE                                                                        DEL CITY        OK      73115
MOORE FAMILY TRUST                                                          1705 EASTERN AVE                                                                       STILLWATER      OK      74074-6207
MORADO ENERGY PARTNERS LLC                                                  4925 GREENVILLE AVE STE 455                                                            DALLAS          TX      75206
MORAN-HARRISON LLC                                                          9911 S 67TH EAST PLACE                                                                 TULSA           OK      74133
MORDELL ENERGY LLC                                                          3926 WESTFIELD CT                                                                      FORT COLLINS    CO      80526-7413
MORENE RUTH WILLIAMS LIV TRUST                                              3637 S TRENTON AVE                                                                     TULSA           OK      74105-3233
MORENE WALSTON                                                              2923 HIGHWAY 159                                                                       MINDEN          LA      71055-6136
MORENE WILLIAMS                                                             5915 W 9TH ST                                                                          CUSHING         OK      74023-5806
MOREY FAMILY LLC                                                            BOX 1294                                                                               EDMOND          OK      73083
MOREY MCAFEE                                                                607 NE CORDER STREET                                                                   LEES SUMMITT    MO      64063

MORGAN ADELE KENNEDY MOODY MGMNT TR                                         2707 ALBANS ROAD                                                                       HOUSTON         TX      77005-1309
MORGAN FAMILY TRUST                                                         7809 E 68TH ST                                                                         STILLWATER      OK      74074-8450
MORGAN WAHL                                                                 18228 S ELDORITA PL                                                                    SAHUARITA       AZ      85629
Morgret, Caleb                      c/o White Star Petroleum, LLC           301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
MORINE A BOSTIAN LIFE ESTATE                                                4616 W 80TH ST                                                                         STILLWATER      OK      74074-8165
MORNING GLORY ROYALTIES LLC                                                 1720 S BELLAIRE STREET SUITE 1209                                                      DENVER          CO      80222
MORRIS BESLY FAMILY TRUST                                                   5746 PHILLIPS AVE                                                                      SYLVANIA        OH      43560
MORRIS CREIGHTON                                                            PO BOX 16268                                                                           GALVESTON       TX      77552
MORRIS HAPTONSTALL                                                          3802 W BIRCHFIELD RD                                                                   YAKIMA          WA      98901-9581
MORRIS O & G LLC                                                            PO BOX 1348                                                                            EDMOND          OK      73083
MORRIS PROPERTIES 08 LLC                                                    17178 W FM 1097 RD                                                                     MONTGOMERY      TX      77356-7425
Morris, Austin                      c/o White Star Petroleum, LLC           4615 W. Lakeview Rd                                                                    Stillwater      OK      74074
Mosher, Robin                       c/o White Star Petroleum, LLC           301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
MOSHI                                                                       221 MAIN ST STE 1630                                                                   SAN FRANCISCO   CA      94105-1948
MOSS FAMILY TRUST                                                           3008 S PAROTTE                                                                         AGRA            OK      74824-6213
MOSSLER ROYALTY LLC                                                         32179 L ROAD                                                                           HOTCHKISS       CO      81419
MOST EVE E MCGINNESS ST CAMILLUS                                            197 DAVEPORT MOUNTAIN RD                                                               BLUE RIDGE      GA      30513
MOSTAFA M AWAD                                                              PO BOX 1268                                                                            STILLWATER      OK      74076
MOTIE KUYKENDALL                                                            15110 PRESTON BLOOM CIR                                                                CYPRESS         TX      77429
MOTOWI, LLC                                                                 PO Box 350010                                                                          WESTMINSTER     CO      80035-0010
MOTT FAMILY TRUST DTD 8-17-2006                                             22315 E 520 RD                                                                         COLCORD         OK      74338
MOUNT MITCHELL ENERGY LLC                                                   6538 MOUNT MITCHELL ROAD                                                               EFLAND          NC      27243
                                                                                                                          9211 Lake Hefner
Mount Olive Baptist Church               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                         c/o Laminack, Pirtle & Martines,
Mount Olive Baptist Church               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Mount Olive Baptist Church                                                  1001 N Cleveland St                                                                    Cushing         OK      74023
MOUNT TEPEE LLC                                                             18932 SPRING CREEK LN.                                                                 CLAREMORE       OK      74017
MOUNT VERNON HOSPITAL                                                       12 N 7TH AVE                                                                           MOUNT VERNON    NY      10550
MOUNTAIN FRESH CANADA LTD.                                                  15 - 2928, 18th ST NE                                                                  CALGARY         AB      T2E 7B1      CANADA
MOUSER MINERALS LLC                                                         1401 VALLEY RIDGE RD                                                                   NORMAN          OK      73072
MOWERY FAMILY LIV TR 8-24-2017                                              PO Box 11534                                                                           FORT WORTH      TX      76110
MPC CONSULTING LLC                                                          306 STACY ST                                                                           WISTER          OK      74966-9596
MPK OIL AND GAS INC                                                         PO BOX 121043                                                                          Arlington       TX      76012
MPS ENTERPRISES, INC                                                        7607 W. INDUSTRIAL AVE                                                                 MILDLAND        TX      79706
MPW MINERALS LLC                                                            PO BOX 20522                                                                           OKLAHOMA CITY   OK      73156
MR OOLEY'S                                                                  1901 NW EXPRESSWAY STE 1023A                                                           OKLAHOMA CITY   OK      73118-9257
MR. & MRS. DAN L BEASLEY &                                                  26151 CR 180                                                                           PERRY           OK      73077


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MR. & MRS. GARY EARL BROWN AND                                        PO BOX 643                                                            FRIONA             TX      79035-0643
MR. & MRS. MARGARET J                                                 3016 OAKMOUNT DRIVE                                                   EDMOND             OK      73013
MR. & MRS. REBEKAH S                                                  5019 PINTO DR                                                         STILLWATER         OK      74074
MRBR REAL ESTATE LLC                                                  333 LAKE HAVEN COURT                                                  ALEDO              TX      76008
MRC GLOBAL US INC                                                     PO BOX 204392                                                         DALLAS             TX      75320-4392
MRR ENERGY LLC                                                        5926 BALCONES DR, STE 240                                             AUSTIN             TX      78731
MRS G W MONTGOMERY                                                    933 TAYLOR AVENUE NW                                                  PIEDMONT           OK      73078-7809
MSC-I LTD                                                             4311 W LOVERS LN STE 200                                              DALLAS             TX      75209
MSI INSPECTION SERVICE LLC                                            PO BOX 6183                                                           EDMOND             OK      73083-6183
MSM OILFIELD SERVICES                                                 PO BOX 13178                                                          OKLAHOMA CITY      OK      73113-1178
MSR PROPERTIES                                                        1707 GUILFORD LN                                                      NICHOLS HILLS      OK      73120
MT HOPE CEMETERY                                                      7624 W DEEPROCK                                                       RIPLEY             OK      74062-6445
MTMJ TRUST DTD 12-31-87                                               PO BOX 5890                                                           EDMOND             OK      73083
MTR PROPERTIES LLC                                                    PO BOX 1037                                                           WEATHERFORD        OK      73096
MUDD PRINT & PROMO LLC                                                PO BOX 5578                                                           EDMOND             OK      73083-5578
MUFG UNION BANK NA                                                    500 N AKARD STE 4200                                                  DALLAS             TX      75201
MUFG Union Bank, N.A.                 Attn: David Helffrich           500 North Akard St.                   Suite 4200                      Dallas             TX      75201
MUFG Union Bank, N.A.                 Attn: Randall Osterberg         500 North Akard St.                   Suite 4200                      Dallas             TX      75201
MUIRFIELD RESOURCES COMPANY                                           PO BOX 3166                                                           TULSA              OK      74101
MUKESH SHETH                                                          5109 SILVERLAKE DR                                                    PLANO              TX      75093
MULESHOE LAND & CATTLE CORP                                           29950 CR 60                                                           ORLANDO            OK      73073
MULHALL VOLUNTEER FIRE DEPARTMENT                                     PO BOX 197                                                            MULHALL            OK      73063
MULHALL-ORLANDO PUBLIC SCHOOLS                                        PO BOX 127                                                            MULHALL            OK      73063
MULLALLY FAMILY OIL AND GAS LLC                                       5100 N BROOKLINE AVE SUITE 1000                                       OKLAHOMA CITY      OK      73112
MULLER MINERALS LLC                                                   12800 WILLIAMS CT                                                     OKLAHOMA CITY      OK      73142
MULLINS SALVAGE INC                                                   8223 E MAIN ST                                                        CUSHING            OK      74023
MULTI-CHEM GROUP LLC                                                  PO BOX 301341                                                         DALLAS             TX      75303-1341
                                      Allen R. Neel, President and
Multi-Shot LLC                        Director                        3335 Pollok Drive                                                     Conroe             TX      77303
MULTI-SHOT LLC                                                        PO BOX 201567                                                         DALLAS             TX      75320-1567
MUNDY BERRONG GREEN                                                   PO BOX 606                                                            WEATHERFORD        OK      73096
MUNGER OIL INFORMATION SERVICE INC                                    HC 1 BOX 1205                                                         JOSHUA TREE        CA      92252-9710
MUNSON & RITTER                                                       247 N BROADWAY                                                        EDMOND             OK      73034
MURAS ENERGY INC                                                      PO BOX 5525                                                           EDMOND             OK      73083-5525
MURDOCK OPERATING 2                                                   PO BOX 840738                                                         DALLAS             TX      75284
MURIEL ADAMS                                                          10701 S. WASHINGTON                                                   PERKINS            OK      74059
MURIEL GILLIAM                                                        3502 W 24 AVENUE                                                      STILLWATER         OK      74074
MURIEL JONES                                                          830 BISHOPS LODGE RD                                                  SANTE FE           NM      87501
MURL STAFFORD                                                         PO BOX 130472                                                         TYLER              TX      75713
MURL STEWART                                                          8261 WINSTEWART ROAD                                                  GEROGETOWN         IN      47122
MURLIN FAMILY REVOCABLE TRUST                                         14404 PONY RD                                                         OKLAHOMA CITY      OK      73134
MURPHY FAMILY INVESTMENTS LLC                                         PO BOX 540                                                            MIDVALE            UT      84047-0540
MURPHY GIFTING TRUST                                                  733 GENERAL SENTER DRIVE                                              MIDWEST CITY       OK      73110
MURRAY BLOSE FAMILY TRUST                                             5217 S UNION RD                                                       STILLWATER         OK      74074-8459
MURRAY LAND AND ENERGY LLC                                            PO BOX 181302                                                         DALLAS             TX      75218-8302
MURRAY SERVICES INC                                                   PO BOX 1019                                                           HINTON             OK      73047-1019
MURRAY STREET INVESTMENTS LLC                                         11653 THISTLE HILL PL                                                 SAN DIEGO          CA      92130
Murthy, Prithvi                       c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                         Oklahoma City      OK      73116
MUSKEGON DEVELOPMENT CO                                               1425 S MISSION RD                                                     MT PLEASANT        MI      48858
                                    ATTN: CONSERVATION
MUSKINGUM WATERSHED CONSERVANCY DIS DISTRICT                                                                                                NEW PHILADELPHIA   OH      44663-0349

MUSTANG FIRST CHURCH OF THE NAZAREN                                   700 E HIGHWAY 152                                                     MUSTANG            OK      73064
MUSTANG FUEL CORPORATION                                              9800 N OKLAHOMA AVE                                                   OKLAHOMA CITY      OK      73114
MUSTANG FUEL MARKETING COMPANY                                        13439 BROADWAY EXTENSION                                              OKLAHOMA CITY      OK      73116
MUSTANG GAS PRODUCTS LLC                                              9800 NORTH OKLAHOMA AVENUE                                            OKLAHOMA CITY      OK      73114
MUSTANG HEAVY HAUL LLC                ATTN: Mardi Ford de Verges      4905 S Perkins Rd                                                     Stillwater         OK      74074
MUSTANG HEAVY HAUL LLC                                                PO BOX 691017                                                         TULSA              OK      74169-1017



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Mustang Heavy Haul, LLC               c/o Crowe & Dunlevy PC             Attn: Michael Pacewicz                        500 Kennedy Building 321 S. Boston Ave   Tulsa             OK      74103
MUSTANG MINERALS LLC                                                     PO BOX 2073                                                                            EDMOND            OK      73083
MUSTANG MINERALS LLC                                                     PO BOX 51223                                                                           LAFAYETTE         LA      70505-1223
MW OIL INVESTMENT CO. INC                                                PO BOX 350010                                                                          WESTMINSTER       CO      80035-0010
MYDA LEWIS                                                               1518 HANSON CIR                                                                        STILLWATER        OK      74075-8201
MYRA B WARD                                                              PO BOX 1187                                                                            ENID              OK      73702-1187
MYRA B WARD HOLDINGS LLC                                                 PO BOX 1187                                                                            ENID              OK      73702-1187
MYRA B WARD REV TRUST                                                    PO BOX 1187                                                                            ENID              OK      73702
                                                                                                                       9211 Lake Hefner
Myra I. Polin                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Myra I. Polin                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Myra I. Polin                                                            3203 SE 14th St                                                                        Smith Village     OK      73115
Myra Reid                             c/o Keith A. Ward, PLLC            Attn: Keith A Ward                            1874 S Boulder                           Tulsa             OK      74119
Myra Reid                             c/o Poynter Law Group              Attn: Scott E Poynter                         400 W Capitol Ave    Ste. 2910           Little Rock       AR      72201
                                      c/o Steel Wright Gray & Hutchinson
Myra Reid                             PLLC                               Attn: Nate Steel                              400 W Capitol Ave    Ste. 2910           Little Rock       AR      72201
Myra Reid                             c/o Watson & Watson                Attn: Charles D Watson Jr.                    PO Box 647           141 E Broadway St   Drumright         OK      74030
Myra Reid                             c/o Weitz & Luxenberg, PC          Attn: Curt D Marshall                         700 Broadway                             New York          NY      10003
Myra Reid                                                                202 N. Harrison Ave                                                                    Cushing           OK      74023
MYRIAD GARDENS FOUNDATION                                                301 W RENO AVE                                                                         OKLAHOMA CITY     OK      73102-5030
MYRL MILLER                                                              830659 S 3400 RD                                                                       CHANDLER          OK      74834
MYRLE LADD ESTATE - DECEASED                                             ROUTE 2, BOX 174                                                                       VICI              OK      73859
MYRNA HEIRS OF                                                           465 W 3RD STREET                                                                       MESA              AZ      85201-6517
MYRNA HERSHBERGER                                                        511 W ANTELOPE                                                                         GIRARD            KS      66743
MYRNA J BEAN                                                             1002 ANNAKAY DR                                                                        CHANDLER          OK      74834
MYRNA MILLER                                                             PO BOX 204                                                                             BROKEN BOW        OK      74728
MYRNA POLLARD LIFE ESTATE                                                503 N MANNING DR                                                                       HENNESSEY         OK      73742
MYRNA TENBROOK                                                           1334 E JACKSON ST                                                                      MEDFORD           OR      97504-7032
MYRON MONTOYA                                                            4100 DREXMORE RD                                                                       FORT WORTH        TX      76244-6640
MYRTICE JACKSON                                                          1036 NE SAVAGE ST                                                                      GRANTS PASS       OR      97526
MYRTLE BRAUN                                                             11800 SE 156TH STREET                                                                  OKLAHOMA CITY     OK      73165
MYRTLE CLINGENPEEL                                                       8324 NW 35TH ST                                                                        BETHANY           OK      73008
MYRTLE GALBRAITH                                                         2648 GRIFFIN AVE                                                                       LOS ANGELES       CA      90031
MYRTLE TUCKER                                                            6721 NW 11TH ST                                                                        OKLAHOMA CITY     OK      73127
MYRTLE WARDELL ESTATE                                                    206 N CROWNPOINT DRIVE                                                                 ADA               OK      74820-4414
N SHIRES                                                                 1804 KINGS RD                                                                          EDMOND            OK      73013
N. L. PREGLER COMPANY                                                    PO BOX 1722                                                                            TULSA             OK      74101

NABORS COMPLETION AND PRODUCTION SE                                      PO BOX 975682                                                                          DALLAS            TX      75397-5682
NACE FORMAGUS                                                            2905 HANOVER ST                                                                        DALLAS            TX      75225
NADA MORRIS                                                              993 S SANTA FE AVE STE C                                                               VISTA             CA      92083
NADA SHULTS                                                              849 HAVENWOOD LANE                                                                     FORT WORTH        TX      76112
NADA WASHABAUGH                                                          2405 SE Century Blvd Apt. 117                                                          Hillsboro         OR      97123
NADEL AND GUSSMAN ENERGY LLC                                             15 E 5TH STREET SUITE 3300                                                             TULSA             OK      74103
NADINE BAKOS                                                             809 KINGSFORD STREET                                                                   MONTEREY PARK     CA      91754-2662
NADINE CAROLINE WISLER ESTATE                                            5616 W 7TH AVE                                                                         STILLWATER        OK      74074
NADINE GAGE                                                              PO BOX 85                                                                              PIERRE PART       LA      70339
NADINE LEWIS                                                             17984 CR 1100                                                                          FLINT             TX      75762
NADINE ROSE WHITE                                                        5304 N LEONARD AVE                                                                     CLOVIS            CA      93619-9230
NADINE TODD                                                              2525 RIDGMAR BLVD                                                                      FORT WORTH        TX      76116
NADINE WILLIS                                                            4309 SE 12TH ST                                                                        DEL CITY          OK      73115
NADOA                                                                    PO BOX 44009                                                                           DENVER            CO      80201
NAGINDAS MODI                                                            3601 EAST HWY 180                                                                      MINERAL WELLS     TX      76067
                                      Kent Highfill, Senior District
Nalco Company                         Account Manager                    GM 1601 West Diehl Road                                                                Naperville        IL      60563-1198
NALCO COMPANY                                                            PO BOX 730005                                                                          DALLAS            TX      75373-0005
Nallavelli, Sudheer                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116


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NAN MOSS                                                               309 EASTWOOD AVE                                                                       FORT WORTH      TX      76107
NAN STERKEL                                                            906 FURROW DR                                                                          GUTHRIE         OK      73044
NAN SWANK                                                              1009 W 44TH AVE                                                                        STILLWATER      OK      74074
NANCIE VAUGHN                                                          8225 N 111TH LN                                                                        PEORIA          AZ      85345
NANCY A LEDINGTON                                                      1151 VILLAS CREEK DR                                                                   EDMOND          OK      73003
NANCY ABERG                                                            PO BOX 269                                                                             GREENVIEW       CA      96037
NANCY ABLES                                                            521 CASTLEMAINE CIR                                                                    LONGVIEW        TX      75605-3753
NANCY ADELE SAUNDERS                                                   606 RIDGEMONT AVENUE                                                                   SAN ANTONIO     TX      78209
NANCY AGAN                                                             6608 SHADY OAKS DR                                                                     SAN ANGELO      TX      76904-9321
NANCY ALLEN                                                            220 DEER FRST                                                                          KINGSLAND       TX      78639-5803
NANCY AND LOUIE E REEDY                                                PO BOX 245                                                                             AGRA            OK      74824-0245
NANCY ANN GIBSON TRUST                                                 PO BOX 1770                                                                            CUSHING         OK      74023-1770
NANCY ANN WALTON JURKOSHEK                                             1119 FOREST TRAILS DRIVE                                                               CASTLE PINES    CO      80108
NANCY B ANDERSON REV LVNG TRST DT                                      5912 COUNTY ROAD 262                                                                   EAST BERNARD    TX      77435-7714
NANCY BEATTY                                                           1932 NW 21ST                                                                           OKLAHOMA CITY   OK      73106
NANCY BETLACH                                                          101 WORTHY CIR                                                                         FENTON          MO      63026-2764
NANCY BOYNTON                                                          107 PINE CHEE RD                                                                       OROVILLE        WA      98844
NANCY BROWNE                                                           1405 WATEREE TRL                                                                       HARTSVILLE      SC      29550
NANCY BURNHAM                                                          209 SOUTH COLLEGE STREET                                                               MOUNTAIN HOME   AR      72653
NANCY BUTLER                                                           18209 FRANKFORD LAKES CIR                                                              DALLAS          TX      75252
NANCY BUTLER                                                           707 IRVING BLUFF                                                                       SHREVEPORT      LA      71107

NANCY C SHELLEY                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        OK      75070
NANCY CARRUTH                                                          2001 W PRINCETON CIRCLE APT 1318                                                       BROKEN ARROW    OK      74012
NANCY CLARK                                                            6254 S SENECA ST                                                                       WICHITA         KS      67217
NANCY COKER                                                            11543 E 7TH ST                                                                         TULSA           OK      74128-3405
NANCY COURTRIGHT                                                       1700 WILLOW WAY                                                                        GOLDEN          CO      80401-3546
NANCY CRENSHAW                                                         724 S WASHINGTON ST                                                                    STILLWATER      OK      74074-4538
NANCY CURRIER                                                          21303 PADDOCK CV                                                                       LAGO VISTA      TX      78645-4926
NANCY DAVIS                                                            34 ARROWHEAD CR                                                                        ASHLAND         MA      01721
NANCY DONNELLEY                                                        10917 WINDMILL FARMS RD                                                                MIDWEST CITY    OK      73130-4122
NANCY DRYDEN                                                           PO BOX 1035                                                                            STILLWATER      OK      74076
NANCY DURFEE                                                           43297 W OLSTER DRIVE                                                                   MARICOPA        AZ      85138
NANCY E KRAMER                                                         1014 S ACORN LN                                                                        STILLWATER      OK      74074-6591
NANCY EARP                                                             4140 W REDFIELD ROAD                                                                   PHOENIX         AZ      85053
NANCY EDWARDS                                                          1401 18TH ST                                                                           OREGON CITY     OR      97045
NANCY EISEN                                                            106 COREOPSIS WAY                                                                      GEORGETOWN      TX      78633
NANCY ELLEN GRIFFITH KRAMER                                            1014 S ACORN LN                                                                        STILLWATER      OK      74074-6591
NANCY EUSTICE                                                          1921 S YELLOWOOD AVE                                                                   BROKEN ARROW    OK      74012
NANCY FITZPATRICK                                                      19153 AVE OF THE OAKS UNIT A                                                           NEWHALL         CA      91321
NANCY FLOCK                                                            453 S-7 RD                                                                             MORRILL         NE      69358
NANCY FRANKLIN                                                         3400 N OAK AVE                                                                         BROKEN ARROW    OK      74012-0702
NANCY G KAUK                                                           203737 E 820 ROAD                                                                      LEEDEY          OK      73654
                                                                                                                     9211 Lake Hefner
Nancy G. Leslie                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Nancy G. Leslie                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Nancy G. Leslie                                                        16120 S. Elwood Ave                                                                    Glenpool        OK      74033
NANCY GARRETT ANGELO                                                   747 JAMES DR                                                                           RICHARDSON      TX      75080
NANCY GIRARD                                                           PO BOX 1674                                                                            CAMP VERDE      AZ      86322
NANCY GLADIN                                                           2917 US 40                                                                             OAKLEY          KS      67748
NANCY GOLDEN                                                           PO BOX 40                                                                              BUNCH           OK      74931
NANCY GRAHAM                                                           1832 COTTONWOOD DR                                                                     EUFAULA         OK      74432-9674
NANCY GRAHAM                                                           21 WELLSTREAM LN                                                                       PALM COAST      FL      32164
NANCY GRIPE                                                            525 STONEMILL BLVD                                                                     YUKON           OK      73099-5774
NANCY HEFLIN                                                           4931 HODGKINS RD                                                                       FORT WORTH      TX      76135
NANCY HELEN JARVIS                                                     510 BERRY LANE                                                                         CHANDLER        OK      74834
NANCY IRELAND                                                          1510 WOODLAND DR                                                                       TYLER           TX      75703
NANCY J LEAKE REV TRUST                                                11 GLENBROOK                                                                           BENTONVILLE     AR      72712


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NANCY J PORTER                                                           PO BOX 163                                                                             TRYON              OK    74875
                                                                                                                       9211 Lake Hefner
Nancy J. Dye                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Nancy J. Dye                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Nancy J. Dye                                                             512 N Park St                                                                          Guthrie            OK    73034
NANCY JACKSON                                                            17704 MASI LOOP                                                                        PFLUGERVILLE       TX    78660
NANCY JANE WILLIAMS                                                      1205 MOCKINGBIRD LANE                                                                  LAKEPORT           CA    95453
NANCY JENNINGS                                                           31 DIVISION ST                                                                         MANSON             WA    98831-9717
NANCY JO BERNARD REV TRUST                                               1406 TERRACE DRIVE                                                                     TULSA              OK    74104-4626
NANCY JO DAVIS PETERSON                                                  4418 WESLEY ST                                                                         CORPUS CHRISTI     TX    78412
NANCY JOHN                                                               4509 Birchman Avenue                                                                   Fort Worth         TX    76107
NANCY JOHNSON                                                            1570 S QUEBEC WAY #62                                                                  DENVER             CO    80231
NANCY JOHNSON                                                            52478 WYNBROOKE CT                                                                     GRANGER            IN    46530-7857
NANCY JOHNSON                                                            7903 N 127TH E AVE                                                                     OWASSO             OK    74055
NANCY JOHNSON                                                            RT 2 BOX 19A                                                                           SPRINGDALE         AR    72762
NANCY JONES                                                              16313 EULER RD.                                                                        BOWLING GREEN      OH    43402
NANCY KATE SMITH                                                         1263 OAKRIDGE DR                                                                       GLENDALE           CA    91205
NANCY KING                                                               19371 US HWY 69 S                                                                      ALTO               TX    75925
NANCY KRUGLER                                                            131 TOM GRIFFIN RD.                                                                    BYRDSTON           TN    38548-4836
NANCY LAVERN ANTHIS                                                      1816 COUNTY LOOP RD                                                                    SAGINAW            TX    76179
NANCY LEE CHIPUKITES FAMILY TRUST D                                      3112 W GRANDSTAFF                                                                      CUSHING            OK    74023-5681
NANCY LOVE                                                               2255 75TH ST                                                                           BOULDER            CO    80301-4628
NANCY LYLES                                                              123 W 32ND AVE                                                                         STILLWATER         OK    74074
NANCY M FRAZEUR                                                          66539 PONDEROSA LOOP                                                                   BEND               OR    97703
NANCY MARCHELL                                                           PO BOX 1942                                                                            MANHATTAN          KS    66505-1942
NANCY MARIE KNIGHT-STEWART                                               6738 EL MONTE ST                                                                       PRAIRIE VILLAGE    KS    66208-1623
NANCY MARTIN                                                             305 W 43RD ST                                                                          SAND SPRINGS       OK    74063-3225
NANCY MARTIN & ANGELA STANDISH, JTS                                      146 N HARBOR WATCH DRIVE                                                               STATESVILLE        NC    28677
NANCY MARTINDALE CANTWELL                                                4664 HEMLOCK                                                                           PEQUOT LAKES       MN    56472
NANCY MCFARLIN                                                           617 E OAK ST                                                                           CUSHING            OK    74023
NANCY MCVEIGH                                                            PO BOX 3305                                                                            HARBOR             OR    97415
NANCY MITCHELL                                                           13923 E 74TH ST                                                                        CUSHING            OK    74023

NANCY N HAMMOND                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX    75070
NANCY NEIL SCHWEIGER                                                     5111 SPRINGFIELD CT                                                                    WESTERVILLE        OH    43081-4443
NANCY P GREENAWALT                                                       PO BOX 160                                                                             EL PRADO           NM    87529
NANCY PATRICIA EDWARDS                                                   333 8TH ST SE #508                                                                     WASHINGTON         DC    20003
NANCY PROCTOR                                                            PO BOX 450069                                                                          GROVE              OK    74345-0069
NANCY PRUETT                                                             1210 ST ANDREWS DR                                                                     EDMOND             OK    73025
NANCY PUCKETT CLINE                                                      6402 VIRGINIA FIELDS DRIVE                                                             KATY               TX    77494
NANCY R WADE REV LIVING TRUST                                            1376 E 26TH PL                                                                         TULSA              OK    74114
                                                                                                                       9211 Lake Hefner
Nancy R. Maxey                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Nancy R. Maxey                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Nancy R. Maxey                                                           9301 Sleepy Hollow Dr                                                                  Newalla            OK    74857
NANCY RALLS                                                              10248 CANDLEWYCK ST                                                                    FORT WORTH         TX    76244-5037
NANCY S BORDEN TRUST                                                     PO BOX 61539                                                                           COLORADO SPRINGS   CO    80960
NANCY SCHAFROTH                                                          585 LOST LAKE RD                                                                       INTERLOCHEN        MI    49643
NANCY SEELY                                                              12601 MEADOWS DR                                                                       OKLAHOMA CITY      OK    73120-1764
NANCY SHELLEY                                                            3820 NORTH WAYSIDE LN                                                                  GRAND CHUTE        WI    54913
NANCY SHELTON                                                            PO BOX 850868                                                                          YUKON              OK    73085
NANCY SIGL                                                               9103 S COLTRANE RD                                                                     GUTHRIE            OK    73044
NANCY STEEN                                                              5006 MORRIS HEIGHTS DR                                                                 ARLINGTON          TX    76016-2958
NANCY SUE CLARK                                                          5809 CARDIGAN DR                                                                       PLANO              TX    75093
NANCY THOMAS                                                             6004 AMBERWOOD CT                                                                      ARLINGTON          TX    76016
NANCY THOMPSON                                                           106 DUNVEGAN WOODS DR                                                                  HAMPTON            NH    03842
NANCY W KIMBALL LIVING TR DTD 10-28                                      4905 WELLMAN WAY                                                                       NORMAN             OK    73072


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NANCY WAHL                                                          18228 S ELDORITA PL                                                                    SAHUARITA         AZ    85629
                                                                                                                  9211 Lake Hefner
Nancy Walter                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                 c/o Laminack, Pirtle & Martines,
Nancy Walter                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Nancy Walter                                                        3247 E. 61st Pl                                                                        Tulsa             OK    74136
NANCY WARD                                                          1374 HOLLAND CT                                                                        SAN JOSE          CA    95118
NANCY WEAVER                                                        4825 REESE RD                                                                          TORRANCE          CA    90505-3301
NANCY YVONNE BECK                                                   619 E COLLEGE AVE                                                                      GURHRIE           OK    73044
                                                                                                                  9211 Lake Hefner
Nancy Orendorff                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                 c/o Laminack, Pirtle & Martines,
Nancy Orendorff                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Nancy Orendorff                                                     16009 Brenton Ct                                                                       Edmond            OK    73013
NANETTE COOLEY                                                      374046 E 1190 RD                                                                       WETUMKA           OK    74883-4615
NANETTE KAY BUGG                                                    17903 E. 93RD STREET NORTH                                                             OWASSO            OK    74055
NANETTE SUZANNE CAIN                                                5594 MADRONO PLACE                                                                     ATASCADERO        CA    93422
NANNIE LOUISE HARRIS                                                2928 S EVERTT AVE                                                                      WICHITA           KS    67217
NANOMETRICS                                                         250 HERZBERG ROAD                                                                      KANATA            ON    K2K 2A1      CANADA
NAOMA SQUIRES REVOCABLE TRUST                                       ROUTE 1, BOX 25                                                                        TALOGA            OK    73667
NAOMI BUNTIN                                                        222 E CANVILLE ST                                                                      ERIE              KS    66733-1220
NAOMI COMBS                                                         1115 E 5TH ST                                                                          CUSHING           OK    74023-4505
NAOMI COPELAND                                                      802 RUSTIC RD                                                                          ARDMORE           OK    73401-7185
NAOMI HOWE                                                          PO BOX 1113                                                                            ELKHART           KS    67950
NAOMI JONES                                                         15301 W 16TH ST                                                                        SAND SPRINGS      OK    74063-4202
NAOMI KANGAS                                                        17189 W LEWIS LN                                                                       CALDWELL          ID    83607
NAOMI ROWDEN                                                        217 E SULLIVAN AVE                                                                     MULHALL           OK    73063
NAOMI SUMNER                                                        5607 MARITA LN                                                                         COLUMBUS          OH    43235-7120
NAP USA INC                                                         PO BOX 835185                                                                          RICHARDSON        TX    75083
NAPAH CORPORATION                                                   900 S. LINCOLN                                                                         AMARILLO          TX    79101-3638
NAPE EXPO                                                           PO BOX 224531                                                                          DALLAS            TX    75222-4531
NASA WOFFORD                                                        7811 E 129 RD                                                                          HOLDENVILLE       OK    74848
NATALIA DONBRINSKA                                                  3050 N JONES BLVD APT 1092                                                             LAS VEGAS         NV    89108-6555
NATALIE KAY STARFISH                                                4626 ROCKPINE DRIVE                                                                    NORTH LAS VEGAS   NV    89081
NATALIE MYERS                                                       1711 S MUSKOGEE PL                                                                     CLAREMORE         OK    74019-3540
NATALIE NIDA HARDIN TR                                              1905 E COLLEGE AVE                                                                     GUTHRIE           OK    73044
NATALIE SCOTT                                                       498 CAMDEN COURT                                                                       LEMOORE           CA    93245
NATALIEMAI LLC                                                      1510 E BATES AVE                                                                       ENGLEWOOD         CO    80113-3006
                                                                                                                  9211 Lake Hefner
Natasha Lefear                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                 c/o Laminack, Pirtle & Martines,
Natasha Lefear                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Natasha Lefear                                                      7412 NW 18th St                                                                        Bethany           OK    73008
NATHAN & RENEA MULLINS H&W                                          19900 COUNTY ROAD 200                                                                  PERRY             OK    73077
NATHAN BELLER                                                       1704 S PERKINS RD                                                                      STILLWATER        OK    74074
NATHAN CROSS                                                        1015 N 3RD ST                                                                          STROUD            OK    74079
                                                                                                                  9211 Lake Hefner
Nathan Harris                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                 c/o Laminack, Pirtle & Martines,
Nathan Harris                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Nathan Harris                                                       1541 N Detroit Ave                                                                     Tulsa             OK    74106
NATHAN J MILLER                                                     6009 STODDARD CT APT 102                                                               ALEXANDRIA        VA    22315
NATHAN JAMES MILLER                                                 2224 TANGLEWOOD CIRCLE                                                                 STILLWATER        OK    74074
NATHAN JOHN                                                         10009 E. AIRPORT ROAD                                                                  STILLWATER        OK    74075
NATHAN LEVY                                                         ADDRESS REDACTED
NATHAN LOVELL                                                       8817 E LAKEVIEW RD                                                                     STILLWATER        OK    74075
NATHAN MAUZERALL                                                    PO BOX 543                                                                             PERKINS           OK    74059
NATHAN MELTON                                                       6220 E MCELROY RD                                                                      STILLWATER        OK    74075-8699
NATHAN NEWELL CASS                                                  1116 WALNUT STREET                                                                     WINDSOR           CO    80550


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             CreditorName                   CreditorNoticeName                          Address1                            Address2                 Address3              City   State       Zip      Country
NATHAN PATTERSON                                                         9959 TORREON AVE                                                                       SAN RAMON         CA      94583
NATHAN PAYNE                                                             2216 E 68TH ST                                                                         STILLWATER        OK      74074
NATHAN PUMPHREY                                                          301 NW 63RD ST                                                                         OKLAHOMA CITY     OK      73116-7907
NATHAN SCHLINKE                                                          2304 N INDIANA AVE                                                                     OKLAHOMA CITY     OK      73106
NATHAN WEHR                                                              1307 FIR                                                                               PERRY             OK      73077
NATHAN WRIGHT                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
                                                                                                                       9211 Lake Hefner
Nathan Barnes                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Nathan Barnes                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Nathan Barnes                                                            5409 NW 111th St                                                                       Oklahoma City     OK      73162
                                                                                                                       9211 Lake Hefner
Nathan Buchanan                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Nathan Buchanan                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Nathan Buchanan                                                          621 Sherwood Dr                                                                        Norman            OK      73071
                                                                                                                       9211 Lake Hefner
Nathan Powell                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Nathan Powell                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Nathan Powell                                                            1733 Timber Wolf Trail                                                                 Edmond            OK      73034
NATHANAEL CLARK CASSIDAY                                                 11062 W CR 71                                                                          CRESCENT          OK      73028
NATHANIEL L. JOHNSON                                                     602 DELLWOOD DRIVE                                                                     SMYRNA            TN      37167-4849
NATIONAL ASSOCIATIO OF LEGAL ASSIST                                      7666 E 61ST STREET SUITE 315                                                           TULSA             OK      74133
NATIONAL CORPORATE RESEARCH LTD                                          10 E 40TH ST FL 10                                                                     NEW YORK          NY      10016-0201

NATIONAL COWBOY & WESTERN HERITAGE                                       1700 NE 63RD ST                                                                        OKLAHOMA CITY     OK      73111-7906
NATIONAL LIFE INSURANCE CO                                               ONE NATIONAL LIFE DR                                                                   MONTPELIER        VT      05602-3377
NATIONAL NOTARY ASSOCIATION                                              9350 DE SOTO AVENUE                                                                    CHATSWORTH        CA      91313-2402
NATIONAL OILWELL DHT L.P.                                                PO BOX 201224                                                                          DALLAS            TX      75320-1224
NATIONAL OILWELL DHT LP                                                  PO BOX 201153                                                                          DALLAS            TX      75320-1153
National Oilwell Varco                c/o Stacy & Baker, PC              Attn: Brian A. Baker                          1010 Lamar St.       Ste. 550            Houston           TX      77002
NATIONAL OILWELL VARCO                                                   9700 WEST GULF BANK                                                                    HOUSTON           TX      77040
NATIONAL OILWELL VARCO LP                                                PO BOX 201177                                                                          DALLAS            TX      75320-1177
NATIONAL OILWELL VARCO LP                                                PO BOX 202631                                                                          DALLAS            TX      75320
NATIONAL OILWELL VARCO LP #773                                           PO BOX 203793                                                                          DALLAS            TX      75320-0379
NATIONAL SURFACE AND MINERALS LLC                                        PO BOX 170                                                                             GAINESVILLE       TX      76241
National Union Fire (AIG)                                                175 Water Street                                                                       New York          NY      10038
NATIVE OIL AND GAS LLC                                                   PO BOX 1693                                                                            OKLAHOMA CITY     OK      73101-1693
NATIVE ROYALTY COMPANY                                                   316 BAILEY AVE. SUITE 100                                                              FORT WORTH        TX      76107
NATURAL GAS PIPELINE                                                     DEPT 3020                                                                              DALLAS            TX      75320-1607

NATURAL PROGRESSION OIL AND GAS COR                                      PO BOX 1843                                                                            STILLWATER        OK      74076-1843

NATURAL RESOURCE PARTNERS LP DBA WP                                      Lockbox 2495                                                                           Cloumbus          OH      43260
NATURAL SUNFLOWER LLC                                                    520 LEXINGTON AVENUE                                                                   FORT SMITH        AR      72901
NATURAL WATER COMPANY                                                    16301 N ROCKWELL AVE                                                                   EDMOND            OK      73013
NATURALLY FIT BY LORI                                                    425 N OKLAHOMA AVE APT 1413                                                            OKLAHOMA CITY     OK      73104
NAVEX GLOBAL INC                                                         6000 MEADOWS RD STE 200                                                                LAKE OSWEGO       OR      97035-3177
NAVUS RESOURCES LLC                                                      PO BOX 671065                                                                          DALLAS            TX      75367-1065
NBL PERMIAN LLC                                                          1001 NOBLE ENERGY WAY                                                                  HOUSTON           TX      77070
NCCI HOLDINGS INC                                                        901 PENINSULA CORPORATE CIR                                                            BOCA RATON        FL      33487-1362
NEAL D. FULLER                                                           4400 W. UNIVERSITY BLVD                                                                DALLAS            TX      75209
NEAL LAWRENCE                                                            1901 EL CAMINO STREET                                                                  PONCA CITY        OK      74604-2711
NEAL LEE                                                                 3520 CARTER CREEK PKWY                                                                 BRYAN             TX      77802-3225
NEAL MCCALEB                                                             2905 BROKEN BOW RD                                                                     EDMOND            OK      73013
NEAL MCCALEB REV TRUST                                                   2905 BROKEN BOW RD                                                                     EDMOND            OK      73013
NEAL MCKNIGHT                                                            1701 EASTERN AVE                                                                       STILLWATER        OK      74074-6207
NEAL PROPERTIES LLC                                                      PO BOX 2142                                                                            PASCO             WA      99301


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NEAL SMITH                                                              4232 LOVERS LN                                                                         DALLAS            TX       75225-6920
NEAL STEPHENSON                                                         RT 1, BOX 58                                                                           CAMARGO           OK       73835
NEATHERY B FULLER REV TRUST                                             PO BOX 99084                                                                           FORT WORTH        TX       76199
Nebraska State Treasurer             Unclaimed Property Division        809 P St                                                                               Lincoln           NE       68508-1390
NED ALLEN DETWILER                                                      2658 E CR 69                                                                           MULHALL           OK       73063
NEDRA WILLIG DECLARATION TRUST                                          14100 W 90TH TER APT 113                                                               LENEXA            KS       66215-5427
NEEDHAM & ASSOCIATES PLLC                                               722 N BROADWAY AVE STE 300                                                             OKLAHOMA CITY     OK       73102-6025
NEEDHAM & MASON PLLC                                                    5601 NW 72ND ST STE 106A                                                               OKLAHOMA CITY     OK       73132
NEEL ENERGY GROUP LLC                                                   8500 E 116TH ST #187                                                                   FISHERS           IN       46038
NEGRONI OIL LLC                                                         PO BOX 1117                                                                            SHAWNEE           OK       74802
NEHABEN AMIN                                                            2525 LOLO TRL                                                                          EDMOND            OK       73003
NEIL AND PATRICIA LIECHTY                                               333 WILLOW POINTE                                                                      LAGRANGE          GA       30240-7775
NEIL AND RONDA PEEK JT                                                  5102 W 1ST AVE                                                                         STILLWATER        OK       74074
NEIL CHRISTIANSEN                                                       4649 SOUTHWEST 12TH STREET                                                             MIAMI             FL       33134-2714
NEIL E THOMAS LIVING TRUST                                              17750 HOLIDAY DR                                                                       MORGAN HILL       CA       95037
NEIL HACKETT                                                            10 DURHAM CT                                                                           EDWARDSVILLE      IL       62025-3803
NEIL HASKIN                                                             185 PORTMARNOCK LN                                                                     ST CHARLES        MO       63304-0547
NEIL HILDEBRAND                                                         3021 9TH ST NE                                                                         GREAT FALLS       MT       59404-1206
NEIL L HILDEBRAND IRREV TRUST                                           PO BOX 516                                                                             FORT BENTON       MT       59442
NEIL MORRIS                                                             23636 SE HWY 224                                                                       BORING            OR       97009
NEIL REVOCABLE TRUST 7.19.1989                                          3366 EAST MILLWOOD DR                                                                  OZARK             MO       65721
NEIL SCHEIHING                                                          PO BOX 727                                                                             GUTHRIE           OK       73044
NEIL SKACH                                                              200 E INDIA RD                                                                         FERRIS            TX       75125-6016
NEIL WILTZEN                                                            69 GLAMIS SW STE 206                                                                   CALGARY           AB       T3E 1T4      CANADA
NEIL WOOD                                                               PO BOX 99130                                                                           LUBBOCK           TX       79499-9130
NEIL WRIGHT                                                             44157 47TH ST W                                                                        LANCASTER         CA       93536-2368
Neill, Dennis                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK       74074
NEISENT FAMILY TRUST DTD 4-13-2005                                      501 NW 13TH ST                                                                         OKLAHOMA CITY     OK       73103
Neitzel, Dirk                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK       73116
NELDA CARLEY                                                            15755 BEECHWOOD AVE                                                                    IVANHOE           CA       93235-1739
NELDA COX                                                               PO BOX 693                                                                             SHATTUCK          OK       73858
NELDA HUNTER                                                            2625 S WEST STREET NO 723                                                              WICHITA           KS       67217
NELDA KIRBY                                                             1012 E 92ND ST                                                                         PERKINS           OK       74059-4286
NELDA M & JERRY W WOODARD, H/W                                          PO Box 731                                                                             CLARENDON         TX       79226-0731
NELDA TIGERT                                                            902 S CHILDRENS LANE                                                                   CADDO             OK       74729
NELL BLY                                                                6817 S WEBSTER ST UNIT B                                                               LITTLETON         CO       80128
NELL GERTRUDE WILLIAMS REV TR                                           6908 S KNOXVILLE AVE                                                                   TULSA             OK       74136
NELL KING                                                               9250 HERRING PARK DR                                                                   AMARILLO          TX       79119-7848
NELL MITCHEL                                                            118 DICKEY RD                                                                          SADLER            TX       76264-3347
NELLIE ALDERSON                                                         1412 N COUNTRY CLUB RD                                                                 STILLWATER        OK       74075
NELLIE BERRY MYERS TRUST                                                PO BOX 2074                                                                            STILLWATER        OK       74076-2074
NELLIE KERR                                                             624 BOULDER                                                                            PAWNEE            OK       74058
NELLIE RHEA                                                             1319 S MAIN ST                                                                         STILLWATER        OK       74074
NELLIE RODENBERG                                                        706 S CAMPBELL ST                                                                      BOGARD            MO       64622-7108
NELLIE THOMAS                                                           PO BOX 173                                                                             MORRISON          OK       73061
NELMORTA LINDSAY                                                        209 WEST RICKENBACKER DRIVE                                                            MIDWEST CITY      OK       73110
NELS HOLMBERG                                                           530 W WHISKEY CREEK RD                                                                 WASHINGTON        MO       63090-6300
NELSON ALLEN                                                            414 N AGRA RD                                                                          RIPLEY            OK       74062-6397
NELSON FAMILY TRUST U T A                                               2801 MEADOWLARK LANE                                                                   ENID              OK       73703
                                                                                                                      9211 Lake Hefner
Nelson Jack Hayes                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                     c/o Laminack, Pirtle & Martines,
Nelson Jack Hayes                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Nelson Jack Hayes                                                       11004 Creekvale Rd                                                                     Oklahoma City     OK       73165
NELSON STAFFORD                                                         30 DOOLEY FARMS LN APT 1304                                                            EDMOND            OK       73003
NELSON T DURFEY                                                         14083 SOUTH STATE HIGHWAY 51                                                           COWETA            OK       74429
NELSON WILLIS                                                           3463 STATE ST #513                                                                     SANTA BARBARA     CA       93105
NEMAHA ENVIRONMENTAL SERVICES LLC                                       5320 W KOEWEE ROAD                                                                     KREMLIN           OK       73753-5001
NEOLA OWENS                                                             5335 MAIN ST SPC 254                                                                   SPRINGFIELD       OR       97478-6208


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NEOMA ABERNATHY                                                                 104 HIGHLAND DR                                                               PITTSBURG       TX       75686-9068
NEOMORPH INVESTMENTS LLC                                                        PO BOX 720411                                                                 NORMAN          OK       73070
NEOSEIS TECHNOLOGY GROUP LTD                                                    635 36th AVE NE                                                               CALGARY         AB       T2E 2L8      CANADA
NERI PARTNERS LTD                                                               7001 WHISPERFIELD DR                                                          PLANO           TX       75024
NETHERLAND SEWELL & ASSOCIATES INC                                              2100 ROSS AVE STE 2200                                                        DALLAS          TX       75201-2737
NETJETS AVIATION INC                                                            PO BOX 933300                                                                 ATLANTA         GA       31193-3300
NETRAGARD INC                                                                   49 CORTLAND LN                                                                BOXBOROUGH      MA       01719-2014
NETT STIDHAM                                                                    901 FINKS HIDEAWAY ROAD                                                       MONROE          LA       71203-2421
NETTIE DUNEVANT                                                                 2230 W HASKELL STREET                                                         TULSA           OK       74127
NETTIE HOOVEN                                                                   8004 SOMMER CAMP RD                                                           MELBA           ID       83641
NEURALOG                                                                        4800 SUGAR GROVE BLVD STE 200                                                 STAFFORD        TX       77477-2630
NEVA BERRY                                                                      2901 ALLSPICE RUN                                                             NORMAN          OK       73026-4504
                                                                                                                           555 E Washington
Nevada Office of the State Treasurer             Unclaimed Property Division    Grant Sawyer Bldg                          Ave Ste 4200                       Las Vegas       NV       89101
NEVIL SPEER                                                                     1080 PARKWOOD CT                                                              BOWLING GREEN   KY       42103
NEW DAWN ENERGY LLC                                                             101 PARK AVE STE 670                                                          OKLAHOMA CITY   OK       73102-7220
                                                 c/o Gum Puckett & Mackechnie
New Dominion, LLC                                LLP                            Attn: April B Coffin & Robert G Gum        105 N Hudson Ave   Ste. 900        Oklahoma City   OK       73102
                                                 c/o Gum Puckett & Mackechnie
New Dominion, LLC                                LLP                            Attn: April B Coffin                       105 N Hudson Ave   Ste. 900        Oklahoma City   OK       73012
New Dominion, LLC                                                               1307 S Boulder Ave                         Ste. 400                           Tulsa           OK       74119
New Dominion, LLC                                                               1307 S Boulder Ave                                                            Tulsa           OK       74119
NEW ENERGY TRANSPORT INC                                                        PO BOX 9985                                                                   HOUSTON         TX       77213-0985
NEW GENERATION PETROLEUM GP LLC                                                 PO BOX 22789                                                                  HOUSTON         TX       77227
NEW GENERATION PETROLEUM LLC                                                    PO BOX 25372                                                                  HOUSTON         TX       77265
NEW GULF RESOURCES LLC                                                          10441 S REGAL BLVD STE 210                                                    TULSA           OK       74133
                                                 Abandoned and Unclaimed
New Hampshire State Treasury                     Property                       25 Capitol St, Room 121                                                       Concord         NH       03301
NEW HORIZONS OF OKLAHOMA CITY                                                   300 E HIGHLAND MALL BLVD STE 385                                              AUSTIN          TX       78752-0013
NEW MEXICO TAXATION & REV DEPT                                                  PO BOX 25123                                                                  NEW MEXICO      NM       87504-5123
New Mexico Taxation and Revenue Dept             Unclaimed Property Office      1100 South St Francis Dr                                                      Santa Fe        NM       87504
NEW TECH GLOBAL ENVIRONMENTAL LLC                                               PO BOX 4976, MSC #200                                                         HOUSTON         TX       77210-4976
NEW WORLD PETROLEUM LTD                                                         PO BOX 56129                                                                  HOUSTON         TX       77256-6129

NEW YORK - OFFICE OF THE STATE COMP              OFFICE OF UNCLAIMED FUNDS                                                                                    ALBANY          NY       12236
New York State Office of the State Comptroller   Office of Unclaimed Funds     110 State St                                                                   Albany          NY       12236
NEWCALL COMMUNICATIONS                                                         5181 120 AVE NORTHEAST                                                         NORMAN          OK       73026
NEWELL OIL & GAS INC                                                           35431 HARDESTY RD                                                              SHAWNEE         OK       74801-5753
NEWFIELD EXPL MID-CONT INC                                                     PO BOX 204370                                                                  DALLAS          TX       75320-4370
                                                                               4 WATERWAY SQUARE PLACE SUITE
NEWFIELD EXPLORATION                                                           100                                                                            THE WOODLANDS   TX       77380
NEWFIELD EXPLORATION MID-CONTINENT                                             110 W. 7TH STREET, SUITE 1300                                                  TULSA           OK       74119-1106
NEWFIELD EXPLORATION MID-CONTINENT                                             ONE WILLIAMS CENTER STE 1900                                                   TULSA           OK       74172
NEWKAISER COMPANY                                                              700 NE 1500                                                                    ANDREWS         TX       79714-9149
NEWKUMET EXPLORATION INC                                                       PO BOX 11330                                                                   MIDLAND         TX       79702
NEWMAN FAMILY TRUST                                                            1401 E SUNRISE DR                                                              STILLWATER      OK       74075
NEWS DISTRIBUTORS                                                              PO BOX 54369                                                                   OKLAHOMA CITY   OK       73154-1369
Newsom, Matthew                                  c/o White Star Petroleum, LLC 301 NW 63rd St                              Ste 600                            Oklahoma City   OK       73116
NEWT ROBERTS                                                                   PO BOX 5844                                                                    ENID            OK       73702
NEWTEX ENERGIES INCORPORATED                                                   1 PASTORAL POND CIRCLE                                                         THE WOODLANDS   TX       77380
NEWTON FAMILY REVOCABLE TRUST                                                  PO BOX 97                                                                      GLENCO          OK       74032
NEXT ENERGY PARTNERS                                                           100 N BRDWAY STE 2460                                                          OKLAHOMA CITY   OK       73102
NEXUS BSP LLC                                                                  1512 LARIMER ST SUITE 150                                                      DENVER          CO       80202
NEYSA BLUBAUGH                                                                 1725 HARVEST LANE                                                              EDMOND          OK       73003
NEYSA LAUX                                                                     9750 VAUGHT RD                                                                 READYVILLE      TN       37149

NGL CRUDE LOGISTICS LLC                                                         3773 CHERRY CREEK DRIVE N STE 1000                                            DENVER          CO       80209
                                                                                3773 E CHERRY CREEK NORTH DR STE
NGL WATER SOLUTIONS PERMIAN LLC                                                 1000                                                                          DENVER          CO       80209-3820


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NGPL (KINDER MORGAN)                                                     1001 LOUISIANA ST, SUITE 1000                                                          HOUSTON            TX    77002
NI MODO ENERGY LLC                                                       908 NW 71ST ST                                                                         OKLAHOMA CITY      OK    73116
NIC ROGERS                            c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK    73116

NICHOLAS E HUMPHREY                                                      100 PARK AVENUE BUILDING SUITE 1200                                                    OKLAHOMA CITY      OK    73102
NICHOLAS HUGHES                                                          23950 CR 160                                                                           PERRY              OK    73077
NICHOLAS MCNAIR                                                          RT 1                                                                                   BIG CABIN          OK    74332
NICHOLAS WILSON                                                          414 COLLINS COURT                                                                      STILLWATER         OK    74074
NICHOLAS WITTY                                                           30 OPAL STREET                                                                         WARD               AR    72176
NICHOLE AND DAVID GUTIERREZ                                              14280 SWEETBRIAR LN                                                                    NOVELTY            OH    44072-9787
NICHOLE GUTIERREZ KRAMER                                                 4825 BAYHILL DRIVE                                                                     POWELL             OH    43065
                                                                                                                       9211 Lake Hefner
Nick I. Smith                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Nick I. Smith                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Nick I. Smith                                                            2633 NW 44th St                                                                        Oklahoma City      OK    73112
NICK SIMON                                                               186276 N 2590 RD                                                                       WALTERS            OK    73572
                                                                                                                       9211 Lake Hefner
Nick West                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Nick West                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Nick West                                                                1707 Hillcrest                                                                         Prague             OK    74864
Nickels, Todd                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK    73116
NICKI SUE HOLCOMB-DAY                                                    PO BOX 105                                                                             CAMARGO            OK    73835
                                                                                                                       9211 Lake Hefner
Nickie Cooper                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Nickie Cooper                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Nickie Cooper                                                            1532 NE 33rd St                                                                        Oklahoma City      OK    73111
NICKLAS CUNNINGHAM                                                       6278 N PARKMEADOW WAY APT 308                                                          BOISE              ID    83713
NICKOLAS C. DUNCAN                                                       122 SOUTH OKLAHOMA                                                                     TRYON              OK    74875
NICO RESOURCES LLC                                                       1490 W CANAL ST STE 3000                                                               LITTLETON          CO    80120
NICOLE CASE                                                              29252 COUNTY ROAD1560                                                                  PAULS VALLEY       OK    73075
NICOLE KAMPA                                                             11820 SW CHESHIRE RD                                                                   BEAVERTON          OR    97008-5817
NICOLE L DANIEL                                                          8094 CALLE CARABE PL                                                                   RANCHO CUCAMONGA   CA    91730
NICOLE LYNETTE MICHEL                                                    4220 SW GARDEN HOME ROAD                                                               PORTLAND           OR    97219
NICOLE SANCHEZ                                                           7686 JARED WAY                                                                         LITTLETON          CO    80125
NICOLE SHELBY BOWLING                                                    13509 S POPLAR PL                                                                      GLENPOOL           OK    74033
NIGAM SHETH                                                              18708 SADDLE RIVER DR                                                                  EDMOND             OK    73012
NIGEL PARRY                                                              ROUTE 2, BOX 128                                                                       VICI               OK    73859
NIGLIAZZO OIL & GAS LLC                                                  PO BOX 591117                                                                          SAN ANTONIO        TX    78259-0105
NIGLIAZZO OIL & GAS LLC LAURA NIGLI                                      PO BOX 59117                                                                           SAN ANTONIO        TX    78259
NIKE EXPLORATION COMPANY                                                 7404 S.YALE AVENUE                                                                     TULSA              OK    74136-7029
NIKKI ANGEL URI                                                          PO BOX 110145                                                                          NAPLES             FL    34108
NIKKI C COOK TTEE                                                        209 W 128TH ST                                                                         KANSAS CITY        MO    64145
NIKKI R NORTON TRUST                                                     668 STEPHANY DR                                                                        PIEDMONT           OK    73078
NIKKI WIEST                                                              2044 CALICO CIR                                                                        DANDRIDGE          TN    37725
NIKMARD LLC                                                              520 LEXINGTON AVENUE                                                                   FORT SMITH         AR    72901
NILA BELKNAP                                                             717 PARK PL                                                                            STILLWATER         OK    74075-1717
NILAY SHETH                                                              6545 SIMON AVE                                                                         FRISCO             TX    75035
NILAY SMITH                                                              6909 TRAILWOOD DR                                                                      PLANO              TX    75024
NINA BARNES                                                              1620 S 107TH E AVE                                                                     TULSA              OK    74128
NINA BLUMER REVOCABLE LIVING TR DAT                                      3126 S 68TH EAST AVE                                                                   TULSA              OK    74145
NINA DUNN LIFE ESTATE                                                    16311 CHIPSTEAD DR                                                                     SPRING             TX    77379-6506
NINA FAYE LITTLE                                                         406 SUNNYLAND ROAD                                                                     DEL CITY           OK    73115
NINA GERARDY                                                             1809 GRAHAM DRIVE                                                                      OKLAHOMA CITY      OK    73127
NINA HAYES                                                               702 BUTTE CT                                                                           MARSING            ID    83639
NINA HAYS MAYER                                                          PO BOX 652                                                                             EDGEWOOD           TX    75117
NINA LEIGH                                                               2725 NE CRESTVIEW DR APT 112                                                           NEWPORT            OR    97365-1817


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NINA RESOURCES LP                                                        2825 WILCREST SUITE 460                                                                HOUSTON         TX       77079
NIRUPMA SHARMA                                                           609 SPRING CREEK LANE                                                                  MARTINEZ        GA       30907
NIRVANA MINERALS LP                                                      5423 TANBARK ROAD                                                                      DALLAS          TX       75229-5558
NISARG SHAH                                                              3945 CENTENARY AVE                                                                     DALLAS          TX       75225-5428
NISHIMUTA FAMILY REV TRUST                                               PO BOX 306                                                                             CROWDER         OK       74430-0306
NITA MELTON MILLER                                                       1668 BAXTER RD SE APT 102                                                              SALEM           OR       97306-1268
NITA SUE HENSON                                                          1425 CARFAX RD                                                                         EDMOND          OK       73034
NITIN PATEL                                                              302 NITA LN                                                                            EULESS          TX       76040
NITROGEN SOLUTIONS LLC                                                   1506 LAMAR PL                                                                          JONESBORO       AR       72401-4823
NITRO-LIFT TECHNOLOGIES LLC                                              PO BOX 678456                                                                          DALLAS          TX       75267-8456
NIVENS PRODUCTIONS LLC                                                   9300 E COUNTY RD 70                                                                    COYLE           OK       73027
NIVON NATURAL RESOURCES LLC                                              18616 CR 2340                                                                          LUBBOCK         TX       79423
NIX FAMILY REVOCABLE TRUST DTD 4-24                                      21120 MARION LEE RD                                                                    GENTRY          AR       72734
NK FARMS                                                                 12322 SOUTH 150TH STREET                                                               DOUGLAS         OK       73733
NL FAMILY CAPITA LP                                                      44489 TOWN CENTER WAY                                                                  PALM DESERT     OK       92260
NMG ROYALTY LLC                                                          4126 RICHMOND AVE                                                                      SHREVEPORT      LA       71106
NOAH ANGELICI HOPE FOUNDATION                                            262 SCOTT LN                                                                           VENETIA         PA       15367-1116
NOAH BRUMLEY                                                             2308 PROVIDENCE RD                                                                     LIVINGSTON      TX       77351
NOAH MORRIS                                                              9678 HARDTRIGGER RD                                                                    MELBA           ID       83641
NOBANK                                                                   301 NW 63RD ST STE 600                                                                 OKLAHOMA CITY   OK       73116
NOBILITY MINERALS, LLC                                                   3030 N.W. EXPRESSWAY, SUITE 900                                                        OKLAHOMA CITY   OK       73112
NOBLE COUNTY CLERK                                                       300 COURTHOUSE DR STE 11                                                               PERRY           OK       73077-6649
NOBLE COUNTY COURT CLERK                                                 300 COURTHOUSE DR STE 14                                                               PERRY           OK       73077
NOBLE COUNTY FAIRVIEW CEMETERY                                           10751 CHISHOLM                                                                         PERRY           OK       73077
NOBLE COUNTY TREASURER                                                   300 COURTHOUSE DRIVE #7                                                                PERRY           OK       73077
NOBLE ENERGY INC                                                         PO BOX 910083                                                                          DALLAS          TX       75391-0083
NOBLE PROPERTIES LLC                                                     PO BOX 570                                                                             MANNFORD        OK       74044
NOBLE ROYALTY ACCESS FUND VII                                            PO BOX 660082                                                                          DALLAS          TX       75266-0082
NOBLE ROYALTY ACCESS FUND VIII                                           PO BOX 660082                                                                          DALLAS          TX       75266-0082
                                                                                                                       9211 Lake Hefner
Noble Warren                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Noble Warren                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Noble Warren                                                             208 NW 86th ST                                                                         Oklahoma City   OK       73114
NOBULLE CONSULTING LLC                                                   7742 S INDIAN AVE                                                                      TULSA           OK       74132-2841
NOEL CORLISS                                                             89950 GREENWOOD DRIVE                                                                  LEABURG         OR       97489
NOEL JOHNSON HODGE                                                       194 OAKWELL FARMS PKWY                                                                 SAN ANTONIO     TX       78218
NOEL MILLER                                                              2607 WEST C COURT                                                                      RUSSELLVILLE    AR       72801
NOELLE HAYES                                                             3244 S 427                                                                             PRYOR           OK       74361
NOLAN SCHEIHING                                                          611 W INDUSTRIAL RD                                                                    GUTHRIE         OK       73044
NOLLIE E BARKER DECLARATION OF TRUS                                      1513 98TH ST NW                                                                        GROVE           OK       74344-4609
NOMAC DRILLING                                                           PO BOX 18496                                                                           OKLAHOMA CITY   OK       73154-0496
NOMAC DRILLING LLC                                                       PO BOX 650840                                                                          DALLAS          TX       75265-0840
NOMECO OIL & GAS COMPANY                                                 222 N WASHINGTON SQ STE 400                                                            LANSING         MI       48933-1800
NOMOC OIL COMPANY INC                                                    PO BOX 1273                                                                            OKLAHOMA CITY   OK       73157-2723
NONSUCH NATURAL GAS INC                                                  PO BOX 110066                                                                          NAPLES          FL       34108
NORA CAIN FAMILY TRUST                                                   PO BOX 133                                                                             HENNESSEY       OK       73742
                                                                                                                       9211 Lake Hefner
Norbert Koeberle                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Norbert Koeberle                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Norbert Koeberle                                                         618 W Broadway Ave                                                                     Yale            OK       74085
NORDAN TRUST                                                             8000 IH 10 WEST SUITE 705                                                              SAN ANTONIO     TX       78230
NORDIC GAS & OIL LLC                                                     24 MAPLE DR                                                                            BOARDMAN        OH       44512
NORDIC NATURALS INC                                                      111 JENNINGS WAY                                                                       WATSONVILLE     CA       95076-2054
NORETA JEAN TREADWELL                                                    2435 FIR ST                                                                            PAMPA           TX       79065-3119
                                                                                                                       9211 Lake Hefner
Norma Galindo                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120



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                                    c/o Laminack, Pirtle & Martines,
Norma Galindo                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Norma Galindo                                                          21945 N. Fork Rd                                                                       Luther           OK      73054
NORMA ALLEN                                                            3106 N MARANATHA LN                                                                    SPRINGFIELD      MO      65803-3696
NORMA BEURER                                                           970 N MORLEY GREEN PL                                                                  EAGLE            ID      83616
NORMA BIEBERDORF                                                       444444 NORTHRIDGE DR                                                                   VINITA           OK      74301
NORMA BIRD                                                             306 S AVENUE L                                                                         HASKELL          TX      79521
NORMA BURKS SMITH                                                      13921 KRIM POINT TRAIL                                                                 MIDLOTHIAN       VA      23114
NORMA CARMACK                                                          5615 S 248 RD                                                                          FAIR GROVE       MO      65648
NORMA DANESHMAND                                                       5909 N CLEVELAND AVE                                                                   KANSAS CITY      MO      64119
NORMA DREIFUSS                                                         6095 CAMINITO PAN                                                                      SAN DIEGO        CA      92120
                                                                                                                     9211 Lake Hefner
Norma Elder Morgan                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Norma Elder Morgan                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Norma Elder Morgan                                                     401 N. Elder Ave                                                                       Broken Arrow     OK      74012
NORMA FAUBUSH                                                          9840 N EASTERN AVE                                                                     OKLAHOMA CITY    OK      73131
NORMA GENE WOODS ESTATE DECD                                           8775 S MIDWEST BLVD                                                                    GUTHRIE          OK      73044
NORMA HARTSOCK                                                         223 COUNTY ROAD 605                                                                    MOUNTAIN HOME    AR      72653
NORMA JOAN KNOTT                                                       1201 N BROOKWOOD DR                                                                    PERRY            OK      73077
NORMA JUNEAU IRA ACCOUNT                                               PO BOX 9053                                                                            CLEARWATER       FL      33758
NORMA KNIPE                                                            619 E COLLEGE AVE                                                                      GURHRIE          OK      73044
NORMA L LAMBERT REV TRUST                                              304 FOREST RD                                                                          STERLING         CO      80751
NORMA LAWSON                                                           PO BOX 12833                                                                           ODESSA           TX      79768
                                                                                                                     9211 Lake Hefner
Norma Lea Cook                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Norma Lea Cook                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Norma Lea Cook                                                         208 S. Fox Dr                                                                          Oklahoma City    OK      73110
NORMA LEGRANT                                                          1600 W WILLOW                                                                          ENID             OK      73703
NORMA LORANCE                                                          111 S ASH STREET, APT 5                                                                GUTHRIE          OK      73044
NORMA MORAN                                                            2326 ARROWHEAD DR                                                                      EMPORIA          KS      66801
NORMA PASCHALL                                                         PO BOX 1133                                                                            ARDMORE          OK      73402
NORMA PHILLIPS                                                         2506 N LINCOLN                                                                         STILLWATER       OK      74075
NORMA PORTER                                                           2822 N CRESCENT DR                                                                     STILLWATER       OK      74075
NORMA ROSS                                                             1870 STACEY ST                                                                         CANTON           TX      75103-2904
NORMA S HEISTER                                                        1231 HONOR CIRCLE                                                                      DESOTO           TX      75115
NORMA TIPTON                                                           1421 E WILLHAM DR                                                                      STILLWATER       OK      74075-7328
NORMA TOTTEN                                                           120 N RAY AVE                                                                          MARYVILLE        MO      64468
NORMA ZEMP                                                             1320 N 5TH APT 41                                                                      PERRY            OK      73077
                                                                                                                     9211 Lake Hefner
Norma Nichols                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Norma Nichols                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Norma Nichols                                                          43 Parkwood Dr                                                                         Luther           OK      73054
                                                                                                                     9211 Lake Hefner
Norma Payne                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Norma Payne                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Norma Payne                                                            333139 E. 750 Rd                                                                       Perkins          OK      74059
NORMAN AYERS                                                           1006 BLUE STEM ROAD                                                                    ENID             OK      73703
NORMAN B HOAG                                                          3959 GRAND HAVEN RD                                                                    NORTH SHORES     MI      49441
NORMAN D MOORE TTEE                                                    1595 E REDREX ST                                                                       SPRINGFIELD      MO      65804
NORMAN DOZIER                                                          8849 FM 1812                                                                           MERKEL           TX      79536-3519
NORMAN DRAKE DECEASED                                                  PO BOX 118                                                                             DEWAR            OK      74431-0118
NORMAN E BUESCHER ESTATE DECD                                          909 28TH ST                                                                            HONDO            TX      78861
NORMAN EUGENE CHLOUBER                                                 21930 NORTH 2780 ROAD                                                                  KINGFISHER       OK      73750
NORMAN FAMILY TRUST DTD 12-9-2003                                      1219 GREYSTONE ST                                                                      STILLWATER       OK      74074
NORMAN GOLDMAN                                                         4 TAYLYNN CT                                                                           COTO DE CAZA     CA      92679


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NORMAN JENKINS                                                              PO BOX 2737                                                                            STILLWATER      OK    74076-2737

NORMAN L MORTON & DONNA J MORTON                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX    75070
NORMAN MCNICKLE                                                             4823 W 11TH CT                                                                         STILLWATER      OK    74074
NORMAN MILNER                                                               12824 MIDWAY RD                                                                        DALLAS          TX    75244
NORMAN MILNER                                                               12824 MIDWAY RD #1133                                                                  DALLAS          TX    75244
NORMAN MORAY                                                                PO BOX 281                                                                             GEORGES MILLS   NH    03751
NORMAN P JONES REV TRUST                                                    115 SANDRA MURAIDA WAY APT 615                                                         AUSTIN          TX    78703-4845
NORMAN PETERS                                                               17157 N DAM ACCESS ROAD                                                                WARSAW          MO    65355

NORMAN R SUBER                                                              5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX    75070
NORMAN REY BRYANT REV TRST DTD 03-0                                         1537 W ROCKPORT ST                                                                     BROKEN ARROW    OK    74012
NORMAN RODENBERG                                                            1107 SOUTHVIEW ST                                                                      RICHMOND        MO    64085-2352
NORMAN ROTHENBAUM                                                           111 REGENT WOOD ROAD                                                                   NORTHFIELD      IL    60093
NORMAN SHIPLEY                                                              305 NORTH YOUNG ST                                                                     STILLWATER      OK    74075
NORMAN SIMONS INDIVDUALLY AND AS                                            17654 KNAPP STREET                                                                     NORTHRIDGE      CA    91325
NORMAN SMOLA REVOCABLE TRUST                                                3306 N FAIRGROUNDS RD                                                                  STILLWATER      OK    74075
NORMARTH CORP                                                               1059 JACKSON STREET                                                                    THE VILLAGE     FL    32162
                                                                                                                          9211 Lake Hefner
Norris E. Minor                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                         c/o Laminack, Pirtle & Martines,
Norris E. Minor                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Norris E. Minor                                                             332 Mohawk Blvd                                                                        Tulsa           OK    74106
NORRIS THOMSON                                                              1632 W 22 ST N #204                                                                    WICHITA         KS    67204
NORSE ENERGY CORP. USA                                                      169 DELAWARE AVE                                                                       BUFFALO         NY    14202-2403
NORTEX CORPORATION                                                          PO BOX 27710                                                                           HOUSTON         TX    77227-7710

NORTH AMERICAN TUBULAR SERVICES LLC                                         PO BOX 8523                                                                            LONGVIEW        TX    75607
NORTH AUSTRAILIAN HELICOPTERS                                               PO BOX 2324                                                                                                               AUSTRALIA
NORTH CAROLINA DEPARTMENT                                                   3200 ATLANTIC AVENUE                                                                   RALEIGH         NC    27604-1668
North Carolina Dept of State Treasurer   Unclaimed Property Division        PO Box 20431                                                                           Raleigh         NC    27619-0431
North Dakota State Land Dept             Unclaimed Property Division        1707 North 9th St                             PO Box 5523                              Bismark         ND    58506-5223
NORTH FORK RENTALS INC                                                      PO BOX 286                                                                             CARTER          OK    73627
NORTH JARDOT CHURCH OF CHRIST INC                                           723 North Skyline Lane                                                                 STILLWATER      OK    74075
NORTH PLACE FARMS LLC                                                       699 COUNTY ROAD 4510                                                                   WINNSBORO       TX    75494
NORTH ROBINSON INVESTMENTS LLC                                              PO BOX 54590                                                                           OKLAHOMA CITY   OK    73154-1590
NORTH STAR WELL SERVICES INC                                                DEPT. 730026                                                                           DALLAS          TX    75266-0919
NORTH TEXAS TOLLWAY AUTHORITY                                               PO BOX 660244                                                                          DALLAS          TX    75266-0244
NORTH TRUST DTD. 2-18-2014                                                  2722 S CHARLOTTE AVE                                                                   BOISE           ID    83709
NORTHEAST MINERALS LLC                                                      27600 S HIGHWAY 125                                                                    AFTON           OK    74331-2979
NORTHERN OKLAHOMA METALS INC                                                5301 N JARDOT                                                                          STILLWATER      OK    74075
NORTHSTAR MINERALS LLC                                                      PO BOX 1476                                                                            GREENWOOD       AR    72936
NORTHSTAR PRODUCTION & LAND LLC                                             PO BOX 2454                                                                            MIDLAND         TX    79702-2454
NORTHWEST INSULATION COMPANY INC                                            PO BOX 5008                                                                            BORGER          TX    79008-5008
NORTHWEST OIL                                                               PO BOX 20310                                                                           OKLAHOMA CITY   OK    73156
NORTHWEST ROYALTY LLC                                                       125 PARK AVE STE LL                                                                    OKLAHOMA CITY   OK    73102
NORTHWESTERN ELECTRIC COOP INC                                              PO BOX 2707                                                                            WOODWARD        OK    73801
Northwestern Electric Coop Inc                                              2925 Williams Avenue                          P.O. Box 2707                            Woodward        OK    73801
NORTON FAMILY MINERAL TRUST                                                 2609 QUAKER LANDING RD                                                                 GREENSBORO      NC    27455-2178
NORTON FAMILY MINERALS LLC                                                  2609 QUAKER LANDING RD                                                                 GREENSBORO      NC    27455-2178
NORVELL & RUTH D SWITZER TR                                                 3436 265TH AVE                                                                         KEOKUK          IA    52632
NORVELL ROYALTY CO LLC                                                      621 N ROBINSON, SUITE 100                                                              OKLAHOMA CITY   OK    73102
NORVILLE OIL COMPANY LLC                                                    901 E BRITTON RD                                                                       OKLAHOMA CITY   OK    73114
NOVA CARPENTER MCNABB                                                       1126 NAYON DR                                                                          LAYTON          UT    84040-2830
NOVA MUD INC                                                                PO BOX 2703                                                                            HOBBS           NM    88241-2703
NOVA SCHUTKESTING                                                           16910 HIDDEN OAK WOODS                                                                 SAN ANTONIO     TX    78248-1403
NOVOMET USA INC                                                             23567 CLAY ROAD                                                                        KATY            TX    77493
NOWITZKI OIL & GAS LP                                                       301 COMMERCE ST SUITE 1830                                                             FORT WORTH      TX    76102
NOYES LIVING TRUST 6/12/1998                                                6787 BLACK FOX DRIVE                                                                   HOSCHTON        GA    30548-8294


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NP GLASS FAMILY LP                                                            1300 BEDORD DRIVE                                                                      NICHOLS HILLS    OK      73116
NRC-MMXV LTD                                                                  PO BOX 25409                                                                           DALLAS           TX      75225
NRGX TECHNOLOGIES LTD                                                         184 MALIBU RD SW                                                                       CALGARY          AB      T2V 1X9      CANADA
NSC CONSULTING                                                                10528 KRISTIE LN                                                                       MIDWEST CITY     OK      73130
NUEVO SEIS LIMITED PARTNERSHIP                                                PO BOX 2588                                                                            ROSWELL          NM      88202-2588
NUGENT FAMILY REVOCABLE TRUST                                                 601 S TIMBERRIDGE DR                                                                   CUSHING          OK      74023-5411
NUTECH                                                                        7702 FM 1960 RD E SUITE 300                                                            HUMBLE           TX      77346-2201
NW OKLAHOMA LAND LLC                                                          300 WEST CHEROKEE AVE, STE 103                                                         ENID             OK      73701
                                                                                                                            9211 Lake Hefner
Nyoka Villanueva                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                           c/o Laminack, Pirtle & Martines,
Nyoka Villanueva                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Nyoka Villanueva                                                              8515 E. 171st St South                                                                 Bixby            OK      74008
NYS DEPARTMENT OF STATE                    DIVISION OF CORPORATIONS                                                                                                  ALBANY           NY      12231-0001
NYSE MARKET INC                                                               PO BOX 223695                                                                          PITTSBURGH       PA      15251-2695
NYTEX LLC                                                                     PO BOX 940                                                                             CARBONDALE       CO      81623-0940
O CLARK                                                                       2613 NW 31ST                                                                           OKLAHOMA CITY    OK      73112
O H & HATTIE LACHENMEYER                                                      PO BOX 3627                                                                            TULSA            OK      74101-3627
O HOPKINS                                                                     42174 LITTLE LAKE RD                                                                   HEMET            CA      92544-7533
O MARTIN                                                                      PO BOX 572                                                                             TULSA            OK      74101
O R HALL ROYALTY LLC                                                          PO BOX 1231                                                                            OGDEN            UT      84402
O T DENU                                                                      635 SW 40TH TERR                                                                       OKLAHOMA CITY    OK      73109
                                                                                                                            9211 Lake Hefner
O.C. Nelson Walker                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                           c/o Laminack, Pirtle & Martines,
O.C. Nelson Walker                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
O.C. Nelson Walker                                                            3244 N. Hartford                                                                       Tulsa            OK      74106
OAG RESERVE LLC                                                               402 GAMMON PL STE 320                                                                  MADISON          WI      53719-1059
OAGRCV LLC                                                                    402 GAMMON PL #320                                                                     MADISON          WI      53719
OAGRCV LLC                                                                    402 GAMMON PL STE 320                                                                  MADISON          WI      53719-1059
OAK TREE LLC                                                                  1225 3 33RD STREET                                                                     EDMOND           OK      73013
OAKDALE CEMETERY                                                              1021 E 10TH ST                                                                         CUSHING          OK      74023-5221
OAKDALE PARK LLC                                                              PO BOX 30057                                                                           EDMOND           OK      73003
OAKDALE PARK STILLWATER OWNERS                                                PO BOX 1411                                                                            STILLWATER       OK      74076

Oakland Petroleum Operating Company Inc.   c/o Levinson, Smith & Huffman PC Attn: Terence P Brennan                         1743 E 71st St                           Tulsa            OK      74136

Oakland Petroleum Operating Company Inc.   c/o Levinson, Smith & Huffman PC Attn: Trevor R. Henson                          1743 E 71st St                           Tulsa            OK      74136
Oakland Petroleum Operating Company Inc.   c/o Richard L Harris             1800 S Baltimore, Ste. 900                                                               Tulsa            OK      74104
Oakland Petroleum Operating Company Inc.
Oakland Petroleum Operating Company Inc.                                      1801 E 71st St                                                                         Tulsa            OK      74136
Oakland Petroleum Operating Company Inc.                                      7318 S Yale Ave                               Ste. A                                   Tulsa            OK      74136
OAKWOOD HOMEOWNERS ASSOCIATION                                                3404 LIVE OAK LN                                                                       STILLWATER       OK      74075
                                                                              25 HIGHLAND PARK VLG STE 100 PMB
OATES OIL COMPANY INC                                                         222                                                                                    DALLAS           TX      75205-2726
OBERA SMITH                                                                   3125 MOREAU VIEW DR                                                                    JEFFERSON CITY   MO      65101
O'Brien, Kathryn                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
OCAPL                                                                         PO BOX 18714                                                                           OKLAHOMA CITY    OK      73154-0714
OCAPLTA                                                                       PO BOX 54888                                                                           OKLAHOMA CITY    OK      73154
OCEE                                                                          100 N UNIVERSITY DR                                                                    EDMOND           OK      73034
OCHELATA TRUCKING                                                             28747 N 3960 ROAD                                                                      OCHELATA         OK      74051
OCHILTREE OIL COMPANY INC                                                     318 S LITTLER AVE                                                                      EDMOND           OK      73034
O'CONNOR ROYALTY LLC                                                          PO BOX 721405                                                                          NORMAN           OK      73070
OCTAGON ENERGY CORP                                                           13204 N MACARTHUR                                                                      OKLAHOMA CITY    OK      73142
OCTAVIA SCARCE MERRILL                                                        4013 IMPERIAL DR                                                                       WEST LINN        OR      97068
ODESS CAMREN & BEVERLY CAMREN                                                 11221 S ROSE RD                                                                        PERKINS          OK      74059-3662
ODESSA EDWARDS                                                                408 E CARSON LN                                                                        MUSTANG          OK      73064
ODESSA PUMPS & EQUIPMENT INC                                                  PO BOX 60429                                                                           ODESSA           TX      79711-0429
ODESSA SEPARATOR INC                                                          1612 S VICEROY AVE                                                                     ODESSA           TX      79763-5017


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ODIS CRANE & EQUIPMENT LLC                                                                PO BOX 907                                                                             ELK CITY         OK       73648
ODOS G & CLAUDIA DIANNE HENSON REV                                                        1615 S VASSAR RD                                                                       ORLANDO          OK       73073-2124
OEM SYSTEMS LLC                                                                           PO BOX 473                                                                             OKARCHE          OK       73762-0473
OEMP LLC                                                                                  PO BOX 14180                                                                           OKLAHOMA CITY    OK       73113-4180
OF THE SHELTON TRUST DATED AUGUST 2                                                       14200 PECAN HOLLOW TER                                                                 EDMOND           OK       73013-7258
OFFICE DEPOT INC                                                                          PO BOX 88040                                                                           CHICAGO          IL       60680-1040
                                                                                                                                        100 North Union
Office of Alabama State Treasurer                      Unclaimed Property Division        RSA Union Building                            Street Suite 636                         Montgomery       AL       36104
Office of Colorado State Treasurer                     Unclaimed Property                 1580 Logan St Ste 500                                                                  Denver           CO       80203
Office of Natural Resource Revenue                                                        4013 NW Expressway                            Suite 230                                Oklahoma City    OK       74133-1228

Office of the Commissioner of Financial Institutions   Unclaimed Property                 PO Box 11855                                                                           San Juan         PR       00910-3855
OFFICE OF THE STATE TREASURER                                                             PO Box 138                                                                             JACKSON          MS       39205-0138
Office of the State Treasurer of Illinois              Unclaimed Property Division        1 W Old State Capitol Plaza, Suite 400                                                 Springfield      IL       62701
OFFICE REFRESH                                                                            PO BOX 3254                                                                            EDMOND           OK       73083
OFFICESTUFF INC.                                                                          32 WESTWINDS CRES NE, SUITE 235                                                        CALGARY          AB       T3J 5L3      CANADA
OFFSHORE ENERGY SERVICES INC                                                              PO BOX 53508                                                                           LAFAYETTE        LA       70505-0000
OG&E                                                                                      PO BOX 24990                                                                           OKLAHOMA CITY    OK       73124-0990
OG&E                                                                                      321 North Harvey                                                                       Oklahoma City    OK       73101
OGI INC                                                                                   841 HERSCH AVE                                                                         PAGOSA SPRINGS   CO       81147
OGP, LLC                                                                                  107 S BROADWAY                                                                         EDMOND           OK       73034
OGWYN LAW FIRM LLC                                                                        PO BOX 1942                                                                            BATON ROUGE      LA       70821-1942
OHIO DEPARTMENT OF COMMERCE                                                               77 S. HIGH ST. 20TH FLOOR                                                              COLUMBUS         OH       43215-6108
                                                       DIVISION OF OIL AND GAS
OHIO DEPARTMENT OF NATURAL RESOURCE                    MANAGEMENT                                                                                                                COLUMBUS         OH       43229-6693
Ohio Dept of Commerce                                  Division of Unclaimed Funds        77 South High St 20th Fl                                                               Columbus         OH       43215-6108
OHIO DIVISION OF UNCLAIMED FUNDS                                                          77 S HIGH ST                                                                           COLUMBUS         OH       43215-6108
OHIO OIL AND GAS ASSOCIATION                                                              88 E BROAD ST STE 1400                                                                 COLUMBUS         OH       43215-3583
OIDA JOY CORMIER                                                                          30224 HAZY HOLLOW ROAD                                                                 MAGNOLIA         TX       77355
                                                                                                                                        9211 Lake Hefner
Oil Capitol Singers Union                              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                                       c/o Laminack, Pirtle & Martines,
Oil Capitol Singers Union                              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Oil Capitol Singers Union                                                                 2624 N. St. Louis                                                                      Tulsa            OK       74106
OIL CREEK RESOURCES LLC                                                                   PO BOX 1748                                                                            BETHANY          OK       73088
OIL NUT BAY ROYALTIES LP                                                                  PO BOX 671099                                                                          DALLAS           TX       75367-1099
OIL PATCH WATER & SEWER SERVICES LL                                                       PO BOX 204667                                                                          DALLAS           TX       75320-4667
OIL PRICE INFORMATION SERVICE LLC                                                         PO BOX 9407                                                                            GAITHERSBURG     MD       20898-9407
OIL STATES ENERGY SERVICES LLC                                                            PO BOX 203567                                                                          DALLAS           TX       75320-3567
OIL TOOLS PLUS                                                                            PO BOX 629                                                                             DRUMRIGHT        OK       74030-0629
OILBOND LTD                                                                               PO BOX 52096                                                                           TULSA            OK       74152
OILFIELD EQUIPMENT RENTALS                                                                PO Box 158                                                                             Lamont           OK       74643
OILFIELD TRUCKING SOLUTIONS LLC                                                           PO BOX 650840                                                                          DALLAS           TX       75265-0840
OIL-LAW RECORDS CORPORATION                                                               8 NW 65TH ST                                                                           OKLAHOMA CITY    OK       73116-9103
OILMANS PUMP & SUPPLY INC                                                                 PO BOX 368                                                                             QUINTON          OK       74561
OILWELL CEMENTERS INC                                                                     PO BOX 510                                                                             HEALDTON         OK       73438-0510
OILWELL DIAGNOSTICS LLC                                                                   PO BOX 687                                                                             WHEATON          IL       60187
OIPA                                                                                      500 NE 4TH ST STE 200                                                                  OKLAHOMA CITY    OK       73104
OJETTA MERILL                                                                             4344 W DENGAR AVE APT A                                                                MIDLAND          TX       79707-5410
OK CENTRALIZED SUPPORT REGISTRY                                                           PO BOX 268849                                                                          OKLAHOMA CITY    OK       73126-8845
OK HYDROTESTING LLC                                                                       PO BOX 911                                                                             KINGFISHER       OK       73750
OK OIL LLC                                                                                410 WALNUT STREET                                                                      HUMPHREY         NE       68642
OK OIL PROJECT LLC                                                                        PO BOX 280235                                                                          LAKEWOOD         CO       80228-0235
OK RENTAL EQUIPMENT LLC                                                                   PO BOX 648                                                                             WOODWARD         OK       73802
OKC BEAUTIFUL INC                                                                         3535 N CLASSEN BLVD                                                                    OKLAHOMA CITY    OK       73118
OKC ENERGY CORP                                                                           2405 CHISHOLM TRAIL BLVD                                                               EDMOND           OK       73012

OKC SOCIETY OF PETROLEUM ENGINEERS                                                        PO BOX 720213                                                                          OKLAHOMA CITY    OK       73102-5010
OKC TENTS AND MOORE                                                                       504 SE 29TH STREET                                                                     OKLAHOMA CITY    OK       73126


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OKC WAREHOUSE MANAGEMENT LLC                                        PO BOX 18756                                                                  OKLAHOMA CITY   OK      73154-0756
OKCITY ENERGY INC                                                   PO BOX 19436                                                                  OKLAHOMA CITY   OK      73144-0436
OKFUSKEE COUNTY CLERK                                               PO BOX 108                                                                    OKEMAH          OK      74859
OKHOPFER LLC                                                        2547 TIMBER BROOK LN                                                          CENTERVILLE     OH      45458
OKIE ENERGY GROUP III LLC                                           PO BOX 1466                                                                   OKLAHOMA CITY   OK      73103
OKIE ENERGY GROUP LLC                                               1141 N ROBINSON AVE STE 400                                                   OKLAHOMA CITY   OK      73103-4919
OKIE ENERGY II LLC                                                  PO BOX 1466                                                                   OKLAHOMA CITY   OK      73101
OKIE ENERGY LLC                                                     PO BOX 1466                                                                   OKLAHOMA CITY   OK      73101
OKIE ROCK ENERGY LLC                                                1 ALLIED DR STE 1110                                                          LITTLE ROCK     AR      72202-2070
OKIE ROCK MINERALS LLC                                              1 ALLIED DR STE 1110                                                          LITTLE ROCK     AR      72202-2070
OKKI ENERGY LLC                                                     6921 N CLASSEN BLVD                                                           OKLAHOMA CITY   OK      73116-7209
OKKI INDUSTRIES LLC                                                 PO BOX 54859                                                                  OKLAHOMA CITY   OK      73154-1859
OKLA MEDICAL RESEARCH FOUNDATION                                    PO BOX 3499                                                                   TULSA           OK      74101-3499
OKLAHOMA AG & MECH COLLEGES                                         PO BOX 248896                                                                 OKLAHOMA CITY   OK      73124-8896
OKLAHOMA BAPTIST UNIVERSITY                                         PO BOX 840350                                                                 DALLAS          TX      75284-0350
OKLAHOMA BAR ASSOCIATION                                            DUES LOCKBOX                                                                  OKLAHOMA CITY   OK      73196
OKLAHOMA BUSINESS ROUNDTABLE                                        655 RESEARCH PKWY STE 420                                                     OKLAHOMA CITY   OK      73104
OKLAHOMA CHILDREN'S THEATRE                                         2501 N. BLACKWELDER                                                           OKLAHOMA CITY   OK      73106
OKLAHOMA CHRISTIAN UNIVERSITY                                       PO BOX 258850                                                                 OKLAHOMA CITY   OK      73125-8850
OKLAHOMA CITY ALL SPORTS ASSOCIATIO                                 211 N ROBINSON STE 250                                                        OKLAHOMA CITY   OK      73102

OKLAHOMA CITY BOATHOUSE FOUNDATION                                  725 S LINCOLN BLVD                                                            OKLAHOMA CITY   OK      73129-4430
OKLAHOMA CITY GEOLOGICAL SOCIETY                                    120 N ROBINSON STE 900 C                                                      OKLAHOMA CITY   OK      73102
OKLAHOMA CITY GOLF & COUNTRY CLUB                                   7000 NW GRAND BLVD                                                            NICHOLS HILLS   OK      73116-4122
OKLAHOMA CITY MARATHON INC                                          PO BOX 323                                                                    OKLAHOMA CITY   OK      73101-0323
OKLAHOMA CITY MUSEUM OF ART INC                                     415 COUCH DR                                                                  OKLAHOMA CITY   OK      73102-2214
OKLAHOMA CITY UNIV - MUSIC DEPT                                     PO BOX 1588                                                                   TULSA           OK      74101
OKLAHOMA CITY WASTE DISPOSAL INC                                    7600 SW 15TH ST                                                               OKLAHOMA CITY   OK      73128-9505
OKLAHOMA CITY ZOO                                                   2101 N. E. 50TH                                                               OKLAHOMA CITY   OK      73111
OKLAHOMA CORPORATION COMMISSION                                     PO BOX 52000                                                                  OKLAHOMA CITY   OK      73152-2000
Oklahoma Corporation Commission, Oil and Gas
Conservation Division                                               PO Box 52000                                                                  Oklahoma City   OK      73152-2000
OKLAHOMA COUNTY BAR ASSOCIATION                                     119 N ROBINSON AVE STE 240                                                    OKLAHOAM CITY   OK      73102-4613
OKLAHOMA COUNTY TREASURER                                           PO BOX 268875                                                                 OKLAHOMA CITY   OK      73126

Oklahoma Department of Environmental Quality                        P.O. Box 1677                                                                 Oklahoma City   OK      73101-1677
OKLAHOMA ELECTRICAL SUPPLY CO                                       PO BOX 349                                                                    OKLAHOMA CITY   OK      73118-7822
OKLAHOMA GAS AND ELECTRIC COMPANY                                   PO BOX 25230                                                                  OKLAHOMA CITY   OK      73125
Oklahoma Gas and Electric Company                                   P.O. Box 321                                                                  Oklahoma City   OK      73101-0321
OKLAHOMA GEOLOGICAL FOUNDATION                                      3317 E MEMORIAL RD STE 200                                                    EDMOND          OK      73013-7095
OKLAHOMA GEOLOGICAL SURVEY                                          2020 INDUSTRIAL BLVD                                                          NORMAN          OK      73069-8512
OKLAHOMA HOT SHOT SERVICE INC.                                      PO BOX 11099                                                                  OLYMPIA         WA      98508-1099
OKLAHOMA INDEPENDENT LABORS LCC                                     PO BOX 288                                                                    PONCA CITY      OK      74602
OKLAHOMA MINERAL GROUP LP                                           PO BOX 4                                                                      BIXBY           OK      74008

OKLAHOMA MINERAL OWNER REGISTRY DAT                                 PO Box 600                                                                    Edmond          OK      99999
Oklahoma Natural Gas                                                P.O. Box 401                                                                  Oklahoma City   OK      73101
Oklahoma Natural Gas A Division of One Gas                          15 East Fifth Street                                                          Tulsa           OK      74103
OKLAHOMA NATURAL GAS COMPANY                                        PO BOX 219296                                                                 KANSAS CITY     MO      64121-9296

OKLAHOMA NEWSPAPER FOUNDATION TTEE                                  3601 N LINCOLN                                                                OKLAHOMA CITY   OK      73105
OKLAHOMA OIL & GAS ASSOCIATION                                      5801 BROADWAY EXT STE 304                                                     OKLAHOMA CITY   OK      73118-7484
OKLAHOMA OIL & GAS ROYALTY CO                                       PO BOX 306                                                                    STILLWATER      OK      74076-0306
OKLAHOMA ONE-CALL SYSTEM INC                                        6908 N ROBINSON AVE                                                           OKLAHOMA CITY   OK      73116
OKLAHOMA PHILHARMONIC SOCIETY INC                                   428 W CALIFORNIA AVE STE 210                                                  OKLAHOMA CITY   OK      73102-2451
OKLAHOMA RAIL PROPERTIES INC                                        8202 F ST                                                                     OMAHA           NE      68127
OKLAHOMA RIG AND SALVAGE INC                                        13020 N BROADWAY                                                              OKLAHOMA CITY   OK      73114
OKLAHOMA ROYALTIES LLC                                              5 IVERNESS DR E                                                               ENGLEWOOD       CO      80112
OKLAHOMA SECRETARY OF STATE                                         421 NW 13TH ST. RM 220                                                        OKLAHOMA CITY   OK      73103


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                                                                                          White Star Petroleum, LLC
                                                                                               Creditor Matrix


            CreditorName                          CreditorNoticeName                 Address1                         Address2        Address3             City   State       Zip      Country
OKLAHOMA SHELF EXPLORATION LLC                                         5121 NORTH VIA CONDESA                                                    TUCSAN           AZ      85718
OKLAHOMA STATE BANK                                                    PO BOX 848                                                                GUTHRIE          OK      73044
OKLAHOMA STATE BANK                                                    900 SW 36TH NW STE 102                                                    NORMAN           OK      73072
OKLAHOMA STATE BANK OF MULHALL                                         PO BOX 68                                                                 MULHALL          OK      73063
                                             UNCLAIMED PROPERTY
OKLAHOMA STATE TREASURER                     DIVISION                  2300 N Lincoln Blvd Room 217                                              Oklahoma City    OK      73105
OKLAHOMA STATE TREASURY                                                2300 N LINCOLN BLVD, ROOM 217                                             OKLAHOMA CITY    OK      73105
OKLAHOMA STATE UNIVERSITY                                              DEPT 96-0484                                                              OKLAHOMA CITY    OK      73196-0484
OKLAHOMA STATE UNIVERSITY                                              113 STUDENT UNION                                                         STILLWATER       OK      74078

OKLAHOMA STATE UNIVERSITY FOUNDATIO                                    DEPT 96-0484                                                              OKLAHOMA CITY    OK      73196-0484
OKLAHOMA TAX COMMISSION                                                PO BOX 26850                                                              OKLAHOMA CITY    OK      73126-0850
Oklahoma Tax Commission                                                2501 North Lincoln Boulevard                                              Oklahoma City    OK      73194
Oklahoma Tax Commission - Gross Production
Reporting System                                                       2501 North Lincoln Boulevard                                              Oklahoma City    OK      73194
OKLAHOMA TOOL COMPANY LLC                                              PO BOX 18734                                                              OKLAHOMA CITY    OK      73154-0734
OKLAHOMA UNCONVENTIONAL LLC                                            PO BOX 10886                                                              MIDLAND          TX      79702
OKLAHOMA UNITED METHODIST HOME                                         PO BOX 1588                                                               TULSA            OK      74101-1588
OKLAHOMA WATER RESOURCE BOARD                                          3800 N CLASSEN BLVD STE 100                                               OKLAHOMA CITY    OK      73118-2855
OKLAHOMA WATER RESOURCES BOARD               ATTN: PERMITTING                                                                                    OKLAHOMA CITY    OK      73118-2855
OKLAMISS INVESTMENTS LLC                                               2924 ROSSMORE PL                                                          OKLAHOMA CITY    OK      73172
OKLAND OIL COMPANY                                                     110 N. ROBINSON, SUITE # 400                                              OKLAHOMA CITY    OK      73102
OKLA-TEX LLC                                                           799 PARK AVE APT 4A                                                       NEW YORK         NY      10021-3495
OKSA MINERALS LP                                                       PO BOX 2020                                                               SAN ANTONIO      TX      78297-2020
OKTA, INC.                                                             PO BOX 743620                                                             LOS ANGELES      CA      90074-3620
OLAF BRIDENSTINE                                                       458 SOUTH BUENA VISTA AVENUE                                              BURNS            OR      97720
OLAN FLICK                                                             5555 EL PASO RD                                                           CALDWELL         ID      83607
OLARAE GIGER                                                           2712 ELDON AVE                                                            DREXEL HILL      PA      19026
OLD MILL AT PLUM CREEK LLC                                             3815 NE PLUM CREEK CIRCLE                                                 OKLAHOMA CITY    OK      73131
OLES KNIGHT                                                            374 60TH RD                                                               TORONTO          KS      66777
OLETHA GARRETT                                                         RT 4, BOX 180                                                             CLYDE            TX      79510-5144
OLETHA R WOODS ESTATE                                                  6005 CANYON SPRINGS RD                                                    DALLAS           TX      75248
OLEUMTECH CORP                                                         19762 PAULING                                                             FOOTHILL RANCH   CA      92610-2611
OLIN G BLAIN JR & MARILYN K BLAIN                                      5900 S LAKE FOREST DR STE 300                                             MCKINNEY         TX      75070
OLIN HASKIN                                                            485 FLORENCE RD                                                           NEW CUMBERLAND   WV      26047-1644
OLIN R & NAOMI E RISING TTEES                                          17980 W PRAIRiE GROVE RD                                                  CASHION          OK      73016
OLIPHANT ENERGY LTD LLC                                                PO BOX 4529                                                               TULSA            OK      74159-0529
OLIS THOMPSON                                                          10520 N JARDOT                                                            STILLWATER       OK      74075
OLIVE ARMOUR                                                           418 W JACKSON                                                             CRESCENT         OK      73028
OLIVE COLLINS                                                          802 RIDGE PL                                                              ENID             OK      73701
OLIVE JAYNE OGLE REV TR DTD 11-7-95                                    504 NORRIEGO RD                                                           DESTIN           FL      32541
OLIVE L. SWANK ESTATE                                                  1009 W 44TH AVE                                                           STILLWATER       OK      74074
OLIVE MCFEATERS                              C/O NANCY TUCKER                                                                                    CUSHING          OK      74023-4301
OLIVE ODDI                                                             13820 VICTORIA DR.                                                        VICTORVILLE      CA      92395
OLIVE OIL & GAS LLC                                                    621 N ROBINSON, SUITE 100                                                 OKLAHOMA CITY    OK      73102
OLIVER ADAMS                                                           115172 S 4100 RD                                                          EUFAULA          OK      74432-3103
OLIVER F RUDD JR                                                       2602 HARVARD DRIVE                                                        PERRINGTON       TX      79070-5405
OLIVER HIMES                                                           2002 E 3RD ST                                                             STILLWATER       OK      74074-3916
OLIVER KINZIE                                                          PO BOX 392                                                                CUSHING          OK      74023-0392
OLIVER KINZIE                                                          PO BOX 552                                                                MANNFORD         OK      74044-0552
OLIVER ROSS                                                            1114 E BROOKHAVEN DR                                                      EDMOND           OK      73034-4818
OLIVER RUDD JR                                                         2602 HARVARD DRIVE                                                        PERRINGTON       TX      79070-5405
OLIVIA BORMANN WIESEHAN                                                1404 DUKE AVE                                                             MCALLEN          TX      78504-5886
OLIVIA CANTU                                                           22247 BARBACOA DR                                                         SAUGUS           CA      91350
OLIVIA SCARCE DEAN                                                     3225 SKYE RIDGE DR                                                        NORMAN           OK      73069
OLSEN FAMILY FARM TRUST                                                10008 NW 98TH STREET                                                      OKLAHOMA CITY    OK      73099
OLSEN OILS INC                                                         PO BOX 430                                                                CAMBRIDGE        ID      83610
OLTMANNS FAMILY TRUST                                                  10205 S KINGSTON AVE                                                      TULSA            OK      74137
OLYMPIA OIL INC                                                        PO BOX 7088                                                               EDMOND           OK      73083


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              CreditorName                  CreditorNoticeName                    Address1                        Address2            Address3                City    State       Zip      Country
OLYMPIC ENTERPRISES INC                                            PO BOX 850221                                                                     YUKON           OK       73085
OLYMPUS OIL VENTURES INC                                           PO BOX 820467                                                                     HOUSTON         TX       77282-0467
OM PATEL PARTNERS LTD                                              4553 KENTUCKY DR                                                                  PLANO           TX       75024
O'MALLEY FAMILY REVOCABLE TRUST DTD                                461 4TH AVE E.N.                                                                  KALISPELL       MT       59901
OMEGA RAIL MANAGEMENT INC                                          4721 TROUSDALE DRIVE, SUITE 206                                                   NASHVILLE       TN       37220-1322
OMNI AIR TRANSPORT LLC                                             3217 N SHERIDAN RD HANGAR 38                                                      TULSA           OK       74115
OMNI INDUSTRIAL SOULTIONS LLC                                      PO BOX 731675                                                                     DALLAS          TX       75373
ON TARGET DIGITAL LLC                                              4033 HOCKADAY DR                                                                  DALLAS          TX       75229-2819
ONE ELEVEN MINERAL PARTNERSHIP                                     1901 N AKARD                                                                      DALLAS          TX       75201
ONE GAS INC                                                        PO BOX 219296                                                                     KANSAS CITY     MO       64121-9296
ONE SOURCED MANAGED SERVICES                                       PO BOX 270538                                                                     OKLAHOMA CITY   OK       73137-0538
ONE STAR SAFETY LLC                                                PO Box 746                                                                        GRAHAM          TX       76450
ONE STOP SAFETY CONSULTING LLC                                     9003 UNIVERSITY BLVD UNIT 3                                                       MOON TOWNSHIP   PA       15108-4241
ONEIDA DAVIS                                                       35526 WILDFLOWER LN                                                               HEMPSTEAD       TX       77445
ONEITA JANE WEST                                                   1050 E HWY 105                                                                    MONUMENT        CO       80132
ONEOK FIELD SERVICES COMPANY                                       PO Box 871                                                                        TULSA           OK       74102-0871
ONEOK INC                                                          100 WEST FIFTH STREET MD14-5                                                      TULSA           OK       74103
ONESOURCE MANAGED SERVICES                                         PO BOX 205354                                                                     DALLAS          TX       75230-5354
ONETA JOSENHANS                                                    402 LUPIN LN                                                                      GLENDORA        CA       91741-3801
ONPOINT ENERGY SERVICES LLC                                        PO BOX 126                                                                        CASHION         OK       73016-0126
ONRR - PAYOR 13126                                                 PO BOX 25627                                                                      DENVER          CO       80225-0627
ONRR - PAYOR 16005                                                 PO BOX 25165                                                                      DENVER          CO       80225
ONWARD SOLUTIONS LLC                                               PO BOX 720591                                                                     OKLAHOMA CITY   OK       73172-0591
OOSI                                                               PO BOX 660831                                                                     DALLAS          TX       75266-0831
OP CAMREN AND BESSIE CAMREN                                        341986 E770 RD                                                                    AGRA            OK       74824-6358
OPAL BENGE                                                         1613 SOUTH SAINT CLAIR STREET                                                     WICHITA         KS       67213
OPAL EDMONDSON                                                     2909 S BETHEL RD                                                                  STILLWATER      OK       74074
OPAL GRAHAM                                                        938 W GREENHURST RD                                                               NAMPA           ID       83686
OPAL HORTON                                                        1915 E 4TH AVE                                                                    STILLWATER      OK       74074
OPAL HORTON TRUST                                                  1915 E 4TH AVE                                                                    STILLWATER      OK       74074-3919
OPAL I FELLERS REV TRUST DTD 3-20-9                                844 BURTON ST                                                                     ALVA            OK       73717
OPAL PRITCHETT                                                     2212 W 24TH AVE                                                                   STILLWATER      OK       74074-6808
OPAL SNYDER                                                        6200 BARCELONA CT                                                                 GRANITE BAY     CA       95746-5813
OPAL WHITNEY                                                       4112 NAILON DR                                                                    NORMAN          OK       73072
OPEN BEACHES LLC                                                   1002 REMINGTON CT                                                                 FAIRVIEW        TX       75069
OPEN HEART MINISTRIES INC                                          5500 W GRINDSTAFF RD                                                              CUSHING         OK       74023
OPPORTUNE LLP                                                      711 LOUISIANA ST STE 3100                                                         HOUSTON         TX       77002-2711
OPTIMA EXPLORATION LLC                                             10838 E NEWTON ST STE 115                                                         TULSA           OK       74116
OPTIV SECURITY INC                                                 3701 SOLUTIONS CENTER                                                             CHICAGO         IL       60677-3007
OPUBCO COMMUNICATIONS                                              PO BOX 25125                                                                      OKLAHOMA CITY   OK       73125-0125
ORA BRIXEY                                                         20625 NIGHTHAWK LN                                                                LUTHER          OK       73054
ORA LACOUR WALDEN                                                  1339 LINCOLN AVE                                                                  SAN RAFAEL      CA       94901
ORANGE ENERGY CORPORATION                                          1900 ENCHANTED WAY STE 125                                                        GRAPEVINE       TX       76051
ORCA MEDIA                                                         9 E 4TH ST STE 600                                                                TULSA           OK       74103
                                                                                                                                 10th Fl, Two
Orca Operating Company LLC            c/o McAfee & Taft            Attn: Timothy Bomhoff                     211 N Robinson Ave. Leadership Square   Oklahoma City   OK       73102

Orca Operating Company LLC            c/o McAfee & Taft            Attn: Timothy Bomhoff                     211 N Robinson Ave.                     Oklahoma City   OK       73102
Orca Operating Company LLC                                         427 S Boston Ave                          Ste. 929                                Tulsa           OK       74114
Orca Operating Company LLC                                         427 S Boston Ave, Ste 400                                                         Tulsa           OK       74103
ORCHARD COMPANY                                                    4334 NW EXPWY STE 201                                                             OKLAHOMA CITY   OK       73116
ORCO SERVICE LLC                                                   PO BOX 691                                                                        KINGFISHER      OK       73750
ORD KYTE                                                           6101 E 104TH ST                                                                   PERKINS         OK       74059-3792
Oregon Dept of State Lands            Unclaimed Property Section   775 Summer St NE Ste 100                                                          Salem           OR       97301-1279
OREGON DIVISION OF STATE LANDS                                     775 SUMMER STREET NE, SUITE 100                                                   SALEM           OR       97301-1279
O'REILLY INVESTMENTS LLC                                           12904 LAUREL VALLEY CT                                                            OKLAHOMA CITY   OK       73142-5167
OREN MCGETTRICK                                                    5601 NW 28TH TERRACE                                                              GAINESVILLE     FL       32653-1874
ORETA WARFORD                                                      PO BOX 47                                                                         ADAIR           OK       74330-0047
ORETHA ORNER SWARTZ                                                1454 WILDERNESS RIDGE TRL                                                         CROWNSVILLE     MD       21032-2123


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                                                                                              White Star Petroleum, LLC
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                  CreditorName              CreditorNoticeName                             Address1                         Address2                  Address3             City    State       Zip      Country
ORIGINAL GEOLOGISTS LLC                                                  4908 COLFAX PL                                                                          OKLAHOMA CITY     OK      73112
ORIN SNYDER                                                              1810 N WASHINGTON ST APT 5                                                              STILLWATER        OK      74075-3300
ORIOLE OIL COMPANY                                                       3412 E 58TH PLACE                                                                       TULSA             OK      74135
Orion Exploration Partners, LLC       c/o Mahaffey & Gore, P.C.          Attn: Zachary J. Foster                       300 NE 1st St.                            Oklahoma City     OK      73104
Orion Exploration Partners, LLC                                          4870 S. Lewis Ave.                            Ste. 240                                  Tulsa             OK      74105
ORION MINERALS LLC                                                       153 S BROADWAY ST                                                                       LA PORTE          TX      77571
ORION PROPERTIES INC                                                     11776 S 76TH EAST AVE                                                                   BIXBY             OK      74008-2022

ORION RESERVE LTD                                                        5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY          TX      75070
ORLEY A GREEN                                                            305 N COBLE PMB 107                                                                     BORGER            TX      79007
Ornelas, Rojelio                      c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater        OK      74074
ORR ENTERPRISES INC                                                      PO BOX 1706                                                                             DUNCAN            OK      73534-1706
ORRICK HERRINGTON & SUTCLIFFE LLP                                        4619 SOLUTIONS CTR                                                                      CHICAGO           IL      60677-4006
Orsak, Richard                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City     OK      73116
Orstell Grays                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Orstell Grays                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
Orstell Grays                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
Orstell Grays                                                            1215 E. 8th St                                                                          Pawhuska          OK      74056
ORTHWEIN ENERGY LP                                                       PO BOX 14180                                                                            OKLAHOMA CITY     OK      73113
ORVAN JONES                                                              1327 N C ST                                                                             ROGERS            AR      72756-2517
ORVENA WINKELMAN                                                         PO BOX 228                                                                              CUSHING           OK      74023-0228
ORVIL SAWYER                                                             9409 RIVER RD                                                                           WESTWEGO          LA      70094
ORVILLE ADKISSON REV LIVING TR                                           909 N ROBINSON AVE                                                                      MOORE             OK      73170
ORVILLE CHILDERS                                                         4006 N FAIRGROUNDS RD                                                                   STILLWATER        OK      74075
ORVILLE COOK                                                             115 HAPPY RD                                                                            STILLWATER        OK      74075
ORVILLE D & BETTY L DOLL REV TR                                          121 SW 41ST ST                                                                          MOORE             OK      73160
ORVILLE E STOUT TRUST                                                    101 S ARCADIAN OAKS DR                                                                  EDMOND            OK      73034
ORVILLE HOAG                                                             1013 WINDMILL RD                                                                        DRIPPING SPRING   TX      78620
ORVILLE HOLCOMB                                                          524 EAST SIXTH STREET                                                                   LEEDEY            OK      73654
ORVILLE R & BETTIE S AUSTIN REV TR                                       6 NORTHWOOD DRIVE                                                                       SHAWNEE           OK      74804-9545
OSA OIL AND GAS LLC                                                      7 ACORN CLUSTER CT                                                                      THE WOODLANDS     TX      77381-4839

OSAGE EXPLORATION AND DEVELOPMENT I                                      2445 5TH AVE STE 310                                                                    SAN DIEGO         CA      92101-1665
OSAGE LAND CO                                                            1500 WEST EDMOND ROAD                                                                   EDMOND            OK      73003
OSAGE OIL & GAS PROPERITES                                               2200 NW 50TH ST STE 112E                                                                OKLAHOMA CITY     OK      73112-8092
OSBORNE MINERAL TRUST                                                    PO BOX 21510                                                                            OKLAHOMA CITY     OK      73156-1510
                                                                                                                       9211 Lake Hefner
Oscar C. Smart Sr                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Oscar C. Smart Sr                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Oscar C. Smart Sr                                                        910 SW 1st St                                                                           Moore             OK      73160
OSCAR LACOUR                                                             14010 PINEROCK LANE                                                                     HOUSTON           TX      77079
OSE INVESTORS I LLC                                                      5121 NORTH VIA CONDESA                                                                  TUCSAN            AZ      85718
OSEBERG INC                                                              6301 WATERFORD BLVD, STE 200                                                            OKLAHOMA CITY     OK      73118
OSPREY ASSOCIATES LLC                                                    701 TAMA ST BLDG B                                                                      MARION            IA      52302-4806
OSPREY ENERGY SERVICES LLC                                               3440 SCISSORTAIL DRIVE                                                                  WOODWARD          OK      73801
OSPREY RESOURCES INC                                                     PO BOX 56449                                                                            HOUSTON           TX      77256

OSU CENTER FOR INNOVATION & ECONOMI                                      PO Box 112                                                                              STILLWATER        OK      74076
OSU COWBOY DINING LLC                                                    204B ATHLETIC CENTER                                                                    STILLWATER        OK      73056
OSU FOUNDATION                                                           215 BUSINESS BUILDING                                                                   STILLWATER        OK      74078
OSWALT RESTAURANT SUPPLY                                                 1015 NW 68TH ST                                                                         OKLAHOMA CITY     OK      73116
OTA COMPRESSION LLC                                                      102 DECKER CT STE 204                                                                   IRVING            TX      75062
                                      PIKEPASS CUSTOMER SERVICE
OTA PIKEPASS                          CENTER                                                                                                                     OKLAHOMA CITY     OK      73126-8803
OTAFUKU LLC                                                              PO Box 701838                                                                           DALLAS            TX      75370
OTEKA D LITTLE REVOCABLE TRST                                            PO BOX 618                                                                              MADILL            OK      73446
O-TEX HOLDINGS INC                                                       PO BOX 733404                                                                           DALLAS            TX      75373-3404
OTHERS INC                                                               6 LEE DRIVE                                                                             WARREN            RI      02885-1712


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              CreditorName                  CreditorNoticeName                          Address1                            Address2                 Address3            City    State       Zip       Country
OTHO MCENTIRE                                                            345916 E 810 RD                                                                        AGRA             OK      74824-6321
OTILIO GONZALEZ                                                          BLVD PEURTA DEL SOL                                                                    MONTERREY        NL      64630        MEXICO
OTIS DEMPSEY                                                             PO BOX 23                                                                              COPEVILLE        TX      75121
OTIS ELEVATOR COMPANY                                                    PO BOX 730400                                                                          DALLAS           TX      75373-0400
                                                                                                                       9211 Lake Hefner
Otis J. Greenhoward                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Otis J. Greenhoward                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Otis J. Greenhoward                                                      18755 NE 122nd St                                                                      Jones            OK      73049
OTIS L. BRANSON FAMILY TRUST                                             1704 N 11TH STREET                                                                     BROKEN ARROW     OK      74012-9352
OTOE INDIANS                                                             PO BOX 5810                                                                            DENVER           CO      80217-5810
OU DEPARTMENT OF PSYCHIATRY                                              PO BOX 26901                                                                           OKLAHOMA CITY    OK      73126-0901
OU FOUNDATION                                                            180 W BROOKS STE 3575                                                                  NORMAN           OK      73019-1075
OU PHYSICIANS                                                            940 NE 13TH ST STE 3937                                                                OKLAHOMA CITY    OK      73104-5008
OUR REDEEMER LUTHERAN CHURCH                                             9135 SHELLEY AVE                                                                       ST LOUIS         MO      63114
OUTLAW RENTALS & TRUCKING                                                601 S WASHINGTON ST # 193                                                              STILLWATER       OK      74074-4539
OUZEL RESOURCES LLC                                                      303 E 17TH AVE SUITE 800                                                               DENVER           CO      80203-1261
OUZEL ROCK PARTNERSHIP                                                   PO BOX FF                                                                              ASPEN            CO      81612
OVERSHOES LLC                                                            107 S BROADWAY                                                                         EDMOND           OK      73034
OWC REDI MIX                                                             PO BOX 271435                                                                          OKLAHOMA CITY    OK      73137-1435
OWEN D. WILSON FAMILY REV TRUST DAT                                      2613 CLAIREMONT                                                                        ENID             OK      73703
OWEN HEWETT                                                              3140 MILLBROOK SQUARE                                                                  NORMAN           OK      73072
OWEN MONTGOMERY BARNHILL                                                 12923 DEERFIELD CIRCLE                                                                 OKLAHOMA CITY    OK      73142
OWEN MORRIS                                                              24914 SUNBURST DR                                                                      CALDWELL         ID      83607
OWEN R THOMAS TRUST                                                      3023 W 25TH AVE                                                                        STILLWATER       OK      74074-2110
OWEN SUGG                                                                707 NE 4TH PL                                                                          ANDREWS          TX      79714-4201
Owens, Jason                          c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK      74074
Owens, Richard                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
OWETA AUSTIN                                                             2118 BLACK OAK DR                                                                      SUGAR LAND       TX      77479-5758
OXFORD LAW PLLC                                                          2305 GLADSTONE TER                                                                     OKLAHOMA CITY    OK      73120
OXY USA INC MIDCONTINENT REGION                                          PO Box 841803                                                                          DALLAS           TX      75284-1803
OZARK CHRISTIAN COLLEGE                                                  1111 N MAIN ST                                                                         JOPLIN           MO      64801-4804
P & J GRIFFIN FAMILY TRUST                                               1302 REDBUD ST APT 103                                                                 YUKON            OK      73099

P & J HARPER ENTERPRISES INC                                             5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
P A MCGINLEY CO LLC                                                      PO BOX 3126                                                                            TULSA            OK      74101
P B O INC                                                                PO BOX 223                                                                             ENID             OK      73072
P C HUDSON HOLDINGS LTD                                                  PO BOX 515                                                                             WHITEHOUSE       TX      75791
P COLE                                                                   1222 S OSWEGO                                                                          TULSA            OK      74172
P HOPPE                                                                  PO BOX 1539                                                                            EDMOND           OK      73083
P K NEWBERRY LLC                                                         11722 S BRADEN AVE                                                                     TULSA            OK      74136-6084
P K RESOURCES LLC                                                        8308 S ALSAB TRAIL                                                                     EVERGREEN        CO      80439
P W CHISM REVOCALBE TRUST                                                8608 STONER LANE                                                                       ROGERS           AR      72756
P&C BENNETT MINERALS LLC                                                 PO BOX 2300                                                                            TULSA            OK      74102-2300
P2 ENERGY SOLUTIONS                                                      1670 BROADWAY STE 2800                                                                 DENVER           CO      80202-4800
P2ES HOLDINGS LLC                                                        PO BOX 912692                                                                          DENVER           CO      80291-2612
Pace, Dustin                          c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK      74074
PACER                                                                    PO BOX 71364                                                                           PHILADELPHIA     PA      19176-1364
PACER ENERGY MARKETING LLC                                               PO BOX 4470                                                                            TULSA            OK      74159-0470
PACER SERVICE CENTER                                                     PO BOX 780549                                                                          SAN ANTONIO      TX      78278-0549
PACIFIC ENERGY & MINING COMPANY                                          3550 BARROW WAY #13A                                                                   RENO             NV      89511
PACIFIC ENTERPRISES ABC CORP                                             14860 MONTFORT DR STE 115                                                              DALLAS           TX      75254-6873
PACKARD PRODUCTION LLC                                                   PO BOX 54688                                                                           OKLAHOMA CITY    OK      73154
PACKERS PLUS ENERGY SRVCS USA INC                                        11415 SPELL ROAD                                                                       TOMBALL          TX      77375
PACO DEVELOPMENT INC                                                     PO BOX 95102                                                                           OKLAHOMA CITY    OK      73143
PACTOLA DEVELOPMENT CO                                                   PO BOX 701342                                                                          TULSA            OK      74170-1342
PADRE TUBULAR INC                                                        PO BOX 189                                                                             CORPUS CHRISTI   TX      78403-0189
PAGE CONCEPTS                                                            6440 AVONDALE DR STE 200                                                               OKLAHOMA CITY    OK      73116
PAGOSA COLORADO PROPERTIES LLC                                           1040 E MCCABE ST                                                                       PAGOSA SPRINGS   CO      81147


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PAGOSA RESOURCES LLC                                                     5025 GAILLARDIA CORPORATE PL STE D                                                     OKLAHOMA CITY    OK      73142-1892
PAIGE COVINGTON                                                          3329 NW 21ST                                                                           OKLAHOMA CITY    OK      73107-3013
PAIGE VOGELE                                                             348000 E 5300 RD                                                                       PAWNEE           OK      74058-3810
PAISAN LOGISTICS                                                         111 E 1ST STREET                                                                       TULSA            OK      74013
PAISANO ENERGY LLC                                                       4441 BUENA VISTA ST                                                                    DALLAS           TX      75205-4118
PALM ENERGY LLC                                                          PO BOX 13127                                                                           OKLAHOMA CITY    OK      73113
PALMER G KISE RESIDUARY TRUST                                            2220 HAVENWOOD RD                                                                      PONCA CITY       OK      74604-2409
PALMETTO AGRIBUSINESS LLC                                                320 N RANGE RD                                                                         STILLWATER       OK      74075-1986
PALO BLANCO PRODUCTION LLP                                               800 N SHORELINE BLVD, SUITE 2550                                                       CORPUS CHRISTI   TX      78401
PALO DURO PRODUCTION COMPANY                                             2008 ELMHURST AVE                                                                      OKLAHOMA CITY    OK      73120-4722
PAM ALBRIGHT                                                             2813 NW 184TH TERR                                                                     EDMOND           OK      73012
PAM JOHNSON                                                              251 MOUNTAIN PARK ROAD                                                                 ALLENTOWN        PA      18103
PAM LATHAM TTEE                                                          1507 S BONHAM                                                                          AMARILLO         TX      79102
PAM MORRIS                                                               11626 VALVERDE AVE                                                                     RIVERSIDE        CA      92505
PAM PORTER                                                               18715 CENTRAL POINT ROAD #118                                                          OREGON CITY      OR      97045
Pam Reding                            c/o Hall & Ludlam                  Attn: A.J. Reding                           210 Park Ave           Ste. 3001           Oklahoma City    OK      73102
Pam Reding                            c/o Ward & Glass, LLP              Attn: Stanley M Ward                        1601 36th Ave, NW      Ste. 100            Norman           OK      73072
Pam Reding                                                               PO Box 1242                                                                            Conroe           TX      77305
PAM RIPLEY                                                               341200 E 4700 RD                                                                       PAWNEE           OK      74058-2335
PAM STRUBLE                                                              1721 SURREY LN                                                                         ENID             OK      73703-1692
PAM TAMETT                                                               7145 BONNY BROOK CT                                                                    NIWOT            CO      80503
                                                                                                                     9211 Lake Hefner
Pam Wallace                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins Parkway                Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Pam Wallace                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Pam Wallace                                                              16551 168th St                                                                         Lexington        OK      73051
PAMALA BRITTON                                                           621 S NOBLE AVE                                                                        CUSHING          OK      74023-4321
PAMELA A KING                                                            7621 S IVANHOE WAY                                                                     CENTENNIAL       CO      80112
PAMELA ANN & DAVID L SEWELL FAM LLC                                      12001 NEW MOON                                                                         PERRY            OK      73077
PAMELA ANN HARVEY                                                        130 ASH COURT                                                                          HERCULES         CA      94547
PAMELA BARLAU                                                            408 ORTLOFF TRL NW                                                                     WATERTOWN        MN      55388
PAMELA BELL PARSONS                                                      4700 S. VIRGINIA STREET, APT 121                                                       AMARILLO         TX      79109
PAMELA BIGBEY                                                            1632 W OKLAHOMA AVE                                                                    ENID             OK      73703
PAMELA BILLINGSLEY                                                       3300 ASHTON DRIVE                                                                      MOORE            OK      73160-0608
PAMELA BLAKELY                                                           2575 FM 2727                                                                           KAUFMAN          TX      75142-6524
PAMELA BLOODWORTH                                                        407 ELM ST                                                                             IDALOU           TX      79329
PAMELA BOECKENSTEDT                                                      305 WOODRIDGE AVE                                                                      IOWA CITY        IA      52245-6055
PAMELA BOUSQUET FOSS                                                     11001 E WATERLOO RD                                                                    ARCADIA          OK      73007
PAMELA BROCK                                                             8521 W LAKEVIEW RD                                                                     STILLWATER       OK      74075
PAMELA BURKHALTER                                                        595 ACKERMAN ST W                                                                      MONMOUTH         OR      97361-1904
PAMELA CANNON                                                            1406 CANDLELITE LN                                                                     SNEAVILLE        GA      30078
PAMELA CHAMBERLAIN                                                       20290 HILLTOP DRIVE                                                                    WIMBERLY         TX      78676
PAMELA CHELSEA                                                           PO BOX 701796                                                                          TULSA            OK      74170-1796
PAMELA D BATH                                                            7161 MILL COVE DRIVE                                                                   MANHATTAN        KS      66503
PAMELA DANIELS                                                           PO BOX 536                                                                             GUTHRIE          OK      73044
PAMELA DAWN AYERS                                                        3506 VANTAGE LN                                                                        AMARILLO         TX      79109-4135
PAMELA DECOTEAU                                                          669 E VANDALIA ST                                                                      EDWARDSVILLE     IL      62025-1856
PAMELA DONITCH                                                           2985 CEDAR ST                                                                          BAKER CITY       OR      97814
                                                                                                                       9211 Lake Hefner
Pamela Gail Hayes                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Pamela Gail Hayes                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Pamela Gail Hayes                                                        11004 Creekvale Rd                                                                     Oklahoma City    OK      73165
PAMELA GILL                                                              PO BOX 941                                                                             STILLWATER       OK      74076
PAMELA GOODMAN                                                           10055 W WILSHIRE BLVD                                                                  YUKON            OK      73099-1107
PAMELA GRIESINGER                                                        85 ORCHARD LANE                                                                        ORMOND BEACH     FL      32176
PAMELA HAMPTON                                                           1693 LUZERN ST                                                                         SEASIDE          CA      93955
PAMELA HARRISON                                                          12909 S ROBINSON AVENUE                                                                OKLAHOMA CITY    OK      73170


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             CreditorName              CreditorNoticeName                         Address1                             Address2                  Address3           City    State     Zip      Country
PAMELA HUGHEY                                                       4109 W KENT ST                                                                          BROKEN ARROW    OK    74012-8753
PAMELA J CHELSEA TRUST                                              PO BOX 701796                                                                           TULSA           OK    74170
                                                                                                                  9211 Lake Hefner
Pamela J. Henderson              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                 c/o Laminack, Pirtle & Martines,
Pamela J. Henderson              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Pamela J. Henderson                                                 8805 NW 121st St                                                                        Oklahoma City   OK    73162
                                                                                                                  9211 Lake Hefner
Pamela Jones                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                 c/o Laminack, Pirtle & Martines,
Pamela Jones                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
PAMELA JONES                                                        4339 SOUTHCREST RD                                                                      DALLAS          TX    75229-6359
Pamela Jones                                                        2233 N. Frankfort                                                                       Tulsa           OK    74106

PAMELA KNIEPER                                                      5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX    75070
PAMELA LANSDEN                                                      1709 MEADOW LN                                                                          PERRY           OK    73077
PAMELA LOHSE                                                        6246 44TH AVE NE                                                                        SEATLLE         WA    98115-7516
PAMELA MILBURN                                                      17770 LEWIS LANE                                                                        CALDWELL        ID    83607
PAMELA NOONAN                                                       PO BOX 46                                                                               CRESCENT        OK    73028-0046

PAMELA PETERS                                                       5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX    75070
PAMELA ROBERTSON, DONALDA                                           441151 CEDAR CREST DR                                                                   BIG CABIN       OK    74332
PAMELA RODENBERG                                                    9802 N LEWIS AVE                                                                        KANSAS CITY     MO    64157-7851
PAMELA RODGERS                                                      4800 W 22ND ST                                                                          CUSHING         OK    74023-5918
PAMELA S CHAPMAN                                                    7408 SOUTH JUNIPER PL                                                                   BROKEN ARROW    OK    74011
PAMELA S FAGAN TRUST                                                2413 WATERFORD CT                                                                       ENID            OK    73703
PAMELA SMITH                                                        2902 AMBER FOREST TRL                                                                   BELTON          TX    76513
PAMELA SPARKMAN                                                     37641 COUNTY RD E                                                                       WOODSFIELD      OH    43793
                                                                                                                  9211 Lake Hefner
Pamela Stafford                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120

Pamela Stafford                  c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Pamela Stafford                                                     1417 SW 60th St                                                                         Oklahoma City   OK    73159
PAMELA STEICHEN                                                     1090 CEDAR CROSSING                                                                     CHOCTAW         OK    73020
PAMELA STUCHAL                                                      PO BOX 2793                                                                             COPPELL         TX    75019-8793
PAMELA SUE ALLEN                                                    7424 S WASHINGTON ST                                                                    STILLWATER      OK    74074
PAMELA SUE HOWARD LIVING TRUST                                      20605 N PINE                                                                            MULHALL         OK    73063
PAMELA SUE WILLIAMS REV TRUST                                       PO BOX 700838                                                                           TULSA           OK    74170-0838
PAMELA T GRAFF                                                      118 WOODLAND AVENUE                                                                     RITTMAN         OH    44270-1653
PAMELA TANKERSLEY                                                   PO BOX 7507                                                                             MIDLAND         TX    79708-7507
PAMELA THOMAS                                                       507 YUCCA RD                                                                            NAPLES          FL    34101
PAMELA VOYLES                                                       1795 6TH AVE APT 5                                                                      VERO BEACH      FL    32960-0852
PAMELA WAREN                                                        2812 N LINCOLN                                                                          STILLWATER      OK    74075
Pamela Weaver                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX    75070
Pamela Weaver                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK    74104
Pamela Weaver                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY    10017
Pamela Weaver                                                       307 S. Stallard St                                                                      Stillwater      OK    74074
PAMELA WEBER                                                        3918 MOFFAT RD NW                                                                       PIEDMONT        OK    73078
PAMELA WILLIAMS                                                     4528 SE 149TH ST                                                                        OKLAHOMA CITY   OK    73165-7405
PAMELA WINDIATE                                                     PO Box 155                                                                              TRYON           OK    74875
PAMELA WRIGHT                                                       9228 MARLBORO CIR                                                                       LOUISVILLE      KY    40222
Pamela Yoak                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX    75070
Pamela Yoak                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK    74104
Pamela Yoak                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY    10017
Pamela Yoak                                                         47013 S 35800 Rd                                                                        Pawnee          OK    74058
                                                                                                                  9211 Lake Hefner
Pamela Barten                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                 c/o Laminack, Pirtle & Martines,
Pamela Barten                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006


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Pamela Barten                                                               3008 Drakestone Ave                                                                    Oklahoma City     OK    73120
                                                                                                                          9211 Lake Hefner
Pamela Flynt                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                         c/o Laminack, Pirtle & Martines,
Pamela Flynt                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Pamela Flynt                                                                3916 SE 11th St                                                                        Del City          OK    73115
                                                                                                                          9211 Lake Hefner
Pamela Sherrod                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                         c/o Laminack, Pirtle & Martines,
Pamela Sherrod                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Pamela Sherrod                                                              4735 NW 72nd St                                                                        Oklahoma City     OK    73132
PAMMY ROBERTS                                                               7419 S 107TH EAST AVE                                                                  TULSA             OK    74133-2529
PANDORA EXPLORATION LLC                                                     327 N HENRY ST                                                                         WILLIAMSBURG      VA    23185
PANGAEA EXPLORATION CORP                                                    1802 CANYON PARK CIR SUITE C                                                           EDMOND            OK    73013
PANGAEA INC                                                                 11715 CARDINAL LN                                                                      EDMOND            OK    73013-0484
                                                                            14000 QUAIL SPRINGS PARKWAY STE
PANHANDLE                                                                   300                                                                                    OKLAHOMA CITY     OK    73134
PANHANDLE OIL AND GAS INC                                                   DEPT 96-0299                                                                           OKLAHOMA CITY     OK    73196-0299
PANIA BROWN                                                                 1090 FIVE MILE LINE RD                                                                 WEBSTER           NY    14580
PANKAJ THAPAR                                                               4312 FAIRWAY DR                                                                        FLOWER MOUND      TX    75028
PANORAMIC OIL & GAS OK LLC                                                  4407 BEE CAVES RD STE 421                                                              WEST LAKE HILLS   TX    78746-6406
PANORAMIC PETROLEUM INC                                                     PO BOX 600034                                                                          DALLAS            TX    75360-0034
PANSY C CASE TRUST                                                          13204 EAST 38TH STREET                                                                 TULSA             OK    74134
PANSY CONDIT DODSON                                                         1011 W BRADY ST                                                                        TULSA             OK    74127
PANTERA ENERGY COMPANY                                                      PO BOX 2264                                                                            AMARILLO          TX    79105-2264
PANTERA ENERGY COMPANY                                                      PO BOX 2264                                                                            AMARILLO          TX    79105-2264
PANTHER EXPLORATION LLC                                                     2745 N DALLAS PKWY #455                                                                PLANO             TX    75093
PANTHER LEASING LLC                                                         PO BOX 1151                                                                            ELK CITY          OK    73648
PAPPAS TRUST AGREEMENT                                                      2209 NW 28TH ST                                                                        OKLAHOMA CITY     OK    73107
PAR OIL COMPANY INC                                                         PO BOX 1799                                                                            DENVER            CO    80201-1799
PARACLIFTA LAND & MINERALS                                                  PO BOX 6387                                                                            SAN ANTONIO       TX    78209
PARADISE ROYALTY LLC                                                        8988 S HIGHLAND DR                                                                     BROKEN ARROW      OK    74014
PARAGON LAND CONSULTANTS INC                                                100 PARK AVE STE 615                                                                   OKLAHOMA CITY     OK    73102-8003
PARAGON PETROLEUM INC                                                       2633 PEMBERTON DR                                                                      HOUSTON           TX    77005
PARAGON POWER HOLDINGS LLC                                                  7504 YORKSHIRE CT                                                                      AMARILLO          TX    79121-1854

PARAMOUNT TRANSPORTATION SYSTEMS OF                                         13770 HOLLISTER RD STE 190                                                             HOUSTON           TX    77086-1215
PARDUE 2 LP                                                                 PO BOX 388                                                                             BRECKENRIDGE      TX    76424
Parish, Stephanie                   c/o White Star Petroleum, LLC           301 NW 63rd St                                Ste 600                                  Oklahoma City     OK    73116
PARK PLACE TECHNOLOGIES LLC                                                 PO Box 781156                                                                          DETRIOT           MI    48278-1156
PARKER FAMILY REVOCABLE TRUST                                               1607 WILSHIRE AVE                                                                      NORMAN            OK    73072
PARKER INVESTMENT GROUP INC                                                 PO BOX 18717                                                                           OKLAHOMA CITY     OK    73154
PARKER SNEED                                                                310 N 8TH AVE                                                                          STROUD            OK    74079-3640
PARKLAND CEMETERY ASSOCIATION                                               3716 N BATTLE RDG                                                                      CUSHING           OK    74023-5659
PARKS COFFEE                                                                PO BOX 113030                                                                          CARROLLTON        TX    75011-3030
PARKS OIL TOOLS LLC                                                         PO BOX 1217                                                                            BLANCHARD         OK    73010-1217
PARKWOOD INTERNATIONAL                                                      3550 PARKWOOD BLVD STE 500                                                             FRISCO            TX    75034-1914
PARMER A GILLESPIE III TRUST                                                23420 E PHILLIPS PL                                                                    AURORA            AZ    80016
PARMLEY FARMS LLC                                                           175 E CEDAR ST                                                                         PERRY             OK    73077
PAROTTE CEMETERY TR                                                         5021 NW FLINTRIDGE RD                                                                  RIVERSIDE         MO    64150-3501
PAROUS ENERGY LLC                                                           PO BOX 2547                                                                            MADISON           MS    39130
                                                                                                                                                                                                        NEW
PARRILL STRIBLING TRUST                                                     478 CHURCH STREET                                                                      NEW ZEALAND             4410         ZEALAND
                                                                                                                          9211 Lake Hefner
Parris Maxx Le Ai                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                         c/o Laminack, Pirtle & Martines,
Parris Maxx Le Ai                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Parris Maxx Le Ai                                                           5525 S. Linn Ave                                                                       Oklahoma City     OK    73119
PARRISH ELECTRIC INC                                                        3 E BOUNDARY ST                                                                        PERRY             OK    73077-7834


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PARSON'S WELDING INC.                                                    28334 N 2860 ROAD                                                                      OKARCHE         OK      73762
PARWEST LAND EXPLORATION INC                                             2601 NW EXPRESSWAY STE 500W                                                            OKLAHOMA CITY   OK      73112-7240
PASCHALL PROPERTIES INC                                                  PO BOX 60186                                                                           OKLAHOMA CITY   OK      73146-0186
PASIAN LOGISTICS LLC                                                     111 EAST 1ST STREET SUITE A                                                            TULSA           OK      74103
                                                                                                                       9211 Lake Hefner
Paskell Paris                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Paskell Paris                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Paskell Paris                                                            1304 SW 27th St                                                                        Oklahoma City   OK      73108
PASO - TULSA EDUCATION COMMITTEE                                         PO BOX 2502                                                                            TULSA           OK      74101
PASON SYSTEMS USA CORPORATION                                            16035 TABLE MOUNTAIN PKWY                                                              GOLDEN          CO      80403-1642
                                                                                                                       9211 Lake Hefner
Pat Garvin                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Pat Garvin                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Pat Garvin                                                               440 NW 114th St                                                                        Oklahoma City   OK      73114
PAT & CARLYON M KING REV LVG TR DTD                                      5728 S JARDOT RD                                                                       STILLWATER      OK      74074
PAT AND CAROLYN M KING REV LIVING T                                      5728 S JARDOT RD                                                                       STILLWATER      OK      74074-7230
PAT BLEVINS                                                              44 WILDERNESS RD                                                                       ENID            OK      73703
PAT CARMACK                                                              PO BOX 1061                                                                            SMITHVILLE      TX      78957-7060
PAT GALLAGHER                                                            8201 NW 121ST ST                                                                       OKLAHOMA CITY   OK      73162
PAT GORRELL                                                              6940 W. COUNTY RD 65                                                                   MULHALL         OK      73063
PAT GRIM                                                                 13 MEMORIAL DRIVE                                                                      Perry           OK      73077
PAT LAIRD                                                                88045 LLOYD DR                                                                         ANCHOORAGE      AK      99502
PAT LUCKY                                                                2027 VIA CORONA                                                                        CAROLLTON       TX      75006
PAT M BARR ATTN: PTTTP LLC                                               2412 COLONIAL PARKWAY                                                                  FT WORTH        TX      76109
PAT MOORE REVOCABLE TRUST                                                2711 BOWEN LN                                                                          ADA             OK      74820-6710
PAT NESTER                                                               11 CHICA ST                                                                            DRIFTWOOD       TX      78619
                                                                                                                       9211 Lake Hefner
Pat Quiring                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Pat Quiring                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Pat Quiring                                                              5004 E McElroy Rd                                                                      Stillwater      OK      74075
PAT T SMALLEY                                                            8505 W 140TH ST                                                                        COYLE           OK      73027-4400
                                                                                                                       9211 Lake Hefner
Pat Wheat                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Pat Wheat                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Pat Wheat                                                                10216 E. Tower Estates                                                                 Glencoe         OK      74032
Paternostro, Lauren                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
PATHFINDER PETROLEUM CORP                                                10603 N PENN STE 300                                                                   OKLAHOMA CITY   OK      73120
PATIENCE M MCNUTTTY CAMPBELL                                             PO BOX 2151                                                                            PALM BEACH      FL      33480
PATRIC SHIPPY                                                            2377 LOWER POND LN                                                                     HOMEDALE        ID      83628
PATRICA NIECE                                                            516 OHIO CT                                                                            NAMPA           ID      83686-6197
                                                                                                                       9211 Lake Hefner
Patrica Colson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Patrica Colson                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Patrica Colson                                                           2113 Creighton Dr                                                                      Norman          OK      73071
                                                                                                                       9211 Lake Hefner
Patrice A. Mitchell                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Patrice A. Mitchell                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Patrice A. Mitchell                                                      8518 E. 78th St                                                                        Tulsa           OK      74133
PATRICIA                                                                 2061 WEST LAUREL MOUNTAIN RD                                                           PRESCOTT        AZ      86303
PATRICIA A CAREY MINERALS LLC                                            1007 W PINE AVE                                                                        MIDLAND         TX      79705
PATRICIA A CEGELKA FAMILY TR                                             949 WISHBONE CIR                                                                       LEXINGTON       KY      40502
PATRICIA A HANSON TRUST                                                  PO BOX 250969                                                                          PLANO           TX      75025
PATRICIA A HOMMERTZHEIM REV TR                                           909 N MAIZE RD UNIT 105                                                                WICHITA         KS      67212


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                                                                                           Creditor Matrix


             CreditorName                    CreditorNoticeName                     Address1                      Address2              Address3           City      State       Zip       Country

PATRICIA A KRIPPENDORF                                                 5900 SOUTH LAKE FOREST DR STE 300                                           MCKINNEY          TX      75070
PATRICIA A PETERSON                                                    19671 W 87TH LANE                                                           LENEXA            KS      66220
PATRICIA A. MCKNIGHT REV LIV TR                                        5301 NW 120TH STREET                                                        OKLAHOMA CITY     OK      73162
PATRICIA AHRNSBRAK                                                     2700 NW 153RD ST                                                            EDMOND            OK      73013
PATRICIA ALFORD                                                        PO BOX 132                                                                  HENRIETTA         TX      76365
PATRICIA ALLEN                                                         1650 COUNTY RD E                                                            FRIONA            TX      79035-7005
PATRICIA AMHAUS                                                        7 ANGLICAN LN                                                               LINCOLNSHIRE      IL      60069
PATRICIA ANN HEDGES REV INTRV TRUST                                    7701 E FOX DR                                                               ENID              OK      73701
PATRICIA ANN HILL REV TRUST                                            5709 E 24 ST                                                                TULSA             OK      74114
PATRICIA ANN ROBINSON REV TR                                           113 PENTREE DR                                                              OKLAHOMA CITY     OK      73149
PATRICIA ANN SPENCER DECEASED                                          100 PARQUE CIR                                                              GEORGETOWN        TX      78626-4537
PATRICIA ANN TAYLOR                                                    2401 W JACKSON 36                                                           MERRILL           WI      54452
PATRICIA ANN VEST                                                      2462 A WEST HWY 34                                                          DRAKE             CO      80515
PATRICIA ANNE TYNES                                                    423 LINDA VISTA LANE                                                        WACO              TX      76706-7218
Patricia Beasley                      c/o Allen Stewart, PC            Attn: Allen M Stewart                 325 N Saint Paul St   Ste. 4000       Dallas            TX      75070
Patricia Beasley                      c/o Drummond Law, PLLC           Attn: Donald A Lepp                   1500 South Utica      Ste. 400        Tulsa             OK      74104
Patricia Beasley                      c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                 747 3rd Ave                           New York          NY      10017
Patricia Beasley                                                       1758 West Young St                                                          Tulsa             OK      74127
PATRICIA BLASER                                                        13626 E WILLOW RD                                                           ENID              OK      73703
PATRICIA BOEDEKER                                                      3833 BRANDYWINE LN                                                          FORT WORTH        TX      76244
PATRICIA BOLGER                                                        2808 N BRITAIN RD                                                           IRVING            TX      75062-4558
PATRICIA BREMER                                                        1189 BRUNDAGE CIR                                                           TWIN FALLS        ID      83301
PATRICIA BROWN                                                         305 CARMEL VALLEY WAY                                                       EDMOND            OK      73025
PATRICIA BROWNING                                                      14035 ROSEDALE HWY SPC 110                                                  BAKERSFIELD       CA      93314-9682
PATRICIA BURNHAM                                                       901 SOUTH PONDEROSA STREET                                                  CANBY             OR      97013
PATRICIA C LUKENS                                                      4613 BLOSSOM AVE                                                            EL PASO           TX      79924-3230
PATRICIA C MONSEES LVG TRUST                                           PO BOX 1294                                                                 ENID              OK      73702
PATRICIA CALDWELL STUMP                                                347139 E 740 RDM                                                            CUSHING           OK      74023
PATRICIA CHACOPULOS                                                    1 RUE VILLARS                                                               NEWPORT BEACH     CA      92660-5103
PATRICIA CHACOPULOS SURVIVOR’S TRST                                    1 RUE VILLARS                                                               NEWPORT BEACH     CA      92660
PATRICIA CHASE                                                         19735 CLUBHOUSE DR#102                                                      PARKER            CO      80138
PATRICIA CHEEK                                                         1150 8TH AVE SW APT 516                                                     LARGO             FL      33770-3169
PATRICIA CHRISTENSEN                                                   1617 16TH AVENUE                                                            SAN FRANCISCO     CA      94188-3526
PATRICIA CLINGENPEEL                                                   RR 3                                                                        CAVAN             ON      L0A 1C0      CANADA
PATRICIA CLINGMAN REV LVG TRUST                                        1401 5TH AVE W #409                                                         SEATTLE           WA      99119
PATRICIA COBB                                                          3234 S QUEBEC AVE                                                           TULSA             OK      74135
PATRICIA COLLEEN LEGRANT REV TR                                        5727 S LEWIS AVESTE 800                                                     TULSA             OK      74105
PATRICIA COVINGTON                                                     3415 CEITUS PKWY                                                            CAPE CORAL        FL      33991
PATRICIA CROOK                                                         605 EVERGREEN DR                                                            PASADENA          CA      91105
PATRICIA CUMMENS                                                       2513 BROOKDALE AVE                                                          EDMOND            OK      73034
PATRICIA CURTIN                                                        12 JAY LANE                                                                 HOLBROOK          NY      11741
PATRICIA DENTON                                                        RT 2 BOX 90                                                                 OAKWOOD           OK      73658
PATRICIA DIANE COOK                                                    8618 SWEET PASTURE DR                                                       TOMBALL           TX      77375
PATRICIA DUKE                                                          700 W SOUTH PARK BLVD                                                       BROKEN ARROW      OK      74011-2037
PATRICIA E JACK                                                        5105 GRAND LOOP UNIT 627                                                    TACOMA            WA      98407
PATRICIA E SMITH REVOCABLE TRUST                                       1305 NW 196TH ST                                                            EDMOND            OK      73012
PATRICIA ENGELHART                                                     PO BOX 6038                                                                 BATTLEMENT MESA   CO      81636
PATRICIA EPPLER SMITH                                                  2134 VIA PUERTA UNIT C                                                      LAGUNA WOODS      CA      92637
PATRICIA ESTERLINE                                                     411 HIALEAH AVE                                                             SAN ANTONIO       TX      78218-2619
PATRICIA EZELL                                                         12330 BURGOYNE DR                                                           HOUSTON           TX      77077-5924
PATRICIA FERRAVANTI                                                    395 HUNTER PL                                                               PASO ROBLES       CA      93446
PATRICIA FILLMORE                                                      1023 E 6TH ST                                                               CUSHING           OK      74023-4519
PATRICIA FINLAYSON                                                     514 EMBASSY WALK                                                            WINDER            GA      30680
PATRICIA FITZPATRICK BEASLEY                                           PO BOX 105                                                                  DEMING            WA      98244
PATRICIA FORD                                                          4218 S. ZENITH AVE.                                                         TULSA             OK      74107
PATRICIA FRANCIS                                                       115 FRENCH VILLAGE BVLD                                                     SHARPSBURG        GA      30277
PATRICIA FRERKING                                                      2009 S HARRISON AVE                                                         SEDALIA           MO      65301
PATRICIA G BROWN TRUST                                                 305 CARMEL VALLEY WAY                                                       EDMOND            OK      73025


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                  CreditorName              CreditorNoticeName                           Address1                Address2              Address3             City    State       Zip      Country
PATRICIA G WALLIS REV TR 2.20.2002                                    5780 COLDSTREAM DR                                                          SPRNGFIELD       MO       65809
PATRICIA GARZA                                                        5 INWOOD MOSS                                                               SAN ANTONIO      TX       78248
Patricia Gilbreth                    c/o The Lanier Law Firm, PC      Attn: Reagan E Bradford               431 W Main St.        Ste. D          Oklahoma City    OK       73102
Patricia Gilbreth                                                     615 W Rose Rd                                                               Marlow           OK       73055
PATRICIA GILLINGHAM                                                   840 N OBSERVATION TRAIL                                                     GREEN VALLEY     AZ       85614
PATRICIA GOLIGHTLY                                                    103 W OBUCH STR                                                             VALLEY VIEW      TX       76272
PATRICIA GRIESINGER                                                   104 SOUTH BEACH STREET                                                      ORMOND BEACH     FL       32174
PATRICIA GRIEST                                                       2329 TURNBERRY LANE                                                         FORT WAYNE       IN       46814
PATRICIA GRIFFIN                                                      2125 W PURDUE                                                               ENID             OK       73703
PATRICIA GROVER                                                       2600 LAZY HOLLOW DR APT 911                                                 HOUSTON          TX       77063-2668
PATRICIA HARKEY                                                       4771 E ROCK CREEK RD                                                        NORMAN           OK       73026-0622
PATRICIA HARMS                                                        4979 E 26TH PL                                                              TULSA            OK       74114
PATRICIA HARPER                                                       519 CARR LN                                                                 TALLAHASSEE      FL       32312
PATRICIA HARVEY                                                       130 ASH COURT                                                               HERCULES         CA       94547
PATRICIA HASKIN ENDICOTT                                              10001 WEST 9TH ST                                                           WICHITA          KS       67212
PATRICIA HAUGSE                                                       2305 S 49TH ST                                                              OMAHA            NE       68106
PATRICIA HAYS HEINZLER                                                14 FEATHERFALL PL                                                           THE WOODLANDS    TX       77381
PATRICIA HEUER                                                        932 ENCINO DR                                                               NEW BRAUNFELS    TX       78130
PATRICIA HOOVER                                                       3435 RISING SUN RDG                                                         WICKENBURG       AZ       85390-2739
PATRICIA HOPE LONG                                                    520 N ACADIA PARK LAND                                                      COVINGTON        LA       70435
PATRICIA HULL                                                         1902 CORNWELL DR                                                            YUKON            OK       73099-5204
PATRICIA J AARON REV TR                                               418 NW 35TH ST                                                              OKLAHOMA CITY    OK       73118
PATRICIA JACK BISHOP                                                  900 N GOLDEN AVE                                                            ODESSA           TX       73761
PATRICIA JAHNKE                                                       5813 NW 68TH ST                                                             WARR ACRES       OK       73132
PATRICIA JANE EVANS MARITAL TRUST                                     PO BOX 30                                                                   PONCA CITY       OK       74602
PATRICIA JANE PARSONS                                                 4111 EVANGELINE WAY                                                         TUSCALOOSA       AL       35406
PATRICIA JANE ROBUS                                                   115 W ELM ST FLOOR 1                                                        NEW HAVEN        CT       06515
PATRICIA JEAN BROWN                                                   770440 S 3460 RD                                                            AGRA             OK       74824-6337
PATRICIA JEONG                                                        7547 NEWPORT RD                                                             LONE GROVE       OK       73443
PATRICIA JOHNSTON THOMAS                                              RR 1BOX 110                                                                 GUTHRIE          OK       73044
PATRICIA KARCHER                                                      21850 MAVERICK                                                              MORRISON         OK       73061
PATRICIA KELENE PETREE SNIDER                                         17395-24 MILE RD                                                            MACOMB           MI       48042
PATRICIA KERR                                                         2633 REGENCY RD                                                             BARTLESVILLE     OK       74006
PATRICIA KOVAC                                                        3850 SE 41ST AVE                                                            PORTLAND         OR       97202
PATRICIA KREKEL                                                       815 ELM ST A                                                                DENVER           CO       80220
PATRICIA KUNE                                                         312 CARLTON WAY                                                             OKLAHOMA CITY    OK       73102
PATRICIA L MUZNY                                                      PO BOX 890418                                                               OKLAHOMA CITY    OK       73189-0418
PATRICIA LANGLEY                                                      3613 JUBILEE ST                                                             NORMAN           OK       73072
PATRICIA LANGLEY                                                      PO BOX 221                                                                  RIPLEY           OK       74062-0221
PATRICIA LOMBARDI                                                     55 HANSEN LN                                                                WHITEHALL        MT       59759
PATRICIA LOYD                                                         2015 N LEE                                                                  OKLAHOMA CITY    OK       73103
PATRICIA LYNN MAKER TRUST                                             7613 S HARRAH RD                                                            WELLSTON         OK       74881
PATRICIA LYONS MCNEER                                                 5564 S LEWIS PL                                                             TULSA            OK       74105
PATRICIA M. BELL REV LIV TR                                           252 DUDALA LANE                                                             LOUDON           TN       37774
PATRICIA MADDUX                                                       PO BOX 391                                                                  SMARR            GA       31086-0391
PATRICIA MASSA                                                        1120 CUMBERLAND                                                             OKLAHOMA CITY    OK       73116
PATRICIA MCKNIGHT                                                     5301 NW 120TH ST                                                            OKLAHOMA CITY    OK       73162
PATRICIA MORALES                                                      522 W LAS PALMARITAS DR                                                     PHOENIX          AZ       85021-5535
PATRICIA MORGAN                                                       7480 BEECHNUT, APT 541                                                      HOUSTON          TX       77074
PATRICIA MORSE                                                        12401 N MAIN ST                                                             OKLAHOMA CITY    OK       73142
Patricia Orchard                     c/o Allen Stewart, PC            Attn: Allen M Stewart                 325 N Saint Paul St   Ste. 4000       Dallas           TX       75070
Patricia Orchard                     c/o Drummond Law, PLLC           Attn: Donald A Lepp                   1500 South Utica      Ste. 400        Tulsa            OK       74104
Patricia Orchard                     c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                 747 3rd Ave                           New York         NY       10017
Patricia Orchard                                                      201 Guss Ave                                                                Ripley           OK       74062
PATRICIA PATTON                                                       6500 NW GRAND BLVD #153                                                     OKLAHOMA CITY    OK       73116
PATRICIA PORTER                                                       2055 NOVATE LANE                                                            EDMOND           OK       73034
PATRICIA PRESTON                                                      4600 SETON CENTER PKWY APT 307                                              AUSTIN           TX       78759-5253
PATRICIA R KENT                                                       19 FIRST AVENUE NE                                                          ATLANTA          GA       30317-2646
PATRICIA REYNOLDS                                                     603 BLACK ST                                                                SILVER CITY      NM       88061


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               CreditorName                CreditorNoticeName                          Address1                            Address2                 Address3            City   State       Zip      Country
PATRICIA RUTH FOWLER                                                    8102 OAKWOOD FOREST DR                                                                 HOUSTON         TX      77040-4448
PATRICIA SAMUEL SCHAEFER                                                13210 E VFW RD                                                                         GLENCOE         OK      74032-3102
PATRICIA SCHROEDER                                                      3155 WOODWARD BLVD                                                                     TULSA           OK      74105
PATRICIA SHAW                                                           2017 W ELM                                                                             ENID            OK      73703-4208
PATRICIA SHORT                                                          2428 N KEY BLVD                                                                        MIDWEST CITY    OK      73110
PATRICIA SMITH                                                          5712 LEIGH AVE                                                                         AMARILLO        TX      79110-3321
PATRICIA SMITH                                                          243 COLTRANE                                                                           EDMOND          OK      73034
PATRICIA SMITH                                                          7813 NE 55TH ST                                                                        KANSAS CITY     MO      64119-4107
PATRICIA SMITH                                                          PO BOX 744                                                                             VERO BEACH      FL      32961
PATRICIA SMITH HALL                                                     10387 S NATHAN ST                                                                      JENKS           OK      74037-1839
PATRICIA SNYDER                                                         722 W HICKORY                                                                          ENID            OK      73701
PATRICIA SPENCE                                                         4631 LEE TURNER RD                                                                     CLEVELAND       TX      77328
PATRICIA SPENCER                                                        7802 W 11TH ST                                                                         GREELEY         CO      80634
PATRICIA SPIVEY                                                         2001 E LOHMAN AVE STE 110-307                                                          LAS CRUCES      NM      88001
PATRICIA STROTHMAN                                                      1516 HARNED DR                                                                         BARTLESVILLE    OK      74006
PATRICIA SUMMERS                                                        PO BOX 330263                                                                          TULSA           OK      74133
PATRICIA SUZANNE YERKEY                                                 953 BERKLEY CIRCLE                                                                     NORMAN          OK      73071
PATRICIA SYLVESTER                                                      17301 JOHN WAYNE RD                                                                    PERRY           OK      73077
PATRICIA TRACY                                                          7000 CUSSETA COVE                                                                      AUSTIN          TX      78739
PATRICIA WALDO                                                          1504 S BEVERLY DR                                                                      AMARILLO        TX      79106
PATRICIA WELCH                                                          1235 E MCLEOD                                                                          SAPULPA         OK      74066
PATRICIA WEST                                                           580 LONGWOOD DR                                                                        ADA             MI      49301
PATRICIA WIGGINS                                                        242 FULL CIRCLE DR                                                                     EVANS           GA      30809
PATRICIA WILLIAMS                                                       2293 S HARTFORD AVE                                                                    BOULIVAR        MO      65613
PATRICIA WILLIAMS                                                       118 CLASSEN DR                                                                         DALLAS          TX      75218
PATRICIA WILLIAMS                                                       403 MCARTHUR BLVD                                                                      ELK CITY        OK      73644-2713
PATRICIA WINBORN                                                        PO BOX 370                                                                             PERKINS         OK      74059-0370
PATRICIA WISLER                                                         4221 W NOBLE RD                                                                        STILLWATER      OK      74075
PATRICIA ZAHLER                                                         6808 E 17TH ST                                                                         TULSA           OK      74112-7415
                                                                                                                      9211 Lake Hefner
Patricia Cortes                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Patricia Cortes                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Patricia Cortes                                                         6612 Cherokee Dr                                                                       Warr Acres      OK      73132
PATRICK A LIPPMANN TRST                                                 PO BOX 720438                                                                          OKLAHOMA CITY   OK      73172-0438
PATRICK A MCGINLEY REV TRUST                                            PO BOX 3126                                                                            TULSA           OK      74101-3126
PATRICK A. MCGINLEY MINERALS LLC                                        PO Box 3126                                                                            TULSA           OK      74101-3126
PATRICK ABERNATHY                                                       5318 S SPRING CREEK CIR W                                                              STILLWATER      OK      74074
PATRICK AND MONICA PHIBBS                                               8712 S OSWEGO AVE                                                                      TULSA           OK      74137-2674
PATRICK ANDERSON                                                        19649 SUSQUEHANNA WAY                                                                  CALDWELL        ID      83605

PATRICK BLANTON KENNEDY MGMT.TRUST                                      2109 ACKLAND                                                                           NASHVILLE       TN      37212
PATRICK CARMACK                                                         6782 SPRING GARDEN ST                                                                  SAN ANTONIO     TX      78249
PATRICK CLANIN                                                          11004 ST CHARLES AVE                                                                   OKLAHOMA CITY   OK      73162
PATRICK CLOSE                                                           1326 N COUNTRY ACRES AVE                                                               WICHITA         KS      67212-3059
PATRICK CUNNINGHAM                                                      2615 SAND CREEK RD                                                                     GRANTS PASS     OR      97527
PATRICK DENNIS                                                          411 S PICKARD AVE                                                                      NORMAN          OK      73069
PATRICK GAFFORD                                                         427 S PONCA AVE                                                                        NORMAN          OK      73071
PATRICK GRAHAM                                                          9103 S 46TH WEST AVE                                                                   TULSA           OK      74132
PATRICK H CLARE FAMILY TRUST                                            11111 S FULTON AVE                                                                     TULSA           OK      74137
PATRICK HENRY SHIPPY                                                    6371 MONUMENT DR                                                                       GRANTS PASS     OR      97526
PATRICK HOLLIS                                                          425 FIR ROAD NE                                                                        RANGER          GA      30734
PATRICK HOLMAN                                                          2328 LAS CASITAS                                                                       SANTA FE        NM      87507
Patrick J. Bartels Jr                Redan Advisors LLC                 2 Idar Court, Unit A                                                                   Greenwich       CT      06830
PATRICK KAST                                                            6339 WALTWAY DR                                                                        HOUSTON         TX      77008-6263
PATRICK LAMBERT                                                         1728 POTOMAC ROAD SOUTHWEST                                                            ALBUQUERQUE     NM      87105-7143
PATRICK LEE MANKE                                                       31 MADOLE ROAD                                                                         EDGEWOOD        NM      87015
PATRICK LOOBY                                                           1750 BOWLING GREEN DR                                                                  LAKE FOREST     IL      60045
PATRICK MCAFEE                                                          3824 BLUERIDGE DRIVE                                                                   THE COLONY      TX      75056


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               CreditorName                 CreditorNoticeName                            Address1                          Address2                 Address3             City    State       Zip      Country
PATRICK MCCLAIN                                                          3619 E PARKVIEW DR                                                                     GILBERT           AZ      85295
PATRICK MCCLELLAN                                                        2 CAPE COD LANE                                                                        HOUSTON           TX      77024
PATRICK MCGUIRE                                                          1425 MASSACHUSETTS AVE                                                                 JOPLIN            MO      64801-5253
PATRICK MONROE                                                           122 HUDSON WAY                                                                         MACON             GA      31216
PATRICK NASH                                                             2805 Millbrook Court                                                                   Arlington         TX      76012
PATRICK NESTER                                                           111 CHICA ST                                                                           DRIFTWOOD         TX      78619-9421
PATRICK NICKLES                                                          145 PINE NEEDLE DR                                                                     SPEARFISH         SD      57783
PATRICK OBRIEN                                                           1548 COLUMBIA AVE                                                                      TULSA             OK      74104
PATRICK PHILLIPS                                                         504 N WILDWOOD ACRES CIR                                                               STILLWATER        OK      74075
PATRICK QUIRK                                                            8205 E 22ND STREET APT 316                                                             TULSA             OK      74129-2839

PATRICK SAWYER AND CLAUDIA L SAWYER                                      4612 E KARA DR                                                                         STILLWATER        OK      74074
PATRICK T ROONEY TRUST                                                   PO BOX 54829                                                                           OKLAHOMA CITY     OK      73154
PATRICK WHEELER                                                          4618 WARWICK BLVD, APT. 5D                                                             KANSAS CITY       MO      64112
                                                                                                                       9211 Lake Hefner
Patrick Gabriel                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Patrick Gabriel                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Patrick Gabriel                                                          10909 N. Brauer Ave                                                                    Oklahoma City     OK      73114
                                                                                                                       9211 Lake Hefner
Patrick Maloy                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Patrick Maloy                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Patrick Maloy                                                            17000 West Hwy 33                                                                      Cashion           OK      73016
                                                                                                                       9211 Lake Hefner
Patrick Miller                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Patrick Miller                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Patrick Miller                                                           349777 E. 1040 Rd                                                                      Prague            OK      74864
PATRIOT DIRECTIONAL DRILLING                                             PO BOX 31446                                                                           EDMOND            OK      73003-0025
PATRIOT OIL & GAS LLC                                                    211 1/2 E MAIN STREET                                                                  NORMAN            OK      73069
PATRIOT PREMIUM THREADING SERVICES                                       8300 W HWY 80                                                                          MIDLAND           TX      79706
PATRIOT SENSORS AND CONTROLS CORP                                        PO BOX S-8275                                                                          PHILADELPHIA      PA      19178-8275
PATSIE HOPKINS                                                           320 SE 1ST ST                                                                          PERKINS           OK      74059-3408
PATSY ANN PEARCE                                                         845 S 60TH ST #410                                                                     WEST DES MOINES   IA      50266
PATSY AUREL MCFADDEN                                                     224 LORETTA WAY                                                                        CALIMESA          CA      92320
PATSY BARTRAM                                                            12401 W HWY 33                                                                         GUTHRIE           OK      73044
PATSY BITMANN                                                            PO BOX 9                                                                               CLINTON           OK      73601
PATSY BROWN                                                              212 W SOUTH ST                                                                         GLENCOE           OK      74032
PATSY BROWN                                                              PO BOX 702645                                                                          TULSA             OK      74170
PATSY DAVIS                                                              PO BOX 173                                                                             AGRA              OK      74824-0173
PATSY DRISKEL                                                            6204 E LAKEVIEW RD                                                                     STILLWATER        OK      74075-3020
PATSY E DIEHL REVOCABLE TRUST                                            3344 W CR 68                                                                           MULHALL           OK      73063
PATSY FUDGE                                                              4624 ELK CREEK DR                                                                      YUKON             OK      73099
PATSY JENKINS                                                            PO BOX 183                                                                             MULHALL           OK      73063
PATSY L BOSWELL                                                          202 KILFORD COURT                                                                      MADISON           MS      39110
PATSY L DEGRAFFENREID                                                    1917 N SIXTH ST                                                                        PERRY             OK      73077
PATSY LILE                                                               8414 S WESTERN                                                                         PERKINS           OK      74059-4094
PATSY MILLER                                                             PO BOX 692                                                                             S COFFEYVILLE     OK      74072
PATSY MILWARD                                                            3219 N COUNCIL CREEK RD                                                                GLENCOE           OK      74032-3039
PATSY MONTOYA                                                            PO BOX 184                                                                             CAPITAN           NM      88316
PATSY NICHOLS                                                            1215 E 12TH AVE                                                                        STILLWATER        OK      74074
PATSY PATTERSON                                                          1201 CREEKDALE                                                                         ENID              OK      73703
PATSY POLLARD REVOCABLE TRUST                                            503 SADDLEBACK ST                                                                      HENNESSEY         OK      73742
PATSY QUINN                                                              353395 E 970 RD                                                                        SPARKS            OK      74869-9725
PATSY RODGERS                                                            PO BOX 1206                                                                            TEHACHAPI         CA      93581-1206
PATSY RUTH CALKINS                                                       1532 GRACE WAY #73                                                                     MOORE             OK      73170
PATSY WILHITE                                                            PO BOX 64                                                                              JET               OK      73749



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                                                                                                                       9211 Lake Hefner
Patsy McSpadden                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Patsy McSpadden                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Patsy McSpadden                                                          103486 S. 3410 Rd                                                                      Meeker           OK      74855
PATTERSON LAND SERVICES LLC                                              519 E 21ST ST                                                                          OKMULGEE         OK      74447-7803

PATTERSON RENTAL TOOLS PATTERSON FI                                      PO BOX 203379                                                                          DALLAS           TX      75320-3379
PATTERSON-UTI                                                            PO BOX 260111                                                                          DALLAS           TX      75320-0111
PATTI ARDOIN                                                             9431 RAVEN LAKE CT                                                                     CYPRESS          TX      77433
PATTI BARINGHAM                                                          878 G ST                                                                               BLAINE           WA      98230
PATTI BARNINGHAM                                                         878 G ST                                                                               BLAINE           WA      98230
PATTI COX                                                                507 W 88TH ST SOUTH                                                                    HAYSVILLE        KS      67060
PATTI FAIT                                                               14839 N GARDENLAND DR                                                                  CHILLICOTCHE     IL      61523
PATTI FLINT                                                              6426 E EXETER BLVD                                                                     SCOTTSDALE       AZ      85251-3102
PATTI HAYWORTH                                                           RR 2 BOX 2                                                                             HOOKER           OK      73945-9602
PATTI JUNE GREENFIELD                                                    PO BOX 457                                                                             MANNIFORD        OK      74044
PATTI LATHAM SADLER                                                      5609 TRAVIS GREEN LANE                                                                 AUSTIN           TX      78735
PATTI M MILSAP REV TR                                                    7705 NW CHESLEY DR                                                                     LAWTON           OK      73505
PATTI MILLER                                                             1997 SKIPAREE RD                                                                       NORTH POWNAL     VT      05260-9728
PATTI PHILLIPS                                                           PO BOX 517                                                                             DUMAS            TX      79029
PATTI RIXLEBEN TR DTD 7-12-12                                            PO BOX 978                                                                             WEST CHICAGO     IL      60186-0978
PATTI SCHLEGEL LLC                                                       6713 NW 111TH CT                                                                       OKLAHOMA CITY    OK      73162-4735
PATTI SELBY                                                              390 THREAT LN                                                                          WEATHERFORD      TX      76088
PATTI SHERMAN                                                            543 NE SCOTLAND AVE                                                                    TOPEKA           KS      66616
PATTY BEECROFT                                                           160 W CAMINO REAL #221                                                                 BOCA RATON       FL      33432
PATTY DODWELL                                                            1700 RIVERSIDE DR APT 516B                                                             TULSA            OK      74199
                                                                                                                       9211 Lake Hefner
Patty Fry                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Patty Fry                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Patty Fry                                                                16609 E. 83rd St North                                                                 Owasso           OK      74055
                                                                                                                       9211 Lake Hefner
Patty Hazelwood                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
Patty Hazelwood                       c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles      CA      90017
Patty Hazelwood                                                          6721 Lake Shore Dr                                                                     Guthrie          OK      73044
PATTY HYBARGER                                                           19608 PRAIRIE VIEW RD                                                                  TECUMSEH         OK      74873
PATTY J VOLENTINE REV TR                                                 10727 S DELAWARE AVE                                                                   TULSA            OK      74137-6502
PATTY LUTER                                                              21700 CR 280                                                                           MORRISON         OK      73061
PATTY NIEMEYER                                                           9814 BROADMOOR LANE                                                                    ROWLETT          TX      75089
PATTY R WEBB TRUST                                                       2031 PAINT PONY CT                                                                     GRAND JUNCTION   CO      81507
PATTY SCHMIDT                                                            PO BOX 133                                                                             BEALLSVILLE      OH      43716-0133
PATTY SMITH                                                              19165 E HORSESHOE BEND RD                                                              PARK HILL        OK      74451
                                                                                                                       9211 Lake Hefner
Paul Saunders                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Paul Saunders                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Paul Saunders                                                            913 W 4th St                                                                           Stroud           OK      74079
PAUL & BETTY PHILLIPS                                                    3843 PARK BLVD #3                                                                      SAN DIEGO        CA      92103
PAUL & BONNIE BREWER FAMILY TRUST                                        353 CRESTVIEW WAY                                                                      AUBURN           CA      95603

PAUL & CAROLYN LASSEIGNE REV TRST D                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
PAUL & JOYCE ZURCHER TR                                                  2601 LIBERTY CT                                                                        STILLWATER       OK      74075

PAUL & MARIA HEHNKE FAMILY TRUST                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
PAUL & RUTH BURCH REVOCABLE INTERVI                                      10 ROBIN CT                                                                            MIDDLETOWN       NJ      07748
PAUL A BECK                                                              4611 W COUNTRY CLUB DR                                                                 STILLWATER       OK      74074
PAUL A. GREENFIELD                                                       341741 W 800 ROAD                                                                      TRYON            OK      74875
PAUL ADAMS                                                               508 SHERWOOD DR                                                                        MOORE            OK      73160


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                                                                                     White Star Petroleum, LLC
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PAUL B STANDLEY ESTATE                                                7134 S YALE SUITE 300                                                 TULSA              OK       74136
PAUL BAMBERGER                                                        81 MAUNALEO PL                                                        WAILUKU            HI       96793-3111
PAUL BARESEL                                                          1536 NW 37TH ST                                                       OKLAHOMA CITY      OK       73118-2805
PAUL BECKER                                                           601 NE FLOWER MOUND RD LOT 226                                        LAWTON             OK       73507-7225
PAUL BENTON HUGHES                                                    16815 JAYDEE COURT                                                    MOSELEY            VA       23120
PAUL BOWEN                                                            41 MISTY MOUNTAIN LN                                                  BLUE RIDGE         GA       30513
PAUL BRAUNGER                                                         1351 FOX RIDGE TRL                                                    SIOUX CITY         IA       51104
PAUL BUSCH                                                            1809 W 66TH ST                                                        TULSA              OK       74132-1934
PAUL BUSCH JR ET AL DIANE HARTLEY                                     1523 WILSHIRE AVE                                                     NORMAN             OK       73072-6036
PAUL BUSHONG                                                          27 PRIMROSE RD                                                        CARBONDALE         CO       81623
PAUL CALAWAY                                                          100 FILLMORE ST STE 400                                               DENVER             CO       80206-4921
PAUL CHITTY                                                           107 UTAH AVE                                                          YUKON              OK       73099-2713
PAUL D & SUSAN RODMAN JTSF                                            4013 TIMBERLIN DRIVE                                                  STILLWATER         OK       74074
PAUL D CRANLEY                                                        1007 EDGE HILL DR                                                     MADISON            WI       53705
PAUL DARROUGH                                                         216 S. BELMONT STREET                                                 WICHITA            KS       67218-1304
PAUL DAVID RODMAN                                                     4013 TIMBERLINE DR                                                    STILLWATER         OK       74074-9263
PAUL DAVIS LTD                                                        PO BOX 871                                                            MIDLAND            TX       79702
PAUL DETWILER                                                         4308 NW 56TH TERR                                                     OKLAHOMA CITY      OK       73112
PAUL DEWITT URBANO ESTATE                                             1739 92ND AVE NE                                                      CLYDE HILL         WA       98004
PAUL DIETZ                                                            4608 HAVERHILL LN                                                     SACHSE             TX       75048
PAUL DITTELMIER REV TRUST DTD 7-15-                                   PO BOX 721177                                                         OKLAHOMA CITY      OK       73172-1177
PAUL DUFF DECEASED                                                    PO BOX 1566                                                           GAINESVILLE        TX       76241-1566
PAUL E KLOBERDANZ FAMILY TRUST                                        PO BOX 12708                                                          OKLAHOMA CITY      OK       73157-2708
PAUL E MAGDEBURG JR &                                                 PO BOX 1054                                                           CUSHING            OK       74023
PAUL E MAGDEGURG JR                                                   106 E MOSES                                                           CUSHING            OK       74023
PAUL FENNESSEY                                                        13009 PARKER AVE                                                      PINE               CO       80470
PAUL FITZPATRICK                                                      PO BOX 103                                                            MULHALL            OK       73063
PAUL FOX                                                              5018 W 1ST AVE                                                        STILLWATER         OK       74074-6894
PAUL FRIEDMAN                                                         21 ROCKLEDGE RD                                                       NEWTON HIGHLANDS   MA       02461-1818
PAUL GIBBS                                                            13998 OSAGE VALLEY DRIVE                                              BOONEVILLE         MO       65233
PAUL GILLHAM OIL COMPANY                                              PO BOX 699                                                            MAUD               OK       74854
PAUL GILLHAM OIL COMPANY                                              PO BOX 699                                                            MAUD               OK       74854
PAUL GINGRICH                                                         149 TENNIS PARK RD                                                    MC ALISTERVILLE    PA       17049
PAUL GOTTWALD                                                         112 REGENTS PARK                                                      WESTPORT           CT       06880-5532
PAUL GREINER                                                          95162 S COOS RIVER LN                                                 COOS BAY           OR       97420-7586
PAUL GRIFFIN                          c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                   Stillwater         OK       74074
PAUL GRIFFIN                                                          2805 N STERLING AVE                                                   OKLAHOMA CITY      OK       73127-1949
PAUL HARVEY                                                           576 EL CERRO                                                          EL SOBRANTE        CA       94803
PAUL HILTON                                                           731 W 59TH ST S                                                       WICHITA            KS       67217-5703
PAUL HOUSTON TRUST                                                    3104 KNOLL DR                                                         FALLS CHURCH       VA       22042
PAUL HURD                                                             PO BOX 2190                                                           MONROE             LA       71207-2190
PAUL JONES                                                            719 N 5TH ST                                                          ENID               OK       73701
PAUL KENNEDY                                                          8504 ZYLE RD                                                          AUSTIN             TX       78737-3407
PAUL KORNMAN III EXECUTOR                                             9840 ALABAMA HWY # 14                                                 NOTASULGA          AL       36866-2219
PAUL L & HELEN SISK CHAR TRUST                                        5319 S LEWIS AVE STE 110                                              TULSA              OK       74105
PAUL L BROWN & MEJA MICHELLE                                          1012 SUNNYBROOK DR                                                    STILLWATER         OK       74075
PAUL L BURCH & RUTH E BURCH REV INT                                   10 ROBIN CT                                                           MIDDLETOWN         NJ       07748
PAUL L CARR ESTATE                                                    PO BOX 306                                                            REGINA             NM       87013
PAUL l SNYDER                                                         15088 65TH PLACE N                                                    MAPLE GROVE        FL       55311
PAUL LANNING                                                          12 HONEYSUCKLE ROAD                                                   NORWALK            CT       06851
PAUL LAWRENCE                                                         6538 N PLEASANT VIEW RD                                               PONCA CITY         OK       74601-1083
PAUL LISTEN                                                           12 N SUMMIT DR                                                        BELLINGHAM         WA       98229
PAUL LOUIS MCGAVRAN                                                   2515 VIA MARINA                                                       NEWPORT BEACH      CA       92660
PAUL MAAG                                                             PO BOX 1402                                                           RANCHO MIRAGE      CA       92270-1052
PAUL MARION SHIPPY                                                    5651 CLOVERLAWN DRIVE                                                 GRANTS PASS        OR       97527
PAUL MARK DEVILBISS                                                   PO BOX 71                                                             CRESCENT           OK       73028
PAUL MCCULLIS                                                         PO BOX 3248                                                           LITTLETON          CO       80161-3248
PAUL MCCULLY                                                          8600 THACKERY STREET APT#5106                                         DALLAS             TX       75225
PAUL METZGER                                                          2301 HUDSON ST APT 113                                                FORT WORTH         TX       76103


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                                                                                              White Star Petroleum, LLC
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               CreditorName                 CreditorNoticeName                         Address1                             Address2                 Address3            City       State       Zip      Country
PAUL MILLER                                                              PO BOX 60772                                                                           HARRISBURG         PA       17106
PAUL MINASIAN                                                            1006 S UNION RD                                                                        STILLWATER         OK       74076
PAUL NIX                                                                 406 S BOULDER AVE STE 400                                                              TULSA              OK       74103-3800
PAUL O THIELE AND JANE E                                                 1923B PINEHURST                                                                        PERRY              OK       73077
PAUL OVERHOLT                                                            5022 S 167TH EAST AVENUE                                                               TULSA              OK       74134
PAUL PATE                                                                PO BOX 3480                                                                            OMAHA              NE       68103-0480
PAUL PAYNE                                                               1184 WEST HAVEN BLVD                                                                   FRANKLIN           TN       37064
PAUL PHIBBS                                                              3020 S DEER CRK                                                                        STILLWATER         OK       74074-1070
PAUL PULLEY                                                              1617 MESA VERDE DR                                                                     ROUND ROCK         TX       78681
PAUL PYEATTE                                                             960 DENMARK                                                                            WICHITA            KS       67212
PAUL R & ANN M DETWILER JTS                                              4308 NW 56TH TERRACE                                                                   OKLAHOMA CITY      OK       73112
PAUL RAINS                                                               1515 REY CEMETERY RD                                                                   FREEDOM            IN       47431
PAUL RANDOLPH                                                            13 MINERS CT                                                                           CASCADE            ID       83611-5204
PAUL RAYMOND MARRIOTT                                                    17031 SMITH PRAIRIE RD SE                                                              YELM               WA       98597
PAUL REX TARPEY                                                          6589 OAK HILL MANOR                                                                    GLEN CARBON        IL       62034-3264
PAUL RICHARDS                                                            5 CIMARRON TRL                                                                         PERKINS            OK       74059-4164
PAUL ROBERT FAGAN                                                        4607 RED HAWK                                                                          GUTHRIE            OK       73044
PAUL ROBERT TRIPLETT                                                     16539 CLARK DR                                                                         LINNEUS            MO       64653
PAUL RODMAN                                                              3244 OLD US HIGHWAY                                                                    TROY               MT       59355
PAUL ROSSLER                                                             3830 S MADISON AVE                                                                     TULSA              OK       74105-3042
PAUL SCOTT                                                               106 W RUTH AVE                                                                         PHOENIX            AZ       85021
PAUL SHARP                                                               1895 H STREET                                                                          SANTA MARGARITA    CA       93453
PAUL SNODGRASS                                                           3204 E. STONEGATE AVENUE                                                               STILLWATER         OK       74074
PAUL SPICER                                                              301 THOMPSON DR                                                                        RICHARDSON         TX       75080-5522

PAUL SPRAGUE AND MARTHA L SPRAGUE J                                      5005 E PINTO RD                                                                        STILLWATER         OK       74074
PAUL STAFFORD                                                            11005 QUEENSWICK CT                                                                    OKLAHOMA CITY      OK       73162
PAUL SUMNER                                                              6950 ALPINE ST                                                                         JACKSONVILLE       FL       32208-4615
PAUL T THACKER                                                           2940 SAINT CLAIRE ROAD                                                                 WINSTON SALEM      NC       27106
PAUL TEGELER                                                             3400 ALBURNETT ROAD APT 141                                                            MARION             IA       52302
PAUL THOMPSON SERVICES, LLC                                              PO BOX 516                                                                             WOODWARD           OK       73802
PAUL TIBBITTS                                                            14805 N YALE RD                                                                        MEED               WA       99021
PAUL TIFFANY                                                             7810 GEORGETOWN                                                                        AMARILLO           TX       79119
PAUL TOMA                                                                75 SHEARWATER PL                                                                       NEWPORT BEACH      CA       92660
PAUL VASSAR                                                              PO BOX 454                                                                             CHANDLER           OK       74834-0454
PAUL VINCEN GLICK                                                        20167 H50 ROAD                                                                         DELTA              CO       81416
PAUL W THEIMER ESTATE TRUST                                              151 N LINCOLN PL                                                                       MONROVIA           CA       91016-1920
PAUL WHARTON                                                             942 VILLAGE PKWY                                                                       COPPELL            TX       75019
PAUL WHATLEY                                                             311 WILLOW PLACE                                                                       YUKON              OK       73099
PAUL WHITNEY                                                             915 W GRAND AVE                                                                        CARTERVILLE        IL       62918-2106
PAUL WILLIAMS                                                            9600 CR 200                                                                            RED ROCK           OK       74651
PAUL WILLIAMS                                                            5711 DARMONDALE                                                                        SAN ANTONIO        TX       78261-2624
PAUL ZEMP                                                                23103 CR 170                                                                           PERRY              OK       73077-9336
                                                                                                                       9211 Lake Hefner
Paul Crowl                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Paul Crowl                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Paul Crowl                                                               321 N. Peters Ave                                                                      Norman             OK       73069
                                                                                                                       9211 Lake Hefner
Paul Yoskowitz                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Paul Yoskowitz                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Paul Yoskowitz                                                           355397 E. 840 Rd                                                                       Stroud             OK       74079
PAULA AND CASEY MCCULLOUGH JT                                            4710 E KARA DR                                                                         STILLWATER         OK       74074

PAULA B SIEGEL                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX       75070
PAULA BOELSEMS                                                           16822 BOLORO LN                                                                        HUNTINGTON BEACH   CA       92649-3028
PAULA BRADLEY SMITH                                                      1210 HAZEL CIRCLE                                                                      MAGNOLIA           AR       71753
PAULA CAIN                                                               513 N STEPHEN                                                                          PONCA CITY         OK       74601


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                                                                                              White Star Petroleum, LLC
                                                                                                   Creditor Matrix


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PAULA DAWN POTEET                                                        PO BOX 303                                                                             TRYON           OK      74875
PAULA DENNISON                                                           2323 E RICHMOND                                                                        STILLWATER      OK      74075
PAULA ELAINE THOMPSON REV TRUST                                          5147 S HARVARD AVE STE 110                                                             TULSA           OK      74135-3587
PAULA FLOTT MARSALIA                                                     17926 CYPRESS SPRING DR                                                                SPRING          TX      77388
PAULA HOGAN                                                              41802 WYE RD                                                                           MACOMB          OK      74852
PAULA J FALKENSTEIN                                                      2900 CHESTNUT RIDGE CT                                                                 OKLAHOMA CITY   OK      73120
PAULA J LOESCH REV TRUST AGMT DTD M                                      11300 N COLTRANE RD                                                                    GUTHRIE         OK      73044
PAULA KING                                                               23750 CR 220                                                                           MORRISON        OK      73061
PAULA L PHILLIPS                                                         10767 FOLKESTONE WAY                                                                   WOODSTOCK       MD      21163
PAULA MAXWELL                                                            22175 COUSINS ROAD                                                                     TECUMSEH        OK      74873
PAULA MCCULLAH                                                           8121 SUZIE DR                                                                          RYE             CO      81069-8801
PAULA ROBERTS                                                            PO BOX 53                                                                              LANCASTER       MO      63548-0053
PAULA SEALES                                                             421 AMETHYST AVE                                                                       STILLWATER      OK      74075-1872
PAULA SMITH                                                              1210 HAZEL CIR                                                                         MAGNOLIA        AR      71753-2518
PAULA SULLIVAN                                                           1801 ESTELLE ST                                                                        DURANT          OK      74701-5507
PAULA WALTON JANTZ                                                       2607 SPRINGHILL ROAD                                                                   CLINTON         OK      73601
PAULA WEST                                                               Rt. 1, Box 22-1                                                                        Deleware        OK      74027
PAULA WOOD NEAL                                                          3853 S FLORENCE PL                                                                     TULSA           OK      74105
                                                                                                                       9211 Lake Hefner
Paula Goosby                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Paula Goosby                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Paula Goosby                                                             12112 N Greystone Circle                                                               Oklahoma City   OK      73120
                                                                                                                       9211 Lake Hefner
Paula Levan                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Paula Levan                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Paula Levan                                                              686 E. Garden Canyon Dr                                                                Cleveland       OK      74020
PAULENE LEE SNODGRASS                                                    4055 N MONARCH DR                                                                      ELOY            AZ      85131
PAULETTE A FISHER                                                        1639 ALCORN DR                                                                         BARBERTON       OH      44023
PAULETTE COOKSON                                                         1120 CUMBERLAND                                                                        OKLAHOMA CITY   OK      73116
PAULETTE EVANS                                                           4009 OAKCREST AVE                                                                      ENID            OK      73703
PAULETTE L MONTGOMERY                                                    212 N SUMMIT DR                                                                        CABOT           AR      72023
PAULINE A REDMAN TTEE                                                    3444 E COUNTY RD 66                                                                    MULHALL         OK      73063
PAULINE E WRIGHT REVOCABLE LIVING T                                      1725 WELLESELY COURT                                                                   NORMAN          OK      73071
PAULINE GRAFF REVOCABLE TRUST                                            6419 N MERIDIAN AVE                                                                    CRESCENT        OK      73028
PAULINE GRIGSBY                                                          5410 N BRAESWOOD BLVD                                                                  HOUSTON         TX      77096-3200
PAULINE HECHLER                                                          7041 N SKYWAY DRIVE                                                                    TUCSON          AZ      85718
PAULINE LENTZ                                                            PO BOX 248                                                                             GUTHRIE         OK      73044-0248
PAULINE MCLAUGHLIN                                                       1212 EDGERTON DR                                                                       VALRICO         FL      33594-4905
PAULINE MEYER                                                            14418 S SHELL ROAD                                                                     MARSHALL        OK      73056
PAUPER PETROLEUM LLC                                                     PO BOX 432                                                                             PIEDMONT        OK      73078-0432
PAWNEE COUNTY CLERK                                                      500 HARRISON RM 202                                                                    PAWNEE          OK      74058
PAWNEE OIL AND GAS INC.                                                  105 NORTH MCKINNEY                                                                     RICHARDSON      TX      75083
PAWS LLC                                                                 194 SUMMERS ST                                                                         CHARLESTON      WV      25301
PAYNE CO IMPLEMENT CO                                                    4505 S PERKINS RD                                                                      STILLWATER      OK      74074-7098
PAYNE COUNTY BANK                                                        202 S MAIN ST                                                                          PERKINS         OK      74059
PAYNE COUNTY CLERK                                                       315 W 6TH AVE STE 202                                                                  STILLWATER      OK      74074-4080
PAYNE COUNTY COMMISSIONER                                                315 W 6TH AVE STE 102                                                                  STILLWATER      OK      74074-4079
PAYNE COUNTY DISTRICT 1                                                  1502 E. PINE                                                                           CUSHING         OK      74023
Payne County Treasurer                                                   315 West Sixth Street                         Suite 101                                Stillwater      OK      74074
PAYNE COUNTY TREASURER                                                   315 W 6TH AVE STE 101                                                                  STILLWATER      OK      74074-4079
PAYNE COUNTY YOUTH SERVICES                                              PO BOX 2647                                                                            STILLWATER      OK      74076-2647
PAYNE EXPLORATION COMPANY                                                7005 N ROBINSON AVE                                                                    OKLAHOMA CITY   OK      73116-9044
Payne, Jerod                          c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater      OK      74074
PAYROCK ENERGY LLC                                                       3200 QUAIL SPRINGS PKWY STE 210                                                        OKLAHOMA CITY   OK      73134-2699
Payzone Completion Services LLC       David Droke                        837 SE 82nd Street                                                                     Oklahoma City   OK      73149
PAYZONE COMPLETION SERVICES LLC                                          PO BOX 6167                                                                            HERMITAGE       PA      16148
PAYZONE ENERGY LLC                                                       1601 NW EXPRESSWAY STE 1450                                                            OKLAHOMA CITY   OK      73118-1463


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                   CreditorName           CreditorNoticeName                             Address1                         Address2                 Address3            City   State       Zip      Country
PBR PROPERTIES JV                                                      PO BOX 2802                                                                            Midland         TX      79702
PCM - PC MALL                                                          FILE 55327                                                                             LOS ANGELES     CA      90074-5327
PCS FERGUSON INC (DNU)                                                 DNU - PO BOX 732131                                                                    DALLAS          TX      75373-2131
PCS FERGUSTON INC                                                      PO BOX 732131                                                                          DALLAS          TX      75373-2131
PDI INC                                                                105 NORTH HUDSON SUITE 800                                                             OKLAHOMA CITY   OK      73102
PDP HOLDINGS LLP                                                       5615 BAXTER WELL RD                                                                    MCKINNEY        TX      75071-8555
PDS ENERGY INFORMATION INC                                             PO BOX 1606                                                                            AUSTIN          TX      78767-1606
PEAK MEDIA KASEY SIMONICH                                              8420 NW 141ST CIR                                                                      OKLAHOMA CITY   OK      73142
Peak Oilfield Services, LLC         c/o Dore Law Group PC              Attn: Christina Heeth                         1717 Park Row        Ste. 160            Houston         TX      77084
Peak Oilfield Services, LLC         c/o Doré Law Group, P.C.           Attn: Christina Heeth                         17171 Park Row       Ste. 160            Houston         TX      77084
Peak Oilfield Services, LLC                                            PO Box 203997                                                                          Dallas          TX      75320
PEARL COLLINSWORTH                                                     4603 WOODED ACRES DRIVE                                                                ARLINGTON       TX      76016
PEARL GLADYS HARRIS                                                    1435 NE 25TH ST                                                                        OKLAHOMA CITY   OK      73111
PEARL HANNAH                                                           822 N PHILLIPS ST                                                                      ANDOVER         KS      67002
                                                                                                                     9211 Lake Hefner
Pearl Hesket                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Pearl Hesket                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Pearl Hesket                                                           3922 S Henderson St                                                                    Stillwater      OK      74074
PEARL HESKETT                                                          116 S CIMARRON DR                                                                      PERKINS         OK      74059-0094
PEARL M HARMON &                                                       PO BOX 386                                                                             NOWATA          OK      74048-0386
PEARL POWER LLC                                                        1610 ELMHURST                                                                          OKLAHOMA CITY   OK      73120
PEARL SHANKLIN                                                         7991 E KENYON DR                                                                       DENVER          CO      80237
PEARL V BENTLEY                                                        5866 LOMA VISTA RD                                                                     VENTURA         CA      93003-2333
                                                                                                                     9211 Lake Hefner
Pearlie Dunn                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Pearlie Dunn                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Pearlie Dunn                                                           4212 N. Easy St                                                                        Oklahoma City   OK      73150
Pearman, Travis                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
PEBBLESTONE PROPERTIES LLC                                             4013 NW EXPRESSWAY STE 690                                                             OKLAHOMA CITY   OK      73116
PEC MINERALS LP                                                        16400 DALLAS PKWY STE 400                                                              DALLAS          TX      75248-2609
PEC PREMIER SAFTEY OPERATIONS LLC                                      233 GENERAL PATTON AVE                                                                 MANDEVILLE      LA      70471-8701
PECAN CREEK CATERING LLC                                               221 N GLENN ENGLISH                                                                    CORDELL         OK      73632
PECOS BEND ROYALTIES LLLP                                              PO BOX 2802                                                                            MIDLAND         TX      79702-2802
PECOS BRIDENSTINE                                                      1302 W 92ND ST                                                                         PERKINS         OK      74059-4265
PECOS RESOURCES CORP                                                   PO BOX 600217                                                                          DALLAS          TX      75360-0217
PECOS VAN BRIDENSTINE                                                  12518 S RANGE RD                                                                       PERKINS         OK      74059
PEDCO RESOURCES CO                                                     7030 S YALE STE 800                                                                    TULSA           OK      73136
PEE WEE'S ROUSTABOUT SERVICE                                           PO Box 731                                                                             MOORELAND       OK      73852
Peery, Andrew                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
PEGASUS PRODUCTION LLC                                                 PO BOX 1337                                                                            OKLAHOMA CITY   OK      73101-1337
PEGGE RENTFRO                                                          15920 311TH AVE SE                                                                     SULTAN          WA      98294
PEGGIE SOWELL                                                          13207 E LAGUNA                                                                         WICHITA         KS      67230
PEGGY A BRYANT                                                         3220 S GREEN VALLEY DR                                                                 STILLWATER      OK      74074-7029
PEGGY ALEXANDER                                                        1509 W HUNTSVILLE ST                                                                   BROKEN ARROW    OK      74011-6205
PEGGY ANN HUNTER                                                       955 W 19TH ST APT D117                                                                 COSTA MESA      CA      92627
PEGGY ANN SEVERSON                                                     11423 GREENTREE                                                                        HAYDEN          ID      83835-7274
PEGGY ANN YOST REVOCABLE TRUST                                         14817 N COLTRANE RD                                                                    MULHALL         OK      73063
PEGGY ASSENZIO                                                         3118 WEST NELSON DRIVE                                                                 ENID            OK      73703-4934
PEGGY BIG EAGLE                                                        2407 NW 31ST STREET                                                                    OKLAHOMA CITY   OK      73112
PEGGY BLYTH                                                            15805 E GUNNISON PL                                                                    AURORA          CO      80017-4039
PEGGY BRADY                                                            612 E 2ND                                                                              CUSHING         OK      74023
PEGGY BUCHANAN                                                         3 SOUTH GRANT ST                                                                       TRYON           OK      74875
PEGGY BYUS                                                             2120 STEVENS DR                                                                        MIDWEST CITY    OK      73110-4744
PEGGY C. WINTER ESTATE                                                 2616 S.W. 96TH STREET                                                                  OKLAHOMA CITY   OK      73159
PEGGY COOK EST                                                         610 COLCORD DR                                                                         OKLAHOMA CITY   OK      73102
PEGGY CUTHBERTSON                                                      805 S CHERRY ST                                                                        CHELSEA         OK      74016
PEGGY DYER                                                             11112 S LAKESIDE OAKS AVE                                                              BATON ROUGE     LA      70810


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PEGGY E PICKENS LIVING TR                                             PO BOX 2678                                                                             STILLWATER       OK    74076-2678
                                                                                                                    9211 Lake Hefner
Peggy Fleschute                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                   c/o Laminack, Pirtle & Martines,
Peggy Fleschute                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Peggy Fleschute                                                       2123 Lydia Lane                                                                         Stillwater       OK    74074
PEGGY GATTENBY                                                        720 W CARSON DR                                                                         MUSTANG          OK    73064-3578
PEGGY HAYES ROBERTS                                                   14200 KIRKLAND RDG                                                                      EDMOND           OK    73013-7077
PEGGY HELEN HOWARD                                                    23214 GRAND MEADOWS                                                                     KATY             TX    77494
PEGGY HOLLAND                                                         13035 E 27TH PLACE                                                                      TULSA            OK    74134
PEGGY J STANDLEY                                                      4213 36TH ST                                                                            SAN DIEGO        CA    92014-1506
PEGGY JANE CASEY TRST                                                 123 W 32ND AVE                                                                          STILLWATER       OK    74074
PEGGY JOYCE WESTFALL                                                  3900 DUMONT DR                                                                          ODESSA           TX    79762
                                                                                                                    9211 Lake Hefner
Peggy L. Harris                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                   c/o Laminack, Pirtle & Martines,
Peggy L. Harris                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Peggy L. Harris                                                       1708 Leawood Dr                                                                         Edmond           OK    73034
PEGGY LINSTROMBERG                                                    398 OLD TOWNE RD                                                                        SAND SPRINGS     OK    74063-7263
PEGGY LOVETT                                                          PO BOX 1324                                                                             HURST            TX    76053-1324
PEGGY LUNDY                                                           790621 S 3430 RD                                                                        TRYON            OK    74875
PEGGY M WOLFE LIVING TRUST                                            2600 W 92ND ST                                                                          PERKINS          OK    74059
Peggy Macias                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX    75070
Peggy Macias                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK    74104
Peggy Macias                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY    10017
Peggy Macias                                                          366920 East 5500 Rd                                                                     Terlton          OK    74081
PEGGY ODNEAL                                                          599 AGANA ST                                                                            GRAND JUNCTION   CO    81504
PEGGY PARKS                                                           1215 LOU IDA DR                                                                         NEOSHO           MO    64850-1360
PEGGY PEACH DAILEY LIVING TRUST                                       3836 E 55TH ST                                                                          TULSA            OK    74135
PEGGY POOL                                                            5939 OAKLAND PARK DR                                                                    BURKE            VA    22015
PEGGY RICE                                                            1776 CAMDEN ST                                                                          CLAREMORE        OK    74017
PEGGY ROBINSON                                                        PO BOX 15                                                                               MORRISON         OK    73061
PEGGY SHEFFE                                                          3004 NW 160TH ST                                                                        EDMOND           OK    73013-1465
PEGGY STRUBLE                                                         26031 STEPHEN LN                                                                        PARMA            ID    83660
PEGGY SUE BOSMYER                                                     16 LINWOOD AVENUE                                                                       EUREKA SPRINGS   AR    72632
PEGGY SWEARINGEN                                                      8509 S GRACE DR                                                                         OKLAHOMA CITY    OK    73159
PEGGY TAYLOR                                                          19015 WEST RD APT 328                                                                   CYPRESS          TX    77433
PEGGY VAN ALLER                                                       4711 SAND SAGE LN                                                                       FRIENDSWOOD      TX    77546-2398
PEGGY WATERFALL                                                       78-6978 WALUA RD A                                                                      KAILUA KONA      HI    96740-9753
PEGGY WILLIAMSON                                                      124 BLUE CEDAR DR                                                                       BULL SHOALS      AR    72619
PEGGY WINCHESTER                                                      105 KIMBERLY LN                                                                         WAUKOMIS         OK    73773-9500
PEGGY WINTER                                                          2616 SW 96TH ST                                                                         OKLAHOMA CITY    OK    73159
PEGGY YSKAMP                                                          PO BOX 2492                                                                             OREGON CITY      OR    97045
PELICAN ENERGY LLC                                                    717 TEXAS AVENUE, SUITE 3100                                                            HOUSTON          TX    77002
PELOTON COMPUTER ENTERPRISES INC                                      23501 CINCO RANCH BLVD STE C220                                                         KATY             TX    74494
PELOTON COMPUTER ENTERPRISES INC                                      23501 Cinco Ranch Blvd                        Suite C220                                Houston          TX    77494
Pempin, Kimberly                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK    73116
PENDARVIS FAMILY TRUST                                                PO BOX 5623                                                                             TAHOE CITY       CA    96145
PENDLETON RESOURCES INC                                               1120 LINCOLN ST STE 702                                                                 DENVER           CO    80203
PENELOPE ANN HAMPTON                                                  8301 PROMISE LN                                                                         OKLAHOMA CITY    OK    73135
PENNSYLVANIA CASTLE ENGY CORP                                         1720 KENDARBREN DRSUITE 723                                                             JAMISON          PA    18929
PENNY AXTELL                                                          6717 S RIPLEY RD                                                                        RIPLEY           OK    74062-6235
PENNY CHURCHILL                                                       269 W KINGBIRD DR                                                                       CHANDLER         AZ    85286-7765
PENNY DYER                                                            91458 COLBURG                                                                           EUGENE           OR    97408
PENNY G. VERNON                                                       9504 SEA TURTLE DRIVE                                                                   PLANTATION       FL    33324
PENNY HAMPTON                                                         8301 PROMISE LANE                                                                       OKLAHOMA CITY    OK    73135
PENNY KIRBY                                                           3350 BARHITE ST                                                                         PASADENA         CA    91107
PENNY LYN PALMER 1999 TR                                              715 AVE G                                                                               LEVELLAND        TX    79336
PENNY MILLEMON                                                        900 DENSMORE RD                                                                         JOPPA            AL    35087


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PENNY SCOTT                                                              716 N PENNSYLVANIA AVE                                                                 DRUMRIGHT       OK    74030-2218
PENNY WEST COOPER                                                        980 W. FOREST GROVE RD                                                                 ALLEN           TX    75002
PENNY WILCOXSON                                                          17104 CINNAMON ST                                                                      OMAHA           NE    68135-3103
                                                                                                                       9211 Lake Hefner
Penny Frick                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Penny Frick                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Penny Frick                                                              3009 Saint Fergus Circle                                                               Edmond          OK    73034
Penrod, Jacob                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK    73116
PENTAGON OIL COMPANY                                                     PO BOX 399                                                                             KILGORE         TX    75663-0399
PENTERRA SERVICES LLC                                                    1700 KALISTE SALOOM RD STE 5                                                           LAFAYETTE       LA    70508-6187
PENWELL OIL & GAS LTD                                                    3838 OAK LAWN STE1216                                                                  DALLAS          TX    75219-4513
PEPPER BOURLON                                                           2529 ZORA CHAPEL DR                                                                    RUDY            AR    72952
PEPPERS RANCH INC                                                        PO BOX 3814                                                                            EDMOND          OK    73083-3814
PERCHERON LLC                                                            1904 W GRAND PKWY N STE 200                                                            KATY            TX    77449
PERDUE FAMILY LLC                                                        8101 NW 128TH PL                                                                       OKLAHOMA CITY   OK    73142-2212
PEREGRINE EP HOLDINGS LP                                                 4228 N CENTRAL EXPRESSWAY                                                              DALLAS          TX    75206
PERELLA WEINBERG PARTNERS LP                                             767 FIFTH AVE                                                                          NEW YORK        NY    10153-0023
PERFECTION EQUIPMENT                                                     2500 W RENO AVE                                                                        OKLAHOMA CITY   OK    73107-6840
PERFORMANCE ENERGY SERVICES LLC                                          PO BOX 850706                                                                          YUKON           OK    73085-0706
PERFORMANCE WELLHEAD&FRAC
COMPONENT                                                                8505 JACKRABBIT ROAD, SUITE A                                                          HOUSTON         TX    77095
PERFORMWELL SOLUTIONS INC                                                5302 SPARTAN DR                                                                        HOUSTON         TX    77041-5953
PERIMETER EXPLORATION LLC                                                1715 N HUDSON AVE                                                                      OKLAHOMA CITY   OK    73103
PERMIAN BASIN DRUG & ALCOHOL TESTIN                                      PO BOX 3565                                                                            ODESSA          TX    79760
PERMIAN RESOURCES LLC                                                    PO BOX 14670                                                                           OKLAHOMA CITY   OK    73113
PERMIAN TANK & MANUFACTURING INC                                         PO BOX 205642                                                                          DALLAS          TX    75320-5642
PERMIAN WELL SERVICE                                                     PO BOX 177                                                                             RINGWOOD        OK    73768
PERRE BURR                                                               1775 NE BUFFALO                                                                        PORTLAND        OR    97211
PERRY BOLGER                                                             PO BOX 1782                                                                            MIDLAND         TX    79702-1782
PERRY BOWSER                                                             209 S. STANLEY BLVD                                                                    FORT COBB       OK    73038
PERRY BOWSER                                                             PO BOX 37                                                                              TALOGA          OK    73667
PERRY DAILY JOURNAL                                                      PO BOX 311                                                                             PERRY           OK    73077-0311
PERRY FAMILY TRUST DTD. 7-8-2011                                         PO BOX 270284                                                                          LITTLETON       CO    80127-0005
PERRY FRANCIS                                                            6327 OAKHURST DRIVE                                                                    YPSILANTI       MI    48197

PERRY GRAVITT                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX    75070

PERRY GRAVITT JR                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX    75070
PERRY HOMES LLC                                                          1319 WEST RICHMOND ROAD                                                                STILLWATER      OK    74075
PERRY KILPATRICK                                                         233 ROUGE RIVER HWY #359                                                               GRANTS PASS     OR    97527
PERRY M HUDKINS                                                          4018 HAWK HIGHWAY                                                                      LOST CREEK      WV    26385
PERRY M. HUDKINS                                                         3111 OAL MOUND ROAD                                                                    CLARKSBURG      WV    26301
PERRY PATTERSON                                                          4750 E CR 70                                                                           MULHALL         OK    73063
PERRY R HUDKINS                                                          RR1 BOX 673                                                                            MT CLARE        WV    26408
PERRY SHANNON                                                            4628 ALAMO DR                                                                          SAN DIEGO       CA    92115
PERRY SHARON BOWSER JT                                                   2400 ZION PARK                                                                         YUKON           OK    73099
PERRYMAN TRUST B                                                         2839 CURTIS DR                                                                         TYLER           TX    75701-8110
PERSIMMON SPRINGS LLC                                                    PO BOX 700630                                                                          TULSA           OK    74170-0630
PERSONAL REP DAVID SWANK                                                 300 W TIMBERDELL RD                                                                    NORMAN          OK    73019
PERTH LLC                                                                3201 AMBERWOOD CT                                                                      EDMOND          OK    73003-2132
Petco Petroleum Corp.                 c/o Durbin Larimore & Bialick      Attn: E. Edd Pritchett Jr.                    920 N Harvey Ave                         Oklahoma City   OK    73102
                                      c/o Hall Estill Hardwick Gable
Petco Petroleum Corp.                 Golden & Nelson PC                 Attn: J. Kevin Hayes                          320 S Boston Ave.    Ste. 200            Tulsa           OK    74103
Petco Petroleum Corp.                 c/o The Corporation Company        1833 S. Morgan Rd.                                                                     Oklahoma City   OK    73128
Petco Petroleum Corp.                 c/o The Doyle Firm PC              Attn: William H Doyle                         1313 E Osborn Rd     Ste. 220            Phoenix         AZ    85014
Petco Petroleum Corp.                                                    108 E. Ogden Ave                                                                       Hinsdale        IL    60521
Petco Petroleum Corp.                                                    51854 W Hwy 33                                                                         Drumright       OK    74030
PETE SAWATZKY                                                            201 W MAIN                                                                             STROUD          OK    74079


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                CreditorName               CreditorNoticeName                             Address1                         Address2                 Address3             City    State       Zip       Country
                                                                                                                      9211 Lake Hefner
Pete Brown                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Pete Brown                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Pete Brown                                                              2201 SW 61st Terr                                                                      Oklahoma City     OK      73159
PETER & NANCY KEANE TRUST EXECUTED                                      1438 CABRILLO ST                                                                       SAN FRANCISCO     CA      94118
PETER A NYGAARD III                                                     PO BOX 8276                                                                            EDMOND            OK      73083
PETER BERRY                                                             PO BOX 25372                                                                           HOUSTON           TX      77265
PETER CRANLEY                                                           658 YORK ST                                                                            MADISON           WI      53711
PETER ELROD                                                             PO BOX 951                                                                             BELLE             MO      65013
PETER EVANS                                                             341 41ST AVE NE                                                                        NAPLES            FL      34120-4627
PETER FISHER                                                            8383 LA PRADA DR #504                                                                  DALLAS            TX      75228
PETER GIBSON                                                            8808 LAKEAIRE DR                                                                       OKLAHOMA CITY     OK      73132
PETER GULATI                                                            2100 COLLINS PATH                                                                      COLLEYVILLE       TX      76034
PETER HARRIS                                                            BAS ADDRESS-8916 BECK DR                                                               OKLAHOMA CITY     OK      73127
PETER HARVEY                                                            576 EL CERRO                                                                           EL SOBRANTE       CA      94803
PETER HESSER                                                            19839 SCOBEY LANE                                                                      PITTSBURG         IL      62974
PETER IVERSON                                                           206 BELLEMEADE CIR                                                                     EUFALA            OK      74432
PETER J FRYER IRREVOCABLE TRUST                                         6414 NW GRAND BLVD                                                                     OKLAHOMA CITY     OK      73116
PETER JOHNSON                                                           31 WHIG STREET                                                                         TRUMANSBURG       NY      14886
PETER K REILLY & JEANNE CLARKE JTS                                      3269 S STAFFORD ST                                                                     ARLINGTON         VA      22206
PETER KYLE HOUSE TTEE                                                   1680 STEVANA WAY                                                                       FLAGSTAFF         AZ      86001

PETER M KLEBOFSKI                                                       5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
PETER NAFF                                                              2173 JEFFERSON AVE                                                                     MEMPHIS           TN      38104
PETER SAUNDERS                                                          9105 SHORELAKE DRIVE                                                                   MISSOURI CITY     TX      77459
PETER SVELAN                                                            101 DAWN PLACE                                                                         YORKTOWN          VA      23693
PETER WILLIAM BOSWORTH                                                  PO BOX 1463                                                                            OWASSO            OK      74055-1463
PETER WOLFE                                                             1526 LEWIS DR                                                                          GARLAND           TX      75041-4269
Peterman, Hollie                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
Peterson, Christopher                c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
PETRA INDUSTRIES LLC                                                    PO BOX 960130                                                                          OKLAHOMA CITY     OK      73196-0130
PET-RAND MINERALS LLC                                                   1115 W 84TH PLACE SOUTH                                                                TULSA             OK      74132-3231
PETRICIA HOLMAN                                                         6153 S QUEBEC AVENUE                                                                   TULSA             OK      74136
                                                                                                                      9211 Lake Hefner
Petrina Wills                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Petrina Wills                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Petrina Wills                                                           2401 Fairfield Dr                                                                      Edmond            OK      73012
                                     Cesar Vasquez, President and
Petro Amigos Supply Inc              Chief Executive Officer            777 North Eldridge Parkway                    Suite 400                                Houston           TX      77079
PETRO AMIGOS SUPPLY INC                                                 PO BOX 957554                                                                          ST LOUIS          MO      63195-7554
PETRO GUARDIAN LLC                                                      29089 KRENTEL RD STE 100                                                               LACOMBE           LA      70445-3305
PETRO HUSTON LLC                                                        PO BOX 1186                                                                            ENID              OK      73702-1186
PETRO LAND SERVICES SOUTH                                               10404 VINEYARD BLVD STE G-100                                                          OKLAHOMA CITY     OK      73120-3739
PETRO LEWIS CORP                                                        PO BOX 7                                                                               HENNESSEY         OK      73742
PETRO PARTNERS LIMITED                                                  PO BOX 180694                                                                          ARLINGTON         TX      76096-0694
PETRO PROPERTIES LLC                                                    940 CAPE MARCO DR # 1701                                                               MARCO ISLAND      FL      34145
Petro Warrior LLC                    Attn: Gary LaRue                   215 S Ash, PO Box 3399                                                                 Wichita           KS      67201
Petro Warrior LLC                    Attn: Gary LaRue                   4599 N Washington, Apt 371                                                             Stillwater        OK      74075
Petro Warrior LLC                    c/o Gary LaRue                     215 S Ash, PO Box 3399                                                                 Wichita           KS      67201
Petro Warrior LLC                    c/o Gary LaRue                     4599 N Washington, Apt 371                                                             Stillwater        OK      74075

Petro Warrior LLC                    c/o Levinson, Smith & Huffman PC Attn: Trevor R. Henson                          1743 E 71st St                           Tulsa             OK      74136
Petro Warrior LLC
PETRO-AMERICA LLC                                                       1593 ARROWHEAD RD                                                                      HIGHLANDS RANCH   CO      80126
PETROCINQ DEVELOPMENT COMPANY                                           THE CLUSTERS OF WASHINGTON                                                             TURNERSVILLE      NJ      08012
PETROCRAFT PRODUCTS LTD.                                                BAY C, 2410 - 2nd AVE SE                                                               CALGARY           AB      T2P 0M9      CANADA
PETROGAS COMPANY                                                        2800 POST OAK BLVD                                                                     HOUSTON           TX      77056


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PETROHAWK ENERGY CORPORATION                                             1360 POST OAK RD                                                                       HOUSTON            TX    77056
PETROJARL INC                                                            PO BOX 820467                                                                          HOUSTON            TX    77282-0467
PETROLEUM CLUB OF MIDLAND                                                PO BOX 10527                                                                           MIDLAND            TX    79702-7527

PETROLEUM CLUB OF OKLAHOMA CITY INC                                      100 N BROADWAY STE 3400                                                                OKLAHOMA CITY      OK    73102-9211
PETROLEUM EXPERTS INC                                                    757 N ELDRIDGE PKWY STE 510                                                            HOUSTON            TX    77079-4526
PETROLEUM INTERNATIONAL INC                                              1840 E 15TH ST                                                                         TULSA              OK    74104-4611
PETROLEUM STRATEGIES                                                     2500 N BROADWAY #311                                                                   EDMOND             OK    73034
PETRO-MAC CP                                                             PO BOX 3405                                                                            TULSA              OK    74101-3405
PETRONATION LLC                                                          5200 E ELK AVE                                                                         DUNCAN             OK    73533-2970
PETROQUEST ENERGY LLC                                                    400 E KALISTE SALOOM RD STE 6000                                                       LAFAYETTE          LA    70508-8523
PETROQUIP ENERGY SERVICES LLC                                            20520 STOKES ROAD                                                                      WALLER             TX    77484
PETROROYALTIES LLC                                                       7313 DARROW DR                                                                         MCKINNEY           TX    75071
PETRO-SENTINEL LLC                                                       PO BOX 477                                                                             WILLSTON           ND    58802
PETROSKILLS LLC                                                          2930 S YALE AVE                                                                        TULSA              OK    74114-6252
PETROSTONE LLC                                                           PO BOX 671289                                                                          DALLAS             TX    75367-1281
PETROTIGER I LTD                                                         PO BOX 3166                                                                            TULSA              OK    74101-3166
PETROVEN INC                                                             5949 SHERRY LN STE 835                                                                 DALLAS             TX    75225-8004
PETRUST CORPORATION OF AMERICA                                           PO BOX 53567                                                                           MIDLAND            TX    79710
PETTIGREW PUMPING SERVICE INC                                            PO BOX 809                                                                             RAVENNA            OH    44266
Petty, Jana                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK    73116
Pettyjohn, Matthew                    c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK    74074
PFEIFER ENERGY COMPANY LLC                                               1455 ASHLEY CIR                                                                        PITTSBURGH         PA    15241-3141
PFEIFFER FAMILY TRUST DTD 4-17-1990                                      23681 N HWY 77                                                                         ORLANDO            OK    73073
PGA RESOURCES LLC                                                        37054 KINNEY RIDGE RD                                                                  WOODSFIELD         OH    43793-9263
PGP HOLDINGS 1 LLC                                                       104 TOWNPARK DRIVE                                                                     KENNESAW           GA    30144
Phares, Shawnda                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK    74074
PHELPS MINERALS LLC                                                      5012 TURTLE LAKE CT                                                                    OKLAHOMA CITY      OK    73165-5611
PHIBBS HOLDINGS LLC                                                      4132 E 85TH ST                                                                         TULSA              OK    74137
PHIL BENNETT                                                             4101 CATHEDRAL AVE NW                                                                  WASHINGTON         DC    20016
PHIL DELOZIER                                                            4010 RILEY ST                                                                          HOUSTON            TX    77005
PHIL FRANKLIN                                                            2725 MILTON AVE                                                                        DALLAS             TX    75205-1520
PHIL GWINNER                                                             417 N F ST                                                                             WELLINGTON         KS    67152-4049
PHIL LEMING                                                              2705 E RANDOLPH RD                                                                     EDMOND             OK    73013-6739
PHIL MONTGOMERY SELF DIRECTED IRA                                        PO BOX 1130                                                                            CHICKASHA          OK    73023
PHIL THOMSEN                                                             2275 PARTRIDGE LANE                                                                    TUTTLE             OK    73089
                                                                                                                       9211 Lake Hefner
Phil Stegner                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Phil Stegner                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Phil Stegner                                                             2516 Lynn Lane                                                                         Oklahoma City      OK    73120
PHILIP ANDERSON                                                          20950 COUNTY RD 170                                                                    PERRY              OK    73077
PHILIP ANSON                                                             16801 ALAMO                                                                            STILLWATER         OK    74075
PHILIP B BERRY MGMNT TRUST A                                             PO BOX 56129                                                                           HOUSTON            TX    77256-6129
PHILIP B BERRY MGMT TRUST B                                              PO BOX 56129                                                                           HOUSTON            TX    77256-6129
PHILIP B FAVELL                                                          PO BOX 462493                                                                          ESCONDIDO          CA    92046
PHILIP BECHTEL                                                           309 W 7TH ST STE 500                                                                   FORT WORTH         TX    76102
PHILIP BILLICK                                                           33088 COUNTY ROAD 15                                                                   LOWER SALEM        OH    45745
PHILIP CARD AND ARRETTA ANN CARD                                         221 GREGORIO S BORJA DR                                                                SANTA RITA GU 20   OK    96915-2022
PHILIP COMEAUX                                                           3318 SOUTHERN OAKS                                                                     STILLWATER         OK    74074
PHILIP CRANLEY                                                           517 CHARLES LN                                                                         MADISON            WI    53711-1311
PHILIP DAVID HARVEY                                                      130 ASH COURT                                                                          HERCULES           CA    94547
PHILIP DREESSEN                                                          2141 PELHAM DR                                                                         HOUSTON            TX    77019
PHILIP HAINEY                                                            PO BOX 722525                                                                          NORMAN             OK    73070-8918
PHILIP HART                                                              343708 EAST 780 RD                                                                     AGRA               OK    74824
PHILIP HINCKS                                                            132 WELLINGTON LN                                                                      WICHITA FALLS      TX    76305-5228
PHILIP HOOPER                                                            PO BOX 245                                                                             GLEN HAVEN         CO    80532-0245
PHILIP J. & CARLA S JOHNSTON, HW JT                                      2213 POWDERHORN                                                                        EDMOND             OK    73034
PHILIP JOHNSTON                                                          2213 POWDERHORN                                                                        EDMOND             OK    73034


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               CreditorName            CreditorNoticeName                         Address1                             Address2                 Address3           City        State       Zip      Country
PHILIP LLOYD                                                        14907 E BOBWHITE WAY                                                                   SCOTTSDALE          AZ      85262
PHILIP LOWRY                                                        6801 N BROADWAY STE 204                                                                OKLAHOMA CITY       OK      73116
PHILIP MAAG                                                         PO BOX 3211                                                                            CATHEDRAL CITY      CA      92235
PHILIP MICHAEL FLIES                                                1977 PULASKI DRIVE                                                                     BEAUFORT            SC      29906
PHILIP MORSE                                                        7321 N ROSE RD                                                                         GLENCOE             OK      74032

PHILIP N SAFFELL                                                    5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY            TX      75070
PHILIP NORDAN HUDSON                                                PO BOX 160892                                                                          SAN ANTONIO         TX      78280-3092
PHILIP O CAREY FAMILY LLC                                           7517 PINERIDGE LN                                                                      FAIR OAKS           CA      95628
PHILIP ORR                                                          605 W LAKEWOOD DR                                                                      GUTHRIE             OK      73044
PHILIP PETRUZZELLI                                                  5900 S LAKE FOREST DR STE 300                                                          MCKINNEY            TX      75070
                                                                                                                  9211 Lake Hefner
Philip Pritchett                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                 c/o Laminack, Pirtle & Martines,
Philip Pritchett                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Philip Pritchett                                                    7327 S. 69th East Pl.                                                                  Tulsa               OK      74133
PHILIP SEABOLT                                                      35269 E. COUNTY RD. 1510                                                               PAOLI               OK      73074-9770
PHILIP SHEPPARD                  c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
PHILIP VAN SYCKLE                                                   PO BOX 6                                                                               DOWLING             MI      49050-0006
PHILIP VILES                                                        3534 E 74TH ST                                                                         TULSA               OK      74136-5970
PHILIP WARD                                                         824 N 3RD ST                                                                           MONTROSE            CO      81401
PHILIPE E BAUMANN ESTATE                                            645 MADISON AVE FL 13                                                                  NEW YORK            NY      10022-1010
PHILLIP A & RANDYE L GLENN JTS                                      5115 GULF DR UNIT 1006                                                                 PANAMA CITY BEACH   FL      32408
PHILLIP ALTMAN                                                      434 OAK VALLEY DR                                                                      LONGVIEW            TX      75605-7338
PHILLIP ARCHER                                                      1912 SW KEYSTONE DR                                                                    BLUE SPRINGS        MO      64014
PHILLIP BENJAMIN GRANT                                              1924 VINSONVILLE LANE                                                                  DENTON              TX      76208
PHILLIP BLEVINS                                                     612 HATCHER DR                                                                         MINCO               OK      73059-8050
PHILLIP C SLOAN                                                     81637 AVIENDA ESTUCO                                                                   INDIO               CA      92203
PHILLIP CAMREN                                                      421 Collins Court                                                                      STILLWATER          OK      74074
PHILLIP CARPENTER                                                   917 WEST H ST                                                                          JENKS               OK      74037
PHILLIP CARTER                                                      6191 S 35TH W AVE                                                                      TULSA               OK      74132
PHILLIP CLARK                                                       2618 NW LOCKSLEY LN                                                                    LAWTON              OK      73505
PHILLIP CLARY                                                       900 SE 36TH STREET                                                                     MOORE               OK      73160-7730
PHILLIP COPE                                                        11905 LOCUST RD                                                                        HENRYETTA           OK      74437
PHILLIP D. BERRY TRUST A                                            PO BOX 56129                                                                           HOUSTON             TX      77256
PHILLIP FAGAN                                                       4223 EAST 122ND ST                                                                     PERKINS             OK      74059
PHILLIP FOWLER                                                      PO BOX 1113                                                                            TALIHINA            OK      74571-1113
PHILLIP G MANKE TRUST                                               2556 N ROCKWELL AVE                                                                    BLANCHARD           OK      73010
PHILLIP G O'DEA                                                     PO BOX 260223                                                                          PLANO               TX      75026-0223
                                                                                                                  9211 Lake Hefner
Phillip Grizzle                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                 c/o Laminack, Pirtle & Martines,
Phillip Grizzle                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Phillip Grizzle                                                     1710 W Grandstaff                                                                      Cushing             OK      74023
PHILLIP GWINNER                                                     417 N F ST                                                                             WELLINGTON          KS      67152-4049
PHILLIP HARTING                                                     2112 N DIAMOND VALLEY RD                                                               STILLWATER          OK      74075
PHILLIP HINCKS                                                      4209 KINGSBURY DR                                                                      WICHITA FALLS       TX      76309-4109
PHILLIP HOLBROOK                                                    3216 GARDEN HILL DR                                                                    EDMOND              OK      73034-9293
PHILLIP HOUSE                                                       1367 BARNABY TERRACE SE                                                                WASHINGTON          DC      20032
PHILLIP JOHN DESCHER                                                221 S WALNUT ST                                                                        CRESCENT            OK      73028-8967
PHILLIP JOHNSON                                                     6187 ETHAN PL                                                                          GARDEN CITY         ID      83714-1114
PHILLIP JOHNSON                                                     2613 DOREEN                                                                            SOUTH DEL MONTE     CA      91733
PHILLIP KINZIE                                                      4105 TIMBERLINE DR                                                                     STILLWATER          OK      74074-9202
PHILLIP L CRABTREE                                                  1923 WEST CLEVELAND AVENUE                                                             GUTHRIE             OK      73044
PHILLIP LYNN SHELLHAMMER                                            4149 BROKEN BEND BOULEVARD                                                             FT WORTH            TX      76244
PHILLIP MAHURIN                                                     9915 SW 156TH ST                                                                       VASHON              WA      98070-3808
PHILLIP MCNEILL                                                     1601 SE 19TH                                                                           EDMOND              OK      73013
PHILLIP MOFFAT                                                      8217 S FAIRGROUNDS                                                                     STILLWATER          OK      74074-6191
PHILLIP NEWKUMET                                                    PO BOX 11330                                                                           MIDLAND             TX      79702


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PHILLIP NORRIS                                                           15322 W COUNTY RD 69                                                                   CRESCENT           OK    73028
PHILLIP R & VICKIE D STEINERT FAMIL                                      10302 E BRECKENRIDGE RD                                                                ENID               OK    73701
PHILLIP RIEMAN                                                           1509 VINITA AVE                                                                        ENID               OK    73703

PHILLIP ROSS HEINRICH                                                    5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX    75070

PHILLIP ROSS HEINRICH IRA                                                5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX    75070
PHILLIP SHAFFORD                                                         1814 E LOCUST AVE                                                                      ENID               OK    73701-2619
PHILLIP SHIPPY                                                           5920 KUNA RD                                                                           KUNA               ID    83634
PHILLIP SHOEMAKER                                                        4621 MOURNING DOVE LANE                                                                WICHITA FALLS      TX    76305
                                                                                                                       9211 Lake Hefner
Phillip Simon                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Phillip Simon                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Phillip Simon                                                            1101 S Doolin Lane                                                                     Stillwater         OK    74074
PHILLIP SIMONE                                                           780 CHATEAU DR                                                                         HILLSBOURGH        CA    94010
PHILLIP TEMPLE                                                           644 SILVER OAK GRV                                                                     COLORADO SPRINGS   CO    80906-8624
PHILLIP WHITE                                                            818 W 49TH AVE                                                                         STILLWATER         OK    74074-7711
PHILLIP WOSMEK                                                           1201 LOCUST                                                                            PERRY              OK    73077
                                                                                                                       9211 Lake Hefner
Phillip Clark                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Phillip Clark                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Phillip Clark                                                            1305 Pennington Ave                                                                    Edmond             OK    73012
PHILLIPS FAMILY 2011 TRUST AGR                                           1270 HIGHPOINT DRIVE                                                                   ATWATER            CA    95301
PHILLIPS MURRAH PC                                                       101 N ROBINSON STE 1300                                                                OKLAHOMA CITY      OK    73102
PHILLIPS REAL ESTATE                                                     303 S PINE                                                                             GUTHRIE            OK    73044
Phillips, Mandi                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK    73116
PHILLIPS-MURRAY REVOCABLE TRST                                           PO BOX 24657                                                                           NEW ORLEANS        LA    70184
PHILLIS JACOB                                                            1022 DONLEY DR                                                                         EULESS             TX    76039
PHILLIS STEPHENS                                                         1609 E OKLAHOMA AVE                                                                    ENID               OK    73701-6362
PHIL'S CREATIVE                                                          16 S WILLOWOOD DR                                                                      YUKON              OK    73099
PHOEBE FRYE                                                              543 FRANKLIN AVE                                                                       RIVER FOREST       IL    60305-1719
PHOEBE JANE NORRIS                                                       15322 W COUNTY RD 69                                                                   CRESCENT           OK    73028
PHOEBE WATTS                                                             1203 ROYAL ADELADE DR                                                                  COLLEGE STATION    TX    77845

Phoenix Oil & Gas, Inc.               c/o Mattingly Snow & Mattingly PC Attn: Jack A Mattingly Sr.                     PO Box 70                                Seminole           OK    74818
Phoenix Oil & Gas, Inc.               c/o Stuart & Clover               Attn: James T Stuart                           PO Box 1925                              Shawnee            OK    74802
Phoenix Oil & Gas, Inc.                                                 35863 Hwy 270                                  PO Box 1859                              Seminole           OK    74818
PHOENIX PETROLEUM PARTNERS LLC                                          900 JACKSON ST STE 560                                                                  DALLAS             TX    75202-2404

PHOENIX TECHNOLOGY SERVICES USA INC                                      PO BOX 205413                                                                          DALLAS             TX    75320-5413
PHOTOVILLE                                                               13316 HICKORY HILLS ROAD                                                               ARCADIA            OK    73007
PHYLLIS A BONFY TR DTD 9-23-14                                           73611 - 240TH ST                                                                       ALBERT LEA         MN    56007
PHYLLIS A HUGHES                                                         3608 SW 127TH STREET                                                                   OKLAHOMA CITY      OK    73170
PHYLLIS ALLISON                                                          197 ARTHUR LN                                                                          VALPORAISO         IN    46383
                                                                                                                       9211 Lake Hefner
Phyllis Ann Huff                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Phyllis Ann Huff                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Phyllis Ann Huff                                                         970017 S. 3540 Rd                                                                      Sparks             OK    74869
PHYLLIS ARCHER WALLACE                                                   PO BOX 7                                                                               BULL SHOALS        AR    72619
PHYLLIS DIXON                                                            8313 NW 116TH ST                                                                       OKLAHOMA CITY      OK    73162
PHYLLIS FOREHAND                                                         104472 S 3460 RD                                                                       MEEKER             OK    74855-4617
PHYLLIS GRACE FINLEY                                                     314 W ELMIRA                                                                           BROKEN ARROW       OK    74102
PHYLLIS GREEN                                                            PO BOX 571                                                                             OILTON             OK    74052-0571
PHYLLIS HASKIN                                                           352209 E 750 RD                                                                        CUSHING            OK    74023-5378
PHYLLIS J DOTTER                                                         900701 S 3320 RD                                                                       WELLSTON           OK    74881
PHYLLIS JACOBSON                                                         E 5431 SPRING COULEE RD                                                                COON VALLEY        WI    54623


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PHYLLIS JEAN SNEED REV TR DTD 2-24-                                   PO BOX 1026                                                            STILLWATER      OK       74076-1026
PHYLLIS JOAN EWY                                                      93 TRAIL RIDGE LN                                                      CAMDENTON       MO       65020
PHYLLIS JONES                                                         216 MCKINLEY AVE                                                       KAWANEE         IL       61443
PHYLLIS L WURTZ 2004 TRUST                                            8887 S LEWIS #809                                                      TULSA           OK       74137
PHYLLIS MANN                                                          2492 IDHAHO RD                                                         WILLIAMSBURG    KS       66095
PHYLLIS RODMAN                                                        770565 S 3370 ROAD                                                     TRYON           OK       74875-6122
PHYLLIS RUDD                                                          5502 JOHN WAYNE RD                                                     PERRY           OK       73077
PHYLLIS SAMS                                                          3232 W CHARLESTON CT                                                   STILLWATER      OK       74074
PHYLLIS SANDERS                                                       823 S RANGE RD APT 102                                                 STILLWATER      OK       74074-1935
PHYLLIS SHEPARD                                                       114 FIR ST                                                             PERRY           OK       73077
PHYLLIS SHEPARD LIVING TRUST                                          114 FIR ST                                                             PERRY           OK       73077
PHYLLIS SHEPARD LIVING TRUST LIFE E                                   114 FIR ST                                                             PERRY           OK       73077
PHYLLIS SNEED                                                         PO BOX 1026                                                            STILLWATER      OK       74076-1026
PHYLLIS SPEISER LIFE EST                                              516 PEPPERDINE                                                         EDMOND          OK       73013
PHYLLIS STARK & ELDON STARK HWJT                                      41693 HWY 59 E                                                         ASHER           OK       74826
PHYLLIS TRIPLETT BETHARDS                                             1105 NORMAN ST                                                         TRENTON         MO       64683
PHYLLIS WHITMIRE                                                      1733 MITCHELL ST                                                       LARAMIE         WY       82072-2328
PHYLLIS WILLETT                                                       1500 BETA DR                                                           FLORISSANT      MO       63031-6757
PICK LTD                                                              8111 PRESTON ROAD STE 800                                              DALLAS          TX       75225

PIEDRA MINERALS LLC                                                   5025 GAILLARDIA CORPORATE PL STE D                                     OKLAHOMA CITY   OK       73142-1892
PIERCE ENERGY LLC                                                     1024 NW 71ST ST                                                        OKLAHOMA CITY   OK       73166
PIGGYBACK PETROLEUM LLC                                               PO BOX 720                                                             LYMAN           WY       82937
PIKE FAMILY LLC                                                       2033 N VEGA                                                            HOBBS           NM       88240
PILAR DE GARCIA                                                       900 NE 410 D-119                                                       SAN ANTONIO     TX       78209
PILOT THOMAS LOGISTICS LLC                                            777 MAIN STREET, SUITE 2000                                            FORTH WORTH     TX       76105
PINE LAKE ENERGY LLC                                                  5637 N CLASSEN BLVD                                                    OKLAHOMA CITY   OK       73118-4015
PINIX FAMILY TRUST                                                    5759 E 29TH ST                                                         TULSA           OK       74114

PINKSTON RESOURCES LIMITED PARTNERS                                   500 N AKARD ST STE 2970                                                DALLAS          TX       75201-6621

PINNACLE BUSINESS SYSTEMS INC                                         3824 S BOULEVARD STREET SUITE 200                                      EDMOND          OK       73013-5781
PINNACLE ELECTRIC INC                                                 817 19TH ST                                                            PARKERSBURG     WV       26101
PINNACLE ENERGY SERVICES LLC                                          9420 CEDAR LAKE AVE                                                    OKLAHOMA CITY   OK       73114-7809
PINNACLE EXPLORATION INC                                              1001 NW 139TH STREET PARKWAY                                           EDMOND          OK       73013
PINPOINT MONOGRAMS                                                    280 S QUADRUM DR                                                       OKLAHOMA CITY   OK       73108-1101
PIONEER COILED TUBING SERVICES LLC                                    PO BOX 203674                                                          DALLAS          TX       75320-3674

PIONEER NATURAL RESOURCES COMPANY                                     PO BOX 840835                                                          MIDLAND         TX       75284-0835
PIONEER NATURAL RESOURCES USA INC                                     PO BOX 840835                                                          DALLAS          TX       75284-0835
PIONEER PIPE & SUPPLY CO                                              PO BOX 1186                                                            SAND SPRINGS    OK       74063-1186
PIONEER TELEPHONE CO OP INC                                           PO BOX 539                                                             KINGFISHER      OK       73750-0539
PIONEER WIRELINE SERVICES LLC                                         PO BOX 202567                                                          DALLAS          TX       75320-2567
PIONEER WIRELINE SERVICES LLC                                         1250 Northeast Loop 410                Suite 1000                      San Antonio     TX       78209
PIPE EXCHANGE                                                         PO BOX 301858                                                          DALLAS          TX       75303-1858
PIPELIFE JET STREAM INC                                               PO BOX 5154                                                            CAROL STREAM    IL       60197
PIPLA CONSTRUCTION INC                                                202 SOUTH VIRGINIA AVENUE                                              MARSHALL        OK       73056-9782
Pipleline Transporter                 Pipeline Transporter                                                                                   OKLAHOMA CITY   OK       73102
PIRA ENERGY GROUP                                                     3 PARK AVE FL 26                                                       NEW YORK        NY       10016-5989
PISCHEL MINERALS LLC                                                  117 MORTON ST                                                          ASHLAND         OR       97520
PITNEY BOWES GLOBAL FINANCIAL SERVI                                   PO BOX 371887                                                          PITTSBURGH      PA       15250-7887
Pittenger, Steven                     c/o White Star Petroleum, LLC   301 NW 63rd St                         Ste 600                         Oklahoma City   OK       73116
PIUS GREINER                                                          1760 IOWA AVE                                                          COOS BAY        OR       97420-8235
PJI INC                                                               2068 US HWY 70A                                                        WILSON          TX       73463
PLAINS MARKETING LP                                                   333 CLAY ST, SUITE 1600                                                HOUSTON         TX       77002
PLAINS PIPELINE                                                       PO BOX 4648                                                            HOUSTON         TX       77210-4648
PLAINS PIPELINE, L.P.                                                 PO BOX 4648                                                            HOUSTON         TX       77210-4648
PLAINS PRODUCTION INC                                                 1601 E 19TH                                                            EDMOND          OK       73013
PLAINSMEN PARTNERS LLC                                                6300 RIDGLEA PL STE 603                                                FORT WORTH      TX       76116


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             CreditorName                   CreditorNoticeName                             Address1                         Address2                 Address3           City    State       Zip      Country
PLASTER & WALD CONSULTING CORP                                           PO BOX 268822                                                                          OKLAHOMA CITY   OK      73126-8822
PLATINUM EXPRESS LLC                                                     PO BOX 343                                                                             CANUTE          OK      73626
PLATINUM VAPOR CONTROL LP                                                2822 W 5TH ST                                                                          FORT WORTH      TX      76107-2204
PLATTS                                                                   PO BOX 848093                                                                          DALLAS          TX      75284-8093

PLAUCHE LIVING TRUST DTD 11-15-1996                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
PLEASANT MANN                                                            3601 IVY ST                                                                            DENVER          CO      80207-1241
PLEASANT RIDGE CHURCH                                                    38965 CHURCH RD                                                                        GRAYSVILLE      OH      45734
PLEASANT RIDGE O&G LLC                                                   1201 PUTNAM HOWE DRIVE                                                                 BELPRE          OH      45714
PLEASANT VALLEY CEMETERY ASSOC                                           5190 W COUNTY RD 64                                                                    MULHALL         OK      73063
PLEIN SUD HOLDINGS LLC                                                   3131 MCKINNEY AVE STE 430                                                              DALLAS          TX      75204
PLS INC                                                                  PO BOX 4987                                                                            HOUSTON         TX      77210-4987
Plunkett, Dena                        c/o White Star Petroleum, LLC      301 NW 63rd St                              Ste 600                                    Oklahoma City   OK      73116
PLURALSIGHT LLC                                                          DEPT CH 19719                                                                          PALATINE        IL      60055-9719
PLYMOUTH EXPLORATION LLC                                                 110 W 7TH ST STE 2600                                                                  TULSA           OK      74119
PMC TRUST                                                                10208 SKI DR                                                                           OKLAHOMA CITY   OK      73162-6869
PMF OIL & GAS PROPERTIES                                                 25696 E 720 RD                                                                         DOVER           OK      73734
PMT36 LLC BENJAMIN P ABNEY                                               2525 E 66TH CT                                                                         TULSA           OK      74136
                                                                         14000 QUAIL SPRINGS PARKWAY, SUITE
PNG OPERATING COMPANY                                                    410                                                                                    OKLAHOMA CITY   OK      73134
PNH RESOURCES LLC                                                        PO BOX 160892                                                                          SAN ANTONIO     TX      78280
PNR INVESTORS I LLC                                                      4425 JUAN TABO NE STE 250                                                              ALBUQUERQUE     NM      87111
POE & ASSOCIATES                                                         1601 NW EXPRESSWAY STE 515                                                             OKLAHOMA CITY   OK      73118
POINTED ROCK RESOURCES LLC                                               PO BOX 20661                                                                           OKLAHOMA CITY   OK      73156
POISON SPIDER OIL COMPANY LLC                                            475 17TH STREET SUITE 900                                                              DENVER          CO      80202
Poisson, Kelly                        c/o White Star Petroleum, LLC      301 NW 63rd St                              Ste 600                                    Oklahoma City   OK      73116
POLARIS INDUSTRIES                                                       2100 HWY 55                                                                            MEDINA          MN      55340-9770
POLK LLC                                                                 5715 N WESTERN AVE STE C                                                               OKLAHOMA CITY   OK      73118
Pollot, Richard                       c/o White Star Petroleum, LLC      301 NW 63rd St                              Ste 600                                    Oklahoma City   OK      73116
POLLY A & PAUL W & MARK D CRAIN JTS                                      2123 WEST 24TH STREET                                                                  STILLWATER      OK      74074
POLLY CAWTHON                                                            PO BOX 572                                                                             BULLARD         TX      75757
                                                                                                                     9211 Lake Hefner
Polly Smith                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins Parkway                Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Polly Smith                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Polly Smith                                                              14001 Deer Run Rd                                                                      Jones           OK      73049
POLY PIPE INC                                                            PO BOX 811                                                                             WOODWARD        OK      73802
POMEROY FAMILY LP                                                        PO BOX 3466                                                                            MIDLAND         TX      79702
POMONA COLLEGE                                                           150 E 8TH ST RM 129                                                                    CLAREMONT       CA      91711
PONDEROSA RESOURCES LLC                                                  PO BOX 32074                                                                           EDMOND          OK      73003-0035
PONDEROSA RESOURCES LLC                                                  PO BOX 32074                                                                           EDMOND          OK      73003-0035
PONTOTOC PRODUCTION CO INC                                               808 E MAIN ST                                                                          ADA             OK      74820
PONY CREEK INVESTMENTS LP                                                PO BOX 18719                                                                           OKLAHOMA CITY   OK      73154

PONY OIL LLC                                                             4245 N CENTRAL EXPY STE320 BOX109                                                      DALLAS          TX      75205
POOJARY INVESTMENTS LLC                                                  111 CARRIAGE CT                                                                        WHITE HALL      AR      73013
POOLE FAMILY TRUST                                                       PO BOX 1528                                                                            MIAMI           OK      74355
POPS LLC                                                                 225 N MARKET ST STE 300                                                                WICHITA         KS      67202-2024
POPS LP                               POPS DELI                                                                                                                 OKLAHOMA CITY   OK      73154-0756
PORT JAMES CAPITAL LTD                                                   249 PROMENADE ST E                                                                     MONTGOMERY      TX      77356-8305
PORTER HEDGES LLP                                                        DEPT 510                                                                               HOUSTON         TX      77210-4346
                                                                                                                       9211 Lake Hefner
Porter Magby                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
Porter Magby                          c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles     CA      90017
Porter Magby                                                             4006 N. Union Rd                                                                       Glencoe         OK      74032
PORTER TRUST DTD 4-20-1990                                               PO BOX 290898                                                                          PHELAN          CA      92329
PORTMAN MINERALS LLC                                                     2424 NW 55TH PL                                                                        OKLAHOMA CITY   OK      73122-7723
Portman, Robert                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
POSITIVE TOMORROWS                                                       PO Box 61190                                                                           OKLAHOMA CITY   OK      73146


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POSSE ENERGY LTD                                                         9805 KATY FREEWAY, SUITE 500                                                            HOUSTON         TX      77024-1271
POST OAK INVESTMENTS LLC                                                 417 W FREEMAN AVE                                                                       PERKINS         OK      74059-4008
POSTMASTER                                                               BUSINESS MAIL OFFICE                                                                    OKLAHOMA CITY   OK      73125-9651
POSTROCK MIDCONTINENT PROD LLC                                           210 PARK AVE                                                                            OKLAHOMA CITY   OK      73102

POSTROCK MIDCONTINENT PRODUCTION LL                                      210 PARK AVE STE 2750                                                                   OKLAHOMA CITY   OK      73102-5641
POTTAWATOMIE COUNTY CLERK                                                325 N BROADWAY AVE STE 304                                                              SHAWNEE         OK      74801-6938
POTTS & POTTS INC                                                        5734 INDIAN CIR                                                                         HOUSTON         TX      77057-1303
POTTS HSE TRUST                                                          5734 INDIAN CIR                                                                         HOUSTON         TX      77057-1303
Powe, Walker                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City   OK      73116
POWEL BRISCOE LLC                                                        821 W WILSHIRE BLVD                                                                     OKLAHOMA CITY   OK      73116
POWELL BRISCOE INC                                                       821 W WILSHIRE BLVD                                                                     OKLAHOMA CITY   OK      73116
POWELL PETROLEUM RESOURCES LLC                                           PO BOX 1985                                                                             CYPRESS         TX      77410-1985
Powell, Billy                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater      OK      74074
POWELL'S SERVICE INC                                                     PO BOX 6                                                                                ELK CITY        OK      73648
POWERHOUSE TRUCK BEDS & TRAILERS                                         5818 E 6TH AVE                                                                          STILLWATER      OK      74074-6456
PP&G OIL CO LLC                                                          435 VILLAGE PLACE                                                                       PICKERINGTON    OH      43147
PPS HOLDINGS LLC                                                         PO BOX 18763                                                                            OKLAHOMA CITY   OK      73154
PPS TRUCKING LLC                                                         PO BOX 698                                                                              HENNESSEY       OK      73742
PR CRAWFORD ROYALTY CO LLC                                               2601 NW EXPRESSWAY STE 801W                                                             OKLAHOMA CITY   OK      73112-7244
PR FITNESS EQUIPMENT INC                                                 10700 REGENT ST                                                                         OKLAHOMA CITY   OK      73162-6936
PR LIQUIDATING TRUST                                                     1412 MAIN ST STE 2400                                                                   DALLAS          TX      75202-4011
PR NEWSWIRE ASSOCIATION LLC                                              PO BOX 6584                                                                             NEW YORK        NY      10249-6584
PRADIP KANANI                                                            11626 HIGH FOREST DR                                                                    DALLAS          TX      75230
PRAIRIE FUEL LLC                                                         15 N 9TH STREET 302                                                                     DUNCAN          OK      73533
PRAIRIE LIGHTNING LLC                                                    1405 4TH AVE NW 295                                                                     ARDMORE         OK      73401
PRAIRIE OIL & GAS LLC                                                    PO BOX 720124                                                                           NORMAN          OK      73070-4096
PRAIRIE OIL & GAS LLC                                                    PO BOX 720124                                                                           NORMAN          OK      73070-4096
PRAIRIE SISTERS OIL COMPANY LLC                                          PO BOX 1588                                                                             TULSA           OK      74101
Praveen Yerramsetti                   c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Praveen Yerramsetti                   c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Praveen Yerramsetti                   c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Praveen Yerramsetti                                                      4519 Aggie Dr                                                                           Stillwater      OK      74074

PRECISE OFFICE INSTALLATIONS                                             SUITE 30, 305 - 4625 VARSITY DRIVE NW                                                   CALGARY         AB      T3A 0Z9      CANADA
PRECISION DRILLING COMPANY LP                                            PO BOX 202695                                                                           DALLAS          TX      75320-2695
PRECISION ENERGY SERVICES INC                                            7725 WEST RENO SUITE 220                                                                OKLAHOMA CITY   OK      73127
PRECISION FITTING & GAUGE CO                                             DEPARTMENT 3653                                                                         TULSA           OK      74182
PRECISION WIRELINE LLC                                                   3007 NW 63RD SUITE 205                                                                  OKLAHOMA CITY   OK      73116
PREFERRED CONTAINMENT SERVICES                                           10712 S COTTONWOOD RD                                                                   PERKINS         OK      74059
PREGLER ACRES LLC                                                        PO BOX 1722                                                                             TULSA           OK      74101
PREGLER OIL COMPANY LLC                                                  PO BOX 1722                                                                             TULSA           OK      74101
PREMIER CHEMICAL & OILFIELD SUPPLY                                       302 N INDEPENDENCE, SUITE 1500                                                          ENID            OK      73701
PREMIER CRAFT                                                            1316 SE Grand Blvd                                                                      Oklahoma City   OK      73129
PREMIER DATA SERVICES INC                                                1819 DENVER WEST DR STE 400                                                             LAKEWOOD        CO      80401-3118
PREMIER PARKING COMAPNY INC                                              PO BOX 60207                                                                            MIDLAND         TX      79711
PREMIER PIPE LLC                                                         PO BOX 840306                                                                           DALLAS          TX      75284-0306
PREMIER PUMPING & SEPTIC, LLC                                            707 E. BROADWAY                                                                         CUSHING         OK      74023
PREMIERE INC                                                             PO BOX 2201                                                                             DECATUR         AL      35609-2201
PREMIUM ENERGY GROUP                                                     PO BOX 54505                                                                            NEW ORLEANS     LA      70154-4505
PREMIUM PETROLEUM LLC                                                    PO BOX 1143                                                                             SALINA          OK      74365
                                                                                                                       9211 Lake Hefner
Prentiss Nephew                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Prentiss Nephew                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Prentiss Nephew                                                          6970 Champion Circle                                                                    Guthrie         OK      73034
PREQIN LIMITED                                                           PO BOX 200918                                                                           PITTSBURGH      PA      15251-0918
PRESBYRTERIAN CHURCH USA                                                 HC 77 BOX 11                                                                            ABIQUIU         NM      87510
PRESIDIO NETWORKED SOLUTIONS LLC                                         PO BOX 822169                                                                           PHILADELPHIA    PA      19182-2169


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PRESLEY FAMILY REVOCABLE TRUST                                           2218 STONE POINT                                                                       STILLWATER      OK      74074
PRESLEY PETROLEUM COMPANY                                                101 PARK AVE STE 670                                                                   OKLAHOMA CITY   OK      73102-7220
PRESORT FIRST CLASS INC                                                  PO BOX 2280                                                                            OKLAHOMA CITY   OK      73101-2280
PRESS ENERGY SERVICES LLC                                                PO BOX 10241                                                                           FORT SMITH      AR      72917
PRESTA ROYALTY LLC                                                       440 LOUISIANA, SUITE 1570                                                              HOUSTON         TX      77002
PRESTIGE RESOURCES                                                       6608 N WESTERN AVE # 236                                                               OKLAHOMA CITY   OK      73116-7326
                                                                                                                       9211 Lake Hefner
Preston Hays                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Preston Hays                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Preston Hays                                                             3208 N. Vermont Ave.                                                                   Oklahoma City   OK      73112
PRESTWICK RESOURCES LLC                                                  PO BOX 7                                                                               EL CAMPO        TX      77437
                                                                                                                       9211 Lake Hefner
Previn Dixon                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Previn Dixon                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Previn Dixon                                                             13712 E 24th Pl.                                                                       Tulsa           OK      74133
PRICE OIL & GAS COMPANY LTD                                              1225 KENILWORTH ROAD                                                                   OKLAHOMA CITY   OK      73114
PRICEWATERHOUSE COOPERS LLP                                              111- 5th AVE SW, SUITE 3100                                                            CALGARY         AB      T2P 5L3      CANADA
PRIDE CLEANING SERVICE LLC                                               1257 CANTERBURY DR                                                                     ABILENE         TX      79602-4259
PRIME ENERGY MANAGEMENT CORP                                             PO BOX 4927                                                                            HOUSTON         TX      77210-4927
PRIME ENERGY MGMT CORP                                                   PO BOX 300                                                                             HOUSTON         TX      77201-4927
PRIMEXX ENERGY PARTNERS LTD                                              4849 GREENVILLE AVE. STE 1600                                                          DALLAS          TX      75206
PRINCIPAL FINANCIAL GROUP INC                                            PO BOX 10499                                                                           DES MOINES      IA      50306-0499
PRINT FINISHING SYSTEMS INC                                              2015 S NICKLAS AVE                                                                     OKLAHOMA CITY   OK      73128-3010
PRINTERLOGIC LLC                                                         912 W 1600 SOUTH STE C-201                                                             SAINT GEORGE    UT      84770
PRISCILLA HOLMANS                                                        119 PENNSYLVANIA DR                                                                    DENTON          TX      76205
                                                                                                                       9211 Lake Hefner
Priscilla Cook                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Priscilla Cook                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Priscilla Cook                                                           12655 Montana St                                                                       Jones           OK      73049
PRITCHARD-LAUGHLIN CIVIC CENTER                                          7033 GLENN HWY                                                                         CAMBRIDGE       OH      43725-8891
PRITHVI MURTHY                                                           301 NW 63RD STE 600                                                                    OKLAHOMA CITY   OK      73154
PRO MINERAL LLC                                                          2633 MCKINNEY AVE 130-350                                                              DALLAS          TX      75204
PRO MINERAL LLC                                                          4811 GAILLARDIA PKWY STE 250                                                           OKLAHOMA CITY   OK      73142-1874
PRO MINERAL PARTNERS LLC                                                 2633 MCKINNEY AVE STE 130-351                                                          DALLAS          TX      75204-2581
PRODIGAL RESOURCES LLC                                                   14213 CALAIS CIRCLE                                                                    OKLAHOMA CITY   OK      73142
PRODIGY ENTERPRISES LTD CO                                               7206 WATERFRONT DR                                                                     TUTTLE          OK      73089-5418
PRODUCERS & REFINERS CORP                                                PO BOX 1765                                                                            ENID            OK      73702

PRODUCTION PLUS ENERGY SERVICES INC                                      2500, 639 - 5 AVENUE SW                                                                CALGARY         AB      T2P 0M9      CANADA
PRODUCTION STRING SERVICES LLC                                           PO BOX 349                                                                             ENID            OK      73702-0349
PRODUCTIVE RESOURCES LLC                                                 PO BOX 2444                                                                            OKLAHOMA CITY   OK      73101
PROFESSIONAL DEVELOPMENT INSTITUTE                                       2301 HINKLE DR                                                                         DENTON          TX      76201-1720

PROFESSIONAL REPORTERS INCORPORATED                                      511 COUCH DRIVE #100                                                                   OKLAHOMA CITY   OK      73102
PROFIRE ENERGY INC                                                       321 S 1250 W STE 1                                                                     LINDON          UT      84042-1677
PROGRESSIVE BUSINESS PUBLICATIONS                                        370 TECHNOLOGY DR                                                                      MALVERN         PA      19355-1315
PROHAUL TRANSPORTS LLC                                                   PO BOX 1484                                                                            LOWELL          AR      72745

PRO-JECT CHEMICALS LLC                                                   1800 HUGHES LANDING BLVD STE 175                                                       THE WOODLANDS   TX      77380-3688
PROLIFIC PETROLEUM LLC                                                   14222 SUMMER ROSE LN                                                                   HOUSTON         TX      77077
PRONTO CHEMICAL SALES & SERVICE LLC                                      PO BOX 698                                                                             HENNESSEY       OK      73742
PRONTO SERVICE LLC                                                       PO BOX 698                                                                             HENNESSEY       OK      73742
PROOFPOINT INC                                                           DEPT CH 17670                                                                          PALATINE        IL      60055-7670
PROPETRO SERVICES INC                                                    PO BOX 204464                                                                          DALLAS          TX      75320-4464
PROSPECT GEOSCIENCE INC                                                  2201 LONG PRAIRIE RD STE 107                                                           FLOWER MOUND    TX      75022-4964
PRO-TECH HARDBANDING SERVICES INC                                        PO BOX 6920                                                                            MOORE           OK      73153-0920


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PROVIDENCE ENERGY PARTNERS II LP                                        16400 DALLAS PKWY STE 400                                                     DALLAS          TX      75248
PROVIDENCE MINERALS LLC                                                 16400 DALLAS PARKWAY SUITE 400                                                DALLAS          TX      75248
PROVISION KITCHEN LLC                                                   PO BOX 18756                                                                  OKLAHOMA CITY   OK      73154-0756
PROWLER TRANSPORTATION INC                                              PO BOX 2030                                                                   WEATHERFORD     OK      73096
PRUDENTIAL GROUP INSURANCE                                              PO BOX 101241                                                                 ATLANTA         GA      30392-1241
PRUITT TOOL & SUPPLY CO INC                                             PO BOX 181359                                                                 FORT SMITH      AR      72918-1359
PRUNELLA YOUNT                                                          HC 73 BOX 206                                                                 BURNEYVILLE     OK      73430
PRYDE ARNOLD                                                            503 N JUDITH STREET                                                           WICHITA         KS      67212

PUBLIC SERVICE COMPANY OF OKLAHOMA                                      PO BOX 371496                                                                 PITTSBURGH      PA      15250-7496
Public Service Company of Oklahoma                                      212 East Sixth Street                                                         Tulsa           OK      74119
PULLEY FAMILY FARM LLC                                                  1617 MESA VERDE DR                                                            ROUND ROCK      TX      78681
PULSAR OILFIELD LLC                                                     419 OAK RIDGE GROVE DRIVE                                                     SPRING          TX      77386
PUMP DOWN SOLUTIONS LLC                                                 PO BOX 272                                                                    VELMA           OK      73491
PUNJAB ROYALTY GROUP                                                    3035 NW 63RD ST STE 105                                                       OKLAHOMA CITY   OK      73116
PURCHASE POWER                                                          PO BOX 371874                                                                 PITTSBURGH      PA      15250-7874
PURE ROYALTY CORPORATION              C/O DON L LADEN                                                                                                 TULSA           OK      74152-1112
PURITAN ROYALTIES CORPORATION                                           PO BOX 36                                                                     PERKINS         OK      74059-0036
PURNELL MORROW COMPANY                                                  4925 GREENVILLE AVE, # 1116                                                   DALLAS          TX      75206
PURNELL MORROW COMPANY                                                  4925 GREENVILLE AVENUE                                                        DALLAS          TX      75206
PURPLE LAND MANAGEMENT LLC                                              100 E 15TH ST STE 320                                                         FORT WORTH      TX      76102-6565
PUSH ONE BUTTON INC                                                     1205 EGANIA ST                                                                NEW ORLEANS     LA      70117-3607
PUSH PEDAL PULL                                                         2306 W 41ST ST                                                                SIOUX FALLS     SD      57105

PUSKOOR KUMAR MD                                                        5900 SOUTH LAKE FOREST DR STE 300                                             MCKINNEY        TX      75070
PVB OIL COMPANY                                                         1320 LAKE STREET                                                              FORT WORTH      TX      76102
PYLON PETROLEUM LLC                                                     7134 CARROUSEL CIRCLE                                                         DALLAS          TX      75214
PYRAMID HOTSHOT SERVICES LLC                                            PO BOX 122                                                                    Spencer         OK      73084
                                      Kathy Walton, Founder, Chief
Pyramid Tubular Products LLC          Executive Officer and President   2 Northpoint Drive                      Suite 610                             Houston         TX      77060
PYRAMID TUBULAR PRODUCTS LLC                                            PO BOX 301604                                                                 DALLAS          TX      75303-1604
PYXIS ENERGY LLC                                                        28 WATERFORD LAKE                                                             THE WOODLANDS   TX      77381
QEP ENERGY COMPANY                                                      PO BOX 204033                                                                 DALLAS          TX      75320-4033
QEP ENERGY COMPANY                                                      1050 17TH STREET, SUITE 500                                                   DENVER          CO      80265
QES PRESSURE CONTROL LLC                                                PO BOX 4346 DEPT 105                                                          HOUSTON         TX      77210-4346
QES PRESSURE PUMPING LLC                                                PO BOX 4346                                                                   HOUSTON         TX      77210-4346
QGR LLC                                                                 109 W MAIN ST                                                                 TRINIDAD        CO      81082-2617
QUADRILLE ENERGY CO. LLC                                                2520 NW 61st Street                                                           Oklahoma City   OK      73112
QUAGGA ROYALTY LP                                                       PO BOX 700780                                                                 TULSA           OK      74170
QUAHOG ENERGY LLC                                                       424 NW 39TH STREET                                                            OKLAHOMA CITY   OK      73118
QUAID FAMILY MINERAL TRUST                                              PO Box 283                                                                    FOREST RANCH    CA      95942
QUAIL CREEK ROYALTY LLC                                                 PO BOX 730586                                                                 DALLAS          TX      75373
QUAIL TOOLS                                                             PO BOX 10739                                                                  NEW IBERIA      LA      70562
QUALIFIED REMODELERS                                                    20 E JACKSON BLVD 7TH FLR                                                     CHICAGO         IL      60604
QUALITY BOP SERVICES LLC                                                605 S MOOSE ST                                                                MORRILTON       AR      72110-4206

QUALITY COMPLETIONS OF ARKANSAS LLC                                     PO BOX 698                                                                    HENNESSEY       OK      73742
QUALITY INTEGRATED SERVICES INC                                         PO BOX 1950                                                                   GUYMON          OK      73942-1950
QUALITY PLANTS INC                                                      223 W 32ND ST                                                                 STILLWATER      OK      74074-6952
QUAM MANAGEMENT TR DTD 8-13-1988                                        PO BOX 79231                                                                  HOUSTON         TX      77279
QUAM MANAGEMENT TRUST                                                   PO BOX 79231                                                                  HOUSTON         TX      77279-9231

QUANDT LIVING TR DTD 5-10-2000                                          5900 SOUTH LAKE FOREST DR STE 300                                             MCKINNEY        TX      75070
Quantonia Amado                       c/o Allen Stewart, PC             Attn: Allen M Stewart                   325 N Saint Paul St   Ste. 4000       Dallas          TX      75070
Quantonia Amado                       c/o Drummond Law, PLLC            Attn: Donald A Lepp                     1500 South Utica      Ste. 400        Tulsa           OK      74104
Quantonia Amado                       c/o Phillips & Paolicelli, LLP    Attn: Steven Phillips                   747 3rd Ave                           New York        NY      10017
Quantonia Amado                                                         1219 North Santa Fe Ave                                                       Tulsa           OK      74127
QUAPAW COMPANY INC                                                      PO BOX 609                                                                    STILLWATER      OK      74076-0609
QUASAR ENERGY SERVICES INC                                              3288 FM 51                                                                    GAINESVILLE     TX      76240-0208


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QUAY MCMURTREY LTD                                         PO BOX 2063                                                           COLLEYVILLE          TX      76034
QUEEN BROTHERS PIPE LLC                                    PO BOX 82611                                                          OKLAHOMA CITY        OK      73148
QUENTIN VOYLES                                             445 46TH COURT                                                        VERO BEACH           FL      32968
QUEST TECHNICAL SERVICES LLC                               1023 WESTWOOD DR                                                      STILLWATER           OK      74074
QUICK CONNECTORS INC                                       5226 BRITTMOORE RD                                                    HOUSTON              TX      77041
QUICK PUMP SERVICE LLC                                     PO BOX 813                                                            HENNESSEY            OK      73742
QUICK TRANSPORT OF ARKANSAS LLC                            PO BOX 698                                                            HENNESSEY            OK      73742
QUICK-LAY PIPE LLC                                         11432 HIGHWAY 71 SOUTH                                                FORT SMITH           AR      72916
QUIEN SABE CORPORATION                                     PO BOX 1486                                                           ARDMORE              OK      73402
QUIK PRINT                                                 401 W WILSHIRE BLVD                                                   OKLAHOMA CITY        OK      73116
QUILLEN ENERGY SERVICES LLC                                4127 NW 122ND ST STE A                                                OKLAHOMA CITY        OK      73120-8869
QUIN HARVEY                                                PO BOX 1364                                                           GUTHRIE              OK      73044
QUINCY KAUFMAN TRUST                                       13113 COBBLESTONE PKWY                                                OKLAHOMA CITY        OK      73142
QUINE BRENGLE                                              5574 SPRUCEWOOD DR                                                    CINCINNATI           OH      45239
QUINN PUMPS INC                                            PO BOX 677347                                                         DALLAS               TX      75267
QUINN PUMPS INC.                                           PO BOX 733515                                                         DALLAS               TX      75373
QUINTIN & CARRIE LOU FAMILY LP                             PO BOX 1509                                                           ARDMORE              OK      73402
QUINTIN LITTLE COMPANY OIL & GAS LP                        PO BOX 1509                                                           ARDMORE              OK      73402
QUIRK AND JO ANN B QUIRK JTS                               PO BOX 1896                                                           STILLWATER           OK      74076
QUIRK MINERALS LP                                          622 W RHAPSODY STE A                                                  SAN ANTONIO          TX      78216-2607
QUITMAN ENERPRISES INC                                     PO BOX 5285                                                           EDMOND               OK      73083
QUIVERA EXPLORATION LLC                                    1406 ROSEDALE                                                         ARDMORE              OK      73401-3714
QUORUM BUSINESS SOLUTIONS (USA) INC                        PO BOX 205973                                                         DALLAS               TX      75320-5973
QWIKGRO EROSION CONTROL LLC                                1702 E CARL ALBERT PKWY                                               MCALESTER            OK      74501
R & L HYDROSTATIC TUBING                                   PO BOX 1107                                                           ENID                 OK      73702
R & M COMPANIES INC                                        PO BOX 503                                                            FARIBAULT            MN      55021
R & R BLACK LLC                                            7312 N MACARTHUR BLVD                                                 OKLAHOMA CITY        OK      73132
R & S HYDROTESTING INC                                     PO BOX 116                                                            HENNESSEY            OK      73742
R & S MINERALS LLC                                         PO BOX 581                                                            COLLINSVILLE         OK      74021
R BRAMMER                                                  2524 KENSINGTON WAY                                                   BARTLESVILLE         OK      74006
R C AND B J VAN NOSTRAND REV TR                            3132 TOUCHMARK DRIVE                                                  EDMOND               OK      73003
R C COFFEE LTD                                             4809 COLE AVE STE 170                                                 DALLAS               TX      75205
R C TAYLOR COMPANIES INC                                   5661 N CLASSEN BLVD                                                   OKLAHOMA             OK      73118
R CALHOUN                                                  102 S VALLEY ST                                                       BURBANK              CA      91505
R COHEN                                                    6810 HOLLYWOOD BLVD                                                   LOS ANGELES          CA      90028
R DEE COURTNEY                                             111 BIRCH STREET                                                      PERRY                OK      73077
R DELONG                                                   424 S OAK                                                             SAPULPA              OK      74066
R E WHARTON                                                PO BOX 30424                                                          EDMOND               OK      73003-0008
R GORE                                                     219072 E. 780 RD.                                                     CAMARGO              OK      73835-2043
R GREG & CHERYL J                                          3906 110TH STREET                                                     LUBBOCK              TX      79423
R H VENABLE PROPERTIES LTD                                 5949 SHERRY LANE SUITE 1400                                           DALLAS               TX      75225
R HAMILTON                                                 1195 LLOYDS RD                                                        LITTLE ELM           TX      75068
R HINTON ENTERPRISES LLC                                   1341 NW 106TH ST                                                      OKLAHOMA CITY        OK      73114
R J LEWIS REV TRUST                                        PO BOX 1033                                                           STILLWATER           OK      74076
R JACKSON SMITH                                            PO BOX 35                                                             HOUSE SPRINGS        MO      63051-0035
R JONES                                                    5815 S JARDOT RD                                                      STILLWATER           OK      74074-8260
R KIRK WHITMAN REVOCABLE TRUST OF 9                        100 PARK AVE STE 1020                                                 OKLAHOMA CITY        OK      73102-8004
R KYLE YODER                                               4715 GARDEN RANCH DR. APT. N-103                                      COLORADO SPRINGS     CO      80918-6502
R L BEATY & SHIRLEY R BEATY REV TR                         401 S HOPPY RD                                                        STILLWATER           OK      74075
R L ENERGY COMPANY                                         PO BOX 417                                                            DRUMRIGHT            OK      74030
R L HERT JR TRUST                                          1724 N HUSBAND                                                        STILLWATER           OK      74075
R LEE SPEER SPEER                                          12 SLEEPY HOLLOW                                                      UPPER SADDLE RIVER   NJ      07458
R MARSDEN & KATHERYN D BALLATTI TR                         33738 S COVES DR                                                      AFTON                OK      74331
R MILLS                                                    2021 CR 7                                                             ASHLAND              KS      67831-3149
R NICHOLS                                                  3906 110TH ST                                                         LUBBOCK              TX      79423
R RALPH SCROGGINS REV TRUST                                2625 W DALLAS ST                                                      BROKEN ARROW         OK      74012-3412
R ROTHROCK                                                 3908 FAIRLAKES DR                                                     DALLAS               TX      75228
R SPURGEON                                                 1951 S BEECH ST                                                       WICHITA              KS      67207
R STANBROUGH                                               220 N CAPITOL                                                         GUTHRIE              OK      73044


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R T FOGLE PROPERTIES, LLC                                          9315 S 43RD W AVE                                                                       TULSA           OK      74132
R THOMASON & CO LLC                                                PO BOX 8551                                                                             AMARILLO        TX      79114-8551
R TODD                                                             PO BOX 571                                                                              OILTON          OK      74052-0571
R W JACOBS LIVING TR                                               1216 CANTEBERRY DR                                                                      YUKON           OK      73099
R W MCILVAIN TRUST A                                               PO BOX 99084                                                                            FORT WORTH      TX      76199-0084
R WALKER                                                           1450 DUFFNER RD                                                                         OKLAHOMA CITY   OK      73118
R WRIGHT JR DECD                                                   11100 LANDMARK CT                                                                       DENTON          TX      76207
R&R BLACK LLC                                                      7312 N MACARTHUR BLVD                                                                   OKLAHOMA CITY   OK      73132
R&R ROUSTABOUT SERVICES LLC                                        PO BOX 772                                                                              WEATHERFORD     OK      73096-0772
R&R WELL SERVICE INC                                               PO BOX 1805                                                                             WOODWARD        OK      73802
R&T MINERAL MANAGEMENT LLC                                         12328 N MIDWEST BLVD                                                                    MULHALL         OK      73063
R. COLLIER                                                         ROUTE 2, BOX 72                                                                         TALOGA          OK      73667

R.E. Blaik, Inc.                c/o Harrison & Mecklenburg, Inc.   Attn: Andrew E Karim                          202 North 6th St      PO Box 658          Kingfisher      OK      73750
R.E. Blaik, Inc.                c/o Puls Haney, PLLC               Attn: Mark A Haney                            301 Commerce St       Ste. 2900           Fort Worth      TX      76102
R.E. Blaik, Inc.                                                   1616 E 19th St                                Ste. 201                                  Edmond          OK      73013
R1 LLC                                                             992 S 4TH AVE #100-512                                                                  BRIGHTON        CO      80601
RABINOWITZ SECURITY TRUST                                          PO BOX 1600                                                                             SAN ANTONIO     TX      78296
RAC DRILLING CO LLC                                                2633 MCKINNEY AVE STE 130-256                                                           DALLAS          TX      75204
RACHAEL ARTHUR                                                     104 BETTY CIRCLE                                                                        COOPER          TX      75432
RACHAEL GOETZ                                                      RURAL ROUTE 1                                                                           BLUFFTON        AB      T0C 0M0      CANADA
RACHAL RESOURCES LLC                                               PO BOX 20725                                                                            OKLAHOMA CITY   OK      73156
RACHEL ANNE BOGGS                                                  2624 N PARK DR                                                                          STILLWATER      OK      74075
RACHEL BRISTOW PROPERTY TRUST                                      PO BOX 9048                                                                             WICHITA FALLS   TX      76308-9048
RACHEL FRETZ BARAJAS                                               815 CHARLES PL                                                                          BAYTOWN         TX      77521-3487
RACHEL NAOMI CLEMENTS-GETTMAN                                      4224 GRIFFIN AVE                                                                        LOS ANGELES     CA      90031
RACHEL PARKER ROSS ESTATE                                          8908 BELL MOUNTAIN DR                                                                   AUSTIN          TX      78730-2853
RACHEL S STEPHENSON TRUST                                          PO BOX 156                                                                              MULHALL         OK      73063
RACHEL SCHIPUL                                                     14027 MEMORIAL DRIVE #177                                                               HOUSTON         TX      77079
RACHEL STAFFORD                                                    7973 NORTH MERIDIAN AVENUE                                                              CRESCENT        OK      73028-9179
RACHEL THOMAS                                                      604 E MINNIE                                                                            DAVIS           OK      73030
RACHEL Z HANSON TRUST 11/24/2                                      PO Box 2640                                                                             MIDLAND         TX      79702
                                                                                                                 9211 Lake Hefner
Rachel Bruce                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                c/o Laminack, Pirtle & Martines,
Rachel Bruce                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Rachel Bruce                                                       319 Wayne Ave                                                                           Edmond          OK      73034
                                                                                                                 9211 Lake Hefner
Rachel Jacobs                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                c/o Laminack, Pirtle & Martines,
Rachel Jacobs                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Rachel Jacobs                                                      8437 NW 87th St                                                                         Oklahoma City   OK      73132
                                                                                                                 9211 Lake Hefner
Rachel Miller                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                c/o Laminack, Pirtle & Martines,
Rachel Miller                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Rachel Miller                                                      10266 North Sagitarius Dr                                                               Guthrie         OK      73034
                                c/o Green & Brown (Tim W. Green
Rachell Savory                  PC)                             Attn: Tim W Green                                213 E. Oklahoma Ave                       Guthrie         OK      73044
Rachell Savory                                                  10113 W 9th St                                                                             Ripley          OK      74062
RACHELLE LYN HARMS                                              2720 NW 14TH STREET                                                                        OKLAHOMA CITY   OK      73107
                                                                                                                 9211 Lake Hefner
Rachelle Caldwell               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                c/o Laminack, Pirtle & Martines,
Rachelle Caldwell               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Rachelle Caldwell                                                  5011 Edgar Rd                                                                           Guthrie         OK      73034
RADIANT ENERGY LC                                                  110 NORTH ROBINSON, SUITE 250                                                           OKLAHOMA CITY   OK      73102
RADONNA TURNER                                                     15105 E KATHLEEN DR                                                                     PALMER          AK      99645



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                                                                                                                     9211 Lake Hefner
Raegan G. Qualls                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                    c/o Laminack, Pirtle & Martines,
Raegan G. Qualls                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Raegan G. Qualls                                                       601 Firelane Rd                                                                        Edmond            OK      73003
                                                                                                                     9211 Lake Hefner
Raelene Neighbors                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                    c/o Laminack, Pirtle & Martines,
Raelene Neighbors                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Raelene Neighbors                                                      707 North 4th St                                                                       Orlando           OK      73073
RAF EXLPORATION LLC                                                    5816 NW 135TH STREET, SUITE A                                                          OKLAHOMA CITY     OK      73142
RAGHAV TRIVEDI                                                         6105 ABERDEEN DR                                                                       PLANO             TX      75093-7926
RAGLAND FAMILY TRUST DTD 5-4-2016                                      377 RIO VISTA                                                                          WEEMS             VA      22576
RAGLAND REVOCABLE TRUST                                                3838 OAK LAWN AVE #500                                                                 DALLAS            TX      75219
RAILROAD COMMISSION OF TEXAS                                           PO BOX 12967                                                                           AUSTIN            TX      78711-2967
RAIMONDO FELENGA                                                       5020 W 2ND AVE                                                                         STILLWATER        OK      74074-6892
                                    c/o Doerner Saunders Daniel &
Rainbo Service Company              Anderson LLP                       Attn: Sarah J Timberlake                      105 N Hudson Ave     Ste. 1000           Oklahoma City     OK      73102
Rainbo Service Company                                                 1839 SE 25th St                                                                        Oklahoma City     OK      73105
Raines, Claudia                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
RAINMAKER SALES INC                                                    7251 HIGHWAY 177                                                                       SHAWNEE           OK      74804-0623
RAINS FAMILY TRUST                                                     7600 S SANGRE RD                                                                       STILLWATER        OK      74074-8122
RAINTREE ROYALTIES                                                     PO BOX 54315                                                                           OKLAHOMA CITY     OK      73154-1315
RAINY DAY LLC                                                          339 PAINTBRUSH DRIVE                                                                   GOLDEN            CO      80401
RAJAL SHAH                                                             1812 KINGS ISLE DR                                                                     PLANO             TX      75093-2422
RAJENDRA KUMAR                                                         701 LONGWOOD DR                                                                        ALLEN             TX      75013

RAJINDAR BHANDARI                                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
                                                                                                                     9211 Lake Hefner
Ralisa Muse                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                    c/o Laminack, Pirtle & Martines,
Ralisa Muse                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Ralisa Muse                                                            2745 S. 96th East Ave                                                                  Tulsa             OK      74129
RALPH ADAMS                                                            107 N WILSON ST                                                                        BOISE             ID      83706
RALPH ALWORTH                                                          PO BOX 704                                                                             OILTON            OK      74052
RALPH BAKER                                                            12409 ARROWHEAD TERRACE                                                                OKLAHOMA CITY     OK      73120
RALPH BEIER                                                            209 N 7TH                                                                              PERRY             OK      73077
RALPH BRUMFIELD                                                        PO BOX 1575                                                                            STILLWATER        OK      74076-1575
RALPH CARLEY                                                           6745 SE 107TH ST APT H28                                                               BELLEVIEW         FL      34420-3488
RALPH CHARLES AND CAROL CHARLES                                        832 S LEIGH ST                                                                         STILLWATER        OK      74074-4836
RALPH COMSTOCK                                                         3019 CAMERON ST                                                                        INDIANAPOLIS      IN      46203
RALPH DUNBAR                                                           23409 W 151ST S                                                                        KELLYVILLE        OK      74039
RALPH E & ROBERTA P WRIGHT                                             24700 LUKE LN                                                                          TECUMSEH          OK      74873
RALPH EARLES                                                           1780 N 300TH RD                                                                        BALDWIN           KS      66006-7301
RALPH FORAKER                                                          1305 FIR ST                                                                            PERRY             OK      73077

RALPH G PEIL                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070

RALPH GARDNER                                                          1000 FOUNTAIN TERRACE DR UNIT 408                                                      LEWISTOWN         MT      59457-1973
RALPH GRETZINGER                                                       141 MACY GRACE LN                                                                      LONGVIEW          TX      75605
RALPH H PASSOW TRUST                                                   25601 RD 150                                                                           PERRY             OK      73077
RALPH HANSEN                                                           9304 HIGH DRIVE                                                                        LEAWOOD           KS      66206
RALPH HENDERSON                                                        18348 E GLASGOW PL                                                                     AURORA            CO      80016-1610
RALPH HURST                                                            104 S MARKWELL AVE                                                                     MOORE             OK      73160-2255
RALPH JACOB MARRIOTT                                                   2891 TWIN ACRES DR                                                                     NORMAN            OK      73071
RALPH JAMES WYATT                                                      10923 47TH AVE SW                                                                      TACOMA            WA      98499-3716
RALPH KING                                                             23750 CR 220                                                                           MORRISON          OK      73061
RALPH L WAMPLER                                                        4202 BROOKVIEW                                                                         NORMAN            OK      73072
RALPH LESTER                                                           RR 1 BOX 423                                                                           NOWATA            OK      74048-9745


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RALPH M LILLARD JR                                                  334 ARIZONA ST STE 5                                                                   HOLLYWOOD BEACH   FL      33017
RALPH MACADAM                                                       6118 JAMES ALAN ST                                                                     CYPRESS           CA      90630
RALPH MASON                                                         10212 AQUEDUCT DR                                                                      CYPRESS           CA      90630
RALPH MAYS                                                          1015 E 38TH ST                                                                         TULSA             OK      74105
RALPH MCENTIRE                                                      817 S MICHIGAN AVE                                                                     CUSHING           OK      74023-4637
RALPH MORGAN                                                        17270 SW RIVENDELL DR                                                                  DURHAM            OR      97224
RALPH O'CONNOR                                                      1001 FANNIN ST., SUITE M220                                                            HOUSTON           TX      77002-6733
RALPH PENNY                                                         124 COURT ST.                                                                          WHITE PLAINS      NY      10601
RALPH R EDWARDS                                                     15024 SMITH FIELD DR                                                                   OREGON CITY       OR      97045
RALPH S GOODMAN                                                     789 WEST AVE APT 4B                                                                    NEW YORK          NY      10025
RALPH SHELTON                                                       16202 SE 139TH CT                                                                      RENTON            WA      98059
RALPH SIEMION                                                       3000 EXECUTIVE PARKWAY                                                                 SAN RAMON         CA      94583
RALPH SNYDER                                                        39900 GARNET TRL                                                                       DEER TRAIL        CO      80105
RALPH SPARKS JR                                                     1701 SW 38TH                                                                           MOORE             OK      73160
RALPH SPEECE                                                        48301 SOUTH 354 ROAD                                                                   PAWNEE            OK      74058
RALPH STALEY                                                        1549 NE JACKSON SCHOOL DR                                                              HILLSBORO         OR      97124
RALPH TENER                                                         10427 MARBURY RD                                                                       OAKTON            VA      22124-1621
RALPH VANDEVENTER                                                   300 E MIAMI AVE                                                                        CLEVELAND         OK      74020-1414
RALPH VARNUM                                                        308 TERRACE TRAIL WEST                                                                 LAKE QUIVIRA      KS      66217
RALPH VIERSEN                                                       PO BOX 296                                                                             HENRYETTA         OK      74437-0296
RALPH WILLARD DISNEY TRUST                                          4175 GREENSIDE CT                                                                      DACULA            GA      30019-4681
RALPH YOST                                                          17405 W 92ND ST                                                                        COYLE             OK      73027-7000
RAM FOUNDATION                                                      2801 RICHMOND RD #30                                                                   TEXARKANA         TX      75503-2123
RAM OIL AND GAS INC                                                 PO BOX 544                                                                             WALSH             CO      81090-0544
RAM OILFIELD SERVICES LLC                                           PO BOX 94208                                                                           LUBBOCK           TX      79493
RAM PRODUCTS INC                                                    PO BOX 23325                                                                           OKLAHOMA CITY     OK      73123
RAM TOOL & SUPPLY CO                                                PO BOX 743487                                                                          ATLANTA           GA      30374-3487
RAMAMURTHY MAHALINGAM                                               305 CLAYHEATH CT                                                                       BALLWIN           MO      63011-3168
RAMBO LAND COMPANY LLC                                              908 NW 71ST ST                                                                         OKLAHOMA CITY     OK      73116-7402
RAMCO INC                                                           PO BOX 52027                                                                           LAFAYETTE         LA      70505
RAMESH SAXENA                                                       3112 JACLAMO ST                                                                        FLOWER MOUND      TX      75022
                                                                                                                  9211 Lake Hefner
Ramon G. Martinez                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                 c/o Laminack, Pirtle & Martines,
Ramon G. Martinez                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Ramon G. Martinez                                                   1716 NW 174th St                                                                       Edmond            OK      73012
                                                                                                                  9211 Lake Hefner
Ramon G. Macias                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                 c/o Laminack, Pirtle & Martines,
Ramon G. Macias                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Ramon G. Macias                                                     1728 N Little                                                                          Cushing           OK      74023
RAMONA K DOUGLASS TRUST                                             8374 E HARRY CT                                                                        WICHITA           KS      67207
RAMONA LARSEN                                                       5101 S PERKINS RD                                                                      STILLWATER        OK      74074-7254
RAMONA LENHART                                                      703 REDWOOD                                                                            NOBLE             OK      73068
RAMONA MILLER WHEATLEY                                              PO BOX 755                                                                             PERKINS           OK      74059-0755
RAMONA P MARSHALL TRUST                                             1607 BEDFORD DR                                                                        OKLAHOMA CITY     OK      73116
RAMONA THEDFORD                                                     230 W STATE                                                                            ENID              OK      73701
RAMOND W DIETRICH LIVING TRUST                                      PO Box 2640                                                                            MIDLAND           TX      79702
RAMPART II OIL & GAS LP                                             7404 S YALE AVE                                                                        TULSA             OK      74136
RAMROD TRUCKING INC.                                                3009 HOHL STREET                                                                       HOUSTON           TX      77093
RAMSEY W DRAKE II LLC                                               PO BOX 18466                                                                           OKLAHOMA CITY     OK      73154
                                                                                                                  9211 Lake Hefner
Rana Shwayyat                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                 c/o Laminack, Pirtle & Martines,
Rana Shwayyat                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Rana Shwayyat                                                       7418 S. 106 East Ave                                                                   Tulsa             OK      74133
RANAS MINERALS LLC                                                  420 LINCOLN ST                                                                         PUEBLO            CO      81004-1420
RANAY ROTH                                                          1918 LAKEVIEW DR                                                                       PERRY             OK      73077
RANCE KEITH JOHNSON                                                 3832 N RIVERSIDE DR                                                                    BETHANY           OK      73008-3052


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RANCHO OIL COMPANY LLC                                                  PO BOX 919                                                                             GAINESVILLE        TX       76241-0919
RANDA HOHWEILER                                                         1005 E ELM ST                                                                          STROUD             OK       74079-7362
RANDAL AND SANDRA BARTON                                                PO BOX 682045                                                                          FRANKLIN           TN       37068
RANDAL BERRY                                                            6110 HASTINGS DRIVE                                                                    CORPUS CHRISTI     TX       78414-3613
RANDAL BUSCH                                                            8717 E 86TH ST                                                                         PERKINS            OK       74059-3820
RANDAL CARRIER                                                          840 E 5TH ST                                                                           CUSHING            OK       74023-4407
RANDAL HENDERSON                                                        PO BOX 57706                                                                           OKLAHOMA CITY      OK       73157-7706
RANDAL JOHNSON                                                          3988 DUKE LANE                                                                         LAKE HAVASU CITY   AZ       86404
RANDAL LAUBACH                                                          PO BOX 401                                                                             OKEENE             OK       73763-0401
RANDAL PETROLEUM CORP                                                   PO BOX 57706                                                                           OKLAHOMA CITY      OK       73157-7706
RANDAL STEPHENS                                                         25800 CR 160                                                                           PERRY              OK       73077
RANDAL WISS                                                             7062 RED MESA DR                                                                       LITTLETON          CO       80125
RANDALL ACTON WEST                                                      21983 KANE ROAD                                                                        GRAVETTE           AR       72736
RANDALL BEIER                                                           504 MAPLE                                                                              PERRY              OK       73077
RANDALL BOSTON                                                          609 STROUD ST                                                                          WHITING            IA       51063-1004
RANDALL BOYCE                                                           PO BOX 367                                                                             COYLE              OK       73027-0367
RANDALL COURTRIGHT                                                      5063 N 37TH ST                                                                         MILWAULKEE         WI       53209
RANDALL CROOK                                                           20107 N CORONADO RIDGE DRIVE                                                           SURPRISE           AZ       85387
RANDALL DENKER                                                          111 N. 90TH ST                                                                         ENID               OK       73701
RANDALL DONAHOO                                                         4603 S HUSBAND ST                                                                      STILLWATER         OK       74074-7709
RANDALL E JAMES OIL CO                                                  1800 N SANTA FE                                                                        GUTHRIE            OK       73044
RANDALL ELLIOTT                                                         425 NW 15TH STREET                                                                     OKLAHOMA CITY      OK       73103
RANDALL FAMILY REVOCABLE TRUST                                          5009 N PENNSYLVANIA AVE STE 103                                                        OKLAHOMA CITY      OK       73112-8953
                                                                                                                      9211 Lake Hefner
Randall Gardner                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120

Randall Gardner                      c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Randall Gardner                                                         2725 S Air Depot Blvd                                                                  Edmond             OK       73013
RANDALL GROOMS                                                          1113 COLUMBIA CT                                                                       EDMOND             OK       73507
RANDALL HERRMANN                                                        10916 E 74TH ST                                                                        RIPLEY             OK       74062
RANDALL HOLMES                                                          PO BOX 695                                                                             OOLOGAH            OK       74053-0695
                                                                                                                      9211 Lake Hefner
Randall James Birr                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                     c/o Laminack, Pirtle & Martines,
Randall James Birr                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Randall James Birr                                                      2306 W. 49th St                                                                        Tulsa              OK       74107
RANDALL JAMES ETHRIDGE AND FRANCES                                      PO BOX 777                                                                             STROUD             OK       74079-0777
RANDALL KELLEY                                                          4548 HOPE CIR                                                                          BROOMFIELD         CO       80023-8495
RANDALL L & RHEA L CAIN REV LVG TR                                      1019 BALLARD RD                                                                        HOMINY             OK       74035
RANDALL LOMELI                                                          759 REGENT PARK                                                                        SAN JOSE           CA       95123
RANDALL MILLER                                                          3909 S MEHAN RD                                                                        RIPLEY             OK       74062-6277
RANDALL MORTON                                                          4826 PALMETTO ST                                                                       BELLAIRE           TX       77401-3414
RANDALL NELSON                                                          2601 CACTUS DR                                                                         EDMOND             OK       73013
RANDALL PETERSEN                                                        2015 JAMESTOWN WAY                                                                     OXNARD             CA       93035-3747
RANDALL ROBERTS                                                         4520 RICHMOND RD                                                                       TYLER              TX       75703
RANDALL ROBINSON                                                        8198 N RAISINA                                                                         FRESNO             CA       93720
RANDALL ROY HAFNER                                                      102 FREDERICK                                                                          CLAY CENTER        KS       67432
RANDALL SANDERSON                                                       2896 COUNTRY CLUB PLAZA                                                                BULLHEAD CITY      AZ       86442
RANDALL SEWELL                                                          1909 WHISPERING PINES CIRCLE                                                           NORMAN             OK       73072
RANDALL SEWELL                                                          3000 MARIGOLD TRL                                                                      NORMAN             OK       73072-6680
RANDALL SUTAK                                                           8447 KIMBERLY STREET                                                                   JUNEAU             AK       99801
RANDALL TARLTON                                                         241 HEATHER LANE                                                                       MALVERN            AR       72104
RANDALL THOMAS HANNEMAN                                                 4613 WEST TOLDEO ST                                                                    BROKE ARROW        OK       74012
RANDALL TIBBETT                                                         10275 S 195TH W PL                                                                     SAPULPA            OK       74066
RANDALL W & DEBORAH S FITZSIMMONS                                       397180 W 300 RD                                                                        COPAN              OK       74022-5403
RANDALL WATTS                                                           46 ROAD 2391                                                                           AZTEC              NM       87410-9327
                                                                                                                      9211 Lake Hefner
Randall Newton                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120



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                                      c/o Laminack, Pirtle & Martines,
Randall Newton                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Randall Newton                                                           750498 S. 3490 Rd                                                                      Cushing          OK      74023
RANDEL J POLK FAMILY TRUST                                               5715 N WESTERN AVE STE C                                                               OKLAHOMA CITY    OK      73132
RANDEL PAUL RENEGAR                                                      6252 S HUDSON AVE                                                                      TULSA            OK      74136
                                                                                                                       9211 Lake Hefner
Randell L. Phillips                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Randell L. Phillips                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Randell L. Phillips                                                      3802 Quail Dr                                                                          Oklahoma City    OK      73121
RANDOLPH NEWMAN AND ROBERT C          PLAINS ROYALTY CORP/HARRY
NEWMAN                                G NEWMAN                                                                                                                  SMYRNA           GA      30082-4118
RANDY & LONNETTA RICHARDSON FAM TR                                       1019 E MOCKINGBIRD DRIVE                                                               GUTHRIE          OK      73044

RANDY AND BARBARA COLLUM REV TR DTD                                      PO BOX 793                                                                             PERKINS          OK      74059
RANDY ASHLEY                                                             1724 WINDSOR WAY                                                                       CLOVIS           NM      88101
RANDY B GOSSETT                                                          5711 E BUCKINGHAM WAY                                                                  FRESNO           CA      93727-7608
RANDY BENTLEY                                                            3629 S RANCH DR                                                                        PONCA CITY       OK      74601-7854
RANDY BLANKINSHIP                                                        2423 FOREST CROSSING RD                                                                CHOCTAW          OK      73020-6729
                                                                                                                       9211 Lake Hefner
Randy Charles Hart                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Randy Charles Hart                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Randy Charles Hart                                                       223 E Beaumont                                                                         Yale             OK      74085
RANDY CHESNUT                                                            424 W MAPLE ST                                                                         HOOPESTON        IL      60942
RANDY CHESTNUT                                                           424 W MAPLE ST                                                                         HOOPESTON        IL      60942
RANDY CHOW                                                               212 BEDDINGTON DRIVE NE                                                                OKLAHOMA CIITY   OK      73120
RANDY FLOWER                                                             PO BOX 242                                                                             DELAWARE         OK      74027
RANDY HESS                                                               56908 PEACH TREE LN                                                                    AFTON            OK      74331
RANDY INC                                                                PO BOX 102                                                                             DOVER            OK      73734
RANDY J HANSEN                                                           1419 ALTA VISTA RD                                                                     SANTA BARBARA    CA      93103
                                                                                                                       9211 Lake Hefner
Randy J. Barnes                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Randy J. Barnes                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Randy J. Barnes                                                          1711 N. Ironwood Ave                                                                   Broken Arrow     OK      74012
RANDY KINDSCHI                                                           24795 N DOUGLAS BLVD                                                                   ORLANDO          OK      73073
RANDY L & DEBORAH S DEAL JT                                              5211 S WASHINGTON ST                                                                   STILLWATER       OK      74074
RANDY L AND PATRICIA A RITTHALER HW                                      24800 CR 200                                                                           STILLWATER       OK      74075
RANDY L LITTLE                                                           1704 DEEP CREEK RD                                                                     OKLAHOMA CITY    OK      73131
RANDY L LITTLE & PATSY LITTLE LIV T                                      1704 DEEP CREEK RD                                                                     OKLAHOMA CITY    OK      73131
                                                                                                                       9211 Lake Hefner
Randy L. Jones                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Randy L. Jones                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Randy L. Jones                                                           1551 S. 76th E. Ave                                                                    Tulsa            OK      74112
Randy L. Jones                                                           6798 E. 26th Pl                                                                        Tulsa            OK      74129
RANDY LEGRANT                                                            101 SAGE HOLLOW RD                                                                     GUILFORD         CT      06437-1566
RANDY LEON & JEAN CORDEL BEEBY                                           PO BOX 13                                                                              MARSHALL         OK      73056-0013
RANDY MALASKA                                                            418 N ALBERT PIKE AVENUE                                                               FORT SMITH       AR      72903
RANDY MARTIN                                                             718 TROTTER                                                                            MAIZE            KS      67101
RANDY MCGUAR                                                             10501 DEER RIDGE RD                                                                    PERRY            OK      73077
RANDY OVERFORS & VICKIE OVERFORS                                         8 GALVIN DRIVE 8-153W                                                                  GUTHRIE          OK      73044-9561

RANDY PAUL MENDENHALL                                                    26802 PERDIDO BEACH BLVD UNIT 7815                                                     ORANGE BEACH     AL      36561
RANDY PENSON                                                             2109 N BELL AVE                                                                        SHAWNEE          OK      74804
RANDY PIERCE                                                             13701 NE 67TH ST                                                                       JONES            OK      73049-6011
RANDY PING                                                               140 DOVETAIL DR                                                                        MOORESVILLE      NC      28115-5793
RANDY PORTER                                                             417 S LEWIS                                                                            STILLWATER       OK      74074


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RANDY RAINS                                                              1524 E WILHAM DR                                                                        STILLWATER       OK      74075
RANDY RAY TAYLOR                                                         PO Box 50101                                                                            MIDWEST CITY     OK      73140
RANDY RENNER                                                             6611 NW 33RD ST                                                                         BETHANY          OK      73008
RANDY RINK                                                               7302 S 150TH ST                                                                         DOUGLAS          OK      73733
RANDY ROBERTSON                                                          1000 N SAN VICENTE BLV #2                                                               WEST HOLLYWOOD   CA      90069
RANDY SAFFELL                                                            1224 S ASPEN CT                                                                         BROKEN ARROW     OK      74012-4701
RANDY SEHIE                                                              204 E DEANNA LN                                                                         NIXA             MO      65714-9358
Randy Sells                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Randy Sells                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Randy Sells                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Randy Sells                                                              3439 West 163rd St North                                                                Skiatook         OK      74070
RANDY SPARKS                                                             2818 SW PEACE LN                                                                        PORT ORCHARD     WA      98367-9266
RANDY SUGG                                                               7076 CANADIAN DR                                                                        KINGSTON         OK      73439
RANDY WARD                                                               10414 S OAKWOOD RD                                                                      WAUKOMIS         OK      73773
RANDY WEDEL                                                              901 S MAIN ST                                                                           STILLWATER       OK      74074-4635
RANDY WILLIAMS                                                           626 N COOLIDGE                                                                          ENID             OK      73073
RANDY WOODRUFF                                                           2303 E 14TH ST                                                                          ODESSA           TX      79761
RANEY ENGINEERING LLC                                                    15400 N. COUNCIL ROAD                                                                   EDMOND           OK      73013
RANEY HOLBROOK                                                           3908 BILGLADE RD                                                                        FORT WORTH       TX      76109-5038
RANEY NAUGHTON                                                           3908 BILGLADE RD                                                                        FORT WORTH       TX      76109-5038
RANGE PRODUCTION COMPANY                                                 5600 N MAY AVE STE 350                                                                  OKLAHOMA CITY    OK      73112-3967
                                                                                                                                           10th Fl, Two
Range Production Company, LLC         c/o McAfee & Taft                  Attn: Timothy Bomhoff                         211 N Robinson Ave. Leadership Square     Oklahoma City    OK      73102
Range Production Company, LLC                                            100 Throckmorton St                           Ste. 1200                                 Fort Worth       TX      76102
RANGE RESOURCES CORPORATION                                              100 THROCKMORTON ST STE 1200                                                            FORT WORTH       TX      76102-2842
RANGE RESOURCES MIDCONTINENT                                             PO BOX 650002                                                                           DALLAS           TX      75265-0002
RANGER EXPLORATION COMPANY                                               1021 N.W. GRAND BOULEVARD                                                               OKLAHOMA CITY    OK      73118-6039
RANGER LAND SERVICES INC                                                 PO BOX 3487                                                                             EDMOND           OK      73083-3487

RANGER OILFIELD SERVICES CORPORATIO                                      PO BOX 594                                                                              HENNESSEY        OK      73742-0594
RANITA JUNE                                                              211 CHEROKEE DRIVE                                                                      YUKON            OK      73099
RANOLA OIL COMPANY                                                       2021 SOUTH LEWIS AVE STE 700                                                            TULSA            OK      74104
RAPID TRUCKING INC                                                       PO BOX 703                                                                              BIG SPRING       TX      79721
RAQII LLC                                                                5121 E HOWARD LN                                                                        MANOR            TX      78653-4032
RAQUEL M BUCKLE                                                          3201 CHRISTMAS TREE LANE                                                                BAKERSFIELD      CA      93306
RAQUEL MIER                                                              308 SOUTH MISSOURI AVENUE                                                               MARSHALL         OK      73056-9712
RASHONDA CUMMINGS                                                        1435 NW 99                                                                              OKLAHOMA CITY    OK      73114
RAUH OILFIELD SERVICES COMPANY                                           PO BOX 421                                                                              LAHOMA           OK      73754
RAUH'S FRAC SERVICE INC.                                                 7880 SAN FELIPE ST., SUITE 207                                                          HOUSTON          TX      77063
RAUL ESTEVEZ                                                             PO BOX 1191                                                                             STILLWATER       OK      74076
                                                                                                                       9211 Lake Hefner
Raul Nunez                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Raul Nunez                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Raul Nunez                                                               11308 Greystone Ave                                                                     Oklahoma City    OK      73120
RAVEN OIL & GAS PROPERTIES LLC                                           PO BOX 607                                                                              ALVA             OK      73717
RAVEN RESOURCES LLC                                                      PO Box 721880                                                                           Oklahoma City    OK      73172
                                                                                                                       9211 Lake Hefner
Raven Crowl                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Raven Crowl                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Raven Crowl                                                              321 N. Peters Ave                                                                       Norman           OK      73069
RAWLINS CLARK ESTATE DECD                                                PO BOX 53310                                                                            MIDLAND          TX      79710
                                                                                                                       9211 Lake Hefner
Ray Aubert                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ray Aubert                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Ray Aubert                                                               9414 Spencer Rd                                                                         Spencer          OK      73084
RAY A GODFREY                                                            7707 W BRITTON RD                                                                       OKLAHOMA CITY    OK      73132


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RAY B BURKE                                                              14920 S PLUM DR                                                                        OREGON CITY     OR      97045
RAY BARTEL                                                               1928 EAGLE LN                                                                          PERRY           OK      73077
RAY BOYD                              C/O FLORA JEAN BOYD RAY                                                                                                   LONG BEACH      MS      39560-4421
RAY BOYLE                                                                345871 E 750 RD                                                                        AGRA            OK      74824-6363
RAY BRADLEY                                                              6319 S. INDIANAPOLIS AVENUE                                                            TULSA           OK      74136-1412
RAY BRUMLEY                                                              119 W OAK SHADOWS                                                                      ONALASKA        TX      77360-7427
RAY CLOER REV TR DTD 12-22-1997                                          5300 N BRYANT AVE                                                                      OKLAHOMA CITY   OK      73121
RAY DRISKELL                                                             5330 S. COLUMBIA PLACE                                                                 TULSA           OK      74105
                                                                                                                                                                SPRING BROOK
RAY DRYDEN                                                               362 MAPLE LAKE RD                                                                      TOWNSHIP        PA      18444
RAY E & MARY E NORRIE JTS                                                7018 NORRIE LN                                                                         STILLWATER      OK      74074-6166
RAY EARLEY                                                               3737 E 82ND PL                                                                         TULSA           OK      74137
RAY EDMOND TIBBETT                                                       1262 W O'FARRELL ST                                                                    SAN PEDRO       CA      90732
RAY EUGENE MARTIN AND GAIL LYNN MAR                                      43055 80TH ST WEST                                                                     LANCASTER       CA      93536
RAY KOHN                                                                 814 S SERRANO AVE                                                                      LOS ANGELES     CA      90005
RAY LAND & LOAN COMPANY INC                                              PO BOX 225                                                                             RICHMOND        MO      64085-0225
RAY LEDESMA                                                              PO BOX 478                                                                             CEDAR PARK      TX      78630
RAY LEE BENNETT                                                          6310 BRECKINRIDGE ROAD                                                                 ENID            OK      73701
RAY MCGINNIS                                                             2220 SOUTH STILES ROAD                                                                 CUSHING         OK      74023
RAY MEISINGER                                                            113 S TIMBERLINE DR                                                                    PERKINS         OK      74059
RAY MOORE                                                                PO BOX 242                                                                             TRYON           OK      74875
RAY PRIESS                                                               113 N BRIDLEWOOD DR                                                                    EDMOND          OK      73034
RAY PRIESS LIVING TRUST                                                  113 N BRIDLEWOOD DR                                                                    EDMOND          OK      73034
RAY PRYOR                                                                6191 S MESQUITE TRAIL                                                                  TUCSON          AZ      85747
RAY R DAY                                                                PO BOX 41                                                                              CAMARGO         OK      73835-0041
RAY RUSS                                                                 RFD NO 2                                                                               STILLWATER      OK      74076
RAY THOMAS                                                               1224 SOUTH HUSBAND                                                                     STILLWATER      OK      74074
RAY WALL                                                                 1820 17TH AVE SE                                                                       RIO RANCHO      NM      87124
RAY WILSON                                                               119 LAKE ROAD DR                                                                       CRESCENT        OK      73028
RAYBOURN H SMISER 1999 REV TR DTD 5                                      PO BOX 60731                                                                           OKLAHOMA CITY   OK      73146
RAYBOURN H SMISER TRUST                                                  PO BOX 60731                                                                           OKLAHOMA CITY   OK      73146-0731
RAYBOURN INTEREST INC                                                    PO BOX 1371                                                                            SHAWNEE         OK      74802-1371
RAYDN M BOWLING                                                          323 W CEDAR AVENUE                                                                     MARSHALL        OK      73056-9772
RAYDON PRODUCTION CO                                                     1601 NW EXPRESSWAY STE 1300                                                            OKLAHOMA CITY   OK      73118
RAYLEEN DEMPESY                                                          5140 WEST CANYON ROAD                                                                  GUTHRIE         OK      73044-8787
                                                                                                                       9211 Lake Hefner
Raylene Cayton                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Raylene Cayton                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Raylene Cayton                                                           1209 NE 69th St                                                                        Oklahoma City   OK      73111
Raymer, William                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
RAYMONA SCOTT                                                            2561 ONEIDA ST                                                                         DENVER          CO      80207
RAYMOND & BESSIE KRAVIS FNDTN                                            PO BOX 1588                                                                            TULSA           OK      74101-1588
RAYMOND & JOYCE HAUF TRUST                                               PO BOX 547                                                                             STILLWATER      OK      74076-0547
RAYMOND & KAREN YAKEL TRUST                                              14257 PRAIRIE FIRE LN                                                                  WAMEGO          KS      66547
RAYMOND ALFRED TIBBETT (DECEASED)                                        1262 W O'FARRELL ST                                                                    SAN PEDRO       CA      90732
RAYMOND ARNOLD                                                           1123 EAST 5TH AVE APT 1E                                                               STILLWATER      OK      74074-3815
RAYMOND BRADFORD                                                         302 TANGLEWOOD DRIVE                                                                   YUKON           OK      73099
RAYMOND CALKINS                                                          RR 2, BOX 57                                                                           TALOGA          OK      73667-9633
RAYMOND CLINTON                                                          420 S 260TH ST                                                                         PITTSBURG       KS      66762

RAYMOND COYNER AND OPAL L COYNER HW                                      PO BOX 423                                                                             RIPLEY          OK      74062-0423
RAYMOND D NORTH                                                          PO BOX 96                                                                              POND CREEK      OK      73701
                                                                                                                       9211 Lake Hefner
Raymond D. Layland Jr.                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Raymond D. Layland Jr.                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Raymond D. Layland Jr.                                                   6025 N. Harrah Rd                                                                      Harrah          OK      73045
RAYMOND DENNIS                                                           7112 W ESECO RD                                                                        CUSHING         OK      74023-5874


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RAYMOND DRUMM                                                            224 S BEEBE                                                                             WICHITA         KS    67209
RAYMOND E DILLMAN AND JUANITA D DIL                                      1507 S ASHTON AVENUE                                                                    STILLWATER      OK    74074-1877

RAYMOND E SELF                                                           5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX    75070
                                                                                                                       9211 Lake Hefner
Raymond E. Duncan                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Raymond E. Duncan                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Raymond E. Duncan                                                        9810 Hefner Village Dr                                                                  Oklahoma City   OK    73162
RAYMOND EARL GRAY                                                        729 HUMMINGFISH DR                                                                      NORMAN          OK    73069
RAYMOND EVERETT THEDFORD                                                 3401 WALNUT AVENUE                                                                      CARMICHAEL      CA    85608

RAYMOND F CARTER AND PAMELA Y CARTE                                      342075 EAST 780 ROAD                                                                    TRYON           OK    74824
RAYMOND F KRAVIS TRUST                                                   PO BOX 1588                                                                             TULSA           OK    74101
RAYMOND HOPKINS                                                          3931 E CR 66                                                                            MULHALL         OK    73063
                                                                                                                       9211 Lake Hefner
Raymond J. Moore                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Raymond J. Moore                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Raymond J. Moore                                                         517 N Violet Ave                                                                        Cushing         OK    74023
RAYMOND JAMES HOLLINGSWORTH                                              801 W CHEYENNE ST                                                                       MARLOW          OK    73055
RAYMOND KAISER                                                           300 EAST QUINCY ST                                                                      COVINGTON       OK    73730
RAYMOND KAUTZ                                                            4017 MARANA DRIVE, APT. 1H                                                              GRANBURY        TX    76048
RAYMOND KEVIN BENEDICT                                                   171 OAK COMMON AVE                                                                      ST AUGUSTINE    FL    32095-6803
RAYMOND KUKUK                                                            1107 N 12TH ST                                                                          PERRY           OK    73077
RAYMOND L FARRELL                                                        9633 MAPLE LEAF LANE                                                                    PENSACOLA       FL    32514
RAYMOND M & FREDA S HANSON TR                                            4013 SNOW CREEK DRIVE                                                                   ALEDO           TX    76008

RAYMOND M TIMPANELLI                                                     5729 LEBANON RD SUITE 144 PMB 404                                                       FRISCO          TX    75034
                                                                                                                       9211 Lake Hefner
Raymond M. Oliver                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Raymond M. Oliver                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Raymond M. Oliver                                                        518 S. 78th East Ave.                                                                   Tulsa           OK    74112
RAYMOND MARK MCPEEK III                                                  13123 WEST COOKSEY ROAD                                                                 CRESCENT        OK    73028
RAYMOND MCPEEK                                                           PO BOX 635                                                                              CRESCENT        OK    73028
                                                                                                                       9211 Lake Hefner
Raymond McPheters                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
Raymond McPheters                     c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles     CA    90017
Raymond McPheters                                                        110 E Vine                                                                              Cushing         OK    74023
RAYMOND MINNITE                                                          PO BOX 426                                                                              OAKHURST        CA    93644
Raymond Moore                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX    75070
Raymond Moore                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK    74104
Raymond Moore                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY    10017
Raymond Moore                                                            517 N. Violet Ave.                                                                      Cushing         OK    74023

RAYMOND NETTLES & FLORENCE NETTLES                                       5606 E 104TH T                                                                          PERKINS         OK    74059
RAYMOND PETERS                                                           624 E FRANKLIN ST                                                                       HILLSBORO       TX    76645-2217
RAYMOND R BURNTER TRUST                                                  25910 E 19TH ST                                                                         CATOOSA         OK    74015
RAYMOND RAINS                                                            6320 S PERKINS RD                                                                       STILLWATER      OK    74074-8266
                                                                                                                       9211 Lake Hefner
Raymond Reed                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                      c/o Laminack, Pirtle & Martines,
Raymond Reed                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Raymond Reed                                                             2723 N Quincy Ave                                                                       Tulsa           OK    74106
RAYMOND ROBISON                                                          2437 GALAXY RD                                                                          SAPULPA         OK    74066
RAYMOND SHORT                                                            24487 N 2980 RD                                                                         CASHION         OK    73016
RAYMOND SILVERS                                                          809 E 4TH                                                                               CUSHING         OK    74023
RAYMOND SOLBERG                                                          7786 E LAKEVIEW CT                                                                      SCOTTSDALE      AZ    85258-3481


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RAYMOND SPENCE                                                          2706 S 18TH ST                                                                          LARAMIE          WY    82070-8980

RAYMOND SPENCE AND SUE K SPENCE JT                                      2706 S 18TH ST                                                                          LARAMIE          WY    82070-8980
RAYMOND SUHM                                                            11716 SE 128TH ST                                                                       OKLAHOMA CITY    OK    73165-7904
                                                                        5729 LEBANON ROAD, SUITE 144
RAYMOND TIMPANELLI                                                      PMB404                                                                                  FRISCO           TX    75034
RAYMOND VEITH                                                           215 HOBBS ST                                                                            PLAINFIELD       IN    46168
RAYMOND WARREN                                                          5400 SHERIDAN BLVD LOT 130                                                              ARVADA           CO    80002
RAYMOND WEBB                                                            516 WINDY LANE                                                                          SHERMAN          TX    75092-8344
RAYMOND WILMOTH                                                         1725 HEARTHSTONE DR                                                                     PLANO            TX    75023-7446
Raymond Wright                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX    75070
Raymond Wright                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK    74104
Raymond Wright                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY    10017
Raymond Wright                                                          4405 N State Hwy 97                                                                     Sand Springs     OK    74063
                                                                                                                      9211 Lake Hefner
Raymond Brewer                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                     c/o Laminack, Pirtle & Martines,
Raymond Brewer                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Raymond Brewer                                                          11104 Bel Air Pl                                                                        Oklahoma City    OK    73120
                                                                                                                      9211 Lake Hefner
Raymond Jordan                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                     c/o Laminack, Pirtle & Martines,
Raymond Jordan                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Raymond Jordan                                                          504 S Walnut                                                                            Guthrie          OK    73034
RAYMONDA L JONES PAHLKA                                                 2408 ELMEN APT1                                                                         HOUSTON          TX    77019-6752
RAYORA MOORE                                                            2001 NORTH JARDOT ROAD                                                                  STILLWATER       OK    74075
RAY'S CONSTRUCTION CO                                                   PO BOX 614                                                                              CARNEY           OK    74832-0614
RB HOLTON INC                                                           PO Box 667                                                                              PERRYTON         TX    79070
RB MCCULLAR                                                             5816 NORMAN RD                                                                          OKLAHOMA CITY    OK    73122
RB WAITE                                                                648 W 8TH ST                                                                            EUGENE           OR    97402
RBA INC                                                                 1911 SPIRIT WOOD LN                                                                     EDMOND           OK    73025-1715
RBC OIL & GAS HOLDINGS LLC                                              PO BOX 25313                                                                            DALLAS           TX    75225
RBD OIL AND GAS INC                                                     690 RIVER OAKS LANE                                                                     DENISON          TX    75021
RBN ENERGY LLC                                                          2323 S SHEPHERD DR STE 1010                                                             HOUSTON          TX    77019-7024
RCB ENERGY LLC                                                          841 NW 42ND ST                                                                          OKLAHOMA CITY    OK    73118
RD CREIGHTON                                                            320 S BOSTONSTE 530                                                                     TULSA            OK    74103
RDC MINERALS                                                            PO BOX 50635                                                                            MIDLAND          TX    79710
RDT TRUCKING INC                                                        PO BOX 775                                                                              CRESCENT         OK    73028-0775
RDW MINERALS LLC                                                        6801 N BROADWAY SUITE 120                                                               OKLAHOMA CITY    OK    73116-9037
RE MOCKLEY                                                              PO BOX 41418                                                                            AUSTIN           TX    78704
REAGAN COUNTY ROYALTY COMPANY INC                                       PO BOX 25163                                                                            DALLAS           TX    75225
REAGAN SMITH ENERGY SOLUTIONS INC                                       1219 CLASSEN DRIVE                                                                      OKLAHOMA CITY    OK    73103
REAL PROPERTIES LTD                                                     540 - 5th AVE SW, SUITE 200                                                             CALGARY          AB    T2P 0M2      CANADA
                                                                                                                      9211 Lake Hefner
Reana Renae Woods                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                     c/o Laminack, Pirtle & Martines,
Reana Renae Woods                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Reana Renae Woods                                                       2517 Lynn Lane                                                                          Oklahoma City    OK    73120
REBA BURTON REV TRUST                                                   PO BOX 396                                                                              PERKINS          OK    74059-0396
REBA HARVEY                                                             1443 TAUBER LANE                                                                        SEALY            TX    77474
REBA L BAKER REVOCABLE TRUST                                            900 VICKERY AVE                                                                         YUKON            OK    73099
REBA MAXINE HARRIS                                                      3150 E TROPICANA APT R 228                                                              LAS VEGAS        NV    89121
REBA PERRIN                                                             42248 JEROME DR                                                                         HAMMOND          LA    70403-7632
REBECCA ABBOTT                                                          3711 SPRING DR                                                                          HUNTSVILLE       TX    77340
REBECCA ANN DARKNELL                                                    629 MANZANITA AVE                                                                       SUNNYVALE        CA    94085
REBECCA ANN SMITH REV TRUST                                             3501 NE 122ND                                                                           EDMOND           OK    73013
REBECCA BEE                                                             324 KB JOHNSON ST                                                                       ENID             OK    73701
REBECCA BEJCEK                                                          210 W DEBBIE MOTE                                                                       PERKINS          OK    74059-4447



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                                                                                                                       9211 Lake Hefner
Rebecca Burton                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Rebecca Burton                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Rebecca Burton                                                           402 North Central                                                                      Cushing          OK      74023
REBECCA ELAINE BLASIER                                                   3610 LISA LANE                                                                         ENID             OK      73703
REBECCA FINCH ROONEY TRUST                                               PO BOX 54829                                                                           OKLAHOMA CITY    OK      73154
REBECCA GEVEN                                                            7902 W DEEPROCK                                                                        RIPLEY           OK      74062
REBECCA GOODELL                                                          3527 KATHRYN AVE                                                                       SPRINGFIELD      OR      97478-5656
REBECCA HILLS                                                            6301 HYDE PARK DR                                                                      OKLAHOMA CITY    OK      73162
REBECCA JO GLENN ROGERS                                                  5829 OAKVIEW ST                                                                        SHAWNEE          KS      66216
REBECCA KRUEGER                                                          413 SUMMER OAKS DR                                                                     BLANCHARD        OK      73010
REBECCA LYNN ERMEY                                                       801 MARSTON DR                                                                         EDMOND           OK      73034
REBECCA LYNN RUDDELL                                                     3217 E 4TH AVE                                                                         STILLWATER       OK      74075-8305
REBECCA MEEKE                                                            1710 DAVIE ST                                                                          DAVENPORT        IA      52804
REBECCA MORRIS                                                           2724 SE 38TH ST                                                                        MOORE            OK      73160
REBECCA PRICE                                                            4625 MARLBOROUGH DR                                                                    SAN DIEGO        CA      92116
REBECCA RICE WHEELER REV TR                                              PO BOX 7219                                                                            BEAUMONT         TX      77726-7219
REBECCA RYDESKI                                                          6 PIEDRA VISTA                                                                         SILVER CITY      NM      88065
REBECCA S THOMASON                                                       1326 W 1875 S                                                                          SYRACUSE         UT      84075-9818
REBECCA SEARCEY                                                          6210 CORAL                                                                             SACHSE           TX      75048
REBECCA SHAFFER                                                          3815 S CEYLON WAY                                                                      AURORA           CO      80013
REBECCA SKIDMORE                                                         2417 SW 117TH ST                                                                       OKLAHOMA CITY    OK      73170-3628
REBECCA SLOCUM LIVTRST                                                   41-491 KALANIANAOLE HWY                                                                WAIMANALO        HI      96795-1817
REBECCA SMITH                                                            2584 G BRIDGEMAN RETTINGER RD                                                          KETTLE FALLS     WA      99141
REBECCA SUE BECK                                                         619 E COLLEGE AVE                                                                      GURHRIE          OK      73044
REBECCA THATCHER BOWLING                                                 6123 NORTH MONROE AVENUE                                                               KANSAS CITY      MO      64119
REBECCA TREKELL                                                          901 BARKLEY ST                                                                         SPRINGFIELD      CO      81073

REBECCA Y WEST                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
REBECCA ZAIKIS                                                           PO BOX 32361                                                                           OKLAHOMA CITY    OK      73123
REBEKAH CASSIDAY ROBERTS                                                 517 W ADAMS ST                                                                         CRESCENT         OK      73028
REBEKAH LEIH                                                             401 W WALNUT                                                                           DURANT           OK      74701
REBEKAH MONTGOMERY                                                       11 HORSELEG CREEK ROAD SW                                                              ROME             GA      30165
REBEKAH PIERSON                                                          PO BOX 6762                                                                            KENNEWICK        WA      99336
REBELLION ENERGY LLC                                                     5416 S YALE                                                                            TULSA            OK      74135
REBELLION ENERGY LLC                                                     5416 SOUTH YALE STE 300                                                                TULSA            OK      74135
RECKERT FAMILY INTER VIVOS TR DTD 9                                      13204 BANYAN ST                                                                        ETIWANDA         CA      91739
RECON                                                                    PO Box 612147                                                                          DALLAS           TX      75261-2147
RECON ENERGY PARTNERS LLC                                                PO BOX 8381                                                                            MOORE            OK      73160
RECON RESOURCES LLC                                                      25 HIGHLAND PARK VILLAGE #100-308                                                      DALLAS           TX      75205
RED BLUFF RESOURCES OPERATING                                            3030 NW EXPRESSWAY STE 650                                                             OKLAHOMA CITY    OK      73112-5447
RED BLUFF RESOURCES OPERATING LLC                                        3030 NW EXPRESSWAY STE 900                                                             OKLAHOMA CITY    OK      73112
RED BONE SERVICES LLC                                                    PO BOX 887                                                                             ELK CITY         OK      73648
RED BONE SERVICES LLC (DNU - DUPLIC                                      PO BOX 887                                                                             ELK CITY         OK      73648
RED DIRT DOZERS JOHN D SALISBURY                                         RT. 2 BOX 182                                                                          VICI             OK      73859
RED DIRT MEDIA GROUP LLC                                                 110 N CLEVELAND AVE                                                                    CUSHING          OK      74023
RED DOG SYSTEMS INC                                                      639 5TH AVE SW                                                                         CALGARY          AB      T2P 0M9      CANADA
RED EAGLE ENERGY LLC                                                     3565 HOSPITAL RD                                                                       HEALDTON         OK      73438
RED EARTH DESK AND DERRICK CLUB                                          14625 PADDINGTON AVENUE                                                                OKLAHOMA CITY    OK      73142
RED FORK (USA) INVESTMENTS INC                                           PO BOX 50272                                                                           MIDLAND          TX      79710
RED FORK (USA) INVESTMENTS INC (OBO                                      PO BOX 50272                                                                           MIDLAND          TX      79710
RED FORK INVESTMENTS INC                                                 PO BOX 50272                                                                           MIDLAND          TX      79710
RED FORK INVESTMENTS INC                                                 PO BOX 50272                                                                           MIDLAND          TX      79710
RED FORK OIL LLC                                                         PO BOX 721526                                                                          OKLAHOMA CITY    OK      73172-1526
RED HAWK RESOURCES INC                                                   2948 N KELLY STE 100                                                                   EDMOND           OK      73003
RED HILLS OIL & GAS CO                                                   PO BOX 352                                                                             COYLE            OK      73027
RED HOT STEAMERS LLC                                                     1206 S MAIN STREET                                                                     ELK CITY         OK      73644
RED RIDER SERVICES LLC                                                   PO BOX 850246                                                                          YUKON            OK      73085


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RED RIVER MINERALS LLC                                                  12516 STONECREST LN                                                                    OKLAHOMA CITY    OK       73142
RED RIVER OILFIELD SERVICES LLC                                         PO BOX 1297                                                                            SPRINGTOWN       TX       76082-1297
RED RIVER RESOURCES INC                                                 PO BOX 366                                                                             SIDNEY           MT       59270
RED RIVER ROYALTIES INC                                                 PO BOX 576                                                                             ARDMORE          OK       73402-0576
RED RIVER ROYALTIES LLC                                                 PO BOX 576                                                                             ARDMORE          OK       73402
RED STONE RESOURCES LLC                                                 817 IRISH LANE                                                                         EDMOND           OK       73003
RED STONE RESOURCES LLC                                                 PO BOX 6115                                                                            EDMOND           OK       73083-6115
RED VELVET LLC                                                          1174 QUAKER ST                                                                         DALLAS           TX       75207-5604
RED WING OIL LLC                                                        PO BOX 30277                                                                           WINSTON SALEM    NC       27130
REDBACK PUMP DOWNS                                                      10701 NW 2ND ST                                                                        YUKON            OK       73099-6888
REDBIRD ENERGY LLC                                                      2304 RIVERCROSS CT                                                                     NORMAN           OK       73072
REDBUD ESTATES LLC                                                      13512 TUSCANY DR                                                                       OKLAHOMA CITY    OK       73170
REDBUD PETROLEUM LLC                                                    305 S LAMATT                                                                           WEATHERFORD      TX       76086
RED-D-ARC INC                        ATTN: Mitch M. Imielinski          7060 Mableton Parkway South East                                                       Mableton         GA       30168-7434
RED-D-ARC INC                                                           PO BOX 532618                                                                          ATLANTA          GA       30353-2618
REDFORK ENERGY                                                          1437 S BOULDER AVE STE 700                                                             TULSA            OK       74119-3617
REDHAWK RESOURCES LLC                                                   1629 N MARION AVE                                                                      OKLAHOMA CITY    OK       73106
REDLANDS OIL COMPANY                                                    PO BOX 1722                                                                            TULSA            OK       74101-1722
REDMAN FAMILY FARM LLC                                                  3444 E COUNTY RD                                                                       MULHALL          OK       73063
REDMAN FAMILY FARM LLC                                                  3444 E COUNTY RD 66                                                                    MULHALL          OK       73063
REDSKY LAND LLC                                                         PO BOX 5936                                                                            EDMOND           OK       73083
REDTAIL RESOURCES LLC                                                   PO Box 27996                                                                           DENVER           CO       80227-0996
REDZONE COIL TUBING LLC                                                 PO BOX 733726                                                                          DALLAS           TX       75373-3726
REDZONE COIL TUBING LLC                                                 1201 Sooner Trend                                                                      Enid             OK       73701
REECE A HEMBREE REV INTER VIVOS TR                                      6743 E 66 PL                                                                           TULSA            OK       74133
REECE OIL & GAS COMPANY                                                 911 NW 157TH ST                                                                        OKLAHOMA CITY    OK       73118
REECE WOODRING                                                          PO BOX 481                                                                             EUDORA           KS       66025
REED HUMPHERYS LP                                                       21031 VENTURA BLVD STE 750                                                             WOODLAND HILLS   CA       91364-2242
REED W FERRILL JR                                                       3020 JOYCE WAY SUITE 100                                                               GOLDEN           CO       80401-1338
Reel, Michael                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK       73116
REES FAMILY TR DTD MAY 31 1991                                          18110 SANCTUARY DR                                                                     EAGLE RIVER      AK       99577-8223
REESE ENERGY CONSULTING                                                 725 SOUTH BLVD                                                                         EDMOND           OK       73034
REETA AVERY                                                             131 N. EUFAULA DR.                                                                     ENID             OK       73703
REETA COMPTON MCINTOSH                                                  PO BOX 57                                                                              BUFFALO          OK       73834
REETA MARTIN                                                            ROUTE 1, BOX 156 A                                                                     LONGDALE         OK       73755
REGALO ROYALTY INC                                                      6529 TURNBERRY DR                                                                      FT WORTH         TX       76312-4514
REGAN BURROWS                                                           831 ASHLAND STREET                                                                     HOUSTON          TX       77007
REGAN GRADKE                                                            424 S MAIN                                                                             BOERNE           TX       78006
REGENCY ENERGY PARTNERS LP                                              2001 BRYAN STSTE 3700                                                                  DALLAS           TX       75201
REGENCY EXPLORATION INC                                                 2501 TOURNAMENT CT                                                                     CASTLEROCK       CO       80108
REGGIE CROWELL                                                          4038 W ADAMS 2ND                                                                       CHICAGO          IL       60624-2752
REGIN FAMILY TRUST                                                      2251 N 32ND ST #30                                                                     MESA             AZ       85213
REGINA CARRIER                                                          6525 AVONDALE DR APT B                                                                 NICHOLS HILLS    OK       73116-6413
REGINA MAE FINCHAM                                                      1606 FRANCES SCOTT KEY HWY                                                             KEYMAR           MD       21757
REGINA ORGAN                                                            531 MARCEL DR                                                                          DENISON          TX       75020-3639
REGINA PASTORELLI                                                       9844 28TH AVE SW                                                                       SEATTLE          WA       98126-4104
REGINA TANNER                                                           1604 S AGRA RD                                                                         CUSHING          OK       74023
                                                                                                                      9211 Lake Hefner
Reginae L. Smith                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                     c/o Laminack, Pirtle & Martines,
Reginae L. Smith                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Reginae L. Smith                                                        9712 N. Nichols Rd                                                                     Oklahoma City    OK       73120
                                                                                                                      9211 Lake Hefner
Reginald D. Lewis Sr.                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                     c/o Laminack, Pirtle & Martines,
Reginald D. Lewis Sr.                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Reginald D. Lewis Sr.                                                   5031 N. Osage Dr                                                                       Tulsa            OK       74126
REGINALD DAVIS                                                          A V SANTIAGO 405 FRACC SAN LUIS                                                        SALTILLO         CO       25240        MEXICO
REI CORP                                                                PO BOX 279                                                                             CRESCENT         OK       73028


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REID J KECSEG & ANGELA M KECSEG HW                                       3724 NW 70TH ST                                                                        OKLAHOMA CITY      OK      73116
REID KELLY                                                               4440 N PAGOSA BLVD                                                                     PAGOSA SPRINGS     CO      81147
REIDPROGRAPHICS                                                          6800 N SHARTEL AVE                                                                     OKLAHOMA CITY      OK      73116-7514
REINETTE LITTELL                                                         PO BOX 1291                                                                            ROSWELL            NM      88201
REIN-HAHN MINERAL LLC                                                    1120 EAST HANKS FRAIL                                                                  WOODWARD           OK      73801
REINHARK LLC                                                             4003 YORKSHIRE DR                                                                      STILLWATER         OK      74074-1637
REKHA KUMAR                                                              701 LONGWOOD DR                                                                        ALLEN              TX      75013
RELIANCE OILFIELD SERVICES LLC                                           PO BOX 100, DEPT 901                                                                   BIXBY              OK      74008-0100
RELIANT RESOURCES LLC                                                    15 E 5TH STREET SUITE 200                                                              TULSA              OK      74103
RELIC MINERAL FUND LP                                                    PO BOX 3068                                                                            MIDLAND            TX      79702-3389
RELLIE LLC                                                               9261 INDIGO ISLE COURT APT 202                                                         BONITA SPRINGS     FL      34135
RELLON LORE                                                              13708 ESTATE CIR                                                                       MAURICE            LA      70555-3543
REMARKO LTD PARTNERSHIP                                                  PO BOX 18400                                                                           OKLAHOMA CITY      OK      73154
REMINGTON ROYALTY II LLC                                                 PO BOX 13540                                                                           OKLAHOMA CITY      OK      73113
REMINGTON ROYALTY LLC                                                    PO BOX 13540                                                                           OKLAHOMA CITY      OK      73113
REMORA PETROLEUM LP                                                      807 LAS CIMAS PARKWAY                                                                  AUSTIN             TX      78746
REMOTE DBA EXPERTS LLC (DNU)                                             2000 ERICSSON DR                                                                       WARRENDALE         PA      15086
REMOTE DBA EXPERTS, LLC                                                  2000 ERICSSON DRIVE                                                                    WARRENDALE         PA      15086
REMOTE SUPPLY COMPANY LLC                                                PO BOX 156                                                                             Medford            OK      73759
REMUDA ROYALT LLC                                                        PO BOX 471137                                                                          FORT WORTH         TX      76147
                                                                                                                       9211 Lake Hefner
Rena Benoit                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Rena Benoit                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Rena Benoit                                                              5721 NW 16th St                                                                        Oklahoma City      OK      73127
RENA FAY BODE                                                            10450 FRONTIER                                                                         PERRY              OK      73077-8849
RENA JANE MCBEE                                                          PO BOX 529                                                                             TEXHOMA            OK      73949
RENBARGER FAMILY LLC                                                     PO BOX 2027                                                                            LEXINGTON          OK      73051

RENE EGGERS & REBECCA REV TRST 2005                                      PO BOX 90                                                                              COVINGTON          OK      73730
RENE PRICHARD GREEN                                                      PO BOX 1747                                                                            GUALALA            CA      95445
                                                                                                                       9211 Lake Hefner
Rene Buss                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Rene Buss                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Rene Buss                                                                10132 Black Oaks Dr                                                                    Oklahoma City      OK      73165
RENEA JUDGE-BOTTIN                                                       3100 WHISPERING SPRING AVE                                                             SPRINGDALE         AR      72762
RENEE ANN DAUGHERTY                                                      1605 E 122ND COURT SOUTH                                                               JENKS              OK      74037
RENEE BRUNETTE                                                           14525 LAKEROAD DR                                                                      CRESCENT           OK      73028
RENEE BURNS                                                              3103 E KNIPE AVE                                                                       PERKINS            OK      74059-2300
RENEE D. MORRISON FAMILY TRUST DTD.                                      5335 WINCHESTER DR                                                                     SARASOTA           FL      34234
RENEE DAUGHERTY                                                          1605 E 122ND CT S                                                                      JENKS              OK      74037-3644
RENEE FOUNTAIN                                                           3136 NW 36TH STREET                                                                    OKLAHOMA CITY      OK      73112
RENEE HEILMANN                                                           3405 OVERTON ROAD                                                                      COOL               CA      95614
RENEE INGRAM                                                             212 S CONCHO APT A                                                                     COLEMAN            TX      78634
RENEE JOHNSON                                                            8626 ALPINE VALLEY DR                                                                  COLORADO SPRINGS   CO      80920
RENEE JONES                                                              8516 NW 70TH STREET                                                                    OKLAHOMA CITY      OK      73132
RENEE MARIE MARTIN                                                       6514 WEST AVE L-7                                                                      LANCASTER          CA      93536
RENEE MILLS                                                              1604 S AGRA RD                                                                         CUSHING            OK      74023
RENEE WALKER                                                             481 WATER TOWER LOOP                                                                   LACYS SPRING       AL      35754
RENEE YOUNGER                                                            25214 N 40TH AVE                                                                       PHOENIX            AZ      85083
RENEFRED STUBBLEFIELD                                                    9400 E ILIFF AVE, APT 212                                                              DENVER             CO      80231-3487
RENT-A-CRANE OF OKLAHOMA                                                 PO Box 553                                                                             WHEATLAND          OK      73097
RENTAL XPRESS LLC                                                        4500 WILLIAMS DR STE 212 # 413                                                         GEORGETOWN         TX      78633-1329
REOLA M HOLDAWAY                                                         2422 N RIVERLAWN DR                                                                    WICHITA            KS      67204
REP ENTERPRISES LLC                                                      PO BOX 332                                                                             BARTLESVILLE       OK      74005-0332
REPSOL E&P USA INC                                                       2455 TECHNOLOGY FOREST BLVD                                                            THE WOODLANDS      TX      77381
REPUBLIC HOLDING INC                                                     PO BOX 968                                                                             FORT SMITH         AR      72902
REPUBLIC SERVICES OF STILLWATER                                          PO BOX 78829                                                                           PHOENIX            AZ      85062-8829


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Republic Services of Stillwater                                          303 East Newman Avenue                                                                 Stillwater           OK      74075
RESEARCH TAX CONSULTANTS, LTD.                                           PO BOX 1787                                                                            GEORGETOWN           TX      78627-1787
RESERVE PETROLEUM CO                                                     6801 N. BROADWAY                                                                       OKLAHOMA CITY        OK      73116-4883
RESID TR A & B U/W/O DAVID S DYCUS                                       114 BRIARWOOD ST                                                                       MOORE                OK      73160-4710
RESISTOL SERVICES LLC                                                    PO BOX 203855                                                                          DALLAS               TX      75320-3855
                                      Blake Branham, Chief Financial
Resistol Services LLC                 Officer                            121 Oilfield Drive                                                                     Elk City             OK      73644
RESOURCE DEVELOPMENT INC                                                 1804 NW 18TH STREET                                                                    OKLAHOMA CITY        OK      73106-1817

RESTRUCTURING PARTNERS & ASSOCIATES                                      45 EISENHOWER DRIVE, STE 560                                                           PARAMUS              NJ      07652
RETA BOYLE                                                               5505 W 19TH AVE APP 152                                                                STILLWATER           OK      74074-1323
RETA CAROL MILLER                                                        47500 SOUTH COUNTY ROAD 206                                                            SHARON               OK      73857
RETROACTIVE LLC                                                          6916 LAKEPOINTE DR                                                                     OKLAHOMA CITY        OK      73116
RETTA GORE                                                               915 NELSON                                                                             BORGER               TX      79007
RETTA JO KUNARD SUPP NEEDS                                               10260 Highway 177 North                                                                Shawnee              OK      74804
REV INTER VIVOS TR OF BILL J HORNE                                       PO BOX 1543                                                                            ADA                  OK      74821
REV INTER VIVOS TR OF PAULINE POE                                        9300 W 6TH AVE                                                                         STILLWATER           OK      74074
REV INTER VIVOS TRST OF GLENDA MCFA                                      3807 TIMBERLINE DRIVE                                                                  STILLWATER           OK      74074
REV LIV TR OF FRANCES JANE MARKSTEI                                      58 FOREST AVE                                                                          WYOMING              OH      48515
REVA JOYCE LAUGHLIN TRUSTEE                                              PO BOX 1304                                                                            STILLWATER           OK      74076-1304
REVAH M LONG ESTATE DECD                                                 416 N 8TH ST                                                                           ARKANSAS CITY        KS      67005

REVELLE L MILLIGAN                                                       14757 CRAZY HORSE LANE                                                                 PALM BEACH GARDENS   FL      33418-7972
REVENEW INTERNATIONAL LLC                                                9 GREENWAY PLAZA STE 1950                                                              HOUSTON              TX      77046-0951
REVILO EXPLORATION INC                                                   1712 COSA LOMA                                                                         PLANO                TX      75074
REVIVAL WORSHIP CENTER                                                   625 TERRACE LAWN DR                                                                    OKLAHOMA CITY        OK      73102
REVROCKS LLC                                                             PO BOX 4038                                                                            SANTA FE             NM      87502
REX AUSTELL                                                              16410 E MCELROY                                                                        YALE                 OK      74085-6684
REX BEAL                                                                 412 E ARCADE                                                                           STOCKTON             CA      95204
REX BLASIER                                                              4202 WATERWOOD DR                                                                      BAYTOWN              TX      77521
REX BROWN                                                                3223 S GREEN VALLEY DR                                                                 STILLWATER           OK      74074-7028
REX E & DOVIE F EDGAR REV TRUST                                          10625 E 74TH ST                                                                        TULSA                OK      74133
REX ELLIOT GATES LE                                                      PO BOX 1195                                                                            JENKS                OK      74037
REX FALCONER                                                             PO BOX 2453                                                                            PORT ARANSAS         TX      78373
REX HILTON                                                               2015 ESSEX LN                                                                          COLORADO SPRINGS     CO      80909-1423
REX HOLLAND                                                              3209 W CHARLESTON CT                                                                   STILLWATER           OK      74074
REX MACKEY                                                               325 S 1ST ST                                                                           GEUDA SPRINGS        KS      67051-8012
REX MEINECKE                                                             531 7TH PLACE                                                                          VERO BEACH           FL      32962
REX ROMHILD                                                              PO BOX 522                                                                             HIGH ROLLS           NM      88325
REX TIPTON                                                               509 W 29TH AVE                                                                         STILLWATER           OK      74074-6922
REXEL INC                                                                14951 DALLAS PKWY #100                                                                 DALLAS               TX      75254-7892
REXWOOD CORP                                                             119 N ROBINSON                                                                         OKLAHOMA CITY        OK      73102
REYNALDO GONZALES                                                        4600 OCEAN DR APT 302                                                                  CORPUS CHRISTI       TX      78412-2542
REYNALDO RAMIREZ                                                         8522 CAPE ROYAL DR                                                                     CYPRESS              TX      77433
REYNOLDS FAMILY TRUST                                                    5202 DEER RUN CT                                                                       STILLWATER           OK      74074-1302
REYNOLDS FORD OF EDMOND                                                  4301 W. MEMORIAL RD                                                                    EDMOND               OK      73134
REYNOLDS PETROLEUM COMPANY                                               3029 BUCHANAN                                                                          SAN FRANCISCO        CA      94123
                                                                                                                       9211 Lake Hefner
Reza Khorsandnia                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Reza Khorsandnia                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Reza Khorsandnia                                                         1300 Timberlake Circle                                                                 Edmond               OK      73034
REZIN HUDKINS                                                            PO BOX 267                                                                             MARSHALL             OK      73056
RF HOLCOMB                                                               12047 S HWY 59                                                                         LINCOLN              AR      72744
RF NELSON JR TRUST                                                       110 RIDGE RD                                                                           KERRVILLE            TX      78028
RF-IP INC                                                                PO BOX 21474                                                                           OKLAHOMA CITY        OK      73156-1474
RGO VENTURES LLC                                                         3141 E 91ST PLACE                                                                      TULSA                OK      74137
RHB INC                                                                  6608 N WESTERN AVE PMB 432                                                             OKLAHOMA CITY        OK      73116
RHDK OIL & GAS LLC                                                       3596 STATE ROUTE 39 NW                                                                 DOVER                OH      44622-7232


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RHEA MCVEY                                                                        2S513 CREE CT                                                                          WHEATON         IL       60189
RHEAGAN ERIC MARTIN                                                               43055 80TH STREET WEST                                                                 LANCASTER       CA       93536
RHEANNA COMBS                                                                     412 WINDING LN                                                                         EDMOND          OK       73003-5128
RHETA ARNETT                                                                      522 BUTTE RD                                                                           EDMOND          OK       73025
RHETT SMITH AND CONNIE LYNN SMITH                                                 PO BOX 176                                                                             TALOGA          OK       73667
Rhode Island Office of the General Treasurer   Unclaimed Property Division        50 Service Ave                                                                         Warwick         RI       02886
RHODORA E ALLEN                                                                   PO BOX 270752                                                                          OKLAHOMA CITY   OK       73137
RHONDA FOOTE                                                                      15909 E VFW ROAD                                                                       GLENCOE         OK       74032
RHONDA G BRYANS TR 7-3-1990                                                       3333 E FLORIDA #111                                                                    DENVER          CO       80210
                                                                                                                                9211 Lake Hefner
Rhonda Gray                                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                               c/o Laminack, Pirtle & Martines,
Rhonda Gray                                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Rhonda Gray                                                                       437 S 70th East Ave                                                                    Tulsa           OK       74112
RHONDA HAKEN                                                                      9815 N BETHEL RD                                                                       GLENCOE         OK       74032
RHONDA HARRELL                                                                    1657 HILLCREST DR                                                                      WOODWARD        OK       73801-4343
RHONDA HEMPHILL                                                                   PO BOX 1362                                                                            BISHOP          CA       93515-1362
RHONDA JEAN MONTEZ                                                                1921 HIGH DR                                                                           LIBERTY         MO       64068
RHONDA KAUK                                                                       3408 96TH STREET                                                                       LUBBOCK         TX       79423
RHONDA KAYE HANYKA                                                                196 EDELWEISS DR                                                                       WINTER HAVEN    FL       33881
RHONDA LYNN FOWLER                                                                12350 E 440 RD                                                                         CLARMORE        OK       74017-0639
                                                                                                                                9211 Lake Hefner
Rhonda Lynn McCracken                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                               c/o Laminack, Pirtle & Martines,
Rhonda Lynn McCracken                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Rhonda Lynn McCracken                                                             812 N Wentz St                                                                         Guthrie         OK       73034
RHONDA MCCLURE                                                                    4000 CRESENT VALLEY CIR                                                                DENISON         TX       75020-3728
RHONDA MEYER                                                                      19400 COUNTY RD 110                                                                    PERRY           OK       73077
                                                                                                                                9211 Lake Hefner
Rhonda Millarr                                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                               c/o Laminack, Pirtle & Martines,
Rhonda Millarr                                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Rhonda Millarr                                                                    13146 N. 131st East Ave                                                                Collinsville    OK       74021
RHONDA RAINS HERRON                                                               1000 CROCKETT ST APT A                                                                 LOCKHART        TX       78644-3292
RHONDA RINGER-RILEY                                                               5136 N DUNCAN ST                                                                       STILLWATER      OK       74075-1615
RHONDA SCHOEPPEL                                                                  PO BOX 190                                                                             FAIRVIEW        OK       73737
RHONDA SHAFER                                                                     PO BOX 31                                                                              MULHALL         OK       73063
RHONDA SHAILAINN                                                                  1435 NW 99                                                                             OKLAHOMA CITY   OK       73114
RHONDA VINCENT                                                                    19 VINCENT WAY                                                                         SOMERSWORTH     NH       03878-1633
RHONDA WESTON                                                                     25848 STATE HWY BB                                                                     WARSAW          MO       65355
RHONDA WOJCIK                                                                     PO BOX 52                                                                              MORRISON        OK       73061
RHR SERVICES                                                                      PO BOX 1485                                                                            ANADARKO        OK       73005
RHYAN BOWER                                                                       299 Easy St                                                                            Branson         MO       65616
RIB CRIB BBQ                                                                      103 SOUTH PERKINS ROAD                                                                 STILLWATER      OK       73130
RICE DRILLING D LLC                                                               400 WOODCLIFF DR                                                                       CANONSBURG      PA       15317-5851
RICE FAMILY LLC                                                                   PO BOX 1348                                                                            DUNCAN          OK       73534
Rice, Christopher                              c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK       73116
RICHARD                                                                           6404 S RIPLEY RD                                                                       RIPLEY          OK       74062-6233
                                                                                                                                9211 Lake Hefner
Richard Salter Jr.                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                               c/o Laminack, Pirtle & Martines,
Richard Salter Jr.                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Richard Salter Jr.                                                                3600 Winding Lake Circle                                                               Arcadia         OK       73007
RICHARD & JAROL LEGATE TRUST                                                      301 E 16TH ST                                                                          CLAREMORE       OK       74017-3105
RICHARD & PHYLLIS MILLER FAMLY TR D                                               621 MEADOW ROCK TRAIL                                                                  EDMOND          OK       73034

RICHARD A MULLIGAN                                                                5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX       75070
RICHARD A YOSS TRUST ACCOUNT                                                      122 N MAIN ST                                                                          WOODSFIELD      OH       43793



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                                                                                                                       9211 Lake Hefner
Richard A. Harris                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Richard A. Harris                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Richard A. Harris                                                        17402 W 32nd St                                                                         Sand Springs     OK      74063
                                                                                                                       9211 Lake Hefner
Richard A. Benoit Sr.                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Richard A. Benoit Sr.                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Richard A. Benoit Sr.                                                    5721 NW 16th St                                                                         Oklahoma City    OK      73127
RICHARD ABBOTT                                                           558 RIDGE RD                                                                            WINDSOR          ME      04363
RICHARD ALLEN                                                            PO BOX 33                                                                               KINGFISHER       OK      73750
RICHARD ALLEN & SHARON D BENNETT                                         2223 WEST 24TH STREET                                                                   STILLWATER       OK      74074
RICHARD AND BETTY L FAGAN                                                1702 N REDLANDS RD                                                                      STILLWATER       OK      74075-1924
RICHARD AND LENA MALONE                                                  2602 NORTH 28TH                                                                         BOISE            ID      83702
RICHARD AND R LOIS SQUIRES                                               ROUTE 2                                                                                 TALOGA           OK      73667
RICHARD AND SHELIA BURTON HW JT                                          6402 E 92ND                                                                             STILLWATER       OK      74074
RICHARD AND VICKI DODD JT                                                1310 W ARIES RD                                                                         EDMOND           OK      73003-5824
RICHARD ANTHIS                                                           1816 COUNTY LOOP RD                                                                     SAGINAW          TX      76179
RICHARD AUSTIN                                                           2030 GREENBRIER ST                                                                      DENISON          TX      75028
Richard Badgwell                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Richard Badgwell                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Richard Badgwell                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Richard Badgwell                                                         55786 S. 363640 Rd                                                                      Terlton          OK      74081
RICHARD BAGWELL                                                          4606 EAST 67TH ST STE 313                                                               TULSA            OK      74136-4950
RICHARD BALDWIN                                                          11012 E MCELROY RD                                                                      STILLWATER       OK      74075

RICHARD BALFANZ AND CHARLA D BALFAN                                      490 HALEY LN                                                                            STILLWATER       OK      74074
RICHARD BARTHOLOME                                                       2386 VIA DEL AGUACATE                                                                   FALLBROOK        CA      92028
RICHARD BARTO MONCRIEF 88 TRUST                                          777 TAYLOR ST STE 1030                                                                  FORT WORTH       TX      76102
RICHARD BARTO MONCRIEF JR TRUST                                          777 TAYLOR STREET # 1030                                                                FORT WORTH       TX      76102
RICHARD BENNETT                                                          41255 POND VIEW DRIVE #171                                                              STERLING         MI      48314
RICHARD BERRY                                                            7744 MULLRANY DRIVE                                                                     DALLAS           TX      75248
RICHARD BLAZI                                                            18208 EASY ST                                                                           JONESTOWN        TX      78645
RICHARD BOYNTON                                                          10952 SE VIEW PL S                                                                      PORT ORCHARD     WA      98367
RICHARD BROWN                                                            4880 S LEWIS AVE STE 200                                                                TULSA            OK      74105
RICHARD BROWN                                                            95875 S 4545 CIR.                                                                       VIAN             OK      74962
RICHARD BRUCE HOELTZEL REV TR                                            1925 S 42ND ST                                                                          ENID             OK      73701
RICHARD BRYAN                                                            PO BOX 722                                                                              DOVE CREEK       CO      81324-0722
RICHARD BRYAN                                                            3207 S YORKTOWN AVE                                                                     TULSA            OK      74105-2230
RICHARD BUCK                                                             22582 LARAS LN                                                                          EDMOND           OK      73025-2020
RICHARD BURTCH                                                           7301 N 31ST DR                                                                          PHOENIX          AZ      85051
RICHARD BUSH                                                             7 BUCKMAN DR                                                                            WINCHESTER       MA      01890-2203
RICHARD BUTZLER                                                          220 S BRUSH CREEK RD                                                                    STILLWATER       OK      74074
RICHARD C ROSS REVOCABLE TRUST                                           PO BOX 30732                                                                            PHOENIX          AZ      85046
                                                                                                                       9211 Lake Hefner
Richard C. Dunaway                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Richard C. Dunaway                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Richard C. Dunaway                                                       1024 W Graham Ave                                                                       Stillwater       OK      74075
RICHARD CAHN                                                             PO BOX 52005                                                                            NEW ORLEANS      LA      70152
                                                                                                                       9211 Lake Hefner
Richard Campbell                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
Richard Campbell                      c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles      CA      90017
Richard Campbell                                                         5917 SE Morgan Dr                                                                       Guthrie          OK      73044
RICHARD CASEY                                                            12400 CHISHOLM                                                                          PERRY            OK      73077
RICHARD CAVETT                                                           1016 PAWNEE BILL RD                                                                     PAWNEE           OK      74058
RICHARD CHILTON LABARTHE                                                 2207 N.W. 48TH STREET                                                                   OKLAHOMA CITY    OK      73112
RICHARD CHOATE                                                           702 N 9TH                                                                               ENID             OK      73701


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RICHARD CLAY                                                             343792 E 750 RD                                                                        AGRA               OK      74824-6308
RICHARD CLOUD                                                            731 S INDEPENDENCE PL                                                                  CUSHING            OK      74023
RICHARD COCKRELL                                                         212 N STEPHEN ST                                                                       PONCA CITY         OK      74601
RICHARD COHEN                                                            3729 VAQUERO CIRCLE SOUTH                                                              COLORADO SPRINGS   CO      80918
RICHARD COLLINS                                                          14270 N. 44TH WEST AVENUE                                                              SKIAHOOK           OK      74070-5314
RICHARD CORSTVET                                                         33 S EASY ST                                                                           EDMOND             OK      73012
RICHARD COSTELLO                                                         4 OLD CONVENTRY LANE                                                                   BEDFORD            NH      03110
RICHARD CRAFT                                                            509 NW 149TH ST                                                                        EDMOND             OK      73013
RICHARD CUMMINS                                                          808 IMPERIAL                                                                           CORSICANA          TX      75110
RICHARD CURTIS                                                           2900 TEAKWOOD CIR                                                                      PLANO              TX      75075
RICHARD D BEEBY FAMILY TR                                                2206 S 83RD E AVE                                                                      TULSA              OK      74129
RICHARD D DAVISON                                                        3115 TWIN OAKS ROAD                                                                    CAMERON PARK       CA      95682
RICHARD D VEAL 1997 REV TR                                               PO BOX 6900                                                                            EDMOND             OK      73083
RICHARD DAVIS                                                            953 HAMPSHIRE HEATH DR                                                                 DARDENNE PRAIRIE   MO      63368
RICHARD DAVIS POTTER                                                     711 2ND AVE                                                                            ALTOONA            PA      16602
RICHARD DAVISON                                                          PO BOX 73                                                                              ALEPPO             PA      15310-0073
RICHARD DEMOREST                                                         3260 GARRETSON CR                                                                      CORONA             CA      92881
RICHARD DICKS                                                            5467 CAREW ST                                                                          HOUSTON            TX      77096
RICHARD DISHMAN                                                          3827 CANOT LN                                                                          ADDISON            TX      75001
                                                                                                                       9211 Lake Hefner
Richard Dixon                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Richard Dixon                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Richard Dixon                                                            2516 W. Broadway St                                                                    Broken Arrow       OK      74012
RICHARD DOWNEY                                                           9020 W 140TH ST                                                                        COYLE              OK      73027-3304
RICHARD DREESSEN                                                         5000 E COOKSEY RD                                                                      GUTHRIE            OK      73044
RICHARD DRUSE                                                            PO BOX 2097                                                                            ENID               OK      73702
RICHARD DUNAWAY                                                          1024 W GRAHAM AVE                                                                      STILLWATER         OK      74075-2703
RICHARD DUNFORD                                                          707 NOBLE                                                                              PERRY              OK      73077
RICHARD E & KIMBERLY R MILLER                                            PO Box 2640                                                                            MIDLAND            TX      79702

RICHARD E KERR                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
RICHARD E MONTGOMERY & PATRICIA A M                                      5125 BEALS DR                                                                          EL PASO            TX      79924
RICHARD E ROBERTS TR DTD 11-30-99                                        3517 LAKESHORE DR                                                                      ENID               OK      73703
RICHARD E. JOHNSON & RAYGE JOHNSON                                       1108 Caddell Lane                                                                      Norman             OK      73069
RICHARD EASTERLY                                                         1200 COOPER ROCK DR                                                                    EDMOND             OK      73025
RICHARD EDGINGTON                                                        39092 STATE ROUTE 26                                                                   GRAYSVILLE         OH      45734
RICHARD EDMONSON                                                         7009 GREENSHORES DR                                                                    AUSTIN             TX      78730
RICHARD ERNST                                                            PO BOX 86                                                                              AGRA               OK      74824-0086
RICHARD ERVING BARNES                                                    623 S CHESTNUT ST                                                                      NAMPA              ID      83686
RICHARD EVEN WAGNER                                                      509 TERRACE PL                                                                         NORMAN             OK      73069
RICHARD EXPLORATION CO INC                                               4141 NW EXPRESSWAY 201                                                                 OKLAHOMA CITY      OK      73116
RICHARD FASSNACHT                                                        13102 FRONTIER                                                                         PERRY              OK      73077
RICHARD FIORE                                                            4248 LAW STREET                                                                        HOUSTON            TX      77005-1036
RICHARD FISHER                                                           4340 S ATLANTA PL                                                                      TULSA              OK      74105-4342
RICHARD FLEENOR                                                          PO BOX 3049                                                                            ENGLEWOOD          CO      80155
RICHARD FLOTT                                                            11112 AMESITE TRL                                                                      AUSTIN             TX      78726
RICHARD FOX                                                              71 CALLE ARAGON UNIT A                                                                 LAGUNA WOODS       CA      92637-6914
RICHARD FULLER                                                           3459 KATES BAY HWY                                                                     CONWAY             SC      29527
RICHARD G HANSEN                                                         PO BOX 751837                                                                          LAS VEGAS          NV      89136
RICHARD G JONES INC                                                      3371 KNICKERBOCKER RD SUITE 233                                                        SAN ANGELO         TX      76904
RICHARD GOFORTH                                                          3202 EAST 104TH STREET                                                                 PERKINS            OK      74059
RICHARD GOLDEN                                                           914 CONSTANCE DR                                                                       HOUSTON            TX      77024-2600
RICHARD GOOCH                                                            416 S LEWIS ST                                                                         MULHALL            OK      73063
RICHARD GORE BELISLE                                                     PO Box 151                                                                             ALTMAR             NY      13302
RICHARD GRAHAM                                                           1102 2nd St.                                                                           Alva               OK      73717
RICHARD GREENE                                                           PO BOX 763                                                                             PERRY              OK      73077
RICHARD GUALCO                                                           719 CHANTRY STREET                                                                     PERKINS            OK      74059
RICHARD H. LUTZ LIVING TRUST                                             3009 BERKSHIRE WAY                                                                     OKLAHOMA CITY      OK      73120


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              CreditorName            CreditorNoticeName                  Address1                     Address2        Address3            City         State       Zip      Country
RICHARD HARLOW                                             6814 E LAKEVIEW RD                                                     STILLWATER            OK      74075
RICHARD HOELTZEL                                           1925 S 42ND ST                                                         ENID                  OK      73701
RICHARD HOFFMAN                                            4618 N CLASSEN BLVD                                                    OKLAHOMA CITY         OK      73118
RICHARD HOPPER                                             875 CEMETERY RD                                                        DECATUR               TX      76234-6586
RICHARD HOY                                                155 DIAMONDHEAD DR                                                     BURNEYVILLE           OK      73430
RICHARD I ALVAREZ                                          68 S SERVICE RD STE 100                                                MELVILLE              NY      11747-2350
RICHARD J KLEMP                                            PO BOX 158                                                             MARSHALL              OK      73056-0158
RICHARD J MONCRIEF GRANTOR'S TRUST                         PO BOX 121098                                                          FORT WORTH            TX      76121

RICHARD J TAUBMAN DESCENDANTS TRUST                        PO Box 1588                                                            TULSA                 OK      74101-1588
RICHARD J TAUBMAN TRUST                                    PO BOX 1588                                                            TULSA                 OK      74101-1588
RICHARD J.                                                 139 DEERSLAYER DRIVE                                                   LOST CREEK            WV      26385
RICHARD J. HUDKINS                                         139 DEERSLAYER DRIVE                                                   LOST CREEK            WV      26385
RICHARD JACK                                               PO BOX 11                                                              ORLANDO               OK      73073

RICHARD JACKSON AND KAREN L JACKSON                        4819 E HALEY LN                                                        STILLWATER            OK      74074
RICHARD JENKINS                                            12 LENO LANE                                                           HOT SPRINGS VILLAGE   AR      71909
RICHARD JENNINGS                                           15019 SUN HARBOR DR                                                    HOUSTON               TX      77062-2829
RICHARD JOHN                                               8708 Terrell Drive                                                     N. Richland Hills     TX      76182
RICHARD JOHNSON                                            518 N 5TH AVE                                                          BOZEMAN               MT      59715-3420
RICHARD JOLENE HAVEN JT                                    3009 S RIPLEY RD                                                       RIPLEY                OK      74062-6245
RICHARD JONES                                              2663 RITNER HWY                                                        CARLISLE              PA      17015
RICHARD JONES                                              2514 HWY 77 S                                                          DAVIS                 OK      73030
RICHARD K BOOKS                                            211 N ROBINSON AVE STE 1300                                            OKLAHOMA CITY         OK      73102-7222

RICHARD K MAGEE                                            5900 SOUTH LAKE FOREST DR STE 300                                      MCKINNEY              TX      75070
RICHARD K POWELL REVOCABLE TRUST                           5615 W GARDEN POINTE DR                                                STILLWATER            OK      74074-1002
RICHARD K SEWELL REV TR                                    212 HANOVER DRIVE                                                      EDMOND                OK      73034
RICHARD KEITH DIXON                                        6719 E. 6TH STREET                                                     TULSA                 OK      74112
RICHARD KIMBALL                                            44 FOUNTAINHEAD DR, #102                                               WESTMONT              IL      60559-2415
RICHARD KIRK                                               6404 S RIPLEY RD                                                       RIPLEY                OK      74062
RICHARD KNOX                                               4752 E 114TH                                                           TULSA                 OK      74137
RICHARD KOEHLER                                            PO BOX 339                                                             TIOGA                 ND      58852-0339
RICHARD L & JANET M THOMPSON JT                            19520 DANFORTH FARMS BLVD                                              EDMOND                OK      73012
RICHARD L DAGGETT                                          5350 W 52ND AVEAPT 109 W                                               DENVER                CO      80212
RICHARD L MCKNIGHT                                         PO BOX 82                                                              ENID                  OK      73702
RICHARD L MILLIGAN                                         5159 ARBUTUS ST                                                        ARVADA                CO      80002
RICHARD LAMB                                               240 SAGE DR                                                            STERLING              CO      80751
RICHARD LAMBERT                                            278 CAMDEN DRIVE                                                       ANGIER                NC      27501
RICHARD LAMBERT                                            1508 PARKWAY DR                                                        BURLINGTON            IA      52601
RICHARD LANGSTON                                           3909 W 105TH PL S                                                      JENKS                 OK      74037-1924
RICHARD LEE                                                110 BLUE STAR                                                          SAN ANTONIO           TX      78204
RICHARD LEE HANNEMAN                                       2406 EAST FAIRFIELD CT                                                 OOLOGAH               OK      74053
RICHARD LEE ZIMMERMAN                                      601 RIDGEFIELDS RD                                                     KINGSPORT             TN      37660
RICHARD LEMARR                                             3101 NW 23RD ST                                                        OKLAHOMA CITY         OK      73107-1901
RICHARD LEMASTERS                                          630 PEACHTREE PL                                                       LOVELAND              CO      80538
RICHARD LEROY PROUTEY SR                                   601 4TH ST                                                             RIPLEY                OK      74062-6460
RICHARD LUCAS                                              630 SHADYWOOD RD                                                       HOUSTON               TX      77057-1440
RICHARD LUCAS                                              PO BOX 270445                                                          HOUSTON               TX      77277-0445
RICHARD LYNN & JO ANN BINGHAM TRUST                        4106 E 31ST CT                                                         TULSA                 OK      74135-1738
RICHARD LYNN ANTHIS ESTATE                                 1816 COUNTY LOOP ROAD                                                  SAGINAW               TX      76179
RICHARD LYNN ANTHIS II                                     1816 COUNTY LOOP RD                                                    SAGINAW               TX      76179
RICHARD M HALL & ASSOCIATES                                PO BOX 14625                                                           OKLAHOMA CITY         OK      73113-0625
RICHARD M. CAVANAUGH JR. IRR TR                            PO BOX 20787                                                           OKLAHOMA CITY         OK      73156
RICHARD MCKINSTRY                                          12904 BETH CT                                                          OKLAHOMA CITY         OK      73120-1760
RICHARD MILSTEN                                            545 WHITE PELICAN CIRCLE                                               ORCHID                OK      32963
RICHARD MINTER                                             ROUTE 3, BOX 38A                                                       LANCASTER             MO      63548-9026
RICHARD MOORE                                              1616 COLONY LN                                                         ZACHARY               LA      70791
RICHARD MORING                                             16024 HOFACKER LN                                                      LOWER LAKE            CA      95457


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              CreditorName                  CreditorNoticeName                         Address1                             Address2                 Address3             City     State       Zip      Country
RICHARD MORRIS                                                           23579 CAMP 15 RD                                                                       RAPID CITY         SD      57702-6549
RICHARD MUNN                                                             512 N WILDWOOD ACRES CIR                                                               STILLWATER         OK      74075
RICHARD NEALY                                                            1524 NW WASHINGTON BLVD                                                                GRANTS PASS        OR      97527
RICHARD NELSON                                                           13129 PAGE RD NW                                                                       SILVERDALE         WA      98383-9714
RICHARD NEWKIRK                                                          3168 NW EXPRESSWAY APT 365                                                             OKLAHOMA CITY      OK      73112-4144
RICHARD NOSSAMAN                                                         15406 SE 29TH ST                                                                       CHOCTAW            OK      73020
RICHARD ODOM IRA                                                         3015 MARY ST                                                                           ALEXANDRIA         LA      71301
RICHARD OVERHOLT                                                         3220 W CHARLESTON CT                                                                   STILLWATER         OK      74074-6960
RICHARD OWSLEY                                                           PO Box 2395                                                                            MCKINLEYVILLE      CA      75519
RICHARD PARKER                                                           1902 CAMP 10 RD                                                                        ELMIRA             MI      49730-9768
RICHARD PAUL CRAIG                                                       501 TERRAPIN COVE                                                                      KILEEN             TX      76542
RICHARD PRATZ                                                            2021 W NOBLE RD                                                                        STILLWATER         OK      74075
RICHARD R HUDSON                                                         1485 CHARLIE CIR                                                                       WICHITA FALLS      TX      76305
RICHARD R MCCONKAY REV TRUST                                             732 S QUEBEC AVE                                                                       TULSA              OK      74112
RICHARD R TOZZI AND BRENDA L TOZZI                                       10712 BEAGLE RUN PLACE                                                                 TAMPA              FL      33626
RICHARD RAINS                                                            7600 S SANGRE RD                                                                       STILLWATER         OK      74074-8122
RICHARD RANDALL                                                          PO BOX 150                                                                             PERRY              OK      73077
RICHARD RAUPE                                                            PO BOX 607                                                                             OKARCHE            OK      73762
RICHARD REAVES                                                           1805 SUNRISE ST                                                                        BILLINGS           MT      59101
RICHARD REED                                                             25855 FENDA WAY                                                                        VALENCIA           CA      91355-1922
RICHARD RENTFRO                                                          10040 SW HEDGES CT                                                                     TUALATIN           OR      97062
RICHARD REYNOLDS                                                         PO BOX 321                                                                             PERKINS            OK      74059-0321
RICHARD RINGWALD                                                         3010 CAROLYN CT                                                                        BEDFORD            TX      76021
RICHARD ROACH                                                            404 PRIVATE DR                                                                         STILLWATER         OK      74075
                                                                                                                       9211 Lake Hefner
Richard Runowski                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
Richard Runowski                      c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles        CA      90017
Richard Runowski                                                         528 S Cleveland                                                                        Cushing            OK      74023
RICHARD S LANGSTON                                                       9915 S BRADEN AVE                                                                      TULSA              OK      74137
                                                                                                                       9211 Lake Hefner
Richard S Vanheel                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Richard S Vanheel                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Richard S Vanheel                                                        4408 S. Ironwood Ave                                                                   Broken Arrow       OK      74011
                                                                                                                       9211 Lake Hefner
Richard S. Matthews                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Richard S. Matthews                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Richard S. Matthews                                                      322 E. Main                                                                            Stroud             OK      74079
RICHARD SACCARO                                                          343 E CARL ALBERT PKWY                                                                 MCALESTER          OK      74501-5043
RICHARD SANDERSON                                                        919 SWAN DR                                                                            BULLHEAD CITY      AZ      86442
RICHARD SCHAFROTH                                                        PO BOX 68                                                                              CALHAN             CO      80808-0068
RICHARD SCHOELING                                                        9513 S 150TH ST                                                                        DOUGLAS            OK      73733-1087
RICHARD SCHUBERT                                                         7351 N COUNCIL RD                                                                      CRESCENT           OK      73028
RICHARD SEABOCH                                                          416 OLDE MULBERRY TRAIL                                                                GERMANTOWN HILLS   IL      61548
RICHARD SHELTON                                                          7008 SELWAY ST                                                                         BOISE              ID      83704
RICHARD SHORT                                                            2130 MOUNTAIN DR                                                                       BARTLESVILLE       OK      74029
RICHARD SHORT                                                            PO BOX 16                                                                              MORRISON           OK      73061
RICHARD SIMS                                                             23527 SE 299TH                                                                         BLACK DIAMOND      WA      98010
RICHARD SNIDER                                                           16700 DORCHESTER PL                                                                    UPPER MARLBORO     MD      20772-3449
RICHARD SPALDING                                                         1850 ELMWOOD DRIVE                                                                     ABILENE            TX      79605
RICHARD SPESS                                                            400 W CADDO ST                                                                         CLEVELAND          OK      74020-5213
RICHARD SULLIVAN                                                         11919 W 56TH                                                                           STILLWATER         OK      74074
RICHARD SWEARINGEN                                                       1002 ASHLAND DR                                                                        FORNEY             TX      75126
RICHARD SWIM                                                             3245 WESTDALE CT                                                                       WALDOF             MD      20601
RICHARD T SMITH & JEAN W SMITH TRUS                                      5000 SW. 25TH BLVD., UNIT 4105                                                         GAINSVILLE         FL      32608-8901
RICHARD TAFF                                                             2323 S MORGAN AVE                                                                      GRANBURY           TX      76048
RICHARD TARPEY                                                           10501 HIGHWAY 177                                                                      SHAWNEE            OK      74804-9022
RICHARD TAYRIEN                                                          1106 CEDARVIEW LN                                                                      FRANKLIN           TN      37067


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RICHARD TERREL                                                           12910 GUNSMOKE                                                                         PERRY           OK      73077
RICHARD THIELE                                                           PO BOX 473                                                                             IVORYTON        CT      06442
RICHARD TIEHEN REV TRUST                                                 3500 S BOULEVARD STE D3                                                                EDMOND          OK      73013
RICHARD TIEHEN REV TRUST                                                 11900 N MACARTHUR BLVD SUITE E1                                                        OKLAHOMA CITY   OK      73162
RICHARD TRIPLETT                                                         6236 DIXIE RD                                                                          MILTON          FL      32570
RICHARD TRUEHEART                                                        3810 KATY HOCKLEY RD                                                                   KATY            TX      77493
RICHARD W & CRYSTAL L GRIGGS HWJT                                        20250 HARVEST                                                                          STILLWATER      OK      74075
RICHARD W MONCRIEF 1988 TRUST                                            950 COMMERCE STREET                                                                    FORT WORTH      TX      76102-5418
RICHARD W ORSAK                                                          201 RANCH RD                                                                           HOUSTON         TX      77063
RICHARD WALTER ADAMEK ESTATE                                             14919 SE 183RD ST                                                                      RENTON          WA      98058
RICHARD WATTS                                                            416 SOUTH MASSACHUSETTS ST                                                             WINFIELD        KS      67156
RICHARD WEBSTER                                                          257 SAGUARO PL                                                                         OCEANSIDE       CA      92057-5422
RICHARD WELLS                                                            4711 ELLICOTT WAY                                                                      RENO            NV      89519-0916
RICHARD WHITESIDE                                                        5418 SUMMERFIELD LN                                                                    SPRING          TX      77379-7967
RICHARD Y WORSHAM REV TR DTD 10-31-                                      7122 S SHERIDAN RD STE 2-124                                                           TULSA           OK      74133
RICHARD ZIMMERMAN AND KATHLEEN L B                                       4515 BROOKRIDGE DR                                                                     KINGSPORT       TN      37660
                                                                                                                       9211 Lake Hefner
Richard Fuller                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Richard Fuller                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Richard Fuller                                                           8441 Dilip Drive                                                                       Guthrie         OK      73034
                                                                                                                       9211 Lake Hefner
Richard Haskell                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Richard Haskell                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Richard Haskell                                                          19516 Newsom Rd                                                                        Newalla         OK      74857
                                                                                                                       9211 Lake Hefner
Richene C. Macon                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Richene C. Macon                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Richene C. Macon                                                         2044 N. Triple X Rd                                                                    Choctaw         OK      73020
RICHEY RESOURCES LLC                                                     PO BOX 1056                                                                            CHICKASHA       OK      73023-1056
RICK BECK                                                                2845 E FAIRMONT AVE                                                                    PHOENIX         AZ      85016
RICK CARUTHERS CONSTRUCTION INC                                          PO BOX 268                                                                             CHEROKEE        OK      73728
RICK CORNWELL                                                            719 GATEWOOD AVE                                                                       HIGH POINT      NC      27260
RICK DECD                                                                RR 4 BOX 153                                                                           STILLWATER      OK      74960
RICK EUBANK AND SUSAN EUBANK                                             PO BOX 627                                                                             CUSHING         OK      74023-0627
                                                                                                                       9211 Lake Hefner
Rick Farmer                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
Rick Farmer                           c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles     CA      90017
Rick Farmer                                                              10401 Crane Rd                                                                         Meridian        OK      73058
RICK FLETCHER                                                            13621 RUE ROYAL LN                                                                     SILVERHILL      AL      36576-3248
RICK HADLEY                                                              3505 SOUTH JARDOT                                                                      STILLWATER      OK      74074
RICK L ANDERSEN TRUST                                                    PO BOX 668                                                                             BOYS TOWN       NE      68010
RICK MARSH                                                               ROUTE 2 BOX 66                                                                         HOBART          OK      73651
RICK MCCUBBIN                                                            PO BOX 114                                                                             GLENCOE         OK      74032
RICK MCKEREGHAN                                                          505 S LARCH                                                                            KENNEWICK       WA      99336
RICK MILES                                                               3002 LAUREL MIST CT                                                                    KINGWOOD        TX      77345
RICK MINER OIL INC                                                       PO BOX 373                                                                             DRUMWRIGHT      OK      74030
RICK MOORE                                                               14641 HOLCOMB RD                                                                       OREGON CITY     OR      97045
RICK PRICHARD                                                            605 CLIFF DRIVE                                                                        APTOS           CA      95003
RICK SAMS                                                                343723 E 750 RD                                                                        AGRA            OK      74824
RICK SHIPPY                                                              5509 CRIMSON AVE                                                                       CALDWELL        ID      83607
RICK WARREN COURT CLERK                                                  2323 VICTORY AVE #2000                                                                 DALLAS          TX      75219
                                                                                                                       9211 Lake Hefner
Rick Maggard                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Rick Maggard                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Rick Maggard                                                             1105 Brunson Ave 8205 NBU                                                              Prague          OK      74864


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RICKARD KIRK                                                             6404 S RIPLEY RD                                                                       RIPLEY          OK      74062-6233
RICKEY DEAN                                                              14809 MAPLELAKE DR                                                                     EDMOND          OK      73013-1885
RICKEY J COOPER                                                          14924 S ROSE RD                                                                        PERKINS         OK      74059
RICKEY L GLADDEN & NELLIE MAXINE GL                                      606 TURNER RD                                                                          CHANDLER        OK      74834
RICKEY LEE INGRAM LIVING TRUST                                           10113 SE 14TH ST                                                                       MIDWEST CITY    OK      73130
RICKEY LEN TATE                                                          1015 E 37TH ST                                                                         TULSA           OK      74105
RICKEY PETERS                                                            1510 SE 16TH ST PLACE                                                                  OAK GROVE       MO      64075
RICKEY TISON                                                             6221 BETHEL RD                                                                         SHAWNEE         OK      74804-0911
RICKI FINSTAD                                                            9201 CARDWELL ST                                                                       HOUSTON         TX      77055
RICKIE DAVENPORT                                                         7719 S 92ND EAST AVE                                                                   TULSA           OK      74133
                                                                                                                       9211 Lake Hefner
Rickie Smith                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Rickie Smith                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Rickie Smith                                                             6621 Woodridge Ave                                                                     Oklahoma City   OK      73132
RICKS FUND EMPLOYEES TRUST                                               6051 BROOKLINE AVE                                                                     OKLAHOMA CITY   OK      73112
                                                                                                                       9211 Lake Hefner
Ricky Mitchell                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ricky Mitchell                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Ricky Mitchell                                                           2204 SW 82nd St                                                                        Oklahoma City   OK      73159
RICKY & CLARA ORR                                                        PO BOX 118                                                                             MULHALL         OK      73063
RICKY BRYANT                                                             10201 N DOBBS RD                                                                       HARRAH          OK      73045
RICKY CARLILE                                                            820 S PERKINS RD                                                                       STILLWATER      OK      74074-4732
RICKY COLE                                                               523 Highview Avenue                                                                    STILLWATER      OK      74075
RICKY HELT                                                               207 LINWOOD AVE                                                                        GOLDSBORO       NC      27530-5133
RICKY INGRAM                                                             1224 SW 99TH ST                                                                        OKLAHOMA CITY   OK      73139-2600
RICKY J PATE                          C/O SUSAN GNIECH                                                                                                          CHELSEA         OK      74016
RICKY LEE & SUE LYNN LEADER                                              717 S AGRA RD                                                                          CUSHING         OK      74023-6125
                                                                                                                       9211 Lake Hefner
Ricky Lynn Schantz                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ricky Lynn Schantz                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Ricky Lynn Schantz                                                       333309 E. 1024 Rd                                                                      Harrah          OK      73045
RICKY M TRIPLETT                                                         12203 S SANGRE RD                                                                      PERKINS         OK      74059
RICKY POLLOT                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
RICKY PRICKETT                                                           8523 E 67TH ST                                                                         STILLWATER      OK      74074
RICKY REDMAN                                                             3230 E COUNTY RD 66                                                                    MULHALL         OK      73063
RICKY WARDELL                                                            4521 WOODCREST CIRCLE                                                                  WICHITA FALLS   TX      76309
RICKY WEBB                                                               PO BOX 775                                                                             CRESCENT        OK      73028-0775
RICKY WINEGEART                                                          4733 NORTH FENIMONE AVENUE                                                             COVINA          CA      91722-2747
                                                                                                                       9211 Lake Hefner
Ricky Birdwell                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ricky Birdwell                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Ricky Birdwell                                                           4802 Wood Dale Ave                                                                     Norman          OK      73026
RICOH USA                                                                PO BOX 650016                                                                          DALLAS          TX      75265-0016
RIDGE HOOKS                                                              PO BOX 796                                                                             MUSTANG         OK      73064-0796
RIDGEROCK LLC                                                            PO BOX 7594                                                                            EDMOND          OK      73083
RIDGEVIEW EXPLORATION INC                                                908 NW 71ST ST                                                                         OKLAHOMA CITY   OK      73116
RIDGWAY MANAGEMENT INC                                                   PO BOX 187                                                                             JACKSON         MS      39205-0187
RIG CHASERS LLC                                                          PO BOX 127                                                                             WOODWARD        OK      73802-0127
RIG CLEANING SERVICES LLC                                                7420 NW 85TH                                                                           OKLAHOMA CITY   OK      73132
RIG POWER INC                                                            PO BOX 10983                                                                           Midland         TX      79702

RIG RUNNERS INC                                                          525 N SAM HOUSTON PKWY E STE 523                                                       HOUSTON         TX      77060-4019
RIG WASHERS                                                              1807 5th ST.                                                                           WOODWARD        OK      73801
RIGDATA                                                                  PO BOX 820547                                                                          FT WORTH        TX      76182-0547
RIGMAIDS LLC                                                             PO BOX 112                                                                             MUNCY           PA      17756


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RILEY CEMETERY ASSOCIATION                                               ROUTE 1, BOX 62                                                                        SEILING         OK      73663
RILEY MALLATT                                                            25506 KANASKET DR                                                                      BLACK DIAMOND   WA      98010
RILEY SHARP                                                              7093 W 450                                                                             PRYOR           OK      74361-7523
RIMROCK SERVICES LLC                                                     PO BOX 642                                                                             ELK CITY        OK      73648
RIO BRAZOS MINERAL COMPANY LLC                                           PO BOX 2017                                                                            GRAHAM          TX      76450
RIO CONCHO CATERING INC                                                  4132 SUNSET DR                                                                         SAN ANGELO      TX      76904-5614
RIO ENERGY INTERNATIONAL INC                                             5718 WESTHEIMER RD STE 1806                                                            HOUSTON         TX      77057-5767
RIO LLC                                                                  1608 YSETTA CIR                                                                        EL RENO         OK      73036-4228
RIPLEY CHRISTIAN CHURCH                                                  PO BOX 315                                                                             RIPLEY          OK      74062-0315
RIPLEY COMMUNITY CHURCH INC                                              PO BOX 46                                                                              RIPLEY          OK      74062-0046
RIPLEY JOINT CONSOLIDATED SCHOOL DI   C/O PAYNE COUNTY BANK                                                                                                     RIPLEY          OK      74062
RIPLEY SCHOOL DOSTRICT INDEPENDENT                                       403 E COOK                                                                             RIPLEY          OK      74062
RISING FIELDS HYDROCARBON HOLDINGS                                       5704 ARBOR GATE LN                                                                     COLLEYVILLE     TX      76034-5072
RISING STAR TRUST CO                                                     PO BOX 977                                                                             SUBLETTE        KS      67877-0977
RISKPULSE                                                                3925 W BRAKER LN FL 3                                                                  AUSTIN          TX      78759-5316
RIST FAMILY IRREVOCABLE TRST                                             9009 S LAKEWOOD COURT                                                                  TULSA           OK      74137
RITA CLAGGETT                                                            32507 AGUA DULCE CANYON ROAD                                                           SANTA CLARITA   CA      91390-5036
                                                                                                                       9211 Lake Hefner
Rita Cramer                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Rita Cramer                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Rita Cramer                                                              5803 N. Mt Vernon                                                                      Cushing         OK      74023
                                                                                                                       9211 Lake Hefner
Rita D. Jones                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Rita D. Jones                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Rita D. Jones                                                            1516 Sunrise                                                                           Moore           OK      73160
RITA DAVIS                                                               1805 OPAL ST                                                                           CHICKASHA       OK      73018-5123
                                                                                                                       9211 Lake Hefner
Rita Duncan                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Rita Duncan                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Rita Duncan                                                              330 E. Xyler St.                                                                       Tulsa           OK      74106
                                                                                                                       9211 Lake Hefner
Rita Faye Hart                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Rita Faye Hart                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Rita Faye Hart                                                           745 Choctaw Vista West                                                                 Choctaw         OK      73020
RITA FULMER                                                              1609 CORKWOOD DR                                                                       ALLEN           TX      75002
RITA GIBSON                                                              2100 NAPA-VALLEJO HWY, UNIT T 14                                                       NAPA            CA      94558
RITA HANSEN                                                              208 N ASH AVE APT 73                                                                   VALLEY CENTER   KS      67147-2537
RITA HEJNY                                                               7006 SPINNAKER LN                                                                      OKLAHOMA CITY   OK      73116
RITA JACOB PRICE (DECEASED)                                              4100 S YOUNGS BLV                                                                      OKLAHOMA CITY   OK      73119
RITA JAN GEESLIN                                                         PO Box 2640                                                                            MIDLAND         TX      79702
RITA L WILLIS LIVING TRUST                                               PO BOX 1588                                                                            TULSA           OK      74101
RITA LEA PALMER                                                          2424 KAREN TER                                                                         MUSTANG         OK      73064-6233
RITA LYNNE COLEMAN                                                       941 OLD BROKEN BOW HIGHWAY                                                             BROKEN ARROW    OK      74728
RITA OLDHAM                                                              5021 GREEN RIVER ST                                                                    CHEYENNE        WY      82001
RITA RETHELFORD                                                          904 WILSON AVE                                                                         HOOPESTON       IL      60942
RITA S WEBB                                                              12505 E VFW RD                                                                         GLENCOE         OK      74032
RITA WASSON                                                              2814 CONSTITUTION                                                                      ENID            OK      73703
RITCHEY TRUCKING INC                                                     PO BOX 1843                                                                            STILLWATER      OK      74076-1843
RITCHIE JOHNSTON                                                         8739 N. 2290 RD.                                                                       CUSTER CITY     OK      73639
RITCHIE VERNI TRYON                                                      211 KIRKLAND AVE APT 1-327                                                             KIRKLAND        WA      98033-6501
RITE-WAY CONSTRUCTION INC.                                               PO Box 3748                                                                            ENID            OK      73702-3748
RITZ SAFETY LLC                                                          PO BOX 713139                                                                          CINCINNATI      OH      45271-3139
RIVENDELL ROYALTY CORPORATION                                            PO BOX 1410                                                                            EDMOND          OK      73083
RIVER BEND LAND & CATTLE CO. LLC                                         9430 CEDAR LAKE AVENUE                                                                 OKLAHOMA CITY   OK      73114
RIVER OF LIFE CHURCH                                                     PO BOX 171                                                                             PERKINS         OK      74059-0664


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RIVER RANCH RESOURCES LLC                                               PO BOX 16458                                                                           OKLAHOMA CITY   OK      73113
RIVERA WELL SERVICE LLC                                                 101 N FIR                                                                              PERRYTON        TX      79070
RIVERBANK ROYALTIES LLC                                                 4523 POTOMAC AVE                                                                       DALLAS          TX      75205
RIVERBEND E & P LLC                                                     6608 N WESTERN AVE STE 417                                                             OKLAHOMA CITY   OK      73116-7326
RIVERBEND RESOURCES COMPANY LLC                                         500 DALLAS ST STE 2835                                                                 HOUSTON         TX      77002
RIVERCREST ROYALTIES LLC                                                777 TAYLOR ST STE 810                                                                  FORT WORTH      TX      76102-4919
RIVERCREST ROYALTY COMPANY                                              1620 QUEENSTOWN RD                                                                     OKLAHOMA CITY   OK      73116-5523
RIVERFRONT EXPLORATION LLC                                              109 N 6TH ST                                                                           FORT SMITH      AR      72901
RIVERS RESOURCES LLC                                                    1300 E 9TH UNIT 3                                                                      EDMOND          OK      73034-5760
RIVERVIEW PLANTATION                                                    11991 RIVERVIEW RD                                                                     CAMILLA         GA      31730-3440
RIVERVIEW RANCH LLC                                                     PO BOX 1509                                                                            NORMAN          OK      73070
RIVIERA FINANCE TRS SVCS                                                PO BOX 202485                                                                          DALLAS          TX      75320-2485
RIVIERA FINANCE OF TEXAS                                                PO BOX 202487                                                                          DALLAS          TX      75320-2487
RIVIERA UPSTREAM, LLC                                                   600 TRAVIS                                                                             HOUSTON         TX      77002
RIZLEY 3K ENERGY LLC                                                    1120 PARKWOOD DR                                                                       FT COLLINS      CO      80525
RJ & PEGGY PARRISH REV TRUST                                            101675 E UNION RD                                                                      HUNTER          OK      74640
RJ WOLFE                                                                993 HIGHWAY 614                                                                        HOUGHTON        LA      71037
RJDMT INVESTMENTS LP                                                    442 HEIGHTS BLVD                                                                       HOUSTON         TX      77042
RJK INVESTMENTS LLC                                                     4727 GAILLARDIA PKWY STE 200                                                           OKLAHOMA CITY   OK      73142-1923
RJW RESOURCES LLC                                                       1391 WINDRUSH CIR                                                                      BLACKLICK       OH      43004-9609
Rk&R Dozer Service LLC               Ronnie Robinson Jr.                15200 W 6th St                                                                         Orlando         OK      73073
RK&R DOZER SERVICE LLC                                                  15200 W 6TH STREET                                                                     ORLANDO         OK      73073
RKD COMMUNICATION SYSTEMS LTD.                                          BOX 13, SITE 4, RR 8                                                                   CALGARY         AB      T2J 2T9      CANADA
RKW ENERGY LLC                                                          13901 N MIDWEST BLVD                                                                   EDMOND          OK      73013
RL ENERGY COMPANY                                                       1910 COPPERFIELD                                                                       STILLWATER      OK      74074
                                                                                                                      9211 Lake Hefner
RL Montgomery                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
RL Montgomery                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
RL Montgomery                                                           36 SW 102nd St                                                                         Oklahoma City   OK      73139
RLAND LLC                                                               8556 E 101ST STSTE F                                                                   TULSA           OK      74133-7035
RM TRUCKING LLC                                                         12239 N 1680 RD                                                                        ERICK           OK      73645
RMAP LLC                                                                1616 WYOMING                                                                           KANSAS CITY     MO      64102-1038
RMC RESOURCES LLC                                                       PO BOX 20912                                                                           OKLAHOMA CITY   OK      73156-0912
RMD LLC                                                                 2901 NW 156TH ST 2ND FLR                                                               EDMOND          OK      73013
RMP OPERATING COMPANY                                                   PO BOX 701076                                                                          TULSA           OK      74170-1076
RMW MINERALS LLC                                                        6801 N BROADWAY SUITE 120                                                              OKLAHOMA CITY   OK      73116-9037
RNCC CLEANING INC                                                       PO BOX 8                                                                               PERKINS         OK      74059
ROACH SERVICES INC                                                      PO BOX 954                                                                             WOODWARD        OK      73802
ROAD RUNNER TRUCKING L.L.C.                                             PO BOX 947                                                                             WOODWARD        OK      73802
ROADRUNNER INVESTMENTS LLC                                              PO BOX 514                                                                             PAULS VALLEY    OK      73075
ROANNA LEWIS                                                            1402 E HIGHLAND                                                                        AURORA          MO      65605
ROARING FORK PARTNERS LTD                                               PO BOX 25425                                                                           DALLAS          TX      75225
ROARK AS JOINT TENANTS                                                  4009 TIMBERLINE DRIVE                                                                  STILLWATER      OK      74074
                                                                                                                      9211 Lake Hefner
Rob Brewer                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                     c/o Laminack, Pirtle & Martines,
Rob Brewer                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Rob Brewer                                                              9550 E 103rd St                                                                        Tulsa           OK      74133
ROB CLARKE                                                              3603 LANDON CT                                                                         FAIRFAX         VA      22031
ROB NESTER                                                              10602 LEAFWOOD LN                                                                      AUSTIN          TX      78750
ROB SHIPPY                                                              22272 MARKET RD                                                                        PARMA           ID      83660
ROBBIE AUSTIN                                                           14353 LAWRENCE 1137                                                                    MT VERNON       MO      65712
ROBBIE CHITWOOD                      c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater      OK      74074
ROBBIE HARBER RICH                                                      5408 DUVALL DR                                                                         BETHESDA        MD      20816-1872
ROBBIE KYLE                                                             3332 QUAIL CREEK RD                                                                    OKLAHOMA CITY   OK      73120-8924
ROBBIE L HAMBLETON ROBIN HAMBLETON                                      117 N DELILAH AVE                                                                      SEDAN           KS      67361-1401
ROBBY BRAUN                                                             81 EDGERIDGE GREEN NW                                                                  CALGARY         AB      T3A 6B1      CANADA
ROBBY COCKRELL                                                          38169 BROWNLEE RD                                                                      THEDFORD        NE      69166


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ROBERSON OIL COMPANY INC                                                 PO BOX 8                                                                               ADA             OK      74821
ROBERSON OIL COMPANY INC                                                 PO BOX 8                                                                               ADA             OK      74821-0008
ROBERT                                                                   820270 S 3460 RD                                                                       AGRA            OK      74824-2001
ROBERT                                                                   13913 E 68TH ST                                                                        CUSHING         OK      74023-6121
ROBERT                                                                   4724 PINTO DR                                                                          STILLWATER      OK      74074
ROBERT & BARBARA SHAW REV TR                                             142 BARBARA DR                                                                         EDMOND          OK      73013
ROBERT & FRANCES CORY REV LVG TR                                         5916 NW 81ST ST                                                                        OKLAHOMA CITY   OK      73132

ROBERT & GRACIE ANDERSON H/W JTWROS                                      302 W 29TH AVE                                                                         STILLWATER      OK      74074-6917
ROBERT & HAZEL SHIVELY                                                   PO BOX 840738                                                                          DALLAS          TX      75284-0738
ROBERT & JANA JONES FMLY TRUST                                           6716 OAK VIEW RD                                                                       EDMOND          OK      73025-2743
ROBERT & JOSEFA VALLIANT LIV TRUST                                       PO BOX 34335                                                                           JUNEAU          AK      99803
ROBERT & LINDA REIS FAMILY TRUST                                         2287 E 39TH STREET                                                                     TULSA           OK      74105
ROBERT & NELLIE L TOTUSEK TRUST                                          832 TEAKWOOD PL                                                                        RICHARDSON      TX      75080
ROBERT & PATRICIA AXTELL                                                 1816 W 18TH CT                                                                         STILLWATER      OK      74074-6801
ROBERT & SHIRLEY MURPHY TRUST                                            401 S RIDGE DR                                                                         STILLWATER      OK      74074-2836
ROBERT & SUSAN HEISTER TRUST                                             3311 S FAIRGROUNDS                                                                     STILLWATER      OK      74074-8537
ROBERT A & MARILYN SUE BOEWE                                             2835 N WEDGEWOOD DR                                                                    WICHITA         KS      67204
ROBERT A GRACE TRUST                                                     5401 NW 121ST ST                                                                       OKLAHOMA CITY   OK      73162
ROBERT A HEFNER TRUST NO 2                                               PO BOX 5250                                                                            EDMOND          OK      73083-5250
ROBERT A KETRON JR                                                       3323 S HUSBAND                                                                         STILLWATER      OK      74074-7536
ROBERT A KETRON JR & DOROTHY                                             3323 S HUSBAND ST                                                                      STILLWATER      OK      74074-7536
ROBERT A LINDER                                                          PO BOX 183                                                                             AGRA            OK      74824-0183
ROBERT A LINDER II                                                       3366 RUSTIC HOLLOW                                                                     GUTHRIE         OK      73044
ROBERT A MANLEY                                                          PO BOX 67                                                                              TRYON           OK      74875
ROBERT ADAMEK                                                            3672 N 162ND LN                                                                        GOODYEAR        AZ      85395-8019
ROBERT ADKINS                                                            PO BOX 371                                                                             RIVERTON        UT      84065
ROBERT AHRBERG                                                           PO BOX 1253                                                                            STILLWATER      OK      74076
ROBERT AHRENS                                                            PO BOX 3427                                                                            TULSA           OK      74101-3427
ROBERT AJAY AVERY                                                        2515 SULLIVAN DRIVE                                                                    AUBURN          CA      95603
ROBERT ALEXANDER                                                         4100 198TH AVE SE                                                                      NOBLE           OK      73068
ROBERT ALFORD                                                            6617 S. BETHEL RD                                                                      RIPLEY          OK      74062
ROBERT ALLEN                                                             6600 CARLISLE BEND                                                                     SPRINGFIELD     IL      62711
ROBERT ALLER                                                             5730 KAY DR                                                                            FORT WORTH      TX      76119
ROBERT AND CYNTHIA SWAIM TRUST                                           800 S STILES                                                                           CUSHING         OK      74023-5826
ROBERT AND KELLY ALTLAND                                                 20343 FLUSHING MEADOWS COURT C                                                         ASHBURN         VA      20147-3854
ROBERT ANDREWS                                                           525 HARVEST TRL                                                                        YUKON           OK      73099
ROBERT ARNOLD                                                            PO BOX 552                                                                             STILLWATER      OK      74076-0552

ROBERT ARTHUR ELLSWORTH & MARILYN D                                      2800 W WATERLOO RD                                                                     EDMOND          OK      73025-1696
ROBERT B DUNKIN                                                          410 RETAMA PL                                                                          HARLINGEN       TX      78550
ROBERT B MILLER IRA                                                      5900 S LAKE FOREST DR STE 300                                                          MCKINNEY        TX      75070
ROBERT B MILSTEN                                                         15000 GALLARDIA DR                                                                     OKLAHOMA CITY   OK      73142
                                                                                                                       9211 Lake Hefner
Robert B. McGhee                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Robert B. McGhee                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Robert B. McGhee                                                         7508 NW 133rd St                                                                       Oklahoma City   OK      73142
ROBERT BALDI                                                             270 IRON HILL RD                                                                       DOYLESTOWN      PA      18901
ROBERT BALDWIN DECD                                                      8250 N VIA PASEO DEL NORTE                                                             SCOTTSDALE      AZ      85258
ROBERT BARAN                                                             2140 KING MESA DR                                                                      HENDERSON       NV      89002
ROBERT BARKER                                                            13025 SUNNYBROOK LN                                                                    LA MIRADA       CA      90638
ROBERT BARKER                                                            198 RAINBOW DR #9860                                                                   LIVINGSTON      TX      77399-1098
ROBERT BARKER                                                            PO BOX 2201                                                                            STILLWATER      OK      74076
ROBERT BARRETT JR                                                        1056 PARK POINT DR                                                                     SLIDELL         LA      70461
ROBERT BEAVERS                                                           7121 N ROSE RD                                                                         GLENCOE         OK      74032
ROBERT BEERY                                                             1684 CHEROKEE                                                                          CRESCENT        OK      73028
ROBERT BEIER                                                             13701 KNOBHILL                                                                         PERRY           OK      73077
ROBERT BEIER                                                             5 DELAWARE                                                                             PERRY           OK      73077


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             CreditorName             CreditorNoticeName                 Address1                      Address2        Address3            City     State       Zip      Country
ROBERT BELL                                                252 DUDALA LN                                                          LOUDON            TN      37774-6819
ROBERT BERRY                                               PO BOX 35579                                                           TUCSON            AZ      85740
ROBERT BETCHAN                                             PO BOX 161                                                             MULHALL           OK      73063
ROBERT BISHOP                                              15457 NISQUALLI RD                                                     VICTORVILLE       CA      92395
ROBERT BLACK                                               15900 INDEPENDENCE                                                     PERRY             OK      73077

ROBERT BLAIR                                               28236 HISTORIC COLUMBIA RIVER HWY                                      TROUTDALE         OR      97060
ROBERT BRADFIELD                                           2020 LONG CV                                                           ROUND ROCK        TX      78664-6221
ROBERT BRADFORD                                            1648 SARATOGA WAY                                                      EDMOND            OK      73003
ROBERT BRADLEY                                             989 COUNTY STREET 2930                                                 TUTTLE            OK      73089-3029
ROBERT BRADSHAW                                            10924 E PONDEROSA DR                                                   SPOKANE VALLEY    WA      99206-9106
ROBERT BRENTLINGER                                         111 W WATERLOO RD                                                      EDMOND            OK      73025
ROBERT BRIXEY                                              9615 S WASHINGTON                                                      PERKINS           OK      74059-4074
ROBERT BROCK                                               8201 NW 50TH ST                                                        OKLAHOMA CITY     OK      73132-9703
ROBERT BROOKSHIRE                                          2221 PAULINE DR                                                        MISSOULA          MT      59804
ROBERT BROWNWROS                                           2614 S HUSBAND ST                                                      STILLWATER        OK      74074-7124
ROBERT BRYAN                                               10624 S SANTA FE AVE                                                   EDMOND            OK      73025-1367
ROBERT BRYAN                                               PO BOX 943                                                             MONTICELLO        UT      84535-0943
ROBERT BRYAN                                               4701 ADELE CT                                                          WOODLAND HILLS    CA      91364-4702
ROBERT BUNNEY                                              301 S FULTON BEACH RD                                                  ROCKPORT          TX      78382-7635
ROBERT BURHAM                                              20107 SALZBURG LANE                                                    HUMBLE            TX      77338
ROBERT BURNS                                               21510 PARKER RD                                                        TOMBALL           TX      77377-6000
ROBERT C OLMSTEAD                                          5991 PIN OAK RD                                                        FRANKLIN          TX      77856
ROBERT C ROTHERMEL JR                                      PO BOX 60332                                                           FAIRBANKS         AK      99706
ROBERT C TILGHMAN                                          1707 DORCHESTER PLACE                                                  NICHOLS HILLS     OK      73120
ROBERT C. NEWMAN OIL LLC                                   950 WOODLAND PASS SE                                                   SMYRNA            GA      30082-4418
ROBERT CAIG                                                11117 SABINE VALLEY DR                                                 LITTLE ROCK       AR      72212
ROBERT CALDWELL                                            19548 N COUNTY ROAD 3300                                               WYNNEWOOD         OK      73098-9499
ROBERT CAMBELL                                             6475 E PACIFIC COAST HWY # 1018                                        LONG BEACH        CA      90803-4201
ROBERT CAMPBELL                                            460 E CRISATULLI RD                                                    MERRITT ISLAND    FL      32953
ROBERT CARLIN DONAHUE JR                                   2400 FRISCO WAY                                                        EDMOND            OK      73012
ROBERT CARMONA                                             2002 TUCUMCARI DR                                                      HOUSTON           TX      77090
ROBERT CARPENTER                                           3122 N 3915 RD APT 38                                                  LAMAR             OK      74850
ROBERT CARROLL                                             5400 YELLOWWOOD DRAPT 9                                                COLUMBUS          OH      47203
ROBERT CARROLL                                             750215 S 3370 RD                                                       TYRON             OK      74875
ROBERT CAVANAUGH                                           4510 PELICAN BLVD                                                      CAPE CORAL        FL      33914
ROBERT CHARLES                                             2301 W 9TH                                                             STILLWATER        OK      74074
ROBERT CHRISTOPHER PHELPS TRUST                            395 GRANDVIEW ST                                                       MEMPHIS           TN      38111
ROBERT CLELAND                                             67 PINTAIL LN                                                          HEATHSVILLE       VA      22473-3705
ROBERT COCHRAN                                             17755 BETHLEHEM RD                                                     WINSLOW           AR      72959-9720
ROBERT COLE                                                3712 WOODKNOLL                                                         DUNCAN            OK      73533-1818
ROBERT COMBS                                               7102 W COMBS DR                                                        CUSHING           OK      74023-5870
ROBERT COMPTON                                             468 ONTARIO DR                                                         LIVERMORE         CA      94550
ROBERT CONVILLE ENTERPRISES LLC                            1040 OLD BEACH RD                                                      NEW HARMONY       IN      47631
ROBERT COOK                                                PO BOX 330258                                                          TULSA             OK      74133-0258
ROBERT COWAN                                               2240 HAWKSRIDGE DR UNIT 2203                                           NAPLES            FL      34105
ROBERT COWDERY                                             7520 E 21ST ST #10                                                     WICHITA           KS      67226
ROBERT CRAFT                                               2400 E MCELROY ROAD                                                    STILLWATER        OK      74075
ROBERT D & DORI J CLARY HW JT WROS                         12317 SE MCGILLIVRAY BLVD                                              VANCOUVER         WA      98683-6345
ROBERT D CLARY                                             12317 SE MCGILLIVRAY BLVD                                              VANCOUVER         WA      98683
ROBERT D COWDERY LIVING TRUST                              7520 E 21ST ST N UNIT 10                                               WICHITA           KS      67206
ROBERT D WHITTEN TRUST                                     3829 N CLASSEN SUITE 202                                               OKLAHOMA CITY     OK      73118
ROBERT D WILSON                                            3101 OVERCUP DR                                                        SHERWOOD          AR      72120
ROBERT DAVIS                                               9973 S CLYDE PL                                                        HIGHLANDS RANCH   CO      80129
ROBERT DAVIS                                               PO BOX 117                                                             OKARCHE           OK      73762
ROBERT DAVIS                                               PO BOX 1385                                                            PAWHUSKA          OK      74056
ROBERT DAVIS                                               1501 PEACH TREE LANE                                                   YUBA CITY         CA      95993-1733
ROBERT DAVIS AND EDITH F DAVIS HW J                        9408 W ESECO                                                           AGRA              OK      74824
ROBERT DEAN BEZDICEK                                       3704 W AUSTIN ST                                                       BROKEN ARROW      OK      74011-1518


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ROBERT DIEHL                                                             8370 GRAND RONDE RD                                                                    GRAND RONDE      OR      97347-9700
ROBERT DIXON                                                             9717 NW 10TH ST LOT 96                                                                 OKLAHOMA CITY    OK      73127
ROBERT DONALDSON                                                         1018 NW 166TH TER                                                                      EDMOND           OK      73012
ROBERT DOUGLAS WILSON                                                    PO BOX 515243                                                                          DALLAS           TX      75251
ROBERT DOW                                                               1129 WHISPERING PINES                                                                  NORMAN           OK      73072
ROBERT DREESSEN                                                          6219 SAN RICARDO WY                                                                    BUENA PARK       CA      90620

ROBERT DREW BOWERS 1982 IRREVOCABLE                                      PO BOX 1337                                                                            OKLAHOMA CITY    OK      73101-1337
ROBERT DUDLEY                                                            2112 MEADOWLANE DR                                                                     CHILLICOTHE      MO      64601
ROBERT DUNCAN                                                            1707 Divot Lane                                                                        Sebring          FL      33872
ROBERT DUNN HEIRS                                                        543 W 600TH AVE                                                                        GIRARD           KS      66743-2336
ROBERT E & BETTY J MITTASCH TRUST                                        120 IRON HORSE LN                                                                      MORRISON         OK      73061
ROBERT E FAGAN ESTATE                                                    4607 RED HAWK                                                                          GUTHRIE          OK      73044
ROBERT E FAGAN LIFE ESTATE                                               199 W COUNTY RD 66                                                                     MULHALL          OK      73063
ROBERT E KEIM                                                            5301 N POMOMA AVE                                                                      TUCSON           AZ      85704-1645
ROBERT E LEE                                                             12840 VISTA CIELO DR                                                                   SPRING VALLEY    CA      91978
ROBERT EDWARD ECKELS JR LLC                                              PO BOX 1093                                                                            CEDAREDGE        CO      81413
ROBERT EDWARD LEE II                                                     3607 DRUMOND ST                                                                        HOUSTON          TX      77025
ROBERT EDWARD MARRIOTT                                                   807 CAROY DR                                                                           NORMAN           OK      73069
ROBERT ELSTON                                                            PO BOX 500                                                                             SILVER CITY      NV      89428
ROBERT EMIL & CARMEN LIGIA VOIGT TR                                      302 E 14TH ST                                                                          OWASSO           OK      74055
ROBERT EUGENE COE                                                        29551 HARVEST ROAD                                                                     GLENCOE          OK      74032
ROBERT EVANS                                                             14084 DOUGLAS BLVD                                                                     MULHALL          OK      73063
ROBERT F HARPER                                                          26459 LAKEVIEW TERR                                                                    GODFREY          IL      62035
ROBERT F HARPER FAM TR                                                   497 N. BRIDGTON ROAD                                                                   BRIDGTON         ME      04009
ROBERT F JACK RICH AND JOHN KIPP                                         PO BOX 2000                                                                            OKLAHOMA CITY    OK      73152-2000
ROBERT F JR & ANISA A MAGALLANES                                         203 W 29TH AVE                                                                         STILLWATER       OK      74074
ROBERT F LONG TEST TRUST                                                 PO BOX 99084                                                                           FORT WORTH       TX      76199
ROBERT FAGAN                                                             199 CO RD 66                                                                           MULHALL          OK      73063
ROBERT FAGAN                                                             199 W CR 66                                                                            MULHALL          OK      73063
ROBERT FEHRING                                                           407 S PINE ST                                                                          TONKAWA          OK      74653
ROBERT FERGUSON                                                          17319 HIGHLAND CANYON                                                                  HOUSTON          TX      77095
ROBERT FILEBARK                                                          8509 SPENCER CT                                                                        ORLANDO          FL      32817
ROBERT FILLMORE                                                          2024 HILLCREST COURT                                                                   MCKINNEY         TX      75070

ROBERT FLOYD RINGWALD AND JANET G R                                      7102 N TOWER ESTATE                                                                    GLENCO           OK      74032
ROBERT FRANCEY                                                           6333 81ST AVE N                                                                        PINEALLAS PARK   FL      33781
ROBERT FUNK                                                              PO BOX 179                                                                             PIEDMONT         OK      73078
ROBERT G & EMMA R SNEAD REV LIV TR                                       PO BOX 1416                                                                            TULSA            OK      74101-1416

ROBERT G AND BETTY ANN PECK REV TRU                                      1706 WILDWOOD                                                                          SHAWNEE          OK      74801
ROBERT G CARSON REV TR DTD 8-1-2000                                      8600 SKYLINE DR # 7103                                                                 DALLAS           TX      75243-4198

ROBERT G DEVINNEY                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
                                                                                                                       9211 Lake Hefner
Robert G. Rowan                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Robert G. Rowan                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Robert G. Rowan                                                          3008 N. Outpost Dr                                                                     Oklahoma City    OK      73141
ROBERT GARRETT                                                           PO BOX 630163                                                                          IRVING           TX      75063
ROBERT GASS                                                              PO BOX 292                                                                             SALINA           OK      74365-0292
ROBERT GATES                                                             9318 S 65TH EAST PL                                                                    TULSA            OK      74133-5336
ROBERT GHOLSTON                                                          1302 W MAINE                                                                           ENID             OK      73703
ROBERT GILLESPIE                                                         7334 W DESERT LN                                                                       LAVEEN           AZ      85339
ROBERT GILLINGHAM                                                        11300 W GOOSE EGG RD                                                                   CASPER           WY      82604
ROBERT GLEN MILLER                                                       243 HUGHES RD                                                                          WHITESBORO       TX      76273-3134
ROBERT GLENN                                                             1805 EAST ITHICA ST                                                                    BROKEN ARROW     OK      74012
ROBERT GOLDWASER                                                         2809 APPALOOSA TRL                                                                     WELLINGTON       FL      33414
ROBERT GOULD                                                             307 ANDREW JACKSON PLACE                                                               HERMITAGE        TN      37076


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               CreditorName                 CreditorNoticeName                          Address1                            Address2                 Address3             City    State       Zip      Country
ROBERT GRAY                                                              5019 W 3RD AVE                                                                         STILLWATER       OK       74074-6796
ROBERT GUYTON                                                            3085 SLATON DR NW                                                                      ATLANTA          GA       30305
ROBERT H & KATHERINE M TAYLOR                                            9718 S UNION RD                                                                        STILLWATER       OK       74074-8425
ROBERT H & PATRICIA A SEEDS                                              PO BOX 13986                                                                           TUCSON           AZ       85732-3986
ROBERT H CARD JR & ALICE E CARD                                          PO BOX 720005                                                                          OKLAHOMA CITY    OK       73172-0005
ROBERT H JR & DEANITA S SITTON REV                                       5717 W DEANITA LN                                                                      STILLWATER       OK       74075-2185
ROBERT H LYNCH TRUST                                                     PO BOX 7284                                                                            EDMOND           OK       73013
ROBERT H SEEDS                                                           PO BOX 13986                                                                           TUCSON           AZ       85732-3986
ROBERT H SINGLETON LIVING TRUST                                          2807 S RANDOLPH RD                                                                     EDMOND           OK       73013-6769
ROBERT H WHITESIDES ESTATE                                               6716 ROOSEVELT DR                                                                      KETCHIKAN        AK       99901
ROBERT H WILSON                                                          1401 CANYOJN STREET                                                                    PLAINVIEW        TX       79702
ROBERT H. MOORE TRUST                                                    6477 SOUTH WALDEN STREET                                                               AURORA           CO       80016
ROBERT HALE                                                              1105 COFFEY CIR                                                                        EDMOND           OK       73013-6133
ROBERT HALF TECHNOLOGY                                                   PO BOX 743295                                                                          LOS ANGELES      CA       90074-3295
ROBERT HALL                                                              2002 MCKINLEY                                                                          YPSILANTI        MI       48197
ROBERT HAMILTON                                                          2817 EMBERWOOD                                                                         GARLAND          TX       75043
ROBERT HAMMOCK                                                           PO BOX 153                                                                             RIPLEY           OK       74062-0153
ROBERT HANSEN                                                            2664 EAST WATERFORD AVENUE                                                             FRESNO           CA       93720
ROBERT HARRINGTON                                                        6801 W AIRPORT RD                                                                      STILLWATER       OK       74075
ROBERT HARRIS                                                            8601 N PERKINS RD                                                                      STILLWATER       OK       74075
ROBERT HARRIS DYER TTEE                                                  3310 WRIGLEY                                                                           MIDLAND          TX       79707
ROBERT HART                                                              15811 EDGEWOOD DRIVE                                                                   DUMFRIES         VA       22025
ROBERT HECKENKAMP                                                        1114 N MAGNOLIA COURT                                                                  GUTHRIE          OK       73044
ROBERT HEDGES                                                            1172 CAVE SPRINGS TRAIL                                                                LOS CRUCES       NM       88011
ROBERT HENSLEY                                                           1450 N KENTER AVE                                                                      LOS ANGELES      CA       90049
ROBERT HEROD                                                             401 N GRANT ST                                                                         CANTON           OK       73724
ROBERT HERT                                                              1724 N HUSBAND ST                                                                      STILLWATER       OK       74075-3723
ROBERT HICKS                                                             6022 E FOREST VALLEY CT                                                                PERKINS          OK       74059-3811
ROBERT HIDAY HEIRS OF                                                    4009 EAST 300 NORTH                                                                    ANDERSON         IN       46012-9426
ROBERT HILTON                                                            265 HANNA MILL POND RD                                                                 CHATTAHOOCHEE    FL       32324-3436
ROBERT HITZELBERGER                                                      2200 ROSS AVE, SUITE 3838                                                              DALLAS           TX       75201-6768
ROBERT HUDSON                                                            715 E NOBLE AVE                                                                        GUTHRIE          OK       73044
ROBERT HUNSINGER                                                         9714 HAKEN DR                                                                          GLENCOE          OK       74032
ROBERT HURD                                                              4132 E KERESAN ST                                                                      PHOENIX          AZ       85044-3977
ROBERT III DECD                                                          2441 B ROCK CREEK RD                                                                   HANSEN           ID       83334
ROBERT INGLISH                                                           PO BOX 458                                                                             WOODSTOCK        NY       12498
ROBERT ISAACS                                                            2713 INDIAN DR.                                                                        ENID             OK       73703
ROBERT J & MILDRED M PAGE H/W JTWRO                                      223 W 29TH AVE                                                                         STILLWATER       OK       74074-6916
ROBERT J DOTTER & JULIE A DOTTER R                                       843 MONKS ST                                                                           WEST PLAINS      MO       65775-2909
ROBERT J HANSEN                                                          3781 S. SHAWNEE AVENUE                                                                 PAHRUMP          NV       89048
ROBERT J HANSEN                                                          2007 SW STELLA WAY                                                                     TROUTDALE        OR       97060

ROBERT J RHOADS                                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX       75070
                                                                                                                       9211 Lake Hefner
Robert J. Hernandez                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                      c/o Laminack, Pirtle & Martines,
Robert J. Hernandez                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Robert J. Hernandez                                                      17201 N. Western Ave                                                                   Edmond           OK       73012
ROBERT JOHN TAYLOR                                                       5702 E GARY ST                                                                         MESA             AZ       85205
ROBERT JONES                                                             PO BOX 55                                                                              OKEENE           OK       73763-0055
ROBERT K WEINKAUF                                                        23400 CR 160                                                                           PERRY            OK       73077
ROBERT KEESECKER                                                         PO BOX 66                                                                              ROCKPORT         WA       98283
ROBERT KEHRES                                                            617 PARTEE DR                                                                          MAGNOLIA         AR       71753
ROBERT KEPKE                                                             11526 GALLANT RIDGE LN                                                                 HOUSTON          TX       77082
ROBERT KINCAID                                                           PO BOX 148                                                                             MULHALL          OK       73063
ROBERT KINDT                                                             2302 NW IVANHOE PL                                                                     LAWTON           OK       73505
ROBERT KLABZUBA                                                          PO BOX 5815                                                                            EDMOND           OK       73083-5815
ROBERT KLASSEN                                                           629 MANZANITA AVE                                                                      SUNNYVALE        CA       94085-3044
ROBERT KNITTLE                                                           616 E OAK ST                                                                           WYLIE            TX       75098


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              CreditorName                  CreditorNoticeName                          Address1                            Address2                 Address3            City     State       Zip      Country
ROBERT KREPPS                                                            PO BOX 931515                                                                          LOS ANGELES       CA      90093
ROBERT KUHN                                                              PO BOX 129                                                                             TIMBER LAKE       SD      57656
ROBERT KURZ                                                              5233 CAMERON CREEK CT #262                                                             FORT WORTH        TX      76132
ROBERT L & DARLA J KIRKWOOD HW JT                                        PO BOX 51                                                                              RIPLEY            OK      74062-0051
ROBERT L APPLEGATE                                                       2808 E 26TH PL                                                                         TULSA             OK      74114
ROBERT L BRASE &                                                         6914 W 390 RD                                                                          ADAIR             OK      74330
ROBERT L BURNS II                                                        201 SHREWSBURY ROAD                                                                    MARY ESTHER       FL      32569
ROBERT L CALDWELL & GEORGIE A                                            2004 E 17TH                                                                            STILLWATER        OK      74074
ROBERT L HALL                                                            8716 MEADOW HILL DR                                                                    EDMOND            OK      73034
ROBERT L HEISTER JR                                                      7101 W AIRPORT ROAD                                                                    STILLWATER        OK      74075
ROBERT L JOHNSON REV TR                                                  1214 S WESTWOOD LN                                                                     STILLWATER        OK      74074
ROBERT L LEE                                                             2315 E OAK                                                                             ENID              OK      73701
ROBERT L MCPHERON AND IRENE I                                            PO BOX 6273                                                                            EDMOND            OK      73083
ROBERT L MOODY JR                                                        2302 POST OFFICE STREET SUITE 601                                                      GALVESTON         TX      77550
ROBERT L PATRICK                                                         929 KINGS CANYON DR                                                                    GRAPEVINE         TX      76051
ROBERT L SCOTT FAMILY TRUST                                              211 N ROBINSON AVE 1525                                                                OKLAHOMA CITY     OK      73102-7109
ROBERT L TESTERMAN AND LINDA C                                           3118 W CYPRESS MILL AVE                                                                STILLWATER        OK      74074
ROBERT L WALKER TR                                                       6712 COLUMBINE WAY                                                                     PLANO             TX      75093
ROBERT l WHITTAKER                                                       5421 HUNTLEY DRIVE                                                                     FORT WORTH        TX      76109
ROBERT L WILLIAMS TTEE                                                   5550 N YUCCA RD                                                                        PARADISE VALLEY   AZ      85253
                                                                                                                       9211 Lake Hefner
Robert L. Beard                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Robert L. Beard                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Robert L. Beard                                                          341220 E. Country Meadows                                                              Meeker            OK      74855
ROBERT LAFOLLETTE                                                        PO BOX 13180                                                                           OKLAHOMA CITY     OK      73113-1180
ROBERT LAFORTUNE                                                         427 S. BOSTON, SUITE 937                                                               TULSA             OK      74103
ROBERT LAHTI                                                             1320 S BIRCH ST                                                                        GUTHRIE           OK      73044
ROBERT LARAMORE                                                          9421 1ST STREET                                                                        GLENCOE           OK      74032
ROBERT LARUE                                                             3320 MILES DR                                                                          EDMOND            OK      73034
ROBERT LEE                                                               PO BOX 68                                                                              TURNER            OR      97392
ROBERT LEE & PATRICIA A AXTELL, JT                                       1816 W. 18TH CT.                                                                       STILLWATER        OK      74074
ROBERT LEE SHOENHAIR                                                     556 36TH ST SW                                                                         ROCHESTER         MN      55902
ROBERT LEIGH                                                             4004 E MCELROY                                                                         STILLWATER        OK      74075
ROBERT LEMASTERS                                                         835 NORTH POINTE DR                                                                    RIVERTON          WY      82501
ROBERT LEWIS HINER                                                       PO BOX 937                                                                             BETHANY           OK      73008-0937
ROBERT LINDLEY                                                           1360 HACKBERRY DR.                                                                     GERING            NE      69341
ROBERT LONG                                                              465 COUNTY ROAD 3182                                                                   CLEVELAND         TX      77327-8350
ROBERT LONGAN                                                            62601 E 350 RD                                                                         JAY               OK      74346
ROBERT LYNN DOUGLAS                                                      PO BOX 832                                                                             STROUD            OK      74079
ROBERT M HART                                                            2504 N COMANCHE DR                                                                     CHANDLER          AZ      85224
ROBERT M HOFFMAN JR                                                      10415 S NATHAN STREET                                                                  JENKS             OK      74037
ROBERT M HOFFMAN SR REV TRUST                                            4618 N CLASSEN BLVD                                                                    OKLAHOMA CITY     OK      73118
ROBERT M RAINEY III TRUST                                                3738 S XANTHUS AVE                                                                     TULSA             OK      74105-8140

ROBERT M TAUBMAN FAMILY PARTNERSHIP                                      PO Box 1588                                                                            TULSA             OK      74101-1588
ROBERT M. WELCH III TR                                                   909 SHUMARD PEAK RD                                                                    GEORGETOWN        TX      78633-5703
ROBERT MACK                                                              2642 ROSEWOOD CIR                                                                      ENID              OK      73703
ROBERT MARCHANT                                                          PO BOX 54664                                                                           OKLAHOMA CITY     OK      73154-1664
ROBERT MARCHANT                                                          1402 KENILWORTH RD                                                                     NICHOLS HILLS     OK      73120
ROBERT MARTIN                                                            2909 BLUE SPRUCE RD                                                                    EDMOND            OK      73025
ROBERT MARTIN WILLIAMS III REVOCABL                                      10300 MORADO COVE #706                                                                 AUSTIN            TX      78759
ROBERT MASON PRIESS                                                      8706 S PLEASANT VALLEY RD                                                              COYLE             OK      73027-7002
ROBERT MASON PRIESS JR LE                                                11611 N ANDERSON RD                                                                    COYLE             OK      73027
ROBERT MATLOCK                                                           2500 LEGACY DRSTE 226                                                                  FRISCO            TX      75034
ROBERT MAXWELL                                                           PO BOX 258850                                                                          OKLAHOMA CITY     OK      73125
ROBERT MCCABE                                                            21 GRASSLANDS TRL                                                                      SANTA FE          NM      87508
ROBERT MCCOY                                                             1206 FAIR AVE                                                                          GAINSVILLE        TX      76240
ROBERT MCCOY                                                             5277 HORSESHOE LN                                                                      ROYSE CITY        TX      75189


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             CreditorName                  CreditorNoticeName                         Address1                             Address2                 Address3           City        State       Zip      Country
ROBERT MCGINNIS                                                         2600 AMERICARE CT NW APT 5202                                                          ALBURQUERQUE        NM      87120
ROBERT MCKEAIGG                                                         606 E RAINEY                                                                           WEATHERFORD         OK      73096
ROBERT MCMAHON                                                          523 DUMAINE ST 15                                                                      NEW ORLEANS         LA      70116
ROBERT MCMAHON                                                          523 DUMANIEN ST                                                                        NEW ORLEANS         LA      70116
ROBERT METZGER                                                          61 PORTAGE LANE                                                                        SHARPSBURG          GA      30277
ROBERT MEYER TIC                                                        2304 WEST JACKSON                                                                      BROKEN ARROW        OK      74012
ROBERT MOORE                                                            2212 NW 59TH ST                                                                        OKLAHOMA CITY       OK      73112

ROBERT MOORE MURPHY & SHIRLEY LOVE                                      401 SOUTH RIDGE DR                                                                     STILLWATER          OK      74074
ROBERT MOORMAN                                                          9606 S COYLE RD                                                                        COYLE               OK      73027-2204
ROBERT MORRIS                                                           170 BONNEVILLE DR APT 3                                                                S FORK              CO      81154-9411
ROBERT MOUNGER                                                          4450 OLD CANTON RD STE 203                                                             JACKSON             MS      39211
ROBERT N & SUSAN E STREETER HW JT                                       2709 S WASHINGTON ST                                                                   STILLWATER          OK      74074-6959
ROBERT N WELCH                                                          13410 PINEROCK LN                                                                      HOUSTON             TX      77079
ROBERT NESTER                                                           10602 LEAFWOOD LN                                                                      AUSTIN              TX      78750-3418
ROBERT NEWHOUSE                                                         5114 LOCUST                                                                            BELLAIRE            TX      77401
ROBERT NEWTON WOLFE                                                     1971 MT HOPE CHURCH ROAD                                                               MCLEANSVILLE        NC      23701
ROBERT NICKLES                                                          24503 OLD WINDMILL TR                                                                  HOCKLEY             TX      77447
ROBERT NORTON                                                           PO BOX 164                                                                             PERRY               OK      73077
ROBERT OLAN BARTEL BARTEL'S RENTAL                                      HCR 65 Box 2                                                                           Southard            OK      73770
ROBERT ONEAL                                                            904 BIRDCREEK LN                                                                       GUTHRIE             OK      73044
ROBERT OTEY                                                             2301 SILVER SPUR CT                                                                    EDMOND              OK      73034-1540
ROBERT OUTLAW                                                           611 DEANO DR                                                                           TUTTLE              OK      73089-8623
ROBERT OWENS                                                            4913 SE RANDOLPH RD                                                                    LAWTON              OK      73501-6445
ROBERT OWSLEY                                                           PO Box 475                                                                             SELMA               OR      97538
ROBERT P LAMMERTS                                                       1000 W WILSHIRE BLVD STE 201                                                           OKLAHOMA CITY       OK      73116-7003
ROBERT P LAMMERTS ESTATE                                                1509 GUILFORD LANE                                                                     NICHOLS HILLS       OK      73120
ROBERT PAINTON                                                          560 THORNTON RD                                                                        LITHIA SPRINGS      GA      30122
ROBERT PATTERSON                                                        PO BOX 52610                                                                           TULSA               OK      74152
ROBERT PAUL GRANT                                                       1502 FIRST STREET                                                                      SANGER              TX      76266
ROBERT PERRY                                                            314 W CHARLES BUSSEY APT B                                                             LITTLE ROCK         AR      72206-1551
ROBERT PETERSEN                                                         2201 CAROLIN DR                                                                        DUNCAN              OK      73533-3203
ROBERT PHELPS                                                           5012 TURTLE LAKE CT                                                                    OKLAHOMA CITY       OK      73165-5611
ROBERT PRATT                                                            10282 N 2431 RD                                                                        WEATHERFORD         OK      73096
ROBERT R CHAPMAN                                                        2020 TIMBERWYCK LN                                                                     BURLINGTON          KY      41005-2500
ROBERT RADFORD                                                          5968 ELDERWOOD DRIVE                                                                   DALLAS              TX      75230
ROBERT RAINES                                                           15813 BRECCIA RD                                                                       OKLAHOMA CITY       OK      73170-7662
ROBERT RANDOLPH                                                         2216 W OAKRIDGE ST                                                                     BROKEN ARROW        OK      74012-4727
ROBERT RAY QUIRE                                                        1667 CREEK STREET                                                                      ROCHESTER           NY      14625
ROBERT REISTER                                                          320 N WHITNI LANE                                                                      SIOUX FALLS         SD      57107
ROBERT RENNER                                                           7621 CANYAN LAKES DR                                                                   OKLAHOMA CITY       OK      73142
ROBERT REYNOLDS                                                         5939 SUNSET BLVD                                                                       LOS ANGELES         CA      90028
ROBERT RILEY                                                            4845 NORTH OAKLEY AVENUE                                                               CHICAGO             IL      60625
ROBERT ROGINSON                                                         500 LA LOMA RD                                                                         PASADENA            CA      91105
ROBERT ROSCH                                                            10 S MUIRFIELD LN                                                                      BEAR                DE      19701-4754
ROBERT ROSHELL                                                          906 MICKLEGATE AVE                                                                     LAWTON              OK      73505-4134
ROBERT S KEISTER                                                        18937 SAN BLAS ST                                                                      FOUNTAIN VALLEY     CA      92708
ROBERT S TAYLOR                                                         10859 E KIVA AVE                                                                       MESA                AZ      85209
                                                                                                                      9211 Lake Hefner
Robert S. Jarvis                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                     c/o Laminack, Pirtle & Martines,
Robert S. Jarvis                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Robert S. Jarvis                                                        286 Hillside Dr                                                                        Harrah              OK      73045
ROBERT SANDERS                                                          2607 WOLFLIN AVE #132                                                                  AMARILLO            TX      79109
ROBERT SATTERFIELD                                                      5707 JAMES RD                                                                          NORTH LITTLE ROCK   AR      72118
ROBERT SCHACHER                                                         5832 WALES AVE                                                                         FORT WORTH          TX      76133
ROBERT SCHEDLER                                                         15 W SAWYER RIDGE DR                                                                   THE WOODLANDS       TX      77389
ROBERT SCHLANGER                                                        2212 BELLEFONTAINE ST STE C                                                            HOUSTON             TX      77030-3276
ROBERT SCOBEY                                                           239 COUNTRYSIDE DR                                                                     FRANKLIN            TN      37069-4126


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              CreditorName                  CreditorNoticeName                      Address1                             Address2              Address3            City       State       Zip      Country
ROBERT SCOGIN                                                         PO BOX 1197                                                                         KERMIT             TX       79745
ROBERT SCOTT                                                          27204 S HIGHWAY 125 UNIT 18                                                         MONKEY ISLAND      OK       74331-3063
ROBERT SCOTT                                                          211 N ROBINSON SUITE 1525                                                           OKLAHOMA CITY      OK       73102
ROBERT SHELTON                                                        PO BOX 606                                                                          MARLAND            OK       74644
ROBERT SHERMAN                                                        90 FISHERS RD                                                                       KIMBERLING CITY    MO       65686
ROBERT SHIPPY                                                         22272 MARKET RD                                                                     PARMA              ID       83660
ROBERT SIDNEY MCBEE                                                   3716 MEADOWLAKE DR.                                                                 ALAVARDO           TX       76009
ROBERT SIMMA                                                          401 FAIRWAY DR                                                                      PERKINS            OK       74059
ROBERT SKOUBY                                                         6707 W BLUFF DR                                                                     MAGNOLIA           TX       77354
ROBERT SKOUBY                                                         9045 GOLDFINCH CT                                                                   MENTOR             OH       44060
                                                                                                                    9211 Lake Hefner
Robert Smith                         c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104        Oklahoma City      OK       73120
Robert Smith                         c/o Girardi Keese                Attn: Thomas V. Girardi                       1126 Wilshire Blvd                    Los Angeles        CA       90017
ROBERT SMITH                                                          1416 DEL NORTE DR                                                                   EDMOND             OK       73003
ROBERT SMITH                                                          3404 LIVE OAK LANE                                                                  STILLWATER         OK       74075
Robert Smith                                                          113 East Marie Dr                                                                   Stillwater         OK       74075
ROBERT SNYDER                                                         19855 CHARTWELL HILL                                                                EXCELSIOR          MN       55331-7034
ROBERT SNYDER                                                         13913 E 68TH ST                                                                     CUSHING            OK       74023-6121
Robert Sowder                        c/o Allen Stewart, PC            Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000       Dallas             TX       75070
Robert Sowder                        c/o Drummond Law, PLLC           Attn: Donald A Lepp                           1500 South Utica      Ste. 400        Tulsa              OK       74104
Robert Sowder                        c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                         747 3rd Ave                           New York           NY       10017
Robert Sowder                                                         745 E 2nd St                                                                        Hallett            OK       74034
ROBERT SPENCER                                                        1002 OAKRIDGE DR                                                                    STILLWATER         OK       74074
ROBERT SPENCER                                                        4607 SHERMAN LAKE DR                                                                STILLWATER         OK       74074-9589
ROBERT STARLING                                                       103 N TRANSPORT RD                                                                  LAVERNE            OK       73848
ROBERT STEWART                                                        418 VALLEY HI CIR APT B                                                             COLORADO SPRINGS   CO       80910-2685
ROBERT STEWART                                                        390 CAMBRIDGE ST                                                                    SPRINGFIELD        OR       97477-1417
ROBERT STIGALL AND DIANA L STIGALL                                    1708 FAIRWAY DR                                                                     PERKINS            OK       74059
ROBERT STOLZ                                                          6741 ALLISONVILLE ROAD                                                              INDIANAPOLIS       IN       46220
ROBERT STUCHAL                                                        PO BOX 2793                                                                         COPPELL            TX       75019-8793
ROBERT SUMNER                                                         PO BOX 994                                                                          IOWA PARK          TX       76367

ROBERT SWANSON & CAROLYN SWANSON                                      4501 N HWY 74 SERVICE RD                                                            CRESCENT           OK       73028
ROBERT T HEDGES LIFE ESTATE                                           PO BOX 634                                                                          SEILING            OK       73663
ROBERT TEMPLETON                                                      5802 LOOKOUT MOUNTAIN DR                                                            AUSTIN             TX       78731-3618
ROBERT THEDFORD                                                       2722 W PURDUE                                                                       ENID               OK       73703
ROBERT THOMAS                                                         1412 JACKSON ST                                                                     CHILLICOTHE        MO       64601
ROBERT THOMAS                                                         2820 N HUNTLEIGH DR                                                                 OKLAHOMA CITY      OK       73120
ROBERT TINKER                                                         807 S MONROE                                                                        STILLWATER         OK       74074
ROBERT TINNEN                                                         710 ENGLEMAN PLACE                                                                  LOVELAND           CO       80538
ROBERT TUCKER                                                         603 ERICA LN                                                                        EULESS             TX       76039-3774
ROBERT V BRITTON & DONNA M BRITTON                                    44793 OAK POND DR                                                                   SHAWNEE            OK       74804-1054
ROBERT VALLA                                                          759 ROCKY POINT RD                                                                  BLACKWELL          TX       79506-3025
ROBERT VAUGHAN                                                        5544 COLETOVILLE ROAD                                                               VICTORIA           TX       77905
ROBERT VOYLES                                                         395 13TH AVENUE                                                                     VERO BEACH         FL       32962
ROBERT W & ALFREDA L TIBBETT                                          58671 N 2060 ROAD                                                                   VICI               OK       73859-5054
ROBERT W BARNES                                                       906 SOUTH PINE STREET                                                               STILLWATER         OK       74075
ROBERT W COOK DECEASED                                                101 ROBERT DRIVE                                                                    MEDICINE LODGE     KS       67104-1179
ROBERT W STROUD LIVING TRUST                                          13512 TUSCANY DR                                                                    OKLAHOMA CITY      OK       73170
ROBERT W WARING ESTATE                                                2601 NW EXPRESSWAYSTE 301E                                                          OKLAHOMA CITY      OK       73112
ROBERT WALTER FRENCH JR                                               1234 N WYANDOTTE                                                                    DEWEY              OK       74029
ROBERT WALTER VAN ALLER                                               5730 KAY DR                                                                         FORT WORTH         TX       76119
ROBERT WALTERS                                                        9508 S ALLEN DR                                                                     OKLAHOMA CITY      OK       73139-5302
ROBERT WARD BOURLON                                                   2155 HARRISON AVE                                                                   HARRAH             OK       73045
ROBERT WAYNE HOLMAN                                                   PO BOX 66                                                                           PADEN              OK       74860-0066
ROBERT WEAVER                                                         5005 W 1ST AVE                                                                      STILLWATER         OK       74074-6895
ROBERT WECKSTEIN                                                      7311 E AIRPORT RD                                                                   GLENCOE            OK       74032
ROBERT WELCH                                                          PO BOX 4628                                                                         HORSESHOE          TX       78657
ROBERT WELLS                                                          126 HIGHRIDGE CIR                                                                   PITTSBURG          PA       15234


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             CreditorName           CreditorNoticeName                         Address1                             Address2                 Address3            City      State       Zip      Country
ROBERT WERTHER                                                   1910 W CHEROKEE AVE                                                                    ENID               OK      73703
ROBERT WEST                                                      6550 STATE RTE 550                                                                     LOWELL             OH      45744
ROBERT WHITE                                                     PO BOX 282                                                                             PAWNEE             OK      74058-0282
ROBERT WHITEHILL                                                 PO Box 3627                                                                            TULSA              OK      74101
ROBERT WILCZEK                                                   2444 US HIGHWAY 34                                                                     DRAKE              CO      80515-9710
ROBERT WILEY                                                     4107 SAUNDRALANE DRIVE NW                                                              HUNTSVILLE         AL      35805
ROBERT WILLARD                                                   706 GRAND BLVD                                                                         COLORADO SPRINGS   CO      80911-1848
ROBERT WILLIAMS                                                  2600 CACTUS DR                                                                         EDMOND             OK      73013-7905
ROBERT WILLIAMS                                                  4304 ROCK CANYON ROAD                                                                  EDMOND             OK      73025
ROBERT WISS                                                      690 BRIAR DALE DR                                                                      CATTLE PINES       CO      80108
ROBERT WITTY                                                     3906 ALAMEDA PLACE                                                                     SAN DIEGO          CA      92103
ROBERT ZALOUDEK                                                  PO BOX 187                                                                             KREMLIN            OK      73753
                                                                                                               9211 Lake Hefner
Robert Alexander Sr.          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Robert Alexander Sr.          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Robert Alexander Sr.                                             13012 S Luther Rd                                                                      Newalla            OK      74857
                                                                                                               9211 Lake Hefner
Robert Caldwell               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Robert Caldwell               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Robert Caldwell                                                  5011 Edgar Rd                                                                          Guthrie            OK      73034
                                                                                                               9211 Lake Hefner
Robert Lang                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Robert Lang                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Robert Lang                                                      4575 West Canyon Rd                                                                    Guthrie            OK      73034
                                                                                                               9211 Lake Hefner
Robert Mallett                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Robert Mallett                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Robert Mallett                                                   4275 Oak Valley                                                                        Guthrie            OK      73044
                                                                                                               9211 Lake Hefner
Robert Simpson                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Robert Simpson                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Robert Simpson                                                   8913 N. Midwest Blvd                                                                   Jones              OK      73049
                                                                                                               9211 Lake Hefner
Robert Sullivan               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Robert Sullivan               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Robert Sullivan                                                  2513 NW 115th St                                                                       Oklahoma City      OK      73120
ROBERTA BECKER                                                   2730 EL CAPRICE DRIVE                                                                  RANCHO CORDOVA     CA      95670
ROBERTA CANTWELL                                                 ROUTE 2 BOX 1                                                                          TURPIN             OK      73950-9501
ROBERTA CARMACK FIORETTA                                         550 N LINCOLN AVE #100                                                                 LOVELAND           CO      80537
ROBERTA COMBS                                                    10 MICHELE MANOR                                                                       HANAHAN            SC      29410-8605
                                                                                                               9211 Lake Hefner
Roberta E Brown-Fanning       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Roberta E Brown-Fanning       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Roberta E Brown-Fanning                                          4705 S. Serene Dr                                                                      Ripley             OK      74062
ROBERTA HARRIS                                                   104 BARTRAM ROAD                                                                       SAVANNAH           GA      31411
ROBERTA HAZEN                                                    53600 S 36800 RD                                                                       CLEVELAND          OK      74020
ROBERTA HOPKINS                                                  324 W IRVING ST                                                                        BLUE SPRINGS       NE      68318-3035
ROBERTA I HOLLEN                                                 13757 WHIPPOORWILL DR                                                                  CHOCTAW            OK      73020-7108
ROBERTA J YOST LE                                                12642 NE 80TH ST                                                                       KIRKLAND           WA      98033
ROBERTA JACK MOTE                                                17692 DEER RIDGE LN                                                                    STILLWATER         OK      74073
ROBERTA L EARNEST REV TRUST                                      108 S PAROTTE                                                                          RIPLEY             OK      74062-6354
ROBERTA MILLER                                                   132 E 35TH ST APT 13E                                                                  NEW YORK           NY      10016


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ROBERTA MONTGOMERY FONVILLE EXMT TR                                      PO Box 751                                                                             EL DORADO          AR      71731-0751
ROBERTA PEDIGO                                                           433 TERRACE PLACE                                                                      NORMAN             OK      73069
ROBERTA WEHR                                                             3894 E CR 67                                                                           MULHALL            OK      73063
ROBERTA WEHR LIFE TENANT                                                 3894 E CR 67                                                                           MULHALL            OK      73063
                                                                                                                       9211 Lake Hefner
Roberta Pendarvis                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Roberta Pendarvis                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Roberta Pendarvis                                                        1713 NE 44th St                                                                        Oklahoma City      OK      73111
ROBERTS 1985 JOINT REV TRUST                                             808 SOUTH MAIN SUITE 314                                                               STILLWATER         OK      74074
ROBERTS FAMILY REV LIV TRUST                                             PO BOX 165                                                                             ADA                OK      74821
ROBERTS FAMILY TRUST                                                     PO BOX 5844                                                                            ENID               OK      73702
Roberts, Jeffrey                      c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK      74074
Robertson, Christopher                c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
ROBERTTA LEE                                                             15408 GADDY RD                                                                         SHAWNEE            OK      74801
ROBERTY PRYOR                                                            6191 S MESQUITE TRAIL                                                                  TUCSON             AZ      85747-9314
ROBETHA FARISS                                                           PO BOX 249                                                                             LEEDEY             OK      73654-0249
                                                                                                                       9211 Lake Hefner
Robin A. Lang                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Robin A. Lang                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Robin A. Lang                                                            4575 West Canyon Rd                                                                    Guthrie            OK      73034
ROBIN BANNON                                                             7471 BIGBEND COURT                                                                     KEYSTONE HEIGHTS   FL      32656
ROBIN BISKIS                                                             1601 NW EXPRESSWAY                                                                     OKLAHOMA CITY      OK      73118-1433
ROBIN BOGGS                                                              805 MIRA DR                                                                            COLORADO SPRINGS   CO      80906
ROBIN BULLER                                                             10424 N IMO RD                                                                         ENID               OK      73703
ROBIN CARLTON                                                            5005 SE 134TH STREET                                                                   OKLAHOMA CITY      OK      73165
ROBIN CHOATE                                                             1914 N 42ND                                                                            ENID               OK      73701
ROBIN GREGORY                                                            5043 QUAKER ST                                                                         GOLDEN             CO      80403-1630
ROBIN GRIFFIN                                                            2255 S O ST                                                                            BLACKWELL          OK      74631
ROBIN HARRIS                                                             9001 HOLIDAY DR                                                                        ODESA              TX      79765
ROBIN IMAN                                                               993 HIGHWAY 614                                                                        HOUGHTON           LA      71037
ROBIN K HARTZELL                                                         125 S ANNA ST                                                                          WICHITA            KS      67209
ROBIN KELLY                                                              701 SOUTH JARDOT                                                                       STILLWATER         OK      74074
ROBIN LAYMAN                                                             165830 EIGHT MILE RD                                                                   MARLOW             OK      73055
ROBIN LYNNE ROGERS                                                       6402 VIRGINIA FIELDS DRIVE                                                             KATY               TX      77494
ROBIN NICHOLAS                                                           PO BOX 167                                                                             MULHALL            OK      73063
ROBIN OIL & GAS CORP                                                     PO BOX 720420                                                                          OKLAHOMA CITY      OK      73172-0420
ROBIN PASCHALL                                                           217 COUNTRY PL RD                                                                      WILMINGTON         NC      28409
ROBIN RAY                                                                12873 CAMINITO DE LAS OLAS                                                             DEL MAR            CA      92014
ROBIN SEWELL                                                             8346 S TOLEDO AVE                                                                      TULSA              OK      74137
ROBIN SPEER                                                              23 SPRING ST APT 4D                                                                    CABOT              AR      72023-2455
ROBIN SQUIRES                                                            2850 E 72ND STREET                                                                     TULSA              TX      74136
                                                                                                                       9211 Lake Hefner
Robin Coker                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Robin Coker                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Robin Coker                                                              350240 E. 1030 Rd                                                                      Prague             OK      74864
                                                                                                                       9211 Lake Hefner
Robin Harrison                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Robin Harrison                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Robin Harrison                                                           11005 N. Eagle Lane                                                                    Oklahoma City      OK      73162
ROBINETTE FAMILY REV TRUST                                               12008 S 66TH ST                                                                        WAUKOMIS           OK      73773
ROBINOWITZ OIL COMPANY                                                   2810 E. 34TH STREET                                                                    TULSA              OK      74105
ROBINSON CONSTRUCTION LLC                                                PO BOX 807                                                                             POTEAU             OK      74953
ROBRO ROYALTY PARTNERS LTD                                               PO BOX 671208                                                                          DALLAS             TX      75367-1208
ROBSON HOLDINGS LLC                                                      PO BOX 986                                                                             CLAREMORE          OK      74018-0986


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ROBTRICE LAND & INVESTMENTS LLC                                         17 E 1ST ST                                                                             EDMOND          OK       73034
ROBYN FRAZIER                                                           PO BOX 320274                                                                           TAMPA           FL       33679
ROBYN IVERSON                                                           PO BOX 1056                                                                             DARRINGTON      WA       98241
ROBYN LEININGER                                                         6975 SMOKE TREE RD #182                                                                 PHELAN          CA       92371
ROBYN MARIE LARSEN                                                      11422 NEST COURT                                                                        PORT RICHEY     FL       34668
ROBYN MESLIN                                                            13925 BARNETT PL                                                                        FISHERS         IN       46038
ROBYN MILLBURN                                                          17598 LEWIS LANE                                                                        CALDWELL        ID       83607
                                                                                                                      9211 Lake Hefner
Robyn Pasternack                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                     c/o Laminack, Pirtle & Martines,
Robyn Pasternack                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Robyn Pasternack                                                        1517 Faircloud Ct                                                                       Edmond          OK       73034
ROC SERVICES COMPANY LLC                                                PO BOX 641063                                                                           DALLAS          TX       75264-1063
Rochester Windom                     c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX       75070
Rochester Windom                     c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK       74104
Rochester Windom                     c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY       10017
Rochester Windom                                                        440 E. Jump Ave                                                                         Fairfax         OK       74637
ROCK CAPITAL GROUP LLC                                                  6020 RANCH DRIVE SUITE C-4                                                              LITTLE ROCK     AR       72223
ROCK FUND I LTD                                                         1000 BALLPARK WAY STE 216                                                               ARLINGTON       TX       76011-5171
ROCK ISLAND EXPLORATION LLC                                             PO BOX 307                                                                              OKLAHOMA CITY   OK       73101
ROCKELL JOHNSON                                                         2205 TARVER RD                                                                          BURLESON        TX       76028-1725
ROCKFORD ENERGY PARTNERS III LLC                                        15 EAST 5TH ST STE 2800                                                                 TULSA           OK       74103-4335
ROCKFORD EXPLORATION INC                                                PO BOX 14450                                                                            TULSA           OK       74159-1450
ROCKIES EXPRESS PIPELINE LLC                                            4200 W 115TH ST STE 350                                                                 LEAWOOD         KS       66211-2609
ROCKIN K RANCH LLC                                                      601 S WASHINGTON ST # 141                                                               STILLWATER      OK       74074-4539
ROCKWATER ENERGY SOLUTIONS                                              PO BOX 203997                                                                           DALLAS          TX       75320-3997
ROCKWATER MID-CON LLC                                                   PO BOX 203997 DEPT 18705                                                                DALLAS          TX       75320-3997
ROCKWELL RESOURCES INC                                                  PO BOX 99626                                                                            OKLAHOMA CITY   OK       73119
ROCKY BLASIER                                                           12023 W 68TH ST                                                                         COYLE           OK       73027-6404
ROCKY CALDWELL                                                          1713 HATHAWAY ST                                                                        PONCA CITY      OK       74604
ROCKY COOPER                                                            1519 N. OKLAHOMA ST.                                                                    TRYON           OK       74875
ROCKY MOUNTAIN PERMIT SERVICES                                          7100 N CLASSEN BLVD STE 400                                                             OKLAHOMA CITY   OK       73116-7101
ROCKY MOUNTAIN PERMIT SERVICES                                          7100 N Classen Blvd Ste 400                                                             Oklahoma City   OK       73116-7101
ROCKY ROAD LLC                                                          8282 S MEMORIAL DR STE 106                                                              TULSA           OK       74133-4311
ROCKY SHENOLD                                                           PO BOX 54                                                                               GLENCOE         OK       74032
ROCKY SPRACKLEN                                                         770017 S 3420 RD                                                                        AGRA            OK       74824-8470
ROCKY SUTTON                                                            PO Box 1603                                                                             STILLWATER      OK       74076
ROCKY TAYLOR                                                            342721 EAST 800 ROAD                                                                    TRYON           OK       74875
ROCKY W STEBENS AND                                                     2124 EAST WILL ROGERS DRIVE                                                             STILLWATER      OK       74075
                                                                                                                      9211 Lake Hefner
Rocky Webb                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK       73120
                                     c/o Laminack, Pirtle & Martines,
Rocky Webb                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX       77006
Rocky Webb                                                              105061 S. 3490 Rd                                                                       Prague          OK       74864
ROD GOODNER & LORETTA J GOODNER                                         3223 E 2ND AVE                                                                          STILLWATER      OK       74074
ROD LIMKE                                                               PO BOX 18916                                                                            OKLAHOMA CITY   OK       73154-0916
RODAN TRANSPORT (U.S.A.) LTD                                            PO BOX 677619                                                                           DALLAS          TX       75267-7619
RODCO HYDRAULICS LLC                                                    PO BOX 2671                                                                             STILLWATER      OK       74076-2671
RODELLA MINERALS LLC                                                    10320 N CHATFIELD DR                                                                    LITTLETON       CO       80125-9604
RODEN ENTERPRISES LLC                                                   5009 S RANGE RD                                                                         STILLWATER      OK       74074
RODENIA G FLETCHER                                                      113 WAYFOREST DRIVE                                                                     VENICE          FL       34292
RODERICK D JOHNSON AND                                                  2715 E WILL ROGERS DR                                                                   STILLWATER      OK       74075
RODERICK LEE TERREL                                                     315 LONG STREET                                                                         HURTSBORO       AL       36860
RODERICK TERREL                                                         315 LONG ST                                                                             HUNTSBOUROUGH   AL       36860
RODGER SCHUERMANN                                                       1000 MANOR HILL DR                                                                      NORMAN          OK       73072
RODKEY OIL TRUST                                                        PO BOX 631166                                                                           NACOGDOCHES     TX       75963
RODNEY & MYRA RICHARDSON FAMILY TR                                      2729 FLORIDA AVENUE                                                                     GUTHRIE         OK       73044
RODNEY & REBECCA THOMPSON TRST                                          15602 SEASIDE LN                                                                        HOUSTON         TX       77062-4229
RODNEY CAPPS                                                            1274 SHEVCHENKO DR                                                                      ANN ARBOR       MI       48103


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RODNEY COOK                                                        38 W MISTY MORNING TRACE                                                               THE WOODLANDS   TX    77381
RODNEY CYPHERS                                                     PO BOX 192                                                                             MULHALL         OK    73063
RODNEY D & LINDA BOHLENDER                                         PO Box 2640                                                                            MIDLAND         TX    79702
                                                                                                                 9211 Lake Hefner
Rodney E. McDonald              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                c/o Laminack, Pirtle & Martines,
Rodney E. McDonald              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Rodney E. McDonald                                                 3702 Beal Ave                                                                          Spencer         OK    73084
RODNEY EELLS                                                       453 WHITE CLOUD DR                                                                     BOISE           ID    83709
                                                                                                                 9211 Lake Hefner
Rodney Farrow                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
Rodney Farrow                   c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles     CA    90017
Rodney Farrow                                                      817 W Grandstaff                                                                       Cushing         OK    74023
RODNEY FERGUSON                                                    1803 AIRPORT RD STES F & G                                                             HOT SPRINGS     AR    71913
RODNEY HEWITT                                                      2811 RAINTREE CIRCLE                                                                   NORMAN          OK    73072
RODNEY HUFFER                                                      23350 N HIGHWAY 74                                                                     MARSHALL        OK    73056
RODNEY HULETT                                                      RR 1 BOX 88                                                                            GOTEBO          OK    73041
                                                                                                                 9211 Lake Hefner
Rodney Hunt                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                c/o Laminack, Pirtle & Martines,
Rodney Hunt                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Rodney Hunt                                                        13521 N Cincinnati                                                                     Skiatook        OK    74070
RODNEY JAMES LUCKINBILL                                            4700 WEST SEWARD RD                                                                    GUTHERIE        OK    73044
RODNEY JONES                                                       7716 N 4TH ST                                                                          MCALLEN         TX    78504-1853
RODNEY KEITH RIST                                                  344 W 113TH ST S                                                                       JENKS           OK    74037-3349
RODNEY LAUER                                                       PO BOX 174                                                                             CANTON          KS    67428
RODNEY LIGHTY                                                      2314 W FIR ST                                                                          PERRY           OK    73077
RODNEY LYNN KROUTIL REV TRUST                                      6001 SANDSAGE                                                                          EDMOND          OK    73034
RODNEY M HANSEN                                                    2664 E WATERFORD                                                                       FRESNO          CA    93720
RODNEY MCCOY                                                       18121 W DIXON PL                                                                       MULHALL         OK    73063
                                                                                                                 9211 Lake Hefner
Rodney McDonell                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                c/o Laminack, Pirtle & Martines,
Rodney McDonell                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Rodney McDonell                                                    11401 E. 61st Pl                                                                       Broken Arrow    OK    74012
RODNEY RAINS                                                       526 N PRESCOTT ST                                                                      WICHITA         KS    67212-5420
RODNEY ROLSTON                                                     6391 DE ZAVALA RD STE 202                                                              SAN ANTONIO     TX    78249-2145
                                                                                                                 9211 Lake Hefner
Rodney Roy                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                c/o Laminack, Pirtle & Martines,
Rodney Roy                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Rodney Roy                                                         3305 S. 93rd E. Ave.                                                                   Tulsa           OK    74145
RODNEY SCOT DVORAK TRUST                                           10751 CHISHOLM                                                                         PERRY           OK    73077
RODNEY STEWART                                                     3015 S ELIZABETH                                                                       WICHITA         KS    67217
RODNEY UPSHAW                                                      6200 SPICE WAY APT 7                                                                   BAKERSFIELD     CA    93309
                                                                                                                 9211 Lake Hefner
Rodney V. McDonell              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                c/o Laminack, Pirtle & Martines,
Rodney V. McDonell              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Rodney V. McDonell                                                 11401 E. 61st Pl                                                                       Broken Arrow    OK    74012
RODNEY VENABLE                                                     6909 E YOST                                                                            GLENCOE         OK    74032
RODNEY WAYNE EGGERS                                                35367 MISSION BELLEVIEW RD                                                             LOUISBURG       KS    66053
RODNEY WAYNE HAFNER                                                1909 MULBERRY LANE                                                                     GREAT BEND      KS    67530
RODNEY WEARY                                                       PO BOX 91                                                                              BELTON          MO    64012
RODNEY WEARY                                                       10842 HASKINS ST                                                                       OVERLAND PARK   KS    66210
RODNEY WILSON                                                      7111 S JAROT RD                                                                        STILLWATER      OK    74074
RODNEY WISS                                                        883 E C RD 70                                                                          MULHALL         OK    73063
                                                                                                                 9211 Lake Hefner
Rodney Hickey                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120


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              CreditorName                  CreditorNoticeName                             Address1                         Address2                  Address3              City   State       Zip      Country
                                      c/o Laminack, Pirtle & Martines,
Rodney Hickey                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Rodney Hickey                                                            3322 Pleasant Dr                                                                        Oklahoma City     OK      73110
RODRICK CARPENTER                                                        1280 COUNTY ROAD 32                                                                     TEXAS CREEK       CO      81223
RODRIGUEZ FAMILY TRUST                                                   46 LA TOYA TRAIL                                                                        WINBERLY          TX      78676
ROE ANN RAYNER                                                           1225 LAKESHORE DR #107                                                                  EDMOND            OK      73013
ROE ANN RAYNER & DONALD D RAYNER                                         1225 LAKESHORE DR #107                                                                  EDMOND            OK      73013
ROE RAYNER                                                               1217 SANTA FE DRIVE                                                                     CLINTON           OK      73601-2358
ROENE LOWRY                                                              1233 S 103RD EAST AVE                                                                   TULSA             OK      74128-4631
                                                                                                                       9211 Lake Hefner
Roger Noel                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Roger Noel                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Roger Noel                                                               8200 S. Lyman Rd                                                                        Oklahoma City     OK      73150
ROGER A FRANZ LIVING TRUST                                               214 FINK                                                                                SANGER            CA      93657
ROGER ALLEN CUNARD                                                       2124 TURTLE MOUNTAIN BEND                                                               AUSTIN            TX      78748
ROGER AND LINDA OMMEN                                                    79250 N 2060 RD                                                                         LEEDEY            OK      73654-6215
ROGER BARKER                                                             10 SUNSWEPT MESA                                                                        ALISO VIEJO       CA      92656-8074
ROGER BEAVERS                                                            PO BOX 5998                                                                             NORMAN            OK      73070
ROGER BISHOP                                                             PO BOX 173                                                                              KALAHEO           HI      96741-0173
ROGER BUNNEY                                                             9621 E 92ND ST                                                                          PERKINS           OK      74059-3776
ROGER BUTLER                                                             9013 S SAWGRASS CT                                                                      GRANBURY          TX      76049
ROGER CHRISCO AND                                                        13100 W INDUSTRIAL RD                                                                   GUTHRIE           OK      73044
ROGER CLARY                                                              938 SPIRIT LN                                                                           CHEYENNE          WY      82009-1859
ROGER CONAGHAN                                                           3115 S 85TH E AVE                                                                       TULSA             OK      74145
ROGER D & DEBORA P MORRIS HW                                             PO BOX 1145                                                                             CUSHING           OK      74023-1145
ROGER DEMOSS                                                             141 S SAHUARO DR                                                                        GILBERT           AZ      85233
ROGER DICKENS                                                            3411 LIVE OAK LN                                                                        STILLWATER        OK      74075
ROGER E & GAYLA J BATES FAM TR                                           PO BOX 790                                                                              PERKINS           OK      74059-0790
ROGER E BATES & GAYLA J BATES CO TT                                      PO BOX 790                                                                              PERKINS           OK      74059
ROGER E EDWARDS                                                          4330 N LINWOOD WAY                                                                      MERIDIAN          ID      83646

ROGER F JOHNSON                                                          5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY          TX      75070

ROGER F JOHNSON FAMILY LP                                                5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY          TX      75070
ROGER GILBERT AND TONYA R GILBERT J                                      1710 FAIRWAY DR                                                                         PERKINS           OK      74059

ROGER GREGORY                                                            5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY          TX      75070
ROGER HALL                                                               5628 RINES RIDGE ROAD                                                                   PROCTOR           WV      26055
ROGER HARWELL                                                            121 E SANDERSON ST                                                                      CRESCENT          OK      73028-9029
ROGER HECKMAN                                                            PO BOX 9524                                                                             BRECKENRIDGE      CO      80424
ROGER KINNEY                                                             11149 S 55TH WEST AVE                                                                   SAPULPA           OK      74066-9392
ROGER KIRKPATRICK                                                        6907 SAMMY CIRCLE                                                                       DALLAS            TX      75237
ROGER L SHERMAN                                                          1122 S XANTHUS PL                                                                       TULSA             OK      74104
ROGER L SNEED                                                            11919 W 44TH AVE                                                                        STILLWATER        OK      74074-2148
ROGER LANE                                                               7804 S WESTERN RD                                                                       STILLWATER        OK      74074
ROGER LEE JACK REV TRUST DTD 10-12-                                      8683 LAKE VIEW DR                                                                       KINGSTON          OK      73439
ROGER LEGRANT                                                            1311 W YORK AVE                                                                         ENID              OK      73703
ROGER M LEACHMAN                                                         742 SW VISTA AVE #36                                                                    PORTLAND          OR      97205
ROGER MANNING                                                            10725 BLOOMFIELD ST APT 2                                                               NORTH HOLLYWOOD   CA      91602
ROGER MAYO                                                               1041 SE 40 RD                                                                           BLUFF CITY        KS      67018
ROGER MILLS COUNTY CLERK                                                 PO BOX 708                                                                              CHEYENNE          OK      73628
ROGER MURPHY                                                             407 HILLS OF TEXAS TRAIL                                                                GEORGETOWN        TX      78633
ROGER MUSICK                                                             1525 SPRING CREEK DR                                                                    YUKON             OK      73099

ROGER N SYBRANT ROGER N SYBRANT REV                                      1205 KINGSTON                                                                           CASPER            WY      82601
ROGER N. SYBRANT                                                         1205 KINGSTON                                                                           CASPER            WY      82601
Roger Pappan                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Roger Pappan                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104


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             CreditorName                    CreditorNoticeName                             Address1                        Address2                  Address3              City     State       Zip      Country
Roger Pappan                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY      10017
Roger Pappan                                                             294 Whippoorwill Road                                                                   Ponca City          OK      74604
ROGER PORTER                                                             4220 S HENDERSON RD                                                                     STILLWATER          OK      74076-0735
ROGER RAINS                                                              3107 GREENHOWE DR                                                                       WILMINGTON          NC      28409-2564
ROGER REYON                                                              1371 BEECH SPRINGS ROAD                                                                 SALTILLO            MS      38866
ROGER RICHARDSON                                                         6415 W HARDESTY RD                                                                      CANEY               OK      74533
ROGER RIDGWAY                                                            9831 SOUTH MAPLEWOOD                                                                    TULSA               OK      74137
ROGER SEEFELDT                                                           2641 ASHEBRIAR LANE                                                                     EDMOND              OK      73034-5898
ROGER SIVARD                                                             36415 CLINE LN                                                                          GRAYSVILLE          OH      45734-9604
ROGER STEDRONSKY                                                         532 SAUK TRAIL                                                                          FONTANA             WI      53125
ROGER TAYLORS                                                            6618 WINDY ACRES                                                                        STILLWATER          OK      74074
ROGER THOMPSON                                                           1424 EASTERN AVE                                                                        STILLWATER          OK      74074
ROGER WINKELMANN                                                         404 W MAIN ST                                                                           BRENHAM             TX      77833
                                                                                                                       9211 Lake Hefner
Roger Fourroux                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Roger Fourroux                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX      77006
Roger Fourroux                                                           7908 Duane Dr                                                                           Oklahoma City       OK      73132
Rogers, Nicholas                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City       OK      73116
ROGGOW-WILSON VENTURE GROUP LC                                           408 WILDWOOD ACRES DRIVE                                                                STILLWATER          OK      74075
ROGO LOGO LLC                                                            1301 MCKINNEY ST SUITE 3150                                                             HOUSTON             TX      77010-3042
ROJELIO ORNELAS                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater          OK      74074
ROLAND ANTHIS                                                            10349 N HWY 77                                                                          MULHALL             OK      73063
Roland Bagby                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX      75070
Roland Bagby                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa               OK      74104
Roland Bagby                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York            NY      10017
Roland Bagby                                                             367202 E. 5620 Rd                                                                       Terlton             OK      74081
ROLAND BLUMER                                                            367190 E 5360 RD                                                                        CLEVELAND           OK      74020-6751
ROLAND GOODENOUGH                                                        402 21ST ST SE                                                                          AUBURN              WA      98002
ROLAND HARGIS                                                            6913 WOODRIDGE AVE                                                                      OKLAHOMA CITY       OK      73132-6204
ROLAND KEITH BATES 2003 REV TR                                           11149 NORTH 368 ROAD                                                                    OKEMAH              OK      74859
ROLAND RALPH VOISE &                                                     2516 CANYON RIDGE CT                                                                    ARLINGTON           TX      76006-4039
ROLAND SELIK BOND JR                                                     627 CORAL REEEF AVE                                                                     CARLSBAD            CA      92011
ROLAND STEWART                                                           PO BOX 1113                                                                             FALL CREEK          OR      97438-0113
                                                                                                                       9211 Lake Hefner
Rolena Dan-Farrow                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Rolena Dan-Farrow                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX      77006
Rolena Dan-Farrow                                                        8600 N. 123rd E. Ave                                                                    Owasso              OK      74055
ROLLA JAMES & JEANNE H SILKWOOD                                          6906 W ESECO RD                                                                         CUSHING             OK      74023-5878
ROLLA SILKWOOD                                                           6906 W ESECO RD                                                                         CUSHING             OK      74023-5878
ROLLIE DELBERT THEDFORD                                                  14901 N. PENNSYLVANIA AVE                                                               OKLAHOMA CITY       OK      73134
ROLLIE JOE EDWARDS                                                       123 HOMBRE CIRCLE                                                                       PANAMA CITY BEACH   FL      32407
ROLLING THUNDER LAND ENTERPRISES LL                                      2713 ORLANDO RD                                                                         OKLAHOMA CITY       OK      73120
ROLLING THUNDER OILFIELD SERVICES I                                      601 E ED TILLERY AVE                                                                    ELK CITY            OK      73644
ROLLINS KOPPEL                                                           PO BOX 271                                                                              HARLINGEN           TX      78551-0271
ROLLTHADICE LLC                                                          1704 S PERKINS RD                                                                       STILLWATER          OK      74074
ROMA L GRAY LVNG TRST                                                    152 SMOKEY RDG                                                                          ONALASKA            WA      98570-9452
ROMARCO INC                                                              100 WEST PARK AVENUE SUITE 306                                                          OKLAHOMA CITY       OK      73102
ROME ANN HOPKINS FAMLIY TRUST                                            21106 SONOMA                                                                            SAN ANTONIO         TX      78259
ROME HOPKINS                                                             21106 SONOMA                                                                            SAN ANTONIO         TX      78259
ROMY TAUBMAN TRUST                                                       PO BOX 1588                                                                             TULSA               OK      74101-1588
                                                                                                                       9211 Lake Hefner
Ron Simon                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ron Simon                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX      77006
Ron Simon                                                                11617 SE 44th St                                                                        Oklahoma City       OK      73150
                                                                                                                       9211 Lake Hefner
Ron Strahan                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK      73120


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                                      c/o Laminack, Pirtle & Martines,
Ron Strahan                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Ron Strahan                                                              14001 Plymouth Crossing                                                                 Edmond           OK      73013
RON & KAY EGGERS FAMILY TRUST DTD 2                                      11024 E LONGHORN TRAIL                                                                  FAIRMONT         OK      73736
Ron Barham                            c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Ron Barham                            c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Ron Barham                            c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Ron Barham                                                               416 W. 3rd St                                                                           Blackburn        OK      74058
RON BURTON                                                               613 W 47TH PL                                                                           SAND SPRINGS     OK      74063
RON COMINGDEER & ASSOCIATES                                              6011 NORTH ROBINSON AVENUE                                                              OKLAHOMA CITY    OK      73118
RON CYNTHIA A ADAMS                                                      11023 W TAYLOR CIR                                                                      WICHITA          KS      67212-5484
                                                                                                                       1051 N 3rd Street
Ron J. Henson, State Treasurer        Unclaimed Property Division        State Capitol Building Annex                  Room 150                                  Baton Rouge      LA      70802
RON LULL                                                                 1200 ROACH ST                                                                           SALINA           KS      67401-6246
RON MCINNIS                                                              4901 24TH ST                                                                            LUBBOCK          TX      79407
RON PERRYMAN                                                             426351 E 1167 RD                                                                        CHECOTAH         OK      74426
RON PLAGG                                                                1700 WEST COUNTY ROAD 74                                                                GUTHRIE          OK      73044
RON QUERRY                                                               1015 3RD ST                                                                             LAS VEGAS        NM      87701
RON SHOTTS                                                               PO BOX 52233                                                                            TULSA            OK      74152
                                                                                                                       9211 Lake Hefner
Ron Thompson                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ron Thompson                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Ron Thompson                                                             6331 E. 7th St                                                                          Tulsa            OK      74112
Ron Tussey                            c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Ron Tussey                            c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Ron Tussey                            c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Ron Tussey                                                               1308 Cedar Drive                                                                        Stillwater       OK      74075
RON WILLIAMSON                                                           3010 RIVERBEND DR                                                                       FORT SMITH       AR      72903-5322
                                                                                                                       9211 Lake Hefner
Ron Moore                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ron Moore                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Ron Moore                                                                4904 N. Sewell Ave                                                                      Oklahoma City    OK      73118
                                                                                                                       9211 Lake Hefner
Ron Throndson                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ron Throndson                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Ron Throndson                                                            1128 NW 45th St                                                                         Oklahoma City    OK      73118
RONA LAPILUSA                                                            104 HODGES CT                                                                           FOLSOM           CA      95630
RONALD & JULIE SCHAEFER REV TR                                           6320 KENSLOW DR                                                                         STILLWATER       OK      74074
RONALD & PATRICIA WELSH FAMILY TRUS                                      2922 W MCMURTRY RD                                                                      STILLWATER       OK      74075
RONALD AND CHERYL A LAFAVE JT                                            4307 S HENDERSON ST                                                                     STILLWATER       OK      74074-7204
RONALD AND LOUANN SNOW                                                   804 S BRETHREN RD                                                                       CUSHING          OK      74023-5828
RONALD ANDERSON                                                          1 SHOAL CT APT 35                                                                       SACRAMENTO       CA      95831-1433
RONALD ARMER                                                             911 PATSY ST                                                                            BAYTOWN          TX      77520
RONALD BEASLEY                                                           30605 HOLLYBERRY LN                                                                     TEMECULA         CA      92591
                                                                                                                       9211 Lake Hefner
Ronald Bensken                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ronald Bensken                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Ronald Bensken                                                           4000 S. Chestnut Ave                                                                    Broken Arrow     OK      74011
RONALD BISWELL                                                           1148 E 4TH ST                                                                           CUSHING          OK      74023-4113
RONALD BOSTIAN                                                           6303 E 104TH                                                                            PERKINS          OK      74059
RONALD BREWER                                                            PO BOX 18010                                                                            LAKE CHARLES     LA      70616-8010
                                                                                                                       9211 Lake Hefner
Ronald Brison                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120

Ronald Brison                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006


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Ronald Brison                                                            5721 N Hiwassee Rd                                                                      Choctaw          OK       73020
RONALD BROADRICK                                                         5114 ASHDOWN PL                                                                         MIDLAND          TX       79705
RONALD BROWN                                                             20002 E WILDERNESS TRCE                                                                 COOKSON          OK       74427-2090
RONALD BUSH                                                              PO BOX 111                                                                              VALPARAISO       IN       46384
RONALD C KOEHLER                                                         820 S MONACO PARKWAY 4B#423                                                             DENVER           CO       80224
RONALD C MICK                                                            5900 S LAKE FOREST DR STE 300                                                           MCKINNEY         TX       75070
                                                                                                                       9211 Lake Hefner
Ronald Campbell                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
Ronald Campbell                       c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles      CA       90017
Ronald Campbell                                                          5917 SE Morgan Dr                                                                       Guthrie          OK       73044
RONALD CASH                                                              1121 ROLLING OAKS RD                                                                    GROVE            OK       74344-3519
RONALD CHAIN                                                             PO BOX 68                                                                               POND CREEK       OK       73766
RONALD CHRISTIE EDDINGTON FAM TRST                                       695 BICKNELL RD                                                                         LOS GATOS        CA       95030
RONALD CLARK                                                             16249 NW MISSION OAKS DR                                                                BEAVERTON        OR       97006
RONALD CLARY                                                             PO BOX 286                                                                              PERKINS          OK       74059
RONALD COMBS                                                             884 PECK HILL RD                                                                        ROGERSVILLE      MO       65742-7145
RONALD COMPTON                                                           2020 W 26TH AVE                                                                         STILLWATER       OK       74074-6818
RONALD CORDES                                                            2414 GEM OAK                                                                            SAN ANTONIO      TX       78232
RONALD COX AND JOY DEAN COX                                              PO BOX 70                                                                               SEILING          OK       73663-0070
RONALD CRAIG JARDOT                                                      42837 15TH ST WEST UNIT 3                                                               LANCASTER        CA       93534
RONALD CRAWFORD                                                          701 N JARDOT ROAD                                                                       STILLWATER       OK       74075
RONALD D BROWN                                                           37391 JOHNSON RD                                                                        KONAWA           OK       74849-4810
RONALD DAVIS                                                             3047 ARMEN AVE                                                                          DAYTON           OH       45432
RONALD DECKER                                                            1102 S 66TH ST                                                                          ENID             OK       73701
RONALD E LAKE                                                            603 E 19TH AVE                                                                          STILLWATER       OK       74074
RONALD E RAMSEY TR                                                       PO BOX 155                                                                              SILOAM SPRINGS   AR       72761-0155
                                                                                                                       9211 Lake Hefner
Ronald E. Loper Jr.                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                      c/o Laminack, Pirtle & Martines,
Ronald E. Loper Jr.                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
Ronald E. Loper Jr.                                                      2409 NW 113th Pl                                                                        Oklahoma City    OK       73120
                                                                                                                       9211 Lake Hefner
Ronald Earnest Jr.                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
Ronald Earnest Jr.                    c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles      CA       90017
Ronald Earnest Jr.                                                       4210 E Burris Rd                                                                        Glencoe          OK       74032
RONALD EDDINGTON                                                         695 BICKNELL RD                                                                         LOS GATOS        CA       95030
RONALD FOWBLE                                                            PO BOX 5153                                                                             VACAVILLE        CA       95656
RONALD FRAKES                                                            10522 E ELMHURST DR                                                                     SUN LAKES        AZ       85248
RONALD G AVANTS                                                          2903 N PERKINS RD APT G101                                                              STILLWATER       OK       74075
RONALD G SNOW                                                            199 STANFORD AVE                                                                        MENLO PARK       CA       94025

RONALD G. BROWN RONALD G. BROWN REV                                      9012 E. Amherst Dr. #A                                                                  Denver           CO       80231
RONALD GROOM                                                             1517 E ROOSEVELT AVE                                                                    GUTHRIE          OK       73044
RONALD GRUBER                                                            101 N AGRA RD                                                                           CUSHING          OK       74023-6130
RONALD HAGER                                                             16080 W CALAVAR RD                                                                      SURPRISE         AZ       85379-5075
RONALD HAZZARD                                                           4803 S WILD TURKEY PASS DR                                                              STILLWATER       OK       74074-7607
RONALD HOGAN                                                             22131 TWIN LAKES WEST                                                                   PERRY            OK       73077
RONALD HOWE                                                              5 SHELTON PL                                                                            EDMOND           OK       73034
RONALD JACKSON                                                           3202 GLADE SPRINGS DR                                                                   KINGWOOD         TX       77339
RONALD JACOB                                                             3406 E 85TH PL                                                                          TULSA            OK       74137
Ronald James                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070
Ronald James                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK       74104
Ronald James                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY       10017
Ronald James                                                             1132 E. 3rd St                                                                          Cushing          OK       74023
RONALD JOE SIMPSON SR                                                    220 W MCELROY                                                                           STILLWATER       OK       74075
RONALD JOHNSON                                                           3218 S MAYWOOD AVE                                                                      INDEPENDENCE     MO       64052-1225
RONALD JONES                                                             11875 W TULANE DRIVE                                                                    MORRISON         CO       80465-1179
Ronald Junkas                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070
Ronald Junkas                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK       74104


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                                                                                                 Creditor Matrix


              CreditorName                 CreditorNoticeName                             Address1                        Address2                 Address3            City     State       Zip      Country
Ronald Junkas                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                              New York          NY      10017
Ronald Junkas                                                          4133 North Three Finger Bay Rd                                                         Mannford          OK      74044
RONALD KARRAKER                                                        611 North Jardot Road                                                                  STILLWATER        OK      74075
RONALD KISE                                                            8828 S QUEBEC AVE                                                                      TULSA             OK      74137-2709
RONALD L & JOAN A THOMPSON JT                                          402 FAIRWAY DR                                                                         PERKINS           OK      74059
RONALD L MARTIN                                                        629 S BONNIE LN                                                                        WATKINS           CO      80137-8907
RONALD LAEUGER                                                         17609 212 AVE E                                                                        ORTING            WA      98360
RONALD LEE BUCKLES                                                     PO BOX 9242                                                                            TRUCKEE           CA      96162
RONALD LEE PILKINTON                                                   3524 TARRAGON DRIVE                                                                    DECATUR           GA      30034
RONALD LISTON                                                          8316 S CLAY RD                                                                         CUSHING           OK      74023-6064
RONALD LUTE &                                                          8451 VENEZIA LANE                                                                      EDMOND            OK      73034
RONALD LYNN BROWN                                                      770440 S 3460 RD                                                                       AGRA              OK      74824-6337
RONALD MALLATT                                                         116 N ELM ST                                                                           GODDARD           KS      67052
RONALD MCAFEE                                                          1612 SARATOGA WAY                                                                      EDMOND            OK      73003-3550
RONALD MCCUBBIN                                                        3416 BAIRD DR                                                                          EDMOND            OK      73013
RONALD MEYER                                                           PO Box 550194                                                                          BIRMINGHAM        AL      35255
RONALD MILLER                                                          1205 S EQUINE DR                                                                       STILLWATER        OK      74074
RONALD MILLS                                                           1040 LANARK CT                                                                         SUNNYVALE         CA      94087
RONALD MONTGOMERY                                                      919 BUNKHOUSE TRL                                                                      ANGLETON          TX      77515-9680
RONALD NOTLEY                                                          712 LINDEN                                                                             CHICO             CA      95926
RONALD OCONNOR                                                         3706 E 103RD STREET                                                                    TULSA             OK      74137

RONALD P MISCHAK                                                       5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
RONALD PAYNE                                                           100 SUNSET AVE #50                                                                     EVANSTON          WY      82930
RONALD PEPMILLER                                                       756 J ALEXANDER RD                                                                     LOGANSPORT        LA      71049-2324
RONALD PERKINS                                                         11 EASTSHORE ROAD                                                                      HEATH             TX      75032
RONALD PFRIMMER                                                        7950 E RING ST                                                                         LONG BEACH        CA      90808-3124
RONALD R PETTIT REV LVG TR                                             1105 ELM AVE                                                                           RICHLAND          WA      99354
RONALD R ROOKEY & SANDRA L ROOKEY                                      1869 E YORK COURT                                                                      MARTINVILLE       IN      46151
RONALD REAVES                                                          2702 N RENO WAY                                                                        BOISE             ID      83704
RONALD REDDOUT                                                         931 BALAYE RIDGE CIR APT 204                                                           TAMPA             FL      33619-5093
RONALD ROBINSON                                                        501 S PERRY                                                                            ORLANDO           OK      73073-2108
RONALD SCONYERS                                                        3954 EAST MALLARD ST                                                                   HIGHLAND RANCH    CO      80126
RONALD SKEEN                                                           402 S JEFFERSON ST                                                                     STILLWATER        OK      74074-3315
RONALD SLOVER                                                          3614 ROYAL RD                                                                          AMARILLO          TX      79109
RONALD SMITH - (DECEASED)                                              1313 DAVIS                                                                             BORGER            TX      79007
RONALD SPILLMAN                                                        8580 W CO RD 61                                                                        MARSHALL          OK      73056
RONALD SYLVESTER                                                       17583 E MEADOW LN                                                                      CLAREMORE         OK      74017-2546
RONALD T CARDIFF                                                       11755 KEMPER ROAD                                                                      AUBURN            CA      95603
RONALD TARLTON                                                         1744 ROSWELL RD STE 230                                                                MARIETTA          GA      30062
RONALD TAYLOR                                                          2121 S BRETHREN RD                                                                     CUSHING           OK      74023-5833
RONALD TAYLOR AND JUDY K TAYLOR                                        2121 S BRETHREN RD                                                                     CUSHING           OK      74023
RONALD TRUITT                                                          PO BOX 44                                                                              TRYON             OK      74875-0044
RONALD W CASS REV TRUST                                                4013 CONTINENTAL PLACE                                                                 ENID              OK      73703
RONALD W STEWART                                                       6328 SE DUNBAR DRIVE                                                                   PORTLAND          OR      97236
RONALD WAGNER                                                          1516 RUHLAND AVE                                                                       MANHATTAN BEACH   CA      90266
RONALD WIEGAND                                                         11589 RANCH ELSIE RD                                                                   GOLDEN            CO      80403-8448
RONALD WIGGS                                                           6615 LAKE VIEW DR                                                                      GUTHRIE           OK      73044-7717
RONALD WILDER                                                          1608 HICKORY DR                                                                        CHILLICOTHE       OK      64601
RONALD WILFONG                                                         4801 DOE RUN DR                                                                        YUKON             OK      73099
RONALD WILLIAMS                                                        PO BOX 601007                                                                          JACKSONVILLE      FL      32260-1007
RONALD WILLIAMSON                                                      3010 RIVERBEND DR                                                                      FORT SMITH        AR      72903
RONALD WOLKE                                                           1610 N ATHENIAN                                                                        WICHITA           KS      67203
                                                                                                                     9211 Lake Hefner
Ronald Caraway                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                    c/o Laminack, Pirtle & Martines,
Ronald Caraway                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Ronald Caraway                                                         5500 Embers Dr                                                                         Oklahoma City     OK      73135



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                                                                                                   Creditor Matrix


                   CreditorName             CreditorNoticeName                             Address1                         Address2                 Address3             City   State       Zip      Country
                                                                                                                       9211 Lake Hefner
Ronald Graham                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ronald Graham                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Ronald Graham                                                            624 Summer Dr                                                                          Edmond           OK      73025
                                                                                                                       9211 Lake Hefner
Ronald Sherrod                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ronald Sherrod                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Ronald Sherrod                                                           4735 NW 72nd St                                                                        Oklahoma City    OK      73132
                                                                                                                       9211 Lake Hefner
Ronald Thornbrue                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ronald Thornbrue                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Ronald Thornbrue                                                         12025 S Coltrane Rd                                                                    Edmond           OK      73034
RONDA K MULLOY                                                           1261 E WASHINGTON AVE APT 210                                                          ESCONDIDO        CA      92027
RONDA RODMAN                                                             508 FIRE                                                                               HORSESHOE BAY    TX      78657
RONDAL R GAMBLE FAMILY TRUST                                             1712 W UNIVERSITY AVE                                                                  STILLWATER       OK      74074-2941
RONDEA CHERYL McLURE                                                     3020 KERRY LANE                                                                        OKLAHOMA CITY    OK      73120-2216
RONI GERKEN                                                              80 ISHI CIRCLE                                                                         SACRAMENTO       CA      95833
RONNA BAIRD                                                              PO BOX 832                                                                             PERRY            OK      73077
RONNEY SHERMAN                                                           18119 CHISOLM                                                                          STILLWATER       OK      74075
                                                                                                                       9211 Lake Hefner
Ronni Hatcher                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ronni Hatcher                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Ronni Hatcher                                                            3123 SW 18th                                                                           Oklahoma City    OK      73108
                                                                                                                       9211 Lake Hefner
Ronnie A. Nelson                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ronnie A. Nelson                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Ronnie A. Nelson                                                         11801 N. Victoria Dr                                                                   Oklahoma City    OK      73120
                                                                                                                       9211 Lake Hefner
Ronnie Anderson                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ronnie Anderson                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Ronnie Anderson                                                          PO Box 1013                                                                            Cushing          OK      74023
RONNIE B SMART & PAMELA S SMART HW                                       1918 NORMAN RD                                                                         ENID             OK      73703
                                                                                                                       9211 Lake Hefner
Ronnie B. Momsen Jr.                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ronnie B. Momsen Jr.                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Ronnie B. Momsen Jr.                                                     1212 W Old Hwy 33                                                                      Cushing          OK      74023
RONNIE CLARK                                                             102 RANDOLPH CT                                                                        STILLWATER       OK      74075
RONNIE CREAGER                                                           11104 E DRAPER AVE                                                                     CHOCTAW          OK      73020-8239
RONNIE D STRECK                                                          PO BOX 206                                                                             MARSHALL         OK      73056
RONNIE DARNELL                                                           12817 E GETTYSBURG                                                                     SANGER           CA      93657
RONNIE G WITTMAN TTEE                                                    5408 S SPRING CREEK CR W                                                               STILLWATER       OK      74074
RONNIE GREEN                                                             2304 SANDPIPER CT                                                                      OKLAHOMA CITY    OK      73170
RONNIE HIGHTOWER                                                         PO BOX 318                                                                             MANNSVILLE       OK      73447
RONNIE JOHNSON                                                           660 PELICAN AVE                                                                        MCALESTER        OK      74501
RONNIE JOHNSON                                                           15187 SW ROYALTY PRKWY #E23                                                            TIGARD           OR      97224
RONNIE L MCKEAIGG                                                        2814 SCISSORTAIL LN                                                                    ENID             OK      73703
RONNIE LOMENICK                                                          3622 W 68TH ST                                                                         STILLWATER       OK      74074-2427
RONNIE P & CAROL A FISHER LVG TR DT                                      12705 JASMINE LN                                                                       OKLAHOMA CITY    OK      73142
RONNIE ROBINSON LAND LLC                                                 17120 W 19TH ST                                                                        ORLANDO          OK      73073-2100
RONNIE SQUIRES                                                           104 SHILOH DRIVE                                                                       VICTORIA         TX      77904
RONNIE STRECK                                                            PO BOX 206                                                                             MARSHALL         OK      73056
RONNIE WHITLOCK                                                          3601 PARK GLENN DRIVE                                                                  MOORE            OK      73160-2949


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                                                                                                                      9211 Lake Hefner
Ronnita Gandara                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Ronnita Gandara                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Ronnita Gandara                                                         1131 E 5th St                                                                          Cushing           OK      74023

RONNY G ALTMAN AMEND RESTATE TRUST                                      15 WEST 6TH STREET STE 2301                                                            TULSA             OK      74119
RONNY L MOSELEY                                                         9284 N 2060 ROAD                                                                       HAMMON            OK      73650
RORI BURKHART                                                           3408 WINDING CREEK CIR                                                                 EDMOND            OK      73034
RORSCHACHWHITAKER FAMILY TR                                             PO BOX 1588                                                                            TULSA             OK      74101-1588
RORY NATHANIEL BURNETT                                                  PO BOX 5686                                                                            PAGOSA SPRINGS    CO      81147
ROSA CROWELL                                                            4224 W 21ST ST                                                                         CHICAGO           IL      60623

ROSALEA P HYLAND                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
ROSALEE EELSS                                                           205 CANEL ST                                                                           MARSING           ID      83639
                                                                                                                      9211 Lake Hefner
Rosalee Williams                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Rosalee Williams                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Rosalee Williams                                                        5117 SE 53rd St                                                                        Oklahoma City     OK      73135
ROSALIE BRADLEY                                                         7530 N 145 E AVE                                                                       OWASSO            OK      74055
ROSALIE RUSSETT                                                         512 MASON DR                                                                           CANTON            GA      30115
ROSALIE SUE CRINER TTEE                                                 1500 SW PARK AVE #310                                                                  PORTLAND          OR      97201
ROSALIE TAUBMAN MGMT TRUST                                              PO BOX 1588                                                                            TULSA             OK      74101-1588
ROSALIE WEATHERMON                                                      215 S CLAYTON AVE                                                                      MARYVILLE         MO      64468
ROSANNE DECHANT                                                         3418 N LAKE RIDGE CT                                                                   WICHITA           KS      67205
ROSCOE L HANSEN                                                         9304 HIGH DRIVE                                                                        LEAWOOD           KS      66206
ROSCOE NANCY BAILEY JT                                                  9513 SW 33RD ST                                                                        OKLAHOMA CITY     OK      73179-1213
ROSCOE PFRIMMER                                                         12100 N MIDWEST BLVD                                                                   JONES             OK      73049
ROSCOE WISLER                                                           4221 W NOBLE RD                                                                        STILLWATER        OK      74075
ROSE & ASSOCIATES CANADA LTD                                            PO BOX 3406                                                                            PFLUGERVILLE      TX      78691-3406
ROSE A. ADELHARDT LIV TR                                                800 WEST B AVENUE                                                                      KINGMAN           KS      67068
ROSE ADELHARDT                                                          800 WEST B AVE                                                                         KINGMAN           KS      67068
ROSE ALLEN                                                              2055 N PORTER AVE, APT 108                                                             WICHITA           KS      67203-6205
ROSE BENTSEN BENTON                                                     4833 W LAWTHER DR APT 613                                                              DALLAS            TX      75214
ROSE COLOMBE                                                            400 N KROW DR                                                                          TONKAWA           OK      74653
                                                                                                                      9211 Lake Hefner
Rose E. Phillips                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Rose E. Phillips                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Rose E. Phillips                                                        8515 Azoo Ave                                                                          Spencer           OK      73084
ROSE EDMUNDSON DECD                                                     6908 E 68TH ST                                                                         STILLWATER        OK      74074
ROSE FAMILY TRUST 1985                                                  6439 W SUMMER HILL DR                                                                  BOISE             ID      83714
ROSE GASS                                                               PO BOX 292                                                                             SALINA            OK      74365-0292
ROSE HILL                                                               PO BOX 1711                                                                            VERNAL            UT      84078-5711
ROSE JACKSON                                                            1019 N 6TH ST                                                                          PERRY             OK      73077
ROSE JONES                                                              10606 E MCELROY RD                                                                     STILLWATER        OK      74075
ROSE KNIGHT                                                             319 HOLLY                                                                              PERRY             OK      73077
ROSE LAWN CEMETERY ASSOCIATION                                          3586 EAST CR 66                                                                        MULHALL           OK      73063
ROSE LYNN WALKER                                                        33752 BRIDGEHAMPTON DR                                                                 DANA POINT        CA      92629-2186
                                                                                                                      9211 Lake Hefner
Rose M. Brown                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Rose M. Brown                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Rose M. Brown                                                           2427 N. Boston Pl                                                                      Tulsa             OK      74106
ROSE MARIE ROBINSON TRUST                                               539 TABAGO LN                                                                          MOSCOW MILLS      MO      63362-1049
ROSE MARY BEZDICEK                                                      PO BOX 324                                                                             PERRY             OK      73077
ROSE MARY MURPHY TRUST                                                  4612 W TULARE AVE                                                                      VISALIA           CA      93277
ROSE PEMBERTON                                                          4720 HIGHWAY 231                                                                       SPRINGDALE        WA      99137-9604


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ROSE RED                                                                 2306 W 10TH                                                                             STILLWATER       OK       74074
ROSE ROCK MIDSTREAM CRUDE LP                                             406 S BOULDER AVE STE 830                                                               TULSA            OK       74103-3826
ROSE SMITH                                                               802 SHANNON LN APT A                                                                    KIRKSVILLE       MO       63501-4660
ROSE SPARKS                                                              3308 SE 89THLOT 157                                                                     OKLAHOMA CITY    OK       73135
ROSE WHITESIDES                                                          625 PARKWAY                                                                             KAMRAR           IA       50132
ROSE WOOTEN                                                              2195 WOOTEN RD                                                                          BURBANK          OK       74633
ROSELLA MARIE DORSEY                                                     PO BOX 423                                                                              RIPLEY           OK       74062-0423
ROSELLE ALLEN                                                            1506 WENTWORTH AVE                                                                      SAINT JOHNS      FL       32259
ROSELYN CHILDS                                                           1868 SHADIE VIE COVE                                                                    CARROLLTON       TX       75006
ROSEMARY BERTKA                                                          3721 MARIANA WAYAPT A                                                                   SANTA BARBARA    CA       93105
ROSEMARY DAVIDSON                                                        923 N STAR DR                                                                           STILLWATER       OK       74075
ROSEMARY DEERING                                                         746 WOODLAND AVE                                                                        KALISPELL        MT       59901
ROSEMARY FARLEY                                                          5595 89TH AVE NORTH                                                                     PINELLAS         FL       33782
ROSEMARY HESSER                                                          10313 E REGAL CT                                                                        SUN LAKES        AZ       85248

ROSEMARY QUINN MILLER                                                    5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX       75070
Rosemary Reed                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070
Rosemary Reed                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK       74104
Rosemary Reed                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY       10017
Rosemary Reed                                                            212 North Katy                                                                          Hominy           OK       74035
ROSEMARY RENO                                                            555 KATTENHORN DRIVE CONDO #6                                                           POWELL           WY       82435
ROSEMARY T ROBERTSON TR DTD 1-21-20                                      2017 TURTLE CREEK RD                                                                    EDMOND           OK       73013
ROSEMARY WILLIAMS                                                        103 E 4TH ST                                                                            LAREDO           MO       64652
ROSEROCK ENERGY SERVICES LLC                                             PO BOX 1557                                                                             OKLAHOMA CITY    OK       73101-1557
ROSEROCK WELL SERVICE INC.                                               PO BOX 3367                                                                             ENID             OK       73702
ROSETTA AND JOHN H MCKEOWN TIC                                           3008 N LINCOLN ST                                                                       STILLWATER       OK       74075-1114
ROSETTA HEPPEL                                                           6710 E LAKEVIEW RD                                                                      STILLWATER       OK       74075
                                                                                                                       9211 Lake Hefner
Rosetta Marie Brooks                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                      c/o Laminack, Pirtle & Martines,
Rosetta Marie Brooks                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
Rosetta Marie Brooks                                                     7620 NW 20th St                                                                         Bethany          OK       73008
ROSETTA MULMED                                                           3910 S FLORENCE PL                                                                      TULSA            OK       74105
ROSEWOOD LLC                                                             PO BOX 21655                                                                            OKLAHOMA CITY    OK       73156
ROSIE PACE                                                               2904 FM ROAD 920                                                                        WEATHERFORD      TX       76088-6812
ROSIE SNIDER                                                             10816 SCOTTS RD                                                                         DEWITT           VA       23840-2413
ROSLYN S SCHWARTZ REV TRUST                                              666 RICE ST                                                                             HIGHLAND PARK    IL       60035
ROSMARIE SIMONS                                                          715 BERKLEY DR                                                                          MARION           IN       46952
ROSS A JOHNSON III                                                       18511 PHEASANT FIELD DR                                                                 HUMBLE           TX       77346
ROSS ELECTRIC INC                                                        PO BOX 57176                                                                            OKLAHOMA CITY    OK       73157-7176
ROSS HILL                                                                2534 S EVANSTON                                                                         TULSA            OK       74114
ROSS MOLINA OLIVEROS PC                                                  4118 POND HILL RD STE 100                                                               SAN ANTONIO      TX       78231-1282

ROSS S BRAVAT                                                            5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX       75070
ROSS STEWART                                                             6122 N MERIDIAN APT 521                                                                 OKLAHOMA CITY    OK       73112
ROSS WAGNER                                                              1803 ITHACA DR                                                                          VISTA            CA       92081
Ross, Achley                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK       73116
ROSSER'S DRILL COLLAR INSPECTION LL                                      PO BOX 1909                                                                             ELK CITY         OK       73648
ROTARY CLUB OF OKLAHOMA CITY                                             119 N ROBINSON AVE STE 360                                                              OKLAHOMA CITY    OK       73102-4605
ROUGH RIDERS                                                             PO Box 95                                                                               LEEDEY           OK       73654
ROUND HILL ROYALTY LP                                                    PO BOX 25128                                                                            DALLAS           TX       75225-1128
ROUNDS FAMILY FARMS LLC                                                  2653 SHADY LANE                                                                         ULYSSES          KS       67880
ROUTE 66 MINERALS LP                                                     16400 DALLAS PKWY STE 100                                                               DALLAS           TX       75248-2640
ROWAN LAUGHLIN INC                                                       1614 NORTHWOOD ROAD                                                                     AUSTIN           TX       78703-1946
                                                                                                                       9211 Lake Hefner
Rowdy E. Huff                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                      c/o Laminack, Pirtle & Martines,
Rowdy E. Huff                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
Rowdy E. Huff                                                            970113 S. 3540 Rd                                                                       Sparks           OK       74869


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ROWE QUALITY CONSULTING CHRISTINA R                                      21905 WHITETAIL CROSSING                                                                NEW CANEY        TX      77357
ROWENA GOTTFRIED                                                         2212 WEST 24TH ST                                                                       STILLWATER       OK      74074
ROWENA GOTTFRIED                                                         7716 THE CEDARS                                                                         STILLWATER       OK      74074
ROWENA GRAY                                                              1208 N DOUGLAS DR                                                                       CLAREMORE        OK      74017-4621
ROWENA I DODSON GRAY TRUST DTD 11-5                                      1208 N DOUGLAS DR                                                                       CLAREMORE        OK      74017
ROWENA VICKERY                                                           1700 REMINGTON RD                                                                       EDMOND           OK      73034
ROWENE HUNT                                                              1422 S MAIN                                                                             STILLWATER       OK      74074
ROWENE L HUNT TRUST                                                      1422 S MAIN ST                                                                          STILLWATER       OK      74074
ROWSEY ENERGY LLC                                                        1024 NW 71ST ST                                                                         OKLAHOMA CITY    OK      73116
ROXAINE STRICKER                                                         420 JAMES COURT                                                                         RED BLUFF        CA      96080
Roxanna Hutchinson                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Roxanna Hutchinson                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Roxanna Hutchinson                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Roxanna Hutchinson                                                       59951 E 50 Rd                                                                           Pawnee           OK      74058
ROXANNA MCCRORY                                                          9009 S LAKEWOOD CT                                                                      TULSA            OK      74137-3122

ROXANNE MCHUGH                                                           5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX      75070
                                                                                                                       9211 Lake Hefner
Roxieaana Caraway                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Roxieaana Caraway                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Roxieaana Caraway                                                        5500 Embers Dr                                                                          Oklahoma City    OK      73135
ROXSTAR INVESTMENTS LLP                                                  110 W LOUISIANA STE 500                                                                 MIDLAND          TX      79701
ROY & DELSA GRIDER                                                       3420 W 92ND                                                                             PERKINS          OK      74059
ROY & JOAN BLANKINSHIP TRUST                                             3205 S WEST POINT RD                                                                    STILLWATER       OK      74074-7091

ROY & MARTHA WATERS REVOCABLE TRST                                       47650 S 3495 RD                                                                         PAWNEE           OK      74058
ROY & VIRGINIA MCNEILL FAMILY TR                                         PO BOX 101                                                                              MULHALL          OK      73063-0101
ROY A JOSEPH                                                             2654 SACOMA COURT                                                                       GRAND JUNCTION   CO      81506
ROY A MCNEILL JR                                                         2174 WEST CR 65                                                                         MULHALL          OK      73063
ROY A SCOTT REVOCABLE INTERVIVOS TR                                      4929 W COUNTRY CLUB DR                                                                  STILLWATER       OK      74074
ROY BARTON                                                               1919 N TURNER ST                                                                        HOBBS            NM      88240
ROY BENNETT                                                              34 HOLLY CT                                                                             CONROE           TX      77304-1202
ROY BLEVINS                                                              1845 FAIRWAY DR                                                                         GUTHRIE          OK      73044
ROY BROOKS                                                               371 BRENTWOOD DR # 324                                                                  PAHRUMP          NV      89048-0851
ROY BROOKS                                                               1423 S LOWRY ST                                                                         STILLWATER       OK      74074-5032
ROY C QUIETT TRUST FBO ELLIS L                                           7122 S SHERIDIAN RD BOX 604                                                             TULSA            OK      74133
ROY C QUIETT TRUST FBO ROY LAMBERT                                       7122 S SHERIDIAN RD BOX 604                                                             TULSA            OK      74133
ROY CALAVAN                                                              3810 REGENCY PLACE                                                                      MUSKOGEE         OK      74403
ROY CAMPBELL                                                             13101 SW 13TH ST                                                                        YUKON            OK      73099
ROY CARMACK                                                              1209 EAST CAMPBELL                                                                      EDMOND           OK      73034
ROY COLEMAN                                                              13117 COBBLESTONE PKWY                                                                  OKLAHOMA CITY    OK      73142-2206
ROY D TEUTSCH                                                            1013 TEUTSCH ROAD                                                                       SHONGALOO        LA      71072-2709
ROY DAUGHERTY                                                            2032 COUNTY ROAD 2391                                                                   PICKTON          TX      75471-5106
ROY DEAN LOWE CREDIT TRUST                                               2912 OAKRIDGE ROAD                                                                      ENID             OK      73703-3105
ROY DIEHL                                                                13808 1ST ST                                                                            FORT MYERS       FL      33905-2104
ROY E JONES                                                              1921 GLENDALE DR                                                                        EDMOND           OK      73034
ROY EDMOND FISHER                                                        4608 SILVERTON DR                                                                       SCHERTZ          TX      78154
ROY EDWARDS                                                              16868 LIVESAY ROAD                                                                      OREGON CITY      OR      97045
ROY FOCHT                                                                202 S PAROTTA RD                                                                        RIPLEY           OK      74062-6355
ROY FOCHT                                                                202 S PAROTTE                                                                           RIPLEY           OK      74062
ROY FORAKER                                                              627 BRADFORD AVE                                                                        GRAND JUNCTION   CO      81504

ROY G BARTON & OPAL BARTON REV TRUS                                      PO BOX 978                                                                              HOBBS            NM      88241
ROY G BARTON III                                                         PO BOX 978                                                                              HOBBS            NM      88241
ROY G BEEBY FAMILY TRUST                                                 PO BOX 177                                                                              MARSHALL         OK      73056
ROY GRANT HISKETT                                                        1710 STONEWOOD CIR                                                                      NORMAN           OK      73026
ROY HIDAY JR HIERS OF                                                    5817 MARBLE COURT                                                                       ANDERSON         IN      46013
ROY J AND NONIE L WALLACE FAMILY TR                                      591 BRENNER ST NE                                                                       SALEM            OR      97301-4819


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                                                                                                                       9211 Lake Hefner
Roy Jones                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
Roy Jones                             c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles          CA      90017
Roy Jones                                                                11101 Kim Circle                                                                       Guthrie              OK      73044
ROY L SYMES 1994 REV TR;                                                 401 S. POST ROAD 565                                                                   OKLAHOMA CITY        OK      73130
ROY LANE & CHERILYN WILLIAMS TRS                                         2504 SW 141ST ST                                                                       OKLAHOMA CITY        OK      73170
                                                                                                                       9211 Lake Hefner
Roy Lee Graves Jr.                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Roy Lee Graves Jr.                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Roy Lee Graves Jr.                                                       8617 N. Anderson                                                                       Jones                OK      73049
ROY LEISTER                                                              1678 BANEY RD                                                                          MIFFLINTOWN          PA      17059
ROY MAY                                                                  20698 MACARTHUR BLVD                                                                   MARSHALL             OK      73056
ROY MCKEE                                                                15412 FIREWOOD DR                                                                      BATON ROUGE          LA      70816
ROY MCNEILL                                                              520 GUSINGER AVE                                                                       MULHALL              OK      73063
ROY MCNEILL                                                              PO BOX 101                                                                             MULHALL              OK      73063
ROY PRICE                                                                8405 W GREENWOOD RD                                                                    SPOKANE              WA      99224
ROY QUIETT                                                               PO BOX 86                                                                              HILL CITY            KS      67642
ROY QUIETT AND LEAH R QUIETT JT                                          PO BOX 86                                                                              HILL CITY            KS      67642
ROY RAY                                                                  PO BOX 487                                                                             CORN                 OK      73024
ROY ROMHILD                                                              1217 S. Purdum St.                                                                     Kokomo               IN      46902
ROY ROYALTIES INC                                                        PO BOX 368                                                                             BOYS TOWN            NE      68010-0368
ROY SCOTT                                                                2024 TALL GRASS CIR                                                                    EDMOND               OK      73012-3276
ROY SOOTER                                                               311 S LOWRY ST                                                                         STILLWATER           OK      74074
                                                                                                                       9211 Lake Hefner
Roy Thornhill                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
Roy Thornhill                         c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles          CA      90017
Roy Thornhill                                                            309 E Maple                                                                            Cushing              OK      74023
ROY TOWLE                                                                10708 LOUISVILLE AVE                                                                   LUBBOCK              TX      79423
ROY VALLA                                                                3205 BLOSSOM LN                                                                        ODESSA               TX      79762
ROY WALTON                                                               PO BOX 1185                                                                            SALADO               TX      76571-1185
                                                                                                                       9211 Lake Hefner
Roy Altstatt                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Roy Altstatt                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Roy Altstatt                                                             1016 S. Pennsylvania Ave                                                               Oklahoma City        OK      73108
                                                                                                                       9211 Lake Hefner
Roy Austin                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                      c/o Laminack, Pirtle & Martines,
Roy Austin                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Roy Austin                                                               880813 S 3450 Rd                                                                       Chandler             OK      74834
ROYAL OIL LLC                                                            14860 MONTFORT DR STE 205 BX 21                                                        DALLAS               TX      75254
ROYALOK ROYALTY LLC                                                      PO BOX 42284                                                                           OKLAHOMA CITY        OK      73123
ROYALTY ACQUISITION LLC                                                  PO BOX 31975                                                                           EDMOND               OK      73003-0033
ROYALTY ASSET HOLDINGS LP                                                5656 SHERRY LANE SUITE 1221                                                            DALLAS               TX      75225
ROYALTY CLEARINGHOUSE PARTNERSHIP                                        201 W 5TH STREET STE 1350                                                              AUSTIN               TX      78701
ROYALTY INTEREST CLEARING HOUSE LLC                                      2601 NW EXPRESSWAY STE 703W                                                            OKLAHOMA CITY        OK      73112-7950
ROYALTY LENDING II LTD                                                   PO BOX 2657                                                                            FRISCO               CO      80443-2657
ROYCE AXTELL                                                             PO BOX 142                                                                             WELLINGTON           UT      84542
ROYCE DALE JONES & JUANITA JONES FA                                      306 N 3RD                                                                              DAVIS                OK      73030
ROYCE GEIHSLER                                                           6706 S 150TH ST                                                                        DOUGLAS              OK      73733

ROYCE HANSON                                                             18932 N MEADOW FENCE RD                                                                MONTGOMERY VILLAGE   MD      20886
ROYCE MONTGOMERY                                                         9493 EAST SOUTH AVE                                                                    PONCA CITY           OK      74604-7322
ROZINA DEAN                                                              407 NORTH WENTZ STREET                                                                 GUTHRIE              OK      73044
RPI                                                                      5401 N WOOD DR                                                                         OKMULGEE             OK      74447-9781
RPS SOLUTIONS                                                            726 DONALD PRESTON DR                                                                  WOLFFORTH            TX      79382-5402
RR DONNELLEY                                                             PO BOX 932721                                                                          CLEVELAND            OH      44193
RR OIL LLC                                                               PO BOX 14428                                                                           OKLAHOMA CITY        OK      73113-0428


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                                      Charles Prado, Chief Financial
Rr Oilfield Rental Services LLC       Officer                            220 North Main Street                                                                  Ringwood         OK      73768
RR OILFIELD RENTAL SERVICES LLC                                          PO BOX 772                                                                             WEATHERFORD      OK      73096
RR WATER TRUCK SERVICES LLC                                              PO BOX 772                                                                             WEATHERFORD      OK      73096-0772
RRC POWER & ENERGY LLC                                                   3801 DORIS LN                                                                          ROUND ROCK       TX      78664-6103
RROBERT LYNN DOUGLAS                                                     PO BOX 832                                                                             STROUD           OK      74079
RS HABBU                                                                 602 GREENMEADOW NORTH                                                                  COLLEYVILLE      TX      76034
RS LEE ENTERPRISES INC                                                   1921 SUSANNA RD NE                                                                     PIEDMONT         OK      73078
RSG PROPERTIES LTD                                                       2700 RACQUET CLUB DR                                                                   MIDLAND          TX      79705
RSK LAND & ENERGY RESOURCES LLC                                          2700 NW 26TH ST                                                                        OKLAHOMA CITY    OK      73107
RSOLUTIONS INC                                                           7702 S WASHINGTON ST                                                                   STILLWATER       OK      74074-8211
RT CASH FAMILY REV TRST                                                  1121 ROLLING OAKS RD                                                                   GROVE            OK      74344-3519
RUBICON ENERGY LP                                                        14810 FLINT DR                                                                         YUKON            OK      73099-8653
RUBY CONNER                                                              7021 W COMBS DR                                                                        CUSHING          OK      74023-5869
RUBY EVANS                                                               14209 S COLDRON                                                                        PERKINS          OK      74059-3539
RUBY FRICK                                                               PO Box 963                                                                             MILTON           WA      98354
RUBY JANE LACY                                                           328 EAST 5TH ST                                                                        EDMOND           OK      73034
RUBY JONES                                                               8316 N PRINCE ST                                                                       CLOVIS           NM      88101-9762
RUBY JONES                                                               12208 KIMBERLYN RD                                                                     OKLAHOMA CITY    OK      73162-1303
RUBY MAY NEWHINEY                                                        PO BOX 841                                                                             STILLWATER       OK      74074
RUBY N BASLER                                                            1619 E MCELROY PLACE                                                                   STILLWATER       OK      74075
RUBY REDINGTON                                                           1632 SW JENNINGS AVE                                                                   BARTLESVILLE     OK      74003
RUBY THOMPSON KEENAN EST                                                 PO BOX 140597                                                                          BROKEN ARROW     OK      74014
RUBY WINDSOR                                                             2699 E COUNTY ROAD 61                                                                  ORLANDO          OK      73073-4500
RUBY YOUNG REV TRUST                                                     805 WOODHOLLOW TRL                                                                     EDMOND           OK      73012-4324
                                                                                                                       9211 Lake Hefner
Ruby Tolliver                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Ruby Tolliver                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Ruby Tolliver                                                            1229 Standish Ave                                                                      Oklahoma City    OK      73117
Rudd, Deena                           c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK      74074
Rudd, Kelby                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
RUDY & GENI BILLINGSLEY TRUST                                            3053 W WILSHIRE BLVD                                                                   OKLAHOMA CITY    OK      73116
RUDY J LACY & STACY R LACY JTWROS                                        4599 N WASHINGTON APT 4-I                                                              STILLWATER       OK      74075
RUDY JOE HITT                                                            PO BOX 942                                                                             MCALESTER        OK      74502
RUDY MANDEVILLE                                                          PO BOX 364                                                                             PERKINS          OK      74059-0364
RUE ROYAL MINERALS LLC                                                   13621 RUE ROYAL LN                                                                     SILVERHILL       AL      36576-3248
RUFNEX OILFIELD SERVICES LLC                                             PO BOX 309                                                                             NICOMA PARK      OK      73066-0309
RUFUS STINNETT TRUST                                                     2925 WILD ROSE CT                                                                      WICHITA          KS      67205
RUFUS TODD DEAVER                                                        18001 SE 44TH ST                                                                       NEWALLA          OK      74857
RUGGED ROUSTABOUT LLC                                                    PO BOX 815                                                                             CUSHING          OK      74023
RUH OIL COMPANY                                                          PO BOX 841                                                                             OWASSO           OK      74055-0841
RULEWICZ ENERGY LLC                                                      15401 FAIRVIEW FARM BLVD                                                               EDMOND           OK      73013-1371
RUNNER LAND SERVICES LLC                                                 PO BOX 101327                                                                          FORT WORTH       TX      76185-1327
RUPE OIL COMPANY INC                                                     PO BOX 783010                                                                          WICHITA          KS      67278-3010
RUPERT & STEINER PLLC                                                    14001 QUAIL SPRINGS PARKWAY                                                            OKLAHOMA CITY    OK      73134
RUPERT LIVING TRUST                                                      18113 BARRINGTON DRIVE                                                                 EDMOND           OK      73012
RUPNIK OIL & GAS LLC                                                     1128 STONYBROOK DR                                                                     NAPA             CA      94558
Rupp, Byron                           c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK      74074
RURAL WATER DISTRICT #3                                                  PAYNE COUNTY BANK                                                                      PERKINS          OK      74059-0579
Rush, Michael                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
RUSSCO OIL & GAS LLC                                                     PO BOX 2851                                                                            LONGVIEW         TX      75606
RUSSEL BOURGOYNE                                                         PO BOX 2034                                                                            CLINTON          LA      70722-2034
RUSSEL RODMAN                                                            770565 S 3370 ROAD                                                                     TRYON            OK      74875-6122
RUSSELL & HELEN GRASSMAN REV TR                                          153 FIGLAR AVE                                                                         FAIRFIELD        CT      06824
RUSSELL BAKER                                                            4413 N 33RD ST                                                                         TACOMA           WA      98407-4723
RUSSELL CAROL & RUTH ANN HUMAN                                           8738 SOUTH DELAWARE PLACE                                                              TULSA            OK      74137
RUSSELL CASSODY                                                          19025 E SKELETON RD                                                                    COVINGTON        OK      73730
RUSSELL CHEMICAL SALES & SERVICE CO                                      901 SOONER TREND ROAD                                                                  ENID             OK      73701


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RUSSELL CHEMICAL SALES & SERVICE IN                                      901 SOONER TREND RD                                                                     ENID            OK      73701
RUSSELL D PUCKETT                                                        242 KINGSWAY DRIVE                                                                      STAFFORD        TX      77477
RUSSELL DON RISELEY & CAROLYN T                                          1322 3RD STREET                                                                         WOODWARD        OK      73801-4902
RUSSELL EUGENE MARTIN                                                    3934 PACIFIC AVE                                                                        ROSAMOND        CA      93560
RUSSELL EUGENE THEDFORD                                                  12401 S.W. 124TH STREET                                                                 OKLAHOMA CITY   OK      73170
RUSSELL FOCHT & MARILYN SUE FOCHT                                        PO BOX 15                                                                               GLENCOE         OK      74032
RUSSELL GRASSMAN                                                         14001 GATEWAY DR                                                                        EDMOND          OK      73013
RUSSELL HARGROVE                                                         10530 S KOA ST                                                                          JENKS           OK      74037
RUSSELL HARLOW                                                           1620 GENTLE WAY                                                                         PROSPER         TX      75078
RUSSELL HATHOOT                                                          8 OLD STAGE COACH RD                                                                    PLAINFIELD      NH      03781
RUSSELL HEIN                                                             20631 197TH AVE E                                                                       ORTIG           WA      98360-9379
RUSSELL HENSLEY                                                          733 E ERIE                                                                              YALE            OK      74085
RUSSELL INTERIORS INC                                                    1421 FRETZ DR                                                                           EDMOND          OK      73003-5774
RUSSELL JOHNSON III DBA                                                  921 E. BRITTON RD.                                                                      OKLAHOMA CITY   OK      73114
RUSSELL KELCE                                                            8511 E ILIFF DRIVE                                                                      DENVER          CO      80231
                                                                                                                       9211 Lake Hefner
Russell L. Campbell                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Russell L. Campbell                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Russell L. Campbell                                                      10713 NE 36th St                                                                        Spencer         OK      73084
RUSSELL LEMASTERS                                                        126 S MOUNTAIN VIEW ST                                                                  POWELL          WY      82435
RUSSELL LOOPER                                                           1024 W COOLIDGE                                                                         BLACKWELL       OK      74631
RUSSELL MARK KENDRICK &                                                  770883 S. 3400 RD                                                                       TRYON           OK      74875
RUSSELL MARTIN                                                           139 NE MEADOWLARK AVE                                                                   BARTLESVILLE    OK      74006
                                                                                                                       9211 Lake Hefner
Russell McCalment                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Russell McCalment                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Russell McCalment                                                        3607 E. 24th St                                                                         Tulsa           OK      74114
RUSSELL MCGUIRE                                                          20031 SEAGROVE ST UNIT 1401                                                             ESTERO          FL      33928
RUSSELL OXSEN                                                            4508 HUNTERS HILL CIR                                                                   NORMAN          OK      73072
RUSSELL POWELL                                                           3521 RIVER ROAD                                                                         NEWKIRK         OK      74647-7455
                                                                                                                       9211 Lake Hefner
Russell Ray Pollard                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Russell Ray Pollard                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Russell Ray Pollard                                                      406 W Lakewood Dr                                                                       Guthrie         OK      73044
RUSSELL RHOADS AND RITA L RHOADS JT                                      4923 PINTO DR                                                                           STILLWATER      OK      74074-8603
RUSSELL STALEY                                                           702 VENUS AVE                                                                           SALINA          KS      67401-1004
RUSSELL T RUDY ENERGY LLC                                                5701 WOODWAY DR STE 346                                                                 HOUSTON         TX      77057-1505
RUSSELL VAN NOSTRAND LIFE ESTATE                                         4130 OAKCREST                                                                           ENID            OK      73703
RUSSELL W MCDOUGAL                                                       PO Box 891                                                                              HOLLISTER       MO      65673
Russell Williams                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Russell Williams                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Russell Williams                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Russell Williams                                                         124 Shawnee Rd                                                                          Sand Springs    OK      74063
RUSSELL YOUNGBLOOD                                                       3815 W FOX LEDGE LN                                                                     STILLWATER      OK      74074-1743
RUST'S INTERIORS FOR BUSINESS INC                                        113 NW 13TH ST                                                                          OKLAHOMA CITY   OK      73103-4831
RUSTY & STEVE LLC                                                        2323 W. 24TH AVENUE                                                                     STILLWATER      OK      74074
RUSTY HILTON                                                             731 W 59TH ST S                                                                         WICHITA         KS      67217
RUSTY HILTON                                                             731 WEST 59TH STREET                                                                    WICHITA         KS      67217
RUSTY PRINCE                                                             PO BOX 215                                                                              MULHALL         OK      73063
RUSTYMARE RANCH LLC                                                      3150 W WATERLOO RD                                                                      EDMOND          OK      73025
RUTH A DENNEY REVOCABLE TRUST                                            6413 WILDWOOD DR                                                                        BRENTWOOD       TN      37027
RUTH A HAYS                                                              102 MONTAGNA COVE                                                                       LAKEWAY         TX      78734
RUTH A JOHNSTON                                                          116 WESTWOOD AVE                                                                        VINITA          OK      74301
RUTH AND LEROY KAUTZ                                                     PO BOX 670                                                                              NICOMA PARK     OK      73066
RUTH AVERY                                                               904 MESA TR                                                                             EDMOND          OK      73025
RUTH B ELLSPERMANN                                                       13865 DEL WEBB BLVD                                                                     SUMMERFIELD     FL      34491


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RUTH BENTON                                                            6115 E LONE CHIMNEY RD                                                                  GLENCOE          OK       74032
RUTH BIRD ESTATE                                                       202 N BRAZELTON                                                                         MT PLEASANT      IA       52641
RUTH BOOTH                                                             2305 DOWELL RD                                                                          GRANTS PASS      OR       97527
RUTH BRADLEY                                                           10260 WAKE ROBIN DR                                                                     GRAND BLANC      MI       48439-9354
RUTH BRIDWELL                                                          113 ELMHURST COURT                                                                      BARTLESVILLE     OK       74006-0606
RUTH BROOKS                                                            PO BOX 2                                                                                BLANCHARD        OK       73010-0002
RUTH BURCH                                                             3251 CASTLE ROCK RD                                                                     OKLAHOMA CITY    OK       73120
RUTH CARTER                                                            2520 CARMEL DR                                                                          CARROLLTON       TX       75006-2733
RUTH CHAPMAN                                                           414 SANDALWOOD LN                                                                       SAN ANTONIO      TX       78216-6843
RUTH CLARK                                                             660 CUMO CT                                                                             PUNTA GORDA      FL       33950-8573
RUTH DEHART                                                            PO BOX 639                                                                              BANKS            OR       97106
RUTH DONART                                                            815 S ORCHARD LN                                                                        STILLWATER       OK       74074
RUTH DOOTY                                                             346254 E HIGHWAY 62                                                                     MEEKER           OK       74855-4613
RUTH E COLPITT                                                         PO BOX 127                                                                              STILLWATER       OK       74076-0127
RUTH F MARTIN TRUST                                                    1810 N WASHINGTON ST APT 31                                                             STILLWATER       OK       74075-3351
RUTH FALK BERRY REVOCABLE TRUST                                        PO BOX 56129                                                                            HOUSTON          TX       77256-6129
RUTH FLOWERS                                                           5421 DEER TRAIL                                                                         STILLWATER       OK       74074
RUTH FOWBLE                                                            1578 DELEMOS AVENUE                                                                     HAYWARD          CA       94544
RUTH GOODMAN                                                           789 WEST END AVE APT 4B                                                                 NEW YORK         NY       10025
RUTH HAMILTON                                                          16916 GLADSTONE CIR                                                                     eDMOND           OK       73012
RUTH HART                                                              3211 CORNELL                                                                            LUBBOCK          TX       79415
RUTH HEADY                                                             119 COVEY CT                                                                            NEW BERN         NC       28560-2735
RUTH HELMICK                                                           9389 ROBINSON LN                                                                        CORONA           CA       92883-9248
RUTH HOOKER                                                            57 WYNDEMERE DR                                                                         FRANKLIN         OH       45005
RUTH HOOPER                                                            PO BOX 95                                                                               OLSBURG          KS       66520-0095
RUTH HORMANN                                                           2205 E 98005                                                                            SANDY            UT       84092
RUTH I MAYFIELD                                                        #12                                                                                     MILWAUKIE        OR       97267
RUTH JACOB TAYLOR (DECEASED)                                           23316 S WELLING RD                                                                      WELLING          OK       74471
RUTH JACOBS                                                            341 CHOCTAW PL                                                                          YUKON            OK       73099-5622
RUTH K AKERSON                                                         54 ROCK POINT PLACE NE                                                                  ALBUQUERQUE      NM       87122-1915
RUTH KASTER REVOCABLE TRUST                                            PO Box 2640                                                                             MIDLAND          TX       79702
RUTH KEETON                                                            6342 BERWYN LN                                                                          DALLAS           TX       75214-2111
RUTH KIMBERLIN                                                         1215 S WESTERN                                                                          STILLWATER       OK       74074
RUTH KING                                                              12319 INDIAN CREEK BLVD APT B                                                           OKLAHOMA CITY    OK       73120
RUTH L HAMILTON TRUST                                                  16916 GLADSTONE CIR                                                                     EDMOND           OK       73012
                                                                                                                     9211 Lake Hefner
Ruth L. Jones                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                    c/o Laminack, Pirtle & Martines,
Ruth L. Jones                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
Ruth L. Jones                                                          1707 N. Atlanta Ave                                                                     Tulsa            OK       74110
Ruth Littlefield                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070
Ruth Littlefield                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK       74104
Ruth Littlefield                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY       10017
Ruth Littlefield                                                       108 N Kings Hwy                                                                         Cushing          OK       74023
RUTH MARIE WYATT TRUST                                                 1810 E 3RD AVE                                                                          STILLWATER       OK       74074-3912
RUTH MATTHEWS                                                          1810 E 3RD AVE                                                                          STILLWATER       OK       74074-3912
RUTH MCCOLLUM                                                          6316 S OLIVE AVE                                                                        W PALM BEACH     FL       33405
RUTH MCINTOSH                                                          1323 N ELM ST                                                                           EUREKA           KS       67045-1040
RUTH MCKINNEY                                                          20326 EAST 33RD STREET SOUTH                                                            BROKEN ARROW     OK       74014
RUTH MCMULLIN                                                          507 S VIEW DR                                                                           KINGFISHER       OK       73750
RUTH MILDRED KAUTZ                                                     316 N. 5TH STREET                                                                       SEMINOLE         OK       74868
RUTH PALMER                                                            420 FENWOOD AVE                                                                         HAMILTON         NJ       08619
RUTH PATTY BALDWIN                                                     223 TIMBERCREST RD                                                                      KIRKWOOD         MO       63122-1313
RUTH PETERS SMILEY                                                     304 UNION HILL RD                                                                       ENNIS            TX       75119-0280
RUTH PHILLIPS                                                          1609 COUNTRY CLUB NE                                                                    WILLMAR          MN       56201
RUTH ROBERTS                                                           2824 SW 112 ST                                                                          OKLAHOMA CITY    OK       73170
RUTH ROBERTS LVG TR DTD 8-27-2009                                      2824 SW 112TH                                                                           OKLAHOMA CITY    OK       73170
RUTH ROSS ESTATE                                                       1909 ILLINOIS DRIVE                                                                     SOUTH PASADENA   CA       91030
RUTH SCHOENECKE                                                        332852 E 1060 RD                                                                        MCLOUD           OK       74851


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RUTH SHEPPARD                                                           620 S FULTON BEACH RD APT 607                                                          ROCKPORT         TX      78382-3608
RUTH SIMONS                                                             7950 E. CAMELBACK                                                                      SCOTTSDALE       AZ      85251
RUTH SMITH                                                              1414 SOUTH JOHNSON                                                                     ENID             OK      73701
RUTH SUTTON                                                             413 S CAMP RD                                                                          GRAND JUNCTION   CO      81507
RUTH TAYLOR                                                             7708 S. WESTERN RD.                                                                    STILLWATER       OK      74074
RUTH THOMAS                                                             11324 W WESTBEND ST                                                                    ODESSA           TX      79764
RUTH UNDERWOOD                                                          420 N DIVISION                                                                         GUTHRIE          OK      73044
RUTH WILDE                                                              348 W RODNEY FRENCH BLVD                                                               NEW BEDFORD      MA      02744-1420
RUTH WILLIAMS                                                           9605 S MERIDIAN RD                                                                     COYLE            OK      73027
RUTH WILLIAMS                                                           2034 NICHOLE WOODS DR                                                                  HOUSTON          TX      77047
RUTH WILLIAMS                                                           304 IOWA AVE                                                                           LYNN HAVEN       FL      32444
RUTH WILLIAMS                                                           568 RESORT DRIVE                                                                       MC CORMICK       SC      29835-4408
RUTH WORSHAM                                                            1909 SUWANEE VALLEY ROAD                                                               LAWRENCEVILLE    GA      30043
                                                                                                                      9211 Lake Hefner
Ruth Cawhorn                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                     c/o Laminack, Pirtle & Martines,
Ruth Cawhorn                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Ruth Cawhorn                                                            452961 E 1030 Rd                                                                       Prague           OK      74864
RUTHIE BIRCKET                                                          16 SUGAR CREEK PL                                                                      WOODWAY          TX      76712
RUTHIE PORTER                                                           813 NW 15TH ST                                                                         MOORE            OK      73160
RUTHIE WALTON                                                           36020 E 142ND ST S                                                                     COWETA           OK      74429-6075
RVS MINERALS LLC                                                        PO BOX 1759                                                                            MADISON          MS      39130-1759
RW JACOBS LVG TR                                                        1216 CANTEBERRY DR                                                                     YUKON            OK      73099
RW MCILVAIN TRUST B                                                     2145 NW 69TH TER                                                                       MIAMI            FL      33147-6939
RWAM INSURANCE ADMINISTRATORS INC.                                      49 INDUSTRIAL DRIVE                                                                    ELMIRA           ON      N3B 3B1      CANADA
RWLS, LLC DBA RENEGADE SERVICES                                         PO BOX 862                                                                             LEVELLAND        TX      79336
RWS ENTERPRISES LLC                                                     PO BOX 457                                                                             STILLWATER       OK      74076-0457
RYAN & ALLISON HARMS JT                                                 5015 W 2ND AVE                                                                         STILLWATER       OK      74074-6890
RYAN 2014 TRUST                                                         10628 S 91ST E AVE                                                                     TULSA            OK      74133
RYAN AND ALISON LONG, H&W, JT                                           7207 BRENNANS DR                                                                       DALLAS           TX      75214
RYAN AND KRYSTEL STEELE JT                                              2011 SHILOH ST                                                                         STILLWATER       OK      74074-6339
RYAN CHOATE                                                             133 SARA DR                                                                            ENID             OK      73703
RYAN D HIRSCHBERG SHARE                                                 1716 VAN EATON AVENUE                                                                  MCKINLEYVILLE    CA      95519
RYAN DAWSON                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
RYAN EYSTER                                                             2750 N MIDWEST BLVD                                                                    GUTHRIE          OK      73044
RYAN FAMILY TRUST                                                       1000 WEST PINE AVE.                                                                    LOMPOC           CA      93436
RYAN HOUSTON                                                            6115 OWENS ST STE 201                                                                  DALLAS           TX      75235-6758
RYAN HUNT                                                               8928 S CALUMET RD                                                                      EL RENO          OK      73036
RYAN HURST                                                              PO BOX 712                                                                             WARD COVE        AK      99928
RYAN JACK                                                               4412 N 7TH ST                                                                          TACOMA           WA      98406-3508
RYAN L BOURAY                                                           313 WEST 39TH STREET                                                                   SAND SPRINGS     OK      74063
RYAN LAYMAN                                                             52358 SOUTH CR 274                                                                     DRUMMOND         OK      73735
RYAN MERKLE                                                             26415 LONGVIEW CREEK DR                                                                KATY             TX      77494
RYAN MILLER                                                             3212 CYPRESS MILL AVE                                                                  STILLWATER       OK      74074-1821
RYAN MOCKLEY                                                            3740 E 46TH ST                                                                         TULSA            OK      74135
RYAN MUEGGENBORG                                                        1225 STONE RIDGE DR                                                                    EDMOND           OK      73034-6633
RYAN OTEY                                                               2301 SILVER SPUR CT                                                                    EDMOND           OK      73034
RYAN PETROLEUM LLC                                                      110 N ROBINSON SUITE 250                                                               OKLAHOMA CITY    OK      73102
RYAN RICKETT                                                            2320 NW 59TH ST                                                                        OKLAHOMA CITY    OK      73112
RYAN ROGERS                                                             15711 WEST 6TH ST                                                                      ORLANDO          OK      73073
RYAN SEARLE                                                             841 HERSCH AVE                                                                         PAGOSA SPRINGS   CO      81147
                                                                                                                      9211 Lake Hefner
Ryan Sewell                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
Ryan Sewell                          c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles      CA      90017
Ryan Sewell                                                             835 E 2nd St                                                                           Cushing          OK      74023
RYAN SHARPE                                                             7120 WRENS CREEK LANE                                                                  KNOXVILLE        TN      37918-8446
RYAN SHEPHERD                                                           2433 NW 177TH STREET                                                                   EDMOND           OK      73012
RYAN SOMERS                                                             1510 W WARNER                                                                          GUTHRIE          OK      73044
RYAN STARK                                                              1531 RED FOX CIR                                                                       BLANCHARD        OK      73010-7520


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RYAN TURNER                                                              3402 DARTMOUTH AVE                                                                     DALLAS           TX    75205-3235
RYAN W SMITH FAMILY TR DTD 4-27-05                                       3102 W 27TH                                                                            STILLWATER       OK    74074
RYAN W STEVENSON                                                         PO BOX 79                                                                              DENAIR           CA    95316
                                                                                                                       9211 Lake Hefner
Ryan Murphy                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Ryan Murphy                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Ryan Murphy                                                              3720 NW 27th St                                                                        Oklahoma City    OK    73107
RYBURN TRUCKING                                                          PO Box 1222                                                                            Poteau           OK    74953
RYCO OILFIELD SERVICES LLC                                               PO BOX 454                                                                             HENNESSEY        OK    73742-0454
RYDER SCOTT COMPANY LP                                                   1100 LOUISIANA ST STE 4600                                                             HOUSTON          TX    77002-5294
RYNICK RESOURCES #1 LLC                                                  10480 E COFFEE CREEK RD                                                                ARCADIA          OK    73007-7810
S & L LEE FAMILY PARTNERSHIP                                             14900 DALEA DRIVE                                                                      OKLAHOMA CITY    OK    73142
S & W HOTSHOT SERVICES INC                                               1605 N WASHINGTON AVE                                                                  ELK CITY         OK    73644
S B S PROPERTIES INC                                                     9016 NW 147TH TERR                                                                     YUKON            OK    73099
S BALACHANDAR                                                            2709 SCHOFIELD COURT                                                                   PLANO            TX    75093
S C SHAW TRUST                                                           PO BOX 1569                                                                            STILLWATER       OK    74076
S D SEARS                                                                305 EAST BIRCH STREET                                                                  TRYON            OK    74875
S H SMITH                                                                308 KODY COURT                                                                         STILLWATER       OK    74075
S NEUMEYER                                                               447 S ZENOBIA ST                                                                       DENVER           CO    80236
S P ENERGY 1984-ONE LP                                                   701 5TH AVE STE 5700                                                                   SEATTLE          WA    98104-7014
S SQUIRE                                                                 4811 PARKER LANE                                                                       MIDLOTHIAN       TX    76065
S&C PROPERTIES                                                           PO BOX 601295                                                                          DALLAS           TX    75360-1295
S&R COMPRESSION LLC                                                      4234 S JACKSON AVE                                                                     TULSA            OK    74107-7038
S&T OILFIELD SERVICES LLP                                                PO BOX 592                                                                             ELK CITY         OK    73648
SABINE OIL & GAS CP                                                      1415 LOUISIANA STE 1600                                                                HOUSTON          TX    77002
SABINE PIPE INC                                                          PO BOX 100                                                                             KILGORE          TX    75663-0100
SABINE ROYALTY TRUST                                                     PO BOX 678600                                                                          DALLAS           TX    75267-8600
SABLE EXPLORATION LLC                                                    PO BOX 327                                                                             BROKEN ARROW     OK    74013
SABRE EXPLORATION INC                                                    PO BOX 4848                                                                            WICHITA FALLS    TX    76308-0848
SABRINA ANDERSEN                                                         4665 N PORTLAND AVE                                                                    CRESCENT         OK    73028
SABRINA CHAPMAN                                                          3323 STONEBROOK PL                                                                     FORT WAYNE       IN    46818
SABRINA GOETZ                                                            RURAL ROUTE 1                                                                          BLUFFTON         AB    T0C 0M0      CANADA
SABRINA LOWE                                                             5751 HESPER WAY                                                                        CARMICHAEL       CA    95608
                                                                                                                       9211 Lake Hefner
Sabrina Dunlap                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Sabrina Dunlap                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Sabrina Dunlap                                                           8405 NE 34th St                                                                        Spencer          OK    73084
SAC & FOX NATION                                                         920883 S HIGHWAY 99                                                                    STROUD           OK    74079-5178

SACKETT CROCKER ENERGY HOLDINGS LLC                                      MINERAL ASSET MANAGEMENT T-6                                                           SAN ANTONIO      TX    78296
SADDLE RIVER RANCH LLC                                                   PO BOX 250207                                                                          PLANO            TX    75025-0207
SADIE EBY                                                                1125 TAMARACK AVE                                                                      BROKEN ARROW     OK    74012
SADIE SANDERSON                                                          5205 HEATHERDALE DR                                                                    GRAPEVINE        TX    76051
SADLER PROPERTY MANAGEMENT LLC                                           13202 MONTROSE DR N                                                                    DENHAM SPRINGS   LA    70726
SAFE N SOUND LAND COMPANY LLC                                            1405 4TH AVE NW                                                                        ARDMORE          OK    73401
SAFE SOFTWARE INC                                                        7445 132 ST STE 2017                                                                   SURREY           BC    V3W 1J8      CANADA
SAFETY PLUS USA LLC                                                      1091 FLETCHER RD                                                                       SULPHUR          OK    73085
SAGACITY INC                                                             PO BOX 618                                                                             MADILL           OK    73446-0618
SAGAMORE ENERGY COMPANY                                                  5555 E 71ST ST STE 8150                                                                TULSA            OK    74136
SAGE POWELL                                                              4416 S MCBRIDE                                                                         STILLWATER       OK    74074
SAINT RESOURCES LLC                                                      2683 W LONG PL                                                                         LITTLETON        CO    80120
SAINT TERESA CATHOLIC CHURCH                                             735 S 36TH ST                                                                          LINCOLN          NE    68510-1666
SAKAL ENERGY LLC                                                         1325 E 15TH ST STE 202                                                                 TULSA            OK    74120
SALLEY STOREY                                                            1223 S 112TH E AVE                                                                     TULSA            OK    74128
SALLIE MCCORKLE                                                          2201 East McElroy Road                                                                 STILLWATER       OK    74075
SALLIE RICKEN                                                            4204 EMORY ROAD                                                                        EL PASO          TX    79922
SALLY A HOLMES 2011 REVOCABLE TR                                         PO BOX 18372                                                                           OKLAHOMA CITY    OK    73154-0372


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SALLY ANN BLEHM HOEME                                                    PO BOX 543                                                                             FT. COBB        OK      73038
SALLY BEIER CAVETT                                                       14090 KNOB HILL                                                                        PERRY           OK      73077
SALLY BITTNER                                                            581 MARIGOLD DR                                                                        FRANKLIN        TN      37064
SALLY BUCKLES                                                            7816 GERRY HTS # 1208                                                                  FOUNTAIN        CO      80817-4827
SALLY DAVIS                                                              6705 EDLOE ST                                                                          HOUSTON         TX      77005
SALLY DENISE COMPTON                                                     2831 SW MEADOW CLIFF DRIVE                                                             OKLAHOMA CITY   OK      73159-4615
SALLY FOSTER                                                             13044 FM 902                                                                           DORCHESTER      TX      75459
SALLY FOSTER                                                             929 RIVERVIEW DRIVE                                                                    NORFOLK         AR      72658
SALLY FREEMAN                                                            PO BOX 2150                                                                            ROANOKE         TX      76262-2150
SALLY HUESTON                                                            833 INVERNESS DR                                                                       RANCHO MIRAGE   CA      92270-1401
SALLY J MONTGOMERY                                                       305 EAST BIRCH STREET                                                                  TRYON           OK      74875
                                                                                                                       9211 Lake Hefner
Sally Jean Shupack                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sally Jean Shupack                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Sally Jean Shupack                                                       13814 Oxford Dr                                                                        Edmond          OK      73013
SALLY JOHNSON                                                            810 E OKLAHOMA                                                                         GUTHRIE         OK      73044
SALLY KITCHEN                                                            1908 HONOLULU ST                                                                       BROKEN ARROW    OK      74012
SALLY LAWLER                                                             4300 CAT MOUNTAIN DR                                                                   AUSTIN          TX      78732
SALLY MINSHALL                                                           6703 PECAN RD                                                                          STILLWATER      OK      74074
SALLY MOORE                                                              1118 HECKATHORN PL                                                                     NAMPA           ID      83686
SALLY NICHOLSON                                                          11400 SHERI CIR                                                                        AMARILLO        TX      79124
SALLY NICHOLSON                                                          7412 CASON DRIVE                                                                       AMARILLO        TX      79119-6124
SALLY NYE                                                                11809 SPRINGHOLLOW RD                                                                  OKLAHOMA CITY   OK      73120-5422
SALLY SCHWIND                                                            1338 HUNN RD APT 31                                                                    YUBA CITY       CA      95993-5643
SALLY SMYTH                                                              PO BOX 702102                                                                          TULSA           OK      74170
SALLY STONE                                                              2001 W UNIVERSITY AVE                                                                  STILLWATER      OK      74074-2545
SALLY SWEARINGEN                                                         350 N OCEAN AVE                                                                        CAYUCOS         CA      93430
SALLY SWIM AHRBERG                                                       311 EYLER LN                                                                           STILLWATER      OK      74074
SALLY VAN NAME                                                           5113 BIRCHMAN AVE                                                                      FORT WORTH      TX      76107-4849
SALLY WEGNER                                                             414 W ORBIT DR                                                                         GUTHRIE         OK      73044
SALLY WELCH                                                              19821 SE 89TH ST                                                                       NEWALLA         OK      74857
SALT CITY RESOURCES LLC                                                  106 CREEKSIDE WAY                                                                      SCHWENKSVILLE   PA      19473
SALT CITY RESOURCES LLC                                                  234 GOSHEN ROAD                                                                        SCHWENKSVILLE   PA      19473
SALT FORK LIMITED                                                        PO BOX 911                                                                             BRECKENRIDGE    TX      76424
SALT FORK OIL CO                                                         621 N ROBINSON, STE 100                                                                OKLAHOMA CITY   OK      73102
SAM & PAT BURNS FAMILY REV TRUST DT                                      1159 N DETROIT AVE                                                                     TULSA           OK      74106
SAM A. MCCORMICK                                                         23709 W. 881 STREET                                                                    LENAZA          KS      66227
SAM BARTO                                                                1915 HILLCREST DR                                                                      BARTLESVILLE    OK      74003
SAM COBB FAMILY TRUST                                                    407 RICHMOND PLACE DR                                                                  RICHMOND        TX      77469-5166
SAM COURY                                                                17917 N PORTLAND AVE                                                                   EDMOND          OK      73012
SAM HAREL                                                                1320 E MERONA PL                                                                       ANAHEIM         CA      92805
SAM LACK ESTATE DECD                                                     8 BASH PL                                                                              HOUSTON         TX      77027
SAM LUKENS                                                               PO BOX 157                                                                             SOCORRO         NM      87801
SAM MEYERS                                                               PO BOX 306                                                                             STILLWATER      OK      74075
SAM NOSTRAND                                                             3132 TOUCHMARK DRIVE                                                                   EDMOND          OK      73003
SAM PAGE                                                                 206 DENISE DR                                                                          MARSHALL        TX      75672-8406
SAM RODNEY MAYS                                                          315 WOODCREST DR                                                                       NORMAN          OK      73071
SAM ROSE                                                                 4412 BROOKFIELD DR                                                                     NORMAN          OK      73072-2825
SAM SHIPPY                                                               3607 ELGIN RD                                                                          NEW PLYMOUTH    ID      83655
SAM TAYLOR                                                               PO BOX 968                                                                             WOODWARD        OK      73802
SAM WIDENER                                                              13690 HALSEY TRAIL                                                                     AMARILLO        TX      79118
SAM WILLS                                                                904 GLENEAGLES DR                                                                      EDMOND          OK      73013
                                                                                                                       9211 Lake Hefner
Sam Rice                              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sam Rice                              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Sam Rice                                                                 724 N Elm St                                                                           Guthrie         OK      73034
SAMANAGE USA INC                                                         DEPT CH 10719                                                                          PALATINE        IL      60055-0719


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SAMANTHA COFFMAN                                                        15808 BIG CYPRESS DRIVE                                                                EDMOND                OK    73013-1755
                                                                                                                      9211 Lake Hefner
Samantha Cory                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK    73120
                                     c/o Laminack, Pirtle & Martines,
Samantha Cory                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX    77006
Samantha Cory                                                           1403 Lessley Ln                                                                        Sallisaw              OK    74955
SAMANTHA FULGHAM                                                        2029 S CHILTON                                                                         TYLER                 TX    75701
                                                                                                                      9211 Lake Hefner
Samantha L. Bowman                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK    73120
                                     c/o Laminack, Pirtle & Martines,
Samantha L. Bowman                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX    77006
Samantha L. Bowman                                                      104886 S. 3480 Rd                                                                      Meeker                OK    74855
SAMANTHA URBAN                                                          3311 East 3rd Avenue                                                                   STILLWATER            OK    74074
SAMIS LVG TR                                                            908 NW 71ST ST                                                                         OKLAHOMA CITY         OK    73116
SAMIS OIL COMPANY INC                                                   908 NW 71ST                                                                            OKLAHOMA CITY         OK    73116
SAMMIE C BLEDSOE TR                                                     3505 TURTLE CREEK BLVD #14C                                                            DALLAS                TX    75219
SAMMIE DAWSON                                                           1015 N MIDWEST BLVD                                                                    GUTHRIE               OK    73044-8142
SAMMIE RHOADES                                                          12831 N STRATFORD DRAPT 263                                                            OKLAHOMA CITY         OK    73120
SAMMY B CASTATOR & MARY JANE                                            5260 N 140 RD                                                                          BEGGS                 OK    74421
SAMMY BELISLE                                                           1604 STOKES STREET                                                                     SAN MARCOS            TX    78666
SAMMY BENNETT EAGY                                                      2901 BELLA VISTA DR                                                                    MIDWEST CITY          OK    73110
SAMMY DUNCAN &                                                          PO BOX 97                                                                              MULHALL               OK    73063
SAMMY L RAINS                                                           202 E MILLER                                                                           STILLWATER            OK    74075
SAM'S PACKER & SUPPLY                                                   PO BOX 722833                                                                          NORMAN                OK    73070
SAMS PACKER AND SUPPLY LLC                                              PO BOX 691747                                                                          HOUSTON               TX    77269
SAMSON RESOURCES COMPANY                                                PO BOX 21022                                                                           TULSA                 OK    74121-1020
SAMSON RESOURCES COMPANY                                                PO BOX 21022                                                                           TULSA                 OK    74121-1020
SAMUEL                                                                  9109 E MCELROY RD                                                                      STILLWATER            OK    74075-8887
SAMUEL CROWELL                                                          2002 STRATFORD WAY                                                                     COLUMBUS              OH    43219
SAMUEL E RUHL                                                           1612 CHURCHILL RD                                                                      YUKON                 OK    73099
SAMUEL FARRINGTON                                                       1815 FM 359 S                                                                          BROOKESHIRE           TX    77423
SAMUEL FASSNACHT                                                        26254 CR 130                                                                           PERRY                 OK    73077
SAMUEL FITCH                                                            2332 CORNFLOWER WAY                                                                    PALMDALE              CA    93551-6205
SAMUEL H SHORTER                                                        2522 INDEPENDENCE DR                                                                   CLARKSVILLE           TN    37043-5329
SAMUEL HARMAN                                                           5400 BRONCO RD                                                                         ORLANDO               OK    73073
SAMUEL HAYES WILSON                                                     6342 ANNAPOLIS LN                                                                      DALLAS                TX    75214
SAMUEL HICKMAN                                                          12707 S PRAIRIE RD                                                                     PERKINS               OK    74059
SAMUEL KAUTZ                                                            2021 W. 92ND STREET                                                                    PERKINS               OK    74059
SAMUEL KELLY                                                            26 VALLEY VIEW DR # 3357                                                               NEDERLAND             CO    80466
SAMUEL LAIRD                                                            21 DELEVAGA DR                                                                         HOT SPRINGS VILLAGE   AR    71909
SAMUEL MAYHUE                                                           2319 E 20TH ST NORTH                                                                   WITCHITA              KS    67214
SAMUEL NEUMEYER                                                         4517 ARLEY RD                                                                          NORTH PORT            FL    34288

SAMUEL PETERS                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY              TX    75070
SAMUEL RAY FARRINGTON                                                   1815 FM 359 S                                                                          BROOKSHIRE            TX    77423
SAMUEL SAUNDERS                                                         7636 S 24TH WEST AVENUE                                                                TULSA                 OK    74132-2643
SAMUEL SCHAEFER                                                         13210 E VFW RD                                                                         GLENCOE               OK    74032-3102
SAMUEL VANDERBILT                                                       8261 S CARR ST                                                                         LITTLETON             CO    80128-5301
SAMUEL VINCENT AND NANCY C VINCENT                                      PO BOX 317                                                                             RIPLEY                OK    74062-0317
SAMUEL W & DANITTA D SEGURA HW JTS                                      820 S. BRUSH CREEK ROAD                                                                STILLWATER            OK    74074
SAMUEL WILSON                                                           1442A WALNUT ST #290                                                                   BERKELEY              CA    94709
                                                                                                                      9211 Lake Hefner
Samuel Beets                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City         OK    73120
                                     c/o Laminack, Pirtle & Martines,
Samuel Beets                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston               TX    77006
Samuel Beets                                                            970305 S. Todd Dr                                                                      Luther                OK    73054
SAN ANGELO STANDARD TIMES                                               PO BOX 650063                                                                          DALLAS                TX    75265-0063
SANCY INC                                                               6 E 63RD ST SUITE 275                                                                  OKLAHOMA CITY         OK    73105-1409
SANCY INC                                                               6 NE 63RD STE 275                                                                      OKLAHOMA CITY         OK    73105


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SAND CREEK PETROLEUM CO LLC                                PO BOX 1700                                                            EDMOND          OK      73083
SAND RIDGE LLC                                             109 N 6TH ST                                                           FORT SMITH      AR      72901
SANDBAR OIL & GAS CO                                       42642 HANSEN RIDGE RD                                                  LEWISVILLE      OH      43754
SANDIP HARIMKAR                                            5024 W 3RD AVE                                                         STILLWATER      OK      74074-6797
SANDRA AND GARY SEGROVES                                   2326 N WHEELER AVE                                                     BETHANY         OK      73008-5965
SANDRA AND ROBERT PRIEST WIFE                              5314 W. 159TH TERRACE                                                  STILWELL        KS      66085-8961

SANDRA B CHASALOW                                          5900 SOUTH LAKE FOREST DR STE 300                                      MCKINNEY        TX      75070

SANDRA B CHASALOW SEP IRA ACCT 1324                        5900 SOUTH LAKE FOREST DR STE 300                                      MCKINNEY        TX      75070
SANDRA BEZDICEK VAN KLEECK                                 N 7973 TUNNEL RD                                                       NEW GLARUS      WI      53574
SANDRA BLACKHURST                                          2618 SADIGO TER                                                        NORTH PORT      FL      34286
SANDRA BROSS                                               4723 DAVIS RD                                                          GUTHRIE         OK      73044
SANDRA BRYAN                                               28597 ROAD M                                                           DOLORES         CO      81323-9343
SANDRA BUCHHOLZ                                            W3982 COUNTY RD MM                                                     WATERTOWN       WI      53098-4640
SANDRA BURNETT                                             19216 VENTANA CT                                                       PFLUGERVILLE    TX      78660
SANDRA BURTCHER                                            5111 QUAIL DR                                                          GUTHRIE         OK      73044
SANDRA CANNON                                              1375 N CELIA WAY                                                       LAYTON          UT      84041
SANDRA CLOUD                                               14200 N MAY AVE APT 2214                                               OKLAHOMA CITY   OK      73134-5031
SANDRA CONNER                                              319 JACKSON                                                            PERRY           OK      73077
SANDRA DAVISON                                             1521 S.W. 56TH STREET                                                  OKLAHOMA CITY   OK      73119
SANDRA DAY                                                 212 W. SAN MADELE AVENUE                                               FRESNO          CA      93704
SANDRA DIERKSEN                                            2301 W PURDUE                                                          ENID            OK      73703
SANDRA DONALDSON                                           2105 DONALDSON RD                                                      NEBO            KY      42441
SANDRA DONALDSON LIFE ESTATE                               2105 DONALDSON RD                                                      NEBO            KY      42441
SANDRA DOUGLAS                                             509 S OAK AVE                                                          CHANDLER        OK      74834-3018
SANDRA E SWANK TRUST                                       1404 N MAIN ST                                                         PERKINS         OK      74059
SANDRA EDWARDS                                             1615 VELTA DR                                                          BELEN           NM      87002
SANDRA EDWARDS FAMILY TR 2015                              2720 N LINCOLN ST                                                      STILLWATER      OK      74075
SANDRA ELIZABETH SWANK                                     1404 N MAIN ST                                                         PERKINS         OK      74059
SANDRA FENDRYCH                                            359 RAYMOND LANE                                                       PIEDMONT        OK      73078
SANDRA FENT                                                144 14TH AVE                                                           SAN MATEO       CA      94402
SANDRA FORBES GUTIERREZ                                    PO BOX 88                                                              GLENCOE         OK      74032
SANDRA FUNK                                                64667 E SANDY RIVER LANE                                               RHODODENDRON    OR      97049

SANDRA G CLARK                                             5900 SOUTH LAKE FOREST DR STE 300                                      MCKINNEY        TX      75070
SANDRA GAIL HOOPER IRWIN LVG TR                            824 S ADAMS ST                                                         STILLWATER      OK      74074
SANDRA GILLUM BROWN                                        4912 W BARNES RD                                                       SPOKANE         WA      99208-9155
SANDRA HAMPTON                                             3505 COPPERAS COVE                                                     WICHITA FALLS   TX      76310
SANDRA HANIF                                               6601 CATHY DR                                                          WATAUGA         TX      76148
SANDRA HICKLE                                              19402 BREMERTON LN                                                     SPRING          TX      77388
SANDRA HUDKINS                                             255 INTERSTATE HOLLOW ROAD                                             MOUNT CLAIRE    WV      26408
SANDRA J ALEXANDER                                         12210 STONE HILL                                                       GUTHRIE         OK      73044
SANDRA J PITTMAN                                           439 SOUTH ST CLAIR                                                     WICHITA         KS      67213

SANDRA J WHITLARK                                          5900 SOUTH LAKE FOREST DR STE 300                                      MCKINNEY        TX      75070
SANDRA J. BREEDEN AND STEVEN R. BRE                        780805 S 3400 RD                                                       TRYON           OK      74875
SANDRA K HAFNER                                            9925 S 85TH E AVE                                                      TULSA           OK      74133

SANDRA KAY HUTCHINSON                                      5900 SOUTH LAKE FOREST DR STE 300                                      MCKINNEY        TX      75070
SANDRA KILANDER                                            100 NE NICKERBOCKER AVE                                                REDMONT         OR      97756
SANDRA L MCMANUS                                           PO BOX 73                                                              CAMARGO         OK      73835-0073
SANDRA L PERRYMAN VALERIO REV LIV T                        2839 CURTIS DR                                                         TYLER           TX      75701
SANDRA L PETTUS                                            1820 INDIAN DAM RD                                                     LAHOMA          OK      73754
SANDRA L SOLBERG                                           7786 EAST LAKEVIEW CT                                                  SCOTTSDALE      AZ      85258
SANDRA LEA STRICKLAND                                      24250 E 96TH ST S                                                      BROKEN ARROW    OK      74014-3415
SANDRA LEE                                                 2145 FREMONT DR                                                        OKLAHOMA CITY   OK      73120-3802
SANDRA LITTLE                                              905 NW 21ST CT                                                         ANKENY          IA      50023
SANDRA LOU HARDING                                         PO BOX 472                                                             DARBY           MT      59829


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              CreditorName                CreditorNoticeName                          Address1                            Address2                 Address3            City   State       Zip      Country
SANDRA LOU MINSHALL                                                    336676 E 770 RD                                                                        TRYON           OK      74878
SANDRA MALOY                                                           190 GRENNBRIAR ESTATES DR                                                              ST LOUIS        MO      63122
SANDRA MCCAULEY                                                        PO BOX 607                                                                             CUSHING         OK      74023-0607
SANDRA MEYERS                                                          1603 DRURY LN.                                                                         OKLAHOMA CITY   OK      73116
SANDRA NOLAN                                                           PO BOX 1300                                                                            MCALLEN         TX      78505
SANDRA PARKER                                                          1250 WELLS STREET                                                                      LAKE OSWEGO     OR      97034
SANDRA PERRYMAN                                                        2839 CURTIS DR                                                                         TYLER           TX      75701-8110
SANDRA PETERSEN                                                        1454 CAMINO ROBLES COURT                                                               SAN JOSE        CA      95120
SANDRA R HALL                                                          8805 W CENTENNIAL ROAD                                                                 STILLWATER      OK      74075
SANDRA RANDLEMAN                                                       24921 MUIRLANDS SP 248                                                                 LAKE FOREST     CA      92630
SANDRA S GREINER LIFE ESTATE                                           1204 W SPOON TER                                                                       EDMOND          OK      73025-1811
SANDRA S GREINER REVOCABLE LIVING
TRUST                                                                  1204 W SPOON TER                                                                       EDMOND          OK      73025
SANDRA SCHWINN                                                         13209 S 117 EAST AVE                                                                   BROKEN ARROW    OK      74011
                                                                                                                     9211 Lake Hefner
Sandra Shadowen                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Sandra Shadowen                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Sandra Shadowen                                                        214 S Little Ave                                                                       Cushing         OK      74023
SANDRA SMITH                                                           3303 S PAROTTE                                                                         RIPLEY          OK      74062-6206
SANDRA SMITH                                                           9702 NADINE ST.                                                                        TEMPLE CITY     CA      91780
SANDRA SOULEK                                                          622 PINE RIDGE ST                                                                      PERRY           OK      73077
SANDRA SPRADLING                                                       306 ASHLAND CRK                                                                        VICTORIA        TX      77901-3685
SANDRA STEVENSON                                                       PO BOX 823                                                                             ADA             OK      74821-0823
SANDRA STORY                                                           902 HENRY ST                                                                           CORTEZ          CO      81321-2542
SANDRA TAYLOR HARVEY                                                   5737 NW 31ST TER                                                                       OKLAHOMA CITY   OK      73112
SANDRA TRIBBLE                                                         109 S PATTERSON ST                                                                     GOLDEN          MS      38847
                                                                                                                     9211 Lake Hefner
Sandra Wagner                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Sandra Wagner                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Sandra Wagner                                                          9616 S. 90th East Ave                                                                  Tulsa           OK      74133
SANDRA WAGONER                                                         2721 W HIGHWAY 130                                                                     NEW CASTLE      OK      73065
SANDRA WARREN                                                          14621 WATERFRONT RD                                                                    EDMOND          OK      73013-2427
SANDRA WICHMAN                                                         23485 W 207TH ST                                                                       SPRING HILL     KS      66083
SANDRA ZERBY                                                           10307 N. AIRPORT RD                                                                    CLINTON         OK      73601
                                                                                                                     9211 Lake Hefner
Sandra Boleware                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Sandra Boleware                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Sandra Boleware                                                        4100 NW 21st Terrace                                                                   Oklahoma City   OK      73107
                                                                                                                     9211 Lake Hefner
Sandra Myers                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Sandra Myers                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Sandra Myers                                                           504 Beebe St                                                                           Jones           OK      73049
                                                                                                                     9211 Lake Hefner
Sandra Stiles                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Sandra Stiles                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Sandra Stiles                                                          333701 E. 890 Rd                                                                       Wellston        OK      74881
                                                                                                                     9211 Lake Hefner
Sandra Toby                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
Sandra Toby                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Sandra Toby                                                            3107 SE 14th                                                                           Smith Village   OK      73115
SANDREL JONES-WEBSTER                                                  5510 CASEY LN                                                                          STILLWATER      OK      74074
SANDRIDGE E&P LLC                                                      123 ROBERT S KERR AVE                                                                  OKLAHOMA CITY   OK      73102-6406
SANDRIDGE EXPLOR & PROD LLC                                            PO BOX 654166                                                                          DALLAS          TX      75265-4166


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SANDRIDGE EXPLORATION & PRODUCTION                                    123 ROBERT S KERR AVE                                                 OKLAHOMA CITY      OK      73102-6406
SANDTRAP PROSPECTING CO                                               PO BOX 5286                                                           NORMAN             OK      73070
SANDY H & LILA C SINGLETON LIV TR                                     1613 N SANDPIPER DR                                                   EDMOND             OK      73034
SANDY MARION                                                          PO BOX 22                                                             ATLANTA            KS      67008
SANDY PRUITT                                                          PO BOX 225                                                            PADEN              OK      74860-0225
SANDYS FAMILY TRUST                                                   4 BRANDYWINE                                                          IRVINE             CA      92620
SANFORD SOOTER                                                        3009 MILBURN DRIVE                                                    GRAND JUNCTION     CO      81504
SANGUINE OIL & GAS LLC                                                PO BOX 1811                                                           MIDLAND            TX      79702
SANIDE LEE SKIBA                                                      3112 W SHILOH CREEK AVE                                               STILLWATER         OK      74074
SANJAN HOTSHOT & TRANSPORT                                            PO BOX 13221                                                          ODESSA             TX      79768-3221
SANSING LIVING TRUST DTD 12-28-1995                                   1702 S ROCKFORD AVE                                                   TULSA              OK      74120-7013
SANTA FE TOWNSHIP                                                     300 COURTHOUSE DR BOX 1                                               PERRY              OK      73077
SANTA RITA RESOURCES INC                                              720 FIFTH AVE 10TH FLOOR                                              NEW YORK           NY      10019

SANTORINI PARTNERS LTD                                                5900 SOUTH LAKE FOREST DR STE 300                                     MCKINNEY           TX      75070
SANTOS USA CORP.                                                      500 N WATER STREET, SUITE 1100                                        CORPUS CHRISTI     TX      78401
SAP AMERICA INC                                                       PO BOX 7780-824024                                                    PHILADELPHIA       PA      19182-4024
SAPPINGTON ENERGY INTEREST LTD                                        PO BOX 19160                                                          HOUSTON            TX      77224-9160
SAPPINGTON ENERGY INVESTMENTS LTD                                     PO BOX 19160                                                          HOUSTON            TX      77224-9160
SAPULPA DAILY HERALD                                                  PO BOX 1370                                                           SAPULPA            OK      74067-1370
SARA A. MARVIN TRUST                                                  PO BOX 250969                                                         PLANO              TX      75025
SARA AYCOCK                                                           506 SMITH ST                                                          RAYVILLE           LA      71269
SARA BLY                                                              24511 NW MORELAND RD                                                  NORTH PLAINS       OR      97133
SARA CHAIN LIFE ESTATE                                                17709 EAST UNION ROAD                                                 HUNTER             OK      74640-0716
SARA EDGE                                                             7823 W MELVILLE RD                                                    CHENEY             WA      99004
SARA FAGIN                                                            3720 ZENITH AVE S                                                     MINNEAPOLIS        MN      55410-1166
SARA JANE & DAVID L MARTIN II TRUST                                   1701 SEMINOLE DRIVE                                                   EDMOND             OK      73013
SARA JOHNSTON                                                         7034 E 99TH ST                                                        TULSA              OK      74133
SARA KELLY                                                            326 CREEKSIDE WAY                                                     WAXAHACHIE         TX      75165
SARA KERFOOT                                                          11255 MEADOWS DR                                                      FLINT              TX      75762
SARA LINDA SHACKELFORD                                                1051 CASCADE CIRCLE #102                                              ROCKLEDGE          FL      32955
SARA LU VORHES                                                        3040 SIERRA BLVD                                                      SACRAMENTO         CA      95864
SARA MCDANIEL                                                         23711 HIX RD                                                          CANYON             TX      79015
SARA MICHAEL DAVIDSON                                                 96164 LONG ISLAND PLACE                                               FERNANDINA BEACH   FL      32034
SARA NELMS                                                            8550 MEADOW HILL DR                                                   FRISCO             TX      75033-2424
SARA OIL & GAS INC                                                    6016 KINGSBRIDGE DR                                                   OKLAHOMA CITY      OK      73162
SARA PILGRIM                                                          2818 E 85TH ST                                                        TULSA              OK      74137
SARA RIDDLE                                                           910 GREEN MOUNTAIN DR                                                 LITTLE ROCK        AR      72211-2442
SARA SCOTT                                                            PO BOX 91956                                                          W VANCOUVER        BC      V7V 4S4      CANADA
SARA SEVY                                                             7808 SOMMER CAMP RD                                                   MELBA              ID      83641
SARA STERLING                                                         PO BOX 1489                                                           IDAHO SPRINGS      CO      80452-1489
SARA THOMAS WOOD                                                      6004 AMBERWOOD CT                                                     ARLINGTON          TX      76016-1042
SARAH ANDRY                                                           6342 ANNAPOLIS LN                                                     DALLAS             TX      75214
SARAH ANN PAUL DECD                                                   400 PINE STEET                                                        ABILENE            TX      79601
SARAH ANN RYLAND TEST TRUST                                           3001 E FRANKLIN RD                                                    NORMAN             OK      73071
SARAH AVERY                                                           1864 #4 PAGE STREET                                                   SAN FRANCISCO      CA      94117
SARAH BARNES                                                          1026 ELLIS BLVD                                                       JEFFERSON CITY     MO      65101-2366
SARAH BROYLES CRAWFORD                                                2910 E 9TH ST                                                         CUSHING            OK      74023-6380
SARAH BRUCE                                                           14149 STATE HWY 49                                                    JEFFERSON          TX      75657
SARAH CROASDALE                                                       4700 NW 159TH ST                                                      EDMOND             OK      73013-3297
SARAH DUCKWALL                                                        219 W LAKEVIEW RD                                                     STILLWATER         OK      74075
SARAH ELAINE KOBOS                                                    3709 E 43RD STREET                                                    TULSA              OK      74135
SARAH ELIZABETH BROWNE TRUST                                          3207 SOUTH UTICA AVENUE                                               TULSA              OK      74105
SARAH GOE                                                             204 BROADWAY                                                          COVINGTON          OK      73730
SARAH GROSE                           c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                         Oklahoma City      OK      73116
SARAH HOLBROOK                                                        10402 65 AVE NORTH                                                    SEMINOLE           FL      33772
SARAH HOWELL                                                          625 SOUTHERN CROSS DR                                                 COLORADO SPRINGS   CO      80906
SARAH ISBELL NAAB                                                     PO Box 365                                                            DRUMMOND           OK      73735
SARAH J ASHFORD                                                       4820 LOFTY LANE                                                       PLANO              TX      75093


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SARAH JANE CAMPFIELD A SINGLE PERSO                                      723 NORTH LAWSON                                                                       YALE              OK      74085
SARAH JEAN ALLEN CRANWILL                                                249 HARWOOD AVE                                                                        SATELLITE BEACH   FL      32937
SARAH JEAN THOMAS WOOD                                                   5902 DRY CREEK LN                                                                      ARLINGTON         TX      76017
SARAH KESTER                                                             PO BOX 255                                                                             MIDDLETON         ID      83644
SARAH MACDONALD                                                          13658 W DESERT FLOWER DR                                                               GOODYEAR          AZ      85395
SARAH OFFICER                                                            533 VIRGINIA AVE                                                                       PONCA CITY        OK      74601-2954
SARAH PFEIFFER                                                           1324 FOUCHER ST APT B                                                                  NEW ORLEANS       LA      70115
SARAH POLSON                                                             BOX 362                                                                                BROKEN ARROW      OK      74013-0362
SARAH RAINWATER                                                          2104 E QUEENS ST                                                                       BROKEN ARROW      OK      74012-2077

SARAH S FALLIN                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
SARAH SENGER                                                             5729 E 110TH PL                                                                        TULSA             OK      74137-7281
SARAH WEST                                                               3440 S GARY PL                                                                         TULSA             OK      74105-2918
                                                                                                                       9211 Lake Hefner
Sarah Pressgrove                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sarah Pressgrove                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Sarah Pressgrove                                                         29950 N County Rd 60                                                                   Orlando           OK      73073
SARAI C POWELL                                                           6329 E 9TH ST                                                                          TULSA             OK      74112
SARAI C POWELL                                                           6329 E 9TH ST APT 30                                                                   TULSA             OK      74112
SARAMAY GIBSON                                                           2720 NW 31ST ST                                                                        OKLAHOMA CITY     OK      73112-7464
SARATOGA INVESTMENTS LP                                                  1601 E. 19TH                                                                           EDMOND            OK      73013
SARATOGA ROYALTY LP                                                      PO BOX 141356                                                                          DALLAS            TX      75214
SARDIS HILLS LLC                                                         2917 S DEER CREEK                                                                      STILLWATER        OK      74074

SARE PROPERTIES AND INVESTMENTS LLC                                      523 SOUTH BLAKELY STREET                                                               STILLWATER        OK      74074
SARI ELOLA WATKINS                                                       5135 OLD HICKORY BLVD                                                                  NASHVILLE         TN      37218
SARI FISHER                                                              9332 MERSER                                                                            DALLAS            TX      75401
SARI NEWELL                                                              355 SANDWEDGE LN                                                                       JOHNS CREEK       GA      30022
SASSER MINERALS LLC                                                      PO BOX 515                                                                             PERKINS           OK      74059-0515
SATX MINERAL AND ROYALTY PARTNERS L                                      5111 BROADWAY                                                                          SAN ANTONIO       TX      78209-5709

SATYA KAUSHIK                                                            5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
SAUNDRA HARRIS                                                           17825 E 92ND N                                                                         OWASSO            OK      74055
SAUNDRA HETHERINGTON                                                     71 LEE AVE                                                                             PONCA CITY        OK      74604
SAUNDRA L VALENTINE 2004 IRR TR                                          1409 INDIAN PIPE LN                                                                    WILDWOOD          MO      63038-1314
SAUNDRA MICK                                                             348 COLONY BND                                                                         SHREVEPORT        LA      71115-6114
SAUSALITO INVESTMENTS, LLC                                               8601 N. GEORGIA AVENUE                                                                 OKLAHOMA CITY     OK      73114
SAVANAH CLIFTON A MINOR                                                  1204 MUSCATO COURT                                                                     LAS VEGAS         NV      90144
SAVANNAH INVESTMENT COMPANY                                              PO BOX 2605                                                                            FORT WORTH        TX      76113
SAVANNAH MINERALS LLC                                                    1129 HWY 146 SUITE 370                                                                 KEMAH             TX      77565

SAWRIN M PATEL & NISHA S PATEL                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
                                                                                                                       9211 Lake Hefner
Sawssan Samad                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sawssan Samad                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Sawssan Samad                                                            11005 N. Brauer Ave                                                                    Oklahoma City     OK      73114
Sawyer, Robert                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
SAXUM                                                                    621 N ROBINSON AVE SUITE 600                                                           OKLAHOMA CITY     OK      73102
SAXUM LP                                                                 3004 FAIRMOUNT ST                                                                      DALLAS            TX      75201-1251
SAYRE OIL LLC                                                            PO BOX 258850                                                                          OKLAHOMA CITY     OK      73125-8850
SBL OIL & GAS CORPORATION                                                PO BOX 705                                                                             OKLAHOMA CITY     OK      73101
SBS HOLDINGS LP                                                          601 W MAIN ST                                                                          DECATUR           TX      76234
SCARCE TRUST                                                             PO BOX 2484                                                                            MINDEN            NV      89423

SCARLET KIM SEP IRA ACCT NO 13248                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
SCARLETT DUNCAN                                                          3955 E 12TH ST #116                                                                    CASPER            WY      82609


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SCARLETT R BOWLES                                                        1222 E WALNUT ST                                                          COLUMBUS          KS      66725
SCB ENERGY LTD                                                           PO BOX 302380                                                             AUSTIN            TX      78703
SCB ENERGY LTD                                                           4407 BEE CAVES RD STE 421                                                 WEST LAKE HILLS   TX      78746-6496
SCB INVESTMENTS                                                          3133 PERSIMMON LN                                                         FRISCO            TX      75033
SCHALLENBERG FAMILY REV TR                                               17016 PRESTWICK CIRCLE                                                    EDMOND            OK      73012
SCHANDLE CONSULTING SERVICES                                             10390 BRADFORD RD                                                         LITTLETON         CO      80127
SCHARDT ENTERPRISES INC.                                                 PO BOX 2407                                                               ELK CITY          OK      73648-2407
SCHATZ FAMILY REV TRUST                                                  2110 S WALKING TRL                                                        STILLWATER        OK      74074
SCHATZ FAMILY REVOC TRUST                                                2110 WALKING TRAIL DR                                                     STILLWATER        OK      74074
SCHERFLEIN ROYALTIES, LLC                                                903 SUNSET DRIVE SW                                                       ARDMORE           OK      73401
SCHLANGER VA IRREVOCABLE TRUST                                           5547 CAREW ST                                                             HOUSTON           TX      77096-1009
SCHLANSKER FAMILY TR DTD 5-22-98                                         409 LA PRENDA RD                                                          LOS ALTOS         CA      94024
SCHLUMBERGER CANADA LIMITED                                              PO BOX 1587, STATION M                                                    CALGARY           AB      T2P 3B9      CANADA
                                      Rathil Radhakrishnan, Operations
Schlumberger Rod Lift Inc             Controller                         1325 S. Dairy Ashford Dr.                                                 Houston           TX      77077
SCHLUMBERGER ROD LIFT INC                                                713 MARKET DRIVE                                                          OKLAHOMA CITY     OK      73114
SCHLUMBERGER TECHNOLOGY
CORPORATION                                                              PO BOX 203076                                                             HOUSTON           TX      77216-3076
SCHLUMBERGER TECHNOLOGY
CORPORATION                                                              PO BOX 732149                                                             DALLAS            TX      75373-2149
Schmadl, Danny                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                       Stillwater        OK      74074
SCHMID FAMILY REV TRUST                                                  10733 WHITEHAVEN RD                                                       OKLAHOMA CITY     OK      73120
SCHMIDT RESOURCES INC                                                    PO BOX 30848                                                              EDMOND            OK      73003-0015
SCHNEIDER ENERGY CONSULTING LLC                                          PO BOX 297                                                                FORT MORGAN       CO      80701-0297
SCHNEIDER FAMILY TRUST                                                   11302 S REDLANDS RD                                                       COYLE             OK      73027-4102
SCHNEIDER TR DTD 11-19-01                                                10814 E COUNTY RD 72                                                      COYLE             OK      73027
Schoepflin, Tye                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                       Stillwater        OK      74074
Schonwald Land Inc                    Fred Schonwald                     9434 Cedar Lake Avenue                                                    Oklahoma City     OK      73114
SCHONWALD LAND INC                                                       9434 CEDAR LAKE AVE                                                       OKLAHOMA CITY     OK      73114-7809
SCHOOL DISTRICT 56                                                       103 SW 2ND ST                                                             PERKINS           OK      74059
SCHOOL DISTRICT 56                                                       PO BOX 549                                                                PERKINS           OK      74059-0549
SCHOOL OF GEOLOGY AND GEOPHYSICS                                         100 EAST BOYD RM 710                                                      NORMAN            OK      73019
SCHOON OIL LLC                                                           1348 VINEYARD HAVEN                                                       STATE COLLEGE     PA      16803
SCHOTT FAMILY PARTNERSHIP LP                                             3504 SOUTHWESTERN BLVD                                                    DALLAS            TX      75225-7454
SCHROEDER FARM LLC                                                       PO BOX 1267                                                               STILLWATER        OK      74076-1267
SCHUBERT FAMILY TRUST                                                    7351 N COUNCIL ROAD                                                       CRESCENT          OK      73028
SCHUTZ ABSTRACT COMPANY INC                                              PO BOX 973                                                                SANTA FE          NM      87504-0973
SCHWAB 2015 REVOCABLE TRUST                                              2017 TURTLE CREEK ROAD                                                    EDMOND            OK      73013
SCIENTIFIC DRILLING                                                      PO BOX 301036                                                             DALLAS            TX      75303-1036
SCIENTIFIC ENVIROMENTAL SOLUTIONS                                        7316 MIDWEST LN                                                           EDMOND            OK      73034
SCIENTIFIC ENVIRONMENTAL CONSTRCTIN                                      PO BOX 2556                                                               EDMOND            OK      73083
SCISSORTAIL ENERGY LLC                                                   1437 S BOULDER AVE STE 1500                                               TULSA             OK      74119-3622
SCISSORTAIL INVESTMENTS LLC                                              PO BOX 1866                                                               STILLWATER        OK      74076-1866

SCISSORTAIL PETROLEUM INVESTMENTS L                                      PO BOX 1557                                                               OKLAHOMA CITY     OK      73101-1557

SCOBEE FAMILY REVOCABLE TRUST                                            5900 SOUTH LAKE FOREST DR STE 300                                         MCKINNEY          TX      75070
SCOPE EXPLORATION INC                                                    PO BOX 702571                                                             TULSA             OK      74170-2571
SCOT CAMPBELL                                                            11615 W 100TH ST                                                          COYLE             OK      73027-3002
SCOTT & DEBORAH MILLER FAMILY                                            PO Box 2640                                                               MIDLAND           TX      79702

SCOTT A PETERMANN & REBECCA L PETER                                      715 NORTH JARDOT ROAD                                                     STILLWATER        OK      74075
SCOTT ALAN WALTON                                                        618 HOLLY STREET                                                          PERRY             OK      73077
SCOTT ALDRIDGE                                                           4430 WESTON LANE N                                                        PLYMOUTH          MN      55446
SCOTT ALEXANDER                                                          600 W 58TH ST                                                             KANSAS CITY       MO      64113
SCOTT ALLEN TEETERS                                                      4220 SE 52ND STREET APT 1                                                 OKLAHOMA CITY     OK      73135
SCOTT BEVER                                                              19850 E 131ST ST                                                          BROKEN ARROW      OK      74014
SCOTT C MILLER JR LIVING TRUS                                            PO Box 2640                                                               MIDLAND           TX      79702
SCOTT CARROLL                                                            PO BOX 20126                                                              OKLAHOMA CITY     OK      73156


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SCOTT CAUSEY                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK    73116
SCOTT DUDEK                                                          16592 N WESTERN                                                                        MULHALL            OK    73063
SCOTT DUNCAN                                                         2101 E 24TH ST                                                                         CASPER             WY    82601
                                                                                                                   9211 Lake Hefner
Scott Durant                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                  c/o Laminack, Pirtle & Martines,
Scott Durant                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Scott Durant                                                         2511 E 29th Place North                                                                Tulsa              OK    74110
SCOTT EDWARDS                                                        12414 W LEXUS CT                                                                       BOISE              ID    83713
SCOTT ERNST                                                          2101 WEST 23RD STREET                                                                  STILLWATER         OK    74074
SCOTT EUSTICE                                                        9543 E 81ST ST APT 603                                                                 TULSA              OK    74133-8111
SCOTT G JACKSON AND                                                  1211 NORTH HIGHTOWER STREET                                                            STILLWATER         OK    74075
SCOTT GIBBS                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK    73116
SCOTT GORDON                                                         14212 SMITHURST RD                                                                     EDMOND             OK    73013
SCOTT GROVER                                                         7208 JAGGED ROCK CIRCLE                                                                COLORADO SPRINGS   CO    80927
SCOTT HACKWORTH                                                      2808 STERLING DR                                                                       EDMOND             OK    73012-3619
SCOTT HAMPTON                                                        2821 S PINE ST                                                                         GUTHRIE            OK    73044
SCOTT HARTING                                                        7915 E LAKEVIEW RD                                                                     STILLWATER         OK    74075
SCOTT HAYDEN                                                         25360 W 265TH ST                                                                       PAOLA              KS    66071-5498
SCOTT HELLER                                                         5308 W 68TH                                                                            STILLWATER         OK    74074
SCOTT HILLEN                                                         3504 S WALKER RD N                                                                     WALKER             LA    70785
SCOTT HUBBARD                                                        312 S TERRILL DR                                                                       STILLWATER         OK    74075
SCOTT HUNTER                                                         6229 WOODBRIDGE ST                                                                     CHINO HILLS        CA    91709
SCOTT INVESTMENT GROUP LLC                                           7237 PARKWOOD BLVD                                                                     PLANO              TX    75024
SCOTT JAMES                                                          18501 JOHN WAYNE 6                                                                     PERRY              OK    73077
SCOTT JOHNSON                                                        17854 DEER PARK LOOP                                                                   BAKER CITY         OR    97814-8430
SCOTT KNAPP                                                          5525 WEST STATE ROAD 45                                                                BLOOMINGDALE       IN    47403
SCOTT LEWIS                                                          1134 MARY KEVIN DR                                                                     SLIDELL            LA    70461
SCOTT LIMKE                                                          PO BOX 100                                                                             CHOCTAW            OK    73020-0100
SCOTT LOMELI                                                         1325 CROSSGATES LN                                                                     SAN JOSE           CA    95120
SCOTT LOUDERMILK                                                     107 VARSITY CR.                                                                        ARLINGTON          TX    76013
SCOTT MCCUBBIN                                                       2808 DOGWOOD DR                                                                        EDMOND             OK    73013
SCOTT MCGILLIARD                                                     823 E 2ND ST                                                                           TRINIDAD           CO    81082
SCOTT MINOR                                                          6708 S PECAN RD                                                                        STILLWATER         OK    74074
SCOTT MUELLER                                                        PO BOX 18756                                                                           OKLAHOMA CITY      OK    73154-0756
SCOTT NESTER                                                         83 E FEDORA AVE                                                                        FRESNO             CA    93704-4508
SCOTT OIL & GAS PROPERTIES LLC                                       7237 PARKWOOD BLVD                                                                     PLANO              TX    75024
SCOTT P CARROLL                                                      PO BOX 20126                                                                           OKLAHOMA CITY      OK    73156
SCOTT PADDOCK                                                        14100 E 106TH ST N APT 617                                                             OWASSO             OK    74055-6084
SCOTT PARKER                                                         5116 W 2ND AVE                                                                         STILLWATER         OK    74074-6893
SCOTT PARKS                                                          925 HIGHLAND DR                                                                        GRAND PRAIRIE      TX    75051-2926
SCOTT POLLMAN                                                        22850 COUNTY RD 170                                                                    PERRY              OK    73077
SCOTT POLLMAN                                                        22850 CR 170                                                                           PERRY              OK    73077
SCOTT RAY PACE                                                       PO BOX 150                                                                             LEON               OK    73441
SCOTT RIPLEY REV TRUST                                               1601 N BRUSH CREEK RD                                                                  STILLWATER         OK    74075
SCOTT RUPP                                                           360 COUNTY RD D EAST                                                                   LITTLE CANADA      MN    55117
SCOTT SACHS                                                          3309 PERSIMMON CREEK DR                                                                EDMOND             OK    73013-7847
SCOTT SCHAFROTH                                                      3376 SILVER SADDLE DR                                                                  LAKE HAVASU CITY   AZ    86406
SCOTT SCHNEIDER                                                      5011 W 3RD AVE                                                                         STILLWATER         OK    74074-6796
SCOTT SHINN                                                          9604 SQUIRE LN                                                                         YUKON              OK    73099-7357
SCOTT SHORT                                                          1124 EQUINE DR                                                                         STILLWATER         OK    74074
SCOTT SIMS                                                           27301 226TH AVE SE                                                                     MAPLE VALLEY       WA    98038-8119
SCOTT SNYDER                                                         6337 CUSTER LN                                                                         OROVILLE           CA    95966-9555
SCOTT STOCKTON                                                       2411 S. NEWBERRY CT.                                                                   DENVER             CO    80224
SCOTT TRIBBLE                                                        269 S 184TH E AVE                                                                      TULSA              OK    74108
SCOTT TRUDEAU                                                        8 HICKORY DR                                                                           GREENBRIER         AR    72058
SCOTT W SEWELL GST EXEMPT RESRY                                      212 HANOVER DRIVE                                                                      EDMOND             OK    73034
SCOTT WEBSTER                                                        7917 SELMA AVENUE, APT. 210                                                            LOS ANGELES        CA    90046
SCOTT WILLIAMS                                                       1635 S FORENCE AVE                                                                     TULSA              OK    74104


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SCOTT YATES AND HEATHER N YATES JT                                       2115 S SUSIE Q LN                                                                      STILLWATER       OK    74074-6626
                                                                                                                       9211 Lake Hefner
Scott Clift                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Scott Clift                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Scott Clift                                                              2013 Brookhaven Dr                                                                     Edmond           OK    73034
                                                                                                                       9211 Lake Hefner
Scott Potter                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Scott Potter                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Scott Potter                                                             10074 Ridgecrest Rd                                                                    Guthrie          OK    73034
                                                                                                                       9211 Lake Hefner
Scott Wilson                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Scott Wilson                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Scott Wilson                                                             10104 Samantha Ct                                                                      Oklahoma City    OK    73162
Scott, Morgan                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK    73116
SCOTTY LEMMERMAN                                                         1305 SWAN LAKE RD                                                                      EDMOND           OK    73003
SCOTTY OLDENBURG                                                         PO BOX 1295                                                                            KINGFISHER       OK    73750

SCOUT C LEE AND CAROL ANN WASHBURN                                       251 LAKEAIRE DRIVE                                                                     EUFAULA          OK    74432
SCOUT ROYALTY CORPORATION                                                PO BOX 1348                                                                            EDMOND           OK    73083
SCREAMING MIMI OIL COMPANY INC                                           PO BOX 6508                                                                            LAWTON           OK    73506-0508
SCS TRUST                                                                1312 E 32ND AVE                                                                        STILLWATER       OK    74074-7021
SDS PETROLEUM CONSULTANTS LLC                                            PO BOX 456                                                                             TROUP            TX    75789-0456
SEA BREEZE LLC                                                           PO BOX 729                                                                             TULSA            OK    74101-0729
SEA GYPSY PROPERTIES LLC                                                 10293 COCONUT ROAD                                                                     BONITA SPRINGS   FL    34135
SEA ISLAND ACQUISITION LLC                                               PO BOX 30861                                                                           SEA ISLAND       GA    31561-0861
SEA LION INVESTMENTS LP                                                  16400 DALLAS PARKWAY SUITE 100                                                         DALLAS           TX    75248
SEA LION MINERALS LP                                                     4608 ABBOTT AVE UNIT 108                                                               DALLAS           TX    75205-3961
SEA SAND ROYALTIES LLC                                                   7016 CALM MEADOW DRIVE                                                                 FRISCO           TX    75035
SEABOARD INTERNATIONAL INC                                               PO BOX 301861                                                                          DALLAS           TX    75303-1861
SEACON ENERGY LLC                                                        PO BOX 57880                                                                           OKLAHOMA CITY    OK    73157
SEAN CLARK                                                               RR 3 BOX 5110                                                                          WESTVILLE        OK    74965-9202
SEAN COCHRANE                                                            803 HILL TOP DR                                                                        CLARKS SUMMIT    PA    18411
                                                                                                                       9211 Lake Hefner
Sean D Seaborough                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Sean D Seaborough                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Sean D Seaborough                                                        3742 N. Iroquois                                                                       Tulsa            OK    74106
SEAN DAVIS                                                               4624 E HAL;EY LANE                                                                     STILLWATER       OK    74074
SEAN DOHERTY                                                             625 WARWICK RD                                                                         BALTIMORE        MD    21229-4706
SEAN FITZPATRICK                                                         22049 IRONHORSE PL                                                                     SANTA CLARITA    CA    91390
SEAN KEITH                                                               17551 FRONTIER                                                                         PERRY            OK    73077
SEAN LOGAN                                                               16100 CR 20                                                                            BILLING          OK    74630
SEAN MICHAEL CANNON                                                      234 BAY COLONY DRIVE                                                                   LA PORTE         TX    77571
SEAN ZRUST                                                               4713 E KARA DR                                                                         STILLWATER       OK    74074
SEANA PROPERTIES LLC                                                     1 WEST 3RD ST SUITE 1000                                                               TULSA            OK    74103
SEAPORT INC                                                              PO BOX 5646                                                                            EDMOND           OK    73083-5646
SEAPORT PARTNERS LLC                                                     PO BOX 31446                                                                           EDMOND           OK    73003-0025
SEARLE MINERAL HOLDINGS LLC                                              PO BOX 2315                                                                            PAGOSA SPRINGS   CO    81147
SEBRANEK FAMILY REV TR DTD JUL 18 2                                      615 E GARBER RD                                                                        GARBER           OK    73738
SEC PRODUCTION INC                                                       3206 TEAKWOOD LN                                                                       EDMOND           OK    73013-3709
SECREST FAMILY TRST                                                      5818 LAKE MCMURTRY RD                                                                  STILLWATER       OK    74075
SECRETARY OF HOUSING & URBAN                                             4400 WILL ROGERS PKWY STE 300                                                          OKLAHOMA CITY    OK    73018-1837

SECRETARY OF HOUSING AND URBAN DEV                                       1670 BROADWAY FLOOR 21                                                                 DENVER           CO    80202
SECRETARY OF STATE                                                       2300 N LINCOLN BLVD RM 101                                                             OKLAHOMA CITY    OK    73105-4897



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SECRETARY OF VETERAN AFFAIRS AN OFF                                   125 SOUTH MAIN                                                                MUSKOGEE        OK      74401
SECURITY BUSINESS CAPITAL LLC FBO S                                   PO BOX 60593                                                                  MIDLAND         TX      79711-0593

SECURITY TELEPHONE ANSWERING SERVIC                                   3532 NW 23RD STREET                                                           OKLAHOMA CITY   OK      73107
SEELIG TRUST DTD. 9-16-2013                                           910828 S 3440 ROAD                                                            CHANDLER        OK      74834
SEI HOLDINGS INC.                                                     26227 100TH STREET                                                            MAYSVILLE       OK      73057
SEIBOLD ENERGY COMPANY INC                                            PO BOX 1197                                                                   OKLAHOMA CITY   OK      73101-1197
SEIGLE TAYLOR OIL & GAS LLC                                           PO BOX 109                                                                    WINNSBORO       TX      75494
SEISMIC EXCHANGE INC                                                  4805 WESTWAY PARK BLVD                                                        HOUSTON         TX      77041
SEITEL DATA LTD                                                       PO Box 202566                                                                 DALLAS          TX      75320-2566
SEITEL SOLUTIONS LTD                                                  PO Box 202566                                                                 DALLAS          TX      75320-2566
SEKANI EXPLORATION LLC                                                817 LEGACY DRIVE                                                              EDMOND          OK      73025
SELCO OIL & GAS                                                       PO BOX 2638                                                                   DANVILLE        CA      94526-7638
SELDON MCENTIRE                                                       345671 E 810 RD                                                               AGRA            OK      74824-6349
SELETHA REED                                                          9213 N RIPLEY RD                                                              GLENCOE         OK      74032
SELFRIDGE RESOURCES INC                                               PO BOX 797                                                                    PURCELL         OK      73080
SELMA ELDRIDGE                                                        5864 ORY OAK DR                                                               SAN JOSE        CA      95120
SELMA HENKE WILLIAMS                                                  25707 S 206 PLACE                                                             QUEEN CREEK     AZ      85142
SELMA HENKE WILLIAMS REV TRUST                                        25707 S 206TH PL                                                              QUEEN CREEK     AZ      85142
SEMINOLE COUNTY CLERK                                                 PO BOX 1180                                                                   WEWOKA          OK      74884-1180
SEMINOLE ENERGY SERVICES LLC                                          SUITE 300, 1323 E 71st ST                                                     TULSA           OK      74136
SEMINOLE HUMANE SOCIETY                                               PO BOX 88                                                                     SEMINOLE        OK      74818-0088
SEMINOLE PETROLEUM LLC                                                6914 SNIDER PLZ                                                               DALLAS          TX      75205-1333

SEMPRA ENERGY EXPLORATION COMPANY L                                   8235 S DOUGLAS                                                                DALLAS          TX      75225
SENG FAMILY TRUST                                                     11600 ASHFORD DR                                                              YUKON           OK      73099-8010
SEQUOYAH ENERGY                                                       1000 W WILSHIRE BLVD, STE 207                                                 OKLAHOMA CITY   OK      73116
                                      SEQUOYAH ENERGY HOLDINGS
SEQUOYAH ENERGY HOLDINGS LLC          LLC                                                                                                           OKLAHOMA CITY   OK      73116
SEQUOYAH ENTERPRISES INC                                              600 N WALKER AVE STE 240                                                      OKLAHOMA CITY   OK      73102-1656
SEREITA COOPER                                                        616 N BRETHREN RD                                                             CUSHING         OK      74023-6035

SERGEI JAKOVENKO JR & ANNETTE                                         5900 SOUTH LAKE FOREST DR STE 300                                             MCKINNEY        TX      75070
SERGIO M ABIT JR. AND                                                 2207 EAST WILL ROGERS DRIVE                                                   STILLWATER      OK      74075
SERVPRO OF EDMOND                                                     112 NE 138TH ST                                                               EDMOND          OK      73013
SES HOLDINGS LLC                                                      PO BOX 203997                                                                 DALLAS          TX      75320-3997
SETH DAVIS                            c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                           Stillwater      OK      74074
SETH HARRINGTON                                                       5 TEWKSBURY ST                                                                LEXINGTON       MA      02421-4603
SETH HERNDON                                                          PO BOX 702158                                                                 TULSA           OK      74170-2158
SETH I GLENN                                                          7825 DORIS DR                                                                 OKLAHOMA CITY   OK      73162
SETH LAUER                                                            1133 FLAG RD                                                                  ABILENE         KS      67410
SETH MORRIS                                                           9678 HARDTRIGGER RD                                                           MELBA           ID      83641
SETH POLLACK                                                          3706 MICHIGAN AVE                                                             KANSAS CITY     MO      64109-2842
SETH RENFRO                                                           1489 CTY RD 1120                                                              HUNTSVILLE      MO      65259
SETH ROBINSON                                                         427 S HOPPY RD                                                                STILLWATER      OK      74075
SETH WALKER                           c/o White Star Petroleum, LLC   510 S Main St                                                                 Leedey          OK      73654
SEVEN JARS LLC                                                        42 BUSINESS CENTRE DR UNIT 101                                                MIRAMAR BEACH   FL      32550-6983
Seward, Matthew                       c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                           Stillwater      OK      74074
SEYMOUR C DEWITT                                                      11470 SAFFRON COURT                                                           VENICE          FL      34292
SFF PRODUCTION LLC                                                    PO BOX 2080                                                                   MIDLAND         TX      79702
SFF ROYALTY LLC                                                       PO BOX 2080                                                                   MIDLAND         TX      79702
SFI OIL & GAS PRODUCTION SYSTEMS LL                                   PO BOX 429                                                                    ELK CITY        OK      73648-0429
SG I MINERALS LLC                                                     PO BOX 471288                                                                 FORT WORTH      TX      76147
SGC ENERGY INC                                                        1605 EASY ST                                                                  WICHITA         TX      76302
SGH ENTERPRISES INC                                                   15 E 5TH STREET STE 1000                                                      TULSA           OK      74103
SH PRODUCTIONS INC                                                    301 W. MAIN ST., STE. 600                                                     ARDMORE         OK      73401
Shaban Janloo                         c/o Allen Stewart, PC           Attn: Allen M Stewart                   325 N Saint Paul St   Ste. 4000       Dallas          TX      75070
Shaban Janloo                         c/o Drummond Law, PLLC          Attn: Donald A Lepp                     1500 South Utica      Ste. 400        Tulsa           OK      74104


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Shaban Janloo                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                              New York          NY      10017
Shaban Janloo                                                            823 W. Cherokee Ave                                                                    Stillwater        OK      74075
Shackelford, Joshua                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City     OK      73116
SHAD KILEY HANE & MARY MELINDA HANE                                      7212 S WASHINGTON ST                                                                   STILLWATER        OK      74074-8138
SHADY ACRES RV PARK LLC                                                  3003 E 92ND                                                                            PERKINS           OK      74059
SHAFER COMPUTER & ELECTRONICS                                            1425 OKLAHOMA AVE.                                                                     WOODWARD          OK      73801
SHAFTER LAKE ROYALTY                                                     PO Box 12208                                                                           Dallas            TX      75225
SHAH ENERGY LLC                                                          3448 NW 172ND TER                                                                      EDMOND            OK      73012-7098
SHAKTI ENERGY LLC                                                        PO BOX 6115                                                                            EDMOND            OK      73083
                                                                                                                       9211 Lake Hefner
Shalana Robb Moad                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Shalana Robb Moad                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Shalana Robb Moad                                                        713 East Vilas Ave                                                                     Guthrie           OK      73044
SHALLOW SANDS LLC                                                        414 SE WASHINGTON BLVD #148                                                            BARTLESVILLE      OK      74006
SHAMROCK NATURAL RESOURCES LLC                                           312 SOUTH 16TH STREET                                                                  FORT SMITH        AR      72901
SHAMROCK PROPERTIES LLC                                                  1700 WATERFRONT PKWY #600                                                              WICHITA           KS      67206
SHANA BODDERIJ                                                           24 OREGON WAY                                                                          OLIVERHURST       CA      95961
SHANA HAGAN                                                              6224 ALDAMA ST                                                                         LOS ANGELES       CA      90042-2621
SHANE A. MILLER                                                          337794 E. 830 RD                                                                       CARNEY            OK      74832
SHANE DILLER                                                             3211 MARK LN                                                                           MIDLAND           TX      79707
SHANE ESTUS                                                              7425 NW 133RD ST                                                                       OKLAHOMA CITY     OK      73142
SHANE FAIRLIE                                                            200 SE MORNINGSIDE AVE                                                                 BARTLESVILLE      OK      74006-2209
SHANE MATSON                                                             1016 E 19TH ST                                                                         TULSA             OK      74120
SHANE MEEK                                                               2703 COLONIAL CIR                                                                      MCKINNEY          TX      75070
SHANE MICHAEL TRIM                                                       8660 GRANDE PASS                                                                       KANSAS CITY       MO      64114
SHANE SHIPLEY                                                            26621 E 750 RD                                                                         CRESENT           OK      73028
SHANE SUMMERS                                                            14515 WUNDERLICH DR, #1004                                                             HOUSTON           TX      77069
SHANE T THOMAS                                                           219 SOUTH AGRA ROAD                                                                    CUSHING           OK      74023
SHANE TAFF                                                               203 E FRENCH                                                                           PERKINS           OK      74059
SHANE THOMAS                                                             219 S. AGRA RD                                                                         CUSHING           OK      74023
                                                                                                                       9211 Lake Hefner
Shane Buss                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Shane Buss                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Shane Buss                                                               10132 Black Oaks Dr                                                                    Oklahoma City     OK      73165
                                                                                                                       9211 Lake Hefner
Shane Richardson                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Shane Richardson                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Shane Richardson                                                         1518 Mill Creek Rd                                                                     Edmond            OK      73025
SHANI D DEVLIN                                                           2715 W KETTLEMAN LN 203/304                                                            LODI              CA      95242
SHANNA SUE HOUSTON                                                       3694 E PHILLIPS CIRCLE                                                                 CENTENNIAL        CO      80122
                                                                                                                       9211 Lake Hefner
Shanna Etemadi                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Shanna Etemadi                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Shanna Etemadi                                                           15800 Brenton Hills Ave                                                                Edmond            OK      73012
SHANNAN WEBB                                                             6525 ACORN DR                                                                          EDMOND            OK      73025-9659
SHANNON AUSTIN                                                           13228 SIGNATURE CIR                                                                    OKLAHOMA CITY     OK      73142
SHANNON BASILE                                                           2808 BRITTANY DR                                                                       ANCHORAGE         AK      99504-3980
SHANNON BECKER                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
SHANNON BIZZELL                                                          9409 SW 33RD ST                                                                        OKLAHOMA CITY     OK      73179-1277
SHANNON CLINIC                                                           PO BOX 22000                                                                           SAN ANGELO        TX      76902-7200
SHANNON CULLER                                                           14741 S. Jordan Ct.                                                                    Glenpool          OK      74033
SHANNON ELLEDGE                                                          545 S PRAIRIE ST                                                                       JACKSONVILLE      IL      62650
SHANNON FRANCIS                                                          3116 BURKS LN                                                                          AUSTIN            TX      78732-2117
SHANNON HEIKKILA                                                         1341 TEN BAR TRAIL                                                                     SOUTHLAKE         TX      76092
SHANNON HOLDINGS, LLC                                                    PO Box 2640                                                                            MIDLAND           TX      79702


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SHANNON MOSIER                                                   3500 19TH ST APT 207                                                                   SAN FRANCISCO      CA      94110
SHANNON RICHARDSON                                               1235 LAKE PLAZA DR, SUITE 124                                                          COLORADO SPRINGS   CO      80906
SHANNON SANDMEYER                                                109 N BOYD PL                                                                          SAPULPA            OK      74066
SHANNON STUART                                                   1210 N WASHINGTON                                                                      MAGNOLIA           AR      71753-2460
SHANNON THIELE                                                   606 QUAIL CREEK DR                                                                     PERRY              OK      73077-1316
SHANNON WILSON                                                   PO BOX 436                                                                             KEARNEY            MO      64048
SHANNON WORLEY                                                   11921 NW 136TH TERRACE                                                                 PIEDMONT           OK      73078
                                                                                                               9211 Lake Hefner
Shannon Mallett               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Shannon Mallett               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Shannon Mallett                                                  4275 Oak Valley                                                                        Guthrie            OK      73044
SHANNS LAWN & LANDSCAPE LLC                                      601 S WASHINGTON BOX 104                                                               STILLWATER         OK      74074
SHARAD JAIN                                                      706 WINDING BEND CIRCLE                                                                HIGHLAND VILLAGE   TX      75077
SHARE CARR                                                       1511 W ADMIRAL BLVD                                                                    TULSA              OK      47127
SHAREFILE                                                        120 S WEST ST                                                                          RALEIGH            NC      27603-1834
SHAREN K MEAD                                                    1104 6TH ST                                                                            MONETT             MO      65708-1455
SHARI BERGER                                                     2104 WILLOW BEND DR                                                                    EDMOND             OK      73003
SHARLA COWDEN                                                    705 S ALVORD BLVD                                                                      EVANSVILLE         IN      47714-2239
SHARLA EDWARDS                                                   PO BOX 336                                                                             MIDDLETON          ID      83644
SHARLENE DAVIS                                                   PO BOX 68                                                                              PROSPER            TX      75078
                                                                                                               9211 Lake Hefner
Sharlon K Cortes              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Sharlon K Cortes              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Sharlon K Cortes                                                 1512 W. Indianola St.                                                                  Broken Arrow       OK      74012
Sharon Adams                  c/o Edward L. White, PC            Attn: Edward L White                          829 E. 33rd St                           Edmond             OK      73013
Sharon Adams                  c/o Jeffery Hirzel                 PO Box 279                                    119 S. Broad                             Guthrie            OK      73044
Sharon Adams                                                     320 S Division St                                                                      Guthrie            OK      73044
SHARON AND JERRY J LAMBDIN                                       104 S EDNA DR, UNIT S                                                                  STILLWATER         OK      74075
SHARON ANDREWS                                                   2204 N DWIGHT                                                                          PAMPA              TX      79065
                                                                                                               9211 Lake Hefner
Sharon Ann Bruce              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Sharon Ann Bruce              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Sharon Ann Bruce                                                 2508 Bellaire Dr                                                                       Moore              OK      73160
SHARON AWTREY                                                    282 MADISON CO 7617                                                                    HUNTSVILLE         AR      72740
                                                                                                               9211 Lake Hefner
Sharon B. Dowling             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Sharon B. Dowling             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Sharon B. Dowling                                                1394 Scenic Trail                                                                      Choctaw            OK      73020
SHARON BARBARA GONZALES                                          4507 W GLEN SW                                                                         ALBUQUERQUE        NM      87105
SHARON BARDEN                                                    2467 MONTE CARLO DR                                                                    GERMANTOWN         TN      38139-6543

SHARON BARNES                                                    9950 STEPHEN RICHARDS MEMORIAL DR                                                      JUNEAU             AK      99801
SHARON BAYLESS                                                   4501 SW 97TH ST                                                                        WAKARUSA           KS      66546-9679
SHARON BECK                                                      58 DUNDEE LN                                                                           PUEBLO             CO      81001
SHARON BELL                                                      607 S ROSE AVE                                                                         GLENCOE            OK      74032
Sharon Binkley                c/o Allen Stewart, PC              Attn: Allen M Stewart                       325 N Saint Paul St    Ste. 4000           Dallas             TX      75070
Sharon Binkley                c/o Drummond Law, PLLC             Attn: Donald A Lepp                         1500 South Utica       Ste. 400            Tulsa              OK      74104
Sharon Binkley                c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                       747 3rd Ave                                New York           NY      10017
Sharon Binkley                                                   5051 County Road 6050                                                                  Ralston            OK      74650
SHARON BISHOP                                                    2705 DEERING                                                                           ODESSA             TX      79762-5124
SHARON BLACKBURN                                                 PO BOX 1346                                                                            MONROEVILLE        AL      36461
                                                                                                             9211 Lake Hefner
Sharon Bogle                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins Parkway                Ste. 104            Oklahoma City      OK      73120
                              c/o Laminack, Pirtle & Martines,
Sharon Bogle                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006


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Sharon Bogle                                                             3710 S. Nassau Ave                                                                     Sand Springs      OK      74063
SHARON BOND                                                              3202 N ST NW                                                                           MIAMI             OK      74354
SHARON BOYD                                                              20201 LARIAT                                                                           PERRY             OK      73077
SHARON CAMPBELL                                                          4673 VALLEY END LANE                                                                   FAIRFIELD         CA      94534
SHARON COLLINS HAZLEWOOD                                                 2832 SPRUCE PARK DR                                                                    RICHLAND HILLS    TX      76118
SHARON D BANKS FAMILY TRUST                                              PO BOX 852054                                                                          YUKON             OK      73085
SHARON DEAN                                                              3866 HWY 105                                                                           HULL              TX      77564
SHARON DEANN M KURIMAY JARRETT                                           1031 W ACACIA AVE                                                                      ORANGE            CA      92868-2519
                                                                                                                       9211 Lake Hefner
Sharon Dehaarte                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sharon Dehaarte                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Sharon Dehaarte                                                          10924 E. 66th St                                                                       Tulsa             OK      74133
SHARON EVANS                                                             PO BOX 915                                                                             PERKINS           OK      74059-0915
SHARON FAYE TAYLOR                                                       3515 CREEK XING                                                                        PERKINS           OK      74059-4291
SHARON FISHER BUCKINGHAM SUCC TRST                                       2020 SUNRISE CIR                                                                       SANIBEL           FL      33957-4022
SHARON FISHER BUCKINGHAM TRUST                                           10100 CYPRESS COVE DR                                                                  FORT MYERS        FL      33908-7643
SHARON G OBERBROCKLING LVG TR                                            RT 1 BOX 199                                                                           GUTHRIE           OK      73044
SHARON GORHAM                                                            10515 8TH AVENUE SOUTH                                                                 TACOMA            WA      98444
                                                                                                                       9211 Lake Hefner
Sharon Griffin                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sharon Griffin                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Sharon Griffin                                                           1812 N. Firewood Ave                                                                   Broken Arrow      OK      74012
SHARON GUNKEL                                                            13123 W 80TH ST                                                                        COYLE             OK      73027

SHARON H SCOTT REVOCABLE INTERVIVOS                                      4929 W COUNTRY CLUB DR                                                                 STILLWATER        OK      74074
SHARON HAMILTON                                                          6905 BRADFORD ESTATES DR                                                               SACHSE            TX      75048

SHARON HARBAUGH                                                          DECEASED OWNER 1150 W GRAND AVE                                                        POMONA            CA      91766-2740
SHARON HEPPLER                                                           150 E CEDAR ST                                                                         PERRY             OK      73077
SHARON HINER                                                             357 N 234TH ST W                                                                       HASKELL           OK      74436
SHARON HOECKER TR                                                        112 RIVER VIEW DR                                                                      PONCA CITY        OK      74604
SHARON HOLMAN                                                            7205 OVERLAND TR                                                                       RIPLEY            OK      74062-6336
SHARON JABARI                                                            16150 SE WALNUT HILL RD                                                                AMITY             OR      97101
SHARON K BARNES LIVING TRUST                                             PO BOX 23152                                                                           JUNEAU            AK      23152
SHARON K BRIXEY                                                          11232 GREENBRIAR CHASE                                                                 OKKLAHOMA CITY    OK      73170
SHARON K CROSS                                                           130 PLANTATION DR                                                                      NEW IBERIA        LA      70563
SHARON K FELIBLE REV TRUST DTD 1124                                      6520 108TH AVE N E                                                                     NORMAN            OK      73026-9725

SHARON K LAMBDIN SEPARATE PROPERTY                                       104 SOUTH EDNA DRIVE UIT S                                                             STILLWATER        OK      74074
SHARON K LONG                                                            7605 N 126TH EAST AVE                                                                  OWASSA            OK      74055
SHARON K LONG REVOCABLE TRUST                                            7605 N 126 E AVE                                                                       OWASSO            OK      74055
SHARON K MCCULLOUGH                                                      219 COUNTY ROAD 1400                                                                   CEMENT            OK      73017
SHARON K RINGER REV LVG TR                                               21874 N COUNCIL RD                                                                     EDMOND            OK      73012
SHARON KATHLEEN WIELAND                                                  3909 CATHEDRAL OAK DR                                                                  ARLINGTON         TX      76005
SHARON KAY MCELVEEN                                                      2024 TURNER ST                                                                         PONCA CITY        OK      74604
SHARON KAY MORELAND TRUST                                                3560 MCKINLEY STREET                                                                   RIVERSIDE         CA      92506
SHARON KAY NIVENS HIGGINS REV TR                                         505 TAN TARA RD                                                                        STILLWATER        OK      74074
                                                                                                                       9211 Lake Hefner
Sharon Kay Cunningham                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sharon Kay Cunningham                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Sharon Kay Cunningham                                                    3009 Kelsey Dr                                                                         Edmond            OK      73013
                                                                                                                       9211 Lake Hefner
Sharon Kay Patana                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sharon Kay Patana                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Sharon Kay Patana                                                        319 Wayne Ave                                                                          Edmond            OK      73034


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SHARON KAYE HIGGINS                                               505 TAN TARA RD                                                                        STILLWATER         OK      74074
SHARON KAYE MICHEL                                                3530 N WILLIS BLVD                                                                     PORTLAND           OR      97217
SHARON KNIERIM GRAHAM                                             1458 LYNDHURST AVE                                                                     CAMARILLO          CA      93010
SHARON KURIMAY                                                    1031 W ACACIA                                                                          ORANGE             CA      92868
SHARON L DANIEL LIVING TRUST                                      1957 CHANDELLE LOOP NE                                                                 ALBUQUERQUE        NM      87112-4706
SHARON L HEPPLER TR                                               150 E CEDAR ST                                                                         PERRY              OK      73077
                                                                                                                9211 Lake Hefner
Sharon L Jones                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                               c/o Laminack, Pirtle & Martines,
Sharon L Jones                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Sharon L Jones                                                    1538 N. Yorktown Ave                                                                   Tulsa              OK      74110
SHARON LACY                                                       508 E STONE CIR                                                                        WYLIE              TX      75098
SHARON LAEUGER SKELTON                                            PO BOX 1247                                                                            WARDEN             WA      98857
SHARON LAWRENCE JELSMA                                            1108 OAK TREE DRIVE                                                                    EDMOND             OK      73025
SHARON MARSHALL                                                   3589 BLUE JAY WAY #203                                                                 EAGAN              MN      55123
                                                                                                                9211 Lake Hefner
Sharon McAuliff                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                               c/o Laminack, Pirtle & Martines,
Sharon McAuliff                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Sharon McAuliff                                                   1263 N. Braden Ave                                                                     Tulsa              OK      74115
SHARON MIKLES                                                     10700 SW 35TH ST                                                                       YUKON              OK      73099-0446
SHARON MILLER                                                     PO BOX 584                                                                             EL GRANADA         CA      94018
SHARON MILLS                                                      5710 SAN CRISTOBAL DR                                                                  COLORADO SPRINGS   CO      80923-3420
SHARON MOLL                                                       8100 KEMPSTON CT                                                                       LAS VEGAS          NV      89129
SHARON MONSEY                                                     13230 BLANCO RD APT 1401                                                               SAN ANTONIO        TX      78216-8125
SHARON MOODY                                                      715 N HIGHLAND AVE                                                                     CUSHING            OK      74023-2315
SHARON NEAL                                                       9875 LOCUST RD                                                                         HENRYETTA          OK      74437-3814
SHARON NELSON                                                     8453 SPICEWOOD SPRINGS                                                                 CHINA SPRINGS      TX      76633
SHARON NORTON                                                     2904 E 103RD ST                                                                        TULSA              OK      74137
SHARON ORTHWEIN                                                   1404 ELMHURST LN                                                                       FLOWER MOUND       TX      75028
SHARON PEERY MASON                                                PO BOX 155                                                                             MUSTANG            OK      73064
SHARON ROADY                                                      2217 WEST 24TH STREET                                                                  STILLWATER         OK      74074
SHARON ROPER                                                      115 SE BERKSHIRE WAY                                                                   LAWTON             OK      73501
SHARON S GAMMILL REV TRUST                                        1740 N EAGLE LANE                                                                      OKLAHOMA CITY      OK      73127
SHARON S TAYLOR                                                   3618 SE FRONTAGE RD #1                                                                 JOHNSTOWN          CO      80534
SHARON SEARLE                                                     1530 W HAVEN PLACE                                                                     STAYTON            OR      97308
SHARON SELLS                                                      304 ALICE                                                                              HAYSVILLE          KS      67060
                                                                                                                9211 Lake Hefner
Sharon Shaw                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                               c/o Laminack, Pirtle & Martines,
Sharon Shaw                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Sharon Shaw                                                       545 E. Mohawk Blvd                                                                     Tulsa              OK      74106
SHARON SLOAN                                                      PO BOX 205                                                                             TRYON              OK      74875-0205
SHARON SMITH                                                      303 NE 4TH ST                                                                          PERKINS            OK      74059
SHARON SPEARS KOELSCH                                             215 WINDSOR RD                                                                         LYNCHBURG          VA      25402
SHARON STILLEY                                                    5305 GULFWAY DR #91                                                                    GROVES             TX      77619
SHARON STINGLEY                                                   105 OCALA CT                                                                           CARY               NC      27513
SHARON SULLIVAN                                                   11919 W 56TH AVE                                                                       STILLWATER         OK      74074-2386
SHARON SUMMERS                                                    911 E 29TH                                                                             SPOKANE            WA      99203
SHARON T EDWARDS                                                  3241 ROSEMEADE DRIVE #2012                                                             FT WORTH           TX      76116
SHARON TIPTON                                                     788 S 1000 W                                                                           SALT LAKE CITY     UT      84104-1434
SHARON WEAVER                                                     1489 KOONTZ LANE                                                                       CARSON CITY        NV      89701-8537
SHARON WEHR                                                       1801 WEHR DR                                                                           GUTHRIE            OK      73044
SHARON WILLIAMS                                                   2112 MEADOWLANE DR                                                                     CHILLICOTHE        MO      64601
SHARON YORK                                                       PO BOX 2522                                                                            REDMOND            OR      97756
                                                                                                                9211 Lake Hefner
Sharon Benear                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                               c/o Laminack, Pirtle & Martines,
Sharon Benear                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006


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                  CreditorName         CreditorNoticeName                           Address1                           Address2                 Address3             City     State     Zip       Country
Sharon Benear                                                       3820 N. Newport St                                                                     Oklahoma City      OK    73112
                                                                                                                  9211 Lake Hefner
Sharon Butler                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                 c/o Laminack, Pirtle & Martines,
Sharon Butler                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Sharon Butler                                                       613 NW 114th St                                                                        Oklahoma City      OK    73114
                                                                                                                  9211 Lake Hefner
Sharon Maggard                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                 c/o Laminack, Pirtle & Martines,
Sharon Maggard                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Sharon Maggard                                                      1105 Brunson Ave 8205 NBU                                                              Prague             OK    74864
                                                                                                                  9211 Lake Hefner
Sharon Richardson                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                 c/o Laminack, Pirtle & Martines,
Sharon Richardson                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Sharon Richardson                                                   9100 Nichols Rd                                                                        Oklahoma City      OK    73120
                                                                                                                  9211 Lake Hefner
Sharon Stephens                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                 c/o Laminack, Pirtle & Martines,
Sharon Stephens                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Sharon Stephens                                                     349905 East 1060 Rd                                                                    Prague             OK    74864
                                                                                                                  9211 Lake Hefner
Sharon Trimmell                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                 c/o Laminack, Pirtle & Martines,
Sharon Trimmell                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Sharon Trimmell                                                     7255 Skylark Lane                                                                      Oklahoma City      OK    73162
                                                                                                                  9211 Lake Hefner
Sharon Wood                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                 c/o Laminack, Pirtle & Martines,
Sharon Wood                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Sharon Wood                                                         1209 NE 3rd St                                                                         Moore              OK    73160
                                                                                                                  9211 Lake Hefner
Sharron Breaker                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                 c/o Laminack, Pirtle & Martines,
Sharron Breaker                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Sharron Breaker                                                     808 E Moses                                                                            Cushing            OK    74023
                                                                                                                  9211 Lake Hefner
Sharron Watson                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                 c/o Laminack, Pirtle & Martines,
Sharron Watson                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Sharron Watson                                                      2317 E 13th St                                                                         Tulsa              OK    74104
SHARRON WITTERS                                                     229 SHARON DR                                                                          LAWRENCE           KS    66049-4070
SHARYL A PADGETT LVG TRUST                                          1303 N ASH                                                                             GUTHRIE            OK    73044
SHARYN MCBRIDE                                                      48536 40 & 8 RD                                                                        JERUSALEM          OH    43747-9740
SHARYN OPBROEK                                                      209 LA MESA DRIVE                                                                      HIGHLAND VILLAGE   TX    75077-7208
SHARYN WAITE                                                        617 LOMBARDY RD                                                                        GUTHRIE            OK    73044
SHASTA HALLOCK                                                      6008 HALSEY ST                                                                         SHAWNEE            KS    66216-2026
SHASTA YARBROUGH                                                    849 ETHAN LN                                                                           YUKON              OK    73099-7162
SHAUN D SPENCER                                                     139 PTARMIGAN DR                                                                       GLENWOOD SPRINGS   CO    81601-2740
SHAUNCY GATES LE                                                    4736 S 70TH E AVE                                                                      TULSA              OK    74145
SHAUNEY MARTINEZ                                                    115 N MISSOURI                                                                         HOOKER             OK    73945
Shaver, Jack                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK    73116
Shaver, Jacqueline               c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK    73116
SHAW BUSINESS                                                       2400-32 AVENUE NE                                                                      CALGARY            AB    T2E 9A7      CANADA
SHAW CABLE                                                          PO BOX MAIN                                                                            CALGARY            AB    T2P 4Y2      CANADA
SHAW ENERGY INC                                                     PO BOX 192199                                                                          DALLAS             TX    75219-8514
SHAW FAMILY REVOCABLE TRUST                                         337 RIDGE BLUFF DR                                                                     NORMAN             OK    73071
SHAW STRING UP SERVICE LLC                                          8522 HIGHWAY 30                                                                        DURHAM             OK    73642-4254
Shaw, Kurtis                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK    73116


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            CreditorName                     CreditorNoticeName                        Address1                             Address2                  Address3           City      State     Zip      Country
SHAWN CLYMER                                                             8416 NE 125TH AVE                                                                       VANCOUVER         WA    98682-3232

SHAWN ELIZABETH SLOCUM TR SHAWN ELI                                      41-491 KALANIANAOLE HWY                                                                 WAIMANALO         HI    96795-1817
SHAWN ELLEDGE                                                            703 W PALM ST                                                                           ROODHOUSE         IL    62082-1247
SHAWN ERIC MOORE                                                         7980 S 69TH EAST AVENUE                                                                 TULSA             OK    74133
SHAWN JONES                                                              PO BOX 895                                                                              GUTHRIE           OK    73044
SHAWN JOYCE BRILEY                                                       PO BOX 1127                                                                             MCCALL            ID    83638
SHAWN MCCHESNEY                                                          5405 E SPIVA LN                                                                         PERKINS           OK    74059-3863
SHAWN MCMULLEN                                                           PO BOX 251                                                                              RIPLEY            OK    74062-0251
SHAWN P HANNIFIN & FRANCES A                                             730 17TH ST STE 325                                                                     DENVER            CO    80202-3559
SHAWN PADDOCK                                                            908 W TWIN OAKS DR                                                                      BROKEN ARROW      OK    74011

SHAWN R STAPLES                                                          5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY          TX    75070
SHAWN RAZOR                                                              1604 N. RICHARDT AVE.                                                                   DIANAPOLIS        IN    46219
SHAWN RUSH                                                               9065 WOODMAYR DRIVE                                                                     NORWALK           IA    50211
SHAWN RUSSELL STUBBLEFIELD                                               1302 NORTH WILLOW ROAD                                                                  SAND SPRINGS      OK    74063
SHAWN SCHOLL                                                             16601 FM 2299                                                                           SHAMROCK          TX    79079
SHAWN SLOCUM                                                             41-491 KALANIANAOLE HWY                                                                 WAIMANALO         HI    96795-1817
SHAWN TRIBBLE                                                            3014 HICKORY BLUFF RD                                                                   SAPULPA           OK    74066
                                                                                                                       9211 Lake Hefner
Shawn Mitchell                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Shawn Mitchell                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Shawn Mitchell                                                           1003 Northbrook Ave                                                                     Edmond            OK    73034
SHAWNA BAILEY                                                            12100 S KELLEY AVE                                                                      EDMOND            OK    73025
SHAWNA ROBERSON                                                          9925 W 91ST ST S LOT 103                                                                SAPULPA           OK    74066-8413
SHAWNDA PHARES                                                           505 E HIGHVIEW AVE                                                                      STILLWATER        OK    74075-3810
SHAWNDA WHISENHUNT                                                       2155 HARRISON AVE                                                                       HARRAH            OK    73045
SHAWNEE REGINAL HOSPITAL                                                 1102 WEST MCAUTHUR                                                                      SHAWNEE           OK    74801
SHAWNNA HUELSENBECK                                                      1913 W SUMMERWIND DR                                                                    NAMPA             ID    83651
                                                                                                                       9211 Lake Hefner
Shayla Hudson                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Shayla Hudson                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX    77006
Shayla Hudson                                                            9471 Cedarview Lane                                                                     Guthrie           OK    73044
SHAYLEE A ROWE                                                           12705 JASMINE LN                                                                        OKLAHOMA CITY     OK    73142
SHAYNE CHESMORE                                                          617 E ELM                                                                               COUNCIL GROVE     KS    66846
SHAYNE J ALLEN                                                           8446 PEKIN RD                                                                           GREENVILLE        IN    47124
SHEA PIZARRO                                                             201 BROADWAY                                                                            EUFALA            OK    74432
SHEA PIZARRO                                                             201 BROADWAY                                                                            EUFAULA           OK    74432
SHEARER OIL AND GAS LLC                                                  PO BOX 520                                                                              BOOKER            TX    79005-0520
SHEARON BOLTON TTEE                                                      PO BOX 33067                                                                            TULSA             OK    74153
SHEBESTER-BECHTEL INC                                                    PO BOX 270598                                                                           OKLAHOMA CITY     OK    73137
SHEBESTER-BECHTEL INC                                                    400 S Jernigan Blvd.                                                                    Oklahoma City     OK    73128
SHECKLERS EXCAVATING INC                                                 PO BOX 340                                                                              MALVERN           OH    44644-0340
SHEILA CONNER                                                            704 PRAIRIE DUNES WAY                                                                   EDMOND            OK    73003
Sheila Crabtree                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX    75070
Sheila Crabtree                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK    74104
Sheila Crabtree                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY    10017
Sheila Crabtree                                                          504 County Road 6305                                                                    Ralston           OK    74650
SHEILA D JONES                                                           1240 WASHINGTON STREET                                                                  EMPORIA           KS    66801
SHEILA DUELL                                                             8324 N 2850 RD                                                                          HENNESSEY         OK    73742
SHEILA GUEST                                                             3705 S SYCAMORE AVE                                                                     BROKEN ARROW      OK    74011
SHEILA INGRAM                                                            6094 E CHOLLA DR                                                                        PARADISE VALLEY   AZ    85253
SHEILA JULIAN FKA SHEILA ANN HENNIS                                      6808 WALNUT CRK                                                                         STILLWATER        OK    74074
SHEILA L TALBOT                                                          15101 CREEK VISTA CIRCLE                                                                EDMOND            OK    73013
SHEILA MOMAN                                                             820 NORTH VANCOUVER AVENUE                                                              TULSA             OK    74127
SHEILA NELSON                                                            613 E MAYS ROAD                                                                         STOCKBRIDGE       GA    30281
SHEILA PATTERSON                                                         8176 MOUNTAIN CREST DR                                                                  KELSEYVILLE       CA    95451


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              CreditorName                  CreditorNoticeName                         Address1                             Address2                 Address3           City    State       Zip      Country
SHEILA PLACKE                                                            716 W 6TH ST                                                                           CARROLLTON      MO      64633
SHEILA R PATTERSON                                                       3318 TWIN OAKS DR                                                                      NAPA            CA      94558
SHEILA RISSER                                                            1755 VIA ENTRADA                                                                       FALLBROOK       CA      92028
SHEILA STRUBLE                                                           PO BOX 6                                                                               PERRY           OK      73077
SHEILA STUEVE                                                            22400 CR 160                                                                           PERRY           OK      73077
                                                                                                                       9211 Lake Hefner
Sheila Powell                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sheila Powell                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Sheila Powell                                                            350610 E. 1050 Rd                                                                      Prague          OK      74864
                                                                                                                       9211 Lake Hefner
Sheila West                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sheila West                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Sheila West                                                              7617 NW 102nd St                                                                       Oklahoma City   OK      73162
                                                                                                                       9211 Lake Hefner
Sheilia Brown                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sheilia Brown                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Sheilia Brown                                                            208 W 65th Pl. North                                                                   Tulsa           OK      74126
SHELBY BARNES                                                            4571 NW 234TH                                                                          EDMOND          OK      73025
SHELBY K & VIRGINIA D ASHMENT HW JT                                      PO BOX 83                                                                              RIPLEY          OK      74062-0083
SHELBY OAKLEY                                                            4235 S 33RD WEST AVE                                                                   TULSA           OK      74107-5904
Sheldon, Gail                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
SHELIA KENNISON                                                          305 FAIRWAY DR                                                                         PERKINS         OK      74059
SHELIA SEBREE                                                            405 EATON DR                                                                           PERKINS         OK      74059-3428
SHELIA TUBBS                                                             402 S MOUNT CARMEL ST                                                                  WICHITA         KS      67213
Sheline, Jennifer                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
SHELL CHEMICALS LP                                                       910 LOUSIANA ST                                                                        HOUSTON         TX      77002-4916
SHELL TRADING (US) COMPANY                                               PO BOX 4749                                                                            HOUSTON         TX      77210-4749
SHELL TRADING US COMPANY                                                 1000 MAIN - 17156E                                                                     HOUSTON         TX      77002
SHELLBARK VENTURES LLC                                                   1920 S CLEVELAND ST                                                                    ENID            OK      73703
SHELLDON VOGT                                                            10152 STATE HWY 99 N                                                                   ADA             OK      74820
                                                                                                                       9211 Lake Hefner
Shelle R. Minor                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120

Shelle R. Minor                       c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Shelle R. Minor                                                          19601 SE 65th                                                                          Newalla         OK      74857
SHELLEE R MCGEE                                                          213 W CHEYENNE ST                                                                      MARLOW          OK      73055-3068
SHELLEY BENTSEN                                                          2335 BLANTON DR                                                                        SAN ANTONIO     TX      78209-2249
SHELLEY CHAPMAN                                                          7518 HOLLOW COVE CT                                                                    CYPRESS         TX      77433-1340
SHELLEY COSTELLO                                                         851 N PALM ST                                                                          PONCA CITY      OK      74601
SHELLEY D SCHMIEDBAUER                                                   5703 S MAJOR RD                                                                        MULHALL         OK      73063
                                                                                                                       9211 Lake Hefner
Shelley Free                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Shelley Free                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Shelley Free                                                             204 N. Santa Fe Ave                                                                    Tulsa           OK      74127
SHELLEY KUENNING                                                         4910 PALMERS RIDGE COURT                                                               HAYMARKET       VA      20169
SHELLEY MEYER                                                            4365 W CURTICE DR                                                                      BATTLEFIELD     MO      65619
SHELLEY R IRVIN                                                          712 LITTLE RIVER CR                                                                    MOORE           OK      73160
SHELLEY RONNE                                                            3349 N FOWLER AVE                                                                      FRESNO          CA      93727-1121
SHELLI SULYMA                                                            3524 TUMBLING RIVER DR                                                                 CLERMONT        FL      34711
SHELLI WATTS                                                             5509 LONGHORN DR                                                                       THE COLONY      TX      75056-3843
SHELLIE MOENTMANN                                                        1801 ROSE DR                                                                           COLUMBIA        MO      65202-3232
SHELLY ALLISON                                                           109 S MAPLE ST                                                                         GUTHRIE         OK      73044
SHELLY BEDNAR FAMILY TR                                                  31490 ENFIELD LN                                                                       TEMECULA        CA      92591
                                                                                                                       9211 Lake Hefner
Shelly Choate                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120


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                CreditorName             CreditorNoticeName                             Address1                         Address2                 Address3             City   State       Zip      Country
                                   c/o Laminack, Pirtle & Martines,
Shelly Choate                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Shelly Choate                                                         111 N. 37th W. Ave                                                                     Tulsa            OK      74127
SHELLY DOWNING                                                        280 STARHILL RD                                                                        WOODSIDE         CA      94062
SHELLY FOWLER                                                         7404 S RANGE RD                                                                        STILLWATER       OK      74074-8176
SHELLY HARMAN                                                         2826 E 90TH ST UNIT 1602                                                               TULSA            OK      74137
SHELLY HOPFER                                                         109 S MAPLE                                                                            GUTHRIE          OK      73044
SHELLY K JOHNS REV LV TR                                              10725 N POST RD                                                                        JONES            OK      73049
SHELLY KINGSBURY                                                      1049 S SARA RD                                                                         BLANCHARD        OK      73010-6644
SHELLY LAFAVE                                                         2020 CEDAR TERR                                                                        CASHION          OK      73016
SHELLY MANNIS                                                         PO BOX 485                                                                             MCCRORY          AR      72101
SHELLY MAY                                                            2178 CR 1239                                                                           TUTTLE           OK      73089
                                                                                                                                                             RANCHO SANTA
SHELLY MULCAHY                                                        29752 MELINDA RD #915                                                                  MARGARITA        CA      92688
SHELLY ROHDE                                                          6210 RIO LINDO SHORES DR                                                               PARKER           AZ      85344-8304
SHELLY SHEFFIELD                                                      PO BOX 455                                                                             GORE             OK      74435
SHELLY W KEISER ESTATE                                                70070 SINATRA DR                                                                       RANCHO MIRAGE    CA      92270
SHELTON INVESTMENTS LLC                                               PO Box 1557                                                                            OKLAHOMA CITY    OK      73101-1557
SHELTON TRUST DTD 8-26-2011                                           14200 PECAN HOLLOW TERR                                                                EDMOND           OK      73013
                                                                                                                    9211 Lake Hefner
Shenita M. Gaddis                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Shenita M. Gaddis                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Shenita M. Gaddis                                                     6416 Braniff Dr                                                                        Oklahoma City    OK      73105
SHEPHERD ROYALTY LLC                                                  5949 SHERRY LANE STE 1175                                                              DALLAS           TX      75225
Shepherd, Ryan                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
Sheppard, Philip                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
SHERAE LEJENNE                                                        5010 PINTO DR                                                                          STILLWATER       OK      74074
SHERALEE HOLLON                                                       1021 E COMET PL                                                                        CLAREMORE        OK      74017
SHERALYN SELPH                                                        2933 BRUSH CREEK RD                                                                    OKLAHOMA CITY    OK      73120-1845
SHERCO                                                                PO BOX 223                                                                             STILLWATER       OK      74076-0223
SHEREE FIELDING                                                       2013 E MAIN ST                                                                         CUSHING          OK      74023-2910
SHEREE KINZIE FIELDING TRUST                                          2013 E MAIN ST                                                                         CUSHING          OK      74023-2910
SHEREE MICHELLE HOWARD                                                1422 LAKE PAULIEN CT                                                                   RICHMOND         TX      77406
                                                                                                                    9211 Lake Hefner
Sheren Wyatt                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120

Sheren Wyatt                       c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Sheren Wyatt                                                          4515 W. Park Place                                                                     Oklahoma City    OK      73127
SHERI BAXTER                                                          4 TROTTERS LN                                                                          MCLOUD           OK      74851
SHERI CRAFT                                                           1022 DONLEY DR                                                                         EULESS           TX      76039-3234
SHERI GIBBS-BROOKS                                                    2072 PALMETTO ROAD                                                                     MT DORA          FL      32757
SHERI HENDERSON                                                       PO BOX 721526                                                                          OKLAHOMA CITY    OK      73172
SHERI KINGSBURY                                                       8205 S INDIANA AVE                                                                     OKLAHOMA CITY    OK      73159
                                                                                                                    9211 Lake Hefner
Sheri Pohlman                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                   c/o Laminack, Pirtle & Martines,
Sheri Pohlman                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Sheri Pohlman                                                         1642 S. Cedar Ave                                                                      Broken Arrow     OK      74012
SHERI STRAUGHN                                                        4700 ABERDEEN CT                                                                       NORMAN           OK      73072
SHERI THOMAS                                                          45951 HIGHWAY 19                                                                       STRATFORD        OK      74872-7704
SHERIDA COLLINS                                                       134 HIDEAWAY E                                                                         HIDEAWAY         TX      75771
SHERIDAN FAMILY TRUST                                                 1508 PELICAN COVE RD. APT. 234                                                         SARISOTA         FL      34231
SHERIDAN POWER                                                        627 N UNIVERSITY DR                                                                    EDMOND           OK      73034-5240
SHERIE'S HOTSHOT SERVICES LLC                                         2608 GLENCOVE ST                                                                       BURLESON         TX      76028
SHERIFF TECHNOLOGY SOLUTIONS LLC                                      PO BOX 431                                                                             EDMOND           OK      73083-0431
SHERMA L BROWN LIVING TRUST                                           51 CROWN PL                                                                            RICHARDSON       TX      75080
SHERMAN AND CAROLYN                                                   3318 GOLDFINCH LANE                                                                    ENID             OK      73703
SHERMAN B. HAMM                                                       3318 GOLDFINCH LANE                                                                    ENID             OK      73703


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              CreditorName                  CreditorNoticeName                          Address1                            Address2                 Address3              City    State       Zip      Country
SHERMAN KARCHER                                                          1904 BLAKELY CT                                                                        BELLINGHAM        WA       98226
SHERMAN LAUDER                                                           10061 N 2440                                                                           WEATHERFORD       OK       73096
SHERMAN SIMPSON                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK       74074
SHERREL BEAN                                                             4405 W EAGLE PASS CT                                                                   BROKEN ARROW      OK       74011-1214
SHERRI ANDERSON                                                          604 LINCOLN DR                                                                         WEBSTER CITY      IA       50595
SHERRI BRADFUTE FORMERLY HICKS                                           2104 ROSEWOOD DR                                                                       EL DORADO         AZ       71730-5226
SHERRI EADES                                                             1120 SW 67TH PL                                                                        OKLAHOMA CITY     OK       73139
SHERRI K JACOB HURWITZ                                                   6213 HIGHLAND HILLS DRIVE                                                              aUSTIN            TX       78731
SHERRI L HEFFNER TTEE                                                    2367 ALTA VISTA DR                                                                     VISTA             CA       92084
SHERRI MUMMEY                                                            PO BOX 124                                                                             CRESCENT          OK       73028
SHERRI PACK                                                              215 S KNOXVILLE AVE                                                                    TULSA             OK       74112-1119
SHERRI PRICE                                                             2140 HIDEAWAY CT                                                                       MORRIS            IL       60450-9603
SHERRI RODGERS                                                           PO BOX 212                                                                             RIPLEY            OK       74062-0212
SHERRI SANDERS                                                           211 S PATRICK RD                                                                       ANDOVER           KS       67002
SHERRI THOMAS                                                            3925 OAKRIDGE RD                                                                       LARSEN            WI       54947
                                                                                                                       9211 Lake Hefner
Sherri Blethen                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Sherri Blethen                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Sherri Blethen                                                           1613 SW 66th                                                                           Oklahoma City     OK       73159
                                                                                                                       9211 Lake Hefner
Sherri Costa                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Sherri Costa                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Sherri Costa                                                             348841 East 1060 Rd                                                                    Prague            OK       74864
                                                                                                                       9211 Lake Hefner
Sherri Leard                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Sherri Leard                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Sherri Leard                                                             1115 Magnolia Ct                                                                       Guthrie           OK       73034
SHERRIE ADKISON                                                          5720 S JARDOT RD                                                                       STILLWATER        OK       74074-7230
SHERRIE ANN TUCK                                                         1257 MASSACHUSETTS AVE                                                                 ARLINGTON         MA       02476-4109
SHERRIE HARTER                                                           4428 E ROLLING RIDGE RD                                                                SAN TAN VALLEY    AZ       85140-8761
SHERRIE KUSTER                                                           RR 72 BOX 2350                                                                         ALTON             MO       65606
SHERRIE LYNN WINDSOR                                                     7982 S SHERIDAN RD APT 209                                                             TULSA             OK       74133
SHERRIE SHOEMAKER                                                        10409 SUNNYMEADE PL                                                                    OKLAHOMA CITY     OK       73120-3027
                                                                                                                       9211 Lake Hefner
Sherrie Wallace                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120
                                      c/o Laminack, Pirtle & Martines,
Sherrie Wallace                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX       77006
Sherrie Wallace                                                          1846 N. St. Louis Ave                                                                  Tulsa             OK       74106
SHERRIL JORMA BROWN                                                      24100 COUNTY RD 160                                                                    PERRY             OK       73077
SHERRIL MITCHELL                                                         PO BOX 136                                                                             MULLHALL          OK       73063
SHERRIL POWELL                                                           PO BOX 43                                                                              PERU              KS       67360
SHERRILL AND TIM T MCGEE WIFE AND                                        21238 HIGHWAY 73                                                                       FOSS              OK       73647-5010
SHERRILL MCGEE BRUCE CRISPIN AND CO                                      622 E ROH                                                                              THOMAS            OK       73669
SHERRILL POSTON                                                          15904 SONOMA CT                                                                        EDMOND            OK       73013-1426
SHERRY A FICKEN                                                          2808 KENSINGTON TERR                                                                   EDMOND            OK       73013
SHERRY ANDERSON                                                          604 LINCOLN DR                                                                         WEBSTER CITY      IA       50595-1419

SHERRY ANN SHERWOOD LIVING TRUST                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX       75070
SHERRY CECIL                                                             4021 S GRIFFITH AVE                                                                    OWENSBORO         KY       42301
SHERRY COOPER                                                            45400 GARRETTS LAKE RD                                                                 SHAWNEE           OK       74804
SHERRY COVEY                                                             3210 CAPE COD CT                                                                       ARLINGTON         TX       76017
SHERRY DAUNIS                                                            1466 RUE BAYONNE                                                                       MANDEVILLE        LA       70471
SHERRY DONNELLAN                                                         1227 NE BEECH ST                                                                       PORTLAND          OR       97212-2262
SHERRY DOUGLAS                                                           18101 E FRANKLIN RD                                                                    NEWALLA           OK       74857-8750
SHERRY DUANNA BURROW BOLENE                                              6622 W COVENTRY DR                                                                     STILLWATER        OK       74074-1025
SHERRY FENNELL                        C/O DENISE SITTON-HAMM                                                                                                    PETALUMA          CA       94952


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             CreditorName                  CreditorNoticeName                          Address1                           Address2                 Address3            City      State       Zip      Country
SHERRY FLETCHER                                                        213 S HOPPY RD                                                                         STILLWATER         OK      74075
SHERRY GARFIELD                                                        PO BOX 2805                                                                            FREDERICKSBURG     TX      78624
SHERRY GOTTSCHALK                                                      PO BOX 578                                                                             MANNFORD           OK      74044
SHERRY GRAHAM                                                          411 HOLLY ST                                                                           PERRY              OK      73077-4616
SHERRY HAYS                                                            9010 N BETHEL RD                                                                       GLENCO             OK      74032
SHERRY HELSCHEL                                                        6129 S 209TH E AVE                                                                     BROKEN ARROW       OK      74014
SHERRY HENDERSON                                                       11830 FIELD STONE DR                                                                   COLLINSVILLE       OK      74021
SHERRY l MCGRAW                                                        9825 W MURDOCK ST                                                                      WICHITA            KS      67212
SHERRY LEE CRAYCRAFT                                                   1215 W 104TH STREET                                                                    PERKINS            OK      74059
SHERRY MARSHALL                                                        15220 SUGAR LOAF DR                                                                    EDMOND             OK      73103
SHERRY PAULINE MARTIN                                                  312 Colby Lance ST                                                                     STILLWATER         OK      74074
SHERRY SEAMANS                                                         14501 SEAMANS WAY                                                                      OKLAHOMA CITY      OK      73142
SHERRY SERZY                                                           237 E 137TH ST                                                                         GLENPOOL           OK      74033
                                                                                                                     9211 Lake Hefner
Sherry Smith                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                    c/o Laminack, Pirtle & Martines,
Sherry Smith                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Sherry Smith                                                           2887 E. 44th Pl North                                                                  Tulsa              OK      74110
SHERRY WATSON                                                          951 GREAT OAKS DR                                                                      SOUTHAVEN          MS      38671
SHERRY WOLFE OWENS                                                     615 8TH STREET NE UNIT B                                                               WASHINGTON         DC      20002
SHERRY YOUNG                                                           408 N 49TH W AVE                                                                       TULSA              OK      74127
                                                                                                                     9211 Lake Hefner
Sherry Bradley                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                    c/o Laminack, Pirtle & Martines,
Sherry Bradley                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Sherry Bradley                                                         356478 Blackjack Dr                                                                    Prague             OK      74864
                                                                                                                     9211 Lake Hefner
Sherry Cunningham                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                    c/o Laminack, Pirtle & Martines,
Sherry Cunningham                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Sherry Cunningham                                                      13 Bainbridge Rd                                                                       Oklahoma City      OK      73114
SHERRYL MURPHY                                                         283 ROCK RIDGE RD                                                                      FRONT ROYAL        VA      22630
SHERWIN SIMONS                                                         9033 BASELINE ROAD, # N                                                                RANCHO CUCAMONGA   CA      91730-1215
SHERYL ANN DUNGAN CHILDRENS TRUST                                      PO BOX 373                                                                             ARAPAHO            OK      73620-0373
SHERYL BURRI                                                           4103 Westbrook                                                                         Stillwater         OK      74074
SHERYL COLE                                                            10018 W 51ST ST                                                                        SAND SPRINGS       OK      74063
SHERYL DELCE                                                           265 SW 137TH TER.                                                                      OKLAHOMA CITY      OK      73170-5767
SHERYL DESPRESS                                                        185 FORE STREET UNIT 202                                                               PORTLAND           ME      04101
SHERYL HAIN                                                            11349 COLONY CIR                                                                       BROOMFIELD         CO      80021-4108
SHERYL HOLDER                                                          10901 S BROOKLINE AVE                                                                  OKLAHOMA CITY      OK      73170
SHERYL JOHNSON                                                         4908 S BETHEL RD                                                                       RIPLEY             OK      74062-6312
SHERYL MAYS                                                            7223 E 72ND ST                                                                         TULSA              OK      74133
                                                                                                                     404 Court Square
Sheryl Meier                        c/o Barrett Law Group, PA          Attn: Don Barrett                             North                                    Lexington          MS      39095-0927
Sheryl Meier                        c/o Burns Charest LLP              Attn: Warren T Burns                          900 Jackson St       Ste. 500            Dallas             TX      75202

Sheryl Meier                        c/o Mitchell Declerck              Attn: Larry D Lahman                          202 West Broadway                         Enid              OK      73701
                                                                                                                     One Leadership       211 N Robinson, Ste.
Sheryl Meier                        c/o Wilguess & Garrett, PLLC       Attn: Douglas D Wilguess                      Square               1350                 Oklahoma City     OK      73102
Sheryl Meier                                                           PO Box 417                                                                              Garber            OK      73738
SHERYL STOCKTON SWANTON                                                3111 WOODED ACRES DR                                                                    WACO              TX      76710
SHERYL STUBBLEFIELD                                                    4282 E DAYTON AVE, APT E                                                                FRESNO            CA      93726-6126
SHERYL WIGGINS                                                         811 PROVENCE COURT                                                                      BAKERSFIELD       CA      93314
SHERYL YANCY                                                           PO BOX 1300                                                                             MCALLEN           TX      78505
SHERYL ZABSKY                                                          2831 S MOUNDS ST                                                                        SAPULPA           OK      74066-7131
SHERYLL HARPER                                                         13393 MARIPOSA RD SPC 273                                                               VICTORVILLE       CA      92395
SHETH FAMILY LLC                                                       18708 SADDLE RIVER DR                                                                   EDMOND            OK      73012
SHI INTERNATIONAL CORP                                                 PO BOX 952121                                                                           DALLAS            TX      75395-2121
SHIDECO LLC                                                            520 LEXINGTON AVENUE                                                                    FORT SMITH        AR      72901


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                                                                                            White Star Petroleum, LLC
                                                                                                 Creditor Matrix


                  CreditorName            CreditorNoticeName                             Address1                         Address2                 Address3              City    State       Zip       Country
SHIELA J CRAMTON                                                       1819 W 44TH AVE                                                                        STILLWATER         OK      74074
SHIELDS OPERATING INC                                                  501 S 14TH ST                                                                          FORT SMITH         AR      72901
Shields Operating Inc.              Attn: John F Shields               1600 E 19th St, Ste. 103                                                               Edmond             OK      73013
Shields Operating Inc.              c/o Durbin Larimore & Bialick      Attn: E. Edd Pritchett Jr.                    920 N Harvey Ave                         Oklahoma City      OK      73102
Shields Operating Inc.              c/o John F Shields                 1600 E 19th St, Ste. 103                                                               Edmond             OK      73013
Shields Operating Inc.              c/o John Shields                   411 W Waterloo Rd                                                                      Edmond             OK      73025
Shields Operating Inc.              c/o The Doyle Firm PC              Attn: William H Doyle                         1313 E Osborn Rd     Ste. 220            Phoenix            AZ      85014
Shields Operating Inc.                                                 312 S 16th St                                                                          Fort Smith         AR      72901
SHIFT NETWORKS 2008 INC                                                1230 - 10th AVE SW                                                                     CALGARY            AB      T3C 0J2      CANADA
SHINER FAMILY TRUST DTD 1-15-2002                                      20921 SURGE LN                                                                         HUNTINGTON BEACH   CA      92646
Shinn, Scott                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK      74074
SHIPMAN FAMILY TRUST                                                   3727 W COLLEGE AVE                                                                     GUTHRIE            OK      73044
Shire, Sherri                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK      74074
SHIREEN MACERA                                                         3415 3RD AVE S                                                                         GREAT FALLS        MT      59405
SHIREEN NORMAN                                                         3415 3RD AVE S                                                                         GREAT FALLS        MT      59405
SHIRELLENE PURSLEY                                                     PO BOX 90                                                                              CRESCENT           OK      73028

SHIRISH R MEHTA & DEEPTI S MEHTA                                       5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
SHIRL ELDER                                                            2231 W DEER TRAIL LN                                                                   LECANTO            FL      34461
SHIRLEE SLIGER                                                         3779 WINDING CREEK LN SE                                                               TURNER             OR      97392
SHIRLENE HARMON                                                        3309 N RUTH AVE                                                                        CUSHING            OK      74023-9164
SHIRLEY A BLAKE LE                                                     1623 W CLEVELAND                                                                       GUTHRIE            OK      73044
SHIRLEY A DUENSING, LIFE TENANT                                        705 WEST GLENWOOD ST                                                                   BROKEN ARROW       OK      74011-6418
SHIRLEY AIKIINS FORMERLY RAFFETY                                       1223 S 221ST WEST AVE                                                                  SAND SPRINGS       OK      74063-5364
SHIRLEY ANN DAGGETT                                                    7754 ELMWOOD PL                                                                        DENVER             CO      80221
SHIRLEY ANN HARPER DOWD                                                245 FIRST ST APT 205                                                                   DUNCAN             BC      V9L 1R3      CANADA
SHIRLEY ANN MOBLEY                                                     9401 E 112TH PL S                                                                      BIXBY              OK      74008
SHIRLEY ANN STEDMAN                                                    378 PROMENADE ST W                                                                     MONTGOMERY         TX      77536
SHIRLEY ARNETT                                                         5792 NE 5TH                                                                            REDMOND            OR      97756
SHIRLEY BATTLES                                                        824 W CHATBURN DR                                                                      STILLWATER         OK      74075-1720
SHIRLEY BECKER                                                         2009 MCGREGOR DR                                                                       RANCHO CORDOVA     CA      95670
                                                                                                                     9211 Lake Hefner
Shirley Boyles                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                    c/o Laminack, Pirtle & Martines,
Shirley Boyles                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Shirley Boyles                                                         2605 W. Greeley St.                                                                    Broken Arrow       OK      74012
SHIRLEY BRADFIELD                                                      PO BOX 1137                                                                            HELENA             MT      59624-1137
                                                                                                                     9211 Lake Hefner
Shirley Buehler                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                    c/o Laminack, Pirtle & Martines,
Shirley Buehler                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Shirley Buehler                                                        5606 W. Yost Rd                                                                        Stillwater         OK      74075
SHIRLEY BUTLER SMITH                                                   1943 KILBURNDRIVE NORTHEAST                                                            ATLANTA            GA      30324
SHIRLEY CASSIDAY HOWERTON                                              PO BOX 218                                                                             ALEX               OK      73002
SHIRLEY CHARLIE CANFIELD                                               2619 MADISON                                                                           WOODWARD           OK      73801
                                                                                                                     9211 Lake Hefner
Shirley Clay-Hunt                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                    c/o Laminack, Pirtle & Martines,
Shirley Clay-Hunt                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Shirley Clay-Hunt                                                      696 N Hickory St                                                                       Atoka              OK      74525
SHIRLEY DEBOER                                                         17542 MADISON AVE                                                                      STRATFORD          CA      93266-9716
SHIRLEY DENNEY                                                         6893 OAK FORREST CIR                                                                   STILLWATER         OK      74074-6181
SHIRLEY DOUGHTY                                                        5115 BLUE BIRD TRL                                                                     STILLWATER         OK      74074
SHIRLEY DUNWORTH                                                       3785 E NOBLE AVE                                                                       VISALIA            CA      93292

SHIRLEY E KELLOGG                                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
SHIRLEY ECK                                                            2022 W WASHINGTON                                                                      GUTHRIE            OK      73044
SHIRLEY EDWARDS                                                        BOX 336                                                                                MIDDLETON          OR      83644
SHIRLEY ELMORE                                                         353466 E 750 RD                                                                        CUSHING            OK      74023-5285


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                                                                                                                       9211 Lake Hefner
Shirley F. Roe                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Shirley F. Roe                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Shirley F. Roe                                                           1200 S Kings Hwy                                                                       Cushing            OK      74023
SHIRLEY FUKSA                                                            601 E IOWA                                                                             HENNESSEY          OK      73742-1205
SHIRLEY GOLDEN HOCHMAN                                                   4126 STARBOARD SHORES DR                                                               MISSOURI CITY      TX      77459-1723
SHIRLEY HARBISON                                                         7254 CROSSBOW CT                                                                       FORT WORTH         TX      76133
SHIRLEY HEWITT COULSON                                                   4925 CLYDEBANK AVENUE                                                                  COVINA             CA      91722
SHIRLEY HOCHMAN                                                          4150 VEGA DRIVE                                                                        MOBILE             AL      36609
SHIRLEY J STONE                                                          13200 SW 29TH ST                                                                       YUKON              OK      73099
SHIRLEY JEAN EMDE FAMILY TRUST                                           720 MIST FLOWER DR                                                                     LITTLE ELM         TX      75068-5162
SHIRLEY JERNIGAN                                                         2420 BRECKENRIDGE ST                                                                   TYLER              TX      75702
SHIRLEY JOE ANN HUGHES                                                   813 LOGANWOOD AVE                                                                      RICHARDSON         TX      75080
SHIRLEY KIRK                                                             11709 S ROSE RD                                                                        PERKINS            OK      74059-3669
SHIRLEY L MURPHY PR                                                      401 S RIDGE DR                                                                         STILLWATER         OK      74074-2836
SHIRLEY LAFOSSE                                                          17601 CR 170                                                                           PERRY              OK      73077
SHIRLEY LANDERS                                                          5901 LUBKIN                                                                            BOISE              ID      83704
SHIRLEY LANDERS                                                          5901 W LUBKIN ST                                                                       BOISE              ID      83704-7559
SHIRLEY M CANEPA                                                         7850 W BYERS AVE APT 202                                                               LAKEWOOD           CO      80226-3219
SHIRLEY MAE SOUTHWICK                                                    PO BOX 821                                                                             GARBER             OK      73738
SHIRLEY MAI                                                              PO BOX 579                                                                             CIMARRON           KS      67835
SHIRLEY MARQUARDT                                                        2351 MASONWOOD WAY                                                                     ROUND ROCK         TX      78681
SHIRLEY MASON                                                            5700 WAILEA CT                                                                         W RICHLAND         WA      99353-7838
SHIRLEY MILLER                                                           2807 SW PRAIRIE RD APT 15                                                              TOPEKA             KS      66614
SHIRLEY MINER                                                            1910 COPPERFIELD                                                                       STILLWATER         OK      74074
SHIRLEY MUNDAY                                                           2916 HICKORY LN                                                                        EDMOND             OK      73034
SHIRLEY PALMER                                                           13620 SE 100TH                                                                         RENTON             WA      98056
SHIRLEY PANICK                                                           11528 N FLORIDA AVE                                                                    OKLAHOMA CITY      OK      73120
SHIRLEY SHARPLEY                                                         3933 COUNTY ROAD 4950                                                                  SHIDLER            OK      74652-5095
SHIRLEY SHEPHARD                                                         22727 E 980 RD                                                                         ARAPAHO            OK      73620
SHIRLEY SHOWALTER                                                        1612 SW 52ND ST                                                                        OKLAHOMA CITY      OK      73119
SHIRLEY SNEED                                                            5021 W 56TH ST                                                                         STILLWATER         OK      74074
SHIRLEY SNELLING                                                         203 S 3RD ST                                                                           HOUSTON            MO      65483-1426
SHIRLEY STOUT                                                            101 S ACADIAN OAKS DR                                                                  EDMOND             OK      73034
SHIRLEY VEITH WOOD                                                       5782 HALL RD                                                                           PLAINFIELD         IN      46168
SHIRLEY WELLS                                                            23 S GRANT STREET                                                                      TRYON              OK      74875
SHIRLEY WEST                                                             4854 WESTWOOD RD NW                                                                    BALTIMORE          OH      43105
SHIRLEY WOOLERY                                                          3224 WILLOWBROOK RD                                                                    OKLAHOMA CITY      OK      73120
                                                                                                                       9211 Lake Hefner
Shirley Chesser                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Shirley Chesser                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Shirley Chesser                                                          16551 168th St                                                                         Lexington          OK      73051
                                                                                                                       9211 Lake Hefner
Shirley Freeman                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Shirley Freeman                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Shirley Freeman                                                          5009 NW 59th St                                                                        Oklahoma City      OK      73122
                                                                                                                       9211 Lake Hefner
Shirley Neal                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Shirley Neal                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Shirley Neal                                                             11711 Smoking Oaks Dr                                                                  Oklahoma City      OK      73150
SHLY LLC                                                                 10645 N TATUM BLVD #200 541                                                            PHOENIX            AZ      85028
SHOEMAKER FAMILY REV TR DTD 9-22-19                                      1616 CARVER ST                                                                         REDONDO BEACH      CA      90278
SHOGOIL & GAS CO LLC                                                     PO BOX 209                                                                             HAY SPRINGS        NE      69347-0209
SHOGOIL & GAS II CO LLC                                                  PO BOX 29450                                                                           SANTA FE           NM      87592-9450
SHO-LINK INCORPORATED                                                    28045 N ASHLEY CIR STE 101                                                             LIBERTYVILLE       IL      60048


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SHORES LIFT SOLUTIONS - PUMPING UNI                                   713 MARKET DR                                                          OKLAHOMA CITY   OK       73114-8132
SHORES LIFT SOLUTIONS-ROD LIFT CONS                                   713 MARKET DR                                                          OKLAHOMA CITY   OK       73114-8132
SHORTHANDED LLC                                                       PO BOX 10431                                                           FORT WORTH      TX       76114
SHORTY CREEK LLC                                                      2316 HILLTOP DR                                                        VERNON          TX       76384-4927
SHOTTS RESOURCES LLC                                                  PO BOX 52233                                                           TULSA           OK       74152
SHREVE FAMILY COMPANY LLC                                             5605 WOODLAKE DR                                                       STILLWATER      OK       74074-1061
SHREVE OK COUNTY PROP LLC                                             3201 W 24TH AVE                                                        STILLWATER      OK       74074
SHRINERS HOSPITAL FOR CRIPPLED                                        THE NORTHERN TRUST COMPANY                                             DALLAS          TX       75222-6270
SHUMAN MCCUSKEY & SLICER PLLC                                         PO BOX 3953                                                            CHARLESTON      WV       25339-3953
SHURRDEAN RISTAU & JUDITH K RISTAU                                    2067 530TH ST                                                          WOOD LAKE       MN       56267
SIBYL MORRIS                                                          9678 HARDTRIGGER RD                                                    MELBA           ID       83641
SIBYL ROBERSON                                                        15508 COUNTY RD 196                                                    TYLER           TX       75703
SIDLEY AUSTIN LLP                                                     PO BOX 0642                                                            CHICAGO         IL       60690-0642

SIDNEY A SHUMAN                                                       8720 EAST WOODLAND PARK DRIVE D                                        SPOKANE         WA       99217-9488
SIDNEY GILLESPIE                                                      3616 E PALM LN                                                         PHOENIX         AZ       85008
SIDNEY GREENFIELD II                                                  341741 E 800 ROAD                                                      TRYON           OK       74875
SIDNEY GROOM                                                          27350 CR 80                                                            PERRY           OK       73077
SIDNEY HOBBS                                                          PO BOX 813                                                             CRESCENT        OK       73028
SIDNEY HUNT                                                           6826 S 32ND W AVE                                                      TULSA           OK       74132
SIDNEY L MILLER & KAREN L MOORE JT                                    13600 GUNSMOKE                                                         PERRY           OK       73077
SIDNEY LAMONTE                                                        3626 TREADWELL DR                                                      OKLAHOMA CITY   OK       73112
SIDNEY MALONE AN JESSIE M MALONE JT                                   PO BOX 285                                                             RIPLEY          OK       74062-0285
SIDNEY MALY                           c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                          Oklahoma City   OK       73116
SIDNEY MORAN                                                          18 HUDSON CIRCLE                                                       HOUSTON         TX       77024
SIDNEY R CLARKE III REV. TRUST                                        PO BOX 1117                                                            SHAWNEE         OK       74802-1117
SIDNEY SCHROEDER                                                      7118 NW 43RD ST                                                        BETHANY         OK       73008-2304
SIDWELL OIL & GAS INC                                                 PO BOX 9298                                                            AMARILLO        TX       79105
SIEGMUND BROWN                                                        2103 EAST 37TH ST                                                      TULSA           OK       74105-3429
Siemsen, LaRone                       c/o White Star Petroleum, LLC   510 S Main St                                                          Leedey          OK       73654
SIENA NATURAL RESOURCES                                               301 NW 63RD STREET                                                     OKLAHOMA CITY   OK       73116
SIENNA WOFFORD                                                        7811 E 129 RD                                                          HOLDENVILLE     OK       74848
SIERRA ENGINEERING LLC                                                PO BOX 207390                                                          DALLAS          TX       75320-7390
SIERRA ENGINEERING LLC                                                PO BOX 50203                                                           MIDLAND         TX       79710
SIERRA HAMILTON LLC                                                   PO BOX 207390                                                          DALLAS          TX       75320-7390

SIERRA MADRE NATRUAL RESOURCES LLC                                    PO BOX 25204                                                           DALLAS          TX       75225
SIERRA RESOURCES INC                                                  5121 GAILLARDIA CORP PL                                                OKLAHOMA CITY   OK       73142
SIERRA SPRINGS                                                        PO BOX 660579                                                          DALLAS          TX       75266-0579
SIGMA CUBED INC                                                       PO BOX 123289                                                          DALLAS          TX       75312-3289
SIGN INNOVATIONS                                                      PO BOX 4779                                                            TULSA           OK       74159-0779
SIGNATURE STAFF RESOURCES LLC                                         2460 N FM 740                                                          HEATH           TX       75032-8687
                                                                                                            650 Madison Avenue,
Silas Holdings I LLC                  c/o Willett Advisors LLC        Attn: Mike Minars                     17th Floor                       New York        NY       10022
SILVAN E LEVINSON FAMILY TR UTA DTD                                   1743 E 71ST ST                                                         TULSA           OK       74136
SILVER CREEK OIL & GAS LLC                                            5525 N MACARTHUR BLD                                                   IRVING          TX       75038
SILVER CREEK OIL & GAS LLC                                            5525 N MACARTHUR BLVD                                                  IRVING          TX       75038
SILVERADO OIL & GAS LLP                                               PO BOX 52308                                                           TULSA           OK       74152
SILVERHEELS INVESTMENTS LLC                                           1208 S GAYLORD ST                                                      DENVER          CO       80210
SILVERTHORNE SEISMIC LLC                                              1818 VALLEY VISTA                                                      HOUSTON         TX       77077
SILVIA TAPIA                                                          942 VILLAGE PRKWY                                                      COPPELL         TX       75019
SIMBARI HOLDINGS LLC                                                  11200 OAKLEAF LAND                                                     OKLAHOMA CITY   OK       73131
SIMMONS MACHINE WORKS INC                                             PO BOX 1646                                                            WOODWARD        OK       73802-1646
SIMON T WYATT JR & GENE A WYATT                                       PO BOX 1873                                                            OROFINO         ID       83544
SIMONE BELK                                                           PO BOX 969                                                             PERRY           OK       73077-0969
SIMONS PETROLEUM INC                                                  PO BOX 676686                                                          DALLAS          TX       75267-6686
SIMONS PETROLEUM LLC                                                  PO BOX 676686                                                          DALLAS          TX       75267-6686
SIMONSON FAMILY TRUST DTD 2-3-2004                                    12433 WHARTON DRIVE                                                    DALLAS          TX       75243
SIMPLEXGRINNELL LP                                                    DEPT CH 10320                                                          PALATINE        IL       60055-0001


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SIMPLIFILE LC                                                           4844 N 300 WEST STE 202                                                PROVO             UT      84604
SIMPSON DESCENDANTS IRREV TR                                            2000 CORNERSTONE DRIVE                                                 KINGFISHER        OK      73750
SIMPSON HOLDINGS INC                                                    248 BRYN MAWR CIR                                                      HOUSTON           TX      77024-6811
SIMPSON THACHER & BARTLETT LLP                                          425 LEXINGTON AVE                                                      NEW YORK          NY      10017-3903
Simpson, Sherman                      c/o White Star Petroleum, LLC     4615 W. Lakeview Rd                                                    Stillwater        OK      74074
Sims, Jennifer                        c/o White Star Petroleum, LLC     301 NW 63rd St                         Ste 600                         Oklahoma City     OK      73116
SINDY E BROWN                                                           2623 EAST SIXTH                                                        STILLWATER        OK      74074
SINDY SCARCE                                                            4299 JAMES DR                                                          CARSON CITY       NV      89706
SINGER BROS                                                             DEPT 1063                                                              TULSA             OK      74182
SINGER BROS                                                             PO BOX 755                                                             TULSA             OK      74101-0755
SIRIKAST ENERGY LLC                                                     529 W SURREY AVE                                                       PHOENIX           AZ      85029
SISSONS FAMILY TRUST OF 2017                                            12201 W HIGHWAY 33                                                     COYLE             OK      73027-2312
SISTRUNK FAMILY TRUST                                                   200 VILLAGE GARDEN DR                                                  MADISON           MS      39110
SISTRUNK FAMILY TRUST A                                                 200 VILLAGE GARDEN DR                                                  MADISON           MS      39110
SIX S ENERGY GROUP LLC                                                  PO BOX 20474                                                           OKLAHOMA CITY     OK      73156
SIXTY NINE OIL & GAS LP                                                 PO BOX 101265                                                          FORT WORTH        TX      76185
SJ&R CP                                                                 400 CITY CENTER BUILDING                                               OKLAHOMA CITY     OK      73102
                                      Mark Bishop, Vice Presidnet and
Sjl Well Services LLC                 Chief Financial Officer           South Highway 81                                                       Hennessey         OK      73742
SJL WELL SERVICES LLC                                                   PO BOX 733520                                                          DALLAS            TX      75373-3520
SJORAN EWING FITZPATRICK                                                PO BOX 831                                                             INDIAN HILLS      CO      80454
SK NEMAHA                                                               11700 KATY FREEWAY, STE 900                                            HOUSTON           TX      77079
SK NEMAHA, LLC                                                          11700 KATY FREEWAY, SUITE 900                                          HOUSTON           TX      77079
SK PLYMOUTH LLC                                                         11700 KATY FREEWAY STE 900                                             HOUSTON           TX      77079
SKC COMMUNICATION PRODUCTS LLC                                          8320 HEDGE LANE TER                                                    SHAWNEE MISSION   KS      66227
SKE CONSULTING LLC                                                      1928 S BRISTOL AVE                                                     SPRINGFIELD       MO      65809
SKELETON VALLEY RANCH LLC                                               133 BROOKLINE ST                                                       CHESNUT HILL      MA      02467
SKLARCO LLC A LOUISIANA LIMITED LIA                                     401 EDWARDS STREET SUITE 1601                                          SHREVEPORT        LA      71101
SKOBI HOLDINGS LLC                                                      104 S MUSKOGEE AVE                                                     TAHLEQUAH         OK      74464
SKOSHI THEDFORD BARR                                                    700 MERLIN ROAD                                                        GRANTS PASS       OR      97526
Skouby, Eric                          c/o White Star Petroleum, LLC     301 NW 63rd St                         Ste 600                         Oklahoma City     OK      73116
SKYCAP ENERGY, LLC                                                      720 N.W. 50TH STREET, SUITE 200B                                       OKLAHOMA CITY     OK      73118
SKYLINE DIRECTIONAL DRILLING LLC                                        2524 S. ANN ARBOR                                                      OKLAHOMA CITY     OK      73128
SLATE ROCK TRUCKING                                                     PO Box 270454                                                          Oklahoma City     OK      73137
SLAWSON EXPLORATION COMPANY INC                                         204 N ROBINSON AVE STE 2300                                            OKLAHOMA CITY     OK      73102-6891

SLAWSON EXPLORATION COMPANY INC (OB                                     204 N ROBINSON AVE STE 2300                                            OKLAHOMA CITY     OK      73102-6891
SLB LIMITED PARTNERSHIP                                                 PO BOX 35769                                                           TULSA             OK      74153

SLEMAKER ROYALTY COMPANY A PARTNERS                                     PO BOX 52236                                                           TULSA             OK      74152
SLIM RESOURCES LLC                                                      1405 CARNOUSTIE CT.                                                    GRANBURY          TX      76048
SLIM ROYALTY LLC                                                        PO BOX 13540                                                           OKLAHOMA CITY     OK      73113-1540
SLJ ENERGY LLC                                                          4311 W LOVERS LN STE 200                                               DALLAS            TX      75209
SLJ EOF III LTD                                                         4311 W LOVERS LANE SUITE 200                                           DALLAS            TX      75209
SLOAN PETROLEUM SERVICES INC                                            PO BOX 31030                                                           EDMOND            OK      73003
Slominski, Jonathan                   c/o White Star Petroleum, LLC     301 NW 63rd St                         Ste 600                         Oklahoma City     OK      73116
SLTL LEGACY ENTERPRISES LLC                                             6700 AVONDALE DR                                                       OKLAHOMA CITY     OK      73116
SLYDER ENERGY SOLUTIONS LLC                                             PO BOX 467                                                             CHANDLER          OK      74834-0467
SM ENERGY COMPANY                                                       1775 SHERMAN STREET SUITE 1200                                         DENVER            CO      80203
SMACK DAB LTD LLC                                                       14220 BARBOUR AVE                                                      OKLAHOMA CITY     OK      73134-3410
SMALLEY FAMILY TRUST                                                    3608 S PERSIMMON ST                                                    STILLWATER        OK      74074-1191
SMART INVESTMENTS LLC                                                   PO BOX 338                                                             GUTHRIE           OK      73044
SMARTPROS LTD                                                           12 SKYLINE DR                                                          HAWTHORNE         NY      10532
SMISER GRANDCHILDREN'S TRUST                                            PO BOX 60731                                                           OKLAHOMA CITY     OK      73146-0731
SMITH & PICKEL CONSTRUCTION INC                                         PO BOX 21447                                                           OKLAHOMA CITY     OK      73156-1447
SMITH FAMILY STUFF LLC                                                  716 W GORE BLVD                                                        LAWTON            OK      73501
SMITH FAMILY TRUST                                                      PO BOX 220                                                             GUTHRIE           OK      73044
SMITH FAMILY TRUST EST 9 2 2003                                         4101 E SWITZER WAY                                                     NAMPA             ID      83686
SMITH INTERNATIONAL INC                                                 PO BOX 732136                                                          DALLAS            TX      75373-2136


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SMITH PETROLEUM CORPORATION                                              101 W 10TH AVE                                                                         NORTH KANSAS CITY   MO      64116-4206
SMITH REVOCABLE TRUST DTD 6-24-2002                                      11643 NOBLEWOOD CREST LN                                                               HOUSTON             TX      77082
Smith, Christopher                    c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
Smith, Frederick                      c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater          OK      74074
SMITTY'S WELDING SERVICE INC                                             PO BOX 213                                                                             WOODWARD            OK      73802
SMV REAL PROPERTIES LLC                                                  PO BOX 491                                                                             CRESCENT            OK      73028
SNEDDEN FAMILY TRUST                                                     7005 E 66TH ST                                                                         TULSA               OK      74133
SNEED COMPANY                                                            7122 S SHERIDAN RD BOX 604                                                             TULSA               OK      74133
SNEED TRUST OF 2011                                                      11919 W 44TH AVE                                                                       STILLWATER          OK      74074-2148
SNO OIL & GAS LLC                                                        3010 KNIGHT ST STE 370                                                                 SHREVEPORT          LA      71105-2541
SNOWY RANGE ROYALTY LLC                                                  4 NE 10TH STREET #476                                                                  OKLAHOMA CITY       OK      73104
SNS OIL & GAS PROPERTIES INC                                             PO BOX 2234                                                                            ADMORE              OK      73402
SNYDER & HASSIG                                                          233 MAIN ST                                                                            NEW MARTINSVILLE    WV      26155-1213
SNYDER PROPERTIES LLC                                                    PO BOX 720823                                                                          OKLAHOMA CITY       OK      73172-0823
SOAR ENERGY SOLUTIONS LLC                                                PO BOX 2407                                                                            ELK CITY            OK      73648
SOCCER CITY OKC LLC                                                      4520 OLD FARM RD                                                                       OKLAHOMA CITY       OK      73162
SOCIETY OF CORPORATE SECRETARIES                                         240 W 35TH ST STE 400                                                                  NEW YORK            NY      10001-2568
SOCIETY OF PETROLEUM ENGINEERS                                           PO BOX 511                                                                             OKLAHOMA CITY       OK      73101-0511
SOCIETY OF THE PROPOGATION OF THE F                                      PO BOX 840738                                                                          DALLAS              TX      75284-0738
SOFTMART INC                                                             PO BOX 7236                                                                            PHILADELPHIA        PA      19101-7236
SOL J TAISHOFF TR FBO ROBERT P TAIS                                      5025 CASTELLO RD STE 203                                                               NAPLES              FL      34103
SOL J TAISHOFF TRUST                                                     1840 BIRCH RD                                                                          MCLEAN              VA      22101
SOL J TAISHOFF TRUST FBO RANDALL L                                       1340 TURQUOISE TRL                                                                     CERRILLOS           NM      87010
SOLARWINDS                                                               7171 SOUTHWEST PKWY BLDG 400                                                           AUSTIN              TX      78735
SOLICK FAMILY TRUST URTA DTD 9-14-0                                      6400 N WESTERN RD                                                                      STILLWATER          OK      74075
SOLO ENGINEERING INC                                                     15002 LAKEVIEW DR                                                                      HOUSTON             TX      77040-1327
SOLON L BLOOMER FAMILY LP II                                             PO BOX 54525                                                                           OKLAHOMA CITY       OK      73154-1525
SOMBRA OPERATING LLC                                                     305 W WATERFRONT DR                                                                    TUTTLE              OK      73089-5411
Somers, Ryan                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK      73116
SONDRA CARTER                                                            3822 MAPLEWOOD AV                                                                      DALLAS              TX      75205
SONDRA DRAGOUN                                                           518 RIDGEWAY DR                                                                        ENID                OK      73701
SONDRA DRISKEL                                                           1717 N COUNCIL CREEK RD                                                                GLENCOE             OK      74032
SONDRA HARRINGTON MATTHIES                                               5700 ASHEVILLE WAY                                                                     OKLAHOMA CITY       OK      73020
SONDRA JO PIERCE                                                         1302 CARSON DRIVE                                                                      SEMINOLE            OK      74868
SONDRA POWER                                                             100374 SOUTH 3500 ROAD                                                                 SPARKS              OK      74869
SONE ENERGY SERVICES LLC                                                 PO BOX 188                                                                             MARSHALL            TX      75671-0188
                                                                                                                       9211 Lake Hefner
Sonia Walker                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sonia Walker                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Sonia Walker                                                             2516 W. Gary St                                                                        Broken Arrow        OK      74012
                                                                                                                       9211 Lake Hefner
Sonia Vega                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Sonia Vega                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Sonia Vega                                                               2319 Parkland Way                                                                      Norman              OK      73069
SONJA CHRISTENSEN                                                        3002 SW 6TH ST                                                                         NEWCASTLE           OK      73065
SONJA PRUITT                                                             16393 HWY B                                                                            ELLINGTON           MO      63638
SONNA RUSSELL                                                            114 BATTLEFIELD DR                                                                     WINCHESTER          VA      22602
SONNY AND STEPANIE LIMON JT                                              4723 E KARA DR                                                                         STILLWATER          OK      74074
SOOL LTD                                                                 PO BOX 2237                                                                            MIDLAND             TX      79702
SOONER COMPLETIONS INC                ATTN: W. T. Rapp Jr                810 W Ayre St                                                                          Shawnee             OK      74801
SOONER COMPLETIONS INC                                                   PO BOX 37                                                                              SHAWNEE             OK      74802
SOONER HOT OIL SERVICES LLC                                              PO BOX 288                                                                             PONCA CITY          OK      74602
SOONER INVESTMENTS PROPERTIES LLC                                        508 W VANDAMENT AVE SUITE 310                                                          YUKON               OK      73099
SOONER MINERAL INVESTMENTS LLC                                           4127 NW 122ND ST STE C                                                                 OKLAHOMA CITY       OK      73120
SOONER MINERAL INVESTMENTS LLC                                           508 W VANDAMENT AVE SUITE 310                                                          YUKON               OK      73099
SOONER NATION ROYALTIES LLC                                              105 N HUDSON AVE STE 200                                                               OKLAHOMA CITY       OK      73102-4801
SOONER PIPE LLC                                                          DEPT 26                                                                                HOUSTON             TX      77210-4346


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SOONER SPORTS PROPERTIES LLC                                                   180 W BROOKS STE 3510                                                           NORMAN          OK      73019
SOPHIA DAVIS HASKETT                                                           8935 CATAMARAN WAY                                                              MONTGOMERY      TX      77316-6936
SOPHIA FITZPATRICK                                                             22247 BARBACOA DR                                                               SAUGUS          CA      91350
SOPHIA RICHARD SMITHER JT                                                      2414 DRY CREEK DR                                                               HARRISONVILLE   MO      64701-2091
SOPHIE EYLER                                                                   12724 E LONGHORN TRAIL                                                          FAIRMONT        OK      73736
SORANYA J HATMAKER                                                             2306 MONTEREY RD                                                                TALBOTT         TN      37877
SOSAB ENERGY LLC                                                               4312 WINGREN DR                                                                 PLANO           TX      75093-3247
SOUND REALTY 401K AN ARIZONA LLC                                               10645 N TATUM BLVD #200-541                                                     PHOENIX         AZ      85028
SOURCE ENERGY SOLUTIONS                                                        PO BOX 10638                                                                    EUGENE          OR      97440-2638
SOURCE ROCK MINERALS II LLC                                                    PO BOX 670713                                                                   DALLAS          TX      75367-0713
SOURCE ROCK MINERALS LP                                                        PO BOX 670713                                                                   DALLAS          TX      75367
SOUTH 54 FARM LLC                                                              PO BOX 18637                                                                    OKLAHOMA CITY   OK      73154
                                                                                                                           Wade Hampton
South Carolina State Treasurer's Office        Unclaimed Property Program      1200 Senate Street Ste 214                  Building                            Columbia        SC      29201
South Dakota Office of the State Treasurer     Unclaimed Property              500 E Capitol Ave Ste 212                                                       Pierre          SD      57501-5070
SOUTH FAMILY REV TRUST DTD 7-11-200                                            ROUTE 2 BOX 3                                                                   LEEDEY          OK      73654
SOUTH RIVER ENVIRONMENTAL LLC                                                  PO BOX 960                                                                      MEEKER          OK      74855-0960
SOUTH WEST TEXAS DISPOSAL CORP                                                 214 W TEXAS AVE                                                                 MIDLAND         TX      79701
SOUTHEASTERN ENERGY COMPANY                                                    PO BOX 1106                                                                     MCALESTER       OK      74502-1106
SOUTHERN ENERGY FUND 3 LP                                                      PO BOX 340309                                                                   AUSTIN          TX      78734
SOUTHERN FINANCIAL SERVICES INC                                                PO BOX 593                                                                      MISSION         TX      78572
SOUTHERN FUNDING INC                                                           419 30TH ST                                                                     NEWPORT BEACH   CA      92663
Southern Plains Energy Services LLC                                            13200 John Wayne                                                                Perry           OK      73077
SOUTHROADS PROPERTIES LLC                                                      PO BOX 955                                                                      PERKINS         OK      74059-0955
SOUTHSTAR ENERGY CORP                                                          301 W. MAIN ST., STE. 500                                                       ARDMORE         OK      73401
SOUTHSTAR EXPLORATION LLC                                                      6701 BROADWAY EXT STE 301                                                       OKLAHOMA CITY   OK      73116-8236
SOUTHSTAR OIL & GAS, LLC                                                       PO BOX 123                                                                      ANDOVER         KS      67002
SOUTHWEST PETROCORP INC                                                        300 E PINE                                                                      DRUMRIGHT       OK      74030-0552
SOUTHWEST PETROLEUM COMPANY                                                    PO BOX 702377                                                                   DALLAS          TX      75370-2377
SOUTHWEST ROYALTIES INC                                                        PO BOX 733772                                                                   DALLAS          TX      75373-3772
SOUTHWEST SOLUTIONS GROUP INC                                                  PO BOX 671784                                                                   DALLAS          TX      75267-1784

SOUTHWESTERN ASSET MANAGEMENT LLC                                              3900 S HARVEST AVENUE                                                           STILLWATER      OK      74074

SOUTHWESTERN BELL TELEPHONE COMPANY                                            909 CHESNUT ST                                                                  ST LOUIS        MO      63101
SOUTHWESTERN EXPLORATION                                                       6305 WATERFORD BLVD STE 405                                                     OKLAHOMA CITY   OK      73118

SOUTHWESTERN OKLAHOMA STATE UNIVERS                                            100 E CAMPUS DR.                                                                WEATHERFORD     OK      73096
SOUTHWESTERN PUBLIC SERVICE                                                    PO BOX 9477                                                                     MINNEAPOLIS     MN      55484-9477

SOUTHWESTERN STATIONARY & BANK SUPP                                            PO BOX 18697                                                                    OKLAHOMA CITY   OK      73154-0697
SOUTHWIND EXPLORATION LLC                                                      PO BOX 721691                                                                   NORMAN          OK      73070
SOVEREIGN EXPLORATION COMPANY                                                  29717 SULLIVAN OAKS DRIVE                                                       SPRING          TX      77386
SP ENERGY 1985-ONE LP                                                          701 5TH AVE STE 5700                                                            SEATTLE         WA      98104-7014
SPANGLER CONTRACT PUMPING                                                      PO BOX 65                                                                       FAY             OK      73646
SPARKY OIL AND GAS CO LLC                                                      PO BOX 25163                                                                    DALLAS          TX      75225-1163
SPARTAN RESOURCES LLC                                                          PO BOX 2266                                                                     ARDMORE         OK      73402-2266
SPAULDING SURPLLUS SOLUTIONS LLC                                               PO BOX 892108                                                                   OKLAHOMA CITY   OK      73189
SPEARS & ASSOCIATES INC                                                        8908 S YALE AVE STE 440                                                         TULSA           OK      74137-3512
SPEARS SCHOOL OF BUSINESS                                                      215 BUSINESS BUILDING                                                           STILLWATER      OK      74078
SPECIAL CORE ANALYSIS LABORATORIES                                             PO BOX 9730                                                                     MIDLAND         TX      79708-9730
                                               c/o Coffey, Senger & McDaniel
Special Energy Corporation                     PLLC                            Attn:Michael J McDaniel                     4725 E 91st St      Ste. 100        Tulsa           OK      74137
Special Energy Corporation                     c/o Mark H Bennett PLLC         Attn: Mark H Bennett                        1721 Drakestone                     Oklahoma City   OK      73120
Special Energy Corporation                                                     4815 N Perkins Rd                           PO Box 369                          Stillwater      OK      74076
SPECIAL ENERGY CORPORATION                                                     PO BOX 369                                                                      STILLWATER      OK      74076-0369
Special Energy Corporation, Operator for the                                                                               1800 Canyon Park
Andress-Bartlesville Sand Unit                 c/o Lee Law & Consulting, LLC   Attn: John E Lee                            Circle              Ste. 201        Edmond          OK      73013



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                                                                                                   White Star Petroleum, LLC
                                                                                                        Creditor Matrix


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Special Energy Corporation, Operator for the
Andress-Bartlesville Sand Unit                                                 4815 N Perkins Rd                          PO Box 369                         Stillwater          OK      74076
                                               c/o Coffey, Senger & McDaniel
Special Energy Production Co LP                PLLC                            Attn: Michael J McDaniel                   4725 E 91st St     Ste. 100        Tulsa               OK      74137
Special Energy Production Co LP                                                4815 Perkins Rd                                                               Stillwater          OK      74076
SPECIAL EXPLORATION LLC                                                        PO DRAWER 369                                                                 STILLWATER          OK      74076
SPECKULATIONS LLC                                                              N1568 COUNTY OK                                                               JUDA                WI      53550
SPECTORSOFT CORPORATION                                                        1555 INDIAN RIVER BLVD STE B210                                               VERO BEACH          FL      32960-7113
SPECTRA AUDIO DESIGN GROUP LTD                                                 12 W 21ST STE FL # 3                                                          NEW YORK            NY      10010
SPECTRASEIS INC                                                                1600 STOUT ST STE 850                                                         DENVER              CO      80202
SPECTRUM BUSINESS SERVICES                                                     PO BOX 838                                                                    LAKE FOREST         CA      92609-0067
SPECTRUM TRACER SERVICES LLC                                                   DEPARTMENT 2849                                                               TULSA               OK      74182
SPEEDY PRINT                                                                   PO BOX 938                                                                    CAMBRIDGE           OH      43472
SPENCER FANE LLP                                                               PO BOX 872037                                                                 KANSAS CITY         MO      64187-2037
SPENCER LIVING TRUST DTD 3-7-2007                                              175 WEST EDEN PARK                                                            SEARCY              AR      72143

SPENCER T SEWELL GST EXEMPT RES TST                                            3133 NORTH MADISON COURT                                                      STILLWATER          OK      74075
SPERLING STUBBLEFIELD                                                          4007 N E ST                                                                   SAN BERNARDINO      CA      92407-3505
SPESS OIL COMPANY INC                                                          200 S BROADWAY                                                                CLEVELAND           OK      74020
SPIDLE TURBECO                                                                 PO BOX 677496                                                                 DALLAS              TX      75267-7496
Spiehs, Clayton                                c/o White Star Petroleum, LLC   301 NW 63rd St                             Ste 600                            Oklahoma City       OK      73116
SPILLMAN FAMILY TRUST                                                          2105 MERRIMAC                                                                 ENID                OK      73703
SPINDLETOP EXPLORATION COMPANY INC                                             PO BOX 25163                                                                  DALLAS              TX      75225-1163
SPINDLETOP EXPLORATION INC                                                     PO BOX 25163                                                                  DALLAS              TX      75225
SPINDLETOP ROYALTY INTERESTS LLC                                               PO BOX 25163                                                                  DALLAS              TX      75225
SPINNAKER LLC                                                                  PO BOX 27996                                                                  DENVER              CO      80227-0996
SPINNAKER OILFIELD SERVICES LLC                                                3040 POST OAK BLVD SUITE 1450                                                 HOUSTON             TX      77056
SPIRE MARKETING INC.                                                           PO BOX 956103                                                                 ST. LOUIS           MO      63195
SPIRIT GLOBAL ENERGY SOLUTIONS INC                                             PO BOX 732393                                                                 DALLAS              TX      75373-2393
SPIRIT SERVICES CO                                                             75 REMITTANCE DR STE 6522                                                     CHICAGO             IL      60675-6522
SPIRITBANK AWAD INVESTMENTS LP                                                 PO BOX 1268                                                                   STILLWATER          OK      74076
SPN WELL SERVICES LLC                                                          PO BOX 1299                                                                   GAINESVILLE         TX      76241
SPO ENTERPRISES LLC                                                            912 NW 37TH ST                                                                OKLAHOMA CITY       OK      73118
SPOTLIGHT CREATIVE LLC                                                         11702 B GRANT RD STE 426                                                      CYPRESS             TX      77429
SPRENGER JAMES                                                                 3904 31st ST SW                                                               CALGARY             AB      T3E 2P7      CANADA
SPRIG ENTERPRISES LLC                                                          1210 LARCHMONT LN                                                             NICHOLS HILLS       OK      73116
SPRING MCKNIGHT                                                                2100 N UNION APT 1209                                                         PONCA CITY          OK      74601
SPRING VALLEY CHURCH OF CHRIST INC                                             9200 SLEEPY HOLLOW                                                            STILLWATER          OK      74076
SPRINT ENERGY SERVICES LLC                                                     PO BOX 51323                                                                  LAFAYETTE           LA      70505
SPRUNT LLC                                                                     3910 W 6TH AVENUE #212                                                        STILLWATER          OK      74074-1745
SPUR OPERATING LLC                                                             PO Box 1219                                                                   FREDERICKSBURG      TX      78624
SQUIRREL CREEK ELK RANCH INC                                                   109 N 2ND W                                                                   SAINT ANTHONY       ID      83445-1422
SRILAKSHMI KOMANDURI TRUST                                                     4020 TIMBERLINE DRIVE                                                         STILLWATER          OK      74074

SRN CONSULTING INC                                                             12234 SHADOW CREEK PKWY STE 1100                                              PEARLAND            TX      77584-7330
SSC INC                                                                        PO BOX 1586                                                                   LUBBOCK             TX      79408-1586
SSC LLC                                                                        6520 N WESTERN AVE STE 101                                                    OKLAHOMA CITY       OK      73116-7334
SSI US INC                                                                     353 N CLARK STE 2400                                                          CHICAGO             IL      60654-3479
ST CHARLES ROYALTY LLC                                                         11063-D S MEMORIAL DR PMB 145                                                 TULSA               OK      74133
ST FRANCIS OF THE WOODS                                                        PO BOX 400                                                                    COYLE               OK      73027-0376
ST GREGORY'S MINERALS LLC                                                      PO BOX DEPT                                                                   OMAHA               NE      68103-0480
ST GREGORYS UNIVERSITY                                                         5147 S HARVARD AVE STE 110                                                    TULSA               OK      74135-3587
ST LOUIS-SAN FRANCISCO RAILWAY                                                 2650 LOU MENK DR                                                              FORT WORTH          TX      76131
ST PAULS UNITED CHURCH OF CHRIST                                               PO BOX 156                                                                    MARSHALL            OK      73056-0159
ST PETER & ST PAUL CATHOLIC                                                    309 S MAIN                                                                    KINGFISHER          OK      73750
ST PETER AND ST PAUL CATHOLIC CHRUC                                            309 S MAIN ST                                                                 KINGFISHER          OK      73750-3237
ST. LUKE'S METHODIST CHURCH                                                    222 N.W. 15TH. STREET                                                         OKLAHOMA CITY       OK      73103
STA LLC                                                                        215 SOUTH LAUREL AVENUE                                                       BROKEN ARROW        OK      74012
STABLE ENERGY LAND SERVICES LLC                                                4501 N WESTERN AVE                                                            OKLAHOMA CITY       OK      73118-5243


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STACEY DALE REYNOLDS PETERSON                                            180 BRANNAN STREET NUMBER 129                                                          SAN FRANCISCO    CA    94107
STACEY HARRIS                                                            903 ROSE TERRACE                                                                       PERRY            OK    73077
                                                                                                                       9211 Lake Hefner
Stacey R. Murray                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Stacey R. Murray                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Stacey R. Murray                                                         3228 NW 63rd St                                                                        Oklahoma City    OK    73116
STACEY WALTERS                                                           343 JONATHAN CT                                                                        HUMMELSTOWN      PA    17036
STACEY WASHINGTON                                                        1156 TRIOPIA RD                                                                        CONCORD          IL    62631
STACEY WILLIAMS                                                          616 98TH AVE N                                                                         NAPLES           FL    34108-2222
STACI CONNERY                                                            4400 FAIRGATE DR                                                                       MIDLAND          TX    79707
STACI M CLARK TRUST                                                      2017 KENDAL CT                                                                         EDMOND           OK    73003-2597
STACI WADE                                                               102 WONDERWORLD DR #304-108                                                            SAN MARCOS       TX    78666
                                                                                                                       9211 Lake Hefner
Staci Richmond                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Staci Richmond                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Staci Richmond                                                           4409 Meadow Lark Terrace                                                               Edmond           OK    73034
STACIE WALLACE                                                           337 WIMBERLEY RANCH DR                                                                 WIMBERLEY        TX    78676-4131
STACK MINERALS I LLC                                                     6608 N WESTERN AVE # 411                                                               OKLAHOMA CITY    OK    73116-7326
STACY & KELLY SPENCER LVG TRUST DTD                                      5900 S LAKE FORREST DR STE 300                                                         MCKINNEY         TX    75070
STACY BRIGGS                                                             2304 LAFAYETTE DR                                                                      NORMAN           OK    73071
STACY CAMPA                                                              4405 W PITTSBURG ST                                                                    BROKEN ARROW     OK    74012
STACY CASTILLO                                                           2308 CHEROKEE AVE                                                                      BAXTER SPRINGS   KS    66713-2234
STACY DILLON                                                             4524 N. SIMPSON RD                                                                     OTIS ORCHARDS    WA    99027
STACY LYNN                                                               PO BOX 217                                                                             DESDEMONA        TX    76445-0217
STACY MARIE CHANNEL                                                      1002 SW 8TH STREET                                                                     OKLAHOMA CITY    OK    73139
STACY PERRYMAN                                                           20 SUMMERWIND DR                                                                       GARDEN VALLEY    ID    83622-3600
STACY PHILLIPS                                                           42516 HWY 412                                                                          RINGWOOD         OK    73768
STACY REECE                                                              22024 E 19TH                                                                           YALE             OK    74085
STACY ROYALTY                                                            RT 1 BOX 164                                                                           THOMAS           OK    73669
STACY SCHUSTERMAN REV. TR                                                110 W. 7TH ST., SUITE 2000                                                             TULSA            OK    74119
STACY TEJADA                                                             155 GOODWATER CT                                                                       AUSTIN           TX    78737
STACY WILLIAMS                                                           117 CHINABERRY CIRCLE                                                                  HOT SPRINGS      AR    71901
                                                                                                                       9211 Lake Hefner
Stacy Alexander                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Stacy Alexander                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Stacy Alexander                                                          416 NE 63rd                                                                            Oklahoma City    OK    73105
STACYE ROE                                                               22459 BENTON RD                                                                        MARYSVILLE       OH    43040-9253
STAERKEL LAND LLC                                                        17102 E HWY 412                                                                        GARBER           OK    73733
STAGHORN ENERGY LLC                                                      1 W 3RD ST STE 1000                                                                    TULSA            OK    74103
STALKER & COMPANY LLC                                                    5001 DEERFIELD AVE.                                                                    ENID             OK    73703
STALLINGS FAMILY TRUST                                                   PO BOX 1348                                                                            BLUE JAY         CA    92317
STALLION OILFIELD SERVICES LTD.                                          PO Box 1486                                                                            HOUSTON          TX    77251-1486
Stamp, Cynthia                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK    73116
STAMPEDE ENERGY SERVICES LLC                                             PO BOX 662                                                                             LINDSAY          OK    73052-0662
STAMPS BROS OIL AND GAS LLC                                              PO BOX 614                                                                             TUTTLE           OK    73089
STAN BERGER                                                              29201 TELEGRAPH RD STE 510                                                             SOUTHFIELD       MI    48034
STAN HUSTON                                                              5648 S JESSE O WAY                                                                     TAYLORSVILLE     UT    84123
STAN POTTER                                                              PO BOX 5938                                                                            ENID             OK    73702
STANDARD & POOR'S                                                        2542 COLLECTION CENTER DR                                                              CHICAGO          IL    60693

STANDARD TESTING AND ENGINEERING CO                                      3400 N LINCOLN BLVD                                                                    OKLAHOMA CITY    OK    73105-5408
STANFORD SHAW                                                            4105 HONEYCOMB ROCK CIR                                                                AUSTIN           TX    78731-2015
STANISLAW V HANDZLIK                                                     2920 N BAHADA RD                                                                       PALM SPRINGS     CA    92262
STANLEY A SWISHER TRUST                                                  2900 N EUCHEE VLY                                                                      CUSHING          OK    74023-2970
STANLEY AND JILL TODD JT                                                 PO BOX 528                                                                             CUSHING          OK    74023-0528
STANLEY BOYLES                                                           PO Box 334                                                                             RIPLEY           OK    74162


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STANLEY COLBORN                                                         36 N 3RD W                                                                             REXBURG           ID       83440-1402
STANLEY CORNETT                                                         PO BOX 6046                                                                            KINGWOOD          TX       77235
STANLEY CURTIS                                                          8019 GRIMCHESTER                                                                       CONVERSE          TX       78109
STANLEY DELANO                                                          5451 COUNTY ROAD 77A                                                                   ROBSTOWN          OK       73830-6039
STANLEY DUDLEY                                                          501 AREHART LN                                                                         PLATTE CITY       MO       64079
STANLEY DUNBAR                                                          1609 FAIRWAY DR                                                                        PERKINS           OK       74059
STANLEY DUNHAM                                                          3423 S WEST ST                                                                         STILLWATER        OK       74074-5907
STANLEY E BRIDENSTINE                                                   8660 45TH ST                                                                           RIVERSIDE         CA       92509-3218
STANLEY FAMILY TRST DON G                                               601 SOUGH AVERY STREET                                                                 MOORE             OK       73160
STANLEY FILTER CO LLC                                                   8189 E 44TH ST                                                                         TULSA             OK       74145-4830
STANLEY GIBSON IRS                                                      5900 S LAKE FOREST DR STE 300                                                          MCKINNEY          TX       75070
STANLEY KAUTZ                                                           1100 CHESTNUT LANE                                                                     EDMOND            OK       73034
STANLEY LEE                                                             409 OAK HAVEN ST                                                                       BAYTOWN           TX       77520
STANLEY LONGAN                                                          820 S STONEYBROOK ST                                                                   STILLWATER        OK       74074
STANLEY MCKNIGHT                                                        2308 STAFFORD RD                                                                       THOUSAND OAKS     CA       91361-5032
STANLEY MOFFAT                                                          3333 E 68TH AVE                                                                        STILLWATER        OK       74074
STANLEY MOORE                                                           106800 S 4110 ROAD                                                                     CHECOTAH          OK       74426
STANLEY MOORE WARD                                                      8001 E ETOWAH RD                                                                       NOBLE             OK       73068-7538
                                                                                                                      9211 Lake Hefner
Stanley Olden                         c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120

Stanley Olden                         c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                     5020 Montrose Blvd   9th Fl              Houston           TX       77006
Stanley Olden                                                            PO Box 14823                                                                          Oklahoma City     OK       73113
STANLEY OWEN HAMMOND                                                     192 PATTERSON LANE                                                                    MERIDIANVILLE     AL       35759-7136
STANLEY POLWART                                                          232 DOGWOOD CIRCLE                                                                    PORT WENTWORTH    GA       31407

STANLEY RAY MOFFAT & CATHRENE ANN M                                     3333 E 68TH ST                                                                         STILLWATER        OK       74074-6194
STANLEY RESOURCES CORP                                                  624 LAKEVIEW TRAIL                                                                     KANSAS            OK       74347
STANLEY ROGERS                                                          6901 W BRITTON RD                                                                      OKLAHOMA CITY     OK       73132-1702
STANLEY SCHUERMANN                                                      2003 CREIGHTON ST                                                                      NORMAN            OK       73071
STANLEY STALLCUP                                                        PO Box 5371                                                                            BOISE             ID       83705

STANLEY WALKER MARY HELEN WALKER JT                                     PO BOX 347                                                                             PERRY             OK       73077
STANLEY WARD                                                            8001 E ETOWAH RD                                                                       NOBLE             OK       73068-7538
STANLEY WIERZBICKI                                                      10807 MURPHY LANE                                                                      GLENCOE           OK       74032
STANLEY YORK                                                            1304 N BROADMOOR                                                                       DERBY             KS       67037
STANTON F AND BEVA SMITH LIVING TRU                                     3977 HERMOSA DR.                                                                       KINGSLAND         TX       78639-5274
STANTON FAMILY TRUST                                                    222 W 29TH AVE APT 29                                                                  STILLWATER        OK       74074-6915
STANTON L YOUNG REV TRUST                                               PO BOX 54948                                                                           OKLAHOMA CITY     OK       73154
STAPLEGUN DESIGN INC                                                    204 N ROBINSON AVE STE 2000                                                            OKLAHOMA CITY     OK       73102-6888
STAPLES BUSINESS ADVANTAGE                                              PO BOX 83689                                                                           CHICAGO           IL       60696-3689
STAPLES TECHNOLOGY SOLUTIONS                                            PO BOX 95230                                                                           CHICAGO           IL       60694-5230

STAPLES TECHNOLOGY SOLUTIONS                                            1096 E NEWPORT CENTER DR STE 300                                                       DEERFIELD BEACH   FL       33442
STAR FLOWER ROYALTIES LLC                                               1720 S BELLAIRE STREET SUITE 1209                                                      DENVER            CO       80222
STAR GAP INVESTMENTS                                                    PO BOX 2849                                                                            WIMBERLEY         TX       78676
STAR GEOPHYSICS INC.                                                    119 N. ROBINSON, SUIT 500                                                              OKLAHOMA CITY     OK       73102
STAR KLOBERDANZ                                                         4077 180TH ST                                                                          SHENANDOAH        IA       51601
STAR PIPE SERVICES INC                                                  PO BOX 6518                                                                            MOORE             OK       73153-0518
STAR RIDGE ENERGY LLC                                                   PO BOX 98                                                                              SEWICKLEY         PA       15143-0098
STAR RIDGE RESOURCES LLC                                                PO BOX 98                                                                              SEWICKLEY         PA       15143-0098
Starks, Ricky                         c/o White Star Petroleum, LLC     301 NW 63rd St                                Ste 600                                  Oklahoma City     OK       73116
STARLET JAMISON                                                         2616 SW 96TH ST                                                                        OKLAHOMA          OK       73159
STARLIGHT ENERGY LLC                                                    12316 A NORTH MAY AVE, SUITE 226                                                       OKLAHOMA CITY     OK       73120
STARLIGHT ORCHESTRAS INC                                                330 WEST 38TH STREET STE 801                                                           NEW YORK          NY       10018-8465
STARLING MILLER                                                         15702 HARVEST RD                                                                       PERRY             OK       73077
                                                                                                                      9211 Lake Hefner
Starr Ernst                           c/o Atkins & Markoff              Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK       73120



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                                        c/o Laminack, Pirtle & Martines,
Starr Ernst                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Starr Ernst                                                                10955 E. 36th Pl                                                                       Tulsa             OK      74146
STATE CHAMBER OF OKLAHOMA                                                  PO BOX 53217                                                                           OKLAHOMA CITY     OK      73152-3217
STATE OF ALASKA UNCLAIMED PROPERTY                                         PO BOX 110405                                                                          JUNEAU            AK      99811-0405
STATE OF COLORADO                                                          1127 SHERMAN ST STE 300                                                                DENVER            CO      80203-2398
                                                                                                                         250 South Hotel
State of Hawaii                         Unclaimed Property Program         No. 1 Capitol District Building               Street Room 304                          Honolulu          HI      96813
STATE OF MICHIGAN                                                          PO BOX 30756                                                                           LANSING           MI      48909
STATE OF NEBRASKA                                                          800 P STREET                                                                           LINCOLN           NE      68508

State of New Jersey                     Unclaimed Property Administration PO Box 214                                                                              Trenton           NJ      08625-0214
                                        UNCLAIMED PROPERTY
STATE OF NEW JERSEY                     DIVISION                                                                                                                  TRENTON           NJ      06950-0214
STATE OF OKLAHOMA                                                         2300 N LINCOLN BLVD ROOM 217                                                            OKLAHOMA CITY     OK      73105-4801
State of Oklahoma Tax Commission                                          P.O. Box 269057                                                                         Oklahoma City     OK      73126-9057
State of Oklahoma, Secretary of State                                     2300 N. Lincoln Boulevard                      Suite 101                                Oklahoma City     OK      73105-4897

STATE OF TENNESSEE TREASURY DEPARTM                                        PO BOX 198649                                                                          NASHVILLE         TN      37219-8649
STATE OF TEXAS                                                             1700 CONGRESS AVE STE 935                                                              AUSTIN            TX      78701
STATE OF TEXAS                                                             PO BOX 12873                                                                           AUSTIN            TX      78711-2873
STATES ROYALTY LIMITED PARTNERSHIP                                         PO BOX 911                                                                             BRECKENRIDGE      TX      76424-0911
STATEWIDE PAINTING CONTRACTORS INC                                         1601 NW 3RD ST                                                                         OKLAHOMA CITY     OK      73106-2808
STATEX PETROLEUM I L.P                                                     PO BOX 797545                                                                          DALLAS            TX      75379-7545
STC RESOURCES LLC                                                          PO BOX 1211                                                                            ENID              OK      73702
STEAVEN SHANE PATE II                                                      1417 GLENMERE COURT                                                                    EDMOND            OK      73003-2698
STEEL HORSE HOLDINGS LLC                                                   529 LOUISIANA ST                                                                       JONES             OK      73049
STEEL OAK OIL AND GAS LLC                                                  PO BOX 25163                                                                           DALLAS            TX      75225-1163
STEELHOUSE PRODUCTIONS                                                     1820 S BOULDER AVE STE 200                                                             TULSA             OK      74119-5025
STEFANI MCDOWELL                                                           299 W ASHCROFT AVE                                                                     CLOVIS            CA      93612
STEFANIE FRANCIS                                                           805 COLUMBUS AVENUE                                                                    NEW YORK          NY      10025
Stegman, Andrew                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
STEICHEN FAMILY LAND AND MINERALS L                                        11201 RANCH                                                                            PERRY             OK      73077-9028
STEINER FARMS                                                              8311 S SINCLAR RD                                                                      COVINGTON         OK      73730
STEINERT AG SERVICE LLC                                                    7326 S 126TH ST                                                                        FAIRMONT          OK      73736
STEINERT LAND LP                                                           7326 S 126 ST                                                                          FAIRMONT          OK      73736
STELLA ANGLE                                                               7085 SW 174TH AVE                                                                      BEAVERTON         OR      97007-6404
STELLA DEAN FORNEY                                                         3462 F ROAD                                                                            CLIFTON           CO      81520
                                                                                                                         9211 Lake Hefner
Stella L Hubbard                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                        c/o Laminack, Pirtle & Martines,
Stella L Hubbard                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Stella L Hubbard                                                           308 S Cleveland                                                                        Cushing           OK      74023
STELLA NELSON HUGHES                                                       9918 S PERKINS RD                                                                      PERKINS           OK      74059-4032
STELLA RODGERS                                                             1016 GRANT ST                                                                          AGRA              OK      74824-6228
STELLA STEVENS RODGERS LIFE EST                                            1016 E GRANT ST                                                                        AGRA              OK      74824-6228
STELLAR DRILLING FLUID LLC                                                 PO BOX 22328                                                                           HOUSTON           TX      77227-2328
STELLARIS LLC                                                              PO BOX 350010                                                                          WESTMINSTER       CO      80035-0100
STEPHANE MARLOW                                                            1242 DRIFTWOOD ST                                                                      GROVER BEACH      CA      93433-3218
STEPHANIE ALLEN                                                            5714 BOCA RATON DR                                                                     DALLAS            TX      75230
STEPHANIE ANN MICHEL                                                       3530 N WILLIS BLVD                                                                     PORTLAND          OR      97217
STEPHANIE ANN PARKS                                                        38936 CR. 1540                                                                         PAULS VALLEY      OK      73075
STEPHANIE B VARON SVRS TRUST                                               1690 E COPPER HOLW                                                                     SAN TAN VALLEY    AZ      85140-5351
STEPHANIE CROUCH                                                           306 4TH ST                                                                             MARBLE FALLS      TX      78654-5910
STEPHANIE DIANE NELSON TRUST                                               4801 COLLINWOOD AVE                                                                    FORT WORTH        TX      76107-4138
                                                                                                                         9211 Lake Hefner
Stephanie Diane Clark                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                        c/o Laminack, Pirtle & Martines,
Stephanie Diane Clark                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006


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                 CreditorName            CreditorNoticeName                           Address1                           Address2                 Address3            City   State       Zip      Country
Stephanie Diane Clark                                                 4613 SE 41st St                                                                        Del City        OK      73115
STEPHANIE FANNING                                                     712 ADAMS ST NE                                                                        ALBUQUERQUE     NM      87110
STEPHANIE GASAWAY                                                     4509 HUNTERS HILL CIR                                                                  NORMAN          OK      73072-3943
STEPHANIE GIBBS                                                       1226 EAST 26TH STREET                                                                  TULSA           OK      74114
STEPHANIE GUDGEL                                                      1010 E BOBBIER DR #76                                                                  VISTA           CA      92084
STEPHANIE HINDMAN                                                     7806 S WASHINGTON ST                                                                   STILLWATER      OK      74074-8203
STEPHANIE HOFFERBER                                                   22521 SE 279TH ST                                                                      MAPLE VALLEY    WA      98038
STEPHANIE KEMP                                                        PO BOX 6122                                                                            AMARILLO        TX      79117
STEPHANIE LONG                                                        112 ATTWOOD AVE                                                                        TEAGUE          TX      75860-1742
STEPHANIE LOTT                                                        869 TIMBER POND DR                                                                     BRANDON         FL      33510
STEPHANIE MCLAUGHLIN                                                  24 ROLLING MANOR DR                                                                    CONWAY          AR      72032
STEPHANIE MORRISON                                                    PO BOX 178                                                                             PORTER          OK      74454-0178
STEPHANIE PARISH                                                      21764 VILLAGIO DR                                                                      EDMOND          OK      73012
                                                                                                                    9211 Lake Hefner
Stephanie Pope                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Stephanie Pope                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Stephanie Pope                                                        2723 S. Pioneer Trail                                                                  Stillwater      OK      74074
STEPHANIE ROGERS                                                      313 COBBLESTONE                                                                        TROY            IL      62294
STEPHANIE SIMPSON                                                     323 S TERRILL DR                                                                       STILLWATER      OK      74075
STEPHANIE STOKES                                                      608 WELLINGTON ST                                                                      GLENCOE         OK      74032-3301
STEPHANIE WORKMAN                                                     3904 CREEK BEND RD                                                                     EDMOND          OK      73003
                                                                                                                    9211 Lake Hefner
Stephanie Crawford                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Stephanie Crawford                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Stephanie Crawford                                                    274 Murray Dr                                                                          Choctaw         OK      73020
                                                                                                                    9211 Lake Hefner
Stephanie Milburn                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Stephanie Milburn                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Stephanie Milburn                                                     1175 Stone Ridge Dr                                                                    Edmond          OK      73034
                                                                                                                    9211 Lake Hefner
Stephanie Oduola                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Stephanie Oduola                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Stephanie Oduola                                                      10302 SE 12th St                                                                       Oklahoma City   OK      73130
                                                                                                                    9211 Lake Hefner
Stephanie Wilson                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Stephanie Wilson                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Stephanie Wilson                                                      10104 Samantha Ct                                                                      Oklahoma City   OK      73162
STEPHANNI A TAYLOR                                                    1316 WILCOX LN                                                                         YUKON           OK      73099
STEPHEN & ANDREA PHILLIPS FAM TR                                      8301 CASCATA WAY                                                                       EDMOND          OK      73034
STEPHEN A SMITH                                                       12844 E RICHMOND RD                                                                    GLENCOE         OK      74032
STEPHEN ALBERT WESTERHEIDE                                            512 NORTH MANUS DRIVE                                                                  DALLAS          TX      75224-1409
STEPHEN ALLEN                                                         13612 CASCATA STRADA                                                                   OKLAHOMA CITY   OK      73170
STEPHEN AUSTIN                                                        PO BOX 220                                                                             MCALESTER       OK      74502
STEPHEN B CUBBAGE                                                     2927 E 95TH PLACE                                                                      TULSA           OK      74137
STEPHEN BARTON                                                        206 E 7TH AVE                                                                          BRISTOW         OK      74010
STEPHEN BLAKLEY                                                       7527 FM ROAD 2004                                                                      HITCHCOCK       TX      77563-4588
STEPHEN BLAZI                                                         712 WOODED CREEK LN                                                                    MCKINNEY        TX      75071
STEPHEN BRADFORD SLAWSON REV TR                                       1606 CAMDEN WAY                                                                        OKLAHOMA CITY   OK      73116-5518
                                                                                                                    9211 Lake Hefner
Stephen Brent Willmon              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Stephen Brent Willmon              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Stephen Brent Willmon                                                 6104 Bentwood Dr                                                                       Oklahoma City   OK      73169
STEPHEN BURTCH                                                        280 NE 126TH ST                                                                        SPICKARD        MO      64679


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             CreditorName                   CreditorNoticeName                       Address1                               Address2                 Address3             City    State     Zip      Country
STEPHEN C CURRY DBA                                                      9450 W SEWARD ROAD                                                                     GUTHRIE           OK    73044

STEPHEN C HALL                                                           5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX    75070
STEPHEN CHARLES SCHROEDER TRUST                                          1312 E 32ND ST                                                                         STILLWATER        OK    74074-7021
                                                                                                                       9211 Lake Hefner
Stephen Cheatwood                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120

Stephen Cheatwood                     c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Stephen Cheatwood                                                        9604 Regal Lane                                                                        Oklahoma City     OK    73162
STEPHEN COLE                                                             1204 HAMPTON CT                                                                        EDMOND            OK    73034
STEPHEN CORBYN                                                           12512 ARROWHEAD DR                                                                     OKLAHOMA CITY     OK    73120-8823

STEPHEN CRAIG DAVISON & EVELYN C DA                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX    75070
STEPHEN CRAVEN                                                           415 N WALNUT                                                                           GUTHRIE           OK    73044
STEPHEN D WEEKS                                                          2200 WILLOWICK ROAD APT 9F                                                             HOUSTON           TX    77027
STEPHEN DOBBS                                                            5805 NW 50TH                                                                           OKLAHOMA CITY     OK    73122
STEPHEN DOVRE                                                            413 N 1ST AVENUE                                                                       KNIGHTDALE        NC    27545
STEPHEN DRAKE                                                            200 KISIWA PARKWAY                                                                     HUTCHINSON        KS    67502
STEPHEN E POLLARD TRUST                                                  704 LEVI STREET                                                                        HENNESSEY         OK    73742
STEPHEN E TANNER                                                         20 SUNNY LN                                                                            STILLWATER        OK    74075-9685
                                                                                                                       9211 Lake Hefner
Stephen E. Lucas                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Stephen E. Lucas                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Stephen E. Lucas                                                         711 N. 11th St                                                                         Duncan            OK    73533
STEPHEN ELLIOT                                                           32366 CORTE LAS CRUSES                                                                 TEMECULA          CA    92592
STEPHEN ELLSPERMANN                                                      PO Box 1950                                                                            CROSSVILLE        TN    38558
STEPHEN F & OPAL L PRICE REV TRUST                                       PO BOX 136                                                                             GLENCOE           OK    74032
STEPHEN F WILDGEN                                                        4445 STOVER ST APT 2                                                                   FORT COLLINS      CO    80525-3287
STEPHEN FLAMING                                                          1201 S FAIRWAY DR                                                                      STILLWATER        OK    74074-1317

STEPHEN FOSTER AND BRENDA FOSTER H                                       840920 S 3400 ROAD                                                                     CHANDLER          OK    74834
STEPHEN GIBSON                                                           8808 LAKEAIRE DR                                                                       OKLAHOMA CITY     OK    73132
STEPHEN H WATSON TRUST                                                   4629 N INDIANA AVE                                                                     OKLAHOMA CITY     OK    73118-2225
STEPHEN HAAG                                                             1183 PHIPPS COURT                                                                      HIGHLANDS RANCH   CO    80126
STEPHEN HALL                                                             15089 N 593 ROAD                                                                       TAHLEQUAH         OK    74464
STEPHEN HARGIS                                                           4212 RANKIN RD                                                                         OKLAHOMA CITY     OK    73120-8022
STEPHEN HARRIS                                                           2504 GARDEN DR                                                                         GREENVILLE        TX    75401
STEPHEN HESS                                                             PO BOX 793                                                                             STILLWATER        OK    74076
STEPHEN HILL                                                             551 WHITNEY DRIVE                                                                      HEMET             CA    92543
STEPHEN HOFFMAN                                                          12009 FLOWERWOOD DR                                                                    OKLAHOMA CITY     OK    73120
STEPHEN HY ANDERSON                                                      4118 HEATHERHILL CIRCLE                                                                LONGMONT          CO    80503
STEPHEN IRA                                                              4168 W 12600 S#300                                                                     RIVERTON          UT    84096
STEPHEN J SVELAN III                                                     1002 OLD DENBIGH BLVD APT 202                                                          NEWPORT NEWS      VA    23602-2024
STEPHEN JAY                                                              10928 S QUEBEC PL                                                                      TULSA             OK    74137
                                                                                                                       9211 Lake Hefner
Stephen Karl Jentoft                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Stephen Karl Jentoft                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Stephen Karl Jentoft                                                     2643 NW 49th St                                                                        Oklahoma City     OK    73112
STEPHEN KONTOR                                                           523 173RD ST                                                                           HAMMOND           IN    46324
STEPHEN LEROUX                                                           1225 BROOKSIDE PKWY                                                                    BARTLESVILLE      OK    74006-4602
                                                                                                                       9211 Lake Hefner
Stephen Luckey                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                      c/o Laminack, Pirtle & Martines,
Stephen Luckey                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Stephen Luckey                                                           19426 S. Yale Ave                                                                      Mounds            OK    74047
STEPHEN M GOODRICH                                                       21619 HALE STREET                                                                      SPRINGHILL        KS    66083
STEPHEN M HILL                                                           5550 S LEWIS AVE STE 205                                                               TULSA             OK    74105-7175


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              CreditorName                  CreditorNoticeName                        Address1                             Address2                  Address3            City     State       Zip      Country
STEPHEN M WEST                                                          1057 MAIN STREET                                                                        HERCULES          CA      94547
STEPHEN MALLATT                                                         18160 COTTONWOOD RD                                                                     SUNRIVER          OR      97707
STEPHEN MAREK                                                           208 WINDSOR DR                                                                          STILLWATER        OK      74074-6719
STEPHEN MASTERS                                                         4343 LONG LAKE RD                                                                       MELBOURNE         FL      32934
STEPHEN MCCLAIN                                                         2626 N DUSTIN AVEAPT 28                                                                 FARMINGTON        NM      87401
STEPHEN MCCLURKIN                                                       6532 WESTON OAKS DR                                                                     CEDAR HILL        MO      63016-2254
STEPHEN MCINTIRE                                                        25535 HARDY PL                                                                          STEVENSON RANCH   CA      91381
STEPHEN MILTIMORE                                                       1148 S KINGS HWY                                                                        CUSHING           OK      74023
STEPHEN MITCHELL                                                        205 N EDNA DR                                                                           STILLWATER        OK      74075
STEPHEN MORRIS                                                          6711 NW 48TH ST                                                                         BETHANY           OK      73008
                                                                                                                      9211 Lake Hefner
Stephen Mosher Jr.                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Stephen Mosher Jr.                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Stephen Mosher Jr.                                                      507 E Broadway                                                                          Cushing           OK      74023
STEPHEN N FLESNER                                                       23 KRISTIN DRIVE                                                                        DERRY             NH      03038
                                                                                                                      9211 Lake Hefner
Stephen N. Mouzas                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Stephen N. Mouzas                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Stephen N. Mouzas                                                       15901 Petaluma Pl                                                                       Edmond            OK      73013
STEPHEN OWEN CLARKE                                                     511 COUCH DRIVE SUITE 300                                                               OKLAHOMA CITY     OK      73102
STEPHEN PAUL EDMISTON                                                   2660 NE HWY 20 STE 610-46                                                               BEND              OR      97701
Stephen Plunk                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Stephen Plunk                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
Stephen Plunk                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
Stephen Plunk                                                           667 County Road 2150                                                                    Barnsdall         OK      74002
STEPHEN POLLARD                                                         704 LEVI ST                                                                             HENNESSEY         OK      73734
STEPHEN PRICE                                                           2909 WATSON BLVD APT 2                                                                  ENDWELL           NY      13790
STEPHEN PRICE                                                           PO BOX 136                                                                              GLENCOE           OK      74032
STEPHEN R & ANNABESS MALY HWJTS                                         1615 FOX HOLLOW RIDGE                                                                   OKLAHOMA CITY     OK      73131-1217

STEPHEN R GRAHAM IRA                                                    5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY          TX      75070
STEPHEN RAMSEY                                                          5202 ROYAL WALK                                                                         HOUSTON           TX      77069-1929
STEPHEN RAY JARDOT                                                      401320 W 2200 RD                                                                        BARTLESVILLE      OK      74006-0484
STEPHEN REDDOUT                                                         PO BOX 491                                                                              ANDOVER           KS      67002-0491
STEPHEN REHM                                                            8707 E 104TH ST                                                                         TULSA             OK      74133
STEPHEN ROLEN                                                           2914 KAREN DR                                                                           BENTON            AR      72015-2646
STEPHEN S & LINDA S GRAY                                                4019 TIMBERLINE DR.                                                                     STILLWATER        OK      74074
STEPHEN SCHAFROTH                                                       1107 LEWIS ST                                                                           THE DALLES        OR      97058
STEPHEN SCHLINKE                                                        4150 W WATERLOO RD                                                                      EDMOND            OK      73025
STEPHEN SCOTT                                                           6241 N 27TH AVE #240                                                                    PHOENIX           AZ      85017
STEPHEN SCOTT BAMBERG                                                   20719 CAMPHOR TREE DR                                                                   KATY              TX      77449
STEPHEN SEARS                                                           8018 CLOVERDALE LN                                                                      ROCKFORD          IL      61107
STEPHEN STEWART                                                         PO BOX 780361                                                                           SAN ANTONIO       TX      78278-0361
STEPHEN STOREY                                                          PO BOX 674                                                                              EL RITO           NM      87530-0674
                                                                                                                      9211 Lake Hefner
Stephen Story                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Stephen Story                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Stephen Story                                                           1312 W. El Paso St                                                                      Broken Arrow      OK      74012
STEPHEN STRONG                                                          8842 E 77TH ST                                                                          TULSA             OK      74133
STEPHEN STUCK                                                           20100 COUNTY 200                                                                        PERRY             OK      73077
STEPHEN SUMNER                                                          1464 W DENTON RD                                                                        AXTELL            TX      76624
STEPHEN T. LONG 2010 REV TR                                             341 STONEHAVEN DRIVE                                                                    NORMAN            OK      73072
STEPHEN TRIPLETT                                                        13347 CLARK RD                                                                          BROWNING          MO      64630
STEPHEN VAN HORN                                                        PO BOX 32                                                                               EDMOND            OK      73083-5974
STEPHEN VATER                                                           5830 W 194TH ST                                                                         STILWELL          KS      66085
STEPHEN VENTRIS AND MARY E VENTRIS                                      PO BOX 2142                                                                             STILLWATER        OK      74076-2142


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               CreditorName                CreditorNoticeName                          Address1                            Address2                 Address3             City    State       Zip      Country
STEPHEN WELDON                                                          938 N JACKSON ST UNIT A                                                                BLOOMINGTON      IN       47404-3430
STEPHEN WHITEHILL                                                       PO BOX 3627                                                                            TULSA            OK       74101-3627
STEPHEN WHITTAKER                                                       443 WHEELER AVE                                                                        SCRANTON         PA       18510-2346
STEPHEN WILCOX                                                          12909 CASTLEROCK CT                                                                    OKLAHOMA CITY    OK       73142-5129
STEPHEN ZORN                                                            17407 SUNSET ARBOR DR                                                                  TOMBALL          TX       77377
STEPHENIE WILLIAMS                                                      840 OXFORD DRIVE                                                                       ODESSA           TX       79764
STEPHENS CAPITAL LLC                                                    2720 WASHINGTON DR STE 110                                                             NORMAN           OK       73069
STEPHENS COUNTY CLERK                                                   101 S 11TH ST RM 203                                                                   DUNCAN           OK       73533-4758
STEPHENS ENERGY GROUP LLC                                               PO BOX 8105                                                                            FORT SMITH       AR       72902-8105
STEPHENS ENERGY GROUP LLC                                               PO BOX 8105                                                                            FORT SMITH       AR       72902-8105
STEPHENS FORD STOREY                                                    609 ENCINO PL.N.G. #1008                                                               ALBUQUERQUE      NM       87102
STEPHENS PRODUCTION COMPANY                                             PO BOX 2407                                                                            FORT SMITH       AR       72902-2407
STEPHENS PRODUCTION COMPANY                                             PO BOX 2407                                                                            FORT SMITH       AR       72902-2407
STEPHENSON FAMILY REVOCABLE TRUST                                       ROUTE 1, BOX 61                                                                        CAMARGO          OK       73835
STEPTOE & JOHNSON PLLC                                                  PO BOX 247                                                                             BRIDGEPORT       WV       26330-0247
Sterkel, Laura                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK       73116
STERLING GATES                                                          PO BOX 93397                                                                           LOS ANGELES      CA       90093
STERLING INVESTMENTS LLC                                                PO BOX 20234                                                                           OKLAHOMA CITY    OK       73156
STERLING M MORRIS                                                       PO BOX 1300                                                                            WHARTON          TX       77488
STETH FAMILY LLC                                                        18708 SADDLE RIVER DR                                                                  EDMOND           OK       73012-4106
                                                                                                                      9211 Lake Hefner
Steve Williams                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                     c/o Laminack, Pirtle & Martines,
Steve Williams                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Steve Williams                                                          1417 West Main                                                                         Stroud           OK       74079
Steve Williams                                                          PO Box 480                                                                             Tutle            OK       73089
STEVE & MARY LANGHORST                                                  PO Box 2640                                                                            MIDLAND          TX       79702
STEVE AND CINDY BRIGGS                                                  1209 WEST ATLANTA STREET                                                               OKEMAH           OK       74859-2242
STEVE ARNOLD                                                            8639 E 160TH ST S                                                                      BIXBY            OK       74008
STEVE BLACK                                                             10516 PRARIE LN                                                                        OKLAHOMA CITY    OK       73162
STEVE BUCKANAN'S TRUCKING                                               4103 PLEASANT VIEW DRIVE                                                               EL RENO          OK       73036
STEVE CARPENTER                                                         3052 N 3915 RD                                                                         LAMAR            OK       74850
STEVE CRAIG STATEN                                                      9317 E FUNSTON ST                                                                      WICHITA          KS       67207-5515
STEVE CRAIG STATEN II                                                   9012 E BLUESTEM ST                                                                     WICHITA          KS       67207-5537
                                                                                                                      9211 Lake Hefner
Steve Creager                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK       73120
                                     c/o Laminack, Pirtle & Martines,
Steve Creager                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX       77006
Steve Creager                                                           803 S Harrison                                                                         Cushing          OK       74023
STEVE CURE                                                              359 WIGWAM RD.                                                                         BOWIE            TX       76230-1989
STEVE D RITTER & PEGGY E RITTER JT                                      1718 W MCMURTRY RD                                                                     STILLWATER       OK       74075
STEVE DAVIS                                                             1801 WESTCHESTER DR                                                                    OKLAHOMA CITY    OK       73120
STEVE DELMANS INC                                                       14731 CLAIR COURT W                                                                    YUKON            OK       73099
STEVE DELMAS INC                                                        2404 BROOK CREST WAY                                                                   LEANDER          TX       78641
STEVE E WESTERHEIDE                                                     4347 ROCK CREED ROAD                                                                   ALEXANDRIA       VA       22306-1223
STEVE EUGENE ARNETT AND                                                 5221 BUTTE ROAD                                                                        EDMOND           OK       73003
STEVE FERRELLROS                                                        42700 CRIMSON LN                                                                       SHAWNEE          OK       74804-9371
STEVE GALLAGHER                                                         101 PUEBLO                                                                             EDMOND           OK       73013
STEVE GRAHAM                                                            PO BOX 15181                                                                           SCOTTSDALE       AZ       85267
STEVE HADAWAY                                                           810218 S HIGHWAY 177                                                                   CARNEY           OK       74832
STEVE HEWITT                                                            808 POTOMAC AVENUE                                                                     SACRAMENTO       CA       95833
STEVE HUNTER                                                            2051 SEA COVE LN                                                                       COSTA MESA       CA       92627
STEVE INGRAM                                                            2200 ROSS AVENUE                                                                       DALLAS           TX       75201
STEVE K SMITH                                                           PO BOX 433                                                                             LAHOMA           OK       73754
STEVE KAMPA                                                             769 CARMELITA DR                                                                       SALINAS          CA       93901-1113
STEVE KETTER                                                            5101 SOUTH CHOCTAW                                                                     EL RENO          OK       73036
STEVE LANE                                                              5987 E MONTECITO AVE                                                                   FRESNO           CA       93727
STEVE LARKIN                                                            830 COVINGTON GROVE BLVD                                                               BOWLING GREEN    KY       42104
STEVE LEWIS                                                             4813 S PRAIRIE RD                                                                      STILLWATER       OK       74074-6123


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STEVE LONGAN                                                         14210 EASTONVILLE RD                                                                   ELBERT               CO      80106-8816
STEVE M BAYS                                                         602 W 32ND STREET                                                                      STILLWATER           OK      74074
STEVE M BAYS & HAROLD W BAYS JT                                      7500 E 35TH ST                                                                         RIPLEY               OK      74062-6287
STEVE MCCORD TTEE                                                    1689 LONG RIDGE TRL                                                                    HIAWASSEE            GA      30546
STEVE MOORMAN                                                        10704 S WASHINGTON                                                                     PERKINS              OK      74059-4079
STEVE PITTENGER                                                      205 ROCK CREEK RD                                                                      YUKON                OK      73099
STEVE POTTER                                                         PO BOX 5938                                                                            ENID                 OK      73702
STEVE PRALLE                                                         506 S COLGATE ST                                                                       PERRYTON             TX      79070
STEVE RITTER                                                         1718 W MCMURTY RD                                                                      STILLWATER           OK      74075
                                                                                                                   9211 Lake Hefner
Steve Schwinn                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                  c/o Laminack, Pirtle & Martines,
Steve Schwinn                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Steve Schwinn                                                        10829 E. 27th St                                                                       Tulsa                OK      74129
STEVE SEDBROOK                                                       904 SILVER FALLS RD                                                                    LONGVIEW             TX      75604
STEVE SITTON                                                         24 PALOMINO RD                                                                         NOVATO               CA      94947
STEVE TAYLOR                                                         8184 W COUNTRY RD. 69                                                                  MUHALL               OK      73063
STEVE W NIX                                                          1427 S EVANSTON AVE                                                                    TULSA                OK      74104-4821
STEVE WATTS                                                          2230 IRON WOOD CT                                                                      DERBY                KS      67037
STEVE WILSEY                                                         8604 LAKEAIRE DR                                                                       OKLAHOMA CITY        OK      73132-4926

STEVE WILSON                                                         265 W 4650 S                                                                           WASHINGTON TERRACE   UT      84405

STEVE WILSON                                                         265 W 650 S                                                                            WASHINGTON TERRACE   UT      84405-5736
STEVE WOOD                                                           406 LEE DR                                                                             KEARNEY              MO      64060
                                                                                                                   9211 Lake Hefner
Steve Kelley                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                  c/o Laminack, Pirtle & Martines,
Steve Kelley                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Steve Kelley                                                         18971 N Oakwind Dr                                                                     Choctaw              OK      73020
                                                                                                                   9211 Lake Hefner
Steve Perkins                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                  c/o Laminack, Pirtle & Martines,
Steve Perkins                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Steve Perkins                                                        11501 N. Michael Rd                                                                    Jones                OK      73049
STEVECO TRUST                                                        PO BOX 26                                                                              CHELSEA              OK      74016
                                                                                                                   9211 Lake Hefner
Steven Frick                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                  c/o Laminack, Pirtle & Martines,
Steven Frick                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Steven Frick                                                         3009 Sait Fergus Circle                                                                Edmond               OK      73034
STEVEN & DENISE CLARY TRUST                                          2301 SW 122ND STREET                                                                   OKLAHOMA CITY        OK      73170
STEVEN AND JANICE ALTLAND                                            1013 S. DEVONSHIRE ROAD                                                                YORKTOWN             IN      47396-9649
STEVEN ARNETT                                                        5221 BUTTE ROAD                                                                        EDMOND               OK      73003
STEVEN AYERS                                                         3209 HACKBERRY ROAD                                                                    OKLAHOMA CITY        OK      73120
STEVEN BALKMAN                                                       1505 NE IRIS ST                                                                        ISSAQUAH             WA      98029
STEVEN BARKER                                                        509 WEST BENTON ST                                                                     CARROLLTON           MO      64633
STEVEN BARNES                                                        PO BOX 505                                                                             MIDLAND              TX      79702
STEVEN BEIER                                                         2556 CHAPEL HILL RD                                                                    BARTLESVILLE         OK      74006
STEVEN BONDS                                                         315 OSEL                                                                               MORRISON             OK      73061
STEVEN BOONE                                                         9701 N BROADWAY EXTENSION                                                              OKLAHOMA CITY        OK      73114
STEVEN BREEDEN                                                       780805 S 3400 RD                                                                       TRYON                OK      74875
STEVEN BRISCO                                                        PO BOX 968                                                                             STILLWATER           OK      74076
STEVEN BUCHANAN                                                      8720 SW 105TH ST.                                                                      OKLAHOMA CITY        OK      73173-7729
                                                                                                                   9211 Lake Hefner
Steven C. Frick                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City        OK      73120
                                  c/o Laminack, Pirtle & Martines,
Steven C. Frick                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston              TX      77006
Steven C. Frick                                                      3009 Saint Fergus Circle                                                               Edmond               OK      73034


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STEVEN CALAVAN                                                           5376 FM RD 2285                                                                        SULPHUR SPRINGS   TX      75482
STEVEN CARMACK                                                           3424 HIGH ST                                                                           RIVERBANK         CA      95367
STEVEN CARTER                                                            4701 BELMAR CT                                                                         EDMOND            OK      73025
STEVEN CLARK                                                             3007 NW 63RD ST STE 205                                                                OKLAHOMA CITY     OK      73116
STEVEN COBB                                                              316 N BAILEY AVE                                                                       FT WORTH          TX      76107
STEVEN COCKRELL                                                          1007 NW 2ND AVE                                                                        BATTLE GROUND     WA      98604
STEVEN CONNER                                                            207 FAIRWAY DR                                                                         PERKINS           OK      74059
STEVEN D JORNS                                                           5423 NEOLA DR                                                                          DALLAS            TX      75209
                                                                                                                       9211 Lake Hefner
Steven Davis                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Steven Davis                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
STEVEN DAVIS                                                             3316 OXBOW                                                                             AMARILLO          TX      79106
Steven Davis                                                             501 E. 17th St                                                                         Sand Springs      OK      74063
STEVEN DOBBS                                                             3301 N RANGE RD                                                                        STILLWATER        OK      74074-0955
STEVEN DRAKE                                                             200 KISIWA PKWY                                                                        HUTCHINSON        KS      67502
STEVEN DUANE STUBBLEFIELD                                                2057 MAYFAIR DR W                                                                      FRESNO            CA      93703-2310
                                                                                                                       9211 Lake Hefner
Steven E. Wyant                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Steven E. Wyant                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Steven E. Wyant                                                          723 Barta Ave.                                                                         Prague            OK      74864
STEVEN EELLS                                                             7130 ANDERSON LN                                                                       MARSING           ID      83639
STEVEN ELLIS BLEVINS                                                     10568 W HWY 74C ST                                                                     CRESCENT          OK      73028
STEVEN ENGELKEN                                                          5450 MEADOW CT                                                                         DUBUQUE           IA      52002
STEVEN FERNANDES                                                         5 BRIEANN DR                                                                           MERRIMACK         NH      03054
STEVEN FOERSTER                                                          3124 ROLLING STONE ROAD                                                                OKLAHOMA CITY     OK      73120
STEVEN FOWLER                                                            3651 HILLTOP RD                                                                        EDMOND            OK      73034
STEVEN FRANCIS                                                           PO Box 675770                                                                          RANCHO SANTA FE   CA      92067
STEVEN FRENTHWAY                                                         233 N M 37 HWY                                                                         HASTINGS          MI      49058-9741
STEVEN GAMELSON                                                          12970 ORANGEBURG AVE                                                                   SAN DIEGO         CA      92129-3520
STEVEN GARNER                                                            PO BOX 127                                                                             SHAWNEE           OK      74802-0127
STEVEN GREEN                                                             8005 TRADITION OAK                                                                     BOERNE            TX      78015
STEVEN GROVER                                                            28728 DARROW AVE                                                                       SANTA CLARITA     CA      91390
STEVEN H BUNCH LE LIFE ESTATE                                            18300 FRONTIER                                                                         PERRY             OK      73077
STEVEN HERRON                                                            PO BOX 3158                                                                            SHOW LOW          AZ      85902
STEVEN HOLT                                                              804 SILVERSMITH CR                                                                     LAKE MARY         FL      32746-4971
STEVEN J LANDERS JR                                                      133 PINE ROAD                                                                          CLINTON           AR      72031
STEVEN JEFFRIES                                                          6011 GASTON AVE APT 114                                                                DALLAS            TX      75214
STEVEN JOHNSON                                                           4015 STARDUST LN                                                                       TUTTLE            OK      73089-4609
STEVEN JONES                                                             34739 MERRILL RIDGE RD                                                                 GRAYSVILLE        OH      45734
STEVEN K & KATHERINE E THOMAS JT                                         1024 W KNAPP AVENUE                                                                    STILLWATER        OK      74075
STEVEN K THOMAS & SHANNON K HINER J                                      4121 E 6TH AVE                                                                         STILLWATER        OK      74074-6633
STEVEN KELSO                                                             936 45TH ST                                                                            SACRAMENTO        CA      95819
STEVEN KENTON CRAIG                                                      238 MAJOR ROAD                                                                         PIEDMONT          SC      29673
STEVEN KOBOS                                                             2604 S ST LOUIS AVE                                                                    TULSA             OK      74114
STEVEN KYZER                                                             3904 ARKANSAS HIGHWAY 294                                                              JACKSONVILLE      AR      73076

STEVEN L LOPATA TRUST                                                    5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX      75070
STEVEN L STONE                                                           13200 SW 29TH ST                                                                       YUKON             OK      73099-6302
STEVEN L THOMAS                                                          14130 N LAKE RD                                                                        MAGAZINE          AR      72943-9504
                                                                                                                       9211 Lake Hefner
Steven Langgin                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
Steven Langgin                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Steven Langgin                                                           5879 E. 21st Pl                                                                        Tulsa             OK      74114
STEVEN LARUE                                                             3001 SHERRYWOOD RD                                                                     EDMOND            OK      73034
STEVEN LARUE JR.                                                         311 W SOUTH STREET                                                                     GLENCOE           OK      74032



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STEVEN LAVAY CRAWLEY                                                5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY          TX      75070
STEVEN LEAMAN                                                       817 W BIRMINGHAM ST                                                                     BROKEN ARROW      OK      74011-3034
STEVEN LINDLEY                                                      2102 SCHULLE                                                                            AUSTIN            TX      78703
STEVEN LYNN DEAVER                                                  2411 3 68TH ST                                                                          STILLWATER        OK      74074
STEVEN M & VICKIE J FOUST JT                                        6609 E 92ND AVE                                                                         STILLWATER        OK      74074
STEVEN M STONE                                                      6220 WHISPERING GROVE                                                                   OKLAHOMA CITY     OK      73169
STEVEN MCKNIGHT                                                     1208 S INGALLS RD                                                                       STILLWATER        OK      74074-7407
STEVEN MICHAEL CANTRELL LVG TR                                      PO BOX 1608                                                                             ADA               OK      74821
STEVEN MILLER                                                       5003 S BRUSH CREEK RD                                                                   STILLWATER        OK      74074-8575
STEVEN MOHR                                                         9391 E WALNUT TREE CIR                                                                  TUCSON            AZ      85749-9390
                                                                                                                  9211 Lake Hefner
Steven Morgan                        c/o Atkins & Markoff           Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120

Steven Morgan                        c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                  5020 Montrose Blvd    9th Fl              Houston           TX      77006
Steven Morgan                                                           4700 Republic Dr                                                                    Oklahoma City     OK      73135
STEVEN NEUMEYER                                                         15 LEGEN CIR                                                                        DILION            CO      80435
STEVEN NIEHUS & HAROLDINE NIEHUS                                        14721 E WILLOW RD                                                                   ENID              OK      73701
STEVEN P TROUT                                                          5900 S LAKE FORREST DR STE 300                                                      MCKINNEY          TX      75070
STEVEN PAGE FISHER                                                      9671 OAK MEADOW LANE                                                                PIOLT POINT       TX      76258
STEVEN PATE                                                             224 N MANNING ST                                                                    STILLWATER        OK      74075-7900
STEVEN PAYNE                                                            13439 N BROADWAY EXT                                                                OKLAHOMA CITY     OK      73114
STEVEN PETERSEN                                                         17021 BIRDS EYE DR                                                                  PERRIS            CA      92570-7376
STEVEN POTTS                                                            1604 HARBOR DRIVE                                                                   N. MYRTLE BEACH   SC      29582
STEVEN R PARKS AND                                                      1213 WHITNEY COURT                                                                  STILLWATER        OK      74075
STEVEN R ZEMP & SHEILA ZEMP HWJT                                        22501 COUNTY RD 150                                                                 PERRY             OK      73077
STEVEN RALPH BAKER                                                      112 LANSBROOK RD                                                                    PONCA CITY        OK      74601
Steven Ray Snake                     c/o Allen Stewart, PC              Attn: Allen M Stewart                     325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Steven Ray Snake                     c/o Drummond Law, PLLC             Attn: Donald A Lepp                       1500 South Utica      Ste. 400            Tulsa             OK      74104
Steven Ray Snake                     c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                     747 3rd Ave                               New York          NY      10017
Steven Ray Snake                                                        1101 East Vine St                                                                   Cushing           OK      74023
STEVEN REDGATE                                                          PO BOX 197                                                                          WAYNOKA           OK      73860
STEVEN RITTER                                                           PO BOX 5                                                                            MULHALL           OK      73063
STEVEN ROBERTS                                                          1158 FOX RUN LANE                                                                   BLANCHARD         OK      73010
STEVEN ROBINSON                                                         2349 PLUMERIA PL                                                                    HONOLULU          HI      96822
STEVEN ROGERS                                                           410 CUMMINS ST                                                                      PINEVILLE         LA      71360
STEVEN ROTHER                                                           PO BOX 69                                                                           CASHION           OK      73016-0069
STEVEN RUSSELL HEWITT                                                   103 DEER LANE                                                                       PHILIPSBURG       MT      59858
STEVEN S. BRUMFIELD SUPP. NEEDS TR                                      624 S DENVER AVE., SUITE 202                                                        TULSA             OK      74119
STEVEN SCHROEDER                                                        1312 E 32ND ST                                                                      STILLWATER        OK      74074-7021
STEVEN SCHWANDT                                                         3106 S DIVISON                                                                      GUTHRIE           OK      73044
STEVEN SHADDOCK                                                         925 SAINT ANDREWS LN                                                                LOUISVILLE        CO      80027-9587
STEVEN SHIPPY                                                           RURAL ROUTE 1                                                                       BLUFFTON          AB      T0C 0M0      CANADA
STEVEN SHORT                                                            PO BOX 4                                                                            GREENVIEW         CA      96037-0004
STEVEN SHOUP                                                            1437 FREEMAN AVE NW                                                                 ALBUQUERQUE       NM      87107-3459
STEVEN SITTON                                                           21 WOODSIDE CT                                                                      SAN ANSELMO       CA      94960
STEVEN SMITH                                                            5226 RITCHIE AVE                                                                    ENID              OK      73703
STEVEN STALEY                                                           3350 SHASTA WAY                                                                     KLAMATH FALLS     OR      97603
STEVEN STANLEY                                                          2009 N BRUSH CREEK RD                                                               STILLWATER        OK      74075
STEVEN SVELAN                                                           101 DAWN PLACE                                                                      YORKTOWN          VA      23693
STEVEN SWISHER                                                          1210 POND VIEW LN                                                                   WHITE BEAR LAKE   MN      55110-4152
STEVEN T GARNER 20003 REV TRUST                                         5147 S HARVARD STE 110                                                              TULSA             OK      74315-3587
STEVEN TANNER BLACK                                                     1422 JANE CIRCLE                                                                    PIEDMONT          OK      73078
STEVEN V REDGATE                                                        PO BOX 197                                                                          WAYNOKA           OK      73860-0197
STEVEN VIERTHALER                                                       90359 SE 140TH AVE                                                                  ISABEL            KS      67065
STEVEN WALTMAN                                                          1661 WILSON AVE                                                                     HARRIS            IA      51345
STEVEN WAYNE JEANS                                                      4215 80TH ROAD                                                                      THAYER            KS      66776
STEVEN WOODS                                                            PO BOX 1587                                                                         MIAMI             OK      74355-1587
STEVEN YATES                                                            PO BOX 581613                                                                       TULSA             OK      74158-1613


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                                                                                                                       9211 Lake Hefner
Steven Spiegel                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Steven Spiegel                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Steven Spiegel                                                           7903 Cardinal Ridge Dr                                                                 Edmond           OK      73034
STEVENS TRUCKING                                                         PO BOX 2407                                                                            ELK CITY         OK      73648-2407
STEVENSON REV TR DTD 6-25-2007                                           PO BOX 135                                                                             WATONGA          OK      73772
STEVE'S BACKFLOW TESTING                                                 160 FAIRFIELD DR                                                                       NEW CONCORD      OH      43762-9682
STEVES CRESS FAMILY PRTNRSHP LLC                                         5685 LARUE STEINER RD                                                                  THEODORE         AL      36582
STEVES TRANSPORTS LLC                                                    37127 E COUNTY RD 1617                                                                 PAULS VALLEY     OK      73075
STEVIE HANSEN                                                            2331 WHITE CHAPEL WAY, APT WA                                                          PORTERVILLE      CA      93257
                                                                                                                       9211 Lake Hefner
Stevie Johnson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Stevie Johnson                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Stevie Johnson                                                           10521 E Wilshire Blvd                                                                  Spencer          OK      73084
STEWART GEOLOGICAL INC                                                   2650 OVERLAND AVE                                                                      BILLINGS         MT      59102
STEWART STONE INC                                                        PO BOX 179                                                                             PAWNEE           OK      74058
STIDHAM GRANDCHILDRENS TRUST                                             PO Box 678055                                                                          DALLAS           TX      75267-8055
STILLS TRUST                                                             11600 WILSHIRE AVE NE                                                                  ALBUQUERQUE      NM      87122
STILLWATER BROADCASTING LLC                                              PO BOX 4584                                                                            SPRINGFIELD      MO      65808-4584
STILLWATER CHAMBER OF COMMERCE                                           409 S MAIN ST                                                                          STILLWATER       OK      74074-3524
STILLWATER COMMUNITY HOUSING LP                                          1401 S MAIN ST                                                                         STILLWATER       OK      74074
STILLWATER DOMESTIC VIOLENCE SERVIC                                      3800 NORTH WASHINGTON                                                                  STILLWATER       OK      74075
STILLWATER HABITAT FOR HUMANITY                                          PO BOX 912                                                                             STILLWATER       OK      74074
STILLWATER MEDICAL CENTER AUTHORITY                                      1323 W 6TH AVE                                                                         STILLWATER       OK      74074-4306

STILLWATER MEDICAL CENTER FOUNDATIO                                      PO BOX 2408                                                                            STILLWATER       OK      74076
STILLWATER NATIONAL BANK                                                 PO BOX 1988                                                                            STILLWATER       OK      74076-1988
STILLWATER NEWSPRESS                                                     PO BOX 2288                                                                            STILLWATER       OK      74076-2288
STILLWATER S.A.F.E                                                       525 W 26TH AVENUE                                                                      STILLWATER       OK      74074
STILLWATER SAND & GRAVEL CO                                              PO BOX 2204                                                                            STILLWATER       OK      74076
STILLWATER STEEL & SUPPLY LLC                                            PO BOX 1926                                                                            STILLWATER       OK      75076
STILLWATER WINLECTRIC CO                                                 813 S PERKINS RD STE B                                                                 STILLWATER       OK      74074-4724
STIMULATION PUMPING SERVICES                                             PO BOX 758                                                                             BLACKWELL        OK      74631
STINNETT & ASSOCIATES LLC                                                8801 S YALE AVE STE 330                                                                TULSA            OK      74137-3536
Stock, Jayson                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK      73116
STOCKBRIDGE CONSULTING INC                                               PO BOX 5974                                                                            EDMOND           OK      73083-5974
STOEL RIVES LLP                                                          900 SW 5TH AVE STE 2600                                                                PORTLAND         OR      97204-1229
STONE ARROW LTD                                                          PO BOX 8554                                                                            ROBINSON         IL      62454
STONE CREEK OPERATING, LLC                                               6301 WATERFORD BLVD. STE 115                                                           OKLAHOMA CITY    OK      73118
STONE DIAMOND - SELECT I LP                                              1543 GREEN OAK PL #100                                                                 KINGWOOD         TX      77339
STONE DIAMOND - SELECT II LP                                             1543 GREEN OAK PL #100                                                                 KINGWOOD         TX      77339
STONE DIAMOND OIL & GAS LLC                                              1543 GREEN OAK PLACE #100                                                              KINGWOOD         TX      77339
STONE OAK ENERGY LLC                                                     10900 HEFNER POINTE DR STE 202                                                         OKLAHOMA CITY    OK      73120
STONEBRIDGE ACQUISITION INC                                              PO BOX 843250                                                                          KANSAS CITY      MO      64184-3250
STONEBRIDGE PARTNERS II LLC                                              4815 S HARVARD AVE STE 450                                                             TULSA            OK      74135-3078
STONEHILL RESOURCES LLC                                                  6204 WATERFORD BLVD, #37                                                               OKLAHOMA CITY    OK      73118
STONER ENGINEERING LLC                                                   1010 TENTH ST STE 104                                                                  GOLDEN           CO      80401
STONEWALL OIL & GAS LLC                                                  PO BOX 20827                                                                           OKLAHOMA CITY    OK      73156
STONEY ENTERLINE                                                         11101 COYOTE CIRCLE                                                                    ARCADIA          OK      73007
STONEYCREEK ENERGY LLC                                                   2724 SEVIER ST                                                                         DURHAM           NC      27705
Stormy Hopson                         c/o Edward L White PC              Attn: Kerry D Green & Edward L White          829 E 33rd St                            Edmond           OK      73013
                                      c/o Maples, Nix & Diesselhorst
Stormy Hopson                         PLLC                               Attn: Ray Maples                              15401 N. May Ave                         Edmond           OK      73103
Stormy Hopson                         c/o Munson & McMillin              Attn: April B Eberle                          247 N Broadway                           Edmond           OK      73034
Stormy Hopson                                                            16 Limousin Ln                                                                         Shawnee          OK      74084
STORMY KNIGHT                                                            6430 NW 42ND                                                                           WARR ACRES       OK      73122
STORY FAMILY REV LIVING TRUST                                            3866 PARADISE BAY DRIVE                                                                GULF BREEZE      FL      32563


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               CreditorName                CreditorNoticeName                 Address1                         Address2        Address3              City   State       Zip       Country
STOWERS LEGACY WEALTH TRUST DATED
JANUAR                                                          121 W TAHOE DR                                                            CORDELL           OK      73632-4844
STOYAN NEDELTCHEV                                               PO BOX 701112                                                             TULSA             OK      74170-1112
STRAIGHT FORK OIL & GAS LLC                                     35824 STATE ROUTE 26                                                      GRAYSVILLE        OH      45734
STRASBURGER & PRICE LLP                                         PO BOX 50100                                                              DALLAS            TX      75250-0100
STRATA MINERALS INC                                             PO BOX 21055                                                              OKLAHOMA CITY     OK      73156
STRATA PETROLEUM INC                                            39097 GREENBRIER RD                                                       NEW MATAMORAS     OH      45767
STRATEGIC SOLUTIONS GROUP INC                                   8516 E 101ST ST STE B                                                     TULSA             OK      74133
STRATFOR ENTERPRISES LLC                                        221 W 6TH ST 4TH FL                                                       AUSTIN            TX      78701-3426
STRAUSS MINERAL TRUST AGRMT DTD 3-3                             PO BOX 1588                                                               TULSA             OK      74101-1588
STREAM FAMILY LP                                                PO BOX 40                                                                 LAKE CHARLES      LA      70602
STREAM FAMILY TRUST LLC                                         PO BOX 40                                                                 LAKE CHARLES      LA      70602
STREETER SPEAKMAN                                               1502 E LINCOLN AVE                                                        SUPULPA           OK      74066
STRIDER FAMILY LIFETIME REV TRST                                6316 BLUE STEM WEST ROAD                                                  OKLAHOMA CITY     OK      73162
STRIKE AND CONQUER LLC                                          8700 CROWNHILL BLVD STE 407                                               SAN ANTONIO       TX      78209
STRIKER LAND SERVICES LLC                                       6801 BROADWAY EXT STE 310                                                 OKLAHOMA CITY     OK      73116-9037
STRIKER LAND SERVICES NORTHEASTERN                              6801 BROADWAY EXT STE 310                                                 OKLAHOMA CITY     OK      73116-9037
STRINGUP SPECIALIST INC                                         PO BOX 366                                                                ALEX              OK      73002
STRIVE OILFIELD SERVICES LLC                                    PO BOX 238                                                                SEARCY            AR      72145
STRONG 40 INC                                                   128 ST ANDREWS STREET                                                     ROCKPORT          TX      78382
STRONG OIL & GAS LTD                                            801 CHERRY STREET UNIT 30                                                 FT WORTH          TX      76102
STRONG SERVICES LP                                              PO BOX 10148                                                              LONGVIEW          TX      75608
STRONG TESTAMENTARY TRUST                                       1515 W WADE                                                               EL RENO           OK      73036
STROUBE ENERGY CORPORATION                                      18208 PRESTON RD STE D-9249                                               DALLAS            TX      75252-6007
STROUBE TRUST JOINT VENTURE                                     PO BOX 730                                                                CORSICANA         TX      75151
STUART BLAKENEY                                                 142 BRIARWOOD                                                             IRVINE            CA      92604-3751
STUART DAVID VAN ORDEN                                          1022 PECAN LAKE CT                                                        STILLWATER        OK      74074
STUART ENERGY HOLDINGS, LLC                                     14587 N 83RD STREET                                                       LONGMONT          CO      80503
STUART M BERRY                                                  16670 E 123RD ST N                                                        COLLINSVILLE      OK      74021
STUART MAVROS                                                   RT 1 BOX 12-4                                                             ORLANDO           OK      73073
STUART MILSTEN                                                  145 BEECHWOOD RD                                                          SUMMIT            NJ      07901-2004
STUART MOON                                                     317 EAST UNIVERSITY                                                       WAXAHACHIE        TX      75165
STUART NELSON TRUST                                             110 RIDGE RD                                                              KERRVILLE         TX      78028
STUART SHIPPY                                                   RURAL ROUTE 1                                                             BLUFFTON          AB      T0C 0M0      CANADA
STUART STREET INVESTORS I LP                                    501 N UNIVERSITY AVE SUITE 101                                            LITTLE ROCK       AR      72205-2994

STUBENBORD SISTERS REVOCABLE TRUST                              PO BOX 840738                                                             DALLAS            TX      75284-0308
STUCKY FAMILY TRUST                                             152 LIVE OAK CIR                                                          MILLBROOK         AL      36054
                                      EULONDA F STUFFLEBEAM
STUFFLEBEAM PROPERTIES LLC            MOON, MANAGER                                                                                       CUSHING           OK      74023-5688
STUFFLEBEAM PROPERTIES LLC                                      5605 W GRANDSTAFF                                                         CUSHING           OK      74023-5688
STUM CONSULTING LLC                                             8331 GREEN PASTURE                                                        GUTHRIE           OK      73044-7371
SUANNE MCBROOM                                                  680 QUAIL RIDGE RD                                                        ALEDO             TX      76008
SUASH SHARMA                                                    609 SPRING CREEK LANE                                                     MARTINEZ          GA      30907
SUBHASH SHARMA                                                  5929 MCFARLAND DR                                                         PLANO             TX      75093
SUBMERSIBLE PUMPS INC                                           1800 S LITTLE AVENUE                                                      CUSHING           OK      74023-4854
                                                                8000 RESEARCH FOREST DR STE 115-
SUBSEA ENGINEERING                                              122                                                                       THE WOODLANDS     TX      77382
Suddenlink (B2B Dept 1264)            ATTN: DBB Program         5110 80th Street                                                          Lubbock           TX      79424
SUDDENLINK (B2B DEPT 1264)                                      PO BOX 121264                                                             DALLAS            TX      75312-1264
SUE ABERNATHY ESTATE DECD                                       11625 S LUTHER RD                                                         NEWALLA           OK      74857
SUE ANDREWS                                                     2201 S WESTERN RD                                                         STILLWATER        OK      74074-6837
SUE ANDREWS                                                     2201 SOUTH WESTERN AVENUE                                                 STILLWATER        OK      74074
SUE ANN WALLS TRUST                                             319 WILLIE BEAR LANE                                                      NEWCASTLE         OK      73065
SUE ANN YOUNG                                                   203 SAM BASS RD                                                           WILLOW PARK       TX      76087-7874
SUE BALL                                                        2911 SOUTH UNION RD                                                       STILLWATER        OK      74074-8463
SUE BRITTAIN                                                    3405 N GLENOAKS DR                                                        MIDWEST CITY      OK      73110-1301

SUE CHESNUT FKA CAROLYN SUE MEFFORD                             PO BOX 155                                                                AGRA              OK      74824-0155


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                                                                                                                     Creditor Matrix


                 CreditorName                               CreditorNoticeName                        Address1                              Address2                  Address3              City   State     Zip       Country
SUE CROWE                                                                               1990 BALLS HILL RD                                                                       NEBO              KY    42441
Sue Damron, individually and as Trustee of the Sue
Damron Revocable Trust                               c/o Allen Stewart, PC              Attn: Allen M Stewart                          325 N Saint Paul St   Ste. 4000           Dallas            TX    75070
Sue Damron, individually and as Trustee of the Sue
Damron Revocable Trust                               c/o Drummond Law, PLLC             Attn: Donald A Lepp                            1500 South Utica      Ste. 400            Tulsa             OK    74104
Sue Damron, individually and as Trustee of the Sue
Damron Revocable Trust                               c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                          747 3rd Ave                               New York          NY    10017
Sue Damron, individually and as Trustee of the Sue
Damron Revocable Trust                                                                  PO Box 312                                                                               Fairfax           OK    74637
SUE DANIELS                                                                             608 FAIRWAY AVE, UNIT 405                                                                VICTORIA          BC    V9B 2R5      CANADA
Sue Denton                                           c/o Allen Stewart, PC              Attn: Allen M Stewart                          325 N Saint Paul St   Ste. 4000           Dallas            TX    75070
Sue Denton                                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                            1500 South Utica      Ste. 400            Tulsa             OK    74104
Sue Denton                                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                          747 3rd Ave                               New York          NY    10017
Sue Denton                                                                              1812 North McKinley Ave                                                                  Sand Springs      OK    74063
SUE GRICE                                                                               PO BOX 532                                                                               MOORELAND         OK    73852
SUE HALEY                                                                               4400 BELMONT PARK TER APT 238                                                            NASHVILLE         TN    37215-3668
SUE HARRIS                                                                              1901 NE 137TH ST                                                                         SEATTLE           WA    98125
SUE JIMMY & PETE A PARTNERSHIP                                                          200 BELLE MEADE CIR                                                                      EUFALA            OK    74432
SUE L LEADER                                                                            717 S AGRA RD                                                                            CUSHING           OK    74023-6125
                                                                                                                                       9211 Lake Hefner
Sue L. Oravetz                                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins    Parkway               Ste. 104            Oklahoma City     OK    73120
                                                     c/o Laminack, Pirtle & Martines,
Sue L. Oravetz                                       LLP                                Attn: Richard N Laminack                       5020 Montrose Blvd    9th Fl              Houston           TX    77006
Sue L. Oravetz                                                                          5801 Hefner Village Ct                                                                   Oklahoma City     OK    73162
SUE M BROOKS TRUST                                                                      PO BOX 300481                                                                            HOUSTON           TX    77230
SUE NEWBERRY                                                                            962 TARENTO DR                                                                           SAN DIEGO         CA    92106-2828
SUE NUCKOLS BROWN                                                                       518 PARK CENTER AVE                                                                      NASHVILLE         TN    37205
SUE POLK                                                                                1422 W ELM ST                                                                            DURANT            OK    74701-3455
SUE PUTMAN                                                                              18234 BEAVERDELL                                                                         TOMBALL           TX    77377
SUE ROBINS                                                                              PO BOX 2054                                                                              MUSKOGEE          OK    74402-2054
SUE SMITH-MCCULLERS                                                                     309 CRESTVIEW LANE                                                                       HIDEAWAY          TX    75771
SUE TODD                                                                                207 N MAIN ST                                                                            SAND SPRINGS      OK    74063
SUE TURNER HALL                                                                         9047 E 35TH AVE                                                                          DENVER            CO    80238-3415
SUE WALLER                                                                              204 N BURROW ST                                                                          GROESBECK         TX    76642
SUE WILLIAMS                                                                            1445 E MAIN                                                                              CUSHING           OK    74023

SUGARBERRY OIL & GAS CORPORATION                                                        5950 CEDAR SPRINGS ROAD, SUITE 245                                                       DALLAS            TX    75235-6803
SULLIVAN & COMPANY LLC                                                                  2100 S UTICA AVE SUITE 210-A                                                             TULSA             OK    74114-1445

SULLIVAN & CROMWELL LLP                              ATTN: TREASURY DEPT/RM 2021                                                                                                 NEW YORK          NY    10004-2428
SULLIVAN FAMILY TRUST DTD 5-23-2017                                                     14701 SE 134 ST                                                                          NEWALLA           OK    74857
Sullivan, Joe                                        c/o White Star Petroleum, LLC      301 NW 63rd St                                 Ste 600                                   Oklahoma City     OK    73116
SULLIVANT FAMILY REVOCABLE TRUST A                                                      200 COUNTRY BROOK DR #2122                                                               KELLER            TX    76248
SUMMA ENGINEERING INC                                                                   101 PARK AVENUE, SUITE 490                                                               OKLAHOMA CITY     OK    73120
SUMMER HARMAN TREJO                                                                     616 WAVERLY LN                                                                           COPPELL           TX    75019
SUMMER L MCGAHA                                                                         402 N BUXTON                                                                             VICI              OK    73859
SUMMER NELL DAVIS                                                                       3000 PERSIMMON CREEK DR                                                                  EDMOND            OK    73013
SUMMER R BEEKLY                                                                         9422 GLENSHOE                                                                            ROWLETT           TX    75089
SUMMERS FAMILY TRUST                                                                    1415 S MANSFIELD DR                                                                      STILLWATER        OK    74074
SUMMER-UHLES LLC                                                                        PO BOX 330263                                                                            TULSA             OK    74133
SUMMIT CASING EQUIPMENT                                                                 PO BOX 207050                                                                            DALLAS            TX    75320-7050
                                                     John Kenner, Chief Executive
Summit Esp LLC                                       Officer and President              835 West 41st Street South                                                               Tulsa             OK    74107
SUMMIT ESP LLC                                                                          PO BOX 301341                                                                            DALLAS            TX    75303-1341
SUMMIT LAYDOWN SERVICES INC                                                             PO BOX 34300                                                                             FORT WORTH        TX    76162
SUMMIT MAILING & SHIPPING SYSTEMS I                                                     500 ENTERPRISE DR                                                                        EDMOND            OK    73013-3670
SUMMIT PARTNERS MNGMT CO.                                                               222 BERKELEY STREET, 18TH FLR                                                            BOSTON            MA    02116
SUMMIT RESOURCES MGMT LLC                                                               PO BOX 6092                                                                              EDMOND            OK    73083-0692
SUMMIT TRUST                                                                            PO BOX 70                                                                                FAIRVIEW          OK    73737-0070


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SUMNER COUNTY CLERK                                                     501 N WASHINGTON AVE, RM 103                                                   WELLINGTON           KS       67152
SUMNER COUNTY TREASURER                                                 PO BOX 190                                                                     WELLINGTON           KS       67152
Sumner County Treasurer                                                 501 N. Washington Ave.                                                         Wellington           KS       67152
SUN COAST RESOURCES INC                                                 PO BOX 202603                                                                  DALLAS               TX       75320-2603
SUN DEVIL LAND LLC                                                      PO BOX 3290                                                                    COEUR D ALENE        ID       83816
SUNBELT OILFIELD SUPPLY INC                                             PO BOX 82488                                                                   OKLAHOMA CITY        OK       73148
SUNBURST ROYALTY LLC                                                    PO Box 42227                                                                   OKLAHOMA CITY        OK       73123
SUNDANCE (PPA)                                                          PO BOX 13360                                                                   OKLAHOMA CITY        OK       73113
SUNDANCE ENERGY                                                         633 17TH ST STE 1950                                                           DENVER               CO       80202-3620
SUNDANCE ENERGY CO                                                      126 BREWER LANE                                                                PERRYVILLE           MO       63775-7429
SUNDANCE ENERGY INC                                                     633 17TH ST STE 1950                                                           DENVER               CO       80202
SUNDANCE ENERGY OKLAHOMA LLC                                            633 17TH ST STE 1950                                                           DENVER               CO       80202-3620
SUNDOWN ENERGY LP                                                       DEPT 41318                                                                     DALLAS               TX       75265
SUNDOWN EXPLORATION COMPANY                                             17 N CALIBOGUE CAY RD                                                          HILTON HEAD ISLAND   SC       29928-2913
SUNFLOWER ROYALTIES LLC                                                 1720 SOUTH BELLAIRE ST 1209                                                    DENVER               CO       80222-4336
SUNGARD KIODEX LLC                                                      13635 COLLECTIONS CENTER DR                                                    CHICAGO              IL       60693-0136

SUNLIFE ASSURANCE COMPANY OF CANADA                                     ONE SUNLIFE EXECUTIVE PARK                                                     WELLESLEY HILLS      MA       02481
SUNMORE OKLAHOMA PARTNERS LLC                                           5129 SUNMORE CIR STE 101                                                       MIDLAND              TX       79707-5126
SUNNY SLOPE MINERALS LLC                                                317 NW 155TH ST                                                                EDMOND               OK       73013-2104
SUNOCO INC                                                              PO BOX 5090                                                                    SUGAR LAND           TX       77487-5090

SUNOCO PARTNERS MARKETING & TERMINA                                     PO BOX 5095                                                                    SUGAR LAND           TX       77487-5095
SUNRISE EXPLORATION AND PRODUCTION                                      30 NASSAU DRIVE                                                                METAIRIE             LA       70005
SUNRISE OILFIELD SUPPLY INC                                             PO BOX 3423                                                                    WICHITA              KS       67201-3423
SUNSET CONSULTING INC                                                   4813 CORBETT DR                                                                NORMAN               OK       73072-3709
SUNWAVE LAND LLC                                                        768 MEMORIAL MEWS STE A                                                        HOUSTON              TX       77079
SUPER HEATERS, LLC                                                      PO BOX 421328                                                                  HOUSTON              TX       77242
SUPERIOR CASING LLC                                                     PO Box 138                                                                     Great Bend           KS       67530
SUPERIOR ENERGY SERVICES LLC                                            PO BOX 122203                                                                  DALLAS               TX       75312-2203
SUPERIOR FABRICATION                                                    PO BOX 429                                                                     ELK CITY             OK       73648
SUPERIOR FENCE CONSTRUCTION INC                                         PO BOX 892928                                                                  OKLAHOMA CITY        OK       73189
SUPERIOR OIL & GAS CO                                                   844 S WALBAUM RD                                                               CALUMET              OK       73014
SUPERIOR OILFIELD CONSULTING LLC                                        PO BOX 160                                                                     ELK CITY             OK       73648-0160
SUPERIOR PIPELINE COMPANY LLC                                           7130 S LEWIS AVE STE 510                                                       TULSA                OK       74136-5487
                                      c/o Doerner Saunders Daniel &
Superior Pipeline Company, LLC        Anderson LLP                      Attn: Michael J English                     105 N Hudson Ave   Ste. 1000       Oklahoma City        OK       73102

Superior Pipeline Company, LLC        c/o Mulinix Goerke & Meyer, PLLC Attn: Russell L Mulinix                      210 Park Ave       Ste. 3030       Oklahoma City        OK       73102
Superior Pipeline Company, LLC                                         PO Box 702500                                                                   Tulsa                OK       74170

SUPERIOR SPOOLING & ENERGY SERVICES                                     PO BOX 264                                                                     PURCELL              OK       73080
SUPERIOR THREADED PRODUCTS LP                                           9405 E SAM HOUSTON PKWY N                                                      HOUSTON              TX       77044-1859
SUPERIOR TRUCKING SERVICE INC                                           PO BOX 140                                                                     SAYER                OK       73662
SURGE ENERGY TECHNOLOGIES LC                                            5521 NW 128TH ST                                                               OKLAHOMA CITY        OK       73142
SURGE WELL SERVICE                                                      PO BOX 721                                                                     HENNESSEY            OK       73742-0721
SURGE WELL SERVICE INC                                                  PO BOX 721                                                                     Hennessey            OK       73742

SURVIVORS TRUST FBO MAURINE TAUBMAN                                     PO BOX 1588                                                                    TULSA                OK       74101-1588
SUSAN ALSPACH                                                           1313 GATEWOOD DR                                                               DENTON               TX       76205
SUSAN AND JOHN ROLIN WIFE AND                                           28 LA CROSSE DRIVE                                                             MORGAN HILL          CA       95037
SUSAN ANDERSON                                                          104 SUNSET CIRCLE                                                              ELK CITY             OK       73644-1631
SUSAN ARNOLD                                                            1809 CHAPARRAL LN                                                              EDMOND               OK       73013
SUSAN ARNOLD                                                            6060 WRIGLEY WY                                                                FORT WORTH           TX       76133
SUSAN BAILEY                                                            6906 ROUNDROCK RD                                                              DALLAS               TX       75248-5143
SUSAN BARKER                                                            1408 38TH ST                                                                   WICHITA FALLS        TX       76305
SUSAN BAUM                                                              4907 BRAEBURN DR                                                               BELLAIRE             TX       77401
SUSAN BEAVERS                                                           4801 RIPLEY RD                                                                 GLENCOE              OK       74032
SUSAN BEGGS                                                             10025 OBSIDIAN DR                                                              DENTON               TX       76207


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SUSAN BLAKE                                                      10 TOWHEE LN                                                                           HARWICH PORT    MA      02646-1333
SUSAN BOYCE                                                      1524 W LIBERTY AVE                                                                     STILLWATER      OK      74075-2006
SUSAN BRIMMER                                                    149 SENECA CT                                                                          WALESKA         GA      30183
SUSAN BRISCO                                                     8020 LEONA ST                                                                          PHILADELPHIA    PA      19136
SUSAN BROTHERTON                                                 125 COUNTY ROAD 2266                                                                   HARTMAN         AR      72840-8946
SUSAN BROWNE                                                     149 W STATE ST APT B                                                                   HASTINGS        MI      49058
SUSAN BUCKINGHAM                                                 767 COUNTY STREET 2935                                                                 TUTTLE          OK      73089
                                                                                                               9211 Lake Hefner
Susan C Nicholson             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                              c/o Laminack, Pirtle & Martines,
Susan C Nicholson             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Susan C Nicholson                                                3619 S. 31st West Ave                                                                  Tulsa           OK      74107
SUSAN CASPER                                                     580 B N KALAHEO AVE                                                                    KAILUA          HI      96734
SUSAN CLARKSON                                                   803 N MILL ST                                                                          SPRINGDALE      AR      72764-1323
SUSAN COLLEEN GOSS                                               1409 WILD PLUM CT                                                                      EDMOND          OK      73025
                                                                                                               9211 Lake Hefner
Susan Cook                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                              c/o Laminack, Pirtle & Martines,
Susan Cook                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Susan Cook                                                       2121 S. Terwilleger Blvd                                                               Tulsa           OK      74114
SUSAN COOLEN                                                     251 E WEBB STREET                                                                      HAMMOND         IN      46320-2301
SUSAN CRANE                                                      33 S EASY STREET                                                                       EDMOND          OK      73012
SUSAN DAVIS                                                      1053 W EMMA AVE APT 232                                                                COEUR D ALENE   ID      83814-1503
SUSAN DAVISON                                                    PO BOX 1594                                                                            GUTHRIE         OK      73044
SUSAN DELATORRE                                                  PO BOX 815101                                                                          DALLAS          TX      75381
SUSAN DEROSSETTE                                                 13090 STONEBRIDGE WAY                                                                  GRASS VALLEY    CA      95945-7605
SUSAN DICKINSON                                                  PO BOX 592378                                                                          SAN ANTONIO     TX      78259
SUSAN DOMORSKI                                                   3721 VERA CRUZ LN                                                                      ORLANDO         FL      32812-6625
SUSAN DOOLIN                                                     PO BOX 271                                                                             COYLE           OK      73027-0271
SUSAN DUNN                                                       1319 TORREYS PEAK DR                                                                   LONGMONT        CO      80504
SUSAN E HEISS IRA                                                PO BOX 2680                                                                            CASPER          WY      82602
SUSAN E WOLFE                                                    PO BOX 4796                                                                            BUENA VISTA     CO      81211
                                                                                                               9211 Lake Hefner
Susan E. Dunn                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                              c/o Laminack, Pirtle & Martines,
Susan E. Dunn                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Susan E. Dunn                                                    4326 S. 29th West Ave                                                                  Tulsa           OK      74107
SUSAN EATON                                                      PO BOX 599                                                                             LOS ALAMOS      NM      87544-0599
SUSAN EDBERG                                                     2908 QUAIL RD                                                                          CHAMPMAN        KS      67431
SUSAN ELIZABETH CLANG LANE                                       918 S WEST OAKS                                                                        STILLWATER      OK      74074
SUSAN EMERSON DECEASED                                           4701 15TH AVE NE APT 106                                                               SEATTLE         WA      98105-4439
SUSAN EUSTICE                                                    6725 E 55TH ST                                                                         TULSA           OK      74145
SUSAN FONDREN                                                    8510 SAN LEANDRO                                                                       DALLAS          TX      75218
SUSAN FORT                                                       2842 BISCAYNE                                                                          PLANO           TX      75075
SUSAN FUNK                                                       3288 POWFOOT RDG                                                                       CINCINNATI      OH      45245
SUSAN GNIECH                                                     105 S ELM ST                                                                           CHELSEA         OK      74016
SUSAN GNIECH                                                     19001 E 390 RD                                                                         CHELSEA         OK      74016-3031
SUSAN GOUGH                                                      18951 FORD RD STE 20                                                                   PITT MEADOWS    BC      V3Y 2G5      CANADA
SUSAN GRANTZ                                                     PO BOX 267                                                                             COVINGTON       OK      73730
SUSAN HARMON                                                     14050 S 209 W AVE                                                                      KELLYVILLE      OK      74039
SUSAN HATTA                                                      172 CANTERBURY RD                                                                      ELYRIA          OH      44035
SUSAN HEISS SEP IRA                                              PO BOX 5383                                                                            DENVER          CO      80217
SUSAN HIGGANBOTHAM                                               4408 WEST KENT CIRCLE                                                                  BROKEN ARROW    OK      74011
SUSAN J MANCHESTER                                               1100 N SHARTEL AVE                                                                     OKLAHOMA CITY   OK      73103-2602
SUSAN JEFFERIES                                                  1378 ROBERT YOUNG RD                                                                   STARKSBORO      VT      05487-7157
SUSAN JENNINGS                                                   701 WAVERLY RD                                                                         MOUNTAIN HOME   AR      72653
SUSAN JEPSEN                                                     1775 WILLOW RD                                                                         SHELTON         NE      68876-2506
SUSAN JUDYCKI-REED                                               PO BOX 1716                                                                            CORTEZ          CO      81321-1716
SUSAN K & CURTIS G BOECKING                                      1712 DORCHESTER PLACE                                                                  OKLAHOMA CITY   OK      73120


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              CreditorName             CreditorNoticeName                         Address1                             Address2                 Address3            City      State       Zip      Country
SUSAN K SIMMONS AND                                                 1221 KATY COURT                                                                        STILLWATER         OK      74075
SUSAN KARG                                                          17411 NORTH 21ST PLACE                                                                 PHOENIX            AZ      85022
SUSAN KENSLOW                                                       922 S BLUE RIDGE ST                                                                    STILLWATER         OK      74074-1415
SUSAN KNIGHT HOWELL                                                 8124 N SANGRE RD                                                                       STILLWATER         OK      74075-0966
SUSAN L SULLIVAN REV LIV TRUST                                      4317 S BRADEN PL                                                                       TULSA              OK      74135
                                                                                                                  9211 Lake Hefner
Susan L. Hurtado                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                 c/o Laminack, Pirtle & Martines,
Susan L. Hurtado                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Susan L. Hurtado                                                    7200 Baron Oak Dr                                                                      Oklahoma City      OK      73150
                                                                                                                  9211 Lake Hefner
Susan L. Jones                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                 c/o Laminack, Pirtle & Martines,
Susan L. Jones                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Susan L. Jones                                                      1625 Hemingway Dr                                                                      Edmond             OK      73013
SUSAN LALIBERTA                                                     PO BOX 27                                                                              ENFIELD CENTER     NH      03749-0027
SUSAN LAMB GRIFFITH                                                 1510 BELMONT ST                                                                        JACKSON            MS      39202
SUSAN LAMPE                                                         2015 CREEKVIEW DR                                                                      COMMERCE           TX      75428
SUSAN LANG                                                          19 STODDARD RD                                                                         HANCOCK            NH      03449
SUSAN LEMASTER                                                      1058 TAMARISK RD                                                                       PALM SPRINGS       CA      92262
SUSAN LYNN BARNES                                                   8005 W LAKESHORE DRIVE                                                                 OKLAHOMA CITY      OK      73132
SUSAN M GINSBERG TRUST                                              5550 HARVEST HILL RD APT W303                                                          DALLAS             TX      75230-1625
SUSAN MACKEY                                                        9 S 45TH ST                                                                            VAN BUREN          AR      72956-5668
SUSAN MANCHESTER TRUSTEE                                            1100 N SHARTEL AVE                                                                     OKLAHOMA CITY      OK      73103
SUSAN MARGARET GRIGSBY                                              580 RIVER RD                                                                           GREENE             ME      04236-4103
SUSAN MATTHEWS CONSULTING LLC                                       1220 CAMBRIDGE DR                                                                      YUKON              OK      73099-3415
SUSAN MCCULLOUGH                                                    2504 S VICTOR ST UNIT A                                                                AURORA             CO      80014
SUSAN MCKEE                                                         2875 SKYLINE FALLS DR                                                                  SAND SPRINGS       OK      74063
SUSAN McNEIL                                                        44933 LONG VALLEY RD                                                                   TAYLOR             NE      68879
SUSAN METHVIN                                                       1108 COLUMBIA CT                                                                       EDMOND             OK      73003-6149
SUSAN MEYER                                                         2309 COVINTON LN                                                                       PLANO              TX      75023
SUSAN MOLLOY                                                        344701 E 750 ROAD                                                                      AGRA               OK      74824
SUSAN OCONNELL                                                      226 S WILTON PL                                                                        LOS ANGELES        CA      90004
SUSAN OLSON                                                         27400 INDIANA AVE                                                                      BAKER CITY         OR      97814
SUSAN ORR                                                           2524 CLOUGH AVE                                                                        HIGHLAND           IN      46322
SUSAN PARKER                                                        6220 HILLEGASS AVE                                                                     OAKLAND            CA      94618
SUSAN PARKS                                                         PO BOX 3656                                                                            ABILENE            TX      79604
SUSAN PIERSOL                                                       106 CARLTON DRIVE                                                                      CHADDS FORD        PA      19317
SUSAN POE                                                           11443 FERNSIDE DRIVE                                                                   MINT HILL          NC      28227-0332
SUSAN PRATER                                                        5615 E 32ND AVE                                                                        STILLWATER         OK      74074-6114
SUSAN REILLY                                                        833 SAWGRASS LN                                                                        NEW SMYRNA BEACH   FL      32168
SUSAN RICHARDSON                                                    1502 PRIMROSE LN                                                                       PERRY              OK      73077
SUSAN RODMAN                                                        4013 TIMBERLINE DRIVE                                                                  STILLWATER         OK      74074-9263
SUSAN RYCKMAN                                                       3150 HARRISON ST #319                                                                  KINGMAN            AZ      86401
SUSAN SENGER                                                        1701 W WETHERBEE RD #770119                                                            ORLANDO            FL      32877
SUSAN SKINNER                                                       49 MISSION DR                                                                          PETALUMA           CA      94952-5228
SUSAN SKINNER                                                       RR2 BOX 196B                                                                           STILLWATER         OK      74074
SUSAN SKINNER BROTHERTON                                            125 COUNTY ROAD 2266                                                                   HARTMAN            AR      72840-8946
SUSAN SMITH WILLIAMS MGMT TR                                        5404 EL CAMPO AVE                                                                      FORT WORTH         TX      76107
SUSAN SNOW                                                          16102 BRIDGEVIEW DR                                                                    ANCHORAGE          AK      99516-7527
SUSAN SOMERS                                                        5317 KETTLER AVE                                                                       LAKEWOOD           CA      90713
SUSAN SORRENTI                                                      74 MARMION RD                                                                          MELROSE            MA      02176-2929
SUSAN SOUTHERN                                                      890 VALLEY ROAD                                                                        GILLETTE           NJ      07933
SUSAN SPARKS                                                        PO BOX 713                                                                             MILAN              TN      38358-0713
SUSAN STANDLEY WARE                                                 246 STORER AVE                                                                         NEW ROCHELLE       NY      10801-3119
SUSAN STAPLETON                                                     5268 YOSEMITE                                                                          SAN BERNARDINO     CA      92407
SUSAN STEELE                                                        3314 W WASHINGTON ST                                                                   BROKEN ARROW       OK      74012-9061
SUSAN STEELE                                                        7413 NW 111TH ST                                                                       OKLAHOMA CITY      OK      73162-2756
SUSAN STEIGER THOMAS                                                549 MORRIS WAY                                                                         SACRAMENTO         CA      95864


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SUSAN STEVERSON                                                         205 SOUTHEAST 3RD                                                                      TUTTLE             OK       73089
SUSAN STROUBE-MOORE                                                     PO BOX 840738                                                                          DALLAS             TX       75284-0738
SUSAN TANNER CUMMINGS REV TRUST                                         4701 CONNECTICUT AVE NW APT207                                                         WASHINGTON         DC       20008
SUSAN TATUM                                                             901 STATE ROAD 77                                                                      CLOVIS             NM       88101
SUSAN TEEGARDEN                                                         2617 N COUNTY ROAD 500 W                                                               MIDDLETOWN         IN       47356-9433
SUSAN TUA BRIMMER                                                       149 SENECA CT                                                                          WELESKA            GA       30183
SUSAN TUCKER                                                            2600 PLANTATION DR                                                                     SALINA             KS       67401-7720
SUSAN UNTERBERG                                                         PO BOX 1588                                                                            TULSA              OK       74101-1588
SUSAN VOLLMER                                                           1239 3RD AVE                                                                           SAN FRANCISCO      CA       94122
SUSAN W NOBLE TRUST                                                     PO BOX 4514                                                                            SANTA ROSA         CA       95402
SUSAN WALTON                                                            12211 PAINTED BUNTING DRIVE                                                            AUSTIN             TX       78726
SUSAN WAMSGANSS                                                         PO BOX 1300                                                                            MCALLEN            TX       78505
SUSAN WEBB                                                              8012 MONTEVINA DR                                                                      SACRAMENTO         CA       95829
SUSAN WELLS                                                             2811 RAINTREE CIRCLE                                                                   NORMAN             OK       73072
SUSAN WESTBROOK                                                         6969 W YALE AVE #58                                                                    DENVER             CO       80227
SUSAN WILSON                                                            2745 UNICORN LN NW                                                                     WASHINGTON         DC       20015
                                                                                                                      9211 Lake Hefner
Susan Cox                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                     c/o Laminack, Pirtle & Martines,
Susan Cox                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Susan Cox                                                               870831 S. Schooley Lane                                                                Chandler           OK       74834
SUSANNA KAY LARSON                                                      PO BOX 35                                                                              CREEDE             CO       81130
                                                                                                                      9211 Lake Hefner
Susanne Varnell                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                     c/o Laminack, Pirtle & Martines,
Susanne Varnell                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Susanne Varnell                                                         406 E. 2nd St                                                                          Cushing            OK       74023
SUSANNE VOSS                                                            140 BUTTE DR                                                                           NEWCASTLE          WY       82701-3122
SUSIE ABNEY                                                             505 ROLLING MEADOW DRIVE                                                               NOBLE              OK       73068
SUSIE BLAKEY                                                            PO BOX 2112                                                                            COTTONWOOD         AZ       86326-2112
SUSIE M EDWARDS                                                         20248 HWY 213 #53                                                                      OREGON CITY        OR       97045
SUSIE MARSHALL                                                          9009 S JARDOT                                                                          PERKINS            OK       74059
                                                                                                                      9211 Lake Hefner
Susie Palazzo                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                     c/o Laminack, Pirtle & Martines,
Susie Palazzo                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Susie Palazzo                                                           2213 N Elwood Ave                                                                      Tulsa              OK       74106
SUSIE WILDE                                                             5012 CEDAR RIDGE PARK RD                                                               TEMPLE             TX       76502
SUSIE ZIEGLER                                                           8205 S INDIANA                                                                         OKLAHOMA CITY      OK       73159
SUSY COOPER                                                             47 SAGE RIVER CIRCLE                                                                   SACRAMENTO         CA       95831
SUTTEE ENERGY SERVICES, LLC                                             12239 S 18TH AVE E                                                                     JENKS              OK       74037
SUTTON FAMILY LLC                                                       809 CROOKED CREEK WAY                                                                  FORT COLLINS       CO       80525
SUTTON-WILLIAMS LP                                                      PO BOX 1209                                                                            ARDMORE            OK       73402
SUZANN L GRIMES                                                         6416 ANN ARBOR TERRACE                                                                 OKLAHOMA CITY      OK       73132-7701
SUZANNE ADAMS                                                           1758 EVENING ROCK CT                                                                   RENO               NV       89523
SUZANNE ALBERTS                                                         880 WILLIAMSBURG DR                                                                    TITUSVILLE         FL       32780-4937
SUZANNE BRADSHAW                                                        PO BOX 7294                                                                            LITTLE ROCK        AR       72217-7294
SUZANNE CARDIN                                                          720 N CROMER AVE                                                                       MARSHALL           OK       73056
SUZANNE CHAMBLESS                                                       586 HARLAN ST                                                                          GREENEVILLE        TN       37745
SUZANNE COLBERT                                                         1406 CRESTRIDGE DR                                                                     OCEANSIDE          CA       92054-5724
SUZANNE DOGGETT                                                         320 N CRAIG ST                                                                         MULHALL            OK       73063
SUZANNE E. LEHNHARDT TR                                                 814 EAGLE PASS                                                                         HEATH              TX       75032-5928
SUZANNE JOHNSON                                                         22280 LINDY TER                                                                        EDMOND             OK       73025
SUZANNE JOHNSON-GREENFIELD                                              2194 FREMONT DR                                                                        LAKE HAVASU CITY   AZ       86406
SUZANNE LABARTHE                                                        605 ALGREGG STREET                                                                     HOUSTON            TX       77008
SUZANNE LEE POWELL                                                      10214 RANCHO DRIVE                                                                     LOUISVILLE         KY       40272
SUZANNE LEGARE BREDER                                                   1259 E BISMARK ST                                                                      HERNANDO           FL       34442

SUZANNE LINDSAY BRADSHAW REV TRUST                                      PO BOX 7294                                                                            LITTLE ROCK        AR       72217-7294


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SUZANNE LORENZ                                                           416 LAIR LN                                                                            CANYON           TX    79015

SUZANNE M ROGERS REVOCABLE INTER VI                                      16408 OLD OLIVE WAY                                                                    EDMOND           OK    73013
SUZANNE MERRELL                                                          2139 E 20TH ST                                                                         TULSA            OK    74104-5609
SUZANNE OPERATING 2                                                      PO BOX 840738                                                                          DALLAS           TX    75284
SUZANNE STOUT                                                            1708 WILLOW RD                                                                         CARROLLTON       TX    75006
SUZANNE TARRANT                                                          1907 WINDHILL AVE                                                                      EDMOND           OK    73034
SUZANNE VALLA                                                            3205 BLOSSOM LN                                                                        ODESSA           TX    79762-6938
                                                                                                                       9211 Lake Hefner
Suzanne Leeviraphan                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Suzanne Leeviraphan                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Suzanne Leeviraphan                                                      2909 Hanover Dr                                                                        Norman           OK    73072
                                                                                                                       9211 Lake Hefner
Suzanne Morava                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Suzanne Morava                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Suzanne Morava                                                           2404 Elwood Dr                                                                         Edmond           OK    73013
                                                                                                                       9211 Lake Hefner
Suzanne Newman                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Suzanne Newman                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Suzanne Newman                                                           5707 NW 40                                                                             Oklahoma City    OK    73122
SUZETTE LONG                                                             5031 E DANA AVE                                                                        STOCKTON         CA    95215
SUZY LABRY                                                               1801 LAVACA ST APT 8C                                                                  AUSTIN           TX    78701

SVOBODA FAMILY 1997 REVOCABLE TRUST                                      13707 CROSSING WAY E                                                                   EDMOND           OK    73013
SW RESOURCES INC                                                         1007 MARY STREET                                                                       PARKERSBURG      WV    26101

SWANSTROM AND SANDRA S SMITH COTRUS                                      6249 N OAK AVE                                                                         TEMPLE CITY      CA    91780
Swarengin, Teri                       c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK    73116
SWEET BIT VENTURES LLC                                                   2250 N VERONA RD                                                                       MORRIS           IL    60450
SWIFT FAMILY LIVING TRUST                                                21530 RIO COLORADO                                                                     SAN ANTONIO      TX    78259
SWINDELL LIVING TRUST                                                    11580 MOUNTAIN TOP CIRCLE                                                              JONESTOWN        TX    78645
SWIRE OILFIELD SERVICES LLC                                              28420 HARDY TOLL ROAD                                                                  SPRING           TX    77373

SWORDS INTEREST LLC                                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX    75070
SWS RESOURCES LLC                                                        212 HANOVER DR                                                                         EDMOND           OK    73034-6662
SYBIL CURRY TESTAMENTARY TRUST                                           PO BOX 515                                                                             STEPHENS         AR    71764-0515
SYDNA STEELE                                                             56450 S 695 RD                                                                         COLCORD          OK    74338
SYDNEY CAMERON AND ASSOCIATES INC                                        355 COUNTY ROAD 1299                                                                   YANTIS           TX    75497-4743
SYDNEY LANE NEUMANN                                                      2637 S TERRACE AVE                                                                     YUMA             AZ    85365-1158
SYDNEY LLC                                                               804 CREEKWOOD DR                                                                       YUKON            OK    73099
SYDNEY SUE HILL                                                          12101 N MACARTHUR, BOX 426                                                             OKLAHOMA CITY    OK    73162
                                                                                                                       9211 Lake Hefner
Sydney Fuller                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Sydney Fuller                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Sydney Fuller                                                            8441 Dilip Drive                                                                       Guthrie          OK    73034
SYLVAH THOMAS                                                            1024 SW 96TH ST                                                                        OKLAHOMA CITY    OK    73139
SYLVAH THOMAS ESTATE                                                     20286 STREAM HOLLOW LAND                                                               TECUMSEH         OK    74873
SYLVAN JOSEPH CROMER                                                     3 GAREY DRIVE                                                                          CHAPPAQUA        NY    10514
SYLVAN RESOURCES COMPANY LLC                                             1743 E 71ST STREET                                                                     TULSA            OK    74136
SYLVANIA BEEMER                                                          537 PINON CREEK RD SE                                                                  ALBUQUERQUE      NM    87123
SYLVESTER BROOKS                                                         7317 LAURIE DR                                                                         FORT WORTH       TX    76112
                                                                                                                       9211 Lake Hefner
Sylvester Savage                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Sylvester Savage                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006


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Sylvester Savage                                                         2533 N. Main St                                                                        Tulsa              OK       74106
SYLVIA A FRAZIER                                                         25541 N 104TH DR                                                                       PEORIA             AZ       85383
SYLVIA BULLOCK RISNER                                                    1719 68TH ST                                                                           KEYSTONE           IA       52249-9671
SYLVIA CAROL NEUNDORF                                                    1606 CASA VIEW DR                                                                      KINGFISHER         OK       73750
SYLVIA HEINEY                                                            2329 W STATE HWY 76                                                                    ANDERSON           MO       64831
SYLVIA HOCTOR                                                            100 MADELINE CT                                                                        CORRALES           NM       87048
SYLVIA LAMBERT                                                           2711 RACHERIA CT                                                                       TULARE             CA       93274
SYLVIA LONG                                                              1023 INDIAN PIPE CIR                                                                   CARMEL             IN       46032
SYLVIA LONG                                                              2861 HIGHWAY 119                                                                       SALEM              MO       65560-6125
SYLVIA STOCKTON                                                          4617 SCOTTWOOD DRIVE                                                                   WACO               TX       76708
SYLVIA TRIMMIER                                                          4801 HOLIDAY LANE                                                                      N RICHLAND HILLS   TX       76180
SYLVIA WYATT ALLEN                                                       2633 HIGHLINE RD                                                                       CHEWELAH           WA       99109
                                                                                                                       9211 Lake Hefner
Sylvia Shirley                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Sylvia Shirley                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Sylvia Shirley                                                           9508 Mahler Pl                                                                         Oklahoma City      OK       73120
SYNERGY DATACOM SUPPLY INC                                               405 N CLASSEN BLVD                                                                     OKLAHOMA CITY      OK       73106
SYNERGY MINERALS LLC                                                     3201 NW 63RD                                                                           OKLAHOMA CITY      OK       73116
SYRL ORBACH                                                              540 NW 39TH ST                                                                         OKLAHOMA CITY      OK       73118
Syzemore, James                       c/o White Star Petroleum, LLC      510 S Main St                                                                          Leedey             OK       73654
T & L REAL ESTATE LLC                                                    780188 S 3480 RD                                                                       CUSHING            OK       74023
T HOWETH                                                                 1003 W LAKEVIEW DR                                                                     GUTHRIE            OK       73044
T J CROWLEY REV TRUST                                                    PO BOX 1662                                                                            ENID               OK       73702
T J GUTHRIE FAMILY TRUST NO O1                                           3328 STONE BROOK CT                                                                    OKLAHOMA CITY      OK       73120
T LYONS                                                                  1670 BILL MURDOCK RD                                                                   MARIETTA           GA       30062-5956
T MICHAEL & CAROLYN G EBERT HW                                           2206 STONE POINT                                                                       STILLWATER         OK       74074

T MICHAEL STANTON                                                        5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX       75070
T N V PRODUCTION LLC                                                     PO BOX 6071                                                                            EDMOND             OK       73083-6071
T R ENERGY LLC                                                           54 PATTI LYNN LN                                                                       HOUSTON            TX       77024-7120
T SIMEK                                                                  PO BOX 667                                                                             PRAGUE             OK       74864
T W LOFFLAND ESTATE                                                      PO BOX 121249                                                                          FORT WORTH         TX       76121-1249
T&E FLOW SERVICES LLC                                                    11860 S SOONER RD                                                                      EDMOND             OK       73034-8539
T.C. CRAIGHEAD & COMPANY                                                 PO BOX 576                                                                             ARDMORE            OK       73402-0576
T.S.I. OILFIELD SERVICES INC                                             PO BOX 86                                                                              Canadian           OK       74425
T-3 STRING UP LLC                                                        PO BOX 145                                                                             REYDON             OK       73660-0145
TAB PRODUCTS CO LLC                                                      605 4th ST                                                                             MAYVILLE           WI       53050
TABITHA DURAN                                                            501 W 15TH APT 16                                                                      EDMOND             OK       73013
TACKETT FAMILY REV TRUST DTD 6-23-8                                      1111 21ST ST STE A-112                                                                 GALVESTON          TX       77550
TAF HOLDINGS LLC                                                         PO BOX 1388                                                                            OKLAHOMA CITY      OK       73101
Taff, Shane                           c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK       74074
                                                                                                                       9211 Lake Hefner
Taffine D Price                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK       73120
                                      c/o Laminack, Pirtle & Martines,
Taffine D Price                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX       77006
Taffine D Price                                                          112 E. Ithica Pl S                                                                     Broken Arrow       OK       74012
TAG PETROLEUM INC                                                        PO BOX 1389                                                                            STILLWATER         OK       74076-1389
TALARA CAPITAL MANAGEMENT LLC                                            805 THIRD AVENUE, 20TH FLOOR                                                           NEW YORK           NY       10022
Talara Opportunities II, LP           Attention: David Young             120 West 45th Street                                                                   New York           NY       10036
TALBERT CARLEY                                                           3625 W COPPOLA AVE                                                                     VISALIA            CA       93277-5963
TALIAFERRO FAMILY MINERALS LLC                                           PO BOX 26746                                                                           SHAWNEE MISSION    KS       66225-6746
TALL OAK MIDCON LLC                                                      2575 KELLEY POINTE PKWY STE 340                                                        EDMOND             OK       73013
                                      c/o Fellers Snider Blankenship
Tall Oak Midstream LLC                Bailey & Tippens, PC               Attn: Warren F Bickford                       100 North Broadway   Ste. 1700           Oklahoma City      OK       73102

Tall Oak Midstream LLC                c/o Paul Hastings LLP              Attn: Samuel Cooper                           Chase Tower, 58th Fl 600 Travis St       Houston            TX       77002
Tall Oak Midstream LLC                                                   2575 Kelley Pointe Pkwy                       #340                                     Edmond             OK       73013
TALLEY FAM REV TR DTD 4/25/2018                                          23709 W. 881 STREET                                                                    LENAZA             KS       66227


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TALMAGE MARTIN                                                 530 NORTHSIDE DR APT B211                                                              CARROLLTON        GA    30117-1843
TALOGA AFTER PROM                                              PO BOX 158                                                                             TALOGA            OK    73667

TAMARA A SEYMOUR                                               5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX    75070
TAMARA ALEXANDER-JOHNSON                                       9885 GENEVA CREEK LANE                                                                 LITTLETON         CO    80125
TAMARA ATWOOD                                                  5242 FLOWER DR                                                                         ELKO              NV    89801
                                                                                                             9211 Lake Hefner
Tamara D. Coil              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                            c/o Laminack, Pirtle & Martines,
Tamara D. Coil              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Tamara D. Coil                                                 3560 W Simpson Rd                                                                      Edmond            OK    73034
TAMARA DAVIDSON                                                7402379 S 3490 RD                                                                      CUSHING           OK    74023
TAMARA HOUTCHENS                                               1324 E 6TH ST                                                                          CUSHING           OK    74023-4621
TAMARA KIBBLE                                                  187 BUNKER RD                                                                          ROTONDA WEST      FL    33947
TAMARA MCKEEVER                                                12301 W FORREST HILLS RD                                                               GUTHRIE           OK    73044
TAMARA PUTMAN                                                  36 HENRY ST                                                                            GREENVILLE        SC    29605
TAMARA SHATTUCK                                                1441 N ROCK RD UNIT 902                                                                WICHITA           KS    67206
TAMARA SHELTON                                                 9169 W CORY LN APT 1                                                                   BOISE             ID    83704
TAMARA SPYCHALSKI                                              10414 N ROSE                                                                           GLENCOE           OK    74032
TAMARA SUTPHIN                                                 2533 CHERRYVALE CT                                                                     HIGHLANDS RANCH   CO    80126
TAMARA THOMAS                                                  205 N OAKWOOD RD                                                                       ENID              OK    73703
TAMARA TRUMMER                                                 7012 CRYSTAL FALLS DRIVE                                                               PLANO             TX    75024
TAMARA VALENTINO                                               461 4TH AVENUE EAST N                                                                  KALISPELL         MT    59901-3777
TAMARA WEST                                                    RR 5 BOX 70                                                                            BUTLER            MO    64730
TAMBRA HALSTEAD                                                2814 SPA DR.                                                                           DEER PARK         TX    77536
TAMERA SUE ANTHIS                                              1816 COUNTY LOOP RD                                                                    SAGINAW           TX    76179
TAMERLANE DOWNING                                              4775 MONTGOMERY DR                                                                     SANTA ROSA        CA    94403
                                                                                                             9211 Lake Hefner
Tami L. Thompson            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                            c/o Laminack, Pirtle & Martines,
Tami L. Thompson            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Tami L. Thompson                                               3738 East 29th St                                                                      Tulsa             OK    74114
                                                                                                             9211 Lake Hefner
Tami Rundle                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                            c/o Laminack, Pirtle & Martines,
Tami Rundle                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Tami Rundle                                                    947 Holly Ct                                                                           Sand Springs      OK    74063
TAMI TRUITT                                                    16010 E MCELROY                                                                        YALE              OK    74085-6688
TAMI WILLIAMS NICHOLS                                          263 BROTNOV RD                                                                         STITES            ID    83552
TAMMERA CHOMIK                                                 9221 188 ST E                                                                          PUYALLUP          WA    98375
TAMMI EILEEN WALTON                                            8513 N.W. 68TH TERRACE                                                                 OKLAHOMA CITY     OK    73132
TAMMIE DAVIS                                                   916 S OSAGE AVENUE                                                                     BARTLESVILLE      OK    74136
TAMMIE SUTTON                                                  3519 WYNN CIR                                                                          EDMOND            OK    73013-4636
TAMMY ANDERS                                                   PO BOX 140472                                                                          BROKEN ARROW      OK    74014-0018
TAMMY ANNETTE PODSCHUM                                         1100 N. SHARTEL AVE                                                                    OKLAHOMA CITY     OK    73103
                                                                                                             9211 Lake Hefner
Tammy B. Dougherty          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                            c/o Laminack, Pirtle & Martines,
Tammy B. Dougherty          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Tammy B. Dougherty                                             1916 Kiamichi Rd                                                                       Norman            OK    73026
TAMMY CARLTON                                                  PO BOX 617                                                                             LINCOLN           AR    72744-0617
TAMMY DOWNEY FOWLER                                            1053 GWYN CIRCLE                                                                       OVIEDO            FL    32765
TAMMY FLOWER                                                   4731 S 27 W AVE                                                                        TULSA             OK    74107
TAMMY GUFFEY                                                   712 NORTH 7TH ST                                                                       PERRY             OK    73077
TAMMY HAHN                                                     4006 S HENDERSON ST                                                                    STILLWATER        OK    74074-7208
TAMMY HENRY                                                    8025 NW 134TH TERR                                                                     OKLAHOMA CITY     OK    73142
TAMMY LANE                                                     222 W 3RD ST                                                                           MOLALLA           OR    97038
TAMMY LEE THORN                                                619 D STREET                                                                           WASHOUGAL         WA    98671
TAMMY LISTEN                                                   PO BOX 3914                                                                            EDMOND            OK    73083


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TAMMY MCDANIEL                                                    402 N OKLAHOMA AVENUE                                                                  MARSHALL          OK      73056
TAMMY MESSIMER                                                    PO BOX 731                                                                             JAL               NM      88252-0731
TAMMY OWSLEY RYAN                                                 1905 ELM                                                                               MCKINLEYVILLE     CA      75519
TAMMY PARRISH                                                     10731 S 4070 RD                                                                        OOLOGAH           OK      74053
TAMMY RAINS                                                       PO BOX 400                                                                             NEDERLAND         TX      77627
TAMMY RASMUSSEN                                                   2924 NIMITZ BLVD                                                                       OKLAHOMA CITY     OK      73112
                                                                                                                9211 Lake Hefner
Tammy Sears                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
Tammy Sears                    c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA      90017
Tammy Sears                                                       803 Parkview Dr                                                                        Cushing           OK      74023
TAMMY SNIDER GOOD                                                 25105 WAYNE AVE                                                                        NORTH DINWIDDLE   VA      23803
                                                                                                                9211 Lake Hefner
Tammy Pelfrey                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                               c/o Laminack, Pirtle & Martines,
Tammy Pelfrey                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Tammy Pelfrey                                                     1305 Shelly Lane                                                                       Edmond            OK      73034
TAMRA BEIER                                                       2556 CHAPEL HILL RD                                                                    BARTLESVILLE      OK      74006
TAMRA WHALEN                                                      117 MONROE COURT                                                                       NORMAN            OK      73071
TANA BEZDICEK FRAIRE                                              616 KAW                                                                                PERRY             OK      73077
TANDEM LAND INC                                                   11512 RED ROCK RD                                                                      OKLAHOMA CITY     OK      73120-5343
TANGIER EXPLORATION LTD LLC                                       6915 E 67TH ST                                                                         TULSA             OK      74133
TANGLEWOOD MINERALS LLC                                           3129 NW 19TH ST                                                                        OKLAHOMA CITY     OK      73107
TANMAR RENTALS LLC                                                PO BOX 1376                                                                            EUNICE            LA      70535-1376
TANNER TEBOW                                                      5020 W 3RD AVE                                                                         STILLWATER        OK      74074-6797
TANNER VARGAS                                                     1803 LOMA LINDA ST                                                                     VERNON            TX      76384
TANNER WALLACE                                                    2733 NW 24TH ST                                                                        OKLAHOMA CITY     OK      73107-2217
TANNERS COLLISION CENTER LLC                                      24155 EAST 1030 ROAD                                                                   WEATHERFORD       OK      73096
TANOS ENERGY HOLDINGS II LLC                                      821 E SE LOOP 323 STE 400                                                              TYLER             TX      75701
TANYA BREWER                                                      263 ALLEMANIA DR                                                                       NEW BRAUNFELS     TX      78132-5185
TANYA HARM                                                        PO BOX 270334                                                                          FLOWER MOUND      TX      75027
TANYA LEWIS                                                       1616 FIR STREET                                                                        PAMPA             TX      79065
TAP PETROLEUM INC.                                                PO BOX 54                                                                              CLEVELAND         OK      74020
TAPSTONE ENERGY LLC                                               100 E MAIN STREET                                                                      OKLAHOMA CITY     OK      73101
TAPSTONE ENERGY LLC                                               100 E MAIN STREET                                                                      OKLAHOMA CITY     OK      73104
                                                                                                                9211 Lake Hefner
Tara Mitchell                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                               c/o Laminack, Pirtle & Martines,
Tara Mitchell                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Tara Mitchell                                                     713 NE 32nd St                                                                         Oklahoma City     OK      73105
                                                                                                                9211 Lake Hefner
Tara Tischauser                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                               c/o Laminack, Pirtle & Martines,
Tara Tischauser                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Tara Tischauser                                                   2000 N Sooner Rd                                                                       Guthrie           OK      73034
TARA BARKER                                                       12800 S WESTMINSTER                                                                    GUTHRIE           OK      73044
TARA BOYCE                                                        7550 NW 220TH ST                                                                       EDMOND            OK      73025-9639
TARA EWING                                                        2015 17TH STREET                                                                       MITCHELL          NE      69357
TARALEE KATHLEEN SMITH                                            378 PROMENADE ST W                                                                     MONTGOMERY        TX      77356
TAREN OWSLEY                                                      40977 OAKRIDGE DRIVE                                                                   THREE RIVERS      CA      93271
TARENA LEAH EAVES                                                 606 NW 5TH STREET                                                                      CHECOTAH          OK      74426
TARGA MIDSTREAM SERVICES LLC                                      1000 LOUISIANA ST STE 4300                                                             HOUSTON           TX      77002
TARI SMITH                                                        2208 W SCOTT LN                                                                        DUNCAN            OK      73533
TARIANN EPHGRAVE                                                  PO BOX 31                                                                              STILLWATER        OK      74076
Tarka Energy LLC               c/o Kelley Drye & Warren LLP       Attn: Michael C Lynch                         101 Park Ave                             New York          NY      10178
Tarka Energy LLC               c/o Kelley Drye & Warren LLP       Attn: Mark R Robeck                           3050 K St NW          Ste. 400           Washington        DC      20007
                                                                                                                CityPlex Towers, Ste.
Tarka Energy LLC               c/o Steidley & Neal PLLC           Attn: Charles Donald Neal Jr                  5300                  2448 E 81st St     Tulsa             OK      74137
TARKA ENERGY LLC                                                  PO BOX 190                                                                             DUNCAN            OK      73534
Tarka Energy LLC                                                  2 Riverway                                    Ste. 1100                                Houston           TX      77056


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TARPON JUMPER LLC                                                        10293 COCONUT ROAD                                                                     BONITA SPRINGS   FL    34135
                                                                                                                       9211 Lake Hefner
Tarry Boudreaux                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Tarry Boudreaux                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Tarry Boudreaux                                                          18000 SE 70th                                                                          Newalla          OK    74857
TARYN KEY                                                                2319 E LOCUST #106                                                                     CALDWELL         ID    83605
TAS ROYALTY COMPANY                                                      PO BOX 5279                                                                            AUSTIN           TX    78763-5279
TATIA CROW                                                               15301 W 16TH ST                                                                        SAND SPRINGS     OK    74063
TAUBMAN PARTNERSHIP                                                      PO BOX 226270                                                                          DALLAS           TX    75222
TAURUS CORPORATION                                                       PO BOX 1477                                                                            LITTLE ELM       TX    75068-1477
TAVANE RAGAN                                                             3931 ALPINE ASTER                                                                      SAN ANTONIO      TX    78259-2245
                                                                                                                       9211 Lake Hefner
Tawana Keller                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Tawana Keller                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Tawana Keller                                                            1318 N Cleveland                                                                       Cushing          OK    74023
TAWNDA HOPPER                                                            829 Blackland Rd.                                                                      Pawhuska         OK    74056
TAWNIA COCKRELL                                                          5215 GALACINO ST                                                                       SAN ANTONIO      TX    78247-1807
TAYLOR CROFT                                                             1924 SHILOH ST                                                                         STILLWATER       OK    74074-6311
TAYLOR FAMILY TRUST DTD 6-9-1995                                         1911 WEST MAINE                                                                        DRUMMOND         OK    73703
TAYLOR HARMON                                                            4016 S ROLLING OAKS DR                                                                 TULSA            OK    74107
TAYLOR MACENTIRE                                                         8600 NW 111TH ST                                                                       OKLAHOMA CITY    OK    73162-3004

TAYLOR MAYS WYNN AGENT EDDYE DREYER                                      4925 GREENVILLE AVE STE 900                                                            DALLAS           TX    75206
TAYLOR SWAB SERVICE LLC                                                  216 VALLEY MEADOW DR                                                                   DECATUR          TX    76234
TAYLOR TURNER                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK    73116
Taylor, Jason                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK    73116
TAYLOR-DWYER OK HOLDINGS LLC                                             PO BOX 8                                                                               JOPLIN           MO    64802
TBAR CAPITAL LLC                                                         4909 WHEELOCK DR                                                                       FORT WORTH       TX    76133
T-BAR OIL AND GAS, LTD                                                   PO Box 247                                                                             CRESTED BUTTE    CO    81224
TBL INVESTMENTS PARTNERSHIP                                              PO BOX 985                                                                             ST JOSEPH        MO    64502
TBO CATTLE COMPANY LLC                                                   4505 MOCKINGBIRD LN                                                                    MIDLAND          TX    79707
TBRP 2016, LLC                                                           PO Box 671099                                                                          DALLAS           TX    75367-1099
TBS FACTORING SERVICE LLC                                                PO BOX 248920                                                                          OKLAHOMA CITY    OK    73124
TCAS INC                                                                 PO BOX 938                                                                             CAMBRIDGE        OH    43725-0938
TCD EXPLORATION LLC                                                      211 N ROBINSON AVE                                                                     OKLAHOMA CITY    OK    73102-7109
TCTB MANAGEMENT GROUP LLC                                                303 W WALL STE 2300                                                                    MIDLAND          TX    79701
TCX CORPORATION                                                          1421 E 45TH ST                                                                         SHAWNEE          OK    74804
TD ASSETS LLC                                                            189 HIGHPOINT CIR                                                                      VALLEY VIEW      TX    76272-7305
TD BERRY INVESTMENT CO INC                                               PO BOX 518                                                                             STILLWATER       OK    74076-0518
TD CONSULTING                                                            909 SHORE DR                                                                           EDMOND           OK    73003
TD DIRECT INVESTING                                                      751 3rd ST SW                                                                          CALGARY          AB    T2P 4K8      CANADA
TDM RESOURCES LLC                                                        35283 HARTSHORN RIDGE RD                                                               GRAYSVILLE       OH    45734

TEACHERS' RETIREMENT SYSTEM OF OKLA                                      DEPARTMENT 960574                                                                      OKLAHOMA CITY    OK    73196-0574
TEAGUE REV TR DTD 12152003                                               9 SUMMER HILL DRIVE                                                                    GREENBRIER       AR    72058
TEAM OIL TOOLS LP                                                        PO BOX 204532                                                                          DALLAS           TX    75320-4532
TEAM SERAFINO INC                                                        PO BOX 1137                                                                            ROSWELL          NM    88202-1137

TEAM VENTI                                                               1779 WELLS BRANCH PKWY # 110B-372                                                      AUSTIN           TX    78728-7090
TEARLE STANTON                                                           1023 S 286TH PL                                                                        FEDERAL WAY      WA    98003
TECH INC                                                                 511 E HIGHWAY 33                                                                       PERKINS          OK    74059-4129
TECH MINERALS LLC                                                        PO BOX 591                                                                             WATONGA          OK    73772
TECH-LOCK INC                                                            PO BOX 18356                                                                           OKLAHOMA CITY    OK    73154-0356
TECHNICAL DRILLING SERVICES                                              205 NW 132ND ST                                                                        OKLAHOMA CITY    OK    73114-2305
TECHNICAL TOOLBOXES                                                      PO BOX 980550                                                                          HOUSTON          TX    77098-0550
TECNICS CONSULTING INC                                                   5177 RICHMOND AVE, STE 570                                                             HOUSTON          TX    77056
TED BASKETT                                                              13725 RD 28                                                                            DOLORES          CO    81323


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TED F HILL                                                               6305 LAMBEAU COURT                                                                     MCKINNEY        TX      75070-9562
TED FRY                                                                  2313 S WALNUT #89                                                                      STILLWATER      OK      74074
TED KALK                                                                 703 E 4TH ST                                                                           CHANDLER        OK      74834-2411
TED L JEROME TEST TRUST                                                  1607 BOULDER CREEK DR                                                                  STILLWATER      OK      74074
TED LESLIE DONLEY                                                        29725 SAINT BASIL STREET                                                               DAPHNE          AL      36526
TED POWER                                                                1165 TAHITI PKWY                                                                       SARASOTA        FL      34236-2425
TED R GARTEN LVG TR                                                      12569 HAZEL ST                                                                         BROOMFIELD      CO      80020
TED RALSTON                                                              15572 WIGEON WAY                                                                       WOODBRIDGE      VA      22191

TED RUSH GARRETT AND BECKY LOU GARR                                      819 EAST 9TH STREET                                                                    EDMOND          OK      73034-5408
TED SNOW                                                                 RR 1                                                                                   WESTVILLE       OK      74965
TEDDIE JAMES THOMAS & CAROLYN S                                          697 BOLIVAR DR                                                                         SAN JOSE        CA      95123
TEDDY GLEN FERRELL                                                       PO BOX 184                                                                             ELK CITY        OK      73648
TEDDY HAAS                                                               16121 HWY 72                                                                           ROLLA           MO      65401
TEDDY METCALF                                                            8315 E 86TH ST                                                                         PERKINS         OK      74059-3803
TEDDY STAFFORD                                                           41153 HAPPY WOODS ROAD                                                                 HAMMOND         LA      70403
TEDFORD A MCCARTY                                                        435 LANTANA MESA                                                                       SPRING BEACH    TX      78070
TEEL OSWALD                                                              4413 STEVEN DRIVE                                                                      EDMOND          OK      73013
TEEMCO LLC                                                               1600 EAST 19TH STREET BLDG 5                                                           EDMOND          OK      73013
TEIGUN GREENFIELD                                                        9009 W 9TH ST                                                                          RIPLEY          OK      74062-6383

TEJAS HOT SHOT SERVICE & TRANSPORTA                                      13808 W HWY 80 E                                                                       ODESSA          TX      79765
TELADOC INC                                                              PO BOX 123417                                                                          DALLAS          TX      75312-3417
TELEDRIFT COMPANY                                                        PO BOX 677496                                                                          DALLAS          TX      75267-7496
TELEPAGE COMMUNICATION SYSTEMS                                           2349B ST RT 821                                                                        MARIETTA        OH      45750
TELOGIS INC                                                              PO BOX 844183                                                                          LOS ANGELES     CA      90084-4183
TELVENT DTN LLC                                                          26385 NETWORK PLACE                                                                    CHICAGO         IL      60673-1263
TEMA OIL AND GAS COMPANY                                                 1 N CHARLES STREET SUITE 2200                                                          BALTIMORE       MD      21201
TEMPE PERREIRA                                                           128 NW 147TH ST                                                                        EDMOND          OK      73013-2456
TEMPLAR ENERGY LLC                                                       4700 GAILLARDIA PARKWAY STE 200                                                        OKLAHOMA CITY   OK      73142-1856
TEMPLETON ENERGY LLC                                                     500 S FRONT ST STE 1200                                                                COLUMBUS        OH      43215-7631
TENAL S COOLEY                                                           14300 PONY RD                                                                          OKLAHOMA CITY   OK      73134
TENASKA                                                                  14302 FNB PKWY                                                                         OMAHA           NE      68154-5212

Tennessee Dept of Treasury            Unclaimed Property Division        Andrew Jackson State Office Bldg 15th Floor 502 Deaderick St                           Nashville       TN      37243-0203
TE-RAY RESOURCES LLC                                                     13208 N MACARTHUR BLVD                                                                 OKLAHOMA CITY   OK      73142
TERCEL OILFIELD PRODUCTS USA LLC                                         PO BOX 733460                                                                          DALLAS          TX      75373-3460
                                                                                                                     9211 Lake Hefner
Terence A. Hayes                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins Parkway                Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Terence A. Hayes                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Terence A. Hayes                                                         3513 NW 20th St                                                                        Oklahoma City   OK      73107
Terence A. Hayes                                                         9920 Prosper Dr                                                                        Oklahoma City   OK      73151
                                                                                                                       9211 Lake Hefner
Teresa Villarreal                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Teresa Villarreal                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Teresa Villarreal                                                        10713 Turtlewood Dr                                                                    Oklahoma City   OK      73130
TERESA AEBI                                                              PO BOX 395                                                                             POND CREEK      OK      73766
TERESA ANN BARKER                                                        1505 FORT SUMTER CT                                                                    DUMFRIES        VA      22026
                                                                                                                       9211 Lake Hefner
Teresa Ann Irvin                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Teresa Ann Irvin                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Teresa Ann Irvin                                                         5208 Brookdale                                                                         Oklahoma City   OK      73135
TERESA AXTON                                                             123 N EDNA RD                                                                          STILLWATER      OK      74075
TERESA BALDWIN                                                           5484 E CR 69                                                                           MULHALL         OK      73063
TERESA D NORWOOD                                                         110 BENNER ROAD                                                                        SHEPHERD        TX      77371
TERESA D WARDELL                                                         521 W RAPAHO AVENUE                                                                    WEATHERFORD     OK      73096


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TERESA DECEASED                                                     21332 BULKHEAD CIR                                                                     HUNTINGTON BEACH   CA      92646
TERESA FISCHER                                                      16720 LITTLE LEAF LN                                                                   EDMOND             OK      73120
TERESA FREEMAN                                                      3 MARYVALE RD                                                                          BURLINGTON         MA      01803-2113
TERESA HARPER                                                       111 N SUMMIT ST                                                                        FAIRHOPE           AL      36532
TERESA HULSIZER                                                     1224 JARDOT RD                                                                         STILLWATER         OK      74075
TERESA J FREEMAN                                                    1805 COURTNEY LN                                                                       EDMOND             OK      73013-4313
TERESA JO GRANT                                                     PO BOX 1181                                                                            CLINTON            OK      73601
TERESA JUST                                                         10878 E MAPLEWOOD DR                                                                   ENGLEWOOD          CO      80111-5737
TERESA L GREEN                                                      12605 BANNOCKBURN                                                                      OKLAHOMA CITY      OK      73142
TERESA LYNNE KRIEG                                                  1413 E 4TH AVE                                                                         STILLWATER         OK      74074
TERESA MAYABB                                                       14038 GARD AV                                                                          NORWALK            CA      90650
TERESA MILLSAP                                                      PO BOX 419                                                                             KETCHUM            OK      74349

TERESA N HALL                                                       5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
TERESA PRICE SMITH                                                  9002 N 157TH E PL                                                                      OWASSO             OK      74055
TERESA RALPH                                                        14022 MARIELLAN RD SW                                                                  HUNTSVILLE         AL      35803
TERESA RAMIREZ                                                      15581 S MAPLE LANE RD                                                                  OREGON CITY        OR      97045
TERESA REDDOUT                                                      106 E 1ST ST                                                                           DOUGLASS           KS      67039-9319
TERESA ROPER                                                        1401 PINE CREEK RD                                                                     KNOXVILLE          TN      37932-2848
TERESA ROSE                                                         733 PLUMLEE RD                                                                         LANDRUM            SC      29356-9637
TERESA SCHOEPFIN                                                    1015 WILMOTH RD                                                                        IDABEL             OK      74745
TERESA SHAFFER                                                      7919 W GRANDSTAFF                                                                      RIPLEY             OK      74062-6344
TERESA SHELTON                                                      7008 ROYAL GLEN LN                                                                     BOISE              ID      83714
TERESA STAHL                                                        1907 RIDGECREST DR                                                                     PERRY              OK      73077
TERESA TANKERSLEY                                                   PO BOX 7507                                                                            MIDLAND            TX      79708-7507
TERESA TULLY                                                        1002 S PINE                                                                            STILLWATER         OK      74074
TERESA WESLEY                                                       1130 N WINTHROP CIR                                                                    MESA               AZ      85213
TERESA YODER                                                        909 E MAGNOLIA TERR                                                                    MUSTANG            OK      73064-4923
                                                                                                                  9211 Lake Hefner
Teresa Phillips                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                 c/o Laminack, Pirtle & Martines,
Teresa Phillips                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Teresa Phillips                                                     3802 Quail Dr                                                                          Oklahoma City      OK      73121
                                                                                                                  9211 Lake Hefner
Teresa Westmuckett               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                 c/o Laminack, Pirtle & Martines,
Teresa Westmuckett               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Teresa Westmuckett                                                  3352 N. Choctaw Rd                                                                     Choctaw            OK      73020
TERESSA SMITH GARRETT                                               1712 James                                                                             Sherman            TX      75090
TERI DEBORD                                                         PO BOX 784                                                                             PERRY              OK      73077
TERI HUNT                                                           309 E MAIN ST                                                                          RIPLEY             OK      74062-2005
TERI JANELLE NELSON                                                 3330 SARENE DR                                                                         MIDLOTHIAN         TX      76065
TERI JOHANNESMEYER                                                  RR 1 BOX 108                                                                           OKEENE             OK      73763-9701
TERI L BATY                                                         2548 RUE PALAFOX                                                                       BILOXI             MS      67042-8660
TERI OATES                                                          1327 W EAGLES NEST DR                                                                  LAKE CHARLES       LA      70611
TERI RENEE MERTENA-OAKES                                            1327 W EAGLES NEST DRIVE                                                               LAKE CHARLES       LA      70602
TERI ROUND                                                          11504 QUEENSBURY COURT                                                                 YUKON              OK      73099
TERI SWARENGIN                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
TERMINAL LAND COMPANY                                               4334 NW EXPRESSWAY STE 185                                                             OKLAHOMA CITY      OK      73116
                                                                                                                  9211 Lake Hefner
Terra L. Conlin                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                 c/o Laminack, Pirtle & Martines,
Terra L. Conlin                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Terra L. Conlin                                                     5300 Southbend Rd                                                                      Edmond             OK      73034
TERRA OILFIELD SERVICES LLC                                         15487 PIN OAK DRIVE                                                                    CONROE             TX      77384
TERRA ROSA ROYALTY CORPORATION                                      PO BOX 133155                                                                          SPRING             TX      77393-3155
TERRACO LLC                                                         101 PARK AVENUE SUITE 670                                                              OKLAHOMA CITY      OK      73102
TERRACON CONSULTANTS INC                                            PO BOX 959673                                                                          ST LOUIS           MO      63195-9673
TERRADOM CORPORATION                                                5447 QUARI ST                                                                          DENVER             CO      80239-3606


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TERRAL EICHELBERGER                                                   9203 N 103RD EAST PL                                                                    OWASSO          OK      74055-6983
TERRAMOPES LLC                                                        1930 HARRISON ST STE 302                                                                HOLLYWOOD       FL      33020
TERRANCE BURKHARDT                                                    940 CAPE MARCO DR UNIT 1701                                                             MARCO ISLAND    FL      34145-6634
TERRANE ASSOCIATES INC                                                PO BOX 202                                                                              GREENFIELD      NH      03047
TERRAQUEST CORP                                                       1015J WATERWOOD PKWY                                                                    EDMOND          OK      73034
TERRATEK INC                                                          PO BOX 732149                                                                           DALLAS          TX      75373-2149
TERRE VERTE COMPANY INC                                               PO BOX 90265                                                                            SAN DIEGO       CA      92169
TERRENCE HULET                                                        PO BOX 822                                                                              PERRY           OK      73077

TERRENCE KREUZ                                                        5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
TERRI BERGER                                                          3016 LONDONDERRY DR                                                                     MODESTO         CA      95350-1610
TERRI BOWSER HUGHES                                                   22092 E. 980 ROAD                                                                       ARAPAHO         OK      73620
TERRI DECLAIRMONT                                                     6002 TASAJILLO TRAIL                                                                    AUSTIN          TX      78739
TERRI ENGLISH                                                         535 WILLIAMSBURG AVE                                                                    CARTHAGE        TX      75633
TERRI ESTOPINAL GUATE                                                 1309 BAYOU ROAD                                                                         ST BERNARD      LA      70085
TERRI F MORSE                                                         11710 123RD NE                                                                          LAKE STEVENS    WA      95258
TERRI FULLER TRUST                                                    606 BARRY PLACE                                                                         ALTEDENA        CA      91001-2329
TERRI GRIFFIN                                                         2567 KEATS AVE                                                                          CLOVIS          CA      93611-5982
TERRI HENDRIX                                                         74107 S 340 RD                                                                          WAGONER         OK      74467
TERRI HINNEN                                                          156 SE 22ND                                                                             NEWCASTLE       OK      73065
TERRI J HAMMOND                                                       800 S KELLY AVE APT 138                                                                 EDMOND          OK      73003
TERRI JEAN HOLCOMB-LOUTHAN                                            11617 N 2000 RD                                                                         ELK CITY        OK      73644
TERRI JEAN LOUTHAN                                                    11617 N 2000 RD                                                                         ELK CITY        OK      73644
TERRI L MITCHELL                                                      2021 N HWY APT 230                                                                      DUNCAN          OK      73533
TERRI L VANLANDINGHAM                                                 1709 IRVINE DR                                                                          EDMOND          OK      73025
TERRI LYNN MYRICK FOSTER                                              750185 S HIGHWAY 99                                                                     CUSHING         OK      74023-6611
TERRI LYNN OGLE                                                       1400 SHERWOOD LANE                                                                      NICHOLS HILLS   OK      73116
TERRI MENSER                                                          3208 LYON BLVD                                                                          OKLAHOMA CITY   OK      73112
TERRI MICHELLE PRICHARD CALDWELL                                      2400 S POLK STREET APT 101                                                              AMARILLO        TX      79109-2800
TERRI MILLER                                                          33995 SUNNY HILL CIRCLE                                                                 BRISTOW         OK      74010
Terri Pilcher                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Terri Pilcher                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Terri Pilcher                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Terri Pilcher                                                         701 South 6th St                                                                        Fairfax         OK      74637
TERRI ROSS                                                            415 S ROSE AVE                                                                          GLENCOE         OK      74032
TERRI RUTH SMITH                                                      206 NAVY BLUE STREET                                                                    ENID            OK      73701
TERRI SCOTT                                                           2308 BERRYHILL CIR                                                                      EDMOND          OK      73034
TERRI SCOTT                                                           32538 194TH AVE SE                                                                      KENT            WA      98042
TERRI SIMS                                                            6506 SYCAMORE AVE                                                                       SEATTLE         WA      98117
                                                                                                                    9211 Lake Hefner
Terrie L. Masters                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Terrie L. Masters                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Terrie L. Masters                                                     622 E Oak                                                                               Cushing         OK      74023
TERRIE THOMAS                                                         2532 CASHION PLACE                                                                      OKLAHOMA CITY   OK      73112
TERRILL BROS CONSTRUCTION INC                                         4119 W DEER CROSSING DR                                                                 STILLWATER      OK      74074-2192
TERRITORIAL LAND COMPANY LLC                                          PO BOX 1074                                                                             GUTHRIE         OK      73044
Territory Resources LLC            c/o Crowe & Dunlevy                324 N Robinson Ave, Ste. 100                                                            Oklahoma City   OK      73102
                                                                                                                    711 South Husband
Territory Resources LLC            c/o Morgan Law Office PLLC         Attn: Trace Morgan                            St                                        Stillwater      OK      74074
Territory Resources LLC
Territory Resources LLC                                               1511 S Sangre Rd                                                                        Stillwater      OK      74074
TERRY & BRENDA HARMON HW                                              11601 DEER RIDGE                                                                        PERRY           OK      73077
TERRY A. CASEY                                                        14110 E. 23RD PLACE                                                                     TULSA           OK      74134
TERRY ADKISON                                                         PO BOX 394                                                                              RIPLEY          OK      74062-0394
TERRY AGNEW                                                           208 S BIRCH ST                                                                          BUTLER          MO      64730
TERRY ANN GURNEY                                                      1498 KILLARNEY CT UNIT B                                                                OCALA           FL      34472-9121
TERRY ANN MOGENSEN                                                    1311 7TH AVENUE                                                                         MANSON          IA      50563
TERRY ARMER ELLS                                                      2106 WOODLAWN ST                                                                        BAYTOWN         TX      77520


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TERRY AXTON                                                              123 N EDNA DR                                                                           STILLWATER       OK      74075
TERRY BLANCO                                                             1603 TEALCREST CT                                                                       KELLER           TX      76248
TERRY BOUNDS                                                             8112 N 41 RD                                                                            TRYON            OK      74875-7722
TERRY BOURLON                                                            2514 A DORA RD                                                                          VAN BUREN        AR      72956
TERRY BOYLE                                                              1900 LARA DR                                                                            SIERRA VISTA     AZ      85635
TERRY BOYLES                                                             7520 E ESECO RD                                                                         CUSHING          OK      74023
TERRY CASH                                                               1145 S WALNUT ST                                                                        PAULS VALLEY     OK      73075-5657
TERRY CLARK                                                              8101 W PECKHAM RD                                                                       NEWKIRK          OK      74647-7245
TERRY COLEMAN                                                            1212 S WILLIAMSFIELD DR                                                                 STILLWATER       OK      74074
TERRY COOPER                                                             1101 S THOMPSON AVE                                                                     CUSHING          OK      74023-5104
TERRY D JONES                                                            4080 ELDERBERRY ST                                                                      FORNEY           TX      75126
TERRY DALE WELCH                                                         PO BOX 67                                                                               GUTHRIE          OK      73044
TERRY DENISE ADKISON HW JT                                               PO BOX 394                                                                              RIPLEY           OK      74062-0394
TERRY DIXIE DOOLEY JT                                                    606 S. GREEN ACRES DRIVE                                                                YALE             OK      74085-6712
TERRY DOLL                                                               420 ROYAL LN                                                                            CANADIAN         OK      74425
TERRY DOUGLAS                                                            PO BOX 829                                                                              ELECTRA          TX      76360-0829
TERRY DUFF                                                               50 SEQUOYAH BLVD                                                                        SHAWNEE          OK      74801-5569
TERRY FRITTIS                                                            7224 SOUTH GAFFORD BLVD                                                                 BROKEN ARROW     OK      74014-2617
TERRY HERRMANN                                                           800214 S HIGHWAY 18                                                                     TYRN             OK      74875
TERRY HORTON                                                             1916 E 7090 SOUTH                                                                       SALT LAKE CITY   UT      84121

TERRY JANE TIDWELL WRIGHT NOW TERRY                                      108 EAST 5TH STREET, APT 216                                                            HAYS             KS      67601
TERRY JARVIS                                                             9911 S COTTONWOOD RD                                                                    PERKINS          OK      74059
TERRY KEITH                                                              20850 CR 150                                                                            PERRY            OK      73077
TERRY L GOODRICH                                                         PO BOX 676                                                                              WARSAW           MO      65355

TERRY L MATRAVERS                                                        5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY         TX      75070
TERRY L NIXON & TAMMY L NIXON                                            7101 W 44TH ST                                                                          STILLWATER       OK      74074-2594
TERRY L NIXON & TAMMY L NIXON JT                                         7101 W 44TH ST                                                                          STILLWATER       OK      74074-2594
TERRY LAHTI                                                              4001 SE 112TH ST                                                                        MOORE            OK      73160
TERRY LEBERMANN                                                          2829 NW 43RD                                                                            OKLAHOMA CITY    OK      73112
TERRY LEE HICKEY                                                         1708 S.W. 31ST TERRACE                                                                  MOORE            OK      73160
TERRY LONGAN                                                             14210 EASTONVILLE RD                                                                    ELBERT           CO      80106
TERRY LONGAN                                                             226 SANDPIPER DR                                                                        PORTLAND         TX      78374-4123
Terry McGee                           c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Terry McGee                           c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Terry McGee                           c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Terry McGee                                                              915 West Ute                                                                            Tulsa            OK      74127
TERRY MCINTYRE                                                           31 ORVILLE RD                                                                           SHAWNEE          OK      74801-2058
TERRY MUEGGENBORG                                                        1705 APACHE RD NW # 1                                                                   PIEDMONT         OK      73078-9383
TERRY N JACOB                                                            1004 E BROADWAY STREET                                                                  CUSHING          OK      74023
TERRY NEHRING                                                            7907 RAYTOWN RD                                                                         RAYTOWN          MO      64138-2104
TERRY NIEMEYER                                                           401 BRIDGE ROAD                                                                         TAYLORS          SC      29687
                                                                                                                       9211 Lake Hefner
Terry Phillips                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
Terry Phillips                        c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles      CA      90017
Terry Phillips                                                           1117 S Canyon Rd                                                                        Stillwater       OK      74074
TERRY R. NICHOLS, TRUSTEE                                                126 FAIRWAY DR.                                                                         ELK CITY         OK      73644
TERRY REINHARDT                                                          709 2ND ST                                                                              COVINGTON        OK      73730-1015
TERRY SCHROEDER                                                          21 BRENTWOOD DR                                                                         STILLWATER       OK      74075
TERRY SHIPPY                                                             6465 SE 4TH AVE                                                                         NEW PLYMOUTH     ID      83655
TERRY SPENCER                                                            6504 RANDALL                                                                            PARK CITY        KS      67219
                                                                                                                       9211 Lake Hefner
Terry Stricklin                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Terry Stricklin                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Terry Stricklin                                                          1130 E Broadway St                                                                      Cushing          OK      74023
TERRY STUDDARD                                                           5900 S LAKE FOREST DR STE 300                                                           MCKINNEY         TX      75070
TERRY SWART                                                              151 20000 RD                                                                            CHERRYVALE       KS      67335-8506


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TERRY TINKER                                                              2565 S BIRMINGHAM PLACE                                                                TULSA            OK    74114
TERRY WRIGHT                                                              PO BOX 74                                                                              MULHALL          OK    73063
                                                                                                                        9211 Lake Hefner
Terry Noel                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                       c/o Laminack, Pirtle & Martines,
Terry Noel                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Terry Noel                                                                8200 S. Lyman Rd                                                                       Oklahoma City    OK    73150
TERUKO HASHIMOTO                                                          26804 TROPICANA DR                                                                     MENIFEE          CA    92585-9094
TERVELA INC                                                               50 MILK STREET                                                                         BOSTON           MA    02109-5003
TESCO CORPORATION                                                         11330 BRITTMORE PARK DR                                                                HOUSTON          TX    77041
TESHA SUM                                                                 4212 S WESTERN                                                                         STILLWATER       OK    74074
TEST BA                                                                   5701 N SHARTEL AVE                                                                     OKLAHOMA CITY    OK    73118
TESTERMAN FAMILY TRUST OF 2014                                            3218 CENTRAL AVE                                                                       EUREKA           CA    95503
TESTERS INC                                                               PO BOX 83437                                                                           OKLAHOMA CITY    OK    73148-1347
TETON PROPERTIES LLC                                                      1437 S BOULDER AVE STE 1050                                                            TULSA            OK    74119-3639
TETRA ENERGY LLC                                                          PO BOX 10476                                                                           FORT SMITH       AR    72917-0476
TEX CON OIL & GAS COMPANY                                                 9401 SW FREEWAY STE 1200                                                               HOUSTON          TX    77074
TEXAS AUTOMATION SYSTEMS                                                  2812 S PIPELINE RD                                                                     EULESS           TX    76040-6635
Texas Capital                          Attn: Brad Kraus                   2000 McKinney Avenue                          Suite 700                                Dallas           TX    75201
TEXAS CAPITAL BANK NA                                                     2350 LAKESIDE BLVD STE 800                                                             RICHARDSON       TX    75082-4340
TEXAS CHRISTIAN UNIVERSITY                                                PO BOX 99417                                                                           FORT WORTH       TX    76199-0417

Texas Comptroller of Public Accounts   Unclaimed Property Claims Section PO Box 12046                                                                            Austin           TX    78711-2046
TEXAS PIPE & SUPPLY CO LTD                                               PO BOX 301052                                                                           DALLAS           TX    75303-1052
TEXAS STATE COMPTROLLER                                                  PO BOX 12608                                                                            AUSTIN           TX    78711-2019
TEXHOMA MINERALS COMPANY LLC                                             6703 ALPINE LN                                                                          AMARILLO         TX    79109-6839
TEXLA ENERGY MANAGEMENT INC                                              1100 LOUISIANA, SUITE 4700                                                              HOUSTON          TX    77002
TEXOMA PUMPING UNIT SERVICE INC                                          PO BOX 875                                                                              HEALDTON         OK    73438-0875
TEXOMA TRUCKING LLC                                                      PO BOX 7693                                                                             MOORE            OK    73153-1693
TEXOMA TRUST DTD 911983                                                  3432 SPRINGDALE ROAD                                                                    ARDMORE          OK    73401
TEXON OIL COMPANY INC                                                    PO BOX 50180                                                                            MIDLAND          TX    79705
TEX-STAR PRODUCTION INC                                                  PO Box 600577                                                                           DALLAS           TX    75360-0577
TFT HOLDINGS LLC                                                         PO BOX 459                                                                              TOMBALL          TX    77277
                                                                         4228 N CENTRAL EXPRESSSWAY STE
TG SOLUTIONS INC                                                         370                                                                                     DALLAS           TX    75206
TGM PROPERTIES INC                                                       PO BOX 546                                                                              SAND SPRINGS     OK    74063
TGS NOPEC GEOPHYSICAL COMPANY                                            10451 CLAY ROAD                                                                         HOUSTON          TX    77041
TGT LLC                                                                  407 W COVELL RD #30120                                                                  EDMOND           OK    73003
TH BILLY D FLUMAN TRUST                                                  PO BOX 262                                                                              WAUKOMIS         OK    73773
TH HOLDINGS LLC                                                          20163 E 720 RD                                                                          LEEDEY           OK    73654
THAD HAVEN BALKMAN                                                       3403 36TH AVE NE                                                                        NORMAN           OK    73026-7809
THAI Q VUONG                                                             11705 BLUE BELL AVE                                                                     OKLAHOMA CITY    OK    73162
THAMS FAMILY PARTNERSHIP LP                                              5575 W COUNTY RD 76                                                                     GUTHRIE          OK    73044-9522
THANE PRICHARD                                                           326 EUREKA CANYON ROAD                                                                  CORRALITOS       CA    95076-0241
THANYEL REYNOLDS                                                         797 CALICO TRAIL                                                                        VACAVILLE        CA    95687
                                                                                                                        9211 Lake Hefner
Thavadeck Srikoon                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                       c/o Laminack, Pirtle & Martines,
Thavadeck Srikoon                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Thavadeck Srikoon                                                         1416 Tanglewood Dr                                                                     Del City         OK    73115
THE 4 K EVANS FAMILY REVOCABLE TRUS                                       619 SPECK ST APARTMENT 108                                                             VICI             OK    73859
THE 5 COUNTIES LLC                                                        4880 S LEWIS AVE STE 200                                                               TULSA            OK    74105
THE AARON S BERRY OIL & GAS FAMILY                                        PO BOX 1588                                                                            TULSA            OK    74101
THE ABARR TRUST                                                           PO BOX 22084                                                                           OKLAHOMA CITY    OK    73123
THE ALLAN RAMSEY LIVING TRUST DTD 3                                       8405 NW 66TH ST                                                                        OKLAHOMA CITY    OK    73132-3952
THE ALLEN FAMILY REV TRUST                                                PO BOX 394                                                                             VICI             OK    73859

THE AMENDED AND RESTATED REVOCABLE                                        15 WEST 6TH STREET, STE.2301                                                           TULSA            OK    74119
THE ANTNONY F BLAIR REV TRUST                                             4625 WEST SADDLEHORN ROAD                                                              PHOENIX          AZ    85083


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THE ASSEMBLY OF GOD CHURCH OF TRYON                                PO BOX 57                                                                 TRYON           OK      74875
THE BANK NA                                                        PO BOX 1067                                                               MCALESTER       OK      74052-1067
THE BAPTIST FOUNDATION OF OKLAHOMA                                 PO BOX 840350                                                             DALLAS          TX      75284-0350
THE BAPTIST HOME                                                   PO BOX 87                                                                 IRONTON         MO      63650
THE BENNETT FAMILY REVOCABLE TRUST                                 153 W WARNER RD                                                           AKRON           OH      44319-1733
THE BENOMAR COMPANY                                                PO BOX 506                                                                WEST CHESTER    OH      45071
THE BENTLEY FAMILY REV TRUST                                       PO BOX 189                                                                PERKINS         OK      74059
THE BERRY OIL & GAS LLC                                            3213 "O" STREET NW                                                        WASHINGTON      DC      20007
THE BILLY WAYNE GORMAN FAMILY INVES                                11141 BLUE STEM BACK RD                                                   OKLAHOMA CITY   OK      73162-4919
THE BLANCO COMPANY PHILIP L. WHITE                                 PO BOX 25968                                                              ALBUQUERQUE     NM      87125
THE BODY SHOP GARAGE                                               518 MAIN STREET                                                           WOODWARD        OK      73801
THE BOSWORTH COMPANY LTD                                           2205 W INDUSTRIAL AVE                                                     MIDLAND         TX      79701-7741
THE BOWEN FAMLIY TRUST                                             920 SAND CREEK                                                            ENID            OK      73701
THE BREAKERS PALM BEACH INC                                        1 S COUNTY RD                                                             PALM BEACH      FL      33480-4023
THE BUFFALO COMPANY                                                301 NW 63RD ST                                                            OKLAHOMA CITY   OK      73116
THE CARTER INVESTMENT COMPANY                                      333 CLAY ST STE 3494                                                      HOUSTON         TX      77002-4184
THE CATHOLIC UNIV OF OK INC                                        5147 S HARVARD AVE STE 110                                                TULSA           OK      74135-3587
THE CAVINS CORPORATION                                             1800 BERING DRVE STE 825                                                  HOUSTON         TX      77057
THE CHRISTOPHER M MCCUTCHEN FAMILY                                 203 EAST 80TH                                                             STILLWATER      OK      74074
THE CHURCH OF THE NAZARENE INC                                     17001 PRAIRIE STAR PKWY                                                   LENEXA          KS      66220
THE CITY OF OKLAHOMA CITY                                          PO BOX 26570                                                              OKLAHOMA CITY   OK      73126-0570
THE CLARK TRUST DTD 04.12.01                                       1830 COVENTRY LANE                                                        NICHOLS HILLS   OK      73120
THE CLARY FAMILY IRREVOCBLE TRUST D                                900 SE 36TH STREET                                                        MOORE           OK      73160-7730
THE CLAUDIA & CLAIRE TRUST NO 1                                    2403 TECKLA BLVD                                                          AMARILLO        TX      79106
THE COACH HOUSE                                                    6437 AVONDALE DR                                                          NICHOLS HILLS   OK      73116-6403
THE COLORADO CORPORATION                                           30156 SNOWBIRD LANE                                                       EVERGREEN       CO      80439
THE COMPLIANCE RESOURCE GROUP INC                                  304 N MERIDIAN AVE STE D                                                  OKLAHOMA CITY   OK      73107-6535
THE COOPER FAMILY                                                  2300 RIVERSIDE DR 14 E                                                    TULSA           OK      74114
THE CRAIG G TIREY FAMILY LP                                        PO BOX 20093                                                              OKLAHOMA CITY   OK      73156-0093
THE CRUM LIVING TRUST                                              880119 SOUTH 3420 ROAD                                                    CHANDLER        OK      74834
THE D SHAH FLP                                                     2230 HIGH COUNTRY DR                                                      CARROLLTON      TX      75007
THE DALE MURPHY FAMILY TST                                         6515 N ROSE RD                                                            GLENCOE         OK      74032
THE DAVID PAUL TRUST                                               400 PINE STREET                                                           ABILENE         TX      79601
THE DAWSON LIVING TRUST 4/9/1999                                   1015 N MIDWEST BLVD                                                       GUTHRIE         OK      73044
THE DELBERT AND WANDA MEYER                                        8266 N 1990 RD                                                            LEEDY           OK      73654
THE DILLION WOODARD LIVING TRUST                                   1711 9TH AVE. NW                                                          ARDMORE         OK      73401-2316
THE DKL-JVM TRUST                                                  4045 NW 64TH ST STE 210                                                   OKLAHOMA CITY   OK      73116
THE DONALD E & DONNA J PERCEFUL REV
TRUS                                                               790549 S 3420 RD                                                          TRYON           OK      74875-7761
THE DONALD L AND SALLY F. LADEN LIV                                2810 E. 44th St.                                                          Tulsa           OK      74105

THE DOROTHY B MONNET TRUST UNDER AG                                1606 ELMHURST AVE                                                         OKLAHOMA CITY   OK      73120-1218
THE DUNHAM TRUST DTD MAY 10 2010                                   116 Ta Bi Drive                                                           Worland         WY      82401
THE ECONOMIC CLUB OF OKLAHOMA                                      PO BOX 1765                                                               OKLAHOMA CITY   OK      73101-1765
The Energy & Minerals Group           Attention: John T. Raymond   811 Main Street, Suite 4200                                               Houston         TX      77002
The Energy & Minerals Group           Attention: Laura L. Tyson    811 Main Street, Suite 4200                                               Houston         TX      77002
THE ENERGY & MINERALS GROUP FUND II                                2000 MCKINNEY AVE                                                         DALLAS          TX      75201-1954
THE ENERGY & MINERALS GROUP FUND II                                2000 MCKINNEY AVE STE 1250                                                DALLAS          TX      75201-1954
THE ESTATE OF EUGENE E STIPE                                       343 E CARL ALBERT PKWY                                                    MCALESTER       OK      74501-5043
THE ESTATE OF GA NICHOLS                                           6304 HARDEN DR                                                            OKLAHOMA CITY   OK      73118
THE ESTATE OF MORRIS CLARKSON                                      801 MILL ST                                                               SPRINGDALE      AR      72764-1323
THE ESTATE OF RALPH E PLOTNER                                      6217 WOODCREEK COURT                                                      OKLAHOMA CITY   OK      73122
THE EURETTA MARTIN 1989 TRUST                                      2605 ALTON AVENUE                                                         SANTA ROSA      CA      95401

THE EVANS COMPANY AN EXPRESS TRUST                                 117 SOONER DRIVE                                                          STROUD          OK      74079-2222
THE FERRELL FAMILY REVOCABLE TRUST                                 353 ARTEMESIA AVENUE                                                      VENTURA         CA      93001
THE FIVE COUNTIES LLC                                              4880 S LEWIS STE 200                                                      TULSA           OK      74105
THE FLEMING GROUP LLC                                              11799 SE 176TH PLACE RD                                                   SUMMERFIELD     FL      34491


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THE FRITCH FAMILY REV TRST                                       3125 ROSEWOOD LN                                                            OKLAHOMA CITY   OK    73120-5351
THE GARTMAN LETTER LC                                            PO BOX 6147                                                                 SUFFOLK         VA    23433-0147
THE GARTMAN MEDIA LC                                             PO BOX 6054                                                                 SUFFOLK         VA    23433-0147

THE GARY WENTE REVOCABLE TRUST DTD                               PO BOX 624                                                                  SAN SABA        TX    76877
THE GATCHELL 1990 REV TRUST                                      406 S BOULDER AVE STE 400                                                   TULSA           OK    74103

THE GENAVE KING ROGERS CHARITABLE T                              PO BOX 3627                                                                 TULSA           OK    74129-6663
THE GEORGE R BROWN PARTNERSHIP                                   1001 FANNIN ST, SUITE 4700                                                  HOUSTON         TX    77002-6798
THE GLEN NOTTINGHAM AND ESTHER                                   8807 SANGRE ROAD                                                            PERKINS         OK    74059
THE GOLD TRUST                                                   10558 OHIO AVE                                                              LOS ANGELES     CA    90024
THE GRAND LODGE OF OKLAHOMA                                      PO BOX 588                                                                  PERRY           OK    73077
THE GRISSO-SCHAFER FAMILY TRUST                                  2801 NW 57TH ST                                                             OKLAHOMA CITY   OK    73112
THE HALLEY 2003 IRREVOCABLE TRUST                                PO Box 947                                                                  LUBBOCK         TX    79408
THE HEDGES CONSOLIDATED TRUST                                    7701 E. FOX DRIVE                                                           ENID            OK    73701
THE HEFNER COMPANY INC                                           PO BOX 2177                                                                 OKLAHOMA CITY   OK    73101-2177
THE HEIRS SUCCESSORS & ASSIGNS                                   1719 N 29TH ST                                                              BROKEN ARROW    OK    74014-4970
THE HELEN B HUFFER REVOCABLE TRUST                               506 S PINE ST                                                               CRESCENT        OK    73028
THE HENNAGE FAMILY LLC                                           PO BOX 701584                                                               TULSA           OK    74170
THE HIESTAND FAMILY TR                                           360 W ROCKSPRINGS LN                                                        BENSON          AZ    85602
THE HOWARD FAMILY REV TRUST DTD 11-                              10708 N ANN ARBOR AVE                                                       OKLAHOMA CITY   OK    73162
The Huntington National Bank          Attn: Jeff Rathkamp        17 South High Street                                                        Columbus        OH    43216
                                      c/o Capital Research and                                          333 South Hope
The Income Fund of America            Management Company         Attention: Erik A. Vayntrub            Street, 33rd Floor                   Los Angeles     CA    90071
THE IOLA R LOGAN REV TR                                          PO BOX 30851                                                                EDMOND          OK    73003
THE J E AND L E MABEE                                            401 S BOSTON AVE STE 3001                                                   TULSA           OK    74103-4066
THE JACK A. MCKAIG REVOCABLE TRUST                               7707 W. BRITTON RD. UNIT 1603                                               OKLAHOMA CITY   OK    73132
THE JAMES W STRATE SR TRUST                                      23502 E OSBOURNE ROAD                                                       MARSHALL        OK    73056
THE JANE WINGROVE REV TRT 4/4/2001                               2465 WALTERS DRIVE                                                          ERIE            CO    80516-6546
THE JOAN SEHON LIVING TRUST                                      1601 S. 29TH STREET                                                         CHICKASHA       OK    73018

THE JOE FRED GIBSON REVOCABLE TRUST                              1315 FAWNWOOD RD                                                            MONUMENT        CO    80132-9519
                                      JAMES R AGER EXECUTOR
THE JOHNSON TRUST                     OEO                                                                                                    NORMAN          OK    73070
THE JOHNSON-STEWART LIVING TR DTD 5                              5555 CAMPANA CT                                                             SANTA BARBARA   CA    93111

THE JOURNAL RECORD PUBLISHING COMPA                              PO BOX 86                                                                   MINNEAPOLIS     MN    55486-2707

THE JOURNAL RECORD PUBLISHING COMPA                              SDS 122707                                                                  MINNEAPOLIS     MN    55486-2707
THE JOY PARTNERS LLC                                             PO BOX 576                                                                  ARDMORE         OK    73402
THE KAREN M BROWN TRUST                                          3000S HULEN SUITE 124                                                       FORT WORTH      TX    76109
THE KAREN S BODE TRUST NO 1                                      3312 N PERRY RD                                                             ORLANDO         OK    73073-2112
THE KENNETH W & CAROL J WALLSTEIN                                9065 MELODY LANE                                                            CHANDLER        OK    73834
THE KENNETH W SCHNAIBEL TRUST                                    12402 SW 13TH ST                                                            YUKON           OK    73099
THE KWAN YIN GROUP LLC                                           106 BETHENIA PL                                                             CARY            NC    27511
THE LAMAR COMPANIES                                              PO BOX 96030                                                                BATON ROUGE     LA    70896
THE LAND DEPARTMENT INC                                          8006 S QUEBEC AVE                                                           TULSA           OK    74136
THE LAW FIRM OF BLAINE M DYER PLLC                               16224 MUIRFIELD PL                                                          EDMOND          OK    73013-9790
THE LAW FIRM OF DOVEDAN & MCMILLIN                               6608 N WESTERN AVE #184                                                     OKLAHOMA CITY   OK    73116
THE LEO & KAY ROTHER FAMILY                                      PO BOX 413                                                                  OKARCHE         OK    73762-0413
THE LEROY CRAIG AND BETHEL CRAIG TR                              8117 EAST CAMINO ADELE                                                      SCOTTSDALE      AZ    85255
THE LIND OIL & GAS COMPANY                                       6520 N WESTERN AVE, # 300                                                   OKLAHOMA CITY   OK    73116
THE LINDA V SHATTUCK LIVING TRUST                                5700 JUNO ST                                                                WICHITA         KS    67215-1714
THE MAHONEY CHILDRENS TRUST                                      PO BOX 700302-0302                                                          TULSA           OK    74170
THE MARSHALL FAMILY TRST                                         43829 N MORAY ST                                                            FREMONT         CA    94539
THE MASTERLINE GROUP LTD                                         132 FRANKLIN PL #365                                                        WOODMERE        NY    11598
THE MATHWORKS INC                                                PO BOX 845428                                                               BOSTON          MA    02284-5428
THE MCDANIEL COMPANY                                             12900 PRESTON ROAD, # 415                                                   DALLAS          TX    75230-1353
THE MCLEMORE SIBLING TRUST                                       7121 S RIPLEY ROAD                                                          RIPLEY          OK    74062-6228


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                                                                           White Star Petroleum, LLC
                                                                                Creditor Matrix


              CreditorName            CreditorNoticeName                Address1                       Address2        Address3            City     State       Zip      Country
THE MEDFORD PATRIOT-STAR                                   PO Box 49                                                              MEDFORD           OK      73759
THE MEN'S DINNER CLUB                                      PO BOX 18243                                                           OKLAHOMA CITY     OK      73154
THE MONHEGAN CO                                            PO BOX 14664                                                           OKLAHOMA CITY     OK      73113-0664
THE NANCY SUE STINCHCOMB                                   8608 CR 71                                                             COYLE             OK      73027
THE NEEDHAM COMPANIES LLC                                  722 N BROADWAY AVE STE 300                                             OKLAHOMA CITY     OK      73102-6025
THE NOBLE FOUNDATION INC                                   2510 SAM NOBLE PKWY                                                    ARDMORE           OK      73401
THE OBERBROCKLING FAMILY TRUST                             209 AOUDAD RANCH TRAIL                                                 AMARILLO          TX      79118

THE OKLAHOMA UNITED METHODIST FOUND                        PO BOX 1588                                                            TULSA             OK      74101-1588
THE OKLAHOMAN                                              PO BOX 268880                                                          OKLAHOMA CITY     OK      73126-8880
THE OTIS C AND BONITA C SHEARER                            PO Box 520                                                             BOOKER            TX      79005-0520
THE PFANENSTIEL COMPANY INC                                2100 MCKINNEY AVE, SUITE 1200                                          DALLAS            TX      75201-6927
THE PHILLIP B. BERRY MANAGEMENT TRU                        PO BOX 56129                                                           HOUSTON           TX      77256
THE PIE SAFE AND MORE                                      101 N MAIN AVE                                                         BIG LAKE          TX      76932-5210
THE PINION GROUP LLC                                       PO BOX 52383                                                           TULSA             OK      74152
THE PLEXUS GROUPE LLC                                      21805 W FIELD PKWY STE 300                                             DEER PARK         IL      60010-3231
THE PRINCIPIA CORPORATION                                  PO BOX 1588                                                            TULSA             OK      74101-1588

THE PROFESSIONAL BASKETBALL CLUB LL                        208 THUNDER DRIVE                                                      OKLAHOMA CITY     OK      73102
THE PROSPECT COMPANY                                       PO BOX 1100                                                            EDMOND            OK      73083-1100
THE QUEEN GROUP CONSULTING LLC                             PO BOX 700037                                                          DALLAS            TX      75370-0037
THE QUEEN GROUP HOLDINGS LLC                               PO BOX 700037                                                          DALLAS            TX      75370-0037
THE QUINTIN LITTLE COMPANY INC                             PO BOX 1509                                                            ARDMORE           OK      73402
THE RAILROAD YARD INC                                      PO BOX 2283                                                            STILLWATER        OK      74076-2283
THE RALPH G. BRECKENRIDGE LIVING TR                        91314 COAL ROAD                                                        POND CREEK        OK      73766
THE RAY H MARR FOUNDATION                                  325 N ST PAUL STREET STE 2500                                          DALLAS            TX      75201
THE REINSCHMIEDT FAMILY GENERAL PAR                        17428 E LAKE HELLUMS RD                                                GARBER            OK      73738
THE REPLOGLE COMPANY LLC                                   6405 AVALON LN                                                         NICHOLS HILLS     OK      73116-5609
THE RESPONSE GROUP INC                                     13939 TELGE RD                                                         CYPRESS           TX      77429
THE RIDDLE CORPORATION                                     PO BOX 21053                                                           OKLAHOMA CITY     OK      73156-1053
THE RIDDLE CP                                              PO BOX 21053                                                           OKLAHOMA CITY     OK      73156
THE ROBERT HITZELBERGER                                    2200 ROSS AVENUE, SUITE 3838                                           DALLAS            TX      75201-6768
THE ROY REED LLC                                           PO BOX 687                                                             POTEAU            OK      74953
THE ROYCE AND JANACE SCOTT TRUST                           PO Box 548                                                             BUFFALO GAP       TX      79508-0548
THE RUSSELL M MCINTURFF TRUST                              PO BOX 6618                                                            LUBBOCK           TX      73493-6618
THE SAFETY GROUP LLC                                       10901 CLAY PIKE ROAD                                                   DERWENT           OH      43733-0010
THE SALVATION ARMY                                         6601 N BROADWAY EXTENSION                                              OKLAHOMA CITY     OK      73116

THE SALVATION ARMY A GEORGIA CORPOR                        2626 PENNSYLVANIA AVENUE NW                                            WASHINGTON        DC      20037

THE SAMUEL ROBERTS NOBLE FOUNDATION                        2510 SAM NOBLE PARKWAY                                                 ARDMORE           OK      73401
THE SIDWELL CORP                                           PO BOX 9298                                                            AMARILLO          TX      79108
THE SINGLETON FAMILY TR                                    3541 W FOXES DEN DRIVE                                                 TUCSON            AZ      85745
THE STANDARD OIL COMPANY OF KANSAS                         501 WESTLAKE PARK BLVD                                                 HOUSTON           TX      77079
THE STEINCAMP LLC                                          66500 E 258 RD                                                         GROVE             OK      74344
THE SULLIVAN FAMILY PARTNERSHP                             PO BOX 1001                                                            FORT LAUDERDALE   FL      33302-1001
THE SYDCO SYSTEM INC                                       PO BOX 9                                                               FOSS              OK      73697
THE TERESA J WILLIAMS                                      912 ANGUS DR                                                           FREDERICK         OK      73542
THE TERMO COMPANY                                          PO BOX 2767                                                            LONG BEACH        CA      90801-2767
THE TERRY G MCINTURFF TRUST                                PO BOX 6618                                                            LUBBOCK           TX      73493-6618
THE THOMAS R COCHILL II & BONNIE L                         6003 N. SAGUARO ROAD                                                   PARADISE VALLEY   AZ      85253-4223
THE THREE KIDS LLC                                         806 WAKEFIELD                                                          PERRY             OK      73077
THE TRUST COMPANY OF OKLAHOMA                              5727 S LEWIS AVENUE                                                    TULSA             OK      74105
THE UNIVERSITY OF TEXAS SYSTEM                             PO BOX 551                                                             MIDLAND           TX      79702
THE UNKNOWN HEIRS DEVISEES OR                              1200 W BUENA VISTA RD APT 136                                          EVANSVILLE        IN      47710-5187
THE VERA HARPER REV LVNG TRST                              5316 E COUNTY ROAD 69                                                  MULHALL           OK      73063
THE VICKI PAUL PODESTA TRUST                               400 PINE STREET                                                        ABILENE           TX      79601
THE WALKER GRANDCHILDER TRUST                              6805 REED DRIVE                                                        OKLAHOMA CITY     OK      73116-2131



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                  CreditorName              CreditorNoticeName                             Address1                         Address2                 Address3                City   State       Zip      Country

THE WEST FOUNDATION                                                      15950 N DALLAS PARKWAY, SUITE 600                                                      DALLAS              TX      75248
THE WESTON COMPANY                                                       PO Box 478                                                                             COWETA              OK      74429-0478
THE WHITEFIELDS                                                          7127 COUNTY LINE RD NE                                                                 PIEDMONT            OK      73078
THE WHITESTAR CORPORATION                                                777 S WADSWORTH BLVD STE 4-250                                                         LAKEWOOD            CO      80226-4331

THE WHITWORTH FAMILY REVOCABLE TRUS                                      PO BOX 772407                                                                          NORMAN              OK      73070

THE WILBUR C BRADLEY REVOCABLE TRUS                                      224 E DOUGLAS AVE STE 300                                                              WICHITA             KS      67202-3414
THE WOODLANDS LLC                                                        2711 BOWEN LANE                                                                        ADA                 OK      74820
THE YIELD MASTER FUND II LP                                              1000 BALLPARK WAY STE 216                                                              ARLINGTON           TX      76011-5171
                                                                                                                       9211 Lake Hefner
Thea Anderson                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Thea Anderson                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Thea Anderson                                                            810 S Jardot Rd 58                                                                     Stillwater          OK      74074
                                                                                                                       9211 Lake Hefner
Thean R. Parker                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Thean R. Parker                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Thean R. Parker                                                          3352 S. 140th E. Ave                                                                   Tulsa               OK      74134
THEDA JACKSON                                                            3287 SW MILLER LN                                                                      PONCA CITY          OK      74601-8615
THEDA RAE POWER                                                          1513 N OLIVE ST                                                                        ABILENE             KS      67410-1638
THEDA TEDDER                                                             1824 S IRVINGTON AVE                                                                   TULSA               OK      74112
THEILEN FAMILY LIVING TR DTD 6-24-1                                      5047 OAK SHADOWS                                                                       HOUSTON             TX      77091
THELDA BAKER                                                             2120 ROSE LN                                                                           LIBERAL             KS      67901-0230
THELDA LOWERY                                                            11719 ARQUELLO DR                                                                      MIRA LOMA           CA      91752
THELDON FOWLER                                                           2002 S AGRA RD                                                                         CUSHING             OK      74023-5864
THELMA B DAUGHERTY LIVING TRUST                                          2827 W MORRE RD                                                                        TUSCON              AZ      85755
THELMA DOLL                                                              904 S. EAGLE ROAD                                                                      YALE                OK      74085
THELMA EICHELBERGER                                                      RR 1 BOX 165                                                                           HYDRO               OK      73048-9625
THELMA HENSON                                                            1629 ADRIEL DR                                                                         FT. COLLINS         CO      80524
THELMA HIGGINS                                                           4715 E 56TH ST                                                                         STILLWATER          OK      74074-8548
THELMA JACOB DADEN (DECEASED)                                            4702 N ROCKWELL                                                                        BETHANY             OK      73008
THELMA JORDON                                                            17804 LOWELL ROAD                                                                      CALDWELL            ID      83607-9658
THELMA KAUTZ                                                             1201 S FAIRWAY DRIVE                                                                   STILLWATER          OK      74074
THELMA LAMBERT                                                           19115 RD P                                                                             KISMET              KS      67859
THELMA MARIE BEAN                                                        800623 S 3460 RD                                                                       AGRA                OK      74824
THELMA MCDONALD                                                          1301 BEECHWOOD DR                                                                      OKLAHOMA CITY       OK      73115
THELMA RODMAN HARRISON                                                   770565 S 3370 RD                                                                       TRYON               OK      74875-6122
THELMA S. WITT REV TR DTD. 6/2/1992                                      500 WEST BENDER ROAD, UNIT 54                                                          MILWAUKEE           WI      53217-4100
THELMA SANDERSON                                                         1957 STATE ROUTE 505                                                                   TOLEDO              WA      98591
THELMA SPURGEON                                                          PO BOX 194                                                                             RIRIE               ID      83443-0194
THELMA TOMLINSON                                                         14227 187TH ST                                                                         RENTON              WA      98058
THELMA W ZONGKER REV LIVING TRUST                                        PO BOX 1649                                                                            OROVILLE            CA      95965
THELMA WALL                                                              1802 FLORINDA DR                                                                       ORLANDO             FL      32804
                                                                                                                       9211 Lake Hefner
Thelma Carmichael                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Thelma Carmichael                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Thelma Carmichael                                                        15904 San Nicolas Dr                                                                   Edmond              OK      73013
                                                                                                                       9211 Lake Hefner
Thelma McDaniel                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
Thelma McDaniel                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Thelma McDaniel                                                          2680 S. Harrah Rd                                                                      Harrah              OK      73045
                                                                                                                       9211 Lake Hefner
Themeshia S. Gathron                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120



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                                                                                              White Star Petroleum, LLC
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                    CreditorName            CreditorNoticeName                             Address1                         Address2                 Address3              City    State       Zip      Country
                                      c/o Laminack, Pirtle & Martines,
Themeshia S. Gathron                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Themeshia S. Gathron                                                     716 NE 38th St                                                                         Oklahoma City      OK      73105
THEODORA ARCHER                                                          909 DRURY LANE                                                                         COLORADO SPRINGS   CO      80911
THEODORE A. & ROSEMARY METSCHER                                          PO Box 5332                                                                            NORMAN             OK      73070
THEODORE BOYD                                                            2300 N VERONA RD                                                                       MORRIL             IL      60450-8195
THEODORE FARISS                                                          PO BOX 249                                                                             LEEDEY             OK      73654-0249
                                                                                                                       9211 Lake Hefner
Theodore Hooks III                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Theodore Hooks III                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Theodore Hooks III                                                       2260 N Xanthus Ave                                                                     Tulsa              OK      74110
THEODORE K SHOENHAIR                                                     1430 WILLARD AVE                                                                       WEST MIFFLIN       PA      15122
THEODORE METSCHER                                                        PO BOX 5332                                                                            NORMAN             OK      73070
THEODORE S GREEN TRUST                                                   3404 E 61ST PL                                                                         TULSA              OK      74136
THEODORE STALLMAN                                                        1153 DARA CAY DR                                                                       KISSIMMEE          FL      34741
THEODORE WEHE                                                            4680 N FORK RD                                                                         COLUMBIA FALLS     MT      59912-9417
THEODORE ZWEIFEL                                                         5920 NW 83RD ST                                                                        OKLAHOMA CITY      OK      73132-4701
THEO'S RESTAURANT                                                        632 WHEELING AVE                                                                       CAMBRIDGE          OH      43725-2252
THERA VENTIMIGLIA                                                        2516 NE 307TH AVE                                                                      WASHOUGAL          WA      98671-9223
THERAN D AND DEBORAH J FIELD CO-TRU                                      8118 E 56TH ST                                                                         RIPLEY             OK      74062-6264
THERESA BAILEY                                                           483 W 1000 S                                                                           LYNN               IN      47355
THERESA BUTLER                                                           910 ROSE TERR                                                                          PERRY              OK      73077
THERESA GRAHAM                                                           HC 62 BOX 70A                                                                          EUFAULA            OK      74432-9674
THERESA LUFT                                                             9255 N MAGNOLIA AVE                                                                    SANTEE             CA      92071
                                                                                                                       9211 Lake Hefner
Theresa M. Kindle                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Theresa M. Kindle                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Theresa M. Kindle                                                        3250 West Charter Oak Rd                                                               Edmond             OK      73034
THERESA PUTNAM                                                           PO BOX 24                                                                              SHALIMAR           FL      32579
THERESA SHARP                                                            205 10TH AVE NE                                                                        ARDMORE            OK      73401
                                                                                                                       9211 Lake Hefner
Theresa Cain                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Theresa Cain                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Theresa Cain                                                             11601 Blueridge Ct                                                                     Oklahoma City      OK      73162
THERESSA L TAYLOR LLC                                                    13 CORONA DR                                                                           OKLAHOMA CITY      OK      73149-1805

THERMAN SMITH AND MARY FRANCES SMIT                                      105 W SHEPARD ST                                                                       GLENCOE            OK      74032-3002
THETA OILFIELD SERVICES INC                                              PO BOX 731948                                                                          DALLAS             TX      75373-0187
THISTLE ROYALTY COMPANY LLC                                              14909 LAURIN LANE                                                                      OKLAHOMA CITY      OK      73142
                                                                                                                       9211 Lake Hefner
Thomas Deaver                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Thomas Deaver                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Thomas Deaver                                                            3238 N Nesbitt Ave                                                                     Oklahoma City      OK      73112
THOMAS & CYNTHIA C COTTON                                                PO BOX 225                                                                             PERKINS            OK      74059-0225
THOMAS & JANICE BENNETT FAMILY TR                                        4909 FAIRFIELD CT                                                                      BRYAN              TX      77802
THOMAS & RUTH                                                            285 HEMINGWAY LOOP                                                                     FOLEY              AL      36535
THOMAS A DUNCAN TRUST                                                    1211 N SKYLINE ST                                                                      STILLWATER         OK      74075
THOMAS AARON CASEY TRUST                                                 123 W 32ND AVE                                                                         STILLWATER         OK      74074
THOMAS ALCOTT                                                            66 GLENVIEW ST                                                                         UPTON              MA      01568-1318
THOMAS ALLEN BAKER                                                       7405 NW 23RD STREET                                                                    BETHANY            OK      73008-5135
THOMAS AND LINDA CHACE JT                                                2808 S. RIPLEY ROAD                                                                    RIPLEY             OK      74062-6437
THOMAS ARCHIBALD TR                                                      8887 SOUTH LEWIS, #103                                                                 TULSA              OK      74137
THOMAS ARMSTRONG                                                         109 CARMEL CHURCH RD                                                                   NATCHEZ            MS      39120-9563
THOMAS AUSTIN                                                            2536 NW 26TH ST                                                                        OKLAHOMA CITY      OK      73107-2230
THOMAS AUSTIN                                                            5294 VESTRY DR                                                                         VIRGINIA BEACH     VA      23464


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                                                                                              White Star Petroleum, LLC
                                                                                                   Creditor Matrix


              CreditorName                  CreditorNoticeName                           Address1                           Address2                 Address3            City    State       Zip      Country
THOMAS BALL                                                              342210 E 770 RD                                                                        AGRA            OK       74824-6330
THOMAS BATTLE                                                            6316 WESTBROOK DR                                                                      OKLAHOMA CITY   OK       73162
THOMAS BELL                                                              4049 OCEAN DR APT 302                                                                  VERO BEACH      FL       32963
THOMAS BENNETT                                                           8714S FLORENCE AVE                                                                     TULSA           OK       74137
THOMAS BENTON                                                            206 S 7TH ST                                                                           PONCA CITY      OK       74601
THOMAS BERRY                                                             PO BOX 518                                                                             STILLWATER      OK       74076-0518
THOMAS BLANKENSHIP                                                       PO BOX 589                                                                             LINDSAY         OK       73052
THOMAS BOEPPLE                                                           1802 CALICO LN                                                                         ENID            OK       73703
THOMAS BRADLEY                                                           1215 N WASHINGTON                                                                      MAGNOLIA        AR       71753-2459
THOMAS BRADLEY                                                           2631 S.E. 81ST EAST AVENUE                                                             PORTLAND        OR       97206
THOMAS BROWN                                                             8380 PRESTWICK DR                                                                      LA JOLLA        CA       92037
THOMAS BUMGARNER                                                         PO BOX 144                                                                             GLENCOE         OK       74032
THOMAS BURNETT                                                           PO BOX 135                                                                             GLENCOE         OK       74032
THOMAS BUSSARD                                                           705 N 6TH ST                                                                           KINGFISHER      OK       73750
THOMAS BYRON & SHERRY LYNN                                               7402 S HWY 74                                                                          COVINGTON       OK       73730
THOMAS C CARLSON REVOCABLE TRUST                                         PO BOX 600487                                                                          DALLAS          TX       75360-0487
THOMAS C GIFFEN                                                          14721 EAGLES LOOKOUT CT                                                                FT MYERS        FL       33912
THOMAS C GOOD                                                            175 E DELAWARE PL #6809                                                                CHICAGO         IL       60611
THOMAS C HARRILL III 1989 REV TRUST                                      PO BOX 3627                                                                            TULSA           OK       74101-3627
THOMAS CHAMBERS KENNEDY                                                  500 WEST TEXAS AVE, # 655                                                              MIDLAND         TX       79701
THOMAS CHAPMAN                                                           3908 S HART DR                                                                         RIPLEY          OK       74062-6284
THOMAS CHESTER                                                           107048 HIGHWAY 56                                                                      OKEMAH          OK       74859-5191
THOMAS CHILDERS                                                          726 S ROYAL AVE                                                                        EAGLE POINT     OR       97524-8505
THOMAS CLARK AND TAMMY L CLARK                                           211 SW 1ST ST                                                                          PERKINS         OK       74059-3443
THOMAS CLINE                                                             820506 S 3480 RD                                                                       STROUD          OK       74079-5608
THOMAS CLINGENPEEL                                                       8324 NW 35TH ST                                                                        BETHANY         OK       73008-3522
THOMAS CLINGENPEEL                                                       2706 ALBANS RD                                                                         HOUSTON         TX       77005
THOMAS CROOKS                                                            18116 SONORAN PL                                                                       NAMPA           ID       83687
THOMAS CUMMINS                                                           9 KIRKWOOD COVE                                                                        NEW BRAUNFELS   TX       78130-3636
THOMAS D MARCHANT & JOAN K                                               2800 CALLE VISTA WAY                                                                   SACARMENTO      CA       95821
THOMAS DECKER                                                            1027 WEST 111TH STREET SOUTH                                                           JENKS           OK       74037
THOMAS DEJARNETTE                                                        187 BALTUSROL RD                                                                       FRANKLIN        TN       37069
THOMAS DIEHL                                                             3800 W 71ST ST APT 127                                                                 TULSA           OK       74132-2169
THOMAS DIMICELI                                                          700 RIVA RIDGE                                                                         EDMOND          OK       73025
THOMAS DIXON                                                             1723 SHEILA DR                                                                         GUTHRIE         OK       73044
THOMAS DOWNEY                                                            6606 S SANGRE RD                                                                       STILLWATER      OK       74074
THOMAS DUANE TINKER                                                      4200 THE RANCH ROAD                                                                    EDMOND          OK       73034
THOMAS E WRIGHT                                                          9204 JOE MONTOYA PL NW                                                                 ALBUQUERQUE     NM       87114
                                                                                                                       9211 Lake Hefner
Thomas E. Adair Jr                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Thomas E. Adair Jr                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Thomas E. Adair Jr                                                       1805 W. Honolulu St                                                                    Broken Arrow    OK       74012
THOMAS EATMAN                                                            1141 N QUAIL                                                                           MESA            AZ       85205
THOMAS EDWARD SHIRLEY ESTATE                                             1316 APACHE DR                                                                         RICHARDSON      TX       75080-3717
THOMAS ENERGY SERVICES LLC                                               PO BOX 732868                                                                          DALLAS          TX       75373
                                                                                                                       9211 Lake Hefner
Thomas Eric Collins                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK       73120
                                      c/o Laminack, Pirtle & Martines,
Thomas Eric Collins                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX       77006
Thomas Eric Collins                                                      12405 Heathfield Lane                                                                  Oklahoma City   OK       73173
THOMAS FABRIS                                                            15259 SORUM RD                                                                         REVA            SD       57651
THOMAS FAMILY TRUST                                                      5142 CORDOY LN                                                                         SAN JOSE        CA       95124
THOMAS FAMILY TRUST                                                      8822 MISTY CREEK DR                                                                    SARASOTA        FL       34241
THOMAS FARRIER                                                           3749 HOLLOW CREEK RD                                                                   ARLINGTON       TX       76001-5341
THOMAS FERNANDES                                                         4 WARD ST                                                                              LEXINGTON       MA       02421
THOMAS FINE                                                              3102 PEBBLEBROOK CT                                                                    GARLAND         TX       75044-6558
THOMAS FLESHER                                                           2816 HIDDEN VALLEY RD                                                                  EDMOND          OK       73013
THOMAS FLOCK                                                             453 S-7 ROAD                                                                           MORRILL         NE       69358


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THOMAS FORMAN                                                         3512 S BOOMER RD                                                                       STILLWATER         OK      74074-7523
THOMAS G WYGANT TTEE                                                  2020 FOREST ROAD                                                                       EDMOND             OK      73025
THOMAS GERALD SANDERS                                                 107 ACER PL                                                                            LANCASTER          PA      17601
THOMAS GILBERT                                                        705 7TH STREET                                                                         MORRISON           OK      73061
THOMAS GILCREASE FOUNDATION                                           6039 WHITBY RD APT 1802                                                                SAN ANTONIO        TX      78240-2383
THOMAS GRAHAM                                                         816 SE 49TH                                                                            OKLAHOMA CITY      OK      73129
THOMAS GRAHAM                                                         7979 S TAMIAMI TR APT 148                                                              SARASOTA           FL      34321
THOMAS GRIER                                                          4939 SANTA MONICA CT                                                                   CAPE CORAL         FL      33904-9494
THOMAS GROSSMAN                                                       PO BOX 738                                                                             ROCKPORT           MA      01966-0838
THOMAS H BUTLER & LUANNE C BUTLER J                                   3440 E 76TH ST                                                                         TULSA              OK      74136
THOMAS H CLINGENPEEL & MYRTLE M CLI                                   8324 NW 35TH                                                                           BETHANY            OK      73008

THOMAS H HAMMOND                                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           LA      75070
THOMAS H SIMPSON II JTWROS                                            2409 NW 48TH ST                                                                        OKLAHOMA CITY      OK      73112-8320
THOMAS HARTING                                                        6430 STOPPER LN SW                                                                     OCEAN ISLE BEACH   NC      28469
THOMAS HAYS                                                           111 FILLMORE ST                                                                        WICHITA FALLS      TX      76301
THOMAS HOLLEY                                                         PO BOX 3602                                                                            WICHITA FALLS      TX      76301-0602
THOMAS HOOK                                                           865 GEORGIA AVENUE                                                                     BURLESON           TX      76028
THOMAS HOURET SINGLE PERSON & PAUL                                    PO BOX 354                                                                             LA GRANGE          CA      95329
THOMAS HOWELL                                                         3132 CARDINAL DR                                                                       ARDMORE            OK      73401-9110
THOMAS HURST                                                          3710 E 6TH                                                                             STILLWATER         OK      74074
THOMAS I BROWN JR ESTATE                                              4870 SANTA MONICA AVE STE 2D                                                           SAN DIEGO          CA      92107
THOMAS I BROWN JR TRUST 7-11-2013                                     2455 ALTO VERRO CIR                                                                    SAN DIEGO          CA      92109
THOMAS IREY & KAREN IREY REV LIV TR                                   307 NORTH OKLAHOMA                                                                     MARSHALL           OK      73056
THOMAS J & LINDA M DUDEK REV TR                                       402 S HOLLY AVE                                                                        YUKON              OK      73099
THOMAS J ELDRIDGE                                                     4884 FRANKLIN DR                                                                       BOULDER            CO      80301

THOMAS J RATHMANN JR                                                  5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
THOMAS JACK                                                           PO BOX 745                                                                             PERRY              OK      73077
THOMAS JACKSON                                                        PO BOX 220                                                                             MILFAY             OK      74046-0220

THOMAS JERRY JOHNSON & MARLENE SUE                                    7202 ALPINE LN                                                                         AMARILLO           TX      79109
THOMAS JERRY JOHNSON REV LIV TR                                       7202 ALPINE LANE                                                                       AMARILLO           TX      79109
THOMAS JOHN CLARKE                                                    457 N HARR DR APT F                                                                    OKLAHOMA CITY      OK      73110-2923
THOMAS JOHNSON                                                        7813 NE 55TH ST                                                                        KANSAS CITY        MO      64119-4107
THOMAS K ARMSTRONG TSTMNTRY TRUST                                     PO Box 2299                                                                            NATCHEZ            MS      39121
THOMAS K GEDDES                                                       2600 CHADBOURNE DR                                                                     PLANO              TX      75023
THOMAS KAYE                                                           501 FOXWICK COURT                                                                      LOUSIVILLE         KY      40223
THOMAS L EVANS                                                        1322 NORTH OAK                                                                         GUTHRIE            OK      73044
Thomas L. Reding                      c/o Hall & Ludlam               Attn: A.J. Reding                             210 Park Ave         Ste. 3001           Oklahoma City      OK      73102
Thomas L. Reding                      c/o Ward & Glass, LLP           Attn: Stanley M Ward                          1601 36th Ave, NW    Ste. 100            Norman             OK      73072
Thomas L. Reding                                                      2109 Appomattox                                                                        Enid               OK      73703
THOMAS LAMBERT                                                        2001 OSBORN                                                                            BURLINGTON         IA      52601
THOMAS LEROY HINER                                                    4000 E 44TH ST                                                                         STILLWATER         OK      74074-8577
THOMAS LINCOLN                                                        2448 E 36TH ST                                                                         TULSA              OK      74105-2834
THOMAS LIPPMANN                                                       3593 SILKTREE CT                                                                       WALDORF            MD      20602
THOMAS LOGAN                                                          10008 W 32ND AVENUE                                                                    STILLWATER         OK      74074-2179
                                                                                                                    9211 Lake Hefner
Thomas Loya                           c/o Atkins & Markoff            Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120

Thomas Loya                           c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                   5020 Montrose Blvd   9th Fl              Houston            TX      77006
Thomas Loya                                                              8500 S. Independence Ave                                                            Oklahoma City      OK      73159
THOMAS MARSHALL                                                          PO BOX 1569                                                                         LAKE OZARK         MO      65049
THOMAS MARTIN                                                            1230 CENTRAL WY                                                                     LANTANA            TX      76226
THOMAS MATTHEW                                                           4121 E 6TH AVE                                                                      STILLWATER         OK      74074-6633
THOMAS MCNALLY                                                           2225 S BROADWAY                                                                     GUTHRIE            OK      73044
THOMAS MEACHAM                                                           2488 SUNBURST PL                                                                    TALLAHASSEE        FL      32301
THOMAS MILLER                                                            2101 RIVER FOREST DRIVE                                                             MOBILE             AL      36605
THOMAS MONTGOMERY                                                        3620 BOB WHITE AVE                                                                  NORMAN             OK      73072


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THOMAS MOUNTS                                                          1841 S LAS PALMAS CIR                                                                  MESA                AZ      85202
THOMAS N BERRY & COMPANY                                               PO BOX 1958                                                                            STILLWATER          OK      74076-1958
THOMAS NEWHOUSE                                                        67009 AVE B                                                                            BELLAIRE            TX      77401
THOMAS NUGENT                                                          5510 CAMP ROBINSON RD                                                                  NORTH LITTLE ROCK   AR      72118-3668
THOMAS OBRIEN                                                          PO BOX 3083                                                                            MIDLAND             TX      79702
THOMAS OHERN                                                           15999 E 680 RD                                                                         DOVER               OK      73734
THOMAS OWEN                                                            3613 SW 30TH TERRACE                                                                   TOPEKA              KS      66614-2803
                                                                                                                     9211 Lake Hefner
Thomas P. Schaefer Jr.              c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                    c/o Laminack, Pirtle & Martines,
Thomas P. Schaefer Jr.              LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Thomas P. Schaefer Jr.                                                 407 W Ercoupe Dr                                                                       Oklahoma City       OK      73110
THOMAS PFEIFFER                                                        3205 SOMERSET PL                                                                       OKLAHOMA CITY       OK      73116-3013
THOMAS PLAHTE                                                          PO BOX 2572                                                                            LONGMONT            CO      80502
THOMAS PREBLE                                                          4325 WATSON CIR                                                                        SANTA CLARA         CA      95054-4166
THOMAS R & ELIZABETH E MCLEAN                                          PO BOX 58329                                                                           FAYETTVILLE         NC      28305
THOMAS REDING                                                          2109 APPOMATTOX                                                                        ENID                OK      73703-2008
THOMAS REED                                                            1921 STATE HWY 161                                                                     GRAND PRAIRIE       TX      75051
THOMAS RICHARDS                                                        PO BOX 14                                                                              MULHALL             OK      73063
THOMAS RODENBERG                                                       1005 SW 44TH ST                                                                        BLUE SPRINGS        MO      64015-4507
THOMAS ROGINSON                                                        1530 MATHEWS AVE                                                                       MANHATTAN BEACH     CA      90266
THOMAS ROTHROCK                                                        21402 DEER HAVEN DR                                                                    SPRING              TX      77388
THOMAS RUSSELL PILKINTON                                               3207 WASHINGTON RD APT 13                                                              EAST POINT          GA      30344-5441
THOMAS SCOTT                                                           1172-55 ST STE 204                                                                     DELTA               BC      V4M 4C3      CANADA
THOMAS SMITH                                                           120 ROBERTS ST                                                                         ALEDO               TX      76008
THOMAS SOSBEE                                                          PO BOX 505                                                                             EDMOND              OK      73083
THOMAS STORY                                                           PO BOX 264                                                                             ALEX                OK      73002
THOMAS T MOUNTS II                                                     4919 PIPER GLEN DRIVE                                                                  CHARLOTTE           NC      28277
THOMAS TERREL                                                          855 S BEVERLY DR                                                                       WICHITA             KS      67218
THOMAS TESTERMAN                                                       3218 CENTRAL AVE                                                                       EUREKA              CA      95503
                                                                                                                     9211 Lake Hefner
Thomas Thomas                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
Thomas Thomas                       c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles         CA      90017
Thomas Thomas                                                          11674 Garden Way                                                                       Guthrie             OK      73044
THOMAS THORNTON                                                        3703 SNOWDEN AVE                                                                       LONG BEACH          CA      90808
THOMAS TOOLS                                                           PO BOX 732868                                                                          DALLAS              TX      75373-2868
THOMAS UPCHRUCH                                                        9615 TASCOSA RD                                                                        AMARILLO            TX      79124
THOMAS UPCHURCH                                                        9615 TASCOSA RD                                                                        AMARILLO            TX      79124
THOMAS VAN HENKE                                                       22911 S 209TH WEST AVE                                                                 KELLYVILLE          OK      74039-5903
THOMAS W & BARBARA WELP REV TRUST                                      3913 TIMBERLINE DRIVE                                                                  STILLWATER          OK      74074
THOMAS W AND DOROTHY J ARTHUR                                          1106 PAYNE ST                                                                          PERKINS             OK      74059
THOMAS W KINYON                                                        3907 NW 11TH STREET                                                                    OKLAHOMA CITY       OK      73107
THOMAS WEBB                                                            6200 HORSE SHOE BEND                                                                   EDMOND              OK      73034
THOMAS WELDON TUCKER                                                   1510 BELMONT ST                                                                        JACKSON             MS      39202
THOMAS WHITED III TRUST                                                4771 E ROCK CREEK RD                                                                   NORMAN              OK      73026-0622
THOMAS WHITES                                                          6455 S HUSBAND ST                                                                      STILLWATER          OK      74074-5933
THOMAS WHITTAKER                                                       2904 SHERWOOD LN                                                                       COLLEYVILLE         TX      76034-4614
THOMAS WILLIAM MURASHIE                                                17200 12TH AVENUE NORTH                                                                PLYMOUTH            MN      55447-3012
THOMAS WILSON                                                          1219 BOLIVAR ST, APT A                                                                 DENTON              TX      76201
THOMAS WITTY                                                           PO BOX 451930                                                                          GROVE               OK      74345
THOMAS WOODRUFF                                                        13031 W EAGLE TALON TRAIL                                                              PEORIA              AZ      85383
                                                                                                                     9211 Lake Hefner
Thomas Johnson Sr.                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120
                                    c/o Laminack, Pirtle & Martines,
Thomas Johnson Sr.                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX      77006
Thomas Johnson Sr.                                                     939 NE 18th St                                                                         Oklahoma City       OK      73105
                                                                                                                     9211 Lake Hefner
Thomas Pendleton                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK      73120



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                                 c/o Laminack, Pirtle & Martines,
Thomas Pendleton                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Thomas Pendleton                                                    612 2nd St                                                                             Wellston          OK      74881
                                                                                                                  9211 Lake Hefner
Thomas Pressgrove                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                 c/o Laminack, Pirtle & Martines,
Thomas Pressgrove                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Thomas Pressgrove                                                   29950 N County Rd 60                                                                   Orlando           OK      73073
THOMPSON & KNIGHT LLP                                               PO BOX 660684                                                                          DALLAS            TX      75266-0684
THOMPSON EXPLORATION LLC                                            6301 NW 158TH TER                                                                      EDMOND            OK      73013-6215
THOMPSON FAMILY TRUST                                               43861 GENERATION AVE                                                                   LANCASTER         CA      93536
THOMPSON HINE LLP                                                   335 MADISON AVE                                                                        NEW YORK CITY     NY      10017
THORA SHELTON                                                       PO BOX 520561 LOOP STATION                                                             MINNEAPOLIS       MN      55402
THORBJORN OIL LLC                                                   40083 NORTH 110TH PLACE                                                                SCOTTSDALE        AZ      85262
THRASH FAMILY A SHARE UA                                            5900 S LAKE FORREST DR STE 300                                                         MCKINNEY          TX      75070
THREE ENERGY COMPANY LLC                                            1001 MCKINNEY STE 2200                                                                 HOUSTON           TX      77002
THREE G OIL & GAS LP                                                PO Box 600050                                                                          DALLAS            TX      75360-0050
THREE M OIL COMPANY                                                 8350 N CENTRAL EXPY SUITE G-100                                                        DALLAS            TX      75206-1600
THREE SANDS OIL INC                                                 PO BOX 853                                                                             PERRY             OK      73077
THRESSA SIMES                                                       8620 E 30TH PL                                                                         TULSA             OK      74129-6663
THRU TUBING SOLUTIONS INC                                           PO BOX 203379                                                                          DALLAS            TX      75320-3379
THUNDERCLAP LLC                                                     2901 NW 156                                                                            EDMOND            OK      73013
THUNDERHAWK RESOURCES LLC                                           PO BOX 608                                                                             STILLWATER        OK      74076-0608
Thurman, Andrew                  c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater        OK      74074
THURMOND MCGLOTHLIN INC                                             PO BOX 2358                                                                            PAMPA             TX      79066-2358
THYCOTIC SOFTWARE LTD                                               1101 17TH ST NW STE 1102                                                               WASHINGTON        DC      20036
TIA ALLEN                                                           4110 SOUTH WACO                                                                        WICHITA           KS      67217
                                                                                                                  9211 Lake Hefner
Tia Reedy                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
Tia Reedy                        c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                       Los Angeles       CA      90017
Tia Reedy                                                           803 N Steele Ave                                                                       Cushing           OK      74023
TIANMING LI                                                         3211 E PEACHTREE AVE                                                                   STILLWATER        OK      74074
TIBCO SOFTWARE INC                                                  LOCK BOX NO 7514                                                                       PHILADELPHIA      PA      19170-7514
TIERPOINT LLC                                                       PO BOX 82670                                                                           LINCOLN           NE      68501-2670
TIERRA MINERALS LLC                                                 2345 N WOODRUFF                                                                        IDAHO FALLS       ID      83401
TIFFANY CARPENTER                                                   111 GARRISON ST                                                                        FT. SCOTT         KS      66701
TIFFANY CROSS                                                       2136 NORTH WACO AVE                                                                    TULSA             OK      74127
TIFFANY DYKE                                                        981 N. ACADIA                                                                          WICHITA           KS      67212
TIFFANY L HAMMOND                                                   18930 E GRAND PINE CIR                                                                 MONTGOMERY        TX      77356
TIFFANY MAYFIELD                                                    12574 W DESERT FLOWER RD                                                               AVONDALE          AZ      85392
TIFFANY NOSSER                                                      6733 167TH AVE NE                                                                      FOREST LAKE       MN      55025-8804
TIFFANY STALEY                                                      702 VENUS AVE                                                                          SALINA            KS      67401-1004
                                                                                                                  9211 Lake Hefner
Tiffeney Tigner                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                 c/o Laminack, Pirtle & Martines,
Tiffeney Tigner                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Tiffeney Tigner                                                     9805 Lancet Lane                                                                       Oklahoma City     OK      73120
TIGER TANK TRUCKS LLC                                               PO BOX 453                                                                             DRUMRIGHT         OK      74030
TILLIE REYNOLDS                                                     350 N LINN LANE                                                                        LAS VEGAS         NV      89110
TIM ASHLEY                                                          117 ROSEWOOD DRIVE                                                                     CLOVIS            NM      88101
TIM EBEY                                                            224 S HOPPY RD                                                                         STILLWATER        OK      74074
TIM HAMIEL                                                          107 E COTTONWOOD ST                                                                    AMARILLO          TX      79108-2105
TIM HARMON                                                          14050 SOUTH 209TH AVE WEST                                                             KELLYVILLE        OK      74039
TIM HOOPER                                                          2201 WEST 24TH STREET                                                                  STILLWATER        OK      74074
                                                                                                                  9211 Lake Hefner
Tim Kelly                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK      73120
                                 c/o Laminack, Pirtle & Martines,
Tim Kelly                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX      77006
Tim Kelly                                                           9130 E. 67th Ct                                                                        Tulsa             OK      74133


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             CreditorName                CreditorNoticeName                         Address1                             Address2                 Address3            City   State       Zip      Country
TIM MCNEILL                                                           708 LOCUST ST                                                                          PERRY           OK      73077
TIM METZ                                                              707 S 13TH                                                                             FAIRVIEW        OK      73737
TIM MORROW                                                            129 MORROW RD                                                                          CAPULIN         NM      88414
TIM NEWVILLE                                                          14409 BUTTERFIELD DR                                                                   EDMOND          OK      73013-2416
TIM W MUNSON LLC                                                      4013 NW EXPRESSWAYSTE 690                                                              OKLAHOMA CITY   OK      73116
TIM WHEATLEY                                                          818 E 92ND                                                                             PERKINS         OK      74059
                                                                                                                    9211 Lake Hefner
Tim Tolliver                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Tim Tolliver                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Tim Tolliver                                                          1229 Standish Ave                                                                      Oklahoma City   OK      73117
TIMBERLAKE MINERALS CO                                                PO BOX 3430                                                                            EDMOND          OK      73083
TIMBERLAKE MINERALS LLC                                               PO BOX 3430                                                                            EDMOND          OK      73083
TIMBERLINE RESOURCES LLC                                              133 SARA DR                                                                            ENID            OK      73703
TIMBERWOLF MINERALS LLC                                               PO BOX 701553                                                                          TULSA           OK      74170-1553
TIMBERWOLF RESOURCES LLC                                              4727 GAILARDIA PARKWAY STE 200                                                         OKLAHOMA CITY   OK      73142-1923
TIMEVALUE SOFTWARE INC                                                22 MAUCHLY                                                                             IRVINE          CA      92618-2306
                                                                                                                    9211 Lake Hefner
Timothy Gunkel                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Timothy Gunkel                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Timothy Gunkel                                                        1104 Country Wood Lane                                                                 Edmond          OK      73012
TIMOTHY AND KATHLEEN S BURNS TIC                                      717 S HUDSON AVE                                                                       PASADENA        CA      91106-3911
TIMOTHY ANDREWS                    c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
TIMOTHY ANTHIS                                                        218 E SHOWLATER                                                                        ROSE HILL       KS      67133
TIMOTHY BROWN                                                         107 GUY MILLER ROAD                                                                    MINDEN          LA      71055-7574
TIMOTHY BURNS                                                         717 S HUDSON AVE                                                                       PASADENA        CA      91106-3911
TIMOTHY CASH                                                          PO BOX 127                                                                             PERKINS         OK      74059-0127
TIMOTHY CHESTER                                                       11226 CROSSLIN RD                                                                      MEEKER          OK      74855-6004
TIMOTHY CLEVERDON                                                     4704 ISLAND DR                                                                         MIDLAND         TX      79707-1407
TIMOTHY CLOUD                                                         3602 WYNN CIRCLE                                                                       EDMOND          OK      73013
TIMOTHY COBB                                                          316 N BAILEY AVE                                                                       FORT WORTH      TX      76107
TIMOTHY COLLINS                                                       9 ROLLING OAKS DR.                                                                     ENID            OK      73703-2046
                                                                                                                    9211 Lake Hefner
Timothy Cowdrey                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Timothy Cowdrey                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Timothy Cowdrey                                                       7915 S. 85th East Ave                                                                  Tulsa           OK      74133
TIMOTHY D LANG                                                        3106 FALCON CREST                                                                      ENID            OK      73703
TIMOTHY DESCHER                                                       PO BOX 3352                                                                            CLEVELAND       GA      30528
TIMOTHY DOLEZAL                                                       PO BOX 133                                                                             PERRY           OK      73077
TIMOTHY DONNELLEY                                                     506 W HIGH ST                                                                          LEON            KS      67074-9670
                                                                                                                    9211 Lake Hefner
Timothy E. Lewis                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                   c/o Laminack, Pirtle & Martines,
Timothy E. Lewis                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Timothy E. Lewis                                                      2301 Towers Ct                                                                         Oklahoma City   OK      73111
TIMOTHY GRAY                                                          8836 REDSTONE DR                                                                       PINCKNEY        MI      48169-8290
TIMOTHY GUFFEY                                                        12700 Gunsmoke Road                                                                    Perry           OK      73077
TIMOTHY HALEY                                                         PO BOX 399                                                                             EL RENO         OK      73036-0399
Timothy Harris                     c/o Keith A. Ward, PLLC            Attn: Keith A Ward                            1874 S Boulder                           Tulsa           OK      74119
Timothy Harris                     c/o Poynter Law Group              Attn: Scott E Poynter                         400 W Capitol Ave    Ste. 2910           Little Rock     AR      72201
                                   c/o Steel Wright Gray & Hutchinson
Timothy Harris                     PLLC                               Attn: Nate Steel                              400 W Capitol Ave    Ste. 2910           Little Rock     AR      72201
Timothy Harris                     c/o Watson & Watson                Attn: Charles D Watson Jr.                    PO Box 647           141 E Broadway St   Drumright       OK      74030
Timothy Harris                     c/o Weitz & Luxenberg, PC          Attn: Curt D Marshall                         700 Broadway                             New York        NY      10003
Timothy Harris                                                        603 E Oak St                                                                           Cushing         OK      74023
TIMOTHY HILTON                                                        3530 MCILWAIN TR                                                                       GREENWOOD       FL      32443
TIMOTHY HORNER                                                        PO BOX 294                                                                             PINE GROVE      WV      26419


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                                                                                             Creditor Matrix


                CreditorName             CreditorNoticeName                           Address1                        Address2              Address3            City     State       Zip      Country
TIMOTHY HUFFER                                                     PO BOX 7251                                                                         LAKE CHARLES      LA      70606-7251
TIMOTHY JOHNSON                                                    1150 WILD ROSE DR                                                                   MUSTANG           OK      73064
TIMOTHY L HARRIS                                                   8309 N 165TH E AVENUE                                                               OWASSO            OK      74155
TIMOTHY L THAYNE                                                   12511 PACIFIC PL                                                                    WHITTIES          CA      90602
TIMOTHY LEE GLEESON                                                2728 N BEVERLY AVENUE                                                               TUCSON            AZ      85712
TIMOTHY M. RYAN TRUST                                              510 WEST ISLAY ST                                                                   SANTA BARBARA     CA      93101
TIMOTHY MCKINLEY                                                   125 LOWELL ST                                                                       SOMERVILLE        MA      02143-1414
TIMOTHY MCLAUGHLIN                                                 4007 OLD SEWARD HWY STE 1100                                                        ANCHORAGE         AK      99503-6065
TIMOTHY MCMILLAN                                                   4411 TUCKER SQUARE                                                                  NEW PORT RICHEY   FL      34652
Timothy Murrell                   c/o Allen Stewart, PC            Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000       Dallas            TX      75070
Timothy Murrell                   c/o Drummond Law, PLLC           Attn: Donald A Lepp                           1500 South Utica      Ste. 400        Tulsa             OK      74104
Timothy Murrell                   c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                         747 3rd Ave                           New York          NY      10017
Timothy Murrell                                                    1119 W. Oak St.                                                                     Cushing           OK      74023
TIMOTHY OBRIEN                                                     6824 BRANDYWINE LOOP NE                                                             ALBUQUERQUE       NM      87111
TIMOTHY P ROONEY TRUST                                             PO BOX 54829                                                                        OKLAHOMA CITY     OK      73154
TIMOTHY POOLE                                                      1015 N WINDOMERE                                                                    DALLAS            TX      75208
TIMOTHY RAINS                                                      181 SHERWOOD RD                                                                     BRIDGEPORT        WV      26330-1062
TIMOTHY ROBINSON                                                   265 COLLEGE ST APT 11D                                                              NEW HAVEN         CT      06510-2425
TIMOTHY SCHWANDT                                                   201 S 12TH ST                                                                       PERRY             OK      73077
TIMOTHY SHAFFORD                                                   510 N 19TH ST                                                                       ENID              OK      73701-3627
TIMOTHY SPENCE                                                     2413 W 22ND AVE                                                                     STILLWATER        OK      74074-7308
TIMOTHY STOUT                                                      19100 HARVEST                                                                       PERRY             OK      73077-9441
TIMOTHY TAYLOR                                                     20708 CR 210                                                                        MORRISON          OK      73061
TIMOTHY THOMAS                                                     817 DORAL DR                                                                        MANSFIELD         TX      76063
TIMOTHY TINKER                                                     PO BOX 453                                                                          GARRETT PARK      MD      20896
TIMOTHY TRAHAN                                                     3118 BAUXITE PUMP ROAD                                                              BAUXITE           AR      72011
TIMOTHY WILLIAM PAYNE                                              3823 COUNTRY DR                                                                     MUSKOGEE          OK      74403
TIMOTHY ZALOUDEK                                                   #11 Rolling Oaks Drive                                                              Enid              OK      73703
TIMPANELLI OIL & GAS, LLC                                          5720 LEBANON RD, STE 144 PMB 404                                                    FRISCO            TX      75034
TIM'S TRUCKING                                                     PO BOX 340                                                                          ELK CITY          OK      73648-0340
TINA ABNEY                                                         PO BOX 302                                                                          PADEN             OK      74860-0302
TINA AHERN                                                         611 DELAWARE                                                                        PERRY             OK      73077
TINA AND DAVID A BAKKEN JT                                         4920 E KARA DR                                                                      STILLWATER        OK      74074
TINA CALVERT                                                       506 ARROWHEAD DR                                                                    TUTTLE            OK      73089
TINA CHAPMAN                                                       PO BOX 157                                                                          CANNON BEACH      OR      97110
                                                                                                                 9211 Lake Hefner
Tina Holland                      c/o Atkins & Markoff             Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104        Oklahoma City     OK      73120
Tina Holland                      c/o Girardi Keese                Attn: Thomas V. Girardi                       1126 Wilshire Blvd                    Los Angeles       CA      90017
Tina Holland                                                       1908 W Old Hwy 33                                                                   Cushing           OK      74023
Tina Ivers                        c/o Allen Stewart, PC            Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000       Dallas            TX      75070
Tina Ivers                        c/o Drummond Law, PLLC           Attn: Donald A Lepp                           1500 South Utica      Ste. 400        Tulsa             OK      74104
Tina Ivers                        c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                         747 3rd Ave                           New York          NY      10017
Tina Ivers                                                         375 Catfish Dr                                                                      Ponca City        OK      74604
TINA JO AUSTIN ESTATE                                              12719 1/4 LAKEWOOD BLVD                                                             DOWNEY            CA      90242
Tina Johnson                      c/o Allen Stewart, PC            Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000       Dallas            TX      75070
Tina Johnson                      c/o Drummond Law, PLLC           Attn: Donald A Lepp                           1500 South Utica      Ste. 400        Tulsa             OK      74104
Tina Johnson                      c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                         747 3rd Ave                           New York          NY      10017
TINA JOHNSON                                                       12610 W 80TH ST                                                                     COYLE             OK      73027-5404
Tina Johnson                                                       3850 West 36th Street North                                                         Tulsa             OK      74127
TINA LOUISE HUSBAND-SAMPSON                                        818 LOUISIANA STREET                                                                ABBEVILLE         LA      70501
TINA MAULDIN                                                       2100 ABBEYWOOD                                                                      OKLAHOMA CITY     OK      73170
TINA MILEY                                                         436501 E 1752 RD                                                                    NASHOBA           OK      74558
TINA R PIERCE                                                      810 SHARP ST                                                                        PERKINS           OK      74059-9385
TINA SCHONHAUT                                                     56 UGILADI CT                                                                       BREVARD           NC      28712
TINA THETFORD                                                      2011 GUADALUPE ST                                                                   SAN ANGELO        TX      76901-3152
TINS ENERGY LLC                                                    6608 N WESTERN AVE STE 223                                                          OKLAHOMA CITY     OK      73116
TIPTOP ENERGY PROD US LLC                                          3817 NW EXPRESSWAY SUITE 950                                                        OKLAHOMA CITY     OK      73112
TIPTOP ENERGY PROD US LLC - CWI                                    PO BOX 2406                                                                         OKLAHOMA CITY     OK      73101-2406
TISHA COSTAKIS                                                     2741 E 56TH PL                                                                      TULSA             OK      74105


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                                                                                     White Star Petroleum, LLC
                                                                                          Creditor Matrix


                CreditorName                CreditorNoticeName                          Address1                 Address2           Address3              City    State       Zip      Country
TITAN OILFIELD CHEMICALS                                              PO Box 3671                                                              McAlester         OK       74502
TITAN ROYALTY LLC                                                     PO BOX 2051                                                              EDMOND            OK       73083
TITANIUM ENERGY LLC                                                   PO BOX 6006                                                              EDMOND            OK       73083
TITE WATER ENERGY LLC                                                 PO BOX 902                                                               ALVA              OK       73717
TITLE TOWN CONSULTING LLC                                             PO BOX 2663                                                              TUSCALOOSA        AL       35403-2663
TITLEPRO LLC                                                          PO BOX 1466                                                              OKLAHOMA CITY     OK       73101
TITO RESENDIZ                                                         1217 MARTIN LUTHER KING JR                                               LONG BEACH        CA       90813
TJ DIMICELI                                                           700 RIVA RIDGE                                                           EDMOND            OK       73025-0828
TJO INVESTMENT TRUST                                                  38 MOUNTAIN MOOSE RD                                                     PHILIPSBURG       MT       59858
TK DRILLING CORP                                                      8131 E 49TH ST                                                           TULSA             OK       74145
TLC ENERGY INVESTMENTS LLC                                            PO BOX 1118                                                              EDMOND            OK       73083-1118
TLC RENTALS INC.                                                      PO BOX 487                                                               CANUTE            OK       73626
TLW INVESTMENTS LLC                                                   1001 FANNIN SUITE 2020                                                   HOUSTON           TX       77002
TLX INC                                                               PO BOX 44391                                                             DENVER            CO       80201
TLZ RANCH LLC                                                         421 F AVE                                                                KREMLIN           OK       73753
TMG SERVICE COMPANY                                                   4420 NORTH SANTA FE                                                      OKLAHOMA CITY     OK       73118
TMH FUTURES LLC                                                       10308 LYNFORD DR                                                         DALLAS            TX       75238-3532
TMK IPSCO                                                             PO BOX 202200                                                            DALLAS            TX       75320-2200
TMS ENERGY PARTNERS LTD                                               12809 PORTIFINO                                                          FORT WORTH        TX       76126
TN ENERGY INC                                                         7151 GASTON AVE #801                                                     DALLAS            TX       75214
TNJ LIV TR DTD 12-1-11                                                19013 S SINCLAIR RD                                                      MARSHALL          OK       74056
TNJ LIVING TRUST                                                      19013 S SINCLAIR ROAD                                                    MARSHALL          OK       74056
TNT CONSTRUCTION LLC                                                  PO BOX 141                                                               NASH              OK       73761
TNT EXPLORATION LLC                                                   PO Box 5263                                                              EDMOND            OK       73083-5263
TNT Operating Company, Inc.           c/o Durbin Larimore & Bialick   Attn: Michael L Darrah                920 N Harvey Ave                   Oklahoma City     OK       73102
TNT Operating Company, Inc.           c/o Durbin Larimore & Bialick   Attn: E. Edd Pritchett Jr.            920 N Harvey Ave                   Oklahoma City     OK       73102
TNT Operating Company, Inc.           c/o The Doyle Firm PC           Attn: William H Doyle                 1313 E Osborn Rd   Ste. 220        Phoenix           AZ       85014
TNT Operating Company, Inc.                                           10600 S Pennsylvania Ave              Ste. 16-601                        Oklahoma City     OK       73170
TNT SERVICES LLC                                                      PO BOX 433                                                               SEILING           OK       73663
TOBIE TITSWORTH                                                       1461 PARADISE PARK                                                       CLAREMORE         OK       74017
TOBIN FAMILY REV TR                                                   2926 E 57TH PL                                                           TULSA             OK       74105
TOBY BOURLAN                                                          15 ALPINE DR                                                             VAN BUREN         AR       72956-3203
TOBY DEAL                             c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                      Stillwater        OK       74074
TOBY HELFAND                                                          5814 VALLEY FORGE DRIVE                                                  HOUSTON           TX       77057
TOBY RAMSEY                                                           7708 S JARDOT RD                                                         STILLWATER        OK       74074
TODABALI 30 LLC                                                       PO Box 3499                                                              TULSA             OK       74101
TODABALI 70 LLC                                                       PO Box 3499                                                              TULSA             OK       74101
TODCO PROPERTIES INC                                                  1818 W LINDSEY ST STE A102                                               NORMAN            OK       73069-4160
TODD A PHILLIPS                                                       26387 JOHN AVENUE                                                        CHISAGO           MN       55013
TODD BAKER                                                            10293 COCONUT ROAD                                                       BONITA SPRINGS    FL       34135
TODD BARBER                                                           99 NOYLES LANE                                                           VALLEY FALLS      NY       12185-3300
TODD EDWARDS                                                          PO BOX 129                                                               NEW PLYMOUTH      ID       93655
TODD FRANCIS                                                          3952D CLAIREMONT MESA BLVD.                                              SAN DIEGO         CA       92117
TODD HOLBROOK                                                         18051 DEER RIDGE                                                         STILLWATER        OK       74074
TODD HUDSPETH                                                         4125 INDEPENDENCE CT                                                     WHEATRIDGE        CO       80033
TODD KAPPELMANN                                                       16454 W 158TH TERR                                                       OLATHE            KS       66062
TODD LIMKE                                                            PO BOX 1481                                                              CHOCTAW           OK       73020-1481
TODD M WAGGONER                                                       316 BAILEY AVE SUITE 100                                                 FORT WORTH        TX       76107
TODD MCLEOD HEWITT                                                    3655 W TROPICANA AVE                                                     LAS VEGAS         NV       89103-5638
TODD MILLER                                                           2809 S 123RD E AVE                                                       TULSA             OK       74129
TODD NICKELS                          c/o White Star Petroleum, LLC   301 NW 63rd St                        Ste 600                            Oklahoma City     OK       73116
TODD PARKER                                                           PO BOX 579                                                               LINDSAY           OK       73052
TODD PHILLIPS                                                         4500 W. YOST RD                                                          MULHALL           OK       73063
TODD PHILLIPS & TAMMY PHILLIPS HWJT                                   19980 N HWY 77                                                           MULHALL           OK       73063
TODD SLAWSON TRUST                                                    1675 BROADWAY SUITE 1600                                                 DENVER            CO       80202
TODD STEVENSON                                                        7658 DOUBLOON DR. SE                                                     GRAND RAPIDS      MI       49546-9115
TODD W & KIMBERLY D CUNDIFF HW JT                                     PO BOX 82                                                                RIPLEY            OK       74062-0082
TOLBERT ELLEDGE                                                       PO BOX 224                                                               PERRY             IL       62362
TOM ALDRIDGE                                                          3120 BIRCH AVE                                                           MAPLE PLAIN       MN       55359


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              CreditorName                   CreditorNoticeName                           Address1                          Address2                  Address3            City   State       Zip      Country
TOM ATEN                                                                 2053 MATTERN DR                                                                         OKLAHOMA CITY   OK      73118-1911
TOM BLALOCK                                                              3400 HARRIS DR                                                                          EDMOND          OK      73013-8017
TOM BRIDENSTINE                                                          10600 S COTTONWOOD RD                                                                   PERKINS         OK      74059-4540
TOM CLARK                                                                28378 E 750 RD                                                                          CRESCENT        OK      73028
TOM COUVILLION                                                           12724 CRESTMOOR CIRCLE                                                                  PROSPECT        KY      40059
TOM D BERRY                                                              PO BOX 518                                                                              STILLWATER      OK      74076-0518
TOM DENKER                                                               2109 S 30TH ST                                                                          ENID            OK      73701-8605
TOM DOOLEY                                                               16750 PRAIRIE BELL RD                                                                   OKMULGEE        OK      74447-8528
TOM DUNCAN                                                               24294 SOONER RD                                                                         PURCELL         OK      73080
TOM FINNEL                                                               717 IOWA ST                                                                             GOLDEN          CO      80401
TOM FINNELL                                                              453 S7 RD                                                                               MORRILL         NE      69358
TOM FORE                                                                 1410 Aldrich St.                                                                        Houston         TX      77055
TOM HANCE                                                                8912 S 198TH EAST AVE                                                                   BROKEN ARROW    OK      74014

TOM HEATH                                                                5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
TOM HUGHES                                                               15701 LARIAT                                                                            PERRY           OK      73077
TOM J WHITMORE                                                           PO BOX 154                                                                              MILFAY          OK      74046-0154
TOM KNISLEY                                                              22484 E 1080 RD                                                                         CLINTON         OK      73601
TOM L DUNN TRUST                                                         PO BOX 655                                                                              HAMPTON         AR      71744-0655
TOM MAJORS                                                               1106 N 4TH ST                                                                           PERRY           OK      73077-3604
TOM MAX MAYO                                                             9926 W WESTLAKES CT                                                                     WICHITA         KS      67205
TOM MCNEIL                                                               4071 EAST COUNTY RD 70                                                                  MULHALL         OK      73063
TOM MORING                                                               1002 ENTRANCE AVE                                                                       LEWISTON        MT      59457
TOM O. MONCRIEF 1967 TRUST                                               950 COMMERCE STREET                                                                     FORT WORTH      TX      76102-5418
TOM OLMSTEAD                                                             PO BOX 114                                                                              RIPLEY          OK      74062-0114

TOM P HEATH                                                              5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY        TX      75070
TOM POSTON                                                               702 HAYES ST                                                                            COUNCIL GROVE   KS      68846
TOM R & PRISCILLA KINNICK TR DTD 3-                                      903 GREYSTONE ST                                                                        STILLWATER      OK      74074
TOM SHIPPY                                                               22290 MARKET RD                                                                         PARMA           ID      83660
TOM SIMCO                                                                1530 DOLPHIN LN                                                                         NAPLES          FL      34102-1521
TOM SMITH                                                                12215 E 32ND AVE                                                                        STILLWATER      OK      74074-7083
TOM STELOVICH                                                            2302 N HIGH POINT CIR                                                                   WICHITA         KS      67205
Tom Valz                              c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX      75070
Tom Valz                              c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK      74104
Tom Valz                              c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY      10017
Tom Valz                                                                 7377 West Old Keystone Rd                                                               Cleveland       OK      74020
TOM WHEELER                                                              PO BOX 658                                                                              WINTER PARK     CO      80482
                                                                                                                       9211 Lake Hefner
Tom Deatherage                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Tom Deatherage                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Tom Deatherage                                                           101672 S 3290 Rd                                                                        Harrah          OK      73045
TOMA EXPLORATIONS LLC                                                    102 E HIGHLAND ST                                                                       SHAWNEE         OK      74801-6925
TOMARCO LTD                                                              PO BOX 1084                                                                             MIDLAND         TX      79702
TOMAS CHARLES PAYNE                                                      1111 N BOULEVARD                                                                        EDMOND          OK      73034
TOMAX DRILLING TECHNOLOGY LLC                                            4103 CHANCE LANE                                                                        ROSHARON        TX      77583
TOMCAT DRILLING LLC                                                      8301 E 21ST ST N STE 360                                                                WICHITA         KS      67206-2987
TOMLINSON ENERGY LLC                                                     PO BOX 20426                                                                            OKLAHOMA CITY   OK      73156
TOMMIE EDWARDS                                                           12414 W LEXUS CT                                                                        BOISE           ID      83713
TOMMIE LEE SULLIVAN TR                                                   PO BOX 32                                                                               MULHALL         OK      73063
TOMMIE RIEMAN                                                            22300 MAVERICK                                                                          MORRISON        OK      73061-9325
TOMMIE WHITE                                                             1504 TIFFANY CT                                                                         NEWCASTLE       OK      73065
TOMMY BAGGETT                                                            110 EATON DR                                                                            PERKINS         OK      74059
TOMMY BASLER                                                             400 BENCH ROAD                                                                          BONNERS FERRY   ID      83805-5234
TOMMY BRENT BOOZER                                                       2929 MARLBORO WAY                                                                       SAN RAMON       CA      94583
TOMMY CREAGER                                                            312 S MAIN APT F204                                                                     STILLWATER      OK      74074
TOMMY E & PATRICIA A ANKROM                                              PO BOX 35                                                                               MARSHALL        OK      73056-0035
TOMMY EMERSON                         c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                     Stillwater      OK      74074


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              CreditorName              CreditorNoticeName                        Address1                             Address2                  Address3            City    State       Zip      Country
TOMMY GILLIAM                                                       1937 N HWY 76                                                                           NEWCASTLE        OK      73065
TOMMY HABBEN                                                        2391 CUBERTSON ST                                                                       BARTLETT         TN      38134
TOMMY HINKLE                                                        2310 N OKLAOMA ST                                                                       TRYON            OK      74875
TOMMY HOWRY                                                         5605 N HWY 74                                                                           GARBER           OK      73738
TOMMY L & CHARLOTTE D SMITH                                         12201 E 32ND AVE                                                                        STILLWATER       OK      74074-7083
TOMMY L BARKER TRUST AGREEMENT                                      1513 98TH STREET NW                                                                     GROVE            OK      74344-4609
TOMMY L BOOZER                                                      5948 KIMBER AVENUE                                                                      BAKERSFIELD      CA      93307
TOMMY L SMITH                                                       12201 E 32ND STREET                                                                     STILLWATER       OK      74074
                                                                                                                  9211 Lake Hefner
Tommy L. Barnett                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                 c/o Laminack, Pirtle & Martines,
Tommy L. Barnett                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Tommy L. Barnett                                                    345779 E. Why 18 B                                                                      Sparks           OK      74869
TOMMY MASON                                                         259 SOUTHEAST 25TH ST                                                                   MOORE            OK      73160
TOMMY PALMER                                                        13008 OAK HOLLOW RD                                                                     OKLAHOMA CITY    OK      73120
                                                                                                                  9211 Lake Hefner
Tommy R. Fleming                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                 c/o Laminack, Pirtle & Martines,
Tommy R. Fleming                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Tommy R. Fleming                                                    222 N Harrison Ave                                                                      Cushing          OK      74023
TOMMY REINHARDT                                                     4850 E WATERLOO VALLEY DR                                                               ARCADIA          OK      73007-9508
TOMMY ROSE                                                          4919 W 80TH ST                                                                          STILLWATER       OK      74074-8183
TOMMY SMITH                                                         517 TIMBERLANE                                                                          STROUD           OK      74079-5023
TOMMY SYLVESTER                                                     PO BOX 64                                                                               MULHALL          OK      73063-0064
TOMMY THOMPSON                                                      1217 S 8TH ST                                                                           PONCA CITY       OK      74601
TOMMY THOMPSON                                                      5600 CYPRESSWOOD DR #319                                                                SPRING           TX      77379-8269
TOMMY WARD                                                          2411 N HALL NO.34                                                                       DALLAS           TX      75204
Tommy Weldon                     c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Tommy Weldon                     c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Tommy Weldon                     c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Tommy Weldon                                                        5420 S. Underwood                                                                       Yale             OK      74085
                                                                                                                  9211 Lake Hefner
Tommy Shoopman                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                 c/o Laminack, Pirtle & Martines,
Tommy Shoopman                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Tommy Shoopman                                                      516 N. Ford Ave                                                                         Stroud           OK      74079
TOMMYE WALTMAN                                                      1518 E. MAIN ST                                                                         CUSHING          OK      74023
TOMNET LLC                                                          47 FRONT DR                                                                             NEW MATAMORAS    OH      45767
TOMPC LLC                                                           2575 KELLEY POINT PKWY STE 340                                                          EDMOND           OK      73013
                                 c/o Elias Books Brown & Nelson                                                   Two Leadership        211 N Robinson, Ste.
TOMPC, LLC                       PC                                 Attn: L Vance Brown                           Square                1300                 Oklahoma City   OK      73102
TOMPC, LLC                                                          2575 Kelley Pointe Pkwy                                                                  Edmond          OK      73013
TOMS HOTSHOT SERVICE INC                                            PO BOX 1496                                                                              ELK CITY        OK      73648-1496
TONEY AUTREY                                                        2001 E 21ST                                                                              CLOVIS          NM      88101
TONI BRUMBAUGH                                                      770 CUMBERLAND AVE APT B4                                                                CHAMBERSBURG    PA      17201
TONI COLEMAN                                                        222 E 92ND                                                                               PERKINS         OK      74059
TONI HAM & CLYDE BUCKNER JT                                         25201 CR 180                                                                             PERRY           OK      73077
TONI HAM-BUCKNER                                                    25201 CR 180                                                                             PERRY           OK      73077
TONI SCHETTLER                                                      PO BOX 304                                                                               ADRIAN          MN      56110
TONI SUE RATHBUN                                                    222 W SHELL ST                                                                           GLENCOE         OK      74032-1475
TONI WALKER                                                         7500 S POTTAWATOMIE RD                                                                   NEWALLA         OK      74857
TONI WELDEN                                                         6115 AVERILL WAY APT A                                                                   DALLAS          TX      75225-3321
Tonia Colbert                    c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000            Dallas          TX      75070
Tonia Colbert                    c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400             Tulsa           OK      74104
Tonia Colbert                    c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                                New York        NY      10017
Tonia Colbert                                                       6900 West 57th St North                                                                  Tulsa           OK      74126
TONJA R BRANCART                                                    210 W COSTELLO RD                                                                        PITTSBURG       KS      66762
TONY B SUMPTER                                                      1606 E WILL ROGERS                                                                       STILLWATER      OK      74075-6940
TONY BARCLAY                                                        2185 VALHALLA DR                                                                         FRISCO          TX      75034-1079


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              CreditorName                  CreditorNoticeName                          Address1                            Address2                 Address3            City   State       Zip      Country
TONY BEERY                                                               8212 JACK RUSSELL CT                                                                   POWELL          TN      37849
TONY FRANK LANDRETH                                                      132 BLUE RIDGE DR                                                                      ELK CITY        OK      73644
TONY GOLIGHTLY                                                           PO BOX 281                                                                             COLLINSVILLE    TX      76233
TONY KEARNS                                                              301 NW 63RD ST                                                                         OKLAHOMA CITY   OK      73116
TONY KROLL                                                               2900 RYAN PLACE DR                                                                     FORT WORTH      TX      76110
TONY MAlASKA                                                             621 E BRADLEY AVENUE                                                                   PAULS VALLEY    OK      73075-2638
TONY MCENTIRE                                                            PO BOX 10056                                                                           HOUSTON         TX      77206-0056
TONY MCGUIRE                                                             2020 FRANKLIN RD                                                                       RUSSELLVILLE    KY      42276-9410
TONY MILLS                                                               PO BOX 580878                                                                          TULSA           OK      74158-0878
TONY PETERS                                                              14656 S TOLEDO                                                                         BIXBY           OK      74008
TONY PRICE                                                               4100 S YOUNGS BLVD.                                                                    OKLAHOMA CITY   OK      73119
TONY RECTOR                                                              322 KAREN AVE UNIT 4207                                                                LAS VEGAS       NV      89109-0457
TONY SPEARS                                                              2810 S PRAIRIE RD                                                                      STILLWATER      OK      74074-6109
TONY SUTTON                                                              633 STONEGATE CT                                                                       LAWRENCE        KS      66049
TONY WATSON                                                              1313 GRANDVIEW                                                                         BARTLESVILLE    OK      74006
                                                                                                                       9211 Lake Hefner
Tony Garcia                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Tony Garcia                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Tony Garcia                                                              110 SW 4th St                                                                          Jones           OK      73049
                                                                                                                       9211 Lake Hefner
Tony Lewis                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Tony Lewis                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Tony Lewis                                                               916 Pruett Dr                                                                          Edmond          OK      73003
TONYA CHARTERS                                                           705 BIRCH ST S                                                                         KIMBERLY        ID      83341-2111
TONYA CURE                                                               5201 SENAC DRIVE                                                                       METAIRIE        LA      70003
TONYA CURELL                                                             PO BOX 97                                                                              OKTAHA          OK      74450-0097
TONYA GRIFFIN                                                            PO BOX 64                                                                              BORGER          TX      79008-0064
TONYA KAY LONG-COTTON                                                    104 LONGLEA DRIVE                                                                      CLOVER          SC      29710
TONYA LAMBERT                                                            8466 ISLAND CIRCLE                                                                     FT WORTH        TX      76137-5924
TONYC PUMP SERVICE LLC                                                   26005 E. 295 RD                                                                        BIG CABIN       OK      74332
TONYDOT LLC                                                              8420 FAIRGROUNDS RD                                                                    STILLWATER      OK      74074-6178
TONY'S OILFIELD SERVICE                                                  PO BOX 335                                                                             YALE            OK      74085
TONY'S PUMP & SUPPLY                                                     PO BOX 554                                                                             KINGFISHER      OK      73750
TOOLS PLUS INC                                                           8417 W OWEN K GARRIOTT                                                                 ENID            OK      73703
TOOMEY OIL CO INC                                                        PO BOX 1090                                                                            TULSA           OK      74101

Toomey Oil Company, Inc.              c/o Levinson, Smith & Huffman PC Attn: Lee I Levinson                            1743 East 71st St                        Tulsa           OK      74136
Toomey Oil Company, Inc.                                               1126 S Frankfort Ave, Ste. 200                  PO Box 1090                              Tulsa           OK      74101
TOP BRASS OIL PROPERTIES                                               PO BOX 2767                                                                              LONG BEACH      CA      90801
TOP HAND FIELD SERVICES LLC                                            402 WEST 80TH STREET                                                                     STILLWATER      OK      74074
TOPGOLF USA OKC LLC                                                    13313 PAWNEE DR                                                                          OKLAHOMA CITY   OK      73114-1413

TOPOGRAPHIC LAND SURVEYORS OF OKLAH                                      1400 EVERMAN PARKWAY STE 146                                                           FORT WORTH      TX      76140
TORI GEE                                                                 ROUTE 1 BOX 179                                                                        COLONY          OK      73021-9753
TORI MICHELLE MOTE                                                       PO BOX 76                                                                              MAY             TX      76857
TORNADO ROYALTY LLC                                                      PO BOX 14735                                                                           OKLAHOMA CITY   OK      73113
TOTAL ENVIRONMENT INC                                                    16301 N ROCKWELL AVE BLDG A                                                            EDMOND          OK      73013-8907
TOTAL SAFETY U S INC                                                     PO BOX 974686                                                                          DALLAS          TX      75397
TOTAL VALVE SYSTEMS                                                      PO BOX 1959                                                                            BROKEN ARROW    OK      74013
TOTAL WELL SOLUTIONS LLC                                                 5727 S LEWIS, STE 550                                                                  TULSA           OK      74105
TOTAL WIRELESS DATA INC                                                  PO BOX 22663                                                                           OKLAHOMA CITY   OK      73123
TOWER ROYALTY COMPANY LLC                                                PO BOX 54338                                                                           OKLAHOMA CITY   OK      73154
TOWLE LIVING TRUST                                                       13304 BRIAR HOLLOW LN                                                                  OKLAHOMA CITY   OK      73170
TOWN AND GOWN THEATRE                                                    PO BOX 934                                                                             STILLWATER      OK      74076-0934
Town of Leedey                                                           619 South Main Street                                                                  Leedey          OK      73654
TOWN OF LEEDEY                                                           PO Box 337                                                                             LEEDEY          OK      73654
TOWN OF MARSHALL OKLAHOMA                                                PO BOX 240                                                                             MARSHALL        OK      73056


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TOWN OF MULHALL                                                          PO BOX 197                                                                             MULHALL         OK      73063
TOWN RIPLEY                                                              PO BOX 68                                                                              RIPLEY          OK      74062-0068
TOWNSDIN SUCCESSION TRUST                                                2300 NE 131ST ST                                                                       EDMOND          OK      73013-5730
TOWNSEND GLASS INC                                                       320 STEUBENVILLE AVE                                                                   CAMBRIDGE       OH      43725-2285
TOZZI MINERAL MANAGEMENT LLC                                             704 STONE MILL BLVD                                                                    YUKON           FL      73099
TPG WATERFORD LLC                                                        6300 WATERFORD BLVD                                                                    OKLAHOMA CITY   OK      73118-1140
TPS ENTERPRISES LLC                                                      5116 BISSONET #467                                                                     BELLAIRE        TX      77401
TR LEGAL EDISCOVERY                                                      4111 PERIMETER CENTER PLACE                                                            OKLAHOMA CITY   OK      73112
TRACE OSWALD                                                             20400 DEER HALLOW DR                                                                   EDMOND          OK      73012
TRACEY LENN JARVIS                                                       PO BOX 66                                                                              CAVE SPRINGS    AR      72718
TRACEY LUCKNER                                                           52 BELLEVUE AVENUE                                                                     SUMMIT          NJ      07901
                                                                                                                       9211 Lake Hefner
Traci Bussey                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Traci Bussey                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Traci Bussey                                                             2729 NW 187th Terr                                                                     Edmond          OK      73012
TRACI HAMLETT                                                            18514 E HAYWARD RD                                                                     COVINGTON       OK      73730
TRACI JILL BEENE                                                         505 N 19TH ST                                                                          COLLINSVILLE    OK      74021
TRACTBUILDER LLC                                                         1428 RIDGEWOOD                                                                         MAGNOLIA        TX      77354-5392
TRACY BARGER                                                             1644 LIANA LANE                                                                        CONCORD         CA      94519
TRACY BOYD                                                               PO BOX 893                                                                             LINCOLN         AR      72744
TRACY BROWNE                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
TRACY COLE                                                               PO BOX 3611                                                                            POST FALLAS     ID      83877
TRACY CRABTREE                                                           827 N EAST RIDGE DR                                                                    GUTHRIE         OK      73044
TRACY D & MITZI J HOOVER HW JTS                                          10781 BLUEWATER PASSAGE                                                                ROGERS          AR      72756
TRACY GAVINS                                                             4616 DEERFIELD DR.                                                                     EDMOND          OK      73034
TRACY J. GOODRICH                                                        10907 W. 71ST STREET                                                                   SHAWNEE         KS      62023
TRACY KOPP                                                               73 HAWLEY AVE                                                                          WEST DUNDEE     IL      60118
TRACY MAYFIELD                                                           25905 N TUMBLEWEED TRL                                                                 PAULDEN         AZ      86334-3450
                                                                                                                       9211 Lake Hefner
Tracy Neeley                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Tracy Neeley                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Tracy Neeley                                                             214 S. Jamestown Ave                                                                   Tulsa           OK      74112
TRACY NIENHUIS                                                           3205 N SPYGLASS CT                                                                     FLORENCE        AZ      85132
TRACY NORDHEIM                                                           103 BRUM CT                                                                            FOLSOM          CA      95630
TRACY NORDQUIST                                                          2406 W 9TH AVE                                                                         STILLWATER      OK      74074
TRACY PHILLIPS                                                           20242 N HWY 77                                                                         MULHALL         OK      73063
TRACY RANKIN                                                             31074 MARIES RD 424                                                                    BELLE           MO      65013
TRACY ROSS                                                               20 SUMMERWIND DR                                                                       GARDEN VALLEY   ID      83622-3600
TRACY WEBB                                                               6134 NW 7TH ST                                                                         LINCOLN         NE      68521
TRACY WEBB                                                               4106 E 62ND ST                                                                         TULSA           OK      74136
                                                                                                                       9211 Lake Hefner
Tracy Ligons                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Tracy Ligons                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Tracy Ligons                                                             1128 Carverdale Dr                                                                     Oklahoma City   OK      73117
TRADE RARE LLC                                                           PO BOX 624                                                                             CORSICANA       TX      75151-9004
TRAFIGURA AG                                                             BRANCH OFFICE HOUSTON                                                                  HOUSTON         TX      77010-4042
TRAIL LAND & ROYALTY COMPANY LLC                                         PO BOX 830                                                                             OKEENE          OK      73763
TRAILBLAZER CONSULTING LLC                                               6068 US HWY 98 STE 1223                                                                HATTIESBURG     MS      39402-8883
TRAMMEL FAMILY TRUST                                                     608 MAY APPLE WAY                                                                      VENICE          FL      34293-7250
TRANE US INC                                                             PO BOX 845053                                                                          DALLAS          TX      75284-5053
TRANSATLANTIC PETROLEUM (USA) CORP.                                      PO Box 246                                                                             ADDISON         TX      75001
TRANSOIL MARKETING, LLC                                                  PO BOX 6697                                                                            ABILENE         TX      79608
TRANSOM LLC                                                              PO BOX 27996                                                                           DENVER          CO      80227-0996
TRANSZAP INC                                                             DEPT 3597                                                                              DALLAS          TX      75312-3597
TRAVEL BY INACE INC                                                      4205 N WESTERN AVE                                                                     OKLAHOMA CITY   OK      73118
TRAVELERS                                                                PO BOX 3204                                                                            NAPERVILLE      IL      60566-7204


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                                                 ATTN: Chris Manuel, Commercial
Travelers Casualty and Surety Company of America Surety                            4650 Westway Park Blvd.                                                                Houston            TX      77041
TRAVIS BAGLEY                                                                      PO BOX 2                                                                               MULHALL            OK      73063
TRAVIS BALL                                                                        2501 NE DELAWARE                                                                       ENID               OK      73701
TRAVIS BARRETT                                                                     PO BOX 1209                                                                            DRIPPING SPRINGS   TX      78620
TRAVIS BATTLES                                                                     3300 East 3rd Avenue                                                                   STILLWATER         OK      74074
TRAVIS ESTUSWROS                                                                   383 E 4TH                                                                              DURANT             OK      74701-0430
TRAVIS GOETZ                                                                       RURAL ROUTE 1                                                                          BLUFFTON           AB      T0C 0M0      CANADA
TRAVIS HULET                                                                       21800 CR 160                                                                           PERRY              OK      73077
TRAVIS MCDANIEL                                                                    16233 EVERGLADE LANE                                                                   EDMOND             OK      73013-1269
TRAVIS MICHAEL MURRAY                                                              2562 HONEWOOD STREET, APT 213                                                          PONCA CITY         OK      74604
TRAVIS OAKES                                                                       5419 E HORSE RANCH RD                                                                  PERKINS            OK      74059-3804
TRAVIS PEARMAN                                   c/o White Star Petroleum, LLC     301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
TRAVIS SAMPLE                                                                      4925 GREENVILLE AVE STE 945                                                            DALLAS             TX      75206
TRAVIS SCOTT HOPFER                                                                12821 TREEMONT LANE                                                                    OKLAHOMA CITY      OK      73142
TRAVIS TILLEY                                                                      908 N PAROTTE                                                                          RIPLEY             OK      74062-6352
Travis, Steven                                   c/o White Star Petroleum, LLC     4615 W. Lakeview Rd                                                                    Stillwater         OK      74074
TRC CONSULTANTS LC                                                                 120 DIETERT AVE STE 100                                                                BOERNE             TX      78006
                                                                                   8505 TECHNOLOGY FOREST PLACE,
TRC ROD SERVICES OF OKLAHOMA                                                       SUITE 702                                                                              WOODLANDS          TX      77381-1206
Treasurer of Guam                               Unclaimed Property Division        590 S Marine Corps Dr                         GITC Building                            Tamuning           GU      96932
TREASURER STATE OF IOWA                                                            PO Box 10430                                                                           DES MOINES         IA      50306-0430
TREASURER STATE OF NEW HAMPSHIRE                                                   25 CAPITOL STREET ROOM 205                                                             CONCORD            NH      03301
TREASURY ALLIANCE GROUP LLC                                                        60 GREENWICH CT                                                                        LAKE BLUFF         IL      60044-1920
TREASURY STRATEGIES INC                                                            309 W WASHINGTON ST FL 11                                                              CHICAGO            IL      60606-3217
TREEHORN ROYALTY CO LLC                                                            3016 FINCHLEY LANE                                                                     OKLAHOMA CITY      OK      73120
TREES OIL COMPANY                                                                  3552 E DOUGLAS                                                                         WICHITA            KS      67208
TREGAN ENERGY PARTNERS LP                                                          200 CRESCENT COURT STE 1040                                                            DALLAS             TX      75201
TREK RESOURCES INC                                                                 4925 GREENVILLE AVE STE 915                                                            DALLAS             TX      75206-4021
TRELA MATTOCKS                                                                     2211 HAVENWOOD RD                                                                      PONCA CITY         OK      74604-2410
                                                                                                                                 9211 Lake Hefner
Trena McAlister                                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                                c/o Laminack, Pirtle & Martines,
Trena McAlister                                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Trena McAlister                                                                    1822 N. Linwood Ave                                                                    Cushing            OK      74023
TRENA STEBBINS                                                                     1452 N KOKOMO                                                                          DERBY              KS      67037
TRENT PARKINSON                                                                    2756 FAIRWOOD AVE                                                                      CARROLLTON         TX      75006
TRENT PRODUCTION CO PENSION PLAN                                                   1140 US HIGHWAY 287 NO 400-310                                                         BROOMFIELD         CO      80020
Trent, Amber                                    c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
TRENTON HERRMANN                                c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
TREPAGNIER FAMILY REV TR                                                           15701 GREENWOOD CIR                                                                    PIEDMONT           OK      73078
TREPAGNIER REV LVG TR DTD 10-8-98                                                  7501 W BRITTON RD APT 172                                                              OKLAHOMA CITY      OK      73132-1609
TREPCO ENERGY LLC                                                                  9320 NW EXPRESSWAY                                                                     YUKON              OK      73099-8346
TRES MANAGEMENT INC                                                                7011 N ROBINSON                                                                        OKLAHOMA CITY      OK      73116
TRESHA ARRINGTON                                                                   6419 SW 18TH ST                                                                        GUTHRIE            OK      73044-7953
TRESSA D COFFMAN                                                                   17845 VALLEY VIEW RD                                                                   EARLSBORO          OK      74840
TRESY GERMANY                                                                      2909 S BETHEL RD STE 1050                                                              STILLWATER         OK      74074
TREVA COLE BAILEY                                                                  308 W CEDAR                                                                            DUNCAN             OK      73533
TREVA CROCKER                                                                      716 W HARTWOOD                                                                         STILLWATER         OK      74075
TREVA LEPPKE                                                                       837 SW 40TH STREET                                                                     MOORE              OK      73160
TREVA LINT                                                                         2510 W LOUGHLIN DR                                                                     CHANDLER           AZ      85224
                                                                                                                                 9211 Lake Hefner
Treva M. Clark                                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                                c/o Laminack, Pirtle & Martines,
Treva M. Clark                                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Treva M. Clark                                                                     1815 N Jordan Ave                                                                      Oklahoma City      OK      73111
TREVA STONE                                                                        1114 E 3RD ST                                                                          SULPHUR            OK      73086-4011
TREVOR BURNELL                                                                     9611 SE 6TH ST                                                                         VANCOUVER          WA      98664-3517
TREVOR HOLLAND                                                                     PO BOX 30282                                                                           EDMOND             OK      73003


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TREVOR LYONS                                                             1519 SOUTH BALTIMORE                                                                    TULSA            OK       74119
TREVOR SCHULTZ                                                           301 NW 63RD STE 600                                                                     OKLAHOMA CITY    OK       73116
TREVOR SMITH                                                             2123 WEST 23RD STREET                                                                   STILLWATER       OK       74074
TREY J LESTER AND                                                        2106 E WILL ROGERS DR                                                                   STILLWATER       OK       74075
TREY RAYMER                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK       73116
TREY RESOURCES INC                                                       PO BOX 50272                                                                            MIDLAND          TX       79710-0272
TREY RESOURCES INC                                                       PO BOX 50272                                                                            MIDLAND          TX       79710-0272
Trey Resources, Inc.                  c/o The Rudnicki Firm              Attn: Leah T Rudnicki                         6305 Waterford Blvd   Ste. 325            Oklahoma City    OK       73118
Trey Resources, Inc.                                                     601 North Marienfeld                                                                    Midland          TX       79701
TREYCO LLC                                                               PO BOX 419                                                                              HENNESSEY        OK       73742
TRIAL RESOURCE LEGAL SYSTEMS                                             PO BOX 2012                                                                             OKLAHOMA CITY    OK       73101-2012
TRIANGLE A&E INC                                                         7201 N BROADWAY                                                                         OKLAHOMA CITY    OK       73116-9009
TRIANGLE ENGINEERING LLC                                                 13872 US HIGHWAY 183                                                                    HOBART           OK       73651-9720
TRIANGLE OIL PROPERTIES LLC                                              220 CARRIAGE WAY LN                                                                     ROSWELL          GA       30076
TRIANGLE ROYALTY CORP                                                    1019 WATERWOOD PKWY STE A                                                               EDMOND           OK       73034-5329
TRIANGULAR SLIT DIKE CO INC                                              18505 E HIGHWAY 66                                                                      LUTHER           OK       73054
TRICAN COMPLETION SOLUTIONS LLC                                          4529 BRITTMOORE RD                                                                      HOUSTON          TX       77041-8005
TRICIA BARR ARNOLD                                                       2412 COLONIAL PRKWY                                                                     FORT WORTH       TX       76109
TRICIA COTTINGHAM                                                        8231 E RANCHO VISTA DR                                                                  SCOTTSDALE       AZ       85251-1744
TRICIA DEE HEDIN                                                         1180 W 27TH AVE                                                                         EUGENE           OR       97405
TRICIA LAW DBA                                                           PO BOX 13768                                                                            OKLAHOMA CITY    OK       73113
TRIHYDRO CORPORATION                                                     1252 COMMERCE DR                                                                        LARAMIE          WY       82070-7000
TRI-LIFT SERVICES INC                                                    5325 N HWY 74 ST                                                                        CRESCENT         OK       73028
TRIMAN INC                                                               PO BOX 891323                                                                           OKLAHOMA CITY    OK       73189
TRINA DAVIS                                                              79890 ROAD 412                                                                          ARNOLD           NE       69120
TRINA FEKEN                                                              6409 S MAJOR RD                                                                         MULHALL          OK       73063
TRINA HESLEP                                                             PO BOX 27                                                                               CLARINGTON       OH       43915
TRINCHERA PRODUCTION COMPANY                                             PO BOX 61091                                                                            OKLAHOMA CITY    OK       73146
TRINI WHITBY                                                             304 AUSTIN RD 395                                                                       CAREY            ID       83320
TRINITY ENERGY LLC                                                       PO BOX 12                                                                               PRATT            KS       67124
TRINITY LAND AND MINERALS LP                                             309 WEST 7TH ST STE 500                                                                 FORT WORTH       TX       76102
TRINITY PUBLICATIONS                                                     PO BOX 140285                                                                           AUSTIN           TX       78714-0285
TRINITY SERVICES & CONSULTING LLC                                        PO BOX 1629                                                                             ENID             OK       73702
TRINITY VENTURES LLC                                                     PO BOX 758                                                                              ARDMORE          OK       73402
TRINOCO EXPLORATION INC                                                  321 SCENIC ACRES DR NW                                                                  CALGARY          AB       T3L 1T6      CANADA
TRIO PRODUCTION COMPANY LLC                                              1601 E 19TH ST                                                                          EDMOND           OK       73013-6620
TRIPCO INC                                                               PO BOX 21627                                                                            OKLAHOMA CITY    OK       73156-1627
TRIPLE 8 ENTERPRISES INC.                                                PO BOX 96677                                                                            OKLAHOMA CITY    OK       73143
TRIPLE B OILFIELD SERVICE INC                                            PO BOX 791                                                                              ELK CITY         OK       73648
TRIPLE J PRODCUTIONS INC                                                 1166 COUNTY STREET 2820                                                                 POCASSET         OK       73079
TRIPLE J WELL SERVICE CORP                                               PO BOX 191                                                                              HENNESSEY        OK       73742
TRIPLE T HOTSHOT                                                         PO BOX 1131                                                                             MUSTANG          OK       73064
TRIPLE TRANSPORT INC                                                     PO BOX 546                                                                              JUDSONIA         AR       72081
TRIPLETT LIVING TRUST DTD 1-14-1994                                      11695 TOPO LN                                                                           LAKESIDE         CA       92040
TRI-POINT O&G PROD SYSTEMS LLC                                           PO BOX 429                                                                              ELK CITY         OK       73648
TRISHA BAYS                                                              14338 FOX RD                                                                            ROGERS           AR       72756
                                                                                                                       9211 Lake Hefner
Trisha Jackson                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                      c/o Laminack, Pirtle & Martines,
Trisha Jackson                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
Trisha Jackson                                                           1304 Hisel Rd                                                                           Del City         OK       73115
TRISTA COLE                                                              908 CHARTRES CIR                                                                        EDMOND           OK       73034
TRI-STATE INDUSTRIAL GROUP LLC                                           7608 N HARVEY AVE                                                                       OKLAHOMA CITY    OK       73116-7715
TRISTATE SUPPLY INC                                                      1209 NORTH 30TH                                                                         ENID             OK       73701-2700
TRITON DATA SERVICES INC                                                 17171 PARK ROW, SUITE 320                                                               HOUSTON          TX       77084
TRITON HARDBANDING SERVICE LLC                                           PO BOX 6213                                                                             EDMOND           OK       73083-6213
TRITSCHLER REV FAMILY TR                                                 10801 W SOUTHGATE RD                                                                    ENID             OK       73073
TROCHTA'S FLOWERS & GARDEN CENTER                                        6700 N BORADWAY EXTN                                                                    OKLAHOMA CITY    OK       73116
TROGLIN TANK GAUGE SERVICES LLC                                          125 PRAIRIE HAWK LANE                                                                   BLANCHARD        OK       73010


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TRONOX LLC                                                               3301 NW 150TH ST                                                                       OKLAHOMA CITY      OK      73134
TROUT EXPLORATION LLC                                                    PO BOX 21826                                                                           OKLAHOMA CITY      OK      73120
TROY & NINA TOLAND REV TR 2-19-09                                        3215 N NORFOLK RD                                                                      CUSHING            OK      74023
TROY & VALERIE LOESCH FAMILY TRUST                                       7906 S 150TH ST                                                                        DOUGLAS            OK      73733
TROY ALEXANDER                                                           PO BOX 1388                                                                            KREBS              OK      74554-1388
TROY AND ANGIE LIPPARD JT                                                1102 W. Broadway                                                                       Enid               OK      73703
TROY BURSON                                                              2113 GARFIELD ST                                                                       WICHITA FALLS      TX      76309
TROY CARDIFF                                                             5326 ELGIN HILLS WAY                                                                   ANTELOPE           CA      95843
TROY COURTRIGHT                                                          9501 S UNION RD                                                                        STILLWATER         OK      74074-6346
TROY DAY                              c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK      74074
TROY ENMEIER                                                             410 S JACKSON                                                                          ENID               OK      73701
TROY F RINGWALD                                                          2479 STATE HWY 39                                                                      BLANCHARD          OK      73010
TROY FREEBORN                                                            1006 STONEGATE                                                                         WEATHERFORD        OK      73096
TROY GOODENOUGH                                                          2514 LOGAN CIR                                                                         COLORADO SPRINGS   CO      80907-6410
TROY HALL                                                                4910 HALEY LN                                                                          STILLWATER         OK      74074
TROY HARMON                                                              35355 SR 26                                                                            GRAYSVILLE         OH      45734
TROY HOXMEIER                                                            5852 MEZZANINE WAY                                                                     LONG BEACH         CA      90808
TROY HUDSON                                                              PO BOX 94                                                                              CORTEZ             CO      81321
TROY JAMES                                                               28630 E 760 RD                                                                         CRESCENT           OK      73028
TROY JOHNSTON                                                            1237 EASTGATE TERRACE                                                                  SALINA             KS      67401
TROY KARCHER                                                             1924 PINEHURST DR                                                                      PERRY              OK      73077
TROY LOESCH                                                              7906 S 150TH ST                                                                        DOUGLAS            OK      73733
TROY MANNING                                                             9000 E LONE CHIMNEY RD                                                                 GLENCOE            OK      74032
TROY MANNING                                                             9000 E. LONE CHIMNEY                                                                   GLENCOE            OK      74032-1006
TROY PENRY                                                               5331 BALTIMORE AVE                                                                     CHEVY CHASE        MD      20815-3749
TROY RALSTON                                                             25023 ALGOQUIN TRAIL                                                                   CULPEPPER          VA      22701
TROY RUSSELL FAGAN                                                       1314 ORLEANS AVENUE                                                                    ENID               OK      73701
TROY SIMONS                                                              9304 N WESTERN RD                                                                      STILLWATER         OK      74075
TROY W HABBEN                                                            PO BOX 554                                                                             GUTHRIE            OK      73044
TROYT L BANKS JR                                                         8075 N 2030 RD                                                                         LEEDEY             OK      73654
TRP MINERALS LLC                                                         4545 POST OAK PLACE, STE 240                                                           HOUSTON            TX      77027
TRS SERVICES INC                                                         13300 SW 29TH STREET                                                                   YUKON              OK      73099
Truck Transporter                     Truck Transporter                                                                                                         OKLAHOMA CITY      OK      73102
                                                                                                                       9211 Lake Hefner
Trudi Dillman-Smith                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Trudi Dillman-Smith                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Trudi Dillman-Smith                                                      3017 Elmwood Ave                                                                       Oklahoma City      OK      73116
TRUDIE HEAD                                                              1605 ROBERTS CT                                                                        CLEBURN            TX      76033
TRUE HOPE ENTERPRISES LLC                                                22130 TALBOT DR                                                                        PLAQUEMINE         LA      70764
TRUESDELL COMMERCIAL LLC                                                 19701 WINDING RIVER ROAD                                                               AMARILLO           TX      79119-7025
TRUEVINE OPERATING LLC                                                   PO BOX 1422                                                                            ADA                OK      74821-1422
TRUEVINE OPERATING LLC                                                   PO BOX 1422                                                                            ADA                OK      74821-1422
TRULA DAWSON                                                             PO BOX 111                                                                             COYLE              OK      73027-0111
TRUNK BAY ROYALTY PARTNERS LTD                                           PO BOX 671099                                                                          DALLAS             TX      75367-1099

TRUST A UNDER THE LWT OF GEORGE H M                                      1704 S OWASSO AVE                                                                      TULSA              OK      74120
TRUST AGREEMENT OF ORVAL N GAR                                           PO Box 2640                                                                            MIDLAND            TX      79702
TRUST AGRMT OF TIMOTHY R FAGAN                                           4924 HAMPTON CT                                                                        ENID               OK      73703

TRUST B UNDER THE LWT OF GEORGE H M                                      1704 S OWASSO AVE                                                                      TULSA              OK      74120
TRUST CREATED UWO FO AKIN DECD                                           PO BOX 276                                                                             LOVELAND           CO      80539
TRUST FBO MARY ELIZABETH WILLIAMS                                        9000 S VASSAR RD                                                                       COYLE              OK      73027
TRUSTEES OF CHURCH OF CHRIST RIPLEY                                      1624 E 3RD                                                                             STILLWATER         OK      74074-3908

TRUSTEES OF CHURCH OF GOD OF RIPLEY                                      PO BOX 158                                                                             RIPLEY             OK      74062-0185

TRUSTEES OF RIPLEY METHODIST CHURCH                                      6120 UNION RD                                                                          STILLWATER         OK      74074-8456
TRUTECH LLC                                                              155 WOOLCO DR                                                                          MARIETTA           GA      30062


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TRV INVESTMENTS LLC                                                   6608 N WESTERN AVE PMB 461                                              OKLAHOMA CITY   OK      73116
TRYON UTILITY AUTHORITY A PUBLIC TR                                   PO BOX 351                                                              TRYON           OK      74875
TS DUDLEY LAND COMPANY INC                                            5925 N ROBINSON AVE                                                     OKLAHOMA CITY   OK      73118-7452
TSA FAMILY LIMITED PARTNERSHIP                                        PO BOX 905                                                              GRANBURY        TX      76048-0905
TSIANINA JOHNSON                                                      PO BOX 1325                                                             EUFAULA         OK      74432-9998
TT TR FBO TERRY TRENT WILSON                                          1414 LONGS PEAK AVE                                                     LONGMONT        CO      80501
TTEES OF SAMPLE CEMETERY BOARD                                        PO BOX 372                                                              PERRY           OK      73077
TTEES OF THE HIGH PRAIRIE                                             PO BOX 441                                                              PERKINS         OK      74059
TUBECO SERVICE INC                                                    PO Box 850742                                                           Yukon           OK      73085
TUBOSCOPE                                                             1820 SE 4Oth STREET                                                     OKLAHOMA CITY   OK      73129
TUCKER CROSS INC                                                      12101 VICTORIA PL                                                       OKLAHOMA CITY   OK      73120-7021
TUG HILL ENERGY LLC                                                   1320 S. UNIVERSITY DR. SUITE 500                                        FORT WORTH      TX      76107
TULA RIPLEY PEREL                                                     613 SYCAMORE                                                            PAWNEE          OK      74058-4516
TULLOS OIL AND GAS INC                                                8809 LAKEHURST DR                                                       OKLAHOMA CITY   OK      73120

TULLY FOLDEN AND DEANA REA FOLDEN H                                   PO BOX 367                                                              RIPLEY          OK      74062-0367

TULSA ASSOCIATION OF PETROLEUM LAND                                   PO BOX 1342                                                             TULSA           OK      74101-1342
TULSA BOYS HOME INC                                                   PO BOX 258850                                                           OKLAHOMA CITY   OK      73125
TULSA ENERGY PARTNERS LLC                                             20 E 5TH STREET, STE 1203                                               TULSA           OK      74103
TULSA INVESTORS LLC                                                   6629 CHARLESWAY                                                         BALTIMORE       MD      21204-6810
TULSA MINERALS INC                                                    2921 W 120TH ST S                                                       JENKS           OK      74037-2889
TULSA ROYALTIES COMPANY                                               PO BOX 840350                                                           DALLAS          TX      75284-0350
TULSA SPCA                                                            7122 S SHERIDAN RD BOX 615                                              TULSA           OK      74133
TULWEST OIL AND GAS CO.                                               PO Box 700488                                                           TULSA           OK      74170
TURBULATOR CO LLC                                                     8705 GATEWAY TERR                                                       OKLAHOMA CITY   OK      73149-3063
TURK OIL & GAS LLC                                                    PO BOX 1588                                                             TULSA           OK      74101-1588
TURKEY CREEK PROPERTIES LLC                                           ROUTE 1 BOX 9                                                           TALOGA          OK      73667
TURM OIL LLC                                                          PO BOX 485                                                              PIEDMONT        OK      73078
TURNBOW KIKER                                                         PO BOX 1171                                                             JENKS           OK      74037
TURNCO INC                                                            PO Box 1240                                                             GRAHAM          TX      76450
TURNER OIL & GAS PROPERTIES INC                                       PO BOX 18329                                                            OKLAHOMA CITY   OK      73120-2035
TURNER RANCH LLC                                                      45151 S 347 RD                                                          PAWNEE          OK      74058
TURNER SIGNS (2009) LTD                                               #4, 4451 - 58th AVE SE                                                  CALGARY         AB      T2C 1Y3      CANADA
Turner, Taylor                        c/o White Star Petroleum, LLC   301 NW 63rd St                          Ste 600                         Oklahoma City   OK      73116
TUSCANY ENERGY LLC                                                    1127 NW 25TH ST                                                         OKLAHOMA CITY   OK      73106
TVC GROUP LLC                                                         5639 DOLIVER DRIVE                                                      HOUSTON         TX      77056
TVC INTERESTS LLC                                                     5639 DOLIVER DRIVE                                                      HOUSTON         TX      77056
TVC RESOURCES LLC                                                     5639 DOLIVER DRIVE                                                      HOUSTON         TX      77056
TVR TRANSPORTATION LLC                                                10717 BLUESTEM                                                          ENID            OK      73701
TWCHAPMAN LLC TERRANCE W CHAPMAN                                      16716 LITTLE LEAF LN                                                    EDMOND          OK      73012-0674
TWE MINERAL PARTNERSHIP LP                                            PO BOX 840738                                                           DALLAS          TX      75284-0738
TWETTEN FAMILY TRUST                                                  15643 VILLORESI WAY                                                     NAPLES          FL      34110-2713
TWILA BETH COSENTINO                                                  1007 KRISTEN CT                                                         DERBY           KS      67037
TWILA PRIESS                                                          8706 S PLEASANT VALLEY RD                                               COYLE           OK      73027-7002
TWILA TEDDER                                                          PO BOX 54386                                                            HURST           TX      76054-4386

TWISTER BACKOFF SERVICE COMPANY LLC                                   PO BOX 698                                                              HENNESSEY       OK      73742
TWM CAPITAL LP                                                        1700 TORREY PINES RD                                                    LA JOLLA        CA      92037-3736
TWT HERITAGE LLC                                                      1380 PEBBLE HILLS DR                                                    ROCKWALL        TX      75087
TWYLA BRIXEY FRENCH                                                   3920 BROWNWOOD LN                                                       NORMAN          OK      73072
TWYLA G ZORBA TTEE                                                    709 QUAIL CREEK DR                                                      PERRY           OK      73077
TWYLA LESLIE LEDESMA                                                  1126 SAUSALITO DRIVE                                                    WAUNAKEE        WI      53597

TWYLIA I WARLICK                                                      5900 SOUTH LAKE FOREST DR STE 300                                       MCKINNEY        TX      75070
TWYLLA STEER                                                          618 PAOPUA LOOP                                                         KAILUA          HI      96734-3534
TX RRIG RESOURCES LLC                                                 PO BOX 471192                                                           FORT WORTH      TX      76147-1192
TXCO LIQUIDATING TRUST                                                20663 CASTLE BEND DRIVE                                                 KATY            TX      77450
TXO CAPITAL LLC                                                       124 ROSE LN STE 404                                                     FRISCO          TX      75034-9107


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TXO RESOURCES                                                                          124 ROSE LN STE 404                                                                    FRISCO              TX    75034-9107
TXTAG                                                                                  PO BOX 650749                                                                          DALLAS              TX    75265-0749
                                                                                                                                     9211 Lake Hefner
Ty Anderson                                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK    73120
                                                    c/o Laminack, Pirtle & Martines,
Ty Anderson                                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX    77006
Ty Anderson                                                                            810 S Jardot Rd 58                                                                     Stillwater          OK    74074
TY FLEEMAN                                                                             6805 N ROSE RD                                                                         GLENCOE             OK    74032
TY FOWBLE                                                                              5110 PIONEER WAY                                                                       ANTIOCH             CA    94531
TYCON ENERGY CORPORATION                                                               PO BOX 1534                                                                            EDMOND              OK    73083-1534
TYE PARTNERSHIP LTD                                                                    3800 CREEK BEND ROAD                                                                   EDMOND              OK    73003
TYE SCHOEPFLIN                                                                         15421 W 44TH STREET                                                                    MULHALL             OK    73063
TYLER BEAVER                                                                           301 NW 63RD STE 600                                                                    OKLAHOMA CITY       OK    73116
TYLER BOYCE                                                                            108 SASSER CT                                                                          PERKINS             OK    74059-4156
TYLER ECKERT                                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City       OK    73116
TYLER EUBANK                                                                           5820 W 9TH ST                                                                          CUSHING             OK    74023-5802
TYLER HOGSETT                                                                          1918 W 152ND ST                                                                        PERKINS             OK    74059
TYLER JOE PATE                                                                         9606 S PRAIRIE ROAD                                                                    PERKINS             OK    74059
TYLER MOREY                                                                            2518 NW 67TH ST                                                                        OKLAHOMA CITY       OK    73116-4702
TYLER MROSKO                                                                           3104 CHELSEA PL                                                                        MIDLAND             TX    79705-2323
TYLER OIL & GAS LLC                                                                    PO BOX 291                                                                             JACKSON             MS    39205
TYLER OUTDOOR ADVERTISING LLC                                                          5101 S SHIELDS                                                                         OKLAHOMA CITY       OK    73129
TYLER PENROD                                                                           12601 S DUSTY                                                                          PERKINS             OK    74059
TYLER SELVEY & AMBER SELVEY HW JTS                                                     308 COLBY LANCE ST                                                                     STILLWATER          OK    74074
TYRON RODERICK                                                                         8805 S SANGRE RD                                                                       PERKINS             OK    74059
TYRONE REECE                                                                           3417 N UTAH AVE                                                                        OKLAHOMA CITY       OK    73112-3128
TYSON DUNHAM                                                                           1010 Hillcrest                                                                         Worland             WY    82401
TYTAN POLY SERVICES LLC                                                                PO BOX 416                                                                             PRAGUE              OK    74864
U.S. Department of the Interior, Buraue of Indian
Affairs                                                                                1849 C st., NW MS-4620-MIB                                                             Washington          DC    20240
U.S. Department of the Interior, Bureau of Land
Management                                                                             7906 E. 33rd Street                           Suite 101                                Tulsa               TX    74145-1352
UGGS ENERGY LLC                                                                        4925 GREENVILLE AVE SUITE 915                                                          DALLAS              TX    75206
UHS PREMIUM BILLING                                                                    PO BOX 959782                                                                          ST LOUIS            MO    63195-9782
UINTA PETROLEUM INC                                                                    PO BOX 720                                                                             LYMAN               WY    82937
ULTERRA DRILLING TECHNOLOGIES LP                                                       PO BOX 733586                                                                          DALLAS              TX    75373-3586
UNA OREJA LLC                                                                          PO BOX 101265                                                                          FORT WORTH          TX    76185
UNA STEPHENS                                                                           1325 AVANT                                                                             CLINTON             OK    73601

UNDER THE REV TRUST AGRMNT OF WENON                                                    1414 N WILDWOOD DR                                                                     STILLWATER          OK    74075-3835
UNGLACIATED INDUSTRIES INC                                                             PO BOX 537                                                                             WOODSFIELD          OH    43793
UNIT DRILLING COMPANY                                                                  8200 SOUTH UNIT DRIVE                                                                  TULSA               OK    74182-5300
UNIT DRILLING COMPANY                                                                  DEPT 247                                                                               TULSA               OK    74182
UNIT PETROLEUM COMPANY                                                                 PO BOX 702500                                                                          TULSA               OK    74132
UNITED BUILT HOMES LLC                                                                 2790 SOUTH THOMPSON SUITE 102                                                          SPRINGDALE          AR    72764
UNITED COOPERATIVE INC                                                                 PO BOX 190                                                                             MARSHALL            OK    73056-0190
UNITED DATA TECHNOLOGIES INC                                                           DEPT#0627                                                                              ORLANDO             FL    32885-0627
UNITED ENERGY LLC                                                                      PO BOX 3621                                                                            EDMOND              OK    73083

UNITED HEALTH CARE INSURANCE COMPAN                                                    22561 NETWORK PLACE                                                                    CHICAGO             IL    60673-1225
UNITED HEALTHCARE ATTN: MARIA CIPRI                                                    475 KILVERT STREET                                                                     WARWICK             RI    02886
UNITED METHODIST CHURCH CONFER                                                         1501 NW 24TH ST                                                                        OKLAHOMA CITY       OK    73106-3635
UNITED METHODIST CIRCLE                                                                1501 NW 24TH ST                                                                        OKLAHOMA CITY       OK    73106-3635
UNITED PARCEL SERVICE INC                                                              LOCKBOX 577                                                                            CAROL STREAM        IL    60132-0577
UNITED PRODUCTION COMPANY LLC                                                          1001 NW 139TH STREET PKWY                                                              EDMOND              OK    73013-9792
UNITED PROSPECTS LLC                                                                   PO BOX 14483                                                                           OKLAHOMA CITY       OK    73113
UNITED RENTALS (NORTH AMERICA) INC                                                     PO BOX 840514                                                                          DALLAS              TX    75284-0514
UNITED RENTALS INC                                                                     PO BOX 100711                                                                          ATLANTA             GA    30384-0711
UNITED RENTALS INC                                                                     4735 CAMERON ST                                                                        LAFAYETTE           LA    70506


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UNITED SERVICES LTD                                                   PO BOX 689                                                             WOODWARD            OK       73802
UNITED STATES GEOLOGICAL SURVEY                                       12201 SUNRISE VLY DR                                                   RESTON              VA       20192
UNITED STATES OF AMERICA                                              MCCLELLAN TR SAC AND FOX TRIBE                                         SHAWNEE             OK       74801-9005
UNITED STATES POSTAL SERVICE                                          301 W BRITTON ROAD                                                     OKLAHOMA CITY       OK       73113
UNITED STATES TREASURY                                                PO BOX 37945                                                           HARTFORD            CT       06176-7945
UNITED VAN LINES LLC                                                  22304 NETWORK PLACE                                                    CHICAGO             IL       60673-1223
UNITED VISION LOGISTICS                                               PO BOX 975357                                                          DALLAS              TX       75397-5357
UNITED WAY OF CENTRAL OKLAHOMA INC                                    PO Box 248919                                                          OKLAHOMA CITY       OK       73124-8919
UNITED WAY OF THE CONCHO VALLEY INC                                   955 TURNER ST                                                          SAN ANGELO          TX       76903-9327
UNITY SCHOOL OF CHRISTIANITY                                          PO BOX 61964                                                           NEW ORLEANS         LA       70161
UNIV OF TULSA - JAY P WALKER TR                                       PO BOX 1588                                                            TULSA               OK       74101
UNIVERSAL LAND SERVICES LLC                                           2409 S 51ST CT                                                         FORT SMITH          AR       72903
Universal Land Services LLC                                           2409 S 51St Ct                                                         Fort Smith          AR       72903
UNIVERSITY CHRISTIAN CHURCH                                           2720 SOUTH UNIVERSITY DRIVE                                            FORT WORTH          TX       76109
UNIVERSITY LANDS                                                      PO BOX 551                                                             MIDLAND             TX       79702
UNIVERSITY OF DALLAS                                                  1845 E NORTHGATE DRIVE                                                 IRVING              TX       75062
UNIVERSITY OF OKLAHOMA                CAREER SERVICES                                                                                        NORMAN              OK       73019-4057
UNIVERSITY OF OKLAHOMA FDN INC                                        100 TIMBERDELL RD                                                      NORMAN              OK       73019
UNIVERSITY OF OKLAHOMA FOUNDATION I                                   100 TIMBERDELL RD                                                      NORMAN              OK       73019-0685
UNIVERSITY OF TULSA                                                   PO BOX 1588                                                            TULSA               OK       74101
UNIVESTORS LLC                                                        PO Box 3009                                                            GREENWOOD VILLAGE   CO       80155
UPCO INC                                                              PO BOX 732182                                                          DALLAS              TX       75373-2182
UPLAND EXPLORATION INC                                                424 S MAIN ST                                                          BOERNE              TX       78006-2338
UPS GROUND FREIGHT INC                                                PO BOX 650690                                                          DALLAS              TX       75265-0690
UPS SUPPLY CHAIN SOLUTIONS INC                                        28013 NETWORK PLACE                                                    CHICAGO             IL       60673
UPSHER 1976 TRUST                                                     381 W RIO ALTAR                                                        GREEN VALLEY        AZ       85614-3941
Upton, Jacky                          c/o White Star Petroleum, LLC   4615 W. Lakeview Rd                                                    Stillwater          OK       74074
URBAN CONSTRUCTION                                                    6 MALLORY LANE                                                         SAN ANTONIO         TX       78257
URBAN IMPACT                                                          15360 KNOX WAY                                                         RICHMOND            BC       V6V 3A6      CANADA
URBAN OIL & GAS GROUP LLC                                             PO BOX 650823                                                          DALLAS              TX       75265
URBAN OIL CONSULTANTS LLC                                             950 N COLLIER BLVD STE 400                                             MARCO ISLAND        FL       34145
URLAND GULF LLC                                                       14724 480TH AVENUE                                                     MILBANK             SD       57252
URSULA ARN                                                            1011 BRIOSO DR STE 201                                                 COSTA MESA          CA       92627-4543
US BANK                                                               PO BOX 70870                                                           ST PAUL             MN       55170-9690
US ENERGY DEVELOPMENT CORPORA                                         2350 N FOREST RD STE 7A                                                GETZVILLE           NY       14068-1558

US ENERGY DEVELOPMENT CORPORATION                                     2350 N FOREST RD                                                       GETZVILLE           NY       14068

US ENERGY DEVELOPMENT CORPORATION                                     2350 N FOREST RD STE 7A                                                GETZVILLE           NY       14068-1558
US FISH AND WILDLIFE SERVICE                                          PO BOX 1306                                                            ALBUQUERQUE         NM       87103-1306
U-S OIL TOOLS INC                                                     PO BOX 567                                                             WOODWARD            OK       73802
US PETROLEUM INC                                                      PO BOX 306                                                             STILLWATER          OK       74076-0306
                                      OFFSHORE OPERATIONS -
US STEEL OILWELL SERVICES             HOUSTON                                                                                                DALLAS              TX       75284-4532
US TANK TRUCKS INC                    ATTN: STEVE CROWDER                                                                                    DRUMRIGHT           OK       74030-1155
US TREASURY FAO ADW PETROLEUM LP                                      PO BOX 145566                                                          CINCINNATI          OH       45250-5566
US TREASURY FAO VECSES LLC                                            PO BOX 8208                                                            PHILADELPHIA        PA       19101-8208
USA COMPRESSION                                                       PO Box 974206                                                          Dallas              TX       99999
USDA SERVICE AGENCY                                                   1216 W WILLOW RD STE C                                                 ENID                OK       73703
Ussery, Joseph                        c/o White Star Petroleum, LLC   301 NW 63rd St                         Ste 600                         Oklahoma City       OK       73116
UTA FRANK DENNIS MARITAL TRUST                                        413 PRYOR DRIVE                                                        LINDSEY             OK       73052
                                                                                                             168 N 1950 W Suite
UTAH STATE TREASURER                  Treasurers Office               Unclaimed Property Division            102                             Salt Lake City      UT       84116
UTAH STATE TREASURER                                                  PO BOX 142321                                                          SALT LAKE CITY      UT       84114-2321
UTICA LAND SERVICES LLC                                               3232 WEST BRITTON RD STE 200                                           OKLAHOMA CITY       OK       73120
UTILITY REBATE CONSULTANTS INC                                        2526 EAST 71ST ST SUITE E                                              TULSA               OK       74136-5531
UTW OF GEORGE C VANCE                                                 1036 ANACAPA ST                                                        SANTA BARBARA       CA       93101
V A BUESCHER ESTATE DECD                                              601 BURLISON                                                           SMITHVILLE          TX       78957
V DON AND FERN C LUSTER                                               8500 S SANGRE RD                                                       STILLWATER          OK       74074-8195


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V ELAINE BARNES                                                          PO BOX 505                                                                             MIDLAND          TX    79702
V LEE VINYARD REV INTERVIVOS TR                                          5517 BAYLOR DR                                                                         BARTLESVILLE     OK    74006-8808
V NITA K DURANT REV TRUST                                                18011 W WESTPARK BLVD                                                                  SURPRISE         AZ    85388

V ROBERT KERR TESTAMENTARY TRUST FB                                      4348 GREENWOOD RD                                                                      WEATHERFORD      TX    76088
VACIA WILKES                                                             6515 E 116TH ST                                                                        PERKINS          OK    74059-3728
VADEN THOMSON                                                            14 E VIA VERDE ST                                                                      WICHITA          KS    67230

VAL GUELZOW                           WASHOE CO PUBLIC GUARDIAN                                                                                                 RENO             NV    89510
                                                                                                                       9211 Lake Hefner
Valarie E. Howard                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                      c/o Laminack, Pirtle & Martines,
Valarie E. Howard                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Valarie E. Howard                                                        4049 N. Kings Row                                                                      Oklahoma City    OK    73121
VALARIE SHIPPY                                                           2380 LOWERPOND LANE                                                                    HOMEDALE         ID    83628
VALARY VOYLES                                                            2681 WEDGEWOOD DR., UNIT 103                                                           BONITA SPRINGS   FL    34134

VALENTIS OK ENERGY LLC                                                   14313 NORTH MAY AVENUE SUITE 100                                                       OKLAHOMA CITY    OK    73134-5038
VALERIA LEWIS                                                            1102 DALTON COURT                                                                      ENID             OK    73703
VALERIE ALLMENDINGER                                                     526 1ST AVENUE SOUTH #421                                                              SEATTLE          WA    98104
VALERIE BRANSON                                                          PO BOX 1278                                                                            GUTHRIE          OK    73044
Valerie Branyan                       c/o Keith A. Ward, PLLC            Attn: Keith A Ward                            1874 S Boulder                           Tulsa            OK    74119
Valerie Branyan                       c/o Poynter Law Group              Attn: Scott E Poynter                         400 W Capitol Ave    Ste. 2910           Little Rock      AR    72201
                                      c/o Steel Wright Gray & Hutchinson
Valerie Branyan                       PLLC                               Attn: Nate Steel                              400 W Capitol Ave    Ste. 2910           Little Rock      AR    72201
Valerie Branyan                       c/o Watson & Watson                Attn: Charles D Watson Jr.                    PO Box 647           141 E Broadway St   Drumright        OK    74030
Valerie Branyan                       c/o Weitz & Luxenberg, PC          Attn: Curt D Marshall                         700 Broadway                             New York         NY    10003
Valerie Branyan                                                          1118 9th St                                                                            Cushing          OK    74023
VALERIE LAUER                                                            329 SILVERADO CT                                                                       DANVILLE         CA    94526
VALERIE LOESCH                                                           7906 S 150TH ST                                                                        DOUGLAS          OK    73733
VALERIE LOESCH INTERVIVOS TRUST                                          7906 S 150TH ST                                                                        DOUGLAS          OK    73733
VALERIE LUKENS                                                           25240 SOUTH 605 TRAIL                                                                  TRAIL GROVE      OK    74344
VALERIE MOORE                                                            1202 TAYLOR ST                                                                         OREGON CITY      OR    97045
VALERIE POSTON                                                           1120 6TH ST W                                                                          KALISPEL         MT    59901
VALERIE ROSS                                                             6001 E LAKEVIEW                                                                        STILLWATER       OK    74075
VALERIE SCHAFFART                                                        7603 N 101ST PLAZA                                                                     OMAHA            NE    68122-1037
VALERIE VOGT                                                             2050 LARIAT                                                                            PERRY            OK    73077
VALERIE WHITE                                                            15411 GUADALUPE SPRINGS LN                                                             CYPRESS          TX    77429-6428
VALERUS FIELD SOLUTIONS LP                                               PO BOX 847192                                                                          DALLAS           TX    75284-7192
VALLEY HAGERS                                                            11508 BROADMOOR DR                                                                     DALLAS           TX    75218-2048
VALLEY TRANSPORT LLC                                                     PO BOX 428                                                                             PERKINS          OK    74059-0428
VALLIANCE BANK                                                           1601 NW EXPRESSWAY                                                                     OKLAHOMA CITY    OK    73118
VALPOINT OPERATING LLC                                                   600 S TYLER ST STE 1701                                                                AMARILLO         TX    79101-2372
VALVE SALES INC                                                          PO BOX 57003                                                                           OKLAHOMA CITY    OK    73157
VALYNDA EWTON                                                            4924 BRIARWOOD PL                                                                      DALLAS           TX    75209
VAM LIVING TRUST                                                         PO BOX 30961                                                                           EDMOND           OK    73003-0961
VAM USA LLC                                                              19210 E HARDY RD                                                                       HOUSTON          TX    77073
Van Doren, Benjamin                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City    OK    73116
VAN MOON                                                                 2007 SPREADING OAKES LANE                                                              RICHMOND         TX    77406
VAN OIL CO                                                               306 W 7TH ST STE 445                                                                   FORT WORTH       TX    76102
VAN ZANT OIL COMPANY                                                     306 W 7TH ST STE 445                                                                   FORT WORTH       TX    76102-4905
VANBEBBER FAMILY REV LVG TRUST                                           9151 MEADOW LN                                                                         FRISCO           TX    75033
VANCE BROACH                                                             290 IVEN AVE APT 3C                                                                    ST DAVIDS        PA    19087-4906
VANCE JEROME & CARLA SUE HAMMER                                          PO BOX 118                                                                             MARSHALL         OK    73056
VANCE MALL                                                               3301 EDENVALE RD                                                                       FAIRFAX          VA    22031
VANDERBILT MORTGAGE & FIN INC                                            PO BOX 4098                                                                            MARYVILLE        TN    37802-9800
VANELL OIL & GAS LP                                                      3838 OAK LAWN AVE STE 1600                                                             DALLAS           TX    75219
                                                                                                                       9211 Lake Hefner
Vanessa Brown                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120


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                                      c/o Laminack, Pirtle & Martines,
Vanessa Brown                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Vanessa Brown                                                            625 North Depot Ave                                                                     Cushing          OK      74023
                                                                                                                       9211 Lake Hefner
Vanessa D. Hogg                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Vanessa D. Hogg                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Vanessa D. Hogg                                                          500 N. Kate Ave                                                                         Oklahoma City    OK      73117
VANESSA E TILBURY                                                        750 W ASH ST                                                                            LEBANON          OR      97355
VANESSA FUKSA                                                            12413 S 54TH ST                                                                         WAUKOMIS         OK      73773
Vanessa Hall-Harper                   c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Vanessa Hall-Harper                   c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Vanessa Hall-Harper                   c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Vanessa Hall-Harper                                                      2020 West Newton St                                                                     Tulsa            OK      74127
VANESSA RUSSELL                                                          259 N FLORENCE                                                                          WICHITA          KS      67212
VANESSA ZAMBO                                                            22114 W 70TH ST                                                                         SHAWNEE          KS      66226-3556
VANGUARD NATURAL RESOURCES LLC                                           5847 SAN FELIPE ST STE 3000                                                             HOUSTON          TX      77057-3399
VANGUARD OPERATING LLC                                                   5847 SAN FELIPE, SUITE 3000                                                             HOUSTON          TX      77057
VANN COMPANY                                                             5639 DOLIVER DR                                                                         HOUSTON          TX      77056
VANN ROYALTY LLC                                                         5639 DOLIVER DR                                                                         HOUSTON          TX      77056
VANTAGE EXPLORATION LLC                                                  PO BOX 1673                                                                             DENVER           CO      80201
VANTAGE RESOURCES CO LLC                                                 PO BOX 1673                                                                             DENVER           CO      80201
VANTURE INVESTMENTS LLC                                                  14860 MONTFORT DRIVE SUITE 205                                                          DALLAS           TX      75224
VAREL INTERNATIONAL                                                      PO BOX 201900                                                                           DALLAS           TX      75320-1900
VASILIY FOMENKO                                                          3120 E 2ND AVE                                                                          STILLWATER       OK      74074
VASSAR CHURCH INC                                                        PO BOX 28                                                                               MULHALL          OK      73063
VASTAR RESOURCES INC                                                     PO BOX 277897                                                                           ATLANTA          GA      30384
VATEX HOLDINGS LLC                                                       1204 WEST 7TH ST, STE 200                                                               FORT WORTH       TX      76102
VAUGHN DANIEL YEAGER                                                     117 WILD OLIVE LANE                                                                     LAGUNA VISTA     TX      78578
VAUGHN GROOM                                                             PO BOX 2409                                                                             BURLESON         TX      76097
VAUGHN SHAW                                                              5917 MARGARET CT.                                                                       BAKERSFIELD      CA      93306-9714
VCRS PROPERTIES LLC                                                      621 N ROBINSON, SUITE 100                                                               OKLAHOMA CITY    OK      73102
VECSES LLC                                                               2801 NW 57TH ST                                                                         OKLAHOMA CITY    OK      73112
VECTOR AIRPORT SYSTEMS LLC                                               PO BOX 845260                                                                           LOS ANGELES      CA      90084-5260
VEDA KENNEDY                                                             2924 BRUSH CREEK RD                                                                     OKLAHOMA CITY    OK      73120
VEENKER RESOURCES INC                                                    PO BOX 14339                                                                            OKLAHOMA CITY    OK      73113-0339

VEENKER RESOURCES INC PROFIT SHARIN                                      PO BOX 14339                                                                            OKLAHOMA CITY    OK      73113
VEGA AMERICAS INC                                                        LOCATION 0162                                                                           CINCINNATI       OH      45264-0162
VEJA INC                                                                 PO BOX 21210                                                                            OKLAHOMA CITY    OK      73156
VELDON C ZOLLINGER 2009 REV LVG TR                                       507 CIMARRON TRAIL                                                                      CRESCENT         OK      73028
VELMA ANTHONY                                                            1021 RANDOM ROAD                                                                        PRATT            KS      67124
VELMA COFFEY EST                                                         5829 AVENIDA LA BARRANCA NW                                                             ALBUQUERQUE      NM      87114-4823
VELMA DAVIS                                                              PO BOX 171                                                                              MACCOMB          OK      74852-0171
VELMA FEENY                                                              797 BIRCH AVE                                                                           KELOWNA          BC      V1Y 5H3      CANADA
                                                                                                                       9211 Lake Hefner
Velma Glover                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
Velma Glover                          c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                        Los Angeles      CA      90017
Velma Glover                                                             312 Viking Dr                                                                           Guthrie          OK      73044
VELMA HOLLEN                                                             14205 COUNTY RD CC                                                                      PLEASANT VIEW    CO      81331
VELMA KOTTKE BARNARD                                                     8 BROOKRIDGE                                                                            SHAWNEE          OK      74804-9518
VELMA LORENE STEWART                                                     19017 N WESTERN                                                                         MULHALL          OK      73063
VELMA MCKINNEY                                                           4613 WEST TOLEDO STREET                                                                 BROKEN ARROW     OK      74012
VELMA S PISHEL FAMILY TRUST                                              1638 S CARSON #501                                                                      TULSA            OK      74119
VELMA SASSER                                                             123 W HARRISON AVE 1                                                                    GUTHRIE          OK      73044
VELMA SUE HARDY REV LVG TRUST                                            PO BOX 855                                                                              OKLAHOMA CITY    OK      73101-0855
VELMA WARD PROHASKA                                                      PO BOX 1856                                                                             BOISE            ID      83701
                                                                                                                       9211 Lake Hefner
Velma Davis                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120


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                                      c/o Laminack, Pirtle & Martines,
Velma Davis                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Velma Davis                                                              1801 NE 48th St                                                                        Oklahoma City      OK      73111
VELOCITY DATABANK INC                                                    1304 LANGHAM CREEK DR STE 498                                                          HOUSTON            TX      77084-5044
VELTMAN FAMILY TRUST                                                     10475 WILSHIRE BLVD #405                                                               LOS ANGELES        CA      90024
VELVA ARGUELLO                                                           5425 Kinder St.                                                                        Farimont City      IL      62201
VELVA GOLDEN LEVINE                                                      109 N POST OAK LN STE 350                                                              HOUSTON            TX      77024-7769
VELVA GRELL                                                              568 3RD AVE N                                                                          CLINTON            IA      52732
VELVA PETERMAN WITTEN ESTATE                                             6600 TELEPHONE RD APT 1207                                                             VENTURA            CA      93003
VEMAR LLC                                                                206 WYMBERLY RD                                                                        ST SIMONS ISLAND   GA      31522
VENA S WEATHERS REVOCABLE TRUST                                          1123 N RANGE RD                                                                        STILLWATER         OK      74075
VENABLE ROYALTY LTD                                                      PO BOX 171                                                                             TYLER              TX      75710-0171
VENABLES REAL ESTATE LLC                                                 7410 CONTINENTAL PKWY                                                                  AMARILLO           TX      79119-6740
VENADO EXPLORATION LLC                                                   4237 GOODFELLOW DR                                                                     DALLAS             TX      75229
VENEGAS CONSTRUCTION LLC                                                 PO BOX 260074                                                                          CORPUS CHRISTI     TX      78426-0074
VENETA ARRINGTON                                                         PO BOX 1958                                                                            STILLWATER         OK      74076
VENETA BERRY ARRINGTON REV TR                                            PO BOX 1958                                                                            STILLWATER         OK      74076

VENETA BERRY ARRINGTON REVOCABLE TR                                      PO BOX 1747                                                                            STILLWATER         OK      74076-1747
VENICE PETROLEUM                                                         121 NE 52ND STREET STE 245                                                             OKLAHOMA CITY      OK      73105-1814
VENTURE INVESTMENTS LLC                                                  14860 MONTFORT DRIVE SUITE 205                                                         DALLAS             TX      75254
VENTURE TECHNOLOGIES                                                     PO BOX 936810                                                                          ATLANTA            GA      31193-6810
VERA A CARR                                                              PO BOX 800                                                                             GOLDENDALE         WA      98620
VERA ATKINSON                                                            404 GATEWOOD DR                                                                        WHITEHOUSE         TX      75791
VERA BILYEU                                                              2006 N CRESENT DR                                                                      STILLWATER         OK      74075-2801
VERA GIBSON                                                              2467 E LENOX CT                                                                        EAGLE              ID      83616-6666
VERA HARPER                                                              5316 E CR 69                                                                           MULHALL            OK      73063
VERA L RENNER                                                            PO BOX 514                                                                             MEETEETSE          WY      82433
VERA LYNN COTHERN LIVING TRUST                                           13417 SILVER MEADOWS RD                                                                JONES              OK      73049
VERA MATHISON                                                            PO BOX 109                                                                             AUGUSTA            MT      59410-0109
VERA PRESTON JAEGER                                                      117 KAELEPULU DR                                                                       BASTROP            TX      78602-7221
VERA REEDY                                                               103 LEGEND CREEK DRIVE                                                                 CANTON             GA      30114
VERA REEDY                                                               267 PIER AVE                                                                           PISMO BEACH        CA      93449-2037
VERA STOCKTON                                                            105 TOBIN CT                                                                           VALLEJO            CA      94590
                                                                                                                       9211 Lake Hefner
Vera Stricklin                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Vera Stricklin                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Vera Stricklin                                                           1130 E Broadway St                                                                     Cushing            OK      74023
VERA SWANK                                                               RT 2 BOX 209                                                                           LEHI               UT      84043
                                                                                                                       9211 Lake Hefner
Vera Williams- Cole                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Vera Williams- Cole                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Vera Williams- Cole                                                      508 Wild Meadow Dr                                                                     Edmond             OK      73003
VERBA JANE VCULEK                                                        118 WOODLAND AVE                                                                       RITTMAN            OK      44270
VERBIA UNRUH REVOCABLE TRUST                                             12105 E PHILLIPS AVE                                                                   ENID               OK      73701
VERDA FLANAGAN                                                           3060 NE MCWILLIAMS RD TRLR 127                                                         BREMERTON          WA      98311
VERDEN LAND INC                                                          PO BOX 6204                                                                            EDMOND             OK      73083-6204
VERITAS ENERGY LLC                                                       PO BOX 10850                                                                           FORT WORTH         TX      76114
VERITEXT CORP                                                            PO BOX 71303                                                                           CHICAGO            IL      60694-1303
VERIZON                                                                  PO BOX 15124                                                                           ALBANY             NY      12212-5124
VERIZON SOUTHWEST                                                        PO BOX 920041                                                                          DALLAS             TX      75392-0041
VERIZON WIRELESS                                                         PO BOX 660108                                                                          DALLAS             TX      75266-0108
Verizon Wireless                                                         600 Hidden Ridge                                                                       Irving             TX      75038
VERL MCLEMORE                                                            8717 S BRUSH CREEK                                                                     STILLWATER         OK      74074
VERL PLAIN                                                               13586 N HIGHWAY 77                                                                     MULHALL            OK      73063
VERLA M BALDRIDGE                                                        28601 AVENUE 21                                                                        MADERA             CA      93637
VERLE MOORE                                                              ROUTE 1, BOX 16A                                                                       TALOGA             OK      73667


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VERLIN DAY                                                             PO BOX 191                                                                              VICI              OK       73859-0191
VERLIN HART                                                            760344 SOUTH 3410 ROAD                                                                  AGRA              OK       74824-8448
VERLON ROGGOW                                                          7424 E FORT WORTH ST                                                                    BROKEN ARROW      OK       74014-6999
VERLYN THOMSEN                                                         ROUTE 2, BOX 76                                                                         TALOGA            OK       73667
VERMONT STATE TREASURER                                                PAVILION BUILDING                                                                       MONTPELIER        VT       05609-6200
Vermont State Treasurers Office     Unclaimed Property Division        109 State Street                                                                        Montpelier        VT       05609-6200
VERN LOUIS VANBEBBER                                                   339817 E 980 RD                                                                         CHANDLER          OK       74834-8576
VERNA ALLEN                                                            PO BOX 213                                                                              GLENCOE           OK       74032
VERNA BATEMAN                                                          116 VIOLA AVE                                                                           PONCA CITY        OK       74601
VERNA BERG DECEASED                                                    625 HOPKINS ROAD                                                                        SANDPOINT         ID       83864
VERNA ERLENE ROBERTSON REV TRUST                                       5900 S LAKE FOREST DR STE 300                                                           MCKINNEY          TX       75070
VERNA GALE POE                                                         1805 ROCKY MOUNTAIN WAY                                                                 EDMOND            OK       73003
Verna Haines                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX       75070
Verna Haines                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK       74104
Verna Haines                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY       10017
Verna Haines                                                           705 Oak Ridge Dr                                                                        Sand Springs      OK       74063
VERNA MCMAINS                                                          PO BOX 245                                                                              ANIMAS            NM       88020
VERNA POLLACK                                                          204 W VAN BUREN ST                                                                      BROKEN ARROW      OK       74011-6638
VERNABELLE DUGAN                                                       1835 N BARRINGTON DR                                                                    FAYETTEVILLE      AR       72701-3059
VERNE KNOX                                                             13300 S ROCKWELL                                                                        EDMOND            OK       73003
VERNE MILLER                                                           4403 AVENIDA ESTRELLITA NE                                                              ALBUQUERQUE       NM       87110
                                                                                                                     9211 Lake Hefner
Vernice Smith                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120
                                    c/o Laminack, Pirtle & Martines,
Vernice Smith                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
Vernice Smith                                                          1540 N. Frankfort                                                                       Tulsa             OK       74106
VERNON & SHERRY FICKEN REV LVG TR                                      2808 KENSINGTON TERR                                                                    EDMOND            OK       73013
VERNON BAY                                                             22126 TWIN LAKES WEST                                                                   PERRY             OK       73077

VERNON BRYANT                                                          5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY          TX       77505
VERNON BUCKLES                                                         PO BOX 154                                                                              RIPLEY            OK       74062-0154
VERNON G AVANTS                                                        4506 N GREENVALE CIR                                                                    STILLWATER        OK       74075
VERNON HEATH                                                           2322 LAKEWOOD RD                                                                        JEFFERSON CITY    MO       65109-9113
VERNON HEWITT                                                          2811 RAINTREE CIRCLE                                                                    NORMAN            OK       73072
VERNON HOWELL                                                          34931 HOWELL RD                                                                         GRAYSVILLE        OH       45734-9022
VERNON JOBE                                                            1165 FERGUSON RD                                                                        GLOSTER           LA       71030
VERNON L HALL                                                          5204 SPRING CREEK CR E                                                                  STILLWATER        OK       74074
VERNON MCGUIRE                                                         4116 NW 144TH TER                                                                       OKLAHOMA CITY     OK       73134-1709
VERNON MORRIS                                                          104 WINDSWEPT DRIVE                                                                     FREDERICKSBURG    VA       22407-1357
VERNON O BOYCE                                                         840882 SOUTH 3430 ROAD                                                                  CHANDLER          OK       74834
VERNON ORA HOLZER ESTATE DECD                                          PO BOX 1291                                                                             FAIRBANKS         AK       99707
VERNON PERRY                                                           9153 YARROW ST. APT# 1617                                                               WESTMINSTER       CO       80021-4589
VERNON RAMSEY                                                          125 FARMER RD                                                                           FAYETTEVILLE      NC       28311-2950
VERNON SLATON                                                          2421 NW 175TH ST                                                                        EDMOND            OK       73012
VERNON SPICER                                                          12906 RIVER BND                                                                         AUSTIN            TX       78732-6049
VERNON THORNTON                                                        1800 CORSICA DR                                                                         WELLINGTON        FL       33414
VERNON TOY                                                             823 ALLEGHANEY ST                                                                       BURLINGTON        KS       66839
VERNON WARD                                                            PO BOX 1070                                                                             LAKIN             KS       67860
VERNON WILL                                                            PO BOX 732                                                                              PERRY             OK       73077
                                                                                                                     9211 Lake Hefner
Vernon Godwin                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK       73120
                                    c/o Laminack, Pirtle & Martines,
Vernon Godwin                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX       77006
Vernon Godwin                                                          4358 N. Vargas Rd                                                                       Choctaw           OK       73020
VERONA SOUTHERN                                                        PO BOX 205                                                                              GREEN ACRES       WA       99016
VERONICA BECKER                                                        2610 GARRETT WAY                                                                        RANCHO CORDOVA    CA       95670-3512
VERONICA GAYTON                                                        1785 ROLLING MEADOWS CT                                                                 SAN JACINTO       CA       92583-2333
VERONICA J GRESSLER                                                    808 N FAIRGROUNDS ROAD                                                                  STILLWATER        OK       74075
VERTA M LEDBETTER LIV TR                                               9524 VILLAGE DR                                                                         OKLAHOMA CITY     OK       73120


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VESCO INC                                                                PO BOX 246                                                                              WOODWARD           OK      73802
VESTA BOYLES                                                             1014B CARRIN DR                                                                         TALLAHASSEE        FL      32311-3906
VETA CALAVAN                                                             1515 SHADY HILLSIDE PASS                                                                ROUND ROCK         TX      78664
VHE VENTURES LP                                                          64 BEAVER ST STE 155                                                                    NEW YORK           NY      10004
VIANN GARRISON REV LIV TRUST                                             7424 E FORT WORTH STREET                                                                BROKEN ARROW       OK      74014-6999
VIC RESSLER                                                              4020 HOLBROOK ST                                                                        PARIS              TX      75462

VICKI ANN SLOCUM TR KANOA WARREN HA                                      35 NORTH ELM ST                                                                         BEACON             NY      12508
VICKI ARB                                                                4915 SWEGLE RD NE UNIT 37                                                               SALEM              OR      97301-2120
VICKI C HULET                                                            1418 9TH STREET                                                                         WOODWARD           OK      73801
VICKI COGGINS                                                            1983 HILLTOP DR                                                                         EUFAULA            OK      74432
VICKI GARBER                                                             11800 BLUE SAGE RD                                                                      OKLAHOMA CITY      OK      73120
VICKI GEORGE                                                             4405 ATCHISON AVE                                                                       SPRINGDALE         AR      72762-6658
VICKI GEORGE AND                                                         4405 ATCHISON AVE                                                                       SPRINGDALE         AR      72762-6658
VICKI HARMON                                                             1400 S NOBLE                                                                            ORLANDO            OK      73073
Vicki Hayward                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX      75070
Vicki Hayward                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK      74104
Vicki Hayward                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY      10017
Vicki Hayward                                                            1862 W 53rd St North                                                                    Tulsa              OK      74126
VICKI HEIDEN VANLOO                                                      N. 11520 COUNTRY ROAD M                                                                 WAUPUN             WI      53963
VICKI HOLZER WANZER                                                      4100 N HORSESHOE DR                                                                     GUTHRIE            OK      73044-7836
VICKI HOURIGAN                                                           9 ALMOND COURSE                                                                         OCALA              FL      34472-9018
VICKI I. WHITE                                                           2844 E. ARCHER APT D                                                                    TULSA              OK      74110
VICKI JO BROWN                                                           9617 KENT DRIVE                                                                         MIDWEST CITY       OK      73130

VICKI M KELLY                                                            5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY           TX      75070
VICKI N. MYERS REVOCABLE TRUST                                           RR 1, BOX 47                                                                            CAMARGO            OK      73835
VICKI NEE PENCE COX                                                      2315 ASHWOOD LN                                                                         NORMAN             OK      73071
VICKI REED                                                               3317 E CIMARRON HILL CT                                                                 STILLWATER         OK      74075
VICKI TOMPKINS                                                           548 COLUMBIA 23                                                                         EMERSON            AR      71740
VICKI TOWNSEND                                                           434 HIGHLAND RIDGE DR                                                                   WYLIE              TX      75098
VICKI WAUGH EIDMAN TRUST                                                 1613 PEASE RD                                                                           AUSTIN             TX      78703
VICKI WEBB                                                               3211 AUTUMN BRIDGE LANE                                                                 HOUSTON            TX      77084
                                                                                                                       9211 Lake Hefner
Vicki Smallwood                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Vicki Smallwood                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Vicki Smallwood                                                          375 Wilkenson Dr                                                                        Norman             OK      73026
VICKIE BUCK                                                              634 10TH AVE                                                                            KALISPEL           MT      59901
VICKIE BUCKWALTER                                                        4188 CR 826                                                                             ANNA               TX      75409
VICKIE CAIN NERVINO                                                      9828 GOLF LINK RD                                                                       HILMAR             CA      95324
VICKIE CASEY                                                             2209 CHULA VISTA DR                                                                     PLANO              TX      75023
VICKIE DOLEZAL JOHSON                                                    2609 S FRONT ST #37                                                                     ANGLETON           TX      77515
VICKIE FUCHS                                                             2915 BLACK LOCUST CT                                                                    NORMAN             OK      73071
VICKIE G WALKER TRUST DTD 2-17-1994                                      PO BOX 1852                                                                             ENID               OK      73702
VICKIE J MCILVOY 2005 REV TRUST                                          2709 SW 111TH STREET                                                                    OKLAHOMA CITY      OK      73170
VICKIE KLINGENBERG                                                       2540 MILLCROFT LN                                                                       CARROLLTON         TX      75006
VICKIE LOU LEMON                                                         8009 S B1                                                                               CUSHING            OK      74023-6154
VICKIE SLOCUM                                                            22807 S RECKER RD                                                                       GILBERT            AZ      85298-8936
VICKIE STEPHENS                                                          416 NE WASHINGTON BLVD                                                                  BARTLESVILLE       OK      74006
VICKIE THOMPKINS                                                         169 CAT TAIL BAY DR                                                                     CONWAY             SC      29527-4394
VICKY ANN CROSBY                                                         1325 N CALHOUM AVE                                                                      LIBERAL            KS      67901
VICKY ARNOLD                                                             1316 16TH AVE S                                                                         GREENWOOD          MO      64034
VICKY DAVIS                                                              419 RED WAGON                                                                           STILLWATER         OK      74074-7444
VICKY J CAMPBELL TRUST DTD 6-20-201                                      3515 HARBOR ISLAND DRIVE                                                                COLORADO SPRINGS   CO      80920
VICKY SHORT                                                              2924 SEGO PL                                                                            SAN DIEGO          CA      92123
VICKY WATTS                                                              617 4TH STREET                                                                          RIPLEY             OK      74062-6460
                                                                                                                       9211 Lake Hefner
Victor Aloziem                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120


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                                                                                                  Creditor Matrix


                     CreditorName          CreditorNoticeName                             Address1                         Address2                  Address3             City    State       Zip      Country
                                     c/o Laminack, Pirtle & Martines,
Victor Aloziem                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Victor Aloziem                                                          11016 Davis St.                                                                         Oklahoma City     OK      73162
VICTOR BORLAND                                                          3920 N WASHINGTON ST                                                                    STILLWATER        OK      74075-1441
VICTOR BRADLEY                                                          10672 RITTER ST                                                                         CYPRESS           CA      90630-4946
VICTOR CEMETERY ASSOCIATION                                             13417 SILVER MEADOW RD                                                                  JONES             OK      73049
VICTOR CHARLES HENDRIX                                                  4130 HYDE PARK DRIVE                                                                    SUGARLAND         TX      77479
VICTOR COOPER                                                           2300 RIVERSIDE DR, 14E                                                                  TULSA             OK      74114

VICTOR COOPER AND DOROTHY H COOPER                                      2301 RIVERSIDE DR, 14E                                                                  TULSA             OK      74114
                                                                                                                      9211 Lake Hefner
Victor E. Vann III                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Victor E. Vann III                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Victor E. Vann III                                                      105 N. Franklin Ave                                                                     Sand Springs      OK      74063
VICTOR ENOCHS                                                           PO BOX 125                                                                              STRINGTOWN        OK      74569
                                                                                                                      9211 Lake Hefner
Victor Hursh                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120
                                     c/o Laminack, Pirtle & Martines,
Victor Hursh                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Victor Hursh                                                            2264 N. Columbia Ave                                                                    Tulsa             OK      74110
VICTOR JOSEPH MARRIOTT                                                  17008 146 AVE SE                                                                        YOZM              WA      98597
VICTOR KEYES                                                            16381 CR 421                                                                            CROSS PLAINS      TX      76443
VICTOR MARTINEZ                                                         445 PROSPECT CT                                                                         WAUKESHA          WI      53186
VICTOR MIRELES                                                          2015 E 19TH ST                                                                          STILLWATER        OK      74074-6330
VICTOR MORRIS                                                           1402 CHICKASAW                                                                          ENID              OK      73703
VICTOR NEBEKER                                                          11122 CALLE ORO VERDE                                                                   VALLEY CENTER     CA      92082-4203
VICTOR WOOD                                                             1055 E FLAMINGO APT 1055                                                                LAS VEGAS         NV      89109
VICTOR WOOD                                                             55050 N BROOKLINE APT 1201                                                              OKLAHOMA CITY     OK      73112
VICTORIA A JOHNSON                                                      1603 HORIZON PL                                                                         MUKILTEO          WA      98275-2140
VICTORIA ANNE JOHNSON                                                   5800 88TH ST SW                                                                         MUKITEO           WA      98275
VICTORIA BALMEO                                                         7613 MILLDALE CIR                                                                       ELVERTA           CA      95626
VICTORIA BONAR WILSON                                                   1550 RORY LN SPC 89                                                                     SIMI VALLEY       CA      93063
VICTORIA BUSH                                                           4600 LOLLY DRIVE                                                                        MONROEVILLE       PA      15146
VICTORIA COOK                                                           6809 N ROSE ROAD                                                                        GLENCOE           OK      74032-1474
VICTORIA CROSS                                                          14025 N EASTERN AVE APT 1523                                                            EDMOND            OK      73013-5760
VICTORIA ELLISWEHR                                                      2111 W WESTMOORE DR                                                                     MOORE             OK      73170
VICTORIA JOHNSON                                                        4210 CALLOWAY DRIVE                                                                     PARADISE          TX      76073
                                                                                                                      9211 Lake Hefner
Victoria Matonti                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City     OK      73120

Victoria Matonti                     c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston           TX      77006
Victoria Matonti                                                        3000 NW 48th St                                                                         Oklahoma City     OK      73112
VICTORIA RICHARDSON SEGRO                                               3863 WEST 12TH AVENUE                                                                   DENVER            CO      80204
VICTORIA SHARP                                                          4998 SMOKETALK LN                                                                       WESTERVILLE       OH      43081-4433
VICTORIA SWAN-WELCH                                                     909 SHUMARD PEAK RD.                                                                    GEORGETOWN        TX      78633-5703
VICTORIA THOMPSON                                                       989 COUNTY STREET 2930                                                                  TUTTLE            OK      73089-3029
VICTORIA WINDIATE                                                       8908 W 80TH ST                                                                          COYLE             OK      73027-6201
Victory Fellowship                   c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas            TX      75070
Victory Fellowship                   c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa             OK      74104
Victory Fellowship                   c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York          NY      10017
Victory Fellowship                                                      5025 Hwy 97 North                                                                       Sand Springs      OK      74063
VICTORY WELL SOLUTIONS                                                  10571 RIDGEVIEW DRIVE                                                                   EDMOND            OK      73034
VIERSEN OIL & GAS COMPANY                                               PO BOX 702708                                                                           TULSA             OK      74170
VIKING MINERALS LLC                                                     101 N ROBINSON AVE #940                                                                 OKLAHOMA CITY     OK      73102
VIKING PIPE & SUPPLY LLC                                                PO BOX 66                                                                               EL RENO           OK      73036
VIKKI LYNN BENTLEY                                                      53791 SCARBORO WAY                                                                      SHELBY TOWNSHIP   MI      48316
VILETTE OWEN                                                            2079 BRIARCLIFF RD                                                                      LEWISVILLE        TX      75067
VILINDA MALLATT                                                         4960 S SENECA #3                                                                        WICHITA           KS      67217


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VILLARD MARTIN JR TRUST                                                                #6 CRAGMENT AV                                                                          SAN FRANSISCO    CA    94116
VILLETTE OWEN                                                                          1008 WELLINGTON DR                                                                      LEWISVILLE       TX    75067
                                                                                                                                     9211 Lake Hefner
Vince Crawford                                     c/o Atkins & Markoff                Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK    73120
                                                   c/o Laminack, Pirtle & Martines,
Vince Crawford                                     LLP                                 Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX    77006
Vince Crawford                                                                         3304 SW 51st St                                                                         Oklahoma City    OK    73119
VINCENT EDMONDSON                                                                      PO BOX 802                                                                              MANFORD          OK    74044
VINCENT ELLSPERMANN                                                                    13865 DEL WEBB BLVD                                                                     SUMMERFIELD      FL    34491-9432
VINCENT MATTOCKS                                                                       37380 POLO RUN DR                                                                       ELIZABETH        CO    80107-8200
VINCENT SIGALA                                                                         5701 N SHARTEL                                                                          OKLAHOMA CITY    OK    73118
VINEYARD OIL AND GAS COMPANY                                                           10299 W MAIN RD                                                                         NORTH EAST       PA    16428
VINEYARD VINES                                                                         37 BROWN HOUSE RD                                                                       STAMFORD         CT    06902-6349
VINSON & ELKINS LLP                                                                    PO BOX 301019                                                                           DALLAS           TX    75303
VINSON PROCESS CONTROLS CO LP                                                          2747 HIGHPOINT OAKS DR                                                                  LEWISVILLE       TX    75067-0000
VINTAGE OIL & GAS LLC                                                                  4701 MARBELLA CIR                                                                       FORT WORTH       TX    76126
VIOLA ASKEW                                                                            1913 WESTVIEW TER                                                                       ARLINGTON        TX    76013
VIOLA E MERRY TRUST                                                                    6819 MORNINGSIDE DRIVE                                                                  SUGAR LAND       TX    77479
VIOLA GARMAN                                                                           1752 OAKLAND BLVD                                                                       FORT WORTH       TX    76103-1526
VIOLA JONES                                                                            316 S TOLSON                                                                            COYLE            OK    73027
VIOLA LEDFORD                                                                          1900 GLENWOOD DR                                                                        ANTIOCH          CA    94509-2634
VIOLA LEVY                                                                             PO BOX 279                                                                              GUTHRIE          OK    73044
VIOLA MASON                                                                            PO BOX 353                                                                              STROUD           OK    74079
VIOLA PRODUCTION INC                                                                   PO BOX 515226                                                                           DALLAS           TX    75251
VIOLA SEARS                                                                            41826 WYE RD                                                                            MACOMB           OK    74852
VIOLET DECEASED                                                                        3903 HIGHWAY 234                                                                        WHITE CITY       OR    97503-8536
VIOLET FANCHER MERRILL LIFE ESTATE                                                     PO BOX 35                                                                               RIPLEY           OK    74062-0035
VIOLET MACKLIN                                                                         712 W UTE AVE                                                                           STILLWATER       OK    74075-1210
VIOLET MACKLIN TRUST                                                                   712 W UTE AVE                                                                           STILLWATER       OK    74075-1210
VIOLET RAMONA NORRIS                                                                   22232 LAWRENCE 2080                                                                     ASH GROVE        MO    65604
VIOLETTA DODGE                                                                         14 BRIDGE STREET                                                                        SOUTH HAMILTON   MA    01981
VIRGIE BROWN                                                                           117 IROQUOIS CIR                                                                        RUSSELLVILLE     KY    42276-8887
VIRGIE SMALL                                                                           9724 S EMERALD                                                                          CHICAGO          IL    60623
VIRGIL & JOLEEN ROGGOW REV TRUST                                                       3900 N COUNTRY CLUB ROAD                                                                DUNCAN           OK    73533
VIRGIL BIGGS                                                                           14305 GUNSMOKE LN                                                                       PERRY            OK    73077
Virgil Cravens                                     c/o Allen Stewart, PC               Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX    75070
Virgil Cravens                                     c/o Drummond Law, PLLC              Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK    74104
Virgil Cravens                                     c/o Phillips & Paolicelli, LLP      Attn: Steven Phillips                         747 3rd Ave                               New York         NY    10017
Virgil Cravens                                                                         1000 Pixley Rd                                                                          Fairfax          OK    74637
VIRGIL H BIBY                                                                          15198 NE BLUESTEM RD                                                                    BURNS            KS    66840
VIRGIL SCOTT                                                                           PO BOX 11                                                                               MULHALL          OK    73063
VIRGIL TANNER                                                                          6001 E LAKEVIEW RD                                                                      STILLWATER       OK    74075-3073
VIRGIL WATTS                                                                           215 S 7TH ST                                                                            BOWLING GREEN    MO    63334-2031
VIRGIL WAYNE SCHOELING                                                                 10612 E BLAINE ROAD                                                                     HUNTER           OK    74640
VIRGIL WAYNE SCHOELING AND REBECCA                                                     10612 EAST BLAINE ROAD                                                                  HUNTER           OK    74640
VIRGILA EOFF-REYNOLDS                                                                  PO BOX 576                                                                              VAN BUREN        AR    72956

Virgin Islands Office of the Lieutenant Governor   Division of Banking and Insurance   Unclaimed Property                            5049 Kongens Gade Charlotte Amalie        St Thomas        VI    00802-6487
VIRGINIA A & WILLIAM J ZINSMEISTER                                                     2227 FRANSCISCAN DRIVE                                                                  WEST LAFAYETTE   IN    47906
VIRGINIA A PETTY                                                                       11798 E 850 RD                                                                          OKARCHE          OK    73762
VIRGINIA A PFLUM                                                                       705 LOCH LOMOND DR                                                                      ARLINGTON        TX    76012
VIRGINIA A ZINSMEISTER AND WILLIAM                                                     2101 EDGEWOOD DR                                                                        WEST LAFAYETTE   IN    47906-9686
VIRGINIA ALEXANDER                                                                     PO BOX 8403                                                                             MARSHALL         TX    75671-8403
VIRGINIA ASKEW                                                                         6125 LUTHER LANE, #271                                                                  DALLAS           TX    75225
VIRGINIA AUSTIN                                                                        517 W LOCUST ST                                                                         ONTARIO          CA    91762-5729
VIRGINIA B FRENCH                                                                      800 HORLOCK ST                                                                          NAVASOTA         TX    77868
VIRGINIA BANKS                                                                         8523 S FAIRGROUNDS                                                                      STILLWATER       OK    74074-6179
VIRGINIA BEGNEL                                                                        5100 N CROSS AVE                                                                        OKLAHOMA CITY    OK    73112-8064
VIRGINIA BLUZARD                                                                       PO BOX 584                                                                              HAWKINS          TX    75765


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VIRGINIA CELESTE LOHR                                                    7825 N EMERALD AVE                                                                     PORTLAND            OR       97217-6113
VIRGINIA COVINGTON                                                       3329 NW 21ST ST                                                                        OKLAHOMA CITY       OK       73107
VIRGINIA CUMMINGS                                                        1101 COUSHATTA ST                                                                      LONGVIEW            TX       75605
VIRGINIA DIX                                                             29521 FALCON RIDGE DR                                                                  EVERGREEN           CO       80439-6564
VIRGINIA DUGGER                                                          2182 KESSLER CT                                                                        DALLAS              TX       75208
VIRGINIA ENGEL & JUDY CALLAHAN &                                         1523 NW 64TH ST                                                                        SEATTLE             WA       98107
VIRGINIA FAY BOYCE TRUST DTD 121201                                      1524 W. LIBERTY AVENUE                                                                 STILLWATER          OK       74074
VIRGINIA FISCUS                                                          212 MEADOW LN                                                                          IOWA FALLS          IA       50126-1510
                                                                                                                       9211 Lake Hefner
Virginia Fishinghawk                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK       73120
                                      c/o Laminack, Pirtle & Martines,
Virginia Fishinghawk                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX       77006
Virginia Fishinghawk                                                     21 W. Sycamore St                                                                      Stilwell            OK       74960
Virginia Fishinghawk                                                     RR2, Box 312                                                                           Stilwell            OK       74960
VIRGINIA GENGLER                                                         3121 N MADISON CT                                                                      STILLWATER          OK       74075
VIRGINIA GEORGE                                                          5056 MILE 8 ROAD                                                                       EDINBURG            TX       78541
VIRGINIA HAMPTON                                                         PO BOX 814                                                                             PERRY               OK       73077
VIRGINIA HARTING                                                         6915 N 128TH E CT                                                                      OWASSO              OK       74055
VIRGINIA HELLER                                                          4389 SOUTH VICTOR AVE                                                                  TULSA               OK       74105
VIRGINIA HICKS                                                           24 OAK IN THE WOOD                                                                     PORT ORANGE         FL       32129-2342
VIRGINIA HUDSON CHAMBERS TR                                              1601 W RUPE AVE                                                                        ENID                OK       73703
VIRGINIA JACOB                                                           205 CONIFER TERRACE                                                                    DANVILLE            CA       94506-4566
VIRGINIA KEELER                                                          313 MONAHAN DR                                                                         FORT WALTON BEACH   FL       32547
VIRGINIA KLINE                                                           12900 SAINT JOHNS DR                                                                   OKLAHOMA CITY       OK       73120-8325
VIRGINIA L & MERVEL S LUNN JR                                            4503 N WILLOW AVE                                                                      BETHANY             OK       73008
VIRGINIA L BUCHANAN TRUST                                                4531 N 16TH ST STE 103                                                                 PHOENIX             AZ       85016-5344
VIRGINIA L COOPER                                                        1518 E KALISPELL CT                                                                    ANDOVER             KS       67002-7982
VIRGINIA L GORDON                                                        3080 MANDALAY GROVE #4                                                                 COLORADO SPRINGS    CO       80917
VIRGINIA L REXROAD REV TRUST                                             3712 ALDERSGATE APT B                                                                  HUTCHINSON          KS       67502
VIRGINIA LARSON                                                          PO BOX 693                                                                             SAINT FRANCIS       KS       67756
VIRGINIA LAY                                                             7635 S GUTHRIE AVE                                                                     TULSA               OK       74132-2836
                                                                                                                       9211 Lake Hefner
Virginia Lee Maguire                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK       73120
                                      c/o Laminack, Pirtle & Martines,
Virginia Lee Maguire                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX       77006
Virginia Lee Maguire                                                     1850 Liberty Drive                                                                     Guthrie             OK       73044
VIRGINIA LOEWEN                                                          PO BOX 670                                                                             WATONGA             OK       74772
VIRGINIA M PARR LIV R                                                    3116 AERIE DRIVE                                                                       EDMOND              OK       73013
VIRGINIA MARY HULL                                                       710 WINDSOR ROAD                                                                       SAVANNAH            GA       31419
VIRGINIA MATHESON                                                        6218 S PERKINS RD                                                                      STILLWATER          OK       74074-8248
VIRGINIA MCCOLLUM                                                        224 N MAIN ST                                                                          STILLWATER          OK       74075-7716
VIRGINIA MCMANNESS                                                       8031 OAKWOOD TRACE                                                                     HOUSTON             TX       77040
VIRGINIA MRYL YATES WEAVER                                               505 MORNINGSIDE DR                                                                     YUKON               OK       73099-3365
VIRGINIA MYERS                                                           PO BOX 30961                                                                           EDMOND              OK       73003-0961
VIRGINIA ONEILL                                                          3834 SAXON DR                                                                          NEW SMYRNA BEACH    FL       32169
VIRGINIA PENNEY                                                          1031 ENDERBY WAY                                                                       SUNNYVALE           CA       94087
VIRGINIA PENNINGTON                                                      9507 WESTPARK VILLAGE DR                                                               TAMPA               FL       33626
VIRGINIA QUIGG O'BEIRNE                                                  215 ARLINGTON AVENUE                                                                   NATCHEZ             MS       39120
                                                                                                                       9211 Lake Hefner
Virginia R. Bell                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK       73120
                                      c/o Laminack, Pirtle & Martines,
Virginia R. Bell                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston             TX       77006
Virginia R. Bell                                                         1005 N Farra Dr                                                                        Oklahoma City       OK       73107
VIRGINIA S HAMPTON REV TR                                                PO BOX 32093                                                                           EDMOND              OK       73003
VIRGINIA SHUTLER TRUST                                                   PO BOX 957                                                                             KINGFISHER          OK       73750-0951
VIRGINIA SLATON                                                          2421 NW 175TH ST                                                                       EDMOND              OK       73102-7135
                                                                                                                       9211 Lake Hefner
Virginia Thomas-Cobb                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City       OK       73120



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                                                                                             White Star Petroleum, LLC
                                                                                                  Creditor Matrix


                   CreditorName            CreditorNoticeName                             Address1                         Address2                  Address3              City    State       Zip      Country
                                     c/o Laminack, Pirtle & Martines,
Virginia Thomas-Cobb                 LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Virginia Thomas-Cobb                                                    7514 E. 126th St. N.                                                                    Collinsville       OK      74021
VIRGINIA TIZARD                                                         176 JUDSON AVEAPT Y                                                                     DOBBS FERRY        NY      10522-3028
VIRGINIA ZINCK                                                          14201 MAVERICK                                                                          PERRY              OK      73077-8951
VIRGNIA LOVE                                                            823 N CROMER AVENUE                                                                     MARSHALL           OK      73056-9764
VISHAL DHAR                                                             5608 RISBOROUGH DR                                                                      PLANO              TX      75093-8561
VISICOM GROUP INC                                                       PO BOX 2840                                                                             SAN ANGELO         TX      76902-2840
VISION SERVICE PLAN OF OKLAHOMA                                         PO BOX 742788                                                                           LOS ANGELES        CA      90074-2788
VISTA VERDE ENERGY LLC                                                  209 W 2ND ST #122                                                                       FORT WORTH         TX      76102
VISUAL BI SOLUTIONS INC                                                 5600 TENNYSON PKWY STE 120                                                              PLANO              TX      75024
VISUAL SYSTEMS INC                                                      PO BOX 301003                                                                           DALLAS             TX      75303-1003
VITAL OUTDOOR ADVERTISING                                               PO BOX 2615                                                                             EDMOND             OK      73083-2615
VIVA CADENHEAD LIGHT                                                    115 VIA ESTRADA- D                                                                      LAGUNA WOODS       CA      92637
VIVA FOY                                                                PO BOX 379                                                                              TULSA              OK      74101-0379
VIVA M BOLTON & LETISHA M HEISTAND                                      360 W ROCKSPRING LN                                                                     BENSON             AZ      85602-8302
VIVA O PETERSON IRREV TRUST                                             PO BOX 3499                                                                             TULSA              OK      74101-3499
VIVAH EARLES                                                            206 GARFIELD ST                                                                         STAFFORD           KS      67578-1610
VIVERAE INC                                                             DEPT 2483                                                                               DALLAS             TX      75312-2483
VIVIAN ARLENE SMALES                                                    9571 TUNBRIDGE CT                                                                       MOBILE             AL      36695
VIVIAN ARNEY                                                            8613 S 68TH E AVE                                                                       TULSA              OK      74133
VIVIAN BUNCH                                                            1109 REMINGTON CT                                                                       ENID               OK      73703
                                                                                                                      9211 Lake Hefner
Vivian Clark-Adams                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                     c/o Laminack, Pirtle & Martines,
Vivian Clark-Adams                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Vivian Clark-Adams                                                      1914 N Santa Fe Pl                                                                      Tulsa              OK      74127
VIVIAN CUNDIFF                                                          4934 SOUTH QUINCY                                                                       TULSA              OK      74105-4731
VIVIAN FRIER BROWN                                                      PO BOX 142                                                                              BELLE CHASSE       LA      70037
VIVIAN L HOUSTON                                                        14718 W ELLSWORTH AVE                                                                   GOLDEN             CO      80401
VIVIAN LOU JOHNSTON                                                     12277 W CHENANGO DR                                                                     MORRISON           CO      80465
VIVIAN POLLARD MOCK                                                     4348 GREENWOOD ROAD                                                                     WEATHERFORD        TX      76088
VIVIAN POSTON                                                           136 ELM AVE                                                                             KALISPELL          MT      59901
VIVIAN RICE LIVING TRUST                                                4545 W COVELL RD                                                                        EDMOND             OK      73012
VIVIAN SMITH                                                            6739 ARDWELL DRIVE                                                                      CANAL WINCHESTER   OH      43110
VIVIAN SOSSAMAN                                                         5238 DIABLO DR                                                                          SACRAMENTO         CA      95842
                                                                                                                      9211 Lake Hefner
Vivian Sanders                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                     c/o Laminack, Pirtle & Martines,
Vivian Sanders                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Vivian Sanders                                                          3325 Del Rancho Dr                                                                      Del City           OK      73115
VIVIANE HERTEL FISHER                                                   6910 E 8TH ST                                                                           TULSA              OK      74112-4420
VK ENTERPRISES INC                                                      PO BOX 3577                                                                             EDMOND             OK      73083
                                                                                                                      9211 Lake Hefner
Vlad M. Condacse                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City      OK      73120
                                     c/o Laminack, Pirtle & Martines,
Vlad M. Condacse                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston            TX      77006
Vlad M. Condacse                                                        2623 Lyndsey Ct                                                                         Stillwater         OK      74074
VOGEL FAMILY TR DTD 4-18-1997                                           2219 E 181ST ST S                                                                       MOUNDS             OK      74047
VOIP INTERGRATION                                                       201 SAND CREEK RD STE K                                                                 BRENTWOOD          CA      94513-2204
VON DELL CURTIS 2012                                                    1904 KATIE ROAD                                                                         SHAWNEE            OK      74804
VON EVA WARREN-PRICHARD                                                 PO BOX 164                                                                              WINSTON            NM      87943

VON L BEST                                                              5900 SOUTH LAKE FOREST DR STE 300                                                       MCKINNEY           TX      75070
VON LAUER                                                               1105 TIMBERLANE DR                                                                      SABETHA            KS      66534
VONA L PARRISH                                                          322 S PAYNE STREET                                                                      STILLWATER         OK      74074
Vonda Cross                          c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas             TX      75070
Vonda Cross                          c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa              OK      74104
Vonda Cross                          c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York           NY      10017


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               CreditorName                  CreditorNoticeName                           Address1                Address2              Address3             City    State       Zip      Country
Vonda Cross                                                            20 Private Rd 4737                                                          Shidler          OK       74652
Vonda Goad                            c/o Allen Stewart, PC            Attn: Allen M Stewart                 325 N Saint Paul St   Ste. 4000       Dallas           TX       75070
Vonda Goad                            c/o Drummond Law, PLLC           Attn: Donald A Lepp                   1500 South Utica      Ste. 400        Tulsa            OK       74104
Vonda Goad                            c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                 747 3rd Ave                           New York         NY       10017
Vonda Goad                                                             5051 County Road 6050                                                       Ralston          OK       74650
VOOR MAC LLC                                                           6307 WATERFORD BLVD STE 200                                                 OKLAHOMA CITY    OK       73118-1117
VORYS SATER SEYMOUR AND PEASE LLP                                      PO BOX 73487                                                                CLEVELAND        OH       44193
VOSKUHL FARM & RANCH LLC                                               2840 SILVERCLIFFE DRIVE                                                     EDMOND           OK       73012-9729
VOSKUHL-SMITH FARMS LLC                                                1309 NW 170TH ST                                                            EDMOND           OK       73012
VOYAGE ENERGY LLC                                                      PO BOX 11232                                                                MIDLAND          TX       79702
VULCAN LABS, LLC                                                       PO BOX 480343                                                               KANSAS CITY      MO       64148
Vuong, Thai                           c/o White Star Petroleum, LLC    301 NW 63rd St                        Ste 600                               Oklahoma City    OK       73116
V-VENTURES LLC                                                         3732 BUNTING AVENUE                                                         FORT WORTH       TX       76107
VZS PROPERTIES LP                                                      3917 CLAYTON RD EAST                                                        FORT WORTH       TX       76116
W & L JOHNSON FAMILY LLC                                               24600 PILMILLA DR                                                           WISTER           OK       74966
W B AND CAROL L SWISHER TRUST                                          1402 QUEENS BAY DR                                                          KATY             TX       77494-4653
W B RATLIFF MINERALS LLC                                               38 WINGED FOOT                                                              BOERNE           TX       78006-5726
W BARTLETT JOINT VENTURE                                               200 W DOUGLAS AVE STE 1050                                                  WICHITA          KS       67202
W BEASON                                                               337 MAULDIN ROAD                                                            JEFERSON         GA       30549
W BOWERS                                                               1735 E 11TH                                                                 BEND             OR       97701
W BURT NELSON TRUST                                                    110 RIDGE RD                                                                KERRVILLE        TX       78028
W BUSSARD                                                              RT 2 BOX 197                                                                GUTHRIE          OK       73044
W C PAYNE ENERGY LLC                                                   7005 N ROBINSON AVE                                                         OKLAHOMA CITY    OK       73116
W COX                                                                  517 TEXAS ST                                                                IOWA PARK        TX       76367
W DEARING                                                              PO BOX 92                                                                   JERMYN           TX       76057
W DUNNAM                                                               506 LIBERTY BANK BLDG                                                       WACO             TX       76710
W E HORKEY PROPERTIES LLC                                              7310 ABERDEEN PKWY E                                                        TULSA            OK       74132-2140
W EPPLER & N GARDNER LIVING TRUST                                      2329 CHAPARRAL DRIVE                                                        ARNOLD           CA       95223
W F BERNHARDT                                                          PO BOX 616                                                                  STILLWATER       OK       74076-0616
W FITZHUGH LEE                                                         2457 CROSSWIND DR                                                           SPICEWOOD        TX       78669
W G SKEETERS & COMPANY                                                 PO BOX 52000                                                                OKLAHOMA CITY    OK       73152-2000
W H BOWDLEAR DECEASED                                                  2645 GOBAT AVE                                                              SAN DIEGO        CA       92122-3127
W HAFNER                                                               22807 N HWY 77                                                              ORLANDO          OK       73073
W HART                                                                 11218 FOLKSTONE DR                                                          YUKON            OK       73099-8052
W I C INC                                                              PO BOX 178531                                                               SAN DIEGO        CA       92117
W J WESTERHEIDE JR.                                                    1703 CARLISLE ROAD                                                          OKLAHOMA CITY    OK       73120-1116
W JOHN & ASTRID ROSEANNE SHANNON                                       4186 JACK DAW ST                                                            SAN DIEGO        CA       92103
W KIRK CLAUSING CAROLE CLAUSING LAN                                    2021 South Lewis Ave Ste 240                                                Tulsa            OK       74104
W KURZ                                                                 PO BOX 3201                                                                 FULLERTON        CA       92632
W L STEPHENSON JR REV LVG TRUST DTD                                    2524 HOMESTEAD RD                                                           ENID             OK       73703
W LOTT                                                                 PO BOX 698                                                                  GREENWOOD        MS       38935
W MARCHANT                                                             2227 EXCHANGE AVE                                                           OKLAHOMA CITY    OK       73108-2627
W MCCLURE MCMASTER                                                     4011 SW STONYBROOK DR # 12                                                  TOPEKA           KS       66610-1384
W MERRILL                                                              2615 S PIONEER TRAIL                                                        STILLWATER       OK       74074-2266
W MOUNGER                                                              4450 OLD CANTON RD STE 203                                                  JACKSON          MS       39211-5991
W O TRIM                                                               217 LIVE OAK DR                                                             LAFAYETTE        LA       70501
W QUIER DECD                                                           938 W GREENHURST RD                                                         NAMPA            ID       83686
W R RAGSDALE JR                                                        2847 CONNER STATION ROAD                                                    SIMPSONVILLE     KY       40067-7627
W SASSER                                                               PO BOX 816                                                                  PERKINS          OK       74059-0816
W SAUNDERS                                                             22337 E 543 RD                                                              COLCORD          OK       74338
W T RAPP PARTNERSHIP                                                   PO BOX 37                                                                   SHAWNEE          OK       74802-0037
W W ENERGY LLC                                                         PO BOX 664                                                                  GARDEN CITY      KS       67846
W W GRAINGER INC                                                       PO BOX 419267                                                               KANSAS CITY      MO       64141
W W MERSHON                                                            312 SUMMIT WAY                                                              NORMAN           OK       73071-4160
W WALLIS                                                               6 EAST 25TH ST                                                              TULSA            OK       74114
W WATERMAN                                                             8101 S WALKER AVE, STE B                                                    OKLAHOMA CITY    OK       73139
W&W FIBERGLASS TANK CO                                                 PO BOX 2399                                                                 PAMPA            TX       79066
W&W STEEL COMPANY                                                      PO BOX 25369                                                                OKLAHOMA CITY    OK       73125
W. A. MONCRIEF JR. MONCRIEF BUILDIN                                    9TH AND COMMERCE                                                            FT. WORTH        TX       76102


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W. PATRICK AND JEAN M.                                                   6060 N. MUELLER                                                                        BETHANY         OK      73008-1935
W.A. WATERMAN & CO                                                       8827 S SANTA FE AVE                                                                    OKLAHOMA CITY   OK      73139-8410
W2SE LLC                                                                 PO BOX 516                                                                             ARDMORE         OK      73402
W2SE LLC SERIES A                                                        PO BOX 516                                                                             ARDMORE         OK      73402
W5K PROPERTIES LP                                                        PO BOX 600039                                                                          DALLAS          TX      75360-0039
WABASH PRODUCTION LP                                                     PO BOX 18877                                                                           OKLAHOMA CITY   OK      73154-8877
WACO EARL BRIDENSTINE                                                    510 N MAIN STREET                                                                      PERKINS         OK      74059-4002
WADE COSTELLO TRUST                                                      PO BOX 190878                                                                          DALLAS          TX      75210-0878
WADE GAEDDERT                                                            1100 TURKEY CREEK DR                                                                   MCPHERSON       KS      67460
WADE HOPKINS                                                             324 W IRVING ST                                                                        BLUE SPRINGS    NE      68318-3035

WADE PEARSON AND CYNTHIA M PEARSON                                       2221 MELISSA LN                                                                        STILLWATER      OK      74074-8616
WADE SHEETS                                                              12750 FRONTIER                                                                         PERRY           OK      73077
WADE TAYLOR                                                              10355 BARON DR                                                                         SAN DIEGO       CA      92126
WADE TRUST                                                               PO BOX 30718                                                                           EDMOND          OK      73003
WADE VOISE                                                               19300 CR 200                                                                           PERRY           OK      73077
WADE WARDLOW                                                             1436 BOIS D ARC                                                                        YUKON           OK      73099
WADE WILLIAMS                                                            522 ROLLING MILL                                                                       SUGARLAND       TX      77498
                                                                                                                       9211 Lake Hefner
Wade Jones                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Wade Jones                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Wade Jones                                                               103442 S. 3540 Rd                                                                      Prague          OK      74864
WAFWA SPECIES RESTORATION FOUND                                          2700 W AIRPORT WAY                                                                     BOISE           ID      83705
WAGNER & BROWN LTD                                                       PO BOX 1714                                                                            MIDLAND         TX      79702
WAGNER FAMILY REVOCABLE TR DTD 10-1                                      2007 N GLENWOOD DR                                                                     STILLWATER      OK      74075
WAGNER LAND SERVICES LLC                                                 PO BOX 54676                                                                           OKLAHOMA CITY   OK      73154
WAGONER CONSULTING LLC                                                   2721 W HWY 130                                                                         NEWCASTLE       OK      73065-5922
WAHNEE CAMPBELL                                                          1988 N 3189TH RD                                                                       OTTAWA          IL      61350
WAHOLI CAPITAL LLC                                                       406 NE 15TH ST                                                                         OKLAHOMA CITY   OK      73104-1220
WAITS LAND COMPANY LLC                                                   18410 W 6TH AVE                                                                        ORLANDO         OK      73073
WAKE ENERGY LLC                                                          PO BOX 5074                                                                            EDMOND          OK      73083-5074
WAKEFIELD TRUCKING LLC                                                   PO BOX 1308                                                                            EL RENO         OK      73036-1308
WAL RESOURCES LLC                                                        PO BOX 52848                                                                           TULSA           OK      74152-0848
WALDINETTE M JOHNSON                                                     19013 S SINCLAIR RD                                                                    MARSHALL        OK      74056
WALDROP'S ENGINE SERVICE CO.                                             PO Box 589                                                                             WOODWARD        OK      73802
WALKER COMPANIES                                                         PO BOX 177                                                                             OKLAHOMA CITY   OK      73101-0177

WALKER FAMILY LIVING TRUST                                               5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY        TX      75070
Walker, Nickolas                      c/o White Star Petroleum, LLC      510 S Main St                                                                          Leedey          OK      73654
WALKER-PIERCE ROYALTY CO INC                                             808 POST OAK LN                                                                        EDMOND          OK      73034-8052
WALLACE CRISPIN                                                          409 N 11TH STREET                                                                      THOMAS          OK      73669-8004
WALLACE D MALONEY                                                        3906 E 80TH ST                                                                         STILLWATER      OK      74074
WALLACE GUNKEL                                                           13123 W 80TH ST                                                                        COYLE           OK      73027-5403
WALLACE JOHNSON                                                          5555 CAMPANA CT                                                                        SANTA BARBARA   CA      93111-1475
WALLACE WILLIAMS                                                         304 WILDWOOD ACRES CIR                                                                 STILLWATER      OK      74075
Wallace, Kaci                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
WALLS SANITATION INC                                                     DRAWER B                                                                               BLACKSVILLE     WV      26521
WALLSTON RIXFIELD LLC                                                    2549 E 23RD ST                                                                         TULSA           OK      74114-3101
WALNUT CREEK HOLDING LLC                                                 PO BOX 1476                                                                            GREENWOOD       AR      72936-1476
WALSH MINERAL PROPERTIES LLC                                             PO Box 54714                                                                           OKLAHOMA CITY   OK      73154-1714

WALTER & LOIS JUDGE REVOCABLE TRUST                                      2626 MONROE ST NE                                                                      ALBUQUERQUE     NM      87110
WALTER A KELLY JR OPERATING CO INC                                       1911 W 3RD AVE                                                                         STILLWATER      OK      74074-2802

WALTER A KELLY JR OPERATING COMPANY                                      1300 WEST 9TH AVE                                                                      STILLWATER      OK      74074
WALTER A SCHNEIDER ESTATE                                                PO BOX 44142                                                                           OKLAHOMA CITY   OK      73144
WALTER ADAMS                                                             6301 OVERTON RIDGE BOULEVARD                                                           FORT WORTH      TX      76132
WALTER AND MYRTLE ADAMS TR 4-3-15                                        6301 OVERTON RIDGE BLVD. APT#356                                                       FORT WORTH      TX      76132


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WALTER BAKER                                                            3301 GOLDFINCH                                                                          ENID            OK    73701
WALTER BARTHOLOME JR DECD                                               7808 NE 51ST TERRACE                                                                    KANSAS CITY     MO    64119
                                                                                                                      9211 Lake Hefner
Walter Bennett                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                     c/o Laminack, Pirtle & Martines,
Walter Bennett                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Walter Bennett                                                          1004 E 6th St                                                                           Cushing         OK    74023
WALTER BOLIN                                                            108 W 2ND ST                                                                            FORT SCOTT      KS    66701
WALTER BRADFORD                                                         35191 W 201ST ST S                                                                      BRISTOW         OK    74010
WALTER BRITT HILL                                                       28427 MENDECINO GLEN LANE                                                               HUFFMAN         TX    77336-1437
WALTER DESCHER                                                          1903 CARDINAL LANE                                                                      MCALESTER       OK    74501
WALTER DUNCAN OIL LLC                                                   PO BOX 467                                                                              OKLAHOMA CITY   OK    73101-0467
WALTER EADS                                                             48 HIGH POINT ROAD                                                                      WESTPORT        CT    06880
WALTER ELLIOTT                                                          1406 N ATHENIAN                                                                         WICHITA         KS    67203
WALTER HOWELL                                                           5006 W 2ND AVE                                                                          STILLWATER      OK    74074-6891
WALTER HUNT                                                             304 S. LOCUST                                                                           SEILING         OK    73663
WALTER HUTCHINSON                                                       340100 E. 780 RD.                                                                       TRYON           OK    74875
WALTER J HOPFER TRUST                                                   1276 BOURLAND RD                                                                        KELLER          TX    76248
Walter Jumper                        c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas          TX    75070
Walter Jumper                        c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa           OK    74104
Walter Jumper                        c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York        NY    10017
Walter Jumper                                                           2301 W Waco St                                                                          Broken Arrow    OK    74011
WALTER KEHRES                                                           PO BOX 188                                                                              BRYANTOWN       MD    20617
WALTER KELLY                                                            1911 W 3RD AVE                                                                          STILLWATER      OK    74074-2802
WALTER KELLY                                                            PO BOX 2074                                                                             STILLWATER      OK    74076-2074
WALTER KELLY OPERATING CO INC                                           1320 W 9TH AVE                                                                          STILLWATER      OK    74074-5407
WALTER KRUMREI                                                          5801 N OAKWOOD RD APT G228                                                              ENID            OK    73706
WALTER KRUMREI JR TRUST                                                 24329 E 630 RD                                                                          HENNESSEY       OK    73742-7800
WALTER L FARRINGTON III                                                 PO BOX 670766                                                                           DALLAS          TX    75367
WALTER P SCHEFFE ENERGY LLC                                             PO BOX 32760                                                                            LOUISVILLE      KY    40232
WALTER PAGE                                                             1320 GARDEN CIR                                                                         LONGMONT        CO    80501-1819
WALTER POWERS                                                           3800 W 71ST ST APT 1113                                                                 TULSA           OK    74132-2156
WALTER R WELCH                                                          1061 FAIRWAY LN                                                                         GUNNISON        CO    81230-4141
WALTER SCHIEFFER                                                        901 WAKEFIELD RD                                                                        PERRY           OK    73077
WALTER SHERMAN                                                          2106 BLUEBERRY ST                                                                       FAIRBANKS       AK    99701
WALTER STROMBERG                                                        5421 S SPRING CREEK CIR E                                                               STILLWATER      OK    74074
WALTER SUE ANDREWS LIVING TRUST                                         2201 SOUTH WESTERN AVENUE                                                               STILLWATER      OK    74074
WALTER TANKSLEY                                                         3306 East 4th Avenue                                                                    STILLWATER      OK    74074
WALTER VAN DYKE                                                         11290 LIV 233                                                                           CHILLICOTHE     MO    64601
WALTER W AND LUCILLE A VOSS REVTST                                      1014 S FAIRFIELD DR                                                                     STILLWATER      OK    74074-1973
WALTER W VOSS JR                                                        1014 S FAIRFIELD DR                                                                     STILLWATER      OK    74074-1973
WALTER W VOSS JR INHERITANCE TRUST                                      1014 S FAIRFIELD DRIVE                                                                  STILLWATER      OK    74074-1973
                                                                                                                      9211 Lake Hefner
Walter Hester                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                     c/o Laminack, Pirtle & Martines,
Walter Hester                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Walter Hester                                                           7116 E. Wilshire Blvd                                                                   Oklahoma City   OK    73141
WALTEREAN RIEKENBERG                                                    1508 KATIE LN                                                                           ENID            OK    73701
WALTON A BERNHARDT AND TERRI A                                          2204 S COYLE RD                                                                         STILLWATER      OK    74074-2123
WAM3 L.P                                                                950 COMMERCE ST                                                                         FORT WORTH      TX    76102-5418
                                                                                                                      9211 Lake Hefner
Wanda Christensen                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK    73120
                                     c/o Laminack, Pirtle & Martines,
Wanda Christensen                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX    77006
Wanda Christensen                                                       13701 Jennie Lane                                                                       Arcadia         OK    73007
WANDA ALLEN                                                             528 LANSING CIRCLE                                                                      BENICIA         CA    94510
WANDA BUCKLES                                                           901 HILLCREST DR                                                                        CUSHING         OK    74023-4410
WANDA BUCKLES                                                           2600 SE 34TH ST                                                                         MOORE           OK    73160-9720



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WANDA CAVANAUGH                                                        18218 PARADISE MOUNTAIN RD SPC 30                                                       VALLEY CENTER    CA      92082-7003
WANDA COX                                                              3442 N. HIGHWAY 281                                                                     BURNET           TX      78611-1070
WANDA D SHIPLEY TTEE                                                   3306 SOUTHERN OAKS                                                                      STILLWATER       OK      74074
WANDA DEJAEGHER                                                        PO BOX 86                                                                               MELSTONE         MT      59054
WANDA DOGGETT                                                          1110 E NOBLE AVE                                                                        GUTHRIE          OK      73044
WANDA DUCKWORTH A MPDISSP                                              1113 E OAK ST                                                                           CUSHING          OK      74023-3529
WANDA E HAFNER                                                         102 FREDERICK                                                                           CLAY CENTER      KS      67432
WANDA G FIRESTONE                                                      6609 SOUTH NEW HAVEN                                                                    TULSA            OK      74136
WANDA GEISINGER                                                        22801 CR 190                                                                            PERRY            OK      73077
WANDA GUNGOLL                                                          3354 BOBOLINK                                                                           ENID             OK      73703
WANDA GUNGOLL LIFE ESTATE                                              3354 BOBOLINK                                                                           ENID             OK      73703
WANDA HAAK BEDFORD                                                     5000 OLD SHEPARD PL APT 1217                                                            PLANO            TX      75093-4406
WANDA HART                                                             4119 W 18TH AVE                                                                         STILLWATER       OK      74074-1602
WANDA HEBARD                                                           1510 CEDAR RIDGE PLACE                                                                  CUSHING          OK      74023
WANDA HEMPHILL                                                         PO BOX 154                                                                              LUND             NV      89317-0154
WANDA HOLZER MARTIN                                                    4516 BOBWHITE                                                                           EDMOND           OK      73034-9022
WANDA J & WALTER A WATKINS CO TTS                                      1020 E 68TH ST                                                                          STILLWATER       OK      74074-7576
WANDA J STEWART                                                        2357 NW 121ST STREET                                                                    OKLAHOMA CITY    OK      73120
WANDA JEAN STOUT GROOM                                                 415 E LOGAN                                                                             GUTHRIE          OK      73044
WANDA JEAN TONTZ                                                       1845 MAPLE ST UNIT 1                                                                    WENATCHEE        WA      98801
WANDA JUNE SNYDER REV TRUST                                            PO BOX 33                                                                               COON VALLEY      WI      54623
WANDA KINER                                                            PO BOX 65                                                                               WETMORE          CO      81253-0065
WANDA LEE                                                              1507 EAST DRIVE                                                                         BARTLESVILLE     OK      74006
WANDA LESTER SECK                                                      8331 SANTALUZ VILLAGE GRE                                                               SAN DIEGO        CA      92127
                                                                                                                     9211 Lake Hefner
Wanda M. Stevens                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Wanda M. Stevens                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Wanda M. Stevens                                                       2811 N. Yorktown Ave                                                                    Tulsa            OK      74110
WANDA MALABY                                                           5165 HARVARD DR                                                                         BARTLESVILLE     OK      74006-8532
WANDA MARTIN                                                           4516 BOB WHITE                                                                          EDMOND           OK      73034
WANDA MCMURRAY                                                         PO BOX 1060                                                                             SPRINGDALE       AR      72765-1060
WANDA MIDDLESWARTH                                                     2217 CRESTVIEW DRIVE                                                                    TORRINGTON       WY      82240-2621
WANDA MORAN                                                            32 ARGARITA COVE                                                                        CONWAY           AR      72023
WANDA MORRISON                                                         1738 S POPLAR ST                                                                        CASPER           WY      82601
WANDA NANCE                                                            10629 N 2230 ROAD                                                                       CLINTON          OK      73601-7747
                                                                                                                     9211 Lake Hefner
Wanda Parsons                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                    c/o Laminack, Pirtle & Martines,
Wanda Parsons                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Wanda Parsons                                                          9209 E 46th Pl                                                                          Tulsa            OK      74145
WANDA QUIER                                                            7029 LONGBRANCH                                                                         ENID             OK      73703
WANDA ROBINSON                                                         12911 N MEMORIAL DR                                                                     COLLINSVILLE     OK      74021-7023
WANDA ROUNDTREE                                                        3081 E BLUE RIDGE WAY                                                                   GILBERT          AZ      85298-8719
WANDA S COOKE                                                          914 N FAIRGROUNDS RD                                                                    STILLWATER       OK      74075-8721
WANDA SHIPLETT                                                         102 LAKEWOOD DR                                                                         DAVIS            OK      73030-2711
WANDA SHORES                                                           PO BOX 441                                                                              MINNEOLA         KS      67865-0441
WANDA STAFFORD                                                         311 W CHARLESTON                                                                        YALE             OK      74085
WANDA TAYLOR                                                           1265 S WHITE AVE                                                                        POMONA           CA      91766-2942
WANDA WELLS                                                            7943 W FRIEND DR                                                                        LITTLETON        CO      80128
WANDA WHITNEY                                                          915 W GRAND AVE                                                                         CARTERVILLE      IL      62918-2106
Wanda Williams                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Wanda Williams                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Wanda Williams                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Wanda Williams                                                         2155 North Little                                                                       Cushing          OK      74023
WANDA WOODARD LVG TR                                                   1711 9TH AVE NW #207                                                                    ARDMORE          OK      73401-2316
WANITA STALEY                                                          3228 BRISTOL AVE                                                                        KLAMATH FALLS    OR      97603
WANITA THYING                                                          1503 SHERRARD STREET                                                                    BURNET           TX      78611-1008


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                                                                                                                       9211 Lake Hefner
Wanti Gaige                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Wanti Gaige                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Wanti Gaige                                                              1800 Kamber Terr                                                                        Edmond           OK      73003
WARD & VEDA VICKERY HEIRS LLC                                            14833 AQUARIUS ST                                                                       CORPUS CHRISTI   TX      78418
WARD ADKINS                                                              5519 TUPPER LAKE DR                                                                     HOUSTON          TX      77056-1626
WARD ENERGY LLC                                                          PO Box 1187                                                                             ENID             OK      73702-1187
WARD HALL                                                                3017 CORNWALL PL                                                                        OKLAHOMA CITY    OK      73120
                                                                         14000 QUAIL SPRINGS PKWY, SUITE
WARD PETROLEUM CORPORATION                                               5000                                                                                    OKLAHOMA CITY    OK      73134
WARDEN FAMILY TRUST                                                      407 E 8TH ST                                                                            MESA             AZ      85203
Wardlow, Richard                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK      73116

WARDNEY R & SHIRLEY J DOWNEY TR DTD                                      117 ROWAN RD                                                                            RUIDOSO          NM      88345
WARLOCK SUB SERVICES LLC                                                 461 RAMONA AVE.                                                                         RAMONA           OK      74061
WARNER FAMILY TRUST                                                      114884 S 4212 RD                                                                        EUFALA           OK      74432

WARREN & KATHERINE SCHLINGER TRUST                                       2451 RIDGEWOOD RD                                                                       ALAMO            CA      94507
WARREN AHLDEN                                                            30155 N 2830 RD                                                                         OKARCHE          OK      73762
WARREN AKERSON                                                           54 ROCK POINT PL NE                                                                     ALBUQUERQUE      NM      87122
WARREN AMERICAN OIL COMPANY                                              PO BOX 470372                                                                           TULSA            OK      74147
WARREN ASSOCIATES                                                        8 GLEN ROCK DR                                                                          THE HILLS        TX      78738
WARREN B KNOX I                                                          488 MOUNTAIN VIEW DRIVE                                                                 MOSHEIM          TN      37818-3524
WARREN BESLY                                                             15302 RAMAGE DR                                                                         AMARILLO         TX      79118-3047
WARREN BOLES                                                             34602 HAZEL DELL RD                                                                     MCCLOUD          OK      74851
WARREN BUNCH                          c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK      73116
WARREN CURTIS                                                            81 5TH ST                                                                               SHALIMAR         FL      32579
WARREN D JONES                                                           722 NE 18TH STREET                                                                      OKLAHOMA CITY    OK      73105
                                                                                                                       9211 Lake Hefner
Warren D. Combs                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Warren D. Combs                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX      77006
Warren D. Combs                                                          5932 Vixen Way                                                                          Oklahoma City    OK      73142
WARREN DOWLING                                                           PO BOX 507                                                                              ARVADA           CO      80001
WARREN E TAYLOR FAMILY TRUST                                             1515 KINGSRIDGE DR APT 406                                                              OKLAHOMA CITY    OK      73170-4478
WARREN E TAYLOR TRUST                                                    1515 KINGSRIDGE DR APT 406                                                              OKLAHOMA CITY    OK      73170-4478
Warren Edmondson                      c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX      75070
Warren Edmondson                      c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK      74104
Warren Edmondson                      c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY      10017
Warren Edmondson                                                         6908 E. 68th                                                                            Stillwater       OK      74074
WARREN EDMUNDSON                                                         4212 SAN FELIPE RD #496                                                                 HOUSTON          TX      77027
WARREN F HINZE ESTATE                                                    2640 SOMMERSET DR                                                                       WESTCHESTER      IL      60153-5314

WARREN K & LORETTA D AKERSON REV TR                                      54 ROCK POINT PL NE                                                                     ALBUQUERQUE      NM      87122-1915
WARREN KEESECKER                                                         2915 NE 199TH STREET                                                                    SHORELINE        WA      98155
WARREN L PERSHALL                                                        1019 E THIRD ST                                                                         HOBART           OK      73651
WARREN L WELLS                                                           2926 FALCON CREST DR                                                                    ENID             OK      73703
WARREN NANCY FORD JTROS                                                  341966 E 1070 RD                                                                        MEEKER           OK      74855-5566
WARREN RANCH INC                                                         PO BOX 27                                                                               PERRY            OK      73077
WARREN RODGERS                                                           517 S MICHIGAN AVE                                                                      CUSHING          OK      74023-4617
WARREN THOMAS                                                            132 W MAIN ST                                                                           PURCELL          OK      73080
Warren, Jedidiah                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK      73116
WARRIOR EXPLORATION LLC                                                  310 W WALL, STE 305                                                                     MIDLAND          TX      79701
WARRIOR OIL & GAS LLC                                                    PO BOX 895                                                                              EDMOND           OK      73083
WARWICK ARES LLC                                                         6608 N WESTERN AVE BOX #417                                                             OKLAHOMA CITY    OK      73116
WARWICK-JUPITER LLC                                                      6608 N WESTERN AVENUE #417                                                              OKLAHOMA CITY    OK      73116
WARWICK-MINERVA LLC                                                      6608 N WESTERN AVE BOX 417                                                              OKLAHOMA CITY    OK      73116
WASHINGTON ELECTRIC COOP INC                                             PO BOX 800                                                                              MARIETTA         OH      45750


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WASHINGTON STATE DEPARTMENT OF REVE                                      PO BOX 34053                                                                           SEATTLE          WA      98124-1053
WASHITA VALLEY                                                           PO BOX 94160                                                                           OKLAHOMA CITY    OK      73143-4160
WASHITA VALLEY ENTERPRISES INC                                           PO BOX 94160                                                                           OKLAHOMA CITY    OK      73143-4160
WASTE MANAGEMENT OF OKLAHOMA INC                                         PO BOX 660345                                                                          DALLAS           TX      75266-0345
WATERLOO EXPLORATION LLC                                                 PO BOX 20604                                                                           OKLAHOMA CITY    OK      73120
                                      Scott Watkins, Chief Executive
Watkins Construction Co LLC           Officer                            3229 South 15th Street                                                                 Corsicana        TX      75151
WATKINS CONSTRUCTION CO LLC                                              PO BOX 570                                                                             CORSICANA        TX      75110
WATKINS ROYALTIES LLC                                                    PO BOX 8929                                                                            MIDLAND          TX      79708
WATLEY OIL & GAS INC                                                     PO Box 667                                                                             PERRYTON         TX      79070
WATSON FRICK TRUST ENERGY LLC                                            PO BOX 21708                                                                           OKLAHOMA CITY    OK      73156-1708
WAWRWICK-MINERVA LLC                                                     6608 N WESTERN AVE #417                                                                OKLAHOMA CITY    OK      73116
WAYLON D GAUNTT                                                          PO BOX 502                                                                             HARRAH           OK      73045

WAYMAN & ARLENE CALAVAN REVOCABLE L                                      1 CIMARRON TRAILS                                                                      PERKINS          OK      74059
WAYMAR ACQUISITIONS & HOLDINGS LLC                                       6424 N SANTA FE STE A                                                                  OKLAHOMA CITY    OK      73116
WAYNE A FILLMORE & DEBORAH J                                             18100 SCARLET OAK LANE                                                                 EDMOND           OK      73102
WAYNE ALLEN BOYCE                                                        9308 W 116TH ST                                                                        COYLE            OK      73027-4105
WAYNE AND CAROLYN ALLISON JT                                             3009 S BRETHREN RD                                                                     CUSHING          OK      74023-5841
WAYNE ANNE                                                               3009 S BRETHREN RD                                                                     CUSHING          OK      74023-5841
WAYNE BARNES                                                             4605 S HWY 81                                                                          EL RENO          OK      73036
WAYNE BURTON                                                             6401 E 92ND AVE                                                                        STILLWATER       OK      74074-8413
WAYNE CASTEEL LIFE ESTATE                                                116 SW 2ND ST                                                                          LUCIEN           OK      73757
WAYNE D WELCH                                                            4335 OAK GROVE ROAD                                                                    RICKREALL        OR      97371
WAYNE DOCKERY                                                            5501 WOODLAND HILLS                                                                    DENTON           TX      76208
WAYNE DODRILL                                                            24229 S ROGERS DR                                                                      CLAREMORE        OK      74019-0840
WAYNE DOTTER                                                             104 W 56TH AVE                                                                         STILLWATER       OK      74074-5916
WAYNE DOTTER                                                             500 W 56TH AVE                                                                         STILLWATER       OK      74074-5916
WAYNE DOWNEY                                                             RT 2 BOX 47409                                                                         STILLWELL        OK      74960
WAYNE E & LAURA J HOPFER CO TTEES                                        1644 ILA PERDUE DR                                                                     KNOXVILLE        TN      37931
WAYNE E AND CONSTANCE HALE                                               1201 N. HWY K7                                                                         ATCHISON         KS      66002
                                                                                                                       9211 Lake Hefner
Wayne E Foote                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Wayne E Foote                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Wayne E Foote                                                            1056 E. 144th Pl                                                                       Glenpool         OK      74033
WAYNE E HALE                                                             1201 N HIGHWAY K7                                                                      ATCHISON         KS      66002-1344
WAYNE ENTERPRISES INC                                                    PO BOX 2363                                                                            HOUSTON          TX      77252
WAYNE ERNCE                                                              206 S EDNA                                                                             STILLWATER       OK      74075
WAYNE HARTMAN                                                            1071 E COUNTY RD 64                                                                    MULHALL          OK      73063-9755
WAYNE HAZELBAKER                                                         PO BOX 297                                                                             VICI             OK      73859
WAYNE HILTON                                                             2462 N SALINA                                                                          WICHITA          KS      67204
WAYNE L HAFNER                                                           PO BOX 148                                                                             LEONARDVILLE     KS      66449-0148
                                                                                                                       9211 Lake Hefner
Wayne L. Spiva Jr.                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Wayne L. Spiva Jr.                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Wayne L. Spiva Jr.                                                       346987 East 810 Rd                                                                     Agra             OK      74824
WAYNE LEE WEATHERLY                                                      9014 SOUTH GARY AVENUE                                                                 TULSA            OK      74137
WAYNE LEON CORNISH                                                       3518 LISA LN                                                                           ENID             OK      73703
WAYNE LEON TAYLOR                                                        27242 E 818 ROAD                                                                       WELLING          OK      74471
WAYNE LORANCE                                                            111 S ASH ST                                                                           GUTHRIE          OK      73044
WAYNE MCMEEN                                                             7902 COVE RIDGE RD                                                                     HIXSON           TN      37343-1808
WAYNE MINSHALL                                                           4707 S MADISON AVENUE                                                                  TULSA            OK      74105
WAYNE NEALIS                                                             PO BOX 133                                                                             MULHALL          OK      73063
WAYNE NEWKUMET                                                           PO BOX 11330                                                                           MIDLAND          TX      79702
WAYNE NULL                                                               6608 N WESTERN AVE #620                                                                OKLAHOMA CITY    OK      73116
WAYNE OWEN HAMMOND                                                       405 W SHORE DRIVE                                                                      CAIRO            MO      65239-2010


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WAYNE Q. HELBERG                                                          154 HILTON HEAD ISLAND DR.                                                             MABANK            TX    75156

WAYNE R BRADSHAW JR AND JOYCE L BRA                                       2010 HILLSIDE CIRCLE                                                                   SALLISAW          OK    74955
WAYNE RAMSEY                                                              1809 SW 28TH                                                                           MOORE             OK    73160
WAYNE SCOTT HOAG                                                          227 LAPP LANE                                                                          ROSEBURG          OR    97471
WAYNE SLATER                                                              1348 HOLLY AVE #E                                                                      IMPERIAL BEACH    CA    91932
WAYNE SNYDER JR. TRUST                                                    13918 E. 68TH STREET                                                                   CUSHING           OK    74023
WAYNE SNYDER TRUST                                                        13918 E 68TH ST                                                                        CUSHING           OK    74023
WAYNE TAYLOR                                                              6524 E 92ND AVE                                                                        STILLWATER        OK    74074-8414
WAYNE WHIPKEY LIFE ESTATE                                                 201 S 5TH ST                                                                           DAVIS             OK    73030
WAYNE WILLIAMS                                                            4614 OAKCREST                                                                          ENID              OK    73073
WAYNE WILLIAMS &                                                          4614 OAKCREST                                                                          ENID              OK    73073
WBS INC                                                                   PO BOX 972856                                                                          DALLAS            TX    75397-2586
WC ENERGY LLC                                                             22906 CROSSFIELD CT                                                                    EDMOND            OK    73025-1285
WC STROUBE GRANDCHILDREN TRUST                                            PO BOX 840738                                                                          DALLAS            TX    75284-0738
WCCS                                                                      217 E MAIN STREET                                                                      CORDELL           OK    73632
WCT RESOURCES LLC                                                         PO BOX 678                                                                             OKLAHOMA CITY     OK    73101
WD RENTAL                                                                 PO Box 34                                                                              Woodward          OK    73802
WD ROYALTIES LLC                                                          PO BOX 302380                                                                          AUSTIN            TX    78703
WD VON GONTEN & CO                                                        10496 OLD KATHY ROAD                                                                   HOUSTON           TX    77043
WD VON GONTEN & CO                                                        808 TRAVIS ST STE 120                                                                  HOUSTON           TX    77002
WD VON GONTEN LABORATORIES LLC                                            10496 OLD KATY RD                                                                      HOUSTON           TX    77043
WDB3 & MDB REVOCABLE TRUST                                                7 E INDEPENDENCE ST                                                                    SHAWNEE           OK    74804-3754
WE BROACH PROPERTIES LLC                                                  3108 W BROADWAY ST                                                                     BROKEN ARROW      OK    74012-3107
WEATHERFORD                                                               8920 POINT SIX CIRCLE DR                                                               HOUSTON           TX    77095
WEATHERFORD A L S INC                                                     PO BOX 301003                                                                          DALLAS            TX    75303
WEATHERFORD ARTIFICIAL LIFT SYS INC                                       PO BOX 200937                                                                          HOUSTON           TX    77216-0937
WEATHERFORD ARTIFICIAL LIFT SYSTEMS                                       PO BOX 301003                                                                          DALLAS            TX    75303-1003
WEATHERFORD LABORATORIES INC                                              PO BOX 301003                                                                          DALLAS            TX    75303-1003
WEATHERFORD US LP GEMOCO                                                  PO BOX 301003                                                                          DALLAS            TX    75303-1003
WEATHERFORD US LP INC                                                     7725 WEST RENO STE 220                                                                 OKLAHOMA CITY     OK    73127
WEAVER 2005 REV TRUST DTD 4-11-2005                                       2935 NW 160TH ST                                                                       EDMOND            OK    73013
WEBB FAMILY LLC                                                           1201 HARRIS DR                                                                         BARTLESVILLE      OK    74006
WEBB FAMILY OIL AND GAS TRUST                                             7411 S URBANA AVE                                                                      TULSA             OK    74136-6111
WEBB FAMILY TRUST                                                         128 DEER CREEK RD                                                                      EDMOND            OK    73012
WEBB ROYALTIES LLC                                                        PO BOX 1588                                                                            TULSA             OK    74101
WEBBER HOMES LLC                                                          401 E 44TH                                                                             STILLWATER        OK    74075
WEDEL RESOURCES LLC                                                       715 S HUSBAND                                                                          STILLWATER        OK    74074
WEE 3C FAMILY REV TRUST                                                   5220 E WAGONER RD                                                                      SCOTTSDALE        AZ    85254
WEHLING FAMILY TRUST                                                      1102 WEST BROADWAY                                                                     ENID              OK    73703
WEIL GOTSHAL & MANGES LLP                                                 767 FIFTH AVE                                                                          NEW YORK          NY    10153-0119
WEIMER LTD                                                                PO BOX 11566                                                                           BIRMINGHAM        AL    35202
WEINKAUF PETROLEUM INC                                                    6540 S LEWIS AVE                                                                       TULSA             OK    74136-1009
WEIS OIL COMPANY                                                          PO BOX 1143                                                                            EDMOND            OK    73083-1143

WEISE LIVING TRUST DTD 9-17-2007                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY          TX    75070
WELD AMERICA LLC                                                          9196 E 720 RD                                                                          LOYAL             OK    73756
WELDON KEILLER HAYNIE JR.                                                 521 URY ROAD                                                                           CADDO             OK    74729-4107
WELDON W SCHIEFFER & SHERRI D SCHIE                                       1503 N 9TH ST                                                                          PERRY             OK    73077
                                                                                                                        9211 Lake Hefner
Weldon Jackson                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City     OK    73120
                                       c/o Laminack, Pirtle & Martines,
Weldon Jackson                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston           TX    77006
Weldon Jackson                                                            1304 Hisel Rd                                                                          Del City          OK    73115
WELL DATA LABS INC.                                                       1675 LARIMER ST SUITE 610                                                              DENVER            CO    80202
Wellbenders Directional Services LLC   Richard Cross                      13901 Highway 105 West                                                                 Conroe            TX    77304
WELLBENDERS DIRECTIONAL SRV, LLC                                          13901 HWY 105 WEST                                                                     CONROE            TX    73113
WELLCO ENERGY INC                                                         PO BOX 14130                                                                           OKLAHOMA CITY     OK    73113-0130
WELLEZ INFORMATION MANAGEMENT                                             1250 WOOD BRANCH PARK DRIVE                                                            HOUSTON           TX    77079


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WELLINGTON B RUSSELL                                                     12314 COBBLESTONE DR                                                                   HOUSTON            TX      77024
WELLS FARGO BANK                                                         PO BOX 1450                                                                            MINNEAPOLIS        MN      55485-8113
WELLS FARGO BANK NA                                                      201 MAIN ST STE 400                                                                    FORT WORTH         TX      76102
WELLS FARGO BANK NA                                                      550 BROAD ST                                                                           NEWARK             NJ      07102
WELLS FARGO BANK NA AGENT                                                WELLS FARGO OGM OPS                                                                    AUSTIN             TX      78704
WELLS FARGO COMML OPERATIONS                                             MAC C7328 011                                                                          DENVER             CO      80291-0243
WELLS FARGO VENDOR FIN SERV                                              PO BOX 105710                                                                          ATLANTA            GA      30348-5710
WELLS RESOURCES INC                                                      PO Box 513                                                                             CLIFTON            TX      76634-0513
WELLSIGHT SYSTEMS INC                                                    7370 SIERRA MORENA BLVD SW                                                             CALGARY            AB      T3H 4H9      CANADA
WELLSITE AUTOMATION LLC                                                  PO BOX 60593                                                                           MIDLAND            TX      79711

WELLSPRING ROYALTIES LTD                                                 3811 TURTLE CREEK BLVD SUITE 1800                                                      DALLAS             TX      75219
WELLTEC INC                                                              22440 MERCHANTS WAY                                                                    KATY               TX      77449-7813
Welton, Courteney                     c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK      73116
WELTY BUILDING COMPANY LTD                                               3421 RIDGEWOOD RD STE 200                                                              FAIRLAWN           OH      44333
WENDELL & BECKY MORTON                                                   5121 E 92ND AVE                                                                        STILLWATER         OK      74074-8408
WENDELL CUSTER                                                           PO BOX 529                                                                             CUSHING            OK      74023-0529
WENDELL DARRELL TAYLOR & SHIRLEY K                                       3610 SUN RISE CIR                                                                      JEFFERSONVILLE     IN      47130
WENDELL DEE RISELEY                                                      505 WALNUT STREET                                                                      WEATHERFORD        OK      73096
WENDELL EVERETT                                                          9901 N 114TH EAST AVE                                                                  OWASSO             OK      74055-6445
WENDELL HAWKES                                                           PO BOX 1406                                                                            GRAND JUNCTION     CO      81502
WENDELL HEDRICK                                                          1304 SW 116TH PL                                                                       OKLAHOMA CITY      OK      73170
WENDELL HICKS                                                            PO BOX 1057                                                                            SKIATOOK           OK      74070-5057
WENDELL KING                                                             3867 N STATE ROUTE 42                                                                  WAYNESVILLE        OH      45068-9387
WENDELL O BEANS JR & NANCY G BEANS                                       33615 TARLTON DRIVE                                                                    LEESBURG           FL      34788-3556
WENDELL&KARI HOLLAND TRUSTEES                                            PO BOX 30282                                                                           EDMOND             OK      73003-0005
WENDI AUMILLER                                                           1710 PARKLANE ST                                                                       PERRY              OK      73077-1214
WENDI FIELDS                                                             6610 W ESECO RD                                                                        CUSHING            OK      74023-4894
WENDI KEHN                                                               312 SUMMIT AVE                                                                         DETROIT LAKES      MN      56501-2336
WENDY BROCK                                                              411 S COLLEGE ST                                                                       CALHOUN            MO      65323-1309
WENDY EASTBURN                                                           4251 WILKINSON WAY                                                                     MOBILE             AL      36608
WENDY FARAGOLLAHI                                                        1118 S ROSE HALLOW LN                                                                  STILLWATER         OK      74074
WENDY HALL                                                               PO BOX 858                                                                             BYFIELD            MA      01922-0858
WENDY HALL                                                               1731 GASCONY RD                                                                        ENCINITAS          CA      92024
WENDY LEE ULCH                                                           16501 WYDICK STREET                                                                    CANYON             TX      79015
WENDY RICHARDS                                                           24831 PENNYROYAL DRIVE                                                                 BONITA SPRINGS     FL      34134
WENDY SCHAEDEL                                                           274 EDGEMERE WAY E                                                                     NAPLES             FL      34105
WENSDI GONZALES                                                          14050 ROSECRANS                                                                        SANTA FE SPRINGS   CA      90670
WENTWORTH OPERATING COMPANY                                              11900 N MACARTHUR BLVD SUITE E-1                                                       OKLAHOMA CITY      OK      73162
WEP OPERATING OK LLC                                                     15 E 5TH STREET SUITE 200                                                              TULSA              OK      75136

WEP ROYALTY HOLDINGS LLC                                                 140100 QUAIL SPRINGS PKWY STE 5000                                                     OKLAHOMA CITY      OK      73134-2619
WES DOTTER                                                               306 E 56TH AVE                                                                         STILLWATER         OK      74074-5902
                                                                                                                       9211 Lake Hefner
Wes Perry                             c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
Wes Perry                             LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
Wes Perry                                                                529 Primrose Lane                                                                      Guthrie            OK      73034
WESLEY BEARDALL                       c/o White Star Petroleum, LLC      510 S Main St                                                                          Leedey             OK      73654
WESLEY DUNWORTH                                                          5050 DUNEVILLE ST #121                                                                 LAS VEGAS          NV      89118
WESLEY E EVANS                                                           4668 N 1ST ST APT 107                                                                  FRESNO             CA      93726-0545
WESLEY EARNEST                                                           3615 N LOGAN LN                                                                        CUSHING            OK      74023-6028

WESLEY EVAN BEAL                                                         5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY           TX      75070
WESLEY FAMILY TR                                                         3246 W CR 67                                                                           MULHALL            OK      73063

WESLEY FOUNDATION OKLAHOMA STATE UN                                      823 W UNIVERISTY AVENUE                                                                STILLWATER         OK      74074
WESLEY HEIN                                                              3520 E LYDIA CT                                                                        SPOKANE            WA      99223-7757
WESLEY HIGGINBOTHOM                                                      PO BOX 24                                                                              RIPLEY             OK      74062-0024


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WESLEY HUNT                                                                      14915 W 44TH ST                                                                        MULHALL          OK    73063
                                                                                                                               9211 Lake Hefner
Wesley M. Southern Jr.                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                              c/o Laminack, Pirtle & Martines,
Wesley M. Southern Jr.                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Wesley M. Southern Jr.                                                           12301 Buggy Lane                                                                       Jones            OK    73049
WESLEY METZLER                                                                   ROUTE 1, BOX 77                                                                        LEEDEY           OK    73654
                                                                                                                               9211 Lake Hefner
Wesley Ray Goforth                            c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK    73120
                                              c/o Laminack, Pirtle & Martines,
Wesley Ray Goforth                            LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX    77006
Wesley Ray Goforth                                                               29808 E 32nd St                                                                        Yale             OK    74085
WESLEY ROSSON                                                                    19900 JOHN WAYNE                                                                       PERRY            OK    73077
WESLEY S HOLMES JR                                                               829 REGENTS DRIVE W                                                                    MOBILE           AL    36609-3254
WESLEY SHORT                                                                     28785 N 2970 RD                                                                        CASHION          OK    73016
WEST OF LLC                                                                      29775 N 2740 RD                                                                        OKARCHE          OK    73762-7231
WEST OK TRUCKING INC                                                             PO BOX 1480                                                                            WOODWARD         OK    73802
WEST PLAINS ENERGY CO INC                                                        5272 S LEWIS AVE STE 36                                                                TULSA            OK    74105
WEST PLAINS ENERGY CO INC                                                        PO BOX 700988                                                                          TULSA            OK    74170-0988
WEST PUBLISHING CORPORATION                                                      PO BOX 6292                                                                            CAROL STREAM     IL    60197-6292
WEST TEXAS GAS                                                                   211 N COLORADO                                                                         MIDLAND          TX    79701
                                                                                                                               1900 Kanawha
West Virginia Office of the State Treasurer   Unclaimed Property Division        State Capitol Room E-145                      Boulevard, East                          Charleston       WV    25305
WEST VIRGINIA STATE TAX DEPARTMENT                                               PO BOX 2745                                                                            CHARLESTON       WV    25330-2745
WEST VIRGINIA UNIVERSITY                                                         PO BOX 6005                                                                            MORGANTOWN       WV    26506-6005
WESTAMERICA MINERALS INC                                                         PO BOX 2944                                                                            CASPER           WY    82602
WESTENERGY LLC                                                                   5651 N CLASSEN BLVD SUITE 200                                                          OKLAHOMA CITY    OK    73118-4029
WESTERN CONSERVATION FOUNDATION                                                  PO BOX 5774                                                                            BOISE            ID    83705-5774
WESTERN DRILLING PROGRAM 2010 B                                                  3811 TURTLE CREEK DR., SUITE 560                                                       DALLAS           TX    75219
WESTERN DRILLING PROGRAM 2011 A                                                  3811 TURTLE CREEK DR., SUITE 560                                                       DALLAS           TX    75219

WESTERN ENERGY DEVELOPMENT COMPANY                                               2501 TOURNAMENT COURT                                                                  CASTLEROCK       CO    80104
WESTERN HEMISPHERE                                                               5495 BELT LINE RD                                                                      DALLAS           TX    75254

WESTERN HORIZONTAL DRILLING PROGRAM                                              3811 TURTLE CREEK DR., SUITE 480                                                       DALLAS           TX    75219
WESTERN INTERIOR ENERGY INC                                                      PO BOX 247                                                                             CRESTED BUTTE    CO    81224
WESTERN MARKETING INC                                                            PO BOX 677422                                                                          DALLAS           TX    75267-7422
WESTERN NATURAL RESOURCES                                                        1610 WEST WILSHIRE BOULEVARD                                                           NICHOLS HILLS    OK    73116

WESTERN OIL & GAS DEVELOPMENT COMPA                                              PO BOX 165                                                                             ROBINSON         IL    62454
WESTERN WORKSTRINGS LLC                                                          PO BOX 1646                                                                            WOODWARD         OK    73802-1646
WESTERN WORKSTRINGS LLC                                                          4516 Oklahoma Avenue                                                                   Woodward         OK    73801
Western Workstrings, LLC                      c/o Hodgden Law Firm               Attn: Cody Hodgden                            PO Box 529                               Woodward         OK    73802
WESTERVELT LIMITED PARTNERSHIP                                                   PO BOX 21297                                                                           OKLAHOMA CITY    OK    73156-1297
WESTFAHL FAMILY TRUST DTD 7-1-1994                                               66 S. DOUGLAS BLVD.                                                                    ARCADIA          OK    73007
WESTFALEN ENERGY LLC                                                             PO BOX 720190                                                                          NORMAN           OK    73070-4147
WESTFALL ENERGY LLC                                                              8505 BACARDI DRIVE                                                                     DALLAS           TX    75238
WESTFALL FAMILY TRUST DTD 9 2 2013                                               3633 E 49 PLACE                                                                        TULSA            OK    74135
WESTLAKE RESOURCES INC                                                           550 WESTLAKE PARK BLVD                                                                 HOUSTON          TX    77039
WESTSTAR OIL & GAS INC                                                           1601 E 19TH ST                                                                         EDMOND           OK    73013
WESTWAY RANCHES, LLC                                                             PO Box 10282                                                                           MIDLAND          TX    79702
WESTWIND RESOURCES INC                                                           4716 N MCMILLAN AVE                                                                    BETHANY          OK    73008-2220
WETONA MCCARTY                                                                   9497 STATE HIGHWAY 89                                                                  RINGLING         OK    73456-9631
WETZEL COUNTY PUBLIC SERVICE DISTRI                                              PO BOX 456                                                                             READER           WV    26167-0456
WEX BANK                                                                         PO BOX 6293                                                                            CAROL STREAM     IL    60197-6293
WFD OIL CORP                                                                     16800 CONIFER LANE                                                                     EDMOND           OK    73012
WFJ AND MLJ REVOCABLE LIVING TRUST                                               264 HOWARD ROAD                                                                        LOUDON           TN    37774
WG CONSULTING                                                                    1415 LOUISIANA ST, STE 3500                                                            HOUSTON          TX    77002
Wheatley, Kyle                                c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater       OK    74074


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                                                                                    White Star Petroleum, LLC
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WHH ROYALTY HOLDINGS LLC                                            274 MADISON AVE RM 1603                                                    NEW YORK             NY      10016
WHH ROYALTY HOLDINGS LLC                                            274 MADISON AVE SUITE 1603                                                 NEW YORK             NY      10016
WHIT ARNHARDT LIFE ESTATE                                           25670 S 170 RD                                                             HENRYETTA            OK      74437
WHITACRE ENTERPRISES INC                                            35651 STATE ROUTE 537                                                      GRAYSVILLE           OH      45734-7002
WHITCO SUPPLY LLC                                                   200 N MORGAN AVE                                                           BROUSSARD            LA      70518
WHITE EAGLE                                                         655 HAUNTED LN                                                             BENSALEM             PA      19020
WHITE FAMILY MINERALS LLC                                           PO BOX 1928                                                                CHICKASHA            OK      73023-1928
WHITE FAMILY TRUST                                                  106259 S 3420 RD                                                           MEEKER               OK      74855-4723
WHITE FIELDS                                                        7127 COUNTY LINE RD NE                                                     PIEDMONT             OK      73078

WHITE LIVING TRUST DTD 11-18-1996                                   5900 SOUTH LAKE FOREST DR STE 300                                          MCKINNEY             TX      75070
White Operating Company             c/o Durbin Larimore & Bialick   Attn: Michael L Darrah                 920 N Harvey Ave                    Oklahoma City        OK      73102
White Operating Company             c/o Durbin Larimore & Bialick   Attn: E. Edd Pritchett Jr.             920 N Harvey Ave                    Oklahoma City        OK      73102
White Operating Company             c/o The Doyle Firm PC           Attn: William H Doyle                  1313 E Osborn Rd    Ste. 220        Phoenix              AZ      85014
White Operating Company                                             1627 SW 96th St                                                            Oklahoma City        OK      73159

WHITE ROCK OIL & GAS 1-B LP                                         5810 TENNYSON PARKWAY SUITE 500                                            PLANO                TX      75024
WHITE ROCK OIL & GAS GP I LLC                                       5810 TENNYSON PKWY SUITE 500                                               PLANO                TX      75024

WHITE ROCK OIL & GAS LLC                                            5001 SPRING VALLEY ROAD SUITE 100E                                         DALLAS               TX      75244

WHITE ROCK OIL & GAS LLC                                            5810 TENNYSON PARKWAY SUITE 500                                            PLANO                TX      75024
White Star Carry Partners, LLC      Attention: Elliot J. Chambers   301 N.W. 63rd, Suite 600                                                   Oklahoma City        OK      73116
White Star Carry Partners, LLC                                      301 NW 63rd St                         Ste 600                             Oklahoma City        OK      73116
WHITE STAR ENERGY INC                                               PO BOX 51108                                                               MIDLAND              TX      79710
White Star II                                                       301 NW 63rd St                                                             Oklahoma City        OK      73116
White Star NR Corporation           Attention: Elliot J. Chambers   301 N.W. 63rd, Suite 600                                                   Oklahoma City        OK      73116
White Star NR Corporation                                           301 NW 63rd St                         Ste 600                             Oklahoma City        OK      73116
White Star Partner Carry, LLC       Attention: Scott R. Mueller     301 N.W. 63rd, Suite 600                                                   Oklahoma City        OK      73116
White Star Partner Carry, LLC       Attention: Thomas J. Blalock    301 N.W. 63rd, Suite 600                                                   Oklahoma City        OK      73116
WHITE STAR PETROLEUM HOLDINGS LLC                                   PO BOX 18756                                                               OKLAHOMA CITY        OK      73154-0756
White Star Petroleum LLC                                            301 NW 63rd St                                                             Oklahoma City        OK      73116
WHITE STAR ROYALTY COMPANY                                          PO BOX 51108                                                               MIDLAND              TX      79710-1108
White, Zachary                      c/o White Star Petroleum, LLC   301 NW 63rd St                         Ste 600                             Oklahoma City        OK      73116
WHITEROCK OIL AND GAS LLC                                           202 EAST TOWER                                                             PERRY                OK      73077
WHITE'S WELDING LLC                                                 PO BOX 6147                                                                HERMITAGE            PA      16148-0922
WHITETAIL ENERGY INC                                                3910 W 6TH AVE #203                                                        STILLWATER           OK      74074
WHITETAIL ENERGY INC                                                PO BOX 125                                                                 STILLWATER           OK      74076
WHITFIELD LLC                                                       PO BOX 12708                                                               OKLAHOMA CITY        OK      73157
WHITING OIL AND GAS CORP                                            1700 BROADWAY #2300                                                        DENVER               CO      80290
WHITING PETROLEUM CORP                                              1700 BROADWAY                                                              DENVER               CO      80290-1703
WHITING PETROLEUM CORPORATION                                       MILE HIGH CENTER                                                           DENVER               CO      80290
WHITNEY ANN MURRAY                                                  1400 NORTH PERKINS RD, APT G-50                                            STILLWATER           OK      74075
WHITNEY BAILEY                                                      117 S OAKDALE DR                                                           STILLWATER           OK      74074-6889
WHITNEY CASTOR                                                      5524 ST HWY 34C LOT 3                                                      WOODWARD             OK      73801
WHITNEY HOPKINS                                                     324 W IRVING ST                                                            BLUE SPRINGS         NE      68318-3035
WHITNEY PRICE                                                       1111 E 3RD #202                                                            MOSCOW               ID      83843
WHITNEY SONG                                                        668 STEPHANY DR                                                            PIEDMONT             OK      73078
WHITNEY SPEER                                                       12 SLEEPY HOLLOW RD                                                        UPPER SADDLE RIVER   NJ      07458
WHITSON SERVICES LLC                                                522 N VAN BUREN                                                            ELK CITY             OK      73644
Wible, Valerie                      c/o White Star Petroleum, LLC   301 NW 63rd St                         Ste 600                             Oklahoma City        OK      73116

Wicklund Petroleum Corporation      c/o Levinson, Smith & Huffman PC Attn: Lee I Levinson                  1743 East 71st St                   Tulsa                OK      74136
Wicklund Petroleum Corporation      c/o Scott M Rayburn              211 N Robinson, N1000                                                     Oklahoma City        OK      73102
WIDEN ENTERPRISES INC                                                6911 MANGROVE LN                                                          MADISON              WI      53713
WIECHMAN PROPERTIES LLC                                              3412 NW 67TH ST                                                           OKLAHOMA CITY        OK      73316
WILBERT SUMNER                                                       2014 15TH ST                                                              LUBBOCK              TX      79401-3717
WILBUR A BURTON DECEASED                                             2026 CHARTWELL LANE                                                       LINCOLN              NE      68516
WILBUR A KEITH LIFE ESTATE                                           15201 KNOB HILL                                                           PERRY                OK      73077


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WILBUR ARTHUR BURTON REV LIV TRST                                        6026 CHARTWELL LANE                                                                     LINCOLN         NE      68516
WILBUR DILLER                                                            863 RIDGEVIEW DR                                                                        EAGLE POINT     OR      97524
WILBUR DOMENICA KELLY                                                    28 SOUTH DR                                                                             RONKONKOMA      NY      11779-3146
WILBUR FRANK                                                             7700 CIMARRON RD                                                                        YUKON           OK      73099
WILBUR HENKE                                                             5000 N QUAPAH PL                                                                        OKLAHOMA CITY   OK      73112-2565
WILBUR HUGHES                                                            16600 FRONTIER                                                                          PERRY           OK      73077
WILBUR KEITH                                                             15201 KNOBHILL                                                                          PERRY           OK      73077
WILBUR L & CAROLYN B FRANK REV TR                                        7700 CIMARRON RD                                                                        YUKON           OK      73099

WILBUR LAHMAN SIMANK TESTAMENTARY T                                      PO BOX 21708                                                                            OKLAHOMA CITY   OK      73156-1708
WILBUR ROY CLARK                                                         660 CUMO CT                                                                             PUNTA GORDA     FL      33950-8573
WILD HORSE OIL & GAS INC                                                 PO BOX 601518                                                                           DALLAS          TX      75360-1518
WILD WELL CONTROL INC                                                    2202 OIL CENTER COURT                                                                   HOUSTON         TX      77073
WILDA MARIE MAJORS REV TRUST                                             3822 S 91ST E AVE                                                                       TULSA           OK      74145
WILDA WHITE                                                              19013 COUNTY ROAD 1367                                                                  ANADARKO        OK      73005-5602
WILDBOAR ENERGY LLC                                                      PO BOX 13605                                                                            OKLAHOMA CITY   OK      73113-1605
WILDCARD FAMILY LP                                                       1601 BRYAN STREET SUITE 4300                                                            DALLAS          TX      75201-3477
WILDCAT DRILLING SERVICES INC                                            PO BOX 905                                                                              WOODWARD        OK      73802-0905
WILDCAT OIL TOOLS LLC                                                    PO BOX 50592                                                                            MIDLAND         TX      79710
WILDCAT WELLHEAD SERVICES LLC                                            PO BOX 248920                                                                           OKLAHOMA CITY   OK      73124
WILDCAT WELLHEAD SERVICES LLC                                            713 N Morgan Rd                                                                         Oklahoma City   OK      73127
WILDCATTER PETROLEUM LLC                                                 539 NW 33 ST                                                                            OKLAHOMA CITY   OK      73118
WILDCATTERS PAC OIPA                                                     500 N.E. 4TH ST                                                                         OKLAHOMA CITY   OK      73104
WILEY OIL & GAS LP                                                       PO BOX 600130                                                                           DALLAS          TX      75360-0130
WILKOF INDUSTL SUPPLY RON'S WORKING                                      314 CHERRY AVE SE                                                                       CANTON          OH      44702-1121
WILL FOSTER                                                              1215 N WASHINGTON                                                                       MAGNOLIA        AR      71753-2459
WILL ROGERS THEATRE                                                      4322 N WESTERN AVE                                                                      OKLAHOMA CITY   OK      73118-5418
WILLA BERRY                                                              PO BOX 25372                                                                            HOUSTON         TX      77265
                                                                                                                       9211 Lake Hefner
Willa Ewing                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Willa Ewing                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Willa Ewing                                                              219 N Seay                                                                              Cushing         OK      74023
WILLA GUNKEL                                                             2503 MINNIE ROSE DRIVE                                                                  GUTHRIE         OK      73044
WILLA HULET                                                              PO BOX 841                                                                              STILLWATER      OK      74076
WILLA KANEHL                                                             PO BOX 70                                                                               MANFORD         OK      74044
WILLA M SHELTON                                                          8613 W THURMAN, APT 3                                                                   WICHITA         KS      67212
WILLARD DIXON                                                            RR 1 BOX 453A                                                                           QUAPAW          OK      74363
WILLARD REUPERT                                                          5950 E CR 74                                                                            GUTHRIE         OK      73044
                                                                                                                       9211 Lake Hefner
Willard Robinson                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Willard Robinson                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
Willard Robinson                                                         4955 N Johnstown Ave                                                                    Tulsa           OK      74126
WILLENNA CHRISTIAN                                                       8211 W DEEPROCK                                                                         RIPLEY          OK      74062-6452
                                                                                                                       650 Madison Avenue,
Willett Select Investors I LP         c/o Willett Advisors LLC           Attn: Brad Briner                             17th Floor                                New York        NY      10022
WILLHARD EDNA CARLSON                                                    5843 N LACEY AVE                                                                        CHICAGO         IL      60646-5609
WILLIAM R JOHNSTON JR &                                                  26 VILLAGE DR                                                                           CARTERSVILLE    GA      30121-4252
WILLIAM & HEATHER                                                        PO Box 2640                                                                             MIDLAND         TX      79702
WILLIAM & LEESA GONZALES REV LIV TR                                      114125 S 4172 RD                                                                        CHECOTAH        OK      74426
                                                                                                                       9211 Lake Hefner
William (Bill) Garnder                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
William (Bill) Garnder                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston         TX      77006
William (Bill) Garnder                                                   1110 Harrington Dr                                                                      Moore           OK      73160
WILLIAM A HODSON HEIRS OF                                                1809 SOUTHWOODS ROAD                                                                    ANDERSON        IN      46012-2747
WILLIAM A LAMBERT & DOLORES L LAMBE                                      800 WEST HARNED AVENUE                                                                  STILLWATER      OK      74074
WILLIAM A LORENZ JR                                                      3672 WOODHAVEN CIR                                                                      HAMBURG         NY      14075


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WILLIAM A ROSS                                                         2347 INDIAN RD                                                              SEDAN             KS      67361
WILLIAM A VASSAR III AND RENE JONES                                    17417 PRAIRIE SKY WAY                                                       EDMOND            OK      73012
WILLIAM A. BERRY TRUST A                                               805 NW 63RD ST                                                              OKLAHOMA CITY     OK      73116-7603
WILLIAM A. BERRY TRUST B                                               805 NW 63RD ST                                                              OKLAHOMA CITY     OK      73116
WILLIAM A. PHILLIPS AND PATRICIA PH                                    PO BOX 838                                                                  LAKESIDE          MT      59922
WILLIAM AHRBERG                                                        1020 E 9TH PL                                                               CUSHING           OK      73123
WILLIAM ALBERT VASSAR III                                              17417 PRAIRIE SKY WAY                                                       EDMOND            OK      73012-6623
WILLIAM ALBERT VASSAR III                                              17417 PREAIRIE SKY WAY                                                      EDMOND            OK      73012
WILLIAM AND CARLA SHINER TRUST                                         120 FRANCISCAN TRL                                                          REDDING           CA      96003-8268
WILLIAM ATKINSON                                                       1110 PINE GOLD HILL ST                                                      BOULDER           CO      80302-8758
WILLIAM AUSTIN                                                         15963 KENSINGTON PL                                                         DUMFRIES          VA      22025
WILLIAM B & JULIANA L MCINTOSH JT                                      7440 N PENNSYLVANIA AVE                                                     GUTHRIE           OK      73044
WILLIAM B BUXTON TRUST                                                 PO BOX 1364                                                                 DUNCAN            OK      73534

WILLIAM B CADENHEAD                                                    5900 SOUTH LAKE FOREST DR STE 300                                           MCKINNEY          TX      75070
WILLIAM B FRICK                                                        N54 W 15796 LARKSPUR LANE                                                   MENOMONEE FALLS   WI      53051
WILLIAM B GLASS & KAYE F GLASS REV                                     1716 FORDSON                                                                BETHANY           OK      73008
WILLIAM B HEMBREE                                                      948 COUNTY ROAD 610                                                         FARMERSVILLE      TX      75442
William B. Rogers                     c/o Allen Stewart, PC            Attn: Allen M Stewart                 325 N Saint Paul St   Ste. 4000       Dallas            TX      75070
William B. Rogers                     c/o Drummond Law, PLLC           Attn: Donald A Lepp                   1500 South Utica      Ste. 400        Tulsa             OK      74104
William B. Rogers                     c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                 747 3rd Ave                           New York          NY      10017
William B. Rogers                                                      4422 Deanna Dr                                                              Perkins           OK      74059
WILLIAM BAMBERG                                                        12768 W COOKSEY RD                                                          CRESCENT          OK      73028
WILLIAM BARAN                                                          15103 STANTON AVE                                                           LA MIRADA         CA      90638-5153
WILLIAM BARTHOLOMEW                                                    847 HILLCREST AVE                                                           GRIFFIN           GA      30224-4916
WILLIAM BEEKLY                                                         13916 DRAKES WAY                                                            YUKON             OK      73099-2510
WILLIAM BELL                                                           13519 INDIAN CREEK RD                                                       HOUSTON           TX      77079
WILLIAM BELLIS                                                         PO BOX 2236                                                                 PINEDALE          WY      82941
WILLIAM BERRY DECEASED                                                 3329 NW 21ST ST                                                             OKLAHOMA CITY     OK      73107-3013
WILLIAM BERRYS                                                         1708 MEADOW LN                                                              PERRY             OK      73077-1212
William Bert Wise                     c/o Allen Stewart, PC            Attn: Allen M Stewart                 325 N Saint Paul St   Ste. 4000       Dallas            TX      75070
William Bert Wise                     c/o Drummond Law, PLLC           Attn: Donald A Lepp                   1500 South Utica      Ste. 400        Tulsa             OK      74104
William Bert Wise                     c/o Phillips & Paolicelli, LLP   Attn: Steven Phillips                 747 3rd Ave                           New York          NY      10017
William Bert Wise                                                      827 East Detroit Ave                                                        Yale              OK      74085
WILLIAM BLACKMON                                                       14420 S BRENT DR                                                            MOORE             OK      73170
WILLIAM BLAIR                                                          714 S MONROE                                                                STILLWATER        OK      74074
WILLIAM BOWEN                                                          1418 OAKRIDGE RD                                                            ARDMORE           OK      73401
WILLIAM BOYD                                                           417 NW 39TH ST                                                              OKLAHOMA CITY     OK      73118
WILLIAM BOYD AND LORENE BOYD                                           562 WEST CARLTON                                                            MERIDAN           OK      83642
WILLIAM BRADSHAW                                                       8440 CR 454                                                                 MERKEL            TX      79536
WILLIAM BREESE                                                         209 S EDNA DR                                                               STILLWATER        OK      74075
WILLIAM BRYAN                                                          PO BOX 940402                                                               HOUSTON           TX      77094-7402
WILLIAM BRYAN                                                          2601 NW EXPRESSWAYSTE 208-W                                                 OKLAHOMA CITY     OK      73112
WILLIAM BULLOCK                                                        314 E 6TH ST                                                                VINTON            IA      52349-1814
WILLIAM BURKE                                                          20570 S REDLAND RD                                                          OREGON CITY       OR      97045
WILLIAM BURTON WILEY                                                   2600 NW 63RD ST APT 54                                                      OKLAHOMA CITY     OK      73116-4917
WILLIAM BUSCH                                                          1492 N COOLIDGE AVE                                                         WICHITA           KS      67203-2983
WILLIAM BUXTON                                                         1306 HIGHLAND WAY                                                           DUNCAN            OK      73533-3840
WILLIAM C & ANNA M SCHMIDT REV TR                                      8887 S LEWIS AVE APT 703                                                    TULSA             OK      74137-3223
WILLIAM C & ROSE H BROCK REV TRUST                                     3101 OLD PECOS TRAIL #908                                                   SANTA FE          NM      87505
WILLIAM C BARTEE & CANDACE K BARTEE                                    4806 N ASBURY                                                               BETHANY           OK      73008
WILLIAM C PARRISH TRUST                                                PO BOX 112                                                                  RIPLEY            OK      74062-0112
WILLIAM C SCHOCK TRUST FBO IRENE SC                                    PO BOX 3480                                                                 OMAHA             NE      68103-0480
WILLIAM C SCHOCK TRUST FBO WILLIAM                                     PO BOX 3480                                                                 OMAHA             NE      68103-0480
WILLIAM CADWALLADER                                                    4848 GLOWING GARNET ST                                                      N LAS VEGAS       NV      89081
WILLIAM CARPENTER                                                      7625 N 54TH ST.                                                             ENID              OK      73701
WILLIAM CARR                                                           17841 PLUM TREE LN                                                          YORBA LINDA       CA      92886
WILLIAM CARTER                                                         1521 N. OKLAHOMA ST                                                         TRYON             OK      74875
WILLIAM CHANDLER                                                       3218 E 2ND AVE                                                              STILLWATER        OK      74074


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WILLIAM CHAPMAN                                                          412 SE PINECREST DR                                                                    TOPEKA           KS      66605
WILLIAM CHARLES ROOT & TINA MARIE                                        202 S MISSOURI                                                                         MARSHALL         OK      73056
WILLIAM CHISUM                                                           1003 YUCCA TRL                                                                         GRAFORN          TX      76449
WILLIAM CHRISTOPHER COMPTON                                              515 CHICKASAW SPRINGS DRIVE                                                            TUTTLE           OK      73089-1039
WILLIAM CLAYTON                                                          2406 VINEYARD DR.                                                                      GRANBURY         TX      76048
WILLIAM CLEVERDON                                                        15306 BONITA SPRINGS DR                                                                HOUSTON          TX      77083-1358
WILLIAM CLIFTON COOPER                                                   807 N POPLAR ST A                                                                      HUTCHINSON       KS      67501
WILLIAM COATS                                                            2238 41ST AVE                                                                          SAN FRANCISCO    CA      94116
WILLIAM COE                                                              1144 WINDSOME PLACE                                                                    MOUNT PLEASANT   SC      29464-9034
WILLIAM COMBS                                                            PO BOX 1393                                                                            RIDGELAND        SC      29936-2623
WILLIAM COSTELLO                                                         1423 SHARPS POINT RD                                                                   ANNAPOLIS        MD      21409
WILLIAM CURTIS                                                           3300 BEE CAVES RD STE 650-1308                                                         W LAKE HILLS     TX      78746-6663
WILLIAM D & EARLINE STROM REV FAM                                        PO BOX 1241                                                                            STILLWATER       OK      74076
WILLIAM D & JUDY C ANTLE FAMILY TR                                       4524 E CR 66                                                                           MULHALL          OK      73063
WILLIAM D ARNOLD                                                         2519 N ROCK ROAD CT                                                                    WICHITA          KS      67226-1136
WILLIAM D ARNOLD & MARY LINDA ARNOL                                      2519 N ROCK ROAD CT                                                                    WICHITA          KS      67226
WILLIAM D BENNETT 401K PLAN                                              PO BOX 3345                                                                            FREDERICKSBERG   TX      78624
WILLIAM D GODFREY FAMILY LLC                                             PO BOX 3480                                                                            OMAHA            NV      68103
WILLIAM D SMITH                                                          PO BOX 333                                                                             LEEDEY           OK      73654-0333
WILLIAM D. GODFREY FAMILY LLC         ATTN: DEBBIE PRINGER                                                                                                      TULSA            OK      74135
WILLIAM DAVID BURNS                                                      9563 FAWN PARK LANE                                                                    MECHANICSVILLE   VA      23116
WILLIAM DAVIS                                                            401 S BOSTON AVE STE 2800                                                              TULSA            OK      74103-4064
WILLIAM DAWSON                                                           11329 HI TOWER DRAPT #2                                                                SAINT ANN        MO      63075
WILLIAM DE VAUL DECD                                                     2100 OAKLAWN DR                                                                        CHILLICOTHE      MO      64601
WILLIAM DEAN SUTTON REV TRUST                                            14551 S MIDWEST BLVD                                                                   EDMOND           OK      73034
WILLIAM DICKINSON                                                        1811 E GRANT                                                                           GUTHRIE          OK      73044
WILLIAM DIXON                                                            2602 RAINFALL TR                                                                       CEDAR PARK       TX      78613
WILLIAM DONALD DIEHL                                                     3344 W CR 68                                                                           MULHALL          OK      73063
WILLIAM DOUGLAS SINCLAIR & MARY HOA                                      1605 NORWOOD PL                                                                        OKLAHOMA CITY    OK      73120
WILLIAM DOWNES                                                           1770 S 1450 RD                                                                         COUNCIL GROVE    KS      66846
WILLIAM DUANE GRAVES                                                     PO BOX 458                                                                             PERKINS          OK      74059
WILLIAM DUNBAR                                                           1418 SHERWOOD LN                                                                       BROKEN ARROW     OK      74011
WILLIAM E & ANN MARIE WILL REV TR                                        19701 COUNTY RD 230                                                                    MORRISON         OK      73061
WILLIAM E AUFLEGER ESTATE                                                1904 AVONDALE ST                                                                       STILLWATER       OK      74074-2391
WILLIAM E BARTRAM REV TRUST                                              PO BOX 1335                                                                            STILLWATER       OK      74076-1335
WILLIAM E RICHARDSON ILT                                                 PO BOX 1553                                                                            LOWELL           AR      72745-1553
WILLIAM E RICHARDSON TRUST B                                             PO BOX 1646                                                                            LOWELL           AR      72745
WILLIAM E SCHUTKESTING                                                   118 SOUTH BURDEL LN                                                                    ENID             OK      73703
WILLIAM E WILLIAMS                                                       27411 STATE HIGHWAY 33                                                                 CASHION          OK      73016
                                                                                                                       9211 Lake Hefner
William E. Owens                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
William E. Owens                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
William E. Owens                                                         43 Parkwood Dr                                                                         Luther           OK      73054
WILLIAM EARL HUGHES & BETTY GAY HUG                                      16201 EXPLORER                                                                         PERRY            OK      73077-9454
WILLIAM EARP DEC'D                                                       4140 W REDFIELD RD                                                                     PHOENIX          AZ      85053-5339
WILLIAM EILAND                                                           PO BOX 11228                                                                           MIDLAND          TX      79702
WILLIAM ELMORE                                                           4901 LEWIS DR                                                                          PONCA CITY       OK      74604
WILLIAM ELZA SMITH JR                                                    PO BOX 664                                                                             EUFAULA          OK      74432
WILLIAM EUGENE FAGAN                                                     2600 E LONGHILLS RD APT 2901                                                           BENTON           AR      72019

WILLIAM F DISCH & SHRILEY DISCH                                          5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY         TX      75070
WILLIAM F JUDGE                                                          5717 E 20T ST N                                                                        WICHITA          KS      67208
WILLIAM F PETERSON III REV TR                                            PO BOX 1588                                                                            TULSA            OK      74101-1588
WILLIAM F SINCLAIR                                                       4454 E KENBRIDGE CT                                                                    SALT LAKE CITY   UT      84108-1564
WILLIAM F VARNER LIVING TRUST                                            15805 CALAREMONT BLVD                                                                  EDMOND           OK      73013
WILLIAM FAGAN                                                            5150 POND SPRING CIR                                                                   FAIRVIEW         TX      75069
WILLIAM FAIRCHILD                                                        222 N FM 2869                                                                          WINNSBORO        TX      75494-5815
WILLIAM FERGUSON                                                         14510 27TH AVE NE                                                                      SHORELINE        WA      98155


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               CreditorName                 CreditorNoticeName                          Address1                            Address2                  Address3             City      State       Zip      Country
WILLIAM FLESNER                                                          19 STORM VIEW LANE                                                                      SANTE FE            NM      87506
WILLIAM FLOYD                                                            720 GRINELL PL                                                                          GRETNA              LA      70056-4440
WILLIAM FLYNN PETERSON                                                   PO BOX 1377                                                                             EDMOND              OK      73083
WILLIAM FRANK BARRON III                                                 PO BOX 973                                                                              PONTE VEDRA BEACH   FL      32004-0973
WILLIAM FREDERICK GOODENOUGH                                             1200 E OCEAN SHORES BLVD SW                                                             OCEAN SHORES        WA      98569-9349
WILLIAM FRY                                                              181 COUNTY ROAD 840                                                                     ANGLETON            TX      77515-7653
WILLIAM FULLER                                                           PO BOX 340                                                                              HARTSEL             CO      80449-0340
WILLIAM FULTON                                                           1104 GRAND CHAMPION DR                                                                  AUSTIN              TX      78732-1997
WILLIAM G HUDSON                                                         12445 JAYCIE CIR                                                                        OKLAHOMA CITY       OK      73130
WILLIAM G STEINERT JR REV TR DTD 5-                                      7326 S 126TH ST                                                                         FAIRMONT            OK      73736
WILLIAM GALLAGHER                                                        43330 HOLSTEIN RD                                                                       WOODSFIELD          OH      43793-9370
WILLIAM GARDNER                                                          1104 W CANADIAN AVE                                                                     VINITA              OK      74301-3421
WILLIAM GARRETT                                                          PO BOX 630163                                                                           IRVING              TX      75063-0163
WILLIAM GASS                                                             15772 HUMMINGBIRD LN                                                                    HUNTINGTON BEACH    CA      92649-1451
WILLIAM GENTRY                                                           PO BOX 801                                                                              HOBART              OK      73651
WILLIAM GEORGE HAFNER                                                    5102 W 72ND TERRACE                                                                     PRAIRIE VILLAGE     KS      66208
WILLIAM GIBSON                                                           8808 LAKEAIRE DR                                                                        OKLAHOMA CITY       OK      73132
WILLIAM GLOVER                                                           1209 SHELLY LN                                                                          EDMOND              OK      73034
WILLIAM GOODENOUGH                                                       2514 LOGAN CIRCLE                                                                       COLORADO SPRINGS    CO      80907
WILLIAM GRAEF                                                            PO BOX 53                                                                               MULHALL             OK      73063
WILLIAM GRAHAM                                                           PO BOX 84                                                                               MULHALL             OK      73063
WILLIAM GRAY                                                             121 E MAGNOLIA AVE                                                                      LA FERIA            TX      78559
WILLIAM H ANDERSON IV & DANA                                             PO BOX 2283                                                                             STILLWATER          OK      74076-2283
WILLIAM H CARPENTER                                                      2092 BROOKHURST AVE                                                                     COLUMBUS            OH      43229
WILLIAM H HEISLER JR                                                     PO BOX 53567                                                                            MIDLAND             TX      79710

WILLIAM H HOLMBERG & DONNA HOLMBERG                                      5834 E 22ND ST                                                                          TULSA               OK      74114
WILLIAM H MARTIN                                                         15187 NORTH MIDWEST BLVD                                                                MULHALL             OK      73063
WILLIAM H MARTIN LE                                                      15187 N MIDWEST BLVD                                                                    MULHALL             OK      73063
WILLIAM H WOMACK REV INTERVIVOS TR                                       8600 S FAIRGROUNDS RD                                                                   STILLWATER          OK      74074
                                                                                                                       9211 Lake Hefner
William H. Sides Jr.                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City       OK      73120
                                      c/o Laminack, Pirtle & Martines,
William H. Sides Jr.                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston             TX      77006
William H. Sides Jr.                                                     103 S. Preston                                                                          Davenport           OK      74026
WILLIAM HAFNER                                                           22807 N HWY 77                                                                          ORLANDO             OK      73073
WILLIAM HALES III LIVING TRUST                                           PO BOX 7685                                                                             EDMOND              OK      73083-7685
WILLIAM HAMILTON                                                         7357 LANE PARK CT                                                                       DALLAS              TX      75225
WILLIAM HANSEN                                                           6857 POLPIS RD                                                                          REYNOILDSBURG       OH      43068
WILLIAM HARBAUGH                                                         2581 LADERS LANE                                                                        PLACERVILLE         CA      95667-4823
WILLIAM HARRY                                                            218 SUNRISE RD                                                                          ELKLAND             MO      65644
WILLIAM HARTER                                                           7225 N RAIN VALLEY ROAD                                                                 FLAGSTAFF           AZ      86004
WILLIAM HARTMAN                                                          1071 E COUNTY RD 64                                                                     MULHALL             OK      73063-9755
WILLIAM HARTMAN                                                          2064 W BUENA VISTA                                                                      SPRINGFIELD         MO      65810
WILLIAM HARVEY ANDERSON                                                  2 FIVE OAKS LANE                                                                        CLOVER              SC      29710
WILLIAM HAWKINS                                                          213 W KARA                                                                              HOBBS               NM      88240
WILLIAM HEMPHILL                                                         PO BOX 21                                                                               BEDROCK             CO      81411
WILLIAM HICKS                                                            1240 FORREST DR                                                                         IRVING              TX      75061
WILLIAM HILSON AND KIMBERLY J HILSO                                      4604 HALEY LN                                                                           STILLWATER          OK      74074
WILLIAM HINER                                                            3609 NW 66TH ST                                                                         OKLAHOMA CITY       OK      73116-2009
WILLIAM HITZELBERGER 2012 LEGACY TR                                      4120 DRUID LANE                                                                         DALLAS              TX      75205-1143
WILLIAM HOOK                                                             611 OAK DRIVE                                                                           WEATHERFORD         OK      73096
WILLIAM HOPFER                                                           1276 BOURLAND RD                                                                        KELLER              TX      76248
WILLIAM HORTON                                                           12419 OVERCUP DRIVE                                                                     HOUSTON             TX      77024
WILLIAM HOY                                                              7023 TELLER CT                                                                          ARVADA              CO      80003
WILLIAM HUBBARD                                                          918 MCALPINE                                                                            NAVASOTA            TX      77868
WILLIAM HUGHES                                                           16201 EXPLORER                                                                          PERRY               OK      73077
WILLIAM HUGHES                                                           1013 W CHOCTAW LN                                                                       STILLWATER          OK      74075-1806
William Hyatt                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas              TX      75070


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               CreditorName                  CreditorNoticeName                             Address1                        Address2               Address3            City     State       Zip      Country
William Hyatt                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400         Tulsa             OK      74104
William Hyatt                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                            New York          NY      10017
William Hyatt                                                            72 E. 2nd St                                                                         Hallett           OK      74034
WILLIAM J BICKET                                                         2474 SUMMIT RIDGE TRAIL                                                              CHARLOTTESVILLE   VA      22911

WILLIAM J KALINEC                                                        5900 SOUTH LAKE FOREST DR STE 300                                                    MCKINNEY          TX      75070
WILLIAM J SANDERSON                                                      1957 STATE ROUTE 505                                                                 TOLEDO            WA      98591
WILLIAM J SPICER                                                         PO Box 2640                                                                          MIDLAND           TX      79702
WILLIAM J TRUE & LINDA L TRUE CO TT                                      18825 S HARRAH RD                                                                    NEWALLA           OK      74857
WILLIAM J YANTIS JR ESTATE                                               3700 W ROBINSON STREET SUITE 208                                                     NORMAN            OK      73072
WILLIAM J. WARDELL                                                       119 MCCORMICK WAY SW                                                                 MARIETTA          GA      30008
WILLIAM JENNINGS                                                         PO BOX 191                                                                           PAWNEE            OK      74058-0191
WILLIAM JOHN WIGGINS ATTORNEY AT LA                                      105 N HUDSON AVE STE 915                                                             OKLAHOMA CITY     OK      73102
William Johnson                       c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000        Dallas            TX      75070
William Johnson                       c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400         Tulsa             OK      74104
William Johnson                       c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                            New York          NY      10017
WILLIAM JOHNSON                                                          4102B MAIN ST                                                                        LA MARQUE         TX      77568
William Johnson                                                          1536 North 71st West Ave                                                             Tulsa             OK      74127
WILLIAM K MCGARVEY TRUST                                                 1816 WOOD VALLEY DR                                                                  CARMEL            IN      46032
WILLIAM K SNYDER                                                         223 E LEHIGH ST                                                                      PEARCE            AZ      85625
WILLIAM K WEINBERGER                                                     135 RODNEY ST APT 3                                                                  BROOKLYN          NY      11211
WILLIAM KEAN                                                             4013 S MILTON DR                                                                     INDEPENDENCE      MO      64055
WILLIAM KEESECKER                                                        2915 NE 199TH STREET                                                                 SHORELINE         WA      98155
                                                                                                                       9211 Lake Hefner
William Keeton                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104         Oklahoma City     OK      73120
William Keeton                        c/o Girardi Keese                  Attn: Thomas V. Girardi                       1126 Wilshire Blvd                     Los Angeles       CA      90017
William Keeton                                                           2311 N Hartford St                                                                   Stillwater        OK      74075
                                                                                                                       9211 Lake Hefner
William Keightly                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104         Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
William Keightly                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl           Houston           TX      77006
William Keightly                                                         27246 W. 41st St                                                                     Sand Springs      OK      74063
WILLIAM KENNETH STEWART                                                  24779 FM 1485 ROAD TRLR 8                                                            NEW CANEY         TX      77357
WILLIAM KINZIE                                                           710 N D AVE                                                                          CLEVELAND         OK      74020-1216
WILLIAM KIRTLEY GARNETT REV TRUST                                        9636 N MAY AVE STE 200                                                               OKLAHOMA CITY     OK      73120-2715
WILLIAM KOGER                                                            133 E 26TH PL                                                                        TULSA             OK      74114
WILLIAM KREPPS                                                           2101 CRESTED BUTTE ST                                                                GUTHRIE           OK      73044-3509
WILLIAM KUHN                                                             PO BOX 990                                                                           GREAT BEND        KS      67530-0990
WILLIAM L & MARY E                                                       120 S CIMARRON                                                                       HENNESSEY         OK      73742
WILLIAM L BALL                                                           851 N PALM ST                                                                        PONCA CITY        OK      74601
WILLIAM L DEJAGER & CHERYL D DEJAGE                                      22851 CR 170                                                                         PERRY             OK      73077
WILLIAM L GOINS & EVA E GOINS TRUST                                      8887 S. LEWIS AVE, 507S                                                              TULSA             OK      74137-3239
WILLIAM L JONES REV TRUST                                                611 JONES RD                                                                         GUTHRIE           OK      73044
WILLIAM L O'NEILL                                                        746 WARWICK LANE                                                                     COPPELL           TX      75019
WILLIAM L RIEMAN                                                         PO BOX 51                                                                            BARNSDALL         OK      74002
WILLIAM L SCHLOSS III REV TRUST                                          2135 E 60TH PL                                                                       TULSA             OK      74105
                                                                                                                       9211 Lake Hefner
William L. Caldwell                   c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104         Oklahoma City     OK      73120
                                      c/o Laminack, Pirtle & Martines,
William L. Caldwell                   LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl           Houston           TX      77006
William L. Caldwell                                                      220 W. 4th St                                                                        Edmond            OK      73003
WILLIAM LAKEY                                                            PO BOX 314                                                                           COUNCIL           ID      83612-0314
WILLIAM LAMBERT                                                          1505 AIRLANE DR                                                                      BURLINGTON        IA      52601
WILLIAM LANG                                                             8113 E HAYWOOD RD                                                                    FAIRMONT          OK      73736
WILLIAM LEE BEASLEY LIVING TRUST                                         5724 NW 135TH ST                                                                     OKLAHOMA CITY     OK      73142
WILLIAM LINDAMAN                                                         3302 MAPLE DR                                                                        SAND SPRINGS      OK      74063-2917
WILLIAM LINDSEY                                                          20 WINDBROOK SQ                                                                      NORMAN            OK      73072-4728
WILLIAM LINN                                                             PO BOX 591                                                                           ANADARKO          OK      73005
WILLIAM LITTON                                                           504 Copperfield Drive                                                                EDMOND            OK      73003


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               CreditorName           CreditorNoticeName                  Address1                    Address2        Address3             City       State        Zip      Country
WILLIAM LONG                                               3933 BLACK BUTTE CIR                                                  STOCKTON             CA      95209
WILLIAM LOPP                                               PO BOX 1776                                                           STILLWATER           OK      74076-1776
WILLIAM LUSTER                                             601 WASHINGTON #187                                                   STILLWATER           OK      74074
WILLIAM M. ZALOUDEK TRUST DATED 10-                        4921 E 104TH ST                                                       TULSA                OK      74137
WILLIAM MAIN                                               1704 CAMINO RANCHO                                                    SIERRA VISTA         AZ      85635
WILLIAM MARTIN                                             215 POINTE WAY #B                                                     HARVE DE GRACE       MD      21078
WILLIAM MAXON                                              233 SE SUMPTER DR                                                     LEES SUMMIT          MO      64063
WILLIAM MAYFIELD                                           905 CROWFOOT RD                                                       LEBANON              OR      97355-2918
WILLIAM MCCLURE                                            427 S BOSTON AVE STE 952                                              TULSA                OK      74103-4114
WILLIAM MCCOMAS                                            345249 E 800 RD                                                       AGRA                 OK      74824-3003
WILLIAM MCDOWELL                                           9841 ROSEWOOD DR                                                      OVERLAND PARK        KS      66207
WILLIAM MCFADDEN                                           2435 SAN HELICE CT                                                    HEMET                CA      92545
WILLIAM MCGUIRE                                            11565 STATE HIGHWAY 7 E                                               CENTERVILLE          TX      75833-3029
WILLIAM MCKEE                                              12518 RAPIDS PASS                                                     SAN ANTONIO          TX      78253
WILLIAM MERTENA                                            4928 COOPER POINT RD #6                                               OLYMPIA              WA      98502
WILLIAM MEYER                                              22324 LAWRENCE 2210                                                   AURORA               MO      65605
WILLIAM MICHAEL EDWARDS                                    PO BOX 1584                                                           FORT GIBSON          OK      74434
WILLIAM MILLER                                             201 S OAKDALE DR                                                      STILLWATER           OK      74074-6888
WILLIAM MILLS                                              803 S D AND H                                                         CLEVELAND            OK      74020-7026
WILLIAM MONTGOMERY                                         2221 MANCHESTER LN                                                    PEARLAND             TX      77581-4639
WILLIAM MORRIS HAYNIE                                      1511 LARKSPUR LN 103                                                  DURANT               OK      74701-2178
WILLIAM MUELLER                                            5301 SPIVA LN                                                         PERKINS              OK      74059-4313
WILLIAM MUGLER                                             803 CRESCENT BLVD                                                     ALBERTA              BC      T2S 1L5      CANADA
WILLIAM MURDOCK                                            418 NE 2ND ST                                                         OKLAHOMA CITY        OK      73104-4017
WILLIAM MUSHRUSH                                           3121 BUFFALO SPEEDWAY APT 8307                                        HOUSTON              TX      77098-1840
WILLIAM MUSSMAN                                            10203 HOLLY SPRINGS DR                                                HOUSTON              TX      77042
WILLIAM N MOXEY ELIZABETH A MOXEY T                        PO BOX 147                                                            ESTANCIA             NM      87016
WILLIAM NIXON                                              11010 E 18TH ST                                                       TULSA                OK      74128
WILLIAM O WARNER                                           PO BOX 813                                                            PERRY                OK      73077
WILLIAM ORR                                                7936 34th AVE NW                                                      CALGARY              AB      T3B 1P5      CANADA
WILLIAM ORR                                                PO BOX 118                                                            MULHALL              OK      73063
WILLIAM OTJEN                                              6926 S DELAWARE PL                                                    TULSA                OK      74136
WILLIAM OVERHOLT                                           3848 W APRIL STREET                                                   BATTLEFIELD          MO      65619-8401
WILLIAM P LONGAN                                           2220 S KARSTEN CRK                                                    STILLWATER           OK      74074-1082
WILLIAM P STROUBE GST EXEMPT TRUST                         PO BOX 820                                                            HENDERSON            TX      75653
WILLIAM PATRICK FISCHER & HELEN                            1508 NE DANA DRIVE                                                    BLUE SPRINGS         MO      64014-2009
WILLIAM PEEK DECD                                          424 S 4TH STAPT 2                                                     ALBEMARLE            NC      28001
WILLIAM PERRYMAN LIV TR                                    12221 MERIT DR STE 1660                                               DALLAS               TX      75251
WILLIAM PHILLIPS                                           1123 E APPION WAY                                                     CARSON CITY          NV      89701-7722
WILLIAM PHILLIPS                                           1800 PECAN CROSSING DR                                                SHAWNEE              OK      74804
WILLIAM PINES                                              112 ERSKINE DR EAST                                                   GREENSBORO           NC      27410
WILLIAM POOL                                               5212 GRANDSTAFF                                                       CUSHING              OK      74023
WILLIAM PRESTON                                            1520 W MAIN ST                                                        CUSHING              OK      74023-5600
WILLIAM PRUITT                                             205 RUE ST ANN STREET                                                 METARIE              LA      70005
WILLIAM R HOOD TRUST                                       5350 E 4TH ST                                                         TUCSON               AZ      85711
WILLIAM R JONES AND REBECCA ELLEN J                        500 N MAIN                                                            PERKINS              OK      74059

WILLIAM R NICHOLS                                          5900 SOUTH LAKE FOREST DR STE 300                                     MCKINNEY             TX      75070

WILLIAM RAMSEY AND MARY RAMSEY HW T                        PO BOX 65                                                             RIPLEY               OK      74062-0065
WILLIAM RAY EDMISTON                                       1155 CAMINO DEL MAR SUITE 199                                         DEL MAR              CA      92014
WILLIAM RAY TINNEN                                         107 PEARL STREET                                                      LINDALE              TX      75771
WILLIAM REECE BURNS II                                     1202 GOLFVIEW DRIVE                                                   NORTH MYRTLE BEACH   SC      29582
WILLIAM RESLER                                             5000 SW HUNTON ST APT 404                                             TOPEKA               KS      66604
WILLIAM ROBERT HENDERSON ESTATE                            22411 CORIANDER                                                       KATY                 TX      77450
WILLIAM ROBERTS                                            424 S HOPPY RD                                                        STILLWATER           OK      74075
WILLIAM ROBERTSON                                          671 KEYMAN ROAD                                                       ARDMORE              OK      73401
WILLIAM ROTEN                                              18016 E 96TH ST N                                                     OWASSO               OK      74055-7707
WILLIAM S BOYD INC                                         417 NW 39TH STREET                                                    OKLAHOMA CITY        OK      73118


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               CreditorName                 CreditorNoticeName                          Address1                            Address2                 Address3            City      State       Zip      Country
WILLIAM SAMUEL McKEE III                                                 303 NORTH C STREET                                                                     DUNCAN             OK      73533
WILLIAM SARGENT SANDERS PC                                               22633 SOUTHERL FARMS BLVD                                                              EDMOND             OK      73025-2048
WILLIAM SCARCE                                                           505 CLEARVIEW DR                                                                       NORMAN             OK      73072
WILLIAM SCHIFFER                                                         12035 S 44TH ST                                                                        PHOENIX            AZ      85044
WILLIAM SCOTT DOTTER                                                     21341 E 970 RD                                                                         BUTLER             OK      73625
WILLIAM SCOTT RAGLAND DESCENDANTS                                        3838 OAK LAWN #500                                                                     DALLAS             TX      75219
WILLIAM SHAFFER                                                          1577 RCR 3503                                                                          EMORY              TX      75440-4043
WILLIAM SHAW                                                             3925 GILBERT UNIT D                                                                    DALLAS             TX      75219
WILLIAM SHEETS                                                           22350 COUNTY RD 170                                                                    PERRY              OK      73077
WILLIAM SHEETS                                                           22350 CR 170                                                                           PERRY              OK      73077
WILLIAM SIEGELE                                                          4340 ARCHWOOD DR                                                                       COLORADO SPRINGS   CO      80920
WILLIAM SIMON                                                            PO BOX 678                                                                             CREEDE             CO      81130-0678
WILLIAM STEPHENS                                                         16251 FRONTIER                                                                         PERRY              OK      73077
WILLIAM STOREY                                                           PO BOX 674                                                                             EL RITO            NM      87530-0674
WILLIAM STORM                                                            423 E BURR OAK RD                                                                      NORMAN             OK      73072-9119
WILLIAM STRUNK                                                           R D #5 BOX 5265                                                                        STROUDSBURG        PA      18360
WILLIAM SUNDGREN                                                         465 YUCCA ROAD                                                                         NAPLES             FL      34102-5322
WILLIAM SVELAN                                                           6507 SINGING FOREST                                                                    SAN ANTONIO        TX      78256
WILLIAM SWART                                                            250558TH ST                                                                            LUBBOCK            TX      79413
WILLIAM SWART                                                            PO BOX 826                                                                             WALDEN             CO      80480-0826
WILLIAM SYLVESTER                                                        17583 E MEADOW LN                                                                      CLAREMORE          OK      74017-2546
WILLIAM T & DEBRA D BASORE HW JTS                                        2415 E ROCKAWAY HILLS RD                                                               CAVE CREEK         AZ      85331
WILLIAM T AND MIRIAM M BRADLEY TRUS                                      5410 S RANGE RD                                                                        STILLWATER         OK      74074-2055
WILLIAM T HELLER JR REV TR NO 2                                          2435 E 22ND PL                                                                         TULSA              OK      74114-3126
WILLIAM T RODMAN                                                         16401 OSCEOLA TRAIL                                                                    EDMOND             OK      73013
WILLIAM TARWATER                                                         3 BROOKHOLLOW DR                                                                       WIMBERLEY          TX      78676-2717
WILLIAM TAYLOR                                                           10355 BARON DR                                                                         SAN DIEGO          CA      92126
WILLIAM TELL                                                             136 E MAPLE AVE                                                                        PERRY              OK      73077
WILLIAM TERREL                                                           9551 DEER RIDGE                                                                        PERRY              OK      73077
WILLIAM TESTA WILLIAM J TESTA                                            6119 HEIDI PL                                                                          MONTGOMERY         AL      36117-2504
WILLIAM TESTER                                                           6330 ALAMOSA                                                                           BOZEMAN            MT      59718
WILLIAM THATCHER                                                         PO BOX 3098                                                                            GRAPEVINE          TX      76099-3098
WILLIAM THOMAS DECD                                                      218189 PARK ST                                                                         CHILLICOTHE        MO      64601
WILLIAM THOMPSON                                                         5000 ECHO GLEN CIR                                                                     OKLAHOMA CITY      OK      73142-5403
WILLIAM TIMOTHY                                                          PO BOX 1273                                                                            ADA                OK      74821
WILLIAM TRAUGOTT                                                         2630 W MAIN ST                                                                         WOODWARD           OK      73801
WILLIAM UHLES                                                            PO BOX 1143                                                                            NORMAN             OK      73070-1143
                                                                                                                       9211 Lake Hefner
William V Eddy Jr.                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
William V Eddy Jr.                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
William V Eddy Jr.                                                       9611 S. Winston Ave                                                                    Tulsa              OK      74137
WILLIAM V HANKS III IRREV TR                                             6435 S OSWEGO AVENUE                                                                   TULSA              OK      74136
WILLIAM W KOELM JR                                                       3620 FLORA VISTA LOOP                                                                  ROUND ROCK         TX      78681-1050
WILLIAM W LONDON INC                                                     6303 WATERFORD BLVD                                                                    OKLAHOMA CITY      OK      73118
                                                                                                                       9211 Lake Hefner
William W. Patterson                  c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
William W. Patterson                  LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
William W. Patterson                                                     2526 NW 46th St                                                                        Oklahoma City      OK      73112
                                                                                                                       9211 Lake Hefner
William W. Foster                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK      73120
                                      c/o Laminack, Pirtle & Martines,
William W. Foster                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX      77006
William W. Foster                                                        8219 NW 87th St                                                                        Oklahoma City      OK      73132
WILLIAM WADE                                                             10250 S WESTMINISTER                                                                   GUTHRIE            OK      73044
WILLIAM WALTON                                                           8506 FRESNO AVE                                                                        LA MESA            CA      91941-6514
WILLIAM WARREN                                                           PO BOX 614                                                                             ANGEL FIRE         NM      87710-0614
WILLIAM WARREN                                                           3766 WAGON WHEEL ROAD                                                                  EDMOND             OK      73034


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                                                                                            White Star Petroleum, LLC
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              CreditorName                CreditorNoticeName                         Address1                             Address2                 Address3            City   State       Zip      Country
WILLIAM WASHABAUGH                                                     1370 N SENECA RD                                                                       PECK            KS      67120
WILLIAM WATTS                                                          2212 WEST 24TH ST                                                                      STILLWATER      OK      74074
WILLIAM WEBB                                                           111 S ASH                                                                              GUTHRIE         OK      73044
WILLIAM WEBBER                                                         PO BOX 825                                                                             MISSOURI CITY   TX      77459
WILLIAM WELCH                                                          801 W HIGHLAND                                                                         PONCA CITY      OK      74601
WILLIAM WELLS                                                          11311 N CENTRAL EXPY STE 100                                                           DALLAS          TX      75243-6700
WILLIAM WHITE                                                          PO BOX 1263                                                                            MEXIA           TX      76667
WILLIAM WILSON                                                         4394 CLEGGS FERRY RD                                                                   WOODSBURY       GA      30293
WILLIAM WOOTEN                                                         210 S CHARLES DR                                                                       STILLWATER      OK      74074-6799
WILLIAM WRAY                                                           6508 HICKOCK DR, # 7D                                                                  FORT WORTH      TX      76116-2191
                                                                                                                     9211 Lake Hefner
William Donndelinger                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
William Donndelinger                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
William Donndelinger                                                   14712 SE 75th St                                                                       Choctaw         OK      73020
                                                                                                                     9211 Lake Hefner
William Gaige                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
William Gaige                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
William Gaige                                                          1800 Kamber Terr                                                                       Edmond          OK      73003
                                                                                                                     9211 Lake Hefner
William Hamilton Jr.                c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
William Hamilton Jr.                LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
William Hamilton Jr.                                                   10221 N. Triple X Rd                                                                   Jones           OK      73049
                                                                                                                     9211 Lake Hefner
William Harvey                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
William Harvey                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
William Harvey                                                         3308 Sun Valley Dr                                                                     Oklahoma City   OK      73110
                                                                                                                     9211 Lake Hefner
William Kennedy                     c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
William Kennedy                     LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
William Kennedy                                                        8308 NW 99th St                                                                        Oklahoma City   OK      73162
                                                                                                                     9211 Lake Hefner
William Richmond                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
William Richmond                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
William Richmond                                                       4409 Meadow Lark Terrace                                                               Edmond          OK      73034
                                                                                                                     9211 Lake Hefner
William Sullivan                    c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
William Sullivan                    LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
William Sullivan                                                       515 Shady Brook                                                                        Stroud          OK      74079
                                                                                                                     9211 Lake Hefner
William Wolf                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
William Wolf                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
William Wolf                                                           6325 168th St                                                                          Noble           OK      73068
                                                                                                                     9211 Lake Hefner
William Wood                        c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                    c/o Laminack, Pirtle & Martines,
William Wood                        LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
William Wood                                                           1209 NE 3rd St                                                                         Moore           OK      73160
WILLIAMCURTIS                                                          201 E MAIN ST                                                                          RIPLEY          OK      74062-2003
WILLIAMS & CONNOLLY LLP                                                725 12TH ST NW                                                                         WASHINGTON      DC      20005-3901
WILLIAMS BOX FORSHEE & BULLARD PC                                      522 COLCORD DR                                                                         OKLAHOMA CITY   OK      73102-2202
WILLIAMS PROPERTIES INC                                                11700 PRESTON RD STE 660-140                                                           DALLAS          TX      75230-6112


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Williams, Dereck                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK    73116
Williams, Evan                        c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK    74074
Williams, Jessie                      c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK    74074

WILLIAMSON CONSTRUCTION & EQUIPMENT                                      2575 HWY 69 S                                                                          LUMBERTON          TX    77657-8239
WILLIE BANKS                          c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater         OK    74074
WILLIE BURTCH                                                            15511 ATOM DR                                                                          CHULA              MO    64635
                                                                                                                       9211 Lake Hefner
Willie C. Washington Jr               c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Willie C. Washington Jr               LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Willie C. Washington Jr                                                  12617 Lexington Dr                                                                     Oklahoma City      OK    73173
WILLIE HANING PHILLIPS                                                   7213 E 91ST PL                                                                         TULSA              OK    74133-5331
WILLIE J & EMMA J MOUSER TRUST                                           8313 E 82ND STREET                                                                     TULSA              OK    74133-8017
WILLIE KOEN-POTTS                                                        1720 STATE ROUTE 105                                                                   RAYMOND            WA    98577
WILLIE LEE SUMNER LIFE ESTATE                                            517 E FORDHAM ST                                                                       LUBBOCK            TX    79403-3101
WILLIE MAE RUBRECHT                                                      1405 STONE OAK DRIVE                                                                   MCKINNEY           TX    75070-5921
WILLIE PHILLIPS                                                          13707 W 116TH ST                                                                       COYLE              OK    73027-2311
WILLIE SHIPPY                                                            130 ELMORE                                                                             NAMPA              ID    83651
WILLIE SUMNER                                                            517 EAST FORDHAM STREET                                                                LUBBOCK            TX    79403-3101
                                                                                                                       9211 Lake Hefner
Willie Scott                          c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120
                                      c/o Laminack, Pirtle & Martines,
Willie Scott                          LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Willie Scott                                                             9610 NE 42nd St                                                                        Spencer            OK    73084
WILLIS DOGGETT                                                           PO BOX 121                                                                             MULHALL            OK    73063
WILLIS ENTERPRISES CORP                                                  PO BOX 345                                                                             SNYDER             OK    73566-0345
WILLIS GARRETT                                                           PO BOX 2769                                                                            DEMING             NM    88031-2769
WILLIS GOODENOUGH                                                        1917 NE BIRCH ST                                                                       CAMAS              WA    98607-1042
WILLIS GROUP CONSULTING LLC                                              1415 LOUISIANA ST STE 3500                                                             HOUSTON            TX    77002
WILLIS MILLER                         c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City      OK    73116
WILLIS POE                                                               7500 N CALLE SIN ENVIDIA APT 13105                                                     TUCSON             AZ    85718
WILLIS SMITH                                                             PO BOX 72                                                                              JENKS              OK    74037-0072
WILLIS U BARNES TEST TRUST B                                             621 N ROBINSON, SUITE 100                                                              OKLAHOMA CITY      OK    73102
WILLIS U BARNES TESTAMENTARY TRUST                                       621 N ROBINSON, SUITE 100                                                              OKLAHOMA CITY      OK    73102
WILLIS VESTAL                                                            6191 S EAST AVE                                                                        FRESNO             CA    93725-9424
WILLISCHILD OIL & GAS CORP                                               621 E ST                                                                               SNYDER             OK    73566-1849
WILLMAN PUMP TRUCKS LLC                                                  PO BOX 1544                                                                            CUSHING            OK    74023-1544
WILLODINE VAN NICE                                                       11420 US 1 PMB 202                                                                     NORTH PALM BEACH   FL    33408
                                                                                                                       9211 Lake Hefner
Wilma Anderson Wright                 c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City      OK    73120

Wilma Anderson Wright                 c/o Laminack Pirtle & Martines LLP Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston            TX    77006
Wilma Anderson Wright                                                    499 Hickory Hill Dr                                                                    Choctaw            OK    73020
WILMA DEAN FRYE                                                          2704 PARKVIEW LN #2114                                                                 BEDFORD            TX    76022
WILMA ETHEL CHAPMAN DECEASED                                             8619 EAST 116TH STREET                                                                 PERKINS            OK    74059
WILMA GREGG                                                              2901 MAYER LN                                                                          MUSKOGEE           OK    74403-1012
WILMA HOLBROOK                                                           3615 ANDY KAY LN                                                                       STILLWATER         OK    74075
WILMA IRENE DAY                                                          PO BOX 191                                                                             VICI               OK    73859
WILMA JEAN MCMILLAN                                                      PO BOX 1                                                                               MULHALL            OK    73063
WILMA JONES HENDERSON                                                    21905 COUNTRY RD 290                                                                   MORRISON           OK    73061
WILMA KILLINGSWORTH                                                      5052 CASSANDRA WY                                                                      RENO               NV    89523
WILMA KLAGENBERG                                                         PO BOX 1465                                                                            GUALALA            CA    95445-1465
WILMA L BEZDICEK                                                         804 WAKEFIELD                                                                          PERRY              OK    73077
WILMA LAVETA BEZDICEK TRUST                                              804 WAKEFIELD RD                                                                       PERRY              OK    73077
WILMA LUSTER                                                             6700 N WESTMINISTER RD                                                                 SPENCER            OK    73084-6124
WILMA M FUXA REV LIVING TRUST                                            23253 N HWY 74                                                                         MARSHALL           OK    73056
WILMA M PHILLIPS TRUST                                                   PO BOX 4539                                                                            SEDONA             AZ    86340-4539
WILMA MCADAMS                                                            2537 SW 28TH                                                                           OKLAHOMA CITY      OK    73108


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WILMA MOERKE                                                             23218 COSO                                                                             MISSION VIEJO    CA      92692
WILMA PERSHALL                                                           1019 E THIRD ST                                                                        HOBART           OK      73651
WILMA PORTER                                                             790149 SOUTH LILAC LANE                                                                TRYON            OK      74875-6506
WILMA PYLE                                                               1200 SECOND PL                                                                         ELGIN            OK      73538
WILMA SPEER                                                              4708 61ST AVENUE TERRACE W                                                             BRADENTON        FL      34210

WILMA STEPHENSON FKA IRELAND FKA FL                                      301 North Jardot Road                                                                  STILLWATER       OK      74075
WILMA SUE MILLER                                                         13214 WORTHAM BROOK LN                                                                 HOUSTON          TX      77065
WILMA WEHR                                                               4621 N EVERGREEN                                                                       STILLWATER       OK      74074
WILMER PEPMILLER                                                         ROUTE 1                                                                                COYLE            OK      73027
                                      ATTN: Lynn M. Steiner, Vice
Wilmington Trust N.A                  President                          50 S. 6th Street                              Suite 1290                               Minneapolis      MN      55402
                                      ATTN: Quinton M. DePompolo,
Wilmington Trust N.A                  CCTS, Client Associate             50 S. 6th Street                              Suite 1290                               Minneapolis      MN      55402
WILMINGTON TRUST NA                                                      PO BOX 8955                                                                            WILMINGTON       DE      19899-8955
Wilmington Trust, N.A.                Lynn M. Steiner, Vice President    50 S. 6th Street Suite 1290                                                            Minneapolis      MN      55402
WILMOTH INTERESTS INC                                                    550 HASTINGS RD                                                                        MARION CENTER    PA      15759-4515
WILSHIRE OIL GP                                                          521 W WILSHIRE BLVD STE 200                                                            OKLAHOMA CITY    OK      73116
WILSON E SPEER                                                           116 FAIRVIEW AVE N                                                                     SEATTLE          WA      98109-5357
WILSON ENERGY LLC                                                        3708 HARRIS DR                                                                         EDMOND           OK      73013
WILSON INVESTMENTS LLC                                                   1419 W CHARLESTON PLACE                                                                BROKEN ARROW     OK      74011
WILTOMA JONES BALL                                                       3418 SLEEPY HOLLOW DR                                                                  WICHITA          KS      67208
WINDEMERE INVESTMENTS                                                    2432 NW 180TH ST                                                                       EDMOND           OK      73012-0653
WINDING RIVER-NWS LLC                                                    15401 N MAY AVE STE 1100                                                               OKLAHOMA CITY    OK      73013
WINDMILL OIL & GAS CO LLC                                                1924 S UTICA STE 1010                                                                  TULSA            OK      74104
WINDOM ROYALTIES LLC                                                     PO BOX 660082                                                                          DALLAS           TX      75266
WINDSWEPT ROYALTIES LLC                                                  120 BROADWAY 32ND FLOOR                                                                NEW YORK         NY      10271
WINDY RIDGE LLC                                                          39539 LONG RUN RD                                                                      GRAYSVILLE       OH      45734
                                                                                                                       9211 Lake Hefner
Winford W. Story                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Winford W. Story                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Winford W. Story                                                         1034 N. Main                                                                           Tryon            OK      74875
WINFRED HENDERSON                                                        125 TOWNSHIP RD 33                                                                     SOUTH POINT      OH      45680
WINFREY HOUSTON                                                          PO BOX 1118                                                                            STILLWATER       OK      74076-1118
WINFREY KINZIE                                                           9102 S WESTERN                                                                         PERKINS          OK      74059
WINGARD EQUIPMENT & RENTAL LLC                                           9163 N 2420 ROAD                                                                       THOMAS           OK      73669
WINIFRED & JOE TRAUGHER                                                  5221 VIA QUINTO                                                                        NEWBURY PARK     CA      91320-6936
WINIFRED PRALLE                                                          3208 NORTHERN VALLEY DR NE                                                             ROCHESTER        MN      55906
WINMORR LLC                                                              2713 NW 61ST ST                                                                        OKLAHOMA CITY    OK      73112
WINN ANALYTICAL LLC                                                      44 S 122ND EAST AVE                                                                    TULSA            OK      74128
WINNEY CONSTRUCTION CO                                                   PO BOX 801                                                                             FORKS            WA      98331-0801
WINNIE BELL MARNERES INTER VIVOS TR                                      2941 LAKESIDE DR                                                                       OKLAHOMA CITY    OK      73120
WINNIE JOHNSTON                                                          1310 LINDEN DR                                                                         JEFFERSON CITY   MO      65109
WINONA CONCA                                                             83 RAIN LN                                                                             MOYIE SPRINGS    ID      83845-0020
WINONA OATES                                                             4899 S HOMER ALTO HWY                                                                  LUFKIN           TX      75904-6166
WINONNA CRUMLEY                                                          721 PATTON DR                                                                          ROSEVILLE        CA      95678
WINSTON & STRAWN LLP                                                     36235 TREASURY CENTER                                                                  CHICAGO          IL      60694-6200
WINSTON FAMILY TRUST DTD 2-4-2005                                        PO BOX 4514                                                                            SANTA ROSA       CA      95402
WINSTON GOERING                                                          10596 JOHNSTON LN                                                                      WILSON           ID      83641
WINSTON INTERNATIONAL LLC                                                408 NW 70TH ST                                                                         OKLAHOMA CITY    OK      73116-7800
WINSTON ROYALTIES LLC                                                    5214 YOLANDA LN                                                                        DALLAS           TX      75229
                                                                                                                       9211 Lake Hefner
Winston Prescott                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City    OK      73120
                                      c/o Laminack, Pirtle & Martines,
Winston Prescott                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston          TX      77006
Winston Prescott                                                         3412 Hillside Dr                                                                       Del City         OK      73115
WINZELER FAMILY PARTNERSHIP RLLLP                                        10714 OLYMPIA DRIVE                                                                    HOUSTON          TX      77042-2819
Wisconsin Department of Revenue       Unclaimed Property Unit            PO Box 8982                                                                            Madison          WI      53708-8982


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                                                                                              White Star Petroleum, LLC
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             CreditorName                   CreditorNoticeName                        Address1                              Address2                 Address3            City          State     Zip      Country
WISDOM RESOURCES LLC                                                     PO BOX 608                                                                             LINDSAY                OK    77037
WISE O&G LLC                                                             38301 PLEASANT RIDGE RD                                                                GRAYSVILLE             OH    45734-9762

WISE OIL & GAS NO 11 LTD                                                 6851 NE LOOP 820 STE 200                                                               NORTH RICHLAND HILLS   TX    76180
WISE OIL & GAS NO 7 LTD                                                  6851 NE LOOP 820 STE 200                                                               N RICHLAND HILLS       TX    76180

WISHBONE STRATA LP                                                       10497 TOWN & COUNTRY WAY STE 700                                                       HOUSTON                TX    77024
WISHFUL THINKING LLC                                                     35520 STATE ROUTE 537                                                                  GRAYSVILLE             OH    45734

WITMAN FAMILY TRUST                                                      5900 SOUTH LAKE FOREST DR STE 300                                                      MCKINNEY               TX    75070
                                                                                                                       9211 Lake Hefner
Witmer Daniel                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK    73120
                                      c/o Laminack, Pirtle & Martines,
Witmer Daniel                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX    77006
Witmer Daniel                                                            12604 Waterview Ct                                                                     Oklahoma City          OK    73170
Witt, Lane                            c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City          OK    73116
WMF HAWKER INC                                                           PO BOX 11327                                                                           MIDLAND                TX    79702
WMJ LIVING TRUST                                                         19013 S SINCLAIR ROAD                                                                  MARSHALL               OK    74056
WOC JR LP                                                                PO BOX 470829                                                                          FORT WORTH             TX    76147-0829
WOLF PEN OIL & GAS CO                                                    30820 LAFFERRE LN                                                                      LEWISVILLE             OH    43754
WOLFFS OILFIELD SERVICE                                                  750033 S 3540 RD                                                                       CUSHING                OK    74023-6740
                                                                                                                       9211 Lake Hefner
Wolfried Kouadio                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK    73120
                                      c/o Laminack, Pirtle & Martines,
Wolfried Kouadio                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX    77006
Wolfried Kouadio                                                         15804 Carriage House Rd                                                                Edmond                 OK    73013
WOLVERINE DIRECTIONAL LLC                                                3500 S BOULEVARD                                                                       EDMOND                 OK    73013
                                                                                                                       9211 Lake Hefner
Wonda Macon                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City          OK    73120
                                      c/o Laminack, Pirtle & Martines,
Wonda Macon                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston                TX    77006
Wonda Macon                                                              1900 Bryant Ave                                                                        Oklahoma City          OK    73121
WONDRUE JOHNSON                                                          12 AMANDINE COURT                                                                      MAUMELLE               AR    72113
WONTOK-II ROYALTY COMPANY                                                1776 LINCOLN STREET, # 700                                                             DENVER                 CO    80203-1022
WOODALL EXCHANGE LLC                                                     15406 SE 29TH ST                                                                       CHOCTAW                OK    73020-6544
WOODARD GATES                                                            1510 JOSHUA CT                                                                         KELLER                 TX    76248
WOODARD GATES LE                                                         PO BOX 674                                                                             KELLER                 TX    76244-0674
WOODBERRY ROYALTY INC                                                    PO BOX 25128                                                                           DALLAS                 TX    75225
WOODRUFF ENERGY LLC                                                      365B COMMERCIAL PARK DR                                                                FAIRHOPE               AL    36532-1912
WOODS RIG LEVELING INC                                                   PO BOX 2689                                                                            ADA                    OK    74820

WOODSIDE SPECIAL OPPORTUNITY PE FUN                                      1401 S. BOULDER SUITE 200                                                              TULSA                  OK    74119-3649
WOODWARD ENERGY LLC                                                      5016 BRETTSHIRE WAY                                                                    OKLAHOMA CITY          OK    73142
WOODWARD NEWS                                                            PO BOX 928                                                                             WOODWARD               OK    73802
WOODWARD REGIONAL HOSPITAL                                               900 17th STREET                                                                        WOODWARD               OK    73801-2448
WOODWAY USA INC                                                          W 229 N591 FOSTER COURT                                                                WAIKESHA               WI    53186
WOODY JAMES ACTON                                                        7020 E 66TH PL                                                                         TULSA                  OK    74133
WOODY NICKELS                                                            1021 N MEADOW CT                                                                       COOPER CANYON          TX    75077
WOODY R & MILDRED R SMITH                                                6116 S JARDOT ST                                                                       STILLWATER             OK    74074-8227
WOOLDRIDGE INVESTMENTS LLC                                               17332 SELDON ST                                                                        FAIRHOPE               AZ    36532
WOOLRIDGE INVESTMENTS                                                    3817 OLD CHARLOTTE PIKE                                                                FRANKLIN               TN    37064
WORD B WILSON INVESTMENTS LP                                             110 W LOUISIANA AVE STE 200                                                            MIDLAND                TX    79701
WORKIVA INC                                                              2900 UNIVERSITY BLVD                                                                   AMES                   IA    50010-8665
WORKPLACEDYNAMICS LLC                                                    180 SHEREE BLVD STE 2000                                                               EXTON                  PA    19341
WORKPRO                                                                  10095 BRICK CHURCH RD                                                                  CAMBRIDGE              OH    43725-8550
WORLD SOFTWARE CORPORATION                                               266 HARRISTOWN RD STE 201                                                              GLEN ROCK              NJ    07452
WORLD TRAVEL SERVICE LLC                                                 7645 E 63RD ST STE 101                                                                 TULSA                  OK    74133-1208
WORSHAM REVOCABLE TRUST                                                  7122 S SHERIDAN RD STE 2124                                                            TULSA                  OK    74133
WORTHY FAMILY REV TRUST                                                  4349 WORTHY RD                                                                         AGRA                   OK    74824-6276


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              CreditorName                 CreditorNoticeName                         Address1                             Address2                 Address3            City   State     Zip      Country
WP SULLIVAN                                                             108 VISTA VERDE CT                                                                     ROSEVILLE       CA    95747
WR & W OIL & GAS                                                        39051 SR 26                                                                            GRAYSVILLE      OH    45734
WR CUBBAGE                                                              PO BOX 550                                                                             CUSHING         OK    74023-0550

WR OIL & GAS LLC                                                        5001 SPRING VALLEY ROAD, STE 100E                                                      DALLAS          TX    75244
WREDE FAMILY INVESTMENTS                                                4901 JESSIE JAMES DR                                                                   EDMOND          OK    73034
WRGM VENTURES LLC                                                       PO BOX 14533                                                                           OKLAHOMA CITY   OK    73113
WRIGHT MCAFEE CONSULTING LC                                             3801 NW 63RD STE 260                                                                   OKLAHOMA CITY   OK    73116
WRIGHT TECHNICAL SOLUTIONS LLC                                          8201 NW 100TH ST                                                                       OKLAHOMA CITY   OK    73162-5030
WRIGHT WAY OIL & LAND HOLDINGS                                          3463 STATE #513                                                                        SANTA BARBARA   CA    93105
Wright, Jared                        c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK    73116
Wright, Jeffrey                      c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater      OK    74074
Wright, Nathan                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater      OK    74074
WRT MINERALS LLC                                                        5147 S HARVARD AVE STE 110                                                             TULSA           OK    74125-3587
WS HOLDING LLC                                                          4906 DEERFIELD DR                                                                      STILLWATER      OK    74074-7647
WSB RESOURCES LLC                                                       PO BOX 54558                                                                           OKLAHOMA CITY   OK    73154
WSP ON TOP CO.                                                          PO BOX 54526                                                                           OKLAHOMA CITY   OK    73154
WTB SERVICES INC                                                        4106 NW MEADOWBROOK DR                                                                 LAWTON          OK    73505
WV DUNNAM                                                               506 LIBERTY BANK BLDG                                                                  WACO            TX    76710
WW WORLDWIDE LLC                                                        18124 WEDGE PARKWAY suite 460                                                          RENO            NV    89511
WWP OIL & GAS LLC                                                       2533 WARWICK DR                                                                        OKLAHOMA CITY   OK    73116
WYATT EARP                                                              1429 ARDEE AVE                                                                         NASHVILLE       TN    37216
WYATT ENERGY PARTNERS                                                   110 N MARIENFELD ST                                                                    MIDLAND         TX    79701-4412
WYATT SNOW                                                              2242 E 24TH ST                                                                         TULSA           OK    74114-2912
WYCHE MURPHY                                                            16 YELLOW BRICK DR                                                                     STILLWATER      OK    74074-1719
WYCHE MURPHY JR FMLY LVG TRUST                                          16 YELLOW BRICK DR                                                                     STILLWATER      OK    74074-1719
WYCHE MURPHY JR LVG TR DTD 2-18-00                                      16 YELLOW BRICK DR                                                                     STILLWATER      OK    74074
WYCLIFFE BIBLE TRANSLATORS INC                                          PO BOX 620486                                                                          ORLANDO         FL    32862-0486
                                                                                                                      9211 Lake Hefner
Wyeth Hall                           c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK    73120
                                     c/o Laminack, Pirtle & Martines,
Wyeth Hall                           LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX    77006
Wyeth Hall                                                              312 E. Woodrow St                                                                      Tulsa           OK    74106
WYLENE LENGEL                                                           1360 N WALNUT                                                                          MCPHERSON       KS    67460
WYLIE REED                                                              500 E BOEING DR                                                                        MIDWEST CITY    OK    73110
Wymore, Dustin                       c/o White Star Petroleum, LLC      4615 W. Lakeview Rd                                                                    Stillwater      OK    74074
WYNEMA JOHNSON                                                          1641 PRAIRIE MARK LANE                                                                 HOUSTON         TX    77077

WYNN-CROSBY OPERATING LTD                                               15660 NORTH DALLAS PKWY SUITE 1175                                                     DALLAS          TX    75248
WYNN-CROSBY PARTNERS II LTD                                             14241 DALLAS PKWY STE 800                                                              DALLAS          TX    75254
WYNN-CROSBY PARTNERS III LTD                                            15660 N DALLAS PKWY STE 1175                                                           DALLAS          TX    75248
WYNONA I PASSOW TRUST                                                   25601 RD 150                                                                           PERRY           OK    73077
WYNONAH M BIGGS                                                         2113 QUEENSBURY ROAD                                                                   MOORE           OK    73160
WYOMING STATE TREASURER                                                 2515 WARREN AVE, SUITE 502                                                             CHEYENNE        WY    82002
Wyoming Treasurers Office            Wyoming Unclaimed Property         200 West 24th Street                                                                   Cheyenne        WY    82002
WYONNE V BALFE                                                          PO BOX 81080                                                                           LAS VEGAS       NV    89180
XANADU EXPLORATION COMPANY                                              320 S BOSTON STE 2000                                                                  TULSA           OK    74103
XCCELERATED CONSTRUCTION UNLIMITED                                      542 E NORTH 20TH STREET                                                                ABILENE         TX    79601
XEROX BUSINESS SERVICES LLC                                             PO BOX 201322                                                                          DALLAS          TX    75320-1322

XEROX BUSINESS SOLUTIONS SOUTHWEST                                      PO Box 205354                                                                          DALLAS          TX    75320-5354
XEROX FINANCIAL SERVICES                                                PO BOX 202882                                                                          DALLAS          TX    75320-2882
XL Specialty                                                            100 Constitution Plaza                        17th Floor                               Hartford        CT    06103
XTO ENERGY INC                                                          PO BOX 730587                                                                          DALLAS          TX    75373-0587
XTO ENERGY INC                                                          PO BOX 730586                                                                          DALLAS          TX    75373
XTO ENERGY INC                                                          PO BOX 730587                                                                          DALLAS          TX    75373-0587
XUTAPA PROPERTIES, LLC                                                  2200 MCKENZIE ROAD                                                                     PAWHUSKA        OK    74056
XXI RESOURCES LLC                                                       PO BOX 12874                                                                           OKLAHOMA CITY   OK    73157-2874
YALE OIL ASSOC INC                                                      6 NE 63RD ST STE 425                                                                   OKLAHOMA CITY   OK    73105-1401


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                                                                                              White Star Petroleum, LLC
                                                                                                   Creditor Matrix


              CreditorName                  CreditorNoticeName                         Address1                             Address2                 Address3            City   State       Zip      Country
YALE OIL ASSOCIATION INC                                                 6 NE 63RD ST STE 425                                                                   OKLAHOMA CITY   OK      73105
YANASA CAPITAL LLC                                                       2820 HUNTLEIGH DR                                                                      THE VILLAGE     OK      73120
YE YUAN                                                                  PO BOX 667531                                                                          HOUSTON         TX      77266-7531
YELLOWJACKET OILFIELD SERVICES LLC                                       PO BOX 678349                                                                          DALLAS          TX      75267-8349
YESMUR EXPLORATION LLC                                                   4334 NW EXPRESSWAY SUITE 185                                                           OKLAHOMA CITY   OK      73116
YETTA DECD                                                               22499 IMPERIAL VALLEY DR                                                               HOUSTON         TX      77073
YGGDRASIL MINERALS LLC                                                   2055 SUMMIT DR                                                                         SHERIDAN        WY      82801
YINGHUA HUANG                                                            503 WEDGEWOOD DR                                                                       STILLWATER      OK      74075-8254
YMCA OF GREATER OKLAHOMA                                                 500 N BROADWAY STE 500                                                                 OKLAHOMA CITY   OK      73102
YOAST FAMILY TRUST DTD 4-26-1990                                         915 GRAHAM AVE                                                                         STILLWATER      OK      74075
YOLANDA MOODY                                                            PO BOX 2077                                                                            OWASSO          OK      74055
YOLANDA NEAL                                                             PO BOX 516                                                                             GUTHRIE         OK      73044
                                                                                                                       9211 Lake Hefner
Yolanda Riley                         c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Yolanda Riley                         LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Yolanda Riley                                                            705 Bath Ct                                                                            Oklahoma City   OK      73117
YOLONDA KILLEBREW                                                        145 EATON DR                                                                           LINCOLN         IL      62656
YOST AND HACKLEMAN LLC                                                   2820 S UTICA AVE                                                                       TULSA           OK      74114-4207
YOST AND SONS LLC                                                        17405 W 92ND ST                                                                        COYLE           OK      73027-7000
YOST FAMILY LIVING REV TR                                                39 E HOBBIT GLEN DR                                                                    THE WOODLANDS   OK      77384
YOST FAMILY SPECIAL NEEDS TR DTD 12                                      11555 N HWY 77                                                                         MULHALL         OK      73063
                                      HASKELL O. YOUNG AND
YOUNG FAMILY REV TRUST DTD 11-19-20   SANDRA S. YOUNG, TRS                                                                                                      STILLWATER      OK      74075
YOUNG MENS CHRISTIAN ASSOCIATION                                         PO BOX 3689                                                                            TULSA           OK      74101-3689
YOUNG O&G LLC                                                            34911 CRONIN CREEK ROAD                                                                WOODSFIELD      OH      43793
YOUNG TOOL COMPANY LLC                                                   PO BOX 1122                                                                            DRUMRIGHT       OK      74030-1122

YOUNG WOMENS CHRISTIAN ASSOCIATION                                       1910 S LEWIS AVENUE                                                                    TULSA           OK      74104
                                      SANDRIDGE ENERGY, ATTN:
YPE - OKC                             DILLON ORR                                                                                                                OKLAHOMA CITY   OK      73102-6406
YUKON TRADING CO LLC                                                     1021 NW GRAND BLVD                                                                     OKLAHOMA CITY   OK      73118
YUKON TRADING CO LLC (CARRIED)                                           1021 NW GRAND BLVD                                                                     OKLAHOMA CITY   OK      73118
YVETTE LEVY                                                              9001 SUNRISE LAKE BLVD                                                                 SUNRISE         FL      33322
YVETTE PONS                                                              1658 OAK RIDGE DR                                                                      DENTON          TX      76210
                                                                                                                       9211 Lake Hefner
Yvette Williams                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Yvette Williams                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Yvette Williams                                                          3022 S. 86th East Ave.                                                                 Tulsa           OK      74129
                                                                                                                       9211 Lake Hefner
Yvette Morrison                       c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway              Ste. 104            Oklahoma City   OK      73120
                                      c/o Laminack, Pirtle & Martines,
Yvette Morrison                       LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd   9th Fl              Houston         TX      77006
Yvette Morrison                                                          741 NW 109th St                                                                        Oklahoma City   OK      73114
YVONNE ALLEY                                                             2541 DAYBREAK DR.                                                                      ROCKWALL        TX      75032
YVONNE GILLAN                                                            1695 S 267TH E AVE                                                                     CATOOSA         OK      74015-4515
YVONNE HODGE                                                             21900 COUNTY RD 130                                                                    PERRY           OK      73077
YVONNE HODGE DECEASED                                                    503 PAVER CT                                                                           BENTON CITY     WA      99320
YVONNE KENNEDY                                                           78911 NECTARINE DR                                                                     PALM DESERT     CA      92211
YVONNE MARY DENNIS                                                       1100 S KELLY AVE #112                                                                  EDMOND          OK      73003
YVONNE PLATT                                                             3851 NORTH ROCKWELL AVE                                                                CRESCENT        OK      73025
YVONNIE MEYER                                                            229 KASTENDIECK RD                                                                     BILLINGS        MO      65610
YWCA OKLAHOMA CITY                                                       2460 NW 39TH STREET                                                                    OKLAHOMA CITY   OK      73112
ZACH WHITE                            c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                  Oklahoma City   OK      73116
ZACHARY CAVETT                                                           7520 N CLAY RD                                                                         GLENCOE         OK      74032
ZACHARY CROSS                                                            3616 WALNUT ST                                                                         KANSAS CITY     MO      64111
ZACHARY HIRZEL                                                           4005 SOUTHWESTERN BLVD                                                                 DALLAS          TX      75225
ZACHARY LEE WILFONG                                                      3820 N. PUTNAM HEIGHTS BLVD                                                            OKLAHOMA CITY   OK      73118


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                 CreditorName                CreditorNoticeName                             Address1                        Address2                  Address3             City    State        Zip      Country
ZACHARY R HEISTER                                                        PO BOX 1414                                                                             STILLWATER       OK       74076
ZACHARY SEVY                                                             8250 SOMMER CAMP ROAD                                                                   MELBA            ID       83641
Zack McDaniel                         c/o Allen Stewart, PC              Attn: Allen M Stewart                         325 N Saint Paul St   Ste. 4000           Dallas           TX       75070
Zack McDaniel                         c/o Drummond Law, PLLC             Attn: Donald A Lepp                           1500 South Utica      Ste. 400            Tulsa            OK       74104
Zack McDaniel                         c/o Phillips & Paolicelli, LLP     Attn: Steven Phillips                         747 3rd Ave                               New York         NY       10017
Zack McDaniel                                                            348401 East 3700 Rd                                                                     Ralston          OK       74650
ZALOUDEK HERITAGE FARMS LLC CO DANI                                      302 SAND RIVER CT                                                                       AIKEN            SC       74136
ZANE BOURNE                           c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK       73116
ZANE SHIPPY                                                              8118 E WATERSTONE CT                                                                    NAMPA            ID       83637
Zanotti, Jeffrey                      c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK       73116
ZANTOUT RESOURCES LLC                                                    2425 NW 177TH ST                                                                        EDMOND           OK       73012
ZARROW INVESTMENT COMPANY LLC                                            401 SOUTH BOSTON, SUITE 900                                                             TULSA            OK       74103
ZEAL PRODUCATION COMPANY                                                 3341 E 76TH STREET NORTH                                                                SPERRY           OK       74073
ZEB ENTERPRISES INC                                                      PO BOX 1799                                                                             DENVER           CO       80201
ZEDI US INC                                                              PO BOX 51475                                                                            LAFAYETTE        LA       70505-1475
ZEE MEDICAL INC                                                          PO BOX 781583                                                                           INDIANAPOLIS     IN       46278
ZEE SERVICE COMPANY OR ZEE MEDICAL                                       13 NW 132ND ST                                                                          OKLAHOMA CITY    OK       73114-2303
ZEGE MINERALS LLC                                                        501 NW 13TH ST                                                                          OKLAHOMA CITY    OK       73103
ZELDA BROWNLEE                                                           5141 E. IDLE BANKS CIR.                                                                 VALLEY CENTER    KS       67147-5201
ZELLA I MCGETTRICK, TRUSTEE                                              3830 S BROADWAY                                                                         SPRINGFIELD      MO       65807
ZELLA PECK                                                               313 SHAWNEE TRAIL                                                                       KELLER           TX       76248
ZELMA M NELSON REV TRST                                                  5111 QUAIL DR                                                                           GUTHRIE          OK       73044
ZELMA PETERS                                                             1705 S SHEPARD AVE                                                                      EL RENO          OK       73036
ZELMA RUPP                                                               13751 JOHN WAYNE                                                                        PERRY            OK       73077
ZELMA VYNETTA WALKER LIFE ESTATE                                         14901 N PENNSYLVANIA AVE NO 19 B                                                        OKLAHOMA CITY    OK       73134-6122
ZENA TRUST                                                               310 PELLETIER DR                                                                        SIOUX CITY       IA       51104
ZENO BEREZNICKI                                                          14507 DEER RIDGE DRIVE                                                                  CALGARY          AB       T2J 5W8      CANADA
ZEPHYR RESOURCES LLC                                                     14909 LAURIN LN                                                                         OKLAHOMA CITY    OK       73142
ZEUS PETROLEUM INC                                                       PO BOX 458                                                                              BELLAIRE         TX       77402
ZION EVANGELICAN LUTHERAN CHURCH                                         504 S KNOBLOCK                                                                          STILLWATER       OK       74074
ZION PETROLEUM COMPANY                                                   1015 W BROOKE HOLLOW CT                                                                 STILLWATER       OK       74075
                                                                                                                       9211 Lake Hefner
Zironya D. Lewis                      c/o Atkins & Markoff               Attn: Daniel P. Markoff & Jeffrey R. Atkins   Parkway               Ste. 104            Oklahoma City    OK       73120
                                      c/o Laminack, Pirtle & Martines,
Zironya D. Lewis                      LLP                                Attn: Richard N Laminack                      5020 Montrose Blvd    9th Fl              Houston          TX       77006
Zironya D. Lewis                                                         2301 Towers Ct                                                                          Oklahoma City    OK       73111
ZOHO CORPORATION                                                         PO BOX 742760                                                                           LOS ANGELES      CA       90074-2760
ZORBA FAMILY TRUST DTD 10-3-2006                                         5305 CHINN CHAPELL                                                                      FLOWER MOUND     TX       75028
ZOYLA GARCIA                                                             4805 S HUNTERS CIR                                                                      STILLWATER       OK       74074-7611
Zschiesche, Raymond                   c/o White Star Petroleum, LLC      301 NW 63rd St                                Ste 600                                   Oklahoma City    OK       73116

Z-W INC. DBA CRALL PRODUCTS COMPANY                                      PO BOX 1640                                                                             PAMPA            TX       79066
ZWETLANDS FAMILY LP                                                      PO BOX 749                                                                              MADILL           OK       73446
ZZW GLOBAL INC                                                           PO BOX 810                                                                              OKLAHOMA CITY    OK       73101-0810
                                                                         PO BOX 10518                                                                            HONOLULU         HI       96816-0518




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